                                         09-50026-mg               Doc 7123-3      Filed 09/24/10 Entered 09/24/10 15:05:32                           Exhibit B
                                                                                   Part 1 of 40 Pg 1 of 921
Name                                     Address1                             Address2                        Address3                   Address4                  City              State Zip
B TRUST OF SHARRON LIVING TRUST DTD      JOHN W. SHARRON JR, TURSTEE OF       B TRUST OF SHARRON LIVING TRUST 4731 MAJORCA WAY                                     OCEANSIDE          CA 92056
12/6/89                                                                       DTD 12/6/89
C TRUST OF SHARRON LIVING TRUST DTD      JOHN W SHARRON, JR TRUSTEE           4731 MAJORCA WAY                                                                     OCEANSIDE         CA    92056
12/16/89
#1 BROOKVILLE CHEVROLET PONTIAC BUI      1 E MAIN ST                                                                                                               BROOKVILLE        PA    15825‐1613

#1 BROOKVILLE CHEVROLET PONTIAC          1 E MAIN ST                                                                                                               BROOKVILLE        PA    15825‐1613
BUICK CADILLAC
#1 COCHRAN OF MONROEVILLE                ROBERT COCHRAN                       4520 WILLIAM PENN HWY                                                                MONROEVILLE       PA    15146‐2814
#1 COCHRAN OF MONROEVILLE                4520 WILLIAM PENN HWY                                                                                                     MONROEVILLE       PA    15146‐2814
#1 COCHRAN OF ROBINSON TOWNSHIP          5200 CAMPBELLS RUN RD                                                                                                     PITTSBURGH        PA    15205‐9736

#1 COCHRAN SAAB                          COCHRAN, ROBERT E.                   4520 WILLIAM PENN HWY                                                                MONROEVILLE       PA    15146‐2814
#1 SIMPSON BUICK PONTIAC GMC             6600 AUTO CENTER DR                                                                                                       BUENA PARK        CA    90621‐2927
'AMIR, ROSALIND                          1407 HEATHERS MIST AVE                                                                                                    CHARLOTTE         NC    28213‐5216
'ONES, THOMAS H                          442 E. WOODHOLLOW COURT                                                                                                   WESTFIELD         IN    46074
(BILL) WILLIAM SLOSS                     116 MARCH ST                                                                                    SAULT STE MARIE, ON P6A
                                                                                                                                         2Z3 CANADA
(FISHER) HARMAN, BARBARA ANN             2559 ELSIE AVE                                                                                                            TOLEDO            OH    43613‐3331
(TERRY) BOND, CAROLYN J.                 PO BOX 257                           9061 HWY 196                                                                         NANCY             KY    42544‐0257
**DEL**ABB ROBO/ROCH                     1350 W HAMLIN RD                     AUTOMOTIVE DIVISION                                                                  ROCHESTER HILLS   MI    48309‐3361
**DEL**EMRICK P/TROY                     C/O OSBORN INDUSTRIES, INC.          2301 WEST BIG BEAVER ROAD      SUITE 104                                             TROY              MI    48084
, CONVERSION PARTY                       GAMMON, ANDERSON & MCFALL            PO BOX 292                                                                           CEDARTOWN         GA    30125‐0292
, KEITH S/TN                             405 BLAKELY CT                                                                                                            FRANKLIN          TN    37064‐6734
‐ EXPONENT, INC.                         149 COMMONWEALTH DRIVE                                                                                                    MENLO PARK        CA    94025
‐ EXPONENT, INC.                         ATTN: ERIC ANDERSON                  149 COMMONWEALTH DRIVE                                                               MENLO PARK        CA    94025
. CROWN EQUIPMENT CORPORATION            ATTN: RODNEY J. HINDERS, ESQ.        102 S. WASHINGTON ST.                                                                NEW BREMEN        OH    45869
. KOTSOGIAGNNIS                          6681 S. SENECA WAY                                                                                                        GILBERT           AZ    85298
/LYNNVILLE                               ROUTE #2                                                                                                                  LYNNVILLE         TN    38472
/MIDDLETON                               BOSTON STREET                                                                                                             MIDDLETON         MA    01949
/SLOAN/TN                                PO BOX 100842                        1033 ELM HILL PIKE                                                                   NASHVILLE         TN    37224‐0842
[HILIP HERMAN                            THE LAW OFFICES OF PETER G ANGELOS   100 NORTH CHARLES              22ND FLOOR                                            BALTIMORE         MD    21201

_ WILLOW RUN BUSINESS CENTER I, L.L.C.   C/O INSITE REAL ESTATE, L.L.C.       1400 16TH STREET, SUITE 300    ATTN: LARISSA A. ADDISON,                             OAK BROOK          IL   60523
                                                                                                             ESQ.
010488 R MCINTYRE                        1252 BEAUPRE                                                                                                              MADISON HGTS      MI    48071‐2621
1 800 CONFERENCE                         PO BOX 8103                                                                                                               AURORA            IL    60507‐8103
1 800 GIFT CERTIFICATE LLC               DBA INCENTONE LLC                    160 CHUBB AVE STE 203                                                                LYNDHURST         NJ    07071‐3526
1 COCHRAN SAAB                           4520 WILLIAM PENN HWY                                                                                                     MONROEVILLE       PA    15146‐2814
1‐800‐FLOWERS                            122 CENTRAL AVE                                                                                                           CLARK             NJ    07066‐1187
10‐8 RETROFIT                            1911 MCKINLEY AVE                                                                                                         LA VERNE          CA    91750‐5811
100 & 200 FOXBOROUGH BLVD. REALTY        C/O FOXOROUGH BLVD. MANAGEMENT,      100 FOXBOROUGH BLVD.           SUITE 100                                             FOXBORO           MA    02035
TRUST                                    INC.
100 BLACK MEN OF GREATER DETROIT INC     1 FORD PL                                                                                                                 DETROIT           MI    48202‐3450

100 BLACK MEN OF INDIANAPOLIS            3901 N MERIDIAN ST                                                                                                        INDIANAPOLIS       IN   46208
100/200 FOXBOROUGH BLVD. REALTY          C/O CB RICHARD ELLIS‐N E PARTNERS    380 WESTMINISTER ST.                                                                 PROVIDENCE         RI   02903
TRUST
100/200 FOXBOROUGH BLVD. REALTY          C/O CB RICHARD ELLIS‐N E PARTNERS    380 WESTMINISTER ST.                                                                 PROVIDENCE         RI   02903
TRUST
100/200 FOXBOROUGH BLVD. REALTY          C/O FOXBOROUGH BLVD. MANAGEMENT,     117 EASTMAN ST                                                                       SOUTH EASTON      MA    02375‐1212
TRUST                                    INC.
1021 FEDERAL CREDIT UNION EF             414 E DENNIS AVE                                                                                                          OLATHE            KS    66061‐4603
                                      09-50026-mg              Doc 7123-3      Filed 09/24/10 Entered 09/24/10 15:05:32                       Exhibit B
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Name                                  Address1                           Address2                       Address3                 Address4                  City           State Zip
1021655 FOUNTAIN TIRE BOWNESS         6931 32 AVE NW                                                                             CALGARY AB T3B 0K6 CANADA

1047261 ONTARIO LIMITED               DBA TORSAAB                        905 845 1610                   264 RYERSON CRES         OSHAWA CANADA ON L1G 8B7
                                                                                                                                 CANADA
1077138 ONTARIO LTD                   896 BROCK RD UNIT 1                                                                        PICKERING ON L1W 1 CANADA

1095766 ONTARIO LIMITED               9023 MARINE CITY HWY BLDG A                                                                                            IRA           MI   48023‐1220
11 OCEAN DEVELOPMENTS INC.            30 INTERNATIONAL BLVD                                                                      TORONTO ON M9W 5P3
                                                                                                                                 CANADA
11 OCEAN DEVELOPMENTS INC. C/O        30 INTERNATIONAL BLVD                                                                      TORONTO ON M9W 5P3
GIFFELS MANAGEMENT LIMITED                                                                                                       CANADA
1115747 ONTARIO INC                   P STERN PRESIDENT                  5336 HIGHWAY 7                                          MARKHAM CANADA ON L3P
                                                                                                                                 1B9 CANADA
112 INTERNACIONAL SA DE CV            RIO DANUBIO NO 69‐101 COLONIA      CUAUHTEMOC MEXICO CITY 06500                            MEXICO CITY 06500 MEXICO
1120 ROUTE 18 CORPORATION             77 US HIGHWAY 46                                                                                                       PINE BROOK    NJ   07058‐9609
1155 BREWERY PARK LLC                 PO BOX 33881                                                                                                           DETROIT       MI   48232‐8101
11TH FRAME GRILL                      ATTN: MARK JONES                   1205 WASHINGTON AVE                                                                 BAY CITY      MI   48708‐5744
12 CAPITAL SPA                        670 WINDCREST DR                                                                                                       HOLLAND       MI   49423‐5410
120 BA ASSOCIATES                     C/O IMK MANAGEMENT                 PO BOX 190‐1040                                                                     BROOKLYN      NY   11219
121 INFLIGHT CATERING                 7 JULIANO DR                                                                                                           OXFORD        CT   06478‐1042
123 STUDIO                            820 S WASHINGTON                                                                                                       ROYAL OAK     MI   48067
123 STUDIO INC                        820 WASHINGTON AVENUE                                                                                                  ROYAL OAK     MI   48067
12335 120TH AVE NE ASSOCIATES LLC     1750 92ND AVE NE                                                                                                       CLYDE HILL    AZ   96004
1241 CENTRAL PARK AVE LLC             C/O DOMINIC FERROVECCHIO           935 BRONX RIVER AVE                                                                 BRONX         NY   10473‐4903
1241 CENTRAL PARK, LLC                935 BRONX RIVER AVE                                                                                                    BRONX         NY   10473‐4903
1262380 ONTARIO LIMITED O/A F F       1370 SANDHILL DRIVE                UNIT 2 & 3                                              ANCASTER CANADA ON L9G
EXPRESS                                                                                                                          4V5 CANADA
12716 ARMAUD                          AUDARMAR TRADING CORP.             C/O KOSTENBAUM ET ASSOCIES     KBHB                     COURS DE RIVE ,10           GENEVA             1211
128 OLDSMOBILE MAZDA IMPORTS INC      BERSTEIN SHUR SAWYER & NELSON PA   100 MIDDLE STREET WEST TOWER                                                        PORTLAND     ME    04101
128 SALES INC                         MCMANUS, JR., TOM                  614 NORTH AVE                                                                       WAKEFIELD    MA    01880‐1311
128 SALES INC                         614 NORTH AVE                                                                                                          WAKEFIELD    MA    01880‐1311
13 LOGIC                              7 N SAGINAW ST                                                                                                         PONTIAC      MI    48342‐2182
1307386 ONTARIO INC                   87 GARTSHORE DR                                                                            WHITBY ON L1P 1N5 CANADA

1323321 O/A TIRECRAFT                 12208 118 AVE NW                                                                           EDMONTON AB T5L 2K1
                                                                                                                                 CANADA
1327040 ONTARIO LIMITED               15 SETTLERS COURT                                                                          MORRISTON, ONTARIO N0B
                                                                                                                                 2C0, CANADA
1329668 ONTARIO LTD                   MOE FADDOUL                        1333 COLLEGE AVE.                                       WINDSOR ON N9B1M8
                                                                                                                                 CANADA
1350646 ONTARIO INC O\A ER CARRIERS   5895 AMBLER DR                                                                             MISSISSAUGA ON L4W 5B7
                                                                                                                                 CANADA
1395 PICCARD LLC                      C\O DANAC CORP                     7501 WISCONSIN AVE STE 1120                                                         BETHESDA     MD    20814‐6515
14/69 CARWASH                         633 AVENUE OF AUTOS                                                                                                    FORT WAYNE   IN    46804‐1184
140 SAGINAW LLC                       C\O BUILDERS REALTY &              PO BOX 881                     INVESTMENT CORP                                      MINOCQUA     WI    54548‐0881
1401 TROY ASSOCIATES LIMITED          C/O ETKIN EQUITIES INC             29100 NORTHWESTERN HWY                                                              SOUTHFIELD   MI    48034
PARTNERSHIP
1404371 ONTARIO LTD
1490 ENTERPRISES INC                  BLACK ACHIEVERS AWARDS 2008        1490 JEFFERSON AVE             1490 HERBERT L BELLAMY                               BUFFALO       NY   14208
                                                                                                        WAY
14A2 DISTRICT COURT                   415 W MICHIGAN AVE                                                                                                     YPSILANTI     MI   48197‐5326
14TH JUDICIAL CIRCRIT COURT           990 TERRACE STREET                                                                                                     MUSKEGON      MI   49442
1500 HINMAN
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Name                                       Address1                             Address2                       Address3              Address4                      City            State Zip
1500 HINMAN CO OP APARTMENTS INC           200 SOUTH WACKER DRIVE 2ND FLOOR                                                                                        CHICAGO           IL 60606

1500 HINMAN CO OP APARTMENTS INC           CINCINNATI INSURANCE                 200 SOUTH WACKER DRIVE 2ND                                                         CHICAGO          IL   60606
                                                                                FLOOR
1500 HINMAN CO OP APARTMENTS INC           MADDA, VINCENT A                     200 SOUTH WACKER DRIVE 2ND                                                         CHICAGO          IL   60606
                                                                                FLOOR
1500 HINMAN CO OP APARTMENTS INC           STATE FARM MUTUAL AUTOMOBILE         200 SOUTH WACKER DRIVE 2ND                                                         CHICAGO          IL   60606
                                           INSURANCE COMPANY                    FLOOR
1500 HINMAN CO OP APARTMENTS INC           FISHER KANARIS PC                    200 S WACKER DR FL 2                                                               CHICAGO          IL   60606‐5843

1526490 ONTARIO INC
155808 CANADA INC.                         2070 BOUL. SIR WILFRID LAURIER                                                            ST‐BRUNO QC J3V 4P6
                                                                                                                                     CANADA
1587539 ONTARIO LTD                        756 CLAIR ST ST                                                                           CHATHAM ON N7M 5J7
                                                                                                                                     CANADA
1588125 ONTARIO LTD                        DBA DRIVE LOGISTICS                  4960 WALKER                                          TECUMSEH CANADA ON N9A
                                                                                                                                     6J3 CANADA
1588125 ONTARIO LTD                        STEVE KOZMA                          4960 WALKER ROAD                                     TECUMSEH ON N9A6J3
                                                                                                                                     CANADA
15LZ0 07C , 15LZ0 07D , 15LZ0 07F ,15LZ0   DAVID PREUSS                                                                              PARIS CEDEX 17 75017 FRANCE
54 ,15LZ0 08V ,15LZ0 08W
16 W MARKETING                             MR. STEVE ROSNER                     75 UNION AVE., RUTHERFORD                                                          RUTHERFORD       NJ   07070
1633108 ONTARIO INC                        ANDY KHERA                           1458 SILKY ROSE COURT                                MISSISSAUGA ON L5V 1H6
                                                                                                                                     CANADA
164TH STREET AUTO SERVICE                  8412 164TH ST                                                                                                           JAMAICA         NY    11432‐1712
1675386 ONTARIO INC                        PETER KAROLYI                        901 SIMCOE ST SE GATE                                                              VALLEY CITY     OH    44280
1675386 ONTARIO INC                        591 ARVIN AVE                                                                             STONEY CREEK ON L8E 5N7
                                                                                                                                     CANADA
1675386 ONTARIO INC                        TIERCON                              591 ARVIN AVENUE                                     STONEY CREEK CANADA ON
                                                                                                                                     L8E 5N7 CANADA
1675386 ONTARIO INC                        PETER KAROLYIX2204                   TIERCON                        591 ARVIN AVENUE                                    CHATSWORTH      CA    91311
16TH 404 BUSINESS CENTRE INC               40 VOGELL RD STE 1                                                                        RICHMOND HILL CANADA ON
                                                                                                                                     L4B 3N6 CANADA
16TH DISTRICT COURT                        15140 FARMINGTON RD                                                                                                     LIVONIA         MI    48154‐5449
16TH‐404 BUSINESS CENTRE INC.              2700 DUFFERIN ST                     UNIT #34                                             TORONTO ON M6B 4J3
                                                                                                                                     CANADA
16TH‐404 BUSINESS CENTRE INC.              40 VOGELL ROAD                                                                            RICHMOND HILL ON CANADA

16W MARKETING LLC                          75 UNION AVE                                                                                                            RUTHERFORD      NJ    07070
170TH AUTO SERVICE CENTER                  25 W 170TH ST                                                                                                           BRONX           NY    10452‐3236
18016 ‐ BLGF MR47                          MR. RON RUSSELL                      1900 ORACLE WAY SUITE 700                                                          RESTON          VA
18016 ‐ BLGF MR5                           BRAD FONDILER                        3141 SW 10TH ST                                                                    POMPANO BEACH   FL    33069‐4828
183 AUTOMOTIVE                             145 FARRS BRIDGE RD                                                                                                     PICKENS         SC    29671‐2038
1875/1925 CENTURY PARK EAST CO             WATT PLAZA‐OFFICE OF THE BLDG        1875 CENTURY PARK E STE 1110                                                       LOS ANGELES     CA    90067‐2571
1908 HOLDINGS LIMITED                      C/O TRULAW CORPORATE SERVICES LTD    P.O. BOX 8600 GT                                     GEORGETOWN GRAND
                                                                                                                                     CAYMAN CAYMAN ISLANDS
1908 HOLDINGS LTD.                         CC/O TRULAW CORPORATE SERVICES LTD   P.O. BOX 866                                         GEORGETOWN GRAND
                                                                                                                                     CAYMAN CAYMAN ISLANDS
1908 HOLDINGS LTD.                         C/O TRULAW CORPORATE SERVICES LTD    P.O. BOX 8600 GT                                     GEORGETOWN GRAND
                                                                                                                                     CAYMAN CAYMAN ISLANDS
1908 HOLDINGS LTD.                         DIRECTOR                             WHITEHALL HOUSE, 2ND FLOOR     NORTH CHURCH STREET   GEORGETOWN GRAND
                                                                                                                                     CAYMAN CAYMAN ISLANDS
1969 COMMUNICATIONS INC                    ATTN STACY BURGUM                    12655 W WASHINGTON BLVD STE                                                        LOS ANGELES     CA    90066‐2395
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Name                                  Address1                           Address2                        Address3                   Address4                   City           State Zip
1989 VOGELSANG FAMILY TRUST           VANGUARD ‐ 1989 VOGELSANG FAMILY   PETER J VOGELSANG & DIANE L     11623 DONA ALICIA PLACE                               STUDIO CITY     CA 91604
                                      TRUST                              VOGELSANG TTEES
19TH DISTRICT COURT                   16077 MICHIGAN AVE                                                                                                       DEARBORN       MI    48126‐2937
19TH JUDICIAL CIRCUIT COURT           415 3RD ST                                                                                                               MANISTEE       MI    49660‐1606
1C COMPANY
1ST AMERICAN METALS INC               3401 S LAKESHORE DR                                                                                                      SAINT JOSEPH   MI    49085
1ST AUTO & CASUALTY INS               2810 CITY VIEW DR                                                                                                        MADISON        WI    53718
1ST AUTO INSURANCE CO
1ST AYD CORP                          1325 GATEWAY DR                                                                                                          ELGIN          IL    60124‐7866
1ST DUE EMERGENCY RESPONSE SOL        1726 7000 RD                                                                                                             BARTLETT       KS    67332‐9305
1ST DUE EMERGENCY RESPONSE            1726 7000 RD                                                                                                             BARTLETT       KS    67332‐9305
SOLUTIONS LLC
1ST EXPRESS INC                       1750 SOUTHFIELD RD                                                                                                       LINCOLN PARK   MI    48146‐2246
1ST FIDELITY MTG TRST R KROGEN        PO BOX 30475                                                                                                             LAS VEGAS      NV    89173‐0475
1ST INDUSTRIAL MEDIC                  1234 W CHAPMAN AVE STE 204                                                                                               ORANGE         CA    92868‐2863
1ST METROPOLITAN MORTGAGE             3946 KETTERING BLVD                                                                                                      MORAINE        OH    45439‐2042
1ST NATL BANK OF CRYSTAL LAKE TRUSTEE MILITELLO ZANC & COEN PC           40 BRINK ST                                                                           CRYSTAL LAKE   IL    60014
#85 122
1ST OF AMERICA BANK‐MID MICH.         ACCT OF SHIRLEY A HARE             1009 WASHINGTON AVE                                                                   BAY CITY       MI    48708‐5705
1ST STOP AUTO CARE                    600 DELZAN PL                                                                                                            LEXINGTON      KY    40503‐3504
2 ‐ TECHS AUTO REPAIR                 4398 S BROADWAY                                                                                                          ENGLEWOOD      CO    80113‐5720
2 ADVANCED STUDIOS LLC                65 ENTERPRISE                                                                                                            ALISO VIEJO    CA    92656‐2601
2 EXPRESSIONS MERCHANDISE             BOX 480 30                                                                                    GOTEBORG S 418 21 SWEDEN

2 IN 1 TIRE & AUTO CENTER             1800 CONEY ISLAND AVE                                                                                                    BROOKLYN       NY    11230‐6502
2 MEN AND A SHOP                      12150 NORTH 153RD CIRCLE                                                                                                 BENNINGTON     NE    68007
2 METROPLEX LLC                       8383 CRAIG ST STE 288                                                                                                    INDIANAPOLIS   IN    46250‐3541
200 ELWOOD DAVIS LLC                  C\O HKS REALTY ASSOCIATES INC      290 ELWOOD DAVIS RD STE 306                                                           LIVERPOOL      NY    13088‐2127
2006 BEDFORD CHRISTMAS PARADE         ATTN GARY OCHS                     GM POWERTRAIN                   105 GM DRIVE 11/17/06 TW                              BEDFORD        IN    47421
2007 FLORIDAS LARGEST HOME SHOW       PO BOX 1674                        TURNER EXPOSITIONS LLC                                                                RIVERVIEW      FL    33568‐1674
2007 IEEE/ICPS                        445 HOES LN                                                                                                              PISCATAWAY     NJ    08854‐4141
2007 LULAC WOMENS CONFERENCE          LULAC NATIONAL FISCAL OFFICE       201 E MAIN DR STE 605                                                                 EL PASO        TX    79901‐1352
2008 FLORIDA ARBITRATIONS             NO ADVERSE PARTY
2008 GREATER CLEVELAND AUTO SHOW      10100 BRECKSVILLE RD                                                                                                     BRECKSVILLE    OH    44141‐3206

2008 LPA NATIONAL CONFERENCE LITTLE   250 EL CAMINO REAL STE 201                                                                                               TUSTIN         CA    92780‐3656
PEOPLE OF AMERICA INC
2008 LULAC NATIONAL CONVENTION        201 E MAIN DR STE 605                                                                                                    EL PASO        TX    79901‐1352
2008 MANSFIELD BICENTENNIAL           55 N MULBERRY ST                                                                                                         MANSFIELD      OH    44902‐1240
COMMITTEE
2009 AUDIT ‐ ISP SSPP PSP             NO ADVERSE PARTY
2009 FLORIDA ARBITRATIONS             NO ADVERSE PARTY
2010 LEGACIES NOW SOCIETY             400‐1095 PENDER ST W                                                                          VANCOUVER BC V6E 2M6
                                                                                                                                    CANADA
2031008 ONTARIO LTD                   5336 HIGHWAY #7                                                                               MARKHAM CANADA ON L3P
                                                                                                                                    1B9 CANADA
2035208 ONTARIO, INC.                 100 KING STREET WEST               1 FIRST CANADIAN PLACE, SUITE                              TORONTO ON M5X 1B8
                                                                         6600                                                       CANADA
2065092 ONTARIO LIMITED               WINDSOR TRANSMISSION PLANT         1550 KILDARE RD                                            WINDSOR ON N8W 5M1
                                                                                                                                    CANADA
2082486 ONTARIO INC
2087609 ONTARIO, INC.                 100 KING STREET WEST               1 FIRST CANADIAN PLACE, SUITE                              TORONTO ON M5X 1B8
                                                                         6600                                                       CANADA
2088343 ONTARIO LTD                   TASNEEM AHMED X251                                                                                                       WINDERMERE      FL   34786
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Name                                 Address1                           Address2                          Address3                  Address4                   City           State   Zip
20TH CENTURY AUTOMOTIVE              2405 W JEFFERSON BLVD                                                                                                     FORT WAYNE      IN     46802‐4640
20TH CENTURY FOX                     STEVE IMBLER                       10201 W PICO BLVD                                                                      LOS ANGELES     CA     90064‐2606
20TH CENTURY MACHINE CO INC          69900 POWELL RD                                                                                                           ARMADA          MI     48005‐4030
2108804 ONTARIO INC                  16 CONCOURSE GATE STE 400                                                                      NEPEAN ON K2E 7S8 CANADA

213231 SDFSDF                        SDSDFSDFSDF                        DFSDFSDFSDF
2133095 ONTARIO INC
21ST CENTURY CONCRETE CONSTRUCTION   13925 ENTERPRISE AVE                                                                                                      CLEVELAND      OH      44135‐5117
INC
21ST CENTURY EXPO GROUP INC          3321 75TH AVE STE P                                                                                                       LANDOVER       MD      20785‐1519
21ST CENTURY INSURANCE               RE: SHELIA DIXON                   P.O. BOX 52041                                                                         PHOENIX        AZ      85072‐2041
21ST CENTURY INSURANCE COMPANY       BOLLINGTON & MCDONALD              3780 KILROY AIRPORT WAY STE 540                                                        LONG BEACH     CA      90806‐2459
21ST DISTRICT AGRICULTURAL           DAVID NALCHAJIAN                   1121 S CHANCE AVE                                                                      FRESNO         CA      93702‐3707
ASSOCIATION ‐ THE BIG FRESNO FAIR
221 SOUTH FRANKLIN RD CORP           C\O TRAMMELL CROW CO               401 PENNSYLVANIA PKWY STE 210                                                          INDIANAPOLIS    IN     46280
2299 KENMORE AVENUE LLC              2299 KENMORE AVE                                                                                                          BUFFALO         NY     14207‐1311
22ND DISTRICT AGRICULTURAL           2260 JIMMY DURANTE BLVD            MARKETING DEPT VAN MILLER                                                              DEL MAR         CA     92014‐2216
ASSOCIATION
22ND DISTRICT AGRICULTURE            MR. VAN MILLER                     2260 JIMMY DURANTE BOULEVARD,                                                          DEL MAR         CA     92014
ASSOCIATION                                                             DEL MAR
22ND JDC CS FUND FOR S MARTIN        ACCT OF JOHN SHAFFER               PO BOX 749                                                                             COVINGTON      LA      70434‐0749
23RD DISTRICT COURT                  23365 GODDARD RD                                                                                                          TAYLOR         MI      48180‐4163
23RD JUDICIAL CIRCUIT COURT          120 N GROVE ST                                                                                                            STANDISH       MI      48658‐2508
240‐02 REALTY LLC                    ATTN KENNETH BRODLIEB              24002 NORTHERN BLVD                                                                    DOUGLASTON     NY      11362‐1062
2427 INVESTMENTS INC                 1 CASUARINA CONCOURSE                                                                                                     CORAL GABLES   FL      33143‐6501
24TH DISTRICT COURT                  6515 ROOSEVELT AVE                                                                                                        ALLEN PARK     MI      48101‐2524
24TH STREET CADILLAC CORPORATION     ROBERT FRANKEL                     10240 YORK RD                                                                          COCKEYSVILLE   MD      21030‐3252
25 MASSACHUSETTS AVENUE PROPERTY     STE 110                            13861 SUNRISE VALLEY DRIVE                                                             HERNDON        VA      20171‐6126
LLC
25 MASSACHUSETTS AVENUE PROPERTY     1280 MARYLAND AVE SW STE 280                                                                                              WASHINGTON      DC     20024‐2150
LLC
25 MASSACHUSETTS AVENUE PROPERTY     C/O REPUBLIC SQUARE LTD PARTNERS   1280 MARYLAND AVE SW STE 280                                                           WASHINGTON      DC     20024‐2150
LLC
25 MASSACHUSETTS AVENUE PROPERTY     PETER J. COLE, FRANK PIERUCCINI    1280 MARYLAND AVE. S.W.                                                                WASHINGTON      DC     20024
LLC C/O REPUBLIC PROPERTY TRUST

25 MASSACHUSETTS AVENUE PROPERTY     FRANK PIERUCCINI                   1280 MARYLAND AVE. S.W.                                                                WASHINGTON      DC     20024
LLC C/O REPUBLIC PROPERTY TRUST

25 MASSACHUSETTS AVENUE PROPERTY     PETER J. COLE                      1280 MARYLAND AVE. S.W.                                                                WASHINGTON      DC     20024
LLC C/O REPUBLIC PROPERTY TRUST

25 MASSACHUSETTS AVENUE PROPERTY     REPUBLIC PROPERTY TRUST            FRANK PIERUCCINI                  1280 MARYLAND AVE. S.W.                              WASHINGTON      DC     20024
LLC C/O REPUBLIC PROPERTY TRUST

250 AUTO WRECKERS                    PO BOX 250                         152 SR 250                                                                             HARRISVILLE    OH      43974‐0250
2500 CENTERPOINT PARKWAY             CENTERPOINT ASSOCIATES LIMITED     200 FRANKLIN CENTER               29100 NORTHWESTERN                                   SOUTHFIELD     MI      48034
INVESTMENTS LIMITED PARTNERSHIP      PARTNERSHIP                                                          HIGHWAY
2539 BILLINGSLEY RD LLC              4586 GATEWAY DR                                                                                                           COLUMBUS       OH      43220‐2824
2539 BILLINGSLEY ROAD LLC            4586 GATEWAY DR                                                                                                           COLUMBUS       OH      43220‐2824
2707250 CANADA INC                   A/S TONY AMICONE                   9400 BOUL ST‐LAURENT SUITE 600                              MONTREAL QUEBEC H2N IP3

2800 CENTERPOINT PARKWAY             CENTERPOINT ASSOCIATES LIMITED     200 FRANKLIN CENTER               29100 NORTHWESTERN                                   SOUTHFIELD      MI     48034
INVESTMENTS LIMITED PARTNERSHIP      PARTNERSHIP                                                          HIGHWAY
                                        09-50026-mg              Doc 7123-3           Filed 09/24/10 Entered 09/24/10 15:05:32                                Exhibit B
                                                                                      Part 1 of 40 Pg 6 of 921
Name                                    Address1                                 Address2                          Address3                     Address4                    City               State Zip
2800 COLONNADE OFFICE ASSOCIAT          C\O EDWIN HALL ASSOCIATES INC            213 S JEFFERSON ST STE 1007                                                                ROANOKE             VA 24011‐1714
2803241 CANADA INC                      ATTN: JOHN VENA                          54 BONIFACE                                                    DDO QUEBEC H9G 2W6
                                                                                                                                                CANADA
285 DORAVILLEPARTNERS, LLC              JED S. BEARDSLEY                         303 PEACHTREE ST NE               SUNTRUST PLAZA, SUITE 4300                               ATLANTA            GA    30308‐3253

290 PRATT STREET LLC                    PULLMAN & COMLEY LLC                     90 STATE HOUSE SQUARE                                                                      HARTFORD           CT    06103
290 PRATT STREET LLC                    C/O PULLMAN & COMLEY LLC                 90 STATE HOUSE SQ                                                                          HARTFORD           CT    06103‐3701
2918340 CANADA INC. O/A M. MUFFLER      190 BOUL. ARMAND FRAPPIER # 300                                                                         SAINTE‐JULIE QC J3E 1Y2
                                                                                                                                                CANADA
295 PARK AVENUE CORP.                   C/O JAN ALAN BRODY ESQ                   CARELLA BYRNE BALN GILFILLAN ET   5 BECKER FARM ROAD                                       ROSELAND            NJ   07068
2A SPA                                                                           STRADA DEL FRANCESE 141/32                                     TORINO,IT,10156,ITALY
2A SPA                                  STRADA DEL FRANCESE 141/32                                                                              TORINO 10156 ITALY
2A SPA                                  VIA ASTI 65                                                                                             SANTENA 10026 ITALY
2C CORPORATION/WARRN                    21500 RYAN RD                                                                                                                       WARREN             MI    48091‐4669
2K AUTO REPAIR                          5138 NE VIVION RD                                                                                                                   KANSAS CITY        MO    64119‐2939
2M RANCH INC
2M SOLUTIONS INC                        2985 S STATE HIGHWAY 360 STE 130                                                                                                    GRAND PRAIRIE      TX    75052‐7680
2M SOLUTIONS INC                        DBA 2M CCTV                              2303 ROOSEVELT DR STE A                                                                    ARLINGTON          TX    76016‐5951
2ND OPINION AUTO CENTER                 1936 CARSON ST                                                                                                                      FORT WORTH         TX    76117‐5709
2ND WIND EXERCISE INC                   7585 EQUITABLE DR                                                                                                                   EDEN PRAIRIE       MN    55344‐3674
2SMS LLC                                ROBERT GRAVES                            999 PLAZA DRIVE SUITE 777                                                                  SCHAUMBURG         IL    60173
2SMS LLC                                11951 FREEDOM DR 13TH FL                                                                                                            RESTON             VA    20190
3 BAY SALES & SERVICE                   338 MILL ST                                                                                             KITCHENER ON N2M 3R7
                                                                                                                                                CANADA
3 CITRON CATERERS                       3232 P ST NW COURTYARD                                                                                                              WASHINGTON         DC    20007
3 D SALES INC                           604 SMITH ST                                                                                                                        ALGONAC            MI    48001‐1441
3 D TRUCKING CORP                       10017 JAQUAY RD                                                                                                                     COLUMBIA STATION   OH    44028‐8619

3 DIMENSIONAL SERVICES                  2547 PRODUCT DR                                                                                                                     ROCHESTER HILLS    MI    48309‐3806
3 DIMENSIONAL/ROCH                      2547 PRODUCT DR                                                                                                                     ROCHESTER HILLS    MI    48309‐3806
3 G SERVICES
3 JS EXPRESS                            89 DUKE ST                                                                                              WALLACEBURG CANADA ON
                                                                                                                                                N8A 1E2 CANADA
3 POINT 1 PHILLIP LIM LLC               260 WEST 39TH ST 17 FLOOR                                                                                                           NEW YORK           NY    10018
3 RIDERS LLC                            39660 SCHOOLCRAFT RD                                                                                                                PLYMOUTH           MI    48170‐2789
3 S INC/CINCINNATI                      607 REDNA TER STE 200                                                                                                               CINCINNATI         OH    45215‐1183
3 W RANCH SERVICE CENTER                896 US HIGHWAY 84 W                                                                                                                 TEAGUE             TX    75860‐5142
3 WIRE GROUP INC                        21 NORTHERN AVE                                                                                                                     PLATTSBURGH        NY    12903‐3904
3, THOMAS F                             2269 N FRIER RD                                                                                                                     TWINING            MI    48766‐9783
3‐D AUTOMOTIVE                          623 W COMMERCE AVE                                                                                                                  GILBERT            AZ    85233
3‐D SALES INC                           604 SMITH ST                                                                                                                        ALGONAC            MI    48001‐1441
3‐D SERVICE LTD                         800 NAVE RD SE                                                                                                                      MASSILLON          OH    44646‐9476
3‐DIMENSIONAL SERVICES                  STEVE KELLY                              2547 PRODUCT DRIVE                                             KYUNG SUN KOREA (REP)
3‐DM TOOL LLC                           32400 FORD RD                                                                                                                       GARDEN CITY        MI    48135‐1512
3‐R ENGINEERING INC                     7601 E 88TH PL BLDG 3                    STE 100                                                                                    INDIANAPOLIS       IN    46256
3‐R ENGINEERING INC                     7601 E 88TH PLACE BUILDING 3 SUITE 100                                                                                              INDIANAPOLIS       IN    46256

300 GALLERIA OFFICENTRE STE 300                                                                                                                                             SOUTHFIELD         MI    48034‐8424
301 AUTO REPAIR                         8175 PATRICK HENRY BLVD                                                                                                             MECHANICSVILLE     VA    23116‐4008
302 ‐ PONTIAC ‐ BOYLE ‐ HALL ‐ LIDGEY   NO ADVERSE PARTY
3093‐5753 QUEBEC INC
3093‐5753 QUEBEC INC                    560 BOUL ARTHUR SAUVE                                                                                   SAINT EUSTACHE PQ J7R 5A8
                                                                                                                                                CANADA
30TH DISTRICT COURT                     313 W KALAMAZO                                                                                                                      LANSING            MI    48933
                                      09-50026-mg            Doc 7123-3        Filed 09/24/10 Entered 09/24/10 15:05:32                  Exhibit B
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Name                                  Address1                            Address2                      Address3             Address4                   City             State Zip
30TH JUDICIAL CIRCUIT COURT           FRIEND OF COURT‐FAMILY SUPP FO      PO BOX 40097                  ACCT OF T HAIRSTON                              LANSING           MI 48901‐7297
                                                                                                        CS#29613‐P
30TH JUDICIAL CIRCUIT COURT           313 W KALAMAZOO                                                                                                   LANSING          MI   48933
31 ST JUDICIAL CIRCUIT COURT          201 MCMORRAN BLVD RM 1100                                                                                         PORT HURON       MI   48060‐4026
311 GARAGE                            311 EASTERN BLVD                                                                                                  ESSEX            MD   21221‐6921
311 TIRE & AUTOMOTIVE                 7610 WALNUT COVE RD                                                                                               WALNUT COVE      NC   27052‐9558
316TH SERVICES SQUADRON               316 SVS/SVK MARKETING OFFICE        1535 COMMAND DR STE B‐212                                                     ANDREWS AFB      MD   20762
3174332 NOVA SCOTIA LTD
31ST DISTRICT COURT                   3401 EVALINE ST                                                                                                   HAMTRAMCK        MI   48212‐3315
32500 VAN BORN ASSOCIATES LP          C\O DIETZ MANAGEMENT                1025 E MAPLE RD STE 200                                                       BIRMINGHAM       MI   48009‐6483
3311 OLD CAPITOL TRAIL PARTNERS LLC   113 QUINTYNNES DR                   C/O BRUCE BALICK                                                              WILMINGTON       DE   19807‐1435

333 IMPORTS INC.
3333 CENTERPOINT PARKWAY              3555 CENTERPOINT PARKWAY            AND CENTERPOINT ASSOCIATES    CITY OF PONTIAC      47450 WOODWARD AVE         PONTIAC          MI   48342‐5009
INVESTMENTS LIMITED PARTNERSHIPS,     INVESTMENTS LIMITED PARTNERSHIPS,   LIMITED PARTNERSHIPS

3339 INVESTMENTS LTD                  C/O MERRILL LYNCH INTERNATIONAL BANK ATTN TAU DEPARTMENT          2 RAFFLES LINK       MARINA BAYFRONT
                                      LIMITED                                                                                SINGAPORE 039392
3450775                               100 PAQUIN RD                                                                          WINNIPEG MB R2J 3V4
                                                                                                                             CANADA
34TH DISTRICT COURT OF ROMULUS        11131 WAYNE RD                                                                                                    ROMULUS          MI   48174‐1472
350 MARINE PARKWAY LLC                C\O POLLACK FINANCIAL GROUP         150 PORTOLA RD                                                                PORTOLA VALLEY   CA   94028‐7852
3500 48TH STREET OWNER LLC            900 THIRD AVENUE                                                                                                  NEW YORK         NY   10022
3501736 CANADA INC.                   ATTN: JAMES CARTER                  845 MARINE DRIVE                                   NORTH VANCOUVERN BC V7P
                                                                                                                             1R7 CANADA
3587517 CANADA INC                    1761 SHERBROOKE ST                                                                     MAGOG CANADA PQ J1X 2T5
                                                                                                                             CANADA
3587517 CANADA INC.                   1761 SHERBROOKE ST                                                                     MAGOG QC J1X 2T5 CANADA

3587517 CANADA, INC.                  RONALD THIBAULT                     1761 RUE SHERBROOKE                                MAGOG QC J1X 2T5 CANADA

35TH JUDICIAL DIST CRT                SHIAWASSEE FRIEND OF THE COURT      COURTHOUSE‐FOR ACCT OF DONALD SMITH CS#11967                                  CORUNNA          MI   00000
360 AUTO TECH COMPLETE AUTO REPAIR    2540 E PIONEER PKWY STE 190                                                                                       ARLINGTON        TX   76010‐5202
& SERVICE
360 EXPRESS INC                       360 EXPRESS MANAGEMENT GROUP        36607 ROLF ST                                                                 WESTLAND         MI   48186‐4010
360 SERVICES INC                      12623 NEWBURGH RD                                                                                                 LIVONIA          MI   48150‐1001
360 SERVICES INTL                     360 SERVICES INC                    12623 NEWBURGH RD                                                             LIVONIA          MI   48150‐1001
3600 CENTERPOINT PARKWAY              200 FRANKLIN CENTER                 29100 NORTHWESTERN HIGHWAY                                                    SOUTHFIELD       MI   48034
INVESTMENTS, LLC
3627730 CANADA INC
36TH DISTRICT COURT                   421 MADISON ST                                                                                                    DETROIT          MI   48226‐2358
36TH STREET AMOCO FOOD SHOP           ATTN: PENNY ROSWELL                 150 36TH ST SW                                                                GRAND RAPIDS     MI   49548‐2104
3701336 CANADA INC
375 HOLDINGS, LLC                     JAMES CHAO                          3805 CROMPOND ROAD                                                            YORKTOWN         NY   10598
                                                                                                                                                        HEIGHTS
37TH DISTRICT COURT                   8300 COMMON RD                                                                                                    WARREN           MI   48093‐2382
39TH JUDICIAL CIRCUIT COURT           425 N MAIN ST                                                                                                     ADRIAN           MI   49221‐2145
3C GMBH, KONIGSTEIN                   MEISENWEG 8A                                                                           61462 KONIGSTEIN GERMANY

3D MASS DESIGN & ENGINEERING          6036 SAN FERNANDO RD                                                                                              GLENDALE         CA   91202‐2721
3D POLYMERS                           JIM CHOTA                           1070 LIVEROIS                                                                 ANDERSON         IN   46013
3D POLYMERS                           1070 LIVERNOIS RD                                                                                                 TROY             MI   48083‐2710
3D POLYMERS INC                       JIM CHOTA                           1070 LIVEROIS                                                                 ANDERSON         IN   46013
3D POLYMERS INC                       1070 LIVERNOIS RD                                                                                                 TROY             MI   48083‐2710
                               09-50026-mg              Doc 7123-3       Filed 09/24/10 Entered 09/24/10 15:05:32       Exhibit B
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Name                           Address1                             Address2                  Address3     Address4                    City         State   Zip
3D POLYMERS INC                JIM CHOTA                            1070 LIVERNOIS                                                     TROY          MI     48083
3D SOLUTION/TROY               165 KIRTS BLVD STE 600                                                                                  TROY          MI     48084‐5214
3D SOLUTIONS INC               165 KIRTS BLVD STE 600                                                                                  TROY          MI     48084‐5214
3D SYSTEMS CORP                333 THREE D SYSTEMS CIR                                                                                 ROCK HILL     SC     29730‐7811
3D SYSTEMS INC                 333 THREE D SYSTEMS CIR              ADD CHNG MW 6/18/02                                                ROCK HILL     SC     29730‐7811
3D SYSTEMS INC                 51092 SUNDAY DR                                                                                         NORTHVILLE    MI     48167‐9171
3D SYSTEMS INC                 333 THREE D SYSTEMS CIR                                                                                 ROCK HILL     SC     29730‐7811
3D SYSTEMS, INC                333 THREE D SYSTEMS CIRCLE                                                                              ROCK HILL     SC     29730
3D SYSTEMS, INC                ATTN: CORPORATE OFFICER/AUTHORIZED   333 THREE D SYSTEMS CIR                                            ROCK HILL     SC     29730‐7811
                               AGENT
3DM TOOL LLC                   42040 KOPPERNICK RD STE 407                                                                             CANTON        MI     48187‐2417
3DSUG                          1297 PINE BURR DR                                                                                       LUGOFF        SC     29078‐9378
3E TRADING, LLC
3G SERVICES INC                12254 UNIVERSAL DR                                                                                      TAYLOR        MI     48180‐4074
3GREATER ROCHESTER O           30 HAGEN DR STE 220                                                                                     ROCHESTER     NY     14625‐2658
3I GROUP PLC                   16 PALACE ST                                                                LONDON SW1E 5JD GREAT
                                                                                                           BRITAIN
3I GROUP PLC                   31132 CENTURY DR                                                                                        WIXOM         MI     48393‐2073
3I GROUP PLC                   GREG NIBLING X16                     31132 CENTURY DR                       KITCHENER ON CANADA
3I INTERNATIONAL IMPULSE INC   211 W YANDELL DR                                                                                        EL PASO      TX      79902‐3923
3IS INC                        22006 YORK MILLS CIR                                                                                    NOVI         MI      48374‐3870
3M                             3M AUTOMOTIVE 223‐1S‐02                                                                                 SAINT PAUL   MN      55144‐1000
3M                             19460 VICTOR PKWY                                                                                       LIVONIA      MI      48152‐1061
3M                             ORDER ENTRY & COMMUNICATION SY       3M CENTER BLDG 3011W10                                             SAINT PAUL   MN      55144‐1000
3M                             DAVID HASLERUD                       3M CENTER                                                          SAINT PAUL   MN      55144‐0001
3M                             3M CENTER 225‐IN‐16                                                                                     SAINT PAUL   MN      55144‐0001
3M                             3M CENTER BLDG 225‐01‐N‐20                                                                              SAINT PAUL   MN      55144‐1001
3M                             2807 PAYSPHERE CIR                                                                                      CHICAGO      IL      60674‐0028
3M 3M JRQ8989 (MO)             PO BOX 33427                                                                                            SAINT PAUL   MN      55133‐3427
3M AUSTRALIA PTY LTD           950 PACIFIC HIGHWAY                  PYMBLE NSW 2073                        PYMBLE NSW 2073 AUSTRALIA

3M AUTO SERVICES               220 13 EAST 3M CTR                                                                                      SAINT PAUL   MN      55144‐0001
3M AUTOMOTIVE SERVICES         3M CENTER BLDG 221‐1                                                                                    SAINT PAUL   MN      55144‐1001
3M AUTOMOTIVE/STHFLD           710 N STATE ST                                                                                          FAIRMONT     MN      56031‐3851
3M AUTOMOTIVE/STHFLD           19460 VICTOR PKWY                                                                                       LIVONIA      MI      48152‐1061
3M AUTOMOTIVE/STHFLD           1987 INDUSTRIAL BLVD S               P.O. BOX 366                                                       STILLWATER   MN      55082‐6049
3M CANADA CO                   1840 OXFORD ST E                     PO BOX 5757 STN CTR CSC                LONDON ON N6A 4T1 CANADA

3M CANADA CO                   6611 NORTHWEST DR                                                           MISSISSAUGA ON L4V 1L1
                                                                                                           CANADA
3M CANADA COMPANY              BARRY BRADLEY                        6611 NORTHWEST DR                                                  WOOSTER      OH      44691
3M CANADA COMPANY              1840 OXFORD ST E                                                            LONDON CANADA ON N5V 3R6
                                                                                                           CANADA
3M CANADA INC                  COMPAGNIE 3M CANADA                  1840 OXFORD ST E                       LONDON CANADA ON N6A
                                                                                                           4M2 CANADA
3M CANADA LIMITED
3M CO                          3M CENTER BLDG 22011W02                                                                                 SAINT PAUL   MN      55144‐1000
3M CO                          710 N STATE ST                                                                                          FAIRMONT     MN      56031‐3851
3M CO                          19460 VICTOR PKWY                                                                                       LIVONIA      MI      48152‐1061
3M CO                          101 TRIENT DR                                                                                           WOODVILLE    WI      54028‐7053
3M CO                          19460 VICTOR PKWY                    PO BOX 537907                                                      LIVONIA      MI      48152‐1061
3M CO                          1987 INDUSTRIAL BLVD S                                                                                  STILLWATER   MN      55082‐6049
3M CO                          220 13 EAST 3M CTR                                                                                      SAINT PAUL   MN      55144‐0001
3M CO                          299 CLAY ST                                                                                             WELLINGTON   OH      44090‐1128
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Name                             Address1                         Address2                       Address3                      Address4                     City               State Zip
3M CO                            AV RAMON RIVERA LARA 6620 COL                                                                 CIUDAD JUAREZ CI 32605
                                                                                                                               MEXICO
3M CO                            AV RAMON RIVERA LARA 6620 COL    PARQUE IND RAMON RIVERA LARA                                 CIUDAD JUAREZ CI 32605
                                                                                                                               MEXICO
3M CO                            BARRY BRADLEY                    6611 NORTHWEST DR                                            MISSISSAUGA ON CANADA
3M CO                            BETTY HAGOPIAN                   101 TRIENT DR                  C/O TRIENT TECHNOLOGIES                                    WOODVILLE           WI   54028‐7053
                                                                                                 INC
3M CO                            BETTY HAGOPIAN                   3M COMPANY                     2300 WHITE OAK CIRCLE                                      DESHLER            OH    43516
3M CO                            BETTY HAGOPIAN                   C/O EXEL INC                   11751 ALAMEDA AVE                                          BELLEVILLE         MI    48111
3M CO                            BETTY HAGOPIAN                   C/O TRIENT TECHNOLOGIES INC    101 TRIENT DRIVE                                           WHEELING           IL    60090
3M CO                            HWY 35 CEDAR                                                                                                               PRAIRIE DU CHIEN   WI    53821
3M CO                            JACKIE STELTER                   710 N STATE ST                                                                            FAIRMONT           MN    56031‐3851
3M CO                            JACKIE STELTER                   710 N. STATE STREET                                                                       PENSACOLA          FL    32514
3M CO                            JAMES ALLAN                      3130 LEXINGTON AVE. S                                                                     BELLE PLAINE       IA    52208
3M CO                            P.O.BOX 327, HIGHWAY 71, SOUTH                                                                                             TROY               MI    48099
3M CO                            ATTN: GEORGE HRABIK              1301 LOWELL ST                                                                            ELYRIA             OH    44035‐4864
3M CO, AUTOMOTIVE INNOVATION     19460 VICTOR PKWY                                                                                                          LIVONIA            MI    48152‐1061
CENTER
3M CO.                           3M CENTER BLDG 221‐01‐01                                                                                                   SAINT PAUL         MN    55144‐1001
3M COMPANY                       19460 VICTOR PKWY                                                                                                          LIVONIA            MI    48152‐1061
3M COMPANY                       1987 INDUSTRIAL BLVD S                                                                                                     STILLWATER         MN    55082‐6049
3M COMPANY                       3M CENTER BLDG 209‐2W‐25                                                                                                   SAINT PAUL         MN    55144‐1001
3M COMPANY                       BETTY HAGOPIAN                   101 TRIENT DR                  C/O TRIENT TECHNOLOGIES                                    WOODVILLE          WI    54028‐7053
                                                                                                 INC
3M COMPANY                       BETTY HAGOPIAN                   C/O TRIENT TECHNOLOGIES INC    101 TRIENT DRIVE                                           KEARNEY            NE    68847
3M COMPANY                       C/O DONALD J CAMERSON II ESQ     BRESSLER AMERY & ROSS PC       PO BOX 1980                                                MORRISTOWN         NJ    07962
3M COMPANY                       ATT: ALAN E. BROWN               OFFICE OF GENERAL COUNSEL      3M CENTER, BUILDING 220‐9E‐                                ST. PAUL           MN    55144‐1000
                                                                                                 02
3M COMPANY AND 3M INNOVATIVE     201 AIRPORT RD                                                                                                             ELKTON             MD    21921‐4135
PROPERTIES COMPANY
3M COMPANY AND 3M INNOVATIVE     19460 VICTOR PKWY                PO BOX 537907                                                                             LIVONIA             MI   48152‐1061
PROPERTIES COMPANY
3M DE MEXICO SA DE CV            DE ARAGON 516                                                                                 SAN JUAN MEXICO 07070
                                                                                                                               MEXICO
3M JRW0905                       2300 WHITE OAK CIR                                                                                                         AURORA              IL   60502‐9676
3M KOREA LTD                     BETTY HAGOPIAN                   C/O TRIENT TECHNOLOGIES INC    101 TRIENT DRIVE                                           WHEELING            IL   60090
3M MEXICO SA DE CV               AV SANTA FE # 190 COL SANTA FE   DF                                                           COL SANTA FEDERAL CP 01210
                                                                                                                               MEXICO
3M OF PUERTO RICO, INC.          JANNETTE FONTANEZ                EDIF TORRE CHARDON                                                                        HATO REY            PR
3M TOOL/WALLED LAKE              8155 RICHARDSON RD                                                                                                         COMMERCE            MI   48390‐4131
                                                                                                                                                            TOWNSHIP
3M TRIM LINE                     500 WENTWORTH ST E STE 1 & 2                                                                  OSHAWA CANADA ON L1H 3V9
                                                                                                                               CANADA
3M‐FAIRMONT                      JACKIE STELTER                   710 N STATE ST                                                                            FAIRMONT           MN    56031‐3851
3M‐FAIRMONT                      JACKIE STELTER                   710 N. STATE STREET                                                                       PENSACOLA          FL    32514
3M/ATLANTA                       2860 BANKERS INDUSTRIAL DR                                                                                                 ATLANTA            GA    30360‐2713
3M/EAGAN                         3130 LEXINGTON AVE S                                                                                                       EAGAN              MN    55121‐2239
3M/LIVONIA                       19460 VICTOR PKWY                                                                                                          LIVONIA            MI    48152‐1061
3M/MEXICO                        SAN UAN DE ARAGON #516                                                                        MEXICO
3M/WOODVILLE                     19460 VICTOR PKWY                                                                                                          LIVONIA            MI    48152‐1061
3P BUSINESS SOLUTIONS            7440 DUVAL DR                                                                                                              BLOOMFIELD HILLS   MI    48301‐3621
3POINT MACHINE INC               26290 W 8 MILE RD                                                                                                          SOUTHFIELD         MI    48033‐3650
3RD JUDICIAL CIR FRIEND OF CRT   FOR ACCT OF MARVIN JOHNSON       1100 CADILLAC TOWER                                                                       DETROIT            MI    48226
3S INC                           607 REDNA TER STE 200                                                                                                      CINCINNATI         OH    45215‐1183
                                        09-50026-mg             Doc 7123-3       Filed 09/24/10 Entered 09/24/10 15:05:32                     Exhibit B
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Name                                    Address1                            Address2                        Address3             Address4                  City               State Zip
3S INC                                  120 MOORE ST                                                                                                       WEST HARRISON       IN 47060‐1046
4 & 1 IMPORTS
4 ACES AUTO CENTRE LTD                  485 PARKHILL RD. E                                                                       PETERBOROUGH ON K9L 1C2
                                                                                                                                 CANADA
4 B WOOD CUSTOM CABINETS INC            5125 GREENWICH RD                                                                                                  SEVILLE            OH   44273‐9413
4 IMPRINT                               101 COMMERCE ST                     PO BOX 320                                                                     OSHKOSH            WI   54901‐4864
4 J'S INC.                              JAMES HANSEN                        325 E BLACKHAWK AVE                                                            PRAIRIE DU CHIEN   WI   53821‐1532
4 M TIRE & DIAGNOSTIC CENTER            705 E MAIN ST                                                                                                      TRINIDAD           CO   81082‐2720
4 POINT LIFT SYSTEMS LIFT SYSTEMS       1505 7TH ST                                                                                                        EAST MOLINE        IL   61244‐2112
4 S AUTO SERVICE                        908 STUYVESANT AVE                                                                                                 IRVINGTON          NJ   07111‐1103
4 WAY TRANSPORTATION INC                16839 ASHTON AVE                                                                                                   DETROIT            MI   48219‐4101
4‐SERV FOURTH GENERATION SERVICES       4700 ROCHESTER RD                                                                                                  TROY               MI   48085‐4929

4‐WHEEL DRIVE SPECIALTY                 7710 W BROAD ST                                                                                                    RICHMOND           VA   23294‐6300
400 GROUP                               PO BOX 97084                                                                                                       CHICAGO            IL   60678‐7084
407 ETR OPERATION CENTER                COMMERCIAL ACCOUNTS                 6300 STEEPLES AVE W                                  WOODBRIDGE ON L4H 1J1
                                                                                                                                 CANADA
41 B DISTRICT COURT                     1 CROCKER BLVD                                                                                                     MOUNT CLEMENS      MI   48043‐2525
41‐B DISTRICT COURT                     22380 STARKS DR                                                                                                    CLINTON TWP        MI   48036‐1197
416 TIRE SERVICE                        31 CLOTHIER ST EAST                                                                      KEMPTVILLE ON K0G 1J0
                                                                                                                                 CANADA
41B DISTRICT COURT                                                                                                                                         CLINTON TOWNSHIP   MI   48038‐1197

4200 EAST RIVER ROAD, LTD. C/O MILLER   SCOTT NAGLE                         3100 DRYDEN RD                                                                 MORAINE            OH   45439‐1622
VALENTINE GROUP
425 ARDSLEY LLC                         2 DEARFIELD DR STE 300                                                                                             GREENWICH          CT   06831‐5301
425 ARDSLEY, LLC                        JOHN P. TESEI                       31 BROOKSIDE DR                 PO BOX 658                                     GREENWICH          CT   06830‐6422
425 ARDSLEY, LLC                        2 DEARFIELD DR.                                                                                                    GREENWICH          CT   06831
427 N SCHOOL ST                         PO BOX 261                                                                                                         PITTSBURGH         PA   15202‐2452
42ND STREET PLAZA LLP                   ATTN BRUCE HAGER                    1535 42ND STREET SW                                                            FARGO              ND   58103
42ND STREET PLAZA, LLP                  ATTN: BRUCE HAGER                   1535 42ND STREET SW                                                            FARGO              ND   58103
4309642 CANADA INC.                     C/O GM CHINA INVESTMENTS CO., LTD   22ND/23RD FLOOR AURORA PLAZA    NO. 99 FUCHENG RD.   PUDONG SHANGHAI 200120
                                                                                                                                 CHINA (PEOPLE'S REP)
43RD DISTRICT COURT ‐ FERNDALE          305 E 9 MILE RD                                                                                                    FERNDALE           MI   48220‐1719
440 GORD AUTOMOTIVE REPAIR              5529 SOOKE RD                                                                            SOOKE BC V9Z 0C7 CANADA
44TH DISTRICT COURT                     400 E 11 MILE RD                                                                                                   ROYAL OAK          MI   48067‐2736
45‐A DISTRICT COURT                     3338 COOLIDGE HWY                                                                                                  BERKLEY            MI   48072‐1636
4500 MATTHEW DRIVE LLC                  C\O WILLIAM E HOLLAN JR MGR         1100 C S STRATFORD RD STE 102                                                  WINSTON SALEM      NC   27103
46TH DISTRICT COURT PARKING             26000 EVERGREEN RD                                                                                                 SOUTHFIELD         MI   48076‐4453
VIOLATIONS
47TH DISTRICT COURT                     31605 W 11 MILE RD                                                                                                 FARMINGTON HILLS   MI   48336‐1105

48086 ‐ MORASM5                         STEVE SCHMITZ                       1525 GRATIOT STREET                                                            SAINT LOUIS        MO
485 PROPERTIES LLC                      100 E BIG BEAVER RD STE 100         APEX MGMT INC                                                                  TROY               MI   48083‐1240
48TH DISTRICT COURT                     4280 TELEGRAPH RD                                                                                                  BLOOMFIELD HILLS   MI   48302‐2038
48TH EXECUTIVE COURT LLC                1107 48TH AVE N STE 119                                                                                            MYRTLE BEACH       SC   29577
4B LOGISTICS LLC                        3685 W ASPEN                                                                                                       CASPER             WY   82601‐9767
4CM INC                                 31 SAWYER PKWY                                                                                                     MANSFIELD          OH   44903‐6514
4D CONCEPTS GMBH                        FRANKFURTER STR 74                                                                       GROSS‐GERAU D‐64521
                                                                                                                                 GERMANY
4D CONCEPTS PROTOTYPING SOFTWARE        FRANKFURTER STR 74                                                                       GROSS‐GERAU HE 64521
                                                                                                                                 GERMANY
4D INGENIEURGESELLSCHAFT                FUR TECHN DIENSTLEISTUNJEN MBH      BURGWEDELER STRABE 79                                LSEMHAZEN 30916 GERMANY
                                    09-50026-mg               Doc 7123-3     Filed 09/24/10 Entered 09/24/10 15:05:32                          Exhibit B
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Name                                Address1                            Address2                           Address3                Address4                 City               State Zip
4FLOW AG                            HALLERSTRASSE 1                                                                                BERLIN 10587 GERMANY
4FLOW AG
4GEN                                2720 S. RIVER ROAD                                                                                                      DES PLAINES         IL   60018
4GEN CONSULTING                     2800 S RIVER RD STE 270                                                                                                 DES PLAINES         IL   60018‐6003
4IMPRINT                            210 COMMERCE ST                     PO BOX 320                                                                          OSHKOSH             WI   54901
4IMPRINT, INC.
4J S INC                            CZAJKOWSKI, HIGGINS & RIDER, S.C.   PO BOX 7                                                                            PRAIRIE DU CHIEN   WI    53821‐0007
4M EMERGENCY SYSTEMS                PO BOX 200548                                                                                                           PITTSBURGH         PA    15251‐0548
4M EMERGENCY SYSTEMS                PO BOX 200482                                                                                                           PITTSBURGH         PA    15251‐0482
4M INDUSTRIES INC                   35300 GLENDALE ST                                                                                                       LIVONIA            MI    48150‐1243
4M PARTS WAREHOUSE                                                      402 E CHAMBERS ST                                                                   CLEBURNE           TX    76031
4M PARTS WAREHOUSE                  402 E CHAMBERS ST                                                                                                       CLEBURNE           TX    76031‐5626
4TH ANNUAL DEAN DEPIERO RUN         5546 PEARL RD                                                                                                           PARMA              OH    44129‐2541
4TH CIRCUIT CRT FAMILY DIV          312 JACKSON ST                                                                                                          JACKSON            MI    49201
4TH DIMENSION PROMOTIONAL           31393 W 13 MILE RD STE 100                                                                                              FARMINGTON HILLS   MI    48334‐2232
PRODUCTS INC
4TH JDC‐CS FUND                     ACCT OF CHARLES STEVENSON           PO BOX 1552                                                                         MONROE              LA   71210‐1552
4TH NORTH CARSMART AUTOMOTIVE       58 1/2 W 400 N                                                                                                          LOGAN               UT   84321
REPAIR
4TH STREET AUTO REPAIR              1118 E 4TH ST                                                                                                           DULUTH             MN    55805‐2219
4WALLS.COM
5 0 TAXI                            16 MITCHELL ST                      ST CATHARINES                                              ONTARIO CANADA ON LZR
                                                                                                                                   3W4 CANADA
5 CORNERS PONTIAC GMC TRUCK CENTER, ROBERT HABICH                       1266 WASHINGTON AVE                                                                 CEDARBURG           WI   53012‐9304

5 CORNERS PONTIAC GMC TRUCK CENTER, 1266 WASHINGTON AVE                                                                                                     CEDARBURG           WI   53012‐9304

5 CORNERS PONTIAC GMC TRUCK CENTER, ROBERT HABICH                       1266 WASHINGTON AVE                                                                 CEDARBURG           WI   53012‐9304
INC.
5 CORNERS PONTIAC GMC TRUCK CENTER, 1266 WASHINGTON AVE                                                                                                     CEDARBURG           WI   53012‐9304
INC.
5 PEAKS ADVENTURES LTD              4‐700 ST. GEORGES AVE                                                                          NORTH VANCOUVER BC V7L
                                                                                                                                   4T1 CANADA
5% BUSINESS PLAN PERFORMANCE FOR    DOUGLAS BURCICKI                    BLDG 1‐4‐28                                                TOKYO JAPAN
ALL GMNA BUSINESS.
5, HARRY K                          2513 PLAINFIELD AVE                                                                                                     FLINT               MI   48506
5, NICHOLAS J                       135 EVANS ST                        BLOCHER HOMES                                                                       WILLIAMSVILLE       NY   14221‐5527
500 FESTIVAL INC                    ATTN BRUCE BUCHANAN                 21 VIRGINIA AVE STE 500            500 FESTIVAL BUILDING                            INDIANAPOLIS        IN   46204‐3660
500 FESTIVAL, INC.                  DAVE WILSON                         500 FESTIVAL BUILDING, SUITE 500   21 VIRGINIA AVE.                                 INDIANAPOLIS        IN   46204
50TH DISTRICT COURT                 70 N SAGINAW ST                                                                                                         PONTIAC             MI   48342‐2152
51‐2003‐DR‐5664‐WS, F. D.           PO BOX 8500                         OBO: GILBERT YORK                                                                   TALLAHASSEE         FL   32314‐8500
51005 ‐ CANADA REVERSE WEEKLY       DAVID ENGLERT                       4700 STATE ROUTE 56                                                                 OWENSBORO           KY   42301‐9303
52‐1 DISTRICT COURT                 48150 GRAND RIVER AVE                                                                                                   NOVI                MI   48374‐1222
52‐2 DISTRICT COURT                 5850 LORAC DR                                                                                                           CLARKSTON           MI   48346‐2947
52‐4 DISTRICT COURT                 520 W BIG BEAVER RD                                                                                                     TROY                MI   48084‐5254
54 ‐ A DISTRICT COURT               124 W MICHIGAN AVE                  6TH FLOOR CITY HALL                                                                 LANSING             MI   48933
54 B DISTRICT COURT CITY OF EAST    101 LINDEN ST                                                                                                           EAST LANSING        MI   48823‐4311
LANSING
54‐B DISTRICT COURT                 PARKING DIVISION                    101 LINDEN ST                                                                       EAST LANSING        MI   48823‐4311
54B DISTRICT COURT                  PARKING DIVISION                    101 LINDEN ST                                                                       EAST LANSING        MI   48823‐4311
55 TRNS/LGTM                        106 PEACEKEEPER DR STE 2N3                                                                                              OFFUTT A F B        NE   68113‐3299
552429 ONTARIO LTD                  JASON WOOD                          6539 WESTLAND WAY STE 20                                                            LANSING             MI   48917‐9581
552429 ONTARIO LTD                  JULIE TANGUAY                       389 SOUTH EDGEWARE RD                                      ST THOMAS ON N5P 4C5
                                                                                                                                   CANADA
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Name                               Address1                           Address2                 Address3                 Address4                   City               State Zip
55TH DIXTRICT COURT                700 BUHL ST                                                                                                     MASON               MI 48854‐1002
56 INDUSTRIES INC                  13676 STATION RD                                                                                                COLUMBIA STATION    OH 44028‐9538

5607 NEW KING ASSOCIATES           C/O GALE & WENTWORTH LLC           200 CAMPUS DR STE 200    PW\MS MICH MGMT CO INC                              FLORHAM PARK        NJ   07932‐1007

57TH DISTRICT COURT                113 CHESTNUT ST                                                                                                 ALLEGAN            MI    49010‐1332
591182 ONTARIO LTD                 RICHARD LAWRENCE                   2500 AIRPORT RD                                   WINDSOR ON N8W 5E7
                                                                                                                        CANADA
591496 ONTARIO LTD                                                    1900 PROVINCIAL RD RR1                                                       WINDSOR            ON    N9A 6
5TH AVENUE DRUG, INC               1805 FIFTH AVENUE                                                                                               BAY SHORE          NY    11706
5TH AVENUE SIGNATURE SALON         ATTN: WENDY REZVANI                1716 5TH ST                                                                  BEDFORD            IN    47421‐2012
6 DEGREES LLC
6:21 HEARTLAND PARTNERS, LLC       GREGORY BRUNER                     300 E COMMERCE ST                                                            BROWNWOOD          TX    76801‐1824
6\10 CORPORATION                   PO BOX 7378                                                                                                     WINTER HAVEN       FL    33883‐7378
60 MINUTE TUNE                     11920 BALBOA BLVD                                                                                               GRANADA HILLS      CA    91344‐2755
600 FESTIVAL ASSOCIATION           MR. JAY HOWARD                     6427 SADDLE CREEK CT.,                                                       HARRISBURG         NC    28075
600 FESTIVAL ASSOCIATION INC       6427 SADDLE CREEK CT                                                                                            HARRISBURG         NC    28075‐6660
600 GROUP MACHINE TOOLS            5220 GENERAL RD                                                                      MISSISSAUGA CANADA ON
                                                                                                                        L4W 1G8 CANADA
600 GROUP PLC, THE
6000 FAIRVIEW ASSOCIATES           C\O QUEENS PROPERTIES INC          6060 JA JONES DR                                                             CHARLOTTE          NC    28287
6000 S. CORPORATION                DALE SOBEK                         43801 OSGOOD RD                                                              FREMONT            CA    94539‐5630
602769 ONTARIO LTD
604402 NB LTD                      2070 HADWEN ROAD                   MISSISSAUGA,NA,L5K2C9                             CANADA
604402 NB LTD                      2070 HADWEN RD UNIT 210B                                                             MISSISSAUGA ON L5K 2C9
                                                                                                                        CANADA
60TH DISTRICT COURT MUSKEGON       990 TERRACE STREET                                                                                              MUSKEGON           MI    49442
6100 FAIRVIEW ASSOCIATES           C\O QUEENS PROPERTIES INC          6060 J.A. JONES DR                                                           CHARLOTTE          NC    28287
612465 ONTARIO LTD                 6190 DON MURIE ST SS 12                                                              NIAGARA FALLS ON L2E 6X8
                                                                                                                        CANADA
6153933 CANADA INC.                240 VAL DÆAMOUR ROAD                                                                 CAMPBELLTON NB E3N 3H3
                                                                                                                        CANADA
619366 ONTARIO LTD                 MIKE OUELLETTE                     278 PATILLO ROAD                                  WINDSOR ON N8N2L9
                                                                                                                        CANADA
619366 ONTARIO LTD                 TINA CARLINI                       278 PATILLO ROAD                                  TECUMSEH ON N8N2L9
                                                                                                                        CANADA
62 SPORTS GROUP                    1707 CAMERON CT                                                                                                 EDWARDSVILLE       IL    62025‐4142
62‐A DISTRICT COURT                180 OTTAWA AVE NW                                                                                               GRAND RAPIDS       MI    49503‐2703
6249931 CANADA INC
625259 ONTARIO LTD                 137 DUNCAN ST                                                                        WELLAND ON L3B 2E4
                                                                                                                        CANADA
637166 ONTARIO LTD
654075 ONTARIO INC
654075 ONTARIO INC                 14 ST NEOTS DR                                                                       LONDON CANADA ON N6C
                                                                                                                        2M9 CANADA
67 DISTRICT COURT                  8173 S SAGINAW ST                                                                                               GRAND BLANC        MI    48439‐1825
67‐1ST DISTRICT COURT              630 S SAGINAW ST STE 124                                                                                        FLINT              MI    48502‐1525
67‐4 DISTRICT COURT                17100 SILVER PKWY STE C                                                                                         FENTON             MI    48430‐3468
67‐4A DISTRICT COURT               1415 FLUSHING RD                                                                                                FLUSHING           MI    48433‐2228
67TH DISTRICT COURT                1415 FLUSHING RD                                                                                                FLUSHING           MI    48433‐2228
67TH JUDICIAL DISTRICT COURT       1415 FLUSHING RD                                                                                                FLUSHING           MI    48433‐2228
682682 ALBERTA LTD, LENDRUM AUTO   2‐9820 47 AVE NW                                                                     EDMONTON AB T6E 5P3
                                                                                                                        CANADA
68TH DISTRICT COURT                630 SOUTH SAGINAW STREET                                                                                        FLINT              MI    48502
                                     09-50026-mg                Doc 7123-3      Filed 09/24/10 Entered 09/24/10 15:05:32                     Exhibit B
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Name                                 Address1                              Address2                        Address3              Address4                  City            State   Zip
68TH STREET SITES ESCROW FUND        C/O BANK OF N Y INSURANCE             TRUST & E ATTN THOMASHACKER     101 BARCLAY 8 W                                 NEW YORK         NY     10286‐0001
6TH JUDICIAL CIR CRT ACT OF          J K BISTOFF II                        1200 N TELEGRAPH ROAD                                                           PONTIAC          MI     48341
6TH JUDICIAL DISTRICT COURT          ACCT OF STEPHEN BONE                  1200 N TELEGRAPH RD                                                             PONTIAC          MI     48341
7 JAYS, LLC                          ATTN: PRESIDENT                       2121 WEST MAIN STREET                                                           ALHAMBRA         CA     91801
7 JAYS, LLC                          ATTN: JUAN L. GONZALES                2121 WEST MAIN STREET                                                           ALHAMBRA         CA     91801
7‐ELEVEN                             ATTN: BILLY SING                      11690 SNOW RD                                                                   CLEVELAND        OH     44130‐1734
7‐ELEVEN                             ATTN: MERON RAHMAN                    1179 BALDWIN AVE                                                                PONTIAC          MI     48340‐2709
7‐ELEVEN, INC.                       DAVID EAMMA                           ONE ARTS PLAZA                                                                  DALLAS           TX
700 BROADWAY LLC                     700 PROVIDENCE HWY                                                                                                    NORWOOD          MA     02062
700 BROADWAY REALTY TRUST            ATTN: JAMES J. MCNULTY, ESQ.          700 BROADWAY                                                                    MALDEN           MA     02148‐2042
70B CIRCUIT COURT                    440 N STATE ST                                                                                                        CARO             MI     48723
70TH DISTRICT STATE COURT            ACCT OF BRADY FOREMAN
72 HOUR LLC.                         CLARKE COOPER                         490 AUTO CENTER DR                                                              WATSONVILLE      CA     95076‐3726
7300 SIX FORKS ASSOCIATES            C\O CURTIS D DEAN                     4713 BARTWOOD DR                                                                RALEIGH          NC     27613‐7053
736 JAVA                             ATTN: FRIEDA SAMPSON                  736 LOTHROP RD                                                                  DETROIT          MI     48202‐2715
74TH DISTRICT COURT                  1230 WASHINGTON AVE                                                                                                   BAY CITY         MI     48708‐5756
76 DISTRICT COURT                    300 NORTH MAIN STREET                                                                                                 MT PLEASANT      MI     48858
767 FIFTH PARTNERS LLC               767 FIFTH PARTNERS LLC, ATTN: LEASE   599 LEXINGTON AVE FL 1800                                                       NEW YORK         NY     10022‐7661
                                     ADMINISTRATOR
767 FIFTH PARTNERS LLC               C/O CAPITAL ONE NA                    PO BOX 3085                                                                     HICKSVILLE       NY     11802‐3085
771068 ONTARIO LIMITED               T\A PROVINCIAL SERVICES               1783 ALLANPORT RD                                     ALLANBURG CANADA ON L0S
                                                                                                                                 1A0 CANADA
777 EDUCATION & CONSULTING I         3131 BRISBANE DR                                                                                                      LANSING         MI      48911‐1308
78TA.COM                             BRETT CAMPBELL                        7307 GRANT ST                                                                   MENTOR          OH      44060‐4705
7TH CIRCUIT COURT                    900 S SAGINAW ST                                                                                                      FLINT           MI      48502
7TH SENSE LIMITED PARTNERSHIP        30700 TELEGRAPH RD, SUITE 2420                                                                                        BINGHAM FARMS   MI      48025
80/20 INC                            1701 S 400 E                                                                                                          COLUMBIA CITY   IN      46725‐8753
801 CREDIT UNION                     2750 SPRINGBORO RD                                                                                                    MORAINE         OH      45439‐1806
801 CREDIT UNION CORP                2750 SPRINGBORO RD                                                                                                    MORAINE         OH      45439‐1806
803095 ONTARIO LTD                   3215 ELECTRICITY DR                                                                         WINDSOR ON N8W 5J1
                                                                                                                                 CANADA
8080 LLC                             453 S WEBB RD STE 310                 ATTN KEITH MCCOY                                                                WICHITA          KS     67207‐1312
8084‐3301 QUEBEC INC REAL PELLERIN   C/O VALERIE BELLE‐ISLE LAVERY         SUITE 4000                      1 PLACE VILLE MARIE   MONTREAL QC H3B 4M4
81ST DISTRICT COURT                  PO BOX 129                                                                                                            STANDISH         MI     48658‐0129
822 PINNACLE MEDICAL                 7252 MANATEE AVE W                                                                                                    BRADENTON        FL     34209‐3439
839887 ONTARIO INC                   EMIDIO MELARA                         62 PLANT FARM BLVD.                                   OAKVILLE ON CANADA
84 LUMBER                            ATTN: MATT HARMAN                     1225 W ALEXIS RD                                                                TOLEDO          OH      43612‐4205
851 DUPORTAIL LP                     955 CHESTERBROOK BLVD STE 120                                                                                         CHESTERBROOK    PA      19087‐5615
851 DUPORTAIL ROAD                   851 DUPORTAIL LP                      955 CHESTERBROOK BLVD STE 120                                                   CHESTERBROOK    PA      19087
86TH STREET CHEVROLET SAAB           JOHN MANGANELLI                       1575 86TH ST                                                                    BROOKLYN        NY      11228‐3420
86TH STREET CHEVROLET SAAB           MANGANELLI, JOHN A.                   1575 86TH ST                                                                    BROOKLYN        NY      11228‐3420
86TH STREET CHEVROLET SAAB           1575 86TH ST                                                                                                          BROOKLYN        NY      11228‐3420
86TH STREET CHEVROLET, INC.          JOHN MANGANELLI                       1575 86TH ST                                                                    BROOKLYN        NY      11228‐3420
88MPH STUDIOS, INC.
89908 INC                            2552 MCGAW AVE                                                                                                        IRVINE          CA      92614‐5842
89908 INC                            JAY SMITH                             89908 INC.                      2552 MCGAW AVENUE                               GAINESVILLE     GA      30504
8TH DISTRICT COURT                   150 E CROSSTOWN PKWY                                                                                                  KALAMAZOO       MI      49001‐2849
9 SYLVAN WAY LLC                     120 LITTLETON RD STE 110                                                                                              PARSIPPANY      NJ      07054
9‐11 MEMORIAL FUND                   3819 ELMWOOD AVE                                                                                                      AUSTINTOWN      OH      44515‐3118
9049‐3990 QUEBEC INC.                1295 BELLECHASSE                                                                            MONTREAL QC H2S 1Z1
                                                                                                                                 CANADA
905388 ONTARIO LTD                   13480 SYLVESTRE ST                                                                          TECUMSEH ON N8N 2L9
                                                                                                                                 CANADA
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Name                                   Address1                           Address2                      Address3   Address4                  City               State Zip
9091‐1090 QUEBEC INC                   115 RUE DES PME                                                             SHERBROOKE QC J1C 0R2
                                                                                                                   CANADA
910TH AIRLIFT WING                     YOUNGSTOWN AIR RESERVE STATION     3976 KING GRAVES RD UNIT 12                                        VIENNA             OH    44473‐5998
9147‐5830 QUEBEC INC. M. MUFFLER       1729 RUE SHERBROOKE                                                         MAGOG QC J1X 2T5 CANADA

916845 ONTARIO LTD                     MICHELLE TAYLOR                    1501 HOWARD AVE                          WINDSOR ON N8X3T5
                                                                                                                   CANADA
916845 ONTARIO LTD                     RONALD TAYLOR                      877 WALKER ROAD                          WINDSOR ON N8Y 4R5
                                                                                                                   CANADA
9192‐8788 QUEBEC INC                   AIS PIERRE POITRAS                 764 AVENUE LAVALLEE                      LAVAL QUEBEC H7E 2WT
                                                                                                                   CANADA
94 POINT 7 WCSX RADIOSTATION CLASSIC   1 RADIO PLAZA ST                                                                                      DETROIT             MI   48220‐2140
ROCK
941807 ONTARIO LTD
9496 WILDCAT RD.                                                                                                                             KELSEYVILLE         CA   95451
968402 ONTARIO LTD
974731 ONTARIO INC                     200 BASELINE RD E UNIT 6                                                    BOWMANVILLE ON L1C 1A2
                                                                                                                   CANADA
975 OPDYKE LP                          29100 NORTHWESTERN HWY STE 200                                                                        SOUTHFIELD          MI   48034‐1022
983049 ONTARIO INC                     822 RENNIE ST                                                               HAMILTON CANADA ON L8H
                                                                                                                   3R2 CANADA
98TH STREET AUTO SERVICE               1510 W 98TH ST                                                                                        BLOOMINGTON        MN    55431‐2626
994814 ONTARIO INC                     6655 NORTHWEST DR                                                           MISSISSAUGA ON L4V 1L1
                                                                                                                   CANADA
9W CAR WASH CORP.                      ROUTE 9W                                                                                              WEST HAVERSTRAW     NY

9YX‐PRAXAIR DISTRIBUTION INC           46025 N GRATIOT AVE                                                                                   MACOMB              MI   48042‐5511
A & A AUTO CENTER                      15596 PRODUCER LN                                                                                     HUNTINGTON          CA   92649‐1308
                                                                                                                                             BEACH
A & A AUTO SERVICE                     6240 BRENTWOOD BLVD                                                                                   BRENTWOOD           CA   94513‐5715
A & A DELIVERY                         110 FAIRBANK AVE                                                            TORONTO CANADA ON M6E
                                                                                                                   3Z1 CANADA
A & A DRIVING SCHOOL                   28911 7 MILE RD                                                                                       LIVONIA             MI   48152‐3503
A & A MANUFACTURING CO INC             2300 S CALHOUN RD                  PO BOX 2088                                                        NEW BERLIN          WI   53151‐2708
A & A MFG/NEW BERLIN                   2300 S CALHOUN RD                  P.O. BOX 51208                                                     NEW BERLIN          WI   53151‐2708
A & A SELF STORAGE                     PO BOX 552                                                                                            BEATRICE            NE   68310‐0552
A & B AUTOMOTIVE, INC. D/B/A           ARTHUR M. CARLTON                  1800 E 4TH AVE                                                     HUTCHINSON          KS   67501‐1809
INNOVATORS WEST
A & B EXPRESS                          1105 YORKWOOD RD                                                                                      MANSFIELD          OH    44907‐2436
A & B FLOOR/BLMFDHL                    PO BOX 177                                                                                            BLOOMFIELD HILLS   MI    48303‐0177
A & B FLOOR/ORLAND                     PO BOX 65                                                                                             ORLAND             IN    46776‐0065
A & B FREIGHT LINES INC                PO BOX 6026                                                                                           ROCKFORD           IL    61125‐1026
A & B TRANSMISSION                     261 E 5TH ST                                                                                          SAN BERNARDINO     CA    92410‐4839
A & B TUBE BENDERS INC                 13465 E 9 MILE RD                                                                                     WARREN             MI    48089‐2658
A & B TUBE BENDERS INC                 SAM REA                            13465 E 9 MILE RD                                                  WARREN             MI    48089‐2658
A & B TUBE BENDERS INC                 SAM REA                            13465 E NINE MILE RD.                                              IMLAY CITY         MI    48444
A & C ELECTRIC COMPANY                 PO BOX 46550                       41225 IRWIN ROAD                                                   MOUNT CLEMENS      MI    48046‐6550
A & D AUTO REPAIR SHOP                 1712 SMITH ST                                                                                         GREENVILLE         MS    38703‐6003
A & D AUTOMOTIVE                       213 N CHURCH ST                                                                                       BURLINGTON         NC    27217‐2613
A & D AUTOMOTIVE LLC                   201 S. GRICE                                                                                          VIOLA              KS    67149
A & D CO LTD                           4622 RUNWAY BLVD                                                                                      ANN ARBOR          MI    48108‐9555
A & D MACHINERY COMPANY                WELLS ‐ INDEX DIVISION             701 W CLAY AVE                                                     MUSKEGON           MI    49440‐1064
A & D TECHNOLOGY INC                   4622 RUNWAY BLVD                                                                                      ANN ARBOR          MI    48108‐9555
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Name                                Address1                             Address2                 Address3      Address4               City               State Zip
A & E AUTO                          393291 CONCESSION 2 R R #4                                                  DURHAM ON N0G 1R0
                                                                                                                CANADA
A & E CUSTOM MFG                    ATTN: STEVE HASTY                    PO BOX 15218                                                  KANSAS CITY         KS   66115‐0218
A & E MEDICAL TRANSPORT                                                  3854 GENEVA TPKE                                              CANANDAIGUA         NY   14424
A & E TRANSPORTATION                                                     178 NEWBURY ST                                                ROCHESTER           NY   14613
A & F ENGINEERING INC               ATTN: CORPORATE OFFICER/AUTHORIZED   PO BOX 687                                                    ROSEVILLE           MI   48066‐0687
                                    AGENT
A & G AUTOMOTIVE                    31W218 91ST ST                                                                                     NAPERVILLE         IL    60564
A & G MOTOR SALES, INC.             GARY GEBHARD                         222 12TH ST                                                   TELL CITY          IN    47586‐1900
A & G MOTOR SALES, INC.             222 12TH ST                                                                                        TELL CITY          IN    47586‐1900
A & G PIPING INC                    3124 WICHITA CT                                                                                    FORT WORTH         TX    76140‐1754
A & H CONTRACTORS INC               7310 WOODWARD AVE # 700                                                                            DETROIT            MI    48202‐3165
A & H EXPEDITING SERVICE INC        167 CLAY RD                                                                                        ROCHESTER          NY    14623‐3222
A & H INC                           ALISA HAYES                          324 OLD HIGHWAY 11                                            FOOTVILLE          WI    53537
A & I CLAIM SERVICE INC             8700 W 36TH ST STE 207W                                                                            ST LOUIS PARK      MN    55426‐3936
A & I SUPP/LONG BCH                 1679 W 9TH ST                                                                                      LONG BEACH         CA    90813‐2609
A & J AUTO PARTS INC                890 OLD NEPPERHAN AVE                                                                              YONKERS            NY    10703
A & J AUTO SERVICE                  7451 COLDWATER CANYON AVE                                                                          NORTH HOLLYWOOD    CA    91605‐3502

A & J AUTOMATION INC                21356 CARLO DR                                                                                     CLINTON TOWNSHIP    MI   48038‐1510

A & J AUTOMOTIVE                    8401 W HAMPTON AVE                                                                                 MILWAUKEE          WI    53225‐4919
A & J AUTOMOTIVE                    2099 SPRINGFIELD AVE                                                                               VAUXHALL           NJ    07088‐1220
A & J CARTAGE CO                    2323 NIXON RD                                                                                      HOWELL             MI    48843‐8816
A & J EXHAUST & TIRE CENTER         3236 DOVER RD                                                                                      WOOSTER            OH    44691‐4006
A & J PRECISION                     DAVID EVERY                          23135 COMMERCE DR                                             FARMINGTON HILLS   MI    48335‐2723

A & J TROPHY & ENGRAVING CO         ATTN: WILLIAM MADDOX                 12100 SNOW RD # 4                                             CLEVELAND          OH    44130‐9319
A & J TRUCK & AUTO REPAIR           2682 S RAILROAD AVE                                                                                FRESNO             CA    93725‐1941
A & J VANS, INC.                    JOHN KUPSCH                          333 WASHINGTON ST                                             VALDERS            WI    54245‐9644
A & J VANS, INC.                    333 WASHINGTON ST                                                                                  VALDERS            WI    54245‐9644
A & J VANS, INC.
A & L INDUSTRIES                    1066 HWY 171 S                                                                                     STONEWALL          LA    71078
A & L PARTS/ANN ARBR                529 S MAIN ST                                                                                      ANN ARBOR          MI    48104‐2920
A & M AUTO SERVICE, LLC             12715 DOWNS CIR                                                                                    PINEVILLE          NC    28134‐8366
A & M AUTO SHOP                     373 6TH ST                                                                                         JERSEY CITY        NJ    07302‐1806
A & M AUTOMOTIVE                    13451 SE 27TH PL                                                                                   BELLEVUE           WA    98005‐4210
A & M COMMUNICATIONS                4929 LAKESHORE DR W                                                                                ORANGE PARK        FL    32003‐7736
A & M EXPRESS INC                   840 EASTERN STAR ROAD EXT                                                                          KINGSPORT          TN    37663‐3296
A & M INVESTMENTS                   220 MARKET AVE S STE 900                                                                           CANTON             OH    44702‐2181
A & M PHARMACY                      ATTN: BARRY STERNBERG                8282 WOODWARD AVE                                             DETROIT            MI    48202‐2532
A & M PRIORITY FREIGHT SERVICEINC   11405 ROJAS DRIVE SUITE 15‐16                                                                      EL PASO            TX    79936
A & M SHELL                         5561 E SPEEDWAY BLVD                                                                               TUCSON             AZ    85712‐4925
A & M SPEC/DETROIT                  10555 GRAND RIVER AVE                                                                              DETROIT            MI    48204‐2007
A & M SPECIALISTS INC               PO BOX 327                           1708 NORTHWOOD DR                                             GROSSE ILE         MI    48138‐0327
A & M SPECIALISTS INC               20187 ISLAND ESTATE DRIVE                                                                          GROSSE ILE         MI    48138‐1264
A & M SUPPLY CO                     28505 AUTOMATION BLVD                                                                              WIXOM              MI    48393‐3154
A & M SUPPLY CO                     48505 AUTOMATION BLVD                                                                              WIXOM              MI    48393
A & M TRANSMISSION WIZARD           ATTN: JEFF MONROE                    G4031 S SAGINAW ST # A                                        BURTON             MI    48529‐1658
A & M TRANSPORTATION SERVICES       350 RUTHERFORD RD SOUTH 8                                                   BRAMPTON ON CANADA
A & M WHOLESALE HARDWARE SUPPL      1414 CAMPBELL ST                     PO BOX 1044                                                   RAHWAY              NJ   07065‐3213
A & N STEEL SALES CO INC            7002 N GRAHAM RD                                                                                   INDIANAPOLIS        IN   46220
A & P INST‐ALL‐RAK INC
A & P SERVICE CENTER                398 W MACARTHUR BLVD                                                                               OAKLAND             CA   94609‐2819
                                 09-50026-mg               Doc 7123-3    Filed 09/24/10 Entered 09/24/10 15:05:32       Exhibit B
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Name                             Address1                          Address2                Address3         Address4                City               State   Zip
A & R EXPRESS INC                100 CHESTNUT RIDGE                                                                                 WALLED LAKE         MI     48390‐3339
A & R LEASING INC.               ROGER DONDELINGER                 PO BOX 8                112 FRONT ST N                           PINE RIVER          MN     56474‐0008
A & R PHARMACY II I              445 E MILL ST STE A                                                                                LIBERTY             MO     64068‐1852
A & R TRANSPORT INC              2223 BUSH RD                                                                                       JOLIET               IL    60436
A & S AUTO SERVICE               611 BROADWAY AVE                                                                                   BEDFORD             OH     44146‐3518
A & S AUTO/TRUCK CARE            4900 2ND ST NW                                                                                     ALBUQUERQUE         NM     87107‐4007
A & S INDUSTRIAL COATING INC     23800 AMBER AVE                   PO BOX 1045                                                      WARREN              MI     48089‐4202
A & T CHEVROLET, INC.            BRUCE ALLEN                       801 BETHLEHEM PIKE                                               SELLERSVILLE        PA     18960‐1660
A & T CHEVROLET, INC.            801 BETHLEHEM PIKE                                                                                 SELLERSVILLE        PA     18960‐1660
A & T LEVESQUE AUTOMOTIVE        99 BLAIS ROAD                                                              DOWLING ON P0M 1R0
                                                                                                            CANADA
A & T TRUCKING CO                2920 S 19TH AVE                                                                                    BROADVIEW           IL     60155‐4751
A,                               ,                                                                                                  ,
A ‐1 AUTOMOTIVE                  607 LEANDER RD                                                                                     GEORGETOWN         TX      78626‐8407
A :PREMIER AUTO SERVICE          2841 WHITE SETTLEMENT RD                                                                           FORT WORTH         TX      76107‐1308
A 1 CHECK CASHING INC            5649 A HWY 25                                                                                      BRANDON            MS      39047
A 1 COURIER INC                  303 E 3RD ST                                                                                       MOUNT VERNON       NY      10553‐5124
A 1 ELECTRONICS INC              G3500 FLUSHING RD                 STE 104                                                          FLINT              MI      48504‐4247
A 1 MOVERS INC                   11557 DARRYL DR                                                                                    BATON ROUGE        LA      70815‐2136
A 1 ROLL CO                      301 CHURCH ST                                                                                      MOUNT CLEMENS      MI      48043‐2180
A 1 SANITATION SERVICE INC       1009 RIVER RD                                                                                      NEW CASTLE         DE      19720‐5103
A 1 SPECIALIZED SVC & SUPP INC   2707 STATE RD                                                                                      CROYDON            PA      19021‐6969
A 123 SYSTEMS INC                ARSENAL ON THE CHARLES            1 KINGSBURY AVE                                                  WATERTOWN          MA      02472‐5789
A 2 Z AUTO CARE                  3050 FM 2920 RD                                                                                    SPRING             TX      77388‐3429
AA                               1                                                                                                  A                  MO      66666
AA                               A                                                                                                  A                  AK      10000
AA                               AAS                               ASA                     DAD              DAD                     ADA
AA                               A                                 A
AA                               GARCIA & MARTINEZ, LLP            10113 N 10TH ST STE H                                            MCALLEN             TX     78504
──                               ─                                 ─                       ─                                        ─
A A AHERN PAINTING               6924 49TH AVE                                                                                      WOODSIDE           NY      11377‐6002
A A JANSSON INC                  2070 AIRPORT RD                                                                                    WATERFORD          MI      48327‐1204
A A PORTER                       PO BOX 4514                                                                                        N FORT MYERS       FL      33918
A A RAMOS                        3533 87TH ST                                                                                       JACKSON HTS        NY      11372‐5631
A A RENTS INC                    1419 W 11TH ST                                                                                     MARION             IN      46953‐1499
A A TRUCK RENTING                2890 REVIEW AVE                                                                                    LONG ISLAND CITY   NY      11101‐3236
A ABBOTT                         7415 HARVARD DR                                                                                    RAYTOWN            MO      64133‐6867
A ABRAHAMSON                     3439 SCENIC VISTA DR                                                                               W DES MOINES       IA      50265‐7737
A ACKERSON, JULIE                522 EAST GRAND RIVER AVE                                                                           IONIA              MI      48846
A ADAMS                          2026 JEFFERSON ST                                                                                  ANDERSON           IN      46016‐4556
A AGRATI SPA                     VIA PIAVE 28/30                                                            VEDUGGIO CON COLZANO
                                                                                                            20050 ITALY
A AL MASRI, RANA                 RICCI LEOPOLD                     2925 PGA BLVD STE 200                                            PALM BEACH          FL     33410‐2909
                                                                                                                                    GARDENS
A ALERT COURIER SERVICE INC      PO BOX 928                                                                                         MARLBOROUGH        MA      01752‐0928
A ALEXANDER                      1057 DOWAGIAC AVE                                                                                  MOUNT MORRIS       MI      48458‐2513
A AND B AUTO
A AND S DETAILING                232 WEST ST                                                                                        MILFORD            MA      01757‐2270
A ANDERSON                       2931 CONCORD ST                                                                                    FLINT              MI      48504‐3039
A ANDERSON                       16970 SETTLE STATION RD                                                                            PLATTE CITY        MO      64079‐8324
A ANDERSON                       7711 GREENFIELD RD                                                                                 DETROIT            MI      48228
A ANESZKO                        3890 LAWNDALE RD                                                                                   SAGINAW            MI      48603‐1629
A ANTUNES                        150 FAIRBANKS ST                                                                                   HILLSIDE           NJ      07205‐2833
AB                               B                                 B                       B
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Name                             Address1                             Address2                     Address3                   Address4                City               State Zip
AB                               C                                                                                                                    C
AB                               VIA LA                                                                                                               NOVARA
AB                               4455 HUIDDDDDDDDDD                                                                                                   MONACO             MO    98000
AB                               A                                                                                                                    NEW YORK           NY    055US
AB                               BG                                   KIU                                                                             MUC                DE
AB                               ASTREET                                                                                                              BTOWN
A B & W INC                      157 WASHINGTON ST                                                                                                    DORCHESTER         MA    02121‐3603
A B DIVERSIFIED LLC              3815 PARK RD                                                                                                         ANDERSON           IN    46011‐9453
A B ELEKTRONIK GMBH              KLOCKNERSTRABE 4                                                                             WERNE D‐59368 GERMANY
A B S PRODUCTS                   591 APOLLO ST                                                                                                        BREA               CA    92821‐3127
A BARILE                         4291 RICHMOND RD                                                                                                     WARRENSVILLE       OH    44122‐6103
                                                                                                                                                      HEIGHTS
A BARONE                         PO BOX 14564                                                                                                         PHOENIX            AZ    85063‐4564
A BEARD                          223 BOWMANS BRANCH LN                                                                                                PLEASANT SHADE     TN    37145‐2203
A BEARD                          362 PLESENT PLAIN ROAD                                                                                               JACKSON            TN    38305
A BEE C SERVICE INC              7589 FIRST PL                                                                                                        WALTON HILLS       OH    44146‐6711
A BELLAMY                        3525 N LASALLE ST                                                                                                    INDIANAPOLIS       IN    46218‐1312
A BENTON                         6117 EVANS DR                                                                                                        REX                GA    30273‐1714
A BETTER WAY SALKA & SONS INC    30 POMEROY AVE                                                                                                       MERIDEN            CT    06450‐7188
A BLAIR ENTERPRISES INC          PO BOX 598                                                                                                           PROSPECT           KY    40059‐0598
A BONE                           319 N 11TH ST                                                                                                        FRANKTON           IN    46044
A BOUCHARD                       54 TUMBLEBROOK RD                                                                                                    MERIDEN            CT    06450‐4756
A BOWLIN                         7335 FEATHERS CHAPEL DRIVE                                                                                           SOMERVILLE         TN    38068‐5623
A BRACKINS                       9217 S 79TH AVE                                                                                                      HICKORY HILLS      IL    60457‐2151
A BRAGG                          1076 E COLDWATER RD                                                                                                  FLINT              MI    48505‐1502
A BRANNON                        20414 WARD ST                                                                                                        DETROIT            MI    48235‐1143
A BREEDLOVE                      14055 JANWOOD LN                                                                                                     DALLAS             TX    75234‐3635
A BRIGHT                         2125 W LAWSON RD                                                                                                     MARION             IN    46952‐9283
A BROWN                          130 N LARGE ST                                                                                                       PARK HILLS         MO    63601‐3916
A BUSINESS CONFERENCE CALL INC   PO BOX 81                                                                                                            CHASKA             MN    55318‐0081
A C & R INSULATION               TYDING & ROSENBERG LLP               100 EAST PRATT STREET                                                           BALTIMORE          MD    21202
A C & S INC                      MICHAEL FRENCH                       1190 KENNESTONE CIRCLE       SUITE 100                                          MARIETTA           GA    30066
A C CAMPBELL                     2118 N UNION RD                                                                                                      TROTWOOD           OH    45426
A C CONSULTING                   39325 PLYMOUTH RD # 200                                                                                              LIVONIA            MI    48150‐4531
A C DELCO                        600 CORPORATE PARK DR                                                                                                SAINT LOUIS        MO    63105‐4204
A C EDWARDS                      BEVAN & ASSOCIATES, LPA, INC.        6555 DEAN MEMORIAL PARKWAY                                                      BOSTON HTS.        OH    44236
A C HARRIS                       MOTLEY RICE LLC                      28 BRIDGESIDE BLVD           PO BOX 1792                                        MT PLEASANT        SC    29465
A C SPENCER                      4430 S REED RD                                                                                                       DURAND             MI    48429‐9760
A CADILLAC ‐ GM SPECIALIST       1820 W 11TH ST STE E                                                                                                 UPLAND             CA    91786‐8429
A CAMPBELL                       30950 SUDBURY ST                                                                                                     FARMINGTON HILLS   MI    48331‐1360

A CANCILLA                       32244 RAVINE DR                                                                                                      FARMINGTON HILLS    MI   48334‐1130

A CASEY AND S FINK TTEES         CASEY AUTO GROUP FBO ARTHUR S CASEY 401(K) PSP DTD 10/01/1991     813 DILIGENCE DR STE 116                           NEWPORT NEWS        VA   23606‐4237

A CHAMBERS                       5612 MARLOWE DR                                                                                                      FLINT               MI   48504‐7036
A CHAPMAN                        2009 AVENUE A                                                                                                        FLINT               MI   48505‐4615
A CHEADLE                        3942 MOHAWK AVE SW                                                                                                   GRANDVILLE          MI   49418‐2447
A COLE                           5515 GRANVILLE AVE                                                                                                   FLINT               MI   48505‐2656
A COLLIER                        2966 SW RABBIT LN                                                                                                    MADISON             AL   35756‐5034
A COMPRESSOR SERVICE             4550 RUNWAY ST                                                                                                       SIMI VALLEY         CA   93063‐3449
A CONCERNED AMERICAN
A CONSLER                        956 KENT RD                                                                                                          KENT                NY   14477
A COON                           4417 E COLDWATER RD                                                                                                  FLINT               MI   48506‐1032
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Name                                Address1                          Address2               Address3         Address4                   City           State   Zip
A COURIER OF TENNESSEE              277 MALLORY STATION RD                                                                               FRANKLIN        TN     37067
A CRIADO                            2114 WOODGATE STREET                                                                                 YOUNGSTOWN      OH     44515‐5577
A D BEARD                           362 PLESENT PLAIN ROAD                                                                               JACKSON         TN     38305
A D BECKER PROPERTIES               ATTN: ARNOLD BECKER               35 W HURON ST # 900                                                PONTIAC         MI     48342‐2129
A D C AUTOMOTIVE DISTANCE CONTROL   KEMPTNER STRABE 99                                                        LINDAU 88131 GERMANY
SYSTEMS GMBH
A D M TOOL & MFG. CO., INC.         EMILY FLEMING                     9550 JOLIET ROAD                                                   CORUNNA         MI     48817
A D SIGNS LTD                       2393 WALKER RD                                                            WINDSOR ON N8W 3P7
                                                                                                              CANADA
A D STUART ASSOCIATES               833 BERRY STREET                                                                                     LEMONT         PA      16851
A D STUART ASSOCIATES               PO BOX 393                        833 BERRY STREET                                                   LEMONT         PA      16851‐0393
A D TRANSPORT EXPRESS               MATTHEW PERCY                     5601 BELLEVILLE RD                                                 CANTON         MI      48188‐2425
A D TRANSPORT EXPRESS INC           MATTHEW PERCY                     5601 BELLEVILLE RD                                                 CANTON         MI      48188‐2425
A DALTON                            14430 LINDEN RD                                                                                      BIRCH RUN      MI      48415‐8602
A DARWIN HAYNES                     403 DEAN ST                                                                                          SOUTH POINT    OH      45680
A DASH OF NASH PROMOTIONS INC       2 KIEL AVE STE 322                                                                                   KINNELON       NJ      07405
A DAVIS                             9015 ADAMS PARK RD                                                                                   DRY BRANCH     GA      31020‐5548
A DELEGAN                           4831 S KILDARE                                                                                       CHICAGO        IL      60632‐4429
A DEMARCHIS                         274 ORCHARD DR                                                                                       BUFFALO        NY      14223‐1039
A DICK                              47862 JAMESTOWN DR                                                                                   MACOMB         MI      48044‐5927
A DONG & ORIENTAL FOOD MARKET       ATTN: HIEU HUYNH                  3614 DIVISION AVE S                                                GRAND RAPIDS   MI      49548‐3248
A DOPPELHAMMER                      GEORG STROBEL STR 54                                                      D 90489 NUERNBERG
                                                                                                              GERMANY
A DORINGNAUX                        NATIXIS PRIVATE BANKING           51 AVENUE JF KENNEDY                    L 1855 LUXEMBOURG EUROPE
                                                                                                              BELGIUM
A DOUBLE L AUTO SALVAGE INC         8000 CANE RUN RD                                                                                     LOUISVILLE     KY      40258‐1923
A DUFFUS                            2905 ILWACO AVE NE                                                                                   RENTON         WA      98059‐3764
A DUIE PYLE                         650 WESTTOWN RD                                                                                      WEST CHESTER   PA      19382‐4900
A E BRYANT                                                                                                                                                      00000
A E BUSH AND R A BUSH               MR AND MRS R A BUSH               375 SHAW RD                                                        RIDLEY PARK     PA     19078‐2732
A EARLY                             3232 CLOUDLAND CT                                                                                    BUFORD          GA     30519‐5255
A EDWARDS                           14340 ARTESIAN ST                                                                                    DETROIT         MI     48223‐2920
A ENDERS                            6556 DEER RIDGE DR                                                                                   CLARKSTON       MI     48348‐2804
A EVANS                             19994 FREELAND ST                                                                                    DETROIT         MI     48235‐1513
A EVANS                             630 N JEFFERSON AVE                                                                                  SAGINAW         MI     48607‐1353
A EVANS                             830 W ROAD 4 N                                                                                       CHINO VALLEY    AZ     86323‐5331
A EWING SR.                         1819 TERRACE DR                                                                                      FLINT           MI     48507‐4331
A F ASSOCIATES FAMIL                2849 MICHIGAN ST NE STE 102                                                                          GRAND RAPIDS    MI     49506‐1216
A F BUDDY SKEEN                     MCLENNAN COUNTY TAX OFFICE        PO BOX 406                                                         WACO            TX     76703‐0406
A F FUSCO                           1842 COLONIAL VILLAGE WAY APT 1                                                                      WATERFORD       MI     48328‐1943
A F POLLUTION ABATEMENT SYSTEMS
A FERNANDEZ                         3616 HOOFPRINT DR                                                                                    MELBOURNE       FL     32940‐2357
A FIDANZA
A FINCHER                           143 ABNER DR                                                                                         CEDARTOWN      GA      30125‐2871
A FINKL/CHICAGO                     2011 N SOUTHPORT AVE                                                                                 CHICAGO        IL      60614‐4015
A FINKL/FAYETTEVILLE                1501 ODER DRIVE (L.L.)                                                                               FAYETTEVILLE   OH      45118
A FLANNIGAN                         3044 W GRAND BLVD SUITE 10‐101                                                                       DETROIT        MI      48202
A FLOYD IMES                        523 RAMBLER RD                                                                                       MANHEIM        PA      17545
A FORTSON                           2225 FOREST DR                                                                                       CUMMING        GA      30041
A FOX & ASSOC/NASHVL                2809 PENNINGTON BEND RD                                                                              NASHVILLE      TN      37214‐1006
AG                                  Z                                                                                                    BERGHEIM
A G EVENTS                          42 ‐ 15 WESTMORELAND ST                                                                              LITTLE NECK     NY     11363
A G SIMPSON ‐ SHREVEPORT            7340 JULIE FRANCIS ROAD                                                                              SHREVEPORT      LA     71129
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Name                             Address1                         Address2                     Address3          Address4                 City               State Zip
A G SIMPSON AUTOMOTIVE           352 ARVIN                                                                       STONEY CREEK CANADA ON
                                                                                                                 L8E 2M4 CANADA
A G SIMPSON AUTOMOTIVE INC       675 PROGRESS AVE                                                                SCARBOROUGH CANADA ON
                                                                                                                 M1H 2W9 CANADA
A G SIMPSON USA INC              6640 STERLING DR S                                                                                       STERLING HEIGHTS   MI    48312‐5845
A GATHERING OF WOMEN             3748 LOCKERBIE LN                                                                                        POWDER SPRINGS     GA    30127‐2396
A GIBSON                         208 W LONGFELLOW AVE                                                                                     PONTIAC            MI    48340‐1834
A GIRARDIN INC                   ROUTE TRANSCANADIENNE                                                           DRUMMONDVILLE CANADA
                                                                                                                 PQ J2B 6V4 CANADA
A GOFORTH                        6751 OLD DUNLAP RD               ROUTE 5                                                                 WHITWELL           TN    37397‐6311
A GOLIAS                         1455 SUNNY ESTATES DR                                                                                    NILES              OH    44446‐4148
A GRUBB                          2419 PLATEAU RD                                                                                          CROSSVILLE         TN    38571‐2032
A GUSS                           1832 MOUNDS RD                                                                                           ANDERSON           IN    46016
A H SYSTEMS INC                  9710 COZYCROFT AVE                                                                                       CHATSWORTH         CA    91311‐4401
A HARKINS                        1893 BENSON AVE SE                                                                                       SMYRNA             GA    30080‐1005
A HARMS
A HAROLD BRAVER                  747 DRAYTON PLACE                                                                                        RIVER VALE         NJ    07675
A HARVESS                        31 E JUDSON ST                                                                                           PONTIAC            MI    48342‐2206
A HENDRICKS                      PO BOX 1181                                                                                              DOLTON              IL   60419‐7181
A HERRON                         3212 GERMANTOWN ST                                                                                       DAYTON             OH    45408‐2122
A HILL                           10806 HAVERHILL STREET                                                                                   DETROIT            MI    48224‐2481
A HINKLE                         1223 MILITARY ST                                                                                         DETROIT            MI    48209‐2364
A HINOJOSA                       12631 EAST IMPERIAL HWY                                                                                  SANTA FE SPRINGS   CA    90670
A HOARD                          8440 CAINE RD                    BOX 105                                                                 MILLINGTON         MI    48746
A HOLMES                         11033 W SALEM DR                                                                                         SUN CITY           AZ    85351‐4316
A HORNER                         3710 BLECHA RD                                                                                           IMPERIAL           MO    63052‐1124
A HORTON                         37456 EDGEWOOD ST                                                                                        CLINTON TWP        MI    48036‐2609
A HRVATIN                        15918 WHITCOMB RD                                                                                        CLEVELAND          OH    44110‐3084
A HYNES                          10221 N POLK AVE                                                                                         HARRISON           MI    48625‐8837
A I BIKOSKI                      13617 N 55TH AVE                 APT 215                                                                 GLENDALE           AZ    85304‐4704
A I GENESEE/FLINT                4400 MATTHEW                                                                                             FLINT              MI    48507‐3152
A I P INC                        PO BOX 8014                                                                                              BLOOMFIELD         MI    48302‐8014
A I S CONSTRUCTION EQUIPMENT C   3600 N GRAND RIVER AVE                                                                                   LANSING            MI    48906‐2713
A ISMAIO                         4500 NAMBE ARC                                                                                           LAS CRUCES         NM    88011‐4239
A J ALLESHOUSE                   7892 R AVE E                                                                                             SCOTTS             MI    49088‐8715
A J AUTO                         1426 WILDERS GROVE LN                                                                                    RALEIGH            NC    27604‐4704
A J COLVIN                       2926 S OUTER DR                                                                                          SAGINAW            MI    48601‐6988
A J KAVANAGH                     2703 GLENDAS WAY                                                                                         FREDERICKSBRG      VA    22408‐8037
A J MAST                         DBA RONIN GROUP INC              4553 N PARK AVE                                                         INDIANAPOLIS       IN    46205‐1836
A J MILLER                       379 S. BUTTER STREET                                                                                     GERMANTOWN         OH    45327‐9341
A J MURRAY                       21 ERIE STREET                                                                                           TONAWANDA          NY    14150‐3803
A J PANNERI ENTERPRISES INC      2727 BROADWAY ST STE 2                                                                                   CHEEKTOWAGA        NY    14227‐1070
A J PARDUE                       NIX PATTERSON & ROACH LLP        GM BANKRUPTCY DEPARTMENT     205 LINDA DRIVE                            DAINGERFIELD       TX    75638
A J ROSE MANUFACTURING           38000 CHESTER RD                                                                                         AVON               OH    44011‐1086
A J SMITH                        C/O BEVAN & ASSOCIATES LPA INC   6555 DEAN MEMORIAL PARKWAY                                              BOSTON HTS         OH    44236
A J WINKLER                      1355 RICE STATION RD                                                                                     IRVINE             KY    40336‐7642
A J'S AUTO REPAIR, INC.          4721 HAZELWOOD AVE                                                                                       NORTHFIELD         MN    55057‐5197
A JACKSON                        1063 MARTIN LUTHER KING DR                                                                               SUMMIT             MS    39666‐9311
A JACKSON JR                     3235 PINTO CIR                                                                                           LANSING            MI    48906‐9081
A JARRETT                        104 HI HILL DR                                                                                           LAKE ORION         MI    48360‐2425
A JEFFERSON                      9075 SARANAC TRL                                                                                         FORT WORTH         TX    76118‐7599
A JENKINS                        750 EUGENE ST                                                                                            YPSILANTI          MI    48198‐6145
A JOHN GARRITANO                 MOTLEY RICE LLC                  28 BRIDGESIDE BLVD           PO BOX 1792                                MT PLEASANT        SC    29465
A JOHN ZANIN                     38 MONASTERY RD                                                                                          SAVANNAH           GA    31411
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Name                                    Address1                            Address2                     Address3      Address4                  City            State   Zip
A JOHNSON                               124 CHARLES LN                                                                                           PONTIAC          MI     48341‐2927
A JOHNSON                               25173 GRODAN DR APT 140                                                                                  SOUTHFIELD       MI     48033‐2579
A JONES                                 436 FOX HILLS DR S APT 4                                                                                 BLOOMFIELD       MI     48304‐1351
A JOSEPH MALLETTE                       1720 MACAO CT                                                                                            MARCO ISLAND     FL     34145
A K SOLUTIONS                           ATTN: FERNANDO ANAYA                3450 LOVETT ST                                                       DETROIT          MI     48210‐3135
A K STEEL/MIDDLETOWN                    703 CURTIS ST                       CUSTOMER SERVICE                                                     MIDDLETOWN       OH     45043‐0001
A KAPRIELIAN                            19 BUNKER LN                                                                                             NATICK           MA     01760‐4203
A KAYSER AUTOMOTIVE SYSTEMS GMBH        HULLERSER LANDSTRASSE 43                                                       EINBECK, NS 37 GERMANY

A KAYSER AUTOMOTIVE SYSTEMS GMBH

A KAYSER AUTOMOTIVE SYSTEMS GMBH        RIO PAPALOAPAN NO 27                                                           CUAUTLANCINGO PUEBLA MX
                                                                                                                       72710 MEXICO
A KAYSER AUTOMOTIVE SYSTEMS GMBH        RIO PAPALOAPAN NO 27                CORREDOR EMPRESARIAL                       CUAUTLANCINGO PUEBLA
                                                                                                                       72710 MEXICO
A KAYSER AUTOMOTIVE SYSTEMS GMBH        TOM WEITHORNX103                    RIO PAPALOAPAN 27                          CUAUTLANCINGO PU 72730
                                                                                                                       MEXICO
A KELLUM                                19510 BEATTIE RD                                                                                         HIGGINSVILLE    MO      64037‐9187
A KELSO                                 2693 LAKE RD                                                                                             HILTON          NY      14468‐9157
A KERSHAW PC                            STE 430                             303 SOUTH BROADWAY                                                   TARRYTOWN       NY      10591‐5410
A KIMBLE                                1016 S 24TH ST                                                                                           SAGINAW         MI      48601‐6575
A KITTS                                 2275 LYNTZ RD                                                                                            LORDSTOWN       OH      44481
A KLAUS HOFMANN                         23/65 MOO 2 THEPKASATTRI RD.        T KOH KAEW                   BOAT LAGOON   PHUKET 38000 THAILAND
A KLOHA, KATHLEEN                       4794 COURT ST                                                                                            AUBURN           MI     48611‐9509
A KNOPP                                 4369 RENDON RD                                                                                           FORT WORTH       TX     76140‐9793
A KOONTZ                                1186 GREENWOOD AVE                                                                                       PALO ALTO        CA     94301‐3410
A KUNKEL                                1641 WHITE OAK CIR APT 1A                                                                                MUNSTER          IN     46321‐3889
A L BOOTH TTEE FOR J C FARMER TRUST     525 SILVERADO DR                                                                                         LAFAYETTE        CA     94549‐5725

A L HAGENDOORN                          PARKLAAN 8                                                                     3262 EW OUD‐BEYERLAND
                                                                                                                       NETHERLANDS
A L LIEBERTHAL & C E LIEBERTHAL TRUST   ARTHUR LIEBERTHAL                   12226 CALLAWAY GARDENS RD                                            BOYNTON BEACH    FL     33437

A L LIGHTECH INC                        1525 W ORANGE GROVE AVE STE B                                                                            ORANGE          CA      92868‐1109
A L PAULK                               3687 DIAMONDALE DR E                                                                                     SAGINAW         MI      48601‐5806
A LAWRENCE MACHINERY                    4450 GOLF CLUB RD                                                                                        HOWELL          MI      48843‐8085
A LEAF                                  2067 CONNELL ST                                                                                          BURTON          MI      48529‐1332
A LECLAIRE                              49 W ORVIS ST                                                                                            MASSENA         NY      13662‐1853
A LOONEY                                12 BARKENTINE RD                                                                                         RCH PALOS VRD   CA      90275‐5822
A LOUIS MARCO                           C/O BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                           BOSTON HTS      OH      44236
A LUALLEN                               3300 MOUNT PLEASANT RD                                                                                   BEDFORD         IN      47421‐8048
A LUBE WILL DO                          1006 FORT MILL HWY                                                                                       FORT MILL       SC      29707‐7503
A LUDWIG                                4914 HURRYVILLE RD                                                                                       FARMINGTON      MO      63640‐7203
A M CASTLE                              KATHLEEN DUMLAO                     3400 N WOLF ROAD M‐110                                               FRANKLIN PARK   IL      60131
A M CONTRACTING INC                     PO BOX 986                                                                                               LOUISVILLE      KY      40201‐0986
A M EXPRESS INC                         PO BOX 721                                                                                               ESCANABA        MI      49829‐0721
A M G INDUSTRIES                        JIM WEIDE EXT243                    200 COMMERCE DRIVE                                                   HOLLAND         OH
A M KLLIJT                              BOEKWEITOORD 32                                                                3GGIXM HOLITEN
                                                                                                                       NETHERLANDS
A M T MACHINE TOOLS LIMITED             73 GALAXY BLVD 17 UNIT 1                                                       ETOBICOKE ON M9W 5T4
                                                                                                                       CANADA
A M T MACHINE TOOLS LTD                 73 GALAXY BLVD UNITS 17                                                        REXDALE ON M9W 5T4
                                                                                                                       CANADA
                                   09-50026-mg            Doc 7123-3         Filed 09/24/10 Entered 09/24/10 15:05:32                   Exhibit B
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Name                               Address1                             Address2                  Address3                 Address4                   City             State Zip
A M T WELDING INC                  21446 CARLO DR                                                                                                     CLINTON TOWNSHIP MI 48038‐1512

A M T WELDING INC                  ATTN: CORPORATE OFFICER/AUTHORIZED   21446 CARLO DR                                                                CLINTON TOWNSHIP   MI   48038‐1512
                                   AGENT
A MANDELKA                         1821 HUFFMAN LAKE RD                                                                                               VANDERBILT         MI   49795‐9724
A MANSFIELD                        1127 CONNECTICUT AVE APT B                                                                                         SAINT CLOUD        FL   34769‐3663
A MARIETTA                         PO BOX 161                           12388 NORTH LANE                                                              PERKINS            MI   49872‐0161
A MARTIN                           129 SW 75TH ST                                                                                                     LAWTON             OK   73505‐6401
A MARTINEZ                         3934 MORRIS ST                                                                                                     SAGINAW            MI   48601‐4236
A MARTINEZ                         1415 E LEXINGTON AVE APT 223                                                                                       EL CAJON           CA   92019‐1965
A MASON                            1130 3RD AVE APT 404                                                                                               HUNTINGTON         WV   25701‐1546
A MASTIN                           3601 DEARBORN AVE                                                                                                  FLINT              MI   48507‐1870
A MATHEWS                          3367 SHERIDAN AVE                                                                                                  SAGINAW            MI   48601‐4454
A MAXIMUM SECURITY LOCKSMITH       ATTN: BLAINE BUTTERMORE              421 W NORTH ST                                                                KOKOMO             IN   46901‐2841
A MC DONALD                        3904 SOUTHERN OAKS DR UNIT 5                                                                                       FAYETTEVILLE       NC   28314‐0999
A MC REE JR                        1610 TRIMBLE HOLLOW RD SE                                                                                          ADAIRSVILLE        GA   30103‐4038
A MCDONALD                         RT 1 BOX 18 GREEN RD.                                                                                              GAY                GA   30218
A MEDICAL ADVANTAGE                PO BOX 3770                                                                                                        DALLAS             TX   75208‐1070
A MICHELE MORGAN MD                ATTN: A MICHELE MORGAN               3011 W GRAND BLVD # 858                                                       DETROIT            MI   48202‐3077
A MILLER                           379 S BUTTER ST                                                                                                    GERMANTOWN         OH   45327‐9341
A MILLER                           237 W 38TH ST                                                                                                      ANDERSON           IN   46013‐4207
A MINOR                            1420 N MCCANN ST                                                                                                   KOKOMO             IN   46901‐2675
A MIRON                            913 SPRUCE ST                                                                                                      TRENTON            NJ   08638‐3968
A MOLD/ANN ARBOR                   5700 S STATE RD                                                                                                    ANN ARBOR          MI   48108‐9795
A MOLD/MASON                       4600 N MASON MONTGOMERY RD                                                                                         MASON              OH   45040‐9176
A MOORE                            PO BOX 463116                                                                                                      MOUNT CLEMENS      MI   48046‐3116
A MORRIS                           1425 S PARK                                                                                                        SAGINAW            MI   48601
A MORRISON                         16205 SILVERSHORE DR                                                                                               FENTON             MI   48430‐9157
A MOTHER & TWO DAUGHTERS JNTRL     1187 E GRAND BLVD                                                                                                  FLINT              MI   48505‐1521
A MUHAMMAD                         PO BOX 47906                                                                                                       ATLANTA            GA   30362‐0906
A N COOKE MANUFACTURING CO PTY LTD PO BOX 178                           HEIDELBERG WEST, 3081                              HEIDELBERG WEST VIC 3081
                                                                                                                           AUSTRALIA
A N DERINGER INC                   PO BOX 1309                                                                                                        SAINT ALBANS       VT   05478
A N L SPRING MANUFACTURING INC     18307 WEAVER ST                                                                                                    DETROIT            MI   48228‐1191
A N L SPRING MANUFACTURING INC     DAVE CHEEDIE                         18307 WEAVER STREET                                                           ROSEVILLE          MI   48066
A N WEBBER INC                     22 W ISSERT DR                                                                                                     KANKAKEE           IL   60901‐7131
A NELSON                           4410 N CHAMPERRET DR                                                                                               BOYNE CITY         MI   49712‐8831
A NEW LIFE CHIROPRAC               3487 S LINDEN RD STE V                                                                                             FLINT              MI   48507‐3020
A NICHOLSON                        209 N STREET                                                                                                       BEDFORD            IN   47421‐1709
A NICKELL                          3690 STARLING RD                                                                                                   BETHEL             OH   45106‐9712
A NIEVES                           GRANADA G‐2 VISTA MAR E                                                                                            CAROLINA           PR   00983
A NIXON                            1046 S ETHEL ST                                                                                                    DETROIT            MI   48217‐1616
A O SMITH CORPORATION              PAT ACKERMAN                         11270 W. PARKE PLACE                                                          MILWAUKEE          WI   53224
A OEHRLE & C OEHRLE TTEE           ALFRED FRITZ OEHRLE LIVING TRU       U/A DTD 02/12/1993        ATRIA SPRINGDALE # 132   4501 SPRINGDALE RD         LOUISVILLE         KY   40241
A OK MACHINE & TOOL CO             22607 RIO VISTA ST                                                                                                 ST CLR SHORES      MI   48081‐2493
A ONE AUTO WORKS CENTER, LLC       184 BAY ST                                                                                                         JERSEY CITY        NJ   07302‐2913
A P LAW                            ATTN: MARK PORTER                    28 N SAGINAW ST # 911                                                         PONTIAC            MI   48342‐2142
A P OHORO CO                       C\O DANIEL J OHORO                   PO BOX 2228                                                                   YOUNGSTOWN         OH   44504‐0228
A P SITES                          ATTN: PETER AVERY                    1415 CENTER AVE                                                               BAY CITY           MI   48708‐6109
A PARTNERSHIP                      404 PARK AVENUE SOUTH                                                                                              NEW YORK           NY   10016
A PATTERSON                        417 LYNCH AVE                                                                                                      PONTIAC            MI   48342‐1954
A PEPOCKCK                         4845 SWETLAND BLVD                                                                                                 RICHMOND HTS       OH   44143‐1414
A PERFECT PARTY                    1901 W KILGORE AVE                                                                                                 MUNCIE             IN   47304‐4926
A PETERSON                         PO BOX 144                                                                                                         CORFU              NY   14036‐0144
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Name                             Address1                             Address2                         Address3   Address4                     City              State   Zip
A PHILIP RANDOLPH INSTITUTE      PO BOX 12041                                                                                                  LANSING            MI     48901‐2041
A PHILLIPS                       705 BAUMAN AVE                                                                                                ROYAL OAK          MI     48073‐2070
A PHILLIPS                       750 GENESEE AVE NE                                                                                            WARREN             OH     44483‐4208
A PIGON                          22368 200TH AVE                                                                                               TUSTIN             MI     49688‐8122
A PIPPENS                        1357 MAPLECREST DR                                                                                            YOUNGSTOWN         OH     44515‐3802
A PLUS AUTOMOTIVE (33360)        2165 RUTLAND RD N                                                                KELOWNA BC V1X 4Z9
                                                                                                                  CANADA
A PLUS CAR CARE                  533 LERAY ST                                                                                                  WATERTOWN         NY      13601‐1306
A PLUS ELECTRICAL SUPPLY         ATTN: LARRY HUTCHESON                G3499 S SAGINAW ST                                                       BURTON            MI      48529‐1212
A PLUS SELF STORAGE              ATTN: KATIE STRAUGHAN                1324 W ALEXIS RD                                                         TOLEDO            OH      43612‐4244
A POCOCKE                        3109 STATE ST                                                                                                 SAGINAW           MI      48602‐3650
A PORCASI                        1595 HILLER RD                                                                                                WEST BLOOMFIELD   MI      48324‐1127

A POWELL JR                      19142 FAIRPORT ST                                                                                             DETROIT           MI      48205‐2208
A PRATHER                        2010 OHIO AVE                                                                                                 ANDERSON          IN      46016‐2158
A PRICE III                      124 S 11TH ST                                                                                                 MIDDLETOWN        IN      47356‐1710
A PROFESSIONAL LAW CORPORATION   ATTN: EDWARD F. BUKATY, III          ONE GALLERIA BLVD., SUITE 1810                                           METAIRIE          LA      70001‐7571
A PRUITT                         602 E BAKER ST                                                                                                FLINT             MI      48505‐4357
A QUALITY AUTOMOTIVE REPAIR      5470 W 96TH ST                                                                                                ZIONSVILLE        IN      46077‐9301
A R ELECTRICAL SOLUTIONS INC     7636 AIRPARK RD                                                                                               GAITHERSBURG      MD      20879‐4134
A R YOUNG CO INC                 PO BOX 11135                                                                                                  INDIANAPOLIS      IN      46201‐0135
A RANDLE                         1951 SAINT JAMES DR                                                                                           MEMPHIS           TN      38116‐2027
A RASHEED                        1235 AUGUSTA DR                                                                                               ALBANY            GA      31707‐5004
A RATTIGAN                       4545 CHESTNUT RIDGE RD 109A                                                                                   AMHERST           NY      14228
A RAVENNA                        6 HILLCREST CIR                                                                                               BEDFORD           IN      47421‐5611
A RAYMOND BRASIL LTDA            AV COMENDADOR JOAO LUCAS 555         DISTR IND VINHEDO                           CEP 13280000 BRAZIL
A RAYMOND BRASIL LTDA            ALAMEDA ITAJUBA 1724 JOAPIRANGA                                                  VALINHOS SP 13270‐000
                                                                                                                  BRAZIL
A RAYMOND GERANCE
A RAYMOND GERANCE                113 COURS BERRIAT                                                                GRENOBLE FR 38000 FRANCE

A RAYMOND GERANCE                3091 RESEARCH DR                                                                                              ROCHESTER HILLS    MI     48309‐3581
A RAYMOND GERANCE                ANDREA GERBER                        3091 RESEARCH DR.                                                        PITTSBURG          KS     66762
A RAYMOND GERANCE                CRTA MANRESA A BERGA KM 05                                                       SANT FRUITOS DE BAGES 8272
                                                                                                                  SPAIN
A RAYMOND GERANCE                CS ARMADY 27                                                                     JABLONEC NAD NISOU CZ
                                                                                                                  46605 CZECH (REP)
A RAYMOND GMBH & CO KG           FRANK THRON                          TEICHSTR 57                                                              ROSEVILLE          MI     48066
A RAYMOND GMBH & CO KG           HEGENHEIMER STR 22                                                               WEIL AM RHEIN BW 79576
                                                                                                                  GERMANY
A RAYMOND GMBH & CO KG           TEICHSTR 57                                                                      LOERRACH BW 79539
                                                                                                                  GERMANY
A RAYMOND GMBH/GERMA             HEGENHEIMER STR 22                   WEIL AM RHEIN                               BADEN‐WURTTENBE 79576
                                                                                                                  GERMANY
A RAYMOND INC                    ATTN: CORPORATE OFFICER/AUTHORIZED   3091 RESEARCH DR                                                         ROCHESTER HILLS    MI     48309‐3581
                                 AGENT
A RAYMOND INC                    3091 RESEARCH DR                                                                                              ROCHESTER HILLS    MI     48309‐3581
A RAYMOND JABLONEC SRO           CS ARMADY 27                                                                     JABLONEC NAD NISOU CZ
                                                                                                                  46605 CZECH (REP)
A RAYMOND‐TECNIACERO SAU         CRTA MANRESA A BERGA KM 05                                                       SANT FRUITOS DE BAGES 8272
                                                                                                                  SPAIN
A RAYMOND/ROCHESTER              3091 RESEARCH DR                                                                                              ROCHESTER HILLS    MI     48309‐3581
A REA TOOLS & TUBING LTD
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Name                                Address1                          Address2              Address3          Address4                 City               State Zip
A REA TOOLS & TUBING LTD            DAVE CLARKE                       2565 RENA RD                            MISSISSAUGA ON L4T 1G6
                                                                                                              CANADA
A REED                              1613 BRISTOL COURT DR                                                                              MOUNT MORRIS       MI    48458‐2184
A RENTAL SERVICE CO                 2520 S MADISON ST                                                                                  MUNCIE             IN    47302‐5126
A RICHARDSON                        12 ELMHURST APT B‐1                                                                                HIGHLAND PARK      MI    48203
A RIZZUTO                           1011 CALLE DE LOS ARBOLES                                                                          SAN CLEMENTE       CA    92673‐3666
A ROBERTS                           1108 THAYER LN                                                                                     ANDERSON           IN    46011‐2572
A ROBERTS                           1271 FEATHERSTONE RD                                                                               PONTIAC            MI    48342‐1939
A ROBINSON                          12484 W RIVER RD                                                                                   COLUMBIA STATION   OH    44028‐9524

A RUDNICK                           306 S WALNUT ST APT 509                                                                            BAY CITY           MI    48706
A RUSSELL                           3305 STAMM AVE                                                                                     INDIANAPOLIS       IN    46240‐3538
A S C, INC.                         ANNE MACARI                       2101 W WILLOW ST                                                 LANSING            MI    48917‐1815
A S C, INC.                         ANNE MACARI                       2101 W. WILLOW RD.                                               MORRISTOWN         TN    37814
A SAENZ JR                          712 OAKCREST ST SW                                                                                 WYOMING            MI    49509‐4021
A SAVARD                            208 MELODY LN                                                                                      TONAWANDA          NY    14150‐9110
A SCHULMAN INC                      3550 W MARKET ST                                                                                   FAIRLAWN           OH    44333‐2658
A SCHULMAN/BRMNGHM                  53979 SUTHERLAND LN                                                                                UTICA              MI    48316‐1217
A SCOTT FETZER COMPANY              ADALET DIVISION/MERIAM            10920 MADISON AVE                                                CLEVELAND          OH    44102‐2526
A SERATT                            4823 STILLWELL AVE                                                                                 LANSING            MI    48911‐2842
A SHAK                              17 TUDOR LN                                                                                        COLONIA            NJ    07067‐1151
A SHARP                             8712 EVANSTON AVE                                                                                  RAYTOWN            MO    64138‐4728
A SHELLEY JR                        109 POST OAK DR                                                                                    MANSFIELD          LA    71052‐6524
A SHUTTERS                          516 W JACKSON ST                                                                                   KOKOMO             IN    46901‐4440
A SIMS                              17904 BOX CANYON TCR                                                                               ROUND ROCK         TX    78581‐3587
A SKEETERS                          512 LYNN HAVEN LN                                                                                  HAZELWOOD          MO    63042‐1810
A SMITH                             810 PLUM ST                                                                                        WYANDOTTE          MI    48192‐6531
A SNYDER                            1109 COBB AVE                                                                                      KALAMAZOO          MI    49007‐2449
A SPEER, CHAROLTT                   P.O. BOX 220                                                                                       GUIN               AL    35563
A SPENCER‐GELLISE SALON             1719 3RD ST                                                                                        BAY CITY           MI    48708‐6211
A STAFFORD                          15221 S VISTA LN                                                                                   PLAINFIELD         IL    60544‐2165
A STANLEY JOHNSON                   1504 ARBON DR                                                                                      GATLINBURG         TN    37738‐3821
A STIMAC JR                         231 ELMWOOD DR                                                                                     HUBBARD            OH    44425‐1606
A STITCH IN TIME                    101 HARRISON AVE                                                                                   NEW CASTLE         DE    19720‐2526
A SULTAN LALANI MD PROFIT SHARING   C/O A SULTAN LALANI MD            2175 S AVE A          SUITE B                                    YUMA               AZ    85364
A SWAYZE                            99 MANCHESTER PKWY                APT 803                                                          HIGHLAND PARK      MI    48203‐3697
A T &T                                                                3028 S FREMONT AVE                                               SPRINGFIELD        MO    65804
A T C GROUP INC                     400 MYRON ST                                                                                       HUBBARD            OH    44425‐1462
A T C GROUP INC                     DIXIE MYERS                       101 N. EAGLE STREET                                              BATESVILLE         MS    38606
A T DOOR & HARDWARE INC             ATTN: JEREMIAH YODER              13101 ECKLES RD                                                  PLYMOUTH           MI    48170‐4245
A T EXPOSITIONS INC                 7 WEST ST                                                                                          WARWICK            NY    10990‐1447
A T GILLES                          3464 CHURCH                                                                                        SAGINAW            MI    48604
A T KEARNEY INC                     222 W ADAMS ST                                                                                     CHICAGO            IL    60606
A T L EXPRESS INC                   PO BOX 17834                                                                                       CLEARWATER         FL    33762‐0834
ATS
A TASTE OF EXCELLENCE               ATTN: WILLIAM RINI                12000 SNOW RD # 2                                                CLEVELAND          OH    44130‐9314
A TAYLOR                            5363 LA ROCHELLE PL                                                                                KEITHVILLE         LA    71047‐7034
A TAYLOR                            521 S 21ST ST                                                                                      SAGINAW            MI    48601‐1534
A TAYLOR                            2425 PRAIRIE VIEW DR SW                                                                            ATLANTA            GA    30311‐1717
A TECH INSTRUMENTS LTD              PO BOX 252                                                                SCARBOROUGH CANADA ON
                                                                                                              M1E 4R5 CANADA
A TECH TRAINING INC                                                   12290 CHANDLER DR                                                WALTON              KY   41094
A THOMAS                            582 E BUFFALO ST                                                                                   GILBERT             AZ   85295‐5995
A THOMPSON IV                       2463 EVERGREEN CT                                                                                  ROCHESTER HLS       MI   48309‐2337
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Name                             Address1                        Address2                   Address3                     Address4                  City               State   Zip
A TIEMPO DELIVERY                4534 CROTON CIR                                                                                                   EL PASO             TX     79924‐6825
A TIM HAGAN                      17184 CEDAR LN                                                                                                    CHOCTAW             OK     73020‐7480
A TIMMONS                        4432 CRICKET RIDGE DR APT 203                                                                                     HOLT                MI     48842‐2954
A TINT FACTORY                   ATTN: CHRIS OLSON               3636 BUCHANAN AVE SW                                                              GRAND RAPIDS        MI     49548‐3109
A TO Z AUTO REPAIR               442 W SAINT CHARLES RD                                                                                            VILLA PARK           IL    60181‐2405
A TO Z AUTO REPAIR               70 TIPTON RD                                                                                                      ROGERSVILLE         AL     35652‐6953
A TO Z TEACHER STUFF, LLC        2733 E.BATTLEFIELD RD           # 304                                                                             SPRINGFIELD         MO     65804
A TOBIAS                         530 S 1ST ST                                                                                                      HAMLER              OH     43524‐9745
A TOWNSEL                        33006 7 MILE RD                                                                                                   LIVONIA             MI     48152‐1358
A TRANS DELIVERY SERVICE         1123 E FISCHER ST                                                                                                 KOKOMO              IN     46901‐1537
A TREMARI                        364 MAIN ST                                                                                                       PORT MONMOUTH       NJ     07758‐1044
A TURSKI                         28239 GRAND DUKE DR                                                                                               FARMINGTON HILLS    MI     48334‐5220

A TUTTLE                         2163 SAVOY AVE                                                                                                    BURTON             MI      48529‐2173
A U TECHNOLOGIES                 12640 DELTA ST                                                                                                    TAYLOR             MI      48180‐6833
A V R MFG                        RICARDO MARKOWICZ               34155 KELLY                                                                       LEXINGTON          KY      40583
A V SQUARED LLC                  PO BOX 1142                                                                                                       BRIGHTON           MI      48116‐2742
A VANCLEVE                       PO BOX 100                                                                                                        ROGERS             KY      41365‐0100
A W CHESTERTON CO ‐ SHREVEPORT   225 FALLON RD                                                                                                     BOSSIER CITY       LA      71111
A WADE                           93 WALNUT HEIGHTS RD                                                                                              BEDFORD            IN      47421‐9122
A WALKER                         646 E RUSSELL AVE                                                                                                 FLINT              MI      48505‐2896
A WALLACE                        12345 MAIN STREET                                                                                                 MILFORD            OH      45150
A WARD                           11800 BROOKPARK RD TRLR C25                                                                                       CLEVELAND          OH      44130‐1184
A WEBB                           4109 LAYTON RD                                                                                                    ANDERSON           IN      46011‐9451
A WELLNESS CENTER P C            ATTORNEY ADAMS & MOSS           5115 NEW PEACHTREE RD      STE 101                                                CHAMBLEE           GA      30341
A WELLNESS CENTER P C            ATTORNEY ADAMS & MOSS           ATTN: CORPORATE            5115 NEW PEACHTREE RD, STE                             CHAMBLEE           GA      30341
                                                                 OFFICER/AUTHORIZED AGENT   11
A WHEELER                        625 W VERMONTVILLE HWY                                                                                            POTTERVILLE         MI     48876‐9765
A WHITTLE                        100 ACORN PL                                                                                                      SPRING HILL         TN     37174‐2586
A WIBRIGHT                       8332 CARNEAL LN                                                                                                   MECHANICSVLLE       VA     23111‐1814
A WILLIAM ABTS, JR               603 S 5TH STREET                                                                                                  HUMPHREY            NE     68642
A WILLIAMS                       19460 AVON AVE                                                                                                    DETROIT             MI     48219‐2177
A WINKLER                        1355 RICE STATION RD                                                                                              IRVINE              KY     40336‐7642
A WITHERSPOON                    2015 EVANS ST                                                                                                     MONROE              LA     71202‐5910
A WOODARD                        2030 DEVONSHIRE AVE                                                                                               LANSING             MI     48910‐3543
A WRIGHT                         15620 GULLEY ST                                                                                                   TAYLOR              MI     48180‐5062
A WRIGHT                         PO BOX 1383                                                                                                       MANTECA             CA     95336‐1147
A Y T AUTO SERVICE               2121 W VIRGINIA AVE NE                                                                                            WASHINGTON          DC     20002‐1833
A YANTZ                          110 CHAPEL ST APT 216                                                                                             PENN YAN            NY     14527‐1138
A YULE                           332 BULLOCK ST                                                                                                    SAGINAW             MI     48602‐1672
A YUROFF                         1900 N DURAND RD                                                                                                  LENNON              MI     48449‐9609
AZ                               A
A Z CHEVROLET, INC.              FRED ZIRINGER                   12827 FRANKSTOWN RD                                                               PITTSBURGH          PA     15235‐1948
A Z DELIVERIES                   5 498 EASTCHESTER AVENUE                                                                ST CATHARINES CANADA ON
                                                                                                                         L2M 6S3 CANADA
A ZIPFEL                         660 WOELFEL RD                  C/O BROOKFIELD GARDENS                                                            BROOKFIELD         WI      53045‐2927
A ZUPAN                          7412 CRAIGMERE DR                                                                                                 MIDDLEBURG         OH      44130‐5347
                                                                                                                                                   HEIGHTS
A& M COMMUNICATIONS              F MIKES                         4929 LAKESHORE DRIVE                                                              ORANGE PARK        FL      32003
A&A INDUSTRIES CORP              JOE AUITO                       23314 ROSEBERRY                                                                   LEBANON            OH      45036
A&A INDUSTRIES CORP.             JOE AUITO                       23314 ROSEBERRY                                                                   LEBANON            OH      45036
A&A MANUFACTURING CO INC         2300 S CALHOUN RD               PO BOX 510847                                                                     NEW BERLIN         WI      53151‐2708
A&A METAL PRODUCTS INC           2125 BERGDOLT RD                                                                                                  EVANSVILLE         IN      47711‐2845
A&B HERITAGE INC                 2597 ALT BLVD                                                                                                     GRAND ISLAND       NY      14072
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Name                             Address1                             Address2                       Address3                    Address4               City               State   Zip
A&B TRANSMISSION                 183 E CENTER ST                                                                                                        SHELLEY             ID     83274‐1301
A&C ELECTRIC CO INC              PO BOX 46550                         41225 IRWIN DR                                                                    MOUNT CLEMENS       MI     48046‐6550
A&D TRUCK & AUTO PARTS           450 S 11TH ST                                                                                                          MILWAUKEE           WI     53204‐1201
A&E TRANSPORT SERVICES                                                6730 PICKARD DR                                                                   SYRACUSE            NY     13211
A&F AUTO                         122 W PIONEER DR                                                                                                       IRVING              TX     75061‐7553
A&F ENGINEERING INC
A&J CLEANING SERVICES            7938 POINSETTIA DR                                                                                                     BUENA PARK         CA      90620‐1933
A&J CLEANING SERVICES INC        619 MOSS CIR                                                                                                           PLACENTIA          CA      92870‐3011
A&L COMPACTION EQUIPMENT         PO BOX 324                                                                                                             FOSTORIA           OH      44830‐0324
A&L LAVIGNE TRUCKING INC         PO BOX 1218                                                                                                            GAYLORD            MI      49734‐5218
A&M AUTOMOTIVE                                                        430 TOLLAND ST                                                                    EAST HARTFORD      CT      06108
A&M AUTOMOTIVE TRANSPORT COMPANY 645 GRISWOLD ST STE 1300                                                                                               DETROIT            MI      48226‐4120
LLC
A&M AUTOMOTIVE TRANSPORT EFT     ATTN: CORPORATE OFFICER/AUTHORIZED   645 GRISWOLD ST STE 1300                                                          DETROIT             MI     48226‐4120
COMPANY LLC                      AGENT
A&M INDUSTRIAL SUPPLY            1414 CAMPBELL ST                     PO BOX 1044                                                                       RAHWAY             NJ      07065‐3213
A&N STEEL SALES CO               7002 GRAHAM RD STE 102                                                                                                 INDIANAPOLIS       IN      46220‐4048
A&P SERVICE CENTER #2            3506 PIEDMONT AVE                                                                                                      OAKLAND            CA      94611‐5409
A&S INDUSTRIAL COATING CO        PO BOX 1045                                                                                                            WARREN             MI      48090‐1045
A&T SYSTEMS                      STEVE LUCAS                          200 WESTPARK DR.                                                                  PEACHTREE CITY     GA      30269
A&W COMPRESSOR & MECH SVCS INC   2423 MAYNARDVILLE HWY                                                                                                  MAYNARDVILLE       TN      37807‐3027
A'HEARN, HANNAH M                8832 RUTLEDGE AVE                                                                                                      GLENDALE           NY      11385‐7934
A'MONNA BARNES                   3220 VALERIE ARMS DR APT 611                                                                                           DAYTON             OH      45405‐2108
A'MONNA S BARNES                 3220 VALERIE ARMS DR APT 611                                                                                           DAYTON             OH      45405
A'S AUTO, INC.                   427 E BROADWAY RD                                                                                                      PHOENIX            AZ      85040‐2114
A'SHUSH T MORRIS                 PO BOX 285                                                                                                             LECOMPTE           LA      71346‐0285
A+ ALIGNMENT & COMPLETE                                               1028 FM 1092 RD                                                                   MISSOURI CITY      TX      77459
AUTOMOTIVE
A+ AUTO SERVICE                  3824 W MONTAGUE AVE                                                                                                    NORTH CHARLESTON    SC     29418‐5945

A, SHIRLEY                            10869 ST RD 32 EAST                                                                                               CRAWFORDSVILLE     IN      47933
A‐1                                   ASHOK KUMAR                     2707 STATE RD                  N/A                                                CROYDON            PA      19021‐6969
A‐1 AUTO REPAIRS & ELECTRIC           13082 CENTRAL AVE                                                                                                 CHINO              CA      91710‐4123
A‐1 AUTO SERVICE INC.                 17974 BLUE STAR HWY                                                                                               QUINCY             FL      32351‐7162
A‐1 BRAKE & TIRE                      2008 MT DIABLO BLVD                                                                                               WALNUT CREEK       CA      94596‐4302
A‐1 CHECK CASHING INC                 607 HIGHWAY 51 STE C                                                                                              RIDGELAND          MS      39157‐2147
A‐1 COMPONENTS LLC                    655 3RD ST STE 100                                                                                                BELOIT             WI      53511‐668
A‐1 COMPONENTS LLC                    DAVID ARMENTEROS                625 W. 18TH STREET                                                                WICHITA FALLS      TX      76306
A‐1 COMPONENTS, LLC                   DAVID ARMENTEROS                655 3RD ST                     STE 100                                            BELOIT             WI      53511‐6268
A‐1 COMPONENTS, LLC                   DAVID ARMENTEROS                625 W. 18TH STREET                                                                WICHITA FALLS      TX      76306
A‐1 DISPOSAL LANDFILL (OTSEGO) SITE   PRP GROUP (AS DEFINED ON EX A   C/O NIJMAN FRANZETTI LLP       10 S LASALLE ST, STE 3600                          CHICAGO            IL      60603
                                      ATTACHED)
A‐1 DISPOSAL PRP                      ADMINISTRATIVE FUND             7001 ORCHARD LAKE RD STE 410   J L TATUM STE 410                                  WEST BLOOMFIELD     MI     48322‐3608

A‐1 DISPOSAL PRP                      ADMINISTRATIVE FUND             400 RENAISSANCE CTR FL 35      ERIN HOLCOMB                                       DETROIT             MI     48243‐1601
A‐1 DISPOSAL SITE REMEDIATION FUND    7001 ORCHARD LAKE RD STE 410    C/O E MILLER/JOHN L TATUN PC                                                      WEST BLOOMFIELD     MI     48322‐3608

A‐1 ELECTRONICS INC                   ATTN: SHIRLEY YARBER            G3500 FLUSHING RD STE 104                                                         FLINT              MI      48504‐4247
A‐1 ENTERPRISES INC                   4114 S 90TH ST                                                                                                    OMAHA              NE      68127‐1302
A‐1 ENTERTAINMENT                     2602 MONTE VERDE WAY                                                                                              SPARKS             NV      89434‐2628
A‐1 GENERAL INSURANCE                 5732 CHEVROLET BLVD                                                                                               CLEVELAND          OH      44130‐1412
A‐1 GLASS CO                          ATTN: ELTJO VONDELING           607 W MOUNT MORRIS ST                                                             MT MORRIS          MI      48458‐1803
A‐1 LIMOUSINE                         2 EMMONS DR                                                                                                       PRINCETON          NJ      08540‐5927
A‐1 LIMOUSINE INC.                    2 EMMONS DR                                                                                                       PRINCETON          NJ      08540‐5927
                                          09-50026-mg             Doc 7123-3    Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit B
                                                                               Part 1 of 40 Pg 26 of 921
Name                                      Address1                        Address2                  Address3       Address4                    City              State Zip
A‐1 MARKET                                7311 N HANLEY RD                                                                                     HAZELWOOD          MO 63042‐2931
A‐1 MESSENGER SERVICES                    # 8 925‐30 STREET NE                                                     CALGARY CANADA AB T2A 5L7
                                                                                                                   CANADA
A‐1 MOBILITY CTR                          ATTN: VICKIE ROSE               11940 MIDDLEBELT RD # H                                              LIVONIA           MI    48150‐6301
A‐1 QUALITY CAR CARE, INC.                3745 S CONGRESS AVE STE 5                                                                            PALM SPRINGS      FL    33461‐3766
A‐1 QUALITY SYSTEMS INC                   2134 MULBERRY LN                                                                                     NEWCASTLE         OK    73065‐1008
A‐1 SANITATION SERVICE INC                1009 RIVER RD                                                                                        NEW CASTLE        DE    19720‐5103
A‐1 SPECIALIZED SERVICES & SUPPLIES       2707 STATE RD                                                                                        CROYDON           PA    19021‐6969
A‐1 SPECIALIZED SERVICES & SUPPLIES       ASHOK KUMAR                     2707 STATE RD                                                        CROYDON           PA    19021‐6969
A‐1 SPECIALIZED SERVICES & SUPPLIES       ASHOK KUMAR                     PO BOX 270                                                           CROYDON           PA    19021‐0270
A‐1 SPECIALIZED SERVICES & SUPPLIES INC   2707 STATE RD                                                                                        CROYDON           PA    19021‐6969

A‐1 SVC GENERAL LLC                       ATTN: CHARLOTTE MAHER           99 S LAURA CT                                                        WILMINGTON        DE    19804‐2044
A‐1 TIRE & BATTERY                        7640 99 ST NW                                                            EDMONTON AB T6E 3S4
                                                                                                                   CANADA
A‐1 TRUCK PARTS                           ATTN: MIKE GOLDMAN              50444 WOODWARD AVE                                                   PONTIAC           MI    48342‐5013
A‐ABBEY TRANSPORTATION CORP               7428 HARDISTY                                                                                        WEST BLOOMFIELD   MI    48324‐3630

A‐ACTION AUTOMOTIVE & TIRE                11985 HESPERIA RD                                                                                    HESPERIA          CA    92345‐1855
A‐BEL, MOYUNDA J                          9268 W MAIN ST                                                                                       KALAMAZOO         MI    49009‐9303
A‐BEL, MOYUNDA JAY                        9268 W MAIN ST                                                                                       KALAMAZOO         MI    49009‐9303
A‐CHABOT ET FILS AUTO ELECTRIQUE          105 COMMERCIAL                                                           ST‐LAZARE QC G0R 3J0
                                                                                                                   CANADA
A‐F MOTORS, INC.                     TADD WORMET                          201 S MAIN ST                                                        ADAMS             WI    53910‐9371
A‐F MOTORS, INC.                     201 S MAIN ST                                                                                             ADAMS             WI    53910‐9371
A‐FOOTHILL AUTO SERVICE              939 N BENSON AVE                                                                                          UPLAND            CA    91786‐3549
A‐I TRUST DTD 8/3/06 US MANAGEMENT & C/O ALFONSO ALDRETE                  350 10TH AVE, STE 1150                                               SAN DIEGO         CA    92101
FIDUCIARY INC
A‐MART TOYS, INC. AND DUNG CHI LA,
OWNER
A‐OK ELECTRICAL SERVICE              C/O FCCI INSURANCE GROUP             PO BOX 58004                                                         SARASOTA          FL    34232‐0800
A‐OK ELECTRICAL SERVICES, INC.       FCCI INSURANCE GROUP                 THERESA NOBLE             PO BOX 58004                               SARASOTA          FL    34232‐0800
A‐ONE AUTO CARE                      376 LEWELLING BLVD                                                                                        SAN LORENZO       CA    94580‐1634
A‐PARA TRANSIT CORP.                                                      22990 CLAWITER RD                                                                      CA    94545
A‐R‐D COTTONDALE                     3001 INTERSTATE CIR                                                                                       COTTONDALE        AL    35453‐1962
A‐S‐K ASSOCIATES INC                 1505 KASOLD DR                                                                                            LAWRENCE          KS    66047‐1601
A‐TEAM AUTO REPAIR                   250 S COLLINS RD                                                                                          SUNNYVALE         TX    75182‐4625
A‐TEC AMBULANCE                                                           740 EASTGATE ALY                                                                       IL    60014
A‐TECH AUTOMOTIVE                    433 BOSTON TPKE                                                                                           SHREWSBURY        MA    01545‐3462
A‐TECH TRAINING                      FRED HINES                           12290 CHANDLER DR                                                    WALTON            KY    41094‐9674
A‐V AUTO CLINIC                      22050 US HIGHWAY 18                                                                                       APPLE VALLEY      CA    92307‐3971
A‐V‐R MANUFACTURING CORP             33842 JAMES J. POMPO                                                                                      FRAISER           MI    48026
A‐V‐R MANUFACTURING CORP             RICARDO MARKOWICZ                    34155 KELLY                                                          LEXINGTON         KY    40583
A‐VERDI LLC
A‐W CUSTOM CHROME INC                17726 E 9 MILE RD                                                                                         EASTPOINTE        MI    48021‐2565
A.
A. ALEXANDER                         1235 OLD FARM LN                                                                                          SPRINGFIELD       OH    45503‐6860
A. ALIYU                             1147 BIRCHWOOD DR                                                                                         TROY              MI    48083‐1807
A. ANTHONY'S MOBILE VEHICLE          14711 BALTIMORE AVE                                                                                       LAUREL            MD    20707
A. B. "ROSS" HOWELL
A. BALL                              9932 S CICERO AVE                                                                                         OAK LAWN           IL   60453‐4043
A. BERGER PRECISION LTD.             ED SHERING X8013                     134 EAST DRIVE                           WINDSOR ON CANADA
A. BERNICE DILL                      336 BRICK MILL RD                                                                                         MIDDLETOWN        DE    19709‐9603
A. C MCINTOSH                        148 MURRAY DR.                                                                                            DAYTON            OH    45403‐2846
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Name                                   Address1                      Address2               Address3         Address4                   City              State   Zip
A. C. AUTOMOTIVE                       3201 4TH AVE S                                                                                   SEATTLE            WA     98134‐1916
A. C. GARDNER                          FOSTER & SEAR, LLP            817 GREENVIEW DRIVE                                                GRAND PRAIRIE      TX     75050
A. CAMPBELL                            30 RICHARDSON RD                                                                                 NANCY              KY     42544‐8834
A. CARTER                              10 COUNTY ROAD 7012                                                                              BOONEVILLE         MS     38829‐9536
A. CHUIRAZZI                           357 WARREN AVE                                                                                   VIENNA             OH     44473‐9602
A. CRIVELLI BUICK‐PONTIAC‐GMC TRUCK    1403 ALLEGHENY AVE                                                                               RENO               PA

A. CRIVELLI BUICK‐PONTIAC‐GMC TRUCK,   ANTHONY CRIVELLI              1403 ALLEGHENY AVE                                                 RENO               PA     16343
INC.
A. CRIVELLI BUICK‐PONTIAC‐GMC TRUCK,   1403 ALLEGHENY AVE                                                                               RENO               PA     16343
INC.
A. CRIVELLI CHEVROLET, INC.            ANTHONY CRIVELLI              768 ALLEGHENY BLVD                                                 FRANKLIN           PA     16323‐6220
A. CRIVELLI CHEVROLET, INC.            PO BOX 428                                                                                       FRANKLIN           PA     16323‐0428
A. DESTEFF                             72 CIRCLE DR                                                                                     PATCHOGUE          NY     11772
A. DUIE PYLE                           TIMOTHY KOCH                  650 WESTTOWN RD                                                    WEST CHESTER       PA     19382‐4900
A. E TAYLOR                            PO BOX 357                                                                                       BRODHEAD           KY     40409‐0357
A. GIUSTI                              PO BOX 57                                                                                        STERLING           CT     06377‐0057
A. GRIFFITH                            6801 RICKEY LN                                                                                   ARLINGTON          TX     76001‐6721
A. H. BELO                             ALLISON ENGEL                 400 S RECORD ST                                                    DALLAS             TX     75202‐4806
A. H. BELO                             ALLISON ENGEL                 400 SOUTH RECORD ST.                                               DALLAS             TX     75202‐8200
A. H. HARRIS & SONS, INC.              RYAN MURPHY                   367 ALUMNI RD                                                      NEWINGTON          CT     06111‐1867
A. HEIDENREICH                         305 LELAND ST                                                                                    FLUSHING           MI     48433‐1747
A. HENRION/ N. HENRION                 M. HENRION                    2342 HAMPTON                            MONTREAL QC H4A 2K6
                                                                                                             CANADA
A. J CHUIRAZZI                         357 WARREN AVENUE S.E.                                                                           VIENNA            OH      44473‐9602
A. J. CHEVROLET, INC.                  ANTHONY DESCIPIO              RTE 435                                                            MOSCOW            PA      18444
A. J. CHEVROLET, INC.                  RTE 435                                                                                          MOSCOW            PA      18444
A. JO ANN HOLBERT                      517 W 22ND ST                                                                                    ANDERSON          IN      46016‐4131
A. KERSTE
A. M. MCCALLUM SR.
A. MARY BRILTZ                         3028 CIRCLE DR.               # 201                                                              WINDBER           PA      15963
A. MCINTOSH                            148 MURRAY DR                                                                                    DAYTON            OH      45403‐2846
A. MICHELE SEXTON                      1207 SO COLLEGE AVE                                                                              TULSA             OK      74104
A. PAQUETTE GARAGE                     34 WALL ST                                                            VANKLEEK HILL ON K0B 1R0
                                                                                                             CANADA
A. PIGEON S.A.                        #469 ROUTE DU MEDOC                                                    BRUGES 33520 FRANCE
A. RAYMOND, INC.                      ANDREA GERBER                  3091 RESEARCH DR                                                   ROCHESTER HILLS    MI     48309‐3581
A. S. WARREN, JR.
A. SALMERON                           2404 TULIPAN ST                                                                                   BROWNSVILLE       TX      78521‐4629
A. SCHULMAN, INC.                     ANITA ABOOD                    3550 W MARKET ST                                                   FAIRLAWN          OH      44333‐2658
A. SHEARER                            24306 KNICKERBOCKER WOODS                                                                         BAY VILLAGE       OH      44140‐2821
A. T. & T.                            RTE 202‐206                                                                                       BEDMINSTER        NJ      07921
A. TAYLOR                             PO BOX 357                                                                                        BRODHEAD          KY      40409‐0357
A. W. GOLDEN CHEVROLET CADILLAC       401 LANCASTER AVENUE                                                                              READING           PA      19607
A. W. GOLDEN PONTIAC                  PO BOX 13966                                                                                      READING           PA      19612‐3966
A. W. GOLDEN PONTIAC CADILLAC         801 LANCASTER AVE                                                                                 READING           PA      19607‐1636
A. W. GOLDEN, INC.                    ALBERT GOLDEN                  401 LANCASTER AVENUE                                               READING           PA      19607
A. W. GOLDEN, INC.                    ALBERT GOLDEN                  2526 CENTRE AVE                                                    READING           PA      19605‐2850
A. W. TROUTMAN CO.                    DAVID TROUTMAN                 640 STATE ST                                                       MILLERSBURG       PA      17061‐1462
A. WELLS                              1012 CARNELL ST                                                                                   PORT GIBSON       MS      39150‐4209
A., WILSON, MARY                      511 E 3RD AVE                                                                                     SAINT JOHN        KS      67576‐2018
A.B. NELSON                           0435 W 025 N                                                                                      LAGRANGE          IN      46761
A.B.C. BIKES & TOYS & MOTORCYCLES AND
SAM AZIZI, OWNER
                                      09-50026-mg              Doc 7123-3         Filed 09/24/10 Entered 09/24/10 15:05:32       Exhibit B
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Name                                  Address1                               Address2                    Address3   Address4                   City            State   Zip
A.C. MITCHELL                         328 BEDFORD RD                                                                                           BOLINGBROOK       IL    60440‐2032
A.C. V SPENCER                        4430 S REED RD                                                                                           DURAND           MI     48429‐9760
A.C.S. AUTO SERVICE INC.              W61N398 WASHINGTON AVE                                                                                   CEDARBURG        WI     53012‐2424
A.D. PHILLIPS                         2052 WILLOW BEND DR                                                                                      OAK LEAF         TX     75154‐3856
A.E. AUTO CARE                        17175 MIDDLEBELT RD                                                                                      LIVONIA          MI     48152‐3609
A.E.S.                                1225 LEBANON PIKE                                                                                        NASHVILLE        TN     37210‐3003
A.F. KNOLL                            HEER STR 131                                                                  14055 BERLIN GERMANY
A.G. SIMPSON                          JAMIE MCCORKINDALE                     560 CONESTOGA BLVD.                    CAMBRIDGE ON N1R 7L7
                                                                                                                    CANADA
A.G. SIMPSON (OSHAWA)                 ROBERT CHMIEL                          901 SIMCOE ST S                        OSHAWA ON L1H 4L1 CANADA

A.G. SIMPSON (USA) INC                PAUL SOBOCAN                           6640 STERLING DRIVE SOUTH                                         JACKSONVILLE     NC     28540
A.G. SIMPSON CO, LTD.                 PAUL SOBOCAN X5699                     901 SIMCO STREET                       OSHAWA ON L1H 4L1 CANADA

A.G. SIMPSON CO. LTD.                 PAUL SOBOCAN                           675 PROGRESS AVE                       BURLINGTON ON CANADA
A.G. SIMPSON COMPANY                  JAMIE MCCORKINDALE                     275 EUGENIE ST/EAST                    CHATHAM ON CANADA
A.I.D. RADIATOR & AUTO SERVICE        4544 137TH ST                                                                                            CRESTWOOD       IL      60445‐1925
A.I.P.T.                              10400 LITTLE PATUXENT PKWY STE 250                                                                       COLUMBIA        MD      21044‐3519
A.I.S.I.                              1140 CONNECTICUT AVE NW STE 705                                                                          WASHINGTON      DC      20036‐4011
A.I.S.I. (AMERICAN IRON & STEEL)
A.J. DOHMANN CHEVROLET CADILLAC INC   ALDUSE DOHMANN                         800 ROBISON RD                                                    BERWICK          LA     70342

A.J. DOHMANN CHEVROLET CADILLAC, IN   800 ROBISON RD                                                                                           BERWICK          LA

A.J. DOHMANN CHEVROLET CADILLAC, INC. ALDUSE DOHMANN                         800 ROBISON RD                                                    BERWICK          LA     70342

A.J. DOHMANN CHEVROLET CADILLAC, INC. 800 ROBISON RD                                                                                           BERWICK          LA     70342

A.J. DOWDEN                           835 4TH AVE                                                                                              GENEVA           IL     60134‐1465
A.J. JOHNS, INC.                                                             3225 ANNISTON RD                                                  JACKSONVILLE     FL     32246
A.J. ROSE MFG CO                      PHIL ZOLLOS                            CLARK AVE & W 38TH ST                                             JAMESTOWN        NY     14701
A.J. SANDERS                          C/O FOSTER & SEAR, LLP                 817 GREENVIEW DR.                                                 GRAND PRAIRIE    TX     75050
A.K.HANSARAJ
A.K.M. SAIFULLAH                      528 E SOUTH BLVD                                                                                         TROY             MI     48085‐1203
A.L.M. HOLDING COMPANY                BLAKE MOSCHEL                          920 10TH AVE N                                                    ONALASKA         WI     54650‐2166
A.L.S., INC.                          STEVEN SMITH                           6372 W SUNSET AVE                                                 SPRINGDALE       AR     72762‐0760
A.M.A TIRE RICHMOND HILL              9350 YONGE STREET                                                             RICHMOND HILL ON L4C 1V4
                                                                                                                    CANADA
A.NAIR
A.P.A. INDUSTRIES, INC.
A.P.A. INDUSTRIES, INC.               BARRY SEEMAN                           2130 WARD AVE                                                     SIMI VALLEY      CA     93065‐1851
A.R.I.                                9000 MIDLANTIC DR                                                                                        MOUNT LAUREL     NJ     08054‐1539
A.S.A.P WRECKER SERVICE INC.          5751 ETHEL RD                                                                                            EL PASO          TX     79932‐1318
A.S.A.P WRECKER SERVICE INC.          5751 ETHEL RD                                                                                            EL PASO          TX     79932‐1318
A.S.A.P. SERVICE CENTER               3351 DIXIE HWY                                                                                           WATERFORD        MI     48328‐1606
A.S.C. AUTOMOTIVE REPAIR              10124 S INDIANAPOLIS AVE                                                                                 CHICAGO          IL     60617‐6055
A.V. GAUGE/OLDCASLTE                  4000 DELUCA                                                                   OLD CASTLE ON N0R1L0
                                                                                                                    CANADA
A.W. GOLDEN CHEVROLET CADILLAC        801 LANCASTER AVE                                                                                        READING          PA     19607‐1636
A/C SALES CORP                        6649 PEACHTREE INDUSTRIAL BLVD STE H                                                                     NORCROSS         GA     30092‐4302

A/S ELEKTROKONTAKT                    PARKVEIEN 4, FINNSNES                                                         TROMS 9300 NORWAY
A/S ELVERUM AUTO BILSALG              HAMARVEIEN, 13                                                                ELVERUM 2400 NORWAY
A/S ELVERUM AUTO BILSALG              MEIERGATEN 3‐5                                                                ELVERUM N‐240 NORWAY
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Name                                   Address1                          Address2                    Address3       Address4                 City             State   Zip
A;DJK;A A;DLKJ                         AD;LKJ;A                                                                                              A;LDKJ            KS     00000
A;DKJ ;A;DLKJ                          A;DKLJ                                                                                                A;DLJK            OH     00000
A;DKL AL;DKJ                           ADL;KJ                                                                                                A;KLD             AK     00000
A;DKLJ;A A;LDKJ;                       ADLK;JF                                                                                               ADL               PA     00000
A1 AUTO & TRANSMISSION                                                   4941 SHEPHERD ACTON RD                                              SHEPHERD          MT     59079
A1 AUTO CARE INC                       9611 SE GLEASON ST                                                                                    HOBE SOUND        FL     33455‐3505
A1 AUTO CARE INC                       9611 SE GLEASON ST                                                                                    HOBE SOUND        FL     33455‐3505
A1 AUTO REPAIRS                        209 LEIGH RD                                                                 KAMLOOPS BC V2B 2L7
                                                                                                                    CANADA
A1 CARWASH & DETAIL               ATTN: SAM JOLLY                        7340 JOHN R ST                                                      DETROIT           MI     48202‐3140
A1 COMMUNICATIONS CONNECTIONS INC 922 PRESTON CREEK DR                   ATTN KENNETH MEACHAM                                                MCDONOUGH         GA     30253‐6599

A1 DISPOSAL REMEDIAL FUND              C\O D TRIPP DYKEMA GOSSETT        400 RENAISSANCE CTR                                                 DETROIT          MI      48243‐1607
A1 ELECTRIC AUTO SERVICE               4037 GOLLIHAR RD                                                                                      CORPUS CHRISTI   TX      78411‐3530
A1 IMAGING CENTERS L                   PO BOX 8669                                                                                           BELFAST          ME      04915‐8669
A1 INTERNATIONAL COURIER SERVICE INC   NORTHLAND TOWERS                  15565 NORTHLAND AVE                                                 SOUTHFIELD       MI      48075

A1 LIMOUSINE, INC.                  MICHAEL STARR                        2 EMMONS DR                                                         PRINCETON         NJ     08540‐5927
A1 OTSEGO LANDFILL ADMINISTRAT FUND C\O DEGRAZIA, VICKIE M               400 RENAISSANCE CTR         GOSSETT PLLC                            DETROIT           MI     48243‐1607

A1 TECHNOLOGIES INC                    7022 ALONDRA BLVD                                                                                     PARAMOUNT        CA      90723‐3926
A123 SYSTEMS                           1 KINGSBURY AVE                                                                                       WATERTOWN        MA      02472‐5789
A123 SYSTEMS INC                       321 ARSENAL ST STE 3                                                                                  WATERTOWN        MA      02472‐5711
A123 SYSTEMS INC                       321 ARSENAL STREET                                                                                    WATERTOWN        MA      02472
A123 SYSTEMS, INC.                     321 ARSENAL STREET                                                                                    WATERTOWN        MA      02472
A2MAC1                                 3294 HOMESTEAD CT                                                                                     SALINE           MI      48176‐9232
A2MAC1 LLC                             3901 BESTECH RD STE 100                                                                               YPSILANTI        MI      48197‐9817
A2MAC1 LLC                             6248 SAUK TRL                                                                                         SALINE           MI      48176‐9523
A2Z ENVIRONMENTAL GR                   311 S HAVEN ST                                                                                        BALTIMORE        MD      21224‐2533
A2Z ENVIRONMENTAL GROUP LLC            311 S HAVEN ST                                                                                        BALTIMORE        MD      21224‐2533
A3 INTEGRATION LLC                     112 S MAIN ST STE A                                                                                   ANN ARBOR        MI      48104‐1953
AA A                                   A                                                                                                     A                TX      12345
AA AA                                  AA 44                                                                                                 SA
AA AA                                  AA                                                                                                    AA               NV      10017
AA ASPHALT                                                               2518 E VALLEY HWY E                                                 SUMNER           WA      98390
AA BB                                  WITZSTR.                                                                                              BERLIN           DE      13000
AA BB                                  CC                                DD                          EE             FF                       GG
AA BB                                  1222
AA DDD                                 EEE                               EEEE                        EEEEE          FFF
AA GEAR LLC                            2105 BISHOP CIR E                                                                                     DEXTER            MI     48130‐1565
AA JANSSON/PONTIAC                     2070 AIRPORT ROAD                                                                                     PONTIAC           MI     48054
AA RENTS INC                           1419 W 11TH ST                                                                                        MARION            IN     46953‐1436
AA TRUCKING                            300 MARKET ST STE 205                                                                                 OAKLAND           CA     94607
AA WELDING/VACAVILLE                   325 KINGSBERRY CIR                                                                                    VACAVILLE         CA     95687‐4305
AA‐53420‐Q5, NIAGARA CO. SCU           PO BOX 15329                      OBO: BOBBY MCKENZIE                                                 ALBANY            NY     12212‐5329
AAA AAA                                AAA                               AAA                                                                 AA                LA     75669
AAA AAAA                               AAAA                              AAA                         AA             AAA
AAA ABSOLUTE PRESTIGE                  ATTN: CHERENE CARROLL             PO BOX 353                                                          POMPEY            NY     13138‐0353
AAA ACE                                PO BOX 440083                                                                                         JACKSONVILLE      FL     32222‐0001
AAA AGENCE AMERICAINE AUTOMOBILES      BRUGLINGERSTRASSE 2                                                          BASEL 4002 SWITZERLAND
SA
AAA ALARM CO                           39310 PLYMOUTH RD                                                                                     LIVONIA           MI     48150‐1057
AAA AUTO ELECTRIC & AIR CONDITIONING                                     8907 S ORANGE BLOSSOM TRL                                           ORLANDO           FL     32809
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Name                             Address1                        Address2                     Address3            Address4               City              State Zip
AAA AUTOMOTIVE                   6034 RICHARD ST                                                                                         JACKSONVILLE       FL 32216‐5927
AAA BBB                          ╥╥╥╥                            DDDD                         SSSS                RRRR
AAA BBB                          CCC
AAA BBB                          ABCDEFG                         HIJKLMN                      OPQRSTU             VWXYG
AAA CAB CO                       402 S STEPHENSON HWY            FMLY A CAB CO 5\99                                                      ROYAL OAK         MI   48067‐3956
AAA CHECK SERVICES               508 SCHWEM AVE                                                                                          BROOKHAVEN        MS   39601‐2748
AAA CHRYSLER TRANSMISSION        ATTN: WALTER ATKINS             900 CESAR E CHAVEZ AVE                                                  PONTIAC           MI   48340‐2334
AAA COMMUNIC/NSHVILL             305 HILL AVE                                                                                            NASHVILLE         TN   37210‐4711
AAA COOPER TRANSPORTATION        1751 KINSEY RD                                                                                          DOTHAN            AL   36303‐5877
AAA COOPER TRANSPORTATION        LARRY GRAYHOUSE                 1431                                                                    DOTHAN            AL
AAA COOPER TRANSPORTATION        PO BOX 6827                                                                                             DOTHAN            AL   36302‐6827
AAA DISTRIBUTION SYSTEMS INC     7215 SULIER DR                                                                                          TEMPERANCE        MI   48182‐9510
AAA EGG FARM                     1 EMBARCADERO CTR STE 1020                                                                              SAN FRANCISCO     CA   94111‐3698
AAA EGG FARM                     SAVERI & SAVERI P.C.            1 EMBARCADERO CTR STE 1020                                              SAN FRANCISCO     CA   94111‐3698
AAA EXPEDITING SERVICE INC       1750 SOUTHFIELD RD                                                                                      LINCOLN PARK      MI   48146‐2246
AAA EXPRESS INC                  PO BOX 163                                                                                              HALES CORNERS     WI   53130‐0163
AAA INSURANCE
AAA INSURANCE                    PO BOX 66502                                                                                            ST. LOUIS         MO   63166
AAA INSURANCE CO                 ACCT OF SANDRA K BIRD
AAA LANGUAGE SERVICES            1573 S TELEGRAPH RD                                                                                     BLOOMFIELD        MI   48302‐0048
                                                                                                                                         TOWNSHIP
AAA LANGUAGE SERVICES INC        ITEROTEXT                       1573 S TELEGRAPH RD                                                     BLOOMFIELD        MI   48302‐0048
AAA METRO‐TRANS LLC              DBA ROYAL OAK                   402 S STEPHENSON HWY         CAB CO AAA CAB CO                          ROYAL OAK         MI   48067‐3956
AAA MICHIGAN
AAA MID ATLANTIC                 7777 BREWSTER AVE                                                                                       PHILADELPHIA      PA   19153‐3210
AAA NON‐PROFIT HIV/STD TESTING   2700 COURT ST # 6                                                                                       SYRACUSE          NY   13208‐3295
AAA PIEN                         12F‐3, NO. 213, SEC 1           FUXING S. RD, DA‐AN DIST     TAIWAN                                     TAIPEI CITY       AK   10603
AAA PLAST/SEABROOK               PO BOX 1210                                                                                             SEABROOK          NH   03874‐1210
AAA PLAT/NASHVILLE               3141 AMBROSE AVE                                                                                        NASHVILLE         TN   37207‐4711
AAA QUALITY SERVICES INC         321 NOBLE AVE                                                                                           FARMERSVILLE      CA   93223‐2503
AAA RADIATOR & AUTO REPAIR       ATTN: RON DALTON                1424 CONWAY ST                                                          FLINT             MI   48532‐4307
AAA REMCO BUSINESS PRODUCTS      2800 TREMAINSVILLE RD           STE B                                                                   TOLEDO            OH   43613‐3583
AAA SLING & INDL SUPPLY          ATTN: SCOTT STOLL               425 36TH ST SW # A                                                      GRAND RAPIDS      MI   49548‐2161
AAA TRUCKING & WAREHOUSE CORP    152 US HWY 206 SOUTH                                                                                    HILLSBOROUGH      NJ   08844
AAAAAAA AAAAAAA                  AAAAAAAAAAAAAAA
AAAAAAAAAA AAAAAAAAAAAA          AAAAAAAAAAAAAAAA                AAAAAAAAAAAAAAAAA            AAAAAAAAAAAAAA      AAAAAAAAAAAAAA
AAAAAAAAAAAAAA BBBBBBBBBBBBB     NNNNNNNNNNNNNNNN                                                                                        XXXXXXXXXXXXXX    AK   00000
AAAARISSMAN, NICK                3428 MILITARY ST APT 101                                                                                PORT HURON        MI   48060
AAARIVERS, DAVID O               1580 GANDERHILL                                                                                         HOLT              MI   48842‐9581
AAARIVERS, DAVID OTIS            1580 GANDERHILL                                                                                         HOLT              MI   48842‐9581
AAAS                             1200 NEW YORK AVENUE NW                                                                                 WASHINGTON        DC   20005
AABERG, CLARA A                  7120 SW HYLAND WAY                                                                                      BEAVERTON         OR   97008‐5646
AABERG, DEBRA L                  11631 DOUGLAS DR N                                                                                      CHAMPLIN          MN   55316‐2926
AABERG, SCOTT                    4538 DEWULF DR                                                                                          TROY              MI   48085‐3528
AABY DONNET                      12 WEST MOUNTAIN ROAD                                                                                   WASHINGTON        CT   06793‐1809
AACA MUSEUM INC                  ATTN GROUP SALES DEPARTMENT     161 MUSEUM DR                                                           HERSHEY           PA   17033‐2462
AACARGO SERVICES INC             PO BOX 845305                                                                                           DALLAS            TX   75284‐5305
AACCEL EMISSIONS & LUBE          3500 MALL LOOP DR                                                                                       JOLIET            IL   60431‐9211
AACH‐MURPHREE, SANDRA            552 PINEHURST DR                                                                                        ROCHESTER HILLS   MI   48309‐1245
AACHEN UNIVERSITY
AADIL, AMEEN A                   408 HOLT CREEK CT                                                                                       NASHVILLE         TN   37211‐8534
AADLAND, WALLACE L               8022 E PRESIDIO RD                                                                                      TUCSON            AZ   85750‐2843
AAF CONTEMPORARY ART FAIR        20 W 22ND ST STE 1512                                                                                   NEW YORK          NY   10010‐5834
AAF MCQUAY INC                   10300 ORMSBY PARK PL STE 600    PO BOX 35690                                                            LOUISVILLE        KY   40223‐6170
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AAF‐MCQUAY GROUP INC                 10300 ORMSBY PARK PL STE 600           PO BOX 35690                                                                      LOUISVILLE       KY     40223‐6168
AAF‐MCQUAY INC                       3955 PINNACLE CT                       STE 300                                                                           AUBURN HILLS     MI     48326‐1787
AAF‐MCQUAY INC                       ATTN: CORPORATE OFFICER/AUTHORIZED     1056 SOLUTIONS CTR                                                                CHICAGO           IL    60677‐1000
                                     AGENT
AAFEDT JEFFREY                       23773 NORTH LAKE ROAD                                                                                                    DETROIT LAKES   MN      56501
AAG HOLDINGS, LLC                    179 AMHERST STREET                                                                                                       NASHAU          NH      03064
AAGE KROLL A/S                       1 TOYOTA‐CHO, TOYOTA‐SHI, AICHI‐KEN,                                                          JAPAN
                                     JAPAN
AAGE KROLL A/S                       JYDEKROGEN 18                                                                                 VALLENSBAEK 2625 DENMARK

AAGESEN CLARA                        1002 HEMLOCK DR                                                                                                          ROCHESTER       MI      48307‐1037
AAGESEN, CLARA E                     1002 HEMLOCK DR                                                                                                          ROCHESTER       MI      48307‐1037
AAGESEN, JOSHUA J                    352 WOODMERE AVE SE                                                                                                      GRAND RAPIDS    MI      49506‐1725
AAGESEN, JOSHUA J                    623 SYDNEY ST                                                                                                            VALLEY          AL      36854‐2111
AAHF FOUNDATION                      2514 N CHARLES ST                                                                                                        BALTIMORE       MD      21218‐4601
AAIM NOVELTIES, LLC
AAIW                                 PO BOX 3379                                                                                                              FREDERICK       MD      21705‐3379
AALCO                                909 GRANT AVE                                                                                                            FORT WAYNE      IN      46803‐1347
AALCO DISTRIBUTING CO INC            909 GRANT AVE                                                                                                            FORT WAYNE      IN      46803‐1347
AALCO DISTRIBUTING CO INC            ATTN: CORPORATE OFFICER/AUTHORIZED     909 GRANT AVE                                                                     FORT WAYNE      IN      46803‐1347
                                     AGENT
AALDERINK, LEE R                     1430 VAN BUREN ST                                                                                                        HUDSONVILLE      MI     49426‐9433
AALFLEX SCHLAUCHLEITUNGS GMBH        VICTOR SLOTOSCH STRASSE 14                                                                    FRANKFURT AM MAIN 60388
                                                                                                                                   GERMANY
AALLIED DIE CASTING CO OF ILLINOIS   3021 CULLERTON ST                                                                                                        FRANKLIN PARK    IL     60131‐2204
AALLIED DIE CASTING OF ILLINIOS      161 CARPENTER AVE                                                                                                        WHEELING         IL     60090‐6007
AALOK ENTERPRISES INC                2961 BERNICE DR                                                                                                          JACKSONVILLE     FL     32257‐5810
AAM                                  ROBERT FRANZ                           1 DAUCH DR                                                                        DETROIT          MI     48211‐1198
AAM ‐ WATER ‐ MERCURY LIT            NO ADVERSE PARTY
AAM DO BRASIL LTDA                   RUA CYRO CORREIA PEREIRA 100           CIDADE INDUSTRIAL             CEP 81170 230 CURITIBA   PARANA PUERTO RICO
AAM DO BRAZIL LTDA                   SCOTT GRAFF                            AV DAS NACOES 2051            BAIRRO ESTACAO           NOGAROLE ROCCA ITALY
AAMCO TRANSMISSION                   1615 WALNUT ST                                                                                                           CARY            NC      27511‐5928
AAMCO TRANSMISSION                   4300 FAYETTEVILLE RD                                                                                                     RALEIGH         NC      27603‐3610
AAMCO TRANSMISSION                   110 EASTDALE RD S                                                                                                        MONTGOMERY      AL      36117‐2037
AAMCO TRANSMISSIONS                  1742 JOHN F KENNEDY BLVD                                                                                                 JERSEY CITY     NJ      07305‐1902
AAMEIKA SMALL                        820 SCRANTON RD, APT 1307                                                                                                BRUNSWICK       GA      31525‐6628
AAMIR CHAUDHRY                       47143 BLUEJAY DR                                                                                                         MACOMB          MI      48044‐2836
AAMIR, NAGI                          FRIEDMAN ERNEST F                      24567 NORTHWESTERN HWY STE                                                        SOUTHFIELD      MI      48075‐2412
AAMOLD, WAYNE H                      263 ARMSTRONG LN                                                                                                         PASADENA        MD      21122‐4151
AAMOTH, NEVA L                       1421 HUTCHINS DR                                                                                                         KOKOMO          IN      46901‐1991
AAMRAPALI CHATTERJEE                 4266 GRAYSTONE DR                                                                                                        OKEMOS          MI      48864‐5212
AANE, SHARON G                       307 LABIAN DR                                                                                                            FLUSHING        MI      48433‐1773
AANENSON ERIC                        3288 OWASSO HEIGHTS RD                                                                                                   SAINT PAUL      MN      55126‐4130
AANERUD, DORIS L                     3110 JACKSON DR                                                                                                          HOLIDAY         FL      34691‐3362
AANONSEN HUBERT J (410443)           GLASSER AND GLASSER                    CROWN CENTER, 580 EAST MAIN                                                       NORFOLK         VA      23510
                                                                            STREET, SUITE 600
AANONSEN, HUBERT                     GLASSER AND GLASSER                    CROWN CENTER, 580 EAST MAIN                                                       NORFOLK          VA     23510‐2212
                                                                            STREET, SUITE 600
AAON INC                             1425 S YUKON                                                                                                             TULSA           OK      74107
AAPER ALCOHOL & CHEM                 PO BOX 673831                                                                                                            DETROIT         MI      48267‐3831
AAPER ALCOHOL & CHEMICAL CO          1101 ISAAC SHELBY DR                   PO BOX 339                                                                        SHELBYVILLE     KY      40065‐9128
AAPEX ANALYTICAL INC                 24850 AURORA RD STE C                                                                                                    CLEVELAND       OH      44146‐1747
AAPEX\AAIA                           C\O WILLIAM T GLASGOW INC              10729 163RD PL                                                                    ORLAND PARK     IL      60467‐8861
AAR KEL MOULDS LTD                   PO BOX 15                                                                                                                MARINE CITY     MI      48039‐0015
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AAR KEL MOULDS LTD          17 ELM DR S                                                              WALLACEBURG ON N8A 5E8
                                                                                                     CANADA
AAR OF NORTH CAROLINA INC   4030 WAKE FOREST RD STE 300                                                                       RALEIGH         NC    27609‐6800
AAR PROPERTIES              121 S WALNUT ST                                                                                   HOWELL          MI    48843‐2222
AARANT, JERRY D             PO BOX 191                                                                                        HILLSBORO       MO    63050‐0191
AARDAL JR, PAUL W           250 PINE NEEDLE DR                                                                                SEVILLE         OH    44273‐8803
AARDEMA, WILHELMINA         14353 GRIDLEY ROAD                                                                                NORWALK         CA    90650‐4705
AARELL CO, THE              1100 E BIG BEAVER RD                                                                              TROY            MI    48083‐1934
AARELL COMPANY THE          1100 E BIG BEAVER RD                                                                              TROY            MI    48083‐1934
AARHUS, MICHAEL S           13209 RIDGEPOINTE RD                                                                              KELLER          TX    76248‐8148
AARHUS, MICHAEL SHAWN       13209 RIDGEPOINTE RD                                                                              KELLER          TX    76248‐8148
AARIKA L FOSTER             625 ROCKFORD AVE                                                                                  DAYTON          OH    45405
AARKEL ENTERPRISES INC      17 ELM DR S                                                              WALLACEBURG ON N8A 5E8
                                                                                                     CANADA
AARKEL ENTERPRISES INC      PO BOX 15                                                                                         MARINE CITY      MI   48039‐0015
AARNOLD, CORDELL            3620 E ALLEN RD                                                                                   HOWELL           MI   48855‐8223
AARNS, CARL J               PO BOX 367                                                                                        BECKEMEYER       IL   62219‐0367
AARO NICANDER               2459 BETTY LANE                                                                                   FLINT            MI   48507‐3530
AARO O NICANDER             2459 BETTY LN                                                                                     FLINT            MI   48507‐3530
AARON
AARON A DUNCAN JR           148 CANTERBURY DR                                                                                 DAYTON          OH    45429
AARON A WARD                7429 WABASH AVE                                                                                   KANSAS CITY     MO    64132‐3331
AARON ABOTT                 22 E LONGFELLOW AVE                                                                               PONTIAC         MI    48340‐2742
AARON ADAMS                 901 PALLISTER ST APT 806                                                                          DETROIT         MI    48202‐2675
AARON ADAMS                 2364 AMBER WOODS DR                                                                               SNELLVILLE      GA    30078‐6131
AARON ALLARD                1253 E LAKE RD                                                                                    CLIO            MI    48420‐8814
AARON ALLEN                 1128 W STANLEY RD                                                                                 MOUNT MORRIS    MI    48458‐2330
AARON ALLEN                 5357 FERN AVE                                                                                     GRAND BLANC     MI    48439‐4321
AARON ALLGOOD               BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                       BOSTON HTS.     OH    44236
AARON ALLISON               5175 LATTA RD                                                                                     E PALESTINE     OH    44413‐9702
AARON AND JUNE FEUERSTEIN   140 OLD LYME DR                  APT 1                                                            WILLIAMSVILLE   NY    14221
AARON ANDERSON              1341 W 650 S                                                                                      JONESBORO       IN    46938‐9765
AARON ANDERSON              617 HERITAGE LN W                                                                                 TERRE HAUTE     IN    47804‐1384
AARON ANDIS                 PO BOX 2026                                                                                       MUSCLE SHOALS   AL    35662‐2026
AARON APPLEGATE             4264 PALMYRA RD SW                                                                                WARREN          OH    44481‐9709
AARON ARMSTRONG             PO BOX 2077                                                                                       PORTAGE         MI    49081‐2077
AARON ARNDT                 3214 SYLVAN DR                                                                                    ROYAL OAK       MI    48073‐5713
AARON ATREO                 844 BYRON DR                                                                                      MILFORD         MI    48381‐2812
AARON B ALDERMAN            101 SEAMAN ST                                                                                     NEW BRUNSWICK   NJ    08901
AARON B FROMM               1360 CRESTWOOD AVE                                                                                YPSILANTI       MI    48198‐5919
AARON B ROGERS              1947 MALCOM                                                                                       KETTERING       OH    45420
AARON B WHITAKER            603 BEECHWOOD AVE                                                                                 CARNEGIE        PA    15106‐2904
AARON BAKER                 5214 PIERSONVILLE RD                                                                              COLUMBIAVILLE   MI    48421‐9343
AARON BASHAW                7842 GLEN OAKS DR NE                                                                              WARREN          OH    44484‐1572
AARON BEARD                 318 E COLUMBIA AVE                                                                                PONTIAC         MI    48340‐2858
AARON BEAUCHAMP             12508 SE 38TH ST                                                                                  CHOCTAW         OK    73020‐6173
AARON BELANGER
AARON BESSANT               3585 BARBERRY CIR                                                                                 WIXOM           MI    48393‐1103
AARON BILLHEIMER            3438 STATE ROUTE 39                                                                               SHELBY          OH    44875‐9482
AARON BLAKELY               4794 EVA ST                                                                                       SAGINAW         MI    48601‐6917
AARON BLANTON               4204 FULTON AVE                                                                                   MORAINE         OH    45439‐2124
AARON BLEDSOE JR            1303 E NEVADA ST                                                                                  DETROIT         MI    48203‐2302
AARON BLEHM                 1935 S BEYER RD                                                                                   SAGINAW         MI    48601‐9443
AARON BOBER                 12315 WHISPER RIDGE DR                                                                            FREELAND        MI    48623‐9500
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Name                Address1                       Address2                       Address3   Address4               City            State   Zip
AARON BOGUE         4992 N CR 1200 W                                                                                PARKER CITY      IN     47368
AARON BOLES         1825 KATHY LN                                                                                   MIAMISBURG       OH     45342‐2627
AARON BOWSER        255 SLEEPY HOLLOW DR                                                                            CANFIELD         OH     44406‐1060
AARON BRACK         G9171 NEFF                                                                                      CLIO             MI     48420
AARON BRADLEY       17385 WICK AVE                                                                                  LAKE MILTON      OH     44429‐9771
AARON BRADLEY       20205 MARK TWAIN ST                                                                             DETROIT          MI     48235‐1689
AARON BRANCH        40 DAVENPORT ST APT 814                                                                         DETROIT          MI     48201‐2446
AARON BRISTOW       PO BOX 224                                                                                      LONDON           OH     43140‐0224
AARON BROOKS        888 PALLISTER ST APT 308                                                                        DETROIT          MI     48202‐2671
AARON BROWN         1850 DELPHINE DR                                                                                DECATUR          GA     30032‐3927
AARON BROWN         1062 MEANDERING WAY                                                                             FRANKLIN         TN     37067‐5044
AARON BROWN         711 BELMONT ST                                                                                  ATHENS           TX     75751‐3249
AARON BROWN         863 HUNTER BLVD                                                                                 LANSING          MI     48910‐4714
AARON BRUCE         101 N NEWMAN RD                                                                                 LAKE ORION       MI     48362‐1121
AARON BUNCH         11500 MORNINGVIEW                                                                               SOUTHGATE        MI     48195‐7331
AARON BURKS         PO BOX 2144                                                                                     DETROIT          MI     48202‐0144
AARON BURNETTE      8259 FARRAND RD                                                                                 OTISVILLE        MI     48463‐9431
AARON BUSH          200 S MILLER AVE                                                                                ALBANY           IN     47320‐1224
AARON BUTLER        3926 ROSECREST AVE                                                                              BALTIMORE        MD     21215‐3427
AARON C JEFFERS     4885 HORSEMAN DR                                                                                FAIRBORN         OH     45324‐9750
AARON C JONES       1385 KERN DR                                                                                    GERMANTOWN       OH     45327
AARON C OWENS       4909 EATON‐LEWISBURG RD                                                                         LEWISBURG        OH     45338
AARON C ROBINSON    303 CONCORD DRIVE                                                                               CLINTON          MS     39056‐5722
AARON C SCHWARZ     12915 TITTABAWASSEE                                                                             FREELAND         MI     48623
AARON CABAJ         5010 MURRAY ST                                                                                  GRAND BLANC      MI     48439‐9387
AARON CADE JR       6088 NATCHEZ DR                                                                                 MOUNT MORRIS     MI     48458‐2743
AARON CAMPBELL      70 HILLARY CIR                                                                                  NEW CASTLE       DE     19720‐8620
AARON CANNON        2525 LOST CREEK DR                                                                              FLUSHING         MI     48433‐9437
AARON CANTRELL      9359 N COUNTY ROAD 25A                                                                          PIQUA            OH     45356‐8205
AARON CAREY         610 TENNYSON                                                                                    ROCHESTER HLS    MI     48307‐4248
AARON CARR          6043 STATE ROUTE 130 S                                                                          MORGANVILLE      KY     42437
AARON CHADWICK      PO BOX 548                                                                                      LAINGSBURG       MI     48848‐0548
AARON CHAMBERS      3238 PIRRIN DR                                                                                  WATERFORD        MI     48329‐2742
AARON CHAMBERS      59 B ST                                                                                         BUFFALO          NY     14211‐3205
AARON CHAPMAN       5006 COLUMBIA RD                                                                                MEDINA           OH     44256‐8954
AARON CHEEK         1227 W REID RD                                                                                  FLINT            MI     48507‐4640
AARON CHILDRESS     C/O COONEY AND CONWAY          120 NORTH LASALLE 30TH FLOOR                                     CHICAGO           IL    60602
AARON CHILDS        738 E HOLBROOK AVE                                                                              FLINT            MI     48505‐2237
AARON CHILDS        213 E GENESEE ST                                                                                FLINT            MI     48505‐4260
AARON CIONCA        140 WINDSOR PARK DR APT E215                                                                    CAROL STREAM      IL    60188‐4106
AARON CLARK         309 E CULTON ST APT A          C/O COLESTINE FINCH                                              WARRENSBURG      MO     64093‐3159
AARON CLAY          4383 DEVONSHIRE DR                                                                              BOARDMAN         OH     44512‐1026
AARON CLAYTON       PO BOX 14691                                                                                    SAGINAW          MI     48601‐0691
AARON COBB          15410 ROSEMARY BLVD                                                                             OAK PARK         MI     48237‐4209
AARON COLLINS       5640 HARTEL RD                                                                                  POTTERVILLE      MI     48876‐8770
AARON COMMISSARIS   1049 LINCOLN RD                                                                                 ALLEGAN          MI     49010‐9031
AARON CONGER        291 E BARODA DR                                                                                 WEST BRANCH      MI     48661‐9403
AARON COOK          200 CHESTNUT AVE                                                                                TEGA CAY         SC     29708‐6422
AARON COUCH         7260 FARMINGTON RD                                                                              MIAMISBURG       OH     45342‐4628
AARON COUCH         7260 FARMINGTON RD                                                                              MIAMISBURG       OH     45342‐4628
AARON COX           47212 BLOSSOM LN                                                                                MACOMB           MI     48044‐2727
AARON CRAFT         4425 BROGAN RD BOX 82                                                                           STOCKBRIDGE      MI     49285
AARON CRAIG         609 W 14TH ST                                                                                   MUNCIE           IN     47302‐7631
AARON CREGO         80 EVANS ST                                                                                     LOCKPORT         NY     14094‐4626
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AARON CREGUER                        9614 BOUCHER RD                                                                                    OTTER LAKE       MI 48464‐9415
AARON CROSSEN ET AL                  C/O PATRICK HURLEY            HURLEY & WILLIAMS LLP   112 FRONT ST    BELLEVILLE ONTARIO K8N 2Y7

AARON CURRY                          4096 STATE LINE RD                                                                                 OKEANA          OH   45053‐9470
AARON CUSTER                         8192 MCCANDLISH RD                                                                                 GRAND BLANC     MI   48439‐7411
AARON D ALLEN                        3132 SWARTZEL RD                                                                                   FARMERSVILLE    OH   45325‐8223
AARON D BRENTFORD                    1375 BAREBACK TRAIL                                                                                BEAVERCREEK     OH   45434
AARON D CANTRELL                     9359 N COUNTY RD 25 A                                                                              PIQUA           OH   45356‐‐ 82
AARON D COUCH                        8738 WASHINGTON COLONY DR.                                                                         CENTERVILLE     OH   45458
AARON D PARKS                        PO BOX 261                                                                                         SPRINGFIELD     OH   45501
AARON D ROBINSON                     2512 EVERLE BLVD                                                                                   GROVE CITY      OH   43123
AARON D ROSE                         1319 PARKWOOD AVE                                                                                  YPSILANTI       MI   48198‐5947
AARON D STEIN                        113 BROWN AVE                                                                                      SYRACUSE        NY   13211‐1719
AARON D WALKER                       63 DIABLO VIEW RD                                                                                  ORINDA          CA   94563‐1525
AARON DAKIN                          14751 CLINTONIA RD                                                                                 PORTLAND        MI   48875‐9327
AARON DAVENPORT                      5030 CEDARDALE LN                                                                                  FLUSHING        MI   48433‐1073
AARON DAVISON JR                     PO BOX 213                                                                                         RAYVILLE        LA   71269‐0213
AARON DAY                            6150 MOZART DR                                                                                     RIVERDALE       GA   30296‐2315
AARON DE FREESE                      5030 W BRITTON RD                                                                                  PERRY           MI   48872
AARON DICKERSON JR                   8742 CHESTNUT CIR APT 1                                                                            KANSAS CITY     MO   64131‐2851
AARON DILLARD                        1665 ATKINSON ST                                                                                   DETROIT         MI   48206‐2006
AARON DISMUKE                        1214 STAMFORD RD                                                                                   YPSILANTI       MI   48198‐3241
AARON DODAK                          1535 E VERNE RD                                                                                    BURT            MI   48417‐2200
AARON DRENGBERG                      5665 CATHEDRAL DR                                                                                  SAGINAW         MI   48603‐2869
AARON DUBOIS                         2081 BALDWIN ST                                                                                    JACKSONVILLE    FL   32209‐7075
AARON DUNCAN                         307 DUNN DR                                                                                        GIRARD          OH   44420‐1226
AARON DUNLAP                         22209 INTERNATIONAL LN                                                                             MACOMB          MI   48044‐3753
AARON E BLAIR                        3709 OAKMOUNT RD                                                                                   BLOOMFIELD      NY   14469‐9603
AARON E COOK                         200 CHESTNUT AVE                                                                                   TEGA CAY        SC   29708‐6422
AARON E DURKEE                       64 DUNLOP AVE                                                                                      TONAWANDA       NY   14150‐7809
AARON E OLINGER                      23 STUBBS DR                                                                                       TROTWOOD        OH   45426
AARON E STEEVES                      224 GLENDOLA AVE NW                                                                                WARREN          OH   44483‐1247
AARON EDWARDS                        4952 STANLEY AVE                                                                                   WARREN          MI   48092‐4131
AARON EGAN                           7221 NICHOLS RD                                                                                    FLUSHING        MI   48433‐9261
AARON ELAHAB                         1345 PHILADELPHIA DR                                                                               DAYTON          OH   45406‐4643
AARON EQUIPMENT COMPANY              735 E GREEN ST                                                                                     BENSENVILLE     IL   60106‐2549
AARON FARRIS                         11 SANDERS DR                                                                                      FLORENCE        KY   41042‐2111
AARON FEUERSTEIN                     140 OLD LYME DR APT #1                                                                             WILLIAMSVILLE   NY   14221
AARON FOLAND                         321 EAST 13TH STREET                                                                               ANDERSON        IN   46016‐1732
AARON FOWLER                         11403 IRENE AVE                                                                                    WARREN          MI   48093‐6545
AARON FRANCIS                        1025 MADISON 509                                                                                   FREDERICKTOWN   MO   63645‐8193
AARON FRANCIS II                     5484 HIGHWAY E                                                                                     FREDERICKTOWN   MO   63645‐8177
AARON FREEMAN                        2551 ASPINWALL AVE NE                                                                              WARREN          OH   44483‐2501
AARON FUCHS
AARON GAINES                         44296 FAIR OAKS DR                                                                                 CANTON          MI   48187‐3246
AARON GANNER                         228 ORILEY CT                                                                                      PONTIAC         MI   48342‐3043
AARON GATEWOOD                       40 NORTHBOUND GRATIOT AVE                                                                          MOUNT CLEMENS   MI   48043‐2473
AARON GERLACH/LEGAL REPRESENTATIVE   C/O RITA GERLACH              E‐THALMANN‐STR 129                      98617 EINHAUSEN GERMANY
RITA GERLACH
AARON GILLEY                         15002 N STARK AVE                                                                                  LIBERTY         MO   64068‐9783
AARON GILLEY                         15002 N STARK RD                                                                                   LIBERTY         MO   64068‐9783
AARON GOFTON                         207 BLOOMINGDALE ST                                                                                FENTON          MI   48430‐2158
AARON GRAF                           3767 CARTER RD                                                                                     STOCKBRIDGE     MI   49285‐9771
AARON GREEN                          202 PINE ST                                                                                        WELLSVILLE      KS   66092‐8578
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Name                Address1                        Address2                      Address3   Address4               City            State   Zip
AARON GREER         813 W STATE ST                                                                                  ALBANY           IN     47320‐1516
AARON GRIMES        444 HILTON RD                                                                                   FERNDALE         MI     48220‐2535
AARON GUNN          PO BOX 1120                                                                                     FLORISSANT       MO     63031‐0120
AARON HAIRSTON      PO BOX 13303                                                                                    FLINT            MI     48501‐3303
AARON HARRISON      21605 BARTON ST                                                                                 ST CLAIR SHRS    MI     48081‐2702
AARON HARVEY        2922 RIVERSIDE DR                                                                               ORION            MI     48359‐1593
AARON HASTINGS      2248 E 400 S                                                                                    ANDERSON         IN     46017‐9509
AARON HATCH         3963 KINGS CT                                                                                   OKLAHOMA CITY    OK     73121‐2048
AARON HEARD         5164 RIVIERA DR                                                                                 TOLEDO           OH     43611‐1667
AARON HEARD JR      4850 S LAKE PARK AVE APT 2002                                                                   CHICAGO           IL    60615‐2074
AARON HECK          3410 RIDGEVIEW CT               APT 2403                                                        ROCHESTER HLS    MI     48309‐2785
AARON HECKEL        7745 GOLDENROD CT                                                                               BRIGHTON         MI     48116‐8269
AARON HELTON        279 GLEN HELTON RD                                                                              TEMPLE           GA     30179
AARON HESHELMAN     24447 BASHIAN DRIVE                                                                             NOVI             MI     48375‐2932
AARON HILL          6186 NEFF RD                                                                                    MOUNT MORRIS     MI     48458‐2753
AARON HILL JR       5508 N WINDING WAY                                                                              MUNCIE           IN     47304‐5823
AARON HOFHERR       15023 N 100 E                                                                                   SUMMITVILLE      IN     46070‐9646
AARON HOLBROOK      5109 N MECHANICSBURG RD                                                                         MIDDLETOWN       IN     47356‐9787
AARON HOLDEN JR     1438 KINGSTON DR                                                                                SAGINAW          MI     48638‐5477
AARON HOLMES        505 BORTON AVE                                                                                  ESSEXVILLE       MI     48732‐1117
AARON HORTON        # 18                            20490 GREENFIELD ROAD                                           DETROIT          MI     48235‐1854
AARON HOUSEMAN      506 S CEDAR ST                                                                                  BELTON           MO     64012‐3084
AARON HOWARD        PO BOX 974                                                                                      DELHI            LA     71232‐0974
AARON HULSTEIN      N962 VINNE HAHA RD                                                                              FORT ATKINSON    WI     53538‐8710
AARON HUTCHINSON    296 LUMPKIN RD E                                                                                LEESBURG         GA     31763‐3918
AARON I WOOLRIDGE   1306 DONAL DR                                                                                   FLINT            MI     48532‐2637
AARON INC/FRASER    33674 KELLY                                                                                     FRASER           MI     48026
AARON J ARRINGTON   1405 KIPLING DR                                                                                 DAYTON           OH     45406
AARON J DROZD       3 LOTT PLACE                                                                                    KETTERING        OH     45420
AARON J MEISTER     4395 PRITCHARD OHLTOWN RD                                                                       NEWTON FALLS     OH     44444‐9602
AARON J MONK        PO BOX 126                                                                                      GALLMAN          MS     39077‐0126
AARON J NORLING     32 SYCAMORE DR                                                                                  N MIDDLETOWN     OH     44442‐9754
AARON JACKSON       C/O WILLIAMS KHERKHER HART &    8441 GULF FREEWAY STE 600                                       HOUSTON          TX     77007
                    BOUNDAS LLP
AARON JACKSON       5854 BOWCROFT ST UNIT 2                                                                         LOS ANGELES     CA      90016‐4919
AARON JACOB         169 EAST PIKE APT B                                                                             PONTIAC         MI      48342
AARON JAMES         4000 E 141ST ST                                                                                 CLEVELAND       OH      44128‐1804
AARON JAMES         PO BOX 10401                                                                                    JACKSON         MS      39289‐0401
AARON JENNINGS      BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                      BOSTON HTS.     OH      44236
AARON JOHNSON       9365 RAYNA DR                                                                                   DAVISON         MI      48423‐2853
AARON JOHNSON       112 CLOVER DR                                                                                   COLUMBIA        TN      38401‐6156
AARON JONES         10008 HEYDEN CT                                                                                 DETROIT         MI      48228‐1232
AARON JONES         4 DEBRA CT                                                                                      SAUK VILLAGE    IL      60411‐5081
AARON JONES         PO BOX 9022                                                                                     WARREN          MI      48090‐9022
AARON JR, DANNY     1945 ATLANTIC AVE                                                                               SANDUSKY        OH      44870‐8213
AARON K BROWN       1350 OHMER AVE C                                                                                DAYTON          OH      45410
AARON K COLEMAN     19646 KLINGER                                                                                   DETROIT         MI      48234‐1740
AARON K DOWELL      404 NEVADA AVE NW                                                                               WARREN          OH      44485‐2625
AARON K JOHNSON     1214 S FAYETTE ST                                                                               SAGINAW         MI      48602‐1445
AARON KAGLE         G2359 MORRISH RD                                                                                FLUSHING        MI      48433
AARON KERSCH        5914 JAVALAKERD                                                                                 ARCADE          NY      14009
AARON KIMBELL       THE MADEKSHO LAW FIRM           8866 GULF FREEWAY SUITE 440                                     HOUSTON         TX      77017
AARON KIMBLEY JR    609 KILLIAN DR                                                                                  BEECH GROVE     IN      46107‐2224
AARON KRICHER       1135 S FORDNEY RD               P.O. BOX 443                                                    HEMLOCK         MI      48626‐8403
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Name                             Address1                         Address2                     Address3                 Address4               City           State   Zip
AARON L BROWN                    323 VERONA ROAD                                                                                               DAYTON          OH     45417‐1328
AARON L FORD                     4317 RIVERSIDE DR APT B2                                                                                      DAYTON          OH     45405‐1340
AARON L GREEN JR                 1783 EILEEN ST                                                                                                YPSILANTI       MI     48198‐6237
AARON L HOUSEMAN                 506 S CEDAR ST                                                                                                BELTON          MO     64012‐3084
AARON L LAMBERT                  1300 W HIGH ST                                                                                                PIQUA           OH     45356‐2502
AARON L REED                     1964 BENTON ST SE                                                                                             WARREN          OH     44484
AARON L SMITH                    C/O WILLIAMS KHERKHER HART AND   8441 GULF FREEWAY STE 600                                                    HOUSTON         TX     77007
                                 BOUNDAS LLP
AARON L TAYLOR                   119 MILLWOOD VILLAGE DR                                                                                       CLAYTON        OH      45315‐9583
AARON L THOMAS                   3127 N 56TH ST                                                                                                KANSAS CITY    KS      66104‐1505
AARON L. HAMMER, ESQ             THOMAS R. FAWKES, ESQ.           FREEBORN & PETERS LLP        311 SOUTH WACKER DRIVE                          CHICAGO        IL      60606
                                                                                               SUITE 3000
AARON LADD                       6254 DAFT ST                                                                                                  LANSING        MI      48911‐5505
AARON LAMBERT                    2103 WEDGEWOOD                                                                                                COLUMBIA       TN      38401
AARON LANCE                      1931 NE 76TH TER                                                                                              GLADSTONE      MO      64118‐2038
AARON LANGHORNE                  261 PATRICIA AVE                                                                                              NAPOLEON       OH      43545‐9166
AARON LARKIN                     56 PINDO PALM ST W 56                                                                                         LARGO          FL      33770
AARON LAW                        6673 W STATE ROAD 44                                                                                          MORGANTOWN     IN      46160‐8451
AARON LEAPHEART                  8335 CHALFONTE ST                                                                                             DETROIT        MI      48238‐1801
AARON LEITZ                      2320 TERNESS                                                                                                  WATERFORD      MI      48329‐3971
AARON LEMMERT                    155 S YOUNGS RD                                                                                               ATTICA         MI      48412‐9680
AARON LEROUX                     3927 SWANSON LN                                                                                               MUSKEGON       MI      49444‐4083
AARON LETTS                      29320 O DR N                                                                                                  SPRINGPORT     MI      49284‐9434
AARON LEWELLYN                   10430 YORKFORD DR                                                                                             DALLAS         TX      75238‐2245
AARON LINK                       42665 MORGAN CREEK CT                                                                                         NOVI           MI      48377‐1460
AARON LIVINGSTON                 7505 ENGLEWOOD AVE                                                                                            RAYTOWN        MO      64138‐2442
AARON LONG                       10058 SALEM WARREN RD                                                                                         SALEM          OH      44460‐7626
AARON M CHAMBERS                 3238 PIRRIN DR                                                                                                WATERFORD      MI      48329‐2742
AARON M COVEY                    4600 WILMINGTON PIKE             APT 211                                                                      DAYTON         OH      45440‐2050
AARON M HICKS                    6626 PRESIDENTIAL DR                                                                                          JACKSON        MS      39213
AARON M KLINE                    5803 NEW CARLISLE PK                                                                                          SPRINGFIELD    OH      45504
AARON M MILLER                   1423 PHILADELPHIA DR                                                                                          DAYTON         OH      45406
AARON M SCHMIDT                  1521 DAYTONA DR                                                                                               TOLEDO         OH      43612‐4015
AARON M SKINNER                  6014 BIRCH RUN RD                                                                                             MILLINGTON     MI      48746‐9734
AARON MAGEE                      227 W BALTIMORE BLVD                                                                                          FLINT          MI      48505‐6302
AARON MALONE                     106 W PARADE AVE                                                                                              BUFFALO        NY      14208‐2517
AARON MALONE I I I               118 E AUSTIN AVE                                                                                              FLINT          MI      48505‐2739
AARON MARTIN                     2020 MANOR DR                                                                                                 LEBANON        IN      46052‐1321
AARON MARTIN JR & KATHY MARTIN   100 COTTAGE DR                   APT 109                                                                      PALMYRA        PA      17078‐3634
AARON MAXWELL                    BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                                                   BOSTON HTS     OH      44236
AARON MCBRIDE                    718 3RD ST                                                                                                    MARKS          MS      38646‐1813
AARON MCBRIDE                    2406 S 23RD ST                                                                                                SAGINAW        MI      48601‐4213
AARON MCCARTHY                   3699 ZENDER PL                                                                                                DETROIT        MI      48207‐1847
AARON MCFADDEN                   5314 FROVAN PL                                                                                                SAGINAW        MI      48638‐5519
AARON MCLAUGHLIN                 BEVAN & ASSOCIATES LPA INC.      6555 DEAN MEMORIAL PARKWAY                                                   BOSTON HTS     OH      44236
AARON MEISTER                    4395 PRITCHARD OHLTOWN RD                                                                                     NEWTON FALLS   OH      44444‐9602
AARON MERCER III                 16747 HIGHLAND SUMMIT DR                                                                                      WILDWOOD       MO      63011‐5421
AARON MILLER                     1825 JEWELL DR                                                                                                FLINT          MI      48505‐2439
AARON MILLER                     1008 S MONROE ST                                                                                              BAY CITY       MI      48708‐7215
AARON MILLER                     40423 FRANKLIN MILL ST                                                                                        NOVI           MI      48375‐3612
AARON MILTON                     2914 WOODVIEW DR                                                                                              LANSING        MI      48911‐1729
AARON MINNER                     5280 EMPRESS DR                                                                                               GRAND BLANC    MI      48439‐8671
AARON MITCHELL                   3101 RAY ST                                                                                                   SAGINAW        MI      48601‐4628
AARON MITCHELL                   10210 BEARD RD                                                                                                BYRON          MI      48418‐8742
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AARON MOORE        139 YORKSHIRE BLVD APT 204                                                                                      DEARBORN HEIGHTS MI 48127‐3517

AARON N ELAHAB     1345 PHILADELPHIA DR                                                                                            DAYTON             OH   45406‐4643
AARON NEFF
AARON NEWTON       1095 MEMORY LN                                                                                                  LAWRENCEVILLE      GA   30044‐2618
AARON ODOM         242 MESA TRL                                                                                                    SPARTA             TN   38583‐2979
AARON OLINGER      23 STUBBS DR                                                                                                    TROTWOOD           OH   45426‐3018
AARON ONTIVEROS    602 LOBO LOOP                                                                                                   LAREDO             TX   78045‐8701
AARON ORTEGA       408 E ORANGE STREET                                                                                             ANGLETON           TX   77515
AARON OSMUN        5220 MAYBEE RD                                                                                                  CLARKSTON          MI   48346‐4122
AARON OSOSKI       2185 ROLLINS ST                                                                                                 GRAND BLANC        MI   48439‐4358
AARON P BISHOP     479 BAKER RD                                                                                                    WEBSTER            NY   14580
AARON P COLLETT    245 WROE AVE.                                                                                                   DAYTON             OH   45406
AARON P MELTON     5404 JOHANNSEN AVE                                                                                              HUBER HEIGHTS      OH   45424‐2737
AARON PARSONS      2206 N 600 W                                                                                                    ANDERSON           IN   46011‐9765
AARON PEASE        7282 NEFF RD                                                                                                    MOUNT MORRIS       MI   48458‐1838
AARON PEAVEY       1675 VALDOSTA CIR                                                                                               PONTIAC            MI   48340‐1083
AARON PETTY        39597 CADBOROUGH DR                                                                                             CLINTON TWP        MI   48038‐2752
AARON PINTO        15750 LOVELAND ST                                                                                               LIVONIA            MI   48154‐2908
AARON PITTS        2222 OBRIEN RD                                                                                                  MOUNT MORRIS       MI   48458‐2635
AARON PORE         1129 KENTON RD                                                                                                  BELLVILLE          OH   44813‐9180
AARON POTEETE      33430 GROTH DR                                                                                                  STERLING HEIGHTS   MI   48312‐6624
AARON POTTS        AARON POTTS                      3008 STONEWAY DR SW                                                            DECATUR            AL   35603‐2102
AARON PREISCH      6681 CROSBY RD                                                                                                  LOCKPORT           NY   14094‐9509
AARON PRITCHARD    321 OLD ACWORTH RD                                                                                              DALLAS             GA   30132‐3808
AARON PUTNAM       4571 MARLETTE RD                                                                                                CLIFFORD           MI   48727‐9523
AARON QUARLES      C/O WILLIAMS KHERKHER HART &     8441 GULF FREEWAY STE 600                                                      HOUSTON            TX   77007
                   BOUNDAS LLP
AARON QUINN        3261 KATIE LN                                                                                                   MILFORD            MI   48380‐2020
AARON R BACK       2805 ARMCO DR                                                                                                   MIDDLETOWN         OH   45042
AARON R PARSONS    C/O WILLIAM N IVERS              HARRISON & MOBERLY LLP       10 W MARKET ST SUITE 700                          INDIANAPOLIS       IN   46024
AARON R SANDLIN    1426 STATE ROUTE 73                                                                                             HILLSBORO          OH   45133‐8626
AARON R STUMPF     413 JOHN ST                                                                                                     TRENTON            OH   45067
AARON RAINES       1141 CRESCENT LAKE RD                                                                                           WATERFORD          MI   48327‐2411
AARON RAMIREZ      232 WEST PRINCETON AVENUE                                                                                       PONTIAC            MI   48340‐1844
AARON REID JR      320 W IROQUOIS RD                                                                                               PONTIAC            MI   48341‐1537
AARON RICHARDSON   16225 SHAFTSBURY AVE                                                                                            DETROIT            MI   48219‐4010
AARON RICHEY       23258 PLUM HOLLOW ST                                                                                            SOUTHFIELD         MI   48033‐3273
AARON ROACH        1815 S COUNTY ROAD 550 E                                                                                        SELMA              IN   47383‐9556
AARON ROBBINS      10026 DOWE RD                                                                                                   DEFIANCE           OH   43512‐9720
AARON ROGAHN       40 MIRAMAR RD                                                                                                   ROCHESTER          NY   14624‐1712
AARON ROGERS       1947 MALCOM DR                                                                                                  KETTERING          OH   45420‐3625
AARON ROSEBORO     BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                                                     BOSTON HTS         OH   44236
AARON ROSENBERG
AARON ROSS         10915 WABASH AVE                                                                                                KANSAS CITY        MO   64131‐3551
AARON ROSS JR      14140 SAINT MARYS ST                                                                                            DETROIT            MI   48227‐1837
AARON RUSSELL      2424 HOLLY AVE                                                                                                  PORTAGE            MI   49024‐6707
AARON S CHARLES    3948 SHAWNEE TRL                                                                                                JAMESTOWN          OH   45335‐1163
AARON S COUSIN     1814 HICKORY ST.                                                                                                YOUNGSTOWN         OH   44506‐1829
AARON S KIMMEL     104 SAINT CLAIR STREET                                                                                          GREENVILLE         OH   45331‐2058
AARON S ROBINSON   213 MCKINLEY ST                                                                                                 MIDDLETOWN         OH   45044
AARON S WALKER     5721 TROY FREDERICK RD                                                                                          TIPP CITY          OH   45371‐9677
AARON S WARREN     6409 OAK VALLEY DR                                                                                              SHREVEPORT         LA   71119‐5116
AARON S WATTS      732 BURLEIGH AVE                                                                                                DAYTON             OH   45402
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Name                      Address1                         Address2                      Address3   Address4               City            State   Zip
AARON S WHITE             2490 OAK GROVE LN                                                                                JACKSON          MS     39212‐2123
AARON SADDORIS            3740 W TEMPERANCE RD                                                                             LAMBERTVILLE     MI     48144‐9798
AARON SAMPSON JR          6733 CHERRYWOOD TRL                                                                              MONTGOMERY       AL     36117‐4782
AARON SANDLIN             754 VICTORIA AVE                                                                                 FLINT            MI     48507‐1733
AARON SATLOFF, M.D.,      24A GROVE STREET                                                                                 PITTSFORD        NY     14534
AARON SAVINO              C/O BISNAR/CHASE LLP             1301 DOVE ST, STE 120                                           NEWPORT BEACH    CA     92660
AARON SAWGLE              652 LINCOLN CT                                                                                   LAPEER           MI     48446‐1864
AARON SCEPKA              1400 ARMY RD                                                                                     LEONARD          MI     48367‐2806
AARON SCHMIDT             1521 DAYTONA DR                                                                                  TOLEDO           OH     43612‐4015
AARON SCHWARZ             12915 W TITTABAWASSEE RD                                                                         FREELAND         MI     48623‐9286
AARON SCOTT               6410 LEHNERT ST                                                                                  GWYNN OAK        MD     21207‐5273
AARON SCOTT               16467 MANNING ST                                                                                 DETROIT          MI     48205‐2032
AARON SCOTT               3334 ROBERTS ST                                                                                  SAGINAW          MI     48601‐3164
AARON SEXTON              2205 FAULKLAND RD                                                                                WILMINGTON       DE     19805‐1041
AARON SHEPLER             10880 E MUSKRAT RD                                                                               CARSON CITY      MI     48811‐9516
AARON SHERARD             2825 QUEBEC AVE S                                                                                ST LOUIS PARK    MN     55426‐3248
AARON SHIFFLET            BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                                      BOSTON HTS       OH     44236
AARON SIBLEY              3314 MEADOWCROFT AVE                                                                             KALAMAZOO        MI     49004‐3130
AARON SIPES               2113 SW 78TH ST                                                                                  OKLAHOMA CITY    OK     73159‐5143
AARON SKINNER             6014 BIRCH RUN RD                                                                                MILLINGTON       MI     48746‐9734
AARON SLATER              8186 ARTISAN WAY                                                                                 REYNOLDSBURG     OH     43068‐9327
AARON SLONE               168 PATRICK RD                                                                                   MONTICELLO       KY     42633‐8042
AARON SMITH               7131 S. 500 E.AVE.                                                                               JONESBORO        IN     46938
AARON SMITH               1511 WALNUT ST                                                                                   SAGINAW          MI     48601‐1971
AARON SMITH JR            C/O WILLIAMS KHERKHER HART AND   8441 GULF FREEWAY STE 600                                       HOUSTON          TX     77007
                          BOUNDAS LLP
AARON SNOW                14885 N BARTON LAKE DR                                                                           VICKSBURG       MI      49097‐9792
AARON SPENCE              8990 SHEPARDSVILLE RD                                                                            LAINGSBURG      MI      48848‐8212
AARON SR, GERALD T        4350 NEWTON FALLS BAILEY RD                                                                      NEWTON FALLS    OH      44444‐8723
AARON STACEY              178 CLIFFORD ST                                                                                  PONTIAC         MI      48342‐3317
AARON STANFIELD JR        6784 WILLIAMS LAKE RD                                                                            WATERFORD       MI      48329‐2986
AARON STENGEL
AARON STEPHENS            919 WASHINGTON STREET                                                                            FLATWOODS        KY     41139‐1661
AARON STEWART             1702 W 32ND ST                                                                                   MARION           IN     46953‐3434
AARON STORY               2724 N ARABIAN VIEW DR                                                                           JANESVILLE       WI     53545‐0753
AARON STRABEL JR          4436 OLD COLONY DR                                                                               FLINT            MI     48507‐6212
AARON STUBBS              4327 ARDMORE DR                                                                                  BLOOMFIELD       MI     48302‐2105
                                                                                                                           TOWNSHIP
AARON SULLIVAN            10437 KINGSTON AVE                                                                               HUNTINGTON       MI     48070‐1113
                                                                                                                           WOODS
AARON SWAFFORD            475 MCDANIELS LN                                                                                 SPRINGBORO      OH      45066‐8517
AARON T SWAFFORD          475 MCDANIELS LN                                                                                 SPRINGBORO      OH      45066
AARON TASIOR              6134 DORWOOD RD                                                                                  SAGINAW         MI      48601‐9322
AARON TAYLOR              2825 KESSLER N DR                                                                                INDIANAPOLIS    IN      46222
AARON THAUT               4825 PERRY LANE                                                                                  SHAWNEE         KS      66203‐1283
AARON THOMAS              15 CRAIGIE ST                                                                                    LE ROY          NY      14482‐1301
AARON THOMAS              3127 N 56TH ST                                                                                   KANSAS CITY     KS      66104‐1505
AARON THOMAS R (401259)   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                     NORFOLK         VA      23510
                                                           STREET, SUITE 600
AARON THOMPSON            115 JOURNEY DR                                                                                   BOWLING GREEN   KY      42104‐6450
AARON THOMPSON            838 E 85TH ST                                                                                    LOS ANGELES     CA      90001‐3629
AARON THORNTON            615 S 22ND ST                                                                                    COLUMBUS        OH      43205‐2706
AARON TREUTHARDT          W564 GOLF COURSE RD                                                                              BRODHEAD        WI      53520‐9612
AARON TURNER              3982 17TH ST                                                                                     ECORSE          MI      48229‐1310
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Name                             Address1                         Address2                     Address3   Address4               City               State   Zip
AARON UMBACH                     101 FAIRCREST CT                                                                                SAINT CHARLES       MO     63303‐7301
AARON URIE                       410 DIVINE HWY                                                                                  PORTLAND            MI     48875‐1235
AARON VAN ANTWERP                300 SHEPARD ST                                                                                  LANSING             MI     48912‐2717
AARON VASOLD                     7590 N RIVER RD                                                                                 FREELAND            MI     48623‐8409
AARON W ALSPAUGH                 180 W BEVERLY AVE                                                                               PONTIAC             MI     48340‐2622
AARON W BOGUE                    4992 N CR 1200 W                                                                                PARKER CITY         IN     47368
AARON W MCFARLAND                7735 REDBANK LN                                                                                 DAYTON              OH     45424
AARON W MILTON JR                C/O WILLIAMS KHERKHER HART &     8441 GULF FREEWAY STE 600                                      HOUSTON             TX     77007
                                 BOUNDAS LLP
AARON W SABLE MD                 PO BOX 67000                                                                                    DETROIT            MI      48267‐0002
AARON WALKER                     9805 QUAKER DR                                                                                  NASHVILLE          MI      49073
AARON WALTON ENTERTAINMENT LLC   C/O RADIATE GROUP INC            742 S CLOVERDALE AVE                                           LOS ANGELES        CA      90036‐4215
AARON WARD                       7429 WABASH AVE                                                                                 KANSAS CITY        MO      64132‐3331
AARON WARREN                     6409 OAK VALLEY DR                                                                              SHREVEPORT         LA      71119‐5116
AARON WATKINS                    68 GREEN BRIAR DR                                                                               PHOENIXVILLE       PA      19460‐1153
AARON WEAKS                      1111 ELMWOOD RD APT 2035                                                                        LANSING            MI      48917
AARON WEST                       PO BOX 523                                                                                      GASTON             IN      47342‐0523
AARON WHITAKER                   603 BEECHWOOD AVE                                                                               CARNEGIE           PA      15106‐2904
AARON WHITE JR                   2710 BERKLEY ST                                                                                 FLINT              MI      48504‐3313
AARON WHITING                    1315 HIDDEN CIRCLE DR                                                                           SUGAR HILL         GA      30518‐4780
AARON WILEY                      2017 PARK PL                                                                                    DENVER             CO      80205‐5633
AARON WILLIAMS                   3442 SHERBURNE CIR APT D                                                                        INDIANAPOLIS       IN      46222‐1661
AARON WILLIAMS                   30311 FOX CLUB DR                                                                               FARMINGTON HILLS   MI      48331‐6007

AARON WILLIAMS                   1358 BIRCHCREST BLVD                                                                            PT CHARLOTTE       FL      33952‐1689
AARON WILLIAMS                   1301 MACKIN RD                                                                                  FLINT              MI      48503‐1205
AARON WILLIAMS                   1541 ESSLING ST                                                                                 SAGINAW            MI      48601‐1335
AARON WILLIAMS JR                101 PEINE HOLLOW PL                                                                             WENTZVILLE         MO      63385‐3181
AARON WILLIS                     18648 FLEMING ST                                                                                DETROIT            MI      48234‐1309
AARON WILLIS                     7175 MATHER ST                                                                                  WATERFORD          MI      48327‐3742
AARON WILSON                     1605 S TELSHOR BLVD APT I                                                                       LAS CRUCES         NM      88011‐4847
AARON WOODS                      1610 COUNTRYWOOD DR                                                                             JACKSON            MS      39213
AARON WOOLRIDGE                  1306 DONAL DR                                                                                   FLINT              MI      48532‐2637
AARON WOOTEN                     1331 WOODBRIDGE ST                                                                              FLINT              MI      48504‐3400
AARON WORPELL                    7872 THORNWOOD STREET                                                                           CANTON             MI      48187‐1009
AARON WYATT                      745 N SWOPE ST                   C/O GOLDEN LIVING CENTER‐                                      GREENFIELD         IN      46140‐1332
                                                                  BRANDYW
AARON YAGER                      1173 S STATE ROAD 3                                                                             RUSHVILLE          IN      46173‐7332
AARON YESTREBI                   C/O BEVAN & ASSOCIATES LPA INC   6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS         OH      44236
AARON YOUSEY                     3839 MCKINNEY AVE APT 318                                                                       DALLAS             TX      75204‐1416
AARON'S AUTO REPAIR              715 OLD BIRMINGHAM HWY                                                                          SYLACAUGA          AL      35150‐1994
AARON, ALMA L                    405 19TH ST E APT 7                                                                             JASPER             AL      35501‐5464
AARON, AMOES G                   12649 TIERRA CLARA RD                                                                           EL PASO            TX      79938‐4828
AARON, ANN                       3501 WEST WHEATFIELD LANE                                                                       MUNCIE             IN      47304
AARON, ANN                       3501 W WHEATFIELD LN                                                                            MUNCIE             IN      47304‐5964
AARON, BARBARA                   4104 CARMELITA BLVD                                                                             KOKOMO             IN      46902‐4613
AARON, BEVERLY                   GORI JULIAN & ASSOCIATES PC      156 N MAIN ST                                                  EDWARDSVILLE       IL      62025
AARON, BEVERLY P                 1605 HIDDEN SHOALS DRIVE SE                                                                     CONYERS            GA      30013‐5211
AARON, BILLY H                   3501 WEST WHEATFIELD LANE                                                                       MUNCIE             IN      47304‐5964
AARON, BOBBY R                   12715 HIGHWAY 3265                                                                              CISCO              TX      76437‐7835
AARON, BRANDY N                  2069 PITCH PINE DRIVE                                                                           SHREVEPORT         LA      71118‐4739
AARON, BRANDY NICOLE             3202 MACKEY LN                                                                                  SHREVEPORT         LA      71118
AARON, BRAZEAL W                 19239 ANDOVER ST                                                                                DETROIT            MI      48203‐4916
AARON, BRIAN                     2002 GOLDMILLER RD                                                                              BUNKER HILL        WV      25413‐3571
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Name                  Address1                       Address2               Address3        Address4               City           State   Zip
AARON, BRUNELL        605 52ND ST                                                                                  SANDUSKY        OH     44870‐4929
AARON, CALVIN F       105 MACGREGOR DR                                                                             TROTWOOD        OH     45426‐2739
AARON, CAROLYN J      1984 W CO RD 1100S                                                                           BUNKER HILL     IN     46914
AARON, CAROLYN S      2551 S 700 W                                                                                 RUSSIAVILLE     IN     46979‐9528
AARON, CATHERINE C    350 EVERETT AARON LN                                                                         JASPER          AL     35504‐4649
AARON, CATHY D        10734 GORMAN AVE                                                                             LOS ANGELES     CA     90059
AARON, CHRISTOPHE M   470 STATE PARK RD                                                                            ORTONVILLE      MI     48462‐9464
AARON, COLLEEN C      4350 NEWTON FALLS BAILEY RD                                                                  NEWTON FALLS    OH     44444‐8723
AARON, DANIEL J       2900 N APPERSON WAY TRLR 226                                                                 KOKOMO          IN     46901‐1486
AARON, DANNY L        444 TURNPIKE                                                                                 LAWRENCEBURG    TN     38464‐6863
AARON, DEBBIE J       1939 GRAVEL HILL RD                                                                          COLUMBIA        TN     38401‐1348
AARON, DEBORAH A      914 GARFIELD AVE NW                                                                          GRAND RAPIDS    MI     49504‐4023
AARON, DEBORAH M      3594 SWANSON ST                                                                              WAYNE           MI     48184‐1915
AARON, DEBORAH MAE    3594 SWANSON ST                                                                              WAYNE           MI     48184‐1915
AARON, DETROY A       3301 PEPPERTREE CIR APT E                                                                    DECATUR         GA     30034‐4144
AARON, DIANA L        38673 BIGGS ROAD                                                                             GRAFTON         OH     44044‐9614
AARON, DONALD W       2317 E FARRAND RD                                                                            CLIO            MI     48420‐9138
AARON, GERALDINE      5688 DEPAUW AVE.                                                                             YOUNGSTOWN      OH     44515‐4110
AARON, HELEN J        2144 N DELPHOS ST                                                                            KOKOMO          IN     46901‐1665
AARON, IKE            2460 COUNTY ROAD 59                                                                          PRATTVILLE      AL     36067‐8039
AARON, J P            PO BOX 424                                                                                   KENNEDALE       TX     76060‐0424
AARON, JACK D         15181 VAN BUREN BLVD SPC 212                                                                 RIVERSIDE       CA     92504‐5667
AARON, JAMES          38188 CAROLON BLVD                                                                           WESTLAND        MI     48185‐3300
AARON, JAMES F        4104 CARMELITA BLVD                                                                          KOKOMO          IN     46902‐4613
AARON, JAMES R        3568 BURKESVILLE RD                                                                          GLASGOW         KY     42141‐8383
AARON, JAMES W        827 BLAINE ST                                                                                DETROIT         MI     48202‐1937
AARON, JEROME F       6846 E LAKE RD                                                                               CASTILE         NY     14427‐9510
AARON, JERRY D        904 MASTER DRIVE                                                                             GALLOWAY        OH     43119‐8239
AARON, JESSE L        5016 BALDWIN BLVD                                                                            FLINT           MI     48505‐3134
AARON, JOANN C        3213 LUPINE DR                                                                               INDIANAPOLIS    IN     46224‐2032
AARON, KAREN T        380 EMERALD GREEN CT                                                                         ATLANTA         GA     30349‐8420
AARON, KATHLEEN K     168 MELROSE AVE                                                                              YOUNGSTOWN      OH     44512‐2353
AARON, LEE B          13162 E GERONIMO RD                                                                          SCOTTSDALE      AZ     85259‐2252
AARON, LEE B          13162 E GERONIMO RD                                                                          SCOTTSDALE      AZ     85259‐2252
AARON, LEO M          1605 HIDDEN SHOALS DR SE                                                                     CONYERS         GA     30013‐5211
AARON, LINDA ANN      7841 W REDFIELD RD                                                                           PEORIA          AZ     85381‐4661
AARON, LINDA R        4417 SOUTH AVE APT.4                                                                         BOARDMAN        OH     44512‐1361
AARON, LINDA S        304 TOWN HALL DR                                                                             SYLVAN SPGS     AL     35118‐9034
AARON, LISA M         1704 GEORGETOWN PKWY                                                                         FENTON          MI     48430‐3235
AARON, LISA MARIE     12106 BALDWIN CIR                                                                            HOLLY           MI     48442‐9386
AARON, LOIS A         2415 CRANE ST                                                                                WATERFORD       MI     48329‐3728
AARON, MARCIA A       PO BOX 6262                                                                                  KOKOMO          IN     46904‐6262
AARON, MARGARET M     43 W UNION ST                                                                                HOLLEY          NY     14470‐1028
AARON, MARIAN         PO BOX 260                                                                                   HOLLY           MI     48442‐0260
AARON, MARIAN G       416 GREEN HILL LN                                                                            BERWYN          PA     19312‐1920
AARON, MARILYN A      159 BARBERRY CT                                                                              PENDLETON       IN     46064‐8816
AARON, MAURICE E      4605 PUMPKIN LEAF DR                                                                         KOKOMO          IN     46902‐2820
AARON, MAXINE J       51 TURQUOISE WAY                                                                             EUSTIS          FL     32726
AARON, MICHAEL W      4219 W FARRAND RD                                                                            CLIO            MI     48420‐8244
AARON, NORMAN A       1523 KORBY ST                                                                                KOKOMO          IN     46901‐1923
AARON, PATRICIA       17214 TOEPFER DR                                                                             EASTPOINTE      MI     48021‐3014
AARON, PAUL E         6113 ROBERTA ST                                                                              BURTON          MI     48509‐2431
AARON, RALPH E        APT 720                        960 SOUTH 4TH STREET                                          LOUISVILLE      KY     40203‐3246
AARON, ROBERT         6468 BULLARD RD                                                                              DRY BRANCH      GA     31020‐4322
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Name                                 Address1                              Address2                      Address3              Address4                  City                State   Zip
AARON, ROCK W                        2050 SUGARTREE DR                                                                                                   MURFREESBORO         TN     37129‐2655
AARON, RUTH E                        6867 W RD 250 S                                                                                                     RUSSIAVILLE          IN     46979
AARON, SARAH J                       801 CLARK ST                                                                                                        KOKOMO               IN     46901‐6605
AARON, SHARON M                      2317 E FARRAND RD                                                                                                   CLIO                 MI     48420‐9138
AARON, SHARON R                      4565 FITZGERALD                                                                                                     YOUNGSTOWN           OH     44515‐4428
AARON, SHAWN E                       9051 CAIN DR NE                                                                                                     WARREN               OH     44484‐1706
AARON, SHAWN ERIC                    9051 CAIN DR NE                                                                                                     WARREN               OH     44484‐1706
AARON, SIDNEY                        1037 ALPINE DR                                                                                                      SANDUSKY             OH     44870‐5073
AARON, SILVIA B                      12649 TIERRA CLARA RD                                                                                               EL PASO              TX     79938‐4828
AARON, THOMAS R                      GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                                   NORFOLK              VA     23510
                                                                           STREET, SUITE 600
AARON, VIOLA                         16103 CAITLIN CIR                                                                                                   WALLED LAKE          MI     48390
AARON, VIOLA J                       808 N INDIANA AVE                                                                                                   KOKOMO               IN     46901‐3340
AARON, WAYNE R                       2710 FRIAR TUCK RD                                                                                                  ANDERSON             IN     46013‐9515
AARON, ZELDA P                       1115 PARKSIDE DR                                                                                                    NEW CASTLE           IN     47362‐1931
AARON‐CASTILLO, VALERIE J            3756 SEASONS DR                                                                                                     ANTIOCH              TN     37013‐4980
AARON‐OLIVER, KRISTA J               12241 WILLARD RD                                                                                                    MILLINGTON           MI     48746‐9314
AARONAL HOMES                        ATTN: AARON OSLEGER                   10950 PIERSON DR # 600                                                        FREDERICKSBURG       VA     22408‐8084
AARONS                               ATTN PEGGY WADSWORTH                  14105 INWOOD RD                                                               DALLAS               TX     75244‐3918
AARONSCOOKE RYAN                     3720 N 308TH LN                                                                                                     BUCKEYE              AZ     85396
AARONSON RAPPAPORT FEINSTEIN &       757 THIRD AVE                                                                                                       NEW YORK             NY     10017
DEUTSCH LLP
AARONSON RAPPAPORT FEINSTEIN &       ATTN: JAY RAPPAPORT, ESQ.             757 THIRD AVENUE                                                              NEW YORK             NY     10017
DEUTSCH LLP
AARONSON RAPPAPORT FEINSTEIN &       ATTN MARK B FEINSTEIN, ESQ            757 THIRD AVENUE                                                              NEW YORK             NY     10017
DEUTSCH, LLP
AARP                                 601 E ST NW                                                                                                         WASHINGTON          DC      20049‐0001
AARRON GREEN                         7463 E MILLER RD                                                                                                    DURAND              MI      48429‐9106
AARROW TRANSMISSIONS                 4545 POUNCEY TRACT RD STE C                                                                                         GLEN ALLEN          VA      23059‐5813
AARSTAD BRUCE (ESTATE OF) (474784)   SIMMONS FIRM                          PO BOX 521                                                                    EAST ALTON          IL      62024‐0519
AARSTAD JR, CARLOS J                 PO BOX 512                                                                                                          JANESVILLE          WI      53547‐0512
AARSTAD, BRIAN L                     117 E HIGHLAND AVE                                                                                                  FORT ATKINSON       WI      53538‐2913
AARSTAD, BRUCE                       SIMMONS FIRM                          PO BOX 521                                                                    EAST ALTON          IL      62024‐0519
AARSTAD, JENNIFER M                  907 ASHFORD LN APT 5201                                                                                             ARLINGTON           TX      76006
AARSTAD, JERRY J                     N3007 BUENA VISTA RD                                                                                                FORT ATKINSON       WI      53538‐9053
AARSTAD, LARRY A                     603 N OAKHILL AVE                                                                                                   JANESVILLE          WI      53548‐2714
AARSTAD, MARK G                      2144 S OAKHILL AVE                                                                                                  JANESVILLE          WI      53546‐9048
AARSTAD, MARVIN L                    2119 S GRANT AVE                                                                                                    JANESVILLE          WI      53546‐5914
AARSTAD, RONALD G                    81 RANKIN ST                                                                                                        FORT ATKINSON       WI      53538‐1648
AARSVOLD MICHELLE                    2681 MEADOW CREEK CIR S                                                                                             FARGO               ND      58104‐7112
AARY, BILLY DEAN                     COON & ASSOCS BRENT                   917 FRANKLIN ST STE 210                                                       HOUSTON             TX      77002‐1751
AARYN KERRY                          12047 BARBER ST                                                                                                     MOUNT MORRIS        MI      48458‐1455
AAS, ROBERT K                        39720 NORTH QUEENSBURY LANE                                                                                         BEACH PARK          IL      60083‐3054
AASA                                 ACCOUNTING DEPARTMENT                 PO BOX 13966                  10 LABORATORY DRIVE                             RESEARCH TRIANGLE   NC      27709‐3966
                                                                                                                                                         PARK
AASANA‐LA PAZ BOLIVIA                ST REYES ORTIZ CORNER FEDERICOSUAZO                                                       FL 6‐14 BOLIVIA BOLIVIA
                                     N74 BLDG FEDEPETROL

AASBY AUTOMOTIVE                     1022 S GLENSTONE AVE                                                                                                SPRINGFIELD         MO      65804‐0312
AASE JONATHAN S                      1035 CAMPUS DR                                                                                                      STANFORD            CA      94305‐8306
AASE, JAN H                          4805 CRESTONE WAY                                                                                                   OAKLAND             MI      48306‐1680
                                                                                                                                                         TOWNSHIP
AASE, NEIL C                         252 SANDBROOK CIR                                                                                                   NOBLESVILLE          IN     46062‐9329
                                       09-50026-mg             Doc 7123-3        Filed 09/24/10 Entered 09/24/10 15:05:32                        Exhibit B
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Name                                   Address1                             Address2                      Address3                  Address4                  City             State Zip
AASE,JAN H                             4805 CRESTONE WAY                                                                                                      OAKLAND           MI 48306‐1680
                                                                                                                                                              TOWNSHIP
AASEN, GARY B                          6 KATHERINE RD                                                                                                         REHOBOTH         MA   02769‐1937
AASEN, KENNETH J                       7410 W COUNTY ROAD A                                                                                                   EVANSVILLE       WI   53536‐9518
AASI ‐ CUSTODIAN OF IRA FBO            RAYMOND E HAUPT
AASI CUST OF IRA FBO                   RONALD P HAYES SR                    38592 HARRISON CREEK COURT                                                        HARRISON         MI   48045‐2055
                                                                                                                                                              TOWNSHIP
AASI CUST OF IRA FBO                    RYAN G TRAYERS                      4901 N SUMMIT RIDGE RD                                                            TUCSON           AZ   85750
AASI CUST OF IRA FBO                    VERONICA MORLEY                     126 LINDSAY LN                                                                    OLDSMAR          FL   34677‐4869
AASI CUST OF IRA FBO                    DELBERT D MCCUNE                    4443 S 700 E                                                                      BLUFFTON         IN   46714‐9458
AASI CUST OF IRA FBO                    GEORGE M KAMENITSA                  6715 FREDMOOR DR                                                                  TROY             MI   48098
AASI CUST OF IRA FBO                    GIRARD D SENSOLI                    4312 RIDGE RD                                                                     PINCKNEY         MI   48169
AASI CUST OF IRA FBO                    JACK DOBBS                          8317 39TH AVE N                                                                   NEW HOPE         MN   55427
AASI CUST OF IRA FBO                    GERALD D SCHWARK                    261 S FREMONT                                                                     ROCKFORD         MI   49341‐9601
AASI CUST OF IRA FBO                    DONALD ALLEN COFFEY                 150 HARVEY PARKWAY                                                                AVON LAKE        OH   44012‐1830
AASI CUST OF IRA FBO KATHY LEE NIPPLER‐ C/O KATHY LEE NIPPLER‐SANTUCI       4016 MAGUIRE BLVD APT #3102                                                       ORLANDO          FL   32803
SANTUCI
AASP‐PA                                 2151 GREENWOOD ST                                                                                                     HARRISBURG       PA   17104‐2739
AAU HOCKEY                              2409 STOUT RD STE 1                                                                                                   MENOMONIE        WI   54751‐2758
AAW PROD/SEVELEN                        BAHNWEG‐NORD 9475                                                                           SEVELEN CH9475
                                                                                                                                    SWITZERLAND
AAZER MEDHORA                          24259 THATCHER CT                                                                                                      NOVI             MI   48375‐2353
AB & W/SOUTHFIELD                      157 WASHINGTON ST                                                                                                      DORCHESTER       MA   02121‐3603
AB & W/SOUTHFIELD                      PO BOX 2106                          C/O TERRY BARR ASSOCIATES                                                         SOUTHFIELD       MI   48037‐2106
AB AB                                  1                                    AB                                                                                MONACO           MO   98000
AB AUTO                                302 S MAIN ST                                                                                                          INWOOD           IA   51240‐7808
AB AUTOMOTIVE ELECTRONICS LIMITED      ATTN DAVID M SCHILLI                 ROBINSON BRADSHAW & HINSON PA 101 NORTH TRYON STREET STE                          CHARLOTTE        NC   28246
                                                                                                          1900
AB AUTOMOTIVE ELECTRONICS LTD          FOREST FARM                          WHITCHURCH CARDIFF CF4 7YS                               WHITCHURCH CARDIFF CF4
                                                                                                                                     7YS GREAT BRITAIN
AB AUTOMOTIVE ELECTRONICS LTD          LAWRENCE GRIFFITHS                   AB POLYMER                    LONG WOOD DR                                        CHESTERFIELD     MI   48051
AB AUTOMOTIVE INC                      PO BOX 2240                                                                                                            SMITHFIELD       NC   27577
AB AUTOMOTIVE INC                      IRC\SHELLCROSS                       736 GREENWAY RD               ATTN REGINA PELSMAEKER                              BOONE            NC   28607‐4830
AB AUTOMOTIVE INC                      PO BOX 651014                                                                                                          CHARLOTTE        NC   28265‐1014
AB AUTOMOTIVE, INC.                    DICK STENTA                          HWY US 70 E P.O. BOX 2240                                                         GENEVA           IL   60134
AB HELLER INC                          PO BOX 640                           1235 HOLDEN AVENUE                                                                MILFORD          MI   48381‐0640
AB KLINTBERG & WAY                     MURMASTARVAGEN, 35A                                                                          SKARHOLMEN S‐127 SWEDEN

AB SKF                                 ATTN: CORPORATE OFFICER/AUTHORIZED   PO BOX 536755                                                                     ALTANTA          GA   30353‐6755
                                       AGENT
AB SKF                                 DAVE RODGERS                         GUNNAR‐WESTER‐STR 12                                    SCHWEINFURT 97421
AB SKF                                 DAVE ROGERS                          900 NORTH STATE STREET                                                            SPRINGFIELD      OH   45505
AB SKF                                 DAVID RODGERS                        2030 MERIDIAN PL                                                                  HEBRON           KY   41048‐9541
AB SKF
AB SKF                                 31 E AMADOR ST                                                                                                         SENECA           KS   66538‐2301
AB SKF                                 46815 PORT ST                                                                                                          PLYMOUTH         MI   48170‐6060
AB SKF                                 5385 MCEVER RD                                                                                                         FLOWERY BRANCH   GA   30542
AB SKF                                 711 W 9TH ST                                                                                                           HOBART           OK   73651‐5625
AB SKF                                 900 N STATE ST                                                                                                         ELGIN            IL   60123‐2147
AB SKF                                 1510 GEHMAN ROAD                                                                                                       KULPSVILLE       PA   19443
AB SKF                                 DAVE RODGERS                         735 TOLLGATE RD                                                                   ELGIN            IL   60123‐9332
AB SKF                                 HORNSGATAN 1                                                                                 GOTEBORG VASTRA 415 03
                                                                                                                                    SWEDEN
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Name                         Address1                             Address2                           Address3   Address4                     City             State Zip
AB SKF                       HORNSGATAN 1                         ATTN: TOM JOHNSTONE, TORE                     GOTEBORG VASTRA 415 03
                                                                  BERTILSSON                                    SWEDEN
AB SKF                       DAVID RODGERS                        31 E. AMADORE                                                              HOWELL           MI    48843
AB SKF                       DAVID RODGERS                        711 W. 9TH ST.                                                             CLINTON          MS    39056
AB SKF                       1/41 STAMFORD RD                                                                   OAKLEIGH VI 3166 AUSTRALIA

AB SKF                       VIA PINEROLO 42                                                                    AIRASCA 10060 ITALY
AB SKF                       GOBERNADOR CURIEL #2690                                                            GUADALAJARA JA 44940
                                                                                                                MEXICO
AB SKF                       ATTN: CORPORATE OFFICER/AUTHORIZED   PO BOX 643844                                                              PITTSBURGH        PA   15264‐3844
                             AGENT
AB SKF                       ATTN: CORPORATE OFFICER/AUTHORIZED   4682 RADFORD ROAD EAST                                                     FLOWERY BRANCH   GA    30542
                             AGENT
AB VOLVO                     ATTN: GENERAL COUNSEL                1300 VOLVO PENTA DR                                                        CHESAPEAKE        VA   23320‐4691
AB YOUNG CO INC‐YOUN 10066   UNION PLANTERS BANK                  15305 STONY CREEK WAY                                                      NOBLESVILLE       IN   46060‐4382
ABA ENTERPRISES              PRO SE ‐ SMALL CLAIMS                DBA DISCOVERY RENT‐A‐CAR, 525 N.                                           EL SEGUNDO        CA   90245
                                                                  SEPULVEDA BLVD.
ABA TRIM CONVERSIONS         1205 CHICAGO RD                                                                                                 TROY             MI    48083‐4231
ABA WATER SYSTEMS            226 W BROADWAY                                                                                                  PLAINVIEW        MN    55964‐1254
ABABURKO, ROBERT G           52 CHRISTIANA ST APT 6                                                                                          NORTH            NY    14120
                                                                                                                                             TONAWANDA
ABACUS GROUP                 ATTN: CORPORATE OFFICER/AUTHORIZED   225 W 34TH ST STE 1600                                                     NEW YORK          NY   10122‐1690
                             AGENT
ABAD, JOHN A                 4604 RACEWOOD DR                                                                                                COMMERCE          MI   48382‐1195
                                                                                                                                             TOWNSHIP
ABAD, LETICIA C              249 VALLEY STREAM LN                                                                                            SOUTHBURY         CT   06488‐4682
ABADES, MARIA G D            BATELLA DEL SALADO                   #8 FLOOR 5, DOOR 3                            MADRID 28045 SPAIN
ABADIE, EUGENE J             5024 WADE DR                                                                                                    METAIRIE          LA   70003‐2750
ABADIE, ORIDA F              5024 WADE DRIVE                                                                                                 METAIRIE          LA   70003‐2750
ABAGAIL
ABAIR, NADINE B.             5764 CUSHMAN                                                                                                    SYLVANIA         OH    43560‐509
ABAIR, NADINE B.             5764 CUSHMAN RD                                                                                                 SYLVANIA         OH    43560‐2017
ABAKAH, ROSE ENTWI           1181 SHERIDON AVE                    APT 4L                                                                     BRONX            NY    10456
ABAKAH, ROSE ENTWI           1181 SHERIDAN AVE APT 4L                                                                                        BRONX            NY    10456‐4511
ABALAN, MARK                 161 NEW HAVEN AVE                                                                                               ORANGE           CT    06477‐3124
ABALOS, THOMAS               12670 B ST                                                                                                      LA SALLE         MI    48145‐9616
ABANAKI CORP                 17387 MUNN RD                                                                                                   CHAGRIN FALLS    OH    44023‐5418
ABANAKI CORPORATION          OIL SKIMMER DIVISION                 17387 MUNN RD                                                              CHAGRIN FALLS    OH    44023‐5418
ABANAKI/CHAGRIN FALL         17387 MUNN RD                                                                                                   CHAGRIN FALLS    OH    44023‐5418
ABANO, PETER                 247 AVENUE U                                                                                                    BROOKLYN         NY    11223‐3817
ABANTE, REMEDIOS C           KRUPNICK CAMPBELL MALONE ROSELLI     700 S.E. 3RD AVE SUITE 100 ,                                               FT LAUDERDALE    FL    33316
                             BUSER SLAMA & HANCOCK PA             COURTHOUSE LAW PLAZA
ABAQUS GREAT LAKES, INC.     GENERAL MANAGER                      14500 N SHELDON RD STE 160                                                 PLYMOUTH          MI   48170‐2698
ABAQUS, INC.                 GENERAL MANAGER                      21680 HAGGERTY RD                  STE 103                                 NORTHVILLE        MI   48167‐8994
ABAR LINDA                   733 TROMBLEY RD                                                                                                 GROSSE POINTE     MI   48230‐1845
                                                                                                                                             PARK
ABAR, LINDA L                733 TROMBLEY RD                                                                                                 GROSSE POINTE     MI   48230‐1845
                                                                                                                                             PARK
ABAR, STEPHEN M              711 N ALTADENA AVE                                                                                              ROYAL OAK         MI   48067‐4203
ABAR,LINDA L                 733 TROMBLEY RD                                                                                                 GROSSE POINTE     MI   48230‐1845
                                                                                                                                             PARK
ABARAY, ANDREW               45 E ST                                                                                                         PORT READING     NJ    07064‐1610
ABARCA, ALFONSO D            6806 BIG CREEK PKWY                                                                                             MIDDLEBRG HTS    OH    44130‐2603
ABARCA, CARMEN S             424 SWEET ACRES DR                                                                                              ROCHESTER        NY    14612‐1463
                                   09-50026-mg           Doc 7123-3        Filed 09/24/10 Entered 09/24/10 15:05:32       Exhibit B
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Name                               Address1                           Address2                Address3       Address4                   City              State Zip
ABARCA, CHRIS J                    8301 YVONNE WAY                                                                                      FAIR OAKS          CA 95628‐5212
ABARCA, EDUARDO MUNIZ              STEVENSON & AMMONS ‐ ROBERT E      3700 MONTROSE BLVD                                                HOUSTON            TX 77006‐4624
                                   AMMONS
ABARCA, GUSTAVO A                  424 SWEET ACRES DR                                                                                   ROCHESTER         NY   14612‐1463
ABARCA, RONALD C                   11300 TOMAHAWK CREEK PKWY STE 12                                                                     LEAWOOD           KS   66211
ABARE, DARRELL A                   8030 BELLEVISTA CT                                                                                   SPRING HILL       FL   34606‐7208
ABARE, JAMES M                     3745 QUEENSBURY RD                                                                                   ORION             MI   48359‐1565
ABARE, MARGARET M                  325 JOHNSON RD                                                                                       PARISH            NY   13131
ABARE, MARGARET M                  74 CUNNINGHAM RD                                                                                     MALONE            NY   12953‐3911
ABARNO JR, ANTHONY D               13 N 13TH ST                                                                                         KENILWORTH        NJ   07033‐1551
ABAS, DAVID J                      131 N MAIN ST                                                                                        WEST MILTON       OH   45383‐1827
ABASCAL JOHN                       11847 SW 100TH ST                                                                                    MIAMI             FL   33186‐2742
ABASCAL, JORGE A                   6971 SW 134TH ST                                                                                     MIAMI             FL   33156‐6962
ABASOLO, BRENDA J                  2022 NOTTINGHAM DR                                                                                   AUGUSTA           GA   30906
ABATE                              151 S OLD WOODWARD AVE STE 200                                                                       BIRMINGHAM        MI   48009‐6103
ABATE                              255 S OLD WOODWARD AVE 3RD FL                                                                        BIRMINGHAM        MI   48009
ABATE ENRICO J (491617)            C/O THORNTON EARLY & NAUMES        100 SUMMER ST LBBY 3                                              BOSTON            MA   02110‐2104
ABATE, ANTHONY                     6657 LEXINGTON AVE N                                                                                 SHELBY TOWNSHIP   MI   48317‐2398
ABATE, CARMEN J                    3007 B RAINTREE ROAD                                                                                 FRANKLIN          TN   37069
ABATE, CHARLES J                   3856 CLINTONVILLE RD                                                                                 WATERFORD         MI   48329‐2419
ABATE, DANIEL D                    302 FARM RD                                                                                          FREEHOLD          NJ   07728‐3407
ABATE, ENRICO J                    THORNTON EARLY & NAUMES            100 SUMMER ST LBBY 3                                              BOSTON            MA   02110‐2104
ABATE, FLORENCE D                  302 FARM RD                        SILVERMEAD MOTOR PARK                                             FREEHOLD          NJ   07728‐3407
ABATE, MULUGETA                    7404 FRIENDSHIP RD                                                                                   CLINTON           MD   20735
ABATE, RONALD P                    8720 COBBLESTONE PL                                                                                  FORT WAYNE        IN   46804‐3430
ABATE, ROSE A                      8431 SW 90TH LN UNIT D                                                                               OCALA             FL   34481‐7522
ABATE, ROSE M                      42 PENARROW DR                                                                                       TONAWANDA         NY   14150‐4227
ABATE, RUSSELL S                   7290 HEWITT RD                                                                                       GRANT TOWNSHIP    MI   48032‐3003
ABATE, SAMUEL J                    6256 13TH AVE                                                                                        MERIDIAN          MS   39305‐1253
ABATE‐MILKO, TINA M                1200 HIDDEN CREEK DR                                                                                 MANSFIELD         TX   76063‐6210
ABATE‐MILKO, TINA MARIE            1200 HIDDEN CREEK DR                                                                                 MANSFIELD         TX   76063‐6210
ABATECOLA ROBERT                   20 DR TONYS RD                                                                                       KATONAH           NY   10536‐3028
ABATEMENT & ENVIRONMENTAL SERVICES PO BOX 32516                                                                                         LOUISVILLE        KY   40232‐2516
LLC
ABATEMENT CO‐OPERATIVES            11183 WOODWARD LN                                                                                    CINCINNATI        OH   45241‐1856
ABATHA JOLLY                       254 KENTUCKY DERBY DR                                                                                DUBLIN            GA   31021‐0864
ABATO, FRANK J                     39 KENSINGTON DR                                                                                     HOPEWELL JCT      NY   12533‐5834
ABAY GEBREY                        4508 FLOWER GARDEN DR                                                                                NEW ALBANY        OH   43054‐9035
ABB                                9000 REGENCY PKWY STE 300                                                                            CARY              NC   27518‐8520
ABB AIR/WELLSVILLE                 PO BOX 372                                                                                           WELLSVILLE        NY   14895‐0372
ABB AUTOMATION GROUP AG            BIZMUHLESTRASSE 93                                                        ZURICH CH 8050
                                                                                                             SWITZERLAND
ABB AUTOMATION INC                 9000 REGENCY PKWY STE 300                                                                            CARY              NC   27518‐8520
ABB AUTOMATION INC                 1250 BROWN RD                                                                                        AUBURN HILLS      MI   48326‐1507
ABB BODY IN WHITE INC              1250 BROWN RD                                                                                        AUBURN HILLS      MI   48326‐1507
ABB BOMEM INC                      585 BOULDER CHAREST EST                                                   QUEBEC CANADA PQ G1K 9H4
                                                                                                             CANADA
ABB FLEXIBLE AUTOMATION
ABB FLEXIBLE AUTOMATION INC        PO BOX 90364                       16250 W GLENDALE DR                                               RALEIGH           NC   27675‐0364
ABB FLEXIBLE AUTOMATION INC        1250 BROWN RD                                                                                        AUBURN HILLS      MI   48326‐1507
ABB GRACO/47700 HALY               47700 HALYARD DR                   P.O. BOX 8027                                                     PLYMOUTH          MI   48170‐2477
ABB INC                            940 MAIN CAMPUS DR                                                                                   RALEIGH           NC   27606
ABB INC                            PO BOX 372                                                                                           MILWAUKEE         WI   53201‐0372
ABB INC                            PO BOX 88875                                                                                         CHICAGO           IL   60695‐1875
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ABB INC                       PO BOX 88853                                                                                      CHICAGO              IL    60695‐1853
ABB INC                       1250 BROWN RD                                                                                     AUBURN HILLS        MI     48326‐1507
ABB INC                       CUSTOMER SERVICE DIVISION       1250 BROWN RD                                                     AUBURN HILLS        MI     48326‐1507
ABB INC                       201 WESTCREEK BLVD                                                      BRAMPTON ON L6T 5S6
                                                                                                      CANADA
ABB INC                       1 ABB COURT                                                             BRAMPTON CANADA ON L6T
                                                                                                      5S6 CANADA
ABB INC                       8585 TRANS CANADA HIGHWAY                                               SAINT LAURENT CANADA ON
                                                                                                      H4S 1Z6 CANADA
ABB INC                       ANALYTICAL QMS                  843 N JEFFERSON ST                                                LEWISBURG          WV      24901‐9509
ABB INC                       PO BOX 3256 STATION A                                                   TORONTO CANADA ON M5W
                                                                                                      5K2 CANADA
ABB INC
ABB INC                       1460 LIVINGSTON AVE                                                                               NORTH BRUNSWICK     NJ     08902

ABB INC INSTRUMENTATION DIV   PO BOX 7777W1170                                                                                  PHILADELPHIA        PA     19175‐0001
ABB INTRA AG                  AFFOLTERNSTRASSE 54             PO BOX 5027                             ZURICH CH 8005
                                                                                                      SWITZERLAND
ABB LTD
ABB LTD                       1250 BROWN RD                                                                                     AUBURN HILLS       MI      48326‐1507
ABB LTD                       PO BOX 90364                    16250 W GLENDALE DR                                               RALEIGH            NC      27675‐0364
ABB PAINT/TROY                1400 STEPHENSON HWY             P.O. BOX 4750                                                     TROY               MI      48083‐1189
ABB PROCESS/LEWSBURG          PO BOX 831                                                                                        LEWISBURG          WV      24901‐0831
ABB ROBOT/2487 S COM          2487 S COMMERCE DR              ATTN: LIZ WINZENRIED                                              NEW BERLIN         WI      53151‐2717
ABB ROBOT/2847 COMMR          2847 SOUTH COMMERCE DRIVE                                                                         NEW BERLIN         WI      53151
ABB ROBOT/AUBURN HIL          1250 BROWN RD                                                                                     AUBURN HILLS       MI      48326‐1507
ABB SERVICE/DECATUR           PO BOX 447                                                                                        DECATUR            AL      35602‐0447
ABB UNIVERSITY                MARY FALLON                     1250 BROWN RD                                                     AUBURN HILLS       MI      48326‐1507
ABB, INC.                     MARGARET CROWLEY                940 MAIN CAMPUS DRIVE                                             RALEIGH            NC      27606
ABB, ROBERT J                 PO BOX 756                                                                                        JANESVILLE         WI      53547‐0756
ABBADINI, JAMES J             5826 ROBERT DR                                                                                    BROOK PARK         OH      44142‐2119
ABBARNO, PASQUALE J           370 SENECA PL                                                                                     LANCASTER          NY      14086‐1473
ABBAS FARZAM                  2451 SHORE DR                                                                                     BESSEMER           AL      35022‐5131
ABBAS MUBBASHIR               2870 LOWER RIDGE DR APT 11                                                                        ROCHESTER HILLS    MI      48307
ABBAS MUSTAPHA                5918 N EVANGELINE ST                                                                              DEARBORN HTS       MI      48127‐3005
ABBAS RAFTARI                 3617 VALLEYVIEW LANE                                                                              W BLOOMFIELD       MI      48323‐3363
ABBAS, CAROL A                1127 CLINTON TER                                                                                  SOUTH PLAINFIELD   NJ      07080‐1623
ABBAS, DEROLD H               8840 LUDINGTON DR                                                                                 LAKE               MI      48632‐9568
ABBAS, RONALD                 22245 AUDETTE ST                                                                                  DEARBORN           MI      48124‐4704
ABBAS, SYED R                 853 ENCHANTMENT DR                                                                                ROCHESTER HILLS    MI      48307‐3595
ABBASI, DIANE V               5402 EAST MCKELLIPS RD                                                                            MESA               AZ      85215
ABBASI, MANZOOR H             1704 N NEVA AVE                                                                                   CHICAGO            IL      60707‐4315
ABBASSE, AHMED                4724 BURGIS AVE SE                                                                                GRAND RAPIDS       MI      49508‐4554
ABBASSE, ALBERT S             664 BRAESIDE DR SE                                                                                BYRON CENTER       MI      49315‐8075
ABBASSE, ALBERT S.            664 BRAESIDE DR SE                                                                                BYRON CENTER       MI      49315‐8075
ABBASSE, DAVID S              585 SUNSET ST                                                                                     COOPERSVILLE       MI      49404‐1016
ABBASSE, HELEN                4724 BURGIS S E                                                                                   KENTWOOD           MI      49508‐4554
ABBASSE, TOFFIE S             2157 STANFORD DR SE                                                                               KENTWOOD           MI      49508‐6538
ABBASSPOUR, KATHY D           1669 WOOD TRL                                                                                     OXFORD             MI      48371‐6067
ABBASSPOUR, MOHSEN            1669 WOOD TRL                                                                                     OXFORD             MI      48371‐6067
ABBASSPOUR, SAIED             2259 E GRAND BLANC RD                                                                             GRAND BLANC        MI      48439‐8113
ABBATA, MICHELE               21 ALLEN ST                                                                                       N TONAWANDA        NY      14120‐6545
ABBATA, NICHOLAS WALTER       21 ALLEN ST                                                                                       N TONAWANDA        NY      14120‐6545
ABBATE FRANK (460703)         WEITZ & LUXENBERG P.C.          180 MAIDEN LANE                                                   NEW YORK           NY      10038
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Name                         Address1                          Address2                           Address3   Address4               City               State   Zip
ABBATE SALVATORE (402397)    ANGELOS PETER G LAW OFFICE        115 BROADWAY FRNT 3                                                  NEW YORK            NY     10006‐1638
ABBATE, ALPHONSE             5724 MARTELL DR                                                                                        TROY                MI     48085‐3160
ABBATE, CHRISTINE E          31426 REGAL DR                                                                                         WARREN              MI     48088‐7337
ABBATE, DOMENICA             40741 AUBURNDALE DR                                                                                    STERLING HEIGHTS    MI     48313‐4103
ABBATE, FRANK                WEITZ & LUXENBERG P.C.            180 MAIDEN LANE                                                      NEW YORK            NY     10038
ABBATE, FRANK V              48873 PENROSE LN                                                                                       MACOMB              MI     48044‐5552
ABBATE, GREGORY A            23683 CORA AVE                                                                                         FARMINGTON HILLS    MI     48336‐2619

ABBATE, JAMES E              7936 PARK AVE                                                                                          SKOKIE              IL     60077‐2725
ABBATE, JANICE D             22460 KLINES RESORT RD LOT 165                                                                         THREE RIVERS        MI     49093‐8617
ABBATE, JOSEPH               31146 GARDENDALE DR                                                                                    WARREN              MI     48088‐2057
ABBATE, JOSEPH A             31426 REGAL DR                                                                                         WARREN              MI     48088‐7337
ABBATE, SALVATORE            ANGELOS PETER G LAW OFFICE        115 BROADWAY FRNT 3                                                  NEW YORK            NY     10006‐1638
ABBATE, SIMONE               170 ALBERT ST                                                                                          ROCHESTER           NY     14606‐5530
ABBATOMARCO, DAVID P         100 SHADBUSH DR                                                                                        COLCHESTER          CT     06415‐1955
ABBE LUMBER & HARDWARE CTR   200 AVENEL ST                                                                                          AVENEL              NJ     07001‐1453
ABBE, DAVID J                4809 SOUTH ST                     PO BOX 54                                                            GAGETOWN            MI     48735‐5126
ABBE, DWAYNE J               11450 SMALL LOT RD                                                                                     ONAWAY              MI     49765‐8831
ABBE, MARK                   6150 STROEBEL RD                                                                                       SAGINAW             MI     48609‐5231
ABBE, ROBERT T               206 HIGH ST                                                                                            BAY CITY            MI     48708‐8611
ABBED, ATA A                 PO BOX 286                                                                                             BETHANY             IL     61914‐0286
ABBED, MAHMUD A              44 ROSEWOOD DR                                                                                         HAWTHORN WOODS      IL     60047‐7713

ABBEDEL‐AL, ATALLAH A        17168 CLINTON RD                                                                                       DANVILLE           IL      61834‐6257
ABBENANTE, MICHAEL J         236 WEDGEFIELD DR                                                                                      CONWAY             SC      29526‐9076
ABBENDA, LUISAMARIA          DURST LAW FIRM PC                 319 BROADWAY                                                         NEW YORK           NY      10007
ABBEON/SANT BAR              123 ‐ 231A GREG AVENUE                                                                                 SANTA BARBARA      CA      93101
ABBETT JOHN T                6178 E EVENING GLOW DR                                                                                 SCOTTSDALE         AZ      85266‐7394
ABBETT JR, JOHN A            265 WASHINGTON ST                                                                                      AUGUSTA            MO      63332‐1066
ABBETT WALTER C (432290)     CLIMACO LEFKOWITZ PECA WILCOX &   1228 EUCLID AVE , HALLE BLDG 9TH                                     CLEVELAND          OH      44115
                             GAROFOLI                          FL
ABBETT, JOHN T               6178 E EVENING GLOW DR                                                                                 SCOTTSDALE         AZ      85266‐7394
ABBEVILLE COUNTY TREASURER   PO BOX 38                                                                                              ABBEVILLE          SC      29620‐0038
ABBEY CREDIT UNION           HELEN HANDLEY                     800 FALLS CREEK DR                                                   VANDALIA           OH      45377‐8600
ABBEY MEC‐TRIC               PO BOX 1225                                                                                            NORCROSS           GA      30091‐1225
ABBEY, ANNA M                2140 GREENWOOD ROAD                                                                                    LAPEER             MI      48446
ABBEY, BRIAN                 816 VERNITA DR                                                                                         LAKE ORION         MI      48362‐2456
ABBEY, DARYL F               2206 DONNA DR                                                                                          NORMAN             OK      73071‐4225
ABBEY, DENNIS P              3705 SMOKE HICKORY LN                                                                                  VALRICO            FL      33596
ABBEY, DONALD F              4563 DIPLOMA CT                                                                                        LEHIGH ACRES       FL      33971‐2055
ABBEY, DOROTHY ANN           7063 GILLETTE RD                                                                                       FLUSHING           MI      48433‐9341
ABBEY, EVELYN A              1339 SAVOY LANE                                                                                        SAGINAW            MI      48604‐1022
ABBEY, JOHN R                558 KENMORE AVE NE                                                                                     WARREN             OH      44483‐5522
ABBEY, JOSEPH
ABBEY, KENNETH S             2134 KENNEDY DR                                                                                        ROCHESTER HILLS    MI      48309‐2900
ABBEY, LAWRENCE D            9 S 3RD ST UNIT 205                                                                                    GRAND HAVEN        MI      49417‐1579
ABBEY, LOUIS A               5482 LITCHFIELD DR                                                                                     FLINT              MI      48532‐4039
ABBEY, MARK D                12307 JENNINGS RD                                                                                      LINDEN             MI      48451‐9433
ABBEY, MEDA M                1401 S JACKSON ST                                                                                      BAY CITY           MI      48708‐8067
ABBEY, NANCY K               1149 HILLCREST DR                                                                                      DAYTONA BEACH      FL      32114‐2411
ABBEY, PHYLLIS O             3678 LOCKPORT OLCOTT RD                                                                                LOCKPORT           NY      14094‐1171
ABBEY, SUSAN R               2134 KENNEDY DR                                                                                        ROCHESTER HILLS    MI      48309‐2900
ABBEY, TERESA K              7140 ALPINE DR BOX 309                                                                                 LINDEN             MI      48451
ABBEY, TERRI B               1225 S EAST CAMANO DR                                                                                  CAMANO ISLAND      WA      98282
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Name                         Address1                         Address2                          Address3   Address4                City               State   Zip
ABBEY, THOMAS R              2305 HIGHLAND RD                                                                                      ANDERSON            IN     46012‐1921
ABBEY, VERNON L              10902 SE 50TH AVE                                                                                     BELLEVIEW           FL     34420‐3189
ABBEY, WAYNE E               2420 COLTSVIEW LANE                                                                                   MATTHEWS            NC     28105‐7716
ABBEY‐SNIDER, CAROL A        7240 WILSON RD                                                                                        MONTROSE            MI     48457‐9196
ABBIE ADAMS                  17432 WESTOVER RD                C/O LAURA T LANIER                                                   SOUTHFIELD          MI     48075‐4357
ABBIE BLACKWELL              20012 CONLEY ST                                                                                       DETROIT             MI     48234‐2256
ABBIE BOX                    410 E HIBBARD RD                                                                                      OWOSSO              MI     48867‐8943
ABBIE CATTENHEAD             275 VALLEY NORTH BLVD                                                                                 JACKSON             MS     39206
ABBIE D JONES                PO BOX 9003                                                                                           COLUMBUS            OH     43209‐0003
ABBIE DEBOLD                 12222 GRANDMONT AVE                                                                                   DETROIT             MI     48227‐1129
ABBIE FOSTER                 542 S 10TH ST                                                                                         SAGINAW             MI     48601‐1901
ABBIE J BLACKWELL            20012 CONLEY ST                                                                                       DETROIT             MI     48234‐2256
ABBIE JONES                  PO BOX 9003                                                                                           COLUMBUS            OH     43209‐0003
ABBIE JONES                  621 S HOSMER ST                                                                                       LANSING             MI     48912‐1321
ABBIE, EVALYN L              3141 KALLIN AVE                                                                                       LONG BEACH          CA     90808‐4204
ABBINGTON ASSOCIATES, INC.   922 STATE ROUTE 33                                                                                    FREEHOLD            NJ     07728‐8439
ABBINGTON, CELINA J          UNIT B                           3380 CALIMERO DRIVE                                                  COLUMBUS            OH     43224‐2884
ABBITT, VIOLA                11 CEDARWOOD DR                                                                                       BALLSTON LAKE       NY     12019‐1033
ABBO, ALBERT A               5730 PUTNAM DR                                                                                        WEST BLOOMFIELD     MI     48323‐3724

ABBONDANZA, DAVID D          2381 SURREY DR                                                                                        PINCKNEY            MI     48169‐9515
ABBONDANZIERI, GEORGANN M    65 DEAN RD                                                                                            SPENCERPORT         NY     14559‐9537
ABBONDANZIERI, MARIO G       65 DEAN RD                                                                                            SPENCERPORT         NY     14559‐9537
ABBONDONZIERI, JOYCE N       212 KNAPP AVE                                                                                         ROCHESTER           NY     14609‐1131
ABBOSH, AFIF H               23545 CANFIELD AVE                                                                                    FARMINGTON HILLS    MI     48336‐2823

ABBOSH, AFIF HENRY           23545 CANFIELD AVE                                                                                    FARMINGTON HILLS    MI     48336‐2823

ABBOT/LIVONIA                12763 STARK RD STE 201                                                                                LIVONIA             MI     48150‐1535
ABBOTOY, MARVIN L            670 N BLOSSOM RD                                                                                      ELMA                NY     14059‐9666
ABBOTT ANESTHESIA AS         515 ABBOTT RD                                                                                         BUFFALO             NY     14220
ABBOTT BALL CO               19 RAILROAD PL                                                                                        WEST HARTFORD       CT     06110‐2344
ABBOTT BALL CO               MARYANN RUUBEL X233              RAILROAD PL.                                 BOUSSENS 31360 FRANCE
ABBOTT BALL CO, THE          19 RAILROAD PL                                                                                        WEST HARTFORD       CT     06110‐2344
ABBOTT BALL COMPANY          PO BOX 330100                                                                                         WEST HARTFORD       CT     06133‐0100
ABBOTT BALL/W HARTFO         PO BOX 330100                                                                                         WEST HARTFORD       CT     06133‐0100
ABBOTT CECIL                 4067 BALD EAGLE LN                                                                                    JACKSONVILLE        FL     32257‐7124
ABBOTT DEAN E (428384)       GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                          NORFOLK             VA     23510
                                                              STREET, SUITE 600
ABBOTT ELDON A (080077)      DINGLER WILHELM                  OFFICE OF THE ATTORNEY GENERA ,                                      SEATTLE            WA      98104
                                                              L 1200 DEXTER HORTON BLDG
ABBOTT I I I, CECIL M        4067 BALD EAGLE LN                                                                                    JACKSONVILLE       FL      32257‐7124
ABBOTT II, JOHN U            1782 E BLAKE AVE                                                                                      COLUMBUS           OH      43219‐1085
ABBOTT JERRY L (640522)      GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                          NORFOLK            VA      23510
                                                              STREET, SUITE 600
ABBOTT JOHN J (667745)       ANGELOS PETER G                  100 N CHARLES STREET , ONE                                           BALTIMORE          MD      21201
                                                              CHARLES CENTER
ABBOTT JR, EMERSON           3053 SHADY GROVE RD                                                                                   CARROLLTON         GA      30116‐8199
ABBOTT JR, EUGENE C          17800 THUNDERBIRD HILLS RD                                                                            NEWALLA            OK      74857‐9427
ABBOTT JR, FRANCIS A         8 E SHADOWLAWN DR                                                                                     NEPTUNE            NJ      07753‐2851
ABBOTT JR, GEORGE N          PO BOX 34                                                                                             MAPLE RAPIDS       MI      48853‐0034
ABBOTT JR, JOHN R            8748 HIPP ST                                                                                          TAYLOR             MI      48180‐2980
ABBOTT JR, ROY L             7156 TWIN LAKES RD                                                                                    PERRYSBURG         OH      43551‐4591
ABBOTT JR, THOMAS W          4604 SPRINGERS LN                                                                                     WILMINGTON         DE      19808‐4122
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ABBOTT JR, WELTON                    5245 EL MIRADOR DR                                                                                           LOS ANGELES           CA     90008‐1124
ABBOTT JR., ARTHUR L                 3690 ANDERSON ANTHONY ROAD                                                                                   LEAVITTSBURG          OH     44430‐9786
ABBOTT JUNE                          ABBOTT, JUNE                         230 ROUTE 206                                                           FLANDERS              NJ     07836
ABBOTT K. SCHL/LIVON                 12763 STARK RD STE 201                                                                                       LIVONIA               MI     48150‐1535
ABBOTT LABORATORIES                  DIANE LOPEZ                          100 ABBOTT PARK RD                                                      ABBOTT PARK            IL    60064‐3502
ABBOTT LORIS (438770)                GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                             NORFOLK               VA     23510
                                                                          STREET, SUITE 600
ABBOTT LUCY                          ABBOTT, LUCY                         1209 HARMON JOHNSON RD LOT A                                            MONROE                LA     71202‐9232
ABBOTT MICHAEL (356935)              PAUL REICH & MYERS P.C.              1608 WALNUT ST STE 500                                                  PHILADELPHIA          PA     19103‐5446
ABBOTT NICHOLSON QUILTER             ESSHAKI & YOUNGBLOOD                 300 RIVER PLACE DR STE 3000                                             DETROIT               MI     48207‐5066
ABBOTT NICHOLSON QUILTER ESSHAKI &   RE: RAM CONSTRUCTION SERVICES        300 RIVER PLACE                   SUITE 3000                            DETROIT               MI     48207‐4225
YOUNGBLOOD
ABBOTT NICHOLSON QUILTER ESSHAKI &   RE: WESTERN WATERPROOFING COMPANY 300 RIVER PLACE                      SUITE 3000                            DETROIT               MI     48207‐4225
YOUNGBLOOD
ABBOTT NICHOLSON, P.C.               ATTY FOR INALFA ROOF SYSTEMS, INC.   ATTN: DANIEL G. KIELCZEWSKI  300 RIVER PLACE   SUITE 3000               DETROIT               MI     48207‐4225
ABBOTT ORVILLE T (422059)            HARRISON KEMP & JONES                3800 HOWARD HUGHES PARKWAY ‐                                            LAS VEGAS             NV     89169
                                                                          17TH FL
ABBOTT POZEFSKY                      5186 GOLFVIEW COURT                  APT 1926                                                                DELRAY BEACH          FL     33484
ABBOTT RADIATOR                      1700 ABBOTT RD                                                                                               BUFFALO               NY     14218‐2941
ABBOTT ROBERT C SR (ESTATE OF)       GOLDENBERG, MILLER, HELLER &         PO BOX 959                                                              EDWARDSVILLE          IL     62025‐0959
(640757)                             ANTOGNOLI
ABBOTT SIMSES & KUCHLER PLC          STE 200 400 LAFAYETTE                                                                                        NEW ORLEANS           LA     70130
ABBOTT THOMAS                        11155 N TINION                                                                                               FLAGSTAFF             AZ     86004
ABBOTT THOMAS                        ABBOTT, THOMAS                       25805 HARPER AVE                                                        SAINT CLAIR SHORES    MI     48081‐2263

ABBOTT WILLIAM                       ABBOTT, WILLIAM                      30 EAST BUTLER PIKE , SUITE 310                                         AMBLER               PA      19002
ABBOTT WILLIAM                       PO BOX 1                                                                                                     EXCELLO              MO      65247‐0001
ABBOTT WILLIAM & SOMMER              334 VIRGINIA AVE                                                                                             MOUNT                PA      15211‐1564
                                                                                                                                                  WASHINGTON
ABBOTT WILLIAM H (428385)            GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                             NORFOLK               VA     23510
                                                                          STREET, SUITE 600
ABBOTT'S AUTO CARE                   1645 W MAIN ST                                                                                               LEXINGTON            SC      29072‐2374
ABBOTT, A J                          7415 HARVARD DR                                                                                              RAYTOWN              MO      64133‐6867
ABBOTT, ALICE J                      121 VINCENT RD                                                                                               BRISTOL              CT      06010‐3830
ABBOTT, ALICE N                      4535 KLAM RD                                                                                                 COLUMBIAVILLE        MI      48421‐9337
ABBOTT, ANDREA M                     6621 AMBOY ST                                                                                                DEARBORN HTS         MI      48127‐3903
ABBOTT, ANDREW D                     212 LAKE ST                                                                                                  NORTHVILLE           MI      48167‐1214
ABBOTT, ANTHONY J                    50386 TETON RIDGE RD                                                                                         NORTHVILLE           MI      48168‐6852
ABBOTT, ARTHUR S                     5259 DRAYTON ROAD                                                                                            CLARKSTON            MI      48346‐3709
ABBOTT, BENJAMIN T                   15860 ROBINWOOD DR                                                                                           NORTHVILLE           MI      48168‐2043
ABBOTT, BERNICE                      4542 S 400 W                                                                                                 RUSHVILLE            IN      46173‐8582
ABBOTT, BETTY J                      6300 HWY # 9                                                                                                 DAWSONVILLE          GA      30534
ABBOTT, BETTY J                      6300 HWY #9 SOUTH                                                                                            DAWSONVILLE          GA      30534
ABBOTT, BILLY D                      2053 SNAPPING SHOALS RD                                                                                      MCDONOUGH            GA      30252‐5734
ABBOTT, BILLY J                      316 BRENTWOOD ST APT B                                                                                       TITLTON              IL      61833
ABBOTT, BOBBY J                      3412 ELMTREE DR SW                                                                                           ATLANTA              GA      30311‐3028
ABBOTT, BRENDA F                     2 E HAMPTON DR                                                                                               AUBURNDALE           FL      33823
ABBOTT, BRENDA L                     9360 ISABELLA LN                                                                                             DAVISON              MI      48423
ABBOTT, BRIAN J                      1721 WENONAH LN                                                                                              SAGINAW              MI      48638‐4455
ABBOTT, BRIAN JOSEPH                 1721 WENONAH LN                                                                                              SAGINAW              MI      48638‐4455
ABBOTT, BRIDGET TAMIKA               156 MOURY AVE SW APT 3109                                                                                    ATLANTA              GA      30315‐3443
ABBOTT, BRUCE A                      411 MARCIA DR                                                                                                BRISTOL              CT      06010‐2874
ABBOTT, BRUCE J                      7930 SUN ISLAND DR S APT 310                                                                                 SOUTH PASADENA       FL      33707‐4465
ABBOTT, BUELL P                      1005 ROCKY CANYON RD                                                                                         ARLINGTON            TX      76012‐4122
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Name                             Address1                        Address2                           Address3   Address4                    City           State   Zip
ABBOTT, CESAR                    PO BOX 630136                                                                                             BRONX           NY     10463‐0805
ABBOTT, CLARA MAE                114 AUDREA STREET                                                                                         MOULTON         AL     35650‐6508
ABBOTT, CLARA MAE                114 AUDREA ST                                                                                             MOULTON         AL     35650‐6508
ABBOTT, DARRELL G                14109 W CORNER RD                                                                                         DALEVILLE       IN     47334‐9472
ABBOTT, DARRELL GAVIN            14109 WEST CORNER ROAD                                                                                    DALEVILLE       IN     47334‐9472
ABBOTT, DAVID B                  3338 SERENITY RD                                                                                          OAKLAND         MI     48363‐2737
ABBOTT, DAVID L                  1642 19TH ST                                                                                              WYANDOTTE       MI     48192‐3510
ABBOTT, DAVID LEE                1642 19TH ST                                                                                              WYANDOTTE       MI     48192‐3510
ABBOTT, DAVID P                  10205 MULLIKEN RD                                                                                         MULLIKEN        MI     48862‐9722
ABBOTT, DAVID R                  1286 N MORRISH RD                                                                                         FLINT           MI     48532‐2043
ABBOTT, DAVID W                  6122 MORGANTOWN RD                                                                                        RUSSELLVILLE    KY     42276‐6403
ABBOTT, DAVID W                  2012 E BETHLEHEM RD                                                                                       DOYLE           TN     38559‐1040
ABBOTT, DAVID W                  9675 GLOWING FLAME DR                                                                                     FISHERS         IN     46037‐9445
ABBOTT, DEAN                     GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                               NORFOLK         VA     23510
                                                                 STREET, SUITE 600
ABBOTT, DEBERA                   1800 E 22ND ST                                                                                            MUNCIE         IN      47302‐5464
ABBOTT, DEBERA                   1800 E 22ND                                                                                               MUNCIE         IN      47302‐5464
ABBOTT, DELOIS R                 1030 HERON RD                                                                                             PEOTONE        IL      60468‐8998
ABBOTT, DIANE L                  2500 MANN RD LOT 276                                                                                      CLARKSTON      MI      48346‐4258
ABBOTT, DONALD                   BIFFERATO GENTILOTTI & BIDEN    PO BOX 2165                                                               WILMINGTON     DE      19899‐2165
ABBOTT, DONALD B                 130 HIAWATHA DR                                                                                           NOBLESVILLE    IN      46062‐8829
ABBOTT, DONALD F                 4257 PARDO HWY                                                                                            EATON RAPIDS   MI      48827‐1164
ABBOTT, DONALD J                 154 SHIRLEY LN NW                                                                                         WARREN         OH      44483‐1356
ABBOTT, DONALD J                 154 SHIRLEY LANE N.W.                                                                                     WARREN         OH      44483‐1356
ABBOTT, DONALD L                 4357 PADO HWY                                                                                             EATON RAPIDS   MI      48827
ABBOTT, DORIS J                  1351 N EDWARDS ST                                                                                         KALAMAZOO      MI      49007‐2522
ABBOTT, DWIGHT K                 3017 BLUEBONNET LN                                                                                        BEDFORD        TX      76021‐2711
ABBOTT, EARL D                   5811 ROLLING RIDGE DR                                                                                     TUTTLE         OK      73089‐8526
ABBOTT, EARNEST R                4551 E 575 S                                                                                              MARKLEVILLE    IN      46056‐9746
ABBOTT, EDITH M                  2930 E HIGHWAY 70               C/O GLENDA YORK                                                           EUBANK         KY      42567‐7518
ABBOTT, EDITH M                  C/O GLENDA YORK                 2930 HWY 70 E                                                             EUBANK         KY      42567
ABBOTT, ELDON A                  DINGLER WILHELM                 OFFICE OF THE ATTORNEY GENERA, L                                          SEATTLE        WA      98104
                                                                 1200 DEXTER HORTON BLDG
ABBOTT, EUGENE L & BERNADINE M   1106 HILEAH DR                                                                                            CROSSVILLE      TN     38572‐6121
ABBOTT
ABBOTT, FLOYD T                  345 MONROE ST APT‐200                                                                                     SACRAMENTO      CA     95825
ABBOTT, FREDERICK                DOMICILIO CONOCIDO              VIA AMATLAN DE CANAS                          EL ROSARIO NAYARIT MEXICO
                                                                                                               63980
ABBOTT, GARY J                   5173 NASH DR                                                                                              FLINT          MI      48506‐1580
ABBOTT, GARY W                   28005 59TH AVE NE                                                                                         ARLINGTON      WA      98223
ABBOTT, GEORGE C                 4090 N HIGHWAY 1247                                                                                       SOMERSET       KY      42503‐4615
ABBOTT, GEORGE C                 4090 NORTH HWY 1247                                                                                       SOMERSET       KY      42503‐4615
ABBOTT, GEORGE C                 107 GEORGETOWN DR                                                                                         DALLAS         GA      30132‐6607
ABBOTT, GEORGE S                 8060 SOUTH AVE APT 207                                                                                    BOARDMAN       OH      44512‐6137
ABBOTT, GEORGIA A                1411W SAINT ANDREWS RD                                                                                    MIDLAND        MI      48640
ABBOTT, GLEN R                   83 CENTER ST                                                                                              MONTICELLO     KY      42633‐1279
ABBOTT, GORDON B                 6402 TREE SUMMIT PKWY                                                                                     DULUTH         GA      30096
ABBOTT, GRACE                    16885 WHITCOMB                                                                                            DETROIT        MI      48235‐3721
ABBOTT, HARLENE                  14900 BARTON RD                                                                                           VICKSBURG      MI      49097‐9733
ABBOTT, HELEN                    116 FM 2488                                                                                               COVINGTON      TX      76636‐4561
ABBOTT, HELEN H                  10 PERKINS AVENUE                                                                                         WILMINGTON     DE      19809‐1722
ABBOTT, HELEN H                  10 PERKINS AVE                                                                                            WILMINGTON     DE      19809‐1722
ABBOTT, HOWARD E                 27 S MUSTIN DR                                                                                            ANDERSON       IN      46012‐3153
ABBOTT, JACK S                   6036 W STEVENSON ST                                                                                       MILWAUKEE      WI      53213‐4273
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Name                    Address1                          Address2                      Address3   Address4               City               State   Zip
ABBOTT, JAMES A         308 WINDING WAY                                                                                   FRANKTON            IN     46044‐9600
ABBOTT, JAMES A         3758 CHISHOLM DR                                                                                  ANDERSON            IN     46012‐9362
ABBOTT, JAMES ANTHONY   308 WINDING WAY                                                                                   FRANKTON            IN     46044‐9600
ABBOTT, JAMES W         66 BARREN RIVER HLS                                                                               SCOTTSVILLE         KY     42164‐6525
ABBOTT, JANET E         446 LONGSPUR RD                                                                                   HIGHLAND HTS        OH     44143‐3716
ABBOTT, JANET E         2208 W BASELINE RD SPACE 48                                                                       APACHE JUNCTION     AZ     85220‐9509

ABBOTT, JENNIE D        2213 MEADOW WAY                                                                                   ANDERSON            IN     46012‐9452
ABBOTT, JERRY L         GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                     NORFOLK             VA     23510‐2212
                                                          STREET, SUITE 600
ABBOTT, JOAN            5956 PARK RIDGE DR                                                                                PORT ORANGE        FL      32127‐7547
ABBOTT, JOAN            38749 WOODMONT DR                                                                                 STERLING HEIGHTS   MI      48310‐3238
ABBOTT, JOE A           186 ABBOTT RD SW                                                                                  CONYERS            GA      30094‐4906
ABBOTT, JOHN J          ANGELOS PETER G                   100 N CHARLES STREET, ONE                                       BALTIMORE          MD      21201
                                                          CHARLES CENTER
ABBOTT, JOHN L          1171 W 200 N                                                                                      HARTFORD CITY      IN      47348‐8847
ABBOTT, JOHN U          146 S JAMES RD                                                                                    COLUMBUS           OH      43213‐1688
ABBOTT, KATHRYN J       750 HAWKSMOORE DR                                                                                 CLARKSTON          MI      48348‐3630
ABBOTT, KELLI S         6848 NORTHCREST WAY E                                                                             CLARKSTON          MI      48346‐2744
ABBOTT, KENNETH G       4535 KLAM RD                                                                                      COLUMBIAVILLE      MI      48421‐9337
ABBOTT, KENNETH L       186 MEDFORD ST                                                                                    MANCHESTER         NH      03109‐4524
ABBOTT, KENNETH R       33 BEECH DR                                                                                       SPRINGFIELD        OH      45504‐5912
ABBOTT, KERI L          3125 NORTH HENDERSON ROAD                                                                         DAVISON            MI      48423‐8113
ABBOTT, KESTER D        423 W BERRY AVE                                                                                   LANSING            MI      48910‐2995
ABBOTT, LARRY A         131 CHISHOLM TRAIL                                                                                N FT MYERS         FL      33917‐3060
ABBOTT, LARRY P         2235 PIONEER RD                                                                                   JANESVILLE         WI      53546‐5646
ABBOTT, LARRY W         213 LIVINGSTON LN                                                                                 MOULTON            AL      35650‐6540
ABBOTT, LARRY W         639 LAKEVIEW DR                                                                                   ZIONSVILLE         IN      46077‐9591
ABBOTT, LARRY W         5665 KIZER LN                                                                                     SPRINGFIELD        OH      45502
ABBOTT, LEONARD D       10051 CUTTY SARK DRIVE                                                                            HUNTINGTON         CA      92646‐4301
                                                                                                                          BEACH
ABBOTT, LINCOLN K       574 SAINT JOHNS RD                                                                                TAVARES            FL      32778‐5117
ABBOTT, LINDA           245 BENNINGTON HILLS CT                                                                           WEST HENRIETTA     NY      14586‐9765
ABBOTT, LINDA L         14109 W CORNER RD                                                                                 DALEVILLE          IN      47334‐9472
ABBOTT, LINDA L         14109 WEST CORNER RD                                                                              DALEVILLE          IN      47334‐9472
ABBOTT, LINDA W         4551 E 575 S                                                                                      MARKLEVILLE        IN      46056‐9746
ABBOTT, LISA A          900 FAIRGROVE WAY                                                                                 TROTWOOD           OH      45426‐2271
ABBOTT, LORIS           GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                     NORFOLK            VA      23510‐2212
                                                          STREET, SUITE 600
ABBOTT, LUCY            1209 HARMON JOHNSON RD LOT A                                                                      MONROE             LA      71202‐9232
ABBOTT, MARGARET L      3621 ARLENE AVE                                                                                   FLINT              MI      48532‐5202
ABBOTT, MARGARET L      3621 ARLENE                                                                                       FLINT              MI      48532‐5202
ABBOTT, MARGARET M      212 W HOLLISTER ST                                                                                ROMEO              MI      48065‐4758
ABBOTT, MARIE C         1500 COVINGTON ST                                                                                 BALTIMORE          MD      21230
ABBOTT, MARY            6150 MAGNOLIA DR                                                                                  MENTOR             OH      44060‐3132
ABBOTT, MARY H          2704 AUGUSTA DR                                                                                   HOMESTEAD          FL      33035‐1192
ABBOTT, MAXINE F        4485 TEE BOX DR                                                                                   SOUTH JORDAN       UT      84095‐2784
ABBOTT, MAXINE F        1465 E LAGUNA PL UNIT 13                                                                          YUMA               AZ      85355‐3588
ABBOTT, MAXINE R        13406 TUSCOLA ROAD                                                                                CLIO               MI      48420‐1851
ABBOTT, MELISSA A       1642 19TH ST                                                                                      WYANDOTTE          MI      48192‐3510
ABBOTT, MELVA L         431 S LEXINGTON CT                                                                                RICHMOND           MO      64085‐2914
ABBOTT, MELVA L         431 SOUTH LEXINGTON CRT                                                                           RICHMOND           MO      64085‐1420
ABBOTT, MICHAEL         3964 GUILFORD ST                                                                                  DETROIT            MI      48224‐2242
ABBOTT, MICHAEL         C/O PAUL REICH & MYERS P.C.       1608 WALNUT ST STE 500                                          PHILADELPHIA       PA      19103‐5446
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Name                     Address1                          Address2                       Address3   Address4               City             State   Zip
ABBOTT, MICHAEL D        1160 PLEASANT VALLEY RD                                                                            MANSFIELD         OH     44903‐9019
ABBOTT, MICHAEL S        3424 BROOKGATE DR                                                                                  FLINT             MI     48507‐3213
ABBOTT, MICHAEL SCOTT    BOONE ALEXANDRA                   205 LINDA DR                                                     DAINGERFIELD      TX     75638‐2107
ABBOTT, MICHAEL STEVEN   3424 BROOKGATE DR                                                                                  FLINT             MI     48507‐3213
ABBOTT, MICHAEL W        712 HOLT DR                                                                                        LIBERTY           MO     64068‐2584
ABBOTT, MICHAEL W        112 CHESTNUT OAK LN                                                                                CLEVELAND         GA     30528‐7508
ABBOTT, MICHAEL W.       712 HOLT DR                                                                                        LIBERTY           MO     64068‐2584
ABBOTT, NANCY            9155 GREENWAY CT                  UNIT N213                                                        SAGINAW           MI     48609‐6760
ABBOTT, NOEL D           3419 DUCKVIEW CT                                                                                   ARLINGTON         TX     76016‐1800
ABBOTT, NORMA J          1068 GARY LN                                                                                       NEW CARLISLE      OH     45344‐1633
ABBOTT, ORVILLE          HARRISON KEMP & JONES             3800 HOWARD HUGHES PARKWAY ‐                                     LAS VEGAS         NV     89109
                                                           17TH FL
ABBOTT, PATRICIA A       1849 CALHOUN ST                                                                                    INDIANAPOLIS     IN      46203‐2956
ABBOTT, PATRICIA A       1849 E CALHOUN STREET                                                                              INDIANAPOLIS     IN      46203‐2956
ABBOTT, PATRICIA L       3690 ANDERSON ANTHONY RD                                                                           LEAVITTSBURG     OH      44430‐9786
ABBOTT, PATRICK R        6254 LEONARD ST                                                                                    COOPERSVILLE     MI      49404‐9716
ABBOTT, PAUL D           523 W 38TH ST                                                                                      MARION           IN      46953‐4863
ABBOTT, PAUL J           294 W BENNETT ST                                                                                   SALINE           MI      48176‐1156
ABBOTT, PHYLLIS J        592 COY DR                                                                                         BEAVERCREEK      OH      45434‐5823
ABBOTT, R B              1164 COUNTY ROAD 181                                                                               MOULTON          AL      35650‐5616
ABBOTT, RICHARD E        111 IRENE DR                                                                                       BUTLER           PA      16001‐2737
ABBOTT, RICHARD E        6049 STEAM FURNACE RD                                                                              PEEBLES          OH      45660‐9506
ABBOTT, RICHARD G        2409 E 2ND ST                                                                                      FLINT            MI      48503‐2231
ABBOTT, RICHARD T        6324 LONGWOOD DR                                                                                   MURRELLS INLET   SC      29576‐8955
ABBOTT, RICHARD W        7713 CHESTNUT RIDGE RD                                                                             LOCKPORT         NY      14094‐3509
ABBOTT, RITA F           1915 ARLENE DRIVE                                                                                  WILMINGTON       DE      19804‐4003
ABBOTT, RITA F           1915 ARLENE DR                                                                                     WILMINGTON       DE      19804‐4003
ABBOTT, ROBERT C         GOLDENBERG, MILLER, HELLER &      PO BOX 959                                                       EDWARDSVILLE     IL      62025‐0959
                         ANTOGNOLI
ABBOTT, ROBERT E         11788 BLOCK RD                                                                                     BIRCH RUN        MI      48415‐9459
ABBOTT, ROBERT J         SPC 21                            8958 S SIX SHOOTER CANYON RD                                     GLOBE            AZ      85501‐4081
ABBOTT, ROBERT L         681 ROJEAN DR                                                                                      STANTON          MI      48888‐9135
ABBOTT, ROBERT L         2903 GRAFTON RD                                                                                    GRAFTON          OH      44044‐1040
ABBOTT, ROBERT L         115 HUNTLAND RD                                                                                    JONESBOROUGH     TN      37659‐4341
ABBOTT, ROBERT S         2899 E BIG BEAVER RD                                                                               TROY             MI      48083‐2466
ABBOTT, RODNEY R         1502 CYPRESS SPRING DRIVE                                                                          FORT WAYNE       IN      46814‐8873
ABBOTT, RODNEY RAYMOND   1502 CYPRESS SPRING DRIVE                                                                          FORT WAYNE       IN      46814‐8873
ABBOTT, ROGER H          C/O GLASSER AND GLASSER           CROWN CENTER 580 E MAIN ST                                       NORFOLK          VA      23510
                                                           SUITE 600
ABBOTT, RONALD H         171 YORK AVE                                                                                       CLAYTON          IN      46118‐8900
ABBOTT, RONALD V         66 CAROL DR                                                                                        PLAINVILLE       CT      06062‐3206
ABBOTT, RONNIE L         505 GRIBBLE SPRINGS RD                                                                             SANGER           TX      76266‐7566
ABBOTT, ROSIE I          17800 THUNDERBIRD HILLS RD                                                                         NEWALLA          OK      74857‐9427
ABBOTT, ROY L            PO BOX 654                                                                                         ATLANTA          MI      49709‐0654
ABBOTT, RUTH             5303 IVAN DR APT 311                                                                               LANSING          MI      48917
ABBOTT, RUTH             18 E SARAZEN DR                                                                                    MIDDLETOWN       DE      19709‐7940
ABBOTT, RUTHANNE A       3338 SERENITY RD                                                                                   OAKLAND          MI      48363‐2737
ABBOTT, RYAN RODNEY      22124 ASH ST                                                                                       WOODBURN         IN      46797‐9649
ABBOTT, SANDRA B         10285 RIVER RUN LN                                                                                 N ROYALTON       OH      44133‐6076
ABBOTT, SCOTT WILLIAM    123 VILLAGE GREEN DR                                                                               INDIANAPOLIS     IN      46227‐3013
ABBOTT, SHARON           4510 NW 49TH DR                                                                                    TAMARAC          FL      33319‐3777
ABBOTT, SHELLI           1020 E STATE ST                                                                                    ALBANY           IN      47320‐1352
ABBOTT, SHELLI S.        1020 E STATE ST                                                                                    ALBANY           IN      47320‐1352
ABBOTT, STEVEN D         PO BOX 9022                                                                                        WARREN           MI      48090
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Name                          Address1                              Address2                         Address3   Address4               City                 State Zip
ABBOTT, STEVEN D              750 HAWKSMOORE DR                                                                                        CLARKSTON             MI 48348‐3630
ABBOTT, SUZETTE L             3424 BROOKGATE DR.                                                                                       FLINT                 MI 48507
ABBOTT, TAMRA S
ABBOTT, TERRY L               1012 WEST OLIVER STREET                                                                                  OWOSSO               MI   48867‐2113
ABBOTT, THOMAS E              1220 LAURIE LN E                                                                                         SAGINAW              MI   48609‐4940
ABBOTT, THOMAS K              205 N SCOTT RD APT D2                                                                                    SAINT JOHNS          MI   48879‐1672
ABBOTT, THOMAS M              712 HOLT DR                                                                                              LIBERTY              MO   64068‐2584
ABBOTT, THOMAS MICHAEL        712 HOLT DR                                                                                              LIBERTY              MO   64068‐2584
ABBOTT, THOMAS T              130 S MILLER RD                                                                                          SAGINAW              MI   48609‐5107
ABBOTT, THOMAS W              28060 AVALON RD                                                                                          GEORGETOWN           DE   19947‐6705
ABBOTT, TRAFTON H             141 VAN WORMER RD                                                                                        SAGINAW              MI   48609‐9572
ABBOTT, VICKI J               1515 SOUTH MILLER AVE                 LOT 8                                                              MARION               IN   46953
ABBOTT, VICKI J               21 ROSE HAVEN DR                                                                                         HARRINGTON           DE   19952‐2273
ABBOTT, WAYNE D               1843 TREADWELL TER                                                                                       THE VILLAGES         FL   32162‐1638
ABBOTT, WENDY L               2005 ROWLAND AVE                                                                                         ROYAL OAK            MI   48067‐3538
ABBOTT, WESLEY A              28 OAK RIDGE DR                                                                                          SHAWNEE              OK   74801
ABBOTT, WESLEY A              28 OAKRIDGE DR                                                                                           SHAWNEE              OK   74804‐3309
ABBOTT, WILLIAM               KIMMEL & SILVERMAN PC                 30 EAST BUTLER PIKE, SUITE 310                                     AMBLER               PA   19002
ABBOTT, WILLIAM H             4736 BROWN RD                                                                                            VASSAR               MI   48768‐9101
ABBOTT, WILLIAM H             GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                        NORFOLK              VA   23510‐2212
                                                                    STREET, SUITE 600
ABBOTT, WILLIAM T             1781 HIGHWAY 53 E                                                                                        DAWSONVILLE          GA   30534‐5347
ABBOTT, WILLIE                7725 W. 275 N                                                                                            SHIRLEY              IN   47384
ABBOTT,LISA A                 900 FAIRGROVE WAY                                                                                        TROTWOOD             OH   45426‐2271
ABBOUD, AMIN                  29115 LYNDON ST                                                                                          LIVONIA              MI   48154‐4567
ABBOUD, AMY E                 40373 GUILFORD                                                                                           NOVI                 MI   48375‐3616
ABBOUD, DIANA                 69 N WASHINGTON ST APT 8                                                                                 TARRYTOWN            NY   10591‐3342
ABBOUD, EDWARD G              3280 HESSEL AVE                                                                                          ROCHESTER HILLS      MI   48307‐4841
ABBOUD, EUGENIE T             29242 LORRAINE AVE                                                                                       WARREN               MI   48093‐5249
ABBOUD, RAYMOND C             26441 EUREKA DR                                                                                          WARREN               MI   48091‐1180
ABBRING, GARY B               2223 ALDEN NASH AVE NE                                                                                   LOWELL               MI   49331‐8575
ABBRING, GARY B.              2223 ALDEN NASH AVE NE                                                                                   LOWELL               MI   49331‐8575
ABBRUZZESE LEONARD (510553)   GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                                       PITTSBURGH           PA   15219

ABBRUZZESE, ANTHONY C         601 S ONONDAGA RD                                                                                        MASON                MI   48854‐9733
ABBRUZZESE, ANTHONY J         46894 FOXTAIL CT                                                                                         MACOMB               MI   48044‐3472
ABBRUZZESE, JOSEPH            32877 BRUGGEMAN DR                                                                                       WARREN               MI   48088‐5721
ABBRUZZESE, LEONARD           GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                                       PITTSBURGH           PA   15219

ABBRUZZESE, TERRY L           13118 SPECKLEDWOOD DR                                                                                    DEWITT               MI   48820‐8184
ABBS, CYNTHIA E               21602 SHADY LANE AVE                                                                                     SAINT CLAIR SHORES   MI   48080‐3565

ABBUHL, CHRIS D               1915 PORTPOOL CT                                                                                         WEST BLOOMFIELD      MI   48324‐3968

ABBY ANDERSON                 2890 GOLFHILL DR                                                                                         WATERFORD            MI   48329‐4511
ABBY B KUHMICHEL              163 REGENCY PKWY                                                                                         LA PORTE             IN   46350
ABBY BLOOMER                  4607 W COLUMBIA RD                                                                                       MASON                MI   48854‐9587
ABBY DAVIS                    440 LOS ALTOS RD                                                                                         WASKOM               TX   75692‐6616
ABBY LINES INC DBA OLE TIME   1077 HIGHWAY 80 E                                                                                        MONROE               LA   71203‐8531
ABBY PERRY                    PO BOX 724                                                                                               GLENWOOD             IL   60425‐0724
ABBY RENSBERRY                3855 S MONTANA TRL                                                                                       JANESVILLE           WI   53546‐9552
ABBY WILCOX                   1315 4TH ST                                                                                              BAY CITY             MI   48708‐6025
ABBYDINE YOHO                 8433 E 1425 NORTH RD                                                                                     FAIRMOUNT            IL   61841‐6322
ABC
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Name                                Address1                            Address2               Address3             Address4                   City              State   Zip
ABC ‐ AMERICA'S BODY COMPANY        1 ACORN DR                                                                                                 CLEVELAND          OH     44146‐5550
ABC ‐ BUCKEYE TRUCK EQUIPMENT       939 E STARR AVE                                                                                            COLUMBUS           OH     43201‐3042
ABC ‐ GREAT LAKES TRUCK EQUIPMENT   1 ACORN DR                                                                                                 OAKWOOD VILLAGE    OH     44146‐5550

ABC ‐ GREAT LAKES TRUCK EQUIPMENT
ABC ‐ LIBERTY TRUCK EQUIPMENT       2502 ROUTE 130 N                                                                                           CINNAMINSON        NJ     08077‐3019
ABC ‐ PHOENIX                       1658 DRY TAVERN RD                                                                                         DENVER             PA     17517‐8920
ABC ‐ PHOENIX
ABC 12                              WJRT‐TV                             2302 LAPEER RD                                                         FLINT              MI     48503‐4221
ABC ABC                             BBB
ABC ABC                             DSWD                                FSDFSD                 FSDFSD               SDFSDF
ABC ABC                             A CB
ABC ABC                             5151 B                                                                                                     DUBLIN            OH      43017
ABC AIR MANAGEMENT SYSTEMS          ROB DEL PAPA X235                   ABC GROUP              51 REXDALE BLVD.     GUELPH ON CANADA
ABC AIR MANAGEMENT SYSTEMS INC      110 RONSON DR                                                                   ETOBICOKE ON M9W 1B6
                                                                                                                    CANADA
ABC AIR MANAGEMENT SYSTEMS INC      51 REXDALE BLVD                                                                 TORONTO ON M9W 1P1
                                                                                                                    CANADA
ABC AUTO                            1524 CHOLETTE ST RR 3                                                           NORTH BAY ON P1B 8G4
                                                                                                                    CANADA
ABC AUTO CARE                       4745 MARKET ST                                                                                             VENTURA            CA     93003‐5701
ABC AUTO PARTS LTD                  920 W MARSHALL AVE                                                                                         LONGVIEW           TX     75604‐5125
ABC AUTO REPAIR                     712 N TIMBERLAND DR                                                                                        LUFKIN             TX     75901‐3388
ABC AUTOMOBIL‐FORMTEILE GMBH        FRANKFURTER STR 107                                                             DIEBURG HE 64807 GERMANY

ABC BARREL PRP FUND C\O ABC TRUST   201 W BIG BEAVER STE 220                                                                                   TROY               MI     48084
ACCT ADMN OFFICE
ABC CAB                             13420 WAYNE RD                                                                                             LIVONIA            MI     48150‐1246
ABC CLIMATE CONTROL SYSTEMS INC     54 BETHRIDGE RD                                                                 ETOBICOKE ON M9W 1N1
                                                                                                                    CANADA
ABC CLIMATE CONTROL SYSTEMS INC     FRMLY ABC GROUP AIR MANAGEMENT      54 BETHRIDGE                                TORONTO CANADA ON M9W
                                                                                                                    1N1 CANADA
ABC COMPUTER LEARNING               5084 SOUTH TERRACE PLAZA SUITE 13                                                                          CHATTANOOGA        TN     37412
ABC ELEVATOR INC                    PO BOX 17902                                                                                               INDIANAPOLIS       IN     46217‐0902
ABC ELEVATORS INC                   PO BOX 17902                        3091 HONEY CREEK RD                                                    INDIANAPOLIS       IN     46217‐0902
ABC ELEVATORS INC                   3091 HONEY CREEK RD, PO BOX 17902                                                                          INDIANAPOLIS       IN     46217
ABC ENTERPRISE SYSTEMS INC          2033 GATEWAY PL STE 500                                                                                    SAN JOSE           CA     95110‐3712
ABC EXPRESS INC                     PO BOX 537                                                                                                 BELOIT             WI     53512‐0537
ABC GROUP                           24133 NORTHWESTERN HWY                                                                                     SOUTHFIELD         MI     48075‐2568
ABC GROUP                           GEORGE HIGGINS X237                 EXTERIOR SYSTEMS       220 BROCKPORT ROAD   REXDALE ON CANADA
ABC GROUP                           GEORGE HIGGINS X285                                                                                        SOUTHFIELD         MI     48075
ABC GROUP                           GEORGE HIGGINS X285                 303 ORENDA ROAD WEST                        SIMCOE ON CANADA
ABC GROUP                           ATTN ANUPAM TALWAR                  2 NORELCO DR                                NORTH YORK CANADA ON M9L
                                                                                                                    2X6 CANADA
ABC GROUP EXT/ETOBIC                220 BROCKPORT ROAD                                                              ETOBICOKE ON M9W 551
                                                                                                                    CANADA
ABC GROUP EXTERIOR SYSTEMS          220 BROCKPORT ROAD                                                              ETOBICOKE ON M9W 5
                                                                                                                    CANADA
ABC GROUP EXTERIOR SYSTEMS INC      220 BROCKPORT DRIVE                                                             ETOBICOKE CANADA ON M9W
                                                                                                                    5S1 CANADA
ABC GROUP FUEL SYSTEMS INC          300 ABC BLVD                                                                                               GALLATIN           TN     37066‐3744
ABC GROUP FUEL SYSTEMS, INC.        ROB DELPAPA EXT235                  300 ABC BLVD                                                           GALLATIN           TN     37066‐3744
ABC GROUP HOLDINGS LTD              220 BROCKPORT DR                                                                ETOBICOKE ON M9W 5S1
                                                                                                                    CANADA
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Name            Address1                      Address2                     Address3              Address4                    City           State Zip
ABC GROUP INC   2 NORELCO DR                                                                     TORONTO ON M9L 1R9
                                                                                                 CANADA
ABC GROUP INC                                 2 NORELCO DR                                       TORONTO,ON,M9L
                                                                                                 1R9,CANADA
ABC GROUP INC   5263 SOUTHWAY ST SW                                                                                          CANTON         OH    44706‐1943
ABC GROUP INC   161A SNIDERCROFT RD                                                              CONCORD ON L4K 2J8
                                                                                                 CANADA
ABC GROUP INC   10 DISCO RD                                                                      ETOBICOKE ON M9W 1L7
                                                                                                 CANADA
ABC GROUP INC   110 RONSON DR                                                                    ETOBICOKE ON M9W 1B6
                                                                                                 CANADA
ABC GROUP INC
ABC GROUP INC   2 NORELCO DR                  TORONTO ON M9L 1R9                                 CANADA
ABC GROUP INC   400 ABC BLVD                                                                                                 GALLATIN        TN   37066‐3745
ABC GROUP INC   51 REXDALE BLVD                                                                  TORONTO ON M9W 1P1
                                                                                                 CANADA
ABC GROUP INC   220 BROCKPORT DR                                                                 ETOBICOKE ON M9W 5S1
                                                                                                 CANADA
ABC GROUP INC   23 DISCO RD                                                                      ETOBICOKE ON M9W 1M2
                                                                                                 CANADA
ABC GROUP INC   241 ABC BLVD                                                                                                 GALLATIN        TN   37066‐3715
ABC GROUP INC   300 ABC BLVD                                                                                                 GALLATIN        TN   37066‐3744
ABC GROUP INC   303B ORENDA RD W                                                                 BRAMPTON ON L6T 5C3
                                                                                                 CANADA
ABC GROUP INC   3325 ORLANDO DR                                                                  MISSISSAUGA ON L4V 1C5
                                                                                                 CANADA
ABC GROUP INC   54 BETHRIDGE RD                                                                  ETOBICOKE ON M9W 1N1
                                                                                                 CANADA
ABC GROUP INC   AVE NORTE 4 NO 7                                                                 SAN JUAN DEL RIO QA 76809
                                                                                                 MEXICO
ABC GROUP INC   AVE NORTE 4 NO 7              COLONIA NUEVO PARQUE                               SAN JUAN DEL RIO QA 76809
                                              INDUSTRIAL                                         MEXICO
ABC GROUP INC   BRYON STREMLER X274           ABC GROUP                    100 RONSON DRIVE      BRANTFORD ON CANADA
ABC GROUP INC   601 W WATER ST                                                                                               FREMONT         IN   46737‐2164
ABC GROUP INC   900 HYNES AVE SW                                                                                             GRAND RAPIDS    MI   49507
ABC GROUP INC   FRANKFURTER STR 107                                                              DIEBURG HE 64807 GERMANY

ABC GROUP INC   GEORGE HIGGINS                20 BRYDON DRIVE                                    REXDALE ON CANADA
ABC GROUP INC   GEORGE HIGGINS X237           EXTERIOR SYSTEMS             220 BROCKPORT ROAD    REXDALE ON CANADA
ABC GROUP INC   GEORGE HIGGINS X285           303 ORENDA ROAD WEST                               SIMCOE ON CANADA
ABC GROUP INC   JIM FRYE                      900 HYNES AVE S.W.                                                             ROMEO           MI   48065
ABC GROUP INC   JOHN SCHRAM X292              3 WATER STREET                                                                 FREMONT         IN   46737
ABC GROUP INC   JAMIE WELLS X281              AVE NORTE 4 NO 7                                   SAN JUAN DEL RIO QA 76809
                                                                                                 MEXICO
ABC GROUP INC   JOHN SCHRAM                   161A SNIDERCROFT ROAD                              CONCORD ON L4K 2J8
                                                                                                 CANADA
ABC GROUP INC   JOHN SCHRAM X292              ABC GROUP                    400 ABC BOULEVARD                                 AUBURN HILLS    MI   48326
ABC GROUP INC   JOHN SCHRAM X292              C/O DLH INDUSTRIES INC       5263 SOUTHWAY ST SW                               SHREVEPORT      LA   71108
ABC GROUP INC   PAUL HEATH                    23 DISCO ROAD                                      MISSISSAUGA ON CANADA
ABC GROUP INC   ROB DEL PAPA                  10 DISCO RD.                                       ETOBICOKE ON CANADA
ABC GROUP INC   ROB DEL PAPA                  POLYFORM ENGINEERED PRODUCTS 1 BRYDON DRIVE        SCARBOROUGH ON CANADA

ABC GROUP INC   ROB DEL PAPA X235             110 RONSON DR.                                     ETOBICOKE ON CANADA
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Name                                Address1                             Address2                        Address3            Address4                   City              State Zip
ABC GROUP INC                       ROB DEL PAPA X235                    54 BETHRIDGE ROAD                                   ONTARIO ON N9W 1N1
                                                                                                                             CANADA
ABC GROUP INC                       ROB DEL PAPA X235                    ABC GROUP                       51 REXDALE BLVD.    GUELPH ON CANADA
ABC GROUP INC                       ROB DELPAPA EXT235                   300 ABC BLVD                                                                   GALLATIN           TN   37066‐3744
ABC GROUP INTERIOR SYSTEMS          10 DISCO ROAD                                                                            ETOBICOKE ON M9W1L
                                                                                                                             CANADA
ABC GROUP INTERIOR SYSTEMS INC      10 DISCO RD                                                                              ETOBICOKE ON M9W 1L7
                                                                                                                             CANADA
ABC GROUP PRODUCT DEVELOPMENT       303B ORENDA RD W                                                                         BRAMPTON ON L6T 5C3
                                                                                                                             CANADA
ABC GROUP PRODUCT DEVELOPMENT       700 ORMONT DR                                                                            WESTON CANADA ON M9L 1S8
                                                                                                                             CANADA
ABC GROUP SALES & MARKETING         24133 NORTHWESTERN HWY                                                                                              SOUTHFIELD         MI   48075‐2550
ABC GROUP TECH CENTER               2 NORELCO DR                                                                             TORONTO ON M9L 2X6
                                                                                                                             CANADA
ABC GROUP‐CLIMATE CONTROL SYS       ROB DEL PAPA X235                    54 BETHRIDGE ROAD                                   ONTARIO ON N9W 1N1
                                                                                                                             CANADA
ABC GROUP/DISCO RD                  10 DISCO ROAD                                                                            ETOBICOKE ON M9W1L7
                                                                                                                             CANADA
ABC GROUP/ETOBICOKE                 24133 NORTHWESTERN HWY                                                                                              SOUTHFIELD         MI   48075‐2550
ABC GROUP/GALLATIN                  300 ABC BLVD                                                                                                        GALLATIN           TN   37066‐3744
ABC INSURANCE                       ATTN: DAVID KADISH                   G5465 N SAGINAW ST                                                             FLINT              MI   48505‐1535
ABC INSURANCE COMPANY
ABC INTERIOR SYSTEMS INC            10 DISCO RD PER G PECKENS                                                                ETOBICOKE CANADA ON M9W
                                                                                                                             1L7 CANADA
ABC LAMINATING SPECIALIST           100 FAIRVIEW AVE                                                                                                    SPRINGFIELD       OH    45504‐3509
ABC LIQUERS                                                              9001 S ORANGE BLOSSOM TRL                                                      ORLANDO           FL    32809
ABC MAILING SERVICE INC             1725 E 14 MILE RD STE 120                                                                                           TROY              MI    48083‐4600
ABC MAILING SERVICE INC             ATTN: CORPORATE OFFICER/AUTHORIZED   1725 E 14 MILE RD STE 120                                                      TROY              MI    48083‐4600
                                    AGENT
ABC MAIN AUTO CENTRE (7809)         1940 MAIN ST                                                                             VANCOUVER BC V5T 3B9
                                                                                                                             CANADA
ABC MOTOR FREIGHT INC               1151 EAST ST                                                                                                        FAIRPORT HARBOR   OH    44077‐5570

ABC MULTI‐FLEX PLASTIC INC.         24133 NORTHWESTERN HWY                                                                                              SOUTHFIELD         MI   48075‐2550
ABC OF HARTSVILLE, INC.             LEROY WINGATE                        SUBSIDIARY,ANDERSON BRASS CO.   151 BY‐PASS                                    SYLACAUGA          AL   35151
ABC PLASTIC MOULDING                3325 ORLANDO DR                                                                          MISSISSAUGA ON L4V 1C5
                                                                                                                             CANADA
ABC PLASTIC MOULDING                GEORGE HIGGINS                       20 BRYDON DRIVE                                     REXDALE ON CANADA
ABC PLASTIC MOULDING                ABC GROUP LIMITED                    20 BRYDON DR                                        REXDALE ON M9W 5R6
                                                                                                                             CANADA
ABC PLASTIC MOULDING & SUPREME CAST ATTN: CORPORATE OFFICER/AUTHORIZED   20 BRYDON DR                                        REXDALE ON M9W 5R6
                                    AGENT                                                                                    CANADA
ABC PLASTIC/SOUTHFLD                24133 NORTHWESTERN HWY                                                                                              SOUTHFIELD        MI    48075‐2550
ABC REFRIGERATION                                                        6619 JOY RD                                                                    EAST SYRACUSE     NY    13057
ABC RENT A CAR                      9205 BERGER RD                                                                                                      COLUMBIA          MD    21046‐1601
ABC SUPPLY COMPANY                  ROBERT KISLIA                        4 ABC DR                                                                       BELOIT            WI    53511‐4477
ABC TECH/GALLATIN                   24133 NORTHWESTERN HWY                                                                                              SOUTHFIELD        MI    48075‐2550
ABC TECH/GALLATIN                   20 BRYDON DRIVE                                                                          REXDALE ON M9W 5R6
                                                                                                                             CANADA
ABC TECH/GALLATIN                   400 ABC BLVD                                                                                                        GALLATIN           TN   37066‐3745
ABC TECHNOLOGIES INC                400 ABC BLVD                                                                                                        GALLATIN           TN   37066‐3745
ABC TECHNOLOGIES INC.               JOHN SCHRAM X292                     ABC GROUP                       400 ABC BOULEVARD                              AUBURN HILLS       MI   48326
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ABC UMFORMTECHNIK                   KOLNERSTRABE 64                                                                GEVELSBERG 58285 GERMANY

ABC WAREHOUSE                       7215 E 10 MILE RD                                                                                       CENTER LINE        MI    48015‐1431
ABC WAREHOUSE                       ATTN: MATTHEW HAUCH                   2360 W 4TH ST                                                     ONTARIO            OH    44906‐1205
ABC WEST MICHIGAN LLC               4758 DIVISION ST                                                                                        WAYLAND            MI    49348‐9773
ABC XYZ                             123                                   ASDFGHJKL                     ASDFGHJ
ABC YYYZ                            LOEFFELSTR 44
ABC‐STIFTUNG FUER LATEINAMERIKA     HAUPTSTR 2                                                                     TUTZING 82327 GERMANY
ABC‐STIFTUNG FUER LATEINAMERIKA     HAUPTSTR. 2                                                                                             TUTZING                  82327
ABC‐STIFTUNG F▄R LATEINAMERIKA      HAUPTSTR. 2                                                                                             TUTZING                  82327
ABC‐WEST MICHIGAN AUTO AUCTION      4758 DIVISION                                                                                           MOLINE              MI   49335
ABC‐WEST MICHIGAN AUTO AUCTION      4758 DIVISION STREET                                                                                    MOLINE              MI   49335
ABC/MULTIFLEX PLASTI                24133 NORTHWESTERN HWY                                                                                  SOUTHFIELD          MI   48075‐2550
ABC/REXDALE                         110 RONSON DRIVE                                                               REXDALE ON M9W 1B6
                                                                                                                   CANADA
ABCD ABCD                            25, ABCD
ABCGROUP MULTI‐FLEX                  ROB DEL PAPA X235                    110 RONSON DR.                           ETOBICOKE ON CANADA
ABCO AUTO/BROWNS SUM                 6202 TECHNOLOGY DR                                                                                     BROWNS SUMMIT       NC   27214‐9702
ABCO REFRIGERATION SUPPLY CORP       ATTN: CORPORATE OFFICER/AUTHORIZED   4970 31ST ST                                                      LONG ISLAND CITY    NY   11101‐3193
                                     AGENT
ABCO REFRIGERATION SUPPLY CORP       LONG ISLAND CITY‐MAIN OFFICE         122 QUIGLEY BLVD                                                  NEW CASTLE          DE   19720‐4104
ABCO SARL (AMERICARS AND BOATS CORP) RUE FOREST DUCOS                                                              98801 NOUMEA NEW
                                                                                                                   CALEDONIA
ABCO SECURITY SYSTEMS INC           LISKO & ERSPAMER SC                   8112 W BLUEMOUND RD STE 108                                       MILWAUKEE           WI   53213‐3356
ABCO SECURITY SYSTEMS INC           SUNSET PLAZA, SUITE 201 W229 N1433                                                                      WAUKESHA            WI   53186
                                    WESTWOOD DRIVE
ABCO/ATLANTA                        2045 PEACHTREE RD NE STE 602                                                                            ATLANTA            GA    30309‐1410
ABCS OF STEAM EQUIPMENT INC         PO BOX 1021                                                                                             FLINT              MI    48501‐1021
ABCUMBY, FREDERIC D                 PO BOX 430921                                                                                           PONTIAC            MI    48343‐0921
ABCUMBY, SHARON E                   8264 HONEYTREE BLVD                   BUILDING 54                                                       CANTON             MI    48187
ABCUMBY, SHARON E                   21126 ORCHARD ST                                                                                        DETROIT            MI    48219‐3975
ABD A ALGHANEM                      1020 CHARTER DR STE B                                                                                   FLINT              MI    48532‐3584
ABD ELHAMID, MAHMOUD                4983 SADDLE BROOK CT                                                                                    TROY               MI    48095‐5100
ABD ELHAMID, MAHMOUD                1976 FLEETWOOD DR                                                                                       GROSSE POINTE      MI    48236‐1647
                                                                                                                                            WOODS
ABDA ALGHANEM MD                    ATTN: ABDA ALGHANEM                   1020 CHARTER DR # B                                               FLINT               MI   48532‐3584
ABDALAZIZ ARIFF                     4147 ANSAR CT                                                                                           INDIANAPOLIS        IN   46254‐3119
ABDALLA ADLAN                       1463 PELLETIER ST                                                              WINDSOR ON N9B1S2
                                                                                                                   CANADA
ABDALLA, LAWRENCE H                 2701 N 33RD ST                                                                                          KANSAS CITY         KS   66104‐4165
ABDALLA, OMER H                     1318 FOXFIRE ST                                                                                         EAST LANSING        MI   48823‐1716
ABDALLA, OMER HASSAN                1318 FOXFIRE ST                                                                                         EAST LANSING        MI   48823‐1716
ABDALLAH ABE                        853 BROADWAY STE 1516                                                                                   NEW YORK            NY   10003‐4715
ABDALLAH MUHAMMAD                   7331 HOWARD CT                                                                                          FALLS CHURCH        VA   22043‐1340
ABDALLAH, ATEF M                    26871 ROCHELLE ST                                                                                       DEARBORN HTS        MI   48127‐3645
ABDALLAH, HASSAN A                  26871 ROCHELLE ST                                                                                       DEARBORN HTS        MI   48127‐3645
ABDALLAH, HASSAN M                  6233 WHITEFIELD ST                                                                                      DEARBORN HEIGHTS    MI   48127‐3012

ABDALLAH, MARK                      4760 W MARIGOLD LN                                                                                      MONEE               IL   60449‐8736
ABDALLAH, MUHAMMAD E                1702 BRIARMOOR CT                                                                                       HOUSTON             TX   77062‐2200
ABDALLAH, SAID                      5685 HUBBELL ST                                                                                         DEARBORN HTS        MI   48127‐2443
ABDALLAH, YOUSSEF S                 7025 MANOR ST                                                                                           DEARBORN            MI   48126‐1913
ABDALLAH,MUHAMMAD E                 1702 BRIARMOOR CT                                                                                       HOUSTON             TX   77062‐2200
ABDEL M ALAJAJ                      1110 S LINDEN RD STE 7                                                                                  FLINT               MI   48532‐3453
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Name                                Address1                           Address2                 Address3        Address4                    City               State Zip
ABDEL MOBLEY                        PO BOX 577                                                                                              LAKEVIEW            OH 43331‐0577
ABDEL, KIROLOSS
ABDELAZIZ KHEZAMI                   17723 E KIRKWOOD DR                                                                                     CLINTON TWP        MI    48038‐1215
ABDELFATTAH, ELVIRA                 729 CLINTON AVE                                                                                         SOUTH PLAINFIELD   NJ    07080‐1733
ABDELHADI, AWNI                     5739 WILLOW CREEK DR                                                                                    CANTON             MI    48187‐3332
ABDELKARIM ELGARHI                  43669 OAKBROOK RD                                                                                       CANTON             MI    48187‐2037
ABDELLA EYECARE PC                  ATTN: JOHN ABDELLA                 1356 S LINDEN RD                                                     FLINT              MI    48532‐4185
ABDELLA JR, DAVID M                 3007 COMANCHE AVE                                                                                       FLINT              MI    48507‐4307
ABDELLA, ANGELINE M                 9481 HEDDY DR                                                                                           FLUSHING           MI    48433‐1051
ABDELLA, FRIEDA H                   806 COTTER ST                                                                                           ESSEXVILLE         MI    48732‐1210
ABDELLA, GABRIEL M                  310 S JACKSON ST                                                                                        BATAVIA            NY    14020‐3823
ABDELLA, GARY D                     301 GEORGETOWN PKWY                                                                                     FENTON             MI    48430‐3212
ABDELLA, JOHN J                     1317 LEISURE DR                                                                                         FLINT              MI    48507‐4013
ABDELLA, NICOLE                     APT 94                             5152 MORRISH ROAD                                                    SWARTZ CREEK       MI    48473‐1805
ABDELLA, RONALD F                   806 COTTER ST                                                                                           ESSEXVILLE         MI    48732‐1210
ABDELLA, RUTH E                     321 LETA AVE                                                                                            FLINT              MI    48507‐2727
ABDELLA, SAMUEL E                   12441 E CARPENTER RD                                                                                    DAVISON            MI    48423‐9304
ABDELLA, VIRGINIA L                 1202 TAYLOR                                                                                             BAY CITY           MI    48708‐8266
ABDELLA, VIRGINIA L                 1202 TAYLOR ST                                                                                          BAY CITY           MI    48708‐8266
ABDELLA, WILLIAM C                  9481 HEDDY DR                                                                                           FLUSHING           MI    48433‐1051
ABDELLAH SUDAN                      1018 EMMA ST                                                                                            ELIZABETH          NJ    07201‐1480
ABDELMISSEH MISDARY                 29 BURGUNDY DR                                                                                          LAKE ST LOUIS      MO    63367‐1505
ABDELNOUR FRERES                    BARON STREET                                                                ALEPPO SYRIA
ABDELNOUR FRERES (LIBAN) S.A.R.L.   AVENUE DES FRANCAIS                                                         BEIRUT LEBANON
ABDELNOUR, CAROL J                  7704 DEERWOOD POINT PL                                                                                  JACKSONVILLE       FL    32256‐2818
ABDELNOUR, DAVID D                  51090 PINEWOOD DR                                                                                       MACOMB             MI    48042‐4218
ABDELNOUR, STEVEN A                 6850 PATRICK CT                                                                                         CLARKSTON          MI    48346‐2271
ABDELRAHIM, MOUIZ H                 44715 ELLERY LANE                                                                                       NOVI               MI    48377‐2562
ABDERRAHMANE CHEREF                 AVOCAT A LA COUR                   3 RUE DES FRERES OUKID   16001 ALGIERS   ALGERIA
ABDI LAWASSANI                      7043 DESMOND RD                                                                                         WATERFORD          MI    48329‐2811
ABDI VAEZY MD                       1708 FOREST DR                                                                                          CORBIN             KY    40701
ABDO KASSEM                         6217 KING ARTHUR DR                                                                                     SWARTZ CREEK       MI    48473‐8808
ABDO, KARAM M                       5717 W ROWLAND RD                                                                                       TOLEDO             OH    43613‐5434
ABDON BARAJAS                       1015 W SAM HOUSTON BLVD TRLR 109   WINTER HAVEN VILLAGE                                                 PHARR              TX    78577‐5116
ABDON C BADILLO                     1413 N GLENWOOD ST                                                                                      GRIFFITH           IN    46319
ABDON, BILLIE W                     13000 STATE ROUTE 348                                                                                   OTWAY              OH    45657‐9501
ABDON, BILLIE W                     13000 STATE RTE 348                                                                                     OTWAY              OH    45657‐9501
ABDOU DAVID J (643007)              C/O THORNTON EARLY & NAUMES        100 SUMMER ST LBBY 3                                                 BOSTON             MA    02110‐2104
ABDOU DEBAN                         4627 FOX HILL DR                                                                                        STERLING HEIGHTS   MI    48310‐3373
ABDOU, DAVID J                      THORNTON EARLY & NAUMES            100 SUMMER ST LBBY 3                                                 BOSTON             MA    02110‐2104
ABDOU, HASSEB J                     13410 LAKEBROOK DR                                                                                      FENTON             MI    48430‐8420
ABDOUL SY                           50222 MIDDLE RIVER DR                                                                                   MACOMB             MI    48044‐1209
ABDU G MUSTAFA                      19 EL KOBBA EL FIDAWIA APT. 21
ABDUALLAH, HELEN M                  2608 WHEELER ST                                                                                         INDIANAPOLIS        IN   46218‐2834
ABDUL
ABDUL AZIZ & MOHAMMED A. ALJOMAIH   P.O. BOX 467                                                                JEDDAH 21411 SAUDI ARABIA
CO
ABDUL AZIZ & MOHAMMED A. ALJOMAIH   ALJOMAIH BUILDING P.O.BOX 132                                               RIYADH 11411 SAUDI ARABIA
CO
ABDUL AZIZ, AMEENA                  43 ELMORE ST                                                                                            ROXBURY            MA    02119
ABDUL BAHOBESHI                     PO BOX 3922                                                                                             CENTER LINE        MI    48015‐0922
ABDUL BAZZI                         26250 HARRIET ST                                                                                        DEARBORN HEIGHTS   MI    48127‐4115

ABDUL DURRANI                       12217 ELDORADO DR                                                                                       STERLING HEIGHTS   MI    48312‐4037
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ABDUL HAFEEZ                      3177 SPRUCE WAY                                                                                        ATLANTA           GA     30349
ABDUL HOURANI                     7330 JONATHON ST                                                                                       DEARBORN          MI     48126‐1482
ABDUL J KNIGHT                    5620 JOYCE ANN DR                                                                                      DAYTON            OH     45415‐‐ 29
ABDUL KHAROUF                     22 MEADOW RD                                                                                           NEW CASTLE        DE     19720‐1514
ABDUL L MUQTADIR                  188 HAVERSTRAW PLACE                                                                                   SPRINGBORO        OH     45026
ABDUL M SAEED                     4032 STANLEY AVE                                                                                       ALLEN PARK        MI     48101‐3061
ABDUL MAJID ZAHID & SONS LTD.     P O BOX 257                                                                YANBU SAUDI ARABIA
ABDUL MEMON                       2760 COLGATE CT SW                                                                                     WYOMING          MI      49519‐3168
ABDUL MEMON                       PO BOX 439                                                                                             CALEDONIA        MI      49316‐0439
ABDUL MERCHANT                    15 DAUPHINE DR                                                                                         LAKE ST LOUIS    MO      63367‐1707
ABDUL MOHAMED                     6123 PEBBLESHIRE DR                                                                                    GRAND BLANC      MI      48439‐4842
ABDUL MUQTADIR                    188 HAVERSTRAW PL                                                                                      SPRINGBORO       OH      45066‐7114
ABDUL QURAISHI                    853 RAMBLEWOOD DR                                                                                      ROCHESTER        MI      48307‐6067
ABDUL R KIWAN & NAJIEH M KIWAN    ABDUL R KIWAN & NAJIEH M KIWAN     707 JACKSON BLVD                                                    BEL AIR          MD      21014
TENENT
ABDUL S QUARMILEY                 2207 DEERING AVE                                                                                       DAYTON           OH      45406
ABDUL SAEED                       4032 STANLEY AVE                                                                                       ALLEN PARK       MI      48101‐3061
ABDUL SIDDIQUI                    1363 N DRIFTWOOD AVE                                                                                   COLTON           CA      92324‐6242
ABDUL WILSON                      616 LOGAN ST                                                                                           DEFIANCE         OH      43512‐3116
ABDUL, ABDUL S                    172 MILLSTONE DR                                                                                       TROY             MI      48084‐1738
ABDUL, JOHN P                     10 MACARTHUR AVE                                                                                       CRANFORD         NJ      07016‐3352
ABDUL‐AZIZ, BASHIR                25 HILLFIELD RD                                                                                        AUBURN HILLS     MI      48326
ABDUL‐HAKIM, EESA                 1739 N 78TH ST                                                                                         KANSAS CITY      KS      66112‐2012
ABDUL‐MAJID, AHMAD                10148 CORNITH WAY                                                                                      AVON             IN      46123‐6603
ABDUL‐RAHI MAJIED                 PO BOX 310182                                                                                          FLINT            MI      48531‐0182
ABDUL‐RAHIM, AMEEN                14603 LEAVITT AVE                                                                                      DIXMOOR          IL      60426‐1047
ABDULALTIF ALISSA                 KING ABDULAZIZ/OLD AIRPORT RD                                              RIYADH SAUDI ARABIA
ABDULALTIF ALISSA                 KING ABDULLAH STREET                                                       RIYADH SAUDI ARABIA
ABDULALTIF ALISSA                 SOUTH RING ROAD                                                            RIYADH SAUDI ARABIA
ABDULALTIF ALISSA                 TAKHASSUSI                                                                 RIYADH SAUDI ARABIA
ABDULALTIF ALISSA                 SOUTH WEST RING ROAD                                                       RIYADH SAUDI ARABIA
ABDULAZIZ & MOHAMMED A ALJOMAIH   PO BOX 224                         DAMMAM 31411                            SAUDI ARAGIA SAUDI ARABIA

ABDULAZIZ HMAYED                  7559 E MORROW CIR                                                                                      DEARBORN          MI     48126‐1643
ABDULHADI T SHAMAMIT              9473 LAKESIDE DR                                                                                       YPSILANTI         MI     48197‐6173
ABDULLA MURAISI                   5552 N 10TH ST APT 204                                                                                 FRESNO            CA     93710‐6590
ABDULLA SOHAIL                    ABDULLA, SOHAIL                    PO BOX 211509                                                       AUGUSTA           GA     30917‐1509
ABDULLA, FADHELA                  PO BOX 7350                                                                SANAA YEMEN
ABDULLAH ABDULLAH                 4245 CHARLES ST                                                                                        DEARBORN         MI      48126‐3430
ABDULLAH ALP                      77 HUMMINGBIRD WAY                                                                                     WEST HENRIETTA   NY      14586‐9308
ABDULLAH FARHAT                   8431 WINSTON LN                                                                                        DEARBORN HTS     MI      48127‐1347
ABDULLAH RAFFEE MD                ATTN: ABDULLAH RAFFEE              5051 VILLA LINDE PKWY # 23                                          FLINT            MI      48532‐3449
ABDULLAH RAIDA                    9610 SALEM                                                                                             REDFORD          MI      48239‐1692
ABDULLAH SABREE                   36 MAPLE AVE                       2ND FLOOR                                                           TRENTON          NJ      08618
ABDULLAH TAHIRA D                 7622 CHEYENNE ST #A                                                                                    PITTSBURGH       PA      15218‐2251
ABDULLAH, ABDULLAH A              4245 CHARLES ST                                                                                        DEARBORN         MI      48126‐3430
ABDULLAH, AMEEN H                 28 WELLINGTON PL                                                                                       BURLINGTON       NJ      08016‐3330
ABDULLAH, DANDREA P               5464 NIGHTHAWK DR                                                                                      INDIANAPOLIS     IN      46254‐3712
ABDULLAH, EL S                    1531 SE ROYAL GREEN CIR APT R106                                                                       PORT ST LUCIE    FL      34952‐7633
ABDULLAH, ELBERT                  2709 CROSS CREEK CT                                                                                    JOLIET           IL      60435‐9352
ABDULLAH, IDA B                   PO BOX 29926                                                                                           ATLANTA          GA      30359‐0926
ABDULLAH, MASOOD B                PO BOX 9022                        ADAM OPEL RUESSELSHEIM                                              WARREN           MI      48090‐9022
ABDULLAH, NAEEM M                 2691 LARRY TIM DR                                                                                      SAGINAW          MI      48601‐5613
ABDULLAH, RAASHIDA C              PO BOX 352894                                                                                          TOLEDO           OH      43635‐2894
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Name                               Address1                           Address2                         Address3                   Address4                    City              State Zip
ABDULLAH‐RAHEEM, JENINE M          5051 WILLOUGHBY RD APT 3                                                                                                   HOLT               MI 48842‐1069
ABDULLATIF ALI ALISSA              P.O. BOX 91                        ALISSA BUILDING UNIVERSITY ST.   AL‐MALAZ                   RIYADH 11411 SAUDI ARABIA

ABDULLATIF ALISSA AUTOMOTIVE CO.   ALISSA BUILDING,UNIVERSITY ST                                                                  RIYADH 11411 SAUDI ARABIA

ABDULLATIF ALISSA AUTOMOTIVE CO.   P.O.BOX 91088                                                                                  RIYADH 11633 SAUDI ARABIA

ABDULMUJEEB, CONSTANCE             8701 ELBE TRL                                                                                                              FORT WORTH        TX    76118‐7413
ABDULNAFI, YUNIS                   179 OXFORD AVE                                                                                                             BUFFALO           NY    14209‐1213
ABDULRAB, GAFRAH                   10411 DIX                                                                                                                  DEARBORN          MI    48120‐1505
ABDUR RASHADA                      3132 DOUGLASS ST                                                                                                           SAGINAW           MI    48601‐4316
ABDURAMAN, THERESIA M              1375 HARBOR BLVD UNIT 122                                                                                                  TRENTON           MI    48183‐2175
ABDURAMAN, THERESIA M              1375 HARBOUR BLVD APT 122                                                                                                  TRENTON           MI    48183‐2175
ABDUS SALAM INTERNATIONAL          CENTRE FOR THEORETICAL PHYSICSSTRADA                                                           ITALY 34014 ITALY
                                   COSTIERA 11 TRIESTE
ABDUS‐SAMAD, MUNEERAH              1 PULASKI ST                                                                                                               ROCHESTER         NY    14621‐3525
ABDUSSALAAM S KHABIR               5900 BRIDGE RD APT 306                                                                                                     YPSILANTI         MI    48197‐7011
ABE ABRAHAM                        BEVAN & ASSOCIATES, LPA, INC.        6555 DEAN MEMORIAL PARKWAY                                                            BOSTON HTS.       OH    44236
ABE AND BARBARA SPIGELMAN          392 SUNSHINE CIRCLE                                                                                                        ENGLISHTOWN       NJ    07726
ABE ANTMAN                         CGM IRA CUSTODIAN                    10841 PINE BARK LANE                                                                  BOCA RATON        FL    33428‐2852
ABE BROOKS                         1922 CASTLE LN                                                                                                             FLINT             MI    48504‐2012
ABE BUCHBINDER                     54783 HIBISCUS DR                                                                                                          MACOMB            MI    48042‐2264
ABE CORLEY                         7603 N LYDIA AVE                                                                                                           GLADSTONE         MO    64118‐1958
ABE D PITTMON                      PO BOX 320621                                                                                                              FLINT             MI    48532‐0011
ABE GUTTMAN                        8230 BEVERLY BLVD, STE 12                                                                                                  LOS ANGELES       CA    90048
ABE HENDERSON JR                   131 TORRINGTON LN                                                                                                          WILLINGBORO       NJ    08046‐3611
ABE HERNANDEZ                      100 KING CIRCLE APT 105                                                                                                    CLOVERDALE        CA    95425
ABE KEYS                           18114 LITTLEFIELD ST                                                                                                       DETROIT           MI    48235‐1465
ABE MILECHMAN                      7 LAKESIDE DR                                                                                                              MONTICELLO        NY    12701
ABE NETTLES                        C/O WILLIAMS KHERKHER HART &         8441 GULF FREEWAY, STE 600                                                            HOUSTON           TX    77007
                                   BOUNDAS, LLP
ABE PERKINS                        2787 MAIN ST APT 308                                                                                                       BUFFALO           NY    14214‐1764
ABE SOLOMON I I I                  18551 ORLEANS ST                                                                                                           DETROIT           MI    48203‐2149
ABE THOMPSON                       378 LITTLE DRY RUN RD                                                                                                      BUTLER            TN    37640‐7445
ABE VANVOLKENBURG                  12587 BEHNING RD                                                                                                           OSSINEKE          MI    49766‐9737
ABE WASHINGTON                     496 FAIRWOOD ST                      C/O MARIAN GEORGE                                                                     INKSTER           MI    48141‐4000
ABE'S AUTO CENTER                  1161 WOODBRIDGE RD                                                                                                         RAHWAY            NJ    07065‐5516
ABE'S SERVICE CENTRE               434 WILSON AVE                                                                                 NORTH YORK ON M3H 1T6
                                                                                                                                  CANADA
ABE, DONALD C                      14860 STOLTZ RD.                                                                                                           DIAMOND           OH    44412‐9611
ABE, KAZUYOSHI                     3525 EVERETT DR                                                                                                            ROCHESTER HILLS   MI    48307‐5066
ABEARE, CHRISTOPHER A              504 EAST RANKIN STREET                                                                                                     FLINT             MI    48505‐4390
ABEARE, JEFFERY V                  2051 ANOKA ST                                                                                                              FLINT             MI    48532‐4510
ABEARE, JEFFERY V                  2136 MONACO ST                                                                                                             FLINT             MI    48532
ABEARE, KENNETH H                  5603 BRIGHAM RD                                                                                                            GOODRICH          MI    48438‐8901
ABEBE AFEWERKI                     ABEBE, AFEWERKI                    JAMES BOLAN                      O'KOON, HUNTERMEISTER,                                 INDIANAPOLIS      IN    46204
                                                                                                       101 W. OHIO STE. STE 100
ABEBE, AFEWERKI                    JAMES BOLAN                        O'KOON, HUNTERMEISTER, 101 W.                                                           INDIANAPOLIS       IN   46204
                                                                      OHIO STE. STE 100
ABEBE, AFEWERKI                    1668 PURCELL CIR                                                                                                           INDIANAPOLIS       IN   46231‐3220
ABECIA, ALEJANERO
ABECIA, ANGELINA
ABECIA, LIBY
ABECIA, ROBERTO
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Name                               Address1                          Address2                      Address3                     Address4               City                State Zip
ABED DIKHO                         6152 LYDIA CT                                                                                                       WEST BLOOMFIELD      MI 48322‐1917

ABED QURESHI                       210 BOXGROVE RD                                                                                                     ALPHARETTA          GA   30022‐4439
ABED SEMSAIZADEH                   ATTN: ROBERT W PHILLIPS           SIMMONS BROWDER GIANARIS      707 BERKSHIRE BLVD, PO BOX                          EST ALTON           IL   62024
                                                                     ANGELIDES & BARNERD LLC       521
ABED, ANTHONY M                    39692 BALBOA DR                                                                                                     STERLING HEIGHTS    MI   48313‐4821
ABED, DAVID M                      5149 KIMBERLY DR                                                                                                    GRAND BLANC         MI   48439‐5159
ABED, EARLENE                      35954 SCONE                                                                                                         LIVONIA             MI   48154‐5264
ABED, EARLENE                      405 WALNUT DRIVE                                                                                                    SOUTH LYON          MI   48178‐9042
ABED, STEPHEN M                    25536 GREENLAWN CT                                                                                                  TAYLOR              MI   48180‐3263
ABED, WILLIAM A                    385 PALMETTO RD                                                                                                     LEWISBURG           TN   37091‐4932
ABEDIN, MOHAMMED Z                 3411 CONNORS DR                                                                                                     ROCHESTER HLS       MI   48307‐5076
ABEDNEGO ENVIRONMENTAL SVCS LLC

ABEE, I F                          12153 MARSHALL RD                                                                                                   MONTROSE            MI   48457
ABEE, I F                          5191 WOODHAVEN COURT              APT 106                                                                           FLINT               MI   48532
ABEE, KATHY J                      1026 W MANDEVILLE ST                                                                                                FLINT               MI   48507‐3354
ABEI GABRIEL                       15875 SCHULTZ ST                                                                                                    CLINTON TOWNSHIP    MI   48038‐4164

ABEL ALVAREZ                       PO BOX 2234                                                                                                         KANSAS CITY         KS   66110‐0234
ABEL AMADOR JR                     1160 S BROADWAY ST                                                                                                  HUNTINGTON          IN   46750‐4055
ABEL ANZALDUA                      4581 E GRESHAM‐BOX 24                                                                                               POTTERVILLE         MI   48876
ABEL ARIAS                         4007 STILLWELL AVE                                                                                                  LANSING             MI   48911‐2186
ABEL CHAVIRA                       3929 THORNBURY PL                                                                                                   FORT WAYNE          IN   46804‐2643
ABEL CHEVROLET‐PONTIAC‐BUICK CO    JOHN ABEL                         280 N FRONT ST                                                                    RIO VISTA           CA   94571‐1420
ABEL CHEVROLET‐PONTIAC‐BUICK CO    280 N FRONT ST                                                                                                      RIO VISTA           CA   94571‐1420
ABEL CHEVROLET‐PONTIAC‐BUICK CO.   280 N FRONT ST                                                                                                      RIO VISTA           CA   94571‐1420
ABEL CONSTRUCTION CO INC           3401 BASHFORD AVENUE CT                                                                                             LOUISVILLE          KY   40218‐3162
ABEL CONSTRUCTION COMPANY INC      3401 BASHFORD AVENUE CT                                                                                             LOUISVILLE          KY   40218‐3162
ABEL DAVIS                         8300 HAWTHORNE AVE                                                                                                  RAYTOWN             MO   64138‐3384
ABEL F, WILMA D                    1408 DECKARD DRIVE                                                                                                  MITCHELL            IN   47446‐1047
ABEL F, WILMA D                    1408 W DECKARD DR                                                                                                   MITCHELL            IN   47446‐1047
ABEL FLORES                        60 LAKEVIEW DR                                                                                                      DEFIANCE            OH   43512‐9056
ABEL FLORES                        6310 E 150TH TER                                                                                                    GRANDVIEW           MO   64030‐4516
ABEL FREDERICK J (428386)          GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                       NORFOLK             VA   23510
                                                                     STREET, SUITE 600
ABEL FUENTES                       24 SOUTH ST                                                                                                         BRASHER FALLS       NY   13613‐3149
ABEL GARZA                         1801 SANTA MARIA COURT                                                                                              GRAND PRAIRIE       TX   75051‐4107
ABEL GONZALES                      400 SAN JUAN HOLLISTER RD         SPACE A‐36                                                                        SAN JUAN BAUTISTA   CA   95045

ABEL GRAHAM                        100 E CHERRY LN # 2                                                                                                 STATE COLLEGE       PA   16803‐2933
ABEL GUAJARDO                      4240 JOYCE AVE                                                                                                      WATERFORD           MI   48329‐4113
ABEL GUZMAN                        1629 SWEETBRIER ST                                                                                                  PALMDALE            CA   93550‐3921
ABEL GUZMAN                        PO BOX 341053                                                                                                       ARLETA              CA   91334‐1053
ABEL HERNANDEZ                     4632 SOUTHERN AVE                                                                                                   SHREVEPORT          LA   71106‐1303
ABEL J RODRIGUEZ                   8907 SUMMERDALE LN                                                                                                  CONROE              TX   77302‐3487
ABEL JAMES                         ABEL, JAMES                       825 DESOTA BLVD N                                                                 NAPLES              FL   34120‐9018
ABEL JIMENEZ                       15580 OLDEN ST                                                                                                      SYLMAR              CA   91342‐1242
ABEL JR, HARRY                     619 W 29TH ST                                                                                                       INDIANAPOLIS        IN   46208‐6009
ABEL LACKEY                        17203 BRANGUS RD                                                                                                    SHAWNEE             OK   74801‐8535
ABEL MARTIN JR                     3844 WEBBER ST                                                                                                      SAGINAW             MI   48601‐4142
ABEL MAYES                         923 E 34TH ST                                                                                                       INDIANAPOLIS        IN   46205‐3801
ABEL MONTEIRO                      13120 STEELECROFT PKWY            APT 106                                                                           CHARLOTTE           NC   28278‐7515
ABEL OSUNA                         8695 W SUNDANCE DR                                                                                                  QUEEN CREEK         AZ   85242‐9259
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Name                Address1                              Address2                       Address3   Address4               City               State   Zip
ABEL PINTO          4239 FERREIRA RANCH DR                                                                                 TURLOCK             CA     95382‐7277
ABEL PUMPS LP       79 N INDUSTRIAL                                                                                        SEWICKLEY           PA     15143
ABEL RAZO           4321 N ASHTREE ST                                                                                      MOORPARK            CA     93021‐2129
ABEL ROBERT C       101 N HARDIN DR                                                                                        COLUMBIA            TN     38401‐2027
ABEL ROBINSON       213 WALL RD                                                                                            HUNTSVILLE          AL     35811
ABEL RODRIGUEZ      8907 SUMMERDALE LN                                                                                     CONROE              TX     77302‐3487
ABEL SR, WAYNE C    PO BOX 221                                                                                             RAIFORD             FL     32083‐0221
ABEL SWINDALL       525 W MILL ST                                                                                          MEDINA              OH     44256‐2320
ABEL TIMOTHY M      DBA FLEXTECH                          301 3RD ST                                                       DOWNERS GROVE        IL    60515‐5264
ABEL TORRES         346 E 205TH ST APT 2B                                                                                  BRONX               NY     10467‐4420
ABEL VILLAGRANA     941 OAK CREST DR                                                                                       GARDNER             KS     66030‐9482
ABEL WILLIAMS       164 COLUMBIA #438                                                                                      MAGNOLIA            AR     71753
ABEL, ANGELA K.     8412 BURR OAK CT                                                                                       ALVARADO            TX     76009‐4547
ABEL, ANGELINA L    135 STAFFORD RD                                                                                        BURLINGTON          CT     06013‐2515
ABEL, BERNARD E     5327 SKIPPING STONE DR                                                                                 INDIANAPOLIS        IN     46237‐5044
ABEL, CALVIN F      5696 JENNIFER DR W                                                                                     LOCKPORT            NY     14094‐6010
ABEL, CAROL M       RT #2 1606 THRUSH RD                                                                                   CRESTLINE           OH     44827‐9682
ABEL, CLAIR E       2180 ALGER RD                                                                                          LAKEWOOD            OH     44107‐5849
ABEL, CYNTHIA D     10668 S 300 E                                                                                          MARKLEVILLE         IN     46056‐9416
ABEL, DAVID M       11348 HERON PASS                                                                                       FISHERS             IN     46037‐8689
ABEL, DEBORAH J     2121 E PHELPS RD                                                                                       LAKE CITY           MI     49651‐9728
ABEL, DIANE E       583 BIRCH RD.                                                                                          XENIA               OH     45385
ABEL, DOLORES S     5162 MONTGOMERY ROAD                                                                                   MARLETTE            MI     48453‐8451
ABEL, DORIS M       4951 11 MILE RD NE                    RM 2                                                             ROCKFORD            MI     49341
ABEL, DOROTHY A     14200 BALDWIN MILL RD                                                                                  BALDWIN             MD     21013‐9003
ABEL, DOROTHY E     1228 TIMBER CLIMB DR                                                                                   AVON                IN     46123‐8066
ABEL, DOUGLAS E     10927 PAULDING RD                                                                                      NEW HAVEN           IN     46774‐9319
ABEL, EDWARD E      5162 MONTGOMERY RD                                                                                     MARLETTE            MI     48453‐8451
ABEL, EDWARD M      6984 BROWN HOLLOW RD                                                                                   LYLES               TN     37098‐1560
ABEL, FREDERIC R    5482 REYNOLDS RD                                                                                       MARLETTE            MI     48453‐9347
ABEL, FREDERICK     GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                      NORFOLK             VA     23510‐2212
                                                          STREET, SUITE 600
ABEL, FREIDA P      8207 SECOR DR                                                                                          LAMBERTVILLE       MI      48144‐9701
ABEL, GARY F        PO BOX 352                                                                                             WENTZVILLE         MO      63385‐0352
ABEL, GARY F        403 BRIAN CT                                                                                           WENTZVILLE         MO      63385
ABEL, GLENN E       135 STAFFORD RD                                                                                        BURLINGTON         CT      06013‐2515
ABEL, GORDON F      8183 WINDING DR SW                                                                                     BYRON CENTER       MI      49315‐8946
ABEL, GRAHAM S      2825 TALL OAKS CT APT 25                                                                               AUBURN HILLS       MI      48326‐4126
ABEL, JAMES         825 DESOTO BLVD N                                                                                      NAPLES             FL      34120‐9018
ABEL, JAMES M       4116 YORKTOWN DR APT C                                                                                 INDIANAPOLIS       IN      46235
ABEL, JAMES R       15 GALLATIN AVE                                                                                        FAIRCHANCE         PA      15436‐1206
ABEL, JAMES R       41024 CALLA LILY ST                                                                                    INDIAN LAND        SC      29707‐5815
ABEL, JEAN R        295 MILKY WAY DR                                                                                       PULASKI            TN      38478‐7560
ABEL, JENNIFER      924 W CABRIOLET                                                                                        PENDLETON          IN      46064‐8832
ABEL, JENNIFER N.   924 W CABRIOLET                                                                                        PENDLETON          IN      46064‐8832
ABEL, JERRY M       5245 E EDGEWOOD AVE                                                                                    INDIANAPOLIS       IN      46237‐2616
ABEL, JOHN F        140 PROSPECT ST                                                                                        EAST STROUDSBURG   PA      18301‐2525

ABEL, JOSEPH H      4121 CAMELOT BLVD                                                                                      ANDERSON            IN     46011‐9099
ABEL, KEITH D       GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                                     PITTSBURGH          PA     15219

ABEL, KEITH D       GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                                       SAGINAW             MI     48604‐2602
                                                        260
ABEL, KENNETH J     110 CANNONBURY CT APT D                                                                                KETTERING          OH      45429‐2121
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Name                   Address1                      Address2              Address3          Address4               City             State   Zip
ABEL, LEON J           3689 GENESEE ST                                                                              BUFFALO           NY     14225‐3523
ABEL, LEON JOSEPH      3689 GENESEE ST                                                                              BUFFALO           NY     14225‐3523
ABEL, LISA M           114M N WINTER ST                                                                             YELLOW SPRINGS    OH     45387
ABEL, MARK A           1414 LONGFELLOW AVE                                                                          ROYAL OAK         MI     48067‐4500
ABEL, MARY B           12179 NEW ZION RD                                                                            CRYSTAL SPGS      MS     39059‐8964
ABEL, MARY E           303 BELMONT DR                                                                               MARSHALL          TX     75672‐2277
ABEL, MARY E           303 BELMONT                                                                                  MARSHALL          TX     75670
ABEL, MARY ELIZABETH   303 BELMONT DR                                                                               MARSHALL          TX     75672‐2277
ABEL, MARY P           8183 WINDING DR SW                                                                           BYRON CENTER      MI     49315‐8946
ABEL, MICHAEL F        2125 COOLRIDGE RD                                                                            HOLT              MI     48842‐1423
ABEL, MICHAEL F        6609 MULLIKEN RD                                                                             CHARLOTTE         MI     48813‐8812
ABEL, NORMAN E         2421 WASHINGTON AVE                                                                          BEDFORD           IN     47421‐4726
ABEL, NORMAN G         8148 KLONDIKE RD                                                                             DITTMER           MO     63023‐2300
ABEL, OTIS P           4742 PRIMROSE AVE                                                                            INDIANAPOLIS      IN     46205‐2133
ABEL, RICHARD C        5229 EAST THUNDER HAWK ROAD                                                                  CAVE CREEK        AZ     85331‐5593
ABEL, RICHARD W        2338 LINDA DRIVE NORTHWEST                                                                   WARREN            OH     44485‐1705
ABEL, ROBERT C         101 N HARDIN DR                                                                              COLUMBIA          TN     38401‐2027
ABEL, ROBERT F         265 REHOBETH WAY                                                                             FAYETTEVILLE      GA     30214‐7426
ABEL, ROBERT M         2215 LA SALLE AVE                                                                            NIAGARA FALLS     NY     14301‐1415
ABEL, ROGER L          148 WINDBROOK CT              C/O JOYCE L WEIMER                                             ELYRIA            OH     44035‐1431
ABEL, SCOTT C          825 POPPY HILLS WAY                                                                          BOWLING GREEN     KY     42104‐5555
ABEL, THOMAS E         1519 E 46TH ST                                                                               INDIANAPOLIS      IN     46205‐2116
ABEL, THOMAS P         1544 JOANNE CIR                                                                              LEWISBURG         TN     37091
ABEL, THOMAS R         710 ARLINGTON BLVD                                                                           NEWTON FALLS      OH     44444‐8712
ABEL, WARREN D         11426 BASKERVILLE RD                                                                         JACKSONVILLE      FL     32223‐1366
ABEL, WILLIAM R        7 COVENTRY CT                                                                                BERLIN            MD     21811‐1614
ABEL, WILLIAM R        16 SPRUCE ST APT 2                                                                           LOCKPORT          NY     14094‐4922
ABEL‐WOMACK            MARK BAILEY                   1 INTERNATIONAL WAY                                            LAWRENCE          MA     01843‐1065
ABELA, JAN M           255 E BENNINGTON RD                                                                          OWOSSO            MI     48867‐9712
ABELA, JOHN J          5745 LONYO ST                                                                                DETROIT           MI     48210‐1838
ABELA, JOHN JOSEPH     5745 LONYO ST                                                                                DETROIT           MI     48210‐1838
ABELA, JOHN M          3465 HIGHWAY 105                                                                             TREZEVANT         TN     38258‐5430
ABELARDO ARAMBULA      8080 5 POINT HWY 5                                                                           EATON RAPIDS      MI     48827
ABELARDO CALDERON      8918 BEVERLY RD                                                                              PICO RIVERA       CA     90660‐2321
ABELARDO COLON         127 VICTORY DR                                                                               PONTIAC           MI     48342‐2563
ABELARDO DIAZ JR.      3909 BILLIE DR                                                                               WICHITA FALLS     TX     76306‐2204
ABELARDO FRIAS         9402 W SHADY GROVE CT                                                                        WHITE LAKE        MI     48386‐2063
ABELARDO QUIJANO       9328 INVERNESS RD                                                                            GRAND BLANC       MI     48439‐9564
ABELARDO SIERRA        916 WASHINGTON AVE                                                                           DEFIANCE          OH     43512‐2821
ABELARDO TAMEZ         5356 LAPEER RD                                                                               BURTON            MI     48509‐2229
ABELARDO TORRES        135 STODDARD DR APT 230                                                                      MERIDEN           CT     06451‐3752
ABELARDO VILA          1911 TOWNER LN                                                                               GLENDALE HTS       IL    60139‐2153
ABELE III, PHILIP G    6700 LOCUSTVIEW DR                                                                           DAYTON            OH     45424‐2723
ABELE, BETTY P         1769 GONDERT AVE                                                                             DAYTON            OH     45403‐3416
ABELE, DEBORAH J       6700 LOCUSTVIEW DR                                                                           HUBER HEIGHTS     OH     45424‐2723
ABELE, DEBORAH JEAN    6700 LOCUSTVIEW DR                                                                           HUBER HEIGHTS     OH     45424‐2723
ABELE, MARK R          30224 FLORENCE ST                                                                            GARDEN CITY       MI     48135‐2630
ABELE, PHILIP          14300 SUNSET ST                                                                              LIVONIA           MI     48154‐4364
ABELE, PHILIP
ABELE, WANDA C         172 N. DIAMOND MILL RD.                                                                      NEW LABANON      OH      45345‐5345
ABELE, WANDA W         708 HEDWICK                                                                                  NEW CARLISLE     OH      45344‐2617
ABELE, WANDA W         708 HEDWICK ST                                                                               NEW CARLISLE     OH      45344‐2617
ABELEAN HINTON         1131 WESTMORELAND AVE                                                                        LANSING          MI      48915‐2166
ABELIA M PALOMARES     2714 EATON PL                                                                                FLINT            MI      48506‐1316
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Name                               Address1                        Address2                Address3        Address4                 City                 State   Zip
ABELIA PALOMARES                   2714 EATON PL                                                                                    FLINT                 MI     48506‐1316
ABELINA SEPULVEDA                  4509 YOUNG LN                                                                                    LAKE CHARLES          LA     70605‐5441
ABELINO CINTRON                    1902 CARTIER ST                                                                                  FLINT                 MI     48504‐4838
ABELL HUDSON JR                    5658 LILIAN AVE                                                                                  SAINT LOUIS           MO     63120‐2329
ABELL JR, JOHN P                   5017 RAVEN BRANCH RD                                                                             DEL RIO               TN     37727‐2341
ABELL JR, JOSEPH C                 1606 GEORGE WASHINGTON DR                                                                        DAYTON                OH     45432‐2512
ABELL PEST CONTROL INC             20‐190 COLONNADE RD             NEPEAN CANADA ONTARIO   K2E 7J5         CANADA
ABELL PEST CONTROL INC             1032 N CROOKS RD STE F                                                                           CLAWSON              MI      48017‐1080
ABELL, DAVID W                     1604 CREEKRIDGE DR                                                                               KELLER               TX      76248‐6851
ABELL, FRANK A                     41 SW MINSTER DR                                                                                 SOUTHMPTON           NJ      08088
ABELL, FRANK A                     41 WESTMINSTER DR S                                                                              SOUTHAMPTON          NJ      08088‐1025
ABELL, GAROLD W                    5252 E DAYHUFF RD                                                                                MOORESVILLE          IN      46158‐6721
ABELL, GARY W                      743 CASSVILLE RD                                                                                 KOKOMO               IN      46901‐5905
ABELL, JAMES E                     906 CORAL CT                                                                                     NEW BERN             NC      28560‐9731
ABELL, JAMES R                     22750 COLUMBIA ST                                                                                DEARBORN             MI      48124‐3419
ABELL, JEFFREY A                   3521 BLUE HERON LN                                                                               ROCHESTER HILLS      MI      48309‐4514
ABELL, KERMIT L                    4482 E COUNTY ROAD 550 N                                                                         PITTSBORO            IN      46167‐9384
ABELL, LILLIAN                     4351 23 AVE S W                                                                                  NAPLES               FL      34116
ABELL, LILLIAN                     4351 23RD AVE SW                                                                                 NAPLES               FL      34116‐7009
ABELL, LISA L                      4145 WILD MEADOWS DR                                                                             MEDINA               MN      55340‐4502
ABELL, LISA M                      1082 MANDERLY DR                                                                                 MILFORD              MI      48381‐1306
ABELL, RICHARD W                   265 PESARO DR                                                                                    NORTH VENICE         FL      34275‐6669
ABELL, STEVEN L                    4727 FARNSWORTH ST                                                                               INDIANAPOLIS         IN      46241‐5641
ABELL, STEVEN L.                   4727 FARNSWORTH ST                                                                               INDIANAPOLIS         IN      46241‐5641
ABELL, WILLIAM L                   5050 W MINNESOTA ST                                                                              INDIANAPOLIS         IN      46241‐4429
ABELLA, JACQUELINE J               1000 COLONY PTE CIR #221                                                                         PEMBROKE PINES       FL      33026
ABELLA, LOUIS M                    22024 EVERGREEN ST                                                                               SAINT CLAIR SHORES   MI      48082‐1939

ABELLA, PIO R                      5245 RHOADS AVE                                                                                  SANTA BARBARA        CA      93111‐2427
ABELLARD HEROLD                    941 MAGENTA ST                                                                                   BRONX                NY      10469‐3713
ABELLI, UGO R                      2 HILLSIDE RD                                                                                    NATICK               MA      01760‐2110
ABELLO ADA AMIONE BERNARDINO       VIA TRIESTE 3                                                           12037 SALUZZO CN ITALY
ABELLO, ALBERT                     1200 SW 112TH PL                                                                                 OKLAHOMA CITY        OK      73170‐4410
ABELLO, ALBERT J                   PO BOX 1365                                                                                      TUTTLE               OK      73089
ABELLO, ALICE J                    103 SANDERS                                                                                      TUTTLE               OK      73089‐8575
ABELLO, HILDA M                    1200 SW 112TH PL                                                                                 OKLAHOMA CITY        OK      73170‐4410
ABELLO, MARK A                     108 RED BUD DR                                                                                   TUTTLE               OK      73089‐8898
ABELMAN FRAYNE & SCHWAB            666 THIRD AVENUE                                                                                 NEW YORK             NY      10017
ABELMAN FRAYNE & SCHWAB            666 3RD AVE FL 10                                                                                NEW YORK             NY      10017‐4046
ABELN, DENNIS H                    1737 ORLETTO WAY                                                                                 SAINT LOUIS          MO      63138‐1265
ABELOFF BUICK‐PONTIAC‐GMC‐NISSAN   RANDY MOTTS*                    1167 N 9TH ST                                                    STROUDSBURG          PA      18360‐1101

ABELOFF BUICK‐PONTIAC‐GMC‐NISSAN   1167 N 9TH ST                                                                                    STROUDSBURG           PA     18360‐1101

ABELOFF PONTIAC, INC.              RANDY MOTTS*                    1167 N 9TH ST                                                    STROUDSBURG           PA     18360‐1101
ABELS, BENJAMIN L                  3725 SHANNON DR                                                                                  FORT WAYNE            IN     46835‐2150
ABELS, DANIEL W                    2483 DOUBLE BRANCH RD                                                                            COLUMBIA              TN     38401‐6166
ABELS, DAVID                       729 LOUIE SMITH RD                                                                               WILLIAMS              IN     47470‐8759
ABELS, JAMES W                     662 VEREDA DEL CIERVO                                                                            GOLETA                CA     93117‐5327
ABELS, PATRICIA A.                 2483 DOUBLE BRANCH RD                                                                            COLUMBIA              TN     38401‐6166
ABELS, ROBERTA B                   3380 WALNUT ST                                                                                   EAST TAWAS            MI     48730‐9451
ABELS, SHARON L                    2637 W ISABELLA ROAD                                                                             MIDLAND               MI     48640‐9183
ABELS, THEKLA                      22 RADNOR CR                                                                                     GROSSE PTE FARMS      MI     48236‐3813
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Name                          Address1                             Address2                       Address3         Address4                 City               State Zip
ABELS, THEKLA                 22 RADNOR CIR                                                                                                 GROSSE POINTE       MI 48236‐3813
                                                                                                                                            FARMS
ABEN, DAVID                   PO BOX 2156                                                                                                   APEX               NC   27502‐1198
ABENAAMOAH DOSOO              140 VIRGINIA PARK ST                                                                                          DETROIT            MI   48202‐2010
ABEND, DOROTHY L              PO BOX 1801                                                                                                   TAYLOR             MI   48180‐5701
AB╔NEX CAPITAL                FORMERLY ABN AMRO CAPITAL FRANCE     ATTN: OLIVIER NEMSGERN, J╔R╘ME 23, RUE BALZAC   75008 PARIS, FRANCE
                                                                   VANDERMARCQ
ABENT, MARK J                 12058 BERTHA ST                                                                                               CERRITOS           CA   90703‐7519
ABER AUTOMOTIVE INC           1023 BLACHLEYVILLE RD                                                                                         WOOSTER            OH   44691‐9702
ABER JR, CLIFFORD L           2810 W CREEK RD                                                                                               NEWFANE            NY   14108‐9754
ABER'S GARAGE, INC.           DANNY ABER                           1729 CLAREMONT AVE                                                       ASHLAND            OH   44805‐3538
ABER'S GARAGE, INC.           1729 CLAREMONT AVE                                                                                            ASHLAND            OH   44805‐3538
ABER, EARL D                  11435 LAUGHMAN RD                                                                                             LAURA              OH   45337‐9732
ABER, ROSEMARY G              3151 KERRY DR                                                                                                 BEAVERCREEK        OH   45434‐6372
ABER, TRACEY L                106 RAISIN CIRCLE                                                                                             DUNDEE             MI   48131‐9539
ABERCROMBIE CHEVROLET, INC.   ALVIN ABERCROMBIE                    PO BOX 1048                                                              HARTSELLE          AL   35640
ABERCROMBIE CHEVROLET, INC.   PO BOX 1048                                                                                                   HARTSELLE          AL   35640
ABERCROMBIE HAROLD KEITH      ABERCROMBIE, HAROLD KEITH            4872 BOB BRILL RD                                                        BESSEMER           AL   35022
ABERCROMBIE, ANNE H           249 OOTSIMA WAY                                                                                               LOUDON             TN   37774‐2820
ABERCROMBIE, BETTY J          472 FLINT STREET                                                                                              ROCHESTER          NY   14611‐3625
ABERCROMBIE, BETTY J          472 FLINT ST                                                                                                  ROCHESTER          NY   14611‐3625
ABERCROMBIE, CHARLENE L       109 OWEN, 2E                                                                                                  DETROIT            MI   48202
ABERCROMBIE, CHRIS            3301 WALLACE CREEK RD                                                                                         HEALDSBURG         CA   95448‐8137
ABERCROMBIE, DAVID L          7116 LUKE AVE                                                                                                 BAKERSFIELD        CA   93308
ABERCROMBIE, ERNEST W         5405 HULSEY CIR                                                                                               GAINESVILLE        GA   30504‐5105
ABERCROMBIE, ESTELLA A        9950 62 TERR N                       A 104                                                                    ST PETERSBURG      FL   33708‐3576
ABERCROMBIE, ESTELLA A        9950 62ND TER N APT 104                                                                                       SAINT PETERSBURG   FL   33708

ABERCROMBIE, FRANK W          PO BOX 525                                                                                                    DAWSONVILLE        GA   30534‐0010
ABERCROMBIE, GALE L           4112 WOODLARK DR                                                                                              TAMPA              FL   33624‐1342
ABERCROMBIE, HUBERT           BARTON & WILLIAMS                    3007 MAGNOLIA ST                                                         PASCAGOULA         MS   39567‐4126
ABERCROMBIE, JAMES S          1480 HUEY RD                                                                                                  DOUGLASVILLE       GA   30134‐3807
ABERCROMBIE, KATHRYN K        2205 CLAIRMONT CIR                   C/O GLADYS K. MCDONALD                                                   AUBURN             AL   36830‐6630
ABERCROMBIE, KENT D           5901 N CAMINO HOMBRE DE ORO                                                                                   TUCSON             AZ   85718‐4512
ABERCROMBIE, MARTHA           1041 PRINCE                                                                                                   MILFORD            MI   48381‐1774
ABERCROMBIE, MARTHA           1041 PRINCE ST                                                                                                MILFORD            MI   48381‐1774
ABERCROMBIE, RALPH L          16015 FM 362 S #1                                                                                             WALLER             TX   77484
ABERCROMBIE, ROBERT C         9340 MOON RD                                                                                                  SALINE             MI   48176
ABERCROMBIE, ROSA M           268 RIVER MIST CIR                                                                                            JEFFERSON          GA   30549‐8623
ABERCROMBIE, ROY M            2674 COUNTY ROAD 129                                                                                          WEDOWEE            AL   36278‐7206
ABERCROMBIE, SANDRA K         18218 PARADISE MOUNTAIN RD SPC 127                                                                            VALLEY CENTER      CA   92082‐7014

ABERCROMBIE, WANDA M          115 KENSETT AVE                                                                                               CHARLOTTE          NC   28214‐1242
ABERCROMBIE, WILLIAM R        1140 SUNSET DR                                                                                                ORWIGSBURG         PA   17961
ABERDEEN EXPRESS INC          210 BUDIG DR                         PO BOX 465                                                               ABERDEEN           OH   45101
ABERDEEN EXPRESS INC          PO BOX 691132                                                                                                 CINCINNATI         OH   45269‐0001
ABERDEEN MEDICAL SER          PO BOX 822443                                                                                                 PHILADELPHIA       PA   19182‐2443
ABERG BETH                    1900 VIRGINIA AVENUE                                                                                          MC LEAN            VA   22101‐4936
ABERL, ROBERT V               129 NORTHDALE DR                                                                                              TOLEDO             OH   43612‐3615
ABERLE TIMOTHY                1451 NORTHEAST WINDERMERE DR                                                                                  TREMONT            IL   61568‐9769
ABERLE'S SHOP                 108 5TH AVE                                                                                                   EDGELEY            ND   58433
ABERMAN MARY ANN              609 LAKESIDE DR                                                                                               ROCK HILL          SC   29730‐6109
ABERNATHEY JR, HUBERT C       686 HARBOR DR                                                                                                 LEBANON            OH   45036‐2706
ABERNATHY DEBORAH             3425 STEWART CIR                                                                                              WACO               TX   76708‐1035
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Name                                  Address1                         Address2                        Address3   Address4               City         State   Zip
ABERNATHY I I, WILLIAM L              PO BOX 353                                                                                         LENNON        MI     48449
ABERNATHY III, NORMAN                 16861 WOODSIDE DR                                                                                  NEWALLA       OK     74857‐1331
ABERNATHY JOANN                       11411 TERRILL RIDGE DR                                                                             DAVIDSON      NC     28036‐7705
ABERNATHY JR, RICHARD C               2216 E OUTER DR                                                                                    DETROIT       MI     48234‐1862
ABERNATHY MINNIE                      2206 CENTERWOOD ST                                                                                 BURTON        MI     48509‐1007
ABERNATHY PAUL (421793)               BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                                     NORTHFIELD    OH     44067
                                                                       PROFESSIONAL BLDG
ABERNATHY REGINALD LONZELL (431962)   WEITZ & LUXENBERG                180 MAIDEN LANE                                                   NEW YORK      NY     10038

ABERNATHY REGINALD LONZELL (431962) ‐ WEITZ & LUXENBERG                180 MAIDEN LANE                                                   NEW YORK      NY     10038
AGEE DAVID
ABERNATHY REGINALD LONZELL (431962) ‐ WEITZ & LUXENBERG                180 MAIDEN LANE                                                   NEW YORK      NY     10038
ALANIZ VICENTE
ABERNATHY REGINALD LONZELL (431962) ‐ WEITZ & LUXENBERG                180 MAIDEN LANE                                                   NEW YORK      NY     10038
ALPHIN DOUGLAS WADE
ABERNATHY REGINALD LONZELL (431962) ‐ WEITZ & LUXENBERG                180 MAIDEN LANE                                                   NEW YORK      NY     10038
ARRINGTON
ABERNATHY REGINALD LONZELL (431962) ‐ WEITZ & LUXENBERG                180 MAIDEN LANE                                                   NEW YORK      NY     10038
BAILEY SAMUEL
ABERNATHY REGINALD LONZELL (431962) ‐ WEITZ & LUXENBERG                180 MAIDEN LANE                                                   NEW YORK      NY     10038
BANKSTON JOHN
ABERNATHY REGINALD LONZELL (431962) ‐ WEITZ & LUXENBERG                180 MAIDEN LANE                                                   NEW YORK      NY     10038
BATES LEONARD CHARLES
ABERNATHY REGINALD LONZELL (431962) ‐ WEITZ & LUXENBERG                180 MAIDEN LANE                                                   NEW YORK      NY     10038
BEARDEN DOLORES ANNE
ABERNATHY REGINALD LONZELL (431962) ‐ WEITZ & LUXENBERG                180 MAIDEN LANE                                                   NEW YORK      NY     10038
BLUNT ROBERT M
ABERNATHY REGINALD LONZELL (431962) ‐ WEITZ & LUXENBERG                180 MAIDEN LANE                                                   NEW YORK      NY     10038
BOGAN GERALD DEWAYNE
ABERNATHY REGINALD LONZELL (431962) ‐ WEITZ & LUXENBERG                180 MAIDEN LANE                                                   NEW YORK      NY     10038
BOLIN KENNETH
ABERNATHY REGINALD LONZELL (431962) ‐ WEITZ & LUXENBERG                180 MAIDEN LANE                                                   NEW YORK      NY     10038
BOLTON HAROLD
ABERNATHY REGINALD LONZELL (431962) ‐ WEITZ & LUXENBERG                180 MAIDEN LANE                                                   NEW YORK      NY     10038
BRANNON CYRIL MORRIS
ABERNATHY REGINALD LONZELL (431962) ‐ WEITZ & LUXENBERG                180 MAIDEN LANE                                                   NEW YORK      NY     10038
BRIGHT VEODIS
ABERNATHY REGINALD LONZELL (431962) ‐ WEITZ & LUXENBERG                180 MAIDEN LANE                                                   NEW YORK      NY     10038
BROADNAX HERBERT
ABERNATHY REGINALD LONZELL (431962) ‐ WEITZ & LUXENBERG                180 MAIDEN LANE                                                   NEW YORK      NY     10038
BURNETT CURTIS
ABERNATHY REGINALD LONZELL (431962) ‐ WEITZ & LUXENBERG                180 MAIDEN LANE                                                   NEW YORK      NY     10038
BURROW ROY
ABERNATHY REGINALD LONZELL (431962) ‐ WEITZ & LUXENBERG                180 MAIDEN LANE                                                   NEW YORK      NY     10038
CHERRY DAVIS
ABERNATHY REGINALD LONZELL (431962) ‐ WEITZ & LUXENBERG                180 MAIDEN LANE                                                   NEW YORK      NY     10038
CLARDY VERMON
ABERNATHY REGINALD LONZELL (431962) ‐ WEITZ & LUXENBERG                180 MAIDEN LANE                                                   NEW YORK      NY     10038
CLEMENTS HAROLD
ABERNATHY REGINALD LONZELL (431962) ‐ WEITZ & LUXENBERG                180 MAIDEN LANE                                                   NEW YORK      NY     10038
COATS BOBBY
ABERNATHY REGINALD LONZELL (431962) ‐ WEITZ & LUXENBERG                180 MAIDEN LANE                                                   NEW YORK      NY     10038
COOPER RICHARD
                                     09-50026-mg          Doc 7123-3    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit B
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Name                                  Address1                    Address2              Address3          Address4               City       State Zip
ABERNATHY REGINALD LONZELL (431962) ‐ WEITZ & LUXENBERG           180 MAIDEN LANE                                                NEW YORK    NY 10038
DEJARNATT RICHARD
ABERNATHY REGINALD LONZELL (431962) ‐ WEITZ & LUXENBERG           180 MAIDEN LANE                                                NEW YORK   NY   10038
DICK ROY
ABERNATHY REGINALD LONZELL (431962) ‐ WEITZ & LUXENBERG           180 MAIDEN LANE                                                NEW YORK   NY   10038
DICKERSON PAUL
ABERNATHY REGINALD LONZELL (431962) ‐ WEITZ & LUXENBERG           180 MAIDEN LANE                                                NEW YORK   NY   10038
DONALD MELVIN
ABERNATHY REGINALD LONZELL (431962) ‐ WEITZ & LUXENBERG           180 MAIDEN LANE                                                NEW YORK   NY   10038
DOUGLAS JAMES
ABERNATHY REGINALD LONZELL (431962) ‐ WEITZ & LUXENBERG           180 MAIDEN LANE                                                NEW YORK   NY   10038
ELLISON WILLIAM
ABERNATHY REGINALD LONZELL (431962) ‐ WEITZ & LUXENBERG           180 MAIDEN LANE                                                NEW YORK   NY   10038
EPPS ROBERT
ABERNATHY REGINALD LONZELL (431962) ‐ WEITZ & LUXENBERG           180 MAIDEN LANE                                                NEW YORK   NY   10038
EVERETT CHARLES
ABERNATHY REGINALD LONZELL (431962) ‐ WEITZ & LUXENBERG           180 MAIDEN LANE                                                NEW YORK   NY   10038
FURLOUGH HUSKIN
ABERNATHY REGINALD LONZELL (431962) ‐ WEITZ & LUXENBERG           180 MAIDEN LANE                                                NEW YORK   NY   10038
HELMS LARRY
ABERNATHY REGINALD LONZELL (431962) ‐ WEITZ & LUXENBERG           180 MAIDEN LANE                                                NEW YORK   NY   10038
HOCKEHULL HAROLD
ABERNATHY REGINALD LONZELL (431962) ‐ WEITZ & LUXENBERG           180 MAIDEN LANE                                                NEW YORK   NY   10038
HOLDERFIELD RICKEY LEE
ABERNATHY REGINALD LONZELL (431962) ‐ WEITZ & LUXENBERG           180 MAIDEN LANE                                                NEW YORK   NY   10038
HOLMES SAQURET
ABERNATHY REGINALD LONZELL (431962) ‐ WEITZ & LUXENBERG           180 MAIDEN LANE                                                NEW YORK   NY   10038
HUGGINS ROBERT
ABERNATHY REGINALD LONZELL (431962) ‐ WEITZ & LUXENBERG           180 MAIDEN LANE                                                NEW YORK   NY   10038
JAMES ROSEVELT
ABERNATHY REGINALD LONZELL (431962) ‐ WEITZ & LUXENBERG           180 MAIDEN LANE                                                NEW YORK   NY   10038
JENNINGS BASIL
ABERNATHY REGINALD LONZELL (431962) ‐ WEITZ & LUXENBERG           180 MAIDEN LANE                                                NEW YORK   NY   10038
JOHNSON JIMMIE
ABERNATHY REGINALD LONZELL (431962) ‐ WEITZ & LUXENBERG           180 MAIDEN LANE                                                NEW YORK   NY   10038
JOHNSON WILLIE LEE
ABERNATHY REGINALD LONZELL (431962) ‐ WEITZ & LUXENBERG           180 MAIDEN LANE                                                NEW YORK   NY   10038
JONES LEONARD
ABERNATHY REGINALD LONZELL (431962) ‐ WEITZ & LUXENBERG           180 MAIDEN LANE                                                NEW YORK   NY   10038
JONES WILLIAM
ABERNATHY REGINALD LONZELL (431962) ‐ WEITZ & LUXENBERG           180 MAIDEN LANE                                                NEW YORK   NY   10038
JORDAN JACK
ABERNATHY REGINALD LONZELL (431962) ‐ WEITZ & LUXENBERG           180 MAIDEN LANE                                                NEW YORK   NY   10038
KENNEY TED
ABERNATHY REGINALD LONZELL (431962) ‐ WEITZ & LUXENBERG           180 MAIDEN LANE                                                NEW YORK   NY   10038
LEE OTHELL
ABERNATHY REGINALD LONZELL (431962) ‐ WEITZ & LUXENBERG           180 MAIDEN LANE                                                NEW YORK   NY   10038
LOVE BOBBIE JEAN
ABERNATHY REGINALD LONZELL (431962) ‐ WEITZ & LUXENBERG           180 MAIDEN LANE                                                NEW YORK   NY   10038
LOWE LEWIS
ABERNATHY REGINALD LONZELL (431962) ‐ WEITZ & LUXENBERG           180 MAIDEN LANE                                                NEW YORK   NY   10038
MAY STEPHEN DUNLAP
ABERNATHY REGINALD LONZELL (431962) ‐ WEITZ & LUXENBERG           180 MAIDEN LANE                                                NEW YORK   NY   10038
MAYFIELD LLOYD
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Name                                  Address1                    Address2              Address3          Address4               City       State Zip
ABERNATHY REGINALD LONZELL (431962) ‐ WEITZ & LUXENBERG           180 MAIDEN LANE                                                NEW YORK    NY 10038
MCBRIDE KELLY
ABERNATHY REGINALD LONZELL (431962) ‐ WEITZ & LUXENBERG           180 MAIDEN LANE                                                NEW YORK   NY   10038
MCCLINTON ROBERT
ABERNATHY REGINALD LONZELL (431962) ‐ WEITZ & LUXENBERG           180 MAIDEN LANE                                                NEW YORK   NY   10038
MCNEILL JOHN
ABERNATHY REGINALD LONZELL (431962) ‐ WEITZ & LUXENBERG           180 MAIDEN LANE                                                NEW YORK   NY   10038
MILES RUSH
ABERNATHY REGINALD LONZELL (431962) ‐ WEITZ & LUXENBERG           180 MAIDEN LANE                                                NEW YORK   NY   10038
MILLER ALONZO
ABERNATHY REGINALD LONZELL (431962) ‐ WEITZ & LUXENBERG           180 MAIDEN LANE                                                NEW YORK   NY   10038
MORGAN WILLIAM
ABERNATHY REGINALD LONZELL (431962) ‐ WEITZ & LUXENBERG           180 MAIDEN LANE                                                NEW YORK   NY   10038
MULDROW JAMES
ABERNATHY REGINALD LONZELL (431962) ‐ WEITZ & LUXENBERG           180 MAIDEN LANE                                                NEW YORK   NY   10038
NORFUL JAMES
ABERNATHY REGINALD LONZELL (431962) ‐ WEITZ & LUXENBERG           180 MAIDEN LANE                                                NEW YORK   NY   10038
OLIVER JOSE
ABERNATHY REGINALD LONZELL (431962) ‐ WEITZ & LUXENBERG           180 MAIDEN LANE                                                NEW YORK   NY   10038
PAGE OZIE
ABERNATHY REGINALD LONZELL (431962) ‐ WEITZ & LUXENBERG           180 MAIDEN LANE                                                NEW YORK   NY   10038
PAXTON MELVIN
ABERNATHY REGINALD LONZELL (431962) ‐ WEITZ & LUXENBERG           180 MAIDEN LANE                                                NEW YORK   NY   10038
PIERCE AARON RAY
ABERNATHY REGINALD LONZELL (431962) ‐ WEITZ & LUXENBERG           180 MAIDEN LANE                                                NEW YORK   NY   10038
PUMPHREY ROY
ABERNATHY REGINALD LONZELL (431962) ‐ WEITZ & LUXENBERG           180 MAIDEN LANE                                                NEW YORK   NY   10038
RADICAN HERALD
ABERNATHY REGINALD LONZELL (431962) ‐ WEITZ & LUXENBERG           180 MAIDEN LANE                                                NEW YORK   NY   10038
RAINS CARL
ABERNATHY REGINALD LONZELL (431962) ‐ WEITZ & LUXENBERG           180 MAIDEN LANE                                                NEW YORK   NY   10038
RANDALL MOSE
ABERNATHY REGINALD LONZELL (431962) ‐ WEITZ & LUXENBERG           180 MAIDEN LANE                                                NEW YORK   NY   10038
RANKIN JAMES
ABERNATHY REGINALD LONZELL (431962) ‐ WEITZ & LUXENBERG           180 MAIDEN LANE                                                NEW YORK   NY   10038
REPPO GEORGE
ABERNATHY REGINALD LONZELL (431962) ‐ WEITZ & LUXENBERG           180 MAIDEN LANE                                                NEW YORK   NY   10038
RIGGANS CHARLES
ABERNATHY REGINALD LONZELL (431962) ‐ WEITZ & LUXENBERG           180 MAIDEN LANE                                                NEW YORK   NY   10038
ROBERTS DAVID
ABERNATHY REGINALD LONZELL (431962) ‐ WEITZ & LUXENBERG           180 MAIDEN LANE                                                NEW YORK   NY   10038
RYGALSKI RICHARD
ABERNATHY REGINALD LONZELL (431962) ‐ WEITZ & LUXENBERG           180 MAIDEN LANE                                                NEW YORK   NY   10038
SABBS LEON
ABERNATHY REGINALD LONZELL (431962) ‐ WEITZ & LUXENBERG           180 MAIDEN LANE                                                NEW YORK   NY   10038
SCARBOROUGH TROY
ABERNATHY REGINALD LONZELL (431962) ‐ WEITZ & LUXENBERG           180 MAIDEN LANE                                                NEW YORK   NY   10038
SCARBOROUGH WILLIE
ABERNATHY REGINALD LONZELL (431962) ‐ WEITZ & LUXENBERG           180 MAIDEN LANE                                                NEW YORK   NY   10038
SCOTT JAMES
ABERNATHY REGINALD LONZELL (431962) ‐ WEITZ & LUXENBERG           180 MAIDEN LANE                                                NEW YORK   NY   10038
SIMPSON ELMER
ABERNATHY REGINALD LONZELL (431962) ‐ WEITZ & LUXENBERG           180 MAIDEN LANE                                                NEW YORK   NY   10038
SIMS VELMA
                                     09-50026-mg            Doc 7123-3           Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit B
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Name                                  Address1                              Address2             Address3          Address4               City             State Zip
ABERNATHY REGINALD LONZELL (431962) ‐ WEITZ & LUXENBERG                     180 MAIDEN LANE                                               NEW YORK          NY 10038
SMITH DAVID
ABERNATHY REGINALD LONZELL (431962) ‐ WEITZ & LUXENBERG                     180 MAIDEN LANE                                               NEW YORK         NY   10038
SMITH JOSEPH LEE
ABERNATHY REGINALD LONZELL (431962) ‐ WEITZ & LUXENBERG                     180 MAIDEN LANE                                               NEW YORK         NY   10038
SMITH PAUL
ABERNATHY REGINALD LONZELL (431962) ‐ WEITZ & LUXENBERG                     180 MAIDEN LANE                                               NEW YORK         NY   10038
SMITH ROOSEVELT
ABERNATHY REGINALD LONZELL (431962) ‐ WEITZ & LUXENBERG                     180 MAIDEN LANE                                               NEW YORK         NY   10038
SPANN ALTON
ABERNATHY REGINALD LONZELL (431962) ‐ WEITZ & LUXENBERG                     180 MAIDEN LANE                                               NEW YORK         NY   10038
STANLEY GEORGE
ABERNATHY REGINALD LONZELL (431962) ‐ WEITZ & LUXENBERG                     180 MAIDEN LANE                                               NEW YORK         NY   10038
TAYLOR JOHNNY MACK
ABERNATHY REGINALD LONZELL (431962) ‐ WEITZ & LUXENBERG                     180 MAIDEN LANE                                               NEW YORK         NY   10038
THOMAS GEORGE WILLIE
ABERNATHY REGINALD LONZELL (431962) ‐ WEITZ & LUXENBERG                     180 MAIDEN LANE                                               NEW YORK         NY   10038
WALD MICHAEL
ABERNATHY REGINALD LONZELL (431962) ‐ WEITZ & LUXENBERG                     180 MAIDEN LANE                                               NEW YORK         NY   10038
WATKINS JONATHAN
ABERNATHY REGINALD LONZELL (431962) ‐ WEITZ & LUXENBERG                     180 MAIDEN LANE                                               NEW YORK         NY   10038
WELCH HUGH
ABERNATHY REGINALD LONZELL (431962) ‐ WEITZ & LUXENBERG                     180 MAIDEN LANE                                               NEW YORK         NY   10038
WELLBORN ROBERT
ABERNATHY REGINALD LONZELL (431962) ‐ WEITZ & LUXENBERG                     180 MAIDEN LANE                                               NEW YORK         NY   10038
WHIMPER ISAAC
ABERNATHY REGINALD LONZELL (431962) ‐ WEITZ & LUXENBERG                     180 MAIDEN LANE                                               NEW YORK         NY   10038
WHITE DAVID
ABERNATHY REGINALD LONZELL (431962) ‐ WEITZ & LUXENBERG                     180 MAIDEN LANE                                               NEW YORK         NY   10038
WILLIAMS LEO
ABERNATHY REGINALD LONZELL (431962) ‐ WEITZ & LUXENBERG                     180 MAIDEN LANE                                               NEW YORK         NY   10038
WOMACK BRUCE
ABERNATHY, ADAH F                     1174 HOWARD DR                                                                                      GREENVILLE       OH   45331‐2644
ABERNATHY, ADAH F                     1174 HOWARD DRIVE                                                                                   GREENVILLE       OH   45331‐5331
ABERNATHY, ALBERT H                   1507 BUNTING LN                                                                                     JANESVILLE       WI   53546‐2954
ABERNATHY, ALVIE L                    G‐2206 CENTERWOOD                                                                                   BURTON           MI   48509
ABERNATHY, BARBARA H                  25722 HIGHLAND AVE                                                                                  ELKMONT          AL   35620‐5516
ABERNATHY, BESSIE O                   HC 3 BOX 3192                                                                                       WAPPAPELLO       MO   63966‐9741
ABERNATHY, BETTY M                    BEASLEY ALLEN CROW METHVIN PORTIS &   PO BOX 4160                                                   MONTGOMERY       AL   36103‐4160
                                      MILES
ABERNATHY, BEVERLY J                  22810 DORSEY ST                       APT 309                                                       LEONARDTOWN      MD   20650‐3846
ABERNATHY, BOBBY N                    12261 STATE ROAD CC                                                                                 FESTUS           MO   63028‐3626
ABERNATHY, C J                        7681 NORTHLAND DR NE                                                                                ROCKFORD         MI   49341‐8804
ABERNATHY, CAROLYN                    48 BILWA TRL                                                                                        SWARTZ CREEK     MI   48473‐1611
ABERNATHY, CHARLES G                  6035 FAIR HAVEN HILL RD                                                                             GAINESVILLE      GA   30506‐2877
ABERNATHY, DALTON L                   5643 TIFFIN ST                                                                                      PORTAGE          MI   49002‐2280
ABERNATHY, DANNY L                    4754 WILBERT RD                                                                                     HIGH RIDGE       MO   63049‐3386
ABERNATHY, DAVID W                    2050 S DEVINNEY CT                                                                                  LAKEWOOD         CO   80228
ABERNATHY, DONALD W                   PO BOX 310                                                                                          COOPER           TX   75432‐0310
ABERNATHY, DOROTHY                    1395 GUENTHER RD                                                                                    DAYTON           OH   45427‐3142
ABERNATHY, DORTHY J                   8705 PINSLEY WAY                                                                                    FORT WAYNE       IN   46835‐9118
ABERNATHY, DOUGLAS C                  1486 OLD RAILRD BED RD                                                                              HARVEST          AL   35749
ABERNATHY, EMMA L                     3526 ADAMS ST                                                                                       INDIANAPOLIS     IN   46218‐1309
ABERNATHY, ERNEST W                   6195 SADDLEHORSE DR                                                                                 FLOWERY BRANCH   GA   30542‐4907
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Name                          Address1                      Address2                       Address3   Address4               City              State   Zip
ABERNATHY, FLOYD J            1828 HIGH POINT RD                                                                             BOWDON             GA     30108‐1849
ABERNATHY, FREDIA E           18539 CROSS KEY RD                                                                             ATHENS             AL     35614‐5618
ABERNATHY, GARY J             56111 STONEY PLACE LN                                                                          SHELBY TOWNSHIP    MI     48316‐4917
ABERNATHY, GENEVA             28566 CAPSHAW RD                                                                               HARVEST            AL     35749‐7416
ABERNATHY, GENEVA             28566 CAPSHAW                                                                                  HARVEST            AL     35749‐7416
ABERNATHY, GREGORY A          25 HICKORY LN                                                                                  BUMPASS            VA     23024‐4506
ABERNATHY, HELEN J            17809 SWELL RD                                                                                 ATHENS             AL     35613
ABERNATHY, HELEN L            53 LEISURE LN                                                                                  ANDERSON           IN     46013‐1062
ABERNATHY, HELEN L            53 LEISURE LANE                                                                                ANDERSON           IN     46013‐1062
ABERNATHY, HELEN R            1525 PEPPERHILL DR                                                                             FLORISSANT         MO     63033‐2142
ABERNATHY, JACKIE R           15069 KNOLL DR                                                                                 HARVEST            AL     35749‐7347
ABERNATHY, JACQUELINE         4656 N MICHELLE ST                                                                             SAGINAW            MI     48601‐6629
ABERNATHY, JAMES B            1212 H ST SPC 80                                                                               RAMONA             CA     92065‐2876
ABERNATHY, JAMES C            HC 1 BOX 362                                                                                   FAIRDEALING        MO     63939‐9711
ABERNATHY, JAMES C            ROUTE HC1 BOX 362A                                                                             FAIRDEALING        MO     63939‐9711
ABERNATHY, JAMES D            1410 LIVINGSTON ST                                                                             CARLYLE             IL    62231‐1340
ABERNATHY, JAMES R            421 TRINIDAD DR                                                                                NORMAN             OK     73072‐5142
ABERNATHY, JAMES ROBERT       421 TRINIDAD DR                                                                                NORMAN             OK     73072‐5142
ABERNATHY, JAMES W            998 BELMONT AVE                                                                                MANSFIELD          OH     44906‐1612
ABERNATHY, JANICE L           3104 E 12TH AVE                                                                                SHEFFIELD          AL     35660‐3305
ABERNATHY, JEFFREY M          3950 GOUVERNEUR ST                                                                             MEMPHIS            TN     38135‐1430
ABERNATHY, JERRY E            406 W GARFIELD ST                                                                              PARIS               IL    61944‐2643
ABERNATHY, JOE A              6045 PATRICK ROAD                                                                              NORTH BRANCH       MI     48461‐8011
ABERNATHY, JOHN L             13711 GLENRIO DR                                                                               STERLING HTS       MI     48313‐4229
ABERNATHY, JOSEPH L           1174 HOWARD DRIVE                                                                              GREENVILLE         OH     45331‐2644
ABERNATHY, JOYCE M            5490 MARSH VIEW CT APT 118                                                                     SHELBY TWP         MI     48316‐5276
ABERNATHY, JOYCE MEKA         5490 MARSH VIEW CT APT 118                                                                     SHELBY TWP         MI     48316‐5276
ABERNATHY, KATSUKO            2216 E OUTER DR                                                                                DETROIT            MI     48234‐1862
ABERNATHY, KAYLIE
ABERNATHY, KENNETH B          864 WOODHILL RD                                                                                MANSFIELD         OH      44907‐1976
ABERNATHY, LARRY J            16307 ALDERSYDE DR                                                                             SHAKER HEIGHTS    OH      44120‐2511
ABERNATHY, LARRY JAMES        16307 ALDERSYDE DR                                                                             SHAKER HEIGHTS    OH      44120‐2511
ABERNATHY, LARRY W            360 ROSEWOOD AVE              APT 14                                                           DEFIANCE          OH      43512
ABERNATHY, LARRY W            344 ROSEWOOD AVE APT 31                                                                        DEFIANCE          OH      43512‐3562
ABERNATHY, LESTER A           HC 3 BOX 3192                                                                                  WAPPAPELLO        MO      63966‐9741
ABERNATHY, MARTIN L           8994 AMY LEIGH LN                                                                              CLARENCE CTR      NY      14032‐9366
ABERNATHY, MARY L             700 PINCH HWY                                                                                  CHARLOTTE         MI      48813‐9718
ABERNATHY, MICHAEL T          414 RIDGE HILL PL                                                                              FORT WAYNE        IN      46804‐6451
ABERNATHY, MINNIE D           G 2206 CENTERWOOD ST                                                                           BURTON            MI      48509
ABERNATHY, MORRIS R           5570 EXECUTIVE DR                                                                              LOGANVILLE        GA      30052‐2903
ABERNATHY, NANCY J            262 BROW DR                                                                                    CLOUDLAND         GA      30731‐6206
ABERNATHY, PATSY R            1439 FENTON ST                                                                                 SAGINAW           MI      48601
ABERNATHY, PAUL               BEVAN & ASSOCIATES            10360 NORTHFIELD ROAD, BEVAN                                     NORTHFIELD        OH      44067
                                                            PROFESSIONAL BLDG
ABERNATHY, RALPH T.           1055 ASBURY RD                                                                                 CINCINNATI        OH      45255‐5733
ABERNATHY, REGINALD LONZELL   WEITZ & LUXENBERG             180 MAIDEN LANE                                                  NEW YORK          NY      10038
ABERNATHY, RICHARD A          700 PINCH HWY                                                                                  CHARLOTTE         MI      48813‐9718
ABERNATHY, RICHARD C.         2216 E OUTER DR                                                                                DETROIT           MI      48234‐1862
ABERNATHY, ROBERT T           252 COVENTRY LN                                                                                MASON             MI      48854‐1163
ABERNATHY, ROBIN D            2397 N COUNTY ROAD 600 E                                                                       MOORELAND         IN      47360‐9727
ABERNATHY, ROBIN DIANE        2397 N COUNTY ROAD 600 E                                                                       MOORELAND         IN      47360‐9727
ABERNATHY, RODNEY E           3122 VOLD CT APT 6                                                                             JANESVILLE        WI      53546‐1532
ABERNATHY, SALLY A            17833 SE 115TH CT                                                                              SUMMERFIELD       FL      34491
ABERNATHY, SAMMIE L           908 PEARL ST                                                                                   CHARLOTTE         MI      48813‐2142
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Name                                Address1                          Address2                      Address3             Address4               City              State   Zip
ABERNATHY, SARAH G                  7421 JACKSON RAYMOND RD                                                                                     RAYMOND            MS     39154‐8327
ABERNATHY, SAUNDRA K                1268 YELLOWWOOD DR                                                                                          COLUMBUS           OH     43229‐4415
ABERNATHY, SHAMAR R                 3342 HAMPSHIRE AVE                                                                                          FLINT              MI     48504‐1268
ABERNATHY, SHARMAR R                3342 HAMPSHIRE AVE                                                                                          FLINT              MI     48504‐1268
ABERNATHY, STANLEY                  RT BOX 264A                                                                                                 WARE SHOALS        SC     29692
ABERNATHY, STANLEY V                22 S 44TH ST                                                                                                BELLEVILLE          IL    62226‐6326
ABERNATHY, SUSAN E                  128 STONY HILL LN                                                                                           RAYMOND            MS     39154
ABERNATHY, SYLVESTER                APT 513                           19101 EVERGREEN ROAD                                                      DETROIT            MI     48219‐2683
ABERNATHY, T L                      6107 PEBBLESHIRE DR                                                                                         GRAND BLANC        MI     48439‐4842
ABERNATHY, T LAMAR                  6107 PEBBLESHIRE DR                                                                                         GRAND BLANC        MI     48439‐4842
ABERNATHY, THOMAS J                 289 MAIN ST APT 6D                                                                                          SPOTSWOOD          NJ     08884‐2320
ABERNATHY, THOMAS S                 1076 MEADOWLAWN DR                                                                                          PONTIAC            MI     48340‐1730
ABERNATHY, THOMAS W                 1006 BELMONT AVE                                                                                            MANSFIELD          OH     44906‐1612
ABERNATHY, WILLIE C                 3276 TOTH RD                                                                                                SAGINAW            MI     48601‐5766
ABERNATHY, WILMA                    1013 TORRINGTON LANE                                                                                        FREEBURG            IL    62243‐2637
ABERNATHY, YVONNE J                 PO BOX 90222                                                                                                BURTON             MI     48509
ABERNATHY,FREDIA E                  20775 COLONIAL DR                                                                                           ATHENS             AL     35614‐5741
ABERNETHY CHEVROLET‐OLDSMOBILE, INC 1445 E MAIN ST                                                                                              LINCOLNTON         NC     28092‐3996

ABERNETHY CHEVROLET‐OLDSMOBILE,     RALPH ABERNETHY                   1445 E MAIN ST                                                            LINCOLNTON         NC     28092‐3996
INC.
ABERNETHY CHEVROLET‐OLDSMOBILE,     1445 E MAIN ST                                                                                              LINCOLNTON         NC     28092‐3996
INC.
ABERNETHY CHEVROLET‐OLDSMOBILEINC   1445 E MAIN ST                                                                                              LINCOLNTON         NC     28092‐3996

ABERNETHY MITCH                     PO BOX 599                                                                                                  LINCOLNTON         NC     28093‐0599
ABERNETHY WILLIAM E (438771)        GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                               NORFOLK            VA     23510
                                                                      STREET, SUITE 600
ABERNETHY, KIM L                    8840 FINCH RD                                                                                               COLDEN             NY     14033‐9746
ABERNETHY, MARY L                   1779 ALLARD ACRES TRL             C/O MARILYN SNYDER                                                        JOHANNESBURG       MI     49751‐9583
ABERNETHY, NORMA A                  120 OCEAN GRANDE BLVD APT 403                                                                               JUPITER            FL     33477‐7376
ABERNETHY, SANDRA                   340 N HURON RD                                                                                              LINWOOD            MI     48634‐9409
ABERNETHY, WILLIAM E                GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                               NORFOLK            VA     23510‐2212
                                                                      STREET, SUITE 600
ABERSOLL, DEAN A                    375 LAKEVIEW DR                                                                                             CROSSVILLE        TN      38558‐7056
ABERSOLL, PATRICIA B                375 LAKEVIEW DR                                                                                             CROSSVILLE        TN      38558‐7056
ABERT, FLORENCE L                   176 PARKVIEW TERRACE                                                                                        ROCHESTER         NY      14617‐1139
ABESHAUS AVIVA L                    6 WHEATLAND ST                                                                                              BURLINGTON        MA      01803‐1118
ABESKA, EDWARD J                    609 ARDMORE DR                                                                                              FERNDALE          MI      48220‐3322
ABETE GIULIA                        VIA SANTA PATRIZIA 1              80049 SOMMA VESUVIANA (NA)                         ITALY
ABETECH                             PO BOX 1150                       NCB 23                                                                    MINNEAPOLIS       MN      55480‐1150
ABETON INC                          2501 SW 1ST AVE STE 400                                                                                     PORTLAND          OR      97201‐4795
ABEX
ABEX CCORPORATION                   LARRY DALPIAZ                     FRICTION PRODUCTS DIV.        2410 PAPER MILL RD                          MUSKEGON          MI      49442
ABEY ANALIL                         706 EDGEWOOD DR                                                                                             KELLER            TX      76248‐5470
ABEYTA ELVIRA                       553 N FLAT ROCK CIR                                                                                         AURORA            CO      80018‐1587
ABEYTA, RAY                         2238 CRUZ CT                                                                                                PUEBLO            CO      81003‐5119
ABEYTA, STEVE R                     47377 JOSEPHINE CT                                                                                          SHELBY TOWNSHIP   MI      48315‐4528
ABF                                 ANDI LAUGHERY                     3801 OLD GREENWOOD RD                                                     FORT SMITH        AR      72903‐5937
ABF FREIGHT SYSTEM INC              6260 INKSTER RD                                                                                             ROMULUS           MI      48174
ABF FREIGHT SYSTEM INC              4209 GARDNER AVE                                                                                            KANSAS CITY       MO      64120‐1831
ABF FREIGHT SYSTEM INC              1201 E CHURCH ST                  PO BOX 697                                                                CHERRYVILLE       NC      28021‐9211
ABF FREIGHT SYSTEM INC              ATTN: PAUL DOERR                  5630 CHEVROLET BLVD                                                       CLEVELAND         OH      44130‐1404
ABFALTER, AURALIE S                 3511 HAROLD ST                                                                                              LANSING           MI      48910‐4479
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Name                                 Address1                         Address2                Address3                      Address4               City                 State   Zip
ABFALTER, AURALIE S                  8271 WOODWORTH RD                                                                                             OVID                  MI     48866
ABFU‐PACK MOVING                     5630 CHEVROLET BLVD                                                                                           CLEVELAND             OH     44130‐1404
ABHARI, BIJAN                        2144 KENNEDY DR                                                                                               ROCHESTER HILLS       MI     48309‐2900
ABHIMANYU AVHAD                      468 WASHINGTON CROSSING PE RD                                                                                 TITUSVILLE            NJ     08560‐1637
ABHINAV
ABHISHEK
ABHUE FERGUSON JR                    4245 HERMOSA DR                                                                                               SHREVEPORT            LA     71119‐7715
ABI COMPANIES INC                    4301 ANCHOR PLAZA PKWY STE 400                                                                                TAMPA                 FL     33634‐7529
ABI OF MICHIGAN LLC                  DBA HARPER STEEL SEVICE CENTER   26300 SHERWOOD AVE                                                           WARREN                MI     48091‐4168
ABI RESEARCH                         249 SOUTH ST                                                                                                  OYSTER BAY            NY     11771
ABIDE HOME CARE SERVICE              554 BELLE TERRE BLVD                                                                                          LA PLACE              LA     70068‐1715
ABIDIN I I I, GEORGE S               5255 W MI 36                                                                                                  PINCKNEY              MI     48169‐9606
ABIGAIL A ARNOLD & CHARLES L ARNOL   17412 NORTHSHORE ESTATES RD                                                                                   SPRING LAKE           MI     49456‐9111

ABIGAIL COLVIN                       535 LOVELLE RD                                                                                                NICHOLS              SC      29581‐7308
ABIGAIL E REEDSTROM                  10439 BRIARBEND DR APT 8                                                                                      SAINT LOUIS          MO      63146
ABIGAIL HALL                         1055 N MILLER RD                                                                                              SAGINAW              MI      48609‐4862
ABIGAIL L TOMAJKO                    512 W STATE ST                                                                                                SHARON               PA      16146‐1252
ABIGAIL LEDFORD                      4860 HALL RD                                                                                                  YOUNG HARRIS         GA      30582‐1820
ABIGAIL MALDONADO                    9415 ROYALTON DR                                                                                              SHREVEPORT           LA      71118‐3617
ABIGAIL MARTIN                       12654 HERRON ST                                                                                               SYLMAR               CA      91342‐1954
ABIGAIL MEDINA                       5675 MERIT WAY                                                                                                FREMONT              CA      94538‐3216
ABIGAIL OSBORNE                      7773 LANG ST                                                                                                  ROSCOMMON            MI      48653‐8140
ABIGAIL TOMAJKO                      512 W STATE ST                                                                                                SHARON               PA      16146‐1252
ABIGAIL VAZQUEZ                      207 TREMBLE AVE                                                                                               CAMPBELL             OH      44405
ABIHANA OSAMA                        10525 S MORROW CIR                                                                                            DEARBORN             MI      48126‐1509
ABIJA D MCGHEE                       626 RIDGE RD                                                                                                  CARYVILLE            TN      37714‐3215
ABIJA MCGHEE                         626 RIDGE RD                                                                                                  CARYVILLE            TN      37714‐3215
ABILA, ANGELINA J                    4632 LAMONT AVE                                                                                               ODESSA               TX      79762‐4570
ABILENE CHRISTIAN UNIVERSITY         PO BOX 29120                                                                                                  ABILENE              TX      79699‐0001
ABILENE I‐20 WRECKING & USED CARS    JOHNNY WILSON                    6405 E HWY 80                                                                ABILENE              TX      79601
ABILENE MOTOR EXPRESS INC            PO BOX 34507                                                                                                  RICHMOND             VA      23234‐0507
ABILENE POLICE DEPARTMENT            ABILENE POLICE DEPARTMENT,       450 PECAN STREET                                                             ABILENE              TX      79601
ABILENE POLICE DEPARTMENT
ABILIO CONTENTE                      2510 BEDLE PL                                                                                                 LINDEN               NJ      07036‐1315
ABILIO FERNANDES                     11 SUNSET DR                                                                                                  MILFORD              MA      01757‐1317
ABILIO MANUEL MARTINS MACHADO        BRACHVOGELWEG 5                                                                        21629 NEU WULMSTORF
                                                                                                                            GERMANY
ABILITIES FOUNDATION                 ATTN FRANK DE LUCIA              2735 WHITNEY RD                                                              CLEARWATER            FL     33760‐1610
ABILITIES INC                        ATTN LANA SMART ‐ MEMBERSHIP     COUNCIL UPDTE PER GOI   201 I U WILLETS RD 04/24/08                          ALBERTSON             NY     11507
                                                                                              TW
ABILITY ASSESSMENTS                  PO BOX 274                                                                                                    SAINT CLAIR SHORES    MI     48080‐0274

ABILLA, CAROLINE A                   2256 MINERVA ST                                                                                               WESTLAND              MI     48186‐3907
ABINA, BETTE                         APT 51                           39150 SUNDALE DRIVE                                                          FREMONT               CA     94538‐2040
ABINA, MANUEL R                      754 EAST SPRINGFIELD AVENUE                                                                                   REEDLEY               CA     93654‐3154
ABINGTON PAIN MEDICI                 801 OLD YORK RD STE 201                                                                                       JENKINTOWN            PA     19046‐1611
ABINGTON SCHOOL DISTRICT TAX         970 HIGHLAND AVE                                                                                              ABINGTON              PA     19001‐4535
COLLECTOR
ABINGTON SUNOCO                      907 BEDFORD ST                                                                                                ABINGTON             MA      02351‐1601
ABINGTON TOWNSHIP GARAGE                                              2201 FLONEY LANE                                                             ROSLYN               PA      19001
ABINGTON TOWNSHIP TREASURER          1176 OLD YORK RD                                                                                              ABINGTON             PA      19001‐3713
ABINGTON, MARGIE J                   2420 NW 1ST ST                                                                                                BLUE SPRINGS         MO      64014‐1503
ABINGTON, STEVE H                    2420 NW 1ST ST                                                                                                BLUE SPRINGS         MO      64014‐1503
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Name                                   Address1                             Address2                           Address3   Address4               City              State Zip
ABIODUN, LORETTA                       PO BOX 2871                                                                                               SOUTHFIELD         MI 48037‐2871
ABIOYE NURAINI B                       ABIOYE, NURAINI B
ABISSINI, GIUSEPPE                     14115 BASILISCO CHASE DR                                                                                  SHELBY TWP        MI   48315‐4252
ABITEC CORP                            ATTN: ED BECERRA                     PO BOX 1759                                                          JANESVILLE        WI   53547‐1759
ABITZ, GERALD A                        13050 W CHERRYTREE LN                                                                                     NEW BERLIN        WI   53151‐7610
ABIUSO, FELICIA                        47 FOREST MEADOW TRL                                                                                      ROCHESTER         NY   14624‐1154
ABIUSO, GAETANINA                      47 FOREST MEADOW TRL                                                                                      ROCHESTER         NY   14624‐1154
ABIUSO, GEORGINA T                     22 SHANNON GLN                                                                                            FAIRPORT          NY   14450‐9177
ABKE JR, CLETUS R                      22380 CASCADE DR                                                                                          MACOMB            MI   48044‐3722
ABKE, KEITH D                          10181 WENN RD                                                                                             BIRCH RUN         MI   48415‐9327
ABKE, KEITH DAVID                      10181 WENN RD                                                                                             BIRCH RUN         MI   48415‐9327
ABKE, RICHARD E                        5499 ASHMORE RD                                                                                           UNIONVILLE        MI   48767‐9667
ABKE, SANDRA GAIL                      32465 WHITLEY CIR                                                                                         WARREN            MI   48088‐1313
ABKIN MIKHAIL (665219)                 BELLUCK & FOX LLP                    346 5TH AVE #4                                                       NEW YORK          NY   10036‐5000
ABKIN, MIKHAIL                         BELLUCK & FOX LLP                    546 5TH AVE #4                                                       NEW YORK          NY   10036‐5000
ABL ELECT/MAD HGTS                     32 E 14 MILE RD                                                                                           MADISON HEIGHTS   MI   48071‐1301

ABL ELECTRONIC SERVICE INC             32 E 14 MILE RD                                                                                           MADISON HEIGHTS   MI   48071‐1301

ABL ELECTRONIC SERVICE INC             314 E 14 MILE RD                                                                                          MADISON HEIGHTS   MI   48071‐1364

ABL TRANS                              62303 FELLA                          PO BOX 60000                                                         SAN FRANCISCO     CA   94160‐0001
ABLAISE LTD V NAVTEQ CORP ET AL        ABLAISE LTD                          2800 LASALLE PLAZA ‐ 800 LASALLE                                     MINNEAPOLIS       MN   55402
(INCLUDING GENERAL MOTORS)                                                  AVENUE
ABLAISE LTD V NAVTEQ CORP ET AL        ABLAISE LTD                          1225 I ST NW STE 600                                                 WASHINGTON        DC   20005‐5960
(INCLUDING GENERAL MOTORS)
ABLAMSKY, VIOLA K                      430 E 6TH ST APT 10B                                                                                      NEW YORK          NY   10009‐6429
ABLAN, LOUISE M                        628 S EDGEWORTH AVE                                                                                       ROYAL OAK         MI   48067‐4050
ABLARD MARSHA                          2816 S FM 549                                                                                             ROCKWALL          TX   75032‐9112
ABLE AUTO CARE                         220 W 2ND ST                                                                                              RUSHVILLE         IN   46173‐1806
ABLE AUTO SERVICE                      736 S MILITARY HWY                                                                                        VIRGINIA BEACH    VA   23464‐1822
ABLE CARPET CLEANING & DYEING          PO BOX 523                                                                                                SYRACUSE          NY   13206‐0523
ABLE CONCRETE RAISING INC              44805 UTICA RD                                                                                            UTICA             MI   48317‐5474
ABLE CONTRACTING GROUP INC             33100 LAKELAND BLVD                                                                                       EASTLAKE          OH   44095
ABLE CONTRACTING GROUP INC             ATTN: CORPORATE OFFICER/AUTHORIZED   33100 LAKELAND BLVD                                                  EASTLAKE          OH   44095‐5204
                                       AGENT
ABLE DELIVERY SERVICE INC              5841 RUBY DR                                                                                              TROY              MI   48085‐3946
ABLE ELECROPOLISHING CO., INC.         2001 S KILBOURN AVE                                                                                       CHICAGO           IL   60623‐2311
ABLE EQUIPMENT SUPPLY CORP             PO BOX 7581                                                                                               SAN FERNANDO      CA   91346‐7581
ABLE EXPRESS COMPANY LLC               PO BOX 148210                                                                                             NASHVILLE         TN   37214‐8210
ABLE HOME & OFFICE SVC                 PO BOX 523                                                                                                SYRACUSE          NY   13206‐0523
ABLE MACHINERY MOVERS INC              600 WESTPORT PKWY                                                                                         GRAPEVINE         TX   76051‐6739
ABLE SPRING & MANUFACTURING CO         9403 HUBBELL ST                      RC 8/6/01 BT                                                         DETROIT           MI   48228‐2326
ABLE, DAWN E                           1101 RAMBLIN CT                                                                                           GREENWOOD         IN   46142‐8344
ABLE, DELCIA M                         403 W LIBERTY ST                                                                                          MEDINA            OH   44256‐2221
ABLE, GRACE E                          15038 KENTFIELD ST                                                                                        DETROIT           MI   48223‐2115
ABLE, THOMAS W                         217 BATTALION WAY                                                                                         MOUNT JULIET      TN   37122‐6134
ABLECO FINANCE LLC ‐ AS AGENT FOR AM   ABLECO FINANCE LLC                   450 PARK AVENUE                                                      NEW YORK          NY   10022
GENERAL CORPORATION
ABLEMAN FRAYNE & SCHWAB                666 THIRD AVENUE                                                                                          NEW YORK          NY   10017
ABLEMARBLE COUNTY VEHICLE MAIN                                              110 LAMBS LN                                                         CHARLOTTESVILLE   VA   22901
ABLER JR, JOSEPH                       2627 PLANET DR                                                                                            SAGINAW           MI   48601‐7023
ABLER, EDWARD M                        2025 S BAY MID COUNTY LINE RD                                                                             MIDLAND           MI   48642‐8712
ABLER, JANE V                          2158 NORTH ROAD NE                                                                                        WARREN            OH   44483‐3061
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Name                             Address1                             Address2                       Address3               Address4                City            State   Zip
ABLER, JANE V                    2158 NORTH RD NE                                                                                                   WARREN           OH     44483‐3061
ABLER, JOSEPH                    4418 RANDOLPH ST                                                                                                   SAGINAW          MI     48601‐6783
ABLER, MICHAEL C                 1516 BARNARD ST                                                                                                    SAGINAW          MI     48602‐4901
ABLER, PAUL R                    1987 SCOTT LAKE RD                                                                                                 WATERFORD        MI     48328‐1658
ABLES WILLIAMS (475461)          ERNSTER CLETUS P III                 2700 POST OAK BLVD STE 1350                                                   HOUSTON          TX     77056‐5785
ABLES, ANN E                     PO BOX 1477                                                                                                        ADRIAN           MI     49221‐7477
ABLES, BENTON                    SHANNON LAW FIRM                     100 W GALLATIN ST                                                             HAZLEHURST       MS     39083‐3007
ABLES, DANIEL                    PORTER & MALOUF PA                   4670 MCWILLIE DR                                                              JACKSON          MS     39206‐5621
ABLES, DEBORAH L                 9168 SALEM                                                                                                         REDFORD          MI     48239‐1518
ABLES, ELROY                     912 E SHAW ST                                                                                                      FORT WORTH       TX     76110‐4400
ABLES, HUGH D                    3791 HILE RD                                                                                                       STOW             OH     44224‐4218
ABLES, JAMES C                   18111 HELEN ST                                                                                                     DETROIT          MI     48234‐3009
ABLES, JAMES C                   18111 HELEN                                                                                                        DETROIT          MI     48234‐3009
ABLES, JEANETTE L                31014 FERNWOOD ST                                                                                                  WESTLAND         MI     48186‐5096
ABLES, JIMMY D                   1296 FERNSHIRE DR                                                                                                  CENTERVILLE      OH     45459‐2318
ABLES, JOHN E                    1180 WILSON LOOP RD                                                                                                COHUTTA          GA     30710
ABLES, JOHN E                    1004 WINGATE CT                                                                                                    BEL AIR          MD     21014‐5478
ABLES, LARRY R                   PO BOX 431                                                                                                         GORDONVILLE      TX     76245‐0431
ABLES, MARJORIE                  HC 71 BOX 236                                                                                                      KINGSTON         OK     73439‐9752
ABLES, PATRICIA                  9515 WAHADA AVE                                                                                                    SAN ANTONIO      TX     78217‐5032
ABLES, RALPH                     9515 WAHADA AVE                                                                                                    SAN ANTONIO      TX     78217‐5032
ABLES, WILLIAM                   ERNSTER CLETUS P III                 2700 POST OAK BLVD STE 1350                                                   HOUSTON          TX     77056‐5785
ABLESON, CHRISTOPHE D            840 ISLAND LAKE DRIVE                                                                                              OXFORD           MI     48371‐3723
ABLESON, DONALD W                5470 PUTNAM DR                                                                                                     W BLOOMFIELD     MI     48323‐3718
ABLESON, MICHAEL F               723 OAKLAND AVE                                                                                                    BIRMINGHAM       MI     48009‐5756
ABLETT, JOHN A                   5869 PINGREE RD                                                                                                    HOWELL           MI     48843‐7616
ABLING, DAVID J                  7812 FOREST LN                                                                                                     BARNHART         MO     63012
ABLITAR, WILLIAM W               447 N BOSART AVE                                                                                                   INDIANAPOLIS     IN     46201‐3733
ABLONDI FOSTER SOBIN & DAVIDOW   1150 18TH ST NW STE 900                                                                                            WASHINGTON       DC     20036‐3846
ABLUS HOME AUTOMATION            21 BOBMAR ST.                                                                              BROOKLIN ON L1M 1T8
                                                                                                                            CANADA
ABM INDUISTRIES                  420 TAYLOR ST 3200                                                                                                 SAN FRANCISCO   CA      94102‐1702
ABM INDUSTRIES                   420 TAYLOR ST #200                                                                                                 SAN FRANCISCO   CA      94102‐1702
ABM INDUSTRIES, INC.             DAVID FARWELL                        420 TAYLOR ST                                                                 SAN FRANCISCO   CA      94102‐1702
ABM JANITORIAL SERVICES                                               5200 S EASTERN AVE                                                            COMMERCE        CA      90040
ABM JANITORIAL SERVICES INC      3305 BRECKINRIDGE BLVD STE 134                                                                                     DULUTH          GA      30096‐4932
ABM JANITORIAL SVC               ATTN: DONNA NELSON                     3044 W GRAND BLVD                                                           DETROIT         MI      48202‐3037
ABM SECURITIES INC               CRAIG KNECHT                           8101 W. SAM HOUSTON PKWY S                                                  HOUSTON         TX      77072
ABM TECHNICAL SERVICES           2800 E SHADY OAK LN                                                                                                MOORESVILLE     IN      46158‐6381
ABM TECHNICAL SERVICES INC       2800 E SHADY OAK LN                                                                                                MOORESVILLE     IN      46158‐6381
ABM WAREHOUSE SERVICES           PO BOX 929                                                                                                         BROOKHAVEN      MS      39602‐0929
ABM‐AMRO                         14000 CITICARDS WAY                                                                                                JACKSONVILLE    FL      32258‐6456
ABN AMRO ASSET MANAGEMENT INC    5512 PAYSPHERE CIR                                                                                                 CHICAGO         IL      60674‐5512
ABN AMRO BANK                    KEMELSTEDE 2                           4817 ST BREDA
ABN AMRO BANK N.V.               ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. GUSTAV MAHIERIAAN 10         1082 PP                AMSTERDAM H72, THE
                                                                                                                            NETHERLANDS
ABN AMRO BANK N.V.               GUSTAV MAHIERIAAN 10                 1082 PP                        AMSTERDAM H07020       THE NETHERLANDS
ABN AMRO BANK N.V.               GUSTAV MAHLERLAAN 10                                                                       PP AMSTERDAM 1082
                                                                                                                            NETHERLANDS
ABN AMRO BANK NV                 ROYAL BANK OF SCOTLAND, SERVICE      ATTN. TEAM 5                   P.O.BOX 949 (GF0231)   3000 DD ROTTERDAM
                                 QUALITY CENTER                                                                             NETHERLANDS
ABN AMRO SERVICES                540 MADISON STREET                                                                                                 CHICAGO          IL     60661
ABNER FRANCISCO
ABNER GARDNER                    7278 S FORK DR                                                                                                     SWARTZ CREEK     MI     48473‐9759
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Name                 Address1                      Address2                      Address3   Address4               City           State   Zip
ABNER HURD           1806 WEBSTER RD L‐213                                                                         FLINT           MI     48505
ABNER JOHNSON        1962 N ATWOOD AVE                                                                             TUCSON          AZ     85745‐3522
ABNER JR, RANDOLPH   19969 TRINITY ST                                                                              DETROIT         MI     48219‐1339
ABNER KLUVER         710 N 15TH ST, APT 2                                                                          WORLAND         WY     82401‐2200
ABNER MEGAN          1918 N FORT THOMAS AVE                                                                        FORT THOMAS     KY     41075‐1056
ABNER MERKEL         815 KERN ST                                                                                   BETHLEHEM       PA     18015
ABNER SMITH JR       3248 CASA LINDA DR                                                                            DECATUR         GA     30032‐7101
ABNER TANSIL         9289 OAKMONT DR                                                                               GRAND BLANC     MI     48439‐9566
ABNER WALKER         THE MADEKSHO LAW FIRM         8866 GULF FREEWAY SUITE 440                                     HOUSTON         TX     77017
ABNER, ALFONZO       3332 LEXINGTON DR                                                                             SAGINAW         MI     48601‐4524
ABNER, BERNICE       1259 HIGHLAND AVE.                                                                            DAYTON          OH     45410‐2323
ABNER, BEVERLY E     8850 MAIN ST                                                                                  GERMANTOWN      OH     45327‐1510
ABNER, BEVERLY E     8850 S MAIN ST                                                                                GERMANTOWN      OH     45327‐1510
ABNER, BRENDA D      2222 N CLINTON ST                                                                             SAGINAW         MI     48602
ABNER, BRIAN         969 CAMPBELL AVE                                                                              INDIANAPOLIS    IN     46219‐4518
ABNER, BRIAN A.      5126 KINGMAN DR                                                                               INDIANAPOLIS    IN     46226‐2747
ABNER, BRIAN D       1202 N PARK AVE                                                                               WINTER PARK     FL     32789‐2542
ABNER, CAROL L       969 CAMPBELL AVE                                                                              INDIANAPOLIS    IN     46219‐4518
ABNER, CECIL         77 N IRVINGTON AVE                                                                            INDIANAPOLIS    IN     46219‐5725
ABNER, CECIL M       1521 N D ST                                                                                   ELWOOD          IN     46036‐1517
ABNER, CECIL R.      77 N IRVINGTON AVE                                                                            INDIANAPOLIS    IN     46219‐5725
ABNER, CLARENCE R    9110 SW 103RD LN                                                                              OCALA           FL     34481‐9543
ABNER, CLAUDIA I     3332 LEXINGTON DR                                                                             SAGINAW         MI     48601‐4524
ABNER, DELILAH J     PO BOX 542                                                                                    EVARTS          KY     40828‐0542
ABNER, DELILAH J     P.O. BOX 542                                                                                  EVARTS          KY     40828‐0542
ABNER, ESSIE M       17591 COYLE                                                                                   DETROIT         MI     48235‐2824
ABNER, ESSIE M       17591 COYLE ST                                                                                DETROIT         MI     48235‐2824
ABNER, EUGENE        280 HALLS LN                                                                                  STANTON         KY     40380‐2500
ABNER, FRED T        20710 WASSON RD                                                                               GREGORY         MI     48137‐9449
ABNER, HAROLD L      202 DAWNEE DR                                                                                 HAMILTON        OH     45013‐9628
ABNER, HELEN M       7505 SALEM RD                                                                                 LEWISBURG       OH     45338‐7703
ABNER, HELEN M       7505 SALEM ROAD                                                                               LEWISBURG       OH     45338‐7703
ABNER, JAMES C       205 N MARTIN ST                                                                               EAST PRAIRIE    MO     63845‐1609
ABNER, JAMES E       412 HUDSON AVE                                                                                HAMILTON        OH     45011‐4232
ABNER, JOSEPHINE E   3821 SE 28TH ST                                                                               OKEECHOBEE      FL     34974‐6625
ABNER, JUDITH M      1913 SUNNY RIDGE RD N                                                                         DAYTON          OH     45414‐2332
ABNER, JUDITH M      1913 N SUNNYRIDGE RD                                                                          DAYTON          OH     45414‐2332
ABNER, KAREN         3660 S. LAPEER ROAD           LOT 62                                                          METAMORA        MI     48455
ABNER, KAREN         3660 S LAPEER RD LOT 62                                                                       METAMORA        MI     48455‐8916
ABNER, LARRY D       PO BOX 57                                                                                     SPRINGFIELD     OH     45501‐0057
ABNER, M CARLENE     POST OFFICE BOX 274                                                                           MEDORA          IN     47260‐0274
ABNER, M CARLENE     PO BOX 274                                                                                    MEDORA          IN     47260‐0274
ABNER, MARY E        325 LUTHERAN DR                                                                               EATON           OH     45320‐1621
ABNER, MICHAEL E     5285 PINNACLE CT                                                                              ANN ARBOR       MI     48108‐8658
ABNER, MICHELLE L    107 WILLIAM ST                                                                                DAYTON          OH     45449‐1239
ABNER, ROBERT L      15400 W 7 MILE RD                                                                             DETROIT         MI     48235‐1893
ABNER, RONNIE W      8240 DAYTON RD                                                                                FAIRBORN        OH     45324‐1910
ABNER, RONNIE W      8240 DAYTON SPRINGFIELD RD                                                                    FAIRBORN        OH     45324‐1910
ABNER, ROSE E        HC 73 BOX 1618                                                                                BARBOURVILLE    KY     40906‐9524
ABNER, THERESA W     31620 WEST RD                                                                                 NEW BOSTON      MI     48164‐9705
ABNER, THOMAS W      6013 FRANCES CT                                                                               SYLVANIA        OH     43560‐4516
ABNER, TONI R        6523 ANVIL DR                                                                                 WAYNESVILLE     OH     45068‐8337
ABNER, WILLIE        SPC 142                       8801 ETON AVENUE                                                CANOGA PARK     CA     91304‐0771
ABNER, WILLIE        8801 ETON AVENUE UNIT 142                                                                     CANOGA PARK     CA     91304
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ABNER,TONI R             6523 ANVIL DR                                                                                    WAYNESVILLE      OH 45068‐8337
ABNEY JAMES L (402879)   GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                       NORFOLK          VA 23510
                                                        STREET, SUITE 600
ABNEY JR, LEON           9025 WILDCAT RD                                                                                  TIPP CITY       OH   45371‐5371
ABNEY JR., LEON          9025 WILDCAT RD                                                                                  TIPP CITY       OH   45371‐9134
ABNEY SCOTT              ABNEY, SCOTT                   909 POYDRAS STREET SUITE 2556                                     NEW ORLEANS     LA   70112
ABNEY, ALPHONSO          5009 STONEDALE DR                                                                                SALIDA          CA   95368‐8149
ABNEY, ANGELA L          15517 ARDMORE ST                                                                                 DETROIT         MI   48227‐3224
ABNEY, ANTHONY L         413 CAMERON PL                                                                                   HAMILTON        OH   45013‐4123
ABNEY, APRIL A           12812 MEMORIAL ST                                                                                DETROIT         MI   48227‐1229
ABNEY, APRIL A.          12812 MEMORIAL ST                                                                                DETROIT         MI   48227‐1229
ABNEY, BERNICE F         2446 N LAFOUNTAIN ST                                                                             KOKOMO          IN   46901‐1404
ABNEY, BERRY V           1822 E 5TH ST                                                                                    DAYTON          OH   45403‐2308
ABNEY, BETTY             4517 OLIVE RD.                                                                                   TROTWOOD        OH   45426‐5426
ABNEY, BETTY             428 BELMONT DR                                                                                   ROMEOVILLE      IL   60446‐1439
ABNEY, BETTY             4517 OLIVE ROAD                                                                                  TROTWOOD        OH   45426‐2201
ABNEY, CARLA A           6045 HEMINGWAY RD                                                                                HUBER HEIGHTS   OH   45424‐3524
ABNEY, CARLA ANN         6045 HEMINGWAY RD                                                                                HUBER HEIGHTS   OH   45424‐3524
ABNEY, CERDON            18 CRAB APPLE CT                                                                                 MARTINSBURG     WV   25403‐2289
ABNEY, CERDON            8084 BEAVERLAND                                                                                  DETROIT         MI   48239‐1102
ABNEY, CHARLES O         22 DANBURY CT                                                                                    DANVILLE        IN   46122‐9203
ABNEY, DALE H            2639 CENTER AVE                                                                                  ALLIANCE        OH   44601‐4510
ABNEY, DALLIS W          5480 FURNACE JUNCTION                                                                            RAVENNA         KY   40472‐8995
ABNEY, DALLIS W          5480 FURNACE JCT                                                                                 RAVENNA         KY   40472‐8995
ABNEY, DOIE G            2400 EDEN LANE                                                                                   DAYTON          OH   45431‐1911
ABNEY, DOIE G            2400 EDEN LN                                                                                     DAYTON          OH   45431‐1911
ABNEY, DOLORES A         2116 N 100 E                                                                                     KOKOMO          IN   46901
ABNEY, DOLORES ANN       2116 N 100 E                                                                                     KOKOMO          IN   46901‐8595
ABNEY, DONELLY           3065 SEARS RD                                                                                    SPRING VALLEY   OH   45370‐9728
ABNEY, DONNA L           PO BOX 13773                                                                                     DAYTON          OH   45413‐0773
ABNEY, DONNA L           2254 OTTELLO AVE                                                                                 DAYTON          OH   45414‐4516
ABNEY, DONNA L           2446 N LAFOUNTAIN ST                                                                             KOKOMO          IN   46901‐1404
ABNEY, DONNA M           205 N MAIN ST                                                                                    ARCHIE          MO   64725
ABNEY, DOROTHY D         3480 SE 1ST CT                                                                                   OCALA           FL   34471‐5101
ABNEY, ELVERNA           5448 TOMAHAWK DR                                                                                 FAIRFIELD       OH   45014‐3334
ABNEY, ELVERNA           5448 TOMAHAWK AVE                                                                                FAIRFIELD       OH   45014‐3334
ABNEY, ELZIE S           10373 N COUNTY ROAD 650 E                                                                        BROWNSBURG      IN   46112‐9510
ABNEY, FRANKLIN J        6370 SNOW APPLE DR                                                                               CLARKSTON       MI   48346‐2452
ABNEY, GAIL              20536 VAUGHN ST                                                                                  DETROIT         MI   48219
ABNEY, HUBERT C          2612 PATRICK HENRY DR                                                                            BEAVERCREEK     OH   45434‐4245
ABNEY, JAMES E           821 FERGUSON AVE                                                                                 DAYTON          OH   45402‐6213
ABNEY, JAMES L           GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                       NORFOLK         VA   23510‐2212
                                                        STREET, SUITE 600
ABNEY, JIMMY C           5039 MERIT DR                                                                                    FLINT           MI   48506‐2187
ABNEY, JOAN H            523 PEACH BLOSSOM DR.                                                                            FORTVILLE       IN   46040
ABNEY, KAREN             2639 CENTER AVE                                                                                  ALLIANCE        OH   44601‐4510
ABNEY, KAY J             PO BOX 94                                                                                        CICERO          IN   46034‐0094
ABNEY, KAY J             P O BOX 94                                                                                       CICERO          IN   46034
ABNEY, KENNETH E         391 WILSON RIDGE RD                                                                              SCIENCE HILL    KY   42553‐8930
ABNEY, KRISS L           1612 KINGSTON RD                                                                                 KOKOMO          IN   46901‐5279
ABNEY, LANNY             7528 WILLSEY LN                                                                                  PLAINFIELD      IN   46168‐8525
ABNEY, LONNIE G          3254 STATE ROUTE 725 725                                                                         SPRING VALLEY   OH   45370
ABNEY, MARY W            314 MARVIEW AVE                                                                                  VANDALIA        OH   45377‐2229
ABNEY, MICHAEL D         826 TWIN OAKS DR                                                                                 DAYTON          OH   45431‐2926
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Name                        Address1                          Address2                          Address3                     Address4                 City              State   Zip
ABNEY, MINNIE LEE L         169 RATHBUN ST                    APT 1                                                                                   WOONSOCKET          RI    02895
ABNEY, NANCY L              2602 S MCCLURE ST                                                                                                         INDIANAPOLIS       IN     46241‐5718
ABNEY, NEAL A               5852 BEAUFORT LN                                                                                                          INDIANAPOLIS       IN     46254‐1049
ABNEY, NORA                 6645 STATE RT 201                                                                                                         TIPP CITY          OH     45371‐8500
ABNEY, NORA                 6645 STATE ROUTE 201                                                                                                      TIPP CITY          OH     45371‐8500
ABNEY, REBECCA L            4411 S 00E W #63                                                                                                          KOKOMO             IN     46902
ABNEY, RICHARD A            217 LAKEVIEW DR                                                                                                           BREMEN             GA     30110‐1538
ABNEY, RUDOLPH              5009 STONEDALE DR                                                                                                         SALIDA             CA     95368‐8149
ABNEY, SCOTT                SCHEUERMANN AND JONES             909 POYDRAS ST STE 2556                                                                 NEW ORLEANS        LA     70112‐4002
ABNEY, SHARON L             895 FOX CT                                                                                                                MORROW             OH     45152‐8456
ABNEY, SHIRLEY J            1133 BARRIE AVE                                                                                                           FLINT              MI     48507‐4809
ABNEY, SHIRLEY M            1392 CHAPIN                                                                                                               BIRMINGHAM         MI     48009‐5166
ABNEY, SHIRLEY M            1392 CHAPIN AVE                                                                                                           BIRMINGHAM         MI     48009‐5166
ABNEY, SIBBIE C             7528 WILLSEY LN                                                                                                           PLAINFIELD         IN     46168‐8525
ABNEY, TAMEKIA C            11414 STRATHMOOR ST                                                                                                       DETROIT            MI     48227‐2751
ABNEY, VIRGINIA             1655 RINGGOLD RD                                                                                                          SOMERSET           KY     42503‐2496
ABNEY, VIRGINIA M           1102 OAK POINTE DR                                                                                                        WATERFORD          MI     48327‐1632
ABNEY, WANDA F              1006 MEADOW RUN DR                                                                                                        RUSSIAVILLE        IN     46979‐9311
ABNEY, WILLIAM R            215 WELCOME WAY BLVD W APT 305B                                                                                           INDIANAPOLIS       IN     46214
ABNEY,CARLA ANN             6045 HEMINGWAY RD                                                                                                         HUBER HEIGHTS      OH     45424‐3524
ABNEY,SHARON L              895 FOX CT                                                                                                                MORROW             OH     45152‐8456
ABNEY‐MORRIS, BRENNA G      4411 S CORDOOEW #63                                                                                                       KOKOMO             IN     46902
ABNEY‐MORRIS, BRENNA GALE   4411 S CORDOOEW #63                                                                                                       KOKOMO             IN     46902
ABNEY‐WOOD, WANDA M         2553 GREY ROCK LN                                                                                                         KOKOMO             IN     46902‐7314
ABO, ROSALINDA Z            371 W MONTANA ST                                                                                                          PASADENA           CA     91103‐1437
ABOALT IMMOBPLIEN SL        C/O GERHARD U. BRIOITTE ALTHOFF   SKYTARISTR 10                                                  D‐12109 BERLIN GERMANY
ABODE INTEGRATED MED        25500 MEADOWBROOK RD STE 215                                                                                              NOVI               MI     48375‐1882
ABOGADO ROSEMARY            640 S SAN VICENTE BLVD STE 230                                                                                            LOS ANGELES        CA     90048‐4654
ABOGADO ROSEMARY            ABOGADO, LEO                      MIKHOV LAW OFFICES OF STEVE       640 S SAN VICENTE BLVD STE                            LOS ANGELES        CA     90048‐1654
                                                                                                230
ABOGADO ROSEMARY            ABOGADO, ROSEMARY                 MIKHOV LAW OFFICES OF STEVE       540 S SAN VICENTE BLVD STE                            LOS ANGELES        CA     90048‐4654
                                                                                                230
ABOGADO, LEO                MIKHOV LAW OFFICES OF STEVE       425 S FAIRFAX AVE STE 308                                                               LOS ANGELES       CA      90036‐3148
ABOGADO, ROSEMARY           MIKHOV LAW OFFICES OF STEVE       425 S FAIRFAX AVE STE 308                                                               LOS ANGELES       CA      90036‐3148
ABOGI JACQUELINE TERESA     ABOGI, JACQUELINE TERESA          1700 PLEASURE HOUSE RD STE 102A                                                         VIRGINIA BEACH    VA      23455‐4062
ABOLHASSAN KHOSROVANEH      26607 GLENWOOD DR                                                                                                         NOVI              MI      48374‐2142
ABOLINS, KONSTANTIN         1117 SPRING NE                                                                                                            GRAND RAPIDS      MI      49503‐1264
ABOLINS, KONSTANTIN         1117 SPRING AVE NE                                                                                                        GRAND RAPIDS      MI      49503‐1264
ABOLT CRAIG                 1003 DOGWOOD TRL                                                                                                          FRANKLIN LKS      NJ      07417
ABOLUHOOM, CYNTHIA PAMELA   1751 CASS LK FRONT                                                                                                        KEEGO HARBOR      MI      48320
ABONISS GIPSON              69 EUCLID AVE                                                                                                             PONTIAC           MI      48342‐1114
ABOOD, EVELINE T            7690 PLUMWOOD LN                                                                                                          SEVEN HILLS       OH      44131‐5809
ABOOKIRE JR, PHILLIP T      14848 SULKY WAY                                                                                                           CARMEL            IN      46032‐5172
ABORN, IDA J                1009 W CENTRAL                                                                                                            BLUFTON           IN      46714‐2310
ABOU‐EID, MARY E            13 SIAS LN                                                                                                                SPENCERPORT       NY      14559‐1907
ABOU‐EID, MARY ELLEN        13 SIAS LN                                                                                                                SPENCERPORT       NY      14559‐1907
ABOU‐EID, MICHEL G          16 MARKIE DR W                                                                                                            ROCHESTER         NY      14606‐4555
ABOU‐EID, NABIH G           13 SIAS LN                                                                                                                SPENCERPORT       NY      14559‐1907
ABOUBAKER, ALI S            6117 KENDAL ST                                                                                                            DEARBORN          MI      48126‐2144
ABOUCHABAB AHMAD            2413 MISSION BLVD                                                                                                         WEST BLOOMFIELD   MI      48324‐3310

ABOUCHABAB, AHMAD M         2413 MISSION BLVD                                                                                                         WEST BLOOMFIELD    MI     48324‐3310
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Name                            Address1                        Address2                        Address3         Address4                 City               State Zip
ABOUCHABAB, HASSAN A            2413 MISSION BLVD                                                                                         WEST BLOOMFIELD     MI 48324‐3310

ABOUGHANEM, RAWAD R            513 AVENUE G                     APT A                                                                     REDONDO BEACH      CA   90277‐6067
ABOUHAMAD MERHEB NOBRA CHAMOUN CHEDID                           CHEBARO ST ACHRAFIEH            WARDE BUILDING   BEIRUT LEBANON LEBANON

ABOVE & BEYOND                  16635 NOYES AVE                                                                                           IRVINE             CA   92606‐5138
ABOWD, MICHAEL J                317 MAPLE RIDGE ST                                                                                        ANN ARBOR          MI   48103‐3725
ABOWD, TIMOTHY T                10807 HILLCREST DRIVE                                                                                     PLYMOUTH           MI   48170‐3225
ABOYOUN & HELLER, LLC           JOSEPH S. ABOYOUN               695 US HIGHWAY 46 STE 401                                                 FAIRFIELD          NJ   07004‐1561
ABP INDUCTION LLC               1460 LIVINGSTON AVE             RECE 1099 08/01/06 AH                                                     NORTH BRUNSWICK    NJ   08902

ABPA ANNUAL CONFERENCE          PO BOX 3051                                                                                               BRYAN              TX   77805‐3051
ABPLANALP JR, FRANK C           1633 N F ST                                                                                               ELWOOD             IN   46036‐1344
ABPLANALP, BRENDA B             1306 GARNET DR                                                                                            ANDERSON           IN   46011‐9507
ABPLANALP, GERALD L             1306 GARNET DR                                                                                            ANDERSON           IN   46011‐9507
ABPLANALP, ROBERT W             6022 BACK FORTY DR NE                                                                                     BELMONT            MI   49306‐9074
ABQ RIDE                                                        601 YALE BLVD SE                                                          ALBUQUERQUE        NM   87106
ABRA P JONES                    1328 CHARLES AVE                                                                                          FLINT              MI   48505‐1720
ABRAAM, THOMAS E                16135 FOREST WAY                                                                                          MACOMB             MI   48042‐2350
ABRACADABRA PRODUCTIONS LTD     2860 FARMINGDALE DR                                                                                       BLOOMFIELD         MI   48301‐3407
ABRAHA, SEBLE                   19 BAKER CT                                                                                               TROTWOOD           OH   45426‐3001
ABRAHAM ABE (442883)            BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD , BEVAN                                             NORTHFIELD         OH   44067
                                                                PROFESSIONAL BLDG
ABRAHAM ALBERTO                 1202 COPEMAN BLVD                                                                                         FLINT              MI   48504‐7351
ABRAHAM ALLEN                   1585 LATHRUP AVE                                                                                          SAGINAW            MI   48638‐4740
ABRAHAM AND SALLY MAGID         C/O LAWRECE MAGID               PO BOX 289                                                                ALBERTSON          NY   11507
PARTNERSHIP
ABRAHAM AUDREY                  ABRAHAM, AUDREY                 27780 NOVI RD STE 105                                                     NOVI               MI   48377‐3427
ABRAHAM BALDWIN COLLEGE         FINANCIAL AID OFFICE            2802 MOORE HWY                  ABAC 23                                   TIFTON             GA   31793‐5679
ABRAHAM BENDAT                  11 TIRZA STREET                 RAMAT GAN 52364
ABRAHAM BENDAT                  C/O ORIT ZORAN                  2690 MEADOW WOOD DR                                                       CLEARWATER         FL   33761
ABRAHAM BLAIR                   3421 W WALTON BLVD                                                                                        WATERFORD          MI   48329‐4376
ABRAHAM BUELL JR                45734 LAKEVIEW CT APT 16108                                                                               NOVI               MI   48377‐3840
ABRAHAM BUICK GMC ANTHONY
ABRAHAM BUICK INC               GANLEY MANAGEMENT COMPANY       13215 DETROIT AVE                                                         LAKEWOOD           OH   44107
ABRAHAM BUICK INC               POKLAR ROBERT A & ASSOCIATES    10100 BRECKSVILLE RD                                                      BRECKSVILLE        OH   44141
ABRAHAM BUICK INC               ABRHAM BUICK INC
ABRAHAM BUICK, INC.             NICHOLAS ABRAHAM                1111 E BROAD ST                                                           ELYRIA             OH   44035‐6305
ABRAHAM BUICK, INC.             1111 E BROAD ST                                                                                           ELYRIA             OH   44035‐6305
ABRAHAM BURTON                  PO BOX 243                                                                                                O FALLON           MO   63366‐0243
ABRAHAM BUTTS                   235 GREELEY ST                                                                                            ROCHESTER          NY   14609‐4940
ABRAHAM CANTU                   1021 N COL ROWE BLVD                                                                                      MCALLEN            TX   78501‐2383
ABRAHAM CARTER JR               6235 DETROIT ST                                                                                           MOUNT MORRIS       MI   48458‐2735
ABRAHAM CHANEY                  BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                                BOSTON HTS.        OH   44236
ABRAHAM CHANNEY                 436 PALMERSTON ST                                                                                         RIVER ROUGE        MI   48218‐1142
ABRAHAM CHEVROLET‐MIAMI, INC.   JAMES BENDER                    4181 SW 8TH ST                                                            CORAL GABLES       FL   33134‐2656
ABRAHAM CHEVROLET‐MIAMI, INC.   4181 SW 8TH ST                                                                                            CORAL GABLES       FL   33134‐2656
ABRAHAM COLEMAN                 458 GRANTSBORO RD                                                                                         LA FOLLETTE        TN   37766‐5739
ABRAHAM COOPER                  1218 E WILLARD ST                                                                                         MUNCIE             IN   47302‐3557
ABRAHAM CORRIE                  17 GARDEN STREET                                                                                          GARDEN CITY        NY   11530
ABRAHAM CUITA                   141 WANONDOGER TRL                                                                                        BATTLE CREEK       MI   49017‐8107
ABRAHAM CURETON                 5416 AFAF ST                                                                                              FLINT              MI   48505‐1023
ABRAHAM DEXTER JR               PO BOX 4173                                                                                               SAGINAW            MI   48606‐4173
ABRAHAM DIAZ                    37626 COPPERSTONE DR                                                                                      STERLING HEIGHTS   MI   48312‐4810
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Name                            Address1                        Address2                  Address3      Address4               City               State   Zip
ABRAHAM DRIVER                  PO BOX 13711                                                                                   DETROIT             MI     48213‐0711
ABRAHAM EASO                    THE LIPMAN LAW FIRM             5915 PONCE DE LEON BLVD   SUITE 44                             CORAL GABLES        FL     33146
ABRAHAM EDMISTEN JR             6844 CHAPEL LN                                                                                 NORTH RIDGEVILLE    OH     44039‐2934

ABRAHAM EDWARD                  ABRAHAM, EDWARD                 5435 OSWEGO DR                                                 BETHLEHEM           PA     18017
ABRAHAM EDWARD SR (ESTATE OF)   ANGELOS PETER G LAW OFFICES     60 WEST BROAD ST                                               BETHLEHEM           PA     18018
(483902)
ABRAHAM ELLIS                   18060 WHITCOMB ST                                                                              DETROIT            MI      48235‐2814
ABRAHAM FELDMAN                 8709‐159 AVE                    HOWARD BEACH                                                   NEW YORK CITY      NY      11414
ABRAHAM FELIX                   2141 PARKTON RD                                                                                MOUNT MORRIS       MI      48458‐2646
ABRAHAM FLORES                  8121 CEDROS AVE                                                                                PANORAMA CITY      CA      91402‐4703
ABRAHAM FLORES JR               1215 RALSTON AVE                                                                               DEFIANCE           OH      43512‐1337
ABRAHAM GOODWILL                PO BOX 40834                                                                                   REDFORD            MI      48240‐0834
ABRAHAM HENRY                   825 E HOLBROOK AVE                                                                             FLINT              MI      48505‐2238
ABRAHAM HENRY JR                216 GREYSTONE DR                                                                               FRANKLIN           TN      37069‐4304
ABRAHAM HUIE                    6230 EMERALD DR                                                                                GRAND BLANC        MI      48439‐7809
ABRAHAM HULL JR                 123 N ASTOR ST                                                                                 PONTIAC            MI      48342‐2503
ABRAHAM HUNTER JR               19403 KLINGER ST                                                                               DETROIT            MI      48234‐1769
ABRAHAM II, THEODORE            2610 PENNSYLVANIA AVE                                                                          FLINT              MI      48506‐4802
ABRAHAM JACKSON JR              5994 COATSWORTH DR                                                                             REX                GA      30273‐2174
ABRAHAM JR, JOHN                2815 GATEWAY CIR                                                                               GRAYSLAKE          IL      60030‐9630
ABRAHAM JR, JOSEPH G            9468 N LEWIS RD                                                                                CLIO               MI      48420‐9781
ABRAHAM JR, MOSES S             3976 LANCASTER DR                                                                              STERLING HEIGHTS   MI      48310‐4409
ABRAHAM KING JR                 5312 STARR AVE                                                                                 LANSING            MI      48911‐3527
ABRAHAM KLEIN                   8382 DANIELS ST                                                                                BRIARWOOD          NY      11435‐2151
ABRAHAM L COLEMAN               458 GRANTSBORO RD                                                                              LA FOLLETTE        TN      37766‐5739
ABRAHAM LEWIS                   1125 AVENUE D ST                                                                               GREENCASTLE        IN      46135‐1839
ABRAHAM LITTLE                  5931 NO MANS RD                                                                                MIDDLETOWN         OH      45042‐9204
ABRAHAM LITTLE                  5931 NO MANS ROAD                                                                              MIDDLETOWN         OH      45042‐9204
ABRAHAM LITTLEJOHN              721 CHANDLER DR                                                                                TROTWOOD           OH      45426‐2509
ABRAHAM LITTLEJOHN              721 CHANDLER DR                                                                                TROTWOOD           OH      45426‐2509
ABRAHAM LOFTON                  10246 HARDPAN RD                                                                               ANGOLA             NY      14006‐8910
ABRAHAM LOU                     6833 E READING PL                                                                              TULSA              OK      74115‐4661
ABRAHAM MAKIL                   5100 ROBIN HILL LN                                                                             OKLAHOMA CITY      OK      73150‐4413
ABRAHAM MARZBAN                 4500 LOHR RD                                                                                   ANN ARBOR          MI      48108‐9532
ABRAHAM MOORE                   1014 CHANDLER ST                                                                               DANVILLE           IL      61832‐3725
ABRAHAM MUNGRO                  PO BOX 491                                                                                     MAIDEN             NC      28650‐0491
ABRAHAM RAZO                    20450 GRESHAM ST                                                                               WINNETKA           CA      91306‐1037
ABRAHAM ROBERT                  550 GRAND STREET NO H                                                                          NEW YORK           NY      10002
ABRAHAM SABA                    3324 SNOWGLEN LN                                                                               LANSING            MI      48917‐1733
ABRAHAM SIMMONS                 10461 ROAD 739                                                                                 PHILADELPHIA       MS      39350‐6842
ABRAHAM SIMON                   434 PALO VERDE DR                                                                              YUKON              OK      73099‐6890
ABRAHAM SMILEY                  PO BOX 21‐4581                                                                                 AUBURN HILLS       MI      48321
ABRAHAM SMITH JR                3668 TIFFANY DR                                                                                INDIANAPOLIS       IN      46226‐5993
ABRAHAM SOLORIO                 6244 GRIGGS ST                                                                                 FOREST HILL        TX      76119‐7412
ABRAHAM SPECTOR                 979 EAST END                                                                                   WOODMERE           NY      11598‐1005
ABRAHAM STONE                   RT.2 BOX 329 AA                                                                                BIG SANDY          TN      38221
ABRAHAM STROMAN                 17916 LESLIE RD                 SPRINGFIELD GARDENS                                            JAMAICA            NY      11434‐2700
ABRAHAM TABET                   104 S SHORE DR                                                                                 BOARDMAN           OH      44512‐5929
ABRAHAM TAWANDA                 ABRAHAM, DONSHAY                133 OMEGA COURT                                                SANTEE             SC      29142
ABRAHAM TAWANDA                 ABRAHAM, TAWANDA                133 OMEGA COURT                                                SANTEE             SC      29142
ABRAHAM TERESA                  PO BOX 5134                                                                                    DESTIN             FL      32540‐5134
ABRAHAM TOPETE‐RUBIO            13331 TERRA BELLA ST                                                                           PACOIMA            CA      91331‐3836
ABRAHAM TURNER JR               3756 HANEY RD                                                                                  DAYTON             OH      45416‐2055
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Name                      Address1                        Address2                       Address3   Address4               City               State   Zip
ABRAHAM VELASQUEZ JR      16349 E 34TH ST S                                                                                INDEPENDENCE        MO     64055‐2903
ABRAHAM WATKINS           38 E FAIRMOUNT AVE                                                                               PONTIAC             MI     48340‐2726
ABRAHAM WATKINS JR        10251 HAWKHURST DR                                                                               CINCINNATI          OH     45231‐1840
ABRAHAM WATSON            224 WARWICK AVE                                                                                  ROCHESTER           NY     14611‐3037
ABRAHAM WILLIAM           PO BOX 1390                                                                                      STERLING HTS        MI     48311‐1390
ABRAHAM WILLIAMS          422 CARMEN RD                                                                                    AMHERST             NY     14226‐1303
ABRAHAM YAFFAI            3311 ROBERT ST                                                                                   DEARBORN            MI     48120‐1436
ABRAHAM YEIHEY            2891 DINA DR                                                                                     TROY                MI     48085‐1132
ABRAHAM, ABE              BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD, BEVAN                                     NORTHFIELD          OH     44067
                                                          PROFESSIONAL BLDG
ABRAHAM, ALEYAMMA P       2923 SAINT JUDE DR                                                                               WATERFORD          MI      48329‐4353
ABRAHAM, ALEYAMMA P       2923 ST. JUDE DR.                                                                                WATERFORD          MI      48329‐4353
ABRAHAM, AUDREY           COMBS SCOTT E                   27780 NOVI RD STE 105                                            NOVI               MI      48377‐3427
ABRAHAM, AUDREY R         4624 BALLARD RD                                                                                  LANSING            MI      48911‐2935
ABRAHAM, BEVERLY A        14710 NORTHLINE ROAD                                                                             SOUTHGATE          MI      48195
ABRAHAM, BOBBY J          1618 CEDAR ST                                                                                    SAGINAW            MI      48601‐2837
ABRAHAM, BRANDON T.       1428 CLAIRWOOD DR                                                                                BURTON             MI      48509‐1503
ABRAHAM, CAROLINA E       13541 ARNOLD                                                                                     REDFORD            MI      48239‐2672
ABRAHAM, CHACKO K         867 MAJESTIC                                                                                     ROCHESTER HLS      MI      48306‐3574
ABRAHAM, CHACKUPARAMB V   31811 GLORIA CT                                                                                  WARREN             MI      48093‐1708
ABRAHAM, CHARLENE         5244 DANIEL DRIVE                                                                                INDIANAPOLIS       IN      46226‐1652
ABRAHAM, CHRISTOPHER W    3131 QUAIL RIDGE CIRCLE                                                                          ROCHESTER HLS      MI      48309‐2726
ABRAHAM, DAN H            BOONE ALEXANDRA                 205 LINDA DR                                                     DAINGERFIELD       TX      75638‐2107
ABRAHAM, DARYL L          5866 DEEPWOOD CT                                                                                 CLARKSTON          MI      48346‐3168
ABRAHAM, DAVID L          9718 DEMETER LN APT B                                                                            CHARLOTTE          NC      28262‐4694
ABRAHAM, DAVID R          2230 LILY CT                                                                                     DAVISON            MI      48423‐8388
ABRAHAM, DAVID W          #2                              726 GRAYDON AVENUE                                               NORFOLK            VA      23507‐1621
ABRAHAM, DIANE M          9468 N LEWIS RD                                                                                  CLIO               MI      48420‐9781
ABRAHAM, DOLORES A        21224 SUNRISE DR                                                                                 MACOMB             MI      48044‐2248
ABRAHAM, DONSHAY          133 OMEGA CT                                                                                     SANTEE             SC      29142‐9147
ABRAHAM, EDMUND G         7000 LUELDA AVE                                                                                  PARMA              OH      44129‐1415
ABRAHAM, EDWARD           5435 OSWEGO DR                                                                                   BETHLEHEM          PA      18017‐9119
ABRAHAM, EDWARD           ANGELOS PETER G LAW OFFICES     60 WEST BROAD ST                                                 BETHLEHEM          PA      18018‐5737
ABRAHAM, EDWARD J         406 MOUNT VERNON AVE                                                                             GROSSE POINTE      MI      48236‐3246
                                                                                                                           FARMS
ABRAHAM, ERNST W          3670 TRESSLA RD                                                                                  VASSAR              MI     48768‐9453
ABRAHAM, EUGENE M         627 HURON DR                                                                                     ROMEOVILLE          IL     60446‐1285
ABRAHAM, FINNEY M         2997 FRANCESCA DR                                                                                WATERFORD           MI     48329‐4306
ABRAHAM, FRANK A          3495 LOOP ROAD                                                                                   MIDDLEVILLE         MI     49333‐8517
ABRAHAM, FRANKLIN T       610 ROOSEVELT AVE                                                                                JANESVILLE          WI     53546‐3103
ABRAHAM, GARY A           14817 ARCOLA ST                                                                                  LIVONIA             MI     48154‐3925
ABRAHAM, GEORGEKUTTY P    PO BOX 7144                                                                                      BLOOMFIELD HILLS    MI     48302‐7144
ABRAHAM, GERALDINE M      14088 EASTVIEW DR                                                                                FENTON              MI     48430‐1302
ABRAHAM, GREGORY J        709 SHOOK CT                                                                                     BAY CITY            MI     48708‐6983
ABRAHAM, HAROLD W         7307 MARSEILLE DR                                                                                SHREVEPORT          LA     71108‐4747
ABRAHAM, HAROLD WALLACE   7307 MARSEILLE DR                                                                                SHREVEPORT          LA     71108‐4747
ABRAHAM, HELEN J          3117 STEVENSON ST                                                                                FLINT               MI     48504‐3246
ABRAHAM, JACK W           368A BRITTANY CT                                                                                 GENEVA              IL     60134‐3617
ABRAHAM, JACK W           368 BRITTANY CT APT A                                                                            GENEVA              IL     60134‐3617
ABRAHAM, JACQUELINE J     5608 WISE RD                                                                                     LANSING             MI     48911‐3411
ABRAHAM, JAMES            150 ANDERSON RD                                                                                  NO HUNTINGDON       PA     15642‐1638
ABRAHAM, JASON            45413 CYPRESS CT                                                                                 CANTON              MI     48188‐1091
ABRAHAM, JEANETTE M       29875 STANHURST RD                                                                               FARMINGTON HILLS    MI     48331‐1934
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Name                     Address1                        Address2              Address3          Address4               City               State   Zip
ABRAHAM, JESSE J         14088 EASTVIEW DR                                                                              FENTON              MI     48430‐1302
ABRAHAM, JOE H           20520 W CHICAGO ST                                                                             DETROIT             MI     48228‐1529
ABRAHAM, JOHN H          39345 IDE CT                                                                                   FREMONT             CA     94538‐1208
ABRAHAM, JOSE A          4344 S KILPATRICK AVE                                                                          CHICAGO              IL    60632‐4339
ABRAHAM, JOSE V          7420 NW 112TH ST                                                                               OKLAHOMA CITY       OK     73162‐2759
ABRAHAM, JOSEPH J        5144 OLD FRANKLIN RD                                                                           GRAND BLANC         MI     48439‐8629
ABRAHAM, JOSEPH M        234 JULIAN AVE                                                                                 LANSING             MI     48917‐3441
ABRAHAM, JUNE L          377 ACADIA DR                                                                                  KISSIMMEE           FL     34759‐3628
ABRAHAM, KAREN A         6200 KING ARTHUR DR                                                                            SWARTZ CREEK        MI     48473‐8808
ABRAHAM, KATHLEEN A      1420 PEACHWOOD DR.                                                                             FLINT               MI     48507‐5636
ABRAHAM, KATHLEEN T      17884 POINTE CT                                                                                CLINTON TWP         MI     48038‐4840
ABRAHAM, KRISTINA M      APT 107                         4457 WINDSOR COURT                                             SWARTZ CREEK        MI     48473‐1825
ABRAHAM, KUMBENKUZHY V   PO BOX 907                                                                                     BETHANY             OK     73008‐0907
ABRAHAM, KURIEN          38947 HORTON DR                                                                                FARMINGTON HILLS    MI     48331‐2348

ABRAHAM, LARRY A         9520 N LEWIS RD                                                                                CLIO                MI     48420‐9781
ABRAHAM, LARRY A         2126 E DODGE RD                                                                                CLIO                MI     48420‐9746
ABRAHAM, LARRY A C       9520 N LEWIS RD                                                                                CLIO                MI     48420‐9781
ABRAHAM, LAURI M         17247 SOUTH SCENIC DRIVE                                                                       BARBEAU             MI     49710‐9405
ABRAHAM, LAURI MARIE     17247 SOUTH SCENIC DRIVE                                                                       BARBEAU             MI     49710‐9405
ABRAHAM, LEON J          9033 RIVARD RD                                                                                 MILLINGTON          MI     48746‐9453
ABRAHAM, LEON JOSEPH     9033 RIVARD RD                                                                                 MILLINGTON          MI     48746‐9453
ABRAHAM, LEROY J         2094 E DODGE RD                                                                                CLIO                MI     48420‐9701
ABRAHAM, LEROY JOHN      2094 E DODGE RD                                                                                CLIO                MI     48420‐9701
ABRAHAM, LILLIAN M       2230 LILY CT                                                                                   DAVISON             MI     48423‐8388
ABRAHAM, MARK C          41854 KENTVALE DR                                                                              CLINTON TWP         MI     48038‐1978
ABRAHAM, MARY J          2094 E DODGE RD                                                                                CLIO                MI     48420‐9701
ABRAHAM, MICHAEL         3495 LOOP RD                                                                                   MIDDLEVILLE         MI     49333‐8517
ABRAHAM, MICHAEL A       582 BONDIE ST                                                                                  WYANDOTTE           MI     48192‐2666
ABRAHAM, MICHAEL ALLEN   582 BONDIE ST                                                                                  WYANDOTTE           MI     48192‐2666
ABRAHAM, MICHAEL L       4625 DAWSONVILLE HWY                                                                           GAINESVILLE         GA     30506‐3864
ABRAHAM, MICHELE B       3855 ANOKA DR                                                                                  WATERFORD           MI     48329‐2101
ABRAHAM, MILLER          5303 IVAN DR APT 104                                                                           LANSING             MI     48917‐3340
ABRAHAM, MOODY S         2923 SAINT JUDE DR                                                                             WATERFORD           MI     48329‐4353
ABRAHAM, MOODY S.        2923 SAINT JUDE DR                                                                             WATERFORD           MI     48329‐4353
ABRAHAM, NANCY D         3813 TWILIGHT DR                                                                               FLINT               MI     48506‐2518
ABRAHAM, NORMA J         2358 MELODY LN                                                                                 BURTON              MI     48509‐1158
ABRAHAM, ODELL           2003 PINE ST                                                                                   TEXARKANA           TX     75501‐3825
ABRAHAM, PAMELA G        12512 RAY RD                                                                                   GAINES              MI     48436‐8917
ABRAHAM, PATRICIA C      24101 CARLETON WEST RD                                                                         BELLEVILLE          MI     48111‐9638
ABRAHAM, PAUL            4933 GRINSTEIN DRIVE                                                                           KELLER              TX     76248‐1200
ABRAHAM, PHILIP M        11849 SW 3RD TER                                                                               YUKON               OK     73099‐7101
ABRAHAM, RONALD L        576 MEADOW LN                                                                                  ZIONSVILLE          IN     46077‐9737
ABRAHAM, ROOSEVELT       4140 HAROLD ST                                                                                 SAGINAW             MI     48601‐4129
ABRAHAM, RUSSELL S       610 ROOSEVELT AVE                                                                              JANESVILLE          WI     53546‐3103
ABRAHAM, RUSSELL S       2120 S CROSBY AVE                                                                              JANESVILLE          WI     53546‐5622
ABRAHAM, RUTH MARCIA     166 HILLTOP DR                                                                                 HART                MI     49420‐1135
ABRAHAM, SAMUEL          8313 BRIDLE PL                                                                                 BRENTWOOD           TN     37027‐8128
ABRAHAM, SHANNON L       1510 GIDDINGS AVE SE                                                                           GRAND RAPIDS        MI     49507‐2223
ABRAHAM, STANLEY M       2131 BEL AIRE                                                                                  WEST BLOOMFIELD     MI     48323‐1909

ABRAHAM, SUSAN A         2111 SPAULDING AVE SE                                                                          GRAND RAPIDS        MI     49546‐6362
ABRAHAM, TAWANDA         133 OMEGA CT                                                                                   SANTEE              SC     29142‐9147
ABRAHAM, THOMAS C        250 BELVISTA DR                                                                                ROCHESTER           NY     14625‐1240
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Name                           Address1                         Address2                        Address3   Address4               City            State   Zip
ABRAHAM, THOMAS S              6629 VACHON CT                                                                                     BLOOMFIELD       MI     48301‐2938
ABRAHAM, VICKI KAY             2126 E DODGE RD                                                                                    CLIO             MI     48420‐9746
ABRAHAM, WALLACE L             7393 E HOLLAND RD                                                                                  SAGINAW          MI     48601‐9408
ABRAHAM, WESLEY                621 E TAYLOR ST                                                                                    FLINT            MI     48505‐4354
ABRAHAM, WILLIAM               1309 MILLER COUNTY 30                                                                              DODDRIDGE        AR     71834‐1487
ABRAHAM, WILLIAM A             5435 REIMER RD                                                                                     BRIDGEPORT       MI     48722‐9730
ABRAHAM, WILLIAM A             PO BOX 1118                                                                                        SPRING HILL      TN     37174‐1118
ABRAHAM, WILLIAM F             3625 BASELINE RD                                                                                   GOBLES           MI     49055‐8824
ABRAHAM, WILLIAM G             38557 RIVER PARK DR                                                                                STERLING HTS     MI     48313‐5779
ABRAHAM, WILLIAM J             436 SUNSET DR                                                                                      JANESVILLE       WI     53548‐3247
ABRAHAM, WILLIAM J             436 SUNSET DRIVE                                                                                   JANESVILLE       WI     53548‐3247
ABRAHAM, WILLIE JEAN           20230 ASBURY PARK                                                                                  DETROIT          MI     48235‐2101
ABRAHAM‐DRAKE SHEILA           325 W DEWEY ST                                                                                     FLINT            MI     48505‐4001
ABRAHAMS TROPHY & GIFT SHOP    1121 N CREYTS RD                                                                                   LANSING          MI     48917‐8620
ABRAHAMS, COLLEEN M            163 W STATE RD                   PO BOX 281                                                        GRANT            MI     49327
ABRAHAMS, NEVILLE H            PO BOX 90841                                                                                       ROCHESTER        NY     14609‐0841
ABRAHAMSEN BRUCE J (455216)    WEITZ & LUXENBERG P.C.           180 MAIDEN LANE                                                   NEW YORK         NY     10038
ABRAHAMSEN, BRUCE J            WEITZ & LUXENBERG P.C.           180 MAIDEN LANE                                                   NEW YORK         NY     10038
ABRAHAMSEN, LOUISE             12840 S SURREY CT                                                                                  PALOS PARK        IL    60464‐1647
ABRAHAMSO, JEANETTE E          1631 S LADDIE CT                                                                                   BEAVERCREEK      OH     45432‐2458
ABRAHAMSON WESLEY J (401937)   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                       NORFOLK          VA     23510
                                                                STREET, SUITE 600
ABRAHAMSON, A C                3439 SCENIC VISTA DR                                                                               W DES MOINES     IA     50265‐7737
ABRAHAMSON, ERIC E             63 WOODFIELD RD                                                                                    BRISTOL          CT     06010‐2655
ABRAHAMSON, HIRREL E           7095 ROLLING HILLS DR                                                                              HUDSONVILLE      MI     49426‐9739
ABRAHAMSON, KURT O             10233 PANGBORN AVE                                                                                 DOWNEY           CA     90241‐2931
ABRAHAMSON, MILDRED            10233 PANGBORN AVE                                                                                 DOWNEY           CA     90241‐2931
ABRAHAMSON,C18 WESLEY J,       GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                       NORFOLK          VA     23510‐2212
                                                                STREET, SUITE 600
ABRAHAMYAN ABRAHAM             ABRAHAMYAN, ABRAHAM              13423 VENTURA BOULEVARD SUITE                                     SHERMAN OAKS     CA     91423
ABRAHIM, EDNA J                4822 FOXCROFT DR                                                                                   TROY             MI     48085‐3529
ABRAHIM, EDNA JOAN             4822 FOXCROFT DR                                                                                   TROY             MI     48085‐3529
ABRAITIS, DONALD J             9531 DENTON HILL RD                                                                                FENTON           MI     48430‐8416
ABRAM C LEDERMAN               1297 MONROE AVE                                                                                    ROCHESTER        NY     14620‐1655
ABRAM HARRIS
ABRAM JACKSON                  PO BOX 320451                                                                                      FLINT           MI      48532‐0008
ABRAM JR, BLUMIE               574 NEVADA AVE                                                                                     PONTIAC         MI      48341‐2553
ABRAM JR, MOSES L              521 N MADISON AVE                                                                                  BAY CITY        MI      48708‐6460
ABRAM JR, RENZIE               5205 W PRAIRIEWOOD DR                                                                              MUNCIE          IN      47304‐3489
ABRAM L WHEELER                329 S 8TH ST                                                                                       LANSING         MI      48912
ABRAM LEDERMAN                 1297 MONROE AVE                                                                                    ROCHESTER       NY      14620
ABRAM POWELL                   1044 WILLIAMSON CIR                                                                                PONTIAC         MI      48340‐3314
ABRAM SERRATO                  67 SUNSET LOOP                                                                                     PERRYVILLE      AR      72126‐8206
ABRAM WHEELER                  3900 BURNEWAY DR APT 316                                                                           LANSING         MI      48911‐2767
ABRAM, ADELBERT M              3424 KIESEL RD                                                                                     BAY CITY        MI      48706‐2446
ABRAM, ANNETTA                 2842 MODESTO AVE                                                                                   OAKLAND         CA      94619‐3336
ABRAM, BRANDI N                9360 DIXIE                                                                                         REDFORD         MI      48239‐1558
ABRAM, CHARLES E               C/O PHILLIP A WAID               655 METRO PLACE SOUTH                                             DUBLIN          OH      43017
ABRAM, CHARLES E               STE 210                          655 METRO PLACE SOUTH                                             DUBLIN          OH      43017‐3393
ABRAM, CHERYL A                617 E 6TH ST                                                                                       MUNCIE          IN      47302‐3417
ABRAM, DARNELL                 4904 S KAREN ST                                                                                    OKLAHOMA CITY   OK      73135‐2210
ABRAM, DELORES I.              RR 1 BOX 186                                                                                       SOLSBERRY       IN      47459‐9613
ABRAM, DELORES I.              RR 1, BOX 186                                                                                      SOLSBERRY       IN      47459‐9613
ABRAM, DONALD E                7818 S ROSE BUD DR                                                                                 PENDLETON       IN      46064‐8883
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Name                           Address1                        Address2                  Address3     Address4               City              State   Zip
ABRAM, DONELLA                 9544 SCHAEFER HWY                                                                             DETROIT            MI     48227‐3408
ABRAM, DONNA S                 6839 SUN RIDGE DR                                                                             WAYNESVILLE        OH     45068‐8332
ABRAM, ELSIE J                 1428 GRUBE ST                                                                                 INDIANAPOLIS       IN     46227‐5333
ABRAM, ELSIE J                 1426 GRUBE                                                                                    INDIANAPOLIS       IN     46227
ABRAM, GEORGE                  3381 TULIP DRIVE                                                                              BRIDGEPORT         MI     48722‐9650
ABRAM, HESTER                  7425 LYDIA                                                                                    KANSAS CITY        MO     64131‐1815
ABRAM, HESTER                  7425 LYDIA AVE                                                                                KANSAS CITY        MO     64131‐1815
ABRAM, JAMES H                 55 VIA PINTO DR                                                                               WILLIAMSVILLE      NY     14221‐2756
ABRAM, JAY F                   G3234 W SHERMAN AVE                                                                           FLINT              MI     48504
ABRAM, JOHNNIE E               1883 LIGHTHOUSE RD                                                                            ARDMORE            OK     73401‐8850
ABRAM, LONNIE                  3023 CLUSTER PINE DR                                                                          INDIANAPOLIS       IN     46235‐5819
ABRAM, MARSHALL J              1714 E HINES ST                                                                               MUNCIE             IN     47303‐3230
ABRAM, MARSHALL JOE            1714 E HINES ST                                                                               MUNCIE             IN     47303‐3230
ABRAM, MARY                    RR 1 BOX 82                                                                                   BLOOMFIELD         IN     47424‐9561
ABRAM, MILTON W                6845 MARGARET DR                                                                              FOREST HILL        TX     76140‐1323
ABRAM, RITA                    3023 CLUSTER PINE DR                                                                          INDIANAPOLIS       IN     46235‐5819
ABRAM, RITA M                  3023 CLUSTER PINE DR                                                                          INDIANAPOLIS       IN     46235‐5819
ABRAM, ROBER                   GUY WILLIAM S                   PO BOX 509                                                    MCCOMB             MS     39649‐0509
ABRAM, RUTH H                  5922 WINGFIELD LN                                                                             SHREVEPORT         LA     71129‐4920
ABRAM, SERLENCIE V             9474 SIMPSON RD                                                                               SHREVEPORT         LA     71129‐8826
ABRAM, SERLENCIE VICK          9474 SIMPSON RD                                                                               SHREVEPORT         LA     71129‐8826
ABRAM, STEVEN R                1845 TRUEMAN CT                                                                               ORTONVILLE         MI     48462‐8555
ABRAM, WILLIE J                1050 HARBORVIEW DR NE APT 304                                                                 DECATUR            AL     35601‐1639
ABRAM, YULANDA R               5922 WINGFIELD LN                                                                             SHREVEPORT         LA     71129‐4920
ABRAMCZYK, ANDREW              20013 GALLAGHER ST                                                                            DETROIT            MI     48234‐1655
ABRAMCZYK, JAMES J             3929 BRISTOL CT                                                                               CLARKSTON          MI     48348‐3613
ABRAMCZYK, NORMAN L            28546 HENNEPIN ST                                                                             GARDEN CITY        MI     48135
ABRAMCZYK, STANLEY J           712 PUTNAM AVENUE                                                                             TRENTON            NJ     08648‐4619
ABRAMCZYK, STANLEY J           712 PUTNAM AVE                                                                                TRENTON            NJ     08648‐4619
ABRAMCZYK, VERONICA J          712 PUTNAM AVE                                                                                TRENTON            NJ     08648‐4619
ABRAMO LOUIS A                 DBA DOCKSIDE SERVICES           200 FLORIDA AVE           ADDR 3\98                           TAVERNIER          FL     33070‐2641
ABRAMOVIC, ANA                 10365 LORETO RIDGE DR                                                                         KIRTLAND           OH     44094‐9548
ABRAMOVICH, ELIZABETH T        1151 JEFFERSON HEIGHTS RD                                                                     PITTSBURGH         PA     15235‐4710
ABRAMOVICH, RONALD L           5994 BULLARD RD                                                                               FENTON             MI     48430‐9411
ABRAMOVITCH, JOHN              534 SULLIVANS WAY                                                                             SENECA             SC     29672
ABRAMOW, JOANN                 8101 WELSHIRE BLVD                                                                            FORT WAYNE         IN     46815‐8731
ABRAMOWICZ, DONALD L           22005 NAPIER RD                                                                               NORTHVILLE         MI     48167
ABRAMOWICZ, MATTHEW J          6753 N LATSON RD                                                                              HOWELL             MI     48855‐9243
ABRAMOWITZ, JOSHUA D           5397 STONE RD                                                                                 LOCKPORT           NY     14094‐9465
ABRAMOWITZ, PHILIP S           5397 STONE RD                                                                                 LOCKPORT           NY     14094‐9465
ABRAMOWSKI, JENNIFER L         7335 SISSON HIGHWAY                                                                           HAMBURG            NY     14075‐6722
ABRAMS AARON THOMAS            29270 ELWELL RD                                                                               BELLEVILLE         MI     48111‐9696
ABRAMS CLEVELAND               1542 PONTIAC PL SE                                                                            ATLANTA            GA     30315‐4512
ABRAMS GENE F (456526)         BILMS KEVIN P                   430 CRAWFORD ST STE 202                                       PORTSMOUTH         VA     23704‐3813
ABRAMS JR, EDWARD B            239 HASTINGS AVE                                                                              BUFFALO            NY     14215‐2987
ABRAMS JR, HAROLD J            2867 ASHLEY DR W APT B                                                                        WEST PALM BEACH    FL     33415‐8245

ABRAMS JR, JACK W              15232 BENTWOOD TRL                                                                            PETERSBURG        MI      49270‐9459
ABRAMS JR, JAMES C             6115 CORSICA DR                                                                               HUBER HEIGHTS     OH      45424‐3512
ABRAMS JR, JAMES CHRISTOPHER   6115 CORSICA DR                                                                               HUBER HEIGHTS     OH      45424‐3512
ABRAMS JR, KENNETH W           PO BOX 1744                                                                                   MIAMISBURG        OH      45343‐1744
ABRAMS JR, LUTTIE B            2096 AVERITT RD                                                                               GREENWOOD         IN      46143‐9542
ABRAMS JR,KENNETH W            PO BOX 1744                                                                                   MIAMISBURG        OH      45343‐1744
ABRAMS MOVING & STORAGE        26765 FULLERTON                                                                               REDFORD           MI      48239
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Name                                  Address1                         Address2                        Address3   Address4                City               State Zip
ABRAMS NARON                          29270 ELWELL RD                                                                                     BELLEVILLE          MI 48111‐9696
ABRAMS RICHARD (ESTATE OF) (641038)   BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                                      NORTHFIELD          OH 44067
                                                                       PROFESSIONAL BLDG
ABRAMS RONALD (ESTATE OF) (478836)    ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET , ONE                                         BALTIMORE          MD   21202
                                                                       CHARLES CENTER 22ND FLOOR
ABRAMS SHELLY                         APT 132                          9050 IRON HORSE LANE                                               PIKESVILLE         MD   21208‐2159
ABRAMS THOMAS B (480384)              KELLEY & FERRARO LLP             1300 EAST NINTH STREET , 1901                                      CLEVELAND          OH   44114
                                                                       BOND COURT BUILDING
ABRAMS TOWING SERVICES LTD.           124 LEPAGE CRT.                                                             DOWNSVIEW ON M3J 1Z9
                                                                                                                  CANADA
ABRAMS, ALAN W                        134 N CHURCH RD                                                                                     ROCHESTER          NY   14612‐6105
ABRAMS, ANNA P                        15480 EDMORE DR                                                                                     DETROIT            MI   48205‐1351
ABRAMS, ARMANDO G                     9161 N ALABASTER PL                                                                                 TUCSON             AZ   85742‐9428
ABRAMS, ARVIE                         90 FAIRWAY DR.                                                                                      SPRINGBORO         OH   45066‐1015
ABRAMS, ARVIE                         90 FAIRWAY DR                                                                                       SPRINGBORO         OH   45066‐1015
ABRAMS, AUDREY                        4123 NEW BERN PL                                                                                    DURHAM             NC   27707‐5328
ABRAMS, BARBARA                       1919 LOURDES CT                                                                                     LANSING            MI   48910‐0618
ABRAMS, BERNARD
ABRAMS, BERNICE                       671 W MARTINDALE RD                                                                                 UNION              OH   45322‐3043
ABRAMS, BRENDA                        13 WESLEY DR                                                                                        AKRON              NY   14001
ABRAMS, CHARLES E                     PO BOX 1866                                                                                         AIKEN              SC   29802‐1866
ABRAMS, CHARLES H                     7 OLD ROCKMART RD SE                                                                                LINDALE            GA   30147‐1044
ABRAMS, CHRISTINA D                   4210 SALEM LANDING DR                                                                               WINSTON SALEM      NC   27101
ABRAMS, DANIEL                        389 KOONS AVE                                                                                       BUFFALO            NY   14211‐2315
ABRAMS, DAVID A                       310 TYRA DR                                                                                         IDAHO FALLS        ID   83401‐4438
ABRAMS, DAVID J                       5290 TIMBER RIDGE TRL                                                                               CLARKSTON          MI   48346‐3857
ABRAMS, DERRICK                       6125 S LAFLIN ST                                                                                    CHICAGO            IL   60636‐2331
ABRAMS, DIANE                         3455 PROVIDENCE CIR                                                                                 LIMA               OH   45801‐1745
ABRAMS, DOROTHY                       6WADEAVE                                                                                            BATAVIA            NY   14020
ABRAMS, DOROTHY J                     1024 N HOLMES AVE                                                                                   INDIANAPOLIS       IN   46222‐3631
ABRAMS, DOROTHY M                     4381 MAPLE DR                                                                                       NEWTON FALLS       OH   44444‐9732
ABRAMS, EARL                          1113 SOMERVILLE JACKSONBURG RD                                                                      SOMERVILLE         OH   45064‐9402
ABRAMS, EDWARD C                      230 STEVENS AVE                                                                                     BUFFALO            NY   14215‐3737
ABRAMS, EDWARD S                      27130 WINDJAMMER RD                                                                                 MILLSBORO          DE   19966‐6856
ABRAMS, ELIZABETH                     206 SWAN STLVD                                                                                      BUFFALO            NY   14204
ABRAMS, ELIZABETH                     206 SWAN ST                                                                                         BUFFALO            NY   14204
ABRAMS, ELLA L                        13502 CROSLEY                                                                                       REDFORD            MI   48239‐4519
ABRAMS, EUGENE H                      33312 42ND AVE                                                                                      PAW PAW            MI   49079‐9519
ABRAMS, FRANK                         5459 UPPER MOUNTAIN RD                                                                              LOCKPORT           NY   14094‐1811
ABRAMS, FRANK T                       3544 SCOVILLE AVE                                                                                   BERWYN             IL   60402‐3853
ABRAMS, GENE F                        BILMS KEVIN P                    430 CRAWFORD ST STE 202                                            PORTSMOUTH         VA   23704‐3813
ABRAMS, GEORGE R                      4896 BRYN MAWR DR                                                                                   SYRACUSE           NY   13215‐2208
ABRAMS, GERALD D                      8636 KALAMAZOO RIVER DR                                                                             FOWLERVILLE        MI   48836‐9059
ABRAMS, HALLIE E                      1104 JONESTOWN LANE                                                                                 LEXINGTON          KY   40517‐2914
ABRAMS, IVAN C                        164 NINE PARTNERS LN                                                                                MILLBROOK          NY   12545‐5847
ABRAMS, JAMES                         1245 N MAZIER                                                                                       BELMONT            MI   48306‐9780
ABRAMS, JAMES L                       16629 ABELA DR                                                                                      CLINTON TOWNSHIP   MI   48035‐2212

ABRAMS, JEFFREY
ABRAMS, JOEL C                        4384 MAYA LN                                                                                        SWARTZ CREEK       MI   48473‐1593
ABRAMS, JOHN C                        3865 HARVARD DR                                                                                     WILLOUGHBY         OH   44094‐6329
ABRAMS, JOHN L                        8764 E SOUTHSHORE DR                                                                                UNIONVILLE         IN   47468‐9752
ABRAMS, KATHY J                       1516 OAKHILL DR                                                                                     OKLAHOMA CITY      OK   73127‐3244
ABRAMS, KENNETH W                     204 N 10TH ST APT D                                                                                 MIAMISBURG         OH   45342‐2573
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Name                       Address1                                 Address2                       Address3   Address4               City               State   Zip
ABRAMS, KENNETH W          204 NORTH 10TH STREET                    APT D                                                            MIBURG              OH     45342
ABRAMS, LAWRENCE B         6555 THUNDERHILL LN                                                                                       CINCINNATI          OH     45233‐4571
ABRAMS, LEALIA             82 NORTH SHIRLEY STREET                                                                                   PONTIAC             MI     48342‐2760
ABRAMS, LEALIA             605 NEBRASKA                                                                                              PONTIAC             MI     48341‐2548
ABRAMS, MAE P              1020 85TH AVE N APT 119                  C/O CONNIE BARRETT                                               SAINT PETERSBURG    FL     33702‐3359

ABRAMS, MICHAEL E          19686 CREST DR                                                                                            APPLE VALLEY       CA      92307‐5432
ABRAMS, NARON T            29270 ELWELL RD                                                                                           BELLEVILLE         MI      48111‐9696
ABRAMS, PAULINE B          90 FAIRWAY DR.                                                                                            SPRINGBORO         OH      45066‐1015
ABRAMS, PAULINE B          90 FAIRWAY DR                                                                                             SPRINGBORO         OH      45066‐1015
ABRAMS, PETER M            7954 LAFFIT DRIVE                                                                                         JACKSONVILLE       FL      32217‐4104
ABRAMS, PETER M            7954 LAFFIT DR                                                                                            JACKSONVILLE       FL      32217‐4104
ABRAMS, RICHARD            BEVAN & ASSOCIATES                       10360 NORTHFIELD ROAD, BEVAN                                     NORTHFIELD         OH      44067
                                                                    PROFESSIONAL BLDG
ABRAMS, RICHARD B          5352 GREENLEAF DR                                                                                         SWARTZ CREEK       MI      48473‐1136
ABRAMS, ROBERT L           9 LEWISTON ST                                                                                             HYDE PARK          MA      02136‐3808
ABRAMS, ROBERT L           PO BOX 1488                                                                                               MORRISTOWN         TN      37816‐1488
ABRAMS, ROBERT O           11345 E PRIOR RD                                                                                          GAINES             MI      48436‐8808
ABRAMS, RODNEY E           6850 SHERIDAN RD                                                                                          VASSAR             MI      48768‐9530
ABRAMS, RONALD             ANGELOS PETER G LAW OFFICES OF           100 N CHARLES STREET, ONE                                        BALTIMORE          MD      21202
                                                                    CHARLES CENTER 22ND FLOOR
ABRAMS, ROSA M             3856 NOTTINGHAM AVE                                                                                       YOUNGSTOWN         OH      44511‐1110
ABRAMS, ROSANN W           4451 HAVERLAND DR                                                                                         HAMILTON           OH      45015‐1929
ABRAMS, ROSE M             954 N HIGHLAND AVE                                                                                        GIRARD             OH      44420‐2024
ABRAMS, RUSSELL D          5550 ELLIS RD                                                                                             YPSILANTI          MI      48197‐8945
ABRAMS, RUSSELL T          445 N SPOON LN                                                                                            BEAN STATION       TN      37708‐6816
ABRAMS, SUSAN C            702 WALNUT ST                                                                                             WASHINGTON         MO      63090‐2719
ABRAMS, SUSAN CATHERINE    702 WALNUT ST                                                                                             WASHINGTON         MO      63090‐2719
ABRAMS, SYLVESTER          BARTON & WILLIAMS                        3007 MAGNOLIA ST                                                 PASCAGOULA         MS      39567‐4126
ABRAMS, THEO               1929 WHITEHALL FOREST CT SE                                                                               ATLANTA            GA      30316‐4854
ABRAMS, THOMAS B           KELLEY & FERRARO LLP                     1300 EAST NINTH STREET, 1901                                     CLEVELAND          OH      44114
                                                                    BOND COURT BUILDING
ABRAMS, WADE               9192 CLEARCREEK RD                                                                                        SPRINGBORO         OH      45066‐9706
ABRAMS, WINFIELD D         230 N MADISON ST                                                                                          KNIGHTSTOWN        IN      46148‐1130
ABRAMS‐GRIFFIN, CARRIE A   4218 PARKSIDE DR                                                                                          BALTIMORE          MD      21206‐6424
ABRAMSKI JR, RICHARD H     30311 DELL LN                                                                                             WARREN             MI      48092‐4810
ABRAMSKI JR, RICHARD H     30311 DELL LN                                                                                             WARREN             MI      48092‐4810
ABRAMSKI, RICHARD H        14033 LA CHENE AVE                                                                                        WARREN             MI      48088‐3221
ABRAMSON                   PO BOX 905                                                                                                FALMOUTH           MA      02541‐0905
ABRAMSON MD                PO BOX 905                                                                                                FALMOUTH           MA      02541‐0905
ABRAMSON STANLEY           1190 COLGATE DR                                                                                           MONROEVILLE        PA      15146‐3535
ABRAMSON, CARL G           33680 PARDO ST                                                                                            GARDEN CITY        MI      48135‐1170
ABRAMSON, MARIANNE T       352 WATER WATCH LN                                                                                        TRAVERSE CITY      MI      49686‐1620
ABRAMSON, MICHAEL H        2323 HARVARD DR APT 41                                                                                    JANESVILLE         WI      53548‐2770
ABRAMSON, MICHAEL HUBERT   2323 HARVARD DR APT 41                                                                                    JANESVILLE         WI      53548‐2770
ABRAMSON, RUTH             9587 WELDON CIR APT 410                                                                                   FT LAUDERDALE      FL      33321‐0952
ABRANTES, ANTHONY
ABRANTES, ANTONIO D        CABANAS DE VIRIATO LACEIRAS 3430 B. A.                                             PORTUGAL

ABRANTES, CARLOS A         9 CHESTNUT ST                                                                                             SLEEPY HOLLOW       NY     10591‐2612
ABRANTES, GEORGE F         2517 WILDWOOD TRL                                                                                         SALINE              MI     48176‐1677
ABRANTES, JOSE A           2505 PALATO DR                                                                                            MARSHALL            TX     75672‐7089
ABRANTES, MATTHEW C        9 SHERWOOD DR                                                                                             MASSENA             NY     13662‐1755
ABRANTES, RONALD J         9 SHERWOOD DRIVE                                                                                          MASSENA             NY     13662‐1755
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Name                             Address1                             Address2                        Address3                   Address4                     City               State   Zip
ABRANTES, RONALD JAMES           9 SHERWOOD DRIVE                                                                                                             MASSENA             NY     13662‐1755
ABRANTES, RUSSELL L              194 MAPLE ST                                                                                                                 MASSENA             NY     13662‐1005
ABRANTES, RUSSELL LEE            194 MAPLE ST                                                                                                                 MASSENA             NY     13662‐1005
ABRANTES, SHAWN M                707 COUNTY ROUTE 39                                                                                                          MASSENA             NY     13662‐3460
ABRASIVE DIAMOND TOOL CO         30231 STEPHENSON HWY                                                                                                         MADISON HTS         MI     48071‐1613
ABRASIVE PRODUCTS LLC            PO BOX 99719                                                                                                                 CHICAGO              IL    60696‐7519
ABRASIVE PRODUCTS LLC            8615 E 33RD ST                                                                                                               INDIANAPOLIS        IN     46226‐6527
ABRASIVE SUPPLY & SERVICES INC   2411 EAGLE ST N RR 32                                                                           CAMBRIDGE ON N3H 4R7
                                                                                                                                 CANADA
ABRASIVE TOOL CORP               POTTER SUPPLY DIV                     1555 EMERSON ST ATTN S LOUTH                                                           ROCHESTER           NY     14606
ABRASIVE‐TOOL CORP               1555 EMERSON ST                                                                                                              ROCHESTER           NY     14606‐3117
ABRASIVE‐TOOL CORP               40 AERO DR                                                                                                                   BUFFALO             NY     14225‐1402
ABRASIVOS Y SERVICIOS            EULOGIO FLORES # 105 FRACCLA VICTORIA                                                           GUADALUPE NL CP 67110,
                                                                                                                                 MEXICO
ABRASIVOS Y SERVICIOS            ESPECIALIZADOS SA DE CV              EULOGIO FLORES 105                                         FRACC LA VICTORIA CP 67110
                                                                                                                                 MEXICO
ABREGO JR, RAMON                 16479 CRAIG DR                                                                                                               OAK FOREST         IL      60452‐4341
ABREGO, AMPARO                   16479 CRAIG DR                                                                                                               OAK FOREST         IL      60452‐4341
ABREGO, CARL O                   3300 PRITCHETT RD                                                                                                            PECK               MI      48466‐9503
ABREGO, JAVIER                   84 MANZANO ST                                                                                                                BROWNSVILLE        TX      78521
ABREGO, RAMON F                  5737 GRAVES ST                                                                                                               WATERFORD          MI      48327‐1908
ABREGO, RAYMUNDO J               3556 SANDUSKY RD                                                                                                             PECK               MI      48466‐9400
ABREN WILLIAM                    ABREN, WILLIAM                       4347 CONNECTICUT ST                                                                     GARY               IN      46409
ABREN, WILLIAM                   4347 CONNECTICUT ST                                                                                                          GARY               IN      46409‐2123
ABRERA, AUDREY                   HOFFMAN & OSORIO LLP                 3350 WILSHIRE BLVD STE 855                                                              LOS ANGELES        CA      90010‐1832
ABRESCH, DIANA G                 5114 ARROWHEAD BLVD                                                                                                          KOKOMO             IN      46902‐5317
ABRESCH, HARRY J                 2115 N ARMSTRONG ST                                                                                                          KOKOMO             IN      46901‐5802
ABREU LUIS                       14 CALLE JUAN MARTINEZ APT 31                                                                                                GUAYNABO           PR      00971
ABREU, CELESTINA G               8953 WARWICKE LN                                                                                                             SHERRILLS FORD     NC      28673
ABREU, FREDDIE                   9512 HICKORYHURST DR                                                                                                         BALTIMORE          MD      21236‐4701
ABREU, GERMAN M                  4660 FREEMAN LAKE CT                                                                                                         NORCROSS           GA      30093‐5705
ABREU, GERMINAL                  APT 108                              208 THREE ISLANDS BOULEVARD                                                             HALNDLE BCH        FL      33009‐7322
ABREU, GERMINAL                  208 THREE ISLANDS BLVD               APT 108                                                                                 HALLANDALE         FL      33009‐7322
ABREU, JOHN J                    81 GARFIELD AVE                                                                                                              WOBURN             MA      01801‐5730
ABREU, RAFAEL A                  2891 W 76TH ST                       APT 201                                                                                 HIALEA             FL      33018
ABREU, RAFAEL A                  2891 W 76TH ST APT 201                                                                                                       HIALEAH            FL      33018‐5375
ABREU, RAMON                     1068 FAIRMONT DR                                                                                                             COLUMBIA           TN      38401‐7709
ABREWCZYNSKI, JOSEPH G           15 DOGWOOD CT                                                                                                                SAINT PETERS       MO      63376‐2407
ABREWCZYNSKI, ROBERT J           15 DOGWOOD CT                                                                                                                SAINT PETERS       MO      63376‐2407
ABREY, LARRY N                   208 S PARK ST BOX 232                                                                                                        ASHLEY             MI      48806
ABRIGO, RAQUEL                   232 S FOSTER AVE                                                                                                             LANSING            MI      48912‐4024
ABRILLA SHELBY                   2453 SANDY RIDGE RUN                                                                                                         ROCK HILL          SC      29732‐8482
ABRILLE, CARLOS G                9832 STEARNS AVE                                                                                                             OAKLAND            CA      94605‐4804
ABRINKO, JOHN M                  59332 MT.ASH COURT 55D                                                                                                       WASHINGTON         MI      48094
ABRO ZAHER                       ABRO, CHRIS                          SNYDER DENNIS H                 10751 S SAGINAW STREET ,                                GRAND BLANC        MI      48439
                                                                                                      SUITE S
ABRO ZAHER                       ABRO, ZAHER                          10751 S SAGINAW ST STE S                                                                GRAND BLANC        MI      48439‐8169
ABRO, ANN M                      3074 FOX HILL DR                                                                                                             STERLING HEIGHTS   MI      48310
ABRO, CHRIS                      SNYDER DENNIS H                      10751 S SAGINAW ST STE S                                                                GRAND BLANC        MI      48439‐8169
ABRO, MARY A                     107 CEDAR ST                                                                                                                 FRAMINGHAM         MA      01702‐6907
ABRO, NADA                       48816 STONERIDGE DR                                                                                                          NORTHVILLE         MI      48168‐8675
ABRO, ZAHER                      SNYDER DENNIS H                      10751 S SAGINAW ST STE S                                                                GRAND BLANC        MI      48439‐8169
ABROGAR, ERNESTO P               9320 YOUNGS AVE                                                                                                              OKLAHOMA CITY      OK      73159‐6849
ABROL, GAUTAM                    4102 OAK ST                                                                                                                  GRAND BLANC        MI      48439‐3447
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Name                      Address1                            Address2                         Address3                 Address4               City              State   Zip
ABROM EDMOND              15834 PRINCETON ST                                                                                                   DETROIT            MI     48238‐4108
ABROM, MAYME T            2721 W. 38TH STREET                                                                                                  ANDERSON           IN     46011‐9038
ABROM, MAYME T            2721 W 38TH ST                                                                                                       ANDERSON           IN     46011‐9038
ABROM, NAOMI R            2721 W 38TH ST                                                                                                       ANDERSON           IN     46011‐9038
ABRON ANDREWS             529 W PULASKI AVE                                                                                                    FLINT              MI     48505‐3123
ABRON HARRISON            121 W 5TH ST                                                                                                         LIMA               OH     45804‐1907
ABRON HUNTER              THE MADEKSHO LAW FIRM               8866 GULF FREEWAY SUITE 440                                                      HOUSTON            TX     77017
ABRON JERNIGAN            5 PAR CT                                                                                                             MANSFIELD          TX     76063‐3484
ABRON, EDD                1309 AVENUE B                                                                                                        FLINT              MI     48503‐1431
ABRON, EDDIE T            1309 AVENUE B                                                                                                        FLINT              MI     48503‐1431
ABRON, GLORIA J           1345 E 83RD TER                                                                                                      KANSAS CITY        MO     64131‐2541
ABRON‐TOWNSEND, JANET L   3843 KESSLER BOULEVARD NORTH DR APT                                                                                  INDIANAPOLIS       IN     46228‐3188
                          3018
ABRON‐TOWNSEND, JANET L   5707 BROCKTON DR APT 309                                                                                             INDIANAPOLIS      IN      46220‐5480
ABRUA K DAULTON           PO BOX 663                                                                                                           FAIRBORNE         OH      45324‐3248
ABRUSCATO JEROME          ABRUSCATO, JEROME                   CADEAUX TAGLIERI & NOTARIUS PC   SUITE 800 , 1100                                WASHINGTON        DC      20036
                                                                                               CONNECTICUT AVENUE, NW

ABRUSCATO, JEROME         CADEAUX TAGLIERI & NOTARIUS PC        SUITE 800, 1100 CONNECTICUT                                                    WASHINGTON         DC     20036
                                                                AVENUE, NW
ABRUZZESE, GENEROSO       132 BRICK LANDING                                                                                                    ROCHESTER         NY      14626‐4626
ABRUZZESE, GENEROSO       132 BRICK LNDG                                                                                                       ROCHESTER         NY      14626‐4742
ABRUZZESE, ZINA           132 BRICK LNDG                                                                                                       ROCHESTER         NY      14626‐4742
ABRUZZINO, FRANK          14670 ZENITH DR                                                                                                      NEWBURY           OH      44065‐9647
ABS ENTERPRISE INC        RE WAUKEGON GAS & COKE PLT SIT        9712 SPANISH OAK CT                                                            FAIRFAX STATION   VA      22039‐3401
ABS GLOBAL, INC.          BOB HARTWIG                           1525 RIVER RD                                                                  DE FOREST         WI      53532‐2430
ABS QUALI/HOUSTON         16800 GREENSPOINT PARK DRIVE                                                                                         HOUSTON           TX      77060
ABSA BANK LIMITED         GROUP SECRETARIAT ABSA TOWERS EAST,   170 MAIN STREET                                         JOHANNESBURG SOUTH
                          3RD FLOOR                                                                                     AFRICA
ABSEMI BURNAKLI           33237 MILL RACE CIR                                                                                                  WESTLAND          MI      48185‐1486
ABSHEAR, ANDREW J         22168 ABSHEAR RD                                                                                                     OLDENBURG         IN      47036‐9732
ABSHEAR, DORIS A          5070 SHEPHARD RD                                                                                                     MIAMISBURG        OH      45342‐4722
ABSHEAR, DORIS A          5070 SHEPARD RD                                                                                                      MIAMISBURG        OH      45342‐4722
ABSHEAR, GENEVA P         7654 CARTER DR                                                                                                       WAYNESVILLE       OH      45068‐8706
ABSHEAR, JASON B          497 TERRACE CREEK COURT                                                                                              LEBANON           OH      45036‐8121
ABSHEAR, RAYMOND          4132 ROUTT LN                                                                                                        FRANKLIN          OH      45005‐4648
ABSHEAR, RAYMOND          4132 ROUTT LANE                                                                                                      FRANKLIN          OH      45005‐4648
ABSHEAR, SARAH E          166 WESTHAFER RD                                                                                                     VANDALIA          OH      45377‐2837
ABSHEER, LARRY C          127 BRENT CT                                                                                                         SCOTTSVILLE       KY      42164‐7945
ABSHER, ALFRED R          160 BROOKLAWN DR                                                                                                     KINGSPORT         TN      37660‐1706
ABSHER, BILLIE K          231 HORIZON RD                                                                                                       WHITE LAKE        MI      48386‐2433
ABSHER, GARY D            1725 DEER PATH TRL                                                                                                   OXFORD            MI      48371‐6060
ABSHER, GENE E            PO BOX 14119                                                                                                         MESA              AZ      85216‐4119
ABSHER, GENE EDWARD       PO BOX 1966                                                                                                          MARSHALL          TX      75671‐1966
ABSHER, PHYLLIS B         8A OWENS LANDING COURT                                                                                               PERRYVILLE        MD      21903
ABSHER, SAMANTHA L        14300 HARR RD                                                                                                        GRASS LAKE        MI      49240‐9523
ABSHER, TOMMY E           4419 TINCHER RD                                                                                                      INDIANAPOLIS      IN      46221‐3130
ABSHIER, GREGORY T        15296 BARBER CREEK AVE                                                                                               KENT CITY         MI      49330‐9732
ABSHIER, SHIRLEY          270 HAMPTON CT                                                                                                       POPLAR BLUFFS     MO      63901‐6710
ABSHIRE KENNETH           ABSHIRE, KELLY                        CROWLEY JAMES W                4149 MAYSTAR WAY                                HILLIARD          OH      43026‐3012
ABSHIRE KENNETH           ABSHIRE, KENNETH                      4149 MAYSTAR WAY                                                               HILLIARD          OH      43026‐3012
ABSHIRE, BRENDA F
ABSHIRE, CHRISTOPHER      3445 MIDDLE PATTON PARK RD                                                                                           MARTINSVILLE      IN      46151‐8931
ABSHIRE, DONALD R         P O BOX 744                                                                                                          GREENSBORO        MD      21639
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Name                                  Address1                        Address2                       Address3   Address4                City            State   Zip
ABSHIRE, JOHN E                       10742 SPENCER HOLLOW RD                                                                           FRENCH LICK      IN     47432‐7130
ABSHIRE, MICHAEL R                    12217 EDWIN RD                                                                                    OKLAHOMA CITY    OK     73165‐6729
ABSHIRE, PAUL M                       2053 KETCH CIR LOT C3                                                                             PALM HARBOR      FL     34683
ABSHIRE, WILMA E                      117 LOWRY DR                                                                                      WEST MILTON      OH     45383‐1322
ABSHIRE‐JONES, WANDA G                5 DORCHESTER CT                                                                                   MANSFIELD        TX     76063‐2889
ABSLOME HAGER                         2850 PHELPS LAKE RD                                                                               MAYVILLE         MI     48744‐9519
ABSOLUT MOTORS CAPE                   125 BUITENGRACHT STREET                                                   CAPE TOWN 8001 SOUTH
                                                                                                                AFRICA
ABSOLUTDATA TECHNOLOGIES INC          1320 HARBOR BAY PKY                                                                               ALAMEDA         CA      94502
ABSOLUTE ANALYTICAL INC               PO BOX 188                                                                                        TROY            MI      48099‐0188
ABSOLUTE ASPHALT PAVING               ATTN: NICK STEVENS              46537 ECORSE RD # 30                                              BELLEVILLE      MI      48111‐5118
ABSOLUTE AUTO REPAIR                  13095 E US HIGHWAY 92                                                                             DOVER           FL      33527‐4107
ABSOLUTE AUTO REPAIR & COLLSN         ATTN: ED FAIRBURN               574 SHERIDAN DR                                                   TONAWANDA       NY      14150‐7875
ABSOLUTE AUTOMOTIVE                   558 N 100 W                                                                                       OREM            UT      84057‐3909
ABSOLUTE ENERGY                       ATTN: LISA R. KLEIN             2680 GRAND ISLAND BLVD STE 1                                      GRAND ISLAND    NY      14072‐1693
ABSOLUTE ENERGY                       LISA R. KLEIN                   2680 GRAND ISLAND BLVD         STE 1                              GRAND ISLAND    NY      14072‐1693
ABSOLUTE IMPORT & DOMESTIC SERVICE,   9065 RAILROAD AVE SE                                                                              SNOQUALMIE      WA      98065
INC.
ABSOLUTE MACHINE TOOLS INC            7420 INDUSTRIAL PARKWAY DR                                                                        LORAIN          OH      44053‐2064
ABSOLUTE TRANSPORTATION               725 S ROOSEVELT AVE                                                                               BURLINGTON      IA      52601‐1675
ABSOLUTE/WATERFORD                    4708 W WALTON BLVD                                                                                WATERFORD       MI      48329‐3539
ABSOPURE WATER CO                     425 36TH ST SW # F                                                                                GRAND RAPIDS    MI      49548‐2161
ABSOPURE WATER CO                     8845 GENERAL DR                                                                                   PLYMOUTH        MI      48170‐4679
ABSOPURE WATER CO                     8835 GENERAL DR                                                                                   PLYMOUTH        MI      48170‐4623
ABSOPURE WATER CO                     8845 GENERAL DR                 PO BOX 701760                                                     PLYMOUTH        MI      48170‐4679
ABSOPURE WATER COMPANY                8845 GENERAL DR                 PO BOX 701760                                                     PLYMOUTH        MI      48170‐4679
ABSOPURE WATER COMPANY                PO BOX 701760 DEPT 11‐808560                                                                      PLYMOUTH        MI      48170
ABSOPURE/PLYMOUTH                     PO BOX 701248                   8835 GENERAL DRIVE                                                PLYMOUTH        MI      48170‐0961
ABSORBENTS MIDWEST INC                PO BOX 24670                                                                                      DETROIT         MI      48224‐0670
ABSTANCE, STEVE L                     1129 MASON DR NW                                                                                  HARTSELLE       AL      35640‐1767
ABSTON, BERNICE W                     1127 KENNEBEC RD                                                                                  GRAND BLANC     MI      48439‐4841
ABSTON, FRAZIER                       2846 CLUB FOREST DR SE                                                                            CONYERS         GA      30013
ABSTON, MELDA D                       3230 MOSS ISLAND RD                                                                               ANDERSON        IN      46011‐9742
ABSTON, RAYMOND L                     5498 E MONTPELIER PIKE                                                                            MARION          IN      46953
ABSTON, SAMUEL                        14433 MARK TWAIN ST                                                                               DETROIT         MI      48227‐4813
ABSTON, SIDNEY B                      1127 KENNEBEC RD                                                                                  GRAND BLANC     MI      48439‐4841
ABSTON, THOMAS R                      PO BOX 19476                                                                                      DETROIT         MI      48219‐0476
ABSTON, VELMA M                       212 MACS LN                                                                                       TULLAHOMA       TN      37388‐2481
ABSTON, WILLIAM M                     27205 DENBO CIR                                                                                   HARVEST         AL      35749
ABSTON, WILLIE                        PORTER & MALOUF PA              4670 MCWILLIE DR                                                  JACKSON         MS      39206‐5621
ABSTON, WILLO D                       845 POWELL RD                                                                                     MERIDIAN        MS      39301‐8941
ABT ELECTRONICS                                                       1200 MILWAUKEE AVE                                                GLENVIEW        IL      60025
ABT, ANDREW C                         1675 ROCK ROSE COURT                                                                              LEBANON         OH      45036‐3906
ABT, DONALD J                         4925 BEACH RIDGE RD                                                                               LOCKPORT        NY      14094‐9642
ABT, IRVING T                         441 EVANS ST                                                                                      N TONAWANDA     NY      14120‐4112
ABT, JOHN T                           PO BOX 172                                                                                        BLANCHESTER     OH      45107‐0172
ABT, WENDY J                          2275 E 900 N                                                                                      HUNTINGTON      IN      46750‐9658
ABTREX INDUSTRIES INC                 28530 REYNOLDS ST                                                                                 INKSTER         MI      48141‐2257
ABTREY INDUST/LEETSD                  3RD & FERRY STREET                                                                                LEETSDALE       PA      15056
ABTS, JAMES G                         8259 N STONE FARM RD                                                                              EDGERTON        WI      53534‐9750
ABU AITAH, SHARON L                   2433 GREEN ACRES DR                                                                               GRAND BLANC     MI      48439‐8150
ABU AITAH, SHARON LYNN                2433 GREEN ACRES DR                                                                               GRAND BLANC     MI      48439‐8150
ABU AMSHA, RICARDO                    18265 MARQUETTE ST                                                                                ROSEVILLE       MI      48066‐3400
ABU ASHRAF                            18994 PEMBRIDGE ST                                                                                MACOMB          MI      48042‐6230
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Name                             Address1                             Address2                      Address3        Address4                 City               State   Zip
ABU N HAKIM                      53 MARSTON ST APT 403                                                                                       DETROIT             MI     48202‐2570
ABU NOMAN HOSSAIN                1509 VANDERBILT DR                                                                                          FORT WAYNE          IN     46845‐2366
ABU‐AITAH, JIRIES A              2433 GREEN ACRES DR                                                                                         GRAND BLANC         MI     48439‐8150
ABU‐AITAH, JIRIES ATALLAH        2433 GREEN ACRES DR                                                                                         GRAND BLANC         MI     48439‐8150
ABU‐ZAHRA, MUFID M               4393 MARGATE LN                                                                                             BLOOMFIELD HILLS    MI     48302‐1628
ABUBAKAR OKOE                    PO BOX 53229                                                                                                CHICAGO              IL    60653‐0229
ABUELROOS, MOHAMMED M            38930 MARLBOROUGH DR                                                                                        STERLING HEIGHTS    MI     48310‐3156
ABUGHAIDA, AMER                  6341 WOODMERE CT                                                                                            FLINT               MI     48532‐2165
ABUISO, SEBASTIAN                PO BOX 391                                                                                                  CANADENSIS          PA     18325‐0391
ABUJA, LARRY B                   151 QUARTERLINE ST                                                                                          NEWAYGO             MI     49337
ABUJA, LEONARD B                 1410 FONGER ST NE                                                                                           SPARTA              MI     49345‐9445
ABUL‐HUSN, TALI A                28065 PIERCE ST                                                                                             SOUTHFIELD          MI     48076‐2936
ABULABAN, MAJDI B                1171 PENINSULA DR                                                                                           CENTRAL CITY        PA     15926
ABULENCIA, NANCY J               215 GEORGE ST                                                                                               NORTH SYRACUSE      NY     13212‐1311
ABULHASSAN, SOBHI                6040 NECKEL ST                                                                                              DEARBORN            MI     48126‐2251
ABULIBDEH, BEVERLY               8224 STANLEY RD                                                                                             FLUSHING            MI     48433‐1179
ABULIBDEH, MOHAMMAD S            9908 BERWICK ST                                                                                             LIVONIA             MI     48150‐2816
ABUNADA, DANIELA A               PARRILLO WEISS & OHALLORAN           77 WEST WACKER DRIVE ‐ 50TH                                            CHICAGO              IL    60601
ABUNASSAR, CHAD J                3530 ARDMORE DR                                                                                             TROY                MI     48083‐5241
ABUNDANCE LUXURY AND             3705 NEW MACLAND RD STE 200 146                                                                             POWDER SPRINGS      GA     30127
TRANSPORTATION
ABUNDANT FAITH CATHEDRAL         14710 KERCHEVAL ST                                                                                          DETROIT             MI     48215‐2816
ABUNDANT LIFE CHIRO HEALTH INC   1358 E BRISTOL RD                                                                                           BURTON              MI     48529‐2212
ABUNDEZ, ANGEL                   1020 EDWARDS PL                                                                                             LOMPOC              CA     93436‐3416
ABUNDEZ, JESSICA D               1020 EDWARDS PL                                                                                             LOMPOC              CA     93436‐3416
ABUNDIO MEDINA                   PO BOX 123                                                                                                  PIRU                CA     93040‐0123
ABUNDIS, GARY J                  6503 MARSHALL ST                                                                                            CANTON              MI     48187‐1600
ABUNDIS, GARY JOSEPH             6503 MARSHALL ST                                                                                            CANTON              MI     48187‐1600
ABUNDIS, LEWIS                   22784 REDWOOD LN                                                                                            TAYLOR              MI     48180‐9316
ABURABIE, SALEH                  250 OHUA AVE APT 8E                                                                                         HONOLULU            HI     96815
ABURTO, JANETE T                 5031 SOUTHWEST 188TH AVENUE                                                                                 SW RANCHES          FL     33332‐1325
ABUSAFIA CATRINA                 ABUSAFIA, CATRINA                    30928 FORD RD                                                          GARDEN CITY         MI     48135‐1803
ABUSALEM, BODOUR
ABUSALEM, SUZAN
ABUSALEM, TARIQ
ABUSHARKH, FAKHAE
ABUTINEH, HELENA                 2158 LANSING ST                                                                                             DETROIT             MI     48209‐1673
ABX LOGISTICS ESPANA, SA         NORBERT SCHNIER                      AVDA DE LA INDUSTRIAL, 52     28820 COSLADA   RAMOS ARIZPE CZ 25904
                                                                                                                    MEXICO
ABYAD CHRISTOPHER K              14622 HEMLOCK ST                                                                                            OVERLAND PARK       KS     66223‐1387
ABYAD, CHRISTOPHER K             14622 HEMLOCK                                                                                               OVERLAND PARK       KS     66223‐1387
ABYAD, CHRISTOPHER KENT          14622 HEMLOCK ST                                                                                            OVERLAND PARK       KS     66223‐1387
AC AUTO PARTS CORPORATION        AVE J.F. KENNEDY K 2.5                                                                                      SAN JUAN            PR     00922
AC AUTO SERVICE                  220 N SCOTT ST                                                                                              WILMINGTON          DE     19805‐3435
AC AUTOMOTIVE                    2425 W CLEMMONSVILLE RD                                                                                     WINSTON SALEM       NC     27127‐8783
AC CLUB ASITENCIA LTDA
AC CONCRETE CONTRACTING          DIVISION OF MOUNT CONCRETE           CONTRACTING LTD               PO BOX 1179     ALDERGROVE CANADA BC
                                                                                                                    V4W 2V1 CANADA
AC DELCO                         300 PHILLIPS AVE                                                                                            TOLEDO             OH      43612
AC EXPRESS INC                   PO BOX 67000                                                                                                DETROIT            MI      48267‐0002
AC PROPULSION INC                441 BORREGO CT                                                                                              SAN DIMAS          CA      91773‐2971
AC PROPULSION INC                ATTN: CORPORATE OFFICER/AUTHORIZED   441 BORREGO CT                                                         SAN DIMAS          CA      91773‐2971
                                 AGENT
AC ROCHESTER DIVISION            PO BOX 92823                                                                                                ROCHESTER           NY     14692‐8923
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Name                                Address1                             Address2                           Address3                Address4                    City               State   Zip
AC ROCHESTER DIVISION               2100 BURLINGAME AVE SW                                                                                                      GRAND RAPIDS        MI     49509‐1753
AC ROCHESTER DIVISION               1300 N DORT                                                                                                                 FLINT               MI     48556‐0500
AC ROCHESTER DIVISION               500 LEE ROAD                                                                                                                ROCHESTER           NY     14606
AC ROCHESTER‐ACCT PAYABLE           31 JUDSON ‐ MAIL CODE 3105‐04                                                                                               PONTIAC             MI     48343
AC TECH/LOUISVILLE                  9625 ORMSBY STATION RD                                                                                                      LOUISVILLE          KY     40223‐4002
AC TECHNICAL SYSTEMS INC
AC TECHNOLOGY CORP                  630 DOUGLAS ST                                                                                                              UXBRIDGE           MA      01569‐2001
AC TECHNOLOGY CORPORATION           630 DOUGLAS ST                                                                                                              UXBRIDGE           MA      01569‐2001
AC TRANSIT/CENTRAL MAINTENANCE                                           10626 INTERNATIONAL BLVD                                                               OAKLAND            CA      94603
AC TRANSPORT                        1221 NORTH SERVICE RD E                                                                         OAKVILLE CANADA ON L6H
                                                                                                                                    1A7 CANADA
AC TRANSPORT                        ANDY GILL                            1221 NORTH SERVICE ROAD EAST                               OAKVILLE ON N6H1A7
                                                                                                                                    CANADA
AC WILLIAMS
AC&S
AC, VOJTECH                         504 RIVA AVE                                                                                                                EAST BRUNSWICK      NJ     08816‐2438
AC‐WEBDALE, VERONICA                1052 AZALEA PTE DR                                                                                                          PORT ORANGE         FL     32129
ACA OTOMOTIV ITHALAT                IHRACAT SANAYIVE TICARET AS          ANKARA POLATLI KARAYOLU 55 KM                              ANKARA 06901 TURKEY
ACABADOS TECNICOS AUTOMOTRICES      LAZARO CARDENAS 925‐C INT C          COL SANTA CRUZ                                             BUENAVISTA PU 72160
                                                                                                                                    MEXICO
ACABADOS TECNICOS AUTOMOTRICESDE    CALLE LAZARO CARDENAS #925‐C         COL SANTA CRUZ BUENAVISTA                                  CP 72160 MEXICO MEXICO
MEXICO S A DE C V
ACACIA S BROWN                      PO BOX 2494                                                                                                                 DETROIT             MI     48202‐0494
ACACIA SCIF III LLC                 C\O MAGELLAN GROUP                   1800 AVENUE OF THE STARS STE 105                                                       LOS ANGELES         CA     90067‐4203
ACACIO DOS SANTOS                   60 TABLE ROCK RD                                                                                                            TUXEDO PARK         NY     10987‐4720
ACADEMIC MEDICINE SV                PO BOX 2506                                                                                                                 BUFFALO             NY     14240‐2506
ACADEMY                             111 PATERSON AVE                                                                                                            HOBOKEN             NJ     07030‐6012
ACADEMY CAR CARE & REPAIR           1804 N ACADEMY BLVD                                                                                                         COLORADO SPRINGS    CO     80909‐2724

ACADEMY DIE CASTING & PLATING CO    47 LANGSTAFF AVE                                                                                                            EDISON              NJ     08817‐3312
ACADEMY INDUSTRY COOPERATION F      300 CHEONCHEON DONG JANGAN GU                                                                   SUWON GYEONGGI DO KR
                                                                                                                                    00000 KOREA (REP)
ACADEMY INDUSTRY COOPERATION        300 CHEONCHEON DONG JANGAN GU                                                                   SUWON GYEONGGI DO KR
FOUNDA                                                                                                                              00000 KOREA (REP)
ACADEMY OF LEARNING                 5 BANK ST STE 202                                                                                                           ATTLEBORO          MA      02703‐2351
ACADEMY OF MANAGED CARE             PHARMACY                             100 N PITT ST STE 400                                                                  ALEXANDRIA         VA      22314‐3141
ACADEMY OF MATH SCIENCE &           154 HAMILTON BLVD                                                                                                           STRUTHERS          OH      44471‐1446
TECHNOLOGY
ACADEMY OF PERSONAL PROTECTIONAND   336 HILL AVE SUITE 102                                                                                                      NASHVILLE           TN     37210
SECURITY
ACADIA PARISH SCHOOL BOARD          PO BOX 309                             SALES/USE TAX DEPARTMENT                                                             CROWLEY             LA     70527‐0309
ACADIA PARISH SCHOOL BOARD          PO BOX 309                                                                                                                  CROWLEY             LA     70527‐0309
ACADIA PARISH SCHOOL BOARD          ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 309                                                                           CROWLEY             LA     70527‐0309

ACADIA PARISH TAX COLLECTOR         PO BOX 600                                                                                                                  CROWLEY             LA     70527‐0600
ACADIA POLY/WOODRIDG                10625 BEAUDIN BLVD                                                                                                          WOODRIDGE           IL     60517‐4949
ACADIA POLYMERS                     JEFF SPENCER                         P.O. BOX 29                                                NOBLE PARK 3174 AUSTRALIA

ACADIA POLYMERS CORP                PATTI HUBRIGHT                       REDMOND PLASTICS DIV               3967 BUFFALO STREET                                 DUBOIS              PA     15801
ACADIA POLYMERS CORP OF ILLINOIS    10625 BEAUDIN BLVD                                                                                                          WOODRIDGE           IL     60517‐4949
ACADIA POLYMERS CORPORATION         5251 CONCOURSE DR STE 3                                                                                                     ROANOKE             VA     24019‐3081
ACADIA UNIVERSITY                   C/O LANG MICHENER LLP, ATTN DALE E   BROOKFIELD PLACE                   181 BAY ST SUITE 2500   TORONTO ONTARIO M5J 2T7
                                    SCHLOSSER
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Name                                  Address1                             Address2                         Address3                   Address4                   City           State Zip
ACADIA UNIVERSITY                     LANG MICHENER LLP                    BCE PLACE 181 BAY STREET SUITE                              TORONTO ON M5J 2T7
                                                                           2500 P O BOX 747                                            CANADA
ACADIA UNIVERSITY V. GM AND GM OF     ACADIA UNIVERSITY                    BCE PLACE 181 BAY STREET SUITE                              TORONTO ON M5J 2T7
CANADA ‐ ACADIA INFRINGEMENT                                               2500 P O BOX 747                                            CANADA
ACADIA UNIVERSITY V. GM AND GM OF     ACADIA UNIVERSITY                    LANG MICHENER LLP                BCE PLACE 181 BAY STREET   TORONTO ON M5J 2T7
CANADA ‐ ACADIA INFRINGEMENT                                                                                SUITE 2500 P O BOX 747     CANADA
ACADIAN AMBULANCE                                                          298 HOPKINS ST                                                                         LAFAYETTE       LA   70501
ACADIAN AMBULANCE SERVICE             WILLIAM VIDACOVICH                   PO BOX 98000                                                                           LAFAYETTE       LA   70509‐8000
ACADIAN AMBULANCE SERVICE                                                  1415 SANDRA ST                                                                         MORGAN CITY     LA   70380
ACADIAN AMBULANCE SERVICE             PO BOX 98000                                                                                                                LAFAYETTE       LA   70509‐8000
ACANDS INC                            ATTN: CORPORATE OFFICER/AUTHORIZED   1321 N WANAMAKER ST                                                                    PHILADELPHIA    PA   19131‐4120
                                      AGENT
ACANDS INC                            ATTN: CORPORATE OFFICER/AUTHORIZED   3033 ARAMINGO AVE                                                                      PHILADELPHIA    PA   19134‐4315
                                      AGENT
ACANFORA, AMEDEO                      EB&HR OPERATIONS DEFAULT ADDRESS     200 RENAISSANCE CTR                                                                    DETROIT         MI   48265‐2000

ACANTILADO, JUANITA E                 7839 W 73RD PL                                                                                                              BRIDGEVIEW      IL   60455‐1157
ACAR RENT A CAR                       870 E CHARLESTON RD                                                                                                         PALO ALTO       CA   94303‐4611
ACB                                   1610 CENTURY CENTER PKWY STE 104                                                                                            MEMPHIS         TN   38134‐8957
ACC 072643
ACC 1203041
ACC 143423
ACC 30025
ACC 30026
ACC 458711 06 27 2007
ACC 705210
ACC 705215 06 29 2007
ACC AMERICAN CAR CENTRE LTD.          144 LONDON ROAD                                                                                  KINGSTON ON THAMES, KT26
                                                                                                                                       GREAT BRITAIN
ACCADEMIA DI VINO                     1081 THIRD AVE                                                                                                              NEW YORK       NY    10065
ACCARDI, ANTHONY J                    227 LASALLE ST                                                                                                              MANSFIELD      OH    44906‐2431
ACCARDI, BEN C                        2418 DAVID ST                                                                                                               SAGINAW        MI    48603‐4114
ACCARDI, JOHN A                       91 GRASMERE AVE                                                                                                             MANSFIELD      OH    44906‐2849
ACCARDI, JOHN J                       C/O GOLDENBERG HELLER ANTOGNOLI &    2227 S STATE ROUTE 157                                                                 EDWARDSVILLE   IL    62025
                                      ROWLAND PC
ACCARDI, JOSEPH A                     1 GLEN MAWR DR                                                                                                              EWING           NJ   08618‐2006
ACCARDI, MARIE N                      1 GLEN MAWR DRIVE                                                                                                           TRENTON         NJ   08618‐2006
ACCARDI, MARIE N                      1 GLEN MAWR DR                                                                                                              EWING           NJ   08618‐2006
ACCARDO LAURA                         43607 REMBRANDT ST                                                                                                          LANCASTER       CA   93535‐5746
ACCARDO PASQUALE                      VIA BELLUCCI SESSA 42                PORTICI NAPLES ITALY                                                                   PORTICI         IL   80055
ACCARDO, JOSEPH                       4038 N HEMLOCK LN                                                                                                           MOUNT MORRIS    MI   48458‐9308
ACCARDO, KRIS A                       9311 MARINUS DR                                                                                                             FENTON          MI   48430‐8713
ACCARDO, KRIS ANGELO                  9311 MARINUS DR                                                                                                             FENTON          MI   48430‐8713
ACCARDO, MARK A                       1383 WILLIAMSBURG RD                                                                                                        FLINT           MI   48507‐5627
ACCARDO, RICHARD J                    5263 WAKEFIELD RD                                                                                                           GRAND BLANC     MI   48439‐9186
ACCARDO, RICHARD J                    4506 OLD CARRIAGE RD                                                                                                        FLINT           MI   48507‐5622
ACCAVITTI, DIANE L                    63762 INDIAN SPRINGS DRIVE                                                                                                  RAY             MI   48096
ACCEDE MOLD & TOOL CO INC             1125 LEXINGTON AVE                                                                                                          ROCHESTER       NY   14606‐2903
ACCEL AB                              REGEMENTSGATAN 4                                                                                 VANERSBORG 46233 SWEDEN

ACCEL AB                              BOX 287                                                                                          S‐46223 VANERSBORG
                                                                                                                                       SWEDEN
ACCEL ELEKTRONIKA LITHUANIAN SWEDIS   271 SAVANORIU ST                                                                                 KAUNAS 3000 LITHUANIA
                                      09-50026-mg                Doc 7123-3      Filed 09/24/10 Entered 09/24/10 15:05:32       Exhibit B
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Name                                  Address1                             Address2                   Address3     Address4                    City           State Zip
ACCEL ELEKTRONIKA UAB                 FREDRIK JONSSON                      SAVANORIU PR. 271                       SHANGHAI CHINA (PEOPLE'S
                                                                                                                   REP)
ACCEL ELEKTRONIKA UAB UZDAROJI AKCI   271 SAVANORIU AVE                                                            KAUNAS LITHUANIA LT 50131
                                                                                                                   LITHUANIA
ACCELEDYNE CORP                       40388 LADENE LN                                                                                          NOVI            MI   48375‐5326
ACCELERATORS INC.                     406 ROSKE DR                                                                                             ELKHART         IN   46516‐9085
ACCELLERATING DEVELOPMENT INT         4512 RACEWAY DR SW                                                                                       CONCORD         NC   28027‐8748
ACCELLERATING DEVELOPMENTS INT        4512 RACEWAY DR SW                                                                                       CONCORD         NC   28027‐8748
ACCELLERATING DEVELOPMENTS INTL LLC   4512 RACEWAY DR SW                                                                                       CONCORD         NC   28027‐8748

ACCELMARK                             5716 MOSS CREEK TRL                                                                                      DALLAS          TX   75252‐2380
ACCELMARK LLC                         5716 MOSS CREEK TRL                                                                                      DALLAS          TX   75252‐2380
ACCELRYS                              9685 SCRANTON RD                                                                                         SAN DIEGO       CA   92121‐1761
ACCELRYS                              10188 TELESIS CT STE 100                                                                                 SAN DIEGO       CA   92121‐4779
ACCELRYS INC                          9685 SCRANTON RD                                                                                         SAN DIEGO       CA   92121‐1761
ACCELRYS INC.
ACCELRYS, INC.                        ATTN: GENERAL COUNSEL                10188 TELESIS CT STE 100                                            SAN DIEGO      CA    92121‐4779
ACCELRYS, INC.                        GENERAL COUNSEL                      9685 SCRANTON RD                                                    SAN DIEGO      CA    92121‐1761
ACCENT AUTO GROUP                     419 ELM ST                                                                                               MILFORD        NH    03055‐4311
ACCENT CONTROLS INC                   400 NW PLATTE VALLEY DR                                                                                  RIVERSIDE      MO    64150‐9796
ACCENT CONTROLS INC                   ATTN: CORPORATE OFFICER/AUTHORIZED   400 NW PLATTE VALLEY DR                                             RIVERSIDE      MO    64150‐9796
                                      AGENT
ACCENT INTERNATIONAL                  PO BOX 1121                                                                                              NOVI           MI    48376‐1121
ACCENT ON/COLUMBIA                    1116 WEST 7TH SUITE A                                                                                    COLUMBIA       TN    38401
ACCENT REDUCTION INC                  29688 TELEGRAPH RD STE 400                                                                               SOUTHFIELD     MI    48034‐1364
ACCENT REDUCTION INSTITUTE LLC        410 N 4TH AVE                                                                                            ANN ARBOR      MI    48104‐1104
ACCENT SALES & SERVICE CO             3621 TROOST AVE                                                                                          KANSAS CITY    MO    64109‐2668
ACCENT TRUCKING                       ATTN: ROBERT IECOBELOI               750 WALNUT AVE                                                      CRANFORD       NJ    07016‐3372
ACCENTA                               5815 COOPERS AVE                                                             MISSISSAUGA ON L4Z 1R9
                                                                                                                   CANADA
ACCENTA COMPONENTA CORP
ACCENTMARKETING                     VICKIE GASTON, GROUP DIRECTOR          800 S DOUGLAS RD STE 100                                            CORAL GABLES    FL   33134‐3187
ACCENTMARKETING COMMUNICATIONS, ATTN: LEGAL DEPARTMENT                     800 S DOUGLAS RD STE 100                                            CORAL GABLES    FL   33134‐3187
LLC
ACCENTMARKETING                     800 S DOUGLAS RD STE 100               LA PUERTA DEL SOL                                                   CORAL GABLES    FL   33134‐3187
COMMUNICATIONSLLC
ACCENTMARKETING CORP
ACCENTMARKETING CORP                800 S DOUGLAS RD STE 100                                                                                   CORAL GABLES    FL   33134‐3187
ACCENTMARKETING DEPT LOCKBOX # 7822 30400 VAN DYKE AVE                                                                                         WARREN          MI   48093‐2368

ACCENTURE                             500 WOODWARD AVE                                                                                         DETROIT        MI    48226‐3407
ACCENTURE                             75 5TH ST NW STE 1100                UPTD 03/24/06 GJ                                                    ATLANTA        GA    30308‐1020
ACCENTURE LTD
ACCENTURE LTD                         500 WOODWARD AVE                                                                                         DETROIT         MI   48226‐3407
ACCEPT SOFTWARE CORP
ACCEPT SOFTWARE CORPORATION           CONTRACTS ADMINISTRATOR              42808 CHRISTY ST STE 216                                            FREMONT         CA   94538‐3156
ACCES                                 MARTI COMBS                          10815 HUFFMEISTER RD                                                CYPRESS         TX   77429‐2383
ACCESIBLE ACCESSORIES LTD.            1013 BRAEMAR ST SE                                                           MEDICINE HAT AB T1A 0V9
                                                                                                                   CANADA
ACCESS                                PO BOX 3008                                                                                              WASHINGTON      DC   20061‐0001
ACCESS AUTOMOTIVE O/B 548964          199 RICHMOND BLVD                                                            NAPANEE ON K7R 3Z9
ONTARIO INC                                                                                                        CANADA
ACCESS CALIFORNIA                     3605 LONG BEACH BLVD STE 201                                                                             LONG BEACH      CA   90807‐4024
ACCESS CAPITAL INC                    405 PARK AVE FL 16                                                                                       NEW YORK        NY   10022‐4405
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Name                                 Address1                         Address2                            Address3           Address4                City             State   Zip
ACCESS CHEVROLET, LTD.               PO BOX 260780                                                                                                   CORPUS CHRISTI    TX     78426‐0780
ACCESS CONFERENCE CALL SERVICE       1861 WIEHLE AVE                                                                                                 RESTON            VA     20190
ACCESS DYN/CONCORD                   73 JUNCTION SQUARE DR            AUTONET/AUTOBASE                                                               CONCORD           MA     01742‐3049
ACCESS ELEC/GURNEE                   4190 GROVE AVE                                                                                                  GURNEE             IL    60031‐2133
ACCESS ELECTRONICS INC               4190 GROVE AVE                                                                                                  GURNEE             IL    60031‐2133
ACCESS ELECTRONICS INC               BAGEERA TAYLOR X263              4190 GROVE AVE                                                                 GURNEE             IL    60031‐2133
ACCESS ELECTRONICS INC               BAGEERA TAYLOR X263              4190 GROVE AVENUE                                                              TREVOR            WI     53179
ACCESS FLOOR SYSTEMS DOT COM INC     PO BOX 1148                                                                                                     ABITA SPRINGS     LA     70420‐1148
ACCESS FLOOR SYSTEMS INC             PO BOX 1148                      20349 HWY 36                                                                   ABITA SPRINGS     LA     70420‐1148
ACCESS I EDUCATION INC               16750 BEECH DALY RD                                                                                             TAYLOR            MI     48180‐5095
ACCESS INDIANA/ CIVICNET             PO BOX 6047                                                                                                     INDIANAPOLIS      IN     46206‐6047
ACCESS INTELLIGENCE LLC              4 CHOKE CHERRY RD FL 2                                                                                          ROCKVILLE         MD     20850‐4024
ACCESS INTERACTIVE                   46665 MAGELLAN DR                                                                                               NOVI              MI     48377‐2442
ACCESS LANE, INC.
ACCESS MEDIQUIP LLC                  PO BOX 421529                                                                                                   HOUSTON           TX     77242‐1529
ACCESS SELF STORAGE                  360 CENTRAL AVE                                                                                                 CLARK             NJ     07066‐1108
ACCESS TRANSPORT SERVICES            ACCESS ON TIME                   PO BOX 850001                                                                  ORLANDO           FL     32885‐54
ACCESS WEST MARKETING                8912 SPANISH RIDGE AVE                                                                                          LAS VEGAS         NV     89148
ACCESSORIES IN MOTION                4144 BARDSTOWN RD                                                                                               LOUISVILLE        KY     40218‐3245
ACCESSORIES IN MOTION                90 TURBINE DR.                   UNIT 12                                                NORTH YORK ON M9L 2
                                                                                                                             CANADA
ACCESSORIES MARKETING LLC            TIM CHAI X260                    SEALANT SYSTEMS INTERNATIONAL       800 FARROLL ROAD                           MELVINDALE        MI     48122
ACCESSORIES PLUS ADI                 191 BUDD BLVD                                                                                                   WINSTON SALEM     NC     27103‐6240
ACCESSORY CENTER OF ARIZONA          PAUL WISOWATY                    6965 S PRIEST DR STE 7                                                         GUADALUPE         AZ     85283‐4335
ACCESSORY CENTER OF ARIZONA          PAUL WISOWATY                    1188 E CAMELBACK RD                                                            PHOENIX           AZ     85014‐3211
ACCESSORY CENTER OF ARIZONA LLC      1199 E CAMELBACK RD                                                                                             PHOENIX           AZ     85014‐3211
ACCESSORY DISTRIBUTORS OF VA ADI     12050 W BROAD ST                                                                                                RICHMOND          VA     23233‐1001
ACCESSORY PROS                       5936 NE INDUSTRY DR                                                                                             DES MOINES        IA     50313‐7600
ACCESSORY PROS INC
ACCESSORY WAREHOUSE INC              JIM BURKE AUTOMOTIVE             931 7TH AVE N                                                                  BIRMINGHAM        AL     35203‐1414
ACCETTA, ANGELA T                    127 CHATFIELD CIRCLE                                                                                            GOOSE CREEK       SC     29445‐7092
ACCETTA, MARY L                      5475 THREASA ST                                                                                                 SAGINAW           MI     48603‐7605
ACCETTOLA, DIANE                     23205 GRATIOT AVE PMB 142                                                                                       EASTPOINTE        MI     48021‐1641
ACCHIONE, LAWRENCE P                 49201 PROSPECT CT                                                                                               MACOMB            MI     48042‐4855
ACCI                                 LARRY GLEASON                    2051 BRISTOL RD                                                                FLINT             MI     48512
ACCIARI PERRY J (630475)             GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                                    NORFOLK           VA     23510
                                                                      STREET, SUITE 600
ACCIARI, PERRY J                     GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                                    NORFOLK           VA     23510‐2212
                                                                      STREET, SUITE 600
ACCIARI, THELMA                        40 WILCOX LANE APT 309                                                                                        CANANDAIGUA       NY     14424‐4424
ACCIARI, THELMA                        40 WILCOX LN APT 309                                                                                          CANANDAIGUA       NY     14424‐1245
ACCIARI, THOMAS N                      7256 KNICKERBOCKER RD                                                                                         ONTARIO           NY     14519‐9779
ACCIAVATTI, PAMELA M                   4801 ALPHONSE DR                                                                                              LAS VEGAS         NV     89122
ACCIDENT FUND INSURANCE                232 S CAPITOL AVE                                                                                             LANSING           MI     48933‐1572
ACCIDENT FUND INSURANCE COMPANY        CHRIS BARNES (640437)          GIBSON & SHARPS                     9390 BUNSEN PKWY                           LOUISEVILLE       KY     40220
C/O GIBSON & SHARPS
ACCIDENT FUND INSURANCE COMPANY        CHRIS BARNES (767689)          9390 BUNSEN PKWY                                                               LOUISVILLE        KY     40220
C/O GIBSON & SHARPS
ACCIDENT FUND INSURANCE COMPANY OF STEVE CLISCH                       232 S CAPITOL AVE                                                              LANSING           MI     48933‐1572
AMERICA
ACCILLI ARMAND F (420524)              WILENTZ GOLDMAN & SPITZER      88 PINE STREET , WALL STREET                                                   NEW YORK          NY     10005
ACCILLI ARMAND F (420524) ‐ FOTI FRANK WILENTZ GOLDMAN & SPITZER      88 PINE STREET , WALL STREET                                                   NEW YORK          NY     10005
                                                                      PLAZA
ACCILLI, ARMAND F                    WILENTZ GOLDMAN & SPITZER        88 PINE STREET, WALL STREET PLAZA                                              NEW YORK          NY     10005
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Name                                 Address1                             Address2                         Address3   Address4                   City            State Zip
ACCION HUMANA TRUST                  ALEXANDER VALENTIN‐ DALLMER
ACCION HUMANA TRUST                  ALEXANDER VALENTIN‐DALLMER           HERBERT‐WEICHMANN‐STR 86                    D‐22085 HAMBURG GERMANY

ACCIONA                              TIM TOWNSEND                         333 W WACKER DR STE 1500                                               CHICAGO         IL    60606‐1226
ACCLAIM AUTOMOTIVE & FLEET REPAIR    5390 S DECATUR BLVD STE 1                                                                                   LAS VEGAS       NV    89118‐6245

ACCO ENGINEERED SYSTEMS              6265 SAN FERNANDO RD                                                                                        GLENDALE         CA   91201‐2214
ACCO ENGINEERED SYSTEMS INC          6265 SAN FERNANDO RD                                                                                        GLENDALE         CA   91201‐2214
ACCOLA, RAYMOND M                    PO BOX 94                                                                                                   NEW EGYPT        NJ   08533‐0094
ACCOLADE ALLIANCE LLC                522 S WALNUT ST                                                                                             WILMINGTON       DE   19801‐5230
ACCOLADE ENGINEERING SOLUTIONS       15520 ROCKFIELD BLVD                                                                                        IRVINE           CA   92618
ACCOLADE REACTION PROMOTION GRP

ACCOLADEN REACTION                   PROMOTION GROUP INC                  2740 QUEENSVIEW DRIVE                       OTTAWA CANADA ON K2B 2A2
                                                                                                                      CANADA
ACCOMANDO CATHY ANN                  ACCOMANDO, CATHY ANN                 425 CALIFORNIA ST STE 2025                                             SAN FRANCISCO    CA   94104‐2213
ACCOMANDO, CATHY ANN                 BERMAN DEVALERIO PEASE TABACCO       425 CALIFORNIA ST STE 2025                                             SAN FRANCISCO    CA   94104‐2213
                                     BURT & PUCILLO
ACCOMMODATION MOLLEN INC             2829 CEDAR ST                                                                                               PHILADELPHIA    PA    19134‐4211
ACCORD FINANCIAL                     PO BOX 522                                                                                                  RAVENNA         OH    44266‐0522
ACCORD FINANCIAL INC                 799 N FREEDOM ST                     PO BOX 552                                                             RAVENNA         OH    44266‐2469
ACCORD FINANCIAL INC                 1212 E ALEXIS                                                                                               TOLEDO          OH    43612
ACCORD LOGISTIC COMPANY LLC          193313 SAINT‐PETERSBURG UL           KOLLONTAY 29‐1‐214                          RUSSIA
ACCORD, ALFRED                       GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                            NORFOLK          VA   23510‐2212
                                                                          STREET, SUITE 600
ACCORDINO, MARIE C                   1445 TRIPODI CIRCLE                                                                                         NILES           OH    44446‐3564
ACCORSI, ROBERT D                    17878 PORT SALEM DR                                                                                         MACOMB          MI    48044‐6114
ACCORSINI, HAZEL I                   100 SUMMER ST APT 204                                                                                       HOLLISTON       MA    01746‐2264
ACCORSO, ALAN A                      659 EDGEMERE DR                                                                                             ROCHESTER       NY    14612
ACCORSO, JOSEPH                      3 WILDFLOWER LN                                                                                             PENFIELD        NY    14526‐9759
ACCOUNTANT, SUPERIOR COURT OF        595 BAY ST                           SUITE 800                                   TORONTO ON M5G 2N3
JUSTICE                                                                                                               CANADA
ACCOUNTANTS EDUCATION GROUP          8144 WALNUT HILL LN STE 780                                                                                 DALLAS           TX   75231‐4345
ACCOUNTEMPS                          12400 COLLECTION CENTER DR                                                                                  CHICAGO          IL   60693‐0124
ACCOUNTS CLERK                       ACCT OF FREDERICK A CEPHAS JR        2ND FLR MOBILE COUNTY COURTHSE                                         MOBILE           AL   41768
ACCOUNTS CLERK                       ACCT OF FREDERICK A CEPHAS           2ND FLOOR COUNTY COURTHOUSE                                            MOBILE           AL   41768
ACCOUNTS CLERK                       205 GOVERNMENT                                                                                              MOBILE           AL   36644‐0001
ACCOUNTS RETRIVABLE SYSTEM           ACCT OF LARRY BROWNLEE
ACCRA GAUGE & LAPPING CO INC         28287 BECK RD STE D6                                                                                        WIXOM            MI   48393‐4700
ACCRETIVE SOLUTIONS DETROIT IN       36990 TREASURY CTR                                                                                          CHICAGO          IL   60694‐6900
ACCRETIVE SOLUTIONS DETROIT IN       2800 LIVERNOIS                                                                                              TROY             MI   48083
ACCRETIVE SOLUTIONS DETROIT INC      3001 W BIG BEAVER RD STE 210         DBA DICKSON FINANCE & INFO                                             TROY             MI   48084‐3103
ACCRETIVE SOLUTIONS OPERATING CORP   2800 LIVERNOIS                                                                                              TROY             MI   48083

ACCRETIVE SOLUTIONS OPERATING CORP   36990 TREASURY CTR                                                                                          CHICAGO          IL   60694‐6900

ACCU CHECK/GEORGETWN                 8385 STATE ROAD 64                                                                                          GEORGETOWN       IN   47122‐9058
ACCU CHEK INC                        8385 STATE ROAD 64                                                                                          GEORGETOWN       IN   47122‐9058
ACCU DIE & MOLD, INC                 7473 RED ARROW HWY                                                                                          STEVENSVILLE     MI   49127
ACCU DIE & MOLD, INC                 ATTN: CORPORATE OFFICER/AUTHORIZED   7473 RED ARROW HWY                                                     STEVENSVILLE     MI   49127‐9248
                                     AGENT
ACCU FEED/NORWALK                    50 NEWTON ST                                                                                                NORWALK         OH    44857‐1224
ACCU FLO/SOUTHFIELD                  21315 HILLTOP ST                                                                                            SOUTHFIELD      MI    48033‐4064
ACCU MOLD INC                        JEFF PETERS                          7622 S. SPRINKLE ROAD                                                  IMLAY CITY      MI    48444
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Name                              Address1                             Address2                  Address3     Address4               City              State   Zip
ACCU SORT AMERICA INC             35 HILLCREST DR                                                                                    SPENCERPORT        NY     14559‐1921
ACCU SORT/MEMPHIS                 4041 NORTH LAKE FOREST DRIVE                                                                       MEMPHIS            TN     38138
ACCU SORT/TELEFORD                511 SCHOOL HOUSE RD                                                                                TELFORD            PA     18969‐1148
ACCU TECH CORPORATION             421 JACKSON ST                                                                                     SANDUSKY           OH     44870‐2736
ACCU TREX PRODUCTS INC            PRECISION PARTS DIVISION             PO BOX 789                                                    LANCASTER          SC     29721‐0789
ACCU TUNE                         2023 S PERCY ST                                                                                    PHILADELPHIA       PA     19148‐2307
ACCU VISION/NSHVILLE              813 2ND AVE S                                                                                      NASHVILLE          TN     37210‐2007
ACCU‐CHEK INC                     8385 STATE ROAD 64                                                                                 GEORGETOWN         IN     47122‐9058
ACCU‐CUT DIAMOND BORE SIZING      4238‐40 N SAYRE AVE                                                                                NORRIDGE            IL    60706
ACCU‐CUT DIAMOND TOOL CO INC      4238‐40 N SAYRE                                                                                    NORRIDGE            IL    60706
ACCU‐CUT DIAMOND TOOL CO INC      4238‐40 N SAYRE                      PO BOX 56186                                                  HARWOOD HEIGHTS     IL    60706

ACCU‐DYNE INC                     155 HOLLEDER PKWY                                                                                  ROCHESTER         NY      14615‐3809
ACCU‐FIT DENTURE SVC              ATTN: DAVID FERRELL                  4300 CHIEF WOODS LN                                           MORAINE           OH      45439‐2027
ACCU‐MOLD INC                     JEFF PETERS                          7622 S. SPRINKLE ROAD                                         IMLAY CITY        MI      48444
ACCU‐SHAPE DIE CUTTING INC        4050 MARKET PL                                                                                     FLINT             MI      48507‐3203
ACCU‐SORT AMERICA INC             1608 HILTON PARMA RD                                                                               SPENCERPORT       NY      14559‐9505
ACCU‐SORT SYSTEMS INC             511 SCHOOL HOUSE RD                                                                                TELFORD           PA      18969‐1148
ACCU‐SPEC SALES & MANUFACTURING
ACCU‐TECH CORP                    11853 BELDEN CT                                                                                    LIVONIA            MI     48150‐1460
ACCU‐TECH CORPORATION             200 HEMBREE PARK DRIVE                                                                             ROSWELL            GA     30076
ACCU‐TECH MANUFACTURING INC       51559 ORO DR                                                                                       SHELBY TOWNSHIP    MI     48315‐2932
ACCU‐TECH MFG INC                 51559 ORO DR                                                                                       SHELBY TWP         MI     48315‐2932
ACCU‐TECH MOLD & DIE INC          7355 JULIE FRANCIS RD                                                                              SHREVEPORT         LA     71129
ACCU‐WRENCH AUTOMOTIVE            6200 HACKER BEND CT                                                                                WINSTON SALEM      NC     27103‐9771
ACCU‐WRENCH AUTOMOTIVE            6204 HACKER BEND CT STE A                                                                          WINSTON SALEM      NC     27103‐9502
ACCUBILT, INC                     PO BOX 844                                                                                         JACKSON            MI     49204
ACCUBILT, INC                     ATTN: CORPORATE OFFICER/AUTHORIZED   PO BOX 844                                                    JACKSON            MI     49204‐0844
                                  AGENT
ACCUBUILT INC                     ATTN: STEPHEN GRIFFITH               2550 CENTRAL POINT PKWY                                       LIMA              OH      45804‐3890
ACCUBUILT INC                     2550 CENTRAL PARK PKWY                                                                             LIMA              OH      45804
ACCUBUILT INC                     2550 CENTRAL POINT PKWY                                                                            LIMA              OH      45804‐3890
ACCUBUILT, INC.                   GREG CORONA                          2550 CENTRAL POINT PKWY                                       LIMA              OH      45804‐3890
ACCUBUILT, INC.                   KEVIN GRADY                          2811 TUSCANY DR                                               ELKHART           IN      46514‐7639
ACCUBUILT, INC.                   2550 CENTRAL POINT PKWY                                                                            LIMA              OH      45804‐3890
ACCUBUILT, INC.
ACCUCARE MEDICAL LLC              9011 LINWOOD AVE                                                                                   SHREVEPORT         LA     71106‐6564
ACCUITY INC                       PO BOX 71690                                                                                       CHICAGO            IL     60694‐1690
ACCUM‐MATIC SYSTEMS, INC.         11973 MAYFIELD ST                                                                                  LIVONIA            MI     48150‐1709
ACCUMETRIC INC                    JEREMY RICHARDSON                    350 RING RD                                                   EL PASO            TX     79936
ACCUMETRICS ASSOCIATES INC        409 FRONT ST                                                                                       SCHENECTADY        NY     12305‐1036
ACCURA FLOW/WARMINST              PO BOX 100                                                                                         WARMINSTER         PA     18974‐0510
ACCURATE AIR ENGINEERING INC      16207 CARMENITA RD                   PO BOX 4800                                                   CERRITOS           CA     90703‐2212
ACCURATE AIR ENGINEERING INC      PO BOX 4800                                                                                        CERRITOS           CA     90703‐4800
ACCURATE ALIGNMENT & BRAKE SVC    ATTN: SCOTT ZUIDEMA                  4039 STAFFORD AVE SW                                          GRAND RAPIDS       MI     49548‐3051
ACCURATE AUTO                     ED JACQUES                           1702 HYDRALIC DR                                              HOWELL             MI     48855‐7322
ACCURATE AUTO CARE                3511 1ST ST                                                                                        LIVERMORE          CA     94551‐4901
ACCURATE AUTO CARRIERS INC        841 CLAY AVE SW                                                                                    WYOMING            MI     49548
ACCURATE AUTO CARRIERS, INC       ED JACQUES, PRESIDENT                1702 HYDRALIC DR                                              HOWELL             MI     48855‐7322
ACCURATE AUTO CLINIC              1580 E OAKTON ST                                                                                   DES PLAINES        IL     60018‐2118
ACCURATE AUTO GLASS
ACCURATE AUTO REPAIR              23854 VIA FABRICANTE STE G3                                                                        MISSION VIEJO     CA      92691‐3152
ACCURATE AUTOMOTIVE               15 BEDFORD ST                                                                                      BURLINGTON        MA      01803‐3716
ACCURATE AUTOMOTIVE               300 N UNION ST STE B                                                                               KENNEWICK         WA      99336‐2180
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Name                                Address1                         Address2                  Address3        Address4                   City           State Zip
ACCURATE AUTOMOTIVE &               461 N 1000 W                                                                                          LOGAN           UT 84321‐3740
PERFORMANCE, INC.
ACCURATE BUSHING CO                 443 NORTH AVE                                                                                         GARWOOD        NJ   07027‐1014
ACCURATE CARBIDE TOOL CO INC        5655 N WESTERVELT RD                                                                                  SAGINAW        MI   48604‐1237
ACCURATE COURT REPORTING OF WEST NY PO BOX 1062                                                                                           BUFFALO        NY   14201‐6062

ACCURATE COURT REPORTINGOF WEST NY PO BOX 1062                                                                                            BUFFALO        NY   14201‐6062

ACCURATE CRANE CO                      PO BOX 246                                                                                         MEW BPSTPM     MI   48164‐0246
ACCURATE EVENT SERVICES                2419 HOLLYWOOD BLVD STE C                                                                          HOLLYWOOD      FL   33020
ACCURATE FULL SERVICE VEHICLE CENTER   3020 W FRANKLIN ST                                                                                 APPLETON       WI   54914‐2904

ACCURATE INDUSTRIAL                    MEASUREMENTS INC              51194 ROMEO PLANK RD      #621                                       MACOMB         MI   48042‐4111
ACCURATE INDUSTRIAL MEASUREMEN         51194 ROMEO PLANK RD # 621                                                                         MACOMB         MI   48042‐4111
ACCURATE INDUSTRIAL MEASUREMEN         51194 ROMEO PLANK RD          #621                                                                 MACOMB         MI   48042‐4111
ACCURATE INDUSTRIAL MEASUREMEN         51194 ROMEO PLANK RD # 521                                                                         MACOMB         MI   48042‐4111
ACCURATE INDUSTRIES INC                33210 OPUS CT                                                                                      STERLING HTS   MI   48312‐6719
ACCURATE INFORMATION MGMT INC          P O BOX 174                                                                                        FLINT          MI   48501‐0174
ACCURATE INVENTORY & CALCULATING       PAT MIGNOGNO                  4284 N. HIGH STREET                                                  COLUMBUS       OH   43214
SERVICES
ACCURATE MACHINE & TOOL LTD            1844 WILSON AVE                                                         WESTON ON M9M 1A1
                                                                                                               CANADA
ACCURATE MACHINING INC                 1021 MANUFACTURERS DR                                                                              WESTLAND       MI   48186‐4036
ACCURATE METAL FINISHING INC           ATTN: RUSS VANDERPLOEG        138 39TH ST SW                                                       GRAND RAPIDS   MI   49548‐3104
ACCURATE OVER/PT HUR                   3975 W WATER ST                                                                                    PORT HURON     MI   48060‐7762
ACCURATE PERFORATING CO INC            38562 EAGLE WAY                                                                                    CHICAGO        IL   60678‐0001
ACCURATE PERSONNEL MANAGEMENT          ATTN: JAMES LAVENDER          440 BURROUGHS ST # 125                                               DETROIT        MI   48202‐3449
ACCURATE PRODUCTS INC                  4645 N RAVENSWOOD AVE                                                                              CHICAGO        IL   60640‐4573
ACCURATE PRODUCTS INC                  NO 30 HUANCHENG EAST RD                                                 WENLING , CN 31750 CHINA
ACCURATE PRODUCTS INC                  4645 RAVENSWOOD AVE                                                                                CHICAGO        IL   60640
ACCURATE PRODUCTS INC                  GRAHAM SATHERLIE X21          2815 W IRVING PARK RD                                                CHICAGO        IL   60618‐3613
ACCURATE PRODUCTS INC                  GRAHAM SATHERLIE X21          2815 W. IRVING PARK RD.                                              KOKOMO         IN
ACCURATE PRODUCTS, INC.                GRAHAM SATHERLIE X21          2815 W IRVING PARK RD                                                CHICAGO        IL   60618‐3613
ACCURATE PRODUCTS, INC.                GRAHAM SATHERLIE X21          2815 W. IRVING PARK RD.                                              KOKOMO         IN
ACCURATE REPORTING OF INDIANA          12922 BRIGHTON AVE                                                                                 CARMEL         IN   46032‐9668
ACCURATE SAFETY DIST INC               10320 THOR DR                                                                                      FREELAND       MI   48623‐8804
ACCURATE SAFETY DISTRIBUTORS I         10320 THOR DR                                                                                      FREELAND       MI   48623‐8804
ACCURATE SCALE CO                      ATTN: SUSAN RICHARDS          6411 STADIUM DR                                                      KANSAS CITY    MO   64129‐1799
ACCURATE SCALES INC                    2320 N 10TH ST                                                                                     TERRE HAUTE    IN   47804‐2311
ACCURATE STAMP/DET                     6030 E 8 MILE RD                                                                                   DETROIT        MI   48234‐1127
ACCURATE STENOTYPE REPORTERS INC       100 SALEM CT                                                                                       TALLAHASSEE    FL   32301‐2810
ACCURATE TECHNOLOGIES INC              47199 CARTIER DR                                                                                   WIXOM          MI   48393‐2875
ACCURATE THR/LNCLWOD                   3550 W. PRATT AVE.                                                                                 LINCOLNWOOD    IL   60712
ACCURATE THR/STHFLD                    25625 SOUTHFIELD ROAD                                                                              SOUTHFIELD     MI   48075
ACCURATE THREADED FASTENERS            BRETT HENRY X16               3550 W PRATT AVE.                                                    REED CITY      MI   49677
ACCURATE THREADED FASTENERS INC        ATTN MARLENE BORGES           3550 W PRATT AVE                                                     LINCOLNWOOD    IL   60712
ACCURATE TILE INSTALLATIONS            ATTN: JASON VERHULST          3825 LORAINE AVE SW                                                  GRAND RAPIDS   MI   49548‐3127
ACCURATE TIME CLOCK                    25521 5 MILE RD                                                                                    REDFORD        MI   48239‐3228
ACCURATE TRANSMISSION INC              401 TERRACE DR                                                                                     MUNDELEIN      IL   60060‐3899
ACCURATE WIRE HARNESS INC              NEVIN MCNUTT                  868 PLEASANT VALLEY DR                                               LIGONIER       IN   46767
ACCURATE WIRE HARNESS, INC.            NEVIN MCNUTT                  868 PLEASANT VALLEY DR                                               LIGONIER       IN   46767
ACCURATE/FRANKLIN                      PO BOX 681726                 C/O MATERIAL DYNAMICS                                                FRANKLIN       TN   37068‐1726
ACCURCAST CORP                         333 ARNOLD ST                                                           WALLACEBURG ON N8A 3P3
                                                                                                               CANADA
                                 09-50026-mg            Doc 7123-3     Filed 09/24/10 Entered 09/24/10 15:05:32                           Exhibit B
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Name                             Address1                         Address2                        Address3                   Address4                     City             State Zip
ACCURCAST INC                    333 ARNOLD ST                                                                               WALLACEBURG ON N8A 3P3
                                                                                                                             CANADA
ACCURCAST INC                    333 ARNOLD STREET                                                                           WALLACEBURG CANADA ON
                                                                                                                             N8A 3P3 CANADA
ACCUREX MEASUREMENT INC          504 HARVARD AVE                                                                                                          SWARTHMORE        PA   19081‐1934
ACCURIDE CANADA INC              31 FIRESTONE BLVD                                                                           LONDON ON N5W 6 CANADA

ACCURIDE CANADA INC              FTB‐ACCURIDE CANADA              31 FIRESTONE BLVD                                          LONDON CANADA ON N5W
                                                                                                                             6E6 CANADA
ACCURIDE CANADA INC.             LYNN MCLAUGHLIN                  ACCURIDE CORPORATION            31 FIRESTONE BLVD/POB 2843 WINDSOR ON CANADA

ACCURIDE CORP                    ATTN BARB JOHNSON                2315 ADAMS LN                   PO BOX 40                                               HENDERSON        KY    42420‐4593
ACCURIDE CORP                    129 MARC DR                                                                                                              CUYAHOGA FALLS   OH    44223‐2629
ACCURIDE CORP                    7140 OFFICE CIR                                                                                                          EVANSVILLE       IN    47715‐8235
ACCURIDE CORP                    31 FIRESTONE BLVD                                                                           LONDON ON N5W 6E6
                                                                                                                             CANADA
ACCURIDE CORP                    L.J. MCLAUGHLIN‐4498             ACCURIDE CORPORATION            AUTOPISTA MONTERREY‐       RAMOS ARIZPE CZ 25900
                                                                                                  LAREDO KM                  MEXICO
ACCURIDE CORP                    LYNN MCLAUGHLIN                  PO BOX 40                                                                               MICHIGAN CITY     IN   46361‐0040
ACCURIDE CORP                    LYNN MCLAUGHLINX4498             129 MARC AVE                                                                            FORT SMITH        AR   72908
ACCURIDE CORPORATION             LYNN MCLAUGHLIN                  PO BOX 40                                                                               MICHIGAN CITY     IN   46361‐0040
ACCURIDE CORPORATION             FTB‐ACCURIDE CANADA              31 FIRESTONE BLVD                                          LONDON ON N6A 4H7
                                                                                                                             CANADA
ACCURIDE DE MEXICO S.A. DE C.V   L.J. MCLAUGHLIN‐4498             ACCURIDE CORPORATION            AUTOPISTA MONTERREY‐       RAMOS ARIZPE CZ 25900
                                                                                                  LAREDO KM                  MEXICO
ACCURIDE DE MEXICO SA DE         AVE NORTE AMERICA 301 PAR IND    LAS AMERICAS AUTOPISTA MTY      65550 CIENEGA DE FLORES NL CIENEGA DE FLORES NL 65550
                                                                                                  CP                         MEXICO
ACCURIDE/HENDERSON               PO BOX 40                                                                                                                HENDERSON         KY   42419‐0040
ACCURSIA POZYC                   232 CENTER ST                                                                                                            ELIZABETH         NJ   07202‐3822
ACCURSO, DIANE K                 19375 GILL RD                                                                                                            LIVONIA           MI   48152‐4040
ACCURSO, JACK J                  24666 TEPPERT AVE                                                                                                        EASTPOINTE        MI   48021‐4218
ACCURSO, MICHAEL
ACCURSO, MICHAEL F               895 OAK CT                                                                                                               EAGAN            MN    55123‐2477
ACCUS                            7800 S ELATI ST STE 303                                                                                                  LITTLETON        CO    80120‐4456
ACCUSO, EVELYN                   20277 LEOPARD LN                                                                                                         ESTERO           FL    33928‐2026
ACCUSO, JACK F                   20277 LEOPARD LN                                                                                                         ESTERO           FL    33928‐2026
ACCUTREX PRODUCTS INC            MIKE BAFUNDO                     PRECISION PARTS DIVISION        1968 SUNSHINE ROAD                                      EASTON           PA
ACCUTREX PRODUCTS, INC           MIKE BAFUNDO                     PRECISION PARTS DIVISION        1968 SUNSHINE ROAD                                      EASTON           PA
ACCUTRON INC/BOX 574             PO BOX 574                                                                                                               MILLIS           MA    02054‐0574
ACCUTRONIC INC                   11281 E 9 MILE RD                                                                                                        WARREN           MI    48089‐2530
ACCUWEATHER INC                  385 SCIENCE PARK RD                                                                                                      STATE COLLEGE    PA    16803‐2215
ACD DOT NET INC                  1800 N GRAND RIVER DR                                                                                                    LANSING          MI    48906
ACD HOLDINGS LLC                 C/O ROBERT A BALL, ESQ           ATTN JOHN BT CAMBELL            225 BROADWAY STE 2220                                   SAN DIEGO        CA    92101‐5089
ACD HOLDINGS LLC                 C/O ROBERT A BALL, ESQ           ATTN JOHN B CAMBELL             225 BROADWAY STE 2220                                   SAN DIEGO        CA    92101‐5089
ACD HOLDINGS LLC                 ATTN JOHN B T CAMBELL            C/O ROBERT A BALL ESQ           225 BROADWAY STE 2220                                   SAN DIEGO        CA    92101
ACD HOLDINGS, LLC                1330 AUTO MALL DR                                                                                                        SANTA ANA        CA    92705‐4753
ACD NET INC                      1800 N GRAND RIVER DR                                                                                                    LANSING          MI    48906
ACD TRIDON NORTH AMERICA INC     LINDA SCHIEN                     8100 TRIDON DR                                                                          SMYRNA           TN    37167‐6603
ACDELCO UNIFORM PROGRAM          C/O DESIGN INCENTIVES            39325 PLYMOUTH RD STE 210                                                               LIVONIA          MI    48150‐4531
ACE                              GLOBAL RISK MANAGEMENT FINANCE   1 BEAVER VALLEY RD 3 W                                                                  WILMINGTON       DE    19803
ACE AMERICAN INS CO ET AL        BAZELON LESS & FELDMAN PC        ATTY FOR ACE AMERICA INSURANCE ATTN JEFFREY A LESS ESQ     1515 MARKET ST SUITE 700     PHILADELPHIA     PA    19102
                                                                  COMPANY ET AL                  HELEN HEIFETS ESQ
ACE AMERICAN INSURANCE           510 WALNUT STREET WB10C                                                                                                  PHILADELPHIA      PA   19106
ACE AMERICAN INSURANCE CO        NOT AVAILABLE
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ACE AMERICAN INSURANCE CO
ACE AMERICAN INSURANCE CO          ACCOUNTS PAYABLE                     PO BOX 1444                                                       RICHMOND            IN   47375‐1444
ACE AMERICAN INSURANCE COMPANY     MULTINATIONAL FINANCE ‐ 3 W          1 BEAVER VALLEY RD                                                WILMINGTON          DE   19803‐1115
ACE AMERICAN INSURANCE COMPANY     PATRICIA KAYS                        PENN MUTUAL BUILDING                                              PHILADELPHIA        PA
ACE ASPHALT & PAVING CO INC        115 S AVERILL AVE                                                                                      FLINT               MI   48506‐4001
ACE AUTO & RADIATOR SER            2226 STATE ST                                                                                          BETTENDORF          IA   52722‐5033
ACE AUTO AIR AND AUTO CARE         2120 S PINE AVE                                                                                        OCALA               FL   34471‐8110
ACE AUTO REPAIR                    3030 S CONGRESS AVE                                                                                    BOYNTON BEACH       FL   33426
ACE AUTO REPAIR                    5010 S CENTRAL AVE                                                                                     PHOENIX             AZ   85040‐2155
ACE AUTO REPAIR AND TIRE           2560 SAN RAMON VALLEY BLVD                                                                             SAN RAMON           CA   94583‐1604
ACE AUTO WORKS                     8030 14TH AVE                                                                                          SACRAMENTO          CA   95826‐4304
ACE AUTOMOTIVE                     25835 RAILROAD AVE                   STE 29                                                            SAUGUS              CA   91350‐2581
ACE AUTOMOTIVE                     25835 RAILROAD AVE STE 29                                                                              SAUGUS              CA   91350‐2581
ACE AUTOMOTIVE SERVICE             201 W MORGAN ST                                                                                        KOKOMO              IN   46901‐2252
ACE AUTOMOTIVE SERVICES, INC       1391 S OATES ST                                                                                        DOTHAN              AL   36301‐3549
ACE AUTOMOTIVE SVC                 ATTN: JOE TROTTER                    201 W MORGAN ST                                                   KOKOMO              IN   46901‐2252
ACE BERMUDA                        APRIL ANDRUCZYK                      17 WOODBOURNE AVE                      PEMBROKE HM 08, BERMUDA

ACE BEVERAGE COMPANY                                                    401 S MISSION RD                                                  LOS ANGELES         CA   90033
ACE BODY & MOTOR                   625 NE 45TH PL                                                                                         DES MOINES          IA   50313‐2446
ACE BROWN                          2015 E ABRAM ST APT 201                                                                                ARLINGTON           TX   76010‐1315
ACE CARRIER                        1174768 ONTARIO LTD                  600 ONTARIO ST                         ST CATHARINES ON L2N 7P8
                                                                                                               CANADA
ACE CONSTRUCTION INC               ATTN: TODD RENCH                     1118 W 2ND ST                                                     MUNCIE              IN   47305‐2111
ACE CONTROLS INC                   23435 INDUSTRIAL PARK DR                                                                               FARMINGTON          MI   48335‐2855
ACE CONTROLS INC                   23434 INDUSTRIAL PARK CT             PO BOX 70                                                         FARMINGTON HILLS    MI   48335‐2848

ACE CONTROLS INC
ACE DORAN HAULING & RIGGING CO     1601 BLUE ROCK ST                                                                                      CINCINNATI         OH    45223‐2502
ACE ELECTRONICS INC                235 LIBERTY ST                       PO BOX 4215                                                       METUCHEN           NJ    08840‐1217
ACE ELECTRONICS INC                235 FORREST ST                                                                                         METUCHEN           NJ    08840
ACE ELECTRONICS INC                ATTN: CORPORATE OFFICER/AUTHORIZED   PO BOX 4215                                                       METUCHEN           NJ    08840‐4215
                                   AGENT
ACE ELECTRONICS OF MICHIGAN LL     1239 CHICAGO RD                                                                                        TROY               MI    48083‐4231
ACE ELECTRONICS OF MICHIGAN LLC    1239 CHICAGO RD                                                                                        TROY               MI    48083‐4231
ACE EXPRESS                        3939 MICHIGAN ST NE                                                                                    GRAND RAPIDS       MI    49525‐3401
ACE FENCE                          ATTN: DOUG HOOVER                    1007 W 13TH ST                                                    MUNCIE             IN    47302‐3025
ACE FORWARDING                     11701 METRO AIRPORT BLDG C112                                                                          ROMULUS            MI    48174
ACE FORWARDING INC                 2201 UVALDE AVE STE 19                                                                                 MCALLEN            TX    78503‐5634
ACE FORWARDING INC                 ED OUILETTE                          11895 WAYNE RD STE 112                                            ROMULUS            MI    48174‐1455
ACE FORWARDING INC                 PAT MORIARTY                         11895 WAYNE RD STE 112                                            ROMULUS            MI    48174‐1455
ACE FREIGHT LINES INC              750 LAKEVIEW RD                                                                                        MONROE             OH    45050‐1707
ACE GLASS INC                      1430 N WEST BLVD                                                                                       VINELAND           NJ    08360‐2202
ACE GLASS INC                      1430 N WEST BLVD                     PO BOX 688                                                        VINELAND           NJ    08360‐2202
ACE HARDWARE                       TOM GROVE                            2200 KENSINGTON CT                                                OAK BROOK          IL    60523‐2103
ACE HARDWARE                       2200 KENSINGTON CT                                                                                     OAK BROOK          IL    60523‐2103
ACE INA OVERSEAS INSURANCE COMPANY 1 BEAVER VALLEY ROAD 2 WEST                                                                            WILMINGTON         DE    19850
LTD
ACE INDUST/MEMPHIS                 PO BOX 14611                                                                                           MEMPHIS             TN   38114
ACE INTERNATIONAL OVERSEAS         1601 CHESTNUT ST                     ATTN: COLLATERAL MANAGER                                          PHILADELPHIA        PA   19192
ACE INTERNATIONAL OVERSEAS         10420 HIGHLAND MANOR DR              GLOBAL TRADE SERVICES                                             TAMPA               FL   33610‐9128
INSURANCE COMPANY LTD.
ACE INTERNATIONAL OVERSEAS         ATTN: COLLATERAL MANAGER             1601 CHESTNUT ST                                                  PHILADELPHIA        PA   19192‐0002
INSURANCE COMPANY LTD.
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ACE INTERNATIONAL OVERSEAS          COLLATERAL MANAGER                   1601 CHESTNUT ST                                                                 PHILADELPHIA     PA 19192‐0002
INSURANCE COMPANY, LTD
ACE LOT #1                          10611 LA CIENEGA BLVD                                                                                                 LOS ANGELES     CA   90045
ACE MUFFLER CLINIC                  1429 4TH AVE                                                                                                          ROCK ISLAND     IL   61201‐8517
ACE MUSIC INC                       ATTN: JEFFERY COLLINS                824 W MORGAN ST                                                                  KOKOMO          IN   46901‐2056
ACE NEFF                            PO BOX 131                                                                                                            DALEVILLE       IN   47334‐0131
ACE PACKAGING SYSTEMS INC           PO BOX 238                                                                                                            AUBURN          ME   04212‐0238
ACE PACKAGING SYSTEMS INC           PO BOX 720                           7986 N TELEGRAPH RD                                                              MONROE          MI   48161‐0720
ACE PAWN SHOP                       ATTN: JACK MC CRORY                  1122 5TH ST                                                                      BEDFORD         IN   47421‐2302
ACE PIPE CLEANING INC               4000 E TRUMAN RD                                                                                                      KANSAS CITY     MO   64127‐2236
ACE POINSETT                        5210 WYNDEMERE COMMON SQ                                                                                              SWARTZ CREEK    MI   48473‐8913
ACE PRODUCTS INC                    320 ACE STREET                                                                                                        LINEVILLE       AL   36266‐4303
ACE PROMOTIONAL PRODUCTS            ATTN: BOB MILICI                     PO BOX 5                                                                         CRANFORD        NJ   07016‐0005
ACE PROVISIONS INC                  ATTN: JOE CORBITT                    1522 MANCHESTER RD                                                               DAYTON          OH   45449‐1933
ACE PULL TAP PAPER LLC              824 W MORGAN ST                                                                                                       KOKOMO          IN   46901‐2056
ACE RAC                             4529 W 96TH ST                                                                                                        INDIANAPOLIS    IN   46268‐3107
ACE RADIATOR INC.                   2319 W COLISEUM BLVD                                                                                                  FORT WAYNE      IN   46808‐3643
ACE RENT A CAR
ACE RENT A CAR                      CHARLIE MULLEN                       4529 W 96TH ST                                                                   INDIANAPOLIS    IN   46268‐3107
ACE RENT A CAR                      415 TAYLOR ST                                                                                                         SAN FRANCISCO   CA   94102‐1701
ACE RENT A CAR                      5806 W WASHINGTON ST                                                                                                  INDIANAPOLIS    IN   46241‐3225
ACE RENT A CAR                      4529 W 96TH ST                                                                                                        INDIANAPOLIS    IN   46268‐3107
ACE RENT A CAR, INC.                4529 W 96TH ST                                                                                                        INDIANAPOLIS    IN   46268‐3107
ACE RENT‐A‐CAR                      AUSTIN AIRPORT, 9220 RENT‐A‐CAR ROAD                                                                                  AUSTIN          TX   78719

ACE REPORTING SERVICES              30 GARFIELD PL STE 620                                                                                                CINCINNATI      OH   45202‐4365
ACE STRIPPING INC                   23891 DEQUINDRE RD                                                                                                    HAZEL PARK      MI   48030‐2818
ACE SUPPLY INC                      PO BOX 42328                         2341 DISTRIBUTORS DR                                                             INDIANAPOLIS    IN   46242‐0328
ACE TENT RENTAL                     1318 PROGRESS RD                                                                                                      FORT WAYNE      IN   46808‐1177
ACE TEX ENTERPRISES INC             7601 CENTRAL ST                                                                                                       DETROIT         MI   48210‐1038
ACE TOWING                                                               1040 MAKEPONO ST                                                                 HONOLULU        HI   96819
ACE TRANSPORTATION INC              PO BOX 62808                                                                                                          NEW ORLEANS     LA   70162‐2808
ACE USA                             1 BEAVER VALLEY RD                                                                                                    WILMINGTON      DE   19803‐1115
ACE USA                             RHONDA HATHAWAY, EXECUTIVE           ONE BEAVER VALLEY ROAD, 2W                                                       WILMINGTON      DE   19803
                                    UNDERWRITER
ACE USA                             300 RENAISSANCE CENTER               MC 482 C20 D71                                                                   DETROIT         MI   48243
ACE WAREHOUSE                                                            415 MAIN ST                                                                      RAPID CITY      SD   57701
ACE WAREHOUSE                       415 MAIN ST                                                                                                           RAPID CITY      SD   57701‐2731
ACE WORLD WIDE MOVING AND STORAGE   1900 E COLLEGE AVE                                                                                                    CUDAHY          WI   53110‐2801
INC
ACE YOUNG INC                       155 ARMSTRONG RD                                                                                                      DES PLAINES     IL   60018
ACE‐TEX ENTERPRISES LLC             7601 CENTRAL ST                                                                                                       DETROIT         MI   48210‐1038
ACEA, MIGUEL                        1217 COMMONWEALTH AVE                                                                                                 BRONX           NY   10472‐4604
ACEBAL, JOSEPH
ACEBEDO CRUZ MARIA                  ACEBEDO CRUZ, MARIA                  BOX 595                                                                          AGUAVA          PR   00602
ACEBEDO CRUZ, MARIA                 PO BOX 595                           BOX 595                                                                          AGUAVA          PR   00602
ACEBO, ALAN S                       13781 FENTON AVENUE                                                                                                   SYLMAR          CA   91342‐1604
ACEBO, ALFONSO C                    420 HARBOR LIGHTS LN                                                                                                  PORT HUENEME    CA   93041‐2119
ACEL J MAHAN                        257 ESTONIA DR                                                                                                        NEW LEBANON     OH   45345
ACELIA GASCUE                       2871 SW 134TH AVE                                                                                                     MIAMI           FL   33175‐7164
ACEMCO INCORPORATED                 7297 ENTERPRISE DRIVE                                                                                                 SPRING LAKE     MI   49546
ACEMCO INCORPORATED                 RONALD E BAYLOR ESQ                  MILLER CANFIELD PADDOCK AND   277 SOUTH ROSE STREET STE                          KALAMAZOO       MI   49007
                                                                         STONE PLC                     5000
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ACEMCO INCORPORATED              ATTN: CORPORATE OFFICER/AUTHORIZED   7297 ENTERPRISE DR                                               SPRING LAKE        MI 49456‐9695
                                 AGENT
ACENA SHELTON                    2539 MARLAND DR                                                                                       HINCKLEY          OH   44233‐9517
ACENCIO, OSCAR R                 1655 NIDIA WAY                                                                                        OXNARD            CA   93030‐5082
ACENSION FLORES                  2420 ADAMS BLVD                                                                                       SAGINAW           MI   48602‐3120
ACERADO JR, WENCESLAO B          7207 BOBTAIL CIR                                                                                      SHREVEPORT        LA   71129‐3416
ACERADO JR, WENCESLAO BITANCUR   7207 BOBTAIL CIR                                                                                      SHREVEPORT        LA   71129‐3416
ACERET, DONNA G                  1500 BRIARCLIFF RD APT 230                                                                            MONTGOMERY        IL   60538‐3045
ACEREX SA DE CV                  AVE NOGALAR NO 330 ORIENTE           SAN NICOLAS DE LOS GARZA                NEUVO LEON CP 66452
                                                                                                              MEXICO
ACERO PRIME S DE RL DE CV        EJE 128 NO 209                       ZONA INDUSTRIAL DEL POTOSI              SAN LUIS POTOSI MEXICO
ACERRA, FRED                     76 SUNNY LN                                                                                           STORMVILLE        NY   12582‐5002
ACETI, GASPER L                  917 90TH ST                                                                                           NIAGARA FALLS     NY   14304‐3521
ACETI, IDA                       48330 FIR CT                                                                                          SHELBY TOWNSHIP   MI   48315‐4266
ACETO, GARY                      96 SPRUCE LN                                                                                          ROCHESTER         NY   14622‐2129
ACETO, IRENE M                   PO BOX 743                                                                                            SANDUSKY          OH   44871‐0743
ACETO, MICHAEL N                 39 GODFREY RD                                                                                         MASHPEE           MA   02649‐3827
ACETO, WILLIAM G                 1090 TRUMBULL AVE SE                                                                                  WARREN            OH   44484‐4576
ACEVAL, DAVID                    7821 SENATOR ST                                                                                       DETROIT           MI   48209‐1589
ACEVEDO JR, FRANK J              61751 ALEXANDRIA CT UNIT 2                                                                            SOUTH LYON        MI   48178‐1395
ACEVEDO RICARDO                  15746 SWEETWATER CREEK DR                                                                             HOUSTON           TX   77095‐1612
ACEVEDO, ANA L                   21130 WILMORE AVE                                                                                     EUCLID            OH   44123‐2822
ACEVEDO, BETH A                  112 CABERNET DRIVE                                                                                    ENGLEWOOD         OH   45322‐3463
ACEVEDO, CANDIDO                 PO BOX 1628                                                                                           MOCA              PR   00676‐1628
ACEVEDO, DAVID J                 2175 VICKI LN                                                                                         WEST BRANCH       MI   48661‐8927
ACEVEDO, EDWIN                   6061 PROCTOR ST                                                                                       DETROIT           MI   48210‐1501
ACEVEDO, EXIQUIO                 113 NEW ORLEANS ST                                                                                    MISSION           TX   78572‐6357
ACEVEDO, FERNANDO                209 RUTGERS ST                                                                                        NEW BRUNSWICK     NJ   08901‐3424
ACEVEDO, GARY F                  112 CABERNET DRIVE                                                                                    ENGLEWOOD         OH   45322‐3463
ACEVEDO, GILBERT Q               4318 OJAI RD                                                                                          SANTA PAULA       CA   93060‐9680
ACEVEDO, GLADYS                  2133 DENA DR                                                                                          CONCORD           CA   94519‐2222
ACEVEDO, GLADYS                  6088 LARKINS                                                                                          DETROIT           MI   48210‐1546
ACEVEDO, ISAIAS                  1490 CALLE ROBALO                                                                                     CAROLINA          PR   00983‐1445
ACEVEDO, ISRAEL                  535 SPRINGHILL CIR 1                                                                                  NAPERVILLE        IL   60563
ACEVEDO, JOSE M                  2100 SW 117TH AVE                                                                                     MIRAMAR           FL   33025‐5650
ACEVEDO, MICHAEL A               18551 SW 44TH ST                                                                                      MIRAMAR           FL   33029‐6215
ACEVEDO, MICHAEL L               1109 BROWN ST APT 4B                                                                                  PEEKSKILL         NY   10566‐3720
ACEVEDO, MIGUEL E                2628 OCALA ST                                                                                         HAYWARD           CA   94545‐4021
ACEVEDO, NILDA I                 597 DUSTIN TER                                                                                        DELTONA           FL   32725‐3212
ACEVEDO, RICARDO A               15746 SWEETWATER CREEK DR                                                                             HOUSTON           TX   77095‐1612
ACEVEDO, RICARDO M               903 WILLOW CREEK DR                                                                                   MANSFIELD         TX   76063‐2857
ACEVEDO, ROSEMARY                547 RUBY ST                                                                                           SAGINAW           MI   48602‐1170
ACEVEDO, RUBEN                   597 DUSTIN TER                                                                                        DELTONA           FL   32725‐3212
ACEVEDO, RUBEN A                 832 WINCHESTER AVE                                                                                    HILLSIDE          NJ   07205‐3123
ACEVEDO, SIXTO M                 2110 WILDERNESS TRL                                                                                   GRAND PRAIRIE     TX   75052‐1944
ACEVEDO, TERESA G                58 STAFFORD AVE                                                                                       DAYTON            OH   45405‐2336
ACEVEDO, WILLIAM                 1802 WILLARD DR                                                                                       CANTON            MI   48187‐4921
ACEVEDO, YOLANDA M               177 WHITE PLAINS RD APT 75X                                                                           TARRYTOWN         NY   10591‐5517
ACEVES, CYNTHIA                  APT 30                               2747 PARK PLACE LANE                                             JANESVILLE        WI   53545‐5242
ACEVES, LUIS R                   7900 W 115TH ST                                                                                       OVERLAND PARK     KS   66210‐2502
ACEVEZ, EULALIO G                12885 GLENOAKS BLVD                                                                                   SYLMAR            CA   91342‐4023
ACEY EVANS                       129 QUINN DR                                                                                          KENANSVILLE       NC   28349‐8929
ACEY HAYES                       202 SEMINOLE ST                                                                                       PONTIAC           MI   48341‐1644
ACEY, GEORGE                     1141 BRITTANY PARK LN                                                                                 ANTIOCH           TN   37013‐3671
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ACEZEDO, ANGEL                    16257 S TAMIAMI TRL                                                                               FORT MYERS         FL 33908‐4308
ACF INDUSTRIES LLC                C/O BRUCE D LEMOINE/ARMSTRONG   ONE METROPOLITAN SQUARE SUITE                                     ST LOUIS           MO 63102
                                  TEASDALE LLP                    2600
ACFE TENNESSEE CHAPTER            CHAPTER TREASURER               PO BOX 198361                                                     NASHVILLE         TN   37219‐8361
ACFR INDUSTRIES INC               263 PARK AVE                    PO BOX 798                                                        NEW HYDE PARK     NY   11040‐5321
ACG HEADQUARTERS                  PO BOX 7095                                                                                       TROY              MI   48007‐7095
ACG HEADQUARTERS                  1 PONTIAC PLZ                                                                                     PONTIAC           MI   48340‐2952
ACG HEADQUARTERS                  PO BOX 436040                                                                                     PONTIAC           MI   48343‐6040
ACG SAGINAW DIVISION              PO BOX 436040                                                                                     PONTIAC           MI   48343‐6040
ACH FLOORPLAN FL DRAFTS           2555 METROPOLITAN PKWY SW       DBA AIRPORT CHEVROLET                                             ATLANTA           GA   30315‐7237
ACH, FRANCES                      83 BEECHWOOD DR                                                                                   NORTHFIELD        OH   44067‐1901
ACH, MARY H                       9347 ALLAN RD                   C/O MARILYN J SINGAFOOSE                                          NEW LOTHROP       MI   48460‐9795
ACHA, BEVERLY J                   2015 N CAROLINA ST                                                                                SAGINAW           MI   48602‐3933
ACHA, FLORENCE                    335 OBRIEN RD                                                                                     MAYVILLE          MI   48744‐9786
ACHA, FLORENCE                    335 O'BRIAN ROAD                                                                                  MAYVILLE          MI   48744‐9786
ACHA, JENNELL L                   1016 ROCKVILLE PL                                                                                 THE VILLAGES      FL   32162‐4095
ACHA, LESLIE L                    1260 CHANNEL WAY                                                                                  GLADWIN           MI   48624‐7822
ACHA, MICHAEL L                   2156 S RIVER RD                                                                                   SAGINAW           MI   48609‐5325
ACHA, ROBERT C                    2735 CHURCHILL LN APT 3                                                                           SAGINAW           MI   48603‐2662
ACHARY, VENU G                    4901 SEASONS                                                                                      TROY              MI   48098‐6625
ACHATZ, JOHN R                    20400 WALTON ST                                                                                   ST CLAIR SHRS     MI   48081‐3471
ACHATZ, LAURA R                   46458 KRAMER DR                                                                                   SHELBY TOWNSHIP   MI   48315‐5734
ACHATZ, THOMAS M                  7101 W RIDGE DR                                                                                   BRIGHTON          MI   48116‐8800
ACHAU TRAVEL                      ATTN: NEIL HUYNH                3884 DIVISION AVE S                                               GRAND RAPIDS      MI   49548‐3274
ACHAUER, RICHARD P                1854 MEADOW DR                                                                                    MONROE            MI   48162‐4181
ACHEE MACALLYNN J LTD             11816 SUNRAY AVE STE B                                                                            BATON ROUGE       LA   70816‐3801
ACHEFF, GEORGE W                  424 CARRIE DR                                                                                     FLUSHING          MI   48433‐1922
ACHEFF, JOHN F                    2745 KELLAR AVE                                                                                   FLINT             MI   48504‐2792
ACHENBACH JR, WILLIAM T           1740 ASHTON AVE                                                                                   SHARPSVILLE       PA   16150‐1028
ACHENBACH SR, GEORGE R            3717 DELOSS ST                                                                                    INDIANAPOLIS      IN   46201‐4431
ACHENBACH, BRUCE A                3292 CHURCH ST                                                                                    UNIONVILLE        MI   48767‐9406
ACHENBACH, DENNIS L               9825 E 266TH ST                                                                                   ARCADIA           IN   46030‐9715
ACHENBACH, DIANE L                648 HAWTHORNE COURT                                                                               AVON              IN   46123‐8202
ACHENBACH, DIANE LYNN             648 HAWTHORNE COURT                                                                               AVON              IN   46123‐8202
ACHENBACH, EVAN M                 27435 CROOKED CREEK RD                                                                            ATLANTA           IN   46031‐9707
ACHENBACH, KRISTINE M             1655 BLUSHING CT                                                                                  ROCHESTER HILLS   MI   48307‐3585
ACHENBACH, KYLE M                 11883 CEDAR DR                                                                                    FISHERS           IN   46037
ACHENBACH, LETHA C                28655 STATE RD 213                                                                                ATLANTA           IN   46031‐9717
ACHENBACH, LETHA C                28655 N STATE ROAD 213                                                                            ATLANTA           IN   46031‐9717
ACHENBACH, LYNN K                 8092 W DIXON RD                                                                                   REESE             MI   48757‐9531
ACHENBACH, MICHAEL A              2138 AIRLINE DR UNIT 115                                                                          BOSSIER CITY      LA   71111
ACHENBACH, PAUL A                 PO BOX 175                                                                                        CICERO            IN   46034‐0175
ACHENBACH, ROBERT F               1485 E 500 S                                                                                      ATLANTA           IN   46031‐9330
ACHENBACH, W L & ASSOCIATES INC   7 S 2ND AVE                                                                                       ST CHARLES        IL   60174‐1921
ACHENBACH, WILLIAM J              4518 ARROWHEAD DR SE                                                                              DECATUR           AL   35603‐5142
ACHENBACH, WILLIAM P              641 OLD GLORY RD                                                                                  MARYVILLE         TN   37801‐7844
ACHER & ACHER                     199 N MAIN ST                                                                                     FRANKLIN          IN   46131‐1720
ACHESON AUTO WORKS                8000 UNIVERSITY BLVD                                                                              DES MOINES        IA   50325‐1118
ACHESON COLLOIDS CO               1600 WASHINGTON AVE                                                                               PORT HURON        MI   48060‐3456
ACHESON INDUSTRIES INC            1600 WASHINGTON AVE                                                                               PORT HURON        MI   48060‐3456
ACHESON, DONALD R                 511 N HILLTOP ST                                                                                  BURKBURNETT       TX   76354‐3019
ACHESON, JOHN
ACHESON, MICHELE L                535 HICKORY ST                                                                                    LINDEN            MI   48451‐8922
ACHEY JONATHAN P                  3890 CANNON RD                                                                                    YOUNGSTOWN        OH   44515‐4601
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Name                                   Address1                       Address2               Address3         Address4                   City               State   Zip
ACHEY JR, JONATHAN P                   4277 SELKIRK AVE                                                                                  YOUNGSTOWN          OH     44511‐1048
ACHEY, BETTY L                         6423 S COUNTY ROAD 700 E                                                                          WALTON              IN     46994‐9357
ACHEY, DARLA K                         6440 BELSAY RD                                                                                    GRAND BLANC         MI     48439‐9757
ACHEY, DAVID E                         854 MAGNOLIA CT                                                                                   MARCO ISLAND        FL     34145‐2124
ACHEY, JONATHAN P                      3890 CANNON RD                                                                                    AUSTINTOWN          OH     44515‐4601
ACHEY, STEVEN M                        3815 NE 22ND AVE                                                                                  AMARILLO            TX     79107‐7236
ACHGILL, DENNIS M                      9073 RIGGING CT                                                                                   INDIANAPOLIS        IN     46256‐9771
ACHGILL, JAMES E                       3369 KILKENNY CIR                                                                                 CARMEL              IN     46032‐8763
ACHIEL HOORNAERT                       188 SHAKER BEND RD                                                                                AUBURN              KY     42206‐8722
ACHIEL VIAENE JR                       19500 ARMADA RIDGE RD                                                                             ARMADA              MI     48005‐4221
ACHIEVE PHYSICAL THE                   2911 KNAPP ST NE STE C                                                                            GRAND RAPIDS        MI     49525‐4600
ACHILES ARVAN                          5841 CHERRYWOOD DR                                                                                YOUNGSTOWN          OH     44512‐3989
ACHILLE CENTOFANTI                     3307 SE RIVER RD                                                                                  BERLIN CENTER       OH     44401‐9734
ACHILLE SOUVATZIDIS                    5265 DILLON DR                                                                                    WHITE LAKE          MI     48383‐4100
ACHILLE, LARRY G                       53 COBBLESTONE DR                                                                                 ROCHESTER           NY     14623‐5439
ACHILLES FARSOLAS                      613 DYE ST                                                                                        PENSACOLA           FL     32534‐9655
ACHILLES GEORGE                        423 S BARCLAY ST                                                                                  FAIRMOUNT           IN     46928‐1825
ACHILLES N GEORGE                      423 S BARCLAY                                                                                     FAIRMOUNT           IN     46928‐1825
ACHILLI MOTORS SPA ‐ NO AMER VEH DIV   VIA G. B. CASSINIS, 23                                                 MILANO 20139 ITALY

ACHILLI, NICOLINA                      2453 ELMCREST                                                                                     STERLING HEIGHTS   MI      48310‐4267
ACHILLI, NICOLINA                      2453 ELMCREST RD                                                                                  STERLING HEIGHTS   MI      48310‐4267
ACHILLI, NOLA M                        90 JUDSON AVE                                                                                     BRISTOL            CT      06010‐6405
ACHILLI, NOLA M                        90 JUDSON AVENUE                                                                                  BRISTOL            CT      06010‐6405
ACHIM FISHER                           810 DOERWOOD CT                                                                                   KIRKWOOD           MO      63122‐3010
ACHIM G FISHER                         810 DOERWOOD CT                                                                                   KIRKWOOD           MO      63122‐3010
ACHIM KAUTE                            ROMERHOFALLEE 53                                                       50226 FRECHEN GERMANY
ACHIM PFAFF                            AM STEINBRUCH 2                                                        GEISELBACH 63826 GERMANY

ACHIM SCHMID                           RHEINBACHER STRASSE 12                                                 D‐50937 KOELN GERMANY
ACHIMON, ROY D                         1911 DARTMOUTH CT                                                                                 ARLINGTON          TX      76015‐3214
ACHINGER, DAVID W                      34352 MANOR RUN CIRCLE                                                                            STERLING HTS       MI      48312‐5330
ACHINGER, JOHN H                       3723 BAY RD                                                                                       ERIE               MI      48133‐9404
ACHINGER, JOHN HARRY                   3723 BAY RD                                                                                       ERIE               MI      48133‐9404
ACHINO, DAVID J                        3427 VALLEY BROOK LN                                                                              BRIGHTON           MI      48114‐9279
ACHLADIS, GUST                         2401 WILLOW BROOK DR NE                                                                           WARREN             OH      44483‐4660
ACHLADIS, JOHN                         688 NOTRE DAME AVE                                                                                YOUNGSTOWN         OH      44515
ACHLADIS, PETE T                       2112 GUARNIERI DR NE                                                                              WARREN             OH      44483‐4257
ACHLADIS, PHILIP J                     PO BOX 4087                                                                                       YOUNGSTOWN         OH      44515‐0087
ACHLADIS, PHILIP J                     688 NOTRE DAME AVE                                                                                YOUNGSTOWN         OH      44515‐4203
ACHLADIS, TASIA                        4031 ADRIAN DR SE                                                                                 WARREN             OH      44484‐2751
ACHLADIS, TASIA                        4031 ADRIAN DRIVE                                                                                 WARREN             OH      44484‐2751
ACHNER, SIEGRID                        FERDINAND‐KOBELL‐STR 33                                                85540 HAAR GERMANY
ACHOLONU, LEONARD M                    1180 ANDERSON AVE APT 52                                                                          BRONX               NY     10452
ACHOR, JOYCE K                         9100 N 000 RD                                                                                     DECATUR             IN     46733‐9712
ACHOR, JULIA E                         11149 S 300 E                                                                                     WALTON              IN     46994‐9801
ACHRAM, MARY                           41381 DEQUINDRE RD                                                                                TROY                MI     48085‐4029
ACHSAH BLOCHOWIAK                      1104 2ND AVE                                                                                      LAKE ODESSA         MI     48849‐1153
ACHT G WEB‐SOLUTIONS & SERVICE
ACHT G WEB‐SOLUTIONS & SERVICEGMBH     SCHUETZENSTR 21                                                        HAMBURG 22761 GERMANY

ACHTABOWSKI, JOHN M                    2819 STATE ST                                                                                     OSSINEKE            MI     49766‐9760
ACHTABOWSKI, WILLIAM A                 4420 KING RD                                                                                      SAGINAW             MI     48601‐7108
ACHTEN, RICHARD L                      2210 S TERM ST                                                                                    BURTON              MI     48519‐1031
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Name                                Address1                       Address2                 Address3       Address4                City            State   Zip
ACHTERHOF, MARC J                   2045 SHAGBARK LN                                                                               OKEMOS           MI     48864‐3631
ACHTERHOF, PATRICIA J               5817 ST CHARLES PL                                                                             MOUNT JULIET     TN     37122‐8800
ACHTERHOF, RANDALL D                13975 TAFT RD                                                                                  SPRING LAKE      MI     49456‐9521
ACHTERHOF, RONALD D                 15211 GRANT ST                                                                                 DOLTON            IL    60419‐2630
ACHTERMANN, CLARENCE S              418 CROUSE RD                                                                                  WILMINGTON       OH     45177‐8911
ACHTERMANN, DONNA                   3300 E FOSTER MAINEVILLE RD                                                                    MORROW           OH     45152‐8507
ACHTERMANN, DUANE L                 264 VOLUSIA AVE                                                                                DAYTON           OH     45409‐2225
ACHTERMANN, JUDITH L                264 VOLUSIA AVE                                                                                DAYTON           OH     45409‐2225
ACHTERMANN, MARK D                  1205 4TH AVE                                                                                   ACKLEY            IA    50601‐1820
ACHTERMANN, VIRGINIA                1355 WOODBERRY PL                                                                              GAHANNA          OH     43230‐8418
ACHTYL, ANTHONY A                   161 WHITNEY PL                                                                                 CHEEKTOWAGA      NY     14227‐2428
ACHTYL, NATALIE                     P.O. BOX 831                                                                                   WEST SENECA      NY     14224
ACHTYL, NATALIE                     PO BOX 831                                                                                     WEST SENECA      NY     14224‐0831
ACHZIGER NORMAN                     2010 MISSISSIPPI ST                                                                            LOVELAND         CO     80538‐6284
ACI ADVANCED                        5711 RESEARCH DR                                                                               CANTON           MI     48188‐2261
ACI ADVANCED COMMUNICATIONS         2711 RESEARCH DR                                                                               CANTON           MI     48188
ACI ADVANCED COMMUNICATIONS, INC.   KRISTIN JOHNSON‐GIGNAC         5711 RESEARCH DR                                                CANTON           MI     48188‐2261

ACI KARDAM MANUFACTURING LIMITED    2090 N TALBOT RD                                                       WINDSOR ON N9A 6J3
                                                                                                           CANADA
ACI KARDAM/WINDSOR                  2090 NORTH TALBOT ROAD                                                 WINDSOR ON N9A 6J3
                                                                                                           CANADA
ACI TECHNOLOGY INC                  17 WHEELING AVE                                                                                WOBURN          MA      01801‐2008
ACI TECHNOLOGY INC                  ATTN ACCOUNTS RECEIVABLE       17 WHEELING AVE                                                 WOBURN          MA      01801‐2008
ACID PIPING TECHNOLOGY INC          2890 ARNOLD TENBROOK RD                                                                        ARNOLD          MO      63010‐4713
ACID WORKS TATTOOS                  ATTN: AL FARBER                713 E MOUNT MORRIS ST                                           MT MORRIS       MI      48458‐2018
ACIE ANDERSON JR                    6795 RIDGEWOOD RD                                                                              CLARKSTON       MI      48346‐1028
ACIE CLAYBORNE                      4473 E FRONTENAC DR                                                                            WARRENSVL HTS   OH      44128‐5001
ACIE L MORELAND                     29271 SE 180TH STREET ROAD                                                                     ALTOONA         FL      32702‐9002
ACIE MORELAND                       29271 SE 180TH STREET RD                                                                       ALTOONA         FL      32702‐9002
ACIE WALKER JR                      11491 SOUTHLAND RD                                                                             CINCINNATI      OH      45240‐2641
ACIERNO, FREDERICK J                54035 SCARBORO WAY                                                                             SHELBY TWP      MI      48316‐1285
ACIERNO‐ARMSTRONG, TAMMY L          443 S LINCOLN AVE                                                                              SALEM           OH      44460‐3107
ACIP                                1101 15TH STE 700                                                                              WASHINGTON      DC      20005
ACITO, FRANK J                      535 GILLETT RD                                                                                 SPENCERPORT     NY      14559‐2005
ACITO, PAMELA J                     6027 HICKORY GROVE LN                                                                          PORT ORANGE     FL      32128‐7097
ACK CONTROLS INC                    ACCOUNTS RECEIVABLE            2600 HAPPY VALLEY RD                                            GLASGOW         KY      42141‐9063
ACK CONTROLS INC                    MAKI ZAFFUTO                   2600 HAPPY VALLEY ROAD                                          PINELLAS PARK   FL
ACKELMIRE, JAMES S                  8594 N BRIARWOOD E DR                                                                          MONROVIA        IN      46157
ACKELS, AMY B                       1201 JEWELL DR                                                                                 COLUMBIA        TN      38401‐5328
ACKELS, AMY BETH                    1201 JEWELL DR                                                                                 COLUMBIA        TN      38401‐5328
ACKELS, ANDREA                      7265 E JOHNSON RD RT2                                                                          ASHLEY          MI      48806‐9348
ACKELS, BETTY M                     4774 S MERIDIAN RD                                                                             OVID            MI      48866‐9732
ACKELS, BRENDA L                    7340 LAKE STATION AVENUE                                                                       LAKE            MI      48632‐9115
ACKELS, DONNA                       721 1/2 KORUNNA AVE.                                                                           OWOSSO          MI      48867
ACKELS, DOROTHY A                   PO BOX 441                     143 PINE ST                                                     ELSIE           MI      48831‐0441
ACKELS, GARY R                      143 E PINE ST BOX 441                                                                          ELSIE           MI      48831
ACKELS, HAROLD L                    2395 BYRON RD                                                                                  HOWELL          MI      48855‐7767
ACKELS, KATHY A                     6225 TAFT RD                                                                                   OVID            MI      48866‐9776
ACKELS, KEITH G                     820 N CREYTS RD                                                                                LANSING         MI      48917‐9718
ACKELS, KENNETH R                   315 CADGEWITH W                                                                                LANSING         MI      48906‐1535
ACKELS, RICHARD H                   5158 S MERIDIAN RD                                                                             OVID            MI      48866‐9512
ACKELS, RICKY R                     6225 TAFT RD                                                                                   OVID            MI      48866
ACKELS, RODRICK N                   442 E MAIN ST                                                                                  OWOSSO          MI      48867‐3139
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ACKELS, ROGER L                       14 HILLSIDE VIEW PL                                                                                      THE WOODLANDS        TX     77381‐6316
ACKELS, RUSSEL B                      1201 JEWELL DR                                                                                           COLUMBIA             TN     38401‐5328
ACKELS, SHELDON R                     PO BOX 1502                                                                                              BLACK CANYON CITY    AZ     85324‐1502

ACKEN, ALFRED W                       1076 W WHITTEMORE AVE                                                                                    FLINT               MI      48507‐3642
ACKEN, WILLIAM V                      1077 W WHITTEMORE AVE                                                                                    FLINT               MI      48507‐3641
ACKER ELDEN J                         1297 ROSALIND DR                                                                                         MIAMISBURG          OH      45342‐8370
ACKER HERMER L (ESTATE OF) (657739)   LANIER LAW FIRM                    6810 FM 1960 WEST SUITE 1550                                          HOUSTON             TX      77069
ACKER I I, ROBERT B                   3067 RICHMOND ST NW                                                                                      WALKER              MI      49534‐2338
ACKER JOSHUA                          5175 LYNBAR AVE                                                                                          MEMPHIS             TN      38117‐2112
ACKER JR, JOHN C                      10429 LAKE BROOK DR                                                                                      HURST               TX      76053‐7832
ACKER WILLIAM J (425661)              WILENTZ GOLDMAN & SPITZER          88 PINE STREET , WALL STREET                                          NEW YORK            NY      10005
ACKER, BERNADINE S                    625 NORTH ST                                                                                             CHESTERFIELD        IN      46017‐1127
ACKER, CHARLENE M                     APT 2922                           8064 SOUTH FULTON PARKWAY                                             FAIRBURN            GA      30213‐3083
ACKER, CHARLES L                      1365 MORAN AVE                                                                                           LINCOLN PARK        MI      48146‐3849
ACKER, CHARLES T                      3058 ROBIN CIR                                                                                           MORRISTOWN          TN      37813‐1743
ACKER, CRAYTON P                      8064 S FULTON PKWY APT 2922                                                                              FAIRBURN            GA      30213‐3083
ACKER, DALLAS J                       61 FREDERICK DR                                                                                          OXFORD              MI      48371‐4739
ACKER, DANIEL R                       438 PLYMOUTH RD                                                                                          SAGINAW             MI      48638‐7163
ACKER, DANIEL RUSSELL                 438 PLYMOUTH RD                                                                                          SAGINAW             MI      48638‐7163
ACKER, DELORA P                       14580 ILENE ST                                                                                           DETROIT             MI      48238‐1668
ACKER, DENNIS G                       2256 TIFFANY LN                                                                                          HOLT                MI      48842‐8728
ACKER, DOUGLAS B                      66 CAMPVILLE RD                                                                                          NORTHFIELD          CT      06778‐2619
ACKER, E L
ACKER, ELDEN J                        1297 ROSALIND DR                                                                                         MIAMISBURG          OH      45342‐6370
ACKER, EMMA                           2335 S LAKESIDE DR APT 4                                                                                 SAGINAW             MI      48603‐1319
ACKER, FRANCES C                      5200 CLYDESDALE LN                                                                                       SAGINAW             MI      48603‐2885
ACKER, FRIEDEL M                      564 WALLACE ST                                                                                           BIRMINGHAM          MI      48009‐1605
ACKER, GARY R                         90 FOXTOWN RD                                                                                            RICHMOND            KY      40475‐7959
ACKER, GEORGE F                       6718 SQUAW LAKE RD NE                                                                                    KALKASKA            MI      49646‐9721
ACKER, GLORIA J                       2937 CONCORD ST                                                                                          FLINT               MI      48504
ACKER, HERMER L                       LANIER LAW FIRM                    6810 FM 1960 WEST SUITE 1550                                          HOUSTON             TX      77069
ACKER, JOHN R                         23755 CORA AVE                                                                                           FARMINGTON HILLS    MI      48336‐2621

ACKER, KENNETH H                      9374 ELLSWORTH ROAD                                                                                      EAST JORDAN         MI      49727‐9577
ACKER, KENNETH L                      2242 S RIVER RD                                                                                          WALTON              NY      13856‐3481
ACKER, KIM K                          23036 ALLENDALE AVE                                                                                      PARKER              CO      80138‐8837
ACKER, KIM K                          23038 ALLENDALE AVE                                                                                      PARKER              CO      80138‐8837
ACKER, KLARE W                        303 N HAYFORD AVE                                                                                        LANSING             MI      48912‐4146
ACKER, LARRY E                        7378 CRYSTAL LAKE DR APT 5                                                                               SWARTZ CREEK        MI      48473‐8947
ACKER, MARGARET A                     2242 S RIVER RD                                                                                          WALTON              NY      13856‐3481
ACKER, MARY SUE                       1156 S ALSTOTT DR                                                                                        HOWELL              MI      48843‐7825
ACKER, MAURICE K                      410 CARRIER ST                                                                                           LANSING             MI      48906‐3025
ACKER, MILDRED E                      16494 27 MILE RD                                                                                         RAY                 MI      48096‐3412
ACKER, NORA L                         1330 N JENISON AVE                                                                                       LANSING             MI      48915‐1418
ACKER, PATRICIA B                     5275 MACKINAW ROAD                                                                                       SAGINAW             MI      48603
ACKER, RICHARD N                      261 BAYVIEW DR                                                                                           MADISON             MS      39110‐9178
ACKER, ROBERT L                       1721 FOREST DR                                                                                           PORTAGE             MI      49002‐6435
ACKER, ROY M                          5935 N HIGH ST APT 124                                                                                   WORTHINGTON         OH      43085‐3984
ACKER, RUSSELL T                      3809 FALL BLUFF DR SW                                                                                    DECATUR             AL      35603‐4057
ACKER, VIVA L                         1175 EMERSON APT 6                                                                                       LAKE ODESSA         MI      48849‐1194
ACKER, VIVA L                         1175 EMERSON ST APT 6                                                                                    LAKE ODESSA         MI      48849‐1194
ACKER, WILLIAM J                      WILENTZ GOLDMAN & SPITZER          88 PINE STREET, WALL STREET PLAZA                                     NEW YORK            NY      10005
ACKERET, STUART E                     1025 WESTCHESTER DR                                                                                      SUNNYVALE           CA      94087‐2048
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ACKERLY, GERALDINE M           5379 E MCKENZIE AVE                                                                                        FRESNO             CA     93727‐3229
ACKERLY, JOAN L                10729 FIGTREE CT                                                                                           LEHIGH ACRES       FL     33936‐7332
ACKERMAN ANTON J JR (431111)   CLIMACO LEFKOWITZ PECA WILCOX &       1228 EUCLID AVE , HALLE BLDG 9TH                                     CLEVELAND          OH     44115
                               GAROFOLI                              FL
ACKERMAN BISHOP                1609 SCOT LANE                                                                                             KELLER            TX      76248‐8224
ACKERMAN BUICK INC             2900 PERSHALL RD                                                                                           SAINT LOUIS       MO      63136‐4442
ACKERMAN CHACCO CO INC         10770 KENWOOD RD                                                                                           CINCINNATI        OH      45242‐2823
ACKERMAN CHEVROLET INC         HARRIS JERNIGAN & GENO PLLC           587 HIGHLAND COLONY PKWY                                             RIDGELAND         MS      39157
ACKERMAN CHEVROLET INC
ACKERMAN JOHN                  2611 27TH ST                                                                                               ROCK ISLAND       IL      61201‐5408
ACKERMAN JR, CARL C            326 BOGART RD                                                                                              HURON             OH      44839‐2306
ACKERMAN JR, JOHN C            1900 S 825 W                                                                                               LAPEL             IN      46051‐9711
ACKERMAN JR, RAYMOND L         15842 MARSALA DR                                                                                           FISHERS           IN      46037‐7348
ACKERMAN KENNETH H (630476)    GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                          NORFOLK           VA      23510
                                                                     STREET, SUITE 600
ACKERMAN PLUMBING INC          678 SHERIDAN DR                                                                                            TONAWANDA          NY     14150‐7855
ACKERMAN, ADAM DEAN            3960 WILL O WAY LN                                                                                         WEST BLOOMFIELD    MI     48323

ACKERMAN, ALBERT J             1674 COLUMBINE DR                                                                                          TUPELO            MS      38801‐6978
ACKERMAN, ALLYN W              1958 LAKEVIEW DR                                                                                           HUBBARD LAKE      MI      49747‐9636
ACKERMAN, ANTON                CLIMACO LEFKOWITZ PECA WILCOX &       1228 EUCLID AVE, HALLE BLDG 9TH                                      CLEVELAND         OH      44115
                               GAROFOLI                              FL
ACKERMAN, ARTHUR J             520 BARFIELD RD                                                                                            ELGIN             SC      29045‐9005
ACKERMAN, BEVERLY              APT 6                                 4690 HEMMETER COURT                                                  SAGINAW           MI      48603‐3888
ACKERMAN, BEVERLY              4690 HEMMETER CT APT 6                                                                                     SAGINAW           MI      48603‐3888
ACKERMAN, BLANCHE A            6470 POST RD                                                                                               DUBLIN            OH      43016
ACKERMAN, BONNIE J             3611 PARKER PL                                                                                             MCALESTER         OK      74501‐8133
ACKERMAN, BRIAN D              3211 S CENTER RD                                                                                           BURTON            MI      48519‐1459
ACKERMAN, BRIAN K              1535 NORTH RD SE                                                                                           WARREN            OH      44484‐2904
ACKERMAN, BRUCE M              10383 DODGE RD                                                                                             MONTROSE          MI      48457‐9121
ACKERMAN, BRUCE MARTIN         10383 DODGE RD                                                                                             MONTROSE          MI      48457‐9121
ACKERMAN, CAROL A              5055 BRITT RD                                                                                              HALE              MI      48739‐9089
ACKERMAN, CAROL A              5055 BRITT ROAD                                                                                            HALE              MI      48739‐9089
ACKERMAN, CAROL L              100 KLEIN CT                                                                                               GEORGETOWN        TX      78626‐9721
ACKERMAN, CARON V              22735 MANNING ST                                                                                           FARMINGTON        MI      48336‐3942
ACKERMAN, CARON VICTORIA       22735 MANNING ST                                                                                           FARMINGTON        MI      48336‐3942
ACKERMAN, CARROLL D            2269 WOODVILLE RD R 10                                                                                     MANSFIELD         OH      44903
ACKERMAN, CATHERINE J          1301 W COUNTRY CLUB RD                APT 3                                                                ROSWELL           NM      88201‐3495
ACKERMAN, CHARLENE             848 N MARION AVE                                                                                           JANESVILLE        WI      53548‐2333
ACKERMAN, CHARLES E            668 S LINDSEY RD                                                                                           OLD MONROE        MO      63369‐2029
ACKERMAN, CHARLES E            668 SOUTH LINDSEY ROAD                                                                                     OLD MONROE        MO      63369‐2029
ACKERMAN, CHARLES F            2530 MELODY LN                                                                                             ANDERSON          IN      46012‐1941
ACKERMAN, CHARLES J            127 CHARLES PL                                                                                             MUNFORD           TN      38058‐4601
ACKERMAN, CHARLES J            5338 AMSDEN AVE                                                                                            TOLEDO            OH      43613‐2633
ACKERMAN, CLARENCE             GOLDBERG PERSKY JENNINGS & WHITE PC   4800 FASHION SQUARE BLVD STE                                         SAGINAW           MI      48604‐2602
                                                                     260
ACKERMAN, COLLEEN M            642 WESLEY AVE                                                                                             YOUNGSTOWN        OH      44509‐1835
ACKERMAN, DALE R               100 KLEIN CT                                                                                               GEORGETOWN        TX      78626‐9721
ACKERMAN, DAVID L              2013 LAKE DR                                                                                               NORTHFIELD        MN      55057‐3249
ACKERMAN, DEBORAH K            3903 NORTH OAK STREET                                                                                      METAMORA          MI      48455‐9769
ACKERMAN, DELLA J              3608 ARBOR DRIVE                                                                                           FENTON            MI      48430
ACKERMAN, DELLA J              3608 ARBOR DR                                                                                              FENTON            MI      48430‐3115
ACKERMAN, DENNIS N             G4470 BRANCH RD                                                                                            FLINT             MI      48506‐1343
ACKERMAN, DOUGLAS C            3903 N OAK ST                                                                                              METAMORA          MI      48455‐9769
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Name                     Address1                         Address2                      Address3   Address4               City               State   Zip
ACKERMAN, EDWARD M       2227 WILBERT ST                                                                                  SANDUSKY            OH     44870‐1977
ACKERMAN, ELEANOR L      6284 N OCEANA DRIVE                                                                              HART                MI     49420
ACKERMAN, FRANK W        5497 S SHERIDAN AVE                                                                              DURAND              MI     48429‐9603
ACKERMAN, GARY L         2423 WILLOWDALE DR                                                                               BURTON              MI     48509‐1317
ACKERMAN, HAROLD L       300 E MAIN ST                                                                                    ROCKFORD            MI     49341‐1071
ACKERMAN, HARRY J        W3676 ASHLAND ST 72                                                                              SPALDING            MI     49886
ACKERMAN, HELEN D        6466 W FARRAND RD                                                                                CLIO                MI     48420‐8101
ACKERMAN, JACK           802 RIDGEVIEW DR                                                                                 BELLEFONTAINE       OH     43311‐2935
ACKERMAN, JACK G         3050 MANN RD                                                                                     CHEBOYGAN           MI     49721‐9249
ACKERMAN, JAMES L        3225 DONLEY AVE                                                                                  ROCHESTER HILLS     MI     48309‐4127
ACKERMAN, JAMES L        7127 TOWNLINE RD                                                                                 N TONAWANDA         NY     14120‐1348
ACKERMAN, JOANNA L       5410 LAPEER RD                                                                                   COLUMBIAVILLE       MI     48421‐9619
ACKERMAN, JOHN C         11003 HUDSON AVE                                                                                 WARREN              MI     48089‐2439
ACKERMAN, JOSEPH G       33 WARREN DR                                                                                     TONAWANDA           NY     14150‐5132
ACKERMAN, JOYCE          1120 N ELMS RD                                                                                   FLINT               MI     48532‐2025
ACKERMAN, KAREN E        4312 PHEASANT RUN                                                                                JANESVILLE          WI     53546‐9325
ACKERMAN, KAREN S        41947 METZ RD                                                                                    COLUMBIANA          OH     44408‐9445
ACKERMAN, KATHRYN H      326 BOGART RD.                                                                                   HURON               OH     44839‐2306
ACKERMAN, KATHRYN H      326 BOGART RD                                                                                    HURON               OH     44839‐2306
ACKERMAN, KENNETH H      GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                     NORFOLK             VA     23510‐2212
                                                          STREET, SUITE 600
ACKERMAN, KENNETH L      3485 BUSCH RD RT 3                                                                               BIRCH RUN          MI      48415
ACKERMAN, KEVIN L        PO BOX 6                                                                                         MOUNT VERNON       OH      43050
ACKERMAN, KRISTIE M      1239 BLOSSOM RD‐BX 473                                                                           COLON              MI      49040
ACKERMAN, KURT B         2323 LINDEN AVE                                                                                  JANESVILLE         WI      53548‐2373
ACKERMAN, LARRY M        20 LINDA DR                                                                                      FREMONT            OH      43420‐4869
ACKERMAN, LARRY W        1120 N ELMS RD                                                                                   FLINT              MI      48532‐2025
ACKERMAN, LESLIE D       865 KALE ADAMS RD                                                                                LEAVITTSBURG       OH      44430‐9790
ACKERMAN, LOREN B        2791 COWPER STREET                                                                               PALO ALTO          CA      94306‐2448
ACKERMAN, LYLE E         4312 PHEASANT RUN                                                                                JANESVILLE         WI      53546‐9325
ACKERMAN, MARGUERITE G   5497 S SHERIDAN AVE                                                                              DURAND             MI      48429‐9603
ACKERMAN, MARGUERITE G   5497 SHERIDAN AVE                                                                                DURAND             MI      48429
ACKERMAN, MARY A         2323 LINDEN AVE                                                                                  JANESVILLE         WI      53548‐2373
ACKERMAN, MICHAEL D      2418 SAN JOSE AVE                                                                                AVON PARK          FL      33825‐9631
ACKERMAN, PEARL          PO BOX 325                                                                                       FARWELL            MI      48622‐0325
ACKERMAN, PEARL          POST OFFICE BOX 325                                                                              FARWELL            MI      48622‐0325
ACKERMAN, RANDAL N       258 HARRISON DR                                                                                  DAVISON            MI      48423‐8551
ACKERMAN, REN W          20193 SCHICK RD                                                                                  DEFIANCE           OH      43512‐9758
ACKERMAN, RICHARD H      APT 4                            503 TRADEWINDS DRIVE                                            ESSEXVILLE         MI      48732‐9681
ACKERMAN, RICHARD R      8778 REDWOOD DR                                                                                  MONROE             MI      48162‐9130
ACKERMAN, RICHARD T      5198 WATERS EDGE CT                                                                              STERLING HEIGHTS   MI      48314‐2048
ACKERMAN, ROBERT E       PO BOX 857                                                                                       PRAIRIEVILLE       LA      70769‐0857
ACKERMAN, ROBERT G       6466 W FARRAND RD                                                                                CLIO               MI      48420‐8101
ACKERMAN, ROBERT V       9883 MOUNT GILEAD RD                                                                             FREDERICKTOWN      OH      43019‐9503
ACKERMAN, RONALD D       563 RT. 250 S.                                                                                   NORWALK            OH      44857
ACKERMAN, RONALD F       70 CYPRESS RUN                                                                                   BLUFFTON           SC      29909‐5081
ACKERMAN, ROSALIE M      1757 BURNHAM ST                                                                                  SAGINAW            MI      48602‐1114
ACKERMAN, SHERYL J       2423 WILLOWDALE DR                                                                               BURTON             MI      48509
ACKERMAN, SOPHIE M       1933 WOOD ST                                                                                     SAGINAW            MI      48602‐1190
ACKERMAN, SOPHIE M       1933 WOOD                                                                                        SAGINAW            MI      48602‐1190
ACKERMAN, STANLEY D      125 MONUMENT CIR                                                                                 SUMMERTOWN         TN      38483‐7649
ACKERMAN, STEPHEN B      8041 ARKONA RD                                                                                   CLINTON            MI      49236‐9412
ACKERMAN, STEPHEN G      129 SUNSET ST                                                                                    BUFFALO            NY      14207‐1820
ACKERMAN, TED L          5863 TRINITY RD                                                                                  DEFIANCE           OH      43512‐9755
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ACKERMAN, THEODORE D        7801 FOSTORIA RD                                                                                    MAYVILLE         MI     48744‐9573
ACKERMAN, TRACY R           1200 W PLACITA QUIETA                                                                               GREEN VALLEY     AZ     85622‐8336
ACKERMAN, VICKI J           11265 DODGE RD                                                                                      MONTROSE         MI     48457‐9170
ACKERMAN, VICKI JANE        11265 DODGE RD                                                                                      MONTROSE         MI     48457‐9170
ACKERMAN, VIRGINIA M        113 WILSON ST                                                                                       DEWITT           MI     48820‐8702
ACKERMAN, VIRGINIA M        113 WILSON STREET                                                                                   DEWITT           MI     48820‐8702
ACKERMAN, WILBUR B          20 RIDGEWOOD DR                                                                                     NORWALK          OH     44857‐1991
ACKERMAN, WILLIAM L         13 SHENANDOAH WAY                                                                                   CABOT            AR     72023‐2683
ACKERMAN, WILLIAM V         27948 CAPSHAW RD                                                                                    HARVEST          AL     35749‐7408
ACKERMAN‐RILEY, MARTHEA K   605 SAINT LAWRENCE AVE                                                                              JANESVILLE       WI     53545‐4037
ACKERMANN, RUDOLF           31756 BRETTON SPRG VLY                                                                              LIVONIA          MI     48152
ACKERS, YVONNE D            186 MOUNT OLIVE RD                                                                                  STAFFORD         VA     22556‐6718
ACKERSON JR, FREDRICK W     APT 262                          6500 NORTH COSBY AVENUE                                            KANSAS CITY      MO     64151‐3958
ACKERSON, BRUCE L           820 E BRIDGE ST                                                                                     PORTLAND         MI     48875‐1507
ACKERSON, CORY J            7714 GRANGER HWY                                                                                    VERMONTVILLE     MI     49096‐9747
ACKERSON, GLORIA M          10827 NASH HWY                                                                                      CLARKSVILLE      MI     48815‐9706
ACKERSON, GLORIA M          10827 NASH HIGHWAY                                                                                  CLARKSVILLE      MI     48815‐9706
ACKERSON, JACK A            5258 LYTLE RD                                                                                       CORUNNA          MI     48817‐9598
ACKERSON, JAMES W           2919 S STEVENSON RD                                                                                 STANTON          MI     48888‐9557
ACKERSON, JANIS L           5258 LYTLE                                                                                          CORUNNA          MI     48817‐9598
ACKERSON, JANIS L           5258 LYTLE RD                                                                                       CORUNNA          MI     48817‐9598
ACKERSON, JOHN J            12744 KEEFER HWY                                                                                    SUNFIELD         MI     48890‐9714
ACKERSON, MARINA K          525 TOMAHAWK TRL                                                                                    HIGHLAND         MI     48357‐2760
ACKERSON, MARK D            2590 SORORITY LN                                                                                    HOLT             MI     48842‐9427
ACKERSON, MARK L            9020 PEAKE RD                                                                                       PORTLAND         MI     48875‐8419
ACKERSON, MICHAEL F         2022 N PONTIAC DR                                                                                   JANESVILLE       WI     53545‐0656
ACKERSON, MICHAEL S         108 BROKEN POTTERY DR                                                                               PONTE VEDRA      FL     32082‐4204
                                                                                                                                BEACH
ACKERSON, MITCHELL J        895 VT ROUTE 11 W                                                                                   CHESTER         VT      05143‐9119
ACKERSON, RAYMOND J         2712 MONTEGO DR                                                                                     LANSING         MI      48912‐4548
ACKERSON, ROBERT K          8310 LAUGHLIN DR                                                                                    NIAGARA FALLS   NY      14304
ACKERSON, STEPHEN C         4830 COPAS RD                                                                                       CORUNNA         MI      48817‐9410
ACKERSON, VANETTA           718 CEDAR DR                                                                                        HOTCHKISS       CO      81419‐9505
ACKERT, ROBERTA A           20015 S PINE HILL RD                                                                                FRANKFORT       IL      60423‐8377
ACKETT, DONALD I            548 GROVELAND DR                                                                                    FRANKENMUTH     MI      48734‐1079
ACKETT, PATRICIA A          6551 E TOWNLINE LAKE RD                                                                             HARRISON        MI      48625‐9084
ACKIE FRIEND                724 POMPEII ROAD                                                                                    CLAY CITY       KY      40312‐9630
ACKIE FRIEND                724 POMPEII RD                                                                                      CLAY CITY       KY      40312‐9630
ACKLAND SPORTS MEDIC        PO BOX 599                                                                                          BROOKLINE       MA      02446‐0005
ACKLAND, RICHARD            1545 NE TAWNY DR                                                                                    LEES SUMMIT     MO      64086‐5946
ACKLANDS GRAINGER           SAFETY SUPPLY CANADA             90 WEST BEAVER CREEK ROAD               RICHMOND HILL CANADA ON
                                                                                                     L4B 1E7 CANADA
ACKLANDS GRAINGER           SAFETY SUPPLY CANADA             90 W BEAVER CREEK RD                    RICHMOND HILL CANADA ON
                                                                                                     L4B 1E7 CANADA
ACKLANDS GRAINGER INC       94 DUNKIRK RD STE 1                                                      ST CATHARINES ON L2P 3H4
                                                                                                     CANADA
ACKLANDS GRAINGER LTD
ACKLANDS‐GRAINGER INC       1129 WENTWORTH ST W UNIT B1                                              OSHAWA ON L1J 8P7 CANADA

ACKLEN JR, WILLIE           3331 N WEXFORD DR APT 10                                                                            SAGINAW          MI     48603‐3245
ACKLEN, JOSEPH              18071 WOODINGHAM DR                                                                                 DETROIT          MI     48221‐2560
ACKLER, GARY D              PO BOX 74                                                                                           CLIO             MI     48420‐0074
ACKLER, LYLE R              1189 W FRANCIS RD                BOX 185                                                            MOUNT MORRIS     MI     48458
ACKLER, NORMAN D            6027 W DODGE RD                                                                                     CLIO             MI     48420‐8508
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Name                     Address1                        Address2              Address3         Address4               City            State   Zip
ACKLER, NORMAN DOUGLAS   6027 W DODGE RD                                                                               CLIO             MI     48420‐8508
ACKLES, NIRA G           1716 CROSSLAKE CIRCLE           APT #A                                                        ANDERSON         IN     46012
ACKLES, RONALD L         4718 SUMMER DR                                                                                ANDERSON         IN     46012‐9547
ACKLEY AUTOMOTIVE        342 E 1ST ST                                                                                  WARREN           IN     46792‐9601
ACKLEY, ADA M            15202 RAPIDS DR                                                                               HERSEY           MI     49639‐8440
ACKLEY, ALBERT C         8 MEADOW WAY                                                                                  HOPEWELL JCT     NY     12533‐7203
ACKLEY, ALTON D          PO BOX 1242                                                                                   FLINT            MI     48501‐1242
ACKLEY, ANITA M          436 STATE ST APT 5                                                                            CHARLOTTE        MI     48813‐1763
ACKLEY, ARNOLD G         1994 N M 66 HWY                                                                               WOODLAND         MI     48897‐9641
ACKLEY, CLIFFORD E       5510 N M 18                                                                                   GLADWIN          MI     48624‐8801
ACKLEY, D'WAYNE          1010 WASHINGTON BLVD                                                                          LAKE ODESSA      MI     48849‐1074
ACKLEY, DAVID A          1423 DYEMEADOW LN                                                                             FLINT            MI     48532‐2324
ACKLEY, DONALD L         PO BOX 315                                                                                    HALE             MI     48739‐0315
ACKLEY, ERNESTINE L      14138 N CLIO RD                                                                               CLIO             MI     48420‐8804
ACKLEY, GROVER L         2085 E 1000 S                                                                                 WARREN           IN     46792‐9411
ACKLEY, HALINE J         5200 E MT MORRIS RD                                                                           MT MORRIS        MI     48458‐9730
ACKLEY, HALINE J         5200 E MOUNT MORRIS RD                                                                        MOUNT MORRIS     MI     48458‐9730
ACKLEY, HELEN F          112 E WASHINGTON AVE            P O BOX 206                                                   VERNON           MI     48476‐9146
ACKLEY, IDONNA           21806 E 299TH ST                                                                              HARRISONVILLE    MO     64701
ACKLEY, J E              6269 NE 26TH AVE                                                                              OCALA            FL     34479‐1838
ACKLEY, KATIE L          2222 W VIENNA RD                                                                              CLIO             MI     48420‐1730
ACKLEY, KENNETH C        632 N BALL ST                                                                                 OWOSSO           MI     48867‐2310
ACKLEY, KEVIN A          161 SCHLUETER DR                                                                              HOPEWELL JCT     NY     12533‐7602
ACKLEY, LESTER H         1931 VAUGHN RD                                                                                NATIONAL CITY    MI     48748‐9640
ACKLEY, LOIS E           4200 SANDPIPER DR                                                                             FLINT            MI     48506‐1616
ACKLEY, LONNIE L         215 GRANMER ST                                                                                CHARLOTTE        MI     48813
ACKLEY, MARIA C          1730 MARY AVE                                                                                 LANSING          MI     48910‐5211
ACKLEY, MARVIN K         10403 S FRANCIS RD                                                                            DEWITT           MI     48820‐9171
ACKLEY, MARY L           9300 CALIFORNIA ST                                                                            LIVONIA          MI     48150‐3702
ACKLEY, MICHAEL D        5967 SUNDANCE TRL                                                                             BRIGHTON         MI     48116
ACKLEY, RACHEL R         PO BOX 42                                                                                     BANCROFT         MI     48414‐0042
ACKLEY, ROBERT J         900 LILY LN                                                                                   COLUMBIA         TN     38401‐7277
ACKLEY, ROSCOE D         PO BOX 29                                                                                     ONTARIO          OH     44862‐0029
ACKLEY, ROSE J           6271 ALKIRE RD                                                                                GALLOWAY         OH     43119
ACKLEY, ROSELYNE M       1920 FREDERICK ST                                                                             BELOIT           WI     53511
ACKLEY, ROY G            103 E SKYLINE VW                                                                              DALLAS           GA     30157‐7476
ACKLEY, ROY PHILIP       14138 N CLIO RD                                                                               CLIO             MI     48420‐8804
ACKLEY, RUBY V           103 E SKYLINE VW                                                                              DALLAS           GA     30157‐7476
ACKLEY, THOMAS C         1645 N CANAL RD                                                                               EATON RAPIDS     MI     48827‐9329
ACKLEY, WALLACE E        1783 IROQUOIS TRL                                                                             NATIONAL CITY    MI     48748‐9444
ACKLEY, WAYNE R          3523 MARY LOU TER                                                                             LANSING          MI     48917‐4360
ACKLEY, WILLIAM G        PO BOX 3616                                                                                   SPRING HILL      FL     34611‐3616
ACKLIN, CLARA M          9744 LOCUST ST                                                                                KANSAS CITY      MO     64131
ACKLIN, DOYLE A          516 SW MISSION RD                                                                             LEES SUMMIT      MO     64063‐3952
ACKLIN, GENELL           2040 BLUE SPRING RD NW APT A5                                                                 HUNTSVILLE       AL     35810
ACKLIN, JOHN A           2638 GEMINI ST                                                                                SAGINAW          MI     48601‐7007
ACKLIN, KENNETH E        119 S FRANKLIN ST                                                                             SAGINAW          MI     48604‐1337
ACKLING, DIANA L         116 VALARIAN DR                                                                               CROSSVILLE       TN     38558‐2705
ACKMAN JR, WILLIAM       1498 VILLA RD APT 1407                                                                        SPRINGFIELD      OH     45503
ACKMAN, DONALD R         18901 ROBINSON RD                                                                             WELLSTON         MI     49689‐9508
ACKMAN, GERALD L         65 LEMA LANE                                                                                  PALM COAST       FL     32137‐9738
ACKMAN, GERALD L         65 LEMA LN                                                                                    PALM COAST       FL     32137‐9738
ACKMAN, PAUL E           1731 REGENE ST                                                                                WESTLAND         MI     48186‐9728
ACKRILL, CAROL R         42 LAMBETH DR                                                                                 ASHEVILLE        NC     28803‐3431
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Name                               Address1                         Address2                     Address3                    Address4                 City                State Zip
ACKROYD LLP                        ATTN: DIANE YOUNG (GMAC)         1500 FIRST EDMONTON PL       10665 JASPER AVE            EDMONTON ALBERTA T5J 3S9

ACKROYD, JOHN M                    1324 N WEMBLEY CIR                                                                                                  PORT ORANGE        FL    32128‐3770
ACKWORTH, LOLA P                   5915 CARTER ST                                                                                                      HUBBARD            OH    44425‐2318
ACL DISTRIBUTION INC               4722 DANVERS DR SE                                                                                                  GRAND RAPIDS       MI    49512‐4021
ACL GASKET CO                      CNR ACACIA ST AND BUNYA ST                                                                EAGLE FARM QL 4007
                                                                                                                             AUSTRALIA
ACL SERVICES LTD                   1550 ALBERNI ST                                                                           VANCOUVER CANADA BC V6G
                                                                                                                             1A5 CANADA
ACL/CLN                            PO BOX 250                                                                                                          GILBERTS            IL   60136‐0250
ACLA USA INC                       509 THOMSON PARK DR                                                                                                 CRANBERRY TWP       PA   16066‐6425
ACME AMERICAN REPAIRS INC          99 SCOTT AVE                                                                                                        BROOKLYN            NY   11237‐1329
ACME APPAREL
ACME AUTO LEASING, LLC             440 WASHINGTON AVE                                                                                                  NORTH HAVEN        CT    06473‐1311
ACME BORDEN/TRY                    1721 CROOKS ROAD                 SUITE 208                                                                          TROY               MI    48084
ACME BRANDING COMPANY              PO BOX 873                                                                                                          LUDINGTON          MI    49431‐0873
ACME BUS CORP                                                       3355 VETERANS MEMORIAL HWY                                                         RONKONKOMA         NY    11779
ACME CAR RENTAL                    PO BOX 218                                                                                                          PIEDMONT           SC    29673‐0218
ACME CAR RENTALS                   2000 JETPORT/GREENVILLE AP                                                                                          GREER              SC    29651
ACME CLEAN EQUIP/TX                6839 PICCADILLY DR                                                                                                  HOUSTON            TX    77061‐2848
ACME CONSTRUCTION CO INC           7695 BOND ST                     PO BOX 39187                                                                       CLEVELAND          OH    44139‐5350
ACME CONSTRUCTION CO INC           PO BOX 39187                     7695 BOND ST                                                                       CLEVELAND          OH    44139‐0187
ACME EXPRESS INC                   PO BOX 6424                                                                                                         CHESTERFIELD       MO    63006‐6424
ACME FURNACE CO                    ATTN: MARK HEITZMAN              4726 S DIXIE DR # 11                                                               MORAINE            OH    45439‐2198
ACME GADGETS, INC.                 C/O JANE DOE                     742 EVERGREEN TERRACE                                                              SPRINGFIELD        KY    12345
ACME GARAGE DOOR CO                13101 ECKLES RD                                                                                                     PLYMOUTH           MI    48170‐4245
ACME GLASS COMPANY                 93 EMERICK ST                                                                                                       YPSILANTI          MI    48198‐5718
ACME GROOVING TOOL CO              15330 DALE ST                                                                                                       DETROIT            MI    48223‐1036
ACME INDUSTRIAL                    441 MAPLE AVE                                                                                                       CARPENTERSVILLE    IL    60110‐1939
ACME LEASING NTLS                  124 ASHLEY AVE                                                                                                      WEST SPRINGFIELD   MA    01089‐1304

ACME MACHELL CO INC                2000 AIRPORT RD                                                                                                     WAUKESHA            WI   53188‐2448
ACME MACHELL CO INC                BRUCE POLZIN                     2000 AIRPORT ROAD                                        BREIDENBACH, 35236
                                                                                                                             GERMANY
ACME MACHELL/WAUKESH               2000 AIRPORT RD                                                                                                     WAUKESHA            WI   53188‐2448
ACME MACHINE & FABRICATION         122 FRONT ST                                                                                                        BLANCHARD           LA   71009
ACME MANUFACTURING CO              4240 N ATLANTIC BLVD                                                                                                AUBURN HILLS        MI   48326‐1578
ACME MFG/MADISON HTS               650 W. 12 MILE ROAD                                                                                                 MADISON HEIGHTS     MI   48071

ACME MILLS CO                      301 ARCH AVE                                                                                                        HILLSDALE          MI    49242‐1080
ACME PACKAGING SYSTEMS             A DIVISION OF ITW                501 W LAKE ST                STE 105                                               ELMHURST           IL    60126‐1419
ACME RD/RA TRUST                   C/O ANGELICA WEAVER              200 PUBLIC SQ FL 5           NATIONAL CITY BANK                                    CLEVELAND          OH    44114‐2332
ACME RD\RA TRUST                   ATTN WILLIAM NEUMANN             CORPORATE TRUST ADMIN        1001 S WORTH ST 2ND FLOOR                             BIRMINGHAM         MI    48009

ACME REFINING
ACME RESIN/OAK CREEK              500 W MARQUETTE AVE                                                                                                  OAK CREEK           WI   53154‐2042
ACME ROCKFORD GROUP TRUST ACCOUNT 2601 REID FARM RD STE B           C/O GUYER & ENICHEN PC                                                             ROCKFORD            IL   61114‐6698

ACME SOLVENTS                      AMCORE TR CO/ADMN B HUFFMAN      PO BOX 1537                                                                        ROCKFORD            IL   61110‐0037
ACME STAMPING & WIRE FORMING CO    PO BOX 4348                                                                                                         PITTSBURGH          PA   15204
ACME STAMPING WIRE FORMING CO      STEVE SMOLENSKI                  PO BOX 4348                                                                        PITTSBURGH          PA   15204
ACME TOYS AND KIET TRAN, OWNER
ACME TRADING CO. LLC
                                     09-50026-mg             Doc 7123-3       Filed 09/24/10 Entered 09/24/10 15:05:32          Exhibit B
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Name                                 Address1                             Address2                        Address3   Address4               City              State Zip
ACME TRANSMISSION INC.               5870 YONGE ST                                                                   TORONTO ON M2M 3T3
                                                                                                                     CANADA
ACME TRUCK LINE INC                  MSC 410683                                                                                             NASHVILLE          TN   37241‐5000
ACME VIDEO CARE & REPAIR             ATTN: WAYNE MILLER                   400 W ELM ST                                                      KOKOMO             IN   46901‐2831
ACME WIRE & IRON WORKS               3527 E CANFIELD ST                                                                                     DETROIT            MI   48207‐1701
ACME/WARREN                          5501 ENTERPRISE DRIVE                                                                                  WARREN             MI   48092
ACOCELLA JOSEPH (413363)             ANGELOS PETER G LAW OFFICE           115 BROADWAY FRNT 3                                               NEW YORK           NY   10006‐1638
ACOCELLA, JOSEPH                     ANGELOS PETER G LAW OFFICE           115 BROADWAY FRNT 3                                               NEW YORK           NY   10006‐1638
ACOEM LOCKBOX                        6583 EAGLE WAY                                                                                         CHICAGO            IL   60678‐0001
ACOF OPERATING MANAGER III LLC C/O   2000 AVENUE OF THE STARS             12TH FLOOR                                                        LOS ANGELES        CA   90067
ARES MANAGEMENT LLC
ACOF OPERATING MANAGER III LLC C/O   ATT: JEFF SCHWARTZ, 2000 AVENUE OF                                                                     LOS ANGELES        CA   90067
ARES MANAGEMENT LLC                  THE STARS, 12TH FL
ACOFF ABRAHAM JR                     PO BOX 310418                                                                                          HOUSTON           TX    77231‐0418
ACOFF ELBERT                         479 E 112TH ST                                                                                         CLEVELAND         OH    44108‐1446
ACOFF MAZIE (442885)                 BEVAN & ASSOCIATES                   10360 NORTHFIELD ROAD , BEVAN                                     NORTHFIELD        OH    44067
                                                                          PROFESSIONAL BLDG
ACOFF SR, LEVI                       2317 SNELLING PL                                                                                       SAGINAW           MI    48601‐1429
ACOFF, ABRAHAM                       479 E 112TH ST 2TH                                                                                     CLEVELAND         OH    44108
ACOFF, BARBARA J                     2949 W EUCLID                                                                                          DETROIT           MI    48206
ACOFF, DAVID W                       5250 THEODORE ST                                                                                       MAPLE HEIGHTS     OH    44137‐1332
ACOFF, EMERSON                       14134 ROSEMONT AVE                                                                                     DETROIT           MI    48223‐3554
ACOFF, FRANK                         17 DEERFIELD AVE                                                                                       BUFFALO           NY    14215
ACOFF, MAZIE                         BEVAN & ASSOCIATES                   10360 NORTHFIELD ROAD, BEVAN                                      NORTHFIELD        OH    44067
                                                                          PROFESSIONAL BLDG
ACOFF, R B                           2774 25TH AVE                                                                                          OAKLAND            CA   94601‐1337
ACOFF, TOMMIE L                      84 MONTANA AVE                                                                                         BUFFALO            NY   14211‐1639
ACOFF, VERA                          105 DORRIS AVE                                                                                         BUFFALO            NY   14215‐3205
ACOFF, VERA                          105 DORRIS AVE.                                                                                        BUFFALO            NY   14215‐3205
ACOFF, WILEY                         105 DORRIS AVE                                                                                         BUFFALO            NY   14215‐3205
ACOLIA MARQ                          ACOLIA, MARQ                         1930 E MARLTON PIKE SUITE Q29                                     CHERRY HILL        NJ   08003
ACOLIA, EDNA K                       3 SANDHURST CT                                                                                         TOMS RIVER         NJ   08757‐6564
ACOLIA, JOHN W                       3 SANDHURST CT                                                                                         TOMS RIVER         NJ   08757‐6564
ACOMB, DEBRA R                       BETHEL ESTATES                       4647 SOUTH WESTERN BLVD #309                                      HAMBURG            NY   14075
ACOMB, DENISE B                      6649 BROADACRES DRIVE                                                                                  SAN JOSE           CA   95120‐4573
ACOPIAN TECHNICAL CO                 131 LOOMIS ST                        PO BOX 638                                                        EASTON             PA   18045‐3742
ACOPIAN TECHNICAL CO                 PO BOX 638                                                                                             EASTON             PA   18044‐0638
ACOPLAST INDUSTRIA COMERCIO          456 COLIN CIR STE 1                                                                                    ANN ARBOR          MI   48103
ACORD ALFRED A (354178) ‐ ACCORD     GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                       NORFOLK            VA   23510
ALFRED                                                                    STREET, SUITE 600
ACORD CHARLES V                      ACORD, CHARLES V
ACORD HOLDINGS LLC                   2655 PRODUCT DR                                                                                        ROCHESTER         MI    48309‐3808
ACORD INC                            MARK KOWALSKI                        3985 W HAMLIN RD                                                  ROCHESTER HILLS   MI    48309‐3233
ACORD INC                            MARK KOWALSKI                        2711 PRODUCT DRIVE                                                AMBRIDGE          PA    15003
ACORD INC                            2655 PRODUCT DR                                                                                        ROCHESTER         MI    48309‐3808
ACORD INC.                           MARK KOWALSKI                        2655 PRODUCT DR                                                   ROCHESTER         MI    48309‐3808
ACORD INC.                           MARK KOWALSKI                        2711 PRODUCT DRIVE                                                AMBRIDGE          PA    15003
ACORD JIMMIE & COLLEEN               1597 WOODLAND DRIVE #Q                                                                                 ROCKLEDGE         FL    32955
ACORD, AUSTIN F                      6535 S SHERIDAN AVE                                                                                    DURAND            MI    48429‐9307
ACORD, BARBARA J                     5311 CHAMBERS RD                                                                                       MAYVILLE          MI    48744‐9418
ACORD, CHARLES V                     LUPARDUS LAW OFFICE,                 PO BOX 1680                                                       PINEVILLE         WV    24874‐1680
ACORD, CLYDIA J                      108 BISHOP RD                                                                                          LAWRENCEBURG      TN    38464‐6223
ACORD, DANIEL E                      55 W STAR RD                                                                                           SANFORD           MI    48657‐9593
ACORD, DARRELL L                     705 E 9TH ST                                                                                           GEORGETOWN        IL    61846‐1205
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Name                           Address1                         Address2                     Address3                     Address4               City              State   Zip
ACORD, EDWARD V                2430 W SNOVER RD                                                                                                  MAYVILLE           MI     48744‐9773
ACORD, EDWARD W                11202 RAMSAY RD                                                                                                   THOMPSONVILLE      MI     49683‐9612
ACORD, ELIZABETH M             700 W MAIN ST                                                                                                     DURAND             MI     48429‐1538
ACORD, GORDON W                355 BUDDY TARTAR RD                                                                                               SUMMER SHADE       KY     42503
ACORD, HERMAN E                2580 CHAMBERS RD                                                                                                  CARO               MI     48723‐9207
ACORD, ILENE M                 11202 RAMSAY RD                                                                                                   THOMPSONVILLE      MI     49683‐9612
ACORD, INEZ                    608 SANDUSKY BOX 173                                                                                              GEORGETOWN          IL    61846‐0173
ACORD, JAMES C                 6624 W CANAL RD                                                                                                   LOCKPORT           NY     14094‐9213
ACORD, JEROME H                45978 RIVERVIEW CT                                                                                                MACOMB             MI     48044‐4220
ACORD, JERRY M                 32568 FRIENDSHIP DR                                                                                               MILLSBORO          DE     19966‐4489
ACORD, JIMMIE D                1597 WOODLAND DR                                                                                                  ROCKLEDGE          FL     32955‐2542
ACORD, JOANN M                 1414 WEST HERBISON DR                                                                                             DEWITT             MI     48820
ACORD, JUDITH A                PO BOX 146                                                                                                        PERU               IN     46970‐0146
ACORD, KATHERINE J             11598 S STRAWTOWN PIKE                                                                                            KOKOMO             IN     46901‐7558
ACORD, MARGARET E              2027 1ST ST                                                                                                       E CARONDELET        IL    62240‐1140
ACORD, MICKEY D                1519 MEITZLER STREET                                                                                              DANVILLE            IL    61832‐7567
ACORD, MICKEY DARWIN           1519 MEITZLER STREET                                                                                              DANVILLE            IL    61832‐7567
ACORD, NORMAN L                PO BOX 146                                                                                                        PERU               IN     46970‐0146
ACORD, ORA L                   3461 SAINT MARYS RD APT 202                                                                                       W TERRE HAUTE      IN     47885‐9685
ACORD, ORA L                   PO BOX 474                                                                                                        PARAGOULD          AR     72451
ACORD, ROBERT D                780 PROSSER RD                                                                                                    LEOMA              TN     38468‐5138
ACORD, ROBERT E                1400 N ELM ST TRLR 40                                                                                             FAIRMOUNT          IN     46928‐1163
ACORD, ROSETTA A               11101 FERNITZ RD                                                                                                  BYRON              MI     48418‐9505
ACORD, ROSETTA ANN             11101 FERNITZ RD                                                                                                  BYRON              MI     48418‐9505
ACORD, RUTH E                  808 MACE AVE                                                                                                      BALTIMORE          MD     21221‐4753
ACORD, SHARON I                355 BUDDY TARTAR RD                                                                                               SUMMER SHADE       KY     42503
ACORD, VERLON R                520 W WEBSTER AVE APT 1                                                                                           MUSKEGON           MI     49440‐1048
ACORD, WILLIAM E               11598 S STRAWTOWN PIKE                                                                                            KOKOMO             IN     46901‐7558
ACORD, WILLIAM J               8912 ALDEN MEADOWS DR.                                                                                            ALDEN              MI     49612
ACORINCA HOLDINGS SA           151 CRANDON BLVD APT 326                                                                                          KEY BISCAYNE       FL     33149‐1531
ACORN INDUSTRIAL PRODUCTS CO   520 HERTZOG BLVD                                                                                                  KING OF PRUSSIA    PA     19406‐2667
ACORN IRON & SUPPLY CO         915 N DELAWARE AVE                                                                                                PHILADELPHIA       PA     19123‐3110
ACORN IRON & SUPPLY CO INC     915 N DELAWARE AVE                                                                                                PHILADELPHIA       PA     19123‐3110
ACORN VALLEY FRAMES            2001 29TH ST                                                                                                      BEDFORD            IN     47421‐5303
ACORN, DONALD G                9B OHIO DR                                                                                                        WHITING            NJ     08759‐1502
ACORS, DAVID E                 9310 GREYWOOD DR                                                                                                  MECHANICSVILLE     VA     23116‐6510
ACORS, RONALD R                2819 SALISBURY AVE                                                                                                BALTIMORE          MD     21219‐1230
ACOSTA CYNTHIA                 APT 2                            1912 SANTA CLARA STREET                                                          AUSTIN             TX     78757‐2489
ACOSTA LENNIA                  5516 ATLAS RD                                                                                                     GRAND BLANC        MI     48439
ACOSTA LENNIE BRUCE            ACOSTA, ELIZABETH DIANA          CONSUMER LEGAL SERVICES      1950 SAWTELLE BLVD ‐ SUITE                          LOS ANGELES        CA     90025
                                                                                             245
ACOSTA LENNIE BRUCE            ACOSTA, LENNIE BRUCE             1950 SAWTELLE BLVD STE 245                                                       LOS ANGELES       CA      90025‐7017
ACOSTA MARICELA                68 CRABAPPLE RIDGE RD                                                                                             WILLIAMSTOWN      VT      05679‐9439
ACOSTA RITA                    1621 SPRING LAKE DR                                                                                               ORLANDO           FL      32804‐7100
ACOSTA, ALBERTO V              1335 N BRIGHTON ST                                                                                                BURBANK           CA      91506‐1203
ACOSTA, ALEISA I               209 BAY ST                                                                                                        APOPKA            FL      32712‐3619
ACOSTA, ALEJANDRO U            9751 W 85TH ST APT C                                                                                              OVERLAND PARK     KS      66212‐4519
ACOSTA, ALFONSO J              3541 CHESHIRE SQ APT C                                                                                            SARASOTA          FL      34237‐3955
ACOSTA, ALFREDO                404 FLOWERING PLUM LN                                                                                             FORT WORTH        TX      76140‐6555
ACOSTA, ANGEL M                3726 WOLF TRAIL DR                                                                                                ABINGDON          MD      21009‐4307
ACOSTA, CARLOS J               1653 N ALMOND                                                                                                     MESA              AZ      85213‐3410
ACOSTA, CARLOS J               4538 E COUNTY 14TH ST                                                                                             YUMA              AZ      85365‐4766
ACOSTA, CARMEN                 KIMMEL & SILVERMAN               30 E BUTLER AVE                                                                  AMBLER            PA      19002‐4514
ACOSTA, CHRISTINE              16715 FRANKLIN RD                                                                                                 NORTHVILLE        MI      48168‐9580
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Name                                  Address1                        Address2                       Address3               Address4               City            State   Zip
ACOSTA, CLARA H                       21024 BRYANT ST APT 2                                                                                        CANOGA PARK      CA     91304‐2823
ACOSTA, CLAUDETTE M                   656 E MADISON AVE                                                                                            PONTIAC          MI     48340‐2936
ACOSTA, CLAUDETTE MARIE               656 E MADISON AVE                                                                                            PONTIAC          MI     48340‐2936
ACOSTA, DAMIEN                        1119 GWINNETT SQUARE CIR                                                                                     DULUTH           GA     30096
ACOSTA, DANIEL G                      1041 E MOWRY WASH LN                                                                                         SAHUARITA        AZ     85629‐6670
ACOSTA, DAVID                         29445 ROSSLYN AVE                                                                                            GARDEN CITY      MI     48135‐2657
ACOSTA, DAVID A                       650 LOCHAVEN RD                                                                                              WATERFORD        MI     48327‐3922
ACOSTA, DOROTHY R                     8491 HURON RIVER DR                                                                                          UNION LAKE       MI     48386‐2520
ACOSTA, ELIEZER                       5216 SIDESADDLE DR                                                                                           JACKSONVILLE     FL     32257‐3356
ACOSTA, ELISE M                       101 N NEWMAN RD                                                                                              LAKE ORION       MI     48362‐1121
ACOSTA, ELISE MARIE                   101 N NEWMAN RD                                                                                              LAKE ORION       MI     48362‐1121
ACOSTA, ELISEO S                      3084 BALGRAY CT                                                                                              SAN JOSE         CA     95148‐4004
ACOSTA, ERNESTO                       VILLA LOS SANTOS                N‐20‐ELEVEN ST.                                                              ARECIBO          PR     00612‐3126
ACOSTA, ESTER                         13100 HIGHWAY 15                HCR 3 BOX 96                                                                 PERRYTON         TX     79070‐6542
ACOSTA, ESTER
ACOSTA, GERMAN A                      8132 KOLMAR AVE                                                                                              SKOKIE           IL     60076‐3109
ACOSTA, GERMAN ALONSO                 8132 KOLMAR AVE                                                                                              SKOKIE           IL     60076‐3109
ACOSTA, GRISELDA M                    215 E 11TH ST                                                                                                ANDERSON         IN     46016‐1722
ACOSTA, HERNANDEZ EVARISTO            2751 47TH TER SW                                                                                             NAPLES           FL     34116‐7770
ACOSTA, ISAAC                         2751 47TH TER SW                                                                                             NAPLES           FL     34116‐7770
ACOSTA, JESINAL                       NO ADDRESS IN FILE
ACOSTA, JESUS                         8334 NORTH OVERLAND DRIVE                                                                                    KANSAS CITY     MO      64151‐1016
ACOSTA, JOSE A                        11902 CENTRAL AVE APT 312C                                                                                   CHINO           CA      91710‐7222
ACOSTA, JOSE S                        1543 CHESTNUT CIR                                                                                            CORONA          CA      92881‐4169
ACOSTA, LORENSA MORENO                MILLER MICHAEL LAW OFFICES OF   926 CHULIE DR                                                                SAN ANTONIO     TX      78216‐6522
ACOSTA, LUIS E                        2205 S HURON PKWY APT 3                                                                                      ANN ARBOR       MI      48104‐5137
ACOSTA, LUIS EDUARDO                  2205 S HURON PKWY APT 3                                                                                      ANN ARBOR       MI      48104‐5137
ACOSTA, MABEL                         2 ICHABOD LN                                                                                                 OSSINING        NY      10562‐2202
ACOSTA, MARIE                         55 OAKBROOK DR APT F                                                                                         WILLIAMSVILLE   NY      14221‐2557
ACOSTA, MARLON ALBERTO AQUINO
ACOSTA, MICHAEL                       3407 SHERWOOD LANE                                                                                           LEWISVILLE       TX     75077‐1889
ACOSTA, NAOMI
ACOSTA, PATRICIO                      2422 W. BERWYN                                                                                               CHICAGO         IL      60625
ACOSTA, PENNEY A                      667 WILLIS RD                                                                                                SALINE          MI      48176‐1599
ACOSTA, RAUL J                        15427 ROXFORD ST                                                                                             SYLMAR          CA      91342‐1262
ACOSTA, SERGIO                        MCELROY B THOMAS                3333 LEE PKWY STE 600                                                        DALLAS          TX      75219‐5117
ACOSTA, SUSAN M                       3191 HIGH POINTE RIDGE RD                                                                                    LAKE ORION      MI      48359‐1178
ACOSTA, URIEL S                       1322 SUNNY WOOD DR                                                                                           O FALLON        MO      63366‐3439
ACOSTA, VIOLA A                       PO BOX 301                      3869 CENTER ST                                                               PIRU            CA      93040‐0301
ACOSTA, VIOLA A                       P.O. BOX 301                    3869 CENTER ST                                                               PIRU            CA      93040‐0301
ACOU, ANDREW A                        41981 ECHO FOREST DR                                                                                         CANTON          MI      48188‐4821
ACOU, ANDREW R                        1553 BOYNTON DR                                                                                              LANSING         MI      48917‐1707
ACOUSTEK NONWOVENS                    1002 BUCKS INDUSTRIAL DR                                                                                     STATESVILLE     NC      28625‐2575
ACOUSTIC CEILING & PARTITION CO INC   3500 E ELLSWORTH RD                                                                                          ANN ARBOR       MI      48108‐2028

ACOUSTIC STANDARDS LLC                3890 WALNUT AVE                                                                                              CHINO           CA      91710‐3048
ACOUSTICAL SERVICES INC               3725 E WASHINGTON RD                                                                                         SAGINAW         MI      48601‐9623
ACOUSTICAL SOCIETY OF AMERICA         35 PINELAWN RD STE 114E                                                                                      MELVILLE        NY      11747‐3177
ACOUSTICAL SYS/VNDAL                  20 S PERRY ST                   P.O. BOX 146                                                                 VANDALIA        OH      45377‐2119
ACOUSTISEAL/KANSAS C                  1218 CENTRAL INDUSTRIAL DR                                                                                   SAINT LOUIS     MO      63110‐2308
ACOX, FRANCIS E                       15120 HIAWATHA DR                                                                                            BYRON           MI      48418‐9024
ACP HOLDING CO                        10460 HICKSON ST                                                                                             EL MONTE        CA      91731‐1938
ACP HOLDING CO                        3755 LAKE CITY HWY              PO BOX 1388                                                                  WARSAW          IN      46580
ACP HOLDING CO                        CARL GRAY                       ADVANCED CAST PRODUCTS, INC.   10460 HICKSON STREET                          DELTA           OH      43515
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Name                                  Address1                       Address2                        Address3   Address4                 City            State   Zip
ACQUAFRESCA JR, MICHAEL               282 PURCHASE ST                                                                                    MILFORD          MA     01757‐3807
ACQUAFRESCA, MICHAEL R                117 WEST ST                                                                                        MEDWAY           MA     02053‐2230
ACQUAFRESCA, ROBERT E                 282 PURCHASE ST                                                                                    MILFORD          MA     01757‐3807
ACQUAVIVA, KENNETH J                  15 PRIMROSE DR                                                                                     BEAR             DE     19701‐6317
ACQUIANA M WEBB                       4906 BIRCHCREST DR                                                                                 FLINT            MI     48504‐2016
ACQUIANA WEBB                         4906 BIRCHCREST DRIVE                                                                              FLINT            MI     48504‐2016
ACQUILANO, CHRISTOPHER A              6334 BENNINGTON RD                                                                                 MECHANICSBURG    PA     17050
ACQUIRE MEDIA CORP                    3 BECKER FARM RD STE 204                                                                           ROSELAND         NJ     07068‐1726
ACQUIRE MEDIA VENTURES INC            PO BOX 30745                                                                                       NEW YORK         NY     10087‐0745
ACQUISTA DOMINICK (412531)            DEARIE & ASSOCS JOHN C         3265 JOHNSON AVE                                                    BRONX            NY     10463
ACQUISTA DOMINICK (412531) ‐ ALICEA   DEARIE & ASSOCS JOHN C         3265 JOHNSON AVE                                                    BRONX            NY     10463
MICHAEL
ACQUISTA DOMINICK (412531) ‐ AMABILE DEARIE & ASSOCS JOHN C          3265 JOHNSON AVE                                                    BRONX            NY     10463
ANTHONY
ACQUISTA DOMINICK (412531) ‐ AMONE    DEARIE & ASSOCS JOHN C         3265 JOHNSON AVE                                                    BRONX            NY     10463
SANTO
ACQUISTA DOMINICK (412531) ‐ ANGEVINE DEARIE & ASSOCS JOHN C         3265 JOHNSON AVE                                                    BRONX            NY     10463
GEORGE
ACQUISTA DOMINICK (412531) ‐ AUGOSTO DEARIE & ASSOCS JOHN C          3265 JOHNSON AVE                                                    BRONX            NY     10463
TONY
ACQUISTA DOMINICK (412531) ‐ BACCHI   DEARIE & ASSOCS JOHN C         3265 JOHNSON AVE                                                    BRONX            NY     10463
THOMAS
ACQUISTA DOMINICK (412531) ‐ BENTON DEARIE & ASSOCS JOHN C           3265 JOHNSON AVE                                                    BRONX            NY     10463
MICHAEL
ACQUISTA, DOMINICK                    DEARIE & ASSOCS JOHN C         3265 JOHNSON AVE                                                    RIVERDALE        NY     10463
ACQUISTA, SALVATORE A                 5316 CAPE HATTERAS DR                                                                              CLERMONT         FL     34714‐7289
ACQUISTO SALVATORE                    RUE DUFONTENY 74                                                          7141 CARNIERES BELGIUM
ACQUISTO, ANTHONY J                   234 ENCHANTED FRST N                                                                               DEPEW            NY     14043‐5013
ACQUISTO, JOSEPH M                    110 STEVEN DR                                                                                      CHEEKTOWAGA      NY     14227‐3628
ACQUISTO, LOUIS J                     80 GREENWOOD PL                                                                                    BUFFALO          NY     14213‐1427
ACQUISTO, MARY                        87 DEUMANT TERRACE                                                                                 BUFFALO          NY     14223‐2733
ACQUISTO, MARY                        87 DEUMANT TER                                                                                     BUFFALO          NY     14223‐2733
ACQUITY GROUP LLC                     500 W MADISON ST               STE 2200                                                            CHICAGO          IL     60661‐2557
ACR INC                               4650 PROGRESS DR                                                                                   COLUMBUS         IN     47201‐7825
ACR RENT A CAR                        4529 W 96TH ST                                                                                     INDIANAPOLIS     IN     46268‐3107
ACRA AUTOMOTIVE GROUP                 1198 STATE ROAD 46 E                                                                               BATESVILLE       IN     47006‐9232
ACRA CAST INC                         ATTN: RICHARD SINGER           1837 1ST ST                                                         BAY CITY         MI     48708‐6298
ACRA INC                              2525 AERO PARK DR                                                                                  TRAVERSE CITY    MI     49686‐8495
ACRE, BRIAN P                         5695 W JEFFERSON RD                                                                                ALMA             MI     48801
ACRE, BRUCE A                         6355 ORIOLE DR                                                                                     FLINT            MI     48506‐1746
ACRE, FREDERICK C                     6630 SHERMAN ST                                                                                    OTTER LAKE       MI     48464‐8600
ACRE, MARK P                          1223 LINCOLN DR                                                                                    FLINT            MI     48507‐4240
ACRE, MARY A                          AMERICAN HOUSE                 1915 BALDWIN AVENUE                                                 PONTIAC          MI     48340
ACREE CAROLYN                         1209 WEINER RD                                                                                     MEMPHIS          TN     38122‐1763
ACREE JAMES T (661234)                GOLDENBERG, MILLER, HELLER &   PO BOX 959                                                          EDWARDSVILLE     IL     62025‐0959
                                      ANTOGNOLI
ACREE KEITH (442887)                  BEVAN & ASSOCIATES             10360 NORTHFIELD ROAD , BEVAN                                       NORTHFIELD      OH      44067
                                                                     PROFESSIONAL BLDG
ACREE LARRY DEAN                     1111 NORTH ELSEA SMITH ROAD                                                                         INDEPENDENCE    MO      64056‐2374
ACREE WAYNE                          ACREE, WAYNE                    120 WEST MADISON STREET 10TH                                        CHICAGO         IL      60602
                                                                     FLOOR
ACREE, DARLENE                       5456 E 141ST ST                                                                                     MAPLE HEIGHTS   OH      44137‐3225
ACREE, DARLENE J                     516 N SOMERSET AVE                                                                                  INDIANAPOLIS    IN      46222‐3410
ACREE, JAMES F                       5510 SUBLETT RD                                                                                     KENNEDALE       TX      76060‐6012
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Name                         Address1                         Address2                       Address3   Address4                   City            State Zip
ACREE, JAMES J               PO BOX 62                                                                                             OCILLA           GA 31774‐0062
ACREE, JAMES T               GOLDENBERG, MILLER, HELLER &     PO BOX 959                                                           EDWARDSVILLE      IL 62025‐0959
                             ANTOGNOLI
ACREE, JANIE D               4901 FOX RIDGE CT                                                                                     COLUMBUS        OH   43228‐2215
ACREE, JERRY D               1512 GLYNN OAKS DR                                                                                    ARLINGTON       TX   76010‐5911
ACREE, JERRY DUANE           1512 GLYNN OAKS DR                                                                                    ARLINGTON       TX   76010‐5911
ACREE, JOHNNIE R             150 PINECREST DR UNIT 5014                                                                            ELLIJAY         GA   30540‐8748
ACREE, KATHRYN A             4636 LOU IVY RD                                                                                       DULUTH          GA   30096‐2925
ACREE, LARRY D               1111 N ELSEA SMITH RD                                                                                 INDEPENDENCE    MO   64056‐2374
ACREE, LARRY G               98 FLORENCE AVE                                                                                       COLUMBUS        OH   43228‐1421
ACREE, MARGARET L            224 S AUSTIN BLVD                                                                                     OAK PARK        IL   60304‐1705
ACREE, TERRI L               1294 QUARRY RD                                                                                        MOUNT JULIET    TN   37122
ACREE, WAYNE                 KROHN & MOSS ‐ KY                120 WEST MADISON STREET 10TH                                         CHICAGO         IL   60602
                                                              FLOOR
ACREE, WILLIAM E             1111 NORTH ELSEA SMITH ROAD                                                                           INDEPENDENCE    MO   64056‐2374
ACREMAN, BERNADEAN           18620 WOODRUFF STREET,                                                                                SMITHVILLE      MO   64089
ACREMAN, EUGENE O            PORTER & MALOUF PA               4670 MCWILLIE DR                                                     JACKSON         MS   39206‐5621
ACREMAN, RAY G               18620 WOODRUFF ST                                                                                     SMITHVILLE      MO   64089‐9092
ACRES ENTERPRISES, INC.      MARK TEEGEN                      610 W LIBERTY ST                                                     WAUCONDA        IL   60084‐3405
ACRES GROUP                  610 W LIBERTY ST                                                                                      WAUCONDA        IL   60084‐3405
ACRES JR, JAMES A            2130 KERSHNER RD                                                                                      DAYTON          OH   45414
ACRES LANDSCAPE                                               610 W LIBERTY ST                                                     WAUCONDA        IL   60084
ACRES, ANTHONY W             PO BOX 155                                                                                            LAFAYETTE       TN   37083‐0155
ACRES, DAVID R               1365 SURREY RD                                                                                        VANDALIA        OH   45377‐1646
ACRES, DOROTHY L             2929 HIGHLAND CHURCH RD                                                                               SCOTTSVILLE     KY   42164‐6101
ACRES, HOMER L               125 VALLEY VIEW DR                                                                                    SCOTTSVILLE     KY   42164‐8375
ACRES, HOMER LEE             125 VALLEY VIEW DR                                                                                    SCOTTSVILLE     KY   42164‐8375
ACRES, JR,JAMES A            2130 KERSHNER RD                                                                                      DAYTON          OH   45414‐1210
ACRES, KENNETH A             102 DELAWARE CIR                                                                                      ELYRIA          OH   44035‐7852
ACRES, KENNETH ALLAN         102 DELAWARE CIR                                                                                      ELYRIA          OH   44035‐7852
ACREY, MICHAEL R             2766 N TEAL LN                                                                                        BIRCHWOOD       WI   54817‐3053
ACRI JOHN & ANNE             9751 MAHONING AVE                                                                                     NORTH JACKSON   OH   44451‐9751
ACRI, MARY D                 370 S. BONAIR AVE.                                                                                    YOUNGSTOWN      OH   44509‐3006
ACRI, MARY D                 370 S BON AIR AVE                                                                                     YOUNGSTOWN      OH   44509‐3006
ACRO DEVELOPERS LP           7100 WESTWIND DR STE 240                                                                              EL PASO         TX   79912‐1753
ACRO FEED INDUSTRIES INC     609 SAINT JEAN ST                                                                                     DETROIT         MI   48214‐3478
ACRO INDUSTRIES INC          554 COLFAX ST                                                                                         ROCHESTER       NY   14606‐3112
ACRO INDUSTRIES, INC.        554 COLFAX ST                                                                                         ROCHESTER       NY   14606‐3112
ACRO PRODUCTS, INC.          CAROL BARTHOLD                   10633 COLDWATER RD             # 200                                 FORT WAYNE      IN   46845‐1236
ACRO PRODUCTS, INC.          CAROL BARTHOLD                   2701 DWENGER AVENUE                                                  EATON RAPIDS    MI   48827
ACRO SERVICE CORP            39209 6 MILE RD                  STE 250                                                              LIVONIA         MI   48152‐2681
ACRO/LIVONIA                 17177 N LAUREL PARK DR STE 131                                                                        LIVONIA         MI   48152‐3952
ACROMAG INC                  30765 S WIXOM RD                                                                                      WIXOM           MI   48393‐2417
ACROMAG INC                  30765 S WIXOM RD                 PO BOX 437                                                           WIXOM           MI   48393‐2417
ACRONAME INC                 4822 STERLING DR                                                                                      BOULDER         CO   80301‐2350
ACRONIS INC                  52 3D AVE                                                                                             BURLINGTON      MA   01803
ACROPRINT TIME RECORDER CO   5640 DEPARTURE DR                                                                                     RALEIGH         NC   27616‐1841
ACROSS TOWN AUTO             408 WITMER STREET (AT EAGLE)                                               CAMBRIDGE ON N3H 4R7
                                                                                                        CANADA
ACRT INC                     1333 HOME AVE                                                                                         AKRON           OH   44310‐2512
ACRT, INC.                   JEFF SCOTT                       1333 HOME AVE                                                        AKRON           OH   44310‐2512
ACS                          2828 N HASKELL AVE                                                                                    DALLAS          TX   75204‐2909
ACS ADMINISTRATIVE FUND      THOMPSON HINE FLORY TR ACCT      10 W BROAD ST                                                        COLUMBUS        OH   43215
ACS CO LTD                   205‐2 PAHO DONG                                                            TAEGU 704220 KOREA (REP)
                                    09-50026-mg             Doc 7123-3    Filed 09/24/10 Entered 09/24/10 15:05:32                        Exhibit B
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Name                                Address1                          Address2                        Address3                Address4                    City             State   Zip
ACS GM LEASE ADMINISTRATION         ATTN: COMPLIANCE DEPT.            1190 KENNESTONE CIR STE 100                                                         MARIETTA          GA     30066‐6019
ACS GM LEASE ADMINISTRATION         1190 KENNESTONE CIR               STE 100                                                                             MARIETTA          GA     30066‐6019
ACS GM LEASE ADMINISTRATION         1190 KENNESTONE CIR STE 100                                                                                           MARIETTA          GA     30066‐6019
ACS GM LEASE ADMINISTRATION         MIKE MEJIA                        1190 KENNESTONE CIR STE 100                                                         MARIETTA          GA     30066‐6019
ACS GRAND HAVEN INC                 ASIMCO CAMSHAFT SPECIALTIES IN    PO BOX 633787                                                                       CINCINNATI        OH     45263‐3787
ACS GRAND HAVEN INC                 11118 US 31 BLDG A                                                                                                    GRAND HAVEN       MI     49417
ACS INC                             PO BOX 730                                                                                                            ABERDEEN          SD     57402‐0730
ACS IND/WOONSOCKET                  1 NEW ENGLAND WAY                                                                                                     LINCOLN            RI    02865‐4247
ACS INDUSTRIAL SERVICES             PO BOX 87                                                                                                             HUNT VALLEY       MD     21030‐0087
ACS INDUSTRIES INC                  1 NEW ENGLAND WAY                                                                                                     LINCOLN            RI    02865‐4247
ACS INDUSTRIES INC                  DOUG BROWN                        ADIRONDACK WIRE & CABLE DIV     191 SOCIAL ST STE 9     TORREON CH 27077 MEXICO

ACS INDUSTRIES INC                  DOUG BROWN                        1 NEW ENGLAND WAY                                                                   LINCOLN           RI     02895‐4247
ACS INDUSTRIES INC                  506 ENTERPRISE ST                 CORRES UPTD PER LTR 9/20/06                                                         LAREDO            TX     78045‐7918
ACS INTERNACIONAL S DE RL DE CV     AV LAS AMERICAS 601                                                                       GUADALUPE NL 67020 MEXICO

ACS RD RA ORGANIZATION TRUST FUND   COFFIELD UNGARETTI A. PERELLIS    3500 THREE FIRST NAT'L PLAZA                                                        CHICAGO           IL     60602

ACS RECOVERY SERVICES               PO BOX 4003                                                                                                           SCHAUMBURG       IL      60168‐4003
ACS SERVICES SPAIN (SL)             ACS SERVICES SPAIN (SL)           3988 N CENTRAL EXPY             ATTN: GROUP PRESIDENT                               DALLAS           TX      75204‐3036
ACS SERVICES SPAIN (SL)             ATTN: GROUP PRESIDENT             3988 N CENTRAL EXPY                                                                 DALLAS           TX      75204‐3036
ACS SUPPORT                         PO BOX 57                                                                                                             BENSALEM         PA      19020‐0057
ACS SUPPORT ‐ STOP 5050             PO BOX 219236                                                                                                         KANSAS CITY      MO      64121‐9236
ACS SUPPORT ‐ STOP 813G             PO BOX 145566                                                                                                         CINCINNATI       OH      45250‐5566
ACS WILDFIRE REMOVAL                2501 FALLHILL AVENUE                                                                                                  FREDERICKSBURG   VA      22401
ACS, INC                            1190 KENNESTONE CIR STE 100                                                                                           MARIETTA         GA      30066‐6019
ACS, INC.                           CASEY DAUGHTRY                    1190 KENNESTONE CIR STE 100                                                         MARIETTA         GA      30066‐6019
ACS, INC.                           MICHAEL FRENCH                    1190 KENNESTONE CIRCLE          SUITE 100                                           MARIETTA         GA      30066
ACS, JULIUS A                       12475 BERLIN RD                                                                                                       S ROCKWOOD       MI      48179‐9748
ACS‐AHI/GM LEASE ADMINISTRATION     1190 KENNESTONE CIR STE 100                                                                                           MARIETTA         GA      30066‐3019
ACS/GRAND HAVEN                     11118 US HIGHWAY 31                                                                                                   GRAND HAVEN      MI      49417‐8808
ACSAI, ROSE K                       174 STEPPING STONE LANE                                                                                               ORCHARD PARK     NY      14127‐4107
ACSCO PRODUCTS INC                  313 N LAKE ST                                                                                                         BURBANK          CA      91502‐1816
ACSCO PRODUCTS INC                  SHEENA NICHOLL                    313 NORTH LAKE STREET                                                               HATFIELD         PA      19440
ACSCO PRODUCTS, INC.                SHEENA NICHOLL                    313 N LAKE ST                                                                       BURBANK          CA      91502‐1816
ACSCO PRODUCTS, INC.                SHEENA NICHOLL                    313 NORTH LAKE STREET                                                               HATFIELD         PA      19440
ACSYS AUTOMOTIVE COMPONENT SYS      BILL DEE                          PLASTICS DIV                    155 DIVISION STREET     OSHAWA ON L1G 7Z6 CANADA

ACSYS AUTOMOTIVE COMPONENT SYS      MARK AULIE                        WINDOW REGULATORS DIV           155 DIVISION STREET     OSHAWA ON L1G 7Z6 CANADA

ACSYS AUTOMOTIVE COMPONENT          BLAKE, CASSELS & GRAYDON LLP      SILVANA D'ALIMONTE              BOX 25 STN COMMERCE     TORONTO ON M5L 1A9
SYSTEMS OF CANADA, INC.                                                                               COURT, 199 BAY ST.      CANADA
ACSYS AUTOMOTIVE COMPONENT          WILLSONIA INDUSTRIES LIMITED      GLENN WILLSON                   240 BOND ST. EAST       OSHAWA ON L1H 7L3 CANADA
SYSTEMS OF CANADA, INC.
ACSYS AUTOMOTIVE COMPONENT          BLAKE, CASSELS & GRAYDON LLP      MS. SILVANA D'ALIMONTE          BOX 25 STN COMMERCE     TORONTO ON M5L 1A9
SYSTEMS OF CANADA, INC.                                                                               COURT, 199 BAY STREET   CANADA
ACSYS AUTOMOTIVE COMPONENT          AUTOMOTIVE COMPONENT SYSTEMS OF   B.N. BAHADUR                    25200 TELEGRAPH RD.                                 SOUTHFIELD        MI     48033
SYSTEMS OF CANADA, INC.             MICHIGAN, INC.
ACSYS AUTOMOTIVE COMPONENTS                                           ACCT MGMNT EXEC SYSTEMS GROUP                                                       SOUTHFIELD        MI     48034
SYSTEMS
ACSYS INC                           111 ANZA BLVD STE 400                                                                                                 BURLINGAME        CA     94010‐1932
ACSYS/OSHAWA                        155 DIVISION STREET                                                                       OSHAWA ON L1G 7Z6 CANADA

ACSYS/OSHAWA                        ACCT MGMNT EXEC SYSTEMS GROUP     25200 TELEGRAPH ROAD            FOURTH FLOOR                                        SOUTHFIELD        MI     48033
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Name                                Address1                        Address2               Address3         Address4                    City           State   Zip
ACT                                 ATTN: KIM WITHROW               1010 N MADISON AVE                                                  BAY CITY        MI     48708‐5926
ACT                                 ATTN ACCOUNTING                 PO BOX 168                                                          IOWA CITY        IA    52243‐0168
ACT ENVIRONMENTAL SERVICE INC       304 S STATE AVE                                                                                     INDIANAPOLIS    IN     46201‐3900
ACT GROUP                           1841 MONTREAL RD STE 201                                                                            TUCKER          GA     30084‐5711
ACT LABORAT/HILLSDLE                PO BOX 735                                                                                          HILLSDALE       MI     49242‐0735
ACT NOW ALARM SERVICES INC          20874 COLMAN ST                                                                                     CLINTON TWP     MI     48035‐4031
ACT TEST PANELS INC                 RMT UPDTE 03/20/08              273 INDUSTRIAL DR                                                   HILLSDALE       MI     49242‐1078
ACT TEST PANELS LLC                 273 INDUSTRIAL DR                                                                                   HILLSDALE       MI     49242‐1078
ACTECH GMBH                         HALSBRUECKER STRASSE 51                                                 FREIBERG SC 09599 GERMANY

ACTECH NORTH AMERICA INC            9059 SAMUEL BARTON DR                                                                               BELLEVILLE      MI     48111‐1641
ACTEON PARTNERS                     888 W BIG BEAVER RD STE 450                                                                         TROY            MI     48084‐4764
ACTEON PARTNERS LLC                 888 W BIG BEAVER RD STE 450                                                                         TROY            MI     48084‐4764
ACTIA                               52765 BRIDGER CT                                                                                    ELKHART         IN     46514‐7603
ACTIA CORP                          52765 BRIDGER CT                                                                                    ELKHART         IN     46514‐7603
ACTIFY, INC
ACTION 423405 4 10 08
ACTION AGAINST HUNGER USA           247 W 37TH STE # 1201                                                                               NEW YORK       NY      10018
ACTION AMBULANCE                                                    844 WOBURN ST REAR                                                  WILMINGTON     MA      01887
ACTION AUTO                         3899 STATE ROUTE 281                                                                                CORTLAND       NY      13045‐8851
ACTION AUTO & TRUCK REPAIR          529 FAIR ST                                                                                         ANDERSON       SC      29625‐4346
ACTION AUTO ELECTRIC                14 GREY ST.                                                             KINGSTON ON K7K 4K7
                                                                                                            CANADA
ACTION AUTO RENTAL                  31500 S0LON ROAD                                                                                    SOLON          OH      44139
ACTION AUTO REPAIR                  600 E ELIZABETH AVE                                                                                 LINDEN         NJ      07036‐2662
ACTION AUTO SUPPLY O                                                66 CLEVELAND RD                                                     NORWALK        OH      44857
ACTION AUTO SUPPLY O                66 CLEVELAND RD                                                                                     NORWALK        OH      44857‐9020
ACTION AUTOMOTIVE                   1491 W 6TH AVE                                                                                      EUGENE         OR      97402‐4422
ACTION AUTOMOTIVE INC               578 10TH ST N                                                                                       NAPLES         FL      34102‐5638
ACTION BREAK & MECHANICAL           15691 116 AVE NW                                                        EDMONTON AB T5M 3W1
                                                                                                            CANADA
ACTION BUICK PONTIAC GMC            BRENT COOK                      211 ROSS CLARK CIR                                                  DOTHAN          AL     36303‐5832
ACTION BUICK PONTIAC GMC            211 ROSS CLARK CIR                                                                                  DOTHAN          AL     36303‐5832
ACTION CADILLAC‐GMC TRUCK, INC.     PEGGY MURPHY                    1300 HIGH ST                                                        PORTSMOUTH      VA     23704‐3230
ACTION CADILLAC‐GMC TRUCK, INC.     1300 HIGH ST                                                                                        PORTSMOUTH      VA     23704‐3230
ACTION CAR & TRUCK, LLC             BRENT COOK                      2501 E SHOTWELL ST                                                  BAINBRIDGE      GA     39819‐8403
ACTION CHEVROLET OLDSMOBILE         7955 CHEMIN CHAMBLY ST‐HUBERT                                           LONGUEUIL CANADA PQ J3Y
                                                                                                            5K2 CANADA
ACTION CHEVROLET OLDSMOBILE INC.    ATTN: MR. STEPHANE GUILBAULT    7955 CHEMIN CHAMBLY                     LONGUEUIL QC J3Y 5K2
                                                                                                            CANADA
ACTION CHEVROLET OLDSMOBILE, INC.   STEPHANE GUILBAULT              7955 CHEMIN CHAMBLY                     LONGUEUIL QC J3Y 5K2
                                                                                                            CANADA
ACTION CHEVROLET, INC.             JAMES MORRELL                    795 HOOSICK RD                                                      TROY            NY     12180‐6646
ACTION CHEVROLET, SUBARU, GEO      795 HOOSICK RD                                                                                       TROY            NY     12180‐6646
ACTION CHEVROLET‐PONTIAC‐BUICK‐GMC 2501 E SHOTWELL ST                                                                                   BAINBRIDGE      GA     39819‐8403

ACTION CYCLE SAVAGE                 ATTN: DON HARTWIG               6410 STADIUM DR                                                     KANSAS CITY    MO      64129‐1739
ACTION DELIVERY                     307 BROWN ST SW                                                                                     GRAND RAPIDS   MI      49507‐1534
ACTION DELIVERY INC                 PO BOX 66601                                                                                        CHICAGO        IL      60666‐0601
ACTION DISPATCH                     PO BOX 15226                                                                                        COVINGTON      KY      41015‐0226
ACTION DOOR CO                      201 E GRANGER RD                                                                                    BROOKLYN HTS   OH      44131‐6728
ACTION ELECTRIC CO INC              2600 COLLINS SPRINGS DR SE                                                                          SMYRNA         GA      30080‐7220
ACTION ENTERPRISE                   301 PLAZA DR                                                                                        ENTERPRISE     AL      36330‐3369
ACTION ENTERPRISE LLC               BRENT COOK                      301 PLAZA DR                                                        ENTERPRISE     AL      36330‐3369
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Name                                Address1                             Address2                        Address3   Address4                   City               State   Zip
ACTION EQUIPMENT SALES CO INC       5801 S HARDING ST                                                                                          INDIANAPOLIS        IN     46217‐9527
ACTION EXPEDITORS INC               69300 ROMEO PLANK                                                                                          ROMEO               MI     48065
ACTION EXPRESS INC                  172 HOLTZ RD                                                                                               CHEEKTOWAGA         NY     14225
ACTION EXPRESS INC                  PO BOX 722                                                                                                 BOISE               ID     83701‐0722
ACTION EXPRESS INC                  PO BOX 264                                                                                                 OAK CREEK           WI     53154‐0264
ACTION FAB. & TRUCK EQUIPMENT       MIKE WOOL                            1475 L AND R INDUSTRIAL BLVD                                          TARPON SPGS         FL     34689
ACTION FAB. & TRUCK EQUIPMENT       MIKE WOOL                            4481 107TH CIR N                                                      CLEARWATER          FL     33762‐5029
ACTION FABRICATION                  1476 L AND R INDUSTRIAL BLVD                                                                               TARPON SPRGS        FL     36689‐6809
ACTION FABRICATION
ACTION FREIGHT SERVICES             VICKI TKACH                          PO BOX 1079                                                           BRIGHTON            MI     48116‐2679
ACTION FREIGHT SERVICES             VICKI TKACH                          PO BOX 9                                                              TAYLOR              MI     48180‐0009
ACTION FREIGHT SERVICES LLC         PO BOX 9                                                                                                   TAYLOR              MI     48180‐0009
ACTION INDUSTRIAL SUPPLY CO         1840 6TH ST                                                                                                MUSKEGON            MI     49441‐2641
ACTION LEARN/COL SPR                1705 N TEJON ST                                                                                            COLORADO SPRINGS    CO     80907‐7442

ACTION LUBE                         458 CHESTNUT ST                                                                                            ONEONTA             NY     13820‐1023
ACTION MEDIA OPERATING LLC          DBA HOT IMPORT NIGHTS LLC            2200 W ORANGEWOOD AVE STE 230                                         ORANGE              CA     92868‐1947
ACTION MOTORS CORPORATION           MICHAEL BERNSTEIN                    74‐74A NEWTOWN RD                                                     DANBURY             CT     06810
ACTION MOTORS CORPORATION           74‐74A NEWTOWN RD                                                                                          DANBURY             CT     06810
ACTION PAPER & CHEMICAL CO          230 QUIGLEY BLVD                                                                                           NEW CASTLE          DE     19720‐4106
ACTION PAPER & CHEMICAL CO          ATTN: CORPORATE OFFICER/AUTHORIZED   230 QUIGLEY BLVD                                                      NEW CASTLE          DE     19720‐4106
                                    AGENT
ACTION PLUMBING & SEWERS INC        725 W 47TH ST                                                                                              CHICAGO            IL      60609‐4409
ACTION PRINTECH INC                 ATTN: CHRIS DUNLAP                   41079 CONCEPT DR                                                      PLYMOUTH           MI      48170‐4252
ACTION RUBBER CO INC                601 FAME RD                                                                                                WEST CARROLLTON    OH      45449‐2355

ACTION SPORTS IMAGE LLC             MOTORSPORTS AUTHENTICS               6301 PERFORMANCE DR SW                                                CONCORD             NC     28027‐3426
ACTION SPORTS MEDIA INC             ATTN ACCOUNTS RECEIVABLE             3401 RUSS CIR STE E                                                   ALCOA               TN     37701‐3279
ACTION TIRE SERVICE CENTER          700 OLD SHORE RD                                                                                           FORKED RIVER        NJ     08731
ACTION TOOL & MACHINE INC           5976 FORD CT                                                                                               BRIGHTON            MI     48116‐8511
ACTION TOWING AND SERVICE           77 SAGINAW DR                                                                                              ROCHESTER           NY     14623‐3131
ACTION TREE CARE                    2995 RIVER ROAD                                                                                            NORTH
                                                                                                                                               TONAWANDA
ACTION TRUCK CENTER INC             211 ROSS CLARK CIR                                                                                         DOTHAN              AL     36303‐5832
ACTION TRUCK CENTER, INC.           BRENT COOK                           211 ROSS CLARK CIR                                                    DOTHAN              AL     36303‐5832
ACTION WOOD PRODUCTS INC            44311 REYNOLDS DR                                                                                          CLINTON TOWNSHIP    MI     48036‐1243

ACTION WOOD TECHNOLOGIES            44311 REYNOLDS DR                                                                                          CLINTON TOWNSHIP    MI     48036‐1243

ACTION WRECKING SERVICE INC         FLOYD DONNIE L                       16581 AIRLINE HWY STE B                                               PRAIRIEVILLE        LA     70769‐3431
ACTIONAL CORP
ACTIONAL CORPORATION                CFO                                  701 N SHORELINE BLVD                                                  MOUNTAIN VIEW       CA     94043‐3208
ACTIS PERINETTO EMMA COLTRO TERESIO VIA VITTORIO EMANUELE 310                                                       12042 BRA ‐ CN ‐ ITALY

ACTIS RONALD G                      865 KAYPAT DR                                                                                              HOPE                MI     48628‐9615
ACTIS, ROLAND J                     4902 WALNUT RIDGE RD                                                                                       LAND O LAKES        FL     34638‐3726
ACTIS, RONALD G                     865 KAYPAT DR                                                                                              HOPE                MI     48628‐9615
ACTIVANT SOLUTIONS                  ATTN ACCOUNTS RECEIVABLE             804 LAS CIMAS PKWY STE 200                                            AUSTIN              TX     78746‐5179
ACTIVANT SOLUTIONS INC              7683 SOUTHFRONT RD                                                                                         LIVERMORE           CA     94551‐8228
ACTIVANT SOLUTIONS INC              804 LAS CIMAS PKWY STE 200           PO BOX 160700                                                         AUSTIN              TX     78746‐5179
ACTIVANT SOLUTIONS INC.             804 LAS CIMAS PARKWAY                                                                                      AUSTIN              TX     78746
ACTIVATION/HOMEWOOD                 153 W VALLEY AVE                                                                                           HOMEWOOD            AL     35209‐3623
ACTIVE AERO CHARTER                 2068 E ST WILLOW RUN AIRPORT                                                                               BELLEVILLE          MI     48111
ACTIVE AERO CHARTER                 CHRIS HEALY                          2068 E ST                                                             BELLEVILLE          MI     48111‐1262
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Name                                  Address1                             Address2                       Address3                 Address4                      City              State Zip
ACTIVE AERO GROUP LLC                 CHRIS HEALY                          2068 E ST                                                                             BELLEVILLE         MI 48111‐1262
ACTIVE BURGESS MOULD & DESIGN         2155 N TALBOT ST                                                                             WINDSOR ON N9A 6J3
                                                                                                                                   CANADA
ACTIVE BURGESS MOULD & DESIGN         2155 NORTH TALBOT ROAD                                                                       WINDSOR CANADA ON N9A
                                                                                                                                   6J3 CANADA
ACTIVE BURGESS MOULD & DESIGN LTD     2155 N TALBOT ST                                                                             WINDSOR ON N9A 6J3
                                                                                                                                   CANADA
ACTIVE CRANE RENTALS INC              103 WATER ST                                                                                                               WILMINGTON        DE   19804‐2406
ACTIVE DESIGN INC                     8344 HALL RD STE 210                 PIONEER ENGR & MFG CO                                                                 UTICA             MI   48317‐5554
ACTIVE GLOBAL SOLUTIONS               2068 E ST                                                                                                                  BELLEVILLE        MI   48111‐1262
ACTIVE GREEN & ROSS                   22 KENNEDY RD S                                                                              BRAMPTON ON L6W 3E2
                                                                                                                                   CANADA
ACTIVE GREEN & ROSS                   295 QUEEN ST E                                                                               BRAMPTON ON L6W 3R1
                                                                                                                                   CANADA
ACTIVE INTEREST MEDIA                 EFREM ZIMBALIST                      300 CONTINENTAL BLVD STE 650                                                          EL SEGUNDO        CA   90245‐5067
ACTIVE LIFE AND SPOR                  4337 EBENEZER RD                                                                                                           NOTTINGHAM        MD   21236‐2143
ACTIVE MERRITT MOUNTAIN               2ND FLOOR                            613‐5TH AVENUE                                          NEW WESTMINSTER BC V3M
                                                                                                                                   1X3 CANADA
ACTIVE MOULD & DESIGN, LTD            2155 NORTH TALBOT ROAD               WINDSOR                        ONTARIO N9A6J3, CANADA
ACTIVE MOULD & DESIGN, LTD            ATTN: CORPORATE OFFICER/AUTHORIZED   2155 NORTH TALBOT ROAD                                  WINDSOR ON N9A6J3 CANADA
                                      AGENT
ACTIVE MOULD/WINDSOR                  2155 NORTH TALBOT                    R.R. #1                                                 WINDSOR ON N9A 6J3
                                                                                                                                   CANADA
ACTIVE MOUNTAIN ENTERTAINMENT         SECOND FLOOR                         613 ‐ 5TH AVENUE                                        NEW WESTMINISTER BC V3M
CORPORATION                                                                                                                        1X3 CANADA
ACTIVE PHYSICAL THER                  G‐5430 S SAGINAW ST                                                                                                        FLINT             MI   48507
ACTIVE PRODUCTION & DESIGN INC        1300 LOGAN CIR NW                                                                                                          ATLANTA           GA   30318‐2859
ACTIVE TOOLS A/S                      KRISTIANSVEJ 13                                                                              SKANDERBORG DK ‐8660
                                                                                                                                   DENMARK
ACTIVE TOOLS INTERNATIONAL (HK) LTD   1775 W HAMLIN RD                                                                                                           ROCHESTER HILLS   MI   48309‐3373

ACTIVE TOOLS INTERNATIONAL (HK) LTD   262 GLOUCESTER RD                                                                            CAUSEWAY BAY 00000 HONG
                                                                                                                                   KONG, CHINA
ACTIVE TOOLS INTERNATIONAL (HK) LTD   INSIDE JIADIAN ELECTRONICS FACTORY   TUTANG DIST CHANGPING TOWN                              DONG GUAN GUANGDONG CN
                                                                                                                                   523581 CHINA (PEOPLE'S REP)

ACTIVE TOOLS USA INC                  1775 W HAMLIN RD                                                                                                           ROCHESTER HILLS   MI   48309‐3373
ACTIVE TRANSPORTATION CO LLC          2900 DAVIS BLVD STE B                                                                                                      JOPLIN            MO   64804‐3302
ACTIVE TRUCK TRANSPORT LLC            10801 CORPORATE DR                                                                                                         PLEASANT PR       WI   53158‐1603
ACTIVISION PUBLISHING, INC.
ACTON DAVID L                         DBA CHARTER MOBILE INFORMATION       4941 CHIPPEWA CT               INC                                                    OWOSSO            MI   48867‐9735
ACTON JR, CHARLES E                   2613 PINEGROOVE DRIVE                                                                                                      DAYTON            OH   45449‐5449
ACTON JR, CHARLES E                   15 N WOLF CREEK ST APT A                                                                                                   BROOKVILLE        OH   45309
ACTON MOBILE INDUSTRIES INC           1642 PAYSPHERE CIR                                                                                                         CHICAGO           IL   60674‐0016
ACTON OAKFORD                         200 BORTON DR                                                                                                              WOODSTOWN         NJ   08098‐1242
ACTON, BARBARA J                      7822 QUAIL RIDGE N DR                                                                                                      PLAINFIELD        IN   46168
ACTON, BRENT K                        356 W. DONNELLY DR.                                                                                                        BROWNSBURG        IN   46112
ACTON, BRIAN W                        11133 PARSHALL RD                                                                                                          FENTON            MI   48430‐9524
ACTON, CHARLES L                      1637 WILLARD CT                                                                                                            PLAINFIELD        IN   46168‐9369
ACTON, DAVID L                        4941 CHIPPEWA CT                                                                                                           OWOSSO            MI   48867‐9735
ACTON, EDWARD A                       2743 RUSSELL DR                                                                                                            HOWELL            MI   48843‐8805
ACTON, EDWARD ALAN                    2743 RUSSELL DR                                                                                                            HOWELL            MI   48843‐8805
ACTON, GAIL A                         435 E HENRIETTA RD                   MONROE COMMUNITY HOSPITAL                                                             ROCHESTER         NY   14620‐4629
ACTON, GAIL A                         435 EAST HENRIETTA RD                MONROE COMMUNITY HOSPITAL                                                             ROCHESTER         NY   14620‐4629
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Name                           Address1                          Address2                      Address3                Address4                   City            State   Zip
ACTON, GALE                    947 N WRIGHT RD APT 1                                                                                              JANESVILLE       WI     53546‐1858
ACTON, GREGORY J               12580 RING RD                                                                                                      SAINT CHARLES    MI     48655‐9513
ACTON, JANE L                  2613 PINEGROVE DRIVE                                                                                               DAYTON           OH     45449‐5449
ACTON, JANE L                  435 PLANTATION DR                                                                                                  TITUSVILLE       FL     32780
ACTON, JOHN W                  17 RIVERSIDE PKWY                                                                                                  MASSENA          NY     13662‐1704
ACTON, KENNETH C               2484 FENTON CREEK LN                                                                                               FENTON           MI     48430‐1396
ACTON, KENNETH L               157 BETHESDA RD.                                                                                                   MOORESVILLE      IN     46158
ACTON, LARRY L                 3496 N EASTMAN RD                                                                                                  MIDLAND          MI     48642‐7204
ACTON, LAWRENCE E              202 CLAY ST                                                                                                        NEWAYGO          MI     49337‐8866
ACTON, LYNNE MARIE             6309 LEE AVE                                                                                                       MURFREESBORO     TN     37129‐8129
ACTON, MADELINE V              223 SOUTH BURGESS AVENUE                                                                                           COLUMBUS         OH     43204‐3256
ACTON, MICHAEL G               2120 HAYES DENTON RD                                                                                               COLUMBIA         TN     38401‐8227
ACTON, PATRICIA M              103 FLAT ROCK LN                                                                                                   RICHLANDS        NC     28574‐7412
ACTON, PEARL                   2846 HILLSIDE DRIVE                                                                                                BEDFORD          IN     47421
ACTON, RAYMOND C               5613 OLD CAPITOL TRL                                                                                               WILMINGTON       DE     19808‐4950
ACTON, RHENDA S                2681 E COUNTY ROAD 375 N                                                                                           LOGANSPORT       IN     46947‐7905
ACTON, ROBERT A                13670 N HAMMER RD                                                                                                  MOORESVILLE      IN     46158‐6628
ACTON, ROBERT E                9007 GOLDFIELDS DR                                                                                                 CHARLOTTE        NC     28227‐2667
ACTON, ROBERT G                9119 BLUEBERRY HILL CT                                                                                             HOWELL           MI     48843‐8066
ACTON, RODNEY L                125 LIGHTNER LN                                                                                                    UNION            OH     45322‐2915
ACTON, RODNEY P                216 CHEROKEE DR                                                                                                    SMITHFIELD       NC     27577‐8920
ACTON, RONALD T                209 S D ST                                                                                                         HAMILTON         OH     45013‐4733
ACTON, SARAH K                 13470 N CEDAR GROVE CT                                                                                             CAMBY            IN     46113‐8714
ACTON, STEPHANIE M             1922 LOWELL AVE                                                                                                    SAGINAW          MI     48601‐3402
ACTON, WILLIAM C               32227 HAZELWOOD ST                                                                                                 WESTLAND         MI     48186‐8936
ACTON, WINFORD V               13470 N CEDAR GROVE CT                                                                                             CAMBY            IN     46113‐8714
ACTS ADVANCED CAR TECHNOLOGY   KURFUERST‐EPPSTEIN‐RING 11                                                              SAILAUF BY 63877 GERMANY
SYSTEM
ACTS ADVANCED CAR TECHNOLOGY   KURFURST‐EPPSTEIN‐RING 11                                                               SAILAUF 63877 GERMANY
SYSTEMS GMBH & CO KG
ACTS INSTRUMT/PEGRAM           710 HIGHWAY 70                                                                                                     PEGRAM           TN     37143‐2106
ACTUANT CORP                   11 BECKWITH AVE                                                                                                    BINGHAMTON       NY     13901‐1726
ACTUANT CORP                   6100 N BAKER RD                                                                                                    MILWAUKEE        WI     53209‐3704
ACTUANT CORP                   SCOTT SHIRK X306                  11 BECKWITH AVE               ELLIOTT MANUFACTURING                              BINGHAMTON       NY     13901‐1726
ACTUANT CORP                   SCOTT SHIRK X306                  ELLIOTT MANUFACTURING         11 BECKWITH AVE                                    BUFORD           GA     30518
ACTUATE CORP                   701 GATEWAY BLVD FL 6                                                                                              SOUTH SAN        CA     94080
                                                                                                                                                  FRANCISCO
ACTUATE CORP                   MAX MASON                         701 GATEWAY BLVD                                                                 SOUTH SAN        CA     94080
                                                                                                                                                  FRANCISCO
ACTUATE CORP                   12980 METCALF AVE STE 300                                                                                          OVERLAND PARK    KS     66213‐2646
ACTUATE CORP
ACTUATE CORPORATION            2207 BRIDGEPOINTE PKWY STE 500                                                                                     FOSTER CITY      CA     94404‐5062
ACTUATE CORPORATION            CFO                               701 GATEWAY BOULEVARD                                                            SOUTH SAN        CA     94080
                                                                                                                                                  FRANCISCO
ACTUATE CORPORATION            150 JOHN STREET STE 600                                                                 TORONTO CANADA ON M5V
                                                                                                                       3E3 CANADA
ACUFF DONALD L (351308)        GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                      NORFOLK          VA     23510
                                                                 STREET, SUITE 600
ACUFF JR, JAMES B              5049 HARROW RD                                                                                                     JACKSONVILLE    FL      32217‐4516
ACUFF JR, JAMES BERNICE        5049 HARROW RD                                                                                                     JACKSONVILLE    FL      32217‐4516
ACUFF, ANTHONY W               PO BOX 296                                                                                                         ODIN            IL      62870‐0296
ACUFF, BRENDA C                6169 OWL HOLE GAP RD                                                                                               RUTLEDGE        TN      37861
ACUFF, CAROLYN R               10103 WOODIRON DR                                                                                                  DULUTH          GA      30097‐3761
ACUFF, CONNIE J                384 N GEBHART CHURCH RD                                                                                            MIAMISBURG      OH      45342‐2738
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Name                              Address1                             Address2                      Address3   Address4                    City              State Zip
ACUFF, DONALD L                   GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                          NORFOLK            VA 23510‐2212
                                                                       STREET, SUITE 600
ACUFF, FRANKLIN D                 7171 S STATE ROUTE 123                                                                                    BLANCHESTER       OH   45107‐9322
ACUFF, GERALD R                   11512 MULBER DR                                                                                           MARION            MI   49665‐9527
ACUFF, JENNIFER NICELY            DANIEL, DIRK A                       PO BOX 6                                                             RUTLEDGE          TN   37861‐0006
ACUFF, LOWAVIA D                  23493 ROCKET AVENUE                                                                                       PT CHARLOTTE      FL   33954‐3707
ACUFF, PHILLIP                    GUY WILLIAM S                        PO BOX 509                                                           MCCOMB            MS   39649‐0509
ACUFF, RONALD D                   23493 ROCKET AVENUE                                                                                       PT CHARLOTTE      FL   33954‐3707
ACUFF, ROY W                      9708 M‐65 SOUTH                                                                                           LACHINE           MI   49753
ACUITY MUTUAL INSURANCE           2800 S TAYLOR DR                                                                                          SHEBOYGAN         WI   53081‐8474
ACUITY MUTUAL INSURANCE COMPANY   ROBERT (BOB) INGELSE                 2800 S TAYLOR DR                                                     SHEBOYGAN         WI   53081‐8474

ACUITY SPECIALTY PRODUCTS         DBA ZEP MANUFACTURING CO             PO BOX 23997                                                         PHOENIX           AZ   85063‐3997
ACUMEN TECHNOLOGIES INC           51445 CELESTE                                                                                             SHELBY TOWNSHIP   MI   48315‐2905
ACUMEN TECHNOLOGIES INC           ATTN: CORPORATE OFFICER/AUTHORIZED   51445 CELESTE                                                        SHELBY TOWNSHIP   MI   48315
                                  AGENT
ACUMENT                           4160 BALDWIN RD                                                                                           HOLLY             MI   48442‐9328
ACUMENT CANADA LTD                87 DISCO RD                                                                   ETOBICOKE ON M9W 1M3
                                                                                                                CANADA
ACUMENT CANADA LTD                875 STONE ST N                                                                GANANOQUE ON K7G 3E4
                                                                                                                CANADA
ACUMENT GLOBAL TECHNOLOGIES       345 E MARSHALL ST                                                                                         WYTHEVILLE        VA   24382‐3917
ACUMENT GLOBAL TECHNOLOGIES       826 E MADISON ST                                                                                          BELVIDERE         IL   61008‐2364
ACUMENT GLOBAL TECHNOLOGIES       FURTHERSTRASSE 24‐26                                                          NEUSS RP 41462 GERMANY
ACUMENT GLOBAL TECHNOLOGIES IN    4160 BALDWIN RD                                                                                           HOLLY             MI   48442‐9328
ACUMENT GLOBAL TECHNOLOGIES IN    1304 KERR DR                                                                                              DECORAH           IA   52101‐2406
ACUMENT GLOBAL TECHNOLOGIES INC   1304 KERR DR                                                                                              DECORAH           IA   52101‐2406
ACUMENT GLOBAL TECHNOLOGIES INC   4146 BALDWIN RD                                                                                           HOLLY             MI   48442‐9328
ACUMENT GLOBAL TECHNOLOGIES INC   4160 BALDWIN RD                                                                                           HOLLY             MI   48442‐9328
ACUMENT GLOBAL TECHNOLOGIES INC   4366 N OLD US HIGHWAY 31                                                                                  ROCHESTER         IN   46975‐8322
ACUMENT GLOBAL TECHNOLOGIES INC   840 W LONG LAKE RD STE 450                                                                                TROY              MI   48098‐6331
ACUMENT GLOBAL TECHNOLOGIES INC   ATTN: JOHN R CLARK                   840 W LONG LAKE RD STE 450                                           TROY              MI   48098
ACUMENT GMBH & CO OHG             FRANK BODE                           FURTHERSTRASSE 24‐26                                                 NOGALES           AZ   85621
ACUMENT GMBH & CO OHG             FURTHERSTRASSE 24‐26                                                          NEUSS RP 41462 GERMANY
ACUMENT GMBH & CO OHG             HERDWIESEN 1                                                                  SCHROZBERG BW 74575
                                                                                                                GERMANY
ACUMENT GMBH & CO OHG             TALSTR 3                                                                      BECKINGEN SL 66701
                                                                                                                GERMANY
ACUMENT GMBH & CO OHG             TIM BRANDT                           WERK BAUER & SCHAURTE KURCHER TALSTR 3   PORT ELIZABETH 6001 SOUTH
                                                                                                                AFRICA
ACUMENT GMBH & CO OHG             AUGUSTENTHALER STRASSE 87                                                     NEUWIED RP 56567 GERMANY

ACUMENT TECHNOLOGIES              RING SCREW LLC                       PO BOX 77082                                                         DETROIT           MI   48277‐0082
ACUMENT/HOLLY                     4160 BALDWIN RD                                                                                           HOLLY             MI   48442‐9328
ACUNA, ADORACION S                5044 W PIUTE DR                                                                                           BEVERLY HILLS     FL   34465‐4831
ACUNA, ALBERTO R                  5044 W PIUTE DR                                                                                           BEVERLY HILLS     FL   34465‐4831
ACUNA, COSME GIL                  210 FLORENCE ST                                                                                           PONTIAC           MI   48341‐1317
ACUNA, EVA M                      4734 MORAVIAN DR                                                                                          CRP CHRISTI       TX   78415‐2710
ACUNA, FRANCISCO                  14959 LA HABRA RD                                                                                         VICTORVILLE       CA   92392‐9203
ACUNA, JEAN
ACURA DATA SYSTEMS INC            637R PARKDALE AVE N                                                           HAMILTON CANADA ON L8H
                                                                                                                5Z1 CANADA
ACURA/TROY                        1900 W MAPLE RD                                                                                           TROY              MI   48084‐7105
ACUSHNET CANADA INC
                                     09-50026-mg             Doc 7123-3          Filed 09/24/10 Entered 09/24/10 15:05:32                          Exhibit B
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Name                                 Address1                                Address2                          Address3                Address4                    City              State   Zip
ACUSHNET RUBBER CO INC               744 BELLEVILLE AVE                                                                                                            NEW BEDFORD        MA     02745‐6010
ACUTE AUTOWORKS                      20527 67TH AVE NE                                                                                                             ARLINGTON          WA     98223‐4211
ACUTE LOW BACK CLINI                 1144 LEXINGTON AVE                                                                                                            MANSFIELD          OH     44907‐2254
ACUTECH INDUSTRIES INC               2736 PRODUCT DR                                                                                                               ROCHESTER HILLS    MI     48309‐3809
ACUTECH/ROCH HILLS                   2736 PRODUCT DR                                                                                                               ROCHESTER HILLS    MI     48309‐3809
ACUTEX DIV/E LANSNG                  SPX CORPORATION                         1650 KENDALE, BOX 1706                                                                EAST LANSING       MI     48823
ACUTEX DIV/WHITEHALL                 2001 PEACH ST                                                                                                                 WHITEHALL          MI     49461‐1844
ACV INC                              W233N2847 ROUNDY CIR W                                                                                                        PEWAUKEE           WI     53072‐6285
ACX CONNECTIONS EXPRESS INC          7020 DAVAND DRIVE                                                                                 MISSISSAUGA CANADA ON L5T
                                                                                                                                       1J5 CANADA
ACXIOM CORP                          PO BOX 2000                                                                                                                   CONWAY             AR     72033‐2000
ACXIOM CORP                          1501 OPUS PL                                                                                                                  DOWNERS GROVE      IL     60515‐5718
ACXIOM CORP                          ACXIOM LEGAL GROUP                      301 INDUSTRIAL BLVD. CONWAY                                                           CONWAY             AR     72032
                                                                             ARKANSAS 72032
ACXIOM CORPORATION                   PO BOX 2000                                                                                                                   CONWAY            AR      72033‐2000
ACXIOM CORPORATION                   ONE INFORMATION WAY                                                                                                           LITTLE ROCK       AR      72202
ACXIOM CORPORATION                   1001 TECHNOLOGY DR                                                                                                            LITTLE ROCK       AR      72223‐5943
ACXIOM CORPORATION                   6001 EAST THIRD STREET                                                                                                        LITTLE ROCK       AR      72201
ACXIOM CORPORATION                   601 E 3RD ST                                                                                                                  LITTLE ROCK       AR      72201‐1709
ACXIOM CORPORATION                   4057 COLLECTIONS CENER DR                                                                                                     CHICAGO           IL      60693‐0001
ACXIOM RISK MITIGATION               14263 COLLECTION CENTER DR                                                                                                    CHICAGO           IL      60693‐0142
ACXIOM RISK MITIGATION INC           12303 AIRPORT WAY STE 300                                                                                                     BROOMFIELD        CO      80021‐2728
ACY, BETTY R                         2119 MONTICELLO RD.                                                                                                           WESSON            MS      39191‐9191
ACY, DUSTY PAUL                      131 NOTTINGHAM RD                                                                                                             BRANDON           MS      39042‐9448
AD BARCODE INC                       637R PARKDALE AVE NORTH                                                                           HAMILTON ON L8H 5Z1
                                                                                                                                       CANADA
AD EXPEDITORS                        670 EMILY LN                                                                                                                  PIEDMONT           SC     29673‐8805
AD GRAPHIC SOURCE, INC. D/B/A
ADGSOURCE
AD HOC COMMITTEE OF ASBESTOS         C/O STUTZMAN BROMBERG ESSERMAN &        ATTN SANDERS L ESSERMAN PETER C 2323 BRYAN STREET SUITE                               DALLAS             TX     75201
PERSONAL INJURY CLAIMANTS            PLIFKA P C                              D'APICE JO E HARTWICK           2200
AD HOC LEGAL RESOURCES               900 WILSHIRE DR STE 115                                                                                                       TROY               MI     48084‐1600
AD IDEAS OF WISCONSIN, INC., D/B/A
IMAGE INNOVATORS
AD SIGNS LTD                         2393 WALKER RD                                                                                    WINDSOR CANADA ON N8W
                                                                                                                                       3P7 CANADA
AD TRANSPORT EXPRESS INC             5601 BELLEVILLE RD                                                                                                            CANTON             MI     48188‐2425
AD VALOREM SOLUTIONS                 ATTN: JAY MORRIS                        506 E NORTH ST                                                                        KOKOMO             IN     46901‐3057
AD‐ID                                LINDSAY SMITH                           11020 DAVID TAYLOR DR STE 305                                                         CHARLOTTE          NC     28262‐1102
AD‐ID                                11020 DAVID TAYLOR DR STE 305                                                                                                 CHARLOTTE          NC     28262‐1102
AD4EVER, INC.                        C/O ZYSMAN, AHARONI, GAYER L.L. P., THE 225 WEST 34TH STREET, STE. 2006                                                       NEW YORK           NY     10122
                                     PENNSYLVANIA BUILDING
ADA ACKLEY                           15202 RAPIDS DR                                                                                                               HERSEY            MI      49639‐8440
ADA AUSTIN                           9435 WOODSIDE TRAIL                                                                                                           SWARTZ CREEK      MI      48473‐8589
ADA BAIDUC                           3745 TOD AVE NW                                                                                                               WARREN            OH      44485‐1331
ADA BALAZS                           8 DEWEY AVE                                                                                                                   WINDSOR LOCKS     CT      06096‐1804
ADA BEACHY‐HOOLEY                    3465 W 050 N                                                                                                                  LAGRANGE          IN      46761‐9462
ADA BONAR                            135 LULU AVE                                                                                                                  HAMILTON          OH      45011‐4352
ADA BONNER                           52466 BROOKCREST                                                                                                              SHELBY TWP        MI      48316‐3028
ADA BOOKER                           2272 WALDEN RD                                                                                                                EAST CLEVELAND    OH      44112‐4035
ADA BRAUWEILER                       2229 FISH AVE                                                                                                                 BRONX             NY      10469‐5838
ADA BRUNSON                          3029 S LINWOOD AVE                      C/O KEN BRUNSON                                                                       INDEPENDENCE      MO      64055‐2937
ADA C ROHRER                         9905 LANCASTER                                                                                                                SUN CITY          AZ      85351‐2830
ADA CALECA                           1700 CEDARWOOD DR APT 125                                                                                                     FLUSHING          MI      48433
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Name                             Address1                             Address2             Address3                  Address4               City              State Zip
ADA CALMES                       2157 OXMOOR DRIVE                                                                                          DAYTON             OH 45431‐3132
ADA CALMES                       2157 OXMOOR DR                                                                                             DAYTON             OH 45431‐3132
ADA CAMPBELL                     27633 LAHSER RD APT 217                                                                                    SOUTHFIELD         MI 48034‐6220
ADA CAPPS                        502 S HIGH ST                                                                                              EL DORADO SPRINGS MO 64744‐1412

ADA CARUSO                       5312 GREENBRIAR RD                                                                                         LANSING           MI   48917‐1338
ADA CLARK                        7879 N COUNTY ROAD 600 W                                                                                   GASTON            IN   47342‐9338
ADA COOK                         1920 CLIFTON AVE                                                                                           SPRINGFIELD       OH   45505‐4020
ADA COUNTY PROSECUTOR'S OFFICE   200 WEST FRONT STREET, ROOM 3191                                                                           BOISE             ID   83702
ADA COUNTY TREASURER             PO BOX 2868                                                                                                BOISE             ID   83701‐2868
ADA COUNTY TREASURERÆS OFFICE    JANICE D. NEWELL, DEPUTY PROSECUTING PO BOX 2868                                                           BOISE             ID   83701‐2868
                                 ATTORNEY
ADA CROWLEY                      PO BOX 14                                                                                                  NEW LEBANON       OH   45345‐0014
ADA D SMITH                      1803 EDGEWOOD DR                                                                                           ELIZABETH CITY    NC   27909‐6617
ADA D STEELE                     888 PALLISTER ST APT 602                                                                                   DETROIT           MI   48202‐2672
ADA DAVENPORT                    4728 N OAKWOOD RD                                                                                          ENID              OK   73703‐1003
ADA DAVIS                        2748 ORCHARD RUN RD                                                                                        DAYTON            OH   45449‐2830
ADA DAVIS                        17511 JUDSON DR                                                                                            CLEVELAND         OH   44128‐2248
ADA DAVIS                        5108 COLUMBUS AVE                                                                                          ANDERSON          IN   46013‐5136
ADA DEL BOSCO                    20 HALSEY AVE APT 17                                                                                       HALEDON           NJ   07508‐1759
ADA DIXON                        544 E SWAYZEE ST                                                                                           MARION            IN   46952‐2812
ADA DIXON                        344 ENOS LOOMIS ST                                                                                         PATASKALA         OH   43062‐8160
ADA DOUGLAS                      215 N CANAL RD LOT 223                                                                                     LANSING           MI   48917‐8677
ADA DOWELL                       213 PHYLLIS AVE                                                                                            BUFFALO           NY   14215‐2900
ADA DRURY                        PO BOX 182                                                                                                 ARCHIE            MO   64725‐0182
ADA EDMONDSON                    4710 14TH ST W UNIT 54                                                                                     BRADENTON         FL   34207
ADA EPPLER                       197 EGRET DR                                                                                               HAINES CITY       FL   33844‐2338
ADA ERVIN                        6120 TAMMIN DR                                                                                             INDIANAPOLIS      IN   46254‐5926
ADA FALLOWFIELD                  302 N 17TH AVE                                                                                             BEECH GROVE       IN   46107‐1134
ADA FERENCE                      PO BOX 83                                                                                                  DUBLIN            PA   18917‐0083
ADA FERRARI                      8 DEBBY LN                                                                                                 ROCHESTER         NY   14606‐5339
ADA GARVIN                       528 S ARCH ST                                                                                              JANESVILLE        WI   53548‐4423
ADA GODFREY                      1213 COACHMAN DR                                                                                           SPARKS            NV   89434‐4075
ADA GORDON                       2173 S CENTER RD APT 440                                                                                   BURTON            MI   48519‐1809
ADA GRIFFEY                      240 MELLRICH AVE NE                                                                                        ATLANTA           GA   30317‐1418
ADA GRIGSBY                      733 CHRISTY AVE                                                                                            TRUMANN           AR   72472‐1323
ADA GUZZO                        331 DICK AVE                                                                                               PONTIAC           MI   48341‐1805
ADA HAGAN                        103 CREEKWOOD DR                                                                                           BRUNSWICK         GA   31523‐9743
ADA HALE                         5206 PACKARD DR                                                                                            HUBER HEIGHTS     OH   45424‐6039
ADA HALEY                        606 PEERLESS RD                                                                                            BEDFORD           IN   47421‐1548
ADA HAMILTON                     164 LOYALIST LN                                                                                            FLINT             MI   48507‐5924
ADA HARPER                       366 SHANNON WAY                                                                                            LAWRENCEVILLE     GA   30044‐3796
ADA HARVEY                       2641 FULS RD                                                                                               FARMERSVILLE      OH   45325‐9232
ADA HEINBAUGH                    5888 LAKE CIRCLE DR                                                                                        FAIRFIELD         OH   45014‐4447
ADA HENDERSON                    PO BOX 46541                                                                                               OAKWOOD VILLAGE   OH   44146‐0541

ADA HIBBARD                      7895 JESSIES WAY APT 202                                                                                   HAMILTON          OH   45011‐7737
ADA HICKS                        3811 EAST STREET                                                                                           SAGINAW           MI   48601‐5125
ADA HILL                         PO BOX 767                                                                                                 SELMA             AL   36702‐0767
ADA HOBSON                       2397 W FRANCES RD                                                                                          MOUNT MORRIS      MI   48458‐8229
ADA HOLLAND                      1875 JANET ST                                                                                              HARRISON          MI   48625‐8796
ADA HORTZE                       1139 CANARY DR                                                                                             DAVISON           MI   48423‐3615
ADA HOUCHINS                     804 W 21ST ST                                                                                              ANDERSON          IN   46016‐4016
ADA HOWE KENT FOUNDATION         INVERNESS COUNSEL, INC               C/O HENRY P RENARD   845 THIRD AVE 8TH FLOOR                          NEW YORK          NY   10022
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Name                     Address1                        Address2               Address3         Address4                   City            State   Zip
ADA IRON & WELDING LLC   13655 COUNTY ROAD 1570                                                                             ADA              OK     74820‐0190
ADA J ISHERWOOD          401 SALTWIND CT WEST                                                                               PONTE VEDRA      FL     32082
ADA J WELLMAN            4282 MAPLE HILL                                                                                    DAYTON           OH     45430‐1537
ADA JACK                 4312 REHOBETH CHURCH RD                                                                            GREENSBORO       NC     27406‐9244
ADA JACKSON              2000 S WASHINGTON AVE                                                                              SAGINAW          MI     48601‐3227
ADA JEFFERSON            100 FLEMING DR                                                                                     BALTIMORE        MD     21222‐6232
ADA JOHNSON              CEDAR PLACE APT. 426            201 W. JOLLEY RD.                                                  LANSING          MI     48911
ADA JONES‐BYNE           105 WALNUT AVE FL 2                                                                                ROXBURY          MA     02119‐1953
ADA JOSEPH               2647 CROSSWOOD LN                                                                                  SHREVEPORT       LA     71118‐5012
ADA K DAVIS              2748 ORCHARD RUN RD                                                                                DAYTON           OH     45449‐2830
ADA KALOCI               2009 JAMES ST                                                                                      NILES            OH     44446‐3981
ADA KILGORE              903 HUDD DR                                                                                        HOMER            LA     71040
ADA KURTENBACH           465 BOXWOOD COURT                                                                                  KISSIMMEE        FL     34743‐9004
ADA L HOWARD             P O BOX 251                                                                                        HARLAN           KY     40831‐0251
ADA LANGERAK             1590 PORT SHELDON ST                                                                               JENISON          MI     49428‐9320
ADA LANIER               3840 RUCKLE ST                                                                                     INDIANAPOLIS     IN     46205‐2716
ADA LEER                 3001 NOBLE ST                                                                                      ANDERSON         IN     46016‐5473
ADA LEWIS                1013 WILDROSE DR                                                                                   LUTZ             FL     33549‐5657
ADA LONG                 10 WILMINGTON AVE               APT 113 W.                                                         DAYTON           OH     45420
ADA M DOWELL             213 PHYLLIS AVE                                                                                    BUFFALO          NY     14215‐2900
ADA M FERRARI            8 DEBBY LANE                                                                                       ROCHESTER        NY     14606‐5339
ADA M GEE                4241 BURLINGAME ST APT 203                                                                         DETROIT          MI     48204‐3901
ADA M KALOCI             2009 JAMES ST.                                                                                     NILES            OH     44446‐3981
ADA M MIDDLEBROOK        3211 NORWICH RD                                                                                    LANSING          MI     48911‐1566
ADA M WALKER             5310 BESSMER DR.                                                                                   DAYTON           OH     45426
ADA M WOODSON            1660 ATKINSON ST                                                                                   DETROIT          MI     48206‐2007
ADA MACK                 910 E 129TH ST                                                                                     CLEVELAND        OH     44108‐2540
ADA MANGOV               57 STRATTON CRESCENT                                                    WHITBY CANADA ON L1R 1V5
                                                                                                 CANADA
ADA MARTIN               17325 INVERMERE AVE                                                                                CLEVELAND       OH      44128‐1655
ADA MATOS                19 LOUIS ST                                                                                        PARLIN          NJ      08859‐1903
ADA MAXHIMER             1930 LYNN DR                                                                                       ORRVILLE        OH      44667‐2337
ADA MAY                  8472 W SOUTH ST                                                                                    GLENWOOD        IN      46133‐9636
ADA MAY                  501 YOUNGER DR                                                                                     HARRISONVILLE   MO      64701‐3933
ADA MAYFIELD             3126 LIVINGSTON DR                                                                                 SAGINAW         MI      48601‐4529
ADA MESMER               1449 FAIRLAWN DR                                                                                   HERMITAGE       PA      16148‐1910
ADA MIDDLEBROOK          3211 NORWICH RD                                                                                    LANSING         MI      48911‐1566
ADA MIKOLAJSKI           3014 STATE ST                                                                                      SAGINAW         MI      48602‐3653
ADA MIRANDA              74 SYLVAN LAKE BLVD                                                                                BAYVILLE        NJ      08721
ADA MORENO               403 S 1ST ST                                                                                       CONTINENTAL     OH      45831‐9025
ADA MORROW               3148 WALTON AVE                                                                                    FLINT           MI      48504‐4253
ADA N SMITH              PO BOX 2813                                                                                        DETROIT         MI      48202‐0813
ADA NAYLOR               20716 APPLEGATE ROAD                                                                               MAPLE HEIGHTS   OH      44137‐3108
ADA NEELEY               3217 BASS RD                                                                                       FORT WAYNE      IN      46808‐2964
ADA O EDMONDSON          116 LEDBETTER RD                                                                                   XENIA           OH      45385‐5327
ADA OCCHIUTO             1602 RILEY RIDGE DR                                                                                LANSING         MI      48917‐1200
ADA OHSE‐COVE            PO BOX 6238                                                                                        MOORE           OK      73153‐0238
ADA P BAIDUC             3745 TOD AVE. N.W.                                                                                 WARREN          OH      44485‐1331
ADA PABIS                105 TAYLOR AVE                                                                                     ROSCOMMON       MI      48653‐9528
ADA PIPOK                C/O NANCY KOPOSKY               3433 W HONROE RD                                                   HART            MI      49420
ADA POLANCO              167 NW SWANN MILL CIR                                                                              PORT ST LUCIE   FL      34986‐3591
ADA POOL                 2647 CROSSWOOD LN                                                                                  SHREVEPORT      LA      71118‐5012
ADA POWERS               PO BOX 413                                                                                         CARLISLE        IN      47838‐0413
ADA PRESTON              2929 N 58TH ST                                                                                     KANSAS CITY     KS      66104‐2022
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Name               Address1                         Address2                     Address3   Address4               City             State   Zip
ADA R CROWLEY      101 MILLS PLACE                                                                                 NEW LEBANON       OH     45345
ADA R SMITH        472 GEORGIA DR                                                                                  XENA              OH     45385
ADA R STACY        100 TIFFANY LANE                                                                                CARLISLE          OH     45005
ADA R ULMER        PO BOX 320084                                                                                   FLINT             MI     48532‐0002
ADA RATLIFF        10360 NORTHFIELD ROAD , BEVAN                                                                   NORTHFIELD        OH     44067
                   PROFESSIONAL BLDG
ADA RATLIFF        C/O BEVAN & ASSOCIATES LPA INC   6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS       OH      44236
ADA REED           PO BOX 476                                                                                      HAMILTON         OH      45012‐0476
ADA REYNOLDS       420 YORK ROAD                                                                                   SALISBURY        NC      28147‐7009
ADA ROACH          327 NYE ST                                                                                      LIMA             OH      45801‐4637
ADA ROBERTSON      23963 W TONTO ST                                                                                BUCKEYE          AZ      85326‐8135
ADA ROBINSON       1902 CHANDLER DR                                                                                JACKSON          MS      39213‐4429
ADA ROBINSON       6423 W 62ND ST                                                                                  INDIANAPOLIS     IN      46278‐1908
ADA ROGERS         1935 CALUMET AVE                                                                                TOLEDO           OH      43607‐1606
ADA ROHRER         9905 W LANCASTER DR                                                                             SUN CITY         AZ      85351‐2830
ADA ROWLEY         104 MILLWOOD VILLAGE DR                                                                         CLAYTON          OH      45315‐9682
ADA ROYER          8616 W 10TH ST APT 118                                                                          INDIANAPOLIS     IN      46234‐2168
ADA RUNGE          7707 GULF HIGHLANDS DR                                                                          PORT RICHEY      FL      34668‐1165
ADA SAIN           304 HARRISON ST                                                                                 PONTIAC          MI      48341‐2442
ADA SEALE          5283 SPORTSCRAFT DR                                                                             DAYTON           OH      45414‐3653
ADA SEIBERT        7404 ROCKFORD ST                                                                                PORTAGE          MI      49024‐4128
ADA SERBUS         319 N OAK ST                                                                                    OWOSSO           MI      48867‐3024
ADA SHEPARD        14529 SW 112TH CIR                                                                              DUNNELLON        FL      34432‐8789
ADA SIMS           18241 POINCIANA                                                                                 REDFORD          MI      48240‐2030
ADA SINSEL         7398 CROSS CREEK DR                                                                             SWARTZ CREEK     MI      48473‐1499
ADA SMITH          371 MAPLEHURST                                                                                  FERNDALE         MI      48220
ADA SMITH          1011 W 3RD ST                                                                                   ANDERSON         IN      46016‐2323
ADA SMITH          PO BOX 1618                                                                                     MAGGIE VALLEY    NC      28751‐1618
ADA SMITH          472 GEORGIA DR                                                                                  XENIA            OH      45385‐5903
ADA SMITH          1803 EDGEWOOD DR                                                                                ELIZABETH CITY   NC      27909‐6617
ADA SPENNEY        PO BOX 186                                                                                      WHEATLAND        MO      65779‐0186
ADA STAGGS         1081 WALLACE MILL RD                                                                            MUSCLE SHOALS    AL      35661‐5334
ADA STAPLES        E58 STANDART WOODS                                                                              AUBURN           NY      13021‐1545
ADA STONE          3422 CAMELLIA CIR                                                                               COLUMBUS         MS      39705‐1737
ADA THOMAS         5320 DORSEY HALL DR.                                                                            ELLICOTT CITY    MD      21042
ADA THOMPSON       12046 MORRISH RD                                                                                CLIO             MI      48420‐9423
ADA THORNSBURG     49 GLADYS AVE                                                                                   OWINGSVILLE      KY      40360‐2100
ADA TRICE          PO BOX 404                                                                                      WARREN           OH      44482‐0404
ADA ULMER          PO BOX 320084                                                                                   FLINT            MI      48532‐0002
ADA VANCE          11698 SCHWEIGHART RD                                                                            WINCHESTER       OH      45697‐9569
ADA VEHLEWALD      28451 SUNNYSIDE RD                                                                              WARRENTON        MO      63383‐6628
ADA WADSWORTH      14 WAXWING LN                    C/O JAMES H CAVANAUGH                                          EAST AMHERST     NY      14051‐1624
ADA WAGNER         102 LEATHERWOOD CREEK ESTS                                                                      BEDFORD          IN      47421‐9264
ADA WALKER         5310 BESSMER DR                                                                                 DAYTON           OH      45426‐1904
ADA WALLACE        1745 VICTORIA RD                                                                                CLEVELAND        OH      44112‐1414
ADA WATKINS        1944 PARKER RD                                                                                  GOSHEN           OH      45122‐9279
ADA WATSON         4224 SWALLOW DR                                                                                 FLINT            MI      48506‐1607
ADA WELLMAN        4282 MAPLE HILL TER                                                                             DAYTON           OH      45430‐1537
ADA WILLIAMS       2813 13TH ST                                                                                    NIAGARA FALLS    NY      14305‐2003
ADA WISOR          4958 BLACKMAN RD                                                                                LOCKPORT         NY      14094‐9740
ADA WOODSON        1660 ATKINSON ST                                                                                DETROIT          MI      48206‐2007
ADA WRIGHT         263 HENDRY ST LOT 9                                                                             GLADWIN          MI      48624‐8427
ADA ZONA           5 ROGERS DR                                                                                     ROCHESTER        NY      14606‐4403
ADABELLE MONTOYA   819 EDPAS                                                                                       NEW BRUNSWICK    NJ      08901‐3814
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Name                                  Address1                         Address2                       Address3   Address4                 City           State   Zip
ADAC AUTOMOTIVE                       MURPHY CALLAHAN                  6138 RIVERSIDE DR                                                  SARANAC         MI     48881‐8778
ADAC AUTOMOTIVE                       MURPHY CALLAHAN                  1801 E KEATING AVE                                                 MUSKEGON        MI     49442‐6120
ADAC AUTOMOTIVE                       5920 TAHOE DR SE                                                                                    GRAND RAPIDS    MI     49546‐7123
ADAC AUTOMOTIVE TRIM INC              3801 36TH ST SE                                                                                     GRAND RAPIDS    MI     49512‐2915
ADAC AUTOMOTIVE TRIM INC              6138 RIVERSIDE DR                                                                                   SARANAC         MI     48881‐8778
ADAC AUTOMOTIVE TRIM INC              3801 36TH ST SE                  PO BOX 888375                                                      GRAND RAPIDS    MI     49512‐2915
ADAC DOOR COMPONENTS INC              1801 E KEATING AVE                                                                                  MUSKEGON        MI     49442‐6120
ADAC DOOR COMPONENTS INC              2050 PORT CITY BLVD                                                                                 MUSKEGON        MI     49442‐6134
ADAC DOOR COMPONENTS INC              2929 32ND ST SE UNIT C           PO BOX 888375                                                      GRAND RAPIDS    MI     49512
ADAC DOOR COMPONENTS INC              5920 TAHOE DR SE                                                                                    GRAND RAPIDS    MI     49546‐7123
ADAC PL/GRAND RAPIDS                  5920 TAHOE DR SE                                                                                    GRAND RAPIDS    MI     49546‐7123
ADAC PLAS/GR RAPIDS                   3801 36TH ST SE                                                                                     GRAND RAPIDS    MI     49512‐2915
ADAC PLASTICS INC                     1801 E KEATING AVE                                                                                  MUSKEGON        MI     49442‐6120
ADAC PLASTICS INC                     2050 PORT CITY BLVD                                                                                 MUSKEGON        MI     49442‐6134
ADAC PLASTICS INC                     3801 36TH ST SE                                                                                     GRAND RAPIDS    MI     49512‐2915
ADAC PLASTICS INC                     5920 TAHOE DR SE                                                                                    GRAND RAPIDS    MI     49546‐7123
ADAC PLASTICS INC                     6138 RIVERSIDE DR                                                                                   SARANAC         MI     48881‐8778
ADAC PLASTICS INC                     MURPHY CALLAHAN                  1801 E KEATING AVE                                                 MUSKEGON        MI     49442‐6120
ADAC PLASTICS INC                     MURPHY CALLAHAN                  6138 RIVERSIDE DR                                                  SARANAC         MI     48881‐8778
ADAC PLASTICS INC                     WILLIAM MORAN X5540              2929 32ND ST SE                                                    GRAND RAPIDS    MI     49512‐1754
ADAC PLASTICS INC                     WILLIAM MORAN X5540              2929 32ND STREET                                                   MERIDIAN        MS     39302
ADAC PLASTICS INC                     3801 36TH ST SE                  P O BOX 888375                                                     GRAND RAPIDS    MI     49512‐2915
ADAC PLASTICS INC D/B/A ADAC          5920 TAHOE DR SE                                                                                    GRAND RAPIDS    MI     49546‐7123
AUTOMOTIVE
ADAC PLASTICS INC D/B/A ADAC          C/O ADAC PLASTICS INC            5920 TAHOE DR SE                                                   GRAND RAPIDS    MI     49546‐7123
AUTOMOTIVE
ADAC PLASTICS INC.                    WILLIAM MORAN X5540              5920 TAHOE DR SE                                                   GRAND RAPIDS   MI      49546‐7123
ADAC PLASTICS INC.                    WILLIAM MORAN X5540              2929 32ND STREET                                                   MERIDIAN       MS      39302
ADAC STRATTEC DE MEXICO S DEL RL CV   CALLE JULIO HERNANDEZ NO 7939                                              JUAREZ CI 32679 MEXICO

ADAC STRATTEC LLC                     ADAC STRATTEC DE MEXICO          12160 ROJAS DR STE C                                               EL PASO         TX     79936‐7705
ADAC‐STRATTEC DE MEXICO LLC           MURPHY CALLAHAN 5932             12160 ROJAS DRIVE STE C                   VENARIA 10078 ITALY
ADAC/2929 32ND ST                     5920 TAHOE DR SE                                                                                    GRAND RAPIDS    MI     49546‐7123
ADAC/MUSKEGON                         2050 PORT CITY BLVD                                                                                 MUSKEGON        MI     49442‐6134
ADAC/SOUTHFIELD                       36711 NORTHWESTERN HWY.          STE. 230                                                           SOUTHFIELD      MI     48034
ADACHI HENDERSON MIYATAKE &           FUJITA INOUE AKASAKA BLDG        5TH FL 6 8 AKASAKA 1 CHOME                TOKYO 107‐0052 JAPAN
ADADO JR., MICHAEL                    7965 BUSCH RD                                                                                       BIRCH RUN      MI      48415‐8515
ADADO, DAVID W                        710 KENWOOD AVE                                                                                     LANSING        MI      48910‐3209
ADADO, PHIL F                         4045 E 50TH ST                                                                                      MOUNT MORRIS   MI      48458‐9436
ADADO, PHILLIP M                      4222 W MAPLE AVE                                                                                    FLINT          MI      48507‐3124
ADAH ABERNATHY                        1174 HOWARD DR                                                                                      GREENVILLE     OH      45331‐2644
ADAH BAILEY                           PO BOX 61                        165 PROSPECT ST                                                    LOCKPORT       NY      14095‐0061
ADAH CARTWRIGHT                       9326 MONICA DR                                                                                      DAVISON        MI      48423‐2865
ADAH CRAWFORD                         PO BOX 5283                                                                                         HUNTINGTON     IN      46750‐5283
ADAH E BAILEY                         PO BOX 61                                                                                           LOCKPORT       NY      14095‐0061
ADAIME, GEORGE                        37 ROOSEVELT PL                                                                                     STONY POINT    NY      10980‐1411
ADAIR BARRY                           11502 BOULDER LN                                                                                    AUSTIN         TX      78726‐1803
ADAIR CHERIE                          5122 JAMES AVE N                                                                                    MINNEAPOLIS    MN      55430‐3444
ADAIR COUNTY COLLECTOR                106 W. WASHINGTON                                                                                   KIRKSVILLE     MO      63501
ADAIR COUNTY TAX COLLECTOR            500 PUBLIC SQ STE 5                                                                                 COLUMBIA       KY      42728‐1471
ADAIR COUNTY TREASURER                220 W DIVISION ST STE 101                                                                           STILWELL       OK      74960‐3037
ADAIR FRANCIS                         ADAIR, FRANCIS                   2987 CLAIRMONT RD NE STE 130                                       ATLANTA        GA      30329‐1687
ADAIR JR, JOHN N                      1882 COVENTRY WAY                                                                                   EUGENE         OR      97405‐1350
ADAIR JR, LONZO                       50 LAKIN CT                                                                                         VANDALIA       OH      45377‐9400
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Name                    Address1                      Address2                       Address3   Address4               City            State   Zip
ADAIR JR, ROBERT L      2517 WALNUT DR                                                                                 IONIA            MI     48846‐9733
ADAIR JR, RUSSELL W     PO BOX 105                                                                                     HEMLOCK          IN     46937‐0105
ADAIR JR, THOMAS R      15570 GRAVES RD                                                                                PINCKNEY         MI     48169‐9718
ADAIR KEVIN ESTATE OF   C/O ORDAZ KIM                 1925 SAINT ANDREWS CIR                                           GILROY           CA     95020‐3008
ADAIR MARC              ADAIR, FLORENCE               3 SUMMIT PARK DR STE 100                                         INDEPENDENCE     OH     44131‐2598
ADAIR MARC              ADAIR, MARC                   3 SUMMIT PARK DR STE 100                                         INDEPENDENCE     OH     44131‐2598
ADAIR PRINTING CO       7850 2ND ST                                                                                    DEXTER           MI     48130‐1238
ADAIR SMITH             FOSTER & SEAR, LLP            817 GREENVIEW DR.                                                GRAND PRAIRIE    TX     75050
ADAIR, ALLEN J          6402 N LUSK RD                                                                                 ELSIE            MI     48831‐9777
ADAIR, ANNELL           333 LYNNWOOD DR                                                                                VERSAILLES       KY     40383‐1730
ADAIR, ARTHUR M         6132 SE 1149TH AVE                                                                             WISTER           OK     74966‐4005
ADAIR, BARRY G          RR 2 BOX 215                                                                                   ADRIAN           MO     64720‐9412
ADAIR, BERNICE          5141 LARCHVIEW DR                                                                              DAYTON           OH     45424‐2457
ADAIR, BONNIE CLIFT     3070 STANTON RD                                                                                OXFORD           MI     48371‐5828
ADAIR, BRADFORD A       63909 E ORANGEWOOD LN                                                                          TUCSON           AZ     85739‐2033
ADAIR, BRUCE P          297 W INDIANA ST                                                                               SUMMITVILLE      IN     46070‐9754
ADAIR, CAROL            3429 EMILY PL                                                                                  DOUGLASVILLE     GA     30135‐1984
ADAIR, CAROL            3429 EMILY PLACE                                                                               DOUGLASVILLE     GA     30135
ADAIR, CHARLES J        3070 STANTON RD                                                                                OXFORD           MI     48371‐5828
ADAIR, CORNELIUS W      2702 DENISE DR                                                                                 GREENSBORO       NC     27407‐6648
ADAIR, DARREL F         12030 E U AVE                                                                                  VICKSBURG        MI     49097‐9579
ADAIR, DARREL FLOYD     12030 E U AVE                                                                                  VICKSBURG        MI     49097‐9579
ADAIR, DAVID C          12188 SANDI LN                                                                                 MEDWAY           OH     45341‐9645
ADAIR, DAVID F          6863 W 700 N                                                                                   KOKOMO           IN     46902‐9313
ADAIR, EDNA E           9237 CONCERT WAY                                                                               INDIANAPOLIS     IN     46231‐4238
ADAIR, EDWIN L          342 STONER RD                                                                                  LANSING          MI     48917‐3782
ADAIR, EFFIE J          PO BOX 44                                                                                      ZIONSVILLE       IN     46077‐0044
ADAIR, ELIZABETH S      PO BOX 105                                                                                     HEMLOCK          IN     46937‐0105
ADAIR, ERVIN K          9238 GULFSTREAM BLVD                                                                           ENGLEWOOD        FL     34224‐9245
ADAIR, FLORENCE         KROHN & MOSS                  3 SUMMIT PARK DR STE 100                                         INDEPENDENCE     OH     44131‐2598
ADAIR, FRANCIS          SIMANOVSKY & ASSOCIATES       2987 CLAIRMONT RD NE STE 130                                     ATLANTA          GA     30329‐1687
ADAIR, GARY F           726 TAMARAC DR                                                                                 DAVISON          MI     48423‐1943
ADAIR, GERALD L         4553 RIVERLANE DR                                                                              ALGER            MI     48610
ADAIR, HELEN            3424 N RIDGEWOOD DR                                                                            MIDWEST CITY     OK     73110‐3742
ADAIR, JAMES F          4540 S FOREST HILL RD                                                                          SAINT JOHNS      MI     48879‐9225
ADAIR, JAMES M          150 CEDARWALD DR                                                                               ROCHESTER        MI     48306‐2821
ADAIR, JASON K          6162 ORIOLE DR                                                                                 FLINT            MI     48506‐1715
ADAIR, JASON KURT       6162 ORIOLE DR                                                                                 FLINT            MI     48506‐1715
ADAIR, JESSE M          2346 CARROLLTON AVE                                                                            INDIANAPOLIS     IN     46205‐4520
ADAIR, JOHN A           1831 W EASTBAY PKWY APT 11                                                                     ESSEXVILLE       MI     48732‐1849
ADAIR, JOHN D           6576 MOONDANCE DR                                                                              OLIVE BRANCH     MS     38654‐9038
ADAIR, JUDITH L         1344 W MOUNT FOREST RD                                                                         PINCONNING       MI     48650‐8737
ADAIR, JUNE             1750 N WALNUT GROVE RD                                                                         MIDLOTHIAN       TX     76065‐4749
ADAIR, JUNE             1750 WALNUT GROVE RD                                                                           MIDLOTHIAN       TX     76065‐4749
ADAIR, KENNETH H        2625 S LAKE ST                                                                                 GREENBUSH        MI     48738‐9694
ADAIR, KENNETH R        3424 N RIDGEWOOD DR                                                                            MIDWEST CITY     OK     73110‐3742
ADAIR, LARRY D          131 FLORENCE AVE                                                                               COLUMBUS         OH     43228
ADAIR, LEONARD H        2259 TOMAHAWK TRL                                                                              GAYLORD          MI     49735‐9027
ADAIR, LEONINA E        1332 SW 77TH PL                                                                                OKLAHOMA CITY    OK     73159‐5321
ADAIR, LISA D           130 FREEZE MOUNTAIN DR                                                                         ODENVILLE        AL     35120‐7002
ADAIR, MARC             KROHN & MOSS                  3 SUMMIT PARK DR STE 100                                         INDEPENDENCE     OH     44131‐2598
ADAIR, MARJORIE         414 HOLLAND RD                                                                                 FLUSHING         MI     48433‐2131
ADAIR, MARJORIE W       2545 DANA LN                                                                                   ANDERSON         IN     46013‐9611
ADAIR, MARY HELEN       2847 INDIANAPOLIS AVE                                                                          INDIANAPOLIS     IN     46208‐5163
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Name                           Address1                        Address2                     Address3                      Address4               City              State   Zip
ADAIR, MICHAEL E               3204 HAMILTON PL                                                                                                  ANDERSON           IN     46013‐5264
ADAIR, MICHAEL S               4769A S PARADISE RD                                                                                               FALMOUTH           MI     49632‐9611
ADAIR, MORRIS & OSBORN, P.C.   SCOTT D. OSBORN, ESQ.           325 N SAINT PAUL ST          SUITE 4100, REPUBLIC CENTER                          DALLAS             TX     75201‐3801

ADAIR, NANCY L                 108 S WAXAHACHIE ST                                                                                               MANSFIELD         TX      76063‐3157
ADAIR, NETTUS F                31610 TAYLOR ST                                                                                                   WAYNE             MI      48184‐2238
ADAIR, PATRICIA                700 COURT AVE                                                                                                     MARENGO           IA      52301‐1433
ADAIR, PATRICIA                450 W ROSE AVE                                                                                                    GARDEN CITY       MI      48135‐2646
ADAIR, PEGGY J.                1517 LINCOLN                                                                                                      DANVILLE          IL      61832‐7571
ADAIR, PEGGY J.                1517 LINCOLN ST                                                                                                   DANVILLE          IL      61832‐7571
ADAIR, PHILISHA W              9421 WOODHURST DR                                                                                                 MCKINNEY          TX      75070‐2804
ADAIR, RAY                     1623 CLEVELAND AVE                                                                                                JOLIET            IL      60432‐2166
ADAIR, RICHARD H               13398 PICADILLY DR                                                                                                STERLING HTS      MI      48312‐1517
ADAIR, RICHARD HOWARD          13398 PICADILLY DR                                                                                                STERLING HTS      MI      48312‐1517
ADAIR, RICKEY L                PO BOX 145                      121 E FRANKLIN STREET                                                             SWEETSER          IN      46987‐0145
ADAIR, RICKEY L                PO BOX 1                        121 E FRANKLIN STREET                                                             SWEETSER          IN      46987‐0001
ADAIR, RITA M                  15570 GRAVES RD                                                                                                   PINCKNEY          MI      48169‐9718
ADAIR, ROBERT E                308 LOGAN ST                                                                                                      ALBERTVILLE       AL      35950
ADAIR, ROBERT G                14944 ROSEMONT AVE                                                                                                DETROIT           MI      48223‐2364
ADAIR, ROBERT GLENN            14944 ROSEMONT AVE                                                                                                DETROIT           MI      48223‐2364
ADAIR, ROBERT J                12722 WALKER AVE                                                                                                  KANSAS CITY       KS      66109‐4107
ADAIR, ROBIN R                 PO BOX 311                                                                                                        GOODRICH          MI      48438‐0311
ADAIR, RONALD L                1591 RIBBLE ST                                                                                                    SAGINAW           MI      48601‐6851
ADAIR, RUTH G                  3501 29TH AVE N                                                                                                   ST PETERSBURG     FL      33713‐3539
ADAIR, SAMUEL L                2652 BLAKE RD                                                                                                     WADSWORTH         OH      44281‐9594
ADAIR, SCOTT M                 1566 CARROLLTON AVE                                                                                               INDIANAPOLIS      IN      46202‐2717
ADAIR, SHIRLEY G               910 W MOORE ST                                                                                                    FLINT             MI      48504‐3578
ADAIR, TERESA G                RR 2 BOX 215                                                                                                      ADRIAN            MO      64720‐9412
ADAIR, THOMAS F                PO BOX 1696                                                                                                       CHOCTAW           OK      73020‐1696
ADAIR, TINA M                  4400 NW 78TH CT APT 40                                                                                            KANSAS CITY       MO      64151‐1332
ADAIR,RAFAEL                   4101 W 47TH ST                                                                                                    ROELAND PARK      KS      66205‐1329
ADAIR‐STANTIFORD, GLENN E      1275 JEFFERSON WAY                                                                                                FOREST            VA      24551‐4610
ADAIR/FRMGTN HILLS             45355 HELM ST                                                                                                     PLYMOUTH          MI      48170
ADALAKE BOHON                  6252 QUALITY LN                                                                                                   ZEPHYRHILLS       FL      33542‐6442
ADALBERT MULLER                9505 SPARLING RD                                                                                                  WALES             MI      48027‐1710
ADALBERT REINHOUT              105 BORDEN RD                                                                                                     ROSE CITY         MI      48654
ADALBERT RINGLSTETTER          796 REEF POINT CIR                                                                                                NAPLES            FL      34108
ADALBERTO APONTE               BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                                        BOSTON HTS.       OH      44236
ADALBERTO ARAUJO               2234 DAISY AVE                                                                                                    LONG BEACH        CA      90806‐4111
ADALBERTO CRUZ                 2584 DEERFIELD LAKE CT                                                                                            CAPE CORAL        FL      33909‐2944
ADALBERTO DELAGARZA            PO BOX 6505                                                                                                       SAGINAW           MI      48608‐6505
ADALBERTO DELAGARZA            921 STATE ST APT C                                                                                                SAGINAW           MI      48602
ADALBERTO FLORES               20923 ENCINO DAWN                                                                                                 SAN ANTONIO       TX      78259‐2685
ADALBERTO GUERRERO             6701 SOUTH COUNTRY CLUB DRIVE                                                                                     OKLAHOMA CITY     OK      73159‐2945
ADALBERTO NAVA                 12601 AMBOY AVE                                                                                                   SYLMAR            CA      91342‐3606
ADALBERTO PEREZ                2511 BOWENTON PL SW                                                                                               WYOMING           MI      49519‐4747
ADALBERTO RAMIREZ              5097 TUBBS RD                                                                                                     WATERFORD         MI      48327‐1358
ADALBERTO VALDIVIA             6508 ROHRMAN RD                                                                                                   CROWN POINT       IN      46307‐9602
ADALBERTO Y GUERRERO           6701 SOUTH COUNTRY CLUB DRIVE                                                                                     OKLAHOMA CITY     OK      73159‐2945
ADALGISA VALDEZ                6012 RICKWOOD DR NW                                                                                               HUNTSVILLE        AL      35810‐2532
ADALID TORRES                  4416 S EVERGREEN AVE                                                                                              HOMOSASSA         FL      34446‐1842
ADALILA PEREZ                  2641 W AUBURN RD                                                                                                  ROCHESTER HILLS   MI      48309‐4014
ADALINE LUTZE                  5185 W WILSON RD                                                                                                  CLIO              MI      48420‐9461
ADALINE NELSON                 1027 STATE RD NW                                                                                                  WARREN            OH      44481‐9134
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Name                             Address1                          Address2                   Address3     Address4                  City               State Zip
ADALINE O NELSON                 1027 STATE RD NW                                                                                    WARREN              OH 44481‐9134
ADAM
ADAM A PELKEY                    410 WAYNE ST                                                                                        SAGINAW            MI   48602‐1438
ADAM ACKELS
ADAM AHMED                       1265 CAMELLIA DR                                                                                    MOUNT MORRIS       MI   48458‐2803
ADAM ALBRIGHT & TAMMY ALBRIGHT   C/O ADAM ALBRIGHT                 564 MULBERRY WAY S                                                WESTERVILLE        OH   43082
ADAM APFELD                      MEYBURGINSEL 28                   D‐52428 JUELICH                                                   JUELICH            DE   52428
ADAM APFELD                      ROTENSTEINER STR 23                                                       66981 MUENCHWEILER A D
                                                                                                           RODALB, GERMANY
ADAM AQUINAGA                    2609 WESLEY DR                                                                                      SAGINAW            MI   48601‐4547
ADAM ARMBRUSTER                  2073 ARKANSAS AVE                                                                                   ENGLEWOOD          FL   34224‐5630
ADAM B STURGILL                  8961 WILSON RD                                                                                      WAYNESVILLE        OH   45068
ADAM BACAL                       4612 RED MAPLE DR                                                                                   WARREN             MI   48092‐2356
ADAM BAILEY                      3116 BAILEY RD                                                                                      DACULA             GA   30019‐1246
ADAM BALL                        663 GLENSHEE DR                                                                                     WENTZVILLE         MO   63385‐2862
ADAM BARRY                       13945 SOUTHGATE DR                                                                                  STERLING HEIGHTS   MI   48313‐5560
ADAM BARWINSKI                   6 ORCHARD LN                                                                                        WELLINGTON         OH   44090‐1224
ADAM BARZEL CORP.
ADAM BASER                       11152 STONEY BROOK DR                                                                               GRAND LEDGE        MI   48837‐9185
ADAM BERLINGER
ADAM BERNARD                     2814 GLENWOOD RD                                                                                    ROYAL OAK          MI   48073‐4801
ADAM BLUTEAU                     9069 CLARK RD                                                                                       CLARKSTON          MI   48346‐1046
ADAM BRITT
ADAM BRODA                       6140 CRAMLANE DR                                                                                    CLARKSTON          MI   48346‐2401
ADAM BRYANT                      5340 HUMMER LAKE RD                                                                                 OXFORD             MI   48371‐2808
ADAM BUITRON                     3300 TATHAM RD                                                                                      SAGINAW            MI   48601‐7131
ADAM BULKEY                      LAW OFFICES OF PETER G. ANGELOS   100 NORTH CHARLES STREET   22ND FLOOR                             BALTIMORE          MD   21201
ADAM BURY                        RUE DE NALINNES                                                           6001 MARCINELLE BELGIUM
ADAM BUSACK                      34553 HAZELWOOD ST                                                                                  WESTLAND           MI   48186‐4487
ADAM BUTTERMORE                  1575 MARSHBANK DR                                                                                   PONTIAC            MI   48340‐1073
ADAM BUTTS
ADAM C BRASSARD                  5140 MONITOR                                                                                        HUBER HEIGHTS      OH   45424
ADAM C DAVIS                     227 N JACKSON ST 1                                                                                  BAY CITY           MI   48708‐6420
ADAM C JOHSON                    675 ORCHARD RD                                                                                      WILMINGTON         OH   45177
ADAM C KRULL I I I               12123 HEMPLE RD                                                                                     FARMERSVILLE       OH   45325‐9217
ADAM C LAPIERRE                  MARC S ALPERT PC                  15 COURT SQUARE #940                                              BOSTON             MA   02108
ADAM C ZOUMBARIS                 19340 MERRIMAN CT                                                                                   LIVONIA            MI   48152‐1797
ADAM CAMPBELL                    485 STANLEY ALLEN DRIVE                                                                             VINEGROVE          KY   40175
ADAM CARTER                      201 SPENCER ST                    201 SPENCER STREET                      CLINTON ON N0M 1L0
                                                                                                           CANADA
ADAM CASE                        3762 COUNTY ROAD 3810                                                                               WEST PLAINS        MO   65775‐4900
ADAM CHAPMAN                     417 BAKER DR                                                                                        HURST              TX   76054‐3515
ADAM CHAPPELL                    15761 ROSA PARKS BLVD                                                                               DETROIT            MI   48238‐1514
ADAM CHRIST                      5823 ATWELL RD                                                                                      TOLEDO             OH   43613‐1109
ADAM CLARK                       140 W CHAPEL CHASE DR                                                                               DECATUR            IN   46733‐7447
ADAM COLEMAN                     PO BOX 7099                                                                                         FLINT              MI   48507‐0099
ADAM COLLINS                     8526 BISMARK HWY                                                                                    VERMONTVILLE       MI   49096‐9754
ADAM COLWELL                     419 S GEBHART CHURCH RD                                                                             MIAMISBURG         OH   45342‐3606
ADAM COLWELL                     419 S. GEBHART CHURCH RD.                                                                           MIAMISBURG         OH   45342‐3606
ADAM CONFORTI
ADAM CONLEY                      9063 PERRY RD                                                                                       ATLAS              MI   48411
ADAM COTTON JR                   19 HUNTLEY COURT                                                                                    SAGINAW            MI   48601‐5132
ADAM CRAIG
ADAM CUTLER                      4876 AV WESTMOUNT                 WESTMOUNT QC               H3Y 1Y1
                    09-50026-mg              Doc 7123-3    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit B
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Name                Address1                         Address2               Address3         Address4               City               State   Zip
ADAM CZAPIGA        9259 CLARIDGE DR                                                                                DAVISON             MI     48423‐8708
ADAM CZASNOWICZ     42206 HANKS LN                                                                                  STERLING HEIGHTS    MI     48314‐3132
ADAM D CHENEY       1144 COUNTY ROAD 8                                                                              FARMINGTON          NY     14425
ADAM DATA
ADAM DAVIDSON       7631 CREEK GLEN DR                                                                              HOUSTON             TX     77095
ADAM DAVIS          108 ANTLER DR                                                                                   CLAYTON             NC     27527‐6032
ADAM DEAN           2085 ORMOND RD                                                                                  WHITE LAKE          MI     48383‐2243
ADAM DECKER         2150 S HENDERSON RD                                                                             DAVISON             MI     48423‐9121
ADAM DEFRIN
ADAM DELONG         571 HEATHERWOOD DR SE                                                                           WARREN             OH      44484‐2404
ADAM DEMERRITT      6947 ARNOLD RD                                                                                  COTTRELLVILLE      MI      48039‐1115
ADAM DENISON        22411 FLORAL ST                                                                                 FARMINGTON         MI      48336‐4217
ADAM DORN           7778 REFUGEE RD SW                                                                              PATASKALA          OH      43062‐7765
ADAM DRUPKA
ADAM DUCHATEAU      12741 E 400 S                                                                                   GREENTOWN          IN      46936‐9769
ADAM DUDDLES        629 HIGHPOINT CIR                                                                               ROCHESTER HILLS    MI      48307‐2917
ADAM DUTKE          7014 HADLOW DR                                                                                  SPRINGFIELD        VA      22152‐3239
ADAM DYKES          606 SAINT PAUL LN                                                                               O FALLON           MO      63366‐1722
ADAM E CARLSON      PO BOX 224                                                                                      SYRACUSE           NY      13211‐0224
ADAM E LARICHE      1233 LYTLE LN APT #1                                                                            KETTERING          OH      45409
ADAM E WILBERDING   PO BOX 320842                                                                                   FLINT              MI      48532‐0015
ADAM E. MCKINNEY
ADAM EASTLAND       3001 WABASH AVE                                                                                 GARY               IN      46404‐1268
ADAM F KONCZAL      MOTLEY RICE LLC                  28 BRIDGESIDE BLVD     PO BOX 1792                             MOUNT PLAESANT     SC      29465
ADAM F QUILLEN      28 N. CRAWFORD ST.                                                                              TROY               OH      45373‐3401
ADAM F WITT         18202 N 34TH AVE                                                                                PHOENIX            AZ      85053
ADAM FALKOWSKI      1408 BELLONA AVE                                                                                LUTHERVILLE        MD      21093‐5426
ADAM FISCHER        3399 STONY POINT RD                                                                             GRAND ISLAND       NY      14072‐1152
ADAM FISHER         5687 W LOWE RD                                                                                  SAINT JOHNS        MI      48879‐9789
ADAM FITCHPATRICK   11614 STARK RD                                                                                  LI VONIA           MI      48150‐1514
ADAM FLEISCHMAN     5746 JACKSON BLVD                                                                               WHITE LAKE         MI      48383‐1918
ADAM FLORES         3301 S 350 W                                                                                    COLUMBIA CITY      IN      46725‐9727
ADAM FODERA
ADAM FORBUSH        853 KLEMPP DR                                                                                   HOLLY              MI      48442‐1442
ADAM FOSS           12720 BURTON RD                                                                                 MANITOU BEACH      MI      49253‐9504
ADAM FOTIADES       300 GREENWOOD ST                                                                                WORCESTER          MA      01607‐1716
ADAM FRALEY         PO BOX 280                                                                                      COVINGTON          OH      45318‐0280
ADAM FRALEY         P.O. BOX 280                                                                                    COVINGTON          OH      45318
ADAM FREEMAN        235 EAGLE WAY                                                                                   SOUTH LYON         MI      48178‐2037
ADAM FRYE           5283 WHEAT WAY AVE                                                                              SWARTZ CREEK       MI      48473‐8218
ADAM FUGATE         PO BOX 311                                                                                      FRENCHBURG         KY      40322‐0311
ADAM FURMANOWICZ    265 MEADOW OAK LN                                                                               TARPON SPRINGS     FL      34689‐1716
ADAM GARZA          3030 CONCORD ST                                                                                 FLINT              MI      48504‐2924
ADAM GARZA          408 W HOLMES RD                                                                                 LANSING            MI      48910‐4478
ADAM GAWRYSH        4446 GAGE AVE                                                                                   LYONS              IL      60534‐1930
ADAM GIVENS         209 W RUSSELL AVE                                                                               FLINT              MI      48505‐2693
ADAM GODSEY         3346 LEATHERWOOD RD              3346 LEATHERWOOD RD                                            BEDFORD            IN      47421‐8773
ADAM GUCFA          1484 LAKE METAMORA DR                                                                           METAMORA           MI      48455‐8920
ADAM GUREWICZ       45809 GUREWICZ RD #303                                                                          SUMMERFIELD        OH      43788
ADAM HATCHER
ADAM HAYNES         1787 WASHINGTON RD                                                                              UNION CITY         OH      45390‐8671
ADAM HEFLIN         7819 NW ROANRIDGE RD APT J                                                                      KANSAS CITY        MO      64151‐5212
ADAM HEFTY          263 MOHAWK RD                                                                                   JANESVILLE         WI      53545‐2282
ADAM HEICHEL        4840 JAMM RD                                                                                    ORION              MI      48359‐2217
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Name                     Address1                           Address2                      Address3                 Address4                  City              State   Zip
ADAM HEISEL              30125 BOCK ST                                                                                                       GARDEN CITY        MI     48135‐2306
ADAM HERMAN              10860 KILMANAGH RD                                                                                                  SEBEWAING          MI     48759‐9748
ADAM HERMANN             12377 DE GROVE DR                                                                                                   STERLING HTS       MI     48312‐3128
ADAM HERRERA             1058 MAIN ST                                                                                                        BONO               OH     43445‐9612
ADAM HILLENBURG          193 S LEATHERWOOD RD                                                                                                BEDFORD            IN     47421‐8846
ADAM HOLLEY              643 HIGHWAY 585                                                                                                     RAYVILLE           LA     71269‐6313
ADAM HOLZWORTH           782 HANLEY RD W                                                                                                     MANSFIELD          OH     44904‐1560
ADAM HOTALING            9403 NEWCASTLE BLVD                                                                                                 SHREVEPORT         LA     71129‐4841
ADAM HOUSEHOLDER         15205 HARRISON AVENUE                                                                                               ALLEN PARK         MI     48101‐2055
ADAM HUDAK               2601 N DURAND RD                                                                                                    CORUNNA            MI     48817‐9734
ADAM HUNTLEY             12735 BIRCH RUN RD                                                                                                  BIRCH RUN          MI     48415‐9457
ADAM J ARNETT            14705 STATE ROUTE 725                                                                                               GERMANTOWN         OH     45327
ADAM J HEIZER            70 MCVEY PL                                                                                                         SPRINGBORO         OH     45066‐1124
ADAM J SOBOCINSKI        43553 PENINSULA DR                                                                                                  STERLING HTS       MI     48313‐2149
ADAM J WETZL             11326 BASINGER RD                                                                                                   NORTH LIMA         OH     44452‐9736
ADAM JACKSON             5739 COUNTY ROAD 37                                                                                                 GALION             OH     44833‐9663
ADAM JACKSON             ANDREW MCENANEY                    HISSEY KIENTZ & HERRON PLLC   9442 CAPITAL OF TX HWY                             AUSTIN             TX     78759
                                                                                          NORTH STE 420
ADAM JAMES               755 RENAISSANCE DR.APT C218                                                                                         WILLIAMSVILLE     NY      14221
ADAM JOHNSON             1776 SALT SPRINGS RD                                                                                                MINERAL RIDGE     OH      44440‐9580
ADAM JOHNSON             555 WASHINGTON ST                                                                                                   MOSCOW MILLS      MO      63362‐1248
ADAM JOHNSON             ADAM JOHNSON CUST‐ RALPH JOHNSON   211 RIDGEVIEW                                                                    MURPHY            TX      75094

ADAM K BOWLING           6512 PREBLE COUNTY LINE RD                                                                                          GERMANTOWN        OH      45327
ADAM K SLONE             281 PORT WILLIAM ROAD                                                                                               WILMINGTON        OH      45177‐8893
ADAM KAISER              GOLDBERGWEG 8/1                                                                           D‐71686 REMSECK GERMANY

ADAM KALEWARD            3712 TAOS CIR                                                                                                       OKEMOS             MI     48864‐3578
ADAM KANOUFF             4714 TRANSIT RD APT 15                                                                                              DEPEW              NY     14043‐4875
ADAM KEMMER JR           14210 W CAVALCADE DR                                                                                                SUN CITY WEST      AZ     85375‐5624
ADAM KING                1357 S MORRISH RD                                                                                                   FLINT              MI     48532‐3037
ADAM KLINE               87 EAGLE RIDGE RD                                                                                                   LAKE ORION         MI     48360‐2612
ADAM KNAUF               1219 E WILSON RD                                                                                                    ASHLEY             MI     48806‐9745
ADAM KOHL                17200 W TREETOP LN                                                                                                  NEW BERLIN         WI     53146‐3242
ADAM KOLASA              315 DES PLAINES AVE APT 404                                                                                         FOREST PARK        IL     60130‐1447
ADAM KOMAR‐SZULCZYNSKI   OS. PRZEMYSLAWA 8C, APT 3          61‐064 POZNAN, POLAND
ADAM KOMAR‐SZULCZYNSKI   OS PRZEMYSLAWA 8C, APT 3                                                                  61‐064 POZNAN, POLAND
ADAM KONIG               208 CHURCH ST                                                                                                       SUMMERTOWN        TN      38483‐7501
ADAM KRIEGER             6069 WESTDALE DR                                                                                                    GRAND BLANC       MI      48439‐8530
ADAM KRULL I I I         12123 HEMPLE RD                                                                                                     FARMERSVILLE      OH      45325‐9217
ADAM KRUZELL             908 N SHERMAN ST                                                                                                    BAY CITY          MI      48708‐6065
ADAM KUCHARSKI           2700 MOHAWK LN                                                                                                      ROCHESTER HLS     MI      48306‐3830
ADAM KUPIS               910 CLYDESDALE DR                                                                                                   BEAR              DE      19701‐2205
ADAM KWIATKOWSKI         360 ROLFE DR                                                                                                        COMMERCE          MI      48382‐2981
                                                                                                                                             TOWNSHIP
ADAM L BUSH              590 BRANDWYNNE CT                                                                                                   CENTERVILLE       OH      45459‐3044
ADAM L FARLEY            4736 ARCHMORE DR                                                                                                    DAYTON            OH      45440
ADAM L FLEES             1115 N LINCOLN ST APT 3                                                                                             BAY CITY          MI      48708‐5122
ADAM L MILLER            685 PALLISTER ST                                                                                                    DETROIT           MI      48202‐2418
ADAM LASSEN              PO BOX 9022                        C/O: GM THAILAND                                                                 WARREN            MI      48090‐9022
ADAM LAU                 211 JAMES ST                                                                                                        FAIRFIELD         CT      06824‐6477
ADAM LEONARD             35051 ONION DR                                                                                                      HYANNIS           NE      69350‐8839
ADAM LOPICCOLA           3505 W AUBURN RD                                                                                                    ROCHESTER HILLS   MI      48309‐3113
ADAM LOSEE               6366 ROCKINGHAM PL                                                                                                  SAGINAW           MI      48603‐6268
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Name                               Address1                         Address2                     Address3   Address4                   City            State   Zip
ADAM M NEWTON                      313 MC KENNEY AVE                                                                                   SYRACUSE         NY     13211‐1735
ADAM MAIL                          816 JACKSON LN                                                                                      MIDDLETOWN       OH     45044‐6149
ADAM MALISE                        1057 E 349TH ST                                                                                     EASTLAKE         OH     44095‐2648
ADAM MANIOS                        865 CHAMPAIGN RD                                                                                    LINCOLN PARK     MI     48146‐2901
ADAM MARTINEZ                      7401 BAY CHASE DR                                                                                   ARLINGTON        TX     76016‐5053
ADAM MCENTEE                       1102 CARDIFF CIR                                                                                    BOSSIER CITY     LA     71111‐8196
ADAM MEDEL                         30162 VALENTI DR                                                                                    WARREN           MI     48088‐3352
ADAM MEEKS                         1722 AUDUBON PLACE                                                                                  SHREVEPORT       LA     71105‐3422
ADAM MELERT                        BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                                         BOSTON HTS       OH     44236
ADAM MESSENGER                     3836 SUNRIDGE DRIVE                                                                                 FLINT            MI     48506‐2542
ADAM METZGER                       136 S LINCOLN RD                                                                                    BAY CITY         MI     48708‐9186
ADAM MILLER                        6178 HAVELOCK DR                                                                                    CLARKSTON        MI     48346‐2348
ADAM MINNOZZI                      1595 LAURIE LN                                                                                      HINCKLEY         OH     44233‐9704
ADAM MORRIS                        2147 DURHAM DR                                                                                      SAGINAW          MI     48609‐9236
ADAM MORTON
ADAM MOSKAL                        10312 CHAMPIONS CIR                                                                                 GRAND BLANC     MI      48439‐9442
ADAM MUNOZ                         203 HARBOR VIEW DR                                                                                  LAKE ST LOUIS   MO      63367‐1331
ADAM MUSTER                        HALLO12                                                                                             8000
ADAM MYERS                         8288 ASHWOOD WAY                                                                                    CLARKSTON        MI     48346‐1101
ADAM NADOLSKI
ADAM NGUYEN                        50698 OTTER CREEK DR                                                                                SHELBY TWP       MI     48317‐1754
ADAM NGUYEN                        2036 BEACON HILL DR                                                                                 LANSING          MI     48906‐3676
ADAM NOBLE
ADAM OHOL JR                       326 LOCUST ST                                                                                       LOCKPORT         NY     14094‐4945
ADAM OPEK AG                       D‐65423 RUSSELSHEIM CC                                                   GERMANY
ADAM OPEL á                        BAHNHOFSPLATZ 1                  GENERAL MANAGER                         RUESSELSHEIM á D û 65423
                                                                                                            GERMANY
ADAM OPEL A G                      16 RUSSELSHEIM MAIN                                                      GERMANY
ADAM OPEL A G OPEL                 16 RUSSELSHEIM MAIN                                                      GERMANY
ADAM OPEL A.G.                     KREDITORENBUCHHALTUNG                                                    RUSSELSHEIM 65423
                                                                                                            GERMANY
ADAM OPEL AG                       315 W HURON ST STE 400                                                                              ANN ARBOR        MI     48103‐3372
ADAM OPEL AG                       BAHNHOFSPLATZ 1                                                          RUSSELSHEIM 65423
                                                                                                            GERMANY
ADAM OPEL AG                       ADAM OPEL STRASSE, 100                                                   EISENACH 99817 GERMANY
ADAM OPEL AG                       MIRIAM KAATZ                     D‐65423; PKZ 55‐50                      BEAVERTON,ONTARIO, ON
                                                                                                            CANADA
ADAM OPEL AG                       FRIEDRICH‐LUTZMANN‐RING          D‐65423                                 RUSSELSHEIM GERMANY
ADAM OPEL AG                       DIRECTOR OF FINANCE              FRIEDRICH‐LUTZMANN RING                 RUSSELSHEIM D‐65423
                                                                                                            GERMANY
ADAM OPEL AG                       ATTN: DIRECTOR OF FINANCE        FRIEDRICH‐LUTZMANN RING                 RUSSELSHEIM D‐65423
                                                                                                            GERMANY
ADAM OPEL AG                       ATTN: DIRECTOR OF FINANCE        ADAM OPEL AG                            RUSSELSHEIM D‐65423
                                                                                                            GERMANY
ADAM OPEL AG                       ATTN: CFO/TREASURER              FRIEDRICH‐LUTZMANN‐RING 1               RUSSELSHEIM D‐65423
                                                                                                            GERMANY
ADAM OPEL AG                       FRIEDRICH‐LUTZMAN RING, 65423                                            GERMANY
                                   RUSSELSHEIM , GERMANY
ADAM OPEL AG                       FREIDERICH LUTZMAN RING          RUSSELSHEIM 65423            GERMANY
ADAM OPEL AG C/O ADAM OPEL HAUS    CFO/TREASURER                    FRIEDRICH‐LUTZMAN RING                  RUSSELSHIEM 65423
                                                                                                            GERMANY
ADAM OPEL AG, GLOBAL ALTERNATIVE   PETER‐SANDER‐STRABE 43                                                   MAINZ‐KASTEL D‐55252
PROPULSION CENTER                                                                                           GERMANY
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Name                                 Address1                             Address2                        Address3        Address4                  City                 State Zip
ADAM OPEL AG‐RUESSELSHEIM VEH ASSY   BAHNHOFSPLATZ 1                                                                      RUESSELSHEIM HE 65428
                                                                                                                          GERMANY
ADAM OPEL GMBH                       **ALLIED VENDOR**                                                                    GERMANY
ADAM OPEL GMBH                       FRIEDRICH‐LUTZMANN‐RING              RUSSELSHEIM                     65423 GERMANY
ADAM OPEL GMBH                       WERNER JUNG                          POSTFACH 1560                   D‐65432         RUESSELSHEIM GERMANY
ADAM OPEL GMBH                       BAHNHOFSPLATZ                                                                        RUESSELSHEIM 65423
ADAM OPEL GMBH                       BAHNHOFSPLATZ 1                                                                      RUESSELSHEIM HE 65428
                                                                                                                          GERMANY
ADAM OPEL GMBH                       FRIEDRICH‐LUTZMANN‐RING 1                                                            RUESSELSHEIM HE 65428
                                                                                                                          GERMANY
ADAM OPEL GMBH                       OPELKREISEL 1‐9                                                                      KAISERSLAUTERN RP 67663
                                                                                                                          GERMANY
ADAM OPEL GMBH                       ATTN: CHIEF FINANCIAL OFFICER        FRIEDRICH‐LUTZMANN‐RING                         RUSSELSHIEM 65423
                                                                                                                          GERMANY
ADAM OPEL GMBH                       ATTN: MANAGING DIRECTOR              FRIEDRICH‐LUZMANN‐RING                          RUSSELSHEIM GERMANY
ADAM OPEL GMBH                       ATTN: CORPORATE OFFICER/AUTHORIZED   FRIEDRICH‐LUTZMANN‐RING                         RUSSELSHEIM 65423
                                     AGENT                                                                                GERMANY
ADAM OPEL GMBH á                     HOLGER KIMMES á                                                                      RUESSELSHEIM á65423
                                                                                                                          GERMANY
ADAM OPEL, AG                        FRIEDRICH‐LUTZMAN RING, 65423                                                        GERMANY
                                     RUSSELSHEIM , GERMANY
ADAM OPEL,A.G.                       KREDITORENBUCHHALTUNG                                                                RUSSELSHEIM 65423
                                                                                                                          GERMANY
ADAM ORR                             PO BOX 17723                                                                                                   SALT LAKE CITY       UT    84117
ADAM ORR                             5072 LAVA CT SE                                                                                                SALEM                OR    97306‐2505
ADAM P GUREWICZ                      45809 GUREWICZ RD #303                                                                                         SUMMERFIELD          OH    43788
ADAM PALKER                          525 S CONWAY RD APT 123                                                                                        ORLANDO              FL    32807‐1149
ADAM PERROTTI                        140 N CLARK AVE                                                                                                SOMERVILLE           NJ    08876
ADAM PETROVICH & ASSOCIATES INC      39TH & BUTLER STREETS                ARSENAL TERMNL WAREHOUSE 19‐B                                             PITTSBURGH           PA    15201
ADAM PEVAS                           PO BOX 449                           C/O MARY A. PEVAS                                                         MARION               IN    46952‐0449
ADAM PFEIFFER                        14864 VILLAGE CT                                                                                               SHELBY TOWNSHIP      MI    48315‐4461
ADAM PIEKARZ                         32813 JEFFERSON AVE                                                                                            SAINT CLAIR SHORES   MI    48082‐1357

ADAM PODGORSKI                       45 MORSE ST                                                                                                    MERIDEN              CT    06450‐2320
ADAM PRIEUR                          3304 E VIENNA RD                                                                                               CLIO                 MI    48420‐9170
ADAM PRZYBYLSKI                      8164 CONSTITUTION BLVD APT 6                                                                                   STERLING HEIGHTS     MI    48313‐3856
ADAM QUILLEN                         28 N CRAWFORD ST                                                                                               TROY                 OH    45373‐3401
ADAM R GRAY                          590 KENNEDY AVE                                                                                                YPSILANTI            MI    48198‐6107
ADAM R HAYNES                        1787 WASHINGTON RD.                                                                                            UNION CITY           OH    45390
ADAM R HERRERA                       265 PARKEDGE AVE                                                                                               TONAWANDA            NY    14150‐7820
ADAM RASZL                           228 LILAC CT                                                                                                   REDLANDS             CA    92373‐6126
ADAM REMESZ                          44379 MANITOU DR                                                                                               CLINTON TWP          MI    48038‐4434
ADAM RITCHISON                       1221 WATSON # 321                                                                                              ARLINGTON            TX    76006
ADAM RITTER                          1227 HENNEPIN AVE APT 2B                                                                                       MINNEAPOLIS          MN    55403‐1716
ADAM RODRIGUEZ                       2140 JACOB RD                                                                                                  CARO                 MI    48723‐9326
ADAM ROHR                            7450 N 12TH ST                                                                                                 KALAMAZOO            MI    49009‐9083
ADAM ROZKOWSKI                       7433 LAKE FOREST CIR                                                                                           PORT RICHEY          FL    34668‐5831
ADAM SALDANA                         61347 MIRIAM DR                                                                                                WASHINGTON           MI    48094‐1419
ADAM SANDERS                         8099 TIPSICO TRL                                                                                               HOLLY                MI    48442‐8986
ADAM SANDERS                         1318 MORNINGSIDE DR                                                                                            ANDERSON             IN    46011‐2456
ADAM SCENNA                          3217 WOODLAND AVE                                                                                              ROYAL OAK            MI    48073‐2359
ADAM SCHARF                          1315 CROOKS RD APT 103                                                                                         ROYAL OAK            MI    48067‐1347
ADAM SCHMIDT                         924 ODA ST                                                                                                     DAVISON              MI    48423‐1026
ADAM SCHNEIDER JR                    49 CHEROKEE TER                                                                                                CEDARTOWN            GA    30125‐4357
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Name                   Address1                          Address2                     Address3      Address4               City              State   Zip
ADAM SCHUMAKER         1044 E HARRY AVE                                                                                    HAZEL PARK         MI     48030‐2151
ADAM SEIBERT           1320 CROOKS RD APT 201                                                                              ROYAL OAK          MI     48067‐1342
ADAM SEITER            15792 JONAS AVE                                                                                     ALLEN PARK         MI     48101‐1753
ADAM SEITER JR         2725 S NELLIS BLVD UNIT 2011                                                                        LAS VEGAS          NV     89121‐2097
ADAM SEPANAK           3107 ARBOR DR                                                                                       FENTON             MI     48430‐3119
ADAM SHIVER            3660 S LAPEER RD LOT 60                                                                             METAMORA           MI     48455‐8916
ADAM SLOAN             1082 HILLCREST AVE                                                                                  BRIGHTON           MI     48116‐1609
ADAM SLONE             281 PORT WILLIAM RD                                                                                 WILMINGTON         OH     45177‐8893
ADAM SMITH             3089 AYRE CT                      EASTSIDE SENIOR COMMUNITY                                         FLINT              MI     48506‐5402
ADAM SOBOCINSKI        43553 PENINSULA DR                                                                                  STERLING HTS       MI     48313‐2149
ADAM STANLEY           5411 NICHOLS RD                                                                                     SWARTZ CREEK       MI     48473‐8524
ADAM STANLEY GRESS     MOTLEY RICE LLC                   28 BRIDGESIDE BLVD           PO BOX 1792                          MT PLEASANT        SC     29465
ADAM STEPHAN           569 SIEMS CIR                                                                                       ROSELLE             IL    60172
ADAM STEPNIOWSKI       4815 RED MAPLE DR                                                                                   WARREN             MI     48092‐4626
ADAM STILES            314 RIVERSIDE CT                                                                                    KENT               OH     44240‐2350
ADAM SUTBERRY          840 W GRAND RIVER AVE                                                                               PORTLAND           MI     48875‐1127
ADAM SWIDZINSKI        132 40TH ST                                                                                         BUTLER             PA     16001
ADAM SYSTEMS           151 VAN BUREN ST                                                                                    DAPHNE             AL     36526‐7507
ADAM SZPAK             1512 PORTER ST                                                                                      CONWAY             PA     15027‐1336
ADAM T KUCHARSKI       2700 MOHAWK LN                                                                                      ROCHESTER HLS      MI     48306‐3830
ADAM T LOVEJOY         1205 IRONWOOD DR                                                                                    FAIRBORN           OH     45324
ADAM TABACZEWSKI       3390 BYRON RD                                                                                       HOWELL             MI     48855‐8766
ADAM TAYLOR            1201 MAPLE CT                                                                                       JANESVILLE         WI     53548‐2835
ADAM THOMAS            309 PLEASANT AVE                                                                                    MCMURRAY           PA     15317‐2939
ADAM TIMMONS           4375 COOLIDGE HWY                                                                                   ROYAL OAK          MI     48073‐1679
ADAM TINKLER           399 WEST STREET                                                                                     GROVEPORT          OH     43125‐1347
ADAM TUMAS             2719 W 16TH ST                                                                                      CHICAGO             IL    60608‐1705
ADAM TURNER            5900 HAY RAKE HOLLOW CT                                                                             GREGORY            MI     48137‐9487
ADAM TYMRAKIEWICZ      26052 COLMAN DR                                                                                     WARREN             MI     48091‐1045
ADAM ULBIN             2036 PARKWOOD CT                                                                                    BROOKLYN           MI     49230‐9316
ADAM URQUHART          10465 LASALLE BLVD                                                                                  HUNTINGTON         MI     48070‐1119
                                                                                                                           WOODS
ADAM V ZAWADZKI        126 MC KENNEY AVE                                                                                   SYRACUSE          NY      13211‐1732
ADAM VOORS             4505 SNYDER RD                                                                                      MONROEVILLE       IN      46773‐9785
ADAM VOSZ              5677 STONEY PL N                                                                                    SHELBY TOWNSHIP   MI      48316‐4924
ADAM W KAEMPF          4473 HANNAFORD ST                                                                                   DAYTON            OH      45439
ADAM W SHIVER          3660 S LAPEER RD LOT 60                                                                             METAMORA          MI      48455‐8916
ADAM WATSON            3404 SILVER SUN CT                                                                                  BOWLING GREEN     KY      42104‐8792
ADAM WEAVER            3039 WILCOT WAY                                                                                     FRANKLIN          TN      37069‐8414
ADAM WEIGANDT          12278 ALBEE RD                                                                                      BURT              MI      48417‐9665
ADAM WENDLING          18359 LINCOLN RD                                                                                    NEW LOTHROP       MI      48460‐9676
ADAM WIECHMANN         77 MARYLAND DR                                                                                      DECATUR           AL      35603‐5367
ADAM WIENNER           728 E SECOND ST                                                                                     ROYAL OAK         MI      48067
ADAM WILLIAMS          370 LAKE SHORE DR                                                                                   PONTIAC           MI      48341‐1087
ADAM WILTSIE
ADAM WOJCIECHOWSKI     23704 EUREKA AVE                                                                                    WARREN            MI      48091‐4507
ADAM WRIGHT            39 EAGLE RIDGE RD                                                                                   LAKE ORION        MI      48360‐2611
ADAM WRZESINSKI        108 CEDARWOOD DR                                                                                    NEW BRITAIN       CT      06052‐1506
ADAM YONKOF            BEVAN & ASSOCIATES LPA INC        6555 DEAN MEMORIAL PARKWAY                                        BOSTON HTS        OH      44236
ADAM ZIOBERT           175 E WESTERN RESERVE RD                                                                            POLAND            OH      44514‐3343
ADAM ZOUMBARIS         19340 MERRIMAN CT                                                                                   LIVONIA           MI      48152‐1797
ADAM ZUBATY            PO BOX 315                                                                                          HARRISON CITY     PA      15636‐0315
ADAM ZUREK             38 UNIONDALE RD                                                                                     BUFFALO           NY      14225‐2219
ADAM'S APPLE SVC INC   ATTN: MICHAEL OSTERHOUT           3604 COURT ST                                                     SYRACUSE          NY      13206‐1055
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Name                               Address1                           Address2                        Address3   Address4               City              State   Zip
ADAM'S AUTO SERVICE                1600 W EULESS BLVD                                                                                   EULESS             TX     76040‐6840
ADAM'S AUTOMOTIVE                  309 W 1ST AVE                                                                                        RITZVILLE          WA     99169‐2318
ADAM, ALBERT R                     22148 W CURTICE E AND W RD                                                                           CURTICE            OH     43412‐9688
ADAM, ALBERT ROY                   22148 W CURTICE E AND W RD                                                                           CURTICE            OH     43412‐9688
ADAM, ANDREW J                     1454 W OHIO ST                                                                                       CHICAGO             IL    60642
ADAM, ASLAM                        206 WOODVIEW CT 266                                                                                  ROCHESTER HILLS    MI     48307
ADAM, BETTY L                      8501 E HEFNER RD                                                                                     JONES              OK     73049‐8500
ADAM, CATHERINE M                  736 BARNEGAT BAY ST                                                                                  HENDERSON          NV     89052
ADAM, DOROTHY R                    1304 CHESTNUT AVE                                                                                    TRENTON            NJ     08611‐2016
ADAM, DOUGLAS K                    2556 BOCKEY RD                                                                                       GROVER HILL        OH     45849‐9768
ADAM, GALE R                       5685 W OHIO RIDGE RD                                                                                 COLUMBUS           IN     47201‐9532
ADAM, GERALDINE                    20061 CAROL ST                                                                                       DETROIT            MI     48235‐1654
ADAM, HAROLD E                     PO BOX E                                                                                             SEDONA             AZ     86339‐1537
ADAM, JACK A                       859 BAVENO DR                                                                                        VENICE             FL     34285
ADAM, JILLIAN I                    1212 E LAMAR BLVD APT 608                                                                            ARLINGTON          TX     76011
ADAM, JIM                          32 S ESTATE DR                                                                                       WEBSTER            NY     14580‐2860
ADAM, KIMBERLY A                   1804 W TEPEE ST                    LOT 39                                                            APACHE JUNCTION    AZ     85220

ADAM, KIMBERLY A                   1804 W TEPEE ST LOT 39                                                                               APACHE JUNCTION    AZ     85120

ADAM, LESLIE E                     7631 W 900 S                                                                                         PENDLETON         IN      46064‐9753
ADAM, LUCILLE                      421 CENTER ST                                                                                        S BELLINGHAM      MA      02019‐1819
ADAM, MARGARET S                   6929 MONTBURY PL                                                                                     RANCHO            CA      91739‐2513
                                                                                                                                        CUCAMONGA
ADAM, MARIE E                      26129 THOMAS ST                                                                                      WARREN            MI      48091‐3967
ADAM, NANCY                        9340 COLONY FARMS CT                                                                                 PLYMOUTH          MI      48170‐3342
ADAM, PATRICIA A                   30331 FOX RUN DR                                                                                     BEVERLY HILLS     MI      48025‐4726
ADAM, PAUL A                       561 N GARNER RD                                                                                      MILFORD           MI      48380‐3632
ADAM, PAUL E                       8479 WILSON MILLS RD                                                                                 CHESTERLAND       OH      44026‐1859
ADAM, PAUL S                       3020 BEAN OLLER RD                                                                                   DELAWARE          OH      43015‐9220
ADAM, RONALD W                     30570 LEBANON DR                                                                                     WARREN            MI      48093‐2534
ADAM, RUSSELL M                    304 BROOKSBY VILLAGE DR UNIT 303                                                                     PEABODY           MA      01960‐8583
ADAM, SIMONE L                     733 LANDOVER CT                    C #102                                                            NAPLES            FL      34104
ADAM, VIDA H                       542 EAST SCHOOL STREET                                                                               LA FARGE          WI      54639‐8657
ADAM, W D CO INC                   1685 SCENIC AVE                                                                                      COSTA MESA        CA      92626
ADAM, YVON J                       1393 CHERRY LAUREL CIR                                                                               WEBSTER           NY      14580‐9465
ADAMA DAFSKI                       8090 MARIAN ST                                                                                       WARREN            MI      48093‐2732
ADAMAITIS, ANN M                   800 LINCOLN AVE E                  APT 133                                                           CRANFORD          NJ      07016‐3177
ADAMAITIS, ANN M                   800 LINCOLN AVE E APT 133                                                                            CRANFORD          NJ      07016‐3177
ADAMANY, WALLY E                   3211 BRIAR CREST DR                                                                                  JANESVILLE        WI      53546‐9687
ADAMASU GEBRE V ACURA & GM ET AL   ADAMASU GEBRE                      400 SOUTH FOURTH STREET THIRD                                     LAS VEGAS         NV      89101
                                                                      FLOOR
ADAMASU GEBRE V ACURA & GM ET AL   ADAMASU GEBRE                      1000 EAGLE GATE TOWER 60 EAST                                     SALT LAKE CITY     UT     84111
                                                                      SOUTH TEMPLE
ADAMCHECK, DANIEL J                5 BOULDER CREEK ROAD                                                                                 NEWTOWN            CT     06470‐5703
ADAMCIK, JOHN A                    1008 THORNWOOD COURT                                                                                 CLAYTON            NC     27520‐3738
ADAMCZAK, ROSE                     81 EVELYN STREET                                                                                     BUFFALO            NY     14207‐1601
ADAMCZAK, ROSE                     81 EVELYN ST                                                                                         BUFFALO            NY     14207‐1601
ADAMCZAK, STEPHEN                  5974 MEADOWGREENE DR                                                                                 WATERFORD          MI     48327‐2981
ADAMCZAK, STEPHEN L                5399 CADE RD                                                                                         IMLAY CITY         MI     48444‐9450
ADAMCZAK, STEVE                    5974 MEADOWGREENE DR                                                                                 WATERFORD          MI     48327‐2981
ADAMCZUK, ANDREW S                 772 SAFFRON LN                                                                                       WEBSTER            NY     14580‐8935
ADAMCZUK, STEPHEN                  171 KINGS GATE S                                                                                     ROCHESTER          NY     14617‐5439
ADAMCZYK JR, STEPHEN L             136 CARRIAGE DR E                                                                                    MERIDEN            CT     06450‐7009
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ADAMCZYK'S AUTO REPAIR        209 SHAKER RD                                                                                EAST                MA 01028‐7003
                                                                                                                           LONGMEADOW
ADAMCZYK, ALOYSIUS            304 SPRUCE ST                                                                                BAY CITY           MI   48706‐3885
ADAMCZYK, BLANCHE R           36 WILLIS UNIT 19 C                                                                          BRISTOL            CT   06010
ADAMCZYK, BONNIE L            500 35TH ST                                                                                  BAY CITY           MI   48708‐8348
ADAMCZYK, CHRISTOPHER B       362 BAYNES ST. LOWER                                                                         BUFFALO            NY   14213
ADAMCZYK, CHRISTOPHER BRIAN   362 BAYNES ST. LOWER                                                                         BUFFALO            NY   14213
ADAMCZYK, DALE T              4661 E DONATO DR                                                                             GILBERT            AZ   85298‐4631
ADAMCZYK, DELPHINE            8153 LINDA ST                                                                                WARREN             MI   48093‐2811
ADAMCZYK, DENNIS F            21 BRYANT ST                                                                                 N TONAWANDA        NY   14120‐6102
ADAMCZYK, DENNIS M            7438 PARK AVE                                                                                ALLEN PARK         MI   48101‐1911
ADAMCZYK, DOLORES             11327 RACINE RD                                                                              WARREN             MI   48093‐2517
ADAMCZYK, EDWARD J            37 TREMAINE AVE                                                                              KENMORE            NY   14217‐2615
ADAMCZYK, EDWARD J            GENERAL DELIVERY                                                                             QUAKERTOWN         PA   18951‐9999
ADAMCZYK, EDWIN J             7795 OAKLAND PL                                                                              WATERFORD          MI   48327‐1420
ADAMCZYK, EMILY               22304 DEVONSHIRE ST UNIT 3                                                                   CHATSWORTH         CA   91311‐2651
ADAMCZYK, EVELYN K            2394 MIDLAND RD                 THE CARRIAGE HOUSE                                           BAY CITY           MI   48706‐9402
ADAMCZYK, GARY B              891 E HOTCHKISS RD                                                                           BAY CITY           MI   48706‐9707
ADAMCZYK, GERALD T            203 ROSS AVE                                                                                 BUFFALO            NY   14207‐1525
ADAMCZYK, GERALD THOMAS       203 ROSS AVE                                                                                 BUFFALO            NY   14207‐1525
ADAMCZYK, HAZEL C             4258 NIAGARA ST                                                                              WAYNE              MI   48184‐2259
ADAMCZYK, HAZEL C             4258 NIAGARA                                                                                 WAYNE              MI   48184‐2259
ADAMCZYK, HENRY               11327 RACINE RD                                                                              WARREN             MI   48093‐2517
ADAMCZYK, JASON M             121 WESTFALL DR                                                                              TONAWANDA          NY   14150‐7131
ADAMCZYK, JOHN R              3598 WCARO RD                                                                                CARO               MI   48723
ADAMCZYK, JOSEPH              314 KETCHUM ST                                                                               BAY CITY           MI   48708‐5461
ADAMCZYK, JOSEPH A            3544 KAREN PKWY APT 302                                                                      WATERFORD          MI   48328‐4615
ADAMCZYK, KATHERINE           34049 TAWAS TRL                 C/O CHRISTINE K. DIXON                                       WESTLAND           MI   48185‐2319
ADAMCZYK, PATTY               7358 SAINT AUBURN DR                                                                         BLOOMFIELD HILLS   MI   48301‐3711
ADAMCZYK, RONALD S            3134 FROEDE RD                                                                               KINGSTON           MI   48741‐9529
ADAMCZYK, RONALD STANLEY      3134 FROEDE RD                                                                               KINGSTON           MI   48741‐9529
ADAMCZYK, ROSE                78 BLICK ST                                                                                  SLOAN              NY   14212‐2311
ADAMCZYK, ROSE                78 BLICK STREET                                                                              SLOAN              NY   14212‐2311
ADAMCZYK, ROXANNE C           2207 ADAMS BLVD                                                                              SAGINAW            MI   48602
ADAMCZYK, THEODORE            48771 DUNN CT                                                                                MACOMB             MI   48044‐2229
ADAMCZYK, WALTER              2135 S TROY WAY                                                                              AURORA             CO   80014‐5335
ADAMCZYK, WILLIAM S           30928 MOULIN AVE                                                                             WARREN             MI   48088‐3159
ADAME MARYANNE                3492 NORTHWEST MCCREADY DRIVE                                                                BEND               OR   97701‐8629
ADAME, ALEJANDRO C            6808 CHERRYTREE DR                                                                           ARLINGTON          TX   76001‐7827
ADAME, DAMIAN CARDENAS
ADAME, INGRID A
ADAME, ISAAC                  HARMON FIRM THE                 2107 N BROADWAY STE 102                                      SANTA ANA          CA   92706‐2633
ADAME, JAMES                  ANDREWS & ANDREWS               311 E MAIN ST                                                NACOGDOCHES        TX   75961‐5213
ADAME, JUAN J                 6808 CHERRYTREE DR                                                                           ARLINGTON          TX   76001‐7827
ADAME, LORENZO                1151 PIN OAK TRL                                                                             AURORA             IL   60506‐1380
ADAME, LORENZO                1208 THEODORE ST                                                                             LANSING            MI   48915‐2149
ADAME, MARIA DEJESUS          HARMON FIRM THE                 2107 N BROADWAY STE 102                                      SANTA ANA          CA   92706‐2633
ADAME, MONCE                  HARMON FIRM THE                 2107 N BROADWAY STE 102                                      SANTA ANA          CA   92706‐2633
ADAME, NATALIE                HARMON FIRM THE                 2107 N BROADWAY STE 102                                      SANTA ANA          CA   92706‐2633
ADAME, PAMELA                 ANDREWS & ANDREWS               311 E MAIN ST                                                NACOGDOCHES        TX   75961‐5213
ADAME, PATRICIO               2007 S ALLPORT ST                                                                            CHICAGO            IL   60608‐3209
ADAME, ROSE V                 808 BLOKER ST                                                                                MADERA             CA   93638‐2597
ADAME, RUDY G                 30737 VANDERBILT ST                                                                          HAYWARD            CA   94544‐7422
ADAME, SARA E                 ANDREWS & ANDREWS               311 E MAIN ST                                                NACOGDOCHES        TX   75961‐5213
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Name                           Address1                      Address2                         Address3                  Address4                 City            State Zip
ADAME, SARAH
ADAME, SERGIO                  325 ELLWOOD BEACH DR          APT 4                                                                               GOLETA          CA    93117‐2778
ADAME, VICTOR M                3250 S LAMAR ST                                                                                                   DENVER          CO    80227‐5426
ADAMEC, FRANKLYN M             22304 COUNTRY MEADOWS LN                                                                                          STRONGSVILLE    OH    44149‐2000
ADAMEC, RANDALL J              108 DEER RIDGE DR                                                                                                 WEST BEND       WI    53095‐5326
ADAMECZ, HEIDI A               8195 DEERWOOD RD                                                                                                  CLARKSTON       MI    48348
ADAMEK, ANTONINA               27963 THORNTREE LN                                                                                                HARRISON TWP    MI    48045‐2242
ADAMEK, BONNIE J               3661 16TH ST                                                                                                      WYANDOTTE       MI    48192‐6441
ADAMEK, FRIEDA B               753 NW SPRUCE RIDGE DR                                                                                            STUART          FL    34994‐9535
ADAMEK, KENNETH E              3031 CALZADA AVE                                                                                                  SANTA YNEZ      CA    93460‐9715
ADAMEK, MARY A                 23260 NATCHEZ AVE                                                                                                 LAKEVILLE       MN    55044‐8205
ADAMEK, MARY V                 1176 GLENBAR WAY                                                                                                  GREENWOOD       IN    46143‐3162
ADAMEK, ROBERT L               34216 COVENTRY DR                                                                                                 LIVONIA         MI    48154‐2616
ADAMETZ AMANDA                 3245 GRIFFITH AVENUE                                                                                              BERKLEY         MI    48072‐1307
ADAMETZ, AMANDA                3245 GRIFFITH AVE                                                                                                 BERKLEY         MI    48072‐1307
ADAMETZ, MARY A                7221 NW DONOVAN DR APT 1308                                                                                       KANSAS CITY     MO    54153‐3101
ADAMETZ, MARY ANN              7221 NW DONOVAN DR            APT 1308                                                                            KANSAS CITY     MO    54153‐3101
ADAMETZ, STEPHEN J             468 W COMMODORE BLVD                                                                                              JACKSON         NJ    08527‐5403
ADAMIAK, EDWARD V              WEITZ & LUXENBERG             WOODLAND FALLS CORPORATE                                                            CHERRY HILL     NJ    08002
                                                             PARK 210 LAKE DRIVE EAST SUITE
ADAMIAK, JOANNA                31 BROOKDALE AVENUE                                                                                               WHITE PLAINS    NY    10603‐3201
ADAMIAK, JOHN C                3204 TALLY HO PL                                                                                                  FALLSTON        MD    21047‐1218
ADAMIAK, LOTTIE C              67 CLAYTON AVE                                                                                                    TRENTON         NJ    08619‐2907
ADAMIAN, DEAN R                42954 BARCHESTER RD                                                                                               CANTON          MI    48187‐3006
ADAMIC ARTHUR LOUIS (471337)   GLASSER AND GLASSER           CROWN CENTER, 580 EAST MAIN                                                         NORFOLK         VA    23510
                                                             STREET, SUITE 600
ADAMIC TRUCKING INC            15522 RIDER RD                                                                                                    BURTON          OH    44021‐9777
ADAMIC, ARTHUR LOUIS           GLASSER AND GLASSER           CROWN CENTER, 580 EAST MAIN                                                         NORFOLK         VA    23510‐2212
                                                             STREET, SUITE 600
ADAMIC, JOHN R                 11381 BRIARCLIFF DR                                                                                               WARREN           MI   48093‐2519
ADAMICK, LINDA J               40840 COUNTY ROAD             25 LOT 266                                                                          LADY LAKE        FL   32159
ADAMIETZ, DAVID B              7626 E PLEASANT RUN                                                                                               SCOTTSDALE       AZ   85258‐3116
ADAMIETZ, JOANN                2223 AVENUE C NW                                                                                                  WINTER HAVEN     FL   33880‐2447
ADAMIK MONICA E                ADAMIK, JEREMY T              GORBERG DAVID J & ASSOCIATES     2325 GRANT BUILDING 310                            PITTSBURGH       PA   15219
                                                                                              GRANT STREET
ADAMIK MONICA E                ADAMIK, MONICA E              2325 GRANT BUILDING 310 GRANT                                                       PITTSBURGH       PA   15219
                                                             STREET
ADAMIK, RAYMOND A              8725 CREMONA DR                                                                                                   LAS VEGAS       NV    89117‐1125
ADAMINI, IRENE                 49036 WHITE MILL DR                                                                                               SHELBY TWP      MI    48317‐1621
ADAMISEN, PAUL                 22222 FAIRFAX ST                                                                                                  TAYLOR          MI    48180‐2772
ADAMISIN JR., ALAN             3634 HANNAMAN RD                                                                                                  COLUMBIAVILLE   MI    48421
ADAMISIN, ALAN J               3634 HANNAMAN RD                                                                                                  COLUMBIAVILLE   MI    48421
ADAMISIN, ARTHUR A             20620 EMMETT ST                                                                                                   TAYLOR          MI    48180‐4309
ADAMISIN, ARTHUR A             22454 FAIRFAX ST                                                                                                  TAYLOR          MI    48180‐2776
ADAMISIN, CAROL                9609 CHATEAU ST                                                                                                   INTERLOCHEN     MI    49643‐9715
ADAMISIN, CAROL                9609 CHATEAU                                                                                                      INTERLOCHEN     MI    49643‐9715
ADAMISIN, KATHLEEN             16760 DUNDALK CT                                                                                                  NORTHVILLE      MI    48168‐2334
ADAMKIEWICZ, FRANK W           4989 AMHERST DR                                                                                                   STERLING HTS    MI    48310‐4035
ADAMO AUTO REPAIR, INC.        4313 NE 6TH AVE                                                                                                   OAKLAND PARK    FL    33334‐3109
ADAMO DEMOLITION CO INC        300 E 7 MILE RD                                                                                                   DETROIT         MI    48203‐2022
ADAMO FEDERICO MARIA           LA SCALA                      STUDIO LEGALE E TRIBUTARIO       CORSO MAGENTA N 42        20123 MILANO ITALY
ADAMO GILDA                    494 SUNSET TER                                                                                                    RIDGEFIELD       NJ   07657‐2813
ADAMO P FURGIUELE              1551 WEBSTER‐FAIRPORT RD                                                                                          PENFIELD         NY   14526‐9731
ADAMO VALENTINA                LA SCALA                      STUDIO LEGALE E TRIBUTARIO       CORSO MAGENTA N 42        20123 MILANO ITALY
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Name                               Address1                       Address2                         Address3   Address4                City             State Zip
ADAMO'S GARAGE                     601 CENTER ST                                                                                      WALLINGFORD       CT 06492‐3809
ADAMO, CARLO L                     5127 ELPINE WAY                                                                                    PALM BEACH        FL 33418‐7850
                                                                                                                                      GARDENS
ADAMO, CARMELINA B                 3393 WOODRIDGE DR                                                                                  FLUSHING          MI 48433
ADAMO, GERALD J                    1279 COUNTY ROAD 72                                                                                BAILEY            CO 80421‐2043
ADAMO, GIUSEPPE                    26606 RICHARDSON ST                                                                                DEARBORN HEIGHTS MI 48127‐4605

ADAMO, JOSEPH A                    322 STERLING AVE                                                                                   BUFFALO           NY   14216‐1907
ADAMO, LAURIE M                    49399 BROOKLYN                                                                                     SHELBY TOWNSHIP   MI   48317‐2375
ADAMO, LEON                        211 VALLEY RD                                                                                      MORRISVILLE       PA   19067‐3819
ADAMO, MARIO A                     27459 ROAN DR                                                                                      WARREN            MI   48093‐8333
ADAMO, RALPH J                     788 DAVENTRY CIR                                                                                   WEBSTER           NY   14580‐2658
ADAMO, TAMMIE L                    1279 COUNTY ROAD 72                                                                                BAILEY            CO   80421‐2043
ADAMO, TULLIO                      7027 SUNNYDALE DR                                                                                  NIAGARA FALLS     NY   14304‐1344
ADAMONIS, JOHN V                   14453 PARK DR                                                                                      BROOK PARK        OH   44142‐3852
ADAMONIS, RICHARD A                17 IVY ST                                                                                          CLARK             NJ   07066‐3215
ADAMOVIC, MARGARET M               6173 HALF MOON DR                                                                                  PORT ORANGE       FL   32127
ADAMOVICH, JOHN                    113 LINDEN TREE LN                                                                                 NEWARK            DE   19711‐7201
ADAMOVICH, THEODORE J              362 JAMAICA BLVD.                                                                                  TOMS RIVER        NJ   08757‐6029
ADAMOVITZ, JOSEPH                  11923 S RIDGEWAY AVE APT 6                                                                         ALSIP             IL   60803‐1130
ADAMOWICZ, EDWARD F                1557 JARRATT DR                                                                                    ROCKVALE          TN   37153‐4042
ADAMOWICZ, JAMES E                 197 MILLER FARM RD                                                                                 PLANTSVILLE       CT   06479‐1481
ADAMOWICZ, RICHARD J               2837 E SULLIVAN DR                                                                                 TOLEDO            OH   43613‐1144
ADAMOWICZ, SUSAN K                 6141 KATHERINE AVE                                                                                 TOLEDO            OH   43613‐1222
ADAMOWSKI, ROBERT J                1216 HARDING RD                                                                                    ESSEXVILLE        MI   48732‐1713
ADAMS                              KEVIN GLEASON                  2802 PACES FERRY RD SE STE 200                                      ATLANTA           GA   30339‐3714
ADAMS & ADAMS                      PO BOX 1014                                                                PRETORIA SOUTH AFRICA
ADAMS & REESE LLP                  339 FLORIDA ST STE 200                                                                             BATON ROUGE       LA   70801‐1726
ADAMS ALLEN                        DBA ALLEN ADAMS CONSULTING     394 STEWART RD N                                                    MOUNT HOLLY       VT   05758‐9782
ADAMS ALLEN, PHYLLIS               BASS DOHERTY & FINKS           40 SOLDIERS FIELD PL                                                BOSTON            MA   02135‐1104
ADAMS ANGIE                        PO BOX 368                                                                                         BASSFIELD         MS   39421‐0368
ADAMS ANTHONY & GATES DOUGLAS      28 E MAIN ST STE 600                                                                               ROCHESTER         NY   14614‐1919
ADAMS ANTHONY HALL                 20 NORBERTA WAY                                                                                    JACKSONVILLE      FL   32250‐4037
ADAMS ASSOCIATES                   318 LOUISIANA AVE                                                                                  PERRYSBURG        OH   43551‐1461
ADAMS AUTO PARTS                                                  1601 GOVERNOR PRINTZ BLVD                                           WILMINGTON        DE   19802
ADAMS AUTO PARTS                   1601 NORTHEAST BLVD                                                                                WILMINGTON        DE   19802‐5119
ADAMS AUTO SERVICE                                                1417 E LINCOLN RD                                                   KOKOMO            IN   46902
ADAMS AUTOMATION & ICL MFG         21500 TELEGRAPH RD                                                                                 SOUTHFIELD        MI   48033‐4247
ADAMS AUTOMOTIVE                   1010 BLALOCK RD                                                                                    HOUSTON           TX   77055‐7422
ADAMS AUTOMOTIVE                   1001 E BROAD ST                                                                                    TEXARKANA         AR   71854‐5401
ADAMS AUTOMOTIVE                   2021 S 4TH AVE                                                                                     TUCSON            AZ   85713‐3510
ADAMS AUTOMOTIVE                   ATTN: DAVID ADAMS              339 W DELAVAN DR                                                    JANESVILLE        WI   53546‐2552
ADAMS AUTOMOTIVE CENTER, INC.      2915 CRAIG RD                                                                                      EAU CLAIRE        WI   54701‐6108
ADAMS AUTOMOTIVE INC.              PO BOX 547                                                                                         RICHMOND          IL   60071‐0547
ADAMS AUTOMOTIVE INC.              11517 US HIGHWAY 12                                                                                RICHMOND          IL   60071
ADAMS AUTOMOTIVE SERVICE CENTER    431 WINSTON CT STE D                                                                               SCHERERVILLE      IN   46375‐4202
ADAMS AUTOMOTIVE, INC.             ROBERT ADAMS                   1797 WEST ST                                                        ANNAPOLIS         MD   21401‐3246
ADAMS BETTY (479192)               BEVAN & ASSOCIATES             10360 NORTHFIELD ROAD , BEVAN                                       NORTHFIELD        OH   44067
                                                                  PROFESSIONAL BLDG
ADAMS BEVERLY                      438 IOWA AVE                                                                                       GIRARD            OH   44420‐3059
ADAMS BOBBY (ESTATE OF) (491927)   BEVAN & ASSOCIATES             10360 NORTHFIELD ROAD , BEVAN                                       NORTHFIELD        OH   44067
                                                                  PROFESSIONAL BLDG
ADAMS BOBBY D                      ADAMS, NADJA                   2325 GRANT BUILDING 310 GRANT                                       PITTSBURGH        PA   15219
                                                                  STREET
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Name                                  Address1                              Address2                           Address3              Address4                  City             State   Zip
ADAMS BRENT L                         1226 W RANCH CIR                                                                                                         MIDWAY            UT     84049‐6417
ADAMS BRYAN                           ADAMS, BRYAN                          327 BROWNVILLE RD                                                                  ROME              OH     44085‐9741
ADAMS BUICK, PONTIAC & GMC TRUCK      1797 WEST ST                                                                                                             ANNAPOLIS         MD     21401‐3246
ADAMS CARL                            1902 WADSWORTH AVE                                                                                                       SAGINAW           MI     48601‐1631
ADAMS CAROL BELL                      ADAMS CAROL BELL                      C/O EDWARD O MOODY PA              801 WEST 4TH STREET                             LITTLE ROCK       AR     72201
ADAMS CATHY                           308 N ELM ST                                                                                                             CRESTON            IA    50801‐2323
ADAMS CHARLES (477583)                YOUNG RILEY DUDLEY & DEBROTA LLP      3815 RIVER CROSSING PKWY STE 340                                                   INDIANAPOLIS      IN     46240‐7808
ADAMS CHARLES J                       292 HUNTERS RILL                                                                                                         OXFORD            MI     48371‐6313
ADAMS CHARLES P                       2092 SHIPPAN PT                                                                                                          LAWRENCEVILLE     GA     30043‐6384
ADAMS CHARLEY F (652363)              GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                                        NORFOLK           VA     23510
                                                                            STREET, SUITE 600
ADAMS CHEVROLET, INC.                 E. RAY ADAMS                          7820 E 171ST ST                                                                    BELTON           MO      64012‐5325
ADAMS CHEVROLET, INC.                 RONALD ADAMS                          1517 PULASKI HWY                                                                   HAVRE DE GRACE   MD      21078‐2203
ADAMS CHEVROLET, INC.                 7820 E 171ST ST                                                                                                          BELTON           MO      64012‐5325
ADAMS CHEVROLET, INC.                 1517 PULASKI HWY                                                                                                         HAVRE DE GRACE   MD      21078‐2203
ADAMS CONSULTING                      3904 E HARMONY AVE                                                                                                       MESA             AZ      85206‐3242
ADAMS COUNTY CLERK                    MOTOR VEHICLE                         3449 CHAMBERS RD STE A                                                             AURORA           CO      80011‐1329
ADAMS COUNTY TAX COLLECTOR            PO BOX 1128                                                                                                              NATCHEZ          MS      39121‐1128
ADAMS COUNTY TREASURER                COURTHOUSE                                                                                                               DECATUR          IN      46733
ADAMS COUNTY TREASURER                500 WEST FOURTH STREET                                                                                                   HASTINGS         NE      68901
ADAMS COUNTY TREASURER                110 WEST MAIN STREET                                                                                                     WEST UNION       OH      45693
ADAMS CTY COURT                       ACT R DELEON 97C4895                  1931 E BRIDGE                                                                      BRIGHTON         CO      80601
ADAMS CTY COURT CLERK                 ACT R DELEON 97C1519                  1931 E BRIDGE ST                                                                   BRIGHTON         CO      80601
ADAMS CTY CT ACT R DELEON             ACT # 94 C 12792                      1931 E BRIDGE ST                                                                   BRIGHTON         CO      80601
ADAMS CTY CT ACT R DELEON             ACT #96C14913                         1931 E BRIDGE ST                                                                   BRIGHTON         CO      80601
ADAMS D O                             16006 HAZEL RD                                                                                                           CLEVELAND        OH      44112‐2913
ADAMS DALE                            1967 TYLER LN                                                                                                            DE PERE          WI      54115‐3735
ADAMS DALE (442889)                   BEVAN & ASSOCIATES                    10360 NORTHFIELD ROAD , BEVAN                                                      NORTHFIELD       OH      44067
                                                                            PROFESSIONAL BLDG
ADAMS DARLAH                          9092 GLORIA AVE                                                                                                          MIDDLETOWN       MD      21769‐8926
ADAMS DAVID G (449786)                WEITZ & LUXENBERG P.C.                180 MAIDEN LANE                                                                    NEW YORK         NY      10038
ADAMS DEBORAH                         19 N HIGH ST                                                                                                             JANESVILLE       WI      53548‐3618
ADAMS DONALD F (490503)               GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                                                       PITTSBURGH       PA      15219

ADAMS DONALD W (438772)               GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                                        NORFOLK           VA     23510
                                                                            STREET, SUITE 600
ADAMS ELMER (314947) ‐ CARTER JACK    SUTTER & ENSLEIN                      1598 KANAWHA BLVD EAST , SUITE                                                     CHARLESTON       WV      25311
ADAMS ELMER (314947) ‐ CORDIAL        SUTTER & ENSLEIN                      1598 KANAWHA BLVD EAST , SUITE                                                     CHARLESTON       WV      25311
ROBERT                                                                      200
ADAMS ELMER LAVERT                    ADAMS ELMER LAVERT                    C/O EDWARD O MOODY PA              801 WEST 4TH STREET                             LITTLE ROCK      AR      72201
ADAMS ELSWORTH                        1052 GREEN BRIAR HILLS DR                                                                                                O FALLON         MO      63366‐5900
ADAMS ERNEST A (ESTATE OF) (481605)   ANGELOS PETER G                       100 N CHARLES STREET , ONE                                                         BALTIMORE        MD      21201
                                                                            CHARLES CENTER
ADAMS EUGENE (442891)                 BEVAN & ASSOCIATES                    10360 NORTHFIELD ROAD , BEVAN                                                      NORTHFIELD       OH      44067
                                                                            PROFESSIONAL BLDG
ADAMS FAST FREIGHT INC                6547 OLD HAGGERTY RD                                                                                                     CANTON            MI     48187‐3635
ADAMS FIRE PEOTECTION INC             PO BOX 154                                                                                                               ROCKAWAY          NJ     07866‐0154
ADAMS FRED                            1999 CANDACE LN SE                                                                                                       ATLANTA           GA     30316‐4937
ADAMS GAREAU                          1000 SHERBROOKE OUEST                 SUITE 1530                                               MONTREAL QUEBEC H3A 3G4

ADAMS GARY                            120 SEABOLT DR                                                                                                           LOCUST GROVE     GA      30248‐2143
ADAMS GEORGE                          ADAMS, GEORGE                         108 STALLINGS ST APT B                                                             LELAND           MS      38756‐2156
ADAMS GILBERT L (419368)              SIMMONS FIRM                          PO BOX 559                                                                         WOOD RIVER       IL      62095‐0559
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Name                               Address1                      Address2                      Address3   Address4               City         State Zip
ADAMS GILES A (458980)             GLASSER AND GLASSER           CROWN CENTER, 580 EAST MAIN                                     NORFOLK       VA 23510
                                                                 STREET, SUITE 600
ADAMS HELEN                         ADAMS, HELEN
ADAMS HENRY C JR                    ADAMS, HENRY C               420 EAST PLEASANT RUN ROAD                                      CEDAR HILL   TX   75104
ADAMS HOWARD W (451963)             SHANNON LAW FIRM             100 W GALLATIN ST                                               HAZLEHURST   MS   39083‐3007
ADAMS HOWARD W (451963) ‐ ABLES     SHANNON LAW FIRM             100 W GALLATIN ST                                               HAZLEHURST   MS   39083‐3007
BENTON
ADAMS HOWARD W (451963) ‐           SHANNON LAW FIRM             100 W GALLATIN ST                                               HAZLEHURST   MS   39083‐3007
AINSWORTH FRANCIS
ADAMS HOWARD W (451963) ‐           SHANNON LAW FIRM             100 W GALLATIN ST                                               HAZLEHURST   MS   39083‐3007
AINSWORTH JOE
ADAMS HOWARD W (451963) ‐ ALBRITTON SHANNON LAW FIRM             100 W GALLATIN ST                                               HAZLEHURST   MS   39083‐3007
RONALD E
ADAMS HOWARD W (451963) ‐           SHANNON LAW FIRM             100 W GALLATIN ST                                               HAZLEHURST   MS   39083‐3007
ALEXANDER CHARLES
ADAMS HOWARD W (451963) ‐           SHANNON LAW FIRM             100 W GALLATIN ST                                               HAZLEHURST   MS   39083‐3007
ALEXANDER RICHARD
ADAMS HOWARD W (451963) ‐ ALLEN     SHANNON LAW FIRM             100 W GALLATIN ST                                               HAZLEHURST   MS   39083‐3007
KENNETH C
ADAMS HOWARD W (451963) ‐ ALLEN     SHANNON LAW FIRM             100 W GALLATIN ST                                               HAZLEHURST   MS   39083‐3007
WILLIAM PRICE
ADAMS HOWARD W (451963) ‐ ALSWORTH SHANNON LAW FIRM              100 W GALLATIN ST                                               HAZLEHURST   MS   39083‐3007
EDITH MAE
ADAMS HOWARD W (451963) ‐ ANDERSON SHANNON LAW FIRM              100 W GALLATIN ST                                               HAZLEHURST   MS   39083‐3007
ANDREA W
ADAMS HOWARD W (451963) ‐ ANDERSON SHANNON LAW FIRM              100 W GALLATIN ST                                               HAZLEHURST   MS   39083‐3007
ANDREW D.
ADAMS HOWARD W (451963) ‐ ANDERSON SHANNON LAW FIRM              100 W GALLATIN ST                                               HAZLEHURST   MS   39083‐3007
GRADY
ADAMS HOWARD W (451963) ‐ ANDERSON SHANNON LAW FIRM              100 W GALLATIN ST                                               HAZLEHURST   MS   39083‐3007
JAMES
ADAMS HOWARD W (451963) ‐ ANDERSON SHANNON LAW FIRM              100 W GALLATIN ST                                               HAZLEHURST   MS   39083‐3007
LEE ARTHUR
ADAMS HOWARD W (451963) ‐ ARNOLD    SHANNON LAW FIRM             100 W GALLATIN ST                                               HAZLEHURST   MS   39083‐3007
DONALD R
ADAMS HOWARD W (451963) ‐ ARNOLD    SHANNON LAW FIRM             100 W GALLATIN ST                                               HAZLEHURST   MS   39083‐3007
DOROTHY REE FARMER
ADAMS HOWARD W (451963) ‐ ARNOLD    SHANNON LAW FIRM             100 W GALLATIN ST                                               HAZLEHURST   MS   39083‐3007
JOHN JEROME
ADAMS HOWARD W (451963) ‐ ARNOLD    SHANNON LAW FIRM             100 W GALLATIN ST                                               HAZLEHURST   MS   39083‐3007
JOHN W
ADAMS HOWARD W (451963) ‐ ARNOLD    SHANNON LAW FIRM             100 W GALLATIN ST                                               HAZLEHURST   MS   39083‐3007
KIMBERLE T
ADAMS HOWARD W (451963) ‐ ARNOLD    SHANNON LAW FIRM             100 W GALLATIN ST                                               HAZLEHURST   MS   39083‐3007
LOUIS RAY
ADAMS HOWARD W (451963) ‐ ARNOLD    SHANNON LAW FIRM             100 W GALLATIN ST                                               HAZLEHURST   MS   39083‐3007
RANDY LANE
ADAMS HOWARD W (451963) ‐ ARNOLD    SHANNON LAW FIRM             100 W GALLATIN ST                                               HAZLEHURST   MS   39083‐3007
RONALD EUGENE
ADAMS HOWARD W (451963) ‐ AS‐SABOR SHANNON LAW FIRM              100 W GALLATIN ST                                               HAZLEHURST   MS   39083‐3007
AYYUB A.
ADAMS HOWARD W (451963) ‐ BAILEY    SHANNON LAW FIRM             100 W GALLATIN ST                                               HAZLEHURST   MS   39083‐3007
CHARLES E
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Name                                 Address1                   Address2               Address3         Address4               City         State Zip
ADAMS HOWARD W (451963) ‐ BAILEY     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST    MS 39083‐3007
NELLIE M
ADAMS HOWARD W (451963) ‐ BALLARD SHANNON LAW FIRM              100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
NORMAN J
ADAMS HOWARD W (451963) ‐ BANKS      SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
EMMA RUTH
ADAMS HOWARD W (451963) ‐ BANKS      SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
MARSHALL
ADAMS HOWARD W (451963) ‐ BANKS      SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
MARY A
ADAMS HOWARD W (451963) ‐ BARFOOT SHANNON LAW FIRM              100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
KEITH
ADAMS HOWARD W (451963) ‐ BARNES     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ARTHUR
ADAMS HOWARD W (451963) ‐ BARNES     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
DON A
ADAMS HOWARD W (451963) ‐ BARNES     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
EUGENE
ADAMS HOWARD W (451963) ‐ BARNES     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
HARDIS L
ADAMS HOWARD W (451963) ‐ BARNES     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
HENRY
ADAMS HOWARD W (451963) ‐ BARNES     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JERRY L
ADAMS HOWARD W (451963) ‐ BARNES     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JOHNNIE LEE
ADAMS HOWARD W (451963) ‐ BARNES     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
LARRY
ADAMS HOWARD W (451963) ‐ BARNES     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
LOUIS
ADAMS HOWARD W (451963) ‐ BARNETT SHANNON LAW FIRM              100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
LESTER D
ADAMS HOWARD W (451963) ‐ BARNETT SHANNON LAW FIRM              100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
LONNIE D
ADAMS HOWARD W (451963) ‐ BARNHILL SHANNON LAW FIRM             100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
RONALD W
ADAMS HOWARD W (451963) ‐ BARRON     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
TOMMY
ADAMS HOWARD W (451963) ‐ BATES      SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JOSEPH
ADAMS HOWARD W (451963) ‐ BATIESTE SHANNON LAW FIRM             100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
RAYFORD
ADAMS HOWARD W (451963) ‐ BEDSON     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JAMES H
ADAMS HOWARD W (451963) ‐ BEE        SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
TOMMY W
ADAMS HOWARD W (451963) ‐ BELL       SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
CLINTON
ADAMS HOWARD W (451963) ‐ BELL       SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JAMES A
ADAMS HOWARD W (451963) ‐ BELL RAY A SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007

ADAMS HOWARD W (451963) ‐ BELTON   SHANNON LAW FIRM             100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
MICHAEL A
                                      09-50026-mg        Doc 7123-3    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit B
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Name                                  Address1                   Address2               Address3         Address4               City         State Zip
ADAMS HOWARD W (451963) ‐ BELTON      SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST    MS 39083‐3007
THERESA A
ADAMS HOWARD W (451963) ‐ BENNETT     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JOANN S
ADAMS HOWARD W (451963) ‐ BETHELY     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ROBERT BENJAMIN
ADAMS HOWARD W (451963) ‐ BEVILY      SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ALFRIED LEE
ADAMS HOWARD W (451963) ‐ BILLS       SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JOHNNY B
ADAMS HOWARD W (451963) ‐ BINGHAM     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ANDREW
ADAMS HOWARD W (451963) ‐ BINGHAM     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
BEVERLY
ADAMS HOWARD W (451963) ‐             SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
BLACKWELL ROY CLINTON
ADAMS HOWARD W (451963) ‐ BLAYLOCK    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
CHARLES RAY
ADAMS HOWARD W (451963) ‐ BLAYLOCK    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
FLOYD
ADAMS HOWARD W (451963) ‐ BOIES JIM   SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007

ADAMS HOWARD W (451963) ‐ BOLES    SHANNON LAW FIRM              100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JAMES O
ADAMS HOWARD W (451963) ‐ BOLING   SHANNON LAW FIRM              100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
CLYDE
ADAMS HOWARD W (451963) ‐ BONDS    SHANNON LAW FIRM              100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ROY L
ADAMS HOWARD W (451963) ‐ BOWLIN   SHANNON LAW FIRM              100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
CLEMENT
ADAMS HOWARD W (451963) ‐ BOWMAN SHANNON LAW FIRM                100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
LEONARD
ADAMS HOWARD W (451963) ‐ BOYD     SHANNON LAW FIRM              100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
PATRICIA M
ADAMS HOWARD W (451963) ‐ BOYKIN   SHANNON LAW FIRM              100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
L.H.
ADAMS HOWARD W (451963) ‐ BOYTE    SHANNON LAW FIRM              100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JOHN WESLEY
ADAMS HOWARD W (451963) ‐ BRADFORD SHANNON LAW FIRM              100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
FELIX J
ADAMS HOWARD W (451963) ‐ BRADLEY SHANNON LAW FIRM               100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
CORNELIUS
ADAMS HOWARD W (451963) ‐ BRADLEY SHANNON LAW FIRM               100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
EDD
ADAMS HOWARD W (451963) ‐ BRANDON SHANNON LAW FIRM               100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
TORETHA
ADAMS HOWARD W (451963) ‐ BRASHER SHANNON LAW FIRM               100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JAMES
ADAMS HOWARD W (451963) ‐ BRELAND SHANNON LAW FIRM               100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JOHN G
ADAMS HOWARD W (451963) ‐ BRENT    SHANNON LAW FIRM              100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
BOYCE S
ADAMS HOWARD W (451963) ‐ BROOKS   SHANNON LAW FIRM              100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
GEORGE W
                                  09-50026-mg         Doc 7123-3    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit B
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Name                               Address1                   Address2               Address3         Address4               City         State Zip
ADAMS HOWARD W (451963) ‐ BROOKS   SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST    MS 39083‐3007
JOSEPH N
ADAMS HOWARD W (451963) ‐ BROOKS   SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
PRISCILLA
ADAMS HOWARD W (451963) ‐ BROTHERN SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JAMES D
ADAMS HOWARD W (451963) ‐ BROWN    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
CHARLES ELTON
ADAMS HOWARD W (451963) ‐ BROWN    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
FELIX
ADAMS HOWARD W (451963) ‐ BROWN    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
GEORGE
ADAMS HOWARD W (451963) ‐ BROWN    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
GERALDINE
ADAMS HOWARD W (451963) ‐ BROWN    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
GERODE
ADAMS HOWARD W (451963) ‐ BROWN    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
GLENN A
ADAMS HOWARD W (451963) ‐ BROWN    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JAMES
ADAMS HOWARD W (451963) ‐ BROWN    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JOHNNIE
ADAMS HOWARD W (451963) ‐ BROWN    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
MICHAEL
ADAMS HOWARD W (451963) ‐ BROWN    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ROOSEVELT
ADAMS HOWARD W (451963) ‐ BROWN    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
SIMMIE
ADAMS HOWARD W (451963) ‐ BROWN    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
W.G.
ADAMS HOWARD W (451963) ‐          SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
BROWNING LESTER LAYNE
ADAMS HOWARD W (451963) ‐          SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
BROWNING SHARON P
ADAMS HOWARD W (451963) ‐          SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
BRUMFIELD CLIFTON RANDALL
ADAMS HOWARD W (451963) ‐          SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
BRUMFIELD HENRY H
ADAMS HOWARD W (451963) ‐ BRYANT   SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
SAMMY CHARLES
ADAMS HOWARD W (451963) ‐ BUCKLES  SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JERRY G
ADAMS HOWARD W (451963) ‐ BUIE     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ROOSEVELT
ADAMS HOWARD W (451963) ‐ BUNCH    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JAMES F
ADAMS HOWARD W (451963) ‐          SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
BURKHALTER LAVON R
ADAMS HOWARD W (451963) ‐ BURKS    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ROOSEVELT
ADAMS HOWARD W (451963) ‐ BURLISON SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
CECIL A
ADAMS HOWARD W (451963) ‐ BUTLER   SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JOHN A
                                     09-50026-mg        Doc 7123-3    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit B
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Name                                 Address1                   Address2               Address3         Address4               City         State Zip
ADAMS HOWARD W (451963) ‐ BUTLER     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST    MS 39083‐3007
THEODORE
ADAMS HOWARD W (451963) ‐ BUTLER     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
WASH
ADAMS HOWARD W (451963) ‐ BYRD DON   SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007

ADAMS HOWARD W (451963) ‐ CAGE       SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
HARRISON TOMIC
ADAMS HOWARD W (451963) ‐ CAGE KATIE SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
BLAND
ADAMS HOWARD W (451963) ‐ CALCOTE SHANNON LAW FIRM              100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JACKIE
ADAMS HOWARD W (451963) ‐ CAMERON SHANNON LAW FIRM              100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
DAN
ADAMS HOWARD W (451963) ‐ CAMERON SHANNON LAW FIRM              100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JANET G
ADAMS HOWARD W (451963) ‐ CAMPBELL SHANNON LAW FIRM             100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
THOMAS
ADAMS HOWARD W (451963) ‐ CAMPER     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
LOUIS T
ADAMS HOWARD W (451963) ‐ CARLISLE SHANNON LAW FIRM             100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JIM R
ADAMS HOWARD W (451963) ‐ CARNEGIE SHANNON LAW FIRM             100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
RICHARD MARION
ADAMS HOWARD W (451963) ‐ CARR       SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
MANFRED
ADAMS HOWARD W (451963) ‐ CARRAWAY SHANNON LAW FIRM             100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
DANNY
ADAMS HOWARD W (451963) ‐ CARROLL SHANNON LAW FIRM              100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
HERMAN
ADAMS HOWARD W (451963) ‐ CARTER     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ALLEN C
ADAMS HOWARD W (451963) ‐ CARTER     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ANNETTE
ADAMS HOWARD W (451963) ‐ CARTER     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
CLAUDE ALBERT
ADAMS HOWARD W (451963) ‐ CARTER     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
DANNIE H
ADAMS HOWARD W (451963) ‐ CARTER     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
DIANE
ADAMS HOWARD W (451963) ‐ CARTER     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JAMES L
ADAMS HOWARD W (451963) ‐ CARTER     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
MARTHA
ADAMS HOWARD W (451963) ‐ CARTER     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ROBERT L
ADAMS HOWARD W (451963) ‐ CARTER     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ROOSEVELT
ADAMS HOWARD W (451963) ‐ CASE       SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
DELTON
ADAMS HOWARD W (451963) ‐ CASE       SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
FREDDIE W
ADAMS HOWARD W (451963) ‐ CATER      SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ELMER
                                   09-50026-mg         Doc 7123-3    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit B
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Name                                Address1                   Address2               Address3         Address4               City         State Zip
ADAMS HOWARD W (451963) ‐ CHAMBLISS SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST    MS 39083‐3007
CORY L
ADAMS HOWARD W (451963) ‐ CHAMBLISS SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ISAAC
ADAMS HOWARD W (451963) ‐ CHAMBLISS SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
MURLEE
ADAMS HOWARD W (451963) ‐ CHAMPLIN SHANNON LAW FIRM            100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
NETA FAY
ADAMS HOWARD W (451963) ‐ CHAPMAN SHANNON LAW FIRM             100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ALAN E
ADAMS HOWARD W (451963) ‐ CHAPMAN SHANNON LAW FIRM             100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
BARRY
ADAMS HOWARD W (451963) ‐ CHAPMAN SHANNON LAW FIRM             100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
BILLY S
ADAMS HOWARD W (451963) ‐ CHATMAN SHANNON LAW FIRM             100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
BESSIE
ADAMS HOWARD W (451963) ‐ CHEEK     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
WILLIAM A
ADAMS HOWARD W (451963) ‐ CHRISTIAN SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
DOROTHY
ADAMS HOWARD W (451963) ‐           SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
CHURCHWELL ALVIN E
ADAMS HOWARD W (451963) ‐ CLARK     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
LARRY D
ADAMS HOWARD W (451963) ‐ CLARK     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
QUEEN R
ADAMS HOWARD W (451963) ‐ CLARY     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JAMES T
ADAMS HOWARD W (451963) ‐ CLAY      SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
RONNIE
ADAMS HOWARD W (451963) ‐ CLOY      SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ROBERT D
ADAMS HOWARD W (451963) ‐ COLE      SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
EDWARD TURNER
ADAMS HOWARD W (451963) ‐ COLE      SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
RONNIE C
ADAMS HOWARD W (451963) ‐ COLEMAN SHANNON LAW FIRM             100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
BESSIE
ADAMS HOWARD W (451963) ‐ COLEMAN SHANNON LAW FIRM             100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
STEVEN LOYD
ADAMS HOWARD W (451963) ‐           SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
COLENBURG BETTY
ADAMS HOWARD W (451963) ‐ COLEY     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
MITCHELL
ADAMS HOWARD W (451963) ‐ COLLIER   SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
BOBBY GENE
ADAMS HOWARD W (451963) ‐ COLLIER   SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JOHN M
ADAMS HOWARD W (451963) ‐ COLLINS   SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ROBERT MCKINLEY
ADAMS HOWARD W (451963) ‐ COLSTON SHANNON LAW FIRM             100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
SAM
ADAMS HOWARD W (451963) ‐ CONNER    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
DAVID
                                   09-50026-mg         Doc 7123-3    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit B
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Name                                Address1                   Address2               Address3         Address4               City         State Zip
ADAMS HOWARD W (451963) ‐ CONNER    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST    MS 39083‐3007
ISIAH
ADAMS HOWARD W (451963) ‐ CONNER    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JAMES
ADAMS HOWARD W (451963) ‐ CONNER    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
MICHAEL
ADAMS HOWARD W (451963) ‐ CONRAD    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JOHN
ADAMS HOWARD W (451963) ‐ COOPER    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
CATHERINE
ADAMS HOWARD W (451963) ‐ COOPER    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ELLIS G
ADAMS HOWARD W (451963) ‐ COOPER    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JOHN
ADAMS HOWARD W (451963) ‐ COPELAND SHANNON LAW FIRM            100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
RAY
ADAMS HOWARD W (451963) ‐ COTTEN    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JAMES H
ADAMS HOWARD W (451963) ‐           SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
COVINGTON HENRY J
ADAMS HOWARD W (451963) ‐ COWART SHANNON LAW FIRM              100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
CURTIS E
ADAMS HOWARD W (451963) ‐ COWART SHANNON LAW FIRM              100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
RANDY
ADAMS HOWARD W (451963) ‐ COX       SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
HERBERT M
ADAMS HOWARD W (451963) ‐ CRAFT     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
DONNIE
ADAMS HOWARD W (451963) ‐ CRAFT     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
DORIS ESTELLE
ADAMS HOWARD W (451963) ‐ CRNKOVIC SHANNON LAW FIRM            100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
DAVID ROY
ADAMS HOWARD W (451963) ‐ CROOKS    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
LOUIS M
ADAMS HOWARD W (451963) ‐ CROSBY    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
WILMER R
ADAMS HOWARD W (451963) ‐ CRYSTAIN SHANNON LAW FIRM            100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
VIOLA L
ADAMS HOWARD W (451963) ‐ CUPIT ROY SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
G
ADAMS HOWARD W (451963) ‐ CUPSTID   SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
RICHARD WAYNE
ADAMS HOWARD W (451963) ‐ CURLEE    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
RAY BRUCE
ADAMS HOWARD W (451963) ‐ CURTIS    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
MAGGIE L
ADAMS HOWARD W (451963) ‐ DANIEL    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
RALPH
ADAMS HOWARD W (451963) ‐ DANIEL    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ROSE M
ADAMS HOWARD W (451963) ‐ DANIELS   SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JOHN HENRY
ADAMS HOWARD W (451963) ‐ DANIELS   SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JOHN HUTTON
                                      09-50026-mg        Doc 7123-3    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit B
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Name                                  Address1                   Address2               Address3         Address4               City         State Zip
ADAMS HOWARD W (451963) ‐ DARDEN      SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST    MS 39083‐3007
CASSIE LEE BANKS
ADAMS HOWARD W (451963) ‐ DAVIDSON    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
CHARLES O
ADAMS HOWARD W (451963) ‐ DAVIES      SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
FRANCIS
ADAMS HOWARD W (451963) ‐ DAVIS       SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
BESSIE
ADAMS HOWARD W (451963) ‐ DAVIS       SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
EMMA R
ADAMS HOWARD W (451963) ‐ DAVIS       SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JAMES EARL
ADAMS HOWARD W (451963) ‐ DAVIS JOE   SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007

ADAMS HOWARD W (451963) ‐ DAVIS       SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
LEON
ADAMS HOWARD W (451963) ‐ DAVIS       SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
PERLIE LEE
ADAMS HOWARD W (451963) ‐ DAVIS       SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ROGER A
ADAMS HOWARD W (451963) ‐ DAWSON      SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ANTHONY C
ADAMS HOWARD W (451963) ‐ DAYTON      SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
DAVID L
ADAMS HOWARD W (451963) ‐ DEATON      SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
DON
ADAMS HOWARD W (451963) ‐ DEE LEVI    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007

ADAMS HOWARD W (451963) ‐ DEE RUBY J SHANNON LAW FIRM            100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007

ADAMS HOWARD W (451963) ‐ DELANEY SHANNON LAW FIRM               100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JAMES E
ADAMS HOWARD W (451963) ‐ DELOZIER SHANNON LAW FIRM              100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JOHNNIE KENNETH
ADAMS HOWARD W (451963) ‐ DERBY     SHANNON LAW FIRM             100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
BEULAH M
ADAMS HOWARD W (451963) ‐ DILLON    SHANNON LAW FIRM             100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
GRACE
ADAMS HOWARD W (451963) ‐ DIXON     SHANNON LAW FIRM             100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
LEANDRO L
ADAMS HOWARD W (451963) ‐ DOBY      SHANNON LAW FIRM             100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JUANITA
ADAMS HOWARD W (451963) ‐ DODD      SHANNON LAW FIRM             100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ROBERT L
ADAMS HOWARD W (451963) ‐ DOOLITTLE SHANNON LAW FIRM             100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
WAYNE H
ADAMS HOWARD W (451963) ‐ DORSEY    SHANNON LAW FIRM             100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
BRENDA D
ADAMS HOWARD W (451963) ‐ DORSEY    SHANNON LAW FIRM             100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
EDDIE LEE
ADAMS HOWARD W (451963) ‐ DORSEY    SHANNON LAW FIRM             100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
GLENDIA RUTH
ADAMS HOWARD W (451963) ‐ DORSEY    SHANNON LAW FIRM             100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
PARA LEE
                                       09-50026-mg        Doc 7123-3    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit B
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Name                                   Address1                   Address2               Address3         Address4               City         State Zip
ADAMS HOWARD W (451963) ‐ DOSS ROY     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST    MS 39083‐3007

ADAMS HOWARD W (451963) ‐ DOSS         SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
WILLIE
ADAMS HOWARD W (451963) ‐ DOTSON       SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JULIA B
ADAMS HOWARD W (451963) ‐ DOUGHTY      SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
LYNDA H
ADAMS HOWARD W (451963) ‐ DOUGHTY      SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
WALTER A
ADAMS HOWARD W (451963) ‐ DOUGLAS      SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
CHARLES
ADAMS HOWARD W (451963) ‐ DOUGLAS      SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JAMES
ADAMS HOWARD W (451963) ‐ DUFFIN       SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
EDDIE
ADAMS HOWARD W (451963) ‐ DUNAWAY      SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
GARY
ADAMS HOWARD W (451963) ‐ DUNGAN       SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JUDY A
ADAMS HOWARD W (451963) ‐ DUNKLEY      SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
SHELVEY J
ADAMS HOWARD W (451963) ‐ DUNMORE      SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
CURTIS
ADAMS HOWARD W (451963) ‐ DUNMORE      SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
LOUISE
ADAMS HOWARD W (451963) ‐ DUNN         SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
VANCE BUREN
ADAMS HOWARD W (451963) ‐ DUNSON       SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ALFRED LYNN
ADAMS HOWARD W (451963) ‐ DURKIN       SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
RICHARD MARTIN
ADAMS HOWARD W (451963) ‐ DYSON        SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ALICE R
ADAMS HOWARD W (451963) ‐ EALEY        SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
EDWARD
ADAMS HOWARD W (451963) ‐ EALEY Y.Z.   SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007

ADAMS HOWARD W (451963) ‐ EARL SAM     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007

ADAMS HOWARD W (451963) ‐ EDWARDS SHANNON LAW FIRM                100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ALLEN LANE
ADAMS HOWARD W (451963) ‐ EDWARDS SHANNON LAW FIRM                100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
NOEL D
ADAMS HOWARD W (451963) ‐ EIDT      SHANNON LAW FIRM              100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
NANCY M
ADAMS HOWARD W (451963) ‐ ELLIS     SHANNON LAW FIRM              100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
EDWARD C
ADAMS HOWARD W (451963) ‐ ELLIS     SHANNON LAW FIRM              100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
EDWARD P
ADAMS HOWARD W (451963) ‐ ELLIS     SHANNON LAW FIRM              100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
WILLIE JOE
ADAMS HOWARD W (451963) ‐ ETHERIDGE SHANNON LAW FIRM              100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JOE PEARL
                                   09-50026-mg          Doc 7123-3    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit B
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Name                                 Address1                   Address2               Address3         Address4               City         State Zip
ADAMS HOWARD W (451963) ‐ ETHERIDGE SHANNON LAW FIRM            100 W GALLATIN ST                                              HAZLEHURST    MS 39083‐3007
VANDER C
ADAMS HOWARD W (451963) ‐ EVANS      SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
CARLTON
ADAMS HOWARD W (451963) ‐ EVANS LEE SHANNON LAW FIRM            100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
E
ADAMS HOWARD W (451963) ‐ EVANS      SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
LEONIA A
ADAMS HOWARD W (451963) ‐ EVANS      SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
RICKY LEE
ADAMS HOWARD W (451963) ‐ EZELL LENA SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
MARIE
ADAMS HOWARD W (451963) ‐ EZELL PAUL SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
K
ADAMS HOWARD W (451963) ‐ FARR       SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
LONNIE B
ADAMS HOWARD W (451963) ‐ FARRELL    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
CHARLES D
ADAMS HOWARD W (451963) ‐ FARRELL    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ELIZABETH JUNE
ADAMS HOWARD W (451963) ‐ FARRISH    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
NINA JEAN
ADAMS HOWARD W (451963) ‐ FELLS      SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ANNIE RUTH
ADAMS HOWARD W (451963) ‐ FELTON     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
CARL
ADAMS HOWARD W (451963) ‐ FELTON     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
CLARK
ADAMS HOWARD W (451963) ‐ FELTON     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
HESTER
ADAMS HOWARD W (451963) ‐ FELTON     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JAMES
ADAMS HOWARD W (451963) ‐ FELTON LEE SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
A
ADAMS HOWARD W (451963) ‐ FELTON     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
TOMMIE
ADAMS HOWARD W (451963) ‐ FERGUSON SHANNON LAW FIRM             100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
CLAYTON P
ADAMS HOWARD W (451963) ‐ FERGUSON SHANNON LAW FIRM             100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
HENRY F
ADAMS HOWARD W (451963) ‐ FERGUSON SHANNON LAW FIRM             100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
WILLIAM P
ADAMS HOWARD W (451963) ‐ FINN       SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
LUCIEN
ADAMS HOWARD W (451963) ‐ FLEMING SHANNON LAW FIRM              100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
DONALD
ADAMS HOWARD W (451963) ‐ FLEMING SHANNON LAW FIRM              100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
IDORSEY
ADAMS HOWARD W (451963) ‐ FLEMING SHANNON LAW FIRM              100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
LEROY
ADAMS HOWARD W (451963) ‐ FLEMING SHANNON LAW FIRM              100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
STEVE
ADAMS HOWARD W (451963) ‐ FLETCHER SHANNON LAW FIRM             100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ABE
                                     09-50026-mg        Doc 7123-3    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit B
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Name                                 Address1                   Address2               Address3         Address4               City         State Zip
ADAMS HOWARD W (451963) ‐ FLETCHER   SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST    MS 39083‐3007
ALMA H
ADAMS HOWARD W (451963) ‐ FLOYD      SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
THOMAS P
ADAMS HOWARD W (451963) ‐ FLYNN      SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
LINDA
ADAMS HOWARD W (451963) ‐ FORD       SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ERNEST
ADAMS HOWARD W (451963) ‐ FORD       SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JERRY D
ADAMS HOWARD W (451963) ‐ FORREST    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JERRY ALDEN
ADAMS HOWARD W (451963) ‐ FOSTER     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
GENE M
ADAMS HOWARD W (451963) ‐ FOSTER     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
PAUL L
ADAMS HOWARD W (451963) ‐ FRALEY     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ALBERT
ADAMS HOWARD W (451963) ‐ FRAZIER    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
GERALD D
ADAMS HOWARD W (451963) ‐ FRAZIER    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
SHIRLEY A
ADAMS HOWARD W (451963) ‐ FREEMAN    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ALAN LEON
ADAMS HOWARD W (451963) ‐ FREEMAN    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
J.R.
ADAMS HOWARD W (451963) ‐ FREEMAN    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JAMES
ADAMS HOWARD W (451963) ‐ FREEMAN    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JAMES J
ADAMS HOWARD W (451963) ‐ FREEMAN    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
RANDY LEE
ADAMS HOWARD W (451963) ‐ FREEMAN    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ROBERT
ADAMS HOWARD W (451963) ‐ FRENCH     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
RICHARD L
ADAMS HOWARD W (451963) ‐ FRISBY     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ALVIN
ADAMS HOWARD W (451963) ‐ FRYE       SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ADAM
ADAMS HOWARD W (451963) ‐ FRYE       SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
MARTHA A
ADAMS HOWARD W (451963) ‐ FULLER     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
MACK
ADAMS HOWARD W (451963) ‐ FULTON     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
LEROY
ADAMS HOWARD W (451963) ‐ FULTON     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
LORENSIE
ADAMS HOWARD W (451963) ‐ FULTON     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ROBBIE C
ADAMS HOWARD W (451963) ‐ FURR       SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
LARRY DALE
ADAMS HOWARD W (451963) ‐ GALLER     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
PATSY S
                                   09-50026-mg          Doc 7123-3    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit B
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Name                                Address1                    Address2               Address3         Address4               City         State Zip
ADAMS HOWARD W (451963) ‐ GALLOWAY SHANNON LAW FIRM             100 W GALLATIN ST                                              HAZLEHURST    MS 39083‐3007
DOUGLAS M
ADAMS HOWARD W (451963) ‐ GALTNEY SHANNON LAW FIRM              100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
THELMA L
ADAMS HOWARD W (451963) ‐ GARNER    SHANNON LAW FIRM            100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ALBERT C
ADAMS HOWARD W (451963) ‐ GARNER    SHANNON LAW FIRM            100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
BOBBIE
ADAMS HOWARD W (451963) ‐ GATES SAM SHANNON LAW FIRM            100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
W
ADAMS HOWARD W (451963) ‐ GAYLOR    SHANNON LAW FIRM            100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ADOLPH
ADAMS HOWARD W (451963) ‐ GAYLOR    SHANNON LAW FIRM            100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
WILLIE
ADAMS HOWARD W (451963) ‐ GERMANY SHANNON LAW FIRM              100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JUDY
ADAMS HOWARD W (451963) ‐ GIBSON    SHANNON LAW FIRM            100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
AMOS DAVID
ADAMS HOWARD W (451963) ‐ GIBSON    SHANNON LAW FIRM            100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
CURTIS EDWARD
ADAMS HOWARD W (451963) ‐ GIBSON    SHANNON LAW FIRM            100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JEFF
ADAMS HOWARD W (451963) ‐ GIBSON UL SHANNON LAW FIRM            100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007

ADAMS HOWARD W (451963) ‐ GIBSON     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
WILLIE
ADAMS HOWARD W (451963) ‐ GILBERT    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ROBERT
ADAMS HOWARD W (451963) ‐ GILES      SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
HAROLD L
ADAMS HOWARD W (451963) ‐ GILMORE SHANNON LAW FIRM              100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
DAISEY
ADAMS HOWARD W (451963) ‐ GILMORE SHANNON LAW FIRM              100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
MARY S
ADAMS HOWARD W (451963) ‐ GIVENS     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
INETTA
ADAMS HOWARD W (451963) ‐ GLOPPE     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ELMER T
ADAMS HOWARD W (451963) ‐ GLOVER ELI SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
PAUL
ADAMS HOWARD W (451963) ‐ GODBOLD SHANNON LAW FIRM              100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
PHILIP
ADAMS HOWARD W (451963) ‐ GOFF GARY SHANNON LAW FIRM            100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
WILLIAM
ADAMS HOWARD W (451963) ‐ GOFORTH SHANNON LAW FIRM              100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
GEORGE R
ADAMS HOWARD W (451963) ‐ GOLDMAN SHANNON LAW FIRM              100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JAMES M
ADAMS HOWARD W (451963) ‐ GOLDMAN SHANNON LAW FIRM              100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JERRY A
ADAMS HOWARD W (451963) ‐ GOOD       SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
CHARLES EDWARD
ADAMS HOWARD W (451963) ‐ GOOD       SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
THOMAS
                                    09-50026-mg         Doc 7123-3    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit B
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Name                                 Address1                   Address2               Address3         Address4               City         State Zip
ADAMS HOWARD W (451963) ‐ GOODMAN SHANNON LAW FIRM              100 W GALLATIN ST                                              HAZLEHURST    MS 39083‐3007
JACKIE
ADAMS HOWARD W (451963) ‐            SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
GOOSEBERRY MARY
ADAMS HOWARD W (451963) ‐ GOWINS     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JAMES LESTER
ADAMS HOWARD W (451963) ‐ GRANGER SHANNON LAW FIRM              100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ESSIE H
ADAMS HOWARD W (451963) ‐ GRANGER SHANNON LAW FIRM              100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JAMES G
ADAMS HOWARD W (451963) ‐ GRANGER SHANNON LAW FIRM              100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
RAIFORD JEAN
ADAMS HOWARD W (451963) ‐ GRAVES     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
MIKE PERRY
ADAMS HOWARD W (451963) ‐ GRAY       SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ERNEST
ADAMS HOWARD W (451963) ‐ GRAY       SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JANICE W
ADAMS HOWARD W (451963) ‐ GREEN      SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
EDDIE LEE
ADAMS HOWARD W (451963) ‐ GREEN      SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ERNEST
ADAMS HOWARD W (451963) ‐ GREEN      SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
FLEMING
ADAMS HOWARD W (451963) ‐ GREEN      SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JOHN
ADAMS HOWARD W (451963) ‐ GREEN      SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JULINE MARIE
ADAMS HOWARD W (451963) ‐ GREEN      SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
MICHAEL
ADAMS HOWARD W (451963) ‐ GREEN      SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
RAYMOND L
ADAMS HOWARD W (451963) ‐ GREEN      SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
RICHARD
ADAMS HOWARD W (451963) ‐ GREEN      SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ROBERT EARL
ADAMS HOWARD W (451963) ‐ GREEN      SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
RONALD L
ADAMS HOWARD W (451963) ‐ GREEN      SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
VINCENT R
ADAMS HOWARD W (451963) ‐ GRIFFIN    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ALBERT
ADAMS HOWARD W (451963) ‐ GRIFFIN    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
EDWAR
ADAMS HOWARD W (451963) ‐ GRIFFIN    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ROGERS L
ADAMS HOWARD W (451963) ‐ GROOM      SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
CHARLES F
ADAMS HOWARD W (451963) ‐ GUNTER     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
CECIL
ADAMS HOWARD W (451963) ‐ HAIR JOE C SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007

ADAMS HOWARD W (451963) ‐ HALFORD   SHANNON LAW FIRM            100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JAMES
                                   09-50026-mg          Doc 7123-3    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit B
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Name                                 Address1                   Address2               Address3         Address4               City         State Zip
ADAMS HOWARD W (451963) ‐ HALL       SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST    MS 39083‐3007
CLIFTON
ADAMS HOWARD W (451963) ‐ HALL       SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ERNEST CARLTON
ADAMS HOWARD W (451963) ‐ HALL       SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
GLENN ALAN
ADAMS HOWARD W (451963) ‐ HALL JERRY SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
W
ADAMS HOWARD W (451963) ‐ HALL       SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JIMMY
ADAMS HOWARD W (451963) ‐ HALL       SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
MICHAEL
ADAMS HOWARD W (451963) ‐ HALL       SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
RODNEY D
ADAMS HOWARD W (451963) ‐ HAMMETT SHANNON LAW FIRM              100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
CLAUDE RAY
ADAMS HOWARD W (451963) ‐            SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
HAMMETTE DOROTHY
ADAMS HOWARD W (451963) ‐ HAMMILL SHANNON LAW FIRM              100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
CHARLES EDWARD
ADAMS HOWARD W (451963) ‐ HAMMITT SHANNON LAW FIRM              100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
WILLIE JOE
ADAMS HOWARD W (451963) ‐ HAMMITTE SHANNON LAW FIRM             100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
CARL
ADAMS HOWARD W (451963) ‐ HANCOCK SHANNON LAW FIRM              100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
WILLIAM
ADAMS HOWARD W (451963) ‐ HANDJIS    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JAMES
ADAMS HOWARD W (451963) ‐ HARDIN     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
SYLVESTER
ADAMS HOWARD W (451963) ‐ HARGRAVE SHANNON LAW FIRM             100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
EDDIE
ADAMS HOWARD W (451963) ‐ HARGRAVE SHANNON LAW FIRM             100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
PAUL C
ADAMS HOWARD W (451963) ‐ HARGRAVE SHANNON LAW FIRM             100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ROBERT LEE
ADAMS HOWARD W (451963) ‐ HARPER     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
BOBBY FRANK
ADAMS HOWARD W (451963) ‐ HARRELL    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
MARTIN ALFRED
ADAMS HOWARD W (451963) ‐ HARRIED    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JOSEPHINE
ADAMS HOWARD W (451963) ‐ HARRIS     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ALEX
ADAMS HOWARD W (451963) ‐ HARRIS     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
BEVERLY S
ADAMS HOWARD W (451963) ‐ HARRIS     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
CALVIN
ADAMS HOWARD W (451963) ‐ HARRIS     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
CLARENCE
ADAMS HOWARD W (451963) ‐ HARRIS     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
FOREST E
ADAMS HOWARD W (451963) ‐ HARRIS     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
HENRY
                                      09-50026-mg        Doc 7123-3    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit B
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Name                                  Address1                   Address2               Address3         Address4               City         State Zip
ADAMS HOWARD W (451963) ‐ HARRIS      SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST    MS 39083‐3007
RAY C
ADAMS HOWARD W (451963) ‐ HARRIS      SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
REGINALD
ADAMS HOWARD W (451963) ‐ HARRIS      SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ROBERT
ADAMS HOWARD W (451963) ‐ HARRIS      SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
TED F
ADAMS HOWARD W (451963) ‐ HARVARD     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JESSE
ADAMS HOWARD W (451963) ‐             SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
HAWTHORNE EDDIE M
ADAMS HOWARD W (451963) ‐ HAZEL LEE   SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007

ADAMS HOWARD W (451963) ‐ HEDGLIN SHANNON LAW FIRM               100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
DANNY GERALD
ADAMS HOWARD W (451963) ‐ HEDRICK    SHANNON LAW FIRM            100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JAMES E
ADAMS HOWARD W (451963) ‐ HEDRICK    SHANNON LAW FIRM            100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
WILLIE D
ADAMS HOWARD W (451963) ‐            SHANNON LAW FIRM            100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
HENDERSON MARION MARK
ADAMS HOWARD W (451963) ‐ HENRY      SHANNON LAW FIRM            100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
RICHARD O
ADAMS HOWARD W (451963) ‐ HERBERT SHANNON LAW FIRM               100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
RONNIE LEE
ADAMS HOWARD W (451963) ‐ HERRING SHANNON LAW FIRM               100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JAMES WESLEY
ADAMS HOWARD W (451963) ‐            SHANNON LAW FIRM            100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
HERRINGTON JEROME
ADAMS HOWARD W (451963) ‐            SHANNON LAW FIRM            100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
HERRINGTON JOANN
ADAMS HOWARD W (451963) ‐ HICKMAN SHANNON LAW FIRM               100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JACKIE T
ADAMS HOWARD W (451963) ‐ HIGDON     SHANNON LAW FIRM            100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JOHNNY
ADAMS HOWARD W (451963) ‐            SHANNON LAW FIRM            100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
HIGGINBOTHAM HUGH D
ADAMS HOWARD W (451963) ‐ HILL JERRY SHANNON LAW FIRM            100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
LEE
ADAMS HOWARD W (451963) ‐ HILL       SHANNON LAW FIRM            100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
SAMMIE E
ADAMS HOWARD W (451963) ‐ HINES      SHANNON LAW FIRM            100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
FRANCIS
ADAMS HOWARD W (451963) ‐ HINSON     SHANNON LAW FIRM            100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
BUELL
ADAMS HOWARD W (451963) ‐ HINSON     SHANNON LAW FIRM            100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ELDRIDGE R
ADAMS HOWARD W (451963) ‐ HOBBS      SHANNON LAW FIRM            100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
MARION B
ADAMS HOWARD W (451963) ‐ HOBBS      SHANNON LAW FIRM            100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
SAMUEL
ADAMS HOWARD W (451963) ‐ HOLLOWAY SHANNON LAW FIRM              100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ALGY W
                                     09-50026-mg        Doc 7123-3    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit B
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Name                                 Address1                   Address2               Address3         Address4               City         State Zip
ADAMS HOWARD W (451963) ‐ HOLMES     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST    MS 39083‐3007
EDWIN
ADAMS HOWARD W (451963) ‐ HOLMES     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JAMES A
ADAMS HOWARD W (451963) ‐ HOLMES     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
LEROY
ADAMS HOWARD W (451963) ‐ HORN       SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
CHARLIE CLYDE
ADAMS HOWARD W (451963) ‐ HORNE      SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
CLAUDE RUTLEDGE
ADAMS HOWARD W (451963) ‐ HORSLEY    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
LARRY
ADAMS HOWARD W (451963) ‐ HOUCK      SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
DONALD L
ADAMS HOWARD W (451963) ‐ HOWARD     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
SHARRON JEAN
ADAMS HOWARD W (451963) ‐ HUDSON     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
CORNIE
ADAMS HOWARD W (451963) ‐ HUDSON     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
WILLIAM H
ADAMS HOWARD W (451963) ‐ HUFF       SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
GRADY
ADAMS HOWARD W (451963) ‐ HUFF       SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JAMES F
ADAMS HOWARD W (451963) ‐ HUFF       SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ROBERT GLEN
ADAMS HOWARD W (451963) ‐ HUGHES     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
WILLIE
ADAMS HOWARD W (451963) ‐ HUNT       SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
CLEVELAND ALBERT
ADAMS HOWARD W (451963) ‐ HUNT       SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
EDWRINA E
ADAMS HOWARD W (451963) ‐ HUNT       SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
LARRY J
ADAMS HOWARD W (451963) ‐ HUNT       SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
RANDY KEN
ADAMS HOWARD W (451963) ‐ HUNTER     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
DONALD M
ADAMS HOWARD W (451963) ‐ HUNTER     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
WILLIE
ADAMS HOWARD W (451963) ‐ HUTCHINS   SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JOSEPH
ADAMS HOWARD W (451963) ‐ IDOM       SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JOAN
ADAMS HOWARD W (451963) ‐ INGELS     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
GEORGE J
ADAMS HOWARD W (451963) ‐ IRVING     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
EVERLEAN
ADAMS HOWARD W (451963) ‐ ISAAC      SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
WILLIE B
ADAMS HOWARD W (451963) ‐ IVEY       SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
TOMMY L
ADAMS HOWARD W (451963) ‐ IVORY      SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
DELORES
                                    09-50026-mg        Doc 7123-3    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit B
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Name                                Address1                   Address2               Address3         Address4               City         State Zip
ADAMS HOWARD W (451963) ‐ JACKSON   SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST    MS 39083‐3007
CURTIS
ADAMS HOWARD W (451963) ‐ JACKSON   SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
EDGAR
ADAMS HOWARD W (451963) ‐ JACKSON   SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ELBERT L
ADAMS HOWARD W (451963) ‐ JACKSON   SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
EMMETT M
ADAMS HOWARD W (451963) ‐ JACKSON   SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
EUGENE
ADAMS HOWARD W (451963) ‐ JACKSON   SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
GEORGE
ADAMS HOWARD W (451963) ‐ JACKSON   SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
HANSEL
ADAMS HOWARD W (451963) ‐ JACKSON   SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
HERBERT
ADAMS HOWARD W (451963) ‐ JACKSON   SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
LEONARD D
ADAMS HOWARD W (451963) ‐ JACKSON   SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
OVALIE JOHN
ADAMS HOWARD W (451963) ‐ JACKSON   SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
SUSIE M
ADAMS HOWARD W (451963) ‐ JACKSON   SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
WHARLEST
ADAMS HOWARD W (451963) ‐ JAMES     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
CARL
ADAMS HOWARD W (451963) ‐ JAMES     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
MILTON
ADAMS HOWARD W (451963) ‐ JAMISON   SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
LESLIE DALE
ADAMS HOWARD W (451963) ‐ JENKINS   SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JOSIE MAE
ADAMS HOWARD W (451963) ‐ JENKINS   SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ORNSBY
ADAMS HOWARD W (451963) ‐ JENKINS   SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
RICHARD
ADAMS HOWARD W (451963) ‐ JOHNSON   SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ALFONSO D
ADAMS HOWARD W (451963) ‐ JOHNSON   SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
CARL
ADAMS HOWARD W (451963) ‐ JOHNSON   SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
CHARLES K
ADAMS HOWARD W (451963) ‐ JOHNSON   SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
CHARLIE
ADAMS HOWARD W (451963) ‐ JOHNSON   SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
DONALD GLEN
ADAMS HOWARD W (451963) ‐ JOHNSON   SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
EDDIE L
ADAMS HOWARD W (451963) ‐ JOHNSON   SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ELTON
ADAMS HOWARD W (451963) ‐ JOHNSON   SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ERNEST
ADAMS HOWARD W (451963) ‐ JOHNSON   SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
KENNETH R
                                      09-50026-mg        Doc 7123-3    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit B
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Name                                  Address1                   Address2               Address3         Address4               City         State Zip
ADAMS HOWARD W (451963) ‐ JOHNSON     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST    MS 39083‐3007
ROGER DALE
ADAMS HOWARD W (451963) ‐ JOHNSON     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ROOSEVELT
ADAMS HOWARD W (451963) ‐ JOHNSON     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
S.D.
ADAMS HOWARD W (451963) ‐ JOHNSON     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
TERRY
ADAMS HOWARD W (451963) ‐ JOHNSON     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
WALTER J
ADAMS HOWARD W (451963) ‐ JONES       SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ALBERT LEE
ADAMS HOWARD W (451963) ‐ JONES       SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
BENNIE
ADAMS HOWARD W (451963) ‐ JONES       SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
BOBBIE J
ADAMS HOWARD W (451963) ‐ JONES       SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
BUSTER FRANKLIN
ADAMS HOWARD W (451963) ‐ JONES       SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
CLIFFORD JAMES
ADAMS HOWARD W (451963) ‐ JONES       SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
DONALD VICTOR
ADAMS HOWARD W (451963) ‐ JONES       SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JAMES FRANK
ADAMS HOWARD W (451963) ‐ JONES JOE   SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007

ADAMS HOWARD W (451963) ‐ JONES     SHANNON LAW FIRM             100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JOHNNY
ADAMS HOWARD W (451963) ‐ JONES     SHANNON LAW FIRM             100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
MERRICK
ADAMS HOWARD W (451963) ‐ JONES     SHANNON LAW FIRM             100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
NATHANIEL C
ADAMS HOWARD W (451963) ‐ JONES     SHANNON LAW FIRM             100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
PENDLETON
ADAMS HOWARD W (451963) ‐ JONES     SHANNON LAW FIRM             100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ROBERT D
ADAMS HOWARD W (451963) ‐ JONES SAM SHANNON LAW FIRM             100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007

ADAMS HOWARD W (451963) ‐ JONES      SHANNON LAW FIRM            100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
SHIRLEY
ADAMS HOWARD W (451963) ‐ JONES      SHANNON LAW FIRM            100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
STANFORD
ADAMS HOWARD W (451963) ‐ JONES      SHANNON LAW FIRM            100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
THEODORE
ADAMS HOWARD W (451963) ‐ JONES      SHANNON LAW FIRM            100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
WILLIE
ADAMS HOWARD W (451963) ‐ JORDAN     SHANNON LAW FIRM            100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JEFF WADE
ADAMS HOWARD W (451963) ‐ JOY RUTHIE SHANNON LAW FIRM            100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007

ADAMS HOWARD W (451963) ‐ KAHO        SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
DONALD
ADAMS HOWARD W (451963) ‐ KAHO        SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ELBERT
                                   09-50026-mg          Doc 7123-3    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit B
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Name                                 Address1                   Address2               Address3         Address4               City         State Zip
ADAMS HOWARD W (451963) ‐ KAHO       SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST    MS 39083‐3007
HENRY
ADAMS HOWARD W (451963) ‐ KAHO       SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
HERMAN
ADAMS HOWARD W (451963) ‐ KEMP       SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
MELINDA
ADAMS HOWARD W (451963) ‐ KENNEDY SHANNON LAW FIRM              100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
WILLIAM D
ADAMS HOWARD W (451963) ‐ KING EDDIE SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007

ADAMS HOWARD W (451963) ‐ KING     SHANNON LAW FIRM             100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JAMES GARRY
ADAMS HOWARD W (451963) ‐ KING     SHANNON LAW FIRM             100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
LEROY
ADAMS HOWARD W (451963) ‐ KING     SHANNON LAW FIRM             100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
PHENEOUS J
ADAMS HOWARD W (451963) ‐          SHANNON LAW FIRM             100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
KINNEBREW WALTER L
ADAMS HOWARD W (451963) ‐ KIRBY    SHANNON LAW FIRM             100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
RICHARD N
ADAMS HOWARD W (451963) ‐ KIRK     SHANNON LAW FIRM             100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
STEPHEN D
ADAMS HOWARD W (451963) ‐ KITTRELL SHANNON LAW FIRM             100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
WILLIAM H
ADAMS HOWARD W (451963) ‐ KNIGHT   SHANNON LAW FIRM             100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ALBERT
ADAMS HOWARD W (451963) ‐ KNIGHT   SHANNON LAW FIRM             100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
DANIEL W
ADAMS HOWARD W (451963) ‐ KNIGHT   SHANNON LAW FIRM             100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
HARRISON
ADAMS HOWARD W (451963) ‐ KNIGHT   SHANNON LAW FIRM             100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JOSEPH
ADAMS HOWARD W (451963) ‐ KOTYNIA  SHANNON LAW FIRM             100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
RICHARD E
ADAMS HOWARD W (451963) ‐ KRIZE    SHANNON LAW FIRM             100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
FRANK
ADAMS HOWARD W (451963) ‐ KYZAR    SHANNON LAW FIRM             100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
CAMILLE C
ADAMS HOWARD W (451963) ‐ KYZAR    SHANNON LAW FIRM             100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
PAUL
ADAMS HOWARD W (451963) ‐ LAIRD    SHANNON LAW FIRM             100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
HENDRICK J
ADAMS HOWARD W (451963) ‐ LANDERS SHANNON LAW FIRM              100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
FRED
ADAMS HOWARD W (451963) ‐ LAWRENCE SHANNON LAW FIRM             100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
EDWIN E
ADAMS HOWARD W (451963) ‐ LEACH    SHANNON LAW FIRM             100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
LESTER
ADAMS HOWARD W (451963) ‐ LEAKE    SHANNON LAW FIRM             100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ANTHONY
ADAMS HOWARD W (451963) ‐ LEMOINE SHANNON LAW FIRM              100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
DONALD J
ADAMS HOWARD W (451963) ‐ LEWIS    SHANNON LAW FIRM             100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JAMES
                                   09-50026-mg         Doc 7123-3    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit B
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Name                                Address1                   Address2               Address3         Address4               City         State Zip
ADAMS HOWARD W (451963) ‐ LEWIS SAM SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST    MS 39083‐3007
W
ADAMS HOWARD W (451963) ‐ LIPSEY    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
AUBREY LEE
ADAMS HOWARD W (451963) ‐ LITTLETON SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
GARY DEWAYNE
ADAMS HOWARD W (451963) ‐ LOFTON    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
L.C.
ADAMS HOWARD W (451963) ‐ LOGAN     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
CHARLES A
ADAMS HOWARD W (451963) ‐ LOGAN     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JAMES
ADAMS HOWARD W (451963) ‐ LOGAN     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JOHN W
ADAMS HOWARD W (451963) ‐ LONG      SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
LORRAINE
ADAMS HOWARD W (451963) ‐ LONIGRO SHANNON LAW FIRM             100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
FLOY JEAN
ADAMS HOWARD W (451963) ‐ LOVE      SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JIMMIE L
ADAMS HOWARD W (451963) ‐ LOWE      SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ROBERT LEE
ADAMS HOWARD W (451963) ‐ LOWE      SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
WILLIE
ADAMS HOWARD W (451963) ‐ LOWRY     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
PATRICIA A
ADAMS HOWARD W (451963) ‐ LUCAS     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
LOUISE
ADAMS HOWARD W (451963) ‐ LUCAS     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
TONY LEE
ADAMS HOWARD W (451963) ‐ LYLES     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
FRANK
ADAMS HOWARD W (451963) ‐ LYLES     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
HERMAN
ADAMS HOWARD W (451963) ‐ LYLES     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JERRY
ADAMS HOWARD W (451963) ‐ MACKEL    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
MICHAEL
ADAMS HOWARD W (451963) ‐ MADDOX SHANNON LAW FIRM              100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
BARBARA S
ADAMS HOWARD W (451963) ‐ MAGEE JOE SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
A
ADAMS HOWARD W (451963) ‐ MAGEE     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
TOMMIE E
ADAMS HOWARD W (451963) ‐ MALLORY SHANNON LAW FIRM             100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ERNEST V
ADAMS HOWARD W (451963) ‐ MARSHALL SHANNON LAW FIRM            100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
STANLEY
ADAMS HOWARD W (451963) ‐ MARTIN    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
EARL M
ADAMS HOWARD W (451963) ‐ MARTIN    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
RODNEY A
ADAMS HOWARD W (451963) ‐ MASON     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
FRANK O
                                   09-50026-mg         Doc 7123-3    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit B
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Name                                Address1                   Address2               Address3         Address4               City         State Zip
ADAMS HOWARD W (451963) ‐ MASON     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST    MS 39083‐3007
WILLIE
ADAMS HOWARD W (451963) ‐           SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
MATTHEWS JAMES H
ADAMS HOWARD W (451963) ‐           SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
MATTHEWS P.L.
ADAMS HOWARD W (451963) ‐           SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
MATTHEWS RODGER DALE
ADAMS HOWARD W (451963) ‐ MAY       SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
CHARLES C
ADAMS HOWARD W (451963) ‐ MAYBERRY SHANNON LAW FIRM            100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
WANDA
ADAMS HOWARD W (451963) ‐ MAYS      SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
CAROLYN M
ADAMS HOWARD W (451963) ‐ MCBRIDE SHANNON LAW FIRM             100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
WILLARD
ADAMS HOWARD W (451963) ‐ MCCALL    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
DANIEL P
ADAMS HOWARD W (451963) ‐           SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
MCCASKELL FLOYD KENNETH
ADAMS HOWARD W (451963) ‐ MCCLERKIN SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
SHIRLEY M
ADAMS HOWARD W (451963) ‐ MCCOY     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
FLORASTEEN E
ADAMS HOWARD W (451963) ‐ MCCOY     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JOSEPH
ADAMS HOWARD W (451963) ‐ MCCOY     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
THOMAS E
ADAMS HOWARD W (451963) ‐ MCCREADY SHANNON LAW FIRM            100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JOHN
ADAMS HOWARD W (451963) ‐ MCCULLEN SHANNON LAW FIRM            100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
LEE ANDREW
ADAMS HOWARD W (451963) ‐ MCCURLEY SHANNON LAW FIRM            100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
RONALD
ADAMS HOWARD W (451963) ‐ MCDANIEL SHANNON LAW FIRM            100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ALFRED DENNIS
ADAMS HOWARD W (451963) ‐ MCDANIEL SHANNON LAW FIRM            100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
LLOYD WINFORD
ADAMS HOWARD W (451963) ‐           SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
MCDONALD VERNELL
ADAMS HOWARD W (451963) ‐ MCDUFFIE SHANNON LAW FIRM            100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JOHN WILSON
ADAMS HOWARD W (451963) ‐ MCGREW SHANNON LAW FIRM              100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
HERMAN
ADAMS HOWARD W (451963) ‐ MCGRIGGS SHANNON LAW FIRM            100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
CLARA MAE
ADAMS HOWARD W (451963) ‐           SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
MCKLEMURRY JAMES
ADAMS HOWARD W (451963) ‐ MCKNIGHT SHANNON LAW FIRM            100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
CARL J
ADAMS HOWARD W (451963) ‐ MCMORRIS SHANNON LAW FIRM            100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
CHARLES D
ADAMS HOWARD W (451963) ‐ MCMURRY SHANNON LAW FIRM             100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
CHARLES E
                                      09-50026-mg        Doc 7123-3    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit B
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Name                                  Address1                   Address2               Address3         Address4               City         State Zip
ADAMS HOWARD W (451963) ‐ MCNEALY     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST    MS 39083‐3007
WILLIAM
ADAMS HOWARD W (451963) ‐             SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
MCQUARTERS ALEXANDER
ADAMS HOWARD W (451963) ‐             SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
MCQUARTERS CLARENCE
ADAMS HOWARD W (451963) ‐             SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
MCQUARTERS FRANK
ADAMS HOWARD W (451963) ‐ MERRICK     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JOE
ADAMS HOWARD W (451963) ‐ MERRITT     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
DELCY RAY
ADAMS HOWARD W (451963) ‐             SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
MIDDLETON FELTON
ADAMS HOWARD W (451963) ‐ MILLER      SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
BARBARA JEAN
ADAMS HOWARD W (451963) ‐ MILLER      SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
BARBARA STOKES
ADAMS HOWARD W (451963) ‐ MILLER      SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
CHARLES E
ADAMS HOWARD W (451963) ‐ MILLER      SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JOHNNY LEE
ADAMS HOWARD W (451963) ‐ MILLER      SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JUNIOR
ADAMS HOWARD W (451963) ‐ MINOR       SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
CHARLES J.
ADAMS HOWARD W (451963) ‐ MINOR       SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
DAVID
ADAMS HOWARD W (451963) ‐ MINOR IKE   SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007

ADAMS HOWARD W (451963) ‐ MINOR       SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
LAWRENCE
ADAMS HOWARD W (451963) ‐ MINOR       SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
PRENTISS
ADAMS HOWARD W (451963) ‐ MINOR       SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
TONY
ADAMS HOWARD W (451963) ‐ MINOR       SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
WILLIE E
ADAMS HOWARD W (451963) ‐ MITCHELL    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
BOBBY GLYNN
ADAMS HOWARD W (451963) ‐ MITCHELL    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
BRENDA SUE
ADAMS HOWARD W (451963) ‐ MITCHELL    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
MARTHA
ADAMS HOWARD W (451963) ‐ MIZELL      SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
COLVIN L
ADAMS HOWARD W (451963) ‐ MIZELL      SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
GLENN M
ADAMS HOWARD W (451963) ‐ MOAK        SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ROBERT
ADAMS HOWARD W (451963) ‐ MONROE      SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
DAVID
ADAMS HOWARD W (451963) ‐             SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
MONTGOMERY ROBERT ALVIN
                                    09-50026-mg        Doc 7123-3    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit B
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Name                                Address1                   Address2               Address3         Address4               City         State Zip
ADAMS HOWARD W (451963) ‐ MOORE     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST    MS 39083‐3007
DAVID LAMAR
ADAMS HOWARD W (451963) ‐ MOORE     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ERNEST
ADAMS HOWARD W (451963) ‐ MOORE     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
IVORY
ADAMS HOWARD W (451963) ‐ MOORE     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JAMES W
ADAMS HOWARD W (451963) ‐ MOORE     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JOHNNIE
ADAMS HOWARD W (451963) ‐ MOORE     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
LENA MAE
ADAMS HOWARD W (451963) ‐ MOORE     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
LONNIE L
ADAMS HOWARD W (451963) ‐ MOORE     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ROBERT ISAAC
ADAMS HOWARD W (451963) ‐ MOORE     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ROGER
ADAMS HOWARD W (451963) ‐ MORACE    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
GARY L
ADAMS HOWARD W (451963) ‐ MORALES   SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JOHNNY
ADAMS HOWARD W (451963) ‐ MORGAN    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
BYRON LYNN
ADAMS HOWARD W (451963) ‐ MORRIS    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ETTA M
ADAMS HOWARD W (451963) ‐ MORRIS    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JOSEPH
ADAMS HOWARD W (451963) ‐ MORRIS    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
MICHAEL A
ADAMS HOWARD W (451963) ‐ MOSBY     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ALTON E
ADAMS HOWARD W (451963) ‐ MOSBY     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
PHILIP M
ADAMS HOWARD W (451963) ‐ MULLINS   SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
BILLY RAY
ADAMS HOWARD W (451963) ‐ MULLINS   SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
CHARLES R
ADAMS HOWARD W (451963) ‐ MULLINS   SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
FRANCIS DALE
ADAMS HOWARD W (451963) ‐ MULLINS   SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JAMES P
ADAMS HOWARD W (451963) ‐ MULLINS   SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
WILBER L
ADAMS HOWARD W (451963) ‐ MURRAY    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ETHEL A
ADAMS HOWARD W (451963) ‐ MURRAY    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
HERBERT
ADAMS HOWARD W (451963) ‐ MURRAY    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JOHN ROBERT
ADAMS HOWARD W (451963) ‐ MURRAY    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
PEGGY S
ADAMS HOWARD W (451963) ‐ MYERS     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
MARVIN E
                                    09-50026-mg        Doc 7123-3    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit B
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Name                                Address1                   Address2               Address3         Address4               City         State Zip
ADAMS HOWARD W (451963) ‐ MYERS     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST    MS 39083‐3007
TOMMY A
ADAMS HOWARD W (451963) ‐ MYLES     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JOHN
ADAMS HOWARD W (451963) ‐ NALL      SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
DEBRA KAY
ADAMS HOWARD W (451963) ‐ NEALY     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JOHN HENRY
ADAMS HOWARD W (451963) ‐ NEELY     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
WILLIAM ALLEN
ADAMS HOWARD W (451963) ‐ NELSON    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
CHARLES M
ADAMS HOWARD W (451963) ‐ NELSON    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
GWENDOLYN
ADAMS HOWARD W (451963) ‐ NELSON    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JOHNNIE R
ADAMS HOWARD W (451963) ‐ NELSON    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
PATRICIA ANN
ADAMS HOWARD W (451963) ‐ NELSON    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
WILLIAM R
ADAMS HOWARD W (451963) ‐ NETTLES   SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
HERMAN LEE
ADAMS HOWARD W (451963) ‐ NEVILL    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
LYNN N
ADAMS HOWARD W (451963) ‐           SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
NEWBORNE JOANNA
ADAMS HOWARD W (451963) ‐ NEWMAN    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
CHESTER
ADAMS HOWARD W (451963) ‐ NEWMAN    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
CLAUDE E
ADAMS HOWARD W (451963) ‐ NEWMAN    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JAMES D
ADAMS HOWARD W (451963) ‐ NICHOLS   SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JAKE L
ADAMS HOWARD W (451963) ‐ NORELL    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
CHARLIE LEE
ADAMS HOWARD W (451963) ‐ NORMAN    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
VALERIE D
ADAMS HOWARD W (451963) ‐ NUNNERY   SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ALTON
ADAMS HOWARD W (451963) ‐ ODOM      SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
MARTY LLOYD
ADAMS HOWARD W (451963) ‐ ODOMS     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
KENNETH
ADAMS HOWARD W (451963) ‐ ODOMS     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
MUDLIA LEE
ADAMS HOWARD W (451963) ‐ OLIER     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
CORA I
ADAMS HOWARD W (451963) ‐ OLINDE    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
DARYL L
ADAMS HOWARD W (451963) ‐ PAIGE     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
WILLIAM H
ADAMS HOWARD W (451963) ‐ PANDA     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
RONALD J
                                   09-50026-mg         Doc 7123-3    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit B
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Name                                Address1                   Address2               Address3         Address4               City         State Zip
ADAMS HOWARD W (451963) ‐ PARKER    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST    MS 39083‐3007
AARON M
ADAMS HOWARD W (451963) ‐ PARKER    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
FREDDIE LEE
ADAMS HOWARD W (451963) ‐ PARKER    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JAMES
ADAMS HOWARD W (451963) ‐ PARKER    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
TERRY L
ADAMS HOWARD W (451963) ‐ PARTRIDGE SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JUBAL L
ADAMS HOWARD W (451963) ‐ PATRICK   SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
KERRY B
ADAMS HOWARD W (451963) ‐ PATT      SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ROBERT L
ADAMS HOWARD W (451963) ‐           SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
PATTERSON ANDREW
ADAMS HOWARD W (451963) ‐           SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
PATTERSON ELVY
ADAMS HOWARD W (451963) ‐ PAUL      SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JAMES LEE
ADAMS HOWARD W (451963) ‐ PAUL      SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
MARCUS H
ADAMS HOWARD W (451963) ‐ PAYNE     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
CLIFFORD E
ADAMS HOWARD W (451963) ‐ PAYNE     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
LAWRENCE
ADAMS HOWARD W (451963) ‐ PAYTON    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JAMES S
ADAMS HOWARD W (451963) ‐ PEARSON SHANNON LAW FIRM             100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
HUGH
ADAMS HOWARD W (451963) ‐ PEEPLES   SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ROBERT
ADAMS HOWARD W (451963) ‐ PEEPLES   SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
TOMMY CLYDE
ADAMS HOWARD W (451963) ‐           SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
PENDLETON F.L.
ADAMS HOWARD W (451963) ‐           SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
PENNINGTON JAMES H
ADAMS HOWARD W (451963) ‐ PERKINS   SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
DAVID E
ADAMS HOWARD W (451963) ‐ PERKINS   SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
MOSE
ADAMS HOWARD W (451963) ‐ PERNELL   SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
GWENDOLYN
ADAMS HOWARD W (451963) ‐ PERRY     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
DAVID E
ADAMS HOWARD W (451963) ‐ PERRY     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
FRED D.
ADAMS HOWARD W (451963) ‐ PERRY     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
STANLEY E
ADAMS HOWARD W (451963) ‐ PEVEY     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JAMES
ADAMS HOWARD W (451963) ‐ PHIPPS    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ISAAC
                                      09-50026-mg        Doc 7123-3    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit B
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Name                                  Address1                   Address2               Address3         Address4               City         State Zip
ADAMS HOWARD W (451963) ‐ PHIPPS      SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST    MS 39083‐3007
O.W.
ADAMS HOWARD W (451963) ‐ PIPER       SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ELMER
ADAMS HOWARD W (451963) ‐ PLUMMER     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
CARL R
ADAMS HOWARD W (451963) ‐ PLUMMER     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
MINELL D
ADAMS HOWARD W (451963) ‐ POLAND      SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JACKIE RAY
ADAMS HOWARD W (451963) ‐ POLLARD     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
MICHAEL
ADAMS HOWARD W (451963) ‐ PORTER      SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
LILLIE
ADAMS HOWARD W (451963) ‐ POSEY       SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
KENNETH C
ADAMS HOWARD W (451963) ‐ PRATER      SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JIM
ADAMS HOWARD W (451963) ‐ PREE        SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
CLAUDE
ADAMS HOWARD W (451963) ‐ PREE        SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
WILLIE J
ADAMS HOWARD W (451963) ‐ PRICE       SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
EDWARD ODELL
ADAMS HOWARD W (451963) ‐ PRIEST      SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
TROY
ADAMS HOWARD W (451963) ‐ PROBY       SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ANTHONY R
ADAMS HOWARD W (451963) ‐ PROBY       SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JOHN HENRY
ADAMS HOWARD W (451963) ‐ PROFICE     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
CARL T
ADAMS HOWARD W (451963) ‐ PROFICE     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
WILLIE L
ADAMS HOWARD W (451963) ‐ PRUNTY      SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
OTIS KENNY
ADAMS HOWARD W (451963) ‐ PURSER      SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JOHN WAYNE
ADAMS HOWARD W (451963) ‐ PYLE EARL   SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007

ADAMS HOWARD W (451963) ‐ QUINN       SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ELISHA E
ADAMS HOWARD W (451963) ‐ RALEY       SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
NOEL J
ADAMS HOWARD W (451963) ‐ RAND        SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
TONY J
ADAMS HOWARD W (451963) ‐ RANDALL     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
CLANTON D
ADAMS HOWARD W (451963) ‐ RANKIN      SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
GROVER C
ADAMS HOWARD W (451963) ‐ RANKIN      SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
PEARLIA MAE
ADAMS HOWARD W (451963) ‐ RANSOM      SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
CORDELL
                                       09-50026-mg        Doc 7123-3    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit B
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Name                                 Address1                     Address2               Address3         Address4               City         State Zip
ADAMS HOWARD W (451963) ‐ RANSOM SHANNON LAW FIRM                 100 W GALLATIN ST                                              HAZLEHURST    MS 39083‐3007
JERRY LOUIS
ADAMS HOWARD W (451963) ‐ RATCLIFF SHANNON LAW FIRM               100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ANDREW M
ADAMS HOWARD W (451963) ‐ RATCLIFF SHANNON LAW FIRM               100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ERNEST J
ADAMS HOWARD W (451963) ‐ RATCLIFF SHANNON LAW FIRM               100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
RANDY BARNEY
ADAMS HOWARD W (451963) ‐ RATCLIFF SHANNON LAW FIRM               100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
WESLY
ADAMS HOWARD W (451963) ‐ RAWLES A SHANNON LAW FIRM               100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
M
ADAMS HOWARD W (451963) ‐ RAY CEDRIC SHANNON LAW FIRM             100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007

ADAMS HOWARD W (451963) ‐ RAYFORD SHANNON LAW FIRM                100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
CHARLES EDWARD
ADAMS HOWARD W (451963) ‐ REED         SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ALFRED
ADAMS HOWARD W (451963) ‐ REED         SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
BRYANT A
ADAMS HOWARD W (451963) ‐ REED CARL SHANNON LAW FIRM              100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
RAY
ADAMS HOWARD W (451963) ‐ REED         SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
WILLIE
ADAMS HOWARD W (451963) ‐ REUBEN       SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
MATTIE
ADAMS HOWARD W (451963) ‐ REYNOLDS SHANNON LAW FIRM               100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ABRAHAM
ADAMS HOWARD W (451963) ‐ RIALS        SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ROYCE
ADAMS HOWARD W (451963) ‐ RICE EDDIE SHANNON LAW FIRM             100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
LEE
ADAMS HOWARD W (451963) ‐ RILEY LILLIE SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007

ADAMS HOWARD W (451963) ‐ RIVET V.J.   SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007

ADAMS HOWARD W (451963) ‐ ROACH        SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JOHNIE
ADAMS HOWARD W (451963) ‐ ROBERTS      SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
DAN G
ADAMS HOWARD W (451963) ‐ ROBERTS      SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
DONALD GLENN
ADAMS HOWARD W (451963) ‐ ROBERTS      SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
GLENDA ANN
ADAMS HOWARD W (451963) ‐ ROBERTS      SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
TOMMY G
ADAMS HOWARD W (451963) ‐ ROBINSON     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
DARNELL
ADAMS HOWARD W (451963) ‐ ROBINSON     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
HENRY
ADAMS HOWARD W (451963) ‐ ROBINSON     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
LEE ROY
ADAMS HOWARD W (451963) ‐ ROBINSON     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
LUGENE
                                   09-50026-mg         Doc 7123-3    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit B
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Name                                Address1                   Address2               Address3         Address4               City         State Zip
ADAMS HOWARD W (451963) ‐ ROBINSON SHANNON LAW FIRM            100 W GALLATIN ST                                              HAZLEHURST    MS 39083‐3007
RONALD D
ADAMS HOWARD W (451963) ‐           SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
RODRIGUEZ JOHN M
ADAMS HOWARD W (451963) ‐ ROGILLIO SHANNON LAW FIRM            100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
STEVE
ADAMS HOWARD W (451963) ‐ ROUSE     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JOSEPH T
ADAMS HOWARD W (451963) ‐ ROUSE     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
WILLIAM
ADAMS HOWARD W (451963) ‐ ROWAN     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
CHRISTINA J
ADAMS HOWARD W (451963) ‐ ROWE      SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
DONALD EUGENE
ADAMS HOWARD W (451963) ‐ RUCKER    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JESSE E
ADAMS HOWARD W (451963) ‐ RYAN CARL SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
T
ADAMS HOWARD W (451963) ‐ RYAN      SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
DWIGHT C
ADAMS HOWARD W (451963) ‐ RYMER     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JAMES G
ADAMS HOWARD W (451963) ‐ RYMER     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JERRY M
ADAMS HOWARD W (451963) ‐ SADLER    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
RICHARD O
ADAMS HOWARD W (451963) ‐ SALYERS   SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
J.D.
ADAMS HOWARD W (451963) ‐ SAMPSON SHANNON LAW FIRM             100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
LENARD
ADAMS HOWARD W (451963) ‐ SANDEL    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
LEWIE FREDERICK
ADAMS HOWARD W (451963) ‐ SANDEL    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
RUDOLPH A
ADAMS HOWARD W (451963) ‐ SANDERS SHANNON LAW FIRM             100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JAMES E
ADAMS HOWARD W (451963) ‐ SANDERS SHANNON LAW FIRM             100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
VERONA E
ADAMS HOWARD W (451963) ‐ SANDIFER SHANNON LAW FIRM            100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
GARY ROSS
ADAMS HOWARD W (451963) ‐ SANFORD SHANNON LAW FIRM             100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
CLYDE LEROY
ADAMS HOWARD W (451963) ‐ SANFORD SHANNON LAW FIRM             100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
IRA
ADAMS HOWARD W (451963) ‐ SASHFRAS SHANNON LAW FIRM            100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
DAVE
ADAMS HOWARD W (451963) ‐           SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
SATTERWHITE DOUGLAS RAY
ADAMS HOWARD W (451963) ‐ SAXTON    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ELZY S
ADAMS HOWARD W (451963) ‐ SCOTT     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JOHN W
ADAMS HOWARD W (451963) ‐ SCOTT     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ORLANDO
                                   09-50026-mg          Doc 7123-3    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit B
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Name                                 Address1                   Address2               Address3         Address4               City         State Zip
ADAMS HOWARD W (451963) ‐ SCOTT      SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST    MS 39083‐3007
WAYNE
ADAMS HOWARD W (451963) ‐ SEAB       SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JAMES
ADAMS HOWARD W (451963) ‐ SEALE      SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
CLYDE DON
ADAMS HOWARD W (451963) ‐ SELLERS    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
WENDELL
ADAMS HOWARD W (451963) ‐ SEWELL     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
HENRY JAMES
ADAMS HOWARD W (451963) ‐ SHAW       SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JAMES A
ADAMS HOWARD W (451963) ‐ SHAW       SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
MATTEAL M
ADAMS HOWARD W (451963) ‐ SHELL      SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JOHN
ADAMS HOWARD W (451963) ‐ SHELTON SHANNON LAW FIRM              100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
DEBBIE
ADAMS HOWARD W (451963) ‐ SHELTON SHANNON LAW FIRM              100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
DORIS
ADAMS HOWARD W (451963) ‐ SHELTON SHANNON LAW FIRM              100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JAMES L
ADAMS HOWARD W (451963) ‐ SHEPHERD SHANNON LAW FIRM             100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JERRY
ADAMS HOWARD W (451963) ‐ SHORT      SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JAMES LOUIS
ADAMS HOWARD W (451963) ‐ SHORTER SHANNON LAW FIRM              100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
MARY
ADAMS HOWARD W (451963) ‐            SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
SHROPSHIRE ERNEST C
ADAMS HOWARD W (451963) ‐ SIKES      SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
DWAYNE T
ADAMS HOWARD W (451963) ‐ SIMS       SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ARADIA LAVERNE
ADAMS HOWARD W (451963) ‐ SIMS       SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JOSEPH
ADAMS HOWARD W (451963) ‐ SIMS TERRY SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
KEITH
ADAMS HOWARD W (451963) ‐ SINGLETON SHANNON LAW FIRM            100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
BARBARA
ADAMS HOWARD W (451963) ‐ SINGLETON SHANNON LAW FIRM            100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
CHARLES EDWARD
ADAMS HOWARD W (451963) ‐ SINGLETON SHANNON LAW FIRM            100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
CLARENCE
ADAMS HOWARD W (451963) ‐ SINGLETON SHANNON LAW FIRM            100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ELLA
ADAMS HOWARD W (451963) ‐ SMALL      SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
AZALEE
ADAMS HOWARD W (451963) ‐            SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
SMALLWOOD BILLY WAYNE
ADAMS HOWARD W (451963) ‐ SMITH      SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ALLEN W
ADAMS HOWARD W (451963) ‐ SMITH      SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
CALVIN D
                                    09-50026-mg        Doc 7123-3    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit B
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Name                                Address1                   Address2               Address3         Address4               City         State Zip
ADAMS HOWARD W (451963) ‐ SMITH     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST    MS 39083‐3007
DAVID
ADAMS HOWARD W (451963) ‐ SMITH     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
DAVID B
ADAMS HOWARD W (451963) ‐ SMITH     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
EARL RAY
ADAMS HOWARD W (451963) ‐ SMITH     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
EDRENA W
ADAMS HOWARD W (451963) ‐ SMITH     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ELLIS RAY
ADAMS HOWARD W (451963) ‐ SMITH     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
GEORGE E
ADAMS HOWARD W (451963) ‐ SMITH     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
GERALDINE
ADAMS HOWARD W (451963) ‐ SMITH     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
GLORIA J
ADAMS HOWARD W (451963) ‐ SMITH     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
HAROLD
ADAMS HOWARD W (451963) ‐ SMITH     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
HENRY LEE
ADAMS HOWARD W (451963) ‐ SMITH     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JOHN RAY
ADAMS HOWARD W (451963) ‐ SMITH     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
LEWIS A
ADAMS HOWARD W (451963) ‐ SMITH     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
MARION
ADAMS HOWARD W (451963) ‐ SMITH     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
MILTON
ADAMS HOWARD W (451963) ‐ SMITH     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
PATSY A
ADAMS HOWARD W (451963) ‐ SMITH     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ROBERT A
ADAMS HOWARD W (451963) ‐ SMITH     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ROBERT E
ADAMS HOWARD W (451963) ‐ SMITH     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
RONALD ALLEN
ADAMS HOWARD W (451963) ‐ SMITH     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
THOMAS C
ADAMS HOWARD W (451963) ‐ SMITH     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
TONY
ADAMS HOWARD W (451963) ‐ SMITH     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
VERNON TERRELL
ADAMS HOWARD W (451963) ‐ SMOOT     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
HENRY
ADAMS HOWARD W (451963) ‐ SNYDER    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
BESSIE
ADAMS HOWARD W (451963) ‐ SNYDER    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JOSEPH J
ADAMS HOWARD W (451963) ‐ SPENCER   SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ERNEST C
ADAMS HOWARD W (451963) ‐ STAGGS    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
HARRY LEE
ADAMS HOWARD W (451963) ‐ STAGGS    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
WILLIAM F
                                   09-50026-mg         Doc 7123-3    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit B
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Name                                Address1                   Address2               Address3         Address4               City         State Zip
ADAMS HOWARD W (451963) ‐           SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST    MS 39083‐3007
STALLWORTH ESTER
ADAMS HOWARD W (451963) ‐ STAMPLEY SHANNON LAW FIRM            100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
HARDY JAMES
ADAMS HOWARD W (451963) ‐ STAMPLEY SHANNON LAW FIRM            100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JESSE LOVELL
ADAMS HOWARD W (451963) ‐ STAMPLEY SHANNON LAW FIRM            100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JESSIE
ADAMS HOWARD W (451963) ‐ STAMPLEY SHANNON LAW FIRM            100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
KENNETH
ADAMS HOWARD W (451963) ‐ STAMPLEY SHANNON LAW FIRM            100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
MAC A
ADAMS HOWARD W (451963) ‐ STAMPLEY SHANNON LAW FIRM            100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
MILDRED H
ADAMS HOWARD W (451963) ‐ STARKS    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
DELLIE LEE
ADAMS HOWARD W (451963) ‐ STARKS    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
KENNETH
ADAMS HOWARD W (451963) ‐ STEELE    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
MARGARET ANN
ADAMS HOWARD W (451963) ‐ STEGALL   SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
HAROLD RAY
ADAMS HOWARD W (451963) ‐ STEPHENS SHANNON LAW FIRM            100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
RONNIE W
ADAMS HOWARD W (451963) ‐ STEVENS   SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
KENNETH L
ADAMS HOWARD W (451963) ‐ STEWART SHANNON LAW FIRM             100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ALVIN JOSEPH
ADAMS HOWARD W (451963) ‐ STEWART SHANNON LAW FIRM             100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ARLENE
ADAMS HOWARD W (451963) ‐ STEWART SHANNON LAW FIRM             100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ELMO
ADAMS HOWARD W (451963) ‐ STOVALL   SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
FRANK
ADAMS HOWARD W (451963) ‐ STOWERS SHANNON LAW FIRM             100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JERRY ALLEN
ADAMS HOWARD W (451963) ‐           SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
STRICKLAND ERNEST
ADAMS HOWARD W (451963) ‐ STRINGER SHANNON LAW FIRM            100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
LARRY D
ADAMS HOWARD W (451963) ‐ STRITTMAN SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
VALERIE F
ADAMS HOWARD W (451963) ‐           SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
STURDIVANT THOMAS G
ADAMS HOWARD W (451963) ‐ SULLIVAN SHANNON LAW FIRM            100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
THOMAS V
ADAMS HOWARD W (451963) ‐ TARVER    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
DAVID L
ADAMS HOWARD W (451963) ‐ TAYLOR    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ROBERT ALLEN
ADAMS HOWARD W (451963) ‐ TEMPLE    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
STEVE
ADAMS HOWARD W (451963) ‐ TENNER    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
CLARENCE
                                   09-50026-mg         Doc 7123-3    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit B
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Name                                Address1                   Address2               Address3         Address4               City         State Zip
ADAMS HOWARD W (451963) ‐ TENNER    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST    MS 39083‐3007
WENDELL
ADAMS HOWARD W (451963) ‐ TERRELL   SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JESSIE JAMES
ADAMS HOWARD W (451963) ‐ TERRELL   SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ROBERT LEE
ADAMS HOWARD W (451963) ‐ THEDFORD SHANNON LAW FIRM            100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
DONALD
ADAMS HOWARD W (451963) ‐ THOMAS SHANNON LAW FIRM              100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
BELINDA
ADAMS HOWARD W (451963) ‐ THOMAS SHANNON LAW FIRM              100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
CALVIN
ADAMS HOWARD W (451963) ‐ THOMAS SHANNON LAW FIRM              100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JOSEPH
ADAMS HOWARD W (451963) ‐           SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
THOMPSON CHRISTINE A
ADAMS HOWARD W (451963) ‐           SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
THOMPSON DOROTHY S
ADAMS HOWARD W (451963) ‐           SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
THOMPSON EVERETT E
ADAMS HOWARD W (451963) ‐           SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
THOMPSON JAMES D
ADAMS HOWARD W (451963) ‐           SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
THOMPSON R.C.
ADAMS HOWARD W (451963) ‐ THORNHILL SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ALVIE
ADAMS HOWARD W (451963) ‐ THORPE    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
DAROL L
ADAMS HOWARD W (451963) ‐ TIFFEE    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
SAMUEL P
ADAMS HOWARD W (451963) ‐ TISDALE   SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
DOUGLAS
ADAMS HOWARD W (451963) ‐           SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
TOWNSEND ALVIN
ADAMS HOWARD W (451963) ‐ TRUITT    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ZOLA
ADAMS HOWARD W (451963) ‐ TRUNELL   SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
DAVID
ADAMS HOWARD W (451963) ‐ TRUNELL   SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ELIE
ADAMS HOWARD W (451963) ‐ TURNAGE SHANNON LAW FIRM             100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
HUBERT M
ADAMS HOWARD W (451963) ‐ TWINER    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ANN
ADAMS HOWARD W (451963) ‐ TWINER    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JACOB H
ADAMS HOWARD W (451963) ‐ TWINER    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
KATHERINE
ADAMS HOWARD W (451963) ‐ TWINER    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ROBERT D
ADAMS HOWARD W (451963) ‐ TYSON     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
FREDDIE J
ADAMS HOWARD W (451963) ‐ UPTON     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
DAVID
                                       09-50026-mg        Doc 7123-3    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit B
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Name                                   Address1                   Address2               Address3         Address4               City         State Zip
ADAMS HOWARD W (451963) ‐              SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST    MS 39083‐3007
VANDERSON VICTOR BERNARD
ADAMS HOWARD W (451963) ‐              SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
VANDEVENDER MARK G
ADAMS HOWARD W (451963) ‐ VARNER       SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
MARIE TIFFEE
ADAMS HOWARD W (451963) ‐ VERUCCHI     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ROBERT C
ADAMS HOWARD W (451963) ‐ VINES J.D.   SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007

ADAMS HOWARD W (451963) ‐ VINZANT      SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
NOLAN
ADAMS HOWARD W (451963) ‐ WACTOR       SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
LENOX EARL
ADAMS HOWARD W (451963) ‐              SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
WADLINGTON CHARLES D
ADAMS HOWARD W (451963) ‐ WALKER       SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
EDWARD CONWAY
ADAMS HOWARD W (451963) ‐ WALKER       SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
HENRY ALLEN
ADAMS HOWARD W (451963) ‐ WALKER       SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JEFF J
ADAMS HOWARD W (451963) ‐ WALLACE      SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
GEORGE BRUCE
ADAMS HOWARD W (451963) ‐ WALLACE      SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JERRY CLINTON
ADAMS HOWARD W (451963) ‐ WALLACE      SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
WILLIAM A
ADAMS HOWARD W (451963) ‐ WALLER       SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
PAUL HERBERT
ADAMS HOWARD W (451963) ‐ WALLS        SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
BOBBY GENE
ADAMS HOWARD W (451963) ‐ WALTON       SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
HENRY
ADAMS HOWARD W (451963) ‐ WARE         SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
DONAIL
ADAMS HOWARD W (451963) ‐ WARE         SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JOHN
ADAMS HOWARD W (451963) ‐ WARNER       SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
PATRICIA
ADAMS HOWARD W (451963) ‐              SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
WASHINGTON ABRAHAM
ADAMS HOWARD W (451963) ‐              SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
WASHINGTON ALBERT JAMES
ADAMS HOWARD W (451963) ‐              SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
WASHINGTON CHRISTINE
ADAMS HOWARD W (451963) ‐              SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
WASHINGTON JAMES D
ADAMS HOWARD W (451963) ‐              SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
WASHINGTON JERRY DARNELL
ADAMS HOWARD W (451963) ‐              SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
WASHINGTON JOE
ADAMS HOWARD W (451963) ‐              SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
WASHINGTON JOHNNY
                                    09-50026-mg        Doc 7123-3    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit B
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Name                                Address1                   Address2               Address3         Address4               City         State Zip
ADAMS HOWARD W (451963) ‐           SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST    MS 39083‐3007
WASHINGTON RUTH
ADAMS HOWARD W (451963) ‐           SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
WASHINGTON WILLIE LEE
ADAMS HOWARD W (451963) ‐           SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
WASHINTON BARNES
ADAMS HOWARD W (451963) ‐ WATSON    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ARTHUR DALE
ADAMS HOWARD W (451963) ‐ WATSON    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JORDAN L
ADAMS HOWARD W (451963) ‐ WATSON    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
MARVIN L
ADAMS HOWARD W (451963) ‐ WATSON    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
THOMAS FLOYD
ADAMS HOWARD W (451963) ‐ WATTS     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
EUGENE
ADAMS HOWARD W (451963) ‐ WAY       SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
THOMAS
ADAMS HOWARD W (451963) ‐ WELLS     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ATHEN
ADAMS HOWARD W (451963) ‐ WELLS     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
GEORGE DANIEL
ADAMS HOWARD W (451963) ‐ WELSH     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
PHILIP W
ADAMS HOWARD W (451963) ‐ WESLEY    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ALFRED
ADAMS HOWARD W (451963) ‐ WESTMAN   SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
LAWRENCE J
ADAMS HOWARD W (451963) ‐ WHEAT     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JOHN GREGORY
ADAMS HOWARD W (451963) ‐ WHEAT     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
WILLIAM C
ADAMS HOWARD W (451963) ‐ WHITE     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
BOBBY A
ADAMS HOWARD W (451963) ‐ WHITE     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
DANIEL
ADAMS HOWARD W (451963) ‐ WHITE     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
DAVID LEE
ADAMS HOWARD W (451963) ‐ WHITE     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
DONALD GREGORY
ADAMS HOWARD W (451963) ‐ WHITE     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
GEORGE
ADAMS HOWARD W (451963) ‐ WHITE     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JAMES E
ADAMS HOWARD W (451963) ‐ WHITE     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JOHN
ADAMS HOWARD W (451963) ‐ WHITE     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
LORRAINE G.
ADAMS HOWARD W (451963) ‐ WHITE     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
MELANIE TIFFEE
ADAMS HOWARD W (451963) ‐ WHITE     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
OTHA DENNIS
ADAMS HOWARD W (451963) ‐ WHITE     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
RALPH EDWARD
                                   09-50026-mg         Doc 7123-3    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit B
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Name                                Address1                   Address2               Address3         Address4               City         State Zip
ADAMS HOWARD W (451963) ‐ WHITE     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST    MS 39083‐3007
ROBERT
ADAMS HOWARD W (451963) ‐           SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
WHITEHEAD BRENDA ANN
ADAMS HOWARD W (451963) ‐ WHITT     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JAMES MARLOW
ADAMS HOWARD W (451963) ‐           SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
WHITTINGTON DAVID L
ADAMS HOWARD W (451963) ‐           SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
WILKERSON J.C.
ADAMS HOWARD W (451963) ‐ WILKINSON SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
FLOYD R
ADAMS HOWARD W (451963) ‐ WILKINSON SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
LEWIS W
ADAMS HOWARD W (451963) ‐ WILKINSON SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ROBERT
ADAMS HOWARD W (451963) ‐ WILKINSON SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
SAMUEL M
ADAMS HOWARD W (451963) ‐ WILLIAMS SHANNON LAW FIRM            100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ALONZO T
ADAMS HOWARD W (451963) ‐ WILLIAMS SHANNON LAW FIRM            100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
DOUGLAS V
ADAMS HOWARD W (451963) ‐ WILLIAMS SHANNON LAW FIRM            100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
HERMAN
ADAMS HOWARD W (451963) ‐ WILLIAMS SHANNON LAW FIRM            100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
LEE
ADAMS HOWARD W (451963) ‐ WILLIAMS SHANNON LAW FIRM            100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
MARION WALTER
ADAMS HOWARD W (451963) ‐ WILLIAMS SHANNON LAW FIRM            100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
MOSELLA
ADAMS HOWARD W (451963) ‐ WILLIAMS SHANNON LAW FIRM            100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ROOSEVELT
ADAMS HOWARD W (451963) ‐ WILLIAMS SHANNON LAW FIRM            100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ROY L
ADAMS HOWARD W (451963) ‐ WILLIAMS SHANNON LAW FIRM            100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
SADIE M
ADAMS HOWARD W (451963) ‐ WILLIAMS SHANNON LAW FIRM            100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
WINDELL
ADAMS HOWARD W (451963) ‐ WILLIS    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
CHARLES
ADAMS HOWARD W (451963) ‐ WILSON    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ARTHUR LEE
ADAMS HOWARD W (451963) ‐ WILSON    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ERNEST GLEN
ADAMS HOWARD W (451963) ‐ WILSON    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
GARY D
ADAMS HOWARD W (451963) ‐ WILSON    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JAMES
ADAMS HOWARD W (451963) ‐ WILSON    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JOHN
ADAMS HOWARD W (451963) ‐ WILSON    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
LEE A
ADAMS HOWARD W (451963) ‐ WILSON    SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
RICKY F
                                   09-50026-mg          Doc 7123-3    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit B
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Name                                 Address1                   Address2               Address3         Address4               City         State Zip
ADAMS HOWARD W (451963) ‐ WILSON     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST    MS 39083‐3007
ROBERT
ADAMS HOWARD W (451963) ‐ WILSON     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ROBERT L
ADAMS HOWARD W (451963) ‐ WILSON     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
WILLIE B
ADAMS HOWARD W (451963) ‐ WINSTON SHANNON LAW FIRM              100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ALLEN LEE
ADAMS HOWARD W (451963) ‐ WINSTON SHANNON LAW FIRM              100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
TOMMY
ADAMS HOWARD W (451963) ‐ WISNER     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JEFFERY L
ADAMS HOWARD W (451963) ‐ WISNER     SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JOANNE
ADAMS HOWARD W (451963) ‐            SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
WITHERSPOON DONALD RAY
ADAMS HOWARD W (451963) ‐ WOOD       SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
BILLY C
ADAMS HOWARD W (451963) ‐ WOOD       SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
SAMUEL NIXON
ADAMS HOWARD W (451963) ‐ WOODLEY SHANNON LAW FIRM              100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
ISAAC RAYMOND
ADAMS HOWARD W (451963) ‐ WOODS      SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
CHARLES EDWARD
ADAMS HOWARD W (451963) ‐ WOODS      SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
EDGAR
ADAMS HOWARD W (451963) ‐ WOODS      SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
GERALDINE
ADAMS HOWARD W (451963) ‐ WOODS      SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
JAMES
ADAMS HOWARD W (451963) ‐ WOODS      SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
KENNETH
ADAMS HOWARD W (451963) ‐ WOODS      SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
LARRY D
ADAMS HOWARD W (451963) ‐ WOODS      SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
LEONARD L
ADAMS HOWARD W (451963) ‐ WOODS      SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
MOSES
ADAMS HOWARD W (451963) ‐ WOODS      SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
SAMUEL
ADAMS HOWARD W (451963) ‐ WOODS      SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
WALTER
ADAMS HOWARD W (451963) ‐ WROTEN SHANNON LAW FIRM               100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
SAMUEL MITCHELL
ADAMS HOWARD W (451963) ‐ WYATT      SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
DEWITT
ADAMS HOWARD W (451963) ‐ WYATT ELIE SHANNON LAW FIRM           100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007

ADAMS HOWARD W (451963) ‐          SHANNON LAW FIRM             100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
YARBOROUGH FRED A
ADAMS HOWARD W (451963) ‐ YEARTA   SHANNON LAW FIRM             100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
MAC
ADAMS HOWARD W (451963) ‐ YOUNG    SHANNON LAW FIRM             100 W GALLATIN ST                                              HAZLEHURST   MS   39083‐3007
B.C.
                                      09-50026-mg              Doc 7123-3    Filed 09/24/10 Entered 09/24/10 15:05:32             Exhibit B
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Name                                  Address1                         Address2                        Address3        Address4               City               State Zip
ADAMS HOWARD W (451963) ‐ YOUNG       SHANNON LAW FIRM                 100 W GALLATIN ST                                                      HAZLEHURST          MS 39083‐3007
CHARLES M
ADAMS HOWARD W (451963) ‐ YOUNG       SHANNON LAW FIRM                 100 W GALLATIN ST                                                      HAZLEHURST         MS   39083‐3007
CLEM
ADAMS HOWARD W (451963) ‐ YOUNG       SHANNON LAW FIRM                 100 W GALLATIN ST                                                      HAZLEHURST         MS   39083‐3007
LARRY
ADAMS HOWARD W (451963) ‐             SHANNON LAW FIRM                 100 W GALLATIN ST                                                      HAZLEHURST         MS   39083‐3007
ZIMMERMAN NICK
ADAMS HOWARD W (451963) ‐             SHANNON LAW FIRM                 100 W GALLATIN ST                                                      HAZLEHURST         MS   39083‐3007
ZIMMERMAN WILLIAM N
ADAMS I I I, DENNIS W                 2099 NERREDIA ST                                                                                        FLINT              MI   48532‐4818
ADAMS I I I, HENRY                    4518 S LA CROSSE AVE                                                                                    CHICAGO            IL   60638‐1956
ADAMS I I, IVOR G                     541 KARNS DR APT B                                                                                      VANDALIA           OH   45377‐1450
ADAMS I I, JAMES K                    16750 TURNER ST                                                                                         DETROIT            MI   48221‐2978
ADAMS II, ALFRED F                    1041 ADELE CT                                                                                           ROCHESTER HILLS    MI   48309‐3701
ADAMS II, IVOR G                      917 LA TOURRETTE COURT                                                                                  VANDALIA           OH   45377‐2917
ADAMS III, CHARLES L                  132 E SUFFOLK CT                                                                                        FLINT              MI   48507‐4254
ADAMS III, HENRY                      4518 S LA CROSSE AVE                                                                                    CHICAGO            IL   60638‐1956
ADAMS JACK L (481608)                 GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                            NORFOLK            VA   23510
                                                                       STREET, SUITE 600
ADAMS JAMES                           ADAMS, JAMES                     354 KNOEDLER RD APT 1                                                  PITTSBURGH         PA   15236
ADAMS JAMES                           54884 GEMINI DRIVE                                                                                      SHELBY TWP         MI   48316‐1629
ADAMS JAMES C (476835)                KELLEY & FERRARO LLP             1300 EAST NINTH STREET , 1901                                          CLEVELAND          OH   44114
                                                                       BOND COURT BUILDING
ADAMS JAMES SR (ESTATE OF) (492489)   BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                                          NORTHFIELD         OH   44067
                                                                       PROFESSIONAL BLDG
ADAMS JIMMY                           ADAMS, JIMMY                     STATE FARM INSURANCE            P.O. BOX 1268                          COLUMBIA           MO   65204
ADAMS JIMMY (414928)                  GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                            NORFOLK            VA   23510
                                                                       STREET, SUITE 600
ADAMS JOHNSTON & ORECK                PO BOX 1350                                                                                             BOULDER            CO   80306‐1350
ADAMS JR, ALVIN S                     PO BOX 504                                                                                              CONVERSE           IN   46919‐0504
ADAMS JR, ARTHUR L                    29451 HALSTED RD APT 201                                                                                FARMINGTON HILLS   MI   48331‐2836

ADAMS JR, ARTIS                       1520 W NORTH AVE APT 502                                                                                BALTIMORE          MD   21217‐1763
ADAMS JR, BYRON B                     309 REMWAY DR                                                                                           POTTERVILLE        MI   48876‐9517
ADAMS JR, CHARLES C                   5220 ROCKWOOD DR                                                                                        CASTALIA           OH   44824‐9463
ADAMS JR, CHARLES F                   403 W MORRISON ST                                                                                       FRANKFORT          IN   46041‐1667
ADAMS JR, DANIEL R                    6170 SEAGULL LN                                                                                         LAKELAND           FL   33809‐5683
ADAMS JR, DAVID V                     2439 MINERVA PARK PL                                                                                    COLUMBUS           OH   43229‐4795
ADAMS JR, DOTSIE                      PO BOX 414                                                                                              NICHOLLS           GA   31554‐0414
ADAMS JR, EDDIE                       3820 PARK FOREST DR                                                                                     FLINT              MI   48507‐2257
ADAMS JR, EDWARD E                    497 KUHN ST                                                                                             PONTIAC            MI   48342‐1943
ADAMS JR, ERNEST                      65 HASTINGS AVE                                                                                         BUFFALO            NY   14215‐2831
ADAMS JR, EUGENE                      6670 BEAGLE LN                                                                                          ARLINGTON          TN   38002‐5888
ADAMS JR, FORREST T                   3411 BELDEN AVE                                                                                         YOUNGSTOWN         OH   44502‐3004
ADAMS JR, FRED                        354 WESTGATE RD                                                                                         BUFFALO            NY   14217‐2212
ADAMS JR, GEORGE                      14610 PARIS ST                                                                                          ALLEN PARK         MI   48101‐3014
ADAMS JR, GEORGE F                    2639 AUSTIN AVE                                                                                         YOUNGSTOWN         OH   44509‐2704
ADAMS JR, GEORGE T                    APT 2222                         1034 LIBERTY PARK DRIVE                                                AUSTIN             TX   78746‐7032
ADAMS JR, GEORGE T                    8339 DOE MEADOW DR                                                                                      AUSTIN             TX   78749‐2871
ADAMS JR, GEORGE W                    697 LOUNSBURY AVE                                                                                       PONTIAC            MI   48340‐2451
ADAMS JR, GILBERT B                   33885 FOUNTAIN BLVD                                                                                     WESTLAND           MI   48185‐1407
ADAMS JR, HENRY                       2956 CHURCHILL LANE                                                                                     SAGINAW            MI   48603‐2678
ADAMS JR, HENRY                       4504 S LA CROSSE AVE                                                                                    CHICAGO            IL   60638‐1956
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Name                                Address1                        Address2                          Address3   Address4               City               State   Zip
ADAMS JR, HENRY W                   1621 BEECH DR N                                                                                     PLAINFIELD          IN     46168‐2130
ADAMS JR, HOUSTON                   1790 N CUSTER RD                                                                                    MONROE              MI     48162‐3270
ADAMS JR, HOWARD                    104 SHAW ST                                                                                         PLAINFIELD          IN     46168‐1550
ADAMS JR, J B                       1117 CHEROKEE                                                                                       SPIRO               OK     74959‐5001
ADAMS JR, JAMES                     1714 WOODLIN DR                                                                                     FLINT               MI     48504‐3603
ADAMS JR, JAMES L                   8740 S 1250 W                                                                                       ALBANY              IN     47320‐9406
ADAMS JR, JAMES LEE                 8740 S 1250 W                                                                                       ALBANY              IN     47320‐9406
ADAMS JR, JAMES W                   1735 JENNINGS WAY                                                                                   NORCROSS            GA     30093‐1444
ADAMS JR, JOHN P                    660 MARTIN LUTHER KING JR DR                                                                        JEFFERSON           GA     30549‐1372
ADAMS JR, JOHN R                    106 AMOR LN                                                                                         SAINT JOHNS         MI     48879‐1072
ADAMS JR, JOHN RAYMOND              106 AMOR LN                                                                                         SAINT JOHNS         MI     48879‐1072
ADAMS JR, JOSEPH T                  10320 SE 57TH ST                                                                                    OKLAHOMA CITY       OK     73150‐4506
ADAMS JR, KASH                      336 CHAPEL DR                                                                                       SPRINGBORO          OH     45066‐8837
ADAMS JR, LEE C                     4600 CANTURA DR                                                                                     DAYTON              OH     45415‐3224
ADAMS JR, LESTER R                  5341 MILITARY AVE                                                                                   BRIGHTON            MI     48116‐1914
ADAMS JR, LUCIAN S                  3801 KENT ST                                                                                        FLINT               MI     48503‐4590
ADAMS JR, LUKE C                    PO BOX 7211                                                                                         INDIAN LAKE         FL     33855‐7211
                                                                                                                                        ESTATES
ADAMS JR, PERRY M                   29250 US HIGHWAY 19 N LOT 110                                                                       CLEARWATER         FL      33761‐2172
ADAMS JR, RICHARD E                 3202 GAMBIT SQ                                                                                      DAYTON             OH      45449‐3513
ADAMS JR, RICHARD J                 30977 PEAR RIDGE RD                                                                                 FARMINGTON HILLS   MI      48334‐1050

ADAMS JR, ROBERT E                  900 AQUA ISLES BLVD LOT E6                                                                          LABELLE            FL      33935‐4391
ADAMS JR, ROOSEVELT                 1601 WOODBOURNE DR                                                                                  FLINT              MI      48503‐4752
ADAMS JR, ROOSEVELT                 458 ADAMS RD                                                                                        HOPE HULL          AL      36043‐4808
ADAMS JR, RUDY J                    50560 LAGAE ST                                                                                      NEW BALTIMORE      MI      48047‐4230
ADAMS JR, SAMUEL M                  169 MAPLELEAF DR                                                                                    AMHERST            NY      14221‐2752
ADAMS JR, THOMAS V                  4440 LOCUST AVE                                                                                     NEWAYGO            MI      49337‐9038
ADAMS JR, TOM                       12378 GRAND BLANC RD W                                                                              DURAND             MI      48429
ADAMS JR, WILLIAM T                 6013 321ST STREET                                                                                   TOLEDO             OH      43611‐2545
ADAMS JR, WILLIAM T                 6013 321ST ST                                                                                       TOLEDO             OH      43611‐2545
ADAMS JR., ROBERT R                 12456 MARSHALL RD                                                                                   MONTROSE           MI      48457‐9726
ADAMS JR., ROBERT RANDALL           12456 MARSHALL RD                                                                                   MONTROSE           MI      48457‐9726
ADAMS JR., SIMON                    6354 DUNCAN ST                                                                                      TAYLOR             MI      48180‐1122
ADAMS JULIE                         4022 NUTHATCH AVE                                                                                   KENSETT            IA      50448‐7568
ADAMS K P (665556) ‐ ADAMS K P      WISE & JULIAN                   156 N MAIN ST STEP 1                                                EDWARDSVILLE       IL      62025‐1972
ADAMS KENNETH C JR                  213 LAURENS ST APT 214                                                                              AIKEN              SC      29801
ADAMS KENNETH C JR &                ADAMS CAROL S TRUSTEES          9 ABERDEEN CIR                                                      LEESBURG           FL      34788‐8516
ADAMS KENNETH JAY (ESTATE OF)       BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD , BEVAN                                       NORTHFIELD         OH      44067
(491928)                                                            PROFESSIONAL BLDG
ADAMS KENNETH W (484820)            GEORGE & SIPES                  151 N DELAWARE ST STE 1700                                          INDIANAPOLIS       IN      46204‐2503
ADAMS L C                           C/O GUY PORTER & MALOUF         4670 MCWILLIE DRIVE                                                 JACKSON            MS      39206
ADAMS L C (504891) ‐ ADAMS L C      (NO OPPOSING COUNSEL)
ADAMS LEX                           PO BOX 5790                                                                                         STATELINE           NV     89449‐5790
ADAMS LINDA                         PO BOX 524                                                                                          LITTLE RIVER        TX     76554‐0524
                                                                                                                                        ACADEMY
ADAMS LINDA LEE                     ADAMS, LINDA LEE                630 FREEDOM BUSINESS CTR DR STE                                     KING OF PRUSSIA     PA     19406‐1307
                                                                    402
ADAMS LOUVONNE                      ADAMS, LOUVONNE                 55 PUBLIC SQ STE 650                                                CLEVELAND          OH      44113‐1909
ADAMS LYNA MARIE (425133) ‐ ADAMS   WEITZ & LUXENBERG               180 MAIDEN LANE                                                     NEW YORK           NY      10038
LYNA MARIE
ADAMS MAGNETIC PRODUCTS             888 N LARCH AVE                                                                                     ELMHURST           IL      60126‐1133
ADAMS MARGARET                      PO BOX 643                                                                                          WARREN             OH      44482‐0643
ADAMS MARILYN                       3290 NORTHSHORE DRIVE                                                                               WAYZATA            MN      55391‐9357
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Name                                   Address1                          Address2                         Address3   Address4               City               State   Zip
ADAMS MARK/INDIANAPO                   2544 EXECUTIVE DR                                                                                    INDIANAPOLIS        IN     46241‐5013
ADAMS MARTY J                          4825 QUARTZ AVE                                                                                      MC INTIRE            IA    50455‐8025
ADAMS MELISSA                          ADAMS, MELISSA                    357 NOTTOWAY LANE                                                  KING WILLIAMS       VA     23086
ADAMS MELVIN A (657138)                COON BRENT & ASSOCIATES           215 ORLEANS ST                                                     BEAUMONT            TX     77701‐2221
ADAMS MELVIN A (657138) ‐ ALLEN        COON BRENT & ASSOCIATES
MILTON R
ADAMS MELVIN A (657138) ‐ DEDEAUX      COON BRENT & ASSOCIATES
CLIFTON
ADAMS MELVIN A (657138) ‐ FEDELE KATIE COON BRENT & ASSOCIATES
J
ADAMS MELVIN A (657138) ‐ GILL CARL    COON BRENT & ASSOCIATES
JEAN
ADAMS MELVIN A (657138) ‐ SMITH        COON BRENT & ASSOCIATES
THOMAS J
ADAMS MELVIN A (657138) ‐ TOUPS        COON BRENT & ASSOCIATES
EUGENE J
ADAMS MELVIN A (657138) ‐ ZERINGUE     COON BRENT & ASSOCIATES
LEONARD J
ADAMS MICHAEL                          ADAMS, MICHAEL                    295 LEE DR                                                         ORANGE PARK        FL      32073‐2538
ADAMS MOTOR CO.                        ALLAN ADAMS                       702 W HIGHWAY 212                                                  MONTEVIDEO         MN      56265‐1560
ADAMS MOTOR CO.                        702 W HIGHWAY 212                                                                                    MONTEVIDEO         MN      56265‐1560
ADAMS MOTOR COMPANY                    ROBERT ADAMS                      505 ADAMS DR                                                       DENISON            IA      51442‐7591
ADAMS MOTOR COMPANY                    505 ADAMS DR                                                                                         DENISON            IA      51442‐7591
ADAMS NATT (656466)                    SIMMONS FIRM                      PO BOX 521                                                         EAST ALTON         IL      62024‐0519
ADAMS NEIL                             1465 BUFFALO ROAD                                                                                    FREDERICA          DE      19946‐1551
ADAMS OIL ENTERPRISES INC              7030 EAST RD                                                                                         SAGINAW            MI      48601‐9724
ADAMS ORAN SR (ESTATE OF) (465269)     BARON & BUDD                      3102 OAK LANE AVE , SUITE 1100                                     DALLAS             TX      75219
ADAMS OWEN                             789 BETHANY CIR                                                                                      WARMINSTER         PA      18974‐5500
ADAMS PAUL L (415036)                  GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                         NORFOLK            VA      23510
                                                                        STREET, SUITE 600
ADAMS PAULINE (431682)                BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                       NORTHFIELD         OH      44067
                                                                        PROFESSIONAL BLDG
ADAMS PHYLLIS                         ADAMS, PHYLLIS                    192 BALLARD COURT SUITE 400                                         VIRGINIA BEACH      VA     23462
ADAMS PHYLLIS                         INSURANCE COMPANY OF PENNSYLVANIA 192 BALLARD COURT SUITE 400                                         VIRGINIA BEACH      VA     23462

ADAMS PLATING CO                      ATTN: STEVE ADAMS                  521 N ROSEMARY ST                                                  LANSING             MI     48917‐2994
ADAMS PLATING CO                      521 N ROSEMARY ST                                                                                     LANSING             MI     48917‐2977
ADAMS PONTIAC‐BUICK‐GMC               SID ADAMS                          1017 BEREA RD                                                      RICHMOND            KY     40475‐3401
ADAMS PONTIAC‐BUICK‐GMC               1017 BEREA RD                                                                                         RICHMOND            KY     40475‐3401
ADAMS QUALIFIED SETTLEMENT FUND       PO BOX 16509                                                                                          FORT WORTH          TX     76162‐0509
ADAMS QUINTON AND PARETTI PA TRUST    80 SW 8TH ST STE 2150              BRICKELL BAYVIEW CENTRE                                            MIAMI               FL     33130‐3013
ACCOUNT
ADAMS RAIFORD HAROLD SR (ESTATE OF)   COON BRENT & ASSOCIATES            1515 POYDRAS STREET SUITE 800                                      NEW ORLEANS         LA     70112
(643008)
ADAMS RESPIRATORY THERAPEUTICS        425 MAIN STREET COLONIAL COURT                                                                        CHESTER             NJ     07930
ADAMS RHONDA                          ADAMS, RHONDA                      2325 GRANT BUILDING 310 GRANT                                      PITTSBURGH          PA     15219
                                                                         STREET
ADAMS RICHARD L (667746)              GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                        NORFOLK             VA     23510
                                                                         STREET, SUITE 600
ADAMS RICHARD M (502283)              LAW OFFICES OF ANTHONY VIEIRA      920G HAMPSHIRE ROAD, SUITE 12                                      WESTLAKE VILLAGE    CA     91361

ADAMS RITE MANUFACTURING CO INC       260 W SANTA FE ST                                                                                     POMONA              CA     91767‐2116
ADAMS ROBERT (ESTATE OF) (641039)     SIMMONS FIRM                       PO BOX 521                                                         EAST ALTON          IL     62024‐0519
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Name                               Address1                      Address2                          Address3   Address4               City               State Zip
ADAMS ROBERT LEE JR (471982)       GLASSER AND GLASSER           CROWN CENTER, 580 EAST MAIN                                         NORFOLK             VA 23510
                                                                 STREET, SUITE 600
ADAMS RONALD                       6909 LIVE OAK DR                                                                                  TEXARKANA          AR    71854‐8276
ADAMS RONALD (485679)              UNKNOWN
ADAMS RUSSELL (637654)             COONEY & CONWAY               120 NORTH LASALLE STREET , 30TH                                     CHICAGO             IL   60602
                                                                 FLOOR
ADAMS RYAN E                       PO BOX 6                                                                                          FORT COVINGTON     NY    12937‐0006
ADAMS SERVICE CENTRE               4200 WESTON RD.                                                            WESTON ON M9L 1W7
                                                                                                              CANADA
ADAMS SONYA (656467)               SIMMONS FIRM                  PO BOX 521                                                          EAST ALTON         IL    62024‐0519
ADAMS SPECIALIZED DELIVERY         PO BOX K                                                                                          HAZEN              AR    72064
ADAMS SR, CHARLES W                12911 W COUNTY ROAD 500 N                                                                         YORKTOWN           IN    47396‐9749
ADAMS SR, PHILLIP R                384 BERNICE AVE                                                                                   MARTINSBURG        WV    25405‐5006
ADAMS TERESA                       7136 TUCKER RD                                                                                    HOLLY              MI    48442‐8863
ADAMS TIMOTHY                      2819 NW 29TH ST                                                                                   NEWCASTLE          OK    73065‐6480
ADAMS TIMOTHY                      ADAMS, TIMOTHY                30 E BUTLER AVE                                                     AMBLER             PA    19002‐4514
ADAMS TOMMY E (506833)             TOMMY BROCK                   PO BOX 509                                                          MCCOMB             MS    39649‐0509
ADAMS TRANSPORTATION               PO BOX 6645                                                                                       ROANOKE            VA    24017‐0645
ADAMS TRUCKING LLC                 20760 JUNCTION RD                                                                                 BELLEVUE           MI    49021‐9514
ADAMS VELMA                        ADAMS, VELMA                  2200 FORSYTHE AVE                                                   MONROE             LA    71201‐3613
ADAMS VELMA                        ARRANT, MEGAN                 2200 FORSYTHE AVE                                                   MONROE             LA    71201‐3613
ADAMS WALKER, TALYDIA D            7017 SYLVAN MEADOWS DR                                                                            FORT WORTH         TX    76120‐1381
ADAMS WILBURN H (487568)           GEORGE & SIPES                151 N DELAWARE ST STE 1700                                          INDIANAPOLIS       IN    46204‐2503
ADAMS WILLIAM                      ADAMS, WILLIAM                27780 NOVI RD STE 105                                               NOVI               MI    48377‐3427
ADAMS WILLIAM                      813 OAK ST                                                                                        MORRILTON          AR    72110‐2035
ADAMS WILLIAM (442897)             BEVAN & ASSOCIATES            10360 NORTHFIELD ROAD , BEVAN                                       NORTHFIELD         OH    44067
                                                                 PROFESSIONAL BLDG
ADAMS WILLIAM B (350256)           HANLEY DEAN A LAW OFFICES     5430 CERRO SUR                                                      EL SOBRANTE        CA    94803‐3873
ADAMS WILLIAM J (425132)           WEITZ & LUXENBERG             180 MAIDEN LANE                                                     NEW YORK           NY    10038
ADAMS WILLIAM J (425132) ‐ ADAMS   WEITZ & LUXENBERG             180 MAIDEN LANE                                                     NEW YORK           NY    10038
CAROL
ADAMS WILLIAM L (360207)           GLASSER AND GLASSER           CROWN CENTER, 580 EAST MAIN                                         NORFOLK            VA    23510
                                                                 STREET, SUITE 600
ADAMS, A                           2026 JEFFERSON                                                                                    ANDERSON           IN    46016‐4556
ADAMS, AARON E                     2364 AMBER WOODS DR                                                                               SNELLVILLE         GA    30078‐6131
ADAMS, AARON L                     10147 MARWOOD TR                                                                                  INDIANAPOLIS       IN    46280
ADAMS, ABBIE M                     17432 WESTOVER RD             C/O LAURA T LANIER                                                  SOUTHFIELD         MI    48075‐4357
ADAMS, ADELLA G                    1749 GERVAIS AVE APT 7                                                                            MAPLEWOOD          MN    55109‐2179
ADAMS, ADRIENNE D                  7300 WESTMINSTER CIR                                                                              GRAND BLANC        MI    48439‐9070
ADAMS, AGNES                       PO BOX 664                                                                                        TULLAHOMA          TN    37388‐0664
ADAMS, AGNES M                     817 W JEFFERSON ST                                                                                ALEXANDRIA         IN    46001‐1734
ADAMS, ALAN J                      5105 N COUNTY ROAD 700 W                                                                          MUNCIE             IN    47304‐9672
ADAMS, ALBERT                      15629 LIBERAL ST                                                                                  DETROIT            MI    48205‐2014
ADAMS, ALBERT A                    3544 FOREST DR                                                                                    LUPTON             MI    48635‐8753
ADAMS, ALBERT P                    6442 WEST BAY CT.                                                                                 DAYTON             OH    45426‐1119
ADAMS, ALBERT P                    6442 WESTBAY CT                                                                                   DAYTON             OH    45426‐1119
ADAMS, ALEX R                      3215 FERNDALE AVE                                                                                 BALTIMORE          MD    21207‐6802
ADAMS, ALEXANDER                   205 DUNLOP AVE                                                                                    TONAWANDA          NY    14150‐7839
ADAMS, ALEXANDRA H                 43678 DEBORAH DRIVE                                                                               STERLING HEIGHTS   MI    48313
ADAMS, ALFRED A                    736 DOVER PL                                                                                      SAINT LOUIS        MO    63111‐2342
ADAMS, ALFRED J                    4205 WESTLAKE CIR                                                                                 BELLEVILLE         MI    48111‐6110
ADAMS, ALICE J.                    15551 ALSIP ST                                                                                    ROSEVILLE          MI    48066‐2718
ADAMS, ALLEN                       394 STEWART RD N                                                                                  MOUNT HOLLY        VT    05758‐9782
ADAMS, ALLEN E                     4297 STATE ROUTE 123                                                                              FRANKLIN           OH    45005‐9713
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Name                             Address1                       Address2               Address3         Address4               City               State   Zip
ADAMS, ALLEN SHAPER SERVICES I   98 WINERY RD                                                                                  PROCTORSVILLE       VT     05153‐9733
ADAMS, ALLEN W                   321 E 28TH ST                                                                                 MUNCIE              IN     47302‐5623
ADAMS, ALLIE M                   211 LAFAYETTE RD APT 323                                                                      SYRACUSE            NY     13205‐2914
ADAMS, ALTA S                    1335 LINDBERG RD                                                                              ANDERSON            IN     46012‐2637
ADAMS, ALVENA                    750 TAYLOR BLAIR ROAD                                                                         W JEFFERSON         OH     43162‐9553
ADAMS, ALVIN S                   2449 W 14TH ST                                                                                MARION              IN     46953‐1026
ADAMS, AMOS A                    2704 79TH AVE                                                                                 BATON ROUGE         LA     70807‐5628
ADAMS, AMOS W                    4401 E RILEY RD                                                                               OWOSSO              MI     48867‐9094
ADAMS, AMRON V                   142 S MERRIMAC ST                                                                             PONTIAC             MI     48340‐2538
ADAMS, ANDREE M                  7050 SUNSET DR S APT 1205                                                                     SOUTH PASADENA      FL     33707‐6409
ADAMS, ANGELA D                  100 FOXGATE AVE APT 31F                                                                       HATTIESBURG         MS     39402
ADAMS, ANGELA R                  18056 WOODINGHAM DR                                                                           DETROIT             MI     48221‐2561
ADAMS, ANGELIA B                 5007 TENNESSEE AVENUE                                                                         CHATTANOOGA         TN     37409‐1845
ADAMS, ANGELIA L                 308 E EPLER AVE                                                                               INDIANAPOLIS        IN     46227‐1927
ADAMS, ANGELINA A                7360 MARSALLE RD                                                                              PORTLAND            MI     48875‐9608
ADAMS, ANITA L                   2645 RAYMOND RD                                                                               LUTHER              MI     49656‐9375
ADAMS, ANITA L                   2645 N RAYMOND RD                                                                             LUTHER              MI     49656‐9375
ADAMS, ANITA M                   109B EDINBURGH LANE                                                                           LAKEWOOD            NJ     08701‐6393
ADAMS, ANNA M                    4101 31ST ST                                                                                  MERIDIAN            MS     39307‐4366
ADAMS, ANNA R                    206 N RACEWAY RD                                                                              INDIANAPOLIS        IN     46234‐9244
ADAMS, ANNA R                    C/O JERRY ADAMS                1900 VIRGINIA AVE.                                             FORT MYERS          FL     33901
ADAMS, ANNA R                    7664 CAPRI DR                                                                                 CANTON              MI     48187‐1854
ADAMS, ANNA V                    5225 PINE KNOB TR                                                                             CLARKSTON           MI     48346‐4131
ADAMS, ANNAMARIE M               2312 MAXWELLTON ROAD                                                                          WILMINGTON          DE     19804
ADAMS, ANNE K                    4175 WATERWHEEL LN                                                                            BLOOMFIELD HILLS    MI     48302‐1873
ADAMS, ANSAAR
ADAMS, ANTHONY                   8077 PHILADELPHIA DR                                                                          FAIRBORN           OH      45324‐1931
ADAMS, ANTHONY D                 1133 NORWOOD AVE                                                                              YOUNGSTOWN         OH      44510‐1105
ADAMS, ANTHONY H                 20 NORBERTA WAY                                                                               JACKSONVILLE       FL      32250‐4037
                                                                                                                               BEACH
ADAMS, ANTHONY HALL              20 NORBERTA WAY                                                                               JACKSONVILLE        FL     32250‐4037
                                                                                                                               BEACH
ADAMS, ANTHONY J                 20024 CARDONI ST                                                                              DETROIT            MI      48203‐1218
ADAMS, ANTHONY J                 18609 GEORGE WASHINGTON DR                                                                    SOUTHFIELD         MI      48075‐2506
ADAMS, ANTHONY M                 PO BOX 2314                                                                                   ANDERSON           IN      46018‐2314
ADAMS, ANTHONY W                 9992 PETOSKEY AVE                                                                             DETROIT            MI      48204‐1631
ADAMS, ANTONY L                  1 WINTERTON CT                                                                                GREENSBORO         NC      27455‐1153
ADAMS, ARIS LEE                  4742 LYNN OAK DR                                                                              LAVALETTE          WV      25535‐9708
ADAMS, ARLENE A                  211 WEST 12TH STREET                                                                          NEWTON             NC      28658
ADAMS, ARLENE M                  127 HANCOCK DR                                                                                SYRACUSE           NY      13207‐1544
ADAMS, ARLINE M                  4230 HOYT AVE                                                                                 INDIANAPOLIS       IN      46203‐1580
ADAMS, ARNOLD L                  8420 TAUROMEE AVE                                                                             KANSAS CITY        KS      66112‐1837
ADAMS, ARTHUR A                  9769 SPENCER LAKE RD                                                                          SPENCER            OH      44275‐9312
ADAMS, AUBREY L                  266 WESTON AVE                                                                                BUFFALO            NY      14215‐3541
ADAMS, AUDREY M                  216 WOODFIELD CV                                                                              NASHVILLE          TN      37211‐6897
ADAMS, AUDREY MAE                216 WOODFIELD CV                                                                              NASHVILLE          TN      37211‐6897
ADAMS, AUDREY P                  1768 WAYNE MADISON RD                                                                         TRENTON            OH      45067‐9440
ADAMS, AVIS G                    1200 E COOPER RD                                                                              MUNCIE             IN      47303‐9450
ADAMS, AZALEE B                  4091 MAXWELL DRIVE                                                                            BELLBROOK          OH      45305‐1626
ADAMS, B S                       3062 N IRISH RD                                                                               DAVISON            MI      48423‐9558
ADAMS, B SCOTT                   3062 N IRISH RD                                                                               DAVISON            MI      48423‐9558
ADAMS, BARBARA                   323 N 3RD ST                                                                                  MANISTIQUE         MI      49854‐1022
ADAMS, BARBARA                   1210 STATE HWY 80 S                                                                           RICHLAND CENTER    WI      53581‐3105
ADAMS, BARBARA                   2604 CADILLAC ST                                                                              MORAINE            OH      45439‐1603
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Name                      Address1                        Address2                       Address3   Address4               City               State   Zip
ADAMS, BARBARA            8657 ERICE CT                                                                                    NAPLES              FL     34114‐2715
ADAMS, BARBARA A          1910 ALTO WATERWORKS RD                                                                          COBDEN               IL    62920‐3005
ADAMS, BARBARA A          14796 E BURNT ISLAND RD                                                                          GOETZVILLE          MI     49736
ADAMS, BARBARA A          2063 W RIDGE DR                                                                                  DAVISON             MI     48423‐2128
ADAMS, BARBARA F          2876 GERMANTOWN LIBERTY RD                                                                       NEW LEBANON         OH     45345‐9382
ADAMS, BARBARA J          11650 ASHTON AVE                                                                                 DETROIT             MI     48228‐1138
ADAMS, BARBARA J          1113 CHARLESTON BLVD                                                                             DAYTON              OH     45407‐1108
ADAMS, BARBARA L          1119 SPRINGER RIDGE RD.                                                                          CARBONDALE           IL    62902‐7904
ADAMS, BARNETT            2445 DAWN DR                                                                                     DECATUR             GA     30032‐6346
ADAMS, BARRY W            304 MAPLEWOOD AVE                                                                                CLIFTON             NJ     07013‐1341
ADAMS, BARRY W            6427 BLACK RIVER RD                                                                              NAUBINWAY           MI     49762
ADAMS, BEATRICE F         14006 SE 251ST ST                                                                                KENT                WA     98042‐6627
ADAMS, BEN
ADAMS, BENITA L           5107 HEATHERTON DR                                                                               TROTWOOD           OH      45426‐2344
ADAMS, BENJAMIN C         PO BOX 1052                                                                                      OWOSSO             MI      48867‐6052
ADAMS, BENJAMIN CHARLES   PO BOX 1052                                                                                      OWOSSO             MI      48867‐6052
ADAMS, BENJAMIN F         36690 LEDGESTONE ST                                                                              CLINTON TWP        MI      48035‐1619
ADAMS, BENNY R            G3475 E PIERSON RD                                                                               FLINT              MI      48506
ADAMS, BERNADETTE C       12306 SHOREWOOD BEACH RD                                                                         DETROIT LAKES      MN      56501‐7027
ADAMS, BERNARD E          2521 W RAINBOW RD                                                                                MC BAIN            MI      49657‐9772
ADAMS, BERNARD H          702 S MAIN ST                                                                                    CHESANING          MI      48616‐1710
ADAMS, BERNARD L          12553 S TALLMAN RD                                                                               EAGLE              MI      48822‐9746
ADAMS, BERNICE J          20821 HUGO ST                                                                                    FARMINGTON HILLS   MI      48336‐5137

ADAMS, BERTHA MAI         6082 PALMETTO DR                                                                                 MOUNT MORRIS       MI      48458‐2828
ADAMS, BESSIE L           964 RUSHLEIGH RD                                                                                 CLEVELAND HTS      OH      44121‐1413
ADAMS, BESSIE MAE         720 W JAMIESON ST                                                                                FLINT              MI      48504‐2614
ADAMS, BETTY              BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD, BEVAN                                     NORTHFIELD         OH      44067
                                                          PROFESSIONAL BLDG
ADAMS, BETTY E            853 JAMESTOWN AVE                                                                                ELYRIA             OH      44035‐1811
ADAMS, BETTY L            1159 BEND RD.                                                                                    MERCER             PA      16137‐2507
ADAMS, BETTY L            1159 BEND RD                                                                                     MERCER             PA      16137‐2507
ADAMS, BEULAH C           7443 GALE RD                                                                                     OTISVILLE          MI      48463
ADAMS, BEVERLY            336 NORTH MAIN STREET APT 215                                                                    DAVISON            MI      48423
ADAMS, BEVERLY A          4600 CANTURA DR                                                                                  DAYTON             OH      45415‐3224
ADAMS, BEVERLY C          17358 WAKENDEN                                                                                   REDFORD            MI      48240‐2237
ADAMS, BEVERLY C.         654 NE TIMBERDOODLE TRL                                                                          PORT ST LUCIE      FL      34983‐3519
ADAMS, BEVERLY Z          438 IOWA AVE                                                                                     GIRARD             OH      44420‐3059
ADAMS, BEVERLY Z          438 IOWA AVE.                                                                                    GIRARD             OH      44420‐3059
ADAMS, BILLEY L           1269 STEWART DR                                                                                  YPSILANTI          MI      48198‐3096
ADAMS, BILLIE J           P.O BOX 61                                                                                       MARMADUKE          AR      72443
ADAMS, BILLY              173 WABASH AVE N                                                                                 BATTLE CREEK       MI      49017‐4727
ADAMS, BILLY J            120 PECANWOOD DR                                                                                 NATCHEZ            MS      39120‐5249
ADAMS, BILLY L            1392 SMITH RD                                                                                    XENIA              OH      45385‐9730
ADAMS, BILLY M            3401 S 900 W                                                                                     DALEVILLE          IN      47334
ADAMS, BILLY M            11900 S AIR PORT RD                                                                              UNION CITY         OK      73090
ADAMS, BILLY R            5065 EAST S AVE R3                                                                               VICKSBURG          MI      49097
ADAMS, BILLY R            2693 GROVE ROAD, RT. 6                                                                           YPSILANTI          MI      48198
ADAMS, BLAINE H           411 W MADISON AVE                                                                                MILTON             WI      53563‐1131
ADAMS, BLAINE T           14728 WATERBROOK RD                                                                              FORT WAYNE         IN      46814‐8805
ADAMS, BOBBIE M           38000 CLUB HOUSE LN UNIT 102A                                                                    HARRISON           MI      48045
                                                                                                                           TOWNSHIP
ADAMS, BOBBY G            407 S 325 E                                                                                      SHELBYVILLE         IN     46176‐9260
ADAMS, BOBBY J            5041 S 49 RD                                                                                     CADILLAC            MI     49601‐9583
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Name                   Address1                          Address2               Address3         Address4               City            State Zip
ADAMS, BOBBY J         2300 BLAKE AVE                                                                                   DAYTON           OH 45414‐3321
ADAMS, BONNIE
ADAMS, BONNIE J        4036 HIGHWAY 31 W                                                                                COTTONTOWN      TN   37048‐4848
ADAMS, BONNIE S        520 CHESTER AVE                                                                                  SPRING HILL     TN   37174‐2439
ADAMS, BRADLEY J       58340 KIMBER                                                                                     WASHINGTON      MI   48094‐2848
ADAMS, BRADLEY M       800 AUTUMN CLOSE                                                                                 ALPHARETTA      GA   30004‐4525
ADAMS, BRADLEY MCKAY   800 AUTUMN CLOSE                                                                                 ALPHARETTA      GA   30004‐4525
ADAMS, BRENDA J        2434 BRIGNAL ROAD                                                                                BROOKHAVEN      MS   39601‐2222
ADAMS, BRENDA J        2434 BRIGNALL RD NE                                                                              BROOKHAVEN      MS   39601‐2222
ADAMS, BRIAN K         9374 OAK RD                                                                                      OTISVILLE       MI   48463‐9745
ADAMS, BRIAN M         PO BOX 218                                                                                       GOODRICH        MI   48438‐0218
ADAMS, BRITTANY        12603 S TALLMAN RD                                                                               EAGLE           MI   48822‐9746
ADAMS, BRUCE D         2620 RED NIX RD                                                                                  CORNERSVILLE    TN   37047‐5136
ADAMS, BRYAN           327 BROWNVILLE RD                                                                                ROME            OH   44085‐9741
ADAMS, BRYAN E         4207 DOBBIN CIR                                                                                  DAYTON          OH   45424‐8130
ADAMS, BUSTER          R1 6785                                                                                          LOUISA          KY   41230
ADAMS, BYRON B         2225 BLAMER RD                                                                                   FAIRVIEW        MI   48621‐9721
ADAMS, CALVIN C        88 W ORCHARD SPRINGS DR                                                                          DAYTON          OH   45415‐3117
ADAMS, CARL            PO BOX 24106                                                                                     INDIANAPOLIS    IN   46224‐0106
ADAMS, CARL A          199 PUTNAM RD SW                                                                                 PATASKALA       OH   43062‐7615
ADAMS, CARL D          1902 WADSWORTH AVENUE                                                                            SAGINAW         MI   48601‐1631
ADAMS, CARL E          28469 HALES ST                                                                                   MADISON HTS     MI   48071‐2922
ADAMS, CARL W          PO BOX 463                                                                                       FAYETTEVILLE    GA   30214‐0463
ADAMS, CAROL           2301 S WEBSTER ST                                                                                KOKOMO          IN   46902
ADAMS, CAROL           WEITZ & LUXENBERG                 180 MAIDEN LANE                                                NEW YORK        NY   10038
ADAMS, CAROL           2301 SOUTH WEBSTER STREET                                                                        KOKOMO          IN   46902‐3308
ADAMS, CAROL A         6779 E 400 N                                                                                     KOKOMO          IN   46901‐8427
ADAMS, CAROL A         1517 WHISPERING OAKS DR                                                                          BRIGHTON        MI   48116‐2065
ADAMS, CAROL A         2330 ZINER CIR N                                                                                 GROVE CITY      OH   43123‐4813
ADAMS, CAROL BELL      MOODY EDWARD O                    801 W 4TH ST                                                   LITTLE ROCK     AR   72201‐2107
ADAMS, CAROL J         5230 E STATE ROUTE 571                                                                           TIPP CITY       OH   45371‐8328
ADAMS, CAROL J         7327 GALLO                                                                                       GRAND PRAIRIE   TX   75054‐6705
ADAMS, CAROL J         905 OSAGE ST                                                                                     LEAVENWORTH     KS   66048‐1822
ADAMS, CAROL J         49 KEATING DR                                                                                    ROCHESTER       NY   14622‐1521
ADAMS, CAROL L         10384 WILSON RD                                                                                  OTISVILLE       MI   48463‐9732
ADAMS, CAROL LEA       10384 WILSON RD                   PO BOX 346                                                     OTISVILLE       MI   48463‐9732
ADAMS, CAROLINE A      106 W 1ST NORTH ST                                                                               LAINGSBURG      MI   48848
ADAMS, CAROLINE A      106 W 1ST N ST                                                                                   LAINGSBURG      MI   48848
ADAMS, CAROLYN         3463 ORCHARD HILL DR                                                                             CANFIELD        OH   44406‐9251
ADAMS, CAROLYN A       4516 MAINFIELD AVE.                                                                              BALTIMORE       MD   21214‐2843
ADAMS, CAROLYN F       18013 INDIANA ST                                                                                 DETROIT         MI   48221‐2418
ADAMS, CAROLYN G       1535 KEARSLEY PARK BLVD                                                                          FLINT           MI   48506‐3514
ADAMS, CAROLYN J       2253 EIFERT RD                                                                                   HOLT            MI   48842‐1025
ADAMS, CAROLYN K       2712 W SYCAMORE ST                                                                               KOKOMO          IN   46901‐4075
ADAMS, CAROLYN K.      6135 ELAINE ST                                                                                   SPEEDWAY        IN   46224‐3034
ADAMS, CAROLYN L
ADAMS, CAROLYN S       7334 CHAPEL VILLAS DR D                                                                          INDIANAPOLIS    IN   46214
ADAMS, CARRIE L        376 CENTRAL ST                                                                                   PONTIAC         MI   48341‐3208
ADAMS, CARROLL E       43577 HILLSBORO DR                                                                               CLINTON TWP     MI   48038‐1334
ADAMS, CATHERINE A     21210 E NINTH ST                                                                                 HINTON          OK   73047‐2247
ADAMS, CATHERINE A     ROUTE 2 BOX 171                                                                                  HINTON          OK   73047
ADAMS, CATHERINE C     21849 US HIGHWAY 31                                                                              VINEMONT        AL   35179‐5993
ADAMS, CATHERINE M     96 PANSEY DR                                                                                     CLEVELAND       GA   30528
ADAMS, CATHERINE T     407 E. 3RD ST.                                                                                   SHEFFIELD       AL   35660‐3008
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Name                                 Address1                          Address2                       Address3              Address4               City            State   Zip
ADAMS, CATHERINE T                   407 E 3RD ST                                                                                                  SHEFFIELD        AL     35660‐3008
ADAMS, CATHY D                       3159 BIRMINGHAM DRIVE                                                                                         GLEN CARBON       IL    62034‐3077
ADAMS, CAYLA                         654 DEERFIELD LN                                                                                              ROYSTON          GA     30662‐5498
ADAMS, CECELIA P                     PO BOX 60135                                                                                                  DAYTON           OH     45406‐0135
ADAMS, CECIL D                       981 FISH AND FIDDLE RD                                                                                        MOUNTAIN HOME    AR     72653‐8423
ADAMS, CECIL H                       2963 GORDON RD                                                                                                SENOIA           GA     30276‐2638
ADAMS, CECIL L                       2233 FRANKFORD RD                                                                                             CARO             MI     48723‐9475
ADAMS, CECILIA G                     2232 WHITTERING WAY                                                                                           CONYERS          GA     30013‐7431
ADAMS, CHARLES
ADAMS, CHARLES                       PO BOX 232                                                                                                    PENDLETON       IN      46064‐0232
ADAMS, CHARLES & CHRIS               C/O DAVISON & DAVISON             2125 HIGHWAY 17                P.O. BOX 118                                 ROYSTON         GA      30662‐0118
ADAMS, CHARLES A                     814 POGUE ST                                                                                                  FRANKTON        IN      46044‐9791
ADAMS, CHARLES A                     1257 WILD GOOSE WAY               ST. LEONARD                    1257 WILD GOOSE WAY                          CENTERVILLE     OH      45458
ADAMS, CHARLES A
ADAMS, CHARLES C                     123 REDBUD WAY                                                                                                LEESBURG        FL      34748‐8818
ADAMS, CHARLES D                     3578 SUMMERTOWN HWY                                                                                           SUMMERTOWN      TN      38483‐5141
ADAMS, CHARLES D                     29118 CAREY RD                                                                                                SALEM           OH      44460‐9758
ADAMS, CHARLES D                     3675 OLD MONROE MADISON HWY NE                                                                                MADISON         GA      30650‐2510
ADAMS, CHARLES E                     1119 CLIFTON AVE                                                                                              ASHLAND         OH      44805‐1104
ADAMS, CHARLES E                     17305 N THOROUGHBRED DR                                                                                       SURPRISE        AZ      85374‐6382
ADAMS, CHARLES E                     13970 CLAVELL                                                                                                 FORT PIERCE     FL      34951‐4210
ADAMS, CHARLES H                     301 W PLUM ST                     P.O. BOX 495                                                                FRANKTON        IN      46044
ADAMS, CHARLES H                     17003 HUNTSVILLE BROWNSFERRY RD                                                                               ATHENS          AL      35611‐6043
ADAMS, CHARLES J                     292 HUNTERS RILL                                                                                              OXFORD          MI      48371‐6313
ADAMS, CHARLES J                     4631 MOCKINGBIRD CIR                                                                                          FARWELL         MI      48622‐9664
ADAMS, CHARLES J.                    PO BOX 232                                                                                                    PENDLETON       IN      46064‐0232
ADAMS, CHARLES JASON                 292 HUNTERS RILL                                                                                              OXFORD          MI      48371‐6313
ADAMS, CHARLES K                     LANIER LAW FIRM                   6810 FM 1960 WEST SUITE 1550                                                HOUSTON         TX      77069
ADAMS, CHARLES K                     5296 E BRISTOL RD                                                                                             BURTON          MI      48519‐1506
ADAMS, CHARLES P                     2092 SHIPPAN PT                                                                                               LAWRENCEVILLE   GA      30043‐6384
ADAMS, CHARLES R                     3791 TROVILLO RD                                                                                              MORROW          OH      45152‐8212
ADAMS, CHARLES R                     4995 THURLBY RD                                                                                               MASON           MI      48854‐9773
ADAMS, CHARLES R                     25 S WILLARD AVE                                                                                              JANESVILLE      WI      53548‐4415
ADAMS, CHARLES R                     218 SILVER LEAF DR                                                                                            BENTON          LA      71006‐4014
ADAMS, CHARLES R                     2020 MYRA AVE                                                                                                 JANESVILLE      WI      53548‐6602
ADAMS, CHARLES W                     3749 EQUINOX WAY                                                                                              DUMFRIES        VA      22025‐1833
ADAMS, CHARLES W                     125 N KILEY DR                                                                                                MARION          IN      46952‐6647
ADAMS, CHARLES/CLARA LYNETTE ADAMS   ICO THE LANIER LAW FIRM P C       6810 FM 1960 WEST                                                           HOUSTON         TX      77069

ADAMS, CHARLEY F                     GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                 NORFOLK          VA     23510
                                                                       STREET, SUITE 600
ADAMS, CHARLIE J                     5882 COUNTY ROAD 470                                                                                          DUDLEY          MO      63936‐8164
ADAMS, CHARLIE M                     2140 ROCKHAVEN                                                                                                DECATUR         GA      30032‐5371
ADAMS, CHARLOTTE I                   2640 STUBBS MILL RD                                                                                           LEBANON         OH      45036‐8760
ADAMS, CHARMANE D                    5210 14TH ST W LOT 8                                                                                          BRADENTON       FL      34207‐2872
ADAMS, CHERYL L                      1093 WOODWORTH DR                                                                                             GRAND BLANC     MI      48439‐4884
ADAMS, CHRIS D                       2024 NASHVILLE DIRT RD                                                                                        SHELBYVILLE     TN      37160
ADAMS, CHRISTINE J                   1250 HIGHLAND GREENS DR                                                                                       VENICE          FL      34285‐5665
ADAMS, CHRISTOPHER                   4801 DEVONSHIRE AVE                                                                                           LANSING         MI      48910‐7615
ADAMS, CHRISTOPHER T                 6009 FOX POINT CIR                                                                                            SHREVEPORT      LA      71129‐3508
ADAMS, CHRISTOPHER TYRONE            6009 FOX POINT CIR                                                                                            SHREVEPORT      LA      71129‐3508
ADAMS, CLARENCE                      200 REDLOR RIDGE RD                                                                                           SOMERSET        KY      42501‐4607
ADAMS, CLARENCE H                    205 EAST 44TH STREET                                                                                          N LITTLE ROCK   AR      72117‐2705
ADAMS, CLARENCE J                    2376 LASONYA LN                                                                                               HORN LAKE       MS      38637‐1378
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Name                    Address1                         Address2               Address3         Address4               City            State Zip
ADAMS, CLARITA
ADAMS, CLARK E          6135 ELAINE ST                                                                                  SPEEDWAY        IN    46224‐3034
ADAMS, CLAUDE R         1503 MARK ST                                                                                    FLINT           MI    48507‐5529
ADAMS, CLAUDE T         2862 W WALTON BLVD                                                                              WATERFORD       MI    48329‐2559
ADAMS, CLEADITH I       3309 DEL RANCHO DR                                                                              DEL CITY        OK    73115‐4924
ADAMS, CLEADITH IRENE   3309 DEL RANCHO DR                                                                              DEL CITY        OK    73115‐4924
ADAMS, CLIFFORD E       630 BETHANY ST                                                                                  SAGINAW         MI    48601‐1401
ADAMS, CLIFFORD L       3551 NORTHEDGE ST NE                                                                            ROCKFORD        MI    49341‐9216
ADAMS, CLIFFORD W       10709 GREENBRIAR CHASE                                                                          OKLAHOMA CITY   OK    73170‐3214
ADAMS, CLIFTON          80 RIVERDALE AVE                                                                                YONKERS         NY    10701
ADAMS, CLYDE            PO BOX 70                                                                                       RED OAK         TX    75154‐0070
ADAMS, CLYDE            14340 LAUDER ST                                                                                 DETROIT         MI    48227‐2594
ADAMS, CLYDE            14340 LAUDER                                                                                    DETROIT         MI    48227‐2594
ADAMS, CONSTANCE A      28437 NIEMAN RD                                                                                 NEW BOSTON      MI    48164‐9640
ADAMS, CORBY N          8614 JACARANDA DR                                                                               DIMONDALE       MI    48821
ADAMS, CORDELYA E       1774 NEWNICH AVE                                                                                SAINT LOUIS     MO    63136‐1950
ADAMS, CORENE           PO BOX 310644                                                                                   FLINT           MI    48531
ADAMS, CRAIG A          4606 S BILL RD                                                                                  DURAND          MI    48429‐9768
ADAMS, CURTIS D         4110 LEIX RD                                                                                    MAYVILLE        MI    48744‐9754
ADAMS, CYNTHIA          17334 MANSFIELD ST                                                                              DETROIT         MI    48235‐3524
ADAMS, CYNTHIA A        27406 EVERETT ST                                                                                SOUTHFIELD      MI    48076‐5129
ADAMS, CYNTHIA K        9973 W AVONDALE CIR                                                                             SUPERIOR        MI    48198‐3284
                                                                                                                        TOWNSHIP
ADAMS, CYNTHIA M        20681 WOODBEND DR                                                                               NORTHVILLE      MI    48167‐3010
ADAMS, D O              16006 HAZEL RD                                                                                  E CLEVELAND     OH    44112‐2913
ADAMS, D. JULIE L       5925 SHORE BLVD S APT 402                                                                       GULFPORT        FL    33707‐5909
ADAMS, DALE A           3316 HUGHES DR                                                                                  WARREN          MI    48092‐1941
ADAMS, DALE J           11800 N FOXVIEW DR                                                                              NORTHPORT       MI    49670‐9511
ADAMS, DALE M           5976 ROLTON CT                                                                                  WATERFORD       MI    48329‐1432
ADAMS, DALE R           475 E HARRELD RD                                                                                MARION          IN    46952‐9054
ADAMS, DANIEL           36 MORRIS RD                                                                                    NEW CASTLE      DE    19720‐1726
ADAMS, DANIEL E         6367 WESLEY DR                                                                                  TEMPERANCE      MI    48182‐1130
ADAMS, DANIEL G         6207 CHESTNUT RIDGE RD                                                                          HUBBARD         OH    44425‐2816
ADAMS, DANIEL J         719 POLAND AVE                                                                                  STRUTHERS       OH    44471‐1461
ADAMS, DANIEL L         4612 VAN BUREN ST                                                                               HUDSONVILLE     MI    49426
ADAMS, DANIEL M         12330 IRENE ST                                                                                  SOUTHGATE       MI    48195‐1763
ADAMS, DANIEL T         4495 SAINT CLAIR AVE W                                                                          N FORT MYERS    FL    33903‐5832
ADAMS, DANIEL W         639 MELODY LN                                                                                   NAPERVILLE      IL    60540‐6618
ADAMS, DANNY            6900 EASTBOURNE DR                                                                              GREGORY         MI    48137‐9646
ADAMS, DANNY            3606 KISKADEE DR                                                                                EAST LANSING    MI    48823‐8666
ADAMS, DANNY E          5007 TENNESSEE AVENUE                                                                           CHATTANOOGA     TN    37409‐1845
ADAMS, DANNY J          310 LAKE POINT WAY                                                                              NOBLESVILLE     IN    46062‐9766
ADAMS, DANNY L          2330 ZINER CIR N                                                                                GROVE CITY      OH    43123‐4813
ADAMS, DANNY W          200 IDAHO RD                                                                                    AUSTINTOWN      OH    44515‐3702
ADAMS, DAPHNE R         3475 BRENTWOOD CT                                                                               ANN ARBOR       MI    48108‐1757
ADAMS, DAREL R          8820 TUTTLE HILL RD                                                                             YPSILANTI       MI    48197‐9443
ADAMS, DARIN M          65831 WINDROSE CT                                                                               RAY TWP         MI    48096‐1837
ADAMS, DARLENE          116 GREENFIELD CIR                                                                              WEST MONROE     LA    71291‐9803
ADAMS, DARLENE C        116 GREENFIELD CIR                                                                              WEST MONROE     LA    71291‐9803
ADAMS, DARLENE K        11240 74TH ST                                                                                   BURR RIDGE      IL    60527‐7702
ADAMS, DARLENE KOTRBA   11240 74TH ST                                                                                   BURR RIDGE      IL    60527‐7702
ADAMS, DARLENE V        6301 GEORGIA AVE                                                                                KANSAS CITY     KS    66104‐1960
ADAMS, DARLENE V        6301 GEORGIA                                                                                    KANSAS CITY     KS    66104‐1960
ADAMS, DARREL D         124 33RD AVE NW                                                                                 HICKORY         NC    28601‐1064
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Name                   Address1                         Address2               Address3         Address4               City               State   Zip
ADAMS, DAVE E          15356 SUMMER LN                                                                                 OCQUEOC             MI     49759‐9653
ADAMS, DAVID           PO BOX 896                                                                                      MOUNDSVILLE         WV     26041‐0896
ADAMS, DAVID           PO BOX 55                                                                                       TROY                MI     48099‐0055
ADAMS, DAVID A         9364 N FORWARD RD                                                                               LAKE CITY           MI     49651‐9353
ADAMS, DAVID A         8867 WARREN RD                                                                                  PLYMOUTH            MI     48170‐5119
ADAMS, DAVID A         8974 HOWLAND SPRINGS RD SE                                                                      WARREN              OH     44484‐3128
ADAMS, DAVID ALTON     9364 NORTH FORWARD ROAD                                                                         LAKE CITY           MI     49651‐9353
ADAMS, DAVID C         10429 BITTERROOT CT                                                                             FORT WAYNE          IN     46804‐6931
ADAMS, DAVID C         49098 SNOWSHOE DR                                                                               MACOMB              MI     48044‐1832
ADAMS, DAVID C & SON   25517 5 MILE RD                                                                                 DETROIT             MI     48239‐3228
ADAMS, DAVID E         9072 BILL SAVAGE RD                                                                             LULA                GA     30554‐2129
ADAMS, DAVID E         2889 SHIAWAY TRL                                                                                SNELLVILLE          GA     30039‐5902
ADAMS, DAVID G         WEITZ & LUXENBERG P.C.           180 MAIDEN LANE                                                NEW YORK            NY     10038
ADAMS, DAVID H         3863 MORGAN RD                                                                                  ORION               MI     48359‐1914
ADAMS, DAVID J         717 RAINBOW DR                                                                                  MILTON              WI     53563‐1649
ADAMS, DAVID J         950 ROLLING PINES DR                                                                            ORTONVILLE          MI     48462‐8853
ADAMS, DAVID J         2121 ALYSSA JADE DR                                                                             HENDERSON           NV     89052‐7125
ADAMS, DAVID JAY       2121 ALYSSA JADE DR                                                                             HENDERSON           NV     89052‐7125
ADAMS, DAVID L         2632 E TURNING LEAF WAY                                                                         FRUITPORT           MI     49415‐8884
ADAMS, DAVID L         13715 BARNES RD                                                                                 BYRON               MI     48418‐8953
ADAMS, DAVID R         6762 N 125 E                                                                                    ALEXANDRIA          IN     46001‐8655
ADAMS, DAVID R         4724 N LOUDEN RD                                                                                BLOOMINGTON         IN     47404‐9797
ADAMS, DAVID R         9826 WORTHINGTON BLVD                                                                           FISHERS             IN     46038‐5300
ADAMS, DAVID T         5265 GREEN HILLS DR                                                                             BROWNSBURG          IN     46112‐8770
ADAMS, DAWN            150 W VILLAGE CT                                                                                RIVERDALE           GA     30296‐1670
ADAMS, DEANNA N        23630 GLENCREEK DR                                                                              FARMINGTON HILLS    MI     48336‐3041

ADAMS, DEBORAH         854 S 13TH ST                                                                                   TOLEDO             OH      43604‐8261
ADAMS, DEBORAH         1143 LINCOLN AVE                                                                                TOLEDO             OH      43607‐1924
ADAMS, DEBORAH A       9111 SUNCREST DR                                                                                FLINT              MI      48504‐8140
ADAMS, DEBORAH K       169 TRUDY LANE                                                                                  SAINT GEORGE       SC      29477
ADAMS, DEBORAH K       169 TRUDY LN                                                                                    SAINT GEORGE       SC      29477‐7936
ADAMS, DEBORAH L       16 N BUCKLES AVE                                                                                JAMESTOWN          OH      45335‐1558
ADAMS, DEBRA           3757 VINEYARD NE                                                                                GRAND RAPIDS       MI      49525
ADAMS, DEBRA D         6139 OTOOLE LN O                                                                                MOUNT MORRIS       MI      48458
ADAMS, DEBRA DENISE    6139 OTOOLE LN                                                                                  MOUNT MORRIS       MI      48458‐2627
ADAMS, DELBERT O       1208 W REDBUD DR                                                                                HURST              TX      76053‐5316
ADAMS, DELIA B         219 E HILLCREST AVE                                                                             DAYTON             OH      45405‐2831
ADAMS, DELIA B         219 EAST HILLCREST AVE                                                                          DAYTON             OH      45405‐2831
ADAMS, DELL            8686 IRONWOOD DR                                                                                BELLEVILLE         MI      48111‐7418
ADAMS, DELLA           318 NO AMERICAN BLVD                                                                            VANDALIA           OH      45377
ADAMS, DELOIS A        2241 BAINTER AVE                                                                                GROVE CITY         OH      43123‐8442
ADAMS, DELORES A.      5043 WEST 14TH STREET                                                                           SPEEDWAY           IN      46224‐6503
ADAMS, DELORES A.      5043 W 14TH ST                                                                                  SPEEDWAY           IN      46224‐6503
ADAMS, DENISE M        3083 SANDS CT                                                                                   MILFORD            MI      48380‐3455
ADAMS, DENNIS          2694 DOUGLAS LN                                                                                 THOMPSONS          TN      37179‐5008
                                                                                                                       STATION
ADAMS, DENNIS A        132 BROOKSIDE BLVD                                                                              NEWARK              DE     19713‐2623
ADAMS, DENNIS A        1028 VALLEY OF LKS               # B‐12                                                         HAZLETON            PA     18202
ADAMS, DENNIS G        44 GLEN RD                                                                                      ROCHESTER           NY     14610‐3502
ADAMS, DENNIS J        7630 W EAST DR                                                                                  ELWOOD              IN     46036‐8637
ADAMS, DENNIS M        1703 KEYS FERRY RD                                                                              MCDONOUGH           GA     30252‐6205
ADAMS, DENNIS M        2315 W ROSEDALE ST S                                                                            FORT WORTH          TX     76110‐1137
ADAMS, DENNIS R        7018 WILSON RD                                                                                  MONTROSE            MI     48457‐9138
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ADAMS, DENNIS RAY      7018 WILSON RD                                                                                         MONTROSE         MI     48457‐9138
ADAMS, DENNIS W        2141 GLENSIDE AVE                                                                                      CINCINNATI       OH     45212
ADAMS, DENNY R         10 MEADOW LN                                                                                           NEWARK           DE     19713‐2753
ADAMS, DERRICK S       27662 PARKVIEW BLVD.                                                                                   WARREN           MI     48092
ADAMS, DEVIN W         2700 W BLISS RD                                                                                        CARO             MI     48723‐9270
ADAMS, DEVONNA L       19312 LAUDER ST                                                                                        DETROIT          MI     48235‐1942
ADAMS, DEWITT          3705 N LASALLE ST                                                                                      INDIANAPOLIS     IN     46218‐1316
ADAMS, DIANA L         13715 BARNES RD                                                                                        BYRON            MI     48418‐8953
ADAMS, DIANA R         17459 ELLSWORTH RD                                                                                     LAKE MILTON      OH     44429‐4429
ADAMS, DIANE           N3252 STATE ROAD 76                                                                                    HORTONVILLE      WI     54944‐9125
ADAMS, DIANE M         2030 N LAWLER AVE                                                                                      CHICAGO           IL    60639‐3136
ADAMS, DIANNE          20155 VINING RD                                                                                        NEW BOSTON       MI     48164‐9414
ADAMS, DOMENICA V      1337 PEGASUS TRL                                                                                       SAINT PETERS     MO     63376‐4082
ADAMS, DON             7142 S CLAREMONT AVE                                                                                   CHICAGO           IL    60636‐3611
ADAMS, DON L           644 LINCOLN AVE                                                                                        FLINT            MI     48507‐1750
ADAMS, DONALD C        309 DIAMOND LN N                                                                                       BURLESON         TX     76028‐6731
ADAMS, DONALD E        9745 SIESTA KEY DR                                                                                     PORTAGE          MI     49002‐3916
ADAMS, DONALD F        GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                                     PITTSBURGH       PA     15219

ADAMS, DONALD G        2808 PIEDRA DR                                                                                         PLANO           TX      75023‐5412
ADAMS, DONALD G        713 CANEFIELD CT                                                                                       RICHMOND        KY      40475‐7535
ADAMS, DONALD H        13964 HELEN ST                                                                                         PAULDING        OH      45879‐8893
ADAMS, DONALD J        1554 GREENWICH EAST                                                                                    NEW LONDON      OH      44851
ADAMS, DONALD J        1554 E GREENWICH                                                                                       NEW LONDON      OH      44851
ADAMS, DONALD L        11957 CUTLER RD                                                                                        PORTLAND        MI      48875‐8469
ADAMS, DONALD L        671 MILLER ROAD                                                                                        NORTH EAST      MD      21901
ADAMS, DONALD L        PO BOX 990                                                                                             BUFFALO         NY      14215‐0990
ADAMS, DONALD M        4509 ROSEDALE RD                                                                                       MIDDLETOWN      OH      45042‐4952
ADAMS, DONALD R        400 W. MARTINDALE RD                                                                                   UNION           OH      45322‐3005
ADAMS, DONALD R        5234 RUSTIC WAY                                                                                        OLD HICKORY     TN      37138‐1345
ADAMS, DONALD R        4529 MAIN ST                                                                                           ANDERSON        IN      46013‐4733
ADAMS, DONALD R        136 CALVERT DR                                                                                         PADUCAH         KY      42003‐1115
ADAMS, DONALD R        PMB 12915                           229 RAINBOW DR                                                     LIVINGSTON      TX      77399‐2029
ADAMS, DONALD R        400 W MARTINDALE RD                                                                                    UNION           OH      45322‐3005
ADAMS, DONALD R        GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                                       SAGINAW         MI      48604‐2602
                                                           260
ADAMS, DONALD R        2134 GREENWOOD RD #128                                                                                 SHREVEPORT      LA      71103
ADAMS, DONALD R        1201 LEXINGTON RD                                                                                      PLEASANT HILL   MO      64080‐1115
ADAMS, DONALD R        1033 N 48TH ST                                                                                         BATON ROUGE     LA      70802‐1350
ADAMS, DONALD W        3401 RIVER ST                                                                                          KINGSTON        MI      48741‐9742
ADAMS, DONALD W        3487 PINE ST                                                                                           KINGSTON        MI      48741‐8754
ADAMS, DONALD W        GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                        NORFOLK         VA      23510
                                                           STREET, SUITE 600
ADAMS, DONALD W        1335 LINDBERG RD                                                                                       ANDERSON        IN      46012‐2637
ADAMS, DONEL           8381 MONTGOMERY RUN RD APT K                                                                           ELLICOTT CITY   MD      21043
ADAMS, DONNA LEE       6291 CHURCH STREET                                                                                     CASS CITY       MI      48726‐1155
ADAMS, DONNA LEE       6291 CHURCH ST                                                                                         CASS CITY       MI      48726‐1155
ADAMS, DONO M          1407 BLUEBERRY LN                                                                                      FLINT           MI      48507‐5328
ADAMS, DORA C          48878 PARK PLACE DR                                                                                    MACOMB          MI      48044‐2241
ADAMS, DORENE          20464 TRACEY ST                                                                                        DETROIT         MI      48235
ADAMS, DORIS L         1093 WOODWORTH DR                                                                                      GRAND BLANC     MI      48439‐4884
ADAMS, DORIS MADELON   1358 BELLBROOK AVE                                                                                     XENIA           OH      45385‐4018
ADAMS, DORITA D        810 MCCOSKRY ST                                                                                        SAGINAW         MI      48601
ADAMS, DOROTHEA O      2824 72ND STREET CT W                                                                                  BRADENTON       FL      34209‐5304
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Name                 Address1                          Address2               Address3         Address4               City               State   Zip
ADAMS, DOROTHY       216 FINNELL DR                                                                                   KEYTESVILLE         MO     65261
ADAMS, DOROTHY       216 E FINNELL DR                                                                                 KEYTESVILLE         MO     65261‐1237
ADAMS, DOROTHY A     3 HOKE SMITH BLVD. APT. A001                                                                     GREENVILLE          SC     29615
ADAMS, DOROTHY J     16740 ROOSEVELT HIGHWAY                                                                          KENDALL             NY     14476‐9630
ADAMS, DOROTHY L     16351 ROTUNDA DR APT 293                                                                         DEARBORN            MI     48120‐1158
ADAMS, DOROTHY L     336 GASTON LN                                                                                    BOSSIER CITY        LA     71112‐4269
ADAMS, DOUGLAS       15358 TURNER ST                                                                                  DETROIT             MI     48238‐1951
ADAMS, DOUGLAS C     4880 GILBO AVE                                                                                   WATERFORD           MI     48328‐2847
ADAMS, DOUGLAS E     7349 W STATE ROAD 38                                                                             NEW CASTLE          IN     47362‐9750
ADAMS, DOUGLAS R     500 LYNBROOK DR                                                                                  PACIFICA            CA     94044‐1761
ADAMS, DOUGLAS R     2115 N LEXINGTON DR                                                                              JANESVILLE          WI     53545‐0537
ADAMS, DOUGLAS S     12 ANNA DR                                                                                       BOWMANSVILLE        NY     14026‐1018
ADAMS, DOUGLAS S     55 BROOKHAVEN LN                                                                                 LANCASTER           NY     14086‐9568
ADAMS, DOUGLAS V     202 SHIAWASSEE, BOX 66                                                                           LAINGSBURG          MI     48848
ADAMS, DOYLE         420 BURNSIDE BLVD                                                                                WILMINGTON          DE     19804‐3003
ADAMS, DUANE         822 WEBB ST                                                                                      DETROIT             MI     48202‐1025
ADAMS, DUANE L       920 WESTMORELAND AVE                                                                             LANSING             MI     48915‐2027
ADAMS, DURWOOD C     3917 HIGHWAY 145                                                                                 MARTIN              GA     30557‐3713
ADAMS, DURWOOD C     RT 1 BOX 505                                                                                     MARTIN              GA     30557‐9705
ADAMS, DWAYNE E      1014 CREOLE DR                                                                                   BOSSIER CITY        LA     71111‐8194
ADAMS, DWIGHT C      612 E GREEN ST                                                                                   CLINTON             MO     64735‐1644
ADAMS, EARL C        5203 MIDWAY DR                                                                                   HASTINGS            MI     49058‐8239
ADAMS, EARL W        10729 ONEIDA ROAD                                                                                GRAND LEDGE         MI     48837‐9760
ADAMS, EARNESTINE    2663 HEMPSTEAD RD                                                                                AUBURN HILLS        MI     48326‐3414
ADAMS, EARVA L       200 MESSER DR                                                                                    PARAGOULD           AR     72450‐9362
ADAMS, EDDIE JERRY   DAVID THORNHILL                   1175 OLD SPANISH TRL                                           SLIDELL             LA     70458‐5019
ADAMS, EDDIE S       PO BOX 204                                                                                       BRANDON             MS     39043‐0204
ADAMS, EDITH A       625 S JACKSON ST                                                                                 JANESVILLE          WI     53548‐4724
ADAMS, EDMUND H      2320 HESTER CT                                                                                   KEEGO HARBOR        MI     48320‐1439
ADAMS, EDNA E        227 W LAKE INA DR                                                                                WINTER HAVEN        FL     33884‐1522
ADAMS, EDWARD A      9140 MERRIMAN RD                                                                                 LIVONIA             MI     48150‐3955
ADAMS, EDWARD C      1642 ROBERTS LN NE                                                                               WARREN              OH     44483‐3620
ADAMS, EDWARD C      327 E JAMES DR                                                                                   PORT WASHINGTON     WI     53074‐1385

ADAMS, EDWARD D      2391 SHENANDOAH DR.                                                                              TROY               OH      45373‐9230
ADAMS, EDWARD F      9534 PINE SPRAY CT                                                                               SAINT LOUIS        MO      63126‐2610
ADAMS, EDWARD H      1254 FOREST AVE                                                                                  BURTON             MI      48509‐1906
ADAMS, EDWARD J      5569 MOCERI LN                                                                                   GRAND BLANC        MI      48439‐4363
ADAMS, EDWIN A       6329 CENTRAL ST                                                                                  ROMULUS            MI      48174‐4215
ADAMS, EDWIN J       10831 MARTZ RD                                                                                   YPSILANTI          MI      48197‐9422
ADAMS, EILEEN M      12640 NORTH HOLLY RD.             APT # A105                                                     GRAND BLANC        MI      48439
ADAMS, EILEEN M      12640 HOLLY RD APT A105                                                                          GRAND BLANC        MI      48439‐1854
ADAMS, ELAINE C      323 JOHNSON DR                                                                                   TRENTON            MO      64683‐2725
ADAMS, ELAINE C      323 S JOHNSON DR                                                                                 TRENTON            MO      64683‐2725
ADAMS, ELEANOR H     6621 POTOMAC AVE                                                                                 PORTAGE            IN      46368‐2426
ADAMS, ELEANOR J     17818 SE RIVER RD                                                                                MILWAUKIE          OR      97267‐5819
ADAMS, ELIZABETH     23133 TIMBERLINE DR                                                                              SOUTHFIELD         MI      48033‐6567
ADAMS, ELIZABETH     PO BOX 39192                                                                                     NORTH RIDGEVILLE   OH      44039‐0192

ADAMS, ELIZABETH     PO BOX 218                                                                                       GOODRICH            MI     48438‐0218
ADAMS, ELIZABETH A   14610 PARIS ST                                                                                   ALLEN PARK          MI     48101‐3014
ADAMS, ELIZABETH A   RFD 2 ‐ 11461 HALSEY RD                                                                          HOLLY               MI     48442
ADAMS, ELIZABETH W   111 LEON PATRICK DR                                                                              MONROE              LA     71203‐2458
ADAMS, ELMER L       125 HUNTRIDGE DR                                                                                 STOCKBRIDGE         GA     30281‐4746
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ADAMS, ELMER LAVERT   C/O MOODY                      801 WEST FOURTH ST                                               LITTLE ROCK         AR     72201
ADAMS, ELMIRA         11804 S LOOMIS ST                                                                               CHICAGO              IL    60643
ADAMS, ELMIRA         11804 S. LOOMIS                                                                                 CHICAGO              IL    60643‐5041
ADAMS, ELMO           3797 CHERYL ST                                                                                  BUCYRUS             OH     44820‐9647
ADAMS, ELVIN L        PO BOX 33                                                                                       FREEMAN             MO     64746‐0033
ADAMS, ELWOOD         PAUL REICH & MYERS PC          1608 WALNUT ST STE 500                                           PHILADELPHIA        PA     19103‐5446
ADAMS, EMERSON J      13163 CONCORD DR                                                                                STERLING HTS        MI     48313‐1834
ADAMS, EMILY M        1020 W WALL ST                                                                                  JANESVILLE          WI     53548‐3574
ADAMS, EMMA S         1117 HEDGEVIEW WAY                                                                              CLEVELAND           TN     37311‐6710
ADAMS, EMMETT         PORTER & MALOUF PA             4670 MCWILLIE DR                                                 JACKSON             MS     39206‐5621
ADAMS, EMMETT J       55 ODAWA PL                                                                                     SWARTZ CREEK        MI     48473
ADAMS, EMORY W        1090 MARTINS GROVE RD                                                                           DAHLONEGA           GA     30533‐3853
ADAMS, ERICA          2532 MARKLAND ST                                                                                IRVING              TX     75060‐6870
ADAMS, ERLA MAE       19716 CRESENT BEACH ROAD                                                                        THREE RIVERS        MI     49093‐8017
ADAMS, ERLA MAE       19716 CRESCENT BEACH RD                                                                         THREE RIVERS        MI     49093‐8017
ADAMS, ERNEST A       ANGELOS PETER G                100 N CHARLES STREET, ONE                                        BALTIMORE           MD     21201‐3804
                                                     CHARLES CENTER
ADAMS, ERNEST L       4573 ROBLAR HILLS DR                                                                            ENGLEWOOD          OH      45322‐3520
ADAMS, ERNESTINE V.   602 E 5TH ST                                                                                    LIMA               OH      45804‐2524
ADAMS, ERWIN M        APT 501                        1501 GULF BOULEVARD                                              CLEARWATER         FL      33767‐2903
ADAMS, ESTA M         2752 E 150 S                                                                                    ANDERSON           IN      46017‐9583
ADAMS, ESTELLA        4556 DICKSON RD                                                                                 INDIANAPOLIS       IN      46226‐2110
ADAMS, ESTER G        626 DELAWARE ST SE                                                                              GRAND RAPIDS       MI      49507‐1230
ADAMS, ESTHER D       13205 N JENNINGS RD                                                                             CLIO               MI      48420‐8826
ADAMS, ESTHER W       RT 3 BOX 248A                                                                                   GRAFTON            WV      26354
ADAMS, ETHEL YVONNE   27393 W SKYE DR                                                                                 FARMINGTON HILLS   MI      48334‐5344

ADAMS, EUGENE         PO BOX 2359                                                                                     CLEVELAND          GA      30528‐0042
ADAMS, EUGENE         BEVAN & ASSOCIATES             10360 NORTHFIELD ROAD, BEVAN                                     NORTHFIELD         OH      44067
                                                     PROFESSIONAL BLDG
ADAMS, EUGENE A       83 SCRIVER CREEK RD                                                                             GARDEN VALLEY      ID      83622‐5135
ADAMS, EUGENE H       3925 RILEY AVE                                                                                  STRUTHERS          OH      44471‐1829
ADAMS, EUGENE H       777 E SHETLAND TRL                                                                              CEDAR              MI      49621‐9429
ADAMS, EUGENE K       33 ROCKY MOUNTAIN PASS                                                                          ADAIRSVILLE        GA      30103‐5882
ADAMS, EULA V         910 FRANKLIN MILL TRCE                                                                          LOGANVILLE         GA      30052‐7630
ADAMS, EURDIS         2796 HIGHWAY 130                                                                                WINNSBORO          LA      71295‐5835
ADAMS, EVA A          290 AUTUMN GOLD DR                                                                              CHICO              CA      95973‐7272
ADAMS, EVA M          36 DD ST                                                                                        LAKELAND           FL      33815‐4272
ADAMS, EVELYN         249 BONDALE                                                                                     PONTIAC            MI      48341‐2721
ADAMS, EVELYN         249 BONDALE AVE                                                                                 PONTIAC            MI      48341‐2721
ADAMS, EVELYN D       13971 PLACID CV                                                                                 STRONGSVILLE       OH      44136‐5140
ADAMS, EVELYN J       1044 JULIE DR                                                                                   DAVISON            MI      48423‐2829
ADAMS, FAMOUS         PO BOX 24682                                                                                    INDIANAPOLIS       IN      46224‐0682
ADAMS, FAY A          805 N ESPLANADE ST                                                                              MOUNT CLEMENS      MI      48043‐6427
ADAMS, FELICIA H      797 NORDHOFF FARM DRIVE                                                                         ENGLEWOOD          OH      45322‐2934
ADAMS, FERN           140 HOPI DR                                                                                     CYNTHIANA          KY      41031‐6837
ADAMS, FLORENCE D     21796 GASCONY AVE                                                                               EASTPOINTE         MI      48021‐2527
ADAMS, FLOSSIE L      2931 STATE ROUTE 125                                                                            HAMERSVILLE        OH      45130‐8753
ADAMS, FLOSSIE L      2931 ST RT 125                                                                                  HAMERSVILLE        OH      45130‐8753
ADAMS, FLOYD L        16328 COUNTY ROAD 248                                                                           BLOOMFIELD         MO      63825‐8132
ADAMS, FLOYD P        675 NEW HOPE RD                                                                                 NEW TAZEWELL       TN      37825‐4531
ADAMS, FOREST         4897 GERMANTOWN PIKE                                                                            DAYTON             OH      45418‐2210
ADAMS, FORREST T      PO BOX 65                                                                                       YOUNGSTOWN         OH      44501‐0065
ADAMS, FOSTER A       5180 HIGHWOOD DR                                                                                FLINT              MI      48504‐1220
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ADAMS, FRANCES B      9047 E AVENUE T                                                                                LITTLEROCK       CA     93543‐1828
ADAMS, FRANCES J      1 MICOLE CT                                                                                    DIX HILLS        NY     11746‐5851
ADAMS, FRANCES K      220 MAPLE RIDGE AVE                                                                            WILMINGTON       OH     45177‐3914
ADAMS, FRANCIS J      1000 LA COSTA LN                                                                               WINTER HAVEN     FL     33881‐9784
ADAMS, FRANCIS L      67 FLORES DEL NORTE                                                                            FORT PIERCE      FL     34951‐2879
ADAMS, FRANK A        23618 FELCH ST                                                                                 CLEVELAND        OH     44128‐5224
ADAMS, FRANK D        12393 NEW HOPE WHITE OAK STA RD                                                                GEORGETOWN       OH     45121‐9520
ADAMS, FRANK J        4501 E COUNTY ROAD 450 S                                                                       MUNCIE           IN     47302‐8312
ADAMS, FRANK W        2143 GUTHRIE RD                                                                                BEDFORD          IN     47421‐6921
ADAMS, FRANKIE
ADAMS, FRANKLIN L     PO BOX 52                                                                                      GRANDVIEW       TX      76050‐0052
ADAMS, FRED           3312 SUNNYVIEW DR                                                                              SAGINAW         MI      48604‐1738
ADAMS, FRED D         23701 RIVERSIDE DRIVE                                                                          SOUTHFIELD      MI      48033‐3307
ADAMS, FRED D         1999 CANDACE LN SE                                                                             ATLANTA         GA      30316‐4937
ADAMS, FRED V         PO BOX 21                                                                                      CLIO            MI      48420‐0021
ADAMS, FREDDY L       PO BOX 1081                                                                                    MARSHALL        TX      75671‐1081
ADAMS, FREDDY LEE     PO BOX 1081                                                                                    MARSHALL        TX      75671‐1081
ADAMS, FREDERIC R     811 35TH AVE                                                                                   SEATTLE         WA      98122
ADAMS, FREDERICK      93 FULLER PL APT C                                                                             IRVINGTON       NJ      07111‐2133
ADAMS, FREDERICK      9157 S OGLESBY AVE                                                                             CHICAGO         IL      60617‐3855
ADAMS, FREDERICK L    913 CENTER ST APT 602                                                                          MCKEESPORT      PA      15132
ADAMS, FREDERICK T    699 W GARFIELD RD                                                                              COLUMBIANA      OH      44408‐9304
ADAMS, FREIDA D       711 INDIAN BAY DR                                                                              SHERWOOD        AR      72120‐3458
ADAMS, GALE R         20 HIDDEN VALLEY CT                                                                            TROY            MO      63379‐2266
ADAMS, GARALD O       5970 S CUSTER RD                                                                               MONROE          MI      48161‐9778
ADAMS, GARALD ORLEY   5970 S CUSTER RD                                                                               MONROE          MI      48161‐9778
ADAMS, GAROLD         286 N BARLOW RD                                                                                HARRISVILLE     MI      48740
ADAMS, GARRY D        13579 OXFORD RD                                                                                GERMANTOWN      OH      45327‐9750
ADAMS, GARRY J        7136 TUCKER RD                                                                                 HOLLY           MI      48442‐8863
ADAMS, GARY A         2917 HAIG AVE                                                                                  KETTERING       OH      45419‐2127
ADAMS, GARY B         408 E COUNTY ROAD 550 S                                                                        CLOVERDALE      IN      46120‐9655
ADAMS, GARY D         556 N COUNTY ROAD 1050 E                                                                       INDIANAPOLIS    IN      46234‐8936
ADAMS, GARY L         5300 FLORA DR                                                                                  LEWISBURG       OH      45338‐7720
ADAMS, GARY L         11543 SPRING TOWN RD                                                                           MINERAL POINT   MO      63660‐9304
ADAMS, GARY L         2104 DIAMOND AVE                                                                               FLINT           MI      48532‐4536
ADAMS, GARY R         22513 WATSON RD                                                                                DEFIANCE        OH      43512‐6700
ADAMS, GARY R         15472 LOBDELL RD                                                                               LINDEN          MI      48451‐8720
ADAMS, GARY RUDOLPH   15472 LOBDELL RD                                                                               LINDEN          MI      48451‐8720
ADAMS, GARY S         72 GANGES BLVD                                                                                 SWARTZ CREEK    MI      48473‐1606
ADAMS, GARY S         3883 GLORIA ST                                                                                 WAYNE           MI      48184‐1986
ADAMS, GARY SHANE     72 GANGES BLVD                                                                                 SWARTZ CREEK    MI      48473‐1606
ADAMS, GARY W         4815 ALPHA WAY                                                                                 FLINT           MI      48506‐1837
ADAMS, GARY W         6380 W 16 RD                                                                                   MESICK          MI      49668‐8700
ADAMS, GAYLON H       10766 SAINT DISMAS CT                                                                          SAINT ANN       MO      63074‐2609
ADAMS, GEMMA M        G2155 BERNICE ST                                                                               FLINT           MI      48532‐3912
ADAMS, GENEVA         1902 WELCH BLVD                                                                                FLINT           MI      48504‐3016
ADAMS, GENEVA         38 TOFT WOODS WAY                                                                              MEDIA           PA      19063‐4336
ADAMS, GENEVA C       1411 HENDRICKS ST                                                                              ANDERSON        IN      46016‐3428
ADAMS, GENEVA K.      14978 SOMERS CHURCH ROAD R1                                                                    THOMPSONVILLE   IL      62890‐4822
ADAMS, GENEVIEVE      3219 WEISS ST                                                                                  SAGINAW         MI      48602‐3417
ADAMS, GEORGE         108 STALLINGS ST APT B                                                                         LELAND          MS      38756‐2156
ADAMS, GEORGE         PORTER & MALOUF PA                4670 MCWILLIE DR                                             JACKSON         MS      39206‐5621
ADAMS, GEORGE D       PO BOX 112                                                                                     NINEVEH         IN      46164‐0112
ADAMS, GEORGE E       789 BIGHAM ST                                                                                  PONTIAC         MI      48342‐1701
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ADAMS, GEORGE E          340 STAHL AVE.                                                                                CORTLAND            OH     44410‐4410
ADAMS, GEORGE E          340 STAHL AVE                                                                                 CORTLAND            OH     44410‐1140
ADAMS, GEORGE M          23634 WHITTAKER DR                                                                            FARMINGTON          MI     48335‐3363
ADAMS, GEORGE R          304 RILEY BLVD                                                                                BEDFORD             IN     47421‐9650
ADAMS, GEORGE W          11868 CURWOOD DR                                                                              GRAND BLANC         MI     48439‐1158
ADAMS, GEORGIA U         7515 CAILLET                                                                                  DALLAS              TX     75209‐4001
ADAMS, GEORGIA U         7515 CAILLET ST                                                                               DALLAS              TX     75209‐4001
ADAMS, GERALD            TRACY FIRM                    5473 BLAIR RD STE 200                                           DALLAS              TX     75231‐4168
ADAMS, GERALD B          1810 KELBERG AVE                                                                              HOFFMAN ESTATES      IL    60192

ADAMS, GERALD E          1312 E 1100 N                                                                                 ALEXANDRIA         IN      46001‐9039
ADAMS, GERALD F          702 MAGNOLIA AVE                                                                              ROYAL OAK          MI      48073‐4018
ADAMS, GERALD H          134 JIM MCMICHAEL RD                                                                          JACKSON            GA      30233‐4225
ADAMS, GERALD R          654 NE TIMBERDOODLE TRL                                                                       PORT SAINT LUCIE   FL      34983‐3519
ADAMS, GERALDINE         PO BOX 500922                                                                                 ATLANTA            GA      31150‐0922
ADAMS, GERALDINE         7435 CHAPEL ROAD              BOX 263                                                         MADISON            OH      44057
ADAMS, GERARD F          13339 CLOVERLAWN DR                                                                           STERLING HTS       MI      48312‐1622
ADAMS, GERTRUDE E        6375 E KING RD                                                                                LAKE ODESSA        MI      48849‐9305
ADAMS, GILBERT           SIMMONS FIRM                  PO BOX 559                                                      WOOD RIVER         IL      62095‐0559
ADAMS, GILES A           GLASSER AND GLASSER           CROWN CENTER, 580 EAST MAIN                                     NORFOLK            VA      23510
                                                       STREET, SUITE 600
ADAMS, GLEN V            19804 S HOOVER RD                                                                             PLEASANT HILL      MO      64080‐8234
ADAMS, GLENDON C         PO BOX 4164                                                                                   DALTON             GA      30719‐1164
ADAMS, GLENDON CHARLES   13092 MOHAWK DR                                                                               LINDEN             MI      48451‐9430
ADAMS, GLORIA D          1733 RICHMOND AVE                                                                             YOUNGSTOWN         OH      44505‐4724
ADAMS, GOLDIE            10843 SCOTT DR                                                                                WHITMORE LAKE      MI      48189
ADAMS, GOLDIE B          3574 STATE ROUTE #5 N.E.                                                                      CORTLAND           OH      44410
ADAMS, GRACE L           2314 GIBSON ST                                                                                FLINT              MI      48503‐3164
ADAMS, GRACE LAVERNE     2314 GIBSON ST                                                                                FLINT              MI      48503‐3164
ADAMS, GREGORY H         726 N STINE RD                                                                                CHARLOTTE          MI      48813‐7803
ADAMS, GRETCHEN E        1705 E MEMORIAL DR                                                                            MUNCIE             IN      47302‐4404
ADAMS, GUERNIETTA J      7650 GREELEY ST APT 208                                                                       UTICA              MI      48317‐5447
ADAMS, GUSTAV J          417 E WIGWAM BLVD                                                                             LITCHFIELD PARK    AZ      85340‐4412
ADAMS, H. JEWEL          2560 WENDOVER RD                                                                              BLOOMFIELD HILLS   MI      48302‐1174
ADAMS, HARLEY C          8525 GULF BLVD APT 803                                                                        NAVARRE            FL      32566
ADAMS, HAROLD C          4601 KNOBHILL DR                                                                              HUBER HEIGHTS      OH      45424‐6026
ADAMS, HAROLD D          3193 S GENESEE RD                                                                             BURTON             MI      48519‐1421
ADAMS, HAROLD DUSKIN     3193 S GENESEE RD                                                                             BURTON             MI      48519‐1421
ADAMS, HAROLD E          4600 SOUTHWESTERN BOULEVARD                                                                   HAMBURG            NY      14075‐1939
ADAMS, HAROLD G          501 DANIEL AVE                                                                                FLUSHING           MI      48433‐1314
ADAMS, HAROLD L          138 GOENS RD                                                                                  JACKSON            GA      30233‐5709
ADAMS, HAROLD L          1155 ABERDEEN ST                                                                              JACKSON            MS      39209‐7457
ADAMS, HAROLD M          120 E VINEWOOD ST                                                                             DURAND             MI      48429‐1605
ADAMS, HAROLD M          5151 BURNSIDE RD                                                                              NORTH BRANCH       MI      48461‐8947
ADAMS, HAROLD MARK       120 E VINEWOOD ST                                                                             DURAND             MI      48429‐1605
ADAMS, HAROLD R          4518 BEECHER AVE                                                                              DAYTON             OH      45420‐3125
ADAMS, HARRY E           144 INDEPENDENCE ST                                                                           PERRYOPOLIS        PA      15473‐5384
ADAMS, HARRY H           PO BOX 502                                                                                    FRANKLIN           GA      30217‐0502
ADAMS, HARRY J           17459 ELLSWORTH RD.                                                                           LAKE MILTON        OH      44429‐4429
ADAMS, HARRY T           2911 HUNTINGTON PARK DR                                                                       WATERFORD          MI      48329‐4528
ADAMS, HAZEL I           813 E LIBERTY ST              P.O. BOX 44                                                     CHESANING          MI      48616‐1747
ADAMS, HEATHER BRIDGET   3606 KISKADEE DR                                                                              EAST LANSING       MI      48823‐8666
ADAMS, HEATHER K         1301 DONALDSON AVE                                                                            PERU               IN      46970‐8704
ADAMS, HEATHER L         APT 7                         201 W TOWNSEND RD                                               SAINT JOHNS        MI      48879‐9582
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Name                    Address1                       Address2                      Address3   Address4               City               State   Zip
ADAMS, HEATHER LYNN     201 W TOWNSEND RD                                                                              SAINT JOHNS         MI     47879‐9582
ADAMS, HELEN            1317 WINFIELD DRIVE                                                                            SWARTZ CREEK        MI     48473‐9709
ADAMS, HELEN            1714 WOODLIN DR                                                                                FLINT               MI     48504‐3603
ADAMS, HELEN            5108 THEODORE ST                                                                               MAPLE HEIGHTS       OH     44137‐1330
ADAMS, HELEN B          33 N LANSDOWN WAY                                                                              ANDERSON            IN     46012‐3222
ADAMS, HELEN E.         4311 NE 4TH AVE                                                                                BOCA RATON          FL     33431‐5003
ADAMS, HELEN M          534 S JEFFERSON ST                                                                             KNIGHTSTOWN         IN     46148‐1329
ADAMS, HELEN M          12114 VOLPE DRIVE                                                                              STERLING HEIGHTS    MI     48312
ADAMS, HELEN M          12114 VOLPE DR                                                                                 STERLING HEIGHTS    MI     48312‐5324
ADAMS, HENRY            315 SOUTH BLVD W                                                                               PONTIAC             MI     48341‐2462
ADAMS, HENRY C          324 W TYRELL ST                                                                                SAINT LOUIS         MI     48880‐1442
ADAMS, HENRY F          835 N SCHEURMANN RD APT 206                                                                    ESSEXVILLE          MI     48732‐2208
ADAMS, HERBERT L        1738 EASON                                                                                     WATERFORD           MI     48328‐1107
ADAMS, HERMAN L         105 CHARDONNAY COURT                                                                           ENGLEWOOD           OH     45322‐3455
ADAMS, HOLLAND S        BOX 103 145 W MAIN                                                                             RUTLEDGE            GA     30663
ADAMS, HOLLIS           516 STOCKDALE ST                                                                               FLINT               MI     48503‐5120
ADAMS, HOLLIS B         5406 KERMIT ST                                                                                 FLINT               MI     48505‐2586
ADAMS, HOLLY R          2509 SHAMROCK WAY                                                                              ESCONDIDO           CA     92025‐7458
ADAMS, HOWARD H         137 N 850 E                                                                                    GREENFIELD          IN     46140‐9433
ADAMS, HOWARD T         730 WALTER CALDWELL RD                                                                         DAHLONEGA           GA     30533‐1727
ADAMS, HOWARD W         SHANNON LAW FIRM               100 W GALLATIN ST                                               HAZLEHURST          MS     39083‐3007
ADAMS, HUGH H           3095 LINDEN LN APT 105                                                                         FLINT               MI     48507‐1132
ADAMS, IANTHA           PO BOX 115                                                                                     SPEEDWELL           TN     37870‐0115
ADAMS, IANTHA           P.O. BOX 115                                                                                   SPEEDWELL           TN     37870‐0115
ADAMS, IRENE L          1489 BURNEY LANE                                                                               CINCINNATI          OH     45230‐2929
ADAMS, IRENE T          503 MEADOWLAND DR                                                                              HUBBARD             OH     44425‐2611
ADAMS, IRVIN            468 ISLAND RD                                                                                  COLUMBUS            NJ     08022‐2101
ADAMS, IVOL             10825 BORGMAN AVE                                                                              BELLEVILLE          MI     48111‐5205
ADAMS, IVOR G           PO BOX 46                                                                                      ARCANUM             OH     45304‐0046
ADAMS, IVOR G           7382 DULL RD P O BOX 46                                                                        ARCANUM             OH     45304‐0046
ADAMS, JACK             9907 DELMONT CT                                                                                INDIANAPOLIS        IN     46235‐1638
ADAMS, JACK C           1440 LAKEVIEW DR                                                                               VIRGINIA BCH        VA     23455‐4132
ADAMS, JACK E           1118 PULASKI ST                                                                                LANSING             MI     48910‐1265
ADAMS, JACK H           700 THORNWICK DR                                                                               PITTSBURGH          PA     15243‐1612
ADAMS, JACK L           GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                     NORFOLK             VA     23510‐2212
                                                       STREET, SUITE 600
ADAMS, JACK L           18635 S RAUCHOLZ RD                                                                            OAKLEY             MI      48649‐9775
ADAMS, JACK L           869 ARROWHEAD DRIVE                                                                            BUCYRUS            OH      44820‐2502
ADAMS, JACK LEE         18635 S RAUCHOLZ RD                                                                            OAKLEY             MI      48649‐9775
ADAMS, JACKIE D         391 WHITLEY RD                                                                                 SMITHS GROVE       KY      42171‐9215
ADAMS, JACKIE DEWAYNE   391 WHITLEY RD                                                                                 SMITHS GROVE       KY      42171‐9215
ADAMS, JACKIE L         1104 HISTORICAL WEST 8TH                                                                       ANDERSON           IN      46016
ADAMS, JACKIE LEE       1104 HISTORICAL WEST 8TH                                                                       ANDERSON           IN      46016
ADAMS, JACKIE R         APT B                          120 MEADOW LAKE DRIVE                                           MOORESVILLE        IN      46158‐1848
ADAMS, JACOB L          7911 ELMONT RD                                                                                 SULLIVAN           MO      63080‐3601
ADAMS, JACQUELINE       7794 BRAY RD                                                                                   VASSAR             MI      48768‐9689
ADAMS, JACQUELINE A     154 E STEWART AVE                                                                              FLINT              MI      48505‐3418
ADAMS, JACQUELINE A     154 E. STEWART AVE.                                                                            FLINT              MI      48505‐3418
ADAMS, JACQUELINE D     1041 ADELE CT                                                                                  ROCHESTER HILLS    MI      48309‐3701
ADAMS, JACQUELINE K     539 WEXFORD RD                                                                                 JANESVILLE         WI      53546‐1913
ADAMS, JACQUELINE M     26 FAIRGREEN CIR                                                                               FAIRFIELD          OH      45014‐6696
ADAMS, JAMES            116 MEADOW LN                                                                                  EARLY              TX      76802‐2606
ADAMS, JAMES            GUY WILLIAM S                  PO BOX 509                                                      MCCOMB             MS      39649‐0509
ADAMS, JAMES            354 KNOEDLER RD APT 1                                                                          PITTSBURGH         PA      15236
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Name                 Address1                             Address2                       Address3        Address4               City              State Zip
ADAMS, JAMES         C/O FARMERS INSURANCE GROUP          ATTN: ELLEN BUCHANAN           PO BOX 268992                          OKLAHOMA CITY      OK 73126‐8922
ADAMS, JAMES         1902 WELCH BLVD                                                                                            FLINT              MI 48504‐3016
ADAMS, JAMES
ADAMS, JAMES         1888 W 3RD ST                        C/O C ADAMS AND M JONES                                               JACKSONVILLE      FL   32209‐7273
ADAMS, JAMES         232 W STRATHMORE AVE                                                                                       PONTIAC           MI   48340‐2778
ADAMS, JAMES B       4631 DEER CREEK DRIVE                                                                                      YOUNGSTOWN        OH   44515‐4515
ADAMS, JAMES B       APT 6                                4631 DEER CREEK COURT                                                 YOUNGSTOWN        OH   44515‐5446
ADAMS, JAMES C       2907 BUCKNER LN                                                                                            SPRING HILL       TN   37174‐8242
ADAMS, JAMES C       KELLEY & FERRARO LLP                 1300 EAST NINTH STREET, 1901                                          CLEVELAND         OH   44114
                                                          BOND COURT BUILDING
ADAMS, JAMES D       2301 BOTSFORD RD                                                                                           HOWELL            MI   48855‐9066
ADAMS, JAMES E       5030 MALLARD TRL                                                                                           GAYLORD           MI   49735
ADAMS, JAMES E       212 BASTEAN TRL                                                                                            WENTZVILLE        MO   63385‐2223
ADAMS, JAMES E       19006 FENMORE ST                                                                                           DETROIT           MI   48235‐3066
ADAMS, JAMES F       14796 E BURNT ISLAND RD                                                                                    GOETZVILLE        MI   49736
ADAMS, JAMES H       5207 E 68TH ST                                                                                             INDIANAPOLIS      IN   46220‐3930
ADAMS, JAMES J       528 E HAMILTON RD                                                                                          FORT WAYNE        IN   46819‐9719
ADAMS, JAMES J       20193 BRAMFORD ST                                                                                          DETROIT           MI   48234‐3201
ADAMS, JAMES J       5075 NORRISVILLE RD                                                                                        WHITE HALL        MD   21161‐9503
ADAMS, JAMES J       346 WINCHESTER CIR                                                                                         MANDEVILLE        LA   70448‐1936
ADAMS, JAMES K       2510 BRYONAIRE RD                                                                                          MANSFIELD         OH   44903‐9323
ADAMS, JAMES K       9738 W SILVER LAKE RD                                                                                      MEARS             MI   49436‐9654
ADAMS, JAMES L       6118 BARKER DR                                                                                             WATERFORD         MI   48329‐3104
ADAMS, JAMES L       6844 ARJAY DR                                                                                              INDIANAPOLIS      IN   46217‐3001
ADAMS, JAMES L       569 N FOSTER AVE                                                                                           ALBANY            IN   47320‐1316
ADAMS, JAMES L       5330 E FALL CREEK PARKWAY NORTH DR                                                                         INDIANAPOLIS      IN   46220‐5771

ADAMS, JAMES LEE     6118 BARKER DR                                                                                             WATERFORD         MI   48329‐3104
ADAMS, JAMES R       9464 S HILSMEYER DR                                                                                        HUNTINGBURG       IN   47542‐9256
ADAMS, JAMES R       2412 BLARNEY DR                                                                                            DAVISON           MI   48423‐9503
ADAMS, JAMES R       2711 LINCOLN CT NW                                                                                         ATLANTA           GA   30318‐6152
ADAMS, JAMES R       21849 US HIGHWAY 31                                                                                        VINEMONT          AL   35179‐5993
ADAMS, JAMES S       8364 HEDGEWAY DR                                                                                           SHELBY TOWNSHIP   MI   48317‐1609
ADAMS, JAMES W       2470 W WALTON BLVD                                                                                         WATERFORD         MI   48329‐4434
ADAMS, JAMES W       4369 OLD FREDERICK RD                                                                                      BALTIMORE         MD   21229‐2838
ADAMS, JAMES W       6700 EDGETON ST                                                                                            DETROIT           MI   48212‐1915
ADAMS, JAMIE         PO BOX 1546                                                                                                MENTOR            OH   44061‐1546
ADAMS, JANE          5517 STATE HIGHWAY T                                                                                       BRANSON           MO   65616‐9341
ADAMS, JANE          115 COAL BRANCH RD                                                                                         HARTS             WV   25524‐9701
ADAMS, JANE          5517 STATE HWY. T                                                                                          BRANSON           MO   65616‐9341
ADAMS, JANE H        104 BROOK HOLLOW DR                  C/O CAROLYNE ADAMS DAY                                                FLAT ROCK         NC   28731‐8519
ADAMS, JANEAVIA J    6733 LITTLE RICHMOND RD                                                                                    TROTWOOD          OH   45426‐3241
ADAMS, JANET D       109 AVONDALE ST                                                                                            LIBERTY           MO   64068‐2901
ADAMS, JANET E       416 HICKORY LN                                                                                             PLAINFIELD        IN   46168‐1837
ADAMS, JANET F       711 KINGWOOD DR                                                                                            MURFREESBORO      TN   37129‐2174
ADAMS, JANET G       11701 PRAGER AVE                                                                                           LAKE VIEW TER     CA   91342‐6422
ADAMS, JANET L       13659 S 400 W                                                                                              KOKOMO            IN   46901‐7682
ADAMS, JANET L       2669 LOCHMOOR BLVD                                                                                         LAKE ORION        MI   48360‐1942
ADAMS, JANICE F      7010 WOODS WEST DR                                                                                         FLUSHING          MI   48433‐9463
ADAMS, JANICE F      3218 RASKOB ST                                                                                             FLINT             MI   48504‐3270
ADAMS, JASON D       3863 MORGAN ROAD                                                                                           LAKE ORION        MI   48359‐1914
ADAMS, JASON DAVID   3863 MORGAN ROAD                                                                                           LAKE ORION        MI   48359‐1914
ADAMS, JASON G       2769 GUELPH CT                                                                                             NORTH BRANCH      MI   48461‐7927
ADAMS, JASON GUY     2769 GUELPH CT                                                                                             NORTH BRANCH      MI   48461‐7927
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Name                       Address1                         Address2               Address3         Address4               City               State   Zip
ADAMS, JASON S             3510 PERSIMMON CIR                                                                              MURFREESBORO        TN     37129‐8632
ADAMS, JASON T             11123 COBBLESTONE LANE                                                                          GRAND LEDGE         MI     48837‐9125
ADAMS, JASON THOMAS        11123 COBBLESTONE LANE                                                                          GRAND LEDGE         MI     48837‐9125
ADAMS, JASON V             2232 WITTERING WAY                                                                              CONYERS             GA     30013‐7431
ADAMS, JAY W               3260 DEVON BROOK DR                                                                             BLOOMFIELD HILLS    MI     48302‐1426
ADAMS, JAYDA R             1327 E 8TH ST                                                                                   MUNCIE              IN     47302‐3620
ADAMS, JAYNE               411 HUMBOLDT ST                                                                                 WATERTOWN           WI     53094‐7303
ADAMS, JAYNE
ADAMS, JEAN                470 NUT TREE RD                                                                                 VACAVILLE           CA     95687‐3321
ADAMS, JEAN A              3818 PROVIDENCE ST                                                                              FLINT               MI     48503‐4551
ADAMS, JEAN F              1754 CLOISTER DR                                                                                INDIANAPOLIS        IN     46260‐1068
ADAMS, JEAN I              8678 W DECKERVILLE RD                                                                           REESE               MI     48757‐9521
ADAMS, JEAN M              1375 E 19TH AVE                                                                                 APACHE JUNCTION     AZ     85219‐7714

ADAMS, JEAN M              7005 COUNTY ROAD 675                                                                            MYAKKA CITY        FL      34251‐9145
ADAMS, JEANETTE M          11868 CURWOOD DR                                                                                GRAND BLANC        MI      48439‐1158
ADAMS, JEANNE A            18238 KENTFIELD                                                                                 DETROIT            MI      48219‐5703
ADAMS, JEANNE D            442 OTTER CREEK DR                                                                              VENICE             FL      34292‐5321
ADAMS, JEFFERY A           641 CLEOPHUS PKWY                                                                               LINCOLN PARK       MI      48146‐2617
ADAMS, JEFFERY D           531 N FOSTER AVE                                                                                ALBANY             IN      47320‐1315
ADAMS, JEFFERY J           281 JAMAICA ROAD                                                                                FRANKLIN           OH      45005‐3105
ADAMS, JEFFREY             3894 CAMBRIDGE CT                                                                               CULLEOKA           TN      38451‐2081
ADAMS, JEFFREY M           2300 SHAWOOD ST                                                                                 NOVI               MI      48377‐1968
ADAMS, JEFFREY N           5470 S SHEPARDSVILLE RD                                                                         SAINT JOHNS        MI      48879‐9141
ADAMS, JEFFREY R           4551 WALKER AVE                                                                                 TOLEDO             OH      43612‐2313
ADAMS, JEFFRY A            400 ELIZABETH DR                                                                                OWOSSO             MI      48867‐9059
ADAMS, JENNY H             PO BOX 495                                                                                      FRANKTON           IN      46044‐0495
ADAMS, JEREMIAH            1804E. EZMIRLIAN STREET                                                                         COMPTON            CA      90221
ADAMS, JEREMIAH M          5230 E STATE ROUTE 571                                                                          TIPP CITY          OH      45371‐8328
ADAMS, JEREMY A            7327 GALLO                                                                                      GRAND PRAIRIE      TX      75054‐6705
ADAMS, JEROME              221 E PASADENA AVE                                                                              FLINT              MI      48505‐4245
ADAMS, JERRY               16021 MOCK RD                                                                                   BERLIN CENTER      OH      44401‐9762
ADAMS, JERRY D             12435 PEET RD                                                                                   CHESANING          MI      48616‐9621
ADAMS, JERRY D             328 HIGHLAND CT                                                                                 PLAINWELL          MI      49080‐9108
ADAMS, JERRY E             15135 KERSTYN ST                                                                                TAYLOR             MI      48180‐4844
ADAMS, JERRY H             7513 CARLISLE WAY                                                                               GOLETA             CA      93117‐1941
ADAMS, JERRY L             3627 LAWRENCE HIGHWAY                                                                           CHARLOTTE          MI      48813‐8841
ADAMS, JERRY P             1100 COURTNEY DR                                                                                ROYSE CITY         TX      75189‐3557
ADAMS, JERRY R             526 UNION STREET                                                                                IONIA              MI      48846‐1257
ADAMS, JERRY R             526 UNION ST                                                                                    IONIA              MI      48846‐1257
ADAMS, JERRY W             9174 VASSAR RD                                                                                  GRAND BLANC        MI      48439‐9535
ADAMS, JERRY W             14275 ELMDALE ST                                                                                DETROIT            MI      48213‐1967
ADAMS, JESS A              7490 DEPOT ST                                                                                   ROGERS             OH      44455‐9785
ADAMS, JESSE M             19 WOODFOREST PKWY                                                                              SYLVANIA           OH      43560‐1880
ADAMS, JESSICA E           607 13TH AVE                                                                                    MERIDIAN           MS      39301‐4340
ADAMS, JESSICA V           7321 CRYSTAL LAKE DR APT 1                                                                      SWARTZ CREEK       MI      48473‐8958
ADAMS, JESSICA VER‐LINDA   7321 CRYSTAL LAKE DR APT 1                                                                      SWARTZ CREEK       MI      48473‐8958
ADAMS, JESSIE E            16031 BEECH DALY RD TRLR 55                                                                     TAYLOR             MI      48180‐5083
ADAMS, JESSIE M            830 E 6TH ST                                                                                    FLINT              MI      48503‐2772
ADAMS, JESSIE V            10172 BURGANDY BLVD                                                                             DIMONDALE          MI      48821‐9546
ADAMS, JESSIE W            7204 SHAKER RD                                                                                  FRANKLIN           OH      45005‐2549
ADAMS, JETRU H             4275 OWENS RD APT 1229                                                                          EVANS              GA      30809‐3317
ADAMS, JEWEL P             134 HARBEN ST                                                                                   DAWSONVILLE        GA      30534‐3912
ADAMS, JEWELL              3205 MOUNT OLIVE RD                                                                             PINE BLUFF         AR      71602‐9397
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Name              Address1                        Address2                      Address3   Address4               City               State   Zip
ADAMS, JILL       1513 LINDENWOOD DR                                                                              KOKOMO              IN     46902‐5815
ADAMS, JIM L      2673 ENGLISH IVY CIR                                                                            THE VILLAGES        FL     32162‐2060
ADAMS, JIMMIE G   14758 CALUSA PALMS DR APT 201                                                                   FORT MYERS          FL     33919‐7800
ADAMS, JIMMIE G   14758 CALUSA PALMS DR.          UNIT 201                                                        FORT MEYERS         FL     33919
ADAMS, JIMMIE L   2232 S CLARK RD                                                                                 SHELBYVILLE         IN     46176‐9351
ADAMS, JIMMY      STATE FARM INSURANCE            PO BOX 1268                                                     COLUMBIA            MO     65205‐1268
ADAMS, JIMMY      GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                     NORFOLK             VA     23510‐2212
                                                  STREET, SUITE 600
ADAMS, JO ANN     3022 BUNKER HILL ROAD                                                                           MARIETTA            GA     30062‐5418
ADAMS, JOAN       1492 WAGON WHEEL LN                                                                             GRAND BLANC         MI     48439‐4868
ADAMS, JOAN       4467 COLONY COURT                                                                               SWARTZ CREEK        MI     48473
ADAMS, JOAN A     1814 S WABASH AVE                                                                               KOKOMO              IN     46902‐2082
ADAMS, JOAN L     10955 EL TORO DR                                                                                RIVERVIEW           FL     33569‐7350
ADAMS, JOAN M     2951 BAY VIEW DR                                                                                SAFETY HARBOR       FL     34695‐4702
ADAMS, JOAN M     1 OAKDALE DR                                                                                    MIDDLETOWN          NJ     07748
ADAMS, JOAN Y     291 SAILFISH DRIVE                                                                              MAYBANK             TX     75156‐3786
ADAMS, JOANNE     602 SPENCER ST                                                                                  FLINT               MI     48505‐4277
ADAMS, JODY
ADAMS, JOE A      903 E 81ST ST APT 1                                                                             CHICAGO            IL      60619‐5201
ADAMS, JOE D      PO BOX 343                                                                                      AVOCA              IN      47420‐0343
ADAMS, JOE E      505 HEMLOCK DR                                                                                  DAVISON            MI      48423‐1923
ADAMS, JOEELLEN   3801 KENT ST                                                                                    FLINT              MI      48503‐4590
ADAMS, JOEL M     216 W MAIN ST                                                                                   CARTERSVILLE       GA      30120‐3546
ADAMS, JOHN       1729 DELAWARE AVE                                                                               FLINT              MI      48506‐3356
ADAMS, JOHN       8740 MACARTHUR BLVD                                                                             YPSILANTI          MI      48198‐3384
ADAMS, JOHN A     5308 E 119TH ST                                                                                 GRANDVIEW          MO      64030‐1125
ADAMS, JOHN A     8364 ANCHOR BAY DR                                                                              CLAY               MI      48001‐3503
ADAMS, JOHN C     6245 SIERRA CIRCLE                                                                              ROCKFORD           TN      37853‐3339
ADAMS, JOHN D     17871 STEVENS BLVD                                                                              FORT MYERS BEACH   FL      33931‐7162

ADAMS, JOHN D     8649 COOLEY BEACH CR                                                                            WHITE LAKE         MI      48386
ADAMS, JOHN D     47 HALSTEAD ST                                                                                  NEWARK             NJ      07106‐1101
ADAMS, JOHN D     987 GROVE RD                                                                                    BENTON             TN      37307
ADAMS, JOHN E     14401 WELLESLEY ST                                                                              DEARBORN           MI      48126‐3422
ADAMS, JOHN E     621 MARGARET AVE                                                                                GRANITE CITY       IL      62040‐2739
ADAMS, JOHN F     724 CORNELIA ST                                                                                 JANESVILLE         WI      53545‐1608
ADAMS, JOHN F     280 PARMA CENTER RD                                                                             HILTON             NY      14468‐9351
ADAMS, JOHN H     7083 PINE MEADOW LN                                                                             FREMONT            MI      49412‐7202
ADAMS, JOHN H     12971 ROAD 137                                                                                  PAULDING           OH      45879‐9011
ADAMS, JOHN L     598 COLLIER RD                                                                                  PONTIAC            MI      48340‐1309
ADAMS, JOHN L     108 ECONOMY RD                                                                                  CORAOPOLIS         PA      15108
ADAMS, JOHN L     433 GREGORY AVE                                                                                 NEW LEBANON        OH      45345‐1507
ADAMS, JOHN M     5146 LINDEN RD                                                                                  SWARTZ CREEK       MI      48473‐8272
ADAMS, JOHN M     871 ELMWOOD AVE                                                                                 WICKLIFFE          OH      44092‐2115
ADAMS, JOHN M     871 ELMWOOD DR                                                                                  WICKLIFFE          OH      44092‐2115
ADAMS, JOHN M     2829 CAMPUS DR                                                                                  DAYTON             OH      45406‐4103
ADAMS, JOHN P     128 HUNTINGTON DR                                                                               HATTIESBURG        MS      39402‐8081
ADAMS, JOHN Q     7794 BRAY RD                                                                                    VASSAR             MI      48768‐9689
ADAMS, JOHN Q     4201 CUSTER RD                                                                                  CARSONVILLE        MI      48419‐9467
ADAMS, JOHN Q     9230 N 104TH PL                                                                                 SCOTTSDALE         AZ      85258‐5736
ADAMS, JOHN Q     BOONE ALEXANDRA                 205 LINDA DR                                                    DAINGERFIELD       TX      75638‐2107
ADAMS, JOHN R     3571 ORANGEPORT RD                                                                              GASPORT            NY      14067‐9381
ADAMS, JOHN R     24592 ROAD 110                                                                                  OAKWOOD            OH      45873‐9602
ADAMS, JOHN R     4071 POSTON DR                                                                                  BELLBROOK          OH      45305‐1137
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Name                    Address1                           Address2               Address3         Address4               City             State Zip
ADAMS, JOHN S           PO BOX 36                                                                                         HARALSON          GA 30229‐0036
ADAMS, JOHN W           25 LAKE INEZ DRIVE                                                                                BELLEVILLE         IL 62221‐2434
ADAMS, JOHN W           2087 S CAVALIER DR                                                                                CANTON            MI 48188‐1828
ADAMS, JOHN W           PO BOX 549                                                                                        POTTERVILLE       MI 48876‐0549
ADAMS, JOHN W           5425 HEATHER LN                                                                                   DEARBORN HEIGHTS MI 48125‐2344

ADAMS, JOHN W           8336 WILLARD RD                                                                                   MONTROSE          MI   48457‐9610
ADAMS, JOHN W           805 COLLINGWOOD DR                                                                                DAVISON           MI   48423‐1712
ADAMS, JOHN W           12638 ROYCE CT                                                                                    CARMEL            IN   46033‐2477
ADAMS, JOHN W           1 SAINT PAULS DR                                                                                  BOURBONNAIS       IL   60914‐4844
ADAMS, JOHNNIE          4453 E 131ST ST                                                                                   GARFIELD HTS      OH   44105‐6965
ADAMS, JOHNNIE C        2219 SKP WAY                                                                                      WAUCHULA          FL   33873‐4870
ADAMS, JOHNNIE C        9091 CLOVER DR                                                                                    MILAN             MI   48160‐9759
ADAMS, JOHNNIE J        307 SALLIOTTE RD APT 205                                                                          ECORSE            MI   48229‐1388
ADAMS, JOHNNIE M        513 WILLOW PARK RD                                                                                ELYRIA            OH   44035‐3440
ADAMS, JOHNNY R         5118 DEER PATH DR                                                                                 TIPTON            MI   49287‐9731
ADAMS, JOHNNY W         7615 TEXAS PRAIRIE RD                                                                             ODESSA            MO   64076‐7310
ADAMS, JON S            72 CHURCHILL DR                                                                                   WHITMORE LAKE     MI   48189‐9009
ADAMS, JONATHAN L       129 CORINTHIAN DRIVE                                                                              WILMINGTON        OH   45177‐8105
ADAMS, JORDAN SCOTT     3020 HAWK SPRING HL                                                                               HUNTINGTON        IN   46750‐7836
ADAMS, JOSE A           707 LOWELL ST                                                                                     JACKSON           MI   49202‐3035
ADAMS, JOSE ALBERTO     707 LOWELL ST                                                                                     JACKSON           MI   49202‐3035
ADAMS, JOSEE M          2529 FOXGROVE DR                                                                                  HIGHLAND          MI   48356
ADAMS, JOSEPH D         527 BRADY ST                                                                                      CHESANING         MI   48616‐1118
ADAMS, JOSEPH DALE      527 BRADY ST                                                                                      CHESANING         MI   48616‐1118
ADAMS, JOSEPH P         15200 FM 635                                                                                      KERENS            TX   75144‐7114
ADAMS, JOSEPH R         61871 SPRING CIRCLE TRL            TRAIL                                                          WASHINGTON        MI   48094‐1148
                                                                                                                          TOWNSHIP
ADAMS, JOSEPH W         10419 MELINDA DR                                                                                  CLIO              MI   48420‐9407
ADAMS, JOSEPH W         7233 BRISTOL RD                                                                                   SWARTZ CREEK      MI   48473‐7911
ADAMS, JOSEPH WAYNE     7233 BRISTOL RD                                                                                   SWARTZ CREEK      MI   48473‐7911
ADAMS, JOSEPHINE M      6625 N CANAL RD                                                                                   LOCKPORT          NY   14094‐9401
ADAMS, JOSEPHINE M      6625 N. CANAL RD.                                                                                 LOCKPORT          NY   14094‐9401
ADAMS, JOSHUA C         3112 S 37TH ST                                                                                    KANSAS CITY       KS   66106‐4008
ADAMS, JOSHUA CHARLES   3112 S 37TH ST                                                                                    KANSAS CITY       KS   66106‐4008
ADAMS, JOSHUA N         8516 MEADOWLARK DRIVE                                                                             FRANKLIN          OH   45005‐4221
ADAMS, JOYCE            205 EAST 44TH STREET                                                                              N LITTLE ROCK     AR   72117‐2705
ADAMS, JOYCE            199 WILLOW WAY                                                                                    BELLEVILLE        MI   48111
ADAMS, JOYCE E          415 SKYLINE DR                                                                                    LEWISBURG         TN   37091‐3652
ADAMS, JOYCE F          4704 NATCHEZ AVE                                                                                  TROTWOOD          OH   45416‐1542
ADAMS, JOYCE M          12378 GRAND BLANC RD                                                                              DURAND            MI   48429‐9304
ADAMS, JUANITA M        27048 BARRINGTON ST                                                                               MADISON HEIGHTS   MI   48071‐3226

ADAMS, JUDSON W         12257 HIGHWAY 207                                                                                 ANDERSON          AL   35610‐4233
ADAMS, JUDY A           1019 TOM OSBORNE RD                                                                               COLUMBIA          TN   38401‐6741
ADAMS, JULIA            506 E DEWEY ST                                                                                    FLINT             MI   48505‐4242
ADAMS, JULIA A          1475 STATION RD                    P O BOX 264                                                    VALLEY CITY       OH   44280‐9505
ADAMS, JULIA E          606 DRURY CT                                                                                      FLUSHING          MI   48433‐1472
ADAMS, JULIA ESTHER     606 DRURY CT                                                                                      FLUSHING          MI   48433‐1472
ADAMS, JULIA M          4989 DELEVAN DR                                                                                   LYNDHURST         OH   44124‐1017
ADAMS, JULIA MAE        275 AMELIA OLIVE BRANCH RD                                                                        AMELIA            OH   45102‐1127
ADAMS, JULIA O          3008 TWIN LAKES DR                                                                                GREENSBORO        NC   27407‐5709
ADAMS, JULIUS O         8809 WINDING RIDGE RD                                                                             INDIANAPOLIS      IN   46217‐4686
ADAMS, JUNE             813 WHISPERWOOD DR                                                                                FENTON            MI   48430‐2278
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Name                     Address1                       Address2                         Address3   Address4               City             State   Zip
ADAMS, JUNE A            5367 CORAL AVE                                                                                    CAPE CORAL        FL     33904‐5955
ADAMS, JUNE M            1091 HYDE ROAD                                                                                    RIPLEY            TN     38063‐8307
ADAMS, JUNIOR L          1975 HIGHWAY 81 E                                                                                 MCDONOUGH         GA     30252‐7051
ADAMS, JUNIOR N          3636 E DRYDEN RD                                                                                  METAMORA          MI     48455‐9373
ADAMS, JUSTIN F          206 MAPLE ST                                                                                      YPSILANTI         MI     48198‐3046
ADAMS, JUSTIN T          9601 NORTH BLUEGRASS COURT                                                                        MUNCIE            IN     47303‐9157
ADAMS, K M               1332 EAST WALKER AVE                                                                              EAST POINT        GA     30344‐5017
ADAMS, K P               GORI JULIAN & ASSOCIATES PC    156 N MAIN ST                                                      EDWARDSVILLE       IL    62025
ADAMS, KAE H             2417 SCARLET LN SE                                                                                CONYERS           GA     30013‐2960
ADAMS, KARELA            15320 CRESCENTWOOD                                                                                EAST POINT        MI     48021‐2264
ADAMS, KAREN K           763 YALE DR                                                                                       MANSFIELD         OH     44907‐1924
ADAMS, KAREN L           11633 WAHL RD                                                                                     SAINT CHARLES     MI     48655‐9574
ADAMS, KAREN R           8208 N VASSAR RD                                                                                  MOUNT MORRIS      MI     48458
ADAMS, KAREN S           6109 ASHWAY CT                                                                                    INDIANAPOLIS      IN     46224‐2169
ADAMS, KATARINA          208 ELMWOOD RD                                                                                    WALBRIDGE         OH     43465‐1429
ADAMS, KATHERINE A       12049 BELANN CT                                                                                   CLIO              MI     48420‐1042
ADAMS, KATHERINE L       10700 PEERLESS ST                                                                                 DETROIT           MI     48224‐1160
ADAMS, KATHRYN E         1441 WEST SYLVAN DRIVE                                                                            ROSE CITY         MI     48654‐9575
ADAMS, KATHRYN J         PO BOX 423                                                                                        TACOMA            WA     98401
ADAMS, KATHRYN S         389 WALNUT ST                                                                                     LOCKPORT          NY     14094‐3819
ADAMS, KATHRYN S         389 WALNUT STREET                                                                                 LOCKPORT          NY     14094‐3819
ADAMS, KATHY             910 SOUTHGATE TRL SE                                                                              BOGUE CHITTO      MS     39629‐9629
ADAMS, KATHY A
ADAMS, KATHY ESTATE OF
ADAMS, KATHY L           705 LINDA LN APT D                                                                                WENTZVILLE       MO      63385‐1055
ADAMS, KATHY R           PO BOX 343                                                                                        AVOCA            IN      47420‐0343
ADAMS, KATIE M           519 FOSTER ST APT 37                                                                              RAYVILLE         LA      71269‐3338
ADAMS, KAY               38 S FRANK ST                  P.O. BOX 586                                                       PIGEON           MI      48755‐5171
ADAMS, KEITH J           S1066 W36133 MATTHEW LN                                                                           EAGLE            WI      53119
ADAMS, KEITH J           S106 W36133 MATTHEW LN                                                                            EAGLE            WI      53119‐3119
ADAMS, KEITH L           2790 LOVVORN MILL RD                                                                              BOWDON           GA      30108‐2372
ADAMS, KEITH R           114 EDGEWOOD DRIVE EXTENSION                                                                      TRANSFER         PA      16154‐1812
ADAMS, KEITHER
ADAMS, KEN               BRUCE ISAACKS                  1450 EAST MCKINNEY, SUITE 3100                                     DENTON           TX      76209
ADAMS, KEN               9565 RED BIRD LN                                                                                  ALPHARETTA       GA      30022‐7101
ADAMS, KENNETH           236 PAULA RED LN                                                                                  ROCHESTER        NY      14626‐4435
ADAMS, KENNETH C         308 LISA LN                                                                                       WILLIAMSTON      MI      48895‐9034
ADAMS, KENNETH D         3113 ROUNDWOOD FOREST LN                                                                          ANTIOCH          TN      37013‐5404
ADAMS, KENNETH D         21525 DEERFIELD DR                                                                                WOODHAVEN        MI      48183‐5206
ADAMS, KENNETH E         7738 SHALAMAR DR                                                                                  HUBER HEIGHTS    OH      45424‐2238
ADAMS, KENNETH E         7738 SHALAMAR                                                                                     HUBER HEIGHTS    OH      45424‐2238
ADAMS, KENNETH F         224 BLVD DES PINS RT 1                                                                            ST AUGUSTINE     FL      32080
ADAMS, KENNETH J         159 LONGFORD DR                                                                                   ROCHESTER HLS    MI      48309‐2029
ADAMS, KENNETH J         614 GAMBER LN                                                                                     LINDEN           MI      48451‐9753
ADAMS, KENNETH M         9285 GREINER RD                                                                                   CLARENCE         NY      14031
ADAMS, KENNETH PAUL      816 E STEWART ST                                                                                  DAYTON           OH      45410‐2123
ADAMS, KENNETH T         PO BOX 301                     178 LAUREL LANE                                                    SOCIAL CIRCLE    GA      30025‐0301
ADAMS, KENNETH W         1319 GRAND BLVD APT 1                                                                             HAMILTON         OH      45011‐4059
ADAMS, KENNETH W         GEORGE & SIPES                 151 N DELEWARE ST                STE 1700                          INDIANAPOLIS     IN      46204‐2503
ADAMS, KENT D            9266 S SMITH RD                                                                                   PERRINTON        MI      48871‐9719
ADAMS, KENT J            6841 COPPERFIELD DR                                                                               EVANSVILLE       IN      47711‐1640
ADAMS, KENT L            17730 CORALLINA DR             MATLACHA ISLES                                                     MATLACHA ISLES   FL      33991‐1692
ADAMS, KIA S             PO BOX 391028                                                                                     SNELLVILLE       GA      30039
ADAMS, KIMBERLY          21850 HARDING ST                                                                                  OAK PARK         MI      48237‐2523
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Name                     Address1                       Address2              Address3         Address4               City               State   Zip
ADAMS, KIMBERLY A        2040 BOMBER AVE                                                                              YPSILANTI           MI     48198‐9218
ADAMS, KIMBERLY J        1226 SANBYRN DRIVE                                                                           CORDOVA             TN     38018‐6591
ADAMS, KIMBERLY S        3633 WOODBINE AVE APT B                                                                      DAYTON              OH     45420
ADAMS, L C               GUY WILLIAM S                  PO BOX 509                                                    MCCOMB              MS     39649‐0509
ADAMS, L C               2314 S 24TH ST                                                                               SAGINAW             MI     48601‐6746
ADAMS, L G               7335 LITTLE MILL RD                                                                          CUMMING             GA     30041‐4199
ADAMS, L M               3112 S 37TH ST                                                                               KANSAS CITY         KS     66106‐4008
ADAMS, L MARION          3112 S 37TH ST                                                                               KANSAS CITY         KS     66106‐4008
ADAMS, LANICE E          PO BOX 2017                                                                                  LOGANVILLE          GA     30052‐1900
ADAMS, LANNY D           9203 HANLEY ST                                                                               TAYLOR              MI     48180‐3551
ADAMS, LANNY R           28672 SIBLEY RD                                                                              ROMULUS             MI     48174‐9745
ADAMS, LARRY             PO BOX 831142                                                                                STONE MOUNTAIN      GA     30083‐0020
ADAMS, LARRY             18773 CYNTHEANNE RD                                                                          NOBLESVILLE         IN     46060‐9789
ADAMS, LARRY             5133 MONTGOMERY AVE                                                                          CARLISLE            OH     45005‐1337
ADAMS, LARRY D           2376 E. LOWER SPRINGBORO RD.                                                                 WAYNESVILLE         OH     45068‐9336
ADAMS, LARRY D           2376 E LOWER SPRINGBORO RD                                                                   WAYNESVILLE         OH     45068‐9336
ADAMS, LARRY E           227 SANDPIPER PL                                                                             SIDNEY              OH     45365‐3604
ADAMS, LARRY E           10167 WHISKEY POINT RD                                                                       PRESQUE ISLE        MI     49777‐8310
ADAMS, LARRY E           879 S 450 WEST                                                                               GREENCASTLE         IN     46135
ADAMS, LARRY G           17910 E US HIGHWAY 40 APT 12                                                                 INDEPENDENCE        MO     64055‐7615
ADAMS, LARRY J           1444 CULLEN CT                                                                               BUCYRUS             OH     44820‐3307
ADAMS, LARRY J           17541 BRYAN CT                                                                               FT MYERS BCH        FL     33931‐7102
ADAMS, LARRY J           71 WINNER RD                                                                                 HERMITAGE           PA     16148‐5030
ADAMS, LARRY L           642 RANVEEN ST                                                                               WHITE LAKE          MI     48386‐2857
ADAMS, LARRY L           3115 E 6TH ST                                                                                ANDERSON            IN     46012‐3825
ADAMS, LARRY L           11674 8TH AVE NW                                                                             GRAND RAPIDS        MI     49534
ADAMS, LARRY M           910 SOUTHGATE TRL SE                                                                         BOGUE CHITTO        MS     39629‐4279
ADAMS, LARRY R           PO BOX 240                                                                                   STILESVILLE         IN     46180‐0240
ADAMS, LATESHA M         145 EAST COY AVENUE                                                                          HAZEL PARK          MI     48030‐1175
ADAMS, LATESHA M         2939 DORCHESTER DR APT 202                                                                   TROY                MI     48084‐8309
ADAMS, LAURENCE J        4224 BOLD MEADOWS                                                                            OAKLAND TWP         MI     48306‐1459
ADAMS, LAURIE N          29981 MUIRLAND DR                                                                            FARMINGTON HILLS    MI     48334‐2050

ADAMS, LAURIE NETZLOFF   29981 MUIRLAND DR                                                                            FARMINGTON HILLS    MI     48334‐2050

ADAMS, LAVERNE           3705 ROSEMARY LN                                                                             TEMPLE             TX      76502‐2893
ADAMS, LAWRENCE A        6183 WOODHAVEN RD                                                                            JACKSON            MS      39206‐2217
ADAMS, LAWRENCE E        54 LINCOLN DR                                                                                COLUMBUS           NJ      08022‐2335
ADAMS, LAWRENCE J        11633 WAHL RD                                                                                SAINT CHARLES      MI      48655‐9574
ADAMS, LAWRENCE J        43297 RIVERGATE DR                                                                           CLINTON TOWNSHIP   MI      48038‐1346

ADAMS, LAWRENCE J        334 PARKHURST BLVD                                                                           KENMORE            NY      14223‐2514
ADAMS, LAWRENCE S        500 WATERSTONE DR                                                                            LAWRENCEVILLE      GA      30045‐7744
ADAMS, LEE               3744 PROVIDENCE ST                                                                           FLINT              MI      48503‐4549
ADAMS, LEE T             3700 S WESTPORT AVE PMB 896                                                                  SIOUX FALLS        SD      57106‐6360
ADAMS, LELIA B           3820 PARK FOREST DR                                                                          FLINT              MI      48507‐2257
ADAMS, LEMOYNE O         168 HEDLEY PL                                                                                BUFFALO            NY      14208‐1015
ADAMS, LEO               9 N PINEWOOD DR                                                                              TEXARKANA          TX      75501‐7833
ADAMS, LEO               3569 RIDGECLIFFE DR                                                                          FLINT              MI      48532‐3740
ADAMS, LEO A             RT 3 BOX 342‐E                                                                               BARNESVILLE        GA      30204
ADAMS, LEO E             1230 RIVERSIDE DR                                                                            HURON              OH      44839‐2630
ADAMS, LEOLA M           75 S VALLEY DR.                                                                              SWARTZ CREEK       MI      48473‐8290
ADAMS, LEOLA M           75 S VALLEY DR                                                                               SWARTZ CREEK       MI      48473‐8290
ADAMS, LEON              1117 WOODWORTH DR                                                                            GRAND BLANC        MI      48439‐4886
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Name                   Address1                      Address2               Address3        Address4               City              State   Zip
ADAMS, LEON C          724 NEW HOPE RD                                                                             LAWRENCEVILLE      GA     30045‐6422
ADAMS, LEONA           9534 STOUT ST                                                                               DETROIT            MI     48228‐1524
ADAMS, LEONA L         1018 SYMMES AVE                                                                             HAMILTON           OH     45015‐1645
ADAMS, LEROY           417 ELMWOOD AVE                                                                             DANVILLE            IL    61832‐7005
ADAMS, LEROY           476 CRANDALL AVE                                                                            YOUNGSTOWN         OH     44504‐1457
ADAMS, LEROY D         1687 DELIA AVE                                                                              AKRON              OH     44320‐1671
ADAMS, LESLIE E        5520 KAYNORTH RD APT 11                                                                     LANSING            MI     48911‐3840
ADAMS, LESLIE P        3273 S 380 E                                                                                ANDERSON           IN     46017‐9712
ADAMS, LESLIE P        3625 COUNTY ROAD 2                                                                          SWANTON            OH     43558‐9757
ADAMS, LESLYE B        1737 OAK ST                                                                                 GIRARD             OH     44420‐1021
ADAMS, LEVI            2442 WOOD MEADOWS DR SW                                                                     MARIETTA           GA     30064‐4471
ADAMS, LEVOID          584 CENTRAL ST                                                                              INKSTER            MI     48141‐1195
ADAMS, LEWIS L         3796 12TH ST                                                                                ECORSE             MI     48229‐1317
ADAMS, LEWIS N         2396 CONVERSE ROSELM RD                                                                     GROVER HILL        OH     45849‐9738
ADAMS, LILA M          C/O THOMAS J ADAMS            1801 TAHYIO RD                                                OWOSSO             MI     48867
ADAMS, LILA M          1801 TAHYIO RD                C/O THOMAS J ADAMS                                            OWOSSO             MI     48867‐1553
ADAMS, LILLIAN E       PO BOX 126                                                                                  CURTICE            OH     43412‐0126
ADAMS, LILLIAN E       BOX 126                                                                                     CURTICE            OH     43412‐0126
ADAMS, LILLIE J        3688 RON LN                                                                                 YOUNGSTOWN         OH     44505‐4343
ADAMS, LILLIE M        P.O. BOX 67                                                                                 OAKWOOD            GA     30566‐0002
ADAMS, LILLIE M        73 VAN NOSTRAND AVE                                                                         JERSEY CITY        NJ     07305‐3021
ADAMS, LILLIE M        PO BOX 67                                                                                   OAKWOOD            GA     30566‐0002
ADAMS, LINDA D         PO BOX 417                                                                                  CLIO               MI     48420
ADAMS, LINDA L         1860 MOORHOUSE ST                                                                           FERNDALE           MI     48220‐1195
ADAMS, LINDA M         PO BOX 214873                                                                               AUBURN HILLS       MI     48321‐4873
ADAMS, LINDA M         653 FRENCH RD                                                                               ROCHESTER          NY     14618‐5243
ADAMS, LINDA M         918 5TH ST                                                                                  NILES              OH     44446‐4446
ADAMS, LINDA M         625 BIRCHWOOD DR                                                                            LOCKPORT           NY     14094‐9164
ADAMS, LINDA M         66 FERNWOOD DR                                                                              AGAWAM             MA     01001‐3029
ADAMS, LINDA M         414 DONEGAL DR                                                                              ROCHESTER HILLS    MI     48309‐1227
ADAMS, LISA D          16321 HARVARD AVE                                                                           CLEVELAND          OH     44128‐2057
ADAMS, LLOYD           22400 NORTHWEST 53RD AVENUE                                                                 LAWTEY             FL     32058‐3514
ADAMS, LOIS E          2612 MISSOURI AVE                                                                           FLINT              MI     48506‐3893
ADAMS, LORAIN          2929 W HOLMES RD                                                                            LANSING            MI     48911‐2355
ADAMS, LOREN R         11479 RUNNELLS DR                                                                           CLIO               MI     48420‐8232
ADAMS, LORETTA R       2598 JANCO AVE                                                                              MORAINE            OH     45439‐2862
ADAMS, LORETTA ROSE    2598 JANCO AVE                                                                              MORAINE            OH     45439‐2862
ADAMS, LOUELLA         2106 W 28TH STREET                                                                          ANDERSON           IN     46016‐4722
ADAMS, LOUELLA         2106 W 28TH ST                                                                              ANDERSON           IN     46016‐4722
ADAMS, LOUIS H         54 ZOERB AVE                                                                                CHEEKTOWAGA        NY     14225‐4722
ADAMS, LOUISE J        64 GOLDNER AVE                                                                              WATERFORD          MI     48328‐2849
ADAMS, LOUISE J        64 GOLDNER ST                                                                               WATERFORD          MI     48328‐2849
ADAMS, LOUVENE         23719 EMERY RD                                                                              CLEVELAND          OH     44128‐5633
ADAMS, LOUVONNE        KAHN & ASSOCIATES             55 PUBLIC SQ STE 650                                          CLEVELAND          OH     44113‐1909
ADAMS, LOVELLA M       2100 PINEHURST VIEW DRIVE                                                                   GRAYSON            GA     30017‐7936
ADAMS, LOVIE C         9601 NICHOLS RD                                                                             OKLAHOMA CITY      OK     73120‐3937
ADAMS, LUKE            1707 WISCONSIN AVE                                                                          BELOIT             WI     53511‐3545
ADAMS, LULA I          P O BOX 446                                                                                 BUFFALO CUP        TX     79508‐9508
ADAMS, LYLE            2554 HACKNEY DR                                                                             KETTERING          OH     45420‐1060
ADAMS, LYNA MARIE      WEITZ & LUXENBERG             180 MAIDEN LANE                                               NEW YORK           NY     10038
ADAMS, LYNN A          1317 WESTPORT DR                                                                            LANSING            MI     48917‐1435
ADAMS, M R             7770 DEAN RD                                                                                INDIANAPOLIS       IN     46240‐3464
ADAMS, M.D., P.A.,TR   5701 MAPLE AVE ST 100                                                                       DALLAS             TX     75206
ADAMS, MADISON W       15 WOODBINE DR                                                                              CARTERSVILLE       GA     30120‐7841
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Name                    Address1                      Address2                 Address3       Address4               City             State   Zip
ADAMS, MADONNA C        3299 FAIRVIEW ST                                                                             MC KEESPORT       PA     15131‐1011
ADAMS, MAE F            6866 EDGEFIELD ST                                                                            PORTAGE           MI     49024‐1764
ADAMS, MAGGIE L         580 NORTHFIELD DR             C/O SHARON E. ANDERSON                                         YOUNGSTOWN        NY     14174‐1144
ADAMS, MAHLON C         3046 STRONG HTS                                                                              FLINT             MI     48507‐4544
ADAMS, MARCIA D         17858 VILLAGE CENTER DR                                                                      NOBLESVILLE       IN     46062‐7314
ADAMS, MARCIA L         1028 GROVEWOOD DRIVE                                                                         BEECH GROVE       IN     46107‐2488
ADAMS, MARCUS D         3820 PARK FOREST DR                                                                          FLINT             MI     48507‐2257
ADAMS, MARCUS DWIGHT    3820 PARK FOREST DR                                                                          FLINT             MI     48507‐2257
ADAMS, MARGARET         8885‐D S.W. 93RD PLACE                                                                       OCALA             FL     34481‐7540
ADAMS, MARGARET         8885 SW 93RD PL UNIT D                                                                       OCALA             FL     34481‐7540
ADAMS, MARGARET A       5280 LOGAN AVE                                                                               DAYTON            OH     45431‐2757
ADAMS, MARGARET A       5280 LOGAN AVE.                                                                              RIVERSIDE         OH     45431‐2757
ADAMS, MARGARET B       815 W STATE ROAD 28                                                                          ALEXANDRIA        IN     46001
ADAMS, MARGARET J       340 STAHL AVE                                                                                CORTLAND          OH     44410‐1140
ADAMS, MARGARET K       8974 HOWLAND SPRING RD                                                                       WARREN            OH     44484‐3128
ADAMS, MARGARET M       4600 WINTER LN                                                                               BROOKLYN          OH     44144‐2408
ADAMS, MARGERY I        400 SW 15TH AVE APT 128                                                                      AMARILLO          TX     79101‐4119
ADAMS, MARGIE           111 KNOWLES LN                                                                               WEST MONROE       LA     71291‐5206
ADAMS, MARGIE A         2832 CHESTER WAY                                                                             DECATUR           GA     30030‐4713
ADAMS, MARGUERITE A     19302 EVERGREEN RD                                                                           DETROIT           MI     48219‐2617
ADAMS, MARGUERITE A     32 MARTIN CIR                                                                                CAMDEN            AL     36726‐2011
ADAMS, MARGUERITE ANN   19302 EVERGREEN RD                                                                           DETROIT           MI     48219‐2617
ADAMS, MARIA M          131 INDEPENDENCE DR                                                                          LOCKPORT          NY     14094‐5215
ADAMS, MARIAM           4403 WESTCHESTER CT                                                                          DECATUR           GA     30035‐4223
ADAMS, MARIAN L         3900 N MAIN ST                APT 325                                                        RACINE            WI     53402‐3979
ADAMS, MARIE J          2673 ENGLISH IVY CIRCLE                                                                      THE VILLAGES      FL     32162‐2060
ADAMS, MARILYN K        4824 CREEKVIEW DR                                                                            MIDDLETOWN        OH     45044‐5428
ADAMS, MARILYN V        4403 MARLBOROUGH DR                                                                          ANDERSON          IN     46013‐4527
ADAMS, MARION G         3710 N. S.R. 39                                                                              LEBANON           IN     46052
ADAMS, MARJORIE A       306 N 2ND ST                                                                                 BALDWYN           MS     38824‐1505
ADAMS, MARJORIE A       18344 CORTLAND AVE                                                                           PORT CHARLOTTE    FL     33948‐3314
ADAMS, MARJORIE A       7190 POST TOWN RD                                                                            DAYTON            OH     45426‐3404
ADAMS, MARJORIE J       15788 HWY 10 N                                                                               BUTLER            KY     41006
ADAMS, MARJORIE L       832 PINE NEEDLES DR           C/O PATRICIA E. POWELL                                         CENTERVILLE       OH     45458‐3391
ADAMS, MARK A           5334 SEEBALDT ST                                                                             DETROIT           MI     48204‐4233
ADAMS, MARK A           1267 DUFRAIN AVE                                                                             PONTIAC           MI     48342‐1932
ADAMS, MARK D           944 OAK BROOK DRIVE                                                                          MIDDLEVILLE       MI     49333‐7018
ADAMS, MARK D           739 JOHNSON ST                                                                               OWOSSO            MI     48867‐3820
ADAMS, MARK P           7640 HILLSIDE DR                                                                             VICTOR            NY     14564‐8928
ADAMS, MARK R           9 OLIVIA LN                                                                                  GLEN CARBON        IL    62034‐1223
ADAMS, MARK RICHARD     9 OLIVIA LN                                                                                  GLEN CARBON        IL    62034‐1223
ADAMS, MARK T           719 RIDGEWOOD RD                                                                             ROCHESTER HLS     MI     48306‐2651
ADAMS, MARK THOMAS      719 RIDGEWOOD RD                                                                             ROCHESTER HLS     MI     48306‐2651
ADAMS, MARLA S          2232 STATE HIGHWAY 420                                                                       MASSENA           NY     13662‐3352
ADAMS, MARLA SHAWN      2232 STATE HIGHWAY 420                                                                       MASSENA           NY     13662‐3352
ADAMS, MARQUITA         941 CANTERBURY DR                                                                            PONTIAC           MI     48341‐2333
ADAMS, MARQUITA J       5406 KERMIT ST                                                                               FLINT             MI     48505‐2586
ADAMS, MARTHA           21 WILLIAMS AVE                                                                              GLOUSTER          OH     45732‐1000
ADAMS, MARTHA J         9 SOUTH DR                                                                                   ANDERSON          IN     46013‐4141
ADAMS, MARTHA L         2211 CUMBERLAND RD                                                                           LANSING           MI     48906‐3722
ADAMS, MARTHA L         1218 IMPERIAL BLVD                                                                           KETTERING         OH     45419‐2436
ADAMS, MARTIN D         PO BOX 1034                                                                                  GREENWOOD         IN     46142‐0998
ADAMS, MARTINA F        8681 W ST JOE HWY                                                                            LANSING           MI     48917‐8809
ADAMS, MARY             2350 LAWNDALE ST                                                                             DETROIT           MI     48209‐1016
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ADAMS, MARY
ADAMS, MARY             23634 WHITTAKER DR                                                                            FARMINGTON          MI    48335‐3363
ADAMS, MARY             2350 LAWNDALE                                                                                 DETROIT             MI    48209‐1016
ADAMS, MARY             5415 CHESTNUT                                                                                 KANSAS CITY         MO    64130‐3738
ADAMS, MARY             5415 CHESTNUT AVE                                                                             KANSAS CITY         MO    64130‐3738
ADAMS, MARY A           6230 GARDENIA AVE                                                                             LANSING             MI    48911‐5634
ADAMS, MARY A           2147 S 380 E                                                                                  ANDERSON            IN    46017‐9727
ADAMS, MARY A           5406 KERMIT ST                                                                                FLINT               MI    48505‐2586
ADAMS, MARY A           7815 N MAIN ST APT 18                                                                         DAYTON              OH    45415
ADAMS, MARY A           31 SYCAMORE DR                                                                                NORWALK             OH    44857‐1912
ADAMS, MARY ANN         PO BOX 23034                                                                                  KETCHIKAN           AK    99901‐8034
ADAMS, MARY ANNE        177 ARROWHEAD DR                                                                              DALLAS              GA    30132‐9479
ADAMS, MARY C           1905 MACKENNA AVE                                                                             NIAGARA FALLS       NY    14303‐1719
ADAMS, MARY C           506 CR 715 MAIDEN CHOICE LN                                                                   CATONSVILLE         MD    21228
ADAMS, MARY C           715 MAIDEN CHOICE LANE         APT 506CR                                                      CATONSVILLE         MD    21228
ADAMS, MARY D           50 QUAKER HWY #RM‐36A                                                                         UXBRIDGE            MA    01569‐1629
ADAMS, MARY D           137 GREENVILLE                                                                                N SMITHFIELD        RI    02196
ADAMS, MARY E           47 HALSTEAD ST                                                                                NEWARK              NJ    07106‐1101
ADAMS, MARY E           3003 GREY CLIFF WAY                                                                           MILFORD             PA    18337‐9400
ADAMS, MARY E           3103 CAMELOT DR                                                                               FLINT               MI    48507‐3415
ADAMS, MARY ELLEN       3103 CAMELOT DR                                                                               FLINT               MI    48507‐3415
ADAMS, MARY F           1429 S PATRICIA ST                                                                            DETROIT             MI    48217‐1233
ADAMS, MARY H           2421 DOVER ST                                                                                 ANDERSON            IN    46013‐3127
ADAMS, MARY I           32407 HAMILTON COURT           APT 206                                                        SOLON               OH    44139
ADAMS, MARY I           APT 206                        32407 HAMILTON COURT                                           SOLON               OH    44139‐4850
ADAMS, MARY J           96 THOMAS AVE                                                                                 MANTENO             IL    60950
ADAMS, MARY JACKSON     NEWSOME & DIDIER               20 N ORANGE AVE STE 800                                        ORLANDO             FL    32801‐4641
ADAMS, MARY K           7047 SEVIER RD                                                                                JAMESVILLE          NY    13078
ADAMS, MARY L           2724 JEFFERSON ST                                                                             PADUCAH             KY    42001
ADAMS, MARY L           42 PEARL ST                                                                                   OXFORD              MI    48371‐4963
ADAMS, MARY LOU         3571 MONTE VISTA                                                                              BRUNSWICK           OH    44212‐3649
ADAMS, MARY T           299 SPRINGWOOD DR                                                                             AIKEN               SC    29803‐5896
ADAMS, MARY T           4765 W COUNTY LINE RD                                                                         JACKSON             MS    39209‐9534
ADAMS, MARY W           3401 S COUNTY ROAD 900 W                                                                      DALEVILLE           IN    47334‐9611
ADAMS, MARYANN          49058 PLUM TREE CT                                                                            PLYMOUTH            MI    48170‐3233
ADAMS, MARYANN S.       4321 DITCH RD                                                                                 NEW LOTHROP         MI    48460‐9628
ADAMS, MARYLIN S        4550 PATTERSON ROAD                                                                           MIDDLEVILLE         MI    49333‐8704
ADAMS, MATTHEW A        346 SKILLEN ST                                                                                BUFFALO             NY    14207‐1349
ADAMS, MATTHEW ALFRED   346 SKILLEN ST                                                                                BUFFALO             NY    14207‐1349
ADAMS, MATTHEW G        1508 NEPTUNE WAY                                                                              BOWLING GREEN       KY    42104
ADAMS, MATTIE Y         3969 LINCOLN BLVD                                                                             DEARBORN HTS        MI    48125‐2563
ADAMS, MAUREEN          18151 MAYFIELD STREET                                                                         LIVONIA             MI    48152‐4425
ADAMS, MAURICE D        3815 OSWEGO STREET                                                                            PITTSBURGH          PA    15212‐1721
ADAMS, MAVIS Y          15813 ALLEN RD                                                                                SOUTHGATE           MI    48195‐2922
ADAMS, MAX L            15051 BEACH FRONT DR                                                                          EXCELSIOR SPRINGS   MO    64024‐7258

ADAMS, MAXINE           3796 12TH ST                                                                                  ECORSE              MI    48229‐1317
ADAMS, MAXINE CORA      137 S BIGGS ST                                                                                BELLEVILLE          MI    48111‐3618
ADAMS, MELANIE F        130 HILLSIDE                                                                                  DECATUR             AL    35601‐3934
ADAMS, MELBA L          1105 N EAST ST                                                                                LEBANON             IN    46052‐1846
ADAMS, MELISSA          357 NOTTOWAY LN                                                                               KING WILLIAM        VA    23086‐3658
ADAMS, MELISSA D        3968 KEMP RD                                                                                  BEAVERCREEK         OH    45431‐2310
ADAMS, MELVIN           PARKS CHRISTOPHER M            1 PLAZA SQUARE                                                 PORT ARTHUR         TX    77642
ADAMS, MELVIN           414 ELECTRIC ST                                                                               NEW CASTLE          PA    16101‐4903
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ADAMS, MELVIN          6106 NATCHEZ DR                                                                              MOUNT MORRIS        MI     48458‐2778
ADAMS, MELVIN A        COON BRENT & ASSOCIATES       3550 FANNIN ST                                                 BEAUMONT            TX     77701‐3805
ADAMS, MELVIN D        PO BOX 270                                                                                   BIRCH RUN           MI     48415‐0270
ADAMS, MELVIN R        PO BOX 75                                                                                    SAGOLA              MI     49881‐0075
ADAMS, MERLE O         4625 S 300 E                                                                                 ANDERSON            IN     46017‐9508
ADAMS, MERLE W         PO BOX 44                                                                                    KEWADIN             MI     49648‐0044
ADAMS, MICHAEL         295 LEE DR                                                                                   ORANGE PARK         FL     32073‐2538
ADAMS, MICHAEL A       1048 PLEASANT RIDGE RD                                                                       CARROLLTON          GA     30117‐6845
ADAMS, MICHAEL A       2173 IDAHO FALLS DR                                                                          HENDERSON           NV     89044‐1016
ADAMS, MICHAEL A       10621 S DRAKE AVE                                                                            CHICAGO              IL    60655‐2505
ADAMS, MICHAEL B       3800 W BITTERSWEET CT                                                                        MUNCIE              IN     47304‐3201
ADAMS, MICHAEL B       6214 EMERALD DR                                                                              GRAND BLANC         MI     48439‐7809
ADAMS, MICHAEL C       480 W PINCONNING RD                                                                          PINCONNING          MI     48650‐8991
ADAMS, MICHAEL C       2197 E HENDERSON RD                                                                          OWOSSO              MI     48867‐9402
ADAMS, MICHAEL CRAIG   2197 E HENDERSON RD                                                                          OWOSSO              MI     48867‐9402
ADAMS, MICHAEL D       7331 HAVILAND BEACH DR                                                                       LINDEN              MI     48451‐8721
ADAMS, MICHAEL D       2100 QUARTER PATH RD                                                                         CICERO              IN     46034‐9346
ADAMS, MICHAEL E       1254 N 650 W                                                                                 ANDERSON            IN     46011‐9125
ADAMS, MICHAEL E       151 W BEECH LN                                                                               ALEXANDRIA          IN     46001‐8385
ADAMS, MICHAEL E       212 BAY ST                                                                                   DAVISON             MI     48423‐1114
ADAMS, MICHAEL E       3137 WINTERHAVEN DR                                                                          LAKE HAVASU CITY    AZ     86404‐3272
ADAMS, MICHAEL E       3397 RIDGECLIFFE DR                                                                          FLINT               MI     48532‐3736
ADAMS, MICHAEL E.      3397 RIDGECLIFFE DR                                                                          FLINT               MI     48532‐3736
ADAMS, MICHAEL F       1358 BELLBROOK AVE                                                                           XENIA               OH     45385‐4018
ADAMS, MICHAEL J       11835 BUECHE RD                                                                              BURT                MI     48417‐9774
ADAMS, MICHAEL K       1370 GRACELAND DR                                                                            FAIRBORN            OH     45324‐4372
ADAMS, MICHAEL L       619 CRAWFORD ST                                                                              FLINT               MI     48507‐2458
ADAMS, MICHAEL R       8325 SATINWOOD DR                                                                            GREENWOOD           LA     71033‐3228
ADAMS, MICHAEL T       3264 W MOORESVILLE RD                                                                        INDIANAPOLIS        IN     46221‐2244
ADAMS, MICHAEL W       7950 HIGHWAY 78 WEST                                                                         OKEECHOBEE          FL     34974
ADAMS, MICHAEL W       105 E EDGEWOOD BLVD APT C                                                                    LANSING             MI     48911‐5804
ADAMS, MICHAEL W.      105 E EDGEWOOD BLVD APT C                                                                    LANSING             MI     48911‐5804
ADAMS, MICHELE         RR1 BOX 3511B                                                                                SAYLORSBURG         PA     18353
ADAMS, MIKE            1045 MALONE LN                                                                               COOKEVILLE          TN     38506‐9730
ADAMS, MILDRED         161 HOPE AVE                                                                                 SYRACUSE            NY     13205‐1604
ADAMS, MILDRED C       6969 MATHER                                                                                  WATERFORD           MI     48327‐3851
ADAMS, MILDRED C       6969 MATHER ST                                                                               WATERFORD           MI     48327‐3851
ADAMS, MILDRED M       18615 WARRINGTON                                                                             DETROIT             MI     48221‐2271
ADAMS, MILLARD D       341 CORA DR                                                                                  CARLISLE            OH     45005‐3268
ADAMS, MILTON T        3201 SOUTHFIELD DR                                                                           SAGINAW             MI     48601‐5643
ADAMS, MINNIE B        4001 DONEY ST                                                                                WHITEHALL           OH     43213‐2304
ADAMS, MONROE          734 E RUTH AVE                                                                               FLINT               MI     48505‐2249
ADAMS, MONTY K         339 SPRINGWILLOW RD                                                                          BURLESON            TX     76028‐4507
ADAMS, MURIEL          22133 WALCOTT RD                                                                             CARLYLE              IL    62231‐4838
ADAMS, MYRA J          6411 W REYNOLDS RD                                                                           HASLETT             MI     48840‐8907
ADAMS, MYRA J          6411 WEST REYNOLDS RD                                                                        HASLETT             MI     48840‐8907
ADAMS, NANCY C         30977 PEAR RIDGE RD                                                                          FARMINGTON HILLS    MI     48334‐1050

ADAMS, NANCY C         6442 WESTBAY CT                                                                              DAYTON             OH      45426‐1119
ADAMS, NANCY L         1815 WOODLAWN DR                                                                             TROY               OH      45373‐8734
ADAMS, NANCY L         4493 VAN DYKE RD                                                                             CASS CITY          MI      48726‐9203
ADAMS, NANCY M         PO BOX 324                                                                                   OTSEGO             MI      49078
ADAMS, NAOMI R         5882 COUNTY RD. 470                                                                          DUDLEY             MO      63936‐8164
ADAMS, NAOMI R         403 MIRAGE DR                                                                                KOKOMO             IN      46901‐7036
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ADAMS, NAOMI R          5882 COUNTY ROAD 470                                                                             DUDLEY             MO     63936‐8164
ADAMS, NATHANIA         62 SAINT LOUIS AVE                                                                               BUFFALO            NY     14211‐2331
ADAMS, NEBRAZY H        2105 ROYAL FERN LN                                                                               BIRMINGHAM         AL     35244‐1466
ADAMS, NELLIE           RR2 BOX 374                                                                                      NAYLOR             MO     63953‐9784
ADAMS, NELLIE           RR 2 BOX 374                                                                                     NAYLOR             MO     63953‐9784
ADAMS, NELLIE           102 MORRIS AVE                                                                                   HAMILTON           OH     45011‐5720
ADAMS, NELLIE B         2525 N B ST                                                                                      ELWOOD             IN     46036‐1755
ADAMS, NELLIE H         2084 FERRY RD                                                                                    BELLBROOK          OH     45305‐8905
ADAMS, NELLIE R         1687 DELIA AVENUE                                                                                AKRON              OH     44320‐1671
ADAMS, NELLIE R         1687 DELIA AVE                                                                                   AKRON              OH     44320‐1671
ADAMS, NELSON D         1375 E 19TH AVE                                                                                  APACHE JUNCTION    AZ     85119

ADAMS, NELSON M         11719 SW 79TH CIR                                                                                OCALA             FL      34476‐9451
ADAMS, NEOMI C          215 VOYAGER BLVD                                                                                 DAYTON            OH      45427
ADAMS, NETTIE J         C/O KATHY SMITH                9232 S R 571                                                      ARCANUM           OH      45304
ADAMS, NICOLE N         811 CLAYTON ST                                                                                   WEST MONROE       LA      71291‐4127
ADAMS, NINA L           9 LONG POINT DRIVE                                                                               BONE CAVE         TN      38581
ADAMS, NOLAND
ADAMS, NORMA J          3735 CLYDE RD                                                                                    LYONS             MI      48851‐9727
ADAMS, NORMA J          1906 E NELSON CIR                                                                                TALLAHASSEE       FL      32303‐4318
ADAMS, NORMA J RODNEY   1533 10TH ST                                                                                     DANVILLE          IN      46122‐9163
ADAMS, NORMA L          2502 N TREAT AVE                                                                                 TUCSON            AZ      85716‐2429
ADAMS, NORMAN D         9927 CORNWALL DR                                                                                 DIMONDALE         MI      48821‐9438
ADAMS, NORMAN F         5003 SHREEVES RD                                                                                 FAIRGROVE         MI      48733‐9548
ADAMS, NORMAN L         7664 CAPRI DR                                                                                    CANTON            MI      48187‐1854
ADAMS, NOVIS A          351 ADAMS RD                                                                                     COUSHATTA         LA      71019‐4531
ADAMS, OLAN             6734 WEIDNER RD                                                                                  SPRINGBORO        OH      45066‐7403
ADAMS, OLGA L           6505 MILLENIUM CT                                                                                BYRNES MILL       MO      63051‐1268
ADAMS, OLIVE R          39 SHADOW PINES DRIVE                                                                            PENFIELD          NY      14526‐1047
ADAMS, OLIVIA M         4601 KNOBHILL DRIVE                                                                              HUBER HEIGHTS     OH      45424‐6026
ADAMS, OPAL             6112 ELDON RD                                                                                    MOUNT MORRIS      MI      48458‐2716
ADAMS, ORAN             BARON & BUDD                   3102 OAK LANE AVE, SUITE 1100                                     DALLAS            TX      75219
ADAMS, OROSIA C         60491 BALMORAL WAY                                                                               ROCHESTER         MI      48306‐2064
ADAMS, OTIS L           5084 MAPLEWOOD ST                                                                                DETROIT           MI      48204‐3664
ADAMS, OVAL H           404 N TEPEE DR                                                                                   INDEPENDENCE      MO      64056‐3519
ADAMS, PAMALA M         2264 KENNETH ST                                                                                  BURTON            MI      48529‐1356
ADAMS, PAMELA S         1192 TRILLIUM LN                                                                                 BOWLING GREEN     KY      42104
ADAMS, PATRICIA         925 TREXLER RD                                                                                   SALISBURY         NC      28146‐2591
ADAMS, PATRICIA C       357 WALTON ST                                                                                    LEMOYNE           PA      17043‐2027
ADAMS, PATRICIA G       1026 CANTERBURY ST                                                                               BIRMINGHAM        MI      48009‐3058
ADAMS, PATRICIA L       5375 SUGAR LOAF PARKWAY        APT#5109                                                          LAWRENCEVILLE     GA      30043
ADAMS, PATRICIA L       5375 SUGARLOAF PKWY APT 5109                                                                     LAWRENCEVILLE     GA      30043‐5788
ADAMS, PATRICK A        5230 E STATE ROUTE 571                                                                           TIPP CITY         OH      45371‐8328
ADAMS, PATRICK J        207 E HARVARD ST                                                                                 INVERNESS         FL      34452‐6716
ADAMS, PATRICK T        16451 PROSPECT RD                                                                                STRONGSVILLE      OH      44149‐5543
ADAMS, PATSY L          17628 HANNA ST                                                                                   MELVINDALE        MI      48122‐1033
ADAMS, PATSY L          17628 HANNA STREET                                                                               MELVINDALE        MI      48122‐1033
ADAMS, PATSY R          1327 SW WINTERGREEN LN                                                                           BLUE SPRINGS      MO      64015‐8805
ADAMS, PAUL A           4073 FULTON RD                                                                                   LORAIN            OH      44055‐2556
ADAMS, PAUL D           123 CARRIAGE LN                                                                                  MC CORMICK        SC      29835‐3316
ADAMS, PAUL E           238 BONNIE BROOK DR                                                                              CHARLOTTE         MI      48813‐1335
ADAMS, PAUL E           RR3 BOX 3511B                                                                                    SAYLORSBURG       PA      18353
ADAMS, PAUL E           2951 BAY VIEW DR                                                                                 SAFETY HARBOR     FL      34695‐4702
ADAMS, PAUL E           26760 JOHNS RD                                                                                   SOUTH LYON        MI      48178‐8936
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Name                     Address1                           Address2                         Address3   Address4               City            State   Zip
ADAMS, PAUL J            1533 10TH ST                                                                                          DANVILLE         IN     46122‐9163
ADAMS, PAUL J            2504 N RESERVE ST                                                                                     MUNCIE           IN     47303‐5315
ADAMS, PAUL L            33 N LANSDOWN WAY                                                                                     ANDERSON         IN     46012‐3222
ADAMS, PAUL L            584 MARTIN LUTHER KING JR BLVD N                                                                      PONTIAC          MI     48342‐1622
ADAMS, PAUL L            # 225                              584 MARTIN LUTHR KNG JR BLVD N                                     PONTIAC          MI     48342‐1622
ADAMS, PAUL L            GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                        NORFOLK          VA     23510‐2212
                                                            STREET, SUITE 600
ADAMS, PAUL S            2492 10TH ST                                                                                          SHELBYVILLE     MI      49344‐9530
ADAMS, PAULETTE          3706 LARCHMONT ST                                                                                     FLINT           MI      48532‐5265
ADAMS, PAULETTE A        174 MICHIGAN ST                                                                                       ROCHESTER       NY      14606‐2550
ADAMS, PAULETTE N        3706 LARCHMONT ST                                                                                     FLINT           MI      48532‐5265
ADAMS, PAULINE           BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD, BEVAN                                       NORTHFIELD      OH      44067
                                                            PROFESSIONAL BLDG
ADAMS, PEARL L           1319 S WEBSTER ST                                                                                     KOKOMO          IN      46902‐6362
ADAMS, PEGGY             2134 N 600 W                                                                                          ANDERSON        IN      46011‐9158
ADAMS, PEGGY W           2134 N 600 W                                                                                          ANDERSON        IN      46011‐9158
ADAMS, PENNY S           4110 LEIX RD                                                                                          MAYVILLE        MI      48744‐9754
ADAMS, PETE D            224 STRATFORD DR                                                                                      NORTHFIELD      OH      44067‐1352
ADAMS, PHILIP LAMARR     57 CRANBROOK ROAD                                                                                     TONAWANDA       NY      14150‐5417
ADAMS, PHILLIP L         10703 E 99TH ST N                                                                                     OWASSO          OK      74055‐6424
ADAMS, PHILLIP R         3305 S NEW JERSEY ST                                                                                  INDIANAPOLIS    IN      46227‐1162
ADAMS, PHYLLIS
ADAMS, PHYLLIS M         3924 LAKE GEORGE RD                                                                                   WEST BRANCH     MI      48661‐9640
ADAMS, QUESTER           1045 W 73RD ST                                                                                        INDIANAPOLIS    IN      46260‐4042
ADAMS, QUINCY            17171 ROSCOE BLVD APT 105G                                                                            NORTHRIDGE      CA      91325‐4029
ADAMS, R J               712 HILLSIDE AVE                                                                                      LIBERTY         MO      64068‐2119
ADAMS, RAIFORD HAROLD    COON BRENT & ASSOCIATES            17405 PERKINS RD                                                   BATON OUGE      LA      70810‐3824
ADAMS, RALPH D           209 ELLERMAN ST                                                                                       STURGIS         MI      49091‐1016
ADAMS, RALPH E           2645 PINTO DR                                                                                         COMMERCE TWP    MI      48382‐3453
ADAMS, RANDALL L         13448 N FENTON RD                                                                                     FENTON          MI      48430‐1118
ADAMS, RANDALL L         212 N CREYTS RD                                                                                       LANSING         MI      48917‐9285
ADAMS, RANDOLPH          218 LEWIS WARD RD                                                                                     LANCASTER       KY      40444‐8140
ADAMS, RANDOLPH C        92 TEXAS AVE                                                                                          ROCHESTER HLS   MI      48309‐1572
ADAMS, RANDY C           72 POTTER DR                                                                                          BELLEVILLE      MI      48111‐3608
ADAMS, RANDY S           PO BOX 426                                                                                            AVA             MO      65608‐0426
ADAMS, RANDY W           6330 OLD LOG TRL                                                                                      KALAMAZOO       MI      49009‐9123
ADAMS, RAY               417 WILDLIFE DR                                                                                       SOMERSET        KY      42503‐6254
ADAMS, RAY I             3151 OLD SCARBORO RD                                                                                  STREET          MD      21154‐1935
ADAMS, RAYGEIN           1049 CARTER DR                                                                                        FLINT           MI      48532‐2713
ADAMS, RAYMOND A         8 BRAESIDE LN                                                                                         CAMILLUS        NY      13031‐1539
ADAMS, RAYMOND D         4545 W HILLCREST AVE                                                                                  DAYTON          OH      45406‐2312
ADAMS, RAYMOND G         9343 W BELDING RD                                                                                     BELDING         MI      48809
ADAMS, RAYMOND J         11344 HIDEAWAY ROAD                                                                                   MER ROUGE       LA      71261‐9386
ADAMS, RAYMOND R         226 MARIANNA DR                                                                                       AUBURNDALE      FL      33823‐5501
ADAMS, RAYMOND R         4998 HIGHLAND CT                                                                                      CLARKSTON       MI      48348‐5022
ADAMS, RAYMOND RUSSELL   226 MARIANNA DR                                                                                       AUBURNDALE      FL      33823‐5501
ADAMS, RAYMOND S         4545 W HILLCREST                                                                                      DAYTON          OH      45406‐5406
ADAMS, RAYMOND W         6637 BALSAM DR                                                                                        REYNOLDSBURG    OH      43068‐1925
ADAMS, RAYMOND W         PO BOX 95                                                                                             NEW BOSTON      TX      75570‐0095
ADAMS, REBA              13046 SE 102ND TER                                                                                    OCKLAWAHA       FL      32179‐4997
ADAMS, REBECCA K         20187 TIPSICO LAKE RD                                                                                 HOLLY           MI      48442‐9138
ADAMS, REBECCA L         1300 HAND AVE LOT C20                                                                                 ORMOND BEACH    FL      32174
ADAMS, RECIA L           38000 CLUBHOUSE LANE               102A                                                               HARRISON        MI      48045
                                                                                                                               TOWNSHIP
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ADAMS, RECIA L       23120 WELLINGTON CRES APT 204                                                                       CLINTON TOWNSHIP MI 48036‐3559

ADAMS, REGINA J      528 S QUEEN ANNE DR                                                                                 FAIRLESS HLS       PA   19030‐3507
ADAMS, REGINA J      3820 PARK FOREST DR                                                                                 FLINT              MI   48507‐2257
ADAMS, REGINA JO     3820 PARK FOREST DRIVE                                                                              FLINT              MI   48507‐2257
ADAMS, RENE E        5944 BAYVIEW CIR S                                                                                  GULFPORT           FL   33707‐3930
ADAMS, RENETTA L     PO BOX 1361                                                                                         ELYRIA             OH   44036‐1361
ADAMS, RHONDA        4128 LAKEWOOD DR                                                                                    FT WORTH           TX   76135‐2721
ADAMS, RHONDA        FLYNN CAMPBELL & FRANCIS          700 E SOUTHLAKE BLVD STE 150                                      SOUTHLAKE          TX   76092‐6356
ADAMS, RHONDA        EDWARDS LAW FIRM                  PO BOX 480                                                        CORPUS CHRISTI     TX   78403‐0480
ADAMS, RHONDA        GORBERG DAVID J & ASSOCIATES      2325 GRANT BUILDING 310 GRANT                                     PITTSBURGH         PA   15219
                                                       STREET
ADAMS, RHONDA R      11500 FURBUSH RD                                                                                    HOLLY              MI   48442‐9438
ADAMS, RICHARD
ADAMS, RICHARD A     5018 MIAMI LN                                                                                       FLINT              MI   48504‐2089
ADAMS, RICHARD D     7871 NEW HOPE ST                                                                                    WATERFORD          MI   48327‐3660
ADAMS, RICHARD E     2902 VILLAGE RD                                                                                     LANGHORNE          PA   19047‐8123
ADAMS, RICHARD E     31868 CEDAR TRL                                                                                     WARRENTON          MO   63383‐4537
ADAMS, RICHARD G     1405 LAUREL MEADOWS DR                                                                              BARTOW             FL   33830‐6886
ADAMS, RICHARD H     10760 MORSEVILLE RD                                                                                 BIRCH RUN          MI   48415‐9042
ADAMS, RICHARD J     6278 N OAK RD                                                                                       DAVISON            MI   48423‐9384
ADAMS, RICHARD L     1165 N PINE RD                                                                                      ESSEXVILLE         MI   48732‐1925
ADAMS, RICHARD L     101 SPRING VLY                                                                                      ALEXANDRIA         IN   46001‐1231
ADAMS, RICHARD L     1860 MOORHOUSE ST                                                                                   FERNDALE           MI   48220‐1195
ADAMS, RICHARD L     3188 OPDYKE RD                                                                                      PLYMOUTH           OH   44865‐9792
ADAMS, RICHARD L     GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                       NORFOLK            VA   23510‐2212
                                                       STREET, SUITE 600
ADAMS, RICHARD LEE   101 SPRING VLY                                                                                      ALEXANDRIA         IN   46001‐1231
ADAMS, RICHARD M     104 SOUTH HIGH BOX 402                                                                              OAKWOOD            OH   45873
ADAMS, RICHARD M     1701 PARK AVE                     MOOSEHAVEN                                                        ORANGE PARK        FL   32073‐4946
ADAMS, RICHARD M     LAW OFFICES OF ANTHONY VIEIRA     920G HAMPSHIRE ROAD, SUITE 12                                     WESTLAKE VILLAGE   CA   91361

ADAMS, RICHARD M     10230 SW HITEON PL                                                                                  BEAVERTON          OR   97008‐9384
ADAMS, RICHARD T     31 ROWLEY DR                                                                                        ROCHESTER          NY   14624‐2612
ADAMS, RICKY D       10990 CRAWFORD RD                                                                                   SPRINGPORT         MI   49284‐9724
ADAMS, RICKY D       2824 LUNAR CT                                                                                       LAKE ORION         MI   48360‐1722
ADAMS, RICKY D       7822 ELMWOOD RD                                                                                     PORTLAND           MI   48875
ADAMS, RICKY DAVID   2824 LUNAR CT                                                                                       LAKE ORION         MI   48360‐1722
ADAMS, RICKY G       2720 S DEERFIELD AVE                                                                                LANSING            MI   48911‐1773
ADAMS, RICKY G       2720 DEERFIELD                                                                                      LANSING            MI   48910
ADAMS, RICKY J       5680 CHARLES MILL CT                                                                                HILLIARD           OH   43026‐7603
ADAMS, RICKY L       1076 W DECAMP ST                                                                                    FLINT              MI   48507‐3333
ADAMS, RITA          1408 S SLOAN AVE                                                                                    COMPTON            CA   90221‐5054
ADAMS, ROBERT        432 MARTIN CROSS ROAD                                                                               ALBANY             KY   42602
ADAMS, ROBERT        33 LEXINGTON AVENUE                                                                                 DAYTON             OH   45407‐2131
ADAMS, ROBERT        SIMMONS FIRM                      PO BOX 521                                                        EAST ALTON         IL   62024‐0519
ADAMS, ROBERT        2831 DOLBY DR                                                                                       COLUMBUS           OH   43207‐3649
ADAMS, ROBERT        2300 SE 28TH ST APT 313                                                                             BENTONVILLE        AR   72712‐3444
ADAMS, ROBERT A      1093 E COLDWATER RD                                                                                 FLINT              MI   48505‐1501
ADAMS, ROBERT A      1397 ROBINHOOD DR                                                                                   WEST CARROLLTON    OH   45449‐2327

ADAMS, ROBERT C      718 PUTNAM ST                                                                                       PINCKNEY           MI   48169‐8010
ADAMS, ROBERT C      175 N CANAL RD                                                                                      EATON RAPIDS       MI   48827‐9315
ADAMS, ROBERT D      672 ROUTZONG ROAD                                                                                   XENIA              OH   45385‐9503
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Name                 Address1                         Address2                      Address3   Address4               City              State   Zip
ADAMS, ROBERT D      1805 W OTTAWA ST                                                                                 LANSING            MI     48915‐1778
ADAMS, ROBERT D      672 ROUTZONG RD                                                                                  XENIA              OH     45385‐9503
ADAMS, ROBERT E      905 OSAGE ST                                                                                     LEAVENWORTH        KS     66048‐1822
ADAMS, ROBERT G      2170 TUMBLEWEED LN                                                                               LEBANON            OH     45036‐9071
ADAMS, ROBERT G      13105 QUARRY RD                                                                                  MULBERRY           AR     72947‐8264
ADAMS, ROBERT H      5453 E HERMOSA VISTA DR                                                                          MESA               AZ     85215‐1931
ADAMS, ROBERT J      15405 FORDNEY RD                                                                                 CHESANING          MI     48616‐9558
ADAMS, ROBERT J      52459 SCHNOOR ST                                                                                 NEW BALTIMORE      MI     48047‐6359
ADAMS, ROBERT J      8736 PRINCETON PIKE RD                                                                           PINE BLUFF         AR     71602
ADAMS, ROBERT J      401 WARRINGTON AVE                                                                               DANVILLE            IL    61832‐5441
ADAMS, ROBERT J      8495 NOBLET RD                                                                                   DAVISON            MI     48423‐8713
ADAMS, ROBERT J      721 S HILL ISLAND RD                                                                             CEDARVILLE         MI     49719‐9781
ADAMS, ROBERT JOHN   52459 SCHNOOR ST                                                                                 NEW BALTIMORE      MI     48047‐6359
ADAMS, ROBERT L      652 E MADISON AVE                                                                                PONTIAC            MI     48340‐2936
ADAMS, ROBERT L      341 CARDINAL TER                                                                                 BULL SHOALS        AR     72619‐4606
ADAMS, ROBERT L      6690 BIRCHSHORE DR                                                                               LAKEVIEW           MI     48850‐9737
ADAMS, ROBERT L      5179 BROADWAY AVE                                                                                JACKSONVILLE       FL     32254‐2946
ADAMS, ROBERT L      79 ROCK RD                                                                                       STOCKBRIDGE        GA     30281‐1215
ADAMS, ROBERT LEE    GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                     NORFOLK            VA     23510‐2212
                                                      STREET, SUITE 600
ADAMS, ROBERT M      7621 HOUSTON RD                                                                                  EATON RAPIDS      MI      48827‐8552
ADAMS, ROBERT M      14737 E M 106                                                                                    STOCKBRIDGE       MI      49285‐9551
ADAMS, ROBERT M      3688 CEDAR SHAKE DR                                                                              ROCHESTER HILLS   MI      48309‐1013
ADAMS, ROBERT N      7505 S BUCKNER TARSNEY RD                                                                        GRAIN VALLEY      MO      64029‐9753
ADAMS, ROBERT P      49235 DUNHILL DR                                                                                 MACOMB            MI      48044‐1738
ADAMS, ROBERT S      2307 NW 47TH TER                                                                                 GAINESVILLE       FL      32606‐6504
ADAMS, ROBERT S      PO BOX 885                                                                                       HOLLY SPRINGS     GA      30142‐0885
ADAMS, ROBERT S      3030 POWELL AVE APT 215                                                                          KANSAS CITY       KS      66106‐2146
ADAMS, ROBERT S      2244 WEBBER AVE                                                                                  BURTON            MI      48529‐2416
ADAMS, ROBERT W      8868 OAK MEADOW DR UNIT 32                                                                       SAGINAW           MI      48609‐5704
ADAMS, ROBERTA       1061 RUTLEDGE ROAD                                                                               TRANSFER          PA      16154‐2217
ADAMS, ROBERTA R     868 STONE MOUNTAIN LITHONIA RD                                                                   LITHONIA          GA      30058‐6290
ADAMS, ROBIN D       6733 LITTLE RICHMOND RD                                                                          TROTWOOD          OH      45426‐3241
ADAMS, ROBIN L       2420 CHESWICK DR                                                                                 TROY              MI      48084‐1106
ADAMS, ROCKY V       166 SUSAN DR                                                                                     LANSING           MI      48906‐1963
ADAMS, RODGER D      2446 STATE HIGHWAY Y             #44                                                             FORSYTH           MO      65653‐5653
ADAMS, RODGER D      2446 STATE HIGHWAY Y LOT 44                                                                      FORSYTH           MO      65653‐5574
ADAMS, RODNEY D      2063 W RIDGE DR                                                                                  DAVISON           MI      48423‐2128
ADAMS, RODNEY G      12141 CHANDLER RD                                                                                BATH              MI      48808‐9461
ADAMS, RODNEY L      145 ALBERTA ST                                                                                   AUBURN HILLS      MI      48326‐1103
ADAMS, ROGER D       2805 W QUEENSBURY RD                                                                             MUNCIE            IN      47304‐1246
ADAMS, ROGER E       4814 DEUEL RD                                                                                    CANANDAIGUA       NY      14424‐8326
ADAMS, ROGER L       1622 S WHEELING ST                                                                               OREGON            OH      43616‐3908
ADAMS, ROGER L       29241 RAYBURN ST                                                                                 LIVONIA           MI      48154‐3855
ADAMS, ROGER L       755 W LINCOLN ST                                                                                 DANVILLE          IN      46122‐1507
ADAMS, ROGER L       4800 DENNISON RD                                                                                 DUNDEE            MI      48131‐9663
ADAMS, ROGER LEE     4800 DENNISON RD                                                                                 DUNDEE            MI      48131‐9663
ADAMS, ROGER LEE     1622 S WHEELING ST                                                                               OREGON            OH      43616‐3908
ADAMS, ROGER W       1127 HIGH RIDGE RD APT 121                                                                       STAMFORD          CT      06905
ADAMS, ROGER W       14200 BRAMELL ST                                                                                 DETROIT           MI      48223‐2527
ADAMS, ROLLA J       5818 BERKFORD DR                                                                                 HOLIDAY           FL      34690‐2510
ADAMS, RONALD        UNKNOWN                          PO BOX 1858                                                     HATTIESBURG       MS      39403‐1858
ADAMS, RONALD        PO BOX 798                                                                                       ASHTABULA         OH      44005‐0798
ADAMS, RONALD A      PO BOX 333                                                                                       NORTH JACKSON     OH      44451‐0333
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ADAMS, RONALD C       6414 ROBINHOOD DR                                                                                    ANDERSON          IN     46013‐9528
ADAMS, RONALD E       7465 FERDEN RD                                                                                       CHESANING         MI     48616‐9738
ADAMS, RONALD F       3928 CAPE HAZE DR                                                                                    ROTONDA WEST      FL     33947‐2318
ADAMS, RONALD G       1915 106TH ST SW                                                                                     EVERETT           WA     98204‐3616
ADAMS, RONALD G       1026 CANTERBURY ST                                                                                   BIRMINGHAM        MI     48009‐3058
ADAMS, RONALD H       3630 DAY RD                                                                                          LOCKPORT          NY     14094‐9450
ADAMS, RONALD J       PO BOX 626                                                                                           LAPEER            MI     48446‐0626
ADAMS, RONALD J       4195 RUPPRECHT RD                                                                                    VASSAR            MI     48768‐9132
ADAMS, RONALD J       528 S QUEEN ANNE DR                                                                                  FAIRLESS HLS      PA     19030‐3507
ADAMS, RONALD L       46220 HARRIS RD                                                                                      BELLEVILLE        MI     48111‐8978
ADAMS, RONALD L       365 RENFREW AVENUE                                                                                   MOUNT MORRIS      MI     48458‐8899
ADAMS, RONALD L       1158 N EAGLE POINT DR                                                                                ROCKVILLE         IN     47872‐8223
ADAMS, RONALD L       212 PEBBLE BRANCH DR                                                                                 NANCY             KY     42544‐8793
ADAMS, RONALD M       233 W MICHIGAN AVE                                                                                   GALESBURG         MI     49053‐9624
ADAMS, RONALD R       7726 W. TEN 1/2 MILE RD                                                                              IRONS             MI     49644
ADAMS, RONALD W       10729 ONEIDA RD                                                                                      GRAND LEDGE       MI     48837‐9760
ADAMS, RONALD W       5466 CALKINS RD                                                                                      FLINT             MI     48532‐3303
ADAMS, RONALD WAYNE   5466 CALKINS RD                                                                                      FLINT             MI     48532‐3303
ADAMS, RONNIE W       7938 ALLISONVILLE RD                                                                                 INDIANAPOLIS      IN     46250‐1770
ADAMS, ROSE           14182 FORRER ST                                                                                      DETROIT           MI     48227‐2145
ADAMS, ROSE K         5763 PONDVIEW DR                                                                                     KETTERING         OH     45440‐2339
ADAMS, ROSE M         429 1/2PLUM ST                                                                                       TROY              OH     45373
ADAMS, ROSIA L        PO BOX 7211                                                                                          INDIAN LAKE       FL     33855‐7211
                                                                                                                           ESTATES
ADAMS, ROSIE L        1305 CACTUS ST                                                                                       ATHENS           AL      35613‐2117
ADAMS, ROSS D         45 CALLE ARAGON UNIT T                                                                               LAGUNA HILLS     CA      92637‐3910
ADAMS, ROY A          6539 SHIRLEY DRIVE                                                                                   HILLSBORO        OH      45133‐5133
ADAMS, ROY D          194 SORLEE DR                                                                                        VALLEY PARK      MO      63088‐1335
ADAMS, ROY L          137 S BIGGS ST                                                                                       BELLEVILLE       MI      48111‐3618
ADAMS, ROY T          10299 5 MILE RD                                                                                      EVART            MI      49631
ADAMS, ROY T          811 LEONARD AVE                                                                                      VALLEY PARK      MO      63088‐1917
ADAMS, RUBY           630 BETHANY                                                                                          SAGINAW          MI      48601‐1401
ADAMS, RUBY           630 BETHANY ST                                                                                       SAGINAW          MI      48601‐1401
ADAMS, RUBY A         4344 SWANLAND DR                                                                                     EATON RAPIDS     MI      48827‐8099
ADAMS, RUBY ANN       4344 SWANLAND DR                                                                                     EATON RAPIDS     MI      48827‐8099
ADAMS, RUBY L         11381 HAVERMALE RD                                                                                   FARMERSVILLE     OH      45325‐8270
ADAMS, RUBY M         745 N SECOND ST                                                                                      PARAGOULD        AR      72450‐3008
ADAMS, RUDOLPH T      4467 COLONY COURT                                                                                    SWARTZ CREEK     MI      48473‐1482
ADAMS, RUSSELL        COONEY & CONWAY                   120 NORTH LASALLE STREET, 30TH                                     CHICAGO          IL      60602
                                                        FLOOR
ADAMS, RUSSELL C      70 CHIPPEWA ST                                                                                       CLAWSON          MI      48017‐2037
ADAMS, RUSSELL K      355 CESAR E CHAVEZ AVE                                                                               PONTIAC          MI      48342‐1042
ADAMS, RUSSELL L      417 MARSHALL DRIVE                                                                                   XENIA            OH      45385‐1736
ADAMS, RUSSELL L      1829 GAYHART DR.                                                                                     XENIA            OH      45385‐5385
ADAMS, RUSSELL R      1151 TEAKWOOD CIR                                                                                    HASLETT          MI      48840‐9734
ADAMS, RUTH           6697 FOXTREE AVE                                                                                     WOODRIDGE        IL      60517‐1705
ADAMS, RUTH A         274 LOWELL RD                                                                                        XENIA            OH      45385‐2728
ADAMS, RUTH C         150 NORTHSHORE DRIVE              APT 123                                                            COLDWATER        MI      49036
ADAMS, RUTHANN S      4604 MANCHESTER RD                                                                                   MIDDLETOWN       OH      45042‐3818
ADAMS, RUTHIE         1269 STEWART DR                                                                                      YPSILANTI        MI      48198
ADAMS, RYAN E         PO BOX 6                                                                                             FORT COVINGTON   NY      12937‐0006
ADAMS, SALLY J        9464 S HILSMEYER DR               LAKE HELMERICH VILLAGE                                             HUNTINGBURG      IN      47542‐9256
ADAMS, SAMUEL         2401 MALDEN RD                                                                                       CLEVELAND        OH      44121‐1104
ADAMS, SAMUEL C       8678 W DECKERVILLE RD                                                                                REESE            MI      48757‐9521
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ADAMS, SAMUEL E        PO BOX 160205                                                                                     BOILING SPRINGS   SC 29316‐0005
ADAMS, SAMUEL J        3969 LINCOLN BLVD                                                                                 DEARBORN HEIGHTS MI 48125‐2563

ADAMS, SANDRA D        KIMMEL & SILVERMAN PC           1930 E MARLTON PIKE SUITE Q29                                     CHERRY HILL      NJ   08003
ADAMS, SANDRA J        7354 N SHAKER DR                                                                                  WATERFORD        MI   48327‐1029
ADAMS, SANDRA J        7354 N SHAKER                                                                                     WATERFORD        MI   48327‐1029
ADAMS, SANDRA JOANNE   848 BEACH BUGGY LANE                                                                              LINDEN           MI   48451‐9695
ADAMS, SANDRA K        98 CIRLE DR                                                                                       MEDINA           OH   44256
ADAMS, SANDRA K        98 CIRCLE DR                                                                                      MEDINA           OH   44256‐2555
ADAMS, SANDRA L        804 N PARKWAY DR                                                                                  ANDERSON         IN   46013‐3247
ADAMS, SARAH           5311 BERMUDA LN                                                                                   FLINT            MI   48505‐1092
ADAMS, SARAH B         3865 CEDAR CIR 3865‐9                                                                             TUCKER           GA   30084
ADAMS, SARAH E         1040 FARNSWORTH                                                                                   LAPEER           MI   48446‐1522
ADAMS, SARAH P         2829 S. WATER WORKS ROAD                                                                          BUFORD           GA   30518‐1453
ADAMS, SARAH P         2829 S WATERWORKS RD                                                                              BUFORD           GA   30518‐1453
ADAMS, SAUNDRA Y       PO BOX 8552                                                                                       WARREN           OH   44484‐0552
ADAMS, SCOTT F         3020 HAWK SPRING HL                                                                               HUNTINGTON       IN   46750‐7836
ADAMS, SHALANDA M.     1371 KIMBERLY WAY SW APT 1020                                                                     ATLANTA          GA   30331
ADAMS, SHANNA T        11700 FARLEY                                                                                      REDFORD          MI   48239‐2454
ADAMS, SHANNON N       344 DEEDS AVE                                                                                     DAYTON           OH   45404
ADAMS, SHARLENE L      1529 W 26TH ST                                                                                    INDIANAPOLIS     IN   46208‐5223
ADAMS, SHARON          222 FRENCH ST                                                                                     WATERLOO         IA   50703‐5432
ADAMS, SHARON A        1802 TYLER RD                                                                                     YPSILANTI        MI   48198‐6154
ADAMS, SHARON A        5433 SPRUCE DR                                                                                    CROSWELL         MI   48422‐9480
ADAMS, SHARON A        3213 GARY DRIVE                                                                                   VELDA VILLAGE    MO   63121‐5346
                                                                                                                         HILLS
ADAMS, SHARON ANITA    1802 TYLER RD                                                                                     YPSILANTI        MI   48198‐6154
ADAMS, SHARON C        2050 MICHELLE CT                                                                                  MIAMISBURG       OH   45342‐6440
ADAMS, SHARON JEAN     22301 PROSPER                                                                                     SOUTHFIELD       MI   48033‐3926
ADAMS, SHARON JEAN     22301 PROSPER DR                                                                                  SOUTHFIELD       MI   48033‐3926
ADAMS, SHARON S        9758 W 300 S                                                                                      RUSSIAVILLE      IN   46979‐9507
ADAMS, SHAWN D         3401 ASH MEADOW LN                                                                                FRANKLIN         OH   45005‐9445
ADAMS, SHAWN L         1301 DONALDSON AVE                                                                                PERU             IN   46970
ADAMS, SHERMAN E       1830 DEER PATH TRL                                                                                OXFORD           MI   48371‐6061
ADAMS, SHERRI A        12603 S TALLMAN RD                                                                                EAGLE            MI   48822‐9746
ADAMS, SHIRLEY         8830 WILMORE DR                                                                                   ZACHARY          LA   70791‐6409
ADAMS, SHIRLEY A       15610 BURR ST                                                                                     TAYLOR           MI   48180‐5171
ADAMS, SHIRLEY A       P O BOX 214                                                                                       CARNESVILLE      GA   30521
ADAMS, SHIRLEY A       4304 N BELSAY RD                                                                                  FLINT            MI   48506‐1638
ADAMS, SHIRLEY A       PO BOX 214                                                                                        CARNESVILLE      GA   30521‐0214
ADAMS, SHIRLEY J       7067 MILLER RD                                                                                    SWARTZ CREEK     MI   48473‐1526
ADAMS, SONYA           SIMMONS FIRM                    PO BOX 521                                                        EAST ALTON       IL   62024‐0519
ADAMS, SPENCE          235 SKYVIEW DR                                                                                    DOUGLAS          GA   31535‐6553
ADAMS, SPENCER E       1133 WARD ST                                                                                      SAGINAW          MI   48601‐2319
ADAMS, STANLEY         1247 WOODWARD AVE APT 504                                                                         DETROIT          MI   48226‐2028
ADAMS, STANLEY B       2417 SCARLET LN SE                                                                                CONYERS          GA   30013‐2960
ADAMS, STELLA M        515 E NOBLE ST                                                                                    LEBANON          IN   46052‐2839
ADAMS, STELLA M        1764 COURTLAND                                                                                    NORWOOD          OH   45212‐2844
ADAMS, STEPHANIA S     3810 WIESTERTOWN RD                                                                               EXPORT           PA   15632‐9364
ADAMS, STEPHEN E       7680 N BELLWETHER DR                                                                              TUCSON           AZ   85743‐8616
ADAMS, STEPHEN J       2095 HAWTHORNE DR                                                                                 MARTINSVILLE     IN   46151‐9244
ADAMS, STEPHEN M       4300 MITCHELL WEAVER RD                                                                           SCOTTSVILLE      KY   42164‐9665
ADAMS, STEPHEN P       8930 LA COSTA RD                                                                                  LOUISVILLE       KY   40299‐1464
ADAMS, STEVE A         1048 HIGHWAY 3408                                                                                 BLACKEY          KY   41804‐9037
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ADAMS, STEVE J         7748 E MAHALASVILLE RD                                                                        MORGANTOWN          IN     46160‐9346
ADAMS, STEVEN D        929 BRIGHT AVE                                                                                VANDALIA            OH     45377‐5377
ADAMS, STEVEN G        7053 W OAK HARBOR SOUTHEAST RD                                                                OAK HARBOR          OH     43449‐9625
ADAMS, STEVEN L        213 GRANDMERE DR                                                                              FLINT               MI     48507‐4265
ADAMS, STEVEN L        835 ANDREWS RD                                                                                MEDINA              OH     44256‐2002
ADAMS, STEVEN LESLIE   213 GRANDMERE DR                                                                              FLINT               MI     48507‐4265
ADAMS, STEVEN P        2605 N NESHANNOCK RD                                                                          SHARPSVILLE         PA     16150‐3425
ADAMS, STEVEN P        2746 APACHE DR                                                                                ANDERSON            IN     46012‐1402
ADAMS, SUNDAE M        6108 CLARENCE DR                                                                              JACKSON             MS     39206‐2336
ADAMS, SUSAN           3894 CAMBRIDGE CT                                                                             CULLEOKA            TN     38451‐2081
ADAMS, SUSAN A         3968 HICKORY LN                                                                               GREENWOOD           IN     46143‐9320
ADAMS, SUSAN B         625 EVELYN CT TOWN OF HULL                                                                    STEVENS POINT       WI     54481
ADAMS, SUSAN M         1265 OAKDALE CIR E                                                                            FREELAND            MI     48623‐9780
ADAMS, SUSAN M         45 TROY AVE APT 2                                                                             WARWICK              RI    02889
ADAMS, SYDNEY A        6009 FOX POINT CIR                                                                            SHREVEPORT          LA     71129‐3508
ADAMS, SYDNEY ANN      6009 FOX POINT CIR                                                                            SHREVEPORT          LA     71129‐3508
ADAMS, SYDNEY H        9655 BERGY AVE SE                                                                             ALTO                MI     49302‐9538
ADAMS, SYLVIA L        11050 JANIS ST                                                                                UTICA               MI     48317‐5809
ADAMS, TABER W         659 ROUGH CIR                                                                                 BOWLING GREEN       KY     42104‐5544
ADAMS, TARKINTON       762 CENTER HILL AVE NW                                                                        ATLANTA             GA     30318‐6237
ADAMS, TAUNZA V        216 RETA LN                                                                                   YOUNGSTOWN          OH     44512
ADAMS, TAWANA F        11711 COLLETT AVE APT 1016                                                                    RIVERSIDE           CA     92505
ADAMS, TAZE S          1915 E 69TH ST                                                                                CLEVELAND           OH     44103‐3903
ADAMS, TELKA R         2826 EDISON ST                                                                                DAYTON              OH     45417‐1602
ADAMS, TERESA A        7136 TUCKER RD                                                                                HOLLY               MI     48442‐8863
ADAMS, TERRENCE D      976 HENRY RUFF RD                                                                             GARDEN CITY         MI     48135‐1310
ADAMS, TERRY           49 TOMLINSON ST N                                                                             LUCASVILLE          OH     45648‐9162
ADAMS, TERRY J         12653 NEW LOTHROP RD                                                                          BYRON               MI     48418‐8922
ADAMS, TERRY JUNE      12653 NEW LOTHROP RD                                                                          BYRON               MI     48418‐8922
ADAMS, TERRY L         7550 E US HIGHWAY 40                                                                          GREENFIELD          IN     46140‐9459
ADAMS, TERRY L         508 W COLUMBIA ST                                                                             MASON               MI     48854‐1508
ADAMS, TESSIE          205 DUNLOP AVE                                                                                TONAWANDA           NY     14150‐7839
ADAMS, THELMA C        22364 APT. B                     STATE ROUTE 136                                              WINCHESTER          OH     45697
ADAMS, THEODORE        17555 RAINBOW DR                                                                              LATHRUP VLG         MI     48076‐4627
ADAMS, THEODORE        6138 RIVER RD                                                                                 EAST CHINA          MI     48054‐4731
ADAMS, THERESA H       92 PARKER LN APT 2                                                                            ROCHESTER           NY     14617‐5536
ADAMS, THERESA H       92 PARKER LANE APT 2                                                                          ROCHESTER           NY     14617‐5536
ADAMS, THERESA J       12320 MILLY DRIVE                                                                             DOYLESTOWN          OH     44230‐9328
ADAMS, THOMAS          819 CENTRAL ST                                                                                SANDUSKY            OH     44870‐3204
ADAMS, THOMAS A        20155 VINING RD                                                                               NEW BOSTON          MI     48164‐9414
ADAMS, THOMAS D        6403 RIDGEWAY LN                                                                              OZARK               AR     72949‐9836
ADAMS, THOMAS E        1148 CARLSON DR                                                                               BURTON              MI     48509‐2343
ADAMS, THOMAS E        4975 KENSINGTON RD                                                                            BLOOMFIELD HILLS    MI     48304‐3654
ADAMS, THOMAS E        PADBRAUGH & CORRIGAN MICHAEL     1010 MARKET ST STE 650                                       SAINT LOUIS         MO     63101‐2053
                       CORRIGAN (314)621‐2900
ADAMS, THOMAS F        12653 NEW LOTHROP RD                                                                          BYRON              MI      48418‐8922
ADAMS, THOMAS F        3961 E RIVER DR                                                                               FORT MYERS         FL      33916‐1026
ADAMS, THOMAS FRANK    12653 NEW LOTHROP RD                                                                          BYRON              MI      48418‐8922
ADAMS, THOMAS G        132 LITTLE RD                                                                                 JACKSON            GA      30233‐5711
ADAMS, THOMAS G        460 S THOMAS RD                                                                               SAGINAW            MI      48609‐9200
ADAMS, THOMAS L        599 THURMAN AVE                                                                               COLUMBUS           OH      43206‐2871
ADAMS, THOMAS L        230 FLEET ST                                                                                  RANKIN             PA      15104‐1151
ADAMS, THOMAS M        794A E DILLMAN RD                                                                             BLOOMINGTON        IN      47401‐9283
ADAMS, THOMAS V        3922 RIVES EATON RD                                                                           RIVES JCT          MI      49277‐9649
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ADAMS, TIM R           1200 FULLER WISER RD APT 1027                                                                     EULESS             TX     76039‐3096
ADAMS, TIMMY L         8100 E COUNTY ROAD 400 N                                                                          MUNCIE             IN     47303‐9205
ADAMS, TIMOTHY         KIMMEL & SILVERMAN                   30 E BUTLER AVE                                              AMBLER             PA     19002‐4514
ADAMS, TIMOTHY         165 HURST RD                                                                                      HOHENWALD          TN     38462‐5265
ADAMS, TIMOTHY L       4856 NEBRASKA AVE                                                                                 HUBER HEIGHTS      OH     45424‐6006
ADAMS, TIMOTHY M       2435 S PORT PLEASANT DR                                                                           MARBLEHEAD         OH     43440‐9718
ADAMS, TIMOTHY W       2819 NW 29TH ST                                                                                   NEWCASTLE          OK     73065‐6480
ADAMS, TOM W           950 E MOUNT ZION RD                                                                               INDEPENDENCE       KY     41051‐9532
ADAMS, TOMMIE L        269 BONDALE AVE                                                                                   PONTIAC            MI     48341‐2721
ADAMS, TOMMIE L        269 BONDALE                                                                                       PONTIAC            MI     48341‐2721
ADAMS, TOMMY C         206 N RACEWAY RD                                                                                  INDIANAPOLIS       IN     46234‐9244
ADAMS, TOMMY L         5831 S 200 E                                                                                      ANDERSON           IN     46017‐9536
ADAMS, TONI K          12459 WASHINGTON AVE                                                                              MT MORRIS          MI     48458‐1528
ADAMS, TONI K          12459 W WASHINGTON AVE                                                                            MOUNT MORRIS       MI     48458‐1528
ADAMS, TONYA L         1397 ROBINHOOD DR                                                                                 WEST CARROLLTON    OH     45449‐2327

ADAMS, TONYA R         1707 5TH AVE APT 7                                                                                YOUNGSTOWN        OH      44504‐1863
ADAMS, TORRENCE S      4800 BELCOURT DR                                                                                  DAYTON            OH      45418‐2108
ADAMS, TRERESA         3130 CHATEAU BLVD                                                                                 EAST POINT        GA      30344‐5472
ADAMS, UBLANCA
ADAMS, VAN A           3235 TRUELOVE RD                                                                                  GAINESVILLE       GA      30507‐8566
ADAMS, VAN D           3723 N DEQUINCY ST                                                                                INDIANAPOLIS      IN      46218‐1640
ADAMS, VANITO          159 LETTIE AVE                                                                                    CAMPBELL          OH      44405‐1029
ADAMS, VELMA           342 JIM ARRANT RD                                                                                 WEST MONROE       LA      71292‐0946
ADAMS, VELMA           GUERRIERO & GUERRIERO ATTORNEYS AT   2200 FORSYTHE AVE                                            MONROE            LA      71201‐3613
                       LAW
ADAMS, VELMA           1405 MARION DR                                                                                    BAKERSFIELD       CA      93307
ADAMS, VERGIE M        2700 E CEDAR BAYOU LYNCHBURG RD                                                                   BAYTOWN           TX      77521‐8402
ADAMS, VERNON E        9551 RYLIE CREST DR                                                                               DALLAS            TX      75217‐7502
ADAMS, VERONICA        3310 STURTEVANT STREET                                                                            DETROIT           MI      48206
ADAMS, VERSIE H        1934 MACPHIL STREET                                                                               FLINT             MI      48503
ADAMS, VICKIE L        579 CENTRAL AVE                                                                                   CARLISLE          OH      45005‐3385
ADAMS, VICKIE L        9149 ROLLING GREENS TRAIL                                                                         MIAMISBURG        OH      45342‐6780
ADAMS, VICKIE W        281 W BIRCH LN                                                                                    ALEXANDRIA        IN      46001
ADAMS, VICTOR B        510 COUNTY ROAD 658                                                                               HANCEVILLE        AL      35077‐7395
ADAMS, VICTOR W        7264 S FORK DR                                                                                    SWARTZ CREEK      MI      48473‐9759
ADAMS, VINCENT S       2038 S SKYLINE DR                                                                                 MARBLEHEAD        OH      43440‐2347
ADAMS, VIRGIL H        38407 STAFFORD DR                                                                                 ZEPHYRHILLS       FL      33540‐6520
ADAMS, VIRGIL L        1040 FARNSWORTH RD                                                                                LAPEER            MI      48446‐1522
ADAMS, VIRGINIA D      1742 KENTUCKY AVE                                                                                 FLINT             MI      48506
ADAMS, VIRGINIA D      24406 S AGATE DR                                                                                  SUN LAKES         AZ      85248‐0877
ADAMS, VIRGINIA DALE   1742 KENTUCKY AVENUE                                                                              FLINT             MI      48506‐4304
ADAMS, VIRGINIA E      1490 OAKSTONE DR                                                                                  ROCHESTER HILLS   MI      48309‐1750
ADAMS, VIRGINIA J      9350 E SOUTHWIND LN                                                                               SCOTTSDALE        AZ      85262‐2303
ADAMS, VIVADEAN L      100 N MAIN ST                                                                                     POPLAR BLUFF      MO      63901‐5840
ADAMS, VONCILE         2091 HESTERTOWN RD                                                                                MADISON           GA      30650‐2629
ADAMS, W E
ADAMS, W K             523 GLENWYTH RD                                                                                   BRIGHTON          MI      48116‐1759
ADAMS, W KEITH         523 GLENWYTH RD                                                                                   BRIGHTON          MI      48116‐1759
ADAMS, WALLACE R       11450 WILLARD RD                                                                                  MONTROSE          MI      48457‐9388
ADAMS, WALTER          3213 GARY DR                                                                                      SAINT LOUIS       MO      63121‐5346
ADAMS, WALTER          11357 CHATHAM                                                                                     DETROIT           MI      48239‐1350
ADAMS, WALTER B        9789 SPINNAKER ST                                                                                 PORTAGE           MI      49002‐7289
ADAMS, WALTER G        2712 W SYCAMORE ST                                                                                KOKOMO            IN      46901‐4075
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ADAMS, WALTER G          17608 DEFOREST AVE                                                                                CLEVELAND       OH     44128‐2606
ADAMS, WALTER J          1349 MAROT DR                                                                                     DAYTON          OH     45427‐2114
ADAMS, WALTER R          5200 HARRISBURG GEORGESVILLE RD                                                                   GROVE CITY      OH     43123‐8809
ADAMS, WANDA J           3620 CORONA DR.                                                                                   GARLAND         TX     75044
ADAMS, WANDA J           3620 CORONA DR                                                                                    GARLAND         TX     75044‐6249
ADAMS, WANDA L           438 VIKKI LN                                                                                      MOUNT MORRIS    MI     48458‐2439
ADAMS, WARD J            12745 S SAGINAW ST                STE 806                                                         GRAND BLANC     MI     48439‐2438
ADAMS, WARD JOHN         12745 S SAGINAW ST                STE 805                                                         GRAND BLANC     MI     48439‐2438
ADAMS, WAVALENE H        8 S PUEBLO ST                                                                                     GILBERT         AZ     85233‐5920
ADAMS, WAYNE E           2800 N ROADRUNNER PKWY APT 1203                                                                   LAS CRUCES      NM     88011‐0872
ADAMS, WAYNE E           12035 S SAGINAW ST                APT 1                                                           GRAND BLANC     MI     48439‐1432
ADAMS, WESLEY            1877 CRIMSON DR                                                                                   TROY            MI     48083‐5510
ADAMS, WILBOURN          9154 N LINDEN RD                                                                                  CLIO            MI     48420‐8524
ADAMS, WILBUR            1111 BANK ST                                                                                      CINCINNATI      OH     45214‐2106
ADAMS, WILBUR V          17370 CHERRYLAWN ST                                                                               DETROIT         MI     48221‐2569
ADAMS, WILBURN E         13205 N JENNINGS RD                                                                               CLIO            MI     48420‐8826
ADAMS, WILBURN H         GEORGE & SIPES                    151 N DELAWARE ST STE 1700                                      INDIANAPOLIS    IN     46204‐2503
ADAMS, WILFORT L         302 E LORADO AVE                                                                                  FLINT           MI     48505‐2165
ADAMS, WILLA MAE         32115 VEGAS DR                                                                                    WARREN          MI     48093‐6177
ADAMS, WILLIAM           1077 E BALTIMORE BLVD                                                                             FLINT           MI     48505‐3603
ADAMS, WILLIAM           23324 N BROOKSIDE DR                                                                              DEARBORN HTS    MI     48125‐2318
ADAMS, WILLIAM           11019 ELMVIEW ST                                                                                  ROMULUS         MI     48174‐3978
ADAMS, WILLIAM           COMBS SCOTT E                     27780 NOVI RD STE 105                                           NOVI            MI     48377
ADAMS, WILLIAM           811 CLAYTON ST                                                                                    WEST MONROE     LA     71291‐4127
ADAMS, WILLIAM A         5864 ORMOND RD                                                                                    WHITE LAKE      MI     48383‐1046
ADAMS, WILLIAM B         HANLEY DEAN A LAW OFFICES         5430 CERRO SUR                                                  EL SOBRANTE     CA     94803‐3873
ADAMS, WILLIAM B         6989 HIGHWAY H                                                                                    GERALD          MO     63037‐2819
ADAMS, WILLIAM C         2271 E MCLEAN AVE                                                                                 BURTON          MI     48529‐1778
ADAMS, WILLIAM C         316 ORION AVE                                                                                     METAIRIE        LA     70005‐3731
ADAMS, WILLIAM E         2134 N 600 W                                                                                      ANDERSON        IN     46011‐9158
ADAMS, WILLIAM E         90 CLEARVIEW DR                                                                                   SPRINGBORO      OH     45066‐1051
ADAMS, WILLIAM F         2021 19TH AVENUE                                                                                  HALEYVILLE      AL     35565‐2015
ADAMS, WILLIAM G         5144 HEIDI LN                                                                                     SAGINAW         MI     48604‐9508
ADAMS, WILLIAM H         3311 REINHARDT RD                                                                                 MONROE          MI     48162‐9466
ADAMS, WILLIAM H         30844 BOEWE DR                                                                                    WARREN          MI     48092‐1910
ADAMS, WILLIAM H         213 OAK ST                                                                                        HUDSON          MI     49247‐1230
ADAMS, WILLIAM H         6516 MAPLEBROOK LN                                                                                FLINT           MI     48507‐4181
ADAMS, WILLIAM HOUSTON   3311 REINHARDT RD                                                                                 MONROE          MI     48162‐9466
ADAMS, WILLIAM J         47 MORRISON ST                                                                                    STRUTHERS       OH     44471‐1712
ADAMS, WILLIAM J         C/O GLASSER AND GLASSER           CROWN CENTER 580 E MAIN ST                                      NORFOLK         VA     23510
                                                           SUITE 600
ADAMS, WILLIAM J         WEITZ & LUXENBERG                 180 MAIDEN LANE                                                 NEW YORK       NY      10038
ADAMS, WILLIAM J         28 CLINTWOOD DR APT E                                                                             ROCHESTER      NY      14620‐3522
ADAMS, WILLIAM K         23890 EFFINGHAM BLVD                                                                              EUCLID         OH      44117‐1923
ADAMS, WILLIAM KEITH     23890 EFFINGHAM BLVD                                                                              EUCLID         OH      44117‐1923
ADAMS, WILLIAM L         811 CLAYTON ST                                                                                    WEST MONROE    LA      71291‐4127
ADAMS, WILLIAM L         GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                     NORFOLK        VA      23510‐2212
                                                           STREET, SUITE 600
ADAMS, WILLIAM L         3272 E PEBBLE CREEK DR                                                                            AVON PARK       FL     33825‐6038
ADAMS, WILLIAM R         125 WATERCRESS DRIVE                                                                              GREENEVILLE     TN     37745‐0624
ADAMS, WILLIAM R         G 6189 E PIERSON RD                                                                               FLINT           MI     48506
ADAMS, WILLIAM R         8585 S BEYER RD                                                                                   BIRCH RUN       MI     48415‐8439
ADAMS, WILLIAM R         40 S FLEMING ST                                                                                   INDIANAPOLIS    IN     46241‐1304
ADAMS, WILLIAM R         361 SAINT ANDREWS DR                                                                              FRANKLIN        TN     37069‐7092
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ADAMS, WILLIAM T           66 RYANS RUN                                                                                      BATTLE CREEK        MI     49014‐7560
ADAMS, WILLIAM T           815 PARKWAY BLVD                                                                                  ALLIANCE            OH     44601‐2750
ADAMS, WILLIE              BELL & JAMES                    PO BOX 1547                                                       AUGUSTA             GA     30903‐1547
ADAMS, WILLIE              269 BONDALE AVE                                                                                   PONTIAC             MI     48341‐2721
ADAMS, WILLIE              6568 ROCKY PARK DR                                                                                MEMPHIS             TN     38141‐7260
ADAMS, WILLIE              121 JAMES ST                                                                                      DAYTON              OH     45410‐1245
ADAMS, WILLIE              13141 TIREMAN AVE                                                                                 DEARBORN            MI     48126‐1164
ADAMS, WILLIE              12420 ALAMANCE WAY                                                                                UPPER MARLBORO      MD     20772
ADAMS, WILLIE C            PO BOX 1208                                                                                       ALORTON              IL    62207‐0208
ADAMS, WILLIE J            15793 PINEHURST ST.                                                                               DETROIT             MI     48238
ADAMS, WILLIE J            11431 STORICI ST                                                                                  LAS VEGAS           NV     89141‐3220
ADAMS, WILLIE M            PO BOX 1293                                                                                       FLOWERY BR          GA     30542‐0022
ADAMS, WILLIE R            520 FREEZE RD                                                                                     DANVILLE            VA     24540‐2136
ADAMS, WILLIE T            336 GASTON LN                                                                                     BOSSIER CITY        LA     71112‐4269
ADAMS, WILMA L             4618 VILLAGE DR                                                                                   JACKSON             MS     39206‐3349
ADAMS, WINSTON S           1542 OXFORD DR                                                                                    MURRAY              KY     42071‐3264
ADAMS, WOODROW             128 PINE TREE LANE                                                                                NANCY               KY     42544‐8616
ADAMS, WOODROW K           2931 STATE ROUTE 125                                                                              HAMERSVILLE         OH     45130‐8753
ADAMS, YONG H              3218 PALMER ST                                                                                    LANSING             MI     48910‐2924
ADAMS, YVONNE              7114 TIMBER MOSS LN                                                                               RICHMOND            TX     77469‐4115
ADAMS, YVONNE              2833 FAIRLANE DR SE                                                                               ATLANTA             GA     30354‐2125
ADAMS, YVONNE              138 WEBBER AVE                                                                                    SLEEPY HOLLOW       NY     10591‐2003
ADAMS, YVONNE M            16416 US HIGHWAY 19 N LOT 435                                                                     CLEARWATER          FL     33764‐8704
ADAMS, YVONNE S            12504 GLENDALE CT                                                                                 HUDSON              FL     34669‐2741
ADAMS, ZEFFRIE C           734 E RUTH AVE                                                                                    FLINT               MI     48505‐2249
ADAMS, ZIPPORAH T          78 CARL ST                                                                                        BUFFALO             NY     14215‐4028
ADAMS,DAVID                PO BOX 55                                                                                         TROY                MI     48099‐0055
ADAMS,LORETTA ROSE         2598 JANCO AVE                                                                                    MORAINE             OH     45439‐2862
ADAMS,MICHAEL K            1370 GRACELAND DR                                                                                 FAIRBORN            OH     45324‐4372
ADAMS,ROBIN D              6733 LITTLE RICHMOND RD                                                                           TROTWOOD            OH     45426‐3241
ADAMS‐ JOHNSTON, RUTH W    135 S COVENTRY DR                                                                                 ANDERSON            IN     46012‐3214
ADAMS‐BEELER, GLORIA J     5408 N 200 E                                                                                      KOKOMO              IN     46901‐9510
ADAMS‐DESKINS, JANET L     18079 WHITE PLAINS DR                                                                             MACOMB              MI     48044‐5119
ADAMS‐DOPKINS, TAMARA K    2143 RANDOLPH RD                                                                                  JANESVILLE          WI     53545‐0932
ADAMS‐LONG, CHADELLA L     918 MANOR PL                                                                                      SHREVEPORT          LA     71118‐3420
ADAMS‐SHAVER, LINDA K      8132 LEWIS RD                                                                                     BIRCH RUN           MI     48415‐9603
ADAMS‐THOMAS, JENNIFER     510 10TH ST                                                                                       STRUTHERS           OH     44471‐1052
ADAMS‐THOMAS, JENNIFER A   510 10TH ST                                                                                       STRUTHERS           OH     44471‐1052
ADAMS‐WOODS, VELMA R       1827 OAK BROOK CIR                                                                                FLINT               MI     48507‐1447
ADAMSKI IRENE              ADAMSKI, IRENE
ADAMSKI JOHN               ADAMSKI, JOHN                   3 SUMMIT PARK DR STE 100                                          INDEPENDENCE       OH      44131‐2598
ADAMSKI TED (442898)       BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD , BEVAN                                     NORTHFIELD         OH      44067
                                                           PROFESSIONAL BLDG
ADAMSKI, BARBARA P         321 SHERIDAN CT                                                                                   BAY CITY            MI     48708‐8466
ADAMSKI, CARL J            45748 DENISE COURT                                                                                PLYMOUTH            MI     48170‐3663
ADAMSKI, CHARLES           4640 MERRICK ST                                                                                   DEARBORN HTS        MI     48125‐2860
ADAMSKI, DANIEL M          2691 22ND ST                                                                                      BAY CITY            MI     48708‐7662
ADAMSKI, DAVID E           14816 S. M‐43 HWY                                                                                 HICKORY CORNERS     MI     49060
ADAMSKI, DONALD J          15531 M‐43                                                                                        HICKORY CORNERS     MI     49060
ADAMSKI, ELEANOR           8687 RIVER RUN TRL                                                                                GREENVILLE          MI     48838‐9412
ADAMSKI, IRENE M           25730 SURREY CT                                                                                   FARMINGTON HILLS    MI     48335‐1166

ADAMSKI, JAMES G           8839 WOODLORE SOUTH DR                                                                            PLYMOUTH            MI     48170‐3499
ADAMSKI, JAMES O           215 N HOWELL 98                                                                                   MIDDLETON           MI     48856
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ADAMSKI, JOHN               KROHN & MOSS                       3 SUMMIT PARK DR STE 100                                        INDEPENDENCE        OH     44131‐2598
ADAMSKI, LAWRENCE A         PO BOX 576                                                                                         ALMONT              MI     48003‐0576
ADAMSKI, LAWRENCE A         13222 ATWELL RD                                                                                    EMMETT              MI     48022‐4018
ADAMSKI, LAWRENCE W         51 LONE OAK CIR                                                                                    PENFIELD            NY     14526‐9546
ADAMSKI, MARGARET           155 IROQUOIS DRIVE                                                                                 LANCASTER           NY     14086‐1309
ADAMSKI, MARGARET           155 IROQUOIS AVE                                                                                   LANCASTER           NY     14086‐1309
ADAMSKI, MARIA              9096 LYON ST                                                                                       DETROIT             MI     48209‐2668
ADAMSKI, MARIA              9096 LYON                                                                                          DETROIT             MI     48209‐2668
ADAMSKI, PATRICIA M         813 MARIAM ELIAS WAY                                                                               SAINT AUGUSTINE     FL     32092‐3717
ADAMSKI, PATRICK P          25730 SURREY CT                                                                                    FARMINGTON HILLS    MI     48335‐1166

ADAMSKI, PEGGY A            5700 SKYLITE LN                                                                                    SHELBY TOWNSHIP    MI      48316‐1658
ADAMSKI, PETER M            6444 E H AVE                                                                                       KALAMAZOO          MI      49048
ADAMSKI, PHILOMENA A        526 COUNTRYSIDE LN                                                                                 WEBSTER            NY      14580‐1226
ADAMSKI, RICHARD D          14700 M‐43                                                                                         HICKORY CORNERS    MI      49060
ADAMSKI, ROBERT J           2 JITNEY CT                                                                                        SIMPSONVILLE       SC      29681‐5367
ADAMSKI, ROBERT S           440 IGOTI LN                                                                                       LOUDON             TN      37774‐6947
ADAMSKI, RONALD A           2447 KOPKA CT                                                                                      BAY CITY           MI      48708‐8167
ADAMSKI, STANLEY R          32553 DOWLAND DR                                                                                   WARREN             MI      48092‐3267
ADAMSKI, SUE A              32553 DOWLAND DR                                                                                   WARREN             MI      48092‐3267
ADAMSKI, WILLIAM D          46565 WILLIS RD                                                                                    BELLEVILLE         MI      48111‐8974
ADAMSKY, FRANK J            2549 S 69TH ST                                                                                     MILWAUKEE          WI      53219‐2502
ADAMSMS, FREDONIA           1115 LANG RD                                                                                       AMELIA             OH      45102‐1213
ADAMSON CLYDE J (345797)    GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                     NORFOLK            VA      23510
                                                               STREET, SUITE 600
ADAMSON I I I, DANIEL       8 FINDERNE RD                                                                                      EWING               NJ     08638‐2408
ADAMSON MISSIE & CARL       1703 S 171ST CT                                                                                    OMAHA               NE     68130‐1236
ADAMSON RONALD D (428387)   GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                     NORFOLK             VA     23510
                                                               STREET, SUITE 600
ADAMSON SHERINA             3116 45TH AVE NE                                                                                   TACOMA             WA      98422‐2813
ADAMSON, ARLENE A           7 BEAVER LAKE CIR                                                                                  ORMOND BEACH       FL      32174‐8138
ADAMSON, CLYDE J            GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                     NORFOLK            VA      23510‐2212
                                                               STREET, SUITE 600
ADAMSON, DANIEL R           3000 SUNRISE CIR APT 205                                                                           LAKE ORION          MI     48360‐2386
ADAMSON, DANIEL W           6395 TURNER RD                                                                                     FLUSHING            MI     48433‐9251
ADAMSON, DANNY G            4160 CARMANWOOD DR                                                                                 FLINT               MI     48507‐5504
ADAMSON, DILLARD            8353 WASHBURN RD                                                                                   COLUMBIAVILLE       MI     48421‐8807
ADAMSON, DONALD E           PO BOX 277                                                                                         RIVERTON            UT     84065‐0277
ADAMSON, DONALD P           6167 SUGARLOAF DR                                                                                  GRAND BLANC         MI     48439‐9159
ADAMSON, DONALD PAUL        6167 SUGARLOAF DR                                                                                  GRAND BLANC         MI     48439‐9159
ADAMSON, EVELYN L           115 WAGON TRAIL                                                                                    MOORESVILLE         IN     46158‐1058
ADAMSON, GEORGE F           1012 SANMAR DRIVE                                                                                  FLOWER MOUND        TX     75028‐7162
ADAMSON, HARRY E            16307 AL HIGHWAY 157                                                                               VINEMONT            AL     35179
ADAMSON, JAMES A            5024 GLENN DR                                                                                      NEW PORT RICHEY     FL     34652‐4495
ADAMSON, JEFFERY K          2865 LEATHERWOOD RD                                                                                WILLIAMSPORT        TN     38487‐2825
ADAMSON, JOSEPH D           7 BEAVER LAKE CIR                                                                                  ORMOND BEACH        FL     32174‐8138
ADAMSON, KATHRYN F          6395 TURNER RD                                                                                     FLUSHING            MI     48433‐9251
ADAMSON, MARGARET           2726 THOMAS ST                                                                                     FLINT               MI     48504‐4532
ADAMSON, MARK A             1914 S STATE ROAD 267                                                                              AVON                IN     46123‐8499
ADAMSON, MICHAEL D          12212 SUNGROVE ST                                                                                  GARDEN GROVE        CA     92840‐4229
ADAMSON, MICHAEL T          1411 FIR LN                                                                                        AVON                IN     46123‐7195
ADAMSON, MICHAEL T          1411 FIR LANE                                                                                      AVON                IN     46123‐7195
ADAMSON, MYRTIE             16307 AL HWY 157                                                                                   VINEMONT            AL     35179‐9094
ADAMSON, MYRTIE             16307 AL HIGHWAY 157                                                                               VINEMONT            AL     35179‐9094
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ADAMSON, PATRICIA L                6167 SUGARLOAF DR                                                                                     GRAND BLANC       MI     48439‐9159
ADAMSON, RICHARD L                 938 HAMMOND PL N                                                                                      TRAVERSE CITY     MI     49686‐8008
ADAMSON, ROBERT L                  11396 BLOOM RD                                                                                        GARRETTSVILLE     OH     44231‐9722
ADAMSON, ROBERT L                  3324 RED FOX RUN DR NW                                                                                WARREN            OH     44485
ADAMSON, RONALD                    GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                       NORFOLK           VA     23510‐2212
                                                                       STREET, SUITE 600
ADAMSON, TERRY A                   3905 E 1250 N                                                                                         ALEXANDRIA       IN      46001‐8998
ADAMSON, TIMOTHY L                 136 OPPRESSION LN                                                                                     FLINT            MI      48507‐5927
ADAMSON, VIRGINIA M                5016 3RD PLACE                                                                                        MERIDIAN         MS      39305‐2031
ADAMSON, WILLIAM                   929 MCCLURKIN AVE                                                                                     NASHVILLE        TN      37206‐3317
ADAMSVILLE CITY                    ADM RECORDER                        PO BOX 301                                                        ADAMSVILLE       TN      38310‐0301
ADAMUS, ANNMARIE E                 214 ELMGROVE RD                                                                                       ROCHESTER        NY      14626‐4249
ADAMUS, GREGORY E                  214 ELMGROVE RD                                                                                       ROCHESTER        NY      14626‐4249
ADAMUS, MARY K.                    48638 MICHAYWE DR                                                                                     MACOMB           MI      48044‐2307
ADAMUS, TIMOTHY J                  14828 ASTER AVE                                                                                       ALLEN PARK       MI      48101‐1611
ADAMUSIK, DON R                    40994 WILLIAMSBURG BLVD                                                                               CANTON           MI      48187‐3819
ADAMUSIK, MICHAEL                  489 RIVA AVE                                                                                          EAST BRUNSWICK   NJ      08816
ADAMY, ETHEL J                     49 DUNKIRK ST SE                                                                                      GRAND RAPIDS     MI      49548‐7725
ADAN ANZURES                       1021 MARTIN AVE                                                                                       WACO             TX      76706‐3230
ADAN AVALOS                        1044 LIVERNOIS AVE                                                                                    DETROIT          MI      48209‐2319
ADAN J SANCHEZ                     C/O WILLIAMS KHERKHER HART &        8441 GULF FREEWAY STE 600                                         HOUSTON          TX      77007
                                   BOUNDAS LLP
ADAN LOPEZ                         329 W RUISENOR AVE                                                                                    PHARR             TX     78577‐1855
ADAN PARRA                         1100 S MAIN ST LOT 12                                                                                 ADRIAN            MI     49221‐4348
ADAN PUGA                          515 W LINWOOD RD                                                                                      LINWOOD           MI     48634‐9714
ADAN RAMIREZ                       3570 FM 639                                                                                           FROST             TX     76641‐3564
ADAN RIOS                          10730 ANZAC AVE                                                                                       LOS ANGELES       CA     90059‐1304
ADAN VALDEZ                        16114 TURNER RD                                                                                       LANSING           MI     48906‐1892
ADAN VELEZ                         176 BALDWIN STREET                                                                                    NEW BRUNSWICK     NJ     08901‐2928
ADANA SPAIN                        808 SW 27TH ST                                                                                        MOORE             OK     73160‐5525
ADANAC AIR TUBE SYSTEMS LTD        925 ST‐CHARLES                                                               ST‐LAMBERT QC J4P 2A2
                                                                                                                CANADA
ADANI, FREDERICK                   1008 DREON DR                                                                                         CLAWSON           MI     48017‐1008
ADAPT TECHNOLOGY, INC.             LESLIE BRAZELTON, EXECUTIVE ASSISTANT 150 ROSE ORCHARD WAY                                            SAN JOSE          CA     95134‐1358

ADAPTICS INC                       1717 BRIAR RIDGE RD                                                                                   MC LEAN           VA     22101‐4204
ADAPTIVE 585654
ADAPTIVE DRIVING ALLIANCE          5969 W PINNACLE HILL DR                                                                               GLENDALE          AZ     85310‐3514
ADAPTIVE MICRO SYSTEMS LLC         PO BOX 78191                                                                                          MILWAUKEE         WI     53278‐0191
ADAPTIVE PACKAGING & ENGINEERING   8333 OLD HBR                                                                                          GRAND BLANC       MI     48439‐8060
CORP
ADAPTIVE PACKAGING & ENGRG COR     8333 OLD HBR                                                                                          GRAND BLANC      MI      48439‐9060
ADAPTIVE PACKAGING & ENGRG CORP    8333 OLD HBR                                                                                          GRAND BLANC      MI      48439‐8060
ADAPTIVE TECHNOLOGIES              985 TROY CT                                                                                           TROY             MI      48083‐2728
ADAPTIVE TECHNOLOGIES CORP         985 TROY CT                                                                                           TROY             MI      48083‐2728
ADARSH BHATIA                      2301 GOLFVIEW DR APT 202                                                                              TROY             MI      48084‐3913
ADAS, DANIEL P                     9381 ROBINWOOD DR                                                                                     GRAND BLANC      MI      48439‐9506
ADAS, ROBERT W                     10020 BLUFFVIEW CIR                                                                                   PILOT POINT      TX      76258‐7438
ADASCZIK, CHRISTOPHER W            12742 OSPREYS WAY                                                                                     DEWITT           MI      48820‐7863
ADASEK, KENNETH P                  11367 NANCY DR                                                                                        WARREN           MI      48093‐2655
ADASEK, PAUL                       179 NOTTINGHAM DR                                                                                     TROY             MI      48085‐3236
ADASIAK, WALTER                    2450 KROUSE RD LOT 458                                                                                OWOSSO           MI      48867‐8132
ADAWAY, HEATHER S                  124 WATERFORD DR                                                                                      DAYTON           OH      45458‐2518
ADAY, EUGENE O                     1555 AGNEW ST                                                                                         SIMI VALLEY      CA      93065‐2027
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ADBENTO RESENDEZ                  PO BOX 522                        210 N UPTON                                                                         HOLGATE              OH     43527‐0522
ADBH,                             MILLER MICHAEL LAW OFFICES OF     926 CHULIE DR                                                                       SAN ANTONIO          TX     78216‐6522
ADC DIE CAST & MANUFACTURING LP                                     1720 S WOLF RD                                                                      WHEELING              IL    60090
ADC DIE CAST & MANUFACTURING LP   1720 S WOLF RD                                                                                                        WHEELING              IL    60090‐6517
ADC DIE CAST & MANUFACTURING LP   901 CHASE AVE                                                                                                         ELK GROVE VILLAGE     IL    60007‐4807

ADC DIE CAST & MANUFACTURING LP   JIM LOUGH X3164                   1720 S WOLF RD                                                                      WHEELING             IL     60090‐6517
ADC DIE CAST & MANUFACTURING LP   JIM LOUGH X3164                   1720 S. WOLF ROAD                                                                   GURGAON HARYANA      IN

ADC DIE CAST & MANUFACTURING LP   PAT TANG                          901 CHASE AVE                    ANDERSON DIE CASTING                               ELK GROVE VILLAGE    IL     60007‐4807

ADC DIE CAST & MANUFACTURING LP   PAT TANG                          ANDERSON DIE CASTING             901 CHASE AVE                                      WYTHEVILLE           VA
ADC DIE CAST & MFG LP             901 CHASE AVE                                                                                                         ELK GROVE VILLAGE    IL     60007‐4807

ADC DIE CAST & MFG LP             PAT TANG                          901 CHASE AVE                    ANDERSON DIE CASTING                               ELK GROVE VILLAGE    IL     60007‐4807

ADC DIE CAST & MFG LP             PAT TANG                          ANDERSON DIE CASTING             901 CHASE AVE                                      WYTHEVILLE           VA
ADC DIECASTING LLC                PAT TANG                          901 CHASE AVE                                                                       ELK GROVE VILLAGE    IL     60007‐4807

ADC L P                           1720 S WOLF RD                                                                                                        WHEELING             IL     60090
ADC LIMITED/WHEELING              1720 S WOLF RD                                                                                                        WHEELING             IL     60090‐6517
ADC LTD.                          JIM LOUGH X3164                   1720 S WOLF RD                                                                      WHEELING             IL     60090‐6517
ADC LTD.                          JIM LOUGH X3164                   1720 S. WOLF ROAD                                                                   GURGAON HARYANA      IN

ADC MANUFACTURING                 N27 W23655 PAUL RD                                                                                                    PEWAUKEE             WI     53072
ADCENTRICITY                      DANIEL TRAPANI                    12 N STRATFORD RD                                                                   ARLINGTON            IL     60004‐6522
                                                                                                                                                        HEIGHTS
ADCO COURIERS LTD                 6870 PACIFIC CIRCLE                                                                       MISSISSAUGA CANADA ON L5T
                                                                                                                            1N8 CANADA
ADCO DIE CAST CORP                PO BOX 365                                                                                                            BRIDGMAN             MI     49106‐0365
ADCO GLOBAL INC                   PO BOX 457                                                                                                            MICHIGAN CENTER      MI     49254
ADCO GLOBAL INC                   4401 PAGE AVE                                                                                                         MICHIGAN CENTER      MI     49254‐1037
ADCO GLOBAL INC                   8521 SIX FORKS RD STE 105                                                                                             RALEIGH              NC     27615‐5293
ADCO GLOBAL INC                   THOMAS CURTIS                     PO BOX 457                                                                          WILLISTON            SC     29853‐0457
ADCO INDUSTRIES                   11333 PAGEMILL RD                                                                                                     DALLAS               TX     75243‐8305
ADCO LOGISTICS                    GRAHAM DEVENISH                   1190 MEYERSIDE DRIVE                                    MISSISSAUGA ON L5T1R7
                                                                                                                            CANADA
ADCO PRODUCTS                     THOMAS CURTIS                     PO BOX 457                                                                          WILLISTON            SC     29853‐0457
ADCO PRODUCTS INC                 4401 PAGE AVE                                                                                                         MICHIGAN CENTER      MI     49254‐1037
ADCO PRODUCTS INC                 4401 PAGE AVE                     PO BOX 930855                                                                       ATLANTA              GA     31193‐0855
ADCO/MI CENTER                    4401 PAGE AVE                     P.O. BOX 457                                                                        MICHIGAN CENTER      MI     49254‐1037
ADCOCK BILLY RAY (645386)         C/O EARLY LUDWICK & SWEENEY LLC   ONE CENTURY TOWER, 11TH FL       265 CHURCH ST                                      NEW HAVEN            CT     06510
ADCOCK GARY                       PO BOX 1051                                                                                                           FUQUAY VARINA        NC     27526
ADCOCK MILES                      ADOCK, MILES                      120 WEST MADISON STREET , 10TH                                                      CHICAGO              IL     60602
                                                                    FLOOR
ADCOCK VANCE                      207 DEVONSHIRE CT                                                                                                     PLEASANT HILL        CA     94523‐2079
ADCOCK, BARBARA                   33950 FOUNTAIN BLVD                                                                                                   WESTLAND BLVD        MI     48185
ADCOCK, BILLY RAY                 EARLY LUDWICK & SWEENEY L.L.C.    ONE CENTURY TOWER, 11TH FLOOR,                                                      NEW HAVEN            CT     06508‐1866
                                                                    265 CHURCH STREET
ADCOCK, BOBBY J                   PO BOX 206                                                                                                            COLLINSVILLE        MS      39325‐0206
ADCOCK, CELENA MARIE              1601 BINGHAM ST                                                                                                       FLINT               MI      48506‐3918
ADCOCK, CHARLES E                 141 MEREDITH LN                                                                                                       OLIVER SPRINGS      TN      37840‐3346
ADCOCK, CLIFFORD C                2235 GRAND CYPRESS DR                                                                                                 LAKELAND            FL      33810‐5752
ADCOCK, DARYL W                   530 E SOUTHFIELD RD                                                                                                   SHREVEPORT          LA      71105‐4332
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Name                       Address1                             Address2             Address3         Address4               City            State   Zip
ADCOCK, DARYL WAYNE        530 E SOUTHFIELD RD                                                                               SHREVEPORT       LA     71105‐4332
ADCOCK, DAVID J            928 TINDALAYA DR                                                                                  LANSING          MI     48917‐4127
ADCOCK, ELSIE L            123 WINDING TRL                                                                                   HUNTSVILLE       AL     35811‐8874
ADCOCK, EMMIT J            32 TATUM CAMP RD                                                                                  PURVIS           MS     39475‐3210
ADCOCK, JAMES E            270 LEROY HILL RD                                                                                 LAUREL           MS     39443‐8536
ADCOCK, JAMES L            989 ONONDAGA RD                                                                                   HOLT             MI     48842‐8619
ADCOCK, JAMES L            404 PLYMOUTH DR                                                                                   DAVISON          MI     48423‐1728
ADCOCK, JILL J             690 W SALZBURG RD                                                                                 AUBURN           MI     48611‐9554
ADCOCK, KAYLEIGH J         1415 SHANNON DR                                                                                   JANESVILLE       WI     53546‐1463
ADCOCK, KENNETH W          6951 MIRA MYRTIS RD                                                                               MIRA             LA     71044‐7709
ADCOCK, LARRY A            4400 N EVERETT RD                                                                                 MUNCIE           IN     47304‐5645
ADCOCK, LAVERNE P          P.O.BOX 631                                                                                       HEFLIN           AL     36264
ADCOCK, LAVERNE P          PO BOX 631                                                                                        HEFLIN           AL     36264‐0631
ADCOCK, LAVON              1760 S BEECHGROVE RD                                                                              WILMINGTON       OH     45177‐9130
ADCOCK, MADISON E          10 CLAIRMONT CIR                                                                                  LAUREL           MS     39440‐1816
ADCOCK, NELLIE W           5312 MONROE ST                                                                                    DEARBORN HTS     MI     48125‐2527
ADCOCK, NELLIE W           5312 MONROE                                                                                       DEARBORN HGTS    MI     48125‐2527
ADCOCK, NORMA J            2000 NE DILL DR                                                                                   LEES SUMMIT      MO     64086‐5374
ADCOCK, PHILIP W           11785 MILLSTONE DR                                                                                GRAND LEDGE      MI     48837‐2268
ADCOCK, ROBERT A           4650 WAUGH RD                                                                                     OWOSSO           MI     48867‐8713
ADCOCK, SARA
ADCOCK, TIMOTHY D          2245 LAKE RANCH CT                                                                                GAINESVILLE     GA      30506‐1127
ADCOCK, TREVOR M           690 W SALZBURG RD                                                                                 AUBURN          MI      48611‐9554
ADCOCK, TREVOR MICHAEL     690 W SALZBURG RD                                                                                 AUBURN          MI      48611‐9554
ADCOCK, VIOLA V            15625 DASHER AVE                                                                                  ALLEN PARK      MI      48101‐2731
ADCOCK, VIOLA V            15625 DASHER                                                                                      ALLEN PARK      MI      48101‐2731
ADCOCK, WILLIAM D          7323 CAHALAN ST                                                                                   DETROIT         MI      48209‐1821
ADCOCK, WILLIAM G          404 PLYMOUTH DR                                                                                   DAVISON         MI      48423‐1728
ADCOCK, WILLIAM L          PO BOX 995                                                                                        FLORENCE        MS      39073‐0995
ADCOCK, WILLIE J           10121 ROAD 391                                                                                    PHILADELPHIA    MS      39350‐8930
ADCOLE CORP                669 FOREST ST                        PO BOX 39                                                    MARLBOROUGH     MA      01752‐3067
ADCOLE CORP
ADCOLE CORP                4140 S LAPEER RD                                                                                  LAKE ORION      MI      48359‐1865
ADCOLE CORP                669 FOREST ST                                                                                     MARLBOROUGH     MA      01752‐3067
ADCOLE CORPORATION
ADCOLE CORPORATION         669 FOREST ST                        PO BOX 39                                                    MARLBOROUGH     MA      01752‐3067
ADCOLE/MARLBOROUGH         669 FOREST ST                                                                                     MARLBOROUGH     MA      01752‐3067
ADCOM EXPRESS              PO BOX 3627                                                                                       BELLEVUE        WA      98009‐3627
ADCON ENGINEERING          FLEX TECH PROFESSIONAL SERVICES      421 JACKSON ST                                               SANDUSKY        OH      44870‐2736
ADCON ENGINEERING CO INC   ATTN: CORPORATE OFFICER/AUTHORIZED   20102 PROGRESS DR                                            CLEVELAND       OH      44136
                           AGENT
ADCON ENGINEERING CO INC   20102 PROGRESS DR                                                                                 STRONGSVILLE    OH      44149
ADCOX, ALDON R             4770 N HIGHWAY 61                                                                                 PERRYVILLE      MO      63775‐8438
ADCOX, ANDREA J            140 KIM DR                                                                                        ANDERSON        IN      46012‐1013
ADCOX, B L                 3809 WOODROW AVE                                                                                  FLINT           MI      48506‐3137
ADCOX, CHUCK R             140 KIM DR                                                                                        ANDERSON        IN      46012‐1013
ADCOX, ILA R               1191 SCR 135                                                                                      MORTON          MS      39117‐5114
ADCOX, JERRY W             4836 UPPER VALLEY RD                                                                              DAYTON          OH      45424‐1784
ADCOX, JOYCE A             13735 COLLINS DR                                                                                  WARREN          MI      48088‐5725
ADCOX, LARRY E             1011 VANIER COURT                                                                                 HENDERSON       NV      89052‐4910
ADCOX, ROY D               G3230 HOGARTH AVE                                                                                 FLINT           MI      48532‐5130
ADCOX, SARAH P             233 AMHERST DR                                                                                    NASHVILLE       TN      37214‐2043
ADCOX, SHIELA              6949 SHULL RD                                                                                     HUBER HEIGHTS   OH      45424‐1228
ADCOX, WILLIAM             654 SUMNER RD                                                                                     WAUCHULA        FL      33873‐4456
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Name                                 Address1                       Address2                        Address3        Address4               City               State   Zip
ADCRAFT CLUB OF DETROIT              STE 561                        3011 WEST GRAND BOULEVARD                                              DETROIT             MI     48202‐3043
ADCRAFT CLUB OF DETROIT              ATTN: BOB GUERRINI             3011 W GRAND BLVD # 561                                                DETROIT             MI     48202‐3043
ADD INDUSTRY (ZHEJIANG) CO LTD       WILLIAM YANG                   NO 38‐88 SHUANGGANG RD          YUHUAN COUNTY                          TAYLOR              MI     48180
ADD INDUSTRY ZHEJIANG CO LTD         38‐88# SHUANGGANG RD                                                           YUHUAN TOWN ZHEJIANG
                                                                                                                    PROVINCE CHINA
ADD STAFF INC                        STE 201                        22600 HALL ROAD                                                        CLINTON TWP        MI      48036‐1173
ADD SWOOPE JR                        86 WESTGATE DR                                                                                        MANSFIELD          OH      44906‐2853
ADD SYLVESTER                        1301 N ELMS RD                                                                                        FLINT              MI      48532‐2030
ADDA HILLYER                         4139 ASHGROVE DR                                                                                      GROVE CITY         OH      43123‐3377
ADDAE, ROBERT K                      938 PLUMERIA DR                                                                                       ARLINGTON          TX      76002‐2401
ADDAE, ROBERT KWABENA                938 PLUMERIA DR                                                                                       ARLINGTON          TX      76002‐2401
ADDAIR COBURN (ESTATE OF) (491929)   BEVAN & ASSOCIATES             10360 NORTHFIELD ROAD , BEVAN                                          NORTHFIELD         OH      44067
                                                                    PROFESSIONAL BLDG
ADDAIR, ANTHONY C                    309 W WASHINGTON ST                                                                                   SHELBYVILLE        IN      46176‐1152
ADDAIR, HASSEL E                     PO BOX 23                                                                                             SHADY VALLEY       TN      37688‐0023
ADDAIR, LEONARD A                    3045 S HARTMAN DR                                                                                     INDIANAPOLIS       IN      46239‐1236
ADDAIR, LOIS K                       7151 MILLS RD                                                                                         INDIANAPOLIS       IN      46221‐9653
ADDAIR, RUSH D                       7151 MILLS RD                                                                                         INDIANAPOLIS       IN      46221‐9653
ADDALA, SANJEEVA R                   4965 SOMERTON DR                                                                                      TROY               MI      48085‐4739
ADDALENE NICKLE                      433 N 750 W                                                                                           KOKOMO             IN      46901‐9764
ADDAM AYALA                          6092 HORSTMEYER RD                                                                                    LANSING            MI      48911
ADDAMS, JOHN G                       6735 HICKORY HILL DR                                                                                  MAYFIELD VILLAGE   OH      44143‐1559
ADDAMS, MARY E                       1617 DOUGLAS                                                                                          JOLIET             IL      60435‐5721
ADDAMS, MARY E                       1617 DOUGLAS ST                                                                                       JOLIET             IL      60435‐5721
ADDAMS, VYRA L                       6200 GEORGE AVENUE                                                                                    KANSAS CITY        MO      64133
ADDARIO JOHN                         2750 MERCURY DR                                                                                       LEMON GROVE        CA      91945‐2131
ADDATO, MAYNARD M                    301 ROGERS POINT RD                                                                                   STEUBEN            ME      04680‐3303
ADDEAN A NELSON                      3098 JOHNSON ROAD                                                                                     CRYSTAL SPRNG      MS      39059‐9105
ADDEAN A NELSON                      3098 JOHNSON RD                                                                                       CRYSTAL SPRINGS    MS      39059‐9105
ADDEAN NELSON                        3098 JOHNSON RD                                                                                       CRYSTAL SPGS       MS      39059‐9105
ADDED VALUE                          PO BOX 894604                                                                                         LOS ANGELES        CA      90189‐4604
ADDENBROOKE, LEONARD R               2790 W CREEK RD                                                                                       NEWFANE            NY      14108‐9753
ADDENE BOWMAN                        20515 RYAN RD                                                                                         DETROIT            MI      48234‐1965
ADDEO, ROSE H                        BOX 17‐ 6 SHERMAN ST                                                                                  BELFAST            NY      14711‐0017
ADDESA, ANTHONY M                    52 PAMELA DR                                                                                          DEPEW              NY      14043
ADDESA, JAMES J                      5512 MICHIGAN RD                                                                                      ARCADE             NY      14009‐9103
ADDESA, PAUL J                       81 CAMNER AVE                                                                                         LANCASTER          NY      14086‐2905
ADDESA, TARA A                       1300 GEMINI ST APT 8101                                                                               HOUSTON            TX      77058‐6059
ADDESSI, JAMES M                     21325 44TH ST                                                                                         BLOOMINGDALE       MI      49026‐9612
ADDESSO, SEBASTIAN                   42 DUNDEE AVE                                                                                         ISELIN             NJ      08830‐2119
ADDI‐LAYTON, MARY M                  8640 BUNCOMBE RD                                                                                      SHREVEPORT         LA      71129‐9766
ADDI‐LAYTON, MARY MARGARET           8640 BUNCOMBE RD                                                                                      SHREVEPORT         LA      71129‐9766
ADDICKS, GEORGE R                    13161 MAPLEWOOD DR                                                                                    YUCAIPA            CA      92399
ADDICOTT, BILLY C                    27 WILLIAMS DR                                                                                        W MIDDLESEX        PA      16159‐3525
ADDICOTT, DAVID W                    765 KIMBERLY AVE                                                                                      MASURY             OH      44438‐9737
ADDICOTT, EVELYN M                   27 WILLIAMS DR                                                                                        W MIDDLESEX        PA      16159‐3525
ADDIE ANDERSON                       118 ANDREA BLVD                                                                                       NILES              OH      44446‐3226
ADDIE BAYNARD                        1787 SYLVAN RD SW                                                                                     ATLANTA            GA      30310‐4950
ADDIE BISHOP                         444 RAGING RIVER ROAD                                                                                 MASON              MI      48854‐9332
ADDIE BONNER                         110 E GREENWAY PKWY APT 1074                                                                          PHOENIX            AZ      85022‐2534
ADDIE BOYD                           210 E MANOR DR APT 3                                                                                  COLUMBUS           MS      39702‐5211
ADDIE BROADWAY                       1417 OAKLAWN DR                                                                                       MONROE             LA      71202‐3035
ADDIE BROWN                          2936 FALDO LN                                                                                         SPRING HILL        TN      37174‐8211
ADDIE BROWN                          6790 CAMP VALLEY RD                                                                                   RIVERDALE          GA      30296‐1706
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ADDIE CALHOUN        2408 ALEXANDER ST                                                                             FLINT            MI     48505‐4943
ADDIE CARTER         219 S PADDOCK ST                                                                              PONTIAC          MI     48342‐3051
ADDIE CASSIDY        12779 NICHOLS RD               BOX 63                                                         BURT             MI     48417
ADDIE CHATMAN        1520 LORI DR SW UNIT 1401                                                                     WARREN           OH     44485
ADDIE COMBS          20904 ASCENSION AVE                                                                           WARREN           MI     48089‐2915
ADDIE COMSTOCK       1405 N CAROLINA ST                                                                            SAGINAW          MI     48602‐3908
ADDIE COUCH          PO BOX 2011                                                                                   ANTIOCH          TN     37011‐2011
ADDIE COVINGTON      5642 S EMERALD FIRST FLOOR                                                                    CHICAGO           IL    60621
ADDIE CRAWLEY        6561 LOCKWOOD BLVD                                                                            BOARDMAN         OH     44512‐3904
ADDIE D BROWN        2936 FALDO LN                                                                                 SPRING HILL      TN     37174‐8211
ADDIE FIELDS         3929 N BRIARVALE RD                                                                           AUBURN HILLS     MI     48326‐3376
ADDIE FOUSHEE        303 2ND AVE                                                                                   MASON            OH     45040‐1501
ADDIE FRANKLIN       5105 HIGHLAND AVE                                                                             KANSAS CITY      MO     64110‐2635
ADDIE G ANDERSON     118 ANDREA BLVD                                                                               NILES            OH     44446
ADDIE GEORGE         110 E YORK AVE                                                                                FLINT            MI     48505‐2145
ADDIE GILMER         4705 FOREST LN                                                                                TRENTON          MI     48183‐4507
ADDIE GRAHAM         10496 STONEGATE DR                                                                            FORTVILLE        IN     46040‐9430
ADDIE GRAY           12084 MENDOTA ST                                                                              DETROIT          MI     48204‐1826
ADDIE GREEN          PO BOX 449                                                                                    BOLTON           MS     39041‐0449
ADDIE GRIFFIN        338 S 13TH ST                                                                                 SAGINAW          MI     48601‐1838
ADDIE H WEBSTER      6586 FRANKLIN ROOSEVELT                                                                       JACKSON          MS     39213‐2101
ADDIE H WEBSTER      6586 F.D.R. DRIVE                                                                             JACKSON          MS     39213
ADDIE HALL           600 OAK DR NW                                                                                 CONYERS          GA     30012‐4143
ADDIE HAMMONSMYTHE   PO BOX 71823                                                                                  LAS VEGAS        NV     89170‐1823
ADDIE HANNAH         322 RUSSELL ST                                                                                PONTIAC          MI     48342‐3345
ADDIE HARGROVE       233 CEDAR ST                                                                                  BUFFALO          NY     14204‐1556
ADDIE HARPER         715 S 15TH ST                                                                                 SAGINAW          MI     48601‐2042
ADDIE HARRIS         616 HARVEST LN                                                                                LANSING          MI     48917‐3549
ADDIE HARRISON       PO BOX 2385                                                                                   ANDERSON         IN     46018‐2385
ADDIE HART           2006 STANFORD AVE                                                                             FLINT            MI     48503‐4011
ADDIE HAYNES         5959 YOUNG CROSSING RD                                                                        LOUISVILLE       MS     39339‐7529
ADDIE HEARN          PO BOX 212                                                                                    ELLENWOOD        GA     30294‐0212
ADDIE HENDERSON      5628 PEMBROOK PL               APT 12                                                         LANSING          MI     48917‐4836
ADDIE HUDSON         613 KELLY ST                                                                                  BOSSIER CITY     LA     71111‐4129
ADDIE HUSTON         6932 KILLARNEY CT                                                                             DUBLIN           OH     43017‐1077
ADDIE JOHNSON        5034 W OUTER DR                                                                               DETROIT          MI     48235‐1341
ADDIE KING           6575 RIDGEWAY DR                                                                              MOORESVILLE      IN     46158‐8764
ADDIE L GREEN        P O BOX 449                                                                                   BOLTON           MS     39041‐0449
ADDIE L GREEN        PO BOX 449                                                                                    BOLTON           MS     39041‐0449
ADDIE LEWIS          349 HERMAN ST                                                                                 BUFFALO          NY     14211‐2925
ADDIE LINGO          PO BOX 28                                                                                     EGYPT            AR     72427‐0028
ADDIE LOYD           100 W FRANKLIN                                                                                CLINTON          MO     64735
ADDIE M HUDSON       613 KELLY ST                                                                                  BOSSIER CITY     LA     71111‐4129
ADDIE MARSHALL       725 E 6TH ST                                                                                  MUNCIE           IN     47302‐3419
ADDIE MATTOX         68 LOUISE ST                                                                                  HIGHLAND PARK    MI     48203‐2772
ADDIE MC NAIR        1807 ECKLEY AVE                                                                               FLINT            MI     48503‐4525
ADDIE MCGHEE         PO BOX 2571                                                                                   ANDERSON         IN     46018‐2571
ADDIE MIMS           5141 DORTCH DR                                                                                BURTON           MI     48519‐1223
ADDIE MULLEN         58 HILLCREST DR                                                                               AMHERST          NY     14226‐1403
ADDIE NEAL           55 DIEHL DR                                                                                   MOUNT CLEMENS    MI     48043‐2319
ADDIE NICKSON        201 W GENESEE ST                                                                              FLINT            MI     48505‐6610
ADDIE P CRAWLEY      6561 LOCKWOOD BLVD                                                                            BOARDMAN         OH     44512‐3904
ADDIE PAXTON         PO BOX 85                                                                                     CLENDENIN        WV     25045‐0085
ADDIE PERKINS        6405 N JENNINGS RD                                                                            MOUNT MORRIS     MI     48458‐9317
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Name                         Address1                         Address2                     Address3   Address4               City               State   Zip
ADDIE PHILLIPS               2020 E MILL ST                                                                                  MALVERN             AR     72104‐5733
ADDIE PHILLIPS               4029 CLOVE HITCH ST                                                                             NORTH LAS VEGAS     NV     89032‐0272
ADDIE R HARRISON             PO BOX 2385                                                                                     ANDERSON            IN     46018‐2385
ADDIE RIEWOLDT               613 BARTLETT ST                                                                                 LOGANSPORT          IN     46947‐4713
ADDIE ROLLINS                126 PASADENA DR 126                                                                             OLATHE              KS     66061
ADDIE ROYSTON                1835 CHELAN ST                                                                                  FLINT               MI     48503‐4307
ADDIE RUSSELL                1121 TURTLE CREEK DR APT B                                                                      GREENVILLE          NC     27858‐5240
ADDIE SALTER                 PO BOX 14964                                                                                    SAGINAW             MI     48601‐0964
ADDIE SHINE                  330 CROSS PARK DR APT 70                                                                        PEARL               MS     39208‐8911
ADDIE SMITH                  918 E ELM ST                                                                                    KOKOMO              IN     46901‐3131
ADDIE SMITH                  1707 5TH AVE APT 23                                                                             YOUNGSTOWN          OH     44504‐1866
ADDIE STUBBS                 14897 PINEHURST ST                                                                              DETROIT             MI     48238‐1626
ADDIE TERRELL                APT 267                          6150 EASTKNOLL DRIVE                                           GRAND BLANC         MI     48439‐5077
ADDIE THACKER                7930 STATE ROUTE 726                                                                            ELDORADO            OH     45321‐9740
ADDIE THEDFORD               4220 GREENWOOD ST                                                                               BIRMINGHAM          AL     35217
ADDIE THOMAS                 1195 GLYNN CT                                                                                   DETROIT             MI     48202‐1426
ADDIE VAUGHN                 110 LYNCH DR                                                                                    ALVORD              TX     76225‐5982
ADDIE VICKERS                36500 MARQUETTE ST APT 625                                                                      WESTLAND            MI     48185
ADDIE WATERS                 2720 GLADSTONE ST                                                                               MORAINE             OH     45439‐1626
ADDIE WEBSTER                6586 FRANKLIN D ROOSEVELT DR                                                                    JACKSON             MS     39213‐2101
ADDIE WHIRL                  711 W RIDGEWAY AVE                                                                              FLINT               MI     48505‐5136
ADDIE WINSTON                C/O BEVAN & ASSOCIATES LPA INC   6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS          OH     44236
ADDIE, ALICIA F              238 QUAIL RIDGE RD                                                                              SMYRNA              TN     37167‐5117
ADDIE, CARLYSIA N.           3401 VALLEY BEND RD                                                                             MURFREESBORO        TN     37129‐2644
ADDIE, ESTHER J              7555 GOAT HOLLOW RD                                                                             MARTINSVILLE        IN     46151‐7875
ADDIE, HELEN J               PO BOX 11092                                                                                    KANSAS CITY         KS     66111
ADDIE, JASON L               814 S 132ND ST                                                                                  BONNER SPRINGS      KS     66012‐9616
ADDIE, SOPHIE                743 COMMUNITY DR                                                                                LA GRANGE PARK       IL    60526‐1556
ADDIE, STANLEY J             4549 RUGER AVE                                                                                  JANESVILLE          WI     53546‐8679
ADDIE, WILLIAM R             8718 KAW DR                                                                                     KANSAS CITY         KS     66111‐1734
ADDIN/BLOOMNGTN              6901 W 84TH ST APT 116                                                                          BLOOMINGTON         MN     55438‐1187
ADDINGTON CAROLE H           5392 WARWICK TRL                                                                                GRAND BLANC         MI     48439‐9578
ADDINGTON, CAROLE H          5392 WARWICK TRL                                                                                GRAND BLANC         MI     48439‐9578
ADDINGTON, CHARLES R         13333 KINLOCK DR                                                                                STERLING HEIGHTS    MI     48312‐1571
ADDINGTON, CHARLES RICHARD   13333 KINLOCK DR                                                                                STERLING HEIGHTS    MI     48312‐1571
ADDINGTON, CRAIG M           74962 28TH ST                                                                                   LAWTON              MI     49065‐9632
ADDINGTON, DANNY L           PO BOX 36                                                                                       FARMLAND            IN     47340‐0036
ADDINGTON, FRANKLIN J        555 SPRING MEADOW XING                                                                          WENTZVILLE          MO     63385‐3456
ADDINGTON, HENRY F           1303 ALLENBY CT                                                                                 BEL AIR             MD     21014‐2740
ADDINGTON, HOMER L           PO BOX 55163                                                                                    LEXINGTON           KY     40555‐5163
ADDINGTON, IVAN G            1606 SMITHWOOD DR                                                                               MARIETTA            GA     30062‐2711
ADDINGTON, JACK L            729 GREENBRIER DR SE                                                                            GRAND RAPIDS        MI     49546‐2241
ADDINGTON, O K               104 PONY CREEK RD                                                                               NORTH               IN     46962‐1747
                                                                                                                             MANCHESTER
ADDINGTON, OSA C             BOX 242                                                                                         FARMLAND           IN      47340‐0242
ADDINGTON, OSA C             PO BOX 242                                                                                      FARMLAND           IN      47340‐0242
ADDINGTON, RAYMOND L         35278 GLEN LN                                                                                   WILDOMAR           CA      92595‐9065
ADDINGTON, RICHARD D         7017 RICHARDSON DR                                                                              WATAUGA            TX      76148‐1851
ADDINGTON, ROBERT E          1127 WALKER AVE NW                                                                              GRAND RAPIDS       MI      49504‐4062
ADDINGTON, SANDRA J          555 SPRING MEADOW XING                                                                          WENTZVILLE         MO      63385‐3456
ADDINGTON, TAWNYA L          6644 DEER RIDGE DR                                                                              CLARKSTON          MI      48348‐2808
ADDINGTON, TEDDY E           5392 WARWICK TRL                                                                                GRAND BLANC        MI      48439‐9578
ADDINGTON, TIMOTHY E         214 OAK DR                                                                                      PASADENA           MD      21122‐4932
ADDIS CANNON JR              3621 MARVIN ST                                                                                  FLINT              MI      48505‐3801
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Name                            Address1                        Address2                      Address3   Address4               City          State   Zip
ADDIS, ALLEN G                  2101 EL DORADO BLVD N                                                                           CAPE CORAL     FL     33993‐3890
ADDIS, DONALD W                 1623 STONE RIVER PL SW                                                                          DECATUR        AL     35603‐3117
ADDIS, JACK D                   3847 ACKERMAN BLVD                                                                              KETTERING      OH     45429‐4512
ADDIS, LARRY R                  105 BITTERSWEET DR                                                                              GREENVILLE     OH     45331‐4328
ADDISON AUTO CENTER             2005 S HOLLY ST                                                                                 DENVER         CO     80222‐4817
ADDISON AUTOMOTIVE SERVICE      14735 INWOOD RD                                                                                 ADDISON        TX     75001‐3775
ADDISON COUSINO                 9870 HEAD O LAKE RD                                                                             RIGA           MI     49276‐9604
ADDISON CRABTREE                4477 STRAIGHT ARROW RD                                                                          DAYTON         OH     45430‐1520
ADDISON D CRABTREE              4477 STRAIGHT ARROW ROAD                                                                        DAYTON         OH     45430‐1520
ADDISON D CRABTREE              4477 STRAIGHT ARROW RD                                                                          BEAVERCREEK    OH     45430‐1520
ADDISON ERRETT                  139 WHITE CHURCH LN                                                                             GREENSBURG     PA     15601‐7732
ADDISON G FLUENT                7345 HUBBARD BEDFORD RD                                                                         HUBBARD        OH     44425
ADDISON GILLIS                  BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                      BOSTON HTS.    OH     44236
ADDISON GRAPHIC SOLUTIONS INC   PO BOX 1482                                                                                     ROYAL OAK      MI     48059‐1482
ADDISON HACKLEY JR              PO BOX 133                                                                                      WOODSTOCK      OH     43084‐0133
ADDISON HENRY (458981)          GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                     NORFOLK        VA     23510
                                                                STREET, SUITE 600
ADDISON JR, GEORGE              1708 E LOVERS LN                                                                                ARLINGTON     TX      76010‐5933
ADDISON JR, WALTER L            1915 PHILADELPHIA DR                                                                            DAYTON        OH      45406‐4015
ADDISON M HACKLEY JR            PO BOX 133                                                                                      WOODSTOCK     OH      43084‐0133
ADDISON MC GLORY                77 CRAWFORD ST                                                                                  PONTIAC       MI      48341‐2110
ADDISON MCGLORY                 106 E STRATHMORE AVE                                                                            PONTIAC       MI      48340‐2768
ADDISON RILEY                   7334 LISMORE LN                                                                                 FORT WAYNE    IN      46835‐9379
ADDISON SOLAK                   7723 PIONEER DR                                                                                 YPSILANTI     MI      48197‐9461
ADDISON STRATTON                985 BEACHLAND BLVD                                                                              WATERFORD     MI      48328‐3901
ADDISON WALKER                  3846 14TH ST                                                                                    ECORSE        MI      48229‐1328
ADDISON WILLIAMS                ATTN: PATRICK M ARDIS           5810 SHELBY OAKS DR                                             MEMPHIS       TN      38134
ADDISON, ALVIN A                5238 BINGHAM ST                                                                                 DEARBORN      MI      48126‐3304
ADDISON, ALVIN A                5238 BINGHAM                                                                                    DEARBORN      MI      48126‐3304
ADDISON, ANTONIO D              1823 ROBINHOOD DR                                                                               MIAMISBURG    OH      45342‐2094
ADDISON, BENJAMIN L             850 HASENFLU DR                                                                                 HERMITAGE     PA      16148‐2825
ADDISON, BEVERLY                1707 STEPHANIE RD                                                                               ANDERSON      IN      46012
ADDISON, BRENDA J               5187 ELDRED ST.                                                                                 FLINT         MI      48504
ADDISON, BRENDA J               5187 ELDRED ST                                                                                  FLINT         MI      48504‐1284
ADDISON, CHAD E                 1300 BELVEDERE DR                                                                               KOKOMO        IN      46902‐5604
ADDISON, CHESTER A              37105 E JIM OWENS RD                                                                            OAK GROVE     MO      64075‐8135
ADDISON, DC                     PO BOX 6901                                                                                     SAGINAW       MI      48608‐6901
ADDISON, DONALD J               10700 N CLARK AVE                                                                               ALEXANDRIA    IN      46001‐9022
ADDISON, DONALD R               1024 OTTLAND SHRS                                                                               LAKE ODESSA   MI      48849‐9428
ADDISON, EARL V                 3230 CIRCLE DR                                                                                  SAGINAW       MI      48601‐5802
ADDISON, EDWARD E               1368 E 450 N                                                                                    KOKOMO        IN      46901‐8550
ADDISON, ELLA M                 5274 MALLARD TRAIL                                                                              GAYLORD       MI      49735‐9024
ADDISON, EVELYN P               562 N COUNTY ROAD 600 W                                                                         NEW CASTLE    IN      47362‐9755
ADDISON, FARRELL E              235 E 2ND AVE                                                                                   ALEXANDRIA    IN      46001‐9013
ADDISON, FREDERICK W            225 LAKESIDE OAKS CIR                                                                           LAKESIDE      TX      76135‐5206
ADDISON, GERALDINE              621 LEE ST                                                                                      SAGINAW       MI      48602‐1560
ADDISON, GLORIA A               19900 SAINT MARYS ST                                                                            DETROIT       MI      48235‐2329
ADDISON, GRADEN                 6946 MULBERRY ST                                                                                CINCINNATI    OH      45239‐4421
ADDISON, GWENDOLYN              7613 CEDAR FARM DR                                                                              BALTIMORE     MD      21237‐3750
ADDISON, HARRISON L             2017 N 5TH ST                                                                                   MILWAUKEE     WI      53212
ADDISON, HELEN                  25797 MADDEN ST                                                                                 TAYLOR        MI      48180‐3286
ADDISON, HENRY                  GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                     NORFOLK       VA      23510‐2212
                                                                STREET, SUITE 600
ADDISON, HERMA J                3230 CIRCLE DR                                                                                  SAGINAW        MI     48601‐5802
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ADDISON, HOWARD M         PO BOX 1504                                                                                 SAINT STEPHEN    SC     29479‐1504
ADDISON, ISSAC M          1915 PHILADELPHIA DR                                                                        DAYTON           OH     45406‐4015
ADDISON, JAMES            1096 FRED DILLON RD                                                                         MAGNOLIA         MS     39652‐9708
ADDISON, JAMES E          13810 W VIA TERCERO                                                                         SUN CITY WEST    AZ     85375‐2824
ADDISON, JAMES P          9724 E 50TH ST                                                                              KANSAS CITY      MO     64133‐2203
ADDISON, JAMES R          4401 N 1200 E                                                                               GREENTOWN        IN     46936‐9540
ADDISON, JOHN E           2712 ARTHURS WAY                                                                            ANDERSON         IN     46011‐9049
ADDISON, JOHN G           11217 HORTON RD                                                                             HOLLY            MI     48442‐8405
ADDISON, JOHN GLEN        11217 HORTON RD                                                                             HOLLY            MI     48442‐8405
ADDISON, JOHN L           PO BOX 973                                                                                  NATCHITOCHES     LA     71458‐0973
ADDISON, JULIE G          4401 N 1200 E                                                                               GREENTOWN        IN     46936‐9540
ADDISON, KELTON D         7613 CEDAR FARM DR                                                                          ROSEDALE         MD     21237‐3750
ADDISON, KIMBERLY S       7953 MARVIN RD                                                                              HOLTON           MI     49425‐9512
ADDISON, KIMBERLY SUE     7953 MARVIN RD                                                                              HOLTON           MI     49425‐9512
ADDISON, L C              7889 GRATIOT RD APT‐K                                                                       SAGINAW          MI     48609‐5022
ADDISON, LARRY D          413 W MARKLAND AVE                                                                          KOKOMO           IN     46901‐6108
ADDISON, LARRY M          3075 DIX HWY TRLR A41                                                                       LINCOLN PARK     MI     48146‐4832
ADDISON, LESLIE L         2114 THATCHER ST                                                                            SAGINAW          MI     48601‐3360
ADDISON, LLOYD K          4035 S WASHINGTON RD                                                                        SAGINAW          MI     48601‐5160
ADDISON, LOUIS H          814 S ANDRE ST APT 1                                                                        SAGINAW          MI     48602‐2566
ADDISON, MARION B         1250 RIDGEMOOR DR                                                                           WATERFORD        MI     48328‐3969
ADDISON, MARK L           6305 HENDERSON RD                                                                           COLUMBIAVILLE    MI     48421‐8812
ADDISON, MARK LESLIE      6305 HENDERSON RD                                                                           COLUMBIAVILLE    MI     48421‐8812
ADDISON, MARTHA L         1103 EAST CARY                                                                              PAPILLION        NE     68046‐6187
ADDISON, MARTHA L         1103 E CARY ST                                                                              PAPILLION        NE     68046‐6187
ADDISON, MARY A           6305 SHAFTSBURY DR                                                                          KNOXVILLE        TN     37921‐3835
ADDISON, MATTHEW G        7271 NIGHTINGALE ST                                                                         DEARBORN HTS     MI     48127‐1718
ADDISON, MAZIE A          5580 E 200 S                                                                                KOKOMO           IN     46902‐9239
ADDISON, MICHAEL          96 REED ST                                                                                  BUFFALO          NY     14212‐1225
ADDISON, MICHAEL D        12663 DORWOOD RD                                                                            BURT             MI     48417‐2359
ADDISON, NOREEN E         552 TANVIEW DR                                                                              OXFORD           MI     48371‐4762
ADDISON, PAMELA S         2203 SHIRLEY ANN CT                                                                         TALLAHASSEE      FL     32308‐6133
ADDISON, PHILLIP A        8241 E MOUNT MORRIS RD                                                                      OTISVILLE        MI     48463‐8402
ADDISON, RICHARD H        3992 FORREST CT                                                                             CHAMBLEE         GA     30341‐1613
ADDISON, ROBERT L         46 ERSKINE AVE                                                                              BUFFALO          NY     14215‐3320
ADDISON, ROBERT V         5274 MALLARD TRL                                                                            GAYLORD          MI     49735‐9024
ADDISON, RUBY B           3216 ILLINOIS AVENUE                                                                        MIDDLETOWN       OH     45042‐2612
ADDISON, SCOTT D          5276 SE GERONIMO DR                                                                         LATHROP          MO     64465‐8189
ADDISON, SIDNEY T         2325 LOWELL AVE                                                                             SAGINAW          MI     48601‐3406
ADDISON, STANLEY W        705 N LUETT AVE                                                                             INDIANAPOLIS     IN     46222‐3315
ADDISON, STEVEN G         2243 ACADEMY DR 116                                                                         TROY             MI     48083
ADDISON, SUSAN C          52478 PHEASANT RUN DR                                                                       SAGINAW          MI     48638‐6398
ADDISON, SUSAN COLLETTE   52478 PHEASANT RUN DR                                                                       SAGINAW          MI     48638‐6398
ADDISON, SYLVIA           1662 TENNYSON AVE                                                                           DAYTON           OH     45406‐4146
ADDISON, TERESA L         624 KENILWORTH AVE                                                                          DAYTON           OH     45405‐4042
ADDISON, THELMA L         38 TRIPLE CROWN CT                                                                          BALTIMORE        MD     21244‐1243
ADDISON, THELMA O         607 HAMPTON LANE                                                                            CHESTERFIELD     IN     46017‐1431
ADDISON, THELMA O         607 HAMPTON LN                                                                              CHESTERFIELD     IN     46017‐1431
ADDISON, THEODORE D       1540 NORTHGATE RD                                                                           BALTIMORE        MD     21218‐1618
ADDISON, TONY A           341 SOUTH LN                                                                                GRAND ISLAND     NY     14072‐1392
ADDISON, VERNELL          89 WILKES AVE                                                                               BUFFALO          NY     14215‐3511
ADDISON, VERNELL          89 WILKES AVENUE                                                                            BUFFALO          NY     14215‐3511
ADDISON, WANDA S          2712 ARTHURS WAY                                                                            ANDERSON         IN     46011‐9049
ADDISON, WILBERT E        7801 CHANTILLY LN                                                                           FORT WORTH       TX     76134‐4601
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Name                                   Address1                         Address2                Address3        Address4               City               State   Zip
ADDISON, WYNONA J                      1915 PHILADELPHIA DR                                                                            DAYTON              OH     45406‐4015
ADDIST L BENNETT                       366 EASTMAN AVE                                                                                 ROCHESTER           NY     14615
ADDKISON, DONALD V                     18799 HIGHWAY 397                                                                               PRESTON             MS     39354‐9420
ADDLEE GEE                             4876 N BOXMAN PL PLAC3                                                                          MONTICELLO          IN     47960
ADDMORE OFFICE FURNITURE INC
ADDNETTA MC CLINTON                    1902 MALLERY ST                                                                                 FLINT               MI     48504‐3132
ADDNEY BIERY                           1854 N 11 MILE RD                                                                               LINWOOD             MI     48634‐9751
ADDO, CARLAUS D                        506 ALPINE CIR                                                                                  NORMAN              OK     73072
ADDRISSI GERALD (ESTATE OF) (637062)   GOLDENBERG, MILLER, HELLER &     PO BOX 959                                                     EDWARDSVILLE        IL     62025‐0959
                                       ANTOGNOLI
ADDRISSI, GERALD                       GOLDENBERG, MILLER, HELLER &     PO BOX 959                                                     EDWARDSVILLE        IL     62025‐0959
                                       ANTOGNOLI
ADDUCI, ANTHONY J                      125 FITCH BLVD                   UNIT 218                                                       YOUNGSTOWN         OH      44515‐2243
ADDUCI, ANTHONY J                      125 FITCH BLVD UNIT 218                                                                         YOUNGSTOWN         OH      44515‐2243
ADDY, GAIL F                           142 NUTTALL BR                                                                                  FENTON             MI      48430‐8798
ADDY, LEONARD J                        1380 TAWAWA MAPLEWOOD RD                                                                        SIDNEY             OH      45365‐9723
ADDY, LUCINDA M                        2790 COURVILLE DR                                                                               BLOOMFIELD HILLS   MI      48302‐1017
ADDY, SUSAN T                          20403 SUNNINGDALE PARK                                                                          GROSSE POINTE      MI      48236‐1635
                                                                                                                                       WOODS
ADDY, TIMOTHY D                        20403 SUNNINGDALE PARK                                                                          GROSSE POINTE      MI      48236‐1635
ADDY,LEONARD J                         1380 TAWAWA MAPLEWOOD RD                                                                        SIDNEY             OH      45365‐9723
ADE CORP/NEWTON                        77 ROWE ST                                                                                      AUBURNDALE         MA      02466‐1532
ADE JR, DAVID E                        613 HAMILTON RD                                                                                 MOUNT MORRIS       MI      48458‐8902
ADE JR, DAVID EUGENE                   613 HAMILTON RD                                                                                 MOUNT MORRIS       MI      48458‐8902
ADE OF MEMPHIS                         5400 GETWELL AT HOLMES RD                                                                       MEMPHIS            TN      38118
ADE, DAVID E                           6620 E M‐71                                                                                     DURAND             MI      48429
ADE, JOSEPH A                          404 GROVE ST                                                                                    HADDONFIELD        NJ      08033‐1119
ADE, MINA A                            216 N 3RD ST                                                                                    ELSIE              MI      48831‐8736
ADE, MYRNA M                           850 N ADAMS RD UNIT 2                                                                           BIRMINGHAM         MI      48009‐5661
ADE, NELSON H                          PO BOX 1244                                                                                     SEBASTIAN          FL      32958
ADEAN CHAFIN                           4970 LINKOUS CT                                                                                 HILLIARD           OH      43026‐1624
ADEAN COMBS                            111 W CLARK ST                                                                                  SWAYZEE            IN      46986‐9616
ADEAN SIMS                             2301 AMES ST                                                                                    PEARLAND           TX      77584‐3052
ADECCO SA                              1 TOWNE SQ STE 1870                                                                             SOUTHFIELD         MI      48076‐3765
ADECCO SA                              3000 TOWN CTR DR STE 2600                                                                       SOUTHFIELD         MI      48075
ADECCO/AOC                             2301 W BIG BEAVER RD                                                                            TROY               MI      48084
ADEE, TAMELA J                         1728 PLANTERS WAY                                                                               BOWLING GREEN      KY      42104‐4456
ADEEB A SALEH                          350 S FORD BLVD                                                                                 YPSILANTI          MI      48198‐6067
ADEEL USMAN
ADEELA WEEDEN                          231 DUNLOP AVE                                                                                  TONAWANDA           NY     14150‐7839
ADEGUN, TEMITOPE O                     438 E66TH STREET                 APT. 3FW                                                       NEW YORK            NY     10021
ADEI, GABRIEL K                        15875 SCHULTZ ST                                                                                CLINTON TWP         MI     48038‐4164
ADEL AUTO REPAIR                                                        781 COMMUNIPAW AVE                                             JERSEY CITY         NJ     07304
ADEL HUSAIN                            AL‐ADAN                          BLOCK 2, ST 19, HR 18   KUWAIT
ADEL JOHNSON                           6617 BELLTREE LN                                                                                FLINT              MI      48504‐1649
ADEL L SHAKIR                          1179 CHARLES AVE                                                                                FLINT              MI      48505‐1641
ADEL MEISENBURG                        607 CANTERBURY RD                                                                               BAY VILLAGE        OH      44140‐2414
ADEL SHAMOO                            24844 BRACKEN LN                                                                                NEWHALL            CA      91381‐2236
ADEL WAHAB
ADELA BURELL                           317 COCKERELL DRIVE                                                                             ABILENE            TX      79601
ADELA DUBIEL                           9 VIOLET DR                                                                                     BEACON             NY      12508‐2203
ADELA HUIZAR                           4275 ADAMS CIR                                                                                  WAYNE              MI      48184‐1882
ADELA MANDRICK                         150 WILLARD AVE SE                                                                              WARREN             OH      44483‐6234
ADELA MENDOZA                          1350 N WASHINGTON AVE                                                                           SAGINAW            MI      48601‐1134
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Name                                   Address1                        Address2                     Address3           Address4                   City               State Zip
ADELA MURRAY                           24770 CHERNICK ST                                                                                          TAYLOR              MI 48180‐2114
ADELA NOVICKI                          320 MEADOWLARK LN                                                                                          WEST MIFFLIN        PA 15122‐2527
ADELA PASSARELL                        4001 BENNETTS CORNERS RD                                                                                   HOLLEY              NY 14470‐1207
ADELA SEGURA                           15188 LAS PIEDRAS DR                                                                                       VICTORVILLE         CA 92395‐3668
ADELA THOMAS                           3916 WIND DRIFT DR E APT 1B                                                                                INDIANAPOLIS        IN 46254‐3216
ADELA VOKIC                            28902 UXBRIDGE DR                                                                                          WILLOWICK           OH 44095‐4585
ADELAIDA DONES                         174 MYRTLE AVE                                                                                             BUFFALO             NY 14204‐2060
ADELAIDA DYMOND                        6124 BALFOUR DR                                                                                            LANSING             MI 48911‐5436
ADELAIDA GILL                          304 SMITH ST                                                                                               HOLGATE             OH 43527‐9568
ADELAIDA HERNANDEZ                     19713 E 8 MILE RD #70                                                                                      SAINT CLAIR SHORES MI 48080

ADELAIDE ALLEN                         2333 WESTMONTE RD                                                                                          TOLEDO            OH   43607‐3552
ADELAIDE BALL                          501 W FOSS AVE                                                                                             FLINT             MI   48505‐2088
ADELAIDE EVANS                         3521 ESTHER ST                                                                                             FLINT             MI   48505‐3892
ADELAIDE H WILLIAMS                    168 W LAKE RD                                                                                              BENTON            LA   71006‐9721
ADELAIDE JORGE                         157 BURRAGE ST                                                                                             LUNENBURG         MA   01462‐2103
ADELAIDE K. POWER                      125 MURPHY PLACE                                                                                           W. HENRIETTA      NY   14586
ADELAIDE LABEAN                        1757 E KITCHEN RD                                                                                          PINCONNING        MI   48650‐9466
ADELAIDE LOVISA                        1233 COURTNEY ST NW                                                                                        GRAND RAPIDS      MI   49504‐2909
ADELAIDE M PEREIRA                     2002 NE 49TH ST 707                                                                                        KANSAS CITY       MO   64118
ADELAIDE MILLER                        619 N WEBSTER ST                                                                                           KOKOMO            IN   46901‐3307
ADELAIDE MINDERMAN                     104 SILVER CIR                                                                                             MANTENO           IL   60950‐1373
ADELAIDE MOTORS SALES & REPAIRS INC.   294 ADELAIDE ST. S.                                                             LONDON ON N5Z 3L1 CANADA

ADELAIDE P BROWN TTEE FBO THE LEVANT (DESCENDENT'S TR) FFB ACCOUNT     DTD 6‐11‐96                  1825 NORWOOD AVE                              BOULDER           CO   80304‐1219
& ADELAIDE P BROWN FAM TR
ADELAIDE PEREIRA                     2002 NE 49TH ST APT 707                                                                                      KANSAS CITY       MO   64118
ADELAIDE WILLIAMS                    168 W LAKE RD                                                                                                BENTON            LA   71006‐9721
ADELAIDE ZASIMOVITCH                 801 W PARK AVE                    14 C                                                                       LINDENWOLD        NJ   08021‐3668
ADELARD DRAINVILLE                   PO BOX 285                                                                                                   MILLIS            MA   02054‐0285
ADELARD LAGACE                       1090 CANAAN SOUTHFIELD RD                                                                                    SOUTHFIELD        MA   01259‐9773
ADELAYDE AMORE                       2805 HARWICK DR APT 4                                                                                        LANSING           MI   48917‐2351
ADELBERG, CARL W                     1490 DEWITT ST                                                                                               PORT CHARLOTTE    FL   33952‐2660
ADELBERT ABRAM                       3424 KIESEL RD                                                                                               BAY CITY          MI   48706‐2446
ADELBERT ANWAY                       2165 GRAMER RD                                                                                               WEBBERVILLE       MI   48892‐9719
ADELBERT E MOSLEY                    P O BOX 591                                                                                                  CLINTON           MS   39060
ADELBERT FREEL                       3361 SEYMOUR RD                                                                                              SWARTZ CREEK      MI   48473‐9746
ADELBERT GIESE                       2515 W RAUCH RD                                                                                              TEMPERANCE        MI   48182‐9606
ADELBERT GILBERT                     PO BOX 106                                                                                                   SHEPHERD          MI   48883‐0106
ADELBERT LUTHER                      16611 PINE POINT DR                                                                                          BARRYTON          MI   49305‐9558
ADELBERT PERRY                       1017 YOUNT ST                                                                                                GREENBRIER        TN   37073‐4636
ADELBERT PUNG                        115 FLORAL AVE                                                                                               SAINT JOHNS       MI   48879‐1045
ADELBERT SMITH                       C/O BEVAN & ASSOCIATES LPA INC    6555 DEAN MEMORIAL PARKWAY                                                 BOSTON HTS        OH   44236
ADELBERT TERRY                       735 COLUMBIAVILLE RD                                                                                         COLUMBIAVILLE     MI   48421‐9700
ADELBERT WAIGHT                      720 E 169TH ST                                                                                               SOUTH HOLLAND     IL   60473‐3036
ADELBERT WALDECKI                    BEVAN & ASSOCIATES LPA INC        6555 DEAN MEMORIAL PKWY                                                    BOSTON HEIGHTS    OH   44236
ADELBERT YENCER                      G3403 BROOKGATE DR                                                                                           FLINT             MI   48507
ADELBERT, HENRY C                    15361 95TH LN N                                                                                              WEST PALM BEACH   FL   33412‐1770

ADELBERTO ROSA                         PO BOX 1789                                                                                                CEIBA             PR   00735‐1789
ADELE A ANTONELLI                      5142 WINSLOW DR                                                                                            MINERAL RIDGE     OH   44440‐9413
ADELE ALEXANDROWICZ                    17025 CROSBYDALE ST                                                                                        MACOMB            MI   48044‐4014
ADELE ALFORD                           2773 JUPITER DR                                                                                            FAIRFIELD         OH   45014‐5000
ADELE ANTONELLI                        5142 WINSLOW DR                                                                                            MINERAL RIDGE     OH   44440‐9413
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Name                     Address1                            Address2                     Address3   Address4                  City               State   Zip
ADELE AVOLIO             34750 7 MILE RD                                                                                       LIVONIA             MI     48152‐4032
ADELE BAURA              1835 8TH ST NW                                                                                        GRAND RAPIDS        MI     49504‐3906
ADELE BLANCO             5098 W HARVARD AVE                                                                                    CLARKSTON           MI     48348‐3108
ADELE BUKYS              APT 147                             2330 MAPLE ROAD                                                   BUFFALO             NY     14221‐4055
ADELE BUTKIEWICZ         8220 SULKY CT APT 2                                                                                   PORT RICHEY         FL     34668‐1862
ADELE CANGIALOSI         284 BARBADOS DR N                   HOLIDAY CITY                                                      TOMS RIVER          NJ     08757‐3807
ADELE CHILDRESS          5511 303RD ST                                                                                         TOLEDO              OH     43611‐2307
ADELE DEMKO              242 BOONE RD                                                                                          TRAFFORD            PA     15085‐2330
ADELE EGGLESTON          75 SUMMIT RD                                                                                          SUMMIT              KY     42732‐9780
ADELE GALVAN             3532 MARVOG DR                                                                                        JANESVILLE          WI     53548‐8580
ADELE GRAHAM             170 ROUTE#6 ‐ APT 216                                                                                 MAHOPAC             NY     10541
ADELE GUARDADO           4306 S 41ST ST APT 17                                                                                 TACOMA              WA     98409‐2155
ADELE J GARDNER‐PETTET   1304 OAK CT                                                                                           LEESBURG            FL     34788
ADELE JOHNSON            3550 LYNHAVEN DR APT D                                                                                GREENSBORO          NC     27406‐7139
ADELE KLOTH              5790 DENLINGER RD                   #264                                                              DAYTON              OH     45426‐1838
ADELE KLUCK              PO BOX 75                                                                                             EDEN                NY     14057‐0075
ADELE KRUTULIS           217 QUINCY AVE APT 2                                                                                  KEARNY              NJ     07032‐3466
ADELE KUCH               23304 EDWARD ST                                                                                       DEARBORN            MI     48128‐1358
ADELE L MCKENNA          479 CATAMOUNT RD                                                                                      FAIRFIELD           CT     06824
ADELE L MORTARO          41 ISLAND DRIVE                                                                                       POLAND              OH     44514
ADELE LINDOW             PO BOX 460745                                                                                         LEEDS               UT     84746‐0745
ADELE LOMASH             118 E AMBERLY DRIVE                                                                                   MANALAPAN           NJ     07726
ADELE MAJCHRZAK          8873 BOSTON STATE RD 2                                                                                BOSTON              NY     14025
ADELE MARINO             C/O BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                        BOSTON HTS          OH     44236
ADELE MARTIN             1906 14TH ST                                                                                          BEDFORD             IN     47421‐3639
ADELE MARTZ              36780 CHESAPEAKE RD                                                                                   FARMINGTON HILLS    MI     48335‐1130

ADELE MORTARO            41 ISLAND DR                                                                                          POLAND             OH      44514‐1602
ADELE NITTI              2144 WEST JERFERSON ROAD                                                                              PITTSFORD          NY      14534
ADELE PETTET             1304 OAK CT                                                                                           LEESBURG           FL      34788‐7749
ADELE PIERPOINT          504 MOHICAN DR                                                                                        LOVELAND           OH      45140‐2723
ADELE ROBITAILLE         8317 RANDY DR                                                                                         WESTLAND           MI      48185‐7079
ADELE SCIARA             C/O LORRAINE M SCIARA, POWER OF     40 VALLEY VIEW DRIVE                                              BASINS RIDGE       NJ      07920
                         ATTORNEY
ADELE SCOCCIA            67 QUEENSLAND DRIVE                                                                                   SPENCERPORT        NY      14559‐2065
ADELE SINKUS             12 CRANSWICK LANE                                                                                     ROCHESTER          NY      14618
ADELE SINKUS             12 CRANSWICK LN                                                                                       ROCHESTER          NY      14618‐3806
ADELE SKOWRONSKI         3460 WEST ERVIN AVENUE                                                                                LAS VEGAS          NV      89139
ADELE SOULLIERE          11553 NOEL CT W                                                                                       IRA                MI      48023‐1693
ADELE SZYMANSKI          1940 TURNER ST                                                                                        ALLENTOWN          PA      18104
ADELE T SKOWRONSKI       8467 SWEET GALE CT                                                                                    LAS VEGAS          NV      89178‐4816
ADELE TIETENBERG         48628 ROMA VALLEY                                                                                     SHELBY TOWNSHIP    MI      48317
ADELE V KLOTH            5790 DENLINGER RD # 264                                                                               DAYTON             OH      45426‐1838
ADELE WIERTEL            177 LEXINGTON GRN                                                                                     WEST SENECA        NY      14224‐1062
ADELE WOOD               164 CLOVER AVE                                                                                        EWING              NJ      08638‐3616
ADELE ZIAJA              8205 WAINSTEAD DR                                                                                     PARMA              OH      44129‐4844
ADELE ZIOLE              5234 CHASE RD                                                                                         DEARBORN           MI      48126‐3100
ADELENE CASTLEBERRY      153 E HOLME ST                                                                                        FLINT              MI      48505
ADELFA TORRES            5140 MORRISON RD                                                                                      BROWNSVILLE        TX      78526‐9487
ADELFINA PODSIADLIK      33457 BALMORAL ST                                                                                     WESTLAND           MI      48185‐3000
ADELGUNDE HEYLIGERS      FABRIKSTR. 22                                                                                         KREFELD                    47798
ADELHEID GUNDLACH        KREUZWEG 21                                                                 31582 NIENBURG/WESER AR
                                                                                                     GERMANY
ADELHEID HARHAUS         66555 MT. VERNON ROAD                                                                                 WASHINGTON          MI     48095
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Name                    Address1                             Address2                     Address3                  Address4                City              State Zip
ADELHEID HARMS          KARL‐DIETER‐STR.14                                                                          LUDWIGSBURG DE 71636
                                                                                                                    GERMANY
ADELIA DANCEL           THE MADEKSHO LAW FIRM                8866 GULF FREEWAY STE 440                                                      HOUSTON           TX    77017
ADELIA EDMONDS          3311 GOODFELLOW RD                                                                                                  STAR CITY         AR    71667‐9273
ADELIA J MARSHALL       8407 N SEYMOUR RD                                                                                                   FLUSHING          MI    48433‐9266
ADELIA KERR             362 E COUNTY RD 360 N                                                                                               ANDERSON          IN    46012
ADELIA MARSHALL         8407 N SEYMOUR RD                                                                                                   FLUSHING          MI    48433‐9266
ADELIA MENDRYGA         447 S WARING ST                                                                                                     DETROIT           MI    48217‐1410
ADELIA ROBALO           12 MOUNT CARMEL PLACE                                                                                               YONKERS           NY    10701
ADELINA BLANCO          903 ST ANGELO                                                                                                       SAN ANTONIO       TX    78201
ADELINA DELGADO         514 W MAIN ST                                                                                                       LEIPSIC           OH    45856‐1138
ADELINA MARTINS         11212 PFLUMM RD                                                                                                     LENEXA            KS    66215‐4811
ADELINA MONCHO DUARTE   C/GUILLEM TELL 24 4O2A                                                                      08006 BARCELONA SPAIN
ADELINA R MADUJANO      WIGINGTON RUMLEY DUNN, LLP           800 N SHORELINE BLVD         14TH FLOOR, SOUTH TOWER                           CORPUS CHRISTI     TX   78401

ADELINA SLATINSKY       2591 GRANT SIDING RD                                                                                                CHEBOYGAN         MI    49721‐9250
ADELINA WATSON          10376 HIGHWAY EE                                                                                                    RICHMOND          MO    64085‐8332
ADELINE ADGATE          8570 SWAN AVE                                                                                                       NEWAYGO           MI    49337‐9216
ADELINE ANDERTON        102 RIVERVIEW RD                                                                                                    HERMITAGE         MO    65668‐9115
ADELINE BALLARD         1659 E KINDE RD                                                                                                     KINDE             MI    48445‐9326
ADELINE BANAT           7320 WEINGARTZ                                                                                                      CENTER LINE       MI    48015‐1463
ADELINE BARNHART        9415 OAK RD                                                                                                         OTISVILLE         MI    48463‐9789
ADELINE BECKER          14141 FENTON                                                                                                        REDFORD           MI    48239‐2878
ADELINE BENCIE          PO BOX 125                                                                                                          ROYALTON          IL    62983
ADELINE BERRY           10455 LEANN DR                                                                                                      CLIO              MI    48420‐1960
ADELINE BONGIOVANNI     399 BRAZIL LN                                                                                                       JOHNSTOWN         PA    15909‐1137
ADELINE BORES           5000 S 107TH ST APT 135S                                                                                            MILWAUKEE         WI    53228
ADELINE CAIN            7303 N 575 W                                                                                                        FRANKTON          IN    46044‐9570
ADELINE CZAJKA          6006 ALAN DR                                                                                                        BRIGHTON          MI    48116‐8501
ADELINE D EVANS         13930 EAGLE RIDGE LAKES DR           APT 101                                                                        FORT MYERS        FL    33912‐‐ 17
ADELINE DOMINICK        1205 SHORESBROOK RD                                                                                                 SPARTANBURG       SC    29301‐6507
ADELINE EVANS           13930 EAGLE RIDGE LAKES DR APT 101                                                                                  FORT MYERS        FL    33912‐1782
ADELINE FAHNENSTIEL     1459 ACACIA ST                                                                                                      SAGINAW           MI    48602
ADELINE FOWZER          25560 FOUNTAIN GLEN CT APT 301                                                                                      VALENCIA          CA    91381‐0781
ADELINE GALONSKI        852 CYNTHIA CT                                                                                                      NILES             OH    44446‐2716
ADELINE GALONSKI        BEVAN & ASSOCIATES, LPA, INC.        6555 DEAN MEMORIAL PARKWAY                                                     BOSTON HTS.       OH    44236
ADELINE GAUS            1141 RAMSGATE RD APT 11                                                                                             FLINT             MI    48532‐3137
ADELINE GODAIR          2500 MERCHANTS ROW BLVD APT 265                                                                                     TALLAHASSEE       FL    32311‐3663
ADELINE GOMMENGINGER    PO BOX 38                                                                                                           WEST BLOOMFIELD   NY    14585‐0038

ADELINE HERRERA         26235 9TH ST SPC 72                                                                                                 HIGHLAND          CA    92346‐3473
ADELINE HICKOK          168 6TH AVE                                                                                                         GALION            OH    44833‐3003
ADELINE HUFF            168 N MAIN ST                                                                                                       JOHNSTOWN         OH    43031‐1017
ADELINE JOHNSON         7030 PORTER RD                       C/0 MR STUART JOHNSON                                                          GRAND BLANC       MI    48439‐8574
ADELINE JONIKA          207 MEADOW LARK DR                                                                                                  OSTEEN            FL    32764‐8507
ADELINE KACZMAREK       16 ORANGE AVE                                                                                                       BUFFALO           NY    14218‐2422
ADELINE KENWORTHY       PO BOX 326                                                                                                          BURLINGTON        IN    46915‐0326
ADELINE KINDT           3664 N RUDE RD                                                                                                      OSSINEKE          MI    49766‐9504
ADELINE KLECKOWSKI      130 STERLING DR                                                                                                     KENSINGTON        CT    06037‐2128
ADELINE KOPP            10944 W OAKWOOD RD                                                                                                  FRANKLIN          WI    53132‐8815
ADELINE KOZLOWSKI       211 NIAGARA ST                                                                                                      LOCKPORT          NY    14094‐2605
ADELINE LA BUDDE        9415 PARKWOOD N                                                                                                     DAVISON           MI    48423‐1706
ADELINE LAGONA          2394 2B VIA MARIPOSA                                                                                                LAGUNA HILLS      CA    92653
ADELINE LIDWIN          3041 S 56TH ST APT 35                                                                                               MILWAUKEE         WI    53219‐3117
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Name                                   Address1                       Address2                     Address3   Address4               City               State Zip
ADELINE M BRUNO                        2026 AA JASON DR                                                                              HUNTINGDON          PA 19006
                                                                                                                                     VALLEY
ADELINE MARIMPIETRI                    6178 PORTER DR                                                                                FARMDALE           OH   44417‐9715
ADELINE MCKINNEY                       291 OWL CREEK RD                                                                              LUCASVILLE         OH   45648‐9516
ADELINE MOON                           2707 LENORA CHURCH ROAD                                                                       SNELLVILLE         GA   30078‐3295
ADELINE NIEMIEC                        15623 MCLAIN AVE                                                                              ALLEN PARK         MI   48101‐2023
ADELINE PAYNE                          1210 RUNNYMEAD AVE SW                                                                         DECATUR            AL   35601‐3650
ADELINE PERRY                          993 HILL STREET                                                                               BRISTOL            CT   06010‐2250
ADELINE PIERLEONI                      80 GREEN RD                                                                                   CHURCHVILLE        NY   14428‐9534
ADELINE PIETRZYK                       33362 ALTA ST                                                                                 GARDEN CITY        MI   48135‐1001
ADELINE RADEMACHER                     1770 N WRIGHT RD R #1                                                                         FOWLER             MI   48835
ADELINE RHODES                         24340 SOUTH SCHOOLHOUSE ROAD                                                                  MANHATTAN          IL   60442‐9588
ADELINE SIKMAN                         20801 DEVONSHIRE ST #171                                                                      CHATSWORTH         CA   91311
ADELINE SOMMERVOLD                     116 BEACH AVENUE                                                                              EDGERTON           WI   53534‐9324
ADELINE STIGLER                        3726 MAPLE AVE                                                                                BROOKFIELD         IL   60513‐1537
ADELINE WAWRZYNIEC                     8 DALE DR                                                                                     TONAWANDA          NY   14150‐4308
ADELINE WEJSA                          507 MCGRAW ST                                                                                 BAY CITY           MI   48708‐8442
ADELINE ZINKEVCZ                       4507 N 55TH ST                                                                                MILWAUKEE          WI   53218‐5716
ADELINO BARROS                         544 VALLEY AVE                                                                                YONKERS            NY   10703‐1910
ADELINO LOPES                          1260 YELL RD                                                                                  LEWISBURG          TN   37091‐4400
ADELINO MOLEANO                        1840 SHARON WALK DR                                                                           CUMMING            GA   30041‐7435
ADELINO SILVA                          249 WOOD ST                                                                                   MAHOPAC            NY   10541‐5121
ADELITA WOJCIK                         395 KAMALEI CIR                                                                               KAHULUI            HI   96732‐3203
ADELL BAILEY                           5328 MAPLEBROOK LN                                                                            FLINT              MI   48507‐4127
ADELL COLEY                            618 ELYSIAN AVE                                                                               TOLEDO             OH   43607‐3116
ADELL CORP                             MARVIN ADELL                   200 ADELL BLVD                                                 SUNNYVALE          TX   75182‐9340
ADELL CORP                             MARVIN ADELL                   200 ADELL BLVD.                                                GREENCASTLE        IN   46135
ADELL CORP                             200 ADELL BLVD                                                                                SUNNYVALE          TX   75182‐9340
ADELL CORPORATION                      200 ADELL BLVD, SUNNYVALE                                                                     SUNNYVALE          TX   75182
ADELL CORPORATION (GM VS) SPARE TIRE   ADELL CORPORATION              901 MAIN STREET SUITE 5500                                     DALLAS             TX   75202
LOCK ‐ CHARGE OF INFRINGEMENT

ADELL CORPORATION (GM VS) SPARE TIRE ADELL CORPORATION                6895 TELEGRAPH ROAD                                            BLOOMFIELD HILLS   MI   48301
LOCK ‐ CHARGE OF INFRINGEMENT

ADELL CORPORATION (GM VS) SPARE TIRE TRIDENT LABORATORIES INC         901 MAIN STREET SUITE 5500                                     DALLAS             TX   75202
LOCK ‐ CHARGE OF INFRINGEMENT

ADELL CORPORATION (GM VS) SPARE TIRE TRIDENT LABORATORIES INC         26100 AMERICAN DR STE 500                                      SOUTHFIELD         MI   48034‐6184
LOCK ‐ CHARGE OF INFRINGEMENT

ADELL DAVIS                            418 GRACE ST                                                                                  FLINT              MI   48503‐1022
ADELL DOKES                            2167 MEDFORD RD APT 40                                                                        ANN ARBOR          MI   48104‐4924
ADELL ELDRIDGE                         328 ROBBIE LN                                                                                 FLINT              MI   48505‐2100
ADELL GIBBS                            7 CHASE PLANTATION PKWY                                                                       BIRMINGHAM         AL   35244
ADELL I DOKES                          2167 MEDFORD RD APT 40                                                                        ANN ARBOR          MI   48104‐4924
ADELL KING                             2341 MARKLE PL                                                                                SAGINAW            MI   48601‐2067
ADELL LEONARD                          2740 DUNCANVILLE RD APT 1122                                                                  DALLAS             TX   75211‐7440
ADELL MANUFACTURING, INC.              MARVIN ADELL                   200 ADELL BLVD.                                                GREENCASTLE        IN   46135
ADELL MANUFACTURING, INC.              MARVIN ADELL                   200 ADELL BLVD                                                 SUNNYVALE          TX   75182‐9340
ADELL MCFADDEN                         5 COUNTRY LN                                                                                  TEXARKANA          TX   75501‐9591
ADELL MITCHNER                         2160 ARMSTRONG RD                                                                             MOUNT MORRIS       MI   48458‐2619
ADELL POWELL                           1813 JASMINE TRL                                                                              AUBREY             TX   75227‐7722
ADELL POWELL                           322 E PULASKI AVE                                                                             FLINT              MI   48505‐3355
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Name                       Address1                            Address2                   Address3   Address4                   City              State   Zip
ADELL RAMSEY               6993 MENDENHALL RD                                                                                   CAMBY              IN     46113‐9299
ADELL SAUNDERS             16 BOUNTIFUL RD                                                                                      SOMERVILLE         AL     35670‐3804
ADELL SMITH                1109 N 127TH                                                                                         RUSSELL SPRINGS    KY     42642
ADELL WORTHY               3205 PROCTOR AVE                                                                                     FLINT              MI     48504‐2684
ADELL, JOSEPHINE E         9101 MOSSY ROCK CT                                                                                   BRISTOW            VA     20136‐1739
ADELL, LILLIAN             20447 YARBROUGH RD                                                                                   ATHENS             AL     35613‐4420
ADELL, SIBB L              20447 YARBROUGH RD                                                                                   ATHENS             AL     35613‐4420
ADELLA HARRIS              601 S EBER RD                                                                                        SWANTON            OH     43558‐9643
ADELLA JOHNSON             424 W 87TH ST                                                                                        KANSAS CITY        MO     64114‐2861
ADELLA KELLY               7030 EVERGREEN WOODS TRL APT B312                                                                    SPRING HILL        FL     34608‐1371

ADELLA MANIAK              1316 COUTANT ST                                                                                      FLUSHING          MI      48433‐1819
ADELLA SENZIG              PO BOX 62                                                                                            MARLBORO          NJ      07746‐0062
ADELLA WEBSTER             18281 INDIANA ST                                                                                     DETROIT           MI      48221‐2023
ADELLE ROSA                760 SCOTT DR                                                                                         HIGHLAND          MI      48356‐2950
ADELLE SMITH               1412 LOCUST ST                                                                                       ANDERSON          IN      46016‐3439
ADELLE TANNER              21120 N VINE AVE                                                                                     EUCLID            OH      44119‐2438
ADELLE WADE                1200 VICTORY CT                                                                                      ANDERSON          IN      46016‐2834
ADELMAN, DANE P            7930 NEWT PATTERSON CT                                                                               MANSFIELD         TX      76063‐6187
ADELMAN, EDWARD J          12 CHARLES RD                                                                                        NEW CARLISLE      OH      45344‐9172
ADELMAN, GEORGE J          4966 TALLMADGE RD                                                                                    ROOTSTOWN         OH      44272‐9714
ADELMAN, JAMES W           2553 RANDOLPH RD                                                                                     MOGADORE          OH      44260‐9449
ADELMAN, STEPHEN F         PO BOX 7741                                                                                          NEWARK            DE      19714‐7741
ADELMAN, WILLIAM E         1521 GYPSY LN APT A                                                                                  LAKE MILTON       OH      44429‐9727
ADELMAN, WILLIAM F         5019 NEW MILFORD RD                                                                                  RAVENNA           OH      44266‐7905
ADELMAN, WILLIAM J         1012 PIPER RD                                                                                        WILMINGTON        DE      19803‐3327
ADELMANN, JOSEPH B         16507 MIDDLEBELT RD                                                                                  LIVONIA           MI      48154‐3347
ADELORE LAHAIE             11329 PACKARD AVE                                                                                    WARREN            MI      48089‐2535
ADELPHI UNIVERSITY         STUDENT FINANCIAL SERVICES                                                                           GARDEN CITY       NY      11530
ADELPHIA                   PO BOX 8086                                                                                          FREDERICKSBURG    VA      22404‐8086
ADELPHIA KILLIAN           16 LEXINGTON ST                                                                                      BRISTOL           CT      06010‐3647
ADELSON, MICHAEL E         4657 MCDONALD CT                                                                                     BRIGHTON          MI      48116‐4721
ADELSON,MICHAEL E          733 TROMBLEY                                                                                         BRIGHTON          MI      48116
ADELSTEIN SAM & CO LTD     PO BOX 21120                                                              ST CATHARINES ON L2M 7X2
                                                                                                     CANADA
ADELWERTH, BARBARA J       42 EASTPOND LN                                                                                       EASTPORT          NY      11941‐1303
ADELYN BURROUGHS           5001 RIDGEDALE PKWY APT 317                                                                          RICHMOND          VA      23234‐6938
ADELYN MILLS               1960 CHELTENHAM PLACE                                                                                HOFFMAN EST       IL      60169‐2406
ADELYNA STUBBS             735 AMBERWOOD ST                                                                                     AUBURN HILLS      MI      48326‐1135
ADELYNE ARSENEAU           PO BOX 213                                                                                           MIO               MI      48647‐0213
ADEMSKI RAYMOND (495830)   ANGELOS PETER G LAW OFFICE          1300 N MARKET ST STE 212                                         WILMINGTON        DE      19801‐1813
ADEMSKI, RAYMOND           C/O PETER G ANGELOS LAW OFFICE      1300 N MARKET ST STE 212                                         WILMINGTON        DE      19801‐1813
ADEMSKI, RAYMOND F         408 MILMAR RD                                                                                        WILMINGTON        DE      19804‐1116
ADEMSKI, RAYMOND FRANCIS   408 MILMAR RD                                                                                        WILMINGTON        DE      19804‐1116
ADEMU‐JOHN, WILLIAMSON A   3032 HANEY RD                                                                                        DAYTON            OH      45405‐2011
ADEN BRUGGER               8052 E EBOLA AVE                                                                                     MESA              AZ      85208‐4630
ADEN WILLIS                1421 BRAMBLE WAY                                                                                     ANDERSON          IN      46011‐2832
ADEN, BETTY J              28545 BLANCHARD RD RT 6                                                                              DEFIANCE          OH      43512‐8082
ADEN, CAROL A              3701 KELLING ST                                                                                      DAVENPORT         IA      52806
ADEN, DEBORAH J            847 DEERWOOD DR                                                                                      DEFIANCE          OH      43512‐6742
ADEN, GEORGE T             307 WEST AVE                                                                                         ELYRIA            OH      44035‐5711
ADEN, JOHN P               22482 STATE ROUTE 637                                                                                OAKWOOD           OH      45873‐9043
ADEN, JOHN PHILLIP         22482 STATE ROUTE 637                                                                                OAKWOOD           OH      45873‐9043
ADEN, RUTH C               10033 64TH AVE N #12                                                                                 ST PETERSBURG     FL      33708
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Name                                Address1                        Address2                       Address3   Address4                    City            State   Zip
ADEN, SHANE A                       1020 JEFFERSON AVE                                                                                    DEFIANCE         OH     43512‐2806
ADENA HEALTH SYSTEM                 DEPT L 637                                                                                            COLUMBUS         OH     43260‐0001
ADENA HEALTH SYSTEM                 DEPT L‐637                                                                                            COLUMBUS         OH     43260‐0001
ADEPT CUSTOM MOLDERS                ATTN: CARL SCHOLZ               PO BOX 2677                                                           KOKOMO           IN     46904‐2677
ADEPT TECHNOLOGY INC
ADEPT TECHNOLOGY INC                150 ROSE ORCHARD WAY                                                                                  SAN JOSE        CA      95134‐1358
ADER WHITMAN                        584 ALPEANA ST                                                                                        AUBURN HILLS    MI      48326‐1120
ADER, EVA                           6 GENOVA CT                                                                                           FARMINGDALE     NY      11735‐5544
ADER, RIC                           3502 ARAPAHOE TRL                                                                                     BEAVERTON       MI      48612‐8853
ADER, TIMOTHY W                     947 LUTZKE RD                                                                                         SAGINAW         MI      48609‐6920
ADEREKE, A DOYIN                    1060 DES PLAINES AVE                                                                                  FOREST PARK     IL      60130
ADEREKE, GBOYEGA                    67 BUCKEYE CIR                                                                                        COLUMBUS        OH      43217‐1050
ADERELE, ADEDOTUN                   AMU LANRE O                     407 S DEARBORN ST STE 1550                                            CHICAGO         IL      60605‐1144
ADERELE, ADEDOTUN I                 1060 DES PLAINES AVE                                                                                  FOREST PARK     IL      60130
ADERELE, ADEDOYIN                   AMU LANRE O                     407 S DEARBORN ST STE 1550                                            CHICAGO         IL      60605‐1144
ADERELE, GBOYEGA                    AMU LANRE O                     407 S DEARBORN ST STE 1550                                            CHICAGO         IL      60605‐1144
ADERELE, JUMOKE                     AMU LANRE O                     407 S DEARBORN ST STE 1550                                            CHICAGO         IL      60605‐1144
ADERELE, JUMOKE                     67 BUCKEYE CIR                                                                                        COLUMBUS        OH      43217‐1050
ADERELE, KEJI                       67 BUCKEYE CIR                                                                                        COLUMBUS        OH      43217‐1050
ADERELE, KEJI                       AMU LANRE O                     407 S DEARBORN ST STE 1550                                            CHICAGO         IL      60605‐1144
ADERHOLD, THOMAS M                  530 76TH ST                                                                                           NIAGARA FALLS   NY      14304‐2322
ADERHOLDT, MARIE                    15469 COYLE                                                                                           DETROIT         MI      48227‐2621
ADERHOLT, GLENN E                   22042 CAIRO HOLLOW RD                                                                                 ATHENS          AL      35614‐4003
ADERHOLTZ, JUNE R                   5654 ALPINE AVE.                                                                                      INDIANAPOLIS    IN      46224‐2132
ADERMAN JR, LAVERN C                PO BOX 786                                                                                            TONAWANDA       NY      14151‐0786
ADERMAN RICHARD                     1140 E RIVERVIEW AVE APT 8C                                                                           NAPOLEON        OH      43545‐9710
ADERMAN, CAROL L                    16935 MOLINA PL                                                                                       PARKER          CO      80134‐9127
ADERMAN, KYLE A                     16935 MOLINA PL                                                                                       PARKER          CO      80134‐9127
ADERONKE ADETOBA                    11836 VALLEY CREEK NORTH        DRIVE                                                                 INDIANAPOLIS    IN      46229
ADERS, MARTHA E                     617 FISHER ST                                                                                         FRANKFORT       IN      46041‐3400
ADES PAUL R PLLC                    181 W MAIN ST STE C ARGYLE SQ                                                                         BABYLON         NY      11702
ADESA                               1 CONVAIR DR E                                                            ETOBICOKE ON M9W 6Z9
                                                                                                              CANADA
ADESA                                                               63 WESTERN AVE                                                        FRAMINGHAM      MA      01702
ADESA ‐ ATLANTA TRUCK AND EQUIPMENT 300 RAYMOND HILL RD                                                                                   NEWNAN          GA      30265‐1463
AUCTION
ADESA AUCTIONS                      11700 NEW KINGS RD                                                                                    JACKSONVILLE     FL     32219‐1713
ADESA AUCTIONS HALIFAX              300 BELL BLVD                                                             ENFIELD CANADA NS B2T 1K3
                                                                                                              CANADA
ADESA AUTO AUCTION                  1650 MAIN AVE E                                                                                       WEST FARGO      ND      58078‐2157
ADESA AUTO AUCTION                  310 E 96TH ST                                                                                         INDIANAPOLIS    IN      46240‐3702
ADESA BIRMINGHAM                    804 SOLLIE DR                                                                                         MOODY           AL      35004‐3016
ADESA BOSTON                        63 WESTERN AVE                                                                                        FRAMINGHAM      MA      01702‐7403
ADESA BUFFALO                       12200 MAIN RD                                                                                         AKRON           NY      14001‐9306
ADESA BUFFALO AUTO AUCTION          ATTN SALLY DOBRA                12200 MAIN RD                                                         AKRON           NY      14001‐9306
ADESA CORPORATION                   1800 GATEWAY DR                                                                                       GRIMES          IA      50111‐6601
ADESA CORPORATION                   1530 E MCKINLEY AVE                                                                                   DES MOINES      IA      50320‐1663
ADESA CORPORATION                   13085 HAMILTON CROSSING BLVD                                                                          CARMEL          IN      46032
ADESA CORPORATION AUCTIONS          ATTN: CHIEF OPERATING OFFICER   13085 HAMILTON CROSSING BLVD                                          CARMEL          IN      46032‐1481
                                                                    STE 500
ADESA CORPORATION AUCTIONS
ADESA FARGO                         1650 MAIN AVE E                                                                                       WEST FARGO      ND      58078‐2157
ADESA GOLDEN GATE                   18501 STANFORD RD                                                                                     TRACY           CA      95377‐9708
ADESA GOLDEN GATE AUTO AUCTION      18501 STANFORD RD                                                                                     TRACY           CA      95377‐9708
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Name                              Address1                             Address2                        Address3   Address4                   City                State   Zip
ADESA INC                         ATTN CORRINE AMRHEIN                 13085 HAMILTON CROSSING BLVD                                          CARMEL               IN     46032
ADESA INDIANAPOLIS                2950 E MAIN ST                                                                                             PLAINFIELD           IN     46168‐2723
ADESA JACKSONVILLE                11700 NEW KINGS RD                                                                                         JACKSONVILLE         FL     32219‐1713
ADESA KANSAS CITY                 15511 ADESA DR                                                                                             BELTON               MO     64012‐7879
ADESA KANSAS CITY                 15511 ADESA DRIVE                                                                                          BELTON               MO     64012‐7879
ADESA LITTLE ROCK                 8700 HIGHWAY 70                                                                                            NORTH LITTLE ROCK    AR     72117‐9567

ADESA LONG ISLAND                 425 COUNTY ROAD 101                                                                                        YAPHANK              NY     11980‐9640
ADESA MEMPHIS                     5400 GETWELL AT HOLMES RD                                                                                  MEMPHIS              TN     38118
ADESA MEMPHIS                     5400 GETWELL RD                                                                                            MEMPHIS              TN     38118‐7708
ADESA MEMPHIS                     ATTN: CORPORATE OFFICER/AUTHORIZED   5400 GETWELL AT HOLMES RD                                             MEMPHIS              TN     38118
                                  AGENT
ADESA MONTREAL                    300 ALBERT MONDOU                                                               ST ‐ EUSTACHE QC J7R 7A7
                                                                                                                  CANADA
ADESA NEW JERSEY                  200 N MAIN ST                                                                                              MANVILLE             NJ     08835‐1357
ADESA ORLANDO/SANFORD             2501 ADESA DRIVE                                                                                           SANFORD              FL     32773
ADESA OTTAWA                      1717 BURTON RD                                                                  VARS CANADA ON K0A 3H0
                                                                                                                  CANADA
ADESA PHOENIX                     ATTN: CORPORATE OFFICER/AUTHORIZED 400 N BECK AVE                                                          CHANDLER             AZ     85226‐1700
                                  AGENT
ADESA PHOENIX                     400 N BECK AVE                                                                                             CHANDLER            AZ      85226‐1700
ADESA SEATTLE                     621 37TH ST NW                                                                                             AUBURN              WA      98002
ADESA SEATTLE                     621 37TH N.W.                                                                                              AUBURN              WA      98002
ADESA SEATTLE                     621 37TH N W                                                                                               AUBURN              WA      98002
ADESA SEATTLE                     621 37TH NW                                                                                                AUBURN              WA      98002
ADESA SEATTLE                     621 37TH STREET NW                                                                                         AUBURN              WA      98002
ADESA SHREVEPORT                  7666 HIGHWAY 80 W                                                                                          SHREVEPORT          LA      71119
ADESA SYRACUSE                    ATTN: CORPORATE OFFICER/AUTHORIZED 5930 STATE ROUTE 31                                                     CICERO              NY      13039‐8236
                                  AGENT
ADESA, INC                        ATTN: EXECTIVE SALES DIRECTOR‐GENERAL 13085 HAMILTON CROSSING BLVD                                         CARMEL               IN     46032‐1481
                                  MOTORS                                STE 500
ADESA, INC.                       ATTN: EXECTIVE SALES DIRECTOR‐GENERAL 13085 HAMILTON CROSSING BLVD                                         CARMEL               IN     46032‐1481
                                  MOTORS                                STE 500
ADESA, INC.                       ATTN: EXECUTIVE SALES DIRECTOR‐       13085 HAMILTON CROSSING BLVD                                         CARMEL               IN     46032‐1481
                                  GENERAL MOTORS                        STE 500
ADESA‐BOSTON                      63 WESTERN AVE                                                                                             FRAMINGHAM          MA      01702‐7403
ADESA‐BUFFALO                     12200 MAIN RD                                                                                              AKRON               NY      14001‐9306
ADESA‐CHARLOTTE                   11600 FRUEHAUF DR                                                                                          CHARLOTTE           NC      28273‐6506
ADESA‐NEWARK                      200 N MAIN ST                                                                                              MANVILLE            NJ      08835‐1357
ADESCO OF NORTH AMERICA           U S CORP                              PO BOX 455                                                           TAYLOR              MI      48180‐0455
ADESCO OF NORTH AMERICA LTD       5100 URE ST                                                                     OLDCASTLE CANADA ON N0R
                                                                                                                  1L0 CANADA
ADESCO OF NORTH AMERICA US COR    20201 NORTHLINE RD                   PO BOX 455                                                            TAYLOR              MI      48180‐4786
ADESCO OF NORTH AMERICA US CORP   20201 NORTHLINE RD                   PO BOX 455                                                            TAYLOR              MI      48180‐4786
ADESE HILL                        2255 ADAMS AVE                                                                                             NORWOOD             OH      45212‐3232
ADETOBA, ADERONKE O               11836 VALLEY CREEK NORTH             DRIVE                                                                 INDIANAPOLIS        IN      46229
ADETUNJI ADIGUN                   6105 DETROIT ST                                                                                            MOUNT MORRIS        MI      48458‐2751
ADETUNJI D ADIGUN                 6105 DETROIT ST                                                                                            MOUNT MORRIS        MI      48458‐2751
ADEYEYE OLUREMI                   208 HICKERY TRAIL                                                                                          RIVERDALE           GA      30274
ADF ASDF                          ASDF                                 ASDF                            ASDF
ADFERO GROUP                      WINNING IN A WEB WORLD               1666 K ST NW                    STE 250                               WASHINGTON           DC     20006‐1259
ADGALANIS, PETER A                10301 LAKE SEBAGO DR                                                                                       FORT WAYNE           IN     46804‐6920
ADGATE, ADELINE C                 8570 SWAN AVE                                                                                              NEWAYGO              MI     49337‐9216
ADGATE, CRAIG G                   56 VOSPER ST # B136                                                                                        SARANAC              MI     48881
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Name                                   Address1                          Address2                 Address3     Address4                 City               State   Zip
ADGATE, JOHN H                         5100 CALLA AVE NW                                                                                WARREN              OH     44483‐1220
ADGATE, LAURI                          460 ROSEWAE AVENUE                                                                               CORTLAND            OH     44410‐1308
ADGATE, ROBERT R                       11030 W M 179 HWY                                                                                MIDDLEVILLE         MI     49333‐8434
ADGATE, RODNEY G                       1979 W RIVERSIDE DR                                                                              IONIA               MI     48846‐9408
ADGATE, SALLY                          6802 BEECHWOOD DR                                                                                SARANAC             MI     48881‐9667
ADGATE, SUSAN E                        5100 CALLA AVE NW                                                                                WARREN              OH     44483‐1220
ADGER JR, ELLISON                      10465 DIXON RD                                                                                   BELCHER             LA     71004‐8701
ADGER, CALVIN                          2514 SPRUCE DR                                                                                   BOSSIER CITY        LA     71111‐5133
ADGER, LEO                             2675 TREMAINSVILLE RD APT 201                                                                    TOLEDO              OH     43613‐5311
ADGER, LOIS J                          1642 DR MARTIN LUTHER KING DR                                                                    SHREVEPORT          LA     71107‐5016
ADGER, RITA P                          PO BOX 9492                                                                                      YOUNGSTOWN          OH     44513‐0492
ADGER, ROBERT L                        1412 S LINDENWOOD DR                                                                             OLATHE              KS     66062‐3214
ADGERS, BETTY H                        9902 MARINA CT                                                                                   FT WASHINGTON       MD     20744‐6920
ADGIE LUCAS                            547 PARIS AVE SE                                                                                 GRAND RAPIDS        MI     49503‐5403
ADHARAPURAPU, RATNASRI K               835 W WHITTEN ST                                                                                 CHANDLER            AZ     85225‐6418
ADHERENT LABORATORIES INC              3804 DUNLAP ST N                                                                                 SAINT PAUL          MN     55112‐6933
ADHERENT LABORATORIES, INC.            ATTN: LEGAL DEPARTMENT            3804 DUNLAP ST N                                               SAINT PAUL          MN     55112‐6933
ADHLAKHA, KISHORE L                    12627 LIMBERLOST DR                                                                              CARMEL              IN     46033‐9788
ADHLAKHA, KISHORE LAL                  12627 LIMBERLOST DR                                                                              CARMEL              IN     46033‐9788
ADI                                    ATTN: GENERAL COUNSEL             263 OLD COUNTRY RD                                             MELVILLE            NY     11747‐2712
ADI OF NEW YORK
ADI OF THE SOUTHEAST LLC               111 NEWLAND RD                                                                                   COLUMBIA            SC     29229‐8350
ADIDAS                                 ATTN LAUREN ANDERSON              5055 N GREELEY AVE                                             PORTLAND            OR     97217‐3524
ADIE J POWELL                          726 E PARKWAY AVE                                                                                FLINT               MI     48505‐2962
ADIE POWELL                            726 E PARKWAY AVE                                                                                FLINT               MI     48505‐2962
ADIE POWELL JR                         726 E PARKWAY AVE                                                                                FLINT               MI     48505‐2962
ADIE SIMPSON                           16910 BULL RUN LN                                                                                NORTH FORT MYERS    FL     33917‐2633

ADIGUN, ADETUNJI D                     6105 DETROIT ST                                                                                  MOUNT MORRIS        MI     48458‐2751
ADIGUN, AJIBADE O                      PO BOX 262                                                                                       FLINT               MI     48501‐0262
ADIJUN ADEGUNJI                        6105 DETROIT ST                                                                                  MOUNT MORRIS        MI     48458‐2751
ADIKARI, SISIRA D                      3875 TULIP CRT                                                          WINDSOR ON CANADA N9E‐
                                                                                                               4S8
ADIL MISTRY                            28 THE CROSSWAY                                                                                  SCARSDALE          NY      10583
ADIL, QUADIR S                         2216 TUDOR CASTLE WAY                                                                            DECATUR            GA      30035‐2167
ADIL, QUADIR SHAMSID‐DIN               2216 TUDOR CASTLE WAY                                                                            DECATUR            GA      30035‐2167
ADILETTO JOHN S (336261)               PAUL REICH & MYERS P.C.           1608 WALNUT ST STE 500                                         PHILADELPHIA       PA      19103‐5446
ADILETTO, JOHN S                       PAUL REICH & MYERS P.C.           1608 WALNUT ST STE 500                                         PHILADELPHIA       PA      19103‐5446
ADILSON VAS                            526 HOLLIS ST                                                                                    FRAMINGHAM         MA      01702‐8645
ADINA H. ROSENBAUM, ALLISON M. ZIEVE   PUBLIC CITIZEN LITIGATION GROUP   1600 20TH STREET NW                                            WASHINGTON         DC      20009

ADINA R WHITT                          87 W ALKALINE SPRINGS RD                                                                         VANDALIA           OH      45377‐1870
ADINAN JISHI                           6615 PINEHURST ST                                                                                DEARBORN           MI      48126‐1983
ADINE MOORE                            19521 ALBANY AVE                                                                                 SOUTHFIELD         MI      48075‐3920
ADINE SUGGS                            PO BOX 13211                                                                                     FLINT              MI      48501‐3211
ADINOLFE, JOSEPH J                     2782 COOMER RD                                                                                   NEWFANE            NY      14108‐9632
ADIRONDACK CHEVROLET BUICK PONTIAC     7504 US ROUTE 9 S                                                                                ELIZABETHTOWN      NY      12932

ADIRONDACK CHEVROLET BUICK PONTIAC     GEORGE HUTTIG                     7504 US ROUTE 9 S                                              ELIZABETHTOWN       NY     12932
OLDSMOBILE, INC.
ADIRONDACK CHEVROLET BUICK PONTIAC     7504 US ROUTE 9 S                                                                                ELIZABETHTOWN       NY     12932
OLDSMOBILE, INC.
ADIRONDACK MEDICAL C                   PO BOX 1380                                                                                      SARANAC LAKE        NY     12983‐7380
ADIRONDACK REGION CH                   9 FINNEY BLVD                                                                                    MALONE              NY     12953‐1038
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Name                                     Address1                        Address2                         Address3   Address4               City            State   Zip
ADIRONDACK/NEW YORK                      820 SECOND AVE.                                                                                    NEW YORK         NY     10017
ADIS GAY                                 6369 N 28TH ST                                                                                     RICHLAND         MI     49083‐9726
ADISLADO GARCIA                          512 BRIDGE AVE                                                                                     ALMA             MI     48801‐2077
ADISON OWENS                             25460 CATALINA ST                                                                                  SOUTHFIELD       MI     48075‐1791
ADISTRA CORP/PLYMTH                      PO BOX 1000                     101 UNION STREET                                                   PLYMOUTH         MI     48170‐0904
ADITI SHARMA
ADITYA MUKTIDOOT                         31625 NIXON ST                                                                                     BEVERLY HILLS    MI     48025‐4043
ADIX, LANI R                             4488 ASCOT CT                                                                                      OAKLAND TWP      MI     48306‐4719
ADJ HUX SERVICE INC                      16210 W 108TH ST                                                                                   LENEXA           KS     66219‐1346
ADJ‐HUX SERVICE INC                      16210 W 108TH ST                                                                                   LENEXA           KS     66219‐1346
ADJUSTMENT
ADJUVANT EXPOS                           1904 VINTAGE DR                                                                                    CORINTH          TX     76210‐2803
ADKINS ALLEN (439949)                    PIERCE, RAIMOND & COULTER       707 GRANT ST STE 2500                                              PITTSBURGH       PA     15219‐1945
ADKINS ALLEN (439949) ‐ ADKINS EVERETT   DALEY ROBERT                    707 GRANT ST STE 2500                                              PITTSBURGH       PA     15219‐1945

ADKINS ALLEN (439949) ‐ ANDERSON        DALEY ROBERT                     707 GRANT ST STE 2500                                              PITTSBURGH       PA     15219‐1945
WILLIAM H
ADKINS ALLEN (439949) ‐ BAILEY CHARLES DALEY ROBERT                      707 GRANT ST STE 2500                                              PITTSBURGH       PA     15219‐1945
W
ADKINS ALLEN (439949) ‐ BARTLETT EARL C DALEY ROBERT                     707 GRANT ST STE 2500                                              PITTSBURGH       PA     15219‐1945

ADKINS ALLEN (439949) ‐ BEATTY           DALEY ROBERT                    707 GRANT ST STE 2500                                              PITTSBURGH       PA     15219‐1945
GREGORY P
ADKINS ALLEN (439949) ‐ BOOTH CHARLES    DALEY ROBERT                    707 GRANT ST STE 2500                                              PITTSBURGH       PA     15219‐1945
K
ADKINS ALLEN (439949) ‐ BRADSHAW         DALEY ROBERT                    707 GRANT ST STE 2500                                              PITTSBURGH       PA     15219‐1945
RICHARD A
ADKINS ALLEN (439949) ‐ BRITTON JAMES    DALEY ROBERT                    707 GRANT ST STE 2500                                              PITTSBURGH       PA     15219‐1945
W
ADKINS ALLEN (439949) ‐ BROWN LANNIE     DALEY ROBERT                    707 GRANT ST STE 2500                                              PITTSBURGH       PA     15219‐1945

ADKINS ALLEN (439949) ‐ CASERTA          DALEY ROBERT                    707 GRANT ST STE 2500                                              PITTSBURGH       PA     15219‐1945
ANTHONY D
ADKINS ALLEN (439949) ‐ EDMOND JAMES     DALEY ROBERT                    707 GRANT ST STE 2500                                              PITTSBURGH       PA     15219‐1945
A
ADKINS ALLEN (439949) ‐ FOUTZ CHARLES    DALEY ROBERT                    707 GRANT ST STE 2500                                              PITTSBURGH       PA     15219‐1945
W
ADKINS ALLEN (439949) ‐ MAY DONALD       DALEY ROBERT                    707 GRANT ST STE 2500                                              PITTSBURGH       PA     15219‐1945

ADKINS ALLEN (439949) ‐ REED BOBBY G     DALEY ROBERT                    707 GRANT ST STE 2500                                              PITTSBURGH       PA     15219‐1945

ADKINS ALLEN (439949) ‐ SKIDMORE DON     DALEY ROBERT                    707 GRANT ST STE 2500                                              PITTSBURGH       PA     15219‐1945
B
ADKINS ALLEN (439949) ‐ VON NOSTITZ      DALEY ROBERT                    707 GRANT ST STE 2500                                              PITTSBURGH       PA     15219‐1945
KARL ALLEN (ESTATE OF)
ADKINS ARCHIE L (428388)                 GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                        NORFOLK          VA     23510
                                                                         STREET, SUITE 600
ADKINS AVERY (442900)                    BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD , BEVAN                                      NORTHFIELD      OH      44067
                                                                         PROFESSIONAL BLDG
ADKINS BOBBY G (406025)                  SUTTER & ENSLEIN                1598 KANAWHA BLVD EAST , SUITE                                     CHARLESTON      WV      25311
ADKINS BUDDIE                            1109 NE 24TH CT                                                                                    ANKENY          IA      50021
ADKINS BUSTER M (349203)                 GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                        NORFOLK         VA      23510
                                                                         STREET, SUITE 600
ADKINS CARLOS                            3475 VINTAGE WOODS DR                                                                              HILLIARD        OH      43026‐3850
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Name                                    Address1                      Address2                         Address3   Address4               City         State   Zip
ADKINS CLARENCE EARL (415853)           CALWELL & MCCORMICK           PO BOX 113                                                         CHARLESTON    WV     25321‐0113
ADKINS CLAUDE C (314946)                SUTTER & ENSLEIN              1598 KANAWHA BLVD EAST , SUITE                                     CHARLESTON    WV     25311
ADKINS CLAUDE C (314946) ‐ HAZLETT      SUTTER & ENSLEIN              1598 KANAWHA BLVD EAST , SUITE                                     CHARLESTON    WV     25311
RONALD                                                                200
ADKINS CLAUDE C (314946) ‐ HIGHLEY      SUTTER & ENSLEIN              1598 KANAWHA BLVD EAST , SUITE                                     CHARLESTON   WV      25311
JOHN                                                                  200
ADKINS CLAUDE C (314946) ‐ LOYER        SUTTER & ENSLEIN              1598 KANAWHA BLVD EAST , SUITE                                     CHARLESTON   WV      25311
KENNETH                                                               200
ADKINS CLETIS (442902)                  BEVAN & ASSOCIATES            10360 NORTHFIELD ROAD , BEVAN                                      NORTHFIELD   OH      44067
                                                                      PROFESSIONAL BLDG
ADKINS CLYDE E (345791)                 GLASSER AND GLASSER           CROWN CENTER, 580 EAST MAIN                                        NORFOLK       VA     23510
                                                                      STREET, SUITE 600
ADKINS DAVID M (499166)                 MCKENNA & CHIDO               436 BOULEVARD OF THE ALLIES ‐                                      PITTSBURGH    PA     15219
                                                                      SUITE 500
ADKINS DAVID M (499166) ‐ ADKINS        MCKENNA & CHIDO               436 BOULEVARD OF THE ALLIES ‐                                      PITTSBURGH    PA     15219
ROGER L                                                               SUITE 500
ADKINS DAVID M (499166) ‐ ADKINSON      MCKENNA & CHIDO               436 BOULEVARD OF THE ALLIES ‐                                      PITTSBURGH    PA     15219
DONALD M                                                              SUITE 500
ADKINS DAVID M (499166) ‐ ALLEN JOE E   MCKENNA & CHIDO               436 BOULEVARD OF THE ALLIES ‐                                      PITTSBURGH    PA     15219
                                                                      SUITE 500
ADKINS DAVID M (499166) ‐ ANDERSON      MCKENNA & CHIDO               436 BOULEVARD OF THE ALLIES ‐                                      PITTSBURGH    PA     15219
BILLY RAY                                                             SUITE 500
ADKINS DAVID M (499166) ‐ AUREDNIK      MCKENNA & CHIDO               436 BOULEVARD OF THE ALLIES ‐                                      PITTSBURGH    PA     15219
JAMES L                                                               SUITE 500
ADKINS DAVID M (499166) ‐ BARKER PAUL   MCKENNA & CHIDO               436 BOULEVARD OF THE ALLIES ‐                                      PITTSBURGH    PA     15219
E                                                                     SUITE 500
ADKINS DAVID M (499166) ‐ BARNETT       MCKENNA & CHIDO               436 BOULEVARD OF THE ALLIES ‐                                      PITTSBURGH    PA     15219
RONALD E                                                              SUITE 500
ADKINS DAVID M (499166) ‐ BIRD SR       MCKENNA & CHIDO               436 BOULEVARD OF THE ALLIES ‐                                      PITTSBURGH    PA     15219
ELMER R                                                               SUITE 500
ADKINS DAVID M (499166) ‐ BLACKBURN     MCKENNA & CHIDO               436 BOULEVARD OF THE ALLIES ‐                                      PITTSBURGH    PA     15219
JEFFREY L                                                             SUITE 500
ADKINS DAVID M (499166) ‐ BOGGESS SR    MCKENNA & CHIDO               436 BOULEVARD OF THE ALLIES ‐                                      PITTSBURGH    PA     15219
LARRY B                                                               SUITE 500
ADKINS DAVID M (499166) ‐ BOLLINGER     MCKENNA & CHIDO               436 BOULEVARD OF THE ALLIES ‐                                      PITTSBURGH    PA     15219
JAMES F                                                               SUITE 500
ADKINS DAVID M (499166) ‐ BROOKS        MCKENNA & CHIDO               436 BOULEVARD OF THE ALLIES ‐                                      PITTSBURGH    PA     15219
WILLIAM H                                                             SUITE 500
ADKINS DAVID M (499166) ‐ BRUMFIELD     MCKENNA & CHIDO               436 BOULEVARD OF THE ALLIES ‐                                      PITTSBURGH    PA     15219
CHARLES W                                                             SUITE 500
ADKINS DAVID M (499166) ‐ BUNCH         MCKENNA & CHIDO               436 BOULEVARD OF THE ALLIES ‐                                      PITTSBURGH    PA     15219
CHARLES V                                                             SUITE 500
ADKINS DAVID M (499166) ‐ BURDETTE      MCKENNA & CHIDO               436 BOULEVARD OF THE ALLIES ‐                                      PITTSBURGH    PA     15219
DONALD L                                                              SUITE 500
ADKINS DAVID M (499166) ‐ BURLENSKI     MCKENNA & CHIDO               436 BOULEVARD OF THE ALLIES ‐                                      PITTSBURGH    PA     15219
DENNIS J                                                              SUITE 500
ADKINS DAVID M (499166) ‐ BURNS         MCKENNA & CHIDO               436 BOULEVARD OF THE ALLIES ‐                                      PITTSBURGH    PA     15219
ROBERT L                                                              SUITE 500
ADKINS DAVID M (499166) ‐ CALLISON      MCKENNA & CHIDO               436 BOULEVARD OF THE ALLIES ‐                                      PITTSBURGH    PA     15219
KENNETH E                                                             SUITE 500
ADKINS DAVID M (499166) ‐ CAPPARELLI    MCKENNA & CHIDO               436 BOULEVARD OF THE ALLIES ‐                                      PITTSBURGH    PA     15219
GAETANO M                                                             SUITE 500
ADKINS DAVID M (499166) ‐ CARPENTER     MCKENNA & CHIDO               436 BOULEVARD OF THE ALLIES ‐                                      PITTSBURGH    PA     15219
MINTER L                                                              SUITE 500
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Name                                     Address1                  Address2                        Address3   Address4               City         State Zip
ADKINS DAVID M (499166) ‐ CARTER LEE     MCKENNA & CHIDO           436 BOULEVARD OF THE ALLIES ‐                                     PITTSBURGH    PA 15219
                                                                   SUITE 500
ADKINS DAVID M (499166) ‐ CARTER       MCKENNA & CHIDO             436 BOULEVARD OF THE ALLIES ‐                                     PITTSBURGH   PA   15219
TOMMY                                                              SUITE 500
ADKINS DAVID M (499166) ‐ CASTO        MCKENNA & CHIDO             436 BOULEVARD OF THE ALLIES ‐                                     PITTSBURGH   PA   15219
ROBERT P                                                           SUITE 500
ADKINS DAVID M (499166) ‐ COBB SR      MCKENNA & CHIDO             436 BOULEVARD OF THE ALLIES ‐                                     PITTSBURGH   PA   15219
JAMES W                                                            SUITE 500
ADKINS DAVID M (499166) ‐ COONTZ       MCKENNA & CHIDO             436 BOULEVARD OF THE ALLIES ‐                                     PITTSBURGH   PA   15219
WILLIAM L                                                          SUITE 500
ADKINS DAVID M (499166) ‐ COTTRILL     MCKENNA & CHIDO             436 BOULEVARD OF THE ALLIES ‐                                     PITTSBURGH   PA   15219
DENNIS                                                             SUITE 500
ADKINS DAVID M (499166) ‐ CRAIG JOHN W MCKENNA & CHIDO             436 BOULEVARD OF THE ALLIES ‐                                     PITTSBURGH   PA   15219
                                                                   SUITE 500
ADKINS DAVID M (499166) ‐ CRAWFORD      MCKENNA & CHIDO            436 BOULEVARD OF THE ALLIES ‐                                     PITTSBURGH   PA   15219
THOMAS                                                             SUITE 500
ADKINS DAVID M (499166) ‐ CUNNINGHAM MCKENNA & CHIDO               436 BOULEVARD OF THE ALLIES ‐                                     PITTSBURGH   PA   15219
ROBERT                                                             SUITE 500
ADKINS DAVID M (499166) ‐ DASH          MCKENNA & CHIDO            436 BOULEVARD OF THE ALLIES ‐                                     PITTSBURGH   PA   15219
KENNETH E                                                          SUITE 500
ADKINS DAVID M (499166) ‐ DAVIS LARRY D MCKENNA & CHIDO            436 BOULEVARD OF THE ALLIES ‐                                     PITTSBURGH   PA   15219
                                                                   SUITE 500
ADKINS DAVID M (499166) ‐ DEATON         MCKENNA & CHIDO           436 BOULEVARD OF THE ALLIES ‐                                     PITTSBURGH   PA   15219
DOUGLAS N                                                          SUITE 500
ADKINS DAVID M (499166) ‐ DELONG         MCKENNA & CHIDO           436 BOULEVARD OF THE ALLIES ‐                                     PITTSBURGH   PA   15219
ANDREW                                                             SUITE 500
ADKINS DAVID M (499166) ‐ DOTSON         MCKENNA & CHIDO           436 BOULEVARD OF THE ALLIES ‐                                     PITTSBURGH   PA   15219
CURTIS W                                                           SUITE 500
ADKINS DAVID M (499166) ‐ DOTSON         MCKENNA & CHIDO           436 BOULEVARD OF THE ALLIES ‐                                     PITTSBURGH   PA   15219
LARRY G                                                            SUITE 500
ADKINS DAVID M (499166) ‐ DOUGLAS JR     MCKENNA & CHIDO           436 BOULEVARD OF THE ALLIES ‐                                     PITTSBURGH   PA   15219
JAMES A                                                            SUITE 500
ADKINS DAVID M (499166) ‐ DOUGLAS SR     MCKENNA & CHIDO           436 BOULEVARD OF THE ALLIES ‐                                     PITTSBURGH   PA   15219
JAMES A                                                            SUITE 500
ADKINS DAVID M (499166) ‐ DRUMMOND       MCKENNA & CHIDO           436 BOULEVARD OF THE ALLIES ‐                                     PITTSBURGH   PA   15219
ROGER A                                                            SUITE 500
ADKINS DAVID M (499166) ‐ ELKINS         MCKENNA & CHIDO           436 BOULEVARD OF THE ALLIES ‐                                     PITTSBURGH   PA   15219
DONALD                                                             SUITE 500
ADKINS DAVID M (499166) ‐ ELLIS OREN L   MCKENNA & CHIDO           436 BOULEVARD OF THE ALLIES ‐                                     PITTSBURGH   PA   15219
                                                                   SUITE 500
ADKINS DAVID M (499166) ‐ FARRA SR       MCKENNA & CHIDO           436 BOULEVARD OF THE ALLIES ‐                                     PITTSBURGH   PA   15219
CHARLES J                                                          SUITE 500
ADKINS DAVID M (499166) ‐ FERRELL JR     MCKENNA & CHIDO           436 BOULEVARD OF THE ALLIES ‐                                     PITTSBURGH   PA   15219
THOMAS B                                                           SUITE 500
ADKINS DAVID M (499166) ‐ FISHER JOHN    MCKENNA & CHIDO           436 BOULEVARD OF THE ALLIES ‐                                     PITTSBURGH   PA   15219
W                                                                  SUITE 500
ADKINS DAVID M (499166) ‐ FOWLER         MCKENNA & CHIDO           436 BOULEVARD OF THE ALLIES ‐                                     PITTSBURGH   PA   15219
HAROLD L                                                           SUITE 500
ADKINS DAVID M (499166) ‐ GAMBLE         MCKENNA & CHIDO           436 BOULEVARD OF THE ALLIES ‐                                     PITTSBURGH   PA   15219
WILLIAM C                                                          SUITE 500
ADKINS DAVID M (499166) ‐ GERMAN         MCKENNA & CHIDO           436 BOULEVARD OF THE ALLIES ‐                                     PITTSBURGH   PA   15219
ROBERT N                                                           SUITE 500
ADKINS DAVID M (499166) ‐ GIBSON         MCKENNA & CHIDO           436 BOULEVARD OF THE ALLIES ‐                                     PITTSBURGH   PA   15219
WILLIE LEE                                                         SUITE 500
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Name                                    Address1                  Address2                        Address3   Address4               City         State Zip
ADKINS DAVID M (499166) ‐ GILMAN        MCKENNA & CHIDO           436 BOULEVARD OF THE ALLIES ‐                                     PITTSBURGH    PA 15219
REATHER                                                           SUITE 500
ADKINS DAVID M (499166) ‐ GOOD          MCKENNA & CHIDO           436 BOULEVARD OF THE ALLIES ‐                                     PITTSBURGH   PA   15219
DELBERT                                                           SUITE 500
ADKINS DAVID M (499166) ‐ GORE WILLIE   MCKENNA & CHIDO           436 BOULEVARD OF THE ALLIES ‐                                     PITTSBURGH   PA   15219
                                                                  SUITE 500
ADKINS DAVID M (499166) ‐ HAGER        MCKENNA & CHIDO            436 BOULEVARD OF THE ALLIES ‐                                     PITTSBURGH   PA   15219
SAMUEL                                                            SUITE 500
ADKINS DAVID M (499166) ‐ HALL TERRY F MCKENNA & CHIDO            436 BOULEVARD OF THE ALLIES ‐                                     PITTSBURGH   PA   15219
                                                                  SUITE 500
ADKINS DAVID M (499166) ‐ HARMON       MCKENNA & CHIDO            436 BOULEVARD OF THE ALLIES ‐                                     PITTSBURGH   PA   15219
DEWEY R                                                           SUITE 500
ADKINS DAVID M (499166) ‐ HARVEY       MCKENNA & CHIDO            436 BOULEVARD OF THE ALLIES ‐                                     PITTSBURGH   PA   15219
EUGENE C                                                          SUITE 500
ADKINS DAVID M (499166) ‐ HAYES JOHN B MCKENNA & CHIDO            436 BOULEVARD OF THE ALLIES ‐                                     PITTSBURGH   PA   15219
                                                                  SUITE 500
ADKINS DAVID M (499166) ‐ HEADLEY ROY MCKENNA & CHIDO             436 BOULEVARD OF THE ALLIES ‐                                     PITTSBURGH   PA   15219
L                                                                 SUITE 500
ADKINS DAVID M (499166) ‐ HECK GEORGE MCKENNA & CHIDO             436 BOULEVARD OF THE ALLIES ‐                                     PITTSBURGH   PA   15219
E                                                                 SUITE 500
ADKINS DAVID M (499166) ‐ HICKS MARK A MCKENNA & CHIDO            436 BOULEVARD OF THE ALLIES ‐                                     PITTSBURGH   PA   15219
                                                                  SUITE 500
ADKINS DAVID M (499166) ‐ HIGGINS       MCKENNA & CHIDO           436 BOULEVARD OF THE ALLIES ‐                                     PITTSBURGH   PA   15219
RICHARD                                                           SUITE 500
ADKINS DAVID M (499166) ‐ JACKSON       MCKENNA & CHIDO           436 BOULEVARD OF THE ALLIES ‐                                     PITTSBURGH   PA   15219
LARRY D                                                           SUITE 500
ADKINS DAVID M (499166) ‐ JEFFRIES      MCKENNA & CHIDO           436 BOULEVARD OF THE ALLIES ‐                                     PITTSBURGH   PA   15219
DONALD R                                                          SUITE 500
ADKINS DAVID M (499166) ‐ JOHNSTON      MCKENNA & CHIDO           436 BOULEVARD OF THE ALLIES ‐                                     PITTSBURGH   PA   15219
DARRIN K                                                          SUITE 500
ADKINS DAVID M (499166) ‐ JONES ALLEN J MCKENNA & CHIDO           436 BOULEVARD OF THE ALLIES ‐                                     PITTSBURGH   PA   15219
                                                                  SUITE 500
ADKINS DAVID M (499166) ‐ JORDAN       MCKENNA & CHIDO            436 BOULEVARD OF THE ALLIES ‐                                     PITTSBURGH   PA   15219
RANDY LEE                                                         SUITE 500
ADKINS DAVID M (499166) ‐ JUSTICE      MCKENNA & CHIDO            436 BOULEVARD OF THE ALLIES ‐                                     PITTSBURGH   PA   15219
JUNIOR J                                                          SUITE 500
ADKINS DAVID M (499166) ‐ KEENER       MCKENNA & CHIDO            436 BOULEVARD OF THE ALLIES ‐                                     PITTSBURGH   PA   15219
CHARLES R                                                         SUITE 500
ADKINS DAVID M (499166) ‐ KELLEY       MCKENNA & CHIDO            436 BOULEVARD OF THE ALLIES ‐                                     PITTSBURGH   PA   15219
MICHAEL S                                                         SUITE 500
ADKINS DAVID M (499166) ‐ KEMPER       MCKENNA & CHIDO            436 BOULEVARD OF THE ALLIES ‐                                     PITTSBURGH   PA   15219
MARK A                                                            SUITE 500
ADKINS DAVID M (499166) ‐ KENESKE      MCKENNA & CHIDO            436 BOULEVARD OF THE ALLIES ‐                                     PITTSBURGH   PA   15219
STANLEY J                                                         SUITE 500
ADKINS DAVID M (499166) ‐ KIDD         MCKENNA & CHIDO            436 BOULEVARD OF THE ALLIES ‐                                     PITTSBURGH   PA   15219
MALCOLM R                                                         SUITE 500
ADKINS DAVID M (499166) ‐ KIMBLER PAUL MCKENNA & CHIDO            436 BOULEVARD OF THE ALLIES ‐                                     PITTSBURGH   PA   15219
D                                                                 SUITE 500
ADKINS DAVID M (499166) ‐ KITCHEN      MCKENNA & CHIDO            436 BOULEVARD OF THE ALLIES ‐                                     PITTSBURGH   PA   15219
CHARLES E                                                         SUITE 500
ADKINS DAVID M (499166) ‐ KNIERIM      MCKENNA & CHIDO            436 BOULEVARD OF THE ALLIES ‐                                     PITTSBURGH   PA   15219
WILLIAM J                                                         SUITE 500
ADKINS DAVID M (499166) ‐ LAMBERT      MCKENNA & CHIDO            436 BOULEVARD OF THE ALLIES ‐                                     PITTSBURGH   PA   15219
DONALD J                                                          SUITE 500
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Name                                   Address1                   Address2                        Address3   Address4               City         State Zip
ADKINS DAVID M (499166) ‐ MASSIE       MCKENNA & CHIDO            436 BOULEVARD OF THE ALLIES ‐                                     PITTSBURGH    PA 15219
KENNETH L                                                         SUITE 500
ADKINS DAVID M (499166) ‐ MCCARTNEY    MCKENNA & CHIDO            436 BOULEVARD OF THE ALLIES ‐                                     PITTSBURGH   PA   15219
HERSHEL                                                           SUITE 500
ADKINS DAVID M (499166) ‐ MCMILLION    MCKENNA & CHIDO            436 BOULEVARD OF THE ALLIES ‐                                     PITTSBURGH   PA   15219
DREXEL                                                            SUITE 500
ADKINS DAVID M (499166) ‐ MEADOWS      MCKENNA & CHIDO            436 BOULEVARD OF THE ALLIES ‐                                     PITTSBURGH   PA   15219
FRANKLIN                                                          SUITE 500
ADKINS DAVID M (499166) ‐ MITCHEM      MCKENNA & CHIDO            436 BOULEVARD OF THE ALLIES ‐                                     PITTSBURGH   PA   15219
JAMES L                                                           SUITE 500
ADKINS DAVID M (499166) ‐ MULLINS      MCKENNA & CHIDO            436 BOULEVARD OF THE ALLIES ‐                                     PITTSBURGH   PA   15219
CHARLES E                                                         SUITE 500
ADKINS DAVID M (499166) ‐ MUSSER J K   MCKENNA & CHIDO            436 BOULEVARD OF THE ALLIES ‐                                     PITTSBURGH   PA   15219
                                                                  SUITE 500
ADKINS DAVID M (499166) ‐ NAPIER       MCKENNA & CHIDO            436 BOULEVARD OF THE ALLIES ‐                                     PITTSBURGH   PA   15219
THOMAS L                                                          SUITE 500
ADKINS DAVID M (499166) ‐ NOVISKI      MCKENNA & CHIDO            436 BOULEVARD OF THE ALLIES ‐                                     PITTSBURGH   PA   15219
THOMAS L                                                          SUITE 500
ADKINS DAVID M (499166) ‐ NUTTER       MCKENNA & CHIDO            436 BOULEVARD OF THE ALLIES ‐                                     PITTSBURGH   PA   15219
RALPH E                                                           SUITE 500
ADKINS DAVID M (499166) ‐ OTTO DEAN    MCKENNA & CHIDO            436 BOULEVARD OF THE ALLIES ‐                                     PITTSBURGH   PA   15219
                                                                  SUITE 500
ADKINS DAVID M (499166) ‐ PAGE TROY    MCKENNA & CHIDO            436 BOULEVARD OF THE ALLIES ‐                                     PITTSBURGH   PA   15219
                                                                  SUITE 500
ADKINS DAVID M (499166) ‐ PAULEY RAY J MCKENNA & CHIDO            436 BOULEVARD OF THE ALLIES ‐                                     PITTSBURGH   PA   15219
                                                                  SUITE 500
ADKINS DAVID M (499166) ‐ PERSINGER    MCKENNA & CHIDO            436 BOULEVARD OF THE ALLIES ‐                                     PITTSBURGH   PA   15219
WILLIAM A                                                         SUITE 500
ADKINS DAVID M (499166) ‐ PLUMB        MCKENNA & CHIDO            436 BOULEVARD OF THE ALLIES ‐                                     PITTSBURGH   PA   15219
WALLACE D                                                         SUITE 500
ADKINS DAVID M (499166) ‐ PRUITT JAMES MCKENNA & CHIDO            436 BOULEVARD OF THE ALLIES ‐                                     PITTSBURGH   PA   15219
R                                                                 SUITE 500
ADKINS DAVID M (499166) ‐ RALLINS      MCKENNA & CHIDO            436 BOULEVARD OF THE ALLIES ‐                                     PITTSBURGH   PA   15219
WALTER J                                                          SUITE 500
ADKINS DAVID M (499166) ‐ RICHARDS     MCKENNA & CHIDO            436 BOULEVARD OF THE ALLIES ‐                                     PITTSBURGH   PA   15219
JERRY                                                             SUITE 500
ADKINS DAVID M (499166) ‐ RIFE GLENN A MCKENNA & CHIDO            436 BOULEVARD OF THE ALLIES ‐                                     PITTSBURGH   PA   15219
                                                                  SUITE 500
ADKINS DAVID M (499166) ‐ RIFE ROBERT L MCKENNA & CHIDO           436 BOULEVARD OF THE ALLIES ‐                                     PITTSBURGH   PA   15219
                                                                  SUITE 500
ADKINS DAVID M (499166) ‐ ROACH GARRY MCKENNA & CHIDO             436 BOULEVARD OF THE ALLIES ‐                                     PITTSBURGH   PA   15219
T                                                                 SUITE 500
ADKINS DAVID M (499166) ‐ ROARK KEVIN MCKENNA & CHIDO             436 BOULEVARD OF THE ALLIES ‐                                     PITTSBURGH   PA   15219
                                                                  SUITE 500
ADKINS DAVID M (499166) ‐ RUDOLPH      MCKENNA & CHIDO            436 BOULEVARD OF THE ALLIES ‐                                     PITTSBURGH   PA   15219
DALE                                                              SUITE 500
ADKINS DAVID M (499166) ‐ RUTLEDGE     MCKENNA & CHIDO            436 BOULEVARD OF THE ALLIES ‐                                     PITTSBURGH   PA   15219
MARK                                                              SUITE 500
ADKINS DAVID M (499166) ‐ SAMMONS      MCKENNA & CHIDO            436 BOULEVARD OF THE ALLIES ‐                                     PITTSBURGH   PA   15219
LOWELL D                                                          SUITE 500
ADKINS DAVID M (499166) ‐ SERGENT      MCKENNA & CHIDO            436 BOULEVARD OF THE ALLIES ‐                                     PITTSBURGH   PA   15219
CLATE                                                             SUITE 500
ADKINS DAVID M (499166) ‐ SHEPERD      MCKENNA & CHIDO            436 BOULEVARD OF THE ALLIES ‐                                     PITTSBURGH   PA   15219
STEPHEN B                                                         SUITE 500
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Name                                    Address1                   Address2                         Address3   Address4               City         State Zip
ADKINS DAVID M (499166) ‐ SIGMON        MCKENNA & CHIDO            436 BOULEVARD OF THE ALLIES ‐                                      PITTSBURGH    PA 15219
WAYNE P                                                            SUITE 500
ADKINS DAVID M (499166) ‐ SMITH LARRY J MCKENNA & CHIDO            436 BOULEVARD OF THE ALLIES ‐                                      PITTSBURGH   PA   15219
                                                                   SUITE 500
ADKINS DAVID M (499166) ‐ SMITH          MCKENNA & CHIDO           436 BOULEVARD OF THE ALLIES ‐                                      PITTSBURGH   PA   15219
RAYMOND D                                                          SUITE 500
ADKINS DAVID M (499166) ‐ SMITH          MCKENNA & CHIDO           436 BOULEVARD OF THE ALLIES ‐                                      PITTSBURGH   PA   15219
WILLIAM                                                            SUITE 500
ADKINS DAVID M (499166) ‐ SPEARS PAUL    MCKENNA & CHIDO           436 BOULEVARD OF THE ALLIES ‐                                      PITTSBURGH   PA   15219
                                                                   SUITE 500
ADKINS DAVID M (499166) ‐ SPROUSE        MCKENNA & CHIDO           436 BOULEVARD OF THE ALLIES ‐                                      PITTSBURGH   PA   15219
RONALD                                                             SUITE 500
ADKINS DAVID M (499166) ‐ SPURGEON       MCKENNA & CHIDO           436 BOULEVARD OF THE ALLIES ‐                                      PITTSBURGH   PA   15219
CECIL                                                              SUITE 500
ADKINS DAVID M (499166) ‐ STARCHER       MCKENNA & CHIDO           436 BOULEVARD OF THE ALLIES ‐                                      PITTSBURGH   PA   15219
ROY F                                                              SUITE 500
ADKINS DAVID M (499166) ‐ SUMMERS        MCKENNA & CHIDO           436 BOULEVARD OF THE ALLIES ‐                                      PITTSBURGH   PA   15219
FLOYD N                                                            SUITE 500
ADKINS DAVID M (499166) ‐ THOMAS         MCKENNA & CHIDO           436 BOULEVARD OF THE ALLIES ‐                                      PITTSBURGH   PA   15219
ARNOLD                                                             SUITE 500
ADKINS DAVID M (499166) ‐ THOMAS         MCKENNA & CHIDO           436 BOULEVARD OF THE ALLIES ‐                                      PITTSBURGH   PA   15219
LARRY J                                                            SUITE 500
ADKINS DAVID M (499166) ‐ THOMPSON       MCKENNA & CHIDO           436 BOULEVARD OF THE ALLIES ‐                                      PITTSBURGH   PA   15219
GARY R                                                             SUITE 500
ADKINS DAVID M (499166) ‐ TOPPINS        MCKENNA & CHIDO           436 BOULEVARD OF THE ALLIES ‐                                      PITTSBURGH   PA   15219
MICHAEL                                                            SUITE 500
ADKINS DAVID M (499166) ‐ UNDERWOOD      MCKENNA & CHIDO           436 BOULEVARD OF THE ALLIES ‐                                      PITTSBURGH   PA   15219
RICHARD D                                                          SUITE 500
ADKINS DAVID M (499166) ‐ VANHORN        MCKENNA & CHIDO           436 BOULEVARD OF THE ALLIES ‐                                      PITTSBURGH   PA   15219
HAROLD K                                                           SUITE 500
ADKINS DAVID M (499166) ‐ VEST JAMES K   MCKENNA & CHIDO           436 BOULEVARD OF THE ALLIES ‐                                      PITTSBURGH   PA   15219
                                                                   SUITE 500
ADKINS DAVID M (499166) ‐ VICKERS     MCKENNA & CHIDO              436 BOULEVARD OF THE ALLIES ‐                                      PITTSBURGH   PA   15219
KENNETH L                                                          SUITE 500
ADKINS DAVID M (499166) ‐ WAGNER      MCKENNA & CHIDO              436 BOULEVARD OF THE ALLIES ‐                                      PITTSBURGH   PA   15219
WILLIAM                                                            SUITE 500
ADKINS DAVID M (499166) ‐ WALBERT     MCKENNA & CHIDO              436 BOULEVARD OF THE ALLIES ‐                                      PITTSBURGH   PA   15219
JAMES E                                                            SUITE 500
ADKINS DAVID M (499166) ‐ WEESE DENNY MCKENNA & CHIDO              436 BOULEVARD OF THE ALLIES ‐                                      PITTSBURGH   PA   15219
P                                                                  SUITE 500
ADKINS DAVID M (499166) ‐ WIMMER      MCKENNA & CHIDO              436 BOULEVARD OF THE ALLIES ‐                                      PITTSBURGH   PA   15219
DENNIS                                                             SUITE 500
ADKINS DAVID M (499166) ‐ WITHROW     MCKENNA & CHIDO              436 BOULEVARD OF THE ALLIES ‐                                      PITTSBURGH   PA   15219
GARY E                                                             SUITE 500
ADKINS DAVID M (499166) ‐ WOOD        MCKENNA & CHIDO              436 BOULEVARD OF THE ALLIES ‐                                      PITTSBURGH   PA   15219
TELFORD A                                                          SUITE 500
ADKINS DAVID M (499166) ‐ WOODALL     MCKENNA & CHIDO              436 BOULEVARD OF THE ALLIES ‐                                      PITTSBURGH   PA   15219
LESTER M                                                           SUITE 500
ADKINS DAVID M (499166) ‐ WRIGHT      MCKENNA & CHIDO              436 BOULEVARD OF THE ALLIES ‐                                      PITTSBURGH   PA   15219
JACKSON                                                            SUITE 500
ADKINS DAVID M (506957)               MCKENNA & CHIDO              436 BOULEVARD OF THE ALLIES ‐                                      PITTSBURGH   PA   15219
                                                                   SUITE 500
ADKINS DENVER E (456359)                 SKAGGS JOHN H             405 CAPITOL STREET ‐ SUITE 607                                     CHARLESTON   WV   25301
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Name                                 Address1                         Address2                        Address3   Address4               City              State Zip
ADKINS EDDIE (457713)                BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                                     NORTHFIELD         OH 44067
                                                                      PROFESSIONAL BLDG
ADKINS ELTON                         13505 ORCHARD CT                                                                                   GREGORY           MI   48137‐9695
ADKINS ESTELL G (428389)             GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                       NORFOLK           VA   23510
                                                                      STREET, SUITE 600
ADKINS EZRA                          ADKINS, EZRA B                   PO BOX 2808                                                       HUNTINGTON        WV   25727‐2808
ADKINS FREDDY (ESTATE OF) (492928)   BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                                     NORTHFIELD        OH   44067
                                                                      PROFESSIONAL BLDG
ADKINS GLORIA (463208)               BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                                     NORTHFIELD        OH   44067
                                                                      PROFESSIONAL BLDG
ADKINS I I I, MARION                 637 N ADAMS ST                                                                                     KNIGHTSTOWN       IN   46148‐1007
ADKINS III, WILLARD C                6342 TROTWOOD AVE                                                                                  COLUMBIA          TN   38401‐7962
ADKINS JESSE                         1821 BLAKE ST STE 1A                                                                               DENVER            CO   80202‐1287
ADKINS JR, BOYD C                    8501 MILLICENT WAY APT 1034                                                                        SHREVEPORT        LA   71115‐2248
ADKINS JR, HUBERT L                  1023 VERA DR                                                                                       ALCOA             TN   37701‐1649
ADKINS JR, JOHN                      30425 7 MILE RD                                                                                    LIVONIA           MI   48152‐3313
ADKINS JR, RAYMOND                   1181 EASTVIEW RD NE                                                                                CONYERS           GA   30012‐4560
ADKINS JR, ROBERT H                  597 LOCKMOORE CT                                                                                   ROCHESTER HILLS   MI   48307‐4228
ADKINS JR, ROY B                     1635 W ALBAIN RD                                                                                   MONROE            MI   48161‐9520
ADKINS JR, ROY BARTON                1635 W ALBAIN RD                                                                                   MONROE            MI   48161‐9520
ADKINS JR, THOMAS L                  8205 JOES RD                                                                                       MANCELONA         MI   49659‐7948
ADKINS JR, WILLIAM I                 702 BROOKFIELD ROAD                                                                                KETTERING         OH   45429‐3324
ADKINS JUNE                          8341 MARLOWE ST                                                                                    DETROIT           MI   48228‐2490
ADKINS LEONA (651463)                MAZUR & KITTEL PLLC              1490 FIRST NATIONAL BUILDING                                      DETROIT           MI   48226
ADKINS LEONARD (442906)              BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                                     NORTHFIELD        OH   44067
                                                                      PROFESSIONAL BLDG
ADKINS LESLIE W                      ADKINS, LESLIE W                 280 SOUTH 400 WEST                                                SALT LAKE CITY    UT   84101
ADKINS LESLIE W                      UNION PACIFIC RAILROAD COMPANY   280 SOUTH 400 WEST                                                SALT LAKE CITY    UT   84101
ADKINS MACHINE/LOUIS                 1301 PORTLAND AVE                                                                                  LOUISVILLE        KY   40203‐1464
ADKINS ROBERT (442909)               BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                                     NORTHFIELD        OH   44067
                                                                      PROFESSIONAL BLDG
ADKINS ROGER L                       THE LIPMAN LAW FIRM              5915 PONCE DE LEON BLVD         SUITE 44                          CORAL GABLES      FL   33146
ADKINS ROGER L                       C/O MCKENNA & CHIODO             436 BOULEVARD OF THE ALLIES ‐                                     PITTSBURGH        PA   15219
                                                                      SUITE 500
ADKINS ROGER L (506958)              MCKENNA & CHIDO                  436 BOULEVARD OF THE ALLIES ‐                                     PITTSBURGH        PA   15219
                                                                      SUITE 500
ADKINS RONALD (ESTATE OF) (493386)   BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                                     NORTHFIELD        OH   44067
                                                                      PROFESSIONAL BLDG
ADKINS SHANE                         2650 BELL RD S                                                                                     IOWA PARK         TX   76367
ADKINS SR, DONALD E                  655 OAKLEAF DR                                                                                     DAYTON            OH   45408‐1539
ADKINS TEDDY S (413501)              GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                       NORFOLK           VA   23510
                                                                      STREET, SUITE 600
ADKINS THOMAS                        ADKINS, THOMAS                   4030 WAKE FOREST RD STE 300                                       RALEIGH           NC   27609‐6800
ADKINS TOM                           34341 SUMMERLYN DR APT 312                                                                         LEWES             DE   19958‐4793
ADKINS TRISHA L                      ADKINS, TRISHA L                 321 EAST MAIN STREET P.O BOX                                      CAMPBELLSVILLE    KY   42719
ADKINS TRISHA L                      KENTUCKY FARM BUREAU MUTUAL      321 EAST MAIN STREET P.O BOX                                      CAMPBELLSVILLE    KY   42719
                                     INSURANCE COMPANY                1155
ADKINS, ALICE MARIE                  500 OLD US 70 W                                                                                    OLD FORT          NC   28762‐7623
ADKINS, ALICE MARIE                  500 OLD US 70                                                                                      OLD FORT          NC   28762‐7623
ADKINS, ALLEN                        PIERCE, RAIMOND & COULTER        707 GRANT ST STE 2500                                             PITTSBURGH        PA   15219‐1945
ADKINS, ALLEN B                      6031 BLUERIBBIN ROAD                                                                               HILLSBORO         OH   45133
ADKINS, ALLEN F                      909 QUINN RD                                                                                       W ALEXANDRIA      OH   45381‐8347
ADKINS, ALVIN                        6705 GILLS GATE DR                                                                                 CHESTERFIELD      VA   23832‐6000
ADKINS, ANNETTE                      4661 WILLIAMS ST                                                                                   WAYNE             MI   48184‐2059
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Name                  Address1                        Address2                        Address3   Address4               City              State   Zip
ADKINS, ANNETTE       4661 WILLIAMS                                                                                     WAYNE              MI     48184‐2059
ADKINS, ANTHONY H     3456 ANNABELLE DR                                                                                 KETTERING          OH     45429‐4206
ADKINS, APRIL L       905 FULS RD                                                                                       NEW LEBANON        OH     45345‐9757
ADKINS, ARCHIE        GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                       NORFOLK            VA     23510‐2212
                                                      STREET, SUITE 600
ADKINS, ARETTA J      30 W HOPKINS AVE                                                                                  PONTIAC           MI      48340‐1816
ADKINS, ARMA J        7740 RUSTIC WOODS DR.                                                                             HUBER HEIGHTS     OH      45424‐1948
ADKINS, ARNOLD E      37242 JEROME DR                                                                                   STERLING HTS      MI      48312‐2030
ADKINS, ARNOLD W      20341 CEDAR ST                                                                                    ST CLR SHORES     MI      48081‐1706
ADKINS, ARVONIA M     5105 VAN SLYKE RD                                                                                 FLINT             MI      48507‐3957
ADKINS, AUDREY F      211 HEATHER LANE                                                                                  FAIRBORN          OH      45324
ADKINS, AVERY         BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD, BEVAN                                      NORTHFIELD        OH      44067
                                                      PROFESSIONAL BLDG
ADKINS, BARBARA J     2633 GRANDVIEW BOULEVARD                                                                          WATERFORD         MI      48329‐2915
ADKINS, BARBARA R     3718 COMANCHE AVE                                                                                 FLINT             MI      48507‐4305
ADKINS, BARRY E       6404 WILSON DR                                                                                    WATERFORD         MI      48329‐3175
ADKINS, BENJAMIN A    504 SILVER CREEK DR                                                                               HARKER HEIGHTS    TX      76548‐6077
ADKINS, BETTY A       908 E CHOLLA CT                                                                                   PEARCE            AZ      85625‐4034
ADKINS, BILLY R       130 RIDGE HAVEN LN                                                                                PORTLAND          TN      37148‐4500
ADKINS, BOBBY D       PO BOX 74                                                                                         ELLSWORTH         OH      44416‐0074
ADKINS, BOBBY G       SUTTER & ENSLEIN                1598 KANAWHA BLVD EAST, SUITE                                     CHARLESTON        WV      25311
ADKINS, BOBBY W       PO BOX 342                                                                                        CHASE             MD      21027‐0342
ADKINS, BOONIE R      16771 ANDERSON DR                                                                                 SOUTHGATE         MI      48195‐3916
ADKINS, BRENDA J      711 E WALNUT ST                                                                                   KOKOMO            IN      46901‐4805
ADKINS, BRENDA J      12230 CORDOVA DR                                                                                  MEDWAY            OH      45341‐9634
ADKINS, BRIAN D       104 EAST MONTICELLO STREET                                                                        BROOKHAVEN        MS      39601‐3327
ADKINS, BRIAN SCOTT   6450 CRAMLANE DR                                                                                  CLARKSTON         MI      48346‐2410
ADKINS, BUSTER M      GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                       NORFOLK           VA      23510‐2212
                                                      STREET, SUITE 600
ADKINS, CALVIN C      401 W 12TH ST                                                                                     GEORGETOWN        IL      61846‐1016
ADKINS, CARL D        5968 ROAD 177                                                                                     OAKWOOD           OH      45873‐9410
ADKINS, CAROL V       458 GREENHILL DR                                                                                  GROVEPORT         OH      43125‐1499
ADKINS, CAROLINE D    5301 COTTEY ST                                                                                    FORT WORTH        TX      76105‐4518
ADKINS, CAROLYN J     4323 JOY DR                                                                                       ENON              OH      45323‐1614
ADKINS, CAROLYN J     4323 JOY DR.                                                                                      ENON              OH      45323‐1614
ADKINS, CECIL L       428 HENDERSON BR                                                                                  HARTS             WV      25524‐9708
ADKINS, CECIL M       52650 GARFIELD RD                                                                                 WAKEMAN           OH      44889‐9554
ADKINS, CELINA        5323 EAST VAN NESS ROAD                                                                           PIERCETON         IN      46562‐9240
ADKINS, CHAD E        PO BOX 164                                                                                        GRATIS            OH      45330‐0164
ADKINS, CHAD E        PO BOX 164                      6466 SOMMERS GRATIS RD                                            GRATIS            OH      45330‐0164
ADKINS, CHARLENE C    2508 E 26TH ST                                                                                    MUNCIE            IN      47302‐5545
ADKINS, CHARLES       THE MOTORISTS INSURANCE GROUP   PO BOX 182476                                                     COLUMBUS          OH      43218‐2476
ADKINS, CHARLES D     3425 HERITAGE CT S                                                                                CANFIELD          OH      44406‐9209
ADKINS, CHARLES E     168 DENISE DR                                                                                     SPEEDWELL         TN      37870‐7537
ADKINS, CHARLES E     652 KELLY DRIVE                                                                                   WILMINGTON        OH      45177‐1472
ADKINS, CHARLES E     2400 E BASELINE AVE LOT 284                                                                       APACHE JUNCTION   AZ      85219‐5721

ADKINS, CHARLES G     4197 COUNTY ROAD 4234                                                                             DE KALB           TX      75559‐6225
ADKINS, CHARLES H     10323 SUNBURY DR                                                                                  PORT CHARLOTTE    FL      33981‐5170
ADKINS, CHARLES J     73 TROON WAY                                                                                      AIKEN             SC      29803‐7011
ADKINS, CHARLES L     9786 N 550 E                                                                                      WILKINSON         IN      46186‐9736
ADKINS, CHARLES L     1672 MORGAN CENTER RD                                                                             BIDWELL           OH      45614‐9494
ADKINS, CHARLES N     6170 ELRO ST                                                                                      BURTON            MI      48509‐2442
ADKINS, CHARLES R     1326 ELDORADO DR                                                                                  FLINT             MI      48504‐3220
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Name                    Address1                                  Address2                        Address3   Address4               City               State Zip
ADKINS, CHARLES RAY     1326 ELDORADO DR                                                                                            FLINT               MI 48504‐3220
ADKINS, CHARLES T       6503 N AGNES AVE                                                                                            GLADSTONE           MO 64119‐1520
ADKINS, CHARLES W       6554 SUNFIELD DR SW                                                                                         BYRON CENTER        MI 49315‐9450
ADKINS, CHARLIE         1821 LEBLANC ST                                                                                             LINCOLN PARK        MI 48146‐3915
ADKINS, CHARLOTTE J     4346 W 60TH ST                                                                                              CLEVELAND           OH 44144‐2801
ADKINS, CHARLOTTE J     4346 WEST 60TH STREET                                                                                       CLEVELAND           OH 44144‐2801
ADKINS, CHERYL D        1326 ELDORADO DR                                                                                            FLINT               MI 48504‐3220
ADKINS, CHESTER L.      5337 WILDWOOD DRIVE                                                                                         PRESCOTT            MI 48756‐9551
ADKINS, CHRISTOPHER J   1114 MAYAPPLE AVE                                                                                           DAYTON              OH 45432‐1414
ADKINS, CHRISTOPHER W   APT B                                     11003 NORTHWEST JONES DRIVE                                       KANSAS CITY         MO 64152‐3909
ADKINS, CLARA E         6008 COLLEGE CORNER PIKE                                                                                    OXFORD              OH 45056‐9780
ADKINS, CLARENCE EARL   CALWELL & MCCORMICK                       PO BOX 113                                                        CHARLESTON          WV 25321
ADKINS, CLAUDE          SUTTER & ENSLEIN                          1598 KANAWHA BLVD EAST, SUITE                                     CHARLESTON          WV 25311
ADKINS, CLAUDINE M      30111 MANHATTAN ST                                                                                          SAINT CLAIR SHORES MI 48082‐2619

ADKINS, CLAY A          729 ASHLEIGH LN                                                                                             SOUTHLAKE         TX    76092‐8624
ADKINS, CLINTON         1241 4 MILE CRK                                                                                             BRANCHLAND        WV    25506‐9634
ADKINS, CLOENE          3933 NECCO AVE.                                                                                             DAYTON            OH    45406‐3557
ADKINS, CLOENE          3933 NECCO AVE                                                                                              DAYTON            OH    45406‐3557
ADKINS, CLOVIS C        520 MADONNA                               LA CASA PARK                                                      VENICE            FL    34287
ADKINS, CLYDE           6875 ARCOLA ST                                                                                              GARDEN CITY       MI    48135‐2225
ADKINS, CLYDE           GLASSER AND GLASSER                       CROWN CENTER, 580 EAST MAIN                                       NORFOLK           VA    23510‐2212
                                                                  STREET, SUITE 600
ADKINS, CURTIS A        PO BOX 752                                                                                                  CADIZ             KY    42211‐0752
ADKINS, CURTIS M        191 SANDS AVE                                                                                               MONROE            OH    45050‐1534
ADKINS, DALLAS M        6604 E GLADWIN RD                                                                                           HARRISON          MI    48625‐9379
ADKINS, DANIEL R        5603 FIVE LAKES RD                                                                                          NORTH BRANCH      MI    48461‐9765
ADKINS, DANNY           31 ORILEY ST                                                                                                PONTIAC           MI    48342‐3123
ADKINS, DANNY C         6529 DANNY LN                                                                                               MAUMEE            OH    43537‐1218
ADKINS, DANNY CARROL    6529 DANNY LN                                                                                               MAUMEE            OH    43537‐1218
ADKINS, DARRELL         546 OSBORN AVE                                                                                              FAIRBORN          OH    45324‐2349
ADKINS, DARRELL W       1581 STOCKTON AVE                                                                                           KETTERING         OH    45409‐1854
ADKINS, DARRELL WAYNE   1581 STOCKTON AVE                                                                                           KETTERING         OH    45409‐1854
ADKINS, DARRYL W        2111 ROSEBUD AVE                                                                                            SAINT LOUIS       MO    63121‐5631
ADKINS, DAVID           1098 N WILLIAMS ST                                                                                          PAULDING          OH    45879‐1076
ADKINS, DAVID A         1641 BIRCH DR                                                                                               PINCONNING        MI    48650‐9519
ADKINS, DAVID A         1619 WILES LN                                                                                               LEWISBURG         TN    37091‐6467
ADKINS, DAVID D         PO BOX 284                                                                                                  FREELAND          MI    48623‐0284
ADKINS, DAVID E         12599 BELTON CT                                                                                             PLYMOUTH          MI    48170‐2872
ADKINS, DAVID H         3114 PINNACLE PARK DR D                                                                                     MORAINE           OH    45418
ADKINS, DAVID K         5323 RAMPART RD                                                                                             COLUMBUS          OH    43207‐4969
ADKINS, DAVID L         2335 HARVEST MOON DR                                                                                        GREENWOOD         IN    46143‐7676
ADKINS, DAVID M         935 DAFFODIL DR                                                                                             WATERFORD         MI    48327‐1401
ADKINS, DAVID M         THE LIPMAN LAW FIRM                       5915 PONCE DE LEON BLVD         SUITE 44                          CORAL GABLES      FL    33146
ADKINS, DAVID M         MCKENNA & CHIDO                           436 BOULEVARD OF THE ALLIES ‐                                     PITTSBURGH        PA    15219
                                                                  SUITE 500
ADKINS, DAVID M         436 BOULEVARD OF THE ALLIES ‐ SUITE 500                                                                     PITTSBURGH         PA   15219

ADKINS, DAVID M.        459 THORNBERRY TRL                                                                                          NORTH LIMA        OH    44452‐8529
ADKINS, DAYNA N         1634 BELT AVE                                                                                               SAINT LOUIS       MO    63112‐4334
ADKINS, DAYNA N         1114 MALLINCKRODT STREET                                                                                    SAINT LOUIS       MO    63107‐3739
ADKINS, DEBORAH A       20321 POWERS AVE                                                                                            DEARBORN HTS      MI    48125‐3049
ADKINS, DELMAR E        11 WASHINGTON                                                                                               GALESBURG         MI    49053‐9601
ADKINS, DELMAR L        3174 E V AVE                                                                                                VICKSBURG         MI    49097‐1502
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Name                     Address1                            Address2                         Address3   Address4               City             State   Zip
ADKINS, DELORES          RTE 08 3840 GREEN VALLEY RD                                                                            HUNTINGTON        WV     25701‐9716
ADKINS, DENNIS E         2805 BLACK BRIDGE RD                                                                                   JANESVILLE        WI     53545‐0613
ADKINS, DENNIS H         1836 2ND ST                                                                                            WYANDOTTE         MI     48192‐3902
ADKINS, DENVER           495 S MILFORD RD                                                                                       HIGHLAND          MI     48357‐4842
ADKINS, DENVER E         SKAGGS JOHN H                       405 CAPITOL STREET ‐ SUITE 607                                     CHARLESTON        WV     25301
ADKINS, DERICK P         26 N MERIDIAN ST                                                                                       REDKEY            IN     47373‐9225
ADKINS, DERICK PHILLIP   26 N MERIDIAN ST                                                                                       REDKEY            IN     47373‐9225
ADKINS, DON E            3292 SALTY WAY                                                                                         GREENBACKVILLE    VA     23356‐2822
ADKINS, DONALD           38537 SYCAMORE PL                                                                                      WESTLAND          MI     48185
ADKINS, DONALD B         943 W ADKINS HILL RD                                                                                   NORMAN            OK     73072‐9177
ADKINS, DONALD J         2916 STATE ROUTE 39                                                                                    SHELBY            OH     44875‐9477
ADKINS, DONALD L         8590 S 150 E                                                                                           FLAT ROCK         IN     47234‐9719
ADKINS, DONALD L         2580 JOHNSTON RD NW                                                                                    KENNESAW          GA     30152‐2391
ADKINS, DONALD L         19305 SCHICK RD                                                                                        DEFIANCE          OH     43512‐8608
ADKINS, DONALD R         2135 WOODALE AVE                                                                                       YPSILANTI         MI     48198‐9204
ADKINS, DONALD R         1633 EMPIRE RD                                                                                         WICKLIFFE         OH     44092‐1009
ADKINS, DORIS L          224 BENJAMIN BOULEVARD                                                                                 BEAR              DE     19701‐1690
ADKINS, DOROTHY
ADKINS, DOROTHY M        1021 BOMAR LN                                                                                          GREENWOOD        IN      46142‐5143
ADKINS, DOROTHY M        1021 BOMAR LANE                                                                                        GREENWOOD        IN      46142‐5143
ADKINS, DOUGLAS          778 4TH AVE                                                                                            PONTIAC          MI      48340‐2028
ADKINS, DOUGLAS D        3094 HAROLD DR                                                                                         COLUMBIAVILLE    MI      48421‐8915
ADKINS, DOUGLAS V        9487 FARRAND RD                                                                                        OTISVILLE        MI      48463‐9776
ADKINS, DUGAN            837 DOUGAN RD                                                                                          PATRIOT          OH      45658‐8901
ADKINS, DUGAN            837 DUGAN RD                                                                                           PATRIOT          OH      45658‐8901
ADKINS, DWAIN T          4416 LAFAYETTE AVE                                                                                     CINCINNATI       OH      45212
ADKINS, DWIGHT D         1918 W ALEXIS RD APT K302                                                                              TOLEDO           OH      43613‐2291
ADKINS, DWIGHT D         1918 W ALEXIS                                                                                          TOLEDO           OH      43613
ADKINS, EARL M           GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                                       SAGINAW          MI      48604‐2602
                                                             260
ADKINS, EARNIE           755 S EDGEMON AVE                                                                                      WINTER SPRINGS   FL      32708‐3411
ADKINS, EDDIE            BEVAN & ASSOCIATES                  10360 NORTHFIELD ROAD, BEVAN                                       NORTHFIELD       OH      44067
                                                             PROFESSIONAL BLDG
ADKINS, EDWARD
ADKINS, EDWARD L         36 STRINGTOWN RD                                                                                       WILLIAMSBURG     KY      40769‐9725
ADKINS, ELFA             BOX 730 MCCOMAS RD.                                                                                    SALT ROCK        WV      25559‐9728
ADKINS, ELIZABETH J      1314 MONROE AVE                                                                                        HUNTINGTON       WV      25704‐2440
ADKINS, ELTON J          13505 ORCHARD CT                                                                                       GREGORY          MI      48137‐9695
ADKINS, EMOGENE          C/O THE SUTTER LAW FIRM PLLC        1598 KANAWHA BLVD E                                                CHARLESTON       WI      25311
ADKINS, EMORY L          905 S FULS RD                                                                                          NEW LEBANON      OH      45345‐9757
ADKINS, EMORY L          905 FULS RD                                                                                            NEW LEBANON      OH      45345‐9757
ADKINS, ERIK N           2700 S MAIN ST                                                                                         LIBERTY CENTER   IN      46766‐9731
ADKINS, ERMA I           13500 CHENAL LAKES PARKWAY          APT# 807                                                           LITTLE ROCK      AR      72211
ADKINS, ERSIE H          PO BOX 31                                                                                              WAYNE            WV      25570‐0031
ADKINS, ESTELL G         GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                        NORFOLK          VA      23510‐2212
                                                             STREET, SUITE 600
ADKINS, ETHEL            14987 ELWELL RD                                                                                        BELLEVILLE       MI      48111‐4292
ADKINS, ETHEL            626 N WAYNE ST                                                                                         WARREN           IN      46792‐9457
ADKINS, ETHEL            626 N WAYNE                                                                                            WARREN           IN      46792‐9457
ADKINS, EUGENE           6716 TOWNSHIP ROAD 189                                                                                 FREDERICKTOWN    OH      43019
ADKINS, EUGENE           20 PERRIN ST                                                                                           RIVER ROUGE      MI      48218‐1518
ADKINS, EVERETT          DALEY ROBERT                        707 GRANT ST STE 2500                                              PITTSBURGH       PA      15219‐1945
ADKINS, FAY E            PO BOX 284                                                                                             FREELAND         MI      48623
ADKINS, FLORENCE S       3208 S VINE ST                                                                                         MUNCIE           IN      47302
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Name                        Address1                     Address2                       Address3   Address4               City            State   Zip
ADKINS, FLORENCE S          PO BOX 1113                                                                                   INGLIS           FL     34449‐1113
ADKINS, FRANK               26835 PEMBROKE AVE                                                                            REDFORD          MI     48240‐1564
ADKINS, FRANKLIN D          11443 CROSBY RD                                                                               FENTON           MI     48430‐8924
ADKINS, FRANKLIN D          5150 COUNTY ROAD H                                                                            DELTA            OH     43515‐9759
ADKINS, FRANKLIN D          PO BOX 419                                                                                    BLANCHARD        OK     73010‐0419
ADKINS, FRANKLIN D          81 MARY ST                                                                                    W JEFFERSON      OH     43162‐1164
ADKINS, FREDLENE G          21315 MCCOY RD                                                                                FREEPORT         OH     43973‐9611
ADKINS, FREELAND            13876 KAY ST                                                                                  PAULDING         OH     45879‐8863
ADKINS, G L                 7290 SPENCER LAKE RD                                                                          MEDINA           OH     44256‐9123
ADKINS, GARLAND E           PO BOX 1784                                                                                   MOUNT VERNON     KY     40456‐1784
ADKINS, GARRY               106 DARTMOUTH ST                                                                              TRENTON          OH     45067‐9100
ADKINS, GARRY               849 SOMERSET CT                                                                               TRENTON          OH     45067‐1489
ADKINS, GARY E              9755 TWP ROAD 20                                                                              GALION           OH     44833
ADKINS, GARY L              3006 EGLESTON AVE                                                                             FLINT            MI     48506‐2150
ADKINS, GARY W              6783 N 100 W                                                                                  ALEXANDRIA       IN     46001‐8223
ADKINS, GARY W              150 TIMBER LN                                                                                 PALATKA          FL     32177‐8574
ADKINS, GENE L              8242 W 160TH PLACE                                                                            TINLEY PARK       IL    60477
ADKINS, GENEVA IRENE        4770 SAWMILL LAKE RD                                                                          ORTONVILLE       MI     48462‐9602
ADKINS, GEORGE G            21201 E 11 MILE RD                                                                            ST CLAIR SHRS    MI     48081‐1583
ADKINS, GEORGIA             1116 LONDON PL SW                                                                             DECATUR          AL     35603‐4468
ADKINS, GERALD              314 MOUNTAIN VIEW DR                                                                          SOMERSET         KY     42501‐3069
ADKINS, GERALDINE T         PO BOX 310343                                                                                 FLINT            MI     48531‐0343
ADKINS, GERALDINE T‐PIERT   PO BOX 310343                                                                                 FLINT            MI     48531‐0343
ADKINS, GLADYS              3400 BISTINEAU DRIVE                                                                          BOSSIER CITY     LA     71112‐2802
ADKINS, GLEN E              5717 WARREN SHARON RD.                                                                        BROOKFIELD       OH     44403‐9543
ADKINS, GLENN E             5336 TINCHER RD                                                                               INDIANAPOLIS     IN     46221‐4210
ADKINS, GLORIA              BEVAN & ASSOCIATES           10360 NORTHFIELD ROAD, BEVAN                                     NORTHFIELD       OH     44067
                                                         PROFESSIONAL BLDG
ADKINS, GLORIA J            6415 W 81ST PL                                                                                BURBANK         IL      60459‐1708
ADKINS, GLORIA N            141 SHERRY DRIVE                                                                              MCSHERRYSTOWN   PA      17344
ADKINS, GLORIA S            202 1/2FURNACE ST                                                                             ELYRIA          OH      44035
ADKINS, GOLDIE M            2769 N STAUNTON RD                                                                            HUNTINGTON      WV      25702‐1105
ADKINS, GREGORY C           17151 TOWNSHIP ROAD 202                                                                       CECIL           OH      45821
ADKINS, GREGORY CARL        17151 TOWNSHIP ROAD 202                                                                       CECIL           OH      45821
ADKINS, HAROLD K            5002 SOMERSET LN                                                                              ZIONSVILLE      IN      46077‐9742
ADKINS, HAROLD L            6883 ERIE DR                                                                                  MAINEVILLE      OH      45039‐5104
ADKINS, HEATHER RAE         536 S BALDWIN ST                                                                              BARGERSVILLE    IN      46106‐8405
ADKINS, HELEN A             37 E CHARLOTTE ST                                                                             ECORSE          MI      48229‐1754
ADKINS, HELEN M             3094 HAROLD DR                                                                                COLUMBIAVILLE   MI      48421‐8915
ADKINS, HERBERT             1339 REDLEAF LN                                                                               YPSILANTI       MI      48198‐3168
ADKINS, HURSEL              304 DOUGLAS BR                                                                                HARTS           WV      25524‐9470
ADKINS, J D                 PO BOX 118                                                                                    LINDEN          TN      37096‐0118
ADKINS, JACK R              8192 CALLEE CT                                                                                DAVISON         MI      48423‐8720
ADKINS, JACK S              354 PROSPECT ST                                                                               ROMEO           MI      48065‐4644
ADKINS, JACKIE U            19364 ANTAGO ST                                                                               LIVONIA         MI      48152‐2512
ADKINS, JACOB W             3325 AIRPORT RD                                                                               WATERFORD       MI      48329‐3013
ADKINS, JAMES               88 E BROAD ST                                                                                 NEWNAN          GA      30263‐1967
ADKINS, JAMES               2644 HUSTEAD ROAD                                                                             SPRINGFIELD     OH      45502‐7907
ADKINS, JAMES               2644 HUSTEAD RD                                                                               SPRINGFIELD     OH      45502‐7907
ADKINS, JAMES B             1397 MAPLERIDGE DR                                                                            FAIRBORN        OH      45324
ADKINS, JAMES C             4770 SAWMILL LAKE RD                                                                          ORTONVILLE      MI      48462‐9602
ADKINS, JAMES D             1721 S HIGH ST                                                                                HARTFORD CITY   IN      47348‐3017
ADKINS, JAMES G             812 PINE NEEDLES DR                                                                           CENTERVILLE     OH      45458‐3390
ADKINS, JAMES H             2738 PARMENTER RD                                                                             CORUNNA         MI      48817‐9568
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Name                      Address1                             Address2            Address3         Address4               City           State   Zip
ADKINS, JAMES H           12350 PARDEE RD                                                                                  TAYLOR          MI     48180‐4218
ADKINS, JAMES L           13502 BERWYN                                                                                     REDFORD         MI     48239‐2752
ADKINS, JAMES L           4809 S CRYSLER AVE                                                                               INDEPENDENCE    MO     64055‐5768
ADKINS, JAMES R           PO BOX 131                                                                                       WILLIAMSBURG    KY     40769‐0131
ADKINS, JAMES R           250 SILVERADO TRL                                                                                LYNNVILLE       TN     38472‐5540
ADKINS, JAMES V           37236 PEGGY LN                                                                                   RICHMOND        MI     48062‐4940
ADKINS, JAMES W           603 SAWYER ST                                                                                    EAST TAWAS      MI     48730‐1224
ADKINS, JAMES W           286 BOWLIN RD                                                                                    WILLIAMSBURG    KY     40769‐7434
ADKINS, JAMES W           286 BOWLIN ROAD                                                                                  WILLIAMSBURG    KY     40769‐7434
ADKINS, JANE              209 NOTTINGHAM DR                                                                                BROOKLYN        MI     49230‐8919
ADKINS, JANET             603 SAWYER ST                                                                                    EAST TAWAS      MI     48730‐1224
ADKINS, JANET             603 SAWYER ST.                                                                                   E. TAWAS        MI     48730‐1224
ADKINS, JASON E           9129 WILLIAMS CENTER CECIL RD                                                                    SHERWOOD        OH     43556‐9758
ADKINS, JASON EVERETTE    9129 WILLIAMS CENTER CECIL RD                                                                    SHERWOOD        OH     43556‐9758
ADKINS, JEAN C            106 DARTMOUTH ST                                                                                 TRENTON         OH     45067‐9100
ADKINS, JEAN M            2624 SILVER LAKE RD                                                                              HANCOCK         NY     13783
ADKINS, JEANETTE          291 DAVIS AVE                                                                                    KEARNY          NJ     07032‐3417
ADKINS, JENNIFER S        413 CORONA AVE                                                                                   DAYTON          OH     45419‐2606
ADKINS, JERRY W           44191 CLAY RD                                                                                    BELLEVILLE      MI     48111‐9153
ADKINS, JESS              1300 GRACELAND DR                                                                                FAIRBORN        OH     45324‐4372
ADKINS, JIMMY R           905 W BARNES AVE                                                                                 LANSING         MI     48910‐1305
ADKINS, JIMMY R           305 N CLAYPOOL RD                                                                                MUNCIE          IN     47303‐5128
ADKINS, JIMMY RAY         905 W BARNES AVE                                                                                 LANSING         MI     48910‐1305
ADKINS, JOAN R            1870 E GRAND AVE LOT 12                                                                          HOT SPRINGS     AR     71901‐4800
ADKINS, JOE               645 HUNTERS RUN BLVD                                                                             LAKELAND        FL     33809‐8329
ADKINS, JOE B             534 LAKEFRONT DR                                                                                 WAVERLY         TN     37185‐3478
ADKINS, JOE M             9643 EAST COUNTY RD                  100 SOUTH                                                   AVON            IN     46123
ADKINS, JOHN              231 SHOOP AVE                                                                                    DAYTON          OH     45417‐2347
ADKINS, JOHN D            PO BOX 730                           25630 OCHOA WAY                                             BOUSE           AZ     85325‐0730
ADKINS, JOHN E            28 WEIR ST                                                                                       W CARROLLTON    OH     45449‐1157
ADKINS, JOHN F            131 MARBROOK DR.                                                                                 KETTERING       OH     45429‐5429
ADKINS, JOHN H            8 N GRIMMETT AVE                                                                                 MOUNT HOPE      WV     25880‐1313
ADKINS, JOHN L            1326 ELDORADO DR                                                                                 FLINT           MI     48504‐3220
ADKINS, JOHN M            408 W 12TH ST                                                                                    GEORGETOWN       IL    61846‐1015
ADKINS, JOHN R            2100 OAK ST                                                                                      WILMINGTON      DE     19808‐4833
ADKINS, JOSEPH J          8990 E GORMAN RD                                                                                 BLISSFIELD      MI     49228‐9605
ADKINS, JOSEPH JOHN       8990 E GORMAN RD                                                                                 BLISSFIELD      MI     49228‐9605
ADKINS, JOSEPH L          1176 CROSS CHURCH RD                                                                             BLAND           MO     65014
ADKINS, JOYCE E.          3911 SW 60TH AVE                                                                                 DAVIE           FL     33314
ADKINS, JUANITA L         11177 POTTER RD                                                                                  FLUSHING        MI     48433‐9788
ADKINS, JULIA L           5808 SPRINGFIELD ZENIA RD                                                                        SPRINGFIELD     OH     45502‐5502
ADKINS, JUNE F            534 LAKEFRONT DR                                                                                 WAVERLY         TN     37185‐3478
ADKINS, KATHLEEN O        3126 BERT KOUNS INDUSTRIAL LOOP #212                                                             SHREVEPORT      LA     71118‐2959

ADKINS, KATHLEEN ODESSA   2085 PITCH PINE DRIVE                                                                            SHREVEPORT     LA      71118‐4739
ADKINS, KEITH R           5075 PHEASANT RD                                                                                 WATERFORD      MI      48327‐2464
ADKINS, KENNEL R          30733 PIERCE ST                                                                                  GARDEN CITY    MI      48135‐1453
ADKINS, KENNETH A         11600 SARGENT RD                                                                                 FOWLERVILLE    MI      48836‐9239
ADKINS, KENNETH E         340 BRIAR AVE W APT B3                                                                           JAMESTOWN      TN      38556‐3519
ADKINS, KENNETH F         213 SEITHER ST                                                                                   DEFIANCE       OH      43512‐3326
ADKINS, KENNETH F.        213 SEITHER ST                                                                                   DEFIANCE       OH      43512‐3326
ADKINS, KENNETH L         17644 SCOTT ST                                                                                   LAKE MILTON    OH      44429‐9527
ADKINS, KENNETH L         117 CRAIG RUN RD                                                                                 RIVESVILLE     WV      26588‐8003
ADKINS, KENNETH R         37 E CHARLOTTE ST                                                                                ECORSE         MI      48229‐1754
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Name                     Address1                         Address2                       Address3   Address4               City             State   Zip
ADKINS, KENNETH R        37 FLEMING DRIVE                                                                                  HARTS             WV     25524‐9788
ADKINS, KENNETH S        13003 HUTCHINSON RD R1                                                                            DOWLING           MI     49050
ADKINS, KINTON L         1320 SW 114TH ST                                                                                  OKLAHOMA CITY     OK     73170‐4444
ADKINS, KRISTINA C       336 MEANS RD                                                                                      BARNESVILLE       GA     30204‐3800
ADKINS, KRISTINA C.      336 MEANS RD                                                                                      BARNESVILLE       GA     30204‐3800
ADKINS, L MARLENE        100 BLUE BERRY LN                                                                                 COPPERHILL        TN     37317‐5435
ADKINS, L MARLENE        RT 1 BOX 277                                                                                      COOPERHILL        TN     37317‐9722
ADKINS, LACEY N.         29744 FLORENCE ST                                                                                 GARDEN CITY       MI     48135‐2694
ADKINS, LAGRETTA S       11709 BRISTOL TER                                                                                 KANSAS CITY       MO     64134‐3803
ADKINS, LARRY A          30 W HOPKINS AVE                                                                                  PONTIAC           MI     48340‐1816
ADKINS, LARRY D          1290 WAVERLY DR NW                                                                                WARREN            OH     44483‐1716
ADKINS, LARRY D          16183 MILTON AVE                                                                                  LAKE MILTON       OH     44429‐9601
ADKINS, LARRY D          3426 WESTWARD RD                                                                                  SPENCER           IN     47460‐7506
ADKINS, LARRY G          6236 NEILSON                                                                                      DAVISBURG         MI     48350‐3542
ADKINS, LAURIE S         2805 BLACK BRIDGE RD                                                                              JANESVILLE        WI     53545
ADKINS, LEE E            11810 PARTRIDGE TRL                                                                               HAGERSTOWN        MD     21742‐4443
ADKINS, LELAND           2402 W SIDNEY RD                                                                                  SIDNEY            MI     48885‐9751
ADKINS, LENVILLE P       2475 FEDERAL RD                                                                                   XENIA             OH     45385‐7815
ADKINS, LEONA            MAZUR & KITTEL PLLC              1490 FIRST NATIONAL BUILDING                                     DETROIT           MI     48226
ADKINS, LEONA E          108 ROCKY HOLLOW                                                                                  JENKINS           KY     41537
ADKINS, LEROY M          30111 MANHATTAN ST                                                                                ST CLAIR SHRS     MI     48082‐2619
ADKINS, LEROY S          PO BOX 7                                                                                          HENDRICKS         WV     26271‐0007
ADKINS, LESLIE
ADKINS, LESLIE W         KENT HANSEN                      280 SOUTH 400 WEST                                               SALT LAKE CITY   UT      84101
ADKINS, LEWIS E          4238 WESTVILLE RD                                                                                 WYOMING          DE      19934‐1428
ADKINS, LINDA            1050 MCBRAYER RD LOT 31                                                                           CLEARFIELD       KY      40313‐9767
ADKINS, LINDA D          2135 RAY RD                                                                                       FENTON           MI      48430‐9709
ADKINS, LINDA L          PO BOX 26494                                                                                      TROTWOOD         OH      45426‐0494
ADKINS, LINDA S          PO BOX 7023                                                                                       MANSFIELD        OH      44905
ADKINS, LOIS L           194 WEAVER RD                                                                                     OKEANA           OH      45053
ADKINS, LORA J           5175 BROWN CITY RD                                                                                BROWN CITY       MI      48416‐9345
ADKINS, LOUISE           328 ROXBURY RD                                                                                    DAYTON           OH      45417‐1318
ADKINS, LOYZELL          34170 MCBRIDE ST                                                                                  ROMULUS          MI      48174‐3432
ADKINS, LYNETTE          122 LILBURNE DR                                                                                   YOUNGSTOWN       OH      44505‐4828
ADKINS, MARGARET         36225 MEADOWBROOK ST                                                                              LIVONIA          MI      48154‐5128
ADKINS, MARQUERITE       PO BOX 601                                                                                        PIKEVILLE        KY      41502
ADKINS, MARSHA A         213 SEITHER ST                                                                                    DEFIANCE         OH      43512‐3326
ADKINS, MARSHA K         67 EISENHOWER DR                                                                                  DAYTON           OH      45431‐1307
ADKINS, MARY A           2196 BRIAR LN                                                                                     BURTON           MI      48509‐1233
ADKINS, MARY ANN         82 QUARTERDECK PL                                                                                 ROCHESTER        NY      14612‐1488
ADKINS, MARY E           4935 ITA COURT APT#201                                                                            SWARTZ CREEK     MI      48473
ADKINS, MARY F           6 SUNSET ST                                                                                       NEW LEBANON      OH      45345‐1433
ADKINS, MARY J           13550 KARL ST                                                                                     SOUTHGATE        MI      48195‐2416
ADKINS, MATTHEW R        239 E WATER ST                                                                                    OAK HARBOR       OH      43449‐1453
ADKINS, MATTHEW ROBERT   239 E WATER ST                                                                                    OAK HARBOR       OH      43449‐1453
ADKINS, MELISSA A        5030 KNAPP DR                                                                                     FLINT            MI      48506‐2112
ADKINS, MELISSA ANN      5030 KNAPP DR                                                                                     FLINT            MI      48506‐2112
ADKINS, MERRELL          1320 FATE RANKIN RD                                                                               JEFFERSON CITY   TN      37760‐3937
ADKINS, MICHAEL          14303 W DIANE DR                                                                                  CAMDEN           MI      49232‐9550
ADKINS, MICHAEL A        1253 COMMONWEALTH AVE                                                                             YPSILANTI        MI      48198‐3151
ADKINS, MICHAEL A        412 WESTBROOK                                                                                     WHITMORE LAKE    MI      48189‐8211
ADKINS, MICHAEL D        23 OAK CT                                                                                         OCALA            FL      34472‐2441
ADKINS, MICHAEL J        651 MARWAY NW                                                                                     COMSTOCK PARK    MI      49321‐9719
ADKINS, MICHAEL R        8085 ORCHARDVIEW DR                                                                               WASHINGTON       MI      48095‐1396
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Name                    Address1                       Address2                       Address3   Address4               City               State   Zip
ADKINS, MICHAEL V       145 W COLUMBIA AVE                                                                              PONTIAC             MI     48340‐1811
ADKINS, MICHAEL V.      145 W COLUMBIA AVE                                                                              PONTIAC             MI     48340‐1811
ADKINS, MICHAEL W       200 NE 77TH ST                                                                                  GLADSTONE           MO     64118‐1649
ADKINS, MICHEL T        311 BUCK CREEK BLVD                                                                             INDIANAPOLIS        IN     46227‐2013
ADKINS, MILDRED ANN     6764 HARDING                                                                                    TAYLOR              MI     48180‐1826
ADKINS, MILDRED ANN     6764 HARDING ST                                                                                 TAYLOR              MI     48180‐1826
ADKINS, MILTON          110 E SHIELDS ST                                                                                CINCINNATI          OH     45220‐2211
ADKINS, MINDY           7138 SOUTH VASSAR ROAD                                                                          VASSAR              MI     48768‐9660
ADKINS, NANCY
ADKINS, NANCY H         88 E. BROAD ST.                                                                                 NEWNAN             GA      30263‐1967
ADKINS, NANNIE M        134 SHELBY HURST RD                                                                             WILLIAMSBURG       KY      40769‐9313
ADKINS, NORMA M         2641 VASSAR AVE                                                                                 LORAIN             OH      44053‐2359
ADKINS, NORMAN J        6443 WEST 81ST STREET                                                                           BURBANK            IL      60459‐1701
ADKINS, ODIS C          5301 COTTEY ST                                                                                  FORT WORTH         TX      76105‐4518
ADKINS, ODIS CLARENCE   5301 COTTEY ST                                                                                  FORT WORTH         TX      76105‐4518
ADKINS, OLIVER J        PO BOX 216                                                                                      BOYNE CITY         MI      49712‐0216
ADKINS, OLLIN D         25 GRACE ANN DR                                                                                 CONOWINGO          MD      21918‐1428
ADKINS, OMA FAYE        12300 VONN RD #8105                                                                             LARGO              FL      33774‐3428
ADKINS, OMA FAYE        12300 VONN RD APT 8105                                                                          LARGO              FL      33774‐3428
ADKINS, OPAL S.         7290 SPENCER LAKE RD                                                                            MEDINA             OH      44256‐9123
ADKINS, ORRIS R         110 PEBBLE BROOK DR                                                                             CLINTON            MS      39056‐5818
ADKINS, OTHA            825 BEARDSLEY RD                                                                                GALION             OH      44833‐1309
ADKINS, PARALEE         702 BROOKFIELD ROAD                                                                             KETTERING          OH      45429‐3324
ADKINS, PATRICIA        KOETH RICE & LEO CO            1280 W 3RD ST                                                    CLEVELAND          OH      44113‐1513
ADKINS, PATRICIA L      12599 BELTON CT                                                                                 PLYMOUTH           MI      48170‐2872
ADKINS, PATTY A         3305 1/2 COLUMBUS AVE                                                                           ANDERSON           IN      46013‐5355
ADKINS, PAUL            30727 GRANDVIEW AVE                                                                             WESTLAND           MI      48186‐5060
ADKINS, PAUL            6362 SHAKER RD                                                                                  FRANKLIN           OH      45005‐2653
ADKINS, PAUL H          5659 S DIXIE HWY                                                                                FRANKLIN           OH      45005‐4364
ADKINS, PAUL H          5659 S. DIXIE HIGHWAY                                                                           FRANKLIN           OH      45005‐4364
ADKINS, PHYLLIS C       48731 DENTON RD APT 26                                                                          BELLEVILLE         MI      48111
ADKINS, PHYLLIS C       PO BOX 1552                                                                                     BELLEVILLE         MI      48112‐1552
ADKINS, PHYLLIS E       12824 PARKWOOD ST                                                                               HUDSON             FL      34669‐3842
ADKINS, PRISCILLA L     7750 STOCKHOLM DR                                                                               HUBER HEIGHTS      OH      45424‐2254
ADKINS, RALPH E         2200 SOUTHLEA DR                                                                                DAYTON             OH      45459‐3641
ADKINS, RANDY G         124 SPALDING ST                                                                                 LOCKPORT           NY      14094‐4650
ADKINS, RANDY K         11177 POTTER RD                                                                                 FLUSHING           MI      48433‐9788
ADKINS, RANDY KIM       11177 POTTER RD                                                                                 FLUSHING           MI      48433‐9788
ADKINS, RAYMOND         6020 STATE ROUTE 46                                                                             CORTLAND           OH      44410‐9665
ADKINS, RAYMOND         6020 STATE RT. 46                                                                               CORTLAND           OH      44410‐9665
ADKINS, RAYMOND C       10915 E GOODALL RD UNIT 44                                                                      DURAND             MI      48429
ADKINS, REBA            645 HUNTERS RUN BLVD                                                                            LAKELAND           FL      33809‐8329
ADKINS, REBECCA J       1447 KOHR PL                                                                                    COLUMBUS           OH      43211‐2260
ADKINS, RICHARD D       21094 ROAD 72                                                                                   OAKWOOD            OH      45873‐9406
ADKINS, RICHARD M       5935 FELLRATH ST                                                                                TAYLOR             MI      48180‐1181
ADKINS, RICKY A         2085 PITCH PINE DR                                                                              SHREVEPORT         LA      71118‐4739
ADKINS, RICKY H         2312 GRAND PRIX DR APT A                                                                        INDIANAPOLIS       IN      46224‐7303
ADKINS, RICKY HOWARD    2312 GRAND PRIX DR APT A                                                                        INDIANAPOLIS       IN      46224‐7303
ADKINS, ROBERT          BEVAN & ASSOCIATES             10360 NORTHFIELD ROAD, BEVAN                                     NORTHFIELD         OH      44067
                                                       PROFESSIONAL BLDG
ADKINS, ROBERT C        9142 APPLETON                                                                                   REDFORD            MI      48239‐1238
ADKINS, ROBERT C        4288 CORDELL DR                                                                                 DAYTON             OH      45439‐2706
ADKINS, ROBERT F        33181 TANAGER CT                                                                                NORTH RIDGEVILLE   OH      44039‐6338
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Name                Address1                         Address2                        Address3   Address4               City              State   Zip
ADKINS, ROBERT G    459 THORNBERRY TRL                                                                                 NORTH LIMA         OH     44452‐8529
ADKINS, ROBERT J    8079 CASTLE ROCK DR NE                                                                             WARREN             OH     44484‐1415
ADKINS, ROBERT L    542 PHILLIP KUHN RD                                                                                OAK HILL           OH     45656‐9058
ADKINS, ROBERT L    6546 ROAD 1                                                                                        PAYNE              OH     45880‐9329
ADKINS, ROBERT L    375 CUMMINGS RD                                                                                    VERMILION          OH     44089‐2213
ADKINS, ROBERT R    4609 N. UNION RD.                                                                                  FRANKLIN           OH     45005‐5125
ADKINS, ROBERT R    4609 UNION RD                                                                                      FRANKLIN           OH     45005‐5125
ADKINS, ROCFERD     PO BOX 267                                                                                         WEST HAMLIN        WV     25571‐0267
ADKINS, RODNEY H    5570 BIGGER RD APT A                                                                               KETTERING          OH     45440‐2645
ADKINS, RODNEY H    4487 SLATE CR APT J                                                                                DAYTON             OH     45430‐1579
ADKINS, RODNEY L    1223 FALL RIVER RD                                                                                 YPSILANTI          MI     48198‐3155
ADKINS, ROGER D     1076 BENSTEIN RD                                                                                   COMMERCE           MI     48390‐2971
                                                                                                                       TOWNSHIP
ADKINS, ROGER L     MCKENNA & CHIDO                  436 BOULEVARD OF THE ALLIES ‐                                     PITTSBURGH         PA     15219
                                                     SUITE 500
ADKINS, ROLLO V     9951 W FALL CREEK DR                                                                               PENDLETON         IN      46064‐8776
ADKINS, RON A       655 OAKLEAF DR                                                                                     DAYTON            OH      45408‐1539
ADKINS, RONALD      BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD, BEVAN                                      NORTHFIELD        OH      44067
                                                     PROFESSIONAL BLDG
ADKINS, RONALD E    1028 COLUMBIA AVE                                                                                  FAIRBORN          OH      45324‐3704
ADKINS, RONALD K    1032 MADISON AVE                                                                                   HUNTINGTON        WV      25704‐2538
ADKINS, RONALD L    301 W PERRY ST                                                                                     DURAND            MI      48429
ADKINS, RONNIE H    3405 STOCKTON RD                                                                                   JAMESTOWN         TN      38556‐6056
ADKINS, RONNIE H    310 N TRUITT RD                                                                                    MUNCIE            IN      47303‐4559
ADKINS, RONNIE W    322 PERSHING AVE                                                                                   GALION            OH      44833‐3391
ADKINS, ROOSEVELT   3497 CHESTNEY RD                                                                                   MACON             GA      31217‐5543
ADKINS, ROSE        7960 IRONWOOD CIR                                                                                  PARMA             OH      44129‐6900
ADKINS, ROSSY O     565 NOTTINGHAM RD                                                                                  ELKTON            MD      21921‐4440
ADKINS, ROY A       30 W HOPKINS AVE                                                                                   PONTIAC           MI      48340‐1816
ADKINS, ROY B       3171 N CUSTER RD                                                                                   MONROE            MI      48162‐3595
ADKINS, ROY V       PO BOX 20331                                                                                       SAGINAW           MI      48602‐0331
ADKINS, RUSSELL M   96 CHAPEL RD                                                                                       LOUISA            KY      41230‐8030
ADKINS, RUTH J      2631 GUYAN AVE                                                                                     HUNTINGTON        WV      25702‐1150
ADKINS, SAMANTHA
ADKINS, SANDRA A    6260 HARPER CIR                                                                                    MECHANICSBURG     OH      43044‐9005
ADKINS, SELDON      4056 COVENTRY MANOR WAY                                                                            HILLIARD          OH      43026‐7379
ADKINS, SHARON M    2240 MYRTLEWOOD DR                                                                                 DALLAS            TX      75232‐1040
ADKINS, SHEILA      PO BOX 164                                                                                         GRATIS            OH      45330‐0164
ADKINS, SHIRLEY A   PO BOX 131                                                                                         WILLIAMSBURG      KY      40769‐0131
ADKINS, SHIRLEY A   714 MACKINAC AVE                                                                                   SOUTH MILWAUKEE   WI      53172‐3228

ADKINS, SHIRLEY A   P O BOX 131                                                                                        WILLIAMSBURG      KY      40769‐0131
ADKINS, STANLEY F   26624 COUZENS AVE                                                                                  MADISON HTS       MI      48071‐3850
ADKINS, STEPHEN T   1336 FREBIS AVE                                                                                    COLUMBUS          OH      43206‐3717
ADKINS, STEVEN M    12 PINEWOOD DR                                                                                     WEST MILTON       OH      45383‐1245
ADKINS, STEVEN M    5891 BEATTIE AVE                                                                                   LOCKPORT          NY      14094‐6629
ADKINS, SUE A       PO BOX 272                                                                                         TECUMSEH          MI      49286‐0272
ADKINS, SUSAN V     4350 BONNIE BRAE AVE                                                                               VANDALIA          OH      45377‐9616
ADKINS, TAMMY       STATE FARM INSURANCE COMPANIES   P.O. BOX 3020                                                     NEWARK            OH      43058‐3020
ADKINS, TAMMY       STATE FARM INSURANCE COMPANIES   PO BOX 3020                                                       NEWARK            OH      43058‐3020
ADKINS, TAMMY ANN   PO BOX 222                                                                                         LONDON            KY      40743‐0222
ADKINS, TEDDY S     GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                       NORFOLK           VA      23510‐2212
                                                     STREET, SUITE 600
ADKINS, TERRI L     1905 S OXFORD AVE                                                                                  SIOUX FALLS        SD     57106‐5335
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Name                         Address1                       Address2                        Address3   Address4               City             State   Zip
ADKINS, TERRY A              5459 W OREGON RD                                                                                 LAPEER            MI     48446‐8005
ADKINS, TERRY ALLEN          5459 W OREGON RD                                                                                 LAPEER            MI     48446‐8005
ADKINS, TERRY L              3127 ALMA OMEGA RD                                                                               WAVERLY           OH     45690‐9316
ADKINS, THOMAS               KAHN & ASSOCIATES LLC          4030 WAKE FOREST RD STE 300                                       RALEIGH           NC     27609‐6800
ADKINS, THOMAS D             1608 VERONA PITSBURG RD                                                                          ARCANUM           OH     45304‐9616
ADKINS, THOMAS L             8364 BLUEGILL DR                                                                                 NINEVEH           IN     46164‐9540
ADKINS, THOMAS R             51 SAVOY AVE                                                                                     W CARROLLTON      OH     45449‐1722
ADKINS, TRAVEOUS M           5301 COTTEY ST                                                                                   FORT WORTH        TX     76105‐4518
ADKINS, TRISHA L             BERTRAM COX & MILLER           PO BOX 1155                                                       CAMPBELLSVILLE    KY     42719‐1155
ADKINS, TROY D               15 GREEN KNOLL DR                                                                                FRANKLIN          OH     45005‐4563
ADKINS, VIRGIL               12935 NORBORNE                                                                                   REDFORD           MI     48239‐2784
ADKINS, VIRGINIA             BEVAN & ASSOCIATES             10360 NORTHFIELD ROAD, BEVAN                                      NORTHFIELD        OH     44067
                                                            PROFESSIONAL BLDG
ADKINS, VIRGINIA F           51121 FREEDOM WAY                                                                                BELLEVILLE       MI      48111‐4251
ADKINS, VIRGINIA F           51121 FREEDOMS WAY                                                                               BELLEVILLE       MI      48111
ADKINS, VIRGINIA I           1604 W STEWART ST                                                                                OWOSSO           MI      48867‐4073
ADKINS, WALTER H             7155 COLEMAN RD                                                                                  EAST LANSING     MI      48823‐9450
ADKINS, WALTER W             34716 HARDWOOD DR                                                                                N RIDGEVILLE     OH      44039‐2892
ADKINS, WANDELL L            3982 LETART AVE                                                                                  WATERFORD        MI      48329‐2026
ADKINS, WENDY M              8011 S SUN MOR DR                                                                                MUNCIE           IN      47302‐9507
ADKINS, WES D                8528 WALDEN TRACE COURT                                                                          INDIANAPOLIS     IN      46278‐5018
ADKINS, WESLEY E             31521 FAIRCHILD ST                                                                               WESTLAND         MI      48186‐4907
ADKINS, WILDA M              17178 FLORA ST                                                                                   MELVINDALE       MI      48122‐1371
ADKINS, WILLARD W            6502 HASLER LN                                                                                   CINCINNATI       OH      45216
ADKINS, WILLIAM              458 GREENHILL DR                                                                                 GROVEPORT        OH      43125‐1499
ADKINS, WILLIAM A            28003 E US HWY 50                                                                                LEES SUMMIT      MO      64086‐9171
ADKINS, WILLIAM C            113 JAMES STREET                                                                                 DAYTON           OH      45410‐1245
ADKINS, WILLIAM C            2220 GRANGER ROAD                                                                                ORTONVILLE       MI      48462‐9201
ADKINS, WILLIAM C            113 JAMES ST                                                                                     DAYTON           OH      45410‐1245
ADKINS, WILLIAM D            1021 RIDGEWOOD DR                                                                                SHREVEPORT       LA      71118‐3433
ADKINS, WILLIAM D            6533 MARK DR                                                                                     BURLESON         TX      76028‐3135
ADKINS, WILLIAM D            4032 PADDRICK RD                                                                                 DARLINGTON       MD      21034‐1135
ADKINS, WILLIAM DELMAR       1021 RIDGEWOOD DR                                                                                SHREVEPORT       LA      71118‐3433
ADKINS, WILLIAM R            2290 ADAMS RD                                                                                    OAKLAND          MI      48363‐1904
ADKINS, WILLIAM S            2542 SOUTH 600 WEST                                                                              MARION           IN      46953‐9381
ADKINS, WILMER W             3070 PARMAN RD                                                                                   DANSVILLE        MI      48819‐9616
ADKINS,APRIL L               905 FULS RD                                                                                      NEW LEBANON      OH      45345‐9757
ADKINS,CHAD E                PO BOX 164                                                                                       GRATIS           OH      45330‐0164
ADKINS‐THOMAS, BARBARA       1035 E 168TH PL                                                                                  SOUTH HOLLAND    IL      60473‐3023
ADKINSON DONALD M            C/O MCKENNA & CHIODO           436 BOULEVARD OF THE ALLIES ‐                                     PITTSBURGH       PA      15219
                                                            SUITE 500
ADKINSON DONALD M (506959)   MCKENNA & CHIDO                436 BOULEVARD OF THE ALLIES ‐                                     PITTSBURGH        PA     15219
                                                            SUITE 500
ADKINSON, ALLEN R            4769 W 525 N                                                                                     SHARPSVILLE      IN      46068‐9594
ADKINSON, ANDREW             108 ADMIRAL CT                                                                                   HAMPSTEAD        NC      28443‐8063
ADKINSON, ANDREW             108 ADMIRAL COURT                                                                                HAMPSTEAD        NC      28443‐8063
ADKINSON, DANIEL F           PO BOX 18                                                                                        MUNROE FALLS     OH      44262‐0018
ADKINSON, DONALD M           C/O THE LIPMAN LAW FIRM        5915 PONCE DE LEON BLVD         SUITE 44                          CORAL GABLES     FL      33146
ADKINSON, DONALD M           MCKENNA & CHIDO                436 BOULEVARD OF THE ALLIES ‐                                     PITTSBURGH       PA      15219
                                                            SUITE 500
ADKINSON, KEVIN J            116 E MERIDIAN ST                                                                                SHARPSVILLE       IN     46068‐9433
ADKINSON, KEVIN JAMES        116 E MERIDIAN ST                                                                                SHARPSVILLE       IN     46068‐9433
ADKISON I V, JAMES W         6507 BARKSDALE BLVD LOT 191                                                                      BOSSIER CITY      LA     71112‐8651
ADKISON IV, JAMES WILLIAM    6507 BARKSDALE BLVD LOT 191                                                                      BOSSIER CITY      LA     71112‐8651
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Name                               Address1                          Address2                Address3      Address4                City            State   Zip
ADKISON, ANNETTE B                 249 ANDREW CHAPEL RD                                                                            BRANDON          MS     39042‐9217
ADKISON, DERRI H                   2658 SANTA FE PIKE                                                                              SANTA FE         TN     38482‐3321
ADKISON, DONNA J                   P O BOX 136                                                                                     FREDERICKTOWN    MO     63645‐0136
ADKISON, JAMES WILLIAM             PO BOX 163                                                                                      BLANCHARD        LA     71009‐0163
ADKISON, JOHN D                    6121 E WILSON RD                                                                                CLIO             MI     48420‐9710
ADKISON, JOHN DARREL               6121 E WILSON RD                                                                                CLIO             MI     48420‐9710
ADKISON, LOIS E                    PO BOX 163                                                                                      BLANCHARD        LA     71009‐0163
ADKISON, RICHARD E                 PO BOX 1184                                                                                     MANSFIELD        OH     44901‐1184
ADKISON, ROYCE B                   3641 LUCY TRIMBLE RD                                                                            BURLESON         TX     76028‐3654
ADKISON, TIMMY C                   PO BOX 171                                                                                      MOUNT MORRIS     MI     48458‐0171
ADKISON, TIMMY CHARLES             PO BOX 171                                                                                      MOUNT MORRIS     MI     48458‐0171
ADKISON, TREVOR                    9936 W OLD LINCOLN WAY                                                                          WOOSTER          OH     44691‐7518
ADKISSON, ALYCE F                  1388 PROPER AVE                                                                                 BURTON           MI     48529
ADKISSON, ARNOLD                   1041 PINE LEVEL CHURCH RD                                                                       FITZGERALD       GA     31750‐9447
ADKISSON, BARBARA J                13301 NORTHFIELD BLVD                                                                           OAK PARK         MI     48237‐1643
ADKISSON, BILLY W                  1181 LEXA LN                                                                                    FLINT            MI     48507‐4637
ADKISSON, DOUGLAS W                104 MANGRUM DR                                                                                  COLUMBIA         TN     38401‐6159
ADKISSON, ELIZABETH A              1016 RIDGEVIEW CT                                                                               LAKE ORION       MI     48362‐3482
ADKISSON, JACK D                   455 SUNNEHANNA DR UNIT 52                                                                       MYRTLE BEACH     SC     29588‐5357
ADKISSON, JOANN                    19808 TELEGRAPH APT 4                                                                           DETROIT          MI     48219
ADKISSON, KIANNA L                 2001 E FLORIDA AVE APT A                                                                        URBANA            IL    61802‐5733
ADKISSON, MARVILL                  613 E 13TH ST                                                                                   GEORGETOWN        IL    61846‐1221
ADKISSON, MOSES L                  8322 KINGSMERE CT                                                                               CINCINNATI       OH     45231‐6008
ADKISSON, RONALD W                 1628 ONEIDA TRL                                                                                 LAKE ORION       MI     48362‐1244
ADKISSON, RONNIE L                 HC 89 BOX 258                                                                                   MELBOURNE        AR     72556‐9605
ADKISSON, RUSSELL                  132 WILLOW RUN DR                                                                               BUTLER           PA     16001‐1240
ADKISSON, STEPHEN J                314 N BROADWAY STE 1506                                                                         SAINT LOUIS      MO     63102
ADKISSON, TIM D                    555 THORNBURG PKWY                                                                              BROWNSBURG       IN     46112
ADKISSON, WILBURN                  3938 ARK AVE                                                                                    DAYTON           OH     45416‐2028
ADKL;J; A;DKLJA;                   AL;DJK;                                                                                         BUFFALO          NY     14052
ADL INSULFLEX INC                  8783 DALE ROAD                                                          COBOURG CANADA ON K9A
                                                                                                           4J9 CANADA
ADL INSULFLEX INC                 STEVE ALLAN                        4741 COUNTY ROAD 45                                           RIVERVIEW        MI     48192
ADL SUPPLY CHAIN MANAGEMENT CO.
ADL SUPPLYCHAIN MANAGEMENT CO LTD 903 OFFICE TOWER SUN FORTUNE PLZ   DANDONG CITY LIAONING                 DANDONG CITY CHINA

ADL;KJ A;DLKJ                      ;A;LKDJ                                                                                         A;DKLJ          OH      00000
ADLAI HILLISON SR                  9860 N 300 W‐90                                                                                 MARKLE          IN      46770‐9744
ADLAI LANGEFELD                    6487 PORTER RD                                                                                  GRAND BLANC     MI      48439‐8556
ADLAM, GREGORY M                   44216 RINA LN                                                                                   CLINTON TWP     MI      48038‐4477
ADLAN, ABDALLA A                   1463 PELLETIER                                                          WINDSOR ON N9B1S2
                                                                                                           CANADA
ADLE, CHARLES W                    531 SCOTT DR                                                                                    SARALAND         AL     36571‐2914
ADLEANE HILL                       3332 LYNCHBURG ST                                                                               MEMPHIS          TN     38134‐8434
ADLEMAN, BARBARA S                 6169 KINNEVILLE RD                                                                              EATON RAPIDS     MI     48827‐9642
ADLEMAN, RONALD D                  6169 KINNEVILLE RD                                                                              EATON RAPIDS     MI     48827
ADLEMAN, SUSAN K                   4650 NIMS RD                                                                                    LESLIE           MI     49251‐9759
ADLEMAN, SUSAN KAYE                4650 NIMS RD                                                                                    LESLIE           MI     49251‐9759
ADLEMAN, TIMOTHY P                 4650 NIMS RD                                                                                    LESLIE           MI     49251‐9759
ADLER
ADLER & ASSOCIATES                 25 E WASHINGTON ST STE 500                                                                      CHICAGO          IL     60602‐1703
ADLER ELEMENTARY SCHOOL            ATTN MS JANET JONES               19100 FILMORE ST                                              SOUTHFIELD       MI     48075‐7207
ADLER JR, HENRY D                  312 GREEN MEADOWS DR                                                                            LANSING          MI     48917‐3029
ADLER JR, JESSE H                  5904 NEW HIGHWAY 7                                                                              SANTA FE         TN     38482‐3418
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Name                     Address1                         Address2                        Address3   Address4               City               State   Zip
ADLER JR, LOUIS V        3385 FARMDALE DR                                                                                   STERLING HEIGHTS    MI     48314‐2860
ADLER NANCY              20175 MERMILL RD                                                                                   RUDOLPH             OH     43462‐9745
ADLER PATRICIA M         19710 WINDRIDGE DR                                                                                 NORTHVILLE          MI     48167‐3929
ADLER'S TOWING           1186 BALDWIN AVE                                                                                   PONTIAC             MI     48340‐2708
ADLER, ALAN L            1649 MILBROOK RD                                                                                   CANTON              MI     48188‐2058
ADLER, ANN M             1651 CASS LAKE ROAD                                                                                KEEGO HARBOR        MI     48320
ADLER, ANTON             3903 CORMORANT POINT DR                                                                            SEBRING             FL     33872‐3883
ADLER, BILLIE E          73 S LAKE GEORGE RD                                                                                ATTICA              MI     48412‐9789
ADLER, BOBBY J           4600 HOMESITE DR                                                                                   ORION               MI     48359‐2032
ADLER, BRIAN D           561 CREYTS RD                                                                                      DIMONDALE           MI     48821‐9608
ADLER, CHARLENE A        912 ALDEN BRIDGE DR                                                                                CARY                NC     27519
ADLER, CHERYL L          2129 BEACON DR                                                                                     PORT CHARLOTTE      FL     33952‐5627
ADLER, CHRISTOPHER LEE   10778 WEST BRAEMAR                                                                                 HOLLY               MI     48442‐8694
ADLER, DELBERT K         146 HUCKLEBERRY WAY                                                                                BOWLING GREEN       KY     42104‐0337
ADLER, GARY W            4028 MICHIGAN AVE APT B                                                                            CHAS AFB            SC     29404‐5515
ADLER, JAMES H           8184 N 700 W                                                                                       FAIRLAND            IN     46126‐9665
ADLER, JAMES R           2330 WIMBLEDON CIR                                                                                 FRANKLIN            TN     37069‐1862
ADLER, JAMES R           2698 SHE BOSS RD                                                                                   DUCK RIVER          TN     38454‐3300
ADLER, JANET M           2330 WIMBLEDON CIR                                                                                 FRANKLIN            TN     37069‐1862
ADLER, JEFF M            1404 CHESAPEAKE DR                                                                                 ARLINGTON           TX     76014‐3482
ADLER, JEFF MARK         1404 CHESAPEAKE DR                                                                                 ARLINGTON           TX     76014‐3482
ADLER, JENNIFER          KIMMEL & SILVERMAN PC            1930 E MARLTON PIKE SUITE Q29                                     CHERRY HILL         NJ     08003
ADLER, JESSE H           HC 62 BOX 365                                                                                      CALICO ROCK         AR     72519‐9705
ADLER, JOHN P            312 HARPERS WAY                                                                                    LANSING             MI     48917‐9686
ADLER, JONATHAN J        1404 CHESAPEAKE DR                                                                                 ARLINGTON           TX     76014‐3482
ADLER, KENT A            14945 DRAYTON DR                                                                                   NOBLESVILLE         IN     46062‐8234
ADLER, LARRY V           1000 CORONADO CT                                                                                   GULF BREEZE         FL     32563‐3086
ADLER, LAWRENCE C        802 GLEN GATE CIR                                                                                  KERNERSVILLE        NC     27284‐6636
ADLER, MARK B            4827 FAIRWAY RDG S                                                                                 WEST BLOOMFIELD     MI     48323‐3315

ADLER, MARTHA            35296 LEON ST                                                                                      LIVONIA            MI      48150‐5624
ADLER, NICHOLAS D        1686 MIDNIGHT PASS                                                                                 BROWNSBURG         IN      46112‐7865
ADLER, PATRICIA A        638 GREEN VALLEY DR                                                                                RUSSELLVILLE       KY      42276‐8808
ADLER, PATRICIA A        4013 ARNST WAY                                                                                     SPRING HILL        TN      37174‐9265
ADLER, PATRICK           3144 GARDENIA DR                                                                                   DAYTON             OH      45449‐2912
ADLER, PHYLLIS G         480 NILES VIENNA RD                                                                                VIENNA             OH      44473‐9500
ADLER, RAYMOND O         497 BISMARCK LN                                                                                    RUSSELLVILLE       KY      42276‐8577
ADLER, RAYMOND O         497 BISMARCK LANE                                                                                  RUSSELLVILLE       KY      42276‐8577
ADLER, RUTH              2440‐13E HUNTER AVE                                                                                BRONX              NY      10475‐5654
ADLER, RUTH              2440 HUNTER AVE APT 13E                                                                            BRONX              NY      10475‐5654
ADLER, SCOTT A           1708 STATE ROUTE 603                                                                               MANSFIELD          OH      44903‐8716
ADLER, SUSAN E           23 DUPONT AVE                                                                                      WHITE PLAINS       NY      10605‐3537
ADLER‐SHANTEAU, SUSAN    29711 SIERRA POINT CIR                                                                             FARMINGTON HILLS   MI      48331‐1493

ADLETA, PAUL A           4827 EDWARDSVILLE RD                                                                               CLARKSVILLE        OH      45113‐8620
ADLEY DIXON              4701 SCOTHILLS DR                                                                                  ENGLEWOOD          OH      45322‐3522
ADLEY J DIXON            4701 SCOTTHILLS DRIVE                                                                              INGLEWOOD          OH      45322
ADLEY, INEZ R            606 CREW AVE                                                                                       GALION             OH      44833‐3239
ADLEY, JASMINE M         436 GLESSNER AVE                                                                                   MANSFIELD          OH      44903‐2110
ADLINE HATCHER           8014 SAINT CYRIL ST                                                                                DETROIT            MI      48213‐2330
ADLINE TIGGS             2153 MARY CATHERINE ST                                                                             YPSILANTI          MI      48198‐6295
ADLINE Y TIGGS           2153 MARY CATHERINE ST                                                                             YPSILANTI          MI      48198‐6295
ADLKJ ADL;K;             ADL;KJA;                                                                                           ALDJK              LA      a;lkd
ADLY BELLAGHA
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Name                                  Address1                             Address2                        Address3                    Address4                 City                 State Zip
ADLY BELLAGHA                         126 RUE DE YOUGOSLAVIE                                                                           TUNIS 1000 TUNISIA
ADMA GROUP                            1890 GEORGETOWN RD                                                                                                        HUDSON               OH    44236‐4058
ADMANI, MOHAMMAD Y                    2732 RAYNES PARK LN                                                                                                       GRAND PRAIRIE        TX    75050‐1324
ADMANI, MOHAMMAD YASIN                2732 RAYNES PARK LN                                                                                                       GRAND PRAIRIE        TX    75050‐1324
ADMAR EMPREENDIMENTOS E               FERNANDO MARTINS                     DIADEMA PLANT                   RUA JOAO CORREIA DE SA 11                            BURBANK              CA
PARTICIPACO
ADMAR GROUP INC                       87 RUCKMAN RD                                                                                                             ALPINE                NJ   07620
ADMARKETING EMPL SAV AND SEC 401(K)   FBO JACK ROTH                        1801 CENTURY PARK E STE 2000                                                         LOS ANGELES           CA   90067‐2322

ADMATZ, VIVIAN                        203 W COVENTRY CT APT 204                                                                                                 MILWAUKEE             WI   53217‐3981
ADMETCO/FT WAYNE                      7625 VICKSBURG PIKE                                                                                                       FORT WAYNE            IN   46804‐5548
ADMINISTRATIVE ASSISTANTS             2812 TOZER RD                                                                                                             NORTH BRANCH          MI   48461‐8731
ADMINISTRATIVE CONTROLS               525 AVIS DR STE 2                                                                                                         ANN ARBOR             MI   48108‐9616
MANAGEMENT ACM
ADMINISTRATOR OF THE NEW JERSEY SPILL ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 3900 ESSEX LN STE 700                                                              HOUSTON               TX   77027‐5166
COMPENSATION FUND
ADMINISTRATOR OF THE NEW JERSEY SPILL ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. RICHARD J HUGHES JUSTICE                                                           TRENTON               NJ   08625‐0093
COMPENSATION FUND                                                            COMPLEX 25 MARKET STREET PO
ADMINISTRATOR OF THE NEW JERSEY SPILL ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 505 MORRIS AVENUE                                                                  SPRINGFIELD           NJ   07081
COMPENSATION FUND
ADMIRAL EXPRESS INC                   PO BOX 66725                                                                                                              CHICAGO              IL    60666‐0725
ADMIRAL PATT/WARREN                   24130 MARMON AVE                                                                                                          WARREN               MI    48089‐3807
ADMIRAL PETROLEUM CO                  ATTN: KEITH RAGLAND                    701 W MEMORIAL DR                                                                  MUNCIE               IN    47302‐7624
ADMIRAL PETROLEUM CO                  ATTN: EDITH JAMES                      G4232 S SAGINAW ST                                                                 BURTON               MI    48529‐1673
ADMIRAL PETROLEUM CO                  ATTN: NANCY WORK                       3802 DAVISON RD                                                                    FLINT                MI    48506‐4208
ADMIRAL TIRE AND AUTO                 2325 CRAIN HWY STE D                                                                                                      BOWIE                MD    20716‐3436
ADMIRAL TOOL & MANUFACTURING CO       3700 N TALMAN AVE                                                                                                         CHICAGO              IL    60618‐4713

ADMIRAL TOOL & MANUFACTURING CO       WILLIAM DUGAN                        3700N. TALMAN AVE                                                                    WARREN                MI   48089

ADMIRAL TOOL & MFG                    ATTN: WAYNE AVERS                    38010 AMRHEIN RD                                                                     LIVONIA               MI   48150‐1016
ADMIRAL TOOL & MFG CO CHICAGO C/O     PO BOX 67000                                                                                                              DETROIT               MI   48275‐0001
COMERICA
ADMIRAL TOOL & MFG. CO.               WILLIAM DUGAN                        3700N. TALMAN AVE                                                                    WARREN               MI    48089
ADMIRAL TOOL/CHICAGO                  3700 N TALMAN AVE                                                                                                         CHICAGO              IL    60618‐4713
ADMIRAL TRANSPORTATION INC            350 BENIGNO BLVD                                                                                                          BELLMAWR             NJ    08031‐2512
ADMIRAL‐MERCHANTS MOTOR FREIGHT       215 S 11TH ST                                                                                                             MINNEAPOLIS          MN    55403‐2520
INC
ADMIRE, FRANCIS F                     4327 S LIBERTY                                                                                                            INDEPENDENCE         MO    64055‐4733
ADMIRE, FRANCIS F                     PO BOX 782                                                                                                                GRAIN VALLEY         MO    64029‐0782
ADMIRE, JAMES R                       6805 ANNS LN                                                                                                              WEATHERFORD          TX    76085‐3702
ADMIRE, JAMES R.                      6805 ANNS LN                                                                                                              WEATHERFORD          TX    76085‐3702
ADMIRE, PHILLIP G                     620 INWOOD RD                                                                                                             AZLE                 TX    76020‐4817
ADNA TAYLOR                           5006 CORDELL DR                                                                                                           DAYTON               OH    45439‐3272
ADNALOY MARTINEZ                      PO BOX 332                                                                                                                SAINT CLAIR SHORES   MI    48080‐0332

ADNAN BAZZI                           PO BOX 1691                                                                                                               DEARBORN              MI   48121‐1691
ADNAN D BAZZI                         PO BOX 1691                                                                                                               DEARBORN              MI   48121‐1691
ADNAN HAMMOUD                         7731 NORMILE ST                                                                                                           DEARBORN              MI   48126‐1211
ADNAN HARB                            4608 ORCHARD AVE                                                                                                          DEARBORN              MI   48126‐3047
ADNAN KERISH                          BET‐HANINA                                                                                       JERUSALEM ISRAEL
ADNEY KRISTIE                         115 RANCH RD                                                                                                              KALISPELL            MT    59901‐2156
ADNEY, MARGARET                       3907 CRESCENT AVE                                                                                                         KANSAS CITY          MO    64133
ADNEY, MARGARET                       410 OLD DOMINION AVENUE                                                                                                   HERNDON              VA    20170‐5323
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Name                               Address1                         Address2                      Address3            Address4                   City                 State Zip
ADOBE EQUIPMENT COMMERCIAL TRUCK   2915 LAWRENCEVILLE HWY                                                                                        TUCKER                GA 30084‐8130
CE
ADOBE EQUIPMENT COMMERCIAL TRUCK   2915 LAWRENCEVILLE HWY                                                                                        TUCKER               GA   30084‐8130
CENTER
ADOBE EQUIPMENT HOLDINGS, LTD.     ROBERT LATIMER                   2915 LAWRENCEVILLE HWY                                                       TUCKER               GA   30084‐8130
ADOBE GROUP LLC                    27 TIMBERLANE                                                                                                 PLYMOUTH             MA   02360‐2208
ADOBE SYSTEMS
ADOBE SYSTEMS INCORPORATED         UNIT 3100 LAKE DRIVE             CITYWEST BUSINESS CAMPUS                          DUBLIN SAGGART D24
                                                                                                                      IRELAND
ADOBE SYSTEMS SOFTWARE IRELAND     UNIT 3100 LAKE DRIVE             CITYWEST BUSINESS CAMPUS                          DUBLIN SAGGART D24
LIMITED                                                                                                               IRELAND
ADOCK, CHARLES M                   PORTER & MALOUF PA               4670 MCWILLIE DR                                                             JACKSON              MS   39206‐5621
ADOGLU, FUAT I                     9321 MICHIGAMME RD                                                                                            CLARKSTON            MI   48348‐3134
ADOLENE EDDINGTON                  19516 HICKORY RIDGE RD                                                                                        FENTON               MI   48430‐8512
ADOLF BOCK                         BEIM FISCHHAUS 2                 86609 DONAUWOERTH
ADOLF BOCK                         BEIM FISCHHAUS 2                                                                   86609 DONAUWOERTH
                                                                                                                      GERMANY
ADOLF BOSCH                        HOFENSTR 2                                                                         72351 GEISLINGEN GERMANY

ADOLF H LOHNER, IRA                12410 SHANNONDELL DR #410                                                                                     NORRISTOWN           PA   19403‐5604
ADOLF HOFFMANN                     OFFERMANNSHEIDER STR. 171        51515 K▄RTEN
ADOLF HOFFMANN                     OFFERMANNSHEIDER STR. 171        51515 KUERTEN
ADOLF HOFFMANN                     OFFERMANNSHEIDER STR 171                                                           51515 KUERTEN GERMANY
ADOLF HOFMANN                      5135 S WASHINGTON RD                                                                                          SAGINAW              MI   48601‐7224
ADOLF JAMES                        180 FLORENCE ST                                                                    OTTAWA ON CANADA K1R
                                                                                                                      5N4
ADOLF JR, ERVIN V                  805 RALSTON AVE                                                                                               DEFIANCE             OH   43512‐1505
ADOLF KOPP                         1309 STATE ST                                                                                                 LEMONT               IL   60439‐4421
ADOLF KRAMER                       39388 FENMORE CT                                                                                              STERLING HTS         MI   48313‐5063
ADOLF KUNZ                         2201 NANDI HILLS TRL                                                                                          SWARTZ CREEK         MI   48473‐7912
ADOLF LEX                          1138 EMERALD DUNES DR                                                                                         SUN CITY CENTER      FL   33573‐5879
ADOLF PRIBIL                       MAG UHD SAIBUAC                  LAW OFFICE                    NEWSLIFTGASSA 316   A 1070 WIEN AUSTRIA
ADOLF PROF. ECHTE                  EICHHORNSTR. 56/415              78464 KONSTANZ
ADOLF REIF                         THE MADEKSHO LAW FIRM            8866 GULF FREEWAY SUITE 440                                                  HOUSTON              TX   77017
ADOLF RUDOLPH                      1432 OAKBROOK E                                                                                               ROCHESTER HLS        MI   48307‐1126
ADOLF R▄GER                        NEBELHONR 18
ADOLF SCHOERG                      KAISERALLEE 38                                                                     2100 KORNEUBURG
ADOLF SCHOERG                      KAISERALLEE 38                   2100 KORNEUBURG
ADOLF SCHWINN                      KRAHENWEG 16                                                                       66740 SAARLOUIS GERMANY

ADOLF SCHWINN                      KRAHENWEG 16                     D66740 SAARLOUIS, GERMANY
ADOLF SIKORA                       16845 WOLF RUN CIR                                                                                            STRONGSVILLE         OH   44136‐6259
ADOLF STOCKERL                     1957 REGINA DR                                                                                                LAKE ALFRED          FL   33850‐6303
ADOLF SZAJDECKI                    13 ELMWOOD TER                                                                                                EDISON               NJ   08817‐3339
ADOLF U. INGEBORG ECHTE            EICHHORNSTR. 56/415              78464 KONSTANZ
ADOLF U. INGEBORG ECHTE            EICHHORNSTR. 56/415                                                                78464 KONSTANZ GERMANY

ADOLF WAGNER                       17201 GREENWOOD AVE                                                                                           CLEVELAND            OH   44111‐3905
ADOLF WIESE                        4950 HEGEL RD                                                                                                 GOODRICH             MI   48438‐9638
ADOLF, CHRIS A                     5614 BATH RD                                                                                                  BANCROFT             MI   48414‐9762
ADOLF, ERNST                       21901 MADISON ST                                                                                              SAINT CLAIR SHORES   MI   48081‐2224

ADOLF, PETER M                     5614 BATH ROAD                                                                                                BANCROFT             MI   48414‐9762
ADOLF, SHIRLEY                     5614 BATH RD.                                                                                                 BANCROFT             MI   48414
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Name                 Address1                       Address2                     Address3   Address4                City            State   Zip
ADOLF, SHIRLEY       5614 BATH RD                                                                                   BANCROFT         MI     48414‐9762
ADOLFINA MALENAS     382 ROYAL OAK BLVD                                                                             RICHMOND HTS     OH     44143‐1710
ADOLFO AGUIRRE       706 W BUENA VISTA DR                                                                           RAYMORE          MO     64083‐9232
ADOLFO ALEAN         2830 N MCVICKER AVE                                                                            CHICAGO           IL    60634‐5143
ADOLFO BARRERA       646 E 113TH ST                                                                                 CHICAGO           IL    60628‐5146
ADOLFO BAUZA         1710 NECTARINE TRL                                                                             CLERMONT         FL     34714‐6116
ADOLFO CERPA         16052 ACRE ST                                                                                  NORTH HILLS      CA     91343‐4822
ADOLFO DEGRACE       211 HAWTHORNE AVE                                                                              YONKERS          NY     10705‐1023
ADOLFO ESCANUELAS    11267 HEWITT AVE                                                                               SAN FERNANDO     CA     91340‐3809
ADOLFO ESPINOZA JR   4751 MELROSE ST                                                                                SAGINAW          MI     48601‐6926
ADOLFO FALCON        554 BLUEFIELD LN                                                                               HAYWARD          CA     94541‐7304
ADOLFO GOMEZ         2333 BALDWIN RD                                                                                FENTON           MI     48430‐9786
ADOLFO GONZALEZ      348 LISA ST                                                                                    LAKELAND         FL     33815
ADOLFO LUIZ III      4121 SEAWAY DR                                                                                 LANSING          MI     48911‐2554
ADOLFO MARIEROSE     8150 MURRAY HILL DR                                                                            FT WASHINGTON    MD     20744‐4458
ADOLFO MOJICA        2224 S HIGHWAY 83                                                                              CRYSTAL CITY     TX     78839‐4509
ADOLFO MONTANO       23938 CREEK RIDGE DR                                                                           SPRING           TX     77373‐5811
ADOLFO MUNOZ         8 CROOKED STICK PL                                                                             MONROE           NJ     08831‐8899
ADOLFO PALOMO        1816 MARYWOOD DR                                                                               ROYAL OAK        MI     48073‐4062
ADOLFO POBLETE       1150 S CHARLEMAGNE DR                                                                          LAKE ST LOUIS    MO     63367‐2410
ADOLFO RANGEL        132 FILLMORE PL                                                                                BAY CITY         MI     48708‐5563
ADOLFO REYES         5405 S CATHERINE AVE                                                                           COUNTRYSIDE       IL    60525‐2843
ADOLFO RODARTE       4870 S PORTSMOUTH RD                                                                           BRIDGEPORT       MI     48722‐9743
ADOLFO RODRIGUEZ     2109 COWLIN AVE                                                                                COMMERCE         CA     90040‐1322
ADOLFO SALINAS       690 NORTH ALVAREZ ROAD                                                                         RIO GRANDE CY    TX     78582‐6392
ADOLFO VALTIERRA     3419 PEALE DR                                                                                  SAGINAW          MI     48602‐3472
ADOLFS, DARREN K     2160 W CLARKSTON RD                                                                            ORION            MI     48362‐2157
ADOLFSON, DALE W     1291 MEDLEE DR                                                                                 HOBART           IN     46342‐6514
ADOLFSON, GEORGE C   21260 BARTH POND LN                                                                            CREST HILL        IL    60403‐1520
ADOLFSON, ROBERT     6013 CASTLEGATE DR W APT D26                                                                   CASTLE ROCK      CO     80108‐3472
ADOLFSON, ROBERT     APT D26                        6013 CASTLEGATE DRIVE WEST                                      CASTLE ROCK      CO     80108‐3472
ADOLINE JANSEN       HOMPESCHSH 49                                                          D‐52249 ESCHWEILER
                                                                                            GERMANY
ADOLPH BECK          5085 DARREN DR                                                                                 HOUSE SPRINGS   MO      63051
ADOLPH BUTLER        3667 VAGO LN                                                                                   FLORISSANT      MO      63034‐2374
ADOLPH CIESLUK       298 WESTON RD                                                                                  WELLESLEY       MA      02482‐4579
ADOLPH COOK          1621 SHANGRAI LA DR SE                                                                         GRAND RAPIDS    MI      49508‐1448
ADOLPH COORS CO      MAIL RC #743                                                                                   GOLDEN          CO      80401
ADOLPH DIAZ          1257 LAFAYETTE AVE SE                                                                          GRAND RAPIDS    MI      49507‐1716
ADOLPH DICENZI       319 N BENTLEY AVE                                                                              NILES           OH      44446‐5205
ADOLPH DORN          4402 STATE ROUTE 225                                                                           DIAMOND         OH      44412‐9758
ADOLPH FICKEN        COUNTRY CLUB CARE CENTRE       503 REGENT DRIVE                                                WARRENSBURG     MO      64093
ADOLPH FLEMMER       1118 CASS AVE                                                                                  BAY CITY        MI      48708‐8691
ADOLPH G WOSS        170 HESTON DR                                                                                  SPRINGBORO      OH      45066‐‐ 10
ADOLPH GALKO         1843 W MANITOU DR                                                                              OWOSSO          MI      48867‐8725
ADOLPH GRAMLICH      1016 S SKYLINE DR                                                                              LIBERTY         MO      64068‐2640
ADOLPH GREEN         3043 SIMPSON RD                                                                                FORT GRATIOT    MI      48059‐4238
ADOLPH H HERRERA     1070 ENFILAR LN                                                                                ARLINGTON       TX      76017
ADOLPH HERRERA       2320 E BROWER ST                                                                               SIMI VALLEY     CA      93065‐2504
ADOLPH HERZOG        25553 MADDEN ST                                                                                TAYLOR          MI      48180‐3255
ADOLPH HUIZAR JR     3405 WILLOWCREST DR                                                                            FORT WORTH      TX      76117‐3443
ADOLPH J LESTANSKY   2130 COMEGYS AVE                                                                               SCRANTON        PA      18509‐1309
ADOLPH J ZAKRAJSEK   3513 WILSON SHARPSVILLE ROAD                                                                   CORTLAND        OH      44410
ADOLPH JAUREQUI JR   PO BOX 194                                                                                     ALPINE          AZ      85920‐0194
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Name                                Address1                        Address2               Address3         Address4               City              State   Zip
ADOLPH JONES                        3621 CORONADO RD                                                                               BALTIMORE          MD     21244‐3848
ADOLPH KAPANOWSKI                   16274 ASHEBORO CT                                                                              FORT MYERS         FL     33908‐3517
ADOLPH LEGARD                       10381 BUCKSHIRE LN                                                                             INDIANAPOLIS       IN     46234‐2598
ADOLPH LESTANSKY                    2130 COMEGYS AVE                                                                               SCRANTON           PA     18509‐1309
ADOLPH LIBERIS                      1850 WATERFORD LN                                                                              TUSCALOOSA         AL     35405‐6351
ADOLPH LOHWASSER                    5501 DEERFOOT TRL                                                                              W BLOOMFIELD       MI     48323‐2320
ADOLPH LONG                         1605 NE 46TH ST                                                                                OKLAHOMA CITY      OK     73111‐6040
ADOLPH LOZANO                       305 S HOLIDAY DR                                                                               GRAND PRAIRIE      TX     75052‐5848
ADOLPH MAIOLO                       380 FRONTIER AVE                                                                               NORTH              NY     14120‐2416
                                                                                                                                   TONAWANDA
ADOLPH MIERZWA                      28401 RYAN RD                                                                                  WARREN            MI      48092‐4123
ADOLPH MOTLEY JR                    5615 LIGHTSPUN LN                                                                              COLUMBIA          MD      21045‐2522
ADOLPH NITSCHKE                     15053 NICHOLS RD                                                                               BATH              MI      48808‐8722
ADOLPH NOBLES JR                    11373 WHITCOMB ST                                                                              DETROIT           MI      48227‐2013
ADOLPH PATTERSON                    3031 E HOLLAND RD                                                                              SAGINAW           MI      48601‐6604
ADOLPH PETERSEN                     3713 FALCON RIDGE DR.                                                                          JANESVILLE        WI      53548
ADOLPH PONICHTERA                   3550 SCHUST RD                                                                                 SAGINAW           MI      48603‐1232
ADOLPH RIOS                         718 FREEMAN AVE                                                                                FLINT             MI      48507‐1708
ADOLPH ROBINSON                     3646 RAYMONT BLVD                                                                              UNIVERSITY HT     OH      44118‐2617
ADOLPH S KNAUST & RUTH KNAUST TRUST WAYNE KNAUST TTEE               568 PALMER ROAD                                                BELLEAIR BLUFFS   FL      33770

ADOLPH SBIHLI                       2111 KINGS PINE DR                                                                             JOHNS ISLAND      SC      29455‐6212
ADOLPH SCHWELGIN                    3111 COVENTRY DR                                                                               PARMA             OH      44134‐5641
ADOLPH SOKOLOWSKI                   174 BRANDYWYNE DR NW                                                                           COMSTOCK PARK     MI      49321‐9208
ADOLPH STEFANOWSKI                  6351 DONALDSON                                                                                 TROY              MI      48085‐1531
ADOLPH STURM                        5808 3 MILE RD                                                                                 BAY CITY          MI      48706‐9032
ADOLPH TUCKER                       410 DEERHURST AVE                                                                              CAMARILLO         CA      93012‐5128
ADOLPH V GIARROCCO                  3704 COLUMBIA COURT WAY                                                                        NEWTOWN SQUARE    PA      19073

ADOLPH WACHT                        147 GERTRUDE AVE                                                                               CAMPBELL          OH      44405
ADOLPH WALKER                       20965 LAHSER RD.                                                                               SOUTHFIELD        MI      48033
ADOLPH WARREN                       4634 DAVID ST                                                                                  INDIANAPOLIS      IN      46226‐2652
ADOLPH WASCHEK                      4 TEKENING WAY                                                                                 TRENTON           NJ      08690‐1628
ADOLPH WENDEL                       2064 E 228TH ST                                                                                EUCLID            OH      44117‐2046
ADOLPH ZAKRAJSEK                    3513 WILSON SHARPSVILLE RD                                                                     CORTLAND          OH      44410‐9475
ADOLPH, ALVIN G                     1431 W GENESEE AVE                                                                             FLINT             MI      48505‐1152
ADOLPH, CHERYL                      12312 CHANNEL CT                                                                               FENTON            MI      48430‐9735
ADOLPH, DALE L                      1087 RINN ST                                                                                   BURTON            MI      48509‐2327
ADOLPH, DALE LEE                    1087 RINN ST                                                                                   BURTON            MI      48509‐2327
ADOLPH, EUDORA F                    1531 COMMERCE SHRS                                                                             COMMERCE TWP      MI      48382‐1883
ADOLPH, FRANCES M                   8035 ARTESIA BEACH RD                                                                          SAINT HELEN       MI      48656‐9228
ADOLPH, ISAAC L                     4103 FLEMING RD                                                                                FLINT             MI      48504‐2127
ADOLPH, JEANNE M                    8336 WHIPPOORWILL DR                                                                           FORT WORTH        TX      76123‐1994
ADOLPH, KEITH L                     539 BERRY PATCH LN                                                                             WHITE LAKE        MI      48386‐2006
ADOLPH, LAWRENCE J                  11469 WASHBURN RD                                                                              COLUMBIAVILLE     MI      48421‐8813
ADOLPH, LENI M                      2205 NEW GARDEN RD APT 215                                                                     GREENSBORO        NC      27410‐1709
ADOLPH, LENI M                      2205 NEW GARDEN RD              APT 215                                                        GREENSBORO        NC      27410‐1709
ADOLPH, MICHAEL G                   PO BOX 228                                                                                     LENNON            MI      48449‐0228
ADOLPH, MYRON
ADOLPH, ORVILLE R                   7724 N WHITE RD                                                                                GRAYLING           MI     49738‐9233
ADOLPH, PATRICK O                   6559 BIRDIE CIR                                                                                GRAYLING           MI     49738‐7397
ADOLPH, ROBERT L                    9802 PALM WAY                                                                                  TAMPA              FL     33635‐1017
ADOLPH, ROGER A                     982 BRADLEY AVE                                                                                FLINT              MI     48503‐3176
ADOLPH, ROGER ALLEN                 982 BRADLEY AVE                                                                                FLINT              MI     48503‐3176
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Name                        Address1                        Address2                          Address3   Address4               City             State Zip
ADOLPH, RONALD EUGENE       1115 S CORNELL AVE                                                                                  FLINT             MI 48505‐1309
ADOLPH, RUBY J              4103 FLEMING RD                                                                                     FLINT             MI 48504
ADOLPH, STEPHEN             13974 KENTUCKY ST                                                                                   DETROIT           MI 48238‐2314
ADOLPH, TERRY L             5301 SCOTTSVILLE RD TRLR 84                                                                         BOWLING GREEN     KY 42104‐7813
ADOLPH, TERRY LEE           5301 SCOTTSVILLE RD             TRLR 84                                                             BOWLING GREEN     KY 42104‐7813
ADOLPHIA CLINE              9924 GRATIOT RD                                                                                     SAGINAW           MI 48609‐9407
ADOLPHO HERRERA             3501 WESTGROVE DR                                                                                   ARLINGTON         TX 76001‐5261
ADOLPHO JUAREZ              131 S 13TH ST                                                                                       SAGINAW           MI 48601‐1837
ADOLPHO NORIEGA             408 W MULBERRY ST                                                                                   DESHLER           OH 43516‐1018
ADOLPHSON, RUTH             500 E 4TH ST APT #213                                                                               SALEM             OH 44460‐2948
ADOLPHUS BAKER III          7455 BEAUREGARD CV                                                                                  MEMPHIS           TN 38125‐4224
ADOLPHUS CAST               19195 ELDRIDGE LN                                                                                   SOUTHFIELD        MI 48076‐1002
ADOLPHUS COX                120 E PULASKI AVE                                                                                   FLINT             MI 48505‐3314
ADOLPHUS DARBY JR           740 BABBITT RD                                                                                      EUCLID            OH 44123‐2530
ADOLPHUS E ROSS             801 COLD CREEK TRL                                                                                  NASHVILLE         TN 37211‐6842
ADOLPHUS K FOFANA           13 WINSTON DR.                                                                                      SOMERSET          NJ 08873
ADOLPHUS KILBOURN           925 S BARNES ST                                                                                     MASON             MI 48854‐1935
ADOLPHUS LYLES              5095 ELDRED ST                                                                                      FLINT             MI 48504‐1215
ADOLPHUS NORRINGTON JR      6414 EASTBRIAR DR                                                                                   LITHONIA          GA 30058‐8935
ADOLPHUS ROSS               801 COLD CREEK TRL                                                                                  NASHVILLE         TN 37211‐6842
ADOLPHUS STEWART            3716 BRAMBLETON PL                                                                                  FOREST HILL       TX 76119‐6766
ADOLPHUS WILLIAMS SR        3060 HUMPHRIES DR SE                                                                                ATLANTA           GA 30354‐2467
ADOMAITIS, JANICE L         4189 MAGUIRE CT NE                                                                                  GRAND RAPIDS      MI 49525‐9733
ADOMAITIS, LANA J           20522 PINE MEADOW DR                                                                                CLINTON TOWNSHIP MI 48036‐3802

ADOMAITIS, ONA              2122 PARKTON ST                                                                                     SUNNY HILLS      FL   32428‐3005
ADOMANIS ALBERT (325628)    BROOKMAN ROSENBERG BROWN &      17TH FLR, ONE PENN SQUARE WEST,                                     PHILADELPHIA     PA   19102
                            SANDLER                         30 SOUTH 15TH STREET
ADOMANIS, ALBERT            BROOKMAN ROSENBERG BROWN &      17TH FLR, ONE PENN SQUARE WEST,                                     PHILADELPHIA     PA   19102
                            SANDLER                         30 SOUTH 15TH STREET
ADOMAT, RICHARD A           269 ABERDEEN CT                                                                                     FLUSHING         MI   48433‐2659
ADOMATIS I I I, WILLIAM G   5111 SPRING MEADOWS DR                                                                              TROY             MI   48085‐6717
ADOMEIT, ANDREW B           15542 HUBBARD ST                                                                                    LIVONIA          MI   48154‐3150
ADOMEIT, MARK E             779 PHOENIX ST                                                                                      SOUTH HAVEN      MI   49090‐1535
ADOMEIT, OTTO               37675 IRENE DR                                                                                      STERLING HTS     MI   48312‐1933
ADOMITIS, JAMES             1050 STRATTON DR                                                                                    WATERFORD        MI   48328‐3931
ADOMITIS, JOHN J            36119 FERNWOOD ST                                                                                   WESTLAND         MI   48186‐4188
ADONA, PATSY J              810 BALTIMORE AVE                                                                                   ROSELLE          NJ   07203‐2310
ADONIAS GARCIA              1804 N GENESEE DR                                                                                   LANSING          MI   48915‐1228
ADONICA PORTER              PO BOX 189                                                                                          CHESTERFIELD     IN   46017‐0189
ADONIS ALEXANDER            4210 SUDBURY DR                                                                                     WARREN           MI   48092‐5143
ADONIS COOMBS               1328 HUTCHINS DR                                                                                    KOKOMO           IN   46901‐1978
ADONIZIO JOHN               118 PARNELL ST                                                                                      PITTSTON         PA   18640‐3342
ADONIZIO, CARMEN            44 TANTUM DR                                                                                        TRENTON          NJ   08610‐1623
ADONNA D KENNERLY           4059 KAMMER AVENUE                                                                                  DAYTON           OH   45417‐1124
ADORA CURRY                 2663 MONTEBELLO RD                                                                                  TOLEDO           OH   43607‐1366
ADORA JOHNSON               15 HANCOCK CT                                                                                       BATTLE CREEK     MI   49037‐2511
ADORACION BALL              305 MERCER DR                                                                                       JONESBORO        GA   30236‐5037
ADORACION O BALL            305 MERCER DR                                                                                       JONESBORO        GA   30236‐5037
ADORANTI ANGELINI           6281 LIMESTONE RD                                                                                   HOCKESSIN        DE   19707‐9169
ADORJAN, DIANA L            9423 E LIPPINCOTT BLVD                                                                              DAVISON          MI   48423‐8332
ADORNATO                    750 E ADAMS ST 613 JACOBSEN                                                                         SYRACUSE         NY   13210
ADORNATO, DOROTHY A         833 JAMES ST RM 108                                                                                 SYRACUSE         NY   13203‐2504
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Name                               Address1                             Address2                     Address3                   Address4                City              State Zip
ADORNO & YOSS LLP                  ATTORNEYS FOR GMAC, INC.             ATTN: CHARLES M. TATELBAUM   350 EAST LOS OLAS BLVD.,                           FT. LAUDERDALE     FL 33301
                                                                                                     SUITE 1700
ADORNO & YOSS P A                  350 E LAS OLAS BLVD 17TH FL                                                                                          FT LAUDERDALE     FL    33301
ADORNO & ZEDER                     2601 S BAYSHORE DR STE 1600                                                                                          MIAMI             FL    33133
ADORNO REY MONTANEZ                ADORNO, REY MONTANEZ                 RIVERA RODRIGUEZ JUAN C      P O BOX 4295                                       VEGA BAJA         PR    00694
ADORNO REY MONTANEZ                ADORNO, REY MONTANEZ                 PO BOX 6192                                                                     SAN JUAN          PR    00914‐6192
ADORNO, FELIX                      175 CHRISTOPHER COLUMBUS DR APT 4L                                                                                   JERSEY CITY       NJ    07302

ADORNO, GUALBERTO                  69 N 9TH ST APT 102                                                                                                  NEWARK            NJ    07107‐1175
ADORNO, JUAN B                     665 N ENDEAVOUR DR                                                                                                   WINTER SPGS       FL    32708‐5164
ADORNO, MARTA I                    222 TALMADGE ST                                                                                                      NEW BRUNSWICK     NJ    08901‐3037
ADORNO, REY
ADORNO, REY MONTANEZ               RIVERA RODRIGUEZ JUAN C              PO BOX 4295                                                                     VEGA BAJA         PR    00694‐4295
ADOT                                                                    2350 S. 22ND AVE             MAIL DROP 071R                                     PHOENIX           AZ    85009
ADP                                ADP DEALER SERVICES                  PRESIDENT                    1950 HASSELL RD                                    HOFFMAN ESTATES   IL    60169‐6300

ADP                                ATTN: GENERAL COUNSEL                1 ADP BLVD                                                                      ROSELAND          NJ    07068
ADP                                STEVE OWEN                           1051 SE SUNNYSIDE ROAD                                                          CLACKAMAS         OR    97015
ADP                                5607 NEW KING STREET                                                                                                 TROY              MI    48098
ADP CANADA CO.                     ATTN: GENERAL COUNSEL                3250 BLOOR ST W              16TH FLOOR                 ETOBICOKE ON M8X 2X9
                                                                                                                                CANADA
ADP CANADA CO.                     1210 SHEPPARD AVE E FL 6TH                                                                   NORTH YORK ON M2K 1E3
                                                                                                                                CANADA
ADP CANANDA CO.                    ATTN: GENERAL COUNSEL                3250 BLOOR ST W              16TH FLOOR                 ETOBICOKE ON M8X 2X9
                                                                                                                                CANADA
ADP CO.                            ATTN: GENERAL COUNSEL                1 ADP BLVD                                                                      ROSELAND          NJ    07068
ADP COMMERCIAL LEASING             15 WATERVIEW BLVD                                                                                                    PARSIPPANY        NJ    07054
ADP COMMERCIAL LEASING, LLC        15 WATERVIEW BLVD.                                                                                                   PARSIPPANY        NJ    07054
ADP COMMERCIAL LEASING, LLC        ADP COMMERCIAL LEASING, LLC                                       15 WATERVIEW BLVD.                                 PARSIPPANY        NJ    07054
ADP DEALER SERVICES                PRESIDENT                            1950 HASSELL RD                                                                 HOFFMAN ESTATES   IL    60169‐6308

ADP DEALER SERVICES                SIXTH FLOOR                          1210 SHEPPARD AVE E                                     NORTH YORK ON M2K 1E3
                                                                                                                                CANADA
ADP DEALER SERVICES                1950 HASSELL RD                                                                                                      HOFFMAN ESTATES    IL   60169‐6308

ADP DEALER SERVICES                10151 S.E. SUNNYSIDE RD.                                                                                             CLACKAMAS         OR    97015
ADP DEALER SERVICES                5807 NEW KING STREET 3RD FLOOR                                                                                       TROY              MI    48098
ADP DEALER SERVICES                5 ADP BLVD                                                                                                           ROSELAND          NJ    07068‐1706
ADP DEALER SERVICES                1210 SHEPPARD AVE E FL 6TH                                                                   NORTH YORK ON M2K 1E3
                                                                                                                                CANADA
ADP DEALER SERVICES GROUP          ADP DEALER SERVICES GROUP                                         1950 HASSELL RD.                                   HOFFMAN ESTATES    IL   60195

ADP DEALER SERVICES GROUP          1950 HASSELL RD                                                                                                      HOFFMAN ESTATES    IL   60169‐6300

ADP DEALER SERVICES LTD
ADP IN.C                           1950 HASSELL RD                                                                                                      HOFFMAN ESTATES    IL   60169‐6300

ADP INC                            10 INVERNESS CENTER PKY STE 32                                                                                       BIRMINGHAM        AL    35242
ADP INC                            5680 NEW NORTHSIDE DR NW                                                                                             ATLANTA           GA    30328‐4668
ADP INVESTOR COMMUNICATION SVC     PO BOX 23487                                                                                                         NEWARK            NJ    07189‐0487
ADP PROFIT POINT GROUP ASC ‐ MNI   ATTN: CORPORATE OFFICER/AUTHORIZED   1950 HASSELL RD                                                                 HOFFMAN ESTATES   IL    60169‐6308
                                   AGENT
ADP‐DS ARG                         5607 NEW KING DR                                                                                                     TROY              MI    48098
ADPRO TEAM SPORTS                  225 LOUISIANA STREET                                                                                                 BUFFALO           NY    14204
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Name                                  Address1                        Address2                     Address3             Address4                 City            State   Zip
ADR, INC.                             818 LIONS DR                                                                                               TROY              IL    62294‐2440
ADRA MARBUTT                          109 WOODARD DR                                                                                             PHIL CAMPBELL    AL     35581‐3556
ADRADOS, PABLITO S                    13634 BRANFORD ST                                                                                          ARLETA           CA     91331‐6209
ADRAGNA, SHERYL A                     301 DOROTHY DR                                                                                             LAKE ORION       MI     48362‐1033
ADRAGNA, VINCENT J                    2505 FARMBROOK TRAIL                                                                                       OXFORD           MI     48370‐2305
ADRAINNE E PACHECO                    6009 LILY ROCK DR                                                                                          FONTANA          CA     92336‐4575
ADRAINNE PACHECO                      6009 LILY ROCK DR                                                                                          FONTANA          CA     92336‐4575
ADRAN WESTFALL                        8721 GOTHAM RD                                                                                             GARRETTSVILLE    OH     44231‐9785
ADRAY APPLIANCE & PHOTO CENTER        20219 CARLYSLE ST                                                                                          DEARBORN         MI     48124‐3804
ADREAN JAMES & LIZ                    9047 GALE RD                                                                                               WHITE LAKE       MI     48386‐1412
ADRELL FORTHENBERRY                   3744 N WHITTIER PL                                                                                         INDIANAPOLIS     IN     46218‐1866
ADREN JACKSON                         304 BLUEBONNET ST                                                                                          TRINIDAD         TX     75163‐3094
ADRENNA CROSE                         PO BOX 182                                                                                                 MARKLEVILLE      IN     46056‐0182
ADREW WAGNER                          6573 COUNTY ROAD D50                                                                                       EDGERTON         OH     43517
ADRIA DUARTE MURRIETA                 8744 W. ROYAL PALM RD                                                                                      PEORIA           AZ     85345‐2567
ADRIA FINANCE                         64010 NW 82 ND AVE. 0#0037                                                                                 MIAMI            FL     33166
ADRIA J SMITH                         52 SPRINGFIELD AVE                                                                                         ROCHESTER        NY     14609
ADRIAANSEN TRUCKING INC               4627 SMITH RD                                                                                              MARION           NY     14505‐9402
ADRIAENS THERESA A                    9908 BOULDER CT                                                                                            DAVISBURG        MI     48350‐2053
ADRIAENS, VIRGINIA HELEN              37982 DOR‐SAL DR                                                                                           STERLING HTS     MI     48312‐2502
ADRIAENS, VIRGINIA HELEN              37982 DOR SAL DR                                                                                           STERLING HTS     MI     48312‐2502
ADRIAN ‐ ADSCOM CORPORATION           6711 BAYMEADOW DR STE K                                                                                    GLEN BURNIE      MD     21060‐6401
ADRIAN ‐ ADSCOM CORPORATION
ADRIAN ‐ CANFIELD EQUIPMENT
ADRIAN ‐ CANFIELD EQUIPMENT           906 JAMES ST                                                                                               ADRIAN           MI     49221‐3914
ADRIAN ‐ COMMERCIAL TRUCK & VAN       4800 BUFORD HWY                                                                                            NORCROSS         GA     30071‐2704
ADRIAN ‐ COMMERCIAL TRUCK & VAN
ADRIAN ‐ COMMERCIAL TRUCK & VAN (BE

ADRIAN ‐ COMMERCIAL TRUCK & VAN     3649 PINE LN SE                                                                                              BESSEMER         AL     35022‐5641
(BESSEMER)
ADRIAN ‐ COMMERCIAL TRUCK & VAN EQU

ADRIAN ‐ COMMERCIAL TRUCK & VAN       3649 PINE LN SE                                                                                            BESSEMER         AL     35022‐5641
EQUIPMENT
ADRIAN ‐ COMMERCIAL TRUCK & VAN       3834 COMMUNITY RD                                                                                          BRUNSWICK        GA     31520‐2820
EQUIPMENT
ADRIAN ‐ COMMERCIAL TRUCK & VAN       3834 COMMUNITY RD                                                                                          BRUNSWICK        GA     31520‐2820
EQUIPMENT INC
ADRIAN ‐ FRONTIER TRUCK EQUIPMENT     7167 E 53RD PL                                                                                             COMMERCE CITY    CO     80022‐4828

ADRIAN ‐ FRONTIER TRUCK EQUIPMENT

ADRIAN A FAUVIE                       3319 HOFFMAN NORTON RD NW                                                                                  WARREN          OH      44481‐9425
ADRIAN ADAMS                          BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                                 BOSTON HTS.     OH      44236
ADRIAN ALLEN                          615 TWIN OAK DR                                                                                            PITTSBURGH      PA      15235‐2633
ADRIAN AMBLER JR                      1740 ROLFE RD                                                                                              MASON           MI      48854‐9249
ADRIAN AND JOANNE SWANSON             216 SUNSET AVE N                                                                                           EDMONDS         WA      98020
ADRIAN ANIMAL CLINIC                  PO BOX 686                                                                                                 BROOKLYN        MI      49230‐0686
ADRIAN ARCHER                         1620 PILGRIM AVE                                                                                           BRONX           NY      10461‐4808
ADRIAN B CALLAHAN                     ROBERT W PHILLIPS               SIMMONS BROWDER GIANARIS     707 BERKSHIRE BLVD   PO BOX 521               EAST ALTON      IL      62024
                                                                      ANGELIDES & BARNERD LLC
ADRIAN BALMACEDA                      7509 DYKE RD 230727                                                                                        IRA              MI     48023
ADRIAN BANKS                          2664 GAIL PL                                                                                               NEWFANE          NY     14108‐1134
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Name                                   Address1                       Address2                  Address3      Address4               City             State   Zip
ADRIAN BARTON                          4833 FOLGER DRIVE X                                                                           COLUMBUS          OH     43227
ADRIAN BESS                            PO BOX 104                                                                                    NEW CONCORD       KY     42076‐0104
ADRIAN BLACK                           5832 S 150 E                                                                                  JONESBORO         IN     46938‐1528
ADRIAN BLAUWKAMP                       142 PARKSIDE DR                                                                               ZEELAND           MI     49464‐2043
ADRIAN BOWLING                         309 BALBOA AVE                                                                                FORT MYERS        FL     33905
ADRIAN BRASHEAR                        6540 E HIGHWAY 36                                                                             OLYMPIA           KY     40358‐8502
ADRIAN BRINKS                          2756 SUN VALLEY ST                                                                            JENISON           MI     49428‐8712
ADRIAN BROOKS SR                       359B SPORTSMANS CLUB RD                                                                       LEESBURG          GA     31763‐3158
ADRIAN BURGER                          1045 LARKFIELD DR                                                                             DELAND            FL     32724‐1440
ADRIAN C MILLER                        512 LIBERTY ST                                                                                BRADFORD          OH     45308‐1145
ADRIAN CANCHOLA                        30901 30 MILE RD                                                                              LENOX             MI     48050‐1711
ADRIAN CARRIERS INC                    PO BOX 20                      1001 E 1ST AVE                                                 MILAN              IL    61264‐0020
ADRIAN CHRISTIAN                       120 FAITH LOOP                                                                                HARVEST           AL     35749‐8254
ADRIAN COLE JR                         7300 N WHITNEYVILLE RD                                                                        MIDDLEVILLE       MI     49333‐9450
ADRIAN COLLEGE                         110 S MADISON ST                                                                              ADRIAN            MI     49221‐2518
ADRIAN COLLIER                         112 NE 50TH CT APT 1024                                                                       KANSAS CITY       MO     64118‐4519
ADRIAN COON                            1424 SW 20TH ST                                                                               CAPE CORAL        FL     33991‐3265
ADRIAN COOPER                          8920 ESTELLE MANOR CIRCLE                                                                     OKLAHOMA CITY     OK     73135‐6168
ADRIAN COTORA                          13427 WINDHAM DR                                                                              WASHINGTON TWP    MI     48094‐3175

ADRIAN D SPARKS                     135 MAPLE AVE                                                                                    CLAIRTON          PA     15025‐1834
ADRIAN DEBOODE                      7079 MAGNOLIA DR                                                                                 JENISON           MI     49428‐8725
ADRIAN DOWLAND                      11530 N HARDING AVE                                                                              HARRISON          MI     48625‐8677
ADRIAN ENVIRONMENTAL MANAGEMENT, C/O KENNETH RICHARDS                 7533 WILLOW CREEK DRIVE                                        CANTON            MI     48187
INC.
ADRIAN ENVIRONMENTAL MGMT INC       7533 WILLOW CREEK DR                                                                             CANTON            MI     48187‐2427
ADRIAN EQUIP. ‐ CARTER INDUSTRIES   950 WHIPPLE RD                                                                                   UNION CITY        CA     94587‐1347
ADRIAN EQUIP. ‐ CARTER INDUSTRIES
ADRIAN EQUIPMENT ‐ A. G. VAN & TRUC

ADRIAN EQUIPMENT ‐ A. G. VAN & TRUCK   2959 IRVING BLVD                                                                              DALLAS            TX     75247‐6210

ADRIAN EQUIPMENT ‐ A.G. VAN & TRUCK

ADRIAN EQUIPMENT ‐ A.G. VAN & TRUCK 2525 IRVING BLVD                                                                                 DALLAS            TX     75207‐5911
EQUIPMENT
ADRIAN EQUIPMENT ‐ CANFIELD EQUIPME

ADRIAN EQUIPMENT ‐ CANFIELD            22077 MOUND RD                                                                                WARREN            MI     48091‐3587
EQUIPMENT
ADRIAN EQUIPMENT ‐ CARTER INDUSTRIE

ADRIAN EQUIPMENT ‐ CARTER INDUSTRIES 950 WHIPPLE RD                                                                                  UNION CITY        CA     94587‐1347

ADRIAN EQUIPMENT ‐ COMMERCIAL
TRUCK
ADRIAN EQUIPMENT ‐ COMMERCIAL          4800 BUFORD HWY                                                                               NORCROSS          GA     30071‐2704
TRUCK & VAN EQU
ADRIAN EQUIPMENT ‐ FRONTIER TRUCK E

ADRIAN EQUIPMENT ‐ FRONTIER TRUCK      7167 E 53RD PL                                                                                COMMERCE CITY     CO     80022‐4828
EQUIPMENT
ADRIAN EQUIPMENT CO                    251 ENTERPRISE DR                                                                             WENTZVILLE       MO      63385‐5616
ADRIAN EQUIPMENT CO. ‐ MO              251 ENTERPRISE DR                                                                             WENTZVILLE       MO      63385‐5616
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Name                            Address1                         Address2                         Address3               Address4                   City                State Zip
ADRIAN EQUIPMENT CO. ‐ MO
ADRIAN EQUIPMENT COMPANY        JEFF WARNECKE                    906 JAMES ST                                                                       ADRIAN              MI    49221‐3914
ADRIAN EQUIPMENT‐ MO            251 ENTERPRISE DR                                                                                                   WENTZVILLE          MO    63385‐5616
ADRIAN EVANS                    3712 THE ALAMEDA                                                                                                    BALTIMORE           MD    21218‐2115
ADRIAN F SELIG TR UA 05‐28‐86   1416 N PENNSYLVANIA STREET                                                                                          INDIANAPOLIS        IN    46202
ADRIAN FRANK                    454 ROUTE DE LONGWY                                                                      L 1940 LUXEMBOURG EUROPE

ADRIAN GAINES                   7956 PORSCHE DR APT C                                                                                               INDIANAPOLIS        IN    46268‐2094
ADRIAN GODINEZ                  207 SHADOW GLEN LN                                                                                                  WENTZVILLE          MO    63385‐3683
ADRIAN GRAF                     CREDIT SUISSE                    UETLIBERGSTRASSE 231             P.O. BOX 100           8070 ZURICH SWITZERLAND
ADRIAN GRAF                     CREDIT SUISSE ON BEHALF OF THE   DEFAULT DEPARTMENT ‐ SUWA 42     UETLIBERGSTRASSE 231                              8070 ZURICH
                                NOTESHOLD
ADRIAN GULICH                   316 W ENGLEWOOD AVE                                                                                                 TEANECK              NJ   07666‐2830
ADRIAN H BRINKS                 2756 SUN VALLEY ST                                                                                                  JENISON              MI   49428‐8712
ADRIAN H JONES                  141 SAKONNET TRL                                                                                                    PINEHURST            NC   28374
ADRIAN HANUSSEK                 ANDREAS‐SCHECK‐STR 25                                                                    75417 MUHLACKER, GERMANY

ADRIAN HATTON                   90 COUNTY ROAD LN                                                                                                   MOREHEAD            KY    40351‐9528
ADRIAN HOEBEKE                  0‐11890 NICKELS DRIVE                                                                                               GRAND RAPIDS        MI    49534
ADRIAN HUBER                    985 CRAMERTOWN LOOP                                                                                                 MARTINSVILLE        IN    46151‐7305
ADRIAN HUMPHRIES                32415 S AMARUGIA RD                                                                                                 ARCHIE              MO    64725‐9139
ADRIAN IOAN NICULESCU
ADRIAN IRIVNE
ADRIAN J COMBE III
ADRIAN JAMES                    35756 GRANDVIEW CT                                                                                                  FARMINGTON HILLS     MI   48335‐2463

ADRIAN JELINEK                  N4214 DODGE RD RR3                                                                                                  BLACK RIVER FALLS    WI   54615

ADRIAN JONES                    1114 MORNING SUN LN                                                                                                 BEECH GROVE         IN    46107‐2483
ADRIAN JORDAN                   2765 FONTAINEBLEAU DR                                                                                               DORAVILLE           GA    30360‐1253
ADRIAN KAI BRUNNHOEFER          LEHMKAUTSTRASSE 3                                                                        65931 FRANKFURT GERMANY

ADRIAN KAI BRUNNH╓FER           LEHMKAUTSTRASSE 3                65931 FRANKFURT
ADRIAN KEY                      329 W BAKER ST                                                                                                      FLINT               MI    48505‐4102
ADRIAN KING                     3757 PREAKNESS CT                                                                                                   CLEBURNE            TX    76033‐8558
ADRIAN KUHLMAN                  27235 STANDLEY RD                                                                                                   DEFIANCE            OH    43512‐6916
ADRIAN L FORDHAM                965 LANTERMAN AVE.                                                                                                  YOUNGSTOWN          OH    44511
ADRIAN LADNER                   5604 W HILLS RD                                                                                                     FORT WAYNE          IN    46804‐4353
ADRIAN LEWIS                    71 CART PATH CT                                                                                                     SAINT PETERS        MO    63304‐8551
ADRIAN LOYD                     2719 THOMAS RD                                                                                                      BOONEVILLE          AR    72927‐6692
ADRIAN M ELLINGTON              440 MULFORD AVE                                                                                                     DAYTON              OH    45417‐2036
ADRIAN MACDONALD
ADRIAN MARR                     3392 KIESEL RD                                                                                                      BAY CITY            MI    48706‐2471
ADRIAN MARTINEZ                 112 BUDLONG ST                                                                                                      ADRIAN              MI    49221‐1942
ADRIAN MCALEER                  384 SECRIST LN                                                                                                      GIRARD              OH    44420‐1111
ADRIAN MIERAS                   7658 22ND AVE                                                                                                       JENISON             MI    49428‐7760
ADRIAN MILLER                   512 LIBERTY ST                                                                                                      BRADFORD            OH    45308‐1145
ADRIAN MINNICK MARITAL TRUST    ADRIAN MINNICK TRUSTEE           U/A DTD 7‐19‐1988 FBO ADRIAN     2100 JOLINDA DRIVE                                COLUMBUS            IN    47203‐3557
                                                                 MINNICK MARITAL TRUST
ADRIAN MINNICK REV LVG TRUST    ADRIAN MINNICK TRUSTEE           U/A DTD 7‐19‐1988 FBO ADRIAN E   2100 JOLINDA DRIVE                                COLUMBUS             IN   47203‐3557
                                                                 MINNICK REV LVG TRUST
ADRIAN MOSIER                   510 E SOUTH B ST                                                                                                    GAS CITY             IN   46933‐1908
ADRIAN NAVARRETTE               1828 W PEREZ AVE                                                                                                    VISALIA              CA   93291‐2430
ADRIAN NEEDAM                   211 ERMINE DR                                                                                                       NEW CASTLE           DE   19720‐8604
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Name                        Address1                          Address2                     Address3                   Address4                  City            State Zip
ADRIAN ORTEGA
ADRIAN PALACIOS             442 W 31ST ST                                                                                                       CHICAGO          IL   60616‐3136
ADRIAN PEREZ                5300 W 16TH AVE APT 440                                                                                             HIALEAH          FL   33012
ADRIAN PERIC
ADRIAN POP                  GOERDELERSTRASSE 12                                                                       WIESBADEN 65197 GERMANY

ADRIAN PUCKETT              7650 RAINVIEW CT                                                                                                    HUBER HEIGHTS   OH    45424‐2423
ADRIAN R KEY                329 W BAKER ST                                                                                                      FLINT           MI    48505‐4102
ADRIAN ROMAN                19 FELDBERGWEG                    63069 OFFENBACH AM MAIN
ADRIAN SCHMIEDER            ZEILSHEIMER STR. 43                                                                       65719 HOFHEIM, GERMANY
ADRIAN SCOTT                93 JEFFERSON CT                                                                                                     PIEDMONT         SC   29673‐9777
ADRIAN SCOTT                1033 60TH ST                                                                                                        TUSCALOOSA       AL   35405‐5507
ADRIAN SHELTON              236 BROOKVIEW DR                                                                                                    ANDERSON         IN   46016‐6809
ADRIAN SMITH                3315 N PAULINE AVE                                                                                                  MUNCIE           IN   47304‐1942
ADRIAN SMITH                APT B                             2812 MERSEY LANE                                                                  LANSING          MI   48911‐1476
ADRIAN SPARKS               135 MAPLE AVE                                                                                                       CLAIRTON         PA   15025‐1834
ADRIAN SPAULDING            800 ENERGY CENTER BLVD APT 3209                                                                                     NORTHPORT        AL   35473‐2733
ADRIAN STEEL CO
ADRIAN STEEL CO             251 ENTERPRISE DR                                                                                                   WENTZVILLE      MO    63385‐5616
ADRIAN STEEL CO             906 JAMES ST                                                                                                        ADRIAN          MI    49221‐3914
ADRIAN STEEL CO             JEFF WARNECKE                     906 JAMES ST                                                                      ADRIAN          MI    49221‐3914
ADRIAN STEEL CO             JEFF WARNECKE                     906 JAMES STREET                                                                  MINNEAPOLIS     MN    55447
ADRIAN STEEL COMPANY        JEFF WARNECKE                     906 JAMES ST                                                                      ADRIAN          MI    49221‐3914
ADRIAN STEEL COMPANY        JEFF WARNECKE                     906 JAMES STREET                                                                  MINNEAPOLIS     MN    55447
ADRIAN STEEL/ADSCOM CORP.   6711 BAYMEADOW DR STE K                                                                                             GLEN BURNIE     MD    21060‐6401
ADRIAN STEEL/ADSCOM CORP.
ADRIAN STEEL/UPFITTING CO   ADRIAN STEEL COMPANY              906 JAMES ST                                                                      ADRIAN          MI    49221‐3914
ADRIAN SWAN I I             1310 LAKEVIEW DR                                                                                                    CLARE           MI    48617‐9198
ADRIAN T MCALEER            384 SECRIST LN                                                                                                      GIRARD          OH    44420‐1111
ADRIAN TAYLOR               340 HARRIET ST.                                                                                                     DAYTON          OH    45408‐2022
ADRIAN TORRES               1120 CERRITOS DR                                                                                                    FULLERTON       CA    92835‐4020
ADRIAN TOWNS                4140 ATLAS RD                                                                                                       DAVISON         MI    48423‐8635
ADRIAN WARFORD              406 E SOUTH HOLLY RD                                                                                                FENTON          MI    48430‐2978
ADRIAN WILLIAMS             101 THROCKMORTON ST                                                                                                 FREEHOLD        NJ    07728‐1617
ADRIAN WILLIAMS             101 THROCKMORTON                                                                                                    FREEHOLD        NJ    07728‐1617
ADRIAN WISE                 4839 WEISS ST                                                                                                       SAGINAW         MI    48603‐3855
ADRIAN WISE                 16906 ARBOR CREEK DR                                                                                                PLAINFIELD      IL    60586‐5113
ADRIAN WYATT ARTERBURN      C/O FOSTER & SEAR, LLP            817 GREENVIEW DRIVE                                                               GRAND PRAIRIE   TX    75050
ADRIAN ZAPATA               ATTN: ROBERT E AMMONS             THE AMMONS LAW FIRM, LLP     3700 MONTROSE BLVD                                   HOUSTON         TX    77006
ADRIAN'S AUTOCARE CENTER    102 UNIVERSITY DR N                                                                                                 FARGO           ND    58102
ADRIAN, ANNE                4032 LAS PASAS WAY                                                                                                  SACRAMENTO      CA    95864‐3068
ADRIAN, CLEATUS L           4495 RUNNING DEER TRAIL                                                                                             PIGEON          MI    48755‐9700
ADRIAN, CYNTHIA O           3075 LANNING DR                                                                                                     FLINT           MI    48506
ADRIAN, CYNTHIA ORTIZ       3075 LANNING DR                                                                                                     FLINT           MI    48506
ADRIAN, DAVID H             807 BRIARWOOD LN                                                                                                    FENTON          MI    48430‐1874
ADRIAN, KENNETH L           4324 LALONDE RD                                                                                                     STANDISH        MI    48658‐9467
ADRIAN, MICHAEL W           7086 DOVE LN                                                                                                        DIMONDALE       MI    48821‐8748
ADRIAN, PAUL F              5770 SCOTCH SETTLEMENT RD                                                                                           ALMONT          MI    48003
ADRIAN, ROGER J             2903 DARTMOUTH DR                                                                                                   MIDLAND         MI    48642‐4629
ADRIAN, RUTH ANN            2858 SUNSET DR.LOT 35                                                                                               BROOKLYN        MI    49230‐9346
ADRIANA DE LA CRUZ          LAW OFFICES OF FEDERICO C SAYRE   C/O JAMES RUMM ATTORNEY AT   900 N BROADWAY 4TH FLOOR                             SANTA ANA       CA    92701
                                                              LAW
ADRIANA DE ROO              6165 80TH AVE                     C/O RONALD W. DE ROO                                                              ZEELAND         MI    49464‐9576
ADRIANA G TOMLIN            421 LAFAYETTE                                                                                                       NILES           OH    44446‐3112
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Name                              Address1                         Address2                      Address3   Address4                  City                State   Zip
ADRIANA GUISIS                    311 SICOMAC AVE APT 209                                                                             WYCKOFF              NJ     07481‐2125
ADRIANA JAIME                     1535 25TH ST                                                                                        DETROIT              MI     48216‐1467
ADRIANA JONES                     3225 FOREST HILL AVE                                                                                FLINT                MI     48504‐2653
ADRIANA KARABOUTIS                460 LAURELWOOD CT                                                                                   BLOOMFIELD HILLS     MI     48302‐1151
ADRIANA MEMMI                     VIA ARTIGIANELLI 4 MONZA
ADRIANA PACITTO                   16307 QUAIL RIDGE CT                                                                                FENTON               MI     48430‐9137
ADRIANA PAVANEL                   VIA COTONIFICIO N 5                                                                                 PORDENONE                   33170
ADRIANA TOMLIN                    421 LAFAYETTE AVE                                                                                   NILES               OH      44446‐3112
ADRIANE S BAGLEY                  1406 21ST WAY S APT 1                                                                               BIRMINGHAM          AL      35205
ADRIANE TURNER                    13306 THORNRIDGE DRIVE                                                                              GRAND BLANC         MI      48439‐8844
ADRIANE WHITE                     27957 LARSON LN                                                                                     FARMINGTON HILLS    MI      48331‐3039

ADRIANNA REICHERT                 367 MAJESTY GLN                                                                                     GLEN BURNIE         MD      21061‐6233
ADRIANNA WILLIAMS                 575 GOLDEN DR                                                                                       KALAMAZOO           MI      49001‐3792
ADRIANNA ZAKSEK                   413 RHODA AVE                                                                                       YOUNGSTOWN          OH      44509‐1824
ADRIANNE A WINKLER                PO BOX 495                                                                                          OVID                MI      48866‐0495
ADRIANNE D MCCLOUD                4137 RIVERSHELL LN                                                                                  LANSING             MI      48911‐1908
ADRIANNE IVEY                     367 KOERBER DR                                                                                      DEFIANCE            OH      43512‐3350
ADRIANNE LAZZARI                  577 WOODBINE AVE. S.E.                                                                              WARREN              OH      44483‐6050
ADRIANNE MANN                     8129 BLANCHA DR                                                                                     UNIVERSITY CY       MO      63130‐2004
ADRIANNE WINKLER                  PO BOX 495                                                                                          OVID                MI      48866‐0495
ADRIANO
ADRIANO BONETTI                   VIALE ZAVARITT 76                24020 GORLE (BG)
ADRIANO BRAGA                     VIALE KRASNODAR 130                                                                                 FERRARA              IA     44100
ADRIANO CASTRO                    201 178TH DR APT 538                                                                                SUNNY ISLES BEACH    FL     33160‐2898

ADRIANO DE PAOLI                  VIA MILANO 50                                                             47042 CESENATICO ITALIA
ADRIANO FERREIRA                  8 PORTLAND PL                                                                                       YONKERS              NY     10703
ADRIANO LIBECCIO
ADRIANO SANSON                    VIALE EUROPA 11                  31045 MOTTA DI LIVENZA (TV)
ADRIANO, GEORGEANN                5298 KIRK RD                                                                                        AUSTINTOWN          OH      44515‐5026
ADRIANO, VICKI R                  5411 VIRGINIA DR                                                                                    AUSTINTOWN          OH      44515‐1843
ADRIANO,MONICA,COSIMO DE MILATO   VIA SIENA, 6                                                                                        LEGNANO                     20025

ADRIANSON, ARTHUR L               501 ASH LN                                                                                          GAS CITY             IN     46933‐1206
ADRIANSON, PHILLIP M              601 E NORTH A ST                                                                                    GAS CITY             IN     46933‐1510
ADRID, CONSUELO E                 3989 CATAMARCA DR                                                                                   SAN DIEGO            CA     92124‐3405
ADRIEN CARLIER                    20884 MANCHESTER BLVD                                                                               HARPER WOODS         MI     48225‐1808
ADRIEN GOGEUN ET FILS LTD.        4564 ROUTE 134                                                            COCAGNE NB E4R 2Z3
                                                                                                            CANADA
ADRIEN GOUDREAU                   194 VINEYARD AVE                                                                                    HIGHLAND            NY      12528‐2327
ADRIEN, SHARON G                  34 WOODBINE AVE                                                                                     CONCORD             NH      03303‐3452
ADRIENE HOGUE                     144 STABLESTONE DRIVE                                                                               BELLEVILLE          IL      62221‐6802
ADRIENNE & HOWARD GOLDNER         2847 LEXINGTON LANE                                                                                 HIGHLAND PARK       IL      60035
ADRIENNE ADAMS                    7300 WESTMINSTER CIR                                                                                GRAND BLANC         MI      48439‐9070
ADRIENNE AUGER                    16322 PURCELL RD                                                          CORNWALL ON K6H5R5
                                                                                                            CANADA
ADRIENNE BIERFREIND               6728 EAST LISERON                                                                                   BOYNTON BEACH       FL      33437‐6483
ADRIENNE BILLIAU                  1173 WHISPERING KNOLL LN                                                                            ROCHESTER           MI      48306‐4177
ADRIENNE BOWES                    412 HOUGHTON RD                                                                                     SAGAMORE HILLS      OH      44067‐1116
ADRIENNE BRANNY                   1584 UNIVERSITY AVE                                                                                 LINCOLN PARK        MI      48146‐1641
ADRIENNE CHAMBERS                 1790 E. 54TH. ST.                APT. 232                                                           INDIANAPOLIS        IN      46220
ADRIENNE D SIMS                   1993 EWING ESTATES DR                                                                               DACULA              GA      30019
ADRIENNE DICKENS                  560 CHESAPEAKE LN                                                                                   SOUTHLAKE           TX      76092‐8106
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Name                               Address1                       Address2                       Address3   Address4               City               State   Zip
ADRIENNE HUERTA                    PO BOX 656791                                                                                   SAN ANTONIO         TX     78265
ADRIENNE KANTER                    2567 WATER OAKS DR                                                                              ORCHARD LAKE        MI     48324‐2480
ADRIENNE L DAVIS                   4098 EASTLAWN AVE                                                                               YOUNGSTOWN          OH     44505‐1527
ADRIENNE N PETTIS                  666 W BETHUNE ST APT 202                                                                        DETROIT             MI     48202‐2741
ADRIENNE NEAL                      283 NANCY LN                                                                                    SAN JOSE            CA     95127‐3023
ADRIENNE NICHOLS                   48599 MICHAYWE DR                                                                               MACOMB              MI     48044‐2308
ADRIENNE OLIVER                    3637 EVERGREEN PKWY                                                                             FLINT               MI     48503‐4531
ADRIENNE PEREZ                     11322 MISTY ISLE LN                                                                             RIVERVIEW           FL     33579‐9705
ADRIENNE PIETRAS                   16 BIVONA LN LOT 14                                                                             NEW WINDSOR         NY     12553‐7220
ADRIENNE PUCKETT                   51374 JOHNS DR                                                                                  CHESTERFIELD        MI     48047‐1465
ADRIENNE ROBERTS                   46 COUNTRY CLUB DR                                                                              LARGO               FL     33771‐5607
ADRIENNE RUEDIGER                  6347 GORE RD                                                                                    ASHTABULA           OH     44004
ADRIENNE SEWARD                    54 BOOKER CIR                                                                                   NEW CASTLE          DE     19720‐3649
ADRIENNE SHANNON                   PO BOX 21302                                                                                    DETROIT             MI     48221‐0302
ADRIENNE SIEGEL                    333 EAST 68TH ST APT 6F                                                                         NEW YORK            NY     10065
ADRIENNE SMITH                     84 GATES ST                                                                                     SLOAN               NY     14212‐2254
ADRIENNE SUMERA                    THE MANORS (SHATTUCK MANORS)   ROOM #229                                                        SAGINAW             MI     48603
ADRIENNE TESTI                     5971 POETRY CT                                                                                  NORTH FORT MYERS    FL     33903‐4500

ADRIENNE TILLMAN                   7418 FLORISSANT RD                                                                              NORMANDY           MO      63121‐4839
ADRIENNE VOLLMERT                  C/O COONEY AND CONWAY          120 NORTH LASALLE 30TH FLOOR                                     CHICAGO            IL      60602
ADRIENNE WALLS                     26128 PRINCETON ST                                                                              INKSTER            MI      48141‐2443
ADRIENNE WEISS                     30595 LONGCREST ST                                                                              SOUTHFIELD         MI      48076‐1597
ADRIENNE WHEELER
ADRIENNE WILKINS                   15424 S GREENWOOD ST                                                                            OLATHE             KS      66062‐3460
ADRINA KERESZTES                   595 W HOWELL RD                                                                                 MASON              MI      48854‐9638
ADRION P HAWES                     5037 FORTMAN DR                                                                                 DAYTON             OH      45418‐2232
ADRION SR, WALTER R                725 120TH AVE                                                                                   MARTIN             MI      49070‐9738
ADRION, ROBERT O                   11815 THOMPSON RD                                                                               FREEPORT           MI      49325‐9605
ADROIT SOFTWARE & CONSULTING I     24 EMERSON PLZ W                                                                                EMERSON            NJ      07630‐1826
ADROIT SOFTWARE & CONSULTING INC   24 EMERSON PLZ W                                                                                EMERSON            NJ      07630‐1826

ADRON BLANTON                      813 MULBERRY ST                                                                                 LEWISBURG          OH      45338‐9583
ADRON CONN                         13415 S HORRELL RD                                                                              FENTON             MI      48430‐3005
ADRON DAVIS                        5888 N 418 W                                                                                    MARION             IN      46952‐9801
ADRON ROBINSON                     217 ROSSMORE ST                                                                                 ROCHESTER          NY      14606‐5521
ADRONICS / ELROB MFG. CORP.        KAREN ROBINSON                 9 SAND PARK RD                                                   CEDAR GROVE        NJ      07009‐1243
ADRONICS / ELROB MFG. CORP.        KAREN ROBINSON                 9 SAND PARK RD.                                                  BARBERTON          OH      44203
ADRONICS ELROB MFG CORP            9 SAND PARK RD                                                                                  CEDAR GROVE        NJ      07009‐1243
ADRONICS/CEDAR GROVE               9 SAND PARK RD                                                                                  CEDAR GROVE        NJ      07009‐1243
ADRONICS/ELROB MFG CORP            608 E 13TH ST                                                                                   HAYS               KS      67601‐3444
ADRONICS/ELROB MFG CORP            9 SAND PARK RD                                                                                  CEDAR GROVE        NJ      07009‐1280
ADRONICS/ELROB MFG CORP            KAREN ROBINSON                 9 SAND PARK RD                                                   CEDAR GROVE        NJ      07009‐1243
ADRONICS/ELROB MFG CORP            KAREN ROBINSON                 9 SAND PARK RD.                                                  BARBERTON          OH      44203
ADRONICS/ELROB MFG CORP            NORA PAREDES                   608 E 13TH ST                                                    HAYS               KS      67601‐3444
ADRONICS/ELROB MFG CORP            NORA PAREDES                   608 E 13TH. STREET                                               RANTOUL            IL      61866
ADRONICS/ELROB MFG. CORP.          NORA PAREDES                   608 E 13TH ST                                                    HAYS               KS      67601‐3444
ADRONICS/ELROB MFG. CORP.          NORA PAREDES                   608 E 13TH. STREET                                               RANTOUL            IL      61866
ADRUAIN CATO                       3240 MATLOCK RD                                                                                 BOWLING GREEN      KY      42104‐8734
ADRYANN SWANEY                     102 E OAK ST                                                                                    WESTVILLE          IL      61883‐1032
ADS ENVIRONMENTAL SVCS             JAY HEREFORD II                4940 RESEARCH DR NW                                              HUNTSVILLE         AL      35805‐5906
ADS LOGISTICS LLC                  2515 S HOLT RD                                                                                  INDIANAPOLIS       IN      46241‐5354
ADS LOGISTICS LLC                  116 E 1100 N                                                                                    CHESTERTON         IN      46304‐9675
ADSCOM CORPORATION
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Name                                 Address1                             Address2                       Address3   Address4                 City              State   Zip
ADSIT, FLORINE                       14707 NORTHVILLE RD APT 155                                                                             PLYMOUTH           MI     48170‐6064
ADSIT, NORMAN L                      8048 SAWGRASS TRL                                                                                       GRAND BLANC        MI     48439‐1844
ADSIT, ROBERT C                      1407 SKIPPER DR APT 134                                                                                 WATERFORD          MI     48327
ADSIT, STELLA                        741 E FIRST ST                                                                                          PONTIAC            MI     48340‐2814
ADSIT, STELLA                        741 1ST AVE                                                                                             PONTIAC            MI     48340‐2814
ADSITT, RAYMOND W                    20782 AUBRY ST                                                                                          PERRIS             CA     92570‐9004
ADT                                  2010 SWIFT DR                                                                                           OAK BROOK           IL    60523‐1504
ADT FIRE & SECURITY LTD              THE SUMMIT HANWORTH RD               SUNBURY‐ON‐THAMES MIDDLESEX               ENGLAND TW16 5D8 GREAT
                                                                                                                    BRITAIN
ADT SECURITY SERVICES                DIRECTOR OF FIELD SUPPORT            16W361 S FRONTAGE RD STE 124                                       BURR RIDGE        IL      60527‐6162
ADT SECURITY SERVICES                14200 E EXPOSITION AVENUE                                                                               AURORA            CO      80012
ADT SECURITY SERVICES INC            14200 E EXPOSITION AVE                                                                                  AURORA            CO      80012‐2540
ADT SECURITY SERVICES INC            10405 CROSSPOINT BLVD                                                                                   INDIANAPOLIS      IN      46256‐3323
ADT SECURITY SERVICES INC            2175 ASSOCIATION DR STE 3100                                                                            OKEMOS            MI      48864
ADT SECURITY SERVICES INC            1 TOWN CENTER RD                                                                                        BOCA RATON        FL      33486‐1002
ADT SECURITY SERVICES INC            PO BOX 371967                                                                                           PITTSBURGH        PA      15250‐7967
ADT SECURITY SERVICES INC            3401 RIDER TRL S                                                                                        EARTH CITY        MO      63045‐1110
ADT SECURITY SERVICES INC            321 18TH ST                                                                                             TOLEDO            OH      43604‐5412
ADT SECURITY SERVICES INC            ATTN: CORPORATE OFFICER/AUTHORIZED   PO BOX 371956                                                      PITTSBURGH        PA      15250‐7956
                                     AGENT
ADT SECURITY SERVICES INC            ATTN: CORPORATE OFFICER/AUTHORIZED   PO BOX 371994                                                      PITTSBURGH         PA     15250‐7994
                                     AGENT
ADT SECURITY SYSTEMS                 225 CORPORATE BLVD STE 211                                                                              NEWARK             DE     19702‐3328
ADT SECURITY SYSTEMS INC             1 TOWN CENTER RD                                                                                        BOCA RATON         FL     33486‐1002
ADT SECURITY SYSTEMS INC             1400 E AVIS DR                                                                                          MADISON HEIGHTS    MI     48071‐1506

ADT SECURITY SYSTEMS MID‐SOUTH INC   ATTN: CORPORATE OFFICER/AUTHORIZED   PO BOX 371967                                                      PITTSBURGH         PA     15250‐7967
                                     AGENT
ADT SECURITY/PTSBURG                 P. O. BOX 371956M                                                                                       PITTSBURGH         PA     15250
ADT, ROBERT
ADT/MADISON HEIGHTS                  31900 SHERMAN AVE                                                                                       MADISON HEIGHTS    MI     48071‐5605

ADTRANS 85098 03 21 08
ADTSEA                               HIGHWAY SAFETY CENTER‐IUP            629 FISHER AVE                                                     INDIANA            PA     15705‐1067
ADUDDELL INDUSTRIES INC              14220 S MERIDIAN AVE                 PO BOX 890550                                                      OKLAHOMA CITY      OK     73173‐8807
ADUDDELL ROOFING & SHEETMETAL INC    PO BOX 890550                                                                                           OKLAHOMA CITY      OK     73189‐0550

ADUDDELL ROOFING INC                 14220 S MERIDIAN AVE                 PO BOX 890550                                                      OKLAHOMA CITY      OK     73173‐8807
ADUDDLE, PATRICIA K                  3333 5TH AVENUE                      UNIT 8 F                                                           SOUTHMILL          WI     53172
                                                                                                                                             MILWAUKEE
ADUDDLE, PATRICIA K                  3333 5TH AVE UNIT 8F                                                                                    SOUTH MILWAUKEE    WI     53172‐3938

ADULT DAY CARE‐SHELTERING ARMS       ATTN: MARGRET HUGGARD                50 WAYNE ST # 3                                                    PONTIAC           MI      48342‐2159
ADULT LEARNING CENTER                4160 VIRGINIA BEACH BLVD                                                                                VIRGINIA BEACH    VA      23452‐1744
ADUSKY, MILDRED                      C/O BRENDA MARTIN                    925 RED CLOVER AVE                                                 BOWLING GREEN     KY      42101
ADUSKY, MILDRED                      925 RED CLOVER AVE                   C/O BRENDA MARTIN                                                  BOWLING GREEN     KY      42101‐7522
ADV ORTHO HUD VALLEY                 21 LAUREL AVE STE 280                                                                                   CORNWALL          NY      12518‐1481
ADV ORTHOPEDICS AND                  17 FONTANA LN                                                                                           ROSEDALE          MD      21237
ADV SFE CO.                          282 PARKLAND DR                                                                                         ROCHESTER HILLS   MI      48307‐3443
ADVANCE AMERICA                      457 ELIZABETH LAKE RD                                                                                   WATERFORD         MI      48328‐3302
ADVANCE AMERICA                      3430 RICHFIELD RD                                                                                       FLINT             MI      48506
ADVANCE AMERICA                      2212 W PIERSON RD                                                                                       FLINT             MI      48504‐1912
ADVANCE AMERICA                      G3312 MILLER RD STE A                                                                                   FLINT             MI      48507‐1371
ADVANCE AMERICA                      5169 HARVEY ST STE E                                                                                    MUSKEGON          MI      49444‐8781
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Name                              Address1                             Address2               Address3        Address4                     City               State   Zip
ADVANCE AMERICA                   2165 W VIENNA RD                                                                                         CLIO                MI     48420‐1757
ADVANCE AMERICA                   3900 ERIE ST STE M                                                                                       RACINE              WI     53402‐3500
ADVANCE AMERICA                   22018 FARMINGTON RD                                                                                      FARMINGTON HILLS    MI     48336‐4416

ADVANCE AMERICA                   29209 PLYMOUTH RD                                                                                        LIVONIA            MI      48150‐2392
ADVANCE AMERICA                   ATTN: STEPHANIE CUTTY                625 S OPDYKE RD                                                     AUBURN HILLS       MI      48326‐3435
ADVANCE AMERICA                   ATTN: DEE CLARK                      5420 SPRINGBORO PIKE                                                WEST CARROLLTON    OH      45449‐2802

ADVANCE AMERICA                   759 BALDWIN AVE                                                                                          PONTIAC            MI      48340‐2501
ADVANCE AMERICA                   ATTN: TABITHA KNIGHTEN               1042 W ALEXIS RD                                                    TOLEDO             OH      43612‐4202
ADVANCE AMERICA #661              8066 N 76TH ST                                                                                           MILWAUKEE          WI      53223‐3202
ADVANCE APPLIED LEARNING LLC      37904 LAKESHORE DR                                                                                       HARRISON           MI      48045‐2853
                                                                                                                                           TOWNSHIP
ADVANCE AUTO CENTRE               750 DISCOVERY ST.                                                           VICTORIA BC V8T 1H2 CANADA

ADVANCE AUTO PARTS                7700 OAK RIDGE HWY                                                                                       KNOXVILLE           TN     37919
ADVANCE AUTO PARTS                ATTN: GABE PORTILLO                  1474 N CENTER RD                                                    BURTON              MI     48509‐1429
ADVANCE AUTO PARTS                ATTN: VANESSA BENWAY                 7227 N SAGINAW RD                                                   MT MORRIS           MI     48458‐2119
ADVANCE AUTO PARTS                5008 AIRPORT RD NW                                                                                       ROANOKE             VA     24012‐1601
ADVANCE AUTO SERVICE              25075 HOOVER RD                                                                                          WARREN              MI     48089‐1140
ADVANCE AUTOMOTIVE SERVICE        965 N 35TH ST                                                                                            MILWAUKEE           WI     53208‐3353
ADVANCE AUTOMOTIVE, LTD.          SS 13 GMDAT                                                                 GMDAT CAYMAN ISLANDS
ADVANCE BOILER & TANK CO INC      6600 W WASHINGTON ST # 700                                                                               MILWAUKEE           WI     53214
ADVANCE BUSINESS CAPITAL LLC      ATTN: CORPORATE OFFICER/AUTHORIZED   PO BOX 610028                                                       DALLAS              TX     75261‐0028
                                  AGENT
ADVANCE CAREER TRAINING           7165 HIGHWAY 85                      ATTN SCHOOL DIRECTOR                                                RIVERDALE          GA      30274‐2941
ADVANCE DIGITAL SYSTEMS LLC       909 HENRY ST 2ND FL                                                                                      DETROIT            MI      48201
ADVANCE DIGITAL SYSTEMS LLC       909 HENRY STREET SUITE 200                                                                               DETROIT            MI      48201
ADVANCE ELE/AUBRN HL              PO BOX 338                                                                                               CLARKSTON          MI      48347‐0338
ADVANCE ELECTRIC SUPPLY CO INC    PO BOX 126                           1011 E FIFTH AVE                                                    FLINT              MI      48501‐0126
ADVANCE ENGINEERING               PO BOX 67000                                                                                             DETROIT            MI      48267‐0380
ADVANCE ENGINEERING CO            12025 DIXIE                                                                                              REDFORD            MI      48239‐2414
ADVANCE FAB/WHITE LK              8431 HIGHLAND RD                                                                                         WHITE LAKE         MI      48386‐2018
ADVANCE FINANCIAL CORP            5365 DIVIDEND DR STE D                                                                                   DECATUR            GA      30035‐3834
ADVANCE GLOVE & SAFETY CO INC     3638 S SAGINAW                                                                                           FLINT              MI      48503
ADVANCE MACH/LOUVILE              4525 POPLAR LEVEL RD                                                                                     LOUISVILLE         KY      40213‐2123
ADVANCE MACHIN/DAYTO              4530 WADSWORTH RD                                                                                        DAYTON             OH      45414‐4226
ADVANCE MECHANICAL SYSTEMS        DAVE CEDERBERG                       425 E ALGONQUIN RD                                                  ARLINGTON          IL      60005‐4620
                                                                                                                                           HEIGHTS
ADVANCE MICROFILM SERVICE CO      1818 24TH ST                                                                                             PORT HURON         MI      48060‐4708
ADVANCE MOLDING TECH.             MICHAEL KEARNS                       PO BOX 228                                                          ELDON              MO      65026
ADVANCE PACKAGING CORP            2400 E HIGH ST                                                                                           JACKSON            MI      49203‐6418
ADVANCE PACKAGING CORP            4459 40TH ST SE                                                                                          GRAND RAPIDS       MI      49512‐4036
ADVANCE PAYROLL FUNDING           7800 WEST OUTER DR STE L60                                                                               DETROIT            MI      48235
ADVANCE PHYSICAL THE              10809 S SAGINAW ST                                                                                       GRAND BLANC        MI      48439
ADVANCE POWER CONTROL INC.        PARK BEAUDETT                        126 SANDY DR                                                        NEWARK             DE      19713‐1147
ADVANCE PRINTING CO               PO BOX 1377                                                                                              INDIANAPOLIS       IN      46206‐1377
ADVANCE PROD/BNTN HR              2527 M‐63                                                                                                BENTON HARBOR      MI      49022
ADVANCE PUBLICATIONS              ROBERT SCHOENBACHER                  950 W FINGERBOARD RD                                                STATEN ISLAND      NY      10305‐1453
ADVANCE PUBLICATIONS              950 W FINGERBOARD RD                                                                                     STATEN ISLAND      NY      10305‐1453
ADVANCE PUBLICATIONS              ROBERT SCHOENBACHER                  950 FINGERBOARD RD                                                  STATEN ISLAND      NY      10305‐1453
ADVANCE QUALITY LOGISTICS         350 WESTMONT DR                                                                                          SAN PEDRO          CA      90731‐1000
ADVANCE RECONDITIONING PRODUCTS   PO BOX 413                                                                                               DAVISON            MI      48423‐0413
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Name                                Address1                             Address2                        Address3               Address4                   City               State   Zip
ADVANCE REHAB CENTER                13244 W WARREN                       STE 3                                                                             DEARBORN            MI     48126
ADVANCE SIGNS INC                   846 BRONCO HIGHWAY                                                                                                     MAPLEVILLE           RI    02839
ADVANCE STEEL COMPANY               16250 NORTHLAND DR STE 325                                                                                             SOUTHFIELD          MI     48075‐5219
ADVANCE STORES COMPANY, INC.        CAROL DAVIES                         5008 AIRPORT RD NW                                                                ROANOKE             VA     24012‐1601
ADVANCE SUR/NSHVILLE                216 7TH AVE S                                                                                                          NASHVILLE           TN     37203‐3912
ADVANCE TOOLING SYSTEMS, INC        ATTN: CORPORATE OFFICER/AUTHORIZED   1166 7 MILE RD NW                                                                 COMSTOCK PARK       MI     49321‐9783
                                    AGENT
ADVANCE TOOLING SYSTEMS, INC        1166 SEVEN MILE ROAD                                                                                                   COMSTOCK PARK       MI     49321
ADVANCE TRAINING RESOURCES          PO BOX 495                                                                                                             ROYAL OAK           MI     48068‐0495
ADVANCE TRANSMISSION AUTO CENTER,   2305 N LINCOLN ST                                                                                                      KNOXVILLE           IA     50138‐3515
INC.
ADVANCE TRANSPORTATION CO         PO BOX 719                                                                                                               MILWAUKEE          WI      53201‐0719
ADVANCE TRANSPORTATION SYSTEMSINC 1125 GLENDALE‐MILFORD RD                                                                                                 CINCINNATI         OH      45215

ADVANCE WIRE                        TIM DEADY                            ADVANCE WIRE PRODUCTS INC.      201 S SWIFT RD.                                   TROY                MI     48084
ADVANCED ACC/PT HURO                12900 HALL RD STE 200                ATTN: JILL GREGERSEN                                                              STERLING HEIGHTS    MI     48313‐1150
ADVANCED ACC/PT HURO                1721 DOVE ST                                                                                                           PORT HURON          MI     48060‐8007
ADVANCED ACCES/PT HU                12900 HALL RD STE 200                                                                                                  STERLING HEIGHTS    MI     48313‐1150
ADVANCED ACCESSORY SYSTEMS          JAY MURDOCH                          50701 BIRCH LANE                                       NOTTINGHAM NG4 2SG GREAT
                                                                                                                                BRITAIN
ADVANCED ACCESSORY SYSTEMS LLC      12900 HALL RD STE 200                                                                                                  STERLING HTS       MI      48313‐1150
ADVANCED ACCESSORY SYSTEMS LLC      1721 DOVE ST                                                                                                           PORT HURON         MI      48060‐8007
ADVANCED ACCESSORY SYSTEMS LLC      12900 HALL RD                        STE 200                                                                           STERLING HTS       MI      48313‐1150
ADVANCED ACCESSORY SYSTEMS LLC      42155 MERRILL RD                                                                                                       STERLING HEIGHTS   MI      48314‐3233
ADVANCED ALIGNMENT & REPAIR         3328 HIGHWAY 10 E                                                                                                      MOORHEAD           MN      56560‐2512
ADVANCED ALLOY DIVISION/NMC CORP    2305 DUSS AVE BLDG 4                 AMBRIDGE REGIONAL DISTRIBUTION                                                    AMBRIDGE           PA      15003
                                                                         CTR
ADVANCED ALLOYS DIV/NMC CORP.       DIANE LOZIDIAS                       NATIONAL MOLDING CORP.         2305 DUSS AVE BLDG. 4                              CHESTERFIELD       MO      63005
ADVANCED ANALYTICAL SOLUTIONS       C LAWSON MORGAN LEWIS ET AL          101 PARK AVE                                                                      NEW YORK           NY      10178
ADVANCED ANALYTICAL SOLUTIONS INC   141 UNION BLVD STE 370                                                                                                 LAKEWOOD           CO      80228

ADVANCED ANATOMICAL                 375 W MAIN ST                                                                                                          CANFIELD           OH      44406‐1433
ADVANCED AS/HAZEL PA                1300 E 9 MILE RD                                                                                                       HAZEL PARK         MI      48030‐1959
ADVANCED ASSEMBLY PRODUCTS          JOHN WIST                            1300 E 9 MILE RD                                                                  HAZEL PARK         MI      48030‐1959
ADVANCED ASSEMBLY PRODUCTS          JOHN WIST                            1300 E. NINE MILE ROAD                                                            PORT HURON         MI      48060
ADVANCED ASSEMBLY PRODUCTS INC      1300 E 9 MILE RD                     PO BOX 19                                                                         HAZEL PARK         MI      48030‐1959
ADVANCED ASSEMBLY PRODUCTS INC      1300 E 9 MILE RD                                                                                                       HAZEL PARK         MI      48030‐1959
ADVANCED ASSEMBLY PRODUCTS INC      30707 COMMERCE BLVD                                                                                                    CHESTERFIELD       MI      48051‐1231
ADVANCED ASSEMBLY PRODUCTS INC      BRIAN ALLENX225                      30707 COMMERCE BLVD                                                               WARREN             MI      48089
ADVANCED ASSEMBLY PRODUCTS INC      JOHN WIST                            1300 E 9 MILE RD                                                                  HAZEL PARK         MI      48030‐1959
ADVANCED ASSEMBLY PRODUCTS INC      JOHN WIST                            1300 E. NINE MILE ROAD                                                            PORT HURON         MI      48060
ADVANCED ASSEMBLY PRODUCTS INC      RUSS SENKOWSKI                       30707 COMMERCE BLVD             (FORMELY WILLIAMS                                 CHESTERFIELD       MI      48051‐1231
                                                                                                         MANUFACTUR)
ADVANCED ASSM GP/MI                 23640 RESEARCH DR                                                                                                      FARMINGTON HILLS    MI     48335‐2621

ADVANCED AUTO & TRUCK REPAIR        300 W COLFAX ST                                                                                                        PALATINE           IL      60067‐2526
ADVANCED AUTO AIR                   8713 E FLORENTINE RD                                                                                                   PRESCOTT VALLEY    AZ      86314‐8772
ADVANCED AUTO AND DIESEL            5790 LAMAR RD                                                                                                          RENO               TX      75462‐7303
ADVANCED AUTO CARE                  1934 NEWPORT BLVD                                                                                                      COSTA MESA         CA      92627‐2248
ADVANCED AUTO CENTER                270 N AVIADOR ST STE A                                                                                                 CAMARILLO          CA      93010‐8315
ADVANCED AUTO ELECTRIC              127 S ANDREASEN DR                                                                                                     ESCONDIDO          CA      92029‐1320
ADVANCED AUTO PRO'S                 2527 8TH AVE                                                                                                           GREELEY            CO      80631‐8409
ADVANCED AUTO REPAIR                264 WILSON ST                                                                                                          MANCHESTER         NH      03103‐5020
ADVANCED AUTO REPAIR INC.           5020 N GRADY AVE                                                                                                       TAMPA              FL      33614‐6545
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Name                               Address1                         Address2               Address3         Address4                  City              State   Zip
ADVANCED AUTO SERVICE              107 1ST ST SE                                                                                      HANKINSON          ND     58041‐4114
ADVANCED AUTO SERVICE              13784A HIGHWAY 105 W                                                                               CONROE             TX     77304
ADVANCED AUTO SERVICES             113 W GILBERT DR                                                                                   EVANSDALE           IA    50707‐1973
ADVANCED AUTO TRENDS               2230 METAMORA RD                 PLANT 1                                                           OXFORD             MI     48371‐2347
ADVANCED AUTO TRENDS INC           KEITH PRIEBE                     2230 METAMORA ROAD                                                DELAWARE           OH     43015
ADVANCED AUTO TRENDS INC.          KEITH PRIEBE                     2230 METAMORA ROAD                                                DELAWARE           OH     43015
ADVANCED AUTODYNAMICS              8550 WEST DESERT IN RD           STE 102                                                           LAS VEGAS          NV     89117‐4406
ADVANCED AUTODYNAMICS              4110 W DESERT INN RD                                                                               LAS VEGAS          NV     89102‐7610
ADVANCED AUTOMOTIVE                6875 HIGHWAY 9                                                                                     INMAN              SC     29349‐8023
ADVANCED AUTOMOTIVE                606 W RAILROAD AVE                                                                                 FORT MORGAN        CO     80701‐2636
ADVANCED AUTOMOTIVE                110 N FREDERICK AVE                                                                                OELWEIN             IA    50662‐1729
ADVANCED AUTOMOTIVE                1810 SW 100TH TER                                                                                  MIRAMAR            FL     33025‐1832
ADVANCED AUTOMOTIVE                131 SE 14TH ST                                                                                     GRAND PRAIRIE      TX     75050‐5917
ADVANCED AUTOMOTIVE                91 2ND ST STE F                                                                                    BUELLTON           CA     93427‐9471
ADVANCED AUTOMOTIVE                121 LASALLE ST                                                                                     CAPE GIRARDEAU     MO     63701‐9178
ADVANCED AUTOMOTIVE                430 ELKO AVE                                                                                       RENO               NV     89512‐3409
ADVANCED AUTOMOTIVE                4605 STATON ST                                                                                     WACO               TX     76710‐6040
ADVANCED AUTOMOTIVE                6503 WINDMILL WAY                                                                                  WILMINGTON         NC     28405‐3744
ADVANCED AUTOMOTIVE BATTERIES      13376 RUE MONTAIGNE                                                                                OREGON HOUSE       CA     95962
ADVANCED AUTOMOTIVE CAR CARE       14 COLDWATER RD.                                                         TORONTO ON M3B 1Y7
                                                                                                            CANADA
ADVANCED AUTOMOTIVE CENTER         2386 WASHINGTON RD                                                                                 WASHINGTON         IL     61571‐1857
ADVANCED AUTOMOTIVE SERVICE CENTER 60 MAIN ST                                                                                         YORKVILLE          NY     13495‐1116

ADVANCED AUTOMOTIVE SERVICE CENTER 2114 2ND AVE S                                                                                     BIRMINGHAM         AL     35233‐2200

ADVANCED AUTOMOTIVE SERVICES       5024 WILLOW CREEK RD                                                                               MACHESNEY PARK    IL      61115
ADVANCED AUTOMOTIVE SERVICES       2921 NORTHVIEW CIR                                                                                 SHELTON           WA      98584‐2949
ADVANCED AUTOMOTIVE TECHNOLOGIES   1763 W HAMLIN RD                                                                                   ROCHESTER HILLS   MI      48309‐3373
INC
ADVANCED AUTOWORKS                 16618 N 32ND ST                                                                                    PHOENIX            AZ     85032‐2702
ADVANCED BACK CENTER               200 QUEEN ST                                                                                       SOUTHINGTON        CT     06489‐1901
ADVANCED CADILLAC SERVICE          4849 ARROW HWY                                                                                     MONTCLAIR          CA     91763‐1211
ADVANCED CAE/ITHACA                31 DUTCH MILL RD                                                                                   ITHACA             NY     14850‐9785
ADVANCED CAR CARE                  50 LEONARDVILLE RD                                                                                 BELFORD            NJ     07718‐1036
ADVANCED CAR CARE                  1700 1/2 S VALLEY MILLS DR                                                                         WACO               TX     76711‐2120
ADVANCED CARE PHY TH               PO BOX 822879                                                                                      PHILADELPHIA       PA     19182‐2879
ADVANCED CARE PT, AQ               924 MAIN ST                                                                                        NIAGARA FALLS      NY     14301‐1110
ADVANCED CARE SPECIA               2690 PACIFIC AVE STE 330                                                                           LONG BEACH         CA     90806‐2658
ADVANCED CARGO SOLUTIONS INC       610 FORD DRIVE SUITE 241                                                 OAKVILLE CANADA ON L6J
                                                                                                            7W4 CANADA
ADVANCED CASH REGISTERS            ATTN: DENNIS LEITGEB             G4173 S SAGINAW ST                                                BURTON             MI     48529‐1635
ADVANCED CIRCUITS                  21101 E 32ND PKWY                                                                                  AURORA             CO     80011‐8149
ADVANCED CIRCUITS INC              21101 E 32ND PKWY                                                                                  AURORA             CO     80011‐8149
ADVANCED CMM PROGRAMMING &         47585 AVANTE DR                                                                                    WIXOM              MI     48393‐3618
CONSULTING
ADVANCED CNTRS FOR O               PO BOX 759190                                                                                      BALTIMORE         MD      21275‐9190
ADVANCED COAT/HLDALE               PO BOX 735                       273 INDUSTRIAL DRIVE                                              HILLSDALE         MI      49242‐0735
ADVANCED COMBUSTIAN GESELLSCHA     KUPFERSTR 17                     POSTFACH 112                            AACHEN NW 52070 GERMANY

ADVANCED COMBUSTIAN GESELLSCHAFT   KUPFERSTR 17                     POSTFACH 112                            AACHEN NW 52070 GERMANY
ZU
ADVANCED COMBUSTION GMBH           KUPFERSTR 17 POSTFACH 112                                                AACHEN 52070 GERMANY
ADVANCED COMMUNICATIONS INC        5711 RESEARCH DR                                                                                   CANTON             MI     48188‐2261
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Name                                 Address1                            Address2               Address3                 Address4                   City               State   Zip
ADVANCED COMPOSITES GROUP            5350 S 129TH EAST AVE                                                                                          TULSA               OK     74134‐6703
ADVANCED COMPOSITES GROUP INC        5350 S 129TH EAST AVE                                                                                          TULSA               OK     74134‐6703
ADVANCED COMPOSITES INC              DENNY FERELL                        3066 SIDCO DR                                                              NASHVILLE           TN     37204‐4506
ADVANCED CON/MARIETT                 1335 CAPITAL CIR SE STE L                                                                                      MARIETTA            GA     30067‐8722
ADVANCED CONCEPTS INC                ATTN: WILLIAM TURPEN                505 SHANDELL DR                                                            BEDFORD             IN     47421‐9657
ADVANCED CONSULTING & ENGINEER       1962 STAR BATT DR                                                                                              ROCHESTER           MI     48309‐3711
ADVANCED CONSULTING & ENGINEERING

ADVANCED CONSULTING & ENGINEERING    1962 STAR BATT DR                                                                                              ROCHESTER           MI     48309‐3711

ADVANCED CONSULTING & ENGINEERING    1962 STAR BATT DR                                                                                              ROCHESTER HILLS     MI     48309‐3711
INC
ADVANCED CONTROL ENGINEERING LLC     6655 N LAKE RD                                                                                                 OTTER LAKE          MI     48464‐9700

ADVANCED CUTTING TOOLS SYS           40500 VAN BORN RD                                                                                              CANTON              MI     48188‐2919
ADVANCED DATA ACQUISITION CORP       28287 BECK RD STE D2                                                                                           WIXOM               MI     48393‐4700
ADVANCED DC/E SYRACU                 6268 E MOLLOY RD                                                                                               EAST SYRACUSE       NY     13057‐1047
ADVANCED DEALER TRAINING INSTITUTE   1656 LINDA LOU DR                                                                                              WEST PALM BEACH     FL     33415‐5529

ADVANCED DESIGN AND PROTOTYPE       30665 NORTHWESTERN HWY STE 60                                                                                   FARMINGTON HILLS    MI     48334‐3142
TECHNOLOGIES INC
ADVANCED DESIGN CONCEPTS INC        N27 W23655 PAUL RD                                                                                              PEWAUKEE            WI     53072
ADVANCED DEVELOPMENT CORP LTD       SHIBER 16                                                                            REHOVOT IL 76205 ISRAEL
ADVANCED DIAGNOSTIC                 PO BOX 440460                                                                                                   NASHVILLE          TN      37244‐0460
ADVANCED DIAGNOSTIC                 PO BOX 6398                                                                                                     SAGINAW            MI      48608‐6398
ADVANCED DIAGNOSTIC IMAGING PC      3037 SILVERWOOD DR                                                                                              SAGINAW            MI      48603‐2171
ADVANCED DIAGNOSTIC IMAGING PC      3400 N CENTER RD STE 400                                                                                        SAGINAW            MI      48603‐7920
ADVANCED DISTRIBUTED GENERATION LLC 2600 DORR ST                                                                                                    TOLEDO             OH      43606‐7237

ADVANCED DISTRIBUTION SYSTEMS INC    PO BOX 28228                        4181 ARLINGATE PLAZA                                                       COLUMBUS           OH      43228‐0228

ADVANCED DOCUMENT & HANDWRITING      PO BOX 867226                                                                                                  PLANO               TX     75086‐7226
EXAMINATION SVC
ADVANCED DRAINAGE SYSTEMS, INC.      LISA HALLAM                         4640 TRUEMAN BLVD                                                          HILLIARD           OH      43026‐2438
ADVANCED ELASTOMER SYSTEMS           388 S MAIN ST                                                                                                  AKRON              OH      44311
ADVANCED ELASTOMERS CORP             34481 INDUSTRIAL RD                                                                                            LIVONIA            MI      48150‐1307
ADVANCED ELEVATOR CO                 602 W MAIN ST                                                                                                  OWOSSO             MI      48867‐2610
ADVANCED ELEVATOR COMPANY INC        602 W MAIN ST                                                                                                  OWOSSO             MI      48867‐2610
ADVANCED ENERGY COMMERCE INC         1883 WHITE KNOLL DR                                                                                            TOMS RIVER         NJ      08755‐1733
ADVANCED ENERGY CONVERSION LLC       405 FRONT ST                                                                                                   SCHENECTADY        NY      12305‐1036
ADVANCED ENERGY TECHNOLOGY, INC.     12900 SNOW RD                                                                                                  PARMA              OH      44130‐1012

ADVANCED ENG/FRANKLI                 513 AUTUMN SPRINGS CT                                                                                          FRANKLIN            TN     37067‐8241
ADVANCED ENGINE MANAGEMENT AEM       2205 W 126TH ST STE A                                                                                          HAWTHORNE           CA     90250‐3367

ADVANCED ENGINE MANAGEMENT INC       2205 W 126TH ST STE A                                                                                          HAWTHORNE           CA     90250‐3367

ADVANCED ENGINE MANAGEMENT INC       JEREMY BARRAS                       3201 W 131ST ST        AEM MANUFACTURING                                   HAWTHORNE           CA     90250‐5514

ADVANCED ENGINE MANAGEMENT INC       JEREMY BARRAS                       AEM MANUFACTURING      3201 EAST 131ST STREET                              DOWAGIAC            MI     49017

ADVANCED ENGINE TECHNOLOGY LTD       17 FITZGERALD RD STE 102                                                            NEPEAN ON K2H 9G1 CANADA

ADVANCED ENGINEERING INC             513 AUTUMN SPRINGS CT                                                                                          FRANKLIN            TN     37067‐8241
                                     09-50026-mg             Doc 7123-3    Filed 09/24/10 Entered 09/24/10 15:05:32                        Exhibit B
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Name                                 Address1                         Address2                     Address3                   Address4                 City               State Zip
ADVANCED ENGINEERING SOLUTIONS INC   SARAH B CARTER                   2700 KETTERING TOWER                                                             DAYTON              OH 45423

ADVANCED ENGINEERING SOLUTIONSINC    250 ADVANCED DR                                                                                                   SPRINGBORO         OH    45066‐1802

ADVANCED ENGR/BRENTW                 513 AUTUMN SPRINGS CT                                                                                             FRANKLIN           TN    37067‐8241
ADVANCED ENGR/WARREN                 30300 MOUND RD                                                                                                    WARREN             MI    48092‐2027
ADVANCED ENVIRONMENTAL CONCEPT       3360 WILEY POST RD STE 150                                                                                        CARROLLTON         TX    75006‐5060
INC
ADVANCED ENVIRONMENTAL TECHNICAL     PO BOX 380036                                                                                                     BOSTON             MA    02241‐0001
SERVICES
ADVANCED ENVIRONMENTAL               JOHN A MCKINNEY JR               WOLFF & SAMSON PC            THE OFFICES AT CRYSTAL LAKE ONE BOLAND DRIVE        WEST ORANGE        NJ    07052‐3698
TECHNOLOGY CORPORATION
ADVANCED EXERCISE EQUIPMENT          861 SOUTHPARK DR                 STE 100                                                                          LITTLETON          CO    80120‐5684
ADVANCED FABRICATING TECHNOLOGY                                       687 BYRNE INDUSTRIAL DRIVE                                                       ROCKFORD           MI    49341
INC
ADVANCED FAST/STRLNG                 5500 18 MILE RD                                                                                                   STERLING HEIGHTS   MI    48314‐4106
ADVANCED FILTRATION CONCEPTS INC     7070 INTERNATIONAL DR                                                                                             LOUISVILLE         KY    40258‐2864

ADVANCED FINISHING TECHNOLOGIE       835 W RIVER CTR                                                                                                   COMSTOCK PARK      MI    49321
ADVANCED FINISHING TECHNOLOGIES      835 WEST RIVER CTR                                                                                                COMSTOCK PARK      MI    49321
ADVANCED FINISHING TECHNOLOGIES      835 W RIVER CTR                                                                                                   COMSTOCK PARK      MI    49321
ADVANCED FLEET SERVICES OF ND INC    1512 BASIN AVE                                                                                                    BISMARCK           ND    58504‐6924
ADVANCED FLUID POWER INC             5780 I 10 INDUSTRIAL PKWY S      PO BOX 628                                                                       THEODORE           AL    36582‐1670
ADVANCED FLUID POWER INC             PO BOX 628                                                                                                        THEODORE           AL    36590‐0628
ADVANCED GENERAL ONC                 3500 CALKINS ROAD                                                                                                 FLINT              MI    48532
ADVANCED GEOSERVICES CORP            CHADDS FORD BUS CAMPUS STE 202   RTS 202 & 1 BRANDYWINE ONE                                                       CHADDS FORD        PA    19317
ADVANCED HANDLING SYSTEMS INC        725 FAIRFIELD AVE                                                                                                 KENILWORTH         NJ    07033‐2011
ADVANCED HEAT TREAT CORP             2825 MIDPORT BLVD                                                                                                 WATERLOO           IA    50703‐9708
ADVANCED HEAT TREAT CORP             1625 ROSE ST                                                                                                      MONROE             MI    48162‐5607
ADVANCED HEAT TREAT CORP             ATTN ACCOUNTS RECEIVABLE         2825 MIDPORT BLVD                                                                WATERLOO           IA    50703‐9708
ADVANCED HEAT/MONROE                 1625 ROSE ST                                                                                                      MONROE             MI    48162‐5607
ADVANCED IMAGING                     3304 SE LOOP 820                                                                                                  FORT WORTH         TX    76140‐1108
ADVANCED IMAGING ASS                 PO BOX 8000483                                                                                                    BUFFALO            NY    14240
ADVANCED IMAGING SYSTEMS             8011 CYPRESS POINTE                                                                                               MONROE             GA    30656
ADVANCED INFORMATION                 ENGINEERING SERVICES             PO BOX 75519                                                                     BALTIMORE          MD    21275‐5519
ADVANCED INFORMATION CONSULTANTS     10850 WILSHIRE BLVD # 8TH FLR                                                                                     LOS ANGELES        CA    90024

ADVANCED INJECTION MOLDING LLC       4504 MACKS DR                                                                                                     BOSSIER CITY       LA    71111‐5324
ADVANCED INT/COLUMBI                 PO BOX 612                       HWY 31, NORTH                                                                    COLUMBIA           TN    38402‐0612
ADVANCED INTEGRATED                  9800 MCKNIGHT RD # A                                                                                              PITTSBURGH         PA    15237‐6004
ADVANCED INTEGRATED MFG INC          40735 BRENTWOOD DR                                                                                                STERLING HTS       MI    48310‐2214
ADVANCED INTERCONNECT                60 CARLSON RD                                                                                                     ROCHESTER          NY    14610‐1021
MANUFACTURING INC
ADVANCED INTERCONNECT MFG INC        60 CARLSON RD                                                                                                     ROCHESTER          NY    14610‐1021
ADVANCED LAW CENTER & GEORGE O       150 N SANTA ANITA AVE STE 300                                                                                     ARCADIA            CA    91006‐3116
ARNOLD
ADVANCED LAWN CARE                   ATTN: JAMES TOGHILL              PO BOX 283                                                                       GRAFTON            OH    44044‐0283
ADVANCED LIGHTING & SOUND INC        2722 ELLIOTT DR                                                                                                   TROY               MI    48083‐4634
ADVANCED MACHINE & ENGINEERING       2500 LATHAM ST                                                                                                    ROCKFORD           IL    61103‐3963
ADVANCED MACHINE & ENGINEERING CO    2500 LATHAM ST                                                                                                    ROCKFORD           IL    61103‐3963

ADVANCED MAGNESIUM ALLOYS            1820 E 32ND ST                                                                                                    ANDERSON            IN   46013‐2144
CORPORATION
ADVANCED MAGNESIUM LTD               30709 MAYVILLE ST                                                                                                 LIVONIA            MI    48152‐3370
                                      09-50026-mg            Doc 7123-3         Filed 09/24/10 Entered 09/24/10 15:05:32           Exhibit B
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Name                                  Address1                              Address2                 Address3          Address4                City                 State Zip
ADVANCED MAGNESIUM TECHNOLOGIE        30709 MAYVILLE ST                                                                                        LIVONIA               MI 48152‐3370

ADVANCED MAGNESIUM TECHNOLOGIES SUITE 5 LEVEL 4                             350 GEORGE ST                              SYDNEY NSW AUSTRALIA
PTY LTD
ADVANCED MAINTENANCE TECHNOLOGIES 14890 KIEFER RD                                                                                              GERMANTOWN           OH    45327‐8593

ADVANCED MANUFACTURING INST           PO BOX 43155                                                                                             UPPER MONTCLAIR       NJ   07043‐0155

ADVANCED MAT/WAYNE                    30100 CYPRESS RD                                                                                         ROMULUS              MI    48174‐3591
ADVANCED MATERIAL PROCESS             DIV OF METAL IMPROVEMENT CO           30100 CYPRESS RD                                                   ROMULUS              MI    48174‐3591
ADVANCED MATERIAL PROCESS CORP        30100 CYPRESS RD                                                                                         ROMULUS              MI    48174‐3591
ADVANCED MATERIALS CORPORATION        850 POPLAR ST                                                                                            PITTSBURGH           PA    15220‐2828
ADVANCED MATERIALS PRODUCTS IN        1890 GEORGETOWN RD                                                                                       HUDSON               OH    44236‐4058
ADVANCED MEASUREMENT TECHNOLOG        801 S ILLINOIS AVE                                                                                       OAK RIDGE            TN    37830‐9101

ADVANCED MEDIATION SERVICE            314 W WACKERLY RD                                                                                        MIDLAND              MI    48640
ADVANCED MEDICAL IMA                  PO BOX 21051                                                                                             LONG BEACH           CA    90801‐4051
ADVANCED MEDICAL SUP                  21190 CENTER RIDGE ROAD                                                                                  ROCKY RIVER          OH    44116
ADVANCED MEDICAL SUP                  5904 MIDDLEBELT RD                                                                                       GARDEN CITY          MI    48135‐2458
ADVANCED MEDICAL SUPPORTSERVICES      21190 CENTER RIDGE RD                                                                                    ROCKY RIVER          OH    44116
INC
ADVANCED METALFAB & CONVEYOR S        7310 EXPRESS RD                                                                                          TEMPERANCE           MI    48182‐9514
ADVANCED METALFAB & CONVEYOR          7310 EXPRESS RD                                                                                          TEMPERANCE           MI    48182‐9514
SYSTEMS INC
ADVANCED METR/DAYTON                  712 N FAIRFIELD RD                                                                                       DAYTON               OH    45434‐5918
ADVANCED MOTION & CONTROLS LTD
ADVANCED MOTION SYSTEMS INC           3800 MONROE AVE                                                                                          PITTSFORD            NY    14534
ADVANCED MOTION SYSTEMS INC           1868 NIAGARA FALLS BLVD STE 30                                                                           TONAWANDA            NY    14150
ADVANCED NEUROM SYS                   PO BOX 915002                                                                                            DALLAS               TX    75391‐5002
ADVANCED NUMERICAL SOLUTIONS
ADVANCED NUMERICAL SOLUTIONS          ATTN: CONTRACTS ADMINISTRATOR         3554 MARK TWAIN CT                                                 HILLIARD             OH    43026‐5729
ADVANCED NUMERICAL SOLUTIONS          3554 MARK TWAIN ST                                                                                       COLUMBUS             OH    43232
ADVANCED NUMERICAL SOLUTIONS L        3956 BROWN PARK DR STE B                                                                                 HILLIARD             OH    43026‐1159
ADVANCED NUMERICAL SOLUTIONS LLC      3956 BROWN PARK DR STE B                                                                                 HILLIARD             OH    43026‐1159

ADVANCED ORTHO SPORTS MEDICAL         8101 E LOWRY BLVD STE 230                                                                                DENVER               CO    80230‐7195
ADVANCED ORTHOPEDIC                   2240 E HILL RD STE H                                                                                     GRAND BLANC          MI    48439‐5425
ADVANCED ORTHOPEDIC                   2305 GENOA BUSINESS PARK DR STE 170                                                                      BRIGHTON             MI    48114‐7005

ADVANCED ORTHOPEDICS                  8229 CLAYTON ROAD SUITE 204                                                                              SAINT LOUIS          MO    63117
ADVANCED ORTHOPEDICS                  5000 VAN NUYS BLVD STE 210                                                                               SHERMAN OAKS         CA    91403‐1717
ADVANCED PAIN MANAGE                  12900 CORTEZ BVD ST204                                                                                   BROOKSVILLE          FL    34613
ADVANCED PAIN MANAGM                  PO BOX 210620                                                                                            GREENFIELD           WI    53221‐8011
ADVANCED PAIN MED                     7000 STONEWOOD DR STE 151                                                                                WEXFORD              PA    15090‐7376
ADVANCED PARKING CONCEPTS             309 BLOOMFIELD AVE                                                                                       VERONA               NJ    07044‐2408
ADVANCED PHYSICAL ME                  24345 HARPER AVE                                                                                         SAINT CLAIR SHORES   MI    48080

ADVANCED PHYSICAL TH                  PO BOX 660260                                                                                            INDIANAPOLIS         IN    46266‐0001
ADVANCED PHYSICAL TH                  1701 SOUTH BLVD E STE 110                                                                                ROCHESTER HILLS      MI    48307‐6118
ADVANCED PLAS/WARREN                  PO BOX 1211                           ATTN. RONALD R. PRINTZ   24874 GROESBECK                           WARREN               MI    48090‐1211
ADVANCED PLASTIC & MATERIAL TESTING   42 DUTCH MILL RD WARREN BUS PK                                                                           ITHACA               NY    14850
INC
ADVANCED PLASTICS CORP                24874 GROESBECK HWY                   PO BOX 1211                                                        WARREN               MI    48089‐4726
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Name                                Address1                             Address2                        Address3   Address4                   City               State Zip
ADVANCED PNEUMATIC TUBES INC        STATE FARM MUTUAL AUTOMOBILE         22845 VENTURA BOULEVARD SUITE                                         WOODLAND HILLS      CA 91364
                                    INSURANCE COMPANY                    523
ADVANCED PNEUMATIC TUBES INC, ‐
ADVANCED PNEUMATICS CO              9708 ASHLEY DAWN CT                                                                                        FREDERICKSBURG     VA   22408‐9472
ADVANCED PORTABLE FABRICATING       15450 OPORTO ST                      UPTD 03/09/06 GJ                                                      LIVONIA            MI   48154‐3245
ADVANCED PRO/ROCHEST                2269 STAR CT                                                                                               ROCHESTER HILLS    MI   48309‐3625
ADVANCED PRODUCTION SYSTEMS IN      8016 VINE CREST AVE                                                                                        LOUISVILLE         KY   40222‐4613
ADVANCED PROTOTYPING INC            2269 STAR CT                                                                                               ROCHESTER HILLS    MI   48309‐3625
ADVANCED PUBLICATIONS
ADVANCED RADIOLOGY                  PO BOX 62119                                                                                               BALTIMORE          MD   21264‐2119
ADVANCED RADIOLOGY                  PO BOX 8295                                                                                                LOS ANGELES        CA   90084‐0001
ADVANCED RADIOLOGY S                3264 N EVERGREEN DR NE                                                                                     GRAND RAPIDS       MI   49525‐9746
ADVANCED RANGES INC                 ATTN: KIRK RICHARDSON                1096 N CENTER RD                                                      BURTON             MI   48509‐1425
ADVANCED RECOVERY                   4784 EVANSTON AVE                                                                                          MUSKEGON           MI   49442‐6531
TECHNOLOGIESCORP
ADVANCED REHAB & HEA                50 BAKER BLVD                                                                                              FAIRLAWN           OH   44333
ADVANCED RESEARCH CO                PO BOX 408                                                                                                 LAKE ORION         MI   48361‐0408
ADVANCED RESEARCH TECHNOLOGIES      10644 LAKESIDE AVENUE                                                                                      LUNA PIER          MI   48157
ADVANCED RESOURCES INC              1001 SHORE CLUB DR                                                                                         ST CLR SHORES      MI   48080‐1563
ADVANCED RESULTS CO INC             ARDY DORF                            3042 SCOTT BLVD                                                       ROMULUS            MI   48174
ADVANCED RESULTS CO INC             5442 CASTLE MANOR DR                                                                                       SAN JOSE           CA   95129‐4165
ADVANCED RESULTS CO., INC.          ARDY DORF                            3042 SCOTT BLVD                                                       ROMULUS            MI   48174
ADVANCED ROBOTICS INC               1663 STAR BATT DR                                                                                          ROCHESTER HILLS    MI   48309‐3706
ADVANCED RUBBER & PLASTIC           FRANK AQUINO                         3035 OTIS AVE                                                         WARREN             MI   48091
ADVANCED RUBBER & PLASTIC           3035 OTIS AVE                                                                                              WARREN             MI   48091‐2325
ADVANCED SAFETY PRODUCTS            35 SEAPARK DR UNIT 1                                                            ST CATHARINES ON L2M 6S5
                                                                                                                    CANADA
ADVANCED SATELLITE COMM INC         ASC SECURITY SYSTEMS                 12137 MERRIMAN RD                                                     LIVONIA            MI   48150‐1912
ADVANCED SCIENTIFIC CONCEPTS I      135 E ORTEGA ST                                                                                            SANTA BARBARA      CA   93101
ADVANCED SCIENTIFIC CONCEPTS INC    135 ORTEGA STREET                                                                                          SANTA BARBARA      CA   93101
ADVANCED SCIENTIFIC CONCEPTS INC    135 E ORTEGA ST                                                                                            SANTA BARBARA      CA   93101
ADVANCED SHEET METAL                407 COMMERCE ST                                                                                            BOWLING GREEN      KY   42101‐9118
ADVANCED SILHOUETTES & MORE
ADVANCED SOLUTIONS INC              100 ENVOY CIRCLE STE 100                                                                                   LOUISVILLE         KY   40299
ADVANCED SPECIALITY COATINGS INC    51119 HOOK DR                                                                                              MACOMB             MI   48042‐4321
ADVANCED SPORTS, INC.               10940 DUTTON RD., PHILADELPHIA, PA                                                                         PHILADELPHIA       PA   19154
                                    19154
ADVANCED STRIP LLC                  PO BOX 4133                                                                                                DEARBORN           MI   48126‐0133
ADVANCED SURFACE TECHNOLOGIES INC   24100 GIBSON DR                                                                                            WARREN             MI   48089‐4308

ADVANCED SYS/FRMNGTN                27200 HAGGERTY RD STE B4                                                                                   FARMINGTON HILLS   MI   48331‐3409

ADVANCED SYSTEMS & FORMS INC        811 WOODWARD HTS                                                                                           FERNDALE           MI   48220‐1463
ADVANCED SYSTEMS & FORMS INC        27690 JOY RD                                                                                               LIVONIA            MI   48150‐4146
ADVANCED SYSTEMS INC                1020 W 14 MILE RD                                                                                          CLAWSON            MI   48017‐1408
ADVANCED TECH AUTOMOTIVE            100 COMMERCIAL PKWY                                                                                        CEDAR PARK         TX   78613‐2913
ADVANCED TECH/LIVONA                12841 STARK RD                                                                                             LIVONIA            MI   48150‐1525
ADVANCED TECH/NORTHV                110 W MAIN ST                        PO BOX 905                                                            NORTHVILLE         MI   48167‐1521
ADVANCED TECH/PEORIA                8201 N UNIVERSITY                                                                                          PEORIA             IL   61615
ADVANCED TECH/TORRAN                3050 LOMITA BLVD                                                                                           TORRANCE           CA   90505‐5103
ADVANCED TECHNOLOGIE                7570 US HWY 42                                                                                             FLORENCE           KY   41042
ADVANCED TECHNOLOGY & DESIGN I      190 E WARDLOW RD STE 300                                                                                   HIGHLAND           MI   48356‐2551
ADVANCED TECHNOLOGY & DESIGN INC    24130 MARMON AVE                                                                                           WARREN             MI   48089‐3807
                                     09-50026-mg             Doc 7123-3     Filed 09/24/10 Entered 09/24/10 15:05:32                       Exhibit B
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Name                                 Address1                           Address2                      Address3                Address4                    City               State Zip
ADVANCED TECHNOLOGY & DESIGN INC     190 E WARDLOW RD STE 300                                                                                             HIGHLAND            MI 48356‐2551

ADVANCED TECHNOLOGY & MARKETIN       5550 EDGAR RD                                                                                                        CLARKSTON          MI    48346‐1931
ADVANCED TECHNOLOGY & MARKETING      5550 EDGAR RD                                                                                                        CLARKSTON          MI    48346‐1931
GROUP
ADVANCED TECHNOLOGY & MARKETING      5550 EDGAR RD                                                                                                        CLARKSTON          MI    48346‐1931
GRP
ADVANCED TECHNOLOGY CORP             101 PARKER DR                                                                                                        ANDOVER            OH    44003‐9456
ADVANCED TECHNOLOGY CORP.            DIXIE MYERS                        101 N. EAGLE STREET                                                               BATESVILLE         MS    38606
ADVANCED TECHNOLOGY SERV INC         8201 N UNIVERSITY ST                                                                                                 PEORIA             IL    61615
ADVANCED TECHNOLOGY SERVICES I       8201 N UNIVERSITY ST                                                                                                 PEORIA             IL    61615
ADVANCED TECHNOLOGY SERVICES INC     8201 N UNIVERSITY ST                                                                                                 PEORIA             IL    61615‐1887

ADVANCED TELEMETRICS INTERNATIONAL   2361 DARNELL DR                                                                                                      SPRING VALLEY      OH    45370‐8708
ATI
ADVANCED TELEVISION SYSTEMS          1750 K ST NW STE 1200                                                                                                WASHINGTON         DC    20006‐2303
COMMITTEE
ADVANCED TEX SCREEN PRINTING INC     22040 GRATIOT RD                                                                                                     MERRILL            MI    48637‐8707
ADVANCED TOOLING SYSTEMS INC         1166 7 MILE RD NW                                                                                                    COMSTOCK PARK      MI    49321‐9727
ADVANCED TRANSMISSION & SERVICE      3028 E CLAIREMONT AVE                                                                                                EAU CLAIRE         WI    54701
ADVANCED TRANSPORTATION &            6625 MILLCREEK DR                                                                        MISSISSAUGA ON L5N 4G4
DISTRIBUTION SERVICE                                                                                                          CANADA
ADVANCED VACUUM TECHNOLOGY INC       17 CONNECTICUT SOUTH DR                                                                                              EAST GRANBY        CT    06026

ADVANCED VEH/GR BLNC                 PO BOX 654                         G‐10386 N. HOLLY ROAD                                                             GRAND BLANC        MI    48480‐0654
ADVANCED VEHICLE ENGINEERING I       3791 S OLD US HIGHWAY 23 STE 300                                                                                     BRIGHTON           MI    48114‐7670
ADVANCED VEHICLE ENGINEERING INC     3791 S OLD US HIGHWAY 23 STE 300                                                                                     BRIGHTON           MI    48114‐7670
ADVANCED VEHICLE ENGINEERING INC     1183 CENTER RD                                                                                                       AUBURN HILLS       MI    48326
ADVANCED VENTILATION PRODUCTS        35564 MOUND RD                     MOUND INDUSTRIAL COMMONS                                                          STERLING HEIGHTS   MI    48310‐4722
ADVANCEMENT LLC                      32200 SOLON ROAD                                                                                                     SOLON              OH    44139
ADVANCING MINORITIES INTEREST        C/O MORGAN STATE                   5200 PERRING PKWY # 5/18/07   SCHOOL OF ENGINEERING                               BALTIMORE          MD    21251‐0001
ENGINEERING
ADVANSTAR COMMUNICATIONS             JOSEPH LOGGIA                      6200 CANOGA AVE FL 2                                                              WOODLAND HILLS     CA    91367‐2436
ADVANTA INDUSTRIES INC               1202 S EXPRESSWAY DR                                                                                                 TOLEDO             OH    43608‐1516
ADVANTA INDUSTRIES INC               15777 IDA WEST RD                                                                                                    PETERSBURG         MI    49270‐9595
ADVANTAGE AUDIO‐VISUAL               8871 BALBOA AVE STE B                                                                                                SAN DIEGO          CA    92123‐1500
ADVANTAGE AUTO                       291 RAWDON ST.                                                                           BRANTFORD ON N3S 6H2
                                                                                                                              CANADA
ADVANTAGE AUTO & TIRE                507 S MAIN ST                                                                                                        CONRAD             MT    59425‐2528
ADVANTAGE AUTO ACCESSORIES           ATTN ACCOUNTING DEPT               9 STRATHMORE CT                                                                   BUFFALO GROVE      IL    60089‐4001
ADVANTAGE AUTO CENTER OF KAHOKA      PO BOX 449                                                                                                           MACON              MO    63552‐0449

ADVANTAGE AUTO CENTER OF MACON       1311 E BRIGGS DR                                                                                                     MACON              MO    63552‐1918

ADVANTAGE AUTO REPAIR                18700 LONGS WAY                                                                                                      PARKER             CO    80134‐9064
ADVANTAGE AUTOMOTIVE                 12255 POWAY RD                                                                                                       POWAY              CA    92064‐4217
ADVANTAGE AUTOMOTIVE                 6421 GOLDEN GATE DR                                                                                                  DUBLIN             CA    94568‐2905
ADVANTAGE AUTOMOTIVE                 511 PAISANO ST NE                                                                                                    ALBUQUERQUE        NM    87123‐1430
ADVANTAGE AUTOMOTIVE                 3216 GARFIELD AVE                                                                                                    LOVELAND           CO    80538‐2296
ADVANTAGE AUTOMOTIVE SERVICE &       181 S FOSTER DR                                                                                                      SAUKVILLE          WI    53080‐2004
SALES
ADVANTAGE BRAKE & MUFFLER (944593    10510 117 AVE                                                                            GRANDE PRAIRIE AB T8V 7N7
ALTA. LTD)                                                                                                                    CANADA
ADVANTAGE BUILDING SP LLC            PO BOX 530606                                                                                                        LAKE PARK           FL   33403‐8909
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Name                                  Address1                           Address2              Address3        Address4                  City               State   Zip
ADVANTAGE CHEVROLET                   9510 JOLIET RD                                                                                     HODGKINS             IL    60525‐4137
ADVANTAGE CHEVROLET /GE               3 CAPITAL DR                                                                                       EDEN PRAIRIE        MN     55344‐3890
ADVANTAGE CHEVROLET OF                DESMOND ROBERTS                    115 W FRONTAGE RD S                                             BOLINGBROOK          IL    60440
BOLINGBROOK,
ADVANTAGE CHEVROLET OF                115 W FRONTAGE RD S                                                                                BOLINGBROOK         IL
BOLINGBROOK,
ADVANTAGE CHEVROLET OF                DESMOND A ROBERTS                  115 W FRONTAGE RD                                               BOLINGBROOK         IL     60440
BOLINGBROOK, INC.
ADVANTAGE CHEVROLET OF                DESMOND ROBERTS                    115 W FRONTAGE RD S                                             BOLINGBROOK         IL     60440
BOLINGBROOK, INC.
ADVANTAGE CHEVROLET OF                115 W FRONTAGE RD S                                                                                BOLINGBROOK         IL     60440
BOLINGBROOK, INC.
ADVANTAGE CHEVROLET OF                6555 SHABBONA RD                                                                                   INDIAN HEAD PARK    IL     60525‐4353
BOLINGBROOK, INC.,
ADVANTAGE CHEVROLET, BUICK, PONTIAC   1111 M ST                                                                                          AURORA              NE     68818‐2019

ADVANTAGE CHEVROLET, BUICK, PONTIAC, ALAN STALL                          1111 M ST                                                       AURORA              NE     68818‐2019
INC.
ADVANTAGE CHEVROLET, BUICK, PONTIAC, 1111 M ST                                                                                           AURORA              NE     68818‐2019
INC.
ADVANTAGE CHEVROLET/LEASE PLAN USA 1165 SANCTUARY PKWY                                                                                   ALPHARETTA          GA     30009‐4738

ADVANTAGE CONSULTING                  PO BOX 1196                                                                                        TROY                MI     48099‐1196
ADVANTAGE ENG/GREENW                  525 EAST STOP 18TH ROAD            P.O. BOX 407                                                    GREENWOOD           IN     46143
ADVANTAGE ENGINEERING                 5000 REGAL DR                                                            OLDCASTLE CANADA ON N0R
                                                                                                               1L0 CANADA
ADVANTAGE ENGINEERING INC             525 E STOP 18 RD                   PO BOX 407                                                      GREENWOOD          IN      46143‐9808
ADVANTAGE ENGINEERING INC             525 E STOP 18 RD                                                                                   GREENWOOD          IN      46143‐9808
ADVANTAGE FREIGHT CARRIER INC         13038 SPANISH POND RD                                                                              SAINT LOUIS        MO      63138‐3322
ADVANTAGE HEALTH PHY                  245 STATE ST SE STE 1A                                                                             GRAND RAPIDS       MI      49503‐4328
ADVANTAGE LEGAL SERVICE P.C.          ACCT OF HOWARD L MARSHALL
ADVANTAGE LOGISTICS                   36507 VAN BORN RD                                                                                  ROMULUS            MI      48174‐4051
ADVANTAGE LOGISTICS                   PO BOX 2230                                                                                        RIVERVIEW          MI      48193‐1230
ADVANTAGE MARKETING                   5245 GUION RD                                                                                      INDIANAPOLIS       IN      46254‐1782
ADVANTAGE P/DEFIANCE                  2090 E 2ND ST                                                                                      DEFIANCE           OH      43512‐8654
ADVANTAGE PACK/DET                    20201 SHERWOOD ST                                                                                  DETROIT            MI      48234‐2926
ADVANTAGE PACKAGING INC               27733 GROESBECK HWY                                                                                ROSEVILLE          MI      48066‐2758
ADVANTAGE PERSONNEL                   4400 S SAGINAW                                                                                     FLINT              MI      48507
ADVANTAGE PHYSICAL T                  5556 DAVISON RD                                                                                    LOCKPORT           NY      14094‐9090
ADVANTAGE POWDER COATING INC          2090 E 2ND ST                                                                                      DEFIANCE           OH      43512‐8654
ADVANTAGE POWDER COATING INC          2089 E 2ND ST                                                                                      DEFIANCE           OH      43512
ADVANTAGE RAC                         LUBBOCK INTL AIRPORT                                                                               LUBBOCK            TX      79401
ADVANTAGE RAC                         5702 WILL CLAYTON PKWY                                                                             HUMBLE             TX      77338‐8166
ADVANTAGE RAC                         6660 FIRST PARK TEN BLVD           STE 116                                                         SAN ANTONIO        TX      78213‐4310
ADVANTAGE RENT A CAR                  6660 FIRST PARK TEN BLVD           STE 116                                                         SAN ANTONIO        TX      78213‐4310
ADVANTAGE RENT A CAR                  P BOX 2904                                                                                         MINNEAPOLIS        MN      55402‐0904
ADVANTAGE RENT A CAR                  50 S 24TH ST                                                                                       PHOENIX            AZ      85034‐2535
ADVANTAGE RENT A CAR                  2375 W NORTH TEMPLE                                                                                SALT LAKE CITY     UT      84116‐2915
ADVANTAGE RENT A CAR                  6660 FIRST PARK TEN BLVD STE 116                                                                   SAN ANTONIO        TX      78213‐4310
ADVANTAGE RENT A CAR                  21104 INTERNATIONAL BLVD                                                                           SEATAC             WA      98198‐6069
ADVANTAGE RENT A CAR                  3400 UNIVERSITY S E BUILDING N                                                                     ALBUQUERQUE        NM      87106
ADVANTAGE RENT A CAR                  9229 RENTAL CAR LN                                                                                 AUSTIN             TX      78719‐2335
ADVANTAGE RENT A CAR                  1308 PARKRIDGE DR                                                                                  SAN ANTONIO        TX      78216‐6031
ADVANTAGE RENT A CAR                  3907 S 26TH AVE                                                                                    DALLAS             TX      75261
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Name                              Address1                           Address2                Address3                 Address4                     City             State Zip
ADVANTAGE RENT A CAR              5702 WILL CLAYTON PKWY                                                                                           HUMBLE            TX 77338‐8166
ADVANTAGE RENT A CAR              1913 N PADRE ISLAND DR                                                                                           CORPUS CHRISTI    TX 78408‐2333
ADVANTAGE RENT A CAR              3210 E GRIMES ST                                                                                                 HARLINGEN         TX 78550‐4552
ADVANTAGE RENT A CAR              23790 E 78TH AVE                                                                                                 DENVER            CO 80249‐6387
ADVANTAGE RENT A CAR              2200 SUNPORT BLVD SE                                                                                             ALBUQUERQUE       NM 87106‐3247
ADVANTAGE RENT‐A‐CAR              3443 INDIA ST                                                                                                    SAN DIEGO         CA 92103‐5316
ADVANTAGE RENT‐A‐CAR              1030 W MANCHESTER BLVD                                                                                           INGLEWOOD         CA 90301‐1529
ADVANTAGE RENT‐A‐CAR              218 S LIMIT ST                                                                                                   COLORADO SPRINGS CO 80905‐1625

ADVANTAGE RENT‐A‐CAR              101 S TEXAS AVE                                                                                                  BRYAN             TX   77803‐5306
ADVANTAGE RENT‐A‐CAR              8333 AIRPORT BLVD.                                                                                               HOUSTON           TX   77061
ADVANTAGE RENT‐A‐CAR              6660 FIRST PARK TEN BLVD           STE 116                                                                       SAN ANTONIO       TX   78212‐4310
ADVANTAGE RENT‐A‐CAR              10150 DANIELS PKWY                                                                                               FORT MYERS        FL   33913‐7707
ADVANTAGE RENT‐A‐CAR              3700 N. MANNHEIM ROAD                                                                                            FRANKLIN PARK     IL   60131
ADVANTAGE RENT‐A‐CAR              3700 N MANNHEIM ROAD                                                                                             FRANKLIN PARK     IL   60131
ADVANTAGE RENT‐A‐CAR              5757 S SEMORAN BLVD                                                                                              ORLANDO           FL   32822‐4813
ADVANTAGE RENT‐A‐CAR              22 HANA HWY                                                                                                      KAHULUI           HI   96732‐2105
ADVANTAGE RENT‐A‐CAR              575 LONDON DRIVE                                                                                                 KANSAS CITY       MO   64153
ADVANTAGE RENT‐A‐CAR              5560 FIRST PARK TEN BLVD           STE 115                                                                       SAN ANTONIO       TX   79213‐4310
ADVANTAGE RENT‐A‐CAR              2814 LANDING VIEW LN                                                                                             GRAND JUNCTION    CO   81506‐3922
ADVANTAGE SIGN SUPPLY INC         PO BOX 888684                                                                                                    GRAND RAPIDS      MI   49588‐8684
ADVANTAGE TANK LINES              6363 PROMWAY AVE NW                                                                                              NORTH CANTON      OH   44720‐7619
ADVANTAGE TECHNICAL SVCS INC      5000 REGAL DR                                                                       OLDCASTLE ON N0R 1L0
                                                                                                                      CANADA
ADVANTAGE TECHNICAL SVCS INC      5000 REGAL DR.                     OLD CASTLE,ON ,N0R1L0                            CANADA
ADVANTAGE TECHNICAL SVCS INC      5000 REGAL DR.                     OLD CASTLE ,ON,N0R1L0                            CANADA
ADVANTAGE TECHNICAL SVCS INC      LYNDA DETTINGER                    5000 REGAL DRIVE        OLD CASTLE,ON ,N0R 1L0   CANADA
ADVANTAGE TECHNICAL SVCS INC      5000 REGAL DRIVE                   OLD CASTLE, ON          N0R 1L0                  CANADA
ADVANTAGE TECHNOLOGIES INC        PO BOX 6378                                                                                                      PLYMOUTH          MI   48170‐0467
ADVANTAGE TRANSPORTATION          800 LONE OAK RD                                                                                                  SAINT PAUL        MN   55121‐2212
ADVANTAGE TRUCK ACCESSORIES       1010 N MAIN ST                                                                                                   ELKHART           IN   46514‐3205
ADVANTAGE TRUCK ACCESSORIES       JEFF FINKX203                      1010 N. MAIN STREET                                                           HUNTSVILLE        AL   35805
ADVANTAGE TRUCK ACCESSORIES IN    1010 N MAIN ST                     PO BOX 1747                                                                   ELKHART           IN   46514‐3205
ADVANTAGE TRUCK ACCESSORIES INC   1010 N MAIN ST                                                                                                   ELKHART           IN   46514‐3205
ADVANTAGE TRUCK ACCESSORIES INC   1010 N MAIN ST                     PO BOX 1747                                                                   ELKHART           IN   46514‐3205
ADVANTAGE TRUCK ACCESSORIES INC   JEFF FINKX203                      1010 N. MAIN STREET                                                           HUNTSVILLE        AL   35805
ADVANTAGE VENTURES                ADVANTAGE AUDIO‐VISUAL             8871 BALBOA AVE STE B                                                         SAN DIEGO         CA   92123‐1500
ADVANTECH AUTOMATION CORP         1320 KEMPER DR STE 500                                                                                           CINCINNATI        OH   45240
ADVANTECH CORP                    PO BOX 45895                                                                                                     SAN FRANCISCO     CA   94145‐0895
ADVANTECH CORPORATION             1320 KEMPER MEADOW DR STE 500                                                                                    CINCINNATI        OH   45240‐4146
ADVANTECH INTERNATIONAL INC       1600 COTTONTAIL LANE                                                                                             SOMERSET          NJ   08873
ADVANTECH INTERNATIONAL INC       1600 COTTONTAIL LN                 PO BOX 6739                                                                   SOMERSET          NJ   08873
ADVANTECH INTERNATIONAL INC       1020 KEGA                                                                           IIDA NAGANO 395‐0813 JAPAN

ADVANTECH INTERNATIONAL INC       MICHELLE CROCKETT                  1600 COTTONTAIL LANE                                                          MADISON HEIGHTS   MI   48071

ADVANTECH TECHNOLOGIES INC        15375 BARRANCA PKWY STE A106                                                                                     IRVINE            CA   92618‐2203
ADVANTECH/SOMERSET                1600 COTTONTAIL LN                                                                                               SOMERSET          NJ   08873
ADVANTOUS CONSULTING LLC          9270 SIEGEN LN BLDG 801                                                                                          BATON ROUGE       LA   70810‐0937
ADVENA, DENNIS                    109 CRYSTAL RUN DR                                                                                               MIDDLETOWN        DE   19709‐6009
ADVENT EPISCOPAL CHURCH           3325 MIDDLEBELT RD                                                                                               WEST BLOOMFIELD   MI   48323‐1940

ADVENT HOUSE MINISTRIES           743 N MARTIN LUTHER KING JR BLVD                                                                                 LANSING           MI   48915‐2057
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Name                                  Address1                           Address2                        Address3                    Address4                      City           State Zip
ADVENT INTERNATIONAL PLC ATT: SIMON   111 BUCKINGHAM PALACE ROAD                                                                     LONDON W1W 0SR GREAT
POWELL                                                                                                                               BRITAIN
ADVENT REHABILITATIO                  6763 PAYSPHERE CIR                                                                                                           CHICAGO        IL    60674‐0067
ADVENT TOOL & MOLD INC                JAMES MURPHY                       999 RIDGEWAY AVE.                                                                         ARMADA         MI    48005
ADVENTA CONSULTING INC                1500 TERMINAL TOWER                                                                                                          CLEVELAND      OH    44113
ADVENTA CONSULTING INC                DOYLE, PETER                       2000 STANDARD BLDG 1370                                                                   CLEVELAND      OH    44113
                                                                         ONTARIO ST
ADVENTEK CORP                         BARBARA GODSHALK                   10 HEADLEY PLACE                                                                          HOUSTON         TX   77002
ADVENTNET                             4900 HOPYARD RD STE 310                                                                                                      PLEASANTON      CA   94588‐7100
ADVENTURE CHEVROLET, INC.             ANDY WHARTON                       106 1ST ST S                                                                              REFORM          AL   35481‐8038
ADVENTURE CHEVROLET, INC.             106 1ST ST S                                                                                                                 REFORM          AL   35481‐8038
ADVENTURE TECHNOLOGIES INC            221 W MAIN ST                                                                                                                MURFREESBORO    TN   37130‐3545
ADVERTISING CHECKING BUREAU IN        2 PARK AVE 18TH FL                                                                                                           NEW YORK        NY   10016
ADVERTISING CHECKING BUREAU INC       REBEKAH STOUTENBURG                2 PARK AVE 18TH FLOOR                                                                     NEW YORK        NY   10016
ADVERTISING CHECKING BUREAU INC       1610 CENTURY CENTER PKWY STE 104                                                                                             MEMPHIS         TN   38134‐8957
ADVERTISING CHECKING BUREAU INC       2 PARK AVE 18TH FL                                                                                                           NEW YORK        NY   10016
ADVERTISING CHECKING BUREAU INC       2 PARK AVENUE                                                                                                                NEW YORK        NY   10016
ADVERTISING COUNCIL INC               815 2ND AVE                        BSMT                                                                                      NEW YORK        NY   10017‐4594
ADVERTISING DIGITAL                   IDENTIFICATION LLC                 11020 DAVID TAYLOR DR STE 305   DBA AD‐ID                                                 CHARLOTTE       NC   28262‐1102
ADVERTISING RESEARCH FOUNDATION       641 LEXINGTON AVE                                                                                                            NEW YORK        NY   10022
ADVERTISING SPECIALTY COMPANY
ADVERTISING WOMEN OF NEW YORK         25 W 45TH ST STE 403                                                                                                         NEW YORK       NY    10036‐4910
ADVETECH INC                          451 W MAIN ST                                                                                                                CANFIELD       OH    44406‐1425
ADVICS CO LTD
ADVICS CO LTD                         10550 JAMES ADAMS ST                                                                                                         TERRE HAUTE    IN    47802‐9294
ADVICS CO LTD                         1101 JOAQUIN CAVAZOS                                                                                                         LOS INDIOS     TX    78567
ADVICS CO LTD                         1650 KINGSVIEW DR                                                                                                            LEBANON        OH    45036‐8390
ADVICS CO LTD                         1755 ROBERT C JACKSON DR                                                                                                     MARYVILLE      TN    37801‐3700
ADVICS CO LTD                         3300 GENERAL MOTORS RD                                                                                                       MILFORD        MI    48380‐3726
ADVICS CO LTD                         45300 POLARIS CT                                                                                                             PLYMOUTH       MI    48170‐6039
ADVICS CO LTD                         BRIAN GILTINAN                     10550 JAMES ADAMS ST            C/O AISIN BRAKE & CHASSIS                                 TERRE HAUTE    IN    47802‐9294
                                                                                                         INC
ADVICS CO LTD                         BRIAN GILTINAN                     C/O AISIN BRAKE & CHASSIS INC   10550 JAMES ADAMS STEET     SHANGHAI, 201715 CHINA
                                                                                                                                     (PEOPLE'S REP)
ADVICS CO LTD                         BRIAN GILTINAN                     C/O AMAK BRAKE LLC              1765 CLEVELAND AVE.         AJAX ON CANADA
ADVICS CO LTD                         BRIAN GILTINAN                     C/O AMBRAKE‐AKEBONO             300 RING ROAD                                             GARRETT         IN   46738
ADVICS CO LTD                         BRIAN GILTINAN                     C/O DENSO MANUFACTURING         1755 ROBERT C JACKSON DR.                                 INDIANAPOLIS    IN   46268

ADVICS CO LTD                         BRIAN GILTINAN                     C/O TRW INC                     817 N. TAYLOR ROAD                                        SAN LEANDRO    CA    94577
ADVICS CO LTD                         MIKE THOMPSON                      1650 KINGSVIEW DR               ADVICS NORTH AMERICAN                                     LEBANON        OH    45036‐8390
                                                                                                         INC.
ADVICS CO LTD                         MIKE THOMPSON                      ADVICS NORTH AMERICAN INC.      1650 KINGSVIEW DR.                                        COLUMBUS       OH
ADVICS CO LTD                         TRESSA CUHNA                       C/O ATTC MANUFACTURING INC      10455 STATE RD 37                                         CENTER LINE    MI
ADVICS CO LTD                         C/O AISIN SEIKI HONSHA 2‐1                                                                     KARIYA AICHI 448‐0032 JAPAN

ADVICS MANUFACTURING OHIO             MIKE THOMPSON                      1650 KINGSVIEW DR               ADVICS NORTH AMERICAN                                     LEBANON        OH    45036‐8390
                                                                                                         INC.
ADVICS MANUFACTURING OHIO             MIKE THOMPSON                      ADVICS NORTH AMERICAN INC.      1650 KINGSVIEW DR.                                        COLUMBUS       OH
ADVICS MANUFACTURING OHIO INC         1650 KINGSVIEW DR                                                                                                            LEBANON        OH    45036‐8390
ADVICS MANUFACTURING OHIO INC         BRIAN GILTINAN                     C/O AMAK BRAKE LLC              1765 CLEVELAND AVE.         AJAX ON CANADA
ADVICS MANUFACTURING OHIO INC         BRIAN GILTINAN                     C/O TRW INC                     817 N. TAYLOR ROAD                                        SAN LEANDRO    CA    94577
ADVICS MFG OF OHIO                    ADVICS NORTH AMERICA               1650 KINGSVIEW DR                                                                         LEBANON        OH    45036‐8390
ADVICS NORTH AMERICA                  BRIAN GILTINAN                     C/O AMBRAKE‐AKEBONO             300 RING ROAD                                             GARRETT        IN    46738
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Name                                Address1                             Address2                          Address3                    Address4                 City             State Zip
ADVICS NORTH AMERICA                BRIAN GILTINAN                       C/O DENSO MANUFACTURING           1755 ROBERT C JACKSON DR.                            INDIANAPOLIS      IN 46268

ADVICS NORTH AMERICA                1755 ROBERT C JACKSON DR                                                                                                    MARYVILLE        TN   37801‐3700
ADVICS NORTH AMERICA ($07)          MASAHIRO INDEN                       45300 POLARIS CT                                                                       PLYMOUTH         MI   48170‐6039
ADVICS NORTH AMERICA ($95)          TERUISHA KONO                        45300 POLARIS CT                                                                       PLYMOUTH         MI   48170‐6039
ADVICS NORTH AMERICA INC            10550 JAMES ADAMS ST                                                                                                        TERRE HAUTE      IN   47802‐9294
ADVICS NORTH AMERICA INC            1101 JOAQUIN CAVAZOS                                                                                                        LOS INDIOS       TX
ADVICS NORTH AMERICA INC            45300 POLARIS CT                                                                                                            PLYMOUTH         MI   48170‐6039
ADVICS NORTH AMERICA INC            BRIAN GILTINAN                       10550 JAMES ADAMS ST              C/O AISIN BRAKE & CHASSIS                            TERRE HAUTE      IN   47802‐9294
                                                                                                           INC
ADVICS NORTH AMERICA INC            BRIAN GILTINAN                       C/O AISIN BRAKE & CHASSIS INC     10550 JAMES ADAMS STEET     SHANGHAI, 201715 CHINA
                                                                                                                                       (PEOPLE'S REP)
ADVICS NORTH AMERICA INC.           TRESSA CUHNA                         C/O ATTC MANUFACTURING INC        10455 STATE RD 37                                    CENTER LINE      MI
ADVICS NORTH AMERICA, INC           45300 POLARIS CT                                                                                                            PLYMOUTH         MI   48170‐6039
ADVICS NORTH AMERICA, INC.          3300 GENERAL MOTORS RD                                                                                                      MILFORD          MI   48380‐3726
ADVIENTO, REYNALDO B                2806 HUNTER RD                                                                                                              FAIRFAX          VA   22031‐1418
ADVISEN LTD                         1430 BROADWAY                        RM 800                                                                                 NEW YORK         NY   10018‐9209
ADVISER COMPLIANCE ASSOCIATES LLC   2120 L ST NW STE 530                                                                                                        WASHINGTON       DC   20037‐1534

ADVITO CONSULTING                   ATTN: CORPORATE OFFICER/AUTHORIZED   1055 LENOX PARK BLVD NE STE 420                                                        ATLANTA          GA   30319‐5367
                                    AGENT
ADVITO CONSULTING                   1505 LBJ FREEWAY                                                                                                            DALLAS           TX   75234
ADVITO LLC                          ATTN: CFO                            1055 LENOX PARK BLVD NE STE 420                                                        ATLANTA          GA   30319‐5367
ADVIVUM ANESTHESIOLO                PO BOX 413739                                                                                                               KANSAS CITY      MO   64141‐3739
ADVOCATE ATTORNEY                   ATTN: MARILYN WALKER                 110 N PERRY ST                                                                         PONTIAC          MI   48342‐2343
ADVOCATE FOR EMS                    PO BOX 15945‐281                                                                                                            LENEXA           KS   66285
ADVUS W HUDSON                      6215 POSSUM RUN ROAD                                                                                                        DAYTON           OH   45440‐4031
ADW INDUSTRIES INC                  130 WOODWORTH AVE                    PO BOX 878                                                                             ALMA             MI   48801‐2441
ADW INDUSTRIES INC
ADW INDUSTRIES INC                  130 WOODWORTH AVE                                                                                                           ALMA             MI   48801‐2441
ADWAN HADEEL                        6179 VERBENA CT                                                                                                             GRAND BLANC      MI   48439‐2318
ADWAN, HADEEL A                     6179 VERBENA CT                                                                                                             GRAND BLANC      MI   48439‐2318
ADWAN, HADEEL ATA                   6179 VERBENA CT                                                                                                             GRAND BLANC      MI   48439‐2318
ADWANE WARCHOL                      8506 IVY HILL DR                                                                                                            YOUNGSTOWN       OH   44514‐5208
ADWAY JR, EARVEN                    1215 GALLAGHER ST                                                                                                           SAGINAW          MI   48601‐3813
ADWAY, CURTIS R                     436 S 9TH ST                                                                                                                SAGINAW          MI   48601‐1941
ADWAY, EARLENE                      2525 WESLEY DR                                                                                                              SAGINAW          MI   48601‐4547
ADWAY, LEE O                        9000 WINGSPREAD DR                                                                                                          OKLAHOMA CITY    OK   73159‐6568
ADWAY, ROBERT B                     2204 WALNUT ST                                                                                                              SAGINAW          MI   48601‐2035
ADWAY, WILLIE L                     8718 SOUTH DENKER AVENUE                                                                                                    LOS ANGELES      CA   90047‐3423
ADWELL, HOWARD R                    208 SIMMENTAL LN                                                                                                            GLASGOW          KY   42141‐3512
ADWELL, M E                         5901 W 25TH #2                                                                                                              INDIANAPOLIS     IN   46224
ADY, JEWEL                          2602 EVE ANN DR                                                                                                             PORT JEFFERSON   NY   11776‐4286
                                                                                                                                                                STATION
ADY, ROBERT D                       6155 SHAFFER RD NW                                                                                                          WARREN           OH   44481‐9317
ADYDAN, GLORIA J                    8852 HAVENS CIRCLE RD 2                                                                                                     BREWERTON        NY   13029‐9692
ADZAM, INC.                         DOUG'S NORTHWEST CADILLAC‐HUMMER, DOUGLAS IKEGAMI                      17545 AURORA AVE N                                   SHORELINE        WA   98133‐4812
                                    INC.
ADZAM, INC.                         ATT: DOUGLAS IKEGAMI              17545 AURORA AVE N                                                                        SHORELINE        WA   98133
ADZEMA, RUSSELL A                   6711 RIVER WALK DR                                                                                                          VALLEY CITY      OH   44280‐9488
ADZICH, BRANKO                      3492 COURTLAND RD                                                                                                           BEACHWOOD        OH   44122‐4280
ADZIJA, MARGARET M                  849 HICKORY DR                                                                                                              NO HUNTINGDON    PA   15642‐2209
AE & E ‐ VON ROLL INC               302 RESEARCH DR STE 130                                                                                                     NORCROSS         GA   30092‐2985
AE GOETZE NORTH AMERICA             GEORGE BOURAS                     3605 W. CLEVELAND RD.                                                                     AU GRES          MI   48703
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Name                                  Address1                             Address2                        Address3               Address4                     City            State   Zip
AE GOETZE NORTH AMERICA               GEORGE BOURAS                        3605 CLEVELAND ROAD EXT                                                             SOUTH BEND       IN     46628‐9779
AE GOETZE/LIVONIA                     38777 6 MILE RD STE 300                                                                                                  LIVONIA          MI     48152‐2660
AE GOETZE/SCHOFIELD                   38777 6 MILE RD STE 300                                                                                                  LIVONIA          MI     48152‐2660
AE GRAY/GR BLANC                      PO BOX 522                                                                                                               GRAND BLANC      MI     48480‐0522
AE GROUP AG                           AM KREUZWEG                                                                                 GERSTUNGEN TH 99834          GERSTUNGEN       TH     99834
                                                                                                                                  GERMANY
AE LIGHT METAL CASTING GEORGIA INC    100 JANE FRYER RD                                                                                                        LAGRANGE         GA     30241‐9416

AE LIGHT METAL CASTING GMBH & CO KG AN DER TRAVE 6                                                                                D‐23923 GERMANY

AE LIGHT METALCASTING GEORGIA         100 JANE FRYER RD                                                                                                        LAGRANGE        GA      30241‐9416
AE LIGHT METALCASTING GEORGIA INC     100 JANE FRYER RD                                                                                                        LAGRANGE        GA      30241‐9416
AE LIGHT METALCASTING GEORGIA INC     PO BOX 1189                                                                                                              LAGRANGE        GA      30241‐0023
AE TECHRON                            2507 WARREN ST                                                                                                           ELKHART         IN      46516‐5759
AEARO CO                              8001 WOODLAND DR                                                                                                         INDIANAPOLIS    IN      46278‐1332
AEARO CO/AO SAFETY                    1728 FRISCO AVE                                                                                                          CHICKASHA       OK      73018‐1600
AEARO COMPANY                         90 MECHANIC ST                                                                                                           SOUTHBRIDGE     MA      01550‐2555
AEARO CORP                            1728 FRISCO AVE                                                                                                          CHICKASHA       OK      73018‐1600
AEARO CORP                            8001 WOODLAND DR                                                                                                         INDIANAPOLIS    IN      46278‐1332
AEARO CORPORATION                     1728 FRISCO AVE                                                                                                          CHICKASHA       OK      73018‐1600
AEAS APOSKITIS JOINTLY WITH DIMITRA   AND NAFSIKA A                        13 KORITSAS ST                                         KIFISSIA ATHENS GREECE
APOSKITI A ATTOGLUM                                                                                                               14561
AEBI, KATHLEEN M                      20321 15 MILE RD                                                                                                         CLINTON TWP      MI     48035‐3411
AEC ACQUISITION CORP                  C/O THE CLAYTON & DUBILIER PRIVATE   ATT: DONALD J. GOGEL            270 GREENWICH AVENUE                                GREENWICH        CT     06830
                                      EQUITY FUND IV
AEC ACQUISITIONS                      PO BOX 420                                                                                                               INDIANAPOLIS     IN     46206‐0420
AEC ACQUISTION CORP                   PO BOX 420                                                                                                               INDIANAPOLIS     IN     46206‐0420
AEC INC                               2900 S 160TH ST                                                                                                          NEW BERLIN       WI     53151
AEC INC                               1100 E WOODFIELD RD STE 550                                                                                              SCHAUMBURG       IL     60173‐5135
AEC MACHINERY LTD                     143 BROCKLEY DR                                                                             HAMILTON ON L8E 3C4
                                                                                                                                  CANADA
AEC MAGNETICS                         4699 INTERSTATE DR                                                                                                       CINCINNATI      OH      45245‐1109
AEC/FENTON                            3145 COPPER AVE                                                                                                          FENTON          MI      48430‐1779
AECOM                                 CHRIS SAMPLE                         515 SOUTH FLOWER ST, 3RD FLOOR                                                      LOS ANGELES     CA      90071
AECOM, CONESTOGA‐ROVERS & ASSOC,      ENVIRON AND ENCORE LLC               261 MARTINDALE ROAD            UNIT 3                  ST. CATHARINES, ON L2W 1A2
                                                                                                                                  CANADA
AED INC/PHOENIX                       1831 W ROSE GARDEN LN STE 3                                                                                              PHOENIX          AZ     85027‐2725
AEDER, BYRON L                        1699 MILLER HWY                                                                                                          OLIVET           MI     49076‐9444
AEDER, ROBERT B                       803 B ST                                                                                                                 SAGINAW          MI     48602
AEE ENERGY SEMINARS IN HOUSE          PO BOX 1026                                                                                                              LILBURN          GA     30048‐1026
SEMINARS
AEG AUTOMAT/CANNONSB                  701 TECHNOLOGY DRIVE                                                                                                     CANONSBURG       PA     15317
AEGERTER, ARIC T                      2367 TUMBLEWEED LN                                                                                                       BELOIT           WI     53511‐7006
AEGERTER, CHARLES L                   2939 COUNTY A                                                                                                            STOUGHTON        WI     53589
AEGERTER, CRAIG N                     1610 EVERGREEN DR                                                                                                        JANESVILLE       WI     53546‐6176
AEGERTER, DEBORAH L                   UNIT 136                             260 SOUTH OLD LITCHFIELD ROAD                                                       LITCHFIELD PK    AZ     85340‐4715
AEGERTER, TOM                         521 ROCKPORT RD                                                                                                          JANESVILLE       WI     53548‐5159
AEGIS ANESTHESIA PLC                  13829 HAMILTON ST                                                                                                        RIVERVIEW        MI     48193‐7841
AEGIS GROUP PLC                       ATTN: CORPORATE OFFICER/AUTHORIZED   37090 EAGLE WAY                                                                     CHICAGO          IL     60603
                                      AGENT
AEGIS GROUP PLC                       222 S RIVERSIDE PLZ                                                                                                      CHICAGO          IL     60606
AEGIS GROUP PLC                       306 S WASHINGTON AVE STE 500                                                                                             ROYAL OAK        MI     48067‐3836
AEGIS GROUP, PLC                      43‐45 PORTMAN SQUARE                 ATTN: HEAD OF LEGAL AFFAIRS                            LONDON WIH 6LY
AEGIS SCIENCES CORPO                  PO BOX 306061                                                                                                            NASHVILLE        TN     37230‐6061
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Name                           Address1                                Address2                       Address3                 Address4                 City               State Zip
AEGIS TECHNOLOGY INC           ATTN TIMOTHY LINN                       3300 WESTMINSTER AVE STE A                                                       SANTA ANA           CA 92703‐1475
AEI OCEAN SERVICES             33 WASHINGTON ST FL 16                                                                                                   NEWARK              NJ 07102‐3107
AEIS CANADA ULC                ATTN: GENERAL COUNSEL                   2000 ARGENTINA ROAD PLAZA II   SUITE 107                MISSISSAUGA ON L5N 1V8
                                                                                                                               CANADA
AEISHA R VAUGHAN               4220 OVERLOOK #126                                                                                                       FORT WORTH         TX    76119
AEJEA HILL, A MINOR            BY JAMES P HILL, HER GUARDIAN AD LITEM C/O MARTIN E. JACOBS, INC.      3415 SO. SEPULVEDA       SUITE 320                LOS ANGELES        CA    90034
                                                                                                      BOULEVARD
AEKYUNG SHAFFER                278 HUNTERWOOD WAY                                                                                                       BOWLING GREEN       KY   42103‐7066
AEL FINANCIAL, L.L.C.          600 NORTH BUFFALO GROVE ROAD                                                                                             BUFFALO GROVE       IL   60089
AEL FINANCIAL, L.L.C.          ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 600 NORTH BUFFALO GROVE ROAD                                                      BUFFALO GROVE       IL   60089

AELEA HILL, A MINOR            AELEA HILL, A MINOR, BY JAMES P HILL,   C/O MARTIN E JACOBS, INC       3415 SO SEPULVEDA BLVD                            LOS ANGELES        CA    90034
                               HER GUARDIAN AD LITEM                                                  SUITE 320
AELKER, ROBERT B               1584 N HICKORY RD                                                                                                        OWOSSO             MI    48867‐9492
AELLIS THOMAS                  123 W 4TH ST                                                                                                             WEST ISLIP         NY    11795‐1829
AEM                            PO BOX 903                                                                                                               SOUTHFIELD         MI    48037‐0903
AEM/HAWTHORNE                  2205 126TH STREET                                                                                                        HAWTHORNE          CA    90250
AEMISEGGER, CATHERINE S        1455 AUSTIN FARMS DR                                                                                                     ORTONVILLE         MI    48462‐9057
AEMISEGGER, GLEN R             1455 AUSTIN FARMS DR                                                                                                     ORTONVILLE         MI    48462‐9057
AEMMER, ANTHONY                WISE & JULIAN                           156 N MAIN ST STOP 1                                                             EDWARDSVILLE       IL    62025‐1972
AEMMER, CHARLES E              8801 WHIPPOORWILL RD                                                                                                     DIAMOND            OH    44412‐9708
AENA BEAVERS                   1613 LITTLE KITTEN AVE                                                                                                   MANHATTAN          KS    66503‐7543
AENIS, KENNETH O               1550 PORTLAND AVE APT 1306                                                                                               ROCHESTER          NY    14621
AENIS, PAMELA S                1646 DOVER ST                                                                                                            FERNDALE           MI    48220‐3105
AEOHLA WHETSEL                 450 N 650 W                                                                                                              ANDERSON           IN    46011‐9308
AEOLUS INC                     751 TAFT AVE                                                                                                             ALBANY             CA    94706‐1026
AEP (COLUMBUS STHRN PWR)       PO BOX 88880                                                                                                             CANTON             OH    44701
AEP (INDIANA MICHIGAN)         PO BOX 24412                                                                                                             CANTON             OH    44701‐4412
AEP (SWEPCO)(CANTON)           PO BOX 24422                                                                                                             CANTON             OH    44701‐4422
AEP / INDIANA MICHIGAN POWER   AEP (INDIANA MICHIGAN)                  1 RIVERSIDE PLAZA                                                                COLUMBUS           OH    43215
(MARION) CITIBANK
AEP / SWEPCO CITIBANK          AEP (SWEPCO)(CANTON)                    1 RIVERSIDE PLAZA                                                                COLUMBUS           OH    43215
AEP INDUSTRIES                 125 PHILLIPS AVE                                                                                                         SOUTH HACKENSACK   NJ    07606‐1585

AEP INDUSTRIES, INC.           LINDA BARBA                             125 PHILLIPS AVENUE                                                              HACKENSACK         NJ
AEP/SWEPCO                                                             3708 W 7TH ST                                                                    TEXARKANA          TX    75501
AEP/SWEPCO                                                             6130 UNION AVE                                                                   SHREVEPORT         LA    71108
AEPELBACHER, DANIEL J          1240 BLOOMER RD                                                                                                          ROCHESTER HILLS    MI    48307‐2314
AEPELBACHER, THOMAS C          25807 LARAMIE DR                                                                                                         NOVI               MI    48374‐2367
AEPPLI, JAMES R                4812 PINE TRACE ST                                                                                                       YOUNGSTOWN         OH    44515‐4816
AEPPLI, JAMES RICHARD          4812 PINE TRACE ST                                                                                                       YOUNGSTOWN         OH    44515‐4816
AER MANUFACTURING              2004 CHENAULT                                                                                                            CARROLTON          TX    75006
AER MFG LP                     1605 SURVEYOR BLVD                                                                                                       CARROLLTON         TX    75006‐5103
AER MFG LP                     1605 SURVEYOR BLVD                      PO BOX 979                                                                       CARROLLTON         TX    75006‐5103
AER MFG LP                     ADAM SKAGGS                             4040 LINDBERG                                                                    AUBURN HILLS       MI
AER MFG LP                     ADAM SKAGGS                             4040 LINDBERGH DR                                                                ADDISON            TX    75001‐4342
AER MFG. INC.                  ADAM SKAGGS                             4040 LINDBERGH DR                                                                ADDISON            TX    75001‐4342
AER MFG. INC.                  ADAM SKAGGS                             4040 LINDBERG                                                                    AUBURN HILLS       MI
AER TECH/FULLERTON             1841 W COMMONWEALTH AVE                                                                                                  FULLERTON          CA    92833‐3013
AER TECHNOLOGIES               MIKE MCGROARTY                          650 COLUMBIA ST                                                                  BREA               CA    92821‐2912
AER TECHNOLOGIES INC                                                   1841 W COMMONWEALTH AVE                                                          FULLERTON          CA    92833
AERATUS INC                    PO BOX 532189                                                                                                            GRAND PRAIRIE      TX    75053‐2189
AERIA GAMES ENTERTAINMENT
                                       09-50026-mg               Doc 7123-3    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit B
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Name                                   Address1                          Address2                    Address3    Address4               City               State Zip
AERIAL ASPECT PHOTOGRAPHY              3978 MEADOWBROOK BLVD                                                                            UNIVERSITY HEIGHTS OH 44118‐4439

AERIAL ASSOCIATES PHOTOGRAPHY          PO BOX 7754                                                                                      ANN ARBOR           MI   48107‐7754
AERIEL DEMERITT                        12018 WINTERCREST DR APT 51                                                                      LAKESIDE            CA   92040‐3750
AERNE, DEBRA J                         5 DEAN PARK PL                                                                                   GLEN CARBON         IL   62034‐2403
AERNE, YULADINE                        713 TWYCKINGHAM LN                                                                               KOKOMO              IN   46901‐1825
AERNI, WILLIAM G                       30965 PINE CONE DR                                                                               FARMINGTON HILLS    MI   48331‐1199

AERNOUTS, GARRY D                      2955 BLUEWATER LN SW                                                                             GRANDVILLE          MI   49418‐1114
AERNOUTS, RICHARD G                    11400 RIVERSIDE DR                P.O.BOX 411                                                    STANWOOD            MI   49346‐9095
AERO & AUTO STUD SPECIALISTS           DAVID STANTON                     56000 GRAND RIVER AVE                                          CROSSVILLE          TN   38555
AERO & AUTO STUD SPECIALTIES INC       DAVID STANTON                     56000 GRAND RIVER AVE                                          CROSSVILLE          TN   38555
AERO AUTO REPAIR INC.                  8325 BALBOA BLVD                                                                                 NORTHRIDGE          CA   91325‐4008
AERO BLAST/STH BEND                    630 E. BRONSON STREET             300 PARK POINT                                                 SOUTH BEND          IN   46601
AERO BULK CARRIER INC                  4519 CASCADE RD SE BLDG 11B       PO BOX 14                                                      GRAND RAPIDS        MI   49546
AERO COMPRESSOR INC                    12966 PARK ST                                                                                    SANTA FE SPRINGS    CA   90670‐4046
AERO CORPORATION                       1998 HARRISBURG PIKE                                                                             MIDDLETOWN          PA   17057
AERO CORPORATION                       1998 W HARRISBURG PIKE                                                                           MIDDLETOWN          PA   17057‐4916
AERO DETROIT/MAD HGT                   1100 E. MANDOLINE                                                                                MADISON HEIGHTS     MI   48071

AERO DISPATCH                          7340 STEPPING STONE                                                                              LIBERTY TOWNSHIP    OH   45044‐9785

AERO EXPEDITED INC                     24259 SORRENTINO CT                                                                              CLINTON TWP         MI   48035‐3237
AERO FAB                               ATTN: CHARLIE KLING               13101 ECKLES RD                                                PLYMOUTH            MI   48170‐4245
AERO FILT/MADISON HT                   1604 E AVIS DR                                                                                   MADISON HEIGHTS     MI   48071‐1501

AERO FILTER INC                        1604 E AVIS DR                                                                                   MADISON HEIGHTS     MI   48071‐1501

AERO GRINDING INC                      28300 GROESBECK HWY                                                                              ROSEVILLE           MI   48066‐2384
AERO GROUP LTD                         100 MEREDITH DR STE 275                                                                          DURHAM              NC   27713‐5238
AERO HARDWARE & SUPPLY INC             300 INTERNATIONAL PKWY                                                                           SUNRISE             FL   33325‐6240
AERO INC                               3275 MARTIN RD STE 125                                                                           COMMERCE            MI   48390‐1600
                                                                                                                                        TOWNSHIP
AERO INC
AERO INC                               1010 W WEST MAPLE RD                                                                             WALLED LAKE         MI   48390‐2935
AERO INDUSTRIES INC                    2010 TOUHY AVE STE G                                                                             ELK GROVE VILLAGE   IL   60007‐5336

AERO MECHANICAL ENGINEERING INC        5945 ENGINEER DR                                                                                 HUNTINGTON          CA   92649‐1129
                                                                                                                                        BEACH
AERO MOTORS, INC.                       50 EASTERN BLVD                                                                                 ESSEX               MD   21221
AERO TAXI INC                           110 OLD CHURCHMANS RD                                                                           NEW CASTLE          DE   19720‐3116
AERO TAXI ROCKFORD INC                  KELSEY LAW GROUP PC              2395 S HURON PKWY STE 200                                      ANN ARBOR           MI   48104‐5170
AERO TAXI ROCKFORD INC                  6020 CESSNA DR                                                                                  ROCKFORD            IL   61109‐4230
AERO TAXI ROCKFORD INC ‐ KITTY HAWK III AERO TAXI ROCKFORD INC           2395 S HURON PKWY STE 200                                      ANN ARBOR           MI   48104‐5170

AERO TAXI ROCKFORD INC ‐ KITTY HAWK III CHERRY AIR INC                   2395 S HURON PKWY STE 200                                      ANN ARBOR           MI   48104‐5170

AERO TAXI ROCKFORD INC ‐ KITTY HAWK III CONTRACT AIR CARGO INC           2395 S HURON PKWY STE 200                                      ANN ARBOR           MI   48104‐5170

AERO TAXI ROCKFORD INC ‐ KITTY HAWK III IFL GROUP INC                    2395 S HURON PKWY STE 200                                      ANN ARBOR           MI   48104‐5170

AERO TAXI ROCKFORD INC ‐ KITTY HAWK III MURRAY AVIATION INC              2395 S HURON PKWY STE 200                                      ANN ARBOR           MI   48104‐5170
                                        09-50026-mg            Doc 7123-3    Filed 09/24/10 Entered 09/24/10 15:05:32                         Exhibit B
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Name                                    Address1                         Address2                         Address3               Address4                  City               State Zip
AERO TAXI ROCKFORD INC ‐ KITTY HAWK III RELIANT AIRLINES                 2395 S HURON PKWY STE 200                                                         ANN ARBOR           MI 48104‐5170

AERO TAXI ROCKFORD INC ‐ KITTY HAWK III ROYAL AIR FRIGHT INC             2395 S HURON PKWY STE 200                                                         ANN ARBOR          MI   48104‐5170

AERO TAXI ROCKFORD INC ‐ KITTY HAWK III SPECIAL AVIATION SYSTEMS INC     2395 S HURON PKWY STE 200                                                         ANN ARBOR          MI   48104‐5170

AERO TAXI ROCKFORD INC ‐ KITTY HAWK III TMC AIRLINES INC                 2395 S HURON PKWY STE 200                                                         ANN ARBOR          MI   48104‐5170

AERO TAXI ROCKFORD INC ‐ KITTY HAWK III TRAFFIC MANAGEMENT CORPORATION   2395 S HURON PKWY STE 200                                                         ANN ARBOR          MI   48104‐5170

AERO TAXI ROCKFORD INC ‐ KITTY HAWK III ZANTOP INTERNATIONAL AIRLINES    2395 S HURON PKWY STE 200                                                         ANN ARBOR          MI   48104‐5170

AERO TEC/RAMSEY                        SPEAR ROAD INDUSTRIAL PARK                                                                                          RAMSEY             NJ   07446
AERO TRANSPORTERS INC                  ROUTE 209 NORTH                                                                                                     ELLENVILLE         NY   12428
AERO‐CHEM INC DIV OF                   4111 SIMON ROAD                                                                                                     YOUNGSTOWN         OH   44512‐1323
AERODYN WIND TUNNEL LLC                135 GODSPEED LN                                                                                                     MOORESVILLE        NC   28115‐7181
AERODYNAMICS INC                       6544 HIGHLAND RD                                                                                                    WATERFORD          MI   48327‐1607
AEROFIN CORP                           4621 MURRAY PL                    PO BOX 10819                                                                      LYNCHBURG          VA   24502‐2235
AEROFIN CORP/LYNCHBG                   4621 MURRAY PL                    C/O AIR EQUIPMENT COMPANY                                                         LYNCHBURG          VA   24502‐2235
AEROFIN CORPORATION                    4621 MURRAY PL                                                                                                      LYNCHBURG          VA   24502‐2235
AEROFOTO                               ATTN: KARL RICHESON               611 CURTIS AVE                                                                    WILMINGTON         DE   19804‐2107
AEROLITE EXTRUSION CO                  4605 LAKE PARK RD                                                                                                   YOUNGSTOWN         OH   44512‐1814
AEROMET ENGINEERING INC                107 ADAMS ST                                                                                                        JEFFERSON CITY     MO   65101‐3058
AERON DE LAVALLE                       116 AUTUMNWOOD DR                                                                                                   GRAND ISLAND       NY   14072‐1344
AERONAVES TSM SA DE CV                 KM 13 5 HANGAR #49                CP25900 RAMOS ARIZPE COAH                               RAMOS ARIZPE COAH 25900
                                                                                                                                 MEXICO
AEROPACKAGING                          2712 MERCHANT CT                                                                                                    TRACY              CA   95377‐8501
AEROQUIP CORP/NEW HA                   10801 ROSE AVE                                                                                                      NEW HAVEN          IN   46774‐9576
AEROQUIP CORPORATION                   PO BOX 631                        3000 STRAYER RD                                                                   MAUMEE             OH   43537‐0631
AEROQUIP CORPORATION                   ACCTS REC                         3000 STRAYER RD                                                                   MAUMEE             OH   43537‐9529
AEROQUIP DE MEXICO SA DE CV            STUART SCHAFRICK                  C/O CATERPILLAR LOGISTICS SERV   11302 A EASTPOINT DR                             AUBURN             ME   04210
AEROQUIP INC.                          JENNIFER KAUFHOLD                 INDUSTRIAL DIV                   1225 W MAIN ST                                   DEXTER             MO   63841
AEROQUIP INC.                          JENNIFER KAUFHOLD                 1225 W MAIN ST                   INDUSTRIAL DIV                                   VAN WERT           OH   45891‐9362
AEROQUIP INOAC                         19700 HALL ROAD                                                                                                     CLINTON TOWNSHIP   MI   48038

AEROQUIP INOAC/CLINT                   19700 HALL ROAD                                                                                                     CLINTON TOWNSHIP   MI   48038

AEROQUIP/19700 HALL                    19700 HALL RD STE B                                                                                                 CLINTON TOWNSHIP   MI   48038‐4451

AEROQUIP/19800 HALL                    19800 HALL RD                     P.O. BOX 2330                                                                     CLINTON TWP        MI   48038‐5318
AEROQUIP/19800 HALL                    44805 TRINITY DR                                                                                                    CLINTON TWP        MI   48038‐1557
AEROQUIP/CLINTON TOW                   1035 MECKLENBURG HWY                                                                                                MOORESVILLE        NC   28115‐7853
AEROSPACE AND AGRICULTURAL             ATTN: GENERAL COUNSEL             8000 E JEFFERSON AVE             SOLIDARITY HOUSE                                 DETROIT            MI   48214‐3963
IMPLEMENT WORKERS OF AMERICA
AEROSTAR CASTINGS & MOLDS              DBA MICHIGAN METAL TECHNOLOGIES   50320 E RUSSELL SCHMIDT BLVD                                                      CHESTERFIELD       MI   48051
AEROSTAR EXPEDITE INC                  10551 ALLEN RD                                                                                                      ALLEN PARK         MI   48101
AEROTECH INC                           101 ZETA DR                                                                                                         PITTSBURGH         PA   15238‐2811
AEROTEK                                12200 E 13 MILE RD STE 210                                                                                          WARREN             MI   48093‐3041
AEROTEK
AEROTEK                                5975 WHITTLE ROAD                 SUITE 200                                               MISSISSAUGA ON L4Z 3N1
                                                                                                                                 CANADA
AEROTEK INC                            7301 PARKWAY DR                                                                                                     HANOVER            MD   21076‐1159
AEROTEK INC                            33097 SCHOOLCRAFT RD                                                                                                LIVONIA            MI   48150‐1618
AEROTEK INC                            901 TOWER DR                      STE 200                                                                           TROY               MI   48098‐2817
                               09-50026-mg               Doc 7123-3    Filed 09/24/10 Entered 09/24/10 15:05:32                     Exhibit B
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Name                           Address1                          Address2                      Address3                Address4                   City            State Zip
AEROTEK INC
AEROTEK INC                    AEROTEK CONCENTRATION             3689 COLLECTION CENTER DR                                                        CHICAGO          IL   60693‐0036
AEROTEK INC                    EASI ENGINEERING                  30800 TELEGRAPH RD STE 3700                                                      BINGHAM FARMS    MI   48025
AEROTEK ULC                    350 BURNHAMTHORPE RD W STE 700                                                          MISSISSAUGA ON L5B 3J1
                                                                                                                       CANADA
AEROTEK/HANOVER                7301 PARKWAY DR                                                                                                    HANOVER         MD    21076‐1159
AEROTEL                        AERONAUTICAL TELECOMMUNICATION    1 BRAEMAR AVE                 KINGSTON 10             JAMAICA WI JAMAICA

AEROVIRON/MONROVIA             PO BOX 5031                                                                                                        MONROVIA         CA   91017‐7131
AEROVIRONMENT                  181 W HUNTINGTON DR STE 202       AV CORPORATE HEADQUARTERS                                                        MONROVIA         CA   91016‐8406
AEROVIRONMENT INC              181 W HUNTINGTON DR STE 202                                                                                        MONROVIA         CA   91016‐8406
AEROVIRONMENT INC              1960 WALKER AVE                                                                                                    MONROVIA         CA   91016‐4847
AEROVIRONMENT INC              181 W HUNTINGTON DR STE 202       NOTIFICATION/USD                                                                 MONROVIA         CA   91016‐8406
AEROVIRONMENT, INC.            825 S MYRTLE AVE                  AEROVIRONMENT, INC.                                                              MONROVIA         CA   91016‐3424
AEROVIRONMENT, INC.            PO BOX 5031                                                                                                        MONROVIA         CA   91017‐7131
AERY CARL JR (ESTATE OF)       SIMONS EDDINS & GREENSTONE
AERY, CARL JR                  C/O SIMON EDDINS & GREENSTONE     3232 MCKINNEY AVE STE 610                                                        DALLAS           TX   75204‐8583
AES AUTOMOTIVE INC             482 RIVARD BLVD STE A                                                                                              GROSSE POINTE    MI   48230
AES AUTOMOTIVE INC             DAN LEZOTTE                       C/O CESAR‐SCOTT INC           4731 RIPLEY DR STE B    WUXI, JIANGSU PROV CHINA
                                                                                                                       (PEOPLE'S REP)
AES AUTOMOTIVE INC             482 RIVARD SUITE A                                                                                                 GROSSE POINTE    MI   48230
AES CARGO                      3 CHRYSANTHOU MYLOPNA STREET                                                            LIMASSOL 3304 CYPRUS
AES CYPRUS LTD                 3 CHRYSANTHOU MYLONA STR                                                                LIMASSOL 3304 CYPRUS
AES ELECTRICAL, INC.           GREGG KADERABEK                   13335 MID ATLANTIC BLVD                                                          LAUREL          MD    20708‐1432
AES ELECTRICAL, INC.           GREGG KADERABEK                   6623 MID CITIES AVE                                                              BELTSVILLE      MD    20705‐1424
AES INTERCONNECTS SA DE CV     DEBBIE MCKINNEY X226              AIRCRAFT & ELECTRONIC SPEC.   AVENIDA SAN RAFAEL 15                              SPARTANBURG     SC    29302
AES/INDIANAPOLIS               340 TRANSFER DR STE A                                                                                              INDIANAPOLIS    IN    46214‐4969
AESCHLIMAN, DONALD             602 FOREST AVE                                                                                                     CRYSTAL FALLS   MI    49920‐1519
AESCHLIMAN, GLENN W            1580 S MARION AVE                                                                                                  LAKE CITY       FL    32025‐6913
AESCHLIMAN, SANDRA E           PO BOX 346                                                                                                         GALVESTON       IN    46932‐0346
AESCHLIMAN, TERRY D            417 E JACKSON P O #346                                                                                             GALVESTON       IN    46932
AESCHLIMANN, RONALD F          22 HILLSIDE RD                                                                                                     HARWINTON       CT    06791‐2517
AESOP                          1100 FRANKLIN AVE STE 304                                                                                          GARDEN CITY     NY    11530‐1601
AET INTEGRATION INC            1731 PINOAK CT                                                                                                     TROY            MI    48098‐1967
AETN                           MELVIN BERNING                    235 EAST 45TH STREET                                                             NEW YORK        NY    10017
AETNA                          BRIAN MULLAHY                     TRAVELER INSURANCE/ST. PAUL   TWO JERICHO PLAZA                                  JERICHO         NY    11753
AETNA ‐ AEIA                   BOB HYLAND                        TRAVELERS INS                 ONE TOWER SQUARE 7FP                               HARTFORD        CT    06183
AETNA ‐ ST. PAUL               BRIAN MULLAHY                     TRAVELERS INSURANCE           TWO JERICHO PLAZA                                  JERICHO         NY    11753
AETNA BEARING CO               1081 SESAME ST                                                                                                     SCHILLER PARK   IL    60131‐1316
AETNA FREIGHT LINES INC        100 INDUSTRY DR                                                                                                    PITTSBURGH      PA    15275‐1014
AETNA HEALTH INC               ATTN VALERIE BEAN WP22            151 FARMINGTON AVE # 392B                                                        HARTFORD        CT    06156‐0001
AETNA HEALTH INC               151 FARMINGTON AVE # WP41                                                                                          HARTFORD        CT    06156‐0001
AETNA HEALTH INC               ATTN VALERIE BEAN WP22            7400 W CAMPUS RD                                                                 NEW ALBANY      OH    43054‐8725
AETNA HEALTH OF ILLINOIS INC   MURPHY & PRACHTHAUSER SC          ONE PLAZA EAST 330 EAST                                                          MILWAUKEE       WI    53202
                                                                 KILBOURN AVENUE SUITE 1200
AETNA HEALTH PLANS
AETNA INC                      PO BOX 790322                                                                                                      SAINT LOUIS     MO    63179‐0322
AETNA INC                      AETNA‐MIDDLETOWN                  PO BOX 70966                                                                     CHICAGO         IL    60673‐0001
AETNA INDUSTRIES INC           ATTN ACCTS REC                    24331 SHERWOOD                PO BOX 3067                                        CENTER LINE     MI    48015‐1060
AETNA LIFE INSURANCE CO        LOAN TENN FORUM                   PO BOX 360459                                                                    PITTSBURGH      PA    15251‐6459
AETNA LIFE INSURANCE CO        CONTROLLER STE 208                250 INTERNATIONAL PKWT                                                           HEATHROW        FL    32746
AETNA MANUFACTURING CO         4622 68TH AVE                                                                                                      KENOSHA         WI    53144‐1766
AETNA MANUFACTURING COMPANY    4622 68TH AVE                                                                                                      KENOSHA         WI    53144‐1766
AETNA PLASTICS CORP            1702 SAINT CLAIR AVE NE                                                                                            CLEVELAND       OH    44114‐2008
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Name                                 Address1                         Address2                         Address3   Address4               City              State   Zip
AETNA PROPERTIES I LTD PRTNRSH       C\O RAS PROP INC                 PO BOX 97                                                          WILDWOOD           PA     15091‐0097
AETNA US HEALTHCARE                  7400 W CAMPUS RD ADD CH 8\00                                                                        NEW ALBANY         OH     43054
AEXLROD DINA                         2100 WALNUT ST APT 9F                                                                               PHILADELPHIA       PA     19103‐4878
AF USHERING SERVICES INC             1550 SPRING RD STE 305                                                                              OAK BROOK           IL    60523‐1395
AFA, JORGE A                         7 FOREST PINE CT                                                                                    O FALLON           MO     63368‐6813
AFA, KIM L                           7 FOREST PINE CT                                                                                    O FALLON           MO     63368‐6813
AFA‐DOT/PLYMOUTH                     PO BOX 701093                                                                                       PLYMOUTH           MI     48170‐0959
AFAG AMERICA INC                     130 TECHNOLOGY DR                                                                                   CANONSBURG         PA     15317‐9563
AFANADOR, EVA F                      304 DORAL PARK DR                                                                                   KOKOMO             IN     46901‐7018
AFANGNIBO, KOMLA                     1196 DRAWBRIDGE DR                                                                                  RIVERDALE          GA     30296‐7301
AFANO DONALD                         1025 CANTER CT                                                                                      HARRISBURG         PA     17111‐4885
AFC INDUSTRIES                       3795 PORT UNION RD                                                                                  FAIRFIELD          OH     45014‐2207
AFC WORLDWIDE EXPRESS                30255 BEVERLY RD STE 200                                                                            ROMULUS            MI     48174‐2048
AFC WORLDWIDE EXPRESS                CHARLENE HALL                    975 COBB PLACE BLVD NW STE 101                                     KENNESAW           GA     30144‐6848
AFC‐HOLCROFT                         51151 PONTIAC TRL                                                                                   WIXOM              MI     48393‐2042
AFC‐HOLCROFT                         49630 PONTIAC TRL                                                                                   WIXOM              MI     48393‐2009
AFC‐HOLCROFT LLC                     49630 PONTIAC TRL                                                                                   WIXOM              MI     48393‐2009
AFCO                                 DBA METRO FLIGHT SERVICES LLC    8 MONTICELLO DR                                                    AMHERST            NH     03031‐2116
AFCO METALS INC                      4400 PEACHTREE INDUSTRIAL BLVD                                                                      NORCROSS           GA     30071‐1648
AFE                                  211 N HIGHWAY 81                                                                                    ARLINGTON          SD     57212‐2050
AFE INDUSTRIAL AUTOMATION INC        8365 PIPPEN DR                                                                                      BRUCE TWP          MI     48065‐5312
AFENA FEDERAL CREDIT UNION           424 N BRADNER AVE                                                                                   MARION             IN     46952‐3336
AFENTUL, STEVE J                     411 WEAVERS WAY                                                                                     BOSSIER CITY       LA     71111‐5163
AFENYI‐ANNAN, THEODORA B             3 POOR CLARES LANE                                                                                  SAVANNAH           GA     31411‐2551
AFENYI‐ANNAN, THEODORA BAABA         3 POOR CLARES LANE                                                                                  SAVANNAH           GA     31411‐2551
AFEROCINA COX                        3817 W MICHIGAN ST                                                                                  INDIANAPOLIS       IN     46222‐3321
AFETIAN, THOMAS M                    9231 MERRICK ST                                                                                     TAYLOR             MI     48180‐3824
AFF, MARY M                          18201 VIA CAPRINI DR                                                                                MIROMAR LAKES      FL     33913
AFFELDT JOHN                         48 PLANTERS ROW                                                                                     HILTON HEAD        SC     29928‐5504
                                                                                                                                         ISLAND
AFFELDT, ALLAN K                     2609 DAKOTA AVE                                                                                     FLINT              MI     48506
AFFELDT, DOLORES F                   3006 TROWBRIDGE                                                                                     HAMTRAMCK          MI     48212‐3284
AFFELDT, PATRICIA L                  3123 ROCK VALLEY RD                                                                                 METAMORA           MI     48455‐9322
AFFELDT, ROBERT D                    203 WASS ST                                                                                         FENTON             MI     48430‐1577
AFFELDT, SHIRLE                      1536 N TAFT AVE                                                                                     BERKELEY           IL     60163‐1458
AFFELDT, WILLIAM A                   10305 NEWBERRY PARK LN                                                                              CHARLOTTE          NC     28277‐2338
AFFELT, HELEN                        7751 COUNTRY COVE CRT                                                                               CITRUS HEIGHTS     CA     95610‐3974
AFFENTRANGER & SONS DAIRY FARMS INC. 18107 KRATZMEYER ROAD                                                                               BAKERSFIELD        CA     93314‐9481

AFFENTRANGER & SONS, INC.            18107 KRATZMEYER ROAD                                                                               BAKERSFIELD        CA     93314‐9481
AFFHOLTER JR, JAMES E                1576 N FAIRVIEW LN                                                                                  ROCHESTER HILLS    MI     48306‐4018
AFFHOLTER, KATHLEEN S                7474 COCHISE ST                                                                                     WESTLAND           MI     48185‐2346
AFFHOLTER, KURT H                    7474 COCHISE ST                                                                                     WESTLAND           MI     48185‐2346
AFFIE SCHILD                         912 ABERDEEN DR                                                                                     INDIANAPOLIS       IN     46241‐1808
AFFILIATED ANESTHESI                 4200 W MEMORIAL RD STE 703                                                                          OKLAHOMA CITY      OK     73120‐8359
AFFILIATED BUSINESS SOLUTIONS        300 COMMERCE SQUARE BLVD         PO BOX 1267                                                        BURLINGTON         NJ     08016‐1270
AFFILIATED COMPUTER SERVCIES, INC.   26777 CENTRAL PARK BLVD.         SUITE 300 SOUTH                                                    SOUTHFIELD         MI     48076
AFFILIATED COMPUTER SERVICE          PO BOX 201322                                                                                       DALLAS             TX     75320‐1322
AFFILIATED COMPUTER SERVICES         1190 KENNESTONE CIR STE 100                                                                         MARIETTA           GA     30066‐6019
AFFILIATED COMPUTER SERVICES I       2828 N HASKELL AVE BLDG 5 11TH                                                                      DALLAS             TX     75204
AFFILIATED COMPUTER SERVICES INC     16200 ADDISON ROAD, SUITE 140                                                                       ADDISON            TX     75001
AFFILIATED COMPUTER SERVICES INC     SINGER & LEVICK, P.C.            ONE PENN PLAZA, 29TH FLOOR                                         NEW YORK           NY     10119
AFFILIATED COMPUTER SERVICES INC     2828 N HASKELL AVE BLDG 5 11TH                                                                      DALLAS             TX     75204
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Name                                  Address1                         Address2                         Address3                  Address4                    City            State Zip
AFFILIATED COMPUTER SERVICES OF INDIA JOHN STAEDKE                     2828 N HASKELL AVE               GM GLOBAL BUSINESS UNIT                               DALLAS           TX 75204‐2909
PRIVATE LIMITED
AFFILIATED COMPUTER SERVICES, INC.    ATTN: ACS LEASE ADMINISTRATION   MAIL STOP: GM LA                 1190 KENNESTONE CIR STE                               MARIETTA        GA    30066‐6019
                                                                                                        100
AFFILIATED COMPUTER SERVICES, INC.   ATTN: ACS LEASE ADMINISTRATION    1190 KENNESTONE CIR STE 100                                                            MARIETTA        GA    30066‐6019
AFFILIATED COMPUTER SERVICES, INC.   VERNECIA JONES                    2204 LAKESHORE DR STE 125                                                              BIRMINGHAM      AL    35209‐6739
AFFILIATED COMPUTER SERVICES, INC.   ATTN: GENERAL COUNSEL             2828 N HASKELL AVE                                                                     DALLAS          TX    75204‐2909
AFFILIATED COMPUTER SERVICES, INC.   AFFILIATEDAFFILIATED COMPUTER     3988 N CENTRAL EXPY              BUSINESS PROCESSING                                   DALLAS          TX    75204‐3036
(ACS)                                SERVICES, INC. (ACS)                                               OUTSOURCING
AFFILIATED COMPUTER SERVICES, INC.   DAN TOOMBS                        2828 N HASKELL AVE               GM GLOBAL BUSINESS UNIT                               DALLAS           TX   75204‐2909
(ACS)
AFFILIATED COMPUTER SVCS INC         2900 S DIABLO WAY                 STE 161                                                                                TEMPE           AZ    85282‐3208
AFFILIATED CUSTOMS BROKERS           500 CARLINGVIEW DR                                                                           ETOBICOKE ON M9W 5R3
                                                                                                                                  CANADA
AFFILIATED CUSTOMS BROKERS LIMITED   ATTN:V.P. OPERATIONS CENTRAL,     500 CARLINGVIEW DR                                         ETOBICOKE ON M9W 5R3
                                     WESTERN DIV.                                                                                 CANADA
AFFILIATED ENGINEERS INC             2828 MARSHALL CT STE 200                                                                                                 MADISON         WI    53705‐2276
AFFILIATED ENVIRONMENTAL SERVICES    3606 VENICE RD                                                                                                           SANDUSKY        OH    44870‐1798
INC
AFFILIATED FOODS COMPANY             GENE MARCUM                       1401 W FARMERS AVE                                                                     AMARILLO        TX    79118‐6134
AFFILIATED FOODS SW                  JOHN BAILEY                       12103 INTERSTATE 30                                                                    LITTLE ROCK     AR    72209‐7025
AFFILIATED METAL INDUSTRIES          25600 CHAPIN ST                                                                                                          OLMSTED FALLS   OH    44138‐2782
AFFILIATED METAL INDUSTRIES IN       25600 CHAPIN ST                                                                                                          OLMSTED FALLS   OH    44138‐2782
AFFILIATED RADIOLOGI                 DEPT 4104                                                                                                                CAROL STREAM    IL    60122‐04
AFFILIATED STEAM EQUIPMENT CO        690 W NORTHFIELD DR STE 400                                                                                              BROWNSBURG      IN    46112‐7504
AFFILIATES                           12400 COLLECTION CENTER DR                                                                                               CHICAGO         IL    60693‐0124
AFFINIA CANADA CORP                  6601A GOREWAY DRIVE                                                                          MISSISSAUGA CANADA ON L4V
                                                                                                                                  1V6 CANADA
AFFINIA CANADA CORP.                 GEOFF BURROW X213                 6601A GOREWAY DR.                                          PYONGTAEK SHI KOREA (REP)

AFFINIA GROUP HOLDINGS INC           GEOFF BURROW X213                 6601A GOREWAY DR.                                          MISSISSAUGA ON L4V 1V6
                                                                                                                                  CANADA
AFFINIA GROUP HOLDINGS INC           JIM CRAWFORD 1525                 BRON‐Y‐NANT CONWAY RD                                                                  TAWAS CITY      MI    48763
AFFINIA GROUP HOLDINGS INC           JOE ARBOGAST                      101 INDUSTRIAL PK DR                                                                   NEW ALBANY      IN    47151
AFFINIA GROUP HOLDINGS INC           JOE ARBOGAST                      5122 COCKRELL HILL RD                                                                  SAINT JOSEPH    MO    64507
AFFINIA GROUP HOLDINGS INC           JOE ARBOGAST                      5500 S HATTIE AVE                                                                      OKLAHOMA CITY   OK    73129‐7326
AFFINIA GROUP HOLDINGS INC           JOE ARBOGAST                      5500 S. HATTIE AVE.                                                                    SALINE          MI    48176
AFFINIA GROUP HOLDINGS INC           JOE ARBOGAST X3284                1380 CORPORATE DR                ECHLIN INC                                            MCHENRY         IL    60050‐7044
AFFINIA GROUP HOLDINGS INC           JOE ARBOGAST X3284                ECHLIN INC                       1380 CORPORATE DR.                                    MANCHESTER      TN    37355
AFFINIA GROUP HOLDINGS INC           MIKE DROULLARD                    1141 E. 12TH STREET                                                                    WAUKEGAN        IL    60085
AFFINIA GROUP HOLDINGS INC           MIKE DROULLARD X3273              HYDRAULICS INC. X2229            725 MCKINLEY AVE.                                     LAVONIA         GA    30553
AFFINIA GROUP HOLDINGS INC           MIKE HACHIGIAN                    WIX FILTRATION PROD/DILLON PLT   1422 WIX ROAD                                         BERLIN          OH    44610
AFFINIA GROUP HOLDINGS INC           PATRICK MANNING                   1101 TECHNOLOGY DRIVE                                                                  ANN ARBOR       MI    48108
AFFINIA GROUP HOLDINGS INC           1101 TECHNOLOGY DR STE 100                                                                                               ANN ARBOR       MI    48108‐8924
AFFINIA GROUP HOLDINGS INC           STEVE KELLER                      1101 TECHNOLOGY DRIVE                                                                  ANN ARBOR       MI    48108
AFFINIA GROUP INC.                   LYNN HALL                         1101 TECHNOLOGY DR STE 100                                                             ANN ARBOR       MI    48108‐8924
AFFINIA GROUP INC.                   PATRICK MANNING                   1101 TECHNOLOGY DRIVE                                                                  ANN ARBOR       MI    48108
AFFINIA GROUP INC.                   STEVE KELLER                      1101 TECHNOLOGY DR STE 100                                                             ANN ARBOR       MI    48108‐8924
AFFINIA PRODUCTS CORP                JOE ARBOGAST                      5500 S HATTIE AVE                                                                      OKLAHOMA CITY   OK    73129‐7326
AFFINIA PRODUCTS CORP                JOE ARBOGAST                      5500 S. HATTIE AVE.                                                                    SALINE          MI    48176
AFFINIA ST CATHARINES                265 SOUTH ST                                                                                                             ROCHESTER       MI    48307‐2239
AFFINIA UNDER VEHICLE GROUP          89 W SOUTH BOULEVARD              SUITE 10                                                                               TROY            MI    48085
AFFINIA UNDERVEHICLE GROUP           89 W SOUTH BLVD                   SUITE 10                                                                               TROY            MI    48085
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AFFINIA‐JUAREZ                       ANGELA GOSELL                      AFFINIA UNDER VEHICLE GROUP   AVE SANTIAGO TRONCOSO                           LAPEER              MI
                                                                                                      281
AFFINION LOYALTY GROUP INC           7814 CAROUSEL LN                                                                                                 RICHMOND            VA   23294
AFFINITAS CORP                       1015 N 98TH ST STE 100                                                                                           OMAHA               NE   68114‐2357
AFFINITAS CORPORATION                DWYER SMITH GARDNER LAZER POHREN   8712 W DODGE RD STE 400                                                       OMAHA               NE   68114
                                     ROGERS AND FORREST
AFFINITIVE LLC                       135 W 26TH ST 8TH FL                                                                                             NEW YORK           NY    10001
AFFINITO, DEBORAH A                  11652 AVONDALE DRIVE                                                                                             FRISCO             TX    75034‐1406
AFFINITY AUTOMOTIVE PRODUCTS INC     PO BOX 193                                                                                                       TROY               MO    63379‐0193
AFFINITY CASH LOANS                  16525 W 159TH ST                                                                                                 LOCKPORT           IL    60441‐7900
AFFINITY EVENTS                      11901 OLD STAGE RD STE B                                                                                         CHESTER            VA    23836‐2413
AFFINITY FEDERAL CREDIT UNION        FOR DEPOSIT TO THE A/C OF          73 MOUNTAINVIEW BLVD          S RASANAYAKAM                                   BASKING RIDGE      NJ    07920‐3849
AFFINITY GROUP HOLDING INC.          2575 VISTA DEL MAR DR                                                                                            VENTURA            CA    93001‐3920
AFFINITY GROUP INC                   1818 WESTLAKE AVE N STE 420                                                                                      SEATTLE            WA    98109‐2707
AFFINITY LLC                         PO BOX 692123                                                                                                    CINCINNATI         OH    45269‐2123
AFFIRMATIVE ACTION ‐ ROGER CLEGG     CLEGG, ROGER
AFFIRMITIVE PROPERTY                 JOANN ENGLISH                      4450 SOJOURN DRIVE                                                            ADDISON             TX   75001
AFFLECK ELECTRIC                     ATTN: JIM FOX                      1300 N JOHNSON ST                                                             BAY CITY            MI   48708‐6258
AFFLERBACH, KEAUTTA W                501 PRATT ST APT 1                                                                                               GREENFIELD          IN   46140‐1681
AFFLERBACH, KEAUTTA W                501 NORTH PRATT ST APT 1                                                                                         GREENFIELD          IN   46140‐1681
AFFLICK, ANDRANA S                   144‐04 123 AVE                                                                                                   SOUTH OZONE PARK    NY   11436

AFFLITTO, ANTHONY V                  12 RUSSELL PL                                                                                                    HAZLET             NJ    07730‐2657
AFFOLDER, CHARLES H                  413 LOCKE ST                                                                                                     EAST TAWAS         MI    48730‐1118
AFFOLDER, JOHNNY C                   436 ROSARIO LN                                                                                                   WHITE LAKE         MI    48386‐4406
AFFOLDER, RANDAL L                   101 PERRY ST APT 221                                                                                             GRAND LEDGE        MI    48837‐1387
AFFORD‐A‐CAR                         ATTN: CRAIG SCHULZ                 4905 SPRINGBORO PIKE # A                                                      MORAINE            OH    45439‐2044
AFFORDABLE AUTO CARE                 1050 E MICHIGAN AVE                                                                                              PAW PAW            MI    49079‐9464
AFFORDABLE AUTO REPAIR               332 TRUAX BLVD                                                                                                   EAU CLAIRE         WI    54703‐1554
AFFORDABLE AUTO REPAIR               1 LINTON BLVD UNIT 7                                                                                             DELRAY BEACH       FL    33444‐8135
AFFORDABLE AUTO REPAIR               2505 MARTIN LUTHER KING JR DR                                                                                    ORANGE             TX    77630‐1773
AFFORDABLE AUTO SERVICE              10 17TH AVE S                                                                                                    HOPKINS            MN    55343‐7402
AFFORDABLE AUTOMOTIVE                2099 DIVISION ST N                                                                                               NORTH SAINT PAUL   MN    55109‐4147

AFFORDABLE CATERING                   ATTN: LOU WONDREE                 11047 PIERSON DR # A                                                          FREDERICKSBURG      VA   22408‐2062
AFFORDABLE INSURANCE                  1413 CENTER AVE                                                                                                 BAY CITY            MI   48708‐6109
AFFORDABLE LOCKOUT & KEY SVC          ATTN: LISA SHELLY                 3729 HORTON AVE SE                                                            WYOMING             MI   49548‐3219
AFFORDABLE MEDICAL CARE SERVICES, LLC 1114 SOUTH BUNDY DRIVE                                                                                          LOS ANGELES         CA   90049

AFFOURTIT, NOEL F                    2956 COUNTY LINE RD                                                                                              BEAVERCREEK        OH    45430‐1907
AFFUL, MATTHEW
AFFUL, MATTHEW A                     21632 MOROSS RD                                                                                                  DETROIT            MI    48236‐2043
AFFULL, JAMES A                      248 S 44TH ST APT 2R                                                                                             PHILADELPHIA       PA    19104‐6409
AFFUM, DORETHA L                     18900 ROBSON ST                                                                                                  DETROIT            MI    48235‐2817
AFFUSO JULIAN                        1212 ROMA AVE NE                                                                                                 ALBUQUERQUE        NM    87106‐4737
AFG INDUSTRIES INC                   AVE PENUELAS NO 7                                                                        QUERETARO QA 76148
                                                                                                                              MEXICO
AFG INDUSTRIES INC                   1 AUTO GLASS DR                                                                                                  ELIZABETHTOWN       KY   42701‐4500
AFG STRATEGIC INCOME PORTFOLIO       ATTN JERRY SANADA                  3390 AUTO MALL DRIVE                                                          WESTLAKE VILLAGE    CA   91362

AFG STRATEGIC INCOME PORTFOLIO       ATTN JERRY SANADA                  3390 AUTO MALL DR                                                             WESTLAKE VILLAGE    CA   91362

AFGE LLC                             106 BOMBAY LN                                                                                                    ROSWELL            GA    30076‐5814
AFGHANZADA, MOHAMMAD K               8340 WOODSON DR                                                                                                  SHAWNEE MSN        KS    66207‐1553
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Name                                 Address1                         Address2                         Address3                    Address4                   City               State Zip
AFGHANZADA, MOHAMMAD KAZIM           8340 WOODSON DR                                                                                                          SHAWNEE MSN         KS 66207‐1553
AFIF ABBOSH                          23545 CANFIELD AVE                                                                                                       FARMINGTON HILLS    MI 48336‐2823

AFION                                1426 N HIDDEN CREEK DR                                                                                                   SALINE             MI    48176‐9015
AFL ‐ CIO LABOR FOOD PANTRY          ATTN KRISTIE MCELFRESH           184 SALEM AVE                                                                           DAYTON             OH    45406‐5804
AFL AUTOMOTIVE                       LIBERAMINTO MANUEL P                                                                          PIEDRAS NEGRAS 27000
                                                                                                                                   MEXICO
AFL PHILADELPHIA LLC                 DBA PHILADELPHIA SOUL            7 PENN CENTERUPDTE PER GOI       1635 MARKET ST 17TH FLOOR                              PHILADELPHIA       PA    19103

AFL‐CIO                             ATTN: HENRY GAFFNEY               716 LOTHROP RD                                                                          DETROIT            MI    48202‐2715
AFL‐CIO COMMUNITY SERVICES          1627 LAKE LANSING RD STE B                                                                                                LANSING            MI    48912‐3788
AFL‐CIO UNION INDUSTRIES SHOW       815 16TH ST NW                    C/O CHARLIE MERCER                                                                      WASHINGTON         DC    20006‐4101
AFNAN, ZAHI S                       3489 ELIZABETH ST                                                                                                         MELVINDALE         MI    48122‐1268
AFNI                                6490 PAYSPHERE CIR                                                                                                        CHICAGO            IL    60674‐0064
AFNI ASO EVERETT
AFNI INSURANCE SERVICES             AFNI FILE #433084                 PO BOX 3068                                                                             BLOOMINGTON        IL    61702
AFNI INSURANCE SERVICES             AFNI FILE # 638978                PO BOX 3068                                                                             BLOOMINGTON        IL    61702
AFNI INSURANCE SERVICES             ATTN: ELLEN SCHROEDER             404 BROCK DR                                                                            BLOOMINGTON        IL    61701
AFONSO RIBEIRO                      580 MADISON AVE                                                                                                           ELIZABETH          NJ    07201‐1560
AFONSO, MANUEL                      7358 HOGAN DR                                                                                                             YPSILANTI          MI    48197‐6109
AFORTUNADO OTERO                    362 E HARVEST LN                                                                                                          MIDDLETOWN         DE    19709‐3037
AFP INDUSTRIES INC                  PO BOX 490                        7900 WHITEPINE RD                                                                       CHESTERFIELD       VA    23832‐0007
AFP JOINT DEFENSE GROUP FUND        MCKENNA & CUNEO‐R MATTHEWS        1575 EYE STREET NW                                                                      WASHINGTON         DC    20005
AFR FURNITURE RENTAL                1195 SOUTER DR                                                                                                            TROY               MI    48083‐2820
AFR MOTOR SPORTS MARKETING & D      27054 W HURON RIVER DR                                                                                                    FLAT ROCK          MI    48134‐1105
AFR MOTOR SPORTS MARKETING & DISPLA 27054 W HURON RIVER DR                                                                                                    FLAT ROCK          MI    48134‐1105

AFR MOTORSPORTS MARKETING &          27054 W HURON RIVER DR                                                                                                   FLAT ROCK          MI    48134‐1105
DISPLAY INC
AFRICAN AMERICAN CHAMBER OF          1315 MILAM ST                                                                                                            SHREVEPORT         LA    71101‐3332
COMMERCE
AFRICAN AMERICAN CROSS               CULTURAL WORKS                   PO BOX 486                       PROGRAM ADVERTISING                                    YELLOW SPRINGS     OH    45387‐0486
                                                                                                       CONTRACT
AFRICAN AMERICAN HISTORY COMMITTEE 701 N 7TH ST STE 504                                                                                                       KANSAS CITY         KS   66101‐3064

AFRICAN UNION METHODIST CHURCH       ATTN: CORINA MONTGOMERY          1203 NEWPORT GAP PIKE                                                                   WILMINGTON         DE    19804‐2843
AFRICAR, S. P. R. L.                 P.O.BOX 2691                                                                                  KINSHASA 1 DEMOCRATIC
                                                                                                                                   REPUBLIC OF THE CONGO
AFRICARS                             14 RUE GALANDOU DIQUF                                                                         DAKAR SENEGAL
AFRIKA B FORD                        296 SMITH ST                                                                                                             DETROIT            MI    48202‐2818
AFRO AMERICAN GROUP                  JOHN OLIVER                      2519 N CHARLES ST                                                                       BALTIMORE          MD    21218‐4602
AFRODITA BRACHO                      NOGALAR 114 FRACC COLINAS DEL                                                                 REYNOSA TAMAULIPAS 88730
                                     PEDREGAL                                                                                      MEXICO
AFRODITI KOTSOPOULOS                 4050 ROGER AVE                                                                                                           ALLEN PARK         MI    48101‐3526
AFS‐FARICHILD FASTENER EUROPE        CHRIS DEMOFF (4)                 ALCOA                            D 65779 P.O. BOX 1180       KELKHEIM GERMANY
AFSETH, JULIE A                      2925 BARON CT SW                                                                                                         WYOMING            MI    49418
AFSHAR AISHA                         AFSHAR, AISHA                    120 WEST MADISON STREET , 10TH                                                          CHICAGO            IL    60602
                                                                      FLOOR
AFSHAR, AISHA                        KROHN & MOSS ‐ IL                120 WEST MADISON STREET, 10TH                                                           CHICAGO             IL   60602
                                                                      FLOOR
AFT                                  C/O DAVID A LERNER ESQ           PLUNKETT COONEY                  38505 WOODWARD AVE SUITE                               BLOOMFIELD HILLS   MI    48304
                                                                                                       2000
AFT AUTOMATION AND CONVEYING         PO BOX 250291                                                                                                            FRANKLIN           MI    48025‐0291
SYSTEMS LTD
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Name                                   Address1                           Address2                    Address3                 Address4                 City                  State Zip
AFT FOERDERANLAGEN BAUTZEN GMB         EDISONSTR 1                                                                             BAUTZEN SC 02625 GERMANY

AFT FORDERANLAGEN BAUTZEN GMBH&        EDISONSTRASSE 1                                                                         BAUTZEN D‐02625 GERMANY
CO KG
AFTAB AHMED                            C/O GM EGYPT , 4TH INDUSTRIAL ZO                                                        CAIRO EGYPT
AFTAB, ANVER                           3526 N CENTURY OAK CIR                                                                                                OAKLAND           MI   48363‐2647
AFTABI, MERHDAD
AFTECH/ROCKFORD                        687 BYRNE INDUSTRIAL DR                                                                                               ROCKFORD          MI   49341‐1085
AFTER 5 AUTOMOTIVE                     6004 N ROCKWELL AVE                                                                                                   BETHANY           OK   73008‐1945
AFTER WARRANTY AUTOMOTIVE              1‐1687 SACKVILLE DR                                                                     MIDDLE SACKVILLE NS B4E 3A9
                                                                                                                               CANADA
AFTER‐SCHOOL ALL‐STAR ATLANTA          125 DECATUR STREET STE 137                                                                                            ATLANTA          GA    30303
AFTER‐SCHOOL ALL‐STARS                 9255 W SUNSET BLVD STE 500                                                                                            WEST HOLLYWOOD   CA    90069‐3301

AFTERMARKET ‐ EPA ‐ RULEMAKING LIT ‐   NO ADVERSE PARTY
CORRESP ‐ USCA 96‐1392
AFTERMARKET ‐ EPA ‐ RULEMAKING LIT ‐   NO ADVERSE PARTY
CORRESP ‐ USCA 96‐1397
AFTERMARKET ‐ EPA ‐ RULEMAKING LIT ‐   NO ADVERSE PARTY
DC CIR OP ‐ USCA96‐1392
AFTERMARKET ‐ EPA ‐ RULEMAKING LIT ‐   NO ADVERSE PARTY
PLEADINGS ‐ USCA96‐1392
AFTERMARKET ‐ EPA ‐ RULEMAKING LIT ‐   NO ADVERSE PARTY
PLEADINGS ‐ USCA96‐1397
AFTERMARKET ‐ MEMA V. EPA ‐            NO ADVERSE PARTY
CORRESPONDENCE
AFTERMARKET ‐ MEMA V. EPA ‐ ORDER OF   NO ADVERSE PARTY
DISMISSAL
AFTERMARKET ‐ MEMA V. EPA ‐            NO ADVERSE PARTY
PLEADINGS
AFTERMARKET AUTO PARTS ALLIANCE INC    2706 TREBLE CRK STE 100                                                                                               SAN ANTONIO       TX   78258‐4660

AFTERMARKET TECHNOLOGY CORP
AFTERMARKET TECHNOLOGY CORP            10000 NW 2ND ST                                                                                                       OKLAHOMA CITY    OK    73127‐7149
AFTERMARKET TECHNOLOGY CORP            1400 OPUS PL STE 600                                                                                                  DOWNERS GROVE    IL    60515‐5707
AFTERMARKET TECHNOLOGY CORP            1612 HUTTON DR STE 120                                                                                                CARROLLTON       TX    75006‐6675
AFTERMARKET TECHNOLOGY CORP            9901 W RENO AVE                                                                                                       OKLAHOMA CITY    OK    73127‐7140
AFTERMARKET TECHNOLOGY CORP            9901 W RENO AVE                    PO BOX 270180                                                                      OKLAHOMA CITY    OK    73127‐7140
AFTERMARKET TECHNOLOGY CORP            PATRICK MCCLAIN                    1612 HUTTON DR STE 120      AUTOCRAFT ELECTRONICS                                  CARROLLTON       TX    75006‐6675
AFTERMARKET TECHNOLOGY CORP            PATRICK MCCLAIN                    AUTOCRAFT ELECTRONICS       1612 HUTTON DR STE 120                                 DANVILLE         KY    40422
AFTERMARKET TECHNOLOGY CORP            RON ORR                            AUTOCRAFT INDUSTRIES, IND   9901 WEST RENO                                         HARBOR CITY      CA
AFTERN SANDERSON                       26380 PARKLANE DR                                                                                                     EUCLID           OH    44132‐2340
AFTERSHOCK DECALS LLC
AFTIM 2000 LTD                         1893 DESLIPPE DR                                                                        TECUMSEH CANADA ON N9K
                                                                                                                               5C6 CANADA
AFTIM TRANSPORT LTD                    1333 COLLEGE AVE                                                                        WINDSOR CANADA ON N9B
                                                                                                                               1M8 CANADA
AFTON CHEMICAL CORPORATION             ROBERT A SHAMA                     500 SPRING ST                                                                      RICHMOND         VA    23219‐4300
AFTON CHEMICAL CORPORATION             JONATHAN L. ROCK                   500 SPRING ST                                                                      RICHMOND         VA    23219‐4300
AFTON CHEMICAL CORPORATION             ATTN: GENERAL COUNSEL              500 SPRING ST                                                                      RICHMOND         VA    23219‐4300
AFTON CHEMICAL CORPORATION             500 SPRING ST., RICHMOND                                                                                              RICHMOND         VA    23219
AFTON CHEMICAL CORPORATION             500 SPRING ST                                                                                                         RICHMOND         VA    23219‐4300
AFTON MARSHALL                         C/O THE SUTTER LAW FIRM, PLLC      1598 KANAWHA BLVD E                                                                CHARLESTON       WV    25311
AFTON MCKONE                           2355 SEYMOUR RD                                                                                                       SWARTZ CREEK     MI    48473‐9790
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AFTON RATLIFF                        795 CASTRO LN                                                                                                  CINCINNATI          OH     45246‐2603
AFTON SERVICE CENTER                 10921 ROCKFISH VALLEY HWY                                                                                      AFTON               VA     22920‐2734
AFTON TAYLOR                         PO BOX 825                                                                                                     DECATUR             MS     39327‐0825
AFTON, PAUL E                        114 BROOKMEADOW CT SW APT 11                                                                                   GRANDVILLE          MI     49418‐2176
AFTRA HEALTH & RETIREMENT FUND       261 MADISON AVE FL 8                                                                                           NEW YORK            NY     10016‐2380
AFTRA HEALTH & RETIREMENT FUND INC   261 MADISON AVE FL 8                                                                                           NEW YORK            NY     10016‐2380

AFZAL JOHN RAY                       115 SPARKS ST                                                                                                  TROTWOOD           OH      45426‐3016
AFZAL JR, JOHN R                     115 SPARKS AVE                                                                                                 TROTWOOD           OH      45426‐5426
AFZAL JR, JOHN R                     115 SPARKS ST                                                                                                  TROTWOOD           OH      45426‐3016
AFZAL, CARRIE D                      12208 EMERY AVE.                                                                                               CLEVELAND          OH      44135‐2238
AG AFFILIATED GROUP                  21301 CIVIC CENTER DR                                                                                          SOUTHFIELD         MI      48076‐3911
AG DAVIS/HAZEL PARK                  21435 DEQUINDRE RD               P.O. BOX 39                                                                   HAZEL PARK         MI      48030‐2350
AG DEUTSCHE BANK,                    60 WALL STREET                                                                                                 NEW YORK           NY      10005
AG EVENTS                            7106 JUNO ST                                                                                                   FOREST HILLS       NY      11375‐5928
AG MANAGEMENT                        2350 FRANKLIN RD STE 140                                                                                       BLOOMFIELD         MI      48302‐0384
AG MANUFACTURING                     319 INDUSTRIAL DR                                                                                              HARBOR BEACH       MI      48441‐1014
AG MANUFACTURING INC                 319 INDUSTRIAL DR                                                                                              HARBOR BEACH       MI      48441‐1014
AG PRECISION GAGE INC                28317 BECK RD STE E6                                                                                           WIXOM              MI      48393‐4729
AG PROVISIONS, LLC                   RANDY MAPES                      277 FAISON W MCGOWAN RD                                                       KENANSVILLE        NC      28349‐8948
AG SIMPSON (MICHIGAN) INC            7340 JULIE FRANCES DR                                                                                          SHREVEPORT         LA      71129‐2902
AG SIMPSON (TROY)                    ROBERT CHMIEL                    1133 E MAPLE RD STE 201                                                       TROY               MI      48083‐2853
AG SIMPSON (USA) INC                 6640 STERLING DR S BLDG B                                                                                      STERLING HEIGHTS   MI      48312
AG SIMPSON AUTOMOTIVE INC            560 CONESTOGA BLVD                                                                  CAMBRIDGE ON N1R 7
                                                                                                                         CANADA
AG SIMPSON AUTOMOTIVE INC            352 ARVIN AVE                                                                       STONEY CREEK ON L8E 2M4
                                                                                                                         CANADA
AG SIMPSON AUTOMOTIVE INC            901 SIMCOE ST                                                                       OSHAWA ON L1H 4L2 CANADA

AG SIMPSON AUTOMOTIVE INC            PAUL SOBOCANX5447                352 ARVIN AVE                                                                 PORTLAND            OR     97202
AG SIMPSON AUTOMOTIVE INC.           ROBERT CHMIEL                    7340 JULIE FRANCES DR       SHREVEPORT PLANT #14                              SHREVEPORT          LA     71129‐2902
AG SIMPSON AUTOMOTIVE INC.           ROBERT CHMIEL                    7340 JULIE FRANCES DR       SHREVEPORT PLANT #14                              SHREVEPORT          LA     71129‐2902
(SHREVEPORT)
AG SIMPSON CO LTD                    675 PROGRESS AVE                                                                    SCARBOROUGH CANADA ON
                                                                                                                         M1H 2W9 CANADA
AG SIMPSON INC                       JAMIE MCCORKINDALE               7340 JULIE FRANCIS ROAD                            KIYOSE‐SHI TOKYO JAPAN
AG SIMPSON USA                       JENNIFER DEMARIA                 6640 STERLING DR S BLDG C                                                     MOKENA              IL     60448
AG SIMPSON USA INC                   675 PROGRESS AVE                 GST ADDED                                          SCARBOROUGH CANADA ON
                                                                                                                         M1H 2W9 CANADA
AG SIMPSON/CAMBRIDGE                 560 CONESTOGA BOULEVARD                                                             CAMBRIDGE ON N1R 7L7
                                                                                                                         CANADA
AG SIMPSON/SCARBOROU                 675 PROGRESS AVE                                                                    SCARBOROUGH ON M1H 2W9
                                                                                                                         CANADA
AG SIMPSON/WINDSOR                   275 EUGENE STREET EAST                                                              WINDSOR ON N8X 2X9
                                                                                                                         CANADA
AG VAN & TRUCKING                    2959 IRVING BLVD                                                                                               DALLAS              TX     75247‐6210
AG, GM DAEWOO AUTO & TECHNOLOGY      199‐1 CHEONGCHEON‐DONG           BUPYUNG‐GU                                         INCHEON KOREA (REP)
COMPANY
AG/EMMA L MITCHELL                   ACCT OF DAVID MITCHELL           CIVIL CT BLDG 100 HOUSTON                                                     FORT WORTH          TX     25962
AG/EMMA MITCHELL                     ACCT OF DAVID MITCHELL           CIVIL CT BLDG 100 HOUSTON                                                     FORT WORTH          TX     25962
AGA
AGA GAS/WARREN                       5001 DEWITT RD                                                                                                 CANTON              MI     48188‐2411
AGACINSKI, KENNETH R                 16822 FARMINGTON RD                                                                                            LIVONIA             MI     48154‐2947
AGACKI, CURT M                       1825 S 9TH ST                                                                                                  MILWAUKEE           WI     53204
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Name                       Address1                         Address2                         Address3                  Address4                 City               State   Zip
AGAFONOV MARINA            AGAFONOV, MARINA                 2514 N 21ST ST                                                                      BOISE               ID     83702‐0602
AGAFONOV MARINA            AGAFONOV, OLEGA                  2514 N 21ST ST                                                                      BOISE               ID     83702‐0602
AGAFONOV MARINA            AGAFONOV, VIKTOR                 623 W HAYS ST                                                                       BOISE               ID     83702‐5512
AGAFONOV MARINA            AGAFONOV, VIKTOR                 2514 N 21ST ST                                                                      BOISE               ID     83702‐0602
AGAFONOV MARINA            PAVLOV, SERGEI                   2514 N 21ST ST                                                                      BOISE               ID     83702‐0602
AGAFONOV, MARINA
AGAGU, KOLAWOLE            5219 MAXSON, APT. 0‐11                                                                                               SAGINAW            MI      48603
AGAIFEA MALIEITULUA        4303 MAYBANK AVE                                                                                                     LAKEWOOD           CA      90712‐3707
AGAL, EVELYN V.            6038 W.25TH STREET                                                                                                   SPEEDWAY           IN      46224‐3624
AGAL, EVELYN V.            6038 W 25TH ST                                                                                                       SPEEDWAY           IN      46224‐3624
AGALAKOVA, OLGA V          1887 UPLAND DR                                                                                                       ANN ARBOR          MI      48105‐2109
AGAM GROUP LTD             6601 AMBERTON DR                                                                                                     ELKRIDGE           MD      21075‐6201
AGAM SHRAGA                PAY PER SAVE INC                 TAYLOR & ASSOCIATES NORMAN       425 WEST BROADWAY SUITE                            GLENDALE           CA      91204
                                                                                             220
AGAM SHRAGA                AGAM, SHRAGA                     425 W BROADWAY STE 220                                                              GLENDALE            CA     91204‐1269
AGAMY MOHAMMED             17 VAN ORDER DR APT 6204                                                                    KINGSTON CANADA ON K7M
                                                                                                                       1B5 CANADA
AGAN HOWARD                PO BOX 103                                                                                                           MILO                IA     50166‐0103
AGAN, DEIRDRE              433 GREEN LN                                                                                                         PHILADELPHIA        PA     19128‐3305
AGAN, DONALD W             5604 RICHLAND DR                                                                                                     DOUGLASVILLE        GA     30135‐2453
AGAN, PATRICIA A           8 LAVILLA WAY                                                                                                        FORT PIERCE         FL     34951
AGAN, PATRICIA A           8 LA VILLA WAY                                                                                                       FORT PIERCE         FL     34951‐2831
AGANS III, JAMES H         1450 WINTER LN                                                                                                       BRIGHTON            MI     48114‐8733
AGANS JR, JAMES H          7919 DIXIE HWY                                                                                                       BRIDGEPORT          MI     48722‐9409
AGANS, ROBERT F            7919 DIXIE HWY                                                                                                       BRIDGEPORT          MI     48722‐9409
AGAPE FLIGHTS INC
AGAPE PLASTICS INC         11474 1ST AVE NW                                                                                                     GRAND RAPIDS       MI      49534‐3399
AGAPE PLASTICS INC         RAY POPMA X126                   1765 ALPINE AVE NW                                                                  GRAND RAPIDS       MI      49504‐2803
AGAPE PLASTICS INC         RAY POPMA X126                   1765 ALPINE N.W.                                                                    LIMA               OH      45801
AGAPE PLASTICS INC         O 11474 FIRST AVE NW                                                                                                 GRAND RAPIDS       MI      49544
AGAPE PLASTICS, INC.       RAY POPMA X126                   1765 ALPINE AVE NW                                                                  GRAND RAPIDS       MI      49504‐2803
AGAPE PLASTICS, INC.       RAY POPMA X126                   1765 ALPINE N.W.                                                                    LIMA               OH      45801
AGAPE/GRAND RAPIDS         11474 1ST AVE NW                                                                                                     GRAND RAPIDS       MI      49534‐3399
AGAPIOU, JOHN S            2038 WENTWORTH DR                                                                                                    ROCHESTER HILLS    MI      48307‐4276
AGAPITO CONTRERAS          200 TOWN OAKS DR                                                                                                     MARSHALL           TX      75672‐3199
AGAPITO GARZA              4710 SPIRAL CRK                                                                                                      SAN ANTONIO        TX      78238‐3623
AGAPITO MARTINEZ           3508 S LESLIE AVE                                                                                                    INDEPENDENCE       MO      64055‐3450
AGAPITO RIVERA             3305 N JEFFERSON                                                                                                     CARROLLTON         MI      48724
AGAPITO RIVERA             298 CLYDESDALE CIR                                                                                                   SANFORD            FL      32773‐6898
AGAPITO ROCHA              1815 SALT ST                                                                                                         SAGINAW            MI      48602‐1256
AGAPITO SANCHEZ            13405 W 122ND TER                                                                                                    OVERLAND PARK      KS      66213‐4882
AGAPITO ZIZUMBO JR         4275 ISLAND DR W                                                                                                     SAGINAW            MI      48603‐9651
AGAR, DAVID L              2752 W NORTH UNION RD                                                                                                MIDLAND            MI      48542‐4818
AGAR, JUDITH M             4075 BROOKSIDE DR NW                                                                                                 WARREN             OH      44483‐2037
AGAR, LINDA L              2752 W NORTH UNION RD                                                                                                MIDLAND            MI      48542‐5818
AGAR, NORMA J              4613 LAKE RESORT DR                                                                                                  GLADWIN            MI      48624‐9601
AGAR, SUZANNE E            5012 BRONCO DR                                                                                                       CLARKSTON          MI      48346‐2600
AGAR, WILLIAM J            21337 WOODVIEW CIR                                                                                                   STRONGSVILLE       OH      44149‐9264
AGARON SHAMAYEV            3168 EAGLE VALLEY DR                                                                                                 WOODBURY           MN      55129‐4268
AGARWAL ABHINAV            1052 OAK TREE LN                                                                                                     BLOOMFIELD HILLS   MI      48304‐1176
AGARWAL, KEDAR B           2357 WESTCOTT CT                                                                                                     SHELBY TOWNSHIP    MI      48316‐1282
AGARWAL, MARY U            585 N OLD WOODWARD AVE                                                                                               BIRMINGHAM         MI      48009‐3868
AGATA‐VENGER PARTNERSHIP   3061 S MARYLAND PKWY STE 200     WESTERN REGIONAL CENTER FOR BR                                                      LAS VEGAS          NV      89109‐6227
AGATE PUBLISHING INC       1501 MADISON ST                                                                                                      EVANSTON           IL      60202‐2033
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Name                            Address1                       Address2                      Address3             Address4                  City               State   Zip
AGATE, GLORIA J                 5131 GROSSE POINTE ST                                                                                       PORTAGE             MI     49024‐5811
AGATHA BOSTON                   15060 QUINCY ST                                                                                             DETROIT             MI     48238‐2166
AGATHA COLLINGS                 1475 CHABOT WAY                                                                                             SAN JOSE            CA     95122‐1140
AGATHA GRAHAM                   165 N OSBORN AVE                                                                                            YOUNGSTOWN          OH     44509‐2031
AGATHA GUYNN                    150 SPAULDING AVE                                                                                           CLIFTON              IL    60927‐7220
AGATHA HALBEISEN                10094 W D AVE                  C/O MICHAEL S HALBEISEN                                                      KALAMAZOO           MI     49009‐8822
AGATHA HAMBLIN                  6601 MOSES RD                                                                                               W ALEXANDRIA        OH     45381‐8584
AGATHA HILL                     11333 SUGARPINE DR APT 508                                                                                  SAINT LOUIS         MO     63033
AGATHA JANKOWIAK                121 SALZBURG RD                                                                                             BAY CITY            MI     48706‐3118
AGATHA L CONBOY AND CLAYTON A   AGATHA L CONBOY                CLAYTON A CONBOY              PO BOX 13085                                   PRESCOTT            AZ     86304‐3085
CONBOY JTWROS
AGATHA LENZ                     2901 NEWMAN RD                                                                                              WEST LAFAYETTE     IN      47906‐4525
AGATHA M GALLI                  712 EAST STROOP ROAD                                                                                        DAYTON             OH      45429‐3228
AGATHA MORGAN                   801 W MIDDLE ST APT 3317                                                                                    CHELSEA            MI      40110‐2317
AGATHA PERKINS                  514 S MEADE ST                                                                                              FLINT              MI      48503‐2276
AGATHA PRZYWARA                 6957 W ROSE GARDEN LN                                                                                       GLENDALE           AZ      85308‐9410
AGATHA ROBINSON                 95 SHORE BLVD                                                                                               KEANSBURG          NJ      07734‐1630
AGATHA S HAMBLIN                6601 MOSES RD                                                                                               W ALEXANDRIA       OH      45381‐8584
AGATHA T GRAHAM                 165 N OSBORN AVE                                                                                            YOUNGSTOWN         OH      44509‐2031
AGATHA THOMPSON                 PO BOX 249                                                                                                  BUFORD             GA      30515‐0249
AGATHA THORNTON                 4878 BELLE MEADOW RD                                                                                        MENTOR             OH      44060‐1235
AGATHA TRESCO                   421 W SAYLOR ST                                                                                             MOUNT CARMEL       PA      17851‐1045
AGATHA WARD                     411 W WOODWARD AVE                                                                                          EUSTIS             FL      32726
AGATHA YOUNG                    4121 CUTHBERTSON ST                                                                                         FLINT              MI      48507‐2508
AGATHA ZAMBOS                   834 EARL AVE                                                                                                MIDDLETOWN         IN      47356‐9308
AGATHI OMANS                    3111 AIRPORT RD                                                                                             WATERFORD          MI      48329‐3009
AGAUAS, PAULA                   21447 MACARTHUR                                                                                             WARREN             MI      48089‐3001
AGAUAS, PAULA                   21447 MAC ARTHUR BLVD                                                                                       WARREN             MI      48089‐3001
AGAUAS, RUBIN                   21447 MAC ARTHUR BLVD                                                                                       WARREN             MI      48089‐3001
AGAVNI SEMIZIAN                 6389 SAUNDERS ST APT 4L                                                                                     REGO PARK          NY      11374‐3115
AGAZIO, FORTUNATO               29399 SHACKETT AVE                                                                                          MADISON HTS        MI      48071‐4421
AGAZZI, CATHERINE M             145 95TH STREET                                                                                             BROOKLYN           NY      11209
AGAZZI, GIOVANNA G              13459 ARNOLD                                                                                                REDFORD            MI      48239‐2672
AGBEGO, ELOMMI                  500 N VALLEY DR UNIT 204                                                                                    DES MOINES         IA      50312‐1623
AGBOKA OFORI                    11032 TIDEWATER TRL                                                                                         FREDERICKSBURG     VA      22408‐2043
AGBOKA, ELFREDA G               PO BOX 9022                    C/O SHANGHAI                                                                 WARREN             MI      48090‐9022
AGBOKA, GRACE N.                1799 SHAKER HEIGHTS DR                                                                                      BLOOMFIELD HILLS   MI      48304‐1151
AGBOKA, JOSEPH O                PO BOX 9022                    C/O SHANGHAI                                                                 WARREN             MI      48090‐9022
AGC AUTO/ MT PLEASAN            350 MAGNOLIA DR                C/O AP TENNTECH CORPORATION                                                  MT PLEASANT        TN      38474‐1083
AGC AUTO/ MT PLEASAN            1 AUTO GLASS DR                P.O. BOX 5000                                                                ELIZABETHTOWN      KY      42701‐4500
AGC AUTO/ NOVI                  1401 S HURON ST                                                                                             YPSILANTI          MI      48197‐7020
AGC AUTO/MT PLEASANT            350 MAGNOLIA DR                P.O. BOX 469                                                                 MT PLEASANT        TN      38474‐1083
AGC AUTOMOTIVE AMERICA          AFG DBA AGCAA CO               PO BOX 469                                                                   MOUNT PLEASANT     TN      38474‐0469
AGC AUTOMOTIVE AMERICA          AFG DBA AGCAA CO               1401 S HURON ST                                                              YPSILANTI          MI      48197‐7020
AGC AUTOMOTIVE AMERICA          AFG DBA AGCAA CO               1153 SOLUTIONS CTR                                                           CHICAGO            IL      60677‐1001
AGC AUTOMOTIVE AMERICAS         KESSLER ,DAROLD                TRADE                         88271 EXPEDITE WAY                             CHICAGO            IL      60695‐0001
AGC AUTOMOTIVE AMERICAS         BECKY RUSSELL                  1465 W. SANDUSKY AVE.                                                        LUGOFF             SC      29078
AGC AUTOMOTIVE AMERICAS         100 CARLEY DR                                                                                               GEORGETOWN         KY      40324‐9363
AGC AUTOMOTIVE AMERICAS         REBECCA LUTHER                 100 CARLEY DR                 C/O VUTEQ CORP.                                GEORGETOWN         KY      40324‐9363
AGC AUTOMOTIVE AMERICAS         REBECCA LUTHER                 C/O VUTEQ CORP.               100 CARLEY DRIVE     ORKOIEN 31160 SPAIN
AGC AUTOMOTIVE AMERICAS INC     BECKY LUTHER                   2222 W COLLEGE AVE                                                           NORMAL              IL     61761‐2374
AGC AUTOMOTIVE AMERICAS INC     BECKY LUTHER                   2222 W. COLLEGE AVENUE                                                       AUBURN              AL     36830
AGC AUTOMOTIVE EUROPE SA        PARC INDUSTRIEL DE SENEFFE                                                        SENEFFE BE 7180 BELGIUM
AGC AUTOMOTIVES AMERICAS        2222 W COLLEGE AVE                                                                                          NORMAL              IL     61761‐2374
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Name                             Address1                           Address2                        Address3                     Address4                  City               State Zip
AGC GLASS CO., LTD.              12‐1, YURAKUCHO 1‐CHOME                                                                         CHIYODA‐KU TOKYO 100‐8405
                                                                                                                                 JAPAN
AGCAOILI, HELEN                  2757 HOLIDAY CT                                                                                                           PINOLE             CA    94564‐2817
AGCO CORPORATION                 RALF WESSEL                        4205 RIVER GREEN PKWY                                                                  DULUTH             GA    30096‐2563
AGDANOWSKI, GERALD M             270 KILLARNEY BEACH RD                                                                                                    BAY CITY           MI    48706‐8108
AGE, BARBARA O                   1889 76TH PL N                                                                                                            SAINT PETERSBURG   FL    33702‐4806

AGE, BARBARA O                   1889 76 PL. N.                                                                                                            ST. PETERSBURG     FL    33702‐4806
AGEDA BARTLETT                   779 WASHINGTON BLVD                                                                                                       LAKE ODESSA        MI    48849‐1067
AGEE JERRY (479193)              BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD , BEVAN                                                          NORTHFIELD         OH    44067
                                                                    PROFESSIONAL BLDG
AGEE JONATHAN                    AGEE, JONATHAN
AGEE JONATHAN                    TENNESSEE FARMERS MUTUAL INSURANCE
                                 COMPANY
AGEE JONATHAN                    AGEE, JONATHAN                     WINKLER JAMIE D                 212 MAIN STREET PO BOX 232                             CARTHAGE            TN   37030

AGEE JR, LEO                     3799 S HOBART BLVD                                                                                                        LOS ANGELES         CA   90018‐4550
AGEE JR, WARREN                  4817 PICKFORD DR                                                                                                          TROY                MI   48085‐4976
AGEE MOTOR FREIGHT INC           PO BOX 127                                                                                                                AURORA              IL   60507‐0127
AGEE RICHARD                     8705 E DUROC RD                                                                                                           ARGENTA             IL   62501‐8254
AGEE SHERRY                      2511 DONNER PATH                                                                                                          ROUND ROCK          TX   78681
AGEE, ARNOLD U                   12781 MENDOTA ST                                                                                                          DETROIT             MI   48238‐3084
AGEE, AUBREY C                   23424 LARKSHIRE ST                                                                                                        FARMINGTON HILLS    MI   48336‐3427

AGEE, CLYMER, MITCHELL & LARET   89 E NATIONWIDE BLVD                                                                                                      COLUMBUS           OH    43215‐2512
AGEE, CONNIE W                   518 WOODBINE AVE                                                                                                          ROCHESTER          NY    14619‐1724
AGEE, CRYSTAL DIANA              1830 HUFFMAN AVE                                                                                                          DAYTON             OH    45403‐3112
AGEE, DANIEL L                   17593 EAST TALLY BEND ROAD                                                                                                NEVADA             MO    64772‐5418
AGEE, DANIEL L                   RR 3 BOX 142                                                                                                              NEVADA             MO    64772‐9423
AGEE, DAVID                      WEITZ & LUXENBERG                  180 MAIDEN LANE                                                                        NEW YORK           NY    10038
AGEE, DOUGLAS E                  3210 E 2ND ST                                                                                                             DAYTON             OH    45403‐1344
AGEE, EDITH                      4427 BONITA DR                                                                                                            MIDDLETOWN         OH    45044‐6756
AGEE, EDITH                      4427 BONITA DRIVE                                                                                                         MIDDLETOWN         OH    45044‐6756
AGEE, EDWARD L                   2137 HAMMEL ST                                                                                                            SAGINAW            MI    48601‐2254
AGEE, ELLA                       4740 WEST 183RD ST                                                                                                        COUNTRY CLUB       IL    60478
                                                                                                                                                           HILLS
AGEE, FREDDIE A                  18506 CHERRYLAWN ST                                                                                                       DETROIT            MI    48221
AGEE, GLADYS H                   CO LIFESPAN INC 1900 FAIRGROVE                                                                                            HAMILTON           OH    45011
AGEE, GLADYS L                   2600 BUSHWICK DR                                                                                                          DAYTON             OH    45439‐2950
AGEE, HENRY L                    26601 COOLIDGE HIGHWAY                                                                                                    OAK PARK           MI    48237‐1135
AGEE, JAMES A                    18506 CHERRYLAWN ST                                                                                                       DETROIT            MI    48221‐2079
AGEE, JAMES H                    2192 E 200 S                                                                                                              ANDERSON           IN    46017‐2010
AGEE, JEAN M                     1425 21ST AVE N                                                                                                           TEXAS CITY         TX    77590‐5230
AGEE, JERRY                      PO BOX 1442                                                                                                               ELYRIA             OH    44036‐1442
AGEE, JERRY                      BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD, BEVAN                                                           NORTHFIELD         OH    44067
                                                                    PROFESSIONAL BLDG
AGEE, JOHNNIE C                  6433 RUDY RD                                                                                                              TIPP CITY          OH    45371‐8727
AGEE, JUAN B                     2828 COUNTY ROAD 170                                                                                                      MOULTON            AL    35650‐7472
AGEE, JUANITA                    18506 CHERRYLAWN ST                                                                                                       DETROIT            MI    48221‐2079
AGEE, KSHIA D                    316 LELAND PL                                                                                                             LANSING            MI    48917‐3551
AGEE, KSHIA DARSELL              316 LELAND PL                                                                                                             LANSING            MI    48917‐3551
AGEE, LINDA F                    1269 E CASS AVE                                                                                                           FLINT              MI    48505‐1718
AGEE, MARK E                     1075 KENILWORTH AVE                                                                                                       NAPOLEON           OH    43545‐1211
AGEE, MARYANN                    65 E END AVE                                                                                                              PENNS GROVE        NJ    08069‐2249
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Name                            Address1                            Address2               Address3                Address4                 City               State   Zip
AGEE, NANNIE G                  2192 E 200 S                                                                                                ANDERSON            IN     46017‐2010
AGEE, OBIE L                    2137 HAMMEL ST                                                                                              SAGINAW             MI     48601‐2254
AGEE, PATRICK H                 7617 E STATE ROUTE 41                                                                                       TROY                OH     45373‐9030
AGEE, PATRICK H                 7617 E ST RT 41                                                                                             TROY                OH     45373‐9030
AGEE, ROBERT V                  1020 RIDGE AVE                                                                                              TUSCUMBIA           AL     35674‐4535
AGEE, ROSIE L                   2114 S ANNABELLE ST                                                                                         DETROIT             MI     48217‐1141
AGEE, ROSIE L                   2114 S ANNEBELLE                                                                                            DETROIT             MI     48217‐1141
AGEE, ROY A                     4605 SUCASA CIR                                                                                             ENGLEWOOD           OH     45322‐2548
AGEE, VERNON                    83 RIDGE PARK AVE                                                                                           BUFFALO             NY     14211‐2811
AGEE, VERNON                    #1                                  83 RIDGE PARK AVENUE                                                    BUFFALO             NY     14211‐2811
AGEE, VIRGINIA E                5417 CAMP DAGGETT RD                                                                                        BOYNE CITY          MI     49712‐9365
AGEE, WILLIAM D                 43 MAPLE AVE                                                                                                HIGHLAND HEIGHTS    KY     41076‐1108

AGEE, WILLIAM W                 275 COUNTY ROAD 398                                                                                         HILLSBORO          AL      35643‐4355
AGELIDIS, STEVEN P              105 N ELLWOOD AVE                                                                                           BALTIMORE          MD      21224
AGELIKI MELIGARIS               45 MORNINGSIDE RD                                                                                           NILES              OH      44446‐2109
AGELINK, EVERT J                12259 PARKIN LN                                                                                             FENTON             MI      48430‐8726
AGELINK, FRANCES B              36 DEVONSHIRE                                                                                               PLEASANT RDG       MI      48069‐1211
AGELINK, FRANCES B              36 DEVONSHIRE RD                                                                                            PLEASANT RDG       MI      48069‐1211
AGELINK, RICHARD J              873 MENOMINEE RD                                                                                            PONTIAC            MI      48341‐1551
AGEMA INFRAR/SELAUCS            550 COUNTY AVE                                                                                              SECAUCUS           NJ      07094‐2607
AGEMY, ANN H                    6025 OAKMAN BLVD                                                                                            DEARBORN           MI      48126‐2327
AGEMY, MIKE                     6153 N BANKLE CT                                                                                            DEARBORN HEIGHTS   MI      48127‐2918

AGENA JAMES K (643653)          GALIHER DEROBERTIS NAKAMURA ONO &   610 WARD AVE STE 200                                                    HONOLULU            HI     96814‐3308
                                TAKITANI
AGENCE DE L'EAU ‐ RHIN MEUSE    ROZERIELLEUS ‐ B.P. 30019                                                          MOULINS‐LES‐METZ 57161
                                                                                                                   FRANCE
AGENCY MANAGEMENT LLC           85 OLD TAPPAN RD                                                                                            OLD TAPPAN         NJ      07675‐7418
AGENCY OF NATURAL RESOURCES     REGION 1                            CENTER                 103 SOUTH MAIN STREET                            WATERBURY          VT      05671‐0301
AGENCY RENT A CAR               204 CARRIAGE LN                                                                                             DELRAN             NJ      08075‐1238
AGENCY RENT‐A‐CAR               30000 AURORA RD                                                                                             SOLON              OH      44139‐2728
AGENCY SPORTS MANAGEMENT        ATTN RUSSELL SPIELMAN               1 STURBRIDGE DR        ATTN RUSSELL SPIELMAN                            DIX HILLS          NY      11746‐6016
AGENT CHARLES                   103 RUSHMORE LN                                                                                             YOUNGSVILLE        LA      70592‐5470
AGENT, SARAH S                  2302 ARROWHEAD DR                                                                                           JONESBORO          AR      72401‐6026
AGENTS TRANSPORT                PO BOX 36                                                                                                   MANSFIELD          OH      44901‐0036
AGENZIA AMERICANA VICENZA SPA   VIALE SAN LAZZARO 15                                                               VICENZA 36100 ITALY
AGER, ELLA                      4415 MITCHELL ST                                                                                            DETROIT            MI      48207
AGER, FREDERICK G               493 LINDEN DR                                                                                               HARBOR SPRINGS     MI      49740‐9416
AGER, HERBERT W                 8145 JENNINGS RD                                                                                            SWARTZ CREEK       MI      48473‐9148
AGER, MICHELLE R                5300 AGERS ALY N                                                                                            CHARLEVOIX         MI      49720‐8819
AGER, MICHELLE R                5534 N M 66                                                                                                 CHARLEVIOX         MI      49720‐8816
AGER, NANCY J                   5774 LIMESTONE DR                                                                                           TROY               MI      48085‐3917
AGERS, JACK R                   9153 24TH AVE                                                                                               JENISON            MI      49428‐9477
AGET MFG CO                     1408 E CHURCH ST                                                                                            ADRIAN             MI      49221‐3437
AGF                             601 NW 2ND ST                                                                                               EVANSVILLE         IN      47708‐1013
AGFA HEALTH CARE CORPORATION    ROSEMARIE GVOTH                     100 CHALLENGER RD                                                       RDIGEFIELD PARK    NJ
AGGARWAL, DEEPA                 APT 101                             2717 GOLFVIEW DRIVE                                                     TROY               MI      48084‐3813
AGGARWAL, RAJEEV PURSHOTAM      1679 CHARLEVOIS DRIVE                                                                                       TROY               MI      48085‐5094
AGGIE BROWN                     3920 SW BRIAN LN                                                                                            LEES SUMMIT        MO      64082‐4703
AGGLO CORPORATION LIMITED
AGGREGATE INDUSTRIES            8075 CREEKSIDE DR STE 200                                                                                   PORTAGE             MI     49024‐6303
AGGREKO INC                     8119 PARK PL                                                                                                BRIGHTON            MI     48116‐8522
AGGREKO INC                     PO BOX 490                          2 HAWK CT                                                               BRIDGEPORT          NJ     08014‐0490
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Name                            Address1                             Address2                         Address3                     Address4                 City               State   Zip
AGGREKO INC                     16748 NEW AVE                                                                                                               LEMONT               IL    60439‐3690
AGGREKO LLC                     15600 JOHN F KENNEDY BLVD STE                                                                                               HOUSTON             TX     77032
AGGREKO LLC                     NEAL HARGRAVE                        PO BOX 10004                                                                           NEW IBERIA          LA     70562‐0004
AGGREKO LLC                     112 N COOLEY DR                      AWAITING W9 FORM                                                                       OKLAHOMA CITY       OK     73127‐1036
AGGREKO LLC                     PO BOX 10004                                                                                                                NEW IBERIA          LA     70562‐0004
AGGREKO LLC                                                          15600 JOHN F KENNEDY BLVD STE                                                          HOUSTON             TX     77032
AGGREKO PLC                                                          15600 JOHN F KENNEDY BLVD STE                                                          HOUSTON             TX     77032
AGGRESSIVE AUTOMOTIVE &         979 AMBOY AVE                                                                                                               EDISON              NJ     08837‐2816
PERFORMANCE
AGGRESSIVE SYSTEMS INC          24361 INDOPLEX CIR                                                                                                          FARMINGTON HILLS    MI     48335‐2525

AGGRESSIVE TOOL & DIE, INC      728 MAIN ST                                                                                                                 COOPERSVILLE        MI     49404‐1363
AGGRESSIVE TOOL & DIE, INC      ATTN: CORPORATE OFFICER/AUTHORIZED   728 MAIN ST                                                                            COOPERSVILLE        MI     49404‐1363
                                AGENT
AGGRESSIVE TOOLING INC.         ATTN: CORPORATE OFFICER/AUTHORIZED   608 INDUSTRIAL PARK DR                                                                 GREENVILLE          MI     48838‐9792
                                AGENT
AGGRESSIVE TOOLING INC.         608 INDUSTRIAL PARK DRIVE                                                                                                   GREENVILLE         MI      48838
AGGRESSIVE TRANSPORTATION INC   14947 MARLA DR                                                                                                              WARREN             MI      48088‐2020
AGGSON, AUDREY E                3205 ELM ST                                                                                                                 SAINT CHARLES      MO      63301‐4653
AGGSON, CHARLOTTE T             3205 ELM ST                                                                                                                 SAINT CHARLES      MO      63301‐4653
AGHA, NOSHEEN                   6 JIREH LANE                                                                                                                BROOKFIELD         CT      06804‐2222
AGHAMOALI, GHOLAM R             10620 BIGELOW RD                                                                                                            DAVISBURG          MI      48350‐2002
AGHEKIAN JANET                  AGHEKIAN, EILEEN                     KORPER LAW OFFICE OF RENE,       27240 TURNBERRY LANE SUITE                            VALENCIA           CA      91355
                                                                                                      200
AGHEKIAN JANET                  AGHEKIAN, JANET                      27240 TURNBERRY LANE SUITE 200                                                         VALENCIA            CA     91355
AGI EVENTS                      A DIVISION OF AFFINITY GROUP         PO BOX 4197                      INC                                                   CHESTER             VA     23831‐8475
AGI‐TECH AUTOMOTIVE             379 HWY 54                                                                                         BRANTFORD ON N3T 5L9
                                                                                                                                   CANADA
AGIE CHARMILLES                 # 500                                11240 KATHERINE CROSSING                                                               WOODRIDGE           IL     60517‐5075
AGIE CHARMILLES                 6975‐D PACIFIC CIRCLE                                                                              MISSISSAUGA ON L5T 2H3
                                                                                                                                   CANADA
AGIE CHARMILLES                 560 BOND ST                          FRMLY CHARMILLES TECHNOLOGIES                                                          LINCOLNSHIRE        IL     60069‐4207
AGIE CHARMILLES LLC             PO BOX 807                           560 BOND ST                                                                            MOUNT PROSPECT      IL     60056‐0807
AGIE LTD                        9009 PERIMETER WOODS DR STE G                                                                                               CHARLOTTE           NC     28216‐0041
AGIE LTD
AGILE GROUP INC                 518 CURZON ST APT 204                                                                                                       HOWELL             MI      48843‐1190
AGILE GROUP INC THE             518 CURZON ST APT 204                                                                                                       HOWELL             MI      48843‐1190
AGILENT TECHNOLOGIES INC        9780 S MERIDIAN BLVD                 PO BOX 4026                                                                            ENGLEWOOD          CO      80112
AGILENT TECHNOLOGIES INC        3000 HANOVER ST                                                                                                             PALO ALTO          CA      94304‐1112
AGILENT TECHNOLOGIES INC        4187 COLLECTION CENTER DR                                                                                                   CHICAGO            IL      60693‐0041
AGILYSYS INC                    6065 PARKLAND BLVD                                                                                                          CLEVELAND          OH      44124‐4186
AGIN, SIMPSON N                 1702 SCENIC DR                                                                                                              EWING              NJ      08628‐2217
AGIN, WILLIAM B                 7329 KASKASKIA ST                                                                                                           BALDWIN            IL      62217‐1053
AGIN, WILMA G                   301 KINNEY AVE NW                                                                                                           GRAND RAPIDS       MI      49534‐5704
AGIN, WILMA G                   301 KINNEY NW                                                                                                               GRAND RAPIDS       MI      49544‐5704
AGINAGA, LINDA M                9113 LINDEN RD                                                                                                              SWARTZ CREEK       MI      48473‐9152
AGINS, JOYCE                    PO BOX 09420                                                                                                                CHICAGO            IL      60609‐9420
AGIO IMAGING INC                6292 AMERICAN AVE                                                                                                           PORTAGE            MI      49002‐9302
AGIRI OLUWAGBEMILEKE            2901 ELMSIDE DR APT 218                                                                                                     HOUSTON            TX      77042‐3940
AGIUS, ANTHONY S                16815 BRADNER RD                                                                                                            NORTHVILLE         MI      48168‐2080
AGIUS, ANTHONY S                16815 BRADNER                                                                                                               NORTHVILLE         MI      48167‐2080
AGIUS, ELLENOR M                2171 FORESTER WAY                                                                                                           SPRING HILL        FL      34606‐3705
AGIUS, EMMANUEL                 6035 N CHARLESWORTH ST                                                                                                      DEARBORN HTS       MI      48127‐3921
AGIUS, MARY LEE                 8110 S KIMBERLY CIR                                                                                                         FLORAL CITY        FL      34436‐2630
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AGIUS, MICHELE               7401 7TH AVE W                                                                                     BRADENTON           FL     34209‐3420
AGIUS, SHERRYL RUTH          8463 EAGLE POINTE DR 15                                                                            NEWPORT             MI     48166
AGIUS, SYLVIA                7248 GREEN HILLS DR S                                                                              SALINE              MI     48176‐9547
AGIUS, SYLVIA                7248 S GREEN HILLS DR                                                                              SALINE              MI     48176‐9547
AGL RESOURCES, INC.          JASON BROACH                    5105 TULANE DR SW                                                  ATLANTA             GA     30336‐2317
AGLAE COLON                  5333 KAILUA LN                                                                                     ORLANDO             FL     32812
AGLE I I, LEROY              19330 HICKORY RIDGE RD                                                                             FENTON              MI     48430‐8529
AGLE II, LEROY               19330 HICKORY RIDGE RD                                                                             FENTON              MI     48430‐8529
AGLE, ALTON A                8303 N SMITH RD                                                                                    HENDERSON           MI     48841‐9727
AGLE, ARNOLD J               2046 ROSLYN AVE                                                                                    FLINT               MI     48532‐3925
AGLE, CRYSTAL L              5234 ELKO ST                                                                                       FLINT               MI     48532‐4134
AGLE, DELBERT J              6338 CLOVIS AVE                                                                                    FLUSHING            MI     48433‐9003
AGLE, DELBERT JOSEPH         6338 CLOVIS AVE                                                                                    FLUSHING            MI     48433‐9003
AGLE, GARLAND L              3811 E UNIVERSITY DR LOT 103                                                                       MESA                AZ     85205‐6950
AGLE, GARY L                 4009 BALLAS STREET                                                                                 DURAND              MI     48519
AGLE, GEORGE A               4040 PULASKI DR                                                                                    ZEPHYRHILLS         FL     33541‐8365
AGLE, JAMES A                301 HUGHES ST                                                                                      CLIO                MI     48420‐1313
AGLE, LEROY                  221 W HOWARD RD                                                                                    BEAVERTON           MI     48612‐9457
AGLE, LOUISE A               9609 CREEK VIEW CT                                                                                 DAVISON             MI     48423‐3501
AGLE, RAYMOND R              8170 COUNTRY CLUB DR                                                                               BROOKSVILLE         FL     34613‐2705
AGLE, SANDRA K               6055 HEDGEROW CIR                                                                                  GRAND BLANC         MI     48439‐9788
AGLE, TERRANCE L             14390 MIDFIELD ST                                                                                  BROOKSVILLE         FL     34613‐5938
AGLE, TIMOTHY M              PO BOX 90225                                                                                       BURTON              MI     48509‐0225
AGLE, TONY M                 558 N SUPERIOR ST                                                                                  FARWELL             MI     48622‐9703
AGLE, WILLIAM A              7417 MORELLI AVE                                                                                   BROOKSVILLE         FL     34613‐5753
AGLE, WILLIAM H              1860 N FRANCIS ST                                                                                  MIDLAND             MI     48642‐9451
AGLE‐NORTON, BETTY S         5045 EAGLEVILLE PIKE                                                                               CHAPEL HILL         TN     37034‐2426
AGLER BENJAMIN               1140 SW GREENBRIAR CV                                                                              PORT SAINT LUCIE    FL     34986‐2004
AGLER JR, DONALD C           2253 OAKRIDGE DR                                                                                   FARWELL             MI     48622‐9751
AGLER SR, KENNETH C          507 E 5TH ST                                                                                       MC DONALD           OH     44437‐1813
AGLER, JAMES C               213 MARCIA DR                                                                                      LANSING             MI     48917‐2835
AGLER, JOAN S                5109 BIRCHCREST STREET                                                                             YOUNGSTOWN          OH     44515‐3922
AGLI, HELEN D                123 DIBBLE HOLLOW                                                                                  WINDSOR LOCKS       CT     06096‐2731
AGLIALORO, JOHN F            615 ROUTE 9W                                                                                       PIERMONT            NY     10968‐1116
AGLIALORO, VINCENT J         615 ROUTE 9W                                                                                       PIERMONT            NY     10968
AGLIATA, JOSEPH P            223 AMITY ST                                                                                       ELIZABETH           NJ     07202‐3937
AGLIETTI, WALTER R           8 RAINTREE CT                                                                                      DEER PARK           NY     11729‐5612
AGLIO, DAVID L               114 GLORIANN AVE                                                                                   BELLE VERNON        PA     15012‐2312
AGLIO, LOUIS                 919 OLD NATIONAL PIKE                                                                              BROWNSVILLE         PA     15417‐9257
AGLIORI, MONICA              18 CLIFTON BLVD                                                                                    PITTSBURGH          PA     15210‐4330
AGM AUTO SERVICE             18 W. HOWARD STREET                                                                                ARCADIA             IN     46030
AGM AUTOMOTIVE INC           1000 E WHITCOMB AVE                                                                                MADISON HEIGHTS     MI     48071‐1412

AGM AUTOMOTIVE INC           ROBERT GRANATA X12              1000 E WHITCOMB AVE                                                MADISON HEIGHTS     MI     48071‐1412

AGM AUTOMOTIVE INC           ROBERT GRANATA X12              1000 EAST WHITCOMB AVE                  SHANGHAI CHINA (PEOPLE'S
                                                                                                     REP)
AGM CONTAINER CONTROLS INC   3526 E FORT LOWELL RD           PO BOX 40020                                                       TUCSON              AZ     85716‐1705
AGMON YITZCHAK               AGMON, YITZCHAK                 53 MOSHAV                                                          ISRAEL
AGMON, YITZCHAK
AGNE, STEPHEN D              375 HWY 67                      APT 157B                                                           DOUSMAN             WI     53118
AGNELLA DUNCHOCK             8281 WORMER ST                                                                                     DEARBORN HEIGHTS    MI     48127‐1370

AGNELLO, CARMELLA            PO BOX 4454                                                                                        PANORAMA CITY       CA     91412‐4454
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AGNELLO, CHARLES            140 JACKMAN LN                                                                                  ELMA              NY 14059‐9444
AGNELLO, CHRISTINA A        192 E MAIN ST                                                                                   WEBSTER           NY 14580‐3232
AGNELLO, FRANCES P          32 ROCHELLE PK                                                                                  TONAWANDA         NY 14150‐9312
AGNELLO, FRANCES P          140 JACKMAN LANE                                                                                ELMA              NY 14059‐9444
AGNELLO, FRED A             3401 N KARWOOD DR                                                                               PORT CLINTON      OH 43452‐9724
AGNELLO, HELEN L            4800 LIBERTY SCHOOL RD                                                                          HILLSBORO         MO 63050‐4805
AGNELLO, JOHN A             41185 VICTORIA DR 43                                                                            CLINTON TOWNSHIP MI 48038

AGNELLO, JOHN A             26 OLD MOUNTAIN RD                                                                              MOULTONBORO       NH   03254‐3508
AGNELLO, JOHN G             22917 BROOKDALE BLVD                                                                            ST CLR SHORES     MI   48082‐2137
AGNELLO, ROBERT P           8529 INGRAM ST                                                                                  WESTLAND          MI   48185‐1539
AGNELLO, WILLIAM R          1245 NEWPORT LN                                                                                 KAYSVILLE         UT   84037‐1345
AGNER C WALLER              345 RIDGELAKE SCENIC DR                                                                         MONTGOMERY        TX   77316
AGNER, DWAYNE C             2204 HOLLYWOOD DR                                                                               MONROE            MI   48162‐4120
AGNER, L Y                  6753 LEBANON RD                                                                                 MINT HILL         NC   28227‐8217
AGNER, NANCY D              1839 FRUIT COVE WOODS DR                                                                        JACKSONVILLE      FL   32259‐2912
AGNER, VALERIE J            2204 HOLLYWOOD DR                                                                               MONROE            MI   48162‐4120
AGNES ALIC                  708 RADFORD DR                                                                                  RICHMOND HTS      OH   44143‐1940
AGNES ALLEY                 8112 W WELLER ST                                                                                YORKTOWN          IN   47396‐1453
AGNES ANTAL                 123 LYNNWOOD AVENUE                                                                             BELLE VERNON      PA   15012‐2201
AGNES ARNOLD                5033 3RD ST                                                                                     SWARTZ CREEK      MI   48473‐1422
AGNES B & MICHAEL G PASKO   81 RAYMALEY RD                   PO BOX 199                                                     HARRISON CITY     PA   15636
AGNES B DALLE               105 FOSTER RD.                                                                                  ROCHESTER         NY   14616‐2428
AGNES BABJAK                4293 GREENSBURG PIKE APT 1406                                                                   PITTSBURGH        PA   15221‐4250
AGNES BACKA                 4158 GRAND BLANC RD                                                                             SWARTZ CREEK      MI   48473‐9111
AGNES BAILEY                9103 N UNION ST LOT 129                                                                         TECUMSEH          MI   49286‐1069
AGNES BAKER                 3681 W GALBRAITH RD APT 25                                                                      CINCINNATI        OH   45247‐3790
AGNES BALLARD               6091 BELFAST RD                                                                                 GOSHEN            OH   45122‐9450
AGNES BALLINGER             PO BOX 384                                                                                      ELWOOD            IN   46036‐0384
AGNES BALOGH                338 ELIZABETH AVE                                                                               EAST PITTSBURGH   PA   15112‐1509
AGNES BANKERT               43021 RIGGS RD                                                                                  BELLEVILLE        MI   48111‐3084
AGNES BASOVSKY              12605 FERDEN RD                                                                                 OAKLEY            MI   48649‐8721
AGNES BECHEL                9514 MCAFEE RD                                                                                  MONTROSE          MI   48457‐9025
AGNES BELIC                 1143 CARDINAL DR                                                                                ENON              OH   45323‐9742
AGNES BIDDLE                PO BOX 18                                                                                       OAKFORD           IN   46965‐0018
AGNES BIELAWSKI             75 CEIL DR                                                                                      CHEEKTOWAGA       NY   14227‐1926
AGNES BIERY                 421 GLENDOLA AVE NW                                                                             WARREN            OH   44483‐1250
AGNES BIGLER                284 PIPERS LN                                                                                   MOUNT MORRIS      MI   48458‐8703
AGNES BILOVESKY             2229 PARKWOOD DR NW                                                                             WARREN            OH   44485‐2330
AGNES BLANKENSHIP           1324 GREENRIDGE DR                                                                              FLINT             MI   48532‐3540
AGNES BOESKE                7487 EASTLANE AVE                                                                               JENISON           MI   49428‐8922
AGNES BONE                  285 DEEP STEP RD                                                                                COVINGTON         GA   30014‐1608
AGNES BOONE                 1032 TRINTON CIR                                                                                BEDFORD           IN   47421‐7561
AGNES BOYETTE               5898 ATTALA ROAD 3024                                                                           KOSCIUSKO         MS   39090‐4961
AGNES BRASSINGTON           1372 BENT TREE CT                                                                               HUDSONVILLE       MI   49426‐9453
AGNES BRAY                  10220 S HOBART BLVD                                                                             LOS ANGELES       CA   90047‐4238
AGNES BREWER                202 JOHNSON TRL                                                                                 MORAINE           OH   45418‐2993
AGNES BREWER                3699 STOLZENFELD AVE                                                                            WARREN            MI   48091‐1948
AGNES BRICAULT              2407 WHITEMORE PL                                                                               SAGINAW           MI   48602‐3532
AGNES BRISCOE               7814 ZIMMERMAN RD                                                                               ROBERTSVILLE      MO   63072‐3413
AGNES BROCHU                12624 PAGELS DR APT 227                                                                         GRAND BLANC       MI   48439‐2402
AGNES BULLOCK               871 JAMES ST NW                                                                                 MARIETTA          GA   30060‐6916
AGNES BURNS                 28811 JAMISON ST APT 109A                                                                       LIVONIA           MI   48154‐4077
AGNES BUTKI                 2181 HILLWOOD CT                                                                                CLEARWATER        FL   33763‐1314
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AGNES BUTLER        3602 ASKEW AVE                                                                                  KANSAS CITY         MO     64128‐2609
AGNES BYARS         2120 SAVOY AVE                                                                                  BURTON              MI     48529‐2174
AGNES BYRNE         11334 W RIVER RD                                                                                COLUMBIA STATION    OH     44028‐9526

AGNES C MULLALLY    3171 E STANLEY RD                                                                               MOUNT MORRIS       MI      48458‐8731
AGNES CALDWELL      976 COMPTON LN                                                                                  YOUNGSTOWN         OH      44502‐2333
AGNES CAMARGO       1817 KENDRICK ST                                                                                SAGINAW            MI      48602‐1185
AGNES CAMERON       1328 PARLIAMENT AVE                                                                             MADISON HTS        MI      48071‐2997
AGNES CARTER        PO BOX 221                                                                                      SOUTH DENNIS       NJ      08245‐0221
AGNES CASTNER       19 CRYSTAL COMMONS DR                                                                           ROCHESTER          NY      14624‐2275
AGNES CHEEK         918 FAULKNER ST                                                                                 NEW SMYRNA         FL      32160‐6203
AGNES CHMIELEWSKI   PO BOX 14463                                                                                    SAGINAW            MI      48601‐0463
AGNES CHOINIERE     21 INDEPENDENCE AVE                                                                             FRANKLIN           NH      03235‐1262
AGNES CHRISTOPHER   # 17                           1550 VILLA DRIVE                                                 DE SOTO            MO      63020‐2586
AGNES COLLINS       487 LOMBARD RD                                                                                  COLUMBUS           OH      43228‐1933
AGNES COMMYN        6666 WELLSDALE CT                                                                               WASHINGTON         MI      48094‐2106
AGNES CRIPPS        PO BOX 736                                                                                      ATLANTA            MI      49709‐0736
AGNES CROSS         155 HAMILTON AVE                                                                                LODI               NJ      07644‐1440
AGNES DALLE         105 FOSTER RD                                                                                   ROCHESTER          NY      14616‐2428
AGNES DAVIS         657 S CRAWFORD ST                                                                               DETROIT            MI      48209‐3011
AGNES DEAN          6401 HOAG RD                                                                                    ALBION             MI      49224‐9181
AGNES DELPH         110 S WEST ST                                                                                   ALEXANDRIA         IN      46001‐1914
AGNES DEVORE        1802 ARLENE DR                                                                                  WILMINGTON         DE      19804‐4002
AGNES DEWITT        5685 S GRAHAM RD                                                                                SAINT CHARLES      MI      48655‐8521
AGNES DILTS         3460 TERRY ST                                                                                   SAGINAW            MI      48604‐1728
AGNES DION          4750 BIRNBAUM DR                                                                                BAY CITY           MI      48706‐9496
AGNES DOLATOWSKI    3030 CLINTON ST #309                                                                            BUFFALO            NY      14224‐1373
AGNES DOTSON        535 ISABELLA ST                                                                                 CANTON             MS      39046‐3415
AGNES DUDGEON       12474 CASTLE ROCK DR                                                                            HUNTLEY            IL      60142‐7889
AGNES EARLE         3465 N 800 E                                                                                    BROWNSBURG         IN      46112
AGNES EARNS         2173 WINDING WAY DR                                                                             DAVISON            MI      48423‐2024
AGNES EVANS         PO BOX 61023                                                                                    DAYTON             OH      45406‐9023
AGNES EVANS         31 PARKEDGE CT                                                                                  TONAWANDA          NY      14150‐7822
AGNES FAGAN         67 BRANT DR                                                                                     BRICK              NJ      08724‐5023
AGNES FLEMING       901 PALLISTER ST APT 706                                                                        DETROIT            MI      48202‐2681
AGNES FLOWERS       22374 MARY ST                                                                                   TAYLOR             MI      48180‐2752
AGNES FLYNN         4886 CURRIE LAKE RD                                                                             HARSHAW            WI      54529‐9590
AGNES FORBES        1463 FLAMINGO DR                                                                                MOUNT MORRIS       MI      48458‐2723
AGNES FORBES        2499 BROOKDALE DR                                                                               HOLLAND            MI      49424‐9210
AGNES FORSYTHE      # 107                          325 NORTH COOL SPRING STREET                                     FAYETTEVILLE       NC      28301‐5137
AGNES FRANK         211 ROYAL GARDENS WAY                                                                           BROCKPORT          NY      14420‐9517
AGNES FRANKO        961 SHANNON RD                                                                                  GIRARD             OH      44420‐2049
AGNES FRANTZ        1010 W 3RD ST APT 13                                                                            GRANDVIEW          IN      47615‐9353
AGNES FRAUNDORF     6817 PARKGATE OVAL                                                                              SEVEN HILLS        OH      44131‐3642
AGNES FRAZEE        1059 N IRISH RD                                                                                 DAVISON            MI      48423‐2208
AGNES GABRIEL       4237 LEITH ST                                                                                   BURTON             MI      48509‐1034
AGNES GALISZ        3949 WEST ALEXANDER RD.        BUILDING 37 APT 1213                                             N LAS VEGAS        NV      89032
AGNES GEER          1034 PACOLET HWY LOT 1                                                                          GAFFNEY            SC      29340‐5070
AGNES GERVASIO      7 MONACO CT                                                                                     TOMS RIVER         NJ      08757‐3844
AGNES GETZ          51 PRICE ST                                                                                     LOCKPORT           NY      14094‐4930
AGNES GIERSZEWSKI   PO BOX 572                                                                                      HALES CORNERS      WI      53130‐0572
AGNES GODBY         410 CONSERVATORY CV                                                                             LAKE MARY          FL      32746‐6346
AGNES GRANT         4617 JOE DAVIS DR                                                                               DECATUR            AL      35603‐4929
AGNES GRANTNER      1148 N GENESEE RD                                                                               BURTON             MI      48509‐1435
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AGNES GRAVES         8147 RECTOR DR                                                                                SAINT LOUIS       MO     63134‐2220
AGNES GRAY           PO BOX 286                     134 PIKE ST                                                    FT COVINGTON      NY     12937‐0286
AGNES GRODZICKI      25 METACOMET DR                                                                               MERIDEN           CT     06450‐3572
AGNES GROOMS         342 DANERN DR                  C/O MARSHA S CLEM                                              BEAVERCREEK       OH     45430‐2005
AGNES GRUBAUGH       3020 OLD FARM RD                                                                              KALAMAZOO         MI     49004‐3339
AGNES GRZEJKA        231 VIOLA AVE                                                                                 HUBBARD           OH     44425‐2064
AGNES GUBANCSIK      5131 ESTA DR                                                                                  FLINT             MI     48506‐1574
AGNES GUILE          PO BOX 214                                                                                    WINTHROP          NY     13697‐0214
AGNES GUNN           19210 EDGEWOOD LN                                                                             NOBLESVILLE       IN     46060‐1128
AGNES HAHN           2251 SPRINGPORT RD APT 236                                                                    JACKSON           MI     49202‐1439
AGNES HARPER MILLS   6402 BRANT WAY                                                                                ROCKLIN           CA     95765‐5810
AGNES HASTING        1936 N NEMO DR                                                                                DELTONA           FL     32725‐3995
AGNES HAWKINS        5607 MAPLE ST                                                                                 PARAGOULD         AR     72450‐3713
AGNES HEHNLY         PO BOX 86                      2674 YORK RD W                                                 YORK              NY     14592‐0086
AGNES HEREDY         2509 SPITLER RD                                                                               POLAND            OH     44514
AGNES HERNANDEZ      812 BOWMAN ST                                                                                 NILES             OH     44446‐2712
AGNES HIEL           1901 S CLINTON AVE                                                                            TRENTON           NJ     08610‐6201
AGNES HOLBROOKS      PO BOX 151                                                                                    FAIR PLAY         SC     29643‐0151
AGNES HOLLARS        18307 CORTLAND AVE                                                                            PORT CHARLOTTE    FL     33948‐3355
AGNES HOUGH          595 WARDELL AVE                                                                               N TONAWANDA       NY     14120‐1708
AGNES HOUSE          334 N SAGINAW ST               P.O. BOX 563                                                   MONTROSE          MI     48457‐9744
AGNES HOUSEMAN       W18755 S CURTIS RD                                                                            GERMFASK          MI     49836‐9202
AGNES HOWAY          2730 OHIO ST                                                                                  SAGINAW           MI     48601‐7048
AGNES HOWELL         3237 MCCLURE AVE                                                                              FLINT             MI     48506‐2537
AGNES HRUDKAJ        2625 MCLEMORE RD                                                                              FRANKLIN          TN     37064‐1129
AGNES HUDSON         294 DENNIS K CT                                                                               WHITE LAKE        MI     48386‐1994
AGNES HUDSON         7657 STATE ROUTE 154                                                                          BALDWIN            IL    62217‐1273
AGNES HUIZENGA       4482 PORT SHELDON ST                                                                          HUDSONVILLE       MI     49426‐9325
AGNES HUNT           3851 W 132ND ST                                                                               CLEVELAND         OH     44111‐4406
AGNES HUTCHINS       904 NORMANDY DRIVE                                                                            CLINTON           MS     39056‐3627
AGNES INSINNA        468 COLVIN AVE                                                                                BUFFALO           NY     14216‐1824
AGNES JACKSON        4785 JACKSON LN                                                                               CINCINNATI        OH     45245‐1107
AGNES JENNINGS       2928 AVALON AVE NE                                                                            CANTON            OH     44705‐4156
AGNES JENSEN         144 MCINTOSH AVENUE                                                                           CLARENDON HLS      IL    60514‐1162
AGNES JIMINEZ        2320 14TH ST                                                                                  PORT HURON        MI     48060‐6576
AGNES JOHNROE        2308 WETTERS RD                                                                               KAWKAWLIN         MI     48631‐9411
AGNES JOHNSON        1333 W MONROE ST                                                                              ALEXANDRIA        IN     46001‐8150
AGNES JOHNSON        204 REYNOLDS,BOX 516                                                                          FENNVILLE         MI     49408
AGNES KAGELS         6285 HATTER RD                                                                                NEWFANE           NY     14108‐9721
AGNES KARASINSKI     32540 GRANDVIEW AVE                                                                           WESTLAND          MI     48186‐8966
AGNES KARTER         12 SANDY LN                                                                                   CHEEKTOWAGA       NY     14227‐1331
AGNES KEA            1707 5TH AVE APT 1                                                                            YOUNGSTOWN        OH     44504‐1855
AGNES KELLY          4817 SUNNYBROOK DR                                                                            JACKSON           MS     39209‐4726
AGNES KERBY          4853 GOTHIC HILL ROAD                                                                         LOCKPORT          NY     14094‐9701
AGNES KERMEC         1124 N WARD AVE                                                                               GIRARD            OH     44420‐1958
AGNES KIMBALL        VILLAGES AT COOK SPRINGS       2300 STONEWOOD DR                                              CENTER POINT      AL     35215
AGNES KLEIN          1203‐B MITCHEM DR H                                                                           URBANA             IL    61801
AGNES KLEIN          18824 W SHARON RD                                                                             OAKLEY            MI     48649‐8714
AGNES KNAPKE         321 E WARD ST                                                                                 VERSAILLES        OH     45380‐1433
AGNES KNOWLES        3365 E 149TH ST                                                                               CLEVELAND         OH     44120‐4237
AGNES KOBZOWICZ      5652 E 141ST ST                                                                               MAPLE HEIGHTS     OH     44137‐3202
AGNES KOHLES         5001 RAVENS CREST DR E                                                                        PLAINSBORO        NJ     08536‐2480
AGNES KRAMARCZYK     236 EDGEMONT DR                                                                               HOWELL            MI     48855‐9779
AGNES KRATOFIL       15715 SAN JOSE ST                                                                             GRANADA HILLS     CA     91344‐7238
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AGNES KUDRICK            1625 TAMPICO PL                                                                              THE VILLAGES        FL     32159‐9188
AGNES L BILOVESKY        2229 PARKWOOD DR. N.W.                                                                       WARREN              OH     44485‐2330
AGNES L HAYS             5056 WALDEN AVE #5056                                                                        FORT WORTH          TX     76132
AGNES L PULLEY           12 BARTLES COURT                                                                             VANDALIA            OH     45377‐2201
AGNES L ROSASCO          3140 VALACAMP S.E.                                                                           WARREN              OH     44484‐3258
AGNES LANE               PO BOX 420828                                                                                SUMMERLAND KEY      FL     33042‐0828
AGNES LANGE              252 S GREY RD                                                                                AUBURN HILLS        MI     48326‐3228
AGNES LANGHORNE          8660 WOODWARD DR                                                                             RICHMOND            VA     23236‐4515
AGNES LAPENES            8796 LAKEVIEW ST                                                                             FARWELL             MI     48622‐9723
AGNES LEMARBLE           PO BOX 795                                                                                   MOUNT MORRIS        MI     48458‐0795
AGNES LEONE              480 PLEASANT VIEW SMOCK RD                                                                   SMOCK               PA     15480‐1020
AGNES LINABURY           13345 E 54TH DR                                                                              YUMA                AZ     85367
AGNES LIVENGOOD          5603 MERKLE AVENUE                                                                           CLEVELAND           OH     44129‐1510
AGNES LIVINGSTON         503 WEST 2ND STREET                                                                          ELK RAPIDS          MI     49629‐9515
AGNES LOOKADOO           16715 QUAKERTOWN LN                                                                          LIVONIA             MI     48154‐1161
AGNES LUDLOW             3262 GEMINI DR                                                                               STERLING HEIGHTS    MI     48314‐3175
AGNES LUKAS              885 ABERDEEN ST NE                                                                           GRAND RAPIDS        MI     49505‐3814
AGNES LUND               1420 LINCOLN DR                                                                              FLINT               MI     48503‐3556
AGNES LYON               PO BOX 306                                                                                   MAHOPAC             NY     10541‐0306
AGNES LYONS              637 PHILLIPS ST                                                                              PONTIAC             MI     48342‐2548
AGNES M CASTNER          19 CRYSTAL COMMONS DR.                                                                       ROCHESTER           NY     14624‐2275
AGNES M GRZEJKA          231 VIOLA ST                                                                                 HUBBARD             OH     44425‐2064
AGNES M HUTCHINS         904 NORMANDY DR                                                                              CLINTON             MS     39056‐3627
AGNES M MILLS            5 NEW HILLCREST AVE                                                                          EWING               NJ     08638‐3519
AGNES M SAZY             10356 LAPEER RD                                                                              DAVISON             MI     48423‐8159
AGNES MACK               10515 E BAYSHORE RD                                                                          MARBLEHEAD          OH     43440‐2319
AGNES MAGERS             3742 TREWITHEN LN                                                                            CARMEL              IN     46032‐8242
AGNES MANHART            1701 E ROAD 1                                                                                EDGERTON            WI     53534‐8740
AGNES MANZELLA           229 SPRUCEWOOD TER                                                                           WILLIAMSVILLE       NY     14221‐4738
AGNES MARDEN             21 MURPHY CIR                 C/O JEFFREY A SPRAGUE                                          FLORHAM PARK        NJ     07932‐2001
AGNES MARKS              143 ROYAL CREST DR                                                                           SEVILLE             OH     44273‐9711
AGNES MARTIN             2575 RUSSELLVILLE RD                                                                         MORGANTOWN          KY     42261‐8505
AGNES MATHEWS            4115 SW HOMESTEAD DR                                                                         LEES SUMMIT         MO     64082‐8216
AGNES MATHILDE DEUSSEN   HEISTERWG 11                                                                                 GREVENBROICH               41516
AGNES MATHILDE DEUSSEN   HEISTERWEG 11                                                                                GREVENBROICH               41516
AGNES MATTHEWS           1822 BARKS ST                                                                                FLINT              MI      48503‐4302
AGNES MAWDSLEY           7266 W MOUNT MORRIS RD                                                                       FLUSHING           MI      48433‐8831
AGNES MC DANIEL          210 MILFORD ST                                                                               TOLEDO             OH      43605‐1422
AGNES MC EVOY            167 WADSWORTH AVE                                                                            AVON               NY      14414‐1157
AGNES MC KENZIE          5520 BLUEGRASS WAY WA                                                                        HILLIARD           OH      43026
AGNES MCARN              2735 N GARDEN AVE             AMBELY VILLAGE UNIT 52                                         GARLAND            TX      75040
AGNES MCDUFFIE           6454 LESLIE DR                                                                               BROOK PARK         OH      44142‐3476
AGNES MCDUFFORD          58 N WRIGHT AVE                                                                              DAYTON             OH      45403‐1740
AGNES MCGOWAN            1402 N HARRISON ST                                                                           WILMINGTON         DE      19806‐3114
AGNES MCKINNON           9165 FARM ROAD                2625 EAST                                                      MARSHALL           TX      75672
AGNES MELTZER            7036 N STATE ROAD 9                                                                          SHELBYVILLE        IN      46176‐9425
AGNES MILLER             3744 FARMERS CREEK RD                                                                        METAMORA           MI      48455‐9729
AGNES MILLER             4181 N 19TH ST                                                                               MILWAUKEE          WI      53209‐6842
AGNES MILLER             3170 E STROOP RD APT 301                                                                     KETTERING          OH      45440‐1366
AGNES MILLS              5 NEW HILLCREST AVE                                                                          EWING              NJ      08638‐3519
AGNES MILLSPAUGH         1535 S L ST                                                                                  ELWOOD             IN      46036‐2840
AGNES MITCHELL           229 E MADISON ST                                                                             TIPTON             IN      46072‐1934
AGNES MOJZIS             9447 E CALLE DE VALLE DR                                                                     SCOTTSDALE         AZ      85255‐4355
AGNES MOLLOSEAU          9242 MAPLEWOOD DR                                                                            CLIO               MI      48420‐9765
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AGNES MORTIMER        184 HECKMAN RD                                                                                  TEMPLE              PA     19560‐9764
AGNES MOSCATO         467 LANCASTER AVE                                                                               LUNENBURG           MA     01462‐1512
AGNES MOYER           1693 MERILINE AVE                                                                               DAYTON              OH     45410‐3331
AGNES MROWIEC         27940 WALKER AVE                                                                                WARREN              MI     48092‐3064
AGNES MULHOLLAND      2608 MASON RD                                                                                   OWOSSO              MI     48867‐9376
AGNES MULLALLY        3181 E STANLEY RD                                                                               MOUNT MORRIS        MI     48458‐8731
AGNES MULLINS         4483 HEMLOCK LOOP                                                                               CLARKSTON           MI     48348‐1360
AGNES MURPHY          4300 W FORD CITY DR UNIT A510                                                                   CHICAGO              IL    60652
AGNES N DOTSON        535 ISABELLA ST                                                                                 CANTON              MS     39046‐3415
AGNES NADEAU          11283 HEMLOCK DR                                                                                STERLING HEIGHTS    MI     48312‐3844
AGNES NAGEL           1005 SCARLET OAK DR                                                                             MONROE              MI     48162‐3495
AGNES NICOLICH        3354 PARDEE AVE                                                                                 DEARBORN            MI     48124‐3529
AGNES NIEZNAJKO       10472 N SAGINAW RD                                                                              CLIO                MI     48420‐1653
AGNES NITZ            7255 IDA TER                                                                                    WATERFORD           MI     48329‐2833
AGNES OAKES           806 BRIARCREST LN                                                                               DALTON              OH     44618‐9052
AGNES ORLOWSKI        725 RANDALL ST                                                                                  LANSING             MI     48906‐4254
AGNES ORTWINE         49680 KEYCOVE CT                                                                                CHESTERFIELD        MI     48047‐2352
AGNES OVADEK          1031 ANGOLA AVE                                                                                 MOUNT MORRIS        MI     48458‐2101
AGNES P BIERY         421 GLENDOLA N.W.                                                                               WARREN              OH     44483‐1250
AGNES P PRATHER       1385 OLIVE RD                                                                                   DAYTON              OH     45426‐3249
AGNES P SLYWCZAK      303 N MECCA ST. #110                                                                            CORTLAND            OH     44410‐1082
AGNES PACE            54099 MOUND RD                                                                                  SHELBY TWP          MI     48316‐1732
AGNES PACE            THE MADEKSHO LAW FIRM           8866 GULF FREEWAY SUITE 440                                     HOUSTON             TX     77017
AGNES PACKWOOD        20300 FORT ST APT 114                                                                           RIVERVIEW           MI     48193‐4563
AGNES PAGE            125 WALLEYE CT                                                                                  LAGRANGE            OH     44050‐9649
AGNES PARDO           4517 MAHAN HWY                                                                                  EATON RAPIDS        MI     48827
AGNES PERRY           3359 TRAPP‐GOFF RD.                                                                             WINCHESTER          KY     40391
AGNES PESTA           1349 SUGDEN LAKE RD                                                                             WHITE LAKE          MI     48386‐3778
AGNES PETER           PETER‐GRIESBACHER‐WEG 30                                                 94032                  PASSAU
AGNES PETERS          1934 PETERS RD                                                                                  ALGER              MI      48610‐9577
AGNES PETRACH         300 KENNELY RD APT 213                                                                          SAGINAW            MI      48609‐7704
AGNES PRATHER         1385 OLIVE RD                                                                                   DAYTON             OH      45426‐3249
AGNES PRATO           20 LITTLE DEER CREEK RD                                                                         CHESWICK           PA      15024
AGNES PRIESS          120 CARPENTER RD                                                                                MANSFIELD          OH      44903‐2208
AGNES PRZYBYLKO       11426 N 47TH AVE                                                                                GLENDALE           AZ      85304‐3502
AGNES PULLEY          12 BARTLES CT                                                                                   VANDALIA           OH      45377‐2201
AGNES PULLING         2447 N WILLIAMSTON RD                                                                           WILLIAMSTON        MI      48895‐9462
AGNES R FRANKO        961 SHANNON RD                                                                                  GIRARD             OH      44420‐2049
AGNES RAINS           PO BOX 1314                                                                                     POWELL             TN      37849
AGNES RAYBURN         8445 RAE DR                                                                                     WESTLAND           MI      48185‐1512
AGNES RICE            PO BOX 933                                                                                      PERRYSBURG         OH      43552‐0933
AGNES RINK            1503 MILITARY RD                                                                                KENMORE            NY      14217‐1339
AGNES RITA PAULSSEN   AM HAARBERG 68                                                           52080 AACHEN GERMANY
AGNES RITA PAULSSEN   AM HAARBERG 68                  52080 AACHEN                  GERMANY
AGNES ROBEL           1750 W SPRUCE ST                                                                                COAL TOWNSHIP      PA      17866‐2008
AGNES ROBERTS         6932 MAPLE HILL CT                                                                              WESTERVILLE        OH      43082‐7703
AGNES ROBISON         8877 BRADLEY RD                                                                                 GASPORT            NY      14067‐9446
AGNES ROMINE          15526 STATE ROUTE B                                                                             SAINT JAMES        MO      65559‐9040
AGNES ROOD            207 N ALP ST                                                                                    BAY CITY           MI      48706‐4203
AGNES ROSASCO         3140 VALACAMP AVE SE                                                                            WARREN             OH      44484‐3258
AGNES ROUSE           237 6TH AVE APT 129                                                                             MANISTEE           MI      49660‐3500
AGNES ROWLEY          827 END ST                                                                                      WATERPORT          NY      14571‐9614
AGNES S WALASEK       4506 REDSTONE CT                                                                                FORT WAYNE         IN      46835‐4273
AGNES SABOL           17556 SOUTHEAST 121ST CIRCLE                                                                    SUMMERFIELD        FL      34491‐8095
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AGNES SAGE                       3066 BROOKSIDE DR                                                                                           WATERFORD        MI     48328‐2595
AGNES SALAWAY REV.LIVING TRUST   AGNES SALAWAY TTEE              U/A/D 7/11/2000                9287 VISTA DEL LAGO   #13F                   BOCA RATON       FL     33428
AGNES SAPP                       5615 KIMBRELL DR S                                                                                          JACKSONVILLE     FL     32210‐7933
AGNES SASS                       9720 S COUNTY LINE RD                                                                                       GAINES           MI     48436‐8801
AGNES SCHIPANSKY                 2057 MONTAGUE RD                                                                                            DAVISON          MI     48423‐9150
AGNES SCHRASS                    6447 ORIOLE DR                                                                                              FLINT            MI     48506‐1722
AGNES SCHREIBER                  319 CEDARWOOD DR                C/O JANET K POTES                                                           FLUSHING         MI     48433‐1803
AGNES SCHULTZ                    APT 106H                        4255 SOUTH LYNN STREET                                                      ONAWAY           MI     49765‐7606
AGNES SEARS                      701 S OAK ST                    RANDOLPH COUNTY NURSING HOME                                                WINCHESTER       IN     47394‐2229
AGNES SHADDAY                    1124 GLENMORA GROVE WAY                                                                                     KNOXVILLE        TN     37923‐1555
AGNES SHIER                      54 SHOAL RD                                                                                                 JACKSON          NJ     08527‐4021
AGNES SLYWCZAK                   303 N MECCA ST APT 110                                                                                      CORTLAND         OH     44410‐1082
AGNES SMITH                      5850 S IVA RD                                                                                               SAINT CHARLES    MI     48655‐8741
AGNES SNYDER                     14356 APPLETREE LN                                                                                          FENTON           MI     48430‐1431
AGNES SPARPANIC                  33014 TOWNLINE RD                                                                                           ONTONAGON        MI     49953‐9121
AGNES STANKIEWICZ                9 S WALNUT ST                                                                                               MOUNT CARMEL     PA     17851‐2311
AGNES STEPNOSKI                  2809 STATE ROAD 557                                                                                         LAKE ALFRED      FL     33850‐2541
AGNES STIEHL                     1076 AQUA LN                                                                                                MOORE HAVEN      FL     33471‐5600
AGNES STOCKDALE                  2706 WHITEHOUSE DR                                                                                          KOKOMO           IN     46902‐3028
AGNES STREETMAN                  2528 MARIXA DR                                                                                              STATHAM          GA     30666‐2466
AGNES STUMP                      3722 EAST SAGINAW HIGHWAY                                                                                   GRAND LEDGE      MI     48837‐9497
AGNES STUPAR                     B0X 385                                                                                                     CHAMPION         PA     15622
AGNES SVINARICH                  5418 WYNDEMERE SQ                                                                                           SWARTZ CREEK     MI     48473‐8906
AGNES SWADLING                   1492 KRA NUR DR                                                                                             BURTON           MI     48509‐1635
AGNES SWICZKOWSKI                7515 HILL AVE                                                                                               HOLLAND          OH     43528‐8752
AGNES SWINTON                    1913 HOTCHKISS ROAD                                                                                         FREELAND         MI     48623‐9743
AGNES SZCZEPKOWSKI               130 HIAWATHA                                                                                                ARBOR VITAE      WI     54560‐9745
AGNES SZOKE                      55 WOLF DRIVE                                                                                               MIDWAY           AR     72651‐9247
AGNES T JAZWINSKI                563 ROBLES LANE                                                                                             PONTE VEDRA      FL     32082‐2630
                                                                                                                                             BEACH
AGNES T KEA                      1707 5TH AVE APT 1                                                                                          YOUNGSTOWN      OH      44504‐1855
AGNES T WATROS                   857 EASTLAND AVE. S.E.                                                                                      WARREN          OH      44484‐4507
AGNES THACKER                    1058 COLUMBUS STREET                                                                                        CHILLICOTHE     OH      45601‐2810
AGNES THIBEAUX                   21941 AVON RD                                                                                               OAK PARK        MI      48237‐2571
AGNES THOMAS                     2637 STROSCHEIN ROAD                                                                                        MONROEVILLE     PA      15146‐3010
AGNES TOBITS                     2635 2ND AVE APT 525                                                                                        SAN DIEGO       CA      92103‐6563
AGNES TORKA                      3585 HANCHETT ST                                                                                            SAGINAW         MI      48604‐2116
AGNES TOROK                      5105 WOODSTOCK DR                                                                                           SWARTZ CREEK    MI      48473‐8542
AGNES TRAUTMAN                   4606 MILLER RD                                                                                              SANDUSKY        OH      44870‐9756
AGNES TRUESDALE                  RR 6                                                                                                        JANESVILLE      WI      53545
AGNES TYRELL                     10241 NORTHLAND DR NORTHEAST                                                                                ROCKFORD        MI      49341‐9730
AGNES UHALL                      411 VINE ST                                                                                                 GREENSBURG      PA      15601‐4211
AGNES UNIATOWSKI                 1 GREENWOOD RD                                                                                              WILMINGTON      DE      19804‐2650
AGNES VANBUREN                   23 WESTGATE AVE APT 101                                                                                     AKRON           NY      14001‐1335
AGNES VAUGHN                     419 E POWELL RD                                                                                             COLLIERVILLE    TN      38017‐3511
AGNES WACHOWSKI                  222 COUNTRY MEADOWS LN                                                                                      BAY CITY        MI      48706‐2283
AGNES WAGNER                     1422 HICKORY AVE                                                                                            ROYAL OAK       MI      48073‐3292
AGNES WALASEK                    4506 REDSTONE CT                                                                                            FORT WAYNE      IN      46835‐4273
AGNES WALSH                      2322 PIONEER POINT RD                                                                                       GALENA          MO      65656‐4975
AGNES WALTERS                    13292 AUSTRIAN DR                                                                                           SAND LAKE       MI      49343‐8950
AGNES WARCHOL                    201 2ND STREET                                                                                              NORTH AUGUSTA   SC      29841‐9240
AGNES WARD                       111 GIVENS CIR                                                                                              WEST POINT      GA      31833‐5800
AGNES WARNKY                     8400 SAINT FRANCIS DR APT 202                                                                               CENTERVILLE     OH      45458‐2790
AGNES WASSEGIJIG                 313 EAST CLARK STREET                                                                                       EARLINGTON      KY      42410‐1327
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Name                        Address1                          Address2                      Address3   Address4               City               State   Zip
AGNES WATA                  7083 DOGWOOD LN                                                                                   MENTOR              OH     44060‐5013
AGNES WATROS                857 EASTLAND AVE SE                                                                               WARREN              OH     44484‐4507
AGNES WATSON                3212 N WISCONSIN ST                                                                               RACINE              WI     53402‐4077
AGNES WEBB                  3102 MILLER RD                                                                                    FLINT               MI     48503‐4602
AGNES WEBB                  354 MONTGOMERY RD                                                                                 RISING SUN          MD     21911‐2102
AGNES WENZEL                SEABROOK VILLAGE 404 N SHORE                                                                      TINTON FALLS        NJ     07753
AGNES WESLEY                1208 W WADDELL AVE                                                                                ALBANY              GA     31707‐5118
AGNES WHALEN                5230 MCDOWELL RD                                                                                  LAPEER              MI     48446‐8057
AGNES WHEELER               701 GENESEE PARK BLVD                                                                             ROCHESTER           NY     14619‐2159
AGNES WHITE                 2674 W GENESEE ST                                                                                 LAPEER              MI     48446‐1636
AGNES WHITMER               26833 ERIN DR                                                                                     MECHANICSVILLE      MD     20659‐4232
AGNES WICKWARE‐ALSTON       170 WOODBINE AVE                                                                                  ROCHESTER           NY     14619‐1142
AGNES WIGGINTON             164 DOVER DR                      C/O BETTY MCNEILL                                               ALMA                GA     31510‐6021
AGNES WILLIAMS              3714 CULLODEN ST                                                                                  FLOSSMOOR            IL    60422‐4343
AGNES WILSON                4163 EASTWOOD LN                                                                                  WARRENSVILLE        OH     44122‐7039
                                                                                                                              HEIGHTS
AGNES WINTERS               103 MAUREEN DR                                                                                    BRISTOL            CT      06010‐2921
AGNES WITEK                 4432 N COUNTY ROAD Y                                                                              MILTON             WI      53563‐8842
AGNES WITHERS               540 DURRWACHTER RD                                                                                PORT ANGELES       WA      98363
AGNES WOJTOWICZ             25279 CATHEDRAL                                                                                   REDFORD            MI      48239‐1564
AGNES YOUNKINS              150 MILL ST                                                                                       HEMPHILL           TX      75948
AGNES ZUNDEL                524 ISABELLA AVE                                                                                  CHARLEROI          PA      15022‐2337
AGNES, GELACIO P            6647 MERCED LAKE DR                                                                               LAS VEGAS          NV      89156‐4949
AGNESS ELLISON              201 E JACKSON AVE                                                                                 FLINT              MI      48505‐4983
AGNESS JONES                8810 PLEASANT PLAIN ROAD                                                                          BROOKVILLE         OH      45309‐9215
AGNESS, SHIRLEY A           608 JUANITA CT 14                                                                                 LADY LAKE          FL      32159
AGNEW CARL T (493640)       GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                     NORFOLK            VA      23510
                                                              STREET, SUITE 600
AGNEW JESSE E SR (416025)   WEITZ & LUXENBERG                 180 MAIDEN LANE                                                 NEW YORK           NY      10038
AGNEW JR, JESSE D           8626 N MATTOX RD APT C125                                                                         KANSAS CITY        MO      64154‐2428
AGNEW JR, WILLIE            PO BOX 14397                                                                                      SAGINAW            MI      48601‐0397
AGNEW JR., CARLIER          1187 AGNEW RD                                                                                     NEWBERN            AL      36765
AGNEW MARSHALL E (627016)   ANGELOS PETER G LAW OFFICES OF    100 N CHARLES STREET , ONE                                      BALTIMORE          MD      21202
                                                              CHARLES CENTER 22ND FLOOR
AGNEW, ANN RUTH             8113 S CAMPBELL                                                                                   CHICAGO             IL     60652‐2840
AGNEW, BERNICE S            4555 E SAHARA AVE UNIT 122                                                                        LAS VEGAS           NV     89104‐6366
AGNEW, CARL T               GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                     NORFOLK             VA     23510‐2212
                                                              STREET, SUITE 600
AGNEW, CATHERINE M          4690 HOSPITAL RD                                                                                  SAGINAW            MI      48603‐9625
AGNEW, CHARLES E            18 S LANSDOWN WAY                                                                                 ANDERSON           IN      46012‐3227
AGNEW, CLARENCE E           2257 CLAYTON ROAD                                                                                 TUPELO             MS      38804‐9303
AGNEW, CLINTON              206 N ENTRADA AVE                                                                                 PORT ST. LUCIE     FL      34952
AGNEW, CLINTON              555 SE ESSEX DR                                                                                   PORT SAINT LUCIE   FL      34984
AGNEW, CYNTHIA G            2042 SUFFOLK LN                                                                                   INDIANAPOLIS       IN      46260‐3017
AGNEW, DAVID L              4737 CRESCENT RD APT 35                                                                           MADISON            WI      53711‐4631
AGNEW, DONALD E             4036 OAKFIELD DR                                                                                  INDIANAPOLIS       IN      46237‐3850
AGNEW, DORA B               116 S 4TH AVE                                                                                     SAGINAW            MI      48607‐1504
AGNEW, DOROTHY R            6724 N RANDALL CT APT 4                                                                           KANSAS CITY        MO      64119
AGNEW, ETHEL B              15721 ROBSON                                                                                      DETROIT            MI      48227‐2640
AGNEW, GARY A               618 HEATHERWOOD CT                                                                                NOBLESVILLE        IN      46062‐9175
AGNEW, GARY E               1322 GABEL RD                                                                                     SAGINAW            MI      48601‐9309
AGNEW, HARRY H              546 LINWOOD DR                                                                                    ALLIANCE           OH      44601‐4833
AGNEW, HELEN L              4443 STEPHANIE DR                                                                                 MANLIUS            NY      13104‐9390
AGNEW, HENRY                4189 E 187TH ST                                                                                   CLEVELAND          OH      44122‐6962
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Name                                 Address1                          Address2                       Address3   Address4                 City            State   Zip
AGNEW, JACKIE                        3808 GLENCREST ST                                                                                    SHREVEPORT       LA     71109‐4712
AGNEW, JAMES                         SIMMONS FIRM                      PO BOX 521                                                         EAST ALTON        IL    62024‐0519
AGNEW, JESSE E                       WEITZ & LUXENBERG                 180 MAIDEN LANE                                                    NEW YORK         NY     10038
AGNEW, JIMMIE R                      2426 ECKHOUSE ST                                                                                     ANDERSON         IN     46016‐3647
AGNEW, JOSEPH J                      15215 MCKEIGHAN RD                                                                                   CHESANING        MI     48616‐9619
AGNEW, JOSEPH JAY                    15215 MCKEIGHAN RD                                                                                   CHESANING        MI     48616‐9619
AGNEW, LEON                          1935 SILVERSTONE DR                                                                                  LAWRENCEVILLE    GA     30045‐7274
AGNEW, LLORIA J                      848 S 300 E                                                                                          ANDERSON         IN     46017‐1816
AGNEW, LOUISE                        5511 FALMOUTH RD                                                                                     FAIRWAY          KS     66205‐2662
AGNEW, LYLE W                        201 S. CANADAY DR                                                                                    INVERNESS        FL     34450‐2631
AGNEW, LYLE W                        201 S CANADAY DR                                                                                     INVERNESS        FL     34450‐2631
AGNEW, MARION R                      555 DENNY DR                                                                                         MOORESVILLE      IN     46158‐1554
AGNEW, MARJORIE L                    1704 QUAIL HILL DR                                                                                   LAKELAND         FL     33810‐3046
AGNEW, MARSHALL E                    ANGELOS PETER G LAW OFFICES OF    100 N CHARLES STREET, ONE                                          BALTIMORE        MD     21202
                                                                       CHARLES CENTER 22ND FLOOR
AGNEW, MARY J                        3318 S. KESWICK TER               2ND FLOOR                                                          PHILADELPHIA    PA      19114
AGNEW, PATRICIA A                    618 HEATHERWOOD CT                                                                                   NOBLESVILLE     IN      46062‐9175
AGNEW, PATRICIA A                    502 LAUREL POINTE CIR                                                                                SALISBURY       NC      28147‐7123
AGNEW, PATRICIA A                    5154 LOGANBERRY DR                                                                                   SAGINAW         MI      48603‐1138
AGNEW, PAUL J                        28694 PARK CT                                                                                        MADISON HTS     MI      48071‐3015
AGNEW, PHILIP J                      416 OYSTER COVE DR                                                                                   GRASONVILLE     MD      21638
AGNEW, RICHARD                       848 S 300 E                                                                                          ANDERSON        IN      46017‐1816
AGNEW, ROBERT L                      9416 RAYNA DR                                                                                        DAVISON         MI      48423‐1745
AGNEW, RUFUS E                       APT 3                             19684 EASTLAND VILLAGE DRIVE                                       HARPER WOODS    MI      48225‐1559
AGNEW, RUFUS E                       19684 EASTLAND VILLAGE DR APT 3                                                                      HARPER WOODS    MI      48225‐1559
AGNEW, SANDRA A                      3333 MIDLAND RD                                                                                      SAGINAW         MI      48603‐9634
AGNEW, SHARON                        4138 ASHLAND, APT F‐4138                                                                             CHICAGO          IL     60613
AGNEW, WAYNE E                       1012 COLUMBUS BLVD                                                                                   KOKOMO          IN      46901‐1973
AGNEW, WESLEY                        4247 CRANE ST                                                                                        DETROIT         MI      48214‐1234
AGNEW, WILLIAM G                     7 SAN FELIPE TRAIL                UNIT Q7                                                            CORRALES        NM      87048
AGNEW, WILLIAM J                     1202 E VICTORIA ST                                                                                   SOUTH BEND      IN      46614‐1448
AGNEW, WILLIAM W                     LANIER & WILSON L.L.P.            1331 LAMAR, SUITE 675                                              HOUSTON         TX      77010
AGNEW‐EASLEY, WILMA                  PO BOX 2785                                                                                          ANDERSON        IN      46018‐2785
AGNI, ETHEL C                        1172 BARRINGTON NW                                                                                   WALKER          MI      49534‐2175
AGNIHOTRI, PRADEEP                   PO BOX 680129                                                                                        FRANKLIN        TN      37068
AGNITA SMITH                         432 EAST CLARK STREET                                                                                DAVISON         MI      48423‐1821
AGNITTI, DONNA M                     324 BEAGHAN DR                                                                                       GLEN BURNIE     MD      21060‐8227
AGNITTI, GINO J                      2125 IRELAND RD                                                                                      BROCKPORT       NY      14420‐9418
AGNITTI, SABATINO I                  399 MARWOOD RD                                                                                       ROCHESTER       NY      14612‐4242
AGNOLI BERNARDI E ASSOCIATI STUDIO   VIA DELLA MOSCOVA 3                                                         MILAN 20121 ITALY
LEGALE
AGNOLUCCI DAVID                      606 N US HIGHWAY 1                                                                                   FORT PIERCE     FL      34950
AGNONE, DAVID F                      1550 ROSEHEDGE DR                                                                                    POLAND          OH      44514‐3610
AGNONE, DAVID FRANK                  1550 ROSEHEDGE DR                                                                                    POLAND          OH      44514‐3610
AGNONE, GIANCARLO                    11 KINGS RD                                                                                          E BRUNSWICK     NJ      08816‐4514
AGNONE, JUDY R                       3706 INDIAN RUN DR APT 3                                                                             CANFIELD        OH      44406‐9546
AGNONE, MICHAEL P                    18 HANNAH LEE RD                                                                                     BARNEGAT        NJ      08005‐1511
AGNONE, VINCENT                      95 SPINNAKER CT                                                                                      BAYVILLE        NJ      08721‐1415
AGNOR JR, CHARLES L                  3158 LYNN DR                                                                                         FRANKLIN        OH      45005‐4821
AGNOR JR, CHARLES L                  3158 LYNN DRIVE                                                                                      FRANKLIN        OH      45005‐5005
AGNOR, CHARLES L                     3147 SANDYWOOD DR                                                                                    KETTERING       OH      45440‐1504
AGNOR, PATRISIA L.                   541 ELM DR                                                                                           CARLISLE        OH      45005‐3341
AGNOTE, MA LOURDES D                 13263 COPRA AVENUE                                                                                   CHINO           CA      91710‐8105
AGOLLI, YLBER
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Name                       Address1                           Address2                        Address3   Address4               City              State   Zip
AGORGIANITIS, DEBORAH L    1792 PARKER RD                                                                                       HOLLY              MI     48442‐8538
AGORGIANITIS, THEODORE     17030 N 49TH ST APT 1049                                                                             SCOTTSDALE         AZ     85254‐5808
AGORGIANITIS, TOM          2264 PAULINE DR                                                                                      WATERFORD          MI     48329‐3758
AGOSTA GIUSEPPE (475907)   WEITZ & LUXENBERG                  180 MAIDEN LANE                                                   NEW YORK           NY     10038
AGOSTA SR, JOSEPH          5505 HAMPDEN AVE                                                                                     ROCKVALE           TN     37153‐4435
AGOSTA, ANTHONY            215 BUTTONWOOD AVE                                                                                   CORTLANDT MNR      NY     10567‐4911
AGOSTA, CYNTHIA L          285 BEAUPRE AVE                                                                                      GROSSE POINTE      MI     48236‐3352
                                                                                                                                FARMS
AGOSTA, DENIS J            PO BOX 725308                                                                                        BERKLEY           MI      48072‐5308
AGOSTA, DENIS J            3155 ROBINA AVE                                                                                      BERKLEY           MI      48072‐3815
AGOSTA, FRANK              22 ROWELL LN                                                                                         WAPPINGERS FL     NY      12590‐4729
AGOSTA, GIOVANNI S         8181 ARNOLD RD                                                                                       IRA               MI      48023‐1420
AGOSTA, GIUSEPPE           WEITZ & LUXENBERG                  180 MAIDEN LANE                                                   NEW YORK          NY      10038
AGOSTA, JEFFREY L          562 TWIN LAKE DR                                                                                     ONSTED            MI      49265‐9645
AGOSTA, JUDITH             412 KEOTA LANE                                                                                       LOUDON            TN      37774‐2927
AGOSTA, PAUL W             6549 NORTHVIEW DR                                                                                    CLARKSTON         MI      48346‐1529
AGOSTA, RACHEL             24 BANK ST                                                                                           BEACON            NY      12508‐2517
AGOSTA, TIMOTHY O          5908B AUSTIN PEAY HIGHWAY                                                                            WESTMORELAND      TN      37186‐2351
AGOSTI, ANNA M             7630 WEST JOHN CABOT ROAD                                                                            GLENDALE          AZ      85308
AGOSTI, ANNA M             7630 W JOHN CABOT RD                                                                                 GLENDALE          AZ      85308‐8231
AGOSTINA NOTARPASQUALE     238 JERSEY BLACK CIR                                                                                 ROCHESTER         NY      14626‐4444
AGOSTINELLI, ANTHONY       1499 CHEVY CIRCUIT                                                                                   ROCHESTER HILLS   MI      48306‐3905
AGOSTINELLI, ANTONIO       2592 NADYNE DR                                                                                       YOUNGSTOWN        OH      44511‐2257
AGOSTINELLI, JAMES P       17 RIDGE RD                                                                                          LAWRENCE          MA      01841‐2127
AGOSTINELLI, JOHN C        18 ABBINGTON DR NW                                                                                   WARREN            OH      44481‐9002
AGOSTINELLI, JOHN C        18 ABBINGTON                                                                                         WARREN            OH      44481‐9002
AGOSTINELLI, LUIGI         111 KINGS LN                                                                                         CANFIELD          OH      44406‐1680
AGOSTINELLI, RAYMOND A     20 DRAPER RD                                                                                         FRAMINGHAM        MA      01702‐8708
AGOSTINELLI, THOMAS J      94 ALDERWOOD LN                                                                                      ROCHESTER         NY      14615‐1302
AGOSTINELLI, TRUDY H       18 ABBINGTON DR NW                                                                                   WARREN            OH      44481‐9002
AGOSTINHO BRANCO           95 EAGLE ROCK AVE                                                                                    ROSELAND          NJ      07068‐1323
AGOSTINHO DACOSTA          6 BETHEL RD                                                                                          MILFORD           MA      01757‐1829
AGOSTINHO, HELENA          90 HOWARD ST                                                                                         SLEEPY HOLLOW     NY      10591‐2217
AGOSTINI, CARLOS           1168 DURHAM RD                                                                                       WALLINGFORD       CT      06492‐2527
AGOSTINI, FRANK H          274 GARNET CT                                                                                        FORT MILL         SC      29708‐8053
AGOSTINI, GILBERT B        6838 DENNISON ROAD                                                                                   PLAINWELL         MI      49080‐9244
AGOSTINI, HANS H           1475 FLAMINGO DR LOT 235                                                                             ENGLEWOOD         FL      34224‐4657
AGOSTINI, MARION           1168 DURHAM RD.                                                                                      WALLINGFORD       CT      06492
AGOSTINI, MARION           1168 DURHAM RD                                                                                       WALLINGFORD       CT      06492‐2527
AGOSTINI, RICHARD J        311 CONTINENTAL DR                                                                                   LOCKPORT          NY      14094‐5219
AGOSTINO CIRIELLO          1 PHILLIPS DRIVE                                                                                     TALLMAN           NY      10982
AGOSTINO COMELLA JR        8089 MISTYVIEW DR SW                                                                                 BYRON CENTER      MI      49315‐8017
AGOSTINO DICESARE          363 E 6TH ST                                                                                         SALEM             OH      44460‐1605
AGOSTINO PEZZELLA          VIA GALILEI SNC                                                                                      PONTECORVO                03037
AGOSTINO PEZZELLA          2 VIA GALILEO GALILEI                                                                                PONTECORVO                03037
AGOSTINO S MINEO           45 CHARIT WAY                                                                                        ROCHESTER         NY      14626‐1101
AGOSTINO, DONALD D         650 S RANCHO SANTA FE RD SPC 54                                                                      SAN MARCOS        CA      92078‐3944
AGOSTINO, JOSEPH           724 NEW YORK AVE APT 7                                                                               MARTINSBURG       WV      25401‐2151
AGOSTINO, MARIA F          6293 MADRAS CIRCLE                                                                                   BOYNTON BEACH     FL      33437‐3201
AGOSTINO, SARAH T          743 S 85TH WAY                                                                                       MESA              AZ      85208‐2207
AGOSTO EDWIN               AGOSTO, EDWIN                      445 PARK AVE FL 10                                                NEW YORK          NY      10022‐8632
AGOSTO RAUL (442911)       BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD , BEVAN                                     NORTHFIELD        OH      44067
                                                              PROFESSIONAL BLDG
AGOSTO, ANTONIO J          8019 FERNHILL AVE                                                                                    PARMA             OH      44129‐2122
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Name                           Address1                            Address2                       Address3     Address4               City               State Zip
AGOSTO, EDWIN                  RAY & ASSOCIATES LAW FIRM OF        445 PARK AVE FL 10                                                 NEW YORK            NY 10022‐8632
AGOSTO, RAUL                   BEVAN & ASSOCIATES                  10360 NORTHFIELD ROAD, BEVAN                                       NORTHFIELD          OH 44067
                                                                   PROFESSIONAL BLDG
AGRAS, ALFONSO                 1182 NORTHEAST 92ND STREET                                                                             MIAMI SHORES       FL   33138‐2935
AGRAWAL, RAJESH K              PO BOX 3831                                                                                            ENGLEWOOD          CO   80155‐3831
AGRAWAL, SUNDEEP               10 RUE CEZANNE                                                                                         SOMERSET           NJ   08873‐4898
AGRELIANT GENETICS             MYLES MCEVILLY                      425 N. MARTINGALE RD.                                              SCHAUMBURG         IL   60173
AGRELIANT GENETICS             1122 E 169TH ST                                                                                        WESTFIELD          IN   46074‐9601
AGRES, PATRICIA                4 WILDFLOWER TER 4                                                                                     AVON               CT   06001
AGRESTA, ROBERT M              1938 ROYAL BIRKDALE DR                                                                                 OXFORD             MI   48371‐5841
AGRESTA, SAMMY W               3240 PAYNE DR                                                                                          INDIANAPOLIS       IN   46227‐7680
AGRESTA, VALERIE J             2084 DIAMOND CT                                                                                        OLDSMAR            FL   34677‐1945
AGRESTO, FRANK                 9524 S 88TH AVE                                                                                        PALOS HILLS        IL   60465‐1111
AGRI,ROBYN                     2381 LAWRENCEVILLE RD                                                                                  LAWRENCEVILLE      NJ   08648‐2025
AGRICENTER INTERNATIONAL       7777 WALNUT GROVE RD                                                                                   MEMPHIS            TN   38120
AGRIESTI, JUDITH M             2120 INCHCLIFF RD                                                                                      COLUMBUS           OH   43221‐2736
AGRIMONTI, ALLAN R             12510 S. LUCILLE LN.                                                                                   PALOS PARK         IL   60464‐2574
AGRIMONTI, ALLAN R             12510 LUCILLE LN                                                                                       PALOS PARK         IL   60464‐2574
AGRIMSON, JOY E                2445 SUMMER ST                                                                                         SAINT PAUL         MN   55113‐5150
AGRINORTHWEST                                                      80361 CRAIG RD                                                     HERMISTON          OR   97838
AGRIPNE YOSIFIDES              7 GESNER PL                                                                                            SLEEPY HOLLOW      NY   10591‐2614
AGRITEK INDUSTRIES INC         4211 HALLACY DR                                                                                        HOLLAND            MI   49424‐8723
AGRO JEFFERY                   1595 WHITE DR                                                                                          BESSEMER           AL   35023‐4329
AGRO JR, MICHAEL A             433 SWAN STREET UPPER                                                                                  BUFFALO            NY   14204
AGRO, LOUIS F                  7 MEADOW WAY                                                                                           IRVINGTON          NY   10533
AGRO, MICHAEL C                1028 MILLER RD                                                                                         LAKE ORION         MI   48362‐1940
AGRO, NANCY                    150F WESTVIEW COMMONS BLVD                                                                             ROCHESTER          NY   14624‐5909
AGRO, RONALD M                 4551 WINDSOR TER                                                                                       HAMBURG            NY   14075
AGRO, SALVATORE                636 SHERRY DR                                                                                          LAKE ORION         MI   48362‐2864
AGRON SR, CESAR L              APT 1131                            2355 NORTH STATE HIGHWAY 360                                       GRAND PRAIRIE      TX   75050‐8719
AGRON, CESAR L                 2355 N STATE HIGHWAY 360 APT 1131                                                                      GRAND PRAIRIE      TX   75050
AGRON, DAISY                   6 LENORA AVE                                                                                           MORRISVILLE        PA   19067‐1206
AGRON, EDWIN M                 830 KINGSTON CT                                                                                        EDGEWOOD           MD   21040‐2103
AGRON, JOSE
AGRON, SONIA                   SHRAMKO JONATHAN                    30 VESEY ST                                                        NEW YORK           NY   10007
AGRUSA, CAROL ANN              474 TIMBERLEA DRIVE                                                                                    ROCHESTER HLS      MI   48309‐2617
AGRUSA, CHARLES J              24885 SAXONY AVENUE                                                                                    EASTPOINTE         MI   48021‐1254
AGRUSA, RAFFAELLA              225 BEVERLEY CT                                                                                        SCHAUMBURG         IL   60193‐2872
AGS AUTO/TROY                  1304 E MAPLE RD                                                                                        TROY               MI   48083‐6001
AGS AUTOMOTIVE INC (STERLING   ROBERT M CHMIEL                     6640 STERLING DR S             BUILDING B                          STERLING HEIGHTS   MI   48312‐5845
HEIGHTS)
AGS TECH/SCHAUMBURG            2015 MITCHELL BLVD                                                                                     SCHAUMBURG         IL   60193
AGS TECHNOLOGY INC             2015 MITCHELL BLVD STE B                                                                               SCHAUMBURG         IL   60193‐4563
AGS TECHNOLOGY INC                                                 2015 MITCHELL BLVD UNIT B                                          SCHAUMBURG         IL   60193
AGS TECHNOLOGY INC             CRAIG SABLE                         2015 MITCHELL BLVD UNIT B                                          LA MIRADA          CA   90638
AGS TECHNOLOGY INC             ROBERT CHMIEL                       1133 E MAPLE RD STE 201                                            TROY               MI   48083‐2853
AGS TECHNOLOGY, INC            CRAIG SABLE                         2015 MITCHELL BLVD UNIT B                                          LA MIRADA          CA   90638
AGUAYO, ANGEL                  65 SPARTAN DR                                                                                          ROCHESTER          NY   14609‐1402
AGUAYO, CHERYL J.              5611 W MISSION BLVD TRLR 1                                                                             ONTARIO            CA   91762‐4641
AGUAYO, CRISTINA
AGUAYO, DOROTHY M              11123 OAK LN                        APT 5211                                                           BELLVILLE          MI   48111
AGUAYO, DOROTHY M              11123 OAK LN APT 5211                                                                                  BELLEVILLE         MI   48111‐4304
AGUAYO, FLORENCIO              4339 OSTROM AVE                                                                                        LAKEWOOD           CA   90713‐2841
AGUAYO, GUADALUPE              28217 MERRITT DR                                                                                       WESTLAND           MI   48185‐1827
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Name                              Address1                            Address2                          Address3   Address4               City               State   Zip
AGUAYO, JESUS                     2734 E 128TH ST                                                                                         CHICAGO              IL    60633‐1759
AGUAYO, JOSE C                    3726 W MEADOW CT                                                                                        KOKOMO              IN     46901‐9481
AGUAYO, MARIA L                   3621 FRANKFORD RD APT 837                                                                               DALLAS              TX     75287
AGUAYO, PATRICIA A                28217 MERRITT DRIVE                                                                                     WESTLAND            MI     48185‐1827
AGUAYO, PAUL E                    5654 HOLLOW CORNERS RD                                                                                  DRYDEN              MI     48428‐9643
AGUAYO, SYLVESTER                 401 EILEEN DR                                                                                           BLOOMFIELD HILLS    MI     48302‐0432
AGUEDA, HERBERT M                 2671 DONORA AVE NE                                                                                      WARREN              OH     44483‐3001
AGUERO, ANN E                     APT 203                             1600 NORTH MARSHFIELD AVENUE                                        CHICAGO              IL    60622‐8048
AGUEROS, ISRAEL M                 13575 GAGER ST                                                                                          PACOIMA             CA     91331‐3844
AGUEROS, JUSTO E                  8559 QUAIL WOOD                                                                                         SAN ANTONIO         TX     78250
AGUEROS, LYNN                     13575 GAGER ST                                                                                          PACOIMA             CA     91331‐3844
AGUES, THOMAS L                   3554 GLENMERE DR                                                                                        YOUNGSTOWN          OH     44511‐3041
AGUGLIA, AUGUSTUS J               2000 WIND WILLOW WAY APT 6                                                                              ROCHESTER           NY     14624‐6080
AGUGLIARO, RICHARD                675 HAWKS NEST RD                                                                                       BRICK               NJ     08724‐4721
AGUIAR DIEZ, BARBARA              4045 PETULLA CT                                                                                         SAN JOSE            CA     95124‐4833
AGUIAR EMERIM PINNA, ARTHUR       SLACK & DAVIS                       2911 TURTLE CREE BLVD ‐ 14TH                                        DALLAS              TX     75219
AGUIAR III, MIGUEL R              1400 ROSAL LN                                                                                           CONCORD             CA     94521‐2636
AGUIAR MANUEL (403712)            EARLY & STRAUSS                     420 LEXINGTON AVE RM 840                                            NEW YORK            NY     10170‐0840
AGUIAR MANUEL (403712) ‐ AGUIAR   EARLY & STRAUSS                     420 LEXINGTON AVE RM 840                                            NEW YORK            NY     10170‐0840
RAYMOND
AGUIAR PINNA, LUIZ                SLACK & DAVIS                       2911 TURTLE CREE BLVD ‐ 14TH                                        DALLAS              TX     75219
AGUIAR, ASHOK A                   1365 KNOLLCREST CICLE                                                                                   BLOOMFIELD HILLS    MI     48304
AGUIAR, CAROL J                   39 LAWRENCE DRIVE                                                                                       EAST PROVIDENCE     RI     02914‐4147
AGUIAR, CAROL J                   39 LAWRENCE DR                                                                                          EAST PROVIDENCE     RI     02914‐4147
AGUIAR, JOHN J                    2575 SCRUB PINE LN                                                                                      YORK                SC     29745‐9104
AGUIAR, MANUEL                    EARLY & STRAUSS                     GRAYBAR BUILDING SUITE 840, 420                                     NEW YORK            NY     10170
                                                                      LEXINGTON AVENUE
AGUIAR, PATRICK A                 7154 SAPPHIRE POINTE BLVD                                                                               CASTLE ROCK         CO     80108‐7754
AGUIAR, RAYMOND                   EARLY & STRAUSS                     GRAYBAR BUILDING SUITE 840, 420                                     NEW YORK            NY     10170
                                                                      LEXINGTON AVENUE
AGUILA, CECILIA Y                 3105 OLD FARM CT                                                                                        FLINT              MI      48507‐1245
AGUILA, GLADYS                    3001 WHITEHOUSE DR                                                                                      KOKOMO             IN      46902‐3581
AGUILA, ROBERT R                  5065 ROMANY DR                                                                                          JACKSON            MS      39211‐4854
AGUILAR ADRIAN                    AGUILAR, ADRIAN                     425 W BROADWAY STE 220                                              GLENDALE           CA      91204‐1269
AGUILAR CHRISTINA                 AGUILAR, CHRISTINA                  500 AIRPORT BLVD SUITE 100                                          BURLINGAME         CA      94010
AGUILAR ESTER                     AGUILAR, ESTER                      322 NW 7 STREET                                                     TULIA              TX      79088
AGUILAR GUILLERMO                 1872 SHEEP RANCH LOOP P                                                                                 CHULA VISTA        CA      91913
AGUILAR JR, ARTURO G              836 MAPLERIDGE RD                                                                                       SAGINAW            MI      48604‐2015
AGUILAR JR, HIPOLITO              7502 ETON AVE                                                                                           CANOGA PARK        CA      91303‐1410
AGUILAR JR, RUBEN                 PO BOX 483                                                                                              FLINT              MI      48501‐0483
AGUILAR JR., GUADALUPE            4204 E 124TH ST                                                                                         GRANT              MI      49327‐8883
AGUILAR MANUEL (660825)           GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                         NORFOLK            VA      23510
                                                                      STREET, SUITE 600
AGUILAR RICHARD                   AGUILAR, CHRISTOPHER                5055 WILSHIRE BLVD STE 300                                          LOS ANGELES         CA     90036‐6101
AGUILAR RICHARD                   AGUILAR, RICHARD                    5055 WILSHIRE BLVD STE 300                                          LOS ANGELES         CA     90036‐6101
AGUILAR ROBERTA                   6205 E 98TH ST                                                                                          TULSA               OK     74137‐5020
AGUILAR SANTOS (481610)           GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                         NORFOLK             VA     23510
                                                                      STREET, SUITE 600
AGUILAR WALFRED T (656832)        GALIHER DEROBERTIS NAKAMURA ONO &   610 WARD AVE STE 200                                                HONOLULU            HI     96814‐3308
                                  TAKITANI
AGUILAR WALTER E                  810 WHITECREST CT                                                                                       LAWRENCEVILLE      GA      30043‐3790
AGUILAR, ADRIAN                   TAYLOR & ASSOCIATES NORMAN          425 W BROADWAY STE 220                                              GLENDALE           CA      91204‐1269
AGUILAR, ALEJANDRA                MIRHOSSEINI & ASSOCIATES            1502 N BROADWAY                                                     SANTA ANA          CA      92706‐3907
AGUILAR, ALEJANDRO                256 CHAPARRAL LOOP SE                                                                                   RIO RANCHO         NM      87124‐4141
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Name                     Address1                            Address2                      Address3   Address4               City               State Zip
AGUILAR, ALFONSO         3120 CANTARA CIR                                                                                    SPARKS              NV 89436‐7543
AGUILAR, ALMA
AGUILAR, ANGEL V         PO BOX 652                                                                                          PHARR              TX   78577‐1612
AGUILAR, ANGELA G        12573 TANGLEWOOD DR                                                                                 BIRCH RUN          MI   48415‐8534
AGUILAR, ARTURO          13 RIDGE STREET                                                                                     ECORSE             MI   48229‐1722
AGUILAR, ARTURO G        1931 RIBBLE ST                                                                                      SAGINAW            MI   48601‐6859
AGUILAR, BENITA E        1810 GLADSTONE DR                                                                                   FORT WAYNE         IN   46816‐3732
AGUILAR, CATALINA        11555 SANTA GERTRUDES AVE APT 177                                                                   WHITTIER           CA   90604‐3455
AGUILAR, CHRISTOPHER     3007 EAGLE RIDGE DR                                                                                 PLATTE CITY        MO   64079‐7251
AGUILAR, CHRISTOPHER     KROHN & MOSS ‐ CA,                  5055 WILSHIRE BLVD STE 300                                      LOS ANGELES        CA   90036‐6101
AGUILAR, DANIEL J        4736 CALHOUN RD                                                                                     BEAVERTON          MI   48612‐9770
AGUILAR, DANIEL JOSE     4736 CALHOUN RD                                                                                     BEAVERTON          MI   48612‐9770
AGUILAR, ELENA
AGUILAR, ELIAS J         5047 W 29TH ST                                                                                      CICERO             IL   60804‐3527
AGUILAR, ESTER           322 NW 7TH ST                                                                                       TULIA              TX   79088‐1306
AGUILAR, EUGENE M        517 SALLY ANN DR                                                                                    SHREVEPORT         LA   71106‐6325
AGUILAR, FAUSTO          1102 GLYNN OAKS DR                                                                                  ARLINGTON          TX   76010‐5822
AGUILAR, G B             406 HUDSON ST                                                                                       NAPOLEON           OH   43545
AGUILAR, GABRIEL L       24114 DALGO DR                                                                                      VALENCIA           CA   91355‐1913
AGUILAR, GERARDO
AGUILAR, GILBERTO        ERNSTER CLETUS P III                2700 POST OAK BLVD STE 1350                                     HOUSTON            TX   77056‐5785
AGUILAR, GLORIA          43016 MARQUETTE AVE                                                                                 STERLING HTS       MI   48314‐2327
AGUILAR, GUADALUPE L     3970 E 124TH ST                                                                                     GRANT              MI   49327‐8886
AGUILAR, GUILLERMO       5618 TOMAHAWK TRL                                                                                   FORT WAYNE         IN   46804‐4942
AGUILAR, HEBER N         11621 CAPRI DR                                                                                      GARDEN GROVE       CA   92841‐2610
AGUILAR, ISABEL          2584 FALCON POINTE DR NW                                                                            WALKER             MI   49534‐7555
AGUILAR, JAMES M         100 LLEWELLYN AVE APT 805                                                                           BLOOMFIELD         NJ   07003‐2337
AGUILAR, JAVIER R        1431 WENONAH AVENUE                                                                                 BERWYN             IL   60402‐1245
AGUILAR, JOAN            1046 S LATHROP                                                                                      FOREST PARK        IL   60130‐3038
AGUILAR, JOAN            3746 OAK PARK AVENUE                                                                                BERWYN             IL   60402‐3901
AGUILAR, JOHNNY          1001 REED ST                                                                                        SAGINAW            MI   48602‐5754
AGUILAR, JOSE A          1276 LOUIS AVE                                                                                      FLINT              MI   48505‐1200
AGUILAR, JUAN O          2570 E YELLOWSTONE PL                                                                               CHANDLER           AZ   85249‐2952
AGUILAR, JULIE C         3120 CANTARA CIR                                                                                    SPARKS             NV   89436‐7543
AGUILAR, KAREN K         17367 SE 82ND ROSLYN CT                                                                             THE VILLAGES       FL   32162‐2880
AGUILAR, KENNETH V       105 PARADISE HARBOUR BLVD APT 503                                                                   NORTH PALM BEACH   FL   33408‐5042

AGUILAR, KEVIN G         13827 AWDEY DR                                                                                      STERLING HTS       MI   48312‐6509
AGUILAR, LEE C           3498 L AND L CT                                                                                     BAY CITY           MI   48706‐1614
AGUILAR, LINDA S         2113 AINSWORTH ST                                                                                   FLINT              MI   48532
AGUILAR, LORENZO G       1843 OLD ZION CH. RD.                                                                               WOODBURN           KY   42170
AGUILAR, LORENZO M       PO BOX 2181                                                                                         SAGINAW            MI   48605‐2181
AGUILAR, LOUIS J         12834 OSBORNE ST                                                                                    ARLETA             CA   91331‐3333
AGUILAR, LOUIS R         1451 RUBY ANN DR                                                                                    SAGINAW            MI   48601‐9762
AGUILAR, LOUIS R         660 JOSLYN ROAD                                                                                     LAKE ORION         MI   48362‐2118
AGUILAR, LOUIS ROBERTO   660 JOSLYN ROAD                                                                                     LAKE ORION         MI   48362‐2118
AGUILAR, LUIS E          4607 SPIRAL CRK                                                                                     SAN ANTONIO        TX   78238‐3622
AGUILAR, M GENEVA        17358 SIERRA SUNRISE LANE                                                                           CANYON CNTRY       CA   91387‐3192
AGUILAR, MAGDALENO       322 W PULASKI AVE                                                                                   FLINT              MI   48505‐3351
AGUILAR, MANUEL          GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                     NORFOLK            VA   23510‐2212
                                                             STREET, SUITE 600
AGUILAR, MANUEL C        1810 GLADSTONE DR                                                                                   FORT WAYNE         IN   46816‐3732
AGUILAR, MANUEL E        6204 DERBYSHIRE DR                                                                                  FORT WAYNE         IN   46816‐3718
AGUILAR, MARIA S         1029 N HERMOSA DRIVE                                                                                ANAHEIM            CA   92801‐3623
                              09-50026-mg             Doc 7123-3    Filed 09/24/10 Entered 09/24/10 15:05:32            Exhibit B
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Name                          Address1                          Address2                          Address3   Address4               City            State   Zip
AGUILAR, MARINA M             1640 247TH ST                                                                                         HARBOR CITY      CA     90710‐2061
AGUILAR, MARTIN               7608 W 61ST PL                                                                                        SUMMIT            IL    60501‐1616
AGUILAR, MICHAEL              8074 OHERN RD                                                                                         SAGINAW          MI     48609‐5113
AGUILAR, MICHAEL J            4184 DORAN ST                                                                                         FLINT            MI     48504
AGUILAR, MIGUEL
AGUILAR, MIGUEL NUNEZ         MARDIROSSIAN & ASSOCIATES INC     6311 WILSHIRE BOULEVARD ‐ THIRD                                     LOS ANGELES      CA     90048
                                                                FLOOR
AGUILAR, NEPHTAL S            1041 SUMMERSONG CT                                                                                    SAN JOSE        CA      95132‐2946
AGUILAR, OFELIA E             1271 S DYE RD                                                                                         FLINT           MI      48532‐3317
AGUILAR, OLIVIA               3337 LYNNE AVE.                                                                                       FLINT           MI      48506‐2119
AGUILAR, OLIVIA               3337 LYNNE AVE                                                                                        FLINT           MI      48506‐2119
AGUILAR, OSVALDO R            1916 RIBBLE ST                                                                                        SAGINAW         MI      48601‐6858
AGUILAR, RAMON                333 E RIVERDALE DR                                                                                    EDGERTON        WI      53534‐8454
AGUILAR, REBECCA H            2001 NORTHOVER RD                                                                                     TOLEDO          OH      43613‐2833
AGUILAR, REYNALDO             230 HOLDER TRL                                                                                        MCKINNEY        TX      75071‐4136
AGUILAR, RICARDO J
AGUILAR, RICHARD              KROHN & MOSS ‐ CA,                5055 WILSHIRE BLVD STE 300                                          LOS ANGELES     CA      90036‐6101
AGUILAR, RICHARD A            19711 E. 47TH ST. DR.                                                                                 BLUE SPRINGS    MO      64015
AGUILAR, RICHARD ALBERT       19711 E. 47TH ST. DR.                                                                                 BLUE SPRINGS    MO      64015
AGUILAR, RICHARD H            4681 CLAUDIA CT                                                                                       FREMONT         CA      94536‐5449
AGUILAR, RITA KAY             7130 VEGA WAY APT 215             STONERIDGE APTS                                                     INDIANAPOLIS    IN      46241‐7503
AGUILAR, ROBERT J             9560 S CEDAR DR                                                                                       WEST OLIVE      MI      49460
AGUILAR, RODOLFO              2050 RED MAPLE LN                                                                                     COMMERCE TWP    MI      48390‐3236
AGUILAR, RUBEN                886 KENNARD ST                                                                                        DONNA           TX      78537‐5420
AGUILAR, SALVADOR M           417 W BERRY AVE                                                                                       LANSING         MI      48910‐2995
AGUILAR, SAMUEL               2246 GARY RD                                                                                          MONTROSE        MI      48457‐9355
AGUILAR, SANTOS               GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                         NORFOLK         VA      23510‐2212
                                                                STREET, SUITE 600
AGUILAR, STACY R              1208 1/2 1ST CENTER AVE                                                                               BRODHEAD         WI     53520‐1505
AGUILAR, STACY R              302 E 6TH AVE                                                                                         BRODHEAD         WI     53520‐1083
AGUILAR, TIFFANY A            4078 DORAN ST                                                                                         FLINT            MI     48504‐6855
AGUILAR, TRINIDAD             5047 W 29TH ST                                                                                        CICERO           IL     60804‐3527
AGUILAR, VINCENT M            10487 LAUREL CANYON BLVD                                                                              PACOIMA          CA     91331‐3660
AGUILAR, VIRGINIA             139 CHATTERTON AVENUE                                                                                 WHITE PLAINS     NY     10606
AGUILAR, WALTER E             810 WHITECREST CT                                                                                     LAWRENCEVILLE    GA     30043‐3790
AGUILAR, WINDEL L             7005 S VERNON RD                                                                                      DURAND           MI     48429
AGUILAR, YOLANDA M            1623 COPPERFIELD RD                                                                                   SAN ANTONIO      TX     78251‐3323
AGUILAR‐JARDON, NORMA A       37704 HIGHWAY 145                                                                                     MADERA           CA     93636‐9206
AGUILERA ANTONIO              AGUILERA, ANTONIO                 4455 MORENA BLVD STE 207                                            SAN DIEGO        CA     92117‐4358
AGUILERA BERNABE R (428390)   GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                         NORFOLK          VA     23510
                                                                STREET, SUITE 600
AGUILERA I I I, JOSE          2503 HAVENWOOD DR                                                                                     ARLINGTON       TX      76018‐2548
AGUILERA III, JOSE            2503 HAVENWOOD DR                                                                                     ARLINGTON       TX      76018‐2548
AGUILERA IV, JOSE             2503 HAVENWOOD DR                                                                                     ARLINGTON       TX      76018‐2548
AGUILERA JESSE (492929)       BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                       NORTHFIELD      OH      44067
                                                                PROFESSIONAL BLDG
AGUILERA JR, JOSE             319 W COLUMBIA ST                                                                                     PONTIAC         MI      48340
AGUILERA SYLVIA               PO BOX 935                                                                                            IMPERIAL        CA      92251‐0935
AGUILERA, ADOLFO              2855 COMMERCIAL CENTER BLVD 521                                                                       KATY            TX      77494
AGUILERA, ANGELA J.           1907 MCCARTNEY CT                                                                                     ARLINGTON       TX      76012‐2030
AGUILERA, ANITA               436 HOWARD MANOR DR                                                                                   GLEN BURNIE     MD      21060‐8260
AGUILERA, ANTONIO             LINDSEY, MICHAEL E                4455 MORENA BLVD STE 207                                            SAN DIEGO       CA      92117‐4358
AGUILERA, ARNALDO             3020 SW 98TH AVE                                                                                      MIAMI           FL      33165‐2944
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Name                          Address1                          Address2                         Address3             Address4               City                State Zip
AGUILERA, BERNABE R           GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                  NORFOLK              VA 23510‐2212
                                                                STREET, SUITE 600
AGUILERA, CATHY               407 W 2ND AVE                                                                                                  COAL VALLEY         IL   61240‐9353
AGUILERA, GEORGE L            3900 CHESTNUT ST APT 626                                                                                       PHILADELPHIA        PA   19104‐3113
AGUILERA, INES                617 W 141TH ST                                                                                                 NEW YORK CITY       NY   10031‐6914
AGUILERA, JESUS R             415 S WEST PARKWAY                                                                                             ANAHEIM             CA   92805
AGUILERA, LILLIAN             608 ROGER CT                                                                                                   POMONA              CA   91766‐6140
AGUILERA, PATRICIA ANN        1219 PARK AVE #A                                                                                               FORT WAYNE          IN   46807‐1021
AGUILERA, PATRICIA ANN        1105 DODGE AVE                                                                                                 FORT WAYNE          IN   46805
AGUILLON, ESTEPHENIA
AGUILLON, JUAN
AGUILLON, MAGDALINA
AGUILLON, PRISCILLA           TURNER & ASSOCIATES               4705 SOMERS AVENUE ‐ SUITE 100                                               NORTH LITTLE ROCK   AR   72116

AGUILLON, PRISCILLA           TIMOTHY J RYAN AND ASSOCIATES     8027 WARNER AVENUE                                                           HUNTINGTON          CA   92647
                                                                                                                                             BEACH
AGUINAGA, DEBORAH L           503 WALCK RD                                                                                                   N TONAWANDA         NY   14120‐3319
AGUINAGA, JAMILETH            1674 NE 177TH ST                                                                                               NORTH MIAMI         FL   33162‐1404
                                                                                                                                             BEACH
AGUINAGA, JOHN M              7732 PRAIRIE CORNERS DR                                                                                        LAS VEGAS           NV   89128‐7321
AGUINAGA, MANUEL              3740 BREEN RD                                                                                                  EMMETT              MI   48022‐3402
AGUINAGA, MARY I              741 CAWOOD ST                                                                                                  LANSING             MI   48915‐1314
AGUINAGA, ROBERT H            PO BOX 920543                                                                                                  SYLMAR              CA   91392‐0543
AGUINAGA, ROBERTO             5763 MARTIN RD                                                                                                 MUSSEY              MI   48014‐1109
AGUINAGA, STEVE               3168 GALENA AVE                                                                                                SIMI VALLEY         CA   93065‐2718
AGUINAGA, TOMAS C             3811 DELINA RD                                                                                                 CORNERSVILLE        TN   37047‐5234
AGUINIGA ALFREDO M (626415)   GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                  NORFOLK             VA   23510
                                                                STREET, SUITE 600
AGUINIGA, ALFREDO M           GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                  NORFOLK             VA   23510‐2212
                                                                STREET, SUITE 600
AGUIRE, JORGE
AGUIRRE ANA                   AGUIRRE, ANA                      9047 FLOWER ST                                                               BELLFLOWER          CA   90706‐5605
AGUIRRE ANA                   AGUIRRE, EZEQUIEL                 LEMONLAWATTORNEYNET              9047 FLOWER STREET                          BELLFLOWER          CA   90706
AGUIRRE DAVID                 AGUIRRE, DAVID
AGUIRRE DAVID                 FERGUSON PONTIAC GMC INC JERRY
AGUIRRE FRANCISCO JAVIER      AGUIRRE, FRANCISCO JR             620 NEWPORT CENTER DR STE 700                                                NEWPORT BEACH       CA   92660‐8014
AGUIRRE FRANCISCO JAVIER      AGUIRRE, JASMINE                  620 NEWPORT CENTER DR STE 700                                                NEWPORT BEACH       CA   92660‐8014
AGUIRRE FRANCISCO JAVIER      AGUIRRE, LESLIE                   620 NEWPORT CENTER DR STE 700                                                NEWPORT BEACH       CA   92660‐8014
AGUIRRE FRANCISCO JAVIER      AGUIRRE, VIRGINIA                 620 NEWPORT CENTER DR STE 700                                                NEWPORT BEACH       CA   92660‐8014
AGUIRRE JOEL I                AGUIRRE, HUGO                     715 TIJERAS AVE NW                                                           ALBUQUERQUE         NM   87102‐3076
AGUIRRE JOEL I                AGUIRRE, JOEL I                   715 TIJERAS AVE NW                                                           ALBUQUERQUE         NM   87102‐3076
AGUIRRE JR, DOMINGO           G14361 N TAYLOR ROAD                                                                                           MILLINGTON          MI   48746
AGUIRRE JR, RAYMOND H         46820 WOODFIELD DR                                                                                             MATTAWAN            MI   49071‐8636
AGUIRRE JR, REYNALDO          2084 E COGGINS RD                                                                                              PINCONNING          MI   48650‐9757
AGUIRRE JUAN                  7826 SCHNEIDER ST                                                                                              HOUSTON             TX   77093‐8037
AGUIRRE KELLI                 1590 S CONGRESS AVE                                                                                            WEST PALM BEACH     FL   33406‐5957

AGUIRRE MALLORY               8826 N WINERY AVE                                                                                              FRESNO              CA   93720‐5364
AGUIRRE, ADOLFO B             706 W BUENA VISTA DR                                                                                           RAYMORE             MO   64083‐9232
AGUIRRE, ALBERTO M            1140 MASSACHUSETTS AVE                                                                                         RIVERSIDE           CA   92507‐2839
AGUIRRE, ALEXANDER P          APT 101                           3745 CASS ELIZABETH ROAD                                                     WATERFORD           MI   48328‐4541
AGUIRRE, ALFREDO              29160 BARKLEY ST                                                                                               LIVONIA             MI   48154‐4006
AGUIRRE, ANGELES              3305 SADDLE BRONC PL                                                                                           WIMAUMA             FL   33598‐7818
AGUIRRE, CANDIDA H            431 REMINGTON BLVD                C/O MEADOWBROOK MANOR                                                        BOLINGBROOK         IL   60440‐4918
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Name                        Address1                         Address2                           Address3   Address4                 City             State   Zip
AGUIRRE, CESAREO M          2744 BATSON AVE                                                                                         ROWLAND HGHTS     CA     91748‐4713
AGUIRRE, DAVID C            2392 CROMWELL AVE                                                                                       CLOVIS            CA     93611‐8128
AGUIRRE, DOMINIC            5535 S STATE RD                                                                                         DURAND            MI     48429‐9144
AGUIRRE, EDDIE G            37534 TORRINGTON ST                                                                                     PALMDALE          CA     93550‐6976
AGUIRRE, EDUARDO            7356 WYTHE DR                                                                                           NOBLESVILLE       IN     46062‐7788
AGUIRRE, EDWARD G           10029 HADDON AVE                                                                                        PACOIMA           CA     91331‐3307
AGUIRRE, ELIZABETH          1743 VALLEY VIEW DR                                                                                     CEDAR HILL        TX     75104‐7844
AGUIRRE, EMILIANO G         4619 WOODLYNN CT                                                                                        FORT WAYNE        IN     46816‐4195
AGUIRRE, EULALIO S          542 S DEL PUERTO AVE                                                                                    PATTERSON         CA     95363‐9306
AGUIRRE, FRANCES            15855 ROSEHAVEN LN.                                                                                     CANYON COUNTRY    CA     91387‐1867

AGUIRRE, FRANCISCO          2360 EAST 108TH STREET                                                                                  LOS ANGELES       CA     90059‐1450
AGUIRRE, FRANCISCO JAVIER   ROBINSON CALCAGNIE & ROBINSON    620 NEWPORT CENTER DRIVE , SUITE                                       NEWPORT BEACH     CA     92660
                                                             700
AGUIRRE, FRANCISCO JR       ROBINSON, CALCAGNIE & ROBINSON   620 NEWPORT CENTER DRIVE, SUITE                                        NEWPORT BEACH     CA     92660
                                                             700.
AGUIRRE, FRANCISCO JR       2360 EAST 108TH STREET                                                                                  LOS ANGELES      CA      90059‐1450
AGUIRRE, FRANK L            3362 GREENS MILL RD                                                                                     SPRING HILL      TN      37174‐2116
AGUIRRE, FRED               2003 CONGRESS AVE                                                                                       SAGINAW          MI      48602‐4827
AGUIRRE, GERARDO            749 LENOX AVE                                                                                           BOLINGBROOK       IL     60490‐4994
AGUIRRE, GUILLERMO          1726 EMERALD LANE                                                                                       PALATINE          IL     60074
AGUIRRE, GUILLERMO H        4958 RED CREEK DR                                                                                       SAN JOSE         CA      95136‐3427
AGUIRRE, HUGO               ARRAZOLO LAW PC                  715 TIJERAS AVE NW                                                     ALBUQUERQUE      NM      87102‐3076
AGUIRRE, IRMA T             134 EASTERN AVE NE                                                                                      GRAND RAPIDS     MI      49503‐3529
AGUIRRE, JASMINE            2360 EAST 108TH STREET                                                                                  LOS ANGELES      CA      90059‐1450
AGUIRRE, JASMINE            ROBINSON, CALCAGNIE & ROBINSON   620 NEWPORT CENTER DRIVE, SUITE                                        NEWPORT BEACH    CA      92660
                                                             700.
AGUIRRE, JEAN P             RM 3‐220 GM BLDG                 (LUXEMBOURG)                                                           DETROIT           MI     48202
AGUIRRE, JERRY              380B WHITEWATER DR APT 406                                                                              BOLINGBROOK       IL     60440
AGUIRRE, JESUS S            ANTIGUO CAMINO #37 SANTA ANITA   SANTA ANITA                                   JALISCO MEXICO 456000
AGUIRRE, JOE A              6136 FLOYD ST                                                                                           OVERLAND PARK     KS     66202‐3114
AGUIRRE, JOEL
AGUIRRE, JOEL I             ARRAZOLO LAW PC                  715 TIJERAS AVE NW                                                     ALBUQUERQUE      NM      87102‐3076
AGUIRRE, JOHNIE C           8035 MIDLOTHIAN WAY                                                                                     INDIANAPOLIS     IN      46214‐2267
AGUIRRE, JORGE              PO BOX 601                                                                                              GLENWOOD         CO      81602‐0601
                                                                                                                                    SPRINGS
AGUIRRE, JOSE' A            8854 BREWER RD                                                                                          MILLINGTON        MI     48746‐9523
AGUIRRE, JOVITA G           9337 BRADHURST ST                                                                                       PICO RIVERA       CA     90660‐3103
AGUIRRE, KATHUDRA           8035 MIDLOTHIAN WAY                                                                                     INDIANAPOLIS      IN     46214‐2267
AGUIRRE, LAZARO C           123 OLYMPIC CIR                                                                                         VACAVILLE         CA     95687‐3305
AGUIRRE, LESLIE             2360 EAST 108TH STREET                                                                                  LOS ANGELES       CA     90059‐1450
AGUIRRE, LESLIE             ROBINSON, CALCAGNIE & ROBINSON   620 NEWPORT CENTER DRIVE, SUITE                                        NEWPORT BEACH     CA     92660
                                                             700.
AGUIRRE, LOUIS M            1363 COLUMBUS CIR                                                                                       MILPITAS          CA     95035‐3359
AGUIRRE, LUIS E             11200 WHISPERING LN                                                                                     KANSAS CITY       KS     66109‐4259
AGUIRRE, LUIS E.            11200 WHISPERING LN                                                                                     KANSAS CITY       KS     66109‐4259
AGUIRRE, MARCO A            3519 CROOKS RD                                                                                          TROY              MI     48084‐1640
AGUIRRE, MARCO ANTONIO      3519 CROOKS RD                                                                                          TROY              MI     48084‐1640
AGUIRRE, MARIO G            4148 CREEKPOINT CT                                                                                      DANVILLE          CA     94506‐1212
AGUIRRE, MIKE               27827 ALDER GLEN CIR                                                                                    VALENCIA          CA     91354‐1367
AGUIRRE, NICOLAS            2607 WHITES BEACH RD                                                                                    STANDISH          MI     48658‐9785
AGUIRRE, PABLO E            G‐14361 N TAYLOR RD                                                                                     MILLINGTON        MI     48746
AGUIRRE, PETE V             15035 CAMINO DEL SOL                                                                                    CHINO HILLS       CA     91709‐5041
AGUIRRE, RAFAELA            1726 PALATINE LANE                                                                                      PALATINE          IL     60067
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Name                         Address1                           Address2                          Address3                  Address4               City               State   Zip
AGUIRRE, RENE                226 N 6TH AVE                                                                                                         SAGINAW             MI     48607‐1440
AGUIRRE, RICHARD H           4073 JACQUELYNN CT                                                                                                    ROCHESTER           MI     48306‐4649
AGUIRRE, RICHARD H           43889 N MORAY ST                                                                                                      FREMONT             CA     94539‐5940
AGUIRRE, ROBERT M            534 W SANTA PAULA ST                                                                                                  SANTA PAULA         CA     93060‐1932
AGUIRRE, ROBERTO             1450 N STATE HIGHWAY 360 APT 195                                                                                      GRAND PRAIRIE       TX     75050‐4109
AGUIRRE, RODOLFO             2502 MASON ST                                                                                                         BAY CITY            MI     48708‐9183
AGUIRRE, RUDY L              3731 ACKERMAN DR                                                                                                      LOS ANGELES         CA     90065‐3505
AGUIRRE, SALVADOR R          4129 TOLAND WAY                                                                                                       LOS ANGELES         CA     90065‐4441
AGUIRRE, VICKIE S            117 MARSH ST                                                                                                          UVALDI              TX     78801
AGUIRRE, VINCENTE            14019 ISLE ROYAL CIR                                                                                                  PLAINFIELD           IL    60544‐6974
AGUIRRE, VIRGINIA            2360 EAST 108TH STREET                                                                                                LOS ANGELES         CA     90059‐1450
AGUIRRE, VIRGINIA            ROBINSON, CALCAGNIE & ROBINSON     620 NEWPORT CENTER DRIVE, SUITE                                                    NEWPORT BEACH       CA     92660
                                                                700.
AGUIRRE, YOLANDA             3034 S WASHINGTON                                                                                                     SAGINAW            MI      48601
AGUIRRE, YVONNE L            4524 CROSSWINDS CT                                                                                                    WHITE LAKE         MI      48383‐1267
AGULIA, JOHN D               33 CASSANDRA CIR                                                                                                      CHURCHVILLE        NY      14428‐9776
AGULIAR, LOLA LEE            PO BOX 162                                                                                                            REESE              MI      48757‐0162
AGULLANA, ANNA W             7911 N SCHINDEL RD                                                                                                    ALBANY             IN      47320‐9113
AGULLANA, ANNA W             7911 SHINDEL RD                                                                                                       ALBANY             IN      47320‐9113
AGUNLOYE, BEATRICE C         1106 W BRANDON AVE                                                                                                    MARION             IN      46952‐1531
AGURKIS JOHN                 202 CENTER ST                                                                                                         NORTH EASTON       MA      02356‐1924
AGURS, JOHN D                1955 MARY CATHERINE ST                                                                                                YPSILANTI          MI      48198‐6246
AGURS, JOHN DERRICK          1955 MARY CATHERINE ST                                                                                                YPSILANTI          MI      48198‐6246
AGUSTER CAMPBELL             5389 CEDAR PARK DR                                                                                                    JACKSON            MS      39206
AGUSTI, DANIEL M             2700 GLEN VALLEY DR                                                                                                   LEONARD            MI      48367‐3121
AGUSTIN
AGUSTIN CERVERA              PO BOX 2891                                                                                                           LAREDO             TX      78044‐2891
AGUSTIN CRIADO               38424 LAURA DR                                                                                                        EASTLAKE           OH      44095‐1245
AGUSTIN ESTEBAN              PO BOX 773                                                                                                            ESCONDIDO          CA      92033
AGUSTIN GARCIA               2122 E WALNUT CREEK PKWY                                                                                              WEST COVINA        CA      91791‐1907
AGUSTIN GONZALEZ             404 LOCUST ST                                                                                                         ROSELLE PARK       NJ      07204‐1921
AGUSTIN RAMOS                6195 DEERWOODS TRL                                                                                                    ALPHARETTA         GA      30005‐3670
AGUSTIN REYES                102 EL GATO RD UNIT 1                                                                                                 ALAMO              TX      78516‐7300
AGUSTIN RODRIGUEZ            3921 WICKERSHAM ST                                                                                                    CORPUS CHRISTI     TX      78415‐3937
AGUSTIN SANTANA              3210 BRETTON WOODS TER                                                                                                DELTONA            FL      32725‐3053
AGUSTIN TIRADO               13 KIMBERLY LN                                                                                                        POMONA             NY      10970‐3100
AGUSTIN YEPEZ                5701 W 56TH ST                                                                                                        CHICAGO            IL      60638‐2831
AGUSTIN ZARATE               THE MADEKSHO LAW FIRM              8866 GULF FREEWAY SUITE 440                                                        HOUSTON            TX      77017
AGUSTIN, EDGAR               8678 PIONEER RD                                                                                                       WEST PALM BEACH    FL      33411‐4524

AGUSTIN, ERIC C              4747 PICKWICK DR                                                                                                      STERLING HEIGHTS    MI     48310‐4644
AGUWA, ALOYSIUS A            6528 HERITAGE                                                                                                         WEST BLOOMFIELD     MI     48322

AGYAPONG‐POKU ERIC           4565 PARSONS LN                                                                                                       LEXINGTON          KY      40509‐2130
AHA OHIO VALLEY AFFILIATE    ATTN DAVID IACOBUCCI               5455 N HIGH ST                                                                     COLUMBUS           OH      43214‐1127
AHA‐ MIAMI VALLEY DIVISION   24 NORTH JEFFERSON STREET                                                                                             DAYTON             OH      45402
AHALT MILBURN (411354)       GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                                        NORFOLK            VA      23510
                                                                STREET, SUITE 600
AHALT, MICHAEL C             1212 AUTUMN WIND CT                                                                                                   CENTERVILLE        OH      45458‐6032
AHALT, MILBURN               GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                                        NORFOLK            VA      23510‐2212
                                                                STREET, SUITE 600
AHANEKU CHINYERE             AHANEKU, CHINYERE                  2242 POWELL AVE                                                                    BRONX               NY     10462
AHANEKU CHINYERE             GE FLEET SERVICES                  CEI SUBRO SERVICES                STE 220 4850 STREET RD.                          TREVOSE             PA     19053
AHANEKU, CHINYERE            2242 POWELL AVE                                                                                                       BRONX               NY     10462‐5104
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Name                                 Address1                          Address2                           Address3   Address4                   City               State Zip
AHANEKU, CHINYERE                    2242 BOWELL AVENUE                                                                                         BRONX               NY 10462
AHARON KRISHEVSKI
AHARON OSKIAN                        107 ROBIN CT                                                                                               COLUMBIA           TN   38401‐5572
AHARONI, NATHAN
AHART, JOHN P                        14746 INDIAN HOLLOW RD                                                                                     GRAFTON            OH   44044‐9596
AHART, KEVIN C                       602 CARLOTTA DR                                                                                            YOUNGSTOWN         OH   44504‐1324
AHART, KEVIN CURTIS                  602 CARLOTTA DR                                                                                            YOUNGSTOWN         OH   44504‐1324
AHART, RUBY                          PO BOX 6623                                                                                                YOUNGSTOWN         OH   44501‐6623
AHART, TRENT D                       14440 LEFFINGWELL RD                                                                                       BERLIN CENTER      OH   44401‐9643
AHART, TWON L                        1176 VERONA AVE                                                                                            YOUNGSTOWN         OH   44506‐1054
AHDERS, VIRGIL F                     3187 MISTY WINDS CT                                                                                        HENDERSON          NV   89052‐3170
AHDW                                 ATTN: ROSCO WRIGHT                138 N SAGINAW ST                                                         PONTIAC            MI   48342‐2112
AHEARN & SOPER CO INC                29‐401                            10051 E HIGHLAND RD STE 29                                               HOWELL             MI   48843‐6317
AHEARN & SOPER INC                   100 WOODBINE AVE                                                                TORONTO ON M4L 2A2
                                                                                                                     CANADA
AHEARN & SOPER INC                   380 JAMIESON PKY                                                                CAMBRIDGE ON N3C 4N4
                                                                                                                     CANADA
AHEARN & SOPER INC                   100 WOODBINE DOWNS BLVD                                                         REDALE CANADA ON M9W 5S6
                                                                                                                     CANADA
AHEARN & SOPER INC
AHEARN & SOPER LTD
AHEARN AMO                           33 E ORVIS ST                                                                                              MASSENA            NY   13662‐3602
AHEARN, CORNELIUS G                  44228 ELIA CT                                                                                              STERLING HEIGHTS   MI   48314‐1975
AHEARN, DANIEL L                     514 N SE BOUTELL RD                                                                                        BAY CITY           MI   48708
AHEARN, DANIEL M                     361 QUAKER HILL RD                                                                                         MORGANTOWN         PA   19543‐9362
AHEARN, FRANCIS E                    5128 LIPPINCOTT BLVD                                                                                       BURTON             MI   48519‐1256
AHEARN, KENNETH J                    4675 THOMAS RD                                                                                             KINDE              MI   48445‐9729
AHEARN, MARK D                       514 N SE BOUTELL RD                                                                                        BAY CITY           MI   48708‐9202
AHEARN, MICHAEL W                    7 LOG CABIN LN                                                                                             WATERBORO          ME   04087‐3610
AHEARN, ROBERT J                     3073 N STARK RD                                                                                            MIDLAND            MI   48642‐9461
AHEARN, WILLIAM A                    5014 N GALE RD                                                                                             DAVISON            MI   48423‐8954
AHEARN, WILLIAM D                    8659 S 87TH AVE STE 1                                                                                      JUSTICE            IL   60458
AHEARNE, JAMES M                     2839 ILA DR                                                                                                NATIONAL CITY      MI   48748‐9317
AHEARNE, JOEL A                      PO BOX 419                                                                                                 ST JAMES CITY      FL   33956‐0419
AHEARNE, THOMAS G                    14147 LANDINGS WAY                                                                                         FENTON             MI   48430‐1315
AHEC EXPRESS                         3390 S SERVICE RD                                                               BURLINGTON ON L7N 3L6
                                                                                                                     CANADA
AHEE, CORISA R                       20921 WASHINGTON ST                                                                                        ROSEVILLE          MI   48066
AHEIMER, CALVIN D                    3520 BRINWAY DR                                                                                            WEST MIFFLIN       PA   15122‐2612
AHEJEW, JODY L                       8181 MAIN ST                                                                                               BIRCH RUN          MI   48415‐9275
AHEJEW, PETRO                        5747 E HOLLAND RD                                                                                          SAGINAW            MI   48601‐9403
AHEJEW, RUSS                         4285 S BEYER RD                                                                                            FRANKENMUTH        MI   48734‐9722
AHEPA DISTRICT #5 SCHOLARSHIP FUND   325 BROOKLINE AVE                                                                                          CHERRY HILL        NJ   08002‐2532

AHERN FRANCIS (355769)               EARLY & STRAUSS                   420 LEXINGTON AVE RM 840                                                 NEW YORK           NY   10170‐0840
AHERN FRANK                          111 MAIN ST                                                                                                UNIONVILLE         CT   06085‐1131
AHERN JOHN (ESTATE OF) (473692)      CLIMACO LEFKOWITZ PECA WILCOX &   1228 EUCLID AVE , HALLE BLDG 9TH                                         CLEVELAND          OH   44115
                                     GAROFOLI                          FL
AHERN, ALAN A                        236 CAROLINA MEADOWS VILLA                                                                                 CHAPEL HILL        NC   27517‐8518
AHERN, ARBUTUS J                     1717 PARKVIEW AVE                                                                                          W BLOOMFIELD       MI   48324‐1265
AHERN, BRIAN V                       14505 AERIES WAY DR APT 225                                                                                FORT MYERS         FL   33912‐1721
AHERN, CELIA                         90‐B THEATRE GARDENS RD                                                                                    FREEHOLD           NJ   07728
AHERN, FRANCIS                       EARLY & STRAUSS                   GRAYBAR BUILDING SUITE 840, 420                                          NEW YORK           NY   10170
                                                                       LEXINGTON AVENUE
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Name                         Address1                          Address2                          Address3                  Address4               City              State   Zip
AHERN, GEORGE R              5901 S KINGSTON RD                                                                                                   CLIFFORD           MI     48727‐9514
AHERN, HAVEN G               3749 HURDS CORNER RD                                                                                                 MAYVILLE           MI     48744‐9720
AHERN, J F CO                855 MORRIS ST                                                                                                        FOND DU LAC        WI     54935‐5611
AHERN, JOAN D                530 CAROLINA FARMS BLVD MB                                                                                           MYRTLE BEACH       SC     29579
AHERN, JOHN                  CLIMACO LEFKOWITZ PECA WILCOX &   1228 EUCLID AVE, HALLE BLDG 9TH                                                    CLEVELAND          OH     44115
                             GAROFOLI                          FL
AHERN, JR,JOHN E             16001 FARR HILLS DR                                                                                                  WESTFIELD          IN     46074‐9372
AHERN, KAYLEEN               4739 N BAILEY AVE                                                                                                    BUFFALO            NY     14226‐1347
AHERN, OWEN C                4040 HILLSDALE DR                                                                                                    AUBURN HILLS       MI     48326‐4305
AHERN, RICHARD F             1717 PARKVIEW AVE                                                                                                    W BLOOMFIELD       MI     48324‐1265
AHERN, RICHARD FRANCIS       1717 PARKVIEW AVE                                                                                                    WEST BLOOMFIELD    MI     48324‐1265

AHERN, RUSSELL N             3260 BENNETT ST                                                                                                      DEARBORN          MI      48124‐3574
AHERN, THOMAS R              48005 BREWSTER CT                                                                                                    PLYMOUTH          MI      48170‐3351
AHERN, WILLIAM C             4706 SHARP SHOOTER WAY                                                                                               PRESCOTT          AZ      86301‐5848
AHIER, GORDON                11432 VISTA DR                                                                                                       FENTON            MI      48430‐2492
AHIER, JACQUELINE A          11432 VISTA DR                                                                                                       FENTON            MI      48430‐2492
AHIMOR EITAN                 25 BANK ST APT 208G                                                                                                  WHITE PLAINS      NY      10605‐7003
AHKEE, JASPER                P. O. BOX 1084                                                                                                       WATERFLOW         NM      87421‐1084
AHKEE, JASPER                PO BOX 1084                                                                                                          WATERFLOW         NM      87421‐1084
AHKEE, JEFFERSON A           1091 N LANCEWOOD AVE                                                                                                 RIALTO            CA      92376‐3914
AHKOY, THOMAS D              9421 WALMER ST                                                                                                       OVERLAND PARK     KS      66212‐1452
AHKOY, THOMAS DAVID          9421 WALMER ST                                                                                                       OVERLAND PARK     KS      66212‐1452
AHL, ANNIE L                 7 STANGER ROAD                                                                                                       BRIDGETON         NJ      08302‐3859
AHL, ANNIE L                 7 STANGER RD                                                                                                         BRIDGETON         NJ      08302‐3859
AHL, DAVID J                 53 COLLIER AVE                                                                                                       BRISTOL           CT      06010‐4447
AHL, HOWARD E                14064 WATERS EDGE TRL                                                                                                NEW BERLIN        WI      53151‐4567
AHL, PATRICIA A              37644 MORAVIAN DR                                                                                                    CLINTON TWP       MI      48036‐1755
AHLADIS, ANGELINE            24223 NE 7TH PL                                                                                                      SAMMAMISH         WA      98074‐3627
AHLADIS, JOHN N              24223 NE 7TH PL                                                                                                      SAMMAMISH         WA      98074‐3627
AHLADIS, LARRY               3730 SUNLAND LN                                                                                                      ESTERO            FL      33928‐4319
AHLADIS, LOUIS M             PO BOX 4212                                                                                                          YOUNGSTOWN        OH      44515‐0212
AHLADIS, THERESA H           256 IDYLWILD ST NE                                                                                                   WARREN            OH      44483‐3432
AHLADIS, THERESA H           256 IDYLWILD N.E.                                                                                                    WARREN            OH      44483‐3432
AHLADIS, TULA                8105 NW 27TH STREET #2                                                                                               CORAL SPRINGS     FL      33065
AHLADIS, WILLIAM             1217 EDGEWOOD ST NE                                                                                                  WARREN            OH      44483‐4117
AHLANDER, MARSHA A           4333 POST DR                                                                                                         FLINT             MI      48532‐2673
AHLANDER, MARSHA ANN         4333 POST DR                                                                                                         FLINT             MI      48532‐2673
AHLAS ROBERT E (476143)      ANGELOS PETER G LAW OFFICES OF    100 N CHARLES STREET , ONE                                                         BALTIMORE         MD      21202
                                                               CHARLES CENTER 22ND FLOOR
AHLAS, ROBERT E              ANGELOS PETER G LAW OFFICES OF    100 N CHARLES STREET, ONE                                                          BALTIMORE         MD      21202
                                                               CHARLES CENTER 22ND FLOOR
AHLBACH JR, JAMES F          14 EVERETT DR                                                                                                        COLUMBUS           NJ     08022‐2386
AHLBERG, JAMES H             23176 SCOTCH PINE LN                                                                                                 MACOMB             MI     48042‐5368
AHLBORN SR, CHARLES G        619 3RD AVE                                                                                                          HANCOCK            WI     54943‐9340
AHLBORN, MICHAEL W           5606 WAYNE TRCE                                                                                                      FORT WAYNE         IN     46806‐2770
AHLBRAND STEVEN M (438773)   GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                        NORFOLK            VA     23510
                                                               STREET, SUITE 600
AHLBRAND, ALBERTA M          PO BOX 448                        C/O RONALD M AHLBRAND             GARY AHLBRAND, EXECUTOR                          MADISON            IN     47250‐0448
                                                                                                 OF ESTATE (SON)

AHLBRAND, DORA S.            2157 SHILOH DR                                                                                                       COLUMBUS          IN      47203‐4521
AHLBRAND, SIDNEY WILLIAM     1158 BROOKVIEW DR                                                                                                    BEAVERCREEK       OH      45430‐1204
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Name                     Address1                        Address2                      Address3   Address4               City               State Zip
AHLBRAND, STEVEN M       GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                     NORFOLK             VA 23510‐2212
                                                         STREET, SUITE 600
AHLBRANDT, RANDALL S     2444 SAWMILL ST                                                                                 MURFREESBORO       TN   37128‐0301
AHLEEKE, LAW
AHLEMAN, JAMES W         1244 MAYHEW RD                                                                                  ROSE CITY          MI   48654‐9652
AHLEMAN, LINDA M         1244 MAYHEW RD                                                                                  ROSE CITY          MI   48654‐9652
AHLEMAN, ROBERT J        119 RAILROAD ST                                                                                 BLISSFIELD         MI   49228‐1125
AHLENE ZUREKI            3158 SMITH ST                                                                                   DEARBORN           MI   48124‐4347
AHLENIUS, GLORIA E       16 GALE AVE                                                                                     RIVER FOREST       IL   60305‐2010
AHLER, DENNIS G          5135 AMSTERDAM AVE                                                                              HOLT               MI   48842‐9634
AHLER, EUNICE E          8337 N PARKSIDE DR                                                                              HAYDEN             ID   83835‐8253
AHLER, GENEVIEVE T       537 EASTLAND DR                                                                                 BAY CITY           MI   48708‐6986
AHLER, GENEVIEVE T       537 EASTLAND CT                                                                                 BAY CITY           MI   48708‐6986
AHLER, ROBERT            8337 N PARKSIDE DR                                                                              HAYDEN             ID   83835‐8253
AHLER, RYAN S            54279 WHITE SPRUCE LN                                                                           SHELBY TOWNSHIP    MI   48315‐1467
AHLERS ERICA             4420 VILLAGE GARDEN CIR                                                                         CHESTER            VA   23831‐1798
AHLERS ROBERT (415851)   WEITZ & LUXENBERG P.C.          180 MAIDEN LANE                                                 NEW YORK           NY   10038
AHLERS TROPHY SHOP LLC   1503 WOODSIDE AVE                                                                               ESSEXVILLE         MI   48732‐1381
AHLERS, BETTY M          6107 WILLOW HWY                 C/O SUE HOUSEMAN                                                GRAND LEDGE        MI   48837‐8981
AHLERS, BRETT A          1108 W G TALLEY RD                                                                              ALVATON            KY   42122‐8711
AHLERS, CECELIA A        6250 PARSONS RD                                                                                 CONCORD            MI   49237‐9784
AHLERS, JAMES A          373 MENG RD                                                                                     BOWLING GREEN      KY   42104‐8741
AHLERS, JAMES ALAN       373 MENG RD                                                                                     BOWLING GREEN      KY   42104‐8741
AHLERS, JAMES J          4226 MATLOCK RD                                                                                 BOWLING GREEN      KY   42104‐8712
AHLERS, JOANNE           5450 WEST KENT ROAD                                                                             ST.LOUIS           MI   48880‐9334
AHLERS, JOANNE           5450 W KENT RD                                                                                  SAINT LOUIS        MI   48880‐9334
AHLERS, JOETTA           6760 EDENTON PLEASANT PLAIN                                                                     PLEASANT PLAIN     OH   45162
AHLERS, JOHN R           11321 CAROUSEL DRIVE                                                                            GRAND LEDGE        MI   48837‐8443
AHLERS, ROBERT           WEITZ & LUXENBERG P.C.          180 MAIDEN LANE                                                 NEW YORK           NY   10038
AHLERS, SHARI K          8 GLEN OAK DRIVE                                                                                EAST AMHERST       NY   14051‐2415
AHLERSEMEYER, LARRY S    8114 WHITTIER CT                                                                                FORT WAYNE         IN   46818‐2310
AHLERT, DENNIS R         906 NICOLET ST                                                                                  JANESVILLE         WI   53546‐2415
AHLERT, RONALD E         3757 BRYN MAWR DR                                                                               JANESVILLE         WI   53546‐2048
AHLES, AELRED F          1061 WOODRIDGE                                                                                  BROWNSBURG         IN   46112‐7977
AHLES, RONALD T          1929 RED OAK DR                                                                                 MANSFIELD          OH   44904‐1757
AHLET, CHONG I           61 STONEHILL DR                                                                                 ROCHESTER          NY   14615‐1435
AHLETTA BURNS            837 WASHINGTON ST                                                                               TROY               OH   45373‐2847
AHLGREN                  44199 DEQUINDRE #250                                                                            TROY               MI   48085
AHLGREN, GEORGE N        1915 FORDNEY ST ROOM 345                                                                        SAGINAW            MI   48601
AHLGREN, RICHARD A       8146 WILCOX RD                                                                                  BROWN CITY         MI   48416‐9387
AHLGREN, ROGER F         4108 WINDMILL LN                                                                                JANESVILLE         WI   53546‐4208
AHLGRIM, CARL J          914 SHENANDOAH DR                                                                               ARLINGTON          TX   76014
AHLGRIM, CARL J          4451 S FREEWAY                                                                                  FORT WORTH         TX   76115
AHLGRIM, LYNN H          3742 W KALAMO HWY                                                                               CHARLOTTE          MI   48813‐9598
AHLGRIM, SHEILA L        2313 E ROBINSON ST                                                                              NORMAN             OK   73071‐7446
AHLIN, MARTIN I          575 SCOTT AVE                                                                                   SALT LAKE CITY     UT   84106‐1228
AHLQUIST, EDWARD R       1141 W FARNUM AVE APT 102                                                                       ROYAL OAK          MI   48067‐1665
AHLQUIST, MARILYN E      2915 W 13 MILE RD APT 306                                                                       ROYAL OAK          MI   48073‐2946
AHLRICH, STEPHEN         SIMMONS FIRM                    PO BOX 521                                                      EAST ALTON         IL   62024‐0519
AHLSTONE, A D            1151 KINGSTON LN                                                                                VENTURA            CA   93001‐4019
AHLSTROM, CAROL ANN      4275 WORTHINGTON LN                                                                             KITTY HAWK         NC   27949
AHLSTROM, CLARENCE C     15563 CAPUTO CT                                                                                 CLINTON TOWNSHIP   MI   48035‐2180

AHLSTROM, ERNEST W       426 WINDMILL POINT DR                                                                           FLUSHING           MI   48433‐2157
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Name                   Address1                           Address2                    Address3   Address4                  City               State Zip
AHLSWEDE, DENNIS J     7595 STRUTHERS RD                                                                                   POLAND              OH 44514‐2278
AHLUWALIA, AJINDER K   3027 BARCLAY WAY                                                                                    ANN ARBOR           MI 48105‐9464
AHMAD
AHMAD A ALI            4750 HERMITAGE RD                                                                                   NIAGARA FALLS      NY    14305‐1416
AHMAD ABOUCHABAB       2413 MISSION BLVD                                                                                   WEST BLOOMFIELD    MI    48324‐3310

AHMAD ALI              8199 ELLSWORTH ST                                                                                   DETROIT            MI    48238‐1814
AHMAD ALI              4750 HERMITAGE RD                                                                                   NIAGARA FALLS      NY    14305‐1416
AHMAD BAZZI            7541 KENTUCKY ST                                                                                    DEARBORN           MI    48126‐1676
AHMAD BAZZI            7545 THEISEN ST                                                                                     DEARBORN           MI    48126‐1692
AHMAD BEYDOUN          7345 PINEHURST ST                                                                                   DEARBORN           MI    48126‐1564
AHMAD DOUGLAS          4324 BRIGHTON DR                                                                                    LANSING            MI    48911‐2133
AHMAD FARID            6 BILTOMORE CT                                                            MARKHAM CANADA ON L3S
                                                                                                 3S9 CANADA
AHMAD FAWAZ            5460 COCHRANE ROAD                                                                                  ALMONT             MI    48003‐8800
AHMAD HAIDOUS          7868 HARTWELL ST                                                                                    DEARBORN           MI    48126‐1122
AHMAD HIJAZI           48495 LAKE VALLEY DR                                                                                SHELBY TWP         MI    48317‐2128
AHMAD JABER            2400 N GREEN ST                                                                                     DETROIT            MI    48209‐1244
AHMAD K SALEEM         523 HOLLENCAMP AVE.                                                                                 DAYTON             OH    45427‐3010
AHMAD LATHON‐BEY       11941 E STATE FAIR ST                                                                               DETROIT            MI    48205‐1610
AHMAD N AKBAR          615 RICH DR                                                                                         JACKSON            MS    39209
AHMAD S AL‐DABAGH MD   ATTN: AHMAD S AL‐DABAGH            5084 VILLA LINDE PKWY # 5                                        FLINT              MI    48532‐3422
AHMAD WALKER           3203 N LINDEN RD                                                                                    FLINT              MI    48504‐1752
AHMAD WASIM            18301 HAZELWOOD AVE                                                                                 MAPLE HEIGHTS      OH    44137‐3532
AHMAD WRIGHT           6110 SHERINGHAM PL #6110                                                                            FLORISSANT         MO    63033‐7840
AHMAD, ABID
AHMAD, AMER M          5506 MORROW RD                                                                                      TOLEDO             OH    43615‐3528
AHMAD, ANWAAR          1625 BACKCREEK LN 9C                                                                                GASTONIA           NC    28054
AHMAD, FAIZ            770 W BAY SHORE DR                                                                                  OXFORD             MI    48371‐3589
AHMAD, MOIZ U          PO BOX 64                                                                                           GRAND CHAIN        IL    62941‐0064
AHMAD, SAMINA          4110 ANTIQUE LN                                                                                     BLOOMFIELD         MI    48302‐1802
AHMAD, TANVIR          4110 ANTIQUE LN                                                                                     BLOOMFIELD         MI    48302‐1802
AHMADIAN MEHDI         3112 ALICE DR                                                                                       BLACKSBURG         VA    24060‐1629
AHMED
AHMED                  295 E CAROLINE STREET #D3                                                                           SAN BERNARDINO     CA    92408
AHMED A ELMAWERI       1806 SALINA ST                                                                                      DEARBORN           MI    48120‐1641
AHMED A MUNTAQIM       241 CHANDLER ST                                                                                     DETROIT            MI    48202‐2826
AHMED ABBASSE          4724 BURGIS AVE SE                                                                                  GRAND RAPIDS       MI    49508‐4554
AHMED AL TOHAMI
AHMED AZEEM            5680 CAMBRIDGE WAY                                                                                  HANOVER PARK        IL   60133‐3658
AHMED AZEME
AHMED EL‐ANTABLY       528 SAPPHIRE DR                                                                                     CARMEL             IN    46032‐5096
AHMED ELMAWERI         1806 SALINA ST                                                                                      DEARBORN           MI    48120‐1641
AHMED FARAJ            6776 TIFFANY CIR                                                                                    CANTON             MI    48187‐5259
AHMED FAROOK           1452 LILA DR                                                                                        TROY               MI    48085‐3407
AHMED GHANI            PO BOX 846                                                                                          EAST SAINT LOUIS   IL    62203‐0846
AHMED HALILOVIC        1585 KINGSMERE CIR                                                                                  ROCHESTER HILLS    MI    48309‐2916
AHMED KHAN             5575 DEMARET DR                                                                                     TROY               MI    48085‐3305
AHMED SAILANI          10041 LAPEER ST                                                                                     DEARBORN           MI    48120‐1539
AHMED SHARIF           7293 WHITTAKER ST                                                                                   DETROIT            MI    48209‐1525
AHMED UMAR             17 WIESNER RD                                                                                       LACKAWANNA         NY    14218‐2916
AHMED ZAKI             1020 CHARTER DR STE E                                                                               FLINT              MI    48532‐3584
AHMED, ADAM M          1265 CAMELLIA DR                                                                                    MOUNT MORRIS       MI    48458‐2803
AHMED, AFTAB           C/O GM EGYPT , 4TH INDUSTRIAL ZO                                          CAIRO EGYPT
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Name                    Address1                      Address2                        Address3              Address4                 City               State Zip
AHMED, AFTAB            C/O GM EGYPT                  4TH INDUSTRIAL ZONE,6 OCTOBER   P.O. BOX 108 GEZIRA   CAIRO 12566 EGYPT
AHMED, AHMED S          49157 BROOKLYN                                                                                               SHELBY TWP         MI    48317‐2375
AHMED, ANIS             6318 GENTELE CT                                                                                              ALEXANDRIA         VA    22310‐3110
AHMED, AQUEELAH D       4039 GLADSTONE                                                                                               DETROIT            MI    48204‐2407
AHMED, CHRISTOPHER J    1066 CLEARVIEW DR                                                                                            OXFORD             MI    48371‐5976
AHMED, DONNA            836 S CURTIS RD                                                                                              BOISE              ID    83705‐1809
AHMED, GARY M           663 TOLLIS PKWY                                                                                              CLEVELAND          OH    44147‐1811
AHMED, HEZAM M          5445 CHASE RD                                                                                                DEARBORN           MI    48126‐3127
AHMED, IMTIAZ           PO BOX 34843                                                                                                 HOUSTON            TX    77234‐4843
AHMED, KAUSAR           FINKIN & FINKIN               11821 QUEENS BLVD STE 616                                                      FOREST HILLS       NY    11375‐7206
AHMED, KHALIL           60486 BALMORAL WAY                                                                                           ROCHESTER          MI    48306‐2063
AHMED, KHURRAM S        41367 WILLIAMSBURG BLVD                                                                                      CANTON             MI    48187‐3967
AHMED, MANSOOR A        PO BOX 644                                                                                                   DEARBORN           MI    48121‐0644
AHMED, MOHAMED A        43 GROUSE HILL ROAD                                                                                          GLASTONBURY        CT    06033‐2720
AHMED, NAGI M           5523 PRESCOTT ST                                                                                             DETROIT            MI    48212‐3119
AHMED, NASEEM A         5146 DANIELS DR                                                                                              TROY               MI    48098‐3031
AHMED, NAVEED           22689 SUMMER LN                                                                                              NOVI               MI    48374‐3647
AHMED, NIDA
AHMED, NOAREEN
AHMED, SAMI             3120 FALLEN OAKS CT APT 404                                                                                  ROCHESTER HILLS    MI    48309‐2761
AHMED, SAYED W          8841 TERRY DR                                                                                                ORLAND PARK        IL    60462‐2229
AHMED, SHAKEEL          5715 NOBLE CROSSING PKWY E                                                                                   NOBLESVILLE        IN    46062‐7161
AHMED, SHARIF U         7293 WHITTAKER ST                                                                                            DETROIT            MI    48209‐1525
AHMED, SHARIF U         1811 CENTRAL ST                                                                                              DETROIT            MI    48209‐1831
AHMED, SHARIF U         7293 WHITTAKER                2ND FLOOR                                                                      DETROIT            MI    48209
AHMED, SHERIF           CARMAN CALLAHAN & INGHAM      266 MAIN ST                                                                    FARMINGDALE        NY    11735‐2618
AHMED, SUHAEL           2711 DEERING BAY DR                                                                                          NAPERVILLE         IL    60564
AHMED, TERRIE G         1265 CAMELLIA DR                                                                                             MOUNT MORRIS       MI    48458‐2803
AHMED, TERRIE GALE      1265 CAMELLIA DR                                                                                             MOUNT MORRIS       MI    48458‐2803
AHMED, ZAKIYYAH         1743 WHITEHALL FOREST CT SE                                                                                  ATLANTA            GA    30316‐4840
AHMED, ZAN
AHMER, BARBARA E        101 HAMILTON BLVD.                                                                                           STRUTHERS          OH    44471‐1447
AHMIC MIRNES MINKO
AHMMED, MASBAH U        1122 SADDLEBROOK CT N                                                                                        SAINT CHARLES      MO    63304‐2420
AHMOW, TALMAGE K        911458 HALAHUA ST                                                                                            KAPOLEI            HI    96707‐3123
AHMU, WILLARD           1226 RANSON ST                                                                                               INDEPENDENCE       MO    64057‐2714
AHN CHARLES             400 IVY MEADOW LN APT 2A                                                                                     DURHAM             NC    27707‐6188
AHN HYUNSEON OLIVIA     7466 DAYTON AVE                                                                                              HESPERIA           CA    92345
AHN, HYUNSEON OLIVIA    7466 DAYTON AVENUE                                                                                           HESPERIA           CA    92345‐5710
AHN, JEONGHOON T        9760 OAKHILL RD                                                                                              HOLLY              MI    48442‐8839
AHN, JOSEPH P           6583 CHATHAM CIR                                                                                             ROCHESTER HILLS    MI    48306‐4382
AHN, MICHAEL G          31661 BOBRICH ST                                                                                             LIVONIA            MI    48152‐4309
AHN, PAUL C             28349 LACOSTA CT                                                                                             FARMINGTON HILLS   MI    48331‐2994

AHNAFIELD CORPORATION   2444 PRODUCTION DR                                                                                           INDIANAPOLIS        IN   46241‐4916
AHNEN, DAVID J          3862 NELSEY RD                                                                                               WATERFORD           MI   48329‐4622
AHNER, ROBERT
AHNERT, LARRY E         7700 THUNDER BAY DR                                                                                          PINCKNEY           MI    48169‐8505
AHNERT, SUZANNE E       75 LEE ST                                                                                                    PERU               IN    46970‐2620
AHNTHOLZ, ROGER C       3920 MARINERS WAY APT 314                                                                                    CORTEZ             FL    34215‐2528
AHO RON                 4567 392ND STREET                                                                                            NORTH BRANCH       MN    55056
AHO WALTER E (428391)   GLASSER AND GLASSER           CROWN CENTER, 580 EAST MAIN                                                    NORFOLK            VA    23510
                                                      STREET, SUITE 600
AHO, ALLEN W            265 WOLFE RD                                                                                                 ORTONVILLE          MI   48462‐8467
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Name                                  Address1                          Address2                        Address3   Address4               City             State   Zip
AHO, ANDREW J                         9497 CALDERWOOD RD                                                                                  TROUT CREEK       MI     49967‐9234
AHO, ARNOLD T                         1350 10TH MNR                                                                                       VERO BEACH        FL     32960‐2126
AHO, BERNADETTE M                     33778 NEWPORT DR                                                                                    STER;OMG HTS      MI     48310‐5859
AHO, DONALD R                         10849 E LENNON RD                                                                                   LENNON            MI     48449‐9670
AHO, DOUGLAS L                        2610 GOLDEN GLOW RD                                                                                 TROUT CREEK       MI     49967‐9451
AHO, GREGORY N                        7336 GRAND RIVER RD                                                                                 BANCROFT          MI     48414‐9434
AHO, GREGORY NELSON                   7336 GRAND RIVER RD                                                                                 BANCROFT          MI     48414‐9434
AHO, IDA E                            C/O WESSLEY R AHO                 5391 W DODGE RD                                                   CLIO              MI     48420‐8535
AHO, JACK R                           444 SHENANDOAH DR                                                                                   CLAWSON           MI     48017‐1300
AHO, MARGARET                         1574 STEWART                                                                                        LINCOLN PARK      MI     48146‐3551
AHO, MARGARET                         1574 STEWART AVE                                                                                    LINCOLN PARK      MI     48146‐3551
AHO, MARK T                           6349 W LAKE RD                                                                                      CLIO              MI     48420‐8241
AHO, NELSON A                         8343 LINDEN RD                                                                                      SWARTZ CREEK      MI     48473‐9151
AHO, RAYMOND W                        240 BOGIE LAKE RD                                                                                   WHITE LAKE        MI     48383‐2700
AHO, REGINA J                         4987 GRAND LAKES DR N                                                                               JACKSONVILLE      FL     32258
AHO, RICHARD L                        13100 N LINDEN RD                                                                                   CLIO              MI     48420‐8233
AHO, ROBERT E                         2078 TIMBER WAY                                                                                     CORTLAND          OH     44410‐1811
AHO, ROGER L                          11493 TERRY ST                                                                                      PLYMOUTH          MI     48170‐4519
AHO, RUSSELL E                        12021 HAIGHT RD                                                                                     TROUT CREEK       MI     49967‐9206
AHO, SYLVIA E                         1831 LYSTER LN                                                                                      TROY              MI     48085‐1415
AHO, WALTER E                         GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                       NORFOLK           VA     23510‐2212
                                                                        STREET, SUITE 600
AHO, WESLEY R                         5391 W DODGE RD                                                                                     CLIO             MI      48420‐8535
AHO, WILLIAM H                        4425 COOK RD                                                                                        SWARTZ CREEK     MI      48473‐9105
AHOE, JOHN A                          6366 PLAINVIEW AVE                                                                                  DETROIT          MI      48228‐3974
AHOLA, DENNIS U                       10436 FARRAND RD                                                                                    OTISVILLE        MI      48463‐9771
AHOLA, SANDRA G                       10436 FARRAND RD                                                                                    OTISVILLE        MI      48463
AHOLD FINANCIAL SERVICES              3213 PAYSPHERE CIR                                                                                  CHICAGO          IL      60674‐0032
AHOLT, IDALA                          10908 E STATE ROUTE 350                                                                             RAYTOWN          MO      64138‐2366
AHONEN, CARRIE S                      2286 ALLEN ROAD                                                                                     ORTONVILLE       MI      48462‐9300
AHONEN, JAMES E                       4190 DEVONSHIRE ST                                                                                  TRENTON          MI      48183‐3974
AHPEATONE, DAVID L                    1009 SW 127TH PL                                                                                    OKLAHOMA CITY    OK      73170‐6947
AHPEATONE, DAVID LYLE                 1009 SW 127TH PL                                                                                    OKLAHOMA CITY    OK      73170‐6947
AHPFS HPFS HEWLETT PACKARD FINACIAL   BOB RADER                         420 MOUNTAIN AVE                                                  NEW PROVIDENCE   NJ      07974‐2736
SERVICES
AHR, ARTHUR B                         512 UNION ST                      WATERSEDGE HEALTHCARE & REHAB                                     TRENTON          NJ      08611‐2800
AHREN ANDREWS                         8326 WASHBURN RD                                                                                    GOODRICH         MI      48438‐9776
AHRENBERG, PETER G                    PO BOX 20301                                                                                        SARASOTA         FL      34276‐3301
AHREND, WILLIAM                       PORTER & MALOUF PA                4670 MCWILLIE DR                                                  JACKSON          MS      39206‐5621
AHRENDT, PAMELA L                     3839 BRANCH DR                                                                                      TOLEDO           OH      43623‐2208
AHRENDT, ROBERT E                     15805 N GLENEDEN DR                                                                                 SPOKANE          WA      99208‐9787
AHRENS FRANK C (438774)               GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                       NORFOLK          VA      23510
                                                                        STREET, SUITE 600
AHRENS JR, FREDRICK E                 16546 W LAVA DR                                                                                     SURPRISE         AZ      85374‐6254
AHRENS, ALAN R                        6441 W BERKSHIRE DR                                                                                 SAGINAW          MI      48603‐3409
AHRENS, ALLEN L                       16165 COLONIAL DR                                                                                   WILLIAMSBURG     OH      45176‐9762
AHRENS, ANITA A                       2719 SYLVESTER ST                                                                                   JANESVILLE       WI      53546‐5659
AHRENS, DENNIS W                      2003 REBECCA ST                                                                                     VALPARAISO       IN      46383‐3132
AHRENS, DONALD G                      314 TITTABAWASSEE RD                                                                                SAGINAW          MI      48604‐1264
AHRENS, DONALD J                      3331 CALVANO DR                                                                                     GRAND ISLAND     NY      14072‐1072
AHRENS, DONALD L                      7403 WITLING BLVD                                                                                   ROANOKE          IN      46783‐9324
AHRENS, EDWARD M                      1113 SE 2ND CT                                                                                      LEES SUMMIT      MO      64063‐3252
AHRENS, ELMER J                       11306 N STATE ROAD 26                                                                               MILTON           WI      53563‐9131
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Name                              Address1                           Address2                           Address3                     Address4                  City            State Zip
AHRENS, FRANK C                   GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                                               NORFOLK          VA 23510‐2212
                                                                     STREET, SUITE 600
AHRENS, GARY L                    9710 W RTE 72                                                                                                                FORRESTON       IL   61030
AHRENS, HAROLD R                  412 RIVERCLIFF DR                                                                                                            BULL SHOALS     AR   72619‐4117
AHRENS, JANET A                   1256 FM 889                                                                                                                  GEORGE WEST     TX   78022‐3548
AHRENS, JERRY L                   3746 S AFTON RD.                                                                                                             JANESVILLE      WI   53545
AHRENS, JOHN J                    1115 N BUENA VIS E                                                                                                           DEWEY           AZ   86327‐5502
AHRENS, JON L                     9528 W GIBBS LAKE RD                                                                                                         EDGERTON        WI   53534‐9742
AHRENS, JUDITH A                  1506 SONORA CT                                                                                                               ARLINGTON       TX   76012‐1768
AHRENS, LESTER K                  3487 EUCLID CT                                                                                                               BAY CITY        MI   48706‐2412
AHRENS, LOUISE M                  ST LOUIS HILLS RETIREMENT CENTRE   6543 CHIPPEWA ST                                                                          ST LOUIS        MO   63109‐4164
AHRENS, LOUISE M                  6543 CHIPPEWA ST                   ST LOUIS HILLS RETIREMENT CENTRE                                                          SAINT LOUIS     MO   63109‐4106
AHRENS, MARILYN                   730 S SAGINAW ST APT 314                                                                                                     LAPEER          MI   48446
AHRENS, MARK R                    340 PARKVIEW CT APT 104                                                                                                      AUBURN HILLS    MI   48326‐1187
AHRENS, NORBERT G                 35 DUQUESNE DR                                                                                                               NAPOLEON        OH   43545‐2220
AHRENS, RAYMOND A                 527 NATHAN ST                                                                                                                BURLESON        TX   76028‐5811
AHRENS, REBECCA                   4158 SEIDEL PL                                                                                                               SAGINAW         MI   48638‐5633
AHRENS, RICHARD                   615 GRANT ST                                                                                                                 MONTPELIER      ID   83254‐1410
AHRENS, RICHARD L                 7403 WITLING BLVD                                                                                                            ROANOKE         IN   46783‐9324
AHRENS, RICHARD LEROY             7403 WITLING BLVD                                                                                                            ROANOKE         IN   46783‐9324
AHRENS, ROBERT C                  200 CAMPAU STREET                                                                                                            BAY CITY        MI   48706‐5208
AHRENS, ROBERT E                  4301 FOX RIDGE RD                                                                                                            EAGAN           MN   55122‐2256
AHRENS, ROBERTA L                 2088 FINLAND DR                                                                                                              DAYTON          OH   45439‐2760
AHRENS, ROBERTA LYNN              2088 FINLAND DR                                                                                                              DAYTON          OH   45439‐2760
AHRENS, RONALD K                  2719 SYLVESTER ST                                                                                                            JANESVILLE      WI   53546‐5659
AHRENS, RUSSELL A                 52056 SNUG HARBOR LN                                                                                                         THREE RIVERS    MI   49093‐9687
AHRENS, WALTER S                  5201 WIMBLETON CT                                                                                                            CHARLOTTE       NC   28226‐9204
AHRENS, WILLIAM H                 5652 MURPHY CT                                                                                                               WARREN          MI   48092‐6336
AHRENS, WILLIAM K                 22828 HEATHERBRAE WAY                                                                                                        NOVI            MI   48375‐4326
AHRENT GMBH & CO.                 SCHLESWIGER STRASSE 48                                                                             FLENSBURG 2390 GERMANY
AHRESTY CORP                      2627 S SOUTH ST                                                                                                              WILMINGTON      OH   45177‐2926
AHRESTY WILMINGTON CORP           2627 S SOUTH ST                                                                                                              WILMINGTON      OH   45177‐2926
AHRESTY WILMINGTON CORPORATION    2627 S SOUTH ST                                                                                                              WILMINGTON      OH   45177‐2926
AHRESTY/ WILMINGTON               2627 S SOUTH ST                                                                                                              WILMINGTON      OH   45177‐2926
AHRNDS, JAMES H                   35652 FAIRCHILD ST                                                                                                           WESTLAND        MI   48186‐4143
AHRNDT‐ANDERSON, JANICE           10833 JOHNSON AVE S                                                                                                          MINNEAPOLIS     MN   55437
AHRONIAN KATHY                    45 CLINE DR                                                                                                                  MASSENA         NY   13662‐3133
AHRONIAN, KATHLEEN M              271 BLACKSTONE STREET                                                                                                        BLACKSTONE      MA   01504‐1312
AHSAN SUMBAL                      4232 SUGAR MAPLE LN                                                                                                          OKEMOS          MI   48864‐3225
AHUJA GAURAV                      2690 TRITT SPRINGS TRCE NE                                                                                                   MARIETTA        GA   30062
AHUJA, RANDHIR                    PO BOX 311                                                                                                                   MENDHAM         NJ   07945‐0311
AHUJA, RANDHIR                    220 FISHER RD                                                                                                                GROSSE POINTE   MI   48230‐1213
                                                                                                                                                               FARMS
AHUJA, ROSHAN                     12459 WHITE TAIL CT                                                                                                          PLYMOUTH        MI   48170‐2875
AHUMADA DEBRA                     4010 BRAVIA DOVE LOOP                                                                                                        LAS CRUCES      NM   88001‐7868
AHUMADA, MARCOS                   PO BOX 771                                                                                                                   MORGAN HILL     CA   95038‐0771
AHUMADA, MAYRA G                  9003 VISTA ANACAPA RD                                                                                                        MOORPARK        CA   93021‐9757
AI GENESEE LLC                    JOHN DOROSHEWITZ                   4400 MATTHEW DRIVE                                              CHANGZHOU JIANGSU CHINA
                                                                                                                                     (PEOPLE'S REP)
AI GHANDI AUTO/NATIONAL AUTO      P O BOX 5991                       DUBAI                                                           UNITED ARAB EMRITES
                                                                                                                                     UNITED ARAB EMIRATES
AI PUBLISH/SETAGAYA               3‐4‐2‐202 AKATSUTSUMI              SOTAGAYA‐KU                                                     TOKYO 156 JAPAN
AI SOUTH INSURANCE CO ASO TRACY   C/O JOYCE M GOLDSTEIN              ALSCHUL GOLDSTEIN & GELLER LLP     17 BATTERY PLACE SUITE 711                             NEW YORK        NY   10004
SIZEMORE 09TC7928
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Name                            Address1                            Address2               Address3       Address4                   City               State   Zip
AI‐ARLINGTON LLC                3800 AVENUE E E                                                                                      ARLINGTON           TX     76011‐5442
AI‐GENESEE LLC                  4400 MATTHEW                                                                                         FLINT               MI     48507‐3152
AI‐GENESEE LLC                  4444 W MAPLE AVE                                                                                     FLINT               MI     48507‐3128
AI‐KIN GOH                      567 OVERVIEW LN                                                                                      FRANKLIN            TN     37064‐5557
AI‐SHREVEPORT LLC               7699 W BERT KOUNS INDUSTRIAL LOOP                                                                    SHREVEPORT          LA     71129‐4724
AI‐SHREVEPORT LLC               3800 AVENUE E E                                                                                      ARLINGTON           TX     76011‐5442
AI‐TEK INSTRUMENTS INC          SHARON SOLOCIUS                     152 KNOTTER DRIVE                                                PORTAGEVILLE        MO     63873
AI‐TEK INSTRUMENTS LLC          152 KNOTTER DR                                                                                       CHESHIRE            CT     06410‐1136
AIA CANADA                      AUTOMOTIVE IND ASSOC OF CANADA      1272 WELLINGTON                       OTTAWA CANADA ON K1Y 3A7
                                                                                                          CANADA
AIC EQUIPMENT & CONTROL INC     37 SUMMIT STREET                                                                                     BRIGHTON           MI      48116‐1834
AICHE                           PO BOX 29496                                                                                         NEW YORK           NY      10087‐9496
AICHER, ROBERT M                293 NORTHLAND DR                                                                                     CENTRAL SQ         NY      13036‐9756
AICHINGER, MARGERY A            2322 STEEPLE CHASE                                                                                   SHELBYVILLE        IN      46176
AICHLMAYR, HUBERT M             3128 W 47TH AVENUE                                                                                   SPOKANE            WA      99224
AICHNER, SHARON P               1021 MCKEIGHAN AVE                                                                                   FLINT              MI      48507‐2884
AICPA                           PO BOX 10069                                                                                         NEWARK             NJ      07101‐3069
AICY EVANS                      400 LARBOARD WAY APT 108                                                                             CLEARWATER         FL      33767‐2150
AIDA BOAR                       3702 SLEEPY FOX DR                                                                                   ROCHESTER HILLS    MI      48309‐4517
AIDA BOYD                       906 NORTH 34TH STREET                                                                                FORT SMITH         AR      72903
AIDA BUSTOS                     2575 W 24TH ST APT 271                                                                               YUMA               AZ      85364‐6069
AIDA CABRERA                    14040 NOTREVILLE WAY                                                                                 TAMPA              FL      33624‐6952
AIDA CHRISCO                    5650 JACKIE LN                                                                                       BEAUMONT           TX      77713‐9258
AIDA DEL CARMEN TREJO REPETTO   CARLOS TREJO POA                    1004 EAGLE LANE                                                  DOYLESTOWN         PA      18901
AIDA DEL CARMEN TREJO REPETTO   CARLOS TREJO POA                    1004 EAGLE LN                                                    DOYLESTOWN         PA      18901
AIDA G CHRISCO                  5650 JACKIE LANE                                                                                     BEAUMONT           TX      77713‐9258
AIDA GONGAWARE                  36084 PERRY GRANGE RD                                                                                SALEM              OH      44460‐9449
AIDA MALICSI                    11694 BORA CT                                                                                        STERLING HTS       MI      48312‐3015
AIDA MARRIOTT                   373 SOUTH BROADWAY                                                                                   YONKERS            NY      10705
AIDA NEGRIN                     50 RIVERDALE AVE APT 2C                                                                              YONKERS            NY      10701‐3642
AIDA NELSON                     869 LOGGERS CIR                                                                                      ROCHESTER          MI      48307‐6028
AIDA NOVOA                      38 HAWKINS ST                                                                                        NEWARK             NJ      07105‐3918
AIDA OWENS                      38189 CORBETT DR                                                                                     STERLING HEIGHTS   MI      48312‐1254
AIDA PORFIL                     PO BOX 919                                                                                           PENUELAS           PR      00624‐0919
AIDA RODRIGUES                  341 PENHURST RD                                                                                      ROCHESTER          NY      14610‐2717
AIDA TROXELLLL                  17024 SLEEPY HOLLOW BLVD                                                                             HOLLY              MI      48442‐8850
AIDA VEGA                       3625 LIVERNOIS AVE                                                                                   DETROIT            MI      48210‐2946
AIDAN MILLER                    8567 SOUTHRIDGE DR                                                                                   HOWELL             MI      48843‐8083
AIDAN ODONNELL                  2702 THOMAS ST                                                                                       FLINT              MI      48504‐4532
AIDC SOLUTIONS                  DIV OF EVANHOE & ASSOCIATES         PO BOX 24698                                                     DAYTON             OH      45424‐0698
AIDE, RANDOLPH J                4745 W BROWNVIEW DR                                                                                  JANESVILLE         WI      53545‐9041
AIDE, RONALD J                  1602 CLOVER LN                                                                                       JANESVILLE         WI      53545‐1371
AIDEN JR ESTATE OF STIRL J M    PO BOX 203                                                                                           JEFFERSONVILLE     KY      40337‐0203
AIDIBI RAEF                     26966 ROCHELLE ST                                                                                    DEARBORN HEIGHTS   MI      48127‐3672

AIDIF, DALE R                   2182 E COOK RD                                                                                       GRAND BLANC        MI      48439‐8372
AIDIF, DONNA J                  6940 MARATHON RD                                                                                     FOSTORIA           MI      48435‐9630
AIDIF, JAMES A                  4381 W COLDWATER RD                                                                                  FLINT              MI      48504‐1120
AIDIF, JOSEPH H                 2485 CRANE RD                                                                                        FENTON             MI      48430‐1055
AIDIF, JOSEPH T                 3351 W PIERSON RD                                                                                    FLINT              MI      48504‐6982
AIDIF, JOSEPH THOMAS            3351 W PIERSON RD                                                                                    FLINT              MI      48504‐6982
AIDIF, ROBERT J                 6940 MARATHON RD                                                                                     FOSTORIA           MI      48435‐9630
AIDO RICHELLI                   THORNTON EARLY & NAUMES             100 SUMMER ST LBBY 3                                             BOSTON             MA      02110‐2104
AIEA SHELL INC.                 99‐170 MOANALUA RD                                                                                   AIEA               HI      96701‐4034
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Name                                Address1                                 Address2                         Address3                    Address4                  City              State Zip
AIELLO DANIELA                      PIAZZA ARENELLA 7 (PARCO IVASTI) SCNIS                                                                80128 NAPOL ITALY

AIELLO JAMES (406454)               DEARIE & ASSOCS JOHN C                   3265 JOHNSON AVE                                                                       BRONX             NY    10463
AIELLO JOSEPH (442913)              BEVAN & ASSOCIATES                       10360 NORTHFIELD ROAD , BEVAN                                                          NORTHFIELD        OH    44067
                                                                             PROFESSIONAL BLDG
AIELLO, ANDREW J                    146 RISING TRAIL DR                                                                                                             MIDDLETOWN        CT    06457‐1673
AIELLO, BRUCE L                     83 ISLAND ESTATES PARKWAY                                                                                                       PALM COAST        FL    32137
AIELLO, CAROL A                     4446 CENTRAL CHURCH RD                                                                                                          DOUGLASVILLE      GA    30135
AIELLO, CHRISTINE M                 41136 GREENSPIRE DR                                                                                                             CLINTON TWP       MI    48038‐5859
AIELLO, DANA I                      376 LOCUST RD                                                                                                                   HARWINTON         CT    06791‐2802
AIELLO, DANIEL F                    11249 MARTINSBURG ROAD                                                                                                          HEDGESVILLE       WV    25427‐3691
AIELLO, DANIEL F                    18 RICHARDS AVE                                                                                                                 WINCHESTER        VA    22601‐4918
AIELLO, JAMES                       DEARIE & ASSOCS JOHN C                   3265 JOHNSON AVE                                                                       RIVERDALE         NY    10463
AIELLO, JOSEPH                      BEVAN & ASSOCIATES                       10360 NORTHFIELD ROAD, BEVAN                                                           NORTHFIELD        OH    44067
                                                                             PROFESSIONAL BLDG
AIELLO, JOSEPH P                    15 LOTUS CIR S                                                                                                                  BEAR              DE    19701‐6315
AIELLO, JOSEPH S                    428 STANLEY ST                                                                                                                  N TONAWANDA       NY    14120‐7013
AIELLO, JUNE K                      2530 ELM BROOK CT                                                                                                               ROCHESTER HILLS   MI    48309‐4029
AIELLO, KAREN E                     8121 LEADLEY AVE                                                                                                                MOUNT MORRIS      MI    48458‐1778
AIELLO, KENNETH J                   460 OAKWOOD RD                                                                                                                  ORTONVILLE        MI    48462‐8639
AIELLO, KENNETH J                   7517 OAK ST                                                                                                                     PLEASANT VALLEY   MO    64068‐8607
AIELLO, PETER C                     535 HIGH ST                                                                                                                     WAYNESVILLE       OH    45068‐9791
AIELLO, RAYMOND C                   22 WELLESLEY DR                                                                                                                 PLEASANT RIDGE    MI    48069
AIELLO, ROBERT J                    54507 VERONA PARK DR                                                                                                            MACOMB            MI    48042‐5818
AIELLO, ROBERTA J.                  266 INDIAN CHURCH RD                                                                                                            WEST SENECA       NY    14210‐1944
AIELLO, RONALD B                    772 GRANGE HALL RD                                                                                                              ORTONVILLE        MI    48462‐8822
AIELLO, SAM C                       21886 SAN JOAQUIN DR W                                                                                                          CANYON LAKE       CA    92587‐7843
AIF COMPANY                         200 E STANLEY ST                                                                                                                COMPTON           CA    90220‐5605
AIG
AIG                                 ONE NEW YORK AVENUE                                                                                                             NEW YORK           NY   10004
AIG                                 72 WALL STREET 10TH FLOOR                                                                                                       NEW YORK           NY   10005
AIG ‐ AMERICAN INTERNATIONAL        SPECIALTY POLICIES                       ATTN: CORPORATE                  175 WATER ST, 27TH FLOOR                              NEW YORK           NY   10038
SPECIALTY LINES INSURANCE COMPANY                                            OFFICER/AUTHORIZED AGENT

AIG ADVANTAGE INSURANCE COMPANY     C/O JOYCE M GOLDSTEIN                    ALTSCHUL GOLDSTEIN & GELLER LLP 17 BATTERY PL, STE 711                                 NEW YORK           NY   10004
A/S/O SHEILA DIXON
AIG ASSOCIATES INC                  16231 W 14 MILE RD STE 11                                                                                                       BEVERLY HILLS      MI   48025‐3326
AIG CASUALTY CO A/S/O DANIELLE      C/O JOYCE M GOLDSTEIN                    ALTSCHAL GOLDSTEIN & GELLER LLP 17 BATTERY PLACE SUITE 711                             NEW YORK           NY   10004
BEAUREGARD 09AI 7885
AIG CAT EXCESS                      REBECCA DUPRE                            29 RICHMOND ROAD                                             PEMBROKE HM 08, BERMUDA

AIG CAT EXCESS ‐ STARR (NOW AIG CAT  REBECCA DUPRE                           AIG CAT EXCESS                   29 RICHMOND ROAD            PEMBROKE HM 08, BERMUDA
EXCESS)
AIG CENTENNIAL INS CO A/S/O PATRICIA ATTN JOYCE M GOLDSTEIN                  ALTSCHUL GOLDSTEIN & GELLER LLP 17 BATTERY PL STE 711                                  NEW YORK           NY   10004
SMITH 09TC7924
AIG DOMESTIC CLAIMS                  PO BOX 5150                             4 CHASE METRO TECH CTR, 7 FL E                                                         BROOKLYN           NY   11245‐5150
AIG FINANCIAL PRODUCTS CORP.         ATTN: GENERAL COUNSEL                   50 DANBURY RD.                                                                         WILTON             CT   06897
AIG GLOBAL SPORTS AND ENTERTAINMENT AIG GSEF, L.P.                           P.O. BOX 309 / GEORGE TOWN                                   GRAND CAYMAN CAYMAN
FUND, L.P.                                                                                                                                ISLANDS CAYMAN ISLANDS
AIG GLOBAL SPORTS AND ENTERTAINMENT AIG GSEF, L.P.                           P.O. BOX 309 / GEORGE TOWN                                   GRAND CAYMAN CAYMAN
FUND, L.P. / AIG GSEF, L.P.                                                                                                               ISLANDS CAYMAN ISLANDS

AIG GSEF LP                         C/O AIG CAPITAL PARTNERS INC             599 LEXINGTON AVENUE                                                                   NEW YORK           NY   10022
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Name                                   Address1                              Address2                         Address3                    Address4                  City               State Zip
AIG INSURANCE CO A/S/O TIMOTHY         C/O JOYCE M GULASTEIN                 ALTSCHUL GOILSTEIN & GELLER, LLP 17 BATTERY PLACE, SUITE 711                           NEW YORK            NY 10004
HANLEY 09AI7893
AIG INTERNATIONAL INC                  50 DANBURY RD                                                                                                                WILTON             CT   06897
AIG NATIONAL INSURANCE CO A/S/O        C/O JOYCE M GOLDSTEIN                 ALTSCHUL GOLDSTEIN & GELLER LLP 17 BATTERY PL, STE 711                                 NEW YORK           NY   10004
DAVID CANADY
AIG NATIONAL INSURANCE CO A/S/O        JOYCE M GOLDSTEIN                     ALTSCHUL GOLDSTEIN & GELLER LLP 17 BATTERY PLACE SUITE 711                             NEW YORK           NY   10004
RACHEL WIGGINGTON ‐ 09TC 7919
AIG NATIONAL INSURANCE COMPANY         JEANSONNE & REMONDET                  200 W CONGRESS ST STE 1100                                                             LAFAYETTE          LA   70501‐6870
AIG RISK MANAGEMENT INC                ATTN DIANA ORTIZ                      175 WATER ST 27TH FLR                                                                  NEW YORK           NY   10038
AIG VANTAGE CAPITAL LP                 277 PARK AVE 43RD FL                                                                                                         NEW YORK           NY   10172
AIG VANTAGE CAPITAL LP                                                       277 PARK AVE 43RD FL                                                                   NEW YORK           NY   10172
AIG VANTAGE CAPITAL LP                 15260 COMMON RD                                                                                                              ROSEVILLE          MI   48066‐1810
AIG VANTAGE CAPITAL LP                 16945 W 116TH ST                                                                                                             LENEXA             KS   66219‐9604
AIG VANTAGE CAPITAL LP                 24331 SHERWOOD                                                                                                               CENTER LINE        MI   48015‐1060
AIG VANTAGE CAPITAL LP                 425 SOVEREIGN RD                                                                                   LONDON ON N6M 1A3
                                                                                                                                          CANADA
AIG VANTAGE CAPITAL LP                 42600 MERRILL RD                                                                                                             STERLING HEIGHTS   MI   48314‐3242
AIG VANTAGE CAPITAL LP                 CURT CLAUSON                          42600 MERRILL RD                                                                       STERLING HEIGHTS   MI   48314‐3242
AIG VANTAGE CAPITAL LP                 CURT CLAUSON                          42600 MERRILL ST                                                                       EL PASO            TX   79935
AIG VANTAGE CAPITAL LP                 DAVE MOTYKA                           15260 COMMON RD                  (FORMERLY ZENITH                                      ROSEVILLE          MI   48066‐1810
                                                                                                              INDUSTRIAL)
AIG VANTAGE CAPITAL LP                 DAVE MOTYKA                           24331 SHERWOOD                   (FORMERLY AETNA                                       CENTER LINE        MI   48015‐1060
                                                                                                              INDUSTRIES )
AIG VANTAGE CAPITAL LP                 JON HARTZ                             24331 SHERWOOD AVENUE                                                                  TOLEDO             OH
AIG VANTAGE CAPITAL LP                 RICK SUTTER                           15260 COMMON RD.                                             MISSISSAUGA ON CANADA
AIGBE ENABULELE                        2305 WEST BOSTON BOULEVARD                                                                                                   DETROIT            MI   48206‐3017
AIGNER, FRIEDRICH K                    425 PINEWOOD LAKE DR                                                                                                         VENICE             FL   34285‐5680
AIHCE 2007/EXPERIENT                   568 ATRIUM DR                                                                                                                VERNON HILLS       IL   60061‐1731
AIHUA LUO                              99 CRESTFIELD AVE                                                                                                            TROY               MI   48085‐4782
AII AUTOMOTIVE INDUSTRIES CANADA       375 BASALTIC RD                                                                                    CONCORD CANADA ON L4K
                                                                                                                                          4W8 CANADA
AIIM                                   THE ECM ASSOCIATION                    1100 WAYNE AVE STE 1100                                                               SILVER SPRING      MD   20910‐5616
AIJAS SHERWANI                         A MINOR BY & THROUGH HIS MOTHER        ATTN: ROGER S BRAUGH JR/DAVID E SICO, WHITE, HOELSCHER &    802 N CARANCAHUA, SUITE   CORPUS CHRISTI     TX   78470
                                       MELISSA SHERWANI                       HARRIS                          BRAUGH, LLP                 900
AIJAS SHERWANI BY & THROUGH HIS        C/O ROGER S BRAUGH JR / DAVID E HARRIS SICO WHITE HOELSCHER & BRAUGH 802 N CARANCAHUA SUITE                                  CORPUS CHRISTI     TX   78470
MOTHER MELISSA SHERWANI                                                       LLP                             900
AIKATERINI SKOYRLETON                  715 FAIRFIELD CIRCLE                                                                                                         MINNETONKA         MN   55305
AIKEN COUNTY TAX COLLECTOR             PO BOX 873                                                                                                                   AIKEN              SC   29802‐0873
AIKEN JR, LYELL W                      6643 LINCOLN AVE                                                                                                             LOCKPORT           NY   14094‐6156
AIKEN NUNN ELLIOTT & TYLER PA          181 E EVANS ST                                                                                                               FLORENCE           SC   29506‐2511
AIKEN SCHENK HAWKINS & RICCARDI P.C.   ATT: BARBARA LEE CALDWELL              ATTY FOR MARICOPA COUNTY        4742 NORTH 24TH STREET,                               PHOENIX            AZ   85016
                                                                                                              SUITE 100
AIKEN SR, JAMES B                      139 DICKINSON DR                                                                                                             SHELTON            CT   06484‐1675
AIKEN, ALBERT D                        3826 BOEING DR                                                                                                               SAGINAW            MI   48604‐1806
AIKEN, AVA                             23541 RADCLIFT ST                                                                                                            OAK PARK           MI   48237‐2480
AIKEN, BILLY                           8212 DETROIT ST                                                                                                              MOUNT MORRIS       MI   48458‐1302
AIKEN, BLAINE C                        3350 1ST AVE                                                                                                                 RACINE             WI   53402‐3849
AIKEN, BRIAN                           13628 12TH AVENUE NORTHWEST                                                                                                  MARYSVILLE         WA   98271‐7029
AIKEN, CAROL E                         130 CAMP CREEK DR                                                                                                            STOCKBRIDGE        GA   30281‐4092
AIKEN, CARY R                          1007 COURTENAY DR NE                                                                                                         ATLANTA            GA   30306‐3329
AIKEN, DANIEL                          326 SHEPARD AVE                                                                                                              KENMORE            NY   14217‐1829
AIKEN, DAVID E                         8371 FOSTORIA RD                                                                                                             FOSTORIA           MI   48435‐9730
AIKEN, DAVID EUGENE                    8371 FOSTORIA RD                                                                                                             FOSTORIA           MI   48435‐9730
AIKEN, DAVID L                         7017 NORTH CLIO ROAD                                                                                                         MOUNT MORRIS       MI   48458‐8252
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Name                   Address1                      Address2               Address3         Address4               City             State Zip
AIKEN, DAVID L         579 LOREWOOD GROVE RD                                                                        MIDDLETOWN        DE 19709‐9233
AIKEN, DAVID LEE       7017 NORTH CLIO ROAD                                                                         MOUNT MORRIS      MI 48458‐8252
AIKEN, DAVID V         6 STORER STREET                                                                              GUYSVILLE         OH 45735
AIKEN, ERIC V          426 WINGED FOOT DR                                                                           MCDONOUGH         GA 30253‐4251
AIKEN, GERALDINE M     4824 NW 19TH ST                                                                              OCALA             FL 34482‐8560
AIKEN, HENRY E         35 ARUNDEL RD                                                                                BUFFALO           NY 14216‐2001
AIKEN, IRENE H         1172 SHARON RIDGE RD                                                                         FAIRVIEW          NC 28730‐7750
AIKEN, JAMES L         18704 BLAKELY DR                                                                             WOODHAVEN         MI 48183‐4446
AIKEN, JAMES L         10512 W EDGEWOOD DR                                                                          SUN CITY          AZ 85351‐1612
AIKEN, KALVIN B        2282 LATHRUP CONV TO TRS                                                                     DETROIT           MI 48228
AIKEN, KATHLEEN M      C/O RANDALL AIKEN             339 PERU ST                                                    N LAWRENCE        NY 12967
AIKEN, KATHLEEN M      5 CENTER STREET                                                                              ST REGIS FLS      NY 12980‐2205
AIKEN, LAURA           245 N. UNION RD.                                                                             DAYTON            OH 45427‐1512
AIKEN, LAURA           245 N UNION RD                                                                               DAYTON            OH 45427‐1512
AIKEN, LEROY B         6245 TITAN RD                                                                                MOUNT MORRIS      MI 48458
AIKEN, MARGIE L        4063 BROWNLEE DR                                                                             TUCKER            GA 30084‐6114
AIKEN, MARJORIE F      18464 MANORWOOD E                                                                            CLINTON TOWNSHIP MI 48038‐4823

AIKEN, MARLENE         429 BRISTOL LN                                                                               CLARKSTON        MI   48348‐2319
AIKEN, MICHAEL E       268 GLENDOLA AVE NW                                                                          WARREN           OH   44483‐1247
AIKEN, MYRTLE F        8205 N VASSAR RD                                                                             MOUNT MORRIS     MI   48458‐9760
AIKEN, NANCY E         PO BOX 27                                                                                    GUYSVILLE        OH   45735‐0027
AIKEN, NANCY M         3800 RISHER RD SW                                                                            WARREN           OH   44481‐9177
AIKEN, NEIL A          3466 HOGAN DR NW                                                                             KENNESAW         GA   30152‐2506
AIKEN, NORMA LOU       137 FOREST LAKE DR                                                                           COCOA            FL   32926‐3171
AIKEN, RANDALL N       PERU ST.                                                                                     NORTH LAWRENCE   NY   12967
AIKEN, RICHARD E       3333 RAVENSWOOD RD LOT 72                                                                    MARYSVILLE       MI   48040‐1162
AIKEN, RICKY E         185 MINERAL SPRINGS LN.                                                                      JACKSBORO        TN   37757‐7757
AIKEN, ROBERT C        4824 NW 19TH ST                                                                              OCALA            FL   34482‐8560
AIKEN, ROBERT L        18464 MANORWOOD E                                                                            CLINTON TWP      MI   48038‐4823
AIKEN, ROBERT P        3652 INVERNESS ST                                                                            DEXTER           MI   48130‐1432
AIKEN, SHARON K        10562 HARTLAND RD                                                                            FENTON           MI   48430‐8704
AIKEN, SHEILA W        407 W 21ST ST                                                                                WILMINGTON       DE   19802
AIKEN, THOMAS Y        1415 WHITEHALL BLVD                                                                          WINTER SPRINGS   FL   32708‐6415
AIKEN, WILLIAM H       834 PLEASANT DR NW                                                                           WARREN           OH   44483‐1265
AIKENS, ANDREW L       409 CALIBRE BROOKE WAY SE                                                                    SMYRNA           GA   30080‐2986
AIKENS, BARBARA        24426 ALEXANDRIA AVE                                                                         HARBOR CITY      CA   90710‐1810
AIKENS, BRENDA G       2501 E SUMMERVIEW DR                                                                         MUNCIE           IN   47303‐1579
AIKENS, CHARLES W      656 REISINGER RDAD                                                                           TWINING          MI   48766
AIKENS, DONALD J       220 E SIDNEY RD                                                                              STANTON          MI   48888‐8909
AIKENS, ELMER          24426 ALEXANDRIA AVE                                                                         HARBOR CITY      CA   90710‐1810
AIKENS, GERALD H       701 LOUISA ST                                                                                IONIA            MI   48846‐1169
AIKENS, HELEN L        3332 E 112TH ST                                                                              CLEVELAND        OH   44104‐5708
AIKENS, HERBERT C      2991 ALAN DR RTE 10                                                                          MARIETTA         GA   30064
AIKENS, INEZ M         4587 KIRK RD APT 12                                                                          AUSTINTOWN       OH   44515‐5318
AIKENS, JAMES L        712 BOYD RD                                                                                  SUWANEE          GA   30024
AIKENS, JEAN L         409 CALIBRE BROOKE WAY SE                                                                    SMYRNA           GA   30080‐2986
AIKENS, JOHN M         131 OFFICERS LN                                                                              FALLING WATERS   WV   25419‐7029
AIKENS, MARGARET E     17 LEONARDINE AVE                                                                            SOUTH RIVER      NJ   08882‐2437
AIKENS, QUEEN          2882 FREEDOM TRL                                                                             REYNOLDSBURG     OH   43068‐3925
AIKENS, RICHARD P      5124 GRAHAM RD                                                                               MIDDLEPORT       NY   14105‐9612
AIKENS, RODNEY K       555 QUAINT SWAN DALE DR                                                                      MARTINSBURG      WV   25404‐1295
AIKENS, RODNEY KEITH   555 QUAINT SWAN DALE DR                                                                      MARTINSBURG      WV   25404‐1295
AIKENS, SHANONN N      1404 NEW YORK AVENUE                                                                         LANSING          MI   48906‐4538
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Name                           Address1                            Address2                        Address3                    Address4                      City            State   Zip
AIKENS, WALTER                 478 BRANDING IRON DRIVE                                                                                                       GALLOWAY         OH     43119‐9799
AIKIDO OF CINCINNATI           FREKING & BETZ                      215 E 9TH ST FL 5                                                                         CINCINNATI       OH     45202‐2146
AIKIDO OF CINCINNATI           WAITE SCHNEIDER BAYLESS & CHESLEY   1513 CENTRAL TRUST TOWER                                                                  CINCINNATI       OH     45202
AIKIN SR, STEPHEN D            7409 S 500 W                                                                                                                  RUSHVILLE        IN     46173‐7379
AIKIN, ARTHUR L                15 FOXWOOD DR                                                                                                                 SAGINAW          MI     48638‐7383
AIKIN, EVELYN J                7785 RIDGE RD                                                                                                                 GASPORT          NY     14067‐9424
AIKIN, FRANK W                 400 DUNCAN AVE APT 407                                                                                                        CHEBOYGAN        MI     49721‐2158
AIKIN, GORDON D                2054 E WHITE LAKE DR                                                                                                          TWIN LAKE        MI     49457
AIKIN, HARVEY J                PO BOX 287                          6351 11TH ST                                                                              OTTER LAKE       MI     48464‐0287
AIKIN, JAMES R                 11545 NORTH PABASHAN TRL                                                                                                      CHARLEVOIX       MI     49720
AIKIN, LARENA ALICE            56 E SUNNY ACRES S                                                                                                            ROME CITY        IN     46784
AIKIN, LINDA E                 7051 TAPPON DR                                                                                                                CLARKSTON        MI     48346
AIKIN, ROBERT C                5657 MURPHY RD                                                                                                                LOCKPORT         NY     14094‐9280
AIKIN, ROBERT M                981 CAPULIN RD                                                                                                                LOS ALAMOS       NM     87544‐2842
AIKINS MACAULAY & THORVALDSO   360 MAIN ST 30TH FL                                                                             WINNIPEG CANADA MB R3C
                                                                                                                               4G1 CANADA
AIKINS SR., ANDREW M           115 WESTGATE DR                                                                                                               NEWTON FALLS    OH      44444‐8763
AIKINS SR., ANDREW M           223 14TH STREET                                                                                                               NILES           OH      44446‐4323
AIKINS, BONNIE                 361 SOUTHCREEK DR S                                                                                                           INDIANAPOLIS    IN      46217‐5087
AIKINS, GEORGE L               361 SOUTHCREEK DR S                                                                                                           INDIANAPOLIS    IN      46217‐5087
AIKINS, JAMES E                21 BRENTWOOD BLVD.                                                                                                            NILES           OH      44446‐3227
AIKINS, JEAN L                 241 FAIRFIELD AVE                                                                                                             TONAWANDA       NY      14223‐2847
AIKINS, KAREN E                21 BRENTWOOD BLVD                                                                                                             NILES           OH      44446‐3227
AIKMAN, BERNICE A              7819 BOHMS RD                                                                                                                 IMLAY CITY      MI      48444‐8947
AIKMAN, BERNICE A              7819 BOHMS ROAD                                                                                                               IMLAY CITY      MI      48444‐8947
AIKMAN, CHARLES                WILENTZ GOLDMAN & SPITZER           88 PINE STREET, WALL STREET PLAZA                                                         NEW YORK        NY      10005
AIKMAN, CHARLES R              ATTN LYNNE KIZIS ESQ                WILENTZ GOLDMAN AND SPITZER       90 WOODBRIDGE CENTER DR                                 WOODBRIDGE      NJ      07095

AIKMAN, DAVID E                PO BOX 57                                                                                                                     ATTICA          MI      48412‐0057
AIKMAN, GLENDA F               5023 SHIELDS RD                                                                                                               LEWISBURG       OH      45338
AIKMAN, GRACE                  11551 29 MILE RD                                                                                                              WASHINGTON      MI      48095‐2815
AIKMAN, LAVAN R                8141 GUADALUPE RD                                                                                                             ARLINGTON       TX      76002‐4202
AIKMAN, WILLIAM F              4477 HEDGETHORN CIR                                                                                                           BURTON          MI      48509‐1248
AIKOKU ALPHA CORP              4‐1 HONGOJUICHI MORIKAMI                                                                        NAKASHIMA‐GUN AICHI JP 495‐
                                                                                                                               8501 JAPAN
AIKOKU ALPHA CORP              520 LAKE COOK RD STE 180                                                                                                      DEERFIELD        IL     60015‐4900
AIKOKU ALPHA CORP              4‐1 HONGOJUICHI MORIKAMI            SOBUECHO                                                    NAKASHIMA‐GUN AICHI 495‐
                                                                                                                               8501 JAPAN
AILA, RAJASEKHAR R             19770 YVONNE DR                                                                                                               MACOMB          MI      48044‐6316
AILEEN ALBEA                   1004 MARTIN DRIVE                                                                                                             ANDERSON        IN      46012‐4153
AILEEN BAILEY                  1208 LAUREL AVE                                                                                                               YPSILANTI       MI      48198‐3177
AILEEN BALLARD                 20 WALLINGFORD DR                                                                                                             PLATTE CITY     MO      64079‐9604
AILEEN BLISS                   5825 GRAND RIVER DR NE                                                                                                        ADA             MI      49301‐9651
AILEEN COX                     PO BOX 612                                                                                                                    ATLANTA         MI      49709‐0612
AILEEN DOWNING                 2033 ARBUTUS ST                                                                                                               JANESVILLE      WI      53546‐6158
AILEEN DURST                   3370 BROCKPORT SPENCERPORT RD                                                                                                 SPENCERPORT     NY      14559‐2168
AILEEN GOINS                   425 N HARRIS RD APT 3                                                                                                         YPSILANTI       MI      48198‐4137
AILEEN HARTLEROAD              1206 S PLATE ST                                                                                                               KOKOMO          IN      46902‐1857
AILEEN HILLMAN                 103 W TENNYSON AVE                                                                                                            PONTIAC         MI      48340‐2673
AILEEN HOP                     6696 N WENTWARD CT                                                                                                            HUDSONVILLE     MI      49426‐9250
AILEEN J JONES                 80 WESLEY CT                                                                                                                  SPRINGBORO      OH      45066‐7461
AILEEN JONES                   254 BRONWOOD ST.                                                                                                              NEW LEBANON     OH      45345‐1304
AILEEN JONES                   80 WESLEY CT                                                                                                                  SPRINGBORO      OH      45066‐7461
AILEEN KANGAS                  PO BOX 216                                                                                                                    ATLANTIC MINE   MI      49905‐0216
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Name                             Address1                          Address2                        Address3   Address4               City             State   Zip
AILEEN LINDSTROM                 2117 KINNROW AVE NW                                                                                 WALKER            MI     49534‐1277
AILEEN LITTLE                    210 24TH ST APT 704                                                                                 CATLETTSBURG      KY     41129‐1255
AILEEN LONKEY                    COUNTY RTE BOX 226‐1076 # 4                                                                         FORT COVINGTON    NY     12937
AILEEN MAIN                      9040 COPPER RIDGE DR                                                                                DAVISON           MI     48423‐8652
AILEEN MOORE                     11649 SW 75TH CIR                                                                                   OCALA             FL     34476‐9434
AILEEN R. EPSTEIN WHITMAN        C/O DAVID J STEINBERG             PO BOX 2280                                                       BALA CYNWYD       PA     19004
AILEEN RICHARDS                  7026 CHARING CT                                                                                     DAYTON            OH     45424‐2908
AILEEN RYAN                      814 BOSTON DR                                                                                       KOKOMO            IN     46902‐4992
AILEEN SCOTT                     605 HIGDON FERRY RD APT 106                                                                         HOT SPRINGS       AR     71913‐6117
AILEEN SMITH                     1450 COUPLER WAY APT 3                                                                              SPARKS            NV     89434‐9101
AILEEN SPARKS                    5660 CHESAPEAKE WAY                                                                                 FAIRFIELD         OH     45014‐3874
AILEEN STORY                     3147 2ND CT                                                                                         OXFORD            WI     53952‐9395
AILEEN TALISON                   30815 SCRIVO DR                                                                                     WARREN            MI     48092‐4961
AILEEN TATE                      2521 PENNINGTON DR                                                                                  WILMINGTON        DE     19810‐4709
AILEEN TAYLOR‐SPENCE             PO BOX 90695                                                                                        BURTON            MI     48509‐0695
AILEEN VADEN                     1808 COLONIAL VILLAGE WAY APT 3                                                                     WATERFORD         MI     48328‐1926
AILEEN WALLIS                    1881 LONG BOAT DR                                                                                   LAKELAND          FL     33810‐5732
AILEEN WRAY                      1015 MADDEN LN APT 114                                                                              ROSEVILLE         CA     95661‐4443
AILEENE MCELYEA                  3707 AACHEN ST                                                                                      SARASOTA          FL     34234‐5405
AILEENE W MCELYEA                3707 AACHEN                                                                                         SARASOTA          FL     34234‐5405
AILENE GUNTER                    7632 TORTUGA DR                                                                                     DAYTON            OH     45414‐1750
AILENE HAMPTON                   10906 DAGGET RD                                                                                     HOWARD CITY       MI     49329‐9551
AILENE HUSEN                     6930 SHERIDAN RD                                                                                    SAGINAW           MI     48601‐9767
AILENE MULHERN                   524 ADELINE AVE                                                                                     VANDALIA          OH     45377‐1802
AILENE PRIVETT                   1470 HEATHEN RIDGE RD                                                                               CRITTENDEN        KY     41030‐8469
AILENE ROSSMAN                   9106 SCENIC WAY                                                                                     OXFORD            MI     48371‐6268
AILENE TERRY                     6088 HIGHWAY 135 N                                                                                  PARAGOULD         AR     72450‐9387
AILENE W MULHERN                 524 ADELINE AVE                                                                                     VANDALIA          OH     45377
AILES, CHRIS A                   4606 W COUNTY ROAD 1275 N                                                                           MUNCIE            IN     47303‐9691
AILES, KITTI L                   31824 HIGHWAY 104 S                                                                                 REAGAN            TN     38368‐6273
AILES, ROBERT                    250 CORTVIEW DR                                                                                     CORTLAND          OH     44410‐1404
AILES, ROBERT J                  C/O FLORENCE AILES                590 VANDERVEEN DR                                                 MASON             MI     48854‐1959
AILEY ASHER                      AILEY, ASHER                      135 MAIN ST 128                                                   SOUTH AMBOY       NJ     08879
AILI ANDREN                      1800 SOUTH DRIVE RM# W1                                                                             LAKE WORTH        FL     33461
AILI HARJU                       8940 MIGUEL PL APT 203                                                                              PORT RICHEY       FL     34668‐5970
AILIAN LLC                       DBA COUNTY PENNYSAVER             41 S MAIN ST                                                      NORWOOD           NY     13668‐1411
AILIFF, BARBARA J                804 PIPERS LN                                                                                       COLUMBUS          OH     43228‐3273
AILING GEORGE (442915)           BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                     NORTHFIELD        OH     44067
                                                                   PROFESSIONAL BLDG
AILING JIM (442916)              BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                     NORTHFIELD       OH      44067
                                                                   PROFESSIONAL BLDG
AILING, CHARLES W                4479 BEACH RIDGE RD                                                                                 LOCKPORT         NY      14094‐9619
AILING, GEORGE                   BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD, BEVAN                                      NORTHFIELD       OH      44067
                                                                   PROFESSIONAL BLDG
AILING, HAROLD F                 20 GLENRIDGE RD                                                                                     EAST AURORA       NY     14052‐2622
AILING, LINDA E                  20 GLENRIDGE RD                                                                                     EAST AURORA       NY     14052
AILING, PAULINE L                1408 WEAVER PKWY                                                                                    NORTH             NY     14120‐2532
                                                                                                                                     TONAWANDA
AILINGER, DAVID D                58 16TH AVE                                                                                         NORTH             NY     14120‐3220
                                                                                                                                     TONAWANDA
AILINGER, DOROTHY S              253 WELLINGTON AVE                                                                                  BUFFALO           NY     14223‐2515
AILINGER, GARY J                 97 BRAMBLE RD                                                                                       WILLIAMSVILLE     NY     14221‐1745
AILLET, FENNER, JOLLY, & MCCLE   1055 LOUISIANA AVE                                                                                  SHREVEPORT        LA     71101‐3905
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Name                                     Address1                       Address2                Address3       Address4               City         State Zip
AILLET, FENNER, JOLLY, & MCCLELLAND,     1055 LOUISIANA AVE                                                                           SHREVEPORT    LA 71101‐3905
INC.
AILLS MD                                 4448 OAKBRIDGE DR STE A                                                                      FLINT        MI   48532‐5484
AILLS RALPH (ESTATE OF)
AILLS RALPH (ESTATE OF) (450646)         PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
AILLS RALPH (ESTATE OF) (450646) ‐ ALLEN PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
LYNDOL
AILLS RALPH (ESTATE OF) (450646) ‐ ALSIP PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
CHARLES
AILLS RALPH (ESTATE OF) (450646) ‐       PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
ANDERS TERRY
AILLS RALPH (ESTATE OF) (450646) ‐       PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
ANDERSON GARY
AILLS RALPH (ESTATE OF) (450646) ‐       PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
ARNWINE JOHN R
AILLS RALPH (ESTATE OF) (450646) ‐       PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
ASHLEY RICKY
AILLS RALPH (ESTATE OF) (450646) ‐       PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
BAXTER EDWARD C
AILLS RALPH (ESTATE OF) (450646) ‐ BEARD PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
BEN S
AILLS RALPH (ESTATE OF) (450646) ‐       PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
BEASLEY THOMAS EARL
AILLS RALPH (ESTATE OF) (450646) ‐       PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
BENNETT RONALD J
AILLS RALPH (ESTATE OF) (450646) ‐       PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
BLANKS DONALD WAYNE
AILLS RALPH (ESTATE OF) (450646) ‐ BOLES PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
DANIEL J
AILLS RALPH (ESTATE OF) (450646) ‐       PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
BRADFORD GARY D
AILLS RALPH (ESTATE OF) (450646) ‐       PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
BRADLEY JAMES LEO
AILLS RALPH (ESTATE OF) (450646) ‐       PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
BRADSHAW HORACE A
AILLS RALPH (ESTATE OF) (450646) ‐       PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
BRADSHAW JOSEPH NEAL
AILLS RALPH (ESTATE OF) (450646) ‐       PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
BRIDGES RALPH GRANT
AILLS RALPH (ESTATE OF) (450646) ‐       PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
BROOKS CHARLES R
AILLS RALPH (ESTATE OF) (450646) ‐       PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
BROOKS GARY L
AILLS RALPH (ESTATE OF) (450646) ‐       PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
BUNCH EDWARD E
AILLS RALPH (ESTATE OF) (450646) ‐ BURKE PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
CHARLES F
AILLS RALPH (ESTATE OF) (450646) ‐ BURNS PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
JAMES VATH
AILLS RALPH (ESTATE OF) (450646) ‐       PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
BUTLER RICKEY B
AILLS RALPH (ESTATE OF) (450646) ‐       PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
CARMICAL ROBERT E
                                        09-50026-mg             Doc 7123-3    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit B
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Name                                      Address1                       Address2                Address3       Address4               City         State Zip
AILLS RALPH (ESTATE OF) (450646) ‐        PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH    PA 15219‐1945
CHANDLER DAVID
AILLS RALPH (ESTATE OF) (450646) ‐        PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
CHANDLER LARRY O
AILLS RALPH (ESTATE OF) (450646) ‐        PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
CHAPPELL RUDOLPH
AILLS RALPH (ESTATE OF) (450646) ‐ CHEEK PEIRCE, RAIMOND & COULTER PC    707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
JERRY D
AILLS RALPH (ESTATE OF) (450646) ‐ CHILDS PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
ROBERT
AILLS RALPH (ESTATE OF) (450646) ‐ CLARK PEIRCE, RAIMOND & COULTER PC    707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
CECIL E
AILLS RALPH (ESTATE OF) (450646) ‐ CLARK PEIRCE, RAIMOND & COULTER PC    707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
ROY E
AILLS RALPH (ESTATE OF) (450646) ‐ CLARK PEIRCE, RAIMOND & COULTER PC    707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
WAYNE
AILLS RALPH (ESTATE OF) (450646) ‐        PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
COFFEY GARY D
AILLS RALPH (ESTATE OF) (450646) ‐        PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
COGDILL DONALD L
AILLS RALPH (ESTATE OF) (450646) ‐        PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
COLEMAN LARRY
AILLS RALPH (ESTATE OF) (450646) ‐        PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
COOPER CARL L
AILLS RALPH (ESTATE OF) (450646) ‐        PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
COOPER DANNY D
AILLS RALPH (ESTATE OF) (450646) ‐        PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
COULTER ROBERT H
AILLS RALPH (ESTATE OF) (450646) ‐        PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
CRAVENS LEON J
AILLS RALPH (ESTATE OF) (450646) ‐ DAIVS PEIRCE, RAIMOND & COULTER PC    707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
ALVIN
AILLS RALPH (ESTATE OF) (450646) ‐        PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
DAMRON GARY W
AILLS RALPH (ESTATE OF) (450646) ‐ DAVIS PEIRCE, RAIMOND & COULTER PC    707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
BILL L
AILLS RALPH (ESTATE OF) (450646) ‐ DAVIS PEIRCE, RAIMOND & COULTER PC    707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
GEORGE O
AILLS RALPH (ESTATE OF) (450646) ‐ DAVIS PEIRCE, RAIMOND & COULTER PC    707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
JAMES MARLIN
AILLS RALPH (ESTATE OF) (450646) ‐        PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
DOBSON THOMAS RAY
AILLS RALPH (ESTATE OF) (450646) ‐ DODD PEIRCE, RAIMOND & COULTER PC     707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
LOGAN W
AILLS RALPH (ESTATE OF) (450646) ‐ DRURY PEIRCE, RAIMOND & COULTER PC    707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
JOHN C
AILLS RALPH (ESTATE OF) (450646) ‐        PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
DUGGAN JAMES R
AILLS RALPH (ESTATE OF) (450646) ‐        PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
DUHON ALFRED J
AILLS RALPH (ESTATE OF) (450646) ‐        PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
DUNSMORE WALTER J
AILLS RALPH (ESTATE OF) (450646) ‐        PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
DURDIN JOHN A
                                        09-50026-mg             Doc 7123-3    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit B
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Name                                      Address1                       Address2                Address3       Address4               City         State Zip
AILLS RALPH (ESTATE OF) (450646) ‐        PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH    PA 15219‐1945
FANTASKI DONALD B
AILLS RALPH (ESTATE OF) (450646) ‐        PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
FERREL RICHARD R
AILLS RALPH (ESTATE OF) (450646) ‐ FIELDS PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
WILSON K
AILLS RALPH (ESTATE OF) (450646) ‐ FLOOK PEIRCE, RAIMOND & COULTER PC    707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
OSCAR PHILMORE
AILLS RALPH (ESTATE OF) (450646) ‐        PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
FLUQENCE HOWARD
AILLS RALPH (ESTATE OF) (450646) ‐        PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
FRISBIE MARVIN B
AILLS RALPH (ESTATE OF) (450646) ‐        PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
FURCHES CHARLES S
AILLS RALPH (ESTATE OF) (450646) ‐        PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
GALBREATH HOWARD H
AILLS RALPH (ESTATE OF) (450646) ‐        PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
GLISSON JANELL DENNIS
AILLS RALPH (ESTATE OF) (450646) ‐ GOINS PEIRCE, RAIMOND & COULTER PC    707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
RAY
AILLS RALPH (ESTATE OF) (450646) ‐        PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
GOODLETT PHILLIP D
AILLS RALPH (ESTATE OF) (450646) ‐ HALL PEIRCE, RAIMOND & COULTER PC     707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
RANDALL LEE
AILLS RALPH (ESTATE OF) (450646) ‐        PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
HALLCOX JERRY L
AILLS RALPH (ESTATE OF) (450646) ‐        PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
HAMILTON LUCIEN B
AILLS RALPH (ESTATE OF) (450646) ‐        PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
HAMPTON DAVID L
AILLS RALPH (ESTATE OF) (450646) ‐        PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
HARDEN JOHN A
AILLS RALPH (ESTATE OF) (450646) ‐        PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
HARRIS BERNARD E
AILLS RALPH (ESTATE OF) (450646) ‐        PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
HARRIS JAMES ALLEN
AILLS RALPH (ESTATE OF) (450646) ‐        PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
HATCHER JAMES R
AILLS RALPH (ESTATE OF) (450646) ‐        PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
HAUAN EUGENE
AILLS RALPH (ESTATE OF) (450646) ‐        PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
HAYDEN EUGENE C
AILLS RALPH (ESTATE OF) (450646) ‐ HAYES PEIRCE, RAIMOND & COULTER PC    707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
RICHARD D
AILLS RALPH (ESTATE OF) (450646) ‐        PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
HEBERT JOSEPH GILBERT
AILLS RALPH (ESTATE OF) (450646) ‐        PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
HELTON DARRELL DWIGHT
AILLS RALPH (ESTATE OF) (450646) ‐ HORN PEIRCE, RAIMOND & COULTER PC     707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
MICHAEL LYNN
AILLS RALPH (ESTATE OF) (450646) ‐        PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
HOUSTON GEORGE R
AILLS RALPH (ESTATE OF) (450646) ‐        PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
HOWARD JESSE J
                                        09-50026-mg             Doc 7123-3    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit B
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Name                                      Address1                       Address2                Address3       Address4               City         State Zip
AILLS RALPH (ESTATE OF) (450646) ‐        PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH    PA 15219‐1945
HUDSON S. L.
AILLS RALPH (ESTATE OF) (450646) ‐ HUNT PEIRCE, RAIMOND & COULTER PC     707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
CHARLES WILLIAM
AILLS RALPH (ESTATE OF) (450646) ‐        PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
JACKSON GLENN E
AILLS RALPH (ESTATE OF) (450646) ‐        PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
JACOBS C A
AILLS RALPH (ESTATE OF) (450646) ‐        PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
JEFFERS JAMES B
AILLS RALPH (ESTATE OF) (450646) ‐        PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
JENKINS TONY A
AILLS RALPH (ESTATE OF) (450646) ‐        PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
JOHNSON BILL W
AILLS RALPH (ESTATE OF) (450646) ‐        PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
JOHNSON DARYL ELMOS
AILLS RALPH (ESTATE OF) (450646) ‐        PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
JOHNSON MIKE
AILLS RALPH (ESTATE OF) (450646) ‐        PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
JOHNSON SYLVESTER J
AILLS RALPH (ESTATE OF) (450646) ‐ JOINES PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
HAROLD D
AILLS RALPH (ESTATE OF) (450646) ‐ KARR PEIRCE, RAIMOND & COULTER PC     707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
FRANKIE G
AILLS RALPH (ESTATE OF) (450646) ‐ KEITH PEIRCE, RAIMOND & COULTER PC    707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
HERBERT L
AILLS RALPH (ESTATE OF) (450646) ‐        PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
KENNADA DANNY
AILLS RALPH (ESTATE OF) (450646) ‐        PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
KENNEDY ALAN
AILLS RALPH (ESTATE OF) (450646) ‐        PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
KERSEY RONALD H
AILLS RALPH (ESTATE OF) (450646) ‐ KING PEIRCE, RAIMOND & COULTER PC     707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
ALBERT
AILLS RALPH (ESTATE OF) (450646) ‐        PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
KITCHEN JERRY E
AILLS RALPH (ESTATE OF) (450646) ‐        PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
KNIGHT BOBBY R
AILLS RALPH (ESTATE OF) (450646) ‐        PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
LANDRY WILLIAM
AILLS RALPH (ESTATE OF) (450646) ‐ LANEY PEIRCE, RAIMOND & COULTER PC    707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
RONALD D
AILLS RALPH (ESTATE OF) (450646) ‐        PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
LANGSTON WILFORD E
AILLS RALPH (ESTATE OF) (450646) ‐        PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
LAWLEY CASPER LEE
AILLS RALPH (ESTATE OF) (450646) ‐        PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
LAWSON J. L.
AILLS RALPH (ESTATE OF) (450646) ‐ LEE    PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
MICHAEL D
AILLS RALPH (ESTATE OF) (450646) ‐        PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
LEMARR BILLY JOE
AILLS RALPH (ESTATE OF) (450646) ‐        PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
LEMASTER PAUL M
                                        09-50026-mg             Doc 7123-3    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit B
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Name                                      Address1                       Address2                Address3       Address4               City         State Zip
AILLS RALPH (ESTATE OF) (450646) ‐ LESTER PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH    PA 15219‐1945
MICHAEL G
AILLS RALPH (ESTATE OF) (450646) ‐        PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
LISTOPAD FRANCIS
AILLS RALPH (ESTATE OF) (450646) ‐ LOFTY PEIRCE, RAIMOND & COULTER PC    707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
LEON
AILLS RALPH (ESTATE OF) (450646) ‐ LOWE PEIRCE, RAIMOND & COULTER PC     707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
ROBBIE
AILLS RALPH (ESTATE OF) (450646) ‐        PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
LUCKETT JOE R
AILLS RALPH (ESTATE OF) (450646) ‐ LUXA PEIRCE, RAIMOND & COULTER PC     707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
KEITH
AILLS RALPH (ESTATE OF) (450646) ‐ MANN PEIRCE, RAIMOND & COULTER PC     707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
CHARLES L
AILLS RALPH (ESTATE OF) (450646) ‐        PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
MARTIN ROGER D
AILLS RALPH (ESTATE OF) (450646) ‐        PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
MCANLY CHARLIE
AILLS RALPH (ESTATE OF) (450646) ‐        PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
MCCALL WADE
AILLS RALPH (ESTATE OF) (450646) ‐        PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
MCKILLOP BRENDAN M
AILLS RALPH (ESTATE OF) (450646) ‐        PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
MCMURRAY DWIGHT L
AILLS RALPH (ESTATE OF) (450646) ‐        PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
MCMURRAY MICHAEL J
AILLS RALPH (ESTATE OF) (450646) ‐        PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
MELSON WILLIAM R
AILLS RALPH (ESTATE OF) (450646) ‐        PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
MELTON EDDIE C
AILLS RALPH (ESTATE OF) (450646) ‐        PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
MICHEL CHARLES L
AILLS RALPH (ESTATE OF) (450646) ‐        PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
MILLER RANDALL
AILLS RALPH (ESTATE OF) (450646) ‐        PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
MIRACLE DAVID L
AILLS RALPH (ESTATE OF) (450646) ‐        PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
MITCHELL ERNEST
AILLS RALPH (ESTATE OF) (450646) ‐        PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
MORRIS JEFFREY D
AILLS RALPH (ESTATE OF) (450646) ‐ MOSS PEIRCE, RAIMOND & COULTER PC     707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
AARON L
AILLS RALPH (ESTATE OF) (450646) ‐ MOSS PEIRCE, RAIMOND & COULTER PC     707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
THOMAS L
AILLS RALPH (ESTATE OF) (450646) ‐        PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
MYRICK ARNOLD C
AILLS RALPH (ESTATE OF) (450646) ‐ NEW PEIRCE, RAIMOND & COULTER PC      707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
FRANK L.
AILLS RALPH (ESTATE OF) (450646) ‐        PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
OLIPHANT JAMES S
AILLS RALPH (ESTATE OF) (450646) ‐ OODY PEIRCE, RAIMOND & COULTER PC     707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
ARTHUR LEE
AILLS RALPH (ESTATE OF) (450646) ‐        PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
PATTERSON DARYL G
                                       09-50026-mg             Doc 7123-3    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit B
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Name                                     Address1                       Address2                Address3       Address4               City         State Zip
AILLS RALPH (ESTATE OF) (450646) ‐ PAYNE PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH    PA 15219‐1945
JOHN P
AILLS RALPH (ESTATE OF) (450646) ‐       PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
PEYTON JOHN D
AILLS RALPH (ESTATE OF) (450646) ‐       PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
PHILLIPS MARION D
AILLS RALPH (ESTATE OF) (450646) ‐       PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
PITTMAN WILLIE E
AILLS RALPH (ESTATE OF) (450646) ‐ POE   PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
HARRY J
AILLS RALPH (ESTATE OF) (450646) ‐       PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
PRESTON ROBERT J
AILLS RALPH (ESTATE OF) (450646) ‐ REED PEIRCE, RAIMOND & COULTER PC    707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
JOHNNIE C
AILLS RALPH (ESTATE OF) (450646) ‐       PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
ROBERTS JESSIE D
AILLS RALPH (ESTATE OF) (450646) ‐       PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
ROBERTS STROTHER E
AILLS RALPH (ESTATE OF) (450646) ‐       PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
ROUSEY PHILLIP BRUCE
AILLS RALPH (ESTATE OF) (450646) ‐       PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
RUFFIN ARCHER L
AILLS RALPH (ESTATE OF) (450646) ‐ RUSH PEIRCE, RAIMOND & COULTER PC    707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
JESSE A
AILLS RALPH (ESTATE OF) (450646) ‐       PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
RUSSELL JOHN W
AILLS RALPH (ESTATE OF) (450646) ‐       PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
SANDERS EDWARD D
AILLS RALPH (ESTATE OF) (450646) ‐ SANZ PEIRCE, RAIMOND & COULTER PC    707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
TERRY L
AILLS RALPH (ESTATE OF) (450646) ‐       PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
SCARBROUGH CARL E
AILLS RALPH (ESTATE OF) (450646) ‐       PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
SELMAN ARTHUR
AILLS RALPH (ESTATE OF) (450646) ‐       PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
SHIRLEY JAMES R
AILLS RALPH (ESTATE OF) (450646) ‐       PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
SIMPSON DAVID B
AILLS RALPH (ESTATE OF) (450646) ‐       PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
SINEGAL HARRY P
AILLS RALPH (ESTATE OF) (450646) ‐ SMITH PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
GEORGE F
AILLS RALPH (ESTATE OF) (450646) ‐ SMITH PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
HUBERT
AILLS RALPH (ESTATE OF) (450646) ‐ SMITH PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
JOHN A
AILLS RALPH (ESTATE OF) (450646) ‐       PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
SNYDER HERMAN M
AILLS RALPH (ESTATE OF) (450646) ‐       PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
SNYDER JIMMY K
AILLS RALPH (ESTATE OF) (450646) ‐       PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
SOLOMON JIMMIE R
AILLS RALPH (ESTATE OF) (450646) ‐       PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
STANFIELD LLOYD G
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Name                                      Address1                       Address2                Address3       Address4               City         State Zip
AILLS RALPH (ESTATE OF) (450646) ‐ STEED PEIRCE, RAIMOND & COULTER PC    707 GRANT ST STE 2500                                         PITTSBURGH    PA 15219‐1945
WATSEY L
AILLS RALPH (ESTATE OF) (450646) ‐        PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
STEELMAN SHANE S
AILLS RALPH (ESTATE OF) (450646) ‐        PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
STEPHENS JIMMY R
AILLS RALPH (ESTATE OF) (450646) ‐        PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
STINNETT WALLACE
AILLS RALPH (ESTATE OF) (450646) ‐ TAPP PEIRCE, RAIMOND & COULTER PC     707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
RUSSELL B
AILLS RALPH (ESTATE OF) (450646) ‐        PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
TOLLEY FREDRICK D
AILLS RALPH (ESTATE OF) (450646) ‐ TON PEIRCE, RAIMOND & COULTER PC      707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
VACLAV ROBERT
AILLS RALPH (ESTATE OF) (450646) ‐ TRAVIS PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
BRICE
AILLS RALPH (ESTATE OF) (450646) ‐ TROUT PEIRCE, RAIMOND & COULTER PC    707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
DANNY D
AILLS RALPH (ESTATE OF) (450646) ‐ TRUE PEIRCE, RAIMOND & COULTER PC     707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
ROBERT M
AILLS RALPH (ESTATE OF) (450646) ‐        PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
TUGGLE BENNY H
AILLS RALPH (ESTATE OF) (450646) ‐        PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
TURNEY RAYMOND G
AILLS RALPH (ESTATE OF) (450646) ‐ TUSCH PEIRCE, RAIMOND & COULTER PC    707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
DAVID M
AILLS RALPH (ESTATE OF) (450646) ‐        PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
VEASEY WILLIAM F
AILLS RALPH (ESTATE OF) (450646) ‐ WALLS PEIRCE, RAIMOND & COULTER PC    707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
ROYCE DALE
AILLS RALPH (ESTATE OF) (450646) ‐        PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
WATKINS JOE R
AILLS RALPH (ESTATE OF) (450646) ‐        PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
WHEELER R. N.
AILLS RALPH (ESTATE OF) (450646) ‐ WHITT PEIRCE, RAIMOND & COULTER PC    707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
ROBERT D
AILLS RALPH (ESTATE OF) (450646) ‐        PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
WIDENER ROBERT D
AILLS RALPH (ESTATE OF) (450646) ‐        PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
WILDER JAMES R
AILLS RALPH (ESTATE OF) (450646) ‐ WILEY PEIRCE, RAIMOND & COULTER PC    707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
DAVID W
AILLS RALPH (ESTATE OF) (450646) ‐        PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
WILLIAMS ALBERT
AILLS RALPH (ESTATE OF) (450646) ‐        PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
WILLIAMS BUDDY E
AILLS RALPH (ESTATE OF) (450646) ‐        PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
WILLIAMS CLEMMY A
AILLS RALPH (ESTATE OF) (450646) ‐        PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
WILLIAMSON JAMES E
AILLS RALPH (ESTATE OF) (450646) ‐ WILLIS PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
JOHNNY R
AILLS RALPH (ESTATE OF) (450646) ‐        PEIRCE, RAIMOND & COULTER PC   707 GRANT ST STE 2500                                         PITTSBURGH   PA   15219‐1945
WILSON JOE A
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Name                                      Address1                        Address2                        Address3   Address4                 City               State Zip
AILLS RALPH (ESTATE OF) (450646) ‐ WOLD   PEIRCE, RAIMOND & COULTER PC    707 GRANT ST STE 2500                                               PITTSBURGH          PA 15219‐1945
DEWANE
AILLS RALPH (ESTATE OF) (450646) ‐        PEIRCE, RAIMOND & COULTER PC    707 GRANT ST STE 2500                                               PITTSBURGH         PA    15219‐1945
WOLIVER FRED L
AILLS RALPH (ESTATE OF) (450646) ‐        PEIRCE, RAIMOND & COULTER PC    707 GRANT ST STE 2500                                               PITTSBURGH         PA    15219‐1945
WOODRUM WILLIAM DENNY
AILLS RALPH (ESTATE OF) (450646) ‐        PEIRCE, RAIMOND & COULTER PC    707 GRANT ST STE 2500                                               PITTSBURGH         PA    15219‐1945
WYNNE JERRY E
AILLS, JOYCE                              7278 VERONA RD                                                                                      LEWISBURG          OH    45338‐8722
AILLS, LONNIE H                           3908 BELVO RD                                                                                       MIAMISBURG         OH    45342‐3939
AILLS, STEVEN W                           7278 VERONA RD                                                                                      LEWISBURG          OH    45338‐8722
AILOR, ERNEST W                           4111 E 200 S                                                                                        KOKOMO             IN    46902‐4276
AILOR, ETHEL M                            2900 N APPERSON WAY TRLR 323                                                                        KOKOMO             IN    46901‐1485
AILOR, HILDA L                            4111 E 200 S                                                                                        KOKOMO             IN    46902‐4276
AILOR, JAMES E                            860 NW 1501ST RD                                                                                    HOLDEN             MO    64040‐8412
AILOR, LITHER M                           4119 W BARBERRY LN                                                                                  PERU               IN    46970‐8982
AILOR, PHYLLIS D                          6212 JEFF CT                                                                                        KOKOMO             IN    46901‐3726
AILOR, ROBERT L                           1509 FORBES AVE                                                                                     PERU               IN    46970‐8703
AILSTOCK, ANNIE                           P.O.BOX 924                                                                                         LOWELL             NC    28098‐0924
AILSTOCK, ANNIE                           PO BOX 924                                                                                          LOWELL             NC    28098‐0924
AILSTOCK, MARY A                          1106 ROBINWOOD RD APT J                                                                             GASTONIA           NC    28054‐6656
AILSTOCK, MARY A                          1106‐ J ROBINWOOD RD.                                                                               GASTONIA           NC    28054‐6656
AILSTOCK, RALPH E                         277 HOWLAND WILSON RD SE                                                                            WARREN             OH    44484‐2505
AILSTOCK, ROBERT E                        7127 ROCKFORD ST                                                                                    PORTAGE            MI    49024‐4119
AILSWORTH, CHARLES E                      4516 CHEROKEE LN                                                                                    BLOOMFIELD HILLS   MI    48301‐1423
AIM
AIM ANALYTICAL LLC                        476 E RIVERVIEW AVE                                                                                 NAPOLEON           OH    43545‐1855
AIM CORPORATION                           1204 E MAPLE RD                                                                                     TROY               MI    48083‐2817
AIM EXEC HOLD/TOLEDO                      6605 WEST CENTRAL AVE.                                                                              TOLEDO             OH    43617
AIM HIGH INC                              128 EASTERN AVE                                                                                     CHELSEA            MA    02150
AIM LEASING                               5996 E. MALLOY                                                                                      SYRACUSE           NY    13221
AIM LEASING CO (LINCOLN)                  RAILROAD AVE                                                                                        ORLEANS            VT    05860
AIM LEASING CO (LINCOLN)                  101 STAIRWAY DR                                                                                     OLYPHANT           PA    18447
AIM LEASING CO (LINCOLN)                  73 GILBERT ST                                                                                       BUFFALO            NY    14206‐2948
AIM LEASING CO (LINCOLN)                  5996 E MOLLOY RD                                                                                    SYRACUSE           NY    13211‐2130
AIM LEASING CO (LINCOLN)                  2442 PECK SETTLEMENT RD                                                                             JAMESTOWN          NY    14701‐9296
AIM LEASING COMPANY                       1500 TRUMBULL AVE                                                                                   GIRARD             OH    44420‐3453
AIM NATIONAL LEASE                        921 SHERMAN ST                                                                                      AKRON              OH    44311‐2465
AIM NATIONALEASE                          25942 WOODLAWN AVE                                                                                  ELKHART            IN    46514‐3664
AIM NATIONALEASE                          1520 INDUSTRY DR                                                                                    BURLINGTON         NC    27215‐8910
AIM NATIONALEASE                          30TH & SMALLMAN ST                                                                                  PITTSBURGH         PA    15201
AIM RENT A CAR INC DBA BUDGET RAC         6971 NORWITCH DR                                                                                    PHILADELPHIA       PA    19153‐3405
AIM/BUDGET RENT‐A‐CAR                     35 HEMLOCK DRIVE                                                                                    HEMPSTEAD          NY    11550
AIMAN, KENNETH K                          6390 P G A DR                                                                                       NORTH FORT MYERS   FL    33917‐3288

AIMAN, MAX T                              6115 S 425 W                                                                                        PENDLETON           IN   46064‐9618
AIMAN, MAX TERRELL                        6115 S 425 W                                                                                        PENDLETON           IN   46064‐9618
AIMARK, TRAVERS LTD                       300 STEELCASE RD W UNIT 23                                                 MARKHAM CANADA ON L3R
                                                                                                                     2W2 CANADA
AIMCO                                     DIANA OCA╤A                     4582 S. ULSTER STREET PARKWAY                                       DENVER             CO
AIME REMY                                 RUE DURLET 44                                                              BE‐6180 COURCELLES,
                                                                                                                     BELGIUM
AIMEE HERNANDEZ                           1310 N MCCANN                                                                                       KOKOMO             IN    46901
AIMEE K LUNSFORD                          8859 EAGLEVIEW DR #11                                                                               WEST CHESTER       OH    45069
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Name                            Address1                         Address2              Address3                  Address4                City             State   Zip
AIMEE LAZZARONI                 1032 S WASHINGTON ST                                                                                     JANESVILLE        WI     53546‐5329
AIMEE M MCINTOSH                1833 S MONROE ST                                                                                         TILTON             IL    61833‐8209
AIMEE MARLOW                    208 E NORTH ST                                                                                           OWOSSO            MI     48867‐1821
AIMEE O'REILLY                  12031 PRINCEWOOD DR                                                                                      FENTON            MI     48430‐9651
AIMEE R LOUNSBERRY              527 S MARKET ST                                                                                          TROY              OH     45373‐3332
AIMEE ROCHELEAU                 4102 LONGWOOD DR                                                                                         FREDERICKSBRG     VA     22408‐2546
AIMERY JR, JAMES                1104 E HAZEL ST                                                                                          LANSING           MI     48912‐1614
AIMERY, VERNA G                 413 W SHERIDAN RD                                                                                        LANSING           MI     48906
AIMEY, REJEANNE                 12 NEWPORT ST # 3                                                                                        DORCHESTER        MA     02125
AIMONE, JEFFERY L               11519 FISHER RD                                                                                          BELLEVILLE        MI     48111‐2483
AIMONE, JEFFERY LOUIS           11519 FISHER RD                                                                                          BELLEVILLE        MI     48111‐2483
AIMS FAMILY PARTNERSHIP, LP     C/O DR IRA GOLD GP               145 OVERLOOK RD                                                         HASTINGS‐ON‐      NY     10706
                                                                                                                                         HUDSON
AIMS/DYKEMA GOSSETT PLLC        10 SOUTH WACKER DRIVE                                                                                    CHICAGO          IL      60606
AIMS/LATHROP & GAGE LC          2345 GRAND BLVD.                                                                                         KANSAS CITY      MO      64108
AIMS/STEPHENS & STEPHENS        410 MAIN STREET                                                                                          BUFFALO          NY      14202
AIMS/SULLIVAN & WORCESTER LLP   1290 AVENUE OF THE AMERICAS                                                                              NEW YORK         NY      10104
AIN CORP/SAN RAMON              3170 CROW CANYON PL STE 270      DBA CARSMART.COM                                                        SAN RAMON        CA      94583‐1157
AIN PLAST/SOUTHFIELD            22150 W 8 MILE RD                P.O. BOX 102                                                            SOUTHFIELD       MI      48033‐4442
AIN PLASTICS INC                22150 W 8 MILE RD                PO BOX 102                                                              SOUTHFIELD       MI      48033‐4442
AIN SIRVET                      152 MULBERRY ST                                                                                          ROCHESTER        NY      14620‐2418
AINA RUMPANS                    PO BOX 2071                                                                                              JANESVILLE       WI      53547‐2071
AINES ESTATE OF SHEILA A H      32120 MICHIGAN AVE                                                                                       WAYNE            MI      48184‐1419
AINES, ALICE A                  4509 S 14TH ST                                                                                           ST. JOSEPH       MO      64504
AINGSLEY, RUSSEL                PO BOX 1376                                                                                              DELTA JUNCTION   AK      99737‐1376
AINLEY, SANDRA K                314 HARBOUR POINTE DR                                                                                    BELLEVILLE       MI      48111‐4443
AINSCOUGH, CLAYTON              28838 KING RD                                                                                            ROMULUS          MI      48174‐9774
AINSCOUGH, GLEN H               11921 CAPE COD ST                                                                                        TAYLOR           MI      48180‐6207
AINSCOUGH, JEANETTE M           10200 BARAGA ST                                                                                          TAYLOR           MI      48180‐3731
AINSLEY, BRUCE D                338 EAST BROAD ST.                                                                                       NEWTON FALLS     OH      44444‐1711
AINSLEY, BRUCE D                338 E BROAD ST                                                                                           NEWTON FALLS     OH      44444‐1711
AINSLEY, CHARLES                9102 S PAXTON AVE                                                                                        CHICAGO          IL      60617‐3857
AINSLEY, CONNIE R               338 E. BROAD ST.                                                                                         NEWTON FALLS     OH      44444‐1711
AINSLEY, CONNIE R               338 E BROAD ST                                                                                           NEWTON FALLS     OH      44444‐1711
AINSLEY, FANNIE M               9102 S PAXTON AVE                                                                                        CHICAGO          IL      60617‐3857
AINSLEY, FANNIE M               9102 S. PAXTON AVE.                                                                                      CHICAGO          IL      60617‐3857
AINSLEY, LORENE C               45086 HARRIS RD                                                                                          BELLEVILLE       MI      48111‐8938
AINSLEY, MARK W                 567 FOWLER ST                                                                                            CORTLAND         OH      44410‐9770
AINSLEY, RAYMOND C              633 ROSEGARDEN DRIVE NORTHEAST                                                                           WARREN           OH      44484‐4484
AINSLEY, RAYMOND C              2563 EDGEWATER DR                                                                                        CORTLAND         OH      44410
AINSLEY, WAYNE K                403 WASHINGTON BLVD                                                                                      BROWNS MILLS     NJ      08015‐5436
AINSLIE AUTOMOTIVE              63 WATER ST N                                                                    CAMBRIDGE ON N1R 3B3
                                                                                                                 CANADA
AINSLIE, MARILYN M              7550 MORIAH AVE                                                                                          BROOKSVILLE       FL     34613‐5766
AINSWORTH ELECTRIC CO LTD       131 BERMONDSEY RD                                                                TORONTO ONT CANADA ON
                                                                                                                 M4A 1X4 CANADA
AINSWORTH INC                   131 BERMONDSEY RD                                                                TORONTO ON M4A 1X4
                                                                                                                 CANADA
AINSWORTH INC
AINSWORTH JR, STANLEY E         33 BEAVER CREEK DR SW                                                                                    WARREN           OH      44481‐9607
AINSWORTH WILLIAM ODELL         AINSWORTH, WANDA                 SULLIVAN DAVID L      523 COMMERCE STREET P O                           LAUREL           MS      39441‐4413
                                                                                       BOX 4413
AINSWORTH WILLIAM ODELL         AINSWORTH, WILLIAM ODELL         SULLIVAN DAVID L      523 COMMERCE STREET P O                           LAUREL           MS      39441‐4413
                                                                                       BOX 4413
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Name                             Address1                            Address2                    Address3                   Address4                City              State Zip
AINSWORTH WILLIAM ODELL          AINSWORTH, WANDA                    PITTMAN GERMANY ROBERTS &   410 SOUTH PRESIDENT STREET                         JACKSON            MS 39201
                                                                     WELSH LLP
AINSWORTH, ALLAN L               2314 PUTT LN                                                                                                       LAKELAND          FL   33810‐4333
AINSWORTH, BILLY                 GUY WILLIAM S                      PO BOX 509                                                                      MCCOMB            MS   39649‐0509
AINSWORTH, BRUCE                 109 AUDUBON POINT DRIVE                                                                                            BRANDON           MS   39047‐9047
AINSWORTH, CHARLES               PORTER & MALOUF PA                 4670 MCWILLIE DR                                                                JACKSON           MS   39206‐5621
AINSWORTH, CHRISTOPHER S         2515 S COTSWALD DR                                                                                                 SHREVEPORT        LA   71118‐4526
AINSWORTH, CHRISTOPHER STEPHEN   2515 S COTSWALD DR                                                                                                 SHREVEPORT        LA   71118‐4526
AINSWORTH, DAVID C               27 RIVER FOREST ST                                                                                                 ANDERSON          IN   46011‐1918
AINSWORTH, DENNIS S              3256 GREEN TERRACE RD                                                                                              SHREVEPORT        LA   71118‐2922
AINSWORTH, DENNIS STEPHEN        3256 GREEN TERRACE RD                                                                                              SHREVEPORT        LA   71118‐2922
AINSWORTH, DIANA                 293 MONTEGO COURT                                                                                                  ST. PETERS        MO   63376
AINSWORTH, DIANA                 293 MONTEGO CT                                                                                                     SAINT PETERS      MO   63376‐4127
AINSWORTH, DONELSON S            11475 DENTON HILL RD                                                                                               FENTON            MI   48430‐2525
AINSWORTH, FRANCIS               SHANNON LAW FIRM                   100 W GALLATIN ST                                                               HAZLEHURST        MS   39083‐3007
AINSWORTH, GAIL                  3256 GREEN TERRACE RD                                                                                              SHREVEPORT        LA   71118‐2922
AINSWORTH, GARY T                2925 PINE RIDGE DR                                                                                                 PEARL             MS   39208‐5225
AINSWORTH, GENEVIEVE L           54 CHESWOLD BLVD APT 314                                                                                           NEWARK            DE   19713‐4160
AINSWORTH, GENEVIEVE L           54 CHESWOLD BLVD                   APT 314                                                                         NEWARK            DE   19713‐4160
AINSWORTH, JACK L                C/O GOLDBERG HELLER ANTOGNOLI &    2227 S STATE ROUTE 157                                                          EDWARDSVILLE      IL   62025
                                 ROWLAND PC
AINSWORTH, JASON D               3206 WAGNER ST                                                                                                     SHREVEPORT        LA   71108‐3752
AINSWORTH, JOE                   SHANNON LAW FIRM                   100 W GALLATIN ST                                                               HAZLEHURST        MS   39083‐3007
AINSWORTH, JOHN D                9803 PENNINE CT                                                                                                    SHREVEPORT        LA   71118‐4841
AINSWORTH, JOHN DALE             9803 PENNINE CT                                                                                                    SHREVEPORT        LA   71118‐4841
AINSWORTH, KENNETH H             1124 ANDREW ST                                                                                                     CROWLEY           TX   76036‐2232
AINSWORTH, KENNETH R             1460 SCENIC LN                                                                                                     SEVEN HILLS       OH   44131‐3885
AINSWORTH, LARRY E               192 SHAYTOWN ROAD RFD 2                                                                                            VERMONTVILLE      MI   49096
AINSWORTH, LAURA T               41 LAMPLIGHTER ROAD                                                                                                PEARL             MS   39208‐3922
AINSWORTH, MARIAN R              15301 ROWENA AVE                                                                                                   MAPLE HEIGHTS     OH   44137‐4823
AINSWORTH, MARK                  SNYDER DENNIS H                    10751 S SAGINAW ST STE S                                                        GRAND BLANC       MI   48439‐8169
AINSWORTH, MARY J                628 N MAIN ST                                                                                                      ROYAL OAK         MI   48067‐1834
AINSWORTH, MATTHEW C             18065 HILLCREST DR                                                                                                 LAKE MILTON       OH   44429‐9728
AINSWORTH, RALPH W               882 COUNTY ROAD 130                                                                                                ATHENS            TN   37303‐6794
AINSWORTH, ROBERT A              5007 BROOKSIDE DR                                                                                                  COLUMBIA          TN   38401‐5059
AINSWORTH, ROBERT N              24104 CHARTER OAKS DRIVE APT 104                                                                                   DAVISON           MI   48423
AINSWORTH, URSA                  2741 136TH AVE 189                                                                                                 HOPKINS           MI   49328
AINSWORTH, URSA                  1230 GROVE DR                                                                                                      LEESBURGH         FL   34788‐8234
AINSWORTH, WANDA                 SULLIVAN DAVID L                   PO BOX 4413                                                                     LAUREL            MS   39441‐4413
AINSWORTH, WANDA                 PITTMAN GERMANY ROBERTS & WELSH    410 S PRESIDENT ST                                                              JACKSON           MS   39201
                                 LLP
AINSWORTH, WILLIAM L             23770 BROWNSTOWN SQUARE DR APT 201                                                                                 BROWNSTOWN TWP    MI   48174‐9360

AINSWORTH, WILLIAM ODELL         SULLIVAN DAVID L                    PO BOX 4413                                                                    LAUREL            MS   39441‐4413
AIOLOS ENGINEERING CORP          51 CONSTELLATION CT STE 200                                                                TORONTO CANADA ON M9W
                                                                                                                            1K4 CANADA
AION RISK SERVICES               SARAH MERENS                        1375 EAST 9TH STREET                                                           CLEVELAND         OH   44114
AION RISK SERVICES               JOSEPH CALLANAN                     3000 TOWN CTR               STE 3000                                           SOUTHFIELD        MI   48075‐1212
AIP PUNCH                        75 REMITTANCE DR DEPT 3024                                                                                         CHICAGO           IL   60675‐3024
AIPDN (AKA ISUZU)                16323 SHOEMAKER AVE                                                                                                CERRITOS          CA   90703‐2244
AIR & LIQ/ROCH HILL              1680 S LIVERNOIS RD STE 200                                                                                        ROCHESTER HILLS   MI   48307‐3381
AIR & LIQUID SYSTEMS INC         1680 S LIVERNOIS RD STE 200                                                                                        ROCHESTER HILLS   MI   48307‐3381
AIR & SEA PAK CO                 6170 MIDDLEBELT RD                                                                                                 ROMULUS           MI   48174‐4237
AIR & SEA PAK CO                                                     6170 MIDDLEBELT RD                                                             ROMULUS           MI   48174‐4237
                                       09-50026-mg             Doc 7123-3     Filed 09/24/10 Entered 09/24/10 15:05:32                        Exhibit B
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Name                                   Address1                           Address2                      Address3                  Address4                City                State Zip
AIR & WASTE MAMAGEMENT                 ATTN: GENERAL COUNSEL              ONE GATEWAY CENTER, 3RD FLOOR 420 FORT DUQUESNE BLVD.                           PITTSBURGH           PA 15222
ASSOCIATION
AIR & WASTE MANAGEMENT ASSN            C/O J LENNON FORD MOTOR CO         15201 CENTURY DR STE 602                                                        DEARBORN            MI   48120‐1232
AIR & WASTE MANAGEMENT ASSOC           1 GATEWAY CENTER 3RD FL                                                                                            PITTSBURGH          PA   15222
AIR ALPHA/CINCINNATI                   PO BOX 26130                                                                                                       CINCINNATI          OH   45226‐0130
AIR AMERICA CHARTER CO                 PO BOX 217                                                                                                         DUNDEE              MI   48131‐0217
AIR ANALYSIS INC                       3904 CLARKS CREEK RD                                                                                               PLAINFIELD          IN   46168‐1947
AIR APPLICATIONS INC                   PO BOX 15183                       9100 PURDUE RD STE 117                                                          EVANSVILLE          IN   47716‐0183
AIR APPLICATIONS INC                   645 W CARMEL DR                    STE 140                                                                         CARMEL              IN   46032‐2571
AIR AROMA AMERICA INC                  2801 FLORIDA AVE STE 18                                                                                            COCONUT GROVE       FL   33133‐1903
AIR AROMA AMERICA INC                  10025 KATELYN DR                                                                                                   CHARLOTTE           NC   28269‐8105
AIR BP CREDIT CARD PROCESSING CENTER   8650 COTEGE BLVD STE 205                                                                                           OVERLAND PARK       KS   66210

AIR CANADA                             BRAD BURROUGH                      1441‐50 BAY ST                                          TORONTO ON M5J 2X3
                                                                                                                                  CANADA
AIR CARE COLORADO                      5175 MARSHALL ST                                                                                                   ARVADA              CO   80002‐4628
AIR CARGO CORP                         440 MCCLELLAN HWY                                                                                                  BOSTON              MA   02128
AIR CARGO INTERNATIONAL INC            PO BOX 18461                                                                                                       NEWARK              NJ   07191‐8461
AIR CARGO TRANSIT INC                  SKY HARBOR INTNL AIRPORT           PO BOX 24280                                                                    PHOENIX             AZ   85074‐4280
AIR CASTER CORP                        2887 N WOODFORD ST                                                                                                 DECATUR             IL   62526‐4713
AIR CASTER CORP INC                    2887 N WOODFORD ST                                                                                                 DECATUR             IL   62526‐4713
AIR CASTER/DECATUR                     2887 N WOODFORD ST                                                                                                 DECATUR             IL   62526‐4713
AIR CENTER INC                         2175 STEPHENSON HWY                                                                                                TROY                MI   48083‐2136
AIR CENTER/ROYAL OAK                   2175 STEPHENSON HWY                                                                                                TROY                MI   48083‐2136
AIR CHEF HOLDINGS LLC                  6525 BUSCH BLVD STE 200                                                                                            COLUMBUS            OH   43229‐1796
AIR COMPAK INTERNATIONAL INC           2805 W NASA BLVD                                                                                                   MELBOURNE           FL   32904
AIR COMPAK/ROMULUS                     28265 BEVERLY RD                                                                                                   ROMULUS             MI   48174‐2403
AIR COMPONENTS & ENGINEERING I         1181 58TH ST SW                    PO BOX 9385                                                                     GRAND RAPIDS        MI   49509‐9536
AIR COMPONENTS & ENGINEERING INC       PO BOX 9385                        1181 58TH ST SW                                                                 GRAND RAPIDS        MI   49509‐0385

AIR CONDITIONING CO                    6265 SAN FERNANDO RD                                                                                               GLENDALE            CA   91201‐2214
AIR CONDITIONING COMPANY               6265 SAN FERNANDO RD                                                                                               GLENDALE            CA   91201‐2214
AIR CONDITIONING COMPANY, INC.         PAT GROVE                          6265 SAN FERNANDO RD                                                            GLENDALE            CA   91201‐2214
AIR CONTROL PRODUCTS INC               10035 BROADVIEW RD                                                                                                 CLEVELAND           OH   44147‐3216
AIR CRAFT ENVIRONMENTAL SYSTEM         120 POST AVE                                                                                                       HILTON              NY   14468‐8904
AIR CRAFT ENVIRONMENTAL SYSTEM         72 CASCADE DR                                                                                                      ROCHESTER           NY   14614
AIR CRAFT ENVIRONMENTAL SYSTEMS INC    120 POST AVE                                                                                                       HILTON              NY   14468‐8904

AIR DESIGN INC                         21199 HILLTOP ST                                                                                                   SOUTHFIELD          MI   48033‐4912
AIR DEVICE WAREHOUSE INC               10511 KING WILLIAM DR                                                                                              DALLAS              TX   75220‐2410
AIR DIMENSIONS INC                     1015 W NEWPORT CENTER DR STE 101                                                                                   DEERFIELD BEACH     FL   33442‐7707
AIR DRAULICS INC                       1275 WATERVILLE MONCLOVA RD                                                                                        WATERVILLE          OH   43566‐1067
AIR EQUP/LOUISVILLE                    PO BOX 3185                                                                                                        LOUISVILLE          KY   40201‐3185
AIR EXPRESS INTERNATIONAL              2860 COLLECTION CENTER DR                                                                                          CHICAGO             IL   60693‐0028
AIR EXPRESS/DARIEN                     120 TOKENEKE RD                    P.O. BOX 1231                                                                   DARIEN              CT   06820‐4825
AIR FIXTURES INC                       PO BOX 147                                                                                                         NORTH               IN   46962‐0147
                                                                                                                                                          MANCHESTER
AIR FORCE AID SOCIETY                  241 18TH ST S STE 202                                                                                              ARLINGTON           VA   22202‐3409
AIR FORCE ASSOCIATION‐AIR FEST         08 SUPPORT COMMITTEE               PO BOX 6245                   C/O NANCY J DRISCOLL                              MARCH AIR RESERVE   CA   92518‐0245
                                                                                                                                                          BASE
AIR FREIGHT CENTER INC                 1028 MEXICO CITY AVE                                                                                               KANSAS CITY         MO   64153‐1135
AIR FREIGHT DELIVERY SERVICE           PO BOX 7423                                                                                                        MONROE              LA   71211‐7423
AIR FREIGHT DELIVERY SERVICE‐1         118 ATOKA DR                                                                                                       WINCHESTER          VA   22502‐5804
AIR FREIGHT UNLIMITED INC              PO BOX 11837                                                                                                       SAINT PAUL          MN   55111‐0837
                                      09-50026-mg             Doc 7123-3    Filed 09/24/10 Entered 09/24/10 15:05:32            Exhibit B
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Name                                  Address1                        Address2                        Address3     Address4                  City            State   Zip
AIR GAGE CO                           12170 GLOBE ST                                                                                         LIVONIA          MI     48150‐1167
AIR GAGE/LIVONIA                      12170 GLOBE ST                                                                                         LIVONIA          MI     48150‐1167
AIR GOURMET INC                       3310 S ROBERTSON BLVD                                                                                  LOS ANGELES      CA     90034‐3310
AIR GROUND XPRESS INC                 PO BOX 438                                                                                             CLINTON          PA     15026‐0838
AIR GROUP INC                         7943 WOODLEY AVE                                                                                       VAN NUYS         CA     91406‐2854
AIR HANDLING EQUIPMENT CO             1809 LAKE LANSING RD                                                                                   LANSING          MI     48912‐3711
AIR HANDLING EQUIPMENT INC            1389 RIVERSIDE DR                                                                                      SIDNEY           OH     45365‐9155
AIR HYDRAULICS INC                    545 HUPP AVE                    PO BOX 831                                                             JACKSON          MI     49203‐1929
AIR HYDRO POWER INC                   159 AMBASSADOR DR                                                                                      BOWLING GREEN    KY     42101‐5373
AIR HYDRO POWER INC                   2550 BLANKENBAKER PKWY          UPATE CORRES PER LTR 10/14/04                                          LOUISVILLE       KY     40299‐2467
AIR IMPROVEMENT RESOURCE INC          47298 SUNNYBROOK LN STE 103                                                                            NOVI             MI     48374
AIR INT/ C/O ENG PLA                  2000 CHRISTIAN B HAAS DR        C/O ENGINEERED PLASTIC          COMPONENTS                             SAINT CLAIR      MI     48079‐5701
AIR INT/TROY                          1265 HARMON RD                                                                                         AUBURN HILLS     MI     48326‐1539
AIR INTER/MT STERLIN                  10500 ODAY HARRISON RD                                                                                 MT STERLING      OH     43143‐9474
AIR INTERNATIONAL                     BRECHA E‐99 NORTE LTS 2 Y 3                                                  REYNOSA TM 88780 MEXICO

AIR INTERNATIONAL (US) HOLDINGS INC   ATTN: JOE ADAMS, CFO            1265 HARMON RD                                                         AUBURN HILLS     MI     48326‐1539

AIR INTERNATIONAL (US) HOLDINGS INC   2711 CENTERVILLE RD STE 300                                                                            WILMINGTON       DE     19808

AIR INTERNATIONAL (US) HOLDINGS INC

AIR INTERNATIONAL (US) HOLDINGS INC                                   2711 CENTERVILLE RD STE 300                                            WILMINGTON       DE     19808

AIR INTERNATIONAL (US) HOLDINGS INC   1265 HARMON RD                                                                                         AUBURN HILLS     MI     48326‐1539

AIR INTERNATIONAL (US) HOLDINGS INC   1855 STEPHENSON HWY                                                                                    TROY             MI     48083‐2150

AIR INTERNATIONAL (US) HOLDINGS INC   2000 CHRISTIAN B HAAS DR                                                                               SAINT CLAIR      MI     48079‐5701

AIR INTERNATIONAL (US) HOLDINGS INC   3027 AIRPARK DR N                                                                                      FLINT            MI     48507‐3471

AIR INTERNATIONAL (US) HOLDINGS INC   3841 BUFFALO RD                                                                                        ROCHESTER        NY     14624‐1103

AIR INTERNATIONAL (US) HOLDINGS INC   3900 W URSULA AVE                                                                                      MCALLEN          TX     78503‐9006

AIR INTERNATIONAL (US) HOLDINGS INC   3995 INDUSTRIAL BLVD                                                         SHERBROOKE QC J1L 2S7
                                                                                                                   CANADA
AIR INTERNATIONAL (US) HOLDINGS INC   401 E 5TH ST                                                                                           PINCONNING       MI     48650‐9321

AIR INTERNATIONAL (US) HOLDINGS INC   515 E GYPSY LANE RD                                                                                    BOWLING GREEN   OH      43402‐8739

AIR INTERNATIONAL (US) HOLDINGS INC   575 WAYDOM DR RR 1                                                           AYR ON N0B 1E0 CANADA

AIR INTERNATIONAL (US) HOLDINGS INC   5835 GREEN POINTE DR S STE C                                                                           GROVEPORT       OH      43125‐2001

AIR INTERNATIONAL (US) HOLDINGS INC   750 FRANK YOST LN                                                                                      HOPKINSVILLE     KY     42240‐6820

AIR INTERNATIONAL (US) HOLDINGS INC   7751 W 70TH ST                                                                                         SHREVEPORT       LA     71129‐2205

AIR INTERNATIONAL (US) HOLDINGS INC   815 LOGAN ST                                                                                           GOSHEN           IN     46528‐3508

AIR INTERNATIONAL (US) HOLDINGS INC   850 WALWORTH ST                                                                                        WALWORTH         WI     53184‐9515
                                      09-50026-mg             Doc 7123-3    Filed 09/24/10 Entered 09/24/10 15:05:32                          Exhibit B
                                                                           Part 1 of 40 Pg 329 of 921
Name                                  Address1                        Address2                        Address3                   Address4                  City           State Zip
AIR INTERNATIONAL (US) HOLDINGS INC   AV LAS TORRES 905                                                                          GUADALUPE NL 67190 MEXICO

AIR INTERNATIONAL (US) HOLDINGS INC   BRECHA E‐99 NORTE LTS 2 Y 3                                                                REYNOSA TM 88780 MEXICO

AIR INTERNATIONAL (US) HOLDINGS INC   DAVE ROWE                       2000 CHRISTIAN B HAAS DR        C/O ENGINEERED PLASTIC                               SAINT CLAIR     MI   48079‐5701
                                                                                                      COMP
AIR INTERNATIONAL (US) HOLDINGS INC   DAVE ROWE                       3900 W URSULA AVE                                                                    MCHENRY         IL   60050

AIR INTERNATIONAL (US) HOLDINGS INC   DAVE ROWE                       7455 ATKINSON DR                C/O MODAS LLC                                        SHREVEPORT      LA   71129‐2805

AIR INTERNATIONAL (US) HOLDINGS INC   DAVE ROWE                       C/O CARO MANUFACTURING CORP     1075 S. COLLING ROAD                                 HOPKINSVILLE    KY   42240

AIR INTERNATIONAL (US) HOLDINGS INC   DAVE ROWE                       C/O ENGINEERED PLASTIC COMP     2000 CHRISTIAN B HAAS DR                             TULSA           OK   74106

AIR INTERNATIONAL (US) HOLDINGS INC   DAVE ROWE                       C/O MODAS LLC                   7455 ATKINSON DRIVE                                  FREMONT        OH    43420

AIR INTERNATIONAL (US) HOLDINGS INC   DAVE ROWE                       C/O MTI STRUCTURAL & TUBULAR S 401 EAST FIFTH STREET       OSTROW WIELKOPOLSKI
                                                                                                                                 POLAND (REP)
AIR INTERNATIONAL (US) HOLDINGS INC   DAVE ROWE                       C/O PREH ELECTRONICS INC        28850 CABOT DR STE 1300                              BEDFORD         IN   47421

AIR INTERNATIONAL (US) HOLDINGS INC   DAVE ROWE                       CAMOPLAST                       370 RUE DU MOULIN          AURORA ON CANADA

AIR INTERNATIONAL (US) HOLDINGS INC   DAVID ROWE                      10500 O'DAY HARRISON ROAD                                  DELTA BC CANADA

AIR INTERNATIONAL (US) HOLDINGS INC   DAVID ROWE                      13 INTERSTATE DR                C/O THERMOPOL INC                                    SOMERSWORTH    NH    03878‐1210

AIR INTERNATIONAL (US) HOLDINGS INC   DAVID ROWE                      19661 BROWNSTOWN CENTER DR      C/O CMAC TRANSPORTATION                              BROWNSTOWN      MI   48183‐1679
                                                                                                      LLC
AIR INTERNATIONAL (US) HOLDINGS INC   DAVID ROWE                      3027 AIRPARK DR N               C/O PROCESS DEVELOPMENT                              FLINT           MI   48507‐3471
                                                                                                      CORP
AIR INTERNATIONAL (US) HOLDINGS INC   DAVID ROWE                      C/O BEND ALL AUTOMOTIVE INC     575 WAYDOM DR RR 1                                   SALEM           IL   62881

AIR INTERNATIONAL (US) HOLDINGS INC   DAVID ROWE                      C/O CMAC TRANSPORTATION LLC     19661 BROWNSTOWN CENTER                              EL PASO         TX   79936
                                                                                                      DRIVE
AIR INTERNATIONAL (US) HOLDINGS INC   DAVID ROWE                      C/O DICEX INTERNATIONAL INC     8307 KILLAM INDUSTRIAL  EL MARQUES QA 76240
                                                                                                      BLVD                    MEXICO
AIR INTERNATIONAL (US) HOLDINGS INC   DAVID ROWE                      C/O PROCESS DEVELOPMENT CORP    3027 AIRPARK DRIVE                                   SOUTH LYON      MI   48178

AIR INTERNATIONAL (US) HOLDINGS INC   DAVID ROWE                      C/O SIEMENS VDO AUTOMOTIVE INC 1020 ADELAIDE ST S                                    COLUMBUS       OH    43228

AIR INTERNATIONAL (US) HOLDINGS INC   DAVID ROWE                      C/O T RAD NORTH AMERICA         750 YOST LANE                                        NASHVILLE       TN   37210

AIR INTERNATIONAL (US) HOLDINGS INC   DAVID ROWE                      C/O TOLEDO MOLDING & DIE        515 E. GYPSY LN                                      ELGIN           IL   60120

AIR INTERNATIONAL (US) HOLDINGS INC   DAVID ROWE                      C/O VAL TECH HOLDINGS LLC       3841 BUFFALO ROAD                                    MELVILLE        NY   11747

AIR INTERNATIONAL (US) HOLDINGS INC   DAVID ROWE                      C/O YAREMA DIE ENGINEERING      1855 STEPHENSON HWY                                  DENVER          CO   80216

AIR INTERNATIONAL (US) HOLDINGS INC   DAVID ROWE                      VALEO CLIMATE CONTROL           1100 E. BARACHEL LANE      KAUNAS LITHUANIA

AIR INTERNATIONAL (US) HOLDINGS INC   KASSELER STR 11                                                                            HANN MUENDEN NS 34346
                                                                                                                                 GERMANY
AIR INTERNATIONAL (US) HOLDINGS INC   KEVIN WILSON                    C/O GDC INC                     815 LOGAN STREET                                     CHICAGO         IL
                                      09-50026-mg             Doc 7123-3        Filed 09/24/10 Entered 09/24/10 15:05:32                        Exhibit B
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Name                                  Address1                              Address2                        Address3               Address4                  City            State Zip
AIR INTERNATIONAL (US) HOLDINGS INC   SAN JUAN DEL RIO #200                                                                        REYNOSA TM 88730 MEXICO

AIR INTERNATIONAL (US) INC            3900 W URSULA AVE                                                                                                      MCALLEN          TX   78503‐9006
AIR INTERNATIONAL (US) INC            401 E 5TH ST                                                                                                           PINCONNING       MI   48650‐9321
AIR INTERNATIONAL (US) INC            DAVE ROWE                             C/O MTI STRUCTURAL & TUBULAR S 401 EAST FIFTH STREET   OSTROW WIELKOPOLSKI
                                                                                                                                   POLAND (REP)
AIR INTERNATIONAL (US) INC            DAVE ROWE                             3900 W URSULA AVE                                                                MCHENRY          IL   60050
AIR INTERNATIONAL (US) INC.           DAVE ROWE                             CAMOPLAST                       370 RUE DU MOULIN      AURORA ON CANADA
AIR INTERNATIONAL INC                 2000 CHRISTIAN B HAAS DR                                                                                               SAINT CLAIR      MI   48079‐5701
AIR INTERNATIONAL INC                 3841 BUFFALO RD                                                                                                        ROCHESTER        NY   14624‐1103
AIR INTERNATIONAL INC                 3995 INDUSTRIAL BLVD                                                                         SHERBROOKE QC J1L 2S7
                                                                                                                                   CANADA
AIR INTERNATIONAL INC                 515 E GYPSY LANE RD                                                                                                    BOWLING GREEN   OH    43402‐8739
AIR INTERNATIONAL INC                 5835 GREEN POINTE DR S STE C                                                                                           GROVEPORT       OH    43125‐2001
AIR INTERNATIONAL INC                 7751 W 70TH ST                                                                                                         SHREVEPORT      LA    71129‐2205
AIR INTERNATIONAL INC                 AV LAS TORRES 905                                                                            GUADALUPE, NL 67190
                                                                                                                                   MEXICO
AIR INTERNATIONAL INC                 1265 HARMON RD                                                                                                         AUBURN HILLS    MI    48326‐1539
AIR INTERNATIONAL INC                 DAVID ROWE                            C/O VAL TECH HOLDINGS LLC      3841 BUFFALO ROAD                                 MELVILLE        NY    11747
AIR INTERNATIONAL INC                 DAVID ROWE                            C/O YAREMA DIE ENGINEERING     1855 STEPHENSON HWY                               DENVER          CO    80216
AIR INTERNATIONAL INC                 DAVE ROWE                             7455 ATKINSON DR               C/O MODAS LLC                                     SHREVEPORT      LA    71129‐2805
AIR INTERNATIONAL INC                 DAVE ROWE                             C/O MODAS LLC                  7455 ATKINSON DRIVE                               FREMONT         OH    43420
AIR INTERNATIONAL INC                 DAVID ROWE                            C/O TOLEDO MOLDING & DIE       515 E. GYPSY LN                                   ELGIN           IL    60120
AIR INTERNATIONAL INC                 DAVID ROWE                            C/O T RAD NORTH AMERICA        750 YOST LANE                                     NASHVILLE       TN    37210
AIR INTERNATIONAL INC                 DAVE ROWE                             C/O PREH ELECTRONICS INC       28850 CABOT DR STE 1300                           BEDFORD         IN    47421
AIR INTERNATIONAL INC                 DAVID ROWE                            3027 AIRPARK DR N              C/O PROCESS DEVELOPMENT                           FLINT           MI    48507‐3471
                                                                                                           CORP
AIR INTERNATIONAL INC                 DAVID ROWE                            C/O PROCESS DEVELOPMENT CORP 3027 AIRPARK DRIVE                                  SOUTH LYON      MI    48178
AIR INTERNATIONAL INC                 DAVID ROWE                            C/O SIEMENS VDO AUTOMOTIVE INC 1020 ADELAIDE ST S                                COLUMBUS        OH    43228
AIR INTERNATIONAL INC                 DAVID ROWE                            C/O BEND ALL AUTOMOTIVE INC    575 WAYDOM DR RR 1                                SALEM           IL    62881
AIR INTERNATIONAL INC                 DAVE ROWE                             C/O CARO MANUFACTURING CORP 1075 S. COLLING ROAD                                 HOPKINSVILLE    KY    42240
AIR INTERNATIONAL INC                 DAVID ROWE                            19661 BROWNSTOWN CENTER DR     C/O CMAC TRANSPORTATION                           BROWNSTOWN      MI    48183‐1679
                                                                                                           LLC
AIR INTERNATIONAL INC                 DAVID ROWE                            C/O CMAC TRANSPORTATION LLC    19661 BROWNSTOWN CENTER                           EL PASO          TX   79936
                                                                                                           DRIVE
AIR INTERNATIONAL INC                 DAVID ROWE                            C/O DICEX INTERNATIONAL INC    8307 KILLAM INDUSTRIAL   EL MARQUES QA 76240
                                                                                                           BLVD                     MEXICO
AIR INTERNATIONAL INC                 DAVE ROWE                             2000 CHRISTIAN B HAAS DR       C/O ENGINEERED PLASTIC                            SAINT CLAIR      MI   48079‐5701
                                                                                                           COMP
AIR INTERNATIONAL INC                 DAVE ROWE                             C/O ENGINEERED PLASTIC COMP    2000 CHRISTIAN B HAAS DR                          TULSA            OK   74106
AIR INTERNATIONAL INC                 KEVIN WILSON                          C/O GDC INC                    815 LOGAN STREET                                  CHICAGO          IL
AIR INTERNATIONAL INC                 KASSELER STR 11                                                                               HANN MUENDEN NS 34346
                                                                                                                                    GERMANY
AIR INTERNATIONAL INC                 815 LOGAN ST                                                                                                           GOSHEN           IN   46528‐3508
AIR INTERNATIONAL INC                 750 FRANK YOST LN                                                                                                      HOPKINSVILLE     KY   42240‐6820
AIR INTERNATIONAL INC                 7455 ATKINSON DR                                                                                                       SHREVEPORT       LA   71129‐2805
AIR INTERNATIONAL INC                 SAN JUAN DEL RIO #200                                                                        REYNOSA TM 88730 MEXICO

AIR INTERNATIONAL INC                 3027 AIRPARK DR N                                                                                                      FLINT            MI   48507‐3471
AIR INTERNATIONAL INC                 CARRETERA RIBERNA KM 9 PARQUE INDUS                                                          REYNOSA TM 88500 MEXICO

AIR INTERNATIONAL INC                 1855 STEPHENSON HWY                                                                                                    TROY             MI   48083‐2150
AIR INTERNATIONAL INC                 850 WALWORTH ST                                                                                                        WALWORTH         WI   53184‐9515
AIR INTERNATIONAL INC                 575 WAYDOM DR RR 1                                                                           AYR ON N0B 1E0 CANADA
                                       09-50026-mg              Doc 7123-3        Filed 09/24/10 Entered 09/24/10 15:05:32                             Exhibit B
                                                                                 Part 1 of 40 Pg 331 of 921
Name                                   Address1                               Address2                         Address3                   Address4                   City               State Zip
AIR INTERNATIONAL INC.                 DAVID ROWE                             10500 O'DAY HARRISON ROAD                                   DELTA BC CANADA
AIR INTERNATIONAL US INC               1265 HARMON RD                                                                                                                AUBURN HILLS       MI    48326‐1539
AIR INTTL/MTI                          1265 HARMON RD                                                                                                                AUBURN HILLS       MI    48326‐1539
AIR LAND SEA EXPRESS                   LAMBERT INTERNATIONAL AIRPORT          AMF 45006                                                                              SAINT LOUIS        MO    63145
AIR LIFT CO                            GARY VAN HALL X243                     2710 SNOW RD                                                                           STERLING HEIGHTS   MI    48312
AIR LIFT COMPANY                       2710 SNOW RD                                                                                                                  LANSING            MI    48917‐9595
AIR LIFT COMPANY                       GARY VAN HALL X243                     2710 SNOW RD                                                                           STERLING HEIGHTS   MI    48312
AIR LIQUID SYSTEMS INC                 315 FIRE STATION ROAD                                                                                                         FORBES ROAD        PA    15633
AIR LIQUIDE ADVANCED TECHNOLOG         200 GBC DR                                                                                                                    NEWARK             DE    19702‐2462
AIR LIQUIDE AMERICA CORP               3725 E WASHINGTON ST                                                                                                          PHOENIX            AZ    85034‐1709
AIR LIQUIDE AMERICA CORP               5220 EAST AVE                                                                                                                 COUNTRYSIDE        IL    60525‐3133
AIR LIQUIDE AMERICA CORP               16W235 83RD ST STE B                                                                                                          BURR RIDGE         IL    60527‐5867
AIR LIQUIDE AMERICA LP                 301 S 45TH AVE                                                                                                                PHOENIX            AZ    85043‐3914
AIR LIQUIDE AMERICA SPECIALTY GASES    PO BOX 850050910                       6141 EASTON RD                                                                         PHILADELPHIA       PA    19178‐0001
LLC
AIR LIQUIDE AMERICA SPECIALTY GASES    1290 COMBERMERE DR                     FRMLY SCOTT SPECIALTY GASES IN                                                         TROY                MI   48083‐2733
LLC
AIR LIQUIDE CANADA INC                 1250 RENE‐LEVESQUE W BLVD SUITE 1700                                                               MONTREAL CANADA PQ H3B
                                                                                                                                          5E6 CANADA
AIR LIQUIDE CANADA LTEE                726 WILSON RD S                                                                                    OSHAWA ON L1H 6E8 CANADA

AIR LIQUIDE INDUSTRIAL                 12800 W LITTLE YORK RD                                                                                                        HOUSTON             TX   77041‐4218
AIR LIQUIDE INDUSTRIAL U.S.LP          STEVE BELLIS                           12800 WEST LITTLE YORK                                                                 HOUSTON             TX
AIR LIQUIDE INDUSTRIAL U.S.LP          STEVE BELLIS                           12800 W LITTLE YORK RD                                                                 HOUSTON             TX   77041‐4218
AIR LIQUIDE SAD CONSEIL SURVEILLANC

AIR LIQUIDE SAD CONSEIL SURVEILLANC    200 GBC DR                                                                                                                    NEWARK              DE   19702‐2462

AIR LIQUIDE SAD CONSEIL SURVEILLANC    5220 EAST AVE                                                                                                                 COUNTRYSIDE         IL   60525‐3133

AIR LITE TRANSPORT INC                 PO BOX 741                                                                                                                    HUDSON              WI   54016‐0741
AIR LOGISTICS LLC
AIR MACH INC                           2345 DELAWARE AVE                                                                                                             DES MOINES         IA    50317‐3526
AIR MANAGEMENT GROUP LLC               9519 E MARKET ST                                                                                                              WARREN             OH    44484‐5511
AIR MASTERS CORP                       AUTOMATION SOLUTIONS GROUP             1055 CASSENS INDUSTRIAL CT                                                             FENTON             MO    63026‐2500
AIR MONITOR CORP                       1050 HOPPER AVE                                                                                                               SANTA ROSA         CA    95403‐1613
AIR NOW                                WM H MORSE STATE AIRPORT               PO BOX 1104                                                                            BENNINGTON         VT    05201‐1104
AIR OIL SYSTEMS INC                    C/O PIONEER FUNDING GROUP, LLC         ATT: ADAM STEIN‐SAPIR            GREELEY SQUARE STRATION,   39 W. 31ST STREET          NEW YORK           NY    10001
                                                                                                               PO BOX 20188
AIR ONE AVIATION INC                   6340 CURTIS RD                                                                                                                PLYMOUTH           MI    48170‐5014
AIR ONE WORLDWIDE LOGISTICS SERVICES   618 SPIRIT DR                          STE 150                                                                                CHESTERFIELD       MO    63005‐1264
LLC
AIR POLLLUTION CONTROL FUND            ALLEGHENY COUNTY HEALTH DEPT           3333 FORBES AVE                                                                        PITTSBURGH         PA    15213‐3120
AIR POWER CONSULTANTS INC              18903 W 157TH TER                                                                                                             OLATHE             KS    66062‐6905
AIR POWER INC                          1430 TRINITY AVE                                                                                                              HIGH POINT         NC    27260‐8360
AIR POWER OF OHIO                      1405 TIMKEN PL SW                      PO BOX 6149 STATION B                                                                  CANTON             OH    44706‐3068
AIR POWER USA INC                      PO BOX 292                                                                                                                    PICKERINGTON       OH    43147‐0292
AIR POWER USA INC                      PO BOX 292                             11520 WOODBRIDGE LN                                                                    PICKERINGTON       OH    43147‐0292
AIR PRO ASSSOCIATES INC                27650 FARMINGTON RD STE B5                                                                                                    FARMINGTON HILLS   MI    48334

AIR PRODUCTS                           BERTIL MUKKULAINEN                     7201 HAMILTON BLVD                                                                     ALLENTOWN           PA   18195‐9642
AIR PRODUCTS & CHEMICALS INC           7201 HAMILTON BLVD                                                                                                            ALLENTOWN           PA   18195‐9642
AIR PUMP CO INC                        PO BOX 806                             G‐4349 S DORT                                                                          GRAND BLANC         MI   48480‐0806
AIR PUMP COMPANY INC                   PO BOX 806                             6503 S LINDEN RD                                                                       GRAND BLANC         MI   48480‐0806
                                     09-50026-mg            Doc 7123-3         Filed 09/24/10 Entered 09/24/10 15:05:32                    Exhibit B
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Name                                 Address1                             Address2                         Address3           Address4                    City              State Zip
AIR QUALITY ENGINEERING INC          7140 NORTHLAND DR N                                                                                                  BROOKLYN PARK      MN 55428
AIR QUALITY ENGINEERING INC          ATTN: CORPORATE OFFICER/AUTHORIZED   7140 NORTHLAND DR N                                                             BROOKLYN PARK      MN 55428‐1520
                                     AGENT
AIR RELIEF INC                       GARDNER DENVER INC                   PO BOX 956670                                                                   SAINT LOUIS       MO   63195‐6670
AIR RELIEF/MAYFIELD                  HWY 45 N.                                                                                                            MAYFIELD          KY   42066
AIR RESOURCES BOARD                  PO BOX 2815                                                                                                          SACRAMENTO        CA   95812‐2815
AIR RESOURCES BOARD                  LESLIE GOODBODY                      1001 I ST                        PO BOX 2815                                    SACRAMENTO        CA   95814‐2828
AIR RESOURCES CO                     PO BOX 39573                                                                                                         CLEVELAND         OH   44139‐0573
AIR ROAD EXPRESS                     PO BOX 46242                                                                                                         INDIANAPOLIS      IN   42242
AIR ROUTING CARD SERVICES LP         PO BOX 203615                                                                                                        HOUSTON           TX   77216‐3615
AIR ROUTING CARD SERVICES LP         2925 BRIARPARK DR 7TH FLOOR                                                                                          HOUSTON           TX   77042
AIR SAMPLING ASSOCIATES INC          407 HOLFORDS PRAIRIE RD STE 2B                                                                                       LEWISVILLE        TX   75056‐9446
AIR SEA INTERNATIONAL                1405 STATE ROUTE 18                  STE 206                                                                         OLD BRIDGE        NJ   08857‐3719
AIR SECURITY INTERNATIONAL           2925 BRIARPARK DR STE 620                                                                                            HOUSTON           TX   77042
AIR SERV                                                                  1924 HYANNIS CT                                                                 COLLEGE PARK      GA   30337
AIR SHOW NETWORK                     1110 EUGENIA PLACE 2ND FLR                                                                                           CARPINTERIA       CA   93013
AIR SOURCE EXPRESS INC               PO BOX 958                                                                                                           BRIDGETON         MO   63044
AIR SOURCE ONE INC                   PO BOX 1389                                                                                                          TAYLOR            MI   48180‐5789
AIR SPECIALISTS INC                  598 KIRK RD NW                                                                                                       MARIETTA          GA   30060‐1046
AIR SPECIALISTS INC                  27 HOLLENBERG CT                                                                                                     BRIDGETON         MO   63044‐2454
AIR SYSTEMS BALANCING AND TESTING    339 EAST AVE                         STE 309                                                                         ROCHESTER         NY   14504‐2615
SERVICE INC
AIR SYSTEMS SALES INC                4240 DELEMERE CT                                                                                                     ROYAL OAK         MI   48073‐1808
AIR SYSTEMS/BERKLEY                  3811 12 MILE RD #200                                                                                                 BERKLEY           MI   48072‐1115
AIR TAXI & COMMUTER
AIR TEC/MENTOR                       7501 CLOVER AVE                                                                                                      MENTOR            OH   44060‐5213
AIR TECH INC                         3419 PIERSON PL                                                                                                      FLUSHING          MI   48433‐2413
AIR TECHNICAL INDUSTRIES             7501 CLOVER AVE                                                                                                      MENTOR            OH   44060‐5213
AIR TECHNICAL INDUSTRIES INC         7501 CLOVER AVE                                                                                                      MENTOR            OH   44060‐5213
AIR TECHNOLOGIES                     11771 BELDEN CT                                                                                                      LIVONIA           MI   48150‐1446
AIR TECHNOLOGIES                     ATTN: CORPORATE OFFICER/AUTHORIZED   PO BOX 73278                                                                    CLEVELAND         OH   44193‐0002
                                     AGENT
AIR TECHNOLOGIES DIVISION            AIR TECHNOLOGIES                     DIV OF OHIO TRANSMISSION CORP.   1900 JETWAY BLVD                               COLUMBUS          OH   43219‐1681
AIR TECHNOLOGIES DIVISION            STEVE SCHOENY                        400 WRIGHT DR                    PARK 63            PARK 63                     MIDDLETOWN        OH   45044‐3263
AIR TECHNOLOGIES INC                 1900 JETWAY BLVD                                                                                                     COLUMBUS          OH   43219‐1681
AIR TEMP DE MEXICO S A DE C V        EDUARDO ESCALANTE                    KM 7.5 NO 1101 PARQUE IND MERI                      MERIDA MEXICO
AIR TEMP DE MEXICO SA DE CV          EDUARDO ESCALANTE                    KM 7.5 NO 1101 PARQUE IND MERI                      SAN JUAN DEL RIO QA 76809
                                                                                                                              MEXICO
AIR TIME AIR CARGO SPECIALISTS INC   FRT PAYMENT CTR                      PO BOX 590005                                                                   ORLANDO           FL   32859‐0005
AIR TOOLS INCORPORATED               3600 CHAMBERLAIN LN STE 130          JEFFERSON TRADE CENTER                                                          LOUISVILLE        KY   40241‐1988
AIR TOX                              119 HAWKINS RD                                                                                                       WOODSTOCK         CT   06282‐2405
                                                                                                                                                          VALLEY
AIR TRAFFIC MANAGEMENT               PO BOX 60092AMF                                                                                                      HOUSTON           TX   77205
AIR WAY AUTOMATION INC               2268 INDUSTRIAL DR                   PO BOX 563                                                                      GRAYLING          MI   49738‐7849
AIR WAY AUTOMATION INC               2268 INDUSTRIAL DR                                                                                                   GRAYLING          MI   49738‐7849
AIR WAY/GRAYLING                     PO BOX 156                                                                                                           GRAYLING          MI   49738‐0156
AIR‐HYDRAULICS INC                   545 HUPP AVE                         PO BOX 831                                                                      JACKSON           MI   49203‐1929
AIR‐OIL SYSTEMS INC                  ATTN: CORPORATE OFFICER/AUTHORIZED   PO BOX 195                                                                      MAINLAND          PA   19451‐0195
                                     AGENT
AIR‐RIDE INC                         11900 SAGER RD US HWY 20A                                                                                            SWANTON           OH   43558
AIR‐SERV GROUP, LLC                  THOMAS MERTENS                       1370 MENDOTA HEIGHTS ROAD                                                       MENDOTA HEIGHTS   MN   55120

AIR‐VENT DUCT CLEANING INC           PO BOX 454                                                                                                           AMBLER            PA   19002‐0454
AIRAPETYAN, ARPINE                   10827 CANTLAY ST B                                                                                                   SUN VALLEY        CA   91352
                                        09-50026-mg               Doc 7123-3        Filed 09/24/10 Entered 09/24/10 15:05:32                        Exhibit B
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Name                                    Address1                                Address2                        Address3                Address4                  City                State   Zip
AIRATO, DOMINIC F                       423 POWERS AVE.                                                                                                           GIRARD               OH     44420‐2241
AIRATO, DOMINIC F                       423 POWERS AVE                                                                                                            GIRARD               OH     44420‐2241
AIRBIQUITY                              CORPORATE COUNSEL                       1011 WESTERN AVE STE 600                                                          SEATTLE              WA     98104‐3624
AIRBIQUITY INC                          1011 WESTERN AVE STE 600                                                                                                  SEATTLE              WA     98104‐3624
AIRBIQUITY INC                          945 HILDEBRAND LN NE                                                                                                      BAINBRIDGE ISLAND    WA     98110

AIRBORNE EXPRESS                        ATTN CK RESEARCH RDI DEPT               PO BOX 189009                                                                     FT LAUDERDALE       FL      33318‐9009
AIRBORNE INC                            DBA AIRBORNE EXPRESS                    PO BOX 662 RDI DEPT             ATTN CHECK RESEARCH                               SEATTLE             WA      98111
AIRBOSS MOLDED PRODUCTS                 RICK MACNEIL                            101 GLASGOW ST                                                                    DALTON              GA      30721
AIRBOSS OF AMERICA CORP                 RICK MACNEIL                            101 GLASGOW ST                                                                    DALTON              GA      30721
AIRBOSS OF AMERICA CORP                 101 GLASGOW ST                                                                                  KITCHENER CANADA ON N2G
                                                                                                                                        4X8 CANADA
AIRBRUSH TATOOS                         JIM AND KAREN HARRIS                    930 MCKINLEY AVE                                                                  TOLEDO              OH      43605‐2923
AIRCA INC                               775 SUNRISE AVE STE 200                                                                                                   ROSEVILLE           CA      95661‐4527
AIRCAST/NEWARK                          P.O. BOX 12217N                                                                                                           NEWARK              NJ      07101
AIRCENTRIC CORP                         12250 INKSTER RD                                                                                                          REDFORD             MI      48239‐2573
AIRCENTRIC CORP                         12124 INKSTER RD                                                                                                          REDFORD             MI      48239
AIRCO GAS/ANDERSON                      3690 N STATE ROAD 9                                                                                                       ANDERSON            IN      46012‐1251
AIRCO GAS/COLUMBIA                      922 WEST CAMPBELL BLVD                                                                                                    COLUMBIA            TN      38401
AIRCO MECHANICAL                        19213 MOUNTAIN MDW N                                                                                                      HIDDEN VALLEY       CA      95467‐8539
                                                                                                                                                                  LAKE
AIRCO WELDING SUPPLY                    2140 MINT RD                                                                                                              LANSING              MI     48906‐2723
AIRCORE DISTRIBUTORS                    100 ROSE AVE                                                                                                              HEMPSTEAD            NY     11550‐6645
AIRCRAFT & ELECTRONIC SPECIALTIES       DEBBIE MCKINNEY X226                    AIRCRAFT & ELECTRONIC SPEC.     AVENIDA SAN RAFAEL 15                             SPARTANBURG          SC     29302
AIRCRAFT & ELECTRONIC SPECIALTIES INC   104 PRODUCTION DR                                                                                                         AVON                 IN     46123

AIRCRAFT INCIDENT 3/10/09               NO ADVERSE PARTY
AIRCRAFT NDT SERVICE INC                8181 BROADMOOR AVE SE                                                                                                     CALEDONIA            MI     49316‐9509
AIRCRAFT SVCS & SUPPORT GMBH            FRANKFURT AIRPORT CENTER                HUGO‐ECKENER‐RING HBK 234/025                           FRANKFURT AM MAIN 60549
                                                                                                                                        GERMANY
AIRD & BERLIS LLP                       BCE PLACE STE 1800 BOX 754 181 BAY ST                                                           TORONTO CANADA ON M5J
                                                                                                                                        2T9 CANADA
AIRD MICHAEL                            2416 S KEE STREET                                                                                                         PHILADELPHIA         PA     19148
AIRD, DONALD A                          165 CHOPIN ST                                                                                                             TROY                 MI     48083‐1716
AIRD, MAY L                             16996 LOCHERBIE AVE                                                                                                       BEVERLY HILLS        MI     48025‐4147
AIRD, NANCY E                           1643 STARGAZER TERRACE                                                                                                    SANFORD              FL     32771‐9298
AIREX
AIREY, DORIS N                          7930 SHIPLEY RD.                                                                                                          PASADENA            MD      21122
AIRFLOAT LLC                            2230 N BRUSH COLLEGE RD                                                                                                   DECATUR             IL      62526‐5522
AIRFLOAT LLC                            ATTN: CORPORATE OFFICER/AUTHORIZED      2230 N BRUSH COLLEGE RD                                                           DECATUR             IL      62526‐5522
                                        AGENT
AIRFLOAT/NON                            2230 N BRUSH COLLEGE RD                                                                                                   DECATUR             IL      62526‐5522
AIRFLOW/LIVONIA                         37453 SCHOOLCRAFT RD                                                                                                      LIVONIA             MI      48150‐1007
AIRFREIGHT AMERICA                      PO BOX 66459                                                                                                              CHICAGO             IL      60666‐0459
AIRGAS                                  CHARLES (TUFFY) BAUM                    1211 PIONEER RD                                                                   SALT LAKE CITY      UT      84104‐3718
AIRGAS                                  3424 MILLER DR                                                                                                            ATLANTA             GA      30341‐2714
AIRGAS EAST INC                         27 NORTHWESTERN DR                                                                                                        SALEM               NH      03079‐4809
AIRGAS EAST INC                         1200 SULLIVAN ST                                                                                                          ELMIRA              NY      14901‐1610
AIRGAS EAST INC                         2200 JEFFERSON DAVIS HWY                                                                                                  ALEXANDRIA          VA      22301‐1006
AIRGAS EAST INC                         2900 52ND AVE                                                                                                             HYATTSVILLE         MD      20781‐1103
AIRGAS GREAT LAKES INC                  25455 DEQUINDRE RD                                                                                                        MADISON HEIGHTS     MI      48071‐4212

AIRGAS GREAT LAKES INC                  1403 S VALLEY CENTER DR                                                                                                   BAY CITY             MI     48706‐9754
AIRGAS GREAT LAKES INC                  2009 BELLAIRE AVE                                                                                                         ROYAL OAK            MI     48067‐1516
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Name                          Address1                             Address2                         Address3   Address4               City              State Zip
AIRGAS GREAT LAKES INC        PO BOX 802576                        P O BOX 71483                                                      CHICAGO             IL 60680‐2576
AIRGAS GREAT LAKES INC        1604 E 14 MILE RD                                                                                       MADISON HEIGHTS    MI 48071‐1505

AIRGAS INC                    1200 FARROW ST                                                                                          FERNDALE          MI    48220‐1960
AIRGAS INC                    1200 SULLIVAN ST                                                                                        ELMIRA            NY    14901‐1610
AIRGAS INC                    2009 BELLAIRE AVE                                                                                       ROYAL OAK         MI    48067‐1516
AIRGAS INC                    1403 S VALLEY CENTER DR                                                                                 BAY CITY          MI    48706‐9754
AIRGAS INC                    5527 ENTERPRISE BLVD                                                                                    TOLEDO            OH    43612‐3814
AIRGAS MICHIGAN INC           5527 ENTERPRISE BLVD                                                                                    TOLEDO            OH    43612‐3814
AIRGAS MICHIGAN INC           G5075 N DORT HWY                                                                                        FLINT             MI    48505‐1899
AIRGAS MID SOUTH              1845 FOXRIDGE DR                                                                                        KANSAS CITY       KS    66106‐4741
AIRGAS MID‐AMERICA            3594 N STATE ROAD 9                                                                                     ANDERSON          IN    46012‐1242
AIRGAS MID‐SOUTH INC          31 N PEROIA ST                                                                                          TULSA             OK    74101
AIRGAS SAFETY                 128 WHARTON RD                                                                                          BRISTOL           PA    19007‐1622
AIRGAS, INC.                  ATT: DAVID BOYLE, CONSULTANT TO LEGAL 259 RADNOR CHESTER ROAD                                           RADNOR            PA    19087
                              DEPT
AIRGAS‐GREAT LAKES INC        1200 FARROW ST                                                                                          FERNDALE          MI    48220‐1960
AIRGAS‐MID AMERICA            2950 INDUSTRIAL DR                    PO BOX 1117                                                       BOWLING GREEN     KY    42101‐4100
AIRGOOD, JAMES G              3115 DERBY LN                                                                                           SWARTZ CREEK      MI    48473‐7934
AIRGOOD, JAMES GERARD         3115 DERBY LN                                                                                           SWARTZ CREEK      MI    48473‐7934
AIRGOOD, LINDA M              3896 WILSON CAMBRIA RD                                                                                  RANSOMVILLE       NY    14131‐9683
AIRGOOD, LOUIS M              11006 TOTTENHAM DR                                                                                      CARMEL            IN    46032‐9589
AIRGOOD, LOUIS MICHAEL        11006 TOTTENHAM DR                                                                                      CARMEL            IN    46032‐9589
AIRGOOD, THERESA C            1618 BERRYWOOD LN                                                                                       FLINT             MI    48507‐5345
AIRGROUP EXPRESS              PO BOX 3627                                                                                             BELLEVUE          WA    98009‐3627
AIRHART, PATRICIA A           1153 TURKEY INN RD                                                                                      LIGONIER          PA    15658‐9259
AIRHART, WILLIAM A            316 ILLINOIS AVE                                                                                        MC DONALD         OH    44437‐1916
AIRIS WOODRUM                 137 ELM ST                                                                                              BUFFALO           WV    25033‐9724
AIRIS, GERTRUDE K             1720 E MEMORIAL DR APT 214                                                                              JANESVILLE        WI    53545‐1983
AIRLIE CENTER                 6809 AIRLIE RD                                                                                          WARRENTON         VA    20187‐7110
AIRLINE CAR RENTAL            5207 MONKHOUSE DR                                                                                       SHREVEPORT        LA    71109‐6511
AIRLINE HYDRAULICS CORP       3557 PROGRESS DR                      EXPRESSWAY 95 BUSINESS CENTER                                     BENSALEM          PA    19020‐5807
AIRLINE HYDRAULICS CORP       3557 PROGRESS DR                                                                                        BENSALEM          PA    19020‐5896
AIRLINE HYDRAULICS CORP       I 95 & STREET RD                                                                                        BENSALEM          PA    19020
AIRMAGNET INC                 830 E ARQUES AVE                                                                                        SUNNYVALE         CA    94085‐4519
AIRO, JUDITH M                6858 BUTLER RD SW                                                                                       SOUTH BOARDMAN    MI    49680

AIROGAP COMPANY INC           9740 MEADE AVE                                                                                          OAK LAWN           IL   60453‐3644
AIROYAL COMPANY INC           43 NEWARK WAY                                                                                           MAPLEWOOD          NJ   07040‐3309
AIRPAK SAFETY TRAINING
AIRPARK AUTO SERVICE          8115 E RAINTREE DR                                                                                      SCOTTSDALE        AZ    85260‐2517
AIRPARK PRIMARY CARE          125 AIRPORT DR                                                                                          WESTMINSTER       MD    21157
AIRPORT AUTO PARTS INC        1355 S BERKEY SOUTHERN RD                                                                               SWANTON           OH    43558‐9626
AIRPORT AUTOMOTIVE            315 TAYLOR RD                                                                                           HAZELWOOD         MO    63042‐2026
AIRPORT CADILLAC, INC.        COWAN RODGERS                        3203 ALCOA HWY                                                     ALCOA             TN    37701‐3201
AIRPORT CADILLAC, INC.        3203 ALCOA HWY                                                                                          ALCOA             TN    37701‐3201
AIRPORT CHEVROLET             3001 BIDDLE RD                                                                                          MEDFORD           OR    97504‐4118
AIRPORT CHEVROLET INC         4363 WARREN SHARON RD                                                                                   VIENNA            OH    44473‐8607
AIRPORT CHEVROLET, INC.       ALAN DEBOER                          3001 BIDDLE RD                                                     MEDFORD           OR    97504‐4118
AIRPORT CHEVROLET, INC.       ALAN DEBOER                          325 S RIVERSIDE AVE                                                MEDFORD           OR    97501‐7238
AIRPORT CHEVRON               2828 AIRPORT WAY                                                                                        BOISE             ID    83705‐5069
AIRPORT FOREIGN TRADE ZONE    JOINT VENTURE #1                     PO BOX 3817                                                        BROWNSVILLE       TX    78523‐3817
AIRPORT GROUP INTERNATIONAL                                        200 RODGERS BLVD                                                   HONOLULU          HI    96819
AIRPORT PARKING COMPANY
                                  09-50026-mg            Doc 7123-3        Filed 09/24/10 Entered 09/24/10 15:05:32                       Exhibit B
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Name                              Address1                             Address2                    Address3                Address4                   City              State Zip
AIRPORT REALTY CO                 ATTN: JOHN DEMMER                    3525 CAPITOL CITY BLVD                                                         LANSING            MI 48906‐2101
AIRPORT ROAD AUTO CENTER          1791 AIRPORT RD                                                                                                     CHARLOTTESVILLE    VA 22911‐9085
AIRPORTS FIJI LTD                 PRIVATE MAIL BAG                     NADI AIRPORT                                        FIJI ISLANDS FIJU
AIRS BARTON                       3282 FULS RD                                                                                                        FARMERSVILLE      OH    45325‐8207
AIRSAGE
AIRSEPT INC                       3073 MCCALL DR                       STE 5                                                                          ATLANTA           GA    30340‐2831
AIRSEPT INC                       AARON BECKER                         3080 MCCALL DRIVE SUITE 4                                                      BUTLER            IN    46721
AIRSEPT, INC.                     AARON BECKER                         3080 MCCALL DRIVE SUITE 4                                                      BUTLER            IN    46721
AIRSEPT/ATLANTA                   3080 MCCALL DR STE 4                                                                                                ATLANTA           GA    30340‐2833
AIRSOXYGEN
AIRSYSTEMS/BRENTWOOD              PO BOX 1948                                                                                                         BRENTWOOD         TN    37024‐1948
AIRTECH CONTROLS CO               ATTN: CORPORATE OFFICER/AUTHORIZED   PO BOX 930345                                                                  WIXOM             MI    48393‐0345
                                  AGENT
AIRTECH CONTROLS CO               PO BOX 930345                                                                                                       WIXOM             MI    48393‐0345
AIRTECH CONTROLS CO               30571 BECK RD                        PO BOX 930345                                                                  WIXOM             MI    48393‐2812
AIRTECH INC                       150 S VAN BRUNT ST                                                                                                  ENGLEWOOD         NJ    07631‐3438
AIRTECH SPRAY SYSTEMS INC         3323 GARDEN BROOK DR                                                                                                DALLAS            TX    75234‐2310
AIRTEMP DE MEXICO SA DE CV        SALOMON SIMON AD                     KM 7 5 NO 1101 CARRETERA    MERIDA UMAN 97288       MEXICO DCN 15064053
                                                                                                   YUCATAN                 MEXICO
AIRTEX PRODUCTS                   DIVISION OF UIS INC                                                                                                 FAIRFIELD          IL   62837
AIRTEX PRODUCTS                   KEITH BAUMANN                        407 W MAIN ST               FUEL PUMP DIVISION                                 FAIRFIELD          IL   62837‐1622
AIRTEX PRODUCTS                   KEITH BAUMANN                        FUEL PUMP DIVISION          407 W MAIN ST           ALPIGNANO ITALY
AIRTEX PRODUCTS                   407 W MAIN ST                                                                                                       FAIRFIELD         IL    62837‐1622
AIRTEX PRODUCTS LLC               407 W MAIN ST                                                                                                       FAIRFIELD         IL    62837‐1622
AIRTEX/FAIRFIELD                  407 W MAIN ST                                                                                                       FAIRFIELD         IL    62837‐1622
AIRTRAN AIRWAYS INC               1800 PHOENIX BLVD STE 105                                                                                           ATLANTA           GA    30349‐5555
AIRTRONICS GAGE & MACHINE         516 SLADE AVE                                                                                                       ELGIN             IL    60120‐3028
AIRTRONICS GAGE & MACHINE CO I    516 SLADE AVE                                                                                                       ELGIN             IL    60120‐3098
AIRWAY OXYGEN INC LA              PO BOX 9950                                                                                                         WYOMING           MI    49509‐9918
AIRWAY SERVICE                    2110 N WESTPORT AVE                                                                                                 SIOUX FALLS       SD    57107‐0713
AIRWAYS FREIGHT CORP              PO BOX 1888                                                                                                         FAYETTEVILLE      AR    72702‐1888
AIRWAYS NATIONALEASE              548 SPRING ST                                                                                                       WINDSOR LOCKS     CT    06096‐1139
AIRWAYS TIRE & ALIGNMENT, INC     2050 AIRWAYS BLVD                                                                                                   MEMPHIS           TN    38114‐5218
AIRWORKS AIR FREIGHT INC          13829 NE AIRPORT WAY                                                                                                PORTLAND          OR    97230‐3440
AIRWYKE JR., EDWIN P              194 SIERRA WOODS COURT                                                                                              POWELL            OH    43065‐3065
AIRWYKE, BELINDA                  56 NORTH CRAWFORD                                                                                                   MILLERSBURG       OH    44654‐1223
AIRWYKE, BELINDA                  56 N CRAWFORD ST                                                                                                    MILLERSBURG       OH    44654‐1223
AIRWYKE, BETTY M                  340 ASPEN DR NW                                                                                                     WARREN            OH    44483‐1186
AIRWYKE, BETTY M                  194 SIERRA WOODS COURT                                                                                              POWELL            OH    43065‐3065
AIRWYKE, ROLLA J                  1193 WINTERS ST                                                                                                     LEAVITTSBURG      OH    44430‐9505
AIS CONSTRUCTION EQUIPMENT CORP   3600 N GRAND RIVER AVE                                                                                              LANSING           MI    48906‐2713
AISAN CORP/SHAUMBURG              425 N MARTINGALE RD STE 1180                                                                                        SCHAUMBURG        IL    60173‐2280
AISAN CORPORATION OF AMERICA      1740 W. BIG BEAVER RD STE 202                                                                                       TROY              MI    48084‐3544
AISAN INDUSTRY CO LTD             SHANE KNIGHT                         3220 BOWLING GREEN RD       P.O. BOX 369                                       FRANKLIN          KY    42134‐7610
AISAN INDUSTRY CO LTD             SHANE KNIGHT                         PO BOX 369                  3220 BOWLING GREEN RD                              EL PASO           TX    79943‐0369
AISHA I WILSON                    9 DEERBROOK RD                                                                                                      NO BRUNSWICK      NJ    08902
AISHA J SHAW                      4314 GENESEE AVE                                                                                                    DAYTON            OH    45406‐3213
AISHA MITCHELL                    9313 NEWTON AVE APT C                                                                                               KANSAS CITY       MO    64138‐3818
AISHA SANDERS                     827 SEWARD ST                                                                                                       DETROIT           MI    48202‐2304
AISHA TAYLOR                      200 RIVERFRONT DR APT 9E                                                                                            DETROIT           MI    48226‐4598
AISHA WHITE                       523 ELBON AVE                                                                                                       AKRON             OH    44306
AISHIA K SHELMON                  15475 EASTBURN ST                                                                                                   DETROIT           MI    48205‐1314
AISHIA SHELMON                    15475 EASTBURN ST                                                                                                   DETROIT           MI    48205‐1314
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Name                                 Address1                         Address2                      Address3            Address4                   City                  State Zip
AISIN                                2‐1, ASAHI‐MACHI                 ATTN: MR. ITO, FINANCE HEAD                       KARIYA, AICHI, 448‐8650
                                                                                                                        JAPAN
AISIN (AUSTRALIA) PTY LTD            593‐599 SOMERVILLE RD                                                              SUNSHINE VI 3020 AUSTRALIA

AISIN AI CO LTD                      1 SHIROYAMA OJIMACHO                                                               NISHIO JP 445‐0006 JAPAN
AISIN AUTOMOTIVE                     MOLLY PHILLIPPI                  4870 E HWY 552                                                                   MADISON HEIGHTS    MI   48071

AISIN AUTOMOTIVE                     MOLLY PHILLIPPI                  4870 E HIGHWAY 552                                                               LONDON             KY   40744‐9532
AISIN AUTOMOTIVE CASTING INC         4870 E HIGHWAY 552                                                                                                LONDON             KY   40744‐9532
AISIN AUTOMOTIVE CASTING TENN        MOLLY PHILLIPPI                  221 FRANK L DIGGS DRIVE                                                          HOWELL             MI   48843
AISIN AUTOMOTIVE CASTING TENNESSEE   221 FRANK L DIGGS DR                                                                                              CLINTON            TN   37716‐6959

AISIN AW CO LTD                      10 TAKANE FUJII‐CHO                                                                ANJO CITY AICHI PREF JP 444‐
                                                                                                                        1164 JAPAN
AISIN AW CO LTD                      10 TAKANE                                                                          ANJO AICHI 444‐1192 JAPAN

AISIN AW CO LTD                      6‐18 HARAYAMA OKACHO                                                               OKAZAKI AICHI JP 444‐8564
                                                                                                                        JAPAN
AISIN ELECTRONICS                    MOLLY PHILLIPPI                  199 FRANK WEST CIRCLE                             KANAGAWA‐KU, YOKOHAM
                                                                                                                        JAPAN
AISIN ELECTRONICS ILLINOIS LLC       MOLLY PHILLIPPI                  11200 REDCO DRIVE                                                                MISHAWAKA         IN    46545
AISIN LIGHT METALS LLC               MOLLY PHILLIPPI                  10900 REDCO DRIVE                                                                GRAND RAPIDS      MI    49504
AISIN MANUFACTURING ILLINOIS         MOLLY PHILLIPPI                  11000 REDCO DR                                                                   MARION            IL    62959‐5889
AISIN MANUFACTURING ILLINOIS         MOLLY PHILLIPPI                  11000 REDCO DRIVE                                                                BUCYRUS           OH
AISIN MANUFACTURING ILLINOIS L       11000 REDCO DR                                                                                                    MARION            IL    62959‐5889
AISIN MANUFACTURING ILLINOIS LLC     11000 REDCO DR                                                                                                    MARION            IL    62959‐5889
AISIN MEXICANA SA DE CV              MOLLY PHILLIPPI                  CALLE TEXAS 100 ORIENT        PARQUE INDUSTRIAL                                  ROANOKE           VA    24019
                                                                                                    NACIONAL
AISIN MFG ILLINOIS LLC               C/O AISIN WORLD CORP OF AMERIC   11000 REDCO DR                                                                   MARION             IL   62959‐5889
AISIN SEIKI CO LTD                   46501 COMMERE CENTER DR                                                                                           PLYMOUTH           MI   48170
AISIN SEIKI CO LTD                   1 ASAHI MACHI 2 CHOME            KARIYA CITY 448 8650                              JAPAN 9/13/07 JAPAN
AISIN SEIKI CO LTD                   2‐1 ASAHIMACHI KARIYA                                                              AICHI, 448‐0 JAPAN
AISIN SEIKI CO LTD                                                    2‐1 ASAHIMACHI KARIYA                             AICHI,JP,448‐0032,JAPAN
AISIN SEIKI CO LTD
AISIN SEIKI CO LTD                   2‐1 ASAHIMACHI KARIYA            AICHI JP 448‐0032                                 JAPAN
AISIN SEIKI CO LTD                   1 SHIROYAMA OJIMACHO                                                               NISHIO JP 445‐0006 JAPAN
AISIN SEIKI CO LTD                   MOLLY PHILLIPPI                  11200 REDCO DRIVE                                                                MISHAWAKA          IN   46545
AISIN SEIKI CO LTD                   10 TAKANE FUJII‐CHO                                                                ANJO CITY AICHI PREF JP 444‐
                                                                                                                        1164 JAPAN
AISIN SEIKI CO LTD                   11000 REDCO DR                                                                                                    MARION             IL   62959‐5889
AISIN SEIKI CO LTD                   1480 W MCPHERSON DR                                                                                               HOWELL             MI   48170
AISIN SEIKI CO LTD                   14920 KEEL ST                                                                                                     PLYMOUTH           MI   48170‐6006
AISIN SEIKI CO LTD                   221 FRANK L DIGGS DR                                                                                              CLINTON            TN   37716‐6959
AISIN SEIKI CO LTD                   3500 US HIGHWAY 641 N                                                                                             MURRAY             KY   42071‐7832
AISIN SEIKI CO LTD                   46501 COMMERCE CENTER DR                                                                                          PLYMOUTH           MI   48170‐2474
AISIN SEIKI CO LTD                   4870 E HIGHWAY 552                                                                                                LONDON             KY   40744‐9532
AISIN SEIKI CO LTD                   593‐599 SOMERVILLE RD                                                              SUNSHINE VI 3020 AUSTRALIA

AISIN SEIKI CO LTD                   6‐18 HARAYAMA OKACHO                                                               OKAZAKI AICHI JP 444‐8564
                                                                                                                        JAPAN
AISIN SEIKI CO LTD                   ALINA GRUMOWICZ                  AISIN AW CO LTD               19433 KEEL STREET   MISSISSAUGA ON CANADA
AISIN SEIKI CO LTD                   MOLLY PHILLIPPI                  10900 REDCO DRIVE                                                                GRAND RAPIDS      MI    49504
AISIN SEIKI CO LTD                   MOLLY PHILLIPPI                  11000 REDCO DR                                                                   MARION            IL    62959‐5889
AISIN SEIKI CO LTD                   MOLLY PHILLIPPI                  11000 REDCO DRIVE                                                                BUCYRUS           OH
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Name                          Address1                       Address2                       Address3                  Address4                     City               State Zip
AISIN SEIKI CO LTD            ART PAYETTE                    C/O OGIHARA AMERICA            1480 W. MCPHERSON DRIVE                                FLORA                IL 62839

AISIN SEIKI CO LTD            MOLLY PHILLIPPI                1700 E 4TH STREET RD           AISIN WORLD CORP. OF                                   SEYMOUR             IN   47274‐4309
                                                                                            AMERICA
AISIN SEIKI CO LTD            MOLLY PHILLIPPI                199 FRANK WEST CIRCLE                                    KANAGAWA‐KU, YOKOHAM
                                                                                                                      JAPAN
AISIN SEIKI CO LTD            MOLLY PHILLIPPI                221 FRANK L DIGGS DRIVE                                                               HOWELL             MI    48843
AISIN SEIKI CO LTD            MOLLY PHILLIPPI                46501 COMMERCE CENTER DRIVE                                                           JEFFERSON          OH    44047
AISIN SEIKI CO LTD            MOLLY PHILLIPPI                4870 E HIGHWAY 552                                                                    LONDON             KY    40744‐9532
AISIN SEIKI CO LTD            MOLLY PHILLIPPI                4870 E HWY 552                                                                        MADISON HEIGHTS    MI    48071

AISIN SEIKI CO LTD            MOLLY PHILLIPPI                AISIN WORLD CORP. OF AMERICA   1700 E FOURTH STREET                                   WELLINGTON         OH
AISIN SEIKI CO LTD            MOLLY PHILLIPPI                C/O HIROTEC MEXICO SA DE CV    CAR PANAMERICANA KM 5.5                                LOUISVILLE         KY    40222
                                                                                            2A LC
AISIN SEIKI CO LTD            MOLLY PHILLIPPI                C/O WEBASTO SUNROOFS INC       3500 HWY 641 N                                         JONESVILLE         MI    49250
AISIN SEIKI CO LTD            MOLLY PHILLIPPI                CALLE TEXAS 100 ORIENT         PARQUE INDUSTRIAL         CIENEGA DE FLORES NL 66550
                                                                                            NACIONAL                  MEXICO
AISIN TAKAOKA CO LTD          DAVID WEYH X103                2148 N. STATE ROAD 3                                                                  LAREDO             TX    78045
AISIN TAKAOKA CO LTD          DAVID WEYH X103                C/O ATTC MANUFACTURING INC    10455 STATE ROAD 37                                     STERLING HEIGHTS   MI    48312
AISIN TAKAOKA CO LTD          DAVID WEYH X103                C/O CORVEX MANUFACTURING DIV. 12 INDEPENDENCE PLACE                                   WEBSTER            NY    14580
AISIN USA MANUFACTURING INC   1700 E 4TH STREET RD                                                                                                 SEYMOUR            IN    47274‐4309
AISIN USA MFG., INC           MOLLY PHILLIPPI                1700 E 4TH STREET RD           AISIN WORLD CORP. OF                                   SEYMOUR            IN    47274‐4309
                                                                                            AMERICA
AISIN USA MFG., INC           MOLLY PHILLIPPI                AISIN WORLD CORP. OF AMERICA   1700 E FOURTH STREET                                   WELLINGTON         OH
AISIN WORLD CORP              MOLLY PHILLIPPI                46501 COMMERCE CENTER DRIVE                                                           JEFFERSON          OH    44047
AISIN WORLD CORP OF AMERICA   46501 COMMERCE CENTER DR                                                                                             PLYMOUTH           MI    48170‐2474
AISIN WORLD CORP OF AMERICA   1480 W MCPHERSON DR                                                                                                  HOWELL             MI    48170
AISIN WORLD CORP OF AMERICA   MOLLY PHILLIPPI                C/O HIROTEC MEXICO SA DE CV    CAR PANAMERICANA KM 5.5                                LOUISVILLE         KY    40222
                                                                                            2A LC
AISIN WORLD CORP OF AMERICA   ART PAYETTE                    C/O OGIHARA AMERICA            1480 W. MCPHERSON DRIVE                                FLORA               IL   62839

AISIN WORLD CORP OF AMERICA   3500 US HIGHWAY 641 N                                                                                                MURRAY             KY    42071‐7832
AISIN WORLD CORP OF AMERICA   MOLLY PHILLIPPI                C/O WEBASTO SUNROOFS INC       3500 HWY 641 N                                         JONESVILLE         MI    49250
AISIN WORLD CORP OF AMERICA   PO BOX 67852                                                                                                         DETROIT            MI    48267‐0001
AISIN WORLD/PLYMOUTH          46501 COMMERCE CENTER DR                                                                                             PLYMOUTH           MI    48170‐2474
AISIN/CLINTON                 221 FRANK L DIGGS DR                                                                                                 CLINTON            TN    37716‐6959
AISLINN L MEYER               59 PINGREE AVE                                                                                                       PONTIAC            MI    48342‐1159
AISLINN R CALL                PO BOX 422                                                                                                           MATTYDALE          NY    13211‐0422
AISOLA, LARRY M JR            RE KALEB COPPER                530 E JUDGE PEREZ DR           STE B                                                  CHALMETTE          LA    70043
AISOLA, LARRY M JR            RE KATRINA D COPPER            530 E JUDGE PEREZ DR           STE B                                                  CHALMETTE          LA    70043
AISPURO ADOLFO & MARICELL     10060 VIA PESCADERO                                                                                                  MORENO VALLEY      CA    92557‐2746
AISTHORPE, JAMES L            2115 W DRAHNER RD                                                                                                    OXFORD             MI    48371‐4480
AISTROP, DANIEL Z             2320 COVERT RD                                                                                                       BURTON             MI    48509‐1061
AISTROP, KENNETH L            2320 COVERT RD                                                                                                       BURTON             MI    48509‐1061
AISTROP, KENNETH LEE          2320 COVERT RD                                                                                                       BURTON             MI    48509‐1061
AIT FREIGHT SYSTEMS INC       PO BOX 66730                                                                                                         CHICAGO            IL    60666‐0730
AIT FREIGHT SYSTEMS, INC      LORRI FAIRCHILD                30255 BEVERLY ROAD                                                                    ROMULUS            MI    48174
AIT LABORATORIES              2265 EXECUTIVE DR                                                                                                    INDIANAPOLIS       IN    46241‐4352
AITCHISON, GARY M             822 GILBERT ST                                                                                                       COLUMBUS           OH    43206‐1519
AITCHISON, GARY M             822 GILBERT STREET                                                                                                   COLUMBUS           OH    43206
AITES JR, RICHARD N           1600 SUMTER CT                                                                                                       FRANKLIN           TN    37067‐8550
AITES SR, RICHARD N           130 PARK AVE                                                                                                         MECHANICSBURG      OH    43044‐1120
AITES TIMOTHY                 AITES, TIMOTHY                 727 SPRUCE ROAD                                                                       SUMMERVILLE        PA    15864
AITES, TIMOTHY                727 SPRUCE RD                                                                                                        SUMMERVILLE        PA    15864‐3723
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Name                           Address1                                Address2                         Address3                Address4                    City               State   Zip
AITHARAJU, VENKATESHWAR R      1410 HARTLAND DR                                                                                                             TROY                MI     48083‐5455
AITKEN JAMES                   286 RUNNING CEDAR TRL                                                                                                        MANAKIN SABOT       VA     23103‐3312
AITKEN, CHARLES V              17250 LOGANS RUN                                                                                                             BATTLE CREEK        MI     49014‐8819
AITKEN, DAVID H                12272 CRAWFORD RD                                                                                                            OTISVILLE           MI     48463‐9730
AITKEN, DAVID L                3288 WYNNS MILL RD                                                                                                           METAMORA            MI     48455‐9733
AITKEN, DAVID LEONARD          3288 WYNNS MILL RD                                                                                                           METAMORA            MI     48455‐9733
AITKEN, GEORGE C               1904 DUNHAM DR                                                                                                               ROCHESTER           MI     48306‐4808
AITKEN, JAMES M                1904 DUNHAM DR                                                                                                               ROCHESTER           MI     48306‐4808
AITKENS, CURTIS C              PO BOX 556                                                                                                                   GIBSON              LA     70356‐0556
AITKENS, ELVIE                 3901 HIGHWAY 37 S                                                                                                            NEWPORT             AR     72112‐8611
AITKENS, HAZEL                 229 BROOKLYN AVE.                                                                                                            HOUMA               LA     70364
AITKENS, JOHN L                3901 HW 37 SOUTH                                                                                                             NEWPORT             AR     72112
AITKENS, JOHN M                2475 EUGENE ST                                                                                                               BURTON              MI     48519‐1355
AITKENS, JOHN MERRILL          2475 EUGENE ST                                                                                                               BURTON              MI     48519‐1355
AITKIN IRON WORKS INC          301 BUNKER HILL DR                                                                                                           AITKIN              MN     56431‐1844
AIUTO, FRANK                   33 MAXIMO CT                                                                                                                 DANVILLE            CA     94506‐6249
AIUTO, NAOMI J                 43643 BUCKTHORN CT                                                                                                           STERLING HTS        MI     48314‐1882
AIUTO, SALVATORE P             43643 BUCKTHORN CT                                                                                                           STERLING HEIGHTS    MI     48314‐1882
AIUTO, VICTOR R                946 HOLLY BUSH DR                                                                                                            HOLLY               MI     48442‐1323
AIVARS DUKATS                  104 CLAYBROOKE DR                                                                                                            EAST PALESTINE      OH     44413‐1098
AIVARS VITOLS DO INC           7700 WASHINGTON VILLAGE DR 120                                                                                               DAYTON              OH     45459
AIVARS, JANIS J                465 PARKLAND TER                                                                                                             PORTAGE             MI     49024‐6100
AIVAZIS, MICHAEL J             10 SPRING CREEK HOLW NE                                                                                                      WARREN              OH     44484‐1760
AIVEN ANDRIANS
AIXA KERRY                     225 WASHINGTON BLVD                                                                                                          GREAT FALLS        MT      59404‐6211
AJ ADAMS
AJ HEROD
AJ PLASKEY/OAK PARK            31243 CLINE DR                                                                                                               BEVERLY HILLS      MI      48025‐5230
AJ ROSE MFG CO INC             CHRISTINE AMES                          1355 MOORE RD                                                                        AVON               OH      44011‐1015
AJ ROSE MFG CO INC             CHRISTINE AMES                          1355 MOORE ROAD                                                                      HARRODSBURG        KY      40330
AJ ROSE/AVON                   38000 CHESTER RD                                                                                                             AVON               OH      44011‐1086
AJ'S AUTOMOTIVE A/C            13 COLORADO AVE                                                                                                              COLUMBIA           MO      65203‐3959
AJACS DIE SALES CORP           3855 LINDEN AVE SE                      PO BOX 9316                                                                          GRAND RAPIDS       MI      49548‐3429
AJACS DIE SALES CORP           PO BOX 9316                             3855 LINDEN SE                                                                       GRAND RAPIDS       MI      49509‐0316
AJACS DIE SALES CORPORATION    ATTN: MICHAEL J. WIERENGA ‐ PRESIDENT   3855 LINDEN AVE SE                                                                   GRAND RAPIDS       MI      49548

AJAI K NEMANI MD PLL           PO BOX 2005                                                                                                                  EAST SYRACUSE       NY     13057‐4505
AJAI SHANKAR                   14 LIVINGSTON CT                                                                                                             EAST BRUNSWICK      NJ     08816‐4081
AJALAT POLLEY & AYOOB          500 N BRAND BLVD STE 1670                                                                                                    GLENDALE            CA     91203‐4708
AJAMAH EPPS                    1733 JOAN DR                                                                                                                 LOUISVILLE          TN     37777‐5003
AJAMIE LLP                     ATTN: DONA SZAK                         ATTY FOR RASSINI, S.A. DE C.V.   PENZOIL PLACE ‐ SOUTH   711 LOUISIANA, SUITE 2150   HOUSTON             TX     77002
                                                                                                        TOWER
AJANGO, VAINO E                1632 LANCASTER CT                                                                                                            INDIANAPOLIS        IN     46260‐1618
AJAO, DOTUN O                  28556 BALMORAL WAY                                                                                                           FARMINGTON HILLS    MI     48334‐5100

AJAX ELECTRIC CO               TOMLINSON & TRACEY RDS                                                                                                       HUNTINGDON          PA     19006
                                                                                                                                                            VALLEY
AJAX MAGNATHERMIC CANADA LTD
AJAX MAGNETHERMIC CANADA
AJAX MANUFACTURING CO          DBA AJAX TECHNOLOGIES                   PO BOX 714655                                                                        COLUMBUS           OH      43271‐4655
AJAX PAVING INDUSTRIES INC     1 AJAX DR STE 200                       PO BOX 71307                                                                         MADISON HEIGHTS    MI      48071‐2433

AJAX PAVING INDUSTRIES INC     830 KIRTS BLVD STE 100                  PO BOX 7058                                                                          TROY                MI     48084‐7058
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Name                               Address1                         Address2                    Address3   Address4                  City                State Zip
AJAX PREC/BRAMPTON                 2000 CLARK BLVD                                                         BRAMPTON ON L6T 4M7
                                                                                                           CANADA
AJAX PREC/MISSISSAUG               6290 NETHERHART RD                                                      MISSISSAUGA ON L5T 1B7
                                                                                                           CANADA
AJAX PRECISION MANUFACTURING       2000 CLARK BLVD                                                         BRAMPTON CANADA ON L6T
LIMITED                                                                                                    4M7 CANADA
AJAX PRECISION MANUFACTURING LTD   6290 NETHERHART RD                                                      MISSISSAUGA ON L5T 1B7
                                                                                                           CANADA
AJAX PRECISION MFG LTD             TRITON MANUFACTURING             6290 NETHERHART RD                     MISSISSAUGA CANADA ON L5T
                                                                                                           1B7 CANADA
AJAX PRECISION TUNE‐UP CENTRE      355 BAYLY ST W                                                          AJAX ON L1S 6M3 CANADA
AJAX PRECISION/TORON               37 PENN DRIVE                                                           TORONTO ON M9L 2A6
                                                                                                           CANADA
AJAX RENT A CAR                   4121 NW 25TH ST                                                                                    MIAMI               FL    33142‐6725
AJAX TOCCO MAGNETHERMIC           1745 OVERLAND AVE NE                                                                               WARREN              OH    44483‐2860
AJAX TOCCO MAGNETHERMIC CANADA LT

AJAX TOCCO MAGNETHERMIC CORP       8984 MERIDIAN CIR NW                                                                               NORTH CANTON       OH    44720‐8259
AJAX TOCCO MAGNETHERMIC CORP       1745 OVERLAND AVE NE                                                                               WARREN             OH    44483‐2860
AJAX TOCCO MAGNETHERMIC CORP       30100 STEPHENSON HWY                                                                               MADISON HEIGHTS    MI    48071‐1630

AJAX TOCCO MAGNETHERMIC INC        1506 INDUSTRIAL BLVD             SANDS MOUNTAIN INDUSTRIAL                                         BOAZ                AL   35957‐1044
AJAX‐TOCCO MAGNETHERMIC CORP       3900 E HOLLAND RD                                                                                  SAGINAW             MI   48601‐9494
AJAY PANDEY                        4926 GREEN MEADOW LN                                                                               OAKLAND             MI   48306‐1756
                                                                                                                                      TOWNSHIP
AJEMIAN, HARUTUN                   331 N VAIL AVE                                                                                     MONTEBELLO          CA   90640‐3960
AJEMIAN, PATRICIA                  3038 WHITE OAK BEACH                                                                               HIGHLAND            MI   48356‐2449
AJERSCH, ELLEN P                   2565 BROOKLYN AVE                                                       LASALLE ON N9H2L5 CANADA

AJG SOLUTIONS                      PO BOX 7670                                                                                        FORT LAUDERDALE     FL   33338‐7670
AJILON LLC                         3000 TOWN CTR DR STE 2600                                                                          SOUTHFIELD          MI   48075
AJILON SERVICES INC                4000 TOWN CTR 1480                                                                                 SOUTHFIELD          MI   48075
AJILORE, AKIN O                    5322 N STENNING DR                                                                                 PEORIA              IL   61615‐8873
AJIT BODAS                         44892 LAFAYETTE DR                                                                                 NOVI                MI   48377‐2549
AJIT GREWAL                        45832 BAYWOOD BLVD                                                                                 CANTON              MI   48187‐4837
AJIT KATHAROPOULOS                 16950 ELIZABETH ST                                                                                 BEVERLY HILLS       MI   48025‐5400
AJIT SHARMA                        2121 CUMBERLAND RD                                                                                 ROCHESTER HLS       MI   48307‐3706
AJIT SINGH                         3417 N DAMEN AVE                                                                                   CHICAGO             IL   60618‐6105
AJIT SINGH                         9 SUSAN DR                                                                                         SOMERSET            NJ   08873‐2839
AJITH JAYASUNDERA                  39841 ROCKCREST CIR                                                                                NORTHVILLE          MI   48168‐3967
AJJO, IVAN                         1795 HAWTHORNE RDG                                                                                 COMMERCE            MI   48390‐3917
                                                                                                                                      TOWNSHIP
AJJO, ROBERT WALEED                1795 HAWTHORNE RIDGE                                                                               COMMERCE TWP        MI   48390‐3917
AJKAI/HUNGARY                      35 GYAR STREET                                                          AJKA HG H 8400 HUNGARY
AJLA WILHELMI                      10156 ABERDEEN DR                                                                                  GRAND BLANC         MI   48439‐9574
AJOU UNIVERSITY                    SAN 5 WONCHEON‐DONG              YEONGTONG‐GU                           SUWON KYONGGI KR 443749
                                                                                                           KOREA (REP)
AJOU UNIVERSITY                    SAN 5 WONCHEON‐DONG YEONGTONG‐   GU SUWON KYONGGI 443749                KOREA SOUTH KOREA

AJR INTERNATIONAL                  300 REGENCY DRIVE                                                                                  GLENDALE HTS        IL   60139‐2283
AJR INTERNATIONAL                  300 REGENCY DR                                                                                     GLENDALE HEIGHTS    IL   60139‐2283

AJR INTERNATIONAL INC.             JIM OESTERREICH                  300 REGENCY DR                                                    GLENDALE HEIGHTS    IL   60139‐2283
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Name                             Address1                            Address2                      Address3   Address4               City              State   Zip
AK EQUIPMENT INC                 7254 QUINCY ST                                                                                      ZEELAND            MI     49464‐9511
AK ESTATE OF LOU J SEDL          2268 IRMA ST                                                                                        WARREN             MI     48092‐3724
AK SNOW & ICE CONTROL INC        ATTN: CORPORATE OFFICER/AUTHORIZED PO BOX 15                                                        LOMBARD             IL    60148‐0015
                                 AGENT
AK SNOW & ICE CONTROL INC        PO BOX 15                                                                                           LOMBARD            IL     60148‐0015
AK SNOW & ICE CONTROL INC        19W115 17TH PL                      PO BOX 15                                                       LOMBARD            IL     60148‐4951
AK STEEL                         MARY LYNCH                          1450 W LONG LAKE RD STE 365                                     TROY              MI      48098
AK STEEL                         MARY LYNCH                          5455 CORPORATE DRIVE                                            TROY              MI      48098
AK STEEL                         703 CURTIS ST                                                                                       MIDDLETOWN        OH      45043‐0001
AK STEEL CORP                    9227 CENTRE POINTE DR                                                                               WEST CHESTER      OH      45069‐4822
AK STEEL CORP                    703 CURTIS ST                                                                                       MIDDLETOWN        OH      45044‐5812
AK STEEL CORPORATION             703 CURTIS ST                                                                                       MIDDLETOWN        OH      45043‐0001
AK STEEL HOLDING CORP            30400 E BROADWAY ST                                                                                 WALBRIDGE         OH      43465‐9568
AK STEEL HOLDING CORP            703 CURTIS ST                                                                                       MIDDLETOWN        OH      45044‐5812
AK STEEL HOLDING CORP            CLAYTON PAYNE                       30400 E BROADWAY ST                                             WALBRIDGE         OH      43465‐9568
AK STEEL HOLDING CORP            JOHN WAWERU                         30400 E BROADWAY ST                                             WALBRIDGE         OH      43465‐9568
AK STEEL/MIDDLETOWN              703 CURTIS ST                                                                                       MIDDLETOWN        OH      45043‐0001
AK TUBE                          JOHN WAWERU                         30400 E BROADWAY ST                                             WALBRIDGE         OH      43465‐9568
AK TUBE                          CLAYTON PAYNE                       30400 E BROADWAY ST                                             WALBRIDGE         OH      43465‐9568
AK TUBE LLC                      30400 E BROADWAY ST                                                                                 WALBRIDGE         OH      43465‐9568
AKA TRUCKING CO                  PO BOX 4118                                                                                         CENTER LINE       MI      48015‐4118
AKA TRUCKING CO INC              23850 SHERWOOD                                                                                      CENTER LINE       MI      48015‐2011
AKAL SECURITY, INC.              SUKHWINDER SINGH                    PO BOX 1197                                                     SANTA CRUZ        NM      87567‐1197
AKALEWICZ, THOMAS                14 LEXINGTON AVE                                                                                    CARTERET          NJ      07008‐2335
AKANA FORREST, BEVERLY O         13114 47TH AVE SE                                                                                   EVERETT           WA      98208‐9610
AKAND, NURUL A                   13338 FELSON PL                                                                                     CERRITOS          CA      90703‐8736
AKANNI, ADOLPHUS                 PO BOX 24906                                                                                        FORT WORTH        TX      76124‐1906
AKANNI, ANNIE M                  3508 ELGENWOOD TRL                                                                                  ARLINGTON         TX      76015‐3223
AKANS, EVA                       46425 KOZMA ST                                                                                      BELLEVILLE        MI      48111‐8927
AKANS, JOY L                     41021 RIGGS RD                                                                                      BELLEVILLE        MI      48111‐6009
AKANS, RAYMOND P                 41021 RIGGS RD                                                                                      BELLEVILLE        MI      48111‐6009
AKAR AUTOMOTIVE INC.             855 S ORANGE AVE                                                                                    EAST ORANGE       NJ      07018‐2371
AKAR II AUTOMOTIVE INC.‐ EXXON   2 PALMER RD                                                                                         MIDDLETOWN        NJ      07748‐1210
AKARA D PRESSLEY                 750 EUGENE ST                                                                                       YPSILANTI         MI      48198‐6145
AKARAGUIAN, HAIGANOUSH           GARO MARDIROSSIAN ‐ (MARDIROSSIAN & 6311 WILSHIRE BLVD                                              LOS ANGELES       CA      90048‐5001
                                 ASSOCIATES, INC.)
AKARD JOHN                       2775 E STATE ROAD 28                                                                                FRANKFORT          IN     46041‐9464
AKARMAN, CAROLYN L               PO BOX 2451                                                                                         WARMINSTER         PA     18974‐0046
AKASAPU, APPALASWAMY             1075 CANYON CREEK DR                                                                                ROCHESTER HILLS    MI     48306‐4283
AKASH RAJ                        PO BOX 9022                                                                                         WARREN             MI     48090‐9022
AKASHEH, ARIUS                   3117 FENVIEW DR                                                                                     ANN ARBOR          MI     48108‐1355
AKBAR                            4701 TOWNE CENTRE RD STE 303                                                                        SAGINAW            MI     48604‐2833
AKBAR C RASUL                    821 W MILWAUKEE ST                                                                                  DETROIT            MI     48202‐2947
AKBAR CHOWDHURY                  23 LATIUM DR                                                                                        PITTSFORD          NY     14534‐1649
AKBAR RASUL                      ATTN: AKBAR RASUL                   821 W MILWAUKEE ST                                              DETROIT            MI     48202‐2947
AKBAR SHAFIKHANI
AKBAR, AHMAD N                   350 W NORTHSIDE DR 143                                                                              JACKSON           MS      39206
AKBAR, DAVID                     4108 CHARLTON RD                                                                                    CLEVELAND         OH      44121‐2717
AKBAR, MARCELLA                  7278 TAYWOOD RD                                                                                     CLAYTON           OH      45322
AKBAR, NAJEEB A                  2909 CHENAULT ST                                                                                    FORT WORTH        TX      76111‐3813
AKBAR, NAJEEB AAMIR              2909 CHENAULT ST                                                                                    FORT WORTH        TX      76111‐3813
AKCZINSKI, JAMES F               1402 JOPPA FOREST DR APT A                                                                          JOPPA             MD      21085‐3438
AKE JR, EDWIN M                  115 HOLLYWOOD BLVD                  HOLLYWOOD ESTATES                                               ANDERSON          IN      46016‐5819
AKE, CONNIE R                    APT B                               602 MERIDIAN STREET                                             ANDERSON          IN      46016‐2067
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Name                             Address1                       Address2                      Address3              Address4                 City               State   Zip
AKE, CONNIE R                    602 MERIDIAN ST APT B                                                                                       ANDERSON            IN     46016‐2067
AKE, EDWIN D                     602 MERIDIAN ST APT B                                                                                       ANDERSON            IN     46016‐2067
AKE, GARY W                      4028 SUZAN DR                                                                                               ANDERSON            IN     46013‐2635
AKE, HAROLD L                    68 ARCHERY RANGE RD                                                                                         SHAWNEE             OK     74801‐5685
AKE, JANET R                     68 ARCHERY RANGE RD                                                                                         SHAWNEE             OK     74801‐5685
AKEBONO AMER/BUFFALO             750 W LAKE COOK RD STE 375                                                                                  BUFFALO GROVE        IL    60089‐2073
AKEBONO BRAKE CORP               300 RING RD                                                                                                 ELIZABETHTOWN       KY     42701‐6778
AKEBONO BRAKE CORPORATION        310 RING RD                                                                                                 ELIZABETHTOWN       KY     42701‐6778
AKEBONO BRAKE CORPORATION        STACY MARSH                    300 RING RD                   ELIZABETHTOWN PLANT                            ELIZABETHTOWN       KY     42701‐6778
AKEBONO BRAKE CORPORATION        STACY MARSH                    ELIZABETHTOWN PLANT           300 RING RD.                                   LOS INDIOS          TX     78567
AKEBONO BRAKE INDUSTRY CO LTD    300 RING RD                                                                                                 ELIZABETHTOWN       KY     42701‐6778
AKEBONO BRAKE INDUSTRY CO LTD    STACY MARSH                    300 RING RD                   ELIZABETHTOWN PLANT                            ELIZABETHTOWN       KY     42701‐6778
AKEBONO BRAKE INDUSTRY CO LTD    STACY MARSH                    ELIZABETHTOWN PLANT           300 RING RD.                                   LOS INDIOS          TX     78567
AKEBONO BRAKE INDUSTRY CO LTD    5‐4‐71 HIGASHI HANYU                                                               SAITAMA 348‐0052 JAPAN   SAITAMA                    348‐0
AKEBONO BRAKE‐GLASGOW PLANT                                     1765 CLEVELAND AVE                                                           GLASGOW             KY     42141
AKEBONO CORP NORTH AMERICA       34385 W 12 MILE RD                                                                                          FARMINGTON HILLS    MI     48331‐3375

AKEBONO CORPORATION
AKEBONO CORPORATION              34385 W 12 MILE RD                                                                                          FARMINGTON HILLS    MI     48331‐3375

AKEBONO/ELIZABETHTWN             1765 CLEVELAND AVE             ATTN: STACY MARSH                                                            GLASGOW             KY     42141‐1057
AKEBONO/FARMINGTON H             34385 W 12 MILE RD                                                                                          FARMINGTON HILLS    MI     48331‐3375

AKEEEM, YAJKIIMAA                PO BOX 12591                                                                                                SALEM              OR      97309‐0591
AKEEL DAKKI                      2134 E MCLEAN AVE                                                                                           BURTON             MI      48529‐1740
AKEEL, HADI A                    1735 DELL ROSE DR                                                                                           BLOOMFIELD HILLS   MI      48302‐0113
AKEEL, SOFIA S.                  1211 OAKWOOD CT                                                                                             ROCHESTER HILLS    MI      48307‐2539
AKEHURST JR, CLIFTON M           1831 STEVEN DR                                                                                              EDGEWOOD           MD      21040‐1238
AKEHURST, CINDY M                1655 E 13 MILE RD              APT 207                                                                      MADISON HTS        MI      48071‐5028
AKEHURST, GERALD L               7832 WOODVIEW RD                                                                                            CLARKSTON          MI      48348‐4050
AKEHURST, PAMELA ELAINE          7832 WOODVIEW RD                                                                                            CLARKSTON          MI      48348‐4050
AKEIL SAAB                       7057 MIDDLEPOINTE ST                                                                                        DEARBORN           MI      48126‐1948
AKELL, THERESA J                 74 SARGENT ST                                                                                               MELROSE            MA      02176‐1251
AKELLA, PRASAD                   951 EL CAJON WAY                                                                                            PALO ALTO          CA      94303‐3409
AKEMAN, WILLIAM E                2337 NW 121ST ST                                                                                            OKLAHOMA CITY      OK      73120‐7415
AKEMON, ROGER D                  4217 CHALMETTE DR                                                                                           DAYTON             OH      45440‐3228
AKENHEAD MAJOR D (493641)        GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                                  NORFOLK            VA      23510
                                                                STREET, SUITE 600
AKENHEAD, MAJOR D                GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                                  NORFOLK             VA     23510‐2212
                                                                STREET, SUITE 600
AKENS, MARGARET F                27680 ROAN DR                                                                                               WARREN             MI      48093‐8334
AKENS, VELISA                    216 E 2ND ST                                                                                                MANSFIELD          OH      44902‐2025
AKER SOLUTIONS, INC.             BILL UPORSKY                   455 RACETRACK RD                                                             WASHINGTON         PA      15301‐8910
AKER WADE POWER TECHNOLOGIES     4035 HUNTERSTAND CT                                                                                         CHARLOTTESVILLE    VA      22911‐5830
AKER WADE POWER TECHNOLOGIES L   4035 HUNTERSTAND CT                                                                                         CHARLOTTESVILLE    VA      22911‐5830
AKER, DIANE M                    31376 LYONS CIR E                                                                                           WARREN             MI      48092‐4410
AKER, JEFFREY                    244 CRIDLAND DR                                                                                             BROWNS SUMMIT      NC      27214‐9002
AKER, JOSH K                     5709 MEADOWS DRIVE                                                                                          FORT WAYNE         IN      46804‐7609
AKER, LARRY M                    112 S MORGAN RD                                                                                             TUTTLE             OK      73089‐7918
AKER, MARGUERITE E               396 CHEROKEE DR                                                                                             DAYTON             OH      45427‐2013
AKER, STELLA J                   124 OLD NIAGARA #4                                                                                          LOCKPORT           NY      14094‐1523
AKER, STEPHEN K                  10050 CARPENTER RD                                                                                          FLUSHING           MI      48433‐1046
AKERHART, NATHANIEL              6808 STRATFORD AVE                                                                                          SAINT LOUIS        MO      63121‐3365
AKERLEY, DANIEL C                8729 CENTER RD                                                                                              TRAVERSE CITY      MI      49686‐1605
                                   09-50026-mg           Doc 7123-3         Filed 09/24/10 Entered 09/24/10 15:05:32                         Exhibit B
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Name                               Address1                             Address2                       Address3                   Address4               City             State Zip
AKERLEY, FRANK D                   204 HELMWOOD CIR 69                                                                                                   MOUNT             KY 40047
                                                                                                                                                         WASHINGTON
AKERLEY, JOHN C                    18048 TARRINGTON PLACE                                                                                                HUDSON           FL   34667‐5775
AKERLEY, MARY E                    2039 KNOLLWOOD                                                                                                        PONTIAC          MI   48326‐3120
AKERLEY, ROBERT P                  30031 GLENWOOD ST                                                                                                     INKSTER          MI   48141‐3802
AKERLUND, PAUL D                   12506 PANTANO DR                                                                                                      HOUSTON          TX   77065‐2312
AKERMAN BRADLEY                    704 TWO RIVERS CT                                                                                                     MYRTLE BEACH     SC   29579‐6528
AKERMAN SENTERFITT & EIDSON EFPA   255 S ORANGE AVE STE 1700                                                                                             ORLANDO          FL   32801‐3466
AKERMAN SENTERFITT LLP             ATTN: KEITH N. COSTA & MARTIN DOMB   ATTYS FOR ZINN COMPANIES INC   335 MADISON AVENUE, 26TH                          NEW YORK         NY   10017
                                                                                                       FLOOR
AKERMAN, GLORIANN                  815 WARREN AVE                                                                                                        NILES            OH   44446‐1138
AKERMAN, MARY D                    3610 REGENT ST                                                                                                        MIDLOTHIAN       TX   76065‐8748
AKERMAN, MICHAEL E                 21060 153RD AVE                                                                                                       MILACA           MN   56353‐4652
AKERMANN, PATRICIA L               139 SLOAN AVE                                                                                                         ASHLAND          OH   44805‐4341
AKERS BOYD J (626416)              GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                                      NORFOLK          VA   23510
                                                                        STREET, SUITE 600
AKERS CHARLES                      AKERS, CHARLES                       PO BOX 2986                                                                      HUNTINGTON       WV   25728‐2986
AKERS CLOVIS L (414066)            GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                                      NORFOLK          VA   23510
                                                                        STREET, SUITE 600
AKERS HOPSON, REBECCA J            2929 ORE VALLEY DR                                                                                                    HARTLAND         MI   48353‐2813
AKERS JR, DAVID L                  1151 LURICH RD                                                                                                        NARROWS          VA   24124‐2344
AKERS PAUL (654371)                BRAYTON PURCELL                      PO BOX 6169                                                                      NOVATO           CA   94948‐6169
AKERS ROGER W (428392)             GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                                      NORFOLK          VA   23510
                                                                        STREET, SUITE 600
AKERS SAMUEL A (466053)            GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                                      NORFOLK          VA   23510
                                                                        STREET, SUITE 600
AKERS TRUCKING LLC                 227 WEST AVE                                                                                                          ALBION           NY   14411‐1520
AKERS, AMY L                       31 W 6TH ST                                                                                                           FRANKLIN         OH   45005
AKERS, ANDY                        2195 GLENCOE RD                                                                                                       CULLEOKA         TN   38451‐2150
AKERS, ANNE                        233 PAUL THOMPSON RD                                                                                                  BETHPAGE         TN   37022‐1921
AKERS, ARLIN D                     PO BOX 763                                                                                                            DAVIS            OK   73030‐0763
AKERS, ARNET C                     11209 RUNYAN LAKE RD                                                                                                  FENTON           MI   48430‐2457
AKERS, BETTY                       5000 S.E. 183RD AVE RD                                                                                                OKLAWAHA         FL   32179
AKERS, BETTY                       5000 SE 183RD AVENUE RD                                                                                               OCKLAWAHA        FL   32179‐3339
AKERS, BETTY J                     5401 W VERMONT ST                                                                                                     INDIANAPOLIS     IN   46224‐8897
AKERS, BETTY J                     5401 W. VERMONT STREET                                                                                                INDIANAPOLIS     IN   46224‐8897
AKERS, BETTY L                     1112 SANDUSKY ST                     APT 9                                                                            PLYMOUTH         OH   44865
AKERS, BETTY L                     1112 SANDUSKY STREET                                                                                                  PLYMOUTH         OH   44865‐1168
AKERS, BILLY F                     285 PINEDALE DR                                                                                                       AVON             IN   46123‐7936
AKERS, BLANCHE                     3028 THEMIS ST                       APT A                                                                            CAPE GIRARDEAU   MO   63701‐8208
AKERS, BOBETTE D                   3380 OAKLAND DR                                                                                                       FLINT            MI   48507‐4532
AKERS, BOYD J                      GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                                      NORFOLK          VA   23510‐2212
                                                                        STREET, SUITE 600
AKERS, BRIAN                       2012 SUMMER LN                                                                                                        CULLEOKA         TN   38451‐2020
AKERS, BRUCE                       1287 ROCKHOUSE RD                                                                                                     PIKEVILLE        KY   41501‐4175
AKERS, CALVIN                      2113 DOCTOR ROBERTSON ROAD                                                                                            SPRING HILL      TN   37174
AKERS, CAROL D                     84 CHURCHILL DR                                                                                                       WHITMORE LAKE    MI   48189‐9010
AKERS, CATHRINE E                  5013 TWIN LAKES CIR                                                                                                   CLAYTON          OH   45315‐8760
AKERS, CHARLENE                    3101 CONGRESS DR                                                                                                      KOKOMO           IN   46902‐8032
AKERS, CHARLES E                   84 CHURCHILL DR                                                                                                       WHITMORE LAKE    MI   48189‐9010
AKERS, CHRISTAL                    25510 ANNAPOLIS ST                                                                                                    DEARBORN HTS     MI   48125‐1517
AKERS, CLAUDE B                    3109 VINELAND TRAIL                                                                                                   DAYTON           OH   45430‐1847
AKERS, CLOVIS                      GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                                      NORFOLK          VA   23510‐2212
                                                                        STREET, SUITE 600
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Name                 Address1                       Address2             Address3         Address4               City             State   Zip
AKERS, CYNTHIA L     375 HARPWOOD DR                                                                             FRANKLIN          OH     45005‐1536
AKERS, DANNY         1712 FAIRVIEW RD                                                                            GALION            OH     44833‐9720
AKERS, DANNY E       1432 HILLSIDE DRIVE                                                                         FLINT             MI     48532‐2411
AKERS, DARLENE       2161 CULUR DR.                                                                              KETTERING         OH     45420
AKERS, DAVID L       23724 ARSENAL RD                                                                            FLAT ROCK         MI     48134‐9582
AKERS, DAVID W       26841 NORMA AVE                                                                             WARREN            MI     48089‐1263
AKERS, DEBORAH A     57245 SAWMILL LN                                                                            NEW HAVEN         MI     48048‐3126
AKERS, DELORES G     700 BOSTON AVE                                                                              ELYRIA            OH     44035‐6553
AKERS, DONALD E      873 EAST COONPATH ROAD                                                                      SPENCER           IN     47460
AKERS, DONALD H      4493 COUNTY RD 20                                                                           BELLEVIEW         MO     63623
AKERS, DONALD H      BOX 3790 HC RT 63                                                                           BELLEVIEW         MO     63623
AKERS, DONALDSON     PO BOX 262                                                                                  CARTHAGE          TN     37030‐0262
AKERS, DOROTHY C     35 DEWEY ST                                                                                 W ALEXANDRIA      OH     45381‐1248
AKERS, EDWARD D      6166 SURREY DR                                                                              FRANKLIN          OH     45005‐4319
AKERS, ERNEST H      114 CLARK ST                                                                                COLLINSVILLE       IL    62234‐3817
AKERS, FLORA C       3216 KY ROUTE 979                                                                           HAROLD            KY     41635‐8992
AKERS, FRANK L       8 DALE DR                                                                                   TONAWANDA         NY     14150‐4308
AKERS, FREDERICK E   2041 N CENTRAL AVE                                                                          BATESVILLE        AR     72501‐2519
AKERS, GARY L        10680 SPRINGER RD                                                                           HILLSBORO         OH     45133‐5838
AKERS, GLEN E        222 WINDOVER AVE                                                                            BOWLING GREEN     KY     42101‐7358
AKERS, GORDON        735 ELMDALE LN W                                                                            ALMONT            MI     48003‐8468
AKERS, GUY A         PO BOX 532                                                                                  KOKOMO            IN     46903‐0532
AKERS, HAZEL         1446 BYRON                                                                                  YPSILANTI         MI     48198‐3109
AKERS, HAZEL         1446 BYRON AVE                                                                              YPSILANTI         MI     48198‐3109
AKERS, HAZEL B       2322 UNION DRIVE                                                                            NEWBURGH          IN     47630‐8671
AKERS, HELEN L       2058 WOODCUTTER CT                                                                          SPRINGHILL        FL     34606‐3751
AKERS, HOMER         3044 SOUTH ST RT 48                                                                         LUDLOW FALLS      OH     45339‐8761
AKERS, HOMER         3044 S STATE ROUTE 48                                                                       LUDLOW FALLS      OH     45339‐8761
AKERS, INA C         2200 COTTONWOOD DR                                                                          ANDERSON          IN     46012‐2810
AKERS, J. R          4220 EAST MAIN ST B14                                                                       MESA              AZ     85205
AKERS, JAMES A       LOT 7                          741 YALE AVENUE                                              MANSFIELD         OH     44905‐1562
AKERS, JAMES A       225 OXFORD RD                                                                               LEXINGTON         OH     44904‐1038
AKERS, JAMES E       635 FRENCH ST                                                                               ADRIAN            MI     49221‐3311
AKERS, JOHN H        25358 MACARTHUR DR                                                                          MATTAWAN          MI     49071‐9336
AKERS, JOHN R        3449 E PIERSON RD                                                                           FLINT             MI     48506‐1470
AKERS, JOHN ROBERT   3449 E PIERSON RD                                                                           FLINT             MI     48506‐1470
AKERS, JUDITH K      1891 KNOX DR                                                                                CLAYTON           IN     46118‐9484
AKERS, JUDY A        6600 BOOKER T WASHINGTON HWY                                                                WIRTZ             VA     24184‐4282
AKERS, JULIE K.      5402 NICOLE                                                                                 WHITE LAKE        MI     48383‐2659
AKERS, JUNIOR        9200 MCINTYRE RD                                                                            MAYVILLE          MI     48744‐9317
AKERS, KEITH D       4224 SCOTT HOLLOW RD                                                                        CULLEOKA          TN     38451‐3103
AKERS, KENNETH E     653 WESTVILLE LAKE RD                                                                       BELOIT            OH     44609‐9409
AKERS, KENNETH L     684 AMANDA LN                                                                               KODAK             TN     37764‐1444
AKERS, KIM           641 MOUNT ZION RD                                                                           FRANKFORT         KY     40601‐9109
AKERS, KYLE H        2311 OAK AVE                                                                                BALTIMORE         MD     21222‐4028
AKERS, KYLE V        20557 DRAKE RD                                                                              STRONGSVILLE      OH     44149‐5843
AKERS, KYLE V        3131 LINTON RD                                                                              KISSIMMEE         FL     34758‐2858
AKERS, L D           127 WOOD RUN                                                                                ROCHESTER         NY     14612‐2262
AKERS, LARRY D       16762 ROOSEVELT HWY                                                                         KENDALL           NY     14476‐9630
AKERS, LAVANT E      6015 CATHEDRAL RD                                                                           FREDERICKSBURG    VA     22407‐5033
AKERS, LAWRENCE      8210 LOZIER AVE                                                                             WARREN            MI     48089‐1632
AKERS, LEONARD       105 VIRGINIA AVE                                                                            LIVINGSTON        TN     38570
AKERS, LEONARD H     3751 SAND LAKE RD                                                                           ALLEN             MI     49227‐9588
AKERS, LINDA         5725 SOUTHWOOD STREET                                                                       NORTH BRANCH      MI     48461‐9755
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AKERS, LINDA            B0X 411                                                                                            FRANKTON           IN     46044
AKERS, LINDA K          684 AMANDA LN                                                                                      KODAK              TN     37764‐1444
AKERS, LORENE           204 N 3RD ST                                                                                       PRINCETON          WV     24740‐3328
AKERS, LORENE           204 NORTH 3RD ST                                                                                   PRINCETON          WV     24740‐3328
AKERS, LORETTA S        712 GREEN FEATHER COURT APT #2                                                                     WEST CARROLLTON    OH     45449‐5449

AKERS, MARGARET G       38372 DOWNS COURT                                                                                  HAMILTON          VA      20158‐3440
AKERS, MARIE L          8800 DOVE DR                                                                                       NOTTINGHAM        MD      21236
AKERS, MAXINE D         449 RAGING RIVER                                                                                   MASON             MI      48854‐9332
AKERS, NANCY S          3810 SHADYLAWN AVE NW                                                                              ROANOKE           VA      24012‐3342
AKERS, NATHAN A         189 RUSSELL WAY                                                                                    ATHENS            GA      30606‐2144
AKERS, PATRICIA A       14314 LONGTIN ST                                                                                   SOUTHGATE         MI      48195‐1956
AKERS, PAUL             BRAYTON PURCELL                  PO BOX 6169                                                       NOVATO            CA      94948‐6169
AKERS, PHILLIP B        5202 SANDALWOOD CIR                                                                                GRAND BLANC       MI      48439‐4266
AKERS, PHILLIP R        6156 CANTATA CT                                                                                    DAYTON            OH      45449‐3303
AKERS, QUINTON          5521 HOLLENBECK RD                                                                                 COLUMBIAVILLE     MI      48421‐9386
AKERS, RANDY D          PO BOX 683                                                                                         HARRAH            OK      73045
AKERS, REGINALD M       59232 CARY LN BOX 558                                                                              NEW HAVEN         MI      48048
AKERS, REGINALD M       59232 CARY LN # 558                                                                                NEW HAVEN         MI      48048
AKERS, RICHARD A        2355 HARNECK RD                                                                                    APPLEGATE         MI      48401‐9784
AKERS, RICKIE           2828 LORRAINE ST                                                                                   MARLETTE          MI      48453‐1042
AKERS, ROGER            GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                       NORFOLK           VA      23510‐2212
                                                         STREET, SUITE 600
AKERS, RONALD P         140 COACHMAN CT APT C                                                                              BOWLING GREEN      KY     42103
AKERS, RONALD PATRICK   140 COACHMAN CT APT C                                                                              BOWLING GREEN      KY     42103
AKERS, RUSSELL A        745 W DEXTER TRL                                                                                   MASON              MI     48854‐8606
AKERS, RUTH W           1103 ODESSA                                                                                        HOLLY              MI     48442‐1044
AKERS, RUTH W           1103 ODESSA DR                                                                                     HOLLY              MI     48442‐1044
AKERS, SAMUEL A         GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                       NORFOLK            VA     23510‐2212
                                                         STREET, SUITE 600
AKERS, SAMUEL J         1377 S COUNTY ROAD 500 W                                                                           NEW CASTLE         IN     47362‐9730
AKERS, SARA E           26120 STANCREST DRIVE                                                                              SOUTH LYON         MI     48178‐9735
AKERS, SHERRY L         2311 CHESTNUT LN                                                                                   BURTON             MI     48519‐1372
AKERS, TED              8665 OLD FEDERAL RD                                                                                BALL GROUND        GA     30107‐3519
AKERS, TERESA G         PO BOX 644                                                                                         SPRING HILL        TN     37174‐0644
AKERS, TERRY
AKERS, THOMAS W         97 MILLARD DR                                                                                      FRANKLIN          OH      45005‐2023
AKERS, VALENTINE        3621 FIESTA WAY                                                                                    MIDDLETOWN        OH      45044‐6109
AKERS, WADE E           312 APPLE RIDGE DR                                                                                 APPLE CREEK       OH      44606‐9596
AKERS,THOMAS W          97 MILLARD DR                                                                                      FRANKLIN          OH      45005‐2023
AKERSON CARMEN          229 MAPLE STREET                                                                                   SEWARD            NE      68434‐2616
AKERSON, NICOLE
AKERSTROMS TRUX INC     125 TECHNOLOGY PARKWAY                                                                             NORCROSS           GA     30092‐2913
AKERT, KENNETH J        9702 E SHORE DR                                                                                    PORTAGE            MI     49002‐7482
AKERY, CHARLES          32 HENRY HAWKINS DR                                                                                LA FAYETTE         GA     30728‐4640
AKERY, PHILIPBIA A      707 SCHOOLHOUSE RD                                                                                 SAN JOSE           CA     95138‐1314
AKERY, WAHIB G          707 SCHOOLHOUSE RD                                                                                 SAN JOSE           CA     95138‐1314
AKEY, BARBARA           25188 MARION AVE APT 11                                                                            PUNTA GORDA        FL     33950‐4155
AKEY, CHARLES R         16175 CARR RD                                                                                      KENDALL            NY     14476‐9731
AKEY, RICHARD G         4604 W CALUMET RD                                                                                  MILWAUKEE          WI     53223
AKEY, RUTH H            197 LARKINS CROSSING                                                                               ROCHESTER          NY     14612‐2731
AKEY, RUTH H            197 LARKINS XING                                                                                   ROCHESTER          NY     14612‐2731
AKEY, STANLEY H         1956 SWAN POINTE DR                                                                                TRAVERSE CITY      MI     49686‐4780
AKG ACOUSTICS GMBH      LEMBOECKGASSE 21‐25              A‐1230 WIEN                              VIENNA 1060 AUSTRIA
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Name                                    Address1                            Address2                        Address3                     Address4                 City              State Zip
AKG ACOUSTICS GMBH                                                          21‐25 LEMBOCKGASSE                                                                    VIENNA                  A‐123
AKG/VIENNA                              21‐25 LEMBOCKGASSE                                                                               VIENNA A‐1230 AUSTRIA
AKHBARI DARIUSH                         AKHBARI, DARIUSH                    4400 S QUEBEC ST APT E108                                                             DENVER            CO    80237
AKHBARI, DARIUSH                        4400 S QUEBEC ST APT E108                                                                                                 DENVER            CO    80237
AKHIKAR, AWIKAM B                       702 LAWNVIEW CT                                                                                                           ROCHESTER HILLS   MI    48307‐3013
AKHIL KAPOOR
AKHTAR, ARIF H                          2645 BEACON HILL CT APT 207                                                                                               AUBURN HILLS      MI    48326‐4226
AKHTAR, MAHMOOD                         1960 HUTCHINS DR                                                                                                          ROCHESTER HILLS   MI    48309‐2976
AKHTAR, SHER M                          1218 CLEAR CREEK DR                                                                                                       ROCHESTER HLS     MI    48306‐3577
AKHTEEBO, WILLIAM                       8417 MASON AVENUE                                                                                                         MORTON GROVE      IL    60053‐3371
AKIKO MCGEHEE                           420 S OPDYKE RD APT 1A                                                                                                    PONTIAC           MI    48341‐3100
AKIL INC                                2525 W MONROE ST                                                                                                          SANDUSKY          OH    44870‐1902
AKILO WHITMORE                          1864 KIPLING DR                                                                                                           DAYTON            OH    45406‐3916
AKIN BILAL                              APT 732                             10500 FOUNTAIN LAKE DRIVE                                                             STAFFORD          TX    77477‐3751
AKIN GUMP STRAUSS HAUER & FELD LLP      ATT: DAVID F. STABER                ATTORNEY FOR SANDEN             1700 PACIFIC AVENUE, SUITE                            DALLAS            TX    75201
                                                                            INTERNATIONAL (USA), INC.       4100
AKIN GUMP STRAUSS HAUER & FIELD LLP     ATTENTION: PHILIP C. DUBLIN         ONE BRYANT PARK                                                                       NEW YORK           NY   10036

AKIN RICHARD A (358763)                 GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                                           NORFOLK            VA   23510
                                                                            STREET, SUITE 600
AKIN ROBERT L (493642)                  GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                                           NORFOLK            VA   23510
                                                                            STREET, SUITE 600
AKIN, ANNIE RUTH B                      4544 HIGHWAY 63                                                                                                           CARNESVILLE       GA    30521‐1704
AKIN, CLIFTON P                         7009 PEARL ST                                                                                                             APPLETON          NY    14008
AKIN, GEORGE S                          1832 BEETHOVEN DR                                                                                                         GREEN BAY         WI    54311‐7367
AKIN, LEROY                             3B CAMELOT CT                                                                                                             BUFFALO           NY    14214‐1421
AKIN, MARGARET A                        1689 125TH STREET                                                                                                         REDFEILD          KS    66769
AKIN, MICHAEL L                         635 BARRY RD                                                                                                              HASLETT           MI    48840‐9120
AKIN, MORRIS G                          PO BOX 435                                                                                                                CARNESVILLE       GA    30521‐0435
AKIN, RICHARD A                         GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                                           NORFOLK           VA    23510‐2212
                                                                            STREET, SUITE 600
AKIN, ROBERT L                          GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                                           NORFOLK            VA   23510‐2212
                                                                            STREET, SUITE 600
AKIN, RONALD D                          1144 N WHITCOMB AVE APT B                                                                                                 INDIANAPOLIS       IN   46224‐6716
AKIN, THOMAS J                          154 PARKRIDGE AVE                                                                                                         BUFFALO            NY   14215‐2212
AKIN, TIMOTHY A                         6215 HOWARD HWY                                                                                                           BELLEVUE           MI   49021
AKINA ALOHA TOURS, INC.                                                     PO BOX 933                                                                            KIHEI              HI   96753‐0933
AKINLUA, GBADEBO                        28023 LANSDOWNE DR                                                                                                        HARRISON           MI   48045‐2257
                                                                                                                                                                  TOWNSHIP
AKINLUA, GBADEBO                           5220 W TIMBEREDGE DR                                                                                                   PEORIA             IL   61615
AKINNIYI, GARUBA
AKINS BURL JACK (ESTATE OF) (504524)       COON & ASSOCS BRENT              917 FRANKLIN ST STE 210                                                               HOUSTON           TX    77002‐1751
AKINS CONST/STL HTS                        6336 MILLETT AVE                                                                                                       STERLING HTS      MI    48312‐2646
AKINS DEBRA D                              AKINS, DEBRA D                   8001 LINCOLN DR W STE D                                                               MARLTON           NJ    08053‐3211
AKINS ELEANOR MARY                         9687 GLADSTONE RD                                                                                                      NORTH JACKSON     OH    44451‐9608
AKINS HAYNES MELODY A                      AKINS HAYNES, MELODY A           PO BOX 3543                                                                           MEMPHIS           TN    38173‐0543
AKINS HAYNES, MELODY A                     FARGARSON & BROOKE               PO BOX 3543                                                                           MEMPHIS           TN    38173‐0543
AKINS J D (ESTATE OF) (509213) ‐ AKINS J D BILBREY & HYLIA                  8724 PIN OAK RD                                                                       EDWARDSVILLE      IL    62025‐6822

AKINS JOHN                              1402 GULF AVE                                                                                                             PORT NECHES       TX    77651‐3254
AKINS JOHN (442917)                     BEVAN & ASSOCIATES                  10360 NORTHFIELD ROAD , BEVAN                                                         NORTHFIELD        OH    44067
                                                                            PROFESSIONAL BLDG
AKINS JR, ANDREW                        15728 SUSSEX ST                                                                                                           DETROIT            MI   48227‐2659
AKINS JR, JESS                          PO BOX 2181                                                                                                               VENICE             FL   34284‐2181
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Name                       Address1                          Address2                       Address3   Address4               City            State   Zip
AKINS JR, JOHN M           895 W PICO AVE APT 107                                                                             CLOVIS           CA     93612‐3320
AKINS RONALD               AKINS, RONALD MATTHEWS            1950 SAWTELLE BLVD STE 245                                       LOS ANGELES      CA     90025‐7017
AKINS SUE                  18105 GADDY ROAD                                                                                   SHAWNEE          OK     74801‐8742
AKINS WARD A JR            4906 PRINCETON ST                                                                                  AMARILLO         TX     79109‐6118
AKINS, ANNIE LUE           20009 STEEL                                                                                        DETROIT          MI     48235‐1134
AKINS, ANNIE LUE           20009 STEEL ST                                                                                     DETROIT          MI     48235‐1134
AKINS, BARBARA D           4841 WOODRIDGE DR                                                                                  AUSTINTOWN       OH     44515‐4830
AKINS, BERNELL D           APT 635                           15630 WEST 65TH STREET                                           SHAWNEE          KS     66217‐9354
AKINS, BOBBY J             1264 SHADY LN                                                                                      GLADWIN          MI     48624‐8396
AKINS, BRIAN J             2472 NORTH 38TH STREET                                                                             KANSAS CITY      KS     66104‐3507
AKINS, BURL JACK           COON & ASSOCS BRENT               917 FRANKLIN ST STE 210                                          HOUSTON          TX     77002‐1751
AKINS, CARL R              95 BATTLE GREEN DR                                                                                 ROCHESTER        NY     14624‐4975
AKINS, CARL T              125 FALLS CREEK RD                                                                                 CORBIN           KY     40701‐8081
AKINS, D'MITRI             133 AMBERWOOD LN                                                                                   GRIFFIN          GA     30223‐1001
AKINS, DAVID M             815 BURLINGTON DR APT 8                                                                            FLINT            MI     48503‐2952
AKINS, DORETHA             3600 COLCHESTER RD                                                                                 LANSING          MI     48906
AKINS, DORTHEA ELIZABETH   16197 LAWTON ST APT B1                                                                             DETROIT          MI     48221‐3193
AKINS, GENEVA              3502 EVERGREEN PKWY                                                                                FLINT            MI     48503‐4582
AKINS, GLENDA L            19460 BEAVERLAND ST                                                                                DETROIT          MI     48219‐1875
AKINS, GREGORY E           319 N 21ST ST                                                                                      SAGINAW          MI     48601‐1312
AKINS, HERMAN L            4177 SOMERSET DR                                                                                   LOS ANGELES      CA     90008
AKINS, IDA D               95 BATTLE GREEN DR                                                                                 ROCHESTER        NY     14624‐4975
AKINS, J D                 BILBREY & HYLIA                   8724 PIN OAK RD                                                  EDWARDSVILLE      IL    62025‐6822
AKINS, JAMES               412 ELLA DR                                                                                        GRIFFIN          GA     30223‐1547
AKINS, JAMES A             412 ELLA DR                                                                                        GRIFFIN          GA     30223‐1547
AKINS, JAMES A             PO BOX 971                                                                                         LAKE ALFRED      FL     33850
AKINS, JAMES F             420 ROBIN HILL RD                                                                                  CLARKSVILLE      TN     37043‐2603
AKINS, JENNY D             4121 CASTELL DR                                                                                    FORT WAYNE       IN     46835‐2100
AKINS, JERRY W             3703 E REMBRANDT DR                                                                                MARTINSVILLE     IN     46151‐6031
AKINS, JEWEL               2741 SPRIT CREEK RD                                                                                HEPHZIBAH        GA     30815
AKINS, JEWEL               8154 LEANDER ST                                                                                    DETROIT          MI     48234‐4095
AKINS, JOHN                BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD, BEVAN                                     NORTHFIELD       OH     44067
                                                             PROFESSIONAL BLDG
AKINS, JOHN F              144 FRANKLIN ST                                                                                    DANSVILLE       NY      14437‐1036
AKINS, JOHN M              26520 DARIA CIR W                                                                                  SOUTH LYON      MI      48178‐8092
AKINS, JOHN MICHAEL        26520 DARIA CIR W                                                                                  SOUTH LYON      MI      48178‐8092
AKINS, JOSH DALE           9042 NORTH 319 WEST                                                                                HUNTINGTON      IN      46750‐9716
AKINS, JUANITA M           16 HORSESHOE TRL                                                                                   NEW BRAUNFELS   TX      78132‐3726
AKINS, LADEAN              711 STOCKDALE ST                                                                                   FLINT           MI      48504‐7200
AKINS, LAWRENCE D          7758 QUEBEC CT                                                                                     O FALLON        MO      63368‐6799
AKINS, M C                 3502 EVERGREEN PKWY                                                                                FLINT           MI      48503‐4582
AKINS, MARK D              20 BENJAMIN DR                                                                                     TROY            MO      63379‐4461
AKINS, MARY E              842 ORLANDO AVE                                                                                    PONTIAC         MI      48340‐2355
AKINS, MICHAEL S           2220 KEOTA LN                                                                                      SUPERIOR        CO      80027
AKINS, PATRICIA A.         30 SPANISH TRL                                                                                     SAINT PETERS    MO      63376‐5900
AKINS, PAULA S             18105 GADDY RD                                                                                     SHAWNEE         OK      74801‐8742
AKINS, PEGGY J             1920 PALMYRA RD                                                                                    PALMYRA         TN      37142‐2079
AKINS, REGINALD D          1401 S HACKLEY ST                                                                                  MUNCIE          IN      47302‐3568
AKINS, RICKY B             4121 CASTELL DR                                                                                    FORT WAYNE      IN      46835‐2100
AKINS, RITA C              8542 NICHOLS RD                                                                                    FLUSHING        MI      48433‐9223
AKINS, ROBERT A            2144 BOYCE FAIRVIEW RD                                                                             ALVATON         KY      42122‐7603
AKINS, ROSS E              3165 WURM RD                                                                                       WOLVERINE       MI      49799‐9722
AKINS, SHIRLEY             2244 KEVIN DAVID                                                                                   FLINT           MI      48505‐1055
AKINS, STEVE R             2801 N UNION AVE APT 57                                                                            SHAWNEE         OK      74804‐2183
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Name                         Address1                         Address2                Address3        Address4                   City               State Zip
AKINS, SYBIL J               3875 KEITH BRIDGE RD                                                                                CUMMING             GA 30041‐3943
AKINS, THOMAS                19460 BEAVERLAND ST                                                                                 DETROIT             MI 48219‐1875
AKINS, THOMAS
AKINS, TONY A                4478 N OAK RD                                                                                       DAVISON            MI   48423‐9301
AKINS, VERNON C              4841 WOODRIDGE DR.                                                                                  AUSTINTOWN         OH   44515‐4830
AKINS, VERNON L              PO BOX 6981                                                                                         GAINESVILLE        GA   30504‐1093
AKINS, W F                   1871 HOLIDAY PINES DR                                                                               BROWNSBURG         IN   46112‐7716
AKINS, WINFORD               911 HARVEST LN APT 10                                                                               LANSING            MI   48917
AKINYELE BOYD                4437 BERQUIST DR                                                                                    DAYTON             OH   45426
AKIRA YOSHIDA                15 E KIRBY ST APT 1004                                                                              DETROIT            MI   48202‐4054
AKIS AGORASTOS
AKKASHIAN, STEPHANIE M       180 CATALPA DR                                                                                      BIRMINGHAM         MI   48009‐1713
AKKASHIAN, STEPHANIE MATTI   180 CATALPA DRIVE                                                                                   BIRMINGHAM         MI   48009‐1713
AKKAYA, AYTEKIN              17 GRANDVIEW AVE                                                                                    NORTH PLAINFIELD   NJ   07060‐4122

AKKERMAN, HAROLD             3119 146TH AVE                                                                                      DORR               MI   49323‐9710
AKKERMAN, JOYCE              4290 CHICAGO DR SW                                                                                  GRANDVILLE         MI   49418‐1504
AKKERMAN, SCOTT              3278 PRAIRIE ST SW                                                                                  GRANDVILLE         MI   49418‐1909
AKKERMAN, SCOTT              176 BROOKMEADOW DR SW APT 7                                                                         GRANDVILLE         MI   49418‐2198
AKKO FASTENER INC            6855 CORNELL RD                                                                                     CINCINNATI         OH   45242‐3022
AKLIN LEMMOND                457 LEMMOND RD                                                                                      SOMERVILLE         AL   35670‐3434
AKLYAN TIGRAN                AKLYAN, TIGRAN                   8391 BEVERLY BLVD                                                  LOS ANGELES        CA   90048‐2633
AKLYAN, TIGRAN               BAVAR LAW GROUP INC,             8391 BEVERLY BLVD                                                  LOS ANGELES        CA   90048‐2633
AKMUT, TARIQ                 2032 EMPIRE DR                                                                                      WAUKESHA           WI   53186‐0808
AKON AUTO AUCTION            2471 LEY DR                                                                                         AKRON              OH   44319‐1103
AKP‐PALVELU OY               BRAHENKATU, 25                                                           HAMEENLINNA 13 13130
                                                                                                      FINLAND
AKP‐PALVELU OY               HATANPAANVALTATIE 42                                                     TAMPERE 10 33100 FINLAND

AKPA OKECHUKWU               PO BOX 831175                                                                                       TUSKEGEE           AL   36083‐1175
AKPOGUMA, ANDREW E           3416 BERKSHIRE RD                                                                                   JANESVILLE         WI   53546‐2251
AKRA BIL AS                  DIKTERVEGEN 8                                                            HAUGESUND N‐550 NORWAY

AKRA BUILDERS I              PO BOX 1225                                                                                         EFFINGHAM          IL   62401‐1225
AKRAM ZAHDEH                 2879 CRANBROOK RIDGE CT                                                                             OAKLAND TWP        MI   48306‐4711
AKRAM, NADIR M               1309 INDIAN CREEK DR                                                                                DESOTO             TX   75115‐3652
AKRE, BRIAN S                MANTYTIE 26‐C                                                            ESPOO 02270 FINLAND
AKRE, BRIAN S                309 VIRGINIA AVE                                                                                    ANN ARBOR          MI   48103‐4133
AKRE, JEFFREY                HAUER FARGIONE LOVE LANDY &      5901 CEDAR LAKE RD S                                               MINNEAPOLIS        MN   55416‐1488
                             MCELLISTREM PA
AKREHAVN, G J                10 6TH AVE N                                                                                        FARGO              ND   58102‐3802
AKRF                         ENVRNMNTL & PLNNG CONSULTANTS    440 PARK AVENUE SOUTH                                              NEW YORK           NY   10016
AKRIDGE JR, JOHN T           15408 MURRAY RD                                                                                     BYRON              MI   48418‐9049
AKRIDGE JR, JOHN THOMAS      15408 MURRAY RD                                                                                     BYRON              MI   48418‐9049
AKRIDGE, BONNIE J            14965 STATE HIGHWAY DD                                                                              CAMPBELL           MO   63933‐8271
AKRIDGE, BONNIE J            14965 STATE HWY DD                                                                                  CAMPBELL           MO   63933
AKRIDGE, CLINTON             412 SPRUCE LN                                                                                       MONROE             GA   30655‐2000
AKRIDGE, DAVID C             117 VALLEY FARM LN                                                                                  ACWORTH            GA   30102‐1778
AKRIDGE, HARRISON            3302 KELLEY CHAPEL RD                                                                               DECATUR            GA   30034‐5346
AKRIDGE, NEICEE L            35 REDWOOD AVE                                                                                      DAYTON             OH   45405‐5110
AKRIDGE, SYLVIA A            1121 KAMMER AVE                                                                                     DAYTON             OH   45417‐1512
AKRIDGE,NEICEE L             35 REDWOOD AVE                                                                                      DAYTON             OH   45405‐5110
AKRIGHT, DUANE T             12067 RUPP RD                    C/O MARILYN J AKRIGHT                                              GRAND LEDGE        MI   48837‐9112
AKRIGHT, GERALD L            1721 AURELIUS RD                                                                                    HOLT               MI   48842‐1919
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Name                                 Address1                         Address2                        Address3                 Address4                City               State   Zip
AKRIGHT, JAMES H                     2020 RAY RD                                                                                                       FENTON              MI     48430‐9709
AKRIGHT, RAMONA K                    2020 RAY RD                                                                                                       FENTON              MI     48430
AKRIGHT, STEVEN G                    984 ZIMMER RD                                                                                                     WILLIAMSTON         MI     48895‐9778
AKRO/FARMINGTON HILL                 31500 NORTHWESTERN HWY.          SUITE 180                                                                        FARMINGTON HILLS    MI     48334

AKROMAS, JEROME G                    17 WILLOW GREEN DR                                                                                                AMHERST            NY      14228‐3421
AKROMOLD/CUYAHOGA FA                 1100 MAIN ST                                                                                                      CUYAHOGA FALLS     OH      44221‐4922
AKRON AEROS                          CANAL PRAK                       300 S MAIN ST                                                                    AKRON              OH      44308‐1204
AKRON BEACON JOURNAL                 ED DUNN                          44 E EXCHANGE ST                                                                 AKRON              OH      44328‐0001
AKRON CANTON REGIONAL AIRPORT        5400 LAUBY RD STE 9                                                                                               NORTH CANTON       OH      44720‐1598
AKRON CENTRAL SCHOOL                                                  47 BLOOMINGDALE AVE                                                              AKRON              NY      14001
AKRON DISTRICT SOCIETY OF            UNIVERSITY OF AKRON COLLEGE OF   ENGINEERING                                                                      AKRON              OH      44325‐0001
PROFENGINEERS
AKRON EXPRESS                        3155 ALBRECHT AVE                                                                                                 AKRON              OH      44312‐3532
AKRON GEAR & ENGINEERING INC         PO BOX 269                                                                                                        AKRON              OH      44309‐0269
AKRON GENERAL MED CT                 PO BOX 715228                                                                                                     COLUMBUS           OH      43271‐0001
AKRON HILTON W/AKRON                 3180 W MARKET ST                                                                                                  FAIRLAWN           OH      44333‐3314
AKRON MARATHON CHARITABLE            58 W EXCHANGE ST STE C           ROAD RUNNER AKRON MARARTHON                                                      AKRON              OH      44308‐1068
CORPORATION
AKRON MUNICIPAL COURT                217 S HIGH ST RM 837                                                                                              AKRON              OH      44308‐1634
AKRON OH DIV OF TAXATION
AKRON POLYMER PRODUCTS INC           3939A MOGADORE INDUSTRIAL PKWY                                                                                    MOGADORE           OH      44260‐1224
AKRON POLYMER PRODUCTS, INC.         JULIE PERRY X10                  3939A MOGADORE INDUSTRIAL PKY                                                    AUSTELL            GA      30168
AKRON POLYMERS PRODUCTS INC          3939 MOGADORE INDSTRL PKY                                                                                         MOGADORE           OH      44260
AKRON POLYMERS PRODUCTS INC          571 KENNEDY RD                                                                                                    AKRON              OH      44305‐4425
AKRON POLYMERS PRODUCTS INC          JULIE PERRY X10                  3939A MOGADORE INDUSTRIAL PKY                                                    AUSTELL            GA      30168
AKRON POR/AKRON                      2739 CORY AVE                                                                                                     AKRON              OH      44314‐1338
AKRON PORCELAIN & PLASTIC CO, THE    2739 CORY AVE                                                                                                     AKRON              OH      44314‐1338
AKRON PORCELAIN & PLASTIC CO, THE    MARY ANN BROWN                   2739 CORY AVE, PO BOX 3767                                                       ROGERS CITY        MI
AKRON PORCELAIN & PLASTIC CO, THE    MARY ANN BROWN                   PO BOX 3767                     2739 CORY AVE                                    AKRON              OH      44314‐0767
AKRON PORCELAIN & PLASTICS CO        2739 CORY AVE                                                                                                     AKRON              OH      44314‐1338
AKRON PORCELAIN COMPANY              MARY ANN BROWN                   PO BOX 3767                     2739 CORY AVE                                    AKRON              OH      44314‐0767
AKRON PORCELAIN COMPANY              MARY ANN BROWN                   2739 CORY AVE, PO BOX 3767                                                       ROGERS CITY        MI
AKRON RUBBER DEVELOPMENT LAB         300 KENMORE BLVD                                                                                                  AKRON              OH      44301‐1039
AKRON RUBBER/AKRON                   2887 GILCHRIST RD                                                                                                 AKRON              OH      44305‐4415
AKRON TESTING LABORATORY AND         WELDING SCHOOL                   1171 WOOSTER RD N                                                                BARBERTON          OH      44203‐1249
AKRON‐UMADAOP INC                    665 W MARKET ST                                                                                                   AKRON              OH      44303‐1438
AKROYD, MARYANN                      5 OAK ST                                                                                                          YALAHA             FL      34797‐3004
AKS TRANSPORTATION COMPANY                                            6020 BUTLER ST                                                                   PITTSBURGH         PA      15201
AKSAMIT, THOMAS M                    4937 HEATHER GLEN TRL                                                                                             MCKINNEY           TX      75070‐2495
AKSAMITOWSKI, CHESTER E              417 FAIRFIELD AVE NW                                                                                              GRAND RAPIDS       MI      49504‐4623
AKSAY ILHAN A                        16 KIMBERLY CT                                                                                                    PRINCETON          NJ      08540‐2634
AKSHAY JAISING                       127B HILLDALE DR                                                                                                  ROYAL OAK          MI      48067‐2213
AKSOY HALDUN                         C/O Y C TRADING COMPANY          18201 181ST CIR S                                                                BOCA RATON         FL      33498‐1636
AKSYS USA INC                        1909 KYLE CT                                                                                                      GASTONIA           NC      28052‐8420
AKSYS USA INC                        PO BOX 12867                     1909 KYLE COURT                                                                  GASTONIA           NC      28052‐0043
AKT ALTMAERKER KUNSTSTOFF‐ TECHNIK   STENDALER CHAUSSER 3/5                                                                    GARDELEGEN SACHSEN‐
                                                                                                                               ANHAL 39638 GERMANY
AKT ALTMAERKER KUNSTSTOFF‐TECH       LINDA OTTE (49)                  TEXTIMA KUNSTSTOFF GMBH         STENDALER CHAUSSEE 3/5   BYTCA SLOVAKIA
AKT ALTMAERKER KUNSTSTOFF‐TECHNIK    LINDA OTTE (49)                  TEXTIMA KUNSTSTOFF GMBH         STENDALER CHAUSSEE 3/5   BYTCA SLOVAKIA

AKT ALTMAERKER KUNSTSTOFF‐TECHNIK    STENDALER CHAUSSEE 3/5                                                                    GARDELEGEN SA 39638
                                                                                                                               GERMANY
AKT INC                              PO BOX 9682                                                                                                       TULSA               OK     74157‐0682
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Name                                  Address1                           Address2                         Address3                 Address4                    City               State Zip
AKT/CZECH REPUBLIC                    ZELIVSKEHO 23                                                                                JABONIC NAD NIS CS 466 05
                                                                                                                                   CZECH REPUBLIC
AKTIEBOLAGET VOLVO                    S‐405 08                                                                                     GOTHERNBURG, SWEDEN
AKTIEBOLAGET VOLVO,VOLVO              VOLVO NORTH AMERICA                ROCKLEIGH INDUSTRIAL PARK P.O.                                                        ROCKLEIGH           NJ   07647
LASTVAGNAR AB                         CORPORATION,VOLVO GM HEAVY TRUCK   BOX D‐1
                                      CORPORATION
AKTRION/LEXINGTON                     1050 ELIZABETH ST UNIT 6                                                                                                 NICHOLASVILLE       KY   40356‐9597
AKUNNE HYACINTH                       1660 POND SHORE DR                                                                                                       ANN ARBOR           MI   48108‐9565
AKWAABA AFTER SCHOOL PROGRAM          8045 2ND AVE                                                                                                             DETROIT             MI   48202‐2403
AKWAABA COMMUNITY CTR                 ATTN: WILLIAM MOORE                700 SEWARD ST # 102                                                                   DETROIT             MI   48202‐2427
AKWASI A BROBBEY                      400 LAS CASCATA                                                                                                          CLEMENTON           NJ   08021‐4924
AKWASI OWUSU                          AKWASI OWUSU                       13654 NEWTONMORE PL                                                                   BRISTOW             VA   20136‐2673
AKWASI OWUSU                          13654 NEWTONMORE PL                                                                                                      BRISTOW             VA   20136‐2673
AKYOL, MUSTAFA                        184 KNOB HILL ROAD                                                                                                       GURNEE              IL   60031
AKZO NOBEL COATING INC                ATTN THOMAS P WILCZAK              PEPPER HAMILTON LLP              100 RENAISSANCE CENTER                               DETROIT             MI   48243
                                                                                                          SUITE 3600
AKZO NOBEL COATINGS, INC              PEPPER HAMILTON LLP                C/O THOMAS P WILCZAK             100 RENAISSANCE CENTER   SUITE 3600                  DETROIT            MI    48243
AKZO NOBEL COATINGS, INC.             MITCH HARRIS                       120 FRANKLIN RD                                                                       PONTIAC            MI    48341
AKZO NOBEL COATINGS, INC.             MITCH HARRIS                       30 BRUSH ST                                                                           PONTIAC            MI    48341‐2212
AKZO NOBEL NV                         525 W VAN BUREN ST                                                                                                       CHICAGO            IL    60607
AKZO NOBEL POLYMER CHEMICALS L        525 W VAN BUREN ST                                                                                                       CHICAGO            IL    60607
AL & JERRY'S MARKET                   ATTN: GEORGE ABUAITA               7110 N SAGINAW RD                                                                     MT MORRIS          MI    48458‐2130
AL AGHA, BARBARA J                    14 W SHADY LN                                                                                                            HOUSTON            TX    77063‐1304
AL AND LEE'S AUTO CARE CENTER         1830 W 11TH ST STE B                                                                                                     UPLAND             CA    91786‐8415
AL APPLING                            14830 STAHELIN AVE                                                                                                       DETROIT            MI    48223‐2219
AL BAUMANN CHEVROLET‐BUICK, INC.      ALBERT BAUMANN                     2379 W STATE ST                                                                       FREMONT            OH    43420‐1440
AL BAUMANN CHEVROLET‐BUICK, INC.      2379 W STATE ST                                                                                                          FREMONT            OH    43420‐1440
AL BOSTON                             195 N PROSPECT ST                                                                                                        OBERLIN            OH    44074‐1038
AL BOURDEAU INSURANCE AGENCY          ATTN: ROBERT L BOURDEAU            PO BOX 90419                                                                          FLINT              MI    48509‐0419
AL BRIDGES                            29 S PADDOCK ST                                                                                                          PONTIAC            MI    48342‐2623
AL BRYK                               731 CRESTON POINT CIR                                                                                                    INDIANAPOLIS       IN    46239‐9165
AL CALDWELL                           19300 REDFERN ST                                                                                                         DETROIT            MI    48219‐5513
AL CERRONE CHEVROLET‐BUICK‐PONTIAC‐   68 WASHINGTON ST                                                                                                         SOUTH ATTLEBORO    MA    02703‐5531

AL CERRONE CHEVROLET‐BUICK‐PONTIAC‐ 68 WASHINGTON ST                                                                                                           SOUTH ATTLEBORO    MA    02703‐5531
GMC‐CADILLAC
AL CERRONE'S HARRIS AUTO SALES, INC. ALFRED CERRONE                      68 WASHINGTON ST                                                                      SOUTH ATTLEBORO    MA    02703‐5531

AL COLE                               2509 RIVER ST                                                                                                            SAGINAW            MI    48601‐3224
AL COLLINS                            4341 SALEM RD                                                                                                            COVINGTON          GA    30016‐7512
AL COLLINS GRAPHIC DESIGN             4750 S 44TH PL                                                                                                           PHOENIX            AZ    85040‐4000
AL CRAFT INDUSTRIES INC               710 MINNESOTA DR                                                                                                         TROY               MI    48083‐6204
AL CRAFT/TROY                         710 MINNESOTA DR                                                                                                         TROY               MI    48083‐6204
AL CURELLA                            3136 ENCLAVE CT                                                                                                          KOKOMO             IN    46902‐8129
AL DE MARK AUTO SERVICE               402 S TEJON ST                                                                                                           COLORADO SPRINGS   CO    80903‐2112

AL DIA NEWSPAPER, INC                 HERNAN GUARACAO                    2 PENN CENTER, 1500 JFK BLVD                                                          PHILADELPHIA        PA   19102
AL FANNIN
AL FARTOUSI HATTAB                    AL FARTOUSI, HATTAB                30928 FORD RD                                                                         GARDEN CITY        MI    48135‐1803
AL FIDELHOLTZ                         BEVAN & ASSOCIATES, LPA, INC.      6555 DEAN MEMORIAL PARKWAY                                                            BOSTON HTS.        OH    44236
AL GARCIA                             10835 TERNEZ DR                                                                                                          MOORPARK           CA    93021‐9767
AL GATES & COMPANY                    PO BOX 7114                                                                                                              FLINT              MI    48507‐0114
AL GEORGES CONEY ISLAND               850 N PERRY ST                                                                                                           PONTIAC            MI    48342‐1568
                                    09-50026-mg            Doc 7123-3         Filed 09/24/10 Entered 09/24/10 15:05:32                               Exhibit B
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Name                                Address1                              Address2                        Address3                     Address4                    City            State Zip
AL GHANDI AUTO                      P.O. BOX 5991                                                                                      DUBAI UNITED ARAB
                                                                                                                                       EMIRATES
AL GHANDI AUTO                      P.O. BOX 6150                                                                                      DUBAI UNITED ARAB
                                                                                                                                       EMIRATES
AL GOLDSBERRY                       453 BIMINI DR                                                                                                                  MARION          OH    43302‐1615
AL GORDON                           701 NORTH ROME STREET                                                                                                          ELIZABETHTON    TN    37643
AL GREGORY                          NOT AVAILABLE
AL GRIFFIN                          6388 SANTA FE TRL                                                                                                              FLINT            MI   48532‐2067
AL HANKEN MOTORS, INC.              DONALD HANKEN                         601 TOLES AVE                                                                            LARNED           KS   67550‐3117
AL HANKEN MOTORS, INC.              601 TOLES AVE                                                                                                                  LARNED           KS   67550‐3117
AL HENSLEY                          922 S SARASOTA DR                                                                                                              YORKTOWN         IN   47396‐9574
AL HUSEINI CORPORATION              AIRPORT ROAD                                                                                       MEDINA SAUDI ARABIA
AL HUSS AUTO                        W2074 LAU RD                                                                                                                   FREEDOM          WI   54130‐8611
AL JALLAD, MOHAMED S                PO BOX 6310                                                                                                                    EAST LANSING     MI   48826‐6310
AL JOMAIH                           MALIK KHALID RD                                                                                    DAMMAM SAUDI ARABIA
AL JOMAIH                           AZIZYAH RD                                                                                         AL KHOBAR SAUDI ARABIA
AL JOMAIH                           FYSALIYAT AL SHARQ                                                                                 DAMMAM SAUDI ARABIA
AL JOMAIH                           AL MAJMAH                                                                                          AL MAJMAH SAUDI ARABIA
AL JOMAIH                           SHAGRA                                                                                             SHAGRA SAUDI ARABIA
AL JOMAIH                           AL‐SAKABI SQUARE‐KING ABDULLAH RD                                                                  AL JOUF SAUDI ARABIA

AL JOMAIH                           AL QURAYAT                                                                                         AL QURAYAY SAUDI ARABIA
AL JOMAIH                           IRAQ ROAD                                                                                          ARAR CITY SAUDI ARABIA
AL JOMAIH                           KHUMASIYA ST, QASSIM RD                                                                            AL HAIL CITY SAUDI ARABIA
AL JOMAIH                           KING KHALID RD                                                                                     TABOUK SAUDI ARABIA
AL JOMAIH                           MECCAH RD                                                                                          JEDDAH SAUDI ARABIA
AL JOMAIH                           PRINCE MAJID ST                                                                                    JEDDAH SAUDI ARABIA
AL JOMAIH                           PRINCE SULTAN ST                                                                                   JEDDAH SAUDI ARABIA
AL JOMAIH                           KINGS ROAD                                                                                         JEDDAH SAUDI ARABIA
AL JOMAIH                           AN NUZHAH‐RING ROAD                                                                                JEDDAH SAUDI ARABIA
AL JOMAIH                           AL‐MARWAH ‐ RING RD                                                                                JEDDAH SAUDI ARABIA
AL JOMAIH                           DIRAB RD                                                                                           RIYADH SAUDI ARABIA
AL JOMAIH                           KING ABDULLAH RD                                                                                   RIYADH SAUDI ARABIA
AL JOMAIH                           EAST RING RD ‐ EXIT 15                                                                             RIYADH SAUDI ARABIA
AL JOMAIH                           KING FAHAD RD                                                                                      RIYADH SAUDI ARABIA
AL KNOBLER TRUST                    PAULA KNOBLER TTEE                    AL KNOBLER TRUST U/A 3/7/88     7563 IMPERIAL DR #601‐D                                  BOCA RATON       FL   33433‐2820
AL KNOCH INTERIORS                  AL KNOCH                              PO BOX 484                                                                               CANUTILLO        TX   79835‐0484
AL LIGHTING                         TUEBINGER STE 123                     POSTFACH 1161                                                REUTLINGEN BW 72462 BW
                                                                                                                                       72701 GERMANY
AL M WASHINGTON                     5321 EDWARDS AVE                                                                                                               FLINT            MI   48505‐5128
AL MANSOUR AUTOMOTIVE COMPANY       P.O. BOX 2514                                                                                      CAIRO EGYPT
AL MANSOUR CHEVROLET                54 GAMEAT AL DOWAL STREET             MOHANDESSIN                     P.O. BOX 2514                CAIRO 11211 EGYPT
AL NASSR TRADING ESTABLISHMENT      CADILLAC CENTER TAHALIA ST BOX 2325                                                                JEDDAH 21451 SAUDI ARABIA

AL NAWASREH ADBER RAOUF ET AL       JAMES L GILBERT                       GILBERT OLLANIK & KOMYATTE PC   5400 WARD ROAD BLDG IV STE                               ARVADA           CO   80002
                                                                                                          200
AL OTAIBA GROUP OF ESTABLISHMENTS   SINIA MAIN STREET                                                                                  AL AIN UNITED ARAB
                                                                                                                                       EMIRATES
AL OTAIBA GROUP OF ESTABLISHMENTS   P.O. BOX 467                                                                                       ABU DHABI UNITED ARAB
                                                                                                                                       EMIRATES
AL PETERS JR                        221 ELLER AVE                                                                                                                  ENGLEWOOD       OH    45322‐1728
AL PETERS JR                        221 ELLER AVE                                                                                                                  ENGLEWOOD       OH    45322‐1728
AL PFALZGRAF
AL PIEMONTE CADILLAC, INC.          ALEX PIEMONTE                         1611 E MAIN ST                                                                           SAINT CHARLES    IL   60174‐2343
                                   09-50026-mg               Doc 7123-3       Filed 09/24/10 Entered 09/24/10 15:05:32      Exhibit B
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Name                               Address1                              Address2              Address3         Address4                City               State Zip
AL PIEMONTE CADILLAC, INC.         1611 E MAIN ST                                                                                       SAINT CHARLES        IL 60174‐2343
AL QUIDDUS, ABDUL F                7610 READING RD APT 711                                                                              CINCINNATI          OH 45237‐3229
AL R
AL R SHIELDS                       340 SLOAN DR                                                                                         RICHLAND           MS   39218
AL REYES                           620 W 149TH ST APT 3F                                                                                NEW YORK           NY   10031‐3160
AL REYNOLDS, INC.                  MENLO REYNOLDS*                       1400 W MAIN ST                                                 GREENSBURG         IN   47240‐9730
AL REYNOLDS, INC.                  1400 W MAIN ST                                                                                       GREENSBURG         IN   47240‐9730
AL REYNOLDS, INC.                  HWY 46 W                                                                                             GREENSBURG         IN   47240
AL ROBERTS                         639 UNION AVE SE                                                                                     GRAND RAPIDS       MI   49503‐5443
AL SCHAFER
AL SEBERT                          13165 N CLIO RD                                                                                      CLIO               MI   48420‐1028
AL SERAFINI                        1447 SUNFLOWER DR                                                                                    COLUMBUS           OH   43204‐2214
AL SERRA AUTO PLAZA                6201 S SAGINAW RD                                                                                    GRAND BLANC        MI   48439‐8139
AL SERRA BUICK‐GMC TRUCK, INC.     JOSEPH SERRA                          G6201 S SAGINAW                                                GRAND BLANC        MI   48439
AL SERRA BUICK‐GMC TRUCK‐HUMMER    G6201 S SAGINAW                                                                                      GRAND BLANC        MI   48439
AL SERRA CHEVROLET                 1570 AUTO MALL LOOP                                                                                  COLORADO SPRINGS   CO   80920‐3954

AL SERRA CHEVROLET, INC.           JOSEPH SERRA                          6167 S SAGINAW RD                                              GRAND BLANC        MI   48439‐8139
AL SERRA CHEVROLET, INC.           6167 S SAGINAW RD                                                                                    GRAND BLANC        MI   48439‐8139
AL SERRA CHEVROLET, L.L.C.         JEROME COLTEN                         1570 AUTO MALL LOOP                                            COLORADO SPRINGS   CO   80920‐3954

AL SERRA CHEVROLET‐SOUTH           230 N ACADEMY BLVD                                                                                   COLORADO SPRINGS   CO   80909‐6604

AL SHAALI & CO ADVOCATES & LEGAL   OFFICE 207/208 AL KHAIMAH BLDGAL      PO BOX 20220                           DUBAI UNITED ARAB
CONSULTANT                         ITTIHAD ST                                                                   EMIRATES
AL SHAALI & CO ADVOCATES & LEGAL   PO BOX 20220 DEIRA                                                           DUBAI UNITED ARAB
CONSULTANTS                                                                                                     EMIRATES
AL SMITH OLDSMOBILE CADILLAC INC   921 N MAIN ST                                                                                        BOWLING GREEN      OH   43402‐1841
AL SPENCER                         1576 WIARD BLVD                                                                                      YPSILANTI          MI   48198‐3326
AL STEINBERG
AL STUTSON
AL TAMIMI & COMPANY                DUBAI INTL FNANCL CTR 6TH FL 4E SHEIKH PO BOX 9275                           DUBAI UNITED ARAB
                                   ZAYED                                                                        EMIRATES
AL TAYLOR INC/KEEGO                3089 ORCHARD LAKE RD                                                                                 KEEGO HARBOR       MI   48320‐1246
AL TRANSPORTATION                  24782 HATHAWAY ST                                                                                    FARMINGTON HILLS   MI   48335‐1543

AL UHLHORN                         5068 CASA LOMA BLVD                                                                                  CINCINNATI         OH   45238‐3722
AL WENDLING                        202 W 600 N                                                                                          ALEXANDRIA         IN   46001‐8207
AL WHITLEY SR                      PO BOX 112                                                                                           TAMMS              IL   62988‐0112
AL WILLEFORD CHEVROLET, INC.       ALTON WILLEFORD                       1603 US HIGHWAY 181                                            PORTLAND           TX   78374‐3701
AL WILLEFORD CHEVROLET, INC.       1603 US HIGHWAY 181                                                                                  PORTLAND           TX   78374‐3701
AL WILLIAMS                        2003 CYPRESS RD                                                                                      FLORENCE           SC   29505‐6816
AL WOODS                           20510 SECLUDED LN                                                                                    SOUTHFIELD         MI   48075‐7557
AL YOUSUF MOTORS L.L.C.            AL FAIZAL ROAD                                                               RAS AL KHAIMAH UNITED
                                                                                                                ARAB EMIRATES
AL YOUSUF MOTORS L.L.C.            P.O. BOX 6150                                                                DUBAI UNITED ARAB
                                                                                                                EMIRATES
AL YOUSUF MOTORS LLC               PO BOX 25                             DUBAI UPDTE                            UNITED ARAB EMRITES
                                                                                                                UNITED ARAB EMIRATES
AL'S AUTO REPAIR                   932 N CLIFF AVE                                                                                      SIOUX FALLS        SD   57103‐0130
AL'S AUTO SERVICE                  3329 SUPERIOR LN                                                                                     BOWIE              MD   20715
AL'S AUTOMOTIVE                    10655 COLOMA RD                                                                                      RANCHO CORDOVA     CA   95670‐4001

AL'S AUTOMOTIVE & TIRE             1643 S OLD HIGHWAY 141                                                                               FENTON             MO   63026‐5736
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Name                                  Address1                          Address2                           Address3                   Address4                   City                 State   Zip
AL'S AUTOMOTIVE SERVICE CENTER        20 FRANKLIN ST                                                                                                             EXETER                NH     03833‐2819
AL'S CAR CARE                         8511 W FAIRVIEW AVE                                                                                                        BOISE                 ID     83704‐8321
AL'S CAR CARE INC.                    1645 W GROVE ST                                                                                                            BOISE                 ID     83702‐5162
AL'S CAR CARE CENTER, INC.            702 ELM ST                                                                                                                 BOSCOBEL              WI     53805‐1331
AL'S CAR CARE INC.                    1645 W GROVE ST                                                                                                            BOISE                 ID     83702‐5162
AL'S CORNER STORE                     R. R . 1                                                                                        ARNPRIOR ON K7S 3G7
                                                                                                                                      CANADA
AL'S D & I REPAIR, INC.               3483 STURGIS RD                                                                                                            RAPID CITY           SD      57702‐2344
AL'S QUALITY SERVICE                  102 E MARKET ST                                                                                                            SHANNON              IL      61078‐9340
AL'S REPAIR                           1961 27TH AVE SW                                                                                                           PINE RIVER           MN      56474
AL‐AMANA INDUSTRIES COMPANY S.A.K.    P.O.BOX 223                                                                                     SAFAT 13003 KUWAIT

AL‐AMANA INDUSTRIES COMPANY S.A.K.    P.O. BOX 223                                                                                    SAFAT 13063 KUWAIT

AL‐AMIN, AYYUB                        2118 W ROOSEVELT DR                                                                                                        MILWAUKEE             WI     53209‐6324
AL‐ASADI, GHADA O
AL‐ASSADI SALEM                       29114 MANCHESTER ST                                                                                                        WESTLAND             MI      48185‐1888
AL‐CRAFT DESIGN & ENGINEERING INC     710 MINNESOTA DR                                                                                                           TROY                 MI      48083‐4653
AL‐FE HEAT TREATING INC               1300 LEON SCOTT CT                                                                                                         SAGINAW              MI      48601‐1204
AL‐FE HEAT TREATING INC               2066 E 2ND ST                                                                                                              DEFIANCE             OH      43512‐8654
AL‐FE HEAT TREATING INC               2349 E CARDINAL DR                                                                                                         COLUMBIA CITY        IN      46725‐8789
AL‐FE HEAT TREATING INC               979 SEVILLE RD                                                                                                             WADSWORTH            OH      44281‐8316
AL‐FERZLY, JACK                       PO BOX 9022                       C/O KOREA                                                                                WARREN               MI      48090‐9022
AL‐HADGIE M CAMARA                    5918 CANTERBURY RD.                                                                                                        JACKSON              MS      39206‐2107
AL‐HAIANY TRANSPORT                   684 RIVERVIEW DR APT 90                                                                                                    COLUMBUS             OH      43202‐1696
AL‐HAWSA YAAQOUB'JACOB'
AL‐KHAMERY MOTORS                     HADDA STREET, P.O. BOX 2702                                                                     SANA'A YEMEN
AL‐KHAMERY MOTORS                     HADDA STREET                                                                                    SANA'A YEMEN
AL‐KHOURI, HIKMAT G                   1630 E CHOCTAW DR                                                                                                          LONDON               OH      43140‐8730
AL‐KIRWI, MAHMOUD A                   36036 HARPER AVE                                                                                                           CLINTON TOWNSHIP     MI      48035‐2953

AL‐KUJUK ADNAN Q                      AL‐KUJUK, ADNAN Q                 15565 NORTHLAND DRIVE, SUITE 402                                                         SOUTHFIELD            MI     48075
AL‐KUJUK, ADNAN Q                     HAMED MOSABI                      15565 NORTHLAND DRIVE, SUITE 402                                                         SOUTHFIELD            MI     48075
AL‐LATEEF, KAAMILYN                   603 S WEADOCK AVE                                                                                                          SAGINAW               MI     48607‐1735
AL‐LATEEF, Y AMEER                    PO BOX 2144                                                                                                                SAGINAW               MI     48605‐2144
AL‐MANSOUR AUTOMOTIVE COMPANY         54 GAMEAT AL DOWAL STREET         MOHANDESSIN                        P.O. BOX 2514              CAIRO 11211 EGYPT

AL‐MOOSHI, NAMROOD J                  28256 W 10 MILE RD                                                                                                         FARMINGTON HILLS      MI     48336‐3002

AL‐NAWASREH, ABDER‐RAOUF (AND         C/O JAMES L GILBERT               GILBERT, OLLANIK & KOMYATTE PC     5400 WARD ROAD, BLDG IV,                              ARVADA                CO     80002
OTHERS)                                                                                                    STE 200
AL‐NISA ALLMOND                       917 MCLAIN ST                                                                                                              ELIZABETH             NJ     07202‐3314
AL‐NISA C ALLMOND                     917 MCLAIN ST                                                                                                              ELIZABETH             NJ     07202‐3314
AL‐SAYED MOUSTAFA DR LAW OFFICES OF   23 BAHSA ST                       PO BOX 11317                                                  DAMASCUS SYRIA

AL‐SHURAFA, HASAN K                   3813 SARATOGA DR                                                                                                           JOLIET               IL      60435‐1566
AL‐TABAKHA EMAD                       707 MIAMISBURG CENTERVILLE RD                                                                                              DAYTON               OH      45459‐6522
AL‐THAAQIB, NURRUDIN A                841 N KEYSTONE AVE                                                                                                         INDIANAPOLIS         IN      46201‐2045
AL‐WEBDALE III, ALFRED C              5069 UPPER MOUNTAIN RD                                                                                                     LOCKPORT             NY      14094‐9634
AL‐X AUTO REPAIR                      415 CHESTNUT ST                                                                                                            UNION                NJ      07083‐9305
ALA, CYNTHIA L                        4169 CHAMBLEE TUCKER RD                                                                                                    DORAVILLE            GA      30340‐4540
ALA, GINO M                           4405 BRIAR DR                                                                                                              SHELBY TWP           MI      48316‐2218
ALA, JOSEPH M                         21031 MICHAEL CT                                                                                                           SAINT CLAIR SHORES   MI      48081‐3067
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Name                                 Address1                               Address2                  Address3                     Address4               City            State   Zip
ALABADO, MIGUEL J                    4904 SHADY OAK TRAIL                                                                                                 GRAND PRAIRIE    TX     75052‐4420
ALABAKIS, ELENI                      6048 FAIRBORN DR                                                                                                     CANTON           MI     48187‐5624
ALABAMA AGRICULTURAL AND             MECHANICAL UNIVERSITY                  PO BOX 1388               COMPTROLLERS OFFICE                                 NORMAL           AL     35762‐1388
ALABAMA AGRICULTURAL AND             10900 EUCLID AVE                       COMPTROLLERS OFFICE                                                           CLEVELAND        OH     44106‐1712
MECHANICAL UNIVERSITY
ALABAMA AUTO SERVICE CENTERS INC     28160 US HIGHWAY 98                                                                                                  DAPHNE           AL     36526‐7002
ALABAMA C S P C                      PO BOX 244015                                                                                                        MONTGOMERY       AL     36124‐4015
ALABAMA CAR RENTAL                   5333 MESSER AIRPORT HWY                                                                                              BIRMINGHAM       AL     35212‐1527
ALABAMA CENTRAL CREDIT UNION         3601 8TH AVE S                                                                                                       BIRMINGHAM       AL     35222‐3218
ALABAMA CHILD SUPPORT PMT CNT        PO BOX 244015                                                                                                        MONTGOMERY       AL     36124‐4015
ALABAMA CIVIL JUSTICE REFORM         PO BOX 2447                                                                                                          MONTGOMERY       AL     36102‐2447
COMMITTEE
ALABAMA CREDIT UNION                 3601 4TH AVE S                                                                                                       BIRMINGHAM       AL     35222‐2417
ALABAMA CSPC                         PO BOX 244015                                                                                                        MONTGOMERY       AL     36124‐4015
ALABAMA DEPARTMENT OF INDUSTRIAL
RELATIONS
ALABAMA DEPARTMENT OF REVENUE        PO BOX 831199                                                                                                        BIRMINGHAM       AL     35283‐1199
ALABAMA DEPARTMENT OF REVENUE        50 N RIPLEY ST                                                                                                       MONTGOMERY       AL     36132‐0001
ALABAMA DEPARTMENT OF REVENUE        PO BOX 327790                                                                                                        MONTGOMERY       AL     36132‐7790
ALABAMA DEPARTMENT OF REVENUE        P.O. BOX 327790                                                                                                      MONTGOMERY       AL     36132‐7790
ALABAMA DEPARTMENT OF REVENUE        ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 50 N RIPLEY ST                                                                MONTGOMERY       AL     36132‐0001

ALABAMA DEPARTMENT OF                                                       2715 SKYLAND BLVD E                                                           TUSCALOOSA       AL     35405
TRANSPORTATION
ALABAMA DEPT OF PUBLIC SAFETY        1030 COLISEUM BLVD                                                                                                   MONTGOMERY       AL     36109‐1212
ALABAMA DEPT OF REVENUE              ACCT OF JERRY MC MULLEN                PO BOX 327825                                                                 MONTGOMERY       AL     36132‐7825
ALABAMA DEPT OF REVENUE              ACCT OF OLIVIA R BAKER                 PO BOX 327825                                                                 MONTGOMERY       AL     36132‐7825
ALABAMA DEPT OF REVENUE              SALES, USE & BUSINESS TAX              PO BOX 327550                                                                 MONTGOMERY       AL     36132‐7550
ALABAMA DEPT OF REVENUE              FOREIGN FRANCHISE TAX SECTION          PO BOX 327330                                                                 MONTGOMERY       AL     36132‐7330
ALABAMA DEPT OF REVENUE
ALABAMA DEPT OF REVENUE              PO BOX 327431                                                                                                        MONTGOMERY       AL     36132‐7431
ALABAMA DEPT OF REVENUE UNIT         PO BOX 327950                                                                                                        MONTGOMERY       AL     36132‐7950
ALABAMA DEPT. OF SAFETY                                                     1030 COLISEUM BLVD                                                            MONTGOMERY       AL     36109
ALABAMA DEPT. OF TRANSPORTATION                                             1701 W I65 SERVICE RD N                                                       MOBILE           AL     36618
ALABAMA DEPT. OF TRANSPORTATION                                             129 E GROVE HILL AVE                                                          GROVE HILL       AL     36451
ALABAMA DEPT. OF TRANSPORTATION                                             HIGHWAY 87 SOUTH                                                              TROY             AL     36081
ALABAMA DEPT. OF TRANSPORTATION                                             660 CHISHOLM ST                                                               MONTGOMERY       AL     36110
ALABAMA DOT 2ND DIVISION                                                    295 HIGHWAY 20                                                                TUSCUMBIA        AL     35674
ALABAMA DOT‐DIVISION 3                                                      1020 BANKHEAD HWY                                                             BIRMINGHAM       AL     35202
ALABAMA DUCTILE CASTING CO           210 ANN AVE                            REINSTATE 11/96                                                               BREWTON          AL     36426‐2100
ALABAMA EDUCATION ASSOCIATION        STEVE PERRIGIN                         422 DEXTER AVE                                                                MONTGOMERY       AL     36104‐3743
ALABAMA GAS CORPORATION                                                     410 10TH ST S                                                                 BIRMINGHAM       AL     35233
ALABAMA GREAT SOUTHERN R R CO        C\O NORFOLK SOUTHERN CORP              PO BOX 277531                                                                 ATLANTA          GA     30384‐7531
ALABAMA INTERNATIONAL AUTO SHOW      1905 INDIAN LAKE DR STE B                                                                                            BIRMINGHAM       AL     35244‐2209

ALABAMA SOCIETY OF CERTIFIED         PUBLIC ACCOUNTS                        PO BOX 242987                                                                 MONTGOMERY       AL     36124‐2987
ALABAMA STATE BOARD OF MEDICAL       PO BOX 946                                                                                                           MONTGOMERY       AL     36101‐0946
EXAMINERS
ALABAMA STATE TREASURER              KAY IVEY, STATE TREASURER              PO BOX 1272               600 DEXTER AVENUE, ROOM S‐                          MONTGOMERY       AL     36102
                                                                                                      106
ALABAMA STATE UNIVERSITY OFFICE OF   PO BOX 271                                                                                                           MONTGOMERY       AL     36101‐0271
BILLINGS AND COLLECT
ALABAMA WORKERS' COMPENSATION        ATTN: CORPORATE OFFICER/AUTHORIZED                                                                                   MONTGOMERY       AL     36131
DIVISION                             AGENT
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Name                                  Address1                               Address2                         Address3                Address4                 City               State Zip
ALABAMA, TUSCALOOSA, THE UNIVERSITY
OF
ALABASTER AUTO SERV                   100 1ST AVE W                                                                                                            ALABASTER          AL    35007‐8500
ALACH COLE                            2710 TUCKER RD                                                                                                           LUCAS              OH    44843‐9520
ALACHEFF, DAN N                       763 E GRAND RIVER RD                                                                                                     OWOSSO             MI    48867‐9717
ALACHNIEWICZ, ROBERT E                13944 KATHLEEN DR                                                                                                        BROOK PARK         OH    44142‐4034
ALACHUA COUNTY ENVIRONMENTAL          ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 201 SE 2ND AVE STE 201                                                            GAINESVILLE        FL    32601‐5808
PROTECTION DEPARTMENT
ALACHUA COUNTY TAX COLLECTOR          ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 12 SE 1ST ST                     COUNTY ADMINISTRATION                            GAINESVILLE         FL   32601‐6826
                                                                                                              BUILDING
ALACHUA COUNTY TAX COLLECTOR          12 SE 1ST ST                           COUNTY ADMINISTRATION BUILDING                                                    GAINESVILLE         FL   32601‐6826
ALACHUA COUNTY TAX COLLECTOR          12 SE 1ST ST                                                                                                             GAINESVILLE         FL   32601‐6826
ALACO LADDER COMPANY                  5167 G ST                                                                                                                CHINO               CA   91710‐5143
ALADAR NEMES                          4314 LAPEER RD                                                                                                           BURTON              MI   48509‐1804
ALADDIN FREIGHTLINERS INC             670 INDUSTRIAL RD                                                                               CAMBRIDGE ON CANADA
ALADDIN SYNERGETICS INC               PO BOX 71612                                                                                                             CHICAGO             IL   60694‐1612
ALAERTS, DIANNE                       GRAUMEREWEG 7                                                                                   3053 HAASRODE, BELGIUM
ALAFA, BALDEMAR A                     617 E 2ND ST                                                                                                             OTTAWA             OH    45875‐1903
ALAFA, FRANCISCO M                    590 KIMBERLY APT 301                                                                                                     LAKE ORION         MI    48362‐2946
ALAFA, FRANCISCO M                    8414 CARTER ST                                                                                                           OVERLAND PARK      KS    66212‐4463
ALAFA, FRANCISCO V                    212 N BELMORE ST                                                                                                         LEIPSIC            OH    45856‐1203
ALAFA, GUADALUPE F                    221 S SQUIRE ST                                                                                                          HOLGATE            OH    43527‐9500
ALAFITA, RAUL H                       4157 TIPTON WOODS DR                                                                                                     ADRIAN             MI    49221‐9594
ALAGNA MICHAEL                        ALAGNA, MICHAEL                        205 N MICHIGAN AVE 40TH FLOOR                                                     CHICAGO            IL    60601
ALAGNA, ANN C                         43314 CHIANTI CT                                                                                                         STERLING HTS       MI    48314‐1933
ALAGNA, JOHN J                        24 CAUGHEY ST                                                                                                            WALTHAM            MA    02451‐3702
ALAGNA, PATRICIA K                    9970 BULLARD RD                                                                                                          CLARKSTON          MI    48348‐2320
ALAGNA, RICHARD R                     4559 WINTERGREEN DR                                                                                                      TROY               MI    48098‐4374
ALAILIMA, SIONE J                     1158 W 220TH ST                                                                                                          TORRANCE           CA    90502‐2206
ALAIMO                                UBS (LUXEMBOURG) S A                   33A AVENUE J F KENNEDY                                   L‐1855 LUXEMBOURG
ALAIMO FRANK & BETTY                  3383 STATE ROUTE 193                                                                                                     DORSET             OH    44032‐9643
ALAIMO SUSAN                          ALAIMO, MINETTE                        15 FISHER LANE                                                                    WHITE PLAINS       NY    10603
ALAIMO SUSAN                          ALAIMO, SUSAN                          15 FISHER LANE                                                                    WHITE PLAINS       NY    10603
ALAIMO SUSAN                          ALAIMO, VINCENT                        15 FISHER LANE                                                                    WHITE PLAINS       NY    10603
ALAIMO, FRANCESCO                     CHAUSEE DE WAVRE 52                                                                             1050 IXELLES BELGIUM
ALAIMO, MARJORIE H                    90 TOWPATH LANE                                                                                                          ROCHESTER           NY   14618‐4545
ALAIMO, MARJORIE H                    90 TOWPATH LN                                                                                                            ROCHESTER           NY   14618‐4545
ALAIMO, MINETTE                       KLIEN & FOLCHETTI                      PO BOX 488                                                                        FERNDALE            NY   12734
ALAIMO, PAUL                          12 ARBOR DRIVE                                                                                                           ENFIELD             CT   06082
ALAIMO, ROSANNE M                     8760 HAMILTON EAST DR                                                                                                    STERLING HEIGHTS    MI   48313‐3235
ALAIMO, SALVATORE H                   45 W JESELLA DR                                                                                                          NO TONAWANDA        NY   14120‐3336
ALAIMO, SALVATORE H                   45 JESELLA DR W                                                                                                          NORTH               NY   14120‐3336
                                                                                                                                                               TONAWANDA
ALAIMO, SUSAN                         KLIEN & FOLCHETTI                      15 FISHER LANE                                                                    WHITE PLAINS        NY   10603
ALAIMO, VINCENT                       ROBERT FOLCHETTI                       15 FISHER LANE                                                                    WHITE PLAINS        NY   10603
ALAIMO, VINCENT                       PO BOX 488                                                                                                               FERNDALE            NY   12734‐0488
ALAIMO, VINCENT
ALAIMO,DARRICK J.                     687 LEE RD STE 109                                                                                                       ROCHESTER           NY   14606‐4259
ALAIN DOMINIQUE                       1917 CIRCLE DR                                                                                                           BEDFORD             IN   47421‐3911
ALAIN GANAMET                         6115 GABRIELLE AVE                                                                                                       ANN ARBOR           MI   48103‐9840
ALAIN GENOUW                          5566 MURFIELD DR                                                                                                         ROCHESTER           MI   48306‐2377
ALAIN GUIBOUX                         5015 BECKLEY AVE                                                                                                         WOODLAND HILLS      CA   91364‐1302
ALAIN HADORN                          2043 SOMERVILLE DR                                                                                                       OXFORD              MI   48371‐5933
ALAIN L YARGEAU                       320 GREENLAWN ST                                                                                                         YPSILANTI           MI   48198‐5931
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Name                                  Address1                              Address2                   Address3   Address4                     City               State Zip
ALAIN LECOMPTE                        54263 KATHERINE WOOD DR                                                                                  MACOMB              MI 48042‐2318
ALAIN MANSBACH                        35 CHAUSS╔E D'OPHAIN                  1440 WAUTHIER‐BRAINE
ALAIN MANSBACH                        35 CHAUSSEE D'OPHAIN                  1440 WAUTHIER‐BRAINE
ALAIN MORRIS                          12690 OVERSEAS HWY APT 84                                                                                MARATHON            FL   33050‐3506
ALAIN PECLARD                         12 CHEMIN DE LEMAN                                                                                       FOUNEX                   1297
ALAIN PECLARD                         12 CHEMIN DE LEMAN                    CH‐1297 FOUNEX
ALAIN PETIT                           RUE THIERNESSE, 38                                                          1070 BRUXELLES BELGIUM
ALAIN SCHIFF‐FRANCOIS                 AM MUEHLEBACH 1                                                             D‐75219 STAUFEN, GERMANY

ALAIN VANDE BROECK                    BOULEVARD DEVREUX 12                                                        6000 CHARLEROI BELGIUM
ALAJAJI & COMPANY                     26389                                                                       MANAMA BAHRAIN
ALAJI, JANEY M                        PO BOX 5661                                                                                              DEARBORN           MI    48128‐0661
ALAJMI, SULTHANA
ALAKSA, JOHN G                        5105 KATHIMAE LN                                                                                         BAKERSFIELD        CA    93313‐3052
ALALIBO JAMES O A                     1100 AGATE ST APT 10                                                                                     HOUGHTON           MI    49931‐1536
ALAM, D M                             904‐3777 RIVERSIDE DR E                                                     WINDSOR ON CANADA N8Y‐
                                                                                                                  4W6
ALAM, D M N                           3777 RIVERSIDE DRIVE E                APT #904                              WINDSOR ON N8Y4W6
                                                                                                                  CANADA
ALAM, FRED J                          163 THURSTON RD                                                                                          ROCHESTER          NY    14619
ALAM, SYED K                          28636 BRISTOL CT                                                                                         FARMINGTON HILLS   MI    48334‐2913

ALAMAN, DORIS                         4401 IDA WAY                                                                                             FORT WORTH          TX   76119‐4029
ALAMANA INDUSTRIES CO S.A.K.          P.O. BOX 223                                                                13003 SAFAT, KUWAIT
                                                                                                                  KUWAIT
ALAMANCE COUNTY EMS                                                         296 E CRESCENT SQUARE DR                                           GRAHAM             NC    27253
ALAMAT, JARED C                       PO BOX 9022                           C/O JAPAN                                                          WARREN             MI    48090‐9022
ALAMAT,BASHAR                         8043 FREMONT ST                                                                                          WESTLAND           MI    48185‐1804
ALAMBRADOS Y CIRCUITOS ELECTICOS SA   PARQUE INDUSTRIAL LAS AMERICAS S/N                                          CHIHUAHUA CI 31200 MEXICO

ALAMBRADOS Y CIRCUITOS ELECTRICOS     BLVD MACARIO GAXIOLA 1001 SUR                                               LOS MOCHIS SI 81280 MEXICO

ALAMBRADOS Y CIRCUITOS ELECTRICOS     BLVD MACARIO GAXIOLA 1001 SUR         COL RAUL ROMANILLO                    LOS MOCHIS SI 81280 MEXICO

ALAMBRADOS Y CIRCUITOS ELECTRICOS     CARR PANAMERICANA KM 1588                                                   MEOQUI CI 33130 MEXICO

ALAMBRADOS Y CIRCUITOS ELECTRICOS     KM 5 CARRETERA ANAHUAC PARQUE                                               CUAUHTEMOC, CI 31579
                                                                                                                  MEXICO
ALAMBRADOS Y CIRCUITOS ELECTRICOS     MONTEALBAN Y TULUM                                                          NUEVO CASAS GRANDES CI
                                                                                                                  31700 MEXICO
ALAMBRADOS Y CIRCUITOS ELECTRICOS     PARQUE INDUSTRIAL LAS AMERICAS                                              CHIHUAHUA CI 31200 MEXICO

ALAMBRADOS Y CIRCUITOS ELECTRICOS     PARQUE INDUSTRIAL LAS AMERICAS        COL PANAMERICANA                      CHIHUAHUA CI 31200 MEXICO

ALAMBRADOS Y CIRCUITOS ELECTRICOS     PREDIO SANTOS TOMAS S/N                                                     PARRAL CI 33800 MEXICO

ALAMBRADOS Y CIRCUITOS ELECTRICOS     STE ROSA DE VITERSO #12 LOTE 41, 42                                         MUNICIPIO EL MARQUES QA
                                                                                                                  76120 MEXICO
ALAMEDA AUTO CARE                     2405 EAGLE AVE                                                                                           ALAMEDA            CA    94501‐1524
ALAMEDA COUNTY ADMINISTRATOR          1221 OAK ST STE 555                                                                                      OAKLAND            CA    94612‐4224
ALAMEDA COUNTY CALIFORNIA             TREASURER & TAX COLLECTOR             1221 OAK ST                                                        OAKLAND            CA    94612
ALAMEDA COUNTY CLERK                  PO BOX 5006                                                                                              FREMONT            CA    94537‐5006
ALAMEDA COUNTY COMMUNITY              224 W WINTON AVE STE 110                                                                                 HAYWARD            CA    94544‐1221
DEVELOPMENT AGENCY
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Name                                Address1                        Address2                   Address3     Address4               City              State Zip
ALAMEDA COUNTY COUNSEL              1221 OAK ST STE 463                                                                            OAKLAND            CA 94612‐4227
ALAMEDA COUNTY DEPARTMENT OF        OFFICE OF WEIGHTS & MEASURES    224 WEST WINTON AVENUE     ROOM #184                           HAYWARD            CA 94544
AGRICULTURE
ALAMEDA COUNTY TAX COLLECTOR        1221 OAK ST                                                                                    OAKLAND           CA   94612
ALAMEDA COUNTY TAX COLLECTOR        1221 OAK STREET                                                                                OAKLAND           CA   94612
ALAMEDA COUNTY WATER DISTRICT       43885 S GRIMMER BLVD                                                                           FREMONT           CA   94538‐6348
ALAMEDA, FRED A                     22906 ALICE ST                                                                                 HAYWARD           CA   94541‐6406
ALAMEDDINE, JACOB H                 PO BOX 9022                     C/O SAN LUIS POTOSI                                            WARREN            MI   48090‐9022
ALAMERI, MOUZA
ALAMILLO, CHARLES J                 1044 ORTEGA ST                                                                                 FILLMORE          CA   93015‐1721
ALAMIN, DAWOOD G                    142 COX ST E                                                                                   HUNTINGDON        TN   38344‐2842
ALAMO                               5525 GREEN CIRCLE                                                                              SAINT PAUL        MN   55111
ALAMO                               4501 ABBOT DR                                                                                  OMAHA             NE   68110
ALAMO                               6525 S CICERO AVE                                                                              CHICAGO           IL   60638‐5803
ALAMO                               969 TEL AVIV AVE                                                                               KANSAS CITY       MO   64153‐2031
ALAMO                               3609 BREWERTON RD                                                                              NORTH SYRACUSE    NY   13212‐3828
ALAMO                               5000 CRITTENDEN DR.                                                                            LOUISVILLE        KY   40209
ALAMO                               3730 S HIGH SCHOOL RD                                                                          INDIANAPOLIS      IN   46241‐6445
ALAMO AUTOMOTIVE CENTER             9901 MONTANA AVE                                                                               EL PASO           TX   79925‐1511
ALAMO CAR RENTAL CORPORATION        1801 AIRLINE AVE                                                                               SANFORD           FL   32773‐6846
ALAMO CEMENT COMPANY                ALLEN LEITKO                    6055 W GREEN MOUNTAIN RD                                       SAN ANTONIO       TX   78266‐1705
ALAMO CITY AUTOMOTIVE & COLLISION   2518 SW 36TH ST                                                                                SAN ANTONIO       TX   78237‐4032
REPAIR
ALAMO COMMUNITY COLLEGE             DISTRICT ACCOUNTS RECEIVABLE    811 W HOUSTON ST                                               SAN ANTONIO       TX   78207‐3051
ALAMO FINANCING LP                  200 S ANDREWS AVENUE                                                                           FORT LAUDERDALE   FL   33301
ALAMO GARAGE                        2035 LOCKHILL SELMA RD                                                                         SAN ANTONIO       TX   78213‐1402
ALAMO HEIGHTS GARAGE                8719 BROADWAY ST                                                                               SAN ANTONIO       TX   78217‐6316
ALAMO RAC                           1 NASSAU CIR                                                                                   KANSAS CITY       MO   64153‐1272
ALAMO RAC 518                       3730 S HIGH SCHOOL RD                                                                          INDIANAPOLIS      IN   46241‐6445
ALAMO RAC‐BURLINGAME                778 BURLWAY RD                                                                                 BURLINGAME        CA   94010‐1704
ALAMO RENT A CAR                    3445 N MILITARY HWY                                                                            NORFOLK           VA   23518‐5615
ALAMO RENT A CAR                    SAVANNAH INT'L A/P                                                                             SAVANNAH          GA   31409
ALAMO RENT A CAR                    2500 STEWART AVE                                                                               SAINT PAUL        MN   55116‐3029
ALAMO RENT A CAR                    977 STELZER RD                                                                                 COLUMBUS          OH   43219
ALAMO RENT A CAR                    165 98TH AVE                                                                                   OAKLAND           CA   94603‐1003
ALAMO RENT A CAR                    1280 N 4TH ST                                                                                  SAN JOSE          CA   95112‐4711
ALAMO RENT A CAR                    3800 MANNHEIM RD                                                                               FRANKLIN PARK     IL   60131‐1206
ALAMO RENT A CAR                    3455 N. 25TH COURT E.                                                                          OMAHA             NE   68110
ALAMO RENT A CAR                    1130 ACCESS ROAD A                                                                             SARASOTA          FL   34243
ALAMO RENT A CAR                    2600 RENTAL RD                                                                                 MEMPHIS           TN   38118‐1500
ALAMO RENT A CAR                    1735 AIRPORT RD                                                                                JACKSONVILLE      FL   32218‐2411
ALAMO RENT A CAR                    20636 INTERNATIONAL BLVD                                                                       SEATAC            WA   98198‐5804
ALAMO RENT A CAR                    2780 JEFFERSON DAVIS HWY                                                                       ARLINGTON         VA   22202‐4003
ALAMO RENT A CAR                    3066 KETTNER BLVD                                                                              SAN DIEGO         CA   92101‐1120
ALAMO RENT A CAR                    2601 S FEDERAL HWY                                                                             FORT LAUDERDALE   FL   33316‐4017
ALAMO RENT A CAR                    5402 SPRUCE ST                                                                                 TAMPA             FL   33607
ALAMO RENT A CAR                    8200 MCCOY RD                                                                                  ORLANDO           FL   32822‐5501
ALAMO RENT A CAR                    13281 TREELINE AVE                                                                             FORT MYERS        FL   33913‐8802
ALAMO RENT A CAR                    7650 ESTERS BLVD                                                                               IRVING            TX   75063‐4002
ALAMO RENT A CAR                    1120 TERMINAL WAY                                                                              RENO              NV   89502‐2115
ALAMO RENT A CAR                    2121 BELVEDERE RD                                                                              WEST PALM BEACH   FL   33406‐1513

ALAMO RENT A CAR                    KE‐AHOLE AIRPORT                                                                               KAILUA KONA       HI   96745
ALAMO RENT A CAR                    7 R ENT A CAR RD                                                                               RALEIGH           NC   27634‐0001
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Name               Address1                             Address2             Address3         Address4               City              State Zip
ALAMO RENT A CAR   3276 HOOLIMALIMA PL                                                                               LIHUE              HI 96766‐9711
ALAMO RENT A CAR   1720 CATALINA STREET                                                                              DAYTONA BEACH      FL 32114
ALAMO RENT A CAR   6 TOMAHAWK DR                                                                                     BOSTON             MA 02128‐2023
ALAMO RENT A CAR   9029 MONTANA AVE                                                                                  EL PASO            TX 79925‐1313
ALAMO RENT A CAR   115 HANGAR CT                                                                                     NASHVILLE          TN 37217‐2510
ALAMO RENT A CAR   2340 E ELVIRA RD                                                                                  TUCSON             AZ 85756‐7027
ALAMO RENT A CAR   5402 SPRUCE STREET                                                                                TAMPA              FL 33607
ALAMO RENT A CAR   2030 RENTAL CAR LN                                                                                JACKSONVILLE       FL 32218‐2491
ALAMO RENT A CAR   2680 RENTAL RD                                                                                    MEMPHIS            TN 38118‐1500
ALAMO RENT A CAR   DFW 3720 SW 26TH AVE.                                                                             DALLAS             TX 75261
ALAMO RENT A CAR   905 W MOKUEA PL                                                                                   KAHULUI            HI 96732‐2328
ALAMO RENT A CAR   KEAHOLE AIRPORT                                                                                   KAILUA KONA        HI 96745
ALAMO RENT A CAR   1947 E D" STREET "                                                                                ONTARIO            CA 91764
ALAMO RENT A CAR   9090 MONTANA AVENEU                                                                               EL PASO            TX 79925
ALAMO RENT A CAR   PO BOX CS198231                                                                                   ATLANTA            GA 30384‐0001
ALAMO RENT A CAR   763 ELKRIDGE LANDING RD                                                                           LINTHICUM HEIGHTS MD 21090‐2904

ALAMO RENT A CAR   SAVANNAH INTERNATIONAL AIRPORT                                                                    SAVANNAH            GA   31409
ALAMO RENT A CAR   6935 NE 82ND AVE                                                                                  PORTLAND            OR   97220‐1307
ALAMO RENT A CAR   4650 GLUMACK DRIVE                                                                                SAINT PAUL          MN   55111
ALAMO RENT A CAR   3301 S. MERIDIAN                                                                                  OKLAHOMA CITY       OK   73119
ALAMO RENT A CAR   1947 EAST E 'D' STREET                                                                            ONTARIO             CA   91764
ALAMO RENT A CAR   7777 E. APACHE                                                                                    TULSA               OK   74115
ALAMO RENT A CAR   N. SERVICE RD. DULLES AIRPORT                                                                     CHANTILLY           VA   22021
ALAMO RENT A CAR   5301 NW 33RD AVE                                                                                  FORT LAUDERDALE     FL   33309
ALAMO RENT A CAR   40 HANA HWY                                                                                       KAHULUI             HI   96732‐2105
ALAMO RENT A CAR   3276 HO'OLIMALIMA PLACE/LIHUE ARPT                                                                LIHUE               HI   96766

ALAMO RENT A CAR   1947 E D" ST "                                                                                    ONTARIO             CA   91764
ALAMO RENT A CAR   4361 BIRCH ST                                                                                     NEWPORT BEACH       CA   92660‐1910
ALAMO RENT A CAR   7744 JIM IRWIN WAY                                                                                COLORADO SPRINGS    CO   80916

ALAMO RENT A CAR   3301 S MERIDAN ST                                                                                 OKLAHOMA CITY       OK   73119
ALAMO RENT A CAR   PO BOX                                                                                            ATLANTA             GA   30384‐0001
ALAMO RENT A CAR   3300 CAPITAL CIRCLE, SW                                                                           TALLAHASSEE         FL   32310
ALAMO RENT A CAR   N SERVICE RD/DULLES AIRPORT                                                                       DULLES              VA   20166
ALAMO RENT A CAR   5600 AIRLINE DR                                                                                   BIRMINGHAM          AL   35212‐1054
ALAMO RENT A CAR   6525 S CICERO AVE                                                                                 CHICAGO             IL   60638‐5803
ALAMO RENT A CAR   776 ELKRIDGE LANDING RD                                                                           LINTHICUM HEIGHTS   MD   21090‐2905

ALAMO RENT A CAR   PO BOX 2904                                                                                       MINNEAPOLIS         MN   55402‐0904
ALAMO RENT A CAR   PHILADELPHIA INT'L A/P                                                                            PHILADELPHIA        PA   19153
ALAMO RENT A CAR   6440 OLD DOWD RD                                                                                  CHARLOTTE           NC   28214
ALAMO RENT A CAR   1 NATIONAL DR                                                                                     WINDSOR LOCKS       CT   06096‐1018
ALAMO RENT A CAR   3730 S HIGH SCHOOL RD                                                                             INDIANAPOLIS        IN   46241‐6445
ALAMO RENT A CAR   1947 E "D" ST                                                                                     ONTARIO             CA   91764
ALAMO RENT A CAR   6415 AIRPORT PARKWAY                                                                              GREENSBORO          NC   27409
ALAMO RENT A CAR   930 BRODHEAD RD                                                                                   CORAOPOLIS          PA   15108‐2348
ALAMO RENT A CAR   1905 AIRPORT BLVD                                                                                 CAYCE               SC   29033‐1511
ALAMO RENT A CAR   5000 CRITTENDEN DRIVE                                                                             LOUISVILLE          KY   40209
ALAMO RENT A CAR   330 RICHARDS BLVD                                                                                 SACRAMENTO          CA   95811
ALAMO RENT A CAR   3609 BREWERTON RD                                                                                 NORTH SYRACUSE      NY   13212‐3828
ALAMO RENT A CAR   1 NASSAU CIR                                                                                      KANSAS CITY         MO   64153‐1272
ALAMO RENT A CAR   110 SE 6TH ST                                                                                     FORT LAUDERDALE     FL   33301‐5005
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Name                   Address1                       Address2               Address3         Address4               City             State Zip
ALAMO RENT A CAR       1000 GLEN HEARN BLVD                                                                          HUNTSVILLE        AL 35824
ALAMO RENT A CAR       3721 E ROOSEVELT RD                                                                           LITTLE ROCK       AR 72206‐6727
ALAMO RENT A CAR       115 JUDSON DR                                                                                 ALCOA             TN 37701‐3212
ALAMO RENT A CAR       7777 E APACHE                                                                                 TULSA             OK 74115
ALAMO RENT A CAR       3320 VALET DR                                                                                 VANDALIA          OH 45377‐1000
ALAMO RENT A CAR       977 STELZER ROAD                                                                              COLUMBUS          OH 43219
ALAMO RENT A CAR       8400 AIRPORT BLVD. BLDG #49                                                                   MOBILE            AL 36608
ALAMO RENT A CAR       6420 DENTON DR                                                                                DALLAS            TX 75235‐5604
ALAMO RENT A CAR       DRAWER CS 198231                                                                              ATLANTA           GA 30384
ALAMO RENT A CAR       N.SERVICE RD/DULLES AIRPORT                                                                   CHANTILLY         VA 22021
ALAMO RENT A CAR       330 RICHARDS BOULEVARD                                                                        SACRAMENTO        CA 95811
ALAMO RENT A CAR       8400 AIRPORT BOULEVARD                                                                        MOBILE            AL 36608
ALAMO RENT A CAR       4501 ABBOT DRIVE                                                                              OMAHA             NE 68110
ALAMO RENT A CAR       TULSA INTERNATIONAL AIRPORT                                                                   TULSA             OK 74115
ALAMO RENT A CAR       3301 SOUTH MERIDIAN                                                                           OKLAHOMA CITY     OK 73119
ALAMO RENT A CAR       5525 GREEN CIRCLE                                                                             SAINT PAUL        MN 55111
ALAMO RENT A CAR       RENTAL CAR ACCESS RD. LOT #7                                                                  PITTSBURGH        PA 15231
ALAMO RENT A CAR       3410 HAWES AVE                                                                                DALLAS            TX 75235‐4814
ALAMO RENT A CAR       2942 KETTNER BLVD                                                                             SAN DIEGO         CA 92101‐1111
ALAMO RENT A CAR       778 BURLWAY RD                                                                                BURLINGAME        CA 94010‐1704
ALAMO RENT A CAR       7744 MILTON E PROBY PKWY                                                                      COLORADO SPRINGS CO 80916‐4922

ALAMO RENT A CAR       PO BOX 198154                                                                                 ATLANTA          GA    30384‐8154
ALAMO RENT A CAR       3301 S MERIDIAN                                                                               OKLAHOMA CITY    OK    73119
ALAMO RENT A CAR       1000 WESTBROOK ST                                                                             PORTLAND         ME    04102‐1915
ALAMO RENT A CAR       1900 POST ROAD                                                                                WARWICK          RI    02886
ALAMO RENT A CAR
ALAMO RENT A CAR       88 E WARM SPRINGS RD                                                                          LAS VEGAS        NV    89119
ALAMO RENT A CAR 130   778 BURLWAY RD                                                                                BURLINGAME       CA    94010‐1704
ALAMO RENT A CAR 131   165 98TH AVE                                                                                  OAKLAND          CA    94603‐1003
ALAMO RENT A CAR 135   PO BOX                                                                                        ATLANTA          GA    30384‐0001
ALAMO RENT A CAR 220   6 TOMAHAWK DR                                                                                 BOSTON           MA    02128‐2023
ALAMO RENT A CAR 24    PO BOX                                                                                        ATLANTA          GA    30384‐0001
ALAMO RENT A CAR 510   3800 MANNHEIM RD                                                                              FRANKLIN PARK     IL   60131
ALAMO RENT A CAR INC   PITTSBURGH INT'L AIRPORT                                                                      PITTSBURGH       PA    15231
ALAMO RENT A CAR INC   6935 NE 82ND AVE                                                                              PORTLAND         OR    97220‐1307
ALAMO RENT A CAR INC   18715 MAPLEWOOD AVENUE                                                                        CLEVELAND        OH    44135
ALAMO RENT A CAR INC   245 CAYUGA RD                                                                                 CHEEKTOWAGA      NY    14225‐1911
ALAMO RENT A CAR INC   2601 YALE BLVD SE                                                                             ALBUQUERQUE      NM    87106‐4216
ALAMO RENT A CAR INC   INTERNATION WAY                                                                               NEWARK           NJ    07114
ALAMO RENT A CAR INC   3276 HOOLIMALIMA PL                                                                           LIHUE            HI    96766‐9711
ALAMO RENT A CAR INC   2752 DE LA CRUZ BLVD                                                                          SANTA CLARA      CA    95050‐2624
ALAMO RENT A CAR INC   2246 E WASHINGTON ST                                                                          PHOENIX          AZ    85034‐1302
ALAMO RENT A CAR INC   2340 E ELVIRA RD                                                                              TUCSON           AZ    85756‐7027
ALAMO RENT A CAR INC   778 BURLWAY RD                                                                                BURLINGAME       CA    94010‐1704
ALAMO RENT A CAR INC   9020 AVIATION BLVD                                                                            INGLEWOOD        CA    90301‐2907
ALAMO RENT A CAR INC   1947 EAST 'D' ST                                                                              ONTARIO          CA    91764
ALAMO RENT A CAR INC   2942 KETTNER BLVD                                                                             SAN DIEGO        CA    92101‐1111
ALAMO RENT A CAR INC   6 TOMAHAWK DR                                                                                 BOSTON           MA    02128‐2023
ALAMO RENT A CAR INC   24530 E 78TH AVE                                                                              DENVER           CO    80249‐6388
ALAMO RENT A CAR INC   1 NATIONAL DR                                                                                 WINDSOR LOCKS    CT    06096‐1018
ALAMO RENT A CAR INC   14640 46TH ST N                                                                               CLEARWATER       FL    33762‐2909
ALAMO RENT A CAR INC   1 NASSAU CIR                                                                                  KANSAS CITY      MO    64153‐1272
ALAMO RENT A CAR INC   544 OHOHIA ST STE 7                                                                           HONOLULU         HI    96819‐1966
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Name                               Address1                          Address2                Address3                   Address4               City              State   Zip
ALAMO RENT A CAR INC               1720 RICHARD PETTY BLVD                                                                                     DAYTONA BEACH      FL     32114‐3804
ALAMO RENT A CAR INC               2464 RIVERDALE ROAD                                                                                         COLLEGE PARK       GA     30337
ALAMO RENT A CAR INC               6320 MCNAIR CIR                                                                                             SACRAMENTO         CA     95837‐1118
ALAMO RENT A CAR INC               3114 LOOMIS RD                                                                                              HEBRON             KY     41048
ALAMO RENT A CAR INC               2601 S FEDERAL HWY                                                                                          FORT LAUDERDALE    FL     33316‐4017
ALAMO RENT A CAR INC               2121 BELVEDERE RD                                                                                           WEST PALM BEACH    FL     33406‐1513

ALAMO RENT A CAR INC              1735 AIRPORT RD                                                                                              JACKSONVILLE      FL      32218‐2411
ALAMO RENT A CAR INC              225 E AIRLINE HWY                                                                                            KENNER            LA      70062‐6805
ALAMO RENT A CAR INC              1130 RENTAL CAR RD                                                                                           SARASOTA          FL      34243‐2100
ALAMO RENT A CAR INC              3355 NW 22ND STREET RD                                                                                       MIAMI             FL      33142‐6915
ALAMO RENT A CAR INC              8200 MCCOY RD                                                                                                ORLANDO           FL      32822‐5501
ALAMO RENT A CAR INC              10124 NATURAL BRIDGE ROAD                                                                                    SAINT LOUIS       MO      63134
ALAMO RENT A CAR INC              ATTN: MARLENE NELSON                                                                                         MINNEAPOLIS       MN      55435
ALAMO RENT A CAR INC              SHORT ST AT ARMSTED RD                                                                                       GARDEN CITY       GA      31408
ALAMO RENT A CAR INC              4361 BIRCH ST                                                                                                NEWPORT BEACH     CA      92660‐1910
ALAMO RENT A CAR INC              850 ALBANY SHAKER RD                                                                                         LATHAM            NY      12110‐1416
ALAMO RENT A CAR INC              3609 BREWERTON RD                                                                                            NORTH SYRACUSE    NY      13212‐3828
ALAMO RENT A CAR INC              530 S VELLA RD                                                                                               PALM SPRINGS      CA      92264‐1456
ALAMO RENT A CAR INC              969 TEL AVIV AVE                                                                                             KANSAS CITY       MO      64153‐2031
ALAMO RENT A CAR INC              6855 BERMUDA RD                                                                                              LAS VEGAS         NV      89119‐3607
ALAMO RENT A CAR INC              2225 AVIATION BLVD                                                                                           RENO              NV      89502
ALAMO RENT A CAR INC              2911 N BELTWAY 8                                                                                             HOUSTON           TX      77009
ALAMO RENT A CAR INC              BLDG 9 STE 112                                                                                               BURBANK           CA      91505
ALAMO RENT A CAR INC              4880 WEST 50                                                                                                 ANCHORAGE         AK      99502
ALAMO RENT A CAR INC              3015 KOAPAKA ST STE C                                                                                        HONOLULU          HI      96819‐1936
ALAMO RENT A CAR INC              905 W MOKUEA PL                                                                                              KAHULUI           HI      96732‐2328
ALAMO RENT A CAR INC              KEAHOLE AIRPORT                                                                                              KAILUA KONA       HI      96745
ALAMO RENT A CAR INC              11375 MIDDLEBELT RD                                                                                          ROMULUS           MI      48174‐2715
ALAMO RENT A CAR INC              GENERAL MITCHELL AIRPORT                                                                                     MILWAUKEE         WI      53207
ALAMO RENT A CAR INC              3335 N MILITARY HWY                                                                                          NORFOLK           VA      23518‐5608
ALAMO RENT A CAR INC              PHILADELPHIA INT'L AIRPORT                                                                                   PHILADELPHIA      PA      19153
ALAMO RENT A CAR INC              8620 PANAIR ST                                                                                               HOUSTON           TX      77061‐4115
ALAMO RENT A CAR INC              SALT LAKE INT'L AIRPORT                                                                                      SALT LAKE CITY    UT      84122
ALAMO RENT A CAR INC              3219 MANOR RD                                                                                                AUSTIN            TX      78723‐5720
ALAMO RENT A CAR, INC             3207 CAPITOL CIRCLE SW                                                                                       TALLAHASSEE       FL      32310
ALAMO RENT A CAR, INC.            1720 CATALINA STREET                                                                                         DAYTONA BEACH     FL      32114
ALAMO RENT‐A‐CAR                  905 W MOKUEA PL                                                                                              KAHULUI           HI      96732‐2328
ALAMO RENT‐A‐CAR ‐ 2008 BUICK     NO ADVERSE PARTY
ENCLAVE
ALAMO RENTAL CAR CORPORATION      1801 AIRLINE AVE                                                                                             SANFORD            FL     32773‐6846
ALAMO RENTER ‐ ARIZONA STATE OF‐  NO ADVERSE PARTY
BUICK ENCLAVE 2008
ALAMO TIRE & AUTOMOTIVE           1415 W BITTERS RD                                                                                            SAN ANTONIO        TX     78248‐1354
ALAMO, ANIBAL                     PO BOX 1721                                                                                                  CAROLINA           PR     00984‐1721
ALAMO, RAMON                      HC 2 BOX 3923                                                                                                LUQUILLO           PR     00773‐9820
ALAMO/NATIONAL                    2140 N SKYLINE DR STE 16                                                                                     IDAHO FALLS        ID     83402‐4906
ALAMO/NATIONAL RENTAL CORPORATION                                    DETROIT METRO AIRPORT   BUILDING 338 LUCAS DRIVE                          ROMULUS            MI     48242

ALAMOSA COUNTY CLERK               PO BOX 630                                                                                                  ALAMOSA            CO     81101‐0630
ALAMPI JOSEPH                      312 CAMBRIDGE DRIVE                                                                                         MARS               PA     16046‐3134
ALAMPI, JOHN J                     505 MOUNT PROSPECT AVE APT 4E                                                                               NEWARK             NJ     07104‐2959
ALAMPI, JOSEPH                     312 CAMBRIDGE DRIVE                                                                                         MARS               PA     16046‐3134
ALAMPI, MATTHEW J                  653 FAIRLEDGE ST                                                                                            LAKE ORION         MI     48362‐2609
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Name                        Address1                             Address2                   Address3     Address4               City            State Zip
ALAMPRESE, KEITH T          91 APPLE HL                                                                                         WETHERSFIELD     CT 06109‐3503
ALAN
ALAN & LUCILLE GARTENBERG   16 HARDWICK CT                                                                                      JACKSON         NJ   08527
ALAN A ACCORSO              659 EDGEMERE DR                                                                                     ROCHESTER       NY   14612
ALAN A BERTCH               1965 ROOSEVELT HWY                                                                                  HILTON          NY   14468‐9727
ALAN A FERRARA              133 CLEARVIEW DR N                                                                                  PENFIELD        NY   14526
ALAN A GILBERT JR           2461 N HAMLIN RD                                                                                    HAMLIN          NY   14464
ALAN ACEBO                  13781 FENTON AVENUE                                                                                 SYLMAR          CA   91342‐1604
ALAN ADAMISIN               3634 HANNAMAN RD                                                                                    COLUMBIAVILLE   MI   48421
ALAN ADAMS                  5105 N COUNTY ROAD 700 W                                                                            MUNCIE          IN   47304‐9672
ALAN ADLER                  1649 MILBROOK RD                                                                                    CANTON          MI   48188‐2058
ALAN ALBERT                 5440 DRANE HWY                                                                                      WEST DECATUR    PA   16878‐9541
ALAN ALBERT                 THE LAW OFFICES OF PETER G ANGELOS   100 NORTH CHARLES STREET   22ND FLOOR                          BALTIMORE       MD   21201

ALAN ALEXANDER              209 CIRCLE VIEW DR                                                                                  FRANKLIN        TN   37067‐1382
ALAN AMOS                   805 W DRYDEN ST                                                                                     ODESSA          MO   64076‐1315
ALAN ANDERSON               4970 KITRIDGE RD                                                                                    DAYTON          OH   45424‐4617
ALAN ANDERSON               103 DALE ST                                                                                         DEDHAM          MA   02026‐3428
ALAN ANTHONY                9016 SMOKEY HILL PL                                                                                 FORT WAYNE      IN   46804‐3441
ALAN ARCHAMBAULT            17400 NW 130TH TER                                                                                  PLATTE CITY     MO   64079‐7923
ALAN ARNDT                  6120 JOHNSON RD                                                                                     FLUSHING        MI   48433‐1106
ALAN ARNER                  25 S MARTIN RD                                                                                      JANESVILLE      WI   53545‐2658
ALAN ARTIBEE                3531 S M 76                                                                                         WEST BRANCH     MI   48661‐9346
ALAN ARTZ                   10 HOPEWELL RD APT 1                                                                                WILLIAMSPORT    MD   21795
ALAN ATKINSON               1279 GENELLA ST                                                                                     WATERFORD       MI   48328‐1338
ALAN AUBUCHON               200 MAPLEWOOD DR                                                                                    CLARKSTON       MI   48348‐1482
ALAN AYERS                  10234 LAKE TAHOE CT                                                                                 FORT WAYNE      IN   46804‐6916
ALAN B & LOUISE A SMALL     6606 D TANNIN LN                                                                                    NAPLES          FL   34109
ALAN B CROMES               6856 BALLENTINE PIKE                                                                                SPRINGFIELD     OH   45502‐8571
ALAN B DANIEL               153 MYRTLE ST                                                                                       SOMERSET        NJ   08873
ALAN B ISAAC                3421 SOUTHDALE DR                    APT 8                                                          DAYTON          OH   45409‐1142
ALAN B ISAAC                3421 SOUTHDALE DR. #8                                                                               KETTERING       OH   45409
ALAN BABCOCK                8125 DODGE RD                                                                                       MONTROSE        MI   48457‐9133
ALAN BAIN                   12721 WESLEY ST                                                                                     SOUTHGATE       MI   48195‐1028
ALAN BAKER                  2441 NORTH HILLSBORO ROAD                                                                           NEW CASTLE      IN   47362‐9364
ALAN BAPST                  6870 LAKEVIEW DR                                                                                    BELLEVUE        MI   49021‐9486
ALAN BARANSKI               25501 BRIAR TOWNE BLVD                                                                              CHESTERFIELD    MI   48051‐3272
ALAN BARATKO                135 NAPLES DR                                                                                       ELYRIA          OH   44035
ALAN BARBER                 5827 T.E.                                                                                           BRADENTON       FL   34281
ALAN BARNES                 140 E BUCKEYE ST                                                                                    WEST SALEM      OH   44287‐9346
ALAN BARNETT                7535 BROWNS RUN RD                                                                                  GERMANTOWN      OH   45327‐8592
ALAN BARNETT                25 STEEP HOLLOW RD                                                                                  OAKLAND         KY   42159‐9741
ALAN BARR                   3318 STONEWOOD DR                                                                                   SANDUSKY        OH   44870‐6919
ALAN BARRY                  3810 W 242ND ST                                                                                     TORRANCE        CA   90505‐6411
ALAN BARTLEY                5249 MARCONI ST                                                                                     CLARKSTON       MI   48348‐3843
ALAN BASNER                 404 SHARON DR                                                                                       FLUSHING        MI   48433‐1507
ALAN BASTIAN                1284 N HURON RIVER DR                                                                               YPSILANTI       MI   48197‐2301
ALAN BATDORF                252 ROGERS LN                                                                                       CENTERVILLE     TN   37033‐5146
ALAN BATES                  3255 MYSYLVIA DR                                                                                    SAGINAW         MI   48601‐6932
ALAN BATTEN                 308 E MAIN ST                                                                                       MENDON          MI   49072‐9632
ALAN BAUM                   14196 CRANSTON ST                                                                                   LIVONIA         MI   48154‐4251
ALAN BEAUCHAMP              8301 30 MILE RD                                                                                     WASHINGTON      MI   48095‐1905
ALAN BEAUSOLEIL             2154 KINGS CORNERS RD E                                                                             LEXINGTON       OH   44904‐9730
ALAN BELICH                 1100 N FINN RD                                                                                      ESSEXVILLE      MI   48732‐8710
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Name                            Address1                       Address2               Address3         Address4               City              State   Zip
ALAN BENCHICH                   1930 BALMORAL DR                                                                              DETROIT            MI     48203‐1439
ALAN BENNETT                    1238 JOANNA CT                                                                                AVON               IN     46123‐8009
ALAN BENSKY                     734 WILLARD AVE SE                                                                            WARREN             OH     44484‐4430
ALAN BENSON                     2366 CASALE CT NW                                                                             WARREN             OH     44485‐1740
ALAN BENTOSKI                   19608 HWY 18TH E                                                                              ZEBULON            GA     30295
ALAN BEQUEATH                   10650 SHARROTT RD                                                                             NORTH LIMA         OH     44452‐8585
ALAN BERDEN                     3132 HENRYDALE ST                                                                             AUBURN HILLS       MI     48326‐3623
ALAN BERNAHL MARILYNN BERNAHL   6618‐38TH AVE SW                                                                              SEATTLE            WA     98126
ALAN BERTCH                     1965 ROOSEVELT HWY                                                                            HILTON             NY     14468‐9727
ALAN BETZ                       318 HEATHER WAY                                                                               HAVRE DE GRACE     MD     21078‐4123
ALAN BEYEA                      2883 NEW RD                                                                                   RANSOMVILLE        NY     14131‐9513
ALAN BIEHLE                     107 OZARK DR                                                                                  CRYSTAL CITY       MO     63019‐1703
ALAN BIELING                    4381 DRYDEN RD                                                                                DRYDEN             MI     48428‐9644
ALAN BIGNELL                    12491 BEADLE LAKE RD                                                                          BATTLE CREEK       MI     49014‐7501
ALAN BILHIMER                   1003 BORTON AVE                                                                               ESSEXVILLE         MI     48732‐1201
ALAN BINKERD                    1606 FRANTZ DR                                                                                NORTH              IN     46962‐1315
                                                                                                                              MANCHESTER
ALAN BIRD                       28411 BLANCHARD RD                                                                            DEFIANCE          OH      43512‐8077
ALAN BIRGY                      615 PLEASANT ST                                                                               CHARLOTTE         MI      48813‐1942
ALAN BLACKWELL                  4378 MURRAY RD                                                                                MAYVILLE          MI      48744‐9716
ALAN BLACKWELL                  6500 SE 89TH ST                                                                               OKLAHOMA CITY     OK      73135‐6020
ALAN BLASZKOWSKI                48789 VALLEY FORGE DR                                                                         MACOMB            MI      48044‐2063
ALAN BLOHM                      2275 FRASER RD                                                                                KAWKAWLIN         MI      48631‐9145
ALAN BLOOM                      46627 CHALMERS DR                                                                             MACOMB            MI      48044‐6221
ALAN BODNER                     7290 CRICKET LN                                                                               SEVEN HILLS       OH      44131‐5126
ALAN BOECKER                    PO BOX 506                                                                                    CONTINENTAL       OH      45831‐0506
ALAN BOHIL                      1705 PLAS ST SW 1                                                                             WYOMING           MI      49519
ALAN BOHREN                     8414 BELLECHASSE CT                                                                           DAVISON           MI      48423‐2109
ALAN BOKOR                      2475 E VALLEY RD                                                                              ADRIAN            MI      49221‐8327
ALAN BONDURANT                  5303 DERBY CIR                                                                                HOLLY             MI      48442‐9637
ALAN BORNEMAN                   10767 SHEFFIELD CT                                                                            FISHERS           IN      46038‐2648
ALAN BOSWORTH                   5096 W NEEDMORE HWY                                                                           CHARLOTTE         MI      48813‐8638
ALAN BOW                        224 WALKER RD                                                                                 LANDENBERG        PA      19350‐1559
ALAN BOWLER                     170 STATE ST                                                                                  OXFORD            MI      48371‐6319
ALAN BOYD                       562 MIDDLEBURY LN                                                                             ROCHESTER HLS     MI      48309‐1023
ALAN BOYER                      18 NORTHWINDS DR                                                                              SAINT PETERS      MO      63376‐1102
ALAN BOZICH                     1035 CALVIN AVE                                                                               KANSAS CITY       KS      66102‐5308
ALAN BRACE                      14251 RICHFIELD ST                                                                            LIVONIA           MI      48154‐4938
ALAN BRACHFELD                  28 WEST 44 ST 1200                                                                            NEW YORK          NY      10036
ALAN BRACHFELD P/S PEN PLAN     28 WEST 44 ST 1200                                                                            NEW YORK          NY      10036
ALAN BRADLEY                    APT 903                        1551 LARIMER STREET                                            DENVER            CO      80202‐1629
ALAN BRADLEY                    2450 CLAYPOOL BOYCE RD                                                                        ALVATON           KY      42122‐8764
ALAN BRAGGA                     1307 FLINTSHIRE LN                                                                            LAKE ST LOUIS     MO      63367‐1945
ALAN BRAINARD                   208 N KING ST                                                                                 LYONS             MI      48851‐8604
ALAN BRANDENBURG                35476 W CHICAGO ST                                                                            LIVONIA           MI      48150‐2519
ALAN BRANHAM                    345 BUCKINGHAM AVE                                                                            FLINT             MI      48507‐2704
ALAN BRASHEAR*MOVING            NOT AVAILABLE
ALAN BRASUELL                   1580 POPLAR ESTATES PKWY                                                                      GERMANTOWN         TN     38138‐1835
ALAN BRAY                       304 LA PALMA LN                                                                               MELBOURNE BEACH    FL     32951‐3419

ALAN BRENNAMAN                  6487 PAYNE ST                                                                                 SHAWNEE            KS     66226‐3708
ALAN BREWER                     1704 W LAVENDER LN                                                                            ARLINGTON          TX     76013‐4907
ALAN BRISCOE                    2236 MICHELE DR                                                                               TROY               MI     48085‐3879
ALAN BROUGHMAN                  15705 GODDARD RD APT 104                                                                      SOUTHGATE          MI     48195‐4429
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Name                      Address1                          Address2                   Address3            Address4               City               State   Zip
ALAN BROWN                5794 SHETLAND WAY                                                                                       WATERFORD           MI     48327‐2045
ALAN BROWN                48238 CHESTERFIELD DR S                                                                                 CANTON              MI     48187‐1237
ALAN BROWNE               7 WOODLAND PL                                                                                           GROSSE POINTE       MI     48230‐1920
ALAN BROWNE CHEVROLET &   700 PEARSON DR                                                                                          GENOA                IL    60135‐1365
OLDSMOBILE,
ALAN BROWNE CHEVROLET &   ALAN BROWNE                       700 PEARSON DR                                                        GENOA               IL     60135‐1365
OLDSMOBILE, INC.
ALAN BROWNE CHEVROLET &   700 PEARSON DR                                                                                          GENOA               IL     60135‐1365
OLDSMOBILE, INC.
ALAN BRUCZ                6802 TONAWANDA CREEK RD                                                                                 LOCKPORT            NY     14094‐7958
ALAN BRUTCHER             BARON & BUDD PC                   THE CENTRUM STE 1100       3102 OAK LAWN AVE                          DALLAS              TX     75219‐4281
ALAN BRYSON               4279 W TERRITORIAL RD                                                                                   RIVES JCT           MI     49277‐9698
ALAN BUCK                 10204 STATE RD                                                                                          MILLINGTON          MI     48746‐9318
ALAN BUDYTA               527 GREENWICH LN                                                                                        GRAND BLANC         MI     48439‐1024
ALAN BUFFORD              513 COTTAGE PL                                                                                          RIVERDALE           GA     30274‐2407
ALAN BUICK, INC.          ALAN GOLDSTEIN                    1671 CENTRAL AVE                                                      ALBANY              NY     12205‐4021
ALAN BULLARD              629 BLUE RIDGE DR                                                                                       COLUMBIA            TN     38401‐6109
ALAN BUNDRA               41225 CIMARRON ST                                                                                       CLINTON TOWNSHIP    MI     48038‐1810

ALAN BURCH                812 NW BERKSHIRE DR                                                                                     BLUE SPRINGS       MO      64015‐2804
ALAN BURKE                415 ARMS RD                                                                                             ESSEXVILLE         MI      48732‐9715
ALAN BURNIE               9499 BUCKINGHAM CIR                                                                                     LAINGSBURG         MI      48848‐9215
ALAN BURNS                1034 LESLIE LN                                                                                          GIRARD             OH      44420‐1440
ALAN BURTON               4614 SW 10TH TERRACE CT                                                                                 BLUE SPRINGS       MO      64015‐8752
ALAN BUSSEY               20745 WAYLAND ST                                                                                        SOUTHFIELD         MI      48076‐3143
ALAN BUTLER
ALAN BYERLY               PO BOX 69                                                                                               CRUMPTON           MD      21628‐0069
ALAN C COOK               5591 COCKRAM RD                                                                                         BYRON              NY      14422‐9703
ALAN C COOK JR            20109 DANIELS CIRCLE                                                                                    HAGERSTOWN         MD      21742‐‐ 81
ALAN C FOUNTAIN           819 BELEY AVE                                                                                           SYRACUSE           NY      13211‐1305
ALAN C LIND               1056 ALDERBROOK RD NE                                                                                   ATLANTA            GA      30345
ALAN C MAGOS              591 ADELAIDE AVE NE                                                                                     WARREN             OH      44483‐5505
ALAN C MANN               PO BOX 52                                                                                               HOWARD             GA      31039‐0052
ALAN C NAGLE              440 RIVERVIEW AVE                                                                                       BLOOMSBURG         PA      17815‐8224
ALAN C PRISK              7920 SANCTUARY DR                                                                                       EAGLE RIVER        WI      54521
ALAN C SCHROEDER          NIX PATTERSON & ROACH LLP         GM BANKRUPTCY DEPARTMENT   205 LINDA DRIVE                            DAINGERFIELD       TX      75638
ALAN C SHOCKLEY           210 QUAIL RUN CT                                                                                        FRANKLIN           OH      45005
ALAN C YOUNG & ASSOC      ATTN: ALAN C YOUNG                7310 WOODWARD AVE # 740                                               DETROIT            MI      48202‐3165
ALAN CAHOW                12000 ROSE TER                                                                                          HOLLY              MI      48442‐8608
ALAN CALDER               32232 YONKA DR                                                                                          WARREN             MI      48092‐3234
ALAN CALL                 12179 HILL RD                                                                                           SWARTZ CREEK       MI      48473‐8580
ALAN CAMERON              10208 REID RD                                                                                           SWARTZ CREEK       MI      48473‐8518
ALAN CAMPBELL             111 N WASHINGTON ST                                                                                     CHESTERFIELD       IN      46017‐1143
ALAN CAMPBELL             2075 WILLOW BAR CT.                                                                                     GOLD RIVER         CA      95670
ALAN CANAVAN              34365 FONTANA DR                                                                                        STERLING HEIGHTS   MI      48312‐5775
ALAN CARAPELLA            29 BARKWOOD LN                                                                                          SPENCERPORT        NY      14559‐2249
ALAN CARDONA              45 MONTEREY ST                                                                                          PONTIAC            MI      48342‐2423
ALAN CARLSON              164 JACARANDA DR                                                                                        LEESBURG           FL      34748‐8836
ALAN CARMEN               312 N MAIN ST                                                                                           SPENCER            OH      44275‐9760
ALAN CARPENTER            1318 CRESTWOOD AVE                                                                                      YPSILANTI          MI      48198‐5919
ALAN CARTER               4041 SINGAPORE ST                                                                                       WOOD HEIGHTS       MO      64024‐2836
ALAN CASADEI              30235 BUCKINGHAM ST                                                                                     LIVONIA            MI      48154‐4474
ALAN CASHORE              W6356 HWY J                                                                                             JEFFERSON          WI      53549
ALAN CASTO                2420 BEL AIRE LN                                                                                        POLAND             OH      44514‐1704
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Name                Address1                            Address2               Address3       Address4               City             State   Zip
ALAN CAUGHLIN       231 CEDARVIEW DR                                                                                 ANTIOCH           TN     37013‐4413
ALAN CAVENDER       6526 BRIDGES AVE                                                                                 RICHLAND HILLS    TX     76118‐7205
ALAN CENSIER        18728 NORTHWAY ST                                                                                ROSEVILLE         MI     48066‐1014
ALAN CHANDLER       924 PRAIRIE AVE                                                                                  DOWNERS GROVE      IL    60515‐3637
ALAN CHAPEL         2321 VERNOR RD                                                                                   LAPEER            MI     48446‐8374
ALAN CHAUNCEY       3931 SW COLLEGE RD                                                                               OCALA             FL     34474‐5713
ALAN CHEEVER        18615 W 167TH ST                                                                                 OLATHE            KS     66062‐9569
ALAN CHENOWETH      4189 ATHENS AVE                                                                                  WATERFORD         MI     48329‐2005
ALAN CHILDERS       417 STUMP RD                                                                                     LAPEER            MI     48446‐8618
ALAN CHILTON        440 MEADOWVIEW LN                                                                                GREENWOOD         IN     46142‐1229
ALAN CHRISTIANSON   PO BOX 492                                                                                       HOHENWALD         TN     38462‐0492
ALAN CHRIVIA        1520 CONCORD PL                                                                                  LAPEER            MI     48446‐3136
ALAN CHURCH         10789 SW WATERWAY LN                                                                             PORT ST LUCIE     FL     34987‐2162
ALAN CHURCHILL      4161 LAHRING RD                                                                                  LINDEN            MI     48451‐9472
ALAN CIRINO         1122 JOHNSON AVE                                                                                 ALLIANCE          OH     44601‐1150
ALAN CLARK          PO BOX 7028                                                                                      OCEAN VIEW        HI     96737‐7028
ALAN CLARK          11601 N NELSON ST                                                                                MILTON            WI     53563‐9187
ALAN CLAUSEN        414 FALCON DR                                                                                    WAYLAND           MI     49348‐1352
ALAN CLOSE          313 MEADOW GLEN DR                                                                               BEAR              DE     19701‐3377
ALAN CLOYD          306 E 38TH ST                                                                                    ANDERSON          IN     46013‐4648
ALAN COATS          4821 W BARNES RD                                                                                 MASON             MI     48854‐9757
ALAN COHEN          92 FOX CHASE LN                                                                                  WEST HARTFORD     CT     06117
ALAN COHEN
ALAN COKER          PO BOX 203                                                                                       FOOTVILLE         WI     53537‐0203
ALAN COLVIN         PO BOX 325                                                                                       GARDNER           KS     66030‐0325
ALAN COLWELL        851 JAMES CT                                                                                     HARTFORD          WI     53027‐2565
ALAN CONNELL        6620 W HANOVER RD                                                                                JANESVILLE        WI     53548‐8584
ALAN CONNER         1731 PINETREE LN                                                                                 KOKOMO            IN     46902‐3283
ALAN COOK           5289 OLDE SAYBROOKE CT                                                                           GRAND BLANC       MI     48439‐8728
ALAN COOK           5591 COCKRAM RD                                                                                  BYRON             NY     14422‐9703
ALAN COOLEY         3931 RAVINES DR                                                                                  ALLENDALE         MI     49401‐9213
ALAN COOPER         2042 N BURDICK RD                                                                                JANESVILLE        WI     53548‐9058
ALAN CORDERO        GALIHER DEROBERTIS NAKAMURA ONO &   610 WARD AVE STE 200                                         HONOLULU          HI     96814‐3308
                    TAKITANI
ALAN CORDY          191 HOME RD S                                                                                    MANSFIELD        OH      44906‐2334
ALAN CORTHAY        301 WILSON ST                                                                                    CROWLEY          TX      76036‐3407
ALAN COVEN          5410 SWAN CREEK RD                                                                               SAGINAW          MI      48609‐7069
ALAN COWDREY        11971 SCHAVEY RD                                                                                 DEWITT           MI      48820‐8720
ALAN COWELL         34 ALTER CT                                                                                      MOUNT CLEMENS    MI      48043‐1406
ALAN COWLE          15876 PAINTER RD                                                                                 DEFIANCE         OH      43512‐8813
ALAN COX            5229 MART CT                                                                                     WARREN           MI      48091‐3136
ALAN CRAIG          618 S 400 W                                                                                      RUSSIAVILLE      IN      46979‐9446
ALAN CRAWFORD       4301 TROUSDALE LN                                                                                COLUMBIA         TN      38401‐8402
ALAN CREWS          1741 GUNN RD                                                                                     HOLT             MI      48842‐9669
ALAN CROMES         6856 BALLENTINE PIKE                                                                             SPRINGFIELD      OH      45502‐8571
ALAN CRUMBAKER      980 BOULDER DR                                                                                   W ALEXANDRIA     OH      45381‐9539
ALAN CUEVAS         6138 MILL CREEK BLVD                                                                             BOARDMAN         OH      44512‐2722
ALAN CURL           3385 N HENDERSON RD                                                                              DAVISON          MI      48423‐8166
ALAN CURTIS         2496 E FREELAND RD                                                                               FREELAND         MI      48623‐9450
ALAN D ANDERSON     4970 KITRIDGE RD                                                                                 DAYTON           OH      45424‐4617
ALAN D BABCOCK      8125 DODGE RD                                                                                    MONTROSE         MI      48457‐9133
ALAN D BEAUSOLEIL   2154 KINGS CORNERS RD E                                                                          LEXINGTON        OH      44904‐9730
ALAN D BOGGS        103 LETSON CIR                                                                                   WALHALLA         SC      29691
ALAN D DAVIES       572 REDONDO RD                                                                                   YOUNGSTOWN       OH      44504
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Name                 Address1                             Address2                Address3                    Address4                  City               State   Zip
ALAN D FITZGERALD    9719 STATE RT. 49 N.                                                                                               BROOKVILLE          OH     45309‐9225
ALAN D HARKE IRA     C/O EDWARD JONES CUSTODIAN           1823 VILLAGE LANE                                                             NAPLES              FL     34110
ALAN D HUSS          6920 DEVILS LAKE HWY                                                                                               MANITOU BEACH       MI     49253‐9635
ALAN D MCKINSTRY     1066 LAPORT AVE                                                                                                    MOUNT MORRIS        MI     48458‐2522
ALAN D RICHARDSON    93 WINNET DR                                                                                                       DAYTON              OH     45415
ALAN D SCHNOBRICH    307 NORTHWOOD DR                                                                                                   SYRACUSE            NY     13211‐1317
ALAN D SMITH         1208 CHATEAU DR.                                                                                                   KETTERING           OH     45429
ALAN D. HUDDLESTON
ALAN D. SMITH
ALAN DANIEL          7060 MICHAEL RD                                                                                                    MIDDLETOWN         OH      45042‐1434
ALAN DASCHKE         2011 E HUDSON AVE                                                                                                  ROYAL OAK          MI      48067‐3554
ALAN DAVIS           6070 TEXTILE RD                                                                                                    YPSILANTI          MI      48197‐8990
ALAN DAVIS           535 HEMLOCK DR                                                                                                     DAVISON            MI      48423‐1923
ALAN DAVIS           4130 SUNDOWNER LN                                                                                                  COLUMBIAVILLE      MI      48421‐9121
ALAN DAWSON          3585 WALTAN RD                                                                                                     VASSAR             MI      48768‐9573
ALAN DE ROUSSE       PO BOX 4507                          WHITEFISH MT 59937                                                            ANN ARBOR          MI      48103‐4507
ALAN DE VOE SR       1068 BROKAW DR                                                                                                     DAVISON            MI      48423‐7907
ALAN DE WERTH        10329 ALMIRA AVE                                                                                                   CLEVELAND          OH      44111‐1208
ALAN DEATRICK        25192 HOLLY RD                                                                                                     DEFIANCE           OH      43512‐8812
ALAN DECKER          3008 WALTON AVE                                                                                                    FLINT              MI      48504‐4456
ALAN DEFRAIN         2043 DOWNHAM DR                                                                                                    WIXOM              MI      48393‐1192
ALAN DELPHIA         2341 SILVER ST                                                                                                     ANDERSON           IN      46012‐1619
ALAN DEMASEK         40318 PRITTS CT                                                                                                    CLINTON TOWNSHIP   MI      48038‐4129

ALAN DENMAN JR       193 MARKED TREE RD                                                                                                 HOLLISTON          MA      01746‐1679
ALAN DEPORTER        23042 ENGLEHARDT ST                                                                                                ST CLAIR SHRS      MI      48080‐2160
ALAN DERRYBERRY      3660 S LAPEER RD LOT 22                                                                                            METAMORA           MI      48455‐8916
ALAN DICK            PO BOX 82                                                                                                          ALEXANDER          NY      14005‐0082
ALAN DIXON           3423 S SAGINAW ST                                                                                                  FLINT              MI      48503‐4145
ALAN DLUGOSZ         40 STOUGHTON LN                                                                                                    ORCHARD PARK       NY      14127‐2084
ALAN DODGE           343 FILLMORE CT                                                                                                    DAVISON            MI      48423‐8504
ALAN DOHERTY         6821 TONAWANDA CREEK RD                                                                                            LOCKPORT           NY      14094‐7958
ALAN DONN            C/O LEVY PHILLIPS & KONIGSBERG LLP   800 3RD AVE ‐ 13TH PL                                                         NEW YORK           NY      10022
ALAN DONTJE          5861 CAMBROOK LN                                                                                                   WATERFORD          MI      48329‐1519
ALAN DOUGLAS         19 BITTERSWEET DR                                                                                                  COLUMBIANA         OH      44408‐1617
ALAN DRAKE II        33725 TRILLIUM CT                                                                                                  LIVONIA            MI      48150‐3680
ALAN DRIMER          MCCAGUE PEACOCK BORLACK MCINNIS &    THE EXCHANGE TWR        2700‐130 KING ST W PO BOX   TORONTO ONTARIO M5X 1C7
                     LLOYD LLP                                                    136
ALAN DRISCOLL        1321 SAINT LAWRENCE AVE                                                                                            JANESVILLE         WI      53545‐4276
ALAN DROHOMER        4925 JACKSON BLVD                                                                                                  WHITE LAKE         MI      48383‐1905
ALAN DROSTE          15405 W TOWNSEND RD                                                                                                PEWAMO             MI      48873‐9601
ALAN DRYLIE          48237 CONIFER DR                                                                                                   SHELBY TWP         MI      48315‐6805
ALAN DUBOIS          750 CIRCLE AVE                                                                                                     CINCINNATI         OH      45232‐1808
ALAN DUNKER          727 ROBINHOOD CIR                                                                                                  BLOOMFIELD HILLS   MI      48304‐3757
ALAN DURHAM          3258 CARLISLE HWY                                                                                                  CHARLOTTE          MI      48813‐9560
ALAN DYCHES          3225 PINES RD                                                                                                      SHREVEPORT         LA      71119‐3507
ALAN DYER            106 TIMBER TRACE XING                                                                                              WENTZVILLE         MO      63385‐2122
ALAN DZIAK           36 MUDDLER COURT                                                                                                   MARTINSBURG        WV      25405‐7552
ALAN E BENSKY        734 WILLARD SE AVE                                                                                                 WARREN             OH      44484
ALAN E EGGLESTON     1877 DENISON, N.W.                                                                                                 WARREN             OH      44485‐1720
ALAN E EGGLESTON     2076 TIMBER CREEK DR E                                                                                             CORTLAND           OH      44410
ALAN E ELEY          2909 LEWISBURG‐WESTERN ROAD                                                                                        LEWISBURG          OH      45338‐9009
ALAN E FAGAN         4428 CALKINS RD                                                                                                    FLINT              MI      48532‐3515
ALAN E HAYS          1153 PANAMA AVE                                                                                                    MOUNT MORRIS       MI      48458‐2533
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Name                               Address1                           Address2                 Address3     Address4               City             State   Zip
ALAN E HUDNELL                     7550 SESAME ST                                                                                  HUBER HEIGHTS     OH     45424
ALAN E HUGGINS                     120 LINDEN PL                                                                                   GRANDVILLE        OH     43023‐1373
ALAN E KNUTSON                     5205 N NEWVILLE RD                                                                              MILTON            WI     53563‐8886
ALAN E MAURER &                    MITCHEL MAURER JTWROS              50 CHESTNUT HILL                                             ROSLYN            NY     11576‐2824
ALAN E MUENZEL                     1261 PINE EDGE DR                                                                               LA HABRA HGTS     CA     90631‐8505
ALAN E SEVREY                      12680 CHURCHILL RD                                                                              RIVES JUNCTION    MI     49277‐9743
ALAN E WEISS                       5721 DUNROVIN DR                                                                                SAGINAW           MI     48638
ALAN E WHITESIDE II                2356 N VERITY PKWY                                                                              MIDDLETOWN        OH     45042‐2359
ALAN EDWARDS                       7036 FM 9 S                                                                                     WASKOM            TX     75692‐6410
ALAN EGGLESTON                     1877 DENISON AVE NW                                                                             WARREN            OH     44485‐1720
ALAN EICKHOLT                      30869 THIEROFF RD                                                                               HOLGATE           OH     43527‐9600
ALAN ELFERS                        3550 W 105TH ST APT 204                                                                         CLEVELAND         OH     44111
ALAN ELFMAN                        1443 MERES BLVD                                                                                 TARPON SPRINGS    FL     34689‐2880
ALAN ELNICK MD                     108 HARVEST LN                                                                                  FRANKENMUTH       MI     48734‐1212
ALAN EMERY                         10636 SKINNER HWY                                                                               DIMONDALE         MI     48821‐8732
ALAN EMMENDORFER                   19071 AMMAN RD                                                                                  CHESANING         MI     48616‐9714
ALAN ENGEL                         9335 E BASELINE RD APT 1104                                                                     MESA              AZ     85209‐1210
ALAN ENGLE, JACK ENGLE & COMPANY   C/O ALAMEDA STREET (ENGLE) SITE,   8530 SOUTH ALAMEDA ST.                                       LOS ANGELES       CA     90001
                                   SOUTHGATE, CA
ALAN ESTRADA
ALAN EVANS                         2185 BECKEWITH TRL                                                                              O FALLON         MO      63368‐8581
ALAN EVANS                         9696 5 MILE RD                                                                                  EVART            MI      49631‐8451
ALAN EVERT                         11014 RAY RD                                                                                    GAINES           MI      48436‐8916
ALAN F MANGES                      2292 MCCLINTOCKSBURG RD                                                                         DEERFIELD        OH      44411‐8737
ALAN F TRISCH                      2181 E DUTCHER RD                                                                               CARO             MI      48723‐9736
ALAN F WAIS                        1831 ALDRIN CT                                                                                  MILFORD          MI      48381‐4111
ALAN F. LEVY
ALAN FAILLE                        204 WARREN AVE                                                                                  FLUSHING         MI      48433‐1764
ALAN FALK                          3909 LIVE OAK BLVD                                                                              FORT WAYNE       IN      46804‐3939
ALAN FAVA                          1471 AKINS RD                                                                                   BROADVIEW HTS    OH      44147‐2315
ALAN FELDPAUSCH                    PO BOX 113                                                                                      NASHVILLE        MI      49073‐0113
ALAN FINCH                         1215 DORAL DR                                                                                   TROY             MI      48085‐6139
ALAN FINKBEINER                    3916 W CARO RD                                                                                  CARO             MI      48723‐9670
ALAN FINLEY                        4243 MANOR DR                                                                                   GRAND BLANC      MI      48439‐7964
ALAN FISHER                        3530 PAINT CREEK LN                                                                             OXFORD           MI      48371‐5524
ALAN FISHER                        1306 FISHER CIR                                                                                 UTICA            MS      39175‐9333
ALAN FITZGERALD                    9719 DAYTON GREENVILLE PIKE                                                                     BROOKVILLE       OH      45309‐9225
ALAN FITZPATRICK                   4 FALCON CREST DR                  UNIT B                                                       NORWALK          OH      44857‐2827
ALAN FLESHER                       1350 MITSON BLVD                                                                                FLINT            MI      48504‐4413
ALAN FLOWERS                       2910 E SOUTHWAY BLVD                                                                            KOKOMO           IN      46902‐4177
ALAN FLOYD                         566 COLLEGE AVE SE                                                                              GRAND RAPIDS     MI      49503‐5304
ALAN FORD                          9736 S SCENIC CT                                                                                OAK CREEK        WI      53154‐5657
ALAN FORK                          5322 S EMERSON AVE                                                                              INDIANAPOLIS     IN      46237‐1957
ALAN FOSTER                        7250 AQUA ISLE DR                                                                               CLAY             MI      48001‐4200
ALAN FOX                           4049 ARCADIA                                                                                    WATERFORD        MI      48328
ALAN FRANCIS                       1336 E STATE HIGHWAY 215                                                                        ALDRICH          MO      65601‐9011
ALAN FRANK
ALAN FRASER                        4554 N LAKE SHORE DR                                                                            BLACK RIVER      MI      48721‐9704
ALAN FREE                          9890 ROAD 124                                                                                   PAULDING         OH      45879‐9139
ALAN FREYBURGER                    221 BRENTWOOD DR                                                                                N TONAWANDA      NY      14120‐4860
ALAN FRIEDRICH                     420 E HOLMES ST                                                                                 JANESVILLE       WI      53545‐4116
ALAN FULLER                        30648 397TH AVE                                                                                 BELLEVUE         IA      52031‐9478
ALAN G BYRD                        1325 CLOVERFIELD AVE                                                                            KETTERING        OH      45429
ALAN G COHN                        3306 KEESHEN DR                                                                                 LOS ANGELES      CA      90066
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Name               Address1                      Address2                   Address3        Address4               City               State   Zip
ALAN G GHEESLING   PO BOX 2445                                                                                     DETROIT             MI     48202‐0445
ALAN G HASS TTEE   OF THE DENIS H. HASS TR       UNIT #405                  33 SLEEPER ST                          BOSTON              MA     02210‐1203
ALAN G SMITH       1735 E CLINTON TRL                                                                              CHARLOTTE           MI     48813‐8300
ALAN GAFFORD       18602 CENTRALIA                                                                                 REDFORD             MI     48240‐1821
ALAN GAGNE         PO BOX 9022                   C/O GM‐HOLDEN                                                     WARREN              MI     48090‐9022
ALAN GARAVAGLIA    954 LINCOLN DR                                                                                  BRIGHTON            MI     48116‐3795
ALAN GARNER        PO BOX 258                                                                                      REMUS               MI     49340‐0258
ALAN GARRECHT      3318 DREW ST                                                                                    ASH                 NC     28420‐3024
ALAN GARRISON      7404 NW 113TH ST                                                                                OKLAHOMA CITY       OK     73162‐2749
ALAN GARROW        615 N DEFIANCE ST                                                                               ARCHBOLD            OH     43502‐1106
ALAN GARTENBERG    16 HARDWICK CT                                                                                  JACKSON             NJ     08527
ALAN GARTIN        2084 RALLY HILL RD                                                                              COLUMBIA            TN     38401‐7516
ALAN GARVER        85 CAROLINA AVE                                                                                 LOCKPORT            NY     14094‐5745
ALAN GEDDES        8 PINNACLE RD                                                                                   WEST MONROE         NY     13167‐4169
ALAN GEGENHEIMER   301 N PORTLAND ST                                                                               RIDGEVILLE          IN     47380‐1216
ALAN GEORGE        371 KILLARNEY BEACH RD                                                                          BAY CITY            MI     48706‐1108
ALAN GEORGE        8860 KIDLEY DR                                                                                  STERLING HEIGHTS    MI     48314‐1656
ALAN GERNHARD      6266 CHASE DR                                                                                   MENTOR              OH     44060‐3602
ALAN GERSCHUTZ     12‐464 RD Y                                                                                     NEW BAVARIA         OH     43548
ALAN GETTMANN      10733 SCOTTS CORNER RD R                                                                        DIAMOND             OH     44412
ALAN GIER          2860 RIVER TRAIL DR                                                                             ROCHESTER HILLS     MI     48309‐3201
ALAN GILMER        14322 SEYMOUR RD                                                                                LINDEN              MI     48451‐9744
ALAN GOLDBERG MD   ATTN: ALAN GOLDBERG           1284 S LINDEN RD                                                  FLINT               MI     48532‐3460
ALAN GOTTSCHLING   10207 ANGLING RD                                                                                WAKEMAN             OH     44889‐9691
ALAN GRACE         5344 W BURT RD                                                                                  MONTROSE            MI     48457‐9371
ALAN GRAIN         4975 WHIPPLE LAKE RD                                                                            CLARKSTON           MI     48348‐2255
ALAN GRANGER       4173 S BELSAY RD                                                                                BURTON              MI     48519‐1730
ALAN GRANT         1105 BRYAN AVE                                                                                  SALMON              ID     83467‐3142
ALAN GRATTAN       5900 HICKORY MEADOWS DR                                                                         WHITE LAKE          MI     48383‐1185
ALAN GRAY          1714 FRONTIER TRL                                                                               MANSFIELD           OH     44905‐2942
ALAN GREEN         3700 S WESTPORT AVE #932                                                                        SIOUX FALLS         SD     57106
ALAN GREENHALGH    794 S 300 W                                                                                     PAYSON              UT     84651‐2812
ALAN GREENLEAF     9929 PRIMM SPRINGS RD                                                                           WILLIAMSPORT        TN     38487‐2845
ALAN GREENSPAN     PO BOX 938                                                                                      WILMINGTON          UT     05363
ALAN GREENWOOD
ALAN GRENAMYER     679 S LIPKEY RD                                                                                 NORTH JACKSON      OH      44451‐9748
ALAN GRIDER        516 WATERSONWAY CIR                                                                             INDIANAPOLIS       IN      46217‐3666
ALAN GRIFFIN       PO BOX 1035                                                                                     FOWLERVILLE        MI      48836‐1035
ALAN GROJEAN       38450 SHANA DR                                                                                  CLINTON TOWNSHIP   MI      48036‐1882

ALAN GURNEE        13131 WOODLAND TRL                                                                              FENTON             MI      48430‐8435
ALAN GUZZO         16805 WAYNE RD                                                                                  LIVONIA            MI      48154‐2265
ALAN H BARBER      PO BOX 5827                                                                                     BRADENTON          FL      34281‐5827
ALAN H BRYANT      1419 SOLDIERS HOME W C ROAD                                                                     DAYTON             OH      45418‐2143
ALAN H FORD        207 WESTERN DR                                                                                  MEDWAY             OH      45341
ALAN H JONES       NIX, PATTERSON & ROACH, LLP   GM BANKRUPTCY DEPARTMENT   205 LINDA DR                           DAINGERFIELD       TX      75638
ALAN H ZIMMERMAN   6483 LOCKHAVEN DR                                                                               BROOK PARK         OH      44142‐3729
ALAN HABER         3490 RIDGE PARK DR                                                                              BROADVIEW HTS      OH      44147‐2038
ALAN HAGOOD        60220 EYSTER RD                                                                                 ROCHESTER          MI      48306‐2016
ALAN HALE          3019 STOW XING                                                                                  MURFREESBORO       TN      37128‐5061
ALAN HALE          800 EAST 4TH STREET EXT.                                                                        CAMERON            MO      64429
ALAN HALL          12963 CHAMBERLAIN RD                                                                            AURORA             OH      44202‐9745
ALAN HAMILTON      2017 ROCKPORT RD                                                                                JANESVILLE         WI      53548‐4437
ALAN HAMMER        7509 GENESEO LN                                                                                 ARLINGTON          TX      76002‐3332
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Name                     Address1                        Address2                      Address3             Address4                 City              State   Zip
ALAN HAMMER              13703 W COUNTY ROAD A                                                                                       EVANSVILLE         WI     53536‐8665
ALAN HARDING             418 PARKLAND CT                                                                                             ROCHESTER HILLS    MI     48307‐3441
ALAN HARE                10460 SWAN CREEK RD                                                                                         SAGINAW            MI     48609‐9117
ALAN HARPER              8622 CROYDON LOOP                                                                                           AUSTIN             TX     78748‐6502
ALAN HARRISON            6275 HWY #81, SW                                                                                            LOGANVILLE         GA     30052
ALAN HART                10316 DALE AVE                                                                                              CLEVELAND          OH     44111‐3848
ALAN HARTTER             1804 BONNIEVIEW DR                                                                                          ROYAL OAK          MI     48073‐3810
ALAN HAUCK               12357 SANDY RD                                                                                              NORTH JACKSON      OH     44451‐9637
ALAN HAYDEN              13275 IMLAY CITY RD                                                                                         EMMETT             MI     48022‐2208
ALAN HAYMAN              11110 W GATES ST                                                                                            BRUCE TWP          MI     48065‐4372
ALAN HAYNES              2730 EDGEFIELD DR                                                                                           WATERFORD          MI     48328‐3204
ALAN HAYS                1153 PANAMA AVE                 LOTT 666                                                                    MOUNT MORRIS       MI     48458
ALAN HAYWOOD             2114 AINSWORTH ST                                                                                           FLINT              MI     48532‐3901
ALAN HAZELRIGG           30103 SANDERS LN                                                                                            COLE CAMP          MO     65325‐2852
ALAN HEAGLE              5239 BALDWIN RD                                                                                             HOLLY              MI     48442‐9321
ALAN HEATH               1315 S STEEL RD                                                                                             MERRILL            MI     48637‐9521
ALAN HEILSHORN           1782 WOODHURST DR                                                                                           DEFIANCE           OH     43512‐3444
ALAN HENNING             13310 LITCHFIELD RD                                                                                         MONTROSE           MI     48457‐9364
ALAN HENRY               5200 WASHBURN RD                                                                                            GOODRICH           MI     48438‐9711
ALAN HENSON              120 S SCATTERFIELD RD                                                                                       ANDERSON           IN     46012‐3105
ALAN HEPBURN             51 ROCHELLE CRES                                                                   RIDGEWAY ON L0S1N0
                                                                                                            CANADA
ALAN HERLINE             4990 CAMPBELL AVE                                                                                           HALE              MI      48739‐8729
ALAN HERRING             THE MADEKSHO LAW FIRM           8866 GULF FREEWAY SUITE 440                                                 HOUSTON           TX      77017
ALAN HEY                 126 DONNA LEA BLVD                                                                                          WILLIAMSVILLE     NY      14221‐3172
ALAN HILL                613 W BRAND ST                                                                                              DURAND            MI      48429‐1120
ALAN HILTON              9284 HAIGHT RD                                                                                              BARKER            NY      14012‐9632
ALAN HILTS               11376 GABRIEL ST                                                                                            ROMULUS           MI      48174‐1431
ALAN HILVERS             26269 ROAD Q26                                                                                              FORT JENNINGS     OH      45844‐8823
ALAN HOLME               217 GLENMOOR DR                                                                                             ROCHESTER         MI      48307‐1729
ALAN HOLMES              6520 HADLEY HILLS CT                                                                                        CLARKSTON         MI      48348‐1924
ALAN HOMRIGHAUSEN        C/O THE MADEKSHO LAW FIRM       8866 GULF FREEWAY SUITE 440                                                 HOUSTON           TX      77017
ALAN HOPFINGER           1624 S STATE ROUTE 19                                                                                       OAK HARBOR        OH      43449‐9659
ALAN HOPKINS             13550 12 MILE RD NE                                                                                         GREENVILLE        MI      48838‐8319
ALAN HORNE               3815 BLUE RIDGE BLVD                                                                                        INDEPENDENCE      MO      64052‐2345
ALAN HOUGH               29614 BARTON ST                                                                                             GARDEN CITY       MI      48135‐2687
ALAN HOUGHTALING         2285 S TOOHEY RIDGE RD                                                                                      CAVE CITY         KY      42127‐9235
ALAN HOUTMAN             12380 BIRCHCREST DR                                                                                         MILFORD           MI      48380‐2658
ALAN HOWARD AMSTERBERG   ROBERT W PHILLIPS               SIMMONS BROWDER GIANARIS      707 BERKSHIRE BLVD   PO BOX 521               EAST ALTON        IL      62024
                                                         ANGELIDES & BARNERD LLC
ALAN HSUEH               6705 WOODCREST DR                                                                                           TROY              MI      48098‐6525
ALAN HUBBARD             4221 GERTRUDE ST                                                                                            DEARBORN HTS      MI      48125‐2819
ALAN HUDNELL             7550 SESAME ST                                                                                              HUBER HEIGHTS     OH      45424‐2203
ALAN HUELSMAN            3320 YUCATAN DRIVE                                                                                          LAKE WALES        FL      33898‐8313
ALAN HUFFMAN             14620 LEAVENWORTH RD                                                                                        BASEHOR           KS      66007‐5240
ALAN HUGGINS             120 LINDEN PL                                                                                               GRANVILLE         OH      43023‐1373
ALAN HUNT                9 MAPLESHADE DR                                                                                             NEWARK            DE      19702‐8420
ALAN HUSS                6920 DEVILS LAKE HWY                                                                                        MANITOU BEACH     MI      49253‐9635
ALAN IDLEWINE            2736 W 800 N                                                                                                SPRINGPORT        IN      47386
ALAN INGALLS             102 POND DR                                                                                                 NEWPORT           NC      28570‐9473
ALAN INMAN               1810 CAMBRIDGE AVE                                                                                          FLINT             MI      48503‐4702
ALAN ISAAC               3421 SOUTHDALE DR APT 8                                                                                     KETTERING         OH      45409‐1142
ALAN J BASNER            404 SHARON DR                                                                                               FLUSHING          MI      48433‐1507
ALAN J CALDWELL          410 ASBURY LN                                                                                               NILES             OH      44446‐2851
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Name                                 Address1                        Address2                   Address3            Address4               City               State   Zip
ALAN J DAVIS                         4130 SUNDOWNER LN                                                                                     COLUMBIAVILLE       MI     48421‐9121
ALAN J DUDKIEWICZ                    94 PARKEDGE AVE                                                                                       TONAWANDA           NY     14150‐7730
ALAN J EATON                         9808 GERALDINE ST                                                                                     YPSILANTI           MI     48197‐6922
ALAN J KLEEH                         342 PEBBLEVIEW DRIVE                                                                                  ROCHESTER           NY     14612‐4123
ALAN J LAFAVE                        912 N MCLELLAN ST                                                                                     BAY CITY            MI     48708‐6167
ALAN J LUPTON                        2904 WEHRLY AVE                                                                                       KETTERING           OH     45419‐2016
ALAN J MORRIS                        190 MOORLAND ROAD                                                                                     ROCHESTER           NY     14612‐3422
ALAN J PAJOT                         1353 7 MILE RD                                                                                        KAWKAWLIN           MI     48631‐9737
ALAN J PHIPPS                        493 STATE ROUTE 305 RD NW 305                                                                         WARREN              OH     44481
ALAN J RAMASOCKY                     457 HOWLAND AVE, # LOWER                                                                              TOLEDO              OH     43605
ALAN J SARTSCHEV                     6217 ROUSSEAU DR                                                                                      PARMA               OH     44129‐6522
ALAN J SHEAR                         933 WILMINGTON AVE #1                                                                                 DAYTON              OH     45420‐1634
ALAN J VOISARD                       12523 JACKSON HEIGHTS DR B                                                                            EL CAJON            CA     92021
ALAN J WERNER                        8427 W HENRIETTA RD                                                                                   RUSH                NY     14543‐9416
ALAN JACKSON                         44322 SATURN DR                                                                                       STERLING HEIGHTS    MI     48314‐3173
ALAN JACOBS                          777 ARVEE LANE                                                                                        WEST UNION          SC     29696‐3813
ALAN JADCZAK                         2932 ALDRIN CT                                                                                        LAKE ORION          MI     48360‐1700
ALAN JAKUBCZAK                       4687 BLOOMFIELD DR                                                                                    BAY CITY            MI     48706‐2606
ALAN JAMISON                         822 S ROANOKE                                                                                         MESA                AZ     85206‐2742
ALAN JANES                           4012 CONCORD ST                                                                                       MIDLAND             MI     48642‐3516
ALAN JANKOWIAK                       817 S VAN BUREN ST                                                                                    BAY CITY            MI     48708‐7316
ALAN JAREMA                          2650 BUSCH RD                                                                                         BIRCH RUN           MI     48415‐8918
ALAN JAY CHEV CAD INC/ENTERPRISE     441 US HIGHWAY 27 N                                                                                   SEBRING             FL     33870‐2151
ALAN JAY CHEVROLET‐CADILLAC, INC.    ALAN WILDSTEIN                  441 US HIGHWAY 27 N                                                   SEBRING             FL     33870‐2151
ALAN JAY CHEVROLET‐CADILLAC, INC.    441 US HIGHWAY 27 N                                                                                   SEBRING             FL     33870‐2151
ALAN JAY PONT BUICK GMC/ENTERPRISE   441 US HIGHWAY 27 NORTH                                                                               SEBRING             FL     33870‐2151

ALAN JAY PONTIAC BUICK GMC, INC.     ALAN WILDSTEIN                  PO BOX 9200                                                           SEBRING             FL     33871‐9901
ALAN JAY PONTIAC BUICK GMC, INC.     PO BOX 9200                                                                                           SEBRING             FL     33871‐9901
ALAN JAY/STATE OF FLORIDA            404 US HIGHWAY 27 N                                                                                   SEBRING             FL     33870‐2150
ALAN JAY/STATE OF FLORIDA            441 US HIGHWAY 27 N                                                                                   SEBRING             FL     33870‐2151
ALAN JENKINS                         1980 COTACO FLORETTE RD                                                                               SOMERVILLE          AL     35670‐6949
ALAN JERRAM JR                       PO BOX 8822                                                                                           HORSESHOE BAY       TX     78657‐8822
ALAN JOHNS                           1929 MONTEITH ST                                                                                      FLINT               MI     48504‐5202
ALAN JOHNSON                         3449 ALLISON AVE                                                                                      INDIANAPOLIS        IN     46224‐1508
ALAN JOHNSON                         11257 STAGECOACH DR                                                                                   DOWLING             MI     49050‐8820
ALAN JOHNSTON                        10300 MILLIMAN RD                                                                                     MILLINGTON          MI     48746‐9749
ALAN JONAS                           5043 CARDINAL CT                                                                                      TROY                MI     48098‐2490
ALAN JONES                           6244 N WINDERMERE DR                                                                                  SHREVEPORT          LA     71129‐3423
ALAN JOSE ACQUATELLA &               XIMENA ISABEL MORALES           DESIGNATED BENE PLAN/TOD   6816 RAVENWOOD DR                          MCKINNEY            TX     75070‐5023
ALAN JUSTICE                         16063 MEADOWOOD AVE                                                                                   SOUTHFIELD          MI     48076‐4739
ALAN K DIXON                         9189 PETTIT RD                                                                                        BIRCH RUN           MI     48415‐8504
ALAN K GREENHALGH                    794 S 300 W                                                                                           PAYSON              UT     84651
ALAN K JACOBS                        777 ARVEE LANE                                                                                        WEST UNION          SC     29696
ALAN K WOOLEVER                      6366 DELLWOOD DR                                                                                      WATERFORD           MI     48329‐3128
ALAN K. WHIPPLE
ALAN KARACIA                         10864 GRATIS JACKSONBURG RD                                                                           SOMERVILLE         OH      45064‐9629
ALAN KAUFMAN                         804 HILLTOP LN                                                                                        LOGANSPORT         IN      46947‐1320
ALAN KAUFMAN                         MCKENNA LONG & ALDRIDGE         230 PARK AVENUE            SUITE, 1700                                NEW YORK           NY      10169
ALAN KAWIECKI                        46 SANDALWOOD CT                                                                                      ROCHESTER HLS      MI      48307‐3455
ALAN KEAN                            49447 KIRKLAND CT                                                                                     SHELBY TOWNSHIP    MI      48315‐3828
ALAN KEEFER                          8142 E CARPENTER RD                                                                                   DAVISON            MI      48423‐8961
ALAN KEMP                            35 S CONCORD DR                                                                                       JANESVILLE         WI      53545‐2179
ALAN KENNEDY                         47183 SUNNYBROOK LN                                                                                   NOVI               MI      48374‐3643
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Name                 Address1                       Address2                Address3        Address4               City             State   Zip
ALAN KENNEDY         304 S COLE AVE                                                                                MUNCIE            IN     47303‐4624
ALAN KINNEY          1205 HALIFAX CT                                                                               TARPON SPRINGS    FL     34688‐7617
ALAN KINNEY          10935 HAVEN RD                                                                                SEBEWAING         MI     48759‐9765
ALAN KISTNER         8700 STAHLEY RD                                                                               EAST AMHERST      NY     14051‐1585
ALAN KLAMECKI
ALAN KNICKERBOCKER   9009 MACAULEY LANE                                                                            NOLENSVILLE      TN      37135‐4016
ALAN KNIGHT          6943 E COUNTY ROAD 350 N                                                                      BROWNSBURG       IN      46112‐9716
ALAN KNUTH           9406 NW PLEASANT DR                                                                           PARKVILLE        MO      64152‐2626
ALAN KNUTSON         5205 N NEWVILLE RD                                                                            MILTON           WI      53563‐8886
ALAN KOCHER          2455 E COUNTY ROAD 67 LOT 13                                                                  ANDERSON         IN      46017‐1933
ALAN KONOPKA         11155 MILFORD RD                                                                              HOLLY            MI      48442‐8106
ALAN KONTAK          606 NEWMAN ST                                                                                 EAST TAWAS       MI      48730‐1250
ALAN KONZ            1340 SPRINGBROOK DR                                                                           MANSFIELD        OH      44906‐3541
ALAN KORHORN         1581 ALPINE CHURCH RD NW                                                                      COMSTOCK PARK    MI      49321‐8283
ALAN KOROL           432 LA GRANGE AVE                                                                             ROCHESTER        NY      14615‐3257
ALAN KORPI           12019 S SAGINAW ST APT 1                                                                      GRAND BLANC      MI      48439‐1459
ALAN KOVACIC         8992 SUSSEX ST                                                                                WHITE LAKE       MI      48386‐3366
ALAN KOWALEWSKI      1174 HAMPTON MEADOWS DR                                                                       O FALLON         MO      63368‐8260
ALAN KOZAK           7745 AMBERWOOD TRL                                                                            BOARDMAN         OH      44512‐4783
ALAN KRAFT           1828 WILLIS GAP MOUNTAIN RD                                                                   FANCY GAP        VA      24328‐4133
ALAN KROLL           APT 6                          3800 LONE PINE DRIVE                                           HOLT             MI      48842‐7703
ALAN KUHLMAN         11146 FAIRVIEW DR                                                                             OTTAWA           OH      45875‐9732
ALAN KUMAUS          4305 E BROOKS RD                                                                              MIDLAND          MI      48640‐8513
ALAN KUNTZ           55 COURT ST                                                                                   CANFIELD         OH      44406‐1406
ALAN KWIATKOWSKI     PO BOX 121                                                                                    SAINT CHARLES    MI      48655‐0121
ALAN L BOHIL         1705 PLAS ST SW 1                                                                             WYOMING          MI      49519
ALAN L BUCK          PO BOX 109                                                                                    MILLINGTON       MI      48746‐0109
ALAN L BURTON        4614 SW 10TH TERRACE CT                                                                       BLUE SPRINGS     MO      64015‐8752
ALAN L CRUMBAKER     980 BOULDER                                                                                   W ALEXANDRIA     OH      45381‐9539
ALAN L GRANT         1105 BRYAN AVE                                                                                SALMON           ID      83467‐3142
ALAN L HEIM          85 SKYCREST DR                                                                                ROCHESTER        NY      14616
ALAN L KLEE          1410 EGGLESTON AVE                                                                            FLINT            MI      48532‐4132
ALAN L KOROL         432 LA GRANGE AVE                                                                             ROCHESTER        NY      14615‐3257
ALAN L NICHOLS       C/O BRAYTON PURCELL            222 RUSH LANDING ROAD                                          NOVATO           CA      94948‐6169
ALAN L NOVELLIN      PO BOX 16163                                                                                  ROCHESTER        NY      14616‐0163
ALAN L OSTERHAGE     10433 DORVAL AVE                                                                              MIAMISBURG       OH      45342
ALAN L STONE         1506 SHERWOOD FOREST DR                                                                       MIAMISBURG       OH      45342
ALAN L THOMAS        686 NICHOLAS DRIVE SW                                                                         CORYDON          IN      47112
ALAN L WALLER        2331 E JUDD RD                                                                                BURTON           MI      48529‐2456
ALAN LADD            230 TELFORD GROVE RD                                                                          HOLLY            MI      48442
ALAN LADD            16525 GRACE CRT APT E102                                                                      SOUTHGATE        MI      48195
ALAN LAMB            9301 RIDGE RD                                                                                 GOODRICH         MI      48438‐9448
ALAN LAMBLIN         500 38TH ST                                                                                   BAY CITY         MI      48708‐8368
ALAN LAMING          8773 SURFWOOD DR                                                                              MONROE           MI      48162‐9104
ALAN LAMOREAUX       1082 E CHICAGO BLVD APT 18                                                                    TECUMSEH         MI      49286‐8629
ALAN LAN             28721 MAUCH ST                                                                                SANTA CLARITA    CA      91390
ALAN LANDERMAN       N816 CLUB CIRCLE DR                                                                           PRAIRIE DU SAC   WI      53578‐9550
ALAN LANG            19800 NEGAUNEE                                                                                REDFORD          MI      48240‐1642
ALAN LANSKY          11875 GILBERT RD                                                                              RILEY            MI      48041‐3715
ALAN LAROBARDIERE    1780 W EMERY RD                                                                               PRUDENVILLE      MI      48651‐9517
ALAN LARSON          6524 N DEL MAR AVE                                                                            FRESNO           CA      93704‐1304
ALAN LASCHIVER
ALAN LEACH           187 GOLF VIEW DR                                                                              AUBURNDALE        FL     33823‐5613
ALAN LECCE           35015 PALMER RD                                                                               WESTLAND          MI     48186‐4459
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Name               Address1                       Address2                     Address3   Address4               City               State   Zip
ALAN LEE           PO BOX 46013                                                                                  MOUNT CLEMENS       MI     48046‐6013
ALAN LEES          1138 CENTER ST W                                                                              WARREN              OH     44481‐9419
ALAN LENNEMAN      24406 MELODY RD                                                                               WARREN              MI     48089‐4746
ALAN LEONHARDT     PO BOX 769                                                                                    FREELAND            MI     48623‐0769
ALAN LESHINSKY     22907 WILSON AVE                                                                              DEARBORN            MI     48128‐2808
ALAN LESLIE        4104 SCENIC DR E                                                                              SAGINAW             MI     48603‐9616
ALAN LEVAN         541 TWO ROD RD                                                                                ALDEN               NY     14004‐9443
ALAN LINDBERG      18819 LUCERNE ST                                                                              SOUTHGATE           MI     48195‐2818
ALAN LIPKA         4067 HAIGHT RD                                                                                CLIFFORD            MI     48727‐9700
ALAN LLOYD         515 WELBROOK RD                                                                               BALTIMORE           MD     21221‐3410
ALAN LLOYD         5339 WORCHESTER DR                                                                            SWARTZ CREEK        MI     48473‐1113
ALAN LOCKWOOD      4877 LAPEER RD                                                                                COLUMBIAVILLE       MI     48421‐9744
ALAN LOCKWOOD      1725 CAHILL DR                                                                                EAST LANSING        MI     48823‐4728
ALAN LONG          105 W 6TH ST                                                                                  RANDOLPH            MO     64161‐9224
ALAN LOVEJOY       8107 MORRISH RD                                                                               SWARTZ CREEK        MI     48473‐9162
ALAN LOWENTHAL     707 BALFOUR ST                                                                                GROSSE POINTE       MI     48230‐1811
                                                                                                                 PARK
ALAN LUBELAN       1650 COBBLESTONE LN                                                                           OXFORD             MI      48371‐2741
ALAN LUSTRE        44991 COBBLESTONE                                                                             NOVI               MI      48377‐1395
ALAN LUX           35791 SCHMID DR                                                                               NEW BALTIMORE      MI      48047‐2441
ALAN LYNCH         249 DAVISON RD APT 8                                                                          LOCKPORT           NY      14094‐3966
ALAN LYONS         4170 PARKMAN RD NW APT 2                                                                      WARREN             OH      44481
ALAN M PITTMAN     21 LAUREL CREST DR                                                                            SPENCERPORT        NY      14559‐2303
ALAN M PYLE        4727 WILLOWBROOK DR                                                                           SPRINGFIELD        OH      45503‐5839
ALAN M SMITH       727 S GRAND TRAVERSE STREET                                                                   FLINT              MI      48502
ALAN MACDONALD     1545 CLUB AVE                                                                                 SAINT HELEN        MI      48656‐9559
ALAN MACK          5144 MCGRANDY RD                                                                              BRIDGEPORT         MI      48722‐9785
ALAN MADAJ         609 NORTH WENONA STREET                                                                       BAY CITY           MI      48706‐4533
ALAN MAFFESOLI     31228 COUNTRY WAY                                                                             FARMINGTN HLS      MI      48331‐1040
ALAN MAGIL         1311 SCHUMAN ST                                                                               GARDEN CITY        MI      48135‐3500
ALAN MANDUZZI      48549 THORNCROFT DR                                                                           MACOMB             MI      48044‐5560
ALAN MANGES        2292 MCCLINTOCKSBURG RD                                                                       DEERFIELD          OH      44411‐8737
ALAN MANN          PO BOX 52                                                                                     HOWARD             GA      31039‐0052
ALAN MANNINGS      25110 WITHERSPOON ST                                                                          FARMINGTON HILLS   MI      48335‐1363

ALAN MARKHOFF      1962 BARRINGTON CT                                                                            ROCHESTER HLS      MI      48306‐3216
ALAN MARR          PO BOX 62                                                                                     ALGER              MI      48610‐0062
ALAN MARTIN        4010 WATERLAND DR                                                                             METAMORA           MI      48455‐9610
ALAN MARTIN        5333 36 MILE RD                                                                               BRUCE TWP          MI      48065‐1702
ALAN MASON         2700 EATON RAPIDS RD LOT 218                                                                  LANSING            MI      48911‐6326
ALAN MASON         9473 WAITE DR                                                                                 FENTON             MI      48430‐8407
ALAN MATHER        9204 MCWAIN RD                                                                                GRAND BLANC        MI      48439‐8006
ALAN MAUS          1182 PARKLANE CIR                                                                             GRAND BLANC        MI      48439‐8054
ALAN MAYBACH       71 SOUTHPOINT DR                                                                              LANCASTER          NY      14086‐3333
ALAN MAZZUCHELLI   1426 DOEBLER DR                                                                               N TONAWANDA        NY      14120‐2208
ALAN MC LAUGHLIN   273 ANNE MARIE CT                                                                             HINCKLEY           OH      44233‐9228
ALAN MCATTEE       6414 COULSON CT                                                                               LANSING            MI      48911‐5631
ALAN MCCAIN        BEVAN & ASSOCIATES LPA INC     6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS         OH      44236
ALAN MCCLARY       4758 CINEMA AVE NE                                                                            GRAND RAPIDS       MI      49525‐6862
ALAN MCCLURE       1082 E FOREST AVE                                                                             YPSILANTI          MI      48198‐3909
ALAN MCCUMMINGS    160 MIDDLE RD                                                                                 ELKTON             MD      21921‐2316
ALAN MCCURDY       531 CLINE ST                                                                                  HUNTINGTON         IN      46750‐3242
ALAN MCELRATH      5830 HEGEL RD                                                                                 GOODRICH           MI      48438‐9619
ALAN MCGOWEN       309 RADER DR                                                                                  MONROE             LA      71203‐8539
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Name               Address1                         Address2               Address3         Address4               City               State Zip
ALAN MCGUIRE       2621 BLUEWATER TRL                                                                              FORT WAYNE          IN 46804‐8400
ALAN MCKENZIE      2043 WINCHESTER TRL                                                                             ROMEOVILLE           IL 60446‐5092
ALAN MENNING
ALAN MERSHMAN      8900 AKEHURST CT                                                                                WHITE LAKE         MI   48386‐3389
ALAN MESSENGER     6272 ROBERTA ST                                                                                 BURTON             MI   48509‐2436
ALAN MEYER         466 SYCAMORE LN                                                                                 HAINES CITY        FL   33844‐8656
ALAN MICHAEL       7055 CROSSWINDS DR                                                                              SWARTZ CREEK       MI   48473‐9778
ALAN MICHALET      12829 PRATHAM RD                                                                                EAST CONCORD       NY   14055‐9786
ALAN MICKENS       805 E BOGART RD                                                                                 SANDUSKY           OH   44870‐6419
ALAN MIKEL         2997 GAYLA DR                                                                                   BLANCHARD          OK   73010‐9796
ALAN MILAND        1325 ROYAL OAKS DR                                                                              JANESVILLE         WI   53548‐6804
ALAN MILEWSKI      5308 BLODGETT AVE                                                                               DOWNERS GROVE      IL   60515‐5055
ALAN MILITSCHER    5 MIDDLEWAY                                                                                     HARTSDALE          NY   10530
ALAN MILLER        459 N ELMS RD                                                                                   FLUSHING           MI   48433‐1423
ALAN MILLER        4805 W KENN DR                                                                                  MUNCIE             IN   47302‐8961
ALAN MILLER        8424 W TAFT RD                                                                                  SAINT JOHNS        MI   48879‐9567
ALAN MILLER        5509 IVY HILL DR                                                                                ARLINGTON          TX   76016‐2235
ALAN MILLER        24377 RIDGEVIEW DR                                                                              FARMINGTON HILLS   MI   48336‐1933

ALAN MINTON        13805 RICHEY RD                                                                                 VAN WERT           OH   45891‐9170
ALAN MIRACLE       17 BENT CREEK DR                                                                                SMITHS GROVE       KY   42171‐8949
ALAN MITCHELL      1348 HALLS BRIDGE RD                                                                            JACKSON            GA   30233‐4305
ALAN MOORE         6200 DEAN RD                                                                                    HOWELL             MI   48855‐9233
ALAN MORGAN        11040 WILLARD RD                                                                                MILLINGTON         MI   48746‐9105
ALAN MORLANG
ALAN MORRISSETTE   21280 PRATT RD                                                                                  ARMADA             MI   48005‐1331
ALAN MORTZ         5290 W ROCHELLE ST                                                                              HOMOSASSA          FL   34446‐1571
ALAN MOSS          PO BOX 585                                                                                      SHELL KNOB         MO   65747‐0585
ALAN MOYER         20937 GARRISI CT                                                                                CLINTON TOWNSHIP   MI   48038‐6431

ALAN MOYNIHAN      4321 MESA VIEW LN                                                                               FORT COLLINS       CO   80526‐3378
ALAN MUENZEL       1261 PINE EDGE DR                                                                               LA HABRA HGTS      CA   90561‐8505
ALAN MUEY          204 W 9TH ST                                                                                    ANDERSON           IN   45016‐1314
ALAN MULARSKI      615 CENTER ST                                                                                   GALION             OH   44833‐1231
ALAN MUNDELL       5035 PLANTATION ST                                                                              ANDERSON           IN   46013‐5800
ALAN MUNN          2686 MCCOY RD                                                                                   WOOSTER            OH   44691‐8960
ALAN MYERS         8730 HIGHWAY 71                                                                                 ELM GROVE          LA   71051‐8453
ALAN MYERS         439 S GRAHAM ST                                                                                 MARTINSVILLE       IN   46151‐2204
ALAN NAGEL         2133 WHEELER RD                                                                                 BAY CITY           MI   48706‐9483
ALAN NAP           19 TIMBERLINE DR                                                                                ESKO               MN   55733‐9500
ALAN NASH          610 GROVENBURG RD                                                                               MASON              MI   48854‐9520
ALAN NAY           9 CEDARWOOD CT                                                                                  PALM COAST         FL   32137‐8947
ALAN NEALLEY       17453 DUNBLAINE AVE                                                                             BEVERLY HILLS      MI   48025‐4111
ALAN NEVA          7056 JOHNSON RD                                                                                 FLUSHING           MI   48433‐9011
ALAN NEWBURY       412 CAMBRIDGE AVE                                                                               SOUTH LYON         MI   48178‐1503
ALAN NEWSOME       21731 ROAD 82                                                                                   OAKWOOD            OH   45873‐9402
ALAN NICHOLS       3585 BLACK EAGLE DR                                                                             HOWELL             MI   48843‐6921
ALAN NICOL         17952 CRESCENT LAKE PL                                                                          MACOMB             MI   48042‐2378
ALAN NIMRICHTER    17045 RIDGE POINT CIR                                                                           STRONGSVILLE       OH   44136‐4211
ALAN NOTTER        4185 EASTPORT DR                                                                                BRIDGEPORT         MI   48722‐9606
ALAN NOVELLIN      PO BOX 16163                                                                                    ROCHESTER          NY   14616‐0163
ALAN O'MARTIN
ALAN O'NEST        191 FOXHILL LN                                                                                  PERRYSBURG         OH   43551‐2505
ALAN OBENAUF       104 E MUSKEGON ST                                                                               KENT CITY          MI   49330‐9790
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Name                                Address1                       Address2                     Address3                    Address4               City              State   Zip
ALAN ODUM                           2014 SAINT FRANCIS AVE                                                                                         NILES              OH     44446‐4546
ALAN OLESKY                         219 BROAD ST                                                                                                   BROWNSVILLE        PA     15417‐2103
ALAN OLSEN                          565 W CENTER ST                                                                                                LA VERKIN          UT     84745‐5417
ALAN OMEARA                         429 CASSANDRA CIR                                                                                              LAKELAND           FL     33809‐3702
ALAN OPPENHEISER                    3321 ROSEMONT CT                                                                                               ROCHESTER HILLS    MI     48306‐4705
ALAN OUILLETTE                      5191 CHAMBERS RD                                                                                               MAYVILLE           MI     48744‐9768
ALAN OZIAS                          13940 THAMES DR                                                                                                SHELBY TWP         MI     48315‐5432
ALAN P GOLDBERG                     1284 S LINDEN RD                                                                                               FLINT              MI     48532‐3460
ALAN P HUELSMAN                     3320 N YUCATAN DR                                                                                              LAKE WHALES        FL     33898
ALAN P ROSENBERG                    11016 CHIPPEWA FOREST RD                                                                                       ARBOR VITAE        WI     54568
ALAN PAJOT                          1353 7 MILE RD                                                                                                 KAWKAWLIN          MI     48631‐9737
ALAN PAPKE                          1801 MAPLE ST                                                                                                  WYANDOTTE          MI     48192‐5415
ALAN PARCO                          6527 BARLEY CORN ROW                                                                                           COLUMBIA           MD     21044‐6005
ALAN PARRETT                        1130 HERMANN CT                                                                                                MILFORD            MI     48380‐3533
ALAN PARTLO                         1145 CHAMBLEE GAP RD                                                                                           CUMMING            GA     30040‐7111
ALAN PASADYN                        608 GEORGETOWN AVE                                                                                             ELYRIA             OH     44035‐3002
ALAN PATRICK                        6133 MAHONING AVE NW                                                                                           WARREN             OH     44481‐9401
ALAN PATRIDGE                       C/O EMBRY & NEUSNER            PO BOX 1409                                                                     GROTON             CT     06340
ALAN PAVLICA                        1312 W WINEGAR RD                                                                                              MORRICE            MI     48857‐9688
ALAN PEARSON                        35940 HAWTHORNE DR                                                                                             CLINTON TWP        MI     48035‐6203
ALAN PENNELL                        6180 RICHFIELD RD                                                                                              FLINT              MI     48506‐2206
ALAN PERRINGTON                     397 DEARBORN ST                                                                                                BUFFALO            NY     14207‐2512
ALAN PERRITON                       14189 SO. SPYGLASS HILL                                                                                        DRAPER             UT     84020
ALAN PETERMAN                       14311 ZIEGLER ST                                                                                               TAYLOR             MI     48180‐5322
ALAN PETERSON                       4133 SHORE CREST DR                                                                                            W BLOOMFIELD       MI     48323‐1761
ALAN PETREE                         338 LAKEWAY TER                                                                                                SPRING HILL        TN     37174‐7551
ALAN PETTY                          1059 FREDRICK BLVD                                                                                             READING            PA     19605‐1167
ALAN PETZOLD                        9897 STATE RD                                                                                                  MILLINGTON         MI     48746‐9430
ALAN PHILIPPS                       13473 CARPENTER WAY                                                                                            NUNICA             MI     49448‐9330
ALAN PHIPPS                         30904 SMITH AVE                                                                                                ARDMORE            TN     38449‐3254
ALAN PIGEON                         33435 NANCY ST                                                                                                 LIVONIA            MI     48150‐2675
ALAN PIGGOTT                        10154 GRANGE RD                                                                                                PORTLAND           MI     48875‐9307
ALAN PILLARD                        906 BURNWYCK DR                                                                                                JANESVILLE         WI     53546‐3703
ALAN PITTMAN                        20700 RANDOLPH PKWY                                                                                            BEACHWOOD          OH     44122‐7019
ALAN PLAXTON                        3633 ALPINE DR                                                                                                 LANSING            MI     48911‐2602
ALAN POLENZ                         6772 ARCHDALE ST                                                                                               DETROIT            MI     48228‐3571
ALAN PONELEIT
ALAN PORATH                         6335 FORT RD                                                                                                   BIRCH RUN         MI      48415‐9087
ALAN PORTER                         10343 CHERRY AVE                                                                                               CHERRY VALLEY     CA      92223‐4814
ALAN PRATT                          1207 BROADWAY ST                                                                                               ANDERSON          IN      46012‐2530
ALAN PRESTON                        600 BOULDER DR                                                                                                 WEST MILTON       OH      45383‐1768
ALAN PRESTON                        600 BOULDER DRIVE                                                                                              WEST MILTON       OH      45383
ALAN PRIBBLE DECEASED A PRIBBLE L   C COLEMAN ET AL                C/O WATTS GUERRA CRAFT LLP   300 CONVENT ST, SUITE 100                          SAN ANTONIO       TX      78205
HANSEN B PRIBBLE
ALAN PRICE                          7956 REMLINGER RD                                                                                              CRESTLINE         OH      44827‐9754
ALAN PRIDDY                         4005 CRESCENT DR                                                                                               GRANBURY          TX      76049‐5315
ALAN PULSIPHER                      1848 S 750 E                                                                                                   GREENTOWN         IN      46936‐9132
ALAN PULVIRENTI                     5177 MATTAWA DR                                                                                                CLARKSTON         MI      48348‐3123
ALAN PUSKARIC                       PO BOX 262                                                                                                     HARRISON CITY     PA      15636‐0252
ALAN R & SHEILA K WEISS             636 FRANCONIAN DR E                                                                                            FRAKENMUTH        MI      48734
ALAN R KOSEL                        768 SPENCERPORT ROAD                                                                                           ROCHESTER         NY      14606‐4820
ALAN R LAMING                       8773 SURFWOOD DR                                                                                               MONROE            MI      48162‐9104
ALAN R MASON                        9473 WAITE DR                                                                                                  FENTON            MI      48430‐8407
ALAN R MCDONNOLD                    5985 SPRINGBORO PIKE                                                                                           DAYTON            OH      45449‐3262
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ALAN R PULVIRENTI           5177 MATTAWA                                                                                    CLARKSTON        MI     48348‐3123
ALAN R SILVERMAN IRA        ALAN R. SILVERMAN                5340 MAYNARD ST                                                PITTSBURGH       PA     15217
ALAN R WEBBER               1133 E GENESEE AVE                                                                              FLINT            MI     48505‐1636
ALAN RACHWITZ               PO BOX 797                                                                                      FLINT            MI     48501‐0797
ALAN RADLICK                226 JONATHON DR                                                                                 ALMONT           MI     48003‐8972
ALAN RAMASOCKY              457 HOWLAND AVE                                                                                 TOLEDO           OH     43605‐2548
ALAN RANDOLPH               7402 HAYWARD RD                                                                                 DELTON           MI     49046‐9755
ALAN RAPHAEL                414 OPAL DR                                                                                     MANSFIELD        OH     44907‐1474
ALAN RATLIFF                3640 PONTIAC LAKE RD                                                                            WATERFORD        MI     48328‐2343
ALAN RAY                    19329 SIDANI LN                                                                                 SAUGUS           CA     91350‐3221
ALAN REED                   140 COTTONWOOD DR                                                                               FRANKLIN         TN     37069‐4152
ALAN REETZ                  4530 NEW RD                                                                                     WILLIAMSON       NY     14589‐9268
ALAN REINBOLD               2815 N GERA RD                                                                                  REESE            MI     48757‐9316
ALAN RENDON                 6436 RIDGEVIEW AVE                                                                              AUSTINTOWN       OH     44515‐5553
ALAN RENNELLS               4884 COUNTY FARM RD                                                                             SAINT JOHNS      MI     48879‐9259
ALAN REPKO                  C/O BEVAN & ASSOCIATES LPA INC   6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS       OH     44236
ALAN RESZETUCHA             96 GROTE ST                                                                                     BUFFALO          NY     14207‐2420
ALAN REUBER CHEVROLET INC   4715 WESLEY ST                                                                                  GREENVILLE       TX     75401‐5647
ALAN REYNOLDS               PO BOX 441                                                                                      ORTONVILLE       MI     48462‐0441
ALAN RHODES                 3047 VOORHEIS LAKE CT                                                                           LAKE ORION       MI     48360‐1868
ALAN RHODES                 143 ARCHERY CT                                                                                  OLD BRIDGE       NJ     08857‐3227
ALAN RICE                   36784 SHADY CREEK CIR                                                                           NEW BALTIMORE    MI     48047‐5544
ALAN RICHARDSON             3315 S STATE ROAD 13                                                                            LAPEL            IN     46051‐9737
ALAN RITTER                 2299 BIRCH DR                                                                                   SAINT CLAIR      MI     48079‐3705
ALAN ROBERTSON              12727 CANYON CREEK BLVD                                                                         FORT WAYNE       IN     46845‐2315
ALAN ROBERTSON              400 N ELM GROVE RD                                                                              LAPEER           MI     48446‐3547
ALAN ROBETOY                3361 FAIRWAY DR                                                                                 BAY CITY         MI     48706‐3329
ALAN ROCHESTER              2725 W TEMPERANCE RD                                                                            TEMPERANCE       MI     48182‐9474
ALAN ROCKMORE               645 HOENE RIDGE ESTATES DR                                                                      EUREKA           MO     63025‐3157
ALAN ROEHL                  6601 RIDGEWOOD DRIVE                                                                            CASTALIA         OH     44824‐9754
ALAN ROEKLE                 4081 DONNELY RD                                                                                 JACKSON          MI     49201‐8870
ALAN ROGERS                 33 NETHERDALE RD                                                                                DAYTON           OH     45404‐2136
ALAN ROMPREY                16096 S AVALON ST                                                                               OLATHE           KS     66062‐7019
ALAN ROSSELOT               1615 KINGSTON RD                                                                                KOKOMO           IN     46901‐5280
ALAN ROTHFUSS               267 GATES GREECE TOWNLINE RD                                                                    ROCHESTER        NY     14606‐3446
ALAN ROWBOTHAM              101 QUEENS DRIVE SOUTHWEST                                                                      WARREN           OH     44481‐9222
ALAN RUDOLPH                5011 BRONCO DR                                                                                  CLARKSTON        MI     48346‐2602
ALAN RUGENSTEIN             804 BRADFIELD ST                                                                                BAY CITY         MI     48706‐4049
ALAN RUHL                   3748 S WRIGHT RD                                                                                FOWLER           MI     48835‐9244
ALAN RUNDELL                1654 RIDGE RD                                                                                   SEBEWAING        MI     48759‐9760
ALAN RYPMA                  3832 BOONE AVE SW                                                                               WYOMING          MI     49519‐3706
ALAN S CURL                 3385 N HENDERSON RD                                                                             DAVISON          MI     48423‐8166
ALAN S HENRY                1146 LAPORT AVE                                                                                 MOUNT MORRIS     MI     48458‐2576
ALAN S. NASS
ALAN SALISBURY              601 W. RICE RT 2                                                                                CONTINENTAL     OH      45831
ALAN SALMANSON
ALAN SAMPSON                118 MAIN ST                                                                                     DEFIANCE        OH      43512‐2314
ALAN SARTSCHEV              6217 ROUSSEAU DR                                                                                PARMA           OH      44129‐6522
ALAN SATTERLEE              1247 E STATE RD                                                                                 LANSING         MI      48906‐5601
ALAN SCHLICHT               11984 E LANSING RD                                                                              DURAND          MI      48429‐9788
ALAN SCHLOSSER              1540 EVANSPORT RD                                                                               DEFIANCE        OH      43512‐9618
ALAN SCHNEIDER              2356 COUNTY HWY D                                                                               JANESVILLE      WI      53548
ALAN SCHNEIDER              13325 W PRICE RD                                                                                WESTPHALIA      MI      48894‐9234
ALAN SCHNIPKE               8779 SHENK RD                                                                                   DELPHOS         OH      45833‐9524
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Name                               Address1                         Address2                      Address3   Address4               City               State   Zip
ALAN SCHRIER                       4699 CONTINENTAL DR LOT 321                                                                      HOLIDAY             FL     34690‐5610
ALAN SCHROEDER                     363 BEHLER RD                                                                                    RAVENNA             MI     49451‐9345
ALAN SCOGGINS                      PO BOX 1854                                                                                      WEATHERFORD         TX     76086‐7854
ALAN SCOTT                         4780 PIERSONVILLE RD                                                                             COLUMBIAVILLE       MI     48421‐9328
ALAN SEARLES                       3342 N TIPSICO LAKE RD                                                                           HARTLAND            MI     48353‐2419
ALAN SEIB                          8830 HAIGHT RD                                                                                   BARKER              NY     14012‐9631
ALAN SEVREY                        PO BOX 246                                                                                       LESLIE              MI     49251‐0246
ALAN SEXTON                        74 STEELE CIR                                                                                    NIAGARA FALLS       NY     14304‐1121
ALAN SHAKARIAN                     2909 BROOKSIDE APT 203                                                                           LAKE ORION          MI     48360‐2600
ALAN SHARP                         3002 W 68TH ST                                                                                   NEWAYGO             MI     49337‐9158
ALAN SHAW                          205 N 100 E                                                                                      PRICE               UT     84501‐2409
ALAN SHAY                          32660 JAMES ST                                                                                   GARDEN CITY         MI     48135‐1614
ALAN SHEMES                        5568 CONTINENTAL RD                                                                              GRAND BLANC         MI     48439‐9106
ALAN SHINN                         8922 TIMBERMILL RUN                                                                              FORT WAYNE          IN     46804‐3407
ALAN SHOOK                         204 1/2 RAYMOND ST                                                                               BAY CITY            MI     48706
ALAN SIGAFOOS                      4697 WESTHAMPTON                                                                                 WILLIAMSBURG        VA     23188‐7274
ALAN SIGLER JR                     380 MONTGOMERY AVE                                                                               WYNNEWOOD           PA     19096‐1815
ALAN SILBERMAN, CUSTODIAN OF IRA   17655 BOCAIRE WAY                                                                                BOCA RATON          FL     33487
ALAN SIMON                         10032 GERALD AVE                                                                                 SEPULVEDA           CA     91343‐1130
ALAN SIMPSON                       4404 LINDEN LN                                                                                   ANDERSON            IN     46011‐1738
ALAN SINCLAIR                      3886 HYDON RD                                                                                    OLIVET              MI     49076‐9436
ALAN SKELDON                       6819 MINUTEMAN TRL                                                                               DERBY               NY     14047‐9573
ALAN SKINNER                       722 LOCUST DR                                                                                    DAVISON             MI     48423‐1955
ALAN SLATON                        2022 GEORGE AVE                                                                                  YPSILANTI           MI     48198‐6613
ALAN SLEEP                         22286 CAMILLE DR                                                                                 WOODHAVEN           MI     48183‐1526
ALAN SLIGER                        35125 GLEN ST                                                                                    WESTLAND            MI     48186‐4353
ALAN SLOVINSKI                     11530 52ND CT E                                                                                  PARRISH             FL     34219‐5828
ALAN SMILEY                        719 MORNINGSIDE DR                                                                               GRAND BLANC         MI     48439‐2304
ALAN SMITH                         157 COVENTRY CIR                                                                                 HAINES CITY         FL     33844‐8886
ALAN SMITH                         6303 KING ARTHUR DR                                                                              SWARTZ CREEK        MI     48473‐8800
ALAN SMITH                         N1004 OLD 26                                                                                     FORT ATKINSON       WI     53538‐9505
ALAN SMITH                         3005 LAFAYETTE AVE                                                                               LANSING             MI     48906‐2628
ALAN SMITH                         4806 HAYMARKET DR                                                                                VIRGINIA BEACH      VA     23462‐6431
ALAN SMITH                         9400 W LONE BEECH DR                                                                             MUNCIE              IN     47304‐8930
ALAN SMITH                         3359 WEST RD                                                                                     METAMORA            MI     48455‐9229
ALAN SMITH                         1817 HICKORY BARK LN                                                                             BLOOMFIELD HILLS    MI     48304‐1117
ALAN SMITH                         4794 WOODMIRE DR                                                                                 SHELBY TWP          MI     48316‐1566
ALAN SMITH                         19021 BRIARWOOD RD                                                                               HARRAH              OK     73045‐6374
ALAN SMITH                         C/O BEVAN & ASSOCIATES LPA INC   6555 DEAN MEMORIAL PARKWAY                                      BOSTON HTS          OH     44236
ALAN SMOLAR
ALAN SMUDZ                         608 W 7TH ST                                                                                     MONROE             MI      48161‐1508
ALAN SNAY                          6882 KINGSLAND                                                                                   SHELBY TWP         MI      48317‐6312
ALAN SNIDER                        3001 FOREST HAMMOCK DR                                                                           PLANT CITY         FL      33566‐0385
ALAN SNOOK                         4600 WALL ST                                                                                     SAGINAW            MI      48638‐4567
ALAN SNYDER                        DELUCA AARON J PLLC              21021 SPRING BROOK PLAZA DR                                     SPRING             TX      77379‐5229
ALAN SOKOLIK                       2 W MILL ST                                                                                      BUTLER             MO      64730‐1536
ALAN SOLTEZ                        543 MILDRED RD                                                                                   BELLE VERNON       PA      15012‐3871
ALAN SOULVIE                       2495 BEEBE RD                                                                                    WILSON             NY      14172‐9759
ALAN SPALDING                      1025 S DIAMOND RD                                                                                MASON              MI      48854‐9636
ALAN SPITZ                         6909 KINGDON AVE                                                                                 HOLT               MI      48842‐2109
ALAN SPRAKER                       6399 BROOKVIEW DR                                                                                GRAND BLANC        MI      48439‐9740
ALAN STALKER                       3722 MARSHALL RD                                                                                 MEDINA             NY      14103‐9504
ALAN STAMM                         2336 SOUTH EAST OCEAN BLVD 318                                                                   STUART             FL      34996
ALAN STARICH                       42 SILO SUMMIT CT                                                                                WENTZVILLE         MO      63385‐4346
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Name              Address1                           Address2                     Address3   Address4                    City              State   Zip
ALAN STARNES      3451 RIDGE AVE                                                                                         DAYTON             OH     45414‐5468
ALAN STEFFE       8096 HAWKCREST DR                                                                                      GRAND BLANC        MI     48439‐2428
ALAN STEINBERG    TTEE FBO LEAH ROSE                 STEINBERG TRUST DTD          8/8/94     4644 LINCOLN BLVD., # 111   MARINA DEL REY     CA     90292
ALAN STEVENS      3337 S BELSAY RD                                                                                       BURTON             MI     48519‐1623
ALAN STEVENSON
ALAN STEWART      205 PROVINCIAL CT UNIT 63                                                                              SAGINAW           MI      48638‐6173
ALAN STIVER       9300 STERLING RD                                                                                       JEROME            MI      49249‐9545
ALAN STOFFER      PO BOX 31                                                                                              HIGHLAND          MI      48357‐0031
ALAN STOOLMAKER   16565 WACOUSTA RD                                                                                      GRAND LEDGE       MI      48837‐8233
ALAN STORCK       2057 DOWNHAM DR                                                                                        WIXOM             MI      48393‐1192
ALAN STRAND       PO BOX 1024                                                                                            CARSON            WA      98610‐1024
ALAN STRANGE      1015 COX AVE                                                                                           WSHNGTN XING      PA      18977‐1417
ALAN STRANYAK     20800 AUDETTE ST                                                                                       DEARBORN          MI      48124‐3967
ALAN STRICKER
ALAN STRICKER     8 LAPIDARY LN                                                                                          JANESVILLE        WI      53548‐9127
ALAN STUCKER      214 BROWNE DR                                                                                          HASKINS           OH      43525‐9527
ALAN STUDD        BEVAN & ASSOCIATES, LPA, INC.      6555 DEAN MEMORIAL PARKWAY                                          BOSTON HTS        OH      44236
ALAN STURGIS      6451 SILVER LAKE RD                                                                                    LINDEN            MI      48451‐8709
ALAN SUDDETH      518 NORTH ST                                                                                           ELYRIA            OH      44035‐5016
ALAN SWARY        PO BOX 91                                                                                              HOLGATE           OH      43527‐0091
ALAN SWEAT        407 ANDES DR                                                                                           COLUMBIA          TN      38401‐6114
ALAN SZAFRAN      C/O BEVAN & ASSOCIATES LPA INC     6555 DEAN MEMORIAL PARKWAY                                          BOSTON HTS        OH      44236
ALAN SZYMCZAK     4435 TWIN CREEKS DR                                                                                    COOKEVILLE        TN      38506‐3532
ALAN T BRUCZ      6802 TONAWANDA CREEK RD                                                                                LOCKPORT          NY      14094‐7958
ALAN TANDRUP      3309 LAKEWOOD SHORES DR                                                                                HOWELL            MI      48843‐7858
ALAN TAUB         4825 BONNIE CT                                                                                         WEST BLOOMFIELD   MI      48322‐4460

ALAN TAYLOR       500 TALBOT AVE SUITE 2                                                     WINNIPEG, MB R2L 0R5,
                                                                                             CANADA
ALAN TAYLOR       5672 SHIELDS RD                                                                                        CANFIELD          OH      44406‐9061
ALAN TAYLOR       2807 WEXFORD DR                                                                                        SAGINAW           MI      48603‐3235
ALAN TEAGUE       2182 E MCLEAN AVE                                                                                      BURTON            MI      48529‐1742
ALAN THATCHER     51450 THATCHER RD                                                                                      JACOBSBURG        OH      43933‐9712
ALAN THEILE       1410 SEGOVIA PL                                                                                        LADY LAKE         FL      32162‐0239
ALAN THELEN       331 N PINE ST                                                                                          FOWLER            MI      48835‐9293
ALAN THIESE       PO BOX 958                                                                                             EL PRADO          NM      87529‐0958
ALAN THOMAS       16261 E INDIGO LOOP                                                                                    SUMMERDALE        AL      36580‐4028
ALAN THOMPSON     5784 COUNTY ROUTE 14                                                                                   CHASE MILLS       NY      13621‐3102
ALAN THORSON      4386 N ELMS RD                                                                                         FLUSHING          MI      48433‐1450
ALAN TIDBURY      73 SANCTUARY LAKES SOUTH BOULEVA                                           SANCTUARY LAKES 3030
                                                                                             AUSTRALIA
ALAN TIGERT       51 HONEYSUCKLE TRL                                                                                     LAUREL            MS      39443‐7600
ALAN TILDEN       3219 DAKOTA AVE                                                                                        FLINT             MI      48506‐3040
ALAN TINGLEY      432 S SQUIRREL RD                                                                                      AUBURN HILLS      MI      48326‐3858
ALAN TIPTON       12127 N EVERETT DR                                                                                     ALEXANDRIA        IN      46001‐9082
ALAN TOMICH       2947 CARLETON WEST RD                                                                                  CARLETON          MI      48117‐9237
ALAN TOMLINSON    4006 TAMARIND DR                                                                                       BETHLEHEM         PA      18020‐7652
ALAN TOOMEY       2717 REGENCY DR                                                                                        ORION             MI      48359‐1156
ALAN TRAVELBEE    5044 CHERRY BLOSSOM CIR                                                                                WEST BLOOMFIELD   MI      48324‐4009

ALAN TRICKLE      314 BELSTONE ST                                                                                        PICKERINGTON      OH      43147‐8070
ALAN TRISCH       2181 E DUTCHER RD                                                                                      CARO              MI      48723‐9736
ALAN TROBE        1021 N SADLIER DR                                                                                      INDIANAPOLIS      IN      46219‐3720
ALAN TSCHIRHART   2920 ROUNDTREE BLVD                                                                                    YPSILANTI         MI      48197‐4811
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Name                              Address1                       Address2                   Address3          Address4               City               State   Zip
ALAN TUBANDT                      13620 HUNTERS XING                                                                                 BATH                MI     48808‐8455
ALAN TUINSTRA                     2090 KENOWA AVE SW                                                                                 GRAND RAPIDS        MI     49534‐6545
ALAN TUSTIN                       3154 WILD HORSE DR                                                                                 FORISTELL           MO     63348‐2604
ALAN TYLER                        5926 HIBBARD RD                                                                                    CORUNNA             MI     48817‐9314
ALAN TYLER                        82 LINDEN ST                                                                                       BRIDGEWATER         NJ     08807‐2729
ALAN UNTERREINER                  895 S WASHINGTON ST PMB 243                                                                        COLVILLE            WA     99114‐2537
ALAN UPRIGHT                      2255 E GRESHAN HYW                                                                                 CHARLOTTE           MI     48813
ALAN V LECCE                      35015 PALMER RD                                                                                    WESTLAND            MI     48186‐4459
ALAN VALESTIN                     PO BOX 355                                                                                         SWEETSER            IN     46987‐0355
ALAN VALKOUN                      171 WALNUT CV                                                                                      DAWSONVILLE         GA     30534‐6993
ALAN VAN OSTENBURG                2651 BIDDLE AVE APT 408                                                                            WYANDOTTE           MI     48192‐5255
ALAN VANDERKAAY PHOTOGRAPHY INC   1685 HUNTINGTON PARK E                                                                             ROCHESTER HILLS     MI     48309

ALAN VANDERKAAY/MI                1685 HUNTINGTON PARK APT E                                                                         ROCHESTER HILLS    MI      48309‐2208
ALAN VANSICKEL                    2526 FERGUSON RD                                                                                   MANSFIELD          OH      44906‐1136
ALAN VANWASHENOVA JR              350 W WALLED LAKE DR                                                                               WALLED LAKE        MI      48390‐3459
ALAN VANWINKLE                    1521 ROBBINS AVE                                                                                   NILES              OH      44446‐3754
ALAN VESTER                       87 LOUISE DR                                                                                       SOUTH              NY      14227‐3510
                                                                                                                                     CHEEKTOWAGA
ALAN VOGELEI                      21 MILL DR                                                                                         LEVITTOWN          PA      19056‐3616
ALAN VONDEYLEN                    13702 COUNTY ROAD L2                                                                               NAPOLEON           OH      43545‐9569
ALAN W ABRAMS                     134 NORTH CHURCH ROAD                                                                              ROCHESTER          NY      14612
ALAN W ARNETT                     5080 E ST RT 571                                                                                   TIPP CITY          OH      45371‐8326
ALAN W BIEHLE                     107 OZARK DR                                                                                       CRYSTAL CITY       MO      63019‐1703
ALAN W FRANK                      2854 QUAIL FIELD DR                                                                                LEBANON            OH      45036
ALAN W GALLAGHER                  326 AUTUMN CHASE DR                                                                                HARRISBURG         PA      17110‐3968
ALAN W HASMAN                     28 GREENBRIAR DR                                                                                   ROCHESTER          NY      14624
ALAN W HOUGH                      NIX, PATTERSON & ROACH LLP     GM BANKRUPTCY DEPARTMENT   205 LINDA DRIVE                          DAINGERFIELD       TX      75638
ALAN W JOHNSON                    11257 STAGECOACH DR                                                                                DOWLING            MI      49050‐8820
ALAN W JOHNSON                    PO BOX 104                                                                                         BEDFORD            MI      49020‐0104
ALAN W ROTHFUSS                   267 GATES GREECE TOWNLINE RD                                                                       ROCHESTER          NY      14606‐3446
ALAN W ROY SR                     307 BRENTWOOD ST                                                                                   TILTON             IL      61833‐7520
ALAN W ZOLINSKI                   1221 CRANBROOK DR                                                                                  SAGINAW            MI      48638
ALAN WAIS                         1831 ALDRIN CT                                                                                     MILFORD            MI      48381‐4111
ALAN WALDORF                      39413 WANDA AVE                                                                                    STERLING HEIGHTS   MI      48313‐5572
ALAN WALKER                       3342 ASH DR APT 10206                                                                              ORION              MI      48359‐1073
ALAN WALKUSKY                     313 ELLENWOOD DR                                                                                   MIDDLETOWN         DE      19709‐7867
ALAN WALLER                       2331 E JUDD RD                                                                                     BURTON             MI      48529‐2456
ALAN WARDYNSKI                    1397 W KITCHEN RD                                                                                  LINWOOD            MI      48634‐9755
ALAN WARNER                       16267 WORDEN RD                                                                                    HOLLY              MI      48442‐9783
ALAN WARRICK
ALAN WATSON
ALAN WATSON                       1667 EAGLE LN                                                                                      JANESVILLE         WI      53546‐2960
ALAN WEAVER                       805 BRANDYLEIGH CT                                                                                 FRANKLIN           TN      37069‐1884
ALAN WEAVER                       3412 ROSEGLADE                                                                                     OAKLAND TWP        MI      48306‐1454
ALAN WEBB                         4418 WESTEDGE WAY                                                                                  GRAND BLANC        MI      48439‐9793
ALAN WEBBER                       1133 E GENESEE AVE                                                                                 FLINT              MI      48505‐1636
ALAN WEBER                        4305 24TH ST                                                                                       DORR               MI      49323‐9705
ALAN WEESE                        5929 COUNTY ROAD 9                                                                                 DELTA              OH      43515‐9448
ALAN WEISS                        5721 DUNROVIN DR                                                                                   SAGINAW            MI      48638‐5408
ALAN WESLEY                       5050 PINE KNOB LN                                                                                  CLARKSTON          MI      48346‐4061
ALAN WEST                         2114 TICE DR                                                                                       CULLEOKA           TN      38451‐2719
ALAN WESTERHOLM                   15015 DUNN DR                                                                                      TRAVERSE CITY      MI      49686‐9727
ALAN WEVERSTAD                    7090 VALLEY PARK DR                                                                                CLARKSTON          MI      48346‐1362
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Name                                  Address1                         Address2                        Address3   Address4               City              State   Zip
ALAN WHEELHOUSE                       5126 SERENE SQ                                                                                     NEW PORT RICHEY    FL     34653‐4939
ALAN WHEELHOUSE                       5126 SERENE SQUARE                                                                                 NEW PORT RICHEY    FL     34653‐4939
ALAN WHITCOMB                         165 COUNTRY PKWY                                                                                   WILLIAMSVILLE      NY     14221‐3813
ALAN WHITE                            4073 HUMMER LAKE RD                                                                                ORTONVILLE         MI     48462‐9733
ALAN WICKMAN                          10828 CENTER RD                                                                                    GRAND BLANC        MI     48439‐1035
ALAN WIEDUWILT                        10311 ENDICOTT ST                                                                                  BELLEVILLE         MI     48111‐1249
ALAN WILLIAMS                         2 WINDRIDGE ST                                                                                     ANDERSON           IN     46011‐1228
ALAN WILSON                           14032 EASTVIEW DR                                                                                  FENTON             MI     48430‐1302
ALAN WILSON                           1537 MORGAN RD                                                                                     CLIO               MI     48420‐1866
ALAN WIST                             47075 SUSAN RD                                                                                     MACOMB             MI     48044‐2586
ALAN WOOD                             5380 PINEWOOD DR                                                                                   FLUSHING           MI     48433‐2418
ALAN WOODBURY                         8854 N DEWITT RD                                                                                   SAINT JOHNS        MI     48879‐8508
ALAN WOOLEVER                         6366 DELLWOOD DR                                                                                   WATERFORD          MI     48329‐3128
ALAN WORLOW                           PO BOX 91                                                                                          LICKING            MO     65542‐0091
ALAN WRIGHT                           7510 REED RD                                                                                       NEW LOTHROP        MI     48460‐9717
ALAN Y NORTON                         448 COUNTY RD #7                                                                                   CLIFTON SPRGS      NY     14432‐9764
ALAN YANKIELUN                        715 RT 579                                                                                         PITTSTOWN          NJ     08867
ALAN YORK                             8600 WOODLAKE DR                                                                                   HAUGHTON           LA     71037‐9348
ALAN YOST                             4499 RAY RD                                                                                        GRAND BLANC        MI     48439‐9379
ALAN YOUNG                            2371 W WARDLOW RD                                                                                  HIGHLAND           MI     48357‐3345
ALAN YOUNG                            5048 E BRISTOL RD                                                                                  BURTON             MI     48519‐1502
ALAN YOUNG                            1353 HATHAWAY RISING                                                                               ROCHESTER HILLS    MI     48306‐3945
ALAN YOUNG                            230 MAPLEHURST AVE                                                                                 SYRACUSE           NY     13208‐2416
ALAN YOUNG BUICK, GMC TRUCK/AVIS/TX   PO BOX 820769                                                                                      N RICHLND HLS      TX     76182‐0769

ALAN YOUNG BUICK‐GMC TRUCK, INC.      ALAN YOUNG                       PO BOX 820769                                                     NORTH RICHLAND     TX     76182‐0769
                                                                                                                                         HILLS
ALAN YOUNG PONTIAC BUICK GMC          ALAN YOUNG                       PO BOX 820769                                                     NORTH RICHLAND     TX     76182‐0769
                                                                                                                                         HILLS
ALAN YOUNG PONTIAC BUICK GMC          PO BOX 820769                                                                                      FORT WORTH        TX      76182‐0769
ALAN ZAK                              5545 DUNROVEN WAY                                                                                  DAWSONVILLE       GA      30534‐4855
ALAN ZIMMER                           16342 8TH AVE                                                                                      MARNE             MI      49435‐8741
ALAN ZIMMERMAN                        APT J21                          10034 PLEASANT LAKE BOULEVARD                                     CLEVELAND         OH      44130‐7453
ALAN ZOLINSKI                         1221 CRANBROOK DR                                                                                  SAGINAW           MI      48638‐5440
ALAN ZUBEK                            13811 FERDEN RD                                                                                    OAKLEY            MI      48649‐9771
ALAN ZWERK                            1922 SUNFLOWER CIR                                                                                 SEBRING           FL      33872‐9212
ALAN'S AUTOMOTIVE SERVICE             9026 MOLINE RD                                                                                     ERIE              IL      61250‐9757
ALAN'S GMC TRUCK                      PO BOX 1723                                                                                        TUPELO            MS      38802‐1723
ALAN‐WEATHERFORD, GARY
ALANA BUTLER                          35763 GARNER ST                  UNIT 26                                                           ROMULUS           MI      48174
ALANA G FRY                           5386 LAKEVIEW RD                                                                                   CORTLAND          OH      44410
ALANA GONZALES                        KELLER, FISHBACK & JACKSON LLP   18425 BURBANK BLVD, STE 610                                       TARZANA           CA      91356
ALANA JACKSON                         615 LOCH VIEW CT                                                                                   ROCKWALL          TX      75087‐5396
ALANA MATTHEWS                        1478 WEBBER AVE                                                                                    BURTON            MI      48529‐2038
ALANA MOTT                            171 PARKHURST BLVD                                                                                 TONAWANDA         NY      14223‐2859
ALANA STROTHER
ALANA TRAUB                           1040 OAK FOREST DR                                                                                 MORROW            OH      45152‐7928
ALAND                                 582 MIDDLETOWN BLVD STE B100                                                                       LANGHORNE         PA      19047‐1862
ALANDA RADNEY                         245 MCCART RD NE                                                                                   CONYERS           GA      30013‐1458
ALANDER, HEATHER M                    PO BOX 144                                                                                         SWARTZ CREEK      MI      48473‐0144
ALANDER, HEATHER MARIE                PO BOX 144                                                                                         SWARTZ CREEK      MI      48473‐0144
ALANDER, KATHLEEN M                   3602 BRIARWOOD DR                                                                                  FLINT             MI      48507‐1458
ALANDER, KEITH H                      3602 BRIARWOOD DR                                                                                  FLINT             MI      48507‐1458
ALANDRES THOMPSON                     29130 BEECHNUT ST                                                                                  INKSTER           MI      48141‐1157
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ALANDREW WINDING            7931 S MARSHFIELD AVE                                                                              CHICAGO          IL    60620‐4332
ALANDT, CHERYL              7249 E CHELSIE KAYE LANE                                                                           TUCSON          AZ     85730
ALANIS LORENA               ALANIS, LORENA                      9047 FLOWER ST                                                 BELLFLOWER      CA     90706‐5605
ALANIS, KARLA               3011 CELESTE DR                                                                                    EDINBURG        TX     78539‐7027
ALANIS, LORENA              HUMPHRIES MICHAEL S                 9047 FLOWER ST                                                 BELLFLOWER      CA     90706‐5605
ALANIS, MAGDALENO           PO BOX 9                                                                                           KNIGHTSEN       CA     94548‐0009
ALANIZ & PEREZ GARAGE       711 S SAINT MARYS ST                                                                               BEEVILLE        TX     78102‐6412
ALANIZ I I I, DAVID E       3111 SUNDERLAND RD                                                                                 LANSING         MI     48911‐1560
ALANIZ III, DAVID E         3111 SUNDERLAND RD                                                                                 LANSING         MI     48911‐1560
ALANIZ JR, FRANK            PO BOX 1726                                                                                        SPRING HILL     TN     37174‐1726
ALANIZ JR, SANTOS           100 ENCINAL ST                                                                                     ALICE           TX     78332‐5672
ALANIZ PATRICIA             1202 POTTS                                                                                         MARLOW          OK     73055‐1092
ALANIZ RANDY                1752 E FARLAND ST                                                                                  COVINA          CA     91724‐2611
ALANIZ, BELIA               C/O 308 ST MARIE STREET                                                                            MISSION         TX     78572
ALANIZ, BELIA               308 N SAINT MARIE ST                                                                               MISSION         TX     78572‐5742
ALANIZ, CONNIE J            246 S PARSONS ST                                                                                   MERRILL         MI     48637‐2518
ALANIZ, DAVID G             1517 BLAKE ST                                                                                      MISSION         TX     78572‐3409
ALANIZ, EVA B               2223 S WASHINGTON AVE                                                                              SAGINAW         MI     48601‐3233
ALANIZ, FERNANDO            3916 WINDEMERE DR                                                                                  LANSING         MI     48911‐2519
ALANIZ, FRANCISCO           1168 PLATT ST                                                                                      MARTIN          OH     43445‐9617
ALANIZ, FREDERICK A         3825 BOEING DR                                                                                     SAGINAW         MI     48604‐1805
ALANIZ, FREDERICK ANTHONY   3825 BOEING DR                                                                                     SAGINAW         MI     48604‐1805
ALANIZ, JUAN M              PO BOX 338                                                                                         POTEET          TX     78065‐0338
ALANIZ, JUNE M              405 S UNION ST                                                                                     TECUMSEH        MI     49286‐1846
ALANIZ, LIONEL              602 PINE AVE                                                                                       ALMA            MI     48801‐1725
ALANIZ, RALPH J             9321 ORION AVE                                                                                     NORTH HILLS     CA     91343‐3211
ALANIZ, RALPH JOSEPH        9321 ORION AVE                                                                                     NORTH HILLS     CA     91343‐3211
ALANIZ, RALPH R             1550 CORONEL ST                                                                                    SAN FERNANDO    CA     91340‐3126
ALANIZ, RAYNALDO            517 N SYCAMORE ST APT 6                                                                            LANSING         MI     48933‐1055
ALANIZ, ROBERT C            1550 CORONEL ST                                                                                    SAN FERNANDO    CA     91340‐3126
ALANIZ, RODOLFO V           405 S UNION ST                                                                                     TECUMSEH        MI     49286‐1846
ALANIZ, ROSENDO             2223 S WASHINGTON AVE                                                                              SAGINAW         MI     48601‐3233
ALANIZ, TERESA A            3709 JAY LN                                                                                        SPRING HILL     TN     37174‐2178
ALANIZ, VICENTE             WEITZ & LUXENBERG                   180 MAIDEN LANE                                                NEW YORK        NY     10038
ALANIZ, VICENTE A           1071 KENWOOD DR                                                                                    SAGINAW         MI     48601‐5760
ALANIZ, VICHIE L            12073 WILSON RD                                                                                    OTISVILLE       MI     48463‐9700
ALANNA IRELAN               8235 SADDLEBACK CIR                                                                                OOLTEWAH        TN     37353‐7041
ALANNA J SCHUCKER           509 N WAVERLY ST                                                                                   SILLINGTON      PA     19607
ALANNA L IRELAN             8235 SADDLEBACK CIR                                                                                OOLTEWAH        TN     37363‐7041
ALANNA M JEAN               1112 CENTER AVE APT 10                                                                             BAY CITY        MI     48708‐6183
ALANNA MUSSER               11913 ARROWHEAD                                                                                    GRAND LEDGE     MI     48837‐2422
ALANNA RADER                C/O BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS      OH     44236
ALANNA SMITH                8 S GLASPIE ST                                                                                     OXFORD          MI     48371‐5119
ALANNA TESS                 81 LAKE NESS DR                                                                                    MOUNT MORRIS    MI     48458‐8888
ALANO CLUB OF LANSING INC   ATTN: DAVE CASTELLO                 2909 W GENESEE ST                                              LANSING         MI     48917‐2937
ALANROSE JACKSON            PO BOX 23138                                                                                       CHICAGO          IL    60623‐0138
ALANSON DAVIS               8037 THURSTON DR                                                                                   CICERO          NY     13039‐9033
ALANZO BASS                 9123 HADWAY DR                                                                                     INDIANAPOLIS    IN     46256
ALAPASCO JULIAN (667145)    GALIHER DEROBERTIS NAKAMURA ONO &   610 WARD AVE STE 200                                           HONOLULU        HI     96814‐3308
                            TAKITANI
ALAPASCO, JULIAN            GALIHER DEROBERTIS NAKAMURA ONO &   610 WARD AVE STE 200                                           HONOLULU        HI     96814‐3308
                            TAKITANI
ALAR, CHARLES D             2722 BURWYN HILLS DR                                                                               TECUMSEH       MI      49286‐9764
ALARBID, GEHAN              15 JACKSON ST                                                                                      SAUGUS         MA      01906‐3707
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Name                                  Address1                             Address2                        Address3                    Address4                 City               State Zip
ALARCON MIGUEL I                      ALARCON, MIGUEL I                    7825 FAY AVE STE 200                                                                 LA JOLLA            CA 92037‐4270
ALARCON PEDRO                         ALARCON, PEDRO                       ENTERPRISE RENT‐A‐CAR           10401 CENTREPARK DR # 100                            HOUSTON             TX 77043‐1345

ALARCON, CARLOS A                     4122 S LINDSAY AVE                                                                                                        OKLAHOMA CITY      OK    73129‐5254
ALARCON, JESSE                        1308 NE 19TH PL                                                                                                           MOORE              OK    73160‐6404
ALARCON, MIGUEL A                     7661 NW 114TH PL                                                                                                          MEDLEY             FL    33178‐1387
ALARCON, PEDRO
ALARCON, PEDRO                        ENTERPRISE RENT‐A‐CAR                10401 CENTREPARK DR #100                                                             HOUSTON            TX    77043‐1345
ALARCON, RAUL                         14429 BRIARLEDGE STREET                                                                                                   SAN ANTONIO        TX    78247‐2200
ALARD CASEBOLT                        16526 GLENPOINTE DR                                                                                                       CLINTON TOWNSHIP   MI    48038‐3588

ALARENT, INC                         3360 SELMA HWY                                                                                                             MONTGOMERY         AL    36108‐4920
ALARID, RICHARD                      1237 CALLE DE COMERCIO                                                                                                     SANTA FE           NM    87507‐3126
ALARIE, CAMMINE S                    1166 LEISURE DR                                                                                                            FLINT              MI    48507‐4014
ALARIE, DONNA M                      3 ANDREW ST                                                                                                                BELLINGHAM         MA    02019‐2801
ALARIE, GENEVIEVE T                  4834 APPLETREE LN                                                                                                          BAY CITY           MI    48706‐9260
ALARIE, JULIE                        4677 4 MILE RD BAYCI                                                                                                       BAY CITY           MI    48706
ALARIE, LINA M                       PO BOX 9022                                                                                                                WARREN             MI    48090‐9022
ALARIE, LOUIS J                      8070 SAWGRASS TRL                                                                                                          GRAND BLANC        MI    48439‐1844
ALARIE, SCOTT J                      4677 4 MILE RD                                                                                                             BAY CITY           MI    48706‐9417
ALARIE, THOMAS C                     5359 DEARING DR                                                                                                            FLINT              MI    48506‐1576
ALARM DETECTION SYSTEMS INC SECURITY 1100 CHURCH RD                                                                                                             AURORA              IL   60505
MASTER INC LOCKSMITHS
ALARMCO                                                                     2007 LAS VEGAS BLVD S                                                               LAS VEGAS          NV    89104
ALASCOM INC                          PO BOX 78425                                                                                                               PHOENIX            AZ    85062
ALASDAIR YOUNG                       4391 COMFORT RD.                                                                                                           TECUMSEH           MI    49286
ALASFAR, MOHAMMED                    PO BOX 132                                                                                                                 NEWARK             DE    19715‐0132
ALASKA DEPARTMENT OF LABOR           EMPLOYMENT SECURITY DIVISION
ALASKA DEPARTMENT OF REVENUE         11TH FLOOR STATE OFFICE BUILDING       333 WILLOUGHBY AVE               P.O. BOX 110410                                    JUNEAU             AK    99801‐1770
ALASKA DEPARTMENT OF REVENUE         ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 11TH FLOOR STATE OFFICE BUILDING 333 WILLOUGHBY AVE        P.O. BOX 110410          JUNEAU             AK    99801‐1770

ALASKA MARINE LINES INC               5615 W MARGINAL WAY SW                                                                                                    SEATTLE            WA    98106‐1521
ALASKA MARINE LINES, INC.             DAVIS CURTIS                         5615 W MARGINAL WAY SW                                                               SEATTLE            WA    98106‐1521
ALASKA MARINE LINES, INC.             DAVIS CURTIS                         5615 W. MARGINAL WAY SW                                                              SEATTLE            WA    98106
ALASKA PACIFIC TRANSPORT              DAVID FAULK                          8401 BRAYTON DR                                                                      ANCHORAGE          AK    99507‐3433
ALASKA PACIFIC TRANSPORTATION         8401 BRAYTON DR                                                                                                           ANCHORAGE          AK    99507‐3433
ALASKA PROFESSIONAL AUTO              1147 E DOWLING RD                                                                                                         ANCHORAGE          AK    99518‐1432
ALASKA RAILROAD CORP                  327 W SHIP CREEK AVE                                                                                                      ANCHORAGE          AK    99501‐1671
ALASKA RENT A CAR INC
ALASKA SALES & SERVICE                1300 E 5TH AVE                                                                                                            ANCHORAGE          AK    99501‐2832
ALASKA SALES & SERVICE
ALASKA SALES & SERVICE ‐ VALLEY       DIANA PFEIFFER                       6275 E BLUE LUPINE DR                                                                PALMER             AK    99645‐8445
ALASKA SALES & SERVICE ‐ VALLEY       6275 E BLUE LUPINE DR                                                                                                     PALMER             AK    99645‐8445
ALASKA SALES & SERVICE, INC.          SHAUN PFEIFFER                       6275 E BLUE LUPINE DR                                                                PALMER             AK    99645‐8445
ALASKA SALES AND SERVICE                                                                                                                                        ANCHORAGE          AK    99501‐2886
ALASKA SALES AND SERVICE              1300 E 5TH AVE                                                                                                            ANCHORAGE          AK    99501‐2832
ALASKA SALES AND SERVICE ‐ ANCHORAG   1300 E 5TH AVE                                                                                                            ANCHORAGE          AK    99501‐2832

ALASKA SALES AND SERVICE ‐ ANCHORAGE 1300 E 5TH AVE                                                                                                             ANCHORAGE          AK    99501‐2832

ALASKA SALES AND SERVICE, INC.        SHAUN PFEIFFER                       1300 E 5TH AVE                                                                       ANCHORAGE          AK    99501‐2832
ALASKA TAX AUTHORITY                  550 W 7TH AVE STE 500                                                                                                     ANCHORAGE          AK    99501‐3555
ALASKA TAX AUTHORITY                  333 W WILLOUGHBY AVE.                11 FL SIDE B                    PO BOX 110420                                        JUNEAU             AK    99801
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ALASKA TAX AUTHORITY               ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 333 W WILLOUGHBY AVE.      11 FL SIDE B   PO BOX 110420              JUNEAU             AK 99801

ALASKA TAX AUTHORITY               ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 550 W 7TH AVE STE 500                                                ANCHORAGE         AK   99501‐3555

ALASKA WEST EXPRESS INC            FRONTIER TRANSPORTATION                660 WESTERN DR                                                       ANCHORAGE         AK   99501‐1185
ALASSAF ASSAF                      5038 OAKMOUNT PL SE                                                                                         OLYMPIA           WA   98513
ALASTAIR CALDER                    1956 BIRMINGHAM BLVD                                                                                        BIRMINGHAM        MI   48009‐1991
ALASTAIR CHISHOLM                  4300 CAMPBELL RD                                                                                            ROSE CITY         MI   48654‐9736
ALASTRA, GIUSEPPE                  1149 LINCOLN ST                                                                                             WYANDOTTE         MI   48192‐3232
ALATALO, JEAN M                    PO BOX 348                             APT 8B                                                               MOHAWK            MI   49950
ALATAX                             PO BOX 830725                                                                                               BIRMINGHAM        AL   35283‐0725
ALATI, CARMELA M                   777 FAIRCHILD PL                                                                                            LEWISTON          NY   14092‐1309
ALATORRE, EDUARDO S                508 N ORANGE AVE                                                                                            MONTEREY PARK     CA   91755‐1434
ALATORRE, JUVENTINO CISNEROS
ALAVA, JOSE                        5208 ELMWOOD DR                                                                                             PITTSBURGH        PA   15227‐3630
ALAVANJA, CIRO                     940 69TH PL                                                                                                 SCHERERVILLE      IN   46375‐4400
ALAWANI, RAHUL S                   APT 3N                                 1326 EAST ALGONQUIN ROAD                                             SCHAUMBURG        IL   60173‐4034
ALAWINE, ELLA                      2424 BEAVER CREEK RD                                                                                        NEWTON            MS   39345‐8702
ALAWINE, GERALD M                  10811 HIGHWAY 491 N                                                                                         COLLINSVILLE      MS   39325‐9659
ALAZ‐AUTOMARKET                    5 MOLODYOZHNAYA                                                                  ELABYGA REPUBLIC OF
                                                                                                                    TATARSTA 42363 RUSSIA
ALAZRAKI, DAVID
ALB KLEIN TECHNOLOGY GROUP INC     8275 ESTATES PKWY                                                                                           PLAIN CITY        OH   43064‐8408
ALB KLEIN TECHNOLOGY GROUP INC     400 E WILSON BRIDGE RD                                                                                      WORTHINGTON       OH   43085
ALBA BROOKS                        8125 BRIARWOOD DR                                                                                           BIRCH RUN         MI   48415‐8523
ALBA COLON                         431 DEVILLEN AVE                                                                                            ROYAL OAK         MI   48073‐3649
ALBA D BERRY                       1445 CONTINENTAL DR                                                                                         DAYTONA BEACH     FL   32117
ALBA DOMINGUEZ                     4519 NW INDIAN OAK CT                                                                                       JENSEN BEACH      FL   34957‐3478
ALBA GALINDO                       758 OAK ST                                                                                                  ADRIAN            MI   49221‐3918
ALBA HADA                          11404 TURTLE DOVE PL                                                                                        NEW PORT RICHEY   FL   34654‐1647
ALBA LLANOS                        62 ROLFE AVE                                                                                                SHREWSBURY        MA   01545‐3733
ALBA MANUFACTURING INC             8950 SEWARD RD                                                                                              FAIRFIELD         OH   45011‐9109
ALBA PACHECO                       559 PALISADE AVE                                                                                            TEANECK           NJ   07666‐3108
ALBA SPEZIALLAMPEN GMBH            KIRSCHAECKERSTR 9                                                                BAMBERG BY 96052 GERMANY

ALBA SPEZIALLAMPEN GMBH            VILOVA 873                                                                       HRANICE U ASE CZ 35124
                                                                                                                    CZECH (REP)
ALBA, CHARLES H                    PO BOX 22                                                                                                   KENNESAW          GA   30156‐0022
ALBA, CHARLES H                    601 LUTHER CT                                                                                               POWDER SPRINGS    GA   30127‐4424
ALBA, ELIA ROSA                    1805 SW 107TH AVE #2604                                                                                     MIAMI             FL   33165‐7363
ALBA, ESTHER G                     767 LASHBURN                                                                                                SAN FERNANDO      CA   91342‐5443
ALBA, ESTHER G                     767 LASHBURN ST                                                                                             SYLMAR            CA   91342‐5443
ALBA, JOSEPH D                     3060 MERIDIAN WAY N APT 2                                                                                   PALM BEACH        FL   33410‐5072
                                                                                                                                               GARDENS
ALBA, MARY C                       1 QUICK LN                                                                                                  PLAINSBORO        NJ   08536‐1424
ALBA, MATT                         20327 VIA                                                                                                   RINCON            GA   31326
ALBA, SAMUEL                       678 AUDREY DR APT 1                                                                                         RAHWAY            NJ   07065‐3723
ALBACE, MARIA L                    18282 PARKSHORE DR                                                                                          NORTHVILLE        MI   48168‐8588
ALBACHIR TRUCKING SVC              3535 SCOTTEN ST                                                                                             DETROIT           MI   48210‐3159
ALBAN & MARIANNE STAHL             BEETHOVENSTR 6                                                                   97520 HEIDENFELD GERMANY

ALBAN ARENS                        4344 S GRANGE RD                                                                                            WESTPHALIA        MI   48894‐8208
ALBAN KELLER                       3401 GATEWAY DR                                                                                             INDEPENDENCE      MO   64057‐3337
ALBAN TAY MAHTANI & DE SILVA LLP   39 ROBINSON RD #07‐01 ROBINSON         POINT 068911                              SINGAPORE SINGAPORE
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Name                                 Address1                       Address2                      Address3            Address4               City              State Zip
ALBAN, MARION GRACE                  17 KRUEGER PL                                                                                           MIDDLETOWN         NJ 07748‐5728
ALBAN, MARK P                        3403 SHERWOOD RD                                                                                        BAY CITY           MI 48706‐1596
ALBAN, OSCAR
ALBAN, OSCAR T                       307 HARRISON AVE                                                                                        HARRISON          NJ   07029‐1753
ALBAND, DAVID W                      5800 BONN CT                                                                                            SHELBY TOWNSHIP   MI   48317‐1301
ALBAND, ERNEST O                     5686 WESTFALEN DR                                                                                       SHELBY TOWNSHIP   MI   48317‐1370
ALBAND, GERALD P                     20479 ORCHARD RD                                                                                        MARYSVILLE        OH   43040‐9060
ALBANESE ANTHONY                     10081 SILICA RD                                                                                         NORTH JACKSON     OH   44451‐9604
ALBANESE ELEANOR                     ALBANESE, ELEANOR              PO BOX 32                     211 CENTER AVENUE                          WESTWOOD          NJ   07675‐0032
ALBANESE JR., HARRY W                1430 WAUGH RD                                                                                           BERKELEY SPGS     WV   25411‐4766
ALBANESE LORRIANE                    48 E 27TH ST                                                                                            BAYONNE           NJ   07002‐4609
ALBANESE, ALFRED G                   937 PINE DR                                                                                             WEST BEND         WI   53095‐3837
ALBANESE, CIRO                       142 N JERRILEE LN                                                                                       ANAHEIM           CA   92807‐3164
ALBANESE, GLORIA                     73 SHERMAN AVE                                                                                          WILLISTON PARK    NY   11596‐2315
ALBANESE, JEFFREY A                  8033 E MARKET ST                                                                                        WARREN            OH   44484‐2229
ALBANESE, JOSEPH                     1286 LANGDON ST                                                                                         ELMONT            NY   11003‐3363
ALBANESE, JOSEPH J                   11770 SILICA RD                                                                                         NORTH JACKSON     OH   44451‐9605
ALBANESE, MADELEINE                  190 MORRIS AVE.                APT 3H                                                                   SPRINGFIELD       NJ   07081‐1221
ALBANESE, MADELEINE                  190 MORRIS AVE APT 3H                                                                                   SPRINGFIELD       NJ   07081‐1221
ALBANESE, MARK W                     107 MARIONDALE DR                                                                                       PLANTSVILLE       CT   06479‐1246
ALBANESE, STEPHEN A                  4100 FAWN TRAIL NE                                                                                      WARREN            OH   44483‐3663
ALBANESE, STEPHEN A                  4100 FAWN TRL NE                                                                                        WARREN            OH   44483‐3663
ALBANI, GEORGE M                     31 PLEASANT ST                                                                                          LUBEC             ME   04652‐1118
ALBANI, RENATO                       6427 WAILEA CT                                                                                          GRAND BLANC       MI   48439‐8586
ALBANIA HAYDEN                       PO BOX 339                                                                                              SYRACUSE          NY   13205‐0339
ALBANIA LOPEZ                        509 EAST SHERIDAN STREET                                                                                DANIA BEACH       FL   33004
ALBANICE, GILBERT A                  31544 LONNIE BLVD                                                                                       WESTLAND          MI   48185‐1669
ALBANO DOMINIC P (438775)            GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                              NORFOLK           VA   23510
                                                                    STREET, SUITE 600
ALBANO FRANK (499270)                LIPMAN DAVID M                 5901 SW 74TH ST STE 304                                                  MIAMI             FL   33143‐5163
ALBANO JACK A (407268)               ANGELOS PETER G LAW OFFICE     115 BROADWAY FRNT 3                                                      NEW YORK          NY   10006‐1638
ALBANO MORAIS                        192 PLEASANT VALLEY ST                                                                                  METHUEN           MA   01844‐5800
ALBANO, DAVID L                      12623 CRABAPPLE PLACE                                                                                   FORT WAYNE        IN   46814
ALBANO, DOMINIC P                    GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                              NORFOLK           VA   23510‐2212
                                                                    STREET, SUITE 600
ALBANO, DOMINICK A                   1905 W 3RD ST                                                                                           WILMINGTON        DE   19805‐3407
ALBANO, FRANK                        C/O THE LIPMAN LAW FIRM        5915 PONCE DE LEON BLVD       SUITE 44                                   CORAL GABLES      FL   33146
ALBANO, FRANK                        LIPMAN DAVID M                 5901 SW 74TH ST STE 304                                                  MIAMI             FL   33143‐5163
ALBANO, JACK A                       ANGELOS PETER G LAW OFFICE     115 BROADWAY FRNT 3                                                      NEW YORK          NY   10006‐1638
ALBANO, JERRY R                      PO BOX 7572                                                                                             PORT ST LUCIE     FL   34985‐7572
ALBANO, JOSEPHINE M                  6 RAINFLOWER LN                                                                                         PRINCETON         NJ   08550‐2422
                                                                                                                                             JUNCTION
ALBANO, MADELINE C                   1437 FRIEDMAN RD.                                                                                       DARIEN CENTER     NY   14040‐9618
ALBANO, MARIO J                      1867 DOUGHERTY TERRACE DR                                                                               MANCHESTER        MO   63021‐5828
ALBANO, MICHAEL T                    PO BOX 9022                                                                                             WARREN            MI   48090‐9022
ALBANO, ROBERTA                      4105 ABELIA CT                                                                                          ARLINGTON         TX   76017‐4601
ALBANO, THOMAS A                     357 SPROUT BROOK RD                                                                                     GARRISON          NY   10524‐7458
ALBANS, THOMAS A                     3001 TRANBYCROFT WAY                                                                                    SANDY HOOK        VA   23153‐2239
ALBANS, WILLIAM E                    3120 SAINT REGIS CV                                                                                     MEMPHIS           TN   38119‐8613
ALBANY ALFRED (ESTATE OF) (486823)   ANGELOS PETER G LAW OFFICES    60 WEST BROAD ST                                                         BETHLEHEM         PA   18018
ALBANY ALFRED P (483903)             ANGELOS PETER G LAW OFFICES    60 WEST BROAD ST                                                         BETHLEHEM         PA   18018
ALBANY AUTO RADIATOR                 1758 WESTERN AVE                                                                                        ALBANY            NY   12203‐4602
ALBANY COLLEGE OF PHARMACY           BURSAR                         106 NEW SCOTLAND AVE                                                     ALBANY            NY   12208‐3425
ALBANY COUNTY TREASURER              525 E GRAND AVE RM 205                                                                                  LARAMIE           WY   82070‐3852
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Name                             Address1                         Address2                           Address3                      Address4                City            State   Zip
ALBANY INTERNATIONAL             PO BOX 751538                                                                                                             CHARLOTTE        NC     28275‐1538
ALBANY INTERNATIONAL CORP        975 OLD NORCROSS RD                                                                                                       LAWRENCEVILLE    GA     30045‐4321
ALBANY STATE COLLEGE OFFICE OF   504 COLLEGE DR                                                                                                            ALBANY           GA     31705‐2717
FINANCIAL OPERATIONS
ALBANY, ALFRED                   ANGELOS PETER G LAW OFFICES      60 WEST BROAD ST                                                                         BETHLEHEM        PA     18018
ALBANY, ALFRED P                 ANGELOS PETER G LAW OFFICES      60 WEST BROAD ST                                                                         BETHLEHEM        PA     18018
ALBANY, CHARLES L                17675 RUTH ST                                                                                                             MELVINDALE       MI     48122‐1144
ALBANY, JAMES R                  8625 SWAN CREEK RD                                                                                                        NEWPORT          MI     48166‐9100
ALBANY, RICHARD                  66 W END AVE                                                                                                              TRENTON          NJ     08618‐5622
ALBAR IND.                       JENNIFER DILORETO                780 WHITNEY DR                                                                           LAPEER           MI     48446‐2565
ALBAR IND.                       JENNIFER DILORETO                780 WHITNEY DR.                                                  OTTERVILLE ON CANADA
ALBAR INDUSTRIES INC             780 WHITNEY DR                                                                                                            LAPEER           MI     48446‐2570
ALBAR INDUSTRIES INC             JENNIFER DILORETO                780 WHITNEY DR                                                                           LAPEER           MI     48446‐2565
ALBAR INDUSTRIES INC             JENNIFER DILORETO                780 WHITNEY DR.                                                  OTTERVILLE ON CANADA
ALBAR/LAPEER                     780 WHITNEY DR                                                                                                            LAPEER           MI     48446‐2565
ALBARADO REBECCA                 4351 BATH EDIE ROAD                                                                                                       HEPHZIBAH        GA     30815‐5595
ALBARES BRIAN J (482803)         LEBLANC & WADDELL                5353 ESSEN LN STE 420                                                                    BATON ROUGE      LA     70809‐0500
ALBARES, BRIAN J                 LEBLANC & WADDELL                5353 ESSEN LN STE 420                                                                    BATON ROUGE      LA     70809‐0500
ALBARRAN JANET                   ALBARRAN, FORTINO                FEINMAN JAMES B & ASSOCIATES       203 NINTH STREET KRISE BLDG                           LYNCHBURG        VA     24505
                                                                                                     , P O BOX 697
ALBARRAN JANET                   ALBARRAN, JANET                  203 NINTH STREET KRISE BLDG O                                                            LYNCHBURG        VA     24505
ALBARRAN, ALCIDES                6 LENORA AVE                                                                                                              MORRISVILLE      PA     19067‐1206
ALBARRAN, BECKIE M               2831 CANARY COURT                                                                                                         COLUMBIA         TN     38401‐0206
ALBARRAN, BECKIE MARIE           2831 CANARY COURT                                                                                                         COLUMBIA         TN     38401‐0206
ALBARRAN, DAVID A                1604 TREE TRUNK LN                                                                                                        CHAPEL HILL      TN     37034‐2064
ALBARRAN, FORTINO                FEINMAN JAMES B & ASSOCIATES     203 NINTH STREET KRISE BLDG, P O                                                         LYNCHBURG        VA     24505
                                                                  BOX 697
ALBARRAN, JANET                  FEINMAN JAMES B & ASSOCIATES     203 NINTH STREET KRISE BLDG, P O                                                         LYNCHBURG        VA     24505
                                                                  BOX 697
ALBARRAN, MERCEDEZ               438 WASHINGTON PARK                                                                                                       WAUKEGAN        IL      60085‐5208
ALBARRAN, SYLVIA                 20 BASSWOOD RD                                                                                                            LEVITTOWN       PA      19057‐3036
ALBARTS EXCEP/COLUMB             708 N MAIN ST                                                                                                             COLUMBIA        TN      38401‐3318
ALBAUGH MASONRY STONE & TILE     ATTN: SCOTT ALBAUGH              922 CESAR E CHAVEZ AVE                                                                   PONTIAC         MI      48340‐2336
ALBAUGH, FLORENCE L              13303 DENVER CIR S                                                                                                        STERLING HTS    MI      48312‐1632
ALBAUGH, JAMES C                 267 CHARLOTTE ST                                                                                                          MULLIKEN        MI      48861‐9739
ALBAUGH, KENNETH W               14375 PANGBORN RD                                                                                                         HEMLOCK         MI      48626‐8500
ALBAUGH, MILTON L                PO BOX 3083                                                                                                               WARREN          OH      44485‐0083
ALBAUGH, MILTON LEE              PO BOX 3083                                                                                                               WARREN          OH      44485‐0083
ALBAUGH, ROBERT L                9678 KINNEVILLE RD                                                                                                        EATON RAPIDS    MI      48827‐9504
ALBAUGH, ROBERT LEE              9678 KINNEVILLE RD                                                                                                        EATON RAPIDS    MI      48827‐9504
ALBAUGH, SHARON A                3412 PATTERSON LAKE RD                                                                                                    PINCKNEY        MI      48169‐8724
ALBEA JR, CHARLES H              116 W WHITEHALL WAY                                                                                                       ANDERSON        IN      46013‐3814
ALBEA, AILEEN ROSE               1004 MARTIN DR                                                                                                            ANDERSON        IN      46012
ALBEA, CECILE F                  7352 N 300 E                                                                                                              GREENFIELD      IN      46140‐8050
ALBEA, RICHARD L                 2913 N SCATTERFIELD RD TRLR B4                                                                                            ANDERSON        IN      46012‐1574
ALBECK, DOUGLAS E                5640 S. LAKESHORE DR.            46                                                                                       SHREVEPORT      LA      71119
ALBECK, DOUGLAS E                UNIT 46                          5640 SOUTH LAKESHORE DRIVE                                                               SHREVEPORT      LA      71119‐4030
ALBEE JR, DARRELL F              32 BROAD ST                                                                                                               WALPOLE         MA      02081‐1724
ALBEE, BRIAN D                   3561 E RED OAK LN                                                                                                         GILBERT         AZ      85297‐7950
ALBEE, CAROL MARIE               1756 CROWES LAKE CT                                                                                                       LAWRENCEVILLE   GA      30043‐6957
ALBEE, DANIEL D                  29555 CASTLE CREEK LN                                                                                                     ESCONDIDO       CA      92026‐5928
ALBEE, DENNIS J                  2581 MAIN ST                                                                                                              NEWFANE         NY      14108‐1020
ALBEE, EVELYN I                  C/O MARGARET A DAY               4476 TRAIL VIEW DRIVE NE                                                                 GRAND RAPIDS    MI      49525
ALBEE, EVELYN I                  4476 TRAIL VIEW DR NE            C/O MARGARET A DAY                                                                       GRAND RAPIDS    MI      49525‐1360
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Name                                   Address1                             Address2                          Address3                 Address4                   City              State   Zip
ALBEE, JEFFREY L                       APT 3502                             345 NORTH LA SALLE DRIVE                                                              CHICAGO             IL    60654‐6377
ALBEE, LABARRON T                      2570 MAIN ST                                                                                                               NEWFANE            NY     14108‐1019
ALBEE, MATTHEW T                       APT 432                              2174 LAKEVIEW DRIVE                                                                   YPSILANTI          MI     48198‐6773
ALBEE, RICHARD D                       8472 CHESTNUT RIDGE RD                                                                                                     GASPORT            NY     14067‐9348
ALBEE, ROBERT G                        6058 RIDGEWOOD CT                                                                                                          FLINT              MI     48532‐3220
ALBEE, THEODORE R                      6369 YORKSHIRE NORTH RIDING RD                                                                                             FLINT              MI     48532‐3236
ALBEEZ, SYED                           2702 SPRINGTIME DR                                                                                                         TROY               MI     48083‐6807
ALBEL TRADING CORP                     C/O BANCO PORTUGUES DE NEGOCIOS SA   SETTLEMENT AND CUSTODIAN          AV. ANTONIO AUGUSTO      1050‐020 LISBOA PORTUGAL
                                                                            SECURITIES DEPARTMENT             AGUIAR 132
ALBELO, WILFREDO                       3 PATRICIA AVE                                                                                                             EDISON             NJ     08837‐3052
ALBEN DEAN ATCHISON                    ATTN ROBERT W PHILLIPS               C/O SIMMONS BROWDER GIANARIS 707 BERKSHIRE BLVD ‐ PO BOX                              EAST ALTON         IL     62024
                                                                            ANGELIDES & BARNERD LLC      251
ALBEN WATTS                            206 VALLEY RD                                                                                                              JACKSON           GA      30233‐1654
ALBENA JONES                           8830 ROYAL GRAND                                                                                                           DETROIT           MI      48239‐1742
ALBENA TZONEVA                         1781 WESTRIDGE DR                                                                                                          ROCHESTER HILLS   MI      48306‐3274
ALBENZE, MICHAEL A                     7538 PINEAPPLE LN                                                                                                          PORT RICHEY       FL      34668‐4029
ALBENZE, PHILIP A                      3270 LORI LN                                                                                                               NEW PORT RICHEY   FL      34655‐1828
ALBENZIO, DOROTHY C.                   3714 SE 12TH AVE APT 103A                                                                                                  CAPE CORAL        FL      33904
ALBER MANSOUR                          28243 FARRS GARDEN PATH                                                                                                    WESTLAKE          OH      44145‐2026
ALBER, BERNICE M                       3345 S STERLING AVE                                                                                                        INDEPENDENCE      MO      64052‐2756
ALBER, BERNICE M                       3345 STERLING ST                                                                                                           INDEPENDENCE      MO      64052
ALBER, EVELYN L                        1320 N BUNN RD                                                                                                             HILLSDALE         MI      49242‐8335
ALBER, GAEL A                          11280 SW 76TH AVE                                                                                                          OCALA             FL      34476‐9138
ALBER, JAMES O                         6325 RAY RD                                                                                                                SWARTZ CREEK      MI      48473‐9122
ALBER, KENNETH G                       1320 N BUNN RD                                                                                                             HILLSDALE         MI      49242‐8335
ALBER, OLGA J                          7523 HAVILAND DR                                                                                                           LINDEN            MI      48451‐8759
ALBER, WILLIAM A                       5857 CRANE DR                                                                                                              LAKELAND          FL      33809‐7617
ALBER, WILLIAM E                       PO BOX 8967                                                                                                                HIDALGO           TX      78557‐8967
ALBERALLA, THOMAS F                    58 DAUER DR                                                                                                                BUFFALO           NY      14224‐4718
ALBERDENA DERUITER                     5525 BARBARA ST                                                                                                            ZEPHYRHILLS       FL      33542‐3106
ALBERG AUSTRIA INC                     JOHANNES NENNING                     DORF 90                                                    6764 LECH AUSTRIA
ALBERGO, NICHOLAS C                    3470 S FITCH AVE                                                                                                           INVERNESS          FL     34452‐8901
ALBERGOTTI, THOMAS                     553 N POLK ST                                                                                                              PINEVILLE          NC     28134‐8563
ALBERIC AUTO SALES INC
ALBERIC COLON AUTO SALES INC           PORTELA EMMA SARA                    EDIFICIO HATO REY TOWER, 803,                                                         HATO REY           PR     00918
                                                                            AVENIDA MUNOZ RIVERA NUM 268
ALBERIC COLON AUTO SALES INC ‐ FEDERAL
‐ GM VS
ALBERIC COLON AUTO SALES INC ‐ STATE ALBERIC COLON AUTO SALES INC           EDIFICIO HATO REY TOWER, 803 ,                                                        HATO REY           PR     00918
                                                                            AVENIDA MUNOZ RIVERA NUM 268
ALBERIC COLON AUTO SALES INC ‐ STATE   BARRANQUITAS AUTO CORP               EDIFICIO HATO REY TOWER, 803 ,                                                        HATO REY           PR     00918
                                                                            AVENIDA MUNOZ RIVERA NUM 268
ALBERIC COLON AUTO SALES INC ‐ STATE   CABRERA HERMANOS INC                 EDIFICIO HATO REY TOWER, 803 ,                                                        HATO REY           PR     00918
                                                                            AVENIDA MUNOZ RIVERA NUM 268
ALBERIC COLON AUTO SALES INC ‐ STATE   C. R. RONDINELLI INC                 EDIFICIO HATO REY TOWER, 803 ,                                                        HATO REY           PR     00918
                                                                            AVENIDA MUNOZ RIVERA NUM 268
ALBERIC COLON AUTO SALES INC ‐ STATE   LOSADA AUTO TRUCK INC                EDIFICIO HATO REY TOWER, 803 ,                                                        HATO REY           PR     00918
                                                                            AVENIDA MUNOZ RIVERA NUM 268
ALBERIC COLON AUTO SALES INC ‐ STATE   LUGO AUTO SALES INC                  EDIFICIO HATO REY TOWER, 803 ,                                                        HATO REY           PR     00918
                                                                            AVENIDA MUNOZ RIVERA NUM 268
ALBERIC COLON AUTO SALES INC ‐ STATE   ROYAL MOTORS CORPORATION             EDIFICIO HATO REY TOWER, 803 ,                                                        HATO REY           PR     00918
                                                                            AVENIDA MUNOZ RIVERA NUM 268
ALBERIC COLON AUTO SALES INC.          AVE. KENNEDY ‐ CARR. NO. 2 KM. 2.5                                                              SAN JUAN PUERTO RICO
ALBERIC COLON AUTO SALES, INC.         ALBERIC COLON ZAMBRANA               AVE JOHN F KENNEDY CARR #2 KM 2                                                       SAN JUAN           PR     00920
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Name                             Address1                            Address2             Address3         Address4                 City              State Zip
ALBERIC COLON AUTO SALES, INC.   AVE JOHN F KENNEDY CARR #2 KM 2 5                                                                  SAN JUAN           PR 00920
ALBERICI ANTONELLO               STRADA DELLA REPUBBLICA 103                                               43100 PARMA ITALY
ALBERICI CONSTRUCTION INC        2150 KIENLEN AVE                                                                                   SAINT LOUIS       MO   63121‐5505
ALBERICI CONTRACTORS LTD
ALBERICI, EDUARDO A              1867 CAMPUS CT                                                                                     ROCHESTER HILLS   MI   48309‐2159
ALBERIGI, ALDO                   BRAYTON PURCELL                     PO BOX 6169                                                    NOVATO            CA   94948‐6169
ALBERIGO GUERRIERI               812 LITHUANICA LN                                                                                  WEBSTER           NY   14580‐9115
ALBERINI, RICHARD P              36 MORNINGSIDE RD                                                                                  NILES             OH   44446‐2110
ALBERINI, RICHARD T              3312 TRAPPERS TRL UNIT B                                                                           CORTLAND          OH   44410‐9154
ALBERINO, VERONICA               3032 MCCLELLAND AVE                                                                                NEW CASTLE        PA   16101‐1252
ALBERS DIANNE                    PO BOX 797                                                                                         HAMPTON BAYS      NY   11946‐0701
ALBERS JR, JOHN J                1826 EDWARD LN                                                                                     ANDERSON          IN   46012‐1919
ALBERS JR, WALTER A              5868 WINDSTAR CIR                                                                                  WATERFORD         MI   48327‐2982
ALBERS TOM                       ALBERS, TOM                         822 PHASIANUS ST                                               GREEN BAY         WI   54311‐5266
ALBERS WALTER                    WALTER ALBERS                       B╓RSENSTRASSE 52                                               WILHELMSHAVEN     ND   26382
ALBERS, ALICE                    1119 DAWN DR                                                                                       BELLEVILLE        IL   62220‐3325
ALBERS, ANGELA D                 1525 LAIRD AVE                                                                                     DAYTON            OH   45420‐3022
ALBERS, ANNE T                   6445 FAR HILLS AVE APT 903                                                                         DAYTON            OH   45459
ALBERS, BEVERLY E                2108 EAST FOUNTAIN STREET                                                                          MESA              AZ   85213‐5217
ALBERS, BRADLEY E                5 CHERRY ST BOX 254                                                                                DAMIANSVILLE      IL   62215
ALBERS, CARRIE M                 312 LANCELOT PL                                                                                    LANSING           MI   48906‐1639
ALBERS, CHARLES L                1103 FRANKFURT LN                                                                                  GERMANTOWN        IL   62245‐1912
ALBERS, DARLENE C                72 MCKENZIE DR                                                                                     BELLA VISTA       AR   72715‐5108
ALBERS, DAVID C                  1305 S HICKORY RIDGE RD                                                                            MILFORD           MI   48380‐1515
ALBERS, DAWN                     105 S COLUMBIAN STREET
ALBERS, DONALD F                 1633 CAFE DUMONDE                                                                                  CONROE            TX   77304‐4935
ALBERS, ERNEST H                 8071 GREENBRIAR RD                                                                                 MADISONVILLE      TX   77864‐4343
ALBERS, GARY L                   2170 WILBERFORCE CLIFTON RD                                                                        XENIA             OH   45385‐9449
ALBERS, GARY LEE                 2170 WILBERFORCE CLIFTON RD                                                                        XENIA             OH   45385‐9449
ALBERS, GERALD D                 1321 KELLOGG AVE                                                                                   JANESVILLE        WI   53546‐6021
ALBERS, GERALD E                 9421 S POINTE LASALLE DR                                                                           BLOOMINGTON       IN   47401‐9024
ALBERS, HOWARD D                 5676 MURPHY CT                                                                                     WARREN            MI   48092‐6336
ALBERS, JACK L                   106 E ROUSE ST                                                                                     LANSING           MI   48910‐4527
ALBERS, JAMES D                  5 LONE EAGLE TRL                                                                                   SAINT CHARLES     MO   63303‐6203
ALBERS, JANE                     510 MUSKOKA                                                                                        COMMERCE          MI   48382‐2572
                                                                                                                                    TOWNSHIP
ALBERS, JOHN E                   122 CHOTA LANDING DR                                                                               LOUDON            TN   37774‐2950
ALBERS, JUDITH A                 5591 FERN DR                                                                                       FENTON            MI   48430‐9230
ALBERS, KEITH E                  13633 SANDSTONE COURT                                                                              FORT WAYNE        IN   46814‐8825
ALBERS, KENNETH H                1525 LAIRD AVE                                                                                     DAYTON            OH   45420‐3022
ALBERS, KENNETH M                9315 GOOD SPRING DR                                                                                PERRY HALL        MD   21128‐9827
ALBERS, KEVIN E                  45 WATER STREET                                                                                    OSGOOD            OH   45351
ALBERS, LAWRENCE J               PO BOX 74                                                                                          MANITOU BEACH     MI   49253‐0074
ALBERS, MIKE
ALBERS, NORBERT W                PO BOX 271                          891 RANDOLPH ST                                                BECKEMEYER        IL   62219‐0271
ALBERS, RALPH L                  5225 W STONEHAVEN LN NP                                                                            NEW PALESTINE     IN   46163
ALBERS, RANDY L                  16090 W TOWNLINE RD                                                                                SAINT CHARLES     MI   48655‐8705
ALBERS, ROBERT H                 311 N LINE ST                                                                                      CHESANING         MI   48616‐1129
ALBERS, ROBERT J                 1940 STATE ROUTE 161                                                                               NEW BADEN         IL   62265‐2702
ALBERS, ROBERT L                 7856 TAMARACK PL                                                                                   AVON              IN   46123‐9814
ALBERS, SIDNEY                   381 WEBBS HILL RD                                                                                  STAMFORD          CT   06903‐4519
ALBERS, TOM                      822 PHASIANUS ST                                                                                   GREEN BAY         WI   54311‐5266
ALBERS, VANCE E                  310 CAMBRIDGE DR                                                                                   DEXTER            MI   48130‐2505
ALBERS, VANCE EUGENE             310 CAMBRIDGE DR                                                                                   DEXTER            MI   48130‐2505
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Name                                 Address1                        Address2                       Address3   Address4               City              State   Zip
ALBERS, WALDEMAR E                   72 MCKENZIE DR                                                                                   BELLA VISTA        AR     72715‐5108
ALBERS, WILLIAM L                    5591 FERN DR                                                                                     FENTON             MI     48430‐9230
ALBERSMEYER, EVAN M                  14229 MARION CENTER RD                                                                           HOAGLAND           IN     46745‐9719
ALBERSMEYER, MALCOLM L               11314 ZUBRICK RD                                                                                 ROANOKE            IN     46783‐9641
ALBERSON DERRICK                     52711 FAYETTE DR                                                                                 SHELBY TOWNSHIP    MI     48316‐3059
ALBERSON, DEREK J                    1077 PENARTH ST                                                                                  COMMERCE TWP       MI     48382‐3847
ALBERSON, EVELYN L                   188 CHIPPEWA LN                                                                                  JACKSON            MO     63755‐8036
ALBERSON, JAMES D                    188 CHIPPEWA LN                                                                                  JACKSON            MO     63755‐8036
ALBERSON, VIRGINIA S                 115 FRIENDSHIP DR                                                                                HARTWELL           GA     30643‐2968
ALBERT J AESSIE                      133 COLUMBIA DR                                                           SASKATOON SK CANADA
                                                                                                               S7K 1E8
ALBERT & HAROLD'S AUTO SERVICE       7719 88TH ST                                                                                     GLENDALE          NY      11385‐7831
ALBERT & MARTHALENE HECTOR           3714 ROCHESTER RD                                                                                ST JOSEPH         MO      64506
ALBERT A ELLIS                       PO BOX 14726                                                                                     DETROIT           MI      48214‐0726
ALBERT A FISHER                      1118 FROST LANE                                                                                  PEEKSKILL         NY      10566‐1904
ALBERT A FRANK                       C/O WILLIAMS KHERKHER HART &    8441 GULF FREEWAY STE 600                                        HOUSTON           TX      77007
                                     BOUNDAS LLP
ALBERT A FULTZ                       518 S WALNUT ST                                                                                  TROY              OH      45373
ALBERT A HILDRETH                    228 BELEY AVE                                                                                    SYRACUSE          NY      13211‐1528
ALBERT A LINK                        6263 E COLDWATER RD                                                                              FLINT             MI      48506‐1211
ALBERT A ROBINSON                    119 EARLY RD                                                                                     YOUNGSTOWN        OH      44505‐4706
ALBERT A VARGO                       1331 KAREN OVAL                                                                                  VIENNA            OH      44473
ALBERT ABBASSE                       664 BRAESIDE DR SE                                                                               BYRON CENTER      MI      49315‐8075
ALBERT ABERNATHY                     1507 BUNTING LN                                                                                  JANESVILLE        WI      53546‐2954
ALBERT ADAM                          22148 W CURTICE E AND W RD                                                                       CURTICE           OH      43412‐9688
ALBERT ADAMS                         3544 FOREST DR                                                                                   LUPTON            MI      48635‐8753
ALBERT ADAMS                         6442 WESTBAY CT                                                                                  DAYTON            OH      45426‐1119
ALBERT ADAMS                         15629 LIBERAL ST                                                                                 DETROIT           MI      48205‐2014
ALBERT ALAN C (ESTATE OF)            C/O LIPSITZ & PONTERIO 006695   135 DELAWARE AVE , SUITE 506                                     BUFFALO           NY      14202‐2410
ALBERT ALAN C (ESTATE OF) (644670)   C/O LIPSITZ & PONTERIO LLC      135 DELAWARE AVE, FIFT FLOOR                                     BUFFALO           NY      14202
ALBERT ALDERMAN                      60 OAK LN                                                                                        WENTZVILLE        MO      63385‐6321
ALBERT ALDRIDGE JR                   PO BOX 60486                                                                                     DAYTON            OH      45406‐0486
ALBERT ALEXANDER                     77 ROBY ST                                                                                       LOCKPORT          NY      14094‐1425
ALBERT ALLARD                        3685 HELEN ST                                                                                    HARRISON          MI      48625‐8005
ALBERT ALLEN                         3854 LYNWARD RD                                                                                  COLUMBUS          OH      43228‐3551
ALBERT ALLEN                         1657 ZARIEDA ST                                                                                  ORTONVILLE        MI      48462‐8817
ALBERT ALLEN                         BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                       BOSTON HTS.       OH      44236
ALBERT ALLI                          5184 NASHUA DR                                                                                   YOUNGSTOWN        OH      44515‐5164
ALBERT AMADOR JR                     16369 NORMAN RD                                                                                  LYNN              MI      48097‐1907
ALBERT AMELLA JR                     19224 HIGHLIGHT DRIVE NORTH                                                                      CLINTON TWP       MI      48035
ALBERT AMERSON JR                    5241 HIGHWAY 19 S                                                                                ZEBULON           GA      30295‐3410
ALBERT AMOS                          501 THOREAU LN                                                                                   JONESBORO         GA      30236‐5581
ALBERT ANDERSON                      1224 WHITES CIR                                                                                  DARLINGTON        SC      29532‐4552
ALBERT ANDERSON                      1310 E MAIN ST                                                                                   TROY              OH      45373‐3453
ALBERT ANDERSON                      6609 WOODSWORTH AVE                                                                              LAS VEGAS         NV      89108‐7057
ALBERT ANDERSON                      APT 223                         3633 BREAKERS DRIVE                                              OLYMPIA FLDS      IL      60461‐1043
ALBERT ANDRINI                       38 LYONS ST                                                                                      NEW BRITAIN       CT      06052‐1727
ALBERT ANNESSER                      242 STRATFORD RD                                                                                 FERNDALE          MI      48220‐2335
ALBERT ANTFLICK                      25 W HAZELTINE AVE                                                                               KENMORE           NY      14217‐2619
ALBERT APONTE                        BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                       BOSTON HTS.       OH      44236
ALBERT APPERSON                      928 E NORTH E ST                                                                                 GAS CITY          IN      46933‐1329
ALBERT AQUISTO                       52711 FLOWER CT                                                                                  SHELBY TOWNSHIP   MI      48316‐3404
ALBERT ARAKELIAN                     6040 OAKLAND AVE                                                                                 OAK FOREST        IL      60452‐1826
ALBERT ARCHULETA                     25969 STATE HIGHWAY 3                                                                            DOW               IL      62022
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Name                                  Address1                             Address2                     Address3             Address4                 City            State Zip
ALBERT ARCOS                          CALLE 10A #7236                      APT J206                                          CALI COLOMBIA
ALBERT AREHART                        5486 W 900 N                                                                                                    FRANKTON        IN    46044‐9695
ALBERT ARGENBRIGHT                    1168 RACINE AVE                                                                                                 COLUMBUS        OH    43204‐2786
ALBERT ARNO                           1278 COUNTY ROUTE 36                                                                                            NORFOLK         NY    13667‐3279
ALBERT ARNOLD                         59 ELMWOOD AVE                                                                                                  UNION           NJ    07083‐6910
ALBERT ARY                            2255 86TH AVE                                                                                                   OAKLAND         CA    94605‐3906
ALBERT ASHFORD                        1126 NASH AVE                                                                                                   YPSILANTI       MI    48198‐6289
ALBERT ASHLEY                         5482 N LINDEN RD                                                                                                FLINT           MI    48504‐1106
ALBERT ASMONDY                        2801 E ROYALTON RD                                                                                              BROADVIEW       OH    44147‐2827
                                                                                                                                                      HEIGHTS
ALBERT ATTIA TTEE ALBERT ATTIA MPPP   350 W 58TH ST                                                                                                   NEW YORK CITY    NY   10019

ALBERT ATTWOOD                        2232 JAGOW RD                                                                                                   NIAGARA FALLS   NY    14304‐2947
ALBERT AUDEN                          16852 SUMMERSET DR                                                                                              LAKE MILTON     OH    44429‐9782
ALBERT AUGUSTUS LOSH                  ROBERT W PHILLIPS                    SIMMONS BROWDER GIANARIS     707 BERKSHIRE BLVD   PO BOX 521               EAST ALTON      IL    62024
                                                                           ANGELIDES & BARNERD LLC
ALBERT AUGUSTYNIAK                    16 WAGNER AVE                                                                                                   BALTIMORE       MD    21221‐7051
ALBERT AUTO SERVICE                   3645 J ST SW                                                                                                    CEDAR RAPIDS    IA    52404‐4610
ALBERT AUTO SERVICE EAST              3108 MOUNT VERNON RD SE                                                                                         CEDAR RAPIDS    IA    52403‐3655
ALBERT AVILA                          PO BOX 85                                                                                                       PIRU            CA    93040‐0085
ALBERT B CONLEY                       8875 BELLBROOK RD                                                                                               WAYNESVILLE     OH    45068‐9741
ALBERT B RODGERS                      C/O WILLIAMS KHERKHER HART &         8441 GULF FREEWAY, STE 600                                                 HOUSTON         TX    77007
                                      BOUNDAS, LLP
ALBERT B SMITH III                    433 LORENZ AVE                                                                                                  DAYTON          OH    45417
ALBERT B STEIN TRUST                  MR ALBERT STEIN                      402 PARADISE RD #3A                                                        SWAMPSCOTT      MA    01907
ALBERT B WILL                         229 S0 329TH LANE                                                                                               FEDERAL WAY     WA    98003‐6368
ALBERT BACHMAN                        THE LAW OFFICES OF PETER G ANGELOS   100 NORTH CHARLES STREET     22ND FLOOR                                    BALTIMORE       MD    21201

ALBERT BACHMANN                       N╓TTELEINWEG 96                                                                                                 N▄RNBERG         DE   90469
ALBERT BACHMANN                       NOETTELEINWEG 96                                                                       NUERNBERG DE 90469
                                                                                                                             GERMANY
ALBERT BACHMANN                       NOETTELEINWEG 96                                                                                                NUERNBERG       DE    90469
ALBERT BACKUS                         2371 E DEXTER TRL                                                                                               DANSVILLE       MI    48819‐9782
ALBERT BADGLEY                        714 MAURINE DR                                                                                                  COLUMBUS        OH    43228‐3012
ALBERT BAGLEY                         134 STANDISH DR                                                                                                 MONROE          MI    48162‐3118
ALBERT BAILEY                         2414 BRISTOW AVE                                                                                                SAINT LOUIS     MO    63114‐5209
ALBERT BAILEY                         1845 BENTLEY RD                                                                                                 BENTLEY         MI    48613‐9668
ALBERT BAILEY                         15061 CEDARGROVE ST                                                                                             DETROIT         MI    48205‐3665
ALBERT BAILEY JR                      4151 CROCUS RD                                                                                                  WATERFORD       MI    48328‐2111
ALBERT BAILEY JR                      8717 DEER CHASE DR.                                                                                             HUBER HEIGHTS   OH    45424‐1260
ALBERT BAIRD                          7058 T0RREY RD                                                                                                  SWARTZ CREEK    MI    48473
ALBERT BAIRD                          8640 TAYLORSVILLE RD                                                                                            HUBER HEIGHTS   OH    45424‐6336
ALBERT BAKER                          467 STATE ROUTE 503                                                                                             ARCANUM         OH    45304‐9428
ALBERT BAKER                          10221 HELENA TER                                                                                                SPOTSYLVANIA    VA    22553‐3745
ALBERT BAKER JR                       6330 RANGEVIEW DR                                                                                               DAYTON          OH    45415‐1928
ALBERT BALDERSTONE                    2435 YOSEMITE ST                                                                                                SAGINAW         MI    48603‐3356
ALBERT BALDWIN                        1251 WEBSTER AVE APT E3                                                                                         BRONX           NY    10456‐3381
ALBERT BALDWIN                        3545 BAGSHAW DR                                                                                                 SAGINAW         MI    48601‐5208
ALBERT BALLARD                        121 S CUMBERLAND ST                                                                                             FLINT           MI    48503‐2159
ALBERT BALLATORI                      215 W SPRUCE ST                                                                                                 E ROCHESTER     NY    14445‐1820
ALBERT BAMMER                         FISCHERECKSTR. 9                     A‐4645 GR▄NAU                AUSTRIA
ALBERT BAMMER                         FISCHERECKSTR. 9                     A‐4645 GRUENAU               AUSTRIA
ALBERT BANDY                          1941 N PERKEY RD                                                                                                CHARLOTTE        MI   48813‐8309
ALBERT BANE JR                        4981 IROQUOIS BLVD                                                                                              CLARKSTON        MI   48348‐3218
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Name                  Address1                            Address2                     Address3   Address4                   City             State   Zip
ALBERT BANKER         7224 CORK LN                                                                                           ENGLEWOOD         FL     34224‐8166
ALBERT BANKS          26241 LAKE SHORE BLVD APT 1765      APT 1765                                                           EUCLID            OH     44132‐1147
ALBERT BANKS          2357 E CATHY CT                                                                                        GILBERT           AZ     85296‐3935
ALBERT BANKS          1800 S 88TH ST                                                                                         KANSAS CITY       KS     66111‐3620
ALBERT BANNON         1524 WALNUT ST                                                                                         ANDERSON          IN     46016‐2030
ALBERT BARBER
ALBERT BARKHOLZ       6548 ROYAL PINE DR                                                                                     MYRTLE BEACH     SC      29588‐6589
ALBERT BARNETT        6323 WESTFORD RD                                                                                       TROTWOOD         OH      45426‐1437
ALBERT BARROW         19268 CONLEY ST                                                                                        DETROIT          MI      48234‐2276
ALBERT BARTKO         C/O BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                         BOSTON HTS.      OH      44236
ALBERT BARZ           10741 BRADLEY DR                                                                                       INDIANAPOLIS     IN      46231‐2714
ALBERT BATTA          PO BOX 591                                                                                             NORTH JACKSON    OH      44451‐0591
ALBERT BAUER          204 SCHUST RD                                                                                          SAGINAW          MI      48604‐1455
ALBERT BAYLESS        201 OAK ST                                                                                             CORUNNA          MI      48817‐1026
ALBERT BEARUP         11197 HILL RD                                                                                          GOODRICH         MI      48438‐9001
ALBERT BEATTY         23305 S HICKORY CT                                                                                     SPRING HILL      KS      66083‐6104
ALBERT BEATTY I I I   989 NANCY AVE                                                                                          NILES            OH      44446‐2731
ALBERT BECK           701 SUMMIT AVE APT 79                                                                                  NILES            OH      44446‐3655
ALBERT BECK           2 DRURY LN                                                                                             MANCHESTER       NJ      08759‐5147
ALBERT BECK           PO BOX 17                                                                                              ROWE             VA      24646‐0017
ALBERT BECK           6801 RYCROFT DR                                                                                        RIVERSIDE        CA      92506‐5352
ALBERT BECKER         3500 WEST ELMS ST                                                                                      LIMA             OH      45807
ALBERT BECKER EST     ATTORNEY: GARRUTO GALEX CANTOR
ALBERT BECKER EST     ATTORNEY: GARRUTO GALEX CANTOR      ATTN: CORPORATE
                                                          OFFICER/AUTHORIZED AGENT
ALBERT BECKER JR      242 LEGACY PARK DR APT 4                                                                               CHARLOTTE         MI     48813‐1353
ALBERT BEE            2662 MONTEREY ST                                                                                       DETROIT           MI     48206‐1113
ALBERT BEEN           28504 SAND CANYON RD SPC 68                                                                            CANYON COUNTRY    CA     91387‐2112

ALBERT BELL           PO BOX 224                                                                                             PORT SANILAC     MI      48469‐0224
ALBERT BELL           2420 MIAMI BEACH DR                                                                                    FLINT            MI      48507‐1058
ALBERT BELL IV        848 PLEASANT ST                                                                                        BIRMINGHAM       MI      48009‐2920
ALBERT BELLO          7203 E 108TH ST                                                                                        KANSAS CITY      MO      64134‐2906
ALBERT BELLO JR.      833 S MEADOWBROOK ST                                                                                   GARDNER          KS      66030‐9226
ALBERT BELMONTEZ      10540 CALIFORNIA AVE                                                                                   SOUTH GATE       CA      90280‐6510
ALBERT BENKO          901 N SAGINAW ST                                                                                       DURAND           MI      48429‐1265
ALBERT BENSON         12716 SILVERLANE DR                                                                                    OKLAHOMA CITY    OK      73120
ALBERT BERGER         28221 RIDGETHORNE CT                                                                                   RANCHO PALOS     CA      90275‐3255
                                                                                                                             VERDES
ALBERT BERGER         108 BROAD RIVER DR                  SANTEE COOPER RESORT                                               SANTEE            SC     29142‐9300
ALBERT BERGMAIR       WALDSTRA▀E 10                                                               85051 INGOLSTADT GERMANY

ALBERT BERGMOOSER     8086 GRAFTON RD                                                                                        NEWPORT          MI      48166‐9436
ALBERT BERRINGER      975 GLENWOOD ST NE                                                                                     WARREN           OH      44483‐3922
ALBERT BIANCO         3445 PLUM TREE DR APT I                                                                                ELLICOTT CITY    MD      21042‐3839
ALBERT BILLIS         9670 FAIRWOOD CT                                                                                       PORT ST LUCIE    FL      34986‐3250
ALBERT BINDER         7572 REGENCY LAKE DR #907                                                                              BOCA RATON       FL      33433
ALBERT BINGHAM        3 AVENUE A W                                                                                           ROCHESTER        NY      14621‐4301
ALBERT BIR            1801 BROOKLINE AVE                                                                                     DAYTON           OH      45420‐1953
ALBERT BIRCHMEIER     15680 GASPER RD                                                                                        CHESANING        MI      48616‐9479
ALBERT BIRDOW SR      7500 MARLINDA CIR                                                                                      FORT WORTH       TX      76140‐2430
ALBERT BIVONE         16 AUTUMN WOOD                                                                                         ROCHESTER        NY      14624‐5315
ALBERT BLACK          3117 COUNTRY CREEK DR                                                                                  OAKLAND          MI      48306‐4724
                                                                                                                             TOWNSHIP
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ALBERT BLACK         1600 TANNER AVE                                                                                         BURLINGTON       NJ     08016‐2352
ALBERT BLACK         8185 LENNON RD                                                                                          SWARTZ CREEK     MI     48473‐9716
ALBERT BLANCHARD     4 SARATOGA DR                                                                                           WILMINGTON       DE     19808‐4315
ALBERT BLANKENSHIP   1142 TIVERTON DR                                                                                        MOORESVILLE      IN     46158‐1388
ALBERT BLAZIE JR     1945 SCOTTSVILLE RD STE B2 PMB 101                                                                      BOWLING GREEN    KY     42104‐5836
ALBERT BOATMAN, JR   4F LINCOLN LN                                                                                           DAYTON           NJ     08810‐1362
ALBERT BOBCHUCK      1028 SUSAN LN                                                                                           GIRARD           OH     44420‐1452
ALBERT BODDIE JR     4421 ST JOHN AVE                                                                                        DAYTON           OH     45406
ALBERT BODKINS       2505 CONCORD ST                                                                                         FLINT            MI     48504‐7361
ALBERT BOICE         2124 ROBERTS LN                                                                                         LANSING          MI     48910‐3224
ALBERT BOISLARD      280 DONAHUE RD                                                                                          PASCOAG           RI    02859‐1911
ALBERT BOKOR         22193 KNOLLWOOD DR                                                                                      BROWNSTOWN       MI     48134‐9274
ALBERT BONACCI       601 CENTER AVE                                                                                          JANESVILLE       WI     53548‐5048
ALBERT BOND          1824 RIVER RD                                                                                           KAWKAWLIN        MI     48631‐9421
ALBERT BOND          3627 DIAMONDALE DR E                                                                                    SAGINAW          MI     48601‐5806
ALBERT BONTINEN      4631 CLAUDIA DR                                                                                         WATERFORD        MI     48328‐1101
ALBERT BOOTH         270 ARCOLA ST                                                                                           GARDEN CITY      MI     48135‐3126
ALBERT BOSS JR       803 CEDAR BRANCH DRIVE                                                                                  GLEN BURNIE      MD     21061‐2107
ALBERT BOSTON        BEVAN & ASSOCIATES, LPA, INC.        6555 DEAN MEMORIAL PARKWAY                                         BOSTON HTS.      OH     44236
ALBERT BOUCHER       11810 N SHAYTOWN RD                                                                                     SUNFIELD         MI     48890‐9751
ALBERT BOUQUENOY     27 E OAKLAND ST                                                                                         TOLEDO           OH     43608‐1112
ALBERT BOWEN         445 BRISTOL LANE                                                                                        CLARKSTON        MI     48348‐2319
ALBERT BOWLEY        3045 N GOLD STAR DR APT 194                                                                             LONG BEACH       CA     90810‐2726
ALBERT BOWLING       PO BOX 17633                                                                                            DAYTON           OH     45417‐0633
ALBERT BOWLING       P O BOX 17633                                                                                           DAYTON           OH     45417‐0633
ALBERT BOWMAN JR     PO BOX 29468                                                                                            INDIANAPOLIS     IN     46229‐0468
ALBERT BOXER         74 BRISTOL WAY                       SUSSEX EAST                                                        LEWES            DE     19958‐9090
ALBERT BOYD          1036 LOUIS AVE                                                                                          FLINT            MI     48505‐1229
ALBERT BOZSOKI       BEVAN & ASSOCIATES, LPA, INC.        6555 DEAN MEMORIAL PARKWAY                                         BOSTON HTS.      OH     44236
ALBERT BOZSOKI, SR   C/O BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                         BOSTON HTS.      OH     44236
ALBERT BRACCINI      PO BOX 10904                                                                                            FORT MOHAVE      AZ     86427‐0904
ALBERT BRACKETT      PO BOX 291                                                                                              GRAFTON          OH     44044‐0291
ALBERT BRACKINS JR   3117 MASON ST                                                                                           FLINT            MI     48505‐4066
ALBERT BRADEN JR     9195 PREST STREET                                                                                       DETROIT          MI     48228‐2207
ALBERT BRANI         3580 LEASON RD                                                                                          STERLING HTS     MI     48310‐3726
ALBERT BRASHER       2275 KESSLER BLVD NORTH DR                                                                              INDIANAPOLIS     IN     46222‐2352
ALBERT BREWSTER      16 LAVENDER LN                                                                                          LEVITTOWN        PA     19054‐3910
ALBERT BREZZELL      5805 OXLEY DR                                                                                           FLINT            MI     48504‐7051
ALBERT BRIGHT        1306 BEAUMONT CT                                                                                        FOREST HILL      MD     21050‐2409
ALBERT BRINK         9412 NEW YORK AVE                                                                                       HUDSON           FL     34667‐3430
ALBERT BRINSON       C/O THE MADEKSHO LAW FIRM            8866 GULF FREEWAY SUITE 440                                        HOUSTON          TX     77017
ALBERT BROADNAX JR   809 INDIANA AVE                                                                                         ANDERSON         IN     46012‐2317
ALBERT BRODEUR       34 LOWER WINDBROOK DR                                                                                   AUBURN           MA     01501‐3010
ALBERT BROMLEY       2653 HWY 00                                                                                             FARMINGTON       MO     63640
ALBERT BROOKS        3735 WHISPERING PINES RD                                                                                CRAWFORD         MS     39743‐9766
ALBERT BROOKS        9030 E AVENUE T6                                                                                        LITTLEROCK       CA     93543‐2728
ALBERT BROSIUS JR    7 BEECH DR                                                                                              PENNSVILLE       NJ     08070‐2404
ALBERT BROUGH JR     307 JONES AVE                                                                                           SPRING HILL      TN     37174‐2644
ALBERT BROUGHTON     105 GRANDVIEW ST                                                                                        HARRISON         OH     45030‐1161
ALBERT BROUGHTON     112 OAK LN                                                                                              FLINT            MI     48506‐5298
ALBERT BROWN         CGM IRA ROLLOLVER CUSTODIAN          5778 CRYSTAL SHORES DRIVE #202                                     BOYNTON BEACH    FL     33437‐5691
ALBERT BROWN         5778 CRYSTAL SHORES DRIVE #202                                                                          BOYNTON BEACH    FL     33437‐5691
ALBERT BROWN         CGM IRA ROLLOVER CUSTODIAN           5778 CRYSTAL SHORES DRIVE APT                                      BOYNTON BEACH    FL     33437‐5691
ALBERT BROWN         4187 OAK TREE CIR                                                                                       ROCHESTER        MI     48306‐4663
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ALBERT BROWN             7810 PARKLANE RD                                                                                     COLUMBIA            SC     29223‐5621
ALBERT BROWN             3795 9TH ST                                                                                          ECORSE              MI     48229‐1608
ALBERT BROWN             113 FAIRCREST DR                                                                                     KRUGERVILLE         TX     76227‐6246
ALBERT BROWN             G3421 BARTH ST                                                                                       FLINT               MI     48504‐2489
ALBERT BROWN             4429 MARTIN L. KING BLVD                                                                             GARFIELD HEIGHTS    OH     44105
ALBERT BROWN             201 WESTBROOK DR                                                                                     DEWITT              MI     48820‐9506
ALBERT BROWN             5011 BROOKBURY BLVD                                                                                  RICHMOND            VA     23234‐2925
ALBERT BROWN             600 SEQUOIA DR                                                                                       EDGEWOOD            MD     21040‐2824
ALBERT BROWN             647 PLAINFIELD CT                                                                                    SAGINAW             MI     48609‐4827
ALBERT BROWN             14623 PEORIA ST                                                                                      HARVEY               IL    60426‐1819
ALBERT BROWN             4505 GEORGETOWN VERONA RD                                                                            LEWISBURG           OH     45338‐9518
ALBERT BRUGGEMAN         2383 APPLEBLOSSOM DR                                                                                 MIAMISBURG          OH     45342‐4269
ALBERT BRUNETTE          3165 IVY LN                                                                                          GRAND BLANC         MI     48439‐8198
ALBERT BRUNO JR          227 HEARTH CT W                                                                                      LAKEWOOD            NJ     08701‐4132
ALBERT BUDA              114 BALD CYPRESS LN                                                                                  MOORESVILLE         NC     28115‐5761
ALBERT BUDDEMEYER JR     9203 OLMSTEAD RD                                                                                     KANSAS CITY         MO     64138‐4957
ALBERT BUICK‐HONDA‐GMC   1717 N PROVIDENCE RD                                                                                 COLUMBIA            MO     65202‐1520
ALBERT BULLOCK           PO BOX 100                                                                                           HUBBARD LAKE        MI     49747‐0100
ALBERT BURGER            1753 E US HIGHWAY 22 AND 3                                                                           MORROW              OH     45152‐8971
ALBERT BURGGRAF          126 DAWSON AVE                                                                                       MANSFIELD           OH     44906‐3204
ALBERT BURKS             7827 CORONA CT                                                                                       ARLINGTON           TX     76002‐4787
ALBERT BURRIS            2747 BELLE MEADE PL                                                                                  COLUMBIA            TN     38401‐7289
ALBERT BUTLER            4179 MCDOWELL RD                                                                                     LAPEER              MI     48446‐9697
ALBERT BUTLIN JR         31055 PICKWICK LN                                                                                    BEVERLY HILLS       MI     48025‐5240
ALBERT BYRD              1924 SUN TRAIL DR                                                                                    TROY                MO     63379‐3911
ALBERT C BARNINGER       115 E HOWARD ST                                                                                      GIRARD              OH     44420
ALBERT C BAUSCH          C/O EMBRY & NEUSNER          PO BOX 1409                                                             GROTON              CT     06340
ALBERT C BECK            701 SUMMIT AVE. APT. 79                                                                              NILES               OH     44446‐3655
ALBERT C BOBCHUCK        1028 SUSAN LN                                                                                        GIRARD              OH     44420‐1452
ALBERT C BROWN           RR 1 BOX 287                                                                                         SONTAG              MS     39665‐9801
ALBERT C DEMCHAK         WEITZ & LUXENBERG PC         700 BROADWAY                                                            NEW YORK CITY       NY     10003
ALBERT C HENDERSON       PO BOX 626                                                                                           MOUNT MORRIS        MI     48458‐0626
ALBERT C HETZLER         125 W MARKET ST                                                                                      GERMANTOWN          OH     45327‐1355
ALBERT C KNOPP           7711 MILLIKIN RD                                                                                     MIDDLETOWN          OH     45044
ALBERT C KRUG REV TR     ALBERT C KRUG TTEE           DTD 11‐1‐02                  5025 GLENDALE AVE                          MONTAGUE            MI     49437‐1018
ALBERT C MUREN           2952 FIDDLEWOOD CIRCLE                                                                               PORT SAINT LUCIE    FL     34952
ALBERT C RIVERS III      PO BOX 14421                                                                                         SAGINAW             MI     48601‐0421
ALBERT C ROBERTSON       8120 LAUD TOOMSUBA RD                                                                                TOOMSUBA            MS     39364
ALBERT C RODGERS         1028 ZEPHYR ST                                                                                       YPSILANTI           MI     48198‐6250
ALBERT C SMITH           PO BOX 782                                                                                           LOS ALTOS           CA     94023
ALBERT C VACCHIANO       708 BRUBAKER DRIVE                                                                                   DAYTON              OH     45429‐3426
ALBERT C. SMITH          PO BOX 782                                                                                           LOS ALTOS           CA     94023
ALBERT C. TSANG          SHIRLEY C TSANG              6411 ASPEN COVE CT                                                      SUGAR LAND          TX     77479
ALBERT CABANA            1559 BAY ST APT 49                                                                                   TAUNTON             MA     02780‐1049
ALBERT CADE              5543 S HAMILTON AVE                                                                                  CHICAGO              IL    60636‐1016
ALBERT CAESAR JR         1460 HEATHERFIELD WAY        C/O CAROLYN A JOHNSON                                                   TRACY               CA     95376‐5391
ALBERT CAHOURS           5779 NEUMAN RD                                                                                       SAINT CLAIR         MI     48079‐3223
ALBERT CAIN              BEVAN & ASSOCIATES LPA INC   6555 DEAN MEMORIAL PARKWAY                                              BOSTON HEIGHTS      OH     44236
ALBERT CALLOWAY          PO BOX 542                                                                                           BRADLEY             WV     25818‐0542
ALBERT CAMPANA           138 PAWNEE CT THE WOODS                                                                              NEWARK              DE     19702
ALBERT CAMPANA           996 N HEWITT DR                                                                                      LEWISTON            NY     14092‐2224
ALBERT CAMPANA           2256 SPRUCEWOOD DR                                                                                   AUSTINTOWN          OH     44515‐5156
ALBERT CAMPBELL          299 SARANAC AVE                                                                                      BUFFALO             NY     14216‐1931
ALBERT CAMPBELL          5332 SAINT JAMES PL                                                                                  FREDERICK           MD     21703‐2833
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Name                                 Address1                          Address2                     Address3   Address4               City             State Zip
ALBERT CANADY                        3601 ARTHINGTON BLVD                                                                             INDIANAPOLIS      IN 46218‐1630
ALBERT CANFORA                       BEVAN & ASSOCIATES, LPA, INC.     6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS.       OH 44236
ALBERT CANTRELL                      2517 MARLAND DR                                                                                  HINCKLEY          OH 44233‐9517
ALBERT CANTRELL                      400 RIVERWOOD DR                                                                                 DESOTO            TX 75115‐5628
ALBERT CANTU                         1020 PINE AVE                                                                                    ALMA              MI 48801‐1237
ALBERT CANTU JR                      1233 BURDETT WAY                                                                                 MILPITAS          CA 95035‐4002
ALBERT CAPATCH                       101 VIETS DR                                                                                     CORTLAND          OH 44410‐1142
ALBERT CAPOZZI                       245 JERSEY ST                                                                                    BUFFALO           NY 14201‐1042
ALBERT CARDY                         5054 LAKE POINTE DR                                                                              HARRISON          MI 48625‐9636
ALBERT CARNAHAN                      17421 GROVE AVE                                                                                  TEHACHAPI         CA 93561‐7601
ALBERT CARNES                        17115 SHERFIELD PL                                                                               SOUTHFIELD        MI 48075‐7031
ALBERT CAROTTA                       42192 TODDMARK LN APT 9                                                                          CLINTON TOWNSHIP MI 48038‐6800

ALBERT CARPENTER                     2275 LANCASTER RD                                                                                BLOOMFIELD HILLS   MI   48302‐0638
ALBERT CARPENTIER                    34262 WHITE OSPREY DR N                                                                          LILLIAN            AL   36549‐5386
ALBERT CARR                          5217 DOUGLAS RD                                                                                  TOLEDO             OH   43613‐2640
ALBERT CARRELL                       4826 EDGEWOOD DR                                                                                 HARRISON           MI   48625‐9652
ALBERT CARROLL JR                    3631 WOODLAND TRL                 C/O JANIS SINES                                                EAGAN              MN   55123‐2400
ALBERT CARSON                        15766 STRATHMOOR ST                                                                              DETROIT            MI   48227‐2963
ALBERT CARSON SR                     C/O WILLIAMS KHERKHER HART &      8441 GULF FREEWAY STE 600                                      HOUSTON            TX   77007
                                     BOUNDAS LLP
ALBERT CARTAGENA                     5705 E TEXAS ST APT 115                                                                          BOSSIER CITY       LA   71111‐6965
ALBERT CARTER                        1323 STANWIX DR                                                                                  TOLEDO             OH   43614‐2626
ALBERT CARUSO                        PO BOX 32                                                                                        VIENNA             OH   44473‐0032
ALBERT CASCADDAN                     2525 BULLOCK RD                                                                                  LAPEER             MI   48446‐9754
ALBERT CASPERS                       971 S TUSCOLA ROAD ROUTE                                                                         BAY CITY           MI   48708
ALBERT CASTELLO                      1886 COLONIAL VILLAGE WAY APT 2                                                                  WATERFORD          MI   48328‐1965
ALBERT CASTRODALE                    29736 MARK LN                                                                                    LIVONIA            MI   48152‐4506
ALBERT CATHEY III                    28487 SPRUCE DRIVE                                                                               FLAT ROCK          MI   48134‐9773
ALBERT CATHEY JR                     27322 EDGEMOOR ST                                                                                FARMINGTN HLS      MI   48334‐4610
ALBERT CATO                          653 JAMES POWERS RD SW                                                                           MONROE             GA   30656‐6417
ALBERT CAVAZOS                       6203 N LONDON AVE                                                                                KANSAS CITY        MO   64151‐2589
ALBERT CELENTANO                     24 S AUTUMN DR                                                                                   ROCHESTER          NY   14626‐1302
ALBERT CELLA                         11700 E 60TH TER                                                                                 KANSAS CITY        MO   64133‐4334
ALBERT CHALFIN                       1630 COVINGTON RD                                                                                YARDLEY            PA   19067
ALBERT CHANDLER                      305 S EAST ST APT 7                                                                              PLAINFIELD         IN   46168‐1278
ALBERT CHANDLER                      107 GREGORY DR                                                                                   ANDERSON           IN   46016‐5812
ALBERT CHANGET                       BEVAN & ASSOCIATES, LPA, INC.     6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS.        OH   44236
ALBERT CHAPDELAINE                   6980 E HIGGINS LAKE DR                                                                           ROSCOMMON          MI   48653‐9312
ALBERT CHAPMAN                       5810 CRESTHAVEN LN                                                                               TOLEDO             OH   43614‐2244
ALBERT CHARANZA SR                   2400 CATALO LN                                                                                   ARLINGTON          TX   76010‐8102
ALBERT CHARGO                        PO BOX 11                                                                                        LENNON             MI   48449‐0011
ALBERT CHARLES                       2547 SANDWEDGE LN                                                                                PINCKNEY           MI   48169‐9190
ALBERT CHAVEZ                        1850 E GARDENIA AVE APT 162                                                                      PHOENIX            AZ   85020‐5269
ALBERT CHESNEY                       2418 JEFFERSON AVE                                                                               NORWOOD            OH   45212‐4008
ALBERT CHEVROLET BUICK PONTIAC GMC   MARK TERAMANA                     905 BRADY AVE                                                  STEUBENVILLE       OH   43952‐1421
CADILLAC, INC.
ALBERT CHEVROLET, INC.               RANDOLPH WISE                     G5100 CLIO RD                                                  FLINT              MI   48504‐1267
ALBERT CHILDRESS                     11212 E 59TH TER                                                                                 RAYTOWN            MO   64133‐4201
ALBERT CHOMICZ                       38618 DAYTONA DR                                                                                 STERLING HTS       MI   48312‐1501
ALBERT CHORNIAK                      BEVAN & ASSOCIATES LPA INC        6555 DEAN MEMORIAL PARKWAY                                     BOSTON HEIGHTS     OH   44236
ALBERT CHRISMAN                      7050 ROBINDALE ST                                                                                HUBER HEIGHTS      OH   45424‐3217
ALBERT CHRISTENSEN                   11139 BARE DR                                                                                    CLIO               MI   48420‐1576
ALBERT CHRISTIAN                     2501 ROBERTS CIR                                                                                 ARLINGTON          TX   76010‐2222
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Name                   Address1                             Address2                   Address3     Address4               City            State   Zip
ALBERT CHRISTMANN      39 MADEIRA DR                                                                                       DEPEW            NY     14043‐4710
ALBERT CHRISTNER       1383 MALLARD DR                                                                                     BURTON           MI     48509‐1560
ALBERT CIANFARANI      2119 IROQUOIS CT                                                                                    THOMPSONS        TN     37179‐5025
                                                                                                                           STATION
ALBERT CICCIARELLI     29231 LORI ST                                                                                       LIVONIA         MI      48154‐4054
ALBERT CIERPIAL        51706 DEBORAH CIR                    CHESTERFIELD TWP.                                              CHESTERFIELD    MI      48047‐3060
ALBERT CIVALE          5 JAMES ST                                                                                          MERIDEN         CT      06451‐3121
ALBERT CLACK           206 CALIFORNIA ST                                                                                   HIGHLAND PARK   MI      48203‐3520
ALBERT CLAEYS          7880 BANWELL RD                                                                                     ALANSON         MI      49706‐9723
ALBERT CLARK           246 W DENNICK AVE                                                                                   YOUNGSTOWN      OH      44504‐1817
ALBERT CLARK           6266 KIKENDALL RD                                                                                   EATON RAPIDS    MI      48827‐9562
ALBERT CLARK JR        451 LORENZ AVE                                                                                      DAYTON          OH      45417‐2339
ALBERT CLEMENTS        2 KAYLIN DR                                                                                         ROCHESTER       NY      14624‐2006
ALBERT CLIMER          368 ENGLISH RD                                                                                      ROCHESTER       NY      14616‐2425
ALBERT CLOUGH          167 MIDWAY AVE                                                                                      ROSSVILLE       GA      30741‐3400
ALBERT COHOON          283 SW JUNE GLN                                                                                     LAKE CITY       FL      32024‐4869
ALBERT COLE SR         2733 NEW PORT ROYAL RD                                                                              THOMPSONS       TN      37179‐9293
                                                                                                                           STATION
ALBERT COLEMAN         1119 N GILBERT ST                                                                                   DANVILLE        IL      61832‐2949
ALBERT COLLINS         1536 ANDCHEL DR                                                                                     HERMITAGE       TN      37076‐2868
ALBERT COLLINS         16345 E COUNTRY CLUB DR                                                                             MOMENCE         IL      60954‐3927
ALBERT COLLINS         1401 N LOTUS AVE                                                                                    CHICAGO         IL      60651‐1308
ALBERT COLLINS         148 COLLINS RD                                                                                      STERLINGTON     LA      71280‐3040
ALBERT COMER           107 N HAGUE AVE                                                                                     COLUMBUS        OH      43204‐2610
ALBERT COMMIRE         3418 CRAMER RD ROUTE 5                                                                              BAY CITY        MI      48706
ALBERT COMSTOCK JR     8097 E CARPENTER RD                                                                                 DAVISON         MI      48423‐8960
ALBERT CONLEY          8875 BELLBROOK RD                                                                                   WAYNESVILLE     OH      45068‐9741
ALBERT CONNER          THE LAW OFFICES OF PETER G ANGELOS   100 NORTH CHARLES STREET   22ND FLOOR                          BALTIMORE       MD      21201

ALBERT CONNOR          12534 LARKINS RD                                                                                    BRIGHTON        MI      48114‐9003
ALBERT COOPER          PO BOX 4372                                                                                         SOUTHFIELD      MI      48037‐4372
ALBERT CORNELIUS       2445 RIMROCK CT NE                                                                                  GRAND RAPIDS    MI      49525‐6700
ALBERT CORNELL         4270 MAPLE ST                                                                                       BROWN CITY      MI      48416‐8013
ALBERT CORRELL         16042 S RED ROCK LN                                                                                 CORDES LAKES    AZ      86333‐2445
ALBERT CORRION         1055 S KNIGHT RD                                                                                    MUNGER          MI      48747‐9782
ALBERT COUCH           2622 MEADOWVALE AVE                                                                                 SACRAMENTO      CA      95822‐5406
ALBERT COUILLARD       CASCINO MICHAEL P                    220 SOUTH ASHLAND AVE                                          CHICAGO         IL      60607
ALBERT COURTS JR       210 HONEY LOCUST DRIVE                                                                              N LAS VEGAS     NV      89031‐7911
ALBERT CRAIN           480 GRANGER RD                                                                                      ORTONVILLE      MI      48462‐8668
ALBERT CRANDLE         3321 SANDRA DR                                                                                      KALAMAZOO       MI      49004‐9520
ALBERT CRANDLE         10904 96TH AVE                                                                                      ZEELAND         MI      49464‐9754
ALBERT CRAWFORD JR.    6443 SLOAN AVE                                                                                      KANSAS CITY     KS      66104‐1360
ALBERT CREEL           1202 WELCH BLVD                                                                                     FLINT           MI      48504‐7349
ALBERT CREER           17195 STRASBURG ST                                                                                  DETROIT         MI      48205‐3145
ALBERT CRIGGER         4002 HUNTSMOOR LN                                                                                   WILSON          NC      27896‐8697
ALBERT CRONKRIGHT      4167 ELIZABETH DR                                                                                   STEVENSVILLE    MI      49127‐9530
ALBERT CROOM           4830 GLEETON RD                                                                                     RICHMOND HTS    OH      44143‐2738
ALBERT CROSS           2164 SPENCER PIKE RD                                                                                SPRINGVILLE     IN      47462‐5381
ALBERT CROSS JR        PO BOX 199                           100 WALTER AVE                                                 WASHINGTONVLE   OH      44490‐0199
ALBERT CROWLEY JR      2216 WESLEY AVE                                                                                     JANESVILLE      WI      53545‐2159
ALBERT CRUMP           3413 CROYDON RD                                                                                     BALTIMORE       MD      21207‐4547
ALBERT CRUTCHFIELD     26008 PRADO CT                                                                                      INKSTER         MI      48141‐1913
ALBERT CZERNIEJEWSKI   2401 RONEY DR                                                                                       GRANITE CITY    IL      62040‐2948
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Name                     Address1                           Address2                     Address3   Address4                City                State Zip
ALBERT D AMICO           145 COOPER LANE                                                                                    STAFFORD SPRINGS     CT 06076

ALBERT D CORRELL         16042 S RED ROCK LN                                                                                CORDES LAKES        AZ   86333‐2445
ALBERT D FINLEY          1256 COUNTY ROAD 605                                                                               POPLAR BLUFF        MO   63901‐4885
ALBERT D ROLIN           15231 MOYER RD                                                                                     GERMANTOWN          OH   45327‐9746
ALBERT D SMITH           PO BOX 320332                                                                                      FLINT               MI   48532‐0006
ALBERT D VAN BELLEGHEM   1312 WOODMERE RD                                                                                   SANTA MARIA         CA   93455
ALBERT D WATTERS JR      342 S HARRIS RD                                                                                    YPSILANTI           MI   48198‐5966
ALBERT DANIELS           7312 FAUSSETT ROAD                                                                                 FENTON              MI   48430‐9038
ALBERT DANIELS           7321 NW LOCUST DR                                                                                  PARKVILLE           MO   64152‐1907
ALBERT DARBY             949 N FOUR MILE RUN RD                                                                             YOUNGSTOWN          OH   44515‐1208
ALBERT DAUGHTRY          206 OHIO TER                                                                                       SANDUSKY            OH   44870‐5770
ALBERT DAULT             7342 TORREY RD                                                                                     SWARTZ CREEK        MI   48473‐8882
ALBERT DAVIDHAZY         3985 LOCKPORT RD                                                                                   SANBORN             NY   14132‐9407
ALBERT DAVIES            31776 S SHORE DR                                                                                   EXCELSIOR SPRINGS   MO   64024‐6289

ALBERT DAVIS             155 HENDRICKSON BLVD                                                                               CLAWSON             MI   48017‐1690
ALBERT DAVIS JR          1501 W 22ND ST                                                                                     INDIANAPOLIS        IN   46202‐1025
ALBERT DE CLEVA          6664 S HIGHWAY N                                                                                   STOCKTON            MO   65785‐8131
ALBERT DE CRISCIO        6498 SPRINGBORN RD                                                                                 CHINA               MI   48054‐3803
ALBERT DE PASQUALE       148 MASON AVE                                                                                      ROCHESTER           NY   14626‐3356
ALBERT DE PASQUALE       148 MASON AVENUE                                                                                   ROCHESTER           NY   14626‐3356
ALBERT DEATON            4764 SHUTT RD                                                                                      MUSSEY              MI   48014‐2608
ALBERT DEBOUTTE          225 N SYBALD ST                                                                                    WESTLAND            MI   48185‐3229
ALBERT DECHAINE          WISE & JULIAN                      PO BOX 1108                                                     ALTON               IL   62002‐1108
ALBERT DEDRICK           1100 W SHIAWASSEE ST                                                                               LANSING             MI   48915‐1824
ALBERT DEGE              2620 MORRIS RD                                                                                     HERRON              MI   49744‐9768
ALBERT DELALONDE         684 AVENUE MAXENCE VAN DER MEERSCH                                         62780 CUCQ FRANCE

ALBERT DELAO             4550 S PORTSMOUTH RD                                                                               BRIDGEPORT          MI   48722‐9743
ALBERT DELGRECO          3466 42ND ST                                                                                       CANFIELD            OH   44406‐8215
ALBERT DEMEESE           2841 E RANCH CT                                                                                    GILBERT             AZ   85296‐8613
ALBERT DEMUYNCK          6548 PARKDALE PLZ                                                                                  MARTINEZ            CA   94553‐6025
ALBERT DENNEY JR         PO BOX 151                                                                                         RILLTON             PA   15678‐0151
ALBERT DEPRIEST          135 MEADOW DR                                                                                      LEXINGTON           TN   38351‐4030
ALBERT DERRICO           203 GREENE ST                                                                                      BUFFALO             NY   14206‐1009
ALBERT DERRY             15176 GERMAN RD                                                                                    ATWATER             OH   44201
ALBERT DETAVERNIER JR    23013 LINGEMANN ST                                                                                 ST CLAIR SHRS       MI   48080‐2173
ALBERT DETONNANCOURT     313 THIBEAULT AVE                                                                                  WOONSOCKET          RI   02895‐6657
ALBERT DEVAULT           2304 ALLERTON RD                                                                                   AUBURN HILLS        MI   48326‐2506
ALBERT DEVAULT           226 HIGH ST                                                                                        OMER                MI   48749‐9613
ALBERT DEVELVIS          BEVAN & ASSOCIATES, LPA, INC.      6555 DEAN MEMORIAL PARKWAY                                      BOSTON HTS.         OH   44236
ALBERT DEWEESE           1552 ROSEBANK AVE                                                                                  COOKEVILLE          TN   38506‐4144
ALBERT DI DONATO         166 ELM ST                                                                                         YONKERS             NY   10701‐3932
ALBERT DI LOLLO          2116 PAR DR                                                                                        NAPLES              FL   34120‐0503
ALBERT DICKERSON         PO BOX 1813                                                                                        ALBANY              LA   70711‐1813
ALBERT DIERICKS          524 CONTINENTAL CIR                                                                                DAVISON             MI   48423‐8568
ALBERT DILLON            1232 2ND ST                                                                                        LAPEER              MI   48446‐1212
ALBERT DINATALE          12260 DOLLAR LAKE DR                                                                               FENTON              MI   48430‐9731
ALBERT DIONISIO          6017 MOUNT EVERETT RD                                                                              HUBBARD             OH   44425‐3116
ALBERT DIVIRGILIO        3585 E POWDER HORN RD                                                                              TITUSVILLE          FL   32796‐1539
ALBERT DIXON             1344 HEATHERCREST DR                                                                               FLINT               MI   48532‐2642
ALBERT DOBBS             1127 W EPLER AVE                                                                                   INDIANAPOLIS        IN   46217‐3629
ALBERT DOBSON            821 E WELLINGTON AVE                                                                               FLINT               MI   48503‐2714
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Name                                  Address1                           Address2                 Address3            Address4               City            State   Zip
ALBERT DODD                           701 FREDERICKSBURG DR                                                                                  DAYTON           OH     45415‐2651
ALBERT DORKO                          1405 REGINA AVE                                                                                        PORTAGE          MI     49024‐2623
ALBERT DOUGLAS                        195L RIVER TRAIL DRIVE                                                                                 BAY CITY         MI     48706‐1859
ALBERT DOUGLAS                        5247 MAPLETON RD                                                                                       LOCKPORT         NY     14094‐9293
ALBERT DOUGLAS JR                     125 WOODLAND HILLS DR                                                                                  FAIRBURN         GA     30213‐1060
ALBERT DOZIER                         11812 GUARDIAN BLVD                                                                                    CLEVELAND        OH     44135‐4638
ALBERT DRAKE                          55 SOUTHVILLE RD                                                                                       SOUTHBOROUGH     MA     01772‐4025
ALBERT DUBUC                          1717 HAGOOD LOOP                                                                                       THE VILLAGES     FL     32162‐6756
ALBERT DUKE                           809 REGENCY RESERVE CIR APT 4102                                                                       NAPLES           FL     34119‐2334
ALBERT DUNFORD                        33315 JEFFERSON AVE                                                                                    ST CLR SHORES    MI     48082‐1178
ALBERT DWORKIN                        1299 N TAMIAMI TR # 527                                                                                SARASOTA         FL     34236
ALBERT DWORKIN                        1299 N. TAMIAMI TRAIL #527                                                                             SARASOTA         FL     34236
ALBERT E BECK                         6801 RYCROFT DR                                                                                        RIVERSIDE        CA     92506‐5352
ALBERT E BILLIS                       9670 FAIRWOOD CT                                                                                       PORT ST LUCIE    FL     34986
ALBERT E BOWEN                        45 N MERRIMAC ST                                                                                       PONTIAC          MI     48340‐2529
ALBERT E COX JR                       200 SAINT ANTHONY ST                                                                                   LEWISBURG        PA     17837
ALBERT E GUICE                        1251 PLANTATION BLVD                                                                                   JACKSON          MS     39211
ALBERT E HASSENBOHLER                 1187 SANDRIDGE ROAD                                                                                    ALDEN            NY     14004
ALBERT E HIPKINS                      6755 SARANAC                                                                                           TRANSFER         PA     16154‐8959
ALBERT E JACKSON                      1916 N 23RD ST                                                                                         SAGINAW          MI     48601‐1308
ALBERT E LANE & DOROTHY MAE LANE      10285 N CO RD 600 E                                                                                    HOPE             IN     47246‐9419
ALBERT E LINVILLE                     1056 E CENTRAL AVE                                                                                     MIAMISBURG       OH     45342‐2556
ALBERT E STANIFER                     399 CRAWFORD TOM'S RUN RD                                                                              NEW LEBANON      OH     45345
ALBERT E WEAVER                       3151 NW 44TH AVE APT 145                                                                               OCALA            FL     34482
ALBERT EAGLEN                         9821 SE SUNSET HARBOR RD                                                                               SUMMERFIELD      FL     34491‐4502
ALBERT EARL MCGINNIS                  BARON & BUDD PC                    THE CENTRUM SUITE 1100   3102 OAK LAWN AVE                          DALLAS           TX     75219‐4281
ALBERT EASLICK                        5901 GLENS CT                                                                                          SEBRING          FL     33876‐6302
ALBERT EBNER                          97 SALEM RD                                                                                            ROCHESTER        NY     14622‐2621
ALBERT ECKHART                        1817 POPLAR RIDGE RD                                                                                   PASADENA         MD     21122
ALBERT EDDY                           214 FRANK ST                                                                                           MEDINA           NY     14103‐1717
ALBERT EDWARDS                        11 GILL DR                                                                                             NEWARK           DE     19713‐2384
ALBERT EDWARDS                        3478 RIDGECLIFFE DR APT 1                                                                              FLINT            MI     48532‐3705
ALBERT EHLINGER                       RT #8 15481 POWER DAM RD                                                                               DEFIANCE         OH     43512
ALBERT EHRBAR                         9177 SOFTWATER WOODS DR                                                                                CLARKSTON        MI     48348‐4265
ALBERT EIDI                           4513 SULGRAVE DR                                                                                       TOLEDO           OH     43623‐2049
ALBERT EINSTEIN COLLEGE OF MEDICINE   1300 MORRIS PARK AVE                                                                                   BRONX            NY     10461
OF YESHIVA UNIVERSITY
ALBERT ELLIOTT                        4231 LYNDELL DR                                                                                        DAYTON          OH      45432‐1825
ALBERT ELLIOTT                        6784 MCCARTY RD                                                                                        SAGINAW         MI      48603‐9605
ALBERT ELLIOTT                        APT 2                              2914 SOUTH MORELAND                                                 CLEVELAND       OH      44120‐2778
ALBERT ELLIOTT                        1176 E HOME AVE                                                                                        FLINT           MI      48505‐3010
ALBERT ELLIOTT JR                     3822 COMSTOCK AVENUE                                                                                   FLINT           MI      48504‐3753
ALBERT ELLIS                          14084 HUNT RD                                                                                          BERLIN          MI      48002‐2008
ALBERT ELLIS                          PO BOX 14726                                                                                           DETROIT         MI      48214‐0726
ALBERT ELLSWORTH                      G1374 W CARPENTER RD                                                                                   FLINT           MI      48505‐2060
ALBERT EMANUEL                        PO BOX 27401                                                                                           DETROIT         MI      48227‐0401
ALBERT ERICKSEN I I                   12509 WHITE TAIL                                                                                       DAVISBURG       MI      48350‐2961
ALBERT ERICKSON                       1015 CAPEN AVE                                                                                         WALNUT          CA      91789‐3912
ALBERT ERICKSON JR.                   996 LA SALLE AVE                                                                                       WATERFORD       MI      48328‐3744
ALBERT ERWIN                          PO BOX 353                                                                                             BLANCHESTER     OH      45107‐0353
ALBERT ESEPPI                         37 TICONDEROGA DR                                                                                      TORRINGTON      CT      06790‐3449
ALBERT ESPOSITO                       1567 VAIL CT                                                                                           BLAKESLEE       PA      18610‐2143
ALBERT ETTORE                         7815 ZIEGLER ST                                                                                        TAYLOR          MI      48180‐2664
ALBERT EVANS                          1509 S WALL AVE                                                                                        MUNCIE          IN      47302‐3847
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Name                      Address1                          Address2                  Address3                Address4                City             State   Zip
ALBERT F ANDERSON         1310 E. MAIN ST                                                                                             TROY              OH     45373‐3453
ALBERT F ERWIN            P O BOX 353                                                                                                 BLANCHESTER       OH     45107‐0353
ALBERT F HALL             10215 MOHAWK BLVD.                                                                                          WELLTON           AZ     85356‐6526
ALBERT F MARTINEZ         205 S HARRIS RD                                                                                             YPSILANTI         MI     48198‐5935
ALBERT F ROBERTSON        14221 TUSCOLA RD                                                                                            CLIO              MI     48420‐8878
ALBERT FACCIN             3670 RIMROCK RD                                                                                             YORK              PA     17402
ALBERT FAIETA             6931 JOANN CIRCLE                                                                                           NIAGARA FALLS     NY     14304
ALBERT FALCIPIERI         106 MORNING GLORY LN                                                                                        ROCHESTER         NY     14525‐4732
ALBERT FARLEY             116 FORREST DR                                                                                              FRANKLIN          TN     37064‐5022
ALBERT FEDEWA             6223 HAMLIN RD                                                                                              PORTLAND          MI     48875‐9625
ALBERT FERRERI            11 WEATHERVANE RD                                                                                           BRISTOL           CT     06010‐8433
ALBERT FESTAIUTI          53 CORONET DR                                                                                               TONAWANDA         NY     14150‐5436
ALBERT FIELDER            PO BOX 37354                                                                                                ROCK HILL         SC     29732‐0522
ALBERT FIKE               555 NW 1511TH RD                                                                                            HOLDEN            MO     64040‐8466
ALBERT FILMANSKI          3121 DOUBLE EAGLE CT                                                                                        SPRING HILL       FL     34606
ALBERT FINLEY             4003 W FOREST PARK AVE                                                                                      BALTIMORE         MD     21207‐7406
ALBERT FINLEY             1256 COUNTY ROAD 605                                                                                        POPLAR BLUFF      MO     63901‐4885
ALBERT FISHER             1118 FROST LN                                                                                               PEEKSKILL         NY     10566‐1904
ALBERT FLEMING            10426 E LANSING RD                                                                                          DURAND            MI     48429‐1805
ALBERT FLEMING            8 MAID MARION LN                                                                                            BERLIN            MD     21811‐1675
ALBERT FLETCHER           401 N BENTLEY AVE                                                                                           NILES             OH     44446‐5207
ALBERT FLORES             801 HILTON ST                                                                                               DEFIANCE          OH     43512‐1503
ALBERT FLOWERS            1537 LYON ST                                                                                                FLINT             MI     48503‐1151
ALBERT FOEHRKOLB          947 KINWAT AVE                                                                                              BALTIMORE         MD     21221‐5219
ALBERT FOGELMAN           9160 VILLAGE GREEN DR                                                                                       CINCINNATI        OH     45242‐7537
ALBERT FOLLOWAY JR        2616 BOOS RD                                                                                                HURON             OH     44839‐2022
ALBERT FOOTE              6547 SADLER RD                                                                                              DECKER            MI     48426‐9706
ALBERT FORBEY JR          3227 RIVERSIDE DR                                                                                           BEAVERTON         MI     48612‐8764
ALBERT FORESTIERE JR      3975 PARK AVE                                                                                               EDISON            NJ     08820‐3014
ALBERT FORGET             693 ROCKY HILL RD                                                                                           N SMITHFIELD       RI    02896‐8168
ALBERT FOSTER             4105 HIGHWAY 90                                                                                             KNOBEL            AR     72435‐9076
ALBERT FOSTER JR          8236 LOCKWOOD LN                                                                                            INDIANAPOLIS      IN     46217‐4243
ALBERT FOX                3666 BOY SCOUT RD                                                                                           BAY CITY          MI     48706‐1334
ALBERT FOX I I            PO BOX 625                                                                                                  CHARLOTTE         MI     48813‐0625
ALBERT FOX JR             13194 E OUTER DR                                                                                            DETROIT           MI     48224‐2735
ALBERT FRANCIS            14174 BEECH DALY RD                                                                                         TAYLOR            MI     48180‐4424
ALBERT FRANK              875 W GRAND RIVER AVE LOT 63                                                                                WILLIAMSTON       MI     48895‐1249
ALBERT FREEMAN            18503 NORWOOD ST                                                                                            DETROIT           MI     48234‐1845
ALBERT FREEMAN            1395 RENATA ST                                                                                              SAGINAW           MI     48601‐6654
ALBERT FREEMAN (495010)   EARLY LUDWICK SWEENEY & STRAUSS   360 LEXINGTON AVE FL 20                                                   NEW YORK          NY     10017‐6530
ALBERT FREY               50 N KOHLER RD                                                                                              BARTON CITY       MI     48705‐9619
ALBERT FRIES              RVB NEUBURG                       ZHD HR HORUIBE            SCHRANNENPLATZ 209      86633 NEUBURG
ALBERT FRIES              RVB NEMBURG                       Z UDI HR HORNIH           SCHRANNEUPLATZ 209      86633 NEUBURG GERMANY
ALBERT FRIES              RVB NEUBURG                       ZHD HR HOTNIK             AM SCHRANNENPLATZ 209   86633 NEUBURG GERMANY
ALBERT FRIES              RVB NEUBURG                       ZHD HR HORNICK            AM SCHRANNENPLATZ 209   86633 NEUBURG GERMANY
ALBERT FRITZ              15787 WINTERPARK DR                                                                                         MACOMB           MI      48044‐3883
ALBERT FRYE               122 GOEDE RD                                                                                                EDGERTON         WI      53534‐9305
ALBERT FULLER             1593 THOMAS BARKSDALE WAY                                                                                   MOUNT PLEASANT   SC      29466‐6992
ALBERT FULTZ              518 S WALNUT ST                                                                                             TROY             OH      45373‐3539
ALBERT FUZESI             3447 N TAFT AVE                                                                                             INDIANAPOLIS     IN      46222‐1001
ALBERT FYVIE              5168 CHAMPAGNE DR                                                                                           FLINT            MI      48507‐2901
ALBERT G ANASTASIA        247 CUNNINGHAM LANE                                                                                         NEW CASTLE       PA      16105‐5805
ALBERT G BROOKS           1801 BARBARA DR                                                                                             FLINT            MI      48504‐1625
ALBERT G DODD             701 FREDERICKSBURG DR                                                                                       DAYTON           OH      45415‐2651
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Name                       Address1                        Address2                     Address3   Address4                 City            State   Zip
ALBERT G GULVAS            1193 RED PINE WAY                                                                                CENTERVILLE      OH     45458‐2873
ALBERT G ROBERTS           7775 CEDAR FALLS LANE                                                                            WEST CHESTER     OH     45069
ALBERT G SIPKA             302 TURNBERRY CT N E                                                                             WARREN           OH     44484‐5538
ALBERT G WILKINS SR        WEITZ & LUXENBERG PC            700 BROADWAY                                                     NEW YORK CITY    NY     10003
ALBERT GAGOLA JR           5250 GASPORT RD                                                                                  GASPORT          NY     14067‐9352
ALBERT GAINES              2616 GEORGIA AVE                                                                                 KANSAS CITY      KS     66104‐4555
ALBERT GALE                413 MERIDEN AVENUE                                                                               SOUTHINGTON      CT     06489‐3656
ALBERT GALIPEAU            24 OLNEY KEACH RD                                                                                CHEPACHET         RI    02814‐1160
ALBERT GALL                4469 HOLT RD                                                                                     HOLT             MI     48842‐1683
ALBERT GALLATIN            3121 W WESTON RD                                                                                 SAND CREEK       MI     49279‐9724
ALBERT GALLUP SR           3003 N MICHIGAN AVE                                                                              SAGINAW          MI     48604‐2460
ALBERT GAMBLE JR           17585 FAUST AVE                                                                                  DETROIT          MI     48219‐3504
ALBERT GARRETT             216 VINE LN                                                                                      WINCHESTER       VA     22602‐4457
ALBERT GARRETT             8515 NAPIER RD                                                                                   NORTHVILLE       MI     48168‐9428
ALBERT GARRETT             5405 MYANNA LN                                                                                   FORT WAYNE       IN     46835‐4925
ALBERT GAUTHIER            10493 LEANN DR                                                                                   CLIO             MI     48420‐1960
ALBERT GEARHEART           888 BEARDON                                                                                      LAKE ORION       MI     48362‐2004
ALBERT GEARING             47385 COUNTY ROAD 352                                                                            DECATUR          MI     49045‐9014
ALBERT GENNETT             171 LAUREL ST APT 114                                                                            BRISTOL          CT     06010‐5763
ALBERT GENTZ               439 N LANE ST                                                                                    BLISSFIELD       MI     49228‐1159
ALBERT GEOIT               13242 SULLIVAN RD                                                                                EMMETT           MI     48022‐1005
ALBERT GERALD              72398 RUSS RD                                                                                    RICHMOND         MI     48062‐4534
ALBERT GERALD J (664208)   ANGELOS PETER G LAW OFFICES     60 WEST BROAD ST                                                 BETHLEHEM        PA     18018
ALBERT GERTH               5301 OCEAN AVE APT 401                                                                           WILDWOOD         NJ     08260‐4448
ALBERT GFELLER             9720 S PRICETOWN RD                                                                              BERLIN CENTER    OH     44401‐8728
ALBERT GIANCATERNO         BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                       BOSTON HTS.      OH     44236
ALBERT GIBBONS             2450 RITCHIE RD                                                                                  GLADWIN          MI     48624‐8745
ALBERT GIBISAS             AUKSTOJI 11A                                                            GARLIAVA LT‐53238
                                                                                                   LITHUANIA
ALBERT GIFFORD             6887 KIRK RD                                                                                     CANFIELD        OH      44406‐9647
ALBERT GIFFORD             BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                       BOSTON HTS.     OH      44236
ALBERT GILBERT             18285 FERGUSON ST                                                                                DETROIT         MI      48235‐3209
ALBERT GILBERT             600 S LINCOLN ST                                                                                 BAY CITY        MI      48708
ALBERT GILDNER             4500 WINTERS DR                                                                                  FLINT           MI      48506‐2001
ALBERT GILMAN              168 GATES GREECE T L RD                                                                          ROCHESTER       NY      14606
ALBERT GILMAN III          173 WOODFIELD XING                                                                               GLASTONBURY     CT      06033‐1417
ALBERT GLADSTONE           325 SAINT IVES S                                                                                 LANSING         MI      48906‐1529
ALBERT GLENN               PO BOX 310105                                                                                    FLINT           MI      48531‐0105
ALBERT GOAD                170 DELANCY RD                                                                                   ELKTON          MD      21921‐6237
ALBERT GOBLE               3613 HAYNES RD                                                                                   LESLIE          MI      49251‐9530
ALBERT GODLEY              8804 NAVAHO TRL                                                                                  HOWARD CITY     MI      49329‐9151
ALBERT GOINS               4833 ALDEN LAKE DR W                                                                             HORN LAKE       MS      38637‐9239
ALBERT GOLA                825 CR#419                                                                                       TAYLOR          TX      76574
ALBERT GOLDSMITH           763 CHESHAM TURN                                                                                 SOUTHAMPTON     PA      18966
ALBERT GOMEZ               420 OAKWOOD DR                                                                                   ALAMO           TX      78516‐9300
ALBERT GONZALEZ            2387 BARBER RD                                                                                   HASTINGS        MI      49058‐9412
ALBERT GOODFIELD           19 MATTHEWS ST                                                                                   TERRYVILLE      CT      06786‐5002
ALBERT GOODING             281 NEBRASKA AVE                                                                                 PONTIAC         MI      48341‐2851
ALBERT GOODMAN             124 SAN LUCAS                                                                                    BELEN           NM      87002‐7011
ALBERT GOTI                2740 GARDEN GROVE RD                                                                             GRAND PRAIRIE   TX      75052‐4431
ALBERT GOUVEIA             53 MEDWAY RD                                                                                     MILFORD         MA      01757‐2901
ALBERT GRABLICK            21900 BOHN RD                                                                                    BELLEVILLE      MI      48111‐9211
ALBERT GRACE               112 ALDER ST                                                                                     YONKERS         NY      10705‐1502
ALBERT GRACE               8408 DEER CREEK LN NE                                                                            WARREN          OH      44484‐2030
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Name                           Address1                         Address2                       Address3                     Address4                  City              State   Zip
ALBERT GRADY JR                81 HUTCHINSON ST                                                                                                       CLARK              NJ     07066‐1719
ALBERT GRAHAM                  26199 CORNWALL CT                                                                                                      SOUTHFIELD         MI     48076‐4711
ALBERT GRAHAM JR               14160 ASHTON RD                                                                                                        DETROIT            MI     48223
ALBERT GREEN                   16844 BIRWOOD ST                                                                                                       DETROIT            MI     48221‐2806
ALBERT GREEN                   C/O LEGATE & ASSOCIATES, P.C.    ATTN: BRIAN MURPHY             302‐150 DUFFERIN AVE         LONDON, ONTARIO N6A 5N6

ALBERT GREEN                   618 S 16TH ST                                                                                                          SAGINAW           MI      48601‐2013
ALBERT GREEN JR                18012 FREELAND ST                                                                                                      DETROIT           MI      48235‐2571
ALBERT GREEN JR                50 ZEBULON PL                                                                                                          COVINGTON         GA      30016‐1919
ALBERT GREY                    18064 HICKORY ST                                                                                                       DETROIT           MI      48205‐2706
ALBERT GRIFFIN                 2600 HOOVER AVE                                                                                                        DAYTON            OH      45402‐5532
ALBERT GRIGNANI                16107 WHITEHEAD DR                                                                                                     LINDEN            MI      48451‐8773
ALBERT GRIMM                   457 PARKER RD                                                                                                          AURORA            OH      44202‐9749
ALBERT GRISWOLD                6200 CAMP DAGGETT RD                                                                                                   BOYNE CITY        MI      49712‐9362
ALBERT GRITZMACHER             92 SAXTON ST                                                                                                           LOCKPORT          NY      14094‐4346
ALBERT GRONDAHL                225 CHERRYWOOD CT                                                                                                      NORTH WALES       PA      19454‐1148
ALBERT GRONER                  325 DEER CREEK DR                                                                                                      STRUTHERS         OH      44471‐3103
ALBERT GROSS                   243 MATILDA                                                                                                            HARRISON          MI      48625‐9272
ALBERT GROSS                   9878 HAMILTON ST                                                                                                       BELLEVILLE        MI      48111‐1468
ALBERT GROVE                   3785 INDIAN RUN DR APT 10                                                                                              CANFIELD          OH      44406‐9553
ALBERT GROVE                   APT 10                           3785 INDIAN RUN DRIVE                                                                 CANFIELD          OH      44406‐9553
ALBERT GRZECK                  6470 SUMMIT ST                                                                                                         MOUNT MORRIS      MI      48458‐2347
ALBERT GUBALA                  1466 W TEMPERANCE RD                                                                                                   TEMPERANCE        MI      48182‐9487
ALBERT GUICE                   1251 PLANTATION BLVD                                                                                                   JACKSON           MS      39211‐2711
ALBERT GULVAS                  1193 RED PINE WAY                                                                                                      CENTERVILLE       OH      45458‐2873
ALBERT GUYOT                   4601 MILENTZ AVE                                                                                                       SAINT LOUIS       MO      63116‐2205
ALBERT H CARTER                1323 STANWIX DR                                                                                                        TOLEDO            OH      43614‐2626
ALBERT H GETSON                2681 S COURSE DR                                                                                                       POMPANO BEACH     FL      33069
ALBERT H HAIGHT                6310 W PROVIDENCE ST             APT 2                                                                                 NEW PORT RICHEY   FL      34652
ALBERT H HAIGHT                7231 ASHWOOD DRIVE                                                                                                     PORTRICHEY        FL      34668‐1508
ALBERT H HAMBY                 12345 WALNUT POINT WEST                                                                                                HAGERSTOWN        MD      21740
ALBERT H HOFF TTEE             ANITA B HUFF REV                 TRUST VIA DTD 10/13/93         2311 WEALTHY ST SE UNIT A‐                             E GRAND RAPIDS    MI      49506‐3038
                                                                                               19
ALBERT H HOFF TTEE             ANITA B HOFF REV TRUST U/A DTD   2311 WEALTHY ST SE UNIT #A19                                                          E GRAND RAPIDS     MI     49506‐3038
                               10/13/93
ALBERT H MURRAY                1005 HODGES WEBB RD                                                                                                    HAZLEHURST        MS      39083‐8780
ALBERT H REICHEL &             BERTHA M REICHEL JTWROS          804 SHERMAN ST                                                                        MONONGAHELA       PA      15063
ALBERT H RUSHER JR MD FAMILY   LIMITED PARTNERSHIP              27 PLANTATION OAK                                                                     JONESBORO         AR      72401
ALBERT H WILKINSON III TTEE    WILKINSON SNOWDEN OTOLARYNGOLO   U/A DTD 01/01/2004             4233 DUVAL DR                                          JACKSONVILLE      FL      32250‐5815

ALBERT H WOOD                  412 BLUEBELL CT                                                                                                        CLAYTON           OH      45315
ALBERT HABITZRUTHER            40 IRONDALE DR                                                                                                         DEPEW             NY      14043‐4428
ALBERT HAGEN                   15537 DEERING ST                                                                                                       LIVONIA           MI      48154‐3480
ALBERT HAGER                   4454 HAVENS RD                                                                                                         DRYDEN            MI      48428‐9358
ALBERT HAIGHT                  7231 ASHWOOD DR                                                                                                        PORT RICHEY       FL      34668‐1508
ALBERT HALL                    10215 N MOHAWK BLVD                                                                                                    WELLTON           AZ      85356‐6526
ALBERT HALL                    803 MARY KNOLL RD                                                                                                      ALEXANDRIA        IN      46001‐8133
ALBERT HALL                    932 ELK AVE                                                                                                            ADAMS             WI      53910‐9603
ALBERT HALSEY                  5285 E 800 N                                                                                                           BROWNSBURG        IN      46112
ALBERT HAMBY                   12345 WALNUT PT W                                                                                                      HAGERSTOWN        MD      21740‐2304
ALBERT HAMLIN                  296 IDLEWILD DR                                                                                                        SPARTA            TN      38583‐3115
ALBERT HAMM                    3712 MAYBEL ST                                                                                                         LANSING           MI      48911‐2833
ALBERT HAMMEL                  2440 S DYE RD                                                                                                          FLINT             MI      48532‐4153
ALBERT HAMMEL                  804 KOEN LN                                                                                                            EULESS            TX      76040‐4730
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Name                         Address1                             Address2                     Address3      Address4                 City             State   Zip
ALBERT HAMMERMEISTER         5819 PENTLAND RD                                                                                         BIRMINGHAM        MI     48010
ALBERT HAMMOND               HC 61 BOX 128                                                                                            SALYERSVILLE      KY     41465‐9161
ALBERT HAMMONS               1432 N 24TH ST                                                                                           KANSAS CITY       KS     66102‐2634
ALBERT HANDTMANN             METALLGUSSWERGMBH & CO KG            ARTHUR‐HANDTMANN STR 25‐31                 BIBERACH RISS D‐88400
                                                                                                             GERMANY
ALBERT HANDTMANN GMBH & CO   ARTHUR‐HANDTMANN STR 23                                                         BIBERACH BW 88400
                                                                                                             GERMANY
ALBERT HANNAH                2005 KING RD                                                                                             SAGINAW          MI      48601‐7313
ALBERT HANNER                326 NEWPORT DR APT 1702                                                                                  NAPLES           FL      34114‐9676
ALBERT HANNER                645 GEORGE ST                                                                                            CLARE            MI      48617‐9413
ALBERT HANNUM                BEVAN & ASSOCIATES, LPA, INC.        6555 DEAN MEMORIAL PARKWAY                                          BOSTON HTS.      OH      44236
ALBERT HANSEN                721 BROOKS ST                                                                                            BELOIT           WI      53511‐6026
ALBERT HARDEN                1174 E HOLBROOK AVE                                                                                      FLINT            MI      48505‐2327
ALBERT HARDING               MOTLEY RICE LLC                      28 BRIDGESIDE BLVD           PO BOX 1792                            MT PLEASANT      SC      29465
ALBERT HARE                  5124 INLAND ST                                                                                           FLINT            MI      48505‐1713
ALBERT HARGIS JR             PO BOX 154                                                                                               SOMERSET         KY      42502‐0154
ALBERT HARMON                717 CERRO VISTA DR                                                                                       GOODLETTSVILLE   TN      37072‐2003
ALBERT HARMON JR.            7013 GRANADA DR                                                                                          FLINT            MI      48532‐3023
ALBERT HARPER I I            4730 GARLAND ST                                                                                          DETROIT          MI      48214‐1520
ALBERT HARRIS                PO BOX 483                                                                                               REDAN            GA      30074‐0483
ALBERT HARRIS                1458 MOUNTAIN VIEW DR                                                                                    COOKEVILLE       TN      38506‐5085
ALBERT HARRIS                BROAD TOP MOUNTAIN ROAD BOX 1446                                                                         SAXTON           PA      16678

ALBERT HARRIS JR             16525 WALKER RD                                                                                          GRASS LAKE       MI      49240‐9609
ALBERT HART                  W17867 S CURTIS RD                                                                                       GERMFASK         MI      49836‐9218
ALBERT HARVEY                6103 JACQUES RD                                                                                          LOCKPORT         NY      14094‐1024
ALBERT HARZER                15297 ROYCROFT ST                                                                                        ROSEVILLE        MI      48066‐4021
ALBERT HASTING JR            2888 PLEASANT GROVE RD                                                                                   WESTMORELAND     TN      37186‐5286
ALBERT HASTINGS              G968 COUNTY ROAD 19                                                                                      HOLGATE          OH      43527‐9700
ALBERT HAUGH                 936 HOLLYHILL DR                                                                                         FORT WAYNE       IN      46819‐1439
ALBERT HAWKINS               4230 TRUMBULL AVE APT 1                                                                                  FLINT            MI      48504‐2100
ALBERT HAWKINS JR            4230 TRUMBULL AVE APT 1                                                                                  FLINT            MI      48504‐2100
ALBERT HAY                   1039 BLUEBELL LN                                                                                         DAVISON          MI      48423‐7906
ALBERT HAYNES JR             PO BOX 363                                                                                               SAGINAW          MI      48606‐0363
ALBERT HAYWARD               13115 HUBBARD LAKE RD                                                                                    HUBBARD LAKE     MI      49747‐9540
ALBERT HEADRICK              546 SNOWY RD                                                                                             LIVINGSTON       KY      40445‐8594
ALBERT HEATHCOCK             301 SAGE TREE CT                                                                                         LEXINGTON        SC      29073‐7421
ALBERT HEBELER JR            651 CHRISTIANA ST                                                                                        N TONAWANDA      NY      14120‐5607
ALBERT HEFTI                 1527 CLOVER LN                                                                                           JANESVILLE       WI      53545‐1370
ALBERT HEILIGER              4616 W SALISBURY DR                                                                                      GLADWIN          MI      48624‐8643
ALBERT HEIM                  7549 PINE ST                                                                                             TAYLOR           MI      48180‐2205
ALBERT HEINTZELMAN           211 JOLIET AVE                                                                                           HOUGHTON LAKE    MI      48629‐9158
ALBERT HELIN                 2215 BURNSIDE RD                                                                                         NORTH BRANCH     MI      48461‐9626
ALBERT HENDERSON             PO BOX 626                                                                                               MOUNT MORRIS     MI      48458‐0626
ALBERT HENDERSON             PO BOX 9566                                                                                              BOWLING GREEN    KY      42102‐9566
ALBERT HENDRICKS             8646 MEADOWVISTA DR                                                                                      INDIANAPOLIS     IN      46217‐5043
ALBERT HENN                  THE LAW OFFICES OF PETER G ANGELOS   100 NORTH CHARLES STREET     22ND FLOOR                             BALTIMORE        MD      21201

ALBERT HENRY                 7414 GLEN TERRA DR                                                                                       LANSING          MI      48917‐9639
ALBERT HERBORT               BEVAN & ASSOCIATES, LPA, INC.        6555 DEAN MEMORIAL PARKWAY                                          BOSTON HTS.      OH      44236
ALBERT HERMAN (506410)       ANGELOS PETER G LAW OFFICES OF       100 PENN SQUARE EAST , THE                                          PHILADELPHIA     PA      19107
                                                                  WANAMAKER BUILDING
ALBERT HERNANDEZ             424 LINDEN ST                                                                                            ELIZABETH         NJ     07201‐1013
ALBERT HERNANDEZ             5007 GLENROSE DR                                                                                         COLUMBIA          TN     38401‐4955
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Name                                    Address1                        Address2                     Address3   Address4                City               State   Zip
ALBERT HERRIN                           405 CHRISTOPHER CT SE                                                                           WINTER HAVEN        FL     33884‐1574
ALBERT HERRING                          5503 LAKEPOINTE ST                                                                              DETROIT             MI     48224‐3010
ALBERT HESS                             34735 E LAKE DR                                                                                 HARRISON TWP        MI     48045‐3328
ALBERT HESTER                           1210 SUMMIT OAKS DR W                                                                           JACKSONVILLE        FL     32221‐3236
ALBERT HEWITT                           3690 LAURIA RD                                                                                  BAY CITY            MI     48706‐1131
ALBERT HICKS                            1728 ALUM ROCK CT                                                                               MODESTO             CA     95358‐6729
ALBERT HILBRANDT JR                     306 GLENNHURST DR                                                                               ROSCOMMON           MI     48653‐9244
ALBERT HILDEN JR.                       820 NW 134TH ST                                                                                 SMITHVILLE          MO     64089‐8413
ALBERT HILL                             510 NELL ST SW                                                                                  DECATUR             AL     35601‐5636
ALBERT HILL                             3402 HOLLY AVE                                                                                  FLINT               MI     48506‐4714
ALBERT HILL JR                          4640 LONGMEADOW BLVD W                                                                          SAGINAW             MI     48603‐1031
ALBERT HINES                            1005 BARRINGTON DR                                                                              FLINT               MI     48503‐2915
ALBERT HINSENKAMP                       26342 BALLARD ST                                                                                SELFRIDGE ANGB      MI     48045‐2410
ALBERT HINTON                           11130 MICHELHAM DR APT L                                                                        SAINT LOUIS         MO     63136‐4692
ALBERT HINTZ                            32263 PARKER CIR                                                                                WARREN              MI     48088‐2972
ALBERT HIPKINS                          6755 SARANAC DR                                                                                 TRANSFER            PA     16154‐8959
ALBERT HIRSCH                           11350 ROBSON ST                                                                                 DETROIT             MI     48227‐2453
ALBERT HIVELY                           7536 OPOSSUM RUN RD                                                                             LONDON              OH     43140‐9436
ALBERT HLADISH                          1130 S 10TH ST                                                                                  SOUTH PLAINFIELD    NJ     07080‐1606
ALBERT HOFFMAN                          200 N OCCIDENTAL RD APT 13                                                                      TECUMSEH            MI     49286‐7705
ALBERT HOLBROOK                         96 CARMEL CT                                                                                    CENTERVILLE         OH     45458‐2339
ALBERT HOLDEN                           2601 N TATNALL ST                                                                               WILMINGTON          DE     19802‐3525
ALBERT HOLLICK                          PO BOX 360                                                                                      PERRYOPOLIS         PA     15473‐0360
ALBERT HOLMGREN JR                      2285 ATLAS RD                                                                                   DAVISON             MI     48423‐8300
ALBERT HONECK JR                        11124 BRISTOL RD                                                                                LENNON              MI     48449‐9448
ALBERT HORNER                           734 W CLINTON ST                                                                                NAPOLEON            OH     43545‐1449
ALBERT HOSCHNA                          8408 N WEBSTER RD                                                                               CLIO                MI     48420‐8553
ALBERT HOUGH                            3440 E COLBY RD                                                                                 STANTON             MI     48888‐9554
ALBERT HOWARD                           1013 HUNTINGTON DR                                                                              OWOSSO              MI     48867‐1909
ALBERT HOWARD                           BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                      BOSTON HTS.         OH     44236
ALBERT HOWE                             3026 SLATTERY RD                                                                                ATTICA              MI     48412‐9333
ALBERT HOY                              600 W HURON ST APT 824                                                                          ANN ARBOR           MI     48103‐4259
ALBERT HOYT                             19901 FAIRWAY AVE                                                                               MAPLE HEIGHTS       OH     44137‐1726
ALBERT HOYT                             3003 W ASHLAND AVE                                                                              MUNCIE              IN     47304‐3804
ALBERT HUDSON JR                        5074 LAKEWOOD DR                                                                                GRAND BLANC         MI     48439‐9332
ALBERT HUERECA                          109 S JOSEPHINE AVE                                                                             WATERFORD           MI     48328‐3813
ALBERT HUERTA                           14265 N GENESEE RD                                                                              CLIO                MI     48420‐9166
ALBERT HUGHES                           2303 S COURTLAND AVE                                                                            KOKOMO              IN     46902‐3348
ALBERT HULEUX                           RUE DE LA HAUTE FOLIE 54                                                7062 NAAST BELGIUM
ALBERT HUNDT                            9780 CHESANING RD                                                                               CHESANING          MI      48616‐9403
ALBERT HUNT                             11120 BEAR HOLLOW DRE                                                                           INDIANAPOLIS       IN      46229
ALBERT HUNT                             2724 MOHICAN AVE                                                                                DAYTON             OH      45429‐3737
ALBERT HUNTER                           1464 VANCOUVER DR                                                                               DAYTON             OH      45406‐4746
ALBERT HUNTER                           12090 M 40                                                                                      GOBLES             MI      49055‐8640
ALBERT HUNTER                           PO BOX 3834                                                                                     ARLINGTON          TX      76007‐3834
ALBERT HURD                             1576 FILMORE AVE                                                                                YOUNGSTOWN         OH      44505‐3916
ALBERT HURD                             BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                      BOSTON HTS.        OH      44236
ALBERT HUSKINS                          450 S FARLEY RD                                                                                 MUNGER             MI      48747‐9736
ALBERT I GLICK 9‐3‐93 REVOCABLE TRUST   ALBERT I GLICK, TRUSTEE         611 DARK STAR AVENUE                                            GAHANNA            OH      43230

ALBERT I PERRY JT TEN/WROS              LOUISE PERRY                    3645 MILLER ST                                                  WHEATRIDGE         CO      80033‐5660
ALBERT IANNITELLI                       12 MADDEN AVE                                                                                   MILFORD            MA      01757‐2318
ALBERT IDACAVAGE                        113 WOLF ROAD                                                                                   RINGTOWN           PA      17967
ALBERT IFRAH                            509 STARIN AVE                                                                                  BUFFALO            NY      14216‐2025
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Name                             Address1                         Address2                  Address3                    Address4                 City            State   Zip
ALBERT IGNACE                    9177 W GIERKE RD                                                                                                MANISTIQUE       MI     49854
ALBERT IMPERI                    167 FAIRFIELD AVE                                                                                               TONAWANDA        NY     14223‐2847
ALBERT IRELAN                    4856 NEWARK RD                                                                                                  ATTICA           MI     48412‐9619
ALBERT ISBELL                    2027 ASHTON                                                                                                     MUSCLE SHOALS    AL     35661‐4712
ALBERT ISON                      2642 STAT ROUTE 827                                                                                             GREENUP          KY     41144‐6856
ALBERT J AESSIE                  133 COLUMBIA DR                  SASKATOON                                             SK S7K 1E8 CANADA
ALBERT J BARNETT                 6323 WESTFORD ROAD                                                                                              TROTWOOD        OH      45426
ALBERT J BOISE JR                5870 JACKMAN RD                                                                                                 TOLEDO          OH      43613‐1755
ALBERT J BRENNER                 8901 STONEY POINT DR                                                                                            LAS VEGAS       NV      89134
ALBERT J BRODACK                 173 SHAFFER ROAD                                                                                                ROCKINGHAM      NC      28379
ALBERT J BRUGGEMAN               2383 APPLEBLOSSOM DR                                                                                            MIAMISBURG      OH      45342
ALBERT J CHESTNUT                2317 WICK‐CAMPBELL RD.                                                                                          HUBBARD         OH      44425‐3174
ALBERT J COOK, MD IN             6235 ENTERPRISE CT                                                                                              DUBLIN          OH      43016
ALBERT J EBNER                   97 SALEM RD                                                                                                     ROCHESTER       NY      14622‐2621
ALBERT J JOHNSON                 4208 LOGAN WAY                                                                                                  YOUNGSTOWN      OH      44505‐1742
ALBERT J JOHNSON                 5705 QUEEN MARY LN                                                                                              JACKSON         MS      39209‐2236
ALBERT J JURAFSKY                C/O AL JURAFSKY                  675 SAN MARTIN PL                                                              LOS ALTOS       CA      94024
ALBERT J KLOUDA                  832 HYDE SHAFFER ROAD                                                                                           BRISTOLVILLE    OH      44402
ALBERT J MASAITIS                993 S.ALBRIGHT‐MCKAY                                                                                            BROOKFIELD      OH      44403
ALBERT J MINETOLA                CGM ROTH IRA CUSTODIAN           1705 E CEDAR ST                                                                ALLENTOWN       PA      18109‐2311
ALBERT J MOGAVERO CH13 TRUSTEE   ACCT OF STEPHEN P BAICH          69 DELAWARE AVE RM 1006                                                        BUFFALO         NY      14202‐3805
ALBERT J MOGAVERO CHPT13 TRUST   ACCOUNT OF WILMA J PATTERSON     69 DELAWARE AVE RM 1006                                                        BUFFALO         NY      14202‐3805
ALBERT J MOGAVERO TRUSTEE        ACCOUNT OF ROBERT S JABLONSKI    110 PEARL ST 6TH FLOOR                                                         BUFFALO         NY      14202
ALBERT J MOGAVERO TRUSTEE        ACCT OF DENNIS OKEEFE            110 PEARL ST 6TH FLOOR                                                         BUFFALO         NY      14202
ALBERT J MOGAVERO TRUSTEE        110 PEARL ST 6TH FLR DUN BLDG                                                                                   BUFFALO         NY      14202
ALBERT J MOGAVERO TRUSTEE        WAGE ASSIGNMENT FOR ACCOUNT OF   69 DELAWARE AVE RM 1006   NORMAN A PERRY #88‐10636C                            BUFFALO         NY      14202‐3805

ALBERT J MUSSON                  205 E 5TH ST                                                                                                    TILTON          IL      61833‐7424
ALBERT J NEIBEL                  5749 HOLLEY‐BYRON RD                                                                                            BYRON           NY      14422‐9803
ALBERT J NOONAN                  20 FARVIEW AVE FL 2                                                                                             DANBURY         CT      06810‐5533
ALBERT J NORRIS                  197 EAST CASTLE VIEW DRIVE                                                                                      BRASELTON       GA      30517‐2392
ALBERT J O'CONNELL               4821 WESTCHESTER DR. #207                                                                                       AUSTINTOWN      OH      44515‐‐ 25
ALBERT J PARTIDA                 1803 WILENE DR.                                                                                                 BEAVERCREEK     OH      45432
ALBERT J RENCHKO                 1476 JUDY LANE                                                                                                  MONROEVILLE     PA      15146‐3927
ALBERT J SIDISKY                 1023 W CHEST ST                                                                                                 COALTWP         PA      17866
ALBERT J TORRELLI                332 LONG POND RD                                                                                                ROCHESTER       NY      14612‐1602
ALBERT J TRAWEEK                 14960 HARLESS RD                                                                                                NORTHPORT       AL      35475‐4127
ALBERT J VANDERPOOL              P. O. BOX 186                                                                                                   HILLSBORO       OH      45133‐0186
ALBERT J VIANELLO                51 CORAL WAY                                                                                                    CANFIELD        OH      44406
ALBERT J WOLFF                   220 S MATHILDA ST                                                                                               PITTSBURGH      PA      15224‐1605
ALBERT JABLONSKI                 10339 BUSCH RD R #1                                                                                             BIRCH RUN       MI      48415
ALBERT JACKSON                   3995 S WASHINGTON RD                                                                                            SAGINAW         MI      48601‐5158
ALBERT JACKSON                   744 E MARENGO AVE                                                                                               FLINT           MI      48505‐3543
ALBERT JACKSON                   3414 DOLFIELD AVE.                                                                                              BALTIMORE       MD      21215
ALBERT JACKSON                   3823 WOODMERE LN                                                                                                KALAMAZOO       MI      49048‐9445
ALBERT JACKSON JR                PO BOX 937                                                                                                      ROUND LAKE      IL      60073‐0606
ALBERT JACOBS                    1325 N THOMPSONVILLE RD                                                                                         BEULAH          MI      49617‐9757
ALBERT JAMES                     1937 ECKLEY AVE                  C/O DORETHA BREED                                                              FLINT           MI      48503‐4527
ALBERT JAMES                     3901 BLANKS ST                                                                                                  MONROE          LA      71203‐4405
ALBERT JAMES                     13170 CUMBERLAND CT                                                                                             BELLEVILLE      MI      48111‐2386
ALBERT JAMES W                   6376 JORDAN RD                                                                                                  LEWISBURG       OH      45338‐7758
ALBERT JAMES WADE                C/O MOTLEY RICE LLC              28 BRIDGESIDE BLVD        PO BOX 1792                                          MT PLEASANT     SC      29465
ALBERT JANKE JR                  10 MAIDENBUSH CT W                                                                                              HOMOSASSA       FL      34446‐4417
ALBERT JANNI                     2323 MONTANA AVE                                                                                                SAGINAW         MI      48601‐5320
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Name                    Address1                        Address2                     Address3            Address4               City              State   Zip
ALBERT JARMAN           APT 49                          4100 40TH STREET                                                        MERIDIAN           MS     39305‐3525
ALBERT JAY              ALBERT, JAY                     10000 LINCOLN DR E STE 201                                              MARLTON            NJ     08053‐3105
ALBERT JAZWINSKI        4541 RICKOVER CT                                                                                        NEW PORT RICHEY    FL     34652‐3172
ALBERT JENKINS          1465 CROSSWIND CT                                                                                       WOOSTER            OH     44691‐7269
ALBERT JENKINS          5378 NESTEL RD E                                                                                        SAINT HELEN        MI     48656‐9568
ALBERT JENKINS          BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                              BOSTON HTS.        OH     44236
ALBERT JENNINGS         123 NEIGHBORLY WAY                                                                                      MURPHY             NC     28906‐7658
ALBERT JENNINGS         3115 FULTON ST                                                                                          SAGINAW            MI     48601‐3174
ALBERT JIMENEZ          818 N BYFIELD ST                                                                                        WESTLAND           MI     48185‐8501
ALBERT JOHNSON          9112 GEORGIA BELLE DR                                                                                   PERRY HALL         MD     21128‐9776
ALBERT JOHNSON          10500 CRYSTAL CREEK DR                                                                                  MUSTANG            OK     73064‐9381
ALBERT JOHNSON          848 HURON AVE                                                                                           DAYTON             OH     45402‐5324
ALBERT JOHNSON          6406 ALPINE RD                                                                                          REX                GA     30273‐1820
ALBERT JOHNSON          2500 CHANDLER DR                                                                                        VALDOSTA           GA     31602‐5728
ALBERT JOHNSON          2201 MONTGOMERY ST                                                                                      SAGINAW            MI     48601‐4178
ALBERT JOHNSON          512 W WITHERBEE ST                                                                                      FLINT              MI     48503‐5133
ALBERT JOHNSON          422 S JACKSON ST                                                                                        CRYSTAL SPRINGS    MS     39059‐3202
ALBERT JOHNSON          25685 PINE VIEW AVE                                                                                     WARREN             MI     48091‐3890
ALBERT JOHNSON          BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                              BOSTON HTS.        OH     44236
ALBERT JOHNSON I I I    2848 BEGOLE ST                                                                                          FLINT              MI     48504‐3038
ALBERT JOHNSON III      9134 COLEMAN RD                                                                                         BARKER             NY     14012‐9549
ALBERT JOHNSON JR       6035 WOODSIDE DR                                                                                        INDIANAPOLIS       IN     46228‐1265
ALBERT JOHNSON JR       PO BOX 3307                                                                                             LEXINGTON          OH     44904‐0307
ALBERT JONES            1715 PHILADELPHIA DR                                                                                    DAYTON             OH     45406‐4012
ALBERT JONES            1998 FLAT ROCK RD                                                                                       STOCKBRIDGE        GA     30281‐2039
ALBERT JONES            6460 N JENNINGS RD                                                                                      MOUNT MORRIS       MI     48458‐9317
ALBERT JONES            7667 WESTLAKE RD                                                                                        BELLEVUE           MI     49021‐7202
ALBERT JONES            900 W LAKE RD APT C319                                                                                  PALM HARBOR        FL     34684‐3195
ALBERT JONES JR         268 SOUTH BLVD W                                                                                        PONTIAC            MI     48341‐2460
ALBERT JONIKAS          6340 AMERICANA DR APT 502                                                                               WILLOWBROOK         IL    60527‐2246
ALBERT JORDAN           12333 S LA SALLE ST                                                                                     CHICAGO             IL    60628‐6804
ALBERT JORDAN           PO BOX 194                                                                                              RANSOMVILLE        NY     14131‐0194
ALBERT JOSEPH STADUL    BARON & BUDD PC                 THE CENTRUM SUITE 1100       3102 OAK LAWN AVE                          DALLAS             TX     75219‐4281
ALBERT JOZWIAK          1110 N GENESEE RD                                                                                       BURTON             MI     48509‐1435
ALBERT JR, OCIE         29716 MATTHEW ST                                                                                        WESTLAND           MI     48186
ALBERT JR, WILSON       18466 BURT RD                                                                                           DETROIT            MI     48219‐2469
ALBERT JR., DONALD M    2909 CUSTER ORANGEVILLE RD NE                                                                           BURGHILL           OH     44404‐9708
ALBERT JULIAS           810 MASON AVE LOT 40                                                                                    DAYTONA BEACH      FL     32117‐4748
ALBERT JURICH           874 CENTRAL ST                                                                                          DETROIT            MI     48209‐1902
ALBERT JURIS            4414 LONGWOOD AVE                                                                                       PARMA              OH     44134‐3816
ALBERT JUSTICE          RT 268 BOX 175                                                                                          INEZ               KY     41224
ALBERT JUSTICE          20 FITCH BR                                                                                             INEZ               KY     41224
ALBERT K MYERS          6188 THORNCLIFF DR                                                                                      SWARTZ CREEK       MI     48473‐8820
ALBERT KABELMAN         114 N ELBA RD                                                                                           LAPEER             MI     48446‐8007
ALBERT KAHN ASSOC INC   ATTN: STEPHEN Q WHITNEY         THE ALBERT KAHN BUILDING                                                DETROIT            MI     48202
ALBERT KAMMER JR        210 N PARKER ST                                                                                         MARINE CITY        MI     48039‐1556
ALBERT KARALIS          1282 CARNATION LN                                                                                       MONTPELIER         OH     43543‐1724
ALBERT KARRAM           2412 STOCKBRIDGE ST                                                                                     BURTON             MI     48509‐1150
ALBERT KASZAS           1333 BALDWIN RD                                                                                         YORKTOWN HTS       NY     10598‐5820
ALBERT KATH             2033 S JACKSON ST                                                                                       JANESVILLE         WI     53546‐3228
ALBERT KATZENBERGER     6528 WESTON OAKS DR                                                                                     CEDAR HILL         MO     63016‐2254
ALBERT KAUFMAN JR       30 E ARIZONA                                                                                            BELLEVILLE         MI     48111‐9024
ALBERT KELBY            37894‐SR7N                                                                                              DOVER              AR     72837
ALBERT KELLEY JR        3237 BRISBANE DR                                                                                        LANSING            MI     48911‐1309
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ALBERT KELLY           1223 ZEBLEY RD                                                                                         GARNET VALLEY       PA     19061‐1514
ALBERT KELLY           1492 YALE DR                                                                                           BRUNSWICK           OH     44212‐3545
ALBERT KELUSH          1360 N SEYMOUR RD                                                                                      FLUSHING            MI     48433‐9453
ALBERT KEMPF           4791 ATTICA ROAD                                                                                       ATTICA              MI     48412‐9701
ALBERT KENEL           3294 W BEAR LAKE RD NE                                                                                 KALKASKA            MI     49646‐9044
ALBERT KENNEDY         51693 ADLER PARK DR W                                                                                  CHESTERFIELD        MI     48051‐2337
ALBERT KENNEY          7610 PARDEE RD                                                                                         TAYLOR              MI     48180‐2388
ALBERT KERN            9226 MARTZ RD                                                                                          YPSILANTI           MI     48197‐9732
ALBERT KIENUTSKE JR    PO BOX 389                                                                                             NASHVILLE           MI     49073‐0389
ALBERT KIIFNER         3232 LAPIDARY LN                                                                                       JANESVILLE          WI     53548‐9230
ALBERT KIMMEL          24840 CHERRY ST                                                                                        DEARBORN            MI     48124‐4471
ALBERT KIMMEL          BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                             BOSTON HTS.         OH     44236
ALBERT KING            2115 DAVIS AVENUE SOUTH                                                                                RENTON              WA     98055
ALBERT KING            5839 SEAMAN RD                                                                                         OREGON              OH     43616‐4217
ALBERT KIRSCHMAN JR.   18 GARDNER PL                                                                                          PARLIN              NJ     08859‐1606
ALBERT KITE            225 WINDING STREAM TRL                                                                                 HAMPTON             GA     30228‐2020
ALBERT KLEIN           1458 AMY ST                                                                                            BURTON              MI     48509‐1802
ALBERT KLEMISH JR      911 N BANGOR ST                                                                                        BAY CITY            MI     48706‐3909
ALBERT KLEVE           7033 INDIAN RESERVE RD                                                                                 ALPENA              MI     49707‐9210
ALBERT KLOOCK          6293 MIDDLEBROOK BLVD                                                                                  BROOK PARK          OH     44142‐3841
ALBERT KLOSIAK         37 LILLIS LN                                                                                           WEST SENECA         NY     14224‐2569
ALBERT KLOSSNER SR     1616 KIRKWOOD DR                                                                                       MURRAY              KY     42071‐2829
ALBERT KLUG            1380 9 3/4 TH ST                                                                                       POSKIN              WI     54812
ALBERT KNACK           5564 ELLISON RD                                                                                        STERLING            MI     48659‐9742
ALBERT KNOPP           7711 MILLIKIN RD                                                                                       LIBERTY TOWNSHIP    OH     45044‐9407

ALBERT KOCH            14837 DIAGONAL RD                                                                                      LAGRANGE           OH      44050‐9528
ALBERT KOPTA           6348 S CHAPIN RD                                                                                       SAINT CHARLES      MI      48655‐9795
ALBERT KORNOVICH       8935 S WOOD CREEK DR APT 210                                                                           OAK CREEK          WI      53154‐8607
ALBERT KORTING         6281 ALEXANDRA ST                                                                                      SAGINAW            MI      48603‐4240
ALBERT KOSS            109 MEADE ST                                                                                           CATLIN             IL      61817‐9606
ALBERT KOSTER          3746 ATWOOD RD                                                                                         STONE RIDGE        NY      12484‐5456
ALBERT KOTEY           1808 DODGE TRL                                                                                         EDMOND             OK      73003‐6332
ALBERT KOVACH          6424 TARA DR                                                                                           POLAND             OH      44514‐5607
ALBERT KOVOLSKI        700 SHERMAN OAKS DR                                                                                    LUDINGTON          MI      49431
ALBERT KRAGE           3070 LUDWIG ST                                                                                         BURTON             MI      48529‐1038
ALBERT KRAKOSKY        31318 ROSENBUSCH DR                                                                                    WARREN             MI      48088‐2034
ALBERT KRALIK          23180 LAUREN AVE                                                                                       WARREN             MI      48089‐4461
ALBERT KRAMP           6124 GODFREY RD                                                                                        BURT               NY      14028‐9756
ALBERT KRAMPITZ        166 BUTTERFIELD HILL EXT                                                                               PERKINSVILLE       VT      05151‐9513
ALBERT KRANTZ          5 HOOK RD                                                                                              LEVITTOWN          PA      19056‐1126
ALBERT KRICHER         5410 S BRENNAN RD                                                                                      HEMLOCK            MI      48626‐9739
ALBERT KRISPINSKY      1878 SALT SPRINGS RD                                                                                   WARREN             OH      44481‐9787
ALBERT KUEHL           20107 CUMBERLAND CT                                                                                    BROWNSTOWN TWP     MI      48183‐5056

ALBERT KUKUK           3195 F RD TRLR 33                                                                                      GRAND JUNCTION      CO     81504‐4038
ALBERT KUNKEL          HOEFERWEG 33                                                                   KARBEN 61184 GERMANY
ALBERT KUNKEL          H╓FERWEG 33                                                                                            KARBEN             DE      61184
ALBERT KURIMSKY        416 JEFFERSON AVENUE                                                                                   LAURENCE HBR       NJ      08879‐2864
ALBERT KUSTRA          2722 CLEVELAND ST                                                                                      MCKEESPORT         PA      15132‐5725
ALBERT KYDD            120 NASH CT                                                                                            MOORESVILLE        NC      28115‐9076
ALBERT L BAKER JR      6330 RANGEVIEW DR                                                                                      DAYTON             OH      45415‐1928
ALBERT L BELSOLE       2460 FLORENCE HWY                                                                                      SUMTER             SC      29153
ALBERT L BOWENS        NIX PATTERSON & ROACH LLP       GM BANKRUPTCY DEPARTMENT     205 LINDA DRIVE                           DAINGERFIELD       TX      75638
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ALBERT L BURDICK       4232 COUNTY ROAD 18                                                                                                       CANANDAIGUA        NY     14424
ALBERT L BURDICK       4232 COUNTY RD 18                                                                                                         CANANDAGUIA        NY     14424
ALBERT L CLARK JR      451 LORENZ AVE                                                                                                            DAYTON             OH     45417‐2339
ALBERT L COMER         10774 CHBG‐JACKSON ROAD                                                                                                   ST PARIS           OH     43072
ALBERT L DORGAN        ATTN: ROBERT W PHILLIPS                SIMMONS BROWDER GIANARIS     707 BERKSHIRE BLVD, PO BOX                            EAST ALTON          IL    62024
                                                              ANGELIDES & BARNERD LLC      521
ALBERT L GILMAN        168 GATES GREECE T L RD                                                                                                   ROCHESTER          NY     14606‐3466
ALBERT L GOODING       281 NEBRASKA AVE                                                                                                          PONTIAC            MI     48341‐2851
ALBERT L HEBELER JR    651 CHRISTIANA ST                                                                                                         N TONAWANDA        NY     14120‐5607
ALBERT L HOUGH         3440 E COLBY RD                                                                                                           STANTON            MI     48888‐9554
ALBERT L JONES         C/O WILLIAMDS KHERKHER HART &          8441 GULF FREEWAY, STE 600                                                         HOUSTON            TX     77007
                       BOUNDAS, LLP
ALBERT L JONES         1715 PHILADELPHIA DR                                                                                                      DAYTON            OH      45406‐4012
ALBERT L LAFAVE SR     12146 E CARPENTER RD                                                                                                      DAVISON           MI      48423‐9361
ALBERT L LAFAVE, SR.   12146 E CARPENTER RD                                                                                                      DAVISON           MI      48423‐9361
ALBERT L LEWIS         3290 WESTHEIMER ROAD                                                                                                      STONE MOUNTAIN    GA      30087
ALBERT L MANCUSO       ATTN: ROBERT W PHILLIPS                SIMMONS BROWDER GIANARIS     707 BERKSHIRE BLVD, PO BOX                            EAST ALTON        IL      62024
                                                              ANGELIDES & BARNERD LLC      521
ALBERT L MIDDLETON     6214 WHITESTONE RD                                                                                                        JACKSON           MS      39206‐2311
ALBERT L MOORE JR      1149 TOD AVE SW                                                                                                           WARREN            OH      44485‐3806
ALBERT L ROTUNNO       759 VALLEY VIEW DR                                                                                                        BROOKFIELD        OH      44403‐9651
ALBERT L SAYLES        4221 MAPLEVIEW DR                                                                                                         DAYTON            OH      45432‐1827
ALBERT L SCHAAF SR     7887 COOK‐JONES RD.                                                                                                       WAYNESVILLE       OH      45068
ALBERT L SMITH         1086 PERKINS JONES RD NE                                                                                                  WARREN            OH      44483‐1802
ALBERT L WILLIAMS      421 SANDHURST DR                                                                                                          DAYTON            OH      45405
ALBERT L. BURDICK      4232 COUNTY ROAD 18                                                                                                       CANANDAIGUA       NY      14424
ALBERT LA PERRIERE     W8868 N POINT LN                                                                                                          ELCHO             WI      54428‐9786
ALBERT LABEAN          14308 S HUDSON AVE                                                                                                        OKLAHOMA CITY     OK      73170‐7243
ALBERT LADD            5784 OLDTOWN ST                                                                                                           DETROIT           MI      48224‐2027
ALBERT LAFAVE SR.      12146 E CARPENTER RD                                                                                                      DAVISON           MI      48423‐9361
ALBERT LAFRENAIS JR    143 BLACK PLAIN RD                                                                                                        N SMITHFIELD      RI      02896‐8002
ALBERT LAGOE JR        1946 RAINBOW DR                                                                                                           ROCHESTER HILLS   MI      48306‐3242
ALBERT LAI             1605 LAUZON RD                                                                                   WINDSOR ON CANADA N8S‐
                                                                                                                        3N4
ALBERT LAMB            PO BOX 310591                                                                                                             FLINT             MI      48531‐0591
ALBERT LAMBING         1822 ROBERT LANE NE                    APT #110                                                                           WARREN            OH      44483
ALBERT LAMOUREUX       252 HARRINGTON ST                                                                                                         EAST BROOKFIELD   MA      01515‐1713
ALBERT LAMPE           5323 VORTEX DR                                                                                                            SAINT LOUIS       MO      63129‐3119
ALBERT LANATA          16805 VENTANA BLVD                                                                                                        EDMOND            OK      73012‐8991
ALBERT LANDA PT, PC    55 8TH AVE STE 1                                                                                                          BROOKLYN          NY      11217‐3985
ALBERT LANDINGIN       C/O LEVIN SIMES KAISER AND GORNICK LLP ATTN JEFFREY KAISER          44 MONTGOMERY ST 36TH FL                              SAN FRANCISCO     CA      94104

ALBERT LANDINO         LOT 74                                 1509 FREDERICK ROAD                                                                OPELIKA           AL      36801‐7236
ALBERT LANGSHAW        2031 BENTWOOD COURT                                                                                                       WILMINGTON        DE      19804‐3937
ALBERT LANNIGAN        280 WALDEN WAY APT 338                                                                                                    DAYTON            OH      45440‐4404
ALBERT LAPE            3184 RIDER RD                                                                                                             LUCAS             OH      44843‐9751
ALBERT LARGE           PO BOX 453                                                                                                                GEORGETOWN        OH      45121
ALBERT LARIVIERE JR    PO BOX 387                                                                                                                SLATERSVILLE      RI      02876‐0387
ALBERT LARKIN          5909 LOCUST STREET EXT                                                                                                    LOCKPORT          NY      14094‐6509
ALBERT LARSON          1388 E PALOMAR ST APT 61                                                                                                  CHULA VISTA       CA      91913‐1899
ALBERT LAUCIUS         415 4TH AVE                                                                                                               GARWOOD           NJ      07027‐1008
ALBERT LAUREY          PO BOX 2185                                                                                                               LAKE ARROWHEAD    CA      92352‐2185
ALBERT LAUX            920 W WILLOW RUN CT                                                                                                       MOORESVILLE       IN      46158‐8782
ALBERT LAUZON          1268 OLD HIGHWAY 99                                                                                                       COLUMBIA          TN      38401‐7732
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ALBERT LAZAUSKAS           92 RAMBLER ST                                                                                           BRISTOL           CT     06010‐3213
ALBERT LE MARBLE           PO BOX 795                                                                                              MOUNT MORRIS      MI     48458‐0795
ALBERT LEACH               3334 S SCALES RD                                                                                        SUWANEE           GA     30024
ALBERT LEDFORD             PO BOX 621                                                                                              BOGATA            TX     75417‐0621
ALBERT LEE                 19547 MERRIMAN RD                                                                                       LIVONIA           MI     48152‐1756
ALBERT LEE                 PO BOX 727                                                                                              BUFFALO           NY     14205‐0727
ALBERT LEE                 3640 WOODMAN DR                                                                                         FLORISSANT        MO     63031‐1160
ALBERT LEE                 3649 BROWN AVE                                                                                          OAKLAND           CA     94619‐1403
ALBERT LEE                 BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                              BOSTON HTS.       OH     44236
ALBERT LEE JR              6161 BENSCH CT                                                                                          ALGER             MI     48610‐8501
ALBERT LEIBY               845 GAYLORD GROVE RD                                                                                    CUYAHOGA FLS      OH     44221‐2905
ALBERT LEMMERT             211 COTTONWOOD BND NW                                                                                   CLEVELAND         TN     37312‐1743
ALBERT LENTINE             5813 BERKSHIRE COURT                                                                                    DUBLIN            OH     43017‐9271
ALBERT LEONARD ALLDREDGE   FOSTER & SEAR, LLP              817 GREENVIEW DRIVE                                                     GRAND PRAIRIE     TX     75052
ALBERT LEONARD ALLDREDGE   C/O FOSTER & SEAR, LLP          817 GREENVIEW DRIVE                                                     GRAND PRAIRIE     TX     75050
ALBERT LEONARD JR          215 BAIRD ST                                                                                            ROCHESTER         NY     14621‐‐ 26
ALBERT LEPINSKI            26 HARTFORD RD                                                                                          WHITING           NJ     08759‐2215
ALBERT LESCH               305 W 8TH ST                                                                                            SALEM             OH     44460‐1505
ALBERT LESS JR             2324 GROVE PARK RD                                                                                      FENTON            MI     48430‐1442
ALBERT LETOURNEAU          50666 W 9 MILE RD                                                                                       NOVI              MI     48374‐3312
ALBERT LEVEN               1880 S WAVERLY RD                                                                                       EATON RAPIDS      MI     48827‐8721
ALBERT LEWICKI             48715 CENTRAL PARK DR                                                                                   CANTON            MI     48188‐1494
ALBERT LEWIS               11835 BELL BAY RD                                                                                       PRESQUE ISLE      MI     49777‐8458
ALBERT LEWIS               1085 E OUTER DR                                                                                         SAGINAW           MI     48601‐5219
ALBERT LEWIS               19723 BURRIS RD                                                                                         HOLT              MO     64048‐8869
ALBERT LEWIS               3290 WESTHEIMER RD                                                                                      STONE MOUNTAIN    GA     30087‐4429
ALBERT LEWIS JR            BARON & BUDD PC                 THE CENTRUM SUITE 1100       3102 OAK LAWN AVE                          DALLAS            TX     75219‐4281
ALBERT LIGHTHALL           10 SABAL PALM DR                                                                                        LARGO             FL     33770‐7406
ALBERT LILLEY              115 MARSH PL N                                                                                          ST AUGUSTINE      FL     32080‐6424
ALBERT LIMA                PO BOX 456                                                                                              MILTON            WI     53563‐0456
ALBERT LINCOLN             80 TUSCULUM ROAD                                                                                        ANTIOCH           TN     37013‐3663
ALBERT LINDSAY BROOKE II   1087 WILLIAM ST                                                                                         PLYMOUTH          MI     48170‐1117
ALBERT LINDSELL            6058 WINCHESTER ST                                                                                      BELLEVILLE        MI     48111
ALBERT LINK                6263 E COLDWATER RD                                                                                     FLINT             MI     48506‐1211
ALBERT LINVILLE            1056 E CENTRAL AVE                                                                                      MIAMISBURG        OH     45342‐2556
ALBERT LIPSCOMB            5206 SANTA BARBARA AVE                                                                                  SPARKS            NV     89436‐3602
ALBERT LIPTAK              67 CORAL BELL HOLW                                                                                      TOMS RIVER        NJ     08755‐3216
ALBERT LITTLE JR           6231 W WASHINGTON ST                                                                                    INDIANAPOLIS      IN     46241‐3117
ALBERT LITTRELL            1409 29TH ST APT B                                                                                      NICEVILLE         FL     32578‐2743
ALBERT LITZAU              4009 ISSACS RD                                                                                          MIDDLE RIVER      MD     21220‐2335
ALBERT LIZARRAGA           2007 CHRISMAN TRL                                                                                       MANSFIELD         TX     76063‐5138
ALBERT LO MONACO           409 MARBLEHEAD DR                                                                                       ROCHESTER         NY     14615‐1137
ALBERT LOEFFLER            2157 ALBON RD                                                                                           HOLLAND           OH     43528‐9617
ALBERT LOGAN               426 MADISON ST                                                                                          BUFFALO           NY     14212‐1042
ALBERT LONG                5448 INDEPENDENCE COLONY RD                                                                             GRAND BLANC       MI     48439‐9113
ALBERT LORELLO             2601 BLACK OAK DR                                                                                       NILES             OH     44446‐4456
ALBERT LORENCE             2412 CHERYL ANN DR                                                                                      BURTON            MI     48519‐1362
ALBERT LOSTUTTER           306 WILLIAM CLARK DR                                                                                    O FALLON          MO     63368‐8394
ALBERT LOVETT              17650 BROWNSFERRY RD                                                                                    ATHENS            AL     35611‐6115
ALBERT LOWERY              20 JACK THOMAS CT                                                                                       HARTSELLE         AL     35640‐5357
ALBERT LOZIER              C/O FRANCINE GALDOS             13791 58TH CT N                                                         ROYAL PLM BCH     FL     33411‐8340
ALBERT LUCERO              21 LOS CASTILLOS                                                                                        BERNALILLO        NM     87004‐5900
ALBERT LUDWIG              4740 BENTON ST                                                                                          LAKE WALES        FL     33859‐8610
ALBERT LUEKE JR            12760 GENESEE ST                                                                                        ALDEN             NY     14004‐9638
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Name                                     Address1                              Address2                         Address3   Address4               City             State Zip
ALBERT LYMBERRY                          355 MORNINGSIDE DR                                                                                       SAN ANTONIO       TX 78209‐2801
ALBERT M FEIFFER, LYNN FEIFFER, ROBERT   10250 COLLINS AVE #406                                                                                   BAL HARBOR        FL 33154
FEIFFER
ALBERT M PASCENTE                        65 ATWOOD DRIVE                                                                                          ROCHESTER        NY    14606‐4564
ALBERT M PEEL                            12542 N HOLLY RD                                                                                         HOLLY            MI    48442‐9510
ALBERT M TAYLOR                          C/O WILLIAMS KHERKHER HART &          8441 GULF FREEWAY STE 600                                          HOUSTON          TX    77007
                                         BOUNDAS LLP
ALBERT M VACCARO                         4376 CORSO VENETIE BLVD                                                                                  VENICE            FL   34293
ALBERT M WILLIAMS                        C/O WILLIAMS KHERKHER HART &          8441 GULF FREEWAY STE 600                                          HOUSTON           TX   77007
                                         BOUNDAS LLP
ALBERT MADDOCK                           8159 BALDWIN RD                                                                                          SWARTZ CREEK     MI    48473‐9128
ALBERT MAGEE                             122 KATE TRAVIS DR                                                                                       PETAL            MS    39465‐9265
ALBERT MAISTO AND MARY JEAN MAISTO       1810 OUTLOOK DR                                                                                          VERONA           PA    15147

ALBERT MAJEWSKI                          10208 W PAMONDEHO CIR                                                                                    CRYSTAL RIVER    FL    34428‐9417
ALBERT MAKUCH                            6917 HUBBARD HILLS DR                                                                                    CLARKSTON        MI    48348‐2883
ALBERT MALEK JR                          6420 HUBBARDSTON RD                                                                                      HUBBARDSTON      MI    48845‐9702
ALBERT MALENFANT                         7472 CEDAR LAKE RD                                                                                       OSCODA           MI    48750‐9449
ALBERT MALONEY                           PO BOX 1124                                                                                              LOCKPORT         NY    14095‐1124
ALBERT MANCINO                           2444 W ERIC DR                                                                                           WILMINGTON       DE    19808‐4250
ALBERT MANNS                             2120 PENNSYLVANIA AVE                                                                                    WEST MIFFLIN     PA    15122‐3631
ALBERT MANSFIELD                         211 OLIVER ST                                                                                            PONTIAC          MI    48342‐1555
ALBERT MARCUM                            9934 PLEASANT LAKE BLVD APT T319                                                                         PARMA            OH    44130‐7479
ALBERT MARKS                             BEVAN & ASSOCIATES LPA INC            6555 DEAN MEMORIAL PARKWAY                                         BOSTON HTS       OH    44236
ALBERT MARRONE                           65 MIDDLE HILL RD                                                                                        COLONIA          NJ    07067‐4119
ALBERT MARSHALL                          5436 MOUNT OLIVE ROAD                                                                                    POLK CITY        FL    33868‐9074
ALBERT MARTIN                            1317 ELDORADO DR                                                                                         FLINT            MI    48504‐3238
ALBERT MARTIN                            3 LIGHTHOUSE POINTE                                                                                      FENTON           MI    48430
ALBERT MARTIN                            1095 GRACE RD                                                                                            FRANKFORT        MI    49635‐9438
ALBERT MARTIN                            2842 GOODWILL RD                                                                                         MINDEN           LA    71055‐7111
ALBERT MARTIN JR                         W18039 WOLFE RD                                                                                          GERMFASK         MI    49836‐9215
ALBERT MARTINEZ                          41288 ELLEN ST                                                                                           FREMONT          CA    94538‐3389
ALBERT MARTINI                           8769 SOUTH ST SE                                                                                         WARREN           OH    44484‐2333
ALBERT MARTINI                           8769 SOUTH ST SE                                                                                         WARREN           OH    44484‐2333
ALBERT MASAITIS                          993 ALBRIGHT MCKAY RD SE                                                                                 BROOKFIELD       OH    44403‐9772
ALBERT MASON                             25109 THORNRIDGE DR                                                                                      GRAND BLANC      MI    48439‐9277
ALBERT MASSEY                            13225 N FOUNTAIN HILLS BLVD APT 208                                                                      FOUNTAIN HILLS   AZ    85268‐3835

ALBERT MATAS                             1476 VIENNA RD                                                                                           NILES            OH    44446‐3531
ALBERT MATTIS                            1753 NW 36TH CT                                                                                          OAKLAND PARK     FL    33309‐5813
ALBERT MATTUCCI SR                       5919 BEATTIE AVE                                                                                         LOCKPORT         NY    14094‐6629
ALBERT MATTY                             1308 4TH ST                                                                                              MONONGAHELA      PA    15063‐1960
ALBERT MAXWELL                           2882 PULLIAM MILL RD NW                                                                                  DEWY ROSE        GA    30634‐2219
ALBERT MAXWELL                           APT 323                               182 SOUTH COUNTY ROAD 550 EAST                                     AVON             IN    46123‐7060
ALBERT MAY                               1044 LAND HBR                                                                                            NEWLAND          NC    28657‐7901
ALBERT MC ALLISTER                       122 N BON AIR AVE                                                                                        YOUNGSTOWN       OH    44509‐2018
ALBERT MC CLESE                          14865 SNOWDEN ST                                                                                         DETROIT          MI    48227‐3645
ALBERT MC COY                            66 VICTORY DR                                                                                            PONTIAC          MI    48342‐2560
ALBERT MC ELWAIN JR                      7278 HODGSON RD                                                                                          MENTOR           OH    44060‐4641
ALBERT MC GLORY                          223 PETERMAN ST                                                                                          MARKSVILLE       LA    71351‐2361
ALBERT MC GRAIN                          3603 SHORELINE DR                                                                                        LIVONIA          NY    14487‐9645
ALBERT MC GRAW                           4939 CHESTNUT RD                                                                                         NEWFANE          NY    14108‐9620
ALBERT MC KAY                            2710 WHITNEY AVE                                                                                         NIAGARA FALLS    NY    14301‐1432
ALBERT MC KEE                            3000 E B AVE                                                                                             PLAINWELL        MI    49080‐9602
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Name                                Address1                         Address2                        Address3   Address4                 City             State   Zip
ALBERT MC KOWN                      277 SHERWOOD DR                                                                                      LEXINGTON         OH     44904‐1048
ALBERT MC NAIR                      1811 BRANDON AVE                                                                                     POLAND            OH     44514‐1206
ALBERT MCCALIPS                     1975 BIG RIDGE RD                                                                                    LEWISTOWN         PA     17044‐8257
ALBERT MCCLENDON                    509 W 46TH AVE                                                                                       PINE BLUFF        AR     71603‐7133
ALBERT MCCORMICK                    4052 HIGHWAY 9 N                                                                                     CAMP              AR     72520‐9599
ALBERT MCCOY                        14610 ALDER AVE                                                                                      E CLEVELAND       OH     44112‐2630
ALBERT MCCREERY                     502 WOOD ST                                                                                          GREENFIELD        IN     46140‐1667
ALBERT MCDONALD                     145 EATON WOODS DR                                                                                   CHARLOTTE         MI     48813‐9777
ALBERT MCGOWAN                      PO BOX 96                                                                                            WEBBERVILLE       MI     48892‐0096
ALBERT MCGUE                        1194 E DECAMP ST                                                                                     BURTON            MI     48529‐1106
ALBERT MCHENRY JR                   5567 LAVACA RD                                                                                       GRAND PRAIRIE     TX     75052‐8565
ALBERT MECHLING JR                  10775 EAST V W AVENUE                                                                                VICKSBURG         MI     49097
ALBERT MEDINA                       557 CAMPBELL ST                                                                                      KANSAS CITY       MO     64106‐1275
ALBERT MEDINA AND KIMBERLY MEDINA   THE FERRARO LAW FIRM PA          4000 PONCE DE LEON BLVD SUITE                                       MIAMI             FL     33146
                                                                     700
ALBERT MEKKES                       5450 ROCKBLUFF DR NE                                                                                 COMSTOCK PARK    MI      49321‐9507
ALBERT MELHINCH                     613 W RIVER RD N                                                                                     ELYRIA           OH      44035‐4913
ALBERT MELHINCH                     BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                                          BOSTON HEIGHTS   OH      44236
ALBERT MENARD JR                    30 GLENWOOD AVE                                                                                      SOUTHBRIDGE      MA      01550‐1114
ALBERT MERKLE                       3575 ASHFORD BLVD                                                                                    NEW HAVEN        IN      46774‐2741
ALBERT MESSER JR                    C/O BEVAN & ASSOCIATES LPA INC   6555 DEAN MEMORIAL PARKWAY                                          BOSTON HTS       OH      44236
ALBERT METZ                         165 BENTWILLOW DR                                                                                    NILES            OH      44446‐2026
ALBERT METZGER                      7727 WOODLAWN AVE                                                                                    PASADENA         MD      21122‐1812
ALBERT METZLER                      SHIRMERSTR 33                                                               D‐70378 STUTTGART,
                                                                                                                GERMANY
ALBERT MEYERS JR                    34930 HARROUN ST                                                                                     WAYNE            MI      48184‐3203
ALBERT MICHELITSCH                  9601 STANWIN AVE                                                                                     ARLETA           CA      91331‐4657
ALBERT MICHNIAK                     18519 MYRON ST                                                                                       LIVONIA          MI      48152‐3028
ALBERT MICKEL                       1517 OVERLAND AVE                                                                                    YOUNGSTOWN       OH      44511‐1681
ALBERT MILLER                       31815 W 91ST ST                                                                                      DE SOTO          KS      66018‐9203
ALBERT MILLER                       603 W MAIN ST                                                                                        BELLEVUE         OH      44811‐1934
ALBERT MILLER II                    3744 SAINT JAMES CT                                                                                  ELLENWOOD        GA      30294‐2591
ALBERT MILLER II                    256 VALLEY RD                                                                                        LAWRENCEVILLE    GA      30044
ALBERT MILLER JR.                   217 MUMFORD DR                                                                                       YOUNGSTOWN       OH      44505‐4831
ALBERT MILLS                        1208 E 38TH ST                                                                                       ANDERSON         IN      46013‐5332
ALBERT MILLS                        BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                                          BOSTON HTS       OH      44236
ALBERT MINELLA                      16 MERRITT AVE                                                                                       HIGHLAND         NY      12528‐1011
ALBERT MINELLA                      1134 WAGONER DR                                                                                      WILMINGTON       DE      19805‐1119
ALBERT MINEWEASER JR                277 STREETS RUN RD                                                                                   PITTSBURGH       PA      15236‐2004
ALBERT MISKO                        46735 PARTRIDGE CREEK DR                                                                             MACOMB           MI      48044‐3257
ALBERT MITCHELL                     14217 CHERRYLAWN ST                                                                                  DETROIT          MI      48238‐2447
ALBERT MIX                          8182 N COCHRAN RD                                                                                    GRAND LEDGE      MI      48837‐9437
ALBERT MOHR JR                      9410 GLADSTONE RD                                                                                    NORTH JACKSON    OH      44451‐9608
ALBERT MOLL                         32615 REDWOOD BLAV                                                                                   AVON LAKE        OH      44012
ALBERT MONHOLLEN                    PO BOX 247                                                                                           EMLYN            KY      40730‐0247
ALBERT MONROE                       10367 PAGE AVE                                                                                       JACKSON          MI      49201‐9173
ALBERT MONTEVILLE                   1025 PAIGE CT                                                                                        NEWTON FALLS     OH      44444‐8774
ALBERT MONTGOMERY                   175 E NORWAY LAKE RD                                                                                 LAPEER           MI      48446‐8747
ALBERT MOOMAW                       1509 JEWELL DR                                                                                       COLUMBIA         TN      38401‐5212
ALBERT MOORE                        1410 NELLE ST                                                                                        ANDERSON         IN      46016‐3254
ALBERT MOORE                        614 W WASHINGTON AVE                                                                                 JACKSON          MI      49201‐2030
ALBERT MOORE                        1818 N WILLIAMS RD                                                                                   SAINT JOHNS      MI      48879‐8501
ALBERT MOORE                        BEVAN & ASSOICATES LPA INC       6555 DEAN MEMORIAL PARKWAY                                          BOSTON HEIGHTS   OH      44236
ALBERT MOORE JR                     9045 ZEBULON RD                                                                                      MACON            GA      31220‐4353
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Name                Address1                        Address2                      Address3   Address4               City               State   Zip
ALBERT MOORE SR     1149 TOD AVE SW                                                                                 WARREN              OH     44485‐3806
ALBERT MORGAN       487 GLENMONTE DR                                                                                HOWARD              OH     43028‐9266
ALBERT MORGAN       2263 UGLY CREEK RD                                                                              DUCK RIVER          TN     38454‐3781
ALBERT MORGAN       1785 RIGHT PRONG BLUE BUCK RD                                                                   DUCK RIVER          TN     38454‐3713
ALBERT MORRIS       3135 POND HOLLOW ST                                                                             ZEPHYRHILLS         FL     33543‐5254
ALBERT MORRISON     1350 HOWARD ST                                                                                  PEEKSKILL           NY     10566‐3002
ALBERT MOTLEY       6446 MEADOW CREEK DR                                                                            DEXTER              MI     48130‐8578
ALBERT MOTLEY       3901 RICHMOND ST                                                                                LANSING             MI     48911‐2419
ALBERT MOTLEY       25 THATCHER AVE                                                                                 BUFFALO             NY     14215‐2233
ALBERT MOULTON      75 GROVE ST                                                                                     EAST DOUGLAS        MA     01516‐2117
ALBERT MUKANS       734 BEAUMONT DR NW                                                                              GRAND RAPIDS        MI     49504‐4835
ALBERT M▄LLER       MARKTSRE.
ALBERT MUNRO        1020 FAIRGROUND ST                                                                              PLYMOUTH           MI      48170‐1967
ALBERT MURRAY       820 S B ST                                                                                      ELWOOD             IN      46036‐1945
ALBERT MURRAY       8257 BRAY RD                                                                                    VASSAR             MI      48768‐9640
ALBERT MURRAY       1005 HODGES WEBB RD                                                                             HAZLEHURST         MS      39083‐8780
ALBERT MYCZKOWIAK   6894 MCCARTY RD                                                                                 SAGINAW            MI      48603‐9605
ALBERT MYERS        6188 THORNCLIFF DR                                                                              SWARTZ CREEK       MI      48473‐8820
ALBERT N PETERSON   S‐5086 MORGAN PKWY                                                                              HAMBURG            NY      14075
ALBERT N WINOGRAD   6149 BRIGHTWATER TER                                                                            BOYNTON BEACH      FL      33437
ALBERT NACCARELLI   16023 BRYANT ST                                                                                 NORTH HILLS        CA      91343‐5720
ALBERT NAGY         1213 ZARTMAN RD                                                                                 KOKOMO             IN      46902‐3218
ALBERT NAVARRO      6629 TABOR DR                                                                                   ARLINGTON          TX      76002‐5443
ALBERT NAZARIAN     1569 COURTNEY CT                                                                                SUPERIOR           MI      48198‐7608
                                                                                                                    TOWNSHIP
ALBERT NEAL         8105 MCCLEMENTS RR#2                                                                            BRIGHTON           MI      48114
ALBERT NECHVIL      205 GWINNER ST                                                                                  ITHACA             MI      48847‐1515
ALBERT NEELY        2531 NEWBERRY RD                                                                                WATERFORD          MI      48329‐2345
ALBERT NEIBEL       5749 BYRON HOLLEY RD                                                                            BYRON              NY      14422‐9402
ALBERT NEMITZ       11846 STUART ST                                                                                 GRAND BLANC        MI      48439‐1109
ALBERT NG           4361 WINTERGREEN DR                                                                             TROY               MI      48098‐4370
ALBERT NICHOLLS     3081 SUGARTREE RD                                                                               BETHEL             OH      45106‐8237
ALBERT NIERE        1640 SUNNYRIDGE RD                                                                              ELLISVILLE         MO      63011‐1907
ALBERT NISTICO JR   470 CRISFIELD DR                                                                                ABINGDON           MD      21009‐2061
ALBERT NISTICO SR   7222 RIVER DRIVE RD                                                                             BALTIMORE          MD      21219‐1136
ALBERT NISWONGER    20671/2W FRANCES                                                                                MOUNT MORRIS       MI      48458
ALBERT NOEL         2331 NORWOOD BLVD                                                                               FLORENCE           AL      35630‐1259
ALBERT NOLAND       410 DEERPATH DR W                                                                               SCHERERVILLE       IN      46375‐2500
ALBERT NOONAN       20 FARVIEW AVE                                                                                  DANBURY            CT      06810‐5533
ALBERT NORMAN       9265 CARTER RD                                                                                  CHEBOYGAN          MI      49721‐9101
ALBERT NORRIS       197 EAST CASTLE VIEW DRIVE                                                                      BRASELTON          GA      30517‐2392
ALBERT NUGENT       1997 SAVANNAH PKWY                                                                              WESTLAKE           OH      44145‐1851
ALBERT O BRYANT     4520 WHEATLAND ST                                                                               ENID               OK      73703‐6054
ALBERT O COOPER     C/O WILLIAMS KHERKHER HART &    8441 GULF FREEWAY STE 600                                       HOUSTON            TX      77007
                    BOUNDAS LLP
ALBERT O REAR       THE MADEKSHO LAW FIRM           8866 GULF FREEWAY SUITE 440                                     HOUSTON             TX     77017
ALBERT OGER         34480 COLVILLE PL                                                                               FREMONT             CA     94555‐3313
ALBERT OGG          3623 MERRITT LAKE DR                                                                            METAMORA            MI     48455‐8981
ALBERT OLAH JR      10173 COLDWATER RD                                                                              FLUSHING            MI     48433‐9761
ALBERT OLSEN        719 BLAINE AVE                                                                                  PONTIAC             MI     48340‐2401
ALBERT ONDISH       307 BROADWAY AVE                                                                                NORTH VERSAILLES    PA     15137‐1828

ALBERT OREN         506 W MAIN ST                                                                                   CHESTERFIELD        IN     46017‐1114
ALBERT ORR          2431 WHITTIER ST                                                                                SAGINAW             MI     48601‐2465
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ALBERT OSBORN          15397 POWELL DR                                                                                  WARSAW             MO     65355‐4796
ALBERT OWEN            2148 SUNNYSIDE GOTT RD                                                                           BOWLING GREEN      KY     42103‐9531
ALBERT P ADAMS         6442 WEST BAY CT.                                                                                DAYTON             OH     45426‐1119
ALBERT P GILSDORF JR   348 E CHICKASAW RD                                                                               VIRGINIA BEACH     VA     23462
ALBERT P JOHNSON       848 HURON AVE                                                                                    DAYTON             OH     45402‐5324
ALBERT P LARICCIA      384 ROSEWAE AVE                                                                                  CORTLAND           OH     44410
ALBERT PACE            1172 E 20TH AVE                                                                                  COLUMBUS           OH     43211‐2508
ALBERT PACELLA         118 ROCKY LEDGE DR                                                                               STRUTHERS          OH     44471‐1466
ALBERT PADAR JR        2663 WINDSOR DR                                                                                  TROY               MI     48085‐3727
ALBERT PALMA           13848 GAVINA AVE                                                                                 SYLMAR             CA     91342‐2612
ALBERT PAOLETTI        607 BERWICK RD S                                                                                 SYRACUSE           NY     13208‐3210
ALBERT PAPALEO         42 COURTLAND CIR                                                                                 BEAR               DE     19701‐1201
ALBERT PAPANEK         757 UNION ST                                                                                     OWOSSO             MI     48867‐3959
ALBERT PAPLINSKAS      6136 SHADY SHRS                                                                                  LAKE ANN           MI     49650‐9715
ALBERT PARKS           67 NW 45TH AVE APT 205                                                                           DEERFIELD BEACH    FL     33442‐9395
ALBERT PARRISH         PO BOX 858                                                                                       EVART              MI     49631‐0858
ALBERT PARTENHEIMER
ALBERT PASADYN         352 FIELDSTONE CT                                                                                WELLINGTON        OH      44090‐1191
ALBERT PASADYN         C/O BEVAN & ASSOCIATES LPA INC   6555 DEAN MEMORIAL PARKWAY                                      BOSTON HTS        OH      44236
ALBERT PASCENTE        65 ATWOOD DR                                                                                     ROCHESTER         NY      14606‐4564
ALBERT PATE            THE MADEKSHO LAW FIRM            8866 GULF FREEWAY SUITE 440                                     HOUSTON           TX      77017
ALBERT PATRICK         2972 JOHNS DR                                                                                    SAGINAW           MI      48603‐3319
ALBERT PAUL            830 CALEDONIA AVE                                                                                CLEVELAND HTS     OH      44112‐2317
ALBERT PAULEY          5954 S RIDGEVIEW RD                                                                              ANDERSON          IN      46013‐9774
ALBERT PAULK JR        1025 SAINT ILLA CHURCH RD                                                                        DOUGLAS           GA      31535‐2319
ALBERT PAULSON         635 W LUSHER AVE                                                                                 ELKHART           IN      46517‐1638
ALBERT PAYNE           BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                                      BOSTON HTS        OH      44236
ALBERT PEACOCK         18 MORRISON LAKE GDNS                                                                            SARANAC           MI      48881‐9705
ALBERT PEAKE           5489 MILL CREEK BLVD                                                                             YOUNGSTOWN        OH      44512‐2514
ALBERT PEARLMAN INC    60 EAST 42ND ST                                                                                  NEW YORK          NY      10165
ALBERT PEDICINI        27 ROCCO ST APT A8                                                                               BELLEVILLE        NJ      07109‐1204
ALBERT PEDRINI         1974 BUCKINGHAM DR                                                                               AVON              OH      44011‐1679
ALBERT PEEL            12542 N HOLLY RD                                                                                 HOLLY             MI      48442‐9510
ALBERT PENKSA          4 APPLELAND RD                                                                                   AIRMONT           NY      10952‐3501
ALBERT PERICH          253 VIDEO DR                                                                                     MUNHALL           PA      15120‐3610
ALBERT PERNA           2317 BENEVA TER                                                                                  SARASOTA          FL      34232‐3634
ALBERT PERROTTA        2476 E COOK RD                                                                                   GRAND BLANC       MI      48439‐8374
ALBERT PERRY           1227 RIDGE RD                                                                                    RISING SUN        MD      21911‐1507
ALBERT PERRY           7101 TAPPAN DR                                                                                   INDIANAPOLIS      IN      46268‐5705
ALBERT PESCARA         1 WILLOW ST APT 10                                                                               LOCKPORT          NY      14094‐4873
ALBERT PETERS          2820 SUBSTATION RD                                                                               MEDINA            OH      44256‐8357
ALBERT PETERS          BEVAN & ASSOCIATES, LPA, INC     6555 DEAN MEMORIAL PARKWAY                                      BOSTON HTS        OH      44236
ALBERT PETERSON        S‐5086 MORGAN PKWY                                                                               HAMBURG           NY      14075
ALBERT PHILLIPS        5957 N 74TH ST                                                                                   MILWAUKEE         WI      53218‐1831
ALBERT PHILLIPS        7745 EMPIRE CT                                                                                   HOLLAND           OH      43528‐8265
ALBERT PICCIRILLI      14246 KERNER DR                                                                                  STERLING HTS      MI      48313‐2131
ALBERT PIERSON SR      179 MARSHALL AVE W                                                                               WARREN            OH      44483‐1656
ALBERT PILKINGTON      6701 DAIRY ROAD B11                                                                              ZEPHYRHILLS       FL      33542
ALBERT PIRKLE          1046 MULBERRY TRL                                                                                WINDER            GA      30680‐2918
ALBERT PISANO          320 BOWMAN DR                                                                                    KENT              OH      44240‐4508
ALBERT PISANO          WEITZ & LUXENBERG PC             700 BROADWAY                                                    NEW YORK CITY     NY      10003
ALBERT PLACZEK         225 LIVINGSTON RD                                                                                WEST MIFFLIN      PA      15122‐2520
ALBERT PLATA           12623 HADDON AVE                                                                                 SYLMAR            CA      91342‐3639
ALBERT POBOCIK         5192 REID RD                                                                                     SWARTZ CREEK      MI      48473‐9418
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ALBERT POINTER          2915 S RANGELINE RD                                                                                                  ANDERSON        IN     46017‐1928
ALBERT POMPEI           PO BOX 90842                                                                                                         BURTON          MI     48509‐0842
ALBERT PONDILLO         559 WILCOX RD.                                                                                                       YOUNGSTOWN      OH     44515
ALBERT POPPE            2458 N COUNTY ROAD 1000 E                                                                                            INDIANAPOLIS    IN     46234‐9017
ALBERT POSTELWAITE      110 BARB AVE                                                                                                         HEATH           OH     43056‐1149
ALBERT POTTER           2325 DEERFIELD LN                                                                                                    MANSFIELD       OH     44906‐4018
ALBERT POTTER           BEVAN & ASSOCIATES LPA INC           6555 DEAN MEMORIAL PARKWAY                                                      BOSTON HTS      OH     44236
ALBERT POTTS JR         2005 PARK ST                                                                                                         GUNTERSVILLE    AL     35976‐7518
ALBERT POULSON          7709 DAVENPORT AVE                                                                                                   FORT WORTH      TX     76116‐7713
ALBERT POWERS           10 POWERS RD                                                                                                         VEVAY           IN     47043‐9026
ALBERT POWERS           223 BRIAN CT                                                                                                         MANHATTAN        IL    60442‐9292
ALBERT POWERS JR        510 COLONY RD                                                                                                        SUMTER          SC     29153‐9334
ALBERT POWNELL          3555 LYNTZ                                                                                                           LORDSTOWN       OH     44481
ALBERT PRATT            7472 ROAD 151                                                                                                        PAULDING        OH     45879‐9715
ALBERT PREMO            2624 DARWIN LN                                                                                                       SAGINAW         MI     48603‐2703
ALBERT PRESTON          1805 CHERRY TREE ST                                                                                                  SAINT PETERS    MO     63376‐6806
ALBERT PRESTON          1950 PHILADELPHIA DR                                                                                                 DAYTON          OH     45406‐4014
ALBERT PREVITE          PO BOX 452                                                                                                           ALAMO           TN     38001‐0452
ALBERT PREVOST          3255 SAN PABLO AVE APT 104                                                                                           OAKLAND         CA     94608‐4294
ALBERT PRICE            22 MAIN ST                                                                                                           ASHLAND         PA     17921‐9264
ALBERT PRICE            619 S 27TH ST                                                                                                        SAGINAW         MI     48601‐6539
ALBERT PRICE            3039 HENDERSON LAKE RD                                                                                               PRESCOTT        MI     48756‐9338
ALBERT PROW             1421 VZ COUNTY ROAD 3103                                                                                             EDGEWOOD        TX     75117‐5006
ALBERT PRUCHINSKI       BEVAN & ASSOCIATES LPA INC           6555 DEAN MEMORIAL PARKWAY                                                      BOSTON HTS      OH     44236
ALBERT PRZYBYLSKI       6254 RIDGE RD                                                                                                        OSCODA          MI     48750‐9795
ALBERT PUCKETT          1989 MAYES DR SE                                                                                                     MARIETTA        GA     30067‐7655
ALBERT PUGH             1659 UNIONVILLE DEASON RD                                                                                            BELL BUCKLE     TN     37020‐4523
ALBERT PULGINI          31 BAYNARD BLVD                                                                                                      WILMINGTON      DE     19803‐4135
ALBERT PUZZUOLI         38730 SANTA BARBARA STREET                                                                                           CLINTON TWP     MI     48036‐4022
ALBERT PYCRAFT          BEVAN & ASSOCIATES LPA INC           6555 DEAN MEMORIAL PARKWAY                                                      BOSTON HTS      OH     44236
ALBERT QUINCEL          2335 PARK RIDGE CT                                                                                                   GROVE CITY      OH     43123‐1818
ALBERT QUINN            BEVAN & ASSOCIATES, LPA, INC.        6555 DEAN MEMORIAL PARKWAY                                                      BOSTON HTS      OH     44236
ALBERT R ADAMS          ATTN ROBERT W PHILLIPS               SIMMONS BROWDER GIANARIS     707 BERKSHIRE BLVD PO BOX                          EAST ALTON       IL    62024
                                                             ANGELIDES & BARNERD LLC      521
ALBERT R BEVARD         4780 TAVENER ROAD                                                                                                    NEWARK         OH      43056‐9086
ALBERT R BURGER         1753 E US HIGHWAY 22 AND 3                                                                                           MORROW         OH      45152‐8971
ALBERT R ELLIOTT        4231 LYNDELL                                                                                                         DAYTON         OH      45432‐1825
ALBERT R HAJDUK         8520 U.S. 1                          UNIT G11                                                                        MICCO          FL      32976
ALBERT R JOHNSON        2500 CHANDLER DRIVE                                                                                                  VALDOSTA       GA      31602‐5728
ALBERT R OBEGINSKI      46715 ECORSE RD                                                                                                      BELLEVILLE     MI      48111‐5115
ALBERT R PAULSON        635 WEST LUSHER                                                                                                      ELKHART        IN      46517‐1638
ALBERT R PIERSON SR     179 MARSHALL AVE. N.W.                                                                                               WARREN         OH      44483‐1656
ALBERT R ST JEAN        579 CATALINA ISLES CIRCLE                                                                                            VENICE         FL      34292
ALBERT R WHOOLERY, II   C/O LAW OFFICES OF PETER G ANGELOS   100 N CHARLES ST             22ND FL                                            BALTIMORE      MD      21201

ALBERT RABY             751 ARVIN RD                                                                                                         RUSSELLVILLE   TN      37860‐9425
ALBERT RADABAUGH        8184 MACKAY CT                                                                                                       UTICA          MI      48317‐5541
ALBERT RADKE            6323 SANDPIPERS DR                                                                                                   LAKELAND       FL      33809‐5677
ALBERT RAMIREZ          18307 E INDIAN HILLS RD                                                                                              NEWALLA        OK      74857‐8653
ALBERT RAMIREZ          1834 OLD OAKLAND AVE                                                                                                 LANSING        MI      48915‐1379
ALBERT RAMSEY           4420 BONNYMEDE ST                                                                                                    JACKSON        MI      49201‐8511
ALBERT RAMSEY           42704 ALBA CT                                                                                                        BELLEVILLE     MI      48111‐4817
ALBERT RANKIN           14718 COIT RD                                                                                                        CLEVELAND      OH      44110‐3620
ALBERT RAPP             1000 NE 83RD ST                                                                                                      KANSAS CITY    MO      64118‐1346
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Name                           Address1                         Address2                        Address3   Address4               City             State   Zip
ALBERT RARO                    3196 HICKOX RD                                                                                     HAMBURG           NY     14075‐6723
ALBERT RATCLIFF                100 SOUTH 10961 WEST                                                                               RUSSIAVILLE       IN     46979
ALBERT RATLIFF JR              1409 LYNTON AVE                                                                                    FLINT             MI     48507‐3245
ALBERT RAY                     4825 AMESBOROUGH RD                                                                                DAYTON            OH     45420‐3353
ALBERT RAYBORN                 542 FILDEW AVE                                                                                     PONTIAC           MI     48341‐2631
ALBERT RAYMOND L JR            C/O MCKENNA & CHIODO             436 BOULEVARD OF THE ALLIES ‐                                     PITTSBURGH        PA     15219
                                                                SUITE 500
ALBERT RAYMOND L JR (500506)   MCKENNA & CHIDO                  436 BOULEVARD OF THE ALLIES ‐                                     PITTSBURGH        PA     15219
                                                                SUITE 500
ALBERT REA                     1111 W PERKINS ST                                                                                  HARTFORD CITY    IN      47348‐1114
ALBERT RECCHIA                 37 IADAROLA AVE                                                                                    MILFORD          MA      01757‐2341
ALBERT REDONDO                 39853 20TH ST W                                                                                    PALMDALE         CA      93551‐3201
ALBERT REHAGEN                 10209 TAPPAN DR                                                                                    SAINT LOUIS      MO      63137‐2038
ALBERT REID                    3189 FARNSWORTH RD                                                                                 LAPEER           MI      48446‐8721
ALBERT REITER                  3555 ANDERSON LN                                                                                   JARRETTSVILLE    MD      21084‐1512
ALBERT RENCHKO                 1476 JUDY LN                                                                                       MONROEVILLE      PA      15146‐3927
ALBERT RHODES                  7025 MEADOWBROOK LN                                                                                HANOVER PARK     IL      60133‐6420
ALBERT RHYNDRESS               402 N DIANE CT                                                                                     STANDISH         MI      48658‐9702
ALBERT RIALS III               PO BOX 1192                                                                                        BROOKHAVEN       MS      39602‐1192
ALBERT RIBBECK                 7716 CHESTNUT RIDGE RD                                                                             LOCKPORT         NY      14094‐3510
ALBERT RICE                    2993 DORIS ST                                                                                      DETROIT          MI      48238‐2741
ALBERT RICE                    6342 CHURCHVIEW LANE                                                                               WEST CHESTER     OH      45069‐1249
ALBERT RICHARDS                2820 GERMAIN DR                                                                                    SAGINAW          MI      48601‐5607
ALBERT RICHARDSON              6229 N LONDON AVE APT H                                                                            KANSAS CITY      MO      64151‐4793
ALBERT RICHARDSON              PO BOX 112                                                                                         DURANT           MS      39063‐0112
ALBERT RICHIE                  C/O THE LAW OFFICES OF PETER G   100 N CHARLES ST                22ND FL                           BALTIMORE        MD      21201
                               ANGELOS
ALBERT RICKMERS JR             650 SUMMIT RIDGE DR                                                                                MILFORD          MI      48381‐1679
ALBERT RIDOUT                  15375 SNAUBLE AVE NE                                                                               CEDAR SPRINGS    MI      49319‐8893
ALBERT RIGLEY                  320 OXFORD LAKE DRIVE                                                                              OXFORD           MI      48371‐5102
ALBERT RILEY                   182 PARKER LAKE DR               LAKEVILLA                                                         OXFORD           MI      48371‐5245
ALBERT RILEY JR                830 MANSELL DR                                                                                     YOUNGSTOWN       OH      44505‐2239
ALBERT RINER                   1196 DRY RUN RD                                                                                    MARTINSBURG      WV      25403‐0826
ALBERT RIVALSKI                BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                                        BOSTON HEIGHTS   OH      44236
ALBERT RIVERA                  4073 FULLERTON                                                                                     WATERFORD        MI      48328‐4324
ALBERT RIVERS I I I            PO BOX 14421                                                                                       SAGINAW          MI      48601‐0421
ALBERT RIZZO                   27157 LA ROSE DR                                                                                   WARREN           MI      48093‐4424
ALBERT ROBBINS                 15201 W. CR 100N                                                                                   ANDERSON         IN      46012
ALBERT ROBERSON                2920 BROADBAY DR                                                                                   WINSTON SALEM    NC      27107‐2562
ALBERT ROBERTS                 7775 CEDAR FALLS LANE                                                                              WEST CHESTER     OH      45069‐1579
ALBERT ROBERTS                 148 BRANDI WAY                                                                                     WINCHESTER       TN      37398‐1477
ALBERT ROBERTSON               3605 KENT ST                                                                                       FLINT            MI      48503‐4596
ALBERT ROBERTSON               1846 STAHL RD                                                                                      HEBRON           KY      41048‐9763
ALBERT ROBERTSON               13714 W FARGO DR                                                                                   SURPRISE         AZ      85374‐5377
ALBERT ROBERTSON               8120 LAUD TOOMSUBA RD                                                                              TOOMSUBA         MS      39364
ALBERT ROBERTSON               14221 TUSCOLA RD                                                                                   CLIO             MI      48420‐8878
ALBERT ROBIDEAU                18265 CINDER RD                                                                                    INTERLOCHEN      MI      49643‐9641
ALBERT ROBINSON                119 EARLY RD                                                                                       YOUNGSTOWN       OH      44505‐4706
ALBERT ROBINSON                1219 COUNTY ROAD 69                                                                                MUSCADINE        AL      36269‐5500
ALBERT ROBISON                 9703 N COUNTY ROAD 200 W                                                                           BRAZIL           IN      47834‐7802
ALBERT ROBISON                 2500 VALLEY GATE                                                                                   MILFORD          MI      48380‐4255
ALBERT RODDE                   49 CUMNOR RD                                                                                       WESTMONT         IL      60559‐1622
ALBERT RODEMAN                 1213 E 44TH ST                                                                                     ANDERSON         IN      46013‐2407
ALBERT RODERICK                4402 KRUEGER AVE                                                                                   PARMA            OH      44134‐2412
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Name                    Address1                         Address2                      Address3   Address4               City            State   Zip
ALBERT RODRIGUEZ        1501 BATES ST                                                                                    LUBBOCK          TX     79401‐1107
ALBERT ROEHL            10102 N ELLENDALE RD                                                                             EDGERTON         WI     53534‐9014
ALBERT ROLIN            15231 MOYER RD                                                                                   GERMANTOWN       OH     45327‐9746
ALBERT ROMAIN           2924 POND LN SW                                                                                  WARREN           OH     44481‐9279
ALBERT ROMAIN JR        1592 SALT SPRINGS RD                                                                             WARREN           OH     44481‐8625
ALBERT ROMNEY           7 TOMPKINS AVE                                                                                   WEST NYACK       NY     10994‐2622
ALBERT ROPER            3237 HEPFER RD                                                                                   LANSING          MI     48911‐2216
ALBERT ROSARIO          12745 PARADISE DR                                                                                DEWITT           MI     48820‐7856
ALBERT ROSE             81 CROSBY AVE                                                                                    LOCKPORT         NY     14094‐4105
ALBERT ROSE             2517 E 8TH ST                                                                                    ANDERSON         IN     46012‐4401
ALBERT ROSELI           3504 KESSLER BLVD                                                                                WICHITA FALLS    TX     76309‐3704
ALBERT ROSENSPITZ       7839 LANGDON ST                                                                                  PHILADELPHIA     PA     19111‐3534
ALBERT ROSS             3835 MARK DR                                                                                     TROY             MI     48083‐5375
ALBERT ROSS             12448 W WASHINGTON AVE                                                                           MOUNT MORRIS     MI     48458‐1515
ALBERT ROSS SR          PO BOX 4591                                                                                      FLINT            MI     48504‐0591
ALBERT ROSSETTI         C/O BEVAN & ASSOCIATES LPA INC   6555 DEASN MEMORIAL PARKWAY                                     BOSTON HTS       OH     44236
ALBERT ROTUNNO          759 VALLEY VIEW DR                                                                               BROOKFIELD       OH     44403‐9651
ALBERT ROWE             3840 WOODYHILL DR                                                                                LITHONIA         GA     30038‐3657
ALBERT ROWLETTE         11640 ZIEGLER RD SE                                                                              HANCOCK          MD     21750‐1447
ALBERT ROY              935 EDISON ST                                                                                    DAYTON           OH     45417‐2434
ALBERT RUDOWICZ         12244 HILARY DR W                                                                                N ROYALTON       OH     44133‐3014
ALBERT RUOFF            245 EAST ST APT 106                                                                              HONEOYE FALLS    NY     14472‐1235
ALBERT RUPP             147 4TH AVE                                                                                      LANCASTER        NY     14086‐3038
ALBERT RUSAK            87 E NEWPORT ST                                                                                  HANOVER          PA     18706‐3021
                                                                                                                         TOWNSHIP
ALBERT RUSCITTO         6221 CENTER ST APT 202                                                                           MENTOR          OH      44060‐8646
ALBERT RUSHIN           3110 GREENLY STREET                                                                              FLINT           MI      48503‐5703
ALBERT RUSK             2251 LA SALLE AVE                                                                                NIAGARA FALLS   NY      14301‐1415
ALBERT RUSSELL III      3800 BASSWOOD CT                                                                                 OAKLAND         MI      48363‐2650
ALBERT RUSSELL JR       5745 MEYERFIELD CT                                                                               ELDERSBURG      MD      21784‐8579
ALBERT RUTH             2092 TYLER ST                                                                                    UNION           NJ      07083‐5322
ALBERT S BERARDINELLI   200 LINCOLN AVE                                                                                  BENTLEYVILLE    PA      15314
ALBERT S BOWLEY         PO BOX
ALBERT S BOWLEY         3045 NORTH GOLDSTAR DRIVE        APT 194                                                         LONG BEACH      CA      90810
ALBERT S HOWE           3026 SLATTERY RD                                                                                 LUM             MI      48412‐9333
ALBERT S PITZER         114 INDIAN HILLS DR                                                                              NOVATO          CA      94949
ALBERT SABAU            1402 BRISTOL CHAMP TWNLNE RD                                                                     WARREN          OH      44481
ALBERT SABOL            ALBERT SABOL                     NONE                          NONE                              NONE            GA
ALBERT SABOSKI          7500 N BROWN RD                                                                                  COLUMBIA CITY   IN      46725‐9542
ALBERT SADLER           682 LAKEVIEW DR                                                                                  LAKE ODESSA     MI      48849‐1274
ALBERT SAFREED          204 E MOUNT HOPE AVE             TRI‐COUNTY GUARDIANSHIP                                         LANSING         MI      48910‐9158
ALBERT SALAS            5540 BUTANO PARK DR                                                                              FREMONT         CA      94538‐3200
ALBERT SALO             1869 MANORHAVEN ST                                                                               ORTONVILLE      MI      48462‐8524
ALBERT SALTER           6824 RIDGE RD                                                                                    LOCKPORT        NY      14094‐9436
ALBERT SAMMARCO         635 WALNUT ST                                                                                    LOCKPORT        NY      14094‐3131
ALBERT SAMMET           138 MARILLA RD                                                                                   COLUMBUS        OH      43207‐3812
ALBERT SAMUELS          3424 W LYNDON AVE                                                                                FLINT           MI      48504‐6915
ALBERT SANCHEZ          1715 MORITZ DR APT 4                                                                             HOUSTON         TX      77055‐3239
ALBERT SANDERS          294 RILEY ST                                                                                     BUFFALO         NY      14208‐2003
ALBERT SANDUSKY JR.     5414 MENDEL BERGER DR                                                                            FLINT           MI      48505‐1059
ALBERT SANTISTEVAN      5155 MAPLEWOOD DR                                                                                GREENDALE       WI      53129‐1415
ALBERT SANTOLERI        111 LUCINDA LN                                                                                   ROCHESTER       NY      14626‐1286
ALBERT SARGENT          2448 WYTHE CT                                                                                    DAYTON          OH      45406‐1253
ALBERT SARVER           20 KYLES LN APT 1                                                                                FORT THOMAS     KY      41075‐1833
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ALBERT SAUER                     7184 ELKWOOD DR                                                                                WEST CHESTER        OH     45069‐3013
ALBERT SAUNDERS JR               504 S SAGINAW ST                                                                               DURAND              MI     48429‐1640
ALBERT SAVAGE                    PO BOX 445                                                                                     GENESEE             MI     48437‐0445
ALBERT SAYLES                    4221 MAPLEVIEW DR                                                                              DAYTON              OH     45432‐1827
ALBERT SCARINCI                  1001 RARITAN RD                                                                                SCOTCH PLAINS       NJ     07076‐2737
ALBERT SCARNATI                  411 6TH ST                                                                                     NEW CASTLE          PA     16102‐1281
ALBERT SCHAAF SR                 7887 COOK JONES RD                                                                             WAYNESVILLE         OH     45068‐9729
ALBERT SCHADEL                   6716 POTTERY RD                                                                                WARNERS             NY     13164‐9737
ALBERT SCHAEFER                  28864 PALM BEACH DR                                                                            WARREN              MI     48093‐6439
ALBERT SCHEPERS ENGINEERING LT   1950 HALFORD RD RR 1                                                   WINDSOR ON N9A 6J3
                                                                                                        CANADA
ALBERT SCHEPERS ENGINEERING LT   4165 ROSELAND DRIVE EAST                                               WINDSOR CANADA ON N9G
                                                                                                        1Y6 CANADA
ALBERT SCHIFFERLE                192 MELODY LN                                                                                  TONAWANDA           NY     14150‐9110
ALBERT SCHIFFNER                 PO BOX 300754                                                                                  DRAYTON PLNS        MI     48330‐0754
ALBERT SCHMEISER                 2826 MOUNT ZION AVE                                                                            JANESVILLE          WI     53545‐1365
ALBERT SCHMIDT JR                29 FERNDALE PL                                                                                 METUCHEN            NJ     08840‐2620
ALBERT SCHOCKE                   1603 W SUTTON RD                                                                               METAMORA            MI     48455‐9616
ALBERT SCHOELER                  AM TRIPSER WAELDCHEN 17                                                                        52511
                                                                                                                                GEILENKIRCHEN
ALBERT SCHRADER                  2251 MIDLAND RD                                                                                BAY CITY           MI      48706‐9486
ALBERT SCHRENKER                 1902 WEEKS AVENUE                                                                              SUPERIOR           WI      54880‐6719
ALBERT SCHRODER                  6804 N HARVARD AVE                                                                             OKLAHOMA CITY      OK      73132‐6957
ALBERT SCHULZE                   7531 W BELOIT NEWARK RD                                                                        BELOIT             WI      53511‐9638
ALBERT SCHUMACHER                N2209 ALDER RD                                                                                 MERRILL            WI      54452‐8638
ALBERT SCHUMAN                   28889 SAINT JOE DR                                                                             WEST HARRISON      IN      47060‐8341
ALBERT SCHWABAUER                G5270 VAN SLYKE RD                                                                             FLINT              MI      48507
ALBERT SCHWARZKOPF               1483 N 100 W                                                                                   HARTFORD CITY      IN      47348‐9550
ALBERT SEE                       1944 TALBOT ST                                                                                 TOLEDO             OH      43613‐5023
ALBERT SEILER                    949 OAK ST                                                                                     GRAFTON            OH      44044‐1440
ALBERT SEITZ                     504 MURRAY DR                                                                                  TECUMSEH           MI      49286‐1835
ALBERT SERA                      39800 ROMEO PLANK RD                                                                           CLINTON TOWNSHIP   MI      48038‐2917

ALBERT SHACKELFORD               16135 FAIRVIEW CRES                                                                            SOUTHFIELD         MI      48076‐1592
ALBERT SHAPOE                    6077 COTTONWOOD CT                                                                             CLARKSTON          MI      48346‐3188
ALBERT SHARON                    31508 CARION DR                                                                                WARREN             MI      48092‐1385
ALBERT SHAW                      802 W HAMILTON AVE                                                                             FLINT              MI      48504‐7252
ALBERT SHEARER                   5860 MILLER WAY E                                                                              BLOOMFIELD         MI      48301‐1937
ALBERT SHEETZ                    1611 WIKER AVE                                                                                 LANCASTER          PA      17602
ALBERT SHEPHERD                  25195 BARBARA ST                                                                               ROSEVILLE          MI      48066‐3862
ALBERT SHIELDS                   2668 WICK ST SE                                                                                WARREN             OH      44484‐5447
ALBERT SHINOSKY                  2088 CELESTIAL DR NE                                                                           WARREN             OH      44484
ALBERT SHODA                     1559 E 219TH ST                                                                                EUCLID             OH      44117‐1549
ALBERT SHUBERT                   12 CHIPPEWA TRL                                                                                LAPEER             MI      48446‐8778
ALBERT SHUKIS                    1386 W SOUTH PARK AVE                                                                          OSHKOSH            WI      54902‐6644
ALBERT SHUMAKER                  06140 62ND ST                                                                                  SOUTH HAVEN        MI      49090‐9111
ALBERT SILVIS                    1850 S M 52                                                                                    OWOSSO             MI      48867‐9229
ALBERT SIMBRITZ                  1874 SW OAKWATER PT                                                                            PALM CITY          FL      34990‐7752
ALBERT SIMKINS                   1234 LIBERTY HALL DR                                                                           MORRISTOWN         TN      37813‐5760
ALBERT SIMKO                     6275 COLE RD                                                                                   SAGINAW            MI      48601‐9718
ALBERT SIMMONS JR                8946 VICTOR AVE                                                                                JENISON            MI      49428‐9518
ALBERT SIMOES                    30 DEXTER RD                                                                                   YONKERS            NY      10710‐2813
ALBERT SIMPSON                   4763 W VERMONTVILLE HWY                                                                        CHARLOTTE          MI      48813‐7818
ALBERT SINGER                    856 LISHAKILL RD                                                                               SCHENECTADY        NY      12309
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ALBERT SIPKA                302 TURNBERRY CT NE                                                                           WARREN           OH     44484‐5538
ALBERT SIRIANNI             6700 ELY VISTA DR                                                                             PARMA            OH     44129‐6151
ALBERT SKARJUNE             31155 PORTSIDE DR APT 7109                                                                    NOVI             MI     48377‐4222
ALBERT SKETL JR             34170 STATE ROUTE 303                                                                         GRAFTON          OH     44044‐9680
ALBERT SKILES               4229 COYOTE TRL                                                                               POLK CITY        FL     33868‐3011
ALBERT SLOAN                1393 E HORSESHOE BEND DR                                                                      ROCHESTER HLS    MI     48306‐4141
ALBERT SMITH                6190 PARK RIDGE DR                                                                            CENTERVILLE      OH     45459‐2252
ALBERT SMITH                10411 STARVIEW CT                                                                             INDIANAPOLIS     IN     46229‐1438
ALBERT SMITH                20175 TERRELL ST                                                                              DETROIT          MI     48234‐3206
ALBERT SMITH                13611 TERRACE RD APT 1                                                                        E CLEVELAND      OH     44112‐4339
ALBERT SMITH                13755 LEHMAN RD                                                                               WESTPHALIA       MI     48894‐9531
ALBERT SMITH                PO BOX 183                                                                                    WOLVERINE        MI     49799‐0183
ALBERT SMITH                13075 N ELMS RD                                                                               CLIO             MI     48420‐8105
ALBERT SMITH                1255 W SILVERBELL RD                                                                          ORION            MI     48359‐1345
ALBERT SMITH                206 HOLFORD AVE                                                                               NILES            OH     44446‐1719
ALBERT SMITH                425 CHURCH ST                                                                                 YOUNGSTOWN       NY     14174‐1333
ALBERT SMITH                2 TERRACE VILLAS                                                                              FAIRPORT         NY     14450‐1929
ALBERT SMITH                3104 GLEN AVE                                                                                 BALTIMORE        MD     21215‐4007
ALBERT SMITH                95 E MAIN ST                                                                                  KINGSTON         GA     30145‐2309
ALBERT SMITH                2915 CENTER AVE                                                                               ALLIANCE         OH     44601‐5413
ALBERT SMITH                4398 ALAN LN                                                                                  ORION            MI     48359‐2067
ALBERT SMITH                3445 W SHIAWASSEE AVE                                                                         FENTON           MI     48430‐1750
ALBERT SMITH                69 SUNSET RD                                                                                  MANSFIELD        OH     44906‐2240
ALBERT SMITH                PO BOX 26061                                                                                  LANSING          MI     48909‐6061
ALBERT SMITH                1086 PERKINS JONES RD NE                                                                      WARREN           OH     44483‐1802
ALBERT SMITH PAINTING LLC   505 W 67TH ST                                                                                 SHREVEPORT       LA     71106‐3023
ALBERT SNIDER               2426 LEITH ST                                                                                 FLINT            MI     48506‐2824
ALBERT SNIDER               5148 E DODGE RD                                                                               MOUNT MORRIS     MI     48458‐9719
ALBERT SNYDER               841 EAST BLVD                                                                                 DAVENPORT        FL     33897
ALBERT SOMES                230 WELCOME WAY BLVD W APT A16                                                                INDIANAPOLIS     IN     46214‐4940
ALBERT SOMLITZ              1203 MAC DRIVE                                                                                STOW             OH     44224
ALBERT SPALDING             549 S ROSEWOOD                                                                                JACKSON          MI     49201‐8461
ALBERT SPARKS               5388 SMITH RD                                                                                 GLENNIE          MI     48737‐9795
ALBERT SPEARS               1132 BALTUSTROL RUN                                                                           AVON             IN     46123‐7078
ALBERT SPEARS JR            6426 ROYAL OAKLAND DR                                                                         INDIANAPOLIS     IN     46236‐4800
ALBERT SPEELMAN             517 W LINCOLNWAY                                                                              MINERVA          OH     44657‐1420
ALBERT SPENCER              5447 ROEDEL RD                                                                                BRIDGEPORT       MI     48722‐9735
ALBERT SPICER               4085 LOMLEY AVE                                                                               WATERFORD        MI     48329‐4122
ALBERT STADELMAIER          512 CONCORD AVE                                                                               ROMEOVILLE        IL    60446‐1316
ALBERT STAGGS               4654 REDWOOD DR                                                                               FAIRFIELD        OH     45014‐1634
ALBERT STANIFER             399 CRAWFORD RD                                                                               NEW LEBANON      OH     45345‐9276
ALBERT STANLEY SR           2332 CASHUA FERRY RD                                                                          DARLINGTON       SC     29532‐8711
ALBERT STAPLES JR           338 SAINT CLAIR ST                                                                            WEST HELENA      AR     72390‐1417
ALBERT STATON               3672 AMITY LN                                                                                 MIDDLETOWN       OH     45044‐9443
ALBERT STEFAN               12318 WHITE LAKE RD                                                                           FENTON           MI     48430‐2572
ALBERT STEPHENS JR          241 PHOENIX ST                                                                                COMMERCE TWP     MI     48382‐3171
ALBERT STEURER III          9589 CHERRYWOOD RD                                                                            CLARKSTON        MI     48348‐2507
ALBERT STEVENSON            522 W 38TH ST                                                                                 MARION           IN     46953‐4862
ALBERT STEWART              9483 NEWTON FALLS RD                                                                          RAVENNA          OH     44266‐9246
ALBERT STOCKER              1502 BEGOLE ST                                                                                FLINT            MI     48503‐1236
ALBERT STOLL                RR 1                                                                                          FRANKLIN         OH     45005
ALBERT STORCH               6121 JADE LN                                                                                  BRIDGEPORT       MI     48722‐9521
ALBERT STOWERS              9122 W WHEELER RD                                                                             EVANSVILLE       WI     53536‐8332
ALBERT STRICKO              504 PORT ARTHUR RD                                                                            TRIMBLE          MO     64492‐9220
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ALBERT STRONG                        5710 DUPONT ST                                                                                        FLINT              MI     48505‐2655
ALBERT STROTHER                      180 EDGECOMBE AVE APT 1A                                                                              NEW YORK           NY     10030‐1184
ALBERT STULTS                        4405 S.R. 35 SOUTH                                                                                    MUNCIE             IN     47302
ALBERT STUMPH                        WISE & JULIAN                        156 N MAIN ST STOP 1                                             EDWARDSVILLE        IL    62025‐1972
ALBERT STURGELL                      1356 SUBURBAN VILLAGE CIR                                                                             RICHMOND           VA     23235‐4853
ALBERT SUCHA                         9215 WATERFALL GLEN BLVD                                                                              DARIEN              IL    60561‐5282
ALBERT SULLINS                       BEVAN & ASSOCIATES LPA INC           6555 DEAN MEMORIAL PARKWAY                                       BOSTON HTS         OH     44236
ALBERT SULLIVAN                      10209 DEEP CREEK PL                                                                                   UNION CITY         GA     30291‐6040
ALBERT SULLIVAN                      W12108 CUMBERLAND AVE                                                                                 COLOMA             WI     54930‐8804
ALBERT SULLIVAN                      335 INDIAN MOUND CIR                                                                                  JACKSBORO          TN     37757‐2103
ALBERT SUMNER                        15022 WOLF CREEK RD                                                                                   BROOKVILLE         IN     47012‐8938
ALBERT SWICK                         11 MAKEFIELD CIR N                                                                                    ALLENTOWN          NJ     08501‐1532
ALBERT SWIGER                        761 ALLES DR SW                                                                                       BYRON CENTER       MI     49315‐9302
ALBERT SYASS                         1515 N LOGAN AVE                                                                                      DANVILLE            IL    61832‐1643
ALBERT SZAMBORSKI                    THE LAW OFFICES OF PETER G ANGELOS   100 NORTH CHARLES            22ND FLOOR                          BALTIMORE          MD     21201

ALBERT T TAYLOR SR                     C/O WILLIAMS KHERKHER HART &       8441 GULF FREEWAY STE 600                                        HOUSTON            TX     77007
                                       BOUNDAS LLP
ALBERT T. OPP AND MRS. HELLEN M OPR JT 2709 CHESTNUT ST                                                                                    GRAND FORKS       ND      58201
TEN
ALBERT T. PAGLIA                       615 GRISWOLD STE #1225                                                                              DETROIT           MI      48226
ALBERT TACEY JR                        2652 WOODRING DR                                                                                    CLEARWATER        FL      33759‐1733
ALBERT TACKETT                         9255 CONTINENTAL DR                                                                                 TAYLOR            MI      48180‐3033
ALBERT TAMM LUMBER CO                  3232 E 18TH ST                                                                                      KANSAS CITY       MO      64127‐2648
ALBERT TATE                            1527 FOUNTAIN SQUARE DR                                                                             AUSTINTOWN        OH      44515‐4671
ALBERT TAYLOR                          1954 FAIRFAX RD                                                                                     TOLEDO            OH      43613‐5115
ALBERT TAYLOR                          1475 MCKINSTRYS MILL RD                                                                             UNION BRIDGE      MD      21791‐8807
ALBERT TAYLOR                          2699 DIANE AVE SE                                                                                   PALM BAY          FL      32909‐6469
ALBERT TAYLOR
ALBERT TAYS                            305 WILSON PARK DR                                                                                  WEST CARROLLTON   OH      45449‐1644

ALBERT TEGLASH JR                    635 W INMAN AVE                                                                                       RAHWAY            NJ      07065‐2216
ALBERT TERRY                         707 OLIVE ST                                                                                          SCRANTON          AR      72863‐9094
ALBERT THIBODEAU                     704 ANTLER RIDGE CV                  CAROLINA LAKES                                                   MYRTLE BEACH      SC      29588‐8851
ALBERT THOMAS                        748 ESTES PARK DR                                                                                     SAINT PETERS      MO      63376‐2089
ALBERT THOMAS                        4294 MILLSBORO ROAD W RR 12                                                                           MANSFIELD         OH      44903
ALBERT THOMAS                        1417 E LARCHMONT DR                                                                                   SANDUSKY          OH      44870‐4382
ALBERT THOMAS                        16576 PRAIRIE STREET                                                                                  DETROIT           MI      48221‐2915
ALBERT THOMAS                        PO BOX 593                                                                                            CLIO              MI      48420‐0593
ALBERT THOMAS JR                     43464 LAURELWOOD CT                                                                                   CANTON            MI      48187‐4914
ALBERT THOMPSON                      507 OCALA ST                                                                                          E MCKEESPORT      PA      15035‐1215
ALBERT THOMPSON                      2505 E DODGE RD                                                                                       CLIO              MI      48420‐9748
ALBERT THOMPSON                      9789 HICKORY RIDGE CT                                                                                 LAS VEGAS         NV      89147‐7104
ALBERT THRASH                        3400 PENROSE DR                                                                                       LANSING           MI      48911‐3331
ALBERT TILLER JR                     8540 SPENCER CT                                                                                       N RIDGEVILLE      OH      44039‐4493
ALBERT TILLMAN                       3515 MICHAEL CLAY DR                                                                                  JACKSON           MS      39213‐5124
ALBERT TILSON JR                     1703 ATLANTA RD                                                                                       GRIFFIN           GA      30223
ALBERT TOCCACELI                     7566 CORAL DR                                                                                         GRAND BLANC       MI      48439‐8590
ALBERT TOGLIATTI                     310 SUGAR MAPLE LN                                                                                    MANSFIELD         OH      44903‐8576
ALBERT TOMCAVAGE                     1939 OLD READING RD LOT 159                                                                           CATAWISSA         PA      17820‐8082
ALBERT TOMECHKO                      34516 SUMMERHILL DR                                                                                   AVON              OH      44011‐3200
ALBERT TOROK                         5870 STANBY RD                                                                                        COLUMBIAVILLE     MI      48421
ALBERT TORRES JR                     217 BERKSHIRE DR                                                                                      YOUNGSTOWN        OH      44512‐1251
ALBERT TORREZ                        1504 BASSETT ST                                                                                       LANSING           MI      48915‐1504
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ALBERT TOSTO              815 CYPRESS DR                                                                                 DAVISON             MI     48423‐1917
ALBERT TOTH               129 EADY CT                                                                                    ELYRIA              OH     44035‐4123
ALBERT TOTTEN JR          1110 BERNARDO BLVD                                                                             LADY LAKE           FL     32159‐5798
ALBERT TOUSSANT III       C/O WILLIAMS KHERKHER HART AND   8441 GULF FREEWAY STE 600                                     HOUSTON             TX     77007
                          BOUNDAS LLP
ALBERT TOWNSEND           PO BOX 672                                                                                     CLAYMONT            DE     19703‐0672
ALBERT TOWNSEND           3123 RASKOB ST                                                                                 FLINT               MI     48504‐3228
ALBERT TRAWEEK            14960 HARLESS RD                                                                               NORTHPORT           AL     35475‐4127
ALBERT TRICASE            47 ROOSEVELT ST                                                                                MASSENA             NY     13662‐1216
ALBERT TROESCH            TULPENWEG 12                                                                                   54411 HERMESKEIL
ALBERT TR╓SCH             TULPENWEG 12                                                                                   HERMESKEIL         DE
ALBERT TROUT III          34122 SHEARING DR                                                                              STERLING HEIGHTS   MI      48312‐4976
ALBERT TROUTNER JR        3417 SCHULTZ ST                                                                                LANSING            MI      48906‐3245
ALBERT TRUDGEON           2010 SHADY OAKS DR                                                                             TALLAHASSEE        FL      32303‐7334
ALBERT TSANG              6411 ASPEN COVE CT                                                                             SUGAR LAND         TX      77479
ALBERT TULLY              5464 NORTHWAY RD                                                                               PLEASANTON         CA      94566‐5447
ALBERT TURNER             99 COOLIDGE AVE                                                                                LOCKPORT           NY      14094‐6016
ALBERT TWIEST             4047 LEONARD ST NW                                                                             GRAND RAPIDS       MI      49534‐2117
ALBERT TWYMAN             577 W 4TH ST                                                                                   MANSFIELD          OH      44903‐1431
ALBERT TYRA               7618 HONNEN DR N                                                                               INDIANAPOLIS       IN      46256‐3230
ALBERT U. SABINE TR╓SCH   TULPENWEG 12                                                                                   54411 HERMESKEIL
ALBERT UJLAKY             713 WILLIAMSBURG DRIVE E         APT D                                                         GREENSBURG         PA      15601
ALBERT UNDERWOOD JR       14291 CRUSE ST                                                                                 DETROIT            MI      48227‐3118
ALBERT UPTON              1292 N US HIGHWAY 231                                                                          SPENCER            IN      47460‐6644
ALBERT VACCHIANO          708 BRUBAKER DR                                                                                DAYTON             OH      45429‐3426
ALBERT VACI               10609 LARAMIE AVE                                                                              OAK LAWN           IL      60453‐5103
ALBERT VAISER IRA         C/O ALBERT VAISER                6504 MEADOWCREEK                                              DALLAS             TX      75254
ALBERT VALASEK            105 CIRCLE RD                                                                                  N SYRACUSE         NY      13212‐4032
ALBERT VALASEK            10580 COPAS RD                                                                                 LENNON             MI      48449‐9651
ALBERT VALDEZ             10060 SAINT BERNARD DR                                                                         SHREVEPORT         LA      71106‐8544
ALBERT VALENZUELA         6240 BUFFALO AVE                                                                               VAN NUYS           CA      91401‐2418
ALBERT VAN NEST           11 CHANDLER CT                                                                                 HILLSBOROUGH       NJ      08844‐1426
ALBERT VANACKER           1438 WEATHERHILL CT                                                                            EAST LANSING       MI      48823‐2476
ALBERT VANCISE            11406 VIENNA RD                                                                                MONTROSE           MI      48457‐9760
ALBERT VANCOPPENOLLE      1736 E BENWICK RD                                                                              TOLEDO             OH      43613‐2340
ALBERT VANDERPOOL         PO BOX 186                                                                                     HILLSBORO          OH      45133‐0186
ALBERT VANHORN            12143 RIGA HWY                                                                                 OTTAWA LAKE        MI      49267‐9301
ALBERT VARLEY             17104 5TH ST                     P O BOX 18                                                    ARCADIA            MI      49613‐5116
ALBERT VARVEL             1100 SWEITZER ST                                                                               GREENVILLE         OH      45331‐1083
ALBERT VAUGHN JR          2027 DWIGHT AVE                                                                                FLINT              MI      48503‐4048
ALBERT VAUGHT             156 S WALNUT ST                                                                                CHILLICOTHE        OH      45601‐3233
ALBERT VAZQUEZ            19726 ARMINTA ST                                                                               WINNETKA           CA      91306‐2338
ALBERT VEGA               60 S BON AIR AVE                                                                               YOUNGSTOWN         OH      44509‐2606
ALBERT VEGA               2580 HAENLEIN DR                                                                               SAGINAW            MI      48603‐3016
ALBERT VEKASY             6308 STONEY RIDGE DR                                                                           AUSTINTOWN         OH      44515‐5583
ALBERT VENTURA            6399 BUELL DR                                                                                  LOCKPORT           NY      14094‐6026
ALBERT VERBEKE            12923 COLLINS RD                                                                               BROCKWAY           MI      48097‐2605
ALBERT VERHEYN            9484 THREE FLAGS LN                                                                            BLACK HAWK         SD      57718‐9622
ALBERT VIANELLO           51 CORAL WAY                                                                                   CANFIELD           OH      44406
ALBERT VICE               3429 MERLE DR                                                                                  WINDSOR MILL       MD      21244‐3666
ALBERT VILLA              296 ROCKWELL AVE                                                                               PONTIAC            MI      48341‐2452
ALBERT VILLARREAL         651 E TENNYSON AVE                                                                             PONTIAC            MI      48340‐2959
ALBERT VILLARREAL         7096 YARMY DR                                                                                  SWARTZ CREEK       MI      48473‐1546
ALBERT VINSON             6682 E WATSON RD                                                                               MOORESVILLE        IN      46158‐6144
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Name                                  Address1                              Address2             Address3         Address4                 City              State   Zip
ALBERT VOLANSKY                       21608 VIOLET ST                                                                                      ST CLR SHORES      MI     48082‐1972
ALBERT VORACHEK                       3605 N HOOVER AVE                                                                                    GLADWIN            MI     48624‐9524
ALBERT VOYTAS                         11770 E 2000 NORTH RD                                                                                PONTIAC             IL    61764‐3226
ALBERT W CHRISTNER                    1383 MALLARD DR                                                                                      BURTON             MI     48509‐1560
ALBERT W GONZALEZ                     28362 GAMBLE RD                                                                                      CHESTERFIELD       MI     48047‐4852
ALBERT W HARE                         5124 INLAND ST                                                                                       FLINT              MI     48505‐1713
ALBERT W HINES                        4225 MACSWAY AVE APT 918                                                                             COLUMBUS           OH     43232‐4256
ALBERT W LONG                         11 SNELL RD                                                                                          GENEVA             NY     14456‐3231
ALBERT W MASSEY                       13225 N FOUNTAIN HILLS BLVD APT 208                                                                  FOUNTAIN HILLS     AZ     85268‐3835

ALBERT W RAY                          4825 AMESBOROUGH RD                                                                                  DAYTON            OH      45420‐3353
ALBERT W ROBERTS                      148 BRANDI WAY                                                                                       WINCHESTER        TN      37398‐1477
ALBERT W TILLMAN                      3515 MICHAEL CLAY DR.                                                                                JACKSON           MS      39213‐5124
ALBERT W WEIMER                       3417 SCHNORF‐JONES RD                                                                                ARCANUM           OH      45304‐9650
ALBERT W WICK                         JMS LLC CUST.                         50 S TAMENEND AVE                                              NEW BRITAIN       PA      18901
ALBERT W WICK                         50 S TAMENEND AVE                     JMS LLC CUST                                                   NEW BRITAIN       PA      18901
ALBERT W WILLIS                       6820 W ST RT 718                                                                                     PLEASANT HILL     OH      45359‐9705
ALBERT W WOJNARSKI                    4535 STATE ROUTE 82 NW                                                                               NEWTON FALLS      OH      44444‐9579
ALBERT W. KING                        2115 DAVIS AVENUE S                                                                                  RENTON            WA      98055
ALBERT WAGANFEALD                     5562 ELMER DR                                                                                        TOLEDO            OH      43615‐2806
ALBERT WAGNER                         9451 MORROW ROSSBURG RD                                                                              PLEASANT PLAIN    OH      45162‐9388
ALBERT WALKER                         4626 WOODLYNN CT                                                                                     FORT WAYNE        IN      46816‐4180
ALBERT WALKER                         46643 RIVERWOODS DR                                                                                  MACOMB            MI      48044‐5703
ALBERT WALKO                          1865 ORCHARD HL                                                                                      MILFORD           MI      48380‐2546
ALBERT WALLNER                        8083 PIEDMONT ST                                                                                     DETROIT           MI      48228‐3353
ALBERT WALSH                          6211 15TH ST E LOT 80                                                                                BRADENTON         FL      34203‐7746
ALBERT WALTEMYER                      3210 TOTH RD                                                                                         SAGINAW           MI      48601‐5766
ALBERT WALTER JR                      2076 HARWINE ST                                                                                      FLINT             MI      48532‐5114
ALBERT WALTON JR                      PO BOX 356                                                                                           CASTALIA          NC      27816‐0356
ALBERT WARE                           6761 MAPLE CREEK BLVD                                                                                WEST BLOOMFIELD   MI      48322‐4556

ALBERT WARTH                          4401 BRISTOLWOOD DR                                                                                  FLINT              MI     48507‐3722
ALBERT WASH                           1601 BIG TREE RD APT 1204                                                                            SOUTH DAYTONA      FL     32119‐8645
ALBERT WATKINS JR                     1339 HICKORY HOLLOW DR                                                                               FLINT              MI     48532‐2036
ALBERT WATSON                         PO BOX 21729                                                                                         DETROIT            MI     48221‐0729
ALBERT WATSON                         PO BOX 484                                                                                           UNION LAKE         MI     48387‐0484
ALBERT WATSON JR                      PO BOX 13418                                                                                         FLINT              MI     48501‐3418
ALBERT WEAVER                         3475 WOODWARD AVE SW APT 2                                                                           WYOMING            MI     49509‐6602
ALBERT WEBB                           736 POPLAR ST                                                                                        HUNTINGTON         IN     46750‐2050
ALBERT WEBB                           115 TRUMAN LN                                                                                        FITZGERALD         GA     31750‐8908
ALBERT WEBER                          6233 MARLBOROUGH DR                                                                                  GOLETA             CA     93117‐1637
ALBERT WEBER FINANZ UND BESITZHOLDI   OTTO LILIENTHAL STR 5                                                       MARKDORF BW 88677
                                                                                                                  GERMANY
ALBERT WEBER FINANZ UND BESITZHOLDI OTTO‐LILIENTHAL‐STR 5                                                         MARKDORF BW 88677
                                                                                                                  GERMANY
ALBERT WEBER JR                       1525 ROUTE 426                                                                                       CLYMER             NY     14724‐9627
ALBERT WEEMS                          141 W PARISHVILLE RD                                                                                 POTSDAM            NY     13676‐3429
ALBERT WEICKMANN                      TULLASTRASSE 10                                                             68161 MANNHEIM GERMANY

ALBERT WEICKMANN                      TULLASTRASSE 10                       68161 MANNHEIM
ALBERT WELDON                         12039 TOWNLINE RD                                                                                    GRAND BLANC       MI      48439‐1660
ALBERT WELLS                          317 LILAC AVE                                                                                        DAYTON            TN      37321‐6792
ALBERT WERDEN                         30 WILLOW WAY                                                                                        CANFIELD          OH      44406‐9226
ALBERT WERDEN                         30 WILLOW WAY                                                                                        CANFIELD          OH      44406‐9226
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Name                       Address1                     Address2               Address3         Address4                City            State   Zip
ALBERT WESSEL              2879 CRESTWOOD LN                                                                            DANVILLE         IN     46122‐8699
ALBERT WEST JR             206 LARKSPUR LANE                                                                            MIDDLE RIVER     MD     21220‐2060
ALBERT WESTBY              67700 POWELL RD                                                                              WASHINGTON       MI     48095‐1502
ALBERT WESTENDORF          3783 CARROLLTON RD                                                                           SAGINAW          MI     48604‐2001
ALBERT WESTLEY             402 N GROVE ST                                                                               STANDISH         MI     48658‐9167
ALBERT WHITE               8300 E 104TH ST                                                                              KANSAS CITY      MO     64134‐2110
ALBERT WHITE               RT 2 9440 HIGH POINT RD                                                                      VILLA RICA       GA     30180
ALBERT WHITE               451 SPRUCE ST                                                                                MOUNT MORRIS     MI     48458‐1938
ALBERT WIEGAND             52520 WESTCREEK DR                                                                           MACOMB           MI     48042‐2966
ALBERT WILBUR              520 WOOD ST                                                                                  EATON RAPIDS     MI     48827‐1056
ALBERT WILKE               2936 ORANGE CEMETERY RD                                                                      MORGANTOWN       KY     42261‐9629
ALBERT WILKERSON JR        2261 W DROWNING CREEK RD                                                                     DACULA           GA     30019‐2423
ALBERT WILKINS             260 BELLA VISTA TER                                                                          MCDONOUGH        GA     30253‐8679
ALBERT WILKINS SR          10077 BROADWAY RD                                                                            GOWANDA          NY     14070‐9675
ALBERT WILKINSON JR        PO BOX 187                   483 WALNUT                                                      KIDDER           MO     64649‐0187
ALBERT WILLIAMS            6377 DETROIT ST                                                                              MOUNT MORRIS     MI     48458‐2700
ALBERT WILLIAMS            5922 WALROND AVE                                                                             KANSAS CITY      MO     64130‐3963
ALBERT WILLIAMS            722 N SUNSET DR                                                                              INDEPENDENCE     MO     64050‐3225
ALBERT WILLIAMS            15780 SAINT MARYS ST                                                                         DETROIT          MI     48227‐1930
ALBERT WILLIAMS            18661 GREENVIEW AVE                                                                          DETROIT          MI     48219‐2928
ALBERT WILLIAMS            1329 EMILY ST                                                                                SAGINAW          MI     48601‐3033
ALBERT WILLIAMS            6406 WESTSHORE DR                                                                            OSCODA           MI     48750‐9685
ALBERT WILLIS              6820 STATE ROUTE 718                                                                         PLEASANT HILL    OH     45359‐9705
ALBERT WILLOUGHBY          1680 W COUNTY ROAD 1050 S                                                                    CLOVERDALE       IN     46120‐9482
ALBERT WILLS               316 N WASHINGTON ST                                                                          KNIGHTSTOWN      IN     46148‐1062
ALBERT WILLY               312 MEADOW LN                                                                                PRUDENVILLE      MI     48651‐9238
ALBERT WILSON              4481 W FRANCES RD                                                                            CLIO             MI     48420‐8516
ALBERT WILSON              8150 FORT COOPER HOLLOW RD                                                                   PRIMM SPRINGS    TN     38476‐1902
ALBERT WILSON JR           6744 DONALD ST                                                                               SAINT LOUIS      MO     63121‐3142
ALBERT WINEGARDNER         6620 S FIELDS ST                                                                             OKLAHOMA CITY    OK     73150‐6414
ALBERT WINKEL              ROISDORFERSTR 4                                                      50969 KOLN GERMANY
ALBERT WINKLER             4626 WENONAH AVE                                                                             FOREST VIEW     IL      60402‐4353
ALBERT WINTON A (488947)   MOTLEY RICE                  PO BOX 1792                                                     MT PLEASANT     SC      29465‐1792
ALBERT WOJNARSKI           4535 STATE ROUTE 82                                                                          NEWTON FALLS    OH      44444‐9579
ALBERT WOLSCHLAGER         750 WHITELAM ST                                                                              BAD AXE         MI      48413‐9178
ALBERT WOOD                51 ORCHARD ST                                                                                RED BANK        NJ      07701‐6261
ALBERT WOOD                4991 CONNS CREEK RD                                                                          BALL GROUND     GA      30107‐3401
ALBERT WOODS               2466 RIVERWOOD DR                                                                            MULBERRY        FL      33860‐9500
ALBERT WOODS               18160 FLEMING ST                                                                             DETROIT         MI      48234‐1300
ALBERT WOODSON             2906 WATER LILY CT                                                                           AUSTELL         GA      30106‐1071
ALBERT WOODUL I I I        PO BOX 643                                                                                   COOKEVILLE      TN      38503‐0643
ALBERT WOODWARD            171 6TH ST                                                                                   CAMPBELL        OH      44405‐1372
ALBERT WOODWARD            PO BOX 21452                                                                                 INDIANAPOLIS    IN      46221‐0452
ALBERT WORTHY              8879 CHEYENNE ST                                                                             DETROIT         MI      48228‐2609
ALBERT WOTCHKO             2107 IROQUOIS AVE                                                                            PRUDENVILLE     MI      48651‐9305
ALBERT WRIGHT              4134 S BROAD ST APT B7                                                                       YARDVILLE       NJ      08620‐2005
ALBERT WRIGHT              1624 NORMAN DR APT 506                                                                       ATLANTA         GA      30349
ALBERT WRIGHT              7445 PILGRIM ST                                                                              DETROIT         MI      48238‐1262
ALBERT WYCKOFF             5160 E HOPP LN                                                                               INVERNESS       FL      34452‐8335
ALBERT WYMAN               4121 REDONDO AVE                                                                             TOLEDO          OH      43607‐2412
ALBERT YARRINGTON          3313 HERRICK ST                                                                              FLINT           MI      48503‐4063
ALBERT YATES               1819 SEYMOUR LAKE RD                                                                         OXFORD          MI      48371‐4345
ALBERT YELLE               11435 SKYLINE DR                                                                             FENTON          MI      48430‐8823
ALBERT YERIAN              1063 W HAMPTON RD                                                                            ESSEXVILLE      MI      48732‐1546
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Name                         Address1                          Address2                  Address3    Address4               City             State Zip
ALBERT YONKERS               132 GRANT RD                                                                                   MONONGAHELA       PA 15063‐3618
ALBERT YOUNG                 16 TANNER TOWN RD                                                                              BLUE RIDGE        GA 30513‐6662
ALBERT YOUNG
ALBERT ZAMARRIPA             3413 IVANREST AVE SW                                                                           GRANDVILLE       MI   49418‐2092
ALBERT ZARBAUGH              5532 CALLAWAY CIR                                                                              AUSTINTOWN       OH   44515‐4166
ALBERT ZARKA                 930 ALEXANDRIA DR                                                                              LANSING          MI   48917‐3990
ALBERT ZDOLSHEK              5690 ESSEX DR                                                                                  SEVEN HILLS      OH   44131‐1824
ALBERT ZEITLER JR            307 SINN RD                                                                                    COWLESVILLE      NY   14037‐9729
ALBERT ZIELESCH              6302 US 41 S                      LOT 120                                                      RUSKIN           FL   33570
ALBERT ZIMMER                685 S FAIRVIEW RD                                                                              WEST BRANCH      MI   48661‐9550
ALBERT ZOST JR               202 BRENTWOOD DR                                                                               ATHENS           TX   75751‐9078
ALBERT ZUCKER                1400 SW 131 WAUI                  APT 401                                                      PEMBROKE PINES   FL   33027
ALBERT ZULLI III             11207 STONEY BROOK DR                                                                          GRAND LEDGE      MI   48837‐9154
ALBERT ZYKOWSKI JR           27855 DENMAR DR                                                                                WARREN           MI   48093‐4485
ALBERT'S AUTO TRANSMISSION   7053 CANOGA AVE                                                                                CANOGA PARK      CA   91303
ALBERT, ALLEN C              205 STERLING DR                                                                                LAPEER           MI   48446‐2892
ALBERT, ANDREW C             9635 SE 171TH PL                                                                               SUMMERFIELD      FL   34491‐6833
ALBERT, ANDREW C             9635 SE 171ST PL                                                                               SUMMERFIELD      FL   34491‐6833
ALBERT, ANNIE W              1223 WICKLOW RD                                                                                BALTIMORE        MD   21229‐1549
ALBERT, ARLENE               258 GRANTWOOD DR                                                                               W CARROLLTON     OH   45449‐1570
ALBERT, CARMEN               7 MERCHANT STREET                                                                              PORT PENN        DE   19731
ALBERT, CAROL                211 PARK ST                                                                                    GAINES           MI   48436‐9671
ALBERT, CAROL A              21496 MADISON RD                                                                               SOUTH BEND       IN   46614‐9603
ALBERT, CHARLES P            2551 OLD SHERWOOD CT                                                                           COMMERCE         MI   48382‐1183
                                                                                                                            TOWNSHIP
ALBERT, CLARA C              440 CONSUELO DR                                                                                SANTA BARBARA    CA   93110‐1116
ALBERT, CONNIE C             5300 VINEYARD LN                                                                               FLUSHING         MI   48433‐2438
ALBERT, DALE D               241 DENNY LN                                                                                   ALGER            MI   48610‐9221
ALBERT, DALE DONALD          241 DENNY LN                                                                                   ALGER            MI   48610‐9221
ALBERT, DANIEL S             70462 MELLEN RD                                                                                BRUCE TWP        MI   48065‐4471
ALBERT, DARRIS O             716 FLAT ROCK DR                                                                               PAULDING         OH   45879‐9227
ALBERT, DAVID                120 LAKE ST APT 4B                                                                             WHITE PLAINS     NY   10604
ALBERT, DAVID A              8070 TONAWANDA CREEK RD                                                                        EAST AMHERST     NY   14051‐1002
ALBERT, DAVID P              1512 N FRANKLIN RD                                                                             GREENWOOD        IN   46143‐9753
ALBERT, DEBBIE R             2027 WESTMINSTER CT                                                                            GRAND FORKS      ND   58201
ALBERT, DENNIS A             757 LAKE DR                                                                                    SEBASTIAN        FL   32958‐4235
ALBERT, DENNIS R             2426 TAM‐O‐SHANTER CRT                                                                         BOWLING GREEN    KY   42104
ALBERT, DEREK C              120 BANYAN DR                                                                                  BEAUFORT         SC   29906
ALBERT, DONALD               14567 BIRWOOD ST                                                                               DETROIT          MI   48238‐1663
ALBERT, DONALD M             5498 PIERCE RD NW                                                                              WARREN           OH   44481‐9310
ALBERT, DONALD R             2705 SCARLET OAK CT                                                                            COLUMBIA         MO   65201‐3521
ALBERT, DONNA D              3370 INGHAM RD                                                                                 NATIONAL CITY    MI   48748‐9421
ALBERT, DOROTHY A            1914 ELIZABETH ST                                                                              JANESVILLE       WI   53545‐2706
ALBERT, DOROTHY M            11227 PORTLANCE ST                                                                             DETROIT          MI   48205‐3278
ALBERT, EARNEST A            17 E BLOSSOM HILL RD                                                                           W CARROLLTON     OH   45449‐2051
ALBERT, EDWARD C             5371 GARY RD                                                                                   CHESANING        MI   48616‐8429
ALBERT, EDWARD L             3200 W PIONEER DR APT 105                                                                      IRVING           TX   75061
ALBERT, EDWARD LADARELL      3200 W PIONEER DR APT 105                                                                      IRVING           TX   75061
ALBERT, ELFRIEDE B           707 MEDRONA DRIVE                 #334                                                         SALEM            OR   97302
ALBERT, FRANK N              2812 PISCATAWAY RUN DR                                                                         ODENTON          MD   21113‐4032
ALBERT, FRANK NICHOLAS       2812 PISCATAWAY RUN DR                                                                         ODENTON          MD   21113‐4032
ALBERT, FREEMAN              EARLY LUDWICK SWEENEY & STRAUSS   360 LEXINGTON AVE FL 20                                      NEW YORK         NY   10017‐6530
ALBERT, GARY B               5436 MAURA DR                                                                                  FLUSHING         MI   48433‐1058
ALBERT, GERALD J             ANGELOS PETER G LAW OFFICES       60 WEST BROAD ST                                             BETHLEHEM        PA   18018‐5737
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Name                   Address1                         Address2                    Address3   Address4               City               State   Zip
ALBERT, HARRY O        12144 NATHANIEL LN                                                                             TWINSBURG           OH     44087‐2676
ALBERT, HEATHER S      70462 MELLEN RD                                                                                BRUCE TWP           MI     48065‐4471
ALBERT, HERMAN         ANGELOS PETER G LAW OFFICES OF   100 PENN SQUARE EAST, THE                                     PHILADELPHIA        PA     19107
                                                        WANAMAKER BUILDING
ALBERT, JAIME C        29375 TAYLOR AVE                                                                               HAYWARD            CA      94544‐6534
ALBERT, JAMES          7702 MORNING LAKE DR                                                                           LAS VEGAS          NV      89131‐3675
ALBERT, JAMES          13104 HARBOR LANDINGS DR                                                                       FENTON             MI      48430‐3900
ALBERT, JAMES A        271 S FREMONT RD                                                                               COLDWATER          MI      49036‐9426
ALBERT, JAMES D        1325 SUPERIOR ST                                                                               HAVRE DE GRACE     MD      21078‐2430
ALBERT, JAMES E        13024 S JONES RD                                                                               DELTON             MI      49046‐9655
ALBERT, JAMES H        16250 SALEM ST                                                                                 DETROIT            MI      48219‐3695
ALBERT, JAMES T        13170 CUMBERLAND CT                                                                            BELLEVILLE         MI      48111‐2386
ALBERT, JAMES THOMAS   13170 CUMBERLAND CT                                                                            BELLEVILLE         MI      48111‐2386
ALBERT, JAMES W        6376 JORDAN RD                                                                                 LEWISBURG          OH      45338‐7758
ALBERT, JEAN H         3137 GLENEAGLES DR E                                                                           CLEARWATER         FL      33761‐2739
ALBERT, JEANETTE A     1032 SECOND STREET                                                                             SANDUSKY           OH      44870‐3830
ALBERT, JEANETTE A     1032 2ND ST                                                                                    SANDUSKY           OH      44870‐3830
ALBERT, JEFFREY R      6124 WINDCHARME AVE                                                                            LANSING            MI      48917‐1278
ALBERT, JERRY B        165 DIAMOND WAY                                                                                CORTLAND           OH      44410‐1900
ALBERT, JOHN M         11502 CANTERBURY DR                                                                            STERLING HEIGHTS   MI      48312‐2906
ALBERT, JON B          4995 MALIBU DR                                                                                 BLOOMFIELD HILLS   MI      48302‐2254
ALBERT, JOSEPH P       1421 CHAPEL ST                                                                                 DAYTON             OH      45404‐1809
ALBERT, JUDY A         2 REFLECTION LN                                                                                TRABUCO CANYON     CA      92679

ALBERT, JUDY B         5498 PIERCE RD NW                                                                              WARREN             OH      44481‐9310
ALBERT, KEVIN V        4649 RIVER ST                                                                                  OSCODA             MI      48750‐9562
ALBERT, LAURENCE J     2301 DELTA RIVER DR                                                                            LANSING            MI      48906‐3750
ALBERT, LAVERN V       15921 BUECHE RD                                                                                CHESANING          MI      48616‐9770
ALBERT, LEO G          14100 BRIGGS RD                                                                                CHESANING          MI      48616‐9475
ALBERT, LETTYE         915 DESCO LN APT 3113                                                                          GRAND PRAIRIE      TX      75051‐1542
ALBERT, LINDA P        165 DIAMOND WAY                                                                                CORTLAND           OH      44410‐1900
ALBERT, MARCIA M       197 PORTAL DR                                                                                  CORTLAND           OH      44410‐1520
ALBERT, MARIE          1268 BAYBROOK CT                                                                               BELLEVILLE         IL      62221‐7980
ALBERT, MARTY J        3658 ZENITH AVE                                                                                THOUSAND OAKS      CA      91360‐6261
ALBERT, MARY L         3832 EAST 123RD                                                                                CLEVELAND          OH      44105‐2965
ALBERT, MARY L         3832 E 123RD ST                                                                                CLEVELAND          OH      44105‐2965
ALBERT, NATHAN         915 DESCO LN                     APT 3113                                                      GRAND PRAIRIE      TX      75051
ALBERT, NORMAN J       211 PARK ST                                                                                    GAINES             MI      48436‐9671
ALBERT, PATRICIA A     508 ELSIE AVE                                                                                  CREST HILL         IL      60403‐2418
ALBERT, PATRICIA M     1618 BEDFORD SQR                                                                               ROCHESTER HILLS    MI      48306
ALBERT, PAUL K         8616 W 10TH ST APT 416                                                                         INDIANAPOLIS       IN      46234‐2171
ALBERT, RAYMOND        C/O THE LIPMAN LAW FIRM          5915 PONCE DE LEON BLVD     SUITE 44                          CORAL GABLES       FL      33146
ALBERT, RICH           2223 W VILLAGE LN                                                                              SPRINGFIELD        MO      65807‐4041
ALBERT, ROBERT J       18378 W SHARON RD                                                                              OAKLEY             MI      48649‐8709
ALBERT, ROBERT T       711 PROSPECT AVE                                                                               BRONX              NY      10455‐2422
ALBERT, ROGER L        69 PIROGUE ST                                                                                  TOMS RIVER         NJ      08757‐4136
ALBERT, RONALD F       2934 NIAGARA FALLS BLVD                                                                        NORTH              NY      14120‐1140
                                                                                                                      TONAWANDA
ALBERT, RONALD G       4410 W HOWE RD                                                                                 DEWITT              MI     48820‐9295
ALBERT, RONALD G       57627 GRACE DR                                                                                 WASHINGTON          MI     48094‐3155
ALBERT, RONALD J       18151 W SHARON RD                                                                              OAKLEY              MI     48649‐8707
ALBERT, RONALD J       1771 HOLLIDAY DRIVE                                                                            CASSELBERRY         FL     32707‐3709
ALBERT, RONALD P       7410 NOEL AVE                                                                                  DIMONDALE           MI     48821‐9549
ALBERT, SHELLY B       6124 WINDCHARME AVE                                                                            LANSING             MI     48917‐1278
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Name                    Address1                        Address2                     Address3   Address4               City              State   Zip
ALBERT, STEVEN R        1914 ELIZABETH ST                                                                              JANESVILLE         WI     53548‐2706
ALBERT, VERN            3370 INGHAM RD                                                                                 NATIONAL CITY      MI     48748‐9421
ALBERT, VICTOR A        9414 BLUE SPRUCE CT                                                                            DAVISON            MI     48423‐1186
ALBERT, VICTOR ALAN     9414 BLUE SPRUCE CT                                                                            DAVISON            MI     48423‐1186
ALBERT, WILLIAM E       15100 MADISON PIKE                                                                             MORNING VIEW       KY     41063‐9665
ALBERT, WILLIAM F       250 IDYLWILD ST NE                                                                             WARREN             OH     44483‐3432
ALBERT, WILLIAM N       115 BRIARCLIFF DR                                                                              MONETA             VA     24121‐1763
ALBERT, WINTON A        MOTLEY RICE                     PO BOX 1792                                                    MT PLEASANT        SC     29465‐1792
ALBERT‐WOODS, MILDRED   20631 MOROSS RD                                                                                DETROIT            MI     48224‐1241
ALBERTA ANDERSON        617 S 4TH AVE                                                                                  DANVILLE            IL    61832‐7211
ALBERTA ANTHONY         16677 SUSSEX ST                                                                                DETROIT            MI     48235‐3877
ALBERTA ARMIENTI        6837 SW 10TH ST                                                                                PEMBROKE PINES     FL     33023‐1632
ALBERTA AUSTIN          1586 LATTA RD                                                                                  ROCHESTER          NY     14612‐3848
ALBERTA B BOYD          901 PALLISTER ST APT 712                                                                       DETROIT            MI     48202‐2681
ALBERTA B CADE          PO BOX 5942                                                                                    YOUNGSTOWN         OH     44504‐0942
ALBERTA B JONES         309 SHADY OAKS CT                                                                              ST CLAIR           MO     63077
ALBERTA B NEWLON        50 GOLDEN LANE                                                                                 SCOTTS HILL        TN     38374
ALBERTA BADOUR          1847 S RIVERSIDE DR                                                                            AU GRES            MI     48703‐9796
ALBERTA BAKER           66 CORONADO DR                                                                                 BROOKVILLE         OH     45309‐1149
ALBERTA BALLEW          2206 GARFIELD ST                                                                               LEXINGTON          MO     64067‐1631
ALBERTA BALSEGA         6317 BRADLEY BROWNLEE RD NE                                                                    BURGHILL           OH     44404‐9700
ALBERTA BARNES          4750 GOLDFINCH DR                                                                              ZEPHYRHILLS        FL     33541‐7192
ALBERTA BARRON          4016 S ELMS RD                                                                                 SWARTZ CREEK       MI     48473‐1501
ALBERTA BEAVERS         PO BOX 513                                                                                     WENTZVILLE         MO     63385‐0513
ALBERTA BETHAY          5211 WOODHAVEN DR                                                                              FLINT              MI     48504‐1264
ALBERTA BEVLY           BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS.        OH     44236
ALBERTA BICK            312 E FAIRGROUNDS AVE                                                                          JERSEYVILLE         IL    62052‐1122
ALBERTA BINION          8042 HARTWELL ST                C/O MARIE WALKER                                               DETROIT            MI     48228‐2741
ALBERTA BLACK           1447 UNION ST SW                                                                               WARREN             OH     44485‐3535
ALBERTA BLACKBURN       5028 LINDBERGH BLVD                                                                            DAYTON             OH     45449‐2737
ALBERTA BLAKE           5977 STATE ROUTE 121 S                                                                         MURRAY             KY     42071‐5962
ALBERTA BOGLITSCH       5030 LONG COVE LN 5                                                                            PORT REPUBLIC      MD     20676
ALBERTA BORST           PO BOX 352                                                                                     LAKE GEORGE        MI     48633‐0352
ALBERTA BROADNAX        505 BAY ST                                                                                     PONTIAC            MI     48342‐1916
ALBERTA BROOKS          38674 COURTLAND DR                                                                             WILLOUGHBY         OH     44094‐7506
ALBERTA BROWNLEE        PO BOX 1315                                                                                    PINE MOUNTAIN      GA     31822‐1315
ALBERTA BRYANT          5660 FIRETHORNE DR                                                                             TOLEDO             OH     43615‐6709
ALBERTA BRYE            215 MONTEREY ST                                                                                HIGHLAND PARK      MI     48203‐3422
ALBERTA BUCKNER         7485 COLE RD                                                                                   SAGINAW            MI     48601‐9778
ALBERTA BUNN            3770 LOCH HIGHLAND PKWY NE      C/O JUDITH YOST                                                ROSWELL            GA     30075‐2018
ALBERTA BUTTLER         PO BOX 290                                                                                     ELWOOD             IN     46036‐0290
ALBERTA BYRD            499 MARKET ST                                                                                  LOCKPORT           NY     14094‐2528
ALBERTA CADE            PO BOX 5942                                                                                    YOUNGSTOWN         OH     44504‐0942
ALBERTA CADE            BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS.        OH     44236
ALBERTA CAGLE           7317 HARDING ST                                                                                TAYLOR             MI     48180‐2575
ALBERTA CAINS           9655 POUNDSTONE PL                                                                             GREENWOOD          CO     80111
                                                                                                                       VILLAGE
ALBERTA CARMACK         3882 BRICKFIELD ST                                                                             HICKORY           NC      28602‐9531
ALBERTA CARPENTER       8247 DAWSON DR SE                                                                              WARREN            OH      44484‐3015
ALBERTA CARTER          6867 BROOK HOLLOW CT                                                                           WEST BLOOMFIELD   MI      48322‐5208

ALBERTA CESSNA          16976 VERMILION RIVER LN                                                                       OAKWOOD            IL     61858‐6131
ALBERTA CHANEY          29739 SIERRA POINT CIRCLE                                                                      FARMINGTN HLS      MI     48331‐1482
ALBERTA CLARK           7315 W COUNTY ROAD 700 S                                                                       DALEVILLE          IN     47334‐9737
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Name                        Address1                        Address2               Address3         Address4                    City              State Zip
ALBERTA CLEMENT             90 FIDDIS AVE                                                                                       PONTIAC            MI 48342‐2715
ALBERTA CLOUSER             3422 19TH ST W                                                                                      LEHIGH ACRES       FL 33971
ALBERTA COCHRAN             32 SUNSET CT                                                                                        BLUE RIDGE         GA 30513‐4273
ALBERTA COOPER              12 DANRIDGE DR                                                                                      DANVILLE           IN 46122‐1333
ALBERTA COWAN               4 KINGS CROSSING                                                                                    LEWES              DE 19958‐4123
ALBERTA COWFER              305 COAL ST                                                                                         OSCEOLA MILLS      PA 16666‐1003
ALBERTA CROOM               2913 JAFFE RD                                                                                       WILMINGTON         DE 19808‐1925
ALBERTA CRUM                12023 N CEDARVIEW DR                                                                                MOORESVILLE        IN 46158‐6833
ALBERTA D GOSEY             718 W 71ST ST                                                                                       SHREVEPORT         LA 71106‐3502
ALBERTA D SCOTT             205 INDEPENDENCE DR                                                                                 STAFFORD           VA 22554‐7538
ALBERTA DAVIS               PO BOX 2695                                                                                         ANDERSON           IN 46018‐2695
ALBERTA DENNIS              2990 HIGHWA Y 69 N                                                                                  PARIS              TN 38242
ALBERTA DILLON              70 LASALLE AVE.                                                                                     BUFFALO            NY 14215
ALBERTA DOBBS               2352 STEPPING STONE PASS                                                                            FLUSHING           MI 48433‐2588
ALBERTA DORSEY              417 N RESH ST                                                                                       ANAHEIM            CA 92805‐2549
ALBERTA DOTY                104 7TH AVENUE                                                                                      TAWAS CITY         MI 48763‐9779
ALBERTA DOUGLAS             1305 CAMPBELL ST                                                                                    FLINT              MI 48507‐5307
ALBERTA DUKES               1466 S LIDDESDALE ST                                                                                DETROIT            MI 48217‐1216
ALBERTA E HARTWICK          10510 196 ST SE                                                                                     SNOHOMISH          WA 98296
ALBERTA E WILLIAMS          20017 SUNSET DR                                                                                     WARRENSVILLE       OH 44122‐6667
                                                                                                                                HEIGHTS
ALBERTA EASON               5054 SCOFIELD PL                                                                                    DAYTON             OH 45418‐2014
ALBERTA F WARFORD           4227 CREST DR                                                                                       DAYTON             OH 45416‐1205
ALBERTA FABER               1931 BROOKFIELD RD                                                                                  HUBBARD            OH 44425‐3225
ALBERTA FEOLA               62 GLENVILLE DR                                                                                     ROCHESTER          NY 14606‐4616
ALBERTA FERGUSON            600 NORTHEAST 67TH PLACE                                                                            KANSAS CITY        MO 64118‐3404
ALBERTA FISHER              3427 E PIERSON RD                                                                                   FLINT              MI 48506‐1470
ALBERTA FOIST               126 HEATHER DR                                                                                      PANAMA CITY        FL 32413‐5214
                                                                                                                                BEACH
ALBERTA FORD                6329 ANNA DR                                                                                        BELLEVILLE         MI 48111‐5254
ALBERTA FRANKLIN            608 DITMAR AVE                                                                                      PONTIAC            MI 48341‐2625
ALBERTA FRAZIER             636 S WEST ST                                                                                       FENTON             MI 48430‐2066
ALBERTA GEBHARDT            5437 N SEYMOUR RD                                                                                   FLUSHING           MI 48433‐1003
ALBERTA GEISTER             3767 BURKEY RD                                                                                      YOUNGSTOWN         OH 44515‐3338
ALBERTA GIANGROSSO          58 VICTORIA BLVD                                                                                    CHEEKTOWAGA        NY 14225‐4013
ALBERTA GILLON              3151 MAYFIELD RD APT 1333                                                                           CLEVELAND HEIGHTS OH 44118‐1771

ALBERTA GOODWIN             420 SOUTH MAIN STREET                                                                               LAKEVIEW          OH   43331‐9460
ALBERTA GORDON              104 37TH STREET                                                                                     WILMINGTON        DE   19802
ALBERTA GOSEY               718 W 71ST ST                                                                                       SHREVEPORT        LA   71106‐3502
ALBERTA GRANDESTAFF         717 W BROADWAY ST                                                                                   HIGGINSVILLE      MO   64037‐1841
ALBERTA HALIBURTON          1639 VALENCIA RD                                                                                    DECATUR           GA   30032‐5264
ALBERTA HALL                293 BERMUDA DR                                                                                      GREENVILLE        MS   38701‐7517
ALBERTA HAMMOND             4260 DURST CLAGG RD                                                                                 CORTLAND          OH   44410‐9503
ALBERTA HANDY               4118 FIELD RD                                                                                       CLIO              MI   48420‐8217
ALBERTA HEALTH & WELLNESS   P.O. BOX 2401, STN M                                                    CALGARY AB T3P 6B3 CANADA

ALBERTA HENDRICKSON         1840 ROBIN WAY                                                                                      BETHLEHEM         PA   18018‐1461
ALBERTA HENTHORN            11310 CADIGAN DR                                                                                    SAINT LOUIS       MO   63138‐2324
ALBERTA HERNANDEZ           108 CHRISTINE DR                                                                                    AMHERST           NY   14228‐1311
ALBERTA HICKS               2351 S RIDGEWOOD AVE LOT 5                                                                          EDGEWATER         FL   32141‐4223
ALBERTA HOUSE               75 PATTERSON VILLAGE DR APT 2                                                                       DAYTON            OH   45419‐4228
ALBERTA HUTSON              52 E BROOKLYN AVE                                                                                   PONTIAC           MI   48340‐1206
ALBERTA IRONS               230 W 9TH ST                                                                                        LIMA              OH   45804‐1926
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Name                   Address1                       Address2                Address3        Address4               City           State   Zip
ALBERTA ISAAC          2205 E WILLOW ST                                                                              DANVILLE         IL    61834‐7061
ALBERTA JABBEN         2179 WOODLAND VIEW DR          C/O GAIL JABBEN                                                INDEPENDENCE    KS     67301‐7138
ALBERTA JACKSON        1300 ELECTRIC AVE APT 326                                                                     LINCOLN PARK    MI     48146‐5822
ALBERTA JACKSON        12 ALAMO CT                                                                                   SAGINAW         MI     48601‐1221
ALBERTA JARRETT        215 WASHINGTON ST                                                                             VASSAR          MI     48768‐1233
ALBERTA JOHNSON        816 MAX AVE                                                                                   LANSING         MI     48915‐1016
ALBERTA JONES          632 ELLSWORTH DR                                                                              TROTWOOD        OH     45426‐2514
ALBERTA JONES          309 SHADY OAKS COURT                                                                          ST. CLAIR       MO     63077
ALBERTA JORDAN         3621 EVERGREEN PKWY            C/O BRENDA J DILWORTH                                          FLINT           MI     48503‐4529
ALBERTA JORGENSEN      31600 LAKE SHORE BLVD APT 22                                                                  WILLOWICK       OH     44095‐3523
ALBERTA KADLUBOSKI     203 W BLANCKE ST                                                                              LINDEN          NJ     07036‐5039
ALBERTA KELLY          900 GARDEN PKWY                                                                               JONESBORO       AR     72404‐8788
ALBERTA KILBOURNE      26532 ETON AVE                                                                                DEARBORN HTS    MI     48125‐1313
ALBERTA KINDALL        2319 OAKWOOD RD                                                                               PINE BLUFF      AR     71603‐3409
ALBERTA KIRK           838 ELLERY AVE                                                                                JACKSON         MI     49202‐3431
ALBERTA KNETSCH        2210 S 71ST ST                                                                                WEST ALLIS      WI     53219‐1955
ALBERTA KNOX           272 SOUTH BLVD W                                                                              PONTIAC         MI     48341‐2460
ALBERTA KORZENIEWSKI   AMERICA HOUSE ‐ APT. 108       42000 W. 7MILE RD.                                             NORTHVILLE      MI     48167
ALBERTA KOSTRY         434 N LEWIS RUN RD                                                                            WEST MIFFLIN    PA     15122‐3024
ALBERTA L ROWLAND      4703 BRYANT AVE                                                                               DAYTON          OH     45414‐4610
ALBERTA L WALDRON      5096 ALVA NW                                                                                  WARREN          OH     44483‐1208
ALBERTA LANNING        710 GRANT ST                                                                                  FENTON          MI     48430‐2059
ALBERTA LARAMIE        292 SMITH ST APT 300                                                                          CLIO            MI     48420‐2050
ALBERTA LAWRENCE       124 SHOOP AVE                                                                                 DAYTON          OH     45417‐2246
ALBERTA LEE            727 E PIERSON RD                                                                              FLINT           MI     48505‐3556
ALBERTA LOGAN          402 LINDA VISTA DR                                                                            PONTIAC         MI     48342‐1743
ALBERTA LUCKETT        1827 KOEHNE ST                                                                                INDIANAPOLIS    IN     46202‐1037
ALBERTA M CARPENTER    8247 DAWSON DRIVE                                                                             WARREN          OH     44484‐3015
ALBERTA M CARPENTER    8247 DAWSON DR SE                                                                             WARREN          OH     44484‐3015
ALBERTA M EASON        5054 SCOFIELD PL                                                                              DAYTON          OH     45418‐2014
ALBERTA M KNETSCH      2210 S 71ST ST                                                                                WEST ALLIS      WI     53219‐1955
ALBERTA M STRAUSS      218 ROSS ST                                                                                   BATAVIA         NY     14020‐1606
ALBERTA MACASKILL      240 UNION ST                                                                                  SUNBURY         PA     17801‐2540
ALBERTA MACHA          24646 DELWOOD ST                                                                              HARRISON TWP    MI     48045‐1912
ALBERTA MANZARDO       2407 EGLESTON AVE                                                                             BURTON          MI     48509‐1127
ALBERTA MARTIN         429 E MOORE ST                                                                                FLINT           MI     48505‐5373
ALBERTA MASON          18137 DEQUINDRE ST                                                                            DETROIT         MI     48234‐1201
ALBERTA MATHIS         1944 FULLERTON ST                                                                             DETROIT         MI     48238‐3633
ALBERTA MATREJEK       3225 FRANCES SLOCUM TRL                                                                       MARION          IN     46952‐9796
ALBERTA MAXWELL        1312 GREENBRIAR DRIVE                                                                         ANDERSON        IN     46012‐4532
ALBERTA MCCLUNG        5134 HACKETT DR                                                                               DAYTON          OH     45418‐2241
ALBERTA MCGEE          12110 HOLMES RD                ROOM 607                                                       KANSAS CITY     MO     64145
ALBERTA MCGRAW         724 W BROADWAY ST                                                                             ALEXANDRIA      IN     46001‐1723
ALBERTA MCKAY          1667 SHERIDAN RD               APT 41                                                         NOBLESVILLE     IN     46062
ALBERTA MILLWOOD       5949 CURRY HWY                                                                                JASPER          AL     35503‐5841
ALBERTA MILTON         PO BOX 7941                                                                                   BLOOMFIELD      MI     48302‐7941
ALBERTA MINUT          18800 WESTWOOD DR APT 616                                                                     STRONGSVILLE    OH     44136‐3436
ALBERTA MITCHELL       1700 MEMORIAL DR APT 227                                                                      CALUMET CITY     IL    60409‐4333
ALBERTA MITCHELL       12867 STEEL ST                                                                                DETROIT         MI     48227‐3835
ALBERTA MITCHELL       2411 PATRICK PL                                                                               VALDOSTA        GA     31601‐7937
ALBERTA MORANT         617 RAIBLE AVE                                                                                ANDERSON        IN     46011‐1953
ALBERTA MOUZON         213 HENRY RUFF RD APT 138                                                                     INKSTER         MI     48141‐1050
ALBERTA MUNCIE         1343 N EDMONDSON #6‐106C                                                                      INDIANAPOLIS    IN     46219
ALBERTA MURPHY         3417 N AUDUBON RD                                                                             INDIANAPOLIS    IN     46218‐1829
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Name                      Address1                          Address2                Address3      Address4               City            State   Zip
ALBERTA MYLES             629 MAJESTIC DR                                                                                DAYTON           OH     45427‐2827
ALBERTA NANCE             306 NORTH JEFFERSON STREET                                                                     MOUNT VERNON     OH     43050‐2121
ALBERTA NEELEY            PO BOX 38762                                                                                   DETROIT          MI     48238‐0762
ALBERTA NELSON            11413 N STATE ROAD 140                                                                         KNIGHTSTOWN      IN     46148‐9773
ALBERTA NEWLON            50 GOLDEN LN                                                                                   SCOTTS HILL      TN     38374‐5182
ALBERTA NEWMAN            8251 NEWLATHROT ROAD                                                                           NEW LOTHROP      MI     48460
ALBERTA NOWMAN            34152 EVERGREEN ST                                                                             WILMINGTON        IL    60481‐9605
ALBERTA P RUBIN           PO BOX 452                                                                                     SOUTH CHATHAM    MA     02659
ALBERTA PAGE              1518 EDENBERRY CT                                                                              DEFIANCE         OH     43512‐6758
ALBERTA PAGE              15761 SAINT MARYS ST                                                                           DETROIT          MI     48227‐1929
ALBERTA PALMER            1048 ROCHESTER ST                                                                              HONEOYE FALLS    NY     14472‐9416
ALBERTA PARSONS           201 W BIRCH ST                                                                                 LITCHFIELD       MI     49252‐9637
ALBERTA PELLETIER         102 BRENTWOOD RD                                                                               RARITAN          NJ     08869‐1613
ALBERTA PHILLIPS          APT 515                           22339 LA LOIRE STREET                                        SOUTHFIELD       MI     48075‐4054
ALBERTA PILLOWS           9158 S PARNELL AVE                                                                             CHICAGO           IL    60620‐2317
ALBERTA PODGURSKI         509 SUMMIT COVE CT                                                                             WILDWOOD         MO     63011‐1775
ALBERTA POPMA             1534 IOWA ST SW                                                                                WYOMING          MI     49509‐3873
ALBERTA PORTER            1015 TIMBERCREEK DRIVE                                                                         GRAND LEDGE      MI     48837‐2313
ALBERTA POWELL            310 W PHILADELPHIA BLVD                                                                        FLINT            MI     48505‐3218
ALBERTA PUGH              PO BOX 320415                                                                                  KANSAS CITY      MO     64132‐0415
ALBERTA QUELLETTE         E5980 AIRPORT RD                                                                               IRONWOOD         MI     49938‐9799
ALBERTA RAWLS             9921 WESTWOOD ST                                                                               DETROIT          MI     48228‐1328
ALBERTA REED              4119 RYAN CT                                                                                   KOKOMO           IN     46902‐4491
ALBERTA RICE              3310A TRAPPERS TR. UNIT #66A‐6                                                                 CORTLAND         OH     44410
ALBERTA RICHMOND          3970 S CO RD 400 E                                                                             KOKOMO           IN     46902
ALBERTA RITCHIE           4417 N MORRISON RD                                                                             MUNCIE           IN     47304‐6050
ALBERTA ROBERTSON         4246 PONZA CT                                                                                  INDIANAPOLIS     IN     46235‐1017
ALBERTA ROWE              504 MAIN ST                                                                                    THOMASTON        ME     04861‐3928
ALBERTA ROWE              20016 SWITZER RD                                                                               DEFIANCE         OH     43512‐8452
ALBERTA S HAEGELE TRUST   4555 E RED MESA DR                                                                             TUCSON           AZ     85718
ALBERTA S LUCAS           273 CLIFTON DR NE                                                                              WARREN           OH     44484‐1805
ALBERTA SANDER            362 BRIARWOOD LN                                                                               AVISTON           IL    62216‐3576
ALBERTA SCHROEN           134 SUE ST. LOT 50                                                                             SPRING LAKE      NC     28390
ALBERTA SCHWALM           4311 GEDNEY RD                                                                                 GLADWIN          MI     48624‐9454
ALBERTA SCOTT             313 E HOME AVE                                                                                 FLINT            MI     48505‐2810
ALBERTA SHURELDS          1326 ESSEX DR                                                                                  LIMA             OH     45804‐2624
ALBERTA SIMMONS           10101 GOVERNOR WARFIELD PARKWAY   UN‐161                                                       COLUMBIA         MD     21044

ALBERTA SIMPKINS          5238 WEIGOLD COURT                                                                             DAYTON          OH      45426‐1955
ALBERTA SINGLETON         3686 LEE DR                                                                                    JACKSON         MS      39212
ALBERTA SMITH             6560 RIBAULT ROAD                                                                              JACKSONVILLE    FL      32209‐1418
ALBERTA SMITH             78 MAGNOLIA DR                                                                                 MONROE          LA      71203‐2772
ALBERTA SPARKS            2801 S STONE RD TRLR 149                                                                       MARION          IN      46953‐4713
ALBERTA STEINER           2726 ROCKFORD CT N                                                                             KOKOMO          IN      46902‐3206
ALBERTA STURDIVANT        18921 PREST ST                                                                                 DETROIT         MI      48235‐2853
ALBERTA SWAIN             5301 MILLENIUM DR                                                                              WILLINGBORO     NJ      08046‐1056
ALBERTA TEED              2751 EAST HYDE ROAD                                                                            SAINT JOHNS     MI      48879‐9492
ALBERTA TESTA             3467 NELSON MOSIER RD                                                                          LEAVITTSBURG    OH      44430‐9756
ALBERTA THOMPSON          30204 26TH PL S                                                                                FEDERAL WAY     WA      98003‐4210
ALBERTA TIERNEY           2645 RIVERSIDE DR APT 311                                                                      TRENTON         MI      48183‐2834
ALBERTA TONEY             PO BOX 2601                                                                                    YOUNGSTOWN      OH      44507‐0601
ALBERTA TRUSTY            1462 LEMCKE RD                                                                                 BEAVERCREEK     OH      45434‐6729
ALBERTA TYLER             2564 E SUNRISE VISTA BLVD                                                                      FORT MOHAVE     AZ      86426‐6324
ALBERTA VAUGHN            PO BOX 1252                                                                                    FLINT           MI      48501‐1252
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ALBERTA VERKENNES     4526 BRYANT ST                                                                                FLINT              MI     48507‐2622
ALBERTA VOGEL         1028 JEFFERSON AVE                                                                            DEFIANCE           OH     43512‐2806
ALBERTA VULGAMORE     4708 DERWENT DR                                                                               DAYTON             OH     45431‐1014
ALBERTA W REEDY       620 WARNER RD SE                                                                              BROOKFIELD         OH     44403
ALBERTA W RICE        3310A TRAPPERS TR. UNIT #66A‐6                                                                CORTLAND           OH     44410‐9140
ALBERTA W TESTA       3467 NELSON MOSIER RD                                                                         LEAVITTSBURG       OH     44430‐9756
ALBERTA WADE          2306 FINLEY AVE                                                                               INDIANAPOLIS       IN     46203‐4505
ALBERTA WALKER        PO BOX 6126                                                                                   GRAND RAPIDS       MI     49516‐6126
ALBERTA WALLER        1323 BROOKLAND PKWY                                                                           RICHMOND           VA     23227‐4703
ALBERTA WAMSLEY       4296 MACON AVE                                                                                DAYTON             OH     45424‐5956
ALBERTA WARFORD       4227 CREST DR                                                                                 DAYTON             OH     45416‐1205
ALBERTA WEAVER        36110 OREGON ST                                                                               WESTLAND           MI     48186‐8305
ALBERTA WEDDLE        702 N ATLANTA ST                                                                              OWASSO             OK     74055‐2235
ALBERTA WENZEL        2443 THOMAS ST                                                                                FLINT              MI     48504‐4686
ALBERTA WHITFORD      1760 JILL JANET ST                                                                            HARRISON           MI     48625‐8560
ALBERTA WILHELMI      5196 DELONG RD                                                                                CASS CITY          MI     48726‐9353
ALBERTA WILLIAMS      28936 CURRIER AVE                                                                             WESTLAND           MI     48186‐5606
ALBERTA WILLIAMS      1212 WINESAP WAY APT F                                                                        ANDERSON           IN     46013‐5558
ALBERTA WILLIAMS      4548 WARRENSVILLE CTR RD         APT‐201A                                                     NORTH RANDALL      OH     44128
ALBERTA WILLIAMS      4064 KIMBERLY WOODS DR                                                                        FLINT              MI     48504‐1124
ALBERTA WILLIAMSON    3718 HAMILTON PL                                                                              ANDERSON           IN     46013‐5274
ALBERTA WILLIS        4803 FULLERTON ST                                                                             DETROIT            MI     48238‐3236
ALBERTA WILSON        PO BOX 260                                                                                    SUGAR GROVE        OH     43155‐0260
ALBERTA WILSON        1813 BIEBER DR                                                                                NORTHWOOD          OH     43619‐1901
ALBERTA WITZ          8500 FENTON ST                                                                                DEARBORN HTS       MI     48127‐4502
ALBERTA WOODGETT      PO BOX 37402                                                                                  OAK PARK           MI     48237‐0402
ALBERTA WOODSIDE      1083 VIOLET RD                                                                                COULTERVILLE        IL    62237‐3102
ALBERTA WOOG          32625 GRINSELL DR                                                                             WARREN             MI     48092‐3105
ALBERTA WRIGHT        2100 N 12TH ST                                                                                TOLEDO             OH     43620‐1938
ALBERTA YEKISA        510 FAIRVIEW CT                                                                               ARCHBOLD           OH     43502‐1282
ALBERTA YORK          8086 DOVER DR                                                                                 GRAND BLANC        MI     48439‐9543
ALBERTA YORK          1781 VICTORIA ST SW                                                                           WARREN             OH     44485‐3544
ALBERTA ZINK          134 N 80TH PL                                                                                 KANSAS CITY        KS     66111‐3056
ALBERTA, ANTHONY M    52 TENBY CHASE DR                                                                             NEWARK             DE     19711‐2441
ALBERTAS MATYZIUS     5283 FREIERMUTH RD                                                                            STOCKBRIDGE        MI     49285‐9680
ALBERTE, CHARLES W    6353 CAMP BLVD                                                                                HANOVERTON         OH     44423‐8607
ALBERTEEN CURRY       861 CLARK ST APT G                                                                            CINCINNATI         OH     45203‐3092
ALBERTEEN JACKSON     89 COURT ST                                                                                   PONTIAC            MI     48342‐2507
ALBERTEEN TOLIVER     4456 S HILLCREST CIR                                                                          FLINT              MI     48506‐1452
ALBERTELLI, HELEN     86 FAIRCREST ROAD                                                                             ROCHESTER          NY     14623‐4143
ALBERTELLI, HELEN     86 FAIRCREST RD                                                                               ROCHESTER          NY     14623‐4143
ALBERTELLI, MARIO A   86 FAIRCREST RD                                                                               ROCHESTER          NY     14623‐4143
ALBERTELLI, MARY E    602 SW NATURA BLVD UNIT E                                                                     DEERFIELD BEACH    FL     33441‐3200
ALBERTENE SADLER      902 E PASADENA AVE                                                                            FLINT              MI     48505
ALBERTHA B HOOKS      PO BOX 909                                                                                    WARREN             OH     44482‐0909
ALBERTHA BAINBRIDGE   3216 TOWN CROSSING DR SW                                                                      GRANDVILLE         MI     49418‐2595
ALBERTHA BRINK        500 PARKSIDE DR APT 122                                                                       ZEELAND            MI     49464‐2220
ALBERTHA GRANT        4129 NORTH 13TH STREET                                                                        MILWAUKEE          WI     53209‐6903
ALBERTHA HOOKS        PO BOX 909                                                                                    WARREN             OH     44482‐0909
ALBERTHA JAMERSON     1128 CASIMIR ST                                                                               SAGINAW            MI     48601‐1224
ALBERTHA SPOHN        135 IDLEWOOD ACRES RD                                                                         POMONA PARK        FL     32181‐2124
ALBERTI, FRANK J      7985 AQUADALE DR                                                                              BOARDMAN           OH     44512‐5902
ALBERTI, JOHN         3160 LA RESERVE DR                                                                            PONTE VEDRA        FL     32082‐2958
                                                                                                                    BEACH
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Name                     Address1                         Address2                      Address3             Address4                 City              State   Zip
ALBERTI, JUAN A          114 NAGLE AVE APT 2B                                                                                         NEW YORK           NY     10040‐1452
ALBERTI, MYRAN           25 HANCOCK ST. APT E11                                                                                       KEANSBURG          NJ     07734‐2051
ALBERTI, MYRAN           25 HANCOCK ST APT E‐11                                                                                       KEANSBURG          NJ     07734‐2060
ALBERTI, PAUL            51 BRAMBLEWOOD LN W                                                                                          ROCHESTER          NY     14624‐1401
ALBERTI, SALVATORE V     8126 SILVER BRIDGE RD                                                                                        PALO CEDRO         CA     96073‐8764
ALBERTI, VALETTA S       14120 W 47TH TER                                                                                             SHAWNEE            KS     66216‐1148
ALBERTIA, JAMES L        4609 PEEK TRL                                                                                                CHESAPEAKE         VA     23321‐2146
ALBERTIE JR, FLEMMING    7142 NEW KINGS RD                                                                                            JACKSONVILLE       FL     32219‐3869
ALBERTIE, CLEVELAND A    1635 CLIFFS LANDING DR #202                                                                                  YPSILANTI          MI     48198
ALBERTIE, TONI D         1635 CLIFF LANDING DR 202D                                                                                   YPSILANTI          MI     48198
ALBERTINA L JACKSON      244 FORD ST                      UPPR                                                                        HIGHLAND PARK      MI     48203‐3043
ALBERTINE DOTSON         16 GOULD AVE                                                                                                 BEDFORD            OH     44146‐2644
ALBERTINE GARFI          16300 SILVER PKWY APT 218                                                                                    FENTON             MI     48430‐4421
ALBERTINE JOHNSON        28425 CANNON RD                                                                                              SOLON              OH     44139‐1543
ALBERTINE KENNEDY        621 CHALMERS ST                                                                                              DETROIT            MI     48215‐3239
ALBERTINE SWERAK         GEORG FREISSLEBEN GASSE 5                                                           1140 WIEN AUSTRIA
ALBERTINE ZIEHL          477 S LINWOOD BEACH RD                                                                                       LINWOOD            MI     48634‐9430
ALBERTINI ALIDA          ALBERTINI, ALIDA                 9285 SW 125TH AVE APT U                                                     MIAMI              FL     33186
ALBERTINI, ALIDA         C/O RICHARD S LUBLINER ESQUIRE   MELAND RUSSIN & BUDWICK PA    200 SOUTH BISCAYNE                            MIAMI              FL     33313
                                                                                        BOULEVARD STE 3000
ALBERTINI, ALIDA         APT 203                          9285 SOUTHWEST 125TH AVENUE                                                 MIAMI             FL      33186‐7108
ALBERTINI, BRETT D       403 PARK AVENUE                                                                                              FRANKLIN          OH      45005‐3550
ALBERTINI, CHARLES A     518 ATTICA ST                                                                                                VANDALIA          OH      45377‐1812
ALBERTINI, DONNIE L      403 PARK AVE                                                                                                 FRANKLIN          OH      45005‐3550
ALBERTINI, DONNIE LEE    403 PARK AVENUE                                                                                              FRANKLIN          OH      45005‐3550
ALBERTINI, ELIZABETH C   518 ATTICA ST                                                                                                VANDALIA          OH      45377‐1812
ALBERTINI, JAMES M       52 LAKEVIEW COURT                                                                                            GORDONSVILLE      VA      22942‐6952
ALBERTINI, JAMES M       52 LAKEVIEW CT                                                                                               GORDONSVILLE      VA      22942‐6952
ALBERTINI, PAULINE       3141 CLEARSPRINGS RD                                                                                         SPRING VALLEY     OH      45370‐9735
ALBERTINI, ROY L         509 SAN BERNARDINO TR                                                                                        UNION             OH      45322‐3028
ALBERTINO SILVA          10 ALCOTT CT                                                                                                 FREEHOLD          NJ      07728‐4306
ALBERTINO, JEANETTE      2906 WALES AVE                                                                                               PARMA             OH      44134‐3612
ALBERTO ACOSTA           1335 N BRIGHTON ST                                                                                           BURBANK           CA      91506‐1203
ALBERTO ACUNA            5044 W PIUTE DR                                                                                              BEVERLY HILLS     FL      34465‐4831
ALBERTO AGUIRRE          1140 MASSACHUSETTS AVE                                                                                       RIVERSIDE         CA      92507‐2839
ALBERTO AMON             PO BOX 348                                                                                                   BASEHOR           KS      66007‐0348
ALBERTO ANGEL            7027 WOODHALL AVE                                                                                            NEW PORT RICHEY   FL      34653‐5623
ALBERTO BARBIERI         ,,,                              ,,,                           ,,,                  ,,,                      ,,,,              AK
ALBERTO BORGIA           VIA CIOVASSO 19 ,ITALY                                                                                       MILANO            IL      20121
ALBERTO CAMACHO          2511 NARLOCH ST                                                                                              SAGINAW           MI      48601‐1243
ALBERTO CAMPOS           10803 RANCHLAND FOX STREET                                                                                   SAN ANTONIO       TX      78245
ALBERTO CIANCIBELLO      12816 WOODSIDE DR S                                                                                          CHESTERLAND       OH      44026‐3049
ALBERTO CICCIARELLI      5435 ERNEST RD                                                                                               LOCKPORT          NY      14094‐5416
ALBERTO COCCO JR         58791 COCCO CT                                                                                               RAY               MI      48096‐4007
ALBERTO CONTE            VIA FILADELFIA 156                                                                                           TORINO                    10137
ALBERTO CORTEZ           9865 COLEMAN RD                                                                                              HASLETT            MI     48840‐9328
ALBERTO CRUZ             5290 YOUNG RD                                                                                                BELLEVUE           MI     49021‐9434
ALBERTO CRUZ BOLANOS     3480 RICHARDS WAY                                                                                            LAKE ORION         MI     48360‐1622
ALBERTO DEJESUS          5486 COPLEY SQUARE RD                                                                                        GRAND BLANC        MI     48439‐8742
ALBERTO DELCASTILLO      14117 TRUMBALL ST                                                                                            WHITTIER           CA     90604‐2504
ALBERTO DI CRISTOFARO    VIA DELL'ABOUT,6                 IVREA (TO)
ALBERTO GALINDO          63 CHASTAIN MANOR CT                                                                                         MARIETTA           GA     30066‐8405
ALBERTO GALLEGOS         2777 NORTHTOWNE LN APT 2099                                                                                  RENO               NV     89512‐5023
ALBERTO GARAVAGLIA       VIA VOLTERRA 3                   20146 MILANO                  ITALY
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Name                             Address1                       Address2                      Address3            Address4                City               State Zip
ALBERTO GARAVAGLIA               VIA VOLTERRA 3                                                                                           MILAN                    20146
ALBERTO GARCIA                   6701 LAKE JACKSON DR                                                                                     ARLINGTON           TX 76002‐4049
ALBERTO GARCIA                   5256 BLUEBERRY RD                                                                                        HARRISON            MI 48625‐9653
ALBERTO GARZA                    3998 W PARK RD                                                                                           LUZERNE             MI 48636‐8720
ALBERTO GARZA JR                 2732 SW 84TH ST                                                                                          OKLAHOMA CITY       OK 73159‐5649
ALBERTO GILL                     2231 ACADEMY DR                                                                                          TROY                MI 48083‐5602
ALBERTO GONZALES                 728 BELL ST                                                                                              DEFIANCE            OH 43512‐1508
ALBERTO GONZALEZ                 9681 FOXCHASE CIR                                                                                        FREELAND            MI 48623‐8691
ALBERTO GONZALEZ‐OLAGUE          1890 ROBINA AVE                                                                                          BERKLEY             MI 48072‐4001
ALBERTO GRIMANDI                 VIA DON MINZONI 37             40068 SAN LAZZARO DI SAVENA   ( BOLOGNA ) ITALY
ALBERTO GRIMAUDO                 97 PEAK HILL DR                                                                                          ROCHESTER          NY   14625‐1170
ALBERTO GRIMAUDO                 97 PEAK HILL DR                                                                                          ROCHESTER          NY   14625‐1170
ALBERTO GUERRERO                 34310 CHOPE PL                                                                                           CLINTON TWP        MI   48035‐3320
ALBERTO HERNANDEZ                11266 HEWITT AVE                                                                                         SAN FERNANDO       CA   91340‐3810
ALBERTO HILBORN                  5255 MAPLE GROVE RD                                                                                      SILVERWOOD         MI   48760‐9706
ALBERTO J MORALES                20211 HILL SPRING                                                                                        WILDOMAR           CA   92595‐8161
ALBERTO LEPERA                   51‐01 39TH AVENUE A‐JJ13                                                                                 LONG ISLAND CITY   NY   11104
ALBERTO LEVEN JR                 759 WOODLAWN AVE                                                                                         OWOSSO             MI   48867‐4628
ALBERTO LOPEZ                    1537 INDIANA AVE                                                                                         FLINT              MI   48506‐3519
ALBERTO MADRID                   PO BOX 1438                                                                                              SAN ELIZARIO       TX   79849‐1438
ALBERTO MADRID                   136 DEER POINT RD                                                                                        UNIONVILLE         TN   37180‐8500
ALBERTO MANZOR                   6506 CHATHAM CIR                                                                                         ROCHESTER HILLS    MI   48306‐4382
ALBERTO MARIN                    C/O WEITZ & LUXENBERG P C      700 BROADWAY                                                              NEW YORK CITY      NY   10003
ALBERTO MARTIN MIGUEL            AVDA MERIDIANA 27              3RD FLOOR                                         08018 BARCELONA SPAIN
ALBERTO MAYA                     2440 SILVERADO TRL                                                                                       GRAND PRAIRIE      TX   75052‐8622
ALBERTO MORALES                  20211 HILL SPRING RD                                                                                     WILDOMAR           CA   92595‐8161
ALBERTO MORENO JR                4290 CALKINS RD                                                                                          FLINT              MI   48532‐3512
ALBERTO NASO                     VIA DI CORTICELLA 7                                                              40128 BOLOGNA ITALY
ALBERTO NAVARRO                  6517 DECATUR COMMONS                                                                                     INDIANAPOLIS       IN   46221‐4305
ALBERTO ORTIZ                    3208 GRANT LN                                                                                            MIDLAND            MI   48642‐5054
ALBERTO P IAFRATE                MOTLEY RICE LLC                28 BRIDGESIDE BLVD            PO BOX 1792                                 MT PLEASANT        SC   29465
ALBERTO PEDRETTI                 VIA GIGLIOLI 125               FERRARAR
ALBERTO PEDRETTI                 VIA GIGLIOLI 125               FERRARA
ALBERTO PEINADO                  11330 FAIRMONT DR                                                                                        SHELBY TOWNSHIP    MI   48315‐6688
ALBERTO PORTILLO                 PO BOX 1161                                                                                              MISSION            TX   78573‐0019
ALBERTO R GUIMANRAEN             1083 MORRIS HILLS PKWY                                                                                   MOUNT MORRIS       MI   48458‐2552
ALBERTO RAMIREZ                  424 KINNAIRD AVE                                                                                         FORT WAYNE         IN   46807‐1933
ALBERTO RIVERA                   549 MEADOWLAWN ST                                                                                        SAGINAW            MI   48604‐2216
ALBERTO ROCCATAGLIATA            VIA SALVATORE QUASIMODO 57/5   16122                         GENOVA              ITALY
ALBERTO ROCCATAGLIATA            AVV. PAOLO DE CAPITANI         VIA BACIGALUPO 4/15           16122 GENOVA        ITALY
ALBERTO RODRIGUEZ                115 GALLAGHER ST                                                                                         SAGINAW            MI   48601‐3250
ALBERTO RODRIGUEZ                3505 PALMER ST                                                                                           LANSING            MI   48910‐4424
ALBERTO RUBIO                    10134 HILDRETH AVE                                                                                       SOUTH GATE         CA   90280‐6346
ALBERTO S RUBIO                  10134 HILDRETH AVE                                                                                       SOUTH GATE         CA   90280‐6346
ALBERTO SALLY                    12 LAVOIE AVE                                                                                            MILFORD            MA   01757‐2408
ALBERTO SANDOVAL                 5593 GLASGOW HILLS LN                                                                                    JACKSONVILLE       FL   32258‐2510
ALBERTO SANGIOVANNI‐VINCENTELL   VIA DI SAN PANTALEO 66                                                           ROMA 00186 ITALY
ALBERTO SCHENDER                 609 WOOD CREST ST                                                                                        MOORE              OK   73160‐6021
ALBERTO SCIALPI                  VIA RIGAMONTI 8/C                                                                                        SAN FERMO               22020
ALBERTO TARANTINI                VIALE GIUSTINIANO 196/A        00145 ROMA (ITALIA)
ALBERTO TENEYUQUE                605 VERMONT ST                                                                                           SAGINAW            MI   48602‐1373
ALBERTO TORRES                   4505 2 MILE RD                                                                                           BAY CITY           MI   48706‐2760
ALBERTO TREVINO                  15754 OAK LANE DR                                                                                        LANSING            MI   48906‐1470
ALBERTO VARGAS SR.               1308 MERRILL ST                                                                                          SAGINAW            MI   48601‐2301
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Name                                  Address1                         Address2                        Address3   Address4               City              State   Zip
ALBERTO VASQUEZ                       4228 MARIANNE DR                                                                                   FLUSHING           MI     48433‐2329
ALBERTO VASQUEZ                       987 CANTERBURY DR                                                                                  PONTIAC            MI     48341‐2335
ALBERTO VILLARREAL                    2118 BONNIE LANE                                                                                   FOREST GROVE       OR     97116‐8637
ALBERTO, ABRAHAM                      1202 COPEMAN BLVD                                                                                  FLINT              MI     48504‐7351
ALBERTO, ANTONE G                     7708 E BALAO DR                                                                                    SCOTTSDALE         AZ     85266‐2756
ALBERTO, DOUGLAS A                    7086 YARMY DR                                                                                      SWARTZ CREEK       MI     48473‐1546
ALBERTO, ELIZABETH A.                 5409 DURWOOD DR                                                                                    SWARTZ CREEK       MI     48473‐1166
ALBERTO, GUADALUPE                    1202 COPEMAN BLVD                                                                                  FLINT              MI     48504‐7351
ALBERTOS PRYOR                        202 S SANFORD ST                                                                                   PONTIAC            MI     48342‐3149
ALBERTS BRUCE                         231 OAK GROVE DR                                                                                   COLUMBIAVILLE      MI     48421‐9724
ALBERTS ROBERT (ESTATE OF) (491930)   BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                                     NORTHFIELD         OH     44067
                                                                       PROFESSIONAL BLDG
ALBERTS, ALICIA K
ALBERTS, BETTY J                      1323 WHITMORE AVE NW                                                                               GRAND RAPIDS       MI     49504‐2447
ALBERTS, BRANDI L
ALBERTS, BRUCE D                      231 OAK GROVE DR                                                                                   COLUMBIAVILLE     MI      48421‐9724
ALBERTS, CLARABEL                     1010 TAYWOOD RD                  COTTAGE 712                                                       ENGLEWOOD         OH      45322‐2415
ALBERTS, DANA W                       PO BOX 291                                                                                         DOVER FOXCROFT    ME      04426‐0291
ALBERTS, DONALD R                     469 E ENGEL RD                                                                                     WEST BRANCH       MI      48661‐9520
ALBERTS, EARL L                       249 MEADOW POINTE DR                                                                               FENTON            MI      48430‐3259
ALBERTS, EDWARD A                     5144 STRAWBERRY PINES AVE NW                                                                       COMSTOCK PARK     MI      49321‐9500
ALBERTS, FEMIA S                      16250 E 12 MILE RD APT 8                                                                           ROSEVILLE         MI      48066‐5061
ALBERTS, FEMIA S A                    16250 E 12 MILE RD APT 8                                                                           ROSEVILLE         MI      48066‐5061
ALBERTS, FREDDIE W                    3742 BURR CT                                                                                       STERLING HTS      MI      48310‐1793
ALBERTS, GARY D                       6537 VENTURA DR                                                                                    PITTSBURGH        PA      15236‐3649
ALBERTS, GEORGE H                     1010 TAYWOOD RD                  COTTAGE 712                                                       ENGLEWOOD         OH      45322‐2415
ALBERTS, HOLGER J                     7020 HALF MOON CIR APT 205                                                                         HYPOLUXO          FL      33462‐5434
ALBERTS, JERRY D                      1751 BIG CYPRESS BLVD                                                                              LAKELAND          FL      33810‐2375
ALBERTS, JOYCE A                      2250 W GOLF RD APT 222                                                                             HOFFMAN ESTATES   IL      60169‐1112

ALBERTS, LINDA M                      124 CAPITAL                                                                                        HOUGHTON LAKE     MI      48629
ALBERTS, LINDA M                      124 CAPITAL RD                                                                                     HOUGHTON LAKE     MI      48629‐9609
ALBERTS, PATRICIA A                   1493 E BROWN RD                                                                                    MAYVILLE          MI      48744‐9337
ALBERTS, PHILLIP D                    11135 ALEXANDRIA LN                                                                                DAVISON           MI      48423‐9017
ALBERTS, PHILLIP DALE                 11135 ALEXANDRIA LN                                                                                DAVISON           MI      48423‐9017
ALBERTS, RICHARD J                    3150 S GRAHAM RD                                                                                   SAGINAW           MI      48609‐9733
ALBERTS, RICHARD JONATHON             3150 S GRAHAM RD                                                                                   SAGINAW           MI      48609‐9733
ALBERTS, ROCKY                        10613 N LATSON RD                                                                                  HOWELL            MI      48855‐9223
ALBERTS, ROY A                        1493 E BROWN RD                                                                                    MAYVILLE          MI      48744‐9337
ALBERTS, RUSTY L                      3008 FORT PARK BLVD                                                                                LINCOLN PARK      MI      48146‐3310
ALBERTS, TIMOTHY R                    124 CAPITAL RD                                                                                     HOUGHTON LAKE     MI      48629‐9609
ALBERTS, TIMOTHY W                    1913 STANLEY ST                                                                                    SAGINAW           MI      48602‐1085
ALBERTS, WILLIAM T                    2572 N LAKEVIEW DR                                                                                 SANFORD           MI      48657‐9003
ALBERTSON BEATRICE                    3228 RYCROFT ST                                                                                    KEEGO HARBOR      MI      48320‐1327
ALBERTSON MARTHA                      100 RED OAK DRIVE                                                                                  LIMA              OH      45806‐9618
ALBERTSON TANYA                       ALBERTSON, TANYA                 279 WILLOW RUN                                                    CLITON            YN      37716‐2717
ALBERTSON, ADELINE                    42250 HAYES RD APT 615                                                                             CLINTON TWP       MI      48038‐6757
ALBERTSON, BERNARD L                  PO BOX 82                                                                                          ROCKVILLE         IN      47872‐0082
ALBERTSON, BOBBY L                    2758 W HARRELD RD                                                                                  MARION            IN      46952‐9207
ALBERTSON, CHERYL D                   712 SW 27TH ST                                                                                     MOORE             OK      73160‐5523
ALBERTSON, DONALD S                   1637 OAKCREST DR                                                                                   TROY              MI      48083‐5391
ALBERTSON, GARY S                     2335 N WILLIAMSTON RD                                                                              WILLIAMSTON       MI      48895‐9748
ALBERTSON, GEORGE C                   24896 DEERFIELD DR                                                                                 NORTH OLMSTED     OH      44070‐1232
ALBERTSON, JAMES E                    1624 E 33RD ST                                                                                     MARION            IN      46953‐3839
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Name                              Address1                         Address2                     Address3                 Address4                City             State Zip
ALBERTSON, JOYCE                  424 S MICHIGAN AVE                                                                                             EDGERTON          OH 43517‐9806
ALBERTSON, JOYCE                  424 S. MICHIGAN AVE                                                                                            EDGERTON          OH 43517‐9806
ALBERTSON, LOUSINE                1802 RIDGELAWN LN                                                                                              SAINT PETERS      MO 63376‐4344
ALBERTSON, MARSHA A.              45453 DIAMOND POND DR                                                                                          MACOMB            MI 48044‐3551
ALBERTSON, MICHAEL D              2335 N WILLIAMSTON RD                                                                                          WILLIAMSTON       MI 48895‐9748
ALBERTSON, PAUL E                 7296 10TH AVE                                                                                                  SEARS             MI 49679‐8205
ALBERTSON, PAUL F                 1400 ZILLOCK RD LOT L045                                                                                       SAN BENITO        TX 78586‐9780
ALBERTSON, RICHARD J              600 STATE HIGHWAY 495 LOT 1019                                                                                 ALAMO             TX 78516‐7018
ALBERTSON, ROBERT F               224 SULLIVAN WAY APT A3                                                                                        EWING             NJ 08628‐3421
ALBERTSON, RONALD S               2310 FRASER ST                                                                                                 BAY CITY          MI 48708‐8634
ALBERTSON, ROY A                  731 HIGHWAY 3                                                                                                  ARMSTRONG         MO 65230‐9509
ALBERTSON, RUBY                   133 ANDERSON AVE                                                                                               CROSWELL          MI 48422‐1216
ALBERTSON, STANLEY L              712 SW 27TH ST                                                                                                 MOORE             OK 73160‐5523
ALBERTSON, TANYA                  279 WILLOW RUN                                                                                                 CLINTON           TN 37716‐2717
ALBERTSON, TODD D                 49437 PARKSIDE CT                                                                                              MACOMB            MI 48044‐1817
ALBERTSON, WILLIAM C              44472 RIVERGATE DR                                                                                             CLINTON TOWNSHIP MI 48038‐1376

ALBERTSON, WILLIAM E              43303 HORN HILL RD                                                                                             RICHMOND          MO   64085‐8145
ALBERTSTEEN MOTLEY                2808 HILLCREST ST                                                                                              LANSING           MI   48911‐2349
ALBERTUS DR GUENTHER              BRAMSCHERSTRASSE 51                                                                    D 49088 OSNABRUECK,
                                                                                                                         GERMANY
ALBERTUS DR.GUENTHER              BRAMSCHERSTRASSE 51              D 49088 OSNABRUECK           E‐MAIL:
                                                                                                ALBERTUS.GUENTHER@ARCO
                                                                                                R.DE
ALBERTUS GRIGG                    768 MAPLE VISTA ST                                                                                             IMLAY CITY        MI   48444‐1458
ALBERTUS MAGNUS COLLEGE           BUSINESS OFFICE                  700 PROSPECT ST                                                               NEW HAVEN         CT   06511‐1224
ALBERTUS MAGNUS COLLEGE           NEW DIMENSIONS PROGRAM           1 LONG WHARF DR STE 216                                                       NEW HAVEN         CT   06511‐5991
ALBERTUS TEN HARMSEL              3035 BEECHRIDGE DR                                                                                             HUDSONVILLE       MI   49426‐1700
ALBERTY, BRIAN S                  89 ARLINGTON DR                                                                                                ROCHESTER HILLS   MI   48307‐2800
ALBERY I I I, HAROLD G            7468 BERNARD DR                                                                                                TEMPERANCE        MI   48182‐1551
ALBERY III, HAROLD G              7468 BERNARD DR                                                                                                TEMPERANCE        MI   48182‐1551
ALBIG, VIRGINIA D                 3701 WILSON AVE                                                                                                LANSING           MI   48906‐2427
ALBIHNS PATENTBYRA STOCKHOLM AB   BOX 5581                                                                               STOCKHOLM S‐114 85
                                                                                                                         SWEDEN
ALBIN                             800 FAIRMOUNT AVE STE 210                                                                                      PASADENA          CA   91105‐3152
ALBIN BAK                         6136 BONETA RD                                                                                                 MEDINA            OH   44256‐8762
ALBIN BAUER                       909 HANSON ST                                                                                                  NORTHWOOD         OH   43619‐1723
ALBIN BIZILJ                      268 ERATH DR                                                                                                   ROCHESTER         NY   14626‐1929
ALBIN BIZILJ                      268 ERATH DRIVE                                                                                                ROCHESTER         NY   14626‐1929
ALBIN GLAZA                       1420 FRASER ST                                                                                                 BAY CITY          MI   48708‐7958
ALBIN INDUSTRIES                  24288 INDOPLEX CIR                                                                                             FARMINGTON        MI   48335‐2522
ALBIN INDUSTRIES INC              46921 ENTERPRISE CT                                                                                            WIXOM             MI   48393‐4728
ALBIN INDUSTRIES, INC.            GREG YAUCH                       46921 ENTERPRISE CT                                                           WIXOM             MI   48393‐4728
ALBIN JACKOWSKI                   8642 ALLEN RD                                                                                                  ALLEN PARK        MI   48101‐1432
ALBIN JR, ALBERT F                8924 SE 118TH LN                                                                                               SUMMERFIELD       FL   34491‐1630
ALBIN KIERZEK                     9320 DIXIE                                                                                                     REDFORD           MI   48239‐1558
ALBIN KUCMANIC                    6441 FAIRHAVEN RD                                                                                              MAYFIELD HTS      OH   44124‐4112
ALBIN LINGA                       27 HAYNES ST                                                                                                   WORCESTER         MA   01603‐2625
ALBIN MAAG                        HANNAH‐HOECH‐STR 14                                                                    51375 LEVERKUSEN
                                                                                                                         GERMANY
ALBIN MAJDANIK JR                 1273 IBIS DR                                                                                                   ENGLEWOOD         FL   34224‐4611
ALBIN PETEFIN, JR                 BEVAN & ASSOCIATES, LPA, INC     6555 DEAN MEMORIAL PARKWAY                                                    BOSTON HTS        OH   44236
ALBIN RABIDEAU                    711 E DEVEREAUX LAKE RD                                                                                        INDIAN RIVER      MI   49749‐9161
ALBIN SOCHA                       1222 CHATWELL DR BLDG 5                                                                                        DAVISON           MI   48423
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Name                          Address1                         Address2                     Address3   Address4                City               State   Zip
ALBIN STACHURA                614 71ST ST                                                                                      NIAGARA FALLS       NY     14304‐2222
ALBIN TISCHLER                462 STATE HIGHWAY 11B                                                                            POTSDAM             NY     13676‐3308
ALBIN, ANTHONY M              2106 E CARPENTER RD                                                                              FLINT               MI     48505‐1883
ALBIN, DEBORAH L              PO BOX 92                                                                                        WEBBERVILLE         MI     48892‐0092
ALBIN, EMMA                   466 N KIPPEN DR SE                                                                               GRAND RAPIDS        MI     49548‐6820
ALBIN, EMMA                   466 NORTH KIPPEN SE                                                                              GRAND RAPIDS        MI     49548‐6820
ALBIN, GARY W                 8175 ANN ARBOR RD W                                                                              PLYMOUTH            MI     48170‐5139
ALBIN, JAMES C                2851 COOK STORE TR1                                                                              MURRAY              KY     42071
ALBIN, JOHN J                 4215 HARRIS RD                                                                                   WILLIAMSTON         MI     48895‐9568
ALBIN, JOHN M                 9110 ANN MARIA BLVD                                                                              GRAND BLANC         MI     48439‐8015
ALBIN, JOSEPH H               PO BOX 58                                                                                        LINWOOD             MA     01525‐0058
ALBIN, MARK A                 6076 E FRANCES RD                                                                                MOUNT MORRIS        MI     48458‐9754
ALBIN, PHILIP A               2200 TIN BILL RD                                                                                 CARO                MI     48723‐9497
ALBIN, RICHARD G              2759 COUNTRY BREEZE BLVD                                                                         NAVARRE             FL     32566‐7940
ALBIN, STACIA L               4215 HARRIS RD                                                                                   WILLIAMSTON         MI     48895‐9568
ALBIN, STANLEY W              2000 E DAYTON RD                                                                                 CARO                MI     48723‐9476
ALBIN, VERONICA               4801 DUVERNAY DR APT 111                                                                         LANSING             MI     48910‐5852
ALBIN, VIRGINIA M             8940 CEDARWOOD DRIVE                                                                             ORLAND HILLS         IL    60487
ALBIN, WALTER A               915 GREENWOOD AVENUE                                                                             SAINT JOSEPH        MI     49085‐1703
ALBINA BLANCHETTE             124 SYCAMORE LN                                                                                  LAKE HELEN          FL     32744‐3132
ALBINA DE BELL                106 DONNA MARIE CIR N                                                                            ROCHESTER           NY     14606‐3406
ALBINA DILE                   4124 HIGHWAY 421                                                                                 BRISTOL             TN     37620‐7735
ALBINA FURTAK                 11096 E WINCHCOMB DR                                                                             SCOTTSDALE          AZ     85255‐1614
ALBINA JAMSEK                 24622 SURREY CIR                                                                                 WESTLAKE            OH     44145‐4956
ALBINA KNOX                   389 PINEVIEW DR                                                                                  VENICE              FL     34293‐3942
ALBINA LAZAR                  20710 TREBEC BLVD                                                                                EUCLID              OH     44119‐1816
ALBINA MAKOWSKI               7323 CARSON RD                                                                                   BROCKWAY            MI     48097‐3623
ALBINA MONTIONE               16 WILLIAMSTOWNE CT APT 2                                                                        CHEEKTOWAGA         NY     14227‐3960
ALBINA PANCHECK               2377 HARMONY DR                                                                                  BURTON              MI     48509‐1163
ALBINA PENTZAK                782 ALLEN AVENUE                                                                                 CHESHIRE            CT     06410‐1801
ALBINA SUBACH                 3620 S 57TH AVE                                                                                  CICERO               IL    60804‐4314
ALBINA VYSNIAUSKAS            4129 MERRIFIELD CT                                                                               SUNNY HILLS         FL     32428‐3044
ALBINAS SADAUSKAS             480 SAN NICOLAS WAY                                                                              ST AUGUSTINE        FL     32080‐7714
ALBINAS ZIURINSKAS            32109 BARTON ST                                                                                  GARDEN CITY         MI     48135‐1292
ALBINIAK, MARY                S68W12622 WOODS RD                                                                               MUSKEGO             WI     53150‐3541
ALBINO ALCANTARA              897 MUIRFIELD AVE                                                                                SIMI VALLEY         CA     93065‐5638
ALBINO E PINA JR              309 COLONEL THOMAS HAYWARD RD                                                                    BLUFFTON            SC     29909‐5032
ALBINO F FORTUNO              5 NISA LANE                                                                                      ROCHESTER           NY     14606‐4003
ALBINO JOSEPH (355943)        ANGELOS PETER G LAW OFFICE       115 BROADWAY FRNT 3                                             NEW YORK            NY     10006‐1638
ALBINO LOVATO                 40903 171ST ST E                                                                                 LANCASTER           CA     93535‐7404
ALBINO MARTINI                1511 HEMLOCK DR                                                                                  LAREDO              TX     78041‐6820
ALBINO PINA JR                309 COLONEL THOMAS HEYWARD RD                                                                    BLUFFTON            SC     29909‐5032
ALBINO, CARMEN J              19‐42 80TH ST.                   #D2                                                             JACKSON HEIGHTS     NY     11370
ALBINO, JOSEPH                ANGELOS PETER G LAW OFFICE       115 BROADWAY FRNT 3                                             NEW YORK            NY     10006‐1638
ALBINSON, ROBERT L            BANK OF AMERICA ‐ PRIVATE BANK   200 E GRANADA BLVD STE 300                                      ORMOND BEACH        FL     32176
ALBION 5 BAY TIRE & AUTO      1783 ALBION RD                                                           ETOBICOKE ON M9W 5S7
                                                                                                       CANADA
ALBION COLLEGE                ACCOUNTING DEPARTMENT            611 E PORTER ST                                                 ALBION              MI     49224‐1831
ALBION DEVICES INC            538 STEVENS AVENUE                                                                               SOLANA BEACH        CA     92075‐2054
ALBION DEVICES INCORPORATED   538 STEVENS AVE                                                                                  SOLANA BEACH        CA     92075‐2054
ALBION INDUSTRIES INC         800 N CLARK ST                   PO BOX 569                                                      ALBION              MI     49224‐1455
ALBION MOQUIN                 150 FAIRFIELD ST                                                                                 BRISTOL             CT     06010‐3621
ALBION, IRA N                 29950 SUMMIT DR APT 102                                                                          FARMINGTON HILLS    MI     48334‐2415
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Name                        Address1                         Address2                          Address3   Address4                 City            State   Zip
ALBION‐HOMER UNITED WAY     PO BOX 55                                                                                              ALBION           MI     49224‐0055
ALBIRDA HAWKINS             40 S LINDEN RD APT 101                                                                                 MANSFIELD        OH     44906‐3059
ALBITZ GARAGE               2827 E HIGH ST                                                                                         POTTSTOWN        PA     19464‐3119
ALBITZ, ROSEMARY            6135 HOLLY GLENN DR                                                                                    TOLEDO           OH     43612‐4537
ALBITZ, STEPHEN E           2396 OTTAWA RIVER RD                                                                                   TOLEDO           OH     43611‐1965
ALBITZ, STEPHEN ERNEST      2396 OTTAWA RIVER RD                                                                                   TOLEDO           OH     43611‐1965
ALBO DON S                  ALBO, DON S                      16855 WEST BERNARDO DRIVE SUITE                                       SAN DIEGO        CA     92127
                                                             380
ALBO, DON S                 MCGEE WILLIAM R LAW OFFICES OF   16855 W BERNARDO DR STE 380                                           SAN DIEGO        CA     92127‐1626
ALBOHN, WILLIAM P           150 WALTER AVE                                                                                         THORNWOOD        NY     10594‐1621
ALBONE, DOUGLAS G           783 WALNUT ST                                                                                          LOCKPORT         NY     14094‐3306
ALBONE, EUGENE R            5497 FOREST HILL RD                                                                                    LOCKPORT         NY     14094‐6223
ALBONE, TIMOTHY L           1020 W CENTER ST                                                                                       MEDINA           NY     14103‐1054
ALBORN, R C                 2138 RIDGE RD                                                                                          ONTARIO          NY     14519‐9556
ALBOSTA, ANNE M             4399 BRADFORD DR                                                                                       SAGINAW          MI     48603‐3049
ALBOSTA, BETTYE M           5360 FORT RD ROUTE 1                                                                                   SAGINAW          MI     48601‐9312
ALBRANT JR, CLYDE J         19322 HACKETT LAKE HWY                                                                                 ONAWAY           MI     49765‐8801
ALBRANT, ANDREW W           6141 BELLINGHAM CT                                                                                     BURTON           MI     48519‐1615
ALBRANT, CLYDE J            19322 HACKETT LAKE HWY                                                                                 ONAWAY           MI     49765‐8801
ALBRANT, JOHANNA G          990 RYAN ST                                                                                            OWOSSO           MI     48867‐3438
ALBRECHT FLOR               PROF BAUER STR 1                                                              97294 UNTERPLEICHFELD
                                                                                                          GERMANY
ALBRECHT ALTES              WINDHOF 5                                                                     67745 GRUMBACH GERMANY

ALBRECHT COGSWELL           12690 SUNDOWN LN                                                                                       TRAVERSE CITY    MI     49686‐9007
ALBRECHT FLOR               YUMEI TAN‐FLOR                   PROF‐BAUER‐STR 1                             97294 UNTERPLEICHFELD
                                                                                                          GERMANY
ALBRECHT FLOR               PROF BAUER STR 1                                                              97294 UNTERPLEICHFELD
                                                                                                          GERMANY
ALBRECHT FLOR               PROF‐BAUER‐STR 1                                                              97294 UNTERPLEICHFELD
                                                                                                          GERMANY
ALBRECHT JOHN R (428393)    GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                           NORFOLK          VA     23510
                                                             STREET, SUITE 600
ALBRECHT JR, DONALD P       6244 N TUXEDO ST                                                                                       INDIANAPOLIS     IN     46220‐4444
ALBRECHT KOCH
ALBRECHT SCHOCK             ZIMMERPLATZ 5                                                                 74532 ILSHOFEN GERMANY   _
ALBRECHT SCHUH              16340 FISH LAKE RD                                                                                     HOLLY            MI     48442‐8349
ALBRECHT SEIFERT            G╓TZSTRASSE 19                   69 469 WEINHEIM                   GERMANY
ALBRECHT TAPPE              JAHNSTR. 76                                                                   72108 ROTTENBURG
                                                                                                          GERMANY
ALBRECHT VON FREEDEN        5137 E KINGS AVE                                                                                       SCOTTSDALE      AZ      85254‐1039
ALBRECHT WILLIAM (471034)   ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET , ONE                                            BALTIMORE       MD      21202
                                                             CHARLES CENTER 22ND FLOOR
ALBRECHT, ALAN K            4708 RADNOR RD                                                                                         INDIANAPOLIS    IN      46226‐2156
ALBRECHT, ALICE             PO BOX 3447                                                                                            ARLINGTON       WA      98223‐3447
ALBRECHT, ANDREW
ALBRECHT, BETTY L           9924 NORMAN ST                                                                                         LIVONIA          MI     48150‐2436
ALBRECHT, BOBBY A           2188 HORTON WAY                                                                                        LEWISBURG        TN     37091‐6574
ALBRECHT, BONNIE F          2086 PARADISE DR                                                                                       LEWISBURG        TN     37091‐4534
ALBRECHT, BONNIE FAY        2086 PARADISE DR                                                                                       LEWISBURG        TN     37091‐4534
ALBRECHT, CAROLINE          1410 DOWNEY                                                                                            LANSING          MI     48906‐2815
ALBRECHT, CAROLINE          1410 DOWNEY ST                                                                                         LANSING          MI     48906‐2815
ALBRECHT, CHARLES E         2611 BRADFORD DR                                                                                       SAGINAW          MI     48603‐2979
ALBRECHT, CHARLES E         9200 HEATH RD                                                                                          COLDEN           NY     14033‐9604
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Name                      Address1                         Address2                      Address3   Address4               City              State   Zip
ALBRECHT, CHARLES F       53 GROVE ST                                                                                      COOPERSVILLE       MI     49404‐1101
ALBRECHT, CHARLOTTE E     1910 WEGNER ST                                                                                   WAUSAU             WI     54401‐5261
ALBRECHT, CHRISTINE A     4244 GREENBRIAR DR                                                                               JANESVILLE         WI     53546‐4239
ALBRECHT, DAVID A         2270 REIDSVIEW E                                                                                 WHITE LAKE         MI     48383‐3937
ALBRECHT, DAVID D         447 CALIFORNIA BLVD                                                                              TOLEDO             OH     43612‐2510
ALBRECHT, DAVID DERRILL   447 CALIFORNIA BLVD                                                                              TOLEDO             OH     43612‐2510
ALBRECHT, DAVID J         2094 NILES CORTLAND RD NE                                                                        CORTLAND           OH     44410‐9405
ALBRECHT, DAVID J         11849 CHICKORY DR                                                                                GRAND HAVEN        MI     49417‐9383
ALBRECHT, DAVID L         2508 N LEFEBER AVE                                                                               WAUWATOSA          WI     53213‐1222
ALBRECHT, DONALD R        1229 AUGUSTINE DR                                                                                LADY LAKE          FL     32159‐0022
ALBRECHT, DONNA E         1011 E MONOWAU APT 5                                                                             TOMAH              WI     54660
ALBRECHT, DONNA MAE       2096 PARADISE DR                                                                                 LEWISBURG          TN     37091‐4534
ALBRECHT, DONNA R         56184 STONEY PLACE DR                                                                            SHELBY TOWNSHIP    MI     48316‐4920
ALBRECHT, DONNA R         56164 STONEY PL N                                                                                SHELBY TWP         MI     48316
ALBRECHT, DORIS L         1880 N COUNTY ROAD 600 E                                                                         AVON               IN     46123‐8693
ALBRECHT, FRANK W         1410 DOWNEY ST                                                                                   LANSING            MI     48906‐2815
ALBRECHT, FREDERICK G     PO BOX 4073                                                                                      CENTER LINE        MI     48015‐4073
ALBRECHT, GEORGE M        9132 STATE RD                                                                                    N ROYALTON         OH     44133‐1910
ALBRECHT, GERALD E        1940 CORONA DEL SIRE DR                                                                          N FT MYERS         FL     33917‐7713
ALBRECHT, HAROLD B        4116 PLEASANT ST                                                                                 METAMORA           MI     48455‐9403
ALBRECHT, HEINZ R         1825 S CALLE MONTANOSA                                                                           GREEN VALLEY       AZ     85622‐1608
ALBRECHT, HELGA I.C.      914 ST RT 95 R 1                                                                                 PERRYSVILLE        OH     44864
ALBRECHT, IRVIN W         7957 ALHAMBRA RD                                                                                 NEW DOUGLAS         IL    62074‐1819
ALBRECHT, JOAN M          8041 GORDON DR                                                                                   INDIANAPOLIS       IN     46278‐1317
ALBRECHT, JOEL T          265 DEHOFF DR                                                                                    AUSTINTOWN         OH     44515‐3910
ALBRECHT, JOHN F          W8301 CLOVER VALLEY RD                                                                           WHITEWATER         WI     53190‐4200
ALBRECHT, JOHN R          GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                     NORFOLK            VA     23510‐2212
                                                           STREET, SUITE 600
ALBRECHT, JOHN W          8173 N COUNTY ROAD 25 W                                                                          BAINBRIDGE        IN      46105‐9504
ALBRECHT, JOHN WESLEY     8173 N COUNTY ROAD 25 W                                                                          BAINBRIDGE        IN      46105‐9504
ALBRECHT, KEITH R         6818 SWISSWAY DR                                                                                 DAYTON            OH      45459‐1237
ALBRECHT, LESTER L        3202 TIMBERWAY DR                                                                                PINCKNEY          MI      48169‐9480
ALBRECHT, LOUIS J         4931 W 13TH ST                                                                                   SPEEDWAY          IN      46224‐6519
ALBRECHT, MARIANNE        C/O SONJA CAHILL                 465 RIVER ROAD                                                  TEWKSBURY         MA      01876
ALBRECHT, MARIANNE        465 RIVER RD                     C/O SONJA CAHILL                                                TEWKSBURY         MA      01876‐1044
ALBRECHT, MARTIN          1580 NEWMAN AVE                                                                                  LAKEWOOD          OH      44107‐5233
ALBRECHT, MICHAEL J       2086 PARADISE DR                                                                                 LEWISBURG         TN      37091‐4534
ALBRECHT, MICHAEL J       860 EAGLE VIEW LN                                                                                OWENTON           KY      40359‐9074
ALBRECHT, MICHAEL K       4526 16 MILE RD NE                                                                               CEDAR SPRINGS     MI      49319‐9406
ALBRECHT, PAUL F          58 NINA TER                                                                                      WEST SENECA       NY      14224‐4469
ALBRECHT, RAYMOND C       2618 BRUNSWICK RD                                                                                YOUNGSTOWN        OH      44511‐2114
ALBRECHT, RICHARD L       2176 PEPPERMILL RD                                                                               LAPEER            MI      48446‐9436
ALBRECHT, ROBERT J        28911 GREYSTONE                                                                                  MISSION VIEJO     CA      92692‐4304
ALBRECHT, ROGER M         14284 PROVIM FOREST CT                                                                           SHELBY TOWNSHIP   MI      48315‐2872
ALBRECHT, RONALD W        634 LITTLEFIELD DR                                                                               JANESVILLE        WI      53546‐3303
ALBRECHT, ROSE            34667 GIANNETTI DRIVE                                                                            STERLING HTS      MI      48312‐5727
ALBRECHT, RUDOLF F        448 GIRARD AVE                                                                                   ROYAL OAK         MI      48073‐3616
ALBRECHT, SHARON L        6244 N TUXEDO ST                                                                                 INDIANAPOLIS      IN      46220‐4444
ALBRECHT, THOMAS G        1959 PAGEANT WAY                                                                                 HOLT              MI      48842‐1546
ALBRECHT, THOMAS M        3480 CADWALLADER SONK RD                                                                         CORTLAND          OH      44410‐9442
ALBRECHT, THOMAS W        1130 SHAWNEE TRL                                                                                 YOUNGSTOWN        OH      44511‐1346
ALBRECHT, WILLIAM         ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET, ONE                                       BALTIMORE         MD      21202
                                                           CHARLES CENTER 22ND FLOOR
ALBRECHT, WILLIAM C       34667 GIANNETTI DRIVE                                                                            STERLING HTS       MI     48312‐5727
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Name                              Address1                           Address2                      Address3       Address4               City            State   Zip
ALBRECHT, WILLIAM D               3142 WOODSIDE ST                                                                                       DEARBORN         MI     48124‐3922
ALBRECHT, WILMA C                 7707 N TOCOHO TRL                                                                                      EDGERTON         WI     53534‐9717
ALBRECHT, WILMA J                 729 LORI DR APT 205                                                                                    PALM SPRINGS     FL     33461‐1254
ALBRECHT‐HAMLIN CHEVROLET INC     1401 VAUGHN RD                                                                                         WOOD RIVER        IL    62095‐1853
ALBRECHT‐HAMLIN CHEVROLET, INC.   1401 VAUGHN RD                                                                                         WOOD RIVER        IL    62095‐1853
ALBRECHT‐THAYER, REBECCA L        2735 WABASH RD                                                                                         LANSING          MI     48910‐4861
ALBREE TURNER                     6509 HIGHWAY 172                                                                                       HODGES           AL     35571‐3117
ALBRIGHT BENJAMIN                 6190 ROGERS PARK PL                                                                                    CINCINNATI       OH     45213
ALBRIGHT COLLEGE                  CONTROLLERS OFFICE                 PO BOX 15234                  ATTN CASHIER                          READING          PA     19612‐5234
ALBRIGHT JOHN E (408696)          GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                         NORFOLK          VA     23510
                                                                     STREET, SUITE 600
ALBRIGHT JR, HARRY W              1453 ATHLONE ST                                                                                        OXFORD          MI      48371‐6003
ALBRIGHT JR, JAMES R              127 LYON AVE                                                                                           LOVELAND        OH      45140‐2944
ALBRIGHT JR, REGIS C              1411 WARWICK ST                                                                                        STREETSBORO     OH      44241‐4614
ALBRIGHT MOTOR COMPANY            WILLIAM ALBRIGHT                   1001 STATE ST                                                       LAWRENCEVILLE   IL      62439‐2326
ALBRIGHT MOTOR COMPANY            1001 STATE ST                                                                                          LAWRENCEVILLE   IL      62439‐2326
ALBRIGHT SMITH, MONICA            HOWRYBREEN LLP                     1900 PEARL ST                                                       AUSTIN          TX      78705‐5408
ALBRIGHT SMITH, MONICA            CHANDLER LAW OFFICES               207 E FRANK AVE STE 103                                             LUFKIN          TX      75901‐3058
ALBRIGHT TONYA                    ALBRIGHT, MATTHEW                  207 E FRANK AVE STE 103                                             LUFKIN          TX      75901‐3058
ALBRIGHT TONYA                    ALBRIGHT SMITH, MONICA             207 E FRANK AVE STE 103                                             LUFKIN          TX      75901‐3058
ALBRIGHT TONYA                    ALBRIGHT SMITH, MONICA             1900 PEARL ST                                                       AUSTIN          TX      78705‐5408
ALBRIGHT TONYA                    ALBRIGHT, TONYA                    1900 PEARL ST                                                       AUSTIN          TX      78705‐5408
ALBRIGHT WELDING SUPPLY CO INC    3132 E LINCOLN WAY                                                                                     WOOSTER         OH      44691‐3757
ALBRIGHT, ALICE L                 109 BELAIRE CR.                                                                                        DAPHNE          AL      36526
ALBRIGHT, BARRY L                 27 EATON RD                                                                                            BRISTOL         CT      06010‐4061
ALBRIGHT, BENNY D                 920 GILEAD RUPE RD                                                                                     LEXINGTON       MO      64067‐7180
ALBRIGHT, BERNICE                 1326 NICOLET PLACE                                                                                     DETROIT         MI      48207
ALBRIGHT, BRUCE A                 59 BROOKVIEW DR                                                                                        BELLEVILLE      MI      48111‐9725
ALBRIGHT, BRUCE L                 5058 S US HIGHWAY 231                                                                                  GREENCASTLE     IN      46135‐8719
ALBRIGHT, CAMERON W               4489 ARDONNA LANE                                                                                      DAYTON          OH      45432‐1809
ALBRIGHT, CAMERON W               4489 ARDONNA LN                                                                                        DAYTON          OH      45432‐1809
ALBRIGHT, CARL G                  1318 BAYVIEW RD                                                                                        BATH            NC      27808
ALBRIGHT, CAROL L                 8245 BREMEN RD SE                                                                                      BREMEN          OH      43107‐9798
ALBRIGHT, CHARLES F               1310 TALLBERRY DR                  C/O STEPHEN ALBRIGHT                                                CINCINNATI      OH      45230‐2318
ALBRIGHT, CHARLES H               3644 FIRETHORN DR                                                                                      DEL CITY        OK      73115‐2335
ALBRIGHT, CHRISTOPHER P           4735 FIELDCREST DR                                                                                     LANSING         MI      48917‐2047
ALBRIGHT, CHRISTOPHER P.          4735 FIELDCREST DR                                                                                     LANSING         MI      48917‐2047
ALBRIGHT, CLAYTON R               1641 E CENTRAL ST                                                                                      SPRINGFIELD     MO      65802‐2105
ALBRIGHT, CORA                    6951 ACADEMY LN                                                                                        LOCKPORT        NY      14094‐5322
ALBRIGHT, DALE D                  481 MERLEE CIR                                                                                         EAGLE POINT     OR      97524‐9579
ALBRIGHT, DAVID A                 104 4TH AVE                                                                                            NEW CASTLE      DE      19720‐4164
ALBRIGHT, DAVID M                 8333 WACO LN                                                                                           POWELL          OH      43065‐9527
ALBRIGHT, DAVID M                 8333 WACO LANE                                                                                         POWELL          OH      43065‐9527
ALBRIGHT, DAVID P                 1485 SAND PIPER DR                                                                                     GRAND BLANC     MI      48439‐7247
ALBRIGHT, DOLORES M               2308 STARR RD                                                                                          ROYAL OAK       MI      48073‐2206
ALBRIGHT, DONNA                   948 HONEYSUCKLE TR                                                                                     WINDER          GA      30680‐3008
ALBRIGHT, DONNA B                 1001 27TH. ST. E.                                                                                      BRADENTON       FL      34208‐3122
ALBRIGHT, DONNA B                 1001 27TH ST E                                                                                         BRADENTON       FL      34208‐3122
ALBRIGHT, DOYLE O                 501 S PECULIAR DR APT 30                                                                               PECULIAR        MO      64078
ALBRIGHT, DWIGHT                  5324 BIFFLE DOWNS ROAD                                                                                 STONE MTN       GA      30088‐3818
ALBRIGHT, EILEEN M                4916 LUANN AVE                                                                                         TOLEDO          OH      43623‐3834
ALBRIGHT, GENE H                  1859 OUTER LN DR                                                                                       YPSILANTI       MI      48198‐9107
ALBRIGHT, GERTRUDE E              204 E FORTH ST                     UNIT E3                                                             LAWSON          MO      64062
ALBRIGHT, GERTRUDE E              1103 N RAUM ST                                                                                         LAWSON          MO      64062‐9367
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Name                      Address1                       Address2                      Address3   Address4               City             State   Zip
ALBRIGHT, JAMES           BARTON & WILLIAMS              3007 MAGNOLIA ST                                                PASCAGOULA        MS     39567‐4126
ALBRIGHT, JEAN A          241 MAGNOLIA DR                                                                                LEBANON           OH     45036‐7939
ALBRIGHT, JERALD R        2667 ELIZABETH DR SW                                                                           WARREN            OH     44481‐9621
ALBRIGHT, JOHN E          GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                     NORFOLK           VA     23510‐2212
                                                         STREET, SUITE 600
ALBRIGHT, JOHN T          23707 W 58TH ST                                                                                SHAWNEE           KS     66226‐2994
ALBRIGHT, JOHN W          886 N 400 W                                                                                    KOKOMO            IN     46901‐3849
ALBRIGHT, JUSTINE C       5280 SAINT PAUL BLVD                                                                           ROCHESTER         NY     14617‐1125
ALBRIGHT, KARA
ALBRIGHT, KATHY B         17 MYSTIC DR                                                                                   BEAR             DE      19701‐4006
ALBRIGHT, KEN             7946 E US HIGHWAY 36                                                                           ROCKVILLE        IN      47872‐7707
ALBRIGHT, KENNETH M       4993 W HIGHWAY 21 21                                                                           HORNBEAK         TN      38232
ALBRIGHT, KENNETH S       3100 STATE ROAD 60 E                                                                           MITCHELL         IN      47446‐6126
ALBRIGHT, LARRY           100 SECRETARIAT CT                                                                             BEAR             DE      19701‐3317
ALBRIGHT, LAWRENCE F      5884 S IVANHOE AVE                                                                             YPSILANTI        MI      48197‐7112
ALBRIGHT, LELA C          1617 CAPE MAY RD                                                                               ESSEX            MD      21221‐1612
ALBRIGHT, LENWOOD I       110 CONSTITUTION CT APT B                                                                      ALBANY           GA      31721‐6290
ALBRIGHT, LEWIS E         4741 N OPFER LENTZ RD                                                                          MARTIN           OH      43445‐9767
ALBRIGHT, LINDA M         2476 STEWART DR NW                                                                             WARREN           OH      44485‐2349
ALBRIGHT, LOIS I          114 EASTWOOD DR                                                                                GREENVILLE       OH      45331‐2851
ALBRIGHT, MARGUERITE      3356 S COUNTY RD 500 W                                                                         RUSSIAVILLE      IN      46979
ALBRIGHT, MARILYN M       1925 N LELAND AVE                                                                              INDIANAPOLIS     IN      46218‐4781
ALBRIGHT, MARTHA A        1871 LARKSPUR DR                                                                               ARLINGTON        TX      76013‐3479
ALBRIGHT, MARY            18606 BRIGGS CIRCLE                                                                            PORT CHARLOTTE   FL      33948‐9600
ALBRIGHT, MATTHEW         CHANDLER LAW OFFICES           207 E FRANK AVE STE 103                                         LUFKIN           TX      75901‐3058
ALBRIGHT, MAXINE P        674 COTTTAGE LN                                                                                GREENWOOD        IN      46143‐8439
ALBRIGHT, MAXINE P        674 COTTAGE LN                                                                                 GREENWOOD        IN      46143‐8439
ALBRIGHT, MILTON D        249 PINEVIEW DR                                                                                MOORESVILLE      IN      46158‐2774
ALBRIGHT, MIRION A        3494 S PARK AVE                                                                                DOTHAN           AL      36301‐5534
ALBRIGHT, MONICA
ALBRIGHT, OLIVE           513 BEL AIRE DR                                                                                THIENSVILLE      WI      53092‐1409
ALBRIGHT, OSCAR G         89 PARKEDGE AVE                                                                                TONAWANDA        NY      14150‐7729
ALBRIGHT, PAUL L          3417 LONGFELLOW ST                                                                             DETROIT          MI      48206‐1821
ALBRIGHT, PAULA E         31431 LONNIE BLVD                                                                              WESTLAND         MI      48185‐1604
ALBRIGHT, PEGGY A         PO BOX 421                                                                                     AXTON            VA      24054‐0421
ALBRIGHT, RAMONA TAYLOR   450 CARGILL ST                                                                                 PRATTVILLE       AL      36067‐1538
ALBRIGHT, RANDAL K        224 ANGELA CIR                                                                                 OSWEGO           IL      60543‐7335
ALBRIGHT, REUBEN P        7435 GILLETTE ROAD                                                                             FLUSHING         MI      48433‐9242
ALBRIGHT, RICHARD C       8588 N BLACK OAK DR                                                                            EDGERTON         WI      53534‐8604
ALBRIGHT, RICHARD L       680 ELY ST                                                                                     BATAVIA          OH      45103‐2825
ALBRIGHT, ROBBIE          18853 ORLEANS CT                                                                               NOBLESVILLE      IN      46060‐1595
ALBRIGHT, ROBBIE          7100 E 241ST ST                                                                                CICERO           IN      46034‐9355
ALBRIGHT, ROBERT L        10627 W LA JOLLA DR                                                                            SUN CITY         AZ      85351‐4119
ALBRIGHT, ROBERT P        1399 DENIES ST                                                                                 BURTON           MI      48509‐2122
ALBRIGHT, RONALD F        14225 DICE RD                                                                                  HEMLOCK          MI      48626‐9454
ALBRIGHT, ROSE R          3051 MAPLE RIDGE RD                                                                            WILLARD          OH      44890‐9705
ALBRIGHT, SHELBY J        134 MONACO RD                                                                                  W MELBOURNE      FL      32904‐5137
ALBRIGHT, SHIRLEY         7435 GILLETTE RD                                                                               FLUSHING         MI      48433‐9242
ALBRIGHT, SHIRLEY J       603 GREGMARK LN                                                                                IONIA            MI      48846‐8734
ALBRIGHT, SHIRLEY M       1039 S MURIEL AVE                                                                              COMPTON          CA      90221‐4531
ALBRIGHT, SIBYL E         24 APPLE HILL LN                                                                               DUXBURY          MA      02332‐3532
ALBRIGHT, STEPHANIE E     6656 SONESTA DR                                                                                INDIANAPOLIS     IN      46217‐7088
ALBRIGHT, THOMAS W        7435 GILLETTE RD                                                                               FLUSHING         MI      48433‐9242
ALBRIGHT, THOMAS WAYNE    7435 GILLETTE RD                                                                               FLUSHING         MI      48433‐9242
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Name                                Address1                       Address2                  Address3     Address4               City           State Zip
ALBRIGHT, TONYA
ALBRIGHT, TONYA                     HOWRYBREEN LLP                 1900 PEARL ST                                                 AUSTIN         TX    78705‐5408
ALBRIGHT, URSA L                    504 SW 23RD ST                                                                               EL RENO        OK    73036‐5856
ALBRIGHT, URSA LOUISE               504 SW 23RD ST                                                                               EL RENO        OK    73036‐5856
ALBRIGHT, VALERIE D                 3207 W 70TH ST                                                                               DAVENPORT      IA    52806
ALBRIGHT, WILBUR E                  1697 ABERNETHY PL                                                                            THE VILLAGES   FL    32162‐6780
ALBRIGHT, WILLIAM J                 3253 CHICA CIR                                                                               MELBOURNE      FL    32904
ALBRIGHT‐REVELES, MARGARITA         27022 229TH PL SE                                                                            MAPLE VALLEY   WA    98038
ALBRING, ROBERT G                   416 E KING ST                                                                                OWOSSO         MI    48867‐2403
ALBRITTON CAROLE                    3262 CIRCLE DR                                                                               FARMVILLE      NC    27828‐1679
ALBRITTON COY                       309 AVENUE G NW                                                                              CHILDRESS      TX    79201‐3645
ALBRITTON JR, GREENE                1857 MAYNARDS MILL ROAD                                                                      FORSYTH        GA    31029‐8043
ALBRITTON, ARTHUR                   31 W 17TH PL                                                                                 LOMBARD        IL    60148‐6141
ALBRITTON, DARON S                  2128 REVERCHON DR                                                                            ARLINGTON      TX    76017‐4566
ALBRITTON, DAWN                     1801 HICKORY HIGHLANDS DRIVE                                                                 ANTIOCH        TN    37013‐6159
ALBRITTON, GEMINA C                 1857 MAYNARDS MILL RD                                                                        FORSYTH        GA    31029‐8043
ALBRITTON, LISA M                   1407 W 3RD AVE                                                                               BRODHEAD       WI    53520‐1617
ALBRITTON, MARIAN L                 16709 WINTHROP                                                                               DETROIT        MI    48235‐3623
ALBRITTON, MARLA D                  4913 SHADOWOOD RD                                                                            COLLEYVILLE    TX    76034‐3093
ALBRITTON, MELVIN                   2926 RUE ORLEANS 2                                                                           SHREVEPORT     LA    71119
ALBRITTON, RONALD E                 SHANNON LAW FIRM               100 W GALLATIN ST                                             HAZLEHURST     MS    39083‐3007
ALBRITTON, SEAMON J                 7509 BEATY AVE                                                                               FORT WAYNE     IN    46809‐2879
ALBRITTONS CLIFTON ALVERSON & MOODY 109 OPP AVE                    PO BOX 880                                                    ANDALUSIA      AL    36420‐3812
PC
ALBRITTONS GIVHAN CLIPTON &         PO BOX 880                                                                                   ANDALUSIA       AL   36420‐1217
ALVERSON
ALBRIZIO, FRANK R                   48 GOVER RD                                                                                  MILLBURY       MA    01527‐4114
ALBRIZZI, LISA M                    301 LANDOR CT                                                                                SAINT LOUIS    MO    63125
ALBRIZZI, LISA M                    301 LANDOR COURT                                                                             SAINT LOUIS    MO    63125‐1122
ALBRO, DONALD H                     4448 FERDEN RD                                                                               NEW LOTHROP    MI    48460‐9608
ALBRO, DONALD HOWARD                4448 FERDEN RD                                                                               NEW LOTHROP    MI    48460‐9608
ALBRO, EMMA J                       5714 DALTON DR                                                                               FARMINGTON     NY    14425‐9326
ALBRO, L K
ALBRO, TERRY L                      4030 TATES CREEK RD APT 4600                                                                 LEXINGTON      KY    40517‐3181
ALBRO, TERRY L                      2248 VINTAGE ST                                                                              SARASOTA       FL    34240‐8315
ALBRYCHT, ANN A                     106 MONCE RD                                                                                 BURLINGTON     CT    06013‐2543
ALBU, SANDU M                       1833 S SLEEPY HOLLOW AVE                                                                     TUCSON         AZ    85710‐7257
ALBUJA CARLOS HUMBERTO              ALBUJA, CARLOS HUMBERTO        1234 MARKET ST STE 2040                                       PHILADELPHIA   PA    19107‐3720
ALBUQUERQUE AUTO AUCTION INC        3411 BROADWAY BLVD SE                                                                        ALBUQUERQUE    NM    87105‐0405
ALBUQUERQUE PUBLIC SCHOOLS FLEET                                   916 LOCUST SE                                                 ALBUQUERQUE    NM    87106
ALBUQUERQUE PUBLISHING COMPANY      7777 JEFFERSON ST NE                                                                         ALBUQUERQUE    NM    87109‐4343
ALBUQUERQUE, JOAQUIM S              250 MARY LOU AVE                                                                             YONKERS        NY    10703‐1904
ALBUQUERQUE, MARIO                  1291 MYRTLE ST                                                                               HILLSIDE       NJ    07205‐2217
ALBURG, BARRY L                     313 TULIE GATE RD              # 181                                                         TULAROSA       NM    88352
ALBURG, PENELOPE OTTO               PO BOX 1143                                                                                  ABIQUIU        NM    87510‐1143
ALBURG, WILLIAM F                   3026 GASLIGHT DR                                                                             BAY CITY       MI    48706‐9604
ALBURTUS, GREGORY L                 45183 60TH ST                                                                                LAWRENCE       MI    49064‐9623
ALBURTUS, ROBERT L                  20135 M‐86                     P O BOX 186                                                   CENTREVILLE    MI    49032‐9640
ALBURTUS, ROBERT L                  PO BOX 186                     20135 M‐86                                                    CENTREVILLE    MI    49032‐0186
ALBURY, ANDRENA M                   2715 FLINTLOCK PL                                                                            AUSTELL        GA    30106‐2708
ALBUS REGAN MARIE                   29322 CAMPBELL DR                                                                            WARREN         MI    48093‐5230
ALBUS, REGAN
ALBUS, REGAN M                      29322 CAMPBELL DR                                                                            WARREN          MI   48093‐5230
ALBUS, REGAN MARIE                  29322 CAMPBELL DR                                                                            WARREN          MI   48093‐5230
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Name                           Address1                           Address2                       Address3               Address4                  City               State Zip
ALBY RAY HARDIN                ROBERT W PHILLIPS                  SIMMONS BROWDER GIANARIS       707 BERKSHIRE BLVD     PO BOX 521                EAST ALTON           IL 62024
                                                                  ANGELIDES & BARNERD LLC
ALBY WINFREY                   5387 MAPLETREE DR                                                                                                  FLINT              MI   48532‐3334
ALBY, KATIE                    PROGRESSIVE                        PROGRESSIVE UNIVERSAL                                                           HUDSON             WI   54016
                                                                  INSURANCE CO 2010 O'NEIL AVE
ALCALA, ELADIO M               646 TABOR ST                                                                                                       ADRIAN             MI   49221‐3319
ALCALA, ELVIRA                 1848 ROCHESTER RD                                                                                                  LEONARD            MI   48367‐3542
ALCALA, HERMINIA CARABA        214 OLYMPIC WAY                    APT 11                                                                          MELBOURNE          FL   32901
ALCALA, HERMINIA CARABA        3445 SPRING BRANCH                                                                                                 MELBOURNE          FL   32935‐5760
ALCALA, JOSE JESUS             PEREZ MAKASIAN WILLIAMS & MEDINA   1432 E DIVISADERO ST                                                            FRESNO             CA   93721‐1114

ALCALA, JOSIE N                5444 MOONLIGHT DR                                                                                                  INDIANAPOLIS       IN   46226‐1757
ALCALA, RALPH M                17363 BEAVERLAND ST                                                                                                DETROIT            MI   48219‐3153
ALCALA, ROSA MARIA
ALCALA, THELMA G               830 OTTER AVE                                                                                                      WATERFORD          MI   48328‐3920
ALCALA, YVONNE M               2801 ALEXANDRA DR APT 2821                                                                                         ROSEVILLE          CA   95661
ALCAN ALESA TECHNOLOGIES LTD   150 ROCKLAND RD                    CANADA                                                TOWN OF MOUNT ROYAL PQ
                                                                                                                        H3P 2V9 CANADA
ALCAN AUTOMOTIVE               ALCAN PRODUCTS CORPORATION         46555 MAGELLAN DR                                                               NOVI               MI   48377‐2452
ALCAN CORP                     46555 MAGELLAN DR                                                                                                  NOVI               MI   48377‐2452
ALCAN CORPORATION              MARK BOEHMAN                       ALCAN AUTOMOTIVE STRUCTURES    46555 MAGELLAN DRIVE                             ROME               GA   30162
ALCAN INC                      100‐1188 RUE SHERBROOKE O                                                                MONTREAL QC H3A 3G2
                                                                                                                        CANADA
ALCAN INC
ALCAN INC                      46555 MAGELLAN DR                                                                                                  NOVI               MI   48377‐2452
ALCAN INC                      6150 PARKLAND BLVD                                                                                                 MAYFIELD HEIGHTS   OH   44124

ALCAN INC                      ALUSINGEN PLATZ 1                                                                        SINGEN BW 78224 GERMANY

ALCAN INC                      CHRIS TRAITSES                     2250 CHEMIN DE LA RESERVE      VILLE DE SAGUENAY                                HOLLAND            OH   43528
ALCAN INC                      MARK BOEHMAN                       ALCAN AUTOMOTIVE STRUCTURES    46555 MAGELLAN DRIVE                             ROME               GA   30162
ALCAN PRIMARY PRODUCTS CORP    6150 PARKLAND BLVD                                                                                                 MAYFIELD HEIGHTS   OH   44124

ALCAN PRODUCTS CORPORATION     46555 MAGELLAN DR                                                                                                  NOVI               MI   48377‐2452
ALCAN SINGEN GMBH              ALUSINGEN‐PLATZ 1                                                                        SINGEN 78221 GERMANY
ALCAN SINGEN GMBH              ALUSINGEN PLATZ 1                                                                        SINGEN BW 78224 GERMANY

ALCAN/GERMANY                  ALUSINGEN PLATZ 1                                                                        SINGEN GE 78224 GERMANY
ALCAN/KINGSTON                 KINGSTON RESEARCH & DEVELOPMENT    P.O. BOX 8400                                         KINGSTON ON K7G 5L9
                                                                                                                        CANADA
ALCAN/NOVI                     46555 MAGELLAN DR                                                                                                  NOVI               MI   48377‐2452
ALCANTAR JR., FREDDIE M        2109 CHERI CT                                                                                                      FORT WAYNE         IN   46804‐7301
ALCANTAR JR., FREDDIE M.       62 WOODLAKE RUN                                                                                                    YODER              IN   46798‐9327
ALCANTAR, ANA ALICIA M         17625 OAKBROOK CT                                                                                                  RENO               NV   89508
ALCANTAR, ANGELINA             7253 CLEON AVE                                                                                                     SUN VALLEY         CA   91352‐4807
ALCANTAR, ANTHONY L            323 E PROSPECT ST                                                                                                  GIRARD             OH   44420‐2634
ALCANTAR, BERNARD              16816 W LUNDBERG ST                                                                                                SURPRISE           AZ   85388‐1576
ALCANTAR, CESAR                2014 BENT TREE LOOP                                                                                                ROUND ROCK         TX   78681
ALCANTAR, ERIKA R              2109 CHERI CT                                                                                                      FT WAYNE           IN   46804‐7301
ALCANTAR, FREDDIE V            221 MISSION HILL DR                                                                                                FORT WAYNE         IN   46804‐6436
ALCANTAR, GEORGE A             817 SE 12TH ST                                                                                                     MOORE              OK   73160‐7220
ALCANTAR, HENRY                14625 KALISHER ST                                                                                                  SAN FERNANDO       CA   91340‐4166
ALCANTAR, JOHN M               12165 SAN FERNANDO ROAD            APT 218                                                                         SYLMAR             CA   91342
ALCANTAR, JUAN
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Name                              Address1                            Address2                       Address3         Address4                   City              State   Zip
ALCANTAR, MATTHEW                 17625 OAKBROOK CT                                                                                              RENO               NV     89508‐4023
ALCANTAR, RAY L                   405 BERLIN WAY                                                                                                 PATTERSON          CA     95363‐9577
ALCANTAR, SAMUEL                  1126 ASHFORD PLACE DR                                                                                          O FALLON           MO     63366‐2002
ALCANTAR, TEOFILO R               PO BOX 512                                                                                                     SANGER             CA     93657‐0512
ALCANTAR, VICTORIA B              2405 CROCKER LANE                                                                                              MODESTO            CA     95358‐1497
ALCANTAR, VICTORIA B              2405 CROCKER LN                                                                                                MODESTO            CA     95358‐1497
ALCANTARA, ALBINO E               897 MUIRFIELD AVE                                                                                              SIMI VALLEY        CA     93065‐5638
ALCANTARA, PHILIP R               3225 NW 57TH PL                                                                                                GAINESVILLE        FL     32653‐1702
ALCARAS, MARIE A                  15 ASCOT CIR                                                                                                   EAST AMHERST       NY     14051‐1808
ALCARAS, MARIE A                  15 ASCOT CIRCLE                                                                                                E AMHERST          NY     14051
ALCARAZ HICKERSON, ERON           PO BOX 10730                                                                                                   SANTA ANA          CA     92711‐0730
ALCARAZ MIGUEL                    6710 SCULLY WAY                                                                                                RIVERSIDE          CA     92509‐1989
ALCARAZ‐HICKERSON, ERIN           43601 STANRIDGE AVE                                                                                            LANCASTER          CA     93535
ALCARAZ‐HICKERSON, ERIN           C/O MERCURY INSURANCE GROUP         ATTN CHAD MANN                 PO BOX 10730                                SANTA ANA          CA     92711‐0730
ALCARESE, JOHN S                  2619 CHESLEY AVE                                                                                               BALTIMORE          MD     21234‐7507
ALCATEL                           107 BEAVER CT                                                                                                  COCKEYSVILLE       MD     21030‐2106
ALCATEL VACUUM PRODUCTS INC       67 SHARP ST                                                                                                    HINGHAM            MA     02043
ALCAZAR, JAVIER A                 4605 COOLIDGE HWY APT 3                                                                                        ROYAL OAK          MI     48073‐1653
ALCEA TECHNOLOGIES INC            401‐1355 BANK STREET                                                                OTTAWA CANADA ON KJH 8K7
                                                                                                                      CANADA
ALCEBO, JOSE I                    930 AVON RD                                                                                                    WEST PALM BEACH    FL     33401‐7524

ALCEE ALFRED                      9729 PORTAGE DR                                                                                                SAINT LOUIS       MO      63136‐5311
ALCERITO LTD                      C/O MERRILL LYNCH INTERNATIONAL BANK ATTENTION TAU DEPARTMENT      2 RAFFLES LINK   MARINA BAYFRONT
                                  LIMITED                                                                             SINGAPORE 039392
ALCHAMMAS, ZIAD                   13829 IRONWOOD DR                                                                                              SHELBY TOWNSHIP    MI     48315‐4299
ALCHEM ALUMINUM INC               430 W GARFIELD AVE                                                                                             COLDWATER          MI     49036‐8000
ALCHEMO OF CONNECTICUT            PORTER AVENUE                                                                                                  MIDDLEBURY         CT     06762
ALCHEMY PARTNERS LLP, ATT: JON    25 BEDFORD STREET, COVENT GARDEN                                                    LONDON WC2E 9ES GREAT
MOULTON                                                                                                               BRITAIN
ALCHIN, ERIC W                    11500 RUESS RD                                                                                                 PERRY              MI     48872‐8107
ALCHIN, FREDERICK J               1975 SUN DR                                                                                                    OWOSSO             MI     48867‐9765
ALCHIN, MADELYNN D                206 FENWOOD DR                                                                                                 PRUDENVILLE        MI     48651‐9425
ALCHIN, MICHAEL E                 7480 W BEARD RD                                                                                                PERRY              MI     48872‐8145
ALCHIN, MICHAEL ERIC              7480 W BEARD RD                                                                                                PERRY              MI     48872‐8145
ALCIANA SP                        C/O MERRILL LYNCH INTERNATIONAL BANK ATTENTION TAU DEPARTMENT      2 RAFFLES LINK   MARINA BAYFRONT
                                  LIMITED                                                                             SINGAPORE 039392
ALCIDE DORSEY JR                  C/O WILLIAMS KHERKHER HART &         8441 GULF FREEWAY STE 600                                                 HOUSTON            TX     77007
                                  BOUNDAS LLP
ALCIDE GAGNE                      17162 CASSELBERRY LN                                                                                           FORT MYERS        FL      33967‐6036
ALCIDE J TAILLON                  205 PLYMOUTH AVE                                                                                               SYRACUSE          NY      13211‐1608
ALCIDE TRAHAN I I                 1021 4TH ST                                                                                                    COVINGTON         IN      47932‐1023
ALCIDES ALBARRAN                  6 LENORA AVE                                                                                                   MORRISVILLE       PA      19067‐1206
ALCIDES RIBEIRO                   9712 CHARLESTON DR                                                                                             SHREVEPORT        LA      71118‐4206
ALCIDES RIVERA                    3704 MARVIN AVE                                                                                                CLEVELAND         OH      44109‐2141
ALCIE BRYAN                       15817 N BOWLING GREEN DR                                                                                       SUN CITY          AZ      85351‐1730
ALCINI, BARBARA F                 338 FISHER CT                                                                                                  CLAWSON           MI      48017‐1610
ALCINI, MARY H                    8306 N SENECA DR                                                                                               MUNCIE            IN      47303‐9041
ALCINI, MATTHEW C                 47267 NITA DR                                                                                                  SHELBY TWP        MI      48317‐3435
ALCINI, WILLIAM                   7533 ROBERTA LN                                                                                                WASHINGTON        MI      48094‐1434
ALCINI, WILLIAM V                 4895 NORTHGATE DR                                                                                              ANN ARBOR         MI      48103‐9770
ALCO                              LISA M. RUSSO                        36253 MICHIGAN AVE                                                        WAYNE             MI      48184‐1652
ALCO CADILLAC PONTIAC SALES INC   ROOKS PITTS & POUST                  55 W MONROE ST                                                            CHICAGO           IL      60603‐6603
ALCO CADILLAC PONTIAC SALES INC   STEIN SIMPSON & ROSEN                1370 AVENUE OF THE AMERICAS                                               NEW YORK          NY      10019
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Name                                  Address1                       Address2                           Address3                Address4                     City               State   Zip
ALCO EXPRESS                          36253 MICHIGAN AVE                                                                                                     WAYNE               MI     48184‐1652
ALCO PLASTICS                         DAVE JONES                     PO BOX 447                                                                              DECORAH              IA    52101‐0447
ALCO PLASTICS INC                     160 E POND DR                                                                                                          ROMEO               MI     48065‐4902
ALCO PLASTICS INC                     DAVE JONES                     PO BOX 447                                                                              ROMEO               MI     48065‐0447
ALCO PLASTICS INC                     PO BOX 447                     160 E PONDS                                                                             ROMEO               MI     48065‐0447
ALCO PLASTICS/ROMEO                   160 EAST POND DRIVE            BOX 447                                                                                 ROMEO               MI     48065
ALCO PRO INC                          PO BOX 10954                                                                                                           KNOXVILLE           TN     37939‐0954
ALCO TRANSPORTATION INC               36253 MICHIGAN AVE                                                                                                     WAYNE               MI     48184‐1652
ALCO TRANSPORTATION INC               LISA M. RUSSO                  36253 MICHIGAN AVE                                                                      WAYNE               MI     48184‐1652
ALCOA ‐ AUTO/NORTHWD                  8001 THYSSENKRUPP PKWY                                                                                                 NORTHWOOD           OH     43619‐2082
ALCOA AUTOMOTIVE CASTINGS             KENTUCKY CASTING CENTER        1660 STATE RTE 271N                                                                     HAWESVILLE          KY     42348
ALCOA AUTOMOTIVE CASTINGS             RYAN RIEDEL                    KENTUCKY CASTING CENTER            1660 STATE RT 271 N.                                 FLORENCE            KY     41042
ALCOA AUTOMOTIVE INC                  JEFF BONELLO                   1101 OREN DR                                                                            AUBURN              IN     46706‐2674
ALCOA AUTOMOTIVE INC                  JEFF BONELLO                   1101 OREN DRIVE                                                                         PEACHTREE CITY      GA     30269
ALCOA AUTOMOTIVE INC                  14638 APPLE DR                                                                                                         FRUITPORT           MI     49415‐9511
ALCOA AUTOMOTIVE INDIANA ASSEM        1101 OREN DR                                                                                                           AUBURN              IN     46706‐2674
ALCOA AUTOMOTIVE INDIANA ASSEMBLY     1101 OREN DR                                                                                                           AUBURN              IN     46706‐2674

ALCOA ENGINEERED PRODUCTS             ALCOA EXTRUSIONS INC           100 TECHNICAL DR                                                                        NEW KENSINGTON      PA     15069‐0001
ALCOA FUJIKURA DE MEXICO DE RI DE     CARR MATAMOROS EN MIELERAS                                                                TORREON, CZ 27277 MEXICO

ALCOA FUJIKURA DE MEXICO S DE RL DE   FRESNEL S/N PARQUE                                                                        CD JUAREZ, CH 32470 MEXICO

ALCOA FUJIKURA DE MEXICO S DE RL DE   FRESNEL S/N PARQUE             INDUSTRIAL A J BERMUDEZ                                    CD JUAREZ CH 32470 MEXICO

ALCOA FUJIKURA DE MEXICO S DE RL DE CV KM 7 5 CAMINO A SAN LORENZO   ALMECATLA SAN JUAN COL PUEBLA                              CP 72710 MEXICO MEXICO

ALCOA FUJIKURA GMBH                   BENZSTRASSE 2                                                                             FRICKENHAUSEN 72636
                                                                                                                                GERMANY
ALCOA FUJIKURA LTD                    AFL AUTOMOTIVE LP              12746 CIMARRON PATH STE 116                                                             SAN ANTONIO        TX      78249‐3420
ALCOA FUJIKURA LTD                    PO BOX 67000                                                                                                           DETROIT            MI      48267‐0390
ALCOA FUJIKURA LTD                    VICKY KING                     1335 HENRY BRENNEN                                                                      HARLINGEN          TX      78550
ALCOA FUJIKURA LTD                    2641 TECHNOLOGY DR                                                                                                     JEFFERSONTOWN      KY      40299‐6423
ALCOA FUJIKURA LTD                    DAVID MANIKOWSKI               2641 TECHNOLOGY DR                 AFL AUTOMOTIVE                                       JEFFERSONTOWN      KY      40299‐6423
ALCOA FUJIKURA LTD                    DAVID MANIKOWSKI               AFL AUTOMOTIVE                     2641 TECHNOLOGY DRIVE                                LONGVIEW           TX
ALCOA FUJIKURA LTD INC                VICKY KING                     4701 SANTA MARIA                                                                        VALENCIA           CA      91355
ALCOA INC                             1 REYNOLDS DR                                                                                                          BELOIT             WI      53511‐3972
ALCOA INC                             1600 HARVARD AVE                                                                                                       NEWBURGH           OH      44105‐3092
                                                                                                                                                             HEIGHTS
ALCOA INC                             390 PARK AVE                                                                                                           NEW YORK            NY     10022
ALCOA INC                             36555 CORPORATE DR STE 185                                                                                             FARMINGTON HILLS    MI     48331‐3567

ALCOA INC                             VICKY KING                     36555 CORPORATE DRIVE, SUITE 185                                                        FARMINGTON HILLS    MI     48331

ALCOA INC
ALCOA INC                                                            390 PARK AVE                                                                            NEW YORK           NY      10022
ALCOA INC                             1101 OREN DR                                                                                                           AUBURN             IN      46706‐2674
ALCOA INC                             14638 APPLE DR                                                                                                         FRUITPORT          MI      49415‐9511
ALCOA INC                             705 REGIONAL PARK RD                                                                                                   LEBANON            VA      24266‐3706
ALCOA INC                             941 LAKE RD                                                                                                            MEDINA             OH      44256‐2453
ALCOA INC                             CARR MATAMOROS EN MIELERAS                                                                TORREON CZ 27277 MEXICO
ALCOA INC                             DANIELLE FELTMAN               1 REYNOLDS DR.                                                                          STANFORD           KY      40484
ALCOA INC                             DANIELLE FELTMAN               200 MOUNTAIN RD.                                                                        MT STERLING        OH      43143
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Name                                  Address1                             Address2                     Address3                 Address4                    City               State Zip
ALCOA INC                             DANIELLE FELTMAN                     ALCOA                        700 REGIONAL PARK RD.    EL MARQUES QA 76246
                                                                                                                                 MEXICO
ALCOA INC                             DANIELLE FELTMAN                     C/O B & C CORP.              5208 WOOSTER ROAD W      RAMOSA ARIZPE CP 25900
                                                                                                                                 MEXICO
ALCOA INC                             DAVID MANIKOWSKI                     2641 TECHNOLOGY DR           AFL AUTOMOTIVE                                       JEFFERSONTOWN       KY   40299‐6423
ALCOA INC                             DAVID MANIKOWSKI                     AFL AUTOMOTIVE               2641 TECHNOLOGY DRIVE                                LONGVIEW            TX
ALCOA INC                             FRESNEL S/N PARQUE                                                                         CD JUAREZ CH 32470 MEXICO

ALCOA INC                             FRESNEL S/N PARQUE                   INDUSTRIAL A J BERMUDEZ                               CD JUAREZ CH 32470 MEXICO

ALCOA INC                             JEFF BONELLO                         1101 OREN DR                                                                      AUBURN             IN    46706‐2674
ALCOA INC                             JEFF BONELLO                         1101 OREN DRIVE                                                                   PEACHTREE CITY     GA    30269
ALCOA INC                             JILL LESMAN                          53150 N. MAIN STREET                                                              HOLLAND            MI    49424
ALCOA INC                             JOEL ALENT                           1600 HARVARD AVE                                                                  MOUNT CLEMENS      MI
ALCOA INC                             RYAN RIEDEL                          KENTUCKY CASTING CENTER      1660 STATE RT 271 N.                                 FLORENCE           KY    41042
ALCOA INC                             STAN RHODES                          941‐955 LAKE RD.                                      LANNACH AUSTRIA
ALCOA INC                             TERRY BOWMAN                         3340 GILCHRIST RD            C/O TERMINAL WAREHOUSE                               MOGADORE           OH    44260‐1254
                                                                                                        INC
ALCOA INC                             TERRY BOWMAN                         C/O TERMINAL WAREHOUSE INC   3340 GILCHRIST ROAD                                  FERRIS             TX    75125
ALCOA INC                             VICKY KING                           4701 SANTA MARIA AVE                                                              LAREDO             TX    78041‐5615
ALCOA INC                             1 CORPORATE DR                                                                                                         KINGSTON           NY    12401‐5536
ALCOA INC                             ATTN GENERAL COUNSEL                 390 PARK AVENUE                                                                   NEW YORK           NY    10022
ALCOA INC                             C/O WILLIAM CRAWFORD, PARALEGAL      201 ISABELLA ST                                                                   PITTSBURGH         PA    15212
ALCOA INC MEMBER CAM OR SITE          C/O DENNIS REIS, BRIGGS AND MORGAN   80 S EIGHT ST STE 2200                                                            MINNEAPOLIS        MN    55402
EXTENDED GROUP (SEE ATTACH 1)
ALCOA INC.                            3655 CORPORATE DR.                   SUITE 185                                                                         FARMINGTON HILLS    MI   48331

ALCOA REYNOLDS AUTOMOTIVE             5600 N RIVER RD STE 620                                                                                                DES PLAINES         IL   60010‐5112
ALCOA WHEEL & FORGED PRODUCTS         20255 VICTOR PKWY STE 300            REYNOLDS INTERNATIONAL                                                            LIVONIA             MI   48152‐7019
ALCOA WHEEL PRODUCTS                  DANIELLE FELTMAN                     ALCOA                        700 REGIONAL PARK RD.    EL MARQUES QA 76246
                                                                                                                                 MEXICO
ALCOA WHEEL PRODUCTS COLLINGWOOD 200 MOUNTAIN RD                                                                                 COLLINGWOOD CANADA ON
                                                                                                                                 L9Y 4V5 CANADA
ALCOA/JEFFERSONTOWN                   36555 CORPORATE DR STE 185                                                                                             FARMINGTON HILLS    MI   48331‐3567

ALCOA/LIVONIA                         36555 CORPORATE DR STE 185                                                                                             FARMINGTON HILLS    MI   48331‐3567

ALCOA/REYNOLDS, C/O TRICIA SHAW,      ONE GATEWAY CENTER, 420 FORT                                                                                           PITTSBURGH          PA   15222‐1437
LEBOEUF, LAMB, GREENE & MACRAE, LLP   DUQUESNE BLVD., SUITE 1600

ALCOA/SOUTHFIELD                      400 TOWN CENTER                      SUITE 1370                                                                        SOUTHFIELD          MI   48075
ALCOCER KELLY                         ALCOCER, JOE                         5055 WILSHIRE BLVD STE 300                                                        LOS ANGELES         CA   90036‐6101
ALCOCER KELLY                         ALCOCER, KELLY                       5055 WILSHIRE BLVD STE 300                                                        LOS ANGELES         CA   90036‐6101
ALCOCER, JOE                          KROHN & MOSS ‐ CA,                   5055 WILSHIRE BLVD STE 300                                                        LOS ANGELES         CA   90036‐6101
ALCOCER, JOSEPH                       PO BOX 88                                                                                                              PIRU                CA   93040
ALCOCER, KELLY                        KROHN & MOSS ‐ CA,                   5055 WILSHIRE BLVD STE 300                                                        LOS ANGELES         CA   90036‐6101
ALCOCER, MARIA
ALCOCER, NICOLAS                      RODRIGUEZ & ASSOCS                   2020 EYE ST                                                                       BAKERSFIELD        CA    93301‐4412
ALCOCK, FREDERICK S                   6601 WHITEFORD CENTER RD                                                                                               LAMBERTVILLE       MI    48144‐9469
ALCOCK, GLORIA E                      3699 SPERONE DR                                                                                                        CANFIELD           OH    44406‐8000
ALCOCK, HARLEY S                      1315 MONROE ST                                                                                                         SAGINAW            MI    48602‐4474
ALCOCK, SUSAN G                       6941 RAVENWOOD LANE                                                                                                    ROCKFORD           MI    49341
ALCOCK, TIMOTHY W                     365 S BRENNAN RD                                                                                                       HEMLOCK            MI    48626‐8755
ALCOCK, WARREN R                      3699 SPERONE DR                                                                                                        CANFIELD           OH    44406‐8000
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ALCOHOL & TOBACCO TAX & TR BUREAU    PO BOX 371962                                                                                                     PITTSBURGH      PA 15250‐7962
TTB
ALCOHOLICS ANONYMOUS                 ATTN: ROSEMARY BARNETT              PO BOX 430809                                                                 PONTIAC        MI    48343‐0809
ALCOHOLISM COUNCIL FELLOWSHIP        49 E 21ST ST                                                                                                      NEW YORK       NY    10010
CENTER OF NEW YORK
ALCOKE MANAGEMENT, LLC               JOSEPH ALCOKE                       3405 DR M L KING JR BLVD                                                      NEW BERN       NC    28562‐5219
ALCOLHOLISM COUNCIL OF NEW YORK      2‐26 WASHINGTON STREET 7TH FL                                                                                     NEW YORK       NY    10004
ALCOM ELEC/AUBURN HL                 1500 ATLANTIC BLVD                                                                                                AUBURN HILLS   MI    48326‐1500
ALCOM ELECTRONICOS DE MEXICO         1500 ATLANTIC BLVD                                                                                                AUBURN HILLS   MI    48326‐1500
ALCOM ELECTRONICOS DE MEXICO         LORI TOMASSI                        C/O ALPS ELECTRIC USA INC     7100 INTERNATIONAL   DIADEMA BRAZIL
                                                                                                       PARKWAY
ALCOM ELECTRONICOS DE MEXICO         7100 INTERNATIONAL PKY                                                                                            MCALLEN         TX   78503
ALCOM ELECTRONICOS DE MEXICO SA DE   INDUSTRIAL DEL NORTE LOTE 1Y2 MC5                                                      REYNOSA TM 88730 MEXICO

ALCOM ELECTRONICS DE MEXICO          1500 ATLANTIC BLVD                                                                                                AUBURN HILLS   MI    48326‐1500
ALCOM ELECTRONICS DE MEXICO          501 N BRIDGE ST                                                                                                   HIDALGO        TX    78557‐2530
ALCOMA, NORMAN                       8108 SEYMOUR RD                                                                                                   GAINES         MI    48436‐9798
ALCON INDUSTRIES INC                 7990 BAKER AVE                                                                                                    CLEVELAND      OH    44102‐1953
ALCON LOUIE                          801 E 62ND ST                                                                                                     SIOUX FALLS    SD    57108‐4635
ALCONA MOTORS, INC.                  DENNIS KRUTTLIN                     313 S SECOND ST                                                               LINCOLN        MI    48742
ALCONA MOTORS, INC.                  313 S SECOND ST                                                                                                   LINCOLN        MI    48742
ALCONA TOOL & MACHINE INC            KEITH KRUTTLIN                      3040 CARBIDE DRIVE, BOX 340                        MORELOS MR 62741 MEXICO

ALCONA TOOL & MACHINE INC            3040 E CARBIDE DR                                                                                                 HARRISVILLE    MI    48740‐9610
ALCONIA MIZE                         795 SULPHUR HOLLOW RD                                                                                             TAZEWELL       TN    37879‐5186
ALCORE FABRICATING CORP              65 NEWKIRK RD                                                                          RICHMOND HILL ON L4C 3G4
                                                                                                                            CANADA
ALCORN COUNTY TAX COLLECTOR          PO BOX 190                                                                                                        CORINTH        MS    38835‐0190
ALCORN INDUSTRIAL INC                PO BOX 68675                        5321 W 86TH                                                                   INDIANAPOLIS   IN    46268‐0675
ALCORN JR, CHARLES W                 2873 OAKBRIAR TRL                                                                                                 FORT WORTH     TX    76109‐5556
ALCORN JR, RICHARD W                 2757 LYDIA ST SW                                                                                                  WARREN         OH    44481‐8619
ALCORN JUNE                          ALCORN, JUNE                        3 SUMMIT PARK DR STE 100                                                      INDEPENDENCE   OH    44131‐2598
ALCORN STATE UNIVERSITY              OFFICE OF THE VP FOR BUS AFFRS      1000 ASU DRIVE 509                                                            LORMAN         MS    39096
ALCORN, ALLAN                        12252 N 111TH AVE                                                                                                 YOUNGTOWN      AZ    85363‐1234
ALCORN, CARDINAL B                   PO BOX 3836                                                                                                       SOUTHFIELD     MI    48037‐3836
ALCORN, CECIL E                      1055 PRINCETON ROAD                                                                                               WEST MILTON    OH    45383‐5383
ALCORN, CHARLENE                     44 NICKELL CT                                                                                                     GERMANTOWN     OH    45327‐9339
ALCORN, CHARLES E                    3206 WALDMAR RD                                                                                                   TOLEDO         OH    43615‐1443
ALCORN, CHARLOTTE A                  4339 KUERBITZ DR                                                                                                  BAY CITY       MI    48706
ALCORN, CHRISTINE                    PO BOX 3836                                                                                                       SOUTHFIELD     MI    48037‐3836
ALCORN, DAVID E                      425 MELODY LN                                                                                                     NEW CASTLE     IN    47362‐5213
ALCORN, DAVID L                      2566 SIERRA DR                                                                                                    SAGINAW        MI    48609‐7021
ALCORN, DONALD G                     9804 BERKEY HWY                                                                                                   BLISSFIELD     MI    49228‐9707
ALCORN, ELIZABETH K                  1868 SOURWOOD LN.                                                                                                 DUNEDIN        FL    34698‐2948
ALCORN, ELIZABETH K                  1868 SOURWOOD BLVD                                                                                                DUNEDIN        FL    34698‐2948
ALCORN, FRED L                       1011 GRIBBLE DR                                                                                                   FRANKLIN       OH    45005‐1568
ALCORN, FREDDIE L                    303 ASPEN CT                                                                                                      FRANKLIN       OH    45005
ALCORN, GARY W                       4572 WINTERGREEN DR N                                                                                             SAGINAW        MI    48603‐1943
ALCORN, GENA R                       1775 LESLIE RD                                                                                                    DECKER         MI    48426‐9751
ALCORN, GENA RENEE                   1775 LESLIE RD                                                                                                    DECKER         MI    48426‐9751
ALCORN, GERALD A                     4208 FOX FERN CT                                                                                                  BEAVERCREEK    OH    45432‐4132
ALCORN, GERALD L                     112 E 2ND ST                                                                                                      TILTON         IL    61833‐7403
ALCORN, HAWLEY P                     5471 3 MILE RD                                                                                                    BAY CITY       MI    48706‐9062
ALCORN, HERBERT E                    104 S PARK RD                                                                                                     GALVESTON      IN    46932‐8602
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Name                         Address1                        Address2                          Address3   Address4               City             State   Zip
ALCORN, IVOR C               1703 ELIZABETH ST                                                                                   BAY CITY          MI     48708‐5420
ALCORN, JACQUELINE A         15385 VISALIA RD                                                                                    PORT CHARLOTTE    FL     33981‐5179
ALCORN, JEFFERY B            300 ASPEN CT                                                                                        CARLISLE          OH     45005‐7304
ALCORN, JEFFERY BRIAN        300 ASPEN CT                                                                                        CARLISLE          OH     45005‐7304
ALCORN, JEFFREY E            3820 GLENCAIRN LN                                                                                   INDIANAPOLIS      IN     46226‐3046
ALCORN, JENNIFER C           44 NICKLES COURT                                                                                    GERMANTOWN        OH     45327
ALCORN, JIMMIE T             3556 TANYARD HOLLOW RD                                                                              CULLEOKA          TN     38451‐2339
ALCORN, JIMMY S              3562 TANYARD HOLLOW RD                                                                              CULLEOKA          TN     38451‐2339
ALCORN, JOSEPH B             34 LOVE CREEK DR                                                                                    LEWES             DE     19958‐9290
ALCORN, JUNE                 1029 EATON AVE APT 1                                                                                HAMILTON          OH     45013‐4646
ALCORN, KENNETH E            4820 FAIRVIEW AVE                                                                                   BLUE ASH          OH     45242
ALCORN, KENNETH S            205 MOORES RIVER DR                                                                                 LANSING           MI     48910‐1431
ALCORN, LAWRENCE D           15385 VISALIA RD                                                                                    PORT CHARLOTTE    FL     33981‐5179
ALCORN, LEO F                3990 MAIDEN ST                                                                                      WATERFORD         MI     48329‐1047
ALCORN, LOWELL G             1288 APT2 KECKSBURG RD                                                                              MOUNT PLEASANT    PA     15666
ALCORN, PATRICIA             12690 BAUMGARTNER RD                                                                                ST. CHARLES       MI     48655
ALCORN, PAULINE              7931 MEADOWBROOK DR                                                                                 MASON             OH     45040‐9683
ALCORN, PAULINE E            PO BOX 636                                                                                          TRINITY           AL     35673‐0007
ALCORN, REBB L               5325 W RADIO RD                                                                                     YOUNGSTOWN        OH     44515‐1823
ALCORN, RICHARD B            462 BRADLEY LN                                                                                      YOUNGSTOWN        OH     44504‐1401
ALCORN, ROBERT J             530 MCCARTY DR                                                                                      GREENWOOD         IN     46142‐1934
ALCORN, ROGER                PO BOX 1943                                                                                         BENSALEM          PA     19020‐6943
ALCORN, STEPHEN C            5 EAGLES NEST                                                                                       WINTER HAVEN      FL     33881
ALCORN, THOMAS L             1420 BEACHLAND BLVD                                                                                 WATERFORD         MI     48328‐4779
ALCORN, WILLA                3820 GLENCAIRN LANE                                                                                 INDIANAPOLIS      IN     46226‐3046
ALCORN, WILLIAM D            6865 HITCHINGHAM RD                                                                                 YPSILANTI         MI     48197‐8998
ALCORN, WILLIAM P            14 SHEEP MEADOW PL                                                                                  THE WOODLANDS     TX     77381‐3207
ALCORN, WILLIAM R            2704 RICHLAWN CIR                                                                                   DAYTON            OH     45440‐2032
ALCORN, YVONNE L             29994 RED OAK LN                                                                                    WRIGHT CITY       MO     63390‐2839
ALCORN,CHARLENE              44 NICKELL CT                                                                                       GERMANTOWN        OH     45327‐9339
ALCORNS, ALMA F              1741 HARDING DR                                                                                     WICKLIFFE         OH     44092‐1048
ALCORTA, CYNTHIA ELIZABETH   NEUMANN WILLIAM G JR            1520 E HIGHWAY 6                                                    ALVIN             TX     77511‐7702
ALCORTA, DANIEL              PO BOX 20096                                                                                        SAGINAW           MI     48602‐0096
ALCORTA, JOSE G              35696 BARNARD DR                                                                                    FREMONT           CA     94536‐2513
ALCOSER, RALPH S             940 SANTA CLARA ST                                                                                  FILLMORE          CA     93015‐1723
ALCOSER, WILLIAM S           13831 1/2 STUDEBAKER RD                                                                             NORWALK           CA     90650‐3539
ALCOTT, JOHN J               103 LEXINGTON CT                                                                                    HOLMDEL           NJ     07733‐2765
ALCOTT, PATRICIA M           4386 OLD CARRIAGE ROAD                                                                              FLINT             MI     48507‐5648
ALCOTT, RONALD C             51098 LANDMARK                                                                                      BELLEVILLE        MI     48111‐4460
ALCOZAR, LUPE G              PO BOX 32                                                                                           PIRU              CA     93040‐0032
ALCOZAR, RICHARD A           453 E LINGARD ST                                                                                    LANCASTER         CA     93535‐3023
ALCRON SA                    6410 NW 82ND AVE # 0037                                                                             MIAMI             FL     33069
ALCRON SA                    64010 NW 82ND AVE 0#0037                                                                            MIAMI             FL     33166
ALCUDIA FAUSTINO J           ALCUDIA, FAUSTINO J             THE EAGLE BUILDING 911 MAIN ST                                      LEXINGTON         MO     64067
                                                             BOX PO
ALCUDIA FAUSTINO J           HERNANDEZ, ARACELI OCANA        THE EAGLE BUILDING 911 MAIN ST                                      LEXINGTON        MO      64067
                                                             BOX PO
ALCUDIA FAUSTINO J           LOERA, GERARDO M                911 MAIN ST                                                         LEXINGTON        MO      64067‐1342
ALCUDIA FAUSTINO J           QUIROZ GALVEZ, RICARDO JAIVER   THE EAGLE BUILDING 911 MAIN ST                                      LEXINGTON        MO      64067
                                                             BOX PO
ALCUDIA FAUSTINO J           SANDOVAL, ELIZABETH PADILLA     THE EAGLE BUILDING 911 MAIN ST                                      LEXINGTON        MO      64067
                                                             BOX PO
ALCUDIA, FAUSTINO J          LANGDON AND EMISON              THE EAGLE BUILDING, PO BOX 220,                                     LEXINGTON        MO      64067
                                                             911 MAIN STREET
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Name                                 Address1                           Address2                    Address3      Address4                City             State Zip
ALCUDRA, FAUSTINO
ALCURTIS JONES                       4377 LONG CREEK RD                                                                                   MEMPHIS           TN   38125‐5038
ALCUTT, WILLIS J                     1550 SYCAMORE AVE APT 205                                                                            HERCULES          CA   94547‐1785
ALD AUTOMOTIVE                       801 W BEATTY AVE                                                                                     YUMA              CO   80759‐1026
ALD THERMAL TREATMENT INC            2656 24TH ST                                                                                         PORT HURON        MI   48060‐6419
ALD THERMAL TREATMENT INC            1101 CAROLINA PINES DR                                                                               BLYTHEWOOD        SC   29016‐7792
ALD TRATAMIENTOS TERMICOS SA DE CV   AV OMEGA 2270 COL PARQUE INDUSTRIAL SANTA MARIA                              RAMOS ARIZPE CH 25900
                                                                                                                  MEXICO
ALDA AZEVEDO                         8 SAGE RD                                                                                            PAWLING          NY    12564‐2007
ALDA L FOUNTAIN                      1535 GREEN MEADON LN                                                                                 ROCKY MOUNT      NC    27804
ALDA LANGLO                          833 LINWOOD WAY                                                                                      SAN LEANDRO      CA    94577‐6215
ALDA MOORE                           2466 TUNNELTON ROAD                                                                                  BEDFORD          IN    47421‐8885
ALDA NICHOLS                         4444 STATE ST APT A101                                                                               SAGINAW          MI    48603‐4034
ALDA NOBREGA                         11 OXFORD ST # F 2                                                                                   LOWELL           MA    01854
ALDA NUNNERY                         12918 DAWN DR                                                                                        CERRITOS         CA    90703‐1201
ALDA RICK                            123 FAMILY CIR                                                                                       HUTTO            TX    78634‐3032
ALDA SHOEN                           251 ANDREWS ST APT 2                                                                                 MASSENA          NY    13662‐1645
ALDA STAUFFER                        PO BOX 579                                                                                           BRADFORD         PA    16701‐0579
ALDA TREVINO                         3201 KENRICK ST                                                                                      KEEGO HARBOR     MI    48320‐1232
ALDA WARNAGIRIS                      9 SHEFFIELD CT                                                                                       EAST BRUNSWICK   NJ    08816‐5659
ALDA ZECCHIN                         32958 WAREHAM CT                                                                                     WARREN           MI    48092‐1096
ALDABAGH MD                          DEPT CH # 17929                                                                                      PALATINE         IL    60055‐0001
ALDACO, ALEXIS JAY                   614 CLIFFORD ST                                                                                      LANSING          MI    48912‐2439
ALDACO, JUVENCIO B                   4314 CHADBURNE DR                                                                                    LANSING          MI    48911‐2740
ALDAMA, ELIAS                        119 DOVERDALE LN                   C/O MELINDA J BENTLEY                                             BATTLE CREEK     MI    49015‐4603
ALDAMA, JAMES                        10332 GARFIELD AVE                                                                                   SOUTH GATE       CA    90280‐7227
ALDANA LILIA                         ALDANA, LILIA                      10085 CARROLL CANYON ROAD                                         SAN DIEGO        CA    92131
ALDANA, JULIO                        APT A                              853 WOODWARD AVENUE                                               EL CENTRO        CA    92243‐2094
ALDANA, LILY P                       3101 WELLS BRANCH PKWY APT 321                                                                       AUSTIN           TX    78728‐6621
ALDAPE, RICHARD                      4119 LAWNDALE ST                                                                                     DETROIT          MI    48210‐2007
ALDARIA BROWN                        1689W 255 ST                                                                                         HARBOR CITY      CA    90710
ALDARONDO ERICK                      ALDARONDO, ERICK                   STATE FARM INSURANCE        PO BOX 2371                           BLOOMINGTON      IL    61702
ALDARONDO, BERNARDINO B              NUMBER 2‐C‐240‐C11                 BARRIO ISOLTE                                                     ARECIBO          PR    00612
ALDARONDO, CHRISTINA W               348 FERN SPRING DR                                                                                   PEARL            MS    39208‐6744
ALDARONDO, ERICK                     STATE FARM INSURANCE               PO BOX 2371                                                       BLOOMINGTON      IL    61702‐2371
ALDARONDO, MARY L                    5219 S MENARD AVE                                                                                    CHICAGO          IL    60638‐1515
ALDARONDO, NANCY J                   801 PIN OAK PL                                                                                       PEARL            MS    39208‐5526
ALDAY, BRITTANY L.                   2027 WOODHAVEN DR APT 7                                                                              FORT WAYNE       IN    46819‐1038
ALDAY, JOY I                         1737 VIRGINIA STREET                                                                                 GRAND PRAIRIE    TX    75051‐2822
ALDAY, LOUIS F                       1120 ESSEX DR                                                                                        AUBURN           IN    46706‐1334
ALDEA, JOYCE A                       84 PACIFIC WAY                                                                                       NAPLES           FL    34104‐4163
ALDEAN JORDAN                        PO BOX 521                                                                                           GRAND BLANC      MI    48480‐0521
ALDEAN NEELY                         1905 CALUMET AVE                                                                                     TOLEDO           OH    43607‐1606
ALDEANE COGSWELL                     10637 HARLOW RD                                                                                      GREENVILLE       MI    48838‐9107
ALDEEN SANDERS‐PEARSON               61 N EDITH ST                                                                                        PONTIAC          MI    48342‐2936
ALDEMIRO RODRIGUES                   197 CARTERET AVE                                                                                     CARTERET         NJ    07008‐2154
ALDEN                                PO BOX 357                                                                                           PRESCOTT         MI    48756‐0357
ALDEN ARGERSINGER                    6681 N KREPPS RD                                                                                     ELSIE            MI    48831‐9745
ALDEN AUTOMATION INC                 2008 AIRLINE DR STE 300            PMB 289                                                           BOSSIER CITY     LA    71111‐2947
ALDEN B HOPKINS                      128 COLONY SQUARE                                                                                    JACKSON          MS    39204‐4254
ALDEN BUICK‐PONTIAC‐GMC TRUCK        6 WHALERS WAY                                                                                        FAIRHAVEN        MA    02719‐4704
ALDEN CALDWELL                       20 CALDWELL RD                                                                                       KELSO            TN    37348‐6138
ALDEN CASSITY                        22 HILLTOP DR                                                                                        DANVILLE         IN    46122‐1334
ALDEN CEN                                                               1648 CRITTENDEN RD                                                ALDEN            NY    14004
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ALDEN COOPER              6054 SUNNYDALE RD                                                                             CLARKSTON          MI     48346‐2338
ALDEN DAN                 1502 YORKSHIRE DR APT NO 1                                                                    HOWELL             MI     48843
ALDEN DEAN JR             8051 SHERIDAN RD                                                                              MILLINGTON         MI     48746‐9146
ALDEN E HAYDEL I I        412 STATE ST                                                                                  HAZEL              KY     42049‐9001
ALDEN E HAYDEL II         2450 E CLEVELAND RD                                                                           ASHLEY             MI     48806‐9737
ALDEN ELECTRONICS INC     PO BOX 500                                                                                    WESTBOROUGH        MA     01581‐0500
ALDEN FANTANA             455 SUNRISE BLVD                                                                              SEBRING            FL     33875‐5474
ALDEN GIBSON              5372 TULIP TREE CT                                                                            FLINT              MI     48532‐3339
ALDEN HAYDEL I I          412 STATE ST                                                                                  HAZEL              KY     42049‐9001
ALDEN J LANG              3811 E 56TH                                                                                   HUTCHINSON         KS     67502
ALDEN JOHNSON             4794 HIGHWAY 910                                                                              RUSSELL SPRINGS    KY     42642‐8903
ALDEN JR, JOHN F          8188 WALLACE DR                                                                               LAKE               MI     48632‐9102
ALDEN KIESEL              3256 KIESEL RD                                                                                BAY CITY           MI     48706‐2448
ALDEN LOGISTICS           DAVE PIERCE                      18765 SEAWAY DR                                              MELVINDALE         MI     48122‐1954
ALDEN LOGISTICS INC       18765 SEAWAY DR                                                                               MELVINDALE         MI     48122‐1954
ALDEN LOGISTICS INC       DOUG OSTROWSKI                   18765 SEAWAY DR                                              MELVINDALE         MI     48122‐1954
ALDEN LOPEZ               25606 HORIZON GROVE LANE                                                                      KATY               TX     77494‐0418
ALDEN MARSHALL            4984 WILLOW OVERLOOK                                                                          STONE MOUNTAIN     GA     30088‐3135
ALDEN MCBRIDE             11262 S WISNER RD                                                                             BANNISTER          MI     48807‐9704
ALDEN MEDICAL SUPPLY      13185 BROAWAY STREET                                                                          ALDEN              NY     14004
ALDEN MULLENS             224 TOWSON DR NW                                                                              WARREN             OH     44483‐1747
ALDEN OLAUGHLIN           747 HIGHWAY W                                                                                 FORISTELL          MO     63348‐1112
ALDEN PAGE                41980 N COYOTE RD                                                                             QUEEN CREEK        AZ     85240‐9851
ALDEN PHARMACY            13203 BROADWAY ST                                                                             ALDEN              NY     14004‐1312
ALDEN PORTER JR           2611 WINDING WAY                                                                              VALDOSTA           GA     31602‐1238
ALDEN POTTER              355 OLIVE ST                                                                                  HANOVER            WI     53542
ALDEN RISNER              7057 S CLINTON TRL                                                                            EATON RAPIDS       MI     48827‐9580
ALDEN ROGGOW              13555 SWAN CREEK RD RT 1                                                                      HEMLOCK            MI     48626
ALDEN SELFRIDGE           817 ALGER AVE                                                                                 OWOSSO             MI     48867‐4605
ALDEN STEWART             12978 HIDDEN VALLY RR                                                                         DESOTO             MO     63020
ALDEN TABOR               1057 SAINT LOUIS AVE                                                                          EXCELSIOR SPG      MO     64024‐2591
ALDEN THOMAS              1115 S 75TH ST                                                                                KANSAS CITY        KS     66111‐3283
ALDEN, BARBARA A          1516 BLAIRMOOR CT                                                                             GROSSE POINTE      MI     48236‐1006
                                                                                                                        WOODS
ALDEN, CAROL A            4101 S SHERIDAN RD LOT 66                                                                     LENNON            MI      48449‐9413
ALDEN, CHARLES H          1244 S LACEY LAKE RD                                                                          CHARLOTTE         MI      48813‐9556
ALDEN, CHRISTOPHER GLEN   4373 CARMANWOOD DR                                                                            FLINT             MI      48507‐5604
ALDEN, DAN L              1502 YORKSHIRE DR APT 10                                                                      HOWELL            MI      48843‐1048
ALDEN, DENISE M           752 WALNUT ST                                                                                 CHARLOTTE         MI      48813‐1738
ALDEN, DENNIS L           16062 ASPEN HOLW                                                                              FENTON            MI      48430‐9138
ALDEN, DENNIS LEE         1125 PETTIBONE AVE                                                                            FLINT             MI      48507
ALDEN, DOUGLAS S          7524 THRUSH AVE                                                                               FORT WAYNE        IN      46816‐3337
ALDEN, FURMAN L           2455 NORTHWEST BLVD NW                                                                        WARREN            OH      44485‐2310
ALDEN, GALE M             6459 BRANCH HILL MIAMIVILLE RD                                                                LOVELAND          OH      45140‐7515
ALDEN, GARY L             PO BOX 357                                                                                    PRESCOTT          MI      48756‐0357
ALDEN, GLEN L             232 GRANT ST                                                                                  GRAND BLANC       MI      48439‐1122
ALDEN, JAMES N            3953 SANFORD RD                                                                               ROOTSTOWN         OH      44272‐9789
ALDEN, JAMES R            2542 W KINSEL HWY                                                                             CHARLOTTE         MI      48813‐8823
ALDEN, JEFFREY M          8265 S HURON RIVER DR                                                                         YPSILANTI         MI      48197‐8267
ALDEN, JOHN L             PO BOX 551                                                                                    CICERO            IN      46034‐0551
ALDEN, JOHN W             11085 BALDWIN RD                                                                              CHESANING         MI      48616‐9415
ALDEN, KENNETH E          14 COX ST                                                                                     HUDSON            MA      01749‐1412
ALDEN, LAWRENCE R         1500 N FAIRVIEW AVE                                                                           LANSING           MI      48912‐3307
ALDEN, LOUISE A.          10660 W HOWE RD                                                                               EAGLE             MI      48822‐9500
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Name                           Address1                        Address2                      Address3   Address4               City            State   Zip
ALDEN, PATRICIA J              3 IRIS PL                                                                                       NEWARK           DE     19702‐4447
ALDEN, WILLIAM M               3 IRIS PLACE,SPRINGMILLS                                                                        NEWARK           DE     19702
ALDENA BENDER                  713 SNAPP ST                                                                                    MARTINSBURG      WV     25401‐1824
ALDENA HATTEN                  193 CARTER DEE RD                                                                               TAYLORSVILLE     MS     39168‐4210
ALDENA PELLOW                  201 CARDINAL RD                                                                                 LITITZ           PA     17543‐1303
ALDENDERFER, MABEL             1703 MARROSE DR                                                                                 LANCASTER        OH     43130‐1551
ALDENDORF, MARY                2750 S BERWICK AVE                                                                              INDIANAPOLIS     IN     46241‐5303
ALDENDORF, TIMOTHY G           744 SHEFFIELD DR                                                                                GREENWOOD        IN     46143‐3137
ALDENE BROWN                   23511 CLOVERLAWN ST                                                                             OAK PARK         MI     48237‐2463
ALDENE MUHLSTADT               11351 AARON DR                                                                                  PARMA            OH     44130‐1264
ALDENETTE WRIGHT               13203 BIG RIVER DR                                                                              LAKE ST LOUIS    MO     63367‐1983
ALDER TOM                      ALDER, TOM                      1400 COLEMAN AVE STE F21                                        SANTA CLARA      CA     95050‐4359
ALDER, BRIAN E                 617 10TH ST                                                                                     CHESTERFIELD     IN     46017‐1505
ALDER, BRIAN EUGENE            617 10TH ST                                                                                     CHESTERFIELD     IN     46017‐1505
ALDER, CHRISTINE C             2882 GULF TO BAY BLVD LOT 119                                                                   CLEARWATER       FL     33759‐4044
ALDER, ELIZABETH M             13153 WARNER RD                                                                                 PERRY            MI     48872‐9134
ALDER, ERIN E                  544 ATWATER ST                                                                                  LAKE ORION       MI     48362‐3305
ALDER, JAMES F                 1543 N OGEMAW TRL                                                                               WEST BRANCH      MI     48661‐9713
ALDER, KIM                     903 W MONTCALM ST                                                                               GREENVILLE       MI     48838‐1547
ALDER, MARJORIE A              6245 TREASURE VALLEY LOOP       LOT #126                                                        LAKE WALES       FL     33898‐4925
ALDER, TIMOTHY P               391 NORTH RD                                                                                    FENTON           MI     48430‐1892
ALDER, VINCENT L               113 SHERRY LN                                                                                   LEWISBURG        OH     45338‐9789
ALDERDYCE, JEFF L              3362 BALTOUR DR                                                                                 DAVISON          MI     48423‐8578
ALDERETE, LUCY
ALDERFER, ANDREW A             3855 BLAIR MILL RD APT 202K                                                                     HORSHAM          PA     19044‐2932
ALDERINK, CHRIS J              6810 JORDAN LAKE RD                                                                             SARANAC          MI     48881‐9780
ALDERINK, THOMAS J             141 BROAD ST                                                                                    CLARKSVILLE      MI     48815‐9650
ALDERMAN DARREL (661520)       SIMMONS FIRM                    PO BOX 521                                                      EAST ALTON       IL     62024‐0519
ALDERMAN JERRY J SR (428394)   GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                     NORFOLK          VA     23510
                                                               STREET, SUITE 600
ALDERMAN JR, ROBERT B          4411 ANN ST                                                                                     PIGEON           MI     48755‐9680
ALDERMAN KARL D (438776)       GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                     NORFOLK          VA     23510
                                                               STREET, SUITE 600
ALDERMAN WILLIAM JR            3122 W CREEK RD                                                                                 CREWE           VA      23930‐2720
ALDERMAN'S CHEVROLET, INC.     PHILIP ALDERMAN                 65 WINDCREST                                                    RUTLAND         VT      05701‐4731
ALDERMAN'S CHEVROLET, INC.     65 WINDCREST                                                                                    RUTLAND         VT      05701‐4731
ALDERMAN, AARON B              101 SEAMAN ST                                                                                   NEW BRUNSWICK   NJ      08901‐2722
ALDERMAN, ALBERT E             60 OAK LN                                                                                       WENTZVILLE      MO      63385‐6321
ALDERMAN, CHARLES A            4482 WESTPOINT ST                                                                               DEARBORN HTS    MI      48125‐2129
ALDERMAN, CHARLES R            PO BOX 507                                                                                      JANESVILLE      WI      53547‐0507
ALDERMAN, DANIEL S             7210 TOM CRESSWELL RD                                                                           SAGINAW         MI      48601‐9740
ALDERMAN, DARREL               SIMMONS FIRM                    PO BOX 521                                                      EAST ALTON      IL      62024‐0519
ALDERMAN, DARREL R             707 NANTUCKET DR                                                                                JANESVILLE      WI      53546‐3302
ALDERMAN, DARRELD J            1300 N VISTA DR                                                                                 INDEPENDENCE    MO      64056‐1154
ALDERMAN, DEANNA R             2177 THISTLEWOOD DR                                                                             BURTON          MI      48509‐1243
ALDERMAN, DERON R              4420 UTICA RD                                                                                   LEBANON         OH      45036
ALDERMAN, DIANE M              2031 N LAKE PLEASANT RD                                                                         ATTICA          MI      48412‐9368
ALDERMAN, DONNA                12305 MACCORKLE AVE                                                                             CHESAPEAKE      WV      25315‐1228
ALDERMAN, E. J                 157 HERITAGE HILL PLACE                                                                         RUTLAND         VT      05701‐8811
ALDERMAN, GARY E               610 PERKINSWOOD BLVD SE                                                                         WARREN          OH      44483‐6226
ALDERMAN, GARY EUGENE          610 PERKINSWOOD BLVD SE                                                                         WARREN          OH      44483‐6226
ALDERMAN, GEORGE E             2806 W SUNSET DR                                                                                ROGERS          AR      72756‐2089
ALDERMAN, JAMES A              3895 KING GRAVES RD                                                                             VIENNA          OH      44473‐9707
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Name                                   Address1                       Address2                      Address3                      Address4                City           State Zip
ALDERMAN, JERRY J                      GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                                         NORFOLK         VA 23510‐2212
                                                                      STREET, SUITE 600
ALDERMAN, KARL D                       GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                                         NORFOLK        VA    23510‐2212
                                                                      STREET, SUITE 600
ALDERMAN, KATHLEEN A                   30023 MERRICK AVE                                                                                                  WARREN         MI    48092‐1804
ALDERMAN, KEITH C                      230 MAIN ST                                                                                                        UNIONVILLE     CT    06085‐1148
ALDERMAN, KENNETH M                    3651 W 48TH ST                                                                                                     CLEVELAND      OH    44102‐6037
ALDERMAN, LEONARD R                    18 MILFORD ST                                                                                                      BURLINGTON     CT    06013‐1715
ALDERMAN, MARCELLA J                   2618 155TH LN                                                                                                      BASEHOR        KS    66007‐9247
ALDERMAN, MARCELLA J                   2618 NO 155TH LANE                                                                                                 BASEHOR        KS    66007
ALDERMAN, MARJORIE                     400 CHINKAPIN TRL                                                                                                  LAPEER         MI    48446‐4176
ALDERMAN, NANCY                        60 OAK LANE                                                                                                        WENTZVILLE     MO    63385‐6321
ALDERMAN, NANCY                        60 OAK LN                                                                                                          WENTZVILLE     MO    63385‐6321
ALDERMAN, NORMA JEAN                   3125 NEWPORT HWY                                                                                                   GREENEVILLE    TN    37743‐3480
ALDERMAN, PATRICIA A                   3864 SUTHERLAND RD                                                                                                 PENN YAN       NY    14527‐9521
ALDERMAN, PATRICIA S                   3127 WEST 101 ST                                                                                                   CLEVELAND      OH    44111‐1837
ALDERMAN, PATRICIA S                   3127 W 101ST ST                                                                                                    CLEVELAND      OH    44111‐1837
ALDERMAN, PERRY F                      5201 W CAMELBACK RD APT E1                                                                                         PHOENIX        AZ    85031
ALDERMAN, RICHARD                      654 HANCOCK RD                                                                                                     WENTZVILLE     MO    63385‐3103
ALDERMAN, STEVEN L                     21152 N VANCEY DR                                                                                                  BROOK PARK     OH    44142‐1217
ALDERMAN, TINA R                       104 BEACH AVE#2                                                                                                    EDGERTON       WI    53534
ALDERMAN, TRUMAN E                     230 MAIN ST                                                                                                        UNIONVILLE     CT    06085‐1148
ALDERSHOF DAVID (417177)               SCHULTE J BRYAN                PO BOX 517                                                                          BURLINGTON     IA    52601‐0517
ALDERSHOF DAVID (417177) ‐ GIESELMAN   SCHULTE J BRYAN                PO BOX 517                                                                          BURLINGTON     IA    52601‐0517
STANLEY D
ALDERSHOF DAVID (417177) ‐ HOIT        SCHULTE J BRYAN                PO BOX 517                                                                          BURLINGTON      IA   52601‐0517
WARREN
ALDERSHOF DAVID (417177) ‐ STEPHENS    SCHULTE J BRYAN                PO BOX 517                                                                          BURLINGTON      IA   52601‐0517
EUGENE
ALDERSHOF DAVID (417177) ‐ TITUS       SCHULTE J BRYAN                PO BOX 517                                                                          BURLINGTON      IA   52601‐0517
LAWRENCE
ALDERSHOF, DAVID                       SCHULTE J BRYAN                PO BOX 517                                                                          BURLINGTON      IA   52601‐0517
ALDERSHOT IGNITION                     659 ENFIELD RD.                                                                            BURLINGTON ON L7T 2X9
                                                                                                                                  CANADA
ALDERSON APRIL                         ALDERSON, APRIL                ERIE INSURANCE                18544BREEZEHILL DR P.O. BOX                           HAGERSTOWN     MD    21741‐4158
                                                                                                    4158
ALDERSON ENTERPRISES, LP               DAVID ALDERSON                 1210 19TH ST                                                                        LUBBOCK        TX    79401‐5030
ALDERSON ENTERPRISES, LP               1210 19TH ST                                                                                                       LUBBOCK        TX    79401‐5030
ALDERSON JENNIFER                      ALDERSON, DARRELL              PO BOX 388                                                                          LEWISBURG      WV    24901‐0388
ALDERSON JENNIFER                      ALDERSON, JENNIFER             PO BOX 388                                                                          LEWISBURG      WV    24901‐0388
ALDERSON JOHN M                        4214 E MILWAUKEE ST                                                                                                JANESVILLE     WI    53546‐1796
ALDERSON MARION C SR (350984)          GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                                         NORFOLK        VA    23510
                                                                      STREET, SUITE 600
ALDERSON REPORTING CO INC              1155 CONNECTICUT AVE NW        STE200                                                                              WASHINGTON     DC    20036
ALDERSON SHIRLEY E (349842)            GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                                         NORFOLK        VA    23510
                                                                      STREET, SUITE 600
ALDERSON, ANNA M                       2624 LULLABY LN                                                                                                    ANAHEIM        CA    92804‐5129
ALDERSON, ANNA M                       2624 W LULLABY LN                                                                                                  ANAHEIM        CA    92804‐5129
ALDERSON, ANNETTE L                    4401 W FOX RIDGE AVE                                                                                               GREENWOOD      IN    46143‐8742
ALDERSON, APRIL
ALDERSON, APRIL                        ERIE INSURANCE                 PO BOX 4158                                                                         HAGERSTOWN     MD    21741‐4158
ALDERSON, AVERY L                      1702 MASON BLVD                                                                                                    MARION         IN    46953‐1507
ALDERSON, BETTY J                      5516 NORTH WATERMAN DRIVE                                                                                          MILTON         WI    53563‐8458
ALDERSON, BETTYE J                     PO BOX 6776                                                                                                        DOUGLASVILLE   GA    30154‐0030
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Name                        Address1                          Address2                      Address3   Address4                   City            State   Zip
ALDERSON, BRADLEY R         1418 EAGLE VALLEY DR                                                                                  GREENWOOD        IN     46143‐9689
ALDERSON, DANNY F           1233 LAKE PARKE DR                                                                                    SAINT JOHNS      FL     32259
ALDERSON, DARRELL           BRUCE BARRY L & ASSOCIATES LC     PO BOX 388                                                          LEWISBURG        WV     24901‐0388
ALDERSON, DONNA M           1400 SHELTON RD                                                                                       MARTINSVILLE     IN     46151‐7590
ALDERSON, ETHEL R           PO BOX 12                         506 WOOD AVENUE                                                     FROSTPROOF       FL     33843‐0012
ALDERSON, GRACE E           13928 ASHWORTH ST                 C/O NANCY ROSENBERG                                                 CERRITOS         CA     90703‐9009
ALDERSON, JACK H            1210 CARDINAL OAKS DR                                                                                 MANSFIELD        TX     76063‐6230
ALDERSON, JACQUELINE K.     PO BOX 253                                                                                            STOUGHTON        WI     53589‐0253
ALDERSON, JANICE F          163 BLUE BEARD DRIVE                                                                                  N FT MYERS       FL     33917‐2912
ALDERSON, JENNIFER          BRUCE BARRY L & ASSOCIATES LC     PO BOX 388                                                          LEWISBURG        WV     24901‐0388
ALDERSON, JENNIFER          HC 75 BOX 68A                                                                                         WOLFCREEK        WV     24993‐9102
ALDERSON, JOEY R            10218 HEATHER HILLS RD R                                                                              INDIANAPOLIS     IN     46229
ALDERSON, JOHN M            4214 E MILWAUKEE ST                                                                                   JANESVILLE       WI     53546‐1796
ALDERSON, JOYCE             2101 MIRAMONT CIRCLE                                                                                  VALRICO          FL     33594
ALDERSON, KATHLEEN          50617 MOUND RD                    APT D6                                                              SHELBY TWP       MI     48317‐8317
ALDERSON, KATHLEEN          50617 MOUND RD                    APT 6                                                               UTICA            MI     48317‐1329
ALDERSON, KENITH O          847 PLYMOUTH DR                                                                                       JONESBORO        GA     30236
ALDERSON, KENNETH R         PO BOX 134                                                                                            CLAYTON          IN     46118‐0134
ALDERSON, KIRK W            16105 KNOBHILL DR                                                                                     LINDEN           MI     48451‐8786
ALDERSON, LISA M            3729 PINTAIL DR                                                                                       JANESVILLE       WI     53546‐1173
ALDERSON, MARION C          GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                         NORFOLK          VA     23510‐2212
                                                              STREET, SUITE 600
ALDERSON, MARK A            6088 WILLARD RD                                                                                       MILLINGTON      MI      48746‐9206
ALDERSON, MARY L            8705 BLOOMING GROVE DR                                                                                CAMBY           IN      46113‐8212
ALDERSON, MARY R            2009 STONEY BROOK CT                                                                                  FLINT           MI      48507‐2238
ALDERSON, RANDY J           212 MAPLEWOOD DR                                                                                      CLARKSTON       MI      48348‐1482
ALDERSON, RICK R            GUY WILLIAM S                     PO BOX 509                                                          MCCOMB          MS      39649‐0509
ALDERSON, ROBERT R          905 40TH AVENUE                                                                                       SANTA CRUZ      CA      95062‐4458
ALDERSON, RUTH C            125 MAYFLOWER CIRCLE                                                                                  CARTERSVILLE    GA      30120
ALDERSON, SANDRA K          11440 HENDERSON RD                                                                                    OTISVILLE       MI      48463‐9727
ALDERSON, SHIRLEY E         GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                         NORFOLK         VA      23510‐2212
                                                              STREET, SUITE 600
ALDERSON, SUZANNE M         1014 SUNRISE DR                                                                                       SANTA MARIA     CA      93455‐2134
ALDERSON, WILLIAM M         1400 SHELTON RD                                                                                       MARTINSVILLE    IN      46151‐7590
ALDERSON‐BROADDUS COLLEGE   ATTN BUSINESS OFFICE              COLLEGE HILL                                                        PHILIPPI        WV      26416
ALDERSON‐OLSON, DEBRA A     12733 CHANCEL CT                                                                                      FORT WAYNE      IN      46845‐2357
ALDERTON SR, JAMES          32 TULANE ST                                                                                          PUEBLO          CO      81005‐2020
ALDERTON, JAMES A           4 VALLEY CIR                                                                                          GREEN VALLEY    MO      64029‐9316
ALDERTON, JAMES A           4 NW VALLEY CIRCLE ST                                                                                 GRAIN VALLEY    MO      64029‐9316
ALDERTON, JESSICA I         16620 ROUGEWAY ST                                                                                     LIVONIA         MI      48154‐3446
ALDERTON, JOE A             200 PHEASANT RD                                                                                       HARRISONVILLE   MO      64701‐3922
ALDERTON, KENNETH L         APT 212                           835 NORTH SCHEURMANN ROAD                                           ESSEXVILLE      MI      48732‐2209
ALDERTON, KRISTINE A        2766 FISHERMANS DR                                                                                    HIGHLAND        MI      48356‐1920
ALDERTON, MARK A            50 WESTSIDE SAGINAW RD                                                                                BAY CITY        MI      48706‐3450
ALDERTON, MARK ALLEN        50 WESTSIDE SAGINAW RD                                                                                BAY CITY        MI      48706‐3450
ALDERTON, RICHARD L         PO BOX 164                                                                                            LINWOOD         MI      48634‐0164
ALDERWOOD MOTORS INC        RYAN SWANSON & CLEVELAND PLLC /   1201 3RD AVE STE 3400                                               SEATTLE         WA      98101
                            KINDINGER JERY
ALDERWOODS GROUP            4333 STILL CREEK DRIVE                                                     BURNABY BC V5C6S6 CANADA

ALDI                        1054 N CENTER RD                                                                                      BURTON           MI     48509‐1425
ALDIGHIERI, ELLEN M         20785 ISLAND LAKE RD                                                                                  CHELSEA          MI     48118‐9584
ALDIGHIERI, JOHN C          20785 ISLAND LAKE RD                                                                                  CHELSEA          MI     48118‐9584
ALDIKACTI, HULKI            1253 BEACHLAND BLVD                                                                                   WATERFORD        MI     48328‐4730
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Name                                 Address1                             Address2                      Address3           Address4                   City               State   Zip
ALDIN CHRISTIANSON                   6219 S US HIGHWAY 51 LOT 249                                                                                     JANESVILLE          WI     53546‐8709
ALDINE AUTOMOTIVE INC.               10105 AIRLINE DR                                                                                                 HOUSTON             TX     77037‐1405
ALDINE CORNETT                       301 BERKLEY RD                                                                                                   INDIANAPOLIS        IN     46208‐3705
ALDINE DERR                          300 PLUMMER ST                                                                                                   ESSEXVILLE          MI     48732‐1136
ALDINE INDEPENDENT SCHOOL DISTRICT                                        1617 LAUDER RD                                                              HOUSTON             TX     77039

ALDINE INDEPENDENT SCHOOL DISTRICT   ATT: ANNETTEE RAMIREZ                14910 ALDINE‐WESTFIELD ROAD                                                 HOUSTON             TX     77032

ALDINGER JR, JOHN G                  1720 NORTH CT                                                                                                    EUSTIS             FL      32726‐7934
ALDINGER WALBRIDGE                   777 WOODWARD AVE                     FL 3                                                                        DETROIT            MI      48226‐2521
ALDINGER, LEROY A                    PO BOX 2001                          PENICK VILLAGE 10‐B                                                         SOUTHERN PINES     NC      28388‐2001
ALDINGER, LILLIAN H                  305 N 27TH ST                                                                                                    CAMP HILL          PA      17011‐3629
ALDIS STEDRY                         4660 W SAGINAW RD                                                                                                VASSAR             MI      48768‐9510
ALDIS, JAMES A                       167 MIDDLEBORO CIR                                                                                               FRANKLIN           TN      37064‐4932
ALDKJ ADL;KJ                         AL;DKJA                                                                                                          BUFFALO            NY      14052
ALDKJF ADL;KJA;                      ADL;KJFA                                                                                                         A;DLJK             OH      00000
ALDO                                 4800 MEXICO RD STE 101                                                                                           SAINT PETERS       MO      63376‐1666
ALDO PAOLO MEUCCI                    VIA TURATI 29
ALDO & ELIZABETH SACCO               110 GINGER LANE                                                                                                  MILFORD            DE      19963‐4891
ALDO BURATTI AND LENA BURATTI        442 SERRANO AVE                                                                                                  PITTSBURGH         PA      15243‐2054
ALDO CANZONA                         4569 MCFARLAND RD                                                                                                SOUTH EUCLID       OH      44121‐3409
ALDO CHECCOBELLI                     28661 BAYBERRY CT E                                                                                              LIVONIA            MI      48154‐3869
ALDO CONSOLE                         C/O RICHARDSON, PATRICK, WESTBROOK   1730 JACKSON ST               PO BOX 1368                                   BARNWELL           SC      29812
                                     & BRICKMAN LLC
ALDO COOPER                          1015 COUNTY ROAD 713                                                                                             BELLE              MO      65013‐3300
ALDO GARGANO                         PO BOX 682                                                                                                       NOLENSVILLE        TN      37135‐0682
ALDO GARINO                          50 VILLA CT                                                                                                      GRANITE CITY       IL      62040‐5112
ALDO J MINA                          2161 N MERIDIAN ST                   APT 2                                                                       INDIANAPOLIS       IN      46202‐1359
ALDO L MILLER                        5817 STATE RTE 123                                                                                               FRANKLIN           OH      45005‐4631
ALDO MAISETTI                        LILIANA RIVAS                                                      VIA CABRIGNOLI 3   ROTA D'IMAGNA (BG) 24037

ALDO MAISETTI                        VIA CABRIGNOLI 3                                                                                                 ROTA D'IMAGNA              24100
                                                                                                                                                      (BG)
ALDO MAISETTI                        VIA CABRIGNOLI 3                     ROTA D'IMAGNA (BG)
ALDO MARELLA                         70 KIMBERLY ANNE DR                                                                                              ROCHESTER          NY      14606‐3408
ALDO MICAI                           6 LAWRENCIA DR                                                                                                   LAWRENCEVILLE      NJ      08648‐1533
ALDO MILLER                          5817 STATE ROUTE 123                                                                                             FRANKLIN           OH      45005‐4631
ALDO MINA                            2161 N MERIDIAN ST APT 2                                                                                         INDIANAPOLIS       IN      46202‐1359
ALDO MOFFI                           112 WEST ST                                                                                                      MILFORD            MA      01757‐3016
ALDO MORETTI                         PO BOX 114                                                                                                       DEARBORN HEIGHTS   MI      48127‐0114

ALDO MORO                            721 GLIDE STREET                                                                                                 ROCHESTER           NY     14606‐2001
ALDO NAVA                            VIA LAMBRO 2                                                                                                     MILANO                     20122
ALDO PELLICCIARO                     812 MURRAY ST                        APT 2S                                                                      ELIZABETH          NJ      07202
ALDO PORCO                           12440 WOOD RD                                                                                                    DEWITT             MI      48820‐9341
ALDO SERAFINI                        3945 CLIME RD                                                                                                    COLUMBUS           OH      43228‐3533
ALDOCIA BRITTEN                      1266 E KURTZ AVE                                                                                                 FLINT              MI      48505‐1765
ALDON ADCOX                          4770 N HIGHWAY 61                                                                                                PERRYVILLE         MO      63775‐8438
ALDON BERRY                          2231 JOANN DR                                                                                                    SPRING HILL        TN      37174‐9275
ALDON ENTERPRISES INC                BOB WOLFBAUER                        24358 GROESBECK                                                             ROMEO              MI
ALDON ENTERPRISES INC                FRANK GALLEGER                       18401 MALYN                                                                 TIFFIN             OH      44883
ALDON ENTERPRISES INC                FRANK GALLEGER                       18401 MALYN BLVD                                                            FRASER             MI      48026‐1628
ALDON HARRIS                         5463 HAMMOND RD                                                                                                  LAPEER             MI      48446‐2756
ALDON SAYLES                         13406 EVERGREEN LN                                                                                               BRUCE TWP          MI      48065‐3363
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Name                        Address1                         Address2                         Address3   Address4               City              State Zip
ALDON SKINNER               22 JOSLYN PL                                                                                        BUFFALO            NY 14207‐2604
ALDONA BILIUNAS             1874 SEDER LN                                                                                       WEST PALM BEACH    FL 33408‐3005

ALDONA HORODECKI            9201 137TH ST                                                                                       ORLAND PARK       IL   60462‐1368
ALDONA JONIKAS              16027 W 151ST ST                                                                                    HOMER GLEN        IL   60491‐9101
ALDONA KISH                 12220 RAWSONVILLE RD                                                                                BELLEVILLE        MI   48111‐9223
ALDONA MARUSZKO             1219 S IRENA AVE                                                                                    REDONDO BEACH     CA   90277‐5133
ALDONA TRIKENSKY            7733 W GRAND AVE                 ELMWOOD CARE                                                       ELMWOOD PARK      IL   60707‐1820
ALDONIA MC KAY              20108 GILCHRIST ST                                                                                  DETROIT           MI   48235‐2437
ALDOR BOUCHER               3949 SE 56TH TER                                                                                    OCALA             FL   34480‐7493
ALDORFER, DAVID M           876 NORTHGATE RD                                                                                    ROCHESTER         MI   48306‐2514
ALDORIA BOATMAN             4844 N 90TH ST                                                                                      MILWAUKEE         WI   53225‐4110
ALDORISIO, ANNA             36 CIDER MILL CROSSING                                                                              TORRINGTON        CT   06790
ALDORISIO, ANNA             36 CIDER MILL XING                                                                                  TORRINGTON        CT   06790‐7222
ALDOT GUNTERSVILLE AL                                        23445 US HIGHWAY 431                                               GUNTERSVILLE      AL   35976
ALDOUS, ANNABELLE           12 CHESTNUT CT                                                                                      ZIONSVILLE        IN   46077‐1935
ALDOUS, TODD E              901 COUNTY ROUTE 39                                                                                 CHASE MILLS       NY   13621‐3141
ALDOY, JOHN R               3459 ABALONE BLVD                                                                                   ORLANDO           FL   32833‐4229
ALDRED B MARTINEZ           770 OSWEGO AVE                                                                                      YPSILANTI         MI   48198‐6114
ALDRED SHEPARD              10133 ROMAINE ST                                                                                    ROMULUS           MI   48174‐3982
ALDRED VANDEWARKER          4241 LEIX RD                                                                                        MAYVILLE          MI   48744‐9432
ALDRED, ADA                 2702 BRANDON ST                                                                                     FLINT             MI   48503‐3449
ALDRED, BETTY F             1949 E CHAPEL DR                                                                                    DELTONA           FL   32738‐3806
ALDRED, JOEL H              125 COLLAMER RD                                                                                     HILTON            NY   14468‐9102
ALDRED, LORRAINE M          48 RANDOLPH RD                                                                                      PLAINFIELD        NJ   07060‐2952
ALDRED, PHILLIP D           3508 MALACHITE DR                                                                                   ZEPHYRHILLS       FL   33540‐7422
ALDRED, ROBERT R            2603 GLENVIEW AVE                                                                                   ROYAL OAK         MI   48073‐3116
ALDRED, ROSA LEE            125 INDIANA STREET                                                                                  TAMMS             IL   62988‐3357
ALDRED, ROSA LEE            82 FRONT ST                                                                                         TAMMS             IL   62988‐9809
ALDRED, STEPHEN V           PO BOX 3012                                                                                         ANDERSON          IN   46018‐3012
ALDRED, WILLIAM A           2702 BRANDON ST                                                                                     FLINT             MI   48503‐3449
ALDRED, WILLIAM E           2702 BRANDON ST                                                                                     FLINT             MI   48503‐3449
ALDREN, JANET E             405 MARSEILLES AVE                                                                                  ELYRIA            OH   44035‐4045
ALDRENE STAUDE              2117 S PALM ST                                                                                      JANESVILLE        WI   53546‐6116
ALDRETE, MANUEL             10301 N FISK AVE                                                                                    KANSAS CITY       MO   64154‐1725
ALDRETE, MARTHA             671 HARDING AVE                                                                                     LOS ANGELES       CA   90022‐3503
ALDREW SCOTT JR             39 BELLA VISTA LN                                                                                   CAMDENTON         MO   65020‐5939
ALDRICH CYNTHIA             788 MEDINA AVE                                                                                      SAINT AUGUSTINE   FL   32086‐7621
ALDRICH GAINES JR           1627 SWEDESBORO AVE                                                                                 PAULSBORO         NJ   08066‐1513
ALDRICH HOLLY               ALDRICH, HOLLY                   640 S SAN VICENTE BLVD STE 230                                     LOS ANGELES       CA   90048‐4654
ALDRICH JR, ALLEN L         809 NORTHBROOK ST                                                                                   MASON             MI   48854‐2008
ALDRICH JR, HERBERT E       15160 FISH LAKE RD                                                                                  HOLLY             MI   48442‐8365
ALDRICH LESLEY R (471983)   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                        NORFOLK           VA   23510
                                                             STREET, SUITE 600
ALDRICH VERMOCH             2822 COOPER CT                                                                                      WOODRIDGE         IL   60517‐1948
ALDRICH, ALIETTA            5342 W DARBEE RD                                                                                    FAIRGROVE         MI   48733‐9799
ALDRICH, AMBER ROSELOUISE
ALDRICH, ARTHUR L           8475 HATT RD                                                                                        LINDEN            MI   48451‐9726
ALDRICH, BARBARA            131 N. TILDEN                                                                                       WATERFORD         MI   48328‐3773
ALDRICH, BARBARA            131 N TILDEN AVE                                                                                    WATERFORD         MI   48328‐3773
ALDRICH, BRUCE E            1715 LAKEWAY AVE                                                                                    KALAMAZOO         MI   49001‐5194
ALDRICH, CALVIN C           PO BOX 289185                                                                                       CHICAGO           IL   60628‐9185
ALDRICH, CAROL              8427 MORGAN LN                                                                                      EDEN PRAIRIE      MN   55347
ALDRICH, CAROLYN A          7970 CHERRY HILL N.E.                                                                               WARREN            OH   44484‐1557
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Name                     Address1                             Address2                      Address3   Address4               City              State   Zip
ALDRICH, CHARLENE J      1410 E VAN BUREN ST                                                                                  JANESVILLE         WI     53545‐4257
ALDRICH, CHRISTOPHER D   2320 COTTONWOOD DR                                                                                   JANESVILLE         WI     53545‐0638
ALDRICH, DALE W          3218 SALISHAN CIR                                                                                    FLINT              MI     48506‐2657
ALDRICH, DANIEL P        2191 AVONDALE ST                                                                                     SYLVAN LAKE        MI     48320‐1711
ALDRICH, DAWN M          5111 WESTHILL DR                                                                                     LANSING            MI     48917‐4442
ALDRICH, DEBRA S         4 QUEEN VICTORIA PL                                                                                  BILLINGS           MT     59105‐3109
ALDRICH, DOUGLAS D       8495 N WOODBRIDGE RD                                                                                 WHEELER            MI     48662‐9630
ALDRICH, EDA A           511 LAKE HAVASU LN                                                                                   BOULDER CITY       NV     89005‐1051
ALDRICH, ETHEL M         PO BOX 40                            302 FULTON STREET                                               SAINT CHARLES      MI     48655‐0040
ALDRICH, ETHEL M         P.O. BOX 40                          302 FULTON STREET                                               ST. CHARLES        MI     48655
ALDRICH, FLORENCE E      9264 HIGHWAY 53                                                                                      ARDMORE            AL     35739‐9117
ALDRICH, FRED E          16027 MORAN DR                                                                                       LINDEN             MI     48451‐8715
ALDRICH, FRED L          BOX 405                                                                                              LINDEN             MI     48451‐8451
ALDRICH, FRED L          PO BOX 405                                                                                           LINDEN             MI     48451‐0405
ALDRICH, FREDRIC C       2772 PFEIFFER WOODS DR SE APT 3202                                                                   GRAND RAPIDS       MI     49512‐9185
ALDRICH, GARY E          6530 BRENT 3                                                                                         SYLVANIA           OH     43560
ALDRICH, GARY E          APT 3                                6530 BRINT ROAD                                                 SYLVANIA           OH     43560‐2101
ALDRICH, GARY EARL       APT 3                                6530 BRINT ROAD                                                 SYLVANIA           OH     43560‐2101
ALDRICH, GARY L          1691 S M18                                                                                           GLADWIN            MI     48624
ALDRICH, GEORGE L        APT 201                              4622 PENN AVENUE                                                DAYTON             OH     45432‐1560
ALDRICH, GEORGE L        3969 RAYMOND DR                                                                                      ENON               OH     45323‐1424
ALDRICH, GREGG L         2090 ROCK SPRINGS RD                                                                                 COLUMBIA           TN     38401‐7421
ALDRICH, HELEN S         13707 DALLAS DR APT 340                                                                              HUDSON             FL     34667‐4667
ALDRICH, J C             10457 LESLIE DR                                                                                      RALEIGH            NC     27615‐1245
ALDRICH, JACK J          37668 GILWORTH AVE                                                                                   PALMDALE           CA     93550‐6986
ALDRICH, JAMES E         45 MIDDLESEX RD                                                                                      DEPEW              NY     14043‐1625
ALDRICH, JERRY A         618 N MAIN                                                                                           PERRY              MI     48872‐9704
ALDRICH, JERRY B         12400 UPTON RD                                                                                       BATH               MI     48808‐9487
ALDRICH, JESSICA R       410 N IN'S LANE                                                                                      LAINGSBURG         MI     48848
ALDRICH, JESSICA W.      715 S HOLLAND SYLVANIA RD LOT 56                                                                     TOLEDO             OH     43615‐6368
ALDRICH, JIMMIE E        5122 WESTHILL DR                                                                                     LANSING            MI     48917‐4441
ALDRICH, JOANNE V        5472 CHATHAM LN                                                                                      GRAND BLANC        MI     48439‐9801
ALDRICH, JOHN F          3014 TANSY TRL SW                                                                                    WYOMING            MI     49418‐9113
ALDRICH, JOHN R          11560 SHAFTSBURG RD                                                                                  LAINGSBURG         MI     48848‐9732
ALDRICH, JOHN W          2300 PARKVIEW LN                                                                                     ELWOOD             IN     46036‐1378
ALDRICH, KATHERINE
ALDRICH, KATHY K         12400 UPTON RD                                                                                       BATH               MI     48808
ALDRICH, KENNETH B       2332 W ROOSEVELT RD                                                                                  PERRINTON          MI     48871
ALDRICH, KRISTOPHER D    410 N IRIS LN                                                                                        LAINGSBURG         MI     48848‐8200
ALDRICH, LAURENCE E      4445 WIXOM DR                                                                                        BEAVERTON          MI     48612‐8766
ALDRICH, LAVERTIA A      4283 MOONLIGHT DR                                                                                    HOLLY              MI     48442‐1123
ALDRICH, LESLEY R        GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                     NORFOLK            VA     23510‐2212
                                                              STREET, SUITE 600
ALDRICH, LLOYD G         2848 COUNTY ROAD 461                                                                                 KINSTON           AL      36453‐4670
ALDRICH, LORENE F        3975 BRUFF RD                                                                                        BYRON             MI      48418‐9645
ALDRICH, LOUIS T         2934 COSTA MESA CT                                                                                   WATERFORD         MI      48329‐2425
ALDRICH, LOWELL D        4 GARDEN CT                                                                                          CLARKSTON         MI      48346‐1419
ALDRICH, LOWELL D        4 GARDEN COURT                                                                                       CLARKSTON         MI      48346‐1419
ALDRICH, MAE I           2020 BEEKMAN CT                                                                                      FLINT             MI      48532‐2417
ALDRICH, MARIE           4622 PENN AVENUE                     APT # 201                                                       DAYTON            OH      45432‐5432
ALDRICH, MARK A          948 WILDBROOK LN                                                                                     LAKE ORION        MI      48362‐1550
ALDRICH, MARK G          7656 BARNSBURY DR                                                                                    WEST BLOOMFIELD   MI      48324‐3612

ALDRICH, MARTY E         1201 BELLEAU LAKE DR                                                                                 O FALLON          MO      63366‐3117
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Name                                   Address1                             Address2                      Address3         Address4                   City           State   Zip
ALDRICH, MARY                          2090 ROCK SPRINGS RD                                                                                           COLUMBIA        TN     38401‐7421
ALDRICH, MARY A                        291 ARMSTRONG RD                                                                                               ROCHESTER       NY     14612‐4263
ALDRICH, MICHAEL J                     PO BOX 72                            P.O. BOX 72                                                               VERNON          MI     48476‐0072
ALDRICH, MICHAEL L                     1702 POLLY ADAMS RD                                                                                            BELFAST         TN     37019‐2033
ALDRICH, N M                           128 S NOTTAWA ST APT 406                                                                                       STURGIS         MI     49091‐1795
ALDRICH, PATRICIA                      3323 GRANGE HALL RD 210 RD APT 210                                                                             HOLLY           MI     48442
ALDRICH, PATRICIA A                    606 W WINDWARD WAY                                                                                             PERRY           MI     48872‐8782
ALDRICH, R G                           11144 WILSON RD                                                                                                MONTROSE        MI     48457‐9179
ALDRICH, RICHARD D                     10084 SEYMOUR RD                                                                                               MONTROSE        MI     48457‐9012
ALDRICH, RICHARD DAVID                 10084 SEYMOUR RD                                                                                               MONTROSE        MI     48457‐9012
ALDRICH, RICHARD W                     5411 WHITTIER CT                                                                                               INDIANAPOLIS    IN     46250‐2343
ALDRICH, ROBERT D                      5407 DON LUIS DR                                                                                               CARLSBAD        CA     92010‐3928
ALDRICH, ROBERT F                      505 SUNBIRD SQ                                                                                                 SEBRING         FL     33872‐3485
ALDRICH, ROBERT G                      7340 ARNOLD RD                                                                                                 BRECKENRIDGE    MI     48615‐9543
ALDRICH, ROBERT L                      2383 FAIR LN                                                                                                   BURTON          MI     48509‐1307
ALDRICH, ROBERT L                      PO BOX 34                                                                                                      LAINGSBURG      MI     48848
ALDRICH, ROBERT WILLIAM TRUCKING LTD   PO BOX 1667                                                                         GUELPH ON N1H 6R7 CANADA

ALDRICH, RONALD C                      39574 PENNY LN                                                                                                 ELYRIA         OH      44035‐8120
ALDRICH, RONALD E                      736 E BROAD ST                                                                                                 CHESANING      MI      48616‐1612
ALDRICH, RONALD EUGENE                 736 E BROAD ST                                                                                                 CHESANING      MI      48616‐1612
ALDRICH, SHANE                         1834 S MORGANTOWN RD                                                                                           GREENWOOD      IN      46143‐8548
ALDRICH, STANLEY T                     11401 VISTA DR                                                                                                 FENTON         MI      48430‐2488
ALDRICH, STANLEY T                     11401 VISTA DRIVE                                                                                              FENTON         MI      48430‐2488
ALDRICH, TAMMY M                       2320 COTTONWOOD DR                                                                                             JANESVILLE     WI      53545‐0638
ALDRICH, TIMOTHY W                     5472 CHATHAM LN                                                                                                GRAND BLANC    MI      48439‐9801
ALDRICH, TINA K                        813 N LANSING ST APT 1                                                                                         SAINT JOHNS    MI      48879
ALDRICH, TINA KAY                      813 N LANSING ST                     APT 1                                                                     SAINT JOHNS    MI      48879‐1086
ALDRICH, WILLIAM E                     2871 W BRADFORD RD                                                                                             MIDLAND        MI      48640‐9141
ALDRICH, WILLIAM JOSEPH                SOMMERS SCHWARTZ SILVER &            2000 TOWN CTR STE 900                                                     SOUTHFIELD     MI      48075‐1142
                                       SCHWARTZ P.C.
ALDRICH, WILLIAM L                     11375 EAGLE RD                                                                                                 DAVISBURG       MI     48350‐1409
ALDRICH‐MERRITT, DORINE                12115 S M‐52                         P.O.BOX 456                                                               PERRY           MI     48872‐8120
ALDRICH‐MERRITT, DORINE                PO BOX 456                           12115 S M‐52                                                              PERRY           MI     48872‐0456
ALDRICHS AUTO PARTS                    8391 E MONROE RD                                                                                               WHEELER         MI     48662‐9804
ALDRIDGE BYRON L                       ALDRIDGE, BYRON L
ALDRIDGE BYRON L                       ALDRIDGE, PATRICE
ALDRIDGE DELBERT (493643)              GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                               NORFOLK         VA     23510
                                                                            STREET, SUITE 600
ALDRIDGE HOLLIS (ESTATE OF) (640523)   SIMMONS FIRM                         PO BOX 521                                                                EAST ALTON      IL     62024‐0519

ALDRIDGE JR, ALBERT                    PO BOX 60486                                                                                                   DAYTON         OH      45406‐0486
ALDRIDGE JR, WILLIE                    11231 GABRIEL ST                                                                                               ROMULUS        MI      48174‐1430
ALDRIDGE RICHARD (352569)              GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                               NORFOLK        VA      23510
                                                                            STREET, SUITE 600
ALDRIDGE SR, THOMAS D                  1314 NW 127TH CT                                                                                               OCALA           FL     34482‐6910
ALDRIDGE STEPHANIE                     ALDRIDGE, STEPHANIE                  3221 MONROE STREET                                                        BELLWOOD        IL     60104
ALDRIDGE THOMAS                        17171 GREENVIEW AVE                                                                                            DETROIT         MI     48219‐3505
ALDRIDGE, ALFRED T                     535 S MARIAS AVE                                                                                               CLAWSON         MI     48017‐1856
ALDRIDGE, ALMIRA                       PO BOX 96                            C/O GWENDOLYN WILLIAMS        81 STEARNS AVE                              LACKAWANNA      NY     14218‐0096
ALDRIDGE, ANN B                        APT E                                1223 WINESAP WAY                                                          ANDERSON        IN     46013‐5564
ALDRIDGE, ARTIS                        5330 MILLWOOD DR                                                                                               FLINT           MI     48504‐1130
ALDRIDGE, BARBARA J                    242 HAWKS NEST CIRCLE                                                                                          ROCHESTER       NY     14626‐4847
ALDRIDGE, BETTY J                      396 THORNRIDGE DRIVE                                                                                           LEVITTOWN       PA     19054‐2232
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ALDRIDGE, BETTY L           1007 BEATRICE DR                                                                               DAYTON              OH     45404‐1418
ALDRIDGE, BRENDA D          303 CLOVERLEAF DR                                                                              ATHENS              AL     35611‐4421
ALDRIDGE, BRENT J           403 MCKINLEY DR                                                                                CAMDEN              OH     45311‐1132
ALDRIDGE, CARL C            912 BAKER CT                                                                                   MIDDLETOWN          OH     45044‐5303
ALDRIDGE, CAROL S           4195 FAYE DR                                                                                   HOKES BLUFF         AL     35903‐7521
ALDRIDGE, CAROL S           320 WITT RD                                                                                    BOWLING GREEN       KY     42101‐6531
ALDRIDGE, CHARLES R         PO BOX 14448                                                                                   SAGINAW             MI     48601‐0448
ALDRIDGE, CHARLES W         897 COUNTY ROAD 1511                                                                           CULLMAN             AL     35058‐0951
ALDRIDGE, DAVID L           CENTRAL FOUNDRY                                                                                DEFIANCE            OH     43512
ALDRIDGE, DELBERT           GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                     NORFOLK             VA     23510‐2212
                                                           STREET, SUITE 600
ALDRIDGE, DENNIS W          PO BOX 256                                                                                     NEWALLA            OK      74857‐0256
ALDRIDGE, DEWAYNE           8801 GATES RD                                                                                  CLARKLAKE          MI      49234‐9606
ALDRIDGE, DIANE H           24320 VINCENT AVE                                                                              PUNTA GORDA        FL      33955‐3955
ALDRIDGE, DORIS             24670 LONGMAN LANE                                                                             WARRENSVILLE HTS   OH      44128‐5033

ALDRIDGE, DOROTHY M         14637 TUSCOLA RD                                                                               CLIO               MI      48420‐8850
ALDRIDGE, ELLA M            20450 BINDER ST                                                                                DETROIT            MI      48234‐1913
ALDRIDGE, ELOISE            52 KIRKPATRICK ST                                                                              BUFFALO            NY      14215‐3833
ALDRIDGE, EMERY K           20450 BINDER ST                                                                                DETROIT            MI      48234‐1913
ALDRIDGE, FRANK A           8623 STONE OAK DR                                                                              HOLLAND            OH      43528‐9251
ALDRIDGE, FREDRICK A        4314 S 580 W                                                                                   RUSSIAVILLE        IN      46979‐9705
ALDRIDGE, GAIL A            85 PAXTON RD                                                                                   ROCHESTER          NY      14617‐4629
ALDRIDGE, GAIL A            116 MOULSON ST                                                                                 ROCHESTER          NY      14621‐2406
ALDRIDGE, GARY H            209 STONEVIEW LN                                                                               MOORESVILLE        IN      46158‐2747
ALDRIDGE, HARLEN G          320 WITT RD                                                                                    BOWLING GREEN      KY      42101‐6531
ALDRIDGE, HARLEN GALE       320 WITT RD                                                                                    BOWLING GREEN      KY      42101‐6531
ALDRIDGE, HELEN             2011 M RECTOR AVE                                                                              MUNCIE             IN      47303‐2544
ALDRIDGE, IRENE J           1564 WALTON CIR                                                                                BOLTON             MS      39041‐9453
ALDRIDGE, IRIS W            6100 EVERALL AVE               APT 106                                                         BALTIMORE          MD      21206
ALDRIDGE, IVAN MARTIN       3945 60TH AVE                                                                                  SEARS              MI      49679
ALDRIDGE, J T               7570 W KALLIO RD                                                                               RUDYARD            MI      49780‐9466
ALDRIDGE, JAMES F           4623 E ADOBE DR                                                                                PHOENIX            AZ      85050‐6851
ALDRIDGE, JAMES H           600 SOUTH SUMMERVILLE STREET   APT 229                                                         MEMPHIS            TN      38104‐418
ALDRIDGE, JAMES H           600 S SOMERVILLE ST APT 229                                                                    MEMPHIS            TN      38104‐4418
ALDRIDGE, JAMES M           6 LARSEN CIR                                                                                   ROMEOVILLE         IL      60446‐1823
ALDRIDGE, JANET D           4900 PIERSONVILLE RD                                                                           COLUMBIAVILLE      MI      48421‐9379
ALDRIDGE, JOAN B            3797 FAIRWAY DR                                                                                SAINT PAUL         MN      55125
ALDRIDGE, JOE G             1836 SKYLINE DR                                                                                GREENWOOD          IN      46143‐8931
ALDRIDGE, JOHN
ALDRIDGE, JOHN C            PO BOX 354                                                                                     SHERMAN            NY      14781‐0354
ALDRIDGE, JOHN W            24320 VINCENT AVE                                                                              PUNTA GORDA        FL      33955‐3955
ALDRIDGE, JR., CLARENCE     1564 WALTON CIRCLE                                                                             BOLTON             MS      39041‐9453
ALDRIDGE, KATHLEEN          136 KINROSS AVE                                                                                CLAWSON            MI      48017‐1418
ALDRIDGE, KATHLEEN          136 KINROSS                                                                                    CLAWSON            MI      48017‐1418
ALDRIDGE, KENNETH B         555 BERKLEY ST                                                                                 YPSILANTI          MI      48197‐1801
ALDRIDGE, KENNETH BERNARD   555 BERKLEY ST                                                                                 YPSILANTI          MI      48197‐1801
ALDRIDGE, KENNETH E         1162 BOSS HARDY RD                                                                             AUBURN             GA      30011‐2422
ALDRIDGE, LINDA L           28607 COPELAND RD                                                                              TONEY              AL      35773‐8247
ALDRIDGE, LINDA M           3104 SOUTHEAST 11TH AVENUE                                                                     CAPE CORAL         FL      33904‐3907
ALDRIDGE, LINDA M           3104 SE 11TH AVE                                                                               CAPE CORAL         FL      33904‐3907
ALDRIDGE, LONNIE R          1564 WALTON CIRCLE                                                                             BOLTON             MS      39041‐9453
ALDRIDGE, LORAINE           568 DRYDEN AVE                                                                                 JACKSON            MS      39209‐4945
ALDRIDGE, LORRIANE S        18254 APPOLINE ST                                                                              DETROIT            MI      48235‐1450
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Name                          Address1                       Address2                      Address3   Address4               City            State   Zip
ALDRIDGE, MARIE L             1 SIXTY WEST DR                                                                                LEXINGTON        VA     24450‐1781
ALDRIDGE, MARK J              540 FOREST LAWN RD                                                                             WEBSTER          NY     14580‐1064
ALDRIDGE, MARLYN D            734 WARNER RD                                                                                  VIENNA           OH     44473‐9720
ALDRIDGE, MARY A              1320 YOUNG ST                                                                                  MIDDLETOWN       OH     45044‐5857
ALDRIDGE, MARY W              20 AL MAR DR                                                                                   BARGERSVILLE     IN     46106‐9701
ALDRIDGE, MAURICE E           133 AYER ST                                                                                    ROCHESTER        NY     14615‐2629
ALDRIDGE, MICHAEL E           10166 SEABROOK AVE                                                                             ENGLEWOOD        FL     34224‐7702
ALDRIDGE, MICHAEL E           301 NETTLECARRIER LN                                                                           MONROE           TN     38573‐6114
ALDRIDGE, MICHAEL L           460 E HIGHLAND ST                                                                              MARTINSVILLE     IN     46151‐1128
ALDRIDGE, MILDRED R           PO BOX 793766                                                                                  DALLAS           TX     75379‐3766
ALDRIDGE, OREN A              2222 ABERDEEN DR                                                                               LEAGUE CITY      TX     77573‐4932
ALDRIDGE, PATRICIA            PO BOX 517                                                                                     DOVER            AR     72837‐0517
ALDRIDGE, PAUL H              141 WOODLAND TER                                                                               MOULTON          AL     35650‐1423
ALDRIDGE, RALPH L             10829 WHITE AVE                                                                                KANSAS CITY      MO     64134‐2511
ALDRIDGE, RANDY J             1805 MORREN DR                                                                                 NORMAN           OK     73071‐3235
ALDRIDGE, RAYMOND L
ALDRIDGE, RICHARD             GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                     NORFOLK          VA     23510‐2212
                                                             STREET, SUITE 600
ALDRIDGE, ROBERT D            1136 SW 128TH ST                                                                               OKLAHOMA CITY   OK      73170‐6954
ALDRIDGE, RONALD L            6527 ERICKS WAY                                                                                TRAVERSE CITY   MI      49684‐6938
ALDRIDGE, RONALD L            26500 EAST 150 HIGHWAY                                                                         GREENWOOD       MO      64034
ALDRIDGE, RONALD L            728 TISHA LANE                                                                                 GRAIN VALLEY    MO      64029‐8010
ALDRIDGE, RONALD L            PO BOX 51203                                                                                   MYRTLE BEACH    SC      29579‐0021
ALDRIDGE, SHERYL K            265 N MADISON                                                                                  BRADLEY         IL      60915‐1835
ALDRIDGE, SHERYL K            265 N MADISON AVE                                                                              BRADLEY         IL      60915‐1835
ALDRIDGE, STEPHAN H           20 AL MAR DR                                                                                   BARGERSVILLE    IN      46106‐9701
ALDRIDGE, STEPHANIE           3221 MONROE ST                                                                                 BELLWOOD        IL      60104‐2245
ALDRIDGE, THELMA J            7065 KINGS CROWN DR                                                                            MEMPHIS         TN      38125‐8125
ALDRIDGE, THOMAS D            1118 W WILLARD RD                                                                              BIRCH RUN       MI      48415
ALDRIDGE, THOMAS D            501 W OWASSA RD APT 266                                                                        PHARR           TX      78577
ALDRIDGE, TIMOTHY M           6799 COUNTY ROAD 217                                                                           HILLSBORO       AL      35643‐3205
ALDRIDGE, VANSKI D            327 E DEWEY AVE                                                                                YOUNGSTOWN      OH      44507
ALDRIDGE, VANSKI D            7374 NORTH LIMA RD                                                                             POLAND          OH      44514‐4514
ALDRIDGE, VERA F              2801 S DORT HWY LOT 65                                                                         FLINT           MI      48507‐5258
ALDRIDGE, VIRGIL L            3130 LINDBERGH DR                                                                              INDIANAPOLIS    IN      46227‐6685
ALDRIDGE, WARNER              8101 APPLETON DR                                                                               UNIVERSITY CY   MO      63130‐1235
ALDRIDGE, WAYNE L             237 BLACKHAWK RD                                                                               RIVERSIDE       IL      60546‐2301
ALDRIDGE, WEST                3012 25TH ST                                                                                   DETROIT         MI      48216‐1002
ALDRIDGE, WILBERT R           2400 SPAULDING RD                                                                              ATTICA          MI      48412‐9314
ALDRIDGE, WILLIAM D           2910 WEBBER ST                                                                                 SAGINAW         MI      48601‐4021
ALDRIDGE, WILLIAM G           16202 MCCULLEY MILL RD                                                                         ATHENS          AL      35613
ALDRIGE BORDEN & COMPANY PC   74 COMMERCE ST                                                                                 MONTGOMERY      AL      36104‐3553
ALDRIGHETTI, BEVERLY J        1875 ECHO HILLS RD                                                                             HOWELL          MI      48855‐9754
ALDSON, ROBERT F              11345 DELANO ST                                                                                ROMULUS         MI      48174‐3807
ALDUS UNIVERSITY SEMINARS     PO BOX 4102                                                                                    SEATTLE         WA      98194‐0102
ALDYS STADE                   58915 ROMEO PLANK RD                                                                           RAY             MI      48096‐4133
ALE MANE                      VIA                                                                                            PAVIA           AK      27100
ALEAN HALL                    931 NORTHLAND AVE                                                                              BUFFALO         NY      14215‐3728
ALEAN, ADOLFO                 2830 N MCVICKER AVE                                                                            CHICAGO         IL      60634‐5143
ALEASA G GARY                 400 UNION HILL CIR             APT C                                                           W CARROLLTON    OH      45449‐3736
ALEASA MCGOWAN                100 BARRINGTON CT E                                                                            FRANKLIN        TN      37067‐5003
ALEASA PEATROSS‐SMITH         20169 STANSBURY ST                                                                             DETROIT         MI      48235‐1566
ALEASE FAIR                   18 S SANFORD ST                                                                                PONTIAC         MI      48342‐2844
ALEASE STALLWORTH             4835 CHATSWORTH ST                                                                             DETROIT         MI      48224‐3409
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Name                                Address1                        Address2                     Address3   Address4                 City               State   Zip
ALEATHEA HENDERSON                  1463 ARTHUR DR NW                                                                                WARREN              OH     44485‐1847
ALEAXANDER JOSEPH                   4327 FOAL ST                                                                                     LANSING             MI     48906‐9072
ALEAZE ROUSE                        1350 INMAN AVE                                                                                   EDISON              NJ     08820
ALEC FEDIKOVICH                     4265 E 163RD ST                                                                                  CLEVELAND           OH     44128‐2405
ALEC GIVENS                         FOLSOM STATE PRISON‐MIN‐814L    P.O. BOX 715071                                                  REPRESA             CA     95671‐5071
ALEC HARRIS                         9545 BIG LAKE RD                                                                                 CLARKSTON           MI     48346‐1057
ALEC JULY                           8841 DAWN CIR                                                                                    TRAVERSE CITY       MI     49686‐1503
ALEC L GIVENS                       PO BOX 715071                                                                                    REPRESA             CA     95671‐5071
ALEC MIS                            1461 CRANBERRY CT                                                                                WIXOM               MI     48393‐1619
ALEC PEEPLES                        40142 KRISTEN DR                                                                                 STERLING HEIGHTS    MI     48310‐1927
ALEC SMITH                          2652 S COUNTY ROAD 125 W                                                                         LOGANSPORT          IN     46947‐8313
ALEC STEWART                        101 DEVILLE DR                                                                                   JONESVILLE          LA     71343
ALEC, GERALDINE                     PO BOX 762                                                                                       AUBERRY             CA     93602‐0762
ALECCE BEDRICKY                     415 E NORTH WATER ST APT 1303                                                                    CHICAGO              IL    60611‐5818
ALECCI JR, JAMES                    1384 MARTHA AVE                                                                                  BURTON              MI     48509‐2141
ALECCI, DOMINIC                     5445 VIVIAN CIR                                                                                  ARVADA              CO     80002‐1915
ALECCI, EDNA L                      1384 MARTHA AVE                                                                                  BURTON              MI     48509‐2141
ALECCI, JAMES                       2221 AMY ST                                                                                      BURTON              MI     48519‐1109
ALECIA ELLINGTON                    2306 PUMPKIN CREEK LN                                                                            SPRING HILL         TN     37174‐7502
ALECIA ELLIOTT                      365 ESSEX DR                                                                                     TIPP CITY           OH     45371‐2223
ALECIA L LEWIS                      2214 PARIS AVE SE                                                                                GRAND RAPIDS        MI     49507‐3110
ALECIA L MONTGOMERY                 368 OUTERBELLE DR                                                                                TROTWOOD            OH     45426‐1518
ALECIA LEWIS                        2214 PARIS AVE SE                                                                                GRAND RAPIDS        MI     49507‐3110
ALECIA MOORE                        5090 NORRIS DR                                                                                   SWARTZ CREEK        MI     48473‐8246
ALECIA Y ELLINGTON                  2306 PUMPKIN CREEK LN                                                                            SPRING HILL         TN     37174‐7502
ALECKSON, GEORGE                    11 JENNIFERS GLEN                                                                                O FALLON            MO     63366‐3177
ALECKSON, GEROLD D                  5802 BOB BULLOCK LOOP STE C1                                                                     LAREDO              TX     78041
ALEDA BRISBON                       2428 WILTSHIRE CT APT 106                                                                        ROCHESTER HILLS     MI     48309‐3160
ALEDA BUKOVINSKY                    8031 FOREST LAKE DR                                                                              YOUNGSTOWN          OH     44512‐5912
ALEE FOSTER                         5706 LANTANA AVE                                                                                 CINCINNATI          OH     45224‐3014
ALEE GOULD                          38 HEATH DR NW                                                                                   WARREN              OH     44481‐9001
ALEE TUCKER                         24650 THORNDYKE ST                                                                               SOUTHFIELD          MI     48033‐2926
ALEE W GOULD                        38 HEATH DR                                                                                      WARREN              OH     44481‐9001
ALEE, BARBARA J                     2998 NOTTINGHAM                                                                                  WATERFORD           MI     48329‐2394
ALEE, GREGORY J                     16207 DALE ST                                                                                    DETROIT             MI     48219‐4906
ALEE, JILLIAN K                     APT 225                         4957 LANCASTER HILLS DRIVE                                       CLARKSTON           MI     48346‐4416
ALEE, KEVIN R                       2998 NOTTINGHAM                                                                                  WATERFORD           MI     48329‐2394
ALEE, MARLENE R                     4125 FENMORE AVE                                                                                 WATERFORD           MI     48328‐3082
ALEE, RALPH                         4480 DEL SOL BLVD                                                                                SARASOTA            FL     34243‐2678
ALEE, RALPH A                       4125 FENMORE AVE                                                                                 WATERFORD           MI     48328‐3082
ALEENE CARPENTER                    125 S WENTZ ST APT A                                                                             MONTGOMERY CITY     MO     63361‐2500

ALEENE CLARK                       33295 BOULDER DR                                                                                  N RIDGEVILLE       OH      44039‐2611
ALEET EXPEDITING LLC               914 GRATIOT BLVD STE 6                                                                            MARYSVILLE         MI      48040
ALEETA BROWDER                     6882 MAYFAIR DR                                                                                   STANWOOD           MI      49346‐9600
ALEETA GRAY                        1202 E POPLAR ST                                                                                  PETERSBURG         IN      47567‐1365
ALEF, DIANE M                      4432 WILLOW CREEK DR                                                                              TROY               MI      48085‐4938
ALEF, EDWARD R                     4432 WILLOW CREEK DR                                                                              TROY               MI      48085‐4938
ALEFF, GLENN H                     4516 HARWEN TER                                                                                   FORT WORTH         TX      76133‐1523
ALEGHENY COUNTY HOUSEING AUTHORITY 625 STANWIX ST                   12TH FL                                                          PITTSBURGH         PA      15222

ALEGNANI, LOUIS L                   34150 DRYDEN DR                                                                                  STERLING HTS        MI     48312‐5002
ALEGRE INC                          918 GILSEONG RI 2                                                       CHINJU KR 660871 KOREA
                                                                                                            (REP)
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Name                            Address1                          Address2                          Address3                 Address4                 City               State   Zip
ALEGRE INC                      PETE VLAHOS                       3101 W TECH BLVD                                                                    MIAMISBURG          OH     45342‐0819
ALEGRE INC                      PETE VLAHOS                       3101 WEST TECH ROAD                                                                 FORT WAYNE          IN     46825
ALEGRE INC                      3101 WEST TECH RD 105                                                                                                 MIAMISBURG          OH     45342
ALEGRE INC                      3101 W TECH BLVD                                                                                                      MIAMISBURG          OH     45342‐0819
ALEGRE MARGARET                 ALEGRE, MARGARET                  16855 WEST BERNARDO DRIVE SUITE                                                     SAN DIEGO           CA     92127
                                                                  380
ALEGRE, BONFILIA                2137 W 22ND PL #1                                                                                                     CHICAGO            IL      60608‐4003
ALEGRE, DAVID C                 1730 N TROY ST                    C/O INES ALEGRE                                                                     CHICAGO            IL      60647‐5019
ALEGRE, INC                     PETE VLAHOS                       3101 W TECH BLVD                                                                    MIAMISBURG         OH      45342‐0819
ALEGRE, INC                     PETE VLAHOS                       3101 WEST TECH ROAD                                                                 FORT WAYNE         IN      46825
ALEGRE, MARGARET                MCGEE WILLIAM R LAW OFFICES OF    16855 W BERNARDO DR STE 380                                                         SAN DIEGO          CA      92127‐1626
ALEGRIA GARCIA, LUZ MERCEDES
ALEGRIA MEDINA, DANIEL OVIDIO
ALEGRIA MEDINA, LUIS ALFONSO
ALEGRIA, ARTHUR                 5987 THOMAS RD.                                                                                                       UNIONVILLE          MI     48767
ALEGRIA, JOE                    C/O THE LIPMAN LAW FIRM           5915 PONCE DE LEON BLVD           SUITE 44                                          CORAL GABLES        FL     33146
ALEGRIA, MARIA                  BAY CITY FORESTVILLE ROAD                                                                                             AKRON               MI     48701
ALEGRIA, MARIA                  6200 BAY CITY FORESTFIELD RD                                                                                          AKRON               MI     48701
ALEGRIA, OVIDIO
ALEICA I ETTER                  110 HARPER AVE APT 2                                                                                                  DETROIT            MI      48202‐3570
ALEICE CARAM                    1621 GRANDVIEW E                                                                                                      WICHITA FALLS      TX      76306‐4609
ALEIDA SANJUAN                  6423 COLLINS AVE A‐303                                                                                                MIAMI BEACH        FL      33141
ALEISE MILLER                   7400 WADE PARK AVE APT 1207                                                                                           CLEVELAND          OH      44103‐2716
ALEISHA CLINE (ATHLETE)         BOX 1700                                                                                     GARABALBI HIGHLANDS BC
                                                                                                                             VON 1T0 CANADA
ALEITHA BUCKNER                 330 W ISABELLA RD                                                                                                     MIDLAND             MI     48640‐8019
ALEIXO, FRANCISCO               20 LORRAINE DR                                                                                                        EASTCHESTER         NY     10709‐2016
ALEJ SZEGIDEWICZ                9807 N. ISLAND VIEW DR.                                                                                               PIGEON              MI     48755
ALEJANDRA JAIME                 11921 S CORNWELL AVE                                                                                                  CLARE               MI     48617‐9680
ALEJANDRA NARANJO               9433 AERO DR                                                                                                          PICO RIVERA         CA     90660‐4701
ALEJANDRA ZUNIGA                3581 CALUMET DR                                                                                                       SAGINAW             MI     48603‐2581
ALEJANDRIN MIRELES              2629 W 22ND PL                                                                                                        CHICAGO             IL     60608‐3516
ALEJANDRO
ALEJANDRO AGUILAR               256 CHAPARRAL LOOP SE                                                                                                 RIO RANCHO         NM      87124‐4141
ALEJANDRO AYALA                 22304 W 52ND ST                                                                                                       SHAWNEE            KS      66226‐3887
ALEJANDRO AYALA                 1632 BROWN ST                                                                                                         SAGINAW            MI      48601‐2826
ALEJANDRO BARRIENTOS            1039 S ALMA AVE                                                                                                       LOS ANGELES        CA      90023‐2426
ALEJANDRO BIHAR                 101 DUPONT WAY                                                                                                        WRIGHT PATTERSON   OH      45433‐1305

ALEJANDRO CAMPOS                49664 DUNHILL DR                                                                                                      MACOMB             MI      48044‐1739
ALEJANDRO CHAVARRIAGA           7006 MILL CREEK BLVD                                                                                                  BOARDMAN           OH      44512‐4113
ALEJANDRO CHAVEZ                7827 RANCHITO AVE                                                                                                     PANORAMA CITY      CA      91402‐6523
ALEJANDRO DELGADO               623 PEMBERTON RD                                                                                                      GROSSE POINTE      MI      48230‐1713
                                                                                                                                                      PARK
ALEJANDRO DURAN                 7810 TOWNSEND RD LOT 117                                                                                              MANSFIELD          TX      76063‐5201
ALEJANDRO ESCAMILLA             7516 ARBOR DR                                                                                                         FORT WORTH         TX      76123‐1086
ALEJANDRO FERNANDEZ             2911 LAUREL PARK DR                                                                                                   SAGINAW            MI      48603‐2697
ALEJANDRO FIGUEROA              8761 FAWN RIDGE DR                                                                                                    FORT MYERS         FL      33912‐1478
ALEJANDRO GARCIA                206 RARITAN RD                                                                                                        LANSING            MI      48911‐5067
ALEJANDRO HERNANDEZ             927 POWDERHORN                                                                                                        LANSING            MI      48917‐4045
ALEJANDRO HERNANDEZ COVARR      18489 PALMER DR                                                                                                       MACOMB             MI      48042‐1732
ALEJANDRO HERRERA               PO BOX 142                                                                                                            CONVERSE           IN      46919‐0142
ALEJANDRO J ZUNIGA              3581 CALUMET DRIVE                                                                                                    SAGINAW            MI      48603‐2581
ALEJANDRO JIMENEZ GOMEZ         C/O LANGDON & EMISON              ATTN ROBET L LANGDON              PO BOX 220 911 MAIN ST                            LEXINGTON          MO      64067
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Name                       Address1                           Address2                       Address3   Address4                 City              State   Zip
ALEJANDRO JR, MEDARDO      210 E SOUTH ST                                                                                        MONROEVILLE        IN     46773‐9398
ALEJANDRO LAMBERT          53 RIDGE AVE                                                                                          SPRING VALLEY      NY     10977‐5446
ALEJANDRO LEMOS            175 MOHAWK RD                                                                                         PONTIAC            MI     48341‐1126
ALEJANDRO LIPIEJKO         12263 WOODLEY AVE                                                                                     GRANADA HILLS      CA     91344‐2848
ALEJANDRO LIZARRAGA        28322 LAS CABOS                                                                                       LAGUNA NIGUEL      CA     92677‐7561
ALEJANDRO LM
ALEJANDRO LOPEZ            1320 TANGLEWOOD DR                                                                                    LAPEER             MI     48446‐3167
ALEJANDRO M BODIPO‐MEMBA   8051 3RD ST                                                                                           DETROIT            MI     48202‐2420
ALEJANDRO MARTINEZ         2267 CHECO ST VILLA PALMERAS                                                                          SAN JUAN           PR     00915
ALEJANDRO MARTINEZ         2267 CALLEJON CHECO                VILLA PALMERAS                                                     SANTURCE           PR     00915‐2537
ALEJANDRO MOLINA           7206 SEMINOLE DR                                                                                      DARIEN             IL     60561‐4121
ALEJANDRO MORALES          GOMEZ MORIN 933                                                              SAN PEDRO MEXICO
ALEJANDRO MUNGUIA          27 CLIFTON RD                                                                                         LAWRENCEBURG       TN     38464‐6568
ALEJANDRO NAVA             583 WADE CT                                                                                           ROCHESTER HILLS    MI     48307‐5067
ALEJANDRO NUNEZ‐DEL RIO    1911 FOREST VIEW CT                                                                                   COMMERCE           MI     48390‐3943
                                                                                                                                 TOWNSHIP
ALEJANDRO PARDO            2849 EL ROBLE DR                                                                                      LOS ANGELES       CA      90041‐1803
ALEJANDRO PEREZ            1036 WATERSMEET DR                                                                                    OXFORD            MI      48371
ALEJANDRO PLAZAS TORRES    1837 WINDWOOD APT 201                                                                                 ROCHESTER HILLS   MI      48307‐5682
ALEJANDRO R HOUSE          5349 EMMERYVILLE LN                                                                                   FORT WORTH        TX      76244
ALEJANDRO RAMIREZ JR       2349 HOPETON AVE                                                                                      SAN JOSE          CA      95122‐3022
ALEJANDRO REYES            328 DETROIT ST                                                                                        TRENTON           MI      48183‐1213
ALEJANDRO RIVERA           3635 CLARKSTON RD                                                                                     CLARKSTON         MI      48348‐4069
ALEJANDRO RODRIGUEZ        2052 MENDOTA WAY                                                                                      SAN JOSE          CA      95122‐1739
ALEJANDRO RODRIGUEZ        C/O COONEY AND CONWAY              120 NORTH LASALLE 30TH FLOOR                                       CHICAGO           IL      60602
ALEJANDRO ROMAN            5307 WILLOW CT                     APT 306                                                            AGOURA HILLS      CA      91301‐6457
ALEJANDRO ROSAS            1708 NW 54TH TER                                                                                      KANSAS CITY       MO      64118‐3150
ALEJANDRO RUIZ             9128 ERIN CT                                                                                          DAVISBURG         MI      48350‐1340
ALEJANDRO SAFANOVA         4215 JASON RD                                                                                         SPRING HILL       FL      34608‐3622
ALEJANDRO SALAZAR          1735 MARY AVE                                                                                         LANSING           MI      48910‐5210
ALEJANDRO SALINAS          16907 TOWER RDG                                                                                       FRIENDSWOOD       TX      77546‐4980
ALEJANDRO SCHINDLER        MT DE ALVEAR 1205                                                            1058 BUENOS AIRES
                                                                                                        ARGENTINA
ALEJANDRO SCHINDLER        M T DE ALVEAR 1205                 BUENOS AIRES                                                                                 1058
ALEJANDRO SCHINDLERF       M.T. DE ALVEAR 1205 ‐ 12║A         BUENOS AIRES‐ARGENTINA                                             BUENOS AIRES       DC     01058
ALEJANDRO STRACHAN         2413 WEST PUERTO, WEST LAFAYETTE                                                                      WEST LAFAYETTE     IN     47906
ALEJANDRO VAZQUEZ          137 LUCINDA CT                                                                                        FRANKLIN           TN     37064‐2943
ALEJANDRO VEGA             10151 RAVEN FIELD DR                                                                                  SAN ANTONIO        TX     78245‐1766
ALEJANDRO VILLANUEVA       PO BOX 404                         213 WEST FIRST STREET                                              VERMONTVILLE       MI     49096‐0404
ALEJANDRO VILLARREAL       1911 W 42ND ST                                                                                        MISSION            TX     78573‐5030
ALEJANDRO, CARMEN A        137 HOMECREST AVE                                                                                     EWING              NJ     08638‐3633
ALEJANDRO, GEMA            EDWARDS LAW FIRM                   PO BOX 480                                                         CORPUS CHRISTI     TX     78403‐0480
ALEJANDRO, JAIME           EDWARDS LAW FIRM                   PO BOX 480                                                         CORPUS CHRISTI     TX     78403‐0480
ALEJANDRO, JUAN            PO BOX 89                                                                                             COMERIO            PR     00782‐0089
ALEJANDRO, KATIA           EDWARDS LAW FIRM                   PO BOX 480                                                         CORPUS CHRISTI     TX     78403‐0480
ALEJO TORRES               2638 LOMBARD AVE                                                                                      SAN JOSE           CA     95116‐2610
ALEJO, JUANA               731 SAN JUAN BLVD                                                                                     ORLANDO            FL     32807‐1528
ALEJO, VIRGINIA B          626 BEELER STREET                                                                                     STOCKTON           CA     95204‐3541
ALEJO, VONNIE F            21109 GARY DR APT 117                                                                                 CASTRO VALLEY      CA     94546‐6128
ALEJOS JEFFREY             ALEJOS, JEFFREY                    7825 FAY AVE STE 200                                               LA JOLLA           CA     92037‐4270
ALEJOS, LARRY              2706 DUVAL DR                                                                                         DALLAS             TX     75211
ALEKOV, ATANAS A           8149 APPLETON ST                                                                                      DEARBORN HTS       MI     48127‐1401
ALEKS, NORBERT M           2791 FLORENTINE CT                                                                                    THOUSAND OAKS      CA     91362‐1758
ALEKSA, ERIC C             14164 BAINBRIDGE ST                                                                                   LIVONIA            MI     48154‐4302
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Name                              Address1                           Address2                         Address3   Address4                     City              State Zip
ALEKSA, MARY B                    3554 HUBBARD W MIDDLESEX RD                                                                                 WEST MIDDLESEX     PA 16159
ALEKSANDAR FILIPOVIC              7212 GREEN FARM RD                                                                                          WEST BLOOMFIELD    MI 48322‐2826

ALEKSANDAR MATEIEVIC              8061 WHITTAKER ST                                                                                           DETROIT           MI    48209‐1528
ALEKSANDAR RAKIC                  253 DUNLOP AVE                                                                                              TONAWANDA         NY    14150‐7839
ALEKSANDAR VOJNOVSKI              4067 ARCADIA DR                                                                                             AUBURN HILLS      MI    48326‐1894
ALEKSANDER & WALDEMAR MALINOWSKI, SECHSHAUSERSTRASSE 88‐82/2/12                                                  1150 WIEN (VIENNA) AUSTRIA
MDS
ALEKSANDER AND WALDEMAR           SECHSHAUSERSTRASSE 88‐92/2/12                                                  1150 WIEN VIENNA AUSTRIA
MALINOWSKI
ALEKSANDER CEGLARZ                4217 MC KINLEY                                                                                              DEARBORN          MI    48125
ALEKSANDER E LAMPKOWSKI           537 FOREST WAY                                                                                              LONGBOAT KEY      FL    34228‐1840
ALEKSANDER IGOROWSKI              904 LOUIS LN                                                                                                KINGSVILLE        MD    21087‐1031
ALEKSANDER KUSOVSKI               54 KIMBERLY ANNE DR                                                                                         ROCHESTER         NY    14606‐3408
ALEKSANDER KUSOVSKI               54 KIMBERLY ANNE DR                                                                                         ROCHESTER         NY    14606‐3408
ALEKSANDER LAMPKOWSKI             537 FOREST WAY                                                                                              LONGBOAT KEY      FL    34228‐1840
ALEKSANDER LAUSZ                  9092 127TH STREET                                                                                           SEMINOLE          FL    33776‐2533
ALEKSANDER LJILJAK                2331 S ELMS RD                                                                                              SWARTZ CREEK      MI    48473‐9730
ALEKSANDER MATYSEK                641 SW SOUTH RIVER DR APT 102                                                                               STUART            FL    34997‐3237
ALEKSANDER RACZKA                 32452 REVERE DR                                                                                             WARREN            MI    48092‐3225
ALEKSANDER RUB                    17686 WESTBROOK DR                                                                                          LIVONIA           MI    48152‐2740
ALEKSANDER VAINBERG               THE MADEKSHO LAW FIRM              8866 GULF FREEWAY SUITE 440                                              HOUSTON           TX    77017
ALEKSANDER, LEONARD               731 LEAFY HOLLOW CT                                                                                         FENTON            MI    48430‐2281
ALEKSANDR
ALEKSANDR RYKHLOV
ALEKSANDRA PINCZUK                340 CAUSEWAY BLVD                                                                                           DUNEDIN            FL   34698
ALEKSANDROWICZ, STANISLAW         28 GLEIM RD                                                                                                 WHITE HSE STA      NJ   08889‐3688
ALEKSEI ZOSIMOV
ALEKSIAK, JEANETTE                30 MIDDLESEX ROAD                                                                                           MATAWAN           NJ    07747‐3549
ALEKSIAK, JEANETTE                30 MIDDLESEX RD                                                                                             MATAWAN           NJ    07747‐3549
ALEKSIAK, RAYMOND H               285 SPRING VALLEY ROAD                                                                                      OLD BRIDGE        NJ    08857‐3349
ALEKSIEJUK, ROBERT                462 FULLER PL                                                                                               LEWISTON          NY    14092‐1009
ALEKSIEWICZ, DENNIS S             5 S PERRY LN                                                                                                AMHERST           ME    04605
ALEKSINSKI, ANTHONY F             13656 SHELDON RD                                                                                            BROOK PARK        OH    44142‐4043
ALEMAN JR, ALFREDO                1050 AUDUBON DR APT# 12                                                                                     WATERFORD         MI    48328
ALEMAN JR, ALFREDO                7186 GLENBURNIE DR                                                                                          CLARKSTON         MI    48346‐1423
ALEMAN JR, JESSIE                 4030 RACE ST                                                                                                FLINT             MI    48504‐2227
ALEMAN MARIELA                    ALEMAN, ARICELI                    PO BOX 1377                                                              OKLAHOMA CITY     OK    73101‐1377
ALEMAN MARIELA                    ALEMAN, MARCO                      PO BOX 1377                                                              OKLAHOMA CITY     OK    73101‐1377
ALEMAN MARIELA                    ALEMAN, MARIELA                    PO BOX 1377                                                              OKLAHOMA CITY     OK    73101‐1377
ALEMAN MARIELA                    ALEMAN, OFELIA                     PO BOX 1377                                                              OKLAHOMA CITY     OK    73101‐1377
ALEMAN MARIELA                    ZAMORA, JUAN JOSE                  PO BOX 1377                                                              OKLAHOMA CITY     OK    73101‐1377
ALEMAN OMAR & LAW OFFICES OF      STEVEN VEINGER                     1285 AVENUE OF THE AMERICAS FL                                           NEW YORK          NY    10019‐6028
ALEMAN, ALEJANDRO
ALEMAN, ALEJANDRO                 3507 NORTH 6TH STREET                                                                                       FORT SMITH        AR    72904‐3462
ALEMAN, ARICELI                   MERRITT & ASSOCIATES PC            PO BOX 1377                                                              OKLAHOMA CITY     OK    73101‐1377
ALEMAN, DANIEL D                  26530 LIBERAL                                                                                               CENTER LINE       MI    48015‐1204
ALEMAN, ERLINDA
ALEMAN, GILBERT G                 2643 HAGUE AVE SW                                                                                           WYOMING           MI    49519
ALEMAN, GUILLERMO F               3540 W 38TH PL                                                                                              CHICAGO           IL    60632‐3316
ALEMAN, HUGO                      EB&HR OPERATIONS DEFAULT ADDRESS   200 RENAISSANCE CTR                                                      DETROIT           MI    48265‐2000

ALEMAN, ISMAEL
ALEMAN, JAMES I                   5115 DRIFTWOOD DR                                                                                           COMMERCE TWP      MI    48382‐1329
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Name                             Address1                           Address2                Address3         Address4                 City            State Zip
ALEMAN, JAVIER
ALEMAN, JESSIE M                 5115 DRIFTWOOD DR                                                                                    COMMERCE TWP     MI   48382‐1329
ALEMAN, JOSE A                   5908 GRACELAWN ST                                                                                    NORTH BRANCH     MI   48461‐9636
ALEMAN, JOSE A                   3990 PECK RD                                                                                         NORTH BRANCH     MI   48461‐8023
ALEMAN, JUAN
ALEMAN, LEOPOLDO
ALEMAN, LEOPOLDO                 3507 NORTH 6TH STREET                                                                                FORT SMITH       AR   72904‐3462
ALEMAN, MAGDALENO V              PO BOX 155                                                                                           NORTH BRANCH     MI   48461‐0155
ALEMAN, MARCO                    MERRITT & ASSOCIATES PC            PO BOX 1377                                                       OKLAHOMA CITY    OK   73101‐1377
ALEMAN, MARCO                    3507 NORTH 6TH STREET                                                                                FORT SMITH       AR   72904‐3462
ALEMAN, MARIA                    5908 GRACELAWN ST                                                                                    NORTH BRANCH     MI   48461‐9636
ALEMAN, MARIA D                  4502 CARPENTER AVENUE                                                                                BRONX            NY   10470‐1420
ALEMAN, MARIELA                  MERRITT & ASSOCIATES PC            PO BOX 1377                                                       OKLAHOMA CITY    OK   73101‐1377
ALEMAN, MARIELA                  3507 NORTH 6TH STREET                                                                                FORT SMITH       AR   72904‐3462
ALEMAN, MARIO                    2614 WINONA ST                                                                                       FLINT            MI   48504‐2763
ALEMAN, NORA
ALEMAN, NORA                     3507 NORTH 6TH STREET                                                                                FORT SMITH       AR   72904‐3462
ALEMAN, OFELIA                   3507 NORTH 6TH STREET                                                                                FORT SMITH       AR   72904‐3462
ALEMAN, OFELIA                   MERRITT & ASSOCIATES PC              PO BOX 1377                                                     OKLAHOMA CITY    OK   73101‐1377
ALEMAN, TONY                     8614 CAMELLIA ST                                                                                     LANSING          MI   48917‐8803
ALEMANY JR, JOSE M               118 GALLATIN AVE                                                                                     BUFFALO          NY   14207‐2126
ALEMANY, ANNA E.                 263 PENNSYLVANIA ST                                                                                  BUFFALO          NY   14201‐1710
ALEMANY, JOSE C                  424 POTOMAC AVE                                                                                      BUFFALO          NY   14213‐1264
ALEMARI LTD                      C/O MERRILL LYNCH INTERNATIONAL BANK ATTN TAU DEPARTMENT   2 RAFFLES LINK   MARINA BAYFRONT
                                 LIMITED                                                                     SINGAPORE 039392
ALEMDAR, JEMAL Y                 3380 S TOWERLINE RD                                                                                  BRIDGEPORT      MI    48722‐9542
ALEMEDA MC BRIDE                 102 S 1ST ST APT 3                                                                                   HOLLY           MI    48442‐1551
ALEMITE COPR.                    AMERICO DOSSANTOS                    167 ROEELAND DR.                                                SOUTH HAVEN     MI    49090
ALEMITE LLC                      PO BOX 150209                                                                                        SAINT LOUIS     MO    63115‐8209
ALEMITE LLC                      1057 521 CORPORATE CTR DR STE 100                                                                    FORT MILL       SC    29707‐7165
ALEMNESH WAGAW                   2519 WALNUT HILL CIR                 APT 930                                                         ARLINGTON       TX    76006‐5137
ALEMOND JR, JAMES C              12820 CRACKERNECK RD                                                                                 TRENTON         IL    62293‐3200
ALEMU, DANIEL                    PO BOX 6545                                                                                          ARLINGTON       VA    22206
ALEN EMBROIDERY                  1603 CALLE DEL NORTE STE 106                                                                         LAREDO          TX    78041‐2881
ALEN GRES                        SLOVENSKA 2                                                                 10000 ZAGREB CROATIA
ALEN GRES                        SLOVENSKA 2,                                                                                         ZAGREB                10000
ALEN GRES                        SLOVENSKA 2.                                                                10000 ZAGREB CROATIA
ALEN HORECKY
ALEN MARIA                       8878 NW 187TH ST                                                                                     HIALEAH         FL    33018‐6281
ALEN, BETTY J                    6089 WALNUT ST                                                                                       NEWFANE         NY    14108‐1317
ALENA A NAPIER                   5131 FALLS RD.                                                                                       LEWISBURG       OH    45338‐9766
ALENA D COMBS                    3201 ACKERMAN BLVD                                                                                   DAYTON          OH    45429‐3503
ALENA GARDOS                     PO BOX 1828                                                                                          SYKESVILLE      MD    21784‐1820
ALENA H SMITH                    1341 SANDERS COURT                                                                                   TROY            OH    45373‐4630
ALENA SMITH                      1341 SANDERS CT                                                                                      TROY            OH    45373‐4630
ALENCO ENVIRONMENTAL CONSULT G   AUGSBURGER STR 712                 POSTFACH 600207                          STUTTGART BW 70302
                                                                                                             GERMANY
ALENCO ENVIRONMENTAL CONSULT     AUGSBURGER STR 712                                                          STUTTGART 16449524 D‐
GMBH                                                                                                         70329 GERMANY
ALENCO ENVIRONMENTAL CONSULT     AUGSBURGER STR 712                 POSTFACH 600207                          STUTTGART BW 70302
GMBH                                                                                                         GERMANY
ALENE ADAMS
ALENE BENGE                      317 BETHEL RD                                                                                        CLINTON          TN   37716‐6643
ALENE BENNETT                    114 CIRCLE DR                                                                                        GREENSBURG       KY   42743‐1111
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Name                                  Address1                         Address2                     Address3   Address4                    City               State   Zip
ALENE BRIDGES                         1833 LOSANTIVILLE AVE APT 311C                                                                       CINCINNATI          OH     45237‐3971
ALENE CLARK                           16300 HOLLYWOOD STREET                                                                               ROMULUS             MI     48174‐3116
ALENE COFFEY                          4356 PHOENIX DR                                                                                      SPRINGFIELD         OH     45503‐6324
ALENE COLE                            64 OURS DRIVE                                                                                        MARTINSBURG         WV     25405‐1494
ALENE COOK                            PO BOX 52230                                                                                         MESA                AZ     85208‐0112
ALENE CULVER                          2486 TOWNSEND ST                                                                                     DETROIT             MI     48214‐1729
ALENE EDMONDS
ALENE EDWARDS                         49 N BROWN SCHOOL RD                                                                                 VANDALIA           OH      45377‐2826
ALENE HARDEN                          1313 DENISE DR                                                                                       KENT               OH      44240‐1606
ALENE HIGNITE                         5232 MISSISSIPPI DR                                                                                  FAIRFIELD          OH      45014‐2412
ALENE IVEY                            2802 S GETTYSBURG AVE                                                                                DAYTON             OH      45418‐2911
ALENE JACKSON                         7501 GA HIGHWAY 203                                                                                  SCREVEN            GA      31560‐8184
ALENE JENKINS                         496 RURAL HILL RD                                                                                    NASHVILLE          TN      37217‐4025
ALENE JONES                           3344 W 950 S                                                                                         PENDLETON          IN      46064‐9526
ALENE KERN                            830 FAIRLEDGE ST                                                                                     LAKE ORION         MI      48362‐2612
ALENE KLEIN                           5091 CECELIA ANN AVE                                                                                 CLARKSTON          MI      48346‐3905
ALENE MCWILLIAMS                      525 S BILTMORE AVE # 0                                                                               INDIANAPOLIS       IN      46241‐0617
ALENE NEELY                           11485 OAKHURST RD                BLDG 1200 APT 205                                                   LARGO              FL      33774
ALENE POKSTEFL                        219 S ASPEN PL                                                                                       SPOKANE VALLEY     WA      99016‐9350
ALENE PUCKETT                         7313 BARR CIRCLE                                                                                     DAYTON             OH      45459‐3504
ALENE PUCKETT                         7313 BARR CIR                                                                                        DAYTON             OH      45459‐3504
ALENE REESE                           5520 RICKENBACKER PL                                                                                 FORT WORTH         TX      76112‐7640
ALENE SCHNEIDER                       9858 DEERFIELD DR                                                                                    N HUNTINGDON       PA      15642‐2684
ALENE SMILEY                          1804 PLEASANT VALLEY PL                                                                              VAN BUREN          AR      72956‐7632
ALENE STEELE                          17514 YORK RD                                                                                        HAGERSTOWN         MD      21740‐7528
ALENE TILLERY                         327 N FREDERICK ST APT 203                                                                           CAPE GIRARDEAU     MO      63701‐5659
ALENE TOPPING                         PO BOX 672                                                                                           TECUMSEH           OK      74873‐0672
ALENE WESTGATE                        1233 BALTIMORE ST                                                                                    SANDUSKY           OH      44870‐3630
ALENT MARCUS                          38057 BRADLEY DR                                                                                     FARMINGTON HILLS   MI      48335‐2715

ALENT, EUGENE R                       1083 S COLLON DR                                                                                     BAD AXE            MI      48413‐9173
ALENT, MARCUS J                       38057 BRADLEY DR                                                                                     FARMINGTN HLS      MI      48335‐2715
ALEO, ELSIE                           302 SHEPHERDS WAY NE                                                                                 WARREN             OH      44484
ALEO, PAMELA S                        2135 S WAVERLY RD                                                                                    EATON RAPIDS       MI      48827‐9717
ALEO, RALPH L                         20404 SUMMIT RD                                                                                      LANSE              MI      49946‐8042
ALEO, RALPH L                         HCR02 BOX 759 SUMMIT ROAD                                                                            LANSE              MI      49946
ALEO, RONALD V                        2241 S AURELIUS RD                                                                                   MASON              MI      48854‐9764
ALEPALLI, SHYAM K                     1302 HARTLAND DR                                                                                     TROY               MI      48083‐5453
ALEPALLI, SHYAM KUMAR                 1302 HARTLAND DR                                                                                     TROY               MI      48083‐5453
ALERIA COOLEY                         4801 HELEN ST                                                                                        DETROIT            MI      48207‐1326
ALERICK WELSH                         422 STATE HIGHWAY 458                                                                                ST REGIS FLS       NY      12980‐1702
ALERINK, SHANON                       214 1/2 S. COCHRAN                                                                                   CHARLOTTE          MI      48813
ALERIS ALUMINUM US SALES INC          PO BOX 87                                                                                            NEWFOUNDLAND       NJ      07435
ALERIS INTERNATIONAL INC              5215 N O CONNOR BLVD STE 940                                                                         IRVING             TX      75039‐3736
ALERIS INTERNATIONAL INC              368 W GARFIELD AVE                                                                                   COLDWATER          MI      49036‐9711
ALERIS INTERNATIONAL INC              PO BOX 643431                    FMLY COMMONWEALTH ALUMINUM                                          PITTSBURGH         PA      15264‐3431
ALERIS INTERNATIONAL INC              2600 NODULAR DR NAME UPDT        FMLY IMCO RECYCLING INC                                             SAGINAW            MI      48601
ALERIS INTERNATIONAL INC              1700 EASTPOINT PARKWAY STE 200   PO BOX 23596                                                        LOUISVILLE         KY      40223
ALERIS INTERNATIONAL INC              25825 SCIENCE PARK DR STE 400                                                                        BEACHWOOD          OH      44122‐7392
ALERIS INTERNATIONAL INC              2600 NODULAR DR                                                                                      SAGINAW            MI      48601‐9247
ALERIS SPECIFICATION ALLOY PRODUCTS   FRMLY CONNELL INDUSTRIES CANA    7496 TORBRAM RD                         MISSISSAUGA CANADA ON L4T
CANADA COMPANY                                                                                                 1G9 CANADA
ALERIS/COLDWATER                      430 W GARFIELD AVE                                                                                   COLDWATER          MI      49036‐8000
ALERO, LINDA                          405 AVALON CREEK BLVD                                                                                VIENNA             OH      44473‐9547
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Name                               Address1                           Address2                          Address3   Address4                  City               State   Zip
ALERO, LINDA                       4828 SHADOW OAK DR                 #B                                                                     YOUNGSTOWN          OH     44515‐3763
ALERS ALEJANDRO JR                 ALERS, ALEJANDRO                   7000 PARADISE RD APT 2086                                              LAS VEGAS           NV     89119‐4481
ALERS, ERIC M                      APT 8‐J LAGUNA GDNS III                                                                                   ISLA VERDE          PR     00913
ALERT MEDICAL CARE                 PO BOX 91                                                                                                 IMLAY CITY          MI     48444‐0091
ALERT MUFFLER & AUTO SERVICE       411 N 4TH ST                                                                                              COEUR D ALENE       ID     83814‐2978
ALERT SCREW PRODUCTS CORP          100 HONING RD                                                                                             FOX LAKE             IL    60020‐1939
ALES, W F                          84 N TWELVETH STREET                                                                                      DEFUNIAK SPRINGS    FL     32433

ALESANDER AVERBUKH                  C/O THE KUHLMAN LAW FIRM LLC      1100 MAIN ST STE 2550                                                  KANSAS CITY        MO      64105
ALESANDER AVERBUKH (DEATH OF FATHER GREGORY G HOPPER ESQUIRE SCBMA    300 WEST PRATT STREET SUITE 450                                        BALTIMORE          MD      21201
BONS AVERBUKH)
ALESHA M DUNCAN                     9481 LAKESIDE DR                                                                                         YPSILANTI          MI      48197‐6173
ALESHIA D MELKE                     105 GERLAUGH AVE.                                                                                        DAYTON             OH      45403
ALESHIA N HUFF                      1414 S FAYETTE ST                                                                                        SAGINAW            MI      48602‐1355
ALESHIA R FUGATE                    327 WESTERLY HILLS DR                                                                                    ENGLEWOOD          OH      45322‐2344
ALESHIRE SHERRI                     8044 HIGHWAY FF                                                                                          GRUBVILLE          MO      63041‐1413
ALESHIRE, EDGAR L                   3015 TURKEY POINT RD                                                                                     NORTH EAST         MD      21901‐5813
ALESHIRE, ILANA G                   925 YOUNGSTOWN WARREN RD APT 97                                                                          NILES              OH      44446‐4633

ALESHIRE, JIMMIE E                 9192 COUNTRY POND TRAIL                                                                                   MIAMISBURG         OH      45342‐5456
ALESHIRE, JIMMY R                  750 BAYRIDGE BLVD                                                                                         WILLOWICK          OH      44095‐4239
ALESHIRE, MARK D                   3500 5TH AVE                                                                                              SIOUX CITY         IA      51106‐2809
ALESHIRE, ORA K                    7831 91ST ST                                                                                              SEMINOLE           FL      33777‐4033
ALESHIRE, PATRICIA A               9192 COUNTRY POND TRL                                                                                     MIAMISBURG         OH      45342‐5456
ALESHIRE, RODNEY L                 3888 AUKERMAN CREEK RD                                                                                    EATON              OH      45320‐9440
ALESHIRE, VERNA D                  1027 10TH ST NW                                                                                           MINOT              ND      58703‐2133
ALESHIRE,RODNEY L                  3888 AUKERMAN CREEK RD                                                                                    EATON              OH      45320‐9440
ALESI, ALFRED                      396 GRANTS TRL                                                                                            DAYTON             OH      45459‐3116
ALESI, ALLEN F                     2011 COUNTRYSIDE DR                                                                                       SALEM              OH      44460‐1042
ALESI, ESPERANZA F                 6391 S MAIN ST                                                                                            CLARKSTON          MI      48346‐2368
ALESI, KENNETH R                   1760 PAINTER RD                                                                                           SALEM              OH      44460‐1822
ALESI, MICHAEL R                   6391 S MAIN ST                                                                                            CLARKSTON          MI      48346‐2368
ALESIA ELMORE                      7444 NETT ST                                                                                              DETROIT            MI      48213‐1062
ALESIA F HERRING                   243 W CORNELL AVE                                                                                         PONTIAC            MI      48340‐2725
ALESIA FLORENCE                    648 CLEGG ST                                                                                              DAYTON             OH      45417
ALESIA FORD                        513 ANDERSON ST                                                                                           DANVILLE           IL      61832‐4803
ALESIA HERMOSILLO                  47740 N SHORE DR                                                                                          BELLEVILLE         MI      48111‐2231
ALESIA J ELMORE                    7444 NETT ST                                                                                              DETROIT            MI      48213‐1062
ALESIA M MCLEMORE                  3820 APT. B1 LAKEBEND DR.                                                                                 DAYTON             OH      45404
ALESIA R DORSEY                    615 E BELLE ST                                                                                            WHARTON            TX      77488‐2619
ALESIA R DORSEY                    3314 FAIRWAY DR                                                                                           WHARTON            TX      77488
ALESIA TYSON                       1411 W COLDWATER RD                                                                                       FLINT              MI      48505‐4832
ALESIAK, CONCETTA                  43212 POINTE DRIVE                                                                                        CLINTON TWP        MI      48038
ALESIANI DENNIS                    ALESIANI, DENNIS                   2325 GRANT BUILDING 310 GRANT                                          PITTSBURGH         PA      15219
                                                                      STREET
ALESIO ANASTASI                    1241 RIDGE FIELD RUN                                                                                      SCHERERVILLE       IN      46375‐1479
ALESLAGLE, HENRY B                 4140 WEYBRIGHT CT.                                                                                        KETTERING          OH      45440‐1306
ALESSANDRA ADRIANA LUISA ROSSI     VIALE GIOSU╚ CARDUCCI 48                                                        55049 VIAREGGIO ITALY
ALESSANDRA ARREGHINI               VIA CERNAIA 9                                                                                             MILAN                      20121
ALESSANDRA BENETTI ORLANDINI       VIA FAENZA 11                                                                                             BOLOGNA                    40100
ALESSANDRA BEVILACQUA              VIA MAZZINI 32/E VALDAGNO (VI)
ALESSANDRA PADOVAN                 VIA DELLA REPUBBLICA 29                                                         BIELLA ITALY 13900
ALESSANDRA ZAMPARELLI              VIA MARZABOTTO 1                   BOLOGNA
ALESSANDRA, JACK V                 52 BIDWELL PKWY                                                                                           BUFFALO             NY     14222‐1302
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Name                      Address1                         Address2                        Address3              Address4                    City              State Zip
ALESSANDRI & COMPANIA     EL REGIDOR 66 PISOS 9 10 Y 11    LAS CONDES                                            CHILE
ALESSANDRI RICCARDO       C/O LA SCALA                     STUDIO LEGALE E TRIBUTARIO      CORSO MANGENTA N 42   20123 MILANO ITALY
ALESSANDRO BRIGNONE       VIA F.DASSORI 29 INT 2                                                                                             GENOVA                  16131
ALESSANDRO CARETTONI      VIA BONCOMPAGNI 16                                                                                                 ROMA                    00187
ALESSANDRO COLONNA        VIA MONTEVERDE 230                                                                                                 ROME
ALESSANDRO COLONNA        VIA DI MONTEVERDE 230                                                                                              ROME                    00151
ALESSANDRO COLORICCHIO    VIA BORGOROSE 15                                                                                                   ROMA                    00189
ALESSANDRO CRISTIANO      VIA RIGHI 10                     28100 NOVARA
ALESSANDRO DE LIBERIS     VIA ERNESTO MONACI 21            00161 ROMA
ALESSANDRO DICICCO        11001 CLINTON RIVER RD                                                                                             STERLING HTS       MI   48314‐2412
ALESSANDRO FERRARI        VIA DEGLI OTTOBONI 10            20124 MILANO, ITALY
ALESSANDRO GAZZOTTI       VIA PUIANELLO 5                  CASTELVETRO DI MODENA 41014
ALESSANDRO GONZALEZ       1585 E 13 MILE RD APT 102                                                                                          MADISON HEIGHTS    MI   48071‐5014

ALESSANDRO LEMMI          VIA VECCHIA PISANA 192                                                                                             LASTRA A SIGNA          50055
                                                                                                                                             (FIRENZE)
ALESSANDRO MANETTO        VIA                              VALLETTA FOGLIANO                                                                 VIGEVANO                27029
ALESSANDRO MANETTO        VIA VALLETTA FOGLIANO 27                                                                                           VIGEVANO                27029
ALESSANDRO MORAGHI        VIA VOLTA 36                                                                           GAVIRATE (VA) 21026 ITALY
ALESSANDRO MORAGHI        VIA VOLTA 36                     GAVIRATE (VA)                   21026 ITALY                                       GAVIRATE           IL   21026
ALESSANDRO PERNA          VIA BAGETTI 12                   10143 TORINO
ALESSANDRO ROSSI          36 ANN MARIE DR                                                                                                    ROCHESTER          NY   14606‐4635
ALESSANDRO ROSSINI        CESANO MADERNO                   VIA UGO FOSCOLO 5               MILANO
ALESSANDRO SPINEDI        VIA TOR CARBONE 67               00178    ROMA
ALESSANDRO VALLE          34 OLIVIA DR                                                                                                       ROCHESTER          NY   14626
ALESSANDRO VATRELLA       VIA MONTE CUNEO 36               AVIGLIANA (TO)
ALESSANDRO, ANTHONY       51772 SHADYWOOD DR                                                                                                 MACOMB TWP        MI    48044
ALESSANDRO, MARIE         54 JOANNE LN                                                                                                       CHEEKTOWAGA       NY    14227‐1344
ALESSI, BRENDA R          5866 PLEASANT DR                                                                                                   WATERFORD         MI    48329‐3342
ALESSI, FRANK A           32624 AVONDALE ST                                                                                                  WESTLAND          MI    48186‐8902
ALESSI, GARY              2832 NICHOLS ST APT 4                                                                                              SPENCERPORT       NY    14559‐1937
ALESSI, GRACE J           7325 BEAN STATION RD                                                                                               HAMMONDSPORT      NY    14840‐9601
ALESSI, LINDA M           36 POOL ST                                                                                                         ROCHESTER         NY    14606‐1324
ALESSI, MIKE J            691 GIBBS ST                                                                                                       CARO              MI    48723‐1446
ALESSI, RONALD D          354 LISBON AVE                                                                                                     BUFFALO           NY    14215‐1030
ALESSI, ROSE              41427 HAGGERTY WOODS CT                                                                                            CANTON            MI    48187‐3780
ALESSI, SANDRA T          6337 HILLCREST TRACE DR                                                                                            MOBILE            AL    36609‐2762
ALESSI, SUSAN             33 LANDSTONE TER                                                                                                   ROCHESTER         NY    14606‐4358
ALESSI, THERESA M         3008 VEZBER DR                                                                                                     SEVEN HILLS       OH    44131‐6214
ALESSI, WILLIAM C         246 JURD PARDUE RD                                                                                                 MARION            LA    71260‐4625
ALESSIO ERNEST (442921)   BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                                                     NORTHFIELD        OH    44067
                                                           PROFESSIONAL BLDG
ALESSIO GALUPPI           VIA TUSCOLANA 576
ALESSIO GALUPPI           VIA TUSCOLANA 576                00181 ROMA
ALESSIO PAPI              VIA TIRANA 13                                                                                                      ROME ‐ ITALY      IL    00144
ALESSIO, ANTHONY J        PO BOX 263                                                                                                         INTERLOCHEN       MI    49643
ALESSIO, ERNEST           BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD, BEVAN                                                      NORTHFIELD        OH    44067
                                                           PROFESSIONAL BLDG
ALESSIO, PATRICIA A.      143 FIRE LANE 12 12 12                                                                                             JORDAN            NY    13080
ALESSO HOLDING COMPANY    C/O DOMINICK R. ALESSO           379 VALLEY VIEW AVE                                                               PARAMUS           NJ    07652‐3417
ALESSO, SUZANNE M         229 BARNES CT                                                                                                      ROCHESTER         MI    48307‐2606
ALESTER MCELROY           3261 HARBOR VIEW CT                                                                                                DECATUR           GA    30034‐4924
ALESTOCK, WALTER E        1519 W ROACHE ST                                                                                                   INDIANAPOLIS      IN    46208‐5253
ALESTRA, ANTHONY          1208 28TH AVE W APT A                                                                                              PALMETTO          FL    34221‐3493
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Name                     Address1                     Address2               Address3         Address4               City            State   Zip
ALETA ANGEL              615 CLIFFSIDE DR                                                                            NEW CARLISLE     OH     45344‐2537
ALETA DANIELS            8611 MANOR ST                                                                               DETROIT          MI     48204‐3070
ALETA DENNISON           2702 53RD ST S                                                                              GULFPORT         FL     33707‐5444
ALETA DYLING             3550 WOODLAND DR                                                                            HIGHLAND         MI     48356‐2356
ALETA HARVEY             218 W BROOKLYN AVE                                                                          PONTIAC          MI     48340‐1126
ALETA JENSEN             4839 WORTH ST                                                                               MILLINGTON       MI     48746‐9503
ALETA MALONEY            PO BOX 517                                                                                  CLARKSTON        MI     48347‐0517
ALETA O'NEAL             20245 HUNTINGTON RD                                                                         DETROIT          MI     48219‐1413
ALETA SWICK              1015 PEARL ST                                                                               LANSING          MI     48906‐1162
ALETA VANTUYLE           16150 WHEATON RD                                                                            CEMENT CITY      MI     49233‐9786
ALETHA ASH               1912 E RACINE ST APT 5                                                                      JANESVILLE       WI     53545‐4365
ALETHA BIDDLE            2311 ROCKSPRING RD                                                                          TOLEDO           OH     43614‐1659
ALETHA D COOPER          640 DELAWARE ST APT 103                                                                     DETROIT          MI     48202‐2448
ALETHA FICKES            500 SHELLBOURNE DRIVE                                                                       ROCHESTER HLS    MI     48309‐1027
ALETHA HOLMES            17531 W DESERT SAGE DR                                                                      GOODYEAR         AZ     85338‐5754
ALETHA JOHNSON           5346 BURNS ST                                                                               DETROIT          MI     48213‐2912
ALETHA M SCRIVENS        2925 KNOLL RIDGE DR #D                                                                      DAYTON           OH     45449‐‐ 34
ALETHA METCALFE          1835 LAUREL OAK DR                                                                          FLINT            MI     48507‐2253
ALETHA MOORE             25818 MARITIME CIR S                                                                        HARRISON TWP     MI     48045‐3075
ALETHA ROBINSON          5321 BALSAM PL               APT 304                                                        MASON            OH     45040
ALETHA SALTERS           6757 S US HIGHWAY 27                                                                        SAINT JOHNS      MI     48879‐9125
ALETHA SCRIVENS          2925 KNOLLRIDGE DR APT D                                                                    DAYTON           OH     45449‐3437
ALETHA W GIBSON          172 AUBURN DR. SW                                                                           BOGUE CHITTO     MS     39629
ALETHA WILLIAMSMS        4212 MARKHAM PL                                                                             SHREVEPORT       LA     71109‐7263
ALETHA WRIGHT            417A N STATE ST APT 18                                                                      SHELBY           MI     49455‐1161
ALETHE MUNN              89 TELEGRAPH RD                                                                             MIDDLEPORT       NY     14105‐9688
ALETHEA M MARTIN         768 BAKER ST. S.W.                                                                          WARREN           OH     44481‐9655
ALETHEA SIMPSON          5875 BRIARWOOD CT                                                                           CLARKSTON        MI     48346‐3171
ALETHEA U ANDERSON       1258 W EDGEWOOD BLVD APT 5                                                                  LANSING          MI     48911‐7511
ALETHER BOOKER           44150 WILLOW RD                                                                             BELLEVILLE       MI     48111‐9143
ALETTA KEPLINGER         7460 E HUNTINGTON DR APT 3                                                                  BOARDMAN         OH     44512‐4051
ALEVER, FLORENCE G       5454 N. RIVER RD                                                                            FREELAND         MI     48623‐9273
ALEVER, FLORENCE G       5454 N RIVER RD                                                                             FREELAND         MI     48623‐9273
ALEVER, WILLIAM J        1820 N CHARLES ST                                                                           SAGINAW          MI     48602‐4850
ALEVER, WILLIAM J        1820 NORTH CHARLES STREET                                                                   SAGINAW          MI     48602‐4850
ALEWEL, BARBARA          507 ROTH CT                                                                                 SAINT PETERS     MO     63304‐5657
ALEWEL, BARBARA D        703 NW 8TH ST                                                                               CONCORDIA        MO     64020‐9751
ALEWINE JR, CLAUDE B     410 CEDAR ST                                                                                LAVONIA          GA     30553‐2108
ALEWINE, DAVID R         477 WHIPPOORWILL WAY                                                                        ALTO             GA     30510‐5001
ALEWINE, JAMES G         4405 LAVONIA HWY                                                                            HARTWELL         GA     30643‐3111
ALEWINE, MAX L           159 BRADBERRY CT                                                                            COMMERCE         GA     30529‐7013
ALEWINE, TOMMY           1089 STATE HIGHWAY 22                                                                       WHITNEY          TX     76692‐3021
ALEX
ALEX PLOTNIKOV
ALEX & ANNA TAUBENFELD   190 KENNEDY CIR                                                                             ROCHESTER       NY      14609
ALEX A ZIELKE            6664 RON PARK PLACE                                                                         YOUNGSTOWN      OH      44512‐4139
ALEX ADAMS               3215 FERNDALE AVE                                                                           BALTIMORE       MD      21207‐6802
ALEX ALSTON              11035 BIGELOW RD                                                                            DAVISBURG       MI      48350‐1831
ALEX ALVARADO            1106 MAIA ST                                                                                PLEASANTON      TX      78064‐3345
ALEX ANTONIOTTI          1210 RANDOLF STREET                                                                         NEW CASTLE      PA      16101
ALEX ARENAS              2284 AUTUMN MOON WAY                                                                        TURLOCK         CA      95382‐9757
ALEX ARIZO               3182 MORAN RD                                                                               BIRCH RUN       MI      48415‐9023
ALEX ARMSTRONG           1219 KENNEBEC RD                                                                            GRAND BLANC     MI      48439‐4834
ALEX B COMBS             1155 WATSON RD                                                                              TRENTON         SC      29847‐3229
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Name                   Address1                            Address2                     Address3   Address4                 City             State Zip
ALEX BALZER JR         6271 CENTER ST ROUTE 2                                                                               UNIONVILLE        MI 48767
ALEX BARASH            C/O BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                       BOSTON HTS.       OH 44236
ALEX BEARB             PO BOX 562                                                                                           NICE              CA 95464‐0562
ALEX BEARD             163 S AIRPORT RD                                                                                     SAGINAW           MI 48601‐9459
ALEX BELL              36333 GARFIELD RD APT 218                                                                            CLINTON TOWNSHIP MI 48035‐1181

ALEX BOCK              8011 BIRCH RUN RD                                                                                    MILLINGTON        MI   48746‐9532
ALEX BONDARENKO        4812 AMOS RD                                                                                         WHITE HALL        MD   21161‐9690
ALEX BOOTH             230 WEATHERFORD DR NE                                                                                CLEVELAND         TN   37312‐4788
ALEX BORENSTEIN        1414 ACACIA ST                                                                                       SAGINAW           MI   48602‐2814
ALEX BORODYCHUK JR     2022 DENISE DR                                                                                       COLUMBIA          TN   38401‐3904
ALEX BOROS             12091 DAVISON RD                                                                                     DAVISON           MI   48423‐8103
ALEX BOROWIAK          1126 BIRCHWOOD DR                                                                                    FLUSHING          MI   48433‐1408
ALEX BUATHIER          25320 CLUBSIDE DR UNIT 6                                                                             NORTH OLMSTED     OH   44070‐4316
ALEX BUSATO            VIA GIOVANNI PASCOLI                MARTELLAGO
ALEX C CHU             2081 CONNOLLY DR                                                                                     TROY              MI   48098
ALEX C NORRIS          5600 WASHINGTON APT P                                                                                KETTERING         OH   45440
ALEX C SHAW            15426 S LOWELL RD                                                                                    LANSING           MI   48906‐9393
ALEX CAMERON           BEVAN & ASSOCIATES, LPA, INC.       6555 DEAN MEMORIAL PARKWAY                                       BOSTON HTS.       OH   44236
ALEX CARCAMO           118 E. ROBINSON ST.                                                                                  JACKSON           MI   49203
ALEX CARIAGA           5236 COLUMBIA WAY                                                                                    QUARTZ HILL       CA   93536‐3013
ALEX CERUZZI           WEITZ & LUXENBERG PC                700 BROADWAY                                                     NEW YORK CITY     NY   10003
ALEX CHAPMAN, JR       10145 MONROE BLVD                                                                                    TAYLOR            MI   48180‐3613
ALEX CHESTNUT          115 LEMON ST                                                                                         BUFFALO           NY   14204‐1224
ALEX CHEVROLET, INC.   ALEX RAHMI                          1 CHEVROLET DR                                                   CHARLES TOWN      WV   25414‐3820
ALEX CHEVROLET, INC.   1 CHEVROLET DR                                                                                       CHARLES TOWN      WV   25414‐3820
ALEX CHILDERS          8450 ATHERTON                                                                                        SAINT LOUIS       MO   63130
ALEX CHORENKO          1711 N CENTER RD                                                                                     SAGINAW           MI   48638‐5527
ALEX COHEN             3514 HARWICH DR                                                                                      CARLSBAD          CA   92010‐7065
ALEX COMBS             1155 WATSON RD                                                                                       TRENTON           SC   29847‐3229
ALEX CONLEY            421 BANTA RD                                                                                         WEST MANCHESTER   OH   45382‐9750

ALEX CRAWFORD          4471 BUCKINGHAM CIR                                                                                  DECATUR           GA   30035‐2109
ALEX CREONA I I I      11602 SARA ANN DR                                                                                    DEWITT            MI   48820‐7795
ALEX D.
ALEX DANKO             37464 SUNNYDALE ST                                                                                   LIVONIA           MI   48154‐1437
ALEX DAVIS             PO BOX 732                                                                                           THOMASVILLE       AL   36784‐0732
ALEX DAWKINS III       PO BOX 12                                                                                            DAYTON            OH   45405‐0012
ALEX DE AMICIS         649 B PULHAM CT                                                                                      MANCHESTER        NJ   08759
ALEX DELOACH JR        7504 ROGER THOMAS DR                                                                                 MOUNT MORRIS      MI   48458‐8934
ALEX DEMETRUK          BEVAN & ASSOCIATES, LPA, INC.       6555 DEAN MEMORIAL PARKWAY                                       BOSTON HTS.       OH   44236
ALEX DEMICHIEL         SCHUETZENROAD, 11                                                           BRUNECK 39031 ITALY
ALEX DENG              3865 PIEDMONTE DR                                                                                    ROCHESTER         MI   48306‐5001
ALEX DEROSE            3473 FAITH ST                                                                                        PORT CHARLOTTE    FL   33952‐8419
ALEX DONEGAN
ALEX DOYLE             6308 PHILLIPS RICE RD                                                                                CORTLAND          OH   44410‐9605
ALEX DRUMMER           BEVAN & ASSOCIATES, LPA, INC.       6555 DEAN MEMORIAL PARKWAY                                       BOSTON HTS.       OH   44236
ALEX DYGA              83 SUGAR MAPLE DR                                                                                    ROCHESTER         NY   14615‐1345
ALEX E BILBREY         PO BOX 340424                                                                                        DAYTON            OH   45434
ALEX E KUHN            KUMMRUTISTRASSE 52                                                          CH 8810 HORGEN
                                                                                                   SWITZERLAND
ALEX ECKERDT           4420 SPRINGBROOK DR                 P.O.BOX 146                                                      SWARTZ CREEK      MI   48473‐1496
ALEX EIDI              5426 SNOWDEN DR                                                                                      TOLEDO            OH   43623‐1534
ALEX ESPARZA           2725 LAZY RIVER LN                                                                                   LAKESIDE          AZ   85929‐6194
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Name                    Address1                        Address2                     Address3   Address4                 City            State   Zip
ALEX EVANS              1174 KENNEBEC RD                                                                                 GRAND BLANC      MI     48439‐4833
ALEX FANGONILO          2542 GLEN DUNDEE WAY                                                                             SAN JOSE         CA     95148‐4134
ALEX FEDAK              4787 N 9 MILE RD                                                                                 PINCONNING       MI     48650‐8941
ALEX FERNANDEZ          606 JUNCTION PEAK CT                                                                             SPARKS           NV     89436‐1831
ALEX FLOREZ             1840 KENNETH LN                                                                                  CHOCTAW          OK     73020‐6495
ALEX FORNAL             23504 W 58TH ST                                                                                  SHAWNEE          KS     66226‐2989
ALEX FRISON             7021 DOVER CT                                                                                    SAINT LOUIS      MO     63130‐1917
ALEX FRUYTIER           PO BOX 484                                                                                       DELAWARE CITY    DE     19706‐0484
ALEX GABRIEL            2785 ONAGON TRL                                                                                  WATERFORD        MI     48328‐3140
ALEX GALLEGOS           7350 E HALIFAX ST                                                                                MESA             AZ     85207‐3809
ALEX GARCIA             BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                       BOSTON HTS.      OH     44236
ALEX GARCIA             10360 NORTHFIELD ROAD , BEVAN                                                                    NORTHFIELD       OH     44067
                        PROFESSIONAL BLDG
ALEX GARDNER JR         1207 PEACE PIPE DR                                                                               KOKOMO           IN     46902‐5454
ALEX GASTON             48 LAUREN CV                                                                                     ATOKA            TN     38004‐7764
ALEX GERULIS            894 NOBLE CT                                                                                     DAVIS            IL     61019‐9763
ALEX GILGINAS           61947 MIRIAM DRIVE                                                                               WASHINGTON       MI     48094‐1428
ALEX GILMORE JR         12876 OZARK VALLEY LN                                                                            GENTRY           AR     72734‐8828
ALEX GINGILOSKI         78070 CAPAC RD                                                                                   ARMADA           MI     48005‐1704
ALEX GOMEZ              15344 BLEDSOE ST                                                                                 SYLMAR           CA     91342‐3746
ALEX GORNEY             1430 VAN VLEET RD                                                                                FLUSHING         MI     48433‐9732
ALEX GRAHAM             8368 HUNTERS CREEK RD                                                                            HOLLAND          NY     14080‐9786
ALEX GREZAK             14355 RICHFIELD ST                                                                               LIVONIA          MI     48154‐4938
ALEX GROF               RAKOCZI U G                                                             GAGYBATOR 3817 HUNGARY

ALEX GUNDRY
ALEX HARVEY (ATHLETE)   125 DE LA SAVANE                                                        ST‐FERREOL QC G0A 3R0
                                                                                                CANADA
ALEX HELMECY            8990 RIDGE RD                                                                                    WOOSTER         OH      44691‐8356
ALEX HERNANDEZ JR       1811 SALT ST                                                                                     SAGINAW         MI      48602‐1256
ALEX HILLER             650 KING CIR                                                                                     LAKE ORION      MI      48362‐2731
ALEX HOLLINS            109 WHIRLAWAY DR                                                                                 ELLENWOOD       GA      30294‐3258
ALEX HOLOTANKO I I I    2635 WHITMAN DR                                                                                  WILMINGTON      DE      19808‐3736
ALEX HUGAN              10215 S CALUMET AVE                                                                              CHICAGO         IL      60628‐2103
ALEX IWASKO             639 HELEN ST                                                                                     GARDEN CITY     MI      48135‐3112
ALEX J AULD             804 INDIANWOOD DR                                                                                STROUDSBURG     PA      18360
ALEX J CARTER           2483 CLEARY RD                                                                                   FLORENCE        MS      39073‐9302
ALEX J CONLEY           421 BANTA ROAD                                                                                   W. MANCHESTER   OH      45382‐9750
ALEX J HERNANDEZ JR     1811 SALT ST                                                                                     SAGINAW         MI      48602‐1256
ALEX J JACKSON          PO BOX 80173                                                                                     LANSING         MI      48908‐0173
ALEX J STRINGER         8560 WELLBAUM RD                                                                                 BROOKVILLE      OH      45309‐8228
ALEX J UHLVING          4742 E ANGELA DR                                                                                 PHOENIX         AZ      85032‐2347
ALEX JACKSON            942 N JENISON AVE                                                                                LANSING         MI      48915‐1313
ALEX JEMISON            2032 HARMON ST                                                                                   YPSILANTI       MI      48198‐6618
ALEX JERRY
ALEX JOHNS              6423 E 700 S                                                                                     JONESBORO       IN      46938‐9721
ALEX JOHNSON            16847 ASHTON AVE                                                                                 DETROIT         MI      48219‐4101
ALEX JOHNSON            5595 INNISBROOK CT                                                                               WESTERVILLE     OH      43082‐8161
ALEX JONES              9751 PETER HUNT ST                                                                               DETROIT         MI      48213‐2788
ALEX JR, JAMES T        4124 HIGHFIELD RD                                                                                ROYAL OAK       MI      48073‐6479
ALEX KADE               1071 HOLLYWOOD AVE                                                                               GROOSE POINTE   MI      48236
                                                                                                                         WOODS
ALEX KARAGANIDES        BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                       BOSTON HTS.     OH      44236
ALEX KASUBIENSKI JR     BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                       BOSTON HTS.     OH      44236
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Name                                Address1                         Address2                    Address3    Address4               City               State   Zip
ALEX KATSINIS                       159 PATTON PL                                                                                   WILLIAMSVILLE       NY     14221‐3757
ALEX KELLNER                        8390 TINDALL RD                                                                                 DAVISBURG           MI     48350‐1650
ALEX KIETUR                         38161 OVERBROOK LN                                                                              WESTLAND            MI     48185‐5689
ALEX KIETUR SR                      33119 BOCK ST                                                                                   GARDEN CITY         MI     48135‐1134
ALEX KIRBY                          1180 CENTENNIAL DR                                                                              CANTON              MI     48187‐5811
ALEX KIVESH                         931 VERMILYA AVE                                                                                FLINT               MI     48507‐1728
ALEX KOBAL                          110 CHRISTINE CT                                                                                EASTLAKE            OH     44095‐1073
ALEX KOCHER                         7717 RUTLAND DR                                                                                 MENTOR              OH     44060‐4069
ALEX KORYTOWSKI                     2931 W 102ND ST                                                                                 EVERGREEN PK         IL    60805‐3554
ALEX KOVACH                         11840 WINTER RD                                                                                 SEBEWAING           MI     48759‐9552
ALEX KOZAKOWSKI                     PO BOX 324                                                                                      LONG LAKE           MI     48743‐0324
ALEX KREGER
ALEX KRIGLOWITZ                     3251 MIRIAM DR S                                                                                COLUMBUS           OH      43204‐1745
ALEX KRSTOVIC
ALEX KRULIKOWSKI                    1787 HICKORY VALLEY RD                                                                          MILFORD            MI      48380‐4275
ALEX KUCHARSKI                      1121 CORAL ISLE WAY                                                                             LAS VEGAS          NV      89108‐1766
ALEX L ALEXOPOULOS                  401 S OLD WOODWARD AVE STE 400                                                                  BIRMINGHAM         MI      48009‐6613
ALEX L FRISON                       7021 DOVER CT                                                                                   SAINT LOUIS        MO      63130‐1917
ALEX L MARTIN                       225 ORVILLE ST APT 11                                                                           FAIRBORN           OH      45324‐2936
ALEX L SHIVACHI                     PO BOX 2682                                                                                     DETROIT            MI      48202‐0682
ALEX L. GRAD AND PAMELA GRAD        2875 PINE GROVE WAY                                                                             LIMA               OH      45805‐4098
ALEX LANG JR                        5602 GRIGGS DR                                                                                  FLINT              MI      48504‐7013
ALEX LAWSON JR                      PO BOX 176                                                                                      HULEN              KY      40845‐0176
ALEX LEE
ALEX LEE INC                        5001 ALEX LEE BLVD                                                                              HICKORY            NC      28601‐3395
ALEX LEE, INC.                      LISA BARLOW                      5001 ALEX LEE BLVD                                             HICKORY            NC      28601‐3395
ALEX LEPRO                          5205 BRIGHT BALDWIN RD                                                                          NEWTON FALLS       OH      44444‐9431
ALEX LESCHUK                        6950 LEPAGE DR                                                                                  BROWN CITY         MI      48416‐9436
ALEX LEWIS                          36 CLAUDE RD                                                                                    TRENTON            NJ      08620‐1645
ALEX LLOYD                          7427 JUNE AVE                                                                                   SAINT HELEN        MI      48656‐9662
ALEX LOPER                          6725 E BINGHAM RD                                                                               MILTON             WI      53563‐9753
ALEX LOPEZ                          LOT 29                           1030 NORTH DELAWARE DRIVE                                      APACHE JCT         AZ      85220‐2503
ALEX M MASTROMARINO                 458‐A HERITAGE HILLS                                                                            SOMERS             NY      10589
ALEX M PELENSKY                     4 MINE ST.                                                                                      NEW BRUNSWICK      NJ      08901‐1112
ALEX M TRINIDAD                     37 W CORNELL AVE                                                                                PONTIAC            MI      48340‐2717
ALEX MA                             6095 HEARTHSIDE DR                                                                              TROY               MI      48098‐5366
ALEX MALDEN JR                      9400 SORRENTO ST                                                                                DETROIT            MI      48228‐2676
ALEX MARENSON
ALEX MCCLELLAND                     18320 S STEEL RD                                                                                HENDERSON          MI      48841‐9508
ALEX MCDADE                         1455 STUBEN DR                                                                                  TROTWOOD           OH      45427‐2155
ALEX MCDONNELL I I I                9752 W COUNTY ROAD 825 N                                                                        MIDDLETOWN         IN      47356‐9708
ALEX MEDRANO                        1822 19TH ST                                                                                    BEDFORD            IN      47421‐4050
ALEX MERDONIK                       11312 ANNA LISA DR                                                                              STERLING HTS       MI      48312‐2104
ALEX MEZDREA                        36237 ARLENE DR                                                                                 STERLING HTS       MI      48310‐4303
ALEX MILLER                         2381 ALTA WEST RD                                                                               MANSFIELD          OH      44903‐8230
ALEX MIZGER JR                      3523 PARKWAY DR                                                                                 LANSING            MI      48910‐4753
ALEX MOISEEFF                       36704 W 9 MILE RD                                                                               FARMINGTON HILLS   MI      48335‐3810

ALEX MONTGOMERY BURKESVILLE, INC.   CHARLES MONTGOMERY               1465 S MAIN ST                                                 BURKESVILLE         KY     42717‐9404

ALEX MONTGOMERY CHEVROLET‐GMC       1465 S MAIN ST                                                                                  BURKESVILLE         KY     42717‐9404
BURKE
ALEX MONTGOMERY CHEVROLET‐GMC       1465 S MAIN ST                                                                                  BURKESVILLE         KY     42717‐9404
BURKESVILLE
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Name                          Address1                         Address2                     Address3      Address4                  City              State Zip
ALEX MONTGOMERY CHEVROLET‐    200 N BYPASS RD                                                                                       CAMPBELLSVILLE     KY 42718‐2659
OLDSMOBIL
ALEX MONTGOMERY CHEVROLET‐    CHARLES MONTGOMERY               200 N BYPASS RD                                                      CAMPBELLSVILLE    KY    42718‐2659
OLDSMOBILE
ALEX MONTGOMERY CHEVROLET‐    200 N BYPASS RD                                                                                       CAMPBELLSVILLE    KY    42718‐2659
OLDSMOBILE‐PONTIAC‐BUICK
ALEX MONTGOMERY, INC.         CHARLES MONTGOMERY               200 N BYPASS RD                                                      CAMPBELLSVILLE    KY    42718‐2659
ALEX MOORE                    809 PAWNEE RD                                                                                         POMONA            KS    66076‐8924
ALEX MORESCHI JR              15 BLUE LANTERN DR                                                                                    SALEM             OH    44460‐7622
ALEX MOURAD                   BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                                           BOSTON HEIGHTS    OH    44236
ALEX N SCHATROPH              1626 DRAYCOTT RD                                                            NORTH VANCOUVER BC V7J‐
                                                                                                          1W4 CANADA
ALEX NAPPIER                  4172 N TORONTO ST                                                                                     MILWAUKEE         WI    53216‐1741
ALEX NIEDZIELSKI I I          16191 WHITEHEAD DR                                                                                    LINDEN            MI    48451‐8773
ALEX NOVAK                    9366 HIDDEN LAKE CIR                                                                                  DEXTER            MI    48130‐9519
ALEX NOWELL                   465 RATLEDGE RD                                                                                       MIDDLETOWN        DE    19709‐9552
ALEX NUNEZ                    68 SOUTHERN PACIFIC ST                                                                                FILLMORE          CA    93015‐1850
ALEX OLANGER                  1173 OXFORD RD                                                                                        BERKLEY           MI    48072‐2013
ALEX ONDA                     24 HUQUENIN LN                                                                                        BLUFFTON          SC    29909‐4546
ALEX OSIPOFF
ALEX OVERBY                   463 S OPDYKE RD                                                                                       AUBURN HILLS      MI    48326‐3140
ALEX P MAAR                   540 BELLAIRE AVE                                                                                      DAYTON            OH    45420‐2304
ALEX PACHON                   17518 SW 139TH CT                                                                                     MIAMI             FL    33177‐7725
ALEX PACHY                    23221 WALTZ RD                                                                                        NEW BOSTON        MI    48164‐9168
ALEX PAHON                    330 VIRGINIA AVE                                                                                      ST CLOUD          FL    34769‐2438
ALEX PASTOR                   407 E FLINT ST                                                                                        DAVISON           MI    48423‐1220
ALEX PETERMAN                 3381 E MAPLE AVE                                                                                      BURTON            MI    48529‐1815
ALEX PHILLIPS                 748 EDMUND ST                                                                                         FLINT             MI    48505‐3923
ALEX PRODUCTS INC             JOHN DUNN                        19‐1911 COUNTY RD T          P.O. BOX 26   ITU, SAO PAULO BRAZIL
ALEX PRODUCTS INC             PO BOX 326                       19‐911 CO RD T                                                       RIDGEVILLE        OH    43555‐0326
                                                                                                                                    CORNERS
ALEX PRODUCTS, INC.           JOHN DUNN                        19‐1911 COUNTY RD T          P.O. BOX 26   ITU, SAO PAULO BRAZIL
ALEX PULLUKAT                 49718 WATERSTONE EST CL                                                                               NORTHVILLE        MI    48168
ALEX R KEDAS                  301 N J ST                                                                                            TILTON            IL    61833‐7448
ALEX RAMIREZ                  3865 GOLDEN HORN LN                                                                                   FORT WORTH        TX    76123‐2561
ALEX RAPPACH                  2608 WEST CAVETT DRIVE                                                                                SHREVEPORT        LA    71104‐3713
ALEX REDASH                   509 WAYSIDE DR                                                                                        BELLEVILLE        MI    48111‐9753
ALEX RIEGELMAN                3994 CATALPA DR                                                                                       BERKLEY           MI    48072‐1043
ALEX RILEY                    292 HAVENWOOD CIR                                                                                     PITTSBURG         CA    94565‐7364
ALEX RILEY                    100 PARK AVE APT 411                                                                                  CALUMET CITY      IL    60409‐5022
ALEX RODGER JR                18211 MARLOWE ST                                                                                      DETROIT           MI    48235‐2763
ALEX ROLLING                  3112 W 13TH ST                                                                                        ANDERSON          IN    46011‐2437
ALEX ROMO AUTOMOTIVE REPAIR   1409 HUNTINGTON DR                                                                                    DUARTE            CA    91010‐2529
ALEX ROTH                     4311 ORCHARD CREST DR                                                                                 WEST BLOOMFIELD   MI    48322‐1705

ALEX ROUWHORST                220 KINGSLEY DR                                                                                       NEWARK            DE    19711‐6925
ALEX RUTLEDGE                 13901 ABINGTON AVE                                                                                    DETROIT           MI    48227‐1301
ALEX SAFETY LANE INC.         1370 PACHECO ST                                                                                       SANTA FE          NM    87505‐3908
ALEX SANCHEZ                  17604 LEAD LN                                                                                         EDMOND            OK    73012‐6959
ALEX SAWYER                   1373 HIGHLAND MDWS                                                                                    FLINT             MI    48532‐2038
ALEX SCKLAN                   839 BUENA VISTA RD                                                                                    VANDERBILT        PA    15486‐1261
ALEX SCOVIAC                  12390 LAPEER RD                                                                                       DAVISON           MI    48423‐8174
ALEX SCRIPNIC
ALEX SEDILLO                  309 CAMPO ST                                                                                          GRAND PRAIRIE      TX   75051‐4907
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Name                                  Address1                            Address2                        Address3   Address4               City           State   Zip
ALEX SERIEUX                          24620 PINE VILLAGE BLVD 4                                                                             OAK PARK        MI     48237
ALEX SHARP                            21883 STATE ROUTE 694                                                                                 CLOVERDALE      OH     45827‐9676
ALEX SHARP III                        17360 RUTHERFORD ST                                                                                   DETROIT         MI     48235‐3557
ALEX SHAW                             15426 S LOWELL RD                                                                                     LANSING         MI     48906‐9393
ALEX SHULER                           20 DANN RD APT F                                                                                      EAST AMHERST    NY     14051‐1186
ALEX SILVESTRI                        2511 45TH ST                                                                                          ASTORIA         NY     11103‐1122
ALEX SIMANOVSKY & ASSOC &             GREGORY & JODY SANFORD              2300 HENDERSON MILL RD NE STE                                     ATLANTA         GA     30345‐2704
ALEX SIMANOVSKY & ASSOC &             JULIA WOOD                          2300 HENDERSON MILL RD NE STE                                     ATLANTA         GA     30345‐2704
ALEX SIMANOVSKY & ASSOC &             RIKKI MARLER                        2300 HENDERSON MILL RD NE STE                                     ATLANTA         GA     30345‐2704
ALEX SIMANOVSKY & ASSOC &             JAMIE DOUGLAS                       2300 HENDERSON MILL RD NE STE                                     ATLANTA         GA     30345‐2704
ALEX SIMANOVSKY & ASSOC &             BRYCE & TAMARA CUDDY                2300 HENDERSON MILL RD NE STE                                     ATLANTA         GA     30345‐2704
ALEX SIMANOVSKY & ASSOC & ADAM        2300 HENDERSON MILL RD NE STE 300                                                                     ATLANTA         GA     30345‐2704
STEIGROD
ALEX SIMANOVSKY & ASSOC & ANGELITA 2300 HENDERSON MILL RD NE STE 300                                                                        ATLANTA         GA     30345‐2704
SALAZAR
ALEX SIMANOVSKY & ASSOC & APRIL       2300 HENDERSON MILL RD NE STE 300                                                                     ATLANTA         GA     30345‐2704
KENNEDY
ALEX SIMANOVSKY & ASSOC & APRIL ZINCK 2300 HENDERSON MILL RD NE STE 300                                                                     ATLANTA         GA     30345‐2704

ALEX SIMANOVSKY & ASSOC & CHRISTINE   2300 HENDERSON MILL RD NE STE 300                                                                     ATLANTA         GA     30345‐2704
ROBERTS
ALEX SIMANOVSKY & ASSOC & DAVID &     2300 HENDERSON MILL RD NE STE 300                                                                     ATLANTA         GA     30345‐2704
REBECCA WILLIAMS
ALEX SIMANOVSKY & ASSOC & GARY        2300 HENDERSON MILL RD NE STE 300                                                                     ATLANTA         GA     30345‐2704
SINGER
ALEX SIMANOVSKY & ASSOC AND           JEREMIAH & BRENDA WAITES            2300 HENDERSON MILL RD NE STE                                     ATLANTA         GA     30345‐2704
ALEX SIMANOVSKY & ASSOC LLC & CAROL   2300 HENDERSON MILL RD NE STE 300                                                                     ATLANTA         GA     30345‐2704
CORBIN‐SIM
ALEX SIMANOVSKY & ASSOC PC &          KIMBERLY STANICH                    2300 HENDERSON MILL RD NE STE                                     ATLANTA         GA     30345‐2704
ALEX SIMANOVSKY & ASSOCIATE &         MICHAEL E HENIGE                    2300 HENDERSON MILL RD NE STE                                     ATLANTA         GA     30345‐2704
ALEX SIMANOVSKY & ASSOCIATES          HESPER BRECHT & MISTY BYRON         2300 HENDERSON MILL RD NE STE                                     ATLANTA         GA     30345‐2704
ALEX SIMANOVSKY & ASSOCIATES &        BRENDA L TICE                       2300 HENDERSON MILL RD NE STE                                     ATLANTA         GA     30345‐2704
ALEX SIMANOVSKY & ASSOCIATES &        JAMES T PICCOLO                     2300 HENDERSON MILL RD NE STE                                     ATLANTA         GA     30345‐2704
ALEX SIMANOVSKY & ASSOCIATES & MATT   2300 HENDERSON MILL RD NE STE 300                                                                     ATLANTA         GA     30345‐2704
& SHERRY CONLEY
ALEX SIMANOVSKY & ASSOCIATES &        2300 HENDERSON MILL RD NE STE 300                                                                     ATLANTA         GA     30345‐2704
RAYMOND & MODESTA VASQUE
ALEX SIMANOVSKY AND ASSOC &           SARAH HANDKE                        2300 HENDERSON MILL RD NE STE                                     ATLANTA         GA     30345‐2704
ALEX SIMANOVSKY AND ASSOC AND         SUSAN SHEUERMAN                     2300 HENDERSON MILL RD NE STE                                     ATLANTA         GA     30345‐2704
ALEX SIMANOVSKY AND ASSOC AND         WILLIAM AND MICHELLE MCGAHEY        2300 HENDERSON MILL RD NE STE                                     ATLANTA         GA     30345‐2704
ALEX SIMANOVSKY AND ASSOC AND         JASON AND CORINNE PRICE             2300 HENDERSON MILL RD NE STE                                     ATLANTA         GA     30345‐2704
ALEX SIMANOVSKY AND ASSOC AND         KRISTIN TAMAS                       2300 HENDERSON MILL RD NE STE                                     ATLANTA         GA     30345‐2704
ALEX SIMANOVSKY AND ASSOCIATES        2300 HENDERSON MILL RD NE STE 300                                                                     ATLANTA         GA     30345‐2704
ALEX SIMANOVSKY AND ASSOCIATES        ROMUALDO AND BARBARA CISNEROS       2300 HENDERSON MILL RD NE STE                                     ATLANTA         GA     30345‐2704
ALEX SIMANOVSKY AND DAVID             SCHEUERER                           2300 HENDERSON MILL RD NE STE                                     ATLANTA         GA     30345‐2704
ALEX SIMANOVSKY LLC & CARMEN          NUNEZ‐PENA                          1632 65TH ST                                                      BROOKLYN        NY     11204‐3603
ALEX SKY                              1335 W SUMMER POPPY DR                                                                                SAINT GEORGE    UT     84790‐7011
ALEX SMEE                             2370 COLVIN BOULEVARD EXT APT 2                                                                       TONAWANDA       NY     14150‐4433
ALEX SMOLKA                           33 E CHAMPLAIN AVE APT D                                                                              WILMINGTON      DE     19804‐1653
ALEX SOKOL                            2326 W COUNTY LINE RD                                                                                 INDIANAPOLIS    IN     46217‐4662
ALEX SPITZLEY                         4740 W HOWE RD                                                                                        DEWITT          MI     48820‐9298
ALEX STANTON
ALEX STATS                            19115 HOMEWAY RD                                                                                      CLEVELAND      OH      44135‐4033
ALEX STEFAN JR                        1200 WILLOWDALE AVE                                                                                   KETTERING      OH      45429‐4737
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Name                              Address1                             Address2                     Address3     Address4                 City              State   Zip
ALEX STEFAN JR                    1200 WILLOWDALE AVE.                                                                                    KETTERING          OH     45429‐4737
ALEX STEWART                      455 WOOSLEY DR                                                                                          SMITHS GROVE       KY     42171‐7283
ALEX STRINGER                     8560 WELLBAUM RD                                                                                        BROOKVILLE         OH     45309‐8228
ALEX STROJNY                      5351 SHARON MARIE CT                                                                                    LAS VEGAS          NV     89118‐1832
ALEX SUNIGA                       6911 BOTHWELL RD                                                                                        RESEDA             CA     91335‐3610
ALEX SZENDIUCH                    33 BRIMFIELD WAY                                                                                        ROCKY HILL         CT     06067‐2231
ALEX TAMSULA                      1545 LEAR RD                                                                                            BLAIRSVILLE        PA     15717‐8240
ALEX TARASZKIEWICZ                679 FOX AVE                                                                                             YPSILANTI          MI     48198‐6149
ALEX TAYLOR                       500 WEBBER ST                                                                                           SAGINAW            MI     48601‐3244
ALEX TEPER                        3141 YORKSHIRE DR                                                                                       BARDSTOWN          KY     40004‐9431
ALEX THOMAS                       6200 S ABERDEEN ST                                                                                      CHICAGO             IL    60621‐1320
ALEX THOMAS JR                    19732 MANSFIELD ST                                                                                      DETROIT            MI     48235‐2331
ALEX TICE
ALEX TILLMAN                      6008 MAPLEBROOK LN                                                                                      FLINT             MI      48507‐4137
ALEX TOTH                         1831 DETROIT ST                                                                                         DEARBORN          MI      48124‐4149
ALEX TOTH                         BEVAN & ASSOCIATES LPA INC           6555 DEAN MEMORIAL PARKWAY                                         BOSTON HEIGHTS    OH      44236
ALEX TREVINO                      1406 BLUEWATER DR                                                                                       SUN CITY CENTER   FL      33573‐6276
ALEX TSIROS                       37 DENNISON AVE                                                                                         FRAMINGHAM        MA      01702‐6416
ALEX TURNBULL                     1457 WESTBROOKE DR                                                                                      LAPEER            MI      48446‐1259
ALEX TURNER                       8532 N BLACKMER RD                                                                                      VESTABURG         MI      48891‐9761
ALEX VAIDO                        22710 W CEDAR AVE                                                                                       CURTICE           OH      43412‐9634
ALEX VANDERBERG                   1612 HELEN ST                                                                                           BAY CITY          MI      48708‐5515
ALEX VARGA                        655 CASCADES DR.                                                                                        AURORA            OH      44202‐7798
ALEX VARGO                        THE LAW OFFICES OF PETER G ANGELOS   100 NORTH CHARLES            22ND FLOOR                            BALTIMORE         MD      21201

ALEX VASQUEZ                      1649 HIGHWAY JJ                                                                                         ELSBERRY          MO      63343‐3620
ALEX VILLEGAS                     1122 HEWITT ST                                                                                          SAN FERNANDO      CA      91340‐3910
ALEX VIOLA                        VIA MILANO 25                                                                                           TRENTO ITALY      NY      38100
ALEX VIOLA                        VIA MILANO NR 25                     38100 TRENTO
ALEX VIOLA                        MILANO STREET, 25                                                              38100 TRENTO ITALY
ALEX VITAL                        1032 ANCESTRY DR APT 3                                                                                  FAYETTEVILLE      NC      28304‐3452
ALEX W GEORGE                     1951 HARRIS LANE                                                                                        XENIA             OH      45385
ALEX WALKER                       4729 NEPTUNE DR SE                                                                                      ST PETERSBURG     FL      33705‐4238
ALEX WASHINGTON                   19191 MARLOWE ST                                                                                        DETROIT           MI      48235‐1946
ALEX WEINGARTEN                   4141 COLBOTH AVE                                                                                        SHERMAN OAKS      CA      91423
ALEX WEISS                        4450 SEDUM GLN                                                                                          WATERFORD         MI      48328‐1153
ALEX WILLIAMSON                   3471 TURNER RD                                                                                          TURNER            MI      48765‐9732
ALEX WILSON                       1991 HUMMER LAKE RD                                                                                     OXFORD            MI      48371‐2919
ALEX WINSTEAD                     774 HIGHWAY 852                                                                                         RAYVILLE          LA      71269‐6018
ALEX WOZNIAK                      6890 DR MARTIN LUTHER KING JR ST S                                                                      ST PETERSBURG     FL      33705‐6236
ALEX YAKUBOVICH                   128 CLARK CIR                                                                                           BOWLING GREEN     KY      42103‐9562
ALEX YANCOSKIE                    2023 FIDDLEBACK DR                                                                                      MC KEES ROCKS     PA      15136‐1576
ALEX YOUNG                        1314 WOODRUFF AVE                                                                                       SAINT LOUIS       MO      63133‐1618
ALEX YOVANOVICH                   5481 E COUNTY ROAD 450 N                                                                                BROWNSBURG        IN      46112‐9773
ALEX ZENOVIC                      BEVAN & ASSOCIATES LPA INC           6555 DEAN MEMORIAL PARKWAY                                         BOSTON HTS        OH      44236
ALEX ZIELKE                       6664 RON PARK PL                                                                                        YOUNGSTOWN        OH      44512‐4139
ALEX ZINNERMAN SR                 C/O WILLIAMS KHERKHER HART &         8441 GULF FREEWAY, STE 600                                         HOUSTON           TX      77007
                                  BOUNDAS, LLP
ALEX'S AUTOMOTIVE REPAIR CENTER                                        3190 BAYSHORE RD                                                   BENICIA            CA     94510
ALEX, DATHYLANE                   2324 W PALOMINO DR                                                                                      CHANDLER           AZ     85224‐2194
ALEX, EDWARD L                    3310 W HOWELL RD                                                                                        MASON              MI     48854‐9539
ALEX, FRANK J                     8060 WESTLAWN CT                                                                                        SAGINAW            MI     48609‐9538
ALEX, GEORGE V                    3660 S 78TH ST                                                                                          MILWAUKEE          WI     53220‐1002
ALEX, JANIS A                     2314 MONTEITH ST                                                                                        FLINT              MI     48504‐4658
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Name                                Address1                       Address2                   Address3     Address4                  City           State   Zip
ALEX, JOHN A                        5213 E 136TH ST                                                                                  SAND LAKE       MI     49343‐9632
ALEX, JOY E                         5213 E 136TH ST                                                                                  SAND LAKE       MI     49343‐9632
ALEX, PAULINE A                     5750 ANTILLES DR                                                                                 SARASOTA        FL     34231‐4906
ALEX, RONALD E                      3935 WINN RD                                                                                     GLENNIE         MI     48737‐9408
ALEX, SANDRA J                      678 CAVALCADE CIR                                                                                NAPERVILLE       IL    60540‐7604
ALEX, STELLA                        31871 HOOVER RD                                                                                  WARREN          MI     48093‐1717
ALEXA ELLSWOOD                      47205 W ANN ARBOR TRL                                                                            PLYMOUTH        MI     48170‐3443
ALEXA FRUEH                         OESCHWEG 5                     DE 88276 BERG              GERMANY
ALEXA FRUEH                         DR STEINHUBEL & V BUTTLAR      LOEFFELSTRASSE 44                       70597 STUTTGART GERMANY
                                    RECHTSANWALTE
ALEXA FR▄H                          L╓FFELSTR 44
ALEXA PHILIPP                       SPANDAUER STR 2                                                        10178 BERLIN GERMANY
ALEXAI, FRANK                       615 MAPLE AVE                                                                                    LINDEN          NJ     07036‐2737
ALEXAN, YOUBERD                     2124 SEWARD ST                                                                                   EVANSTON        IL     60202‐1948
ALEXANDE JIMENEZ                    4512 W PLEASANT LN                                                                               LAVEEN          AZ     85339‐1934
ALEXANDER
ALEXANDER                           2617 E CHAPMAN AVE STE 201                                                                       ORANGE          CA     92869‐3222
ALEXANDER MUEHLBAUER                2340 GRAHAM CIR                                                                                  DUBUQUE         IA     52002‐2723
ALEXANDER & ALEXANDER               500 RENAISSANCE CTR STE 1700                                                                     DETROIT         MI     48243‐1925
ALEXANDER & ALEXANDER OF MICH INC   PO BOX 73358                                                                                     CHICAGO         IL     60673‐0001

ALEXANDER & PARTNERS LLC            DBA GATSBYS FINE FLORIST       5134 E PARADISE LN                                                SCOTTSDALE      AZ     85254‐1044
ALEXANDER & STEPHENSON TRANSPORT    6 COLONIA DR                                                                                     LONG BRANCH     NJ     07740‐7732
LLC
ALEXANDER A BITOLAS                 16237 MOSSDALE AVE                                                                               LANCASTER      CA      93535‐7319
ALEXANDER ADJEMIAN                  23673 SANDALWOOD ST                                                                              WEST HILLS     CA      91307
ALEXANDER AGUIRRE                   APT 101                        3745 CASS ELIZABETH ROAD                                          WATERFORD      MI      48328‐4541
ALEXANDER ALEXANDER (407663)        WOLFE TROYCE G                 4807 W LOVERS LN                                                  DALLAS         TX      75209‐3137
ALEXANDER ALEXANDER JR              145 GLADE CIRCLE WEST                                                                            REHOBOTH BCH   DE      19971‐4124
ALEXANDER ALEXANDRIA                PO BOX 23710                                                                                     JACKSONVILLE   FL      32241‐3710
ALEXANDER ALLEN                     10061 SW 95TH AVE                                                                                OCALA          FL      34481‐8981
ALEXANDER ALTEA                     9431 BRENTWOOD DR APT 34                                                                         LA VISTA       NE      68128‐8219
ALEXANDER ALVARADO                  210 LOCKE ST                                                                                     HOLLY          MI      48442‐1524
ALEXANDER ANDREWS                   9631 LAKESIDE DR                                                                                 YPSILANTI      MI      48197‐3031
ALEXANDER ANDROFF                   46233 FORESTWOOD DR                                                                              PLYMOUTH       MI      48170‐3558
ALEXANDER ANTONCHAK                 4248 SMITH STEWART RD                                                                            VIENNA         OH      44473‐9613
ALEXANDER ATANASSOW                 ADLERHORST 16                                                          45478 MUELHEM GERMANY
ALEXANDER AUTO CENTER               1601 ESCONDIDO ST                                                                                KENEDY         TX      78119
ALEXANDER AUTO REPAIR               174 VISTA PARK WAY                                                                               AVON           IN      46123‐7658
ALEXANDER AUTO REPAIR               9145 E US HIGHWAY 36                                                                             AVON           IN      46123‐7955
ALEXANDER AWRYLO                    9222 ROLSTON RD                                                                                  GAINES         MI      48436‐9734
ALEXANDER BABIN                     69440 BROOKHILL DR                                                                               BRUCE TWP      MI      48065‐4209
ALEXANDER BALIKO I I I              2012 CHERRY RD                                                                                   EDGEWOOD       MD      21040‐2412
ALEXANDER BALLIOS                   2075 ATLAS DR                                                                                    TROY           MI      48083‐2664
ALEXANDER BALLISTREA                3252 SENECA ST APT 12                                                                            BUFFALO        NY      14224‐2784
ALEXANDER BANGHART                  11835 WOODLAND DR                                                                                LENNON         MI      48449‐9601
ALEXANDER BANKS                     EDENBOUGH CIRCLE               820 APT. 102                                                      AUBURN HILLS   MI      48326
ALEXANDER BARCAS SR                 407 OAK ST                                                                                       LOCKPORT       IL      60441
ALEXANDER BARGE JR                  26420 DALE CT                                                                                    ROSEVILLE      MI      48066‐7108
ALEXANDER BECK                      EBRANTSHAUSER STR 8                                                    84048 MAINBURG GERMANY

ALEXANDER BERLINER AND              MILDRED BERLINER JTWROS        2729 PUTNAM ST                                                    COLUMBIA        SC     29204‐2621
ALEXANDER BIALKOWSKI                ADENAUERRING 11                                                        D 90552 ROTHENBACH
                                                                                                           GERMANY
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Name                                 Address1                        Address2                     Address3   Address4               City              State   Zip
ALEXANDER BIEDRON                    4190 POMEROY AVE                                                                               WATERFORD          MI     48329‐2050
ALEXANDER BIEDRON SR.                4190 POMEROY AVE                                                                               WATERFORD          MI     48329‐2050
ALEXANDER BIEDRON, SR.               4190 POMEROY AVE                                                                               WATERFORD          MI     48329‐2050
ALEXANDER BIGGER                     1016 TOM OSBORNE RD                                                                            COLUMBIA           TN     38401‐6738
ALEXANDER BILINSKI                   9980 METCALF RD                                                                                GREENWOOD          MI     48006‐2509
ALEXANDER BINZEL CORP                650 RESEARCH DR STE 110                                                                        FREDERICK          MD     21703‐2602
ALEXANDER BINZEL CORP                650 MEDIMMUNE COURT SUITE 110                                                                  FREDERICK          MD     21703
ALEXANDER BITOLAS                    16237 MOSSDALE AVE                                                                             LANCASTER          CA     93535‐7319
ALEXANDER BJORKLUND                  229 E 53RD ST APT 2W                                                                           NEW YORK           NY     10022‐4817
ALEXANDER BLACK                      623 PARSONS DR                                                                                 SYRACUSE           NY     13219‐2351
ALEXANDER BLACK                      15 JERBEN DR                                                                                   STONY POINT        NY     10980‐2703
ALEXANDER BOHIL                      3350 W EPTON RD                                                                                HENDERSON          MI     48841‐9756
ALEXANDER BONCZKIEWICZ JR            217 WESTFIELD AVE                                                                              DEFIANCE           OH     43512‐1435
ALEXANDER BONDURIS                   15 OAKMONT CT                                                                                  SIMPSONVILLE       SC     29681‐4969
ALEXANDER BRACKETT                   3519 HIALEAH LN                                                                                SAGINAW            MI     48601‐5645
ALEXANDER BRADSHAW                   6539 CHARLOTTE HWY                                                                             YORK               SC     29745‐6602
ALEXANDER BRAXTON                    5214 HILLWELL RD                                                                               BALTIMORE          MD     21229‐3225
ALEXANDER BROWN                      2650 GUILDFORD DR                                                                              FLORISSANT         MO     63033‐2435
ALEXANDER BRUCE CURCIO               50 AURA DE BLANCO ST # 1104                                                                    HENDERSON          NV     89074
ALEXANDER BRUSH                      1141 BROOKSIDE CT                                                                              OXFORD             MI     48371‐6054
ALEXANDER BUCHAN                     30040 DELL LN                                                                                  WARREN             MI     48092‐1877
ALEXANDER BUFFALO
ALEXANDER BUL                        2057 ELKHORN DR                                                                                ROCHESTER HILLS   MI      48307‐3826
ALEXANDER BURKE                      19343 ROSCOMMON ST                                                                             HARPER WOODS      MI      48225‐2117
ALEXANDER BURKS                      526 S 4TH AVE                                                                                  SAGINAW           MI      48601‐2130
ALEXANDER BURNETT                    5435 STREEFKERK DR                                                                             WARREN            MI      48092‐3117
ALEXANDER C CAMPBELL                 3060 E STANLEY RD                                                                              MOUNT MORRIS      MI      48458‐8805
ALEXANDER CAMPBELL                   3060 E STANLEY RD                                                                              MOUNT MORRIS      MI      48458‐8805
ALEXANDER CANALES                    1647 CEDARLANE DR                                                                              JENISON           MI      49428‐8116
ALEXANDER CARD JR                    6123 LAKEVIEW S                                                                                SAGINAW           MI      48603‐4249
ALEXANDER CARLING                    22075 NELSON ST                                                                                WOODHAVEN         MI      48183‐1536
ALEXANDER CARTER                     111 SUZANNE CV                                                                                 CLINTON           MS      39056
ALEXANDER CARTWRIGHT JR              18418 KENNA DR                                                                                 CLINTON TWP       MI      48035‐2459
ALEXANDER CASTAGNA                   5249 CALLE MORELIA                                                                             SANTA BARBARA     CA      93111‐2439
ALEXANDER CAUTHER                    155 RHETT DR                                                                                   MC CORMICK        SC      29835‐2947
ALEXANDER CERONE                     27 EVANWOOD CIR                                                                                ROCHESTER         NY      14626‐3763
ALEXANDER CHAVEZ                     2765 CECELIA ST                                                                                SAGINAW           MI      48602‐5743
ALEXANDER CHEMICAL CORPORATION       2347 PAYSPHERE CIR                                                                             CHICAGO           IL      60674‐0023
ALEXANDER CHEVROLET INC              7710 US HIGHWAY 431                                                                            ALBERTVILLE       AL      35950‐1131
ALEXANDER CHEVROLET LLC              2211 HIGHWAY 46 S                                                                              DICKSON           TN      37055‐9503
ALEXANDER CHEVROLET, LLC             DONALD ALEXANDER                2211 HIGHWAY 46 S                                              DICKSON           TN      37055‐9503
ALEXANDER CHEVROLET‐BUICK‐PONTIAC,   1505 W MAIN ST                                                                                 CENTRE            AL      35960‐1127

ALEXANDER CHEVROLET‐BUICK‐PONTIAC, LEON ALEXANDER                    1505 W MAIN ST                                                 CENTRE             AL     35960‐1127
INC.
ALEXANDER CHEVROLET‐BUICK‐PONTIAC, 1505 W MAIN ST                                                                                   CENTRE             AL     35960‐1127
INC.
ALEXANDER CHEVROLET‐BUICK‐PONTIAC‐G 1422 NW BROAD ST                                                                                MURFREESBORO       TN     37129‐1708

ALEXANDER CHEVROLET‐BUICK‐PONTIAC‐   1422 NW BROAD ST                                                                               MURFREESBORO       TN     37129‐1708
GMC‐CADILLAC
ALEXANDER CHEVROLET‐CADILLAC, LLC    DONALD ALEXANDER                1422 NW BROAD ST                                               MURFREESBORO       TN     37129‐1708

ALEXANDER CHOBAN                     BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                                     BOSTON HEIGHTS    OH      44236
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Name                                  Address1                          Address2                          Address3      Address4                   City               State Zip
ALEXANDER CHOMA                       65 PRINCE CHARLES DR                                                                                         TOMS RIVER          NJ 08757‐6574
ALEXANDER CHRISTOSKOFF                AM MITBACH 32                     CHRISTOSKOFF@GMX.NET                                                       EUSKIRCHEN               53879
ALEXANDER CHRISTOSKOFF                AM MITBACH 32                                                                                                EUSKIRCHEN               53879
ALEXANDER CHRISTOSKOFF                AM MITBACH 32                     53879 EUSKIRCHEN                  DEUTSCHLAND                              EUSKIRCHEN               53879
ALEXANDER CHUNG                       2070 PAULS WAY                                                                                               COMMERCE            MI 48390‐3226
                                                                                                                                                   TOWNSHIP
ALEXANDER CIUFO                       197 GLENWOOD AVE                                                                                             YPSILANTI          MI   48198‐5965
ALEXANDER CLARK                       127 W VALENCIA ST                                                                                            RIALTO             CA   92376‐4265
ALEXANDER COMPARONI JR                82 CRESCENT AVE                                                                                              LAKE ORION         MI   48362‐2328
ALEXANDER CONNER                      3150 DEOVOLENTE RD                                                                                           BELZONI            MS   39038‐4160
ALEXANDER COOK                        6856 SE TWIN OAKS CIR                                                                                        STUART             FL   34997‐8125
ALEXANDER CORDERO                     353 SIMMONSVILLE RD                                                                                          JOHNSTON           RI   02919
ALEXANDER COUNTY TAX OFFICE           PO BOX 38                                                                                                    TAYLORSVILLE       NC   28681‐0038
ALEXANDER CRAWFORD                    340 N LEONA AVE                                                                                              GARDEN CITY        MI   48135‐2636
ALEXANDER CSAPO JR                    18 FARNSWORTH AVE                                                                                            BORDENTOWN         NJ   08505‐1348
ALEXANDER CZAJKA                      152 TOM SWAMP RD                                                                                             ATHOL              MA   01331‐9413
ALEXANDER D KROEPLIN                  4681 ECKLES ST                                                                                               CLARKSTON          MI   48346‐3510
ALEXANDER D ZBROZEK                   902 GRANVILLE COURT                                                                                          LEXINGTON          KY   40503
ALEXANDER DAMITA                      ALEXANDER, DAMITA                 120 WEST MADISON STREET , 10TH                                             CHICAGO            IL   60602
                                                                        FLOOR
ALEXANDER DANDOY                      770 N CLEAR LAKE RD                                                                                          WEST BRANCH        MI   48661‐8400
ALEXANDER DAVID (664753)              WISE & JULIAN                     156 N MAIN ST STOP 1                                                       EDWARDSVILLE       IL   62025‐1972
ALEXANDER DAVIDSON                    85 LAKEVIEW LN                                                                                               STEWART            TN   37175‐5063
ALEXANDER DAVIS                       25736 GRAND CONCOURSE ST                                                                                     SOUTHFIELD         MI   48075‐1751
ALEXANDER DEAN                        PO BOX 68                                                                                                    WESTFIELD          WI   53964‐0068
ALEXANDER DEBASH                      5067 BRISTOR DR                                                                                              STERLING HEIGHTS   MI   48310‐4624
ALEXANDER DELFOSSE                    9435 BAIRD RD                                                                                                SHREVEPORT         LA   71118‐3911
ALEXANDER DELIGORGES                  7107 THORMRIDGE DRIVE             BUILDING 7                                                                 GRAND BLANC        MI   48439
ALEXANDER DEWALD JR                   7843 AKRON RD                     RR1                                                                        FAIRGROVE          MI   48733‐9750
ALEXANDER DIEBOLD                     KUHNERTSTR. 8                                                                                                BERLIN                  13595
ALEXANDER DIETZ                       SCHNEIDERSTR 4                                                                    65931 FRANKFURT GERMANY

ALEXANDER DIOYENIS                    8880 E BURSAGE DR                                                                                            GOLD CANYON        AZ   85218‐7060
ALEXANDER DOAN                        2299 4 MILE RD                                                                                               KAWKAWLIN          MI   48631‐9148
ALEXANDER DONALDSON                   2460 BRIDLE CREEK TRAIL                                                                                      CHANHASSEN         MN   55317
ALEXANDER DONASKI                     10271 JEWELL RD                                                                                              GAINES             MI   48436‐9721
ALEXANDER DREWEKE                     OESTLICHE RINGSTRASSE 6                                                           85049 INGOLSTADT GERMANY

ALEXANDER DROB                        4452 CLOVERLANE AVE NW                                                                                       WARREN             OH   44483‐1604
ALEXANDER DUNKLE                      13127 BOTTOM RD                                                                                              HYDES              MD   21082‐9737
ALEXANDER E KORDUBA                   9204 S MAIN ST                                                                                               PLYMOUTH           MI   48170‐4118
ALEXANDER EATON JR                    7628 HIDDEN VALLEY LN                                                                                        PARMA              OH   44129‐6645
ALEXANDER ELLIS                       5100 ROCKWOOD DR                                                                                             GRAND BLANC        MI   48439‐4258
ALEXANDER ELMER                       13970 DIXIE                                                                                                  REDFORD            MI   48239‐2802
ALEXANDER ERIC & CAROLINE             5012 N TUPELO TURN                                                                                           WILMINGTON         DE   19808‐1024
ALEXANDER ERIC N                      ALEXANDER, ERIC N                 30 EAST BUTLER PIKE , SUITE 310                                            AMBLER             PA   19002
ALEXANDER EUGENE                      UNIT 1003                         2695 VALLEYVIEW BOULEVARD                                                  SAN ANGELO         TX   76904‐3524
ALEXANDER F HOEKSTRA                  668 FAIRWAY DR                    SUITE 143                                                                  SAN BERNADINO      CA   92408
ALEXANDER FAITH                       10860 BIG POOL RD                                                                                            BIG POOL           MD   21711‐1200
ALEXANDER FAMILY PONTIAC, BUICK, OL   399 CENTRAL RD                                                                                               BLOOMSBURG         PA   17815‐3126

ALEXANDER FAMILY PONTIAC, BUICK,      BLAISE ALEXANDER                  399 CENTRAL RD                                                             BLOOMSBURG         PA   17815‐3126
OLDSMOBILE, GMC TRUCK, INC.
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ALEXANDER FAMILY PONTIAC, BUICK,   399 CENTRAL RD                                                                                       BLOOMSBURG         PA 17815‐3126
OLDSMOBILE, GMC TRUCK, INC.
ALEXANDER FARKAS                   1200 JANET DR NE                                                                                     WARREN            OH   44481‐9360
ALEXANDER FAWRA                    423 STERLING AVE                                                                                     NEW CASTLE        DE   19720‐4778
ALEXANDER FERNANDEZ JR             5119 NEWCASTLE LN                                                                                    SAN ANTONIO       TX   78249‐1782
ALEXANDER FETTERS                  1305 N CEDAR CREST DR                                                                                INDEPENDENCE      MO   64056‐1126
ALEXANDER FILANOVSKY               4966 WALNUT CREEK DR                                                                                 WEST BLOOMFIELD   MI   48322‐3492

ALEXANDER FLEMING                  83 WATERMAN ST                                                                                       LOCKPORT          NY   14094‐4956
ALEXANDER FLORIES                  19171 SEMINOLE                                                                                       REDFORD           MI   48240‐1619
ALEXANDER FODOR                    15293 COUNTY ROAD 169                                                                                DEFIANCE          OH   43512‐8358
ALEXANDER FORD‐MERCURY, INC.       ROBERT ALEXANDER                  1601 ESCONDIDO ST                                                  KENEDY            TX   78119
ALEXANDER FRANCE                   22405 RIVERDALE DR                                                                                   SOUTHFIELD        MI   48033‐5952
ALEXANDER FRANCO                   582 LAKEVIEW DR                                                                                      CENTER            TX   75935‐9272
ALEXANDER FRANK                    47133 N POINTE DR                                                                                    CANTON            MI   48187‐1453
ALEXANDER FRAZIER                  11 BROOKS ST                                                                                         MAYNARD           MA   01754‐2309
ALEXANDER FRED (438455)            GEORGE & SIPES                    151 N DELAWARE ST STE 1700                                         INDIANAPOLIS      IN   46204‐2503
ALEXANDER FRED JR (503477)         BRAYTON PURCELL                   PO BOX 6169                                                        NOVATO            CA   94948‐6169
ALEXANDER FRED L                   C/O EDWARD O MOODY P A            801 W 4TH ST                                                       LITTLE ROCK       AR   72201
ALEXANDER FREDDIE MAE              C/O EDWARD O MOODY PA             801 WEST 4TH STREET                                                LITTLE ROCK       AR   72201
ALEXANDER FREDERICK                3365 CROOKED LIMB CT                                                                                 FLUSHING          MI   48433‐2201
ALEXANDER FRIGAULT JR              6034 INDRIO RD APT 1                                                                                 FORT PIERCE       FL   34951
ALEXANDER FRISHCOSY                21239 PARKSTONE                                                                                      MACOMB            MI   48044‐2252
ALEXANDER FRITZLER I I             7168 W FARRAND RD                                                                                    CLIO              MI   48420‐9424
ALEXANDER FUCHSLE                  IM SONNENWINKEL 4                                                         89150 LAICHINGEN GERMANY

ALEXANDER G JIMENEZ                4512 W PLEASANT LN                                                                                   LAVEEN            AZ   85339‐1934
ALEXANDER GADANY                   35000 MITCHELL ST                                                                                    GRAND BLANC       MI   48439‐7228
ALEXANDER GANGAROSSA               10431 SE 49TH CT APT 13                                                                              BELLEVIEW         FL   34420‐3175
ALEXANDER GANHS                    3898 PERCY KING RD                                                                                   WATERFORD         MI   48329‐1366
ALEXANDER GARCIA                   137 W HONEYSUCKLE LN                                                                                 DECATUR           IN   46733‐7430
ALEXANDER GARLAND RAY (662735)     MOODY EDWARD O                    801 W 4TH ST                                                       LITTLE ROCK       AR   72201‐2107
ALEXANDER GARLAND RAY (662735) ‐   MOODY EDWARD O                    801 W 4TH ST                                                       LITTLE ROCK       AR   72201‐2107
ALFORD RUBY JEAN
ALEXANDER GARLAND RAY (662735) ‐   MOODY EDWARD O                    801 W 4TH ST                                                       LITTLE ROCK       AR   72201‐2107
ALLISON GEORGE L
ALEXANDER GARLAND RAY (662735) ‐   MOODY EDWARD O                    801 W 4TH ST                                                       LITTLE ROCK       AR   72201‐2107
BREWER FLOYD
ALEXANDER GARLAND RAY (662735) ‐   MOODY EDWARD O                    801 W 4TH ST                                                       LITTLE ROCK       AR   72201‐2107
CRAIG MARY ANN
ALEXANDER GARLAND RAY (662735) ‐   MOODY EDWARD O                    801 W 4TH ST                                                       LITTLE ROCK       AR   72201‐2107
FRANKS LINDA JOYCE
ALEXANDER GARLAND RAY (662735) ‐   MOODY EDWARD O                    801 W 4TH ST                                                       LITTLE ROCK       AR   72201‐2107
GREEN DOUGLAS DOROTHY LEE
ALEXANDER GARLAND RAY (662735) ‐   MOODY EDWARD O                    801 W 4TH ST                                                       LITTLE ROCK       AR   72201‐2107
GREENLAW BOBBIE JEAN
ALEXANDER GARLAND RAY (662735) ‐   MOODY EDWARD O                    801 W 4TH ST                                                       LITTLE ROCK       AR   72201‐2107
HARRIS JESSIE B
ALEXANDER GARLAND RAY (662735) ‐   MOODY EDWARD O                    801 W 4TH ST                                                       LITTLE ROCK       AR   72201‐2107
JEFFREY HUEY JANICE
ALEXANDER GARLAND RAY (662735) ‐   MOODY EDWARD O                    801 W 4TH ST                                                       LITTLE ROCK       AR   72201‐2107
JOHNSON ANNIE LEE
ALEXANDER GARLAND RAY (662735) ‐   MOODY EDWARD O                    801 W 4TH ST                                                       LITTLE ROCK       AR   72201‐2107
JONES JOHNNIE MAE
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Name                                  Address1                        Address2                     Address3       Address4                 City            State Zip
ALEXANDER GARLAND RAY (662735) ‐ KING MOODY EDWARD O                  801 W 4TH ST                                                         LITTLE ROCK      AR 72201‐2107
THELMA WARE
ALEXANDER GARLAND RAY (662735) ‐      MOODY EDWARD O                  801 W 4TH ST                                                         LITTLE ROCK     AR   72201‐2107
LAWRENCE CHRISTINE
ALEXANDER GARLAND RAY (662735) ‐      MOODY EDWARD O                  801 W 4TH ST                                                         LITTLE ROCK     AR   72201‐2107
LEWIS SHARON ANTOINETTE
ALEXANDER GARLAND RAY (662735) ‐      MOODY EDWARD O                  801 W 4TH ST                                                         LITTLE ROCK     AR   72201‐2107
PERRY MOZETTA
ALEXANDER GARLAND RAY (662735) ‐      MOODY EDWARD O                  801 W 4TH ST                                                         LITTLE ROCK     AR   72201‐2107
PETTUS DIANE FAY
ALEXANDER GARLAND RAY (662735) ‐      MOODY EDWARD O                  801 W 4TH ST                                                         LITTLE ROCK     AR   72201‐2107
PHILLIPS EMMISH
ALEXANDER GARLAND RAY (662735) ‐      MOODY EDWARD O                  801 W 4TH ST                                                         LITTLE ROCK     AR   72201‐2107
PHILLIPS ROBERTA
ALEXANDER GARLAND RAY (662735) ‐      MOODY EDWARD O                  801 W 4TH ST                                                         LITTLE ROCK     AR   72201‐2107
PITTMAN CLAUDINE
ALEXANDER GARLAND RAY (662735) ‐      MOODY EDWARD O                  801 W 4TH ST                                                         LITTLE ROCK     AR   72201‐2107
RILEY GREENE BARBARA ANN
ALEXANDER GARLAND RAY (662735) ‐      MOODY EDWARD O                  801 W 4TH ST                                                         LITTLE ROCK     AR   72201‐2107
SMITH BARBARA A
ALEXANDER GARLAND RAY (662735) ‐      MOODY EDWARD O                  801 W 4TH ST                                                         LITTLE ROCK     AR   72201‐2107
SMITH MARY LEE
ALEXANDER GARLAND RAY (662735) ‐      MOODY EDWARD O                  801 W 4TH ST                                                         LITTLE ROCK     AR   72201‐2107
TURNER LEATHA MAE
ALEXANDER GARLAND RAY (662735) ‐      MOODY EDWARD O                  801 W 4TH ST                                                         LITTLE ROCK     AR   72201‐2107
WILSON BOBBIE SUE
ALEXANDER GARLAND RAY (662735) ‐      MOODY EDWARD O                  801 W 4TH ST                                                         LITTLE ROCK     AR   72201‐2107
WREN WILLIE JO
ALEXANDER GARVIN                      8991 S LAKE SHORE DR                                                                                 CEDAR           MI   49621‐8858
ALEXANDER GEBAUER                     BERGSTRA▀E 85                                                                                        STAHNSDORF           14532
ALEXANDER GEBAUER                     FRANZ BRAUN                     CLLB RECHTSANWAELTE          LIEBIGSTR 21   80538 RUENCHEN GERMANY

ALEXANDER GEIER                       MARKT 1                         07745 JENA
ALEXANDER GENSHAW                     8514 E RICHFIELD RD                                                                                  DAVISON         MI   48423‐8581
ALEXANDER GEORGE                      1759 GLENNEYRE ST                                                                                    LAGUNA BEACH    CA   92651‐3221
ALEXANDER GODIN                       5148 DAVAL DR                                                                                        SWARTZ CREEK    MI   48473‐1241
ALEXANDER GOLOWIN                     110 KISER LN                                                                                         TROY            OH   45373‐8791
ALEXANDER GOMORI                      29 N OSBORN AVE                                                                                      YOUNGSTOWN      OH   44509‐2029
ALEXANDER GORDON                      5313 HOLLYHOCK LN                                                                                    BOSSIER CITY    LA   71112‐4919
ALEXANDER GORSKI                      733 PUTNAM AVE                                                                                       LAWRENCEVILLE   NJ   08648‐4652
ALEXANDER GOTZE                       GARTENSTR 18                                                                D‐45659 RECKLINGHAUSEN
                                                                                                                  GERMANY
ALEXANDER GOUDIE                      320 CADGEWITH E                                                                                      LANSING         MI   48906‐1526
ALEXANDER GOVERDOVSKI                 BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                           BOSTON HTS.     OH   44236
ALEXANDER GRADOWSKI                   3507 TOPANGA DR                                                                                      COLUMBIA        MO   65202‐4881
ALEXANDER GRAF                        M▄NSTERSTRASSE 293
ALEXANDER GRAF                        MUENSTERSTRASSE 293                                                         52076 AACHEN GERMANY
ALEXANDER GRANDSKO                    30806 GLADYS AVE                                                                                     WESTLAND        MI   48185‐1790
ALEXANDER GRAY 3D                     324 S FORD BLVD                                                                                      YPSILANTI       MI   48198‐6067
ALEXANDER GRAY JR.                    8712 TRILLIUM DR                                                                                     YPSILANTI       MI   48197‐9649
ALEXANDER GREENWOOD                   5809 SE 7TH ST                                                                                       MIDWEST CITY    OK   73110‐2229
ALEXANDER GRIGG, DENISE M             11715 DUNHILL PLACE DR                                                                               ALPHARETTA      GA   30005‐7241
ALEXANDER GRIGG, DENISE M.            11715 DUNHILL PLACE DR                                                                               ALPHARETTA      GA   30005‐7241
ALEXANDER GUZIEL                      6240 MEYER AVE                                                                                       BRIGHTON        MI   48116‐2011
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Name                                   Address1                         Address2                         Address3   Address4                City             State   Zip
ALEXANDER HADLEY JR                    636 EAST DAVIS AVENUE                                                                                LAKELAND          GA     31635‐1909
ALEXANDER HALKIAS                      BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                          BOSTON HTS.       OH     44236
ALEXANDER HARRIS                       12005 BEEFLOWER DR                                                                                   BRADENTON         FL     34202
ALEXANDER HARRY (ESTATE OF) (639058)   GOLDENBERG, MILLER, HELLER &     PO BOX 959                                                          EDWARDSVILLE       IL    62025‐0959
                                       ANTOGNOLI
ALEXANDER HENRY                        ALEXANDER, HENRY                 210 BARONNE ST STE 1410                                             NEW ORLEANS       LA     70112‐1716
ALEXANDER HENRY FABRICS, INC.
ALEXANDER HEPP                         FRIEDENSSTRASSE 9                64846 GROSS‐ZIMMERN
ALEXANDER HERBERT T (477189)           ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET , ONE                                          BALTIMORE        MD      21202
                                                                        CHARLES CENTER 22ND FLOOR
ALEXANDER HILLS                        775 BRIDGEPORT AVE               302                                                                 STREETSBORO      OH      44241
ALEXANDER HOBINKA                      HOCHSTRASSE 9                                                                D57555 MUDERSBACH
                                                                                                                    GERMANY
ALEXANDER HODGES                   2601 WHITTIER ST APT 225                                                                                 SAINT LOUIS      MO      63113‐2958
ALEXANDER HOLBURN BEAUDIN AND LANG ATT: JAMES DOWLER                    SUITE 2700‐700 WEST GEORGIA ST              VANCOUVER BA V7Y 1B8

ALEXANDER HOLOTA                       576 DEMILLE RD                                                                                       LAPEER           MI      48446‐3052
ALEXANDER HOUSTON                      825 STRAIN RD                                                                                        ATHENS           AL      35611‐8427
ALEXANDER HRINKO JR                    3700 WARREN MEADVILLE RD                                                                             CORTLAND         OH      44410‐9464
ALEXANDER HUDSON                       1209 WILSON DRIVE                                                                                    DAYTON           OH      45407
ALEXANDER HUNTER                       5075 W SENECA TPKE               VAN DUYN HOME AND HOSPITAL                                          SYRACUSE         NY      13215‐3216
ALEXANDER HUSCHA                       61 HEATH ST                                                                                          EWING            NJ      08638‐2309
ALEXANDER HUTCHINGS
ALEXANDER I I I, JAMES                 3770 SNODGRASS RD                                                                                    MANSFIELD        OH      44903‐8930
ALEXANDER I, ROBERT L                  7001 CAMDEN CIRCLE                                                                                   CLAYTON          OH      45315‐5315
ALEXANDER III, FLOYD                   4000 TEMPLETON RD NW                                                                                 WARREN           OH      44481‐9130
ALEXANDER J ALEXANDER JR               145 GLADE CIRCLE WEST                                                                                REHOBOTH BCH     DE      19971‐4124
ALEXANDER J ALEXANDER JR.              145 GLADE CIR W                                                                                      REHOBOTH BEACH   DE      19971‐4124
ALEXANDER J AND MARY L HALL            3080 GRIFFITH ROAD                                                                                   NORRISTOWN       PA      19403‐1009
ALEXANDER J DEPROFIO                   824 WHEELER AVE                                                                                      HUBBARD          OH      44425
ALEXANDER J KOVACH                     1136 W RIDGE AVE                                                                                     SHARPSVILLE      PA      16150‐1055
ALEXANDER J LANGIEWICZ                 C/O SIEBEN POLK P A              1640 S FRONTAGE RD               STE 200                            HASTINGS         MN      55033
ALEXANDER JACKSON                      136 NORTHSIDE CIR                                                                                    HEATH SPRINGS    SC      29058‐8731
ALEXANDER JAMES (510901)               BRAYTON PURCELL                  PO BOX 6169                                                         NOVATO           CA      94948‐6169
ALEXANDER JAMES W (643362)             BRAYTON PURCELL                  PO BOX 6169                                                         NOVATO           CA      94948‐6169
ALEXANDER JAREMY                       1325 LILY WAY                                                                                        SOUTHAMPTON      PA      18966‐3313
ALEXANDER JERRY (ESTATE OF) (471984)   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                         NORFOLK          VA      23510
                                                                        STREET, SUITE 600
ALEXANDER JOHN (ESTATE OF) (466611)    SIMMONS FIRM                     PO BOX 521                                                          EAST ALTON        IL     62024‐0519

ALEXANDER JOHNSON                      9925 VAUGHAN ST                                                                                      DETROIT          MI      48228‐1376
ALEXANDER JOHNSON                      603 NE SWANN CIR                                                                                     LEES SUMMIT      MO      64086‐8466
ALEXANDER JONES                        140 RAMSDELL AVE                                                                                     BUFFALO          NY      14216‐1118
ALEXANDER JR, ALEXANDER J              145 GLADE CIRCLE WEST                                                                                REHOBOTH BCH     DE      19971‐4124
ALEXANDER JR, ALVA L                   541 SANDY SPRINGS RD.                                                                                MARYVILLE        TN      37803‐7803
ALEXANDER JR, CHESTER A                4666 WHITTLESEY RD                                                                                   NORWALK          OH      44857‐9242
ALEXANDER JR, DEWEY H                  2572 HEARTHSIDE DR                                                                                   YPSILANTI        MI      48198‐9286
ALEXANDER JR, EARL J                   4183 CHELAN DR                                                                                       MELBOURNE        FL      32934‐8702
ALEXANDER JR, ERNEST                   3353 FLAT RUN DR                                                                                     BETHLEHEM        GA      30620‐4680
ALEXANDER JR, HAROLD M                 4079 WENRICK HILL RD                                                                                 FRANKLINVILLE    NY      14737‐9707
ALEXANDER JR, JAMES                    188 ANDY ST                                                                                          VASSAR           MI      48768‐1801
ALEXANDER JR, JAMES B                  437 LOCKMOOR CT                                                                                      GRAND BLANC      MI      48439‐1550
ALEXANDER JR, JAMES J                  841 MILFORD RD                                                                                       HOLLY            MI      48442‐1663
ALEXANDER JR, JOHN J                   810 TYRONE PIKE LOT 44                                                                               VERSAILLES       KY      40383‐2031
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Name                               Address1                           Address2             Address3         Address4                  City             State   Zip
ALEXANDER JR, JOSEPH               4327 FOAL ST                                                                                       LANSING           MI     48906‐9072
ALEXANDER JR, LEROY                87 BEECHWOODE LN                                                                                   PONTIAC           MI     48340‐2201
ALEXANDER JR, MARSHALL             139 CHERRY VALLEY DR APT C10                                                                       INKSTER           MI     48141‐1462
ALEXANDER JR, MICHAEL A            8816 OLD GREENSBORO RD APT 7101                                                                    TUSCALOOSA        AL     35405‐8826
ALEXANDER JR, MICHAEL A            7365 CRYSTAL LAKE DR APT 4                                                                         SWARTZ CREEK      MI     48473‐8951
ALEXANDER JR, RICHARD L            714 TIMBER ST                                                                                      PLEASANT HILL     MO     64080‐1000
ALEXANDER JR, TOMMIE L             1000 LEDGE RD                                                                                      MACEDONIA         OH     44056‐1116
ALEXANDER JR, TROY                 9455 SKY VISTA PKWY APT 2D                                                                         RENO              NV     89506‐2027
ALEXANDER JR, WILLIE               24712 PEMBROOKE DR                                                                                 SOUTHFIELD        MI     48033‐3163
ALEXANDER JR., JETSON              3228 VILLAGE COURT DR                                                                              FORT WAYNE        IN     46806‐2643
ALEXANDER K BOWERS                 16 W RUTGERS AVE                                                                                   PONTIAC           MI     48340‐2754
ALEXANDER K OGNENOVSKI             10 GATEWAY ROAD                                                                                    ROCHESTER         NY     14624‐‐ 44
ALEXANDER KALETA                   2850 EAST 142ND STREET                                                                             CHICAGO            IL    60633‐2057
ALEXANDER KARL GOETZE              GARTENSTR. 18
ALEXANDER KARL G╓TZE               GARTENSTR. 18                                                                                      RECKLINGHAUSEN           45659
ALEXANDER KEENER                   14327 TURNER RD                                                                                    DEWITT           MI      48820
ALEXANDER KEROS                    22420 SUSANA AVE                                                                                   TORRANCE         CA      90505‐2040
ALEXANDER KETA                     8601 N FERNWOOD CT                                                                                 WASHINGTN TWP    MI      48094‐1552
ALEXANDER KHAKHALEV                5055 BUCKINGHAM                                                                                    TROY             MI      48098‐2613
ALEXANDER KIDD                     695 MAPLE RIDGE DR                                                                                 BOARDMAN         OH      44512‐3527
ALEXANDER KING                     514 DRY RIDGE RD                                                                                   SCOTTSVILLE      KY      42164‐9632
ALEXANDER KIRK                     436 MARTIN LUTHER KING JR BLVD S                                                                   PONTIAC          MI      48342‐3415
ALEXANDER KLAPF                    SCHOERGELGASSE 68E                                                       A‐8010 GRAZ AUSTRIA
ALEXANDER KNOLL                    2216 FARNSWORTH RD                                                                                 LAPEER            MI     48446‐8730
ALEXANDER KOLUSK                   5157 S HUBBARD ST                                                                                  WAYNE             MI     48184‐2517
ALEXANDER KONOPKA                  15 OVERLOOK AVE                                                                                    MARSHALLTON       DE     19808‐5827
ALEXANDER KOPPEL, JR               3679 BRENTWOOD ST                                                                                  NORTON SHORES     MI     49441‐4605
ALEXANDER KORDUBA                  9204 S MAIN ST                                                                                     PLYMOUTH          MI     48170‐4118
ALEXANDER KOSHA                    1406 MUNSON ST                                                                                     BURTON            MI     48509‐1836
ALEXANDER KOSTRZEWA                RAUHER BUSCH 40                    D‐59379 SELM
ALEXANDER KOVACH                   1136 W RIDGE AVE                                                                                   SHARPSVILLE       PA     16150‐1055
ALEXANDER KOWALSKI                 1155 TURRILL RD                                                                                    LAPEER            MI     48446‐3744
ALEXANDER KOZIN
ALEXANDER KRASZEWSKI               507 BECKER AVE                                                                                     WILMINGTON        DE     19804‐2103
ALEXANDER KROEPLIN                 4681 ECKLES ST                                                                                     CLARKSTON         MI     48346‐3510
ALEXANDER KRSTOVIC
ALEXANDER KUSS                     325 MANITOU BEACH RD                                                                               HILTON           NY      14468‐9538
ALEXANDER L COMPARONI              873 TYRONE AVE                                                                                     WATERFORD        MI      48328‐2668
ALEXANDER L FITZPATRICK            255 COLLEGE DRIVE                                                                                  EDISON           NJ      08817‐5996
ALEXANDER L HUNTER JR              1513 3RD ST                                                                                        BAY CITY         MI      48708‐6129
ALEXANDER L MATHIS                 500 CAMPBELL RD                                                                                    SYRACUSE         NY      13211‐1238
ALEXANDER LACH                     7119 W 51ST PL                                                                                     CHICAGO          IL      60638‐1031
ALEXANDER LAMARTINE                131 WATERMILL TRCE                                                                                 FRANKLIN         TN      37069‐1841
ALEXANDER LAMBACK                  435 CHANDLER POND DR                                                                               LAWRENCEVILLE    GA      30043
ALEXANDER LAMPLEY                  1669 FOUNTAIN SQUARE DR                                                                            AUSTINTOWN       OH      44515‐4684
ALEXANDER LAVERDE                  270 FAIRFIELD AVE                                                                                  TONAWANDA        NY      14223‐2528
ALEXANDER LAW FIRM AND TYLER AND   321 S WILLIAMS ST                                                                                  ROYAL OAK        MI      48067‐2604
KIM DELONG
ALEXANDER LAWSON                   13681 LAWSON RD                                                                                    GRAND LEDGE      MI      48837‐9756
ALEXANDER LE DOUX JR               45451 GLENGARRY BLVD                                                                               CANTON           MI      48188‐3008
ALEXANDER LEAFI                    2421 CHURCHILL AVE                                                                                 FLINT            MI      48506‐3677
ALEXANDER LEHMANN JR.              21391 SNOWFLOWER DRIVE                                                                             ROCKY RIVER      OH      44116‐3222
ALEXANDER LICHMAN                  SPARRHAERMLINGWEG 77 B                                                   70376 STUTTGART GERMANY
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Name                       Address1                        Address2                    Address3      Address4                 City               State   Zip
ALEXANDER LIMONAD          10547 LADYPALM LN UNIT 6                                                                           BOCA RATON          FL     33498‐1558
ALEXANDER LINDA G          PO BOX 49532                                                                                       SARASOTA            FL     34230‐5632
ALEXANDER LITWINCHUK       7531 BECKER ST NE                                                                                  CEDAR SPRINGS       MI     49319‐9384
ALEXANDER LIVINGSTONE JR   2745 FRICK LN                                                                                      CONNELLSVILLE       PA     15425‐1936
ALEXANDER LOCKLEY          457 MONTANA AVENUE                                                                                 PONTIAC             MI     48341‐2534
ALEXANDER M FAIRBANK       805 BELEY AVE                                                                                      MATTYDALE           NY     13211‐1305
ALEXANDER MACDONALD        9085 CEDAR ISLAND RD                                                                               WHITE LAKE          MI     48386‐4110
ALEXANDER MACLELLAN        7623 BIRCH ST                                                                                      TAYLOR              MI     48180‐2394
ALEXANDER MACMASTER        4200 KINGSTON ST                                                                                   DEARBORN HTS        MI     48125‐3238
ALEXANDER MAE W            26144 RYAN RD APT 202                                                                              WARREN              MI     48091‐1151
ALEXANDER MANCINI          37 GARDEN DR                                                                                       SOUTHINGTON         CT     06489‐1117
ALEXANDER MARK             2434 WISCONSIN AVE                                                                                 FLINT               MI     48506‐3885
ALEXANDER MARR JR.         2830 LOWER RIDGE DR APT 15                                                                         ROCHESTER HILLS     MI     48307‐4466
ALEXANDER MARSH            9124 N ELMS RD                                                                                     CLIO                MI     48420‐8509
ALEXANDER MARSHALL         19776 INDIAN                                                                                       REDFORD             MI     48240‐1632
ALEXANDER MARTICIUC        4886 GERBBER PKWY                                                                                  HAMBURG             NY     14075
ALEXANDER MASAITIS         22077 BEECH ST APT 1103                                                                            DEARBORN            MI     48124‐2858
ALEXANDER MATHLEY          C/O ROBERT LEE MATHLEY          8528 LAKE CLEARWATER LANE                                          INDIANAPOLIS        IN     46240
ALEXANDER MAXIMINI         IM AVELERTAL 47                                                           TRIER DE 54295 GERMANY
ALEXANDER MC GEE           6707 PAWSON RD                                                                                     ONSTED              MI     49265‐9819
ALEXANDER MC HATTIE        7350 195TH AVE                                                                                     REED CITY           MI     49677‐8258
ALEXANDER MC WATT          652 MARSH RD                                                                                       SENECA FALLS        NY     13148‐9742
ALEXANDER MCLEAN JR        #8                              2306 EMERALD DRIVE                                                 EMERALD ISLE        NC     28594‐6517
ALEXANDER MCPHERSON JR     1377 HARPER RD                                                                                     MASON               MI     48854‐9301
ALEXANDER MEDER JR         34712 S DIX POINT RD                                                                               DRUMMOND ISLAND     MI     49726‐9465

ALEXANDER MELCHOR          1003 PARK LN                                                                                       TOLEDO             OH      43615‐4550
ALEXANDER MELKI            3834 RED ARROW RD APT C2                                                                           FLINT              MI      48507‐5424
ALEXANDER MENZ             STEINRUTSCHWEG 7                                                          D50767 KOLN (PESCH)
                                                                                                     GERMANY
ALEXANDER MENZ             HANS EBERHARD & MARIANNE MENZ   ZUR KORNKAMMER 3                          D50933 K╓LN GERMANY
ALEXANDER MENZ             STEINRUTSCHWEG 7                50767 KOELN
ALEXANDER MERROW           2321 MCCARTY RD                                                                                    SAGINAW             MI     48603‐2531
ALEXANDER MEYER            IN GEBERT 4                     D‐54451 IRSCH
ALEXANDER MICHAEL MILLER   MOTLEY RICE LLC                 28 BRIDGESIDE BLVD          PO BOX 1792                            MT PLEASANT         SC     29465
ALEXANDER MILLERMAN        2529 RAMBLING WAY                                                                                  BLOOMFIELD          MI     48302‐1039
                                                                                                                              TOWNSHIP
ALEXANDER MILLS            PO BOX 5923                                                                                        BRADENTON          FL      34281‐5923
ALEXANDER MITROWSKI JR     555 PROSPECT AVE                                                                                   N TONAWANDA        NY      14120‐4218
ALEXANDER MORGAN           1569 PIERCE ST                                                                                     BIRMINGHAM         MI      48009‐2001
ALEXANDER MORROW           PO BOX 60305                                                                                       DAYTON             OH      45406‐0305
ALEXANDER MORROW JR        C/O WILLIAMS KHERKHER HART &    8441 GULF FREEWAY STE 600                                          HOUSTON            TX      77007
                           BOUNDAS LLP
ALEXANDER MOTORS           254 E 3RD ST                                                                                       SUPERIOR           NE      68978‐1809
ALEXANDER MOTORS, INC.     STEVEN HENDERSON                254 E 3RD ST                                                       SUPERIOR           NE      68978‐1809
ALEXANDER MUCZYNSKI        830 OTTAWA DR                                                                                      TROY               MI      48085‐1630
ALEXANDER MUIR             4431 W 60TH ST                                                                                     CLEVELAND          OH      44144‐2805
ALEXANDER MURPHY           7762 INDIAN TRL                                                                                    POLAND             OH      44514‐2666
ALEXANDER MUSCARELLA       5464 W LAKE RD                                                                                     BURT               NY      14028‐9728
ALEXANDER NAGY             PO BOX 7051                                                                                        INDIAN LAKE        FL      33855‐7051
                                                                                                                              ESTATES
ALEXANDER NASTOV           42654 PARK CRESENT DR                                                                              STERLING HEIGHTS    MI     48313‐2900
ALEXANDER NAVY JR          2514 N CAMDEN PKWY                                                                                 HOUSTON             TX     77067‐5209
ALEXANDER NEMER            65 JULIE ANN RD                                                                                    ORTONVILLE          MI     48462‐9725
                                       09-50026-mg           Doc 7123-3     Filed 09/24/10 Entered 09/24/10 15:05:32                 Exhibit B
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Name                                   Address1                         Address2                      Address3           Address4                  City             State Zip
ALEXANDER NEWMAN                       10017 HENDERSON RD                                                                                          CORUNNA           MI 48817‐9748
ALEXANDER NICOL                        2910 E BAKER RD                                                                                             MIDLAND           MI 48642‐8236
ALEXANDER NIGHTINGALE                  18938 MAINE ST                                                                                              DETROIT           MI 48234‐1479
ALEXANDER NOCELLA                      1816 EAST POINTE                                                                                            CARLSBAD          CA 92008
ALEXANDER OGNENOVSKI                   10 GATEWAY RD                                                                                               ROCHESTER         NY 14624‐4434
ALEXANDER OLIVETTI                     301 N BEELINE HWY                                                                                           PAYSON            AZ 85541
ALEXANDER ONYSHCZAK                    2705 NW 157TH ST                                                                                            EDMOND            OK 73013‐8813
ALEXANDER OSBURN                       4842 BRADEN RD                                                                                              BYRON             MI 48418‐8809
ALEXANDER OZYJOWSKI                    1045 MARLSTONE PL                                                                                           COLORADO SPRINGS CO 80904‐2988

ALEXANDER PAPOW                        13419 TERRA SANTA DR                                                                                        STERLING HEIGHTS   MI   48312‐4166
ALEXANDER PARYASKI                     1932 N OGEMAW TRL 714                                                                                       WEST BRANCH        MI   48661
ALEXANDER PASCARELLA                   2012 LADY LAKE ST                                                                                           LAS VEGAS          NV   89128‐6721
ALEXANDER PAULINE L                    6105 LONDON GROVEPORT RD                                                                                    GROVE CITY         OH   43123
ALEXANDER PEAT                         178 ANNWOOD CT                                                                                              SALINE             MI   48176‐1307
ALEXANDER PENN                         6365 ROBERTS DR                                                                                             VICTOR             NY   14564‐9216
ALEXANDER PENNABERE                    51 MEMORIAL RD                                                                                              WEST CALDWELL      NJ   07006‐8025
ALEXANDER PEREZ                        969 GILMER WAY                                                                                              LAS CRUCES         NM   88005‐1541
ALEXANDER PETER                        LIX STR 9                                                                         74072 HEILBRONN GERMANY

ALEXANDER PETERS                       39586 NESTON ST                                                                                             NOVI               MI   48377‐3744
ALEXANDER PLANTATION CO                800 W COURT ST                                                                                              PARAGOULD          AR   72450
ALEXANDER PONTIAC BUICK CADILLAC, IN   800 MARKET ST                                                                                               SUNBURY            PA   17801‐2324

ALEXANDER PONTIAC‐BUICK‐CADILLAC‐GM 800 MARKET ST                                                                                                  SUNBURY            PA   17801‐2324

ALEXANDER PONTIAC‐BUICK‐CADILLAC‐      BLAISE ALEXANDER                 800 MARKET ST                                                              SUNBURY            PA   17801‐2324
GMC TRUCK, INC.
ALEXANDER PONTIAC‐BUICK‐CADILLAC‐      800 MARKET ST                                                                                               SUNBURY            PA   17801‐2324
GMC TRUCK, INC.
ALEXANDER PORTER                       16526 PARKSIDE ST                                                                                           DETROIT            MI   48221‐3153
ALEXANDER PUGH                         965 GROVENBURG RD                                                                                           HOLT               MI   48842‐8614
ALEXANDER QUAIL                        1906 ALLEN RD                                                                                               SALEM              OH   44460‐1038
ALEXANDER RAU                          34 MARGARET RD                                                                                              MONROE             NY   10950‐4536
ALEXANDER RAUSCH                       ZUNFTSTR. 23                                                                                                HALDENWANG              87490
ALEXANDER RAUSCH                       ZUNFTSTR 23                                                    HALDENWANG 87490
ALEXANDER REICHMANN
ALEXANDER REVUELTA                     11717 PINYON PINE DR                                                                                        KELLER             TX   76248‐7723
ALEXANDER REYNOLD (417171)             HOWARD BRENNER & GARRIGAN‐NASS   1608 WALNUT ST , 17TH FLOOR                                                PHILADELPHIA       PA   19103

ALEXANDER REYNOLDS                     215 OAK TRCE W                                                                                              JASPER             GA   30143‐9205
ALEXANDER RICHTER                      LIESFELD 44
ALEXANDER ROBERT H JR LAW OFFICE       PO BOX 868                                                                                                  OKLAHOMA CITY      OK   73101‐0868
ALEXANDER ROBERT H JR PC               LAW OFFICES OF PC                923 N ROBINSON 5TH FLR        PO BOX 868                                   OKLAHOMA CITY      OK   73102
ALEXANDER ROBERT J (ESTATE OF)         GOLDENBERG, MILLER, HELLER &     PO BOX 959                                                                 EDWARDSVILLE       IL   62025‐0959
(516617)                               ANTOGNOLI
ALEXANDER ROBERTS                      2381 GLENWOOD CT                                                                                            COMMERCE TWP       MI   48382‐1586
ALEXANDER ROCKWELL
ALEXANDER RODAKS JR                    56425 BUFFALO DR                                                                                            THREE RIVERS       MI   49093‐9135
ALEXANDER RODRIGUEZ                    PO BOX 1085                                                                                                 LINCOLN PARK       MI   48146‐1085
ALEXANDER ROKA                         701 WORTHINGTON ST                                                                                          MCKEESPORT         PA   15132‐6428
ALEXANDER RORIE                        4244 SE SWEETWOOD WAY                                                                                       STUART             FL   34997
ALEXANDER ROSANNA LEE                  15853 STEEL ST                                                                                              DETROIT            MI   48227‐4037
ALEXANDER ROSS                         9041 VIRGINIA ST                                                                                            LIVONIA            MI   48150‐3669
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Name                           Address1                             Address2                      Address3                    Address4                   City             State   Zip
ALEXANDER RUFUS (657407)       BRAYTON PURCELL                      PO BOX 6169                                                                          NOVATO            CA     94948‐6169
ALEXANDER RUSHKA JR            11675 COPAS RD                                                                                                            LENNON            MI     48449‐9652
ALEXANDER RUSTONI              2828 GRANGER RD                                                                                                           OXFORD            MI     48371‐3136
ALEXANDER RUTCHIK              9970 ALLEN POINTE DR                                                                                                      ALLEN PARK        MI     48101‐1489
ALEXANDER RUTH & EC            694 DRY CREEK RD                                                                                                          LOCKHART          TX     78644‐2232
ALEXANDER S GUTHRE             9892 JOAN CIR                                                                                                             YPSILANTI         MI     48197‐6912
ALEXANDER SABOTINOV
ALEXANDER SALISZ               2409 BARRETT AVE                                                                                                          ROYAL OAK         MI     48067‐3562
ALEXANDER SCARGALL             W197N17085 STONEWALL DR                                                                                                   JACKSON           WI     53037‐9120
ALEXANDER SCHACKOR             1757 BRISTOL DR                                                                                                           MILFORD           MI     48380‐2032
ALEXANDER SCHIELKE JR          3840 JACKSON RD                                                                                                           SARANAC           MI     48881‐9742
ALEXANDER SCHMID               NECKARTENZLINGER STR 51                                                                        72657 ALTERNRIET GERMANY

ALEXANDER SCHMID               NECKARTENZLINGER STR. 51             72657 ALTENRIET               GERMANY
ALEXANDER SCHMIDT              ROSINUSWEG 4A                        93049 REGENSBURG
ALEXANDER SCHROER              KAPELLENWEG 4‐6                                                                                69234 DIELHEIM GERMANY
ALEXANDER SELL                 SOMMERWEG 25                                                                                   88048 FRIEDRICHSHAFEN
                                                                                                                              GERMANY
ALEXANDER SERPI                THE LAW OFFICES OF PETER G ANGELOS   100 NORTH CHARLES             22ND FLOOR                                             BALTIMORE        MD      21201

ALEXANDER SHEAD JR             7300 NORMANDIE CT APT A                                                                                                   HAZELWOOD        MO      63042‐2046
ALEXANDER SHIMON               6424 EMERALD LAKE DR                                                                                                      TROY             MI      48085‐1435
ALEXANDER SILAS R (402194)     GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                                          NORFOLK          VA      23510
                                                                    STREET, SUITE 600
ALEXANDER SILIUS               10707 LOUISIANA CT                                                                                                        ORLAND PARK      IL      60467‐8835
ALEXANDER SIOMKA               3752 MARTIN RD                                                                                                            WARREN           MI      48092‐2502
ALEXANDER SMITH                13344 CUMBERLAND HWY                                                                                                      ORRSTOWN         PA      17244‐9627
ALEXANDER SMITH                16290 32 MILE RD                                                                                                          RAY              MI      48096‐1019
ALEXANDER SNYDER JR            427 FAIRFIELD AVE                                                                                                         COLUMBIANA       OH      44408‐1609
ALEXANDER SOKOL                4303 E CACTUS RD                     BUILDING 10 #128B                                                                    PHOENIX          AZ      85032
ALEXANDER SPOLITBACK           101 SUMMIT ST                                                                                                             GLASSBORO        NJ      08028‐3289
ALEXANDER STECYNA              105 WILLOW DR                                                                                                             JACKSON          NJ      08527‐3845
ALEXANDER STEPHANIE            7715 FISHING CREEK WAY                                                                                                    CLINTON          MD      20735‐1499
ALEXANDER STEPHEN              253 DUCK DR                                                                                                               GATE CITY        VA      24251‐6013
ALEXANDER STEWART              2450 WILLIAMSDOWNS CIR                                                                                                    SNELLVILLE       GA      30078‐2346
ALEXANDER STEWART              BEVAN & ASSOCIATES LPA INC           6555 DEAN MEMORIAL PARKWAY                                                           BOSTON HTS       OH      44236
ALEXANDER STREHL               LEUBELFINGSTR. 110                                                                                                        N▄RNBERG                 90431
ALEXANDER STREHL               LEUBELFINGSTR. 110                   90431 N▄RNBERG
ALEXANDER STREHL               LEUBELFINGSTR. 110                   90431 NURNBERG
ALEXANDER SUPRANOVICH          53 GROVE ST                                                                                                               YALESVILLE       CT      06492‐1606
ALEXANDER SUSAN                40 1\2 S MERIDIAN RD                                                                                                      YOUNGSTOWN       OH      44509
ALEXANDER SUTOWSKI             4237 W 58TH ST                                                                                                            CLEVELAND        OH      44144‐1714
ALEXANDER SWITALSKI            7325 MARSHA ST                                                                                                            FLUSHING         MI      48433‐8820
ALEXANDER SWYRYN               13618 ALLISTON DR                                                                                                         BALDWIN          MD      21013‐9748
ALEXANDER T. DELIGTISCH        RONZIL D STARCHER,JTWROS             ALIXPARTNERS LLP              40 WEST 57TH STREET, 29TH                              NEW YORK         NY      10019
                                                                                                  FLOOR
ALEXANDER TAP & BACKFLOW INC   2824 ASTERIA POINTE                                                                                                       DULUTH            GA     30097‐5222
ALEXANDER TASCA                195 BERKSHIRE LOOP                                                                                                        CROSSVILLE        TN     38558‐7150
ALEXANDER TAVERNARO            TAGETESWEG 15                                                                                  60433 FRANKFURT GERMANY

ALEXANDER TAYLOR               302 EDWIN AVE                                                                                                             FLINT             MI     48505‐3771
ALEXANDER TELOSA               25765 CRIMSON CT                                                                                                          WARREN            MI     48089‐4598
ALEXANDER TESTA                38 KINGLET DR                                                                                                             WEST HENRIETTA    NY     14586‐9333
ALEXANDER THOMAS               511 GREENWOOD AVE APT 8E                                                                                                  TRENTON           NJ     08609‐2143
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Name                               Address1                       Address2                         Address3                Address4                 City             State Zip
ALEXANDER TOLBERT                  267 WILSON AVE                                                                                                   OVIEDO            FL 32765‐7846
ALEXANDER TOLLIVER                 1314 E 143RD ST                                                                                                  E CLEVELAND       OH 44112‐2542
ALEXANDER TOMASHEWSKY              6940 BERWYN ST                                                                                                   DEARBORN HEIGHTS MI 48127‐2081

ALEXANDER TOMMIE                   ALEXANDER, TOMME               117 TIMBERWOLF WAY                                                                BROOKVILLE         OH   45309
ALEXANDER TOOLS LIMITED            35 GLEN ROAD                   P O BOX 5190                                             HAMILTON ON L8L 8G1
                                                                                                                           CANADA
ALEXANDER TOOLS LTD                35 GLENN RD                    PO BOX 5190 STN LCD 1 GLENN RD                           HAMILTON ON L8L 8G1
                                                                                                                           CANADA
ALEXANDER TRAINING & CONSULTING LLC 35245 AURORA RD                                                                                                 SOLON              OH   44139‐3823

ALEXANDER TREMBLE                  PO BOX 423                     YOUNGSTOWN MAIN POST OFFICE                                                       YOUNGSTOWN         OH   44501‐0423
ALEXANDER TUMA                     24249 GESSNER RD                                                                                                 NORTH OLMSTED      OH   44070‐1547
ALEXANDER TURKE                    5711 MCKINLEY RD                                                                                                 CHINA              MI   48054‐4305
ALEXANDER TURLEY                   6272 CRESCENT WAY DR                                                                                             TROY               MI   48085‐1404
ALEXANDER URBINO JR                151 WARDMAN RD                                                                                                   KENMORE            NY   14217‐2836
ALEXANDER VAN BRERO                PO BOX 9022                    GM DUBAI                                                                          WARREN             MI   48090‐9022
ALEXANDER VERNON (484513)          ANGELOS PETER G                100 N CHARLES STREET , ONE                                                        BALTIMORE          MD   21201
                                                                  CHARLES CENTER
ALEXANDER W BORRELLI               285 AVERY ST                                                                                                     ROCHESTER          NY   14606‐2633
ALEXANDER W YEAGER                 569 DUBIE RD                                                                                                     YPSILANTI          MI   48198‐6195
ALEXANDER WAGNER                   5887 E RICE RD                                                                                                   CEDAR              MI   49621‐9618
ALEXANDER WALEWSKI                 1290 SAUK LN                                                                                                     SAGINAW            MI   48638‐5535
ALEXANDER WALSH                    0S370 ELLITHORP LN                                                                                               GENEVA             IL   60134‐6166
ALEXANDER WELSH                    25234 NORMANDY ST                                                                                                ROSEVILLE          MI   48066‐3948
ALEXANDER WEST                     143 WALWORTH AVE                                                                                                 WHITE PLAINS       NY   10606‐2722
ALEXANDER WESTPHAL                 RUBEN‐WOLF‐STR. 28                                                                      D‐12524 BERLIN GERMANY
ALEXANDER WHITE                    1214 N CHURCH ST                                                                                                 KALAMAZOO          MI   49007‐3498
ALEXANDER WILLIAM                  261 ROXIE DR                                                                                                     FLORENCE           AL   35633‐1331
ALEXANDER WILLIAM (466862)         GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                                       NORFOLK            VA   23510
                                                                  STREET, SUITE 600
ALEXANDER WILSON                   ETHEL GRANZOW TTEE             ALEXANDER WILSO TR               162 GREGORY RD BOX 93                            JOHNSON            NY   10933
ALEXANDER WINSTON                  2506 NUTMEG, WEST LAFAYETTE                                                                                      WEST LAFAYETTE     IN   47906
ALEXANDER WINTER                   46616 CRYSTAL DOWNS W                                                                                            NORTHVILLE         MI   48168‐8456
ALEXANDER WITAN                    35658 MAUREEN DR                                                                                                 STERLING HTS       MI   48310‐4771
ALEXANDER WONG                     7600 WILDFLOWER CT                                                                                               ROSEVILLE          CA   95746‐9445
ALEXANDER WROBLEWSKI               64 MAIN ST                                                                                                       TERRYVILLE         CT   06786‐5106
ALEXANDER YANDELL (415472)         SIMMONS FIRM                   PO BOX 559                                                                        WOOD RIVER         IL   62095‐0559
ALEXANDER YAUSCHEW                 HELFMANNSTRASSE 51A            64293 DARMSTADT
ALEXANDER YEAGLE                   PO BOX 701                                                                                                       BALDWIN            MI   49304‐0701
ALEXANDER ZARATE                   42118 JASON DR                                                                                                   CLINTON TWP        MI   48038‐2247
ALEXANDER ZAVARA                   3035 STATE ROUTE 183                                                                                             ATWATER            OH   44201‐9537
ALEXANDER ZOROVIC                  23 HIGH ST                                                                                                       NATICK             MA   01760‐4825
ALEXANDER, A C                     GUY WILLIAM S                  PO BOX 509                                                                        MCCOMB             MS   39649‐0509
ALEXANDER, A L                     1057 DOWAGIAC                                                                                                    MT. MORRIS         MI   48458‐2513
ALEXANDER, A. JOAN                 1235 OLD FARM LN.                                                                                                SPRINGFIELD        OH   45503‐6860
ALEXANDER, ADELAIDE E              2010 MEADOWBROOK CT                                                                                              STERLING HEIGHTS   MI   48310‐4298
ALEXANDER, ADONIS                  4210 SUDBURY                                                                                                     WARREN             MI   48092‐5143
ALEXANDER, ALAN C                  209 CIRCLE VIEW DR                                                                                               FRANKLIN           TN   37067‐1382
ALEXANDER, ALBERT V                77 ROBY ST                                                                                                       LOCKPORT           NY   14094‐1425
ALEXANDER, ALECE D                 APT 332                        2201 WEST 93RD STREET                                                             CLEVELAND          OH   44102‐3785
ALEXANDER, ALEX G                  PO BOX 421                                                                                                       WEST RUTLAND       VT   05777‐0421
ALEXANDER, ALEXANDER               WOLFE TROYCE G                 4807 W LOVERS LN                                                                  DALLAS             TX   75209‐3137
ALEXANDER, ALICE M                 321 W 29TH ST                                                                                                    ANDERSON           IN   46016‐5905
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Name                      Address1                       Address2               Address3         Address4               City              State   Zip
ALEXANDER, ALONZA L       240 BRANCHWOOD DR                                                                             COVINGTON          GA     30016‐4567
ALEXANDER, AMERIKA S.     3728 MAYWOOD AVE                                                                              FORT WAYNE         IN     46806‐4548
ALEXANDER, ANDREW D       2925 GREYBERRY DR APT 205                                                                     WATERFORD          MI     48328‐4428
ALEXANDER, ANITA M        505 FILDEW AVE                                                                                PONTIAC            MI     48341‐2630
ALEXANDER, ANN M          101 LIN‐DON‐RD                                                                                SOMERSET           KY     42503
ALEXANDER, ANNELIESE L    5444 HEARST RD                                                                                SHELBY TOWNSHIP    MI     48317‐5012
ALEXANDER, ANNEMARIE      11664 GRANDVIEW DRIVE                                                                         MONTGOMERY         TX     77356‐4277
ALEXANDER, ANNETTE O      5538 S PERRY AVE                                                                              CHICAGO             IL    60621‐4108
ALEXANDER, ANNETTE O      5538 SO PERRY AVE                                                                             CHICAGO             IL    60621‐4108
ALEXANDER, ANNIE B        348 NALCO LN NE                                                                               BROOKHAVEN         MS     39601‐8409
ALEXANDER, ANNIE D        5063 COUNTRY MEADOWS CT                                                                       BRANDON            MS     39042‐9718
ALEXANDER, ANNIE P        2487 SYLVAN RD                                                                                EAST POINT         GA     30344‐6751
ALEXANDER, ANNIE W        15095 MARK TWAIN ST                                                                           DETROIT            MI     48227‐2917
ALEXANDER, ANTHONY E      5810 GRIGGS DR                                                                                FLINT              MI     48504‐7062
ALEXANDER, ARNETA S       532 CORRAL CT                                                                                 BRANSON            MO     65616‐7840
ALEXANDER, ARNOLD L       2117 S RIVER RD                                                                               BAY CITY           MI     48708‐9508
ALEXANDER, ARNOLD W       131 PORTAGE                                                                                   THREE RIVERS       MI     49093
ALEXANDER, ARTHUR A       8064 WILSON RD                                                                                OTISVILLE          MI     48463‐9433
ALEXANDER, ARTHUR L       7127 DUFFIELD RD                                                                              FLUSHING           MI     48433‐9227
ALEXANDER, ASTRA          GORI JULIAN & ASSOCIATES PC    156 N MAIN ST                                                  EDEWARDSVILLE       IL    62025
ALEXANDER, AUGUSTER       19 HARMONY CT                                                                                 SAGINAW            MI     48601‐1396
ALEXANDER, BARBARA A      520 HARRIET AVE                                                                               LANSING            MI     48917‐2710
ALEXANDER, BARBARA J      152 CROWN ROYAL DR                                                                            WILLIAMSVILLE      NY     14221‐2765
ALEXANDER, BARBARA L      25981 ACACIA ST                                                                               SOUTHFIELD         MI     48033‐2708
ALEXANDER, BARBARA L      3338 DE FOREST DR                                                                             CINCINNATI         OH     45209‐2309
ALEXANDER, BEATRICE       41225 CROSSBOW CIR APT 203                                                                    CANTON             MI     48188‐3141
ALEXANDER, BENJAMIN E     8932 BERKAY AVE                                                                               SAINT LOUIS        MO     63136‐5006
ALEXANDER, BENJAMIN F     7615 BRESNAHAN ST                                                                             SAN ANTONIO        TX     78240‐3631
ALEXANDER, BENJAMIN J     112 1ST ST                                                                                    FITZGERALD         GA     31750‐2370
ALEXANDER, BERNARD        148 E PHILADELPHIA BLVD                                                                       FLINT              MI     48505‐3328
ALEXANDER, BERNARD G      HC 53 BOX 16                                                                                  ARBOVALE           WV     24915‐9705
ALEXANDER, BERNETTA R     5038 FORD ST                                                                                  SWARTZ CREEK       MI     48473‐1304
ALEXANDER, BETH           8203 MAPLE AVE                                                                                GARRETTSVILLE      OH     44231‐1221
ALEXANDER, BETTY DIAL     911 MAPLELAKE DR                                                                              ACWORTH            GA     30101‐4765
ALEXANDER, BETTY J        6729 MOUNT PAKRON DRIVE                                                                       SAN JOSE           CA     95120‐2039
ALEXANDER, BETTY J        6708 SAGE WIND DR                                                                             SHREVEPORT         LA     71119‐7017
ALEXANDER, BETTY JEAN     6708 SAGE WIND DR                                                                             SHREVEPORT         LA     71119‐7017
ALEXANDER, BEULAH M       2523 N MCALLISTER AVE                                                                         TEMPE              AZ     85281‐7916
ALEXANDER, BEVERLY        7828 EAST RIDGE DR                                                                            ALMONT             MI     48003‐8720
ALEXANDER, BEVERLY A      7828 E RIDGE DR                                                                               ALMONT             MI     48003‐8720
ALEXANDER, BEVERLY J      2909 TUBMAN AVE                                                                               DAYTON             OH     45408‐2242
ALEXANDER, BILLIE         5797 OLIVE AVE                                                                                FRANKLIN           OH     45005‐2603
ALEXANDER, BILLIE         5797 OLIVE RD.                                                                                FRANKLIN           OH     45005‐2603
ALEXANDER, BILLIE J       43 DURHAM AVENUE                                                                              BUFFALO            NY     14215‐3007
ALEXANDER, BILLIE J       43 DURHAM AVE                                                                                 BUFFALO            NY     14215‐3007
ALEXANDER, BILLIE J       503 COUNTY ROAD 34320                                                                         SUMNER             TX     75486‐5215
ALEXANDER, BILLY B        22 PEAR TREE LN                                                                               COLLINSVILLE       TX     76233‐1501
ALEXANDER, BLOSCELLE N    7905 CORONA CT                                                                                ARLINGTON          TX     76002‐4789
ALEXANDER, BLOSCELLE N.   7905 CORONA CT                                                                                ARLINGTON          TX     76002‐4789
ALEXANDER, BOBBIE J       822 WICKLOW PLACE                                                                             DAYTON             OH     45406‐4445
ALEXANDER, BOBBIE J       4154 FERDON RD                                                                                DAYTON             OH     45405‐5405
ALEXANDER, BOBBIE L       16819 ASPEN WAY                                                                               SOUTHGATE          MI     48195‐3924
ALEXANDER, BOBBY          PO BOX 371126                                                                                 DECATUR            GA     30037‐1126
ALEXANDER, BOBBY J        3419 S EVANSTON AVE                                                                           INDEPENDENCE       MO     64052‐1040
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Name                        Address1                        Address2             Address3         Address4               City            State   Zip
ALEXANDER, BONNIE L         2117 S RIVER RD                                                                              BAY CITY         MI     48708‐9508
ALEXANDER, BONNIE L         2337 SE DOVE ST                                                                              HILLSBORO        OR     97123‐8388
ALEXANDER, BONNIE T         PO BOX 759                                                                                   WOODBRIDGE       CA     95258‐0759
ALEXANDER, BOYCE W          2400 BALSAM ST                                                                               LONGVIEW         TX     75605‐2310
ALEXANDER, BRENDA C         1103 MAGNOLIA DR                                                                             INKSTER          MI     48141‐1791
ALEXANDER, BRENDA C         1103 MAGNOLIA                                                                                INKSTER          MI     48141‐1791
ALEXANDER, BRENDA L         5502 VINTAGE CIR                                                                             STOCKTON         CA     95219
ALEXANDER, BRENDA R         5209 SUMMERGATE DR                                                                           CHARLOTTE        NC     28226‐3412
ALEXANDER, BRENDA S         8609 S COUNTRY RD 575E                                                                       MOORESVILLE      IN     46158
ALEXANDER, BRIAN D          15183 RESTWOOD DR                                                                            LINDEN           MI     48451‐8771
ALEXANDER, BRIAN E          1566 E BURT DR                                                                               COLUMBIA         TN     38401‐5564
ALEXANDER, BRIAN K          5221 REGIMENTAL BANNER DR                                                                    GRAND BLANC      MI     48439‐8700
ALEXANDER, BRIAN KEITH      5221 REGIMENTAL BANNER DR                                                                    GRAND BLANC      MI     48439‐8700
ALEXANDER, BRITTON S        31075 WELLINGTON DR APT 30302                                                                NOVI             MI     48377‐4100
ALEXANDER, BRUCE M          15 YOUNG DR                                                                                  SAINT LOUIS      MO     63135‐1136
ALEXANDER, BRUCE W          225 1/2 AGATE AVENUE                                                                         NEWPORT BEACH    CA     92662‐2001
ALEXANDER, CALVIN           6427 WASHINGTON AVE                                                                          HUBBARD          OH     44425‐2470
ALEXANDER, CAREN L          PO BOX 1649                                                                                  COLUMBIA         TN     38402‐1649
ALEXANDER, CARL D           243 ARROWHEAD TRL                                                                            KINGSTON         TN     37763‐7003
ALEXANDER, CARL M           17036 PARKER RD                                                                              ATHENS           AL     35611‐8504
ALEXANDER, CAROL            1548 VALLEY CREEK RD                                                                         DENTON           TX     76205‐7500
ALEXANDER, CAROL
ALEXANDER, CAROL A          1901 PINGREE AVE                                                                             FLINT           MI      48503‐4333
ALEXANDER, CAROL B          3152 PARKWAY STE 13 PMB 202                                                                  PIGEON FORGE    TN      37863‐3325
ALEXANDER, CAROLINE BETTY   109 DEBBIE LN                                                                                MT MORRIS       MI      48458‐1251
ALEXANDER, CAROLYN          8141 E LIPPINCOTT BLVD                                                                       DAVISON         MI      48423‐8359
ALEXANDER, CAROLYN          3125 VINEYARD LANE                                                                           FLUSHING        MI      48433‐2435
ALEXANDER, CELESTE E        106 BASSIN DR                                                                                DOYLINE         LA      71023‐4081
ALEXANDER, CHARLES          SHANNON LAW FIRM                100 W GALLATIN ST                                            HAZLEHURST      MS      39083‐3007
ALEXANDER, CHARLES          19 QUAMINA DR                                                                                ROCHESTER       NY      14605‐1234
ALEXANDER, CHARLES A        24 VALERIE LANE                                                                              POWDER SPGS     GA      30127‐6576
ALEXANDER, CHARLES A        4926 BOYDSON DR                                                                              TOLEDO          OH      43623‐3816
ALEXANDER, CHARLES B        1627 CONNECTICUT AVE                                                                         MARYSVILLE      MI      48040‐1722
ALEXANDER, CHARLES C        BOX 14A PINE GROVE RD                                                                        ARBOVALE        WV      24915
ALEXANDER, CHARLES C        HC 63 BOX 18                                                                                 ARBOVALE        WV      24915‐9705
ALEXANDER, CHARLES C        HC63 BOX 18 PINE GROVE RD.                                                                   ARBOVALE        WV      24915
ALEXANDER, CHARLES E        2445 MCNAB CT                                                                                TRAVERSE CITY   MI      49686‐8521
ALEXANDER, CHARLES F        5114 PENNSYLVANIA ST                                                                         DETROIT         MI      48213‐3171
ALEXANDER, CHARLES F        3228 RETRIEVER RD                                                                            COLUMBUS        OH      43232
ALEXANDER, CHARLES H        30055 CATHY CT BOX 382                                                                       NEW HAVEN       MI      48048
ALEXANDER, CHARLES J        805 S GATEWOOD DR                                                                            BLOOMINGTON     IN      47403‐2118
ALEXANDER, CHARLES JACOB    805 S GATEWOOD DR                                                                            BLOOMINGTON     IN      47403‐2118
ALEXANDER, CHARLES L        6778 KENTBROOK DR                                                                            HORN LAKE       MS      38637‐7390
ALEXANDER, CHARLES R        5551 ANN ARBOR DR                                                                            BOKEELIA        FL      33922‐3001
ALEXANDER, CHEKANDA J       3401 ANDERSON RD UNIT 105                                                                    ANTIOCH         TN      37013‐6009
ALEXANDER, CHELSEA          2020 MARYDALE DR                                                                             DALLAS          TX      75208‐3035
ALEXANDER, CHERI L          505 E HURON ST APT 804                                                                       ANN ARBOR       MI      48104‐1567
ALEXANDER, CHERRI L         3679 ST RD 218 W                                                                             PERU            IN      46970
ALEXANDER, CHERRI L         3679 W STATE ROAD 218                                                                        PERU            IN      46970
ALEXANDER, CHERYL D         4246 CABALLO CROSSING DR                                                                     FLORISSANT      MO      63034‐3494
ALEXANDER, CHERYL S         650 NW SPRING HOLLOW BLVD                                                                    LAKE CITY       FL      32055
ALEXANDER, CHESS            14057 RUTLAND ST                                                                             DETROIT         MI      48227‐1380
ALEXANDER, CHRISTIANA       220 FISHER RD                                                                                GROSSE POINTE   MI      48230‐1213
                                                                                                                         FARMS
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ALEXANDER, CHRISTINE H     1470 APRIL LN                                                                                         MORROW          GA     30260‐4169
ALEXANDER, CHUBBY W        312 GOVERNOR HOUSE CIR                                                                                WILMINGTON      DE     19809‐2451
ALEXANDER, CINDY L         120 CHARLOTTE AVE                                                                                     ROYAL OAK       MI     48073‐2516
ALEXANDER, CLAIRE L        4580 HIGHLAND OAKS CIRCLE                                                                             SARASOTA        FL     34235‐5177
ALEXANDER, CLARA B         106 SERENITY CT                                                                                       NANCY           KY     42544‐8785
ALEXANDER, CLARA M         7160 KESSLING ST                                                                                      DAVISON         MI     48423‐2446
ALEXANDER, CLARENCE R      10671 STATE ROUTE 124                                                                                 HILLSBORO       OH     45133‐9242
ALEXANDER, CLETHA M        811 RIDGEWAY ROAD                                                                                     JOSHUA          TX     76058
ALEXANDER, CLETHA M        811 RIDGEWAY RD                                                                                       JOSHUA          TX     76058‐6149
ALEXANDER, CLIFTON W       BOX 1212 COUNTY RD 190                                                                                MOULTON         AL     35650
ALEXANDER, COLLEEN         500 HALL ST SE APT 320                                                                                GRAND RAPIDS    MI     49507‐1874
ALEXANDER, CORA M          BOX 7263 CATHYS CT                  TWIN LAKES ESTATES                                                FORT MILL       SC     29715
ALEXANDER, CRAIG T         G4493 FENTON RD LOT 60                                                                                BURTON          MI     48529‐1941
ALEXANDER, CYNTHIA M       7118 DARK LAKE DR                                                                                     CLARKSTON       MI     48346‐1200
ALEXANDER, DAISEY M        4616 GREENSPRINGS RD                                                                                  COLLEGE PARK    GA     30337‐5428
ALEXANDER, DALE            567 WARBLER DR                                                                                        BOLINGBROOK      IL    60440‐4202
ALEXANDER, DAMITA          KROHN & MOSS ‐ IL                   120 WEST MADISON STREET, 10TH                                     CHICAGO          IL    60602
                                                               FLOOR
ALEXANDER, DAN R           11667 ROYAL GRAND                                                                                     REDFORD        MI      48239‐2438
ALEXANDER, DANA JUNE       63 TOM BROWN RD                                                                                       WINCHESTER     OH      45697‐9757
ALEXANDER, DANIEL L        1403 FRANKLIN ST                                                                                      NEWTON         NC      28658
ALEXANDER, DANNIELLE N     1000 LEDGE RD                                                                                         MACEDONIA      OH      44056‐1116
ALEXANDER, DANNY O         9498 CHUNKY DUFFEE RD                                                                                 LITTLE ROCK    MS      39337‐9685
ALEXANDER, DARNELL         315 KEELSON DR                                                                                        DETROIT        MI      48215‐3062
ALEXANDER, DAVID           WISE & JULIAN                       156 N MAIN ST STOP 1                                              EDWARDSVILLE   IL      62025‐1972
ALEXANDER, DAVID A         12371 NEFF RD                                                                                         CLIO           MI      48420‐1808
ALEXANDER, DAVID A         10275 N WEBSTER RD                                                                                    CLIO           MI      48420
ALEXANDER, DAVID A         717 COLUMBIA DR                                                                                       FLINT          MI      48503‐5207
ALEXANDER, DAVID ALLAN     717 COLUMBIA DR                                                                                       FLINT          MI      48503‐5207
ALEXANDER, DAVID ARTHUR    10275 N WEBSTER RD                                                                                    CLIO           MI      48420‐8536
ALEXANDER, DAVID E         6790 CROSS CREEK DR                                                                                   WASHINGTON     MI      48094‐2813
ALEXANDER, DAVID F         4517 ISLAND VIEW DRIVE                                                                                LINDEN         MI      48451
ALEXANDER, DAVID H         9191 CHUNKY DUFFEE RD                                                                                 LITTLE ROCK    MS      39337‐9682
ALEXANDER, DAVID H         430 DAVIS RD                                                                                          SEAGOVILLE     TX      75159‐5859
ALEXANDER, DAVID W         736 LOUISA ST                                                                                         MOUNT MORRIS   MI      48458‐1735
ALEXANDER, DAWN M          3503 ALMEDA DR                                                                                        TOLEDO         OH      43612‐1048
ALEXANDER, DAYTON S        3813 BLUNT MILL RD                                                                                    GRAND CANE     LA      71032‐5601
ALEXANDER, DAYTON SHANE    3813 BLUNT MILL RD                                                                                    GRAND CANE     LA      71032‐5601
ALEXANDER, DEAN R          15 SWALLOW CT                                                                                         LAKE ORION     MI      48359‐1873
ALEXANDER, DEBORAH K       5295 BIRCHCREST DR                                                                                    SWARTZ CREEK   MI      48473‐1043
ALEXANDER, DEBORAH KAYE    5295 BIRCHCREST DR                                                                                    SWARTZ CREEK   MI      48473‐1043
ALEXANDER, DEBRA A         4027 DONEGAL ST                                                                                       TROTWOOD       OH      45426‐5426
ALEXANDER, DEBRA K         1964 SWEET GUM DR                                                                                     AVON           IN      46123‐7425
ALEXANDER, DEGURTA         234 PATTERSON DR                                                                                      COLUMBIA       TN      38401‐5590
ALEXANDER, DELANEY D       904 FRANKLIN ST                                                                                       SANDUSKY       OH      44870‐3649
ALEXANDER, DELON P         2100 ELLISON LAKES DR NW APT 1418                                                                     KENNESAW       GA      30152‐6739
ALEXANDER, DENISE M        224 W WASHINGTON LN                                                                                   PHILADELPHIA   PA      19144‐3111
ALEXANDER, DENNIS D        4234 WILLIAMSON RD                                                                                    SAGINAW        MI      40601‐5950
ALEXANDER, DENNIS E        7011 PARTRIDGE DR                                                                                     FLUSHING       MI      48433‐8816
ALEXANDER, DENNIS EDWARD   7011 PARTRIDGE DR                                                                                     FLUSHING       MI      48433‐8816
ALEXANDER, DENNIS G        GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                                      SAGINAW        MI      48604‐2602
                                                               260
ALEXANDER, DENNIS L        478 BLOSSOM AVE                                                                                       CAMPBELL       OH      44405‐1433
ALEXANDER, DENNIS R        5927 DEXTER ST                                                                                        ROMULUS        MI      48174‐1825
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ALEXANDER, DERRICE          1121 ROYALCREST DR                                                                                FLINT               MI     48532‐3244
ALEXANDER, DESIREE M        832 TYSON AVE                                                                                     DAYTON              OH     45427‐3046
ALEXANDER, DIANE M          296 CASS RIVER DR                                                                                 CARO                MI     48723‐1226
ALEXANDER, DIONDRE
ALEXANDER, DISSIE W         1519 HENDRICKS                                                                                    ANDERSON           IN      46016‐3430
ALEXANDER, DON              131 TONY RD                                                                                       STERLINGTON        LA      71280‐3101
ALEXANDER, DON C            131 TONY RD                                                                                       STERLINGTON        LA      71280‐3101
ALEXANDER, DONA             666 N FRED SHUTTLESWORTH CIR APT 3                                                                CINCINNATI         OH      45229‐1841
ALEXANDER, DONALD C         6001 NW 61ST AVE                                                                                  PARKLAND           FL      33067‐4402
ALEXANDER, DONALD DALE      24398 JERKWATER RD                                                                                SHERIDAN           IN      46069‐9613
ALEXANDER, DONALD E         4034 W 800 N                                                                                      RIDGEVILLE         IN      47380‐9240
ALEXANDER, DONALD E         4072 QUAKER RD                                                                                    GASPORT            NY      14067‐9476
ALEXANDER, DONALD F         1901 OAK TER                                                                                      ORTONVILLE         MI      48462‐8414
ALEXANDER, DONALD F         126 W 900 N                                                                                       ALEXANDRIA         IN      46001‐8388
ALEXANDER, DONALD G         717 E. BUNDY                                                                                      FLINT              MI      48505
ALEXANDER, DONALD L         328 HERITAGE TRL                                                                                  GRANBURY           TX      76048‐5839
ALEXANDER, DONALD L         5115 S 50 W                                                                                       ANDERSON           IN      46013‐9500
ALEXANDER, DONALD L         622 BRIARHEATH DR                                                                                 DEFIANCE           OH      43512‐5317
ALEXANDER, DONALD LEE       328 HERITAGE TRL                                                                                  GRANBURY           TX      76048
ALEXANDER, DONALD P         PO BOX 1506                                                                                       BEDFORD            IN      47421‐6506
ALEXANDER, DONALD PATRICK   PO BOX 1506                                                                                       BEDFORD            IN      47421‐6506
ALEXANDER, DONALD R         16400 EASTWIND ST 112                                                                             ROMULUS            MI      48174
ALEXANDER, DONIS J          6326 HILLIARD RD                                                                                  LANSING            MI      48911‐5625
ALEXANDER, DONNA            30245 W 13 MILE RD APT 228                                                                        FARMINGTON HILLS   MI      48334‐2215

ALEXANDER, DORIS R          4508 E COUNTY ROAD 200 S             TRAILER 266                                                  KOKOMO             IN      46902
ALEXANDER, DOROTHY          213 S BULLOCK ST                                                                                  HENDERSON          NC      27536‐5133
ALEXANDER, DOROTHY A        12100 SEMINOLE BLVD LOT 124                                                                       LARGO              FL      33778‐2817
ALEXANDER, DOROTHY D        1532 OAKVIEW CIR SE                                                                               WINTER HAVEN       FL      33880
ALEXANDER, DOROTHY E        5348 FARMHILL RD                                                                                  FLINT              MI      48505‐1004
ALEXANDER, DOROTHY J        25 GEORGETOWN SQ                                                                                  EUCLID             OH      44143‐2411
ALEXANDER, DOROTHY L        3459 BILSKY ST                                                                                    BURTON             MI      48519‐1038
ALEXANDER, DOROTHY N        1384 COUNTY ROAD 188                                                                              MOULTON            AL      35650‐4414
ALEXANDER, DOUGLAS J        1419 E DOWNEY AVE                                                                                 FLINT              MI      48505‐1731
ALEXANDER, DOUGLAS W        1222 CHERRY FORK RD                                                                               WINCHESTER         OH      45697‐9720
ALEXANDER, DUKE W           260 ROLLINGWOOD TRL                                                                               ALTAMONTE          FL      32714‐3413
                                                                                                                              SPRINGS
ALEXANDER, DWAYNE           4295 E OUTER DR                                                                                   DETROIT            MI      48234‐3122
ALEXANDER, DWIGHT D         765 TRICKHAMBRIDGE RD                                                                             BRANDON            MS      39042‐9640
ALEXANDER, EARL             6334 HUNT ST                                                                                      ROMULUS            MI      48174‐4010
ALEXANDER, EARL V           1688 MAPLEWOOD DRIVE                                                                              LEBANON            OH      45036‐9327
ALEXANDER, EARL W           9353 MORRISH RD                                                                                   MONTROSE           MI      48457‐9016
ALEXANDER, EDGAR            15865 LESURE ST                                                                                   DETROIT            MI      48227‐3335
ALEXANDER, EDITH M          3524 DUBARRY RD                                                                                   INDIANAPOLIS       IN      46226‐6046
ALEXANDER, EDMON E          1313 NE 54TH ST                                                                                   OKLAHOMA CITY      OK      73111‐6611
ALEXANDER, EDMOND C         8173 W COUNTY ROAD 550 N                                                                          NORTH SALEM        IN      46165‐9504
ALEXANDER, EDWARD A         14 ONA LN                                                                                         NEW WINDSOR        NY      12553‐6431
ALEXANDER, EDWARD G         3003 DOEG INDIAN CT                                                                               ALEXANDRIA         VA      22309‐2212
ALEXANDER, EDWARD J         13609 5TH AVE                                                                                     E CLEVELAND        OH      44112‐3107
ALEXANDER, ELBERT           509 DALLAS ST                                                                                     HIRAM              GA      30141‐2509
ALEXANDER, ELEANOR I        225 HINCHEY RD                                                                                    ROCHESTER          NY      14624‐2903
ALEXANDER, ELENORE M        10805 BLACK LEDGE AVE.                                                                            LAS VEGAS          NV      89134‐7206
ALEXANDER, ELIZABETH J      33 DAVIS LAKE RD                                                                                  LAPEER             MI      48446‐1470
ALEXANDER, ELIZABETH J      3120 RASKOB ST                                                                                    FLINT              MI      48504‐3229
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ALEXANDER, ELIZABETH O      1903 EASTLAWN DR APT 1 # APT                                                                          MIDLAND          MI     48642‐4832
ALEXANDER, ELMER            13970 DIXIE                                                                                           REDFORD          MI     48239‐2802
ALEXANDER, ELMER A          APT 105                            2323 26TH AVENUE NORTH                                             MINNEAPOLIS      MN     55411‐1760
ALEXANDER, ELMER A          2323 26TH AVENUE NORTH             APARTMENT 105                                                      MINNEAPOLIS      MN     55411
ALEXANDER, ELMER E          6332 WINDHAM PL                                                                                       GRAND BLANC      MI     48439‐9127
ALEXANDER, ELSIE            302 DANA DIRVE                                                                                        FARMVILLE        VA     23901‐4000
ALEXANDER, ELVIE            280 W FORK WAY                                                                                        TEMPLE           GA     30179‐5059
ALEXANDER, EMMA M           16866 GLASTONBURY RD                                                                                  DETROIT          MI     48219‐4135
ALEXANDER, ERIC N           KIMMEL & SILVERMAN PC              30 EAST BUTLER PIKE, SUITE 310                                     AMBLER           PA     19002
ALEXANDER, ERNEST F         1 BORDEN WAY                                                                                          TRENTON          NJ     08608‐1335
ALEXANDER, ESSIE M          1302 HUMMINGBRID CIRCLE                                                                               GREENWOOD        MS     38930
ALEXANDER, ESTHER M         2 N 2ND ST FL 7                    C/O DON SNYDER                                                     HARRISBURG       PA     17101‐1619
ALEXANDER, ETTA B           12044 WESTWOOD ST                                                                                     DETROIT          MI     48228‐1357
ALEXANDER, EUGENE           3881 BARBARA DR                                                                                       STERLING HTS     MI     48310‐6107
ALEXANDER, EUGENE F         2440 LAYTON RD                                                                                        ANDERSON         IN     46011‐2938
ALEXANDER, EUGENE L         293 MARTIN LUTHER KING JR BLVD S                                                                      PONTIAC          MI     48342‐3336
ALEXANDER, EUGENE LONZELL   293 MARTIN LUTHER KING JR BLVD S                                                                      PONTIAC          MI     48342‐3336
ALEXANDER, EVA M            220 S 22ND ST                                                                                         SAGINAW          MI     48601‐1476
ALEXANDER, EVA M            220 SOUTH 22ND ST                                                                                     SAGINAW          MI     48601‐1476
ALEXANDER, EVELYN M         13410 BROOKDALE AVE                                                                                   BROOK PARK       OH     44142‐2627
ALEXANDER, EXIE MAE         1268 E HARVARD AVE                                                                                    FLINT            MI     48505‐1759
ALEXANDER, FANNIE L         12221 RIVERWAY RD                                                                                     CHESTERFIELD     VA     23838‐2120
ALEXANDER, FANNIE L         916 S 20TH ST                                                                                         NEWARK           NJ     07108‐1126
ALEXANDER, FLORA J          445 MAXWELL RD                                                                                        PONTIAC          MI     48342‐1752
ALEXANDER, FRANCES          20120 COLONY DRIVE                                                                                    BROOKSVILLE      FL     34601
ALEXANDER, FRANK            510 EAST BROAD STREET              PO BOX 262                                                         WARDELL          MO     63879
ALEXANDER, FRANK J          2 IRIS CT                                                                                             TINTON FALLS     NJ     07724‐3054
ALEXANDER, FRANK R          47133 N POINTE DR                                                                                     CANTON           MI     48187‐1453
ALEXANDER, FRANKIE L        3315 S DENTON RD                                                                                      INDEPENDENCE     MO     64052‐1048
ALEXANDER, FRANKLIN H       6315 SPRINGDALE BLVD                                                                                  GRAND BLANC      MI     48439‐8550
ALEXANDER, FRED             167 S OSBORN AVE                                                                                      YOUNGSTOWN       OH     44509‐2631
ALEXANDER, FRED             BRAYTON PURCELL                    PO BOX 6169                                                        NOVATO           CA     94948‐6169
ALEXANDER, FRED             GEORGE & SIPES                     151 N DELAWARE ST STE 1700                                         INDIANAPOLIS     IN     46204‐2503
ALEXANDER, FRED D           234 PATTERSON DRIVE                                                                                   COLUMBIA         TN     38401‐5590
ALEXANDER, FRED H           208 E WATSON ST                                                                                       ALBION           MI     49224‐1159
ALEXANDER, FRED L           MOODY EDWARD O                     801 W 4TH ST                                                       LITTLE ROCK      AR     72201‐2107
ALEXANDER, FRED R           3321 DAYTON AVE                                                                                       YOUNGSTOWN       OH     44509‐2039
ALEXANDER, FREDDY L         122 DENWOOD TRL                                                                                       CLAYTON          OH     45315‐9631
ALEXANDER, FREDERIC L       10432 STREAM PARK CT                                                                                  CENTERVILLE      OH     45458‐9569
ALEXANDER, FREDERICK        3446 LINGER LN                                                                                        SAGINAW          MI     48601‐5621
ALEXANDER, FREDERICK R      1270 PARKWAY                                                                                          WATERFORD        MI     48328‐4350
ALEXANDER, GAETANE R        5192 E DODGE RD                                                                                       MOUNT MORRIS     MI     48458‐9719
ALEXANDER, GAIL M           11750 W PIERCE RD                                                                                     SUMNER           MI     48889‐8746
ALEXANDER, GAIL MAURICE     11750 W PIERCE RD                                                                                     SUMNER           MI     48889‐8746
ALEXANDER, GARLAND RAY      MOODY EDWARD O                     801 W 4TH ST                                                       LITTLE ROCK      AR     72201‐2107
ALEXANDER, GARY L           208 SADDLE HILLS RD                                                                                   BURLESON         TX     76028‐1412
ALEXANDER, GARY M           3085 MARATHON RD                                                                                      COLUMBIAVILLE    MI     48421‐8954
ALEXANDER, GARY MICHAEL     3085 MARATHON RD                                                                                      COLUMBIAVILLE    MI     48421‐8954
ALEXANDER, GAYLE            612 SHELL BARK COURT                                                                                  GRAND BLANC      MI     48439‐3306
ALEXANDER, GENE             575 W 6 MILE CREEK RD                                                                                 HENDERSON        MI     48841‐9704
ALEXANDER, GEORGE           850 SEIBERT AVE                                                                                       MIAMISBURG       OH     45342‐3040
ALEXANDER, GEORGE           18031 TEPPERT ST                                                                                      DETROIT          MI     48234‐3858
ALEXANDER, GEORGE E
ALEXANDER, GEORGE J         414 BUCHANAN ST                                                                                       FORT WAYNE       IN     46803‐4024
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ALEXANDER, GEORGE W         515 MIDDLE RIVER RD                                                                               BALTIMORE        MD     21220‐3709
ALEXANDER, GEORGE W         3354 BECKY CT                                                                                     KOKOMO           IN     46901‐3830
ALEXANDER, GEORGE WILLIAM   515 MIDDLE RIVER RD                                                                               BALTIMORE        MD     21220‐3709
ALEXANDER, GEORGIA          25010 W 8 MILE RD APT 114                                                                         SOUTHFIELD       MI     48033‐4049
ALEXANDER, GERALD           123 E PULASKI AVE                                                                                 FLINT            MI     48505‐3313
ALEXANDER, GERALD R         5253 S FORDNEY RD                                                                                 HEMLOCK          MI     48626‐9784
ALEXANDER, GERALD R         136 W BLUEBRIAR DR                                                                                GRANITE SHLS     TX     78654‐2551
ALEXANDER, GERALD R         822 PASADENA DR                                                                                   OWOSSO           MI     48867‐1135
ALEXANDER, GERRY W          123 AMY AVE                                                                                       BOWLING GREEN    KY     42101
ALEXANDER, GLADYS           1957 KETNER ST                                                                                    TOLEDO           OH     43613
ALEXANDER, GLADYS L         811 GRACE ST                                                                                      OWOSSO           MI     48867‐4236
ALEXANDER, GLEN E           1111 CROCUS DR                                                                                    DAYTON           OH     45408‐2419
ALEXANDER, GLENDA C         811 FISK DR                                                                                       FLINT            MI     48503‐5248
ALEXANDER, GLENDA D         2818 MONTROSE DR SW                                                                               DECATUR          AL     35603‐1148
ALEXANDER, GLENN            GUY WILLIAM S                   PO BOX 509                                                        MCCOMB           MS     39649‐0509
ALEXANDER, GLENN P          10021 BENNETT LAKE RD                                                                             FENTON           MI     48430‐8733
ALEXANDER, GLORIA           270 SEAMAN ST                                                                                     NEW BRUNSWICK    NJ     08901‐2424
ALEXANDER, GLORIA D         10141 BLOOMSBURY AVE                                                                              CORDOVA          TN     38016
ALEXANDER, GLORIA J         200 N. SUMMIT STREET                                                                              ALDANY           WI     53502‐9503
ALEXANDER, GLORIA J         200 N SUMMIT ST                                                                                   ALBANY           WI     53502‐9503
ALEXANDER, GLORIA W         3400 WEILACHER DR.                                                                                WARREN           OH     44481‐4481
ALEXANDER, GREGORY C        39800 24TH ST                                                                                     MATTAWAN         MI     49071‐9746
ALEXANDER, GREGORY D        700 COUNTY ROAD 317                                                                               TRINITY          AL     35673‐3608
ALEXANDER, GREGORY K        7000 PINE OAK LN                                                                                  GREENWOOD        LA     71033‐3374
ALEXANDER, GREGORY L        5449 BROMWICK DRIVE                                                                               DAYTON           OH     45426‐1913
ALEXANDER, GUY T            8286 PARK AVE                                                                                     GARRETTSVILLE    OH     44231‐1224
ALEXANDER, HAROLD D         9283 MARKANNE DR                                                                                  DALLAS           TX     75243‐6542
ALEXANDER, HAROLD R         2136 FRANCIS DR                                                                                   ARNOLD           MO     63010‐2226
ALEXANDER, HAROLD W         5362 W MOUNT MORRIS RD                                                                            MOUNT MORRIS     MI     48458‐9337
ALEXANDER, HAROLD W.        5362 W MOUNT MORRIS RD                                                                            MOUNT MORRIS     MI     48458‐9337
ALEXANDER, HARRY            GOLDENBERG, MILLER, HELLER &    PO BOX 959                                                        EDWARDSVILLE      IL    62025‐0959
                            ANTOGNOLI
ALEXANDER, HARRY            5634 W RT 973 HWY                                                                                 COGAN STATION   PA      17728
ALEXANDER, HARRY D          14883 ROSEMONT AVE                                                                                DETROIT         MI      48223‐2340
ALEXANDER, HARVEY G         10117 US ROUTE 62               LOT 11                                                            ORIENT          OH      43146
ALEXANDER, HARVEY G         10117 US HIGHWAY 62 LOT 11                                                                        ORIENT          OH      43146‐9700
ALEXANDER, HATTIE           5721 KING DR                                                                                      BIRMINGHAM      AL      35228‐3669
ALEXANDER, HAZEL            16906 LIPTON AVE                                                                                  CLEVELAND       OH      44128‐3622
ALEXANDER, HEATH            308 W HEIGHTS DR                                                                                  WEST MONROE     LA      71292‐6348
ALEXANDER, HEATH E          308 W HEIGHTS DR                                                                                  WEST MONROE     LA      71292‐6348
ALEXANDER, HEDY S           PO BOX 496                                                                                        HOMER           LA      71040‐0496
ALEXANDER, HELEN            8584 COMMONS CT                                                                                   FLORENCE        KY      41042‐7716
ALEXANDER, HELEN            116 CHERRYHILL DR                                                                                 DAVISON         MI      48423‐9128
ALEXANDER, HELEN            PO BOX 7506                                                                                       COLUMBUS        OH      43207‐0506
ALEXANDER, HELENA           5817 6TH ST NW                  C/O CYNTHIA ALEXANDER                                             WASHINGTON      DC      20011‐2003
ALEXANDER, HENRY E          26130 WAGNER AVE                                                                                  WARREN          MI      48089‐4682
ALEXANDER, HENRY J          2814 E GENESEE AVE APT 313                                                                        SAGINAW         MI      48601‐4049
ALEXANDER, HENRY J          65 N TASMANIA ST                                                                                  PONTIAC         MI      48342‐2767
ALEXANDER, HERBERT E        308 W HEIGHTS DR                                                                                  WEST MONROE     LA      71292‐6348
ALEXANDER, HERBERT EUGENE   BARON & BUDD PC                 9015 BLUEBONNET BLVD                                              BATON ROUGE     LA      70810‐2812
ALEXANDER, HERBERT EUGENE   BARON & BUDD                    3102 OAK LANE AVE, SUITE 1100                                     DALLAS          TX      75219
ALEXANDER, HERBERT EUGENE   DIMOS BROWN ERSKINE BURKETT &   1216 STUBBS AVE                                                   MONROE          LA      71201‐5622
                            GARNER LLP
ALEXANDER, HERBERT G        751 17TH PL SW                                                                                    VERO BEACH       FL     32962‐7004
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Name                       Address1                         Address2                    Address3    Address4               City               State Zip
ALEXANDER, HERBERT T       6505 ARMSTRONG AVE                                                                              BALTIMORE           MD 21215‐2001
ALEXANDER, HERBERT T       ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET, ONE                                      BALTIMORE           MD 21202
                                                            CHARLES CENTER 22ND FLOOR
ALEXANDER, HOLLIS H        3885 HIGHWAY 55 E                                                                               EVA                AL   35621‐8921
ALEXANDER, HOLLY F         6266 E 200 S                                                                                    ELWOOD             IN   46036‐8471
ALEXANDER, IDA M           4010 LIN CIR                                                                                    SANDUSKY           OH   44870‐5759
ALEXANDER, INNA N          10512 GREENFORD DR                                                                              SAN DIEGO          CA   92126‐2829
ALEXANDER, IRENE           248 LORING AVENUE                                                                               BUFFALO            NY   14214‐2710
ALEXANDER, IRENE           248 LORING AVE                                                                                  BUFFALO            NY   14214‐2710
ALEXANDER, IRENE J         640 MILLER S. W.                                                                                WARREN             OH   44485‐4148
ALEXANDER, IRENE J         640 MILLER ST SW                                                                                WARREN             OH   44485‐4148
ALEXANDER, IRMGARD         3571 W CR 875 N                                                                                 LIZTON             IN   46149‐9517
ALEXANDER, IRMGARD         3571 W COUNTY ROAD 875 N                                                                        LIZTON             IN   46149‐9517
ALEXANDER, ISMAY B         43 STERLING PL                                                                                  BROOKLYN           NY   11217‐3203
ALEXANDER, J B             811 FISK DR                                                                                     FLINT              MI   48503‐5248
ALEXANDER, J R             3790 PINEBROOK CIR APT 308                                                                      BRADENTON          FL   34209‐8051
ALEXANDER, JACK B          5517 WESTCHESTER DR                                                                             FLINT              MI   48532‐4062
ALEXANDER, JACK B          1176 FREEMONT DR                                                                                MONTGOMERY         AL   36111‐2642
ALEXANDER, JACK L          9125 E LILY LAKE RD                                                                             GLADWIN            MI   48624‐9513
ALEXANDER, JACK P          PO BOX 21838                                                                                    DETROIT            MI   48221‐0838
ALEXANDER, JACKIE
ALEXANDER, JACKIE L        204 JACKSON ST                                                                                  FRANKTON           IN   46044
ALEXANDER, JACQUELINE J    427 EDGEWOOD AVE                                                                                DAYTON             OH   45402‐5402
ALEXANDER, JACQUELINE J    232 AUDUBON PARK                                                                                DAYTON             OH   45402‐6312
ALEXANDER, JACQUELINE M.   7071 WOODSIDE DR                                                                                INDIANAPOLIS       IN   46260‐5908
ALEXANDER, JAMES           BRAYTON PURCELL                  PO BOX 6169                                                    NOVATO             CA   94948‐6169
ALEXANDER, JAMES           BOONE ALEXANDRA                  205 LINDA DR                                                   DAINGERFIELD       TX   75638‐2107
ALEXANDER, JAMES C         1022 N WALLER AVE                                                                               CHICAGO            IL   60651‐2611
ALEXANDER, JAMES D         13152 CARNABY CT                                                                                STERLING HEIGHTS   MI   48313‐4122
ALEXANDER, JAMES D         15600 MOYER RD                                                                                  GERMANTOWN         OH   45327‐9713
ALEXANDER, JAMES E         4208 JEFF DAVIS ST                                                                              MARSHALL           TX   75672‐2632
ALEXANDER, JAMES E         9925 BEECH DALY RD                                                                              TAYLOR             MI   48180‐3172
ALEXANDER, JAMES E         APT 908                          2 WEST 11TH STREET                                             TYRONE             PA   16686‐1549
ALEXANDER, JAMES E         152 CROWN ROYAL DR                                                                              WILLIAMSVILLE      NY   14221‐2765
ALEXANDER, JAMES E         3639 WOODGLEN WAY                                                                               ANDERSON           IN   46011‐1675
ALEXANDER, JAMES E         4108 MEADOWLANE DR.                                                                             JACKSON            MS   39206‐9206
ALEXANDER, JAMES E         982 N 11 MILE RD                                                                                SANFORD            MI   48657‐9635
ALEXANDER, JAMES E         7306 DOE RD                                                                                     OSCODA             MI   48750‐9619
ALEXANDER, JAMES E         1093 PLEASANT HILL RD                                                                           TEN MILE           TN   37880‐4753
ALEXANDER, JAMES E         12143 QUITO RD                                                                                  MIDLOTHIAN         VA   23112‐3774
ALEXANDER, JAMES E         PO BOX 2492                                                                                     PENSACOLA          FL   32513‐2492
ALEXANDER, JAMES E         2088 HERITAGE DR                                                                                SANDUSKY           OH   44870‐5157
ALEXANDER, JAMES E         9233 LAKEVIEW DR                                                                                FOLEY              AL   36535‐9372
ALEXANDER, JAMES EDWARD    152 CROWN ROYAL DR                                                                              WILLIAMSVILLE      NY   14221‐2765
ALEXANDER, JAMES F         320 HIGHWAY 59                                                                                  COMMERCE           GA   30530‐6627
ALEXANDER, JAMES H         105 COUNTRY ESTATES DR                                                                          WEST MONROE        LA   71291‐9078
ALEXANDER, JAMES L         C/O CONNIE A. SARGENT            4227 WILLOW RUN DRIVE                                          BEAVERCREEK        OH   45430‐5430
ALEXANDER, JAMES L         4227 WILLOW RUN DR                                                                              BEAVERCREEK        OH   45430‐1566
ALEXANDER, JAMES M         385 OKELL LN                                                                                    FRAZIERS BOTTOM    WV   25082‐7525
ALEXANDER, JAMES M         1194 LA SALLE AVE                                                                               GRAND ISLAND       NY   14072‐2721
ALEXANDER, JAMES P         66 LONSDALE RD                                                                                  BUFFALO            NY   14208‐1508
ALEXANDER, JAMES R         128 ARNOLD AVE                                                                                  ELIZABETHTON       TN   37643‐5319
ALEXANDER, JAMES R         10197 DAR LN                                                                                    GOODRICH           MI   48438‐9403
ALEXANDER, JAMES R         PO BOX 851085                                                                                   WESTLAND           MI   48185‐6185
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Name                     Address1                        Address2                      Address3   Address4                  City           State   Zip
ALEXANDER, JAMES R       1601 ETHEL ST                                                                                      JONESBORO       AR     72401‐4813
ALEXANDER, JAMES S       9 DEVLON CT                                                                                        OWINGS MILLS    MD     21117‐6124
ALEXANDER, JAMES S       1525 MULBERRY LN                                                                                   FLINT           MI     48507‐5360
ALEXANDER, JAMES S       29 DUFFIELD RD                                                           BRAMPTON ON CANADA L7A‐
                                                                                                  2P5
ALEXANDER, JAMES T       238 E RUSSELL AVE                                                                                  FLINT          MI      48505‐2745
ALEXANDER, JAMES T       8381 REED RD                                                                                       NEW LOTHROP    MI      48460‐9721
ALEXANDER, JAMES W       BRAYTON PURCELL                 PO BOX 6169                                                        NOVATO         CA      94948‐6169
ALEXANDER, JANE A        3333 WEATHERED ROCK CIR                                                                            KOKOMO         IN      46902‐6065
ALEXANDER, JANICE B      3416 YATARUBA DR                                                                                   BALTIMORE      MD      21207‐4535
ALEXANDER, JANICE D      5000 RIDGEWOOD RD APT 1304                                                                         JACKSON        MS      39211‐5451
ALEXANDER, JANICE F      920 N 780 E                                                                                        GREENTOWN      IN      46936‐8807
ALEXANDER, JANICE M      PO BOX 300                                                                                         LAKELAND       MI      48143‐0300
ALEXANDER, JEAN I        589 E HUNTERS DR APT C                                                                             CARMEL         IN      46032‐2821
ALEXANDER, JENNIFER      660 WYLIE DRIVE                                                                                    BRIGHTON       TN      38011‐5027
ALEXANDER, JENNIFER L    8315 WHITNEY RD                                                                                    GAINES         MI      48436‐9797
ALEXANDER, JEREMY N      2683 BRASS LANTERN COURT                                                                           DOUGLASVILLE   GA      30135‐7502
ALEXANDER, JEREMY P      4014 MARLTON DR                                                                                    FORT WAYNE     IN      46818‐9361
ALEXANDER, JERRY         GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                        NORFOLK        VA      23510‐2212
                                                         STREET, SUITE 600
ALEXANDER, JERRY B       1409 TOWNSHIP ROAD 843                                                                             ASHLAND        OH      44805
ALEXANDER, JERRY L       905 CORDELE RD                                                                                     ALBANY         GA      31705‐1663
ALEXANDER, JERRY L       PO BOX 228                                                                                         ALLONS         TN      38541‐0228
ALEXANDER, JERRY W       401 SHADYLAKE DR                                                                                   LA VERGNE      TN      37086‐2685
ALEXANDER, JESSE WAYNE   BURROW & PARROTT                500 DALLAS ST STE 3450                                             HOUSTON        TX      77002‐4712
ALEXANDER, JESSIE        9410 S LAFLIN                                                                                      CHICAGO        IL      60620‐5143
ALEXANDER, JOAN          19164 ANNCHESTER RD                                                                                DETROIT        MI      48219‐2751
ALEXANDER, JOAN M        4224 WOODLAND AVENUE            APT. # 7                                                           CASS CITY      MI      48726
ALEXANDER, JOAN M        4224 WOODLAND ST APT 7                                                                             CASS CITY      MI      48726‐1665
ALEXANDER, JOANN G       1050 LUCHARLES                                                                                     MT MORRIS      MI      48458‐2125
ALEXANDER, JOCILLE F     2931 TOD AVE NW                                                                                    WARREN         OH      44485‐1504
ALEXANDER, JODY          2317 S HACKLEY ST                                                                                  MUNCIE         IN      47302‐4246
ALEXANDER, JOE D         19508 COUNTY ROAD 722                                                                              HORNERSVILLE   MO      63855‐9784
ALEXANDER, JOE L         6009 OXLEY DR                                                                                      FLINT          MI      48504‐7028
ALEXANDER, JOEL A        33 DAVIS LAKE RD                                                                                   LAPEER         MI      48446‐1470
ALEXANDER, JOETTA L      10449 VISTA PINES LOOP LO                                                                          CLERMONT       FL      34711
ALEXANDER, JOHN          SIMMONS FIRM                    PO BOX 521                                                         EAST ALTON     IL      62024‐0519
ALEXANDER, JOHN A        1105 HAWKS RDG                                                                                     GRAND LEDGE    MI      48837‐1057
ALEXANDER, JOHN D        591 M SANDERS RD                                                                                   BUCHANAN       GA      30113‐3511
ALEXANDER, JOHN D        1318 LEGACY CT                                                                                     INDIANAPOLIS   IN      46234‐9729
ALEXANDER, JOHN D        310 OAK ST                                                                                         PRESCOTT       WI      54021‐1700
ALEXANDER, JOHN E        920 N 780 E BOX 23B                                                                                GREENTOWN      IN      46936
ALEXANDER, JOHN H        27 TODD RD                                                                                         PLYMOUTH       CT      06782‐2319
ALEXANDER, JOHN H        12 HILLSIDE DR                                                                                     AVON           NY      14414‐9521
ALEXANDER, JOHN J        1105 HAWKS RDG                                                                                     GRAND LEDGE    MI      48837‐1057
ALEXANDER, JOHN K        142 TILSON RD                   CLARK COUNTY                                                       ATHENS         GA      30606‐4515
ALEXANDER, JOHN K        142 TILSON ROAD                                                                                    ATHENS         GA      30606‐4515
ALEXANDER, JOHN L        9321 E PITTSBURG RD                                                                                DURAND         MI      48429‐9402
ALEXANDER, JOHN L        8827 PLYMOUTH RD APT 4                                                                             DETROIT        MI      48204‐4739
ALEXANDER, JOHN R        3274 NORTH RD                                                                                      NEWFANE        NY      14108‐9609
ALEXANDER, JOHN S        1135 COTTONWOOD ST                                                                                 LAKE ORION     MI      48360‐1463
ALEXANDER, JOHN S        2726 EVERGLADE AVE                                                                                 WOODRIDGE      IL      60517‐3323
ALEXANDER, JOHN W        1414 N SAGINAW ST                                                                                  LAPEER         MI      48446‐1561
ALEXANDER, JOHN W        4354 PLEASANT FOREST DR                                                                            DECATUR        GA      30034‐2421
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Name                       Address1                          Address2                       Address3   Address4               City               State   Zip
ALEXANDER, JOHN W          7537 BANCASTER DR                                                                                  INDIANAPOLIS        IN     46268‐5714
ALEXANDER, JOHNNIE         242 W SMITH FERRY RD                                                                               SONTAG              MS     39665‐5410
ALEXANDER, JOHNNIE         242 W. SMITH FERRY RD.                                                                             SONTAG              MS     39665‐5410
ALEXANDER, JOHNNIE M       434 W 700 NORTH                                                                                    VALPARAISO          IN     46385‐8407
ALEXANDER, JOHNNIE M       1420 SAINT MARYS CIR APT 107                                                                       HOBART              IN     46342‐6562
ALEXANDER, JOHNNY V        1884 REDWOOD CIR                                                                                   ADRIAN              MI     49221‐8482
ALEXANDER, JOHNNY W        5536 FRED HAGUEWOOD RD                                                                             MERIDIAN            MS     39301‐9333
ALEXANDER, JON H           3423 ALLENDALE AVE                                                                                 YOUNGSTOWN          OH     44511‐2630
ALEXANDER, JONATHAN        3798 ABBOTTSFORD RD                                                                                CLYDE               MI     48049‐3605
ALEXANDER, JONATHAN        3798 ABBOTSFORD ROAD                                                                               CLYDE               MI     48049
ALEXANDER, JORETTA W       2530 FOREST SPRINGS DR SE                                                                          WARREN              OH     44484‐5615
ALEXANDER, JOSEPH          22950 VALLEY VIEW DR                                                                               HAYWARD             CA     94541‐3543
ALEXANDER, JOSEPH H        3358 EVERETT DR                                                                                    ROCHESTER HILLS     MI     48307‐5071
ALEXANDER, JOYCE           12010 HARRIS SETTLEMENT COURT                                                                      CYPRESS             TX     77433
ALEXANDER, JUANITA A       3838 BEECH DR                                                                                      YPSILANTI           MI     48197
ALEXANDER, JUDY            1165 ALLEN RD                                                                                      SMITHS CREEK        MI     48074‐3201
ALEXANDER, JULIA M         27 HOWELL DR SW                                                                                    ATLANTA             GA     30331‐4020
ALEXANDER, JULIUS M        3302 HOVEY ST                                                                                      INDIANAPOLIS        IN     46218‐1935
ALEXANDER, JUNE            1996 FARMBROOK DR                                                                                  MANSFIELD           OH     44904‐1634
ALEXANDER, KAREN           UNIT 93                           35200 CATHEDRAL CANYON DRIVE                                     CATHEDRAL CTY       CA     92234‐8000
ALEXANDER, KAREN A         5193 SHEPARD RD                                                                                    MIAMISBURG          OH     45342‐4776
ALEXANDER, KAREN M         8726 53RD PL E                                                                                     BRADENTON           FL     34211‐3700
ALEXANDER, KATE E          PO BOX 14706                                                                                       SAGINAW             MI     48601‐0706
ALEXANDER, KATHERINE       22370 RIVER RIDGE TRL                                                                              FARMINGTON HILLS    MI     48335‐4694

ALEXANDER, KATHLEEN        225 1/2 AGATE AVENUE                                                                               NEWPORT BEACH      CA      92662‐2001
ALEXANDER, KATHLEEN A      382 4TH AVE                                                                                        MANSFIELD          OH      44905‐1914
ALEXANDER, KATHY A         6913 W 250 S                                                                                       RUSSIAVILLE        IN      46979‐9495
ALEXANDER, KATHY J         2022 LORA ST                                                                                       ANDERSON           IN      46013‐2748
ALEXANDER, KATHY J         2022 LORA ST.                                                                                      ANDERSON           IN      46013
ALEXANDER, KATHY L         2272 PLAZA DR W                                                                                    CLIO               MI      48420‐2106
ALEXANDER, KATHY L         7920 EVENING SHADE DR                                                                              MABELVALE          AR      72103‐3564
ALEXANDER, KATIE M         1273 GENEI CT W APT 101                                                                            SAGINAW            MI      48601‐7823
ALEXANDER, KEITH           411 BRIGHTWOOD AVE                                                                                 DAYTON             OH      45405‐4429
ALEXANDER, KENNETH         1905 ALLEN DR                                                                                      FLORISSANT         MO      63033‐5475
ALEXANDER, KENNETH A       PO BOX 758                                                                                         FALLING WATERS     WV      25419
ALEXANDER, KENNETH A       1753 SAINT FRANCOIS RD                                                                             BONNE TERRE        MO      63628‐9302
ALEXANDER, KENNETH E       1940 SHADY OAK CT                                                                                  SPRINGFIELD        OH      45502‐7312
ALEXANDER, KENNETH J       PO BOX 113                                                                                         WASHINGTONVLE      OH      44490‐0113
ALEXANDER, KENNETH JAMES   PO BOX 113                                                                                         WASHINGTONVLE      OH      44490‐0113
ALEXANDER, KENNETH R       13140 CARNABY CT                                                                                   STERLING HEIGHTS   MI      48313‐4122
ALEXANDER, KEVIN L         PO BOX 2184                                                                                        YOUNGSTOWN         OH      44504
ALEXANDER, KIRK L          12622 KRUGER LN                                                                                    DEWITT             MI      48820‐9331
ALEXANDER, KRISTEN M       1009 EMWILL ST                                                                                     FERNDALE           MI      48220‐2305
ALEXANDER, KYLE K          10925 GRAYSTONE DR                                                                                 HAGERSTOWN         MD      21740‐7649
ALEXANDER, LAMAR           10454 MONARCH DR                                                                                   SAINT LOUIS        MO      63136‐5646
ALEXANDER, LANCE           8137 JEWELLA AVE                                                                                   SHREVEPORT         LA      71108‐5603
ALEXANDER, LARRY           290 N WINDING DR                                                                                   WATERFORD          MI      48328‐3071
ALEXANDER, LARRY           639 LEAH WAY                                                                                       GREENWOOD          IN      46142‐1991
ALEXANDER, LARRY G         4581 MERRITT RD                                                                                    YPSILANTI          MI      48197‐9399
ALEXANDER, LARRY K         PO BOX 933                                                                                         WEST CHESTER       OH      45071
ALEXANDER, LATONIA L       14719 EDMORE DR                                                                                    DETROIT            MI      48205‐1261
ALEXANDER, LAURA M         1725 LINCOLN DR                                                                                    FLINT              MI      48503‐4715
ALEXANDER, LAURA M         2118 WAYNE ST                                                                                      SANDUSKY           OH      44870‐4852
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Name                      Address1                           Address2               Address3       Address4               City             State Zip
ALEXANDER, LAURA R        2954 N CHESTER AVE                                                                              INDIANAPOLIS      IN 46218‐3023
ALEXANDER, LAVERN E       2537 WOOD ST                                                                                    MUSKEGON          MI 49444‐1648
                                                                                                                          HEIGHTS
ALEXANDER, LAYNNE D       2101 MALLERY ST                                                                                 FLINT            MI   48504‐3184
ALEXANDER, LEGENZA H      PO BOX 425                         1974 LA FONTAINE AVE   #5D                                   BRONX            NY   10457‐0425
ALEXANDER, LEONA L        28675 LA AZTECA                                                                                 LAGUNA NIGUEL    CA   92677‐7646
ALEXANDER, LEONARD L      2150 E FRANCES RD                                                                               CLIO             MI   48420‐9767
ALEXANDER, LEROY          7658 HIDDEN SPRINGS DR                                                                          HOLLAND          OH   43528‐7945
ALEXANDER, LEROY          PO BOX 509                                                                                      JUNCTION CITY    AR   71749‐0509
ALEXANDER, LESTER H       4680 JEFFERSON DAVIS BLVD W 4B10                                                                ESTERO           FL   33928
ALEXANDER, LINDA          1521 TRAFFIC ST                                                                                 BOSSIER CITY     LA   71111
ALEXANDER, LINDA          5182 WINSHALL DR                                                                                SWARTZ CREEK     MI   48473‐1223
ALEXANDER, LINDA G        340 CHATEAU JON                                                                                 DENHAM SPRINGS   LA   70726‐3528
ALEXANDER, LINDA G        PO BOX 48532                                                                                    SARASOTA         FL   34320‐5632
ALEXANDER, LINDA K        1501 ALMEDIA CT APT 26                                                                          MIAMISBURG       OH   45342
ALEXANDER, LOIS A         10197 DAR LN                                                                                    GOODRICH         MI   48438‐9403
ALEXANDER, LORENE         1213 BLUEBERRY LANE                                                                             BURTON           MI   48529
ALEXANDER, LORENE         505 SW 15TH ST                                                                                  GRAND PRAIRIE    TX   75051‐1416
ALEXANDER, LORETTA M      2921 COLORADO AVE                                                                               FLINT            MI   48506‐2441
ALEXANDER, LORETTA P      32028 VERONA CIR                                                                                BEVERLY HILLS    MI   48025‐4268
ALEXANDER, LORINE         213 WASHINGTON CT                                                                               SANDUSKY         OH   44870‐2206
ALEXANDER, LOUIS E        2109 JARMAN DR                                                                                  TROY             MI   48085‐1038
ALEXANDER, LOUIS R        16622 WARD ST                                                                                   DETROIT          MI   48235‐4284
ALEXANDER, LOUISE D       5806 MARLOWE DR                                                                                 FLINT            MI   48504‐7056
ALEXANDER, LOWELL L       APT H‐1                            1775 ANTLER COURT                                            ELWOOD           IN   46036‐3235
ALEXANDER, LOWERY B       2270 COLONY WAY                                                                                 YPSILANTI        MI   48197‐7424
ALEXANDER, LUCILLE
ALEXANDER, LYLE R         8385 N LINDEN RD                                                                                MOUNT MORRIS     MI   48458‐9326
ALEXANDER, MABLINE        P.O. BOX 302                                                                                    BELMONT          MS   38827‐0302
ALEXANDER, MABLINE        PO BOX 302                                                                                      BELMONT          MS   38827‐0302
ALEXANDER, MAJOR N        206 DEER SPRINGS RD SW                                                                          DECATUR          AL   35603
ALEXANDER, MALASSIE       9132 N HELENA AVE                                                                               KANSAS CITY      MO   64154‐2047
ALEXANDER, MALICHI WADE   1799 LABERDEE RD                                                                                ADRIAN           MI   49221‐9612
ALEXANDER, MARCUS O       605 NW 115TH ST                                                                                 OKLAHOMA CITY    OK   73114‐6876
ALEXANDER, MARGARET
ALEXANDER, MARGARET D     2448 WHEELER AVE                                                                                DAYTON           OH   45406‐1733
ALEXANDER, MARGARET E
ALEXANDER, MARGERY F      27092 LAS MANANITAS DR                                                                          VALENCIA         CA   91354‐2204
ALEXANDER, MARGREE        1219 SOMERSET LN                                                                                FLINT            MI   48503‐2924
ALEXANDER, MARIAN J       24698 SPRING LN                                                                                 HARRISON TWP     MI   48045‐2313
ALEXANDER, MARIE          1413 GLENEAGLES DR                                                                              KOKOMO           IN   46902‐3189
ALEXANDER, MARILYN D      1851 LAKE GEORGE DR.                                                                            LITHIA SPRINGS   GA   30122‐3012
ALEXANDER, MARILYN L      4706 BROOKHAVEN DR                                                                              KOKOMO           IN   46901‐3610
ALEXANDER, MARJORIE       1192 TANGLEWOOD LN                                                                              BURTON           MI   48529‐2229
ALEXANDER, MARK E         609 SIGLER ST                                                                                   FRANKTON         IN   46044
ALEXANDER, MARK L         6900 ROYCE CT                                                                                   CHARLOTTE        NC   28277‐4609
ALEXANDER, MARK L         1905 S POST RD                                                                                  ANDERSON         IN   46012‐2745
ALEXANDER, MARK R         68857 CORNERSTONE DR                                                                            WASHINGTN TWP    MI   48095‐2926
ALEXANDER, MARK R         8726 53RD PL E                                                                                  BRADENTON        FL   34211‐3700
ALEXANDER, MARTHA A       427 WALNUT ST                                                                                   LOCKPORT         NY   14094‐3821
ALEXANDER, MARTHA J       1115 E MAIN ST                                                                                  CHERRYVALE       KS   67335‐1618
ALEXANDER, MARTHA J       6272 W QUAIL RIDGE ST                                                                           RATHDRUM         ID   83858‐8344
ALEXANDER, MARTHANN J     602 S OHIO ST                                                                                   SHERIDAN         IN   46069‐1229
ALEXANDER, MARTHANN J     602 S OHIO                                                                                      SHERDIAN         IN   46069‐1229
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Name                       Address1                       Address2                      Address3   Address4               City               State   Zip
ALEXANDER, MARVELEAN       19551 NORTHLAWN                                                                                DETROIT             MI     48221‐1609
ALEXANDER, MARVIN          11440 E 106TH ST                                                                               FISHERS             IN     46037‐3604
ALEXANDER, MARVIN          821 DEERWOOD DR                                                                                STOCKBRIDGE         GA     30281‐7363
ALEXANDER, MARVIN A        1901 PINGREE AVE                                                                               FLINT               MI     48503‐4333
ALEXANDER, MARVIN HARRY    8074 BUNKER HILL RD                                                                            LOCKPORT            NY     14094‐9052
ALEXANDER, MARY            1011 DECKER STREET                                                                             FLINT               MI     48503‐4849
ALEXANDER, MARY            1101 BELVEDERE DR                                                                              ARLINGTON           TX     76010‐2929
ALEXANDER, MARY            1011 DECKER ST                                                                                 FLINT               MI     48503‐4849
ALEXANDER, MARY            427 MARGARET AVE                                                                               BALTIMORE           MD     21221‐6824
ALEXANDER, MARY            802 MARKDALE ST                                                                                LAKE ORION          MI     48362‐3418
ALEXANDER, MARY A          916 CAROLINE AVE                                                                               JOLIET               IL    60433‐9582
ALEXANDER, MARY E.         4027 WOODCREEK LN                                                                              LANSING             MI     48911
ALEXANDER, MARY J          126 W 900 N                                                                                    ALEXANDRIA          IN     46001‐8388
ALEXANDER, MARY L          1241 E YORK AVE                                                                                FLINT               MI     48505‐2334
ALEXANDER, MARY LOU        622 BRIARHEATH DR                                                                              DEFIANCE            OH     43512‐5317
ALEXANDER, MARY P          631 W STEWART AVE                                                                              FLINT               MI     48505‐3286
ALEXANDER, MARYLYN A       7340 SHEWANGO WAY                                                                              CINCINNATI          OH     45243‐1830
ALEXANDER, MATTIE M        4432 INDIANA AVE                                                                               KANSAS CITY         MO     64130‐2034
ALEXANDER, MAURICE C       11781 FERDEN RD                                                                                CHESANING           MI     48616‐9594
ALEXANDER, MAURICE L       13583 WINDMOOR DR                                                                              SOUTH LYON          MI     48178‐8145
ALEXANDER, MCMAHAN C       2313 N SPURGEON ST                                                                             SANTA ANA           CA     92706‐2057
ALEXANDER, MEADA           40 WATCHUNG WAY                                                                                BERKELEY HEIGHTS    NJ     07922‐2600
ALEXANDER, MELBA D         2022 HILLSDALE DR                                                                              DAVISON             MI     48423‐2330
ALEXANDER, MELVIN D        PO BOX 221                                                                                     SEWARD              NE     68434‐0221
ALEXANDER, MERLE R         2968 N 350 W                                                                                   ANDERSON            IN     46011‐8784
ALEXANDER, MICHAEL C       1176 HERBERICH AVE                                                                             AKRON               OH     44301
ALEXANDER, MICHAEL E       930 N A ST                                                                                     ELWOOD              IN     46036‐1569
ALEXANDER, MICHAEL E       1212 DIANA CT                                                                                  RUSHVILLE           IN     46173‐1084
ALEXANDER, MICHAEL L       14806 W ANTELOPE DR                                                                            SUN CITY WEST       AZ     85375‐5738
ALEXANDER, MICHAEL R       501 4TH ST                                                                                     ALBANY              WI     53502‐9402
ALEXANDER, MICHAEL R       167 RANDY SMITH DR                                                                             SPRINGVILLE         IN     47462‐5104
ALEXANDER, MICHAEL V       7782 CRICKLEWOOD DR                                                                            TALLAHASSEE         FL     32312‐6785
ALEXANDER, MICHELLE        69 N BROADWAY 218                                                                              WHITE PLAINS        NY     10603
ALEXANDER, MICHELLE E.     3515 E SHERWOOD TER                                                                            FORT WAYNE          IN     46806‐2640
ALEXANDER, MICHELLE R      15833 SHETLAND AVE                                                                             GREENWEL SPGS       LA     70739‐5916
ALEXANDER, MILDRED H       519 ALBEE FARM RD, APT 217                                                                     VENICE              FL     34285‐6210
ALEXANDER, MINNIE L        3642 FREDERICK ST                                                                              DETROIT             MI     48211‐3169
ALEXANDER, MISTY           1414 US HIGHWAY 60 E                                                                           BURNA               KY     42028‐9224
ALEXANDER, MURTIS F        1 BORDEN WAY                                                                                   TRENTON             NJ     08608
ALEXANDER, MYRA L          223 BARRINGTON CIR                                                                             LANSING             MI     48917‐6832
ALEXANDER, NANCY H         1039 COVE CIR                                                                                  ANDERSON            SC     29626‐6500
ALEXANDER, NANCY K         14308 SUNBURY ST                                                                               LIVONIA             MI     48154‐4552
ALEXANDER, NATHAN D        101 SOUTH BRISTOL AVENUE                                                                       LOCKPORT            NY     14094‐4223
ALEXANDER, NELSON          241 W 32ND ST                                                                                  INDIANAPOLIS        IN     46208
ALEXANDER, NELSON K        31 LEHIGH AVE                                                                                  HAGERSTOWN          MD     21742‐6537
ALEXANDER, NOLAN B         FOSTER & SEAR                  360 PLACE OFFICE PARK, 1201                                     ARLINGTON           TX     76006
                                                          NORTH WATSON, SUITE 145
ALEXANDER, NORA M          4137 RELLIM AVE NW                                                                             WARREN             OH      44483‐2041
ALEXANDER, NORA MICHELLE   4137 RELLIM AVE NW                                                                             WARREN             OH      44483‐2041
ALEXANDER, NORENE T        11198 HANOVER DR                                                                               WARREN             MI      48093‐5591
ALEXANDER, NORFLEET        161 OAK ST                                                                                     EAST ORANGE        NJ      07018‐2710
ALEXANDER, NORMAN          2118 WAYNE ST                                                                                  SANDUSKY           OH      44870‐4852
ALEXANDER, NORMAN          2626 CLEMENT ST                                                                                FLINT              MI      48504‐7312
ALEXANDER, NORMAN D        5 KIRKCUDBRIGHT LN                                                                             BELLA VISTA        AR      72715‐3612
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ALEXANDER, NORMAN F         33475 FERNWOOD ST                                                                               WESTLAND        MI     48186‐4844
ALEXANDER, NORMAN W         663 HARDY WAY                                                                                   HIRAM           GA     30141‐2015
ALEXANDER, NORRIS O         7225 HIGHWAY 101 N                                                                              ROCKMART        GA     30153‐6375
ALEXANDER, ODIS T           8425 N DORT HWY                                                                                 MOUNT MORRIS    MI     48458‐1212
ALEXANDER, ODIS THERODORE   8425 N DORT HWY                                                                                 MOUNT MORRIS    MI     48458‐1212
ALEXANDER, OLIVE MAE        2957 BERWICK CT                                                                                 ST CHARLES      MO     63303‐3180
ALEXANDER, OLLIE A          305 NANTUCKET PL APT J                                                                          VERMILION       OH     44089‐3297
ALEXANDER, ONDIE L          13024 SIMMS ST                                                                                  DETROIT         MI     48205‐3264
ALEXANDER, OPAL C           130 CASTLE ROCK RD UNIT 23                                                                      SEDONA          AZ     86351‐8816
ALEXANDER, PAMELA J         16831 FIELDING ST                                                                               DETROIT         MI     48219‐3328
ALEXANDER, PATRICIA         19516 WESTBROOK ST                                                                              DETROIT         MI     48219‐6001
ALEXANDER, PATRICIA A       PO BOX 190223                                                                                   BURTON          MI     48519‐0223
ALEXANDER, PATRICIA A       7 CABOT LN                                                                                      GLOUCESTER      MA     01930‐1578
ALEXANDER, PATRICIA J       7176 BLANKENSHIP CIR                                                                            DAVISON         MI     48423‐2317
ALEXANDER, PATRICIA JEAN    7176 BLANKENSHIP CIR                                                                            DAVISON         MI     48423‐2317
ALEXANDER, PATRICIA L       PO BOX 171                                                                                      WARREN          MI     48090‐0171
ALEXANDER, PATRICIA S       7759 DAWSON DR SE                                                                               WARREN          OH     44484‐3007
ALEXANDER, PAUL             41300 TODD LN                                                                                   NOVI            MI     48375‐4975
ALEXANDER, PAUL E           1398 KETTERING ST                                                                               BURTON          MI     48509‐2406
ALEXANDER, PAUL J           14788 SHERWOOD DR                                                                               GREENCASTLE     PA     17225‐8403
ALEXANDER, PAUL L           N5706 FRANCES CIR                                                                               ALBANY          WI     53502‐9320
ALEXANDER, PAUL W           314 OAK ST                                                                                      YPSILANTI       MI     48198‐3066
ALEXANDER, PAULINE          162 N ASTOR ST                                                                                  PONTIAC         MI     48342‐2502
ALEXANDER, PAULINE R        228 STEWART ST                                                                                  HUBBARD         OH     44425‐1511
ALEXANDER, PEGGY S          2133 ORCHARD LAKES PL APT 31                                                                    TOLEDO          OH     43615‐9146
ALEXANDER, PERRY
ALEXANDER, PERRY R          201 E 6TH ST                                                                                    ALEXANDRIA      IN     46001‐2608
ALEXANDER, PERRY SON
ALEXANDER, PERVIS           26121 EUREKA RD APT 125                                                                         TAYLOR         MI      48180‐4940
ALEXANDER, PETER R          5805 SCHADE DR                                                                                  MIDLAND        MI      48640‐6910
ALEXANDER, PHILIP J         5866 W NORTH DR                                                                                 FRANKTON       IN      46044‐9485
ALEXANDER, PHILIP JOHN      5866 W NORTH DR                                                                                 FRANKTON       IN      46044‐9485
ALEXANDER, PHILLIP          1221 GRANDE VW                                                                                  LOGANVILLE     GA      30052‐4721
ALEXANDER, PHILLIP          27 KENSINGTON DR                                                                                HAMILTON       OH      45013‐3584
ALEXANDER, PHILLIP B        12643 PLUM CREEK BLVD                                                                           CARMEL         IN      46033‐8200
ALEXANDER, PHILLIP J        8141 E LIPPINCOTT BLVD                                                                          DAVISON        MI      48423‐8359
ALEXANDER, PHILLIP M        2148 CANVASBACK DR                                                                              INDIANAPOLIS   IN      46234‐8807
ALEXANDER, PIER A           PO BOX 187                                                                                      HERCULANEUM    MO      63048‐0187
ALEXANDER, QUILTILANT       16769 EVERGREEN ST.                                                                             DETROIT        MI      48219
ALEXANDER, RANDY L          1977 HWY 36                                                                                     MOULTON        AL      35650
ALEXANDER, RAYMOND M        PO BOX 67                                                                                       HARRINGTON     DE      19952‐0067
ALEXANDER, REBECCA SUE      1808 WOODVIEW LANE                                                                              ANDERSON       IN      46011
ALEXANDER, REYNOLD          HOWARD BRENNER & GARRIGAN‐NASS   1608 WALNUT ST, 17TH FLOOR                                     PHILADELPHIA   PA      19103

ALEXANDER, RICHARD          SHANNON LAW FIRM                 100 W GALLATIN ST                                              HAZLEHURST     MS      39083‐3007
ALEXANDER, RICHARD          2320 NEAL SWITCH RD                                                                             CAMDEN         SC      29020‐8255
ALEXANDER, RICHARD D        2649 CRAIG CIRCLE WAY                                                                           COSBY          TN      37722‐2925
ALEXANDER, RICHARD J        5192 E DODGE RD                                                                                 MOUNT MORRIS   MI      48458‐9719
ALEXANDER, RICHARD J        11503 DEXTER ST                                                                                 CLIO           MI      48420‐1505
ALEXANDER, RICHARD L        PO BOX 3593                                                                                     GRAND RAPIDS   MI      49501‐3593
ALEXANDER, RICHARD N        3508 COLUMBINE AVE                                                                              BURTON         MI      48529
ALEXANDER, RICHARD P        339 MCINTYRE CT                                                                                 WENTZVILLE     MO      63385‐6872
ALEXANDER, RITA A           1169 BOURNEMOUTH COURT                                                                          DAYTON         OH      45459‐2647
ALEXANDER, ROBERT           129 ZELMER ST                                                                                   BUFFALO        NY      14211‐2104
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ALEXANDER, ROBERT B          2750 SUGARLOAF CLUB DR                                                                       DULUTH           GA     30097‐7441
ALEXANDER, ROBERT D          19 LEE AVE                                                                                   PITTSBURGH       PA     15221‐4807
ALEXANDER, ROBERT E          18547 TIPSICO LAKE RD                                                                        FENTON           MI     48430‐8515
ALEXANDER, ROBERT E          17 GREENWOODE LN                                                                             PONTIAC          MI     48340‐2259
ALEXANDER, ROBERT F          8315 WHITNEY RD                                                                              GAINES           MI     48436‐9797
ALEXANDER, ROBERT J          1333 ARBOR RIDGE LN                                                                          RICHMOND         VA     23223‐2158
ALEXANDER, ROBERT J          1321 CONTINENTAL WAY                                                                         MUSTANG          OK     73064‐2072
ALEXANDER, ROBERT J          GOLDENBERG, MILLER, HELLER &   PO BOX 959                                                    EDWARDSVILLE      IL    62025‐0959
                             ANTOGNOLI
ALEXANDER, ROBERT J          804 SUNNYBEACH BLVD                                                                          WHITE LAKE      MI      48386‐2082
ALEXANDER, ROBERT K          681 CENTRAL AVE                                                                              CARLISLE        OH      45005‐3360
ALEXANDER, ROBERT L          2530 FOREST SPRINGS DR S.E.                                                                  WARREN          OH      44484‐5615
ALEXANDER, ROBERT L          6986 STANDISH RD                                                                             BENTLEY         MI      48613‐9686
ALEXANDER, ROBERT L          6049 W FRANCES RD                                                                            CLIO            MI      48420‐8512
ALEXANDER, ROBERT L          5469 W MOUNT MORRIS RD                                                                       MOUNT MORRIS    MI      48458‐9483
ALEXANDER, ROBERT L          4431 W WOODBRIDGE LN                                                                         NEW PALESTINE   IN      46163‐8829
ALEXANDER, ROBERT L          5819 W MAPLE DR                                                                              FRANKTON        IN      46044‐9491
ALEXANDER, ROBERT LEE        5819 W MAPLE DR                                                                              FRANKTON        IN      46044‐9491
ALEXANDER, ROBERT LEE        4431 W WOODBRIDGE LN                                                                         NEW PALESTINE   IN      46163‐8829
ALEXANDER, ROBERT M          5898 PINKERTON RD                                                                            VASSAR          MI      48768‐9668
ALEXANDER, ROBERT T          4142 BRIDLEGATE WAY                                                                          DAYTON          OH      45424‐8000
ALEXANDER, ROBERT TIMOTHY    4142 BRIDLEGATE WAY                                                                          DAYTON          OH      45424‐8000
ALEXANDER, ROBERT W          4508 E 200 S TRLR 266                                                                        KOKOMO          IN      46902‐4294
ALEXANDER, ROBERT W          9819 GINKO DR                                                                                PENSACOLA       FL      32506‐6101
ALEXANDER, RODGER N          512 E HICKORY STICK CT                                                                       BLOOMINGTON     IN      47401‐4691
ALEXANDER, RODNEY            9672 ODDA WAY                                                                                LAS VEGAS       NV      89117
ALEXANDER, ROGEAN M          2022 W STEWART AVE                                                                           FLINT           MI      48504‐3738
ALEXANDER, ROGER             2706 FOXTROT LN                                                                              SPRING HILL     TN      37174‐7150
ALEXANDER, ROGER L           4137 RELLIM AVE NW                                                                           WARREN          OH      44483‐2041
ALEXANDER, ROGER L           1930 MEDFORD AVE                                                                             INDIANAPOLIS    IN      46222‐2745
ALEXANDER, ROLLIN E          13410 BROOKDALE AVE                                                                          BROOK PARK      OH      44142‐2627
ALEXANDER, RONALD D          2211 OAKWOOD RD                                                                              FRANKLIN        TN      37064‐4906
ALEXANDER, RONALD E          8065 PEBBLESTONE DR                                                                          YPSILANTI       MI      48197‐6201
ALEXANDER, RONALD L          5802 E F AVE                                                                                 KALAMAZOO       MI      49004‐8671
ALEXANDER, RONALD L          2163 CLEOPHUS PKWY                                                                           LINCOLN PARK    MI      48146‐2209
ALEXANDER, RONALD L          7102 MORTWOOD ST                                                                             INDIANAPOLIS    IN      46241‐1419
ALEXANDER, RONALD MARSHALL   1165 ALLEN RD                                                                                KIMBALL         MI      48074‐3201
ALEXANDER, RONNIE A          710 N MERIDIAN ST                                                                            GREENTOWN       IN      46936‐1245
ALEXANDER, ROSANNA L         15853 STEEL ST                                                                               DETROIT         MI      48227‐4037
ALEXANDER, ROSANNA LEE       15853 STEEL ST                                                                               DETROIT         MI      48227‐4037
ALEXANDER, ROSEMARY          12 CLUB 17 RD                                                                                HOLLANDALE      MS      38748‐3702
ALEXANDER, ROSEMARY A        1456 OLD HICKORY DR                                                                          COLUMBUS        OH      43223‐3005
ALEXANDER, ROSETTI F         2037 E COUNTY LINE RD                                                                        MINERAL RIDGE   OH      44440‐9595
ALEXANDER, ROSETTI F         2037 OHLTOWN GIRARD RD.                                                                      MINERAL RIDGE   OH      44440‐4440
ALEXANDER, ROSIELENE POWEL   6448 HOLIDAY BLVD                                                                            FOREST PARK     GA      30297‐3455
ALEXANDER, ROY W             408 S AUBURN RD                                                                              AUBURN          MI      48611‐9316
ALEXANDER, ROYAL             301 E PARKWAY AVE                                                                            FLINT           MI      48505‐5211
ALEXANDER, ROYSTON           216 MOTON DR                                                                                 SAGINAW         MI      48601‐1464
ALEXANDER, RUFUS             BRAYTON PURCELL                PO BOX 6169                                                   NOVATO          CA      94948‐6169
ALEXANDER, RUFUS             7065 WINNOW CT                                                                               REYNOLDSBURG    OH      43068‐6088
ALEXANDER, RUFUS L           1817 CHILTON STREET                                                                          BALTIMORE       MD      21218‐3739
ALEXANDER, RUSTY E           7630 TRIER RD                                                                                FORT WAYNE      IN      46815‐5646
ALEXANDER, RUTH L            1717 MANOR DR                                                                                LEBANON         IN      46052‐1316
ALEXANDER, RUTH L            15773 MURRAY HILL ST                                                                         DETROIT         MI      48227‐1909
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Name                      Address1                        Address2                      Address3   Address4               City                 State   Zip
ALEXANDER, RUTHIE M       1202 LAKE RIDGE LANE                                                                            ATLANTA               GA     30338‐5761
ALEXANDER, SALINA G       4925 JOCKS LN                                                                                   AUSTELL               GA     30105‐1248
ALEXANDER, SALINA GAYLE   4925 JOCKS LN                                                                                   AUSTELL               GA     30106‐1248
ALEXANDER, SAMMIE L       25541 BRIAR DRIVE                                                                               OAK PARK              MI     48237‐1335
ALEXANDER, SAMUEL L       PO BOX 2685                                                                                     KANSAS CITY           KS     66110‐0685
ALEXANDER, SANDRA         2140 COUNTY ROAD 59                                                                             MOULTON               AL     35650
ALEXANDER, SANDRA L       5451 OLE BANNER TRL                                                                             GRAND BLANC           MI     48439‐7641
ALEXANDER, SARGON A       1020 IDYLWILD DR                                                                                RICHMOND              KY     40475‐3609
ALEXANDER, SCOT D         15480 COLUMBIA HWY                                                                              LYNNVILLE             TN     38472‐5225
ALEXANDER, SCOTT          28415 PARKHILL ST                                                                               FARMINGTON HILLS      MI     48334‐3548

ALEXANDER, SCOTT A        205 SAGINAW HWY APT 7                                                                           GRAND LEDGE           MI     48837
ALEXANDER, SCOTT W        22401 NORCREST DR                                                                               SAINT CLAIR SHORES    MI     48080‐2528

ALEXANDER, SHARIN E       5356 WYNNDYKE RD                                                                                JACKSON              MS      39209‐3727
ALEXANDER, SHARON         7610 W SHIPPY RD SW                                                                             FIFE LAKE            MI      49633‐9213
ALEXANDER, SHARON E       4787 SHORELINE BLVD                                                                             WATERFORD            MI      48329‐1659
ALEXANDER, SHARON K       510 SUNCREST DR                                                                                 FLINT                MI      48504‐8114
ALEXANDER, SHARON L       736 OAKLEAF DR                                                                                  DAYTON               OH      45408‐1542
ALEXANDER, SHARON M       5742 SAN CLEMENTE DR APT D                                                                      INDIANAPOLIS         IN      46226‐7216
ALEXANDER, SHARON S       3241 S 400 E                                                                                    KOKOMO               IN      46902‐9359
ALEXANDER, SHEILA D       330 NEPTUNE LN                                                                                  GODFREY              IL      62035‐2312
ALEXANDER, SHIRLEY C      104 MT ZION LN                                                                                  SONTAG               MS      39665‐5432
ALEXANDER, SHIRLEY C      104 MT ZION LANE                                                                                SONTAG               MS      39665‐5432
ALEXANDER, SHIRLEY L      501 SEWARD LANE                                                                                 FAIRMOUNT            IN      46928‐1361
ALEXANDER, SHIRLEY L      501 SEWARD LN                                                                                   FAIRMOUNT            IN      46928‐1361
ALEXANDER, SILAS          GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                     NORFOLK              VA      23510‐2212
                                                          STREET, SUITE 600
ALEXANDER, SOPHIE         1043 CAMINO DEL RETIRO                                                                          SANTA BARBARA        CA      93110‐1006
ALEXANDER, STARLA J       3260 VALERIE ARMS DR APT 501                                                                    DAYTON               OH      45405‐2113
ALEXANDER, STELLA L       263 N HIGH ST.                                                                                  JACKSON              OH      45640‐1176
ALEXANDER, STELLA L       263 N HIGH ST                                                                                   JACKSON              OH      45640‐1176
ALEXANDER, STEPHEN M      610 N FAIRVIEW ST                                                                               ALEXANDRIA           IN      46001‐8174
ALEXANDER, STEVEN J       6913 W 250 S                                                                                    RUSSIAVILLE          IN      46979‐9495
ALEXANDER, STEVEN M       2485 S COUNTY ROAD 625 E                                                                        AVON                 IN      46123
ALEXANDER, STEVEN R       8 N 675 W                                                                                       ANDERSON             IN      46011‐9111
ALEXANDER, STEVEN W       7289 FORD RIDGE RD                                                                              NASHVILLE            IN      47448
ALEXANDER, SUSAN EMILY    RR 3 BOX 3811                                                                                   MARBLE HILL          MO      63764‐9210
ALEXANDER, SUSAN EMILY    ROUTE 3 BOX 3811                                                                                MARBLE HILL          MO      63764‐9210
ALEXANDER, SUSAN L        107 MEADOW LANE CIR                                                                             CLINTON              MS      39056‐4019
ALEXANDER, SUZANNE I      2290 STONEBROOK LN                                                                              FLUSHING             MI      48433‐3502
ALEXANDER, SYDNEY         4055 DORAN ST                                                                                   FLINT                MI      48504‐6856
ALEXANDER, TANYA          2235 PERKINS ST                                                                                 SAGINAW              MI      48601‐2055
ALEXANDER, TERESA A       4146 ALLEN ST                                                                                   INKSTER              MI      48141‐3039
ALEXANDER, TERRY A        5193 SHEPHARD RD.                                                                               MIAMISBURG           OH      45342‐5342
ALEXANDER, TERRY A        5193 SHEPARD RD                                                                                 MIAMISBURG           OH      45342‐4776
ALEXANDER, THERESA M      56 COURT ST                                                                                     PONTIAC              MI      48342‐2506
ALEXANDER, THERESA M      56 COURT                                                                                        PONTIAC              MI      48342‐2506
ALEXANDER, THOMAS E       8402 111TH ST APT 306                                                                           SEMINOLE             FL      33772‐4242
ALEXANDER, THOMAS E       104 PATTON DR NE                                                                                FORT WALTON          FL      32547‐2822
                                                                                                                          BEACH
ALEXANDER, THOMAS E       342 CANTERBURY DR                                                                               LA PORTE              IN     46350‐1918
ALEXANDER, THOMAS E       1312 STATE ST APT 3                                                                             LARNED                KS     67550‐2167
ALEXANDER, THOMAS F       384 N MARTIN DR                                                                                 MARTIN                GA     30557‐5101
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ALEXANDER, THOMAS F         RT 1 BOX 94‐K                                                                                                    MARTIN           GA     30557‐9714
ALEXANDER, THOMAS L         9227 ERIN CT                                                                                                     DAVISBURG        MI     48350‐1340
ALEXANDER, THOMAS L         2117 CLARK TRL                                                                                                   GRAND PRAIRIE    TX     75052‐2214
ALEXANDER, THOMAS L         707 W ATHERTON RD                                                                                                FLINT            MI     48507‐2408
ALEXANDER, THOMAS WAYNE     1709 MILLER ST                                                                                                   INDIANAPOLIS     IN     46221‐1806
ALEXANDER, TIM
ALEXANDER, TIM J            10224 BALTIMORE AVE                                                                                              SAINT ANN       MO      63074‐3807
ALEXANDER, TIMOTHY          AMERICAN FAMILY INSURANCE        C/O MACMILLAN, SCHOLZ & MARKS, 101 SW MAIN ST STE 1000                          PORTLAND        OR      97204‐3221
                                                             P.C.
ALEXANDER, TIMOTHY C        5754 CARRIAGE DR                                                                                                 SARASOTA        FL      34243‐3862
ALEXANDER, TIMOTHY E        3241 S 400 E                                                                                                     KOKOMO          IN      46902‐9359
ALEXANDER, TIMOTHY E        12232 NEFF RD                                                                                                    CLIO            MI      48420‐1807
ALEXANDER, TODD             47274 WHIPPOORWILL DR                                                                                            MACOMB          MI      48044‐2827
ALEXANDER, TOMME            117 TIMBERWOLF WAY                                                                                               BROOKVILLE      OH      45309‐9343
ALEXANDER, TOMMIE           117 TIMBERWOLF WAY                                                                                               BROOKVILLE      OH      45309‐9343
ALEXANDER, TOMMY            4191 WILLIAMS ST                                                                                                 INKSTER         MI      48141‐3083
ALEXANDER, TOMMY H          1817 AUTUMN RIDGE LN                                                                                             GRAPEVINE       TX      76051‐7920
ALEXANDER, TONYA J          805 ALEXANDRINE AVE                                                                                              MOUNT MORRIS    MI      48458‐1791
ALEXANDER, TROY L           14187 NE 21ST ST                                                                                                 CHOCTAW         OK      73020
ALEXANDER, TROY S           3575 GREENFIELD RD                                                                                               DEARBORN        MI      48120‐1217
ALEXANDER, TROY S           PO BOX 100                                                                                                       SPRING HILL     TN      37174‐0100
ALEXANDER, TROY SEAN        3575 GREENFIELD RD                                                                                               DEARBORN        MI      48120‐1217
ALEXANDER, ULYSSES S        242 PIPER BLVD                                                                                                   DETROIT         MI      48215‐3036
ALEXANDER, ULYSSES SN       242 PIPER BLVD                                                                                                   DETROIT         MI      48215‐3036
ALEXANDER, V MARILYN D      2327 SHADY LN                                                                                                    ANDERSON        IN      46011‐2811
ALEXANDER, VAN W            14380 STATE HIGHWAY 37                                                                                           MASSENA         NY      13662‐3154
ALEXANDER, VELMA            930 N MAIN ST                                                                                                    RUSHVILLE       IN      46173‐1235
ALEXANDER, VELMA B          21358 WENDELL ST                                                                                                 CLINTON TWP     MI      48036‐3725
ALEXANDER, VENESICA         PO BOX 18883                                                                                                     CLEVELAND HTS   OH      44118‐0883
ALEXANDER, VERNON           ANGELOS PETER G                  100 N CHARLES STREET, ONE                                                       BALTIMORE       MD      21201
                                                             CHARLES CENTER
ALEXANDER, VERNON           1018 JACK PL                                                                                                     BALTIMORE       MD      21225‐2431
ALEXANDER, VERNON G         18350 S HARRAH RD                                                                                                NEWALLA         OK      74957‐7237
ALEXANDER, VERONICA L       2094 JACKSON ST SW                                                                                               WARREN          OH      44485‐3444
ALEXANDER, VERONICA R       107 MEADOWWOOD DR APT B                                                                                          CLINTON         MS      39056‐5926
ALEXANDER, VICTOR           5151 WELL FLEET DR                                                                                               TROTWOOD        OH      45426‐1419
ALEXANDER, VINCENT E        2210 KINGSRIDGE DR                                                                                               WILMINGTON      DE      19810‐2712
ALEXANDER, VIRGIL           1241 E YORK AVE                                                                                                  FLINT           MI      48505‐2334
ALEXANDER, VIRGIL C         4495 CALKINS RD APT 207                                                                                          FLINT           MI      48532‐3575
ALEXANDER, VIRGINIA         616 WINTERS EAVE                                                                                                 FLUSHING        MI      48433‐1947
ALEXANDER, VIRGINIA         616 WINTERS EVE                                                                                                  FLUSHING        MI      48433‐1947
ALEXANDER, VIRGINIA L       10814 VALETTE CIRCLE W                                                                                           MIAMISBURG      OH      45342
ALEXANDER, VIRGINIA M       1105 HAWKS RDG                                                                                                   GRAND LEDGE     MI      48837‐1057
ALEXANDER, W C              19928 SCHAEFER HIGHWAY                                                                                           DETROIT         MI      48235‐1540
ALEXANDER, WALTER           631 W STEWART AVE                                                                                                FLINT           MI      48505‐3286
ALEXANDER, WALTER E         846 RIPLEY RD                                                                                                    CARBON HILL     AL      35549‐3312
ALEXANDER, WAYNE R          4510 MONAC DR                                                                                                    TOLEDO          OH      43623‐3707
ALEXANDER, WILBERT D        1799 LABERDEE RD                                                                                                 ADRIAN          MI      49221‐9612
ALEXANDER, WILBERT DWAYNE   1799 LABERDEE RD                                                                                                 ADRIAN          MI      49221‐9612
ALEXANDER, WILLIAM          7121 N ELMS RD                                                                                                   FLUSHING        MI      48433‐8802
ALEXANDER, WILLIAM          GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                                     NORFOLK         VA      23510‐2212
                                                             STREET, SUITE 600
ALEXANDER, WILLIAM          309 ALVARADO WAY                                                                                                 TRACY           CA      95376‐1903
ALEXANDER, WILLIAM A        PO BOX 522                                                                                                       DAYTON          OH      45405‐0522
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Name                            Address1                      Address2                 Address3                Address4                City               State   Zip
ALEXANDER, WILLIAM D            5616 CLOVERLAWN DR                                                                                     OKLAHOMA CITY       OK     73135‐5403
ALEXANDER, WILLIAM E            106 E ELM AVE                                                                                          BALTIMORE           MD     21206‐1220
ALEXANDER, WILLIAM E            231 PRINCE LN                                                                                          TULLAHOMA           TN     37388‐6210
ALEXANDER, WILLIAM E            185 BASSETT ST                                                                                         PONTIAC             MI     48341‐2709
ALEXANDER, WILLIAM E            2102 WELCH BLVD                                                                                        FLINT               MI     48504‐2912
ALEXANDER, WILLIAM E            11 GINGHAM ST                                                                                          TRABUCO CANYON      CA     92679

ALEXANDER, WILLIAM ED           2102 WELCH BLVD                                                                                        FLINT              MI      48504‐2912
ALEXANDER, WILLIAM J            8062 GLENWOOD AVE                                                                                      BOARDMAN           OH      44512‐5833
ALEXANDER, WILLIAM J            5267 HAROLD DR                                                                                         FLUSHING           MI      48433‐2506
ALEXANDER, WILLIAM J            304 CREST ST                                                                                           LANSING            MI      48910‐3075
ALEXANDER, WILLIAM L            1735 W 12TH ST                                                                                         ANDERSON           IN      46016‐3001
ALEXANDER, WILLIAM L            7171 SWITZER DR                                                                                        LINDEN             MI      48451‐8746
ALEXANDER, WILLIAM L CHARLES    1735 WEST 12TH STREET                                                                                  ANDERSON           IN      46016‐3001
ALEXANDER, WILLIAM O            15 LONDONDERRY DR                                                                                      FAIRVIEW HTS       IL      62208‐3310
ALEXANDER, WILLIAM P            10871 BLOTT RD                                                                                         NORTH JACKSON      OH      44451‐9715
ALEXANDER, WILLIAM P            3433 PEBBLE SAND LN                                                                                    ORANGE PARK        FL      32065‐4228
ALEXANDER, WILLIAM R            413 REAGAN DR                                                                                          LANSING            KS      66043‐1738
ALEXANDER, WILLIAM R            6321 RATHMANN DR APT A                                                                                 INDIANAPOLIS       IN      46224‐4420
ALEXANDER, WILLIAM T            490 E SALEM ST                                                                                         CLAYTON            OH      45315
ALEXANDER, WILLIAM T            7118 DARK LAKE DR                                                                                      CLARKSTON          MI      48346‐1200
ALEXANDER, WILLIE A             7071 WOODSIDE DRIVE                                                                                    INDIANAPOLIS       IN      46260‐5908
ALEXANDER, WILLIE B             3216 NEWMAN LN                                                                                         SHREVEPORT         LA      71119‐5318
ALEXANDER, WINFRED BRYAN        1331 ALABAMA AVE 8                                                                                     SHEBOYGAN          WI      53081
ALEXANDER, YANDELL              SIMMONS FIRM                  PO BOX 559                                                               WOOD RIVER         IL      62095‐0559
ALEXANDER, YVETTE               2433 WILLIAMS RD                                                                                       CORTLAND           OH      44410
ALEXANDER‐IVO & KARIN FRANZ     LINDENHOF 42                                                                                           MUELHEIM AN DER            D4548
                                                                                                                                       RUHR
ALEXANDER‐LEWIS, VERONICA       4113 KALAYNE LN                                                                                        WILLIAMSVILLE       NY     14221‐7377
ALEXANDER‐MICHAELSON, NANCY K   14308 SUNBURY ST                                                                                       LIVONIA             MI     48154
ALEXANDER‐MURRIEL, ROSA         104 FOUNDERS POINTE BLVD                                                                               FRANKLIN            TN     37064‐0704
ALEXANDER‐PYLE DENISE           APT 805                       555 SOUTH OLD WOODWARD                                                   BIRMINGHAM          MI     48009‐6673
ALEXANDERA SKINNER              4411 ASHLAWN DR                                                                                        FLINT               MI     48507‐5655
ALEXANDIA WOELL                 IM VOGELSBERG 14                                                               56368 KATZENELNBOGEN
                                                                                                               GERMANY
ALEXANDR CHSHITKO
ALEXANDR KYRYLLOFF
ALEXANDRA ADAMS                 43678 DEBORAH DR                                                                                       STERLING HEIGHTS    MI     48313‐1841
ALEXANDRA ASCIONE
ALEXANDRA BAILLARGEON           75960 MORONGO PL                                                                                       INDIAN WELLS        CA     92210‐8594
ALEXANDRA BARNETT               111 E LINCOLN AVE APT 315                                                                              TELFORD             PA     18969
ALEXANDRA BLANKENHORN           KLOSBACHSTRASSE 24                                                                                     ZURICH                     8032
ALEXANDRA CANARY                1541 GRANDVIEW DR                                                                                      ROCHESTER HILLS    MI      48306‐4039
ALEXANDRA CANIZALEZ             15746 SWEETWATER CREEK DR                                                                              HOUSTON            TX      77095
ALEXANDRA CATTELAN              3651 CLYDE RD                                                                                          HOLLY              MI      48442‐8963
ALEXANDRA CONNOR                8089 CRESTVIEW DR                                                                                      CADILLAC           MI      49601‐8268
ALEXANDRA DORUSKA               7928 TRINITY CIR 2 SW                                                                                  TINLEY PARK        IL      60487
ALEXANDRA DYMOWSKA              APT 207                       310 WEST 6TH STREET                                                      ROYAL OAK          MI      48067‐2534
ALEXANDRA ELLSWORTH             1300 STERLING DR                                                                                       CORTLAND           OH      44410‐9222
ALEXANDRA ELNICK                68601 CORNERSTONE DR                                                                                   WASHINGTON         MI      48095‐2926
ALEXANDRA FITZGERALD            PO BOX 265                                                                                             WENTZVILLE         MO      63385‐0265
ALEXANDRA GORE                  6 OCEAN CREST DR                                                                                       ORMOND BEACH       FL      32176‐3116
ALEXANDRA GRAWE DE FLORES       IM FROHENTAL 19               D‐51371 LEVERKUSEN       TELEF.: 49‐2173‐41456   EMAIL:
                                                                                                               HERBERT_GRAWE@WEB.DE
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Name                             Address1                           Address2               Address3             Address4                      City             State Zip
ALEXANDRA GRAWE DE FLORES        CO. HERBERT GRAWE                  IM FROHENTAL 19                             D‐51371 LEVERKUSEN
                                                                                                                GERMANY
ALEXANDRA GRAWE DE FLORES        C/O.: HERBERT GRAWE                IM FROHENTAL 19        D‐51371 LEVERKUSEN   TEL.: +49 2173 414 56, EMAIL:
                                                                                                                HERBERT_
ALEXANDRA HALVERSCHEID           FLORIAN HALVERSCHEID               ZUM ALTEN HOHLWEG 7                         58339 BRECKERFELD
                                                                                                                GERMANY
ALEXANDRA HALVERSCHEID           ZUM ALTEN HOHLWEG 7                58339 BRECKERFELD
ALEXANDRA HAUSMAN                8199 TERRACE GARDEN DR N APT 102                                                                             ST PETERSBURG    FL    33709‐1045
ALEXANDRA HOYNOS                 3389 EAGLES LOFT UNIT B                                                                                      CORTLAND         OH    44410‐9159
ALEXANDRA J HOYNOS               3389 B EAGLES LOFT                                                                                           CORTLAND         OH    44410‐9159
ALEXANDRA JAKOBI                 ZUR HOHE 4                                                                     35066 FRANKENBERG
                                                                                                                GERMANY
ALEXANDRA KOSTYNIUK              26723 MENGE CT                                                                                               WARREN            MI   48091‐4052
ALEXANDRA KURSAWE                PARKSTETTENER STRASSE 22           94356 KIRCHROTH
ALEXANDRA KURSAWE                PARKSTETTENER STRASSE 22                                                       94356 KIRCHROTH GERMANY

ALEXANDRA MARIA BECKER‐BURG      IM STEINBORN 13                                                                54329 KONZ‐OBEREMMEL /
                                                                                                                GERMANY
ALEXANDRA MICHAELS               347 CEDAR BOULEVARD                                                                                          PITTSBURGH        PA   15228‐1137
ALEXANDRA MULLER                 LICHTENSTEINSTR 34                                                             72124 PLIEZHAUSEN
                                                                                                                GERMANY
ALEXANDRA OSHEGE                 MEPPENER STR 27                                                                48155 MUENSTER GERMANY

ALEXANDRA POLTAWES               1501 RUSTIC TRAIL                                                                                            CLEVELAND        OH    44134‐4877
ALEXANDRA WARD                   13225‐101ST STREET                 SE LOT 350                                                                LARGO            FL    33773
ALEXANDRA WOELL                  IM VOGELSBERG 14                                                                                             KATZENELNBOGEN         56368
ALEXANDRA WOLFRAM                826 TULIP CT SW                                                                                              WARREN           OH    44485‐3668
ALEXANDRA ZAMORA                 G4323 FENTON RD                                                                                              BURTON           MI    48529‐1908
ALEXANDRE BENROS
ALEXANDRE DAVIS                  593 MEADOWLARK LN                                                                                            BERKELEY SPGS    WV    25411‐6019
ALEXANDRE GOSSELIN
ALEXANDRE WORONOFF               DEUTSCHE BANK SA/NV                AVENUE MARNIX 13‐15                         1000 BRUXELLES BELGIUM
ALEXANDRE, FAUSTINO D            3 COLLINS DR                                                                                                 HUDSON           MA    01749‐3108
ALEXANDRE, FRANTZ                795 E 34TH ST                                                                                                BROOKLYN         NY    11210‐2727
ALEXANDRE, JOAQUIM M             656 MAPLE AVE                                                                                                ELIZABETH        NJ    07202‐2608
ALEXANDRES, MARY L               207 EDWARDS AVE                                                                                              CANFIELD         OH    44406‐1413
ALEXANDRES, MARY LOU             207 EDWARDS AVE                                                                                              CANFIELD         OH    44406‐1413
ALEXANDRIA CHEVROLET             1800 OLD RICHMOND HWY                                                                                        ALEXANDRIA       VA    22303‐1858
ALEXANDRIA CHEVROLET CADILLAC    3710 S 29                                                                                                    ALEXANDRIA       MN    56308
ALEXANDRIA CITY PUBLIC SCHOOLS                                      2000 N BEAUREGARD ST                                                      ALEXANDRIA       VA    22311
ALEXANDRIA GENERAL DIST CRT      ACCT OF WILLIAM HATCHER
ALEXANDRIA KALABUS               16544 FAIRFAX CT                                                                                             TINLEY PARK      IL    60477‐5485
ALEXANDRIA KAPTURE               9324 NICHOLS RD                                                                                              GAINES           MI    48436‐9726
ALEXANDRIA MARIKIS‐HAMILTON      46900 W 11 MILE RD                                                                                           NOVI             MI    48374‐2310
ALEXANDRIA MOTOR COMPANY         LOREN HOLUB                        3710 S 29                                                                 ALEXANDRIA       MN    56308
ALEXANDRIA O'BRIGHT              1708 TIMBER RIDGE CIR                                                                                        LEESBURG         FL    34748‐2923
ALEXANDRIA PONTIAC BUICK GMC     1800 OLD RICHMOND HIGHWAY                                                                                    ALEXANDRIA       VA    22303‐1858
ALEXANDRIA RENNER                790 BAVENO DR                                                                                                VENICE           FL    34285‐4401
ALEXANDRIA V CODE                3123 HADLEY AVE                                                                                              YOUNGSTOWN       OH    44505‐2019
ALEXANDRIN WHERLEY               26601 COOLIDGE HWY                                                                                           OAK PARK         MI    48237‐1135
ALEXANDRO HILBURN JR             11179 SEYMOUR RD                                                                                             MONTROSE         MI    48457‐9127
ALEXANDROS ALKIDAS               1585 MARTINIQUE DR                                                                                           TROY             MI    48084‐1428
ALEXANDROS DALMANIERAS           2634 E MARCIA ST                                                                                             INVERNESS        FL    34453‐9534
ALEXANDROS GEORGOPOULOS          4099 RISEDORPH ST                                                                                            BURTON           MI    48509‐1067
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Name                          Address1                          Address2                    Address3    Address4               City               State   Zip
ALEXANDROU, ANGIE             13413 ZAREMBA DR                                                                                 BROOKPARK           OH     44142‐4057
ALEXANDROV VITALIA            ALEXANDROV, VITALIA               8270 WOODLAND CENTER BLVD                                      TAMPA               FL     33614‐2401
ALEXANDROWICZ SR, GREGORY S   574 CENTER ROAD                                                                                  BUFFALO             NY     14224‐2157
ALEXANDROWICZ SR, GREGORY S   574 CENTER RD                                                                                    WEST SENECA         NY     14224‐2157
ALEXANDROWICZ, ADELE I        17025 CROSBYDALE ST                                                                              MACOMB              MI     48044‐4014
ALEXANDROWICZ, JEFFREY A      54068 BIRCHFIELD DR. WES                                                                         SHELBY TWP          MI     48316
ALEXANDRU MALINESCU
ALEXANDRU POPESCU             48502 ANTIQUE RD                                                                                 CANTON             MI      48187‐5829
ALEXANDRU, RODICA             2061 SERRA DR                                                                                    STERLING HEIGHTS   MI      48310‐5247
ALEXANDRUNAS, PAUL R          632 SANDY HILL RD                                                                                VALENCIA           PA      16059‐2626
ALEXANIAN, GEORGE K           1435 NORTHBROOK DR                                                                               ANN ARBOR          MI      48103‐6166
ALEXCIE GUILLORY              PO BOX 15                                                                                        SUNSET             LA      70584‐0015
ALEXEE, GEORGE S              3480 ALMERINDA DR                                                                                CANFIELD           OH      44406‐9203
ALEXETER TECHNOLOGIES         830 SETON CT STE 6                UPTD 11/06/07 GJ                                               WHEELING           IL      60090‐5772
ALEXIA ROBERTS                13612 WELLINGTON CRES                                                                            BURNSVILLE         MN      55337‐4342
ALEXIE BENNY                  5332 PRIVATEER BLVD                                                                              BARATARIA          LA      70036‐4722
ALEXIE, LEIDA                 443 TOLMADGE AVE                                                                                 KENT               OH      44240
ALEXINA THEBERGE              321STONECREST DR                                                                                 BRISTOL            CT      06010
ALEXINE MORGAN                2607 GREENTREE LN                                                                                KOKOMO             IN      46902‐2951
ALEXIS A GRAHAM               5626 RADCLIFFE AVE                                                                               AUSTINTOWN         OH      44515‐‐ 41
ALEXIS ARHONDIS               1073 W DOWNEY AVE                                                                                FLINT              MI      48505‐1464
ALEXIS BARTON                 424 HICKORY LN                                                                                   PLAINFIELD         IN      46168‐1837
ALEXIS DIALYSIS CTR           5719 JACKMAN RD                                                                                  TOLEDO             OH      43613‐2332
ALEXIS GIBSON                 2060 ADDALEEN RD                                                                                 HIGHLAND           MI      48357‐3010
ALEXIS GOOD                   2560 WALLACE RD                                                                                  CHEBOYGAN          MI      49721‐9709
ALEXIS GOVAN
ALEXIS HOTEL/SEATTLE          1007 1ST AVE                                                                                     SEATTLE            WA      98104‐1007
ALEXIS L MURPHY               1065 ROYALCREST DR                                                                               FLINT              MI      48532‐3244
ALEXIS M KRYSYNA              1129 DAVID AVENUE                                                                                PACIFIC GROVE      CA      93950
ALEXIS MURPHY                 1065 ROYALCREST DR                                                                               FLINT              MI      48532‐3244
ALEXIS SALLUSTIO              8864 SHERWOOD DR NE                                                                              WARREN             OH      44484‐1766
ALEXIS SHANNON                PO BOX 21302                                                                                     DETROIT            MI      48221‐0302
ALEXIS VILLADA                2267 SALT ST APT 3                                                                               SAGINAW            MI      48602‐1279
ALEXIS VIVON GUYNN            WEITZ & LUXENBERG PC              700 BROADWAY                                                   NEW YORK CITY      NY      10003
ALEXIS W WONG                 2313 N ARMSTRONG ST                                                                              KOKOMO             IN      46901‐5874
ALEXIS, HOMERE                505 PRELUDE ST NW                                                                                PALM BAY           FL      32907‐1061
ALEXIS, MARTHA A              5759 SEBRING DR APT C                                                                            INDIANAPOLIS       IN      46254‐1534
ALEXIS, MARTHA A              APT C                             3456 VAN BUREN ST                                              INDIANAPOLIS       IN      45203‐3320
ALEXIS, ROLF D                2615 HAWTHORNE WAY                                                                               SALINE             MI      48176‐1666
ALEXOPOULOS, WINNIE L         P O BOX 28                                                                                       BAKER              WV      26801
ALEXRED
ALEXSIA COLEMAN               3730 LITTLE RD APT 2106                                                                          ARLINGTON          TX      76016‐2877
ALEXY, DAVID J                53679 SHERWOOD LN                                                                                SHELBY TOWNSHIP    MI      48315‐2053
ALEXY, RICHARD E              3136 MONTCLAIR CT                                                                                CLARKSTON          MI      48348‐5065
ALEXZANDYR MACKENZIE          5933 POTTER STREET                                                                               HASLETT            MI      48840‐8475
ALEY, BONNIE C                6221 N 100 W                                                                                     ALEXANDRIA         IN      46001
ALEY, CARL B                  158 ASHLEY DR                                                                                    OZARK              AL      36360‐3434
ALEY, CARL M                  7856 RINALDO BLVD W                                                                              BRIDGEPORT         NY      13030‐9417
ALEY, CARL M                  15 LA SALLE CT                                                                                   GRAND ISLAND       NY      14072‐2722
ALEYAMMA ABRAHAM              2923 SAINT JUDE DR                                                                               WATERFORD          MI      48329‐4353
ALF FLOYD                     671 MADLEY LN                                                                                    FORISTELL          MO      63348‐1426
ALF SETTERBLAD                27059 HILLSIDE CT                                                                                STURGIS            MI      49091‐9151
ALF STEN                      HAVY CROSS 21                     062156 GREANS
ALF, DENNIS A                 33W870 FLETCHER RD                                                                               WAYNE               IL     60184‐2223
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Name                                 Address1                          Address2                    Address3   Address4                 City               State   Zip
ALF, JAMES M                         6111 E CREEK RD                                                                                   JANESVILLE          WI     53546‐8777
ALFA AESAR                           26 PARKRIDGE RD                                                                                   WARD HILL           MA     01835
ALFA CREEK FARMS INC                 ROSS & ROBIN BOGGS                4013 BELDEN RD                                                  ANDOVER             OH     44003‐9616
ALFA FINANCIAL CORP                  PO BOX 11000                                                                                      MONTGOMERY          AL     36191‐0001
ALFA FINANCIAL CORPORATION           JEFFREY BRYANT                    2108 E SOUTH BLVD                                               MONTGOMERY          AL     36116‐2410
ALFA INTERNATIONAL ENTERPRISES LTD   6096 SHAWSON DR                                                          MISSISSAUGA ON L5T 1E6
                                                                                                              CANADA
ALFA LAV/WARNINSTER                  955 MEARNS RD                                                                                     WARMINSTER          PA     18974‐2811
ALFA LAVAL INC                       955 MEARNS RD                                                                                     WARMINSTER          PA     18974‐2811
ALFA LAVAL INC                       5400 INTERNATIONAL TRADE DRIVE                                                                    HENRICO             VA     23231‐2927
ALFA LAVAL SEPARATION INC            PO BOX 8500                                                                                       PHILADELPHIA        PA     19178‐8500
ALFA LAVAL THERMAL
ALFA MUTUAL INSURANCE COMPANY
ALFA POLIDORO                        31 ALGONQUIN DR APT 2                                                                             INDIAN HEAD PARK    IL     60525‐9087

ALFAB METALS CORP                    14020 HIGHWAY 57                                                                                  EVANSVILLE         IN      47725‐9638
ALFALFA COUNTY TREASURER             300 SOUTH GRAND                                                                                   CHEROKEE           OK      73728
ALFANO MICHAEL (433305)              ANGELOS PETER G LAW OFFICE        115 BROADWAY FRNT 3                                             NEW YORK           NY      10006‐1638
ALFANO RICHARD (425337)              BRAYTON PURCELL                   PO BOX 6169                                                     NOVATO             CA      94948‐6169
ALFANO, CHRISTOPHER M                3336 HACKNEY DR                                                                                   KETTERING          OH      45420‐1026
ALFANO, ELIZABETH                    2924 THUNDER ROAD                                                                                 MIDDLEBURG         FL      32068‐7173
ALFANO, JOHN C                       6371 COPPER PHEASANT DR                                                                           DAYTON             OH      45424‐4178
ALFANO, JOHN D                       4901 EGRET CT                                                                                     DAYTON             OH      45424‐4503
ALFANO, JOSEPH C                     103 DUKE DR                                                                                       HOUGHTON LAKE      MI      48629‐8949
ALFANO, LEONARD J                    6860 YALE ST                                                                                      WESTLAND           MI      48185‐2171
ALFANO, LEONARD JOHN                 5050 YALE ST                                                                                      WESTLAND           MI      48185‐2171
ALFANO, LOUIS J                      1281 NOAH RD                                                                                      NORTH BRUNSWICK    NJ      08902‐1349

ALFANO, MICHAEL                      ANGELOS PETER G LAW OFFICE        115 BROADWAY FRNT 3                                             NEW YORK           NY      10006‐1638
ALFANO, NICHOLAS D                   1459 VANCOUVER DR                                                                                 SAGINAW            MI      48638‐4707
ALFANO, RICHARD                      BRAYTON PURCELL                   PO BOX 6169                                                     NOVATO             CA      94948‐6169
ALFANO, SAM A                        14221 FAIRWAY LN                                                                                  BECKER             MN      55308‐8806
ALFANO, VERNA                        5508 LEIX RD RT 1                                                                                 MAYVILLE           MI      48744‐9713
ALFANSO PIRRO                        5290 GOODRICH RD                                                                                  CLARENCE           NY      14031
ALFANSO SHUTES                       4205 BROWNELL BLVD                                                                                FLINT              MI      48504‐2126
ALFANTA, SUSAN                       8401 W CHARLESTON BLVD APT 1055                                                                   LAS VEGAS          NV      89117‐9071
ALFANZO HOWARD                       PO BOX 1016                                                                                       FLINT              MI      48501‐1016
ALFAREH, LESLIE C                    273 S BARBER AVE                                                                                  WOODBURY           NJ      08096‐2612
ALFARO JAIME                         15694 PALOMINO DR                                                                                 CHINO HILLS        CA      91709‐5508
ALFARO JR, AMBROSIO                  9094 SPRING BROOK CIR                                                                             DAVISON            MI      48423‐2135
ALFARO JR, OSMUNDO S                 7435 SAINT AUBURN DR                                                                              BLOOMFIELD HILLS   MI      48301‐3714
ALFARO JR, RITO                      14458 LAWTON STA                                                                                  WEST OLIVE         MI      49460‐8414
ALFARO SANDRA                        2695 N WILLIAMS LAKE RD                                                                           WATERFORD          MI      48329‐2661
ALFARO, ENRIQUE J                    745 WINTER PARK DRIVE                                                                             MARS               PA      16046‐3951
ALFARO, GILBERT                      7385 WOODVIEW ST APT 1                                                                            WESTLAND           MI      48185‐5915
ALFARO, GUSTAVO                      OQUINN LAW FIRM                   440 LOUISIANA ST STE 2300                                       HOUSTON            TX      77002‐4205
ALFARO, JERRY                        30040 FAIRFAX ST                                                                                  LIVONIA            MI      48152‐1919
ALFARO, JOEL B                       3402 BRIARWOOD DR                                                                                 FLINT              MI      48507‐1454
ALFARO, JOSE A                       7176 RANDEE ST                                                                                    FLUSHING           MI      48433‐8817
ALFARO, JOSE L                       3210 PARADISE TRL 32                                                                              OXFORD             MI      48371
ALFARO, ROGELIO Z                    7335 CAHALAN ST                                                                                   DETROIT            MI      48209‐1821
ALFARO, SANDRA L                     2695 N WILLIAMS LAKE RD                                                                           WATERFORD          MI      48329‐2661
ALFARO, STEVE                        9864 LANCASTER DR                                                                                 BELLEVILLE         MI      48111‐1690
ALFARO, WILLIAM                      9864 LANCASTER DR                                                                                 BELLEVILLE         MI      48111‐1690
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ALFARO, WILLIAM A                     9713 DORNOCH TRL                                                                                           BRIGHTON         MI     48114‐8012
ALFARO‐ESPINOZA,EDWIN E               13 A COLUMBUS AVE                                                                                          WESTERLY          RI    02891
ALFE CORP/FORT WAYNE                  10630 W PERIMETER RD             ATTN: D TAYLOR, SR ACCT MGR                                               FORT WAYNE       IN     46809‐3100
ALFE CORPORATE GROUP                  979 SEVILLE RD                                                                                             WADSWORTH        OH     44281‐8316
ALFE HEAT TREATING INC                2349 E CARDINAL DR                                                                                         COLUMBIA CITY    IN     46725‐8789
ALFE HEAT TREATING INC CORP           10630 W PERIMETER RD STE 100                                                                               FORT WAYNE       IN     46809
ALFE HEAT TREATING OF MI INC ‐ CORP   10630 W PERIMETER RD                                                                                       FORT WAYNE       IN     46809‐3100
ALFE HEAT TREATING OF MICHIGAN        1300 LEON SCOTT CT                                                                                         SAGINAW          MI     48601‐1204
ALFE HEAT TREATING OF MICHIGAN INC    1300 LEON SCOTT CT                                                                                         SAGINAW          MI     48601‐1204

ALFEA MATTEI                          8804 BIRKHILL DR                                                                                           STERLING HTS    MI      48314‐2501
ALFELE LAWRENCE R JR (516450)         JACOBS & CRUMPLAR P.A.           PO BOX 1271                   2 EAST 7TH ST                               WILMINGTON      DE      19899‐3707
ALFELE, LAWRENCE R                    JACOBS & CRUMPLAR P.A.           PO BOX 1271                   2 EAST 7TH ST,                              WILMINGTON      DE      19899‐1271
ALFEN HUMERICKHOUSE                   108 RAVINA AVE                                                                                             ANDERSON        IN      46011‐1342
ALFERD WILLIAMS                       6220 LAWRENCE HWY                                                                                          CHARLOTTE       MI      48813‐9553
ALFERINK, JAY H                       5145 JONFIELD AVE SE                                                                                       KENTWOOD        MI      49548‐7618
ALFERINK, LAVONNE J.                  3153 BEECHNUT LN                                                                                           HUDSONVILLE     MI      49426‐1714
ALFERIO, ANTHONY J                    182 WINDMERE DR                                                                                            BOWLING GREEN   KY      42103‐8720
ALFERMANN, JULIE P                    8630 CHELSEA DR                                                                                            NOBLESVILLE     IN      46060‐4341
ALFERMANN, JULIE PEOPLES              8630 CHELSEA DR                                                                                            NOBLESVILLE     IN      46060‐4341
ALFERMANN, TIMOTHY J                  8630 CHELSEA DR                                                                                            NOBLESVILLE     IN      46060‐4341
ALFERS, JENNIE M                      1846 LINCOLN AVE                                                                                           NORWOOD         OH      45212‐2956
ALFERY, DONALD J                      6140 NILES DR                                                                                              TROY            MI      48098‐5614
ALFES, JOHN A                         3111 FRANCESCA DR                                                                                          WATERFORD       MI      48329‐4310
ALFES, MARK E                         13775 COLDWATER DRIVE                                                                                      CARMEL          IN      46032‐8561
ALFES, RICHARD E                      6200 MORNING DR                                                                                            PORT ORANGE     FL      32127‐9553
ALFES, THOMAS R                       5134 STREEFKERK DR                                                                                         WARREN          MI      48092‐3118
ALFF, NORMAN A                        5436 VILLAGE DR                                                                                            WEST BEND       WI      53095‐9220
ALFIA HARRIS                          6077 DAVID BERGER ST                                                                                       MOUNT MORRIS    MI      48458‐2775
ALFIE DORLEANS                        ALFIE, DORLEANS                  906 HOWARD ST                                                             GREENSBORO      NC      27403‐2873
ALFIE, DORLEANS                       906 HOWARD ST                                                                                              GREENSBORO      NC      27403‐2873
ALFIELD IND/VAUGHAN                   30 AVIVA PARK DRIVE                                                             VAUGHN ON L4L 9C7 CANADA

ALFIELD INDUSTRIES                    INDUSTRIAS MARTINREA DE MEXICO   CARRETERA ANTIGUA A ARTEAGA                    MEXICO
ALFIELD INDUSTRIES                    30 AVIVA PARK DR                                                                VAUGHAN CANADA ON L4L
                                                                                                                      9C7 CANADA
ALFIELD INDUSTRIES LIMITED            IMRAN HAFEEZ                     30 AVIVA PARK DR                               VAUGHAN ON L4L 9C7
                                                                                                                      CANADA
ALFIELD INDUSTRIES LTD                                                 30 AVIVA PARK DRIVE                                                       VAUGHN          ON      L4L 9
ALFIELD/VAUGHAN                       30 AVIVA PARK DRIVE                                                             VAUGHAN ON L4L 9C7
                                                                                                                      CANADA
ALFIERI RICHARD                       2233 N WYGANT ST                                                                                           PORTLAND         OR     97217‐3463
ALFIERI, ANGELO J                     380 RAINES PARK                                                                                            ROCHESTER        NY     14613‐1117
ALFIERI, ETHALEEN                     2023 GALE STREET C/O A PITTS                                                                               ORLANDO          FL     32803
ALFIERI, MARIE
ALFIERI, NICOLETTE S                  77 FAIRELM LN                                                                                              CHEEKTOWAGA      NY     14227‐1357
ALFIERI, VINCENZO                     45 REGINA DR                                                                                               ROCHESTER        NY     14606‐3525
ALFIERO, DENISE J                     16 WOODBINE ST                                                                                             WATERFORD        CT     06385
ALFILIO MARTINEZ                      PO BOX 1757                                                                                                NEW BRUNSWICK    NJ     08903‐1757
ALFING CORP
ALFING CORP                           44160 PLYMOUTH OAKS BLVD                                                                                   PLYMOUTH         MI     48170‐2584
ALFING SONDERMASCHINEN‐               AUGUSTE‐KESSLER STR 3                                                           AALEN BW 73433 GERMANY
BETEILIGUNGS
ALFINI, RAYMOND                       20 YACHT CLUB DR APT 204B                                                                                  N PALM BEACH     FL     33408‐3837
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ALFIO BELLUCCI                     VIA SAN GAGGIO 12                50125 FIRENZE
ALFIO COCO                         44 ANN MARIE DR                                                                                      ROCHESTER            NY    14606‐4635
ALFIO GENTILE                      274 MARY LOU AVE                 C/O FABIO GENTILE                                                   YONKERS              NY    10703‐1904
ALFIO LEMBO                        5 TIMOTHY CT                                                                                         WEST NYACK           NY    10994‐2628
ALFIO V VENEZIANO                  188 DUNLOP AVE                                                                                       TONAWANDA            NY    14150‐7811
ALFIREVIC, JOHN T                  2311 S 3RD AVE                                                                                       NORTH RIVERSIDE      IL    60546‐1203
ALFLEN, JUNE E                     1033 GERONA AVE                                                                                      DELTONA              FL    32725‐6403
ALFLETA SHOCKLEY                   330 CEDAR DR                                                                                         SALISBURY            MD    21804‐5212
ALFMEIER CZ S R O                  PODNIKATELSKA 16                                                          PLZEN CZ 301 00 CZECH
                                                                                                             REPUBLIC
ALFMEIER CZ SRO                    PODNIKATELSKA 16                                                          PLZEN 30100 CZECH (REP)
ALFMEIER PRAEZISION AG                                              INDUSTRIESTR 5                                                      TREUCHTLINGEN         GE   91757
ALFMEIER/GERMANY                   INDUSTRIESTR 5                                                            TREUCHTLINGEN GE 91757
                                                                                                             GERMANY
ALFONCE SIMMONS                    444 DARIUS PEARCE RD                                                                                 YOUNGSVILLE           NC   27596‐9345
ALFONCYA KEYS                      18061 SUSSEX ST                                                                                      DETROIT               MI   48235‐2835
ALFONISER FOSTER                   7545 MELROSE ST                                                                                      DETROIT               MI   48211‐1344
ALFONS ARKENAU                     HAUPTSTR. 58A                                                                                        HALEN                      49685
ALFONS DAHL                        AM HABICHTSBACH 22               48329 HAVIXBECK               GERMANY                               HAVIXBECK                  48329
ALFONS DUSIK                       1132 HARMONY CIR NE                                                                                  JANESVILLE           WI    53545‐2005
ALFONS FLIEGEL                     1871 GLENWOOD DR                                                                                     TWINSBURG            OH    44087‐1214
ALFONS HELMLE                      1721 ARCHERS POINTE                                                                                  ROCHESTER HLS        MI    48306‐3211
ALFONS HIBNER JR                   5137 SUGARFOOT AVE                                                                                   LAS VEGAS            NV    89107‐1703
ALFONS JANKOWSKI                   5280 BROOKSIDE DR                                                                                    SHELBY TWP           MI    48316‐3128
ALFONS KRONBERGS                   8893 W EASY ST                                                                                       IRONS                MI    49644‐8883
ALFONS MERTLBAUER                  139 ARBOUR LN APT 4                                                                                  BUFFALO              NY    14220‐2343
ALFONS OTZIPKA                     MITTELSTR. 4                                                                                         VREDEN                     48691
ALFONS OTZIPKA                     MITTELSTR 4                                                               D‐48691 VREDEN GERMANY
ALFONS REINHARDT                   KIRSCHGARTENSTRASSE 43                                                    67146 DEIDESHEIM GERMANY

ALFONS ZIMMER                      7290 SEYMOUR RD                                                                                      SWARTZ CREEK          MI   48473‐7651
ALFONSA PALAZZOLO                  1135 OAKMONTE BLVD                                                                                   WEBSTER               NY   14580‐7208
ALFONSE F MINORE                   13 BIRCH GROVE LN                                                                                    TURNERSVILLE          NJ   08012
ALFONSE PERRY                      29301 STELLAMAR DR                                                                                   SOUTHFIELD            MI   48076‐5269
ALFONSE VECCHIARELLO               36 CLINTON PL                                                                                        WALDWICK              NJ   07463‐1605
ALFONSI RAILROAD CONSTRUCTION CO   23501 PENNSYLVANIA RD                                                                                BROWNSTOWN            MI   48193‐8447

ALFONSI VICTOR J (428395)          GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                         NORFOLK               VA   23510
                                                                    STREET, SUITE 600
ALFONSI, BRIAN M                   19133 28 MILE RD                                                                                     RAY                   MI   48096‐3002
ALFONSI, LAWRENCE                  860 MICHAYWE DR                                                                                      GAYLORD               MI   49735‐8756
ALFONSI, MICHAEL W                 20507 ALEXANDER ST                                                                                   SAINT CLAIR SHORES    MI   48081‐1785

ALFONSI, SCOTT J                   250 E KOCHHEISER RD                                                                                  BELLVILLE            OH    44813‐9293
ALFONSI, VICTOR J                  GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                         NORFOLK              VA    23510‐2212
                                                                    STREET, SUITE 600
ALFONSINA NICK                     209 OLIVIA DRIVE                                                                                     ROCHESTER            NY    14626‐4307
ALFONSO ABARCA                     6806 BIG CREEK PKWY                                                                                  MIDDLEBRG HTS        OH    44130‐2603
ALFONSO ACOSTA                     3541 CHESHIRE SQ APT C                                                                               SARASOTA             FL    34237‐3955
ALFONSO AGUILAR                    3120 CANTARA CIR                                                                                     SPARKS               NV    89436‐7543
ALFONSO ALVAREZ                    2190 JOY RD                                                                                          AUBURN HILLS         MI    48326‐2626
ALFONSO AMAYA                      5456 W COURT ST                                                                                      FLINT                MI    48532‐3310
ALFONSO B HERRERA                  4118 STONEWICK DR                                                                                    ARLINGTON            TX    76016‐3221
ALFONSO BAIZ                       40040 SPADY ST                                                                                       FREMONT              CA    94538‐2931
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ALFONSO BOUIE          6590 WOODHAVEN DR                APT 5                                                                 WATERFORD        MI 48327‐4228
ALFONSO BUFORD SR      C/O WILLIAMS KHERKHER HART &     8441 GULF FREEWAY STE 600                                             HOUSTON          TX 77007
                       BOUNDAS LLP
ALFONSO BURGIO         421 BAUMAN RD                                                                                          WILLIAMSVILLE   NY   14221‐3845
ALFONSO BURKE          305 W ALMA AVE                                                                                         FLINT           MI   48505‐2074
ALFONSO BUTLER         57 S MIDLAND DR                                                                                        PONTIAC         MI   48342‐2961
ALFONSO C STARKS       7801 HELEN ST                                                                                          DETROIT         MI   48211‐3703
ALFONSO CABRERA‐RIZO   1319 E ESTES AVE APT 16                                                                                CHICAGO         IL   60625‐5498
ALFONSO CAMPANELLA     6 VILLAGE GRN                                                                                          COLONIA         NJ   07067‐3306
ALFONSO CANALES JR     45377 CAMINO MONZON                                                                                    TEMECULA        CA   92592‐1300
ALFONSO CARBAJAL       14045 DAVENTRY ST                                                                                      PACOIMA         CA   91331‐3519
ALFONSO CARRILLO       123 OLD OAK RD                                                                                         MC MURRAY       PA   15317‐2681
ALFONSO CARRILLO       1086 E SILVERBELL RD                                                                                   LAKE ORION      MI   48360‐2333
ALFONSO CASTELLO       2514 ANDERS DR                                                                                         WATERFORD       MI   48329‐4406
ALFONSO CORTES         8450 DUNHAM STATION DR                                                                                 TAMPA           FL   33647‐3321
ALFONSO CRIM JR        473 ALAMEDA AVE                                                                                        YOUNGSTOWN      OH   44504‐1455
ALFONSO CRUZ           1524 CONNALLY TER                                                                                      ARLINGTON       TX   76010‐4513
ALFONSO CUEVAS         PO BOX 8713                                                                                            HIDALGO         TX   78557‐8713
ALFONSO DINIS          11350 BOXFORD PL                                                                                       ALPHARETTA      GA   30022‐7372
ALFONSO DIXON          APT 1                            627 WEST ATHERTON ROAD                                                FLINT           MI   48507‐2482
ALFONSO DOMINELLI      VIA VILLINI DAMIANI SERRA                                                  SAN BRUNO CATANZARO ITALY
                                                                                                  88029
ALFONSO DOMINGUEZ      630 ROBINHOOD DR APT 16                                                                                RENO            NV   89509‐4603
ALFONSO DUNCAN         394 AMHERST ST                                                                                         EAST ORANGE     NJ   07018‐1805
ALFONSO FATICA         BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                            BOSTON HTS.     OH   44236
ALFONSO FAVILA         345 LAURIE LN                                                                                          SANTA PAULA     CA   93060‐3129
ALFONSO FERREIRA       2124 DAVIS AVE                                                                                         WHITING         IN   46394‐1825
ALFONSO FLORES III     114 N VICKERY LN                                                                                       MARION          IN   46952‐3009
ALFONSO G FORD         DELTA APT., #1‐D                                                                                       GREENWOOD       MS   38930‐3845
ALFONSO GARCIA         218 DOWNING DR                                                                                         BLOOMINGDALE    IL   60108‐1716
ALFONSO GARCIA         10575 ARLETA AVE                                                                                       MISSION HILLS   CA   91345‐2336
ALFONSO GISSENDANNER   2416 BEECHWOOD AVE                                                                                     SAGINAW         MI   48601‐3653
ALFONSO GLASCO         5531 LITCHFIELD ST                                                                                     PHILADELPHIA    PA   19143‐4714
ALFONSO HERRERA        4118 STONEWICK DR                                                                                      ARLINGTON       TX   76016‐3221
ALFONSO HICKS          C/O WILLIAMS KHERKHER HART AND   8441 GULF FREEWAY STE 600                                             HOUSTON         TX   77007
                       BOUNDAS LLP
ALFONSO HIDALGO        3334 BROOKGATE DR                                                                                      FLINT           MI   48507‐3211
ALFONSO HYSKO          42917 BRADLEY DR                                                                                       VAN BUREN TWP   MI   48111‐5374
ALFONSO INFURNARI      138 VERN LN                                                                                            CHEEKTOWAGA     NY   14227‐1348
ALFONSO JACKSON        PO BOX 1465                                                                                            YONKERS         NY   10702‐1465
ALFONSO JORDAN         C/O THE LAW OFFICES OF PETER G   100 NORTH CHARLES            22ND FLOOR                               BALTIMORE       MD   21201
                       ANGELOS
ALFONSO KRESS          11845 STRATTON RD                                                                                      SALEM           OH   44460‐9642
ALFONSO L TRUJILLO     12951 HAGAR ST                                                                                         SYLMAR          CA   91342‐4811
ALFONSO LAMENDOLA      PO BOX 3586                                                                                            HOMER           AK   99603‐3586
ALFONSO LAUDERDALE     216 CHESSER PARK DR                                                                                    CHELSEA         AL   35043‐8197
ALFONSO LEE            1091 LANCEWOOD AVE                                                                                     RIALTO          CA   92376‐3914
ALFONSO LESLEY         319 BELMONT ST                                                                                         DETROIT         MI   48202‐1361
ALFONSO MACIAS         6620 VERNETTE AVE                                                                                      AUSTINTOWN      OH   44515‐2100
ALFONSO MARKS          3375 N LINDEN RD APT 340                                                                               FLINT           MI   48504‐5730
ALFONSO MARKS          2320 COPEMAN BOULEVARD                                                                                 FLINT           MI   48504‐2904
ALFONSO MARRESE        221 BELVIDERE AVE                                                                                      FANWOOD         NJ   07023‐1605
ALFONSO MARSH          4725 N 49TH ST                                                                                         MILWAUKEE       WI   53218‐5128
ALFONSO MARTIN         2470 MURPHY RD                                                                                         FLINT           MI   48504‐6554
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Name                       Address1                             Address2             Address3         Address4                   City            State Zip
ALFONSO MARTINEZ           705 HERITAGE CT                                                                                       FRANKLIN         TN 37067‐3037
ALFONSO MARTORANA          VIA PIAZZA VECCHIA 7                 REALMONTE                             SICILY ITALY 92100
ALFONSO MASTROGIOVANNI     22436 SOCIA ST                                                                                        ST CLAIR SHRS   MI   48082‐2496
ALFONSO MEJORADO           1200 CLIMAX ST                                                                                        LANSING         MI   48912‐1606
ALFONSO MONTANO            3020 SAN ADDREAS DR                                                                                   UNION CITY      CA   94587‐2851
ALFONSO MUSSO              251 HUFFER RD                                                                                         HILTON          NY   14468
ALFONSO NARIO              4794 S LISBON WAY                                                                                     AURORA          CO   80015‐5459
ALFONSO ORDONEZ            3374 SPRING MEADOW CT                                                                                 TUCKER          GA   30084‐2121
ALFONSO P VACCARO          GIOVANNINA VACCARO                   75 MARKET ST                                                     CLIFTON         NJ   07012
ALFONSO PALMIETTO          WELTZ & LUXENBERG P C                700 BROADWAY                                                     NEW YORK CITY   NY   10003
ALFONSO PALUMBO            27145 WALTZ RD                                                                                        NEW BOSTON      MI   48164‐9323
ALFONSO PATRICIO MAESTAS   ROBERT W PHILLIPS, SIMMONS BROWDER   707 BERKSHIRE BLVD   PO BOX 521                                  EAST ALTON      IL   62024
                           GIANARIS ANGELIDES & BARNERD LLC

ALFONSO PEREZ              10007 ILEX AVE                                                                                        PACOIMA         CA   91331‐3420
ALFONSO PERRIN GASCARD     CONCEPCION CHILE                                                           CONCEPCION CHILE
ALFONSO PUENTE             2610 FALLBROOK                                                                                        SAN ANTONIO     TX   78232
ALFONSO R MACIAS           6620 VERNETTE AVE                                                                                     AUSTINTOWN      OH   44515‐2100
ALFONSO R MACIAS III       7874 CASTLE ROCK DR NE                                                                                WARREN          OH   44484‐1409
ALFONSO R SANTIAGO         52 W RUTGERS AVE                                                                                      PONTIAC         MI   48340‐2754
ALFONSO RAMOS              5755 9TH AVE                                                                                          COUNTRYSIDE     IL   60525‐4002
ALFONSO RICKERSON          147 MARINE DR APT 7A                                                                                  BUFFALO         NY   14202‐4211
ALFONSO RODRIGUEZ          496 OUTLOOK AVE                                                                                       COLONIA         NJ   07067‐3508
ALFONSO RODRIGUEZ          3 ALLANDALE DR APT C22                                                                                NEWARK          DE   19713‐3179
ALFONSO RODRIGUEZ          9309 SANDALWOOD DR                                                                                    SHREVEPORT      LA   71118‐2825
ALFONSO RUBIN SR           PO BOX 5322                                                                                           FLINT           MI   48505‐0322
ALFONSO SALAS              10286 LAFAYETTE LN                                                                                    DIMONDALE       MI   48821‐9426
ALFONSO SANTIAGO           52 W RUTGERS AVE                                                                                      PONTIAC         MI   48340‐2754
ALFONSO SEGURA             701 ONYX RD                                                                                           PHARR           TX   78577‐6445
ALFONSO SERRANO            825 E WILLIAMSON AVE                                                                                  HARLINGEN       TX   78550‐4395
ALFONSO SIERRA             558 WEST PLAYER PATH                                                                                  BEVERLY HILLS   FL   34465‐8750
ALFONSO SMITH              1953 E LOCUST ST                                                                                      KANKAKEE        IL   60901‐2728
ALFONSO STARKS             7801 HELEN ST                                                                                         DETROIT         MI   48211‐3703
ALFONSO TAYLOR             4029 INWOOD RD                                                                                        SHREVEPORT      LA   71119‐7208
ALFONSO TEJEDA             MID MICHIGAN GUARDIANSHIP            615 N CAPITOL AVE                                                LANSING         MI   48933
ALFONSO TORRES             1725 E BENWICK RD                                                                                     TOLEDO          OH   43613‐2304
ALFONSO TRAIL              4198 FEINER DR                                                                                        CLEVELAND       OH   44122‐6869
ALFONSO TREVINO            4426 FERN AVE                                                                                         BURTON          MI   48529‐2124
ALFONSO TRUJILLO           12951 HAGAR ST                                                                                        SYLMAR          CA   91342‐4811
ALFONSO VALDEZ             1602 JACAMAN RD, APT 5                                                                                LAREDO          TX   78041‐6186
ALFONSO VALIUS             4 MINK CT                                                                                             WHITING         NJ   08759‐3616
ALFONSO WATERS             8701 SHIRLEY FRANCIS RD                                                                               SHREVEPORT      LA   71129‐8735
ALFONSO WILBURN JR         605 HIDDEN BROOKE DR                                                                                  DESOTO          TX   75115‐3850
ALFONSO WILLIAMS           1751 E GATE DANCER CIR                                                                                INVERNESS       FL   34453‐3395
ALFONSO, ANA M             15821 SW 287TH ST                                                                                     HOMESTEAD       FL   33033‐6104
ALFONSO, ANTHONY           9046 MEADOW HEIGHTS RD                                                                                RANDALLSTOWN    MD   21133‐3646
ALFONSO, ELIO G            8812 SW 17TH TER                                                                                      MIAMI           FL   33165‐7818
ALFONSO, ELIO G            8812 S W 17 TERRACE                                                                                   MIAMI           FL   33165‐7818
ALFONSO, FELICITA          718 TOWN CT                                                                                           BRONSON         FL   32621
ALFONSO, JORGE             4613 W. MAIN ST.                                                                                      KALAMAZOO       MI   49006
ALFONSO, RAMON             PO BOX 211                                                                                            JUANA DIAZ      PR   00795‐0211
ALFONT, VIRGINIA B         7264 W 1100 S                                                                                         FORTVILLE       IN   46040‐9202
ALFONT, VIRGINIA B         7264 W. 1100 S                                                                                        FORTVILLE       IN   46040‐9202
ALFONZA BURNAM             91 RONDALE LN                                                                                         BATTLE CREEK    MI   49017‐5255
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Name                                   Address1                        Address2                        Address3   Address4               City               State   Zip
ALFONZA COPES                          823 MIDDLESEX ST                                                                                  LINDEN              NJ     07036‐2148
ALFONZA D LEE                          3702 HICKORY DR.                                                                                  TROTWOOD            OH     45426
ALFONZA DIXON                          16211 W 9 MILE RD APT 102                                                                         SOUTHFIELD          MI     48075‐5944
ALFONZA HUGHES                         6650 W BELDEN AVE APT 601                                                                         CHICAGO              IL    60707‐3455
ALFONZA MOLDER                         128 PENNSYLVANIA AVE                                                                              YARDLEY             PA     19067‐1721
ALFONZA RICHARDSON                     3754 KINGS HWY APT 32                                                                             DAYTON              OH     45406
ALFONZETTI, NANCY                      234 BEFORD RD                                                                                     PLEASANTVILLE       NY     10570
ALFONZETTI, R                          16 BENJAMIN GREEN LN                                                                              MAHOPAC             NY     10541‐3948
ALFONZIA BRAXTON                       8436 FAIRFAX DR                                                                                   STERLING HEIGHTS    MI     48312‐5918
ALFONZIE GUNN                          232 HAZELWOOD AVE                                                                                 SYRACUSE            NY     13224‐1112
ALFONZO ABNER                          3332 LEXINGTON DR                                                                                 SAGINAW             MI     48601‐4524
ALFONZO CAPERS                         BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                        BOSTON HTS.         OH     44236
ALFONZO CLARK                          PO BOX 444                                                                                        TCHULA              MS     39169‐0444
ALFONZO DANTZLER                       427 E BAKER ST                                                                                    FLINT               MI     48505‐4358
ALFONZO GILLIAM                        735 CLARKSON AVE                                                                                  DAYTON              OH     45407‐1210
ALFONZO HOPSON                         3070 E STANLEY RD                                                                                 MOUNT MORRIS        MI     48458‐8805
ALFONZO JOHNSON                        1615 GREENWAY DR                                                                                  ANDERSON            IN     46011‐1130
ALFONZO MARSHALL                       16396 ALDRICH CT                                                                                  LIVONIA             MI     48154‐1056
ALFONZO PEOPLES                        PO BOX 254                                                                                        TANNER              AL     35671‐0254
ALFONZO PRATT                          16196 FENMORE ST                                                                                  DETROIT             MI     48235‐3419
ALFONZO SALAIS                         1511 INDIANA AVE                                                                                  LANSING             MI     48906‐4610
ALFONZO SIMS                           1012 PENNFIELD RD                                                                                 CLEVELAND HTS       OH     44121‐1411
ALFONZO SMITH                          388 NORFOLK AVE                                                                                   BUFFALO             NY     14215‐3109
ALFONZO TAYLOR                         3913 BROWNELL BLVD                                                                                FLINT               MI     48504‐2188
ALFONZO WALKER                         PO BOX 1911                                                                                       DAYTON              OH     45401‐1911
ALFONZO WALKER                         P O BOX 1911                                                                                      DAYTON              OH     45401‐1911
ALFONZO WOODIE, JR                     6561 TYMILL CT                                                                                    DAYTON              OH     45415
ALFORD BOSHAW                          1509 PETTIBONE AVE                                                                                FLINT               MI     48507‐4814
ALFORD CATHEY                          5068 RUM CREEK CT SE                                                                              KENTWOOD            MI     49508‐5280
ALFORD FLOURNOY                        12147 S PARNELL AVE                                                                               CHICAGO              IL    60628‐6313
ALFORD GRACIE                          856 HEMPSTEAD 211                                                                                 HOPE                AR     71801‐9569
ALFORD JAMES JR (ESTATE OF) (641040)   BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD , BEVAN                                     NORTHFIELD          OH     44067
                                                                       PROFESSIONAL BLDG
ALFORD JOHNSON                         4545 W ELKTON RD                                                                                  HAMILTON           OH      45011‐8814
ALFORD JR, CLYDE                       1102 LAPEER AVE                                                                                   SAGINAW            MI      48607‐1537
ALFORD JR, KENNETH C                   44318 HECK RD                                                                                     COLUMBIANA         OH      44408‐9505
ALFORD JR, LEONARD                     16870 SHAFTSBURY AVE                                                                              DETROIT            MI      48219‐4050
ALFORD JR, MACEO                       16830 STEEL ST                                                                                    DETROIT            MI      48235‐4275
ALFORD JUDITH                          14230 CLEAR CREEK ST                                                                              SAN ANTONIO        TX      78232‐4407
ALFORD KEMP JR                         4015 ANDRUS RD                                                                                    HASTINGS           MI      49058‐9436
ALFORD KITCHENS                        5801 GRAHAM ST                                                                                    FORT WORTH         TX      76114‐1021
ALFORD KYBURZ                          THE MADEKSHO LAW FIRM           8866 GULF FREEWAY STE 440                                         HOUSTON            TX      77017
ALFORD LACOUR                          500 NW 116TH ST                                                                                   OKLAHOMA CITY      OK      73114‐7909
ALFORD LEWIS                           PO BOX 186                                                                                        BRAGGADOCIO        MO      63826‐0186
ALFORD MCCOMBS                         625 W YORK AVE                                                                                    FLINT              MI      48505‐2031
ALFORD MORROW                          1623 JASMINE TRL                                                                                  SEVIERVILLE        TN      37862‐9379
ALFORD MOTORS, INC.                    STEPHEN ALFORD                  PO BOX 2397                                                       LEESVILLE          LA      71496‐2397
ALFORD MOTORS, INC.                    PO BOX 2397                                                                                       LEESVILLE          LA      71496‐2397
ALFORD PARTIN                          3271 PLEASANT HILL RD                                                                             MOUNT ORAB         OH      45154‐9177
ALFORD POWELL                          2279 DELWOOD DR                                                                                   CLIO               MI      48420‐9114
ALFORD ROWLEY                          PO BOX 561077                                                                                     THE COLONY         TX      75056‐6077
ALFORD RUBY JEAN                       C/O EDWARD O MOODY PA           801 WEST 4TH STREET                                               LITTLE ROCK        AR      72201
ALFORD SHEPARD                         309 E STEWART AVE                                                                                 FLINT              MI      48505‐3412
ALFORD SR, THOMAS L                    14 CEDAR LN                                                                                       NEW FAIRFIELD      CT      06812‐2329
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ALFORD SR, TYRONE E            148‐08 133RD AVE               SOUTH OZONE PARK               QUEENS                            NEW YORK         NY     10030
ALFORD STANLEY                 8633 COUNTY ROAD 109                                                                            ALVARADO         TX     76009‐6968
ALFORD STEPHENSON              704 SPRING MILLER CT                                                                            ARLINGTON        TX     76002‐4125
ALFORD WARBRITTON JR           709 NICOLE DR                                                                                   BURLESON         TX     76028‐5271
ALFORD WHORTON                 1570 RICHMOND WAY                                                                               LAWRENCEVILLE    GA     30043‐5713
ALFORD WILSON JR               205 ROWE RD                                                                                     TAZEWELL         TN     37879‐5947
ALFORD'S SIGNATURE AUTO CARE   600 ELSTON RD                                                                                   LAFAYETTE        IN     47909‐2884
ALFORD, ADELE J                2773 JUPITER DR                                                                                 FAIRFIELD        OH     45014‐5000
ALFORD, ANNETTE                401 E BOWEN AVE APT 602                                                                         CHICAGO           IL    60653‐2742
ALFORD, BETTY A                PO BOX 342                                                                                      LAKE MILTON      OH     44429‐0342
ALFORD, BILL B                 25865 TIMBER CREEK LN                                                                           BROWNSTOWN       MI     48134‐8018
ALFORD, BOBBY L                2018 W CLAREMONT ST                                                                             PHOENIX          AZ     85015‐1520
ALFORD, BURTCH F               1614 JAMIE DR                                                                                   COLUMBIA         TN     38401‐5432
ALFORD, CARDELL                1414 WEST ST                                                                                    OAKLAND          CA     94612‐1032
ALFORD, CARL C                 507 PINNACLE DR                                                                                 CEDAR HILL       TX     75104‐5433
ALFORD, CATHY                  34 HAMILTON LN                                                                                  WILLINGBORO      NJ     08046‐1705
ALFORD, CATHY A                34 HAMILTON LN                                                                                  WILLINGBORO      NJ     08046‐1705
ALFORD, CEARL C                10805 SE 51ST AVE                                                                               BELLEVIEW        FL     34420‐8302
ALFORD, CHERITA A              744 LA SALLE DR                                                                                 DAYTON           OH     45408‐1523
ALFORD, CHERYL D               937 SUN CIRCLE WAY                                                                              BALTIMORE        MD     21221‐5946
ALFORD, CURTIS L               9867 BARRS BRANCH RD                                                                            ALEXANDRIA       KY     41001‐7903
ALFORD, DARWIN D               8491 KELSO DR                                                                                   MAINEVILLE       OH     45039‐9170
ALFORD, DARWIN D               5229 ANNENDALE DR                                                                               ERIE             PA     16506‐4651
ALFORD, DAVID A                4769 PARKMAN RD NW                                                                              WARREN           OH     44481‐9144
ALFORD, DAWN M                 2603 E 150 S                                                                                    ANDERSON         IN     46017
ALFORD, DELORES                4013 DUPONT ST                                                                                  FLINT            MI     48504
ALFORD, DENNIS R               1340 WESTBEND DR                                                                                O FALLON         MO     63368‐8825
ALFORD, DENNIS R               153 CATALINA DR                                                                                 HOWELL           MI     48843‐1880
ALFORD, DIANE K                1852 TOBAGO DR                                                                                  GALLOWAY         OH     43119‐8310
ALFORD, EBBIE L                13070 ALGONAC ST                                                                                DETROIT          MI     48205‐3239
ALFORD, EDITH J                750 W HURON RIVER DR APT 1                                                                      BELLEVILLE       MI     48111‐3322
ALFORD, EDWARD M               2205 DEEPWOODS DR                                                                               GAYLORD          MI     49735‐8216
ALFORD, ELROY R                4801 BAKER ST                                                                                   SPENCER          OK     73084‐2529
ALFORD, EUGENE E               13131 HIBBARD RD                                                                                LODI             CA     95240‐9314
ALFORD, GEORGE R               618 E ARENA LOOP                                                                                HAYDEN           ID     83835‐8823
ALFORD, GLENDA                 819 KENNELWORTH AVE                                                                             FLINT            MI     48503‐2752
ALFORD, GLORIA                 1417 E SAINT PAUL RD                                                                            TIMMONSVILLE     SC     29161‐9140
ALFORD, GLORIA D               822 E. ALMA                                                                                     FLINT            MI     48505‐2226
ALFORD, GLORIA D               822 E ALMA AVE                                                                                  FLINT            MI     48505‐2226
ALFORD, GRACE C                2025 S MCRAVEN RD                                                                               JACKSON          MS     39209‐9692
ALFORD, HAROLD V               822 E ALMA AVE                                                                                  FLINT            MI     48505‐2226
ALFORD, HARRY F                29 DEER RUN LN                                                                                  HILTON HEAD      SC     29928‐4119
                                                                                                                               ISLAND
ALFORD, HELEN M                818 E BALTIMORE                                                                                 FLINT           MI      48505‐3522
ALFORD, HUEY L                 860 BELVILLE BLVD                                                                               NAPLES          FL      34104‐6566
ALFORD, JAMES                  BEVAN & ASSOCIATES             10360 NORTHFIELD ROAD, BEVAN                                     NORTHFIELD      OH      44067
                                                              PROFESSIONAL BLDG
ALFORD, JAMES A                1234 ELROD RD                                                                                   BOWLING GREEN    KY     42104‐8534
ALFORD, JAMES ALVIN            1234 ELROD RD                                                                                   BOWLING GREEN    KY     42104‐8534
ALFORD, JAMES L                115 DIVISION ST                                                                                 EATON RAPIDS     MI     48827‐1015
ALFORD, JANICE S               30 KERRI CT                                                                                     WETUMPKA         AL     36093‐2572
ALFORD, JEROME J               562 S 400 E                                                                                     IVINS            UT     84738‐5021
ALFORD, JERRY D                2147 S 380 E                                                                                    ANDERSON         IN     46017‐9727
ALFORD, JEWELL W               1040 E SASSAFRAS CIR                                                                            BLOOMINGTON      IN     47408‐1282
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ALFORD, JOAN C       153 CATALINA DR                                                                              HOWELL              MI     48843‐1880
ALFORD, JOE          6710 ANGOLA RD. P.O.202                                                                      HOLLAND             OH     43528
ALFORD, JOELY L      407 SNAPDRAGON LN                                                                            DEWITT              MI     48820‐7405
ALFORD, JOELY L      1277 CARRIAGE PARK DR                                                                        FRANKLIN            TN     37064‐5734
ALFORD, JOHN W       227 DEBRA ST                                                                                 LANSING             KS     66043‐1803
ALFORD, JON C        9011 SURREY DR                                                                               PENDLETON           IN     46064‐9337
ALFORD, LARRY E      818 E BALTIMORE BLVD                                                                         FLINT               MI     48505‐3522
ALFORD, LAURIE J     2310 MOUNT HOPE ROAD                                                                         OKEMOS              MI     48864
ALFORD, LAWRENCE     AMBROSE CHRISTOPHER R         PO BOX 24127                                                   LANSING             MI     48909
ALFORD, LEOLA        714 MACKENZIE DR                                                                             LIMA                OH     45805‐1866
ALFORD, LEON         21515 MCCLUNG AVE                                                                            SOUTHFIELD          MI     48075‐3219
ALFORD, LINDA L      3950 HIDDEN VALLEY RD NW                                                                     CLEVELAND           TN     37312‐2045
ALFORD, LINDA S      41 SAXONY DR                                                                                 TROY                MO     63379‐2367
ALFORD, LOUISE C     4000 10TH AVE                                                                                LEAVENWORTH         KS     66048‐5503
ALFORD, LUCILE H     12080 S WACOUSTA RD                                                                          EAGLE               MI     48822‐9515
ALFORD, MALCOLM H    1307 HOLLY DR                                                                                NORTH MYRTLE        SC     29582‐3855
                                                                                                                  BEACH
ALFORD, MARCIA A.    5350 CHURCHMAN AVE # 312                                                                     INDIANAPOLIS       IN      46203
ALFORD, MARIE A      10130 ROAD 2826                                                                              PHILADELPHIA       MS      39350‐7842
ALFORD, MARILYN      6710 ANGOLA RD. P.O.202                                                                      HOLLAND            OH      43528‐0202
ALFORD, MILDRED      1027 E LOW GAP RD                                                                            HIGHLAND HEIGHTS   KY      41076‐1973

ALFORD, MILDRED L    50 EAST HORTON RD                                                                            KIRKLIN            IN      46050‐9568
ALFORD, MILDRED L    50 E HORTON RD                                                                               KIRKLIN            IN      46050‐9568
ALFORD, MINNIE L     505 RUBYTHROAT LN                                                                            CLAYTON            OH      45315‐8742
ALFORD, NANCY G      12259 N MCRAVEN RD                                                                           CLINTON            MS      39056
ALFORD, NORMAN L     10033 NEWKIRK DR                                                                             PARMA HEIGHTS      OH      44130‐3144
ALFORD, ORVEL G      12287 COLDWATER RD                                                                           FLUSHING           MI      48433‐3402
ALFORD, OTIS D       819 KENNELWORTH AVE                                                                          FLINT              MI      48503‐2752
ALFORD, OUIDA H      12A BONAPARTE ST                                                                             BRANDON            MS      39047‐8427
ALFORD, PATRICIA L   174 DOGWOOD DRIVE                                                                            HIGHLAND HEIGHTS   KY      41076

ALFORD, PATSY F      176 SHORT END RD                                                                             COLUMBIA           LA      71418‐9102
ALFORD, PHYLLIS G    12132N EVERETT DR                                                                            ALEXANDRIA         IN      46001
ALFORD, PRESTON      162 SPELL DR                                                                                 COLUMBIA           MS      39429‐6450
ALFORD, RAYMOND E    10473 WOESTE RD                                                                              ALEXANDRIA         KY      41001‐7983
ALFORD, RICHARD S    1077 REDWOOD DR                                                                              BROWNSBURG         IN      46112‐1951
ALFORD, RICKY E      4965 WILCOX RD                                                                               HOLT               MI      48842‐1941
ALFORD, RICKY E      2555 E 150 S                                                                                 ANDERSON           IN      46017‐9761
ALFORD, ROBERT A     735 TAFT DR APT 7F                                                                           ARLINGTON          TX      76011‐0812
ALFORD, ROBERT L     557 S ONONDAGA RD                                                                            MASON              MI      48854‐9733
ALFORD, ROBERT L     2924 S KEYSTONE AVE                                                                          INDIANAPOLIS       IN      46203‐5532
ALFORD, ROBERT L.    557 S ONONDAGA RD                                                                            MASON              MI      48854‐9733
ALFORD, ROGER W      334 S PENDLETON AVE                                                                          PENDLETON          IN      46064‐1108
ALFORD, RONALD E     183 CREEKTRACE RD                                                                            ALEXANDRIA         KY      41001‐7830
ALFORD, RONALD W     131 KAY LU DR                                                                                GADSDEN            AL      35901
ALFORD, RONALD W     1341 BILOXI LN                                                                               BEECH GROVE        IN      46107‐2509
ALFORD, RUBY JEAN    MOODY EDWARD O                801 W 4TH ST                                                   LITTLE ROCK        AR      72201‐2107
ALFORD, RUBY W       10805 SE 51ST AVE                                                                            BELLEVIEW          FL      34420‐8302
ALFORD, SALLIE F     4804 EL RANCHO RD                                                                            FORT WORTH         TX      76119‐4706
ALFORD, SANDRA M     2312 POLLARD RD                                                                              LANSING            MI      48911‐4536
ALFORD, SHERILY J    P.O. BOX 17235                                                                               DAYTON             OH      45417‐0235
ALFORD, SHERILY J    PO BOX 17235                                                                                 DAYTON             OH      45417‐0235
ALFORD, SHIRLEY H    3970 N ST RD 9                                                                               GREENFIELD         IN      46140‐8958
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Name                         Address1                        Address2                     Address3   Address4                City               State   Zip
ALFORD, SHIRLEY H            3970 N STATE ROAD 9                                                                             GREENFIELD          IN     46140‐8958
ALFORD, TERRY W              5315 TRACEVIEW DR                                                                               FRANKLIN            TN     37064‐9440
ALFORD, THERESA L            PO BOX 145                                                                                      CLAYTON             OH     45315‐0145
ALFORD, THOMAS E             10053 CUNNINGHAM RD                                                                             CAMP DENNISON       OH     45111‐9727
ALFORD, TONY                 3701 15TH ST APT 409                                                                            DETROIT             MI     48208‐2588
ALFORD, VERNON L             PO BOX 171                                                                                      OAKLAND             KY     42159‐0171
ALFORD, VIRGIL E             1027 E LOW GAP RD                                                                               HIGHLAND HEIGHTS    KY     41076‐1973

ALFORD, WENDELL P            16202 WESTLAKE CIR                                                                              BELLEVILLE         MI      48111‐6146
ALFORD, WILLIAM F            15985 N STATE ROAD 9                                                                            SUMMITVILLE        IN      46070‐9626
ALFORD, WILLIE J             34101 WESTCHESTER TER                                                                           FREMONT            CA      94555‐2268
ALFORD, WILLIE L             5788 LOCKWOOD DR                                                                                MERIDIAN           MS      39305‐9021
ALFORD, WILLIE LEE           5788 LOCKWOOD DR                                                                                MERIDIAN           MS      39305‐9021
ALFORD‐BAKER, APRIL          26894 WINSLOW DR                                                                                FLAT ROCK          MI      48134‐1875
ALFORNIA SMITH               5480 BIG PINE DR                                                                                YPSILANTI          MI      48197‐7180
ALFORNIA SUMMERS             506 W FOSS AVE                                                                                  FLINT              MI      48505‐2087
ALFORNICE MANZIE             1921 CARTER RD                                                                                  ROCHESTER HILLS    MI      48306‐4503
ALFORO, EDDIE LEE            1611 BISMARCK ST                                                                                SAGINAW            MI      48601‐1292
ALFORT FRANKLIN              3017 VALLEY FARMS RD                                                                            INDIANAPOLIS       IN      46214‐1513
ALFOUNGER MOULTRIE           1521 DILLON ST                                                                                  SAGINAW            MI      48601‐1329
ALFREADO GARZA               1212 WALNUT ST                                                                                  SAGINAW            MI      48601‐2163
ALFRED & ELIZABETH SATTLER   BAHNOFSTR 105                                                           63533 MAINHAUSEN
                                                                                                     GERMANY
ALFRED & GABI MUHLEIS        AM TURNPLATZ 12                                                         D‐95158 KIRCHENLAMITZ
                                                                                                     GERMANY
ALFRED & RAPHAELA ROZANSKI   5 VIRGINIA RD                                                                                   MEDWAY             MA      02053
ALFRED & ROSARY GAETA        8831 NW 15TH ST                                                                                 PLANTATION         FL      33322
ALFRED & THERESA D'ARCO      PO BOX 307 APT 7A‐1                                                                             SCARBOROUGH        NY      10510
ALFRED A BLACK               8942 WEST NATIONAL RD                                                                           NEW CARLISLE       OH      45344‐9288
ALFRED A BUCCI               TOD ACCOUNT                     451 LAKESHORE DR                                                COLUMBIAVILLE      MI      48421‐9728
ALFRED A GRIFFIN             401 REDONDO RD                                                                                  YOUNGSTOWN         OH      44504‐1423
ALFRED A HAIRSTON            3925 BONITA DR. APT B                                                                           MIDDLETOWN         OH      45044
ALFRED A MARINO              WEITZ & LUXENBERG P C           700 BROADWAY                                                    NEW YORK           NY      10003
ALFRED A PAGANO              1838 JOHNSTON PL                                                                                POLAND             OH      44514‐1413
ALFRED A WILLIS              16619 SCHAEFER HWY APT 17                                                                       DETROIT            MI      48235‐4263
ALFRED ACKEN                 1076 W WHITTEMORE AVE                                                                           FLINT              MI      48507‐3642
ALFRED ADAMS II              1041 ADELE CT                                                                                   ROCHESTER HILLS    MI      48309‐3701
ALFRED ALBANESE              937 PINE DR                                                                                     WEST BEND          WI      53095‐3837
ALFRED ALDRIDGE              535 S MARIAS AVE                                                                                CLAWSON            MI      48017‐1856
ALFRED ALMOND                2376 CHATEAUGAY ST                                                                              FT COVINGTON       NY      12937‐1702
ALFRED ALSTON                10300 CRYSTAL ARCH AVE                                                                          LAS VEGAS          NV      89129‐8122
ALFRED ALTOMARI              BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                      BOSTON HTS.        OH      44236
ALFRED AMERSON               3153 JANES AVE                                                                                  SAGINAW            MI      48601‐6364
ALFRED ANDERSON              98 HOMESTEAD ACRES RD NW                                                                        SPARTA             MI      49345‐8104
ALFRED ANDERSON              955 LANDER RD                                                                                   MAYFIELD VILLAGE   OH      44143‐3247
ALFRED ANDERSON              4825 BROOKWOOD PL                                                                               BYRAM              MS      39272
ALFRED ANDERSON JR           2119 WEBSTER ST                                                                                 LANSING            MI      48911‐4630
ALFRED ANDERSON JR           2451 SHARON AVE                                                                                 INDIANAPOLIS       IN      46222‐2309
ALFRED ARELLANO              5600 MURLAND HOLW                                                                               WHITE LAKE         MI      48383‐1349
ALFRED ARMSTRONG             6228 HEREFORD RD                                                                                SALINE             MI      48176‐9225
ALFRED ARNETT                1970 THELMA DR                                                                                  LAKE ALFRED        FL      33850‐9107
ALFRED ATTARD                28925 GRIX RD                                                                                   NEW BOSTON         MI      48164‐9494
ALFRED ATWELL                236 SHAGBARK DR                                                                                 BRISTOL            CT      06010‐3220
ALFRED AUSTIAN               934 PRUITT DR                                                                                   OKLAHOMA CITY      OK      73170‐5646
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Name                               Address1                           Address2                     Address3   Address4               City            State   Zip
ALFRED AUSTIN                      7016 TALLMADGE RD                                                                                 ROOTSTOWN        OH     44272‐9759
ALFRED AVERY                       10388 E WASHINGTON RD                                                                             REESE            MI     48757‐9350
ALFRED AWAD JR                     188 NORFOLK ST                                                                                    WORCESTER        MA     01604‐2958
ALFRED B CLINE                     1493 RACCOON DR NE                                                                                WARREN           OH     44484
ALFRED B COLVIN                    5824 PRINCE EDWARD WAY                                                                            HUBER HEIGHTS    OH     45424
ALFRED B FISCHER                   1506 GUMMER AVE                                                                                   DAYTON           OH     45403‐3306
ALFRED B RANZENBACH JR             90 SANDYBROOK DR                                                                                  HAMLIN           NY     14464‐9106
ALFRED B ROGERS & JANET A ROGERS   683 BOCA CIEGA PT BLVD N                                                                          ST PETERSBURG    FL     33708
ALFRED BACKOF                      225 FROCK DR APT 144                                                                              WESTMINSTER      MD     21157‐4779
ALFRED BAILEY                      103 YORKSHIRE CIRCLE               BUILDING 9                                                     EWING            NJ     08628
ALFRED BANASZAK                    2219 26TH ST                                                                                      BAY CITY         MI     48708‐8133
ALFRED BANDIERINI                  45 OSBORNE RD                                                                                     GARDEN CITY      NY     11530
ALFRED BANKS                       3210 COPLIN ST                                                                                    DETROIT          MI     48215‐2457
ALFRED BANNERMAN                   211 RIDGEVIEW DR                                                                                  PRUDENVILLE      MI     48651‐9778
ALFRED BARNER                      222 CRESTWOOD ST                                                                                  PONTIAC          MI     48341‐2730
ALFRED BAROCIO                     4460 LUM RD                                                                                       ATTICA           MI     48412‐9289
ALFRED BARR                        1915 EASTFIELD RD                                                                                 BALTIMORE        MD     21222‐3153
ALFRED BARROW                      13731 MECCA ST                                                                                    DETROIT          MI     48227‐3078
ALFRED BEAM                        15 RAVEN GLASS LN                                                                                 BLUFFTON         SC     29909‐7107
ALFRED BEAVER JR                   1476 TAIT RD SW                                                                                   WARREN           OH     44481‐9644
ALFRED BECCIA                      225 SIMONS NARROWS RD                                                                             MASHPEE          MA     02649‐3620
ALFRED BECK                        3017 W BUENA VISTA ST APT 303                                                                     DETROIT          MI     48238‐3372
ALFRED BELL                        349 AVENUE E                                                                                      BAYONNE          NJ     07002
ALFRED BENNETT                     15 HEATHERWOOD DR                                                                                 LUGOFF           SC     29078‐7103
ALFRED BENTLEY                     1405 TUNNEL MILL RD                                                                               CHARLESTOWN      IN     47111‐1540
ALFRED BERGMANN                    2796 HILTONWOOD RD                                                                                BALDWINSVILLE    NY     13027‐8207
ALFRED BERRY JR                    PO BOX 672                                                                                        HEMINGWAY        SC     29554‐0672
ALFRED BEYER                       2318 S 13 RD                                                                                      HARRIETTA        MI     49638‐9760
ALFRED BILAND                      31823 TWIN OAKS DR                                                                                CHESTERFIELD     MI     48047‐3019
ALFRED BILLMEIER                   1894 STEVES RD                                                                                    OMER             MI     48749‐9743
ALFRED BISHIR                      546 CIRCLE DR                                                                                     FAIRMOUNT        IN     46928‐1964
ALFRED BLACHA                      46255 BENTLEY CIR W                                                                               MACOMB           MI     48044‐3923
ALFRED BLACK                       8942 W NATIONAL RD                                                                                NEW CARLISLE     OH     45344‐9288
ALFRED BLACK I I                   904 WALTERS LN                                                                                    ARLINGTON        TX     76012‐4725
ALFRED BLEVINS                     2025 RIVER MEADOWS DR                                                                             SEVIERVILLE      TN     37876‐3701
ALFRED BLIXT                       714 SW MERRITT ST                                                                                 LEES SUMMIT      MO     64081‐2628
ALFRED BLOCK JR                    6260 LANGE RD                                                                                     BIRCH RUN        MI     48415‐8749
ALFRED BOBO                        2049 WILLOWGROVE AVE                                                                              KETTERING        OH     45409‐2035
ALFRED BOCANEGRA                   3502 W 38TH PLACE                                                                                 CHICAGO           IL    60632
ALFRED BOGGS                       3379 ONSTED HWY                                                                                   ADRIAN           MI     49221‐9459
ALFRED BOND JR                     2810 GARFIELD AVE                                                                                 BAY CITY         MI     48708‐8609
ALFRED BONKO                       BEVAN & ASSOCIATES, LPA, INC.      6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS.      OH     44236
ALFRED BORDLEY                     828 E 28TH ST                                                                                     WILMINGTON       DE     19802‐3607
ALFRED BORG                        5979 WEDGEWOOD RD                                                                                 CANTON           MI     48187‐3321
ALFRED BOSSIO                      45 NORTHBROOK AVE                                                                                 LAWRENCEVILLE    NJ     08648‐3830
ALFRED BOSTON JR                   25639 LINCOLN TERRACE DR APT 101                                                                  OAK PARK         MI     48237
ALFRED BOTTOMS                     1804 BERKELEY DR                                                                                  GLENN HEIGHTS    TX     75154‐8282
ALFRED BOTZLER                     842 BEECHWOOD DR                                                                                  ASHLAND          OH     44805‐8509
ALFRED BOUIE                       30948 ORANGELAWN ST                                                                               LIVONIA          MI     48150‐2927
ALFRED BRACKETT                    2403 RUGER AVENUE                                                                                 JANESVILLE       WI     53545‐2211
ALFRED BRANCH                      3282 TIMBERVIEW ST                                                                                FLINT            MI     48532‐3755
ALFRED BRANCHEAU                   946 JOSHUA DR                                                                                     HIGHLAND         MI     48356‐2962
ALFRED BRANDT                      1624 BROOKHOLLOW DR                                                                               HIDEAWAY         TX     75771‐5332
ALFRED BRANUM                      305 STONEY FORK                                                                                   BRYANT STORE     KY     40921
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ALFRED BRECHTELSBAUER     5284 LAKEVIEW RD                                                                                                   GLADWIN           MI     48624‐9261
ALFRED BREUER JR          427 MANOR AVE                                                                                                      CRANFORD          NJ     07016‐2063
ALFRED BROWN              39760 FOX VALLEY DR                                                                                                CANTON            MI     48188‐1533
ALFRED BROWN              216 PHILLIPS ST                                                                                                    STAUNTON           IL    62088‐1145
ALFRED BROWN              8256 WOODPARK DR SW                                                                                                BYRON CENTER      MI     49315‐9339
ALFRED BROWN              745 UNDERWOOD RD                                                                                                   RUSSELLVILLE      AL     35654‐8144
ALFRED BROWN              99 DODGE RD                                                                                                        SPENCER           NY     14883‐9339
ALFRED BROWN              WEITZ & LUXENBERG P C                700 BROADWAY                                                                  NEW YORK          NY     10003
ALFRED BRYANT             801 E SEYMOUR ST                                                                                                   MUNCIE            IN     47302‐2578
ALFRED BRYANT SR          PO BOX 204                                                                                                         LAKE VILLAGE      AR     71653‐0204
ALFRED BUCHHOLZ           7317 MICHAEL RD                                                                                                    ORCHARD PARK      NY     14127‐1406
ALFRED BURGOS             482 LONG ACRE RD                                                                                                   ROCHESTER         NY     14621‐1112
ALFRED BURNO              220D WESTVIEW COMMONS BLVD                                                                                         ROCHESTER         NY     14624
ALFRED BURNY              850 SYLVANWOOD DR                                                                                                  TROY              MI     48085‐3176
ALFRED BUTTERWORTH        4149 KEHELEY DR NE                                                                                                 MARIETTA          GA     30066‐1905
ALFRED BUTTREY            107 S WILSON ST                                                                                                    DESLOGE           MO     63601‐3337
ALFRED C CHURCH           1650 PORTAL DR NE                                                                                                  WARREN            OH     44484
ALFRED C ETZEL JR         1104 HARRIS DR                                                                                                     EMMAUS            PA     18049
ALFRED C HARVILLE JR      1601 RADIO ROAD                                                                                                    DAYTON            OH     45403‐1522
ALFRED C MAY              310 ROSE ST                                                                                                        FENTON            MI     48430‐2090
ALFRED C PAULEY           137 BROOKLYN AVE                                                                                                   DAYTON            OH     45417‐2236
ALFRED C PLATZ            19460 TODD RD                                                                                                      PETERSBURG        MI     49270‐9336
ALFRED CALAI JR           9248 YOUNGS‐SALEM RD                                                                                               CANFIELD          OH     44406
ALFRED CALLAHAN           11180 SOMERSET DR                    APT # 255F                                                                    NORTH ROYALTON    OH     44133
ALFRED CALZADA            415 LOUVETEAU RD                                                                                                   CARENCRO          LA     70520‐5546
ALFRED CAMPBELL           3255 SWAFFER RD                                                                                                    MILLINGTON        MI     48746‐9618
ALFRED CANDELARIA         3212 NE 69TH ST                                                                                                    GLADSTONE         MO     64119‐5208
ALFRED CAPPOLA            120 OLD NIAGARA RD APT 14                                                                                          LOCKPORT          NY     14094‐1521
ALFRED CAPUZZI            1424 LAWNDALE AVE                                                                                                  HAVERTOWN         PA     19083
ALFRED CARL BAUMER        ATTN ROBERT W PHILLIPS               SIMMONS BROWDER GIANARIS   707 BERKSHIRE BLVD PO BOX                          EAST ALTON         IL    62024
                                                               ANGELIDES & BARNERD LLC    521
ALFRED CARLOS             14314 BRIDGEWOOD DR                                                                                                LA MIRADA        CA      90638‐2001
ALFRED CAROSA             542 MCKINLEY PKWY                                                                                                  BUFFALO          NY      14220‐1739
ALFRED CARPENTER JR       417 CENTER STREET                                                                                                  CLIO             MI      48420‐1166
ALFRED CARR JR            267 WESTMORELAND TRL                                                                                               TRYON            NC      28782
ALFRED CARRACHINO         105 BIRMINGHAM CT                                                                                                  MILFORD          MA      01757‐1673
ALFRED CARRANZA           1410 PICO ST                                                                                                       SAN FERNANDO     CA      91340‐3507
ALFRED CARROTHERS         2949 LACOTA RD                                                                                                     WATERFORD        MI      48328‐3128
ALFRED CARTER             PO BOX 122                                                                                                         CORUNNA          MI      48817‐0122
ALFRED CARTER JR          12013 MAGAZINE ST APT 8107                                                                                         ORLANDO          FL      32828‐5507
ALFRED CAUDILL            1417 COVENTRY RD                                                                                                   DAYTON           OH      45410‐3110
ALFRED CERVANTES          9951 FLAMINGO ST                                                                                                   LIVONIA          MI      48150‐2911
ALFRED CHADWICK           7612 ABIGAIL DR                                                                                                    YPSILANTI        MI      48198‐7601
ALFRED CHEESEBROUGH III   1092 WATERFALL CT                                                                                                  BIRMINGHAM       MI      48009‐4609
ALFRED CHELLI JR          456 MEADOWOOD RD                                                                                                   JACKSON          NJ      08527‐1181
ALFRED CHEUVRONT          409 HARMON ST                                                                                                      FAIRMOUNT        IL      61841‐6267
ALFRED CHILDS             PO BOX 7434                                                                                                        BLOOMFIELD       MI      48302‐7434
ALFRED CIAMARRA           THE LAW OFFICES OF PETER G ANGELOS   100 NORTH CHARLES STREET   22ND FLOOR                                         BALTIMORE        MD      21201

ALFRED CIBULL             265 N SHORTRIDGE RD APT F3                                                                                         INDIANAPOLIS     IN      46219‐4923
ALFRED CIOMPERLIK         8635 FM 1346                                                                                                       SAN ANTONIO      TX      48263
ALFRED CLANTON            768 ANNA PL                                                                                                        N PLAINFIELD     NJ      07063‐1602
ALFRED CLARK              306 W GREEN VALLEY DR                                                                                              HORSESHOE BEND   AR      72512‐2708
ALFRED CLARK              4918 SHADWELL DR                                                                                                   DAYTON           OH      45416‐1133
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ALFRED CLARK                    PO BOX 313                                                                                     ONONDAGA           MI     49264‐0313
ALFRED CLAUSEN                  10265 TURQUOISE CT                                                                             PARKER             CO     80134‐9154
ALFRED CLEGG                    1952 N 118TH ST                                                                                WAUWATOSA          WI     53226‐2002
ALFRED CLEMENTS                 7627 ALASKA ST                                                                                 BRIDGEPORT         MI     48722‐9754
ALFRED CLINE                    1493 RACCOON DR NE                                                                             WARREN             OH     44484‐1431
ALFRED CLORE                    12489 ELMS RD                                                                                  BIRCH RUN          MI     48415‐8768
ALFRED CLOSSON JR               8613 CHATHAM ST                                                                                FORT MYERS         FL     33907‐4111
ALFRED COGGIN                   1869 LARKSPUR DR                                                                               ARLINGTON          TX     76013‐3479
ALFRED COKER                    12000 COLLEGE ST                                                                               DETROIT            MI     48205‐3314
ALFRED COLLET                   6331 8 MILE RD                                                                                 FREELAND           MI     48623‐9365
ALFRED COMBS                    42 REGINA DR                                                                                   FAIRBORN           OH     45324‐4328
ALFRED COMBS                    42 REGINA DR.                                                                                  FAIRBORN           OH     45324‐4328
ALFRED CONEY                    1822 WHITTLESEY ST                                                                             FLINT              MI     48503‐4345
ALFRED CONNER                   9620 GLENBURG RD                                                                               DEFIANCE           OH     43512‐9609
ALFRED COOK                     140 WASHINGTON ST APT C6                                                                       EAST ORANGE        NJ     07017‐1140
ALFRED COOLEY JR                1527 TENNYSON AVE                                                                              DAYTON             OH     45406‐4245
ALFRED COOPER                   815 N MILL ST APT 30                                                                           LONDON             KY     40741‐1153
ALFRED COOPER                   117 S ARDMORE AVE                                                                              DAYTON             OH     45417‐2105
ALFRED COOPER                   6328W HATHAWAY RD                                                                              FORT WAYNE         IN     46818
ALFRED COOPER                   117 S ARDMORE ST                                                                               DAYTON             OH     45417‐2105
ALFRED COOPER JR                2414 KING AVE APT 12                                                                           DAYTON             OH     45420‐2381
ALFRED CORBIN                   806 E NORTH E ST                                                                               GAS CITY           IN     46933‐1224
ALFRED CORRADI                  PO BOX 592                                                                                     WENTZVILLE         MO     63385‐0592
ALFRED CORTESE                  2733 SOUTH AVE                                                                                 NIAGARA FALLS      NY     14305‐3227
ALFRED COTE                     6 BARDIA CT                                                                                    BALTIMORE          MD     21237‐4011
ALFRED COUTURE                  422 KENILWORTH AVE                                                                             PONTIAC            MI     48342‐1840
ALFRED CRANE                    5912 LUCINA COURT                                                                              FORT MYERS         FL     33908‐1673
ALFRED CROCETTA                 53 HUNTINGTON PKWY                                                                             HAMLIN             NY     14464‐9320
ALFRED CROMER                   40548 WHITNEY RD                                                                               LAGRANGE           OH     44050‐9754
ALFRED CROSBY                   910 E COUNTY ROAD 900 S                                                                        CLAYTON            IN     46118‐9124
ALFRED CROWDER                  BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS.        OH     44236
ALFRED CUNNINGHAM JR            1557 E NORTH UNION RD                                                                          BAY CITY           MI     48706‐9451
ALFRED CUPPETT                  2227 MCGWIER DR                                                                                HOOVER             AL     35226‐1721
ALFRED CURTHS                   PO BOX 43                                                                                      JENISON            MI     49429‐0043
ALFRED CUTAJAR                  PO BOX 1752                                                                                    DUNEDIN            FL     34697‐1752
ALFRED CYNAR                    PO BOX 536                                                                                     STERLING HTS       MI     48311‐0536
ALFRED D & BERNADETTE B BURCH   512 APPALACHIAN AVE                                                                            MECHANICSBURG      PA     17055
ALFRED D CARTER JR              12013 MAGAZINE STREET           APT 8107                                                       ORLANDO            FL     32828
ALFRED D CHILDS                 PO BOX 7434                                                                                    BLOOMFIELD         MI     48302‐7434
ALFRED D DEBUHR                 8211 DUNHAM RD                                                                                 DOWNERS GROVE       IL    60516
ALFRED D LEVAC                  PO BOX 390322                                                                                  DELTONA            FL     32739‐0322
ALFRED DAKTAR III
ALFRED DALLAIRE                 1231 FROMAN ST                                                                                 GRAND BLANC       MI      48439‐9348
ALFRED DANDRIDGE                591 MERRIMAN RD                                                                                AKRON             OH      44303‐1645
ALFRED DANIELS                  3757 LOCKRIDGE DR                                                                              LAND O LAKES      FL      34638‐8051
ALFRED DANOROVICH               2044 HAYES DENTON RD                                                                           COLUMBIA          TN      38401‐8227
ALFRED DARTIS                   1736 KENRUTH DR                                                                                INDIANAPOLIS      IN      46260‐4439
ALFRED DAVIDGE                  49778 THORNAPPLE CT                                                                            SHELBY TOWNSHIP   MI      48315‐3449
ALFRED DAVIS                    PO BOX 121                      310 LOXLEY                                                     HOUGHTON LAKE     MI      48630‐0121
                                                                                                                               HEIGHTS
ALFRED DAVIS                    7464 WHEAT RD                                                                                  JACKSONVILLE      FL      32244
ALFRED DAWSON                   8944 FRANKLIN MADISON RD                                                                       FRANKLIN          OH      45005‐3233
ALFRED DEAN                     BIFFERATO GENTILOTTI & BIDEN    PO BOX 2165                                                    WILMINGTON        DE      19899‐2165
ALFRED DEBONO                   56534 BROADMOOR LN                                                                             MACOMB            MI      48042‐1192
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ALFRED DEBUHR         8211 DUNHAM RD                                                                                  DOWNERS GROVE       IL    60516‐4709
ALFRED DELLEMONACHE   PO BOX 60904                                                                                    ROCHESTER          NY     14606‐0904
ALFRED DEMEO          20 NORTH ST                                                                                     MILFORD            MA     01757‐1708
ALFRED DEMUTH         C/O EMBRY & NEUSNER              PO BOX 1409                                                    GROTON             CT     06340
ALFRED DENNIS         4181 E MILLER RD                                                                                FAIRVIEW           MI     48621‐9779
ALFRED DEVINCENTIS    162 CARTER CIR                                                                                  BOARDMAN           OH     44512‐6630
ALFRED DEXTER         11482 LOVE HWY                                                                                  BELLEVUE           MI     49021‐9307
ALFRED DI BERARDINE   PO BOX 197                                                                                      CRABTREE           PA     15624‐0197
ALFRED DICKENSON      PO BOX 65                                                                                       PEWAMO             MI     48873‐0065
ALFRED DINKELSPIEL    83 WAVECREST AVE                                                                                WINFIELD PARK      NJ     07036‐6622
ALFRED DINKINS        464 MONTANA AVE                                                                                 PONTIAC            MI     48341‐2533
ALFRED DINNAN         4051 WELCOME DRVICE                                                                             FLINT              MI     48506
ALFRED DITCHKUS       2385 AGINCOURT RD                                                                               TOMS RIVER         NJ     08755‐1815
ALFRED DIXON          PO BOX 443                                                                                      CLINTON            MS     39060‐0443
ALFRED DLUGOSZ        BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS.        OH     44236
ALFRED DOCKERY        11748 S LOOMIS ST                                                                               CHICAGO             IL    60643‐5037
ALFRED DONALDSON JR   PO BOX 7416                                                                                     OXFORD             AL     36203‐7416
ALFRED DORSEY         763 ACORN ST                                                                                    WESTLAND           MI     48186‐5382
ALFRED DORSEY         C/O THE SUTTER LAW FIRM, PLLC    1598 KANAWHA BLVD E                                            CHARLESTON         WV     25311
ALFRED DOTY           5425 SWALLOW CT NE                                                                              BELMONT            MI     49306‐9622
ALFRED DRAPER         1411 W STATE ST                                                                                 JANESVILLE         WI     53546‐3804
ALFRED DROUILLARD     1116 SYMES CT                                                                                   ROYAL OAK          MI     48067‐1568
ALFRED DUCK           413 W ELK ST                                                                                    GENESEO             IL    61254‐1008
ALFRED DUDZINSKI      1525 OAK BRANCH DR                                                                              COLUMBIA           TN     38401‐8801
ALFRED DUFFY          718 W MADISON ST                                                                                ALEXANDRIA         IN     46001‐1518
ALFRED DULLUM         917 HILLCREST RD                                                                                STOUGHTON          WI     53589‐1206
ALFRED DULONG         2720 PLEASANT OAK CT                                                                            LAKE WYLIE         SC     29710‐7802
ALFRED DUMAS          1104 N KIGER RD                                                                                 INDEPENDENCE       MO     64050‐3170
ALFRED DUNN           332 PALISADE AVE APT H1                                                                         YONKERS            NY     10703‐2930
ALFRED DUNN           980 COUNTY ROAD 528                                                                             CENTRE             AL     35960‐6766
ALFRED DURBIN         200 E BENTON ST                                                                                 WINDSOR            MO     65360‐1304
ALFRED DURBIN         3929 CYPRESS AVE                                                                                KANSAS CITY        MO     64130‐1533
ALFRED DUVAL JR       28 RAINBOW AVE                                                                                  STATEN ISLAND      NY     10302‐2142
ALFRED E BROWN        C/O WILLIAMS KHERKHER HART AND   8441 GULF FREEWAY STE 600                                      HOUSTON            TX     77007
                      BOUNDAS LLP
ALFRED E DAWSON       8944 FRANKLIN MADISON ROAD                                                                      FRANKLIN          OH      45005‐3233
ALFRED E FASULO       7525 STONEYBROOK DR #918                                                                        NAPLES            FL      34112
ALFRED E HINES        16 JOHN ST                                                                                      SUMMIT            NJ      07901‐3980
ALFRED E KNOX         2206 S VASSAR RD                                                                                BURTON            MI      48519‐1348
ALFRED E LASSITER     1432 MAXWELL ST.                                                                                VICKSBURG         MS      39180‐3640
ALFRED E PARKER       5025 PALENA BLVD                                                                                NORTH PORT        FL      34287
ALFRED E PHILLIPS     4132 IDLE HOUR CIRCLE, APT C                                                                    DAYTON            OH      45415
ALFRED E POWELL JR.   1114 NORTHVIEW LN                                                                               ROCHESTER HILLS   MI      48307‐2936
ALFRED E SHAMP        6412 CURTIN RD.                                                                                 MORAVIA           NY      13118‐3216
ALFRED E WATSON       740 SOUTH LUCINDA DRIVE                                                                         TUCSON            AZ      85748
ALFRED E WELLS        P O BOX 201                                                                                     PIKETON           OH      45661‐0201
ALFRED E WOOD         1238 WOODLAND CT SE                                                                             CONYERS           GA      30013‐3061
ALFRED EAKER          7117 FOREST PARK DR                                                                             INDIANAPOLIS      IN      46217‐4124
ALFRED EBENER         1210 52ND AVE                                                                                   KENOSHA           WI      53144‐1121
ALFRED EBERT JR       893 N 975 W                                                                                     ANDREWS           IN      46702‐9744
ALFRED ECTOR          111 W BUENA VISTA ST                                                                            HIGHLAND PARK     MI      48203‐3617
ALFRED EDGAR          21445 RAINTREE DR                                                                               MACOMB            MI      48044‐6412
ALFRED EDWARDS        38 LEON VILLAGE GARDEN CITY                                                                     SAVANNAH          GA      31408
ALFRED EDWARDS JR     3734 HANCHETT ST                                                                                SAGINAW           MI      48604‐2119
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Name                            Address1                        Address2                     Address3               Address4                  City                State   Zip
ALFRED EGLER                    1512 LEJEUNE AVE                                                                                              LINCOLN PARK         MI     48146‐2141
ALFRED ELAM                     6137 RICHFIELD RD                                                                                             FLINT                MI     48506‐2205
ALFRED ELLIOTT                  7875 FENNER RD                                                                                                LAINGSBURG           MI     48848‐8701
ALFRED ENGELMANN                S. MILLER 8108411759            METALLWARENFABRICK GMBH      POSTFACH 100351/3002                             CRANBURY             NJ     08512
                                                                                             WEDEMARK
ALFRED ERICKSEN                 902 E 8TH ST                                                                                                  FLINT               MI      48503‐2780
ALFRED ERICKSON III             6123 DEWEY AVE                                                                                                SAINT LOUIS         MO      63116‐3109
ALFRED ESCOBAR JR               1507 PARKWAY DR                                                                                               ALVIN               TX      77511‐3722
ALFRED ESTRADA                  522 HACIENDA AVE                                                                                              MANTECA             CA      95336‐3559
ALFRED EUSANIO                  653 S MERIDIAN RD                                                                                             YOUNGSTOWN          OH      44509‐2933
ALFRED EVANGELISTO              1216 RIDGE RD. #12                                                                                            CARMEL              NY      10512
ALFRED EVANS                    891 ALCALA DR                                                                                                 ST AUGUSTINE        FL      32086‐7164
ALFRED EVANS                    4004 CENTER RD                                                                                                JONESVILLE          NC      28642‐9238
ALFRED EVERITT JR               6283 N HOLLY DR                                                                                               ELLETTSVILLE        IN      47429‐9466
ALFRED F GOMEZ                  PO BOX 290896                                                                                                 PHELAN              CA      92329‐0896
ALFRED F MESCHER                2900 PARKWOOOD DR                                                                                             TROY                OH      45373‐8981
ALFRED F SCHRETTNER             WEITZ & LUXENBERG PC            700 BROADWAY                                                                  NEW YORK CITY       NY      10003
ALFRED FAVRE                    16 PARWOOD TRL                                                                                                DEPEW               NY      14043‐1066
ALFRED FELDHAUSER               208 GRAND MANOR DR                                                                                            GRAND LEDGE         MI      48837‐1250
ALFRED FERREIRA                 369 WASHINGTON DR                                                                                             MILPITAS            CA      95035‐3215
ALFRED FERSZT                   26781 PONCHARTRAIN ST                                                                                         HARRISON            MI      48045‐2597
                                                                                                                                              TOWNSHIP
ALFRED FIELDS                   7433 BECKWOOD DR                                                                                              FORT WORTH          TX      76112‐5907
ALFRED FIFIELD JR               64150 DEQUINDRE RD                                                                                            WASHINGTON          MI      48095‐2206
ALFRED FINCH                    427 PENCADER LN                                                                                               BEAR                DE      19701‐2303
ALFRED FISCHER                  1506 GUMMER AVE                                                                                               DAYTON              OH      45403‐3306
ALFRED FISCHL                   1831 BURNING BUSH CT                                                                                          ROCHESTER HILLS     MI      48309‐3320
ALFRED FISHER                   1531 HELMER LAKE RD                                                                                           FAIRVIEW            MI      48621‐9720
ALFRED FITZPATRICK              1125 TRACY AVE                                                                                                EXCELSIOR SPRINGS   MO      64024‐1140

ALFRED FLAGG                    3787 COPAS RD                                                                                                 OWOSSO              MI      48867‐9611
ALFRED FLEMING                  BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                                    BOSTON HTS.         OH      44236
ALFRED FLOWERS                  405 S DEAN ST                                                                                                 CENTREVILLE         MI      49032‐9557
ALFRED FLOYD                    415 BOOKER ST                                                                                                 BELOIT              WI      53511‐6418
ALFRED FORESTER                 1434 S CLINTON ST                                                                                             DEFIANCE            OH      43512‐3201
ALFRED FORNSHELL                706 W MACALAN DR                                                                                              MARION              IN      46952‐2043
ALFRED FORTINO                  320 W HODGE AVE                                                                                               LANSING             MI      48910‐2915
ALFRED FOWLKES                  8471 N LINDEN RD                                                                                              MOUNT MORRIS        MI      48458‐9314
ALFRED FRASSL                   KARL BEKEHRTY STRASSE 70        1140 WIEN
ALFRED FRASSL                   KARL BEKEHRTY STRASSE 70
ALFRED FRASSL U. GERDA FRASSL   KARL BEKEHRTY STRASSE 70                                                            1140 WIEN AUSTRIA
ALFRED FRENCH                   475 WOODWARD AVE                                                                                              MANSFIELD           OH      44903‐2024
ALFRED FRIESS                   4422 TRAPANI LN                                                                                               SWARTZ CREEK        MI      48473‐8825
ALFRED G DIXON                  PO BOX 443                                                                                                    CLINTON             MS      39060
ALFRED G SCHMIDT                1130 BIRCHCREST BLVD                                                                                          PORT CHARLOTTE      FL      33952‐1688
ALFRED G VIEIRA                 318 PENNELS DRIVE                                                                                             ROCHESTER           NY      14626‐4917
ALFRED GABIOUD                  11838 CLARENCE CENTER RD                                                                                      AKRON               NY      14001‐9490
ALFRED GALLAGHER                3377 PARAMOUNT LN                                                                                             AUBURN HILLS        MI      48325‐3964
ALFRED GARCIA                   4708 FOREST HILL CIR                                                                                          FOREST HILL         TX      76140‐1406
ALFRED GARCIA                   24020 ACACIA ST                                                                                               MENIFEE             CA      92584‐9745
ALFRED GARTZ, EVELIN GARTZ      FURTENBACH STR 14                                                                   90453 NUERNBERG GERMANY

ALFRED GASKIN                   5567 WAYBURN ST                                                                                               DETROIT              MI     48224‐3038
ALFRED GAULDEN JR               125 S 29TH ST                                                                                                 MUSKOGEE             OK     74401‐5104
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ALFRED GAUSE                   12891 SAINT MARYS ST                                                                                           DETROIT             MI     48227‐1248
ALFRED GAWNE                   4979 BRIGHAM RD                                                                                                GOODRICH            MI     48438‐9698
ALFRED GEBSKI                  3779 GOTFREDSON RD                                                                                             PLYMOUTH            MI     48170‐5113
ALFRED GEIBACH                 14195 SUSANNA ST                                                                                               LIVONIA             MI     48154‐5913
ALFRED GENGLER                 621 W CLARENCE RD                                                                                              HARRISON            MI     48625‐9511
ALFRED GENO                    1072 8TH ST BOX 862                                                                                            AU GRES             MI     48703
ALFRED GIBSON                  503 WEST ROSE AVENUE                                                                                           GARDEN CITY         MI     48135‐2684
ALFRED GIBSON                  13825 E 13 MILE RD APT 3                                                                                       WARREN              MI     48088‐3265
ALFRED GILDER                  13508 IRISH RD                                                                                                 MILLINGTON          MI     48746‐9246
ALFRED GILSON JR               43 W ELM ST                                                                                                    PETERSBURG          MI     49270‐9558
ALFRED GITRE                   7501 DEAN RD                                                                                                   FENTON              MI     48430‐9044
ALFRED GLEMB                   7224 NICKETT DR                                                                                                N TONAWANDA         NY     14120‐1441
ALFRED GLENN                   1829 SPRINGFIELD ST                                                                                            FLINT               MI     48503‐4579
ALFRED GODERRE                 3 N LAKESIDE DR                                                                                                TERRYVILLE          CT     06786‐4640
ALFRED GOLDEN                  319 MARTIN LUTHER KING JR BLVD S                                                                               PONTIAC             MI     48342‐3337
ALFRED GOLDEN                  1200 HASTINGS CT                                                                                               ROCK HILL           SC     29732‐9046
ALFRED GOLDSMITH               BEVAN & ASSOCIATES, LPA, INC.      6555 DEAN MEMORIAL PARKWAY                                                  BOSTON HTS.         OH     44236
ALFRED GOMEZ                   PO BOX 290896                                                                                                  PHELAN              CA     92329‐0896
ALFRED GONNELLA                APT 346 HAWKS NEST CIRCLE                                                                                      ROCHESTER           NY     14626
ALFRED GONZALES                1233 MAYAPPLE DR                                                                                               GARLAND             TX     75043‐1838
ALFRED GONZALEZ                51 SAVIOR PATH                                                                                                 ETHRIDGE            TN     38456‐2151
ALFRED GORDON                  2105 EBERLY RD                                                                                                 FLINT               MI     48532‐4548
ALFRED GRACIANO                1354 CLOVE CT                                                                                                  NEWMAN              CA     95360‐1043
ALFRED GRAHAM JR               4522 N TUMBLEWEED TRL                                                                                          HERNANDO            FL     34442‐3011
ALFRED GRAY                    15438 BRANDT ST                                                                                                ROMULUS             MI     48174‐3209
ALFRED GREEN                   9932 C ST                                                                                                      OAKLAND             CA     94603‐2431
ALFRED GRIFFIN                 401 REDONDO RD                                                                                                 YOUNGSTOWN          OH     44504‐1423
ALFRED GRIFFIN                 PO BOX 576                                                                                                     ATHENS              AL     35612‐0576
ALFRED GRIFFIN                 BEVAN & ASSOCIATES, LPA, INC.      6555 DEAN MEMORIAL PARKWAY                                                  BOSTON HTS.         OH     44236
ALFRED GRIGGS                  PO BOX 19216                                                                                                   DETROIT             MI     48219‐0216
ALFRED GRIMM                   15785 WAVERLY ST                                                                                               SOUTHGATE           MI     48195‐3015
ALFRED GROGAN                  P O BOX 625                                                                                                    WINTER HAVEN        FL     33882
ALFRED GUICE                   BEVAN & ASSOCIATES, LPA, INC.      6555 DEAN MEMORIAL PARKWAY                                                  BOSTON HTS.         OH     44236
ALFRED GUNTHER                 47767 KELSTON DR                                                                                               MACOMB              MI     48044‐3067
ALFRED GUY                     26188 BARCELOS CT                                                                                              PUNTA GORDA         FL     33983‐5320
ALFRED GUY                     6174 COMMODORE DR                                                                                              INDIANAPOLIS        IN     46219‐2131
ALFRED GYSIN                   379 135TH AVE                                                                                                  WAYLAND             MI     49348‐9402
ALFRED H GLENN                 1829 SPRINGFIELD ST                                                                                            FLINT               MI     48503‐4579
ALFRED H HAWKINS               36945 MENTON ST                                                                                                ROMULUS             MI     48174‐3970
ALFRED H HUNKELE AND MARIE E   1571 MOORINGS CIRCLE SW                                                                                        OCEAN ISLE BEACH    NC     28469‐6356
HUNKELE
ALFRED H LEWIS                 13818 HAMMANSBURG RD                                                                                           N BALTIMORE        OH      45872‐9727
ALFRED H MURRELL               3113 SE 55TH ST                                                                                                OKLAHOMA CITY      OK      73135‐1613
ALFRED H SCHMOLINSKI III       2505 CATALPA DR                                                                                                DAYTON             OH      45406‐2158
ALFRED H SHELTON               1109 BURLINGTON DR                                                                                             FLINT              MI      48503‐2928
ALFRED H TRETTNER              LYNNE KIZIS ESQ                    WILENTZ GOLDMAN AND SPITZER   90 WOODBRIDGE CENTER                          WOODBRIDGE         NJ      07095
                                                                                                DRIVE
ALFRED HAIRSTON                3925 BONITA DR APT B                                                                                           MIDDLETOWN         OH      45044‐6580
ALFRED HAIRSTON JR             1615 CLIFTON AVE                                                                                               LANSING            MI      48910‐1808
ALFRED HALL                    THE MADEKSHO LAW FIRM              8866 GULF FREEWAY SUITE 440                                                 HOUSTON            TX      77017
ALFRED HAMILTON                6144 COVERED WAGONS TRL                                                                                        FLINT              MI      48532‐2110
ALFRED HANKINS                 32206 ANDREW PL                                                                                                WARSAW             MO      65355‐4712
ALFRED HARDY                   28 OAKWOOD PL                                                                                                  ELIZABETH          NJ      07208‐3214
ALFRED HARDY                   1835 TERRACE CT                                                                                                FLINT              MI      48507‐4330
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ALFRED HARKLESS      1008 SUNCREST DR                                                                              FLINT              MI     48504‐8125
ALFRED HARRINGTON    2680 LAFEUILLE CIRCLE                                                                         CINCINNATI         OH     45211
ALFRED HARRIS        821 W THOMAS ST                                                                               BROWNSVILLE        TN     38012‐1823
ALFRED HARRIS        10090 PROSPECT RD                                                                             PROSPECT           TN     38477‐6269
ALFRED HARRIS        3278 E 143RD ST                                                                               CLEVELAND          OH     44120‐4013
ALFRED HARRISON      409 WASHBURN RD                                                                               BENTON             KY     42025‐6358
ALFRED HARTLEY       4735 PELTON RD                                                                                CLARKSTON          MI     48346‐3653
ALFRED HARVEY        1570 CLINTON STREET                                                                           OLCOTT             NY     14126
ALFRED HARVILLE JR   1601 RADIO RD                                                                                 DAYTON             OH     45403‐1522
ALFRED HATLEY        280 BRADSHAW RD                                                                               PELAHATCHIE        MS     39145‐3306
ALFRED HAURI         W1876 HEIN RD                                                                                 BRODHEAD           WI     53520‐9510
ALFRED HAWKINS       36945 MENTON ST                                                                               ROMULUS            MI     48174‐3970
ALFRED HEARD         23022 COURTLAND AVE                                                                           EASTPOINTE         MI     48021‐1934
ALFRED HENRY         712 COUNTY ROAD 81                                                                            VALLEY GRANDE      AL     36703‐9118
ALFRED HENSON        232 WOODSPRINGS RD                                                                            LOGANSPORT         LA     71049‐2457
ALFRED HERAMBOURG    123 MULLEN ST                                                                                 WESTVILLE           IL    61883‐1631
ALFRED HERMOSILLO    1706 S DONNA BETH AVE                                                                         WEST COVINA        CA     91791‐4000
ALFRED HERRERA       530 E PATRIOT BLVD APT 414                                                                    RENO               NV     89511‐1289
ALFRED HICKMAN       2980 W US 10 .                                                                                BALDWIN            MI     49304
ALFRED HICKS         2625 MILTON ST SE                                                                             WARREN             OH     44484‐5254
ALFRED HILDRETH      PO BOX 9022                    C/O GM KOREA                                                   WARREN             MI     48090‐9022
ALFRED HILLIKER JR   13018 STAMFORD AVE                                                                            WARREN             MI     48089‐4581
ALFRED HINES         16 JOHN ST                                                                                    SUMMIT             NJ     07901‐3980
ALFRED HITCHCOX JR   9745 WOODLAWN DR                                                                              PORTAGE            MI     49002‐7220
ALFRED HOFMANN JR    1437 ANDREW AVE                                                                               SALEM              OH     44460‐3558
ALFRED HOGAN         1110 WALKER ST                                                                                MANSFIELD          OH     44906‐1942
ALFRED HOLLAND       G‐4051 DALLAS ST                                                                              BURTON             MI     48519
ALFRED HOLLER        817 S CHIPMAN ST                                                                              OWOSSO             MI     48867‐4153
ALFRED HOLLOMAN      87 HUNTER ST                                                                                  OSSINING           NY     10562‐5441
ALFRED HOLLOWAY JR   PO BOX 83                                                                                     MANCHESTER         MI     48158‐0083
ALFRED HOMOLKA       17093 THYME CT                                                                                PUNTA GORDA        FL     33955‐4400
ALFRED HONAKER       257 SUNRISE BLVD                                                                              DEBARY             FL     32713‐3932
ALFRED HOSLER        5876 DINGMAN SCHOOL RD                                                                        EAST JORDAN        MI     49727‐9291
ALFRED HOWELL        PO BOX 6932                                                                                   ARLINGTON          TX     76005‐6932
ALFRED HOWERY        951 MARKET RD                                                                                 TIPTON             IN     46072‐8414
ALFRED HUBBARD       BEVAN & ASSOCIATES LPA INC     6555 DEAN MEMORIAL PARKWAY                                     BOSTON HEIGHTS     OH     44236
ALFRED HUDSON        324 W 23RD ST                                                                                 FERDINAND          IN     47532‐9308
ALFRED HUNTER        7716 CLOVERHILL DR                                                                            LANSING            MI     48917‐8812
ALFRED HUPP          4588 WARWICK DR S                                                                             CANFIELD           OH     44406‐9240
ALFRED HURLEY        1521 S 16TH ST                                                                                CHICKASHA          OK     73018‐5334
ALFRED INGOLD        505 ALEXANDER RD                                                                              BELLVILLE          OH     44813‐9123
ALFRED INMAN         6107 IMPERIAL HILLS DR                                                                        DAYTON             OH     45414‐2821
ALFRED IORILLO       14 LAMBERT AVE                                                                                EDISON             NJ     08817‐4513
ALFRED IRONS         769 MONACO DR                                                                                 PUNTA GORDA        FL     33950‐8017
ALFRED IVAN          198 LAURA LN                                                                                  CHICAGO HEIGHTS     IL    60411‐1016
ALFRED J BERRY JR    P O BOX 672                                                                                   HEMINGWAY          SC     29554‐0672
ALFRED J BROWN       2928 MILLICENT AVE                                                                            DAYTON             OH     45408‐2225
ALFRED J FESSLER     426 MILL RD                                                                                   ROCHESTER          NY     14626‐1040
ALFRED J JENSON      720 KNIGHT ST                                                                                 MILFORD            MI     48381‐1114
ALFRED J LANGMADE    514 WOODBINE AVE                                                                              ROCHESTER          NY     14619‐1724
ALFRED J LONG        2975 E GRAND BLVD APT 1                                                                       DETROIT            MI     48202‐3143
ALFRED J SERVATI     134 JONQUIL LANE                                                                              ROCHESTER          NY     14612
ALFRED J SMITH II    211 DEARBORN ST                                                                               SAGINAW            MI     48602‐1303
ALFRED JACKSON       14033 ASHTON RD                                                                               DETROIT            MI     48223‐3531
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Name                                     Address1                         Address2                     Address3                  Address4                 City           State   Zip
ALFRED JACKSON                           604 AUSTYN TERRACE LOT 135                                                                                       COLUMBIA        TN     38401
ALFRED JACKSON                           1 WOODSON CT                                                                                                     LITTLE ROCK     AR     72209‐2738
ALFRED JACKSON                           10573 SCOTT RD                                                                                                   WOLVERINE       MI     49799‐9756
ALFRED JACKSON                           3729 PINE GROVE                                                                                                  PINE LAWN       MO     63121
ALFRED JACKSON                           5206 DRUMMOND SQ                                                                                                 FLINT           MI     48504‐6766
ALFRED JACKSON                           1480 LOCUST ST                                                                                                   MIDDLETOWN      IN     47356‐1135
ALFRED JACOB                             1320 ARBORDALE CT                                                                                                LANCASTER       TX     75134‐4166
ALFRED JAMES H JR (ESTATE OF) (462734)   ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET , ONE                                                      BALTIMORE       MD     21202
                                                                          CHARLES CENTER 22ND FLOOR
ALFRED JAMISON                           8245 MEADOWLARK DR                                                                                               CARLISLE       OH      45005‐4214
ALFRED JANOS                             3431 AMBLESIDE DR                                                                                                FLUSHING       MI      48433‐9775
ALFRED JANZ                              SCOTIAMCLEOD                     KATHY HENDERSON, B COMM      STE 2000, 10104 103 AVENUE EDMONTON, AB T5J OH8
                                                                          ASSOCIATE DIRECTOR
ALFRED JARDOT JR                         5301 MILLS HWY                                                                                                   EATON RAPIDS    MI     48827‐9024
ALFRED JAROSLAW                          7324 CASTANEA DR                                                                                                 PORT RICHEY     FL     34668‐3996
ALFRED JASON                             24407 TAMARACK CIR                                                                                               SOUTHFIELD      MI     48075‐6184
ALFRED JEFFERSON                         29340 STELLAMAR DR                                                                                               SOUTHFIELD      MI     48076‐5267
ALFRED JENKINS                           18978 STOEPEL ST                                                                                                 DETROIT         MI     48221‐2253
ALFRED JENNINGS                          5415 PHEASANT RUN RD                                                                                             CLARKSTON       MI     48346‐3955
ALFRED JENNINGS                          412 WASHINGTON ST W                                                                                              FAYETTEVILLE    TN     37334‐2940
ALFRED JENSON                            720 KNIGHT ST                                                                                                    MILFORD         MI     48381‐1114
ALFRED JENSON JR                         11723 E LYTLE RD                                                                                                 LENNON          MI     48449‐9517
ALFRED JOECHTL                           BECHSTEIN STR 3                                                                         D‐80804 MUNICH GERMANY
ALFRED JOHN ROBINSON                     ROBERT W PHILLIPS                SIMMONS BROWDER GIANARIS     707 BERKSHIRE BLVD        PO BOX 521               EAST ALTON      IL     62024
                                                                          ANGELIDES & BARNERD LLC
ALFRED JOHNSON                           4 MONTICELLO BLVD                                                                                                NEW CASTLE     DE      19720‐3404
ALFRED JOHNSON                           4300 BRADFORD CIR                                                                                                MYRTLE BEACH   SC      29588‐9115
ALFRED JOHNSON                           29942 PARKWOOD ST                                                                                                INKSTER        MI      48141‐1567
ALFRED JOHNSON                           417 COUNTRY RIDGE LN                                                                                             RED OAK        TX      75154‐3992
ALFRED JOHNSON                           3738 E BLVD ‐ 100 S                                                                                              KOKOMO         IN      46902
ALFRED JOHNSON                           2245 LIBERTY RD                                                                                                  SAGINAW        MI      48604‐9221
ALFRED JOHNSON SR                        45 MORELAND CIR                                                                                                  HIRAM          GA      30141‐2271
ALFRED JOLY                              720 S 72ND ST                                                                                                    KANSAS CITY    KS      66111‐2858
ALFRED JONES                             22 EATON RD                                                                                                      FRAMINGHAM     MA      01701‐3391
ALFRED JONES                             4929 OAKNOLL DR                                                                                                  INDIANAPOLIS   IN      46221‐3774
ALFRED JONES                             5014 N MERRIMAC AVE                                                                                              RIVERSIDE      MO      64150‐3350
ALFRED JORDAN                            105 E PARADE AVE                                                                                                 BUFFALO        NY      14211‐1346
ALFRED JORDAN                            7384 REID RD                                                                                                     SWARTZ CREEK   MI      48473‐9465
ALFRED K PRICE                           2314 ALPINE DR                                                                                                   SAGINAW        MI      48601‐5203
ALFRED KELLY                             2641 SMITH RD                                                                                                    LAMBERTVILLE   MI      48144‐9432
ALFRED KENDALL                           607 SUGAR PINES DR SW                                                                                            WARREN         OH      44481‐9687
ALFRED KENNARD                           319 GAWAY ST                                                                                                     VASSAR         MI      48768‐9670
ALFRED KENNARD                           BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                                      BOSTON HTS.    OH      44236
ALFRED KENNEY                            23 S 7TH ST                                                                                                      YOUNGWOOD      PA      15697‐1269
ALFRED KENNING                           NIX PATTERSON & ROACH LLP        GM BANKRUPTCY DEPARTMENT     205 LINDA DRIVE                                    DAINGERFIELD   TX      75638
ALFRED KIBE                              902 VALLEY RD APT 6D                                                                                             MELROSE PARK   PA      19027‐3265
ALFRED KIERA                             2138 TRANSIT RD                                                                                                  WEST SENECA    NY      14224‐4549
ALFRED KIESEL JR                         1036 NE 9TH ST                                                                                                   MOORE          OK      73160‐6812
ALFRED KIETZMAN                          3416 FIELD RD                                                                                                    CLIO           MI      48420‐1165
ALFRED KIMPSON JR                        1618 KENMORE ST SW                                                                                               ATLANTA        GA      30311‐2724
ALFRED KING                              20239 SCHICK RD                                                                                                  DEFIANCE       OH      43512‐6836
ALFRED KING JR                           PO BOX 71                                                                                                        HOLLY          MI      48442‐0071
ALFRED KINNEY                            735 DUG HILL RD                  C/O LINDASAUCIER                                                                HURLEY         NY      12443‐6108
ALFRED KIRCHER                           AN DER BETZ 35                                                                          36041 FULDA GERMANY
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Name                  Address1                       Address2               Address3         Address4                   City              State   Zip
ALFRED KLIMKEWICZ     2795 DEXTER DR                                                                                    SAGINAW            MI     48603‐3259
ALFRED KLIMMEK        1776 IRONWOOD DR                                                                                  ESSEXVILLE         MI     48732‐9401
ALFRED KNAKE          1350 W WILSON RD                                                                                  CLIO               MI     48420‐1689
ALFRED KNOX           2206 S VASSAR RD                                                                                  BURTON             MI     48519‐1348
ALFRED KOECK          5739 COUNTY KERRY DR                                                                              CASEVILLE          MI     48725‐9429
ALFRED KOPACZ         5698 BINGHAM DR                                                                                   TROY               MI     48085‐3841
ALFRED KOWALIK        6036 ANGLING RD                                                                                   PORTAGE            MI     49024‐1049
ALFRED KRAMER         14133 GILBERT RD                                                                                  ALLENTON           MI     48002‐3801
ALFRED KRESSE JR      8664 W GATES ST                                                                                   BRUCE TWP          MI     48065‐4365
ALFRED KROBATH        MARSCHALLGASSE 11                                                      8020 GRAZ AUSTRIA EUROPE

ALFRED KROBATH        MARSCHALLGASSE 11              8020 GRAZ              AUSTRIA          EUROPE
ALFRED KROL           16382 CHESIRE CT                                                                                  MACOMB            MI      48042‐2977
ALFRED KROPIWNICKI    108 GEORGETOWN BLVD 108                                                                           NAPLES            FL      34112
ALFRED KRUS           3120 DURWOOD DR                                                                                   FLORISSANT        MO      63033‐6212
ALFRED KURTZ JR       3535 N CAPITOL AVE                                                                                INDIANAPOLIS      IN      46208‐4406
ALFRED KUSS           4921 WAYLAND RD                                                                                   DIAMOND           OH      44412‐9711
ALFRED L BLUNK        8081 MONTGOMERY CO LINE RD                                                                        ENGLEWOOD         OH      45322
ALFRED L LARMANN JR   12710 NEWBERRY DR                                                                                 GRAND LEDGE       MI      48837‐8922
ALFRED L ONEAL        453 DUNES DRIVE                INDIES UNIT 203                                                    GOLF SHORES       AL      36542
ALFRED L OSSANNA      11040 BLACKWOOD DR                                                                                NEW PORT RICHEY   FL      34654‐1906
ALFRED L RINGER       151 TRAILWOODS DRIVE                                                                              DAYTON            OH      45415
ALFRED L WILSON       5817 COLDSWORTH CT                                                                                ARLINGTON         TX      76018‐2386
ALFRED LAFFIN         PO BOX 847                                                                                        HOGANSBURG        NY      13655‐0847
ALFRED LAFORGIA       101 S KINGSTON ST                                                                                 CALEDONIA         MN      55921‐1315
ALFRED LAMBERTZ       PO BOX 80593                                                                                      ROCHESTER         MI      48308‐0593
ALFRED LAMOTHE        14 WINDSOR DR                                                                                     WESTPORT          MA      02790‐4736
ALFRED LANDIS         2325 WINDSOR VILLAGE DR                                                                           MIAMISBURG        OH      45342‐4589
ALFRED LANGMADE       514 WOODBINE AVE                                                                                  ROCHESTER         NY      14619‐1724
ALFRED LARMANN JR     12710 NEWBERRY DR                                                                                 GRAND LEDGE       MI      48837‐8922
ALFRED LAROCK JR      724 THORNTON ST                                                                                   SHARON            PA      16146‐3563
ALFRED LARSEN         9912 CAMBRIDGE CT                                                                                 SOUTH LYON        MI      48178‐8516
ALFRED LARSEN         2121 WILLHITE RD                                                                                  WATERFORD         MI      48327‐1375
ALFRED LASSEN         3601 LEAVITT RD                                                                                   LORAIN            OH      44053‐2419
ALFRED LAURIA         606 W ELM ST                                                                                      AUBURN            MI      48611‐9440
ALFRED LAUTENSLAGER   5898 MEGAN DR                                                                                     LIBERTY TWP       OH      45011‐2375
ALFRED LAWRENCE       3377 N HACKBARTH RD                                                                               JANESVILLE        WI      53548‐9093
ALFRED LAWSON         1009 STATE LINE RD                                                                                PIERPONT          OH      44082‐9727
ALFRED LE PAGE        9356 WESTBURY AVE                                                                                 PLYMOUTH          MI      48170‐4730
ALFRED LEE            1280 N IRONWOOD DR LOT 50                                                                         APACHE JUNCTION   AZ      85220‐8621

ALFRED LEE            176 MARIE LN                                                                                      LYNNVILLE         TN      38472‐5132
ALFRED LEGUE          7118 N. LAKE ROAD                                                                                 MILLINGTON        MI      48746
ALFRED LEITE          202 STEELSON WAY                                                                                  MURFREESBORO      TN      37128‐3778
ALFRED LEMOINE        733 HIGHLAND ST                                                                                   NORTHBRIDGE       MA      01534‐1115
ALFRED LENZ           MONREALER STR 17                                                       56761 DUNGENHEIM
                                                                                             GERMANY
ALFRED LENZ           MONREALER STR 17               56761 DUNGENHELM                        GERMANY
ALFRED LEO            9183 BOBSEINE RD                                                                                  CATTARAUGUS       NY      14719‐9626
ALFRED LESLIE         7570 W PARKSIDE DR                                                                                BOARDMAN          OH      44512‐4210
ALFRED LESLIE         18731 HIGHWAY 139                                                                                 HARRIS            MO      64645‐8166
ALFRED LEVAC          PO BOX 390322                                                                                     DELTONA           FL      32739‐0322
ALFRED LEWANDOWSKI    64 BROWNELL ST                                                                                    BUFFALO           NY      14212‐1910
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Name                     Address1                       Address2                      Address3                     Address4               City               State Zip
ALFRED LEWANDOWSKI       1460 PINE BROOK CT                                                                                               YORKTOWN            NY 10598‐4937
                                                                                                                                          HEIGHTS
ALFRED LEWIS             PO BOX 24123                                                                                                     ROCHESTER          NY   14624‐0123
ALFRED LEWIS             13818 HAMMANSBURG RD                                                                                             N BALTIMORE        OH   45872‐9727
ALFRED LEWIS JR          C/O WILLIAMS KHERKHER HART &   8441 GULF FREEWAY STE 600                                                         HOUSTON            TX   77007
                         BOUNDAS LLP
ALFRED LIBBY             PO BOX 171                                                                                                       SWARTZ CREEK       MI   48473‐0171
ALFRED LINDELL JR.       3045 MCDANIEL LN                                                                                                 NEWARK             DE   19702‐4506
ALFRED LIOSI             WEITZ & LUXENBERG P C          700 BROADWAY                                                                      NEW YORK           NY   10003
ALFRED LIVELY            11503 NORLAIN AVE                                                                                                DOWNEY             CA   90241‐4406
ALFRED LOFTIN            PO BOX 413                                                                                                       FLORENCE           NJ   08518‐0413
ALFRED LOPARRINO         C/O WEITZ & LUXENBERG PC       700 BROADWAY                                                                      NEW YORK CITY      NY   10003
ALFRED LOPEZ             3816 DOUGLAS AVE                                                                                                 FLINT              MI   48506‐2426
ALFRED LOUIS DEAN        ATTN: ROBERT W PHILLIPS        SIMMONS BROWDER GIANARIS      707 BERKSHIRE BLVD, PO BOX                          EAST ALTON         IL   62024
                                                        ANGELIDES & BARNERD LLC       521
ALFRED LOUNDS            1140 WEST TAFT ROAD                                                                                              SAINT JOHNS        MI   48879‐9104
ALFRED LOVE              9655 WOLFE RD                                                                                                    WINDHAM            OH   44288‐9541
ALFRED LOZON             23450 HILLVIEW CT                                                                                                FARMINGTON         MI   48335‐3071
ALFRED LUBBERTS          5545 36TH AVE                                                                                                    HUDSONVILLE        MI   49426‐1316
ALFRED LUNDIE            20519 CEDAR ST                                                                                                   ST CLAIR SHRS      MI   48081‐1793
ALFRED LUPERCIO          28756 ANCHOR DR                                                                                                  CHESTERFIELD       MI   48047‐5308
ALFRED LUSTIG            80 RIDGEWOOD RD                UNIT 216                                                                          TWSP WASHINGTON    NJ   07676

ALFRED LYMAN             3728 N INDIANA AVE                                                                                               KANSAS CITY        MO   64117‐2278
ALFRED M BROWN, JR.      1001 E MARY LN                                                                                                   OAK CREEK          WI   53154
ALFRED M CARPENTER, JR   417 CENTER STREET                                                                                                CLIO               MI   48420‐1166
ALFRED M PAULIS          4518 5 MILE RD                                                                                                   RACINE             WI   53402‐9725
ALFRED MAC DONALD        4937 JEFFERY DR                                                                                                  DEL CITY           OK   73115‐4549
ALFRED MACIEJEWSKI       50 BROOKRIDGE DR                                                                                                 HAMBURG            NY   14075‐1804
ALFRED MADDOX JR         C/O WEITZ & LUXENBERG P C      700 BROADWAY                                                                      NEW YORK CITY      NY   10003
ALFRED MAIKE             602 S CHAPMAN ST                                                                                                 CHESANING          MI   48616‐1408
ALFRED MALLON            2443 PORTOBELLA PL             C/O ROBERT T MALLON                                                               CANTONMENT         FL   32533‐5752
ALFRED MANDZIARA         36333 APARTMENT 116 GARFIELD                                                                                     CLINTON TOWNSHIP   MI   48035

ALFRED MANSER            3034 S QUARRY CREEK CT                                                                                           WHITE LAKE         MI   48383‐1874
ALFRED MANSOUR           4295 CORUNNA RD                                                                                                  FLINT              MI   48532‐4184
ALFRED MARKS             4 ELM ST                                                                                                         WEBSTER            MA   01570‐2623
ALFRED MARSHALL          11738 YELLOWSTONE ST                                                                                             DETROIT            MI   48204‐1493
ALFRED MARSHALL JR       11358 MEMORIAL ST                                                                                                DETROIT            MI   48227‐1057
ALFRED MARTIN            3924 AZALEA CT                                                                                                   CLARKSTON          MI   48348‐1406
ALFRED MARTIN            THE MADEKSHO LAW FIRM          8866 GULF FREEWAY SUITE 440                                                       HOUSTON            TX   77017
ALFRED MARTINEZ          25 SUENO DE VIGIL RD                                                                                             ESPANOLA           NM   87532‐9488
ALFRED MASAR             2276 E RIDGE RD                                                                                                  PRESCOTT           MI   48756‐9117
ALFRED MASCIANGELO       7744 SUTTON PL NE                                                                                                WARREN             OH   44484‐1455
ALFRED MASON             208 RITA AVE                                                                                                     LANSING            MI   48910‐4631
ALFRED MASS              516 POPLAR LANE                                                                                                  EAST MEADOW        NY   11554
ALFRED MASSULLO          2071 BIRCH TRACE DR                                                                                              YOUNGSTOWN         OH   44515‐4906
ALFRED MASTRODONATO      4077 7TH ST                                                                                                      FRANKFORT          MI   49635‐9419
ALFRED MATHEWSON         BEVAN & ASSOCIATES LPA INC     6555 DEAN MEMORIAL PARKWAY                                                        BOSTON HTS         OH   44236
ALFRED MATTHEWS          3807 MCHENRY AVE                                                                                                 MODESTO            CA   95356‐1508
CADILLAC/PONTIAC/GM
ALFRED MATTHEWS          ELVIO FILIPPI                  3807 MCHENRY AVE                                                                  MODESTO            CA   95356‐1508
CADILLAC/PONTIAC/GMC
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Name                     Address1                       Address2                     Address3          Address4               City               State Zip
ALFRED MATTHEWS          3807 MCHENRY AVE                                                                                     MODESTO             CA 95356‐1508
CADILLAC/PONTIAC/GMC
ALFRED MATTHEWS, INC.    ELVIO FILIPPI                  3807 MCHENRY AVE                                                      MODESTO            CA   95356‐1508
ALFRED MATTHEWS, INC.    3807 MCHENRY AVE                                                                                     MODESTO            CA   95356‐1508
ALFRED MAUTE             NIX, PATTERSON & ROACH, LLP    GM BANKRUPTCY DEPARTMENT     205 LINDA DRIVE                          DAINGERFIELD       TX   75638
ALFRED MAY               HAMMELBURGER STR. 29                                                                                 36039 FULDA
ALFRED MAY               310 ROSE ST                                                                                          FENTON             MI   48430‐2090
ALFRED MAZZOLENI         2850 S MERIDIAN RD                                                                                   YOUNGSTOWN         OH   44511‐2010
ALFRED MC CASKILL        5816 COOPER ST                                                                                       DETROIT            MI   48213‐3108
ALFRED MC CLELLAN JR     22731 SHADOWGLEN DR                                                                                  FARMINGTON HILLS   MI   48335‐3655

ALFRED MC CONKEY         6945 HUBBARD RD                                                                                      CLARKSTON          MI   48348‐2825
ALFRED MC COY            3632 MORLEY DR                                                                                       NEW PORT RICHEY    FL   34652‐6234
ALFRED MC GRIGG          11322 SKY RIDGE DR                                                                                   CYPRESS            TX   77429‐3064
ALFRED MC LEAN           30315 INDIGO ST                                                                                      ROSEVILLE          MI   48066‐1409
ALFRED MC MULLEN         4307 CLIFFWOOD CIR                                                                                   AUSTIN             TX   78759‐7306
ALFRED MCCANN            BEVAN & ASSOCIATES LPA INC     6555 DEAN MEMORIAL PARKWAY                                            BOSTON HTS         OH   44236
ALFRED MCCLURE           155 CREEKWOOD DR                                                                                     GRIFFIN            GA   30223‐6202
ALFRED MCCUE             7 WINCHESTER CT GLENWD PL                                                                            FARMINGTON         CT   06032
ALFRED MCGEE             4229 TRUMBULL AVE                                                                                    FLINT              MI   48504‐2167
ALFRED MCMULLEN          4307 CLIFFWOOD CIRCLE                                                                                AUSTIN             TX   78759
ALFRED MERCIECA          8518 FOREST GLADE DR                                                                                 BAYONET POINT      FL   34667‐2132
ALFRED MERKLE            10951 S ANDERSON RD                                                                                  GUTHRIE            OK   73044‐8301
ALFRED MERMON            6471 CLOVERLEAF DR                                                                                   LOCKPORT           NY   14094‐6120
ALFRED MESCHER           2900 PARKWOOD DR                                                                                     TROY               OH   45373‐8981
ALFRED MESHELL           447 BURFORD RD                                                                                       STONEWALL          LA   71078‐9699
ALFRED METHENY           950 STARLITE DR                                                                                      PAHRUMP            NV   89048
ALFRED MICHALSKI         26 LUCY LN                                                                                           CHEEKTOWAGA        NY   14225‐4438
ALFRED MIDDLEBROOKS JR   PO BOX 120                                                                                           BUFFALO            NY   14240‐0120
ALFRED MIGUEL JR         6415 SHADOW RIDGE RUN                                                                                FORT WAYNE         IN   46804‐4292
ALFRED MILLAN            4601 GLADSTONE BLVD                                                                                  KANSAS CITY        MO   64123‐1303
ALFRED MILLER            PO BOX 271                                                                                           DIMONDALE          MI   48821‐0271
ALFRED MILLER            8137 E COLDWATER RD                                                                                  DAVISON            MI   48423‐8938
ALFRED MILLER            463 ALEXANDER ST                                                                                     ROCHESTER          NY   14605‐2705
ALFRED MILLER            262 WADSWORTH AVE                                                                                    TONAWANDA          NY   14150‐5123
ALFRED MILLER            318 SAM JOHNSON LN                                                                                   MOUNTAIN CITY      TN   37683‐5201
ALFRED MISTERKA          2975 YORKWAY                                                                                         BALTIMORE          MD   21222‐5357
ALFRED MITCHELL          3 DOGWOOD N                                                                                          IRVINE             CA   92612‐2323
ALFRED MLYNARSKI         6156 RALEIGH ST                                                                                      SPRING HILL        FL   34606‐4047
ALFRED MOELLENHOFF       7318 MACLEOD LN                                                                                      DARDENNE PRAIRIE   MO   63368‐7235

ALFRED MONIZE            1308 RUHL MEADOWS CT                                                                                 KOKOMO             IN   46902‐9771
ALFRED MOORE             14110 A DR                                                                                           PLYMOUTH           MI   48170‐2364
ALFRED MOORE             4749 ERICSON AVENUE                                                                                  DAYTON             OH   45418‐1909
ALFRED MORENO            141 W IVANHOE ST                                                                                     GILBERT            AZ   85233‐8710
ALFRED MORGAN            580 CUMMINS HWY                                                                                      MATTAPAN           MA   02126
ALFRED MORGAN            2373 STONEBROOK CT                                                                                   FLUSHING           MI   48433‐2595
ALFRED MORGAN,III        3854 DENLINGER RD                                                                                    DAYTON             OH   45426
ALFRED MORRIS JR         4543 ALLGOOD SPRINGS DR                                                                              STONE MOUNTAIN     GA   30083‐4811
ALFRED MORRISON JR       3174 KINGSWOOD CT                                                                                    MANSFIELD          TX   76063‐7545
ALFRED MOSER             P.A. REDEVCO GMBH              MARIAHILFERSTRA▀E 77‐79
ALFRED MOSHKOSKY         6439 BISHOP RD                                                                                       LANSING            MI   48911‐6214
ALFRED MOSS              1360 E 450 N                                                                                         MARION             IN   46952‐9038
ALFRED MOWRER            110 LEFEVER RD                                                                                       MOUNT JOY          PA   17552
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Name                            Address1                      Address2               Address3         Address4               City              State   Zip
ALFRED MOYER JR                 18 MILLTOWN RD                                                                               BRIDGEWATER        NJ     08807‐2613
ALFRED MRUGALSKI JR             112 SOUTHERN PKWY                                                                            CHEEKTOWAGA        NY     14225‐4153
ALFRED MURRAY                   1923 E WILLARD AVE                                                                           LANSING            MI     48910‐3602
ALFRED MURRELL                  3113 SE 55TH ST                                                                              OKLAHOMA CITY      OK     73135‐1613
ALFRED MYERS                    1417 HOLLY HILL DR                                                                           FRANKLIN           TN     37064‐6744
ALFRED N BAKER                  1459 RUSSELL ST APT 2                                                                        YPSILANTI          MI     48198‐5992
ALFRED N DI NUNZIO              WEITZ & LUXENBERG PC          700 BROADWAY                                                   NEW YORK CITY      NY     10003
ALFRED N RUDZINSKI              828 SOUTHVIEW DR                                                                             ENGLEWOOD          OH     45322‐2213
ALFRED N WOZNIAK                C/O WEITZ & LUXENBERG PC      700 BROADWAY                                                   NEW YORK CITY      NY     10003
ALFRED NADOBNY                  1026 W NEBOBISH RD                                                                           ESSEXVILLE         MI     48732‐9688
ALFRED NAVARES                  8165 ELIZABETH AVE                                                                           SOUTH GATE         CA     90280‐2402
ALFRED NEAL                     12339 GRIGGS ST                                                                              DETROIT            MI     48204‐1075
ALFRED NELSON                   611 S 29TH ST                                                                                SAGINAW            MI     48601‐6549
ALFRED NELSON                   24 MCCRACKEN RD                                                                              MILLBURY           MA     01527‐1514
ALFRED NICHOLS                  1039 E MULKEY ST                                                                             FORT WORTH         TX     76104‐6550
ALFRED NICHOLSON                1329 UPTON AVE                                                                               TOLEDO             OH     43607‐1766
ALFRED NIETZKE                  3337 SHERWOOD RD                                                                             BAY CITY           MI     48706‐1527
ALFRED NIETZKE JR               2383 SELKIRK CT                                                                              OAKLAND            MI     48306‐4934
                                                                                                                             TOWNSHIP
ALFRED NITSCHKE                 9299 PINE ISLAND DR                                                                          SPARTA            MI      49345‐9444
ALFRED NOALL                    5337 FLUSHING RD                                                                             FLUSHING          MI      48433‐2576
ALFRED NOOFT                    802 MACE AVE                                                                                 BALTIMORE         MD      21221‐4753
ALFRED NUTLOUIS                 101 E AITKEN RD                                                                              PECK              MI      48466‐9608
ALFRED O DONNEL                 15010 SCENIC DR                                                                              CASNOVIA          MI      49318‐9630
ALFRED OHMAN                    4334 W SAGINAW RD                                                                            VASSAR            MI      48768‐9580
ALFRED OLIVER                   7439 WILSON RD                                                                               MONTROSE          MI      48457‐9171
ALFRED ONEAL                    453 DUNES DRIVE               INDIES UNIT 203                                                GULF SHORES       AL      36542
ALFRED OPPEL                    934 S CLINTON ST                                                                             BALTIMORE         MD      21224‐5023
ALFRED OSSANNA                  11040 BLACKWOOD DR                                                                           NEW PORT RICHEY   FL      34654‐1906
ALFRED OSYPIAN                  410 81ST ST                                                                                  NIAGARA FALLS     NY      14304‐3306
ALFRED OVERTON                  7135 NORTHVIEW DR                                                                            LOCKPORT          NY      14094‐5340
ALFRED OWENS                    5214 KERMIT STREET                                                                           FLINT             MI      48505‐2504
ALFRED P DE BUHR                8211 DUNHAM RD                                                                               DOWNERS GROVE     IL      60516
ALFRED P DEBUHR                 8211 DUNHAM RD                                                                               DOWNERS GROVE     IL      60516
ALFRED P MASCIANGELO            7744 SUTTON PL NE                                                                            WARREN            OH      44484
ALFRED P TYO                    1309 4TH ST                                                                                  BAY CITY          MI      48708‐6025
ALFRED P WIECZOREK              406 PLYMOUTH AVE                                                                             SYRACUSE          NY      13211‐1539
ALFRED P. SLOAN JR. MUSEUM OF
TRASPORTATION
ALFRED PAGANO                   24 BAYFIELD RD                                                                               WAYLAND           MA      01778‐4206
ALFRED PAGANO                   1838 JOHNSTON PL                                                                             POLAND            OH      44514‐1413
ALFRED PAILLETT                 38721 RODEO DR                                                                               ROMULUS           MI      48174‐5061
ALFRED PALASZEWSKI              72 OLDE STONE LN                                                                             LANCASTER         NY      14086‐2664
ALFRED PALLMIG                  5810 MARATHON RD                                                                             OTTER LAKE        MI      48464‐9726
ALFRED PARKER                   5025 PALENA BLVD                                                                             NORTH PORT        FL      34287‐2459
ALFRED PARKINSON I I I          68 SANDUSKY ST                                                                               PLYMOUTH          OH      44865‐1169
ALFRED PAULIS                   4518 5 MILE RD                                                                               RACINE            WI      53402‐9725
ALFRED PAULK                    834 E 8TH ST                                                                                 FLINT             MI      48503‐2779
ALFRED PEARSON                  5607 TROIKA TRL                                                                              DRYDEN            MI      48428‐9412
ALFRED PEDEN                    1775 WHITE WATER DR                                                                          ROCHESTER HLS     MI      48309‐3222
ALFRED PELOTE                   491 FRED GAMBLE WAY                                                                          ORMOND BEACH      FL      32174‐7025
ALFRED PENA                     1015 S ORANGE GROVE AVE                                                                      LOS ANGELES       CA      90019‐6510
ALFRED PENNINGTON               PO BOX 242                                                                                   PONDER            TX      76259‐0242
ALFRED PENNINGTON JR            11378 RUNNELLS DR                                                                            CLIO              MI      48420‐8225
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Name                                   Address1                             Address2                         Address3             Address4                 City              State   Zip
ALFRED PEOPLES                         245 S PADDOCK ST UNIT 33                                                                                            PONTIAC            MI     48342‐3182
ALFRED PERRAULT                        G3248 N CENTER RD                                                                                                   FLINT              MI     48506‐2070
ALFRED PHILLIPS                        8353 RUTHERFORD RD                                                                                                  SHIPMAN             IL    62685‐6072
ALFRED PIEDMONT                        ROBERT W PHILLIPS                    SIMMONS BROWDER GIANARIS         707 BERKSHIRE BLVD   PO BOX 521               EAST ALTON          IL    62024
                                                                            ANGELIDES & BARNERD LLC
ALFRED PIEDMONT                        SIMMONS FIRM                         PO BOX 521                                                                     EAST ALTON         IL     62024‐0519
ALFRED PIEGDON                         2221 MCLAREN ST                                                                                                     BURTON             MI     48529‐2169
ALFRED PINIARSKI                       52 THE AVE                                                                                                          BUFFALO            NY     14225‐4621
ALFRED PINKERT TTEE PINKERT 2006 TRUST C/O VALERIE PINKERT                  EXECUTOR OF THE ALFRED PINKERT   345 LOCUST #1                                 SAN FRANCISCO      CA     94118
                                                                            ESTATE
ALFRED PLASCENCIA                      14027 DAVENTRY ST                                                                                                   PACOIMA            CA     91331‐3517
ALFRED PLATZ                           19460 TODD RD                                                                                                       PETERSBURG         MI     49270‐9336
ALFRED PLOECHINGER                     R6,8                                                                                       68161 MANNHEIM GERMANY

ALFRED PODCZERVINSKI                   20952 POWERS AVE                                                                                                    DEARBORN HTS      MI      48125‐2817
ALFRED POLACCO                         PO BOX 603                                                                                                          MIDDLEBORO        MA      02346‐0603
ALFRED POLLARD JR                      3509 PROVIDENCE ST                                                                                                  FLINT             MI      48503‐4546
ALFRED POOLE JR                        2720 W 11TH ST                                                                                                      ANDERSON          IN      46011‐2467
ALFRED POPOUR                          3576 FLORETTA ST                                                                                                    CLARKSTON         MI      48346‐4016
ALFRED POQUETTE
ALFRED POWELL                          1981 KINMOUNT DR                                                                                                    ORION             MI      48359‐1643
ALFRED POWELL JR.                      1114 NORTHVIEW LN                                                                                                   ROCHESTER HILLS   MI      48307‐2936
ALFRED PRESTON YOUNGBLOOD              FOSTER & SEAR, LLP                 817 GREENVIEW DR.                                                                GRAND PRAIRIE     TX      75050
ALFRED PRICE                           2013 TREADWAY AVE                                                                                                   CLEVELAND         OH      44109‐3656
ALFRED PRICE                           2314 ALPINE DR                                                                                                      SAGINAW           MI      48601‐5203
ALFRED PROSS                           P O BOX 247 PROSS                                                                                                   PINCONNING        MI      48650
ALFRED R CLARK                         4918 SHADWELL DR                                                                                                    DAYTON            OH      45416‐1133
ALFRED R HUDSON                        ROBERT W PHILLIPS, SIMMONS BROWDER 707 BERKSHIRE BLVD                 PO BOX 521                                    EAST ALTON        IL      62024
                                       GIANARIS ANGELIDES & BARNERD LLC

ALFRED R JAMISON                       8245 MEADOWLARK DR                                                                                                  CARLISLE          OH      45005‐4214
ALFRED R KILEY TOD M K JOHNSON         R C KILEY SUBJECT TO STA RULES       4028 WOODRUFF RD                                                               LAFAYETTE HILL    PA      19444‐1618
ALFRED R LONG                          5247 OLD 98                                                                                                         ALBION            NY      14411
ALFRED R WOODS                         2485 E WARDLOW RD                                                                                                   HIGHLAND          MI      48356‐2441
ALFRED RABREN                          2 DACUS DR                                                                                                          GREENVILLE        SC      29605‐6008
ALFRED RADKE JR                        100 PLANK HILL RD                                                                                                   BRISTOL           CT      06010‐2561
ALFRED RAINEY                          PO BOX 25                                                                                                           MOORESVILLE       AL      35649‐0025
ALFRED RAINEY                          3720 JUNIPER BAY RD                                                                                                 CONWAY            SC      29527‐4219
ALFRED RAMIREZ                         206 KALMIA DR                                                                                                       ARLINGTON         TX      76018‐1633
ALFRED RAMOS JR                        713 CROCKETT DR                                                                                                     POTTERVILLE       MI      48876‐9539
ALFRED RANDOLPH                        8343 E 48 RD                                                                                                        CADILLAC          MI      49601‐8427
ALFRED RATINI                          5425 BRIGHT BALDWIN RD                                                                                              NEWTON FALLS      OH      44444‐9431
ALFRED RAY                             APT 106                              4044 SARA DRIVE                                                                UNIONTOWN         OH      44685‐8163
ALFRED RAYMOND                         10635 ABISKO DR                                                                                                     WHITTIER          CA      90604‐2404
ALFRED REESER                          3648 RAWLS CHURCH RD                                                                                                FUQUAY VARINA     NC      27526‐6383
ALFRED RENICKER                        443 REDBUD BLVD S                                                                                                   ANDERSON          IN      46013‐1046
ALFRED REPKA                           1123 WESTLAKE DR                                                                                                    DESOTO            TX      75115‐4145
ALFRED REX                             118 LATHROP ST                                                                                                      BUFFALO           NY      14212‐1532
ALFRED REYBURN                         815 DEVON DR                                                                                                        NEWARK            DE      19711‐7723
ALFRED RICARD JR                       88 MACARTHUR DR                                                                                                     MILLBURY          MA      01527‐3547
ALFRED RICH                            THE LAW OFFICES OF PETER G ANGELOS   100 NORTH CHARLES                22ND FLOOR                                    BALTIMORE         MD      21201

ALFRED RICHO                           490 S 20TH ST                                                                                                       NEWARK             NJ     07103‐1211
ALFRED RICHWINE                        601 RAINBOW CT                                                                                                      ANDERSON           IN     46013‐1165
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Name                               Address1                         Address2                     Address3     Address4                 City              State   Zip
ALFRED RIGNEY                      5040 THOMAS RD                                                                                      METAMORA           MI     48455‐9268
ALFRED RINGER                      151 TRAILWOODS DR                                                                                   DAYTON             OH     45415‐2613
ALFRED RINGLER & BARBARA RINGLER   5561 N CROATAN HWY               UNIT #243                                                          KITTY HAWK         NC     27949
ALFRED RIO                         12 ROBERT RD                                                                                        HUDSON             MA     01749‐1035
ALFRED ROBERTS                     8730 GLENWOOD RD                                                                                    CUMBERLAND         OH     43732‐9719
ALFRED ROBERTS I I I               921 N BLOSSOM RD                                                                                    ELMA               NY     14059‐9664
ALFRED ROBINSON                    PO BOX 41                                                                                           SYRACUSE           NY     13211‐0041
ALFRED ROBISON                     3201 ASPEN GROVE DRIVE           M10                                                                FRANKLIN           TN     37067
ALFRED RODGERS                     13223 N LANDERSDALE LN                                                                              MOORESVILLE        IN     46158‐7197
ALFRED ROGERS                      6011 BIG ROCK DR                                                                                    GRAND BLANC        MI     48439‐7993
ALFRED ROGERS I I I                26 E ARIZONA                                                                                        BELLEVILLE         MI     48111‐9024
ALFRED ROJAS                       645 VESPER AVE                                                                                      FREMONT            CA     94539‐7650
ALFRED ROMANOWSKI                  5456 CANONSBURG RD                                                                                  GRAND BLANC        MI     48439‐9108
ALFRED ROPER                       1131 W KITCHEN RD                                                                                   LINWOOD            MI     48634‐9826
ALFRED ROSEBROCK JR                1023 CASS ST                                                                                        SAGINAW            MI     48602‐2318
ALFRED ROSENBLATT                  7800 BAYSHORE DRIVE                                                                                 MARGATE            NJ     08402
ALFRED ROSENKRANTZ                 FONTRAEGASSE 17                                                            1150 WIEN AUSTRIA
ALFRED ROSENKRANZ                  FORMANEKGASSE 27                 1190 WIEN
ALFRED ROSIN                       10916 BLUE RIDGE LN                                                                                 MECOSTA           MI      49332‐9540
ALFRED ROUSSEAU                    52 LIZOTTE DR                                                                                       BELLINGHAM        MA      02019‐1942
ALFRED RUDOLF                      828 MAPLE ST                                                                                        MANSFIELD         OH      44906‐3052
ALFRED RUDZINSKI                   828 SOUTHVIEW DR                                                                                    ENGLEWOOD         OH      45322‐2213
ALFRED RUNKEL I I I                59 RUNNING BROOK DR                                                                                 LANCASTER         NY      14086‐3311
ALFRED S ATTARD                    28925 GRIX RD                                                                                       NEW BOSTON        MI      48164‐9494
ALFRED S WILDER                    3809 CHILSON RD                                                                                     HOWELL            MI      48843‐9457
ALFRED SALVANERA                   630 LINDA AVE                                                                                       LA HABRA          CA      90631‐2713
ALFRED SANDSTROM                   211 DENROSE DR APT 2                                                                                AMHERST           NY      14228‐2653
ALFRED SANTOS                      72 TWINING AVE                                                                                      WATERBURY         CT      06705‐1629
ALFRED SAUNDERS                    516 E LAKE ST                                                                                       TOLEDO            OH      43608‐1217
ALFRED SAYERS                      148 WHIRLAWAY LOOP SW                                                                               PATASKALA         OH      43062‐9547
ALFRED SCAFIDI                     ATTN MICHAEL C SHEPARD           THE SHEPARD LAW FIRM PC      10 HIGH ST                            BOSTON            MA      02110
ALFRED SCARCELLA                   1943 WINTERGLEN CT                                                                                  BEAVERCREEK       OH      45432‐1886
ALFRED SCHAEFER                    1702 WOODSIDE AVE                                                                                   ESSEXVILLE        MI      48732‐1461
ALFRED SCHANKIN                    405 LAKE FOREST RD                                                                                  ROCHESTER HILLS   MI      48309‐2237
ALFRED SCHELL                      6487 ALTUS DR                                                                                       PARKVILLE         MO      64152‐3858
ALFRED SCHEMBRI                    16200 WESTBROOK ST                                                                                  LIVONIA           MI      48154‐2052
ALFRED SCHLUETER JR                8430 STARWAN RD S                                                                                   JACKSONVILLE      FL      32211‐6363
ALFRED SCHMIDT                     1130 BIRCHCREST BLVD                                                                                PORT CHARLOTTE    FL      33952‐1688
ALFRED SCHMIDT                     41429 CLAIRPOINT                                                                                    HARRISON TWP.     MI      48045
ALFRED SCHMIDUTZ                   1220 N SAGINAW ST                                                                                   LAPEER            MI      48446‐1542
ALFRED SCHMITZ                     46182 CIDER MILL DR                                                                                 NOVI              MI      48374‐2953
ALFRED SCHNORRPUSCH                17‐2347 LONDON BRIDGE DR                                                                            ROCHESTER HILLS   MI      48307
ALFRED SCHULTZ                     5849 STATE ROUTE 87                                                                                 KINSMAN           OH      44428‐9773
ALFRED SCHULTZ                     C/O BEVAN & ASSOCIATES LPA INC   6555 DEAN MEMORIAL PARKWAY                                         BOSTON HTS        OH      44236
ALFRED SCHWARZ                     680 LEDGEROCK CIR                                                                                   BRUNSWICK         OH      44212‐5529
ALFRED SCHWENK                     6386 DELORES BLVD                                                                                   BROOK PARK        OH      44142‐3738
ALFRED SCOTT                       20452 GLENMORE                                                                                      REDFORD           MI      48240‐1040
ALFRED SCOTT, SR                   C/O WILLIAMS KHERKHER HART &     8441 GULF FREEWAY, STE 600                                         HOUSTON           TX      77007
                                   BOUNDAS, LLP
ALFRED SELBERG                     8930 TWIN LAKES DR                                                                                  WHITE LAKE        MI      48386‐2090
ALFRED SERVATI                     134 JONQUIL LN                                                                                      ROCHESTER         NY      14612‐1468
ALFRED SESSION                     528 WASHINGTON ST                                                                                   VENICE            IL      62090‐1122
ALFRED SHAMP                       6412 CURTIN RD                                                                                      MORAVIA           NY      13118‐3216
ALFRED SHARR                       C/O BEVAN & ASSOCIATES LPA INC   6555 DEAN MEMORIAL PARKWAY                                         BOSTON HTS        OH      44236
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ALFRED SHELTON        1109 BURLINGTON DR                                                                               FLINT              MI     48503‐2928
ALFRED SHIELDS        C/O THE MADEKSHO LAW FIRM        8866 GULF FREEWAY SUITE 440                                     HOUSTON            TX     77017
ALFRED SIMPSON        PO BOX 88073                                                                                     INDIANAPOLIS       IN     46208‐0073
ALFRED SINGLETON      3823 RIVER COVE DR                                                                               LANSING            MI     48917‐8527
ALFRED SLADE          PO BOX 154                                                                                       CLAYTON            TX     75637‐0154
ALFRED SMITH          27424 MORNINGSIDE PLZ                                                                            LATHRUP VILLAGE    MI     48076‐3255
ALFRED SMITH          507 E UNIVERSITY DR APT 403                                                                      ROCHESTER          MI     48307‐2157
ALFRED SMITH          25535 COLLINGWOOD ST                                                                             ROSEVILLE          MI     48066‐3955
ALFRED SMITH          32 GOODWIN ST APT 1                                                                              BRISTOL            CT     06010‐5807
ALFRED SMITH          1500 TINA CT                                                                                     BOSSIER CITY       LA     71112‐3639
ALFRED SMITH JR       4768 GAULT RD                                                                                    NORTH JACKSON      OH     44451‐9762
ALFRED SNYDER         2114 N COUNTY ROAD 800 E                                                                         AVON               IN     46123‐9628
ALFRED SODERBERG      29 S EDITH ST                                                                                    PONTIAC            MI     48342‐2938
ALFRED SOHACKI        140 E BROWN RD                                                                                   MUNGER             MI     48747‐9303
ALFRED SOTO           2504 WESTCHESTER DR                                                                              ARLINGTON          TX     76015‐1137
ALFRED SOULLIERE JR   46390 GULLIVER DR                                                                                SHELBY TWP         MI     48315‐5824
ALFRED SPEAR          830 E NORTH ST                                                                                   ITHACA             MI     48847‐1344
ALFRED SPENCE         205 PLEASANT AVE                                                                                 PLEASANTVILLE      NJ     08232‐2419
ALFRED SPITZA JR      3151 EDEN TRL                                                                                    BRIGHTON           MI     48114‐9185
ALFRED STABILITO      75 MEADOWBROOK AVE                                                                               YOUNGSTOWN         OH     44512‐2606
ALFRED STALEY         2645 LYONS RD                                                                                    OWOSSO             MI     48867‐9132
ALFRED STASEK         6002 W PLEASANT VALLEY RD                                                                        PARMA              OH     44129‐6728
ALFRED STEINHAUSER    5449 E VIENNA RD                                                                                 CLIO               MI     48420‐9129
ALFRED STEINHAUSER    1317 N V ST SPC 199                                                                              LOMPOC             CA     93436‐3146
ALFRED STEPHEN        107 CENTENNIAL BLVD                                                                              SULPHUR            OK     73086‐9460
ALFRED STEPHENS       C/O BEVAN & ASSOCIATES LPA INC   6555 DEAN MEMORIAL PARKWAY                                      BOSTON HTS         OH     44236
ALFRED STERPHONE      7 HOFFMAN DR                                                                                     CALIFON            NJ     07830‐4332
ALFRED STEVENS        1010 QUARRY ST                                                                                   GALLITZIN          PA     16641‐1128
ALFRED STORM          220 RIVERSIDE DR                                                                                 CHEBOYGAN          MI     49721‐2281
ALFRED SUSKI          88 MCNAUGHTON AVE                                                                                BUFFALO            NY     14225‐4543
ALFRED SUTTON         7032 CALKINS RD                                                                                  FLINT              MI     48532‐3001
ALFRED SWIDER         2088 W MANITOU DR                C/O AMY M SZAKAL                                                OWOSSO             MI     48867‐8727
ALFRED SYKES          1148 LYDEN AVE                                                                                   YOUNGSTOWN         OH     44505‐3834
ALFRED SYKES          1148 LYDEN AVENUE                                                                                YOUNGSTOWN         OH     44505‐3834
ALFRED SZYMANSKI      164 BIELAK RD                                                                                    ORCHARD PARK       NY     14127‐1010
ALFRED T SANDERS      808 SAMPSON ST                                                                                   NEW CASTLE         PA     16101‐8910
ALFRED TALBOT         2210 E GRAND BLANC RD                                                                            GRAND BLANC        MI     48439‐8113
ALFRED TALLEY         PO BOX 26                                                                                        OLATHE             KS     66051‐0026
ALFRED TALMADGE JR    36 WOODCREST DR                                                                                  BRISTOL            CT     06010‐3062
ALFRED TANG           6030 ARDMORE PARK ST                                                                             DEARBORN HTS       MI     48127‐3928
ALFRED TASKER         181 DUTCHESS DR                                                                                  LEESBURG           FL     34748‐8509
ALFRED TAYLOR         1735 HAMLET DR                                                                                   YPSILANTI          MI     48198‐3608
ALFRED TCHORZNICKI    1521 RICHLEY RD                                                                                  CORFU              NY     14036‐9512
ALFRED TEAGUE         45460 INVERNESS CIRCLE                                                                           MACOMB TWP         MI     48044‐3857
ALFRED THEURICH       23779 VIA BARLETTA                                                                               MURRIETA           CA     92562‐5535
ALFRED THOMPSON       112 W TAYLOR ST                                                                                  FLINT              MI     48505‐4022
ALFRED THORNTON       G‐1127 W HARVARD AVE                                                                             FLINT              MI     48505
ALFRED TIBBS          983 EASTLAKE DR                                                                                  EASTLAKE           OH     44095‐2329
ALFRED TIJERINA       7409 ADAMS ST                                                                                    DARIEN              IL    60561‐3746
ALFRED TINSLEY        340 CANYON OAK DR.                                                                               GRANTS PASS        OR     97526
ALFRED TISON          5353 HIGHLAND RD # C123                                                                          WATERFORD          MI     48327
ALFRED TOLBERT JR     4117 TRUMBULL AVE                                                                                FLINT              MI     48504‐2193
ALFRED TOM            946 STOCKTON ST APT 12F                                                                          SAN FRANCISCO      CA     94108‐1687
ALFRED TORRES         9 COUNTRYGATE LN                                                                                 TONAWANDA          NY     14150‐6200
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Name                           Address1                       Address2                     Address3   Address4               City               State   Zip
ALFRED TORRES                  THE MADEKSHO LAW FIRM          8866 GULF FREEWAY STE 440                                      HOUSTON             TX     77017
ALFRED TRAMMELL                4648 HEGEL RD                                                                                 GOODRICH            MI     48438‐9605
ALFRED TREBES                  PO BOX 958                                                                                    SUTTER CREEK        CA     95685‐0958
ALFRED TROMBETTA               4154 GLENBROOK CT                                                                             STERLING HEIGHTS    MI     48310‐3378
ALFRED TRUDELL I I I           325 N IMPERIAL DR                                                                             TAWAS CITY          MI     48763‐9651
ALFRED TUCKER                  7011 MIROS CIR                                                                                KANSAS CITY         KS     66109‐1855
ALFRED TUCKER                  936 HAYES RD                                                                                  CROSSVILLE          TN     38555‐6933
ALFRED TURNER                  12264 NE 139TH PL                                                                             FORT MC COY         FL     32134‐8085
ALFRED TYREE                   BEVAN & ASSOCIATES LPA INC     6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS          OH     44236
ALFRED U. GERDA FRASSL         KARL BEKEHRTY STRASSE 70       1140 WIEN
ALFRED UND ELISABETH SATTLER   BAHNHOFSTRA▀E 105              63533 MAINHAUSEN
ALFRED UNIVERSITY              BUSINESS OFFICE                SAXON DRIVE                                                    ALFRED             NY      14802
ALFRED UNIVERSITY              BUSINES & FINANCE OFFICE       SAXON DR                                                       ALFRED             NY      14802
ALFRED UTZ JR                  2900 SANTA ROSA DR                                                                            KETTERING          OH      45440‐1322
ALFRED V BARNES                53 MARSTON ST APT 212                                                                         DETROIT            MI      48202‐2582
ALFRED V RUSSELL               C/O WILLIAMS KHERKHER HART &   8441 GULF FREEWAY STE 600                                      HOUSTON            TX      77007
                               BOUNDAS LLP
ALFRED VANIER                  1706 MAPLEWOOD AVE                                                                            FLINT              MI      48506‐3766
ALFRED VAUGHAN                 1704 S HARRISON ST                                                                            ALEXANDRIA         IN      46001‐2818
ALFRED VAUGHN                  5378 MARTIN'S COVE                                                                            STONE MTN          GA      30088
ALFRED VELARDO                 45866 GLEN CT                                                                                 MACOMB             MI      48044‐4222
ALFRED VERHOFF                 BEVAN & ASSOCIATES LPA INC     6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS         OH      44236
ALFRED VIEHBECK                5871 LAKESIDE WOODS CIR                                                                       SARASOTA           FL      34243‐4617
ALFRED VINEYARD                802 E. HWY 42                                                                                 IBERIA             MO      65486
ALFRED VOGT                    8662 HUNTINGTON BEACH RD                                                                      BARKER             NY      14012‐9644
ALFRED W DAVIS                 7464 WHEAT RD                                                                                 JACKSONVILLE       FL      32244
ALFRED W EBENER                1210 52ND AVENUE                                                                              KENOSHA            WI      53144‐1121
ALFRED W HATLEY                280 BRADSHAW ROAD                                                                             PELAHATCHIE        MS      39145
ALFRED W JONES                 437 BRIARWOOD APT 207                                                                         DAYTON             OH      45403‐1558
ALFRED W MC LEAN               30315 INDIGO ST                                                                               ROSEVILLE          MI      48066‐1409
ALFRED W PUTT                  2308 CHURCH ST                                                                                LEBANON            PA      17046
ALFRED W ROWZEE                685 HENRY BYRD RD                                                                             FLORENCE           MS      39073
ALFRED W RUSSELL               C/O WILLIAMS KHERKHER HART &   8441 GULF FREEWAY STE 600                                      HOUSTON            TX      77007
                               BOUNDAS LLP
ALFRED WAGNER                  87 MCKENZIE CT                                                                                CHEEKTOWAGA        NY      14227‐3236
ALFRED WAITE                   26164 ALGONQUIN CT                                                                            FLAT ROCK          MI      48134‐1742
ALFRED WALCZAK                 5710 BIRCH DR                                                                                 FORT PIERCE        FL      34982‐7542
ALFRED WALKER                  3145 W 8 MILE RD                                                                              DETROIT            MI      48221‐1323
ALFRED WALKER                  337 GALVEZ ST                                                                                 JACKSON            MS      39209‐3904
ALFRED WALKER I I I            59 MARICREST DR                                                                               AMHERST            NY      14228‐3042
ALFRED WALLACE                 3826 GLOUCESTER ST                                                                            FLINT              MI      48503‐7000
ALFRED WALLACE JR.             10638 OAK LN APT 12211                                                                        BELLEVILLE         MI      48111‐4396
ALFRED WALLWORK                351 N SQUIRREL RD LOT 263                                                                     AUBURN HILLS       MI      48326‐4058
ALFRED WALSH                   1325 ALCONA DR                                                                                BURTON             MI      48509‐2001
ALFRED WATSON                  740 S LUCINDA DR                                                                              TUCSON             AZ      85748‐6419
ALFRED WATTS                   4988 HIGHWAY 72 W                                                                             CALHOUN FALLS      SC      29628‐9354
ALFRED WAWARTA                 LUTHERSTR. 2                   99974 M▄HLHAUSEN
ALFRED WAWRZYNIAK              59 CRESTHAVEN DR                                                                              WEST SENECA        NY      14224‐1216
ALFRED WEAVER                  7412 CHESTNUT RIDGE RD                                                                        LOCKPORT           NY      14094‐3514
ALFRED WELKER                  4101 HILL RD                                                                                  HARBOR BEACH       MI      48441‐8934
ALFRED WELLS                   PO BOX 201                                                                                    PIKETON            OH      45661‐0201
ALFRED WENTLENT                773 LORETTA ST                                                                                TONAWANDA          NY      14150‐8717
ALFRED WEST                    PO BOX 344                                                                                    DEFIANCE           OH      43512‐0344
ALFRED WHITAKER                24955 JOHNSTON AVE                                                                            EASTPOINTE         MI      48021‐1424
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ALFRED WHITAKER        307 WEST AVENUE                                                                              CHILHOWIE         VA     24319‐4517
ALFRED WHITE           9556 ELMDALE RD                                                                              ALTO              MI     49302‐9401
ALFRED WHITE           1295 LOUIS AVE                                                                               FLINT             MI     48505‐1239
ALFRED WHITMARSH       411 WRIGHT AVE                                                                               SYRACUSE          NY     13211‐1541
ALFRED WILDER          3809 CHILSON RD                                                                              HOWELL            MI     48843‐9457
ALFRED WILKINS         3768 BIRCH RD                                                                                TRAVERSE CITY     MI     49686‐9461
ALFRED WILLIAMS        3317 E 117TH ST                                                                              CLEVELAND         OH     44120‐3845
ALFRED WILLIAMS        534 S MEADE ST                                                                               FLINT             MI     48503‐2276
ALFRED WILLIAMS        5017 ANDREW ROBINSON DR                                                                      JACKSONVILLE      FL     32209‐1001
ALFRED WILLIAMS        6031 MILL ROW CT                                                                             MILFORD           OH     45150‐2258
ALFRED WILLIAMS        117 SOMERSET TER                                                                             ROSCOMMON         MI     48653‐8748
ALFRED WILLIAMS        2284 CRANE ST                                                                                WATERFORD         MI     48329‐3723
ALFRED WILLIAMS        3298 MONTGOMERY ST                                                                           DETROIT           MI     48206‐2314
ALFRED WILLIAMS JR     8822 S YALE AVE                                                                              CHICAGO            IL    60620‐1326
ALFRED WILLIAMS JR     640 STATE ROUTE 314 S                                                                        MANSFIELD         OH     44903‐7725
ALFRED WILLIS          16619 SCHAEFER HWY APT 17                                                                    DETROIT           MI     48235‐4263
ALFRED WILSON          15302 KENTFIELD ST                                                                           DETROIT           MI     48223‐1749
ALFRED WILSON          5817 COLDSWORTH CT                                                                           ARLINGTON         TX     76018‐2386
ALFRED WILSON JR       119 EUCLID AVE                                                                               BELLEVUE          OH     44811‐1043
ALFRED WINTERS         2095 S LAKE CANNON DR NW                                                                     WINTER HAVEN      FL     33881‐3057
ALFRED WISSINGER       PO BOX 208                                                                                   GRAND MARAIS      MI     49839‐0208
ALFRED WITUCKI         88 OLD STONE RD                                                                              DEPEW             NY     14043‐4232
ALFRED WOLFORD         PO BOX 14094                                                                                 LAS CRUCES        NM     88013‐4094
ALFRED WOLINSKI        1720 SHADES VIEW LANE                                                                        VESTAVIA HILLS    AL     35216‐2116
ALFRED WOLL            19325 ROYALTON RD                                                                            STRONGSVILLE      OH     44149‐4946
ALFRED WOLSKI          PO BOX 640824                                                                                BEVERLY HILLS     FL     34464‐0824
ALFRED WOOD            1238 WOODLAND CT SE                                                                          CONYERS           GA     30013‐3061
ALFRED WOODRING        PO BOX 383                                                                                   WESTMORLAND       CA     92281‐0383
ALFRED WOODS           2111 W MAIN ST                                                                               LANSING           MI     48915‐1014
ALFRED WOODS           2485 E WARDLOW RD                                                                            HIGHLAND          MI     48356‐2441
ALFRED WOODWARD        106 B FALLS CT APT B                                                                         LANSING           MI     48917
ALFRED WRIGHT          616 FULLER ST                                                                                WILLIAMSTON       MI     48895‐1030
ALFRED WRIGHT          PO BOX 421                                                                                   WAYNESBORO        MS     39367‐0421
ALFRED WRIGHT          880 COUNTY STREET 2938                                                                       TUTTLE            OK     73089‐2416
ALFRED WYATT           869 TATOR KNOB                                                                               GLENVILLE         WV     26351‐7171
ALFRED WYCHE           17 WESTRIDGE LN                                                                              PALM COAST        FL     32164‐4034
ALFRED WYLUBSKI        4384 N RIDGE RD                                                                              LOCKPORT          NY     14094‐9774
ALFRED YOUNG           1850 KENSINGTON AVE                                                                          BUFFALO           NY     14215‐1425
ALFRED YOUNG           410 RALPH YOUNG RD.                                                                          BOWLING GREEN     KY     42101
ALFRED YOUNG           PO BOX 427                                                                                   UVALDA            GA     30473‐0427
ALFRED YOUNG JR        C/O WILLIAMS KHERKHER HART &   8441 GULF FREEWAY STE 600                                     HOUSTON           TX     77007
                       BOUNDAS LLP
ALFRED ZIEL            2434 WILBUR CROSS HWY                                                                        BERLIN           CT      06037‐4021
ALFRED ZINI            19117 MARYLAND ST                                                                            ROSEVILLE        MI      48066‐1333
ALFRED ZUKOWSKI        321 NORTH AVE E UNIT 112                                                                     CRANFORD         NJ      07016‐2468
ALFRED ZUNIGA          445 NW EASTWOOD DR                                                                           BLUE SPRINGS     MO      64014‐1635
ALFRED, ALCEE H        9729 PORTAGE DR                                                                              SAINT LOUIS      MO      63136‐5311
ALFRED, CHARLES R      809 BARRETT AVE                                                                              ARNOLD           MD      21012‐1417
ALFRED, CRAIG S        122 S ALICE AVE                                                                              ROCHESTER        MI      48307‐2500
ALFRED, CRAIG STEVEN   122 S ALICE AVE                                                                              ROCHESTER        MI      48307‐2500
ALFRED, CYNDI M        1004 BLAKISTON CT                                                                            ARNOLD           MD      21012‐3016
ALFRED, CYNDI MARIE    1004 BLAKISTON CT                                                                            ARNOLD           MD      21012‐3016
ALFRED, ETHEL V        5144 COOPER ST                                                                               DETROIT          MI      48213‐3086
ALFRED, ETHEL V        5144 COOPER                                                                                  DETROIT          MI      48213‐3086
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Name                  Address1                         Address2                    Address3   Address4               City             State Zip
ALFRED, FERN M        4413 MATTNICK DRIVE                                                                            BAKERSFIELD       CA 93313‐3916
ALFRED, JAMES H       ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET, ONE                                     BALTIMORE         MD 21202
                                                       CHARLES CENTER 22ND FLOOR
ALFRED, PATRICIA M    7044 LILLIAN AVE                                                                               SAINT LOUIS      MO   63121‐3042
ALFRED, RALPH E       421 LOMBARD RD                                                                                 COLUMBUS         OH   43228‐1933
ALFREDA BOWEN         1617 E WASHINGTON ST                                                                           FRANKFORT        IN   46041‐2764
ALFREDA BOZEMAN       5002 VALEMONT RD                                                                               DAYTON           OH   45427‐2250
ALFREDA CAMPANA       621 CHRISTIAN LN                                                                               BRANCHBURG       NJ   08876
ALFREDA CARLTON       1435 LAWRENCE ST                                                                               DETROIT          MI   48206‐1514
ALFREDA CIESLAK       10305 TREASURE ISLAND DRIVE                                                                    AUSTIN           TX   78730‐3517
ALFREDA CLINE         5712 DEBRA DR                                                                                  CASTALIA         OH   44824‐9283
ALFREDA COLLINS       109 BENNETT STREET                                                                             WELLINGTON       OH   44090‐1202
ALFREDA COX           116 STATE HIGHWAY 955                                                                          OLIVE HILL       KY   41164‐7158
ALFREDA CZAJKA        32 ROBIN HILL DR                                                                               WILLIAMSVILLE    NY   14221‐1334
ALFREDA D BOZEMAN     5002 VALEMONT RD.                                                                              DAYTON           OH   45427‐2250
ALFREDA D BROWN       243 MARSTON ST APT 1                                                                           DETROIT          MI   48202‐2541
ALFREDA D BROWN       261 CHANDLER ST APT 8                                                                          DETROIT          MI   48202‐2844
ALFREDA DORSEY        1670 SASSAFRAS CIR                                                                             MANSFIELD        OH   44905‐2354
ALFREDA DRISKELL      2287 S CENTER RD APT 102                                                                       BURTON           MI   48519‐1137
ALFREDA ECKELBARGER   4337 W 300 N                                                                                   PERU             IN   46970‐7554
ALFREDA ELLIOTT       1635 N KESSLER ST                                                                              WICHITA          KS   67203‐1614
ALFREDA F RANDALL     1334 PRIMROSE AVE APT 2                                                                        TOLEDO           OH   43612‐4072
ALFREDA FEDRIZZI      1100 BELCHER RD S LOT 235                                                                      LARGO            FL   33771‐3425
ALFREDA HANLEY        17640 OLYMPIA                                                                                  REDFORD          MI   48240‐2167
ALFREDA HENDRICKS     159‐20 HARLEM RIVER DR APT 12G                                                                 NEW YORK         NY   10039‐1212
ALFREDA HOMA          33 SAINT FLORIAN ST                                                                            BUFFALO          NY   14207‐2320
ALFREDA INGRAM        PO BOX 44                                                                                      JACKS CREEK      TN   38347‐0044
ALFREDA JACKSON       5348 WINSLOW XING                                                                              LITHONIA         GA   30038‐1134
ALFREDA JOHNSON       403 MARIE AVE                                                                                  FERGUSON         MO   63135‐1941
ALFREDA KOLY          32 CANAL ST                                                                                    WOONSOCKET       RI   02895‐2925
ALFREDA LONG          1113 N CENTRAL AVE                                                                             MUNCIE           IN   47303‐3312
ALFREDA MAKOWSKI      29554 WALKER DR                                                                                WARREN           MI   48092‐2287
ALFREDA MULLINS       23180 WALTZ RD                                                                                 NEW BOSTON       MI   48164‐9548
ALFREDA MYERS         1616 VILLE CECELIA LN                                                                          HAZELWOOD        MO   63042‐1637
ALFREDA PARKER        1308 HIGHLAND AVE.                                                                             DAYTON           OH   45410
ALFREDA PIATEK        38 BROMPTON RD                                                                                 WILLIAMSVILLE    NY   14221‐5919
ALFREDA PRASAK        6 WOLFPACK DRIVE                                                                               HAMILTON         NJ   08619
ALFREDA SEATS         298 BRIDGEWATER LN                                                                             SAGAMORE HILLS   OH   44067‐4125
ALFREDA SHEPPARD      21470 KISER RD                   C/O SANDRA K MILES                                            DEFIANCE         OH   43512‐9061
ALFREDA SMITH         6907 ORANGE LN                                                                                 FLINT            MI   48505‐1998
ALFREDA SWETZ         12919 DULANEY VALLEY RD                                                                        GLEN ARM         MD   21057‐9769
ALFREDA TREMBULA      937 ATTERBURY DR                                                                               PRESCOTT         AZ   86305‐4038
ALFREDA WILSON        34 FLORENCE ST                                                                                 NEWINGTON        CT   06111‐3812
ALFREDA ZURAWSKI      18 CREEK WALK                                                                                  CHEEKTOWAGA      NY   14227‐2376
ALFREDDIE DAVIS       8515 OXFORD LN                                                                                 SAINT LOUIS      MO   63147‐1234
ALFREDE DUPENS        2002 SOUTH DORT HWY              ROOM 125                                                      FLINT            MI   48503
ALFREDIA CLOWERS      PO BOX 07114                                                                                   DETROIT          MI   48207‐0114
ALFREDIA WILLIAMS     13 WEARIEN LN                                                                                  BEAUFORT         SC   29906‐8351
ALFREDIA WRIGHT       8354 S HERMITAGE AVE                                                                           CHICAGO          IL   60620‐4629
ALFREDIE ANDERSON     1513 GUENTHER AVE                                                                              LANSING          MI   48917‐9562
ALFREDO A RAMIREZ     103 W CORNELL AVE                                                                              PONTIAC          MI   48340‐2721
ALFREDO ACOSTA        404 FLOWERING PLUM LN                                                                          FORT WORTH       TX   76140‐6555
ALFREDO AGUIRRE       29160 BARKLEY ST                                                                               LIVONIA          MI   48154‐4006
ALFREDO ALEMAN JR     7186 GLENBURNIE DR                                                                             CLARKSTON        MI   48346‐1423
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Name                               Address1                         Address2                      Address3   Address4                 City               State   Zip
ALFREDO ALMARAZ                    12452 NEFF RD                                                                                      CLIO                MI     48420‐1823
ALFREDO ALONSO                     37430 GIAVON ST                                                                                    PALMDALE            CA     93552‐4705
ALFREDO AMADOR                     429 CAMERON AVE                                                                                    PONTIAC             MI     48342‐1809
ALFREDO AVALOS                     580 EVERETT LN                                                                                     CLARKDALE           AZ     86324‐3725
ALFREDO BORDIN                     VIA BATTISTI N.3                                                                                   ALBIGNASEGO (PD)     IL    35020

ALFREDO CALDERON                   6454 HANSON ST                                                                                     DETROIT             MI     48210‐2325
ALFREDO CANTU                      5205 SUMMERSET LINE                                                                                BROWNSVILLE         TX     78526
ALFREDO CASTILLO                   5074 AMSTERDAM AVE                                                                                 HOLT                MI     48842‐9605
ALFREDO CASTILLO                   C/O ARNOLDO CASTILLO/GDN 5074                                                                      HOLT                MI     48842
                                   AMSTERDAM
ALFREDO CHAVEZ                     13208 DUFFIELD AVE                                                                                 LA MIRADA           CA     90638‐1710
ALFREDO CROSSMAN‐CHAVEZ            49 HOBART ST                                                                                       ROCHESTER           NY     14611‐2515
ALFREDO CRUZ                       2369 PERRY LAKE RD                                                                                 ORTONVILLE          MI     48462‐8969
ALFREDO DELREAL                    433 N 21ST ST                                                                                      MONTEBELLO          CA     90640‐3946
ALFREDO DI LULLO, BARBARA CIORRA   VIA ELIA FACCHINI, 36                                                     00125 ROME ITALY
ALFREDO DI UBALDO                  VIA VESPUCCI 8                                                                                     GIULIANOVA (TE)            64022
ALFREDO DI UBALDO                  VIA VESPUCCI 8                   GIULIANOVA                    TE
ALFREDO DIAZ                       12439 S GALLERY ST                                                                                 OLATHE              KS     66062‐6097
ALFREDO FLORES                     338 SHORTRIDGE AVE                                                                                 ROCHESTER HLS       MI     48307‐5137
ALFREDO FLORES                     637 FERRY ST                                                                                       EAGLE PASS          TX     78852‐4225
ALFREDO GARZA                      6464 BREWER RD                                                                                     FLINT               MI     48507‐4606
ALFREDO GODINEZ                    1824 GRAHAM LN                                                                                     SANTA CLARA         CA     95050‐3321
ALFREDO GOMEZ                      1428 ALGER ST                                                                                      SAGINAW             MI     48601‐3016
ALFREDO GUERRA                     2424 BURNS ST                                                                                      FLINT               MI     48506‐3448
ALFREDO GUERRA                     3500 CARMEN AVE UN 502                                                                             RANCHO VIEJO        TX     78575
ALFREDO HERNANDEZ                  9754 LEV AVE                                                                                       ARLETA              CA     91331‐4630
ALFREDO HINOJOSA                   4473 PARKSIDE BLVD                                                                                 ALLEN PARK          MI     48101‐3203
ALFREDO IBARRA                     4524 WAVERLY AVE                                                                                   KANSAS CITY         KS     66104‐3337
ALFREDO INDINO                     VIA ZARA 65                                                                                        TARANTO                    74100
ALFREDO L ALFONSO                  2554 SAN BRUNO AVE                                                                                 SAN FRANCISCO       CA     94134‐1516
ALFREDO LEITE                      25 FENWOOD LN                                                                                      PALM COAST          FL     32137‐9161
ALFREDO LOPEZ                      1276 POTTER AVE                                                                                    THOUSAND OAKS       CA     91360‐6419
ALFREDO M BARRERA                  2555 WINSTON RD #36                                                                                ANAHEIM             CA     92804‐5153
ALFREDO M GONZALES                 C/O WILLIAMS KHERKHER HART AND   8441 GULF FREEWAY STE 600                                         HOUSTON             TX     77007
                                   BOUNDAS LLP
ALFREDO MARTINEZ                   2506 KUERBITZ DR                                                                                   LANSING            MI      48906‐3429
ALFREDO MEDRANO                    THE MADEKSHO LAW FIRM            8866 GULF FREEWAY SUITE 440                                       HOUSTON            TX      77017
ALFREDO MENDOZA                    PO BOX 3824                                                                                        ANTHONY            NM      88021‐3824
ALFREDO MOLINA CHAURAND            CARRETERA CHAPALA PONIENTE       #47 INT #3                               JALISCO MEXICO
ALFREDO MONROY                     1504 DOUTHIT ST SW                                                                                 DECATUR            AL      35601‐2720
ALFREDO MONTEIRO                   169 WEST ST                                                                                        MILFORD            MA      01757‐2226
ALFREDO MORENO                     2434 N BOND ST                                                                                     SAGINAW            MI      48602‐5405
ALFREDO OCHOA JR                   6832 MIDDLEPOINTE ST                                                                               DEARBORN           MI      48126‐1947
ALFREDO OLMEDA                     21018 MILBURY DR                                                                                   WOODHAVEN          MI      48183‐1612
ALFREDO PALOMO                     6619 ALSPAUGH DR                                                                                   CASTALIA           OH      44824‐9751
ALFREDO PERALES                    2176 GUNN RD                                                                                       HOLT               MI      48842‐1046
ALFREDO PEREZ                      13745 CARL ST                                                                                      PACOIMA            CA      91331‐3719
ALFREDO PEREZ                      320 E THOMAS ST                                                                                    LANSING            MI      48906‐4144
ALFREDO PERUSQUIA                  4715 BUFFALO AVE                                                                                   SHERMAN OAKS       CA      91423‐2404
ALFREDO PUZZUOLI                   8801 STONEY POINT DR                                                                               LAS VEGAS          NV      89134‐8615
ALFREDO QUINTANA                   4172 N 700 E                                                                                       NEEDHAM            IN      46162‐9748
ALFREDO RAMOS                      113 ELMWOOD ST                                                                                     DELTA              OH      43515‐1125
ALFREDO REAUD                      PO BOX 251487                                                                                      PLANO              TX      75025‐1487
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Name                          Address1                          Address2                       Address3          Address4                City            State   Zip
ALFREDO REGAL                 2143 BARRITT ST                                                                                            LANSING          MI     48912‐3631
ALFREDO REYES PANTOJA         FOSTER & SEAR, LLP                817 GREENVIEW DR.                                                        GRAND PRAIRIE    TX     75050
ALFREDO REYNA JR              9942 TOPAZ CV                                                                                              FORT WAYNE       IN     46804‐5244
ALFREDO RODRIGUEZ             14516 HARLI LN                                                                                             OKLAHOMA CITY    OK     73170‐7293
ALFREDO RODRIGUEZ             NIX PATTERSON & ROACH LLP         GM BANKRUPTCY DEPARTMENT       205 LINDA DRIVE                           DAINGERFIELD     TX     75638
ALFREDO ROSADO                PO BOX 1297                                                                                                ANASCO           PR     00610‐1297
ALFREDO SALDIVAR              3821 RONALD ST                                                                                             LANSING          MI     48911‐2670
ALFREDO SIERRA                656 CLINTON ST                                                                                             DEFIANCE         OH     43512‐2637
ALFREDO SIFUENTES             1305 ALBERT ST                                                                                             TOLEDO           OH     43605‐3612
ALFREDO SOARES                66 CENTRAL AVE                                                                                             TARRYTOWN        NY     10591‐3312
ALFREDO SOTO
ALFREDO TENEYUQUE JR          4785 BROCKWAY RD                                                                                           SAGINAW         MI      48638‐4665
ALFREDO VASQUEZ               1020 21ST ST                                                                                               BAY CITY        MI      48708‐7280
ALFREDO VASQUEZ JR            1525 S HURON RD                                                                                            KAWKAWLIN       MI      48631‐9495
ALFREDO VELAZQUEZ             17439 PARK ST                                                                                              MELVINDALE      MI      48122‐1212
ALFREDO YRLAS I I             805 N STEPHENSON HWY APT 17                                                                                ROYAL OAK       MI      48067‐2154
ALFREE CHARLES E              PO BOX 311                                                                                                 EARLEVILLE      MD      21919‐0311
ALFREE NABB                   814 S BROAD ST                                                                                             MIDDLETOWN      DE      19709‐1448
ALFREE, CHARLES E             210 DELAWARE ST APT 3                                                                                      NEW CASTLE      DE      19720
ALFREEDA MOORE                2016 KRISTIN DR                                                                                            TROY            MI      48084‐1134
ALFREEDA REICHARD             823 W VINYARD ST                                                                                           ANDERSON        IN      46011‐3425
ALFREIDA LYNCH                PO BOX 83                                                                                                  CHAGRIN FALLS   OH      44022‐0083
ALFREIDA STEVENSON            800 E COURT ST APT 322                                                                                     FLINT           MI      48503‐6214
ALFRERDON CARTER              571 W GOLDEN GATE                                                                                          DETROIT         MI      48203‐4543
ALFRESCO SOFTWARE LIMITED     FIRST FL PARK HOUSE PARK ST       MAIDENHEAD BERKSHIRE SL6 1SD                     UNITED KINGDOM GREAT
                                                                                                                 BRITAIN
ALFRETTA BULLARD              PO BOX 3029                                                                                                MUNCIE          IN      47307‐1029
ALFRETTA GILL                 12 CORONA DR                                                                                               OKLAHOMA CITY   OK      73149‐1806
ALFRETTA HOUSEMAN             218 PORTER RD                                                                                              BELLE VERNON    PA      15012‐3312
ALFREY, ANN G                 150 AUSTIN LN                                                                                              STOKESDALE      NC      27357‐8636
ALFREY, CHARLIE R             7676 NEFF RD                                                                                               MEDINA          OH      44256‐9483
ALFREY, DOROTHY E             81 N 3RD ST                                                                                                SHELBY          OH      44875‐1051
ALFREY, EDWARD E              810 EARL AVE                                                                                               MIDDLETOWN      IN      47356‐9308
ALFREY, JAMES E               1109 NORTH ST                                                                                              CHESTERFIELD    IN      46017‐1054
ALFREY, KAREN J               621 LONSVALE DR                                                                                            ANDERSON        IN      46013‐3216
ALFREY, KAREN JANE            621 LONSVALE DR                                                                                            ANDERSON        IN      46013‐3216
ALFREY, KEITH D               3101 SHERIDAN ST                                                                                           ANDERSON        IN      46016‐5991
ALFREY, LARRY H               722 PRICEWOOD CT                                                                                           ANDERSON        IN      46013‐5143
ALFREY, MONTE L               1409 DOUGLAS LN                                                                                            ANDERSON        IN      46017‐9559
ALFREY, VIRGINIA M            1109 NORTH ST                                                                                              CHESTERFIELD    IN      46017‐1054
ALFREY‐WILLHITE, LYNN A       2821 N ROLLING HILLS DR                                                                                    YORKTOWN        IN      47396‐9272
ALFREY‐WILLHITE, LYNN A       1245 SLATE DR                                                                                              ANDERSON        IN      46013‐2029
ALFRIDA CARLSON               LERUM ANDERSRAGEN 142             LAGERHET 271 III VANING                          LERUM SWEDEN 44300
ALFRIDO ORTIZ                 BIZANCIO 509                      COL. JARDINES DE SAN AGUSTIN                     MONTERREY NUEVO LEON
                                                                                                                 64988 MEXICO
ALFRIEDA HENRY                PO BOX 1275                                                                                                SAGINAW         MI      48606‐1275
ALFRIEDA STOSBERG             25301 5 MILE RD APT 224                                                                                    REDFORD         MI      48239‐3748
ALFS, LAWRENCE E              6882 W IDA DR APT 423                                                                                      LITTLETON       CO      80123
ALG WORLDWIDE LOGISTICS LLC   ALG ADMIRAL DIVSION               317 W LAKE ST                  PO BOX 138                                NORTHLAKE       IL      60164‐2433
ALGA JONES                    PO BOX 14606                                                                                               SAGINAW         MI      48601‐0606
ALGA SMITH JR                 2227 WHITTIER ST                                                                                           SAGINAW         MI      48601‐2281
ALGAHMEE, ANIS M              1334 DOUGLAS AVE                                                                                           YOUNGSTOWN      OH      44502‐2816
ALGALHAM, NASSER A            PO BOX 4382                                                                                                DEARBORN        MI      48126‐0382
ALGAR, FRANK                  503 WINDY RD                                                                                               MOUNT JULIET    TN      37122‐3871
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Name                         Address1                           Address2                      Address3   Address4               City            State   Zip
ALGEA REED                   3020 MARIGOLD DR                                                                                   GRAND PRAIRIE    TX     75052‐7787
ALGEE NORRIS                 901 PALLISTER ST APT 304                                                                           DETROIT          MI     48202‐2679
ALGEE, MARTHA J              2412 W ARBROOK BLVD                                                                                ARLINGTON        TX     76015‐3811
ALGER BOBBY (428396)         GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                     NORFOLK          VA     23510
                                                                STREET, SUITE 600
ALGER DAGGETT                PO BOX 182                                                                                         BARRYTON         MI     49305‐0182
ALGER DUSTIN                 111 BUTTERNUT DR                                                                                   STEPHENS CITY    VA     22655‐2110
ALGER II, DAVID S            240 BLYTHE AVE                                                                                     LINDEN           MI     48451‐9648
ALGER JACK (428397)          GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                     NORFOLK          VA     23510
                                                                STREET, SUITE 600
ALGER JR, JAMES E            39 LAWRENCE ST                                                                                     PEPPERELL       MA      01463‐1021
ALGER KOESTER                4030 CYNTHIA TER                                                                                   NORTH PORT      FL      34286‐7603
ALGER ROBINSON               110 E AVENUE G                                                                                     SAN MANUEL      AZ      85631‐1351
ALGER RONALD A (438777)      GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                     NORFOLK         VA      23510
                                                                STREET, SUITE 600
ALGER SNEED                  105 S EDITH ST                                                                                     PONTIAC          MI     48342‐2991
ALGER SULLIVAN SR (481611)   GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                     NORFOLK          VA     23510
                                                                STREET, SUITE 600
ALGER, BOBBY                 GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                     NORFOLK          VA     23510‐2212
                                                                STREET, SUITE 600
ALGER, BRANDY L              7223 PRAIRIE CIR                                                                                   LONGMONT         CO     80504
ALGER, BRUCE M               14340 SEYMOUR RD                                                                                   LINDEN           MI     48451‐9744
ALGER, CHARLES H             337 LOWDEN POINT RD                                                                                ROCHESTER        NY     14612‐1246
ALGER, DAVID E               2919 JEFFERSON ST                                                                                  ANDERSON         IN     46016‐5455
ALGER, DAVID W               PO BOX 302                                                                                         MARION           MI     49665‐0302
ALGER, DONALD T              11680 JOYCE KILMER RD                                                                              ROSCOMMON        MI     48653‐7909
ALGER, DOROTHY S             2713 APACHE DR                                                                                     ANDERSON         IN     46012‐1401
ALGER, GORDON W              6200 ORIOLE DR                                                                                     FLINT            MI     48506‐1738
ALGER, GORDON WILLIAM        6200 ORIOLE DR                                                                                     FLINT            MI     48506‐1738
ALGER, HARRIET M             1256 W YALE AVE                                                                                    FLINT            MI     48505‐1362
ALGER, JACK                  GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                     NORFOLK          VA     23510‐2212
                                                                STREET, SUITE 600
ALGER, JOSEPH E              2 ROSEWOOD LN                                                                                      FRANKLIN        MA      02038‐3170
ALGER, MARY H                944 BOSTON DRIVE                                                                                   KOKOMO          IN      46902‐6909
ALGER, MICHAEL               59 BOWEN ST                                                                                        JAMESTOWN       NY      14701‐3738
ALGER, NANCY                 337 LOWDEN POINT RD                                                                                ROCHESTER       NY      14612‐1246
ALGER, NANCY J               258 WEST CENTRAL STREET                                                                            FRANKLIN        MA      02038
ALGER, NANCY J               258 W CENTRAL ST                                                                                   FRANKLIN        MA      02038‐2161
ALGER, RONALD A              GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                     NORFOLK         VA      23510
                                                                STREET, SUITE 600
ALGER, SONYA                 42 PLEASANT ST                                                                                     PITTSFORD        VT     05763‐9310
ALGER, SULLIVAN              GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                     NORFOLK          VA     23510
                                                                STREET, SUITE 600
ALGER, TIMOTHY L             815 MARION DR                                                                                      HOLLY           MI      48442‐1074
ALGERD ULINSKAS              19 SILVER ST                                                                                       TERRYVILLE      CT      06786‐5210
ALGERETTA ELLIS              1105 LAWSON PLACE CT                                                                               FLORISSANT      MO      63031‐8536
ALGERNON BONNER              PO BOX 48594                                                                                       OAK PARK        MI      48237‐6194
ALGEVON EICHELBERGER         2181 FINCH DR                                                                                      SAGINAW         MI      48601‐5730
ALGHANDI PHILLIPS            2705 MACKIN ROAD                                                                                   FLINT           MI      48504‐3389
ALGHANDI T PHILLIPS          2705 MACKIN RD                                                                                     FLINT           MI      48504‐3389
ALGHAZALY, EHSAN A           2465 WILLOW BEACH ST                                                                               KEEGO HARBOR    MI      48320‐1320
ALGIE BLACK JR               133 COUNTY ROAD 636                                                                                ETOWAH          TN      37331‐5117
ALGIE EVANS                  PO BOX 11652                                                                                       JACKSON         MS      39283‐1652
ALGIE HARRIS JR              15757 ASBURY PARK                                                                                  DETROIT         MI      48227‐1549
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Name                            Address1                         Address2                        Address3                     Address4                   City               State   Zip
ALGIE L HARRIS JR               15757 ASBURY PARK                                                                                                        DETROIT             MI     48227‐1549
ALGIE L WILLIAMS                8340 LAUDER ST                                                                                                           DETROIT             MI     48228‐2483
ALGIE MURPHY                    9471 GRAND BLANC RD                                                                                                      GAINES              MI     48436‐9793
ALGIE PAULK                     3687 DIAMONDALE DR E             C/O DEBORAH COLEMAN                                                                     SAGINAW             MI     48601‐5806
ALGIE THOMAS                    6227 W ADAMS                                                                                                             BELLEVILLE          MI     48111‐4203
ALGIE VAN HOOSE                 4180 DEWEY AVE                                                                                                           ROCHESTER           NY     14616‐1217
ALGIE WILLIAMS                  8340 LAUDER ST                                                                                                           DETROIT             MI     48228‐2483
ALGIE, MARIE P                  1020 ELMWOOD DRIVE                                                                                                       MACEDONIA           OH     44056‐2070
ALGIERI GIORGIO                 V.G.GALILEI 81                                                                                                           PRATO                      59100
ALGIERI GIORGIO                 V.LE G.GALILEI 81                                                                                                        PRATO                      59100
ALGIERI GIORGIO                 VIALE GALILEO GALILEI 81                                                                                                 PRATO                      59100
ALGIMANTAS CEPAITIS             1012 COGSWELL ST NW                                                                                                      GRAND RAPIDS       MI      49544‐2819
ALGIMANTAS KAMINSKAS            6219 S US HIGHWAY 51 # 1031                                                                                              JANESVILLE         WI      53546‐9429
ALGIN HORN                      3549 CAMDEN RD                                                                                                           EATON              OH      45320
ALGIN SHELTON                   2370 HIGHWAY 82 W                                                                                                        PRATTVILLE         AL      36067‐7118
ALGIN, LIGINA                   6201 W OLIVE AVE APT 1246                                                                                                GLENDALE           AZ      85302‐4576
ALGIRDAS NAKAS                  4083 LINWOOD DR                                                                                                          SUNNY HILLS        FL      32428‐3012
ALGIRE, RONALD L                9621 OVERLY RD                                                                                                           FREDERICKTOWN      OH      43019‐9350
ALGIS NEMANIS                   24465 WISTARIA DR                                                                                                        FARMINGTON HILLS   MI      48336‐2168

ALGIS V BARAUSKAS DDS           ATTN: ALGIS V BARAUSKAS          3011 W GRAND BLVD # 472                                                                 DETROIT             MI     48202‐3045
ALGOE JR, ROBERT C              3987 KINGS MILL RD                                                                                                       NORTH BRANCH        MI     48461‐8907
ALGOET, SUSAN L                 268 BERMUDA BEACH DR                                                                                                     FORT PIERCE         FL     34949‐1528
ALGOMA MOTORS INC.              JAMES RABAS                      1020 JEFFERSON ST                                                                       ALGOMA              WI     54201‐1738
ALGOMA MOTORS INC.              1020 JEFFERSON ST                                                                                                        ALGOMA              WI     54201‐1738
ALGOMA STEEL                    RORY BRANDOW                     5515 NORTH SERVICE ROAD                                      BURLINGTON ON CANADA
ALGOMA STEEL INC                5515 NORTH SERVICE ROAD                                                                       BURLINGTON ON L7L 6G4
                                                                                                                              CANADA
ALGOMA STEEL INC                PO BOX 1400                      UPTD 7/20/07                                                 SAULTE STE MARIE CAN ON
                                                                                                                              P6A 5P2 CANADA
ALGOMA TOWNSHIP                 10531 ALGOMA AVE NE                                                                                                      ROCKFORD            MI     49341‐9136
ALGONQUIN AUTOMOTIVE            RICHARD BELFX228                 1 CRESCENT RD., P.O. BOX 1350                                MISSISSAUGA ON CANADA
ALGONQUIN AUTOMOTIVE            1 CRESCENT RD                                                                                 HUNTSVILLE CANADA ON P1H
                                                                                                                              1Z6 CANADA
ALGONQUIN AUTOMOTIVE            25219 DEQUINDRE RD                                                                                                       MADISON HEIGHTS     MI     48071‐4211

ALGONQUIN AUTOMOTIVE COATINGS   685 ECCLESTONE DR RR 3                                                                        BRACEBRIDGE ON P1L 1V1
                                                                                                                              CANADA
ALGONQUIN AUTOMOTIVE COATINGS   RICHARD BELF                     ALGONQUIN AUTOMOTIVE            685 ECCLESTONE DRIVE, RR 3   STRATFORD ON CANADA

ALGONQUIN GROUP                 DAVE MITCHELL                    18553 S DOMINGUEZ HILLS DR      C/O AN DERINGER INC                                     COMPTON             CA     90220‐6420
ALGONQUIN GROUP                 DAVE MITCHELL                    C/O AN DERINGER INC             18553 S. DOMINQUEZ HILLS     INGERSOLL ON CANADA
                                                                                                 DR
ALGONQUIN GROUP                 MICHELLE MCQUAID                 C/O COMPOSITE PRODUCTS INC      1700 WILKIE DRIVE                                       EL PASO             TX     79906
ALGONQUIN GROUP                 18553 S DOMINGUEZ HILLS DR                                                                                               COMPTON             CA     90220‐6420
ALGONQUIN GROUP INC             1 CRESCENT RD                                                                                 HUNTSVILLE ON P1H 1Z6
                                                                                                                              CANADA
ALGONQUIN GROUP INC             1700 WILKIE DR                                                                                                           WINONA             MN      55987‐6202
ALGONQUIN GROUP INC             18553 S DOMINGUEZ HILLS DR                                                                                               COMPTON            CA      90220‐6420
ALGONQUIN GROUP INC             22351 WILMINGTON AVE                                                                                                     CARSON             CA      90745‐4309
ALGONQUIN GROUP INC             685 ECCLESTONE DR RR 3                                                                        BRACEBRIDGE ON P1L 1V1
                                                                                                                              CANADA
ALGONQUIN GROUP INC             DAVE MITCHELL                    18553 S DOMINGUEZ HILLS DR      C/O AN DERINGER INC                                     COMPTON             CA     90220‐6420
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Name                                 Address1                        Address2                        Address3                     Address4                   City               State Zip
ALGONQUIN GROUP INC                  DAVE MITCHELL                   C/O AN DERINGER INC             18553 S. DOMINQUEZ HILLS     INGERSOLL ON CANADA
                                                                                                     DR
ALGONQUIN GROUP INC                  MICHELLE MCQUAID                C/O COMPOSITE PRODUCTS INC      1700 WILKIE DRIVE                                       EL PASO             TX   79906
ALGONQUIN GROUP INC                  RICHARD BELF                    ALGONQUIN AUTOMOTIVE            685 ECCLESTONE DRIVE, RR 3   STRATFORD ON CANADA

ALGONQUIN GROUP INC                  RICHARD BELFX228                1 CRESCENT RD., P.O. BOX 1350                                MISSISSAUGA ON CANADA
ALGONQUIN INDUSTRIES INTERNATI       1 CRESCENT RD                                                                                HUNTSVILLE ON P1H 1Z6
                                                                                                                                  CANADA
ALGONQUIN INDUSTRIES INTERNATIONAL   1 CRESCENT RD                                                                                HUNTSVILLE ON P1H 1Z6
                                                                                                                                  CANADA
ALGONQUIN TIRE & SERVICE CENTER      1500 E ALGONQUIN RD                                                                                                     ALGONQUIN           IL   60102‐4519
ALGONTEC SL                          SANTA ISABEL C/E PARCELA 78     POL IND MALPICA                                              ZARAGOZA ES 50016 SPAIN
ALGONTEC/SPAIN                       POLIGONO MALPICA E              PARCELA 78                                                   ZARAGOZA SP 50.016 SPAIN
ALGOOD, ATLEAN                       1310 93RD AVENUE                                                                                                        OAKLAND            CA    94603‐1414
ALGOOD, ATLEAN                       1310 93RD AVE                                                                                                           OAKLAND            CA    94603‐1414
ALGOOD, THOMAS M                     PO BOX 6026                                                                                                             ELBERTON           GA    30635‐6026
ALGORITHMIC SOLURIONS SOFTWARE
GMBH
ALGORITHMICS
ALGREM JR, LLOYD S                   1250 S PEARL ST                                                                                                         JANESVILLE         WI    53546‐5580
ALGREN, TRUMAN L                     5701 DETRICK JORDAN PIKE                                                                                                SPRINGFIELD        OH    45502‐9655
ALGRIM, ALLEN A                      7521 S FOSSUM RD                                                                                                        BRODHEAD           WI    53520‐8838
ALGUIRE, VERLIN E                    50 URBAN DR                                                                                                             MASSENA            NY    13662‐2702
ALGUR, SABRI                         300 NE 20TH ST APT 803                                                                                                  BOCA RATON         FL    33431‐8150
ALGURT CUDNEY                        9050 MURPHY RD                                                                                                          LYONS              MI    48851‐9777
ALGY BALNIUS                         636 DETROIT AVE                                                                                                         LINCOLN PARK       MI    48146‐3032
ALHADDAD, EVONNE                     2407 TEEL AVE                                                                                                           LANSING            MI    48910‐3122
ALHAJRI, MOHAMMED
ALHALEEM, SHIRLEY F                  172 STRAWBRIDGE TRCE                                                                                                    LAWRENCEVILLE      GA    30044‐5041
ALHAMBRA JOINT VENTURE               C/O PREMISYS REAL ESTATE SERV   209 N BIRCH RD APT 1502                                                                 FORT LAUDERDALE    FL    33304
ALHAMBRA PONTIAC GMC BUICK, INC.     INTERCOMPANY
ALHAMBRA WATER                                                       485 VISTA WAY                                                                           MILPITAS            CA   95035
ALHARBI, ABDULLATIF
ALHERFI, NEMER
ALHOUSSAMI, AIMAN                    PO BOX 491                                                                                                              ALBION             RI    02802‐0491
ALHUNAIDI, MOOTAZ J                  1612 DIFFORD DR                                                                                                         NILES              OH    44446‐2845
ALI
ALI                                  7439 LA PALMA AVE STE 302                                                                                               BUENA PARK          CA   90620
ALI ABDI
ALI ABOUBAKER                        6117 KENDAL ST                                                                                                          DEARBORN            MI   48126‐2144
ALI AL‐KHALAF
ALI ALATAILI
ALI ALMAWRI                          PO BOX 2929                                                                                  SANAA YEMEN
ALI BAHROLOOMI                       3488 CHARLWOOD DR                                                                                                       ROCHESTER HILLS     MI   48306‐3619
ALI ELBERKAWI
ALI ELHADI                           227 CHERRY VALLEY DR APT G5                                                                                             INKSTER             MI   48141‐1452
ALI ELZEIN                           153 ROSEMARY ST                                                                                                         DEARBORN HEIGHTS    MI   48127‐3625

ALI FARHOUD                          22126 HUNTER CIR S                                                                                                      TAYLOR              MI   48180‐6361
ALI FARZAM BEHBOODI                  6500 THORNGATE RD                                                                                                       EAST LANSING        MI   48823‐9757
ALI FARZAMIPOUR
ALI FAWAZ                            802 N CHARLESWORTH ST                                                                                                   DEARBORN            MI   48127‐3612
ALI FAWAZ                            3706 KINGS POINT DR                                                                                                     TROY                MI   48083‐5315
ALI GOOBA                            43626 SENTIERO DR                                                                                                       INDIO               CA   92203‐2980
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Name                    Address1                       Address2                      Address3          Address4                  City               State   Zip
ALI HAIDAR‐AHMAD        4852 CHASE RD                                                                                            DEARBORN            MI     48126‐3122
ALI HAMMOUD             4859 CHOVIN ST                                                                                           DEARBORN            MI     48126‐4609
ALI HAMMOUD             7834 INDIANA ST                                                                                          DEARBORN            MI     48126‐1206
ALI HASHEMI
ALI KARNIB              PO BOX 38                                                                                                LAKE ORION         MI      48361‐0038
ALI KHALI               6804 COLEMAN ST APT 2                                                                                    DEARBORN           MI      48126‐5713
ALI KIBORO              15 WEST 75 STREET              APT 9D                                                                    NEW YORK           NY      10023
ALI M NAGI JR.          320 INDIANA AVE                                                                                          MC DONALD          OH      44437‐1920
ALI MAKKI               5834 MIDDLESEX ST                                                                                        DEARBORN           MI      48126‐2113
ALI MAKTARI             55 ULLSWATER CRESCENT          LONDON                        UNITED KINGDOM
ALI MAKTARI             55 ULLSWATER CRESCENT          KINGSTON VALE                 LONDON SW15 3RG
ALI MASHRAN             BEVAN & ASSOCIATES LPA INC     6555 DEAN MEMORIAL PARKWAY                                                BOSTON HTS         OH      44236
ALI MAWRI               5437 KENILWORTH ST                                                                                       DEARBORN           MI      48126‐3163
ALI MOHAMED, AHMED      1316 W ST NW APT C                                                                                       WASHINGTON         DC      20009‐4482
ALI NAQVI               921 DACEA CT                                                                                             WHITE LAKE         MI      48386‐4501
ALI NASSAR              26328 SIMONE ST                                                                                          DEARBORN HTS       MI      48127‐3352
ALI NOUI‐MEHIDI         519 MISTY BROOK LN                                                                                       ROCHESTER HILLS    MI      48307‐2884
ALI ODEFA               22711 DONCASTER AVE                                                                                      BROWNSTOWN         MI      48193‐8217
ALI OTTAIFA             1554 WYOMING ST                                                                                          DEARBORN           MI      48120‐1736
ALI PAUL JR             ALI, PAUL                      20 EAST MAIN STREET                                                       VERNON ROCKVILLE   CT      06066

ALI SALAMEH             27079 SHEAHAN DR                                                                                         DEARBORN HTS        MI     48127‐3649
ALI SEBLINI             631 DOVER ST                                                                                             DEARBORN HEIGHTS    MI     48127‐4113

ALI SHANNON             ALI, IMRAN                     135 W CENTRAL BLVD STE 1100                                               ORLANDO             FL     32801‐2478
ALI SHANNON             ALI, SHANNON                   135 WEST CENTRAL BOULEVARD                                                ORLANDO             FL     32801
                                                       SIUTE 1100
ALI SHANNON             MARTEL, JENNIFER               135 W CENTRAL BLVD STE 1100                                               ORLANDO             FL     32801‐2478
ALI SHANNON             MEHMOOD, AMERICA               135 WEST CENTRAL BOULEVARD                                                ORLANDO             FL     32801
                                                       SIUTE 1100
ALI SHANNON             MEHMOOD, DANIEL                135 W CENTRAL BLVD STE 1100                                               ORLANDO             FL     32801‐2478
ALI UZUN & RAIFE UZUN   TALSTR 3A                                                                      42859 REMSCHEID GERMANY

ALI, AHMAD              8199 ELLSWORTH ST                                                                                        DETROIT            MI      48238‐1814
ALI, AHMAD A            4750 HERMITAGE RD                                                                                        NIAGARA FALLS      NY      14305‐1416
ALI, AHMAD A.           4750 HERMITAGE RD                                                                                        NIAGARA FALLS      NY      14305‐1416
ALI, AMEENAH            921 DONALD HOLLOWELL PKWY                                                                                ATLANTA            GA      30318
ALI, AMJAD              5532 IVANHOE DR                                                                                          TROY               MI      48085‐3815
ALI, AZIZA B            1950 KENSINGTON                                                                                          DAYTON             OH      45406
ALI, CINQUEZ A          1626 LLANFAIR AVE                                                                                        CINCINNATI         OH      45224
ALI, DELAL              APT 4                          321 5TH AVENUE                                                            SAN FRANCISCO      CA      94118‐2342
ALI, DELORIS L          14736 WEMPLE RD                                                                                          CLEVELAND          OH      44110‐3307
ALI, DONNA J            3423 BELDEN AVE                                                                                          YOUNGSTOWN         OH      44502‐3004
ALI, ELIZABETH          7035 98TH ST APT 2A                                                                                      CHICAGO RIDGE      IL      60415‐1299
ALI, GLENDA J           542 GREYHAWK WAY                                                                                         FAIRBURN           GA      30213‐4600
ALI, HABIB              1403 SIEBERT COURT                                                                                       NAPERVILLE         IL      60565‐6783
ALI, HAIDER             5401 MILL RACE WAY                                                                                       COMMERCE TWP       MI      48382‐5002
ALI, HALIMA K           3335 LAWLEY                                                                                              DETROIT            MI      48212‐2323
ALI, HALIMA K           3335 LAWLEY ST                                                                                           DETROIT            MI      48212‐2323
ALI, IMRAN              RAYMOND BOTIFORD               135 W CENTRAL BLVD STE 1100                                               ORLANDO            FL      32801‐2478
ALI, IMRAN              2501 PINE NEEDLE TRL                                                                                     KISSIMMEE          FL      34746‐3023
ALI, INAYAH S           13340 HARTWELL ST                                                                                        DETROIT            MI      48227‐3589
ALI, INAYAH SAABIRAH    13340 HARTWELL ST                                                                                        DETROIT            MI      48227‐3589
ALI, INKOSI             577 DIPLOMAT CT                APT 5                                                                     NEWPORT NEWS       VA      23608‐1639
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Name                              Address1                           Address2                      Address3   Address4                  City               State Zip
ALI, INKOSI                       2002 NELAWOOD RD                                                                                      EAST CLEVELAND      OH 44112‐2216
ALI, ISMAIL                       921 DONALD LEE HOLLOWELL PKWY NW                                                                      ATLANTA             GA 30318‐6651

ALI, JANET D                      382 FERNWOOD AVE                                                                                      ROCHESTER          NY   14609‐3448
ALI, KAMRAN A                     793 QUILL CREEK DR                                                                                    TROY               MI   48085‐3202
ALI, KHALID E                     11510 NICHOLS RD                                                                                      BURT               MI   48417‐9659
ALI, KI V                         1389 GAMBRELL DR APT D204                                                                             PONTIAC            MI   48340‐2120
ALI, LATOYA E                     39 LEROY ST                                                                                           DAYTON             OH   45402
ALI, MAHDI N                      2180 WOODMERE ST                                                                                      DETROIT            MI   48209‐1444
ALI, MANSOOR W                    3308 WINNETT RD                                                                                       CHEVY CHASE        MD   20815‐3202
ALI, MARGARET T                   4817 APT 2 CHERRY HILL CT SOUTH                                                                       COLUMBUS           OH   43228‐3228
ALI, MARGARET T                   4817 CHERRY HILL CT S APT 4                                                                           COLUMBUS           OH   43228
ALI, MARIA A                      1411 CORONA ST                                                                                        INKSTER            MI   48141‐1854
ALI, MARVA L                      4912 MAPLE AVE                                                                                        SAINT LOUIS        MO   63113‐2004
ALI, MARY F                       2720 PINE ISLAND RD                                                                                   SUNRISE            FL   33322
ALI, MARY K                       1809 3RD AVE APT 3A                                                                                   NEW YORK           NY   10029‐6108
ALI, MICHAEL F                    1909 SHEFFIELD DRIVE                                                                                  COLUMBIA           TN   38401‐6860
ALI, MOHAMMAD A                   5406 CAROL RUN W                                                                                      WEST BLOOMFIELD    MI   48322‐2111

ALI, MOHAMMAD A                   2812 SUNRIDGE DR.                                                                                     TROY               MI   48084‐1079
ALI, NAZIR A                      29097 ROYCROFT ST                                                                                     LIVONIA            MI   48154‐3803
ALI, PAUL                         LEIGHTON KATZ & DRAPEAU            20 EAST MAIN STREET                                                ROCKVILLE          CT   06066
ALI, PAUL
ALI, RONALD S                     835‐53 WINDWARD DR                                                                                    AURORA             OH   44202‐8207
ALI, SALEH                        7035 N 98TH ST APT 1B                                                                                 CHICAGO RIDGE      IL   60415‐1299
ALI, SERGIO                       9 BENJOE DR                                                                                           BAY SHORE          NY   11706‐3314
ALI, SHAKA A                      PO BOX 38336                                                                                          DETROIT            MI   48238‐0336
ALI, SHANNON                      BODIFORD RAYMOND LAW OFFICES OF    135 W CENTRAL BLVD STE 1100                                        ORLANDO            FL   32801‐2478
ALI, SHANNON                      2501 PINE NEEDLE TRL                                                                                  KISSIMMEE          FL   34746‐3023
ALI, SONUHOR                      115 LAKE VILLAGE BLVD APT 206                                                                         DEARBORN           MI   48120‐1659
ALI, SYED                         11691 CAVALIER DR                                                                                     STERLING HTS       MI   48313‐5037
ALI, SYED A                       36624 W 11 MILE RD                                                                                    FARMINGTON HILLS   MI   48335‐1104

ALI, SYED A                       7971 BLACK OAK DR                                                                                     PLAINFIELD         IN   46168‐8174
ALI, UMAR                         1522 SEASONS PKWY                                                                                     NORCROSS           GA   30093‐3108
ALI, VIRGINIA                     4810 GRAY                                                                                             DETROIT            MI   48215‐2043
ALI‐KHAN KULJANOV                 APT 208                            2425 TORQUAY AVENUE                                                ROYAL OAK          MI   48073‐1131
ALIA BAZZI                        5445 NECKEL ST                                                                                        DEARBORN           MI   48126‐3218
ALIA GIUSEPPINA                   VIA UMBERTO N 142                                                           98039 TAORMINA ME ITALY
ALIA HASSEN                       4697 E ALFALFA DR                                                                                     GILBERT            AZ   85298‐8326
ALIA J CLARK                      6000 JOHN R ST APT 9                                                                                  DETROIT            MI   48202‐3561
ALIA SINGLETON                    8815 WASHINGTON COLONY DR                                                                             WASHINGTON         OH   45458‐3376
                                                                                                                                        TOWNSHIP
ALIANCA LINES                     INDEPENDENCE SQUARE WEST           CURTIS CENTER STE 1075 W                                           PHILADELPHIA       PA   19106
ALIANO, LESLIE A                  1 BIRCHWOOD TER APT10                                                                                 BRISTOL            CT   06010
ALIANO, ROBERT D                  306 PATTON HILL RD                                                                                    BEDFORD            IN   47421‐8634
ALIANO, VIOLA M                   55 TAILLON STREET                                                                                     BRISTOL            CT   06010‐7259
ALIANO, VIOLA M                   55 TAILLON ST                                                                                         BRISTOL            CT   06010‐7259
ALIAS DESIGN & VERMOGENSVERW GMBH ABENSBERGER STR 29                                                          84048 MAINBURG GERMANY

ALIAS WAVEFRONT                   ACCTS RECEIVABLE                   110 RICHMOND STREET EAST                 TORONTO CANADA ON M5C
                                                                                                              1P1 CANADA
ALIATA HENDERSON                  1823 KERRWOOD DR                                                                                      ANDERSON           IN   46011‐4056
ALIBER, KAREN A                   3816 NEWPORT WAY DR                                                                                   WATERFORD          MI   48329‐4286
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Name                                Address1                             Address2                     Address3       Address4               City             State Zip
ALIBERT VERNON (437436)             ANGELOS PETER G LAW OFFICES OF       100 PENN SQUARE EAST , THE                                         PHILADELPHIA      PA 19107
                                                                         WANAMAKER BUILDING
ALIBERT, VERNON                     ANGELOS PETER G LAW OFFICES OF       100 PENN SQUARE EAST, THE                                          PHILADELPHIA     PA   19107
                                                                         WANAMAKER BUILDING
ALIBOZAK, EVELYN B                  454 MAPLE AVE                                                                                           BRISTOL          CT   06010‐2696
ALIC, AGNES                         708 RADFORD DRIVE                                                                                       RICHMOND HTS     OH   44143‐1940
ALIC, AGNES                         708 RADFORD DR                                                                                          RICHMOND HTS     OH   44143‐1940
ALIC, RONALD J                      948 BRYN MAWR AVE                                                                                       WICKLIFFE        OH   44092‐2206
ALICANDRO CHRISTINE                 5 INDEPENDENCE MALL WAY                                                                                 KINGSTON         MA   02364‐3023
ALICANDRO, ERNEST L                 7 KRISTEN LN                                                                                            WAREHAM          MA   02571‐1223
ALICAT SCIENTIFIC INC               2045 N FORBES BLVD STE 103                                                                              TUCSON           AZ   85745‐1444
ALICAT SCIENTIFIC INC               ATTN: CORPORATE OFFICER/AUTHORIZED   7641 N BUSINESS PARK DR                                            TUCSON           AZ   85743‐7796
                                    AGENT
ALICATA, SALVATORE J                7832 CAYUGA DRIVE                                                                                       NEW PRT RCHY     FL   34653‐2132
ALICE A BEBOUT                      2111 W MEYERS RD                                                                                        SAN BERNARDINO   CA   92407
ALICE A CRAWFORD                    1019 N CORNELL AVE                                                                                      FLINT            MI   48505‐1304
ALICE A HOUSTON                     2598 SELMA JAMESTOWN ROAD                                                                               CEDERVILLE       OH   45314
ALICE A JACKSON                     101 CABELL COURT                                                                                        CLINTON          MS   39056
ALICE A PAYNE                       215 WALNUT AVE                                                                                          BALTIMORE        MD   21222‐6142
ALICE A SCHREIBER                   391 N BUTTER ST                                                                                         GERMANTOWN       OH   45327
ALICE ABBOTT                        4535 KLAM RD                                                                                            COLUMBIAVILLE    MI   48421‐9337
ALICE ADKINS                        500 OLD US 70 W                                                                                         OLD FORT         NC   28762‐7623
ALICE AINES                         4509 S 14TH ST                                                                                          SAINT JOSEPH     MO   64504‐1217
ALICE ALEXANDER                     321 W 29TH ST                                                                                           ANDERSON         IN   46016‐5905
ALICE ALLEN                         96 OAK ST                                                                                               SEEKONK          MA   02771‐5213
ALICE ALLEN                         1267 MELBOURNE RD                                                                                       EAST CLEVELAND   OH   44112‐4136
ALICE ALLREAD N                     519 WASHINGTON AVE                                                                                      GREENVILLE       OH   45331
ALICE ALPHA MILSON BARRON           NIX PATTERSON & ROACH LLP            GM BANKRUPTCY DEPT           205 LINDA DR                          DAINGERFIELD     TX   75638
ALICE ALUNNI                        814 CORTEZ RD                                                                                           JEFFERSON        PA   18436‐3802
                                                                                                                                            TOWNSHIP
ALICE AMAN                          1505 HULL ST                                                                                            SPARTA           MI   49345‐8552
ALICE ANDER                         24 LAKEWOOD VLG                                                                                         MEDINA           NY   14103‐1846
ALICE ANDERSON                      48 HIDEAWAY LN                                                                                          E WAREHAM        MA   02538‐1108
ALICE ANDERSON                      130 63RD ST                                                                                             WEST NEW YORK    NJ   07093‐3004
ALICE ANDERSON                      27 VINE ST                                                                                              LOCKPORT         NY   14094‐3101
ALICE ANDERSON                      408 MARTIN LUTHER KING DR                                                                               MICHIGAN CITY    IN   46360
ALICE ANDREWS                       1676 DEER POINTE DRIVE                                                                                  SOUTH ELGIN      IL   60177‐1307
ALICE ANGER                         809 STOCKTON RDG                                                                                        CRANBERRY TWP    PA   16066‐2256
ALICE APLEY‐HOLMES                  APT 109                              975 WILLIAMSBURY                                                   WATERFORD        MI   48328‐2282
ALICE ARD
ALICE ARMENTROUT                    1536 EAGLEBROOK RD                                                                                      TOLEDO           OH   43615‐7322
ALICE ARNOLD                        1521 E 151ST TER                                                                                        OLATHE           KS   66062‐2846
ALICE ARTRIP                        5049 BRINTHAVEN DR                                                                                      SYLVANIA         OH   43560‐2840
ALICE ASHMON                        20278 WESTBROOK ST                                                                                      DETROIT          MI   48219‐1321
ALICE ASKINS                        BEVAN & ASSOCIATES, LPA, INC.        6555 DEAN MEMORIAL PARKWAY                                         BOSTON HTS.      OH   44236
ALICE ASMAN                         18204 HURON DR                                                                                          MACOMB           MI   48042‐6113
ALICE ATHENE HUNTER                 C/O EDWARD O MOODY PA                801 WEST 4TH STREET                                                LITTLE ROCK      AR   72201
ALICE ATWOOD                        30800 BAYVIEW DR                                                                                        GIBRALTAR        MI   48173‐9539
ALICE AUDIA                         25305 B DR S                                                                                            ALBION           MI   49224‐9706
ALICE AZZARELLO                     2714 HAMMOCK CT                                                                                         CLEARWATER       FL   33761‐4201
ALICE B ALLEN                       2698 OLD HWY 51 NE                                                                                      WESSON           MS   39191‐6813
ALICE B HUMPHRIES                   PO BOX 344                                                                                              CONNELLYS SPG    NC   28612‐0344
ALICE B ROBINSON LIVING REVOCABLE   ALICE B ROBINSON TTEE                11471 BRONZEDALE DR                                                OAKTON           VA   22124
TRUST
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Name                     Address1                       Address2               Address3         Address4                 City               State   Zip
ALICE BAHR               2915 COLLIER AVE                                                                                BRENTWOOD           MO     63144‐2613
ALICE BAILEY             2152 BROADBENT WAY                                                                              KETTERING           OH     45440‐2529
ALICE BAILEY             2236 COMMONS AVE                                                                                JANESVILLE          WI     53546‐5966
ALICE BAIR               1704 ROCKDALE AVENUE                                                                            LANSING             MI     48917‐1441
ALICE BAJOR              12273 MARTINSVILLE RD                                                                           CARLETON            MI     48117‐9551
ALICE BAKER              607 BRUMBAUGH DR                                                                                NEW CARLISLE        OH     45344‐2524
ALICE BAKER              1858 STATE ROUTE 774                                                                            HAMERSVILLE         OH     45130‐9605
ALICE BAKER              1920 RAYCONDA RD APT 108                                                                        FAYETTEVILLE        NC     28304‐6142
ALICE BAKER              746 BOBTAIL CT                                                                                  PERU                IN     46970‐2908
ALICE BANES              3210 HIGHWAY 69                                                                                 GRAND RIDGE         FL     32442‐4258
ALICE BANKS              3625 E 135TH ST                                                                                 CLEVELAND           OH     44120‐4536
ALICE BARCLAY            150 W 174TH ST APT 12B                                                                          BRONX               NY     10453‐7504
ALICE BARNES             10135 EDGEFIELD DR                                                                              SAINT LOUIS         MO     63136‐5619
ALICE BARONE             504 S RODNEY ST                                                                                 WILMINGTON          DE     19805‐4230
ALICE BARRETT            1512 STEPHENS AVE                                                                               MT PLEASANT         TX     75455‐5608
ALICE BARSAMIAN          54 FOX RUN RD                                                                                   BLACKSTONE          MA     01504‐3304
ALICE BATES              2314 N 87TH TER                                                                                 SCOTTSDALE          AZ     85257‐1818
ALICE BATES              6215 ATTICA RD                                                                                  IMLAY CITY          MI     48444‐9638
ALICE BATES              434 E DEWEY ST                                                                                  FLINT               MI     48505‐4240
ALICE BAULT              2284 STATE HIGHWAY 67                                                                           GOSPORT             IN     47433‐7719
ALICE BAZLEY             72 GASKILL AVE                                                                                  EDISON              NJ     08817‐3423
ALICE BEACH              9445 HIGH FREE PIKE                                                                             WEST JEFFERSON      OH     43162‐9675
ALICE BEAGAN             81 COLLENTON DR                                                                                 ROCHESTER           NY     14626‐4469
ALICE BEATRICE MCNEESE   ALLEN ROSENMAN                 145 LAKE DESTINY TR                                              ALTAMONTE           FL     32714
                                                                                                                         SPRINGS
ALICE BECHELLI           9697 121ST ST                                                                                   SEMINOLE           FL      33772‐2606
ALICE BECKETT            34 HEATH DR NW                                                                                  WARREN             OH      44481‐9001
ALICE BEDELL             16300 SILVER PKWY APT 324                                                                       FENTON             MI      48430‐4422
ALICE BEECKAERT          LEIESTRAAT 23                                                          8800 ROESELARE BELGIUM
ALICE BEEMS              4161 HIPP ST                                                                                    DEARBORN HEIGHTS    MI     48125‐2911

ALICE BEGGROW            105 WALNUT ST                                                                                   ASHVILLE           OH      43103‐1553
ALICE BEKE               7367 EAGLESTONE BLVD APT 44                                                                     LAMBERTVILLE       MI      48144‐8609
ALICE BELL               5267 MEDASANO CIR                                                                               CLAY               NY      13041‐9182
ALICE BENDALL            1370 GRAM ST                                                                                    BURTON             MI      48529‐2040
ALICE BENINCASA          APT 110                        701 MARKET STREET                                                OXFORD             MI      48371‐3572
ALICE BENJAMIN           326 S 26TH ST                                                                                   SAGINAW            MI      48601‐6338
ALICE BENZIN             1340 CENTER RD #6                                                                               WEST SENECA        NY      14224
ALICE BERGESON           48299 BURNTWOOD CT                                                                              NOVI               MI      48374‐3468
ALICE BERRY              6135 E CO RD ‐ 400 S                                                                            KOKOMO             IN      46902
ALICE BERRY SR.          RR 1 BOX 766                                                                                    FAYETTEVILLE       WV      25840‐9711
ALICE BESON              4188 BOUGAINVILLA ST                                                                            WEST PALM BEACH    FL      33406‐4811

ALICE BIANCHI            175 LAURA DR                                                                                    ROCHESTER          NY      14626‐2127
ALICE BICKFORD           8 STODDARD DR APT A                                                                             MERIDEN            CT      06451‐3759
ALICE BIELECKI           206 GARLAND AVE                                                                                 BUFFALO            NY      14206‐2661
ALICE BIELERT            26 DELMAR DR                                                                                    BRISTOL            CT      06010‐2524
ALICE BIGELOW            600 BREEZE PARK DRIVE                                                                           WELDON SPRING      MO      63304‐9142
ALICE BILGER             161 HOURIGAN DR                                                                                 MERIDEN            CT      06451‐3639
ALICE BLACK              6412 OAK VALLEY DR                                                                              SHREVEPORT         LA      71119‐5117
ALICE BLACKWELL          1117 ART GALLERY RD                                                                             BEDFORD            IN      47421‐8197
ALICE BLAKE              8225 AREVEE DR LOT 909                                                                          NEW PORT RICHEY    FL      34653‐1404
ALICE BLAKNEY            4165 NANCY DR                                                                                   SAGINAW            MI      48601‐5011
ALICE BLENDA             1360 CROSS CREEK DR UNIT 183                                                                    BRUNSWICK          OH      44212‐3079
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Name                Address1                         Address2             Address3         Address4               City            State   Zip
ALICE BOATRITE      15254 HIGHWAY 987 BROWNIES CRK                                                                MIRACLE          KY     40856‐8969
ALICE BONDON        10638 OAK LN APT 12202                                                                        BELLEVILLE       MI     48111‐4397
ALICE BONNEWELL     535 MT HOPE AVE                                                                               ROCHESTER        NY     14620
ALICE BORMANN       7401 EAST 108TH TERRA                                                                         KANSAS CITY      MO     64134
ALICE BOUIE         600 W WALTON BLVD APT 341                                                                     PONTIAC          MI     48340‐3502
ALICE BOUTIN        241 CENTER ST                                                                                 BRISTOL          CT     06010‐5028
ALICE BOWEN         13033 19 MILE RD LOT 108                                                                      GOWEN            MI     49326‐9644
ALICE BOWMAN        3526 S FENTON RD                                                                              HOLLY            MI     48442‐8922
ALICE BOYLES        9 SPRING CREEK DR UNIT B                                                                      CORTLAND         OH     44410‐1689
ALICE BOZEMAN       1251 WOODCHASE LN APT A                                                                       CHESTERFIELD     MO     63017‐9755
ALICE BRADFORD      1270 GREAT RIVER PKWY                                                                         LAWRENCEVILLE    GA     30045‐2602
ALICE BRAKER        21 FALCON CREST DR UNIT B                                                                     NORWALK          OH     44857‐2864
ALICE BRAMBILLA     CORSO MAGENTA 43                                                                              MILANO
ALICE BRAMBLE       124 BRICK HILL RD                                                                             ELKTON          MD      21921‐1917
ALICE BRANTLEY      1006 FOUR SEASONS DR                                                                          MASON           OH      45040‐2840
ALICE BRASHEARS     5205 NE 59TH TER                                                                              KANSAS CITY     MO      64119‐1664
ALICE BRENNAN       9002 SPRING BROOK CIR                                                                         DAVISON         MI      48423‐2135
ALICE BRIESKE       12873 SEYMOUR RD                                                                              BURT            MI      48417‐9623
ALICE BRIGHT        6451 LUCAS RD                                                                                 FLINT           MI      48506‐1222
ALICE BRITT         1721 BARBARA DR                                                                               FLINT           MI      48504‐3619
ALICE BRITZ         7956 CREEK BEND DR                                                                            YPSILANTI       MI      48197‐6204
ALICE BROCIOUS      7106 WHITE OAK DR                                                                             HUBBARD         OH      44425‐3058
ALICE BROGLEN       3017 N CHURCH ST                                                                              JONESBORO       AR      72401‐8309
ALICE BROOKER       1345 WAVERLY DR NW                                                                            WARREN          OH      44483‐1717
ALICE BROOKS        630 OATS ST                                                                                   JOHNSONVILLE    SC      29555‐6317
ALICE BROOKS        416 WILLOWLAKE DR                                                                             LITTLE ELM      TX      75068‐5092
ALICE BROWER        304 MADDOCK AVE                                                                               TRENTON         NJ      08610‐3225
ALICE BROWN         25777 HARTLEY RD                                                                              BELOIT          OH      44609‐9345
ALICE BROWN         APT 1                            154 FAYETTE STREET                                           PHILLIPS        WI      54555‐1551
ALICE BROWN         1222 MAIN ST                                                                                  PEEKSKILL       NY      10566‐2902
ALICE BROWN         10532 BAREFOOT ACRES LN                                                                       LANSING         MI      48911‐3072
ALICE BROWN         8810 S 71ST EAST AVE                                                                          TULSA           OK      74133‐5055
ALICE BRUBAKER      # 201                            5911 LUTE ROAD                                               PORTAGE         IN      46368‐4824
ALICE BRYDEN        2692 NE HIGHWAY 70 LOT 54                                                                     ARCADIA         FL      34266‐6331
ALICE BUBLITZ       304 WEST BAY STREET                                                                           EAST TAWAS      MI      48730
ALICE BUCCI         PO BOX 674                                                                                    HALES CORNERS   WI      53130‐0674
ALICE BUCIOR        88 N RIDGELAND RD                                                                             WALLINGFORD     CT      06492‐2926
ALICE BUGENHAGEN    161 LINCOLN AVE                                                                               LOCKPORT        NY      14094‐5525
ALICE BULLIS        PO BOX 21                                                                                     OWENSVILLE      OH      45160‐0021
ALICE BUNCH         17901 UNDERWOOD RD                                                                            FOLEY           AL      36535‐8939
ALICE BURMEISTER    412 FINDLAY ST                                                                                PERRYSBURG      OH      43551‐1519
ALICE BURNETT       6 DONCASTER RD                                                                                NEW CASTLE      DE      19720‐3013
ALICE BURNS         39376 ROSLYN DR                                                                               STERLING HTS    MI      48313‐5071
ALICE BURTON        PO BOX 231                                                                                    TOUGALOO        MS      39174‐0231
ALICE BUSH          22 E BALBACH AVE                                                                              NEW CASTLE      DE      19720‐4027
ALICE C ALBERTI     301 CENTER ST                                                                                 SYRACUSE        NY      13209‐2305
ALICE C CORNELIUS   143 W GOODMAN DR                                                                              FAIRBORN        OH      45324‐3332
ALICE C DASHNER     128 LAKEVIEW                                                                                  NILES           OH      44446‐2104
ALICE C HUMPHREY    1392 YOUNGSTOWN‐SALT SPRS.                                                                    MINERAL RIDGE   OH      44440
ALICE C SIMPSON     7136 NW 115TH ST                                                                              OKLAHOMA CITY   OK      73162
ALICE CALHOUN       3137 HOLLY DR                                                                                 BRUNSWICK       OH      44212‐3731
ALICE CAMERON       3808 CEDAR LOOP                                                                               CLARKSTON       MI      48348‐1410
ALICE CAMPBELL      6621 W OHIO ST                                                                                INDIANAPOLIS    IN      46214‐3978
ALICE CAREY         3452 W 54TH ST                                                                                INDIANAPOLIS    IN      46228‐2265
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Name                     Address1                      Address2                        Address3   Address4               City            State   Zip
ALICE CARLSON            97 HAGEN AVE                                                                                    N TONAWANDA      NY     14120‐4401
ALICE CARLSON            259 WEST ST                                                                                     BIDDEFORD        ME     04005‐9762
ALICE CARLSON            11633 LITTLE CEDAR CREEK DR                                                                     SPARTA           MI     49345
ALICE CARMAN             2919 LARIMORE RD                                                                                MOUNT VERNON     OH     43050‐9425
ALICE CARMICHAEL‐BROWN   20230 HILLCREST DR                                                                              EUCLID           OH     44117‐2268
ALICE CAROTHERS          4928 DEVON CIR                                                                                  NAPLES           FL     34112
ALICE CARR               PO BOX 99                                                                                       ALMONT           MI     48003‐0099
ALICE CARROLL            9998 NATIONAL RD                                                                                BROOKVILLE       OH     45309‐9767
ALICE CARTER             19214 ROGER ST                                                                                  MELVINDALE       MI     48122‐1868
ALICE CARTER             13340 MAIDEN ST                                                                                 DETROIT          MI     48213‐2023
ALICE CASE               3466 CARMEN RD                                                                                  MIDDLEPORT       NY     14105‐9708
ALICE CASE               34 E DUNLOUP                                                                                    SHAWNEE          OK     74804‐3233
ALICE CASSELL            1209 E SOUTHWAY BLVD                                                                            KOKOMO           IN     46902‐4387
ALICE CASTETTER          284 WHISPERING WILLOW COAST                                                                     NOBLESVILLE      IN     46060
ALICE CHAMBERLAIN        5255 SPINNING WHEEL COURT                                                                       GRAND BLANC      MI     48439‐4251
ALICE CHAMBERS           30665 STELLAMAR ST                                                                              BEVERLY HILLS    MI     48025‐4936
ALICE CHAMBLESS          114 N EAST ST                                                                                   PENDLETON        IN     46064‐1004
ALICE CHAPMAN            4513 SELBY ST                                                                                   FLINT            MI     48505‐3654
ALICE CHAPMAN            4191 MCCARTY RD APT 9                                                                           SAGINAW          MI     48603‐9315
ALICE CHAPPIE            7847 LOIS CIR APT 121                                                                           DAYTON           OH     45459
ALICE CHESTNUT           34 FAIRCREST AVE                                                                                TRENTON          NJ     08609‐1306
ALICE CHILDERS           1561 RED OAK RD                                                                                 DAYTON           OH     45432‐3822
ALICE CHOICE             46 IRVING ST                                                                                    MONTCLAIR        NJ     07042‐4524
ALICE CIBOROWSKI         30213 TORRY AVE                                                                                 FLAT ROCK        MI     48134‐1415
ALICE CLARK              1423 FIELD ST                 C/O ADULT WELL‐BEING SERVICES                                     DETROIT          MI     48214‐2321
ALICE CLARK              5332 VAN SLYKE RD                                                                               FLINT            MI     48507‐3954
ALICE CLARK              413 BROOKBRIAR DR                                                                               SHREVEPORT       LA     71107‐5520
ALICE CLARK              1203 LORE AVE                                                                                   WILMINGTON       DE     19809‐2720
ALICE CLARY              9805 RED OAK LN                                                                                 PARKVILLE        MO     64152‐2569
ALICE CLASE              701 CLINTON ST                                                                                  FLINT            MI     48507‐2540
ALICE CLASE              8035 KENSINGTON BLVD APT 27                                                                     DAVISON          MI     48423
ALICE CLAY               5806 GUION LAKES DR                                                                             INDIANAPOLIS     IN     46254‐1583
ALICE COCKERILL          11378 COLONIAL WOODS DR                                                                         CLIO             MI     48420‐1504
ALICE COLEY              103 NORMANDY AVE                                                                                ROCHESTER        NY     14619‐1131
ALICE COMPTON            7142 WHISPER LOOP                                                                               BROOKSVILLE      FL     34601‐5515
ALICE CONAWAY            1864 ROBIN CT                                                                                   NILES            OH     44446‐4140
ALICE CONLON             172 DEMETER DR APT C                                                                            ROCHESTER        NY     14626‐2536
ALICE CONLON             172C DEMETER DR.                                                                                ROCHESTER        NY     14626‐2536
ALICE CONNER             3405 W GODMAN AVE                                                                               MUNCIE           IN     47304‐4427
ALICE CONQUEST           8259 W MOUNT MORRIS RD                                                                          FLUSHING         MI     48433‐8854
ALICE COOK               15055 GAGE ST                                                                                   TAYLOR           MI     48180‐5147
ALICE COOK               9770 N STARK DR                                                                                 SAGINAW          MI     48609‐9405
ALICE COOK               2001 OTTAWA ST                                                                                  LEAVENWORTH      KS     66048‐1133
ALICE COOKSEY            940 N CASTELLO ST                                                                               FLORISSANT       MO     63031‐4528
ALICE COOL               3497 N VASSAR RD                                                                                FLINT            MI     48506‐2226
ALICE COOLEY             PO BOX 8514                                                                                     SHREVEPORT       LA     71148‐8514
ALICE CORNELIUS          143 W GOODMAN DR                                                                                FAIRBORN         OH     45324‐3332
ALICE CORON              2836 HAMPSTEAD DR                                                                               FLINT            MI     48506‐1318
ALICE CORSO              266 LACEY AVE                                                                                   TRENTON          NJ     08610‐2612
ALICE CORWIN             1131 BENTON MASON DR                                                                            LA VERGNE        TN     37086‐2562
ALICE CRAIG              APT A35                       230 WELCOME WAY BOULEVARD                                         INDIANAPOLIS     IN     46214‐4941
ALICE CRAIG              2410 LINKWOOD AVE                                                                               WILMINGTON       DE     19805‐2330
ALICE CRAWFORD           2255 KING AVE APT A                                                                             DAYTON           OH     45420‐4302
ALICE CRAWLEY            205 CADGEWITH E                                                                                 LANSING          MI     48906‐1524
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Name                Address1                       Address2               Address3         Address4               City            State   Zip
ALICE CRIBBS        5863 SCIOTO DARBY RD APT 312                                                                  HILLIARD         OH     43026‐3311
ALICE CRIST         1054 W MONROE ST                                                                              ALEXANDRIA       IN     46001‐8116
ALICE CROCKETT      707 RIVERBANK ST                                                                              LINCOLN PARK     MI     48146‐4390
ALICE CROSBY        9718 MARINERS RIDGE DR                                                                        FORT WAYNE       IN     46819‐2453
ALICE CUDDEBACK     605 OLD WOODS ROAD                                                                            WEBSTER          NY     14580‐1563
ALICE CUMMINGS      5 ELLIS DR                                                                                    BROCKPORT        NY     14420‐2338
ALICE CUMMINGS      PO BOX 1075                                                                                   TAYLOR           MI     48180‐5475
ALICE CUNNINGHAM    PO BOX 2488                                                                                   SPRINGFIELD      OH     45501‐2488
ALICE CURRIER       1103 CARLSON DR                                                                               BURTON           MI     48509‐2305
ALICE CURRY         PO BOX 607                                                                                    GASPORT          NY     14067‐0607
ALICE CUSHNER       318 BROOK STREET                                                                              BRISTOL          CT     06010‐4505
ALICE CZAJA         2600 PATTERSON LAKE RD                                                                        PINCKNEY         MI     48169‐8722
ALICE CZERNEY       693 10 MILE RD NW                                                                             SPARTA           MI     49345‐9459
ALICE D BROCIOUS    7106 WHITE OAK DR                                                                             HUBBARD          OH     44425‐3058
ALICE D HARDMAN     1300 E CORNELL AVE                                                                            FLINT            MI     48505‐1751
ALICE D KAPALKO     PO BOX 169                                                                                    LEAVITTSBURG     OH     44430‐0169
ALICE D PATTERSON   139 CHAIN AVE                                                                                 DAYTON           OH     45427
ALICE D RUSHING     8360 WOODSTOCK DR                                                                             GREENWOOD        LA     71033‐3342
ALICE D TOMKO       305 KENMORE S.E.                                                                              WARREN           OH     44483‐6148
ALICE DAMRON        49576 MARTZ RD                                                                                BELLEVILLE       MI     48111‐2539
ALICE DANIELS       212 STORCH ST                                                                                 SAGINAW          MI     48602‐3044
ALICE DASHNER       128 LAKEVIEW RD                                                                               NILES            OH     44446‐2104
ALICE DAVIDSON      109 BRIARCLIFF RD                                                                             CHERAW           SC     29520‐9626
ALICE DAVIS         1204 BAGLEY DR                                                                                KOKOMO           IN     46902‐3223
ALICE DAVIS         PO BOX 120135                                                                                 BROOKLYN         NY     11212‐0135
ALICE DAVIS         3286 GREENHILL DR                                                                             VILLA RICA       GA     30180‐7810
ALICE DAVIS         1002 BENJAMIN AVE SE                                                                          GRAND RAPIDS     MI     49506‐3223
ALICE DAVIS         1294 VAUGHAN DR                                                                               SAINT LOUIS      MO     63130‐1543
ALICE DAVIS         10340 FARRAND RD                                                                              MONTROSE         MI     48457‐9733
ALICE DAVIS         23107 THORNRIDGE DR                                                                           GRAND BLANC      MI     48439‐9271
ALICE DECKERHOFF    PO BOX 183                                                                                    CHAPPELL HILL    TX     77426‐0183
ALICE DEDERT        6181 NEWCOSTA AVENUE                                                                          NEWAYGO          MI     49337‐8738
ALICE DEGLER        1220 S WASHINGTON ST                                                                          KOKOMO           IN     46902‐6349
ALICE DELORENZO     88 SCOTT SWAMP RD APT 307                                                                     FARMINGTON       CT     06032‐2991
ALICE DENARDO       22775 WATER VIEW DR.                                                                          CANYON LAKE      CA     92587
ALICE DEUSSEN       26095 PATTOW ST                                                                               ROSEVILLE        MI     48066‐3512
ALICE DICK          9428 W LAYTON AVE                                                                             GREENFIELD       WI     53228‐3336
ALICE DICKERSON     3916 S 900 E                                                                                  LAFAYETTE        IN     47905‐9438
ALICE DIEHL         1029 W BOATFIELD AVE                                                                          FLINT            MI     48507‐3605
ALICE DIETRICH      41 MALLOW LN                                                                                  LEVITTOWN        PA     19054‐2011
ALICE DINDERSKI     23 SKY HI DR                                                                                  WEST SENECA      NY     14224‐3113
ALICE DNISTRAN      1946 DRAKE RD                                                                                 BROCKPORT        NY     14420‐9632
ALICE DOLCE         12540 BEEBE RD                                                                                IRVING           NY     14081‐9711
ALICE DOLL          15400 MCLAIN AVE                                                                              ALLEN PARK       MI     48101‐2075
ALICE DOMBROWSKY    112 MEADOWBROOK DR                                                                            MARTINSBURG      WV     25401‐2831
ALICE DONOROVICK    126 BETTY ST.                                                                                 EYNON            PA     18403
ALICE DORSEY        3538 FOREST MANOR AVE                                                                         INDIANAPOLIS     IN     46218‐1562
ALICE DOS SANTOS    52 HUNGERFORD AVE                                                                             WATERBURY        CT     06705‐1930
ALICE DOTY          2021 E 41ST ST                                                                                ANDERSON         IN     46013‐2578
ALICE DOUGLAS       67 CHESTER ST                                                                                 BUFFALO          NY     14208‐1726
ALICE DRAKE         57 ELM ST                                                                                     PARK FOREST       IL    60466‐1702
ALICE DU VALL       9097 COUNTY ROAD 14                                                                           HONEOYE FALLS    NY     14472‐9109
ALICE DUFFEY        2102 BERKLEY STREET                                                                           FLINT            MI     48504‐3438
ALICE DUFRENNE      3701 FOUNTAIN CITY RD                                                                         DE SOTO          MO     63020‐3423
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Name                  Address1                         Address2                   Address3             Address4                 City               State   Zip
ALICE DUNN            3860 NORTHWOODS CT NE UNIT 1                                                                              WARREN              OH     44483‐4580
ALICE DUNN            4043 SARATOGA APT 2240                                                                                    DOWNERS GROVE        IL    60515
ALICE DUNN            3453 RANGELEY ST, APT 7                                                                                   FLINT               MI     48503‐2971
ALICE DUSZCZYK        30115 BLANCKE DR                                                                                          WARREN              MI     48093‐3092
ALICE DUXBURY         3164 LOVE RD                                                                                              GRAND ISLAND        NY     14072‐2430
ALICE DYMOND          10770 DEERHEART VALLEY RD                                                                                 ROSCOMMON           MI     48653‐9102
ALICE E AFZAL‐DAVIS   140 PAWTUCKET ST                                                                                          TROTWOOD            OH     45427‐1942
ALICE E BEEMAN        93 E BEVERLY AVE                                                                                          PONTIAC             MI     48340‐2613
ALICE E BROOKER       1345 WAVERLY DR. NW                                                                                       WARRENN             OH     44483‐1717
ALICE E DECKERHOFF    PO BOX 183                                                                                                CHAPPELL HILL       TX     77426‐0183
ALICE E FIELDS        4775 STRATHMOOR ST                                                                                        SAGINAW             MI     48601‐6940
ALICE E PIERCE        ROBERT W PHILLIPS                SIMMONS BROWDER GIANARIS   707 BERKSHIRE BLVD   PO BOX 521               EAST ALTON           IL    62024
                                                       ANGELIDES & BARNERD LLC
ALICE EARNEST         1020 6TH ST                                                                                               CRESSON             PA     16630
ALICE ECHOLS          3901 MILBOURNE AVE                                                                                        FLINT               MI     48504‐3541
ALICE EDISON          924 GRENOBLE DR. F24                                                                                      LANSING             MI     48917
ALICE EECKHOUT        NOORDSTRAAT 88 B 1                                                               8800 ROESELARE BELGIUM
ALICE EICHELBERGER    8 JEFFERSON CT                                                                                            SAGINAW            MI      48601‐2528
ALICE ELLINGTON       2069 ELMWOOD CIR                                                                                          SNELLVILLE         GA      30078‐2823
ALICE ELLIOT          2658 PATRICK HENRY ST                                                                                     AUBURN HILLS       MI      48326‐2331
ALICE ELLIOTT         2111 ROHRER BLVD                                                                                          RIVERSIDE          OH      45404
ALICE ELLIOTT         9614 E 39TH S                                                                                             INDIANAPOLIS       IN      46235
ALICE ELLIS           1029 PLEASANT GROVE RD                                                                                    TEMPLE             GA      30179‐2150
ALICE ENDERBY         2809 TRANSIT RD                                                                                           NEWFANE            NY      14108‐9703
ALICE ENGLISH         6861 W MAPLE GROVE RD                                                                                     HUNTINGTON         IN      46750‐8926
ALICE ENOCHS          5706 S WEBSTER ST                                                                                         KOKOMO             IN      46902‐5252
ALICE ESQUERRA        2815 LA PLATA AVE                                                                                         HACIENDA HEIGHTS   CA      91745‐5908

ALICE EVANGELO        12069 CHESTERDALE RD                                                                                      CINCINNATI         OH      45246‐2045
ALICE EVANS           227 KELLY MILL RD                                                                                         CUMMING            GA      30040‐2373
ALICE EVANS           1038 FAY BLVD                                                                                             COCOA              FL      32927‐8741
ALICE EVANS           2261 ROBINSON DR                                                                                          BELOIT             WI      53511‐2525
ALICE EVANS           1318 S PLATE ST                                                                                           KOKOMO             IN      46902‐1855
ALICE EVANS           164 PARKGATE AVE                                                                                          YOUNGSTOWN         OH      44515‐3238
ALICE F HARRIS        1025 WATERFORD DR                                                                                         EDISON             NJ      08817‐1923
ALICE F HELMER        39059 SUPERIOR ST                                                                                         ROMULUS            MI      48174‐1033
ALICE F MILLER        1070 ROYCO DROVE                                                                                          ACWORTH            GA      30101
ALICE F SWIFT         20544 SAINT MARYS ST                                                                                      DETROIT            MI      48235‐2135
ALICE F TAYLOR        5096 SILVERDOME DR                                                                                        DAYTON             OH      45414‐3642
ALICE F WARREN        1107 N CENTER ST                                                                                          PLYMOUTH           IN      46563‐1105
ALICE FALL            906 PROSPECT ST                                                                                           LANSING            MI      48912‐1434
ALICE FARQUER X       293 COMMUNITY DR                                                                                          WILMINGTON         OH      45177‐8383
ALICE FASSEL          60 MAPLEWOOD AVE                                                                                          WEST SENECA        NY      14224‐1516
ALICE FAYE BARKER     265 W 700 N                                                                                               KOKOMO             IN      46902‐9308
ALICE FERGUSON        PO BOX 118                                                                                                EMINENCE           MO      65466‐0118
ALICE FERGUSON        4680 N. HORIZAN DR.                                                                                       LOGANVILLE         GA      30052
ALICE FERRARA         416 SHERRY CIR NW                                                                                         FORT WALTON        FL      32548‐4003
                                                                                                                                BEACH
ALICE FIELDING        9731 COUNTRY CORNER RD                                                                                    ATHENS             AL      35614‐4455
ALICE FIELDS          2855 HARMONY RD                                                                                           TEMPLE             GA      30179‐2917
ALICE FIELDS          4775 STRATHMOOR ST                                                                                        SAGINAW            MI      48601‐6940
ALICE FIKE            3943 LAKE PLEASANT RD                                                                                     NORTH BRANCH       MI      48461‐8563
ALICE FINES           2600 W JEFFERSON ST              1311                                                                     KOKOMO             IN      46901‐1750
ALICE FINK            976 E 69TH PL                                                                                             CLEVELAND          OH      44103‐1760
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ALICE FINLEY       117 GAZEBO EAST DR APT E                                                                         MONTGOMERY          AL 36117‐6119
ALICE FISHER       4334 HARDISON MILL RD                                                                            COLUMBIA            TN 38401‐7673
ALICE FITE         81 WEAVER RD                                                                                     WEST UNION          OH 45693‐8909
ALICE FLANDRENA    419 W VAN NORMAN AVE                                                                             MILWAUKEE           WI 53207‐5839
ALICE FLEMING      130 MARILYN DR E                                                                                 FAYETTEVILLE        GA 30214‐1148
ALICE FLOOD        15378 ROBSON ST                                                                                  DETROIT             MI 48227‐2637
ALICE FLORA        5 MAIN ST APT 806                                                                                TONAWANDA           NY 14150‐2138
ALICE FLOWERS      145 GRAYMIST LN                                                                                  LOGANVILLE          GA 30052‐7817
ALICE FODO         ROUTE 1                           358 N. BOWKER RD                                               MUNGER              MI 48747
ALICE FOLSOM       2027 E 41ST ST                                                                                   ANDERSON            IN 46013‐2578
ALICE FORBACH      245 COLLINS AVE                                                                                  BUFFALO             NY 14224‐1185
ALICE FORD         1444 ESTERS RD APT 1105                                                                          IRVING              TX 75061‐9129
ALICE FOSTER       4575 ATLANTA HWY                                                                                 ALPHARETTA          GA 30004‐2987
ALICE FOWLKES      8701 S COUNTRY DR APT 103                                                                        OAK CREEK           WI 53154‐3879
ALICE FRANKLIN     1218 WILLOW WOOD DR                                                                              HUBBARD             OH 44425
ALICE FREEMAN      165 RICHARDSON AVE                                                                               MC KENZIE           TN 38201‐2652
ALICE FREVE        3692 WILDER RD                                                                                   CANTONMENT          FL 32533‐9575
ALICE FRIAR        2380 AURORA POND DR SW APT 207                                                                   WYOMING             MI 49519‐9671
ALICE FRIES        6206 145TH AVE NE                                                                                REDMOND             WA 98052‐4620
ALICE FRITZ        1325 FORBES STREET                                                                               N TONAWANDA         NY 14120‐1860
ALICE FRY          1201 W ELM ST                                                                                    GREENWOOD           MO 64034‐9602
ALICE FRY          2019 DEL WEBB BLVD E                                                                             SUN CITY CENTER     FL 33573‐6924
ALICE FULLER       218 VASBINDER DR                                                                                 CHESTERFIELD        IN 46017‐1130
ALICE FURIA        1 NOTRE DAME CT                                                                                  DELRAN              NJ 08075‐1716
ALICE FURMAN       10272 GRINDSTONE TRL                                                                             EVART               MI 49631‐8568
ALICE G GEORGE     PO BOX 26306                                                                                     DAYTON              OH 45426
ALICE G MCGRIFF    PO BOX 1116                                                                                      WALLED LAKE         MI 48390‐5116
ALICE G THOMPSON   2995 E GRAND BLVD                                                                                DETROIT             MI 48202‐3133
ALICE GAGE         1704 N LAFAYETTE ST                                                                              DEARBORN            MI 48128‐1146
ALICE GALE         317 E BLACKBURN ST                                                                               PARIS                IL 61944‐1235
ALICE GAMBER       9035 DODGE RD                                                                                    MONTROSE            MI 48457‐9132
ALICE GANDER       2604 COLUMBIA RD                                                                                 MEDINA              OH 44256‐9474
ALICE GARRETT      670 JARVIS RD                                                                                    AKRON               OH 44319‐2538
ALICE GARRETT      115 S 10TH ST                                                                                    SAGINAW             MI 48601‐1806
ALICE GARZA        9032 CHESTERFIELD DR                                                                             SWARTZ CREEK        MI 48473‐1120
ALICE GAY          1159 ECKMAN AVE                                                                                  PONTIAC             MI 48342‐1934
ALICE GAYLOR       394 GURGANUS RD                                                                                  MAPLE HILL          NC 28454‐8629
ALICE GEIBEL       30 RIVER EDGE DRIVE                                                                              BRICK               NJ 08724
ALICE GERALD       PO BOX 1015                                                                                      FLINT               MI 48501‐1015
ALICE GERKEN       2025 STATE HWY                                                                                   FORSYTH             MO 65653
ALICE GERVAIS      259 PARK ST                                                                                      MALONE              NY 12953‐1200
ALICE GHEKIERE     29325 ELMWOOD CT                                                                                 SAINT CLAIR SHORES MI 48081‐3008

ALICE GIBSON       2315 KEENAN AVE                                                                                  DAYTON             OH   45414‐4645
ALICE GILLES       6800 DIXIE HWY                                                                                   BRIDGEPORT         MI   48722‐9759
ALICE GILLIES      2184 MEADOW LN                                                                                   GRAND ISLAND       NY   14072‐2111
ALICE GILMORE      1455 SUN TERRACE DR                                                                              FLINT              MI   48532‐2220
ALICE GIORDANO     16136 SIRUS MINE LN                                                                              SONORA             CA   95370‐9673
ALICE GIPSON       1609 PRINCESS ELAINE ST                                                                          SHREVEPORT         LA   71107‐4325
ALICE GLOVER       1220 DAN GOULD DR                                                                                ARLINGTON          TX   76001‐7109
ALICE GOINS        4033 KENDALL ST                                                                                  DETROIT            MI   48238‐2654
ALICE GOLDBERG     262 WHITE AVE                                                                                    OZARK              AL   36360‐0906
ALICE GOLDZWIG     257 4TH AVE N                                                                                    SAFETY HARBOR      FL   34695‐3632
ALICE GOLEC        2372 N HUMBOLDT BLVD                                                                             MILWAUKEE          WI   53212‐3524
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ALICE GONZALEZ       12288 E RICHFIELD RD                                                                         DAVISON          MI     48423‐8406
ALICE GOODING        PO BOX 430722                                                                                PONTIAC          MI     48343‐0722
ALICE GOODMAN        PO BOX 576                                                                                   SANBORN          NY     14132‐0576
ALICE GRACEY         24124 24 MILE RD                                                                             MACOMB           MI     48042‐3307
ALICE GRAHAM         2003 ROBERTS ST                                                                              WILMINGTON        IL    60481‐1734
ALICE GRANIERO       854 SKY BLUE DR                                                                              KNOXVILLE        TN     37923‐2337
ALICE GRAVES         6626 YORKSHIRE COURT                                                                         HOLLY            MI     48442‐8878
ALICE GRAVES P       8244 GREENLAWN ST                                                                            DETROIT          MI     48204‐3204
ALICE GRAY           1366 18 MILE RD                                                                              KENT CITY        MI     49330‐9462
ALICE GRAY           3953 CRYSTAL WATERS LN NE                                                                    GRAND RAPIDS     MI     49525‐9467
ALICE GREBLE         1623 S SWOPE DR                                                                              INDEPENDENCE     MO     64057‐2162
ALICE GREEN          1120 DUNAWAY ST               KINGSTON OF MIANISBURG                                         MIAMISBURG       OH     45342‐3839
ALICE GRIFFITHS      737 WILLOWBROOK DR                                                                           LOCKPORT         NY     14094‐9127
ALICE GROMACK        6225 COLLEEN DR               C/O HARVEY L GROMACK                                           CONCORD TWP      OH     44077‐2407
ALICE GUTZLAFF       1004 BEECH ST APT 220                                                                        GRAFTON          WI     53024‐3205
ALICE H JOHNSON      5955 FLORAL DR                                                                               JACKSON          MS     39206
ALICE H JURANOVICH   775 S STATE LINE RD                                                                          SHARON           PA     16146‐1183
ALICE HADDAD         4205 WILLIAMS ST                                                                             DEARBORN HTS     MI     48125‐2751
ALICE HALE           87 RAMONA DR                                                                                 FAIRBORN         OH     45324‐4317
ALICE HALEY          13 DOOLITTLE DR                                                                              DAYTON           OH     45431‐1342
ALICE HALL           5100 SHADY OAK DR                                                                            HILLIARD         OH     43026‐8551
ALICE HALL           33 KNOX ST                                                                                   ECORSE           MI     48229‐1720
ALICE HALL           PO BOX 884                                                                                   CORTLAND         OH     44410‐0884
ALICE HALL           PO BOX 383                                                                                   GAS CITY         IN     46933‐0383
ALICE HALL           9100 N VASSAR RD                                                                             MOUNT MORRIS     MI     48458‐9726
ALICE HALLIDAY       2152 OGDEN AVE NW                                                                            WARREN           OH     44483‐3252
ALICE HAMLIN         2404 E 6TH ST                                                                                ANDERSON         IN     46012‐3639
ALICE HAMPTON        1055 CLEVELAND AVE                                                                           KANSAS CITY      KS     66104‐5556
ALICE HARDY          8174 CHOCTAW LN                                                                              SHREVEPORT       LA     71107‐9439
ALICE HARLEMAN       307 CENTER ST                                                                                GORDON           OH     45304‐9583
ALICE HARRIS         1401 BERRY ST                                                                                WADESBORO        NC     28170‐3004
ALICE HARRIS         175 RALEIGH DRIVE                                                                            ELYRIA           OH     44035‐4729
ALICE HARRIS         501 NORTH WHITFORD ROAD                                                                      EXTON            PA     19341
ALICE HARRIS         2657 SILVERSTRAND DR                                                                         HILLIARD         OH     43026‐8087
ALICE HARRIS         1025 WATERFORD DR                                                                            EDISON           NJ     08817‐1923
ALICE HARRISON       337 PADEN DR                                                                                 LAWRENCEVILLE    GA     30044‐3610
ALICE HARRISON       26698 STATE ROAD 19                                                                          ARCADIA          IN     46030‐9725
ALICE HARRISON       5165 TOKAY DR                                                                                FLINT            MI     48507‐2916
ALICE HARTMAN        5100 NORTH RD                                                                                STANDISH         MI     48658‐9795
ALICE HARVEY         807 W ALTO RD                                                                                KOKOMO           IN     46902‐4964
ALICE HATFIELD       5654 CENTRAL DR                                                                              MONROE           MI     48161‐3676
ALICE HAYES          123 REID PLANTATION DR                                                                       VILLA RICA       GA     30180‐5309
ALICE HAYSLIP        99 A ST                                                                                      WILMINGTON       OH     45177‐1369
ALICE HAZELWOOD      5331 W N00S                                                                                  MARION           IN     46953
ALICE HEARD          720 ERNROE DR                                                                                DAYTON           OH     45408‐1508
ALICE HEATH          1713 JEFFERSON ST                                                                            ANDERSON         IN     46016‐2014
ALICE HEFFNER        25 FAIRWAY DR                                                                                YARDLEY          PA     19067‐1646
ALICE HEFLIN         29 FOREST ST                                                                                 MONTCLAIR        NJ     07042‐3550
ALICE HEINRICH       482 S BRYAR ST                                                                               WESTLAND         MI     48186‐3833
ALICE HELMER         39059 SUPERIOR ST                                                                            ROMULUS          MI     48174‐1033
ALICE HENDERSON      13216 G.A.R. HIGHWAY                                                                         CHARDON          OH     44024
ALICE HENDRIX        2779 CARRIAGE LN                                                                             COLLEGE PARK     GA     30349‐4274
ALICE HENNEBOHL      PO BOX 84                                                                                    GASPORT          NY     14067‐0084
ALICE HENNESSY       2534 EDGEMERE ST                                                                             COMMERCE TWP     MI     48382‐3523
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ALICE HENRY            6505 ROYAL OAKS DR                                                                                FOREST HILL       TX 76119‐7621
ALICE HENSEL           1285 WOODLOW ST                                                                                   WATERFORD         MI 48328‐1361
ALICE HERGESHEIMER     107 E MORSE AVE                                                                                   BONNER SPRINGS    KS 66012‐1846
ALICE HERRING          1301 POLK CITY RD LOT 150                                                                         HAINES CITY       FL 33844
ALICE HESLER           425 ARLINGTON RD APT 3             ARLINGTON ARMS                                                 BROOKVILLE        OH 45309‐1134
ALICE HESS             42188 TODDMARK LN APT 2                                                                           CLINTON TOWNSHIP MI 48038

ALICE HESSENAUER       2215 HUBBARD ST                                                                                   JANESVILLE       WI   53546‐3154
ALICE HEWITT           6296 WILLIAMS LAKE RD                                                                             WATERFORD        MI   48329‐3061
ALICE HILDRETH         PO BOX 558                                                                                        NEWTON FALLS     OH   44444‐0558
ALICE HINDMARCH        1985 S CARPENTER AVE                                                                              ORANGE CITY      FL   32763‐7334
ALICE HODGES           2001 N DEQUINCY ST                                                                                INDIANAPOLIS     IN   46218‐4635
ALICE HOFFMAN          THE QUADRANGLE                     3300 DARBY ROAD APT 7214                                       HAVERFORD        PA   19041
ALICE HOFFMANN         3204 EWINGS RD                                                                                    NEWFANE          NY   14108‐9605
ALICE HOLEC            4221 WEISS ST                                                                                     SAGINAW          MI   48603‐4147
ALICE HOLLAND          8203 NW MACE RD                                                                                   KANSAS CITY      MO   64152‐4621
ALICE HOLTON           123 KENEC DR                                                                                      MIDDLETOWN       OH   45042‐4807
ALICE HOLY             4521 BROOKVILLE RD                                                                                INDIANAPOLIS     IN   46201‐4703
ALICE HOMER            PO BOX 201                                                                                        BENNINGTON       OK   74723‐0201
ALICE HOOVER           6616 N HUNTINGTON RD                                                                              MARION           IN   46952‐9648
ALICE HOOVER           1518 BORN TRL                                                                                     LANSING          MI   48911‐7016
ALICE HORN             147 N RIVER CT APT 325                                                                            MOUNT CLEMENS    MI   48043‐1965
ALICE HORTON           8522 S THROOP ST                                                                                  CHICAGO          IL   60620‐4039
ALICE HORWATT          510 GREENSIDE DR                                                                                  PAINESVILLE      OH   44077‐4800
ALICE HOSTE            8775 LAKE RD                                                                                      BARKER           NY   14012‐9530
ALICE HOWARD           3170 WEILACHER RD SW                                                                              WARREN           OH   44481‐9185
ALICE HREHOCIK         1339 E 360TH ST                                                                                   EASTLAKE         OH   44095‐3132
ALICE HUFF             1880 E LYTLE 5 POINTS RD                                                                          DAYTON           OH   45458‐5206
ALICE HUGHSON          227‐605 LAURELWOOD DR                                                      WATERLOO ON N2V2W7
                                                                                                  CANADA
ALICE HUMPHREY         1392 YOUNGSTOWN‐SALT SPRS.                                                                        MINERAL RIDGE    OH   44440
ALICE HUNT             308 FIRESIDE DRIVE                                                                                COLUMBIA         SC   29212‐1547
ALICE HUNTER           408 SHIRLEY RD                                                                                    SUMMIT POINT     WV   25446‐3668
ALICE HUNTER           1230 WESTMORELAND DR                                                                              BURLINGTON       NC   27217‐1466
ALICE HURLEY           730 S SAGINAW ST APT 211                                                                          LAPEER           MI   48446‐2683
ALICE HUS              505 GERMANIA ST APT 103                                                                           BAY CITY         MI   48706‐5079
ALICE HUTCHINSON       13820 ELMS RD                                                                                     BIRCH RUN        MI   48415‐8777
ALICE HYDE MEDICAL C   PO BOX 429                                                                                        MALONE           NY   12953‐0429
ALICE HYLAND           70 ELM ST                                                                                         KEARNY           NJ   07032‐3334
ALICE IGNASIAK         86 RYAN ST                                                                                        BUFFALO          NY   14210‐2309
ALICE INGE             11624 CASIMIR AVE                                                                                 HAWTHORNE        CA   90250‐1991
ALICE INSALACO         477 DUANE DR                                                                                      N TONAWANDA      NY   14120‐4138
ALICE IRVINE           8618 DARLENE ST                                                                                   WARREN           MI   48093‐4961
ALICE ISBRANDT         116 FAIRELM LN                                                                                    CHEEKTOWAGA      NY   14227‐1364
ALICE J CARRELL        629 JACKSON TRAIL                                                                                 ATTALLA          AL   35954
ALICE J HARRIS         C/O WILLIAMS KHERKHER HART &       8441 GULF FREEWAY STE 600                                      HOUSTON          TX   77007
                       BOUNDAS LLP
ALICE J NAILS          309 WHISPERING DR                                                                                 TROTWOOD         OH   45426‐3032
ALICE J OSBORNE        909 ST MATTHEW DR                                                                                 CAHOKA           IL   62206
ALICE J RHODES         5430 RAWLINGS DR.                                                                                 DAYTON           OH   45432‐3624
ALICE J ROGERS         59 DRAKE AVE.                                                                                     DAYTON           OH   45405‐4134
ALICE JACKSON          1465 WILLIAMSBURG RD                                                                              FLINT            MI   48507‐5640
ALICE JACKSON          192 FAIRWAY DR                                                                                    MOORESBURG       TN   37811‐5613
ALICE JACOBS           533 LYNDALE DR                                                                                    HARTSVILLE       SC   29550‐4617
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Name                  Address1                      Address2                         Address3   Address4               City               State   Zip
ALICE JACOBS          850 SEACREST DR                                                                                  LARGO               FL     33771‐1330
ALICE JAJE            49313 FRANCES DR                                                                                 MACOMB              MI     48044‐1639
ALICE JANOS DENARDO   22775 WATER VIEW DR                                                                              CANYON LAKE         CA     92587
ALICE JEWELL          28123 BRUSH ST                                                                                   MADISON HEIGHTS     MI     48071‐2868

ALICE JIMENEZ         28 SHAWNEE LN                                                                                    MONROE             CT      06468
ALICE JOHNSON         1381 HOWLAND WILSON RD NE                                                                        WARREN             OH      44484‐1658
ALICE JOHNSON         1594 CLINTON PL                                                                                  HILLSIDE           NJ      07205‐1436
ALICE JOHNSON         7518 FAIRFIELD DR                                                                                ROWLETT            TX      75089‐2055
ALICE JOHNSON         10892 N BINGHAM AVE                                                                              BITELY             MI      49309‐9688
ALICE JOHNSON         3277 N NEWHALL ST                                                                                MILWAUKEE          WI      53211‐3043
ALICE JOHNSON         537 OWEN ST                                                                                      DETROIT            MI      48202‐1818
ALICE JOHNSON         612 N SHERIDAN ST                                                                                ALEXANDRIA         IN      46001‐1327
ALICE JOHNSTON        4359 SHELBY ST                                                                                   INDIANAPOLIS       IN      46227‐3762
ALICE JONES           5842 HONEYBELL CT                                                                                FORT PIERCE        FL      34982‐3963
ALICE JONES           2304 PRESTONWOOD CT                                                                              ARLINGTON          TX      76012‐5422
ALICE JONES           PO BOX 1525                                                                                      MANSFIELD          OH      44901‐1525
ALICE JORDAN          1461 BUD AVE                                                                                     YPSILANTI          MI      48198‐3308
ALICE JURANOVICH      775 S STATE LINE RD                                                                              SHARON             PA      16146‐1183
ALICE K JOHNSON       1381 HOWLAND WILSON RD NE                                                                        WARREN             OH      44484‐1658
ALICE KARRICK         585 N STATE ROUTE 741         OTTERBEIN LEBANON RETIREMENT C                                     LEBANON            OH      45036‐8840
ALICE KAY             134 SCOTT CREEK DR                                                                               CROSSVILLE         TN      38571‐3649
ALICE KEENER          7513 BURNETTE ST                                                                                 DETROIT            MI      48210‐3304
ALICE KELLEY          242 VEVAY DR E                                                                                   MASON              MI      48854‐9226
ALICE KELLY           1348 WISCONSIN AVE                                                                               BELOIT             WI      53511‐4557
ALICE KEMP            3914 M L KING AVE                                                                                FLINT              MI      48505‐3701
ALICE KENDER          740 MULDOWNEY AVE                                                                                WEST MIFFLIN       PA      15122‐1131
ALICE KENNEDY         2170 N VASSAR RD                                                                                 DAVISON            MI      48423‐9551
ALICE KENNEDY         PO BOX 235                                                                                       RAYVILLE           LA      71269‐0235
ALICE KENNEY          8571 N SEYMOUR RD                                                                                FLUSHING           MI      48433‐9267
ALICE KERTESZ         2173 S CENTER RD APT 337                                                                         BURTON             MI      48519‐1806
ALICE KIMMEL          35310 LONE PINE LN                                                                               FARMINGTON HILLS   MI      48335‐4699

ALICE KING            130ALABANY WAY # 9                                                                               BEECH GROVE         IN     46107‐1495
ALICE KINNEY          3221 STAPLETON RD                                                                                AVOCA               MI     48006‐4323
ALICE KINNEY          4414 PLEASANT FOREST DR                                                                          DECATUR             GA     30034‐2427
ALICE KISH            7445 NEW HAMPSHIRE DR         DRIVE                                                              DAVISON             MI     48423‐9512
ALICE KITSON          394 RUBY LN                                                                                      WHITMORE LAKE       MI     48189‐8270
ALICE KITTLES         APT 202                       9087 HARPER STREET                                                 LINDEN              MI     48451‐9735
ALICE KLAVANIAN       3166 RAVINEWOOD DR                                                                               COMMERCE            MI     48382‐1474
                                                                                                                       TOWNSHIP
ALICE KLEMPIRIK       1310 W OLIVER ST APT 8                                                                           OWOSSO             MI      48867
ALICE KLIEFOTH        112 BUBLITZ ROAD                                                                                 EDGERTON           WI      53534‐9563
ALICE KLINE           BAYRIDGE ASSITED LIVING       3825 SCENIC RIDGE DRIVE                                            TRAVERSE CITY      MI      49684
ALICE KLINGER         PO BOX 711                                                                                       WILSON             NY      14172‐0711
ALICE KNAPKO          204 CORNWALLICE CT                                                                               FLINT              MI      48507‐5913
ALICE KNAPP           310 BARMONT DR                                                                                   ROCHESTER          NY      14626‐1508
ALICE KNUTH           2600 E BEVERLY RD                                                                                SHOREWOOD          WI      53211‐2436
ALICE KOHN            26910 GRAND CENTRAL PKWY      APT 12S                                                            FLORAL PARK        NY      11005
ALICE KOLAK           711 W DEVEREAUX LAKE RD                                                                          INDIAN RIVER       MI      49749‐9527
ALICE KOO             8019 WASHINGTON PARK DR                                                                          DAYTON             OH      45459‐3652
ALICE KOPACSI         4214 N LINDEN RD                                                                                 FLINT              MI      48504‐1385
ALICE KOPPMAN         2925 FLAMETREE DR                                                                                SAINT LOUIS        MO      63129‐2416
ALICE KOPSAK          18 ZIPP AVE                                                                                      BRISTOL            CT      06010‐6768
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Name                 Address1                       Address2               Address3         Address4               City             State Zip
ALICE KORBEL         1960 CRESTVIEW WAY                                                                            NAPLES            FL 34119‐3302
ALICE KOVACH         8765 BUCKSKIN DR                                                                              COMMERCE          MI 48382‐3403
                                                                                                                   TOWNSHIP
ALICE KOWALSKI       698 SAUL DR                                                                                   HUBBARD          OH   44425‐1253
ALICE KOZEK          2056 STONY POINT RD                                                                           GRAND ISLAND     NY   14072‐2139
ALICE KOZLOWSKI      300 HOLLAND RD                                                                                HOLLAND          PA   18966‐1836
ALICE KRAKOWIAK      10 HALEY LANE                                                                                 CHEEKTOWAGA      NY   14227
ALICE KRASCELL       8530 N RUESS RD                                                                               HENDERSON        MI   48841‐9732
ALICE KREFELD        12624 PAGELS DR APT 111                                                                       GRAND BLANC      MI   48439‐2400
ALICE KRUTULIS       24 HIGHBRIDGE XING APT 1109                                                                   ASHEVILLE        NC   28803‐4164
ALICE KRYS           4564 COUNTRY GLEN CR.                                                                         AUGUSTA          GA   30813
ALICE KUGEL          24 VERDUN PL                                                                                  CHEEKTOWAGA      NY   14225‐3119
ALICE L ANDREWS      4353 SOUTH TECUMSEH RD                                                                        SPRINGFIELD      OH   45502‐9757
ALICE L COOK TR      1975 JOLLY RD                                                                                 OKEMOS           MI   48864‐3957
ALICE L CUNNINGHAM   606 1/2 MASON ST                                                                              SPRINGFIELD      OH   45503‐4122
ALICE L CUNNINGHAM   PO BOX 2488                                                                                   SPRINGFIELD      OH   45501‐2488
ALICE L CZAJA        2600 PATTERSON LAKE RD                                                                        PINCKNEY         MI   48169‐8722
ALICE L EICHAS       29 WEST AVE 1                                                                                 LIVONIA          NY   14487
ALICE L GONZALEZ     12288 E RICHFIELD RD                                                                          DAVISON          MI   48423‐8406
ALICE L HINKLE       PO BOX 10132                                                                                  DAYTON           OH   45402
ALICE L KELLY        1348 WISCONSIN AVE                                                                            BELOIT           WI   53511‐4557
ALICE L KOWALSKI     698 SAULS DR.                                                                                 HUBBARD          OH   44425‐1253
ALICE LABEAU         6187 COUNTRY WAY N                                                                            SAGINAW          MI   48603‐1086
ALICE LABELLE        PO BOX 365                                                                                    MOUNT MORRIS     MI   48458‐0365
ALICE LADUKE         6201 HARTEL RD                                                                                POTTERVILLE      MI   48876‐8740
ALICE LAKEY          5413 MALTESE DR                                                                               COLUMBUS         GA   31904‐4940
ALICE LAMBERT        31147 MACKENZIE DRIVE                                                                         WESTLAND         MI   48185‐1632
ALICE LAMPKINS       616 ROCKY MEADOW DR                                                                           GREENWOOD        IN   46143‐7767
ALICE LANTZ          9415 KINGSTON DR                                                                              BRADENTON        FL   34218‐1830
ALICE LAWSON         PO BOX 25                                                                                     PAULDING         OH   45879‐0025
ALICE LAWSON         2461 PINGREE AVE                                                                              LINCOLN PARK     MI   48146‐3052
ALICE LEMIEUX        26235 W. WARREN AVE .          LOT #84                                                        DEARBORN HTS     MI   48127
ALICE LERETTE        1080W WILLARD RD                                                                              BIRCH RUN        MI   48415
ALICE LESLIE         705 BAY RD                                                                                    BAY CITY         MI   48706‐1931
ALICE LETZIG         8915 E GREGORY BLVD                                                                           RAYTOWN          MO   64133‐6403
ALICE LEWIS          608 S OVERTON AVE                                                                             INDEPENDENCE     MO   64053‐1747
ALICE LEWIS          2101 ORMOND BOULEVARD                                                                         DESTREHAN        LA   70047‐2004
ALICE LEYS           739 SAINT CLAIR AVE NW                                                                        GRAND RAPIDS     MI   49534‐3422
ALICE LHEUREUX       3849 W 70TH ST                                                                                CHICAGO          IL   60629‐4214
ALICE LINKSWILER     550 COUNTY RD BOX 282                                                                         MARQUETTE        MI   49855
ALICE LINTON         10188 RIDGE RD                                                                                GOODRICH         MI   48438‐9416
ALICE LIRA           1920 FOREST AVE                                                                               LANSING          MI   48910‐3102
ALICE LISSIMORE      7539 GLENWOOD AVE                                                                             BOARDMAN         OH   44512‐5420
ALICE LIST           PO BOX 122                     713 NEILTING ST                                                CHESANING        MI   48616‐0122
ALICE LITTLE         10750 BEARDSLEE RD                                                                            PERRY            MI   48872‐9753
ALICE LITTLE         4750 NE 14TH TER                                                                              POMPANO BEACH    FL   33064‐5820
ALICE LITTLE         607 HILLSIDE XING                                                                             POMPTON PLAINS   NJ   07444‐2181
ALICE LOCICERO       1406 NO EAST 21 PL                                                                            CAPE CORAL       FL   33909
ALICE LOCKHART       1113 E SOUTHWAY BLVD                                                                          KOKOMO           IN   46902‐4361
ALICE LOCRICCHIO     37043 COLGATE CT                                                                              STERLING HTS     MI   48310‐4044
ALICE LORD           1050 MULBERRY ST                                                                              WYANDOTTE        MI   48192‐4115
ALICE LOVE           726 HERITAGE SQUARE DR                                                                        MADISON          TN   37115‐5914
ALICE LOWE           155 HANGING MOSS LN                                                                           DELTONA          FL   32725‐9416
ALICE LOWE           1244 BURLINGAME ST                                                                            DETROIT          MI   48202‐1037
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Name                Address1                         Address2                    Address3   Address4               City            State   Zip
ALICE LOWREY        800 SMITH RD APT 16                                                                            TEMPERANCE       MI     48182‐1086
ALICE LYKINS        202 OLD WHITLEY RD                                                                             LONDON           KY     40744‐7539
ALICE LYLE          6632 GEORGE WASHINGTON DR                                                                      JACKSON          MS     39213‐3016
ALICE LYNCH         PO BOX 104                                                                                     OAKFIELD         NY     14125‐0104
ALICE LYNK          535 N GROSSE POINTE RD                                                                         BARTON CITY      MI     48705‐9727
ALICE LYNN          3637 PLEASANTDALE RD APT B1                                                                    ATLANTA          GA     30340‐4554
ALICE M BACON       1559 BAKER STREET                                                                              BAKER CITY       OR     97814
ALICE M BAILEY      2236 COMMONS AVE                                                                               JANESVILLE       WI     53546‐5966
ALICE M BAILEY      2152 BROADBENT WAY.                                                                            KETTERING        OH     45440‐2529
ALICE M BAKER       607 BRUMBAUGH DR                                                                               NEW CARLISLE     OH     45344‐2524
ALICE M BREWSTER    801 BELEY AVE                                                                                  SYRACUSE         NY     13211‐1305
ALICE M BROWN       325 QUEEN CATHERINE LANE                                                                       JACKSON          MS     39209‐2904
ALICE M CHESTNUT    34 FAIRCREST AVE                                                                               TRENTON          NJ     08609‐1306
ALICE M CLARY       9805 RED OAK LN                                                                                PARKVILLE        MO     64152‐2569
ALICE M COULTER     1017 ASTORIA RD                                                                                GERMANTOWN       OH     45327‐1710
ALICE M COVINGTON   C/O WILLIAMS KHERKHER HART &     8441 GULF FREEWAY STE 600                                     HOUSTON          TX     77007
                    BOUNDAS LLP
ALICE M CRAWFORD    2255 KING AVE APT A                                                                            DAYTON          OH      45420‐4302
ALICE M ECHOLS      3901 MILBOURNE AVE                                                                             FLINT           MI      48504‐3541
ALICE M ELLIOTT     2111 ROHRER BLVD                                                                               RIVERSIDE       OH      45404
ALICE M FORT        661 W BETHUNE ST                                                                               DETROIT         MI      48202‐2708
ALICE M GALASHAW    1157 BROOKE PARK DR                                                                            TOLEDO          OH      43612‐4215
ALICE M HALL        PO BOX 884                                                                                     CORTLAND        OH      44410
ALICE M KELLEY      242 VEVAY DR E                                                                                 MASON           MI      48854‐9226
ALICE M KILLOUGH    36 GULF SHORES DR                                                                              OFALLON         MO      63368
ALICE M KLIEFOTH    112 BUBLITZ ROAD                                                                               EDGERTON        WI      53534‐9563
ALICE M MEAHL       3 FERN AVE                                                                                     BAY SHORE       NY      11706‐5510
ALICE M MICHAEL     165 SASSAFRAS TREE CIR                                                                         NEWARK          DE      19702‐3613
ALICE M REINER      253 SERVICE AVE                                                                                SHARON          PA      16146‐3107
ALICE M ROSS        503 BOSTON RD                                                                                  SYRACUSE        NY      13211‐1212
ALICE M SOCCORSY    35 CHERRY HILL CT                                                                              CANFIELD        OH      44406‐8638
ALICE M STORY       100 SYCAMORE PLACE                                                                             ATHENS          AL      35611‐2300
ALICE M WESS        1278 STUBEN DR                                                                                 DAYTON          OH      45427‐2150
ALICE M WHITE       2034 OIL FIELD LN NW                                                                           BROOKHAVEN      MS      39601‐8606
ALICE M WHITLEY     3082 E STANLEY RD                                                                              MOUNT MORRIS    MI      48458‐8805
ALICE M WILSON      1005 LUM AVE                                                                                   KALAMAZOO       MI      49048‐2144
ALICE M WORLDS      408 1/2 MARTIN LUTHER KING DR.                                                                 MICHIGAN CITY   IN      46360
ALICE MACHTEL       119 EVESHAM DR                                                                                 SUMMERVILLE     SC      29485‐5849
ALICE MAGERS        808 SHERMAN ST                                                                                 BUCYRUS         OH      44820‐1646
ALICE MAIANI        249 MADDEN AVENUE                                                                              BELLEVUE        OH      44811‐9758
ALICE MALEK         205 ARTHUR ST                                                                                  YALE            MI      48097‐2905
ALICE MANSFIELD     32115 WARREN RD                                                                                GARDEN CITY     MI      48135‐1725
ALICE MANSHIP       306 S EAST ST                                                                                  PENDLETON       IN      46064‐1214
ALICE MARLIN        3225 DAKOTA AVE                                                                                FLINT           MI      48506‐3040
ALICE MARLOW        1105 COCHISE TRL                                                                               CROSSVILLE      TN      38572‐6325
ALICE MARRISON      900 HIDDEN RIDGE COURT           UNIT 202                                                      SOUTH PARK      PA      15129
ALICE MARSHALL      11026 SUGAR PINES CT APT H                                                                     FLORISSANT      MO      63033‐8251
ALICE MARSZAL       4108 E 76TH ST                                                                                 CLEVELAND       OH      44105‐5013
ALICE MARTIN        111 PILGRIM RD                                                                                 TONAWANDA       NY      14150‐9027
ALICE MARTIN        806 N MCDONOUGH ST                                                                             JONESBORO       GA      30236‐3392
ALICE MARTIN        3151 LAKE RD                                                                                   CUMMING         GA      30040‐7406
ALICE MARTIN        3375 STATE ROUTE 96 E                                                                          SHELBY          OH      44875‐9452
ALICE MARTIN        12595 TUSCOLA RD                                                                               CLIO            MI      48420‐1087
ALICE MARTINCIC     11 NEPAHWIN DR                                                                                 TIMBERLAKE      OH      44095‐1938
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ALICE MASON        1209 TRENTON LN                                                                            EULESS              TX     76040‐6367
ALICE MATHEWS      4701 KEPPLER PL                                                                            TEMPLE HILLS        MD     20748‐2100
ALICE MATHIS       4642 BESSIE AVE                                                                            SAINT LOUIS         MO     63115‐2424
ALICE MATUCH       140 HERITAGE DR                                                                            ST SIMONS ISLAND    GA     31522‐2023
ALICE MAXON        2788 ISLAND LAKE DR          BOX 3070                                                      NATIONAL CITY       MI     48748
ALICE MAY          6906 S WABASH AVE                                                                          CHICAGO              IL    60637‐4515
ALICE MAYLE        5786 YOUNGSTOWN HUBBARD RD                                                                 HUBBARD             OH     44425‐2552
ALICE MC CAFFERY   177 ROSWELL AVE                                                                            BUFFALO             NY     14207‐1016
ALICE MC CRUM      7252 CLEMENT RD                                                                            CLARKSTON           MI     48346‐2610
ALICE MC DONALD    105 BAYBERRY CIR                                                                           BRIDGEWATER         MA     02324‐2933
ALICE MC KINNEY    PO BOX 322                                                                                 HOHENWALD           TN     38462‐0322
ALICE MC NEELY     700 N PERRY ST                                                                             PONTIAC             MI     48342‐1565
ALICE MCCLELLAN    403 E 2ND ST                                                                               LIMA                OH     45804‐2007
ALICE MCCLURE      5372 REGENCY DR                                                                            PARMA               OH     44129‐5961
ALICE MCCORMICK    CASCINO MICHAEL P            220 SOUTH ASHLAND AVE                                         CHICAGO              IL    60607
ALICE MCCORMICK    MICHAEL P CASCINO            220 SOUTH ASHLAND AVENUE                                      CHICAGO              IL    60607
ALICE MCCRACKEN    4143 DEBORAH ST                                                                            INDIANAPOLIS        IN     46222‐4634
ALICE MCCRAY       770 LAKEWAY RD                                                                             KISSEE MILLS        MO     65680‐8371
ALICE MCDANIEL     6326 SOUTHCREST DR                                                                         SHREVEPORT          LA     71119‐7244
ALICE MCDONALD     877 LEE DR                                                                                 BEDFORD             TX     76022‐7310
ALICE MCGOWAN      84 PRENTICE ST                                                                             LOCKPORT            NY     14094‐2122
ALICE MCGRIFF      PO BOX 1116                                                                                WALLED LAKE         MI     48390‐5116
ALICE MCHENRY      275 E STATE ST                                                                             WELLSVILLE          NY     14895‐1240
ALICE MCKEE        1714 JACK CROWELL RD                                                                       EROS                LA     71238‐8458
ALICE MCKIDDY      25 ALTON CIR                                                                               HAMILTON            OH     45013‐3901
ALICE MCKNIGHT     PO BOX 585                                                                                 CORNING             AR     72422‐0585
ALICE MCLAIN       5016 LINDA ST                                                                              WARREN              MI     48092‐3418
ALICE MCMICHAEL    10445 E LENNON RD                                                                          LENNON              MI     48449‐9623
ALICE MCMILLEN     458 FULLER DR NE                                                                           WARREN              OH     44484‐2015
ALICE MEADE        13616 HALL RD                                                                              CHARDON             OH     44024‐8912
ALICE MEAHL        PO BOX 531                                                                                 FARMINGDALE         NY     11735‐0531
ALICE MEAHL        3 FERN AVE                                                                                 BAY SHORE           NY     11706‐5510
ALICE MEEGAN       4987 LYNWOOD AVE                                                                           BUFFALO             NY     14219‐2609
ALICE MELTON       217 W PIERSON RD 22                                                                        FLINT               MI     48505
ALICE MENDEZ       588 AVENIDA GAVIOTA                                                                        CAMARILLO           CA     93012‐0945
ALICE MENDIOLA     156 CENTER BLVD                                                                            WIXOM               MI     48393‐4311
ALICE MERIDA       1468 ROUND LAKE RD                                                                         GREENWOOD           IN     46143‐7038
ALICE MICHAEL      4725 PREEMPTION RD                                                                         ROCK STREAM         NY     14878‐9653
ALICE MICK         680 KENILWORTH AVE                                                                         SHEFFIELD LAKE      OH     44054‐1231
ALICE MILETICH     7811 REINHARDT RD                                                                          MONROE              MI     48162‐9467
ALICE MILLER       2773 CEDAR LN                                                                              BAY CITY            MI     48706‐2610
ALICE MILLER       1793 E 1300 N                                                                              ALEXANDRIA          IN     46001‐8817
ALICE MILLER       1754 W 400 S                                                                               PERU                IN     46970‐7925
ALICE MILLER       G1069 NORTH BALLENGER                                                                      FLINT               MI     48504
ALICE MILLER       12 N EASTWAY DR                                                                            PONTIAC             MI     48342‐2929
ALICE MILLER       1070 ROYCO DROVE                                                                           ACWORTH             GA     30101
ALICE MILLER       211 E SMITH ST                                                                             BAY CITY            MI     48706‐3876
ALICE MILLER       PO BOX 301032                                                                              KANSAS CITY         MO     64130‐1032
ALICE MILSTED      2135 SE MINTER BRIDGE RD                                                                   HILLSBORO           OR     97123‐5103
ALICE MITCHELL     610 E ELDRIDGE AVE                                                                         FLINT               MI     48505‐5335
ALICE MOBLEY       5049 E PARK DR                                                                             NORTH OLMSTED       OH     44070‐3108
ALICE MONCRIEF     1128 W NORTH ST                                                                            GREENFIELD          IN     46140‐1943
ALICE MONROE       1349 S LOCKE ST                                                                            KOKOMO              IN     46902‐1740
ALICE MOODY        3892 N 5000W RD                                                                            KANKAKEE             IL    60901‐7297
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ALICE MOORE            931 1/2 OAK ST                                                                                   DANVILLE             IL    61832‐3850
ALICE MOORE            6505 ARMSTRONG AVE                                                                               BALTIMORE           MD     21215‐2001
ALICE MOORE            7102 N OLIVE ST                                                                                  GLADSTONE           MO     64118‐2867
ALICE MOORE            2900 N APPERSON WAY LOT 272                                                                      KOKOMO              IN     46901‐1460
ALICE MOORE            716 CHANDLER DR                                                                                  TROTWOOD            OH     45426‐2510
ALICE MOORE            16490 VAUGHAN ST                                                                                 DETROIT             MI     48219‐3357
ALICE MOORE            9561 MANOR ST                                                                                    DETROIT             MI     48204‐2535
ALICE MORRIS           2956 NEWFOUND HARBOR DR                                                                          MERRITT IS          FL     32952‐2862
ALICE MORRIS           156 WYNGATE DR                                                                                   BARBOURSVILLE       WV     25504‐1940
ALICE MORRIS           3125 N U.S. 31                                                                                   SHARPSVILLE         IN     46068
ALICE MORROW           130 CLEARWATER CV S                                                                              AUSTINTOWN          OH     44515‐2159
ALICE MOSLEY‐DEVRIES   11745 N CITRUS AVE                                                                               CRYSTAL RIVER       FL     34428‐7136
ALICE MOWERY           5851 N COUNTY ROAD 850 W                                                                         YORKTOWN            IN     47396‐9743
ALICE MULKEEN          323 ACADIA DR                                                                                    POINCIANA           FL     34759‐3628
ALICE MULL             2134 TRADERS XING                                                                                FORT WAYNE          IN     46845‐1594
ALICE MURRAY           7832 MILAN AVE                                                                                   UNIVERSITY CY       MO     63130‐1250
ALICE MURRAY           620 S BOEKE ST                                                                                   KANSAS CITY         KS     66105‐1811
ALICE MYERS            610 W FOSTER ST                                                                                  KOKOMO              IN     46902‐6219
ALICE N COMBS          2949 KINGSTON AVE                                                                                DAYTON              OH     45420‐2627
ALICE N MCKIDDY        25 ALTON CIRCLE                                                                                  HAMILTON            OH     45013‐3901
ALICE NAGEL            1836 N HURON RD                                                                                  TAWAS CITY          MI     48763‐9435
ALICE NAILS            309 WHISPERING DR                                                                                TROTWOOD            OH     45426‐3032
ALICE NALLEY           1958 N BANCROFT ST                                                                               INDIANAPOLIS        IN     46218‐4712
ALICE NASH             600 1/2 BRIDGE ST NW                                                                             GRAND RAPIDS        MI     49504‐5329
ALICE NASKI            24 HAWTHORNE RD                                                                                  GROSSE POINTE       MI     48236‐1411
                                                                                                                        SHORES
ALICE NAVAR            203 N TAYLOR AVE                                                                                 MONTEBELLO         CA      90640‐4611
ALICE NETTNAY          14595 FOLEY RD                                                                                   MUSSEY             MI      48014‐1906
ALICE NEWHARD          19000 E 19TH TERRACE CT SOUTH                                                                    INDEPENDENCE       MO      64057‐2160
ALICE NICOLAIS         25 PADANARAM RD APT 15                                                                           DANBURY            CT      06811‐4809
ALICE NIEMARA          7244 KINGSBURY ST                                                                                DEARBORN HTS       MI      48127‐1754
ALICE NINE             405 S DEAN ST                                                                                    BAY CITY           MI      48706‐4649
ALICE NORTH            2513 GOLDEN SHORE DR                                                                             FENTON             MI      48430‐1059
ALICE NUNN             PO BOX 1158                                                                                      BIG RAPIDS         MI      49307‐0158
ALICE O DNISTRAN       1946 DRAKE RD                                                                                    BROCKPORT          NY      14420‐9632
ALICE O KINNEY         4414 PLEASANT FOREST DR                                                                          DECATUR            GA      30034
ALICE O MAYLE          5786 YOUNGSTOWN‐HUBBARD RD                                                                       HUBBARD            OH      44425‐2552
ALICE O MORGAN         125 ALEX GATES RD                                                                                MARKS              MS      38646‐9163
ALICE OATES            126 EUCLID BLVD                                                                                  YOUNGSTOWN         OH      44505‐2014
ALICE OBIE             8618 WINCHESTER AVE                                                                              KANSAS CITY        MO      64138‐2865
ALICE OBSTARCZYK       937 PRESCOTT ST                                                                                  FORT MYERS BEACH   FL      33931‐2215

ALICE ODOM             8646 CO LINE RD                                                                                  SPARTA              IL     62286
ALICE OLDFIELD         12024 VIENNA RD                                                                                  MONTROSE            MI     48457‐9405
ALICE OLSEN            2245 BLACKPOOL PL                                                                                SAN LEANDRO         CA     94577‐6045
ALICE ORZECHOWSKI      7940 AUGUST AVE                                                                                  WESTLAND            MI     48185‐2598
ALICE OSBURN           869 EDGEMONT PARK                                                                                GROSSE POINTE       MI     48230‐1854
                                                                                                                        PARK
ALICE OWENS            1502 SYCAMORE DR                                                                                 FORT WAYNE         IN      46825‐4733
ALICE P NUNN           PO BOX 1158                                                                                      BIG RAPIDS         MI      49307‐0158
ALICE P STICKELMIER    1191 NUTMEG CT 45‐105 4                                                                          DAYTON             OH      45459
ALICE PACK             2849 RIVER EDGE CIR                                                                              SPRING VALLEY      OH      45370‐9796
ALICE PALESKY          156 HIGH ST                                                                                      PISCATAWAY         NJ      08854‐2736
ALICE PAPAJ            161 BANKO DRIVE                                                                                  DEPEW              NY      14043‐1229
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Name                          Address1                            Address2             Address3         Address4                    City               State   Zip
ALICE PARKER                  8598 SPIVEY VILLAGE TRL                                                                               JONESBORO           GA     30236‐3845
ALICE PARKMAN                 728 ROXBURY AVE                                                                                       YOUNGSTOWN          OH     44502‐2539
ALICE PARTLOW                 206 MARLETTE DR                                                                                       NORTH PORT          FL     34287‐1532
ALICE PASCUCCI                623 WILLIAMS ST                                                                                       N TONAWANDA         NY     14120‐1712
ALICE PATAM                   7 DUANE                                                                                               IRVINE              CA     92620‐2722
ALICE PATE                    89 WESTMINSTER AVE                                                                                    BUFFALO             NY     14215‐1613
ALICE PATTERSON               PO BOX 53                                                                                             MINERAL POINT       MO     63660‐0053
ALICE PATTERSON               4510 EAGLE ESTATES DR                                                                                 FLORISSANT          MO     63034‐1605
ALICE PATTERSON               PO BOX 1913                                                                                           DUNNELLON           FL     34430‐1913
ALICE PATTON                  4658 E BEND LN                                                                                        NEWAYGO             MI     49337‐7027
ALICE PATZACK                 4000 S CEMETERY RD                                                                                    YUKON               OK     73099‐7243
ALICE PAYNE                   215 WALNUT AVE                                                                                        BALTIMORE           MD     21222‐6142
ALICE PAYNE                   825 PARK AVE                                                                                          COVINGTON           IN     47932‐1384
ALICE PAYNE                   29224 LIST ST                                                                                         FARMINGTON HILLS    MI     48336‐5540

ALICE PEDERSON                1603 MADISON AVE                                                                                      WARREN             PA      16365
ALICE PELKEY                  15 HAVILAND PARK                                                                                      ROCHESTER          NY      14616‐4228
ALICE PENNEY                  3468 MORNING GLORY RD                                                                                 DAYTON             OH      45449‐3033
ALICE PERALTA                 708 N LAZARD ST                                                                                       SAN FERNANDO       CA      91340‐1929
ALICE PERDUE                  709 W BROAD ST                                                                                        ROCHESTER          NY      14608‐1513
ALICE PESCHL                  5111 W ANTLER DR                                                                                      BELOIT             WI      53511‐8501
ALICE PETERSON                34235 CHERRY HILL RD                                                                                  WESTLAND           MI      48186‐9214
ALICE PETITT                  5 ASHLEIGH DR                                                                                         MIDDLETOWN         DE      19709‐9593
ALICE PFARR                   553 PROSPECT AVE                                                                                      LAURENCE HARBOR    NJ      08879‐2816

ALICE PHILLIPS                212 HARRISON ST                                                                                       PONTIAC             MI     48341‐2438
ALICE PIECHOTTE               1594 ARDIS DR                                                                                         SAGINAW             MI     48609‐9529
ALICE PLAZA SMITH             4360 KINGS CROSS WAY                                                                                  HOSCHTON            GA     30548‐1669
ALICE PODCZERVINSKI           8466 STEPHENSON RD                                                                                    ONSTED              MI     49265‐9329
ALICE POKO                    511 JANSEN AVE                                                                                        AVENEL              NJ     07001‐1333
ALICE POKRZYWA                12820 WOOD STREET 2ND FLOOR                                                                           BLUE ISLAND         IL     60406
ALICE POLAK                   11378 HEMINGWAY                                                                                       REDFORD             MI     48239‐2260
ALICE POLLARD                 21335 LOS PALMOS ST                                                                                   SOUTHFIELD          MI     48076‐5554
ALICE POLLMANN                MOLTKESTRASSE 17 B                                                        42799 LEICHLINGEN GERMANY

ALICE POLOMSKY                3205 DENTZLER RD                                                                                      PARMA              OH      44134‐5413
ALICE POPIELSKI               109 BURCH AVE                                                                                         WEST SENECA        NY      14210‐2638
ALICE POWELL                  5237 LAKEVIEW ST                                                                                      DETROIT            MI      48213‐3719
ALICE POWELL                  9712 US HIGHWAY 301                                                                                   DADE CITY          FL      33525‐1850
ALICE PRESTON                 203 MILL CREEK RD                                                                                     NILES              OH      44446‐3211
ALICE PRICE                   47251 WOODWARD AVE APT 607                                                                            PONTIAC            MI      48342
ALICE PRINE                   PO BOX 414                                                                                            SARDINIA           OH      45171‐0414
ALICE PRINGLE                 10253 LAPEER RD                                                                                       DAVISON            MI      48423‐8172
ALICE PRUCEY                  533 WILCOX RD APT A                 LILAC LANE CONDO                                                  YOUNGSTOWN         OH      44515‐6216
ALICE PRUITT                  385 LIBERTY RD SW                                                                                     CALHOUN            GA      30701‐3272
ALICE PUGH                    PO BOX 8                                                                                              AMO                IN      46103‐0008
ALICE PURSELL                 143 S CUYLER AVE                                                                                      OAK PARK           IL      60302‐2915
ALICE PURTEE                  710 LAURA LANE                                                                                        SWEETSER           IN      46987
ALICE PUSATERI                23 BRIDLEWOOD DR                                                                                      LOCKPORT           NY      14094‐4865
ALICE PYNE                    12495 EAST POTTER ROAD                                                                                DAVISON            MI      48423‐8108
ALICE Q BECKETT               34 HEATH DR                                                                                           WARREN             OH      44481‐9001
ALICE QUINN                   9190 WOODRIDGE DR                                                                                     DAVISON            MI      48423‐8392
ALICE R DEDDENS IRREV TRUST   DTD 4/1/97 KENNETH J DEDDENS TTEE   10601 SAVOY CT                                                    LOUISVILLE         KY      40223
ALICE R PARKMAN               728 ROXBURY AVE                                                                                       YOUNGSTOWN         OH      44502‐2539
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Name               Address1                         Address2             Address3         Address4               City            State   Zip
ALICE R ROBINSON   6247 STRATHALLAN DR                                                                           BEDFORD HTS      OH     44146‐4061
ALICE R SMITH      PO BOX 382                                                                                    MCLOUD           OK     74851‐0382
ALICE R WILLIAMS   1057 REX AVE                                                                                  FLINT            MI     48505‐1606
ALICE RAESCH       1660 MINSTREL TER                                                                             CUMMING          GA     30041‐9715
ALICE RAMSDILL     3205 ROLLING HILL AVE                                                                         PORTAGE          MI     49024‐6652
ALICE RANDLE       343 DADE DR                                                                                   NASHVILLE        TN     37211‐4924
ALICE RANDOLPH     914 BROADMOOR LN                                                                              SAINT CHARLES    MO     63301‐6212
ALICE RAWLS        6381 WAILEA DR                                                                                GRAND BLANC      MI     48439‐8594
ALICE RAY          1020 E SUMMIT ST                                                                              ALLIANCE         OH     44601‐3222
ALICE RAYBON       700 RALSTON AVE APT 2                                                                         DEFIANCE         OH     43512‐1567
ALICE RAYMOND      PO BOX 62                                                                                     WAYNE            MI     48184‐0062
ALICE RECKMACK     688 MOUNTAIN RD                                                                               CHESHIRE         CT     06410‐3306
ALICE REEBER       503 CLAYTONIA RD                                                                              SLIPPERY ROCK    PA     16057
ALICE REED         23641 CLOVERLAWN ST                                                                           OAK PARK         MI     48237‐2464
ALICE REEVES       1518 PEARL ST                                                                                 ANDERSON         IN     46016‐2021
ALICE REEVES       12342 OAK RD                                                                                  OTISVILLE        MI     48463‐9722
ALICE REIKOWSKY    3250 SUNNYVIEW DR                                                                             SAGINAW          MI     48604‐1657
ALICE REINER       253 SERVICE AVE                                                                               SHARON           PA     16146‐3107
ALICE REINKE       9705B 7TH ST                                                                                  OSCODA           MI     48750‐1926
ALICE RELERFORD    316 W JACKSON AVE                                                                             FLINT            MI     48505‐4054
ALICE RENTZ        40 OAK ST                                                                                     HAMPTON          GA     30228‐2913
ALICE REYES        2531 DRYVALLY RD NE                                                                           CHARLESTON       TN     37310
ALICE RHODES       5430 RAWLINGS DR                                                                              DAYTON           OH     45432‐3624
ALICE RICE         1199 W. LEMONT CT.                                                                            CANTON           MI     48187
ALICE RICHARDSON   PO BOX 576                                                                                    GARDEN CITY      MO     64747‐0576
ALICE RICHEY       5213 W 400 S                                                                                  SWAYZEE          IN     46986‐9785
ALICE RICHMOND     803 HURON ST                                                                                  TECUMSEH         MI     49286‐1780
ALICE RIDDLE       1861 W 300 N                                                                                  ANDERSON         IN     46011‐9744
ALICE RITCHIE      1100 7TH AVE APT 107                                                                          CUMBERLAND       WI     54829‐9135
ALICE ROBERTS      1322 SUNSET DR                                                                                IOWA PARK        TX     76367‐1141
ALICE ROBERTS      109 DAVID RD                                                                                  WILMINGTON       DE     19804‐2648
ALICE ROBERTS      642 DLYN ST                                                                                   COLUMBUS         OH     43228‐2516
ALICE ROBINSON     6247 STRATHALLAN DR                                                                           BEDFORD HTS      OH     44146‐4061
ALICE ROBINSON     423 S 15TH ST                                                                                 SAGINAW          MI     48601‐2006
ALICE ROBINSON     10383 S 400 E                                                                                 MARKLEVILLE      IN     46056‐9731
ALICE ROBINSON     3498 PAUL ST                                                                                  ALEXANDRIA       VA     22311‐3724
ALICE ROBINSON     740 KINGS CREST CT                                                                            FAIRBURN         GA     30213‐3223
ALICE RODRIGUEZ    568 W GRAND BLVD                                                                              DETROIT          MI     48216‐1439
ALICE ROHL         11178 S STATE ST                                                                              REED CITY        MI     49677‐8752
ALICE ROSE         223 VICTORIA PARK CT                                                                          HOWELL           MI     48843‐1261
ALICE ROSE         311 BRITTON DR                                                                                GENEVA           OH     44041‐1201
ALICE ROY          1874 CROMPOND RD APT A5 BLDG 8                                                                PEEKSKILL        NY     10566
ALICE ROYAL        3201 HICKORY CRES RD                                                                          MARIETTA         GA     30064
ALICE RUPLE        2467 WINKLEMAN DR                                                                             WATERFORD        MI     48329‐4451
ALICE RUSHING      8360 WOODSTOCK DR                                                                             GREENWOOD        LA     71033‐3342
ALICE RUSSELL      9903 E SIX CORNERS RD                                                                         WHITEWATER       WI     53190‐3513
ALICE RUTHERFORD   1646 BARBARA LN NE               C/O TERRI SHULL                                              WASHINGTON       OH     43160‐9126
                                                                                                                 COURT HOUSE
ALICE RYDZYNSKI    75 JANE DR                                                                                    CHEEKTOWAGA     NY      14227‐1911
ALICE S BURTON     P O BOX 231                                                                                   TOUGALOO        MS      39174‐0231
ALICE S REED       320 LYNNHAVEN DRIVE                                                                           DAYTON          OH      45431‐1964
ALICE SADLER       9365 WHITNEY ROAD                                                                             WILLIAMSBURG    MI      49690‐9766
ALICE SADLER       2019 BRIAN DR                                                                                 KERRVILLE       TX      78028‐2538
ALICE SAHAKIAN     4428 CICOTTE ST                                                                               DETROIT         MI      48210‐2489
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Name               Address1                       Address2                Address3        Address4                   City               State Zip
ALICE SAMUELS      19929 MONTE VISTA ST                                                                              DETROIT             MI 48221‐1051
ALICE SAULNIER     5522 NORTHRIDGE RD                                                     HALIFAX NS B3K4B1 CANADA

ALICE SAXON        11410 BIRCH RUN RD                                                                                BIRCH RUN          MI   48415‐9480
ALICE SCHAPPERT    603 SIERRA WAY                                                                                    DEFIANCE           OH   43512‐3685
ALICE SCHENBACK    1118 NE HICKORY ST                                                                                ARCADIA            FL   34266‐5608
ALICE SCHIRMER     707 N WILLOW AVE                                                                                  MARSHFIELD         WI   54449‐3062
ALICE SCHLINSOG    RT. #1 7234 ROTAMER RD                                                                            MILTON             WI   53563
ALICE SCHOLL       PO BOX 261                                                                                        MIRANDA            CA   95553‐0261
ALICE SCHOLTZ      772 N KOBS RD                                                                                     TAWAS CITY         MI   48763‐9762
ALICE SCHULTZ      2998 LAMPLIGHTER DR                                                                               SARASOTA           FL   34234‐6459
ALICE SCHULTZ      401 NORTH CHURCH STREET                                                                           HERTFORD           NC   27944‐1109
ALICE SCHULTZ      4683 COUNTRY WAY W             LAWNDALE ESTATES                                                   SAGINAW            MI   48603‐1079
ALICE SCHUMACHER   591 N EIFERT RD                                                                                   MASON              MI   48854‐9558
ALICE SCHWARTZ     7256 STONEYBROOK CT                                                                               WASHINGTON         MI   48094‐2190
ALICE SCRAM        1277 RIO CIR                                                                                      LILLIAN            AL   36549‐5337
ALICE SCRUGGS      3739 RIVARD ST                                                                                    DETROIT            MI   48207‐4740
ALICE SCZESNY      3430 FOREST TER                                                                                   ANDERSON           IN   46013‐5256
ALICE SEABOLT      12917 BASS LAKE RD                                                                                CHARDON            OH   44024‐8319
ALICE SEBASTIAN    CASCINO MICHAEL P              220 SOUTH ASHLAND AVE                                              CHICAGO            IL   60607
ALICE SEBOK        5070 E COURT ST S                                                                                 BURTON             MI   48509‐1947
ALICE SEELOFF      5499 CHESTNUT ROAD                                                                                NEWFANE            NY   14108‐9616
ALICE SEITZ        PO BOX 602                                                                                        WAYNETOWN          IN   47990‐0602
ALICE SETSER       18504 MERRIMAN RD                                                                                 ROMULUS            MI   48174‐9765
ALICE SEVERSON     20566 YEANDLE AVE                                                                                 CASTRO VALLEY      CA   94546‐4425
ALICE SEWAR        97 WILLOW ST APT 4                                                                                LOCKPORT           NY   14094‐4856
ALICE SEXTON       2433 GOLDEN SHORE DR                                                                              FENTON             MI   48430‐1058
ALICE SEYMOUR      44199 ORION DR                                                                                    STERLING HEIGHTS   MI   48314‐3177
ALICE SHAFFER      95 W 10TH ST                                                                                      GREENVILLE         PA   16125‐8225
ALICE SHANAHAN     6935 STEINMEIER DR W                                                                              INDIANAPOLIS       IN   46220‐3961
ALICE SHANLEY      6802 ASHTON CIR                                                                                   FREDERICKSBURG     VA   22407‐5008
ALICE SHELTON      7812 SPIETH RD                                                                                    LITCHFIELD         OH   44253‐9728
ALICE SHINDORF     PO BOX 61                                                                                         OAKLEY             MI   48649‐0061
ALICE SHORT        550 RISING HILL DR                                                                                FAIRBORN           OH   45324‐5917
ALICE SIERACKI     8189 MASON RD                                                                                     LYNN               MI   48097‐1203
ALICE SIMMONS      58 S ROSELAWN ST                                                                                  PONTIAC            MI   48342‐2842
ALICE SIMPSON      17 CEDAR ST FL 2                                                                                  HILLSIDE           NJ   07205‐2304
ALICE SIMPSON      PO BOX 17464                                                                                      OKLAHOMA CITY      OK   73136‐1464
ALICE SIMPSON      1147 MOUNT ESTES DR                                                                               COLORADO SPRINGS   CO   80921‐3652

ALICE SKILES       9135 HICKORY CIR                                                                                  WINDHAM            OH   44288‐1422
ALICE SLABAUGH     32715 BLUEBIRD LN                                                                                 WAYNE              MI   48184‐2514
ALICE SLIVA        524 W MAIN ST                                                                                     WESTVILLE          IL   61883‐1518
ALICE SMILEY       254 GREEN ST                                                                                      LOCKPORT           NY   14094‐2708
ALICE SMITH        36 GATES AVE                                                                                      MONTCLAIR          NJ   07042‐3202
ALICE SMITH        3916 WORMWOOD CIR                                                                                 JACKSONVILLE       FL   32210‐4561
ALICE SMITH        5258 CORNELIUS AVE                                                                                INDIANAPOLIS       IN   46208‐2512
ALICE SMITH        15790 WARD ST                                                                                     DETROIT            MI   48227‐4081
ALICE SMITH        316 COUNTY ROAD 614                                                                               RANBURNE           AL   36273‐8324
ALICE SMITH        PO BOX 382                                                                                        MCLOUD             OK   74851‐0382
ALICE SMITH        341 CANTWELL DR                                                                                   DOVER              DE   19904‐1586
ALICE SMITH        15 CANDLEWOOD DR                                                                                  PRINCETON          NJ   08550‐1939
                                                                                                                     JUNCTION
ALICE SMITH        1424 JOHNSON ST                                                                                   SAGINAW            MI   48601‐1731
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Name                Address1                     Address2               Address3         Address4               City           State   Zip
ALICE SMITH         2425 N LAKE GEORGE RD                                                                       METAMORA        MI     48455‐9359
ALICE SMITH         1404 S STATE RD                                                                             DAVISON         MI     48423‐1912
ALICE SMYERS        6270 ALYSSUM PL                                                                             DENVER          NC     28037‐6226
ALICE SNIDER        2429 NOBLE ST                                                                               ANDERSON        IN     46016‐4574
ALICE SOCCORSY      35 CHERRY HILL CT                                                                           CANFIELD        OH     44406‐8638
ALICE SOLOMON       3090 DARWIN DR                                                                              FREMONT         CA     94555‐2307
ALICE SORIANO       6317 SAGEWOOD LN                                                                            SEBRING         FL     33876‐6309
ALICE SPARKS        250 LOKEY LN                                                                                WILSONVILLE     AL     35186‐7307
ALICE SPENCER       136 MAUCK LN                                                                                DANVILLE         IL    61832‐5359
ALICE SPRECHER      2207 ADEL ST                                                                                JANESVILLE      WI     53546‐3238
ALICE STAHL         17002 FOLLY BROOK RD                                                                        NOBLESVILLE     IN     46060‐4185
ALICE STAHL         11328 N BRAY RD                                                                             CLIO            MI     48420‐7954
ALICE STAHL         17374 BIGLEAF MAPLE BLVD     APT 918                                                        WESTFIELD       IN     46074‐5081
ALICE STANKE        7880 KNOX RD                                                                                PORTLAND        MI     48875‐9782
ALICE STANLEY       2621 CRYSTAL ST                                                                             ANDERSON        IN     46012‐1305
ALICE STARK         800 E SIGLER RD                                                                             CARLETON        MI     48117‐9308
ALICE STEELE        646 WILLOW SPRINGS DR                                                                       DAYTON          OH     45427‐2840
ALICE STELIGA       3023 S 84TH ST                                                                              WEST ALLIS      WI     53227‐3703
ALICE STEPHENSON    918 MAPLE MEADOWS AVENUE                                                                    VICKSBURG       MI     49097‐1515
ALICE STEWART       4345 NELSON MOSIER RD                                                                       LEAVITTSBURG    OH     44430‐9426
ALICE STIEGLER      281 EDGEWOOD BLVD                                                                           LAKE WALES      FL     33898‐4903
ALICE STINSON       11221 N MIDWEST BLVD                                                                        JONES           OK     73049‐5821
ALICE STOCKTON      3586 E 100 S                                                                                KOKOMO          IN     46902‐2832
ALICE STOUT         PO BOX 464                                                                                  PARKER CITY     IN     47368
ALICE STOWE         1314 PARKWAY DR                                                                             ANDERSON        IN     46012‐4620
ALICE STRAWSER      1508 S MEEKER AVE                                                                           MUNCIE          IN     47302‐3828
ALICE STROHMENGER   9931 PLEASANT RENNER RD                                                                     GOSHEN          OH     45122‐9630
ALICE STROTHMAN     7833 N EAGLE RD                                                                             JANESVILLE      WI     53548‐9468
ALICE STUART        15151 RUNNYMEDE ST                                                                          VAN NUYS        CA     91405‐1611
ALICE STUART        5833 BLACKBERRY DR                                                                          IMPERIAL        MO     63052‐2150
ALICE SUGAR         816 COUTANT STREET                                                                          FLUSHING        MI     48433‐1725
ALICE SULIK         363 PAGELS CT                                                                               GRAND BLANC     MI     48439‐2424
ALICE SULLIVAN      3965 N MICHIGAN AVE APT 2                                                                   SAGINAW         MI     48604‐1804
ALICE SUMMERS       43970 JUDD RD                                                                               BELLEVILLE      MI     48111‐9237
ALICE SUROWIECKI    292 THORPE AVE                                                                              MERIDEN         CT     06450
ALICE SUTTON        5111 FARNSWORTH ROAD                                                                        BRETHREN        MI     49619‐9713
ALICE SWANSON       12753 COLD STREAM DR                                                                        FORT MYERS      FL     33912‐4627
ALICE SWIDERSKI     813 MEADOW DR                                                                               BIRMINGHAM      AL     35242‐5373
ALICE SWIFT         20544 SAINT MARYS ST                                                                        DETROIT         MI     48235‐2135
ALICE SZCZEPANEK    292 MAIN ST                                                                                 EAST AURORA     NY     14052
ALICE T KOO         8019 WASHINGTON PARK DR.                                                                    DAYTON          OH     45459
ALICE T VASILENKO   260 S BUHLFARM DR            APT 104                                                        HERIMIATGE      PA     16148
ALICE TACK          1619 WILD CHERRY LN                                                                         LAPEER          MI     48446‐8714
ALICE TANGEN        22935 SHIELL ST                                                                             CLINTON TWP     MI     48035‐1896
ALICE TARASE        22274 RIVER WALK RD                                                                         ROCKY RIVER     OH     44116‐3087
ALICE TARDIFF       #1                           19147 HEIDEN DRIVE                                             ROMULUS         MI     48174‐2534
ALICE TAYLOR        123 PARK PLACE DR                                                                           BRAZIL          IN     47834‐3234
ALICE TAYLOR        3754 KINGS HWY APT 102                                                                      DAYTON          OH     45406‐3510
ALICE TAYLOR        719 LULU ST                                                                                 KALAMAZOO       MI     49007‐2481
ALICE TAYLOR        3678 HIGHWAY 57                                                                             MILTON          NC     27305
ALICE TEKIELE       1525 RIO GRANDE CT                                                                          FLINT           MI     48532‐2069
ALICE TENACE        680 WALNUT ST                                                                               WESTLAND        MI     48186‐9512
ALICE TEXER         11483 E ROYAL RD                                                                            STANWOOD        MI     49346‐9748
ALICE THIBAULT      2145 JOY RD                                                                                 AUBURN HILLS    MI     48326‐2627
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Name                    Address1                      Address2               Address3         Address4               City            State   Zip
ALICE THOMAS            5425 ALBRIGHT RD                                                                             ONTARIO          NY     14519‐9588
ALICE THOMAS            2825 GAYLORD AVE                                                                             DAYTON           OH     45419
ALICE THOMAS            PO BOX 10094                                                                                 COCOA            FL     32927‐0094
ALICE THOMAS            7464 ALLY CV                                                                                 WALLS            MS     38680‐8496
ALICE THOMPSON          5290 HOAG RD                                                                                 BATTLE CREEK     MI     49015‐9390
ALICE THORELL           9449 SEYMOUR RD                                                                              MONTROSE         MI     48457‐9122
ALICE THORNTON          2301 E MARILYN RD                                                                            PHOENIX          AZ     85022‐4138
ALICE THREAT            18357 W 13 MILE RD APT 22                                                                    SOUTHFIELD       MI     48076‐8028
ALICE THRUN             10115 W PALO VERDE DR #86     LAKE RIVERS ESTATES                                            FORT WAYNE       IN     46825
ALICE TIDROW            1542 E COUNTY ROAD 600 N                                                                     NEW CASTLE       IN     47362‐9222
ALICE TILDEN            74447 LARSON ROAD                                                                            RAINIER          OR     97048‐3007
ALICE TILLIE            934 PATTON RD                                                                                ONEONTA          AL     35121‐4006
ALICE TINNIRELLO        11 POMFRET WALK                                                                              PLEASANT HILL    CA     94523‐2075
ALICE TITHOF            317 S ELM ST APT 515                                                                         OWOSSO           MI     48867‐2680
ALICE TOCCO             1320 SMITH ST APT 216                                                                        LOGANSPORT       IN     46947‐1567
ALICE TOKARSKI          154B ROSEWOOD DR                                                                             WHITING          NJ     08759‐3839
ALICE TOMKO             305 KENMORE AVE SE                                                                           WARREN           OH     44483‐6148
ALICE TOMPKINS          1573 N HICKORY RD APT 5                                                                      OWOSSO           MI     48867‐9490
ALICE TOWNSEND          128 W BIRCHWOOD CT            BAYSHORE ESTATES                                               SANDUSKY         OH     44870‐4402
ALICE TRAMMELL          507 W LEE ST                                                                                 BUTLER           MO     64730‐1029
ALICE TRASTER‐FESTIAN   2918 E BEVENS RD                                                                             CARO             MI     48723‐9452
ALICE TRENT             APT 9                         275 HARRISON STREET                                            ELYRIA           OH     44035‐5100
ALICE TROYER            12273 RD 19 RT 2                                                                             CLOVERDALE       OH     45827
ALICE TUBBS             3555 APPLEGATE RD                                                                            APPLEGATE        MI     48401‐9761
ALICE TUBBS             PO BOX 215                                                                                   TIPTON           IN     46072‐0215
ALICE TYE               917 OAK ST                                                                                   TOLEDO           OH     43605‐2943
ALICE TYGESEN           133 NILES ST                                                                                 LAKEVIEW         MI     48850‐9502
ALICE VAIL              1270 CHANUTE AVE                                                                             PERU             IN     46970‐8706
ALICE VAN NATTER        380 FAIRWAY DR                                                                               CADILLAC         MI     49601‐3613
ALICE VANDERKUUR        4463 N SEYMOUR RD                                                                            FLUSHING         MI     48433‐1538
ALICE VANDERPLAATS      45 OLD MILL DR UNIT 3                                                                        HOLLAND          MI     49423‐5240
ALICE VANDEVER          24156 CREEK VIEW DR                                                                          MILLSBORO        DE     19966‐4443
ALICE VANNEST           2219 MEADOWLAWN DR                                                                           HOLT             MI     48842‐1218
ALICE VANNOY            1840 OCONNELL AVE                                                                            OVERLAND         MO     63114‐2413
ALICE VAUGHN            4560 W ALEXIS RD APT 133                                                                     TOLEDO           OH     43623‐6005
ALICE VEAL              1813 ZIMMERMAN ST                                                                            FLINT            MI     48503‐4736
ALICE VENTERS           1502 MARIA ST                                                                                FLINT            MI     48507
ALICE VERDUSCO          38355 WALNUT ST                                                                              ROMULUS          MI     48174‐1071
ALICE VERLENICH         8927 BRIARBROOK DR NE                                                                        WARREN           OH     44484‐1742
ALICE VEST              874 W PRAIRIE TRCE                                                                           FAIRMOUNT        IN     46928‐1368
ALICE VICKORY           2117 N GENESEE RD                                                                            BURTON           MI     48509‐1208
ALICE VIEAU             93 EARTH AVE                                                                                 CHEBOYGAN        MI     49721‐8669
ALICE VINCENT           212 S OSAGE AVE                                                                              SHAWNEE          OK     74801‐8042
ALICE VINCENT           2450 KROUSE RD LOT 370                                                                       OWOSSO           MI     48867‐8143
ALICE VORHIES           11074 E MOUNT MORRIS RD                                                                      DAVISON          MI     48423‐9334
ALICE W BANES           3210 HIGHWAY 69                                                                              GRAND RIDGE      FL     32442‐4258
ALICE W COLE            2609 RIVER ST                                                                                SAGINAW          MI     48601‐3259
ALICE W MARSHALL        11028 SUGAR PINES CT APT H                                                                   FLORISSANT       MO     63033‐8261
ALICE W ROSE            713 HAWTHORNE GREEN DRIVE                                                                    RIDGELAND        MS     39157
ALICE W STEWART         4345 NELSON‐MOSIER RD                                                                        LEAVITTSBURG     OH     44430‐9426
ALICE W VERLENICH       8927 BRIARBROOK DR NE                                                                        WARREN           OH     44484‐1742
ALICE WAANDERS          2900 THORNHILLS AVE SE                                                                       GRAND RAPIDS     MI     49546‐7155
ALICE WADE              411 WILSON ST                                                                                MONROE           LA     71202‐3432
ALICE WALKER            9353 GALE RD                                                                                 GOODRICH         MI     48438‐9446
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Name                  Address1                             Address2               Address3       Address4               City              State   Zip
ALICE WALLER          2550 ALICIA BLVD                                                                                  CHOCTAW            OK     73020‐8626
ALICE WALLWIN         715 SADDLEWOOD DR                    C/O ROBERT A WALLWIN                                         WAUCONDA            IL    60084‐2384
ALICE WALQUIST        1948 FIR DR APT 7                                                                                 BELOIT             WI     53511‐2757
ALICE WALSH           20631 HIGHLAND LAKE DR                                                                            LAGO VISTA         TX     78645‐7534
ALICE WALTER          217 E HIGH ST                                                                                     NAPOLEON           OH     43545‐9204
ALICE WALTERS         139 COMSTOCK ST                                                                                   JACKSON            MI     49203‐6024
ALICE WARD            5494 W HEATHWOOD DR SE                                                                            GRAND RAPIDS       MI     49512
ALICE WARD            5684 CLIPPERT ST                                                                                  DEARBORN HTS       MI     48125‐2759
ALICE WARREN          1107 NORTH CENTER STREET                                                                          PLYMOUTH           IN     46563‐1105
ALICE WARRICK         26183 ALBERT J DR                                                                                 WARREN             MI     48091‐6501
ALICE WASHINGTON      145 FORESTVIEW CIRCLE                                                                             COLUMBIA           SC     29212‐2450
ALICE WASHINGTON      1054 E HAVENS ST                                                                                  KOKOMO             IN     46901‐3120
ALICE WASHINGTON      3107 PALMER DR APT 7                                                                              JANESVILLE         WI     53546‐2314
ALICE WATKINS         490 RUSSELL LEWIS RD                                                                              WEST LIBERTY       KY     41472‐9681
ALICE WATSON          871 SHADY SHORE DR                                                                                BAY CITY           MI     48706‐1953
ALICE WATTS           5082 LEEDALE DR                                                                                   DAYTON             OH     45418‐2008
ALICE WEBSTER         406 GAYLORD STREET                                                                                NEW HUDSON         MI     48165‐9782
ALICE WELBORN         105 LITTLE JOHN WAY                                                                               NEWNAN             GA     30263‐4786
ALICE WENDLING        2718 JACKSON ST                                                                                   ANDERSON           IN     46016‐5238
ALICE WENZEL          4021 W 158TH ST                                                                                   CLEVELAND          OH     44135‐1233
ALICE WERNER          3151 MAYFIELD RD APT 1202                                                                         CLEVELAND          OH     44118‐1756
ALICE WESOLEK         23 DWYER ST                                                                                       BUFFALO            NY     14224‐1113
ALICE WESS            1278 STUBEN DR                                                                                    DAYTON             OH     45427‐2150
ALICE WESTERN         80 EXMOOR RD                                                                                      WATERFORD          MI     48328‐3410
ALICE WESTFALL        161 1/2 N HIGH ST                                                                                 COVINGTON          OH     45318‐1307
ALICE WHALEY          4376 KIRK RD                                                                                      VASSAR             MI     48768‐9788
ALICE WHEELER         9183 VIENNA RD                                                                                    OTISVILLE          MI     48463‐9703
ALICE WHITE           3705 COLUMBUS DR                                                                                  BALTIMORE          MD     21215‐6121
ALICE WHITE           2034 OIL FIELD LN NW                                                                              BROOKHAVEN         MS     39601‐8606
ALICE WHITE           520 MORNING DOVE LN                                                                               SUWANEE            GA     30024‐6081
ALICE WHITTY          THE LAW OFFICES OF PETER G ANGELOS   100 NORTH CHARLES      22ND FLOOR                            BALTIMORE          MD     21201

ALICE WIATER          1759 SUNSET DR                                                                                    CARO              MI      48723‐9300
ALICE WICINSKI        6661 KNIGHSBRIDHE DR                                                                              NEW PORT RICHEY   FL      34653
ALICE WIESER          2828 MAIN ST                                                                                      NEWFANE           NY      14108‐1235
ALICE WILEY           1657 OAKLAND PARK AVE. X                                                                          COLUMBUS          OH      43224
ALICE WILLETT         3607 HANNAN RD APT 201                                                                            WAYNE             MI      48184‐2827
ALICE WILLIAMS        248 SW RAMON CT                                                                                   LAKE CITY         FL      32024‐0045
ALICE WILLIAMS        4125 WICKER CT                                                                                    CLIO              MI      48420‐8285
ALICE WILLIAMS        2118 TREERIDGE DR SE                                                                              GRAND RAPIDS      MI      49508‐3719
ALICE WILLIAMS        1620 CANNIFF ST                                                                                   FLINT             MI      48504‐2006
ALICE WILLIAMS        2791 ASHLEY DR W APT A                                                                            WEST PALM BEACH   FL      33415‐8224

ALICE WILLIAMSON      1380 FOREST DR                                                                                    LIMA              OH      45805‐4434
ALICE WILLS           34 CHERRY ST                                                                                      LOCKPORT          NY      14094‐4718
ALICE WILSON          20 C VILLAGE DRIVE                                                                                HILTON            NY      14468
ALICE WILSON          6703 SALLY CT                                                                                     FLINT             MI      48505‐1934
ALICE WILSON          4441 W NOSS RD                                                                                    BELOIT            WI      53511‐9387
ALICE WILSON          1005 LUM AVE                                                                                      KALAMAZOO         MI      49048‐2144
ALICE WILSON          21050 GEORGE HUNT CIR APT 811                                                                     WAUKESHA          WI      53186‐2043
ALICE WILSON‐LONDON   133 A J WILSON RD                                                                                 AHOSKIE           NC      27910‐8232
ALICE WINGARD         940 W RIVER RD N                                                                                  ELYRIA            OH      44035‐3439
ALICE WINKLER         42 OLD MAIN ST W                                                                                  MIAMISBURG        OH      45342‐3174
ALICE WINTERLING      812 S STOKES ST                                                                                   HAVRE DE GRACE    MD      21078
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Name                      Address1                         Address2                        Address3   Address4               City               State   Zip
ALICE WIRSU               52763 BRENTWOOD DR                                                                                 SHELBY TWP          MI     48316‐3747
ALICE WISLER              865 ROSEWOOD DR                                                                                    GALION              OH     44833‐2331
ALICE WISNIEWSKI          1708 DANIEL DR                                                                                     MILLBURY            OH     43447‐9823
ALICE WITSMAN             PO BOX 129                                                                                         FRANKFORT           IN     46041‐0129
ALICE WITT                4684 N 37TH ST                                                                                     GALESBURG           MI     49053‐9705
ALICE WOJCIK              4014 GROVE AVE                                                                                     STICKNEY             IL    60402‐4433
ALICE WOJTAN              33934 BIRCHWOOD DR                                                                                 STERLING HEIGHTS    MI     48312‐6901
ALICE WOODS               1591 STATE ROUTE 416 E                                                                             HENDERSON           KY     42420‐8811
ALICE WOODS               1205 E HOME AVE                                                                                    FLINT               MI     48505‐3022
ALICE WORLDS              NO ADDRESS ON FILE
ALICE WORLDS              408 MARTIN LUTHER KING DR.                                                                         MICHIGAN CITY      IN      46360
ALICE WORTH               6824 COOPER RD                                                                                     LANSING            MI      48911‐6524
ALICE WRIGHT              470 SANFORD AVE                                                                                    NEWARK             NJ      07106‐1602
ALICE WRIGHT              3706 WESTPOINT ST                                                                                  DEARBORN           MI      48124‐3251
ALICE WRIGHT              926 MOTIVATION DR                                                                                  HORSESHOE BEND     AR      72512‐4233
ALICE WYRICK              711 DAYTON XENIA RD                                                                                XENIA              OH      45385‐2607
ALICE YAGER               2049 DUTCHER ST                                                                                    FLINT              MI      48532‐4538
ALICE YARSEVICH           14897 WOOD RD                                                                                      LANSING            MI      48906‐6013
ALICE YATTAW              239 FORSE DRIVE                                                                                    ANDERSON           IN      46011‐2288
ALICE YEAGER              5786 E 30TH ST                                                                                     INDIANAPOLIS       IN      46218‐3356
ALICE YOUNG               2485 COUNTY ROAD 3                                                                                 SWANTON            OH      43558‐9040
ALICE YOUNG               PO BOX 114                                                                                         PARAGON            IN      46166‐0114
ALICE YOUNG               620 MAIN ST                                                                                        ESSEXVILLE         MI      48732‐1386
ALICE ZADROGA             8614 LAKEPORT RD LOT 105                                                                           CHITTENANGO        NY      13037‐9640
ALICE ZADROZNY            2472 W ENFIELD WAY                                                                                 CHANDLER           AZ      85286‐6722
ALICE ZALOCK              15503 DUPAGE BLVD                                                                                  TAYLOR             MI      48180‐6024
ALICE ZAMBOROWSKI         2 SHIRLEY AVE                                                                                      CHEEKTOWAGA        NY      14225‐2511
ALICE ZBYTEK              19 DAVIDSON DR                                                                                     DEPEW              NY      14043‐4755
ALICE ZIITTEL             426 MINNESOTA AVE                                                                                  SAINT PAUL         MN      55113
ALICE ZIMMER              47 HERON CIR                                                                                       CORTLAND           OH      44410‐1079
ALICE ZOZULA              RT 5, 428 THUMM RD.                                                                                GAYLORD            MI      49735
ALICE ZUNK                22811 60TH AVE                                                                                     BARRYTON           MI      49305‐9739
ALICE ZYCZYNSKI           4711 HAYMAN DR                                                                                     WARREN             MI      48092‐2373
ALICE, DOROTHY G          4017 BOSQUE DR                                                                                     PLANO              TX      75074‐3803
ALICEA CHARLES (469560)   BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                                     NORTHFIELD         OH      44067
                                                           PROFESSIONAL BLDG
ALICEA JOSE A (666547)    ANGELOS PETER G                  100 N CHARLES STREET , ONE                                        BALTIMORE          MD      21201
                                                           CHARLES CENTER
ALICEA MARIA              NO ADVERSE PARTY
ALICEA, CARMEN C          6 DIXFIELD AVE                                                                                     EWING              NJ      08618‐1514
ALICEA, CHARLES           BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD, BEVAN                                      NORTHFIELD         OH      44067
                                                           PROFESSIONAL BLDG
ALICEA, DOMINGO           5870 12TH OAK DRIVE                                                                                CUMMING            GA      30040
ALICEA, FELIX             PO BOX 220324                                                                                      BOSTON             MA      02122‐0014
ALICEA, GEORGIA M         1034 WOODGLEN DR.                                                                                  NEWTON FALLS       OH      44444‐9706
ALICEA, GEORGIA M         1034 WOODGLEN AVE                                                                                  NEWTON FALLS       OH      44444‐9706
ALICEA, JONATHAN          7471 NW 35TH CT                                                                                    LAUDERHILL         FL      33319‐4919
ALICEA, JOSE A            7965 RIDGE RD                                                                                      GASPORT            NY      14067‐9317
ALICEA, JOSE A            ANGELOS PETER G                  100 N CHARLES STREET, ONE                                         BALTIMORE          MD      21201
                                                           CHARLES CENTER
ALICEA, MICHAEL           DEARIE & ASSOCS JOHN C           3265 JOHNSON AVE                                                  RIVERDALE          NY      10463
ALICEA, MINERVA           405 MORRISTOWN RD                                                                                  LINDEN             NJ      07036‐5106
ALICEA, NICHOLAS L        1034 WOODGLEN AVE                                                                                  NEWTON FALLS       OH      44444‐9706
ALICEA, NORBERTO          198 SW GLENWOOD DR                                                                                 PORT ST LUCIE      FL      34984‐5032
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Name                          Address1                            Address2               Address3         Address4                 City              State   Zip
ALICEA, REGINA L              1316 DOWNEY ST                                                                                       LANSING            MI     48906
ALICEA, TOMAS O               PO BOX 4774                                                                                          AGUADILLA          PR     00605‐4774
ALICEA‐BAILEY HEATHER         PO BOX 492                                                                                           SOUTHBRIDGE        MA     01550‐0492
ALICEA‐GOMEZ, GREGORIO        APT 14                              422 COLUMBIA ROAD                                                DORCHESTER         MA     02125‐2453
ALICIA A NIXON                2 BROOKHAVEN DR                                                                                      DAYTON             OH     45426
ALICIA A PIERCE               2568 NEW MORNING AVE                                                                                 HENDERSON          NV     89052
ALICIA ADDIE                  238 QUAIL RIDGE RD                                                                                   SMYRNA             TN     37167‐5117
ALICIA ALLEN                  6721 LIVE OAK RD                                                                                     INDIANAPOLIS       IN     46214‐1943
ALICIA ARTHUR                 106 HAWTHORNE STREET                                                                                 GLENCOE            KY     41046
ALICIA AYERS                  1725 MORGAN CREEK DR                                                                                 FORT WAYNE         IN     46808‐3501
ALICIA B SNEED                3036 GLENAIRE DRIVE                                                                                  CINCINNATI         OH     45251‐2610
ALICIA BOGGS                  1670 VILLAGE TRL E UNIT 3                                                                            MAPLEWOOD          MN     55109‐5816
ALICIA BOLER‐DAVIS            909 CHATEAU CT                                                                                       COLLEYVILLE        TX     76034‐7282
ALICIA BOONE                  3358 COLBY LN                                                                                        JANESVILLE         WI     53546‐1952
ALICIA BOTELLO                300 S EATON ST                                                                                       ALBION             MI     49224‐1646
ALICIA BRADLEY                301 E HILL ST                                                                                        VAN BUREN          IN     46991
ALICIA BROWN                  2005 CANCUN DR                                                                                       MANSFIELD          TX     76063‐8520
ALICIA BROWN
ALICIA C HARRIS               3509 JUPITER DR                                                                                      CHALMETTE         LA      70043
ALICIA C PATTON               633 NE 15TH ST                                                                                       OKLAHOMA CITY     OK      73104‐4624
ALICIA CARTER                 25126 PARSONS DR                                                                                     SOUTHFIELD        MI      48075‐1755
ALICIA CASANOVA               618 N RIDGEWOOD AVE                                                                                  ORMOND BEACH      FL      32174‐5342
ALICIA CONNER                 1921 FOREST AVE                                                                                      LANSING           MI      48910‐3101
ALICIA D LIVELY               773 MARK WHITT RD                                                                                    BOAZ              AL      35956
ALICIA D SPRATT               8047 EAST FACTORY RD                                                                                 W ALEXANDRIA      OH      45381‐9504
ALICIA D STALDER              120 ALBRIGHT LN                                                                                      MIAMISBURG        OH      45342‐2228
ALICIA D STARKS               1025 MAIDEN PLACE                                                                                    DAYTON            OH      45418
ALICIA D WASHINGTON‐JACKSON   2818 COLCHESTER RD                                                                                   LANSING           MI      48906‐3617
ALICIA D WSZELAKI             1200 CENTER AVE APT 5                                                                                BAY CITY          MI      48708‐6175
ALICIA DAWN IVORY             938 CUSTER PL                                                                                        DAYTON            OH      45417‐3728
ALICIA DORSEY                 3314 FAIRWAY DRIVE                                                                                   WHARTON           TX      77488
ALICIA E SANDERS              1909 PLAZA CT                                                                                        SAINT CHARLES     MO      63303‐2719
ALICIA FABILA                 11545 BLOCK RD                                                                                       BIRCH RUN         MI      48415‐9479
ALICIA FLOREZ                 14485 SENECA RD                     APT 182                                                          VICTORVILLE       CA      92392‐9355
ALICIA FULGENCIO‐FLINT        6528 CHASE CREEK RUN                                                                                 FORT WAYNE        IN      46804‐8706
ALICIA G MCCLENDON            6585 HOOVER AVE                                                                                      DAYTON            OH      45427
ALICIA GERLACH                1210 TERRY ST                                                                                        ANDERSON          IN      46013‐1342
ALICIA GREEN                  PO BOX 2517                                                                                          DETROIT           MI      48202‐0517
ALICIA GRUBB                  1570 E LANSING RD                                                                                    MORRICE           MI      48857‐9627
ALICIA HALL                   27044 BELMONT LN                                                                                     SOUTHFIELD        MI      48076‐3115
ALICIA HARRIS                 5131 BUNDY RD APT C33                                                                                NEW ORLEANS       LA      70127‐5306
ALICIA HAULCY                 3150 ROBINSON RD                                                                                     JACKSON           MS      39209‐6753
ALICIA HERNANDEZ              102 ANSTED ST                                                                                        BATTLE CREEK      MI      49015‐2820
ALICIA HILL                   3339 S POSEYVILLE RD                                                                                 MIDLAND           MI      48640‐8578
ALICIA HOSSMANN               KRAMERSTR.10                        84166 ADLKOFEN
ALICIA HOSSMANN               KRAMERSTR 10                                                                84166 ADLKOFEN GERMANY

ALICIA HOWSER                 6440 N OAK RD                                                                                        DAVISON           MI      48423‐9306
ALICIA I VARGAS               10850 SW 75 ST                                                                                       MIAMI             FL      33173‐‐ 27
ALICIA J MALLORY              224 SPRINGDALE RD                                                                                    GADSDEN           AL      35901‐1757
ALICIA J PUMMILL              4291 MANTELL CT                                                                                      KETTERING         OH      45440
ALICIA JONES                  23120 GARDER STREET                                                                                  OAK PARK          MI      48237
ALICIA JONES                  432 ROLLING GREEN CIR S             SOUTH                                                            ROCHESTER HILLS   MI      48309‐1258
ALICIA K GEORGE               2579 MIDVALE ST                                                                                      KETTERING         OH      45420
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ALICIA K POTE                   40 W TENNYSON AVE                                                                                     PONTIAC          MI     48340‐2668
ALICIA KEEN                     9359 PARK PLACE                                                                                       SWARTZ CREEK     MI     48473‐8552
ALICIA KING                     BEVAN & ASSOCIATES, LPA, INC.      6555 DEAN MEMORIAL PARKWAY                                         BOSTON HTS.      OH     44236
ALICIA KOCHER                   400 W BUCKINGHAM DR                                                                                   MARION           IN     46952‐2030
ALICIA L GRUBBS                 1823 TENNYSON AVE                                                                                     DAYTON           OH     45406
ALICIA L TUGGLES                44 CHESHIRE LANE                                                                                      ROCHESTER        NY     14624‐2959
ALICIA LARA JIMENEZ             AVDA MERIDIANA 27                  3RD FLOOR                               08018 BARCELONA SPAIN
ALICIA LEEVANOS                 3736 SHASTA CT                                                                                        CHINO           CA      91710‐2053
ALICIA LOPEZ                    10107 LEV AVE                                                                                         ARLETA          CA      91331‐4529
ALICIA LOVE                     3069 SOUTHDALE DR APT 2                                                                               DAYTON          OH      45409
ALICIA LUCAS                    645 S ELM ST                                                                                          LAPEER          MI      48446‐2416
ALICIA LUND                     2527 TURKEY OAK ST                                                                                    SAN ANTONIO     TX      78232‐1820
ALICIA M ALVAREZ IRA R/O        7151 SW 7TH ST                                                                                        MIAMI           FL      33144
ALICIA M DANIELS                1229 E PRINCETON AVE                                                                                  FLINT           MI      48505‐1754
ALICIA M HOGAN                  71 BIRR ST                                                                                            ROCHESTER       NY      14613
ALICIA M STAMM                  9304 FERRY RD.                                                                                        WAYNESVILLE     OH      45068
ALICIA MALUCHNIK                1430 ARLINGTON AVE                                                                                    LINCOLN PARK    MI      48146‐1759
ALICIA MANAGBANAG               1703 CALICO CANYON LN                                                                                 PEARLAND        TX      77581‐5594
ALICIA MCENDARFER               5015 WILEY HOLLOW RD                                                                                  CULLEOKA        TN      38451‐2409
ALICIA MELO FAJARDO / MARIANO   DE LOS BAQUEANOS 1645              ITUZAINGO                               BUENOS AIRES ‐ ARGENTINA
HARGUINDEY                                                                                                 CP 1714
ALICIA MIJARES                  21740 RENEE CT                                                                                        SONORA          CA      95370‐9682
ALICIA MUNOZ                    3909 HEMLOCK STREET                                                                                   FORT WORTH      TX      76137‐1612
ALICIA N TAYLOR                 4850 SHADWELL DR                                                                                      DAYTON          OH      45416
ALICIA N WRIGHT                 6459 HOOVER AVE                                                                                       DAYTON          OH      45427
ALICIA OVERTON                  4762 COVINGTON RD                                                                                     LEICESTER       NY      14481‐9760
ALICIA PARK EXECUTIVE SUITE     3 MACARTHUR PL                     STE 820                                                            SANTA ANA       CA      92707‐6076
ALICIA PATTON                   633 NE 15TH ST                                                                                        OKLAHOMA CITY   OK      73104‐4624
ALICIA PEREYRA                  35550 DOVE TRL                                                                                        WESTLAND        MI      48185‐9101
ALICIA PEREZ                    10750 S AVENUE O                                                                                      CHICAGO         IL      60617‐6541
ALICIA PONCE                    815 HATHAWAY DR                                                                                       AUBURN HILLS    MI      48326‐3875
ALICIA PORTER                   155 W TENNYSON AVE                                                                                    PONTIAC         MI      48340‐2673
ALICIA POWELL                   3625 WELSH ROAD                    APT A5                                                             WILLOW GROVE    PA      19090
ALICIA PUENTE                   10418 BRAEMER ST                                                                                      CROSBY          TX      77532‐7009
ALICIA QUINONES                 13876 SW 56TH ST                   P.O. BOX 446                                                       MIAMI           FL      33175‐6021
ALICIA QUIRK                    510 STAFFA ST                                                                                         ALLENHURST      NJ      07711
ALICIA RAMSEY                   723 GENTRY DR                                                                                         ARLINGTON       TX      76018‐2349
ALICIA REINSCH                  2001 RAMROD AVE APT 515 # BLDG 5                                                                      HENDERSON       NV      89014‐2381
ALICIA RODRIGUEZ                6763 GREENVIEW AVE                                                                                    DETROIT         MI      48228‐3434
ALICIA ROSS                     3833 NW 85TH TER APT L                                                                                KANSAS CITY     MO      64154‐3795
ALICIA RUIZ                     PO BOX 7331                                                                                           NO BRUNSWICK    NJ      08902
ALICIA SANDERS                  1909 PLAZA CT                                                                                         SAINT CHARLES   MO      63303‐2719
ALICIA SOPALA                   29804 CITY CENTER DR APT 2                                                                            WARREN          MI      48093‐2428
ALICIA SPEVAK                   3550 GALT OCEAN DR APT 511                                                                            FT LAUDERDALE   FL      33308‐6834
ALICIA STEWART                  44448 CLAY ROAD                                                                                       BELLEVILLE      MI      48111‐9138
ALICIA STEWART                  300 MARSHALL RD APT 48                                                                                JACKSONVILLE    AR      72076‐2344
ALICIA T BROPHEY                146 SUMMERSEA RD                                                                                      MASHPEE         MA      02649
ALICIA TYLER                    1156 WILSHIRE DR                                                                                      MARION          OH      43302‐5744
ALICIA VARGAS                   10850 SW 75TH ST                                                                                      MIAMI           FL      33173‐2783
ALICIA VASQUEZ                  1217 N VAN BUREN ST                                                                                   BAY CITY        MI      48708‐6079
ALICIA VERKENNES                1135 CHARLES AVE                                                                                      FLINT           MI      48505‐1641
ALICIA WASHINGTON‐JACKSON       2818 COLCHESTER RD                                                                                    LANSING         MI      48906‐3617
ALICIA WHACK                    412 W ROSSETTI DR                                                                                     NOKOMIS         FL      34275‐3545
ALICIA WHITE                    37 POST AVE                                                                                           BATTLE CREEK    MI      49014‐4301
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Name                                      Address1                       Address2                         Address3   Address4                 City               State   Zip
ALICIA WHITEHEAD                          4474 JONES RD                                                                                       NORTH BRANCH        MI     48461‐8986
ALICIA WILLIAMS                           5515 DAVIS RD # B                                                                                   WAXHAW              NC     28173‐9499
ALICIA WILSON                             3039 ROANOKE STREET                                                                                 FLINT               MI     48504‐1708
ALICIA WILSON                             14300 GLASTONBURY AVENUE                                                                            DETROIT             MI     48223‐2926
ALICIA ZACZEK                             246 DUPONT AVE                                                                                      TONAWANDA           NY     14150‐7817
ALICIA ZUNIGA                             PMB 460                        229 N ADAMS ST                                                       EAGLE PASS          TX     78852‐4802
ALICJA GURNE                              2105 CLINTON VIEW CIR                                                                               ROCHESTER HLS       MI     48309‐2984
ALICJA KOSOWICZ                           1015 TOLMAN ST                                                                                      LAKE GENEVA         WI     53147‐1138
ALICK, BARRY R                            3104 CREEK VIEW DR                                                                                  FLOWER MOUND        TX     75022‐5265
ALICK, NORMA J                            10112 STEVENS AVE S                                                                                 MINNEAPOLIS         MN     55420‐4934
ALICKNAVITCH, DANIEL G                    13034 HAMPTON LAKES CIR                                                                             BOYNTON BEACH       FL     33436‐8205
ALICKNAVITCH, LUCY M                      13034 HAMPTON LAKES CR.                                                                             BOYNTON BEACH       FL     33436‐8205
ALIDA WISEHEART                           1795 RINGO KERRY LN                                                                                 MILFORD             MI     48381
ALIDE GUZALO                              313 LONG AVE                                                                                        NORTH AURORA         IL    60542‐1230
ALIEF                                     PO BOX 368                                                                                          ALIEF               TX     77411‐0368
ALIEF ISD                                                                6150 SYNOTT RD                                                       HOUSTON             TX     77083
ALIEF ISD                                 PO BOX 368                                                                                          ALIEF               TX     77411‐0368
ALIEKSAITES, HELEN M                      626 NORTHRUP                                                                                        KANSASCITY          KS     66101‐3302
ALIEKSAITES, HELEN M                      626 NORTHRUP AVE                                                                                    KANSAS CITY         KS     66101‐3302
ALIENE HENDRIX                            573 BELL RD                                                                                         DALLAS              GA     30157‐3835
ALIESCH, DONALD C                         2627 N RIVER RD                                                                                     WARREN              OH     44483
ALIFA ARNOLD                              6044 GAREAU DR                                                                                      NORTH OLMSTED       OH     44070‐4163
ALIFA C ARNOLD                            6044 GAREAU DR                                                                                      NORTH OLMSTED       OH     44070‐4163
ALIFF ELBA A (336673) ‐ FRAZEE DONALD E   SUTTER & ENSLEIN               1598 KANAWHA BLVD EAST , SUITE                                       CHARLESTON          WV     25311
                                                                         200
ALIFF ELBA A (336673) ‐ SAMONS ROLAND J SUTTER & ENSLEIN                 1598 KANAWHA BLVD EAST , SUITE                                       CHARLESTON         WV      25311
                                                                         200
ALIFF, ALVIN L                            232 W SHADBOLT ST                                                                                   LAKE ORION         MI      48362‐3069
ALIFF, BENJAMIN T                         5499 HAMILTON ROAD                                                                                  LEBANON            OH      45036‐5036
ALIFF, CATHERINE F                        7160 WEST PARKVIEW                                                                                  PARMA              OH      44134‐4759
ALIFF, CATHERINE F                        7160 W PARKVIEW DR                                                                                  PARMA              OH      44134‐4759
ALIFF, DAVID H                            17446 DEER PATH DR                                                                                  NORTHVILLE         MI      48168‐1875
ALIFF, DAVID HAROLD                       17446 DEER PATH DR                                                                                  NORTHVILLE         MI      48168‐1875
ALIFF, ERIC S                             538 W PARK AVE                                                                                      NILES              OH      44446‐1512
ALIFF, GEORGE L                           5701 MILL CREEK BLVD                                                                                BOARDMAN           OH      44512‐2717
ALIFF, HARRY D                            872 E 139TH ST                                                                                      CLEVELAND          OH      44110‐2203
ALIFF, HUBERT L                           150 MAYNOR BRANCH RD                                                                                BECKLEY            WV      25801
ALIFF, JUNE L                             113 JACQUELINE DR                                                                                   AVONDALE           LA      70094‐2819
ALIFF, PATRICIA R                         4885 WESTCHESTER DR UNIT # 4                                                                        YOUNGSTOWN         OH      44515‐6519
ALIFF, RANDALL A                          3411 S WENDOVER CIR                                                                                 YOUNGSTOWN         OH      44511‐2609
ALIFF, SHARON K                           232 W SHADBOLT ST,                                                                                  LAKE ORION         MI      48362
ALIFF, STEPHEN M                          6019 W THOMPSON RD                                                                                  INDIANAPOLIS       IN      46221‐3822
ALIFF, WILLIS V                           145 SEEBER RD                                                                                       HASTINGS           NY      13076‐3170
ALIG, CLEMENT G                           7440 DEEP RUN APT 1220                                                                              BLOOMFIELD HILLS   MI      48301‐3850
ALIG, DONNA E                             7225 STATE ROUTE 368 LOT 2                                                                          HUNTSVILLE         OH      43324‐9511
ALIG, GEORGE E                            PO BOX 2                                                                                            DONNELSVILLE       OH      45319‐0002
ALIG, HENRIETTA J                         875 CRESTMONT DR                                                                                    DAYTON             OH      45431‐2955
ALIG, JACK M                              6780 WILLOW CREEK DR                                                                                DAYTON             OH      45424‐2487
ALIG, JACK MEREL                          6780 WILLOW CREEK DR                                                                                DAYTON             OH      45424‐2487
ALIG, MARY F                              1106 SYMES CT                                                                                       ROYAL OAK          MI      48067‐1568
ALIG, ROBERT L                            314 ORCHARD DR                                                                                      DAYTON             OH      45419‐1723
ALIG, WILLIAM C                           125 HIDDEN HILLS DR                                                                                 FAIRFIELD          OH      45014‐8607
ALIGNEMENT LE GARDEUR                     315A RUE CHARLES‐MARCHAND                                                  LE GARDEUR QC J5Z 4N8
                                                                                                                     CANADA
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Name                           Address1                             Address2                       Address3            Address4                 City               State Zip
ALIGNMENT SUPPLIES INC         3518 BEECHWAY BLVD                                                                                               TOLEDO              OH 43614‐4119
ALIKA AVIATION INC             XL SPECIALTY INSURANCE COMPANY       5215 NORTH OCONNOR BOULEVARD                                                IRVING              TX 75039
                                                                    SUITE 1700
ALIKI DZAHRISTOS               954 LA SALLE AVE                                                                                                 WATERFORD          MI   48328‐3732
ALIKI PERRI                    C/O LOMBARD ODIER DARIER HENTSCH &   RUE DE LA CORRATERIE 11        CASE POSTALE 5215   1211 GENEVE 11
                               CIE                                                                                     SWITZERLAND
ALIKO, SHQIPERI J              1550 BAY STREET                      #B117                                                                       SAN FRANCISCO      CA   94123
ALIM SHERBAYEV
ALIMAR FLOW TECHNOLOGIES INC   217 W DEPOT ST                                                                                                   ANTIOCH            IL   60002‐1860
ALIMBOYOGUEN, ALICIA           2146 BELLECHASSE DR                                                                                              DAVISON            MI   48423‐2118
ALIMED INC                     297 HIGH ST                                                                                                      DEDHAM             MA   02026‐2852
ALIMI, LOUIS                   4 MAPLE RD                                                                                                       ISELIN             NJ   08830‐1518
ALIMO SANTO (637063)           ANGELOS PETER G LAW OFFICE           1300 N MARKET ST STE 212                                                    WILMINGTON         DE   19801‐1813
ALIMO, SANTO                   ANGELOS PETER G LAW OFFICE           1300 N MARKET ST STE 212                                                    WILMINGTON         DE   19801‐1813
ALIN PANCAKE                   143 GLENWOOD AVE                                                                                                 YPSILANTI          MI   48198‐5928
ALIN STEELMAN                  3629 HAWTHORNE ST                                                                                                CLARKSTON          MI   48348‐1347
ALINA
ALINA GASIOROWSKI              6114 SHADOWLAWN ST                                                                                               DEARBORN HTS       MI   48127‐2968
ALINA JOCZ                     207 E ARBORDALE RD                                                                                               SYRACUSE           NY   13219‐2123
ALINA MIKALAUSKAS              67 PULASKI BLVD                                                                                                  TOMS RIVER         NJ   08757‐6420
ALINA RUBIN                    9802 N GRACE AVE                                                                                                 NILES              IL   60714
ALINDA FAVORS                  6085 MOZART DR                                                                                                   RIVERDALE          GA   30296‐2300
ALINE BALD                     7 ANDERSON AVE                                                                                                   BRISTOL            CT   06010‐6738
ALINE BUCKELS                  10422 FOURWINDS CT                                                                                               SAINT LOUIS        MO   63114‐2443
ALINE DARLING                  2305 NORTH GARNET AVENUE                                                                                         MUNCIE             IN   47303‐2577
ALINE DAVIS                    13530 HIGHWAY 56                                                                                                 HOLDENVILLE        OK   74848‐9103
ALINE DEMOSS                   LUTHEREN MEADOW                      2648 COUNTY ROAD 59                                                         FREMONT            OH   43420‐9757
ALINE EDWARDS                  1201 N MACOMB ST APT 212                                                                                         MONROE             MI   48162‐3155
ALINE FINK                     PO BOX 11                                                                                                        MADISON            OH   44057‐0011
ALINE H KIRKLAND               1424 GRACELAND DR                                                                                                FAIRBORM           OH   45324‐4374
ALINE ISVARIN                  22115 COTTONWOOD DR                                                                                              ROCKY RIVER        OH   44116‐2332
ALINE KIRKLAND                 1424 GRACELAND DR                                                                                                FAIRBORN           OH   45324‐4374
ALINE KURBS                    23 MAPLE RIDGE RD                                                                                                SEABROOK           NH   03874‐4165
ALINE MORROW                   654 OVERHILL RD                                                                                                  BLOOMFIELD HILLS   MI   48301‐2568
ALINE NORWOOD                  1827 HEATH CT                                                                                                    BENTON HARBOR      MI   49022‐6729
ALINE PAPPADA                  1725 BELLE TERRE AVE                                                                                             NILES              OH   44446‐4121
ALINE POKOJ                    347 38TH ST                                                                                                      NIAGARA FALLS      NY   14303‐2205
ALINE REAGAN                   524 E 30TH ST                                                                                                    MARION             IN   46953‐3770
ALINE TESSIER                  8 SHARON DR APT 3                                                                                                MASSENA            NY   13662‐1652
ALINE WARGO                    850 EILEEN DR                                                                                                    MACEDONIA          OH   44056‐2224
ALIO INDUSTRIES INCORPORATED   11919 W 170 FRONTAGE RD              N #119                                                                      WHEAT RIDGE        CO   80033
ALIOA JR, LOUIS                48793 THORNBURY DR                                                                                               NOVI               MI   48374‐2747
ALIOA, KATHERINE               48793 THORNBURY DRIVE                                                                                            NOVI               MI   48374‐2747
ALIOTO, ANNE R                 2617 N CONNECTICUT AVE                                                                                           ROYAL OAK          MI   48073‐4216
ALIOTO, ANTHONY P              41540 SCHOOLCRAFT RD                                                                                             PLYMOUTH           MI   48170‐6804
ALIOTTA, GREGORY K             53238 GREGORY DR                                                                                                 MACOMB             MI   48042‐5708
ALIOU NIANGADOU                1438 SHARE AVE                                                                                                   YPSILANTI          MI   48198‐6527
ALIOUS BATES                   234 E RUSSELL AVE                                                                                                FLINT              MI   48505‐2745
ALIPERTI'S RESTAURANT          ATTN: GARY RUANE                     1189 RARITAN RD                                                             CLARK              NJ   07066‐1328
ALIPERTI, LEONARD N            107 SINCLAIR AVE                                                                                                 UNION              NJ   07083‐8911
ALIPERTI, MARK L               107 SINCLAIR AVE                                                                                                 UNION              NJ   07083‐8911
ALIPIO VELEZ                   BEVAN & ASSOCIATES LPA INC           6555 DEAN MEMORIAL PARKWAY                                                  BOSTON HEIGHTS     OH   44236
ALIREZA EMAMI                  4759 WALNUT CREEK CIR                                                                                            WEST BLOOMFIELD    MI   48322‐3493
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Name                                Address1                          Address2                  Address3      Address4               City              State Zip
ALIREZA GHAFFARI
ALISA A GREYWITT                    1657 GATEKEEPER WAY                                                                              DAYTON            OH    45458
ALISA BYRNES                        13120 STEELCHASE FARM 105                                                                        CHARLOTTE         NC    28278‐9999
ALISA C DYSON                       UNIT 7120                         4613 SOUTH KIRKMAN ROAD                                        ORLANDO           FL    32811‐3165
ALISA C DYSON                       1309 WINDING RIDGE DR APT 3B                                                                     GRAND BLANC       MI    48439
ALISA DUEHRING                      5345 WALKER RD                                                                                   DAVISON           MI    48423‐8728
ALISA DYSON                         1309 WINDING RIDGE DR APT 3B                                                                     GRAND BLANC       MI    48439‐7551
ALISA ELSTON                        710 CARNES ST                                                                                    FENTON            MI    48430‐2902
ALISA FLEMING                       2037 GOLFVIEW LN                                                                                 WESTLAND          MI    48186‐5588
ALISA J NOOKS                       322 BUNGALOW RD                                                                                  DAYTON            OH    45417‐1304
ALISA N YOUNG                       2111 WAYNE AVE                                                                                   DAYTON            OH    45410‐2136
ALISA R MARTIN                      1907 TIERRA DEL SOL                                                                              KILGORE           TX    75662
ALISA SIMMONS                       3223 TWISTED BRANCH PL                                                                           FORT WAYNE        IN    46804‐3436
ALISA SINKLER BROCKLEHURST          650 GOODRICH RD                                                                                  FOSTORIA          MI    48435‐9516
ALISEN, JOHN M                      15830 82ND ST                                                                                    HOWARD BEACH      NY    11414‐2925
ALISHA A HUTSELL                    502 W MAIN ST                                                                                    WEST CARROLLTON   OH    45449

ALISHA A LUZIUS                     8682 S NORMANDY LN                                                                               CENTERVILLE       OH    45458‐3400
ALISHA A PIERCE                     760 S CHILDRENS HOME RD                                                                          TROY              OH    45373
ALISHA COLLINS                      8715 NE 47TH ST                                                                                  SPENCER           OK    73084‐2011
ALISHA HEARD                        1403 N 63RD PL                                                                                   KANSAS CITY       KS    66102‐1102
ALISHA HOOKS                        3510 S RHODES AVE, APT 1409                                                                      CHICAGO           IL    60653‐1259
ALISHA HOOKS                        3510 S RHODES #1806                                                                              CHICAGO           IL    60653
ALISHA L DURRETT                    93 SEWARD ST APT 504                                                                             DETROIT           MI    48202‐4422
ALISHA LEWIS                        2423 THOMAS ST                                                                                   FLINT             MI    48504‐4686
ALISHA TROUT                        35252 SHEFFIELD ST                                                                               WESTLAND          MI    48186‐4456
ALISHA'S NAILS                      161 W FAIRMOUNT AVE                                                                              PONTIAC           MI    48340‐2737
ALISHIA G JOHNSON                   864 DELAWARE ST                                                                                  DETROIT           MI    48202‐2302
ALISIA FISHER                       351 BLACK WOLF DR                                                                                COLLIERVILLE      TN    38017‐6862
ALISIA R MCGEE                      1268 OLD OAK DR                                                                                  CEDAR HILL        TX    75104
ALISIA REYES                        1522 S NIAGARA ST                                                                                SAGINAW           MI    48602‐1338
ALISIA RODRIGUEZ                    1411 REO AVE                                                                                     LANSING           MI    48910‐1444
ALISIA SALAS                        2801 US HIGHWAY 83                                                                               WINTERS           TX    79567‐6417
ALISON A SAPPINGFIELD               503 N MAPLE ST                                                                                   CARROLL           IA    51401‐2512
ALISON DEHON                        705 RIDGE VIEW DRIVE                                                                             LEANDER           TX    78641‐2961
ALISON ELLIS                        874 E LIBERTY ST                                                                                 MILFORD           MI    48381‐2053
ALISON GRABER                       10512 DECATUR AVE S                                                                              BLOOMINGTON       MN    55438‐1950
ALISON HAGGERTY BUICK PONTIAC GMC   555 E 162ND ST                                                                                   SOUTH HOLLAND     IL    60473‐2369

ALISON HARTLEY                      302 UNIVERSITY AVE                                                                               FLINT             MI    48503‐2575
ALISON HOWE                         2475 PLEASANT VALLEY RD                                                                          BRIGHTON          MI    48114‐9281
ALISON JONES II                     8857 MARSEILLES ST                                                                               DETROIT           MI    48224‐1267
ALISON L ROHR                       6007 BLUEWATER DR                                                                                LEBANON           TN    37087‐0409
ALISON LARGENT                      3522 LAUREL HILL ST                                                                              KALAMAZOO         MI    49004‐3127
ALISON M BENNETT                    225 ENGLISH ROAD                                                                                 ROCHESTER         NY    14616‐2420
ALISON M BLACKBURN                  806 MANHATTAN AVE                                                                                DAYTON            OH    45406
ALISON M HALL                       1259 GLEN KEGLEY DR                                                                              XENIA             OH    45385‐5748
ALISON M PERREAULT                  19 WINGATE DR                                                                                    ROCHESTER         NY    14624‐2643
ALISON MCALLISTER                   49 BROADMOOR DR                                                                                  WABASH            IN    46992‐1319
ALISON MOODIE                       TEST                              TEST                      TEST                                 NON OF YOUR       NY    11788
                                                                                                                                     BUSINESS
ALISON RABIEJ                       1603 E BRIARWOOD TER                                                                             PHOENIX           AZ    85048‐9415
ALISON ROHR                         6007 BLUEWATER DR                                                                                LEBANON           TN    37097‐0409
ALISON STEFEK                       301 XAVIER ST                                                                                    ELYRIA            OH    44035‐8291
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Name                              Address1                        Address2                    Address3     Address4                    City               State Zip
ALISON T. SALING, K&L GATES, C/O  1 NEWARK CTR FL 10                                                                                   NEWARK              NJ 07102‐5237
BAYONNE BARREL AND DRUM PRP GROUP

ALISON T. SALING, K&L GATES, C/O   1 NEWARK CTR FL 10                                                                                  NEWARK              NJ   07102‐5237
CHEMSOL INC. PRP GROUP
ALISON TRENTACOST                  9715 N ESTON RD                                                                                     CLARKSTON          MI    48348‐2227
ALISON ZAVADIL                     15615 GOLDEN DR                                                                                     MACOMB             MI    48044‐3163
ALISON, JESSIE J                   349 HIDDEN VALLEY ROAD                                                                              KINGSPORT          TN    37663
ALISSA J SWANK                     2225 S NIAGARA ST                                                                                   SAGINAW            MI    48602‐1246
ALISSA LEON                        2375 E CAMELBACK RD STE 300                                                                         PHOENIX            AZ    85016‐3487
ALISSA M WILLIAMS                  11025 LA FORTUNA WAY                                                                                ROANOKE            IN    46783‐8929
ALISSA MCCOY                       6215 BEECHFIELD DR                                                                                  LANSING            MI    48911‐5734
ALISSA MCDONALD                    1261 BIRCHWOOD DR              N/A                                                                  SUNNYVALE          CA    94089‐2206
ALISSA WILLIAMS                    11025 LA FORTUNA WAY                                                                                ROANOKE            IN    46783‐8929
ALISTAIR RUTHERFORD                21769 ULRICH ST                                                                                     CLINTON TWP        MI    48036‐3721
ALISTER, WILLIAM L                 PO BOX 23                                                                                           CHAFFEE            NY    14030‐0023
ALISTINE BAKER                     10 SAINT AUGUSTINE DR                                                                               CHARLESTON         SC    29407‐6018
ALISYN MALEK                       127 SEWARD ST APT 305                                                                               DETROIT            MI    48202‐2436
ALITA MC INTOSH                    29631 ROCK CREEK DR                                                                                 SOUTHFIELD         MI    48076‐1872
ALITAR MANAGEMENT ALTAR            MMMMM                                                                                               NEW YORK           NY    10017
MANAGEMENT
ALITZA CARNAHAN                    924 CHARLIES WAY                                                                                    MONTPELIER         OH    43543‐1904
ALIVA FARINI Y ASOCIADOS           AV CORDOBA 1432 6 PISO A CP                                             BUENOS AIRES 1055
                                                                                                           ARGENTINA
ALIWALAS, WENCESLAO L              8833 WANDERING WAY                                                                                  BALDWINSVILLE      NY    13027‐1523
ALIX ARNOUX                        1608 OAK BERRY CIR                                                                                  WELLINGTON         FL    33414‐6165
ALIX HANNAN                        1145 MEADOWBROOK AVE SE                                                                             WARREN             OH    44484‐4561
ALIX K HANNAN                      1145 MEADOWBROOK                                                                                    WARREN             OH    44484‐4561
ALIX PARTNERS LLP                  ATTN: CARRIANNE BASLER         300 N LASALLE STREET                                                 CHICAGO            IL    60654
ALIX, GERARD J                     719 PELHAMDALE AVE                                                                                  PELHAM             NY    10803
ALIXPARTNERS                       ATTN: ALBERT KOCH              2000 TOWN CENTER            SUITE 2400                               SOUTHFIELD         MI    48075‐1250
ALIXPARTNERS LLC                   2000 TOWN CTR STE 2400         REC CONTRACT 08/09/06 AH                                             SOUTHFIELD         MI    48075‐1250
ALIXPARTNERS LLC                   2000 TOWN CTR STE 2400                                                                              SOUTHFIELD         MI    48075‐1250
ALIYAH A AZIZ                      AMATUL‐AZIZ‐ELHASSAN           1130 DORCHESTER CIR APT 8                                            LANSING            MI    48910‐5156
ALIYU, A. J                        1147 BIRCHWOOD DR                                                                                   TROY               MI    48083‐1807
ALIYU, A. JELANI                   1147 BIRCHWOOD DR                                                                                   TROY               MI    48083‐1807
ALIZA FITZPATRICK                  954 WOODLAND AVE                                                                                    TOLEDO             OH    43607‐2059
ALJADAH, MAURICE S                 23787 WINTERGREEN CIR                                                                               NOVI               MI    48374‐3680
ALJARVIS GUNN                      PO BOX 315                                                                                          CAMP HILL          AL    36850
ALJOMAIH AUTOMOTIVE CO., LTD.      P.O. BOX 224                                                            DAMMAM 31411 SAUDI
                                                                                                           ARABIA
ALJOMAIH BUS PLANT                 PO BOX 132                                                              RIYADH 11411 SAUDI ARABIA

ALJOMAIH LEASING
ALJOSCHA DOMES                     RUTSCHBAHN 5                                                            20146 HAMBURG, GERMANY

ALJUANA BROWN                      153 RICHTON ST                                                                                      HIGHLAND PARK      MI    48203‐3504
ALJUNDI, SAFWAN                    5041 BAYLEAF DR                                                                                     STERLING HEIGHTS   MI    48314‐4031
ALKA STAPLETON                     9226 BRUCE DR                                                                                       FRANKLIN           OH    45005‐1407
ALKABAREETI, OSAMA
ALKALAY, JACOB                     5970 KINGSFIELD DR                                                                                  W BLOOMFIELD       MI    48322‐1464
ALKANOWSKI, CARLA M                186 LONG DR                                                                                         ELKTON             MD    21921‐3691
ALKANOWSKI, CARLA MARIE            186 LONG DR                                                                                         ELKTON             MD    21921‐3691
ALKANOWSKI, DAVID M                166 SAW MILL RD                                                                                     TOWNSEND           DE    19734‐9273
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Name                                Address1                        Address2                        Address3   Address4                City             State Zip
ALKE EICHLER‐STAHLBERG              OBERE REGENSTRASSE 14                                                      93059 REGENSBURG
                                                                                                               GERMANY
ALKEMA, MARY A                      2440 US 10 HIGHWAY                                                                                 SEARS            MI    49679
ALKEMA, MARY R                      14277 SONNY LN                                                                                     WILLIAMSBURG     OH    45176‐9102
ALKEMA, MICHAEL                     155 CENTENNIAL AVE NW                                                                              GRAND RAPIDS     MI    49504‐5923
ALKEN ZIEGLER INC                   25575 BREST                                                                                        TAYLOR           MI    48180‐6846
ALKEN‐ZIEGLER INC                   25575 BREST                                                                                        TAYLOR           MI    48180‐6846
ALKEVICIUS, ANNA G                  31239 GAY ST                                                                                       ROSEVILLE        MI    48066‐1224
ALKHATIB, DONNA R                   8872 SHERWOOD DR NE                                                                                WARREN           OH    44484‐1766
ALKHATIB, DONNA RAE                 8872 SHERWOOD DR NE                                                                                WARREN           OH    44484‐1766
ALKIDAS, ALEXANDROS C               1585 MARTINIQUE DR                                                                                 TROY             MI    48084‐1428
ALKIER, JACQUELINE L                1919 N LONG RD                                                                                     SPOKANE VALLEY   WA    99016‐9595
ALKIK, KHALED                       32140 BAINTREE RD                                                                                  FARMINGTN HLS    MI    48334‐3512
ALKIRE JR, LEWIS R                  47 HOOD DR                                                                                         CANFIELD         OH    44406‐1316
ALKIRE JUNIOR O (484514)            KELLEY & FERRARO LLP            1300 EAST NINTH STREET , 1901                                      CLEVELAND        OH    44114
                                                                    BOND COURT BUILDING
ALKIRE, ARLENE                      6339 SOUTH HIGHSCHOOL ROAD,                                                                        INDIANAPOLIS      IN   46221
ALKIRE, CLARICE                     1104 EMERALD                                                                                       CHICAGO           IL   60411‐2714
ALKIRE, CLARICE                     1104 EMERALD AVE                                                                                   SOUTH CHICAGO     IL   60411‐2714
                                                                                                                                       HEIGHTS
ALKIRE, DAVID L                     6339 S HIGH SCHOOL RD                                                                              INDIANAPOLIS     IN    46221‐4503
ALKIRE, JUNIOR O                    KELLEY & FERRARO LLP            1300 EAST NINTH STREET, 1901                                       CLEVELAND        OH    44114
                                                                    BOND COURT BUILDING
ALKIRE, LOLA B                      PO BOX 212                                                                                         WHITE MARSH      MD    21162‐0212
ALKIRE, LOLA B                      P.O. BOX 212                                                                                       WHITE MARSH      MD    21162‐0212
ALKIRE, NAOMI M                     909 E. PEORIA ST.                                                                                  PAOLA            KS    66071‐1817
ALKIRE, NAOMI M                     909 E PEORIA ST                                                                                    PAOLA            KS    66071‐1817
ALKIRE, SANDRA                      9150 14 MILE RD NE                                                                                 CEDAR SPRINGS    MI    49319‐9319
ALKSNIS, GERALDINE                  1620 ACACIA DR NW                                                                                  GRAND RAPIDS     MI    49504‐2302
ALKSNIS, KENNETH C                  563 RIVERVIEW DR                                                                                   GREENVILLE       MI    48838‐9267
ALKSNIS, MICHAEL J                  2647 WYOMING AVE SW                                                                                WYOMING          MI    49519‐2320
ALKUS, ELENA                        42841 N HAMPTON DR                                                                                 STERLING HTS     MI    48314‐2813
ALL 4 INC.                          PO BOX 299                                                                                         KIMBERTON        PA    19442‐0299
ALL 4/KIMBERTON                     PO BOX 299                                                                                         KIMBERTON        PA    19442‐0299
ALL ABOUT CLEAN                     ATTN: RYAN ULRICH               11001 PIERSON DR # E                                               FREDERICKSBURG   VA    22408‐2079
ALL ABOUT FREIGHT SERVICES INC      OZONA NATIONAL BANK FUNDING     PO BOX 728                                                         SAN MARCOS       TX    78667‐0728
ALL ACCESS APPAREL, INC.
ALL ALASKA TOURS                    413 G ST 2ND FL NORTH                                                                              ANCHORAGE         AK   99501
ALL AMERICAN APPAREL AND UNIFORM    23871 WEST MCNICHOLS                                                                               DETROIT           MI   48219

ALL AMERICAN AUTOMOTIVE             846 HARRISON ST                                                                                    SAN FRANCISCO     CA   94107‐1125
ALL AMERICAN AWARDS                 1206 W ABRAM ST                                                                                    ARLINGTON         TX   76013‐1701
ALL AMERICAN BUICK PONTIAC GMC      1400 E END BLVD S                                                                                  MARSHALL          TX   75670‐6418
ALL AMERICAN BUICK PONTIAC GMC      STEVENS LAW FIRM                PO BOX 807                                                         LONGVIEW          TX   75606‐0807
ALL AMERICAN CHEV OF ODESSA                                                                                                            ODESSA            TX   79762‐8186
ALL AMERICAN CHEVROLET              8802 E HIGHWAY 84                                                                                  SLATON            TX   79364
ALL AMERICAN CHEVROLET OF MIDLAND   4100 W WALL ST                                                                                     MIDLAND           TX   79703‐7718

ALL AMERICAN CHEVROLET OF ODESSA    5020 JOHN BEN SHEPPERD PKWY                                                                        ODESSA            TX   79762‐8186
ALL AMERICAN CHEVROLET OF SAN ANGEL 203 N BRYANT BLVD                                                                                  SAN ANGELO        TX

ALL AMERICAN CHEVROLET OF SAN       203 N BRYANT BLVD                                                                                  SAN ANGELO        TX   76903
ANGELO
ALL AMERICAN CHEVROLET, INC.        ROBERT BAKER                    900 ARNELE AVE                                                     EL CAJON          CA   92020‐3002
                                    09-50026-mg               Doc 7123-3     Filed 09/24/10 Entered 09/24/10 15:05:32      Exhibit B
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Name                                Address1                             Address2                 Address3     Address4                   City               State   Zip
ALL AMERICAN CHEVROLET, INC.        FREDERICK HERTRICH                   1255 STATE ROUTE 35                                              MIDDLETOWN          NJ     07748‐2011
ALL AMERICAN CHEVROLET, INC.        1255 STATE ROUTE 35                                                                                   MIDDLETOWN          NJ     07748‐2011
ALL AMERICAN DOOR LLC               4600 N SUPERIOR DR                                                                                    MUNCIE              IN     47303‐6429
ALL AMERICAN DOOR OF MUNCIE         4600 N SUPERIOR DR                                                                                    MUNCIE              IN     47303‐6429
ALL AMERICAN DRIVEABILITY &         1112 SW BAYSHORE BLVD                                                                                 PORT SAINT LUCIE    FL     34983‐2408
PERFORMANCE
ALL AMERICAN FREIGHTWAYS            4838 BLACKTHORNE AVE                                                                                  LONG BEACH          CA     90808‐1058
ALL AMERICAN HEALTHCARE SERVICES    1374 WHITEHORSE HAMILTON SQUARE RD                                                                    HAMILTON            NJ     08690‐3701
                                    STE 301
ALL AMERICAN MULTIMODAL SERVICES    3025 UNIVERSITY AVE STE 202A                                                                          COLUMBUS            GA     31907‐7244
INC
ALL AMERICAN MVG & STG              4340 US HIGHWAY 51 N NO                                                                               MEMPHIS             TN     38127
ALL AMERICAN SATELLITE SERVICE      ATTN: CORPORATE OFFICER/AUTHORIZED   12533 LIGHTCATCHER WAY                                           BURLESON            TX     76028‐3068
                                    AGENT
ALL AMERICAN SERVICE & SUPPLIES                                          1776 ALL AMERICAN WAY                                            CORONA             CA      92879
ALL AMERICAN TOWING                 465 POPLAR ST                                                                                         MANKATO            MN      56001‐2323
ALL AMERICAN TRANSPORT              500 ALL AMERICAN DRIVE                                                                                FRANCIS CREEK      WI      54214
ALL AMERICAN TRUCK BROKERS          1114 N GRADY AVE                                                                                      LAKELAND           FL      33805‐4026
ALL AUTO & TIRE                     22781 SHORE CENTER DR                                                                                 EUCLID             OH      44123‐1615
ALL AUTO CENTER                     7480 MISSION ST                                                                                       COLMA              CA      94014‐2939
ALL AUTOMOTIVE HYDRAULIC LIFTS&     12259 CLEVELAND ST STE C                                                                              NUNICA             MI      49448‐9307
EQUIPMENT
ALL AUTOMOTIVE REPAIR INC.          G2150 E HEMPHILL RD                                                                                   BURTON              MI     48529‐1359
ALL BRITE QUALITY SWEEPERS INC      700 CAMP ST                                                                                           NEW ORLEANS         LA     70130‐3702
ALL CANADIAN AWARDS                 424 SIMCOE ST SOUTH                                                        OSHAWA CANADA ON L1H 4J6
                                                                                                               CANADA
ALL CANADIAN AWARDS & GIFTS SALES

ALL CAR SPECIALISTS                 330 S DEL MAR AVE                                                                                     SAN GABRIEL         CA     91776‐1349
ALL CARE AUTOMOTIVE SERVICES LTD    BAY 12, 11830 ‐ 152 STREET                                                 EDMONTON AB T5Y 1E3
                                                                                                               CANADA
ALL CITY DELIVERY INC               PO BOX 9613                                                                                           FORT WAYNE          IN     46899‐9613
ALL CITY RENTALS                    137 LARK ST                                                                                           ALBANY              NY     12210‐1429
ALL CONTINENT TRANSPORT             PO BOX 2715                                                                                           TERRE HAUTE         IN     47802‐0715
ALL COPY PRODUCTS INC.              DAN DUNBABIN                         4141 COLORADO BLVD                                               DENVER              CO     80216‐4307
ALL COUNTY BLOCK & SUPPLY CO        PO BOX 502                                                                                            BOHEMIA             NY     11716‐0502
ALL DAY AUTOMOTIVE                  355 SPEDDING CRT                                                           KELOWNA BC V1X 7K9
                                                                                                               CANADA
ALL EMPLOYEES CREDIT UNION          28954 CHARDON RD                                                                                      WILLOUGHBY HILLS   OH      44092‐1401

ALL ERECTION & CRANE RENTAL CORP    7809 OLD ROCKSIDE RD                 PO BOX 31087                                                     CLEVELAND          OH      44131‐2315
ALL FLAGS AUTO SERVICE              3741 HWY 7A                                                                NESTLETON STATION ON L0B
                                                                                                               1L0 CANADA
ALL FOILS INC                       16100 IMPERIAL PKWY                                                                                   STRONGSVILLE       OH      44149‐0600
ALL FREIGHT BROKERS INC             6210 EXECUTIVE BLVD                                                                                   DAYTON             OH      45424‐1420
ALL FREIGHT EXPRESS INC             122 COOPER AVE                                                                                        TONAWANDA          NY      14150‐6655
ALL IN ONE CONSTRUCTION SVC         1 LLOYD ST                                                                                            WILMINGTON         DE      19804‐2819
ALL ISLAND LEASE A CAR INC          35 HEMLOCK DR                                                                                         HEMPSTEAD          NY      11550
ALL ISLAND TRUCK LEASING                                                 3467 HAMPTON RD                                                  OCEANSIDE          NY      11572
ALL KAR MUFFLER                     5821 TURNEY RD                                                                                        GARFIELD HEIGHTS   OH      44125‐4480
ALL LABOR TIRE SERVICE              12179 BRANFORD ST STE D                                                                               SUN VALLEY         CA      91352‐5731
ALL LOADS TRANSPORTATION INC        501 FRANKLIN BLVD                                                          CAMBRIDGE CANADA ON N1R
                                                                                                               8G9 CANADA
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Name                                  Address1                             Address2                       Address3   Address4                   City               State Zip
ALL LOCK AMORTIZATN                   PO BOX 6010                          US 1 AND 130                                                         NORTH BRUNSWICK     NJ 08902‐6010

ALL MAKES LOGISTICS                   1221 NORTH SERVICE RD E                                                        OAKVILLE CANADA ON L6H
                                                                                                                     1A7 CANADA
ALL MAKES LOGISTICS                   PAM SINGH                            1221 NORTH SERVICE ROAD EAST              OAKVILLE ON N6H1A7
                                                                                                                     CANADA
ALL METAL FINISHING                   NEW LIFE COOPER & BRASS              9984 MARINE CITY HWY                                                 CASCO              MI   48064‐4108
ALL OUT AUTO REPAIR                   3116 50 AVE                                                                    LLOYDMINSTER AB T9V 1H4
                                                                                                                     CANADA
ALL PHASE ELECTRIC                    2210 NATIONAL AVE                                                                                         INDIANAPOLIS       IN   46227‐3512
ALL PHASE MACH/CANTO                  45111 N SPRING DR                                                                                         CANTON             MI   48187‐2541
ALL POINT TRUCKING                    31246 CARION CT                                                                                           WARREN             MI   48092‐1300
ALL POINTS CAPITAL CORP               275 BROADHOLLOW ROAD                                                                                      MELVILLE           NY   11747
ALL POINTS CAPITAL CORP               ATTN: CORPORATE OFFICER/AUTHORIZED   275 BROADHOLLOW RD                                                   MELVILLE           NY   11747‐4808
                                      AGENT
ALL POINTS DISTRIBUTION NETWORK INC   PO BOX 1068                                                                                               WARREN             OH   44482‐1068

ALL POINTS EQUIPMENT INC              12851 PROSPECT ST                                                                                         DEARBORN           MI   48126‐3651
ALL POINTS INTERACTIVE MEDIA          568 PEACHTREE PARKWAY                                                                                     CUMMING            GA   30041
ALL POINTS LOGISTICS INC              129 W LAKE ST                                                                                             SOUTH LYON         MI   48178
ALL POINTS RELOCATION SERVICE INC     ATTN: CORPORATE OFFICER/AUTHORIZED   4195 DUNDAS ST W STE 200                  TORONTO ON M8X 1Y4
                                      AGENT                                                                          CANADA
ALL POINTS RELOCATION SERVICE INC     4195 DUNDAS ST W STE 200                                                       TORONTO CANADA ON M8X
                                                                                                                     1Y4 CANADA
ALL POINTS SHIPPING INC               222 UNIVERSAL DR                                                                                          NORTH HAVEN        CT   06473
ALL POINTS TOWING                     2801 VASSAR ST STE B                                                                                      RENO               NV   89502‐3267
ALL POINTS TRANSPORT CORP             PO BOX 1938                                                                                               DEARBORN           MI   48121‐1938
ALL POINTS TRUCKING INC               PO BOX 9839                                                                                               BROOKPARK          OH   44142
ALL PRO ALUMINUM CYLINDER HEAD        5370 JOHNSTOWN ALEXANDRIA RD                                                                              JOHNSTOWN          OH   43031‐9575
ALL PRO ALUMINUM CYLINDER HEAD        5370 JOHNSTOWN ALEXANDRIA RD         PO BOX 424                                                           JOHNSTOWN          OH   43031‐9575
ALL PRO ALUMINUM CYLINDER HEADS INC   5370 JOHNSTOWN ALEXANDRIA RD         PO BOX 424                                                           JOHNSTOWN          OH   43031‐9575

ALL PRO EXERCISE INC                  24166 HAGGERTY RD                                                                                         FARMINGTON HILLS   MI   48335‐2645

ALL PRO FASTFREIGHT                   16 WIMBLEDON RD                                                                GUELPH CANADA ON N1H 7N1
                                                                                                                     CANADA
ALL PRO FREIGHT SYSTEMS INC           PO BOX 901774                                                                                             CLEVELAND          OH   44190‐1774
ALL PRO INCORPORATED                  6770 5TH ST                                                                                               NORTHPORT          AL   35476‐3447
ALL PRO TRANSPORT INC                 PO BOX 3078                                                                                               ASHTABULA          OH   44005‐3078
ALL PRO TRANSPORTATION INC            PO BOX 614                                                                                                CRYSTAL LAKE       IL   60039‐0614
ALL QUALITY CORP                      35025 SCHOOLCRAFT RD                                                                                      LIVONIA            MI   48150‐1209
ALL QUALITY ENTERPRISES INC           35025 SCHOOLCRAFT RD                                                                                      LIVONIA            MI   48150‐1209
ALL RESORT EXPRESS                    GORDON CUMMINGS                      PO BOX 681780                                                        PARK CITY          UT   84068‐1780
ALL RISK INC
ALL RITE IND., INC.                   KATHY LALLY                          470 OAKWOOD RD                                                       LAKE ZURICH        IL   60047‐1515
ALL RITE IND., INC.                   KATHY LALLY                          470 OAKWOOD ROAD                                                     ROSEVILLE          MI   48066
ALL RITE INDUSTRIES                   470 OAKWOOD RD                                                                                            LAKE ZURICH        IL   60047‐1515
ALL RITE SPRING CO                    SEAN SEMLER                          2302 SPRING RIDGE DRIVE                                              CHICAGO            IL   60639
ALL ROUND TRUCK & AUTO CARE           259 METCALFE ST E                                                              STRATHROY ON N7G 1P9
                                                                                                                     CANADA
ALL SAFE FIRE PROTECTION INC          PO BOX 53                                                                                                 THORNWOOD          NY   10594‐0053
ALL SAINTS CENTRAL HIGH SCH           217 S MONROE ST                                                                                           BAY CITY           MI   48708‐7208
ALL SALES MANUFACTURING AND           STEVE DRINGENBERG                    5121 HILLSDALE CIR                                                   EL DORADO HILLS    CA   95762‐5708
MACHINING
                                      09-50026-mg                 Doc 7123-3    Filed 09/24/10 Entered 09/24/10 15:05:32      Exhibit B
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Name                                 Address1                             Address2               Address3         Address4                  City                State Zip
ALL SEASONS BUILDING MATERIALSCO INC 2260 MONTCALM ST                                                                                       INDIANAPOLIS         IN 46208‐5455

ALL SEASONS PARTY & TENT RENTAL       12416 GRANDVIEW RD                                                                                    GRANDVIEW           MO    64030‐1725
ALL SEASONS UNIFORMS                  1319 HOWARD ST                                                                                        ELK GROVE VILLAGE   IL    60007‐2213

ALL SERVICE AUTO REPAIR,INC           44 STEPHEN ST                                                                                         LEMONT              IL    60439
ALL SPRAY                             7024 COUNTY ROAD 1 3                                                                                  SWANTON             OH    43558‐9532
ALL STAR AUTO PARTS                   9654 THREE NOTCH RD                                                                                   TROY                VA    22974‐2802
ALL STAR AUTO PARTS                                                       9654 THREE NOTCH RD                                               TROY                VA    22974
ALL STAR AUTO SERVICE                 8044 OGDEN AVE                                                                                        LYONS               IL    60534‐1140
ALL STAR AUTO SERVICE                 1400 10TH CT                                                                                          LAKE PARK           FL    33403‐2007
ALL STAR AUTOMOTIVE #102              7 N 1ST ST                                                                                            COLUMBIA            MO    65203‐4111
ALL STAR BROKERAGE INC                1606 PROGRESS WAY STE B                                                                               CLARKSVILLE         IN    47129‐9232
ALL STAR BUICK PONTIAC GMC TRUCK, I   1180 E NAPOLEON ST                                                                                    SULPHUR             LA    70663‐3520

ALL STAR BUICK PONTIAC GMC TRUCK, INC. JACK HEBERT                        1180 E NAPOLEON ST                                                SULPHUR              LA   70663‐3520

ALL STAR BUICK PONTIAC GMC TRUCK, INC. 1180 E NAPOLEON ST                                                                                   SULPHUR              LA   70663‐3520

ALL STAR CHEVROLET, INC.                                                                                                                    BATON ROUGE          LA   70816
ALL STAR CHEVROLET, INC.              MATTHEW MCKAY                       11377 AIRLINE HWY                                                 BATON ROUGE          LA   70816‐6247
ALL STAR CHEVROLET, INC.              11377 AIRLINE HWY                                                                                     BATON ROUGE          LA   70816‐6247
ALL STAR DAIRIES                      JEFF HOOGERHEIDE                    PO BOX                                                            LEXINGTON            KY
ALL STAR DAIRIES                      1050 MONARCH STREET                                                                                   LEXINGTON            KY   40513
ALL STAR FLEET SERVICES                                                   1015 W MAIN ST                                                    ARLINGTON            TX   76013
ALL STAR LOGISTICS                    14 ELIZABETH STREET                                                         GRIMSBY CANADA ON L3M
                                                                                                                  3K3 CANADA
ALL STAR MOTORS                     164 VALLEY ST                                                                                           SOUTH ORANGE        NJ    07079‐2802
ALL STAR MOTORS COMPANY OF GREENVIL 1009 HIGHWAY 82 E                                                                                       GREENVILLE          MS    38701‐5415

ALL STAR MOTORS COMPANY OF            DREW DEPRIEST                       1009 HIGHWAY 82 E                                                 GREENVILLE          MS    38701‐5415
GREENVILL
ALL STAR MOTORS COMPANY OF
GREENVILLE INC
ALL STAR MOTORS COMPANY OF            DREW DEPRIEST                       1009 HIGHWAY 82 E                                                 GREENVILLE          MS    38701‐5415
GREENVILLE, INC.
ALL STAR MOTORS COMPANY OF            1009 HIGHWAY 82 E                                                                                     GREENVILLE          MS    38701‐5415
GREENVILLE, INC.
ALL STAR MOVING SYSTEMS INC           3541 S DAYTON AVE                                                                                     MUNCIE              IN    47302‐5882
ALL STAR PLASTICS LLC                 2337 W MARQUETTE WOODS RD                                                                             STEVENSVILLE        MI    49127‐9587
ALL STAR SERVICES INC                 3443 MILITARY ST                                                                                      PORT HURON          MI    48060‐6636
ALL STAR TIRE AND AUTO SERVICE        534 N CAPITOL AVE                                                                                     INDIANAPOLIS        IN    46204‐1204
ALL STATE (P.O. # 01B01179)
ALL STATE DISPATCH                    PO BOX 12531                                                                                          OVERLAND PARK       KS    66282‐2531
ALL STATE EXPRESS INC                 121 SHIELDS PARK DR STE I                                                                             KERNERSVILLE        NC    27284‐3549
ALL STATE FASTENER CORP               PO BOX 426                                                                                            ROSEVILLE           MI    48066‐0426
ALL STATE FASTENER CORP               15460 E 12 MILE RD                                                                                    ROSEVILLE           MI    48066‐1839
ALL STATE FASTENER CORP               15460 EAST 12MILE RD                                                                                  ROSEVILLE           MI    48066
ALL STATE FASTENER CORP               15460 E 12 MILE RD                  PO BOX 426                                                        ROSEVILLE           MI    48066‐1839
ALL STATE FASTENER CORP               3F‐2 NO 385 SEC 3                                                           TAINAN TW 00000 TAIWAN
ALL STATE FASTENER CORP               9/F #1 ALLEY 2 LANE 60                                                      KAOHSIUNG TW 000 TAIWAN

ALL STATE FASTENER CORP               ABIGAIL DELEON                      15460 E 12 MILE RD                                                ROSEVILLE           MI    48066‐1839
ALL STATE FASTENER CORP.              ABIGAIL DELEON                      15460 E 12 MILE RD                                                COLUMBUS            IN    47201
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Name                                  Address1                           Address2                    Address3   Address4                   City           State   Zip
ALL STATE/WARREN                      PO BOX 426                                                                                           ROSEVILLE       MI     48066‐0426
ALL STATES FREIGHT SYSTEMS            7801 OLD GRANGER RD                                                                                  CLEVELAND       OH     44125‐4848
ALL STATES TRANSPORTATION INC         216 EDWARDS DR                                                                                       SPRINGBORO      OH     45066
ALL STICK LABEL LTD                   25 NIXON RD                                                               BOLTON ON L7E 1K2 CANADA

ALL TECH AUTOMOTIVE                  174 CHURCH AVE                                                                                        BALLSTON SPA    NY     12020‐3608
ALL TERRAIN INC                      2675 W GRAND AVE                                                                                      CHICAGO         IL     60612
ALL TERRAIN PRODUCTIONS INC          1438 W KINZIE STE 200                                                                                 CHICAGO         IL     60642
ALL TEST PRO LLC                     123 SPENCER PLAIN RD                PO BOX 1138                                                       OLD SAYBROOK    CT     06475
ALL TEST/OLD SAYBROO                 123 SPENCER PLAIN RD                                                                                  OLD SAYBROOK    CT     06475
ALL THE PERSONS LISTED AS OWNERS AND C/O GENERAL MOTORS SOUTH AFRICA     KEMPSTON ROAD                          SIDWELL, PORT ELIZABETH
PROSPECTIVE OWNERS OF A SHARES IN    (PROPRIETARY) LIMITED                                                      6001 SOUTH AFRICA

ALL THE PERSONS LISTED AS OWNERS AND C/O THE COMPANY SECRETARY ‐ DELTA   KEMPSTON ROAD                          SIDWELL, PORT ELIZABETH
PROSPECTIVE OWNERS OF A SHARES IN    MOTOR CORPORATION (PTY) LTD.                                               SOUTH AFRICA

ALL TRADES EQUIPMENT & SUPPLY         2051 W BRISTOL RD                  INACTIVATE PER LEGAL                                              FLINT          MI      48507‐3226
ALL TRAILER STORAGE INC               2037 CHESTNUT ST                                                                                     DEARBORN       MI      48124‐4353
ALL TRANS SERVICES INC                45 E PARK DR                                                                                         MOUNT HOLLY    NJ      08060‐5123
ALL TRINKETS & TREASURES              ATTN: TERRIE RICHARDSON            4251 DAVISON RD # 2                                               BURTON         MI      48509‐1450
ALL TUNE & LUBE                       11900 MIDDLEBELT RD                                                                                  LIVONIA        MI      48150‐2895
ALL TUNE & LUBE                       4707 E ARROWHEAD PKWY                                                                                SIOUX FALLS    SD      57110‐2700
ALL TUNE & LUBE                       3209 S MARION RD                                                                                     SIOUX FALLS    SD      57106‐1044
ALL TUNE & LUBE‐DARIEN                6718 ROUTE 83                                                                                        DARIEN         IL      60561‐3972
ALL TUNE AND LUBE                     10400 N MICHIGAN RD                                                                                  CARMEL         IN      46032
ALL TYPE TRUCK & TRAILER REPAIR       23660 SHERWOOD AVE                                                                                   WARREN         MI      48091‐5365
ALL TYPES EXPEDITING                  ZONETTA BALFANZ                    5659 COVENTRY LANE 200                                            FORT WAYNE     IN      46804
ALL TYPES EXPEDITING & DELIVERY SVC   PO BOX 592                                                                                           HUNTERTOWN     IN      46748‐0592
ALL WAYS EAST TRANSPORTATION          MARLAIN KOLLER                     1025 SAW MILL RIVER ROAD                                          YONKERS        NY      10710
ALL WELDING & FABRICATING CO          1882 WOODSLEE DR                                                                                     TROY           MI      48083‐2207
ALL WORLD MACHINERY SUPPLY INC        1301 W DIGGINS ST                                                                                    HARVARD        IL      60033‐2300
ALL, JANE E                           202 BARTON ST                                                                                        FLINT          MI      48503‐3932
ALL, RONALD J                         8810 WINDING RIDGE RD                                                                                INDIANAPOLIS   IN      46217‐4687
ALL‐AMERICAN AUTOMOTIVE INC.          190 UNION BLVD                                                                                       WEST ISLIP     NY      11795‐3006
ALL‐AMERICAN AUTOMOTIVE INC.          190 UNION BLVD                                                                                       WEST ISLIP     NY      11795‐3006
ALL‐AMERICAN EXPRESS LLC              PO BOX 421046                                                                                        INDIANAPOLIS   IN      46242‐1046
ALL‐L LLC                             831 ROGERS ST                                                                                        LOWELL         MA      01852‐4337
ALL‐PRO AUTO GROUP                    709 NEW FRANKLIN RD                                                                                  LAGRANGE       GA      30240‐1841
ALL‐RITE INDUSTRIES INC               KATHY LALLY                        470 OAKWOOD RD                                                    LAKE ZURICH    IL      60047‐1515
ALL‐RITE INDUSTRIES INC               KATHY LALLY                        470 OAKWOOD ROAD                                                  ROSEVILLE      MI      48066
ALL‐RITE INDUSTRIES INC               470 OAKWOOD RD                                                                                       ZURICH         IL      60047
ALL‐RITE SPRING CO                    2302 SPRING RIDGE DR                                                                                 SPRING GROVE   IL      60081‐8696
ALL‐RITE SPRING COMPANY               SEAN SEMLER                        2302 SPRING RIDGE DRIVE                                           CHICAGO        IL      60639
ALL‐STAR APPAREL
ALL‐STAR BRANDS, INC. D/B/A FALCON
HEADWEAR
ALL‐STAR CHEVROLET GEO, INC.          DREW DEPRIEST                      7240 CRAFT GOODMAN RD                                             OLIVE BRANCH   MS      38654‐1028
ALL‐STAR CHEVROLET GEO, INC.          7240 CRAFT GOODMAN RD                                                                                OLIVE BRANCH   MS      38654‐1028
ALL‐STATE CAREER SCHOOL ‐ ALL‐        501 SEMINOLE ST                                                                                      LESTER         PA      19029‐1827
ALL‐STATE EXPRESS INCORPORATED        CHRIS FRENCH                       121 SHIELDS PARK DR STE I                                         KERNERSVILLE   NC      27284‐3549
ALL‐STATE STAMPING                    8 DWIGHT PARK DR                                                                                     SYRACUSE       NY      13209‐1029
ALL‐TECH AUTOMOTIVE & TOWING          9865 ROUND LAKE RD                                                                                   LAINGSBURG     MI      48848‐9404
ALL‐TECH PERFORMANCE‐NORTH            ATTN: GERRY WILLIAMS               G5323 N SAGINAW ST                                                FLINT          MI      48505‐1537
ALL‐TEST PRO                          123 SPENCER PLAIN ROAD                                                                               OLD SAYBROOK   CT      06475
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Name                               Address1                         Address2                          Address3      Address4               City               State   Zip
ALL‐TEST PRO (BJM CORP)            123 SPENCER PLAIN RD             PO BOX 1138                                                            OLD SAYBROOK        CT     06475
ALL‐TEST PRO (BJM CORP)            123 SPENCER PLAIN RD                                                                                    OLD SAYBROOK        CT     06475
ALL‐WEATHER SEAL OUTDOORS          ATTN: DANIEL MC DOWELL           G4258 S SAGINAW ST                                                     BURTON              MI     48529‐1648
ALL4 INC                           PO BOX 299                                                                                              KIMBERTON           PA     19442‐0299
ALL4 INC                           2393 KIMBERTON RD STE 100                                                                               KIMBERTON           PA     19442
ALLA AVERBUKH                      C/O THE KUHLMAN LAW FIRM LLC     1100 MAIN STREET                  SUITE 2550                           KANSAS CITY         MO     64105
ALLA AVERBUKH (DEATH OF HUSBAND    GREGORY G HOPPER ESQUIRE SCBMA   300 WEST PRATT STREET SUITE 450                                        BALITMORE           MD     21201
BORIS AVERBUKH)
ALLA SLAVIN                        APT 25F                          100 EAST WALTON STREET                                                 CHICAGO             IL     60611‐4920
ALLABAND, MARK A                   6562 HIGHWAY 527                                                                                        DOYLINE             LA     71023‐3308
ALLABAUGH, DONALD J                1104 32ND ST                                                                                            BAY CITY            MI     48708‐8624
ALLABAUGH, JAMES W                 2716 W GERMAN RD                                                                                        BAY CITY            MI     48708‐4907
ALLABAUGH, MAXINE R                2680 GERMAN RD                                                                                          BAY CITY            MI     48708‐8433
ALLABAUGH, MAXINE R                2680 W GERMAN RD                                                                                        BAY CITY            MI     48708‐8433
ALLABAUGH, MILDRED J               2716 W GERMAN RD                                                                                        BAY CITY            MI     48708‐4907
ALLABAUGH, MILDRED J               2716 GERMAN RD                                                                                          BAY CITY            MI     48708‐4907
ALLADI, VANI                       1100 YVERDON DR APT A4                                                                                  CAMP HILL           PA     17011
ALLAGENE GREEN                     3031 S COOLIDGE AVE                                                                                     INDIANAPOLIS        IN     46239‐1219
ALLAGREEN, SANDRA L                29674 OLD NORTH RIVER RD                                                                                HARRISON            MI     48045‐1628
                                                                                                                                           TOWNSHIP
ALLAHLA DOVER                      13900 TERRY ST                                                                                          DETROIT            MI      48227‐2573
ALLAI WES                          1200 E WOODHURST DR                                                                                     SPRINGFIELD        MO      65804
ALLAIN BOURGEOIS                   8465 ILENE DR                                                                                           CLIO               MI      48420‐8552
ALLAIN, ELROY E                    525 VALLEY DAIRY RD                                                                                     BUELLTON           CA      93427‐6815
ALLAIN, KENN J                     158 WHEELOCK AVE                                                                                        MILLBURY           MA      01527
ALLAIN, MARY R                     4 BIRCHWOOD TERRANCE             UNIT 38                                                                BRISTOL            CT      06010
ALLAIN, RAYMOND J                  5279 ISLA KEY BLVD S APT 114                                                                            SAINT PETERSBURG   FL      33715‐1656

ALLAIN, RENE L                     29 FERRY ST                                                                                             SOUTH GRAFTON      MA      01560‐1326
ALLAIRE SR, RICHARD L              1691 S COUNTY LINE RD                                                                                   ONAWAY             MI      49765‐9687
ALLAIRE, BARBARA                   306 S BAY AVE                                                                                           ISLIP              NY      11751‐4803
ALLAIRE, ROBERT C                  6345 S KOMENSKY AVE                                                                                     CHICAGO            IL      60629‐4703
ALLAIRE, THOMAS A                  110 SIRENA WAY                                                                                          LAKE PLACID        FL      33852
ALLAM, DOUGLAS W                   4601 JOSLYN RD                                                                                          ORION              MI      48359‐2235
ALLAMAE CRAM                       4125 BURTON PLACE CT                                                                                    ANDERSON           IN      46013‐5601
ALLAMARY LONG                      86 GILLESPIE AVE                                                                                        PONTIAC            MI      48341‐2225
ALLAMON, MARY A                    57 BROADWAY                                                                                             SHELBY             OH      44875‐1230
ALLAMON, MARY A                    57 BROADWAY ST                                                                                          SHELBY             OH      44875‐1230
ALLAMON, ROY E                     154 CANNERY LN                                                                                          WINFIELD           WV      25213‐9706
ALLAMON, RUSSELL L                 8711 WINDSONG CT                                                                                        FRANKLIN           OH      45005‐7912
ALLAMON, TIMOTHY                   4837 STATE ROUTE 98                                                                                     BUCYRUS            OH      44820‐9328
ALLAN A SAROKI                     36700 WOODWARD AVE STE 209                                                                              BLOOMFIELD HILLS   MI      48304‐0930
ALLAN A. HORNBECK CHEVROLET INC.   ALLAN HORNBECK                   400‐402 MAIN ST                                                        FOREST CITY        PA      18421
ALLAN A. HORNBECK CHEVROLET INC.   400‐402 MAIN ST                                                                                         FOREST CITY        PA      18421
ALLAN AGRIMONTI                    12510 LUCILLE LN                                                                                        PALOS PARK         IL      60464‐2574
ALLAN AINSWORTH                    2314 PUTT LN                                                                                            LAKELAND           FL      33810‐4333
ALLAN ALCORN                       10201 N 99TH AVE‐19                                                                                     PEORIA             AZ      85345
ALLAN AMUNDSON                     6343 N LOCHWOOD DR                                                                                      JANESVILLE         WI      53545‐8856
ALLAN ANDERSON                     56 S RINGOLD ST                                                                                         JANESVILLE         WI      53545‐2561
ALLAN ANDREW NIEHAUS               MOTLEY RICE LLC                  28 BRIDGESIDE BLVD                PO BOX 1792                          MT PLEASANT        SC      29465
ALLAN ANDREW NIEHAUS               MOTLEY RICE LLC                  28 BRIDGESIDE LLC                 PO BOX 1792                          MT PLEASANT        SC      29465
ALLAN ARCHER                       4901 HIDDEN PINES CT                                                                                    MIDLAND            MI      48640‐2803
ALLAN ARMS                         2671 PORCUPINE TRL                                                                                      LAPEER             MI      48446‐8324
ALLAN AULT                         3115 STATEN AVE APT 8                                                                                   LANSING            MI      48910‐6702
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Name                 Address1                         Address2                     Address3   Address4               City               State   Zip
ALLAN AVERY          46 CONSTABLE ST                                                                                 MALONE              NY     12953‐1324
ALLAN B GOLDBERG     310 HILLSIDE DR                                                                                 HARTFORD CITY       IN     47348‐8950
ALLAN B PASS         590 AL HIGHWAY 79                                                                               SCOTTSBORO          AL     35769‐7609
ALLAN BANDA          3115 LA SALLE DR                                                                                ANN ARBOR           MI     48108‐2901
ALLAN BARNES         6435 PHILLIPS RD                                                                                BURT                NY     14028‐9713
ALLAN BARNHART       4785 WARWICK DR S                                                                               CANFIELD            OH     44406‐9241
ALLAN BARRINGER      PO BOX 111                                                                                      STANDISH            MI     48658‐0111
ALLAN BATTS          4291 HERITAGE DR                                                                                HUDSONVILLE         MI     49426‐9117
ALLAN BEERS          5047 HOUGH RD                                                                                   DRYDEN              MI     48428‐9306
ALLAN BELL           297 WESTBROOK DR                                                                                TOMS RIVER          NJ     08757‐5622
ALLAN BENNETTS       34606 MELTON ST                                                                                 WESTLAND            MI     48186‐9720
ALLAN BERRY          8305 COWAN LAKE DR NE                                                                           ROCKFORD            MI     49341‐9037
ALLAN BODEY          630 S MADISON AVE                                                                               ANDERSON            IN     46016‐1064
ALLAN BOGAN          PO BOX 818                                                                                      FLINT               MI     48501‐0818
ALLAN BONNER         6385 MOWER RD                                                                                   SAGINAW             MI     48601‐9780
ALLAN BOOTH          1945 MAPLEWOOD DR                                                                               OWOSSO              MI     48867‐9082
ALLAN BOUZA          22079 GRUBER RD                                                                                 DEFIANCE            OH     43512‐9629
ALLAN BOWEN          3396 CHERYL DR                                                                                  HOWELL              MI     48855‐9377
ALLAN BRIDEAU        16 TWIN BIRCH LN                                                                                MORRISONVILLE       NY     12962‐9778
ALLAN BROWN          8088 DENTON HILL RD                                                                             FENTON              MI     48430‐9485
ALLAN BUCKNER        4871 NEWCASTLE DR SE                                                                            KENTWOOD            MI     49508‐4839
ALLAN BUNCE          2092 CULBREATH RD                LOT C2                                                         BROOKSVILLE         FL     34602
ALLAN BURLEY         7149 TIMBERWOOD DR                                                                              DAVISON             MI     48423‐9580
ALLAN BURNS          16660 GREENFIELD RD APT 301                                                                     DETROIT             MI     48235
ALLAN BUYNAK         154 HURONDALE DR                                                                                WHITE LAKE          MI     48386‐2527
ALLAN C BACKUS       208 ALDRICH ROAD                                                                                FAIRPORT            NY     14450‐9544
ALLAN C ESTER        901 PALLISTER ST APT 1312                                                                       DETROIT             MI     48202‐2677
ALLAN C FLYNN        9126 SHARP RD                                                                                   SWARTZ CREEK        MI     48473‐9176
ALLAN C HARRIS       3483 WILLIAMSBURG ST NW                                                                         WARREN              OH     44485‐2262
ALLAN C RABINOWITZ   911 PARK AVE 9B                                                                                 NEW YORK            NY     10075
ALLAN C STEVEN       2254 CAMDEN LN                                                                                  TEMPERANCE          MI     48182‐2240
ALLAN C YOUNG        2990 W GRAND BLVD STE 310                                                                       DETROIT             MI     48202‐3041
ALLAN CAESAR         5828 PRESCOTT DR                                                                                TAWAS CITY          MI     48763‐9454
ALLAN CALDEIRA       12746 LODESTAR DRIVE                                                                            GRASS VALLEY        CA     95949‐9316
ALLAN CARPENTER      140 BIG OAK RD                                                                                  SMYRNA              DE     19977‐3502
ALLAN CARR           13020 HARBOR LANDINGS DR                                                                        FENTON              MI     48430‐8899
ALLAN CARR JR        1007 MERCER ST                                                                                  ESSEXVILLE          MI     48732‐1219
ALLAN CHAPMAN        6804 LILAC DR APT A                                                                             LOCKPORT            NY     14094‐6826
ALLAN CHILDERS       682 REYNOLDS DR                                                                                 WATERFORD           MI     48328‐2034
ALLAN CHOW           6070 BALMORAL WAY                                                                               COMMERCE            MI     48382‐4892
                                                                                                                     TOWNSHIP
ALLAN CHRISTOPHER    APT K                            433 COUNTRY DRIVE                                              DOVER              DE      19901‐4788
ALLAN CLARKE         2073 S CANAL RD                                                                                 EATON RAPIDS       MI      48827‐9360
ALLAN CLAUS          BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS.        OH      44236
ALLAN COFFEY         8102 A DELEWARE                                                                                 OSCODA             MI      48750
ALLAN COFFIE
ALLAN COHOON         6225 N M 52                                                                                     OWOSSO              MI     48867‐8819
ALLAN COLCERNIAN     58398 PLEASANT VIEW CT                                                                          WASHINGTON          MI     48094‐2473
ALLAN COLE           1000 PEBBLE BEACH DR                                                                            BAKERSFIELD         CA     93309‐6653
ALLAN COLLISON       6311 ELMWOOD DR                                                                                 WATERFORD           MI     48329‐3131
ALLAN COOK           23320 GLENCREEK DR                                                                              FARMINGTON HILLS    MI     48336‐3037

ALLAN COON           1940 MANCHESTER DR                                                                              LAPEER              MI     48446‐9716
ALLAN COOPER         3589 KANSAS RD                                                                                  OKEMOS              MI     48864‐3519
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ALLAN COOPER          517 FOOTE RD                                                                                   CHEBOYGAN         MI     49721‐9093
ALLAN COUCH           606 EAST ST                                                                                    HEBRON            CT     06248‐1132
ALLAN COX             14288 BACK CREEK VALLEY RD                                                                     HEDGESVILLE       WV     25427‐5029
ALLAN COX             5338 VAN VLEET RD                                                                              SWARTZ CREEK      MI     48473‐8571
ALLAN CURTIS          315 14TH AVE NE                                                                                ST PETERSBURG     FL     33701‐1217
ALLAN D EDWARDS       3023 HOUSEL CRAFT RD.                                                                          BRISTOLVILLE      OH     44402
ALLAN D FRONHEISER    3 APPLE ST                                                                                     BARTO             PA     19504‐9509
ALLAN D MCKINNEY      6487 CAMP BLVD                                                                                 HANOVERTON        OH     44423‐8609
ALLAN D WILLIAMS      1706 HAMILTON ST SW                                                                            WARREN            OH     44485‐3527
ALLAN DAMINATO        1602 LILY WOOD CT                                                                              WILDWOOD          MO     53005‐4915
ALLAN DAUSCHER        5622 YOUNG RD                                                                                  LOCKPORT          NY     14094‐1228
ALLAN DE SHANO        12448 WISNER HWY                                                                               CLINTON           MI     49236‐9787
ALLAN DEBIAW          1724 MURDOCK RD                                                                                LYNDONVILLE       NY     14098‐9730
ALLAN DELOR           2724 KILGORE RD                                                                                WALES             MI     48027‐1211
ALLAN DEYO            C/O WEITZ AND LUXENBERG PC      700 BROADWAY                                                   NEW YORK CITY     NY     10003
ALLAN DOWNING         515 ADAMS ST                                                                                   DECATUR           IN     46733‐2006
ALLAN DURANSO         7199 RONALD DR                                                                                 SAGINAW           MI     48609‐6941
ALLAN E HAEFELE       1171 JACQUELINE ST                                                                             SAGINAW           MI     48609‐4902
ALLAN E NEUMEIER      PO BOX 296                                                                                     BIG CREEK         KY     40914‐0296
ALLAN EBERLE          2639 CARIBOU TRL                                                                               WEST BRANCH       MI     48661‐9741
ALLAN ENGLISH         7005 NORTHVIEW DR                                                                              LOCKPORT          NY     14094‐5342
ALLAN F TERRANCE      43 EARL ST                                                                                     ROCHESTER         NY     14611‐3727
ALLAN FAGAN           1751 W COUNTY RD 432                                                                           GULLIVER          MI     49840
ALLAN FAULDS          103 CASTLEWOOD DR                                                                              BROOKLYN          MI     49230‐9723
ALLAN FAUST           1475 PINE ST                                                                                   GLADWIN           MI     48624‐8353
ALLAN FEIRN           2115 CLOVER LN 26                                                                              JANESVILLE        WI     53545
ALLAN FELGER          10426 CARROLL RD                                                                               CHURUBUSCO        IN     46723‐9408
ALLAN FENSCH          6185 DENTON RD                                                                                 BELLEVILLE        MI     48111‐1012
ALLAN FERRIER         3267 MARATHON RD                                                                               COLUMBIAVILLE     MI     48421‐8974
ALLAN FERRIO          820 MUNGER RD                                                                                  BAY CITY          MI     48708‐9634
ALLAN FIELDS          6290 BURNETT RD                                                                                LEAVITTSBURG      OH     44430‐9712
ALLAN FIRMAN          BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS.       OH     44236
ALLAN FLACHSMANN      3742 WINDING PINE DR                                                                           METAMORA          MI     48455‐8969
ALLAN FLAUGHER        1208 FALL RIVER RD                                                                             YPSILANTI         MI     48198‐3154
ALLAN FLYNN           9126 SHARP RD                                                                                  SWARTZ CREEK      MI     48473‐9176
ALLAN FOESS           6826 ARCHDALE ST                                                                               DETROIT           MI     48228‐4200
ALLAN FORREST         310 CANTERBURY RD                                                                              ELYRIA            OH     44035‐1722
ALLAN FOX             410 GREEN ST                                                                                   GREENSBURG        PA     15601‐4028
ALLAN FRANCIS         302 KINDRED BLVD                                                                               PORT CHARLOTTE    FL     33954‐1709
ALLAN FREEMERMAN      103 CHARLESGATE CIR                                                                            EAST AMHERST      NY     14051‐2437
ALLAN FRICK           8030 REESE RD                                                                                  CLARKSTON         MI     48348‐4341
ALLAN FRITZ           12563 BURNS RD                                                                                 CARLETON          MI     48117‐9372
ALLAN FRODLE          6064 BELMONT CT                                                                                GRAND BLANC       MI     48439‐8679
ALLAN FULLER          4378 5TH ST                                                                                    COLUMBIAVILLE     MI     48421‐9302
ALLAN G CAMPBELL 3D   450 AMSTERDAM ST                                                                               DETROIT           MI     48202‐3408
ALLAN G SHAFFER       1244 HOLLYWOOD ST NE                                                                           WARREN            OH     44483‐4150
ALLAN GATEWOOD        5718 PIPER AVE                                                                                 LANSING           MI     48911‐4614
ALLAN GIBSON          6683 ERRICK RD                                                                                 N TONAWANDA       NY     14120‐1147
ALLAN GIFFING         702 BLUE GILL RD                                                                               OXFORD            PA     19363‐2374
ALLAN GILBERT         3597 ROBSON RD                                                                                 MIDDLEPORT        NY     14105‐9733
ALLAN GLATTER         25871 BELL RD                                                                                  NEW BOSTON        MI     48164‐9225
ALLAN GOODING         51 BILWA TRL                                                                                   SWARTZ CREEK      MI     48473‐1611
ALLAN GOODWIN         5125 NW 19TH PL                                                                                OCALA             FL     34482‐3231
ALLAN GRIGSBY         109 JACKSON ROAD EXT                                                                           PENFIELD          NY     14526‐1252
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Name                                  Address1                         Address2                     Address3   Address4               City               State   Zip
ALLAN GROSS                           5750 N NEW LOTHROP RD                                                                           CORUNNA             MI     48817‐9411
ALLAN GUSTAFSON                       16403 N 165TH DR                                                                                SURPRISE            AZ     85388‐1137
ALLAN H FIELDS                        6290 BURNETT RD                                                                                 LEAVITTSBURG        OH     44430‐9712
ALLAN HAEFELE                         1171 JACQUELINE ST                                                                              SAGINAW             MI     48609‐4902
ALLAN HANCOCK COLLEGE                 800 SOUTH COLLEGE DR                                                                            SANTA MARIA         CA     93454
ALLAN HARPER                          5018 SANDLAKE CT                                                                                MYRTLE BEACH        SC     29579‐3193
ALLAN HARRIS                          3483 WILLIAMSBURG ST NW                                                                         WARREN              OH     44485‐2262
ALLAN HARRIS                          2521 COWAN PL                                                                                   MOORE               OK     73160‐4144
ALLAN HAWKINS                         18433 FAIRWAY GREEN DR                                                                          HUDSON              FL     34667‐5764
ALLAN HAWLEY                          651 LAKE DR                                                                                     SIX LAKES           MI     48886‐8744
ALLAN HELBER                          5641 FAIRFIELD ST SE                                                                            LANCASTER           OH     43130‐8852
ALLAN HINKEL                          11379 STATE ROUTE 177                                                                           CAMDEN              OH     45311‐9616
ALLAN HINZ                            7072 TAPPON DR                                                                                  CLARKSTON           MI     48346‐2634
ALLAN HOKE                            CASCINO MICHAEL P                220 S ASHLAND AVE                                              CHICAGO              IL    60607
ALLAN HOLT JR                         1735 GLEN CURTIS RD                                                                             BALTIMORE           MD     21221‐2112
ALLAN HOPKINS                         BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS.         OH     44236
ALLAN HORTON                          9200 CORUNNA RD                                                                                 FLINT               MI     48532‐5504
ALLAN HOWARD                          2080 N HOLLISTER RD                                                                             OVID                MI     48866‐8659
ALLAN HOWELL                          120 ADAMS ST                                                                                    PENDLETON           IN     46064‐1110
ALLAN HUBER                           13089 INDIGO CT                                                                                 HOLLAND             MI     49424‐8236
ALLAN HUGHES                          585 WOODSIDE AVE                                                                                ROSELLE             NJ     07203‐2933
ALLAN HUNT                            1330 W DILL RD                                                                                  DEWITT              MI     48820‐9315
ALLAN HURST                           15516 W FRANCIS RD                                                                              EVANSVILLE          WI     53536‐9713
ALLAN IRVING                          223 THE GARDENS AT SUMMERFIELD                                                                  SHELTON             CT     06484
ALLAN J COLCERNIAN                    58398 PLEASANTVIEW CT.                                                                          WASHINGTON          MI     48094
ALLAN J FAUST                         1475 PINE ST                                                                                    GLADWIN             MI     48624‐8353
ALLAN J ROBBINS                       3319 LOCKHEAD ST                                                                                BURTON              MI     48529‐1059
ALLAN J SAMPSON                       197 PLEASANT ST                                                                                 WATERTOWN           MA     02472‐2320
ALLAN J THOMPSON                      431 BRADLEY LN                                                                                  YOUNGSTOWN          OH     44504
ALLAN J VINE                          ALEX L VINE                      26 SPRINGVALE RD APT A                                         CROTON‐ON‐          NY     10520
                                                                                                                                      HUDSON
ALLAN J. TOPOL, COVINGTON & BURLING   1201 PENNSYLVANIA AVE NW                                                                        WASHINGTON          DC     20004
LLP
ALLAN JOHNSON                         5746 ACORN LN                                                                                   STERLING HEIGHTS   MI      48314‐3165
ALLAN JONES                           PO BOX 415                                                                                      AKWESASNE          NY      13655‐0415
ALLAN JONES                           14598 HIGHWAY C                                                                                 PHILLIPSBURG       MO      65722‐7129
ALLAN JOSEPH                          50 COUNTRYWOOD DR                                                                               HANOVER            PA      18706
                                                                                                                                      TOWNSHIP
ALLAN JR, E R                         N78W17445 WILDWOOD DR APT 407                                                                   MENOMONEE FALLS     WI     53051‐4137

ALLAN JR, ROBERT C                    760 CHERRY TREE LN                                                                              ROCHESTER HILLS    MI      48306‐3315
ALLAN K RYDER                         1605 MERCER CT                                                                                  YELLOW SPGS        OH      45387
ALLAN K. KEHL                         KENOSHA COUNTY EXECUTIVE         1010 56TH STREET,                                              KENOSHA            WI      53140
                                                                       ADMINISTRATION BUILDING
ALLAN KANSY                           4281 KIOWA RD                                                                                   RICHFIELD          OH      44286‐9468
ALLAN KEITH HOWELL                    2325 SOUTH ST                                                                                   ELWOOD             IN      46036
ALLAN KELCH                           1930 E COLLEGE AVE                                                                              APPLETON           WI      54915‐3167
ALLAN KERBE SR                        215 TENNESSEE RD                                                                                STEVENSVILLE       MD      21666‐3425
ALLAN KERR                            10502 W DESERT FOREST CIR                                                                       SUN CITY           AZ      85351‐2245
ALLAN KEYS                            PO BOX 680653                                                                                   FRANKLIN           TN      37068‐0653
ALLAN KINGSBURY                       PO BOX 97                                                                                       GILMANTON          NH      03237‐0097
ALLAN KLINE                           2903 DUNLAP RD                                                                                  DUCK RIVER         TN      38454‐3433
ALLAN KNAKE                           2340 MT ROYAL                                                                                   WATERFORD          MI      48328
ALLAN KNEPPER                         N16W29838 BROOKSTONE CIR                                                                        PEWAUKEE           WI      53072‐4861
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Name                        Address1                          Address2                         Address3   Address4               City               State   Zip
ALLAN KNOPER                3113 WOODLILY ST SW                                                                                  WYOMING             MI     49418‐9108
ALLAN KOLUCH                70035 WELDING RD                                                                                     RICHMOND            MI     48062‐5211
ALLAN KORMAN                2280 FISHERMAN DR                                                                                    LAKE HAVASU CITY    AZ     86404‐1175
ALLAN KOSKI                 293 LAWTHORN ST                                                                                      THE VILLAGES        FL     32162‐5096
ALLAN KROENKE               3175 WILLIS RD                                                                                       BROWN CITY          MI     48416‐8759
ALLAN L COLDING             466 ANTOINETTE ST APT 24                                                                             DETROIT             MI     48202‐3437
ALLAN L FAGAN               432 PORT INLAND RD.                                                                                  GULLIVER            MI     49840
ALLAN L LAKE                11205 S LONGWOOD DR                                                                                  CHICAGO              IL    60643
ALLAN L LUPTON              4177 SUGARCREEK DR                                                                                   BELLBROOK           OH     45305‐1328
ALLAN L MUSSETTER           176 SHADLA RD                                                                                        SPRINGFIELD         OH     45505
ALLAN L WILHELM             12361 SEYMOUR RD                                                                                     MONTROSE            MI     48457‐9731
ALLAN LANDOSKY              1452 TREVINO DR                                                                                      TROY                MI     48085‐6101
ALLAN LANGE                 5831 LIPPINCOTT RD                                                                                   LAPEER              MI     48446‐9784
ALLAN LANGSTON              24967 S SYLBERT DR                                                                                   REDFORD             MI     48239‐1641
ALLAN LARNER                5395 FLORIA DR                                                                                       SWARTZ CREEK        MI     48473‐8826
ALLAN LENGYEL               BEVAN & ASSOCIATES, LPA, INC.     6555 DEAN MEMORIAL PARKWAY                                         BOSTON HTS.         OH     44236
ALLAN LEONARD               4430 ANDERSON DR                                                                                     BEAVERTON           MI     48612‐8711
ALLAN LICKFELT              7354 CR235 RR #4                                                                                     BELLEVUE            OH     44811
ALLAN LIEN                  9150 DODGE RD                                                                                        MONTROSE            MI     48457‐9188
ALLAN LITTLE                9109 PINE BLUFF DR                                                                                   FLUSHING            MI     48433‐1221
ALLAN LOTOCZKY              3453 KEVIN CIR                                                                                       WARREN              MI     48092‐2282
ALLAN LOVE                  108 BEACHWOOD DR                                                                                     CROSSVILLE          TN     38558‐7545
ALLAN LUCAS                 CECIL RR 1                                                                                           SHERWOOD            OH     43556
ALLAN LUPTON                4177 SUGARCREEK DR                                                                                   BELLBROOK           OH     45305‐1328
ALLAN M REIDOSH             3373 BROCKPORT SPENCERPORT                                                                           SPENCERPORT         NY     14559‐2169
ALLAN M URBANIAK            3307 CATALINA DR                                                                                     BAY CITY            MI     48706‐2519
ALLAN MACDONALD             # 132                             6 BETH AVENUE                                                      LEOMINSTER          MA     01453‐4900
ALLAN MACK                  8103 BECKETTS RIDGE LN                                                                               FORT WAYNE          IN     46825‐2948
ALLAN MACZKA                G5441 KIMBERLY DR                                                                                    GRAND BLANC         MI     48439
ALLAN MAIGATTER             2 SAWYER ST                                                                                          BURLINGTON          MA     01803
ALLAN MAIZE                 9053 BEARD RD                                                                                        LAINGSBURG          MI     48848‐9318
ALLAN MAKI                  6 UPPER BEACON ST                                                                                    MAYNARD             MA     01754
ALLAN MANGAN                522 ROUNDTOP BLVD                                                                                    DUNCANVILLE         TX     75116‐2507
ALLAN MANNING               38788 GLENMAR LN                                                                                     HARRISON            MI     48045‐2258
                                                                                                                                 TOWNSHIP
ALLAN MARGOLIS              22640 GARZOTA DR 156                                                                                 SANTA CLARITA      CA      91350
ALLAN MARTIN                1977 KETEGAWN RD                                                                                     OWOSSO             MI      48867‐1529
ALLAN MARTIN                234 PONDEROSA RD                                                                                     WINNSBORO          LA      71295‐5685
ALLAN MATTHYSSE             940 MONROE AVE NW APT 426                                                                            GRAND RAPIDS       MI      49503‐1487
ALLAN MC ELWEE              100 TALSMAN DR UNIT 12                                                                               CANFIELD           OH      44406‐1972
ALLAN MCDONALD              1702 GULF CITY RD LOT 313                                                                            RUSKIN             FL      33570
ALLAN MCKINNEY              6487 CAMP BLVD                                                                                       HANOVERTON         OH      44423‐8609
ALLAN MEECE                 2645 N LAKE PLEASANT RD                                                                              ATTICA             MI      48412‐9250
ALLAN MEIER P (ESTATE OF)   EARLY LUDWICK & SWEENEY, L.L.C.   ONE CENTURY TOWER, 11TH FLOOR,                                     NEW HAVEN          CT      06510
                                                              265 CHURCH STREET
ALLAN MICHIE                1366 CHARLESTON LN                                                                                   COLUMBIA           TN      38401‐7344
ALLAN MILLER                9929 DOUGLAS RD                                                                                      TEMPERANCE         MI      48182‐9632
ALLAN MIRKIN                512 BEACH 134TH                                                                                      FAR ROCKAWAY       NY      11694
ALLAN MOON                  13844 ALASKA AVE. LOT 298                                                                            EAGLE              MI      48822
ALLAN MOON                  500 W NORTH ST APT 304                                                                               GAYLORD            MI      49735‐1526
ALLAN MOORE                 6415 HAVELOCK DR                                                                                     CLARKSTON          MI      48346‐2355
ALLAN MOTOR COMPANY, INC.   PO BOX 157                                                                                           DANVILLE           CA      94526‐0157
ALLAN MUELLER               21 LANGDON RD                                                                                        BURLINGTON         NJ      08016‐2921
ALLAN MUGLICH               128 WESTCHESTER DR                                                                                   AMHERST            OH      44001‐2778
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Name                                   Address1                         Address2                     Address3             Address4                 City               State   Zip
ALLAN MYERS                            2447 WISE RD                                                                                                NORTH CANTON        OH     44720‐1235
ALLAN N GLENNON                        858 COLLEGE PKWY #101                                                                                       ROCKVILLE           MD     20850
ALLAN NAUJOK                           10829 E HOUGHTON LAKE DR                                                                                    HOUGHTON LAKE       MI     48629‐8624
ALLAN NEUMEIER                         PO BOX 296                                                                                                  BIG CREEK           KY     40914‐0296
ALLAN NILLES                           225 13TH AVE W                   APT 2026                                                                   WEST FARGO          ND     58078‐2693
ALLAN NORDER                           10050 GARRISON RD                                                                                           LAINGSBURG          MI     48848‐9614
ALLAN NORTHCUTT                        124 CAHILL DR                                                                                               ROCKFORD            MI     49341‐1105
ALLAN P MEIER                          ROBERT W PHILLIPS                SIMMONS BROWDER GIANARIS     707 BERKSHIRE BLVD   PO BOX 521               EAST ALTON           IL    62024
                                                                        ANGELIDES & BARNERD LLC
ALLAN PALMERTON                        1418 WILSHIRE RD                                                                                            HASLETT             MI     48840‐8412
ALLAN PERDUE                           2124 HADLEY RD                                                                                              LAPEER              MI     48446‐9647
ALLAN PRESSLER                         465 TURQUOISE DR                                                                                            WHITMORE LAKE       MI     48189‐8277
ALLAN R COOPER                         517 FOOTE RD                                                                                                CHEBOYGAN           MI     49721‐9093
ALLAN R DAWKINS                        775 N. GREECE RD.                                                                                           ROCHESTER           NY     14626‐1043
ALLAN R FOX                            410 GREEN ST                                                                                                GREENSBURG          PA     15601‐4028
ALLAN R HUNT                           1330 W DILL RD                                                                                              DEWITT              MI     48820‐9315
ALLAN R MCDUFFIE                       C/O WILLIAMS KHERKHER HART &     8441 GULF FREEWAY, STE 600                                                 HOUSTON             TX     77007
                                       BOUNDAS, LLP
ALLAN R NELSON
ALLAN R O'BRYAN                        22170 BEECH ST                                                                                              DEARBORN            MI     48124
ALLAN R RICKERT AND SHARON E RICKERT   W195 S9850 RACINE AVE                                                                                       MUSKEGO             WI     53150
TTEES
ALLAN R TOMASEK                        10201 FM 971                                                                                                GEORGETOWN         TX      78626
ALLAN R WALLS                          9513 HICKORYHURST DR                                                                                        BALTIMORE          MD      21236‐4703
ALLAN RANCOUR                          6027 WINNEBAGO ST                                                                                           GROVE CITY         OH      43123‐9075
ALLAN RANDALL                          7323 LEHIGH CT                                                                                              ZEPHYRHILLS        FL      33540‐1014
ALLAN REAVES                           16870 STOUT ST                                                                                              DETROIT            MI      48219‐3359
ALLAN REED                             36333 GARFIELD RD APT 137                                                                                   CLINTON TOWNSHIP   MI      48035‐1178

ALLAN REICHEL                          1191 HINDU CV                                                                                               GULF BREEZE        FL      32563‐3572
ALLAN REIDOSH                          3373 BROCKPORT SPENCERPORT RD                                                                               SPENCERPORT        NY      14559‐2169
ALLAN REMINGTON                        15829 CHASE ST                                                                                              NORTH HILLS        CA      91343‐6303
ALLAN RICHMOND                         32668 W CARTERET CT                                                                                         MILLSBORO          DE      19966‐4828
ALLAN RICKERT                          W 195 SOUTH 9850 RACINE AVE                                                                                 MUSKEGO            WI      53150
ALLAN RINES                            11400 E EATON ALBANY PIKE                                                                                   DUNKIRK            IN      47336‐9111
ALLAN RINGEL                           2115 LAKEFIELD DR                                                                                           HURON              OH      44839‐2071
ALLAN RITCHIE                          5804 RED PINE DR                                                                                            LEWISTON           MI      49756‐8549
ALLAN ROBBINS                          3319 LOCKHEAD ST                                                                                            BURTON             MI      48529‐1059
ALLAN ROBERTS                          204 COUNTRYWOOD CT                                                                                          BRANDON            MS      39042‐2027
ALLAN ROBINSON                         PO BOX 261                                                                                                  HARTLAND           MI      48353‐0261
ALLAN ROE JR                           7123 LEAWOOD ST                                                                                             PORTAGE            MI      49024‐4081
ALLAN ROSE                             5472 S LAZY DEER LN                                                                                         BALDWIN            MI      49304‐9160
ALLAN ROTHMAN                          WEITZ & LUXENBERG PC             700 BROADWAY                                                               NEW YORK CITY      NY      10003
ALLAN RYDER                            1605 MERCER CT                                                                                              YELLOW SPGS        OH      45387‐1222
ALLAN S COLE                           1000 PEBBLE BEACH DR                                                                                        BAKERSFIELD        CA      93309
ALLAN S WITTUM                         2811 TIPTREE PATH                                                                                           FLINT              MI      48506‐1381
ALLAN SABIT                            15705 MILLAR RD                                                                                             CLINTON TWP        MI      48036‐1620
ALLAN SABO                             C/O BEVAN & ASSOCIATES LPA INC   6555 DEAN MEMORIAL PARKWAY                                                 BOSTON HTS         OH      44236
ALLAN SADAJ                            31673 FLYNN AVE                                                                                             WARREN             MI      48092‐1623
ALLAN SALO                             8035 MERRILL RD                                                                                             NORTH BRANCH       MI      48461‐9394
ALLAN SAMPSON                          2947 N COUNTY RD E                                                                                          JANESVILLE         WI      53548‐8939
ALLAN SANDERSON                        3101 TRAIL LAKE DR                                                                                          GRAPEVINE          TX      76051‐2649
ALLAN SATKOWIAK                        125 CORD PL                                                                                                 AUBURN             IN      46706‐3002
ALLAN SATKOWIAK                        125 CORD PL.                                                                                                AUBURN             IL      46706
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ALLAN SAUNDERS         3444 W MINERAL POINT RD                                                                          JANESVILLE         WI     53548‐3203
ALLAN SAWYER           2382 TANDY DR                                                                                    FLINT              MI     48532‐4958
ALLAN SCHAFFER         1774 KAPEL DR                                                                                    EUCLID             OH     44117‐1826
ALLAN SCHUBERT         1402 OAK LEAF DR                                                                                 COLUMBIA           TN     38401‐8803
ALLAN SCHULTZ          3926 LOCKPORT OLCOTT RD LOT 113                                                                  LOCKPORT           NY     14094‐1186
ALLAN SCHULZ           4660 LEIX RD                                                                                     MAYVILLE           MI     48744‐9761
ALLAN SEELY            96 FOUNTAIN CRES                                                                                 OXFORD             MI     48371‐6710
ALLAN SEIBERT          3333 RAVENSWOOD RD LOT 84                                                                        MARYSVILLE         MI     48040‐1163
ALLAN SHROYER          211 CHELSEA DR                                                                                   FOREST             VA     24551‐3141
ALLAN SITTON           41260 CIMARRON ST                                                                                CLINTON TWP        MI     48038‐1809
ALLAN SKIVER           15939 HARRIS RD                                                                                  DEFIANCE           OH     43512‐8088
ALLAN SKUNDA           5069 WOODCLIFF DR                                                                                FLINT              MI     48504‐1254
ALLAN SLEEMAN          35144 LANA LN                                                                                    STERLING HTS       MI     48312‐3851
ALLAN SMITH            7869 JOSE LAKE DR                                                                                SOUTH BRANCH       MI     48761‐9665
ALLAN SMITH            642 MAPLE ST                                                                                     MOUNT MORRIS       MI     48458‐1927
ALLAN SMITH            2146 W WHEATON CT                                                                                BLOOMINGTON        IN     47403‐8875
ALLAN SMITH            4426 HEARTHRIDGE DR                                                                              JANESVILLE         WI     53546‐2169
ALLAN SNYDER           5084 E US HIGHWAY 23                                                                             CHEBOYGAN          MI     49721‐8937
ALLAN SOMMER           2720 W SID DR                                                                                    SAGINAW            MI     48601‐9205
ALLAN SONNENBERG       30723 STATE ROUTE 281                                                                            HOLGATE            OH     43527‐9606
ALLAN SPARK            1 PLEASANT DR                                                                                    MONESSEN           PA     15062‐2518
ALLAN SPERLE           1787 HICKEY RD                                                                                   HALLSVILLE         TX     75650‐4183
ALLAN SPEZIA           7751 ADAIR RD                                                                                    CASCO              MI     48064‐1530
ALLAN STAFFORD         1824 PIKE RD                                                                                     REESE              MI     48757‐9514
ALLAN STARK            571 CLAY PIKE                                                                                    N HUNTINGDON       PA     15642‐2316
ALLAN STEINLEY         8042 STANLEY RD                                                                                  FLUSHING           MI     48433‐1110
ALLAN STEPHENS         1421 S MCGEE RD                                                                                  LAKE CITY          MI     49651‐7929
ALLAN STEVEN           2254 CAMDEN LN                                                                                   TEMPERANCE         MI     48182‐2240
ALLAN STEVENSON        836 WASHINGTON RD                                                                                GROSSE POINTE      MI     48230‐1291
ALLAN STEWART          6138 RAINTREE DR                                                                                 CANTON             MI     48187‐3634
ALLAN STOUT            1121 BEN HILL BLVD                                                                               NOLENSVILLE        TN     37135‐8454
ALLAN STRATTON         5368 NASHUA DR                                                                                   AUSTINTOWN         OH     44515‐5125
ALLAN SWINDLE          2306 KIDWELL CIR                                                                                 PLANO              TX     75075‐6645
ALLAN TAYLOR           PO BOX 7112                                                                                      FLINT              MI     48507‐0112
ALLAN THOMAS           C/O BEVAN & ASSOCIATES LPA INC    6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS         OH     44236
ALLAN THOMPSON         2778 HILLENDALE DR                                                                               ROCHESTER HILLS    MI     48309‐1923
ALLAN TRANSPORTATION   ATTN: JEFF HAYWOOD                821 CESAR E CHAVEZ AVE                                         PONTIAC            MI     48340‐2468
ALLAN TROMBLEY         8921 STEVENS ST                                                                                  TAYLOR             MI     48180‐2930
ALLAN TUTTILA          3250 DIETZ RD                                                                                    WILLIAMSTON        MI     48895‐9516
ALLAN URBANIAK         3307 CATALINA DR                                                                                 BAY CITY           MI     48706‐2519
ALLAN VALLAD           317 FAIRLAND AVE                                                                                 MIO                MI     48647‐9623
ALLAN VANKIRK          19 HIGHMEADOW RD                                                                                 WATERTOWN          CT     06795‐1533
ALLAN VANTOL           850 N WAGNER RD                                                                                  ESSEXVILLE         MI     48732‐2024
ALLAN VANVLERAH        14618 CAMPBELL RD                                                                                DEFIANCE           OH     43512‐8832
ALLAN VERNON           10201 NORTH VASSAR ROAD                                                                          MOUNT MORRIS       MI     48458‐9718
ALLAN W FORREST        310 CANTERBURY RD                                                                                ELYRIA             OH     44035‐1722
ALLAN W GILBERT        3597 ROBSON RD                                                                                   MIDDLEPORT         NY     14105
ALLAN WADECKI          8145 ASHARE CT                                                                                   CLARKSTON          MI     48346‐1147
ALLAN WALKER           1000 HARVARD WAY APT 20                                                                          RENO               NV     89502‐2027
ALLAN WALKER           20403 FREMONT ST                                                                                 LIVONIA            MI     48152‐1805
ALLAN WALLER           30 HILLCREST ROAD                                                                                BOONTON            NJ     07005‐9433
ALLAN WALLS            9513 HICKORYHURST DR                                                                             BALTIMORE          MD     21236‐4703
ALLAN WALRAVEN         2119 S JEFFERSON ST                                                                              BAY CITY           MI     48708‐8745
ALLAN WATSON           9712 RED HORSE ST                                                                                LAS VEGAS          NV     89143‐1158
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Name                       Address1                        Address2                        Address3   Address4                  City               State   Zip
ALLAN WATSON               53553 KRISTIN CT                                                                                     SHELBY TOWNSHIP     MI     48316‐2237
ALLAN WEST                 PO BOX 215                                                                                           PERRY               MI     48872‐0215
ALLAN WHITESELL            541 W SOUTH ST                                                                                       WINCHESTER          IN     47394‐2033
ALLAN WHITFORD             22749 ROXANA AVE                                                                                     EASTPOINTE          MI     48021‐1921
ALLAN WHITTEMORE           28320 GRAND DUKE DR                                                                                  FARMINGTN HLS       MI     48334‐5221
ALLAN WILHELM              12361 N SEYMORE RD                                                                                   MONTROSE            MI     48457
ALLAN WILLE                12553 BISHOP RD                                                                                      SAINT CHARLES       MI     48655‐9630
ALLAN WILLIAMS             3064 W M 21                                                                                          OWOSSO              MI     48867‐9363
ALLAN WILSON               149 RUSSELL CT                                                                                       YPSILANTI           MI     48198‐5959
ALLAN WILTSE               940 S DUBY DR                                                                                        WEST BRANCH         MI     48661‐9516
ALLAN WISE SR              15118 BUTTERBOUGH LN                                                                                 FORT WAYNE          IN     46814‐8815
ALLAN WITTUM               2811 TIPTREE PATH                                                                                    FLINT               MI     48506‐1381
ALLAN WOYCIECHOWSKI        PO BOX 713                                                                                           OXFORD              MI     48371‐0713
ALLAN YOUNG                785 GRANADA DR                                                                                       GREENWOOD           IN     46143‐2512
ALLAN YOUNG JR             1259 CHRISTINE DR                                                                                    HARRISON            MI     48625‐9530
ALLAN ZIEBER               3808 S DRUMM AVE                                                                                     INDEPENDENCE        MO     64055‐3538
ALLAN ZYGNER               951 CLOVER CT                                                                                        LONGS               SC     29568‐8619
ALLAN'S AUTO REPAIR        112 STATION ST.                                                            BELLEVILLE ON K8N 2S5
                                                                                                      CANADA
ALLAN'S TOOL SHED          2319 COUNTY ROAD 16 R.R.#2                                                 MERRICKVILLE ON K0G 1N0
                                                                                                      CANADA
ALLAN, BRUCE T             15224 SHIAWASSEE DR                                                                                  BYRON              MI      48418‐9025
ALLAN, CAROL S             880 BEACH BUGGY LN                                                                                   LINDEN             MI      48451‐9696
ALLAN, CHRISTOPHER M       43457 RHINELAND DR                                                                                   STERLING HEIGHTS   MI      48314‐1957
ALLAN, CLYDE H             605 JOHN ANDERSON HWY                                                                                FLAGLER BEACH      FL      32136‐4402
ALLAN, CRAIG D             14174 SEMINOLE                                                                                       REDFORD            MI      48239‐3036
ALLAN, CRYSTAL             500 CLANCY AVE NE APT 5                                                                              GRAND RAPIDS       MI      49503‐1585
ALLAN, DAVID               2010 TERRACE DR                                                                                      VENTURA            CA      93001‐2347
ALLAN, DIANE M             22707 ST JAMES DRIVE                                                                                 NORTHVILLE         MI      48167‐5824
ALLAN, DORIS A             1757 S COUNTY ROAD 400 E                                                                             GREENSBURG         IN      47240‐8650
ALLAN, EDITH T             685 S. LA POSADA CIRCLE         GARDEN HOME 2504                                                     GREEN VALLEY       AZ      85614
ALLAN, EILEEN M            800 MERRITT                                                                                          LAKE ORION         MI      48362‐2650
ALLAN, EILEEN M            800 MERRITT AVE                                                                                      LAKE ORION         MI      48362‐2650
ALLAN, HOWARD B            ALLAN MOTOR CO INC              PO BOX 157                                                           DANVILLE           CA      94526‐0157
ALLAN, HOWARD B            C\O ALLAN MOTOR CO INC          PO BOX 157                                                           DANVILLE           CA      94526‐0157
ALLAN, JACK C              8050 INDEPENDENCE DR APT D                                                                           MENTOR             OH      44060‐9313
ALLAN, JAMES               158 RABBIT PATH RD                                                                                   ALNA               ME      04535‐3234
ALLAN, JIHAD A             3430 RIDGEVIEW CT APT 2201                                                                           ROCHESTER HILLS    MI      48309‐2787
ALLAN, KATHLEEN O          707 LAKEVIEW DR                                                                                      CORTLAND           OH      44410‐1620
ALLAN, LEONA G             P.O. BOX 191                    9575 HARTWIG DR.                                                     CLARENCE CTR       NY      14032‐0191
ALLAN, LEONA G             PO BOX 191                      9575 HARTWIG DR.                                                     CLARENCE CTR       NY      14032‐0191
ALLAN, LISA A              5328 ERNEST RD                                                                                       LOCKPORT           NY      14094‐5405
ALLAN, MARY A              979 GIBSON ST                                                                                        OXFORD             MI      48371‐4524
ALLAN, MICHAEL S           16420 STAGES IS                                                                                      FENTON             MI      48430‐9102
ALLAN, PATRICIA            PO BOX 13040                                                                                         MONROE             LA      71213‐3040
ALLAN, PATRICIA KATHLEEN   BARON & BUDD PC                 9015 BLUEBONNET BLVD                                                 BATON ROUGE        LA      70810‐2812
ALLAN, PATRICIA KATHLEEN   BARON & BUDD                    3102 OAK LANE AVE, SUITE 1100                                        DALLAS             TX      75219
ALLAN, PATRICIA KATHLEEN   DIMOS BROWN ERSKINE BURKETT &   1216 STUBBS AVE                                                      MONROE             LA      71201‐5622
                           GARNER LLP
ALLAN, PEGGY S             16434 SHARON DR                                                                                      FENTON              MI     48430‐9016
ALLAN, PHILLIP A           1422 NW 5TH AVE                                                                                      FORT LAUDERDALE     FL     33311‐6054
ALLAN, RICHARD             BOONE ALEXANDRA                 205 LINDA DR                                                         DAINGERFIELD        TX     75638‐2107
ALLAN, ROBERT W            4123 MEIGS AVE                                                                                       WATERFORD           MI     48329‐2031
ALLAN, SHIRLEY M           305 VALLEY VIEW DR                                                                                   DAYTON              NV     89403‐8512
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Name                              Address1                          Address2                           Address3         Address4                   City               State   Zip
ALLAN, STEPHEN L                  13120 N LEWIS RD                                                                                                 CLIO                MI     48420‐9105
ALLAN, STEPHEN LAWRENCE           13120 N LEWIS RD                                                                                                 CLIO                MI     48420‐9105
ALLAN, SUSAN K                    19399 FIVE POINTS ST                                                                                             REDFORD             MI     48240‐1312
ALLAN, SUSAN M                    9601 W LAYTON AVE                                                                                                GREENFIELD          WI     53228‐3339
ALLAN, THOMAS M                   3311 E WILDERMUTH RD                                                                                             OWOSSO              MI     48867‐9622
ALLAN, WALTER M                   826 GARNET CT                                                                                                    ROCHESTER           MI     48306‐4593
ALLAND, MARIE A                   13001 WELCOME DR                                                                                                 SAN ANTONIO         TX     78233‐2554
ALLANPORT TRUCK LINES             1810 ALLANPORT RD                                                                     THOROLD CANADA ON L2V
                                                                                                                        3Z3 CANADA
ALLANSON, JON L                   8739 GUNPOWDER DR                                                                                                INDIANAPOLIS        IN     46256‐1361
ALLANSON, RICHARD A               245 FOREST CREST DR                                                                                              COMMERCE            MI     48390‐1207
                                                                                                                                                   TOWNSHIP
ALLANSON, RONALD S                131 NORTH SERENITY WAY                                                                                           GREENWOOD           IN     46142‐8425
ALLANSON, SCOTT A                 364 W THOMPSON RD                                                                                                INDIANAPOLIS        IN     46217‐3564
ALLANT                            ERIC GARRETT                      2056 WESTINGS AVE STE 500                                                      NAPERVILLE          IL     60563‐2485
ALLANT GROUP INC                  2056 WESTINGS AVE STE 500                                                                                        NAPERVILLE          IL     60563‐2485
ALLANT GROUP INC, THE             2056 WESTINGS AVE STE 500                                                                                        NAPERVILLE          IL     60563‐2485
ALLANTE WINTON                    263 LUTHER AVE                                                                                                   PONTIAC             MI     48341‐2778
ALLAR, CATHERINE ANN              37434 LADUE                                                                                                      CLINTON TWP         MI     48036‐2916
ALLAR, CATHERINE ANN              37434 LADUE ST                                                                                                   CLINTON TWP         MI     48036‐2916
ALLAR/STERLING HGTS               6655 ALLAR DR                                                                                                    STERLING HEIGHTS    MI     48312‐2603
ALLARD & FISH, P.C.               ATTN: DEBORAH L. FISH             2600 BUHL BUILDING                 535 GRISWOLD                                DETROIT             MI     48226
ALLARD & FISH, P.C.               COUNSEL FOR SEVERSTAL NORTH       ATT: DEBORAH L. FISH, ESQ.         2600 BUHL BLDG   535 GRISWOLD               DETROIT             MI     48226
                                  AMERICA, INC.
ALLARD & MARGUERITE CHRISTENSON   1484 230TH ST                                                                                                    MAHAOMEN           MN      56557
ALLARD ANTOINETTE                 ALLARD, ANTOINETTE                89 N HADDON AVE                                                                HADDONFIELD        NJ      08033‐2423
ALLARD CYNTHIA                    2734 LEDO RD STE 5                                                                                               ALBANY             GA      31707‐7627
ALLARD EDITH                      8197 WEST OUTER ROAD                                                                                             SHERMAN            IL      62684‐8420
ALLARD GOFF                       317 CINDER CROSS WAY                                                                                             GARNER             NC      27529‐7375
ALLARD RENTAL CORPORATION         DAVE ALLARD                       8820 INDIANAPOLIS BLVD                                                         HIGHLAND           IN      46322‐1552
ALLARD ROBERT E (457938)          CLIMACO LEFKOWITZ PECA WILCOX &   1228 EUCLID AVE , HALLE BLDG 9TH                                               CLEVELAND          OH      44115
                                  GAROFOLI                          FL
ALLARD, AARON                     1253 E LAKE RD                                                                                                   CLIO               MI      48420‐8814
ALLARD, ALAN W                    3761 GAINSBROUGH DRIVE                                                                                           ORION              MI      48359
ALLARD, ALAN WADE                 3761 GAINSBROUGH DRIVE                                                                                           ORION              MI      48359
ALLARD, ALBERT D                  3685 HELEN ST                                                                                                    HARRISON           MI      48625‐8005
ALLARD, ANGELA                    1802 OAK RIDGE RD                                                                                                VANCEBURG          KY      41179‐8437
ALLARD, ARDITH J                  3616 OVERTON ST                                                                                                  WATERFORD          MI      48328‐1412
ALLARD, ARDITH J                  3616 OVERTON                                                                                                     WATERFORD          MI      48328
ALLARD, BEVERLY J                 1361 THREAD VLY                                                                                                  HOLLY              MI      48442‐9729
ALLARD, BRENDA J                  6560 WESTRIDGE DR                                                                                                WATAUGA            TX      76148‐1758
ALLARD, BRUCE R                   217 N HAZELTON ST                                                                                                FLUSHING           MI      48433‐1632
ALLARD, CAROL L                   21370 SABRINA DR                                                                                                 MACOMB             MI      48044‐1317
ALLARD, CATHERINE R               380 HEMENWAY ST APT E                                                                                            MARLBOROUGH        MA      01752‐6782
ALLARD, CHERYL J                  2142 S 66TH ST                                                                                                   WEST ALLIS         WI      53219
ALLARD, CHERYL J                  6627 W REVERE PL                                                                                                 MILWAUKEE          WI      53219
ALLARD, DAVID J                   8406 QUILL DR                                                                                                    FENTON             MI      48430‐8365
ALLARD, DAWN L                    1253 E LAKE RD                                                                                                   CLIO               MI      48420‐8814
ALLARD, DONALD R                  15 HAWLEY ST                                                                                                     CENTRAL FALLS      RI      02863‐1414
ALLARD, DOROTHY E                 1104 ANDOVER CIRCLE                                                                                              COMMERCE           MI      48390
                                                                                                                                                   TOWNSHIP
ALLARD, EVELYN C                  3338 LANARK DR                                                                                                   HOLIDAY             FL     34690‐1931
ALLARD, GEORGE N                  1104 ANDOVER CIR                                                                                                 COMMERCE            MI     48390‐2241
                                                                                                                                                   TOWNSHIP
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ALLARD, JAMES E                  2100 S BRIDGE AVE UNIT 37                                                                                 WESLACO             TX     78596‐8124
ALLARD, JAMES K                  335 OLD OAK DR                                                                                            CORTLAND            OH     44410‐1123
ALLARD, JAMES L                  540 BRANBURY COURT                                                                                        BRANDON             MS     39047‐8019
ALLARD, JAMES L                  540 BRANBURY CT                                                                                           BRANDON             MS     39047‐8019
ALLARD, JAMES R                  2403 WATERFORD CT                                                                                         PALMETTO            FL     34221‐5910
ALLARD, JEANNETTE                532 GREAT RD                                                                                              NORTH SMITHFIELD     RI    02896‐6810

ALLARD, KATHLEEN A               9052 RIVERVIEW CT                                                                                         FLUSHING           MI      48433‐9303
ALLARD, KENNETH G                7165 LANORE ST                                                                                            WATERFORD          MI      48327‐3749
ALLARD, LEE P                    8108 NW 28TH TER                                                                                          BETHANY            OK      73008‐4829
ALLARD, LEO J                    42 LARCH ST                                                                                               WOONSOCKET         RI      02895‐6710
ALLARD, LEO J                    4715 BISHOP ST                                                                                            MILLINGTON         MI      48746‐5105
ALLARD, MARY A                   797 TOPVIEW DR                                                                                            OTSEGO             MI      49078‐9705
ALLARD, MATTHEW F                2103 DIAMOND AVE                                                                                          FLINT              MI      48532‐4535
ALLARD, MICHAEL D                8908 HIGHWAY Y                                                                                            CALEDONIA          WI      53108
ALLARD, NORMAND R                7014 TORREY PINES CIR                                                                                     PORT ST LUCIE      FL      34986‐3200
ALLARD, PATSY A                  36500 GRAND RIVER AVE 6109                                                                                FARMINGTON         MI      18335‐3015
ALLARD, PAUL F                   2939 NORTHWEST BLVD NW                                                                                    WARREN             OH      44485‐2235
ALLARD, POLLYANNA F              2403 WATERFORD CT                                                                                         PALMETTO           FL      34221‐5910
ALLARD, ROBERT                   64304 WICKLOW HILL DR                                                                                     WASHINGTON         MI      48095‐2588
ALLARD, ROBERT A                 13645 AGNES ST                                                                                            SOUTHGATE          MI      48195‐1842
ALLARD, ROBERT E                 CLIMACO LEFKOWITZ PECA WILCOX &   1228 EUCLID AVE, HALLE BLDG 9TH                                         CLEVELAND          OH      44115
                                 GAROFOLI                          FL
ALLARD, ROBERT J                 8879 N SOFT WINDS DR                                                                                      TUCSON             AZ      85742‐8739
ALLARD, ROBERT R                 200 CRICKET LN                                                                                            CORTLAND           OH      44410‐1214
ALLARD, ROBERT S                 3050 CAMELOT WOODS DR                                                                                     LAWRENCEVILLE      GA      30044‐3553
ALLARD, T L                      6133 LITTLE CREEK CT                                                                                      DAYTON             OH      45424
ALLARD, TERESA L                 3167 MCGREGOR ST                                                                                          GRAND BLANC        MI      48439‐8138
ALLARDING, CHRISTOPHER J         731 GLENDALE AVE                                                                                          LANSING            MI      48910‐4616
ALLARDING, RICHARD F             10140 ALPINE DR                                                                                           REED CITY          MI      49677‐8544
ALLARDING, ROBERT E              PO BOX 175                                                                                                EASTPORT           MI      49627‐0175
ALLARDING, SCOTT E               4828 THURLBY RD                                                                                           MASON              MI      48854‐9773
ALLARDYCE, ANNIE L               1342 BROOKSIDE DRIVE                                                                                      LANSING            MI      48917‐9282
ALLAROUND TRANSPORTATION         RR 5                                                                                                      CORAOPOLIS         PA      15108
ALLAWAT, CARMEN                  223 MYRTLE WAY                                                                                            SUMMERVILLE        SC      29483‐8387
ALLAWAY, JOEL M                  23835 NICK DAVIS RD                                                                                       ATHENS             AL      35613‐6003
ALLBAUGH, AUDREY A               415 FIRESTONE AVE                                                                                         COLUMBIANA         OH      44408‐1028
ALLBAUGH, TERRY N                415 FIRESTONE AVE                                                                                         COLUMBIANA         OH      44408‐1028
ALLBEE, RALPH D                  PO BOX 7                                                                                                  HARRISON           MI      48625‐0007
ALLBEE, TERRY E                  5184 WATERMAN RD                                                                                          VASSAR             MI      48768‐9727
ALLBERT, JAMES H                 5621 MERRICK ST                                                                                           DEARBORN HTS       MI      48125‐2875
ALLBRIGHT, GARY A                6263 ARAPAHOE PL                                                                                          DUBLIN             OH      43017‐2847
ALLBRITTEN, ROY E                2713 NIGHTHAWK DR                                                                                         PLANO              TX      75025‐2127
ALLBRITTON CARRIE                ALLBRITTON, CARRIE                STATE FARM INSURANCE              PO BOX 9609                           WINTER HAVEN       FL      33883‐9609
ALLBRITTON COMMUNICATIONS CO.    FREDRICK RYAN                     1000 WILSON BLVD STE 2700                                               ARLINGTON          VA      22209‐3921
ALLBRITTON'S PONTIAC‐GMC TRUCK   500 HOWARD ST W                                                                                           LIVE OAK           FL      32064‐2209
ALLBRITTON, BILLY                510 W COLLEGE ST B                                                                                        LOUISVILLE         MS      39339
ALLBRITTON, BILLY                541A E MAIN ST                                                                                            LOUISVILLE         MS      39339‐2709
ALLBRITTON, BOBBY L              3919 S BENTON AVE                                                                                         KANSAS CITY        MO      64130‐1337
ALLBRITTON, CARRIE               STATE FARM INSURANCE              PO BOX 9609                                                             WINTER HAVEN       FL      33883‐9609
ALLBRITTON, WILLIAM R            2178 GENE RD SW                                                                                           BROOKHAVEN         MS      39601‐8222
ALLCARE DENTAL & DENTURES        ATTN: JAY WARNER                  29475 PLYMOUTH RD                                                       LIVONIA            MI      48150‐2112
ALLCAST/HAMILTON                 328 NORTH LAKE AVE.                                                               HAMILTON ON L8E3A2
                                                                                                                   CANADA
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ALLCHIN PROFESSIONAL AUTO REPAIR   621 TECUMSEH RD E                                                          WINDSOR ON N8X 2S1
                                                                                                              CANADA
ALLCOCK, JAMES E                   472 CHEROKEE CT S                                                                                  KELLER            TX   76248‐2338
ALLCOCK, JAMES O                   1611 ROSEWOOD DR                                                                                   BRENTWOOD         TN   37027‐7956
ALLCOMM WIRE/BIRMING               4116 1ST AVE N                                                                                     BIRMINGHAM        AL   35222‐1506
ALLDAFFER, FLORENCE A              10649 NASHVILLE HWY                                                                                VERMONTVILLE      MI   49096‐8507
ALLDATA                            GEORGE CUSAK                         9412 BIG HORN BLVD                                            ELK GROVE         CA   95758
ALLDATA                            PO BPX 848379                                                                                      DALLAS            TX   75284
ALLDATA LLC                        9412 BIG HORN BOULEVARD, ELK GROVE                                                                 ELK GROVE         CA   95758

ALLDOMAINS COM INC               1800 SUTTER ST STE 100                                                                               CONCORD           CA   94520‐2530
ALLDOMAINS.COM (NOW MARKMONITOR, 1800 SUTTER ST STE 100                                                                               CONCORD           CA   94520‐2530
INC.)
ALLDRED, NICHOLAS E              63 N MAPLE ST                                                                                        GERMANTOWN       OH    45327‐1212
ALLDREDGE, I J                   PO BOX 20718                                                                                         SUN VALLEY       NV    89433‐0718
ALLDREDGE, JOHN M                393 EMS T26 LN                                                                                       LEESBURG         IN    46538‐8914
ALLDRIDGE PEGGY                  3297 MARVIN DR                                                                                       EUGENE           OR    97404‐1686
ALLDRIN MERLE                    6631 CENTRAL AVE                                                                                     CERES            CA    95307‐9524
ALLEAN COMADOW                   2216 N 3RD ST                                                                                        HARRISBURG       PA    17110‐1813
ALLEAN KEMP                      722 E RUSSELL AVE                                                                                    FLINT            MI    48505‐2220
ALLEANER DOUGLASS                5228 WOODCLIFF DR                                                                                    FLINT            MI    48504‐1259
ALLEBACH, DWIGHT E               PO BOX 213                                                                                           CLAYTON          OH    45315‐0213
ALLEBACH, MELINDA S              502 WHISPERING TRL                                                                                   MIDDLETOWN       DE    19709‐5801
ALLEBONE, EDWARD T               12433 WATKINS DR                                                                                     SHELBY TWP       MI    48315‐5775
ALLEC, RICHARD G                 5522 BRAE BURN PL.                                                                                   BUENA PARK       CA    90621‐0621
ALLEDA SMITH                     3177 MERIDIAN PARK DR                  APT 308                                                       GREENWOOD        IN    46142
ALLEDRA WEAVER                   APT 103                                14940 WEST 123RD CIRCLE                                       OLATHE           KS    66062‐6959
ALLEE MALISSA                    1053 OBSERVATORY POINT                                                                               MAINEVILLE       OH    45039‐6703
ALLEE, BETTY                     6153 COUNTY ROAD 750 S                                                                               REELSVILLE       IN    46171‐9640
ALLEE, BETTY                     6153 W COUNTY ROAD 750 S                                                                             REELSVILLE       IN    46171‐9640
ALLEE, CARRIE
ALLEE, JOHN A                    2894 W COUNTY ROAD 50 N                                                                              NEW CASTLE       IN    47362‐8931
ALLEE, LEOTTA M                  209 W 150 SOUTH                                                                                      CRAWFORDSVILLE   IN    47933‐3804
ALLEE, LEOTTA M                  209 W 150 S                                                                                          CRAWFORDSVILLE   IN    47933‐3804
ALLEE, WAYNE R                   11 CROSBY ST                                                                                         SOUTH YARMOUTH   MA    02664‐4512

ALLEE‐FOOTE, BETTE D               1472 PIN OAK DR                                                                                    BELLVILLE        TX    77418‐3220
ALLEEN HENDERSON                   2027 WILKIE RD                                                                                     ALPHARETTA       GA    30004‐2591
ALLEENE B WILEY                    6162 CLEMATIS DR                                                                                   DAYTON           OH    45449‐3006
ALLEENE WILEY                      6162 CLEMATIS DR                                                                                   DAYTON           OH    45449‐3006
ALLEGA, LELAND                     10666 W 177TH TER                                                                                  OLATHE           KS    66062‐9194
ALLEGAN AREA UNITED WAY            650 GRAND ST                                                                                       ALLEGAN          MI    49010‐9060
ALLEGAN COUNTY FOC                 ACCT OF GERT ROHALL                  PO BOX 358                                                    ALLEGAN          MI    49010‐0358
ALLEGAN COUNTY UNITED WAY          650 GRAND ST                                                                                       ALLEGAN          MI    49010‐9060
ALLEGAN TOWNSHIP                   JANE WAANDERS TREASURER              3037 118TH AVE                                                ALLEGAN          MI    49010‐9555
ALLEGAN TOWNSHIP                   3037 118TH AVE                                                                                     ALLEGAN          MI    49010‐9555
ALLEGANY COUNTY TAX AND UTILITY    701 KELLY ROAD                                                                                     CUMBERLAND       MD    21502
OFFICE
ALLEGHANY CHEVROLET                1549 US HIGHWAY 21 S                                                                               SPARTA            NC   28675‐8924
ALLEGHANY COUNTY TAX OFFICE        12 S MAIN ST                         P O BOX 1027                                                  SPARTA            NC   28675‐9643
ALLEGHANY COUNTY TREASURER         9212 WINTERBERRY AVENUE                                                                            COVINGTON         VA   24426
ALLEGHANY MOTOR CORP.              ROBERT GARTEN                        803 S LEXINGTON AVE                                           COVINGTON         VA   24426‐1951
ALLEGHANY MOTOR CORP.              803 S LEXINGTON AVE                                                                                COVINGTON         VA   24426‐1951
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Name                                 Address1                          Address2                     Address3        Address4               City              State Zip
ALLEGHENY BUILDERS & CONTRACTERS INC 21704 SLIDELL RD                                                                                      BOYDS              MD 20841‐9307

ALLEGHENY COLLEGE OFFICE OF FINANCIAL 520 N MAIN ST                                                                                        MEADVILLE         PA   16335‐3903
AID
ALLEGHENY COUNTY AIRPORT AUTHORITY PO BOX 12370                                                                                            PITTSBURGH        PA   15231‐0370

ALLEGHENY COUNTY HEALTH DEPT          FEE AND PERMITS SECTION          3333 FORBES AVE                                                     PITTSBURGH        PA   15213‐3120
ALLEGHENY COUNTY TREASURER            MCU                              400 N LEXINGTON ST STE 200                                          PITTSBURGH        PA   15208‐2565
ALLEGHENY COUNTY TREASURER            PO BOX 643385                                                                                        PITTSBURGH        PA   15264‐3385
ALLEGHENY CTY F.D.C & D.              ACCT OF HOWARD ROY EVERETT       429 FORBES AVE SUITE 201                                            PITTSBURGH        PA   15219
ALLEGHENY GENERAL HO                  PO BOX 951856                                                                                        CLEVELAND         OH   44193‐20
ALLEGHENY HOLDINGS INC.               2793 BAUER RD                                                                                        NORTH AURORA      IL   60542‐2049
ALLEGHENY MOUNTAINS CONVENTION&       1 CONVENTION CENTER DR                                                                               ALTOONA           PA   16602‐5660
VISITORS BUREAU
ALLEGHENY PERF/LEETS                  BLDG 3 AVENUE A                                                                                      LEETSDALE         PA   15056
ALLEGHENY PLANNED INCOME, INC.        INVESTMENT BUILDING              237 FOURTH AVENUE                                                   PITTSBURGH        PA   15222
ALLEGHENY PLANT SERVICES INC          1029B LEBANON RD                                                                                     WEST MIFFLIN      PA   15122
ALLEGHENY POWER                       ATTN: RETAIL ESTATE              800 CABIN HILL DR                                                   GREENSBURG        PA   15601‐1650
ALLEGHENY POWER                       ATTN: REAL ESTATE                800 CABIN HILL DR                                                   GREENSBURG        PA   15601‐1650
ALLEGHENY POWER COMPANY               ATTN: GENERAL COUNSEL            1044 GARDEN ST.                                                     GREENSBURG        PA   15601
ALLEGHENY POWER SERVICE               KEITH CHOBIRKO                   S. SEVENTH STREET                                                   CONNELLSVILLE     PA
ALLEGHENY POWER SYSTEM                313 S 7TH ST                                                                                         CONNELLSVILLE     PA   15425‐3015
ALLEGHENY PWR (POTOMAC ED)            901 WILSON ST                                                                                        MARTINSBURG       WV   25401
ALLEGHENY PWR (POTOMAC ED)            800 CABIN HILL DR                                                                                    GREENSBURG        PA   15606‐0001
ALLEGHENY RAD ASSOC                   PO BOX 49                                                                                            PITTSBURGH        PA   15230‐0049
ALLEGHENY TECHNOLOGIES                BHART SARIN                      1000 SIX PPG PLACE                                                  PITTSBURGH        PA
ALLEGHENY TECHNOLOGIES INC            300 PHILADELPHIA ST              PO BOX 488                                                          LA PORTE          IN   46350‐3927
ALLEGHENY TECHNOLOGIES INC            513 MILL ST                                                                                          MARION            MA   02738‐1549
ALLEGHENY TRUCKS, INC.                LARRY HALE                       49A GREENWOOD RD                                                    ALTOONA           PA   16602‐7122
ALLEGHENY TRUCKS, INC.                49A GREENWOOD RD                                                                                     ALTOONA           PA   16602‐7122
ALLEGHENY TWSP                        E. JENNINGS, TREASURER
ALLEGHENY VALLEY TRANSFER CO          ALLEGHENY VALLEY ALLIED TRANSF   1512 LEBANON CHURCH RD                                              PITTSBURGH        PA   15236‐1407
ALLEGIANCE HEALTH                     PO BOX 67000                                                                                         DETROIT           MI   48267‐0002
ALLEGIANCE SECURITY GROUP             K.C. CUDNEY                      2900 ARENDELL ST                                                    MOREHEAD CITY     NC   28557‐3318
ALLEGIANT GLOBAL SERVICES             ERIC TATE                        3719 W 96TH ST                                                      INDIANAPOLIS      IN   46268‐3100
ALLEGIS                               ATTN: GENERAL COUNSEL            7301 PARKWAY DR                                                     HANOVER           MD   21076‐1159
ALLEGIS GROUP                         7301 PARKWAY DR                                                                                      HANOVER           MD   21076‐1159
ALLEGIS GROUP INC                     ALLEGIS GROUP SERVICES INC       RESOURCES LLC                PO BOX 198531                          ATLANTA           GA   30384‐8531
ALLEGIS GROUP INC
ALLEGIS GROUP INC                     12200 E 13 MILE RD STE 210                                                                           WARREN            MI   48093‐3041
ALLEGIS GROUP INC                     1551 E LINCOLN AVE                                                                                   MADISON HEIGHTS   MI   48071

ALLEGIS GROUP INC                     26211 CENTRAL PARK BLVD STE 40                                                                       SOUTHFIELD        MI   48076
ALLEGIS GROUP INC                     33097 SCHOOLCRAFT RD                                                                                 LIVONIA           MI   48150‐1618
ALLEGIS GROUP INC                     6450 POE AVE STE 118                                                                                 DAYTON            OH   45414‐2646
ALLEGIS GROUP INC                     7301 PARKWAY DR                                                                                      HANOVER           MD   21076‐1159
ALLEGIS GROUP INC                     2001 CENTERPOINT PKY STE 101B                                                                        PONTIAC           MI   48341
ALLEGIS GROUP SERVICES                JAMES MANN                       7301 PARKWAY DR                                                     HANOVER           MD   21076‐1159
ALLEGIS GROUP SERVICES, INC.          ATTN: GENERAL COUNSEL            7301 PARKWAY DIVE                                                   HANOVER           MD
ALLEGIS GROUP SERVICES, INC.          ATTN: PROJECT MANAGER            901 TOWER DR STE 210                                                TROY              MI   48098‐2817
ALLEGIS GROUP SERVICES, INC.          ATTN: GENERAL COUNSEL            7301 PARKWAY DR                                                     HANOVER           MD   21076‐1159
ALLEGIS GROUP SERVICES, INC.          7301 PARKWAY DR                                                                                      HANOVER           MD   21076‐1159
ALLEGOOD, CARL R                      301 BREEZEWOOD DR                                                                                    GOLDSBORO         NC   27534‐8904
ALLEGRA HOWARD                        2186 FORD RD                                                                                         MORROW            OH   45152‐8431
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Name                       Address1                           Address2                      Address3             Address4                 City             State   Zip
ALLEGRA LOUTH              33190 PRIEHS CT                                                                                                STERLING HTS      MI     48312‐6656
ALLEGRA PRINT & IMAGING    400 RENAISSANCE CTR                LEVEL ONE SUITE 1407                                                        DETROIT           MI     48243‐1607
ALLEGRA PRINT & IMAGING    46980 LIBERTY DR                                                                                               WIXOM             MI     48393‐3601
ALLEGRA, IRENE G           221 WEST VALLEY BROOK RD.                                                                                      CALIFON           NJ     07830‐3551
ALLEGRA, IRENE G           221 W VALLEY BROOK RD                                                                                          CALIFON           NJ     07830‐3551
ALLEGREE ERIC N (428398)   GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                                 NORFOLK           VA     23510
                                                              STREET, SUITE 600
ALLEGREE, ERIC             GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                                 NORFOLK           VA     23510
                                                              STREET, SUITE 600
ALLEGRETTI FABIO MARIA     LA SCALA                           STUDIO LEGALE E TRIBUTARIO    CORSO MAGENTA N 42   20123 MILANO ITALY
ALLEGRETTI, LUCY F         114 ROCHELLE AVE FL 1                                                                                          PHILADELPHIA     PA      19128‐3810
ALLEGRETTI, ROBERT J       PO BOX 2646                                                                                                    MANSFIELD        OH      44906‐0646
ALLEGREZZA, JEANNETTE O    91 PURCHASE ST                                                                                                 MILFORD          MA      01757‐1152
ALLEGRO C PARKER           10804 WALL ST                                                                                                  FREDERICKSBRG    VA      22408‐2068
ALLEGRO, CHRISTOPHE J      62 MEADOWBROOK AVE                                                                                             GREENSBURG       PA      15601‐1759
ALLEGRO, REGINA            62 MEADOWBROOK AVE                                                                                             GREENSBURG       PA      15601‐1759
ALLEIN, RICHARD            512 DOWNING ST                                                                                                 BUFFALO          NY      14220‐2866
ALLEINE N POINDEXTER       15 HEATON AVE                                                                                                  DAYTON           OH      45410
ALLEMAN GERALD J           ALLEMAN, GERALD J                  PO BOX 1040                                                                 DONALDSONVILLE   LA      70346‐1040
ALLEMAN, CEDRIC J          1066 E TERRITORIAL RD                                                                                          RIVES JCT        MI      49277‐9720
ALLEMAN, GALE              3280 HIGHRIDGE DR                                                                                              TAYLOR MILL      KY      41015‐4411
ALLEMAN, GERALD E          122 E JEFFERSON ST                                                                                             DIMONDALE        MI      48821‐9699
ALLEMAN, GERALDINE M       1524 SUNSET BLVD                   C/O MICHEAL ALLEMAN                                                         ROYAL OAK        MI      48067‐1017
ALLEMAN, JOAN B            772 E 9630 S                                                                                                   SANDY            UT      84094‐3509
ALLEMAN, KRISSY A          122 E JEFFERSON ST                                                                                             DIMONDALE        MI      48821‐9699
ALLEMAN, MARCIE L          5437 PACKARD HWY                                                                                               CHARLOTTE        MI      48813‐9349
ALLEMAN, MILDRED G         7204 WAGONWHEEL RD                                                                                             FORT WORTH       TX      76133‐8169
ALLEMAN, RICKIE L          5041 HADDON HALL DR                                                                                            HOLT             MI      48842‐8665
ALLEMAN, ROBERT D          2309 LOOP RD                                                                                                   MIDDLEVILLE      MI      49333‐8549
ALLEMAN, RON L             3255 LUROMA DR                                                                                                 DEWITT           MI      48820‐9002
ALLEMANG, DOROTHY J        902 RICHARD DR                                                                                                 XENIA            OH      45385‐2531
ALLEMANG, DOROTHY J        902 E RICHARD DR                                                                                               XENIA            OH      45385‐5385
ALLEMANG, MARY
ALLEMANG, MELVILLE G       902 EAST RICHARD DR                                                                                            XENIA            OH      45385‐5385
ALLEMANG, MELVILLE G       902 RICHARD DR                                                                                                 XENIA            OH      45385‐2531
ALLEMIER, JESSICA C        744 AUDRA CIRCLE                                                                                               RHOME            TX      76078‐3409
ALLEN                      39270 PASEO PADRE PKWY 528                                                                                     FREMONT          CA      94538
ALLEN
ALLEN                      PO BOX 14221                                                                                                   ARLINGTON         TX     76094‐1221
ALLEN                      40000 FREMONT BLVD STE H                                                                                       FREMONT           CA     94538‐2978
ALLEN & ANN JONES          MCKENNA & ASSOCIATES PC            436 BOULEVARD OF THE ALLIES                                                 PITTSBURGH        PA     15219‐1331
                                                              SUITE 500
ALLEN & ANN JONES          C/O MCKENNA & ASSOCIATES PC        436 BOULEVARD OF THE ALLIES                                                 PITTSBURGH        PA     15219‐1331
                                                              SUITE 500
ALLEN & JOAN METZGER       2013 GLENWOD DR                                                                                                NORTHFIELD        NJ     08225‐1018
ALLEN & OVERLY             ONE NEW CHANGE                                                                        LONDON ENGLAND ECYM9QQ
                                                                                                                 GREAT BRITAIN
ALLEN & OVERY LLP          ONE BISHOPS SQUARE                 LONDON E1 6AO                                      UNITED KINGDOM GREAT
                                                                                                                 BRITAIN
ALLEN & OVERY LLP          COUNSEL TO ASSOCIAZIONE BANCARIA   ATTN: DANIEL GUYDER           1221 AVENUE OF THE                            NEW YORK          NY     10020
                           ITALIANA                                                         AMERICAS
ALLEN ‐ JONES, BURMA J     5417 N WASHINGTON ST                                                                                           KANSAS CITY      MO      64118‐4354
ALLEN A DRISCALL           1672 QUIGLEY RD                                                                                                COLUMBUS         OH      43227
ALLEN A HOLDER             PO BOX 201                                                                                                     BUFFALO          NY      14212‐0201
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Name                                  Address1                          Address2                      Address3                 Address4               City               State Zip
ALLEN A NICKEL
ALLEN ADAIR                           6402 N LUSK RD                                                                                                  ELSIE              MI    48831‐9777
ALLEN ADAMS                           4297 STATE ROUTE 123                                                                                            FRANKLIN           OH    45005‐9713
ALLEN ADAMS                           321 E 28TH ST                                                                                                   MUNCIE             IN    47302‐5623
ALLEN ADAMS SHAPER S                  98 WINERY RD                                                                                                    PROCTORSVILLE      VT    05153‐9733
ALLEN ADAMS SHARPER SERVICES INC      98 WINERY RD                                                                                                    PROCTORSVILLE      VT    05153‐9733
ALLEN ADDIS                           2101 EL DORADO BLVD N                                                                                           CAPE CORAL         FL    33993‐3890
ALLEN ADKINS                          6031 BLUERIBBIN ROAD                                                                                            HILLSBORO          OH    45133
ALLEN AHRENS                          16165 COLONIAL DR                                                                                               WILLIAMSBURG       OH    45176‐9762
ALLEN ALBERT                          205 STERLING DR                                                                                                 LAPEER             MI    48446‐2892
ALLEN ALDRICH JR                      809 NORTHBROOK ST                                                                                               MASON              MI    48854‐2008
ALLEN ALESI                           2011 COUNTRYSIDE DR                                                                                             SALEM              OH    44460‐1042
ALLEN ALGRIM                          7521 S FOSSUM RD                                                                                                BRODHEAD           WI    53520‐8838
ALLEN AND HURAS ‐ PROFESSIONAL CORP   2 TORONTO ST                      SUITE 200                                              TORONTO ON M5C 2B6
                                                                                                                               CANADA
ALLEN ANDERSEN                        PO BOX 391                                                                                                      LAINGSBURG          MI   48848‐0391
ALLEN ANDERSON                        940 MEADOWLAWN ST                                                                                               SAGINAW             MI   48604‐2265
ALLEN ANDERSON                        3939 NELSON DR                                                                                                  NEWPORT             MI   48166‐9007
ALLEN ANDERSON                        1615 CROCKETT HILLS BLVD                                                                                        BRENTWOOD           TN   37027‐7334
ALLEN ANGELA                          35245 TURNER DR                                                                                                 STERLING HEIGHTS    MI   48312‐3661
ALLEN ANGLE                           1741 WINDINGWAY DR                                                                                              WIXOM               MI   48393‐1149
ALLEN APFELBLAT D.D.S.                ACCT OF DIANA MORTON
ALLEN ARNDT                           150 W CALLE MARTINA                                                                                             GREEN VALLEY       AZ    85614‐3423
ALLEN ARNOLD ALVIN (436884)           BUDD RUSSELL W                    3102 OAK LAWN AVE STE 1100                                                    DALLAS             TX    75219‐4283
ALLEN ART                             1900 TROWBRIDGE ROAD                                                                                            FORT PIERCE        FL    34945‐4619
ALLEN ATKINSON                        PO BOX 57                                                                                                       AFTON              MI    49705‐0057
ALLEN ATKINSON                        9221 W STATE ROAD 38                                                                                            SHIRLEY            IN    47384‐9663
ALLEN AUSTIN                          4890 GOLDEN CIR SW                                                                                              MABLETON           GA    30126‐1164
ALLEN AUTO/LIVONIA                    12841 STARK RD                                                                                                  LIVONIA            MI    48150‐1525
ALLEN B ELIASON                       MOTLEY RICE LLC                   28 BRIDGESIDE BLVD            PO BOX 1792                                     MT PLEASANT        SC    29465
ALLEN B HULL                          PO BOX 1069                                                                                                     JAMESTOWN          TN    38556‐1069
ALLEN B MCCOLLOR                      249 GRANT ST                                                                                                    PORTLAND           MI    48875
ALLEN B MCLAUGHLIN                    533 KANSAS AVE                                                                                                  YPSILANTI          MI    48198‐8005
ALLEN B SHRUM                         716 CORUNNA AVE                                                                                                 OWOSSO             MI    48867‐3626
ALLEN B. DORFMAN TRUSTEE              TTEE OF THE ALLEN B DORFMAN REV   TRUST AGREEMENT DATE 5/8/03   17588 C ASHBOURNE LANE                          BOCA RATON         FL    33496‐4434
ALLEN BADOUR                          8715 S BEYER RD                                                                                                 BIRCH RUN          MI    48415‐8439
ALLEN BAER                            945 PCR 404                                                                                                     PERRYVILLE         MO    63775‐7620
ALLEN BAILEY                          PO BOX 371                                                                                                      DORR               MI    49323‐0371
ALLEN BAITY                           3937 CHICHESTER RD                                                                                              EDWARDS            MS    39066‐9633
ALLEN BAKER                           42 HANWELL PL                                                                                                   DEPEW              NY    14043‐1107
ALLEN BAKER                           889 STARS BLVD                                                                                                  BEDFORD            IN    47421‐7664
ALLEN BAKER                           201 DELIA ST                                                                                                    LAPEER             MI    48446‐7768
ALLEN BAKER JR                        5024 79TH ST E                                                                                                  BRADENTON          FL    34203‐7989
ALLEN BALL                            9499 RAYMOND RD                                                                                                 CLARKSTON          MI    48348‐1545
ALLEN BALLARD                         967 E 225TH ST                                                                                                  BRONX              NY    10466‐4605
ALLEN BARBARA J                       355 DONNA DR UNIT 6                                                                                             ANCHORAGE          AK    99504‐1090
ALLEN BARBER                          PO BOX 9735                                                                                                     KANSAS CITY        MO    64134‐0735
ALLEN BARON                           6801 S DELANEY RD                                                                                               OWOSSO             MI    48867‐9798
ALLEN BARR                            5697 BARNES RD                                                                                                  EATON RAPIDS       MI    48827‐9606
ALLEN BARRY (473489)                  ANGELOS PETER G LAW OFFICES OF    100 N CHARLES STREET , ONE                                                    BALTIMORE          MD    21202
                                                                        CHARLES CENTER 22ND FLOOR
ALLEN BARRY R (467803)                ANGELOS PETER G LAW OFFICES OF    100 N CHARLES STREET , ONE                                                    BALTIMORE          MD    21202
                                                                        CHARLES CENTER 22ND FLOOR
ALLEN BARTZ                           13151 TUSCOLA RD                                                                                                CLIO                MI   48420‐1855
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Name                     Address1                        Address2                        Address3   Address4                  City             State   Zip
ALLEN BAUDER             1629 N WARNER RD                                                                                     SUMNER            MI     48889‐9750
ALLEN BEBOW              510 W GIBBS ST                                                                                       SAINT JOHNS       MI     48879‐1250
ALLEN BELL               13 CROWN PT                                                                                          PRINCETON         WV     24740‐2427
ALLEN BELL               7276 108TH ST                                                                                        FLUSHING          MI     48433‐8733
ALLEN BELL               720 NUTWOOD ST                                                                                       BOWLING GREEN     KY     42103‐1622
ALLEN BELLEHUMEUR        2311 EDMONTON CT                                                                                     CLERMONT          FL     34711‐5234
ALLEN BEN RADFORD        C/O GLASSER AND GLASSER         CROWN CENTER, 580 EAST MAIN                                          NORFOLK           VA     23510
                                                         STREET STE 600
ALLEN BENNY (466863)     GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                          NORFOLK           VA     23510
                                                         STREET, SUITE 600
ALLEN BENTLEY            2844 DEAN RD                                                                                         BETHEL           OH      45106‐8473
ALLEN BERNARD            20144 LAUDER ST                                                                                      DETROIT          MI      48235‐1659
ALLEN BERNARD (442926)   KELLEY & FERRARO LLP            1300 EAST NINTH STREET , 1901                                        CLEVELAND        OH      44114
                                                         BOND COURT BUILDING
ALLEN BERQUIST           496 JEANNETTE DR                                                                                     RICHMOND HTS     OH      44143‐2624
ALLEN BERRY              BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                           BOSTON HTS.      OH      44236
ALLEN BIDDLE             23 LEISURE LN                                                                                        ANDERSON         IN      46013‐1042
ALLEN BILL               ALLEN, BILL                     1404 S BROADWAY AVE                                                  ALBERT LEA       MN      56007
ALLEN BINGLEY            TRACY ALLEN BINGLEY             19574 114B AVE                             PITT MEADOWS BC V3Y 1P9
                                                                                                    CANADA
ALLEN BIRON SABRINA      ALLEN BIRON, SABRINA            748 BROADOAK LOOP                                                    SANFORD          FL      32771‐7184
ALLEN BIRON, SABRINA     748 BROADOAK LOOP                                                                                    SANFORD          FL      32771‐7184
ALLEN BIRSCHBACH         720 E LIBERTY ST                                                                                     CHESANING        MI      48616‐1744
ALLEN BISHOP             120 GUM DR                                                                                           CHRISTIANSBURG   VA      24073‐4510
ALLEN BISHOP             1412 W ALEXIS RD                                                                                     TOLEDO           OH      43612‐4045
ALLEN BLAKE              8156 E MORROW CIR                                                                                    DETROIT          MI      48204‐5203
ALLEN BLAKE JR           24654 BOWMAN RD                                                                                      DEFIANCE         OH      43512‐8994
ALLEN BLAY               PO BOX 320                                                                                           METAMORA         MI      48455‐0320
ALLEN BLOSSER            5492 GINA DR                                                                                         SWARTZ CREEK     MI      48473‐8829
ALLEN BOAK               1920 HARDING AVE                                                                                     LANSING          MI      48910‐3555
ALLEN BOARD              2229 NORMAN DR                                                                                       STOW             OH      44224‐2768
ALLEN BOETTGER           200 LEWIS ST                                                                                         SAINT JOHNS      MI      48879‐1058
ALLEN BOHR               262 IDLEWOOD RD                                                                                      YOUNGSTOWN       OH      44515‐2830
ALLEN BOLE               3356 W 100 N                                                                                         HARTFORD CITY    IN      47348‐9540
ALLEN BONDS              1506 LOYOLA LN                                                                                       FLINT            MI      48503‐5227
ALLEN BONESS             1025 LARAMIE LN                                                                                      JANESVILLE       WI      53546‐1860
ALLEN BOOGAARD           46970 COUNTRY LN                                                                                     MACOMB           MI      48044‐3333
ALLEN BOOTHBY            4136 DELAPHLMA RD                                                                                    WILLIAMSBURG     OH      45176
ALLEN BORDER             6240 N M‐52                                                                                          OWOSSO           MI      48867
ALLEN BOSER              7610 VENICE HEIGHTS DR NE                                                                            WARREN           OH      44484‐1504
ALLEN BOSTON             BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                           BOSTON HTS.      OH      44236
ALLEN BOWER              213 N MAIN ST                                                                                        BRITTON          MI      49229‐9518
ALLEN BOYETTE            4904 N KENMORE RD                                                                                    INDIANAPOLIS     IN      46226‐2522
ALLEN BRAD/NASHVILLE     5211 LINBAR DR STE 502                                                                               NASHVILLE        TN      37211‐1021
ALLEN BRADFORD JR        885 MEADOW RIDGE CIR APT 104                                                                         AUBURN HILLS     MI      48326‐4557
ALLEN BRADLEY            18415 WOODBINE ST                                                                                    DETROIT          MI      48219‐3040
ALLEN BRADLEY            2743 SHABBONA RD                                                                                     SNOVER           MI      48472‐9377
ALLEN BRADLEY            PO BOX 77995                                                                                         DETROIT          MI      48277‐0995
ALLEN BRADLEY            PO BOX 75736                                                                                         CHARLOTTE        NC      28275‐0736
ALLEN BRAGG              2001 W HOBSON AVE                                                                                    FLINT            MI      48504‐7059
ALLEN BRESHEARS          1894 NW 800TH RD                                                                                     LONE JACK        MO      64070‐9405
ALLEN BRIGGS             3510 W MARKET ST                                                                                     LEAVITTSBURG     OH      44430‐9536
ALLEN BRIGGS             9917 PINE ISLAND DR                                                                                  SPARTA           MI      49345‐9329
ALLEN BRIGGS             411 N STEPHENSON HWY                                                                                 ROYAL OAK        MI      48067‐2326
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Name                      Address1                            Address2                        Address3          Address4                 City              State   Zip
ALLEN BRIMMER             1725 MONTANA AVE                                                                                               FLINT              MI     48506‐4626
ALLEN BRITNEY             ALLEN, BRITNEY                      P.O. BOX 365                                                               WATERSMEET         MI     49969
ALLEN BRODZIK             1393 N KINGSTON RD                                                                                             DEFORD             MI     48729‐9762
ALLEN BRONSON             11930 WOODLAND DR                                                                                              LENNON             MI     48449‐9663
ALLEN BROOKS              4792 ROSEBUD DR SW                                                                                             SNELLVILLE         GA     30039‐5618
ALLEN BROOKS              3579 DIAMONDALE DR W                                                                                           SAGINAW            MI     48601‐5808
ALLEN BROSHEARS           1120 ROSNER DR                                                                                                 INDIANAPOLIS       IN     46224‐6946
ALLEN BROTHERS TRUCKING   214 DURA AVE                                                                                                   TOLEDO             OH     43612‐2616
ALLEN BROWN               8992 CANOE DR                                                                                                  GALLOWAY           OH     43119‐9490
ALLEN BROWN               7259 MAPLECREST CIR                                                                                            SWARTZ CREEK       MI     48473‐1595
ALLEN BROWN               2350 N VASSAR RD                                                                                               DAVISON            MI     48423‐9553
ALLEN BUCK                617 POPLAR LN                                                                                                  GAS CITY           IN     46933‐1258
ALLEN BULLE               232 BERGER ST                                                                                                  SOMERSET           NJ     08873‐3309
ALLEN BURDEN              3417 OLIVE RD                                                                                                  TROTWOOD           OH     45426‐2655
ALLEN BURDICK             1556 DANDELION RD                                                                                              SAINT GERMAIN      WI     54558‐8865
ALLEN BURGESS             6300 N WELLING RD                                                                                              SAINT JOHNS        MI     48879‐9615
ALLEN BURNETT             178 ECHO LAKE CIR                                                                                              BYRNES MILL        MO     63025‐3012
ALLEN BURNS SR            425 S CAROLINA AVE                                                                                             PASADENA           MD     21122‐5445
ALLEN BURROWS             6414 E CARPENTER RD                                                                                            FLINT              MI     48506‐1261
ALLEN BUSH                3748 LYNWARD RD                                                                                                COLUMBUS           OH     43228‐3160
ALLEN BUSHAW              6100 E 700 S                                                                                                   COLUMBIA CITY      IN     46725‐9258
ALLEN BUSINESS MACHINES   1816 S CALHOUN ST                                                                                              FORT WAYNE         IN     46802‐5258
ALLEN BUTTS               12725 BEDDINGFIELD DR                                                                                          CHARLOTTE          NC     28278‐0002
ALLEN C O'NEIL            1854 WINDWOOD APT 102                                                                                          ROCHESTER HILLS    MI     48307‐5678
ALLEN C ROBERTSON         12861 AIR HILL RD                                                                                              BROOKVILLE         OH     45309‐9304
ALLEN CADILLAC GMC        28332 CAMINO CAPISTRANO                                                                                        LAGUNA NIGUEL      CA     92677‐1139
ALLEN CAHALL              300 DAISEY RD                                                                                                  CLAYTON            DE     19938‐2955
ALLEN CALHOUN             1371 CAROLINE CIR                                                                                              FRANKLIN           TN     37064‐6740
ALLEN CALL                8118 NEW LOTHROP RD 171                                                                                        NEW LOTHROP        MI     48460
ALLEN CALVIN PRICE        C/O EDWARD O MOODY PA               801 WEST 4TH STREET                                                        LITTLE ROCK        AR     72201
ALLEN CAMERON             C/O BENNETT BEST BURN LLP           SUITE 1700                      150 YORK STREET   TORONTO ONTARIO CANADA
                                                                                                                M5H 3S5
ALLEN CAMERON             2475 E WARDLOW RD                                                                                              HIGHLAND           MI     48356‐2441
ALLEN CAMPBELL            10097 WILDWOOD DR                                                                                              OTISVILLE          MI     48463‐9710
ALLEN CAMPBELL            12105 DALHART DR                                                                                               FENTON             MI     48430‐8858
ALLEN CARD                2105 KLAMER ROAD                                                                                               GLADWIN            MI     48624‐8972
ALLEN CARL D              C/O GOLDBERG PERSKY & WHITE PC      1030 FIFTH AVENUE                                                          PITTSBURGH         PA     15219
ALLEN CARL D (512046)     GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                                               SAGINAW            MI     48604‐2602
                                                              260
ALLEN CARLSON             W8915 STATE RD                      APT 106                                                                    FORT ATKINSON     WI      53538
ALLEN CARTER              1857 W 70TH ST                                                                                                 LOS ANGELES       CA      90047‐1826
ALLEN CARTER JR           3406 ROCKDALE CT                                                                                               BALTIMORE         MD      21244‐2935
ALLEN CASEY               9320 W 380 N                                                                                                   GASTON            IN      47342
ALLEN CASTER JR           C/O WILLIAMS KHERKHER HART &        8441 GULF FREEWAY STE 600                                                  HOUSTON           TX      77007
                          BOUNDAS LLP
ALLEN CHAMBERLAIN JR      G3366 W COURT ST                                                                                               FLINT             MI      48532‐4743
ALLEN CHANNELL            176 BLUCHER CT                                                                                                 VANDALIA          OH      45377‐2901
ALLEN CHAPPEL             C/O WILLIAMS KHERKHER HART &        8441 GULF FREEWAY STE 600                                                  HOUSTON           TX      77007
                          BOUNDAS LLP
ALLEN CHARLES (442927)    BEVAN & ASSOCIATES                  10360 NORTHFIELD ROAD , BEVAN                                              NORTHFIELD        OH      44067
                                                              PROFESSIONAL BLDG
ALLEN CHARLES LYNN        C/O EDWARD O MOODY PA               801 WEST 4TH STREET                                                        LITTLE ROCK        AR     72201
ALLEN CHARRON             50950 LINDA LN APT 3                                                                                           SHELBY TOWNSHIP    MI     48317‐1268
ALLEN CHARRON             PO BOX 2822                                                                                                    LEWISBURG          TN     37091‐1822
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Name                                   Address1                        Address2                      Address3   Address4               City            State   Zip
ALLEN CHESHIER                         360 STATE HIGHWAY 99                                                                            SEDAN            KS     67361‐8514
ALLEN CHEVROLET CADILLAC, INC.         THOMAS ALLEN                    15180 S MONROE ST                                               MONROE           MI     48161
ALLEN CHEVROLET CADILLAC, INC.         15180 S MONROE ST                                                                               MONROE           MI     48161
ALLEN CHILDS                           1134 COTTER RD                                                                                  MUNGER           MI     48747‐9747
ALLEN CHIN                             4735 HOLLAND DR                                                                                 TROY             MI     48085‐7016
ALLEN CHRISMAN                         6511 E STATE ROAD 218                                                                           BLUFFTON         IN     46714‐9444
ALLEN CHRISTIAN BUICK, PONTIAC, GMC    724 BUSINESS 60 W                                                                               DEXTER           MO

ALLEN CHRISTIAN BUICK, PONTIAC, GMC,   DENNIS CHRISTIAN                724 BUSINESS 60 W                                               DEXTER          MO      63841
INC
ALLEN CHRISTIAN BUICK, PONTIAC, GMC,   724 BUSINESS 60 W                                                                               DEXTER          MO      63841
INC
ALLEN CHURCH                           1085 STATE ROUTE 14                                                                             DEERFIELD       OH      44411‐8729
ALLEN CHURCH                           41860 JUDD RD                                                                                   BELLEVILLE      MI      48111‐9155
ALLEN CIRCUIT COUR CLERK               FINANCIAL DIVISION              715 SOUTH CALHOUN STREET ROOM 200B                              FORT WAYNE      IN      46802
ALLEN CLARK                            16 WESTWOOD CT                                                                                  BOWLING GREEN   MO      63334‐1700
ALLEN CLARK                            1010 WAX ST                                                                                     SAN BENITO      TX      78586‐4907
ALLEN CLEMENTS                         1632 ABLE ST                                                                                    STERLING        MI      48659‐9501
ALLEN CLEVELAND                        4149 11TH ST                                                                                    ECORSE          MI      48229‐1220
ALLEN CLIFFORD                         ALLEN, CLIFFORD                 30928 FORD RD                                                   GARDEN CITY     MI      48135‐1803
ALLEN CLIFFORD C OR HAZEL M            1 RR NO                                                                                         DORSET          OH      44032
ALLEN CLINE                            PO BOX 513                                                                                      MILFORD         MI      48381‐0515
ALLEN CLINE                            PO BOX 515                                                                                      MILFORD         MI      48381‐0515
ALLEN CLYDE                            ALLEN, CLYDE                    4423 LEHIGH ROAD #239                                           COLLEGE PARK    MD      20740
ALLEN COATES                           5618 RED FOX CT                                                                                 ANDERSON        IN      46013‐5500
ALLEN COATS                            3272 AMANDA DR                                                                                  DAYTON          OH      45406‐1101
ALLEN COLLINS                          PO BOX 615                                                                                      ORTONVILLE      MI      48462‐0615
ALLEN COLLISON                         10292 DOUGLAS AVE                                                                               PLAINWELL       MI      49080‐9663
ALLEN CONDON                           6801 N COUNTY ROAD H                                                                            JANESVILLE      WI      53548‐8644
ALLEN CONKLE                           728 CAPE HENRY DR                                                                               COLUMBUS        OH      43228‐8813
ALLEN CONSEAR                          6065 CONSEAR RD                                                                                 OTTAWA LAKE     MI      49267‐9718
ALLEN COOGLE                           119 STONE RD                                                                                    DELTA           PA      17314‐8519
ALLEN COOK                             471 GUINEVERE CT                                                                                TRACY           CA      95376‐1431
ALLEN COOPER                           318 BYRON ST                                                                                    CAMDEN          NJ      08102‐2618
ALLEN COOPER                           3779 GASKIN RD                                                                                  BALDWINSVILLE   NY      13027‐9328
ALLEN COOPER
ALLEN CORNELL                          130 N HOWARD ST                 P.O.BOX 369                                                     MORRICE         MI      48857‐9789
ALLEN COSTELLO JR                      1028 KOKOMO LN                                                                                  INDIANAPOLIS    IN      46241‐1717
ALLEN COULTER                          17728 UPLANDS LN                                                                                GOSHEN          IN      46526‐9476
ALLEN COUNTY C.S.E.A.                  ACCT OF JOE HORRISON            PO BOX 1589                                                     LIMA            OH      45802‐1589
ALLEN COUNTY CLERK                     PO BOX 2597                                                                                     FORT WAYNE      IN      46801‐2597
ALLEN COUNTY COMMUNITY COLLEGE         1801 N COTTONWOOD ST                                                                            IOLA            KS      66749‐1648
ALLEN COUNTY COURT CLERK, SUPPORT      715 S CALHOUN ST RM 200                                                                         FORT WAYNE      IN      46802‐1805

ALLEN COUNTY CRT CLERK                 ACT D E HIGDON                  715 S CALHOUN ST                                                FORT WAYNE      IN      46802
ALLEN COUNTY CSEA                      ACCT OF MICHAEL NAPPERE         PO BOX 1589                                                     LIMA            OH      45802‐1589
ALLEN COUNTY CSEA                      ACCT OF ERNEST R JACKSON        PO BOX 1589                                                     LIMA            OH      45802‐1589
ALLEN COUNTY CSEA                      ACCT OF T E HORRISON            PO BOX 1589                                                     LIMA            OH      45802‐1589
ALLEN COUNTY CSEA                      ACCT OF C NEWELL                PO BOX 1589                                                     LIMA            OH      45802‐1589
ALLEN COUNTY CSEA                      ACCT OF L WHIRL                 PO BOX 1589                                                     LIMA            OH      45802‐1589
ALLEN COUNTY CSEA                      ACCT OF L LEE WHIRL             PO BOX 1589                                                     LIMA            OH      45802‐1589
ALLEN COUNTY CSEA                      ACCT OF GARRETT W PARKE         PO BOX 1589                                                     LIMA            OH      45802‐1589
ALLEN COUNTY SHERIFF                   194 W WOOD ST                                                                                   SCOTTSVILLE     KY      42164‐1261
ALLEN COUNTY TREASURER                 PO BOX 123                                                                                      LIMA            OH      45802‐0123
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Name                                 Address1                                 Address2                        Address3                Address4               City               State   Zip
ALLEN COUNTY TREASURER               PO BOX 2540                                                                                                             FORT WAYNE          IN     46801‐2540
ALLEN COUNTY TREASURER               PO BOX 2540                              PERSONAL PROPERTY TAX                                                          FORT WAYNE          IN     46801‐2540
ALLEN COUNTY TREASURER               ATTN LEGAL OFFICER/BANKRUPTCY DEPT       PO BOX 2540                     PERSONAL PROPERTY TAX                          FORT WAYNE          IN     46801

ALLEN COUNTY, IN                     ONE MAIN ST.                                                                                                            FORT WAYNE          IN     46802
ALLEN COUNTY, INDIANA                610 CITY COUNTY BLDG., ONE E. MAIN ST.                                                                                  FORT WAYNE          IN     46802
REDEVELOPMENT COMMISSION
ALLEN COZART                         3130 MCCLURE AVE                                                                                                        FLINT              MI      48506‐2536
ALLEN CRAIG                          813 DEER RIDGE CT                                                                                                       BALDWIN CITY       KS      66006‐6201
ALLEN CREWS                          6937 FAIRFIELD ST                                                                                                       GARDEN CITY        MI      48135‐1641
ALLEN CRITTENDEN                     11107 HOLT HWY                                                                                                          DIMONDALE          MI      48821‐9704
ALLEN CROSS                          4465 UPPER PATTON PARK RD                                                                                               MARTINSVILLE       IN      46151‐9163
ALLEN CROSS                          #1                                       1159 CHESTNUT STREET                                                           PONTIAC            MI      48342‐1891
ALLEN CROSS                          5150 N RIDGE RR 1                                                                                                       CHESANING          MI      48616
ALLEN CTY CHILD SUPPORT DIV          FOR ACCT OF RICHARD HENDERSON            715 S CALHOUN STREET                                                           FORT WAYNE         IN      46802
ALLEN CTY COURT CLK SMALL CLMS       113 W BERRY ST RM B10                    COURTHOUSE ANNEX BLDG                                                          FORT WAYNE         IN      46802‐2324
ALLEN CUFF                           C/O THE MADEKSHO LAW FIRM                8866 GULF FREEWAY SUITE 440                                                    HOUSTON            TX      77017
ALLEN CURSON                         3635 JUNIPER ST                                                                                                         CLARKSTON          MI      48348‐1364
ALLEN CZARNECKI                      34097 INVERARRY CT                                                                                                      STERLING HEIGHTS   MI      48312‐4617
ALLEN D ANGELO                       11204 N JENNINGS RD                                                                                                     CLIO               MI      48420‐1540
ALLEN D BISHOP JR                    1414 W ALEXIS RD                                                                                                        TOLEDO             OH      43612‐4045
ALLEN D CORNELL                      PO BOX 369                                                                                                              MORRICE            MI      48857‐0369
ALLEN D EDMONSON                     3102 DORF DR                                                                                                            DAYTON             OH      45418‐2905
ALLEN D GUNDERSON                    LAVONNE GUNDERSON                        2101 LYMON                                                                     BILLINGS           MT      59102
ALLEN D JONES                        1048 DANNER AVENUE                                                                                                      DAYTON             OH      45408‐1806
ALLEN D KYLES                        3 E WORLEY AVE                                                                                                          TROTWOOD           OH      45426‐2838
ALLEN D LANGLEY                      6840 KOLLING RD                                                                                                         IRON RIVER         WI      54847‐7705
ALLEN D LYON                         5489 NORTHSHORE DR BIG LAKE                                                                                             SEARS              MI      49679
ALLEN D MILHOAN                      MOTLEY RICE LLC                          28 BRIDGESIDE BLVD              PO BOX 1792                                    MT PLEASANT        SC      29465
ALLEN D PUEBLO                       8709 CORY DR                                                                                                            DELTON             MI      49046‐8759
ALLEN D SCOTT                        407 MAGNOLIA ST                                                                                                         ROCHESTER          NY      14611‐3743
ALLEN D WILLIAMSON                   625OXFORD AVENUE                                                                                                        DAYTON             OH      45407‐1821
ALLEN DAHRINGER                      328 PEFFER AVE                                                                                                          NILES              OH      44446‐3313
ALLEN DALTON                         93 FRUMAN AVE                                                                                                           FAIRBORN           OH      45324
ALLEN DALTON                         93 TRUMAN AVE                                                                                                           FAIRBORN           OH      45324
ALLEN DANIEL                         192 HURLEY DR                                                                                                           DEFUNIAK SPRINGS   FL      32433‐3593

ALLEN DANIEL                         1840 BURNETTS CORNER RD                                                                                                 WOOSTER            OH      44691‐9743
ALLEN DAUM                           961 S MIAMI ST                                                                                                          WEST MILTON        OH      45383‐1214
ALLEN DAVID (442929)                 BEVAN & ASSOCIATES                       10360 NORTHFIELD ROAD , BEVAN                                                  NORTHFIELD         OH      44067
                                                                              PROFESSIONAL BLDG
ALLEN DAVIDSON                       20700 HELL HWY BOX 35                                                                                                   ONAWAY             MI      49765
ALLEN DAVIS                          1915 COLONY DR APT 2107                                                                                                 CINCINNATI         OH      45205‐1166
ALLEN DAVIS                          1822 N JAY ST                                                                                                           KOKOMO             IN      46901‐2444
ALLEN DAVIS                          2605 N MADISON ST                                                                                                       WILMINGTON         DE      19802‐3445
ALLEN DEAN                           12490 QUIVIRA RD                         APT 4027                                                                       OVERLAND PARK      KS      66213‐2461
ALLEN DEAN                           RT 6 455 SWEETWATER DRIVE                                                                                               CLARKESVILLE       GA      30523
ALLEN DEAN                           1307 GREENTREE CT                                                                                                       BRANDON            MS      39042‐4000
ALLEN DEBRAAL                        6717 PLYMOUTH RD                                                                                                        DOWNERS GROVE      IL      60516‐3213
ALLEN DEBUS                          PO BOX 1067                                                                                                             STANDISH           MI      48658‐1067
ALLEN DEBUS, WASTE, PESTICIDES AND   U.S. ENVIRONMENTAL PROTECTION            77 WEST JACKSON BOULEVARD                                                      CHICAGO            IL      60604‐3590
TOXICS DIVISION                      AGENCY REGION 5
ALLEN DELANEY                        PO BOX 246                                                                                                              MARKLE              IN     46770‐0246
ALLEN DELIN (643363)                 MOODY EDWARD O                           801 W 4TH ST                                                                   LITTLE ROCK         AR     72201‐2107
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Name                                   Address1                          Address2                        Address3          Address4               City               State Zip
ALLEN DELIN (643363) ‐ ANAEKI PATRICIA MOODY EDWARD O                    801 W 4TH ST                                                             LITTLE ROCK         AR 72201‐2107
ANN
ALLEN DELIN (643363) ‐ BOWIE JESSIE J  MOODY EDWARD O                    801 W 4TH ST                                                             LITTLE ROCK        AR   72201‐2107
ALLEN DELIN (643363) ‐ SULLIVAN HELEN MOODY EDWARD O                     801 W 4TH ST                                                             LITTLE ROCK        AR   72201‐2107
MARIE
ALLEN DELIN (643363) ‐ SWAIN CHARLOTTE MOODY EDWARD O                    801 W 4TH ST                                                             LITTLE ROCK        AR   72201‐2107
A
ALLEN DELIN (643363) ‐ TATE ARTHUR W   MOODY EDWARD O                    801 W 4TH ST                                                             LITTLE ROCK        AR   72201‐2107

ALLEN DELIN (643363) ‐ TAYLOR EARL L    MOODY EDWARD O                   801 W 4TH ST                                                             LITTLE ROCK        AR   72201‐2107
ALLEN DELIN (643363) ‐ TRIMBLE WADDY    MOODY EDWARD O                   801 W 4TH ST                                                             LITTLE ROCK        AR   72201‐2107
EMMA JEAN
ALLEN DELIN (643363) ‐ WALKER JERRY     MOODY EDWARD O                   801 W 4TH ST                                                             LITTLE ROCK        AR   72201‐2107
ALLEN DELIN (643363) ‐ WALKER LINDA     MOODY EDWARD O                   801 W 4TH ST                                                             LITTLE ROCK        AR   72201‐2107
JOYCE BARBEE
ALLEN DELIN (643363) ‐ WALTON MARSHA    MOODY EDWARD O                   801 W 4TH ST                                                             LITTLE ROCK        AR   72201‐2107
GAYLE
ALLEN DELIN (643363) ‐ WESLEY JAMES D   MOODY EDWARD O                   801 W 4TH ST                                                             LITTLE ROCK        AR   72201‐2107

ALLEN DELIN (643363) ‐ WHEELER MARY     MOODY EDWARD O                   801 W 4TH ST                                                             LITTLE ROCK        AR   72201‐2107
SUE
ALLEN DELIN (643363) ‐ WILKERSON        MOODY EDWARD O                   801 W 4TH ST                                                             LITTLE ROCK        AR   72201‐2107
WALTER AMOS
ALLEN DELIN (643363) ‐ WILLIAMS LINDA   MOODY EDWARD O                   801 W 4TH ST                                                             LITTLE ROCK        AR   72201‐2107
FAYE
ALLEN DELINE                            7789 JOSE LAKE DR                                                                                         SOUTH BRANCH       MI   48761‐9602
ALLEN DEMI                              1462 TURNPIKE AVE                                                                                         CLEARFIELD         PA   16830‐7237
ALLEN DENNEY                            254 E TAYLOR ST                                                                                           HUNTINGTON         IN   46750‐3723
ALLEN DETTER                            2268 ROYAL OAK AVE                                                                                        DEFIANCE           OH   43512‐3530
ALLEN DEVILBISS                         41 REA DR                                                                                                 MEDWAY             OH   45341‐9505
ALLEN DEVINE                            5069 ASHVILLE RD                                                                                          SOUTH BLOOMFIELD   OH   43103‐1137

ALLEN DEZESS                            6388 E CUTLER RD                                                                                          EDMORE             MI   48829‐8704
ALLEN DIBLER                            833 WESTWOOD DR                                                                                           FENTON             MI   48430‐1465
ALLEN DIEDERICH                         3789 COCONUT PALM CIR                                                                                     OVIEDO             FL   32765‐4909
ALLEN DIGIROLAMO                        4 FLEMISH WAY                                                                                             LUMBERTON          NJ   08048‐4500
ALLEN DIMITROFF                         22231 WATSONIA ST                                                                                         DEARBORN           MI   48128‐1415
ALLEN DIPZINSKI                         12364 E RICHFIELD RD                                                                                      DAVISON            MI   48423‐8518
ALLEN DISPLAY                           14301 SOMMERVILLE CT                                                                                      MIDLOTHIAN         VA   23113‐6837
ALLEN DISTEL                            975 GOLDEN DR                                                                                             WHITE LAKE         MI   48386‐3830
ALLEN DIXIE                             352 RAINTREE DR 2                                                                                         ALTOONA            FL   32702
ALLEN DIXON JR                          PO BOX 1531                                                                                               DANVILLE           IL   61834‐1531
ALLEN DONALD (ESTATE OF) (643009)       BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                                            NORTHFIELD         OH   44067
                                                                         PROFESSIONAL BLDG
ALLEN DONALD E (ESTATE OF) (508993)     ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET , ONE                                               BALTIMORE          MD   21202
                                                                         CHARLES CENTER 22ND FLOOR
ALLEN DONALD EUGENE (466864)            GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                              NORFOLK            VA   23510
                                                                         STREET, SUITE 600
ALLEN DOSSON                            479 HIGHWAY 854                                                                                           DELHI              LA   71232‐6747
ALLEN DOTHARD                           711 STRUTHERS COITSVILLE RD                                                                               LOWELLVILLE        OH   44436‐9724
ALLEN DOUGLAS                           1111 MAIN STREET                                                                                          HUNTINGTN BCH      CA   92648‐2718
ALLEN DOUGLASS                          C/O NIX, PATTERSON & ROACH LLP   GM BANKRUPTCY DEPARTMENT        205 LINDA DRIVE                          DAINGERFIELD       TX   75638
ALLEN DOWNIE JR.                        8343 VERMONT AVE                                                                                          WARREN             MI   48093‐7218
ALLEN DOWNING                           522 MUIR ST                                                                                               JANESVILLE         WI   53546‐3109
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Name                       Address1                          Address2                     Address3   Address4               City              State   Zip
ALLEN DUCHNOWSKI           1671 BELLE AVE                                                                                   LAKEWOOD           OH     44107‐4314
ALLEN DUCKWORTH            218 LYNN ST                                                                                      VASSAR             MI     48768‐1807
ALLEN DUNN                 314 SPRINGVILLE RD                                                                               QUARRYVILLE        PA     17566‐9442
ALLEN DUNN                 517 LEXINGTON DR                                                                                 ROCHESTER HILLS    MI     48307‐3528
ALLEN DURHAM               16869 MANOR ST                                                                                   DETROIT            MI     48221‐2827
ALLEN DYER                 PO BOX 98                                                                                        CAMPBELL           TX     75422‐0098
ALLEN E ADAMS              4297 STATE ROUTE 123                                                                             FRANKLIN           OH     45005‐9713
ALLEN E CREWS              6937 FAIRFIELD ST                                                                                GARDEN CITY        MI     48135‐1641
ALLEN E DEVILBISS          41 REA DRIVE                                                                                     MEDWAY             OH     43541
ALLEN E FOSTER             2358 WATERFALL LN                                                                                COLUMBUS           OH     43209
ALLEN E GAYMAN             8928 LAMBERT AVE                                                                                 DAYTON             OH     45414
ALLEN E POCKEL             4245 JANES RD                                                                                    SAGINAW            MI     48601
ALLEN E RAYESKE            9257 S NICHOLSON RD.                                                                             OAK CREEK          WI     53154
ALLEN E SAUNDERS JR        621 CHANDLER DR                                                                                  TROTWOOD           OH     45426
ALLEN E VARVEL             PO BOX 843                                                                                       FAIRBORN           OH     45324‐0843
ALLEN EBERHART             34040 STANDISH ST                                                                                WESTLAND           MI     48185‐2314
ALLEN EDMONSON             3102 DORF DR                                                                                     MORAINE            OH     45418‐2905
ALLEN EDWARDS              8215 TILLY MILL LN                                                                               INDIANAPOLIS       IN     46278‐5039
ALLEN ELEC/LIVONIA         PO BOX 510300                                                                                    LIVONIA            MI     48151‐6300
ALLEN ELECTRIC SUPPLY CO   31750 PLYMOUTH RD                 PO BOX 510300                                                  LIVONIA            MI     48150‐1973
ALLEN ELLEFSON             1245 BOUCHARD AVE                                                                                JANESVILLE         WI     53546‐2648
ALLEN ELLIOTT              2529 RENFREW WAY                                                                                 LANSING            MI     48911‐6422
ALLEN ELLIOTT              8352 DUFFIELD RD                                                                                 GAINES             MI     48436‐9794
ALLEN ELLIOTT              1919 RED RD                                                                                      SPARTA             TN     38583‐3932
ALLEN ELLIS                5076 SAVANNAH RIVER WAY APT 205                                                                  ORLANDO            FL     32839‐5087
ALLEN ELLISON              473 W OIL ST                                                                                     MONTPELIER         IN     47359‐1268
ALLEN EMMENDORFER          11195 ALPINE DR                                                                                  LAKE               MI     48632‐9747
ALLEN ENTICOTT             15407 GAGE ST                                                                                    TAYLOR             MI     48180‐5176
ALLEN ERICKSON             12006 S COUNTY ROAD H                                                                            BELOIT             WI     53511‐9200
ALLEN ETHINGTON            718 HURON ST                                                                                     FLINT              MI     48507‐2551
ALLEN EUBANKS              1044 S 7TH ST                                                                                    ARANSAS PASS       TX     78336‐3312
ALLEN EWALD                5257 CENTER ST                                                                                   FAIRGROVE          MI     48733‐9703
ALLEN EXPRESS INC          PO BOX 520                                                                                       SAINT CHARLES      MO     63302‐0520
ALLEN F ADKINS             909 QUINN RD                                                                                     W ALEXANDRIA       OH     45381‐8347
ALLEN FAHRNEY              810 SUSSEX DR                                                                                    JANESVILLE         WI     53546‐1814
ALLEN FAIN                 PO BOX 656                                                                                       MORGANTON          GA     30560‐0656
ALLEN FAIRBANKS            314 S MAIN ST                                                                                    RICHFORD           VT     05476‐9606
ALLEN FARLEY               2873 FAYETTEVILLE HWY                                                                            BELFAST            TN     37019‐2097
ALLEN FARRIA               8885 MONICA ST                                                                                   DETROIT            MI     48204‐2853
ALLEN FARRINGTON JR        3840 W STONE FARM RD                                                                             EDGERTON           WI     53534‐9721
ALLEN FELD                 110 N KENYON AVE                                                                                 MARGATE CITY       NJ     08402‐1540
ALLEN FERRETT              3707 LAKE GEORGE RD                                                                              DRYDEN             MI     48428‐9632
ALLEN FERRY                1200 PORTSMOUTH DR                                                                               HOWELL             MI     48843‐6860
ALLEN FIELDS               1660 CANTON ST                                                                                   W BLOOMFIELD       MI     48324‐3811
ALLEN FILIP                14535 W BRUNS RD                                                                                 MANHATTAN           IL    60442‐9498
ALLEN FINDLEY              5938 BELARD ST                                                                                   PORTAGE            MI     49002‐2249
ALLEN FISHER               138 S SAGINAW ST                  PO BOX 3092                                                    MONTROSE           MI     48457‐9809
ALLEN FLETCHER             20543 HOLLY CIR                                                                                  STRONGSVILLE       OH     44149‐5609
ALLEN FLICKINGER           4356 N ELMS RD                                                                                   FLUSHING           MI     48433‐1450
ALLEN FLORA                2417 S WASHINGTON ST                                                                             MARION             IN     46953‐3156
ALLEN FOLK                 876 RIVERVIEW DR                                                                                 PLAINWELL          MI     49080‐1822
ALLEN FORD                 BEVAN & ASSOCIATES, LPA, INC.     6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS.        OH     44236
ALLEN FOREMAN              1800 E FRED CT                                                                                   MUNCIE             IN     47302‐5934
ALLEN FORTUNE              2890 ROSE CENTER RD                                                                              HIGHLAND           MI     48356‐1236
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Name                         Address1                        Address2                        Address3      Address4               City               State   Zip
ALLEN FOSTER                 9672 OLD STATE RD                                                                                    CHARDON             OH     44024‐9260
ALLEN FOX                    649 W CRAWFORD AVE                                                                                   TOLEDO              OH     43612‐3249
ALLEN FRANK ESTATE OF        1408 LAKESIDE DRIVE                                                                                  PAGOSA SPGS         CO     81147‐8443
ALLEN FRANTZ                 1659 HOUSEL CRAFT RD                                                                                 BRISTOLVILLE        OH     44402‐9602
ALLEN FREDERICK              2057 STATE ROUTE 534                                                                                 SOUTHINGTON         OH     44470‐9572
ALLEN FREEMAN                1866 HEATHERTON DR                                                                                   HOLT                MI     48842‐1500
ALLEN FREEMAN                403 LAMBSON LN                                                                                       NEW CASTLE          DE     19720‐2126
ALLEN FREIGHT SERVICES INC   3728 PHILLIPS HWY STE 48                                                                             JACKSONVILLE        FL     32207‐6840
ALLEN FRIDAY                 5440 TREASURER RD                                                                                    MAYVILLE            MI     48744‐9685
ALLEN FRUSHER                1715 MYRA AVE                                                                                        JANESVILLE          WI     53548‐0142
ALLEN FRY                    6325 LEWIS RD                   P.O 235                                                              MIAMIVILLE          OH     45147
ALLEN G BURCHFIELD           98 CARRIE MARIE LN                                                                                   HILTON              NY     14468
ALLEN G FLETCHER             20543 HOLLY CIR                                                                                      STRONGSVILLE        OH     44149‐5609
ALLEN G TRAGER PC            ATTN: TINA SHEPHERD             1335 S LINDEN RD # C                                                 FLINT               MI     48532‐3420
ALLEN GAIL                   NO ADVERSE PARTY
ALLEN GAMBLE                 6930 MAIER AVE SW                                                                                    GRANDVILLE         MI      49418‐2144
ALLEN GAREAU                 469 ASHLEY DR 91                                                                                     GRAND BLANC        MI      48439
ALLEN GARETH (ESTATE OF)     SIMMONS FIRM                    707 BERKSHIRE BLVD              P O BOX 521                          EAST ALTON         IL      62024
ALLEN GARLAND                7625 HILLSIDE ST                                                                                     OAKLAND            CA      94605‐2823
ALLEN GARRY                  1 BLUE GULCH RD                                                                                      JOHN DAY           OR      97845
ALLEN GARY                   CASCINO MICHAEL P               220 S. ASHLAND                                                       CHICAGO            IL      60607
ALLEN GARY (664754)          BRAYTON PURCELL                 PO BOX 6169                                                          NOVATO             CA      94948‐6169
ALLEN GASCH                  7286 WILLIAMS RD                                                                                     LANSING            MI      48911‐3035
ALLEN GATES                  1933 ROCKCREEK LN                                                                                    FLINT              MI      48507‐2274
ALLEN GEARY                  3829 CHURCHVIEW AVENUE EXT                                                                           PITTSBURGH         PA      15236‐1121
ALLEN GENERETTE              838 GENERETTE RD                                                                                     YAZOO CITY         MS      39194‐9817
ALLEN GEORGE (442931)        BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD , BEVAN                                        NORTHFIELD         OH      44067
                                                             PROFESSIONAL BLDG
ALLEN GEORGE A (481612)      GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                          NORFOLK             VA     23510
                                                             STREET, SUITE 600
ALLEN GEORGIANNE C           4965 DANTEL WAY                                                                                      STONE MOUNTAIN      GA     30083‐2103
ALLEN GERALD                 172 OLDBURY DR                                                                                       WILMINGTON          DE     19808‐1435
ALLEN GERALD E (485157)      WEITZ & LUXENBERG               180 MAIDEN LANE                                                      NEW YORK            NY     10038
ALLEN GERALD E (504613)      WEITZ & LUXENBERG               180 MAIDEN LANE                                                      NEW YORK            NY     10038
ALLEN GIETZEN                5433 COTTONDALE ST SW                                                                                WYOMING             MI     49519‐9634
ALLEN GILBERT                1906 MCPHAIL ST                                                                                      FLINT               MI     48503‐4328
ALLEN GILLIAM                4511 BROWN RD                                                                                        DURAND              MI     48429‐9754
ALLEN GIRAUD                 43566 RIVERBEND BLVD                                                                                 CLINTON TOWNSHIP    MI     48038‐2479

ALLEN GIVENS                 2133 CLEMENTINE DR                                                                                   MARIETTA            GA     30066
ALLEN GLENN                  10300 CLARK RD                                                                                       DAVISON             MI     48423‐8507
ALLEN GLENN E (498211)       GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                          NORFOLK             VA     23510
                                                             STREET, SUITE 600
ALLEN GLUNT                  6912 WILSON ST                                                                                       WEST MIFFLIN       PA      15122‐2756
ALLEN GOEBEL                 366 BROOKLAND DR                                                                                     MEDINA             OH      44256‐1427
ALLEN GOFF                   2100 N CARROLTON DR                                                                                  MUNCIE             IN      47304‐9199
ALLEN GOTTLER                2350 FIX RD                                                                                          GRAND ISLAND       NY      14072‐2544
ALLEN GRANGER                2507 HARDSCRABBLE RD                                                                                 ERIEVILLE          NY      13061‐4172
ALLEN GRANT                  3434 PLANTATION DR                                                                                   ALBANY             GA      31721‐2030
ALLEN GRAY                   1843 POVO ROAD                                                                                       MADISONVILLE       TN      37354‐5351
ALLEN GREEN                  6800 DEERHILL DRIVE                                                                                  CLARKSTON          MI      48346
ALLEN GRIFFIN                12896 MEMORIAL ST                                                                                    DETROIT            MI      48227‐1229
ALLEN GROUP/MELVILLE         534 BROAD HOLLOW ROAD                                                                                MELVILLE           NY      11747
ALLEN GWYNN CHEVROLET        1400 S BRAND BLVD                                                                                    GLENDALE           CA      91204‐2810
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Name                                 Address1                        Address2                     Address3   Address4               City             State   Zip
ALLEN GWYNN CHEVROLET, INC.          JAMES BACON                     1400 S BRAND BLVD                                              GLENDALE          CA     91204‐2810
ALLEN H ROSS JR                      22 GRANDVIEW LN                                                                                ROCHESTER         NY     14612
ALLEN H SCHOOLER JR                  1416 RUSKIN RD.                                                                                DAYTON            OH     45406
ALLEN H SCHULTZ                      4289 BURCH RD                                                                                  RANSOMVILLE       NY     14131‐9702
ALLEN HAACK                          5434 JEFFERSON RD                                                                              NORTH BRANCH      MI     48461‐8549
ALLEN HAGLUND                        1012 E WINDEMERE AVE                                                                           ROYAL OAK         MI     48073‐2858
ALLEN HAILEY                         886 COTHRAN RD                                                                                 COLUMBIA          TN     38401‐6754
ALLEN HALL                           128 COUNTY ROAD 5591                                                                           POPLAR BLUFF      MO     63901‐7478
ALLEN HALL                           PO BOX 127                      STATE RT.#7 P.O. BOX 127                                       TUPPERS PLAINS    OH     45783‐0127
ALLEN HALLER
ALLEN HAMMELL                        115 MEGAN ST                                                                                   SPRING HILL      TN      37174‐2167
ALLEN HAMMER                         647 TELYA RDG                                                                                  MILFORD          MI      48381‐1805
ALLEN HAMPTON                        PO BOX 193                                                                                     STOCKBRIDGE      MI      49285‐0193
ALLEN HANSON                         11 CRANE LAKE DR                                                                               LINDEN           MI      48451‐9427
ALLEN HARDING                        54267 WOODCREEK BLVD                                                                           SHELBY TWP       MI      48315‐1431
ALLEN HARDY                          PO BOX 7041                                                                                    DEFIANCE         OH      43512‐7041
ALLEN HARRIS                         ALLEN, HARRIS                   116 LAKE SHORE RD APT 1                                        BRIGHTON         MA      02135‐6312
ALLEN HARRIS                         454 GREENBRIAR RD                                                                              TALBOTT          TN      37877‐8316
ALLEN HARRIS                         37573 N DIANNE LN                                                                              NEW BOSTON       MI      48164‐8005
ALLEN HARRIS                         BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS.      OH      44236
ALLEN HARRISON                       906 PARK AVE                                                                                   FARRELL          PA      16121‐1253
ALLEN HARRISON                       1012 CRAWFORD ST                                                                               FLINT            MI      48507‐5310
ALLEN HATTER JR                      118 TENNESSEE AVE                                                                              DANVILLE         IL      61832‐6128
ALLEN HAUBENSTRICKER                 2593 STATE HIGHWAY M69                                                                         CRYSTAL FALLS    MI      49920‐8744
ALLEN HAUCK                          43823 PROCTOR RD                                                                               CANTON           MI      48188‐1725
ALLEN HAULCY                         1633 CEDAR ST                                                                                  SAGINAW          MI      48601‐2838
ALLEN HAUSHALTER                     34353 FLORENCE ST                                                                              WESTLAND         MI      48185‐3682
ALLEN HAWKINS                        1031 S BUCKEYE ST                                                                              KOKOMO           IN      46902‐6312
ALLEN HAWKINS                        7373 SURREY DR                                                                                 ONSTED           MI      49265‐9588
ALLEN HAYES                          503 S KIBBEE ST                                                                                SAINT JOHNS      MI      48879‐2029
ALLEN HEADLEY                        2471 W RIVER RD                                                                                NEWTON FALLS     OH      44444‐8402
ALLEN HEGLUND                        8102B DELAWARE ST                                                                              OSCODA           MI      48750‐2242
ALLEN HEIDEN                         117 W MONROE ST                                                                                DUNDEE           MI      48131‐1234
ALLEN HELMS                          2268 HIGHWAY E                                                                                 FREDERICKTOWN    MO      63645‐8023
ALLEN HENDRICKSON                    1768 CYPRESS AVE                                                                               ARKDALE          WI      54613‐9509
ALLEN HENDRICKSON JR                 2838 JAYCOX RD                                                                                 AVON             OH      44011‐1928
ALLEN HENSEN                         7930 SE GENTIAN WAY                                                                            PRINEVILLE       OR      97754‐7007
ALLEN HERRON                         9259 NAVAJO TRL                                                                                FLUSHING         MI      48433‐1002
ALLEN HILDINGER                      5958 SHERIDAN RD                                                                               VASSAR           MI      48768‐9525
ALLEN HILL                           306 HUDSON HILL DR                                                                             MACON            GA      31220‐5500
ALLEN HILNER                         50 CHAPEL LN                                                                                   MANY             LA      71449‐5770
ALLEN HINMAN                         1431 ARBOR DR                                                                                  LAKE             MI      48632‐8957
ALLEN HNATIW                         9111 RIVERSIDE DR                                                                              GRAND LEDGE      MI      48837‐9243
ALLEN HOCKENSMITH                    6364 BRUMA AVE                                                                                 LAS VEGAS        NV      89122‐1908
ALLEN HOFFMAN                        7674 WICKERT RD                                                                                HALE             MI      48739‐9506
ALLEN HOLCKNECHT                     1974 VALLEY BROOK RD                                                                           STREETSBORO      OH      44241‐5829
ALLEN HOLDER                         PO BOX 201                                                                                     BUFFALO          NY      14212‐0201
ALLEN HOLLAND                        85 KEITH AVE                                                                                   CAMDEN           TN      38320‐6823
ALLEN HOLLENBECK                     8063 E IMLAY CITY RD                                                                           IMLAY CITY       MI      48444‐9462
ALLEN HOMAN                          PO BOX 25551                                                                                   KANSAS CITY      MO      64119‐0851
ALLEN HOOVER                         7077 SHAFFER RD NW                                                                             WARREN           OH      44481‐9408
ALLEN HORACE JR (645387)             MOODY EDWARD O                  801 W 4TH ST                                                   LITTLE ROCK      AR      72201‐2107
ALLEN HORACE JR (645387) ‐ ANDREWS   MOODY EDWARD O                  801 W 4TH ST                                                   LITTLE ROCK      AR      72201‐2107
GEORGE W
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Name                                    Address1                     Address2                        Address3   Address4               City            State Zip
ALLEN HORACE JR (645387) ‐ BOGY ROBERT MOODY EDWARD O                801 W 4TH ST                                                      LITTLE ROCK      AR 72201‐2107
KENNETH
ALLEN HORACE JR (645387) ‐ BYRD RICKY M MOODY EDWARD O               801 W 4TH ST                                                      LITTLE ROCK     AR   72201‐2107

ALLEN HORACE JR (645387) ‐ COLLINS      MOODY EDWARD O               801 W 4TH ST                                                      LITTLE ROCK     AR   72201‐2107
JOHN HENRY
ALLEN HORACE JR (645387) ‐ CRAIN        MOODY EDWARD O               801 W 4TH ST                                                      LITTLE ROCK     AR   72201‐2107
NATHANIEL
ALLEN HORACE JR (645387) ‐ DANIEL KIM MOODY EDWARD O                 801 W 4TH ST                                                      LITTLE ROCK     AR   72201‐2107
MAYNARD
ALLEN HORACE JR (645387) ‐ FORTNER      MOODY EDWARD O               801 W 4TH ST                                                      LITTLE ROCK     AR   72201‐2107
PAUL
ALLEN HORACE JR (645387) ‐ GIVENS BETTY MOODY EDWARD O               801 W 4TH ST                                                      LITTLE ROCK     AR   72201‐2107
JEAN
ALLEN HORACE JR (645387) ‐ GIVENS       MOODY EDWARD O               801 W 4TH ST                                                      LITTLE ROCK     AR   72201‐2107
HOWARD LEVERON
ALLEN HORACE JR (645387) ‐ HALE         MOODY EDWARD O               801 W 4TH ST                                                      LITTLE ROCK     AR   72201‐2107
KENNETH DEWAYNE
ALLEN HORACE JR (645387) ‐ HICKS CURTIS MOODY EDWARD O               801 W 4TH ST                                                      LITTLE ROCK     AR   72201‐2107

ALLEN HORACE JR (645387) ‐ HILL JOHNNIE MOODY EDWARD O               801 W 4TH ST                                                      LITTLE ROCK     AR   72201‐2107
MAE
ALLEN HORACE JR (645387) ‐ IVES LARRY   MOODY EDWARD O               801 W 4TH ST                                                      LITTLE ROCK     AR   72201‐2107
DOUGLAS
ALLEN HORACE JR (645387) ‐ IVORY        MOODY EDWARD O               801 W 4TH ST                                                      LITTLE ROCK     AR   72201‐2107
ABRAHAM
ALLEN HORACE JR (645387) ‐ JUNIORS      MOODY EDWARD O               801 W 4TH ST                                                      LITTLE ROCK     AR   72201‐2107
DENNIS L
ALLEN HORACE JR (645387) ‐ SIMMONS      MOODY EDWARD O               801 W 4TH ST                                                      LITTLE ROCK     AR   72201‐2107
MELVIN LEROY
ALLEN HORSTMAN                          13580 BENTON RD                                                                                GRAND LEDGE     MI   48837‐9769
ALLEN HOSNER                            9420 WASHINGTON RD                                                                             SAINT HELEN     MI   48656‐8212
ALLEN HOUSTON                           1020 ANNFIELD DR                                                                               MANSFIELD       OH   44903‐7818
ALLEN HOWARD (440570)                   BEVAN & ASSOCIATES           10360 NORTHFIELD ROAD , BEVAN                                     NORTHFIELD      OH   44067
                                                                     PROFESSIONAL BLDG
ALLEN HUBBARD                         5088 TERRITORIAL RD                                                                              GRAND BLANC     MI   48439‐2047
ALLEN HUFFMAN                         3018 E 6TH ST                                                                                    ANDERSON        IN   46012‐3824
ALLEN HUGH GLADDEN                    WEITZ & LUXENBERG PC           700 BROADWAY                                                      NEW YORK CITY   NY   10003
ALLEN HUGHES                          142 E MAIN ST                                                                                    GIRARD          OH   44420‐2603
ALLEN HUGHES                          193 N CATARACT RD                                                                                CLOVERDALE      IN   46120‐8050
ALLEN HULL                            PO BOX 1069                                                                                      JAMESTOWN       TN   38556‐1069
ALLEN HUMPHREYS                       837 WEINLAND DR                                                                                  NEW CARLISLE    OH   45344
ALLEN HUNT                            1706 S ARMSTRONG ST                                                                              KOKOMO          IN   46902‐2034
ALLEN HUNTER                          877 ADDISON ST                                                                                   ADRIAN          MI   49221‐2408
ALLEN HUSSEY                          1101 S TENNYSON ST                                                                               DENVER          CO   80219‐3755
ALLEN HUSTON                          1291 N MARYMARK DR                                                                               JENISON         MI   49428‐9347
ALLEN HUTCHINSON                      2545 BULLOCK RD                                                                                  BROWN CITY      MI   48416‐8609
ALLEN I I I, ARVIS R                  417 CORNWALL AVE                                                                                 BUFFALO         NY   14215‐3158
ALLEN I I, RONALD L                   932 AUTUMN CT                                                                                    TRENTON         OH   45067‐9645
ALLEN II, CHESTER H                   1100 CRANBROOK DR                                                                                SAGINAW         MI   48638‐5437
ALLEN II, DAN L                       2669 TAFT AVE                                                                                    YOUNGSTOWN      OH   44502‐2777
ALLEN II, DONALD E                    16925 MORRISON ST                                                                                SOUTHFIELD      MI   48076‐2016
ALLEN II, JAMES G                     13845 N 55TH PLACE                                                                               SCOTTSDALE      AZ   85254
ALLEN II, JAMES R                     301 E MARENGO AVE                                                                                FLINT           MI   48505‐3365
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Name                         Address1                             Address2                           Address3        Address4                 City            State   Zip
ALLEN II, JAMES R            9070 N SAGINAW RD APT 619                                                                                        MOUNT MORRIS     MI     48458‐1184
ALLEN II, RONALD L           932 AUTUMN CT                                                                                                    TRENTON          OH     45067‐9645
ALLEN II, RUSSELL            1928 HIGHWAY 546                                                                                                 WEST MONROE      LA     71292‐0421
ALLEN II, RUSSELL R          1928 HIGHWAY 546                                                                                                 WEST MONROE      LA     71292‐0421
ALLEN III 303471, ROBERT E   329 N DIBBLE AVE                                                                                                 LANSING          MI     48917‐2825
ALLEN III, ARVIS RANDOLPH    417 CORNWALL AVE                                                                                                 BUFFALO          NY     14215‐3158
ALLEN III, JOSEPH H          2302 RICHMOND CIR                                                                                                MANSFIELD        TX     76059‐5196
ALLEN III, JOSEPH H.         2284 LONGMONT DR                                                                                                 LAWRENCEVILLE    GA     30044‐2085
ALLEN III, THEODORE S        614 NEWTON DR                                                                                                    NEWTON FALLS     OH     44444‐1921
ALLEN IPPOLITO               2817 S 10TH AVE                                                                                                  BROADVIEW         IL    60155‐4827
ALLEN IZABA                  SAN JOSE                             P.O. BOX 196‐1350                  SAN SEBASTIAN   COSTA RICA
ALLEN J DAHL                 18368 ENGLISH AVE                                                                                                FARMINGTON      MN      55024
ALLEN J JACKSON II           9629 BAYVIEW DR APT 206                                                                                          YPSILANTI       MI      48197‐7031
ALLEN J KINSEY               6104 CURSON DR                                                                                                   TOLEDO          OH      43612‐4014
ALLEN J KUBITZ               11 RUTH TER                                                                                                      ROCHESTER       NY      14624‐4612
ALLEN J LUDINGTON            210 N CANFIELD NILES RD                                                                                          YOUNGSTOWN      OH      44515‐1904
ALLEN J PARISH               8249 N CORNWELL AVE                                                                                              HARRISON        MI      48625‐8854
ALLEN J PLANT                2570 GRIFFITH DRIVE                                                                                              CORTLAND        OH      44410
ALLEN J STRIPPGEN            3520 BOULDER CT                                                                                                  SAINT PETERS    MO      63303‐1619
ALLEN J SZOSTEK              135 LAWSON RD                                                                                                    HOHENWALD       TN      38462‐5564
ALLEN JACKSON                13134 N WEBSTER RD                                                                                               CLIO            MI      48420‐8238
ALLEN JACKSON                310 W CLARK RD                                                                                                   YPSILANTI       MI      48198‐3402
ALLEN JACKSON                725 NORTHAMPTON ST                                                                                               BUFFALO         NY      14211‐1211
ALLEN JACKSON                12125 S HARVARD AVE                                                                                              CHICAGO         IL      60628‐6509
ALLEN JAMES                  764 NE MAIN ST                                                                                                   PAOLI           IN      47454‐9236
ALLEN JAMES                  162 ARMSTRONG RD                                                                                                 BROOKLYN        MS      39425‐9657
ALLEN JAMES                  764 N E MAIN                                                                                                     PAOLI           IN      47454
ALLEN JAMES                  ALLEN, JAMES                         155 B LEZER RD                                                              SALISBERY       NC      28147
ALLEN JAMES                  911 FOREST AVE NO 41                                                                                             VALLEY PARK     MO      63088
ALLEN JAMES (459680)         CLIMACO LEFKOWITZ PECA WILCOX &      1228 EUCLID AVE , HALLE BLDG 9TH                                            CLEVELAND       OH      44115
                             GAROFOLI                             FL
ALLEN JAMES ESTATE OF        ATTN: CORPORATE OFFICER/AUTHORIZED   32126 HARVARD ST                                                            WESTLAND         MI     48186‐4965
                             AGENT
ALLEN JAMES ESTATE OF        32126 HARVARD ST                     HOLD PER RC                                                                 WESTLAND         MI     48186‐4965
ALLEN JAMES HALFORD          GOLDENBERG, MILLER, HELLER &         2227 SOUTH STATE ROUTE 157         P.O. BOX 959                             EDWARDSVILLE     IL     62025
                             ANTOGNOLI
ALLEN JAMES JR (428399)      GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                                 NORFOLK          VA     23510
                                                                  STREET, SUITE 600
ALLEN JAPARUS                ALLEN, JAPARUS                       HWY 280 270 WEST                                                            DOERUN          GA      31744
ALLEN JEAN                   1195 FLAJOLE RD                                                                                                  MIDLAND         MI      48642‐9602
ALLEN JEFFREY                425 W MANANA BLVD                                                                                                CLOVIS          NM      88101‐4208
ALLEN JENKINS                6428 DUFFIELD RD                                                                                                 SWARTZ CREEK    MI      48473‐8582
ALLEN JEROLD                 1402 CHAMPLAIN DR                                                                                                VOORHEES        NJ      08043‐2861
ALLEN JERRY H (428400)       GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                                 NORFOLK         VA      23510
                                                                  STREET, SUITE 600
ALLEN JESSE (507455)         COON BRENT W                         PO BOX 4905                                                                 BEAUMONT         TX     77704‐4905
ALLEN JESSE F (458982)       GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                                 NORFOLK          VA     23510
                                                                  STREET, SUITE 600
ALLEN JESSMORE               2002 OTTAWA ST                                                                                                   SAGINAW          MI     48602‐2745
ALLEN JOE E                  C/O MCKENNA & CHIODO                 436 BOULEVARD OF THE ALLIES ‐                                               PITTSBURGH       PA     15219
                                                                  SUITE 500
ALLEN JOE E (506960)         MCKENNA & CHIDO
ALLEN JOE H II               ALLEN, JOE H                         PO BOX 74                                                                   RALEIGH         MS      39153‐0074
                                 09-50026-mg             Doc 7123-3    Filed 09/24/10 Entered 09/24/10 15:05:32           Exhibit B
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Name                             Address1                        Address2                        Address3      Address4               City              State Zip
ALLEN JOHN                       7033 POST OAK DR                                                                                     NORTH RICHLAND     TX 76180‐3422
                                                                                                                                      HILLS
ALLEN JOHN R (475462)            COON & ASSOCS BRENT             917 FRANKLIN ST STE 210                                              HOUSTON           TX   77002‐1751
ALLEN JOHNSON                    10490 HALLER ST                                                                                      DEFIANCE          OH   43512‐1234
ALLEN JOHNSON                    8951 COUNTY ROAD 40                                                                                  GALION            OH   44833‐9637
ALLEN JOHNSON                    4810 MURPHY LAKE RD                                                                                  MILLINGTON        MI   48746‐9403
ALLEN JOHNSON                    127 FLAMINGO LN                                                                                      JANESVILLE        WI   53546‐2984
ALLEN JOHNSON                    1253 MONTEREY LN                                                                                     JANESVILLE        WI   53546‐5378
ALLEN JOHNSON                    1323 STANLEY STREET SOUTHWEST                                                                        ARDMORE           OK   73401‐3231
ALLEN JOHNSTON                   5709 RIDGEVIEW RD                                                                                    ERIE              IL   61250‐9649
ALLEN JOLLY                      331 GARDNER AVE                                                                                      TRENTON           NJ   08618‐2515
ALLEN JONES                      3398 HIWOOD AVE                                                                                      STOW              OH   44224‐4624
ALLEN JONES                      271 S MAIN ST                                                                                        VASSAR            MI   48768‐1604
ALLEN JONES                      4202 GREENBRIAR DR                                                                                   JANESVILLE        WI   53546‐4239
ALLEN JONES                      654 APPLEGATE LN                                                                                     GRAND BLANC       MI   48439‐1669
ALLEN JONES                      13820 NE 120TH ST                                                                                    KEARNEY           MO   64060‐9083
ALLEN JONES                      4604 MARGUERITE AVE                                                                                  BALTIMORE         MD   21206‐5245
ALLEN JONES JR                   1131 ROOT ST                                                                                         FLINT             MI   48503‐1542
ALLEN JOSEPH COOPER              MOTLEY RICE LLC                 28 BRIDGESIDE BLVD              PO BOX 1792                          MT PLEASANT       SC   29465
ALLEN JOSEPHS                    22 BUTTONWOOD DR                                                                                     DIX HILLS         NY   11746
ALLEN JOSIAH                     136 TY DR                                                                                            CHOUDRANT         LA   71227
ALLEN JOY (484821) ‐ ALLEN JOY   KELLEY & FERRARO LLP            1300 EAST NINTH STREET , 1901                                        CLEVELAND         OH   44114
                                                                 BOND COURT BUILDING
ALLEN JR, ALVIN                  6774 CHAMBERLAIN AVE                                                                                 SAINT LOUIS       MO   63130‐2511
ALLEN JR, ANDERSON               4385 MCCORD LIVSEY RD                                                                                SNELLVILLE        GA   30039‐6749
ALLEN JR, ARTHUR E               274 LOCKWOOD ST                                                                                      GLADWIN           MI   48624‐8483
ALLEN JR, C R                    6690 LAKESHORE DR                                                                                    AVON              IN   46123‐8442
ALLEN JR, CHARLES D              103 OAKLEAF ST                                                                                       MCLOUD            OK   74851‐7902
ALLEN JR, CHARLES E              20 SULLIVAN ROADT                                                                                    CAMBRIDGE         MA   02138
ALLEN JR, CHARLES E              11610 TYSON CT                                                                                       MIDWEST CITY      OK   73130‐8432
ALLEN JR, CLIFTON E              RR1 BOX 201 D                                                                                        NEW MILFORD       PA   18834
ALLEN JR, CURTIS                 1418 ARROW AVE                                                                                       ANDERSON          IN   46016‐3230
ALLEN JR, DANIEL T               940 E MAPLE ST                                                                                       HOLLY             MI   48442‐1759
ALLEN JR, E C                    5029 WILSHIRE DR                                                                                     FLINT             MI   48504‐1248
ALLEN JR, EDWARD                 1709 CAMELLIA DR SW                                                                                  DECATUR           AL   35601‐4654
ALLEN JR, EDWIN M                2462 KINGSCROSS DR                                                                                   SHELBY TOWNSHIP   MI   48316‐1209
ALLEN JR, FRANK                  203 HOOVER AVE                                                                                       VENTURA           CA   93003‐2530
ALLEN JR, FRANK L                4590 GRESHAM RD                                                                                      DOUGLASVILLE      GA   30134‐4121
ALLEN JR, FRED                   24241 MORTON ST                                                                                      OAK PARK          MI   48237‐1613
ALLEN JR, FREDERICK J            2057 STATE ROUTE 534                                                                                 SOUTHINGTON       OH   44470‐9572
ALLEN JR, GEORGE W               1913 N MADISON AVE                                                                                   ANDERSON          IN   46011‐2151
ALLEN JR, GROVER                 3822 LAWLER DR                                                                                       SAINT LOUIS       MO   63121‐3420
ALLEN JR, HAROLD C               2350 MELODY LN                                                                                       BURTON            MI   48509‐1158
ALLEN JR, HAROLD C               PO BOX 681                                                                                           MOUNT MORRIS      MI   48458‐0681
ALLEN JR, HARRY B                3815 LAUREL LN                                                                                       ANDERSON          IN   46011‐3035
ALLEN JR, HENRY                  6101 WYNDHAM WAY                                                                                     MUNCIE            IN   47304‐5787
ALLEN JR, HERMAN R               1981 RIDGETOP WAY                                                                                    CINCINNATI        OH   45238‐2960
ALLEN JR, HORACE                 2306 SANTA BARBARA DR                                                                                FLINT             MI   48504‐2020
ALLEN JR, HUBERT                 1011 PATRICIA DR                                                                                     GULFPORT          MS   39503‐3333
ALLEN JR, JACK D                 1970 ASHTON POINTE DR                                                                                DACULA            GA   30019‐2940
ALLEN JR, JAMES E                14427 N BRAY RD                                                                                      CLIO              MI   48420
ALLEN JR, JAMES G                29451 PINE DR                                                                                        FLAT ROCK         MI   48134‐9642
ALLEN JR, JAMES G                PO BOX 6                                                                                             MORRILL           ME   04952‐0006
ALLEN JR, JAMES H                4265 LATIFEE CT                                                                                      SWARTZ CREEK      MI   48473‐1710
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Name                    Address1                         Address2                        Address3   Address4               City             State   Zip
ALLEN JR, JOE           100 GOLDENROD CT                                                                                   ATHENS            GA     30605‐4958
ALLEN JR, JOE L         3223 GEORGIA AVE                                                                                   KANSAS CITY       KS     66104‐4132
ALLEN JR, JOE LOUIS     3223 GEORGIA AVE                                                                                   KANSAS CITY       KS     66104‐4132
ALLEN JR, JOHN B        6607 RIVER BIRCH CT                                                                                FREDERICKSBURG    VA     22407‐3702
ALLEN JR, JOHN E        514 WALLACETOWN RD                                                                                 PAINT LICK        KY     40461‐8890
ALLEN JR, JOHN H        3220 CONCORD ST                                                                                    FLINT             MI     48504‐2926
ALLEN JR, JOSEPH A      2264 MAYFIELD RD                                                                                   SAGINAW           MI     48602‐3522
ALLEN JR, KEITH E       6490 ARBELA RD                                                                                     MILLINGTON        MI     48746‐9717
ALLEN JR, KEITH J       2354 E TOBIAS RD                                                                                   CLIO              MI     48420‐7904
ALLEN JR, KEITH JAMES   2354 E TOBIAS RD                                                                                   CLIO              MI     48420‐7904
ALLEN JR, KENNETH E     PO BOX 91                                                                                          BRISTOLVILLE      OH     44402‐0091
ALLEN JR, LONNIE R      412 BEDFORD CT W                                                                                   HURST             TX     76053‐4402
ALLEN JR, LONNIE ROY    412 BEDFORD CT W                                                                                   HURST             TX     76053‐4402
ALLEN JR, LOUIS A       4702 DAVIS AVE S APT 2A201                                                                         RENTON            WA     98055‐6232
ALLEN JR, LOWN          1139 CAMELLIA DR                                                                                   MOUNT MORRIS      MI     48458‐2801
ALLEN JR, MADISON W     1220 WINDSOR PKWY NE                                                                               ATLANTA           GA     30319‐2639
ALLEN JR, MARK B        14872 M‐35                                                                                         ROCK              MI     49880
ALLEN JR, MARK R        1460 W LAKE RD                                                                                     CLIO              MI     48420‐8800
ALLEN JR, RAYMOND       4328 BREEZEWOOD AVE                                                                                DAYTON            OH     45406‐1314
ALLEN JR, RAYMOND L     2605 SHIRLEY AVE                                                                                   JENNINGS          MO     63136‐2629
ALLEN JR, REGINALD      MASEK RAYMOND J                  183 W MARKET ST SUITE 300                                         WARREN            OH     44481
ALLEN JR, REGINALD      919 COLONIAL DRIVE                                                                                 YOUNGSTOWN        OH     44505‐2215
ALLEN JR, RICHARD       5377 NASSAR ST                                                                                     FLINT             MI     48505‐1064
ALLEN JR, RICHARD A     187 STARR RD                                                                                       NEWARK            DE     19711‐2001
ALLEN JR, ROBERT        37588 SCONE CT                                                                                     LIVONIA           MI     48154‐5299
ALLEN JR, ROY           PO BOX 243                                                                                         FAIRLAND          IN     46126‐0243
ALLEN JR, SIDNEY P      1408 LAWRENCE WAY                                                                                  ANDERSON          IN     46013‐5604
ALLEN JR, THEO          4932 CIRCLE CT APT 512                                                                             CRESTWOOD          IL    60445‐1573
ALLEN JR, THEO          4932 CIR CT                      UNIT 512                                                          CRESTWOOD          IL    60445‐1573
ALLEN JR, TOBE          PO BOX 154                                                                                         LINCOLNTON        GA     30817‐0154
ALLEN JR, WARDELL       APT 1707                         3445 STRATFORD ROAD NORTHEAST                                     ATLANTA           GA     30326‐1718
ALLEN JR, WILLIAM       808 CATAWBA ST                                                                                     MARTINS FERRY     OH     43935‐1244
ALLEN JR, WILLIAM M     212 HANNA RD                                                                                       PROSPECT          TN     38477‐6432
ALLEN JR, WILLIAM R     954 FERN RIDGE RD                                                                                  VIRGINIA BEACH    VA     23452‐4913
ALLEN JR, WILLIE        323 COPLAND                                                                                        ARLINGTON         TX     76011
ALLEN JR, WILLIE B      1308 E TAYLOR ST                                                                                   KOKOMO            IN     46901‐4908
ALLEN JR, WILLIE J.     323 COPLAND                                                                                        ARLINGTON         TX     76011
ALLEN JR, WILLIS        9393 PINEHURST ST                                                                                  DETROIT           MI     48204‐2657
ALLEN JR, ZELLIOUS      7506 SUDBROOK RD                                                                                   PIKESVILLE        MD     21208‐5848
ALLEN JUDAY             1508 JACOBS RD                                                                                     COLUMBIA          TN     38401‐1358
ALLEN JULIE A           8633 ERNST RD                                                                                      FORT WAYNE        IN     46809‐9749
ALLEN JUPREE            6618 MAPLEBROOK LN                                                                                 FLINT             MI     48507‐4185
ALLEN K DUFFY           29375 SOUTH LEO OAK RD                                                                             LIVINGSTON        LA     70754
ALLEN K FILIP           14535 WEST BRUNS                                                                                   MANHATTAN          IL    60442
ALLEN KACAR             4103 BELMONT PARK DR                                                                               MYRTLE BEACH      SC     29588‐7854
ALLEN KAFCHINSKI
ALLEN KAISER            6113 N STATE ROUTE 9                                                                               PARKVILLE        MO      64152‐3546
ALLEN KAMRAD            8509 SOUTHWIND BAY CIR                                                                             FORT MYERS       FL      33908‐6033
ALLEN KEELING           166 ENDICOTT DR                                                                                    HOWELL           MI      48843‐8602
ALLEN KEENEY            7034 CASTLE MANOR DR                                                                               INDIANAPOLIS     IN      46214‐3626
ALLEN KEHRES            4677 COTTONWOOD DR                                                                                 PERRINTON        MI      48871‐9704
ALLEN KELLY             210 HOLLYWOOD AVE                                                                                  MONROEVILLE      NJ      08343‐9040
ALLEN KEMPER            PO BOX 144                                                                                         BURBANK          OH      44214‐0144
ALLEN KEN               448 WYNDEMERE BLVD                                                                                 ROCKWALL         TX      75032‐2023
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Name                   Address1                       Address2                      Address3   Address4               City             State   Zip
ALLEN KENDZIORA        234 BARBADOS DR                                                                                CHEEKTOWAGA       NY     14227‐2528
ALLEN KENNEDY          27 BRENTWOOD                                                                                   PURVIS            MS     39475‐3679
ALLEN KENNEDY          9670 HILL ST                                                                                   REESE             MI     48757‐9441
ALLEN KENNEDY          PO BOX 101                                                                                     NORTH BRANCH      MI     48461‐0101
ALLEN KERL             3802 S FOOTVILLE RD                                                                            ORFORDVILLE       WI     53576‐9429
ALLEN KERNS            729 BALDWIN ST                                                                                 ELYRIA            OH     44035‐7215
ALLEN KIGHT            PO BOX 315                                                                                     QUEEN CITY        TX     75572‐0315
ALLEN KILLION          15805 STATE ROUTE 111                                                                          DEFIANCE          OH     43512‐9039
ALLEN KIMMEL           729 LAURELWOOD DR                                                                              LANSING           MI     48917‐7717
ALLEN KIMMEL           432 WASHINGTON ST                                                                              DIMONDALE         MI     48821‐8726
ALLEN KING             1011 HOOK RD                                                                                   WESTMINSTER       MD     21157‐7336
ALLEN KING JR          9251 GREENWOOD RD                                                                              GRASS LAKE        MI     49240‐9590
ALLEN KIRKLAND         37069 LEE ST                                                                                   HILLIARD          FL     32046‐7841
ALLEN KNIGHT           C/O WILLIAMS KHERKHER HART &   8441 GULF FREEWAY STE 600                                       HOUSTON           TX     77007
                       BOUNDAS LLP
ALLEN KNOTTS           1404 E 42ND ST                                                                                 ANDERSON         IN      46013‐2575
ALLEN KORTH            PO BOX 519                                                                                     NEWBERRY         MI      49868‐0519
ALLEN KOZLOWSKI        9858 NIVER AVE                                                                                 ALLEN PARK       MI      48101‐1349
ALLEN KRAUSE           198 MASON AVE                                                                                  ROCHESTER        NY      14626‐3355
ALLEN L ATKINSON       PO BOX 57                                                                                      AFTON            MI      49705‐0057
ALLEN L BERGHOEFER     130 CAIN ST                                                                                    NEW LEBANON      OH      45345
ALLEN L BLAKE JR       24654 BOWMAN RD                                                                                DEFIANCE         OH      43512‐8994
ALLEN L BOLE           3356 W 100 N                                                                                   HARTFORD CITY    IN      47348‐9540
ALLEN L BUTTS          12725 BEDDINGFIELD DR                                                                          CHARLOTTE        NC      28278‐0002
ALLEN L DOWNEY         510 WOODLAND DR                                                                                GATLINBURG       TN      37738
ALLEN L GILBERT        1906 MCPHAIL ST                                                                                FLINT            MI      48503‐4328
ALLEN L GLUNT          6912 WILSON ST                                                                                 WEST MIFFLIN     PA      15122‐2756
ALLEN L HOVER          5959 BURNETT EAST RD                                                                           KINSMAN          OH      44428‐‐ 97
ALLEN L HUNTER         877 ADDISON ST                                                                                 ADRIAN           MI      49221‐2408
ALLEN L KRAUSE         198 MASON AVENUE                                                                               ROCHESTER        NY      14626‐3355
ALLEN L LEACH          1605 CURLETT DR                                                                                BEAVERCREEK      OH      45432
ALLEN L MOORE          365 E STATE ROAD 42                                                                            MOORESVILLE      IN      46158‐6020
ALLEN L NEAL           120 WOODSIDE COURT                                                                             HOLLEY           NY      14470
ALLEN L NORTON         906 LAWNDALE AVE                                                                               TILTON           IL      61833‐7968
ALLEN L PAYNE          3008 HARVARD BLVD                                                                              DAYTON           OH      45406‐4005
ALLEN L PAYNE          3008 HARVARD BLVD                                                                              DAYTON           OH      45406‐4005
ALLEN L VOILES         1344 KING RICHARD PKWY                                                                         W CARROLLTON     OH      45449
ALLEN LAMB             5053 SOMERSET AVE                                                                              DETROIT          MI      48224‐3140
ALLEN LANDINO          39074 MARNE AVE                                                                                STERLING HTS     MI      48313‐5811
ALLEN LANE             1422 MITSON BLVD                                                                               FLINT            MI      48504‐4205
ALLEN LANGLEY          6840 KOLLING RD                                                                                IRON RIVER       WI      54847‐7705
ALLEN LARKINS JR       1035 CLINTON ST                                                                                SANDUSKY         OH      44870‐3013
ALLEN LARSON           3161 MADISON ST                                                                                WAUKESHA         WI      53188‐4409
ALLEN LAWRENCE         126 MILWAUKEE AVE                                                                              LAWSON           MO      64062‐9332
ALLEN LAWSON           1359 OX YOKE DR                                                                                FLINT            MI      48532‐2353
ALLEN LAYPORT          205 TEWKSBURY RD                                                                               FAIRLESS HILLS   PA      19030‐3205
ALLEN LEDERHOUSE       2854 DICKERSONVILLE RD                                                                         RANSOMVILLE      NY      14131‐9632
ALLEN LEEMAN           819 WOODROW AVE                                                                                INDIANAPOLIS     IN      46241‐2324
ALLEN LEFEVE           1437 CARRIGAN CT                                                                               MOUNT MORRIS     MI      48458‐1301
ALLEN LEHMEN           3269 PINEVIEW TRAIL                                                                            HOWELL           MI      48843‐6487
ALLEN LEININGER        1022 RD, #192                                                                                  ANTWERP          OH      45813
ALLEN LEN N (353791)   GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                     NORFOLK          VA      23510
                                                      STREET, SUITE 600
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Name                                Address1                         Address2                         Address3               Address4                 City             State Zip
ALLEN LEROY PIERCE                  ROBERT W PHILLIPS                SIMMONS BROWDER GIANARIS         707 BERKSHIRE BLVD     PO BOX 521               EAST ALTON         IL 62024
                                                                     ANGELIDES & BARNERD LLC
ALLEN LETT                          117 SW 13TH ST                                                                                                    BOYNTON BEACH    FL   33426‐4761
ALLEN LEWIS                         PO BOX 12061                                                                                                      BIRMINGHAM       AL   35202‐2061
ALLEN LEWIS                         50 W 72ND ST APT 1502                                                                                             NEW YORK         NY   10023‐4257
ALLEN LINDEMANN                     1201 DENNISON RD                                                                                                  DUNDEE           MI   48131‐9609
ALLEN LINN                          9141 BRISTOL RD                                                                                                   SWARTZ CREEK     MI   48473‐8619
ALLEN LISA                          2682 GENES DR                                                                                                     AUBURN HILLS     MI   48326
ALLEN LIVINGSTON                    230 STONEHILL RDG                                                                                                 VALMEYER         IL   62295‐3235
ALLEN LOCKARD                       42200 EDWARD CIR                                                                                                  COLUMBIANA       OH   44408‐9483
ALLEN LOCKLEAR JR                   885 MAPLEKNOLL AVE                                                                                                MADISON HTS      MI   48071‐2953
ALLEN LOESEL                        3938 TRESSLA RD                                                                                                   VASSAR           MI   48768‐9455
ALLEN LOGGIN                        3629 LUCIE ST                                                                                                     LANSING          MI   48911‐2800
ALLEN LOGISTICS                     ATTN MONICA SOUTHWARD            6245 INDUSTRIAL PKWY                                                             WHITEHOUSE       OH   43571‐9594
ALLEN LOGISTICS                     6245 INDUSTRIAL PKWY                                                                                              WHITEHOUSE       OH   43571‐9594
ALLEN LOGISTICS                     PATRICK SOUTHWARD                6245 INDUSTRIAL                                                                  WHITEHOUSE       OH   43571
ALLEN LONG                          6930 W 200 S                                                                                                      HUNTINGTON       IN   46750‐9038
ALLEN LOUIS                         332 W DAYTON ST                                                                                                   FLINT            MI   48505‐4109
ALLEN LOWERY                        5998 CROSS ANCHOR RD                                                                                              ENOREE           SC   29335‐2337
ALLEN LOWRIE                        10524 COLBY LAKE RD                                                                                               PERRY            MI   48872‐9796
ALLEN LUCAS                         2026 BRAMBLEWOOD DRIVE                                                                                            ATLANTA          GA   30329‐1705
ALLEN LUDINGTON                     210 N CANFIELD NILES RD                                                                                           YOUNGSTOWN       OH   44515‐1904
ALLEN LUEHM                         1021 8TH ST                                                                                                       HIGHLAND         IL   62249‐1601
ALLEN LUFT                          311 N MAIN ST                                                                                                     BANCROFT         MI   48414‐7712
ALLEN LUND COMPANY INC              PO BOX 51083                                                                                                      LOS ANGELES      CA   90051‐5383
ALLEN LUNDY                         1820 EASTONS TRAIL                                                                                                HIGHLAND         MI   48357‐3834
ALLEN LYNN                          10376 ROXBURY ST                                                                                                  DETROIT          MI   48224‐2412
ALLEN LYON                          5489 N SHORE DR                  BIG LAKE                                                                         SEARS            MI   49679‐8718
ALLEN M BOSER                       7610 VENICE DR.                                                                                                   WARREN           OH   44484‐1504
ALLEN M CHURCH                      1085 STATE ROUTE 14                                                                                               DEERFIELD        OH   44411‐8729
ALLEN M DAHRINGER                   328 PEFFER AVE.                                                                                                   NILES            OH   44446‐3313
ALLEN M FRANTZ                      1659 HOUSEL CRAFT RD                                                                                              BRISTOLVILLE     OH   44402‐9602
ALLEN M MOSKOWITZ                   C/O LYNNE KIZIS ESQ              WILENTZ GOLDMAN AND SPITZER      90 WOODBRIDGE CENTER                            WOODBRIDGE       NJ   07095
                                                                                                      DRIVE
ALLEN M SLAYTON JR                  14225 FORRER ST                                                                                                   DETROIT          MI   48227‐2144
ALLEN MACON                         1735 MIDLAND RD                                                                                                   SAGINAW          MI   48638‐4340
ALLEN MANN                          243 DECATUR ST                                                                                                    TOLEDO           OH   43609‐1831
ALLEN MARDEN                        4800 JOHNSFIELD RD                                                                                                STANDISH         MI   48658‐9459
ALLEN MARINE SVC                    ATTN: JOHN BORDNER               770 RIVERVIEW BLVD                                                               TONAWANDA        NY   14150‐7880
ALLEN MARITA                        ALLEN, DAHLIA                    24 TAYLOR STREET APT C107                                                        SPRINGFIELD      MA   01103
ALLEN MARITA                        ALLEN, MARITA                    24 TAYLOR STREET APT C107                                                        SPRINGFIELD      MA   01103
ALLEN MARK                          ALLEN, MARK                      117 WILMINGTON PIKE, SUITE 200                                                   GLEN MILLS       PA   19342
ALLEN MARKER                        BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                                                       BOSTON HEIGHTS   OH   44236
ALLEN MARONEY                       PO BOX 216                                                                                                        WALTON           IN   46994‐0216
ALLEN MARRY                         5380 S MERIDIAN RD                                                                                                HUDSON           MI   49247‐8237
ALLEN MARVIN A (472335)             HOWARD BRENNER & GARRIGAN‐NASS   1608 WALNUT ST , 17TH FLOOR                                                      PHILADELPHIA     PA   19103

ALLEN MARVIN RAY (664209)           WISE & JULIAN                    156 N MAIN ST STOP 1                                                             EDWARDSVILLE     IL   62025‐1972
ALLEN MARY                          310 CINCH ROAD                                                                                                    RENO             NV   89508‐6503
ALLEN MARZOLF                       4607 CHESTNUT RIDGE RD APT E                                                                                      AMHERST          NY   14228‐3330
ALLEN MATKINS LECK GAMBLE MALLORY & DAVID W. WENSLEY, ESQ.           1900 MAIN ST FL 5                                                                IRVINE           CA   92614‐7321
BATSIS LLP
ALLEN MATKINS LECK GAMBLE MALLORY & DAVID W. WENSLEY                 1900 MAIN ST FL 5                                                                IRVINE           CA   92614‐7321
NATSIS LLP
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Name                                Address1                               Address2                      Address3            Address4                 City               State Zip
ALLEN MATKINS LECK GAMBLE MALLORY & IVAN M GOLD                            THREE EMBARCADERO CENTER 12TH                                              SAN FRANCISCO       CA 94111‐4074
NATSIS LLP                                                                 FLOOR
ALLEN MATKINS LECK GAMBLE MALLORY & ATTY FOR LBA REALTY FUND III‐COMPANY   IVAN M. GOLD, ESQ.            THREE EMBARCADERO   12TH FLOOR               SAN FRANCISCO      CA   94111‐4074
NATSIS LLP                          IX, LLC AND PRU/SKS BRANNAN ASSOC                                    CENTER

ALLEN MAUREEN                        ALLEN, MAUREEN
ALLEN MAY                            5717 GLENN AVE                                                                                                   FLINT              MI   48505‐5122
ALLEN MAZANY                         5520 OAKDALE DR                                                                                                  OAK LAWN           IL   60453‐4615
ALLEN MC DANIEL                      305 E EDGEWOOD BLVD APT 2                                                                                        LANSING            MI   48911‐5811
ALLEN MC DOWELL                      6151 MCCUE RD                                                                                                    HOLT               MI   48842‐9658
ALLEN MC FARLAND                     270 N DIAMONDBACK WAY                                                                                            MARICOPA           AZ   85239‐7058
ALLEN MC KINNEY                      520 FURNACE ST                                                                                                   ELYRIA             OH   44035‐3530
ALLEN MC LAUGHLIN                    533 KANSAS AVE                                                                                                   YPSILANTI          MI   48198‐8005
ALLEN MC NEELEY                      PO BOX 704                                                                                                       STERLING HEIGHTS   MI   48311‐0704
ALLEN MC VETY                        3737 HI VILLA DR                                                                                                 ORION              MI   48360‐2460
ALLEN MCBETH                         4908 VIRGIL ST                                                                                                   FORT WORTH         TX   76119‐2162
ALLEN MCCANN                         PO BOX 1431                                                                                                      JANESVILLE         WI   53547‐1431
ALLEN MCCOOL                         184 CEDAR AVE                                                                                                    BRODHEAD           WI   53520‐1041
ALLEN MCCORD                         508 FALL CREEK DR                                                                                                ANDERSON           IN   46013‐3717
ALLEN MCCRAW                         7673 BROOKVILLE PHILLIPSBG RD                                                                                    BROOKVILLE         OH   45309‐9648
ALLEN MCCULLOUGH                     1718 PLUNKETTS RD                                                                                                BUFORD             GA   30519‐5072
ALLEN MCGUIRE                        13618 EDGEWOOD AVE                                                                                               CLEVELAND          OH   44105‐4647
ALLEN MCKINNEY                       2022 SHORE DR                                                                                                    BELOIT             WI   53511‐2044
ALLEN MCMASTER                       13882 RIVERWOOD DR                                                                                               STERLING HTS       MI   48312‐5665
ALLEN MENOSKY                        5510 NEWBERRY RD                                                                                                 DURAND             MI   48429‐9172
ALLEN MESSNER                        410 W BUSH ST                                                                                                    SAGINAW            MI   48604‐1502
ALLEN MEYER                          18921 HANTHORNE DR                                                                                               INDEPENDENCE       MO   64057‐1674
ALLEN MICHAELS                       10640 JUDD RD                                                                                                    WILLIS             MI   48191‐9745
ALLEN MIKE                           6488 FOX HILLS RD                                                                                                CANTON             MI   48187‐2459
ALLEN MILES                          430 HOLLY CT                                                                                                     MIDDLETOWN         DE   19709‐8600
ALLEN MILLER                         2251 S FORT APACHE RD APT 1072                                                                                   LAS VEGAS          NV   89117‐5754
ALLEN MILLER                         13816 CARFAX AVE                                                                                                 BELLFLOWER         CA   90706‐2713
ALLEN MILLER                         4219 MIRADOR DR                                                                                                  PLEASANTON         CA   94566‐7429
ALLEN MILLER                         12200 DODGE RD                                                                                                   OTISVILLE          MI   48463‐9774
ALLEN MILLER                         21760 SUNFLOWER RD                                                                                               NOVI               MI   48375‐5350
ALLEN MILLIE                         2205 BURNING TREE                                                                                                NORMAN             OK   73071
ALLEN MILLS                          143 GREY GHOST LN                                                                                                MOUNT AIRY         NC   27030‐5922
ALLEN MINCE                          N10458 STATE HIGHWAY M64                                                                                         MARENISCO          MI   49947‐9726
ALLEN MINNICH                        BEVAN & ASSOCIATES LPA INC            6555 DEAN MEMORIAL PARKWAY                                                 BOSTON HTS         OH   44236
ALLEN MOBLEY                         2550 NE JELLISON RD                                                                                              BLUE SPRINGS       MO   64014‐0974
ALLEN MOFF                           7400 VIRGINIA RD                                                                                                 ATWATER            OH   44201‐9589
ALLEN MOFF
ALLEN MONDAINE                       2516 N 62ND ST                                                                                                   KANSAS CITY        KS   66104‐2713
ALLEN MONNETT                        7938 ELM DR                                                                                                      BROWNSBURG         IN   46112‐8580
ALLEN MONTELAURO                     3116 E BAYVIEW LN                                                                                                SANDUSKY           OH   44870‐5907
ALLEN MOORE                          1023 MONCRIEF AVE                                                                                                COLUMBUS           OH   43207‐5076
ALLEN MOORE                          365 E STATE ROAD 42                                                                                              MOORESVILLE        IN   46158‐6020
ALLEN MOORE                          4877 MAGGIES WAY                                                                                                 CLARKSTON          MI   48346‐1975
ALLEN MORAN                          101 BELT AVE                                                                                                     EDGERTON           MO   64444‐9196
ALLEN MORGAN                         9331 FIRESIDE DR                                                                                                 SHREVEPORT         LA   71118‐3207
ALLEN MORIN                          5019 CENTRAL AVE                                                                                                 ANDERSON           IN   46013‐4840
ALLEN MORRIS                         2022 W MONROE ST                                                                                                 SANDUSKY           OH   44870‐2025
ALLEN MORSE                          209 BARNWOOD TRL                                                                                                 MCHENRY            IL   60050‐5408
ALLEN MOULTON                        8520 S 175 E                                                                                                     FAIRMOUNT          IN   46928‐9704
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Name                              Address1                              Address2                      Address3   Address4               City              State   Zip
ALLEN MOURER                      4801 AUBRY HILLS DR NORTHEAST                                                                         RIO RANCHO         NM     87144‐8657
ALLEN MULDER                      611 N WASHINGTON ST                                                                                   LOWELL             MI     49331‐1153
ALLEN MURRAY                      1322 CLANCY AVE                                                                                       FLINT              MI     48503‐3343
ALLEN MUSE                        4412 MEADOW KNOLL LN                                                                                  MANSFIELD          TX     76063‐3506
ALLEN MYHER                       713 WHEELER AVE                                                                                       SOUTH BELOIT        IL    61080‐2019
ALLEN N TRICE                     1444 32ND ST SE                                                                                       GRAND RAPIDS       MI     49508
ALLEN NEWELL                      1317 WILL WRIGHT RD                                                                                   MERIDIAN           MS     39301‐8988
ALLEN NEWSOME                     1734 LITTLE ROBINSON CK RD                                                                            VIRGIE             KY     41572
ALLEN NICHOLAS                    ALLEN, NICHOLAS                       100 CENTURY PKWY STE 305                                        MOUNT LAUREL       NJ     08054‐1182
ALLEN NICKLOW                     16624 MOUNTAIN TRACK RD                                                                               ORANGE             VA     22960‐2704
ALLEN NICOLE CORCORAN             478 SABATTUS                                                                                          ST LEWISTON        ME     04240
ALLEN NIESE                       13487 ROAD C                                                                                          LEIPSIC            OH     45856‐9449
ALLEN NITZSCHKE                   1353 CLAIRWOOD DR                                                                                     BURTON             MI     48509‐1507
ALLEN NOLFF                       7404 PONDEROSA DR                                                                                     SWARTZ CREEK       MI     48473‐9414
ALLEN NORLING                     1582 TANGLEWOOD CIR                                                                                   SEBRING            FL     33872‐9214
ALLEN NORTHEY                     114 ELM ST                                                                                            CAMBRIDGE          WI     53523‐8907
ALLEN NORTON                      1121 3RD ST                                                                                           COVINGTON          IN     47932‐1015
ALLEN NOYCE                       1144 HOLLYWOOD DRIVE                                                                                  SAINT HELEN        MI     48656‐9532
ALLEN O'NEIL                      1854 WINDWOOD APT 102                                                                                 ROCHESTER HILLS    MI     48307‐5678
ALLEN OBERLE                      14061 REED RD                                                                                         SWANTON            OH     43558‐9109
ALLEN ODDO                        68 GRANT ST                                                                                           TONAWANDA          NY     14150‐2414
ALLEN ODEFA                       9014 RUTH AVE                                                                                         ALLEN PARK         MI     48101‐3904
ALLEN OLDSMOBILE CADILLAC INC
ALLEN OLDSMOBILE‐CADILLAC, INC.   MITCHELL ALLEN                         28332 CAMINO CAPISTRANO                                        LAGUNA NIGUEL     CA      92677‐1139
ALLEN OLDSMOBILE‐CADILLAC, INC.   28332 CAMINO CAPISTRANO                                                                               LAGUNA NIGUEL     CA      92677‐1139
ALLEN OLIVER                      1470 HILLSDALE DR                                                                                     DAVISON           MI      48423‐2326
ALLEN OLIVER                      9921 FRAZIER DR                                                                                       HILLSBORO         MO      63050‐3552
ALLEN OLLENBURGER                 408 W WILLARD AVE                                                                                     LANSING           MI      48910‐2849
ALLEN OR BONITA DELLINGER         C/O ALLEN DELLINGER                    7440 TWIN OAKS DRIVE                                           KNIGHTSTOWN       IN      46148
ALLEN ORRE                        PO BOX 56                                                                                             PHILLIPSBURG      OH      45354‐0056
ALLEN OSTRANDER                   1525 POSSUM TRACK RD                                                                                  ALGER             MI      48610‐9331
ALLEN OWCZARZAK                   6067 3 MILE RD                                                                                        BAY CITY          MI      48706‐9043
ALLEN OWEN                        8708 WEST PLEASENT HABOUR BLV                                                                         PEORIA            AZ      85383
ALLEN P ALEXANDER                 58 BOND ST                                                                                            DAYTON            OH      45405‐4201
ALLEN PAPENDICK                   2640 KNOB CREEK RD                                                                                    COLUMBIA          TN      38401‐1428
ALLEN PAPKE                       950 SHAWMUT CT NW                                                                                     GRAND RAPIDS      MI      49504‐3773
ALLEN PARISH                      8249 N CORNWELL AVE                                                                                   HARRISON          MI      48625‐8854
ALLEN PARISH SCHOOL BOARD         PO BOX 190                             SALES/USE TAX DEPARTMENT                                       OBERLIN           LA      70655‐0190
ALLEN PARISH SCHOOL BOARD         ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 190                                                     OBERLIN           LA      70655‐0190

ALLEN PARISH SCHOOL BOARD         PO BOX 190                                                                                            OBERLIN           LA      70655‐0190
ALLEN PARISH TAX COLLECTOR        PO BOX 278                                                                                            OBERLIN           LA      70655‐0278
ALLEN PARKER                      128 W HOME AVE                                                                                        FLINT             MI      48505‐2632
ALLEN PARKER                      308 SOUTH ST                                                                                          HURON             OH      44839‐1629
ALLEN PARKER JR                   3175 FINNEY CT                                                                                        FLINT             MI      48504‐1760
ALLEN PARRISH                     3460 RALSTON AVE                                                                                      INDIANAPOLIS      IN      46218‐1053
ALLEN PATRICE                     ALLEN, PATRICE / RAYMOND MASER ATTY   183 W MARKET ST SUITE 300                                       WARREN            OH      44481

ALLEN PATTERSON                   5301 LITTLE JAMES LN APT 1601                                                                         FORT WORTH         TX     76119‐8838
ALLEN PATTERSON                   115 ACRES RD N                                                                                        GREENWOOD          SC     29649‐9502
ALLEN PAUL                        ALLEN, PAUL                           4909 WALKER ROAD                                                CLYDE TOWNSHIP     MI     48049
ALLEN PAUL (626417)               GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                     NORFOLK            VA     23510
                                                                        STREET, SUITE 600
ALLEN PAYNE                       9100 INDEPENDENCE PKWY                APT1305                                                         PLANO              TX     75025
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Name                       Address1                           Address2                      Address3   Address4               City            State   Zip
ALLEN PAYNE                9100 INDEPENDENCE PKWY APT 1305                                                                    PLANO            TX     75025‐5841
ALLEN PAYNE                6140 N HULL DR                                                                                     KANSAS CITY      MO     64151‐2464
ALLEN PAYNE                3008 HARVARD BLVD                                                                                  DAYTON           OH     45406‐4005
ALLEN PEAKE JR             24727 DONALD                                                                                       REDFORD          MI     48239‐3327
ALLEN PECHENIK             41880 RAYBURN DR                                                                                   NORTHVILLE       MI     48168‐2085
ALLEN PELLETIER            12921 CLUB DR                                                                                      BAYONET POINT    FL     34667‐2117
ALLEN PERKINS              3722 HOGARTH AVE                                                                                   FLINT            MI     48532‐5283
ALLEN PERKINS              5330 N WILLIAMSTON RD                                                                              WILLIAMSTON      MI     48895‐9196
ALLEN PETERSON             6566 COUNTY ROAD TT                                                                                MARSHALL         WI     53559‐8611
ALLEN PHILLIPS             5519 SIBBIE RD                                                                                     ABBEVILLE        GA     31001‐7107
ALLEN PIETRASZ             3787 MAGNOLIA DR                                                                                   BRUNSWICK        OH     44212‐1568
ALLEN PIVITT               6060 EDMAR DR                                                                                      TRAVERSE CITY    MI     49686‐1971
ALLEN PLINE                10265 BUTLER RD                                                                                    PORTLAND         MI     48875‐9426
ALLEN PLOCINIK             1233 DUNDEE DR                                                                                     CANTON           MI     48188‐1288
ALLEN PLUM                 3050 VAN BUREN ST                                                                                  KALAMAZOO        MI     49004‐1586
ALLEN POCKEL               4245 JANES RD                                                                                      SAGINAW          MI     48601‐9625
ALLEN POINESETT            702 HUGHES RD                                                                                      JOHNS ISLAND     SC     29455‐7920
ALLEN POLLARD              28467 ALDEN ST                                                                                     MADISON HTS      MI     48071‐3025
ALLEN POOL                 11376 GRAND BLANC RD                                                                               GAINES           MI     48436‐9744
ALLEN POPOWICH             2469 RIDGE RD                                                                                      VIENNA           OH     44473‐9706
ALLEN PORTER               4818 N HENDRICKS ST                                                                                TERRE HAUTE      IN     47805‐1723
ALLEN POWELL               545 S UNION ST                                                                                     SPARTA           MI     49345‐1505
ALLEN PRATT                PO BOX 171                         17217 FORTH ST.                                                 ARCADIA          MI     49613‐0171
ALLEN PREMO                4036 KENDRICK ST                                                                                   SAGINAW          MI     48638‐6627
ALLEN PRIEST               6693 RADEWAHN RD                                                                                   SAGINAW          MI     48604‐9211
ALLEN PRINCE               1908 W DAYTON ST                                                                                   FLINT            MI     48504‐2715
ALLEN PRUETT               4296 E MAPLE AVE                                                                                   GRAND BLANC      MI     48439‐7901
ALLEN PRUITT               8800 TWP RD 34 B82                                                                                 IBERIA           OH     43325
ALLEN PUEBLO               8709 CORY DR                                                                                       DELTON           MI     49046‐8759
ALLEN PURCELL              760 BIG UGLY RD E                                                                                  HARTS            WV     25524‐9458
ALLEN PURNELL              649 PRIMROSE LN                                                                                    TIPP CITY        OH     45371‐2753
ALLEN R CLARK              2806 HOOVER AVE.                                                                                   DAYTON           OH     45407‐1537
ALLEN R MARDEN             4800 JOHNSFIELD RD                                                                                 STANDISH         MI     48658‐9459
ALLEN R MORSE              209 BARNWOOD TRL                                                                                   MCHENRY           IL    60050‐5408
ALLEN R ROBINSON           PO BOX 846                                                                                         HARTSELLE        AL     35640‐0846
ALLEN R SHAHAN             6272 ROOSEVELT                                                                                     BELLEVILLE       MI     48111‐2333
ALLEN R STEWART            6 ELM ST.                                                                                          GERMANTOWN       OH     45327‐1205
ALLEN R TACEY JR           49 WILLOW CT                                                                                       OAKLAND          MI     48363‐1359
ALLEN R WOOD               974 DEWEY ST                                                                                       PONTIAC          MI     48340‐2634
ALLEN RAPPUHN              160 N ROSLYN RD                                                                                    WATERFORD        MI     48328‐3060
ALLEN RAUSCH               PO BOX 1042                                                                                        LANDER           WY     82520‐1042
ALLEN RAY RAMBO            3005 KINGFISH DR                                                                                   SHREVEPORT       LA     71119‐3417
ALLEN RAYL JR              4356 S SHORE ST                                                                                    WATERFORD        MI     48328‐1159
ALLEN RAYMOND E (340170)   GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                     NORFOLK          VA     23510
                                                              STREET, SUITE 600
ALLEN REA                  1401 BARBARA DR                                                                                    FLINT           MI      48505‐2534
ALLEN REDUS                PO BOX 2110                                                                                        BANDERA         TX      78003‐2110
ALLEN REGINALD JR          919 COLONIAL DR                                                                                    YOUNGSTOWN      OH      44505‐2215
ALLEN REGINALD JR          ALLEN JR, REGINALD/RAYMOND MASER   183 W MARKET ST SUITE 300                                       WARREN          OH      44481
                           ATTY
ALLEN REVORD               1968 KLOHA RD                                                                                      BAY CITY        MI      48706‐9327
ALLEN REYNOLDS             302 HICKORY DR                                                                                     BETHALTO        IL      62010‐1067
ALLEN RHEA                 3054 TWP RD 180 R2                                                                                 FREDERICKTOWN   OH      43019
ALLEN RHOME                7405 OLD MILL RUN ST                                                                               FORT WORTH      TX      76133‐7047
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Name                                  Address1                          Address2                          Address3                 Address4               City              State   Zip
ALLEN RICE                            1240 ALEXANDER AVE                                                                                                  CATONSVILLE        MD     21228‐2802
ALLEN RICE                            126 JORDAN RD                                                                                                       FRANKLIN           TN     37067‐4455
ALLEN RICHARD (423819)                ANAPOL SCHWARTZ WEISS AND COHAN   1900 DELANCEY PL                                                                  PHILADELPHIA       PA     19103‐6612
                                      P.C.
ALLEN RIEGEL                          207 ELLIS DR                                                                                                        GREENFIELD        IN      46140‐1324
ALLEN ROARY                           5757 66TH ST N LOT 135                                                                                              ST PETERSBURG     FL      33709‐1560
ALLEN ROBERSON                        6500 LIBERTY BELL DR                                                                                                BROOK PARK        OH      44142‐3539
ALLEN ROBERT                          4805 SCHNEIDER DR                                                                                                   FITCHBURG         WI      53575‐2231
ALLEN ROBERT (ESTATE OF) (504892)     WILLIAM GUY                       PO BOX 506                                                                        MCCOMB            MS      39649‐0506
ALLEN ROBERT B (475136)               ANGELOS PETER G                   100 N CHARLES STREET , ONE                                                        BALTIMORE         MD      21201
                                                                        CHARLES CENTER
ALLEN ROBERTS                         2301 S WASHBURN RD                                                                                                  DAVISON           MI      48423‐8014
ALLEN ROBERTS                         68 MAPLETON RD                                                                                                      GROSSE POINTE     MI      48236‐3615
ALLEN ROBERTSON                       12861 AIR HILL RD                                                                                                   BROOKVILLE        OH      45309‐9304
ALLEN ROBERTSON                       325 REBECCA DR                                                                                                      WEST ALEXANDRIA   OH      45381‐8401

ALLEN ROBIN                           ALLEN, ROBIN                      30928 FORD RD                                                                     GARDEN CITY        MI     48135‐1803
ALLEN ROBINSON                        18300 SOUTH DR APT 82                                                                                               SOUTHFIELD         MI     48076‐1119
ALLEN ROBINSON                        PO BOX 846                                                                                                          HARTSELLE          AL     35640‐0846
ALLEN ROBINSON                        15931 BROWN SCHOOLHOUSE RD                                                                                          HOLLEY             NY     14470‐9711
ALLEN ROEHL                           4456 E HILLCREST DR                                                                                                 MILTON             WI     53563‐9408
ALLEN ROENNEBURG                      1717 LOPSHIRE DR                                                                                                    NEW HAVEN          IN     46774‐2235
ALLEN ROGER (517394)                  EARLY LUDWICK & SWEENEY L.L.C.    ONE CENTURY TOWER, 11TH FLOOR ,                                                   NEW HAVEN          CT     06510
                                                                        265 CHURCH STREET
ALLEN ROGERS                          549 GARY RAY DR                                                                                                     DAVISON           MI      48423‐1057
ALLEN ROPER                           PO BOX 404                                                                                                          PALOS HEIGHTS     IL      60463‐0404
ALLEN ROSA                            33046 BOCK ST                                                                                                       GARDEN CITY       MI      48135‐1131
ALLEN ROSE                            9763 W CALLA RD                                                                                                     SALEM             OH      44460‐9631
ALLEN ROSE                            8045 SLOAN ST                                                                                                       TAYLOR            MI      48180‐2471
ALLEN ROXY                            415 LANCELOT PL                                                                                                     LANSING           MI      48906‐1642
ALLEN RUHE                            1254 E MAIN ST                                                                                                      OTTAWA            OH      45875‐2037
ALLEN RUSSELL                         1901 CALADIUM DR                                                                                                    MARIETTA          GA      30062‐1916
ALLEN RUTHRUFF                        215 N CANAL RD LOT 225                                                                                              LANSING           MI      48917‐8677
ALLEN S HILDEBRAND                    744 CHEYENNE PL                                                                                                     TIPP CITY         OH      45371
ALLEN S LAFLEUR                       ANDREW MCENANEY                   HISSEY KIENTZ & HERRON PLLC       9442 CAPITAL OF TX HWY                          AUSTIN            TX      78759
                                                                                                          NORTH STE 420
ALLEN SABOURIN                        3916 THENDARA CT                                                                                                    GLADWIN            MI     48624‐7111
ALLEN SAMUELS AUTOPLEX                PO BOX 310                                                                                                          ENNIS              TX     75120‐0310
ALLEN SAMUELS BAY CHEV‐GEO                                                                                                                                CORPUS CHRISTI     TX     78416‐1100
ALLEN SAMUELS BAY CHEV‐GEO            2118 S PADRE ISLAND DR                                                                                              CORPUS CHRISTI     TX     78416‐1100
ALLEN SAMUELS BAY CHEVROLET‐GEO       2118 S PADRE ISLAND DR                                                                                              CORPUS CHRISTI     TX     78416‐1100
ALLEN SAMUELS CHEVROLET               1625 N VALLEY MILLS DR                                                                                              WACO               TX     76710‐2552
ALLEN SAMUELS CHEVROLET ‐ GEO, INC.   MIKE LOWRY                        1625 N VALLEY MILLS DR                                                            WACO               TX     76710‐2552

ALLEN SAMUELS CHEVROLET, INC.       MIKE LOWRY                          7000 SOUTHWEST FWY                                                                HOUSTON            TX     77074‐2008
ALLEN SAMUELS CHEVROLET, INC.       PO BOX 36889                                                                                                          HOUSTON            TX     77236‐6889
ALLEN SAMUELS CHEVROLET‐OLDSMOBILE‐ MIKE LOWRY                          305 S INTERSTATE HIGHWAY 45                                                       ENNIS              TX     75119‐5114
PONTIAC, INC.
ALLEN SANDERS                       7548 N LINDEN LN                                                                                                      PARMA             OH      44130‐5807
ALLEN SANDERS                       808 CLARK ST                                                                                                          KOKOMO            IN      46901‐6604
ALLEN SANDERSON
ALLEN SANDOR                        2824 S 33RD ST                                                                                                        MILWAUKEE         WI      53215
ALLEN SAUNDERS                      7413 DAYTON LIBERTY RD                                                                                                DAYTON            OH      45418‐1148
ALLEN SAYLOR                        4168 BRUCE DR                                                                                                         FAIRFIELD         OH      45014‐5902
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Name                            Address1                        Address2                      Address3   Address4               City            State   Zip
ALLEN SCHARRER                  13707 TISDEL AVE                                                                                CEDAR SPRINGS    MI     49319‐9795
ALLEN SCHMIDT                   7 RAVENSHOE RD                                                                                  ROGERS           AR     72756‐8276
ALLEN SCHOOL OF LANGUAGES       6 SOUTH FULLERTON AVE                                                                           MONTCLAIR        NJ     07042
ALLEN SCHOOLER JR               1416 RUSKIN ROAD                                                                                DAYTON           OH     45406‐4651
ALLEN SCHRINER                  6 SPANISH TRL                                                                                   SAINT PETERS     MO     63376‐5903
ALLEN SCHULTZ                   4577 SUNSET DR                                                                                  POTTERVILLE      MI     48876‐8613
ALLEN SCHULTZ                   4289 BURCH RD                                                                                   RANSOMVILLE      NY     14131‐9702
ALLEN SCOTT                     7174 NEFF RD                                                                                    MOUNT MORRIS     MI     48458‐1839
ALLEN SCOTT                     1557 STATE RD NW                                                                                WARREN           OH     44481‐9132
ALLEN SCOTT                     2150 N BILBREY LN                                                                               ANDERSON         IN     46011‐8756
ALLEN SCOTT                     80 GROUNDHOG RDG                                                                                HELTONVILLE      IN     47436‐8506
ALLEN SCOTT                     PO BOX 556                                                                                      LEBANON          OH     45036‐0556
ALLEN SEALES                    520 STOCKDALE ST                                                                                FLINT            MI     48503‐5120
ALLEN SEIBEL                    9331 TIMBER RIDGE CT                                                                            FORT WAYNE       IN     46804‐7730
ALLEN SERVICE                   22457 HALL RD                                                                                   MACOMB           MI     48042‐5220
ALLEN SETTLES                   6540 LONGBOAT KEY CIR                                                                           NOBLESVILLE      IN     46062‐7395
ALLEN SHAFER                    20825 WILDCAT LN                                                                                SPRING HILL      KS     66083‐8509
ALLEN SHAHAN                    6272 ROOSEVELT                                                                                  BELLEVILLE       MI     48111‐2333
ALLEN SHAN
ALLEN SHANER                    PO BOX 286                                                                                      WEIDMAN          MI     48893‐0286
ALLEN SHANNON                   2957 S 380 E                                                                                    ANDERSON         IN     46017‐9720
ALLEN SHELBY J (356280)         GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                     NORFOLK          VA     23510
                                                                STREET, SUITE 600
ALLEN SHERMAN                   60 W CEDRO DR                                                                                   GREEN VALLEY     AZ     85614‐4204
ALLEN SHOAF                     5619 S 1100 W                                                                                   WILLIAMSPORT     IN     47993‐8243
ALLEN SHORES PARTNERS LP        C\O ORCHARD PROPERTIES          2290 N 1ST ST STE 300                                           SAN JOSE         CA     95131‐2017
ALLEN SHORES PARTNERS, LP       ANTHONY R. GIANNONI             2300 RIVER PLAZA DR                                             SACRAMENTO       CA     95833‐3293
ALLEN SHORES PARTNERS, LP C/O   2290 N 1ST ST STE 300                                                                           SAN JOSE         CA     95131‐2017
ORCHARD PROPERTIES
ALLEN SHRUM                     631 GLENWOOD AVE                                                                                OWOSSO          MI      48867‐4615
ALLEN SHUSTER                   1717 WESTHAMPTON DR                                                                             AUSTINTOWN      OH      44515‐3800
ALLEN SIMPSON                   WEITZ & LUXENBERG PC            700 BROADWAY                                                    NEW YORK CITY   NY      10003
ALLEN SINGLETARY                5753 VAN DYKE RD                                                                                BALTIMORE       MD      21206‐2953
ALLEN SKINNER                   37744 CAPE COD DR               WOODDALE PARK                                                   ZEPHYRHILLS     FL      33542‐2566
ALLEN SLAIGHT                   2471 GREENS MILL RD                                                                             COLUMBIA        TN      38401‐1707
ALLEN SLATER                    5242 E WARSON RD                                                                                LAKE CITY       MI      49651‐9647
ALLEN SLAYTON JR                23733 PHILIP DR                                                                                 SOUTHFIELD      MI      48075‐3348
ALLEN SMITH                     1412 W 9TH ST                                                                                   MUNCIE          IN      47302‐2167
ALLEN SMITH                     8411 S CALUMET AVE                                                                              CHICAGO         IL      60619‐6031
ALLEN SMITH                     2072 11TH ST                                                                                    WYANDOTTE       MI      48192‐3810
ALLEN SMITH                     1500 ROSEWOOD DR APT G35                                                                        COLUMBIA        TN      38401‐4892
ALLEN SMITH                     2540 CARLETON ROCKWOOD RD                                                                       CARLETON        MI      48117‐9208
ALLEN SMITH                     3540 KNIGHT RD                                                                                  SAGINAW         MI      48601‐9649
ALLEN SMITH                     12266 ADAMS ST                  BLDG 8                                                          MOUNT MORRIS    MI      48458
ALLEN SMITH                     1 BIRWOODE DR                                                                                   PONTIAC         MI      48340‐2245
ALLEN SMITH                     2265 NERREDIA ST                                                                                FLINT           MI      48532‐4824
ALLEN SMITH                     3036 SLOAN HTS                                                                                  FLINT           MI      48507‐4541
ALLEN SMITH                     6861 E JK AVE                                                                                   KALAMAZOO       MI      49048‐5847
ALLEN SNEAD                     6572 E HORTON RD                                                                                BLISSFIELD      MI      49228‐9653
ALLEN SNELL                     5605 CHESAPEAKE WAY                                                                             FAIRFIELD       OH      45014‐3807
ALLEN SNIPES ASSOCIATES         5205 HOLLYWOOD BLVD STE 215                                                                     LOS ANGELES     CA      90027‐4914
ALLEN SNOW                      2644 MOHICAN AVE                                                                                KETTERING       OH      45429‐3735
ALLEN SOVA                      61190 ROMEO PLANK RD                                                                            RAY             MI      48096‐2923
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Name                             Address1                        Address2                     Address3        Address4                City             State Zip
ALLEN SPECTOR                    CHARLOTTE SPECTOR               666 W GERMANTOWN PIKE        APT 801‐SOUTH                           PLYMOUTH          PA 19462
                                                                                                                                      MEETING
ALLEN SPENCE                     258 COUNTRYWOOD PL                                                                                   BOWLING GREEN     KY 42101‐9640
ALLEN SPINHIRNE                  324 S JOHN PAUL RD                                                                                   MILTON            WI 53563‐1225
ALLEN SPITZLEY                   209 S HUBBARDSTON RD                                                                                 PEWAMO            MI 48873‐9731
ALLEN SPRADLIN                   8321 MURFREESBORO RD                                                                                 LEBANON           TN 37090‐1309
ALLEN SR, HERMAN R               1335 KUMLER AVE                                                                                      DAYTON            OH 45406‐5930
ALLEN SR., MARK E                6721 LIVE OAK RD                                                                                     INDIANAPOLIS      IN 46214‐1943
ALLEN SR., RICHARD A.            1295 OZEE FARM RD                                                                                    BEDFORD           IN 47421‐8090
ALLEN STANTON                    143 N ROYS AVE                                                                                       COLUMBUS          OH 43204‐2634
ALLEN STAPLES JR                 7290 103RD ST                                                                                        FLUSHING          MI 48433‐8714
ALLEN STASKUS                    7765 GOULD RD                                                                                        NASHVILLE         MI 49073‐9513
ALLEN STATLER                    5464 HIGHLAND AVE SW                                                                                 WARREN            OH 44481‐9638
ALLEN STEGALL                    50 RIVER HILL ROAD              LOT 2 # LOT                                                          FULTON            MS 38843
ALLEN STEPHENS                   PO BOX 197                                                                                           MAPLE RAPIDS      MI 48853‐0197
ALLEN STEPNER                    100‐706 DALY BLVD                                                                                    OCEANSIDE         NY 11572
ALLEN STEVEN                     4717 ADAMS RD                                                                                        ATLANTA           GA 30338‐5222
ALLEN STEVENSON                  6035 WALROND AVE                                                                                     KANSAS CITY       MO 64130‐3966
ALLEN STEWART                    18101 SUMPTER RD                                                                                     BELLEVILLE        MI 48111‐8721
ALLEN STEWART                    6 ELM ST                                                                                             GERMANTOWN        OH 45327‐1205
ALLEN STEWART                    116 GROVE RUN RD                                                                                     COMMERCIAL POINT OH 43116‐9702

ALLEN STILES                     113 OGDEN PARMA TOWN LINE RD                                                                         SPENCERPORT      NY   14559‐1623
ALLEN STORAGE & MOVING CO INC    1221 JAMES P COLE BLVD                                                                               FLINT            MI   48503‐1723
ALLEN STOUT                      2171 NANDI HILLS TRL                                                                                 SWARTZ CREEK     MI   48473‐7903
ALLEN STRIKE                     #99 FUCHENG ROAD, PUDONG        23F AURORA PLAZA , GENERAL                   SHANGHAI CHINA 200121
ALLEN STRIPPGEN                  3520 BOULDER CT                                                                                      SAINT PETERS     MO   63303‐1619
ALLEN STRUDWICK                  1331 BOICHOT RD                                                                                      LANSING          MI   48906‐5916
ALLEN STUART                     PO BOX 1795                                                                                          DUNEDIN          FL   34697‐1795
ALLEN STUTHARD                   410 HAWTHORNE AVE                                                                                    LONDON           OH   43140‐1155
ALLEN SUGDEN                     5841 FULTON ST                                                                                       MAYVILLE         MI   48744‐9701
ALLEN SUGGS                      9 DARBY CT                                                                                           EWING            NJ   08628‐3206
ALLEN SUPERIOR COURT             ACCT OF CARLOS CORONA           715 S CALHOUN ST RM 101                                              FORT WAYNE       IN   46802‐1805
ALLEN SUPERIOR COURT             ACCT OF WILLIAM L DUKE          715 S CALHOUN ST RM 101                                              FORT WAYNE       IN   46802‐1805
ALLEN SUPERIOR COURT CLERK       715 S CALHOUN ST RM 201                                                                              FORT WAYNE       IN   46802‐1805
ALLEN SUPERIOR SMALL CLAIMS CT   ACCT OF WILLIAM DUKE            715 S CALHOUN ST RM 101                                              FORT WAYNE       IN   46802‐1805
ALLEN SUPPLY CO                  2800 UNIVERSAL DR                                                                                    SAGINAW          MI   48603‐2411
ALLEN SWANK
ALLEN SWINFORD JR                1531 N GIRLS SCHOOL RD                                                                               INDIANAPOLIS     IN   46214‐3309
ALLEN SZOSTEK                    135 LAWSON RD                                                                                        HOHENWALD        TN   38462‐5564
ALLEN T CHANNELL                 176 BLUCHER CT                                                                                       VANDALIA         OH   45377‐2901
ALLEN T GARRETT                  4059 MAYVIEW DR                                                                                      DAYTON           OH   45416‐1632
ALLEN T MIOTKE                   26180 CLARKSTON DR UNIT 23306                                                                        BONITA SPRINGS   FL   34135‐3352
ALLEN T SMITH                    WEITZ & LUXENBERG P C           700 BROADWAY                                                         NEW YORK CITY    NY   10003
ALLEN TACEY JR                   49 WILLOW CT                                                                                         OAKLAND          MI   48363‐1359
ALLEN TAMAR                      2216 RED MAPLE LN                                                                                    AURORA           IL   60502‐7426
ALLEN TAVALIERI                  4180 UNIVERSITY PL                                                                                   DETROIT          MI   48224‐1468
ALLEN TAYLOR                     1317 SUN WAY APT A                                                                                   BOWLING GREEN    KY   42104‐5427
ALLEN TAYLOR                     10335 SAINT PATRICK DR                                                                               MIDWEST CITY     OK   73130‐4734
ALLEN TEAGLE                     9450 N BUCK CREEK PIKE                                                                               MOORELAND        IN   47360‐9511
ALLEN TEFFT                      APT 212                         1900 REDBUD LANE                                                     LANSING          MI   48917‐7642
ALLEN TELECOM/CLVD               31225 BAINBRIDGE RD STE A                                                                            CLEVELAND        OH   44139‐2293
ALLEN TENTSCHERT                 2416 SANSONNET LN                                                                                    O FALLON         MO   63368‐3595
ALLEN TESSMAN                    3560 HAMILTON RD                                                                                     HARRISON         MI   48625‐9003
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Name                                    Address1                          Address2                         Address3              Address4               City             State   Zip
ALLEN TESTER                            7400 HIGHWAY 69 S                                                                                               SPRINGVILLE       TN     38256‐5506
ALLEN THOMAS                            2669 LAKEWOOD ST                                                                                                DETROIT           MI     48215‐2696
ALLEN THOMAS & KAREN THOMAS             ALLEN & KAREN THOMAS              900 WILLOW ST                                                                 CARTERVILLE        IL    62918
ALLEN THOMAS H (471985)                 GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                   NORFOLK           VA     23510
                                                                          STREET, SUITE 600
ALLEN THOMPSON                          3050 JACKSON LIBERTY RD                                                                                         WESSON           MS      39191
ALLEN THORINGTON                        1325 W KITCHEN RD                                                                                               LINWOOD          MI      48634‐9755
ALLEN TILLERY BUICK‐GMC, INC.           BRAD TILLERY                      4573 CENTRAL AVE                                                              HOT SPRINGS      AR      71913‐7257
ALLEN TILLERY BUICK‐PONTIAC‐GMC, IN     4573 CENTRAL AVE                                                                                                HOT SPRINGS      AR      71913‐7257

ALLEN TILLERY BUICK‐PONTIAC‐GMC, INC    BRAD TILLERY                      4573 CENTRAL AVE                                                              HOT SPRINGS       AR     71913‐7257

ALLEN TILLERY BUICK‐PONTIAC‐GMC, INC.   4573 CENTRAL AVE                                                                                                HOT SPRINGS       AR     71913‐7257

ALLEN TILLERY CHEVROLET, INC.           C TILLERY                         4573 CENTRAL AVE                                                              HOT SPRINGS       AR     71913‐7257
ALLEN TILLERY CHEVROLET, INC.           4573 CENTRAL AVE                                                                                                HOT SPRINGS       AR     71913‐7257
ALLEN TIMOTHY RHETT                     ALLEN, TIMOTHY RHETT              PO BOX 1270                     550 MAIN ST, STE 600                          KNOXVILLE         TN     37901‐1270
ALLEN TIMOTHY RHETT                     PETERSON, DANIEL L                PO BOX 1270                     550 MAIN ST, STE 600                          KNOXVILLE         TN     37901‐1270
ALLEN TIMOTHY RHETT                     PETERSON, DANIEL L                30 SECOND STREET NW P O BOX 191                                               CLEVELAND         TN     37364
ALLEN TIRE                              5606 W BROAD ST                                                                                                 RICHMOND          VA     23230‐2615
ALLEN TONYA C                           ALLEN, TONYA C
ALLEN TOTH                              BEVAN & ASSOCIATES LPA INC        6555 DEAN MEMORIAL PARKWAY                                                    BOSTON HEIGHTS   OH      44236
ALLEN TRICE                             309 N LAWRENCE ST                                                                                               MOUNT UNION      PA      17066‐1142
ALLEN TUCKER                            1022 LEVEL CREEK RD APT 303                                                                                     SUGAR HILL       GA      30518
ALLEN TURNER                            PO BOX 318                                                                                                      LAPEL            IN      46051‐0318
ALLEN TWARDZIK                          685 HELEN AVE                                                                                                   BRUNSWICK        OH      44212‐4732
ALLEN TWEEDIE                           3436 LAKEVIEW DR                                                                                                BEAVERTON        MI      48612‐8892
ALLEN VALERIE R                         ALLEN, VALERIE R                  649 N YORK ST                                                                 ELMHURST         IL      60126‐1604
ALLEN VALEVICH                          1701 FRICK RD                                                                                                   LEONARD          MI      48367‐3185
ALLEN VAN DER LINDE                     BEVAN & ASSOCIATES LPA INC        6555 DEAN MEMORIAL PARKWAY                                                    BOSTON HTS       OH      44236
ALLEN VAN DYKE                          21 GERTRUDE DR                                                                                                  SUMTER           SC      29150‐2647
ALLEN VANCE                             1330 POMPTON CIR                                                                                                LANSING          MI      48910‐4349
ALLEN VANHOOK                           192 DARIAN DR                                                                                                   LEESBURG         GA      31763
ALLEN VANN                              1616 SHERWOOD FOREST DR                                                                                         MIAMISBURG       OH      45342‐2064
ALLEN VASEK                             10 KEYSTONE CT                                                                                                  BOLINGBROOK      IL      60440‐1211
ALLEN VAUGHT                            6801 RUSSELL DR                                                                                                 NEWALLA          OK      74857‐8407
ALLEN VENTURES INC.
ALLEN VERNELL                           ALLEN, VERNELL                    196 DOCTOR LN                                                                 VARNILLE         SC      29944‐3997
ALLEN VOLKMUTH                          31 DENISHIRE DR                                                                                                 ROCHESTER        NY      14624‐1055
ALLEN VOLLMAR                           1270 W SANILAC RD                                                                                               CARO             MI      48723‐9594
ALLEN W BEGLEY                          4395 O NEALL RD                                                                                                 WAYNESVILLE      OH      45068
ALLEN W BRIMMER                         1725 MONTANA AVE                                                                                                FLINT            MI      48506‐4626
ALLEN W DEVAN & BETTYE L DEVAN          720 SAULTER LN                                                                                                  HOMEWOOD         AL      35209
ALLEN W KENDZIORA                       234 BARBADOS DR                                                                                                 BUFFALO          NY      14227
ALLEN W LUNDY                           1820 EASTONS TRL                                                                                                HIGHLAND         MI      48357‐3834
ALLEN W ORRE                            BOX 56                                                                                                          PHILLIPSBURG     OH      45354‐0056
ALLEN W PRATER                          319 C ST                                                                                                        HAYWARD          CA      94541‐6332
ALLEN W SNOW                            2644 MOHICAN AVE                                                                                                KETTERING        OH      45429‐3735
ALLEN WABLE                             602 RUDDLE AVE                                                                                                  ANDERSON         IN      46012‐3348
ALLEN WADLEY                            1554 RICHMOND AVE                                                                                               PONTIAC          MI      48340‐1021
ALLEN WAFER                             1812 ANNALEE DR                                                                                                 ANTIOCH          TN      37013‐3916
ALLEN WAIBEL                            273 E MOUNT FOREST RD                                                                                           PINCONNING       MI      48650‐7943
ALLEN WALKER                            PO BOX 68                                                                                                       LAKE             MI      48632‐0068
ALLEN WALLACE                           1319 BONSAL ST APT 1D                                                                                           BALTIMORE        MD      21224‐5406
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Name                                 Address1                         Address2                        Address3      Address4               City           State   Zip
ALLEN WALLIS                         1280 ALHI ST                                                                                          WATERFORD       MI     48328‐1504
ALLEN WARD                           PO BOX 171                                                                                            MANSFIELD       TX     76063‐0171
ALLEN WARD                           7502 WADDING DR                                                                                       ONSTED          MI     49265‐9418
ALLEN WARD                           675 SEWARD ST APT 408                                                                                 DETROIT         MI     48202‐2444
ALLEN WARNER                         5433 OLD STATE ROAD 37 N                                                                              SPRINGVILLE     IN     47462‐5098
ALLEN WATKINS                        4107 ATLAS RD                                                                                         DAVISON         MI     48423‐8635
ALLEN WATSON                         197 LINWOOD AVE                                                                                       N TONAWANDA     NY     14120‐2743
ALLEN WATSON                         2443 KEYWORTH AVE                                                                                     BALTIMORE       MD     21215‐7647
ALLEN WATSON                         50 COUNTY ROAD 162                                                                                    CULLMAN         AL     35057‐4390
ALLEN WATTS                          40452 MILL ROAD CT E                                                                                  NOVI            MI     48375‐5019
ALLEN WEAVER                         2 BRIANNA LN                                                                                          HILTON          NY     14468‐9754
ALLEN WEDDELL                        322 N 11TH ST                    APT 2                                                                OAKES           ND     58474‐2521
ALLEN WEINGARTZ                      4255 DAVISON RD                                                                                       LAPEER          MI     48446‐2841
ALLEN WELCH                          892 W BROCKER RD                                                                                      METAMORA        MI     48455‐8949
ALLEN WELCH                          209 N LINCOLN AVE                                                                                     ALMA            MI     48801‐2226
ALLEN WELTHER                        8674 UNIONVILLE RD                                                                                    SEBEWAING       MI     48759‐9554
ALLEN WERLEY                         10662 SKAGGS RD                                                                                       POTOSI          MO     63664‐5623
ALLEN WERNER                         6 OLD TIMBERLANE RD                                                                                   PALOS PARK       IL    60464
ALLEN WESBY                          1502 PENNYLANE SE                                                                                     DECATUR         AL     35601‐4538
ALLEN WESCOAT                        1074 LAKE MEADOW LN                                                                                   FOREST          VA     24551‐1071
ALLEN WHALEY                         18003 SAINT LOUIS ST                                                                                  DETROIT         MI     48234‐2712
ALLEN WHIRLEY                        706 NW 9TH ST                                                                                         GRAND RAPIDS    MN     55744‐2336
ALLEN WHITAKER, MARGARET L           PO BOX 602                       68 E ELMWOOD                                                         LEONARD         MI     48367‐0602
ALLEN WHITE                          100 SUN LN                                                                                            PANAMA CITY     FL     32413‐3211
                                                                                                                                           BEACH
ALLEN WILBURN (352658)               GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                          NORFOLK         VA     23510
                                                                      STREET, SUITE 600
ALLEN WILKINSON                      9199 COMMERCE RD                                                                                      COMMERCE TWP   MI      48382‐4399
ALLEN WILLIAM (ESTATE OF) (479195)   BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                                        NORTHFIELD     OH      44067
                                                                      PROFESSIONAL BLDG
ALLEN WILLIAM SR                     SIMMONS FIRM                     707 BERKSHIRE BLVD              P O BOX 521                          EAST ALTON     IL      62024
ALLEN WILLIAMS                       12495 EAST OTTER DRIVE                                                                                DETROIT        MI      48224
ALLEN WILLIAMS                       46 SHELBY AVE                                                                                         SHELBY         OH      44875‐9597
ALLEN WILLIAMSON                     5715 SOUTHWARD AVE                                                                                    WATERFORD      MI      48329‐1566
ALLEN WILLIE                         56 COLUMBIA AVE                                                                                       NEWARK         NJ      07106‐2102
ALLEN WILLIS                         1751 N BERWICK AVE                                                                                    INDIANAPOLIS   IN      46222‐2632
ALLEN WILSON                         PO BOX 1092                                                                                           HOMOSASSA      FL      34447‐1092
                                                                                                                                           SPRINGS
ALLEN WILSON                         10701 TRADE WIND CT                                                                                   FORT WAYNE     IN      46825‐2663
ALLEN WINE                           4720 E 500 S                                                                                          WARSAW         IN      46580‐8625
ALLEN WINGARD                        929 TINDALAYA DR                                                                                      LANSING        MI      48917‐4128
ALLEN WINN                           596 N COLUMBUS AVE                                                                                    MOUNT VERNON   NY      10552‐1330
ALLEN WIRTH                          13665 W DEXTER TRL                                                                                    WESTPHALIA     MI      48894‐9251
ALLEN WOJCZYNSKI                     8306 VINE AVE                                                                                         ALLEN PARK     MI      48101‐1673
ALLEN WOOD                           800 PATTERSON AVE                                                                                     BAY CITY       MI      48706‐4100
ALLEN WOODHAM                        934 CENTER DR                                                                                         ATTICA         MI      48412‐9354
ALLEN WOODS                          7471 SCHOOL AVE                                                                                       BALTIMORE      MD      21222‐3115
ALLEN WRIGHT                         3360 COVENTRY DR                                                                                      WATERFORD      MI      48329‐3219
ALLEN WRIGHT                         46 EGRET CT BROOKMONT FARM                                                                            NEWARK         DE      19702
ALLEN WRUBEL                         4365 18 1/2 MILE RD                                                                                   STERLING HTS   MI      48314‐2908
ALLEN WYATT BRIMMER                  1725 MONTANA AVE                                                                                      FLINT          MI      48506‐4626
ALLEN YARBROUGH                      19529 HOLT RD                                                                                         ATHENS         AL      35613‐5027
ALLEN YOUNG                          2157 BUENA VISTA DR                                                                                   LA GRANGE      CA      95329‐9459
ALLEN YOUNG                          8275 BURLEIGH RD                                                                                      GRAND BLANC    MI      48439‐9764
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ALLEN YOUNG                        12955 PODUNK AVE NE                                                                           CEDAR SPRINGS      MI     49319‐8716
ALLEN YOUNG                        823 S FARRAGUT ST                                                                             BAY CITY           MI     48708‐7302
ALLEN YOUNG                        274 TURKEY DR                                                                                 MCGAHEYSVILLE      VA     22840‐3227
ALLEN ZALUCHA                      5876 NORTH JACK ROAD                                                                          MIDLAND            MI     48642‐8433
ALLEN'S AUTO PARTS                 2313 BONHAM ST                                                                                PARIS              TX     75460‐3707
ALLEN'S AUTO PARTS                                                 2313 BONHAM ST                                                PARIS              TX     75460
ALLEN'S AUTOMOTIVE                 3120 STATE ROUTE 27                                                                           KENDALL PARK       NJ     08824‐1661
ALLEN'S AUTOMOTIVE                 181 KENNEDY AVE                                                                               CAMPBELL           CA     95008‐4114
ALLEN'S AUTOMOTIVE & TOWING INC.   185 N K ST                                                                                    LIVERMORE          CA     94550‐3103
ALLEN'S PONTIAC & GMC TRUCK        104 E MYLES AVE                                                                               PENNSBORO          WV     26415‐1307
ALLEN'S PONTIAC & GMC, INC.        GEORGE ALLEN                    104 E MYLES AVE                                               PENNSBORO          WV     26415‐1307
ALLEN'S PONTIAC & GMC, INC.        104 E MYLES AVE                                                                               PENNSBORO          WV     26415‐1307
ALLEN, AARON C                     1128 W STANLEY RD                                                                             MOUNT MORRIS       MI     48458‐2330
ALLEN, AARON D                     3132 SWARTZEL ROAD                                                                            FARMERSVILLE       OH     45325‐8223
ALLEN, AARON L                     5357 FERN AVE                                                                                 GRAND BLANC        MI     48439‐4321
ALLEN, AARON LEE                   5357 FERN AVE                                                                                 GRAND BLANC        MI     48439‐4321
ALLEN, ABRAHAM                     1585 LATHRUP AVE                                                                              SAGINAW            MI     48638‐4740
ALLEN, ADDIE M                     538 TOBIN DR APT 101                                                                          INKSTER            MI     48141‐1358
ALLEN, ADELAIDE L                  2333 WESTMONTE RD                                                                             TOLEDO             OH     43607‐3552
ALLEN, ADRIAN W                    615 TWIN OAK DR                                                                               PITTSBURGH         PA     15235‐2633
ALLEN, AGNES                       6219 S US HIGHWAY 51 LOT 1103                                                                 JANESVILLE         WI     53546‐9429
ALLEN, AHMAR
ALLEN, ALBERT J                    1657 ZARIEDA ST                                                                               ORTONVILLE        MI      48462‐8817
ALLEN, ALBERT L                    3854 LYNWARD RD                                                                               COLUMBUS          OH      43228‐3551
ALLEN, ALETIA                      5330 HONEYVINE DR                                                                             HOUSTON           TX      77048
ALLEN, ALEXANDER T                 10061 SW 95TH AVE                                                                             OCALA             FL      34481‐8981
ALLEN, ALICE M                     96 OAK ST                                                                                     SEEKONK           MA      02771‐5213
ALLEN, ALICE M                     1267 MELBOURNE AVE                                                                            EAST CLEVELAND    OH      44112‐4136
ALLEN, ALICE MAY                   96 OAK ST                                                                                     SEEKONK           MA      02771‐5213
ALLEN, ALICIA R                    6721 LIVE OAK RD                                                                              INDIANAPOLIS      IN      46214‐1943
ALLEN, ALICIA RENE                 6721 LIVE OAK RD                                                                              INDIANAPOLIS      IN      46214‐1943
ALLEN, ALMA L                      3285 HELEN ST                                                                                 HARRISON          MI      48625‐8007
ALLEN, ALMA L                      3285 HELEN                                                                                    HARRISON          MI      48625‐8007
ALLEN, ALMA L                      405 E MCMILLAN AVE                                                                            NEWBERRY          MI      49868‐1419
ALLEN, ALMA L                      488 TODHUNTER RD                                                                              MONROE            OH      45050‐1025
ALLEN, ALONZO A                    PO BOX 15                                                                                     HERRON            MI      49744‐0015
ALLEN, ALPHA                       10136 LINCOLN AVE                                                                             CAMP DENNISON     OH      45111‐9739
ALLEN, ALPHA                       10136 LINCOLN RD                                                                              CAMP DENNISON     OH      45111‐9713
ALLEN, ALTA M                      720 PEACH ORCHARD DR                                                                          WEST CARROLLTON   OH      45449‐1669

ALLEN, ALTIE                       1744 COURTLAND AVE                                                                            NORWOOD           OH      45212‐2844
ALLEN, ALTON O                     104 CROSSROADS E                                                                              QUITMAN           AR      72131‐8413
ALLEN, ALVIN                       2023 E OLDGATE ST                                                                             SANDUSKY          OH      44870‐5163
ALLEN, ALVIN A                     1808 BASLIA LN                                                                                SPRING HILL       TN      37174‐6123
ALLEN, ALVIN A                     7718 VALTA WAY                                                                                GAINESVILLE       VA      20155‐1981
ALLEN, AMANDA E                    15768 WHITE OAK                                                                               FRASER            MI      48026‐5098
ALLEN, AMOS B                      4007 N COUNTY ROAD 900 W                                                                      GREENCASTLE       IN      46135‐7728
ALLEN, ANDRE E                     9157 SOFTWATER WOODS DR                                                                       CLARKSTON         MI      48348‐4265
ALLEN, ANDRE H                     330 E DELAVAN AVE                                                                             BUFFALO           NY      14208‐1311
ALLEN, ANDRE' S J                  108 CHARLES LN                                                                                PONTIAC           MI      48341‐2927
ALLEN, ANDRE' S J                  177 E WILSON AVE                                                                              PONTIAC           MI      48341
ALLEN, ANDREW V                    1691 PENBROOKE TRL                                                                            DAYTON            OH      45459‐3341
ALLEN, ANDY C                      1519 KENT DR                                                                                  DAVISON           MI      48423
ALLEN, ANGELA S                    1851 KIPLING DR                                                                               DAYTON            OH      45406
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ALLEN, ANGELEA M      8932 TWELVE OAKS DR                                                                            SHREVE PORT         LA     71118
ALLEN, ANGELIA        6231 MEADOWLARK DR                                                                             INDIANAPOLIS        IN     46226‐3614
ALLEN, ANITA I        525 GREAT OAKS BLVD APT 11                                                                     ROCHESTER HILLS     MI     48307‐1049
ALLEN, ANN M          2710 S A ST                                                                                    ELWOOD              IN     46036‐2219
ALLEN, ANNA M         4444 W. COURT ST. #4113                                                                        FLINT               MI     48532
ALLEN, ANNA M         3435 ROUTIER RD                                                                                SACRAMENTO          CA     95827
ALLEN, ANNA M         3330 NUT PLAINS DR                                                                             SACRAMENTO          CA     95827‐2476
ALLEN, ANNIE L        865 MICHIGAN AVE APT 402                                                                       BUFFALO             NY     14203‐1248
ALLEN, ANNIE M        11586 HERRICK ST                                                                               SAN FERNANDO        CA     91340‐2227
ALLEN, ANNIE M        11586 HERRICK AVE                                                                              SAN FERNANDO        CA     91340‐2227
ALLEN, ANTHONY        3360 CHICHESTER AVE APT D                                                                      UPPER CHICHESTER    PA     19061

ALLEN, ANTHONY E      709 BROAD OAK DR                                                                               TROTWOOD           OH      45426‐2558
ALLEN, ANTHONY F      8603 MOSEY MNR                                                                                 INDIANAPOLIS       IN      46231‐2526
ALLEN, ANTHONY H      264 N PROSPECT ST                                                                              OBERLIN            OH      44074‐1035
ALLEN, ANTHONY S      1109 DOUGLAS ST                                                                                FREDERICKSBURG     VA      22401‐3805
ALLEN, ANTHONY S      66 CONTESKY DR                                                                                 CHEROKEE           NC      28719‐8218
ALLEN, ANTONIA A      3870 READING RD APT 2                                                                          CINCINNATI         OH      45229‐1648
ALLEN, ARCHIE A       247 OLD HOPKINSVILLE HWY                                                                       CLARKSVILLE        TN      37042‐3342
ALLEN, ARLEAN         317 18TH STREET                                                                                ELYRIA             OH      44035‐7623
ALLEN, ARLEAN         317 18TH ST                                                                                    ELYRIA             OH      44035‐7623
ALLEN, ARLEN          193 MEGAN RD                                                                                   HYANNIS            MA      02601‐2510
ALLEN, ARLENE         7152 TORREY RD                                                                                 SWARTZ CREEK       MI      48473‐8812
ALLEN, ARLINE L       3580 W WALTON BLVD                                                                             WATERFORD          MI      48329‐4263
ALLEN, ARLIS M        1311 OAK ST                                                                                    EUDORA             KS      66025‐9422
ALLEN, ARNOLD ALVIN   BUDD RUSSELL W                  3102 OAK LAWN AVE STE 1100                                     DALLAS             TX      75219‐4283
ALLEN, ARRON D        427 ALLEN AVE                                                                                  DUNCANVILLE        TX      75137‐2401
ALLEN, ARTHUR L       2715 MT ELLIOTT                                                                                DETROIT            MI      48207
ALLEN, ARTHUR L       2703 MEADOW BLUFF LN                                                                           DALLAS             TX      75237‐3207
ALLEN, ARTHUR LEE     2703 MEADOW BLUFF LN                                                                           DALLAS             TX      75237‐3207
ALLEN, ARTHUR R       81 EMPRESS AVE                                                                                 BUFFALO            NY      14226‐1507
ALLEN, ARTHUR W       2437 HARTEL RD                                                                                 CHARLOTTE          MI      48813‐8329
ALLEN, ARVILLA B      3506 CEDARDALE CT                                                                              TOLEDO             OH      43623‐1826
ALLEN, ASHLEE R       10801 BELLVIEW DR                                                                              OKLAHOMA CITY      OK      73130
ALLEN, AUDA           305 NOBLE BR RD                                                                                ROWDY              KY      41367
ALLEN, AUDREY         401 W BAKER ST                                                                                 FLINT              MI      48505‐4143
ALLEN, AUDREY         1045 AIRWAY                                                                                    WATERFORD          MI      48327
ALLEN, AUGUSTA A      3515 N VILLAGE CT UNTI 215                                                                     SARASOTA           FL      34231
ALLEN, B R            12025 211TH PL SE                                                                              SNOHOMISH          WA      98296‐3944
ALLEN, B RICHARD      12025 211TH PL SE                                                                              SNOHOMISH          WA      98296‐3944
ALLEN, BARBARA        2867 HOLT RD                                                                                   MASON              MI      48854‐9460
ALLEN, BARBARA        5301 IRENE ST                                                                                  GLADWIN            MI      48624‐8927
ALLEN, BARBARA        223 TURNER ST NE                                                                               OLYMPIA            WA      98506‐4658
ALLEN, BARBARA A      276 1ST STREET SOUTHWEST                                                                       WARREN             OH      44485‐3867
ALLEN, BARBARA H      1517 N CUMBERLAND ST                                                                           METAIRIE           LA      70003‐5733
ALLEN, BARBARA J      6358 BLUE JAY DR                                                                               FLINT              MI      48506‐1761
ALLEN, BARBARA J      3801 MELODY LN E                                                                               KOKOMO             IN      46902‐4380
ALLEN, BARBARA J      177 TIMBER RIDGE DR                                                                            MACON              GA      31216‐5674
ALLEN, BARBARA J      909 E GAY ST                                                                                   COLUMBUS           OH      43203‐1823
ALLEN, BARBARA J      6358 BLUEJAY DR                                                                                FLINT              MI      48506‐1761
ALLEN, BARBARA J      1629 NICHOL AVE                                                                                ANDERSON           IN      46016‐3263
ALLEN, BARBARA J      1 JUPITER ST                                                                                   JEFFERSONVILLE     OH      43128‐1014
ALLEN, BARBARA J      3286 BERTHA DR                                                                                 SAGINAW            MI      48601‐6961
ALLEN, BARBARA L      16500 N PARK DR APT 317                                                                        SOUTHFIELD         MI      48075‐4744
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Name                Address1                         Address2                       Address3   Address4               City           State Zip
ALLEN, BARRY        ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET, ONE                                        BALTIMORE       MD 21202
                                                     CHARLES CENTER 22ND FLOOR
ALLEN, BARRY R      ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET, ONE                                        BALTIMORE      MD   21202
                                                     CHARLES CENTER 22ND FLOOR
ALLEN, BEATRICE     1358 NELSON CT                                                                                    ROCKLEDGE      FL   32955‐5103
ALLEN, BEATRICE H   1328 CAMBRIDGE LANE                                                                               CARO           MI   48723‐1254
ALLEN, BEATRICE I   19961 GREELEY                                                                                     DETROIT        MI   48203‐1241
ALLEN, BEATRICE I   19961 GREELEY ST                                                                                  DETROIT        MI   48203‐1241
ALLEN, BEATRICE T   227 N DOUBLEGATE DR                                                                               ALBANY         GA   31721‐8797
ALLEN, BEATRICE W   2578 W 5TH ST                    C/O TAR RIVER MANOR                                              GREENVILLE     NC   27834‐7812
ALLEN, BENITA A     2293 RENSHAW AVE                                                                                  DAYTON         OH   45439‐3033
ALLEN, BENITA C     1513 COURTER ST                                                                                   DAYTON         OH   45427‐3214
ALLEN, BENJAMIN G   1923 W KIMBERLY RD SW                                                                             ATLANTA        GA   30331‐5725
ALLEN, BENJAMIN J   5373 W BARNES RD                                                                                  MASON          MI   48854‐9758
ALLEN, BENNIE E     1869 FOOTHILL VISTA DR                                                                            TRACY          CA   95377
ALLEN, BENNIE J     479 ALEX CT APT 622                                                                               CASTLE ROCK    CO   80108
ALLEN, BENNIE L     2240 EDGEMORE DR SE                                                                               ATLANTA        GA   30316‐2635
ALLEN, BENNY        GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                      NORFOLK        VA   23510‐2212
                                                     STREET, SUITE 600
ALLEN, BERNARD      KELLEY & FERRARO LLP             1300 EAST NINTH STREET, 1901                                     CLEVELAND      OH   44114
                                                     BOND COURT BUILDING
ALLEN, BERNARD      8890 PATTON ST                                                                                    DETROIT        MI   48228‐1620
ALLEN, BERNARD      2150 WILLOT RD                                                                                    AUBURN HILLS   MI   48326‐2668
ALLEN, BERNARD A    2703 STERLINGTON RD APT 11                                                                        MONROE         LA   71203‐2545
ALLEN, BERNETTA J   1214 LIPPINCOTT                                                                                   FLINT          MI   48503‐5850
ALLEN, BERNICE I    2309 WOODRUM RIDGE RD                                                                             LIBERTY        KY   42539
ALLEN, BERTRAM C    6350 HIGHWAY 638                                                                                  MANCHESTER     KY   40962‐8143
ALLEN, BETTY        4585 SHEPHARD RD                                                                                  BATAVIA        OH   45103‐1037
ALLEN, BETTY A      11762 DOUGLAS RD                                                                                  TEMPERANCE     MI   48182
ALLEN, BETTY A.     800 ARMSTRONG RD                                                                                  LANSING        MI   48911‐3907
ALLEN, BETTY D      C/O JAMES L DAVIS                1980 PARKHILL DR                                                 DAYTON         OH   45406‐5406
ALLEN, BETTY D      1980 PARKHILL DR                 C/O JAMES L DAVIS                                                DAYTON         OH   45406‐2714
ALLEN, BETTY E      2836 EDGEMOOR LN                                                                                  MORAINE        OH   45439‐5439
ALLEN, BETTY F      3402 SOUTH SCATTERFIELD RD                                                                        ANDERSON       IN   46013‐2130
ALLEN, BETTY F      7511 E 38TH ST                                                                                    INDIANAPOLIS   IN   46226‐5825
ALLEN, BETTY F      3402 S SCATTERFIELD RD                                                                            ANDERSON       IN   46013‐2130
ALLEN, BETTY F      102 PRESIDENT TRL E                                                                               INDIANAPOLIS   IN   46229‐3507
ALLEN, BETTY I      1301 WATERBURY PL                                                                                 TROY           OH   45373
ALLEN, BETTY J      1020 TREE TOP LANE                                                                                GREENWOOD      IN   46142‐5201
ALLEN, BETTY J      4610 W DAVID ALAN CT                                                                              BLOOMINGTON    IN   47404‐9215
ALLEN, BETTY J      4057 CRESCENT DR APT 228                                                                          N TONAWANDA    NY   14120‐3716
ALLEN, BETTY L      3329 BLOOMINGTON HILLS AVE SE                                                                     ADA            MI   49301‐8435
ALLEN, BETTY M      1151 ALBEMARLE CIRCLE                                                                             NOBLESVILLE    IN   46062
ALLEN, BETTY S      298 STEWART ST.                                                                                   WARREN         OH   44483‐4483
ALLEN, BETTY S      2605 S SYCAMORE AVE                                                                               MUNCIE         IN   47302‐4657
ALLEN, BETTY S      B 3244 PO APT                                                                                     BLOOMINGTON    IN   47402
ALLEN, BETTY S      298 STEWART AVE NW                                                                                WARREN         OH   44483‐2067
ALLEN, BEULAH M     6614 LOCH RAVEN BLVD                                                                              BALTIMORE      MD   21239‐1421
ALLEN, BEVERLY      1301 E NATIONAL AVE                                                                               BRAZIL         IN   47834
ALLEN, BEVERLY J    9400 ISLAND DRIVE                                                                                 GOODRICH       MI   48438
ALLEN, BILL         1404 S BROADWAY AVE                                                                               ALBERT LEA     MN   56007
ALLEN, BILL B       431 GLADE ST                                                                                      HAYWARD        CA   94544‐1904
ALLEN, BILL D       10875 WEST 359TH STREET                                                                           PAOLA          KS   66071‐6506
ALLEN, BILL D       10875 W 359TH ST                                                                                  PAOLA          KS   66071‐6506
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Name                    Address1                              Address2                       Address3   Address4               City            State   Zip
ALLEN, BILL W           1023 SIPPLE AVE                                                                                        HAMILTON         OH     45011‐4066
ALLEN, BILLIE R         9006 CHALKSTONE ST                                                                                     ARLINGTON        TX     76002‐5001
ALLEN, BILLY C          650 MONTCALM AVENUE NORTHEAST                                                                          LOWELL           MI     49331‐9372
ALLEN, BILLY D          480 GRANADA DR                                                                                         PONTIAC          MI     48342‐1725
ALLEN, BILLY H          14303 US HIGHWAY 84 W                                                                                  CUSHING          TX     75760‐6312
ALLEN, BILLY J          PO BOX 941                                                                                             CALVERT CITY     KY     42029‐0941
ALLEN, BILLY J          2130 CRYSTAL ST                                                                                        ANDERSON         IN     46012‐1722
ALLEN, BILLY R          5043 SPICEWOOD DR                                                                                      YORK             SC     29745‐5315
ALLEN, BIRON SABRINA    748 BROADOAK LOOP                                                                                      SANFORD          FL     32771‐7184
ALLEN, BLAINE RICHARD   2026 DIXIE PL                                                                                          KALAMAZOO        MI     49001
ALLEN, BLAINE W         615 E PEARL ST                                                                                         TOLEDO           OH     43608‐1334
ALLEN, BLANCHE M        1275 TAMARACK TRL                                                                                      CHARLOTTE        MI     48813‐8365
ALLEN, BLAND W          24523 MOORESVILLE RD                                                                                   ATHENS           AL     35613‐3155
ALLEN, BOBBE A          295 S GALATEA DR                                                                                       PUEBLO           CO     81007‐1686
ALLEN, BOBBY D          5226 WINSHALL DR                                                                                       SWARTZ CREEK     MI     48473‐1260
ALLEN, BOBBY G          239 CM LORD RD                                                                                         DUDLEY           GA     31022‐1511
ALLEN, BOBBY J          175 GOLD DUST TRL                                                                                      CARROLLTON       GA     30117‐7727
ALLEN, BOBBY R          4251 STARDUST LN                                                                                       FORT WORTH       TX     76119‐3118
ALLEN, BOBBY R          8081 JORDAN RD BOX 487                                                                                 LEWISBURG        OH     45338
ALLEN, BONNIE E         66 MOUNTAIN VIEW AVE                                                                                   BRISTOL          CT     06010‐4829
ALLEN, BONNIE G         2291 FARMER ST                        APT#108                                                          SAGINAW          MI     48601
ALLEN, BONNIE G         APT 108                               2291 FARMER STREET                                               SAGINAW          MI     48601‐4664
ALLEN, BRADLEY C        915 E 6TH ST                                                                                           ROYAL OAK        MI     48067‐2817
ALLEN, BRADLEY E        16755 COMSTOCK ST                                                                                      LIVONIA          MI     48154‐1607
ALLEN, BRADLEY J        1559 INDIAN LAKE RD                                                                                    NATIONAL CITY    MI     48748‐9628
ALLEN, BRADLEY J        8300 WALNUT CREEK DR                                                                                   GRAND BLANC      MI     48439‐2071
ALLEN, BRADLEY JAMES    1559 INDIAN LAKE RD                                                                                    NATIONAL CITY    MI     48748‐9628
ALLEN, BRANDIE M        1099 W GRAND BLANC RD                                                                                  GRAND BLANC      MI     48439‐9333
ALLEN, BRANDON S        4276 CLARKE DR                                                                                         TROY             MI     48085‐4905
ALLEN, BRENDA L         4100 KLEPINGER ROAD                                                                                    DAYTON           OH     45416‐2109
ALLEN, BRIAN D          53 SANTALINA TRAIL                                                                                     BATTLE CREEK     MI     49014‐8374
ALLEN, BRIAN DELAND     1808 LAUREL OAK DR                                                                                     FLINT            MI     48507‐2254
ALLEN, BRIAN M          1708 W 10TH ST                                                                                         MUNCIE           IN     47302‐2143
ALLEN, BRIAN M          6925 NORTH HICKORY STREET                                                                              KANSAS CITY      MO     64118‐1030
ALLEN, BRISCOE          4642 SORTOR DR                                                                                         KANSAS CITY      KS     66104‐1253
ALLEN, BRITNEY          PO BOX 365                                                                                             WATERSMEET       MI     49969‐0365
ALLEN, BRUCE D          11025 SPENCER RD                                                                                       SAINT CHARLES    MI     48655‐9552
ALLEN, BRUCE H          400 DRY BONE RD                                                                                        ASH FLAT         AR     72513‐9669
ALLEN, BRUCE L          307 E MARKET ST                                                                                        LEWES            DE     19958‐1120
ALLEN, BRYANT N         29679 IVEY LN                                                                                          MADISON          AL     35756
ALLEN, BYRON C          4611 DARTFORD RD                                                                                       ENGLEWOOD        OH     45322‐2517
ALLEN, C. EMAGENE       504 REDFERN DR                                                                                         BEECH GROVE      IN     46107‐2527
ALLEN, C. EMAGENE       504 REDFERN DRIVE                                                                                      BEECH GROVE      IN     46107‐2527
ALLEN, CALLIE           6898 HAMILTON MIDDLETOWN RD                                                                            MIDDLETOWN       OH     45044‐7859
ALLEN, CALVIN           3511 BAYVIEW DR APT 29                                                                                 LANSING          MI     48911‐2009
ALLEN, CALVIN PRICE     MOODY EDWARD O                        801 W 4TH ST                                                     LITTLE ROCK      AR     72201‐2107
ALLEN, CARL D           GOLDBERG PERSKY JENNINGS & WHITE PC   4800 FASHION SQUARE BLVD STE                                     SAGINAW          MI     48604‐2602
                                                              260
ALLEN, CARL F           6355 FORTUNE DR                                                                                        DRAYTON PLNS    MI      48020
ALLEN, CARL J           3721 DAWNRIDGE DR                                                                                      DAYTON          OH      45414‐2215
ALLEN, CARL W           3455 LAKESHORE DR                                                                                      GLADWIN         MI      48624‐8364
ALLEN, CARL W           495 WHITE RD                                                                                           GLADWIN         MI      48624‐8452
ALLEN, CARL WAYNE       495 WHITE ROAD                                                                                         GLADWIN         MI      48624‐8452
ALLEN, CARLTON E        2604 E MULLETT LAKE RD                                                                                 INDIAN RIVER    MI      49749‐9117
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Name                  Address1                        Address2                       Address3   Address4               City             State Zip
ALLEN, CARMEN N       1001 E MONROE ST                                                                                 KOKOMO            IN 46901‐3158
ALLEN, CAROL          44460 HIGHGATE DR                                                                                CLINTON TOWNSHIP MI 48038‐1489

ALLEN, CAROL          5314 S KENTUCKY AVE                                                                              OKLAHOMA CITY    OK   73119‐6236
ALLEN, CAROL A        5013 NEYER COURT                                                                                 DAYTON           OH   45424‐6015
ALLEN, CAROL A        2940 PRINCE HALL DR                                                                              DETROIT          MI   48207‐5152
ALLEN, CAROL A        803 STATE ROAD NW                                                                                WARREN           OH   44483‐1633
ALLEN, CAROL A        2862 WASHINGTON MILL RD                                                                          BELLBROOK        OH   45305
ALLEN, CAROL A        5013 NEYER CT                                                                                    DAYTON           OH   45424‐6015
ALLEN, CAROL A        803 STATE RD NW                                                                                  WARREN           OH   44483‐1633
ALLEN, CAROL L        210 NORTH MAIN ST               APT 506                                                          DAYTON           OH   45402‐5402
ALLEN, CAROL O        112 FOUR MILE ROAD                                                                               LAKE MICHIGAN    MI   48632
ALLEN, CAROLLEE S     5398 E CREEKSIDE TRL                                                                             SYRACUSE         IN   46567‐9190
ALLEN, CAROLYN J      5400 N MOORE RD                                                                                  MUNCIE           IN   47304‐6006
ALLEN, CAROLYN JEAN   5400 N MOORE RD                                                                                  MUNCIE           IN   47304‐6006
ALLEN, CARRIE L       PO BOX 499                                                                                       MOUNT MORRIS     MI   48458‐0499
ALLEN, CARRIE L       1815 OAKRIDGE DR                                                                                 DAYTON           OH   45417‐2314
ALLEN, CASEY
ALLEN, CATHERINE      4117 GUILFORD ST                                                                                 DETROIT          MI   48224‐2243
ALLEN, CATHERINE N    5710 ‐ 36TH AVE E               LOT 21                                                           PALMETTO         FL   34221
ALLEN, CATHY DIANE    525 POPLAR DR                                                                                    ELLETTSVILLE     IN   47429‐1119
ALLEN, CATHY R        3320 LINDEL LN                                                                                   INDIANAPOLIS     IN   46268
ALLEN, CECIL          3237 SIGNET DR                                                                                   WATERFORD        MI   48329‐4063
ALLEN, CECIL C        739 UNIVERSITY AVE                                                                               ELYRIA           OH   44035‐7240
ALLEN, CECIL E        184 CIRCLE DR                                                                                    STANFORD         KY   40484‐9552
ALLEN, CECIL F        1107 N CAMELOT DR                                                                                PAYSON           AZ   85541‐3303
ALLEN, CECILE L       3207 DEARBORN AVE                                                                                FLINT            MI   48507‐4320
ALLEN, CECILE M       175 FALL MOUNTAIN RD                                                                             BRISTOL          CT   06010‐5909
ALLEN, CECILIA G      52248 MITCHELL LN                                                                                MACOMB           MI   48042‐5691
ALLEN, CHAD E         1622 BELVO RD                                                                                    MIAMISBURG       OH   45342‐3818
ALLEN, CHAD MICHAEL   8342 OLD PLANK RD                                                                                GRAND BLANC      MI   48439‐2041
ALLEN, CHAN‐HO        11315 TYRONE TRL                                                                                 FENTON           MI   48430‐4023
ALLEN, CHANDA T       311 SCOTT ST SW APT 57                                                                           ATLANTA          GA   30311‐1847
ALLEN, CHARLENE       4244 MARYANNE PL                                                                                 HALTOM CITY      TX   76137‐2646
ALLEN, CHARLENE W     232 BLUE WINGED DR SE                                                                            WARREN           OH   44484
ALLEN, CHARLES        18646 SCHOOLCRAFT APT 2                                                                          DETROIT          MI   48223‐2957
ALLEN, CHARLES        1320 RIDGE RD TRAILER A41                                                                        YPSILANTI        MI   48198
ALLEN, CHARLES        BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD, BEVAN                                     NORTHFIELD       OH   44067
                                                      PROFESSIONAL BLDG
ALLEN, CHARLES A      2013 CEDARMONT DR                                                                                FRANKLIN         TN   37067‐4019
ALLEN, CHARLES A      2258 E 21ST ST                                                                                   OAKLAND          CA   94606‐4214
ALLEN, CHARLES A      1232 SUGAR PINE DR                                                                               ANDERSON         IN   46012‐5502
ALLEN, CHARLES B      4057 MONTCALM STREET                                                                             BURTON           MI   48519‐1564
ALLEN, CHARLES D      8739 WOOD VIEW DR                                                                                LAKE             MI   48632‐9584
ALLEN, CHARLES D      1555 LARCHWOOD                                                                                   DAYTON           OH   45432‐3662
ALLEN, CHARLES E      589 MOUND ROAD                                                                                   WILMINGTON       OH   45177‐9063
ALLEN, CHARLES E      1212 PEARL ST APT 111                                                                            ANDERSON         IN   46016‐2786
ALLEN, CHARLES E      8400 SAINT FRANCIS DR APT 206                                                                    CENTERVILLE      OH   45458‐2790
ALLEN, CHARLES E      5700 ALGOMA ST                                                                                   DAYTON           OH   45415‐2403
ALLEN, CHARLES E      589 MOUND RD                                                                                     WILMINGTON       OH   45177‐9063
ALLEN, CHARLES F      214 BUNKER HILL DR                                                                               BOLINGBROOK      IL   60440‐2704
ALLEN, CHARLES G      2532 FLAKE FORD RD                                                                               WASHINGTON CT.   OH   43160‐9719
                                                                                                                       HOUSE
ALLEN, CHARLES G      1555 CHILSON RD                                                                                  HOWELL           MI   48843‐7431
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Name                       Address1                            Address2                       Address3   Address4               City             State Zip
ALLEN, CHARLES G           2532 FLAKESFORD RD SE                                                                                WASHINGTON        OH 43160‐9719
                                                                                                                                COURT HOUSE
ALLEN, CHARLES J           2671 WESTWOOD PKWY                                                                                   FLINT            MI   48503
ALLEN, CHARLES L           PO BOX 376                          450 S JACKSON                                                    LAKE GEORGE      MI   48633‐0376
ALLEN, CHARLES L           1049 BELTLINE DR S                                                                                   BROOKHAVEN       MS   39601‐9601
ALLEN, CHARLES L           1049 BELT LINE DR NE                                                                                 BROOKHAVEN       MS   39601‐3518
ALLEN, CHARLES LYNN        MOODY EDWARD O                      801 W 4TH ST                                                     LITTLE ROCK      AR   72201‐2107
ALLEN, CHARLES R           PO BOX 171                                                                                           QUECHEE          VT   05059
ALLEN, CHARLES R           835 RIVERVIEW DRIVE                                                                                  LEAVITTSBURG     OH   44430‐9679
ALLEN, CHARLES R           120 SUNSET PT                                                                                        BRANDON          MS   39042‐7886
ALLEN, CHARLES S           4390 EXETER DR APT 205                                                                               LONGBOAT KEY     FL   34228
ALLEN, CHARLES T           PO BOX 5384                                                                                          CLEVELAND        OH   44101‐0384
ALLEN, CHARLES T           1016 HUMBOLDT PKWY                                                                                   BUFFALO          NY   14211‐1208
ALLEN, CHARLES T           GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                                     SAGINAW          MI   48604‐2602
                                                               260
ALLEN, CHARLES V           3705 LONE TREE RD                                                                                    MILFORD          MI   48380‐1939
ALLEN, CHARLEY J           13321 RIVERVIEW ST                                                                                   BONNER SPRINGS   KS   66012‐9199
ALLEN, CHELLIAN            2730 CHAVES CT                      APT E                                                            HOMEWOOD         IL   60430‐2924
ALLEN, CHERYL A            928 LAGUNA ST                                                                                        KOKOMO           IN   46902‐2334
ALLEN, CHERYL A            1518 GEORGIA CT APT 101                                                                              NAPERVILLE       IL   60540‐5078
ALLEN, CHERYL D            560 BEACH ST                                                                                         MOUNT MORRIS     MI   48458‐1906
ALLEN, CHERYL D            2651 S COUNTY ROAD 400 E                                                                             KOKOMO           IN   46902
ALLEN, CHERYL L            9776 HOLMES HWY                                                                                      EATON RAPIDS     MI   48827‐9508
ALLEN, CHERYL L            10990 DAYTON CINNTINNATI PIKE                                                                        MIAMISBURG       OH   45342
ALLEN, CHRISTINE           1520 MORTON STREET                                                                                   ANDERSON         IN   46016‐3535
ALLEN, CHRISTINE B         31698 E BELLVINE TRL                                                                                 BEVERLY HILLS    MI   48025‐3707
ALLEN, CHRISTOPHER J       2873 INFIRMARY RD                                                                                    DAYTON           OH   45418‐1839
ALLEN, CHRISTOPHER JAMES   2873 INFIRMARY RD                                                                                    DAYTON           OH   45418‐1839
ALLEN, CHRISTOPHER L       6253 GRISWOLD RD                                                                                     KIMBALL          MI   48074‐1815
ALLEN, CHRISTOPHER M       227 S FINDLAY ST                                                                                     DAYTON           OH   45403‐2658
ALLEN, CHRISTOPHER P       16037 CHESTER                                                                                        HOLLY            MI   48442‐9655
ALLEN, CHRISTOPHER REED    TRACY FIRM                          5473 BLAIR RD STE 200                                            DALLAS           TX   75231‐4168
ALLEN, CINDY G             5202 JOHN R DR                                                                                       FLINT            MI   48507‐4588
ALLEN, CINDY GAY           5202 JOHN R DR                                                                                       FLINT            MI   48507‐4588
ALLEN, CLARA C             1609 CRESTMEADOW LN                                                                                  MANSFIELD        TX   76063‐7932
ALLEN, CLARENCE            22544 FARGO ST                                                                                       DETROIT          MI   48219‐1114
ALLEN, CLARENCE            3532 ALEXANDER ST                                                                                    FLINT            MI   48505‐3844
ALLEN, CLARENCE J          2019 SANTA ANA N                                                                                     LOS ANGELES      CA   90059‐1348
ALLEN, CLARICE             1599 HIGHWAY 135                                                                                     RAYVILLE         LA   71269‐5646
ALLEN, CLAUDIA P           310 CHANTICLEER TRAIL                                                                                LANSING          MI   48917‐3009
ALLEN, CLEO                436 BAYOU ST                        P O BOX 35                                                       SOUTH LEBANON    OH   45065‐1452
ALLEN, CLEON               PO BOX 420580                                                                                        PONTIAC          MI   48342‐0580
ALLEN, CLIFFORD            5214 MONTGOMERY AVE                                                                                  CARLISLE         OH   45005‐1338
ALLEN, CLIFFTON R          1293 WEBB RD                                                                                         LEWISBURG        TN   37091‐6851
ALLEN, CLIFTON E           1704 E MITCHELL ST                                                                                   ARLINGTON        TX   76010‐3008
ALLEN, CLYDE
ALLEN, CONNIE F            5341 BESSMER DR                                                                                      TROTWOOD         OH   45426‐1903
ALLEN, CONNIE S            534 VISTA AVE                                                                                        VANDALIA         OH   45377‐1846
ALLEN, CONNIE S            534 VISTA AVE.                                                                                       VANDALIA         OH   45377‐1846
ALLEN, CRAIG B             604 WAREHAM RD                                                                                       PLYMOUTH         MA   02360‐3261
ALLEN, CRAIG C             11533 TORREY RD                                                                                      FENTON           MI   48430‐9631
ALLEN, CRAIG P             1340 GULF BLVD APT 10B                                                                               CLEARWATER       FL   33767‐2811
ALLEN, CRAIG S             2760 BUENA VISTA DR                                                                                  HIGHLAND         MI   48356‐1900
ALLEN, CREOLA D            4121 KIMBERLY DR.                                                                                    KETTERING        OH   45429‐4617
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Name                   Address1                             Address2                       Address3   Address4                City            State   Zip
ALLEN, CRIS D          1413 S WAVERLY RD                                                                                      EATON RAPIDS     MI     48827‐9714
ALLEN, CURTIS          4768 CORNISH CT                                                                                        DENVER           CO     80239‐5013
ALLEN, CURTIS          1435 GOODWOOD AVE                                                                                      BALTIMORE        MD     21221‐6015
ALLEN, CURTIS O        102 HIGHWAY 13                                                                                         EQUALITY          IL    62934‐2306
ALLEN, CYNTHIA A       3663 EAST HOWELL ROAD                                                                                  WEBBERVILLE      MI     48892‐9234
ALLEN, CYNTHIA ANN     3663 EAST HOWELL ROAD                                                                                  WEBBERVILLE      MI     48892‐9234
ALLEN, CYNTHIA ANN     2007 CHESTNUT DR                                                                                       PLEASANT HILL    MO     64080‐1183
ALLEN, CYNTHIA ANN A   2007 CHESTNUT DR                                                                                       PLEASANT HILL    MO     64080‐1183
ALLEN, D S             1122 PASS ROAD                                                                                         GULFPORT         MS     39501‐6230
ALLEN, DAISY           936 SANDERS DR                                                                                         HAMILTON         OH     45013‐1433
ALLEN, DAISY           936 SANDERS DRIVE                                                                                      HAMILTON         OH     45013‐1433
ALLEN, DAISY G         10133 LAPEER RD APT 226                                                                                DAVISON          MI     48423‐8197
ALLEN, DAISY O         521 S VERLINDEN ST                                                                                     LANSING          MI     48915‐1153
ALLEN, DALE C          1155 PAUL ST                                                                                           MOUNT MORRIS     MI     48458‐1104
ALLEN, DALE R          2517 HOME ORCHARD DR                                                                                   SPRINGFIELD      OH     45503‐2339
ALLEN, DALE S          341 ECOLS ST N APT 3                                                                                   MONMOUTH         OR     97361‐1404
ALLEN, DANIEL          19 JANA DR                                                                                             MONROE           LA     71203‐2737
ALLEN, DANIEL C        6807 NW 81ST ST APT 2                                                                                  KANSAS CITY      MO     64152
ALLEN, DANIEL E        3012 BULAH DR                                                                                          KETTERING        OH     45429‐3804
ALLEN, DANIEL L        3334 MILLS ACRES ST                                                                                    FLINT            MI     48506‐2133
ALLEN, DANIEL LEE      3334 MILLS ACRES ST                                                                                    FLINT            MI     48506‐2133
ALLEN, DANIEL O        19 JANA DR                                                                                             MONROE           LA     71203‐2737
ALLEN, DANIEL R        111 FAR SIDE WAY                                                                                       WAYNESVILLE      NC     28786‐7114
ALLEN, DANIEL T        391 HILLCREST DR                                                                                       LAKE             MI     48632‐9070
ALLEN, DANNY C         132 CHATHAM DR                                                                                         AURORA           OH     44202‐8807
ALLEN, DANNY J         688 LONESOME RD                                                                                        WEST UNION       OH     45693‐8957
ALLEN, DAPHINE M       103 OAKLEAF ST                                                                                         MCLOUD           OK     74851‐7902
ALLEN, DARCI J         PO BOX 544                                                                                             LADY LAKE        FL     32158‐0544
ALLEN, DARCI J         PO BOX 446                                                                                             OXFORD           FL     34484‐0446
ALLEN, DAROLD C        1758 DUMONT DR                                                                                         MINERAL RIDGE    OH     44440‐9508
ALLEN, DAROLD G        503 S JEFFERSON AVE                                                                                    SAGINAW          MI     48607‐1131
ALLEN, DARRELL E       3629 BRUMBAUGH BLVD                                                                                    DAYTON           OH     45416‐1326
ALLEN, DARRELL E       2032 W 1100 S                                                                                          PENDLETON        IN     46064‐9415
ALLEN, DARRELL L       9770 W CARTER RD                                                                                       SAINT HELEN      MI     48656‐9503
ALLEN, DARRELL R       6334 LESOURDSVILLE WEST CHESTER RD                                                                     LIBERTY TWP      OH     45011‐8416

ALLEN, DARWIN E        512 HANNA ST                                                                                           BIRMINGHAM       MI     48009‐1616
ALLEN, DAVID           UNTERE VORSTADT 9                    71063 SINDELFINGEN, GERMANY               SINDELFINGEN GERMANY
ALLEN, DAVID           211 WAVERLEY AVE                                                                                       ROYAL OAK       MI      48067‐1336
ALLEN, DAVID           BEVAN & ASSOCIATES                   10360 NORTHFIELD ROAD, BEVAN                                      NORTHFIELD      OH      44067
                                                            PROFESSIONAL BLDG
ALLEN, DAVID B         3931 N OAK ST                                                                                          METAMORA        MI      48455‐9769
ALLEN, DAVID B         2021 E FRANKLIN DR 1D                                                                                  CANTON          MI      48187
ALLEN, DAVID C         PO BOX 405                                                                                             MAYVILLE        MI      48744‐0405
ALLEN, DAVID D         5104 RAY RD                                                                                            LINDEN          MI      48451‐9460
ALLEN, DAVID DEAN      5104 RAY RD                                                                                            LINDEN          MI      48451‐9460
ALLEN, DAVID E         402 LIBERTY DR                                                                                         SMYRNA          TN      37167‐5299
ALLEN, DAVID E         121 TOWER ST                                                                                           LANDENBERG      PA      19350‐8311
ALLEN, DAVID E         5149 WYNDEMERE SQ                                                                                      SWARTZ CREEK    MI      48473
ALLEN, DAVID G         2093 FARNSWORTH RD                                                                                     LAPEER          MI      48446‐8729
ALLEN, DAVID G         2275 SPAHR RD                                                                                          XENIA           OH      45385‐9315
ALLEN, DAVID J         706 NEUBERT AVE                                                                                        FLINT           MI      48507‐1719
ALLEN, DAVID J         6145 WOODSDALE DR                                                                                      GRAND BLANC     MI      48439‐8527
ALLEN, DAVID J         1671 MCMILLAN STREET                                                                                   MEMPHIS         TN      38106‐5517
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Name                     Address1                        Address2               Address3         Address4               City                State   Zip
ALLEN, DAVID L           3802 PIUTE DR SW                                                                               GRANDVILLE           MI     49418‐2471
ALLEN, DAVID L           2807 BRENTWOOD DR                                                                              ANDERSON             IN     46011‐4044
ALLEN, DAVID LEE         2807 BRENTWOOD DR                                                                              ANDERSON             IN     46011‐4044
ALLEN, DAVID M           1994 BRIARFIELD ST                                                                             CANTON               MI     48188‐1815
ALLEN, DAVID M           4441 NICHOLS RD                                                                                SWARTZ CREEK         MI     48473‐8511
ALLEN, DAVID M           4217 GRANTLEY RD                                                                               TOLEDO               OH     43613‐3735
ALLEN, DAVID N           3326 W 700 N                                                                                   ANDERSON             IN     46011‐9236
ALLEN, DAVID P           1320 OBERON WAY                                                                                MC LEAN              VA     22102‐2739
ALLEN, DAVID R           4685 HIGHWAY 52 E                                                                              LAFAYETTE            TN     37083‐3968
ALLEN, DAVID S.          8280 PATTERSON RD                                                                              COLLEGE GROVE        TN     37046‐9115
ALLEN, DAVID T           739 MOUNT CLAIR AVE                                                                            DAYTON               OH     45408‐1535
ALLEN, DAVID T           554 CLEOPHUS PKWY                                                                              LINCOLN PARK         MI     48146‐2648
ALLEN, DAVID W           15 NYCH RD                                                                                     NEW WILMINGTON       PA     16142‐2227

ALLEN, DAVID W           10444 SAN ANSELMO AVE                                                                          SOUTH GATE          CA      90280‐5629
ALLEN, DAVID W           6061 BIRCHVIEW DR                                                                              SAGINAW             MI      48609‐7002
ALLEN, DAVID W.          318 LA REATA CT                                                                                CEDAR HILL          TX      75104‐6722
ALLEN, DEAN S            PO BOX 700047                                                                                  SAN ANTONIO         TX      78270‐0047
ALLEN, DEBORAH A         3715 SEASONS TRL NE                                                                            KALKASKA            MI      49646
ALLEN, DEBORAH J         12181 REGENCY RUN CT APT 8                                                                     CINCINNATI          OH      45240‐1066
ALLEN, DEBORAH L         163 SARAH LN                                                                                   FARMERVILLE         LA      71241‐5205
ALLEN, DEBRA A           1335 KUMLER AVE                                                                                DAYTON              OH      45406
ALLEN, DEBRA R           2350 MELODY LN                                                                                 BURTON              MI      48509‐1158
ALLEN, DELIN             C/O EDWARD O MOODY PA           801 WEST 4TH STREET                                            LITTLE ROCK         AR      72201
ALLEN, DELIN             MOODY EDWARD O                  801 W 4TH ST                                                   LITTLE ROCK         AR      72201‐2107
ALLEN, DELORIS C         2033 HAMPSTEAD ROAD                                                                            CLEVELAND HEIGHTS   OH      44118‐2506

ALLEN, DEMETRIUS A       3706 WISNER ST                                                                                 FLINT               MI      48504‐2159
ALLEN, DENICE A          3012 SALENA ST                                                                                 SAINT LOUIS         MO      63118‐1702
ALLEN, DENICE A          3012 SALENA STREET                                                                             SAINT LOUIS         MO      63118‐1702
ALLEN, DENISE M          4073 SPLIT RAIL LN                                                                             FENTON              MI      48430‐9116
ALLEN, DENISE M          5002 AUDREY CIR #E103                                                                          INDIANAPOLIS        IN      46254‐1738
ALLEN, DENISE MARIE      4073 SPLIT RAIL LN                                                                             FENTON              MI      48430‐9116
ALLEN, DENNIS            3331 SAYRE CT                                                                                  BURTON              MI      48519‐1066
ALLEN, DENNIS B          509 CONRAD RD                                                                                  STANDISH            MI      48658‐9666
ALLEN, DENNIS B          5545 OAK HILL DR NW                                                                            WARREN              OH      44481‐9019
ALLEN, DENNIS D          3380 OLEANDER DR                                                                               HERNANDO BEACH      FL      34607‐3519

ALLEN, DENNIS D          2761 BRUSH CT                                                                                  CASTLE ROCK         CO      80108‐8482
ALLEN, DENNIS E          49765 MARTZ RD                                                                                 BELLEVILLE          MI      48111‐2541
ALLEN, DENNIS E          26724 ROSEMARY LN                                                                              LAWTON              MI      49065‐9248
ALLEN, DENNIS EDWARD     49765 MARTZ RD                                                                                 BELLEVILLE          MI      48111‐2541
ALLEN, DENNIS L          2651 S 400 E                                                                                   KOKOMO              IN      46902‐9349
ALLEN, DENNIS L          6037 ELMOOR DR                                                                                 TROY                MI      48098‐1820
ALLEN, DENNIS L          10990 DAYTON CINCINNATI PIKE                                                                   MIAMISBURG          OH      45342‐6238
ALLEN, DENNIS V          1250 CESAR E CHAVEZ AVE                                                                        PONTIAC             MI      48340
ALLEN, DENSIL            101 COUNTRY CLUB DRIVE          APT 613                                                        MARSHALL            TX      75672
ALLEN, DENSIL            101 COUNTRY CLUB DR APT 613                                                                    MARSHALL            TX      75672‐5879
ALLEN, DERBERT D         4410 BRIAR RIDGE DR                                                                            SHREVEPORT          LA      71119‐8422
ALLEN, DERBERT DEWAYNE   4410 BRIAR RIDGE DR                                                                            SHREVEPORT          LA      71119‐8422
ALLEN, DEREK D           PO BOX 26069                                                                                   DAYTON              OH      45426‐0069
ALLEN, DERRICK R         9664 AMERICAN ST                                                                               DETROIT             MI      48204‐2035
ALLEN, DEWAYNE D         4410 BRIAR RIDGE DR                                                                            SHREVEPORT          LA      71119‐8422
ALLEN, DEWEY L           3517 MAYFLOWER DR                                                                              INDIANAPOLIS        IN      46221‐2341
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Name                   Address1                         Address2                       Address3   Address4               City              State   Zip
ALLEN, DIANA L         244 5TH AVE                                                                                       MANSFIELD          OH     44905‐2415
ALLEN, DIANE           3555 CEDAR CREEK DR APT 502                                                                       SHREVEPORT         LA     71118‐2348
ALLEN, DIANE           22800 LAKE WAY                                                                                    FARMINGTON         MI     48336‐3210
ALLEN, DIANE B         2161 COLLEGE DR                                                                                   GLENDALE HTS        IL    60139‐1717
ALLEN, DIANE E         4435 THORNTREE DR                                                                                 BURTON             MI     48509‐1224
ALLEN, DIANE M         312 RIVERBEND DRIVE                                                                               FRANKLIN           TN     37064‐5549
ALLEN, DIANNA J        11187 TUGGLE RD                                                                                   LAUREL             IN     47024‐9633
ALLEN, DIONNE          4606 SAINT JOHNS AVE                                                                              DAYTON             OH     45406‐2333
ALLEN, DIRIK E         PO BOX 4061                                                                                       AUBURN HILLS       MI     48321
ALLEN, DON A           4512 BURKE RD                                                                                     FORT WORTH         TX     76119‐4022
ALLEN, DON C           426 S LESLIE ST                                                                                   INDEPENDENCE       MO     64050‐4033
ALLEN, DON E           777 LEINSTER RD                                                                                   ROCHESTER HILLS    MI     48309‐2424
ALLEN, DON R           256 SHELLS END PL                                                                                 COCOA              FL     32926‐2580
ALLEN, DON ROBERT      256 SHELLS END PL                                                                                 COCOA              FL     32926‐2580
ALLEN, DONALD          510 S PARK ST                                                                                     DETROIT            MI     48215‐4109
ALLEN, DONALD          BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD, BEVAN                                     NORTHFIELD         OH     44067
                                                        PROFESSIONAL BLDG
ALLEN, DONALD A        11366 WILSON RD                                                                                   OTISVILLE         MI      48463‐9733
ALLEN, DONALD ALBERT   11366 WILSON RD                                                                                   OTISVILLE         MI      48463‐9733
ALLEN, DONALD D        35517 79TH AVE                                                                                    LAWTON            MI      49065‐9424
ALLEN, DONALD D        9309 BRISTOL RD                                                                                   SWARTZ CREEK      MI      48473‐8559
ALLEN, DONALD E        ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET, ONE                                        BALTIMORE         MD      21202
                                                        CHARLES CENTER 22ND FLOOR
ALLEN, DONALD E        530 N ALBERT PIKE AVE APT N57                                                                     FORT SMITH         AR     72903‐1961
ALLEN, DONALD E        1745 6TH ST                                                                                       MARYSVILLE         MI     48040‐2206
ALLEN, DONALD EUGENE   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                      NORFOLK            VA     23510‐2212
                                                        STREET, SUITE 600
ALLEN, DONALD F        3314 PATRICIA ELLEN DR                                                                            MEMPHIS           TN      38133‐3821
ALLEN, DONALD F        31857 HIGHWAY AA                                                                                  ARGYLE            MO      65001‐2025
ALLEN, DONALD F        1444 HARDISON RD                                                                                  COLUMBIA          TN      38401‐1351
ALLEN, DONALD J        42 W 1400 N                                                                                       ALEXANDRIA        IN      46001‐8938
ALLEN, DONALD J        PO BOX 674                                                                                        NORTH LIMA        OH      44452‐0674
ALLEN, DONALD J        1945 VANDECARR RD                                                                                 OWOSSO            MI      48867‐9140
ALLEN, DONALD L        15625 CURTIS ST                                                                                   DETROIT           MI      48235‐3133
ALLEN, DONALD M        7064 TIMBERVIEW TRL                                                                               W BLOOMFIELD      MI      48322‐3352
ALLEN, DONALD M        1626 PROGRESS AVE                                                                                 LINCOLN PARK      MI      48146‐3260
ALLEN, DONALD R        1035 STEWART AVE                                                                                  XENIA             OH      45385‐2647
ALLEN, DONALD R        4077 W MIDDLETOWN RD                                                                              CANFIELD          OH      44406‐9493
ALLEN, DONALD R        1026 DRAKE CT                                                                                     MIAMISBURG        OH      45342‐2079
ALLEN, DONALD R        2710 S A ST                                                                                       ELWOOD            IN      46036‐2219
ALLEN, DONALD RAY      HARBOUR KENLEY BOYLAND SMITH &   PO BOX 2072                                                      LONGVIEW          TX      75606‐2072
                       HARRIS
ALLEN, DONALD W        345 W COUNTY ROAD 1000 S                                                                          CLAYTON           IN      46118‐9270
ALLEN, DONALD W        8178 GRAND RIVER TRL                                                                              PORTLAND          MI      48875‐9402
ALLEN, DONNA D         3122 S 201ST EAST AVE                                                                             BROKEN ARROW      OK      74014
ALLEN, DONNA E         758 ASBURY WAY                                                                                    LITHONIA          GA      30058‐2918
ALLEN, DONNA F         3645 WOODS RD                                                                                     LESLIE            MI      49251‐9546
ALLEN, DONNA R         PO BOX 232                                                                                        GLADWIN           MI      48624‐0232
ALLEN, DONNA V         3236 BAYSHORE PKWY                                                                                ARNOLD            MO      63010‐4010
ALLEN, DONNIE R        GENERAL DELIVERY                                                                                  PINSONFORK        KY      41555‐9999
ALLEN, DONNY G         2211 NEW SIGHT DR NE                                                                              BROOKHAVEN        MS      39601‐2097
ALLEN, DORA M          5 ESSEX LN                                                                                        EWING             NJ      08628‐2237
ALLEN, DORINE          47145 VICTORIAN SQUARE NORTH                                                                      CANTON            MI      48188‐6323
ALLEN, DORIS A         PO BOX 173                                                                                        SMITHS GROVE      KY      42171‐0173
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Name                    Address1                       Address2              Address3         Address4               City            State   Zip
ALLEN, DORIS A.         1475 FLAMINGO DR. #388                                                                       ENGLEWOOD        FL     34224‐4661
ALLEN, DORIS I          320 N 4TH ST                                                                                 IRONTON          OH     45638‐1404
ALLEN, DORIS I          320 NORTH 4TH STREET                                                                         IRONTON          OH     45638‐1404
ALLEN, DOROTHY A        96617 DULEY CREEK RD                                                                         BROOKINGS        OR     97415‐9160
ALLEN, DOROTHY F        835 RIVERVIEW DRIVE                                                                          LEAVITTSBURG     OH     44430‐9679
ALLEN, DORTHA L         21110 ELM CT                                                                                 WARRENTON        MO     63383‐5685
ALLEN, DOUG C           309 FORREST VALLEY DR                                                                        NASHVILLE        TN     37209‐5213
ALLEN, DOUG L           67 PONTIAC ST                                                                                OXFORD           MI     48371‐4858
ALLEN, DOUGLAS K        2304 KEEVER RD                                                                               LEBANON          OH     45036‐8806
ALLEN, DOUGLAS P        625 MIMOSA DR                                                                                MARTINSBURG      WV     25404‐0643
ALLEN, DOYLE C          20710 WESTOVER AVE                                                                           SOUTHFIELD       MI     48075‐5621
ALLEN, DREW             1538 ROCKY KNOLL LN                                                                          DACULA           GA     30019‐6755
ALLEN, DUANE D          5102 BREWER RD                                                                               LAINGSBURG       MI     48848‐8765
ALLEN, DUANE DOUGLAS    5102 BREWER RD                                                                               LAINGSBURG       MI     48848‐8765
ALLEN, DUANE E          3645 WOODS RD                                                                                LESLIE           MI     49251‐9546
ALLEN, DUANE H          11060 E LINE DR                                                                              KINGMAN          AZ     86401‐8094
ALLEN, DUANE L          2867 HOLT RD                                                                                 MASON            MI     48854‐9460
ALLEN, DUSTY A          PO BOX 1340                                                                                  SPARKS           NV     89432‐1340
ALLEN, DUSTY ANNETTE    PO BOX 1340                                                                                  SPARKS           NV     89432‐1340
ALLEN, DWAIN            5400 DOVETREE BLVD.                                                                          MORAINE          OH     45439
ALLEN, E M              145 CRESTWOOD DR                                                                             NEW WHITELAND    IN     46184‐1356
ALLEN, EARLINE F        3245 HEATHER DR                                                                              TITUSVILLE       FL     32796‐1521
ALLEN, EARNEST          535 W STEWART AVE                                                                            FLINT            MI     48505‐3207
ALLEN, ED               2313 WILLARD ST                                                                              SAGINAW          MI     48602‐3426
ALLEN, EDDIE            633 E 5TH ST                                                                                 LIMA             OH     45804‐2523
ALLEN, EDDIE B          16813 MARK TWAIN ST                                                                          DETROIT          MI     48235‐4066
ALLEN, EDDIE L          26864 W 9 MILE RD                                                                            SOUTHFIELD       MI     48034‐3407
ALLEN, EDDIE L          20835 SUNNYDALE STREET                                                                       FARMINGTN HLS    MI     48336‐5255
ALLEN, EDGAR            226 BEEKMAN AVE                                                                              SLEEPY HOLLOW    NY     10591
ALLEN, EDGAR M          1606 LYON ST                                                                                 FLINT            MI     48503‐1191
ALLEN, EDGAR R          11570 GERLAUGH RD                                                                            MEDWAY           OH     45341‐9740
ALLEN, EDNA             615 BERKLEY RD                                                                               INDIANAPOLIS     IN     46208‐3758
ALLEN, EDNA M           11210 COLLEGE                                                                                DETROIT          MI     48205‐3204
ALLEN, EDNA M           11210 COLLEGE ST                                                                             DETROIT          MI     48205‐3204
ALLEN, EDWARD           232 BLUE WINGED DR SOUTHEAST                                                                 WARREN           OH     44484‐2466
ALLEN, EDWARD E         2127 LAKESHORE DR                                                                            GLADWIN          MI     48624‐8083
ALLEN, EDWARD G         240 DEER RUN RD                                                                              TOWNSEND         DE     19734‐9711
ALLEN, EDWARD H         1760 OLT RD                                                                                  DAYTON           OH     45418‐1740
ALLEN, EDWARD J         625 HILLVIEW RD                                                                              BALTIMORE        MD     21225‐1241
ALLEN, EDWARD J         5700 BAYSHORE RD LOT 242                                                                     PALMETTO         FL     34221‐9368
ALLEN, EDWARD J         6295 HILLTOP RD                                                                              VILLA RIDGE      MO     63089‐1709
ALLEN, EDWARD L         2110 PLAZA DR W                                                                              CLIO             MI     48420‐2103
ALLEN, EDWARD L         831 VIENNA ROAD                                                                              NILES            OH     44446‐3501
ALLEN, EDWARD L         20431 SECLUDED LN                                                                            SOUTHFIELD       MI     48075‐7556
ALLEN, EDWARD L         4119 KARL RD APT 306                                                                         COLUMBUS         OH     43224‐2084
ALLEN, EDWARD L         831 VIENNA RD                                                                                NILES            OH     44446‐3501
ALLEN, EDWIN D          1351 NATURAL BRIDGE RD                                                                       HARTSELLE        AL     35640‐7128
ALLEN, EDWIN L          914 HILLSIDE DR                                                                              ANDERSON         IN     46011‐2034
ALLEN, EDWINA C         1521 CALVARY DR SW                                                                           BOGUE CHITTO     MS     39629‐8361
ALLEN, EILEEN N         1693 MEADOW LN                                                                               EAST MEADOW      NY     11554‐5017
ALLEN, EILEEN V         2425 W RIVER RD N              APT 317                                                       ELYRIA           OH     44035‐2201
ALLEN, ELAINE S         2218 NW COVE DR                                                                              BLUE SPRINGS     MO     64015‐7020
ALLEN, ELANOR L         200 GRANDMERE DR                                                                             FLINT            MI     48507‐4265
ALLEN, ELANOR LUCILLE   200 GRANDMERE DR                                                                             FLINT            MI     48507‐4265
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ALLEN, ELDON C       545 CRESCENT DR                                                                                 W JEFFERSON      OH     43162‐1007
ALLEN, ELEANOR       1860 N COOPER ST APT 38                                                                         ARLINGTON        TX     76011
ALLEN, ELEANOR M     2589 FARLEY ST                                                                                  EAST POINT       GA     30344‐2324
ALLEN, ELENER J      943 AMESBURY CT                                                                                 INDIANAPOLIS     IN     46217‐5363
ALLEN, ELIZABETH     20032 BENTLER ST                                                                                DETROIT          MI     48219‐1374
ALLEN, ELIZABETH A   8684 HARRIS DR                                                                                  N RIDGEVILLE     OH     44039‐4427
ALLEN, ELIZABETH D   221 JOE DAVIS DR                                                                                BRANDON          MS     39042‐8844
ALLEN, ELIZABETH J   631 QUAIL LN                                                                                    CADILLAC         MI     49601‐2680
ALLEN, ELIZABETH L   1606 HEMLOCK AVE                                                                                PUNTA GORDA      FL     33950‐5755
ALLEN, ELIZABETH L   34 KELLY AVE                                                                                    MIDDLEPORT       NY     14105‐1218
ALLEN, ELLA          56 SCHOEDEL AVE                                                                                 CHEEKTOWAGA      NY     14225
ALLEN, ELLA M        PO BOX 1531                                                                                     MUNCIE           IN     47308
ALLEN, ELLA M        18 WOOD COVE RD                                                                                 SCOTTSVILLE      KY     42164‐9242
ALLEN, ELLEN I       10095 ASTORIA RD                                                                                HUGGINS          MO     65484‐9216
ALLEN, ELLEN L       3060 VALLEY FARMS RD APT 312                                                                    INDIANAPOLIS     IN     46214‐1594
ALLEN, ELLEN M       1395 PARKMONT DR                                                                                ROSWELL          GA     30076‐1739
ALLEN, ELLEN S       8291 MORRISH RD                                                                                 FLUSHING         MI     48433‐8848
ALLEN, ELMYRA D      15204 GRAND SUMMIT BLVD APT 103                                                                 GRANDVIEW        MO     64030‐3388
ALLEN, ELOISE V      2610 ABERDOVEY DR                                                                               ROYAL OAK        MI     48073‐3709
ALLEN, ELSIE I.      809 E JACKSON ST                                                                                MARTINSVILLE     IN     46151‐2035
ALLEN, ELSIE J       8400 SAINT FRANCIS DR., APT 206,                                                                CENTERVILLE      OH     45458‐5458
ALLEN, EMMA L        1032 TAHOE TRL                                                                                  FLINT            MI     48532‐3565
ALLEN, EMMA S        PO BOX 103                                                                                      ORTONVILLE       MI     48462‐0103
ALLEN, ERIC R        6601 N NORTH LAKE RD                                                                            MAYVILLE         MI     48744‐9577
ALLEN, ERIC W        1138 ARROWHEAD DR                                                                               BURTON           MI     48509‐1422
ALLEN, ERMILA        11426 UPTON RD                                                                                  GRAND LEDGE      MI     48837‐9187
ALLEN, ERMILA        11426 UPTON RD.                                                                                 GRAND LEDGE      MI     48837
ALLEN, ERNEST A      3475 BENKERT RD                                                                                 SAGINAW          MI     48609‐9737
ALLEN, ERNEST C      53 CRUMLIN AVE                                                                                  GIRARD           OH     44420‐2916
ALLEN, ERNEST E      3206 W 82ND ST                                                                                  CLEVELAND        OH     44102‐4904
ALLEN, ESSIE L       103 DOE CROSSING LN                                                                             TONEY            AL     35773‐6941
ALLEN, ESTALENE D    2411 HARRIS ST                                                                                  FERNDALE         MI     48220‐3018
ALLEN, ESTELLE       25596 SHIAWASSEE RD                BLDG 35 APT 963                                              SOUTHFIELD       MI     48034‐3718
ALLEN, ESTHER        604 ELM STREET                                                                                  ADRIAN           MI     49221
ALLEN, ESTHER E      4822 N COUNTY ROAD 100 E                                                                        DANVILLE         IN     46122‐8315
ALLEN, ESTHER H      7260 RIDGE RD                      C/O FINANCIAL DEPT                                           PARMA            OH     44129‐6636
ALLEN, EUGENE        42900 LITTLE RD                                                                                 CLINTON TWP      MI     48036‐1458
ALLEN, EUGENE        1631 GEORGETOWN BOULEVARD                                                                       LANSING          MI     48911‐5429
ALLEN, EUGENE B      302 SPRUCE ST                                                                                   GARDEN CITY      MO     64747‐8384
ALLEN, EUGENE E      1790 M 33                                                                                       COMINS           MI     48619‐9619
ALLEN, EUGENE E      11148 GERALD DR                                                                                 WARREN           MI     48093‐2621
ALLEN, EUGENE F      536 GARFIELD AVE                                                                                LINCOLN PARK     MI     48146‐2810
ALLEN, EUGENE H      33134 TRAFALGAR SQ APT 7                                                                        WESTLAND         MI     48185‐4857
ALLEN, EUGENE V      162 N ECKHARDT RD                                                                               BELLAIRE         MI     49615‐9481
ALLEN, EULA M        1 CONCORD CIRCLE                                                                                DESOTO            IL    62924‐1019
ALLEN, EULA M        1 CONCORD CIR                                                                                   DE SOTO           IL    62924‐1019
ALLEN, EVA           100 HORSE CREEK RD                                                                              CELINA           TN     38551
ALLEN, EVELYN M      11835 BELL BAY RD                                                                               PRESQUE ISLE     MI     49777‐8458
ALLEN, FATRY         8431 ST MARTINS                                                                                 DETROIT          MI     48221
ALLEN, FLEURETTE S   81 FIELD ST APT#1                                                                               BRISTOL          CT     06010
ALLEN, FLORENCE      3912 ORLANDO SPRINGS DR                                                                         FORT WORTH       TX     76123‐1484
ALLEN, FLORENCE J    9400 MARGUERITE DR APT 1                                                                        PLYMOUTH         MI     48170‐3958
ALLEN, FLORENCE O    309 E. 7TH ST                                                                                   MICHIGAN CITY    IN     46360
ALLEN, FLORENE F     133 S 8TH PL                                                                                    COTTONWOOD       AZ     86325
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Name                 Address1                         Address2               Address3         Address4               City             State Zip
ALLEN, FLORENE F     133 SOUTH 8TH PLACE                                                                             COTTONWOOD        AZ 86326‐4285
ALLEN, FLORNEL       3276 WALMAR DR                                                                                  COLUMBUS          OH 43224‐3540
ALLEN, FLOYD         161 WESTHAFER RD                                                                                VANDALIA          OH 45377‐2836
ALLEN, FLOYD E       329 CLAYBURN BLVD                                                                               WATERFORD         MI 48327‐2617
ALLEN, FORREST       2637 APPLEGATE ST                                                                               INDIANAPOLIS      IN 46203‐5147
ALLEN, FRANCES E     27 ARLINGTON DR                                                                                 ROMEOVILLE         IL 60446‐1352
ALLEN, FRANCES L     1403 BRYN MAWR DR                                                                               DAYTON            OH 45406‐5902
ALLEN, FRANCES R     2737 21ST ST                                                                                    WYANDOTTE         MI 48192‐4812
ALLEN, FRANCES V     PO BOX 282                                                                                      ARAB              AL 35016‐0282
ALLEN, FRANK         21125 PARKER ST                                                                                 FARMINGTON        MI 48336‐5159
ALLEN, FRANK         2107 OBRIEN RD                                                                                  MOUNT MORRIS      MI 48458‐2639
ALLEN, FRANK B       1708 ALDER DR APT 1902                                                                          ARLINGTON         TX 76012‐2364
ALLEN, FRANK B       1801 PARKER RD APT B                                                                            ARLINGTON         TX 76012‐5919
ALLEN, FRANK H       6320 DWIGHT ST                                                                                  DEARBORN HTS      MI 48127‐3924
ALLEN, FRANK M       6257 TELEGRAPH RD APT 242                                                                       BLOOMFIELD HILLS  MI 48301
ALLEN, FRANK W       2083 W CHERRY CREEK RD                                                                          MIO               MI 48647‐9752
ALLEN, FRANK W       16 VALLEY PL APT 302                                                                            COLORADO SPRINGS CO 80903‐3237

ALLEN, FRANKIE E     3408 NORTH DR                                                                                   DAYTON            OH   45432‐2307
ALLEN, FRANKLIN      108 WESTLEY RD                                                                                  OLD BRIDGE        NJ   08857‐3561
ALLEN, FRANKLIN R    201 HALF ST                                                                                     MARTINSBURG       WV   25404‐4917
ALLEN, FRED          2046 WHITTLESEY ST                                                                              FLINT             MI   48503‐4349
ALLEN, FRED          PO BOX 2906                                                                                     WEATHERFORD       TX   76086‐6906
ALLEN, FRED L        16336 HARDEN CIR                                                                                SOUTHFIELD        MI   48075‐3067
ALLEN, FREDDIE E     1837 WINDSOR DR SW                                                                              ATLANTA           GA   30311‐4411
ALLEN, FREDERICK D
ALLEN, FREDERICK J   139 CAWLEY RD                                                                                   MORENCI           MI   49256‐1303
ALLEN, FREDERICK T   671 S OLDEN AVE                                                                                 TRENTON           NJ   08629‐2107
ALLEN, FREDRICK D    3125 MAIN ST RD                                                                                 STANDISH          MI   48659‐9736
ALLEN, G C           PO BOX 1064                                                                                     NEW BRITAIN       CT   06050‐1064
ALLEN, G W           125 LEAMINGTON CIR                                                                              ROCHESTER         NY   14626‐4478
ALLEN, GAIL          3704 W HOWELL RD                                                                                MASON             MI   48854‐9588
ALLEN, GAIL ANN      1507 WEST 9TH STREET                                                                            MUNCIE            IN   47302‐2120
ALLEN, GAIL D        9785 TOBACCO DR                                                                                 CLARE             MI   48617‐9623
ALLEN, GAIL F        11640 BAIN SCHOOL RD                                                                            MINT HILL         NC   28227‐9507
ALLEN, GAIL W        51000 MOTT RD TRLR 171                                                                          CANTON            MI   48188‐2151
ALLEN, GAIL Y        6440 E COLDWATER RD                                                                             FLINT             MI   48506‐1216
ALLEN, GALEN E       20 RANKIN RD                                                                                    NEWARK            DE   19711‐4851
ALLEN, GARETH        SIMMONS FIRM                     PO BOX 521                                                     EAST ALTON        IL   62024‐0519
ALLEN, GARNER M      7306 TWIN RIDGE DR                                                                              CEDAR HILL        MO   63016‐3815
ALLEN, GARY          BRAYTON PURCELL                  PO BOX 6169                                                    NOVATO            CA   94948‐6169
ALLEN, GARY A        4079 BROADWAY                                                                                   GROVE CITY        OH   43123‐3060
ALLEN, GARY C        5155 KRISTAN DR                                                                                 STOCKBRIDGE       MI   49285‐9667
ALLEN, GARY D        179 RAMSEY LANE                                                                                 COOKVILLE         TN   38501‐9116
ALLEN, GARY D        179 RAMSEY LN                                                                                   COOKEVILLE        TN   38501‐9116
ALLEN, GARY E        41089 COUNTY ROAD 111                                                                           CAMPBELL          MO   63933‐9275
ALLEN, GARY G        PO BOX 143                                                                                      HILHAM            TN   38568‐0143
ALLEN, GARY I        7527 MOUNT MORIAH RD                                                                            NINEVEH           IN   46164‐9473
ALLEN, GARY L        12026 EAGLE CREEK PL                                                                            FORT WAYNE        IN   46814‐3258
ALLEN, GARY L        5597 E 600S                                                                                     GREENCASTLE       IN   46135
ALLEN, GARY L        86 RANCH ACRES                                                                                  ARDMORE           OK   73401‐9276
ALLEN, GARY S        7901 N ANITA AVE                                                                                KANSAS CITY       MO   64151‐1212
ALLEN, GARY S        502 WOODLARK DR                                                                                 GALESBURG         MI   49053‐9610
ALLEN, GARY W        201 OXFORD DR                                                                                   FRANKLIN          TN   37064‐2131
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Name                      Address1                        Address2                        Address3   Address4               City               State   Zip
ALLEN, GARY W             425 NE 28TH ST                                                                                    GRAND PRAIRIE       TX     75050‐4325
ALLEN, GARY W             2794 DENVER DR                                                                                    POLAND              OH     44514‐2429
ALLEN, GARY W             928 LAGUNA ST                                                                                     KOKOMO              IN     46902‐2334
ALLEN, GARY W             216 LEE ST                                                                                        EATON RAPIDS        MI     48827‐1726
ALLEN, GARY WAYNE         2794 DENVER DR                                                                                    POLAND              OH     44514‐2429
ALLEN, GAYLAND E          16143 1/2 KNOBHILL DR                                                                             LINDEN              MI     48451‐8786
ALLEN, GENEVA             PO BOX 6083                                                                                       CINCINNATI          OH     45206‐0083
ALLEN, GEORGE             1319 WEST 10TH STREET                                                                             ANDERSON            IN     46016‐2915
ALLEN, GEORGE A           GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                       NORFOLK             VA     23510‐2212
                                                          STREET, SUITE 600
ALLEN, GEORGE D           1716 GRANDVIEW DR                                                                                 ROCHESTER HILLS    MI      48306‐3132
ALLEN, GEORGE E           802 BARN SWALLOW LN                                                                               MILAN              MI      48160‐1570
ALLEN, GEORGE ELLIS       802 BARN SWALLOW LN                                                                               MILAN              MI      48160‐1570
ALLEN, GEORGE H           8920 BRIARBROOK DR NE                                                                             WARREN             OH      44484‐1741
ALLEN, GEORGE L           794 VIRGINIA DR NW                                                                                WARREN             OH      44483‐1654
ALLEN, GEORGE T           121 NORTH BENTLEY AVENUE                                                                          NILES              OH      44446‐5201
ALLEN, GEORGE W           PO BOX 3035                                                                                       KINGSPORT          TN      37664
ALLEN, GEORGIA            4945 TODD RD                                                                                      FRANKLIN           OH      45005‐5035
ALLEN, GEORGIA A          75 SANDRA LN                                                                                      PARIS              KY      40361‐8862
ALLEN, GERALD             1677 STATE ROUTE 571                                                                              GREENVILLE         OH      45331‐9432
ALLEN, GERALD C           9314 ROBINWOOD DR                                                                                 GRAND BLANC        MI      48439‐9506
ALLEN, GERALD CHARLES     9314 ROBINWOOD DR                                                                                 GRAND BLANC        MI      48439‐9506
ALLEN, GERALD D           3218 INDIAN RIPPLE RD OFC                                                                         DAYTON             OH      45440‐3642
ALLEN, GERALD D           2004 NE ADAMS DAIRY RD                                                                            BLUE SPRINGS       MO      64014‐1804
ALLEN, GERALD E           WEITZ & LUXENBERG               180 MAIDEN LANE                                                   NEW YORK           NY      10038
ALLEN, GERALD F           172 OLDBURY DR                                                                                    WILMINGTON         DE      19808‐1435
ALLEN, GERALD F           5180 LAUREL HALL DR                                                                               INDIANAPOLIS       IN      46226‐2229
ALLEN, GERALD K           232 LINDAWOOD LN                                                                                  WAYZATA            MN      55391
ALLEN, GERALD L           5 HOBNAIL DR                                                                                      NORTH FORT MYERS   FL      33903‐6944

ALLEN, GERALD M           4300 CLAIR DR                                                                                     SOUTH LYON         MI      48178‐9633
ALLEN, GERALD MARTIN      4300 CLAIR DR                                                                                     SOUTH LYON         MI      48178‐9633
ALLEN, GERALD P           2244 W COLDWATER RD                                                                               FLINT              MI      48505‐4806
ALLEN, GERALD W           1245 RIVIERA DR                                                                                   FLINT              MI      48507
ALLEN, GERALDINE          14225 ARCHDALE ST                                                                                 DETROIT            MI      48227‐1373
ALLEN, GERALDINE D        279 BENITA AVE                                                                                    YOUNGSTOWN         OH      44504‐1861
ALLEN, GERALDINE DENISE   279 BENITA AVE                                                                                    YOUNGSTOWN         OH      44504‐1861
ALLEN, GERALDINE F        27621 MARILYN                                                                                     WARREN             MI      48093‐4605
ALLEN, GERALDINE F        27621 MARILYN DR                                                                                  WARREN             MI      48093‐4605
ALLEN, GERALDINE G        1026 DRAKE CT                                                                                     MIAMISBURG         OH      45342‐2079
ALLEN, GERALDINE M        8150 S GRAYLING RD                                                                                GRAYLING           MI      49738
ALLEN, GERRY L            136 RACE ST                                                                                       FREEPORT           MI      49325‐9641
ALLEN, GIL W              4701 FOXFIRE WAY                                                                                  FORT WORTH         TX      76133‐6120
ALLEN, GIL WHITNEY        4701 FOXFIRE WAY                                                                                  FORT WORTH         TX      76133‐6120
ALLEN, GLADYS HEAD        2216 WESTMEAD DR SW                                                                               DECATUR            AL      35603‐1047
ALLEN, GLEN               GAVIN WILLIAM P                 23 PUBLIC SQ STE 415                                              BELLEVILLE         IL      62220‐1627
ALLEN, GLEN A             14176 WARWICK ST                                                                                  DETROIT            MI      48223‐2951
ALLEN, GLENDA K           2623 N 158TH ST                                                                                   BASEHOR            KS      66007‐9232
ALLEN, GLENDA KAY         2623 N 158TH ST                                                                                   BASEHOR            KS      66007‐9232
ALLEN, GLENN A            PO BOX 2096                                                                                       WEST MONROE        LA      71294‐2096
ALLEN, GLENN ANDREW       BARON & BUDD                    3102 OAK LANE AVE, SUITE 1100                                     DALLAS             TX      75219
ALLEN, GLENN ANDREW       DIMOS BROWN ERSKINE BURKETT &   1216 STUBBS AVE                                                   MONROE             LA      71201‐5622
                          GARNER LLP
ALLEN, GLENN ANDREW       BARON & BUDD PC                 9015 BLUEBONNET BLVD                                              BATON ROUGE         LA     70810‐2812
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ALLEN, GLENN D          PO BOX 35                                                                                         SOUTH LEBANON       OH 45065‐0035
ALLEN, GLENN E          GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                       NORFOLK             VA 23510‐2212
                                                        STREET, SUITE 600
ALLEN, GLORIA A         19231 NORTHROP ST                                                                                 DETROIT            MI   48219‐1856
ALLEN, GLORIA D         1851 KIPLING DR                                                                                   DAYTON             OH   45406‐3917
ALLEN, GLORIA D         124 RIVERMONT CT                                                                                  SHEFFIELD          AL   35660‐6835
ALLEN, GLORIA J         1919 W MARTIN L. KING JR BLVD   APT 7                                                             LOS ANGELES        CA   90062
ALLEN, GLORIA L         36 SANDALWOOD CT                                                                                  ATTICA             MI   48412‐9104
ALLEN, GORDON S         42015 SCHOENHERR RD                                                                               STERLING HTS       MI   48313‐3453
ALLEN, GRACE A          1805 CORNWALL RD                                                                                  BIRMINGHAM         AL   35226‐2611
ALLEN, GRACE E          7223 WILSON RD                                                                                    OTISVILLE          MI   48463‐9426
ALLEN, GRACE E          7223 E WILSON RD                                                                                  OTISVILLE          MI   48463‐9426
ALLEN, GRACEMARY        1199 COPPERWOOD DR                                                                                BLOOMFIELD HILLS   MI   48302‐1929
ALLEN, GRADY            9267 WESTVIEW DR SW                                                                               COVINGTON          GA   30014‐3005
ALLEN, GRADY R          7944 COVENTRY CT                                                                                  JONESBORO          GA   30238‐2104
ALLEN, GREG M           171 N ARDMORE AVE                                                                                 DAYTON             OH   45417‐2203
ALLEN, GREGORY L        6899 ESSEX DR                                                                                     TECUMSEH           MI   49286‐7512
ALLEN, GREGORY T        2814 HOOD ST SW                                                                                   WARREN             OH   44481‐8617
ALLEN, GUYLENE J        5300 12TH ST SOUTH APT 212 A                                                                      FARGO              ND   58104‐6427
ALLEN, GUYLENE J        5300 12TH ST S APT 212                                                                            FARGO              ND   58104‐6427
ALLEN, GWENDOLYN DIAN   27406 PIERCE ST                                                                                   SOUTHFIELD         MI   48076‐7409
ALLEN, GWENDOLYN DIAN   27406 PIERCE                                                                                      SOUTHFIELD         MI   48076‐7409
ALLEN, HARLEY J         432 E OAK ST                                                                                      MASON              MI   48854‐1781
ALLEN, HAROLD C         7321 NEFF RD                                                                                      MOUNT MORRIS       MI   48458‐1821
ALLEN, HAROLD D         616 E OXHILL DR                                                                                   WHITE LAKE         MI   48386‐2338
ALLEN, HAROLD E         16720 STATE ROUTE 125                                                                             WEST UNION         OH   45693‐8902
ALLEN, HAROLD E         16720 ST RT 125                                                                                   WEST UNION         OH   45693‐8902
ALLEN, HAROLD G         4557 S 44TH ST                                                                                    CLIMAX             MI   49034‐9702
ALLEN, HAROLD L         3185 URSULA ST                                                                                    AURORA             CO   80011‐2010
ALLEN, HAROLD L         PO BOX 370891                                                                                     DECATUR            GA   30037‐0891
ALLEN, HAROLD L         2764 SHAKERTOWN RD                                                                                BEAVERCREEK        OH   45434‐6114
ALLEN, HARRIS           116 LAKE SHORE RD APT 1                                                                           BRIGHTON           MA   02135‐6312
ALLEN, HARRY J          704 FRASER ST                                                                                     SAGINAW            MI   48602‐1380
ALLEN, HARRY J          13042 SONOMA RD                                                                                   BATTLE CREEK       MI   49015‐9328
ALLEN, HAZEL J          5311 STAUGHTON DR                                                                                 INDIANAPOLIS       IN   46226‐2255
ALLEN, HEATHER J        2126 BRUCE AVE                                                                                    LANSING            MI   48915‐1167
ALLEN, HELEN            2817 MINERAL SPRINGS RD                                                                           BOYDTON            VA   23917‐4440
ALLEN, HELEN E          1920 DELANCEY DR                                                                                  NORMAN             OK   73071‐3817
ALLEN, HELEN F          3300 WEST 44 ST                                                                                   CLEVELAND          OH   44109‐1074
ALLEN, HELEN I          1401 E TUCKER BLVD                                                                                ARLINGTON          TX   76010‐5939
ALLEN, HELEN M          4369 ISABELLE ST                                                                                  INKSTER            MI   48141‐2147
ALLEN, HENDERSON H      900 W SUNSET DR APT 415                                                                           GLENWOOD           IL   60425‐1157
ALLEN, HERBERT          637 S ST                                                                                          BEDFORD            IN   47421‐1915
ALLEN, HERBERT          18106 LUMPKIN ST                                                                                  DETROIT            MI   48234‐1286
ALLEN, HERBERT          BARON & BUDD                    3102 OAK LANE AVE, SUITE 1100                                     DALLAS             TX   75219
ALLEN, HERBERT L        1214 E 340TH ST                                                                                   EASTLAKE           OH   44095‐3006
ALLEN, HERMAN D         12802 DEACONS PL                                                                                  LAKEWOOD RANCH     FL   34202‐5024

ALLEN, HERMAN W         7880 BARNSBURY RD                                                                                 WEST BLOOMFIELD    MI   48324‐3618

ALLEN, HERON            4 TALOS WAY                                                                                       ROCHESTER          NY   14624‐5801
ALLEN, HEZ              818 PANGBURN ST                                                                                   GRAND PRAIRIE      TX   75051‐2616
ALLEN, HORACE           C/O MOODY                       801 WEST FOURTH ST                                                LITTLE ROCK        AR   72201
ALLEN, HORACE JR        C/O EDWARD O MOODY PA           801 WEST 4TH STREET                                               LITTLE ROCK        AR   72201
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Name                        Address1                           Address2                          Address3   Address4               City               State Zip
ALLEN, HORTENSE             378 MAEDER AVE                                                                                         DAYTON              OH 45427‐1921
ALLEN, HOWARD               BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD, BEVAN                                        NORTHFIELD          OH 44067
                                                               PROFESSIONAL BLDG
ALLEN, HOWARD B             3763 N E RIVER RD S W                                                                                  NEWTON FALLS       OH   44444
ALLEN, HOWARD F             1075 YOUNGSTOWN KINGSVILLE RD NE                                                                       VIENNA             OH   44473‐9782
ALLEN, HOWARD G             3011 DALLAS ST                                                                                         SHREVEPORT         LA   71104‐3605
ALLEN, HOWARD GREER         3011 DALLAS ST                                                                                         SHREVEPORT         LA   71104‐3605
ALLEN, HUBERT P             3227 NORTHMOR DR E                                                                                     ADRIAN             MI   49221‐9147
ALLEN, HUGH C               1662 SELKIRK RD                                                                                        DAYTON             OH   45432‐3514
ALLEN, HUGH L               313 LYONS DR                                                                                           TROY               MI   48083‐1058
ALLEN, HUSHMAN              122 SOUTHLAND RD                                                                                       ALEXANDRIA         LA   71302‐9620
ALLEN, IDA D                5308 ALGONQUIN TRL                                                                                     KOKOMO             IN   46902‐5309
ALLEN, IRA                  2298 MCFEELEY PETRY RD                                                                                 NEW WESTON         OH   45348‐9602
ALLEN, IRENE                247 OLD HOPKINSVILLE HWY                                                                               CLARKSVILLE        TN   37042‐3342
ALLEN, IRENE P              970 WITSELL RD                                                                                         JACKSON            MS   39206‐3741
ALLEN, IRINE                639 SO FIFTH AVE                                                                                       MT VERNON          NY   10550‐4901
ALLEN, IVORY                2352 RUGBY ROAD                                                                                        DAYTON             OH   45406‐2126
ALLEN, IVORY                2352 RUGBY RD                                                                                          DAYTON             OH   45406‐2126
ALLEN, J D                  PO BOX 310977                                                                                          FLINT              MI   48531‐0977
ALLEN, J D                  1199 COPPERWOOD DR                                                                                     BLOOMFIELD HILLS   MI   48302‐1929
ALLEN, JACK C               18413 PELLETT DR                                                                                       FENTON             MI   48430‐8508
ALLEN, JACK D               516 N PINGREE RD                                                                                       SUMNER             MI   48889
ALLEN, JACK E               369 TANGLEWOOD CT                                                                                      ROCHESTER HILLS    MI   48309‐2222
ALLEN, JACKY E              1007 HOY AVE                                                                                           LEBANON            IN   46052‐1674
ALLEN, JACQUELINE           121 BRIGADOON BLVD                                                                                     HIGHLAND MILLS     NY   10930‐8325
ALLEN, JACQUELINE A         4420 BLACK ROCK RD APT 1                                                                               HAMPSTEAD          MD   21074‐2631
ALLEN, JACQUELINE M         2671 WESTWOOD PKWY                                                                                     FLINT              MI   48503‐4667
ALLEN, JACQUELINE SUZANNE   8070 FRANCES RD                                                                                        FLUSHING           MI   48433‐8824
ALLEN, JAMES                949 ORMEWOOD AVENUE SOUTHEAST                                                                          ATLANTA            GA   30316‐2436
ALLEN, JAMES                3670 SILSBY RD                                                                                         UNIVERSITY HT      OH   44118‐3658
ALLEN, JAMES                1621 STODDARD CT                                                                                       FRANKLIN           TN   37064‐1132
ALLEN, JAMES                3226 BURGESS ST                                                                                        FLINT              MI   48504‐2508
ALLEN, JAMES                CLIMACO LEFKOWITZ PECA WILCOX &    1228 EUCLID AVE, HALLE BLDG 9TH                                     CLEVELAND          OH   44115
                            GAROFOLI                           FL
ALLEN, JAMES                GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                         NORFOLK            VA   23510‐2212
                                                               STREET, SUITE 600
ALLEN, JAMES                PO BOX 20424                                                                                           FERNDALE           MI   48220‐0424
ALLEN, JAMES                PORTER & MALOUF PA                 4670 MCWILLIE DR                                                    JACKSON            MS   39206‐5621
ALLEN, JAMES                155 B LEZER RD                                                                                         SALISBERY          NC   28147
ALLEN, JAMES A              PO BOX 99                                                                                              LEMONT             IL   60439‐0099
ALLEN, JAMES A              39 CEMETERY RD                                                                                         EVANSVILLE         WI   53536‐1101
ALLEN, JAMES A              PO BOX 345                                                                                             MADISON            GA   30650‐0345
ALLEN, JAMES A              PO BOX 19                                                                                              LUPTON             MI   48635‐0019
ALLEN, JAMES ADAMS          PO BOX 345                                                                                             MADISON            GA   30650‐0345
ALLEN, JAMES C              2281 WALLINGFORD DR                                                                                    DECATUR            GA   30032‐6239
ALLEN, JAMES C              1336 FINGER LKS                                                                                        DAYTON             OH   45458‐3120
ALLEN, JAMES C              7501 TUCKER RD                                                                                         HOLLY              MI   48442‐8737
ALLEN, JAMES D              638 KIMBERLY APT 301‐2                                                                                 LAKE ORION         MI   48362
ALLEN, JAMES D              9776 HOLMES HWY                                                                                        EATON RAPIDS       MI   48827‐9508
ALLEN, JAMES D              20911 E 1150 RD                                                                                        PLEASANTON         KS   66075‐9258
ALLEN, JAMES D              3042 KESWICK RD                                                                                        CLEVELAND          OH   44120
ALLEN, JAMES D              7306 S SHAKER DR                                                                                       WATERFORD          MI   48327‐1034
ALLEN, JAMES E              59155 HAMILTON CIR                                                                                     WASHINGTON         MI   48094‐3948
                                                                                                                                   TOWNSHIP
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ALLEN, JAMES E         530 MONTECITO DR                                                                              PAHRUMP          NV     89048‐0870
ALLEN, JAMES E         1001 N STATE RD                APT 410                                                        DAVIDSON         MI     48423
ALLEN, JAMES E         8240 HALLE CIR                                                                                N RIDGEVILLE     OH     44039‐4200
ALLEN, JAMES E         1700 CEDARWOOD DR APT 309                                                                     FLUSHING         MI     48433‐3605
ALLEN, JAMES E         6460 MARBLE LN                                                                                FLUSHING         MI     48433‐2586
ALLEN, JAMES E         1314 MEADOW GREEN LN                                                                          LINDEN           MI     48451‐9402
ALLEN, JAMES E         6101 NW 51ST TER                                                                              KANSAS CITY      MO     64151‐3111
ALLEN, JAMES EDWARD    1314 MEADOW GREEN LN                                                                          LINDEN           MI     48451‐9402
ALLEN, JAMES F         2224 ALLENWOOD CT                                                                             MUSKEGON         MI     49442‐1477
ALLEN, JAMES F         5850 CEDARWOOD DR                                                                             LEWISBURG        OH     45338‐9783
ALLEN, JAMES G         3827 FOSTER AVE                                                                               BALTIMORE        MD     21224‐4338
ALLEN, JAMES G         449 W PLUMB LN                                                                                RENO             NV     89509‐3703
ALLEN, JAMES H         3398 S WOODLAND DR                                                                            HIGHLAND         MI     48356‐2368
ALLEN, JAMES HALFORD   GOLDENBERG, MILLER, HELLER &   PO BOX 959                                                     EDWARDSVILLE      IL    62025‐0959
                       ANTOGNOLI
ALLEN, JAMES I         25708 FILMORE ST                                                                              TAYLOR          MI      48180‐2049
ALLEN, JAMES J         1214 GEORGINA DR                                                                              YPSILANTI       MI      48198‐6314
ALLEN, JAMES K         4220 N .HOLLAND SYLVANIA       RD. APT # 216         OAKLEAF VILLAGE                          TOLEDO          OH      43623
ALLEN, JAMES K         124 W NORTH ST                                                                                ITHACA          MI      48847‐1034
ALLEN, JAMES M         1459 N SUNRISE DR                                                                             BOWLING GREEN   KY      42101‐2783
ALLEN, JAMES M         176 THOUSAND OAKS DR                                                                          TRAVERSE CITY   MI      49586‐8151
ALLEN, JAMES M         3214 SABLAIN PARKWAY DR                                                                       LANSING         MI      48910‐3430
ALLEN, JAMES M         2970 SUMAC DR                                                                                 DORAVILLE       GA      30360‐1564
ALLEN, JAMES MOSLEY    1459 N SUNRISE DR                                                                             BOWLING GREEN   KY      42101‐2783
ALLEN, JAMES O         1105 HOWE RD                                                                                  BURTON          MI      48509‐1721
ALLEN, JAMES P         321 RAWSON DR                                                                                 NEW CARLISLE    OH      45344‐1226
ALLEN, JAMES P         26721 GRANDMONT STREET                                                                        ROSEVILLE       MI      48066‐3239
ALLEN, JAMES R         5424 STRAW HAT DR                                                                             INDIANAPOLIS    IN      46237‐2054
ALLEN, JAMES R         3050 CANYON OAKS                                                                              DAVISBURG       MI      48350‐2845
ALLEN, JAMES R         2209 CRESTMONT DR.                                                                            GIRARD          OH      44420‐1166
ALLEN, JAMES R         1916 W VIA DE LA GLORIA                                                                       GREEN VALLEY    AZ      85622‐5044
ALLEN, JAMES R         7749 STOCKHOLM DR                                                                             HUBER HEIGHTS   OH      45424‐2253
ALLEN, JAMES R         10218 W 500 N                                                                                 KOKOMO          IN      46901‐8783
ALLEN, JAMES R         4435 RISKE DR APT 6                                                                           FLINT           MI      48532‐4251
ALLEN, JAMES RUSSELL   4435 RISKE DR APT 6                                                                           FLINT           MI      48532‐4251
ALLEN, JAMES S         PO BOX 331                                                                                    NEWTON FALLS    OH      44444‐0331
ALLEN, JAMES T         16501 N EL MIRAGE RD LOT 626                                                                  SURPRISE        AZ      85374‐2808
ALLEN, JAMES V         40 ELBA ST                                                                                    ROCHESTER       NY      14608‐2919
ALLEN, JAMES W         PO BOX 103                                                                                    ORTONVILLE      MI      48462‐0103
ALLEN, JAMES W         2202 LEITH ST                                                                                 FLINT           MI      48506‐2822
ALLEN, JAMES WESLEY    2202 LEITH ST                                                                                 FLINT           MI      48506‐2822
ALLEN, JANA            3018 SEERLEY CREEK CIR                                                                        INDIANAPOLIS    IN      46241‐6104
ALLEN, JANE B          103 VERNON LN                                                                                 YARDLEY         PA      19067‐7327
ALLEN, JANET G         2025 JUHL RD                                                                                  MARLETTE        MI      48453‐8996
ALLEN, JANET L         172 TRAVEL LITE DR                                                                            RALEIGH         NC      27603‐7928
ALLEN, JANICE K        28675 FRANKLIN RD              APARTMENT 425                                                  SOUTH HILL      MI      48034
ALLEN, JANICE K        28675 FRANKLIN RD APT 425                                                                     SOUTHFIELD      MI      48034‐1605
ALLEN, JANIS M         4227 MYRTLE AVE                                                                               CINCINNATI      OH      45236‐2409
ALLEN, JANITH A        806 WEIGHTMAN ST                                                                              GREENWOOD       MS      38930‐3141
ALLEN, JAPARUS         HWY 280 270 WEST                                                                              DOERUN          GA      31744
ALLEN, JASON E         1883 HOLLOW CREEK DR SE                                                                       CALEDONIA       MI      49316‐7805
ALLEN, JASON G         523 WEST END STREET                                                                           ALMA            MI      48801‐1462
ALLEN, JASON L         1104 SAYLER DR                                                                                SAGINAW         MI      48603‐1560
ALLEN, JASON L.        1104 SAYLER DR                                                                                SAGINAW         MI      48603‐1560
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Name                     Address1                        Address2                      Address3   Address4               City               State   Zip
ALLEN, JASON ROBERT      25095 FIRWOOD AVENUE                                                                            WARREN              MI     48089‐1510
ALLEN, JAY C             618 ABERDEEN WAY                                                                                SOUTHLAKE           TX     76092‐9553
ALLEN, JEAN E            4509 PEARSONS CORNER ROAD                                                                       DOVER               DE     19904
ALLEN, JEAN K            4557 S 44TH ST                                                                                  CLIMAX              MI     49034‐9702
ALLEN, JEAN M            8895 MOODY PKWY                                                                                 ODENVILLE           AL     35120‐7651
ALLEN, JEANNE S          11788 WHITE OAK DR                                                                              GARFIELD            AR     72732‐9738
ALLEN, JEFF L            500 N SARGENT AVE                                                                               GLENDIVE            MT     59330‐2633
ALLEN, JEFFERY G         457 WAYMARKET DR                                                                                ANN ARBOR           MI     48103‐6617
ALLEN, JEFFERY H         7880 BARNSBURY RD                                                                               W BLOOMFIELD        MI     48324‐3618
ALLEN, JEFFERY L         5070 HALLGARTEN DR                                                                              SPARKS              NV     89436‐8116
ALLEN, JEFFERY M         10730 ORION ST NE                                                                               ROCKFORD            MI     49341‐8640
ALLEN, JEFFERY MERRITT   10730 ORION ST NE                                                                               ROCKFORD            MI     49341‐8640
ALLEN, JEFFREY A         APT 1                           404 MULZER AVENUE                                               ADRIAN              MI     49221‐3958
ALLEN, JEFFREY H         RT 3 BOX 242 SHINKEL CHAPEL                                                                     HARTFORD            KY     42347
ALLEN, JEFFREY J         9382 EL DORADO AVENUE                                                                           KALAMAZOO           MI     49009‐6719
ALLEN, JEFFREY K         PO BOX 330971                                                                                   FORT WORTH          TX     76163‐0971
ALLEN, JEFFREY L         654 SOUTHWEST 123 AVENUE                                                                        STEINHATCHEE        FL     32359‐5007
ALLEN, JEFFREY L         654 SW 123 AVE                                                                                  STEINHATCHEE        FL     32359‐5007
ALLEN, JENNIFER E        172 TRAVEL LITE DR                                                                              RALEIGH             NC     27603‐7928
ALLEN, JEREMY L          824 HILE LN                                                                                     ENGLEWOOD           OH     45322‐1736
ALLEN, JEREMY T          29260 ROSEMONT ST                                                                               ROSEVILLE           MI     48066‐2040
ALLEN, JEROLD C          4965 COUNTY ROAD 214                                                                            KEYSTONE HEIGHTS    FL     32656‐9722

ALLEN, JERRILYNN J       6101 ARDMORE PARK ST                                                                            DEARBORN HTS        MI     48127‐3927
ALLEN, JERRY             PO BOX 2645                                                                                     BELLEVILLE          MI     48112‐2645
ALLEN, JERRY D           281 SAUL BEGLEY RD                                                                              ANNVILLE            KY     40402‐9792
ALLEN, JERRY G           572 MALLARD ST                                                                                  ROCHESTER HILLS     MI     48309‐3522
ALLEN, JERRY H           GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                     NORFOLK             VA     23510‐2212
                                                         STREET, SUITE 600
ALLEN, JERRY K           1297 E 500 N                                                                                    ANDERSON           IN      46012‐9797
ALLEN, JERRY L           2315 STARLIGHT DR                                                                               ANDERSON           IN      46012‐1945
ALLEN, JERRY L           3291 EASTGATE ST                                                                                BURTON             MI      48519‐1554
ALLEN, JERRY L           92 JOHN CT                                                                                      DANVILLE           IN      46122‐1994
ALLEN, JERRY M           4679 LIPPINCOTT RD                                                                              LAPEER             MI      48446‐7818
ALLEN, JERRY W           2875 BURKE RD                                                                                   BETHEL             OH      45106‐9505
ALLEN, JERRY W           1816 SOPHIA LN                                                                                  HINCKLEY           OH      44233‐9304
ALLEN, JERRY W           3812 E SATURN LN                                                                                ALEXANDRIA         IN      46001‐8890
ALLEN, JESSE             COON BRENT W                    PO BOX 4905                                                     BEAUMONT           TX      77704‐4905
ALLEN, JESSE             9336 S MERRILL AVE                                                                              CHICAGO            IL      60617‐3944
ALLEN, JESSE F           GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                     NORFOLK            VA      23510‐2212
                                                         STREET, SUITE 600
ALLEN, JESSE J           7888 E MAIN ST                                                                                  KALAMAZOO          MI      49048‐9538
ALLEN, JESSE J           50 BYERS DR                                                                                     QUARRYVILLE        PA      17566‐9265
ALLEN, JESSIE            256 MARBLE ST                                                                                   JOLIET             IL      60435‐6357
ALLEN, JESSIE E          6998 ST RT 307 SO BOX 50A                                                                       FULTON             KY      42041
ALLEN, JEWEL I           APT 226                         3900 HAMMERBERG ROAD                                            FLINT              MI      48507‐6025
ALLEN, JEWEL I           3900 HAMMERBERG                 APT 226                                                         FLINT              MI      48507
ALLEN, JIMMIE R          425 W GENESEE ST                                                                                FLINT              MI      48505‐6611
ALLEN, JIMMY D           956 MARKHAM ST                                                                                  FLINT              MI      48507‐2569
ALLEN, JIMMY H           156 CARLYLE CIR                                                                                 COLUMBIA           SC      29206‐3148
ALLEN, JIMMY L           807 BEACHSIDE DR                                                                                CHANDLER           TX      75758‐5140
ALLEN, JOAN              8821 TYRELL DR                                                                                  ST LOUIS           MO      63136
ALLEN, JOAN B            25321 POTOMAC DR                                                                                SOUTH LYON         MI      48178‐1081
ALLEN, JOAN M            921 LOUGHERY LN                                                                                 INDIANAPOLIS       IN      46228‐1320
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Name                  Address1                       Address2                        Address3   Address4               City               State   Zip
ALLEN, JOAN M         37420 LAKEVILLE ST                                                                               HARRISON TWP        MI     48045‐2877
ALLEN, JOANN          690 HONEY HILL RD                                                                                SEARCY              AR     72143‐9376
ALLEN, JOANN V        37543 CHARTER OAKS BLVD                                                                          CLINTON TWP         MI     48036‐2414
ALLEN, JOANNE         7404 RIVERSIDE PLACE                                                                             ORLANDO             FL     32810
ALLEN, JOANNE         97 FLORIDA ST                                                                                    BUFFALO             NY     14208‐1124
ALLEN, JOANNE T       2022 VICTORY WAY LN                                                                              SAINT LOUIS         MO     63138
ALLEN, JOANNE T       PO BOX 4104                                                                                      HAZELWOOD           MO     63042‐0704
ALLEN, JOCELYN K      22127 ABINGTON DR                                                                                FARMINGTON HILLS    MI     48335‐4309

ALLEN, JODI Y         2331 BRAHMS BLVD                                                                                 DAYTON             OH      45449‐3325
ALLEN, JODY L         APT B46                        2884 WEST BRITTON ROAD                                            PERRY              MI      48872‐9624
ALLEN, JOE            321 MERZER ST                                                                                    GROUCSTER          NJ      08030
ALLEN, JOE            321 MERCER ST                                                                                    GLOUCESTER CITY    NJ      08030‐1432
ALLEN, JOE A          2721 W 12TH ST                                                                                   ANDERSON           IN      46011‐2452
ALLEN, JOE ANN        2721 W 12TH ST                                                                                   ANDERSON           IN      46011‐2452
ALLEN, JOE E          C/O THE LIPMAN LAW FIRM        5915 PONCE DE LEON BLVD         SUITE 44                          CORAL GABLES       FL      33146
ALLEN, JOE E          MCKENNA & CHIDO                436 BOULEVARD OF THE ALLIES ‐                                     PITTSBURGH         PA      15219
                                                     SUITE 500
ALLEN, JOE L          221 DAVE BAILEY RD                                                                               FLOVILLA           GA      30216‐2207
ALLEN, JOE N          620 HADDOCK DR                                                                                   SAINT LOUIS        MO      63137‐3324
ALLEN, JOHN A         1025 HILLVIEW WAY                                                                                MEDINA             OH      44256‐1559
ALLEN, JOHN A         3094 E PRIVATE ROAD 125 N                                                                        LOGANSPORT         IN      46947‐6878
ALLEN, JOHN B         8021 W WILLOW HWY                                                                                GRAND LEDGE        MI      48837‐8993
ALLEN, JOHN C         5717 7 GABLES AVE                                                                                TROTWOOD           OH      45426‐2113
ALLEN, JOHN C         10020 W 500 N                                                                                    KOKOMO             IN      46901‐9621
ALLEN, JOHN C         712 E 1000 S                                                                                     WARREN             IN      46792‐9702
ALLEN, JOHN D         5323 OAKVIEW DR                                                                                  SWARTZ CREEK       MI      48473‐1151
ALLEN, JOHN D         3172 S DYE RD                                                                                    FLINT              MI      48507
ALLEN, JOHN D         6762 LYTLE RD                                                                                    CORUNNA            MI      48817‐9556
ALLEN, JOHN D         1042 TROTWOOD LN                                                                                 FLINT              MI      48507‐3709
ALLEN, JOHN D         191 YOUNGER RD                                                                                   BEDFORD            IN      47421‐8175
ALLEN, JOHN DOUGLAS   5323 OAKVIEW DR                                                                                  SWARTZ CREEK       MI      48473‐1151
ALLEN, JOHN E         13819 N 108TH DR                                                                                 SUN CITY           AZ      85351‐2660
ALLEN, JOHN F         16 OAK ST                                                                                        TERRYVILLE         CT      06786‐6008
ALLEN, JOHN F         C/O GAIL ALLEN                 3015 EST MEIGHAN BLVD                                             EAST GADSDEN       AL      35903
ALLEN, JOHN J         2070 GORDON LANDIS ROAD                                                                          ARCANUM            OH      45304‐8804
ALLEN, JOHN J         2147 ONA RD                                                                                      CROSSVILLE         TN      38572‐6323
ALLEN, JOHN L         935 BAKERSFIELD CRT                                                                              MIAMISBURG         OH      45342‐4264
ALLEN, JOHN L         332 N EUCLID AVE                                                                                 LAKE HELEN         FL      32744‐2403
ALLEN, JOHN L         6424 MAPLEBROOK LN                                                                               FLINT              MI      48507‐4178
ALLEN, JOHN M         900 SCHOOL ST                                                                                    COLUMBIA           TN      38401‐3111
ALLEN, JOHN M         13327 S 150 E                                                                                    KOKOMO             IN      46901‐7594
ALLEN, JOHN M         456 SOUTH RACCOON RD           APT B37                                                           AUSTINTOWN         OH      44515
ALLEN, JOHN R         3821 HIGHWAY 255 S                                                                               CLEVELAND          GA      30528
ALLEN, JOHN R         104 FOX HUNT LN                                                                                  MIDDLETOWN         DE      19709‐8995
ALLEN, JOHN R         5049 LEEDALE DR                                                                                  DAYTON             OH      45418‐2007
ALLEN, JOHN R         3362 ROLSTON RD                                                                                  FENTON             MI      48430
ALLEN, JOHN R         4103 WESTBOURNE CIR                                                                              SARASOTA           FL      34238‐3250
ALLEN, JOHN R         COON & ASSOCS BRENT            917 FRANKLIN ST STE 210                                           HOUSTON            TX      77002‐1751
ALLEN, JOHN S         733 EGGERT RD                                                                                    BUFFALO            NY      14215‐1242
ALLEN, JOHN S         8318 DONNAHA RD                                                                                  TOBACCOVILLE       NC      27050‐9460
ALLEN, JOHN W         PO BOX 109                                                                                       PECK               ID      83545‐0109
ALLEN, JOHN W         3555 CEDAR CREEK DR APT 702                                                                      SHREVEPORT         LA      71118‐2348
ALLEN, JOHN W         3777 BATH RD                                                                                     PERRY              MI      48872‐8102
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Name                        Address1                      Address2                       Address3   Address4               City            State   Zip
ALLEN, JOHN W               1633 N GRAND TRAVERSE ST                                                                       FLINT            MI     48503‐1158
ALLEN, JOHN W               1439 HILLARY LN                                                                                MASON            OH     45040
ALLEN, JOHNELL              6264 LANCASTER DR                                                                              FLINT            MI     48532‐3217
ALLEN, JOHNNIE B            8824 NATHAN DR                                                                                 SHREVEPORT       LA     71108‐5344
ALLEN, JOHNNIE M            913 W LENAWEE ST                                                                               LANSING          MI     48915
ALLEN, JOHNNY L             4802 C A PICKARD RD                                                                            MERIDIAN         MS     39301‐9120
ALLEN, JONATHAN M           1423 CUNARD RD                                                                                 COLUMBUS         OH     43227‐3256
ALLEN, JONATHAN R           32100 KNOLLWOOD DR                                                                             WARREN           MI     48092‐3814
ALLEN, JONATHAN REX         32100 KNOLLWOOD DR                                                                             WARREN           MI     48092‐3814
ALLEN, JONDRA K             8027 MILDMAY CT                                                                                CINCINNATI       OH     45239‐4034
ALLEN, JONDRA K             8259 WORCESTER DR                                                                              MAINEVILLE       OH     45039‐8915
ALLEN, JONI L               6519 CLOUD CT                                                                                  HUBER HEIGHTS    OH     45424‐7012
ALLEN, JOSEPH B             461 E 5600 S APT A                                                                             MURRAY           UT     84107‐6249
ALLEN, JOSEPH D             RR 1                                                                                           FLORA            IN     46929
ALLEN, JOSEPH D             11387 W 550 N                                                                                  FLORA            IN     46929
ALLEN, JOSEPH H             6007 N GREENVALE DR                                                                            MILTON           WI     53563‐9489
ALLEN, JOSEPH L             2971 WEATHERSTONE CIR SE                                                                       CONYERS          GA     30094‐2096
ALLEN, JOSEPH M             409 MEADOWLARK LANE                                                                            EATON            OH     45320‐1959
ALLEN, JOSEPH O             312 NORTH VISTA                                                                                AUBURN HILLS     MI     48326‐1446
ALLEN, JOSEPH R             689 HAMLET RD                                                                                  AUBURN HILLS     MI     48326‐3523
ALLEN, JOSEPH R             1307 6TH ST S                                                                                  MOORHEAD         MN     56560‐3431
ALLEN, JOSEPH R             717 LEE ST SW APT 401                                                                          ATLANTA          GA     30310‐2789
ALLEN, JOSEPH RAY‐ANTHONY   689 HAMLET RD                                                                                  AUBURN HILLS     MI     48326‐3523
ALLEN, JOSEPHINE            902 LOMITA AVE                                                                                 FLINT            MI     48505‐3578
ALLEN, JOSEPHINE A          9314 ROBIN WOOD DR                                                                             GRAND BLANC      MI     48439
ALLEN, JOSEPHINE A          9314 ROBINWOOD DR                                                                              GRAND BLANC      MI     48439‐9506
ALLEN, JOSHON               689 HAMLET RD                                                                                  AUBURN HILLS     MI     48326‐3523
ALLEN, JOSHUA A             704 FRASER ST                                                                                  SAGINAW          MI     48602‐1380
ALLEN, JOY                  KELLEY & FERRARO LLP          1300 EAST NINTH STREET, 1901                                     CLEVELAND        OH     44114
                                                          BOND COURT BUILDING
ALLEN, JOY L                1829 KIM ST                                                                                    JONESBORO       AR      72401‐1900
ALLEN, JOYCE                6230 DANA WAY                                                                                  CUMMING         GA      30040‐4298
ALLEN, JOYCE                535 GRIDER ST                                                                                  BUFFALO         NY      14215‐3034
ALLEN, JOYCE A              1213 N PINES DR                                                                                SHREVEPORT      LA      71107‐2723
ALLEN, JOYCE C              505 MILLARD ST APT 303                                                                         SAGINAW         MI      48607‐1147
ALLEN, JOYCE H              4804 NORMANDY PLACE                                                                            ORLANDO         FL      32811‐7205
ALLEN, JR,JAMES E           14427 N BRAY RD                                                                                CLIO            MI      48420‐7930
ALLEN, JR.,THOMAS N         56817 WARRIOR CT                                                                               THREE RIVERS    MI      49093‐9655
ALLEN, JUANITA              10425 ROXBURY STREET          APT F 1                                                          DETROIT         MI      48224
ALLEN, JUANITA              6140 GRAYTON                                                                                   DETROIT         MI      48224
ALLEN, JUANITA              3580 RIVERFORTH APT.91                                                                         FLINT           MI      48532
ALLEN, JUANITA M            111 JULIAN DR                                                                                  ROCKWALL        TX      75087‐4635
ALLEN, JUANITA M            111 JULIAN DR.                                                                                 ROCKWALL        TX      75087‐4635
ALLEN, JUDITH C             28675 FRANKLIN RD APT 302                                                                      SOUTHFIELD      MI      48034‐1603
ALLEN, JUDITH J             9157 SOFTWATER WOODS DR                                                                        CLARKSTON       MI      48348‐4265
ALLEN, JUDITH J             5512 PATTERSON LN                                                                              ANDERSON        IN      46017‐9568
ALLEN, JUDY A               317 MAPLE AVE                                                                                  REIDSVILLE      NC      27320‐3643
ALLEN, JUDY L               5774 KNOLL CT                                                                                  SAGINAW         MI      48603‐1607
ALLEN, JUDY S               20 STONEBRIDGE CRES                                                                            FAIRPORT        NY      14450‐4303
ALLEN, JULIE A              8633 ERNST RD                                                                                  FORT WAYNE      IN      46809‐9749
ALLEN, JUNE A               11025 SPENCER RD                                                                               SAINT CHARLES   MI      48655‐9552
ALLEN, JUNIOR               JUNIOR ALLEN                  130 VIKING DRIVE                                                 INDEPENDENCE    MO      64056
ALLEN, JUNIOR
ALLEN, JUNIOR A             1300 N VIKING DR                                                                               INDEPENDENCE    MO      64056‐1104
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Name                 Address1                         Address2               Address3         Address4               City              State   Zip
ALLEN, KALEE         601 KISSINGBOWER RD                                                                             VIDALIA            GA     30474
ALLEN, KAREN C       27142 N 128TH DR                                                                                PEORIA             AZ     85383‐2851
ALLEN, KAREN JO      207 S CASA GRANDE AVE                                                                           SPRINGFIELD        MO     65802‐5843
ALLEN, KAREN L       46341 LITCHFIELD DR 1                                                                           PLYMOUTH           MI     48170
ALLEN, KAREN M       3473 CASCINA PL UNIT D                                                                          HIGHLANDS RANCH    CO     80126‐7705

ALLEN, KAREN R       1500 SW 77TH TER                                                                                OKLAHOMA CITY     OK      73159‐5333
ALLEN, KARL G        4647 N RIVER RD                                                                                 JANESVILLE        WI      53545‐8921
ALLEN, KARON L       8670 S DURAND RD                                                                                DURAND            MI      48429‐9445
ALLEN, KARON L       S.8670 DURAND RD.                                                                               DURAND            MI      48429‐9445
ALLEN, KATHARLYN M   1011 MAGNOLIA DR                                                                                FRANKLIN          TN      37064‐2486
ALLEN, KATHLEEN      4141 SYLVANIA PETERSBURG RD                                                                     PETERSBURG        MI      49270‐9757
ALLEN, KATHLEEN B    135 WRENWOOD CT                                                                                 ENGLEWOOD         OH      45322‐2352
ALLEN, KATHLEEN B    135 WRENWOOD COURT                                                                              ENGLEWOOD         OH      45322‐2352
ALLEN, KATHLEEN F    17725 WOOD ST                                                                                   MELVINDALE        MI      48122‐1077
ALLEN, KATHLEEN L    16722 W BRIGGS RD                                                                               PIERSON           MI      49339‐9702
ALLEN, KATHLEEN L    4323 SASHABAW RD                                                                                WATERFORD         MI      48329‐1957
ALLEN, KATHLEEN M    613 S HOSMER ST                                                                                 LANSING           MI      48912
ALLEN, KATHLEEN S    1238 BLUE HAVEN WAY                                                                             GREENWOOD         IN      46143
ALLEN, KATHRYN E     18400 SAN JUAN DR                                                                               DETROIT           MI      48221‐2172
ALLEN, KATHRYN M     212 S MAIN ST                                                                                   PENNINGTON        NJ      08534‐2825
ALLEN, KATHY         1305 SHAFTESBURY ROAD                                                                           DAYTON            OH      45406‐4323
ALLEN, KATHY J       2336 BELLOAK DR                                                                                 KETTERING         OH      45440‐2008
ALLEN, KATHY L       50 LAKEVIEW DR                                                                                  SUMMERTOWN        TN      38483‐4116
ALLEN, KATHY L       1077 N BRACE RD                                                                                 SUMMERTOWN        TN      38483‐7134
ALLEN, KATIE M       4647 NORTH RIVER ROAD                                                                           JANESVILLE        WI      53545‐8921
ALLEN, KATRINA L     2349 RIDING TRAIL RD                                                                            GASTONIA          NC      28054
ALLEN, KAY           105 MCINTOSH BLUFF RD                                                                           FAIRHOPE          AL      36532‐3327
ALLEN, KAY A         508 W VAN BUREN                                                                                 ALEXANDRIA        IN      46001‐1339
ALLEN, KEITH         1036 MACK BRANCH RD                                                                             LYNNVILLE         TN      38472‐5412
ALLEN, KEITH D       2311 EAGLES NEST                                                                                BURTON            MI      48519‐1375
ALLEN, KEITH E       27 E HAMPTON DR                                                                                 AUBURNDALE        FL      33823‐5607
ALLEN, KELLEY A      318 LAKE SIDE DR                                                                                SWEDESBORO        NJ      08085‐1586
ALLEN, KELLI M       1230 OLD BOYNTON RD              APT 220                                                        BOYNTON BEACH     FL      33426‐3422
ALLEN, KELLY         2205 WANETA AVE                                                                                 MIDDLETOWN        OH      45044‐5044
ALLEN, KELLY         2205 WANETA ST                                                                                  MIDDLETOWN        OH      45044‐7761
ALLEN, KELLY M       12915 MASTIN ST                                                                                 OVERLAND PARK     KS      66213‐3134
ALLEN, KELSEY        11140 SPANNTOWN RD                                                                              ARRINGTON         TN      37014‐4905
ALLEN, KENDALL D     726 HECK AVE                                                                                    DAYTON            OH      45408‐2641
ALLEN, KENDALL E     18753 S RIVER RD                                                                                THREE RIVERS      MI      49093‐9390
ALLEN, KENNETH       1017 LAKE APOPKA CT                                                                             SAINT AUGUSTINE   FL      32092‐1046
ALLEN, KENNETH       PO BOX 121                                                                                      ARCHIBALD         LA      71218‐0121
ALLEN, KENNETH B     1532 WILLIAMSBURG LN                                                                            FRANKLIN          IN      46131‐1951
ALLEN, KENNETH C     SHANNON LAW FIRM                 100 W GALLATIN ST                                              HAZLEHURST        MS      39083‐3007
ALLEN, KENNETH C     4384 SNOW RIDGE DR 194                                                                          ELMIRA            MI      49730
ALLEN, KENNETH D     148 JUNE PL                                                                                     BROOKVILLE        OH      45309‐1536
ALLEN, KENNETH G     5415 SOUTHERN CT LOT 10                                                                         FORT WAYNE        IN      46806‐3100
ALLEN, KENNETH L     2891 HIGHWAY 455                                                                                SPARTA            KY      41086
ALLEN, KENNETH L     3105 S DYE RD                                                                                   FLINT             MI      48507‐1003
ALLEN, KENNETH LEE   3105 S DVE RD                                                                                   FLINT             MI      48507‐1003
ALLEN, KENNETH R     822 TAMMY ST SW                                                                                 DECATUR           AL      35603‐1330
ALLEN, KENNETH R     3269 TWINLEAF                                                                                   UNION LAKE        MI      48085
ALLEN, KENNETH R     2 MAEDL LN APT B                                                                                MIDDLEPORT        NY      14105‐1044
ALLEN, KENNETH R     4256 MERRIMAN LOOP 198                                                                          HOWELL            MI      48843
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Name                     Address1                          Address2              Address3        Address4               City             State   Zip
ALLEN, KENNETH S         PO BOX 121                                                                                     ARCHIBALD         LA     71218‐0121
ALLEN, KENNETH W         6133 COVENTRY DR                                                                               SWARTZ CREEK      MI     48473‐8851
ALLEN, KENNETH W         8550 MONROE RD                                                                                 DURAND            MI     48429‐1039
ALLEN, KENYETTA D        40 ASHWOOD AVE                                                                                 DAYTON            OH     45405‐2639
ALLEN, KESHIA A          6505 MARSOL RD APT 244                                                                         MAYFIELD HTS      OH     44124‐3509
ALLEN, KESHIA A          3670 SILSBY ROAD                                                                               UNIVERSITY HT     OH     44118‐3658
ALLEN, KEVIN B           77282 MCKEE ST                                                                                 LAWTON            MI     49065‐9629
ALLEN, KEVIN D           PO BOX 51                                                                                      ECKERMAN          MI     49728‐0051
ALLEN, KEVIN E           141 ARLINGTON DR                                                                               FRANKLIN          OH     45005
ALLEN, KEVIN F           5563 PARK DR                                                                                   ORCHARD LAKE      MI     48324‐3055
ALLEN, KEVIN L           PO BOX 1256                                                                                    CARMEL            IN     46082‐1256
ALLEN, KIMBERLY L        4981 RIDGE RD                                                                                  CORTLAND          OH     44410‐9730
ALLEN, KIMBERLY NICOLE   402 OLD MORGANTOWN RD APT 2E                                                                   BOWLING GREEN     KY     42101‐2871
ALLEN, KIRSTEN M         701 FIR ST                                                                                     GARDEN CITY       MO     64747‐9101
ALLEN, KYLE C            46341 LITCHFIELD DR                                                                            PLYMOUTH          MI     48170‐3540
ALLEN, KYLE L            1990 STRUTHERS RD                                                                              GRASS LAKE        MI     49240‐9696
ALLEN, KYLE LEE          1990 STRUTHERS RD                                                                              GRASS LAKE        MI     49240‐9696
ALLEN, L C               6108 SADDLEHORSE DR                                                                            FLOWERY BRANCH    GA     30542‐4906
ALLEN, LA FRENCHIE L     PO BOX 27379                                                                                   DETROIT           MI     48227‐0379
ALLEN, LARINDA           6150 W TIDWELL RD                                                                              HOUSTON           TX     77092‐2241
ALLEN, LARRY C           133 W GLASS RD                                                                                 ORTONVILLE        MI     48462‐8519
ALLEN, LARRY D           46341 LITCHFIELD DR                                                                            PLYMOUTH          MI     48170‐3540
ALLEN, LARRY D           838 E AVONDALE AVE                                                                             YOUNGSTOWN        OH     44502‐2417
ALLEN, LARRY E           911 FRANCIS DR                                                                                 ANDERSON          IN     46013‐1619
ALLEN, LARRY G           19739 SR 637 RT 5                                                                              DEFIANCE          OH     43512
ALLEN, LARRY G           LEE WILLIAM L JR                  PO BOX 14047                                                 JACKSON           MS     39236‐4047
ALLEN, LARRY J           6 DAYTON ST                                                                                    OXFORD            MI     48371‐4679
ALLEN, LARRY J           2104 14TH AVE                                                                                  MONROE            WI     53566‐2946
ALLEN, LARRY L           30261 64TH AVE                                                                                 LAWTON            MI     49065‐9407
ALLEN, LARRY L           PO BOX 6241                                                                                    EDMOND            OK     73083‐6241
ALLEN, LARRY N           6675 CAMP TANUGA RD NE                                                                         KALKASKA          MI     49646‐9522
ALLEN, LARRY P           189 APOLLO AVE                                                                                 FLUSHING          MI     48433‐9324
ALLEN, LARRY P           14541 LESLIE ST                                                                                OAK PARK          MI     48237‐1908
ALLEN, LARRY R           PO BOX 1142                                                                                    FLINT             MI     48501‐1142
ALLEN, LARRY R           3780 E SATURN LN                                                                               ALEXANDRIA        IN     46001‐8891
ALLEN, LARRY R           5645 KINGSVILLE RD.                                                                            CORTLAND          OH     44410
ALLEN, LARRY RAY         PO BOX 1142                                                                                    FLINT             MI     48501‐1142
ALLEN, LARRY S           2439 NE LOOP 410 APT 1906                                                                      SAN ANTONIO       TX     78217‐6638
ALLEN, LATASHA M
ALLEN, LATEASHA L        642 W STEWART AVE                                                                              FLINT            MI      48505‐3285
ALLEN, LAURA             5202 WOOLTON CT                                                                                ELKRIDGE         MD      21075‐5505
ALLEN, LAURA L           1505 SUNSET PLAZA DR                                                                           SANDUSKY         OH      44870
ALLEN, LAUREN            WILSON ENGSTROM CORUM & COULTER   PO BOX 71                                                    LITTLE ROCK      AR      72203‐0071

ALLEN, LAUREN            WOLFF ARDIS PC                    5810 SHELBY OAKS DR                                          MEMPHIS          TN      38134‐7315
ALLEN, LAUREN T          609 MCKINLEY AVE                                                                               FLINT            MI      48507‐2753
ALLEN, LAWRENCE D        P.O.BOX 491                                                                                    LYNCHBURG        OH      45142‐0491
ALLEN, LAWRENCE D        138 SPLIT ROCK RD                                                                              BROWNS MILLS     NJ      08015‐6542
ALLEN, LAWRENCE D        459 WOODLAND DR                                                                                WSHNGTN CT HS    OH      43160‐9690
ALLEN, LAWRENCE D        PO BOX 491                                                                                     LYNCHBURG        OH      45142‐0491
ALLEN, LAWRENCE J        7168 STATE ROUTE 219                                                                           CELINA           OH      45822‐9105
ALLEN, LAWRENCE J        539 CENTENNIAL AVE                                                                             TRENTON          NJ      08629‐2115
ALLEN, LAWRENCE J        7168 ST RT 219                                                                                 CELINA           OH      45822‐9105
ALLEN, LEDFORD           3805 1/2 W KINGSHIGHWAY                                                                        PARAGOULD        AR      72450‐2535
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Name                 Address1                       Address2                      Address3   Address4               City               State   Zip
ALLEN, LEE A         3403 WILLIAMS ST                                                                               INKSTER             MI     48141‐3606
ALLEN, LEE A         2312 VICTOR AVE                                                                                LANSING             MI     48911‐1732
ALLEN, LEE G         PO BOX 13132                                                                                   FLINT               MI     48501‐3132
ALLEN, LEE GRANT     PO BOX 13132                                                                                   FLINT               MI     48501‐3132
ALLEN, LEE H         3291 E ATHERTON RD                                                                             BURTON              MI     48529‐1005
ALLEN, LEE N         3286 BERTHA DR                                                                                 SAGINAW             MI     48601‐6961
ALLEN, LEE R         540 N HAWTHORNE DR                                                                             MIDLAND             MI     48640‐8632
ALLEN, LELAND        GUY WILLIAM S                  PO BOX 509                                                      MCCOMB              MS     39649‐0509
ALLEN, LEMUEL        122 S HOOK RD                                                                                  PENNSVILLE          NJ     08070‐2346
ALLEN, LEN N         GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                     NORFOLK             VA     23510‐2212
                                                    STREET, SUITE 600
ALLEN, LENORA B      6108 SADDLEHORSE DR                                                                            FLOWERY BRANCH     GA      30542‐4906
ALLEN, LEON          320 ROYAL OAK CT                                                                               STEGER             IL      60475‐5973
ALLEN, LEON          140 BEDFORD LN                                                                                 JACKSON            MS      39206
ALLEN, LEON J        2807 BRENTWOOD DRIVE                                                                           ANDERSON           IN      46011‐4044
ALLEN, LEONA K       1039 LELAND AVENUE                                                                             DAYTON             OH      45402‐4132
ALLEN, LEONARD A     PO BOX 584                                                                                     LOGANVILLE         GA      30052‐0584
ALLEN, LEONARD B     13444 SILVERCREEK DR                                                                           RIVERVIEW          FL      33579‐7146
ALLEN, LEONARD N     761 S US HIGHWAY 31                                                                            WHITELAND          IN      46184‐9709
ALLEN, LEOREN V      PO BOX 1256                                                                                    CARMEL             IN      46082‐1256
ALLEN, LERONZA       7701 W SHERIDAN AVE APT B                                                                      MILWAUKEE          WI      53218‐2637
ALLEN, LEROY         1520 MORTON ST                                                                                 ANDERSON           IN      46016‐3535
ALLEN, LEROY         3914 LAUDERHILL CIR                                                                            LANSING            MI      48911
ALLEN, LEROY         34754 ESPER DR                                                                                 STERLING HEIGHTS   MI      48312‐5029
ALLEN, LEROY         14523 ROSSINI DR                                                                               DETROIT            MI      48205‐1891
ALLEN, LEROY         15742 LAUDER ST                                                                                DETROIT            MI      48227‐2631
ALLEN, LEROY         9505 SHERWOOD DR                                                                               UPPER MARLBORO     MD      20772
ALLEN, LEROY         9195 W PARKWAY ST                                                                              DETROIT            MI      48239‐1185
ALLEN, LESA A        1028 DOROTHY ST                                                                                MOUNT MORRIS       MI      48458‐2225
ALLEN, LESLIE        28694 BLACKSTONE DR                                                                            LATHRUP VILLAGE    MI      48076‐2614
ALLEN, LESTER F      4610 W DAVID ALAN CT                                                                           BLOOMINGTON        IN      47404‐9215
ALLEN, LEWIS         508 ADELYNN CT N                                                                               FRANKLIN           TN      37064‐6729
ALLEN, LEWIS E       08601 SR 66 N RR 2                                                                             DEFIANCE           OH      43512
ALLEN, LEWIS EUGEN   08601 SR 66 N RR 2                                                                             DEFIANCE           OH      43512
ALLEN, LEWIS J       115 WOODLAND HILLS RD                                                                          WHITE PLAINS       NY      10603‐3117
ALLEN, LEWIS J       2006 BARKS ST                                                                                  FLINT              MI      48503‐4306
ALLEN, LEWIS JAMES   2006 BARKS ST                                                                                  FLINT              MI      48503‐4306
ALLEN, LILLIAN A     4201 MAPLE AVE                                                                                 STICKNEY           IL      60402‐4242
ALLEN, LILLIAN R     2294 E COLFAX AVE                                                                              COLUMBUS           OH      43224‐2311
ALLEN, LILLIAN R     2294 COLFAX AVE                                                                                COLUMBUS           OH      43224‐2311
ALLEN, LILLIE        PO BOX 752375                                                                                  DAYTON             OH      45475‐2375
ALLEN, LILLIE M      3501 REDBLUFF DR                                                                               WEST CARROLLTON    OH      45449‐3183

ALLEN, LILLIE M      2101 SOUTHSCALES ST APT # 7A                                                                   REIDSVILLE         NC      27320
ALLEN, LILLIE MAE    7749 STOCKHOLM DR              C/O JAMES R ALLEN                                               HUBER HEIGHTS      OH      45424‐2253
ALLEN, LINDA C.      3698 DAVID K DR                                                                                WATERFORD          MI      48329‐1317
ALLEN, LINDA F       106 E ARTHUR ST                                                                                HICKSVILLE         OH      43526‐1102
ALLEN, LINDA J       17168 DETROITER AVE                                                                            DAVISBURG          MI      48350‐1113
ALLEN, LINDA K       1150 S 2380 E                                                                                  KOKOMO             IN      46901
ALLEN, LINDA L       1201 W MARCO POLO RD                                                                           PHOENIX            AZ      85027‐4328
ALLEN, LINDA R       PO BOX 376                                                                                     WESSON             MS      39191‐0376
ALLEN, LINDA R       P.O. BOX 376                                                                                   WESSON             MS      39191‐9191
ALLEN, LINDA S       42136 ECHO FOREST DR                                                                           CANTON             MI      48188‐4818
ALLEN, LINDA T       10346 E JEROME AVE                                                                             MESA               AZ      85209‐7745
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Name                  Address1                         Address2                 Address3      Address4               City             State   Zip
ALLEN, LINDEN O       5500 HILLTOP TR.                                                                               PERRY             MI     48872‐9169
ALLEN, LISA           645 LUTHER AVE                                                                                 PONTIAC           MI     48341‐2532
ALLEN, LISA           C/O JOHN CANTARELLA              CANTARELLA & ASSOC, PC   1004 JOSLYN                          PONTIAC           MI     48340
ALLEN, LISBON E       18 SHADOW LANE                                                                                 HOPEWELL          NY     12533‐5706
                                                                                                                     JUNCTION
ALLEN, LISBON E       18 SHADOW LN                                                                                   HOPEWELL          NY     12533‐5706
                                                                                                                     JUNCTION
ALLEN, LLOYD T        167 STEAMBOAT DR                                                                               NORFORK          AR      72658
ALLEN, LLOYD W        2431 MILLVILLE OXFORD RD                                                                       HAMILTON         OH      45013‐8928
ALLEN, LOIS           4840 SHERIDAN                                                                                  DETROIT          MI      48214‐5301
ALLEN, LOIS           4840 SHERIDAN ST                                                                               DETROIT          MI      48214‐5301
ALLEN, LOIS           13129 WASHBURN ST                                                                              DETROIT          MI      48238‐3061
ALLEN, LOIS A         1706 S OSBORNE AVE                                                                             JANESVILLE       WI      53546‐5720
ALLEN, LOIS J         701 GLENDALE WAY                                                                               BEDFORD          IN      47421‐6401
ALLEN, LOIS K         5529 STONE PATH DR                                                                             MIDDLETOWN       OH      45042‐3058
ALLEN, LONNIE M       1218 FIFTEENMILE BRANCH RD                                                                     HAZARD           KY      41701‐7314
ALLEN, LONNY W        1615 E RIDGE RD                                                                                GLADWIN          MI      48624‐8092
ALLEN, LORA           VARAS & MORGAN                   PO BOX 886                                                    HAZLEHURST       MS      39083‐0886
ALLEN, LORALI N       4409 PENGELLY RD                                                                               FLINT            MI      48507‐5420
ALLEN, LORALI N       4409 PENGELLY                                                                                  FLINT            MI      48507
ALLEN, LORETT         833 PADDOCK WAY                                                                                BOWLING GREEN    KY      42104‐4240
ALLEN, LOTTIE R       38 LAKES AT LITCHFIELD DR #702                                                                 PAWLEYS ISLAND   SC      29585‐9585
ALLEN, LOUISE A       4346 W ROUNDHOUSE A‐1                                                                          SWARTZ CREEK     MI      48473
ALLEN, LOUISE S       211 EWELL AVE                                                                                  GETTYSBURG       PA      17325‐3108
ALLEN, LOVET          7451 VARJO ST                                                                                  DETROIT          MI      48212‐1443
ALLEN, LOZELL         13212 W PLAYFIELD DR                                                                           CRESTWOOD        IL      60445‐1318
ALLEN, LUBIRDA        5700 ALGOMA ST                                                                                 DAYTON           OH      45415‐2403
ALLEN, LUCEAL D       1203 ARROW AVE                                                                                 ANDERSON         IN      46016‐3033
ALLEN, LUCEIL         1015 HOLLAND                                                                                   SAGINAW          MI      48601
ALLEN, LUCILLIE       18539 BINDER ST                                                                                DETROIT          MI      48234‐1944
ALLEN, LUCIUS B       1073 FOREST BAY DR                                                                             WATERFORD        MI      48328‐4286
ALLEN, LUCRETIA ANN   698 E CARSON SALT SPRINGS                                                                      WARREN           OH      44481
ALLEN, LUELLA M       PO BOX 173                                                                                     CLIO             MI      48420‐0173
ALLEN, LUEVRIL        2112 FRECKLES                                                                                  HIGH RIDGE       MO      63049‐1827
ALLEN, LUEVRIL        2112 FRECKLES DR                                                                               HIGH RIDGE       MO      63049‐1827
ALLEN, LYDA M         335 LAKESHORE RD                                                                               JACKSON          MS      39212‐5310
ALLEN, LYLE J         3763 NEWARK RD                                                                                 ATTICA           MI      48412‐9795
ALLEN, LYNN K         9122 ORCHARD VIEW DR                                                                           GRAND BLANC      MI      48439‐8327
ALLEN, M L            1944 WILLARD S E                                                                               GRAND RAPIDS     MI      49507‐3269
ALLEN, MAC A          1704 E ENGLISH ST                                                                              DANVILLE         IL      61832‐3453
ALLEN, MAGELINE M     7720 MCCALLUM BLVD APT 2089                                                                    DALLAS           TX      75252‐7525
ALLEN, MAMIE L        5357 FERN AVE                                                                                  GRAND BLANC      MI      48439‐4321
ALLEN, MAMIE LEE      5357 FERN AVE                                                                                  GRAND BLANC      MI      48439‐4321
ALLEN, MARGARET E     3411 S CAMINO SECO UNIT 258                                                                    TUCSON           AZ      85730‐2817
ALLEN, MARGARET H     6536 ATTERBURY COURT                                                                           DAYTON           OH      45459‐6632
ALLEN, MARGARET I     36 PEACH TREE DR                                                                               DAVISON          MI      48423‐9123
ALLEN, MARGARET I     36 PEACHTREE DR                                                                                DAVISON          MI      48423‐9123
ALLEN, MARGARET J     329 SUNSET DR                                                                                  FLUSHING         MI      48433‐2153
ALLEN, MARGARET L     618 ABERDEEN WAY                                                                               SOUTHLAKE        TX      76092‐9553
ALLEN, MARGARET L     3970 E MT PARKWAY                                                                              SALYERSVILLE     KY      41465‐9727
ALLEN, MARGARET L     3970 E MOUNTAIN PKWY                                                                           SALYERSVILLE     KY      41465‐8393
ALLEN, MARGARET M     3094 E PRIVATE ROAD 125 N                                                                      LOGANSPORT       IN      46947‐6878
ALLEN, MARGARET T     65772 MEISSNER RD                                                                              DEER ISLAND      OR      97054‐9506
ALLEN, MARGARETT      20508 FREELAND                                                                                 DETROIT          MI      48235‐1584
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Name                   Address1                              Address2                         Address3   Address4               City               State   Zip
ALLEN, MARGE D         2201 CANNIFF ST                                                                                          FLINT               MI     48504‐2076
ALLEN, MARGIE          894 VILLAGE GREEN LANE                APT 1025 BUILDING 3                                                WATERFORD           MI     48328
ALLEN, MARGIE L        19254 SANDBAR DR                      C/O DEBORAH L TUBBS                                                NOBLESVILLE         IN     46062‐8656
ALLEN, MARGIE R        RTE 3 BOX 65B                                                                                            ATLANTA             TX     75551‐9582
ALLEN, MARGIE R        6609 ORANGE LN                                                                                           FLINT               MI     48505‐1925
ALLEN, MARIA           BERMAN & SIMMONS P.A.                 PO BOX 961                                                         LEWISTON            ME     04243‐0961
ALLEN, MARIA           COBEN & ASSOCIATES                    8710 E VISTA BONITA DR                                             SCOTTSDALE          AZ     85255‐4299
ALLEN, MARIANNE        988 BLUE HERON DR                                                                                        HIGHLAND            MI     48357‐3902
ALLEN, MARIBETH        4204 N MICHIGAN AVE                                                                                      SAGINAW             MI     48604‐1647
ALLEN, MARIE           279 GLENDALE ST                                                                                          UXBRIDGE            MA     01569‐2126
ALLEN, MARILYN         402 FORT HILL DR                                                                                         PULASKI             TN     38478‐2204
ALLEN, MARILYN         1612 SHAGBARK DR                                                                                         ROCHESTER HILLS     MI     48309‐1823
ALLEN, MARILYN H       4112 MCDONALD LN                                                                                         VALDOSTA            GA     31601‐1788
ALLEN, MARILYN J       1024 MACK DR                                                                                             HAUGHTON            LA     71037‐7432
ALLEN, MARILYN MARIE   6418 WESTERN WAY                                                                                         FLINT               MI     48532‐2052
ALLEN, MARILYN T       209 OLD POND ROAD                                                                                        LAGRANGE            GA     30241‐6517
ALLEN, MARION R        220 MAPLE ST.                                                                                            HOUGHTON LAKE       MI     48629‐9764
ALLEN, MARION R        220 MAPLE ST                                                                                             HOUGHTON LAKE       MI     48629‐9764
ALLEN, MARJORIE M      513 E CLARK ST APT 5                                                                                     DAVISON             MI     48423‐1847
ALLEN, MARJORIE M      513 E CLARK STREET                    APT 5                                                              DAVISON             MI     48423
ALLEN, MARK            POWER & ASSOCIATES, P.C., ATTORNEYS   117 WILMINGTON PIKE, SUITE 200                                     GLEN MILLS          PA     19342
                       AT LAW
ALLEN, MARK A          62929 CRIMSON DR                                                                                         WASHINGTON          MI     48094‐1744
                                                                                                                                TOWNSHIP
ALLEN, MARK E          1608 JACKSON DR                                                                                          NORMAN              OK     73071‐3266
ALLEN, MARK H          11069 SHADOW CREEK CT                                                                                    STERLING HEIGHTS    MI     48313‐3246
ALLEN, MARK J          21264 MERIDIAN RD                                                                                        GROSSE ILE          MI     48138‐1241
ALLEN, MARK J          3000 CREEK RD                                                                                            YOUNGSTOWN          NY     14174‐1116
ALLEN, MARK J          2334 16TH AVENUE                                                                                         MONROE              WI     53566‐3409
ALLEN, MARK R          4951 N IDAHO RD                                                                                          APACHE JUNCTION     AZ     85219‐9609

ALLEN, MARK T          239 N HAGADORN RD                                                                                        EAST LANSING       MI      48823‐4616
ALLEN, MARLENE         5078 EVERGREEN TRAIL                                                                                     ALGER              MI      48610‐9535
ALLEN, MARLIENE        329 NE 60TH ST                                                                                           OKLAHOMA CITY      OK      73105‐1621
ALLEN, MARTHA          19 JIMMY MORRIS RD.                                                                                      SYLVA              NC      28779‐8026
ALLEN, MARTHA A        5816 DOWNING DR                                                                                          INDIANAPOLIS       IN      46228‐1636
ALLEN, MARTHA B        5545 OAK HILL DR NW                                                                                      WARREN             OH      44481‐9019
ALLEN, MARTHA B        108 BYRSONIMA CIRCLE                                                                                     HOMOSASSA          FL      34446‐4601
ALLEN, MARTHA D        3513 SADDLEBROOK DR                                                                                      LOGANVILLE         GA      30052‐9104
ALLEN, MARTHA J        1189 LINDENBOROUGH CT                                                                                    MIAMISBURG         OH      45342‐3449
ALLEN, MARTHA L        44 SPENCE AVE NE                                                                                         ATLANTA            GA      30317‐2919
ALLEN, MARTHA M        3936 ARABY CT                         C/O CINDY DIMERCURIO                                               HIGHLAND           MI      48356‐1100
ALLEN, MARTIN D        350 NESBIT TER                                                                                           IRVINGTON          NJ      07111‐1721
ALLEN, MARTIN R        7989 MUNICH RD                                                                                           BARTELSO           IL      62218‐2206
ALLEN, MARTY E         1416 WESTERRACE DR                                                                                       FLINT              MI      48532‐2438
ALLEN, MARVIN          8269 WORCHESTER DR                                                                                       MAINEVILLE         OH      45039‐8915
ALLEN, MARVIN          8027 MILDMAY COURT                                                                                       CINCINNATI         OH      45239‐4034
ALLEN, MARVIN A        HOWARD BRENNER & GARRIGAN‐NASS        1608 WALNUT ST, 17TH FLOOR                                         PHILADELPHIA       PA      19103

ALLEN, MARVIN C        1270 DELTA AVE                                                                                           CINCINNATI         OH      45208‐3004
ALLEN, MARVIN G        7875 N 600 W                                                                                             FAIRLAND           IN      46126‐9742
ALLEN, MARVIN L        240 W BARTON ST                                                                                          NEWAYGO            MI      49337‐8839
ALLEN, MARVIN RAY      GORI JULIAN & ASSOCIATES PC           156 N MAIN ST                                                      EDWARDSVILLE       IL      62025
ALLEN, MARVIN S        6034 STEEPLECHASE DR                                                                                     GRAND BLANC        MI      48439‐8669
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Name                    Address1                          Address2               Address3         Address4               City             State   Zip
ALLEN, MARY             214 WATERFORD COURT                                                                              AVON              IN     46123
ALLEN, MARY             8231 CROSSWIND RD                                                                                JACKSONVILLE      FL     32244‐6445
ALLEN, MARY             919 COLONIAL DR                                                                                  YOUNGSTOWN        OH     44505‐2215
ALLEN, MARY             9189 DAYLOR ST                                                                                   ELK GROVE         CA     95758‐4591
ALLEN, MARY A           15 NYCH RD                                                                                       NEW WILMINGTON    PA     16142

ALLEN, MARY A           3305 N RILEY AVE                                                                                 INDIANAPOLIS     IN      46218‐2352
ALLEN, MARY A           1208 S WEADOCK AVE                                                                               SAGINAW          MI      48601‐2714
ALLEN, MARY A           3305 N RILEY                                                                                     INDIANAPOLIS     IN      46218‐2352
ALLEN, MARY B           PO BOX 29404                                                                                     SHREVEPORT       LA      71149‐9404
ALLEN, MARY C           708 OXFORD AVE APT 2                                                                             DAYTON           OH      45402
ALLEN, MARY E           2700 ODIN CT                                                                                     DAYTON           OH      45439‐2939
ALLEN, MARY E           118 EFFIE ALLEN LN                                                                               HILHAM           TN      38568‐5857
ALLEN, MARY E           35755 BEVERLY RD                                                                                 ROMULUS          MI      48174‐1722
ALLEN, MARY E           814 LYON ST                                                                                      FLINT            MI      48503‐1315
ALLEN, MARY F           1503 WESLEY CHAPEL RD                                                                            MITCHELL         IN      47446‐6653
ALLEN, MARY J           1768 W KALAMO HWY                                                                                CHARLOTTE        MI      48813‐9596
ALLEN, MARY J           189 APOLLO AVE                                                                                   FLUSHING         MI      48433‐9324
ALLEN, MARY J           2966 VALLEYVIEW DR                                                                               FAIRBORN         OH      45324‐2254
ALLEN, MARY JANE        11096 N WEBSTER RD                                                                               CLIO             MI      48420‐8208
ALLEN, MARY JANE        11096 WEBSTER                                                                                    CLIO             MI      48420‐8208
ALLEN, MARY JO          1768 W KALAMO HWY                                                                                CHARLOTTE        MI      48813‐9596
ALLEN, MARY K           5034 LOUNSBURY DR                                                                                DAYTON           OH      45418‐2041
ALLEN, MARY L           APT 6                             3674 HESS AVENUE                                               SAGINAW          MI      48601‐4076
ALLEN, MARY L           3674 HESS ROAD                    APT # 6                                                        SAGINAW          MI      48601
ALLEN, MARY L           9336 S. MERRILL                                                                                  CHICAGO          IL      60617‐3944
ALLEN, MARY L           6147 CYPRESS DR                                                                                  MOUNT MORRIS     MI      48458
ALLEN, MARY PATRICIA    2121 WEBSTER ST                                                                                  PALO ALTO        CA      94301‐4052
ALLEN, MARYLEE          735 E PASADENA AVE                                                                               FLINT            MI      48505
ALLEN, MATTHEW D        287 N COATS RD                                                                                   OXFORD           MI      48371‐3505
ALLEN, MATTHEW E        26 W TROTWOOD BLVD.                                                                              TROTWOOD         OH      45426‐3352
ALLEN, MAX D            17830 DOBBYNS RD                                                                                 ATLANTA          MI      49709‐8811
ALLEN, MAX S            2741 E CLAIRE DR                                                                                 PHOENIX          AZ      85032‐4965
ALLEN, MAXINE           6180 O'TOOLE LANE                                                                                MOUNT MORRIS     MI      48458
ALLEN, MAXINE           6180 OTOOLE LN                                                                                   MOUNT MORRIS     MI      48458‐2628
ALLEN, MAXINE MARY      3293 METAMORA ROAD                                                                               METAMORA         MI      48455‐9303
ALLEN, MAXWELL B        8260 S ROLLAND RD                                                                                BLANCHARD        MI      49310‐9755
ALLEN, MELANIE M        4573 PTE. AUX PEAUX RD.                                                                          NEWPORT          MI      48166
ALLEN, MELITA
ALLEN, MELODY A.        1210 WHITE SWAN DR                                                                               ROCHESTER        NY      14626
ALLEN, MELVA L          11610 TYSON COURT                                                                                OKLAHOMA CITY    OK      73130‐8432
ALLEN, MELVA L          10801 BELLVIEW DR                                                                                MIDWEST CITY     OK      73130
ALLEN, MELVA LACRECIA   11610 TYSON COURT                                                                                OKLAHOMA CITY    OK      73130‐8432
ALLEN, MELVIN           4425 KENSINGTON AVE                                                                              DETROIT          MI      48224‐2772
ALLEN, MELVIN C         188 MORTAR CREEK RD                                                                              QUITMAN          AR      72131‐9322
ALLEN, MELVIN D         5915 PARKSIDE ST                                                                                 MONROE           MI      48161‐3952
ALLEN, MELVIN D         6215 BELGRADE DR NW                                                                              HUNTSVILLE       AL      35810
ALLEN, MERLE            736 14TH WAY SW                                                                                  EDMONDS          WA      98020‐6612
ALLEN, MERLE            736‐14 WAY S.W.                                                                                  EDMONDS          WA      98020
ALLEN, MERLE C          11254 JUDDVILLE RD                                                                               CORUNNA          MI      48817‐9743
ALLEN, MERLINE          4932 CIRCLE CT APT 512                                                                           CRESTWOOD        IL      60445‐1573
ALLEN, MERLINE          4932 CIR CT                       UNIT 512                                                       CRESTWOOD        IL      60445‐1573
ALLEN, MERRITT L        2289 E BEAVER RD                                                                                 KAWKAWLIN        MI      48631‐9401
ALLEN, MERVIN           PO BOX 47453                                                                                     BALTIMORE        MD      21244‐0453
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ALLEN, MERVIN            20 STUART MILLS PL                                                                           CATONSVILLE       MD 21228‐2655
ALLEN, MERWIN A          PO BOX 454                                                                                   FARWELL           MI 48622‐0454
ALLEN, MICHAEL
ALLEN, MICHAEL A         8527 NEFF RD                                                                                 MOUNT MORRIS     MI   48458‐1009
ALLEN, MICHAEL ANTHONY   8527 NEFF RD                                                                                 MOUNT MORRIS     MI   48458‐1009
ALLEN, MICHAEL B         740 LILA AVE APT 1                                                                           MILFORD          OH   45150‐1600
ALLEN, MICHAEL C         311 W MAIN ST                                                                                DEWITT           MI   48820‐8950
ALLEN, MICHAEL D         2670 SCOTT RD                                                                                MOSCOW MILLS     MO   63362‐2300
ALLEN, MICHAEL D         831 HIGHRIDGE AVE                                                                            DAYTON           OH   45420‐2738
ALLEN, MICHAEL E         5314 S KENTUCKY AVE                                                                          OKLAHOMA CITY    OK   73119‐6236
ALLEN, MICHAEL G         6250 AUTUMNVIEW STA                                                                          NEWFANE          NY   14108‐9788
ALLEN, MICHAEL G         324 SKINNER DR                                                                               TROTWOOD         OH   45426‐3443
ALLEN, MICHAEL G         10701 BARTON PL                                                                              OKLAHOMA CITY    OK   73170‐2413
ALLEN, MICHAEL K         47148 N POINTE DR                                                                            CANTON           MI   48187‐1443
ALLEN, MICHAEL K         8374 ELKRUN DR                                                                               CLARKSTON        MI   48348‐2863
ALLEN, MICHAEL KEITH     47148 N POINTE DR                                                                            CANTON           MI   48187‐1443
ALLEN, MICHAEL L         4981 RIDGE RD                                                                                CORTLAND         OH   44410‐9730
ALLEN, MICHAEL R         5774 KNOLL CT                                                                                SAGINAW          MI   48603‐1607
ALLEN, MICHAEL R         6488 FOX HILLS RD                                                                            CANTON           MI   48187‐2459
ALLEN, MIKE
ALLEN, MILFORD T         300 FAIRWAY DR                                                                               SPRINGBORO       OH   45066‐1192
ALLEN, MILLARD P         419 ANNA ST                                                                                  DAYTON           OH   45417‐2366
ALLEN, MILLICENT         7171 LAUREL CREEK DR                                                                         STOCKBRIDGE      GA   30281‐9308
ALLEN, MILTON L          PO BOX 306                                                                                   CAMBRIDGE CITY   IN   47327
ALLEN, MILTON R          COON BRENT & ASSOCIATES       215 ORLEANS ST                                                 BEAUMONT         TX   77701‐2221
ALLEN, MILTON R          8267 HIDDEN CREEK CT                                                                         FLUSHING         MI   48433‐9429
ALLEN, MINNIE L          18 CAVELL ST                                                                                 TRENTON          NJ   08618‐3820
ALLEN, MINNIE L          4106 WEST 2ND STREET                                                                         DAYTON           OH   45417‐1326
ALLEN, MINNIE M          20037 TRINITY ST                                                                             DETROIT          MI   48219‐1353
ALLEN, MOLEE             111 S HIGHALND AVE            APT 26A                                                        OSSINGING        NY   10562‐5854
ALLEN, MORRIS H          14817 SALEM CREEK RD                                                                         EDMOND           OK   73013‐2449
ALLEN, MORRIS L          3320 LINDEL LN                                                                               INDIANAPOLIS     IN   46268‐2774
ALLEN, MORRIS W          4346 SALEM RD                                                                                COVINGTON        GA   30016‐4534
ALLEN, MYRA R            2150 WILLOT RD                                                                               AUBURN HILLS     MI   48326‐2668
ALLEN, MYRON C           4818 BERRYWOOD DR W                                                                          SAGINAW          MI   48603‐1048
ALLEN, NANCY             25712 W WARREN ST                                                                            DEARBORN HTS     MI   48127
ALLEN, NANCY A           1789 BRACEVILLE ROBINSON RD                                                                  SOUTHINGTON      OH   44470‐9559
ALLEN, NANCY E           P O BOX 66                                                                                   MENDON           MI   49072‐0066
ALLEN, NANCY E           PO BOX 66                                                                                    MENDON           MI   49072‐0066
ALLEN, NANCY L           PO BOX 100                                                                                   SOMERVILLE       TX   77879‐0100
ALLEN, NANCY P           1215 BELVO RD                                                                                MIAMISBURG       OH   45342‐3403
ALLEN, NATASHA           PO BOX 332                                                                                   CRAWFORDVILLE    FL   32326‐0332
ALLEN, NATHAN            6 E 25TH ST                                                                                  WILMINGTON       DE   19802‐4202
ALLEN, NATHAN C          65772 MEISSNER RD                                                                            DEER ISLAND      OR   97054‐9506
ALLEN, NELLIE            7518 W 50 S                                                                                  MORGANTOWN       IN   46160‐8264
ALLEN, NELLIE            1505 ROBERTS ROAD                                                                            FRANKLIN         IN   46131‐1138
ALLEN, NICOLAS C         701 FIR ST                                                                                   GARDEN CITY      MO   64747‐9101
ALLEN, NIEM T            N5542 STEPHENSON LN                                                                          ALBANY           WI   53502‐9588
ALLEN, NIEM THI          N5542 STEPHENSON LN                                                                          ALBANY           WI   53502‐9588
ALLEN, NINA H            793 E 103RD ST                                                                               CLEVELAND        OH   44108‐2234
ALLEN, NORMA J           10209 EAST 71ST TERRACE                                                                      RAYTOWN          MO   64133‐6624
ALLEN, NORMA J           10209 E 71ST TER                                                                             RAYTOWN          MO   64133‐6624
ALLEN, NORMA J           5315 CONIFER DR                                                                              COLUMBIAVILLE    MI   48421‐8988
ALLEN, NORMA J           7674 S COUNTY ROAD 600 E                                                                     MOORESVILLE      IN   46158‐7770
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Name                     Address1                         Address2                      Address3   Address4               City             State Zip
ALLEN, NORMAN A          3125 LAKE PARK LN                                                                                SARASOTA          FL 34231‐7546
ALLEN, NORMAN B          5303 SILVER CREEK ST                                                                             ALGER             MI 48610‐9310
ALLEN, NORMAN BRUCE      5303 SILVER CREEK ST                                                                             ALGER             MI 48610‐9310
ALLEN, NORMAN F          415 LAWNDALE DR                                                                                  BRYAN             OH 43506‐2448
ALLEN, NORMAN G          7416 CREEKSIDE DR                                                                                LANSING           MI 48917‐9693
ALLEN, O'NEAL L          279 S MARSHALL ST                                                                                PONTIAC           MI 48342‐3247
ALLEN, ODESSIE           1825 ROSELAWN DR                                                                                 FLINT             MI 48504‐5420
ALLEN, OLIN R            16461 TURNER RD                                                                                  LANSING           MI 48906‐2370
ALLEN, OLIVER L          611 TEMPLE STREET                                                                                HINTON            WV 25951‐2230
ALLEN, OLIVIA            14940 HUBBELL ST                                                                                 DETROIT           MI 48227‐2981
ALLEN, OPAL              1410 MALLARD COVE DR                                                                             CINCINNATI        OH 45246
ALLEN, OPAL R            255 RAMSEY LANE                                                                                  COOKEVILLE        TN 38501‐9116
ALLEN, OPAL R            255 RAMSEY LN                                                                                    COOKEVILLE        TN 38501‐9116
ALLEN, OSCAR             120 N 8TH AVE                                                                                    MOUNT VERNON      NY 10550‐1216
ALLEN, OSCAR C           1335 FETZNER ROAD                                                                                ROCHESTER         NY 14626‐1856
ALLEN, OTIS C            14 SOUTHRIDGE DR                                                                                 ROCHESTER         NY 14626‐4219
ALLEN, OTTIS F           339 ATWATER ST                                                                                   LAKE ORION        MI 48362‐3310
ALLEN, OVIELEEN          252 TOLBERT ST                                                                                   CUMMING           GA 30040‐2337
ALLEN, PABLETO           10325 MUIRFIELD TRCE                                                                             FISHERS           IN 46037‐8252
ALLEN, PAMELA            6138 AMBERLY RD                                                                                  REX               GA 30273‐1230
ALLEN, PAMELA A          13300 MORRIS RD UNIT 9                                                                           ALPHARETTA        GA 30004
ALLEN, PAMELA A          PO BOX 1154                                                                                      DEARBORN HEIGHTS MI 48127

ALLEN, PAMELA D          12026 EAGLE CREEK PL                                                                             FORT WAYNE       IN   46814‐3258
ALLEN, PAMELA DARR       12026 EAGLE CREEK PL                                                                             FORT WAYNE       IN   46814‐3258
ALLEN, PAMELA R          12415 VIA CATHERINA CT                                                                           GRAND BLANC      MI   48439‐1406
ALLEN, PAMELA R          2613 GLEN OAKS DR                                                                                NORMAN           OK   73071‐4346
ALLEN, PAMELA RENE       12415 VIA CATHERINA CT                                                                           GRAND BLANC      MI   48439‐1406
ALLEN, PAMELA S          513 IRWIN AVE                                                                                    ALBION           MI   49224‐2048
ALLEN, PAMELA SUE        513 IRWIN AVE                                                                                    ALBION           MI   49224‐2048
ALLEN, PATRICE D         1025 CRANDALL AVE                                                                                YOUNGSTOWN       OH   44510‐1218
ALLEN, PATRICIA A        101 PICKETT RD                                                                                   COLUMBIA         TN   38401‐6608
ALLEN, PATRICIA A        935 BAKERSFIELD CT                                                                               MIAMISBURG       OH   45342‐4264
ALLEN, PATRICIA A        818 BROOKDALE DRIVE                                                                              W JEFFERSON      OH   43162‐1058
ALLEN, PATRICIA A        18103 THORNRIDGE DR                                                                              GRAND BLANC      MI   48439‐9223
ALLEN, PATRICIA J        2502 HOGAN CIR                                                                                   FENTON           MI   48430‐3457
ALLEN, PATRICIA J        2502 HOGAN CIRCLE                                                                                FENTON           MI   48430‐3457
ALLEN, PATRICIA K        2741 HORSTMAN DR                                                                                 DAYTON           OH   45429
ALLEN, PATRICIA M        18413 PELLETT DR                                                                                 FENTON           MI   48430‐8508
ALLEN, PATRICK A         5123 N SEYMOUR RD                                                                                FLUSHING         MI   48433‐1064
ALLEN, PATRICK G         2309 RIVER BLUFF PARKWAY # 253                                                                   SARASOTA         FL   34231
ALLEN, PATRICK H         1239 SEIDLERS RD                                                                                 AUBURN           MI   48611‐9764
ALLEN, PATRICK HENRY     1239 SEIDLERS RD                                                                                 AUBURN           MI   48611‐9764
ALLEN, PATRICK I         13482 N ALLISON DR                                                                               CAMBY            IN   46113‐8402
ALLEN, PATRICK P         41 FAY ST                                                                                        CLARKSTON        MI   48346‐4115
ALLEN, PATRICK T         1670 W BURT RD                                                                                   MONTROSE         MI   48457‐9311
ALLEN, PATRICK TIMOTHY   1670 W BURT RD                                                                                   MONTROSE         MI   48457‐9311
ALLEN, PATSY A           1195 HAYS LODGE RD                                                                               SMITHS GROVE     KY   42171‐9143
ALLEN, PAUL              4909 WALKER RD                                                                                   CLYDE            MI   48049‐3934
ALLEN, PAUL              GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                     NORFOLK          VA   23510‐2212
                                                          STREET, SUITE 600
ALLEN, PAUL              1378 WICHITA DR SW                                                                               ATLANTA          GA   30311‐3526
ALLEN, PAUL B            2200 VININGS LN                                                                                  LAWRENCEVILLE    GA   30043‐2891
ALLEN, PAUL E            10413 PIONEER AVE                                                                                OAKDALE          CA   95361‐9719
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Name                  Address1                            Address2                      Address3   Address4               City              State   Zip
ALLEN, PAUL F         PO BOX 497                                                                                          LAKE ORION         MI     48361‐0497
ALLEN, PAUL G         926 W MADISON ST                                                                                    SANDUSKY           OH     44870‐2353
ALLEN, PAUL R         1247 NOKOMIS DR                                                                                     GLASWIN            MI     48624‐8385
ALLEN, PAULINE H      6629 W‐100S                                                                                         TIPTON             IN     46072‐8771
ALLEN, PEGGY S        978 JORDAN DR                                                                                       PALMYRA            NY     14522‐9551
ALLEN, PEGGY S        11369 S 100 E‐90                                                                                    MONTPELIER         IN     47359‐9552
ALLEN, PEN            2679 RASMUSSEN CT                                                                                   PLEASANTON         CA     94588‐8396
ALLEN, PERCY L        289 RAPID ST                                                                                        PONTIAC            MI     48341‐2256
ALLEN, PERRY F        144 FRASIER RD                                                                                      LIVINGSTON         TN     38570‐8570
ALLEN, PERRY F        144 FRAZIER RD                                                                                      LIVINGSTON         TN     38570‐8104
ALLEN, PERRY R        135 CANTER LN                                                                                       HOLLY              MI     48442‐9168
ALLEN, PETER          4161 N 580 W                                                                                        HUNTINGTON         IN     46750‐8916
ALLEN, PETER J        4161 N 580 W                                                                                        HUNTINGTON         IN     46750‐8916
ALLEN, PETER JOHN     4161 N 580 W                                                                                        HUNTINGTON         IN     46750‐8916
ALLEN, PETER L        6810 PATRIOT LN                                                                                     BELLEVILLE         MI     48111‐4260
ALLEN, PETER P        28 PLEASANT ST                                                                                      MENDON             MA     01756‐1212
ALLEN, PETT           2019 E 31ST ST                                                                                      BALTIMORE          MD     21218‐3105
ALLEN, PHILIP R       PO BOX 311                                                                                          MORRISTOWN         IN     46161‐0311
ALLEN, PHILLIP E      1431 OVERBROOK RD                                                                                   ENGLEWOOD          FL     34223‐1621
ALLEN, PHILLIP K      6280 SNIDERCREST RD                                                                                 MASON              OH     45040‐9086
ALLEN, PHILLIP M      428 SCHOOL ST                                                                                       HARBOR BEACH       MI     48441
ALLEN, PHILLIP M      5307 N FELLOWS RD                                                                                   EVANSVILLE         WI     53536‐8719
ALLEN, PHYLLIS M      PO BOX 34                                                                                           LAKE               MI     48632‐0034
ALLEN, POLLY M        1151 E CORNELL AVE                                                                                  FLINT              MI     48505‐1617
ALLEN, PRESTON        69 MANON LANE                                                                                       BEECH CREEK        KY     42321
ALLEN, QUINTIN T      1868 MOUNTAIN OAK ROAD                                                                              COLUMBUS           OH     43219‐1639
ALLEN, R L            1139 CAMELLIA DR                                                                                    MOUNT MORRIS       MI     48458‐2801
ALLEN, RACHEL R       2802 FAIRFIELD AVE A                                                                                FORT WAYNE         IN     46807
ALLEN, RACHEL RENEE   2802 FAIRFIELD AVE A                                                                                FORT WAYNE         IN     46807
ALLEN, RACHEL S       5645 KINGSVILLE RD.                                                                                 CORTLAND           OH     44410
ALLEN, RACHEL S       PO BOX 682                                                                                          COMMERCE           GA     30529
ALLEN, RALPH A        13180 SPRUCE ST                                                                                     SOUTHGATE          MI     48195‐1632
ALLEN, RALPH D        GOLDENBERG, MILLER, HELLER &        PO BOX 959                                                      EDWARDSVILLE        IL    62025‐0959
                      ANTOGNOLI
ALLEN, RALPH D        C/O GOLDENBERG HELLER ANTOGNOLI &   2227 S STATE ROUTE 157                                          EDWARDSVILLE       IL     62025
                      ROWLAND PC
ALLEN, RALPH E        4580 LAFAYETTE LN E                                                                                 ESTERO            FL      33928‐3614
ALLEN, RALPH L        1321 TURNBRIDGE RD                                                                                  FOREST HILL       MD      21050‐2405
ALLEN, RANDOLPH C     1783 RING NECK DR                                                                                   ROCHESTER         MI      48307‐6008
ALLEN, RANDY L        6205 PARADISE DR                                                                                    ARLINGTON         TX      76001‐5297
ALLEN, RASHAD J       26876 PRINCETON CT 10                                                                               SOUTHFIELD        MI      48034
ALLEN, RAY            3814 HAZEL AVE                                                                                      NORWOOD           OH      45212‐3826
ALLEN, RAY B          300 EDWARDS DR                                                                                      GLEN CARBON       IL      62034‐3221
ALLEN, RAY F          384 BUTTERCUP DR                                                                                    ROCHESTER HILLS   MI      48307‐5209
ALLEN, RAY L          217 PORTER AVE.                                                                                     ENGLEWOOD         OH      45322‐2449
ALLEN, RAY L          217 PORTER DR                                                                                       ENGLEWOOD         OH      45322‐2449
ALLEN, RAY L          5706 WOODSON RD                                                                                     RAYTOWN           MO      64133‐3459
ALLEN, RAY W          1210 BURKHARDT AVE                                                                                  AKRON             OH      44301‐1939
ALLEN, RAYMOND        GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                     NORFOLK           VA      23510‐2212
                                                          STREET, SUITE 600
ALLEN, RAYMOND C      5071MADISON AVENUE APT. C 3                                                                         OKEMOS            MI      48864
ALLEN, RAYMOND E      249 ATLANTIC ST NW                                                                                  WARREN            OH      44483‐4749
ALLEN, RAYMOND G      240 PARKER DR                                                                                       SPRINGBORO        OH      45066‐1338
ALLEN, RAYMOND H      3924 REX RD                                                                                         REX               GA      30273‐1328
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ALLEN, RAYMOND H     618 ABERDEEN WAY                                                                               SOUTHLAKE         TX     76092
ALLEN, RAYMOND L     PO BOX 41                                                                                      THEODOSIA         MO     65761‐0003
ALLEN, RAYMOND L     3975 FORDLINE RD                                                                               LINCOLN PARK      MI     48146‐3712
ALLEN, RAYMOND W     704 SANTA FE DR                                                                                FREEPORT           IL    61032
ALLEN, REBECCA A     107 ELM ST                                                                                     GERMANTOWN        OH     45327‐1206
ALLEN, REBERTA N     5844 THOMAS LN                                                                                 WATERFORD         MI     48329‐1571
ALLEN, REED
ALLEN, REGINALD      919 COLONIAL DR                                                                                YOUNGSTOWN       OH      44505‐2215
ALLEN, REGINALD T    1513 MACINTOSH CIR                                                                             DAYTON           OH      45426‐5010
ALLEN, REJOYCE       16813 MARK TWAIN ST                                                                            DETROIT          MI      48235‐4066
ALLEN, RESTEE        18453 ROSELAWN ST                                                                              DETROIT          MI      48221‐2115
ALLEN, REX N         1490 EASTVIEW DRIVE                                                                            SALEM            OH      44460‐1232
ALLEN, RHELDA R      3012 SALENA STREET                                                                             SAINT LOUIS      MO      63118‐1702
ALLEN, RICHARD       ANAPOL SCHWARTZ WEISS AND COHAN   1900 DELANCEY PL                                             PHILADELPHIA     PA      19103‐6612
                     P.C.
ALLEN, RICHARD       9195 W PARKWAY ST                                                                              REDFORD          MI      48239‐1185
ALLEN, RICHARD       APT 117                           19519 CRANBROOK DRIVE                                        DETROIT          MI      48221‐1552
ALLEN, RICHARD A     105 LOUISIANA AVE                                                                              MILTON           DE      19968‐9514
ALLEN, RICHARD A     8145 S ROYSTON RD                                                                              EATON RAPIDS     MI      48827‐9533
ALLEN, RICHARD B     870 S LINCOLN ST                                                                               MARTINSVILLE     IN      46151‐2517
ALLEN, RICHARD C     7830 SAINT FABIAN LN                                                                           BALTIMORE        MD      21222‐3568
ALLEN, RICHARD C     4027 ROLLING ACRES DR                                                                          HARTLAND         MI      48353‐1616
ALLEN, RICHARD D     330 N FROST DR                                                                                 SAGINAW          MI      48638‐5743
ALLEN, RICHARD D     6930 ATASCA CREEK DR                                                                           HUMBLE           TX      77346‐3397
ALLEN, RICHARD E     1205 CORTLAND DR                                                                               VALPARAISO       IN      46383‐4471
ALLEN, RICHARD E     973 OAK ST                                                                                     LEWISBURG        TN      37091‐3533
ALLEN, RICHARD E     541 B J'S LANDING                                                                              ESTILL SPRINGS   TN      37330
ALLEN, RICHARD F     7132 HOUGHTON DR                                                                               DAVISON          MI      48423‐2336
ALLEN, RICHARD F     PO BOX 5402                                                                                    SEVIERVILLE      TN      37864‐5402
ALLEN, RICHARD F     4215 PARSONS WALK 64                                                                           SAGINAW          MI      48603
ALLEN, RICHARD H     5305 BUZZELL RD                                                                                GLADWIN          MI      48624‐9684
ALLEN, RICHARD H     135 FAIRVIEW OAKS DR                                                                           CAMPOBELLO       SC      29322‐7909
ALLEN, RICHARD J     12621 E 75TH ST                                                                                INDIANAPOLIS     IN      46236‐8505
ALLEN, RICHARD L     329 ROSLYN ST                                                                                  BUFFALO          NY      14215‐3520
ALLEN, RICHARD L     3140 S SASHABAW RD                                                                             OXFORD           MI      48371‐4009
ALLEN, RICHARD L     327 CASS ST 1                                                                                  MONROE           MI      48161
ALLEN, RICHARD L     1108 S FM 157                                                                                  VENUS            TX      76084‐3808
ALLEN, RICHARD L     1095 PARK GLEN DR                                                                              DAYTON           OH      45418‐1452
ALLEN, RICHARD LEE   329 ROSLYN ST                                                                                  BUFFALO          NY      14215‐3520
ALLEN, RICHARD M     857 COUNTRY LN                                                                                 INDIANAPOLIS     IN      46217‐6828
ALLEN, RICHARD M     3816 PORTAGE ST                                                                                KALAMAZOO        MI      49001‐5163
ALLEN, RICHARD M     2856 W SAGINAW RD                                                                              MAYVILLE         MI      48744‐9423
ALLEN, RICHARD P     12243 FARRAND RD                                                                               OTISVILLE        MI      48463‐9720
ALLEN, RICKEY L      135 FLORAL ACRES DR                                                                            TIPP CITY        OH      45371‐2915
ALLEN, RICKY         PO BOX 24586                                                                                   FORT WORTH       TX      76124‐1586
ALLEN, RICKY         1422 LILLIAN DR                                                                                FLINT            MI      48505‐2530
ALLEN, RICKY D       5240 S HILLTOP FARMS DR                                                                        FRANKLIN         IN      46131‐7578
ALLEN, RICKY E       329 E MAIN ST                                                                                  MARCELLUS        MI      49067‐9501
ALLEN, RITA          5521 COLE RD                                                                                   SAGINAW          MI      48601‐9760
ALLEN, RITA F        1021 CURRY RD                                                                                  SUTERSVILLE      PA      15083‐1095
ALLEN, ROBERT        3515 VICTORY AVE                                                                               TOLEDO           OH      43607‐2563
ALLEN, ROBERT        GUY WILLIAM S                     PO BOX 509                                                   MCCOMB           MS      39649‐0509
ALLEN, ROBERT A      242 DEERPATH STREET                                                                            OZARK            AL      36360‐2680
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ALLEN, ROBERT B       ANGELOS PETER G               100 N CHARLES STREET, ONE                                      BALTIMORE         MD 21201
                                                    CHARLES CENTER
ALLEN, ROBERT B       805 BELAIR DR.                                                                               DARIEN           IL   60561‐4007
ALLEN, ROBERT B       300 S GREENTREE DR                                                                           MUNCIE           IN   47304‐4103
ALLEN, ROBERT B       27000 EUNICE AVE                                                                             DEFIANCE         OH   43512‐8740
ALLEN, ROBERT B       47 S CIRCLE DR                                                                               GERMANTOWN       OH   45327‐1367
ALLEN, ROBERT B       805 BELAIR DR                                                                                DARIEN           IL   60561‐4007
ALLEN, ROBERT BRIAN   27000 EUNICE AVE                                                                             DEFIANCE         OH   43512‐8740
ALLEN, ROBERT C       6240 CRABTREE LN                                                                             BURTON           MI   48519‐1304
ALLEN, ROBERT C       4201 COBBLERS LN                                                                             DALLAS           TX   75287‐6728
ALLEN, ROBERT D       6977 DREXEL ST                                                                               DEARBORN HTS     MI   48127‐2263
ALLEN, ROBERT D       529 E CHURCH AVE                                                                             LONGWOOD         FL   32750‐5310
ALLEN, ROBERT D       25321 POTOMAC DR                                                                             SOUTH LYON       MI   48178‐1081
ALLEN, ROBERT D       130 ELLINGTON LNDG                                                                           BALL GROUND      GA   30107‐4929
ALLEN, ROBERT E       9400 ISLAND DRIVE                                                                            GOODRICH         MI   48438‐9408
ALLEN, ROBERT E       PO BOX 144                                                                                   HADLEY           MI   48440‐0144
ALLEN, ROBERT E       5597 POINTE TREMBLE RD                                                                       ALGONAC          MI   48001‐4372
ALLEN, ROBERT E       2625 E. SOUTHERN AVE.         C113                                                           TEMPE            AZ   85282
ALLEN, ROBERT F       5 PARK SQ                                                                                    FRANKLINVILLE    NY   14737‐1109
ALLEN, ROBERT G       401 S GARFIELD AVE APT B4                                                                    TRAVERSE CITY    MI   49686‐2966
ALLEN, ROBERT G       4515 96TH AVE NE                                                                             NORMAN           OK   73026‐6903
ALLEN, ROBERT J       623 S ANDRE ST                                                                               SAGINAW          MI   48602‐2405
ALLEN, ROBERT J       605 CHERRY ST                                                                                CLIO             MI   48420‐1217
ALLEN, ROBERT J       396 135TH AVE                                                                                WAYLAND          MI   49348‐9402
ALLEN, ROBERT J       9073 HIDDEN OAKS DR                                                                          GRAND BLANC      MI   48439‐8099
ALLEN, ROBERT J       RT 1 BOX 305 E                4433 INDIAN HILL RD                                            HONOR            MI   49640
ALLEN, ROBERT K       431 E 6TH ST                                                                                 MOUNT CARMEL     IL   62863‐2028
ALLEN, ROBERT L       2435 ANTELOPE CT                                                                             VILLA HILLS      KY   41017‐3723
ALLEN, ROBERT L       16500 WELLINGTON LAKES CIR                                                                   FORT MYERS       FL   33908‐7620
ALLEN, ROBERT L       1913 SW 4TH ST                                                                               CAPE CORAL       FL   33991‐1803
ALLEN, ROBERT L       19924 CANTERBURY RD                                                                          DETROIT          MI   48221‐1811
ALLEN, ROBERT L       2201 CANNIFF ST                                                                              FLINT            MI   48504‐2076
ALLEN, ROBERT L       8647 FM 2517                                                                                 CARTHAGE         TX   75633‐8049
ALLEN, ROBERT L       271 VILLAGE LN                C/O JANET LEE POWER                                            GREENWOOD        IN   46143‐2437
ALLEN, ROBERT L       3461 PEMBRIDGE DR                                                                            SHELBY TWP       MI   48316‐1010
ALLEN, ROBERT L       3942 E 176TH ST                                                                              CLEVELAND        OH   44128‐1750
ALLEN, ROBERT L       PO BOX 243                                                                                   CAMP HILL        AL   36850‐0243
ALLEN, ROBERT L       21848 SUSSEX ST                                                                              OAK PARK         MI   48237‐2613
ALLEN, ROBERT L       11 HARVEY AVE                                                                                ROCHELLE PARK    NJ   07662‐3632
ALLEN, ROBERT L       1515 TULANE CIR                                                                              FLINT            MI   48503‐5252
ALLEN, ROBERT L       820 WESTHAVEN BLVD                                                                           LANSING          MI   48917‐4013
ALLEN, ROBERT LEE     8647 FM 2517                                                                                 CARTHAGE         TX   75633‐8049
ALLEN, ROBERT LEE     820 WESTHAVEN BLVD                                                                           LANSING          MI   48917‐4013
ALLEN, ROBERT LEROY   BOONE ALEXANDRA               205 LINDA DR                                                   DAINGERFIELD     TX   75638‐2107
ALLEN, ROBERT N       2957 POWDERHORN RIDGE RD      C/O VINCENTA ALLEN                                             ROCHESTER HLS    MI   48309‐1344
ALLEN, ROBERT P       2924 BARNES RD                                                                               MILLINGTON       MI   48746‐9027
ALLEN, ROBERT P       118 MEADOWOOD DR                                                                             NEWARK           DE   19711‐7235
ALLEN, ROBERT S       1427 MINNS DR                                                                                MACHESNEY PARK   IL   61115‐2146
ALLEN, ROBERT S       521 HOLLY CT                                                                                 PORT CLINTON     OH   43452‐2123
ALLEN, ROBERT S       1427 MINNS DRIVE                                                                             MACHESNEY PK     IL   61115‐2146
ALLEN, ROBERT T       40 NORWOOD AVE                                                                               PLAINFIELD       NJ   07060‐1324
ALLEN, ROBERT T       11140 SPANNTOWN RD                                                                           ARRINGTON        TN   37014‐4905
ALLEN, ROBERT W       347 N CORPORATION LINE RD                                                                    VEEDERSBURG      IN   47987‐8499
ALLEN, ROBERT W       8106 TIMBERLODGE TRL                                                                         WASHINGTO TWP    OH   45458‐2102
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Name                 Address1                         Address2                         Address3   Address4               City              State   Zip
ALLEN, ROBERT W      20479 HARBESON RD                                                                                   HARBESON           DE     19951‐2812
ALLEN, ROBERT W      85 BRENTWOOD DR                                                                                     OXFORD             MI     48371‐6126
ALLEN, ROBIN M       1075 YOUNSTOWN‐KINGSVILLE RD                                                                        VIENNA             OH     44473
ALLEN, ROBIN M       103 BENNETT DRIVE                                                                                   VIENNA             OH     44473‐9514
ALLEN, ROCKY L       2623 N 158TH ST                                                                                     BASEHOR            KS     66007‐9232
ALLEN, RODERICK M    29131 WOODCREST CT                                                                                  SOUTHFIELD         MI     48076
ALLEN, RODNEY C      6300 WALDON WOODS DR                                                                                CLARKSTON          MI     48346‐2479
ALLEN, RODNEY D      4600 GARARD CHAPEL RD                                                                               BOWLING GREEN      IN     47833‐8232
ALLEN, RODNEY D      13280 US RT 62 NORTH                                                                                LEESBURG           OH     45135
ALLEN, RODNEY DALE   13280 US RT 62 NORTH                                                                                LEESBURG           OH     45135
ALLEN, ROGER         EARLY LUDWICK & SWEENEY L.L.C.   ONE CENTURY TOWER, 11TH FLOOR,                                     NEW HAVEN          CT     06508‐1866
                                                      265 CHURCH STREET
ALLEN, ROGER         6374 CHERRY TREE CT                                                                                 ROCHESTER HILLS   MI      48306‐3308
ALLEN, ROGER B       120 N NEWMAN RD                                                                                     LAKE ORION        MI      48362‐1120
ALLEN, ROGER L       PO BOX 28401                                                                                        COLUMBUS          OH      43228
ALLEN, ROGER W       1532 WILLIAMSBURG LN                                                                                FRANKLIN          IN      46131‐1951
ALLEN, RONALD        1355 MITCHELL RD                                                                                    PULASKI           TN      38478‐8070
ALLEN, RONALD        PO BOX 4345                                                                                         MONROE            LA      71211‐4345
ALLEN, RONALD B      4346 BEECHWOOD AVE                                                                                  BURTON            MI      48509‐1102
ALLEN, RONALD B      8364 KINGLET DR                                                                                     ENGLEWOOD         FL      34224‐7734
ALLEN, RONALD C      45116 JEANETTE AVE                                                                                  BELLEVILLE        MI      48111‐2434
ALLEN, RONALD D      14077 NEFF RD                                                                                       CLIO              MI      48420‐8806
ALLEN, RONALD E      6739 LINDLEY AVE                                                                                    RESEDA            CA      91335‐5513
ALLEN, RONALD E      120 N HYATT ST                                                                                      TIPP CITY         OH      45371‐1411
ALLEN, RONALD H      PO BOX 481                                                                                          ORTONVILLE        MI      48462‐0481
ALLEN, RONALD K      124 GREENS CIR                                                                                      RICHMOND          KY      40475‐9065
ALLEN, RONALD L      32765 MISSAUKEE CT                                                                                  WESTLAND          MI      48186‐4742
ALLEN, RONALD L      13978 N COUNTY ROAD 350 E                                                                           BRAZIL            IN      47834‐7052
ALLEN, RONALD O      2341 STOCKMEYER BLVD                                                                                WESTLAND          MI      48186‐9326
ALLEN, RONALD R      74 PICKERING DR                                                                                     KISSIMMEE         FL      34746
ALLEN, RONALD S      18221 HANNA ST                                                                                      MELVINDALE        MI      48122‐1424
ALLEN, RONALD W      9044 RAINSBROOK ST                                                                                  LAS VEGAS         NV      89123
ALLEN, RONNIE G      6615 W RYAN DR                                                                                      ANDERSON          IN      46011‐9154
ALLEN, ROOSEVELT     709 HAZELWOOD ST APT 308                                                                            DETROIT           MI      48202‐1779
ALLEN, RORY D        1613 HENRY AVE SW B                                                                                 CANTON            OH      44706
ALLEN, ROSEMARY      2933 CLAYBURN RD                                                                                    SAGINAW           MI      48603‐3191
ALLEN, ROSEMERRY D   24207 TAMARACK CIR                                                                                  SOUTHFIELD        MI      48075‐6180
ALLEN, ROSETTA       2348 FULLERTON STREET                                                                               DETROIT           MI      48238‐3576
ALLEN, ROSETTA       32995 GARFIELD RD                                                                                   FRASER            MI      48026‐3849
ALLEN, ROSETTA       193 MEGAN RD                                                                                        HYANNIS           MA      02601‐2510
ALLEN, ROXY J        1199 WILDFLOWER DR                                                                                  HOLT              MI      48842‐8811
ALLEN, ROXY JO       1199 WILDFLOWER DR                                                                                  HOLT              MI      48842‐8811
ALLEN, ROY           PO BOX 1331                                                                                         NASH              TX      75569‐1331
ALLEN, ROY           1440 PEABODY DR                                                                                     MARYVILLE         TN      37803‐2874
ALLEN, ROY           CRAWLEY LAW OFFICES              PO BOX 1695                                                        KOSCIUSKO         MS      39090‐1695
ALLEN, ROY           2218 FRANCIS AVE                                                                                    FLINT             MI      48505‐5016
ALLEN, ROY D         23007 STATE HIGHWAY DD                                                                              GALLATIN          MO      64640‐6311
ALLEN, ROY G         15100 FAIRWAY CT                                                                                    HILLMAN           MI      49746‐9660
ALLEN, ROY L         1914 SHORES LN                                                                                      ROCKPORT          TX      78382‐3452
ALLEN, ROY W         PO BOX 465                                                                                          PENDERGRASS       GA      30567‐0465
ALLEN, RUBY E        905 W. TURTLE CK. UNION ROAD                                                                        LEBANON           OH      45036
ALLEN, RUBY H        139 APPIAN WAY                                                                                      ANDERSON          IN      46013‐4769
ALLEN, RUDOLPH V     15 JAMES ST APT A8                                                                                  OSSINING          NY      10562‐5418
ALLEN, RUSSELL       14259 METTETAL ST                                                                                   DETROIT           MI      48227‐1874
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Name                    Address1                        Address2             Address3         Address4               City              State   Zip
ALLEN, RUSSELL A        12063 JENNINGS RD                                                                            LINDEN             MI     48451‐9475
ALLEN, RUSSELL ALFRED   12063 JENNINGS RD                                                                            LINDEN             MI     48451‐9475
ALLEN, RUSSELL H        5645 KINGSVILLE RD.                                                                          CORTLAND           OH     44410
ALLEN, RUSSELL H        9892 UPPER LEWISBURG SALEM RD                                                                BROOKVILLE         OH     45309‐9204
ALLEN, RUSSELL K        208 S ENGLISH ST                                                                             MOORE              OK     73160‐7106
ALLEN, RUSTY K          2253 NOBLE AVE                                                                               FLINT              MI     48532‐3917
ALLEN, RUSTY KIM        2253 NOBLE AVE                                                                               FLINT              MI     48532‐3917
ALLEN, RUTH             927 GAINDER RD R 2                                                                           PLAINWELL          MI     49080
ALLEN, RUTH A           1010 W HURD RD                                                                               CLIO               MI     48420‐1816
ALLEN, RUTH A           1010 HURD RD                                                                                 CLIO               MI     48420
ALLEN, RUTH E           608 PARK AVE                                                                                 FRANKLIN           OH     45005‐3555
ALLEN, RUTH E           ATTN: RUTH A JOLES              426 DIVINE HWY                                               PORTLAND           MI     48875
ALLEN, RUTH E           PO BOX 295                                                                                   PULASKI            PA     16143‐0295
ALLEN, RUTH E           558 LINCOLNS DR                                                                              BRANDON            MS     39042‐8485
ALLEN, RUTH E.          2850 W GREGORY ST                                                                            APACHE JUNCTION    AZ     85220

ALLEN, RUTH EVELYN      558 LINCOLNS DR                                                                              BRANDON           MS      39042‐8485
ALLEN, RUTH W           65 BAYBERRY LN                                                                               WATCHUNG          NJ      07069‐6101
ALLEN, RYAN
ALLEN, RYAN E           312 GREYBULL DR                                                                              BEAR              DE      19701‐2174
ALLEN, SABLE K          703 E SPRINGBORO RD                                                                          SPRINGBORO        OH      45066‐5066
ALLEN, SABLE K          703 E LOWER SPRINGBORO RD                                                                    SPRINGBORO        OH      45066‐9387
ALLEN, SADIE M          15 PORTAGE                                                                                   PONTIAC           MI      48341
ALLEN, SALLIE
ALLEN, SALLIE C         805 BRISTOL WAY                                                                              LITHONIA          GA      30058‐8253
ALLEN, SAMUEL B         PO BOX 18535                                                                                 SHREVEPORT        LA      71138‐1535
ALLEN, SAMUEL D         24675 PIN OAK RD                                                                             TRUXTON           MO      63381‐3109
ALLEN, SAMUEL M         4100 FORT BRANCH DR                                                                          ARLINGTON         TX      76016‐3213
ALLEN, SAMUEL M         PO BOX 123                                                                                   HARTSELLE         AL      35640‐0123
ALLEN, SAMUEL R         1934 TAWNEY LN                                                                               AVON              IN      46123‐9595
ALLEN, SAMUEL RAY       1934 TAWNEY LN                                                                               AVON              IN      46123‐9595
ALLEN, SANDRA           9999 MARROW COZADDALE RD                                                                     MARROW            OH      45152
ALLEN, SANDRA           9999 MORROW COZADDALE RD                                                                     MORROW            OH      45152‐8591
ALLEN, SANDRA L         PO BOX 863                                                                                   MARSHALL          NC      28753‐0863
ALLEN, SARA F           7032 BARKWOOD DR                                                                             JACKSONVILLE      FL      32277‐2603
ALLEN, SARA L           4350 SWANSON DR                                                                              INDIANAPOLIS      IN      46228‐2824
ALLEN, SARA LOUISE      4350 SWANSON DR                                                                              INDIANAPOLIS      IN      46228‐2824
ALLEN, SARAH            69 BROOKHAVEN DR                                                                             TROTWOOD          OH      45426‐3102
ALLEN, SARAH            6890 TICONDEROGA TRL                                                                         EDEN PRAIRIE      MN      55346‐2100
ALLEN, SARAH J          5935 MONTINA RD                                                                              KNOXVILLE         TN      37912‐4557
ALLEN, SARAH L          1562 FARRINGTON DR                                                                           DAYTON            OH      45420‐1381
ALLEN, SARAH M          8325 LOWELL AVE APT 1                                                                        OVERLAND PARK     KS      66212‐2742
ALLEN, SAUNDRA K        216 LEE ST                                                                                   EATON RAPIDS      MI      48827‐1726
ALLEN, SCOTT            6200 CHERRI LYNN DR.                                                                         CLAYTON           OH      45415
ALLEN, SCOTT N          951 EDGEWOOD DR                                                                              CHOCTAW           OK      73020‐7707
ALLEN, SCOTT S          7024 LEAVENWORTH RD                                                                          KANSAS CITY       KS      66109‐1326
ALLEN, SEAN A           PO BOX 17252                                                                                 DAYTON            OH      45417‐0252
ALLEN, SEYMOUR G        2800 TURLEY PL APT 1                                                                         MIDWEST CITY      OK      73110‐7538
ALLEN, SHANE E          5711 YOUNGSTOWN KINGSVILLE RD                                                                CORTLAND          OH      44410‐9717
ALLEN, SHANNON
ALLEN, SHANNON D        1001 HAYES ST                                                                                MADISON            GA     30650‐3605
ALLEN, SHANNON M        1434 HESSEN RD                                                                               COLUMBUS           MI     48063‐2617
ALLEN, SHARLENE L       11345 STRATHMOOR ST                                                                          DETROIT            MI     48227‐2750
ALLEN, SHARON A         7761 COLONY DR                                                                               CLAY               MI     48001‐4114
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Name                     Address1                        Address2                      Address3   Address4               City            State   Zip
ALLEN, SHARON J          9945 LINDA DRIVE                371                                                             YPSILATI         MI     48197
ALLEN, SHARON J          9945 LINDA DRIVE                #371                                                            YPSILANTI        MI     48197
ALLEN, SHARON L          3569 DYER PARKE LN SW                                                                           MARIETTA         GA     30060‐7529
ALLEN, SHARON L          7132 HOUGHTON DR                                                                                DAVISON          MI     48423‐2336
ALLEN, SHARON L          8415 RITTENHOUSE CIR                                                                            CHARLOTTE        NC     28270‐1069
ALLEN, SHATEVEIA R       1367 PHILADELPHIA DR                                                                            DAYTON           OH     45406‐4643
ALLEN, SHEILA D          26151 LAKE SHORE BLVD APT 607                                                                   EUCLID           OH     44132‐1152
ALLEN, SHELBY            GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                     NORFOLK          VA     23510‐2212
                                                         STREET, SUITE 600
ALLEN, SHERRY M          7568 LITTLE WALTERS CT                                                                          CLARKSTON       MI      48348‐4445
ALLEN, SHIRLEAN H        342 CLEVELAND AVE E                                                                             WARREN          OH      44483‐1905
ALLEN, SHIRLEY           5437 E 71ST ST APT 95                                                                           TULSA           OK      74136‐6256
ALLEN, SHIRLEY           3924 REX RD                                                                                     REX             GA      30273‐1328
ALLEN, SHIRLEY A         620 57TH AVE W #16F                                                                             BRADENTON       FL      34207
ALLEN, SHIRLEY A         1211 S 8TH ST                                                                                   MONROE          LA      71202‐2905
ALLEN, SHIRLEY A         PO BOX 9005                                                                                     GALLATIN        TN      37066‐6922
ALLEN, SHIRLEY C         2209 CRESTMONT DR.                                                                              GIRARD          OH      44420‐4420
ALLEN, SHIRLEY J         G3064 MILLER ROAD               APARTMENT 101                                                   FLINT           MI      48507‐1341
ALLEN, SHIRLEY J         G3064 MILLER RD APT 101                                                                         FLINT           MI      48507‐1339
ALLEN, SHIRLEY MAY       1116 LAKE SHORE CIRCLE                                                                          GRANDBLANC      MI      48439‐8043
ALLEN, SIDNEY C          8462 EUPHEMIA‐CASTINE RD.                                                                       LEWISBURG       OH      45338‐9050
ALLEN, SIDNEY C          8462 EUPHEMIA CASTINE RD                                                                        LEWISBURG       OH      45338‐9050
ALLEN, SIDNEY E          351 OLD HIGHWAY 33 3637A                                                                        NEW TAZEWELL    TN      37825
ALLEN, SOLENA A          21 CAPANO DR APT D1                                                                             NEWARK          DE      19702‐1717
ALLEN, SONIA             131 VIA MARIPOSA                                                                                PALM BCH GDNS   FL      33418‐6211
ALLEN, SONIA L           12254 RHONDA DR                                                                                 MEDWAY          OH      45341
ALLEN, SONNY C           147 TOWLER SHOALS DR                                                                            LOGANVILLE      GA      30052‐6720
ALLEN, STACY LYNN        6455 N MICHIGAN RD                                                                              SAGINAW         MI      48604‐9787
ALLEN, STANLEY           258 MORRIS DR                                                                                   SOUTH LEBANON   OH      45065‐1324
ALLEN, STANLEY           258 MORRIS DRIVE                                                                                SOUTH LEBANON   OH      45065‐1324
ALLEN, STANLEY W         3554 COUNTY ROAD 316                                                                            TRINITY         AL      35673‐5257
ALLEN, STANLEY W         521 HURSTVIEW DR                                                                                HURST           TX      76053‐6604
ALLEN, STELLA M          2912 S YONKERS ST                                                                               BLOOMINGTON     IN      47403‐3872
ALLEN, STEPHANIE A       2609 W 23RD ST                                                                                  ANDERSON        IN      46011‐4014
ALLEN, STEPHANIE D
ALLEN, STEPHANIE J       4410 BRIAR RIDGE DR                                                                             SHREVEPORT       LA     71119‐8422
ALLEN, STEPHANIE JEAN    4410 BRIAR RIDGE DR                                                                             SHREVEPORT       LA     71119‐8422
ALLEN, STEPHEN R         10368 HODGE RD                                                                                  CLAYTON          IN     46118‐9169
ALLEN, STEVE A           1411 LOTHRIDGE RD                                                                               CLEVELAND        GA     30528‐5058
ALLEN, STEVE F           PO BOX 62                                                                                       LINDEN           MI     48451‐0062
ALLEN, STEVE FREDERICK   PO BOX 62                                                                                       LINDEN           MI     48451‐0062
ALLEN, STEVE L           120 W HARRISON AVE                                                                              WABASH           IN     46992‐1224
ALLEN, STEVEN            NO ADDRESS FOR CLMT
ALLEN, STEVEN L          2680 BIALIK RD                                                                                  MANISTEE        MI      49660‐9451
ALLEN, STEVEN R          11269 LAKE RD                                                                                   OTISVILLE       MI      48463‐9716
ALLEN, STEVEN R          8615 PONTIAC LAKE RD APT 6                                                                      WHITE LAKE      MI      48386‐1671
ALLEN, STEVEN R          302 S WILLIAMS ST                                                                               PERRY           MI      48872‐8124
ALLEN, STUART C          2680 60TH ST SE                                                                                 GRAND RAPIDS    MI      49508‐6611
ALLEN, SUSAN K           218 WEST MITCHELL STREET                                                                        GAYLORD         MI      49735‐1439
ALLEN, SUSAN R           4161 CLEMATIS DR                                                                                SAGINAW         MI      48603‐1164
ALLEN, TABITHA           1610 PIEDMONT PL                                                                                CARROLLTON      TX      75007‐5041
ALLEN, TAJAUNA C         652 DENNISON AVE                                                                                DAYTON          OH      45408‐1219
ALLEN, TAMARA K          3777 BATH RD                                                                                    PERRY           MI      48872‐8102
ALLEN, TAMARA L          3775 CAMERON CT                                                                                 ANDERSON        IN      46012
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Name                   Address1                       Address2                      Address3                Address4                City               State   Zip
ALLEN, TAMEIKA         1000 MONTREAL, # 35 ‐H                                                                                       CLARKSTON           GA     30021
ALLEN, TAMMY M         32836 NORTH RIVER ROAD                                                                                       HARRISON TWP        MI     48045‐1490
ALLEN, TANYA L         2286 MILTON STREET SOUTHEAST                                                                                 WARREN              OH     44484‐5245
ALLEN, TARA            459 FOX HILLS DR N                                                                                           BLOOMFIELD HILLS    MI     48304‐1309
ALLEN, TERRANCE E      8756 PECK RD                                                                                                 RAVENNA             OH     44266‐9775
ALLEN, TERRI L         6618 FLEMING RD                                                                                              FLINT               MI     48504‐1661
ALLEN, TERRI M         25582 CUNNINGHAM AVENUE                                                                                      WARREN              MI     48091‐1420
ALLEN, TERRI M         1973 PEPPERHILL CT                                                                                           MIDDLEBURG          FL     32068‐4684
ALLEN, TERRY G         7916 IRVINGTON AVENUE                                                                                        DAYTON              OH     45415‐2316
ALLEN, TERRY L         51901 SHELBY RD                                                                                              SHELBY TWP          MI     48316‐4153
ALLEN, TERRY L         3030 MERRITT RD                                                                                              YPSILANTI           MI     48197‐9303
ALLEN, TERRY L         13176 OLD MANSFIELD RD                                                                                       MOUNT VERNON        OH     43050‐9706
ALLEN, TERRY R         15363 MICHAEL ST                                                                                             TAYLOR              MI     48180‐5014
ALLEN, TERRY W         2919 CHEYENNE DR                                                                                             BOWLING GREEN       KY     42104‐4327
ALLEN, THELMA          347 OLIVER ST                                                                                                BORDENTOWN          NJ     08505‐1712
ALLEN, THELMA          258 W DENNICK AVE                                                                                            YOUNGSTOWN          OH     44504‐1817
ALLEN, THELMA A        PO BOX 320761                                                                                                FLINT               MI     48532‐0014
ALLEN, THEODORE        1802 BECK DR APT 2                                                                                           URBANA               IL    61802‐6806
ALLEN, THERESA         13618 VIA ROMA CIR                                                                                           CLERMONT            FL     34711‐5433
ALLEN, THERESA A       7091 E CARPENTER RD                                                                                          DAVISON             MI     48423‐8957
ALLEN, THERESE M       4943 CLENDENING ROAD                                                                                         GLADWIN             MI     48624‐9658
ALLEN, THOMAS H        GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                                   NORFOLK             VA     23510‐2212
                                                      STREET, SUITE 600
ALLEN, THOMAS J        9998 HADLEY RD                                                                                               CLARKSTON          MI      48348‐1912
ALLEN, THOMAS L        7754 PONTIAC LAKE RD                                                                                         WATERFORD          MI      48327‐1429
ALLEN, THOMAS L        121 S MAIN ST                                                                                                HICKSVILLE         OH      43526‐1318
ALLEN, THOMAS L        PO BOX 189                                                                                                   LAKE GEORGE        MI      48633‐0189
ALLEN, THOMAS M        134 SHERBROOK RD                                                                                             MANSFIELD          OH      44907‐2433
ALLEN, THOMAS M        712 NEW ST                                                                                                   CLIO               MI      48420‐1598
ALLEN, THOMAS M        1862 SUGAR RUN TRL                                                                                           BELLBROOK          OH      45305‐1150
ALLEN, THOMAS N        55478 BUCKHORN RD                                                                                            THREE RIVERS       MI      49093‐9691
ALLEN, THOMAS R        4354 RISEDORPH ST                                                                                            BURTON             MI      48509‐1118
ALLEN, THOMAS R        2650 HAMILTON MASON ROAD                                                                                     HAMILTON           OH      45011‐5306
ALLEN, THOMAS RONALD   4354 RISEDORPH ST                                                                                            BURTON             MI      48509‐1118
ALLEN, THOMAS W        11344 BANCROFT CT                                                                                            FENTON             MI      48430‐2485
ALLEN, THUSA N         C/O GLENN WESLEY ALLEN         125 LEAMINGTON CIRCLE                                                         ROCHESTER          NY      14626
ALLEN, THUSA N         125 LEAMINGTON CIR             C/O GLENN WESLEY ALLEN                                                        ROCHESTER          NY      14626‐4478
ALLEN, TIM M           11152 PRESTWICK DR                                                                                           LANSING            MI      48917‐8873
ALLEN, TIMOTHY         C/O JAIDAH GROUP               GENERAL MANAGER AUTOMOTIVE    BOX 150                 DOHA 00000 QATAR
                                                      DVSN
ALLEN, TIMOTHY         PO BOX 9022                    DUBAI                                                                         WARREN             MI      48090‐9022
ALLEN, TIMOTHY         PO BOX 726                                                                                                   STOCKBRIDGE        MI      49285‐0726
ALLEN, TIMOTHY         4100 HUNGTINGTON CT #33                                                                                      CLEVELAND          TN      37311
ALLEN, TIMOTHY A       7621 OLDE STURBRIDGE TRL                                                                                     CLARKSTON          MI      48348‐4613
ALLEN, TIMOTHY R       4365 OLD COLUMBUS RD                                                                                         LONDON             OH      43140‐8814
ALLEN, TIMOTHY RHETT   GILREATH & ASSOCIATES          PO BOX 1270                   550 MAIN ST, STE 600,                           KNOXVILLE          TN      37901‐1270
ALLEN, TODD B          1597 WHITNAUER DR                                                                                            LEXINGTON          OH      44904
ALLEN, TODD C          135 CANTER LN                                                                                                HOLLY              MI      48442‐9168
ALLEN, TODD CAREY      135 CANTER LN                                                                                                HOLLY              MI      48442‐9168
ALLEN, TODD E          3359 GLACIER DR                                                                                              LAKE ORION         MI      48360‐1042
ALLEN, TOK S           4600 GARARD CHAPEL RD                                                                                        BOWLING GREEN      IN      47833‐8232
ALLEN, TOM             405 W WATER ST APT 102                                                                                       FLINT              MI      48503‐5636
ALLEN, TOMMIE L        512 S 23RD ST                                                                                                SAGINAW            MI      48601‐1544
ALLEN, TRACEY Y        421 S MEADE ST                                                                                               FLINT              MI      48503‐2273
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Name                   Address1                        Address2                         Address3   Address4               City             State Zip
ALLEN, TRACEY YVETTE   421 S MEADE ST                                                                                     FLINT             MI 48503‐2273
ALLEN, TRACIE L        521 ATTICA ST                                                                                      VANDALIA          OH 45377‐1811
ALLEN, TRAVIS M        9882 M‐21                                                                                          OVID              MI 48866
ALLEN, TREVOR R        2334 MESSICK SOUTH RD                                                                              NORTH BLOOMFIELD OH 44450‐9560

ALLEN, TRINA B         2806 CATAMOUNT CT                                                                                  DURHAM           NC    27704
ALLEN, ULYSSES         4821 MIAMI LN                                                                                      FLINT            MI    48504‐2053
ALLEN, VALERIE E       100 CHINKAPIN RILL                                                                                 FENTON           MI    48430‐8781
ALLEN, VALJEAN H       PO BOX 181                                                                                         NILES            OH    44446‐0181
ALLEN, VEDA M          1310 S PLATE ST                                                                                    KOKOMO           IN    46902‐1855
ALLEN, VELMA           184 CAMBRIDGE AVE                                                                                  BUFFALO          NY    14215‐3702
ALLEN, VELMA           2700 12TH ST                                                                                       DETROIT          MI    48216‐1213
ALLEN, VELMA E         5502 WINTHROP BLVD                                                                                 FLINT            MI    48505‐5137
ALLEN, VENNY           1227 CUMBERLAND AVE                                                                                DAYTON           OH    45406‐5957
ALLEN, VENUS T         11725 BELLA MILANO COURT                                                                           WINDERMERE       FL    34786‐6059
ALLEN, VERNELL         196 DOCTOR LN                                                                                      VARNILLE         SC    29944‐3997
ALLEN, VERNON          3040 PRESIDENTIAL DR STE 222    C/O CONWAY, HALL & MUELLER,LPA                                     FAIRBORN         OH    45324‐6272
ALLEN, VICKIE T        2640 GREYHAWK DR                                                                                   LITTLE ELM       TX    75068‐6940
ALLEN, VICTOR E        3616 NW BRIARWOOD DR                                                                               BLUE SPRINGS     MO    64015‐2517
ALLEN, VICTOR K        408 N RYBOLT AVE                                                                                   INDIANAPOLIS     IN    46222‐3244
ALLEN, VICTOR K        PO BOX 2633                                                                                        INDIANAPOLIS     IN    46206‐2633
ALLEN, VICTOR W        2412 PEACEFUL CT                C/O VICKIE J KIMBROUGH                                             WILDWOOD         MO    63011‐4904
ALLEN, VIOLA           5306 MERRICK DR                                                                                    PEACHTREE CITY   GA    30269‐6670
ALLEN, VIOLETA L       1353 N 30TH ST 194                                                                                 GALESBURG        MI    49053
ALLEN, VIRGINA M       5446 BANDY RD                                                                                      HOMEWORTH        OH    44634
ALLEN, VIRGINIA        412 TANNAHILL ST                                                                                   DEARBORN         MI    48124‐1056
ALLEN, VIRGINIA        6009 BOYD RD LOT 22                                                                                SODUS            NY    14551‐9335
ALLEN, VIRGINIA D      835 RIVERVIEW DR.                                                                                  LEAVITTSBURG     OH    44430‐9679
ALLEN, VIRGINIA L      203 NE 50TH COURT               APT 313                                                            KANSAS CITY      MO    64118
ALLEN, VIRGINIA L      APT 313                         203 NORTHEAST 50TH COURT                                           KANSAS CITY      MO    64118‐4580
ALLEN, VIRGINIA M      4218 FREE PIKE                                                                                     DAYTON           OH    45416‐1216
ALLEN, VIRGINIA R      155 W COUNTY ROAD 700 S                                                                            CLOVERDALE       IN    46120
ALLEN, VIRTIE A        5110 NAWAL DR                                                                                      ELDORADO HILLS   CA    95762‐5676
ALLEN, VIVIAN R        1017 ROUTON DR SW                                                                                  DECATUR          AL    35601‐2742
ALLEN, W R             4185 BIG PLAIN CIRCLEVILLE RD                                                                      LONDON           OH    43140‐9409
ALLEN, WADE P          820 QUAIL TER                                                                                      MANSFIELD        TX    76063‐1528
ALLEN, WALLACE D       140 HETZER DR                                                                                      BUNKER HILL      WV    25413‐3150
ALLEN, WALTER E        500 LOUIE MEEKS RD                                                                                 OAKLAND          KY    42159‐9714
ALLEN, WALTER E        30 E KNIGHT DR                                                                                     CARROLLTON       GA    30116‐7469
ALLEN, WALTER J        PO BOX 922                                                                                         WILLIAMSBURG     NM    87942‐0922
ALLEN, WALTER R        1667 OLD CONYERS RD                                                                                STOCKBRIDGE      GA    30281‐2746
ALLEN, WALTER R        210 BAHAMA CT                                                                                      GRANBURY         TX    76048‐2589
ALLEN, WALTER RAY      1667 OLD CONYERS RD                                                                                STOCKBRIDGE      GA    30281‐2746
ALLEN, WALTER T        PO BOX 36                                                                                          ULMER            SC    29849‐0036
ALLEN, WALTER W        27215 WESTLAND RD                                                                                  REDFORD          MI    48240‐2334
ALLEN, WANDA M         92 E JUDSON ST                                                                                     PONTIAC          MI    48342‐3030
ALLEN, WANDA M         503 CHEYENNE TRL                                                                                   COLUMBIA         TN    38401‐2121
ALLEN, WANDA N         PO BOX 91                                                                                          BROUGHTON         IL   62817‐0091
ALLEN, WARDELL         315 CLOVERLAND DR                                                                                  LANSING          MI    48910‐5369
ALLEN, WARREN M        316 WILDWOOD CIR                                                                                   TECUMSEH         MI    49286‐8706
ALLEN, WAYMOND         423 N 31ST ST                                                                                      NEW CASTLE       IN    47362‐3437
ALLEN, WAYNE           6171 PENWOOD RD                                                                                    MOUNT MORRIS     MI    48458‐2731
ALLEN, WAYNE           PO BOX 331                                                                                         ANDERSON         IN    46015‐0331
ALLEN, WAYNE A         6400 FIGHTER RD                                                                                    FREEPORT         MI    49325‐9433
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Name                       Address1                            Address2                      Address3   Address4               City            State   Zip
ALLEN, WAYNE B             15 WILLOW WAY                                                                                       BERLIN           MD     21811‐1667
ALLEN, WAYNE W             878 SPENCERPORT RD                                                                                  ROCHESTER        NY     14606‐4856
ALLEN, WENDELL L           620 FEDERAL DR                                                                                      ANDERSON         IN     46013‐4715
ALLEN, WESLEY H            16400 GEDDES RD                                                                                     HEMLOCK          MI     48626‐9604
ALLEN, WILBERT             4421 MARCUS AVE                                                                                     SAINT LOUIS      MO     63115‐2237
ALLEN, WILBURN             GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                     NORFOLK          VA     23510‐2212
                                                               STREET, SUITE 600
ALLEN, WILBURN L           919 SAMUELS AVE APT B                                                                               FORT WORTH      TX      76102‐1377
ALLEN, WILHELMINA          2688 TOMAHAWK CT                                                                                    WATERFORD       MI      48328‐3183
ALLEN, WILLIAM             1720 INDIAN TRAIL                                                                                   LEESBURG        FL      34748‐3110
ALLEN, WILLIAM             3600 HAWTHORNE LN                                                                                   KOKOMO          IN      46902‐4559
ALLEN, WILLIAM             771 FAIRMONT AVE                                                                                    YOUNGSTOWN      OH      44510‐1438
ALLEN, WILLIAM             SIMMONS FIRM                        PO BOX 521                                                      EAST ALTON      IL      62024‐0519
ALLEN, WILLIAM             MOODY EDWARD O                      801 W 4TH ST                                                    LITTLE ROCK     AR      72201‐2107
ALLEN, WILLIAM             885 LEWISTOWN CHURCH RD                                                                             PRINCETON       KY      42445‐6244
ALLEN, WILLIAM A           7464 ELMCREST AVE                                                                                   MOUNT MORRIS    MI      48458‐1833
ALLEN, WILLIAM A           2256 CECIL AVE                                                                                      BALTIMORE       MD      21218‐6304
ALLEN, WILLIAM ALEXANDER   2256 CECIL AVE                                                                                      BALTIMORE       MD      21218‐6304
ALLEN, WILLIAM B           1206 CYPRESS COVE CT LOT 4                                                                          INVERNESS       FL      34450‐5003
ALLEN, WILLIAM B           39730 PRIMROSE CIR                                                                                  MURRIETA        CA      92563‐4042
ALLEN, WILLIAM C           4551 Z. HY.                                                                                         BATES CITY      MO      64011
ALLEN, WILLIAM C           590 COUNTY ROAD 3992                                                                                WINNSBORO       TX      75494‐5812
ALLEN, WILLIAM C           2219 WOODS AND WATER CT             COURT                                                           SEBRING         FL      33872‐9233
ALLEN, WILLIAM C           1387 COUNTY RD 415                                                                                  TOWN CREEK      AL      35672
ALLEN, WILLIAM D           1757 DARLEY AVE                                                                                     BALTIMORE       MD      21213‐1320
ALLEN, WILLIAM D           PO BOX 127                                                                                          HOSCHTON        GA      30548‐0127
ALLEN, WILLIAM D           1120 GLENWOOD DR                                                                                    COLUMBIA        TN      38401‐6705
ALLEN, WILLIAM E           5461 TEXTILE RD                                                                                     YPSILANTI       MI      48197‐9210
ALLEN, WILLIAM E           117 PARK ST                                                                                         EATON RAPIDS    MI      48827‐1755
ALLEN, WILLIAM F           3749 RICHPOND RD                                                                                    BOWLING GREEN   KY      42104‐8736
ALLEN, WILLIAM F           C/O GOLDENBERG HELLER ANTOGNOLI &   2227 S STATE ROUTE 157                                          EDWARDSVILLE    IL      62025
                           ROWLAND PC
ALLEN, WILLIAM G           7890 BROADWING DR                                                                                   N LAS VEGAS     NV      89084‐2435
ALLEN, WILLIAM H           5400 N MOORE RD                                                                                     MUNCIE          IN      47304‐6006
ALLEN, WILLIAM J           3760 MORTIMER LINE RD                                                                               CROSWELL        MI      48422‐9742
ALLEN, WILLIAM J           305 TURNSTONE TRL                                                                                   GREENSBORO      NC      27455‐1369
ALLEN, WILLIAM L           589 YORKTOWN LN                                                                                     AVON            IN      46123‐1184
ALLEN, WILLIAM L           1305 SHAFTSBURRY ROAD                                                                               DAYTON          OH      45406
ALLEN, WILLIAM M           3272 WARREN MEADVILLE RD                                                                            CORTLAND        OH      44410‐9223
ALLEN, WILLIAM M           11338 KINGSLEY DR                                                                                   GRAND BLANC     MI      48439‐1226
ALLEN, WILLIAM M           7546 BETHEL RD                                                                                      PROSPECT        TN      38477‐6346
ALLEN, WILLIAM P           4733 WYNWOOD CT                                                                                     COLUMBUS        OH      43220‐3140
ALLEN, WILLIAM PRICE       SHANNON LAW FIRM                    100 W GALLATIN ST                                               HAZLEHURST      MS      39083‐3007
ALLEN, WILLIAM R           6702 HUMMELL ROAD                                                                                   CARROLL         OH      43112‐9528
ALLEN, WILLIAM R           6702 HUMMELL RD                                                                                     CARROLL         OH      43112‐9528
ALLEN, WILLIAM R           2606 BROWNSTONE DR                                                                                  DOVER           PA      17315‐3698
ALLEN, WILLIAM R           N 6889                              MAPLE LEAFS APARTMENTS        APT 18                            ENGADINE        MI      49827
ALLEN, WILLIAM R           3003 CLIFF DR                                                                                       WILLIAMSTON     MI      48895‐9156
ALLEN, WILLIAM R           2031 S ANANEA                                                                                       MESA            AZ      85209‐6224
ALLEN, WILLIAM ROSS        3003 CLIFF DR                                                                                       WILLIAMSTON     MI      48895‐9156
ALLEN, WILLIAM T           2220 FLORIDA AVE                                                                                    MARTINSVILLE    IN      46151‐8600
ALLEN, WILLIAM T           325 DEEP STEP RD                                                                                    COVINGTON       GA      30014‐1628
ALLEN, WILLIAM T           30 HOLLYBROOK RD                                                                                    ROCHESTER       NY      14623‐4531
ALLEN, WILLIAM THOMAS      C/O EDWARD O MOODY PA               801 WEST 4TH STREET                                             LITTLE ROCK     AR      72201
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ALLEN, WILLIE B                 4204 COMANCHE ST                                                                             FORT WORTH         TX     76119
ALLEN, WILLIE E                 337 N 22ND ST                                                                                SAGINAW            MI     48601‐1359
ALLEN, WILLIE J                 1204 MORNINGSIDE DR                                                                          ANDERSON           IN     46011‐2454
ALLEN, WILLIE L                 PO BOX 310305                                                                                FLINT              MI     48531‐0305
ALLEN, WILLIE R                 2826 ATHENS AVE                                                                              DAYTON             OH     45406‐4324
ALLEN, WILLIE T.                1318 HILLSIDE AVE                                                                            NASHVILLE          TN     37203‐4936
ALLEN, WILLIE W                 3102 GARVIN RD                                                                               DAYTON             OH     45405‐2009
ALLEN, WILLINE E                4443 COLLEGE AVE                                                                             KANSAS CITY        MO     64130‐2029
ALLEN, WILLIS                   4633 W ELKTON RD                                                                             HAMILTON           OH     45011‐8814
ALLEN, WILLIS E                 604 SHADOW CREST CT                                                                          NORMAN             OK     73072‐5303
ALLEN, WILLODEAN                617 OSCEOLA RD RR6                                                                           CADILLAC           MI     49601
ALLEN, WILMA W                  5803 W 1100 N                                                                                FRANKTON           IN     46044‐9408
ALLEN, YETIVA L                 3379 ANN DR                                                                                  FLUSHING           MI     48433‐2307
ALLEN, YETIVA LEE               3379 ANN DR                                                                                  FLUSHING           MI     48433‐2307
ALLEN, YUVIA
ALLEN, ZAMBELIA                 PO BOX 4545                                                                                  SEVIERVILLE       TN      37864‐7864
ALLEN,BENITA A                  2293 RENSHAW AVE                                                                             DAYTON            OH      45439‐3033
ALLEN,DWAIN                     5400 DOVETREE BLVD.                                                                          MORAINE           OH      45439
ALLEN,JONI L                    6519 CLOUD CT                                                                                HUBER HEIGHTS     OH      45424‐7012
ALLEN,TERRY G                   7916 IRVINGTON AVE                                                                           DAYTON            OH      45415‐2316
ALLEN‐ WOLCOTT, DALLIE A        1217 CURZON #102                                                                             HOWELL            MI      48843
ALLEN‐ WOLCOTT, DALLIE A        411 BELANGER ST                                                                              GROSSE POINTE     MI      48236
ALLEN‐BRADLEY CO
ALLEN‐BRADLEY CO LTD
ALLEN‐BRADLEY, JAYONTAY L       2135 OSTRUM DR                                                                               WATERFORD         MI      48328‐1824
ALLEN‐BRADLEY, JAYONTAY LAMAR   2135 OSTRUM DR                                                                               WATERFORD         MI      48328‐1824
ALLEN‐BROWN, THELMA             534 THOMSON ST                                                                               FLINT             MI      48503‐6116
ALLEN‐DECKER, JOAN R            51 ELMVIEW CT                                                                                SAGINAW           MI      48602‐3655
ALLEN‐HALL, MICHELE G           11280 RUNYAN LAKE RD                                                                         FENTON            MI      48430‐2458
ALLEN‐HICKS, BRENDA S           5036 N 350 E                                                                                 ANDERSON          IN      46012‐9531
ALLEN‐HUSKEY, ELLA I            40 RIVERSIDE RD                                                                              ESSEX             MD      21221‐7036
ALLEN‐LITTLE, SHIRLEY A         2516 WHIPPERWILL DR SE                                                                       GRAND RAPIDS      MI      49546‐5546
ALLEN‐MACK, ROBIN               1146 E PATTERSON ST                                                                          ALLIANCE          OH      44601‐1948
ALLEN‐OUZTS, SYLVIA             3210 COVENANT ROAD                                                                           COLUMBIA          SC      29204‐3609
ALLEN‐PRATT, JOAN R             6260 W DODGE RD                                                                              CLIO              MI      48420‐8547
ALLEN‐RICHARD, NOLA A           12853 S ADA                                                                                  CALUMET PARK      IL      60827
ALLEN‐RICHEY, ALICE J           1203 BAGLEY DR                                                                               KOKOMO            IN      46902‐3222
ALLEN‐SERVEN, PAULA E           4357 HEDGETHORN CIR                                                                          BURTON            MI      48509‐1213
ALLEN‐SMITH, LENORA S           2808 CANARSIE DR                                                                             LANSING           MI      48910‐3744
ALLEN‐TERRY, JOSHUA             101 S BLACK RIVER RD                                                                         CROSWELL          MI      48422‐1308
ALLEN‐WALKER, GLORIUS D         7055 N PRESIDIO DR            APT A                                                          MILWAUKEE         WI      53223‐5316
ALLEN‐WALKER, GLORIUS D         7055 APT A                    NORTH PRESIDIO DR                                              MILWAUKEE         WI      53223
ALLEN‐WEIDEL, HANNAH R          2364 FIELDS AVE                                                                              KETTERING         OH      45420‐3432
ALLEN‐WHITE, TAMMY S            263 GABE HOLLOW RD                                                                           RUSSELL SPRINGS   KY      42642‐8762
ALLEN‐WHITE, TAMMY S            3621 OLD WILLIAMSPORT RD                                                                     WILLIAMSPORT      TN      38487‐2134
ALLENBAUGH, RONALD E            1244 LABELLE ST                                                                              JONESBORO         GA      30238‐6532
ALLENBERG, GERALD F             148 DORNOCH CT                                                                               SAINT CHARLES     MO      63301‐4494
ALLENBRAND, EDWIN L             430 E CEDAR ST                                                                               OLATHE            KS      66061‐4705
ALLENBRAND, MERILYN J           21156 MILLRIDGE STREET                                                                       SPRING HILLS      KS      66083
ALLENBY JR, JOHN F              52 WAYNE AVE                                                                                 AMHERST           NY      14228‐2214
ALLENDE, HECTOR                 15903 DOVER CLIFF DR                                                                         LUTZ              FL      33548‐6197
ALLENDER, ANNA L                640 STATE ROAD 446                                                                           BEDFORD           IN      47421‐9232
ALLENDER, ANNA L                640 SOUTH STATE ROAD 446                                                                     BEDFORD           IN      47421
ALLENDER, FREDERICK E           1237 W 375 N                                                                                 ANDERSON          IN      46011‐9211
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Name                                 Address1                         Address2                     Address3   Address4               City             State   Zip
ALLENDER, GARY L                     12302 READ RD                                                                                   FENTON            MI     48430‐9541
ALLENDER, JAMES H                    1733 WARNER CT                                                                                  MINERAL RIDGE     OH     44440‐9583
ALLENDER, JOAN E                     1185 CORNWALL DR                                                                                TITUSVILLE        FL     32796‐1504
ALLENDES, JAIME J                    1 PRINCESS DIANA LINE                                                                           TRENTON           NJ     08638
ALLENDORF, NANCY F                   UNIT 1A                          934 WEST WASHINGTON STREET                                     SANDUSKY          OH     44870‐2382
ALLENDORFER, BERND                   8439 STATE RD                                                                                   MILLINGTON        MI     48746‐9445
ALLENE BOUILLEZ                      189 CEDAR PKWAY                                                                                 OROVILLE          CA     95966
ALLENE BROWN                         PO BOX 521213                                                                                   FLUSHING          NY     11352‐1213
ALLENE DILWORTH                      218 RAPID ST                                                                                    PONTIAC           MI     48341‐2253
ALLENE DINGMAN                       APT 17                           7089 BONNIE DRIVE                                              WESTLAND          MI     48185‐2850
ALLENE DURR                          PO BOX 100                                                                                      HINES              IL    60141‐0100
ALLENE FINLEY                        PO BOX 333                                                                                      HOLLY             MI     48442‐0333
ALLENE FLANNIGAN                     1328 W 71ST PL                                                                                  CHICAGO            IL    60636‐4152
ALLENE GLASS                         2106 SHADY LN                                                                                   TUCKER            GA     30084‐5511
ALLENE HARMONY                       11322 TECUMSEH PATH                                                                             LAKEVIEW          OH     43331‐9125
ALLENE HAWKINS                       6577 RUSTIC RIDGE TRL                                                                           GRAND BLANC       MI     48439‐4954
ALLENE HICKS                         1372 BELMONT RD                                                                                 VILLA RICA        GA     30180‐4273
ALLENE HOKE                          1428 RIVERLINE TRL SE                                                                           MABLETON          GA     30126‐2885
ALLENE HUNTER                        613 MUNDELL CHURCH RD                                                                           HELTONVILLE       IN     47436‐8746
ALLENE KEMP                          614 W ALMA AVE                                                                                  FLINT             MI     48505‐2022
ALLENE LECHY                         1854 ROMAN DR                                                                                   MONROE            MI     48162‐4165
ALLENE M DOCTOROFF, PHD., P.C.       ACCT OF LARRY K DRAKE
ALLENE M WHITEAKER                   30 MORRELL COURT                                                                                MURRELLS INLET   SC      29576
ALLENE MC CALVIN                     20020 SNOWDEN ST                                                                                DETROIT          MI      48235‐1168
ALLENE MCGLYNN                       6338 KLONDIKE RD                                                                                HILLSBORO        MO      63050‐2206
ALLENE MCINTYRE, PERSONAL            C/O BRAYTON PURCELL              222 RUSH LANDING RD                                            NOVATO           CA      94948‐6169
REPRESENTATIVE FOR EDWARD L
MCINTYRE
ALLENE MURPHY                        9415 DICE RD                                                                                    FREELAND         MI      48623
ALLENE N STACY                       812 FITCHLAND DR                                                                                VANDALIA         OH      45377‐1326
ALLENE PETERSON                      369 KENWOOD AVE                                                                                 DAYTON           OH      45405
ALLENE PLOWS                         103 RUSTIC DR                                                                                   NEWARK           DE      19713‐4214
ALLENE PLUNKETT                      138 N COUNTRY CLUB TER                                                                          CRAWFORDSVILLE   IN      47933‐2359
ALLENE RODGERS                       2233 VALLEY PIKE                                                                                DAYTON           OH      45404‐2544
ALLENE SAGARSEE                      472 COLUMBIA AVE                                                                                TIPTON           IN      46072‐1223
ALLENE STACY                         812 FITCHLAND DR                                                                                VANDALIA         OH      45377‐1326
ALLENE TOLAN                         1715 W 140TH ST                                                                                 GARDENA          CA      90047
ALLENE WHITEAKER                     30 MORRELL CT                                                                                   MURRELLS INLET   SC      29576‐5080
ALLENE YOUNG                         5068 SCOTSMAN DR                                                                                DAYTON           OH      45414‐3634
ALLENS TRANSFER & STORAGE            PO BOX 1097                                                                                     AUGUSTA          ME      04332‐1097
ALLENSPACH, BRIAN P                  116 CYPRESS COVE LN                                                                             MOORESVILLE      NC      28117‐3708
ALLENSWORTH JR., JAMES G             PO BOX 22573                                                                                    INDIANAPOLIS     IN      46222‐0573
ALLENSWORTH JR., JAMES GARFIELD      PO BOX 22573                                                                                    INDIANAPOLIS     IN      46222‐0573
ALLENSWORTH, BOYCE W                 PO BOX 12                                                                                       CROMWELL         OK      74837‐0012
ALLENSWORTH, JOANN D                 1166 BROCKDELL CT                                                                               NORCROSS         GA      30093‐4714
ALLENSWORTH, JOSEPH A                2329 SHADY LN                                                                                   ANDERSON         IN      46011‐2811
ALLENSWORTH, JOSEPH ALLEN            2329 SHADY LN                                                                                   ANDERSON         IN      46011‐2811
ALLENSWORTH, JOSEPH D.               1166 BROCKDELL CT                                                                               NORCROSS         GA      30093‐4714
ALLENSWORTH, LAVERNE A               1824 EUCLID DR                                                                                  ANDERSON         IN      46011
ALLENSWORTH, LONZETTA                1617 NW 148TH ST                                                                                EDMOND           OK      73013‐1398
ALLENSWORTH, LONZETTA                11220 N UNIVERSITY AVE                                                                          OKLAHOMA CITY    OK      73114‐8600
ALLENSWORTH‐DORSEY, LAVERNE A        1824 EUCLID DR                                                                                  ANDERSON         IN      46011‐3937
ALLENTOWN COLLEGE OF ST FRANCIS DE   2755 STATION AVE                                                                                CENTER VALLEY    PA      18034‐9565
SALES
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Name                                 Address1                       Address2                         Address3   Address4               City             State Zip
ALLER, DAVID M                       174 FISHER RD                                                                                     GROSSE POINTE     MI 48230‐1276
                                                                                                                                       FARMS
ALLER, MARK D                        497 TOWNSEND ST                                                                                   BIRMINGHAM       MI   48009‐1465
ALLERA, CHARLES J                    42207 ASHBURY DR                                                                                  CANTON           MI   48187‐3601
ALLERA, JOSEPH R                     3241 HARBORVIEW ST                                                                                MONROE           MI   48162‐4928
ALLERA, JULIE A                      1906 BIRCH ST                                                                                     NEWPORT          MI   48166‐8805
ALLERA, JULIE ANN                    1906 BIRCH ST                                                                                     NEWPORT          MI   48166‐8805
ALLERA, SYLVIA G                     8561 MAJESTIC DR                                                                                  RAPID RIVER      MI   49878‐9492
ALLERA, SYLVIA G                     8561 MAJECTIC                                                                                     RAPID RIVER      MI   49878‐9492
ALLERGAN                             STEPHANIE ROGERS               2525 DUPONT DR                                                     IRVINE           CA   92612‐1531
ALLERGY & ASTHMA CEN                 1146 S LINDEN RD                                                                                  FLINT            MI   48532‐3437
ALLERGY AND PULMONARY ASS OICATED    1542 KUSER RD STE B7                                                                              TRENTON          NJ   08619‐3829

ALLERHEILIGEN C W                    1189 US HIGHWAY 77                                                                                MARYSVILLE       KS   66508‐8793
ALLERT, ARVIL R                      13291 TRIPOLI AVE                                                                                 SYLMAR           CA   91342‐3233
ALLES, BETTY J                       1465 LATHRUP AVE                                                                                  SAGINAW          MI   48638‐4787
ALLES, CARL J                        4385 CLEMENT DR                                                                                   SAGINAW          MI   48603‐2010
ALLES, GARY A                        15400 HEBRON MAIL ROUTE RD                                                                        CHEBOYGAN        MI   49721‐8426
ALLES, JERRY G                       1570 SEMINOLE LN                                                                                  SAGINAW          MI   48638‐4495
ALLES, JOSEPH S                      951 SALEM ST                                                                                      BROOKVILLE       OH   45309
ALLES, KAREN S                       3015 BEWELL AVE SE                                                                                LOWELL           MI   49331‐9517
ALLES, RONALD L                      1542 DIANE DR                                                                                     FLUSHING         MI   48433‐1827
ALLES, VICKIE L                      15400 HEBRON MAIL ROUTE RD R                                                                      CHEBOYGAN        MI   49721
ALLESHOUSE, A J B                    7892 R AVE E                                                                                      SCOTTS           MI   49088‐8715
ALLESHOUSE, DAVID N                  335 CLINTON ST                                                                                    MENDON           MI   49072‐8600
ALLETTA BERTHUNE                     510 1ST AVE S APT 505                                                                             ESCANABA         MI   49829‐3951
ALLETTA WRIGHTSMAN                   1228 S 800 E                                                                                      HARTFORD CITY    IN   47348‐9030
ALLEVA DOMINICO (416238)             ANGELOS PETER G LAW OFFICE     115 BROADWAY FRNT 3                                                NEW YORK         NY   10006‐1638
ALLEVA, DOMINICO                     ANGELOS PETER G LAW OFFICE     115 BROADWAY FRNT 3                                                NEW YORK         NY   10006‐1638
ALLEVA, DOROTHY A                    6207 RUTHERFORD AVE                                                                               EAST LANSING     MI   48823‐6207
ALLEVA, RAYMOND P                    21 SKYLARK LN                                                                                     LAKEWOOD         NJ   08701‐5732
ALLEVA, ROBERT C                     4461 SLEIGHT RD                                                                                   BATH             MI   48808‐8405
ALLEVA‐DAVIS, DIANE M                5299 GUY RD                                                                                       NASHVILLE        MI   49073‐9702
ALLEVATO, JOHN J                     PO BOX 465                                                                                        KENNEDALE        TX   76060‐0465
ALLEVATO, SYLVIA R                   8177 POTOMAC                                                                                      CENTER LINE      MI   48015‐1649
ALLEX, THOMAS R                      209 E 35TH ST                                                                                     ANDERSON         IN   46013‐4623
ALLEXA, DOROTHY L                    5642 N CIRCLEVIEW DR                                                                              SEVEN HILLS      OH   44131‐1626
ALLEXA, DOROTHY L                    5642 N CIRCLE VIEW DR                                                                             SEVEN HILLS      OH   44131‐1626
ALLEY DAVIDSON                       960 BUFFALO RD                                                                                    PEACHTREE CITY   GA   30269‐1373
ALLEY FRAME SHOP                     269 WEST CENTRAL AVENUE                                                                           SPRINGBORO       OH   45066‐1103
ALLEY II, RUSSELL I                  1338 N 1670 W                                                                                     FARMINGTON       UT   84025‐3062
ALLEY JEFFREY & JANE                 6877 PHILIPS HWY                                                                                  JACKSONVILLE     FL   32216‐6035
ALLEY REBA MAXINE (431483) ‐ EVANS   SUTTER JOHN E                  220 N LIBERTY STREET , STE 100                                     BALTIMORE        MD   21201
DREW
ALLEY'S GENERATOR SHOP               4503 OLD JACKSBORO HWY                                                                            WICHITA FALLS    TX   76302‐2919
ALLEY'S SAAB                         ALLEY, JR., WALLACE D          2761 E STONE DR                                                    KINGSPORT        TN   37660‐5860
ALLEY, AGNES W                       8112 W WELLER ST                                                                                  YORKTOWN         IN   47396‐1453
ALLEY, AHMAD M                       1421 LAWNDALE ST                                                                                  DETROIT          MI   48209‐1710
ALLEY, CHARLES E                     3813 CHETWOOD DR                                                                                  DEL CITY         OK   73115‐2803
ALLEY, CHARLES W                     1161 N 600 E                                                                                      ELWOOD           IN   46036‐8543
ALLEY, CHARLOTTE R                   512 RAINBOW DR                                                                                    KOKOMO           IN   46902‐3722
ALLEY, CHESTER L                     2510 LOWER PATTON PARK RD                                                                         MARTINSVILLE     IN   46151‐8175
ALLEY, DANIEL D                      7120 MOCKING BIRD TRL                                                                             CATLETTSBURG     KY   41129‐8154
ALLEY, DANNIE D                      1315 WILSON AVENUE                                                                                LINCOLN PARK     MI   48146‐2036
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Name                                 Address1                            Address2                           Address3   Address4               City            State   Zip
ALLEY, DAVID W                       1809 BELLSHIRE WAY                                                                                       BOWLING GREEN    KY     42104‐4752
ALLEY, DEWAINE                       8700 E ORR RD 250                                                                                        ALBANY           IN     47320
ALLEY, DEWEY M                       50 ROYAL DR                                                                                              SPRINGBORO       OH     45066‐1135
ALLEY, DONALD E                      4228 OLD DOMINION DR                                                                                     W BLOOMFIELD     MI     48323‐2660
ALLEY, DONNA J                       3107 LUPINE DR                                                                                           INDIANAPOLIS     IN     46224‐2030
ALLEY, DORIS J                       1161 N 600 E                                                                                             ELWOOD           IN     46036‐8543
ALLEY, FRANKLIN G                    3860 E THENDARA DR                                                                                       GLADWIN          MI     48624‐9265
ALLEY, JAMES C                       660 N SPRING ST APT 718                                                                                  INDEPENDENCE     MO     64050‐2777
ALLEY, JAMES F                       512 RAINBOW DR                                                                                           KOKOMO           IN     46902‐3722
ALLEY, JAMES W                       1‐208 PLYMOUTH CT                                                                                        OKLAHOMA CITY    OK     73159
ALLEY, JANET M                       3860 E THENDARA DR                                                                                       GLADWIN          MI     48624‐9265
ALLEY, JEREMY T                      3649 S ROGERS ST                                                                                         BLOOMINGTON      IN     47403‐4559
ALLEY, JOHN                          18289 HUNTLEY AVE                                                                                        WYANDOTTE        MI     48193‐8229
ALLEY, JUDITH O                      1338 N 1670 W                                                                                            FARMINGTON       UT     84025
ALLEY, JUNE A                        2350 INDIAN CREEK BLVD W APT D113                                                                        VERO BEACH       FL     32966‐2404
ALLEY, KATHLEEN                      2534 N BELL ST                                                                                           KOKOMO           IN     46901‐1407
ALLEY, LEO W                         451 CUMBERLAND AVE                                                                                       TEANECK          NJ     07666‐2648
ALLEY, LORNA M                       511 WARREN AVE                                                                                           FLUSHING         MI     48433‐1461
ALLEY, MARY E                        5225 COUNCIL RING BLVD                                                                                   KOKOMO           IN     46902‐5427
ALLEY, MARY L                        PO BOX 1802                                                                                              WINTER PARK      FL     32790‐1802
ALLEY, MARY L                        141 N BROWN SCHOOL RD                                                                                    VANDALIA         OH     45377‐2840
ALLEY, MICHAEL C                     330 E WILLIAMS ST                                                                                        CARDINGTON       OH     43315‐1151
ALLEY, MICHAEL D                     6857 GREENVIEW AVE                                                                                       DETROIT          MI     48228‐5400
ALLEY, MICHAEL DENTON                6857 GREENVIEW AVE                                                                                       DETROIT          MI     48228‐5400
ALLEY, MICHAEL F                     7512 N MICHIGAN RD                                                                                       FAIRLAND         IN     46126‐9740
ALLEY, PATRICIA L                    2432 LYNCROSS ST                                                                                         GROVE CITY       OH     43123‐8438
ALLEY, PATRICIA S                    117 LLANGOLLEN BLVD                                                                                      NEW CASTLE       DE     19720‐4709
ALLEY, PAUL D                        7121 HARDWICKE PL                                                                                        DAYTON           OH     45414‐2233
ALLEY, PETER A                       35 HEMLOCK DRIVE                                                                                         ATTLEBORO        MA     02703‐6527
ALLEY, ROGER K                       104 E FALCON RUN                                                                                         PENDLETON        IN     46064‐9139
ALLEY, THOMAS H                      1069 S PENDLETON AVE                                                                                     PENDLETON        IN     46064‐8979
ALLEY, VERLIE A                      2197 KEYSTONE FURNACE RD                                                                                 JACKSON          OH     45640‐9134
ALLEY, VERNICE J                     772 PAULEY FLATWOODS RD                                                                                  AUSTINVILLE      VA     24312‐3610
ALLEY, VICTORIA L                    10208 PLYMOUTH CT                                                                                        OKLAHOMA CITY    OK     73159‐6009
ALLEY, WILLIAM C                     2432 LYNCROSS ST                                                                                         GROVE CITY       OH     43123‐8438
ALLEYNE, COLVIN T                    11 DAY RD                                                                                                ASHLAND          MA     01721‐2028
ALLEYNE, DOLORES                     269 CURLEW ST                                                                                            ROCHESTER        NY     14613‐2135
ALLEYNE‐ARDAMICA, DAISY V            1638 KINGSWAY RD                                                                                         BALTIMORE        MD     21218‐1645
ALLEYNE‐ARDAMICA, DAISY V            1638 KINGS WAY RD                                                                                        BALTIMORE        MD     21218‐1645
ALLEYNIE HAMMONS                     5115 W HEAPS RD                                                                                          PYLESVILLE       MD     21132‐1928
ALLEYS OF KINGSPORT INC              WRAY LAW FIRM                       102 EAST MAIN STREET PO BOX 1303                                     KINGSPORT        TN     37622
ALLEYS OF KINGSPORT INC              102 EAST MAIN STREET PO BOX 1303                                                                         KINGSPORT        TN     37622
ALLEYS SAAB                          2761 E STONE DR                                                                                          KINGSPORT        TN     37660‐5860
ALLFREY, JOHN M                      19465 ELKTON RD                                                                                          ATHENS           AL     35614‐6728
ALLGAIER, LEONHARD                   123 W TRAVERSE LAKE RD                                                                                   MAPLE CITY       MI     49664‐9708
ALLGEIER, LENA L                     4354 MOUNT HOPE RD APT 215                                                                               WILLIAMSBURG     MI     49690‐9211
ALLGEIER, VINCENT J                  682 JAMES RD                                                                                             BLANCHESTER      OH     45107‐8230
ALLGIRE, MYRTLE J                    3855 PLASS RD                                                                                            FESTUS           MO     63028‐4609
ALLGOOD PEST SOLUTIONS               WHITT TINDOL                        2385 SATELLITE BLVD                                                  DULUTH           GA     30096‐2358
ALLGOOD SRWAYNE (453833) ‐ ALLGOOD   BEVAN & ASSOCIATES                  10360 NORTHFIELD ROAD , BEVAN                                        NORTHFIELD       OH     44067
WAYNE                                                                    PROFESSIONAL BLDG
ALLGOOD, BRUCE A                     2472 FOREST BLVD                                                                                         JACKSONVILLE     FL     32246‐3410
ALLGOOD, DARREN                      ENGSTROM LIPSCOMB & LACK            10100 SANTA MONICA BOULEVARD ,                                       LOS ANGELES      CA     90067‐4107
                                                                         16TH FLOOR
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Name                                   Address1                         Address2                       Address3              Address4               City             State   Zip
ALLGOOD, DARREN                        GIRARDI AND KEESE                1126 WILSHIRE BLVD                                                          LOS ANGELES       CA     90017
ALLGOOD, DARREN                        KROGER GARDIS & REGAS LLP        111 MONUMENT CIR STE 900                                                    INDIANAPOLIS      IN     46204
ALLGOOD, DAVID C                       3047 ASH WAY                                                                                                 LAPEL             IN     46051‐9534
ALLGOOD, JAMES A                       PO BOX 532                                                                                                   PENDLETON         SC     29670
ALLGOOD, JERYL L                       2415 E MARKSARA DR                                                                                           MARION            IN     46952‐8680
ALLGOOD, JETA J                        176 S LAKE DRIVE                                                                                             HIRAM             GA     30141‐4032
ALLGOOD, JETA J                        176 S LAKE DR                                                                                                HIRAM             GA     30141‐4032
ALLGOOD, JULIA W                       1155 LAWRENCEVILLE HWY                                                                                       LAWRENCEVILLE     GA     30045‐4709
ALLGOOD, LEON S                        651 S 800 W                                                                                                  PAYSON            UT     84651‐2609
ALLGOOD, LEON S                        651 S 800 WEST                                                                                               PAYSON            UT     84651‐2609
ALLGOOD, MIRIAM C                      313 BROOKVIEW CT                                                                                             OLD HICKORY       TN     37138‐1701
ALLGOOD, NANCY J                       943 SPRINGDALE CIR                                                                                           PALM SPRINGS      FL     33461‐6333
ALLGOOD, SHAWN E                       3350 SHADDOCK CREEK LANE                                                                                     FRISCO            TX     75034‐2367
ALLGOOD, SHEILA A                      1260 BISHOPS LANE                                                                                            LAWRENCEVILLE     GA     30045‐5125
ALLGOOD, SHEILA A                      1260 BISHOPS LN                                                                                              LAWRENCEVILLE     GA     30045‐5125
ALLGOOD, WARREN M                      14421 CURRY RD                                                                                               DUNCANVILLE       AL     35456‐1504
ALLGOOD, WAYNE                         BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD, BEVAN                                                NORTHFIELD        OH     44067
                                                                        PROFESSIONAL BLDG
ALLGOOD‐JOHNSON, TOMMIE L              1307 W 17TH ST                                                                                               LORAIN           OH      44052‐3907
ALLGRUNN, JAMES R                      4604 NW WALLINGFORD PL                                                                                       BLUE SPRINGS     MO      64015‐2457
ALLGRUNN, JAMES ROBERT                 4604 NORTHWEST WALLINGFORD PL                                                                                BLUE SPRINGS     MO      64015‐2457
ALLGRUUN, JASON R                      8891 SUGARLAND DR APT 21103                                                                                  SHREVEPORT       LA      71115
ALLHISER CARY NELSON (428401)          GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                                 NORFOLK          VA      23510
                                                                        STREET, SUITE 600
ALLHISER, CARY NELSON                  GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                                 NORFOLK           VA     23510‐2212
                                                                        STREET, SUITE 600
ALLI MED                               2213 N CENTER RD                                                                                             SAGINAW          MI      48603‐3730
ALLI, ALBERT A                         5184 NASHUA DR                                                                                               YOUNGSTOWN       OH      44515‐5164
ALLI, LAURA A                          1205 WHITE BIRCH LN                                                                                          VIRGINIA BEACH   VA      23453
ALLI, PATRICIA                         5184 NASHUA DR                                                                                               YOUNGSTOWN       OH      44515
ALLI, TINA M                           1685 LANCASTER DRIVE                                                                                         YOUNGSTOWN       OH      44511‐1071
ALLIANCE AIR FREIGHT INC               175 N SWALL DR APT 101                                                                                       BEVERLY HILLS    CA      90211‐1996
ALLIANCE AIR PRODUCTS INC              2221 ALLIANCE BLVD STE 100                                                                                   FORT WORTH       TX      76177‐4301
ALLIANCE AIRLINES                      O'HARE INTL ARPT                 PO BOX 66594                                                                CHICAGO          IL      60666‐0594
ALLIANCE AUTO SERVICE                  213 S MAIN ST                                                                                                UKIAH            CA      95482‐4920
ALLIANCE AUTO SERVICE                  995 S STATE ST                                                                                               UKIAH            CA      95482‐5818
ALLIANCE BEVERAGE                      JIM MCARDLE                      1115 N 47TH AVE                                                             PHOENIX          AZ      85043‐1801
ALLIANCE CHEVROLET                     2575 AUTO MALL PKWY                                                                                          FAIRFIELD        CA      94533‐5803
ALLIANCE COMMUNICATION CABLES, INC.    GARRETSON HEADQUARTERS OFFICE    612 3RD ST                                                                  GARRETSON        SD      57030‐2155

ALLIANCE CONTRACTORS                                                    1166 LAKE AVE                                                               WOODSTOCK        IL      60098
ALLIANCE CORP                          ATTN: TODD FREDENBURG            1 GENERAL MOTORS DR # 4                                                     SYRACUSE         NY      13206‐1122
ALLIANCE CREDIT UNION                  ATTN: ACCTG DEPT                 575 RUDDER ROAD                                                             FENTON           MO      63026
ALLIANCE DATA
ALLIANCE DATA                          PO BOX 628329                                                                                                ORLANDO           FL     32862‐8329
ALLIANCE DME AND MED                   10559 CITATION DR STE 204                                                                                    BRIGHTON          MI     48116‐8398
ALLIANCE EXPRESS LTD                   DARRIN WOODS                     9497 PRESERVE DR                                                            FENTON            MI     48430‐9278
ALLIANCE FOR A SAFER GREATER DETROIT   10900 HARPER AVE                                                                                             DETROIT           MI     48213‐3364

ALLIANCE FOR SCIENCE &                 TECHNOLOGY RESEARCH IN AMERICA   ATTN ROBERT S BOEGE            1155 16TH STREET NW                          WASHINGTON        DC     20036
                                                                                                       OTHMER‐318
ALLIANCE FOR SUBSTANCE ABUSE           PREVENTION ASAP                  4076 YOUNGSTOWN WARREN RD                                                   WARREN           OH      44484
                                                                        STE 201
ALLIANCE FOR SUSTAINABLE ENERGY        OPERATOR OF NREL                 1617 COLE BLVD MS 1723                                                      LAKEWOOD          CO     80401
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Name                                  Address1                           Address2                        Address3   Address4               City               State Zip
ALLIANCE FOR SUSTAINABLE ENERGY ORY   ATTN FINANCE CENTER‐               MAIL STOP 1723 1617 COLE BLVD                                     LAKEWOOD            CO 80401

ALLIANCE FOR THE MENTALLY III OF      2107 WILSON BLVD                                                                                     ARLINGTON          VA   22201
NOTHERN VA
ALLIANCE FRANCAISE DE BUFFALO         39 PARK ST                                                                                           BUFFALO            NY   14201‐2020
ALLIANCE FRANCAISE DE BUFFALO         107 JOANIE LN                                                                                        AMHERST            NY   14228‐1988
ALLIANCE GATEWAY PHASE III            13600 HERITAGE PKWY STE 200                                                                          FORT WORTH         TX   76177‐4320
ASSOCIATION
ALLIANCE GATEWAY PHASE III            13600 HERITAGE PARKWAY             ATTN ACCOUNTS RECEIVABLE        STE 200                           FORT WORTH         TX   76177
ASSOCIATION
ALLIANCE INDUSTRIAL SUPPLY            10521 WADSWORTH CT                                                                                   FORT WAYNE         IN   46845‐1083
ALLIANCE INTERIORS LLC                32500 TELEGRAPH RD STE 1040                                                                          BINGHAM FARMS      MI   48025‐2406
ALLIANCE INTERIORS LLC                4521 W MOUNT HOPE HWY                                                                                LANSING            MI   48917‐9501
ALLIANCE INTERIORS LLC                1175 CROOKS RD                                                                                       TROY               MI   48084‐7136
ALLIANCE INTERIORS LLC                STEVE ZACHARIAS X214               4521 W MOUNT HOPE HWY                                             LANSING            MI   48917‐9501
ALLIANCE INTERIORS LLC                STEVE ZACHARIAS X214               4521 W. MOUNT HOPE ROAD                                           SIDNEY             OH   45365
ALLIANCE INTERNATIONAL                6615 E PACIFIC COAST HWY           STE 100                                                           LONG BEACH         CA   90803‐4215
ALLIANCE KELLER AUTO SERVICE          4050 KELLER HICKS RD                                                                                 KELLER             TX   76248‐9623
ALLIANCE MANUFACTURING                PO BOX 2006                                                                                          FOND DU LAC        WI   54936‐2006
ALLIANCE MATERIAL HANDLING COR        34000 W 9 MILE RD                                                                                    FARMINGTON         MI   48335‐4714
ALLIANCE MATERIAL HANDLING CORP       34000 W 9 MILE RD                                                                                    FARMINGTON         MI   48335‐4714
ALLIANCE MATERIAL HANDLING INC        161 INDUSTRIAL DR                                                                                    WINCHESTER         VA   22602‐2583
ALLIANCE NAVIGATION LLC               50 JERICHO QUADRANGLE              STE 210                                                           JERICHO            NY   11750‐2725
ALLIANCE OF AUTOMOBILE                1401 I ST NW STE 900                                                                                 WASHINGTON         DC   20005‐6562
MANUFACTURERS
ALLIANCE OF AUTOMOBILE                1401 H ST NW STE 900                                                                                 WASHINGTON         DC   20005‐2033
MANUFACTURERS INC
ALLIANCE OF AUTOMOBILE                CHARLES ROBINSON                   1401 I ST NW STE 900                                              WASHINGTON         DC   20005‐6562
MANUFACTURES, INC.
ALLIANCE OF AUTOMOTIVE SERVICE        PROVIDERS OF ILLINOIS              225 E COOK ST                                                     SPRINGFIELD        IL   62704‐2509
ALLIANCE OF AUTOMOTIVE                2151 GREENWOOD ST                                                                                    HARRISBURG         PA   17104‐2739
SERVICEPENNSYLVANIA
ALLIANCE OF OJ FREIGHT FORWARDING     12300 W CENTER ST STE 200                                                                            WAUWATOSA          WI   53222‐4076
INC
ALLIANCE ORTHOPAEDIC                  5040 SNAPFINGER WOODS DR STE 206                                                                     DECATUR            GA   30035‐4020
ALLIANCE ORTHOPAEDICS & SPORTS        5040 SNAPFINGER WOODS DR STE 206                                                                     DECATUR            GA   30035‐4020
ALLIANCE PHYSICIANS                   PO BOX 711808                                                                                        COLUMBUS           OH   43271‐1808
ALLIANCE PLAS/FRMGTN                  C/O RWPKINSALE                     27275 HAGGERTY RD               STE 500                           NOVI               MI   48377‐3635
ALLIANCE PLAST/ERIE                   3123 STATION RD                    BUNZL PLASTICS                                                    ERIE               PA   16510‐6501
ALLIANCE PLASTICS                     27275 HAGGERTY RD STE 500                                                                            NOVI               MI   48377‐3635
ALLIANCE PLASTICS                     3123 STATION RD                    PO BOX 7284                                                       ERIE               PA   16510‐6501
ALLIANCE PLASTICS INC                 3123 STATION RD                                                                                      ERIE               PA   16510‐6501
ALLIANCE PRECISION PLASTICS CORP      PO BOX 8000                                                                                          BUFFALO            NY   14267‐0002
ALLIANCE PRECISION PLASTICS CORP      105 ELMORE DR                                                                                        ROCHESTER          NY   14606‐3429
ALLIANCE RAD LIBERTY                  PO BOX 804451                                                                                        KANSAS CITY        MO   64180‐01
ALLIANCE SHIPPERS                     PO BOX 827505                                                                                        PHILADELPHIA       PA   19182‐7505
ALLIANCE SHIPPERS INC                 TIM BRUCH                          516 SYLVAN AVE                                                    ENGLEWOOD CLIFFS   NJ   07632‐3022

ALLIANCE SHIPPERS INC                 TIM BRUCH                          516 SYLVAN AVE.                                                   ENGLEWOODCLIFFS    NJ   07632

ALLIANCE SHIPPING GROUP               6400 HIGHLAND PARKWAY                                                                                SMYRNA             GA   30082
ALLIANCE STEEL INC                    PO BOX 3006                                                                                          BIRMINGHAM         MI   48012‐3006
ALLIANCE STEEL PRODUCTS CO            14068 MCCALLUM AVE NE                                                                                ALLIANCE           OH   44601‐9689
ALLIANCE TECHNICAL SERVICE            10056 MARKET ST                                                                                      NORTH LIMA         OH   44452‐9564
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Name                                  Address1                              Address2                    Address3     Address4                 City            State   Zip
ALLIANCE TECHNICAL SERVICE INC        27171 STATE ROUTE 62                                                                                    BELOIT           OH     44609‐9410
ALLIANCE TECHNICAL SERVICES IN        27171 STATE ROUTE 62                  PO BOX 236                                                        BELOIT           OH     44609‐9410
ALLIANCE TECHNICAL SERVICES INC       27171 STATE ROUTE 62                  PO BOX 236                                                        BELOIT           OH     44609‐9410
ALLIANCE TECHNOLOGY                   229 RED BLUFF DR                                                                                        HICKORY CREEK    TX     75065‐3620
ALLIANCE TEXAS CORPORATE CHALLENGE‐   PO BOX 77904                                                                                            FORT WORTH       TX     76177‐0904
GOLF
ALLIANCE WINDING EQUIPMENT INC        3939 VANGUARD DR                                                                                        FORT WAYNE       IN     46809‐3305
ALLIANCE/LANSING                      4521 W MOUNT HOPE HWY                                                                                   LANSING          MI     48917‐9501
ALLIANT ENERGY                        WISCONSIN POWER & LIGHT               PO BOX 3068                                                       CEDAR RAPIDS     IA     52406‐3068
ALLIANT ENERGY                        RUSS HEMANN                           4902 N BILTMORE LN          STE 1000                              MADISON          WI     53718‐2148
ALLIANT ENERGY                        RUSS HEMANN                           4902, N. BILTMORE LANE                                            MADISON          WI     53718
ALLIANT ENERGY                                                              701 W NORTH ST                                                    POYNETTE         WI     53955
ALLIANT ENERGY                                                              903 W SCOTT ST                                                    FOND DU LAC      WI     54937
ALLIANT ENERGY                        3730 KENNEDY RD                                                                                         JANESVILLE       WI     53545‐8812
ALLIANT ENERGY                        701 W NORTH ST                                                                                          POYNETTE         WI     53955‐9400
ALLIANT ENERGY                        903 W SCOTT ST                                                                                          FOND DU LAC      WI     54937‐2037
ALLIANT ENERGY                        4902 N BILTMORE LN STE 1000                                                                             MADISON          WI     53718‐2148
ALLIANT ENERGY                        933 W B R TOWNLINE RD                                                                                   BELOIT           WI     53511‐8823
ALLIANT ENERGY                        1001 SHAVER RD NE                                                                                       CEDAR RAPIDS     IA     52402‐4510
ALLIANT ENERGY                        720 S TAFT AVE                                                                                          MASON CITY       IA     50401‐1514
ALLIANT ENERGY                        900 KERPER BLVD                                                                                         DUBUQUE          IA     52001‐2400
ALLIANT ENERGY
ALLIANT ENERGY (WP&L)                 PO BOX 3068                                                                                             CEDAR RAPIDS     IA     52406‐3068
ALLIANT ENERGY (WP&L) WI USA          PO BOX 3068                                                                                             CEDAR RAPIDS     IA     52406‐3068
ALLIANT ENERGY CORP
ALLIANT ENERGY CORP                   1000 GENERAL MOTORS DR                MAIL CODE 8022                                                    JANESVILLE      WI      53546‐2531
ALLIANT ENERGY CORP                   744 HEARTLAND TRL                     PO BOX 8923                                                       MADISON         WI      53717‐1982
ALLIANT ENERGY‐INTERSTATE POWER       720 S TAFT AVE                                                                                          MASON CITY      IA      50401‐1514
ALLIANT LAW GROUP LLP                 STE 105                               2860 ZANKER ROAD                                                  SAN JOSE        CA      95134‐2119
ALLIANT TECHSYSTEMS INC.              JENNIFER ANDERSON                     MN05‐3W                                                           MINNEAPOLIS     MN
ALLIANZ BANK FINANCIAL ADVISORS SPA   C/O ALLIANZ BANK FINANCIAL ADVISORS   PIAZZALE LODI, 3                         20137 MILANO ITALY
                                      SPA
ALLIANZ BANK FINANCIAL ADVISORS SPA   PIAZZALE LODI 3                                                                20137 MILANO ITALY

ALLIANZ GLOBAL RISKS USA           DIETER HAUTZER                           225 W. WASHINGTON STREET    SUITE 2000                            CHICAGO          IL     60506
ALLIANZ INSURANCE COMPANY OF NORTH
AMERICA
ALLIANZ LIFE INSURANCE COMPANY OF
NORTH AMERICA
ALLIANZBANK FINANCIAL ADVISORS SPA PIAZZALE LODI 3                                                                                            MILANO                  20137

ALLICIA E CALHOUN                     14330 58TH ST N                       APT 8103                                                          CLEARWATER       FL     33760‐2826
ALLICIA E CALHOUN                     14330 58TH ST N APT 8103                                                                                CLEARWATER       FL     33760‐2826
ALLICK, VICTORIA                      328 REIMAN ST                                                                                           BUFFALO          NY     14212‐2144
ALLICRAFTS & CO                       2219 MORRIS AVE                                                                                         BURTON           MI     48529‐2177
ALLIE ADAMS                           211 LAFAYETTE RD APT 323                                                                                SYRACUSE         NY     13205‐2914
ALLIE BARKER                          15162 DASHER AVE                                                                                        ALLEN PARK       MI     48101‐2620
ALLIE BOLLINGER                       3271 W SHERMAN AVE                                                                                      FLINT            MI     48504‐1407
ALLIE BREWER                          PO BOX 980                                                                                              HENDERSONVLLE    TN     37077‐0980
ALLIE BURNETTE                        468 COLUMBIA AVE                                                                                        TIPTON           IN     46072‐1223
ALLIE BYRD                            3050 ARNOLD ST                                                                                          MILAN            TN     38358‐5536
ALLIE C BAILEY                        C/O WILLIAMS KHERKHER HART &          8441 GULF FREEWAY STE 600                                         HOUSTON          TX     77007
                                      BOUNDAS LLP
ALLIE CARTER                          2807 RALSTON AVE                                                                                        INDIANAPOLIS     IN     46218‐2654
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Name                       Address1                          Address2                       Address3   Address4               City               State Zip
ALLIE CARTER JR            RR 2 BOX 5607 CIN‐COL                                                                              WAYNESVILLE         OH 45068
ALLIE CARTWRIGHT           925 YOUNGSTOWN WARREN RD APT 90                                                                    NILES               OH 44446‐4638

ALLIE CHANEY               1979 CHURCHILL RD                                                                                  FRANKLIN           IN   46131‐1050
ALLIE CLARK                165 W LONGFELLOW AVE                                                                               PONTIAC            MI   48340‐1831
ALLIE D CARTER JR          RR 2 BOX 5607 CIN‐COL                                                                              WAYNESVILLE        OH   45068‐9902
ALLIE DAVIS                9971 ASBURY PARK                                                                                   DETROIT            MI   48227‐1046
ALLIE DEATON               3816 ROCKY MOUND DR                                                                                WENTZVILLE         MO   63385‐6715
ALLIE DEATON               301 E LINDEN AVE                                                                                   MIAMISBURG         OH   45342‐2827
ALLIE DILWORTH             APT 101                           702 FATHER DUKETTE BOULEVARD                                     FLINT              MI   48503‐1653
ALLIE EARL                 808 W HAWES AVE APT 212                                                                            FRESNO             CA   93706‐2837
ALLIE F CARTWRIGHT         925 YOUNGSTOWN WARREN RD.         APT 90                                                           NILES              OH   44446‐‐ 46
ALLIE F CARTWRIGHT         925 YOUNGSTOWN WARREN RD APT 90                                                                    NILES              OH   44446

ALLIE HARRELL              35049 MARTIN RD                                                                                    MOUNT HERMON       LA   70450‐6327
ALLIE JACQUES              4030 GREEN CORNERS RD                                                                              METAMORA           MI   48455‐9739
ALLIE JENT                 1244 CAMPBELL AVE                                                                                  NEW CARLISLE       OH   45344‐2836
ALLIE KING SR              C/O WILLIAMS KHERKHER HART &      8441 GULF FREEWAY STE 600                                        HOUSTON            TX   77007
                           BOUNDAS LLP
ALLIE KLEIN                6400 KENDAL ST                                                                                     DEARBORN           MI   48126‐2149
ALLIE L JENKINS            PO BOX 2225                                                                                        DETROIT            MI   48202‐0225
ALLIE M HARRELL            35049 MARTIN RD                                                                                    MOUNT HERMON       LA   70450‐6327
ALLIE MCELROY              4808 GREENLAWN DR                                                                                  FLINT              MI   48504‐2048
ALLIE MERRIWEATHER         1608 VALDOSTA CIR                                                                                  PONTIAC            MI   48340‐1078
ALLIE OWENS                5158 TILLMAN ST                                                                                    DETROIT            MI   48208‐1942
ALLIE PAIGE                1599 OLD CHATHAM DR                                                                                BLOOMFIELD HILLS   MI   48304‐1041
ALLIE PAUL                 7093 HIDDEN RIDGE DR SE                                                                            GRAND RAPIDS       MI   49546‐9756
ALLIE RINEHART             7777 W 250 S                      C/O REBECCA E DUNLAP                                             RUSSIAVILLE        IN   46979‐9718
ALLIE SCHATZ               6445 FALKENBURY RD                                                                                 NORTH BRANCH       MI   48461‐9772
ALLIE SHEARER              APT K                             4332 DELL ROAD                                                   LANSING            MI   48911‐8126
ALLIE SIMMONS              2484 CRANWOOD DR SW                                                                                WARREN             OH   44485‐3305
ALLIE SLAYMEN JR           1414 SOM CENTER RD APT 306                                                                         MAYFIELD HEIGHTS   OH   44124‐2105

ALLIE THOMAS               PO BOX 583                                                                                         FORSYTH            GA   31029‐0583
ALLIE TUCKER               409 PELHAM ST                                                                                      MAYSVILLE          KY   41056‐1419
ALLIE V JENT               1244 CAMPBELL AVE                                                                                  NEW CARLISLE       OH   45344‐2836
ALLIE W SIMMONS            2484 CRANWOOD DR. SW                                                                               WARREN             OH   44485‐3305
ALLIE WATSON               6184 HARWOOD RD                                                                                    MOUNT MORRIS       MI   48458‐2771
ALLIE WORTHY               7720 HINZE RD                                                                                      MC COOL            MS   39108‐9419
ALLIE'S AUTO AIR           635 S COUNTRY CLUB DR                                                                              MESA               AZ   85210‐2325
ALLIE, ANDRE R             2338 MONTGOMERY AVE NW                                                                             WARREN             OH   44485‐1420
ALLIE, JAMES J             463 MCPHERSON                                                                                      HIGHLAND           MI   48357‐4640
ALLIE, MICHAEL             19500 GARY LN                                                                                      LIVONIA            MI   48152‐1154
ALLIE, MICHELLE A          2338 MONTGOMERY AVE NW                                                                             WARREN             OH   44485‐1420
ALLIE, RICO                2775 FREMONT ST                   BLDG #2, APT #2016                                               LAS VEGAS          NV   89104
ALLIE, RUSSELL R           4095 E CARPENTER RD                                                                                FLINT              MI   48506‐1085
ALLIE, RUSSELL ROYCE       4095 E CARPENTER RD                                                                                FLINT              MI   48506‐1085
ALLIE, SABAH F             19500 GARY LN                                                                                      LIVONIA            MI   48152‐1154
ALLIE, SHELSEY             349 FLAG POND RD                                                                                   SACO               ME   04072‐9632
ALLIED 1321MN 08 20 2007
ALLIED ACTUATOR INC        4750 CROMWELL AVE                                                                                  MEMPHIS            TN   38118‐6311
ALLIED ANSTHS MGMT I       PO BOX 1628                                                                                        ORANGE             CA   92856‐0628
ALLIED AUDIO VISUAL CO     997 ROCHESTER RD STE A                                                                             TROY               MI   48083‐6025
ALLIED AUDIO/NASHVIL       PO BOX 100451                                                                                      NASHVILLE          TN   37224‐0451
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Name                                  Address1                             Address2                        Address3               Address4                       City               State   Zip
ALLIED AUTO STORES                    40645 #30 FREMONT BLVD                                                                                                     FREMONT             CA     94538
ALLIED AUTOMATION INC                 5220 E 64TH STREET                                                                                                         INDIANAPOLIS        IN     46220
ALLIED AUTOMATION SYSTEMS INC         W/HOLD PER J RATZLOFF WIRE           3750 E OUTER DR                 W/H‐RPL BY RD                                         DETROIT             MI     48234‐2946
ALLIED AUTOMATION SYSTEMS INC         ATTN: CORPORATE OFFICER/AUTHORIZED   3750 E OUTER DR                                                                       DETROIT             MI     48234‐2946
W/HOLD PER J RATZLOFF WIRE            AGENT
ALLIED AUTOMOTIVE                     260 METTY DR                         PO BOX 988                                                                            ANN ARBOR          MI      48103
ALLIED AUTOMOTIVE GROUP               JOHN F. BLOUNT                       2302 PARKLAKE DRIVE                                                                   ATLANTA            GA      30345
ALLIED AUTOMOTIVE GROUP               KEITH RENTZEL, EXECUTIVE VP          2302 PARKLAKE DR                N/A                                                   ATLANTA            GA      30345
ALLIED AUTOMOTIVE GROUP               2302 PARKLAKE DR NE STE 600                                                                                                ATLANTA            GA      30345‐2918
ALLIED AUTOMOTIVE GROUP               ATTN: ROBERT SKINNER                 6301 WYOMING ST                                                                       DEARBORN           MI      48126‐2356
ALLIED AUTOMOTIVE GROUP INC           PO BOX 77855                                                                                                               DETROIT            MI      48277‐0855
ALLIED BALT/BIRMNGHM                  ATTN. DAVE DOLIK                     C/O WHATT, ADAMS & ASSOC.       1010 BOWERS, SUITE B                                  BIRMINGHAM         MI      48009
ALLIED BALTIC RUBBER INC              PO BOX 168                                                                                                                 STRASBURG          OH      44680‐0168
ALLIED BANKING CORP (PHILS)           ATTN MR DANILO N LORENZO SVP         3/F TREASURY DIVISION, ALLIED   AYALA AVENUE           MAKATI CITY PHILIPPINES 0716
                                                                           BANK CENTER
ALLIED BEVERAGE CO.                                                        13287 RALSTON AVE                                                                     SYLMAR             CA      91342
ALLIED BUS                                                                 2909 MAIN ST                                                                          HARTFORD           CT      06120
ALLIED BUSINESS MACHINES CO           ATTN: DENNIS BRONNE                  1162 RARITAN RD                                                                       CLARK              NJ      07066‐1311
ALLIED CALLAWAY EQUIPMENT CO INC      720 E 3RD ST                                                                                                               KANSAS CITY        MO      64106‐1031
ALLIED CAPITAL PARTNERS LP            10818 HAWN FREEWAY                                                                                                         DALLAS             TX      95217
ALLIED CARRIERS EXCHANGE INC          PO BOX 17826                                                                                                               DENVER             CO      80217‐0826
ALLIED CARRIERS EXCHANGE INC          2275 CASSENS DR STE 118                                                                                                    FENTON             MO      63026‐2561
ALLIED CARRIERS EXCHANGE INC          PO BOX 460289                                                                                                              SAN ANTONIO        TX      78246‐0289
ALLIED CARRIERS EXCHANGE INC ASSIGNEE PO BOX 1579                                                                                                                PFLUGERVILLE       TX      78691‐1579

ALLIED CONVEYORS INC                  5211 ECHO RD                                                                                                               BLOOMFIELD HILLS    MI     48302‐2710
ALLIED CONVEYORS LTD
ALLIED CONVEYORS LTD                  902 DILLINGHAM RD                                                                           PICKERING ON CANADA ON
                                                                                                                                  L1W 1Z6 CANADA
ALLIED DIE CASTING                    DARRELL HALTOM                       RCM INDUSTRIES                  3021 CULLERTON                                        LAREDO              TX     78045
ALLIED DIES INC                       800 CASHMAN DR                                                                                                             CHIPPEWA FALLS      WI     54729‐4101
ALLIED DIESEL SERVICE CORP                                                 869 ROUTE 33                                                                          FREEHOLD            NJ     07728
ALLIED DISTRIBUTING                                                        3810 TRANSPORT ST                                                                     VENTURA             CA     93003
ALLIED DOOR COMPANY                   41643 NORTHWESTERN DR                                                                                                      STERLING HEIGHTS    MI     48313‐3667
ALLIED EAR NOSE THRO                  1467 SOLUTIONS CTR                                                                                                         CHICAGO             IL     60677‐1004
ALLIED ELECTRONICS INC                PO BOX 1544                                                                                                                FORT WORTH          TX     76101‐1544
ALLIED ELECTRONICS INC                ALLIED ELECTRONICS CANADA INC        PO BOX 4269, POSTAL STATION A                          TORONTO ON M5W 5V2
                                                                                                                                  CANADA
ALLIED ELECTRONICS INC                20270 MIDDLEBELT RD STE 8                                                                                                  LIVONIA             MI     48152‐2000
ALLIED ELECTRONICS INC                333 METRO PARK STE M105                                                                                                    ROCHESTER           NY     14623
ALLIED FENCE COMPANY OF OKLAHOMA      4836 NW 10TH ST                                                                                                            OKLAHOMA CITY       OK     73127‐5816
CITY
ALLIED FINISHING INC                  4100 BROADMOOR AVE SE                                                                                                      GRAND RAPIDS        MI     49512‐3933
ALLIED FIRE PROTECTION SYSTEM         1885 LYNDON BLVD                                                                                                           FALCONER            NY     14733‐1732
ALLIED FIRE PROTECTION SYSTEMS        1885 LYNDON BLVD                                                                                                           FALCONER            NY     14733‐1732
ALLIED FREIGHT BROKER                 794 B INDUSTRIAL CT                                                                                                        BLOOMFIELD HILLS    MI     48302
ALLIED GENERAL SERVICES INC           7600 IOWA ST                                                                                                               DETROIT             MI     48212‐1430
ALLIED GENERAL SERVICES INC           ATTN: CORPORATE OFFICER/AUTHORIZED   7600 IOWA ST                                                                          DETROIT             MI     48212‐1430
                                      AGENT
ALLIED GROUP INC                      RANDALL W MAY, MANAGING COUNSEL      CRAIG MABBETT                   NATIONWIDE INSURANCE   ONE NATIONWIDE PLAZA 2‐5‐ COLUMBUS                OH      43215
                                                                                                                                  15
ALLIED HDLG EQP OF INDIANAPOLIS       PO BOX 445                                                                                                            GREENWOOD                IN     46142‐0445
ALLIED HIGH TECH PRODUCTS             PO BOX 4608                                                                                                           RANCHO                   CA     90224‐4608
                                                                                                                                                            DOMINGUEZ
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Name                                   Address1                         Address2                        Address3                 Address4                   City             State Zip
ALLIED HIGH TECH PRODUCTS INC          2376 E PACIFICA PL                                                                                                   RANCHO            CA 90220‐6214
                                                                                                                                                            DOMINGUEZ
ALLIED HOLDINGS INC                    2302 PARKLAKE DR NE STE 600                                                                                          ATLANTA          GA   30345‐2918
ALLIED HOLDINGS INC                    160 CLAIREMONT AVE STE 600                                                                                           DECATUR          GA   30030‐2557
ALLIED INC                             260 METTY DR                     PO BOX 988                                                                          ANN ARBOR        MI   48103
ALLIED INC                             260 METTY DRIVE                                                                                                      ANN ARBOR        MI   48103
ALLIED INC/ANN ARBOR                   PO BOX 988                       260 METTY DRIVE                                                                     ANN ARBOR        MI   48106‐0988
ALLIED INSPECTION SERVICES INC         4704 KETCHUM RD                  P.O.BOX 268                                                                         SAINT CLAIR      MI   48079‐4102
ALLIED INSURANCE                       3820 109TH ST DEPT 2175                                                                                              DES MOINES       IA   50391‐2175
ALLIED INSURANCE
ALLIED INSURANCE CO                    BAUMAN LOEWE & WITT PLLC         8765 EAST BELL ROAD SUITE 204                                                       SCOTTSDALE       AZ   85260
ALLIED INTERNATIONAL                   700 OAKMONT LN                                                                                                       WESTMONT         IL   60559‐5551
ALLIED INTERSTATE INC                  PO BOX 361563                                                                                                        COLUMBUS         OH   43236‐1563
ALLIED MECHANICAL INC                  1025 E MAPLE RD                  RETURN CHECK NEED ADDRESS                                                           TROY             MI   48083‐2814
ALLIED METAL COMPANY                   2059 S CANAL ST                                                                                                      CHICAGO          IL   60616‐1515
ALLIED MINER/COLMBUS                   2700 SCIOTO PKWY                                                                                                     COLUMBUS         OH   43221‐4657
ALLIED MINERAL PRODUCTS INC            2700 SCIOTO PKWY                                                                                                     COLUMBUS         OH   43221‐4657
ALLIED MOTION TECHNOLOGIES INC         10002 E 43RD ST                  PO BOX 470009                                                                       TULSA            OK   74146‐3638
ALLIED OFFICE INTERIORS &              WORKPLACE FURNISHINGS            4500 S SAGINAW                                                                      FLINT            MI   48507
ALLIED OFFICE INTERIORS INC            701 SALZBURG AVE                                                                                                     BAY CITY         MI   48706‐5390
ALLIED PAIN TREATMEN                   PO BOX 72278                                                                                                         CLEVELAND        OH   44192‐0002
ALLIED PHYSICIANS IN                   FORT WAYNE NEUROSURGERY TRI ST   PO BOX 11789                                                                        FORT WAYNE       IN   46860
ALLIED PHYSICIANS INC                  FORT WAYNE NEUROSURGERY TRI ST   PO BOX 11789                                                                        FORT WAYNE       IN   46860
ALLIED PLASTICS INC                    150 HOLY HILL RD                                                                                                     TWIN LAKES       WI   53181‐9670
ALLIED PREFERRED CAR                   8625 KING GEORGE DR.                                                                                                 DALLAS           TX   75235
ALLIED PRINTING CO INC                 22438 WOODWARD AVE                                                                                                   FERNDALE         MI   48220‐1819
ALLIED PRINTING CO INC                 22434‐38 WOODWARD AVE                                                                                                FERNDALE         MI   48220
ALLIED PROD/1355 93                    1355 E. NINETY‐THIRD ST.                                                                                             CHICAGO          IL   60619
ALLIED PROD/HILLDALE                   235 E BACON ST                   P.O. BOX 275                                                                        HILLSDALE        MI   49242‐1703
ALLIED REPORTING & VIDEO SERVICE INC   1000 NATIONSBANK CTR SOUTH TWR   500 N WATER ST                                                                      CORPUS CHRISTI   TX   78471

ALLIED SAFE/NSHVILLE                   PO BOX 140598                    2506 PERIMETER PLACE                                                                NASHVILLE        TN   37214‐0598
ALLIED SIG/BOX 1087                    PO BOX 1087                                                                                                          MORRISTOWN       NJ   07962‐1087
ALLIED SIG/STHF                        300 TOWN CENTER                  SUITE 1492                                                                          SOUTHFIELD       MI   48075
ALLIED SIGNAL                          KENT FAIRLESS                    FRICTION MATERIALS              3000 20TH STREET NE                                 DETROIT          MI   48209
ALLIED SIGNAL                          20650 CIVIC CENTER DR                                                                                                SOUTHFIELD       MI   48076‐4110
ALLIED SIGNAL                          KENT FAIRLESS                    3000 20TH ST NE                 FRICTION MATERIALS                                  CLEVELAND        TN   37323‐5837
ALLIED SIGNAL FMD                      105 PAWTUCKET AVE                                                                                                    RUMFORD          RI   02916‐2422
ALLIED SIGNAL INC                      105 PAWTUCKET AVE                                                                                                    RUMFORD          RI   02916‐2422
ALLIED SIGNAL INC                      PO BOX 2245                      LAW DEPT                                                                            MORRISTOWN       NJ   07962‐2245
ALLIED SIGNAL INC
ALLIED SIGNAL TECHNICAL SERVICES
CORPORATION
ALLIED SIGNAL TRANSPORTATION INC       1657 COMMERCE DR                 PO BOX 2898                                                                         SOUTH BEND       IN   46628
ALLIED STEEL CONSRUCTION CO            2211 NW TERRACE                                                                                                      OKLAHOMA CITY    OK   73101
ALLIED SUPPLY CO INC                   1100 E MONUMENT AVE                                                                                                  DAYTON           OH   45402‐1355
ALLIED SYSTEM                          KEITH RENTZEL                    2302 PARKLAKE DR NE STE 600                                                         ATLANTA          GA   30345‐2918
ALLIED SYSTEMS                         LEGAL DEPARTMENT                 2302 PARKLAKE DRIVE             BUILDING 15, SUITE 600                              ATLANTA          GA   30345
ALLIED SYSTEMS                         2302 PARKLAKE DR NE STE 600                                                                                          ATLANTA          GA   30345‐2918
ALLIED SYSTEMS CANADA                  COMPANY/MCL RYDER TRANSPORT      770 STEVENSON RD S                                       OSHAWA CANADA ON L1J 7C8
                                                                                                                                 CANADA
ALLIED SYSTEMS CANADA                  DBA AUTO HAULAWAY                4320 HARVESTER RD                                        BURLINGTON CANADA ON L7L
                                                                                                                                 5S4 CANADA
ALLIED SYSTEMS LTD LP                  2302 PARKLAKE DR NE              STE 600                                                                             ATLANTA          GA   30345‐2918
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Name                                      Address1                             Address2                  Address3                  Address4                  City             State   Zip
ALLIED SYSTEMS, LTD                       2302 PARKLAKE DR NE STE 600                                                                                        ATLANTA           GA     30345‐2918
ALLIED SYSTEMS, LTD                       160 CLAIREMONT AVE STE 600                                                                                         DECATUR           GA     30030‐2557
ALLIED SYSTEMS, LTD.                      2302 PARKLAKE DR NE STE 600                                                                                        ATLANTA           GA     30345‐2918
ALLIED SYSTEMS, LTD.                      2302 PARKLAKE DR NE                  STE 600                                                                       ATLANTA           GA     30345‐2918
ALLIED SYSTEMS, LTD.                      2302 PARKLANE DR NE STE 600                                                                                        ATLANTA           GA     30345‐2918
ALLIED SYSTEMS, LTD.                      160 CLAIREMONT AVENUE                                                                                              DECATUR           GA     30030
ALLIED SYSTEMS, LTD.                      160 CLAIRMONT AVENUE                                                                                               DECATUR           GA     30033
ALLIED SYSTEMS, LTD.                      ARGONAUT HOLDINGS, INC.              WORLDWIDE REAL ESTATE     PO BOX 200                MC 482 B38 LCN            DETROIT           MI     48265‐2000
ALLIED SYSTEMS, LTD.                      ALLIED SYSTEMS, LTD.                 160 CLAIRMONT AVENUE                                                          DECATUR           GA     30030
ALLIED SYSTEMS, LTD.                      ALLIED SYSTEMS, LTD.                 160 CLAIREMONT AVENUE                                                         DECATUR           GA     30030
ALLIED SYSTEMS, LTD. (L.P.)               160 CLAIRMONT AVENUE                                                                                               DECATUR           GA     30030
ALLIED TOOL & DIE CO                      3545 JANES AVE                       PO BOX 1407                                                                   SAGINAW           MI     48601‐6369
ALLIED TOOL & MACHINE CO                  3545 JANES AVE                                                                                                     SAGINAW           MI     48601‐6369
ALLIED TOOLS INC                          PO BOX 34367                                                                                                       LOUISVILLE        KY     40232‐4367
ALLIED TUBE & CONDUIT CORP                16100 LATHROP AVE                                                                                                  HARVEY             IL    60426‐6021
ALLIED TUBE & CONDUIT CORP                ATTN: RICK PAUL                      101 E BROADWAY ST                                                             KOKOMO            IN     46901‐2919
ALLIED UNIKING CORP INC                   TIRE & WHEEL DIV                     4750 CROMWELL AVE         PO BOX 18484                                        MEMPHIS           TN     38118‐6311
ALLIED VAN LINES INC                      PO BOX 95062                                                                                                       CHICAGO            IL    60694‐5062
ALLIED VAN LINES INC                      PO BOX 95062                         311 WEST MONROE ST                                                            CHICAGO            IL    60694‐5062
ALLIED VAUGHN                             11923 BROOKFIELD ST                                                                                                LIVONIA           MI     48150‐1736
ALLIED VAUGHN                             7951 COMPUTER AVE                                                                                                  MINNEAPOLIS       MN     55435‐5414
ALLIED VENDORS                            THROUGH APMT.                        !!! DO NOT ACTIVATE !!!   CONTACT MICHELLE HADLEY                             MD INACTIVE MH

ALLIED VENDORS
ALLIED VENTILATION INC                    21714 SCHMEMAN AVE                                                                                                 WARREN            MI     48089‐3258
ALLIED VISION                             997 ROCHESTER RD                                                                                                   TROY              MI     48083
ALLIED VISION                             ATTN: CORPORATE OFFICER/AUTHORIZED   997 ROCHESTER ROAD                                                            TROY              MI     48083
                                          AGENT
ALLIED WASTE INDUSTRIES OF ILLINOIS INC

ALLIED WASTE LANDFILL HOLDINGS INC

ALLIED WASTE NORTH AMERICAN INC
ALLIED WASTE SERVICES #241                1633 HIGHWOOD W                                                                                                    PONTIAC           MI     48340‐1244
ALLIED WASTE SERVICES #253                1633 HIGHWOOD W                                                                                                    PONTIAC           MI     48340‐1244
ALLIED WORLD ASSURANCE COMPANY            KARL JORDAN                          27 RICHMOND ROAD                                    PEMBROKE HM 08, BERMUDA
(AWAC)
ALLIED‐CALLAWAY EQUIPMENT CO I            720 E 3RD ST                                                                                                       KANSAS CITY      MO      64106‐1078
ALLIEMAE HINER                            3429 S VERMONT AVE                                                                                                 INDEPENDENCE     MO      64052‐2748
ALLIGOOD, BARBARA L                       51 LODEN LN                                                                                                        ROCHESTER        NY      14623‐3617
ALLIGOOD, CALLAS E                        4096 SOUNDPOINTE DR                                                                                                GULF BREEZE      FL      32563‐3579
ALLIGOOD, JOHNNY E                        648 CANNON DR SE                                                                                                   SOCIAL CIRCLE    GA      30025‐4663
ALLIN, FAYE B                             442 PLOVER PLACE                                                                                                   PALM HARBOR      FL      34683‐4853
ALLINA SHERI                              13 JONES ST                                                                                                        OBERLIN          PA      17113‐1610
ALLINA‐MEDICAL TRANSPORTATION                                                  167 GRAND AVE                                                                 SAINT PAUL       MN      55102
ALLINE BROWN                              1706 KNUPKE ST                                                                                                     SANDUSKY         OH      44870‐4347
ALLINE DUTTON                             1408 SE 38TH ST                                                                                                    OKLAHOMA CITY    OK      73129‐6915
ALLINE PIERCY                             245 OCEANVIEW DR                                                                                                   VISTA            CA      92084‐6051
ALLINE SULLIVAN                           315 WELCOME WAY BLVD E DR #103B                                                                                    INDIANAPOLIS     IN      46214
ALLING, CHARLES G                         744 CLARK XING SE                                                                                                  GRAND RAPIDS     MI      49506
ALLING, CLARK R                           10089 DIMONDALE HWY                                                                                                DIMONDALE        MI      48821‐9733
ALLING, CLARK RANDALL                     10089 DIMONDALE HWY                                                                                                DIMONDALE        MI      48821‐9733
ALLING, FLORENCE C                        128 WOODWARD AVE                                                                                                   ROCHESTER        MI      48307‐1165
ALLING, IRENE D                           353 BRIDGEWOOD DR                                                                                                  ROCHESTER        NY      14612‐3742
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Name                            Address1                       Address2                         Address3   Address4                  City              State Zip
ALLING, JOSEPH J                PO BOX 8632                                                                                          RANCHO SANTA FE    CA 92067‐8632

ALLING, PARKE D                 42434 FLIS DR                                                                                        STERLING HTS      MI   48314‐2858
ALLING, ROBERT R                1454 W KALAMO HWY                                                                                    CHARLOTTE         MI   48813‐9535
ALLING, STEPHEN                 121 PLEASANT ST                                                                                      ROMEO             MI   48065‐5142
ALLING, TERRY R                 6060 REDONDO DR                                                                                      HASLETT           MI   48840‐9721
ALLINGER, BARRY M               2650 PROCTOR AVE                                                                                     FLINT             MI   48504‐2859
ALLINGER, FRANK H               1072 HUNT CLUB CT                                                                                    BURTON            MI   48509‐2375
ALLINGER, FRANK HERBERT         1072 HUNT CLUB CT                                                                                    BURTON            MI   48509‐2375
ALLINGER, HARRY L               3301 W THOMASVIEW DR                                                                                 HILLSBOROUGH      NC   27278‐7150
ALLINGER, HARRY L.              101 CHIPMAN PL                                                                                       NORTH             NY   14120‐4305
                                                                                                                                     TONAWANDA
ALLINGER, HEATHER B             3155 SOUTH TERM STREET                                                                               BURTON            MI   48529‐1019
ALLINGER, KAREN JO              6327 N OAK RD                                                                                        DAVISON           MI   48423‐9385
ALLINGER, MICHAEL G             6327 N OAK RD                                                                                        DAVISON           MI   48423‐9385
ALLINGER, RICHARD L             1122 PERSHING ST                                                                                     FLINT             MI   48503‐3505
ALLINGER, ROBERT L              3324 MADELON CT                                                                                      FLINT             MI   48506‐2125
ALLINGER, ROBERT LEE            3324 MADELON CT                                                                                      FLINT             MI   48506‐2125
ALLINGER, SARAH L               217 HIGH ST                                                                                          GRAND BLANC       MI   48439‐1336
ALLINGER, SARAH LOUISE          217 HIGH STREET                                                                                      GRAND BLANC       MI   48439‐1336
ALLINGER, WESLEY                610 FAIR AVE                                                                                         SANTA CRUZ        CA   95060‐6349
ALLINGHAM CORP                  21250 W 8 MILE RD                                                                                    SOUTHFIELD        MI   48075‐5666
ALLINGHAM CORP DETROIT          21250 W 8 MILE RD                                                                                    SOUTHFIELD        MI   48075‐5666
ALLINGHAM/STHFLD                21250 W 8 MILE RD                                                                                    SOUTHFIELD        MI   48075‐5666
ALLINOS, EMANUEL M              187 6TH ST                                                                                           CAMPBELL          OH   44405‐1375
ALLINOS, MICHAEL E              632 CHAPEL LN                                                                                        CAMPBELL          OH   44405
ALLINSON, JAMES W               13180 NETHERWOOD ST                                                                                  SOUTHGATE         MI   48195‐1013
ALLIO PAOLO BARRA RINA          VIA BOSCO MEIRANO 6                                                        12030 SANFRONT CN ITALY
ALLIO, FREDERICK N              1653 CAPE MAY RD                                                                                     BALTIMORE         MD   21221‐1612
ALLIO, LARRY R                  11500 OXCROFT CT                                                                                     NEW PORT RICHEY   FL   34654‐4665
ALLIS JR, JOHN W                7444 E MOUNT MORRIS RD                                                                               OTISVILLE         MI   48463‐9452
ALLIS JR, RICHARD J             404 MICHIGAN ST                                                                                      LOCKPORT          NY   14094‐1710
ALLIS, DAVID J                  10626 STONEY FIELD CT                                                                                PINCKNEY          MI   48169‐9584
ALLIS, GARY L                   5180 TA LOR DR                                                                                       LAPEER            MI   48446‐3538
ALLIS, HERBERT E                612 PARK VW                                                                                          CLIO              MI   48420‐1481
ALLIS, JACOB N                  1748 CASTLE RD                                                                                       NORTH BRANCH      MI   48461‐9338
ALLIS, JEANETTE M               11073 HENDERSON RD                                                                                   OTISVILLE         MI   48463‐9727
ALLIS, ROBERT J                 1201 CHESANING RD                                                                                    MONTROSE          MI   48457‐9367
ALLIS, WAYNE L                  3524 VICTORIA STA                                                                                    DAVISON           MI   48423‐8448
ALLIS, WAYNE LAWRENCE           3524 VICTORIA STA                                                                                    DAVISON           MI   48423‐8448
ALLIS‐CHALMERS ENERGY INC AND   BONNIE SELBY                   911 REGIONAL PARK DR                                                  HOUSTON           TX   77060‐3942
SUBSIDIARIES
ALLIS‐ROOT, DEBRA J             1455 N SEYMOUR RD                                                                                    FLUSHING          MI   48433‐9448
ALLISH, CLAIR F                 1407 BLISS ST                                                                                        SAGINAW           MI   48602‐2622
ALLISH, JULIE C                 3587 TATHAM RD.                                                                                      SAGINAW           MI   48601
ALLISH, JULIE C                 8075 LUDINGTON DRIVE                                                                                 LAKE              MI   48632‐8985
ALLISH, RENEE                   4 CC STREET                                                                                          LAKELAND          FL   33815‐4216
ALLISON                         F/K/A CLUTCH OPERATING CO.     MAIL STOP L25, 4700 W 10TH ST.                                        INDIANAPOLIS      IN   46222
ALLISON ‐, JENNIFER R           1636 CHESTNUT TRAIL DR                                                                               TWINSBURG         OH   44087‐2826
ALLISON BABCOCK                 PO BOX 965                                                                                           LOCKPORT          NY   14095‐0965
ALLISON BEIDLEMAN               5317 RIO BRAVO DR                                                                                    ARLINGTON         TX   76017‐1750
ALLISON BIERI                   174 TOURAINE ROAD                                                                                    GROSSE POINTE     MI   48236‐3322
ALLISON BLANEY                  20 WHEELER LN                                                                                        NATICK            MA   01760‐1842
ALLISON C CRAIG                 3809 LAKE GROVE CT                                                                                   BRANDON           FL   33511
                                      09-50026-mg             Doc 7123-3    Filed 09/24/10 Entered 09/24/10 15:05:32                           Exhibit B
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Name                                  Address1                        Address2                         Address3                     Address4               City           State   Zip
ALLISON C MANTIA                      4649 HASTINGS DR                                                                                                     DAYTON          OH     45440
ALLISON CHEVROLET                     2152 N WHEELER ST                                                                                                    JASPER          TX     75951‐2416
ALLISON CHEVROLET, INC.               ROBERT ALLISON                  2152 N WHEELER ST                                                                    JASPER          TX     75951‐2416
ALLISON CHRISTOPHER                   ALLISON, CHRISTOPHER            2299 MIAMISBURG CENTERVILLE RD                                                       DAYTON          OH     45459‐3816
ALLISON CLARENCE R (428402)           GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                                          NORFOLK         VA     23510
                                                                      STREET, SUITE 600
ALLISON CLIFFORD & GEORGETTE         5111 N ANDREWS DR                                                                                                     GENEVA         OH      44041‐9758
ALLISON CRAIG                        PO BOX 2850                      C/O RAY H DOYLE JR.                                                                  BRANDON        FL      33509‐2850
ALLISON D BALLARD                    423 JOHNSON ST                                                                                                        CLINTON        MS      39056‐3202
ALLISON ENGINE CO                    PO BOX 66497                                                                                                          INDIANAPOLIS   IN      46266‐6497
ALLISON ENGINE CO ‐ QUI TAM          SANDERS, ROGER                   HELMER MARTINS RICE & POPHAM     600 VINE STREET SUITE 2704                          CINCINNATI     OH      45202
ALLISON ENGINE CO ‐ QUI TAM          GENERAL TOOL COMPANY
ALLISON ENGINE CO INC
ALLISON ENGINE CO QUI TAM 2ND ACTION SANDERS, ROGER L                 HELMER MARTINS RICE & POPHAM     600 VINE STREET SUITE 2704                          CINCINNATI     OH      45202
                                                                      CO
ALLISON ENGINE CO QUI TAM 2ND ACTION THACKER, ROGER L                 HELMER MARTINS RICE & POPHAM     600 VINE STREET SUITE 2704                          CINCINNATI     OH      45202
                                                                      CO
ALLISON ENGINE CO QUI TAM 2ND ACTION RENO, JANET

ALLISON ENGINE CO QUI TAM 2ND ACTION SANDERS, ROGER L

ALLISON ENGINE CO QUI TAM 2ND ACTION THACKER, ROGER L

ALLISON ENGINE CO QUI TAM 2ND ACTION UNITED STATES OF AMERICA

ALLISON ENGINE COMPANY                ATTN: GENERAL COUNSEL           6504 BIDGE POINT PARKWAY                                                             AUSTIN          TX
ALLISON ENGINE COMPANY                4700 W 10TH ST                                                                                                       INDIANAPOLIS    IN     46222‐3277
ALLISON ENGINE COMPANY                8000 E JEFFERSON AVE                                                                                                 DETROIT         MI     48214‐3963
ALLISON ENGINE COMPANY
ALLISON ENGINE COMPANY INC
ALLISON FRANK                         5092 MARINE DR                                                                                                       CANTON         MI      48188‐2771
ALLISON FRED M (484822)               KELLEY & FERRARO LLP            1300 EAST NINTH STREET , 1901                                                        CLEVELAND      OH      44114
                                                                      BOND COURT BUILDING
ALLISON FREEMAN E (ESTATE OF) (635894) DELUCA AARON J PLLC            21021 SPRING BROOK PLAZA DR                                                          SPRING          TX     77379‐5229

ALLISON GARY                          ALLISON, GARY                   1612 WEST 30TH ST                                                                    LITTLE ROCK     AK     72204
ALLISON GAS TURBINE DIVISION          PO BOS 420                                                                                                           INDIANAPOLIS    IN     46206
ALLISON I I, FORREST H                413 S HENRY ST                                                                                                       ALEXANDRIA      VA     22314‐5901
ALLISON JENNIFER L                    ALLISON, JENNIFER L             431 6TH ST                                                                           ROCHESTER       MI     48307‐1401
ALLISON JOHNSTON                      24081 52ND ST                                                                                                        GRAND JCT       MI     49056‐9421
ALLISON JONES                         PO BOX 4931                                                                                                          RANCHO          CA     91729‐4931
                                                                                                                                                           CUCAMONGA
ALLISON JR, CHARLES                   2233 TAHITIAN DR                                                                                                     HOLIDAY        FL      34691‐3571
ALLISON JR, CHARLES L                 PO BOX 327                                                                                                           GEORGETOWN     GA      39854
ALLISON JR, CHARLES L                 909 S JOHNSTON STREET EXT                                                                                            FITZGERALD     GA      31750‐5301
ALLISON JR, FREDDIE                   PO BOX 952                                                                                                           SCHERERVILLE   IN      46375‐0952
ALLISON JR, GORDON E                  812 BARNEY AVE                                                                                                       FLINT          MI      48503‐4921
ALLISON JR, JOHN M                    14379 BROADWOOD DR                                                                                                   BURTON         OH      44021‐9506
ALLISON JR, ROBERT A                  2525 RUNNING STREAM CT                                                                                               ANDERSON       IN      46011‐4799
ALLISON JR, VAL J                     3258 E FARRAND RD                                                                                                    CLIO           MI      48420‐9162
ALLISON L BEATY                       2307 ALPINE WAY                                                                                                      DAYTON         OH      45406‐2102
ALLISON L WALKER                      3707 PATIENCE BLVD E                                                                                                 DALLAS         TX      75236‐3035
ALLISON LAURENCE                      801 E MILLS AVE                                                                                                      INDIANAPOLIS   IN      46227‐1544
ALLISON LENHOFF                       1762 GRAEFIELD RD                                                                                                    BIRMINGHAM     MI      48009‐5846
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Name                                  Address1                             Address2                          Address3                Address4                   City           State   Zip
ALLISON LUSTIG                        2820 WOODBINE DR                                                                                                          WATERFORD       MI     48328‐3958
ALLISON M BENTON                      6697 COACHLIGHT WAY                                                                                                       WEST CHESTER    OH     45069‐2045
ALLISON M JOHNSTON                    24081 52NS ST                                                                                                             GRAND JCT       MI     49056‐9421
ALLISON MATTHEW                       902 W INDIANA ST                                                                                                          BAY CITY        MI     48706‐4236
ALLISON MECHANICAL INC                1968 ESSEX CT                                                                                                             REDLANDS        CA     92373‐8008
ALLISON OESTREICH                     12783 FEDERAL PL                                                                                                          FISHERS         IN     46037‐7834
ALLISON PARK                          659 S HUCKLEBERRY AVE                                                                                                     BEAR            DE     19701‐1340
ALLISON PATSY (656195)                LANIER LAW FIRM                      6810 FM 1960 WEST SUITE 1550                                                         HOUSTON         TX     77069
ALLISON PULLINS                       139 E BAY DR                                                                                                              WALLED LAKE     MI     48390‐3526
ALLISON RAYMOND C (635376)            SIEBEN POLK LAVERDIERE & DUSICH      999 WESTVIEW DR                                                                      HASTINGS        MN     55033‐2432
ALLISON ROBERT SR (465843)            ANGELOS PETER G LAW OFFICES OF       100 N CHARLES STREET , ONE                                                           BALTIMORE       MD     21202
                                                                           CHARLES CENTER 22ND FLOOR
ALLISON SAAB                          ALLISON, GAIL M.                     9190 S VIRGINIA ST                                                                   RENO           NV      89511‐8957
ALLISON SAAB                          9190 S VIRGINIA ST                                                                                                        RENO           NV      89511‐8957
ALLISON SANDERS JR                    PO BOX 13052                                                                                                              TOLEDO         OH      43613‐0052
ALLISON SERVICE KOREA CORP            316 GOCHEN‐DONG UWANG‐SI             KYUNGGI‐DO 437310                                         KOREA SOUTH KOREA
ALLISON SHELL                         5706 STATE ROUTE 61 S                                                                                                     SHELBY         OH      44875‐9080
ALLISON STEPHANIE                     133 CIRCLE SIX DR                                                                                                         LA VERNIA      TX      78121
ALLISON TRANMISSION INC               5902 DECATUR BLVD                                                                                                         INDIANAPOLIS   IN      46241‐9579
ALLISON TRANSMISSION                  4700 W 10TH ST                                                                                                            INDIANAPOLIS   IN      46222‐3277
ALLISON TRANSMISSION                  DIV OF GENERAL MOTORS CO             4700 W 10TH ST                                                                       INDIANAPOLIS   IN      46222‐3277
ALLISON TRANSMISSION                  4700 W. 10TH STREET                                                                                                       INDIANAPOLIS   IN      46222
ALLISON TRANSMISSION
ALLISON TRANSMISSION                  CHERI BARTH                          4700 W 10TH ST                                                                       INDIANAPOLIS   IN      46222‐3277
ALLISON TRANSMISSION                  16 E JUDSON ST                                                                                                            PONTIAC        MI      48342‐2205
ALLISON TRANSMISSION                  PO BOX 9115                                                                                                               NORWOOD        MA      02062‐9115
ALLISON TRANSMISSION                  PO BOX 894                                                                                                                INDIANAPOLIS   IN      46206‐0894
ALLISON TRANSMISSION                  ATTN: CORPORATE OFFICER/AUTHORIZED   4700 W 10TH ST                                                                       INDIANAPOLIS   IN      46222‐5200
                                      AGENT
ALLISON TRANSMISSION ALTE EUROPE BV   NO LONGER ALLIED CS                  3361 GN SLIEDRECHT                                        NEDERLAND NETHERLANDS

ALLISON TRANSMISSION CORPORATION

ALLISON TRANSMISSION EUROPE           BAANHOEK 188                         3361 GN SLIEDRECHT                                        SLIEDRECHT 3361
                                                                                                                                     NETHERLANDS
ALLISON TRANSMISSION INC              PO BOX 894                                                                                                                INDIANAPOLIS    IN     46206‐0894
ALLISON TRANSMISSION INC              4700 W 10TH ST                                                                                                            INDIANAPOLIS    IN     46222‐5200
ALLISON TRANSMISSION INC              DAVID GRAZIOSI, CFO                  MAIL STOP L02                      PO BOX 894                                        INDIANAPOLIS    IN     46206‐0894
ALLISON TRANSMISSION INC              JOHN TAYLOR                          4700 W 10TH ST                                                                       INDIANAPOLIS    IN     46222‐3277
ALLISON TRANSMISSION INC              JOHN TAYLOR                          5902 DECATUR BLVD                                                                    INDIANAPOLIS    IN     46241‐9579
ALLISON TRANSMISSION INC V ROBERT     ALLISON TRAMSMISSION                 500 PLACE, SUITE 200 , 501 INDIANA                                                   INDIANAPOLIS    IN     46202
BOSCH CORPORATION ET AL & GM                                               AVENUE

ALLISON TRANSMISSION, INC.            RYAN MILBURN, VICE PRESIDENT AND     4700 W 10TH ST                    POST OFFICE BOX 894                                INDIANAPOLIS    IN     46222‐3277
                                      CHIEF INFORMATION OFFICER
ALLISON TRANSMISSION, INC.            4700 W 10TH ST                                                                                                            INDIANAPOLIS    IN     46222‐3277
ALLISON TRANSMISSION, INC., F/K/A     ATTN: GENERAL COUNSEL                4700 W 10TH ST                    POST OFFICE BOX 894                                INDIANAPOLIS    IN     46222‐3277
CLUTCH OPERATING COMPANY, INC.
ALLISON TRASNMISSION, INC.            4700 W 10TH ST                                                                                                            INDIANAPOLIS   IN      46222‐3277
ALLISON WALKER                        3707 PATIENCE BOULEVARD EAST                                                                                              DALLAS         TX      75236‐3035
ALLISON WEAVER                        2610 GARDEN GATE DR                                                                                                       HERNANDO       MS      38632‐9454
ALLISON WELLS                         C/O KRONIS ROTSZTAIN MARGLES CAPPEL ATTN: FRANK COMELLA                700‐25 SHEPPARD AVE W   TORONTO, ONTARIO M2N 6S6

ALLISON WESLEY                        DBA WESLEY ALLISON PHOTOGRAPHY       5 KIRRA COURT                                                                        ALISO VIEJO     CA     92656‐4276
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Name                      Address1                          Address2                       Address3   Address4               City             State   Zip
ALLISON'S AUTOCARE        1214 K AVE                                                                                                           TX     75074‐6925
ALLISON'S, INCORPORATED   DANIEL ALLISON                    1188 W MAIN ST                                                   SYLVA             NC     28779‐5211
ALLISON'S, INCORPORATED   1188 W MAIN ST                                                                                     SYLVA             NC     28779‐5211
ALLISON, AARON T          7486 HEATHERWOOD DR.              APPARTMENT 2A                                                    GRAND BLANC       MI     48439
ALLISON, AARON T          5175 LATTA RD                                                                                      EAST PALESTINE    OH     44413‐9702
ALLISON, APRIL D          36 SUNSET RD N                                                                                     MANSFIELD         OH     44906‐2258
ALLISON, APRIL DAWN       36 SUNSET RD N                                                                                     MANSFIELD         OH     44906‐2258
ALLISON, ASHANTI          1636 CHESTNUT TRAIL DR                                                                             TWINSBURG         OH     44087‐2826
ALLISON, BARBARA E        11503 NIAGARA DR                                                                                   FISHERS           IN     46037‐4070
ALLISON, BARBARA W        EAST 480, ST RT 122                                                                                LEBANON           OH     45036
ALLISON, BARTH E          905 E VALLEY CT                                                                                    SAINT JOSEPH      MO     64504‐2273
ALLISON, BARTH EDWARD     905 E VALLEY CT                                                                                    SAINT JOSEPH      MO     64504‐2273
ALLISON, BETTY E          846 PERKINS‐JONES RD                                                                               WARREN            OH     44483‐1850
ALLISON, BETTY E          846 PERKINS JONES RD NE                                                                            WARREN            OH     44483‐1850
ALLISON, BOBBY D          11430 WING DR                                                                                      CLIO              MI     48420‐1548
ALLISON, BOBBY W          2119 S JACKSON ST                                                                                  JANESVILLE        WI     53546‐3226
ALLISON, BRENDA C         PO BOX 6099                                                                                        GAINESVILLE       GA     30504‐1000
ALLISON, BRIAN E          5303 CROISSANT ST                                                                                  DEARBORN HEIGHTS MI      48125‐3409

ALLISON, CAROL A          989 WINDBROOK DRIVE                                                                                DELTONA           FL     32725‐8232
ALLISON, CHARLES A        49562 LAUREL HEIGHTS CT                                                                            SHELBY TOWNSHIP   MI     48315‐3835
ALLISON, CHARLES R        2106 W MONROE ST                                                                                   SANDUSKY          OH     44870
ALLISON, CHARLES T        942 N WUTHERING HILLS DR                                                                           JANESVILLE        WI     53546‐1701
ALLISON, CLARENCE         GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                      NORFOLK           VA     23510‐2212
                                                            STREET, SUITE 600
ALLISON, CLEM E           6214 LAZY K LN                                                                                     PINCKNEY          MI     48169‐8124
ALLISON, DANNY L          2802 PERRYSVILLE RD                                                                                DANVILLE          IL     61834‐8076
ALLISON, DAROLD L         5803 US HIGHWAY 23 NORTH                                                                           ROGERS CITY       MI     49779‐9505
ALLISON, DAROLD LEE       7791 ELLIS RD                                                                                      MILLINGTON        MI     48746‐9484
ALLISON, DAVID L          1280 SALT SPRINGS RD                                                                               WARREN            OH     44481‐8624
ALLISON, DAVID L          1895 MEADOW DALE CT                                                                                ROCHESTER HILLS   MI     48309‐3333
ALLISON, DEBORAH L        PO BOX 214777                                                                                      AUBURN HILLS      MI     48321‐4777
ALLISON, DONALD C         241 ABBEYFEALE RD                                                                                  MANSFIELD         OH     44907‐1103
ALLISON, DONALD E         12256 COOK RD                                                                                      GAINES            MI     48436‐9656
ALLISON, DONALD G         731 N GARFIELD AVE                                                                                 JANESVILLE        WI     53545‐2514
ALLISON, DONALD R         6677 CRORY RD                                                                                      CANFIELD          OH     44406‐9700
ALLISON, DORIS            473 S AMMONS BR RD                                                                                 MARSHALL          NC     28753
ALLISON, DUANE E          42 W CENTER DR                                                                                     COLUMBIA CITY     IN     46725‐8602
ALLISON, EDMOND H         1600 WINSTED DR                                                                                    GOSHEN            IN     46526‐4654
ALLISON, EDWARD N         2428 18TH AVE NE                                                                                   HICKORY           NC     28601‐3020
ALLISON, ELIZABETH J      70 LITTLE TREE LA                                                                                  HILTON            NY     14468‐1110
ALLISON, ELIZABETH J      6506 WELDON CIR NW                                                                                 CONCORD           NC     28027‐8018
ALLISON, EMMA L           1207 MOUNT VERNON DR                                                                               BLOOMINGTON       IL     61704
ALLISON, ETHEL A          1204 PARKVIEW DR                                                                                   TYLER             TX     75703‐3474
ALLISON, EUGENE M         1003 RIVER RIDGE DR                                                                                ASHEVILLE         NC     28803‐1098
ALLISON, EVAN E           912 FROST ST                                                                                       FLINT             MI     48504‐4954
ALLISON, FAYE J           378 OMEGA DR                                                                                       LAWRENCEVILLE     GA     30044‐4229
ALLISON, FAYE J           378 OMEGA DR.                                                                                      LAWRENCEVILLE     GA     30044‐4229
ALLISON, FLORENCE J       304 JAYMAR BLVD                                                                                    NEWARK            DE     19702‐2883
ALLISON, FLORENCE JANE    304 JAYMAR BLVD                                                                                    NEWARK            DE     19702‐2883
ALLISON, FRANKLIN S       8 FRANKLIN DR                                                                                      CLEVELAND         GA     30528
ALLISON, FRED M           KELLEY & FERRARO LLP              1300 EAST NINTH STREET, 1901                                     CLEVELAND         OH     44114
                                                            BOND COURT BUILDING
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Name                    Address1                              Address2                        Address3   Address4               City               State Zip
ALLISON, FREEMAN E      DELUCA AARON J PLLC                   21021 SPRINGBROOK PLAZA DRIVE                                     SPRING              TX 77379
                                                              SUITE 150
ALLISON, GARRY D        1155 COUNTY ROAD 427                                                                                    HILLSBORO          AL   35643‐3629
ALLISON, GARY           1612 WEST 30TH ST                                                                                       LITTLE ROCK        AK   72204
ALLISON, GARY D         122 KENOSHA LN                                                                                          LOUDON             TN   37774‐3183
ALLISON, GARY M         2601 CATALINA DR                                                                                        ANDERSON           IN   46012‐4703
ALLISON, GARY MERL      2601 CATALINA DR                                                                                        ANDERSON           IN   46012‐4703
ALLISON, GEORGE L       MOODY EDWARD O                        801 W 4TH ST                                                      LITTLE ROCK        AR   72201‐2107
ALLISON, GEORGE LEE     C/O EDWARD O MOODY PA                 801 WEST 4TH STREET                                               LITTLE ROCK        AR   72201
ALLISON, GERALD L       22946 E 700 RD                                                                                          PLEASANTON         KS   66075‐9162
ALLISON, GLENN R        550 FORRER BLVD APT B                                                                                   DAYTON             OH   45419
ALLISON, GORDON E       17591 SE 106TH TER                                                                                      SUMMERFIELD        FL   34491‐6946
ALLISON, HARVEY G       2945 MOUNTAIN VW APT 107                                                                                LAKE ORION         MI   48360‐2606
ALLISON, HELEN E        4752 BLACK SWAN DRIVE                                                                                   SHAWNEE            KS   66216‐1235
ALLISON, HULON D        5536 MANSFIELD AVE                                                                                      STERLING HTS       MI   48310‐5747
ALLISON, IDA            P O BOX 424                                                                                             NINETY SIX         SC   29666‐0424
ALLISON, IDA            PO BOX 424                                                                                              NINETY SIX         SC   29666‐0424
ALLISON, III,ROBERT G   227‐B EAST 480 OLD 122                                                                                  LEBANON            OH   45036
ALLISON, INELL          4321 WILHELM ST                                                                                         FORT WORTH         TX   76119‐3837
ALLISON, ISABELLE M     149 OLIVER ST                                                                                           PONTIAC            MI   48342‐1550
ALLISON, ISSIAC C       39468 VINNIE CT                                                                                         CLINTON TOWNSHIP   MI   48038‐4022

ALLISON, JACQUELINE C   5536 MANSFIELD                                                                                          STERLING HGTS      MI   48310‐5747
ALLISON, JAMES A        3673 MIO RD                                                                                             ROSE CITY          MI   48654‐9643
ALLISON, JAMES C        112 CROSSROAD DR                                                                                        HENDERSONVILLE     TN   37075
ALLISON, JAMES D        1206 DIAGONAL RD                                                                                        AKRON              OH   44307‐1326
ALLISON, JAMES D        3615 LAKESHORE DR                                                                                       LAPEER             MI   48446‐2945
ALLISON, JAMES H        2140 DUNLAP RD                                                                                          KIMBALL            MI   48074‐1700
ALLISON, JAMES L        9855 COLFAX DR                                                                                          COLUMBIA STA       OH   44028‐9619
ALLISON, JAMES M        2808 LONG LAKE DR                                                                                       TITUSVILLE         FL   32780‐7543
ALLISON, JASON H        42462 LYNDA DR                                                                                          CLINTON TWP        MI   48038‐3627
ALLISON, JASON HOWARD   42462 LYNDA DR                                                                                          CLINTON TWP        MI   48038‐3627
ALLISON, JENNIFER L     JOHN MODRZEJEWSKI                     431 6TH ST                                                        ROCHESTER          MI   48307‐1401
ALLISON, JENNIFER R     1636 CHESTNUT TRAIL DR                                                                                  TWINSBURG          OH   44087‐2826
ALLISON, JO ANN         545 CENTRE ST APT 314                                                                                   JAMAICA PLAIN      MA   02130
ALLISON, JOAN A         PO BOX 1067                                                                                             ANDERSON           IN   46015‐1067
ALLISON, JOAN M         191 W BLACKSTONE RD                                                                                     ORO VALLEY         AZ   85755‐8948
ALLISON, JOHANN         5718 CASMERE AVE                                                                                        WARREN             MI   48092‐3154
ALLISON, JOHN C         19537 LANCASHIRE ST                                                                                     DETROIT            MI   48223‐1267
ALLISON, JOHN C.        19537 LANCASHIRE ST                                                                                     DETROIT            MI   48223‐1267
ALLISON, JOHN G         541 OAKBROOK CIR                                                                                        FLUSHING           MI   48433‐1706
ALLISON, JOHN H         1135 CANYON VIEW RD APT 304                                                                             SAGAMORE HILLS     OH   44067‐2259
ALLISON, JOHN P         8740 EMERALDGATE DR                                                                                     HUBER HEIGHTS      OH   45424‐6405
ALLISON, JOHNNIE M      8622 S THROOP ST                                                                                        CHICAGO            IL   60620‐4053
ALLISON, JOHNNY H       44965 PARTRIDGE DR                                                                                      PLYMOUTH           MI   48170‐3718
ALLISON, JOSEPH D       3459 W COURTNEY CROSSING LN                                                                             TUCSON             AZ   85741‐3250
ALLISON, JOY E          1305 MIDDLE BELLVILLE RD                                                                                MANSFIELD          OH   44904‐1907
ALLISON, JR,ROBERT G    RT 122 BOX E480                                                                                         LEBANON            OH   45036
ALLISON, JUANITA W      100 HOBBY FARMS ROAD                                                                                    CLINTON            MS   39056‐2260
ALLISON, KATHY          3328 E 5TH ST                                                                                           ANDERSON           IN   46012‐3943
ALLISON, KENNETH E      526 ROCKSHIRE DR                                                                                        JANESVILLE         WI   53546‐2193
ALLISON, LARRY L        6226 TWIN LAKES DR                                                                                      KIMBALL            MI   48074‐1376
ALLISON, LAWRENCE K     6171 BERT KOUNS INDUSTRIAL LOOP APT                                                                     SHREVEPORT         LA   71129‐5005
                        K100
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Name                       Address1                              Address2             Address3         Address4               City               State Zip
ALLISON, LAWRENCE KENNY    6171 BERT KOUNS INDUSTRIAL LOOP APT                                                                SHREVEPORT          LA 71129‐5005
                           K100
ALLISON, LEO P             2103 L PAVIA BLVD                                                                                  VENICE             FL   34292‐5328
ALLISON, LEROY T           304 JAYMAR BLVD                                                                                    NEWARK             DE   19702‐2883
ALLISON, LEWIS M           13 OYSTER RAKE LN                                                                                  HILTON HEAD        SC   29926‐2581
                                                                                                                              ISLAND
ALLISON, LOIS M            6485 BRAYTON AVE                                                                                   LONG BEACH         CA   90805‐2516
ALLISON, LORI L            3300 DOGWOOD CT                                                                                    BLOOMFIELD HILLS   MI   48304‐2519
ALLISON, LOUANNE M         405 WOLFE RD                                                                                       ORTONVILLE         MI   48462‐8440
ALLISON, M J               3733 MATSON ST                                                                                     FORT WORTH         TX   76117‐2819
ALLISON, M JANE            3733 MATSON ST                                                                                     FORT WORTH         TX   76117‐2819
ALLISON, MARGARET G        2939 COLONY LAKE EAST DR                                                                           PLAINFIELD         IN   46168‐7865
ALLISON, MARJORIE E        735 HIGH ST                                                                                        MIDDLETOWN         IN   47356‐1314
ALLISON, MARK A            1141 CARLISLE AVE                                                                                  DAYTON             OH   45420‐1916
ALLISON, MARK D            3247 AUTUMN VIEW LANE                                                                              METAMORA           MI   48455‐8732
ALLISON, MARK J            1812 N BAILEY RD                                                                                   NORTH JACKSON      OH   44451‐9698
ALLISON, MARTHA A          3336 G P EASTERLY RD                                                                               WEST FARMINGTON    OH   44491‐9767

ALLISON, MARTHA A          3336 G.P.EASTERLY                                                                                  W. FARMINGTON      OH   44491‐9767
ALLISON, MARTHA L          5448 CARROLLTON AVE                                                                                INDIANAPOLIS       IN   46220‐3121
ALLISON, MARY E            227 SHIELDS STREET                                                                                 WINDER             GA   30680
ALLISON, MARY K            7 COLONY DR                                                                                        TRENTON            NJ   08619‐1001
ALLISON, MICHAEL B
ALLISON, MICHAEL M         9550 PRINGLE BENJAMIN RD                                                                           LONDON             OH   43140‐8872
ALLISON, MICHAEL T         27256 WYATT AVE                                                                                    BROWNSTOWN TWP     MI   48183‐4855

ALLISON, MICHELLE          6199 MCKENZIE DR                                                                                   FLINT              MI   48507
ALLISON, MILDRED I         1013 E MONTOYA LN                                                                                  PHONEXI            AZ   85024‐4187
ALLISON, MILFORD H         39164 SCHROEDER DR                                                                                 CLINTON TWP        MI   48038‐2860
ALLISON, MILINIA A         1280 SALT SPRINGS RD                                                                               WARREN             OH   44481‐8624
ALLISON, NANCY J           212 WALNUT LN                                                                                      SAINT PAUL         MN   55124
ALLISON, NEWELL            424 COURTLAND LN                                                                                   PICKERINGTON       OH   43147‐1524
ALLISON, NORMAN W          30609 LAKE SHORE BLVD                                                                              WILLOWICK          OH   44095‐3603
ALLISON, ORMA G            1609 ALDEN RD                                                                                      JANESVILLE         WI   53545‐1085
ALLISON, OZELLA            491 E 123RD ST                                                                                     CLEVELAND          OH   44108‐1869
ALLISON, PATRICIA S        612 WALDEMERE AVE                                                                                  MUNCIE             IN   47303‐4274
ALLISON, PATRICIA S        612 N WALDEMERE AVE                                                                                MUNCIE             IN   47303‐4274
ALLISON, PATSY             ICO THE LANIER LAW FIRM P C           6810 FM 1960 WEST                                            HOUSTON            TX   77069
ALLISON, PAUL E            1101 LINDA DR                                                                                      KOKOMO             IN   46902‐4378
ALLISON, PAUL L            941 COVINGTON ST                                                                                   BOWLING GREEN      KY   42103‐4913
ALLISON, PAUL R            1064 HIGHLAND AVE                                                                                  DAYTON             OH   45410‐2320
ALLISON, PAUL W            PO BOX 92                                                                                          SOUTH SHORE        SD   57263‐0092
ALLISON, PAULINE           PO BOX 7199                                                                                        FORT WORTH         TX   76111‐0199
ALLISON, PEARL             422 WYOMING AVE                                                                                    BUFFALO            NY   14215‐3122
ALLISON, QUINCY L          8317 OAKVILLE WALTZ RD                                                                             BELLEVILLE         MI   48111‐9500
ALLISON, RANDALL L         3300 DOGWOOD CT                                                                                    BLOOMFIELD HILLS   MI   48304‐2519
ALLISON, RAYMOND C         9294 EAST RD                                                                                       BURT               MI   48417‐9782
ALLISON, RAYMOND C         SIEBEN POLK LAVERDIERE & DUSICH       999 WESTVIEW DR                                              HASTINGS           MN   55033‐2432
ALLISON, RAYMOND E         7928 HERBERT RD                                                                                    CANFIELD           OH   44406‐9706
ALLISON, RICHARD M         4622 COBBLESTONE DR                                                                                TIPP CITY          OH   45371‐8352
ALLISON, RICHARD M         36 SUNSET RD N                                                                                     MANSFIELD          OH   44906‐2258
ALLISON, RICHARD MICHAEL   36 SUNSET RD N                                                                                     MANSFIELD          OH   44906‐2258
ALLISON, RICHARD W         78418 WINSFORD CIRCLE                                                                              PALM DESERT        CA   92211‐1946
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Name                             Address1                         Address2                    Address3   Address4               City               State Zip
ALLISON, ROBERT                  ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET, ONE                                     BALTIMORE           MD 21202
                                                                  CHARLES CENTER 22ND FLOOR
ALLISON, ROBERT E                70 LITTLE TREE LN                                                                              HILTON             NY   14468‐1110
ALLISON, ROBERT E                757 ODIN CV                                                                                    EATON              OH   45320‐2528
ALLISON, ROBERT E                174 COUNTY ROAD 404                                                                            CULLMAN            AL   35057‐1216
ALLISON, ROBERT L                508 WOODSIDE DR                                                                                MOUNT MORRIS       MI   48458‐3010
ALLISON, ROBERT L                30070 WESTGATE RD                                                                              FARMINGTON HILLS   MI   48334‐2371

ALLISON, ROBERT W                26447 WEST SIERRA PINTA DRIVE                                                                  BUCKEYE            AZ   85396‐2210
ALLISON, ROBERTA                 9051 N RAIDER RD                                                                               MIDDLETOWN         IN   47356
ALLISON, ROBERTA J               400 N NORTH SHORE DR                                                                           LAKE ORION         MI   48362‐3063
ALLISON, ROGER D                 10738 BELMONT CIR                                                                              INDIANAPOLIS       IN   46280‐1187
ALLISON, ROGER D                 980 WILMINGTON AVE APT 306                                                                     DAYTON             OH   45420‐1620
ALLISON, RONALD H                908 OAKHILL CIR                                                                                CLINTON            MS   39056‐3744
ALLISON, ROSALIE                 WILCOX TONY L                    PO BOX 1733                                                   JONESBORO          AR   72403‐1733
ALLISON, SAMUEL L                8298 CYPRESS DR N                                                                              FORT MYERS         FL   33967‐5259
ALLISON, SANDRA L                541 OAKBROOK CIR                                                                               FLUSHING           MI   48433‐1706
ALLISON, SARAH G                 39468 VINNIE CT                                                                                CLINTON TWP        MI   48038‐4022
ALLISON, SCOTT S                 11484 HESPERIAN CIR                                                                            GOLD RIVER         CA   95670‐7655
ALLISON, SCOTT W                 939 GLEN ST                                                                                    JANESVILLE         WI   53545‐3170
ALLISON, SHARON                  2204 HICKORY RD                                                                                DANVILLE           IL   61834‐7037
ALLISON, SHERRY L.               5281 COBBLEGATE BLVD APT H                                                                     MORAINE            OH   45439‐6133
ALLISON, SHIRLEY R               5294 LAKEWOOD RD                                                                               RAVENNA            OH   44266‐8293
ALLISON, STEPHEN L               307 E WINTER AVE                                                                               DANVILLE           IL   61832‐1857
ALLISON, STEVEN E                900 JAMES PL                                                                                   DANVILLE           IL   61832‐3423
ALLISON, STEVEN L                400 N NORTH SHORE DR                                                                           LAKE ORION         MI   48362‐3063
ALLISON, STEVEN R                5578 NORTH ANDREA DRIVE                                                                        BLOOMINGTON        IN   47404‐8836
ALLISON, TERESA V                9401 HUBBARD RD                                                                                DAVISON            MI   48423
ALLISON, TERRY L                 1440 WELLESLEY ST                                                                              INKSTER            MI   48141‐1522
ALLISON, THOMAS A                14057 BRADY                                                                                    REDFORD            MI   48239‐2820
ALLISON, THOMAS A.               14057 BRADY                                                                                    REDFORD            MI   48239‐2820
ALLISON, THOMAS S                54 SOMERSET ST                                                                                 SWARTZ CREEK       MI   48473‐1150
ALLISON, TILDON J                21070 ANDOVER RD                                                                               SOUTHFIELD         MI   48076‐3189
ALLISON, TIM                     405 WOLFE RD                                                                                   ORTONVILLE         MI   48462‐8440
ALLISON, TIM E                   2201 TWIN PEAKS CT                                                                             SPRING HILL        TN   37174‐2338
ALLISON, TIMOTHY D               2614 TIFFIN AVE LOT 24                                                                         SANDUSKY           OH   44870
ALLISON, TIMOTHY D               921 HAYES AVE                                                                                  SANDUSKY           OH   44870‐3338
ALLISON, TONY E                  13287 W COUNTY ROAD 400 N                                                                      QUINCY             IN   47456‐9472
ALLISON, TRACEY R                714 VERONA RD                                                                                  DAYTON             OH   45417‐1235
ALLISON, VIRGIL L                6673 ARTHUR ST                                                                                 CHINO              CA   91710‐3814
ALLISON, WANDA M                 P.O. BOX # 6                                                                                   SWEETSER           IN   46987‐0006
ALLISON, WANDA M                 PO BOX 6                                                                                       SWEETSER           IN   46987‐0006
ALLISON, WILLIAM                 DEARIE & ASSOCS JOHN C           3265 JOHNSON AVE                                              RIVERDALE          NY   10463
ALLISON, WILLIAM C               4350 MADISON AVE APT 504                                                                       INDIANAPOLIS       IN   46227‐1575
ALLISON, WILLIAM D               3333 ANTIOCH CAMPGROUND RD                                                                     GAINESVILLE        GA   30506‐2211
ALLISON, WILLIAM F               2002 CANNIFF ST                                                                                FLINT              MI   48504‐5414
ALLISON, WILLIAM G               7625 BUCKWOOD DR                                                                               SMITHVILLE         MO   64089‐8596
ALLISON, WILLIAM J               7022 FREELAND DR                                                                               ELYRIA             OH   44035‐2076
ALLISON, WILLIS                  35182 DEARING DR                                                                               STERLING HTS       MI   48312‐3821
ALLISON,JOHN P                   8740 EMERALDGATE DR                                                                            HUBER HEIGHTS      OH   45424‐6405
ALLISON,ROBERT E                 757 ODIN CV                                                                                    EATON              OH   45320‐2528
ALLISON,TRACEY R                 714 VERONA RD                                                                                  DAYTON             OH   45417‐1235
ALLISON‐FISHER INTERNATIONAL L   3000 TOWN CTR STE 900                                                                          SOUTHFIELD         MI   48075‐1179
ALLISON/5902 DECA                PO BOX 894                       MAIL CODE 462‐470‐C01                                         INDIANAPOLIS       IN   46206‐0894
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Name                              Address1                    Address2               Address3         Address4               City          State   Zip
ALLISS, APRIL N                   6638 DICKEY RD                                                                             MIDDLETOWN     OH     45042
ALLISTER EDWARD GORDON TULK       MOTLEY RICE LLC             28 BRIDGESIDE BLVD     PO BOX 1792                             MT PLEASANT    SC     29465
ALLISTON, CYNTHIA M               16791 CENTRALIA                                                                            REDFORD        MI     48240‐2421
ALLISTON, MYRA F                  10075 GIBBS RD                                                                             CLARKSTON      MI     48348‐1513
ALLIYSA SHAW                      189 MEADOW RD NE                                                                           GLENNVILLE     GA     30427‐8826
ALLKOFER, LINDA J                 4133 UNION ST                                                                              NORTH CHILI    NY     14514‐9720
ALLLEGIS GROUP SERVICES INC       7301 PARKWAY DR                                                                            HANOVER        MD     21076‐1159
ALLMACH CNC INC                   3283 METAMORA RD                                                                           OXFORD         MI     48371‐1615
ALLMACH CNC INC                   DAVE ASCROFT                3283 METAMORA ROAD                                             HEBRON         KY     41048
ALLMACH CNC, INC.                 DAVE ASCROFT                3283 METAMORA ROAD                                             HEBRON         KY     41048
ALLMAN GRACE IMOGENE              C/O EDWARD O MOODY PA       801 WEST 4TH STREET                                            LITTLE ROCK    AZ     72201
ALLMAN GRACE IMOGENE (662736)     MOODY EDWARD O              801 W 4TH ST                                                   LITTLE ROCK    AR     72201‐2107
ALLMAN GRACE IMOGENE (662736) ‐   MOODY EDWARD O              801 W 4TH ST                                                   LITTLE ROCK    AR     72201‐2107
ADAMS CAROL BELL
ALLMAN GRACE IMOGENE (662736) ‐   MOODY EDWARD O              801 W 4TH ST                                                   LITTLE ROCK    AR     72201‐2107
BREWER PATRICIA KATSUMI
ALLMAN GRACE IMOGENE (662736) ‐   MOODY EDWARD O              801 W 4TH ST                                                   LITTLE ROCK    AR     72201‐2107
CALLOWAY CATHERINE T
ALLMAN GRACE IMOGENE (662736) ‐   MOODY EDWARD O              801 W 4TH ST                                                   LITTLE ROCK    AR     72201‐2107
CASTLEBERRY FANNIE R
ALLMAN GRACE IMOGENE (662736) ‐   MOODY EDWARD O              801 W 4TH ST                                                   LITTLE ROCK    AR     72201‐2107
CLARK FRANCES JEAN
ALLMAN GRACE IMOGENE (662736) ‐   MOODY EDWARD O              801 W 4TH ST                                                   LITTLE ROCK    AR     72201‐2107
CRUTCHER BARBARA R
ALLMAN GRACE IMOGENE (662736) ‐   MOODY EDWARD O              801 W 4TH ST                                                   LITTLE ROCK    AR     72201‐2107
DANIEL JAN DELAINE
ALLMAN GRACE IMOGENE (662736) ‐   MOODY EDWARD O              801 W 4TH ST                                                   LITTLE ROCK    AR     72201‐2107
DOUGLAS PEARLIE B
ALLMAN GRACE IMOGENE (662736) ‐   MOODY EDWARD O              801 W 4TH ST                                                   LITTLE ROCK    AR     72201‐2107
EDWARDS JEANNIE SUE
ALLMAN GRACE IMOGENE (662736) ‐   MOODY EDWARD O              801 W 4TH ST                                                   LITTLE ROCK    AR     72201‐2107
FARSEE MARVIN L
ALLMAN GRACE IMOGENE (662736) ‐   MOODY EDWARD O              801 W 4TH ST                                                   LITTLE ROCK    AR     72201‐2107
FREDRICK CHARMOS J
ALLMAN GRACE IMOGENE (662736) ‐   MOODY EDWARD O              801 W 4TH ST                                                   LITTLE ROCK    AR     72201‐2107
HATCHER EVANS SHERRY K
ALLMAN GRACE IMOGENE (662736) ‐   MOODY EDWARD O              801 W 4TH ST                                                   LITTLE ROCK    AR     72201‐2107
HOLDEN ELLA B
ALLMAN GRACE IMOGENE (662736) ‐   MOODY EDWARD O              801 W 4TH ST                                                   LITTLE ROCK    AR     72201‐2107
HOLLINSWORTH JEANNIE ATKINS
ALLMAN GRACE IMOGENE (662736) ‐   MOODY EDWARD O              801 W 4TH ST                                                   LITTLE ROCK    AR     72201‐2107
HOLMES BERTHA L
ALLMAN GRACE IMOGENE (662736) ‐   MOODY EDWARD O              801 W 4TH ST                                                   LITTLE ROCK    AR     72201‐2107
HOOD JAMES EDWARD
ALLMAN GRACE IMOGENE (662736) ‐   MOODY EDWARD O              801 W 4TH ST                                                   LITTLE ROCK    AR     72201‐2107
HUGHES AUDREY JEAN
ALLMAN GRACE IMOGENE (662736) ‐   MOODY EDWARD O              801 W 4TH ST                                                   LITTLE ROCK    AR     72201‐2107
HUNT PAMELA WEBB
ALLMAN GRACE IMOGENE (662736) ‐   MOODY EDWARD O              801 W 4TH ST                                                   LITTLE ROCK    AR     72201‐2107
JACKSON ALICE FAYE
ALLMAN GRACE IMOGENE (662736) ‐   MOODY EDWARD O              801 W 4TH ST                                                   LITTLE ROCK    AR     72201‐2107
JEFFERY CARNELL P
ALLMAN GRACE IMOGENE (662736) ‐   MOODY EDWARD O              801 W 4TH ST                                                   LITTLE ROCK    AR     72201‐2107
JOHNSON GAYLAN ANN
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Name                              Address1                        Address2               Address3         Address4               City           State Zip
ALLMAN GRACE IMOGENE (662736) ‐   MOODY EDWARD O                  801 W 4TH ST                                                   LITTLE ROCK     AR 72201‐2107
JOHNSON LINCOLN C
ALLMAN GRACE IMOGENE (662736) ‐   MOODY EDWARD O                  801 W 4TH ST                                                   LITTLE ROCK    AR   72201‐2107
JOHNSON TONNIE LAVON
ALLMAN GRACE IMOGENE (662736) ‐   MOODY EDWARD O                  801 W 4TH ST                                                   LITTLE ROCK    AR   72201‐2107
JONES DIANA O
ALLMAN KATHRYN                    10 GREEN SPRINGS CT                                                                            RENO           NV   89511‐8140
ALLMAN, ANNA F                    PO BOX 697                                                                                     JAMESTOWN      KY   42629‐0697
ALLMAN, ANNIE R                   PO BOX 641                                                                                     SULLIGENT      AL   35586‐0641
ALLMAN, BARBARA C                 2208 CHAMBERLIN AVE.                                                                           DAYTON         OH   45406‐2503
ALLMAN, BOBBIE E                  3960 HERON PT                                                                                  ALBANY         OH   45710
ALLMAN, CHAD M                    4009 PENNY ROYAL DR                                                                            KELLER         TX   76248‐6637
ALLMAN, DAVID L                   317 EVERGREEN CT                                                                               APOLLO         PA   15613‐1270
ALLMAN, DEBRA H                   17 SOUTH DR                                                                                    ANDERSON       IN   46013‐4141
ALLMAN, DENNIS K                  1352 BORG AVE                                                                                  TEMPERANCE     MI   48182‐9671
ALLMAN, DENNIS KEITH              1352 BORG AVE                                                                                  TEMPERANCE     MI   48182‐9671
ALLMAN, DIANE                     8489 SANDRA KAY DR                                                                             LAMBERTVILLE   MI   48144‐9635
ALLMAN, DOROTHY J                 4635 STRATFORD AVENUE                                                                          INDIANAPOLIS   IN   46201‐4719
ALLMAN, ELIZABETH P               4080 S COUNTY ROAD 1200 W                                                                      MEDORA         IN   47260‐9776
ALLMAN, ELIZABETH P               4080 S CO RD 1200 W                                                                            MEDORA         IN   47260‐9776
ALLMAN, EVELYN R                  669 RANDOLPH ST                                                                                DAYTON         OH   45408‐1203
ALLMAN, GRACE IMOGENE             MOODY EDWARD O                  801 W 4TH ST                                                   LITTLE ROCK    AR   72201‐2107
ALLMAN, GRACE R                   1471 LONG POND RD APT. 417                                                                     ROCHESTER      NY   14626‐4626
ALLMAN, GRANT D                   17565 NORMANDY RD                                                                              LAKE MILTON    OH   44429‐9703
ALLMAN, HANAMNS B                 10260 N LEWIS RD                                                                               CLIO           MI   48420‐7938
ALLMAN, HAROLD L                  12061 N LEWIS RD                                                                               CLIO           MI   48420‐7910
ALLMAN, JAMES                     1111 W WALNUT ST                                                                               KOKOMO         IN   46901‐4389
ALLMAN, JAMES C                   1807 W FAIRLAWN WAY                                                                            ANDERSON       IN   46011‐2646
ALLMAN, JAMES T                   5710 N 8TH ST                                                                                  KALAMAZOO      MI   49009‐8896
ALLMAN, JANET K                   3040 LUELLA LN                                                                                 SPRINGPORT     MI   49284‐9312
ALLMAN, JERRY C                   13192 N JENNINGS RD                                                                            CLIO           MI   48420‐8885
ALLMAN, JOHN D                    1040 SOUTH ST SE                                                                               WARREN         OH   44483‐5937
ALLMAN, JUDITH                    524 BUFFALO RUN DR                                                                             INDIANAPOLIS   IN   46227‐2864
ALLMAN, KEITH J                   5907 WILLIAM CONNER WAY                                                                        CARMEL         IN   46033‐8826
ALLMAN, LARRY R                   27 N SADLIER DR                                                                                INDIANAPOLIS   IN   46219‐5027
ALLMAN, LAWRENCE G                15 HAMPTON DR                                                                                  FREEHOLD       NJ   07728‐2743
ALLMAN, MICHAEL                   406 SHANDELL DR                                                                                BEDFORD        IN   47421‐9656
ALLMAN, NORMA J                   1111 W WALNUT ST                                                                               KOKOMO         IN   46901‐4389
ALLMAN, PHILLIP
ALLMAN, RICHARD E                 17 SOUTH DR                                                                                    ANDERSON       IN   46013‐4141
ALLMAN, RICHARD L                 3950 W MICHIGAN ST                                                                             INDIANAPOLIS   IN   46222‐3226
ALLMAN, ROBERT E                  3040 LUELLA LN                                                                                 SPRINGPORT     MI   49284‐9312
ALLMAN, RONALD D                  PO BOX 22                                                                                      MOORESVILLE    IN   46158‐0022
ALLMAN, RONALD E                  3884 BEEMAN RD                                                                                 WILLIAMSTON    MI   48895‐9351
ALLMAN, RUSSELL W                 2575 N WILLIAMSTON RD                                                                          WILLIAMSTON    MI   48895‐9529
ALLMAN, SHIRLEY A                 33 ROAD 2929                                                                                   AZTEC          NM   87410‐2813
ALLMAN, TERRY L                   8224 N GENESEE RD                                                                              MOUNT MORRIS   MI   48458
ALLMAN, WAYNE D                   8347 CAPPY LN                                                                                  SWARTZ CREEK   MI   48473‐1201
ALLMAND, BETTY J                  11223 GERMANY RD                                                                               FENTON         MI   48430‐9467
ALLMAND, CHRISTOPHER D            302 N MANOR DR                                                                                 WILLIAMSPORT   IN   47993‐1011
ALLMAND, GRAYDON G                8255 DWYER RD                                                                                  HOWELL         MI   48855‐8049
ALLMAND, JOEL D                   7912 BEARD RD                                                                                  BYRON          MI   48418‐9728
ALLMAND, JOEL DOUGLAS             7912 BEARD RD                                                                                  BYRON          MI   48418‐9728
ALLMAND, PAUL D                   11223 GERMANY RD                                                                               FENTON         MI   48430‐9467
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Name                              Address1                             Address2                     Address3   Address4                  City               State   Zip
ALLMAND, PIERSON R                11088 FAUSSETT RD                                                                                      FENTON              MI     48430‐9447
ALLMAND, RICHARD P                7482 LEHRING RD                                                                                        BANCROFT            MI     48414‐9414
ALLMAND, RICHARD PAUL             7482 LEHRING RD                                                                                        BANCROFT            MI     48414‐9414
ALLMEN, CAROL L                   850 BUCKHORN DR                                                                                        LAKE ORION          MI     48362‐2824
ALLMEN, CAROL L.                  850 BUCKHORN DR                                                                                        LAKE ORION          MI     48362‐2824
ALLMENDINGER, DENNIS A            51129 UNION ST                                                                                         BELLEVILLE          MI     48111‐4426
ALLMENDINGER, DENNIS AUSTIN       51129 UNION ST                                                                                         BELLEVILLE          MI     48111‐4426
ALLMET/ROYAL OAK                  4527 DELEMERE BLVD                                                                                     ROYAL OAK           MI     48073‐1775
ALLMON, DOUGLAS R                 913 NW 41ST ST                                                                                         BLUE SPRINGS        MO     64015‐2515
ALLMON, GERALDINE                 2617 WELSHCREST DR                                                                                     ANTIOCH             TN     37013‐1921
ALLMON, GLEMON                    2326 BASSETT PL                                                                                        FLINT               MI     48504‐7113
ALLMON, JOHN D                    730 COLEMAN HILL RD                                                                                    ROCKVALE            TN     37153‐4405
ALLMON, JOHN D                    9406 TREASURE LANE NORTHEAST                                                                           ST PETERSBURG       FL     33702‐2667
ALLMON, LEONARD E                 4452 E HILL RD                                                                                         GRAND BLANC         MI     48439‐7635
ALLMON, LINDA M                   760 STONE HARBOR PKWY SW                                                                               MARIETTA            GA     30060‐6255
ALLMON, PRISCILLA A               4452 E HILL RD                                                                                         GRAND BLANC         MI     48439‐7635
ALLMON, ROBIN M                   406 MORGAN ST                                                                                          TONAWANDA           NY     14150‐1943
ALLMOND CHRIS                     44422 APPLE BLOSSOM DRIVE                                                                              STERLING HTS        MI     48314‐1030
ALLMOND FRANCIS SR (ESTATE OF)    ANGELOS PETER G LAW OFFICES OF       100 N CHARLES STREET , ONE                                        BALTIMORE           MD     21202
(461618)                                                               CHARLES CENTER 22ND FLOOR
ALLMOND, AL‐NISA C                917 MCLAIN ST                                                                                          ELIZABETH          NJ      07202‐3314
ALLMOND, CHRISTOPHER L            44422 APPLE BLOSSOM DR                                                                                 STERLING HEIGHTS   MI      48314‐1030
ALLMOND, DAVID F                  7439 PONDEROSA DR                                                                                      SWARTZ CREEK       MI      48473
ALLMOND, FRANCIS                  ANGELOS PETER G LAW OFFICES OF       100 N CHARLES STREET, ONE                                         BALTIMORE          MD      21202
                                                                       CHARLES CENTER 22ND FLOOR
ALLMOND, KATHERINE G              PO BOX 4038                                                                                            COLUMBUS           GA      31914‐0038
ALLMOND, LOYCE M                  162 ROCKING CHAIR RANCH LN.          C/O NEESA ALLMOND                                                 ALMA               GA      31510‐6244
ALLMOND, ORA D                    70 FRIENDSHIP LANE                                                                                     HAZARD             KY      41701‐7829
ALLMOND, TROY                     23 DOUBLE D DR                                                                                         FLAT ROCK          NC      28731‐6716
ALLMOND, VICKIE L                 3939 TIMBERWOLF DR                                                                                     TRAVERSE CITY      MI      49684‐9004
ALLMYER, BETTY S                  8200 EASTLAWN DRIVE                                                                                    FRANKLIN           OH      45005‐1922
ALLNUTT, PAUL A                   3867 NW 85TH TER APT H                                                                                 KANSAS CITY        MO      64154
ALLOCCO, ANGELA M                 1436 SHOECRAFT RD                                                                                      PENFIELD           NY      14526‐9709
ALLOCCO, CATHERINE M              4526 SUMMIT PARKWAY                                                                                    CANANDAIGUA        NY      14424‐9631
ALLOCCO, CATHERINE M              4526 SUMMIT PKWY                                                                                       CANANDAIGUA        NY      14424‐9631
ALLOCCO, JAMES A                  PO BOX 160                                                                                             ORIENTAL           NC      28571‐0160
ALLOCCO, MICHAEL A                420 ROSEWOOD LN                                                                                        HARRISBURG         PA      17111‐2066
ALLOGGIO TADDEO FRANCO ‐ ARTESI   ALLOGGIO STEFANO LEANDRO             VIA MONGIOCE 14/40                      10098 RIVOLI (TO) ITALY
MARIANGELA
ALLOMATIC PRODUCTS CO             609 E CHANEY ST                                                                                        SULLIVAN            IN     47882‐7452
ALLON DUCKETT                     7452 LINWOOD ST                                                                                        DETROIT             MI     48206‐2903
ALLONZO PAIGE                     179 TROUP ST                                                                                           ROCHESTER           NY     14608
ALLOO, RICHARD P                  2304 OLD HICKORY LN                                                                                    LEXINGTON           KY     40515‐1278
ALLOR MANUFACTURING INC           ATTN: CORPORATE OFFICER/AUTHORIZED   PO BOX 1540                                                       BRIGHTON            MI     48116‐5340
                                  AGENT
ALLOR MANUFACTURING INC           12534 EMERSON DR                     PO BOX 1540                                                       BRIGHTON            MI     48116‐8343
ALLOR MANUFACTURING INC           PO BOX 1540                                                                                            BRIGHTON            MI     48116‐5340
ALLOR, THOMAS H                   5946 ALAN DR APT 41                                                                                    BRIGHTON            MI     48116‐8349
ALLORA OPPENNEER                  5761 SKYWAY DR NE                                                                                      COMSTOCK PARK       MI     49321‐9503
ALLORE JR, LIONEL P               24728 CURRIER ST                                                                                       DEARBORN HTS        MI     48125‐1826
ALLORE, BEVERLY                   34299 32 MILE RD                                                                                       RICHMOND            MI     48062‐5343
ALLORE, CARL G                    PO BOX 261                                                                                             HAMBURG             MI     48139‐0261
ALLORE, CHRISTINE M               421 MELROSE LN                                                                                         MOUNT MORRIS        MI     48458‐8944
ALLORE, DAVID J                   2202 S OLIVEWOOD                                                                                       MESA                AZ     85209‐1359
                                      09-50026-mg             Doc 7123-3    Filed 09/24/10 Entered 09/24/10 15:05:32                             Exhibit B
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Name                                  Address1                         Address2                      Address3                    Address4                    City               State   Zip
ALLORE, DEAN E                        67 SCOVELL ST                                                                                                          LOCKPORT            NY     14094‐2313
ALLORE, DEBORAH A                     38572 CHESTNUT LN                                                                                                      WESTLAND            MI     48185‐7612
ALLORE, DEBORAH ANN                   38572 CHESTNUT LN                                                                                                      WESTLAND            MI     48185‐7612
ALLORE, DICK D                        8100 BROOKFIELD CT                                                                                                     SAGINAW             MI     48609‐9534
ALLORE, JERRY A                       2717 W ROBIN DR                                                                                                        SAGINAW             MI     48601‐9208
ALLORE, JOHN A                        3946 KRISTI WAY                                                                                                        GREENWOOD           IN     46142‐8503
ALLORE, JOHN ARTHUR                   3946 KRISTI WAY                                                                                                        GREENWOOD           IN     46142‐8503
ALLORE, SHIRLEY J                     3946 KRISTI WAY                                                                                                        GREENWOOD           IN     46142‐8503
ALLORE, THOMAS A                      2009 KIBBY RD                                                                                                          JACKSON             MI     49203‐3832
ALLOTTA EDWARD J (406449)             WILENTZ GOLDMAN & SPITZER        88 PINE STREET , WALL STREET                                                          NEW YORK            NY     10005
ALLOTTA, EDWARD                       WILENTZ GOLDMAN & SPITZER        88 PINE STREET, WALL STREET PLAZA                                                     NEW YORK            NY     10005
ALLOTTA, EDWARD J                     LYNNE KIZIS, ESQ                 WILENTZ, GOLDMAN, AND SPITZER 90 WOODBRIDGE CENTER                                    WOODBRIDGE          NJ     07095
                                                                                                         DRIVE
ALLOUNE, KATHLEEN E                   15725 W 61ST ST                                                                                                        SHAWNEE            KS      66217
ALLOUSH, WALID S                      47302 DOVE CT                                                                                                          SHELBY TOWNSHIP    MI      48315‐4834
ALLOUSH, WALY J                       47302 DOVE CT                                                                                                          SHELBY TWP         MI      48315‐4834
ALLOVER MEDIA                         JAKE JOHNSON                     6901 E FISH LAKE RD STE 180                                                           MAPLE GROVE        MN      55369‐5457
ALLOWAY, DAVID E                      UNIT 202                         103 WATER FOUNTAIN WAY                                                                GLEN BURNIE        MD      21060‐2326
ALLOWAY, DEBORAH A                    16860 OAKFIELD ST                                                                                                      DETROIT            MI      48235‐3329
ALLOWAY, EARL J                       PAUL REICH & MYERS PC            1608 WALNUT ST STE 500                                                                PHILADELPHIA       PA      19103‐5446
ALLOWAY, JAMES A                      1489 RONNIE ST                                                                                                         FLINT              MI      48507‐5543
ALLOWAY, JAMES R                      354 MIRANDA CT                                                                                                         MARTINSBURG        WV      25403‐0866
ALLOWAY, JOAN M                       413 GRAND ST                                                                                                           TRENTON            NJ      08611‐2607
ALLOWAY, JOHN W                       5751 REEDLAND ST                                                                                                       PHILADELPHIA       PA      19143‐6131
ALLOWAY, MELISSA
ALLOWAY, MICHAEL P                    711 HURON ST                                                                                                           FLINT              MI      48507‐2550
ALLOY ENGINEERING & CASTING CO        1700 W WASHINGTON ST                                                                                                   CHAMPAIGN          IL      61821‐2412
ALLOY ENGINEERING & CASTING CO        8641 WASHINGTON CHURCH RD                                                                                              MIAMISBURG         OH      45342‐4470
ALLOY ENGR/CHAMPAIGN                  PO BOX 9066                                                                                                            CHAMPAIGN          IL      61826‐9066
ALLOY IND/NOVI                        42400 W 9 MILE RD                                                                                                      NOVI               MI      48375‐4104
ALLOY MEDIA & MARKETING               2990 LINGLESTOWN RD                                                                                                    HARRISBURG         PA      17110
ALLOY TOOL STEEL                      13525 FREEWAY DR                                                                                                       SANTA FE SPRINGS   CA      90670‐5633
ALLOY WHEEL/GRANDVIL                  3131 BROADWAY AVE SW                                                                                                   GRANDVILLE         MI      49418‐1567
ALLOY WHEELS INTERNATIONAL OC         PRIORY RD                        STROOD ROCHESTER KENT                                     GREAT BRITAIN
ALLOY WHEELS INTL SA PTY              WAYNE MCINTOSH                   AWI                           11 KOHLER RD PERSEVERANCE                               HOMER               MI     49245

ALLOY, ROSEMARY                       922 LINDEN LN                                                                                                          TOLEDO             OH      43615‐7722
ALLPHIN E MICHAEL                     41 STILLWELL DR                                                                                                        RIVERSIDE          OH      45431‐1353
ALLPHIN MICHAEL                       41 STILLWELL DR                                                                                                        DAYTON             OH      45431‐1353
ALLPHIN, MARK                         800 ACADEMY LN APT G11                                                                                                 COLUMBIA           TN      38401‐4834
ALLPORT, EDNA M                       330 W OAK ORCHARD ST                                                                                                   MEDINA             NY      14103‐1550
ALLPORT, LORI                         1445 STONEY POINT WAY                                                                                                  BALTIMORE          MD      21226‐2160
ALLPORT, MARJORY A                    4308 SIOUX CT                                                                                                          ST. CLOUD          FL      34772
ALLPORT, OLIVE D                      4330 CALEDONIA WAY                                                                                                     LOS ANGELES        CA      90065‐4814
ALLPORT, PHYLLIS M                    3695 HORAN RD                                                                                                          MEDINA             NY      14103‐9428
ALLREAD N, ALICE J                    519 WASHINGTON AVE                                                                                                     GREENVILLE         OH      45331
ALLREAD, EVELYN M                     125 W. MAIN ST.                                                                                                        NEW LEBANON        OH      45345‐5345
ALLREAD, EVELYN M                     125 W MAIN ST                                                                                                          NEW LEBANON        OH      45345‐1419
ALLREAD, MILDRED                      4770 ASTON GARDENS WAY APT 107                                                                                         NAPLES             FL      34109‐3589
ALLREAD, RAY J                        124 HIAWATHA DR                                                                                                        GREENVILLE         OH      45331‐2818
ALLREAD, RICHARD E                    231 HAYES ST                                                                                                           WEST MILTON        OH      45383‐1702
ALLRED MERLYN W (309990)              BARON & BUDD                     3102 OAK LAWN AVE STE 1100                                                            DALLAS             TX      75219‐4283
ALLRED MERLYN W (309990) ‐ FRIERSON   BARON & BUDD                     3102 OAK LAWN AVE STE 1100                                                            DALLAS             TX      75219‐4283
MARTIN LUKE
                                    09-50026-mg             Doc 7123-3    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit B
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Name                                Address1                        Address2                     Address3   Address4               City               State Zip
ALLRED MERLYN W (309990) ‐ LAMKEY   BARON & BUDD                    3102 OAK LAWN AVE STE 1100                                     DALLAS              TX 75219‐4283
MELVIN H
ALLRED, CLYDE                       PORTER & MALOUF PA              4670 MCWILLIE DR                                               JACKSON            MS   39206‐5621
ALLRED, DANIEL L                    509 SANDPIPER LN                                                                               STONEWALL          LA   71078‐2815
ALLRED, DARNELL L                   419 MELROSE LN                                                                                 MOUNT MORRIS       MI   48458‐8944
ALLRED, DARNELL L                   419 MELROSE LANE                                                                               MT. MORRIS         MI   48458‐8944
ALLRED, DAVID T                     1487 BOLDO RD                                                                                  JASPER             AL   35504‐6328
ALLRED, DONALD J                    34480 FOUNTAIN BLVD                                                                            WESTLAND           MI   48185‐1420
ALLRED, EMMETT T                    16654 SUGAR LOOP                                                                               FOLEY              AL   36535‐8630
ALLRED, GAIL
ALLRED, GLENN                       2635 MARTIN MILL RD                                                                            NEWNAN             GA   30263‐5206
ALLRED, GLORIA J                    3971 CAPITAL AVE, S.W. #21                                                                     BATTLE CREEK       MI   49015‐8401
ALLRED, HAROLD L                    413 N FRANCIS AVE                                                                              EXETER             CA   93221‐1068
ALLRED, HELEN M                     7845 LA MONA CIR                                                                               BUENA PARK         CA   90620‐2334
ALLRED, IRIS                        108 MOUNDVIEW CT                                                                               NICHOLASVILLE      KY   40356‐2645
ALLRED, JACK C                      3819 BARBARA DR                                                                                STERLING HEIGHTS   MI   48310‐6107
ALLRED, JAMES D                     PO BOX 917                                                                                     PINCKNEY           MI   48169‐0917
ALLRED, JAMES D                     PO BOX 7173                                                                                    WOODBRIDGE         VA   22195‐7173
ALLRED, JAMES D                     25 TAMBOURINE LN                                                                               DECATUR            AL   35603‐3722
ALLRED, JAMES R                     PO BOX 74                                                                                      ZANESVILLE         IN   46799‐0074
ALLRED, JAMES ROGER                 PO BOX 74                                                                                      ZANESVILLE         IN   46799‐0074
ALLRED, JAMES T                     7346 E ATHERTON RD                                                                             DAVISON            MI   48423‐2408
ALLRED, JANICE K                    308 WEST 1ST ST                 APT D                                                          LIVINGSTON         TN   38570
ALLRED, JERRY L                     PO BOX 361                                                                                     CRESTLINE          OH   44827‐0361
ALLRED, JERRY R                     2405 HEATHER DR                                                                                BOWLING GREEN      KY   42104‐4537
ALLRED, JOHN E                      4620 SE 49TH ST                                                                                OKLAHOMA CITY      OK   73135‐3222
ALLRED, JOHN ED                     4620 SE 49TH ST                                                                                OKLAHOMA CITY      OK   73135‐3222
ALLRED, JULIETTE S                  3385 SAINT JAMES RD                                                                            LEXINGTON          OH   44904‐9507
ALLRED, MARGARET                    810 WEST CLEVELAND                                                                             MALDEN             MO   63863‐1819
ALLRED, MARGARET                    810 W CLEVELAND ST                                                                             MALDEN             MO   63863‐1819
ALLRED, MERLYN W                    BARON & BUDD                    THE CENTRUM, 3102 OAK LAWN                                     DALLAS             TX   75219
                                                                    AVE, STE 1100
ALLRED, NINA E                      1984 SW BOGUE CHITTO RD                                                                        SMITHDALE          MS   39664‐7413
ALLRED, RICKY D                     6234 ROBERTA ST                                                                                BURTON             MI   48509‐2434
ALLRED, ROBERT G                    1013 COUNTY ROAD 60                                                                            MYRTLE             MS   38650‐9515
ALLRED, ROBERT H                    PO BOX 307                                                                                     CRESTLINE          OH   44827‐0307
ALLRED, RONALD                      CATHCART AND DOOLEY             2807 N CLASSEN BLVD                                            OKLAHOMA CITY      OK   73106‐5419
ALLRED, RONALD D                    19675 E FRANKLIN RD                                                                            NEWALLA            OK   74857‐9199
ALLRED, RONALD D                    19675 EAST FRANKLIN ROAD                                                                       NEWALLA            OK   74857‐9199
ALLRED, SANDRA                      1840 PERSHING BLVD                                                                             DAYTON             OH   45420‐5420
ALLRED, STANLEY E                   13701 SE 31ST ST                                                                               CHOCTAW            OK   73020‐6157
ALLRED, WILLARD C                   5963 E US RD 35                                                                                LOSANTVILLE        IN   47354
ALLRED, WILLIAM C                   1840 PERSHING BLVD                                                                             DAYTON             OH   45420‐2427
ALLRED, YVONNE                      1002 COUNTRY RD 258                                                                            MYRTLE             MS   38650
ALLRIDGE, KATHRYN M                 4041 BLEIGH AVE                                                                                PHILADELPHIA       PA   19136‐3910
ALLS, MABEL L                       5144 ROLLING HILLS DR           C/O NORMA J MCINTOSH                                           GRAND BLANC        MI   48439‐9046
ALLSBROOKS, DONNA                   11255 ALLEN RD APT 901                                                                         SOUTHGATE          MI   48195‐2876
ALLSBROOKS, DONNA                   11255 ALLEN ROAD #901                                                                          SOUTHGATE          MI   48195‐2876
ALLSBROOKS, MARILAN T               PO BOX 70                                                                                      VANLEER            TN   37181‐0070
ALLSCHWAGER, LAUREN D               312 N 84TH PL                                                                                  MESA               AZ   85207‐7703
ALLSCHWAGER, MERRILL C              3850 TAIGA DR                                                                                  ANCHORAGE          AK   99516‐2858
ALLSHOUSE, BRIAN W                  PO BOX 88                       939 MAIN ST.                                                   COALPORT           PA   16627‐0088
ALLSHOUSE, MARY                     3030 CLINTON ST, ROM 208                                                                       WEST SENECA        NY   14224
ALLSHOUSE, MARY A                   54 PARKSIDE CIRCLE                                                                             BUFFALO            NY   14227‐2358
                                      09-50026-mg              Doc 7123-3    Filed 09/24/10 Entered 09/24/10 15:05:32                            Exhibit B
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Name                                Address1                            Address2                           Address3                   Address4               City               State   Zip
ALLSOP JAMES E (459681)             DUFFY & ASSOCS JOHN J               23823 LORAIN RD                                                                      NORTH OLMSTED       OH     44070
ALLSOP, LOU JUDD                    1001 LAMB RD                                                                                                             ZILLAH              WA     98953
ALLSOP/BELLINGHAM                   4201 MERIDIAN                                                                                                            BELLINGHAM          WA     98226
ALLSOPP, MARTIN E                   216 OKINAWA DR                                                                                                           NEW CASTLE          PA     16105‐1631
ALLSOUTH ENVIRONMENTAL SERVICES INC 3140 ELLENWOOD INDUSTRIAL DR                                                                                             ELLENWOOD           GA     30294‐3550

ALLSPRAY                            PO BOX 345                          7024 COUNTY RD 1‐3                                                                   SWANTON            OH      43558‐0345
ALLSTAR AUTOMOTIVE LLC              ATTN: CHRISTOPHER FREITAS           320 S FORD BLVD                                                                      YPSILANTI          MI      48198‐6067
ALLSTAR CHEVROLET OLDSMOBILE CADILL 2202 ROUTE 50 S                                                                                                          SARATOGA SPRINGS   NY      12866‐4756

ALLSTAR CHEVROLET OLDSMOBILE          2202 ROUTE 50 S                                                                                                        SARATOGA SPRINGS    NY     12866‐4756
CADILLAC
ALLSTAR MOTOR CAR CORP.               JAMES MORRELL                     2202 ROUTE 50 S                                                                      SARATOGA SPRINGS    NY     12866‐4756

ALLSTAR MOTORS
ALLSTAR SERVICE CENTER                329 E CENTRAL ENTRANCE                                                                                                 DULUTH             MN      55811‐5513
ALLSTATE ‐ SIGNATURE MOTOR CLUB, INC. 200 N MARTINGALE RD                                                                                                    SCHAUMBURG         IL      60173‐2040

ALLSTATE AIR FILTER CO                1941 WARREN ST                                                                                                         KANSAS CITY        MO      64116‐4435
ALLSTATE ASSIGNMENT COMPANY           3100 SANDERS ROAD STE M3B                                                                                              NORTHBROOK         IL      60062
ALLSTATE FINANCIAL CORP               130 MOONACHIE AVE                                                                                                      CARLSTADT          NJ      07072
ALLSTATE FINANCIAL CORPORATION        ASSIGN R‐W SERVICE SYSTEM INC     PO BOX 5482                                                                          INDIANAPOLIS       IN      46255‐5482
ALLSTATE HINGE & HARDWARE CO          16535 PLYMOUTH RD                                                                                                      DETROIT            MI      48227‐1034
ALLSTATE IND/ECORSE                   PO BOX 29067                      4534 WEBSTER                                                                         ECORSE             MI      48229‐0067
ALLSTATE INDEMNITY COMPANY            KEIS GEORGE LLP                   55 PUBLIC SQ STE 800                                                                 CLEVELAND          OH      44113‐1909
ALLSTATE INDEMNITY COMPANY            UHLINGER KEIS & GEORGE            55 PUBLIC SQ STE 800                                                                 CLEVELAND          OH      44113‐1909
ALLSTATE INS CO                       120273305                         ATTN MICHELLE R KLUBA              1001 W SOUTHER AVE # 202                          MESA               AZ      85210
ALLSTATE INSURANCE                    PO BOX 227257                                                                                                          DALLAS             TX      75222‐7257
ALLSTATE INSURANCE CLAIM 0130266596   ATTN JESSICA RODRIGUEZ            PO BOX 21169                                                                         ROANOKE            VA      24018

ALLSTATE INSURANCE CO                 HOFFMAN SIEGEL SEYDEL BIENVENU    650 POYDRAS ST                                                                       NEW ORLEANS         LA     70130
                                      CENTOLA & CORDES
ALLSTATE INSURANCE CO                 ATTN: LYNETTE WOMACK              2291 VILLAGE PARK CT                                                                 ONTARIO            OH      44906‐1167
ALLSTATE INSURANCE CO                 ATTN: EMANUEL SHERMAN             3011 W GRAND BLVD # 217                                                              DETROIT            MI      48202‐3042
ALLSTATE INSURANCE CO                 1360 S LINDEN RD                                                                                                       FLINT              MI      48532‐4185
ALLSTATE INSURANCE COMPANY            MCLENNON & MCFADDEN LTD           100 N LA SALLE ST STE 1520                                                           CHICAGO            IL      60602‐3532
ALLSTATE INSURANCE COMPANY            PARNELL RONALD W                  PO BOX 81085                                                                         CONYERS            GA      30013‐9085
ALLSTATE INSURANCE COMPANY            KREINER & PETERS CO               6047 FRANTZ RD STE 203                                                               DUBLIN             OH      43017‐3366
ALLSTATE INSURANCE COMPANY            TAYLOR LISA A LAW OFFICE OF       7473 W LAKE MEAD BLVD # 100                                                          LAS VEGAS          NV      89128‐0265
ALLSTATE INSURANCE COMPANY            CRAWFORD STEWART C & ASSOCIATES   223 N MONROE ST                                                                      MEDIA              PA      19063‐3019
                                      LAW OFFICE OF
ALLSTATE INSURANCE COMPANY            DENNY F OTWAY III                 110 VETERANS MEMORIAL BLVD STE                                                       METAIRIE            LA     70005‐4921
                                                                        460
ALLSTATE INSURANCE COMPANY            GRAY & PROUTY                     3170 4TH AVE FL 3                                                                    SAN DIEGO          CA      92103‐5850
ALLSTATE INSURANCE COMPANY            RE: STEVEN BOLKART                PO BOX 187                                                                           MINNEAPOLIS        MN      55440‐0187
ALLSTATE INSURANCE COMPANY            AARON & QUIRK LAW OFFICES OF      901 NE LOOP 410 STE 903                                                              SAN ANTONIO        TX      78209‐1310
ALLSTATE INSURANCE COMPANY            BROOKS LAW OFFICE                 8729 FAIRVIEW RD STE E                                                               CHARLOTTE          NC      28210‐0127
ALLSTATE INSURANCE COMPANY            GREEN MITCHELL ELLIS              PO BOX 428                                                                           HOLLYWOOD          CA      90078‐0428
ALLSTATE INSURANCE COMPANY            LETT MARSHALL I                   28280 FRANKLIN RD                                                                    SOUTHFIELD         MI      48034‐1659
ALLSTATE INSURANCE COMPANY            HASTEN & HANSEN                   1101A N LITTLE SCHOOL ROAD                                                           ARLINGTON          TX      76017
ALLSTATE INSURANCE COMPANY            SHAPERO MCGINNIS GREEN TATER &    25101 CHAGRIN BLVD ‐ SUITE 220 ‐                                                     CLEVELAND          OH      44122
                                      MICHEL                            SIGNATURE SQUARE II
ALLSTATE INSURANCE COMPANY            LOCKLEY RONALD LAW OFFICES OF     2421 SHERRIE LN SW                                                                   CONYERS             GA     30094‐5540
ALLSTATE INSURANCE COMPANY            FORRESTER & DICK                  4981 BLUEBONNET BLVD                                                                 BATON ROUGE         LA     70809‐3086
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Name                               Address1                              Address2                         Address3                    Address4               City            State   Zip
ALLSTATE INSURANCE COMPANY         EMERSON & MANKE, LLP                  302 E CARSON AVE STE 402                                                            LAS VEGAS        NV     89101‐5911
ALLSTATE INSURANCE COMPANY         COLE CHARLES LAW OFFICE OF            406 CUSHMAN ST                                                                      FAIRBANKS        AK     99701‐4632
ALLSTATE INSURANCE COMPANY         COZEN OCONNOR                         1201 3RD AVE STE 5200                                                               SEATTLE          WA     98101‐3041
ALLSTATE INSURANCE COMPANY         ARMSTRONG BRUCE T LAW OFFICE OF       PO BOX 1397                                                                         CRYSTAL LAKE      IL    60039‐1397
ALLSTATE INSURANCE COMPANY         MILLER FAIGNANT & BEHRENS, P.C.       PO BOX 6688                                                                         RUTLAND          VT     05702‐6688
ALLSTATE INSURANCE COMPANY         FRATUS CHARLES J                      116 CATHEDRAL STREET ‐ SUITE 3                                                      ANNAPOLIS        MD     21401
ALLSTATE INSURANCE COMPANY
ALLSTATE INSURANCE COMPANY         RUDDELL J PRESTON LAW OFFICES OF      PO BOX 369                                                                          SOUTH            CT     06073‐0369
                                                                                                                                                             GLASTONBURY
ALLSTATE INSURANCE COMPANY         CIANCI DONALD P                       PO BOX 210                                                                          COLUMBIA         CT     06237‐0210
ALLSTATE INSURANCE COMPANY         CRAWFORD STEWART C LAW OFFICES OF     PO BOX E                         223 N MONROE ST,                                   MEDIA            PA     19063‐3019

ALLSTATE INSURANCE COMPANY         UHLINGER KEIS & GEORGE                55 PUBLIC SQ STE 800                                                                CLEVELAND       OH      44113‐1909
ALLSTATE INSURANCE COMPANY         DENNY F OTWAY III                     5333 RIVER RD STE E                                                                 NEW ORLEANS     LA      70123‐5252
ALLSTATE INSURANCE COMPANY         COZEN OCONNOR ATTORNEY                ONE HOUSTON CENTER 1221                                                             HOUSTON         TX      77010
                                                                         MCKINNEY STREET SUITE 2900
ALLSTATE INSURANCE COMPANY         CLARK & DISTEFANO PC                  1500 MEETING HOUSE ROAD                                                             SEA GIRT         NJ     08750
ALLSTATE INSURANCE COMPANY         ATTN THOMAS W PALECEK                 GRAY AND PROUTY                  3170 FOURTH AVE 3RD FLOOR                          SAN DIEGO        CA     92103

ALLSTATE INSURANCE COMPANY         C/O MORSE AND ASSOCIATES PC             2300 CONTRA COSTA BLVD SUITE                                                      PLEASANT HILL   CA      94523
ALLSTATE INSURANCE COMPANY         C/O YOST & BAILL LLP                    2050 US BANK PLAZA SOUTH 220                                                      MINNEAPOLIS     MN      55402
                                                                           SOUTH 6TH ST
ALLSTATE INSURANCE COMPANY         ATTN: VICKIE SHOWALTER                  PO BOX 29500                                                                      ROANOKE          VA     24018
ALLSTATE INSURANCE COMPANY         GRAY & PROUTY C/O THOMAS W PALECEK, 3170 FOURTH AVENUE, THIRD                                                             SAN DIEGO        CA     92103
                                   ESQ                                     FLOOR
ALLSTATE INSURANCE COMPANY         CLAIM 0130648850 MCCARTHY               ATTN: DAVID LAUGHLIN           PO BOX 29500                                       ROANOKE          VA     24018
ALLSTATE INSURANCE COMPANY         CLAIM 012 7203040 LAUER                 ATTN DAVID LAUGHLIN            PO BOX 29500                                       ROANOKE          VA     24018
ALLSTATE INSURANCE COMPANY         CLAIM 0124482837 KIRCHNER               ATTN: DAVID LAUGHLIN           PO BOX 29500                                       ROANOKE          VA     24018
ALLSTATE INSURANCE COMPANY         CLAIM 5560130428 KRNICH                 ATTN: DAVID LAUGHLIN           PO BOX 29500                                       ROANOKE          VA     24018
ALLSTATE INSURANCE COMPANY         F. OTWAY DENNY III, LLC (REPRESENTATIVE 110 VETERANS BLVD. , #460                                                         METAIRIE         LA     70005
                                   OF ALLSTATE INS. CO.)

ALLSTATE INSURANCE COMPANY CLAIM   ALLSTATE INSURANCE COMPANY            ATTN DAVID LAUGHLIN              PO BOX 29500                                       ROANOKE          VA     24018
#0139504731 ROBERT MAURER
ALLSTATE INSURANCE COMPANY         ATTN DAVID LAUGHLIN                   PO BOX 29500                                                                        ROANOKE          VA     24018
0121387112 SYLVESTER
ALLSTATE INSURANCE COMPANY         ATTN DAVID LAUGHLIN                   PO BOX 29500                                                                        ROANOKE          VA     24018
0126164151
ALLSTATE INSURANCE COMPANY         ATTN DAVID LAUGHLIN                   PO BOX 29500                                                                        ROANOKE          VA     24018
0126924752
ALLSTATE INSURANCE COMPANY         VICKIE SHOWALTER                      PO BOX 29500                                                                        ROANOKE          VA     24018
0127173994 ‐ JAMES
ALLSTATE INSURANCE COMPANY         ATTN VICKIE SHOWALTER                 PO BOX 29500                                                                        ROANOKE          VA     24018
0134057199‐BURTON
ALLSTATE INSURANCE COMPANY         ATTN VICKIE SHOWALTER                 PO BOX 29500                                                                        ROANOKE          VA     24018
0135124253 ‐ BROWN
ALLSTATE INSURANCE COMPANY         ATTN VICKIE SHOWALTER                 PO BOX 29500                                                                        ROANOKE          VA     24018
0136276862
ALLSTATE INSURANCE COMPANY         ATTN VICKIE SHOWALTER                 PO BOX 29500                                                                        ROANOKE          VA     24018
0138547450 ‐ NORMAN
ALLSTATE INSURANCE COMPANY         PO BOX 29500                                                                                                              ROANOKE          VA     24018
0140403510‐GIACINTI
ALLSTATE INSURANCE COMPANY         VICKIE SHOWALTER                      PO BOX 29500                                                                        ROANOKE          VA     24018
1468104151 LETRICK
                                      09-50026-mg             Doc 7123-3    Filed 09/24/10 Entered 09/24/10 15:05:32                         Exhibit B
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Name                                  Address1                         Address2                        Address3                  Address4                City               State Zip
ALLSTATE INSURANCE COMPANY A/S/O      C/O LAW OFFICE OF RW PARNELL     PO BOX 81055                                                                      CONYERS             GA 30013
ANUFRIEV CONSTANTINE (#234‐0122)

ALLSTATE INSURANCE COMPANY A/S/O      C/O THOMAS J LUZ                 KARAAHMETOGLU & LUZ FIRM, LLP   370 LEXINGTON AVE FL 24                           NEW YORK           NY   10017‐6573
KARL JAMISON (CLAIM# 0124663675)

ALLSTATE INSURANCE COMPANY CLAIM      ATTN SANDRA LOVERN               PO BOX 21169                                                                      ROANOKE            VA   24018
#0127953081 MILLER
ALLSTATE INSURANCE COMPANY CLAIM      C/O ALLSTATE INSURANCE COMPANY   ATTN DAVID LAUGHLIN             PO BOX 29500                                      ROANOKE            VA   24018
#0140591504 STEVEN VOLKART
ALLSTATE INSURANCE COMPANY CLAIM      ATTN DAVID LAUGHLIN              PO BOX 29500                                                                      ROANOKE            VA   24018
0111712576 TRAVAGLINI
ALLSTATE INSURANCE COMPANY CLAIM      ATTN DAVID LAUGHLIN              PO BOX 29500                                                                      ROANOKE            VA   24018
0112148713 BROST
ALLSTATE INSURANCE COMPANY CLAIM      ALLSTATE INSURANCE COMPANY       ATTN DAVID LAUGHLIN             PO BOX 29500                                      ROANOKE            VA   24018
0113775340 YVONNE TRUMPOWSKY

ALLSTATE INSURANCE COMPANY CLAIM      ATTN DAVID LAUGHLIN              PO BOX 29500                                                                      ROANOKE            VA   24018
0130065014 CHAIM NEIMAN
ALLSTATE INSURANCE COMPANY CLAIM      ATTN DAVID LAUGHLIN              PO BOX 29500                                                                      ROANOKE            VA   24018
1974713130 SPAULDING
ALLSTATE INSURANCE COMPANY CLAIM#     ATTN SPENCER MERCHANT            PO BOX 29500                                                                      ROANOKE            VA   24018
0104209655 WILSON
ALLSTATE INSURANCE COMPANY CLAIM#     ATTN DAVID LAUGHLIN              PO BOX 29500                                                                      ROANOKE            VA   24018
2785714292 RODRIQUEZ
ALLSTATE INSURANCE COMPANY CLAIM#     ATTN DAVID LAUGHLIN              PO BOX 29500                                                                      ROANOKE            VA   24018
3978845355 QUICENO
ALLSTATE INSURANCE COMPANY            ATTN DAVID LAUGHLIN              PO BOX 29500                                                                      ROANOKE            VA   24018
CLAIM#0128899472 RANDI CASWELL
ALLSTATE INSURANCE COMPANY, CLAIM     ALLSTATE INSURANCE COMPANY       ATTN DAVID LAUGHLIN             PO BOX 29500                                      ROANOKE            VA   24018
0130528060 FRANK CECALA
ALLSTATE LEASING                      5851 LEWIS RD                                                                                                      SANDSTON           VA   23150‐2411
ALLSTATE LEASING INC                  9428 REISTERSTOWN RD                                                                                               OWINGS MILLS       MD   21117‐4405
ALLSTATE LIFE INSURANCE CO            FOR POINT WEST OFFICE CTR C/O    LEGGAT MCCALL PROP MGMT INC     LOCK BOX D 350075                                 BOSTON             MA   02241‐0001
ALLSTATE MEDICAL IMA                  PO BOX 11219                                                                                                       TORRANCE           CA   90510‐1219
ALLSTATE NATIONAL SUBRO PROCESSING    RE: BOBBY BROWN                  P.O. BOX 650271                                                                   DALLAS             TX   75265‐0506

ALLSTATE NATIONALEASE                 3575 HIGHWAY 13                                                                                                    EAGAN              MN   55122
ALLSTATE NEW JERSEY INSURANCE         KRAUS STEVEN G LAW OFFICES OF    122 MOUNT BETHEL RD                                                               WARREN             NJ   07059‐5127
COMPANY
ALLSTATE NEW JERSEY INSURANCE         SUBROGEE OF DOOR QUEST           LAW OFFICES OF STEVEN G KRAUS   122 MOUNT BETHEL ROAD                             WARREN             NJ   07059
COMPANY AS
ALLSTATE PARTY & TENT RENTAL          170 SOUTH MAIN STREET                                                                                              NEW CITY           NY   10956
ALLSTATE PETERBILT & GMC, INC.        558 VILLUAME AVE                                                                                                   SOUTH SAINT PAUL   MN   55075‐2445

ALLSTATE POWER VAC INC                10 INDUSTRIAL HWYBLDG J                                                                                            PHILADELPHIA       PA   19113
ALLSTATE POWER VAC INC                2527 MARKET ST                                                                                                     ASTON              PA   19014‐3529
ALLSTATE PROPERTY & CASUALTY INS CO   COZEN OCONNOR                    ATTN: WILLIAM N CLARK ESQ       1900 MARKET STREET        RE: JOHN GASSAWAY       PHILADELPHIA       PA   19103

ALLSTATE RENT A CAR                   5175 RENT A CAR RD                                                                                                 LAS VEGAS          NV   89119‐1229
ALLSTATE RENT A CAR, INC              5175 RENT A CAR RD                                                                                                 LAS VEGAS          NV   89119‐1229
ALLSTATE SALES AND LEASING CORP.      WILLIAM LARSON                   558 VILLUAME AVE                                                                  SOUTH SAINT PAUL   MN   55075‐2445

ALLSTATE VEHICLES INC                 4201 NORTHERN BLVD                                                                                                 LONG ISLAND CITY   NY   11101‐1539
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Name                           Address1                               Address2                   Address3             Address4                    City               State Zip
ALLSTATE VOCATIONAL TRAINING   16900 WEST EIGHT MILE ROAD SUITE 306                                                                               SOUTHFIELD          MI 48075

ALLSTATES AIR CARGO INC        PO BOX 1657                                                                                                        BAVVILLE           NJ   08721‐1657
ALLSTATES AIR CARGO INC        PO BOX 494                                                                                                         ELIZABETH          NJ   07207‐0494
ALLSTATES TRUCKING INC         PO BOX 66                                                                                                          OAK CREEK          WI   53154‐0066
ALLSTONE HARGROVE              1302 WICKFORD PL                                                                                                   HURON              OH   44839‐1494
ALLSTOT, EMILY                 219 NORTH KAWEAH AVENUE                                                                                            EXETER             CA   93221‐1219
ALLSTREAM                      200 WELLINGTON ST W                                                                    TORONTO CANADA ON M5V
                                                                                                                      3G2 CANADA
ALLSUP, BETTIE                 301 PLEASANTVIEW EST                   APT 301                                                                     MECHANICSBURG      OH   43044
ALLSUP, INC.                   300 ALLSUP PL                                                                                                      BELLEVILLE         IL   62223‐8625
ALLSUP, SUSAN B                2800 SQUALL KING DR                                                                                                LAKE HAVASU CITY   AZ   86404‐3318
ALLSWEDE, WAYNE W              7456 COURTLAND DR NE                                                                                               ROCKFORD           MI   49341‐9639
ALLTECH ENGINEERING CORP       2515 PILOT KNOB RD                                                                                                 MENDOTA HEIGHTS    MN   55120‐1135

ALLTEL                         PO BOX 9001905                                                                                                     LOUISVILLE         KY   40290‐1905
ALLTEL COMMUNICATIONS, INC.    GMAC                                   WORLDWIDE REAL ESTATE,     485 W MILWAUKEE ST                               DETROIT            MI   48202‐3220
ALLTEL CORPORATION             ATTN: GENERAL COUNSEL                  6001 BOLLINGER CANYON RD                                                    SAN RAMON          CA   94583‐2324
ALLTEL SUPPLY/NORCRS           6625 THE CORNERS PARKWAY                                                                                           NORCROSS           GA   30092
ALLTOP, DAVID D                3551 GOLDNER LN SW                                                                                                 WARREN             OH   44481‐9635
ALLTOP, MARY A                 10902 W 500 N                                                                                                      KOKOMO             IN   46901
ALLTOP, MARY ANN               10902 W 500 N                                                                                                      KOKOMO             IN   46901‐8786
ALLTYPE METAL STAMPINGS LTD    349 ARVIN AVE                                                                          STONEY CREEK CANADA ON
                                                                                                                      L8E 2M6 CANADA
ALLTYPE METAL STAMPINGS LTD
ALLULLI, JOSEPHINE             143 CAROLWOOD BLVD                                                                                                 FERN PARK          FL   32730‐2974
ALLUM, CHRISTINE K             3500 26 MILE RD                                                                                                    SHELBY TOWNSHIP    MI   48316‐4804
ALLUM, F T                     3956 BIRCHWOOD DR                                                                                                  ROGERS CITY        MI   49779‐9537
ALLUMINIO DONGO SPA            VIA P RUBINI 44                                                                        DONGO CO 22014 ITALY
ALLUMINIO DONGO SPA            VINCENZO ZACCARA 215                   VIA P RUBINI 44                                 JUAREZ CI 32320 MEXICO
ALLUMS, ANNE R                 2714 WISTERIA ST                                                                                                   SHREVEPORT         LA   71108‐5002
ALLUMS, DARLENA                551 BROOKLYN AVE                                                                                                   DAYTON             OH   45417‐2357
ALLUMS, DELPHINE               PO BOX 430764                                                                                                      PONTIAC            MI   48343‐0764
ALLUMS, EDDIE J                2420 LINDEN AVE                                                                                                    LONG BEACH         CA   90806‐3123
ALLUMS, RAMIREZ D              9045 KINGSTON RD APT 3007                                                                                          SHREVEPORT         LA   71118‐3460
ALLUMS, WILMA J                434 WALTER LYONS RD                                                                                                MINDEN             LA   71055‐9309
ALLUNGA EXPOSURE LABORATORY    JAMES GROVES                           3205 W 76TH ST                                                              DAVENPORT          IA   52806‐1000
ALLUNGA/LOCK BAG 369           LOCKED BAG 369                         AITKENVALE MAIL CENTRE                          QUEENSLAND 4814 AUSTRALIA

ALLUP, EMILIO                  3333 S DEERFIELD AVE                                                                                               LANSING            MI   48911‐1822
ALLURE                         ATTN: LISA SEGO                        619 LINCOLN AVE                                                             BEDFORD            IN   47421‐2113
ALLURED, RITA                  9245 E OLIVE LN S                                                                                                  SUN LAKES          AZ   85248‐7026
ALLUSHUSKI BARBARA             4868 N MAPLE RD                                                                                                    ANN ARBOR          MI   48105‐9208
ALLUSHUSKI, GREGORY A          4868 N MAPLE RD                                                                                                    ANN ARBOR          MI   48105‐9208
ALLWANG, PETER P               4338 SHERWOOD FOREST                                                                                               DUNCANVILLE        AL   35456‐1835
ALLWAYS AUTO GROUP, LTD.       PATRICK SCHUCHART                      102 S FRONT ST                                                              MATHIS             TX   78368‐2531
ALLWAYS CHEVROLET              102 S FRONT ST                                                                                                     MATHIS             TX   78368‐2531
ALLWELT, CATHERINE L           2549 BURTON ST SE                                                                                                  GRAND RAPIDS       MI   49546‐4807
ALLWELT, DAVID A               17825 N 7TH ST LOT 30                                                                                              PHOENIX            AZ   85022‐1103
ALLWELT, DONALD W              15014 PINEWOOD TRL                                                                                                 LINDEN             MI   48451‐9124
ALLWELT, RICHARD L             16887 COUNTY ROAD 653                                                                                              GOBLES             MI   49055‐9208
ALLWINE, RICHARD J             48 WINDEMERE DR                                                                                                    SHELBY             OH   44875‐1724
ALLWOOD, MILDRED I             24041 BLACKSTONE ST                                                                                                OAK PARK           MI   48237‐2056
ALLY HAMOOD                    54277 MEADOWOOD CT                                                                                                 SHELBY TOWNSHIP    MI   48316‐1323
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Name                     Address1                       Address2                      Address3   Address4               City            State   Zip
ALLYN ACKERMAN           1958 LAKEVIEW DR                                                                               HUBBARD LAKE     MI     49747‐9636
ALLYN BROWN              837 S AVOCADO ST                                                                               ANAHEIM          CA     92805‐5406
ALLYN C MOORE            418 PARK ST                                                                                    JUNEAU           AK     99801‐1063
ALLYN CORNETT            5370 JAMERLEA LN                                                                               FOWLERVILLE      MI     48836‐9635
ALLYN G BROWN            837 S AVOCADO ST                                                                               ANAHEIM          CA     92805‐5406
ALLYN GARAVAGLIA         7803 W. HIAWATHA TR.                                                                           NAUBINWAY        MI     49762
ALLYN GOFF               14401 N BRAY RD                                                                                CLIO             MI     48420‐7930
ALLYN MACKAY             722 RIVARD BLVD                                                                                GROSSE POINTE    MI     48230‐1252
ALLYN SCHAFER            5321 HINMAN RD                                                                                 LOCKPORT         NY     14094‐9202
ALLYN, BARBARA M         5562 W 650 S                                                                                   WILLIAMSPORT     IN     47993
ALLYN, DUANE E           125 CROATAN DR                                                                                 NEWPORT          NC     28570
ALLYN, EMMA C            6A JOHNSON AVE                                                                                 PLAINVILLE       CT     06062‐1116
ALLYN, JENNIFER R        APT H                          6014 FAIRFIELD AVENUE                                           FORT WAYNE       IN     46807‐3663
ALLYN, SHIRLEY B         125 CROATAN DR                 PO BOX 1641                                                     NEWPORT          NC     28570‐9566
ALLYN, THOMAS E          6117 WATERSIDE DR                                                                              FORT WAYNE       IN     46814‐3267
ALLYNE BOUTELL           2221 LAMBDEN RD                                                                                FLINT            MI     48532‐4938
ALM CORP                 200 BENCHMARK INDUSTRIAL DR                                                                    STREATOR          IL    61364‐9400
ALM WALLACE E (408679)   GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                     NORFOLK          VA     23510
                                                        STREET, SUITE 600
ALM, ARNOLD C            5465 WASHAKIE TRL                                                                              BRIGHTON         MI     48116‐7720
ALM, LYNNE               16889 BOULDER WAY                                                                              MACOMB           MI     48042‐3513
ALM, WALLACE             GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                     NORFOLK          VA     23510‐2212
                                                        STREET, SUITE 600
ALMA AARON               405 19TH ST E APT 7                                                                            JASPER          AL      35501‐5464
ALMA ALCORNS             1741 HARDING DR                                                                                WICKLIFFE       OH      44092‐1048
ALMA ALLEN               3285 HELEN ST                                                                                  HARRISON        MI      48625‐8007
ALMA ALUMBAUGH           59 CAROUSEL RD                                                                                 BATESVILLE      AR      72501‐7860
ALMA ANDERSON            1826 PRIMROSE LN                                                                               FAIRBORN        OH      45324‐9795
ALMA AUSTIN              451 AVERITT RD                                                                                 GREENWOOD       IN      46142‐2009
ALMA B HALL              181 HEBARD ST                                                                                  ROCHESTER       NY      14605‐2321
ALMA BAKER               2309 S LAKEMAN DR                                                                              BELLBROOK       OH      45305‐1441
ALMA BAKER               9845 MEADOW VIEW DR                                                                            SAINT LOUIS     MO      63114‐2527
ALMA BARNES              984 ROCK SPRING RD                                                                             HARTSELLE       AL      35640‐6632
ALMA BASS                1904 W 22ND ST                                                                                 ANDERSON        IN      46016‐3715
ALMA BELL                HC 2 BOX 2284                                                                                  VAN BUREN       MO      63965‐9600
ALMA BENDER              2446 IMPALA DR                                                                                 ANDERSON        IN      46012‐4714
ALMA BETTS               1563 AMBERLY DR SE                                                                             GRAND RAPIDS    MI      49508‐8929
ALMA BEYL                2813 W 52ND ST                                                                                 INDIANAPOLIS    IN      46228‐2132
ALMA BIDELMAN            1234 LAMB RD                                                                                   MASON           MI      48854‐9449
ALMA BILLINGTON          3570 LOVELACEVILLE RD APT H                                                                    PADUCAH         KY      42001‐5942
ALMA BLACK               19346 WINSTON ST                                                                               DETROIT         MI      48219‐4673
ALMA BLACKBURN           195 BAKER LANE                                                                                 FRANKLIN        OH      45005‐3790
ALMA BOHANAN             PO BOX 942                                                                                     JEFFERSON       GA      30549‐0915
ALMA BOND                7140 NW 4TH AVE                                                                                BOCA RATON      FL      33487‐2350
ALMA BOOR                1529 NYE RD                    WAYNE COUNTY NURSING HOME                                       LYONS           NY      14489‐9111
ALMA BOWLING             1299 RIVER FOREST DR                                                                           FLINT           MI      48532‐2821
ALMA BOYLE               1204 W PERKINS ST                                                                              HARTFORD CITY   IN      47348‐1115
ALMA BRADLEY             121 LAKE ST                                                                                    PONTIAC         MI      48341‐2126
ALMA BRANNON             149 WOODCREST WAY                                                                              JONESBORO       GA      30236‐7326
ALMA BRAY                1000 VALLEY VISTA WAY                                                                          KETTERING       OH      45429‐6139
ALMA BRIDEAU             1827 AYNSLEY WAY APT 5                                                                         VERO BEACH      FL      32966‐8064
ALMA BROEDLING           4110 SWEENEY LN                                                                                HILLSBORO       OH      45133‐7429
ALMA BROERMAN            5603 S PARK RD                                                                                 KOKOMO          IN      46902‐5046
ALMA BROSIUS             15 LINCOLN ST                                                                                  SOUTH RIVER     NJ      08882‐1617
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ALMA BROWN          6070 S 1000 E                                                                                 BRAZIL             IN     47834‐8420
ALMA BROWNING       668 HAYES ST                                                                                  YPSILANTI          MI     48198‐8026
ALMA BRYANT         8260 RUSSELL LN                                                                               CLEVELAND          OH     44144‐1132
ALMA BRYSON         926 E 7TH ST                                                                                  FLINT              MI     48503‐2774
ALMA BURGOS         116 JOYCE KILMER AVE APT 2ND                                                                  NEW BRUNSWICK      NJ     08901
ALMA BURKE          3708 S MAPLE LN                                                                               MUNCIE             IN     47302‐5855
ALMA C ANDERSON     1826 PRIMROSE LN                                                                              FAIRBORN           OH     45324‐9795
ALMA C CONGDON      13500 S HORRELL RD                                                                            FENTON             MI     48430‐1013
ALMA CARTER         543 W PHILADELPHIA BLVD                                                                       FLINT              MI     48505‐3266
ALMA CHAPERLO       30 RUTH DR                                                                                    FLORISSANT         MO     63031‐3921
ALMA CHOATE         2649 CAROLYN CIRCLE DR                                                                        HIGH RIDGE         MO     63049‐2869
ALMA CLARK          19797 SANTA ROSA DR                                                                           DETROIT            MI     48221‐1737
ALMA CLIATT         2002 WALNUT ST                                                                                SAGINAW            MI     48601‐2031
ALMA CLINE          402 PINEVIEW DR                                                                               VENICE             FL     34293‐3938
ALMA COFFELL        365 GILES RD                                                                                  TROY               MO     63379‐4212
ALMA COLEMAN        2406 HENDERSON DR APT 1026                                                                    ARLINGTON          TX     76010‐8771
ALMA COLES          707 W HART ST                                                                                 BAY CITY           MI     48706‐3628
ALMA COLLEGE        614 W SUPERIOR ST                                                                             ALMA               MI     48801‐1504
ALMA COLLETT        11423 WILLIAM ST                                                                              TAYLOR             MI     48180‐4281
ALMA COLLINS        133 BLUFF AVE                                                                                 LA GRANGE           IL    60525‐6401
ALMA CONGDON        13500 S HORRELL RD                                                                            FENTON             MI     48430‐1013
ALMA CONLEY         170 SAXTON ST                                                                                 LOCKPORT           NY     14094‐4912
ALMA CONN‐HOLLAND   9 PLASTIC CT                                                                                  BALTIMORE          MD     21220‐3418
ALMA CONNER         1002 E 600 N                                                                                  ALEXANDRIA         IN     46001‐8791
ALMA COOK           1073 JUSTIN RIDGE WAY                                                                         WAYNESVILLE        OH     45068‐9250
ALMA COOPER         412 BENEDICT AVE                                                                              TARRYTOWN          NY     10591
ALMA CORRIS         4395 EAST STANTON ROAD                                                                        STANTON            MI     48888‐9578
ALMA COX            131 SPARKS LN                                                                                 SPEEDWELL          TN     37870‐8200
ALMA COY            165 N HILLS BLVD                                                                              SPRINGBORO         OH     45066‐8433
ALMA COYLE          743 N PLEASANT VALLEY AVE                                                                     DAYTON             OH     45404‐2437
ALMA CROCKETT       484 PHILLIPI HOLLOW ROAD                                                                      ATKINS             VA     24311‐3040
ALMA CROSSLEY       9217 BAYWOOD DR                                                                               PLYMOUTH           MI     48170‐3915
ALMA CRUTCHER       4072 32ND ST                                                                                  DETROIT            MI     48210‐2555
ALMA CURRIE         525 COMSTOCK ST NW                                                                            WARREN             OH     44483‐3211
ALMA CURRY          30 WILLIAMSTOWNE CT APT 6                                                                     CHEEKTOWAGA        NY     14227‐2109
ALMA D CARTER       543 W PHILADELPHIA BLVD                                                                       FLINT              MI     48505‐3266
ALMA D DUNCAN       219 DRESDEN AVE                                                                               PONTIAC            MI     48340‐2520
ALMA DALTON         2014 CADIE AVE                                                                                DAYTON             OH     45414‐3323
ALMA DAVIDSON       901 PALLISTER ST APT 415                                                                      DETROIT            MI     48202‐2680
ALMA DAVIS          53533 FRANKLIN DR                                                                             SHELBY TOWNSHIP    MI     48316‐2305
ALMA DAVIS          8244 DELWOOD ST                                                                               ELMIRA             MI     49730
ALMA DAVIS          7979 EASTON RD                                                                                NEW LOTHROP        MI     48460‐9787
ALMA DAVIS          611 MONROE ST APT 2                                                                           PACIFIC            MO     63069‐1050
ALMA DAY            733 SLEETH ST                                                                                 DALLAS             TX     75216‐6714
ALMA DEAN MHOON     ACCOUNT OF JACK NICHELSON      205 W JEFFERSON ST APT A3                                      BUCKNER            MO     64016
ALMA DICKESON       605 LOU ALICE DR                                                                              COLUMBIAVILLE      MI     48421‐9740
ALMA DODD           2905 RANCH RD APT 519                                                                         PARAGOULD          AR     72450‐2258
ALMA DOLLE          8720 W FLAMINGO RD APT 227                                                                    LAS VEGAS          NV     89147‐8686
ALMA DRAKE          5024 MARBURN AVE                                                                              DAYTON             OH     45427‐3126
ALMA DULANEY        62 RIVER CIR                                                                                  OSCEOLA            AR     72370‐2932
ALMA DUNCAN         219 DRESDEN AVE                                                                               PONTIAC            MI     48340‐2520
ALMA E BLACKBURN    1129 E LINDSEY AVE                                                                            MIAMISBURG         OH     45342‐2533
ALMA EGAN           3214 WOODSIDE AVE                                                                             BALTIMORE          MD     21234‐4708
ALMA ELDRIDGE       6159 AFTON DR                                                                                 DAYTON             OH     45415‐1829
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Name                              Address1                         Address2                Address3           Address4               City             State   Zip
ALMA ELEY                         6504 PINNACLE COURT                                                                                MOORPARK          CA     93021‐1272
ALMA ELKO                         681 HIGH ST APT 204                                                                                VICTOR            NY     14564‐1193
ALMA F DALTON                     2014 CADIE AVE                                                                                     DAYTON            OH     45414‐3323
ALMA F SCHREINER                  PO BOX 6                                                                                           ENON              OH     45323‐0006
ALMA F SIZEMORE                   6821 CASA GRANDE COURT                                                                             HUBER HEIGHTS     OH     45424‐1242
ALMA FERGUSON                     2461 OLD LOST MOUNTAIN RD                                                                          POWDER SPRINGS    GA     30127‐1464
ALMA FIFIELD                      3389 MCKINLEY ST                                                                                   BURTON            MI     48529‐1055
ALMA FLETCHER                     252 FIRE DEPARTMENT RD                                                                             ALLONS            TN     38541‐3023
ALMA FLORMAN                      200 EAST 57TH ST APT 17N                                                                           NEW YORK          NY     10022
ALMA FOLEY                        15740 LEE RD                                                                                       BROWNSTOWN        MI     48173‐9687
ALMA FOREPAUGH                    1414 W 15TH ST                                                                                     ANDERSON          IN     46016‐3320
ALMA FOWLER                       2031 CONNELL ST                                                                                    BURTON            MI     48529‐1332
ALMA FOWLER                       716TH W FIFTH                                                                                      ANDERSON          IN     46016
ALMA FOX                          477 S RESTIN RD                                                                                    GREENWOOD         IN     46142‐9258
ALMA FOX                          1105 HOLLYROOD RD                                                                                  SANDUSKY          OH     44870‐4276
ALMA FRATIANNI                    6647 OSLER ST                                                                                      SAN DIEGO         CA     92111
ALMA FRICKE                       10152 E COUNTY ROAD 275 N                                                                          SEYMOUR           IN     47274‐9249
ALMA G HALLER TTEE                U/A/D 10/18/85                   ALMA G HALLER TR        8220 NATURES WAY   APT# 119               LAKEWOOD RCH      FL     34202
ALMA G YOUNG, PERSONAL            C/O BRAYTON PURCELL              222 RUSH LANDING ROAD                                             NOVATO            CA     94948‐6169
REPRESENTATIVE FOR FRED C YOUNG
ALMA GARRETT                      4961 W LECKIE LN                                                                                   SAGINAW          MI      48603‐9632
ALMA GASKIN                       542 LULING ST                                                                                      JACKSON          MS      39208‐6318
ALMA GEAKE                        12582 PALMETTO DR                                                                                  FORT MYERS       FL      33908‐3859
ALMA GILBERT                      5184 JONES CT                                                                                      LAKE CITY        GA      30260‐3411
ALMA GILES                        1512 3RD ST                                                                                        BEDFORD          IN      47421‐1720
ALMA GOODPASTER                   9860 SE 00 W                                                                                       FAIRMOUNT        IN      46928
ALMA GOODRICH                     300 HOWE ST                                                                                        BELDING          MI      48809‐9577
ALMA HADNOT                       344 LOTTIE LN                                                                                      SAGINAW          TX      76179‐1860
ALMA HALL                         181 HEBARD ST                                                                                      ROCHESTER        NY      14605‐2321
ALMA HALL                         11690 SHADYBROOK DR                                                                                PICKERINGTON     OH      43147
ALMA HALL                         1440 ALEXANDER DR                                                                                  HAMILTON         OH      45013‐5145
ALMA HALL                         103 BROOKSIDE DR APT G2                                                                            AMHERST          OH      44001‐1404
ALMA HALSEY                       2195 S 600 W                                                                                       ANGOLA           IN      46703‐9670
ALMA HARALSON                     42066 82ND AVE                                                                                     DECATUR          MI      49045‐8724
ALMA HARBIN                       101 BROOKSTONE DRIVE SOUTHWEST                                                                     CALHOUN          GA      30701‐3514
ALMA HARKRADER                    9371 W COUNTY ROAD 400 S                                                                           YORKTOWN         IN      47396‐9643
ALMA HARNSBERRY                   4004 SE 45TH ST                                                                                    OKLAHOMA CITY    OK      73135‐2019
ALMA HARRIS                       PO BOX 22793                                                                                       MEMPHIS          TN      38122‐0793
ALMA HARRIS                       4518 STONEHEDGE ST                                                                                 DAYTON           OH      45426‐2104
ALMA HARRISON                     3779 FRIENDSHIP RD                                                                                 BUFORD           GA      30519‐1815
ALMA HARSHEY                      729 OAK AVENUE                                                                                     MUSKEGON         MI      49442‐2013
ALMA HARVEY                       PO BOX 555                                                                                         DARLINGTON       IN      47940‐0555
ALMA HEATHERLY                    5900 JASMINE DR                                                                                    DAYTON           OH      45449
ALMA HEDBLAD                      3216 MCKITRICK ST                                                                                  MELVINDALE       MI      48122‐1113
ALMA HENDERSON                    618 DAMON ST                                                                                       FLINT            MI      48505‐3734
ALMA HENSON                       191 ORINOCO ST                                                                                     DAYTON           OH      45431‐2069
ALMA HERHUTH                      641 SADDLEBROOK LANE                                                                               HOPKINS          SC      29061‐9478
ALMA HERRIMAN                     1658 PALMENTO RD                                                                                   SAINT HELEN      MI      48656‐9422
ALMA HESS                         4800 WILLOWBROOK DR                                                                                MENTOR           OH      44060‐1044
ALMA HILL                         1802 GREENBRIAR LN                                                                                 FLINT            MI      48507‐2220
ALMA HINES                        1761 S COUNTY RD 1225 W                                                                            PARKER CITY      IN      47368
ALMA HOLLAND                      29 W LONGFELLOW AVE                                                                                PONTIAC          MI      48340‐1827
ALMA HOLLOWAY                     5905 OXLEY DR                                                                                      FLINT            MI      48504‐7096
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Name                Address1                           Address2                   Address3          Address4               City             State Zip
ALMA HOLMES         730 YOUNGSTOWN WARREN RD APT 306                                                                       NILES             OH 44446‐3579

ALMA HOOSIER        108 N 9TH ST                                                                                           SAGINAW          MI   48601‐1703
ALMA HOPE           10782 SPARKLING WATERS CT                                                                              SOUTH LYON       MI   48178‐9297
ALMA HORNSBY        7891 HUNTERS PATH                                                                                      INDIANAPOLIS     IN   46214‐1534
ALMA HORTON         20450 WYOMING ST                                                                                       DETROIT          MI   48221‐1030
ALMA IVEY           29116 MILITARY RD                                                                                      ANGIE            LA   70426‐1742
ALMA J BECK         PO BOX 261                                                                                             GARDEN CITY      MI   48136‐0261
ALMA J CURRIE       525 COMSTOCK N.W.                                                                                      WARREN           OH   44483‐3211
ALMA J GASKIN       542 LULING STREET                                                                                      JACKSON          MS   39208‐6318
ALMA J HAYES        138 HICKORY MANOR DR                                                                                   ROCHESTER        NY   14606
ALMA J HENSON       191 ORINOCO STREET                                                                                     DAYTON           OH   45431‐2069
ALMA J HICKS        354 S HARRIS RD                                                                                        YPSILANTI        MI   48198‐5966
ALMA J HORNSBY      7891 HUNTERS PATH                                                                                      INDIANAPOLIS     IN   46214‐1534
ALMA J JOHNSON      4055 MARIANNE DR                                                                                       FLUSHING         MI   48433‐2321
ALMA J MCCULLY      116 CEDARBROOK DR.                                                                                     PEARL            MS   39208
ALMA J STANSBERRY   8321 E CARLTON RD                                                                                      W ALEXANDRIA     OH   45381‐9543
ALMA J STOVER       6210 BELVIDERE AVE                                                                                     CLEVELAND        OH   44103‐3817
ALMA J WELLS        5279 HARSHMANVILLE ROAD                                                                                DAYTON           OH   45424‐5907
ALMA JEAN BRISCOE   18 HOLLY LN                                                                                            FLORA            IL   62839
ALMA JOHNSON        6666 SHELDON RD                                                                                        BELLEVILLE       MI   48111‐1146
ALMA JOHNSON        4055 MARIANNE DR                                                                                       FLUSHING         MI   48433‐2321
ALMA JOHNSON        12809 FREDERICK ST BLDG 8          APT 107                                                             MORENO VALLEY    CA   92553
ALMA JOHNSON        30511 GRANDVIEW AVE                                                                                    WESTLAND         MI   48186‐5058
ALMA JOHNSON        308 WILLRICH CIR UNIT J                                                                                FOREST HILL      MD   21050‐1362
ALMA JOHNSON        2017 BURT ST                                                                                           SAGINAW          MI   48601‐2022
ALMA JONES          241 DINALI DR                                                                                          MARTINSBURG      WV   25403‐7715
ALMA JORDAN         902 E RIDGEWAY AVE                                                                                     FLINT            MI   48505‐2919
ALMA K HILL         PO BOX 315                                                                                             DAYTON           OH   45401‐0315
ALMA KEESLING       918 BRAUN DR                                                                                           GREENFIELD       IN   46140‐7198
ALMA KELLY          15286 MCCASLIN LAKE RD                                                                                 LINDEN           MI   48451‐9720
ALMA KENDALL        1017 SOMERSET LN                                                                                       FLINT            MI   48503‐2982
ALMA KENNEDY        915 HORSESHOE TRL                                                                                      UNIVERSAL CITY   TX   78148‐4008
ALMA KENNEDY        1110 BEASON RD                                                                                         BYRDSTOWN        TN   38549‐2011
ALMA KIMBRELL       28914 UPPER BETHEL RD                                                                                  ELKMONT          AL   35620‐6922
ALMA KING           621 GEORGIAN DR                                                                                        COLUMBUS         OH   43228‐2909
ALMA KING           2267 PEEKSVILLE RD                                                                                     LOCUST GROVE     GA   30248‐4029
ALMA KINSEY         775 ROUND CT                                                                                           ZIONSVILLE       IN   46077‐2017
ALMA KNAUB          1647 W HIGHWOOD RD                                                                                     GLADWIN          MI   48624‐8460
ALMA KOZACK         583 ELBRIDGE RD                                                                                        MORRISVILLE      PA   19067‐6811
ALMA KRAUSE         2702 REYNOLDS ST                                                                                       FLINT            MI   48503‐3020
ALMA KRINISKE       144 NORTH ATHERLY ROAD                                                                                 ST AUGUSTINE     FL   32092‐3067
ALMA L HEATHERLY    5900 JASMINE DR                                                                                        DAYTON           OH   45449‐2945
ALMA LAGNESS        8676 FULMER RD                                                                                         MILLINGTON       MI   48746‐9702
ALMA LAVOIE         4 BIRCHWOOD TERRACE                APT#40                                                              BRISTOL          CT   06010
ALMA LAWRENCE       2123 ORANGE TREE DR                                                                                    EDGEWATER        FL   32141‐3923
ALMA LAWSON         192 N BROAD ST                                                                                         PENNS GROVE      NJ   08069‐1026
ALMA LEE ALBERTY    NIX PATTERSON & ROACH LLP          GM BANKRUPTCY DEPARTMENT   205 LINDA DRIVE                          DAINGERFIELD     TX   75638
ALMA LEONARD        201 E ELIZABETH ST APT 221                                                                             FENTON           MI   48430‐1588
ALMA LOGAN          1640 SKYLINE DR APT 14                                                                                 PITTSBURGH       PA   15227‐1628
ALMA LONDON         26421 NOTRE DAME ST                                                                                    INKSTER          MI   48141‐2656
ALMA LONG           329 W CENTER ST                                                                                        OMER             MI   48749‐9702
ALMA LONG           5105 EDWARDS AVE                                                                                       FLINT            MI   48505‐3147
ALMA LOOPER         4680 MOONEYHAM LONEWOOD RD                                                                             SPENCER          TN   38585‐4022
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Name                          Address1                        Address2               Address3         Address4               City            State   Zip
ALMA LUFCY                    7546 E RAYMOND ST                                                                              INDIANAPOLIS     IN     46239‐9513
ALMA LYONS                    4271 STANLEY CT                                                                                WATERFORD        MI     48329‐4185
ALMA M DOLLE                  8720 WEST FLAMINGO RD.          APT. 227                                                       LAS VEGAS        NV     89147‐8686
ALMA MADGES                   5514 SEAGULL DR NE                                                                             BELMONT          MI     49306‐9005
ALMA MAHAN                    4259 W STATE ROAD 124                                                                          WABASH           IN     46992‐8817
ALMA MAPP                     15769 MEYERS RD                                                                                DETROIT          MI     48227‐4050
ALMA MARGRAVE                 247 GLENDOLA AVE NW                                                                            WARREN           OH     44483‐1246
ALMA MARIAGE                  BOX 186R R 1                                                                                   RIDGE FARM        IL    61870
ALMA MATTSON                  13614 AUTUMN WAY                                                                               ROGERS           MN     55374‐4003
ALMA MCCULLY                  116 CEDAR BROOK DR                                                                             PEARL            MS     39208‐8003
ALMA MCDONALD                 PO BOX 1422                                                                                    MERIDIAN         MS     39302‐1422
ALMA MCFERRIN                 PO BOX 60773                                                                                   MIDLAND          TX     79711‐0773
ALMA MCKNIGHT                 19711 GOLDWIN ST                                                                               SOUTHFIELD       MI     48075‐7227
ALMA MCLAUGHLIN               12347 AVALON DR                                                                                GRAFTON          OH     44044‐9553
ALMA MCMAIN                   6500 NW 128TH ST                                                                               KANSAS CITY      MO     64164‐1033
ALMA MILLER                   29 CAMBRIA ST                                                                                  BUFFALO          NY     14206‐2301
ALMA MILLER                   401 W FRANK ST                                                                                 MITCHELL         IN     47446‐1825
ALMA MITCHELL                 3979 18TH ST                                                                                   ECORSE           MI     48229‐1311
ALMA MITCHELL                 5135 INLAND ST                                                                                 FLINT            MI     48505‐1706
ALMA MITORAJ                  3891 W THENDARA DR                                                                             GLADWIN          MI     48624‐9269
ALMA MORRIS                   PO BOX 115                                                                                     HARTMAN          AR     72840‐0115
ALMA MOSS                     1587 STIRLING LAKES DR                                                                         PONTIAC          MI     48340‐1369
ALMA MULLINS                  RR 1 BOX 378                                                                                   HARTS            WV     25524‐9617
ALMA NAILS                    118 KALMIA CT                                                                                  ARLINGTON        TX     76018‐1634
ALMA NAPRESTEK                15370 AGLER RD                                                                                 GARRETTSVILLE    OH     44231‐9521
ALMA NEESE                    41 E 56TH ST                    C/O MARY E NEESE                                               INDIANAPOLIS     IN     46220‐3006
ALMA NICELY                   10925 JOHNSON DR                                                                               POLAND           IN     47868‐7429
ALMA NOEL                     644 CENTER ST                                                                                  PENDLETON        IN     46064‐1310
ALMA NUTT                     3731 N 900 W                                                                                   FRANKTON         IN     46044‐9514
ALMA OWENS                    2212 MADISON AVE                                                                               NORWOOD          OH     45212‐3225
ALMA PARKER                   5133 TODD ST                                                                                   GRAND BLANC      MI     48439‐4221
ALMA PARKER                   56 W JUDSON AVE                                                                                YOUNGSTOWN       OH     44507‐2039
ALMA PARKER                   6349 RUSTIC RIDGE TRL T                                                                        GRAND BLANC      MI     48439
ALMA PARKS                    1954 FERRY DR                                                                                  MARIETTA         GA     30066‐6251
ALMA PAYNE                    3738 STATE ROUTE 49                                                                            ARCANUM          OH     45304‐9797
ALMA PELC                     31848 SHAWN DR                                                                                 WARREN           MI     48088‐2936
ALMA PERRY                    12613 HAMBURG ST                                                                               DETROIT          MI     48205‐3303
ALMA PERRY                    1708 BREWSTER AVE                                                                              CINCINNATI       OH     45207‐1106
ALMA PETERS                   1960 S BUNN RD                                                                                 HILLSDALE        MI     49242‐9379
ALMA PHINNEY                  529 S KAISER ST                                                                                PINCONNING       MI     48650‐7523
ALMA PICKARD                  2806 FENLEY ST                                                                                 KOKOMO           IN     46901‐1547
ALMA PILLARS                  2323 BROOKWOOD DR                                                                              CHATTANOOGA      TN     37421‐1759
ALMA PONTIAC BUICK GMC        7440 N ALGER RD                                                                                ALMA             MI     48801‐1073
ALMA PONTIAC BUICK GMC, LLC   FREDERICK GUTHRIE               7440 N ALGER RD                                                ALMA             MI     48801‐1073
ALMA PRODUCTS                 CHIP REMBERT                    2000 MICHIGAN AVENUE                                           MARSHALL         MI     49068
ALMA PRODUCTS CO              2000 MICHIGAN AVE                                                                              ALMA             MI     48801‐9703
ALMA R BROWN                  1915 CHANDLER DR.                                                                              JACKSON          MS     39213
ALMA REDDICK                  C/O BRYANT RUDOLPH              3510 W SURRY LN                                                ALBANY           GA     31707
ALMA REID                     2433 TAM‐O‐SHANTER RD                                                                          KOKOMO           IN     46902
ALMA RHODES                   201 E ELIZABETH ST APT 313                                                                     FENTON           MI     48430‐2672
ALMA RICE                     1415 HICKORY RUN DR                                                                            COLUMBUS         OH     43204‐1518
ALMA RICHARDS                 13611 S US ROUTE 31                                                                            KOKOMO           IN     46901‐7766
ALMA RILEY                    925 N COUNTY RD                 800 E.                                                         AVON             IN     46123
ALMA ROBINSON                 461 PARK ST                                                                                    HARRISON         MI     48625‐9483
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Name                Address1                        Address2               Address3         Address4               City             State   Zip
ALMA ROGERS         PO BOX 1151                                                                                    MONTICELLO        MS     39654‐1151
ALMA ROY            225 VIRGINIA AVE                                                                               DAYTON            OH     45410‐2317
ALMA SCHREINER      PO BOX 6                                                                                       ENON              OH     45323‐0006
ALMA SCHUMAN        26601 COOLIDGE HWY              C/O GUARDIAN CARE                                              OAK PARK          MI     48237‐1135
ALMA SHACKELFORD    19 EAST YOUNGS COURT                                                                           MIDLAND           MI     48640‐8635
ALMA SHELLEY        857 E CASTLE AVE                                                                               INDIANAPOLIS      IN     46227‐1501
ALMA SIMPSON        208 E 1ST ST                                                                                   IMLAY CITY        MI     48444
ALMA SIMPSON        11714 MONTROSE ST                                                                              DETROIT           MI     48227‐1758
ALMA SIZEMORE       6821 CASA GRANDE CT                                                                            HUBER HEIGHTS     OH     45424‐1242
ALMA SMITH          833 NELSON CIR                                                                                 NOBLESVILLE       IN     46060‐5611
ALMA SMITH          2575 DONALD RD                                                                                 MEMPHIS           TN     38106‐8503
ALMA SNIDER         3119 GLENVIEW DR                                                                               ANDERSON          IN     46012‐9100
ALMA SOWELL         5840 PARLIAMENT DR                                                                             COLUMBUS          OH     43213‐3371
ALMA STAHL          111 MEATH RD                                                                                   EATON RAPIDS      MI     48827‐1360
ALMA STALLWORTH     15890 ADDISON CT                                                                               SOUTHFIELD        MI     48075‐3084
ALMA STANSBERRY     8321 E CARLTON RD                                                                              W ALEXANDRIA      OH     45381‐9543
ALMA STEVENS        543 SMITH AVE 1A                                                                               XENIA             OH     45385
ALMA STEVENS        8404 SOUTH ELIZABETH STREET                                                                    CHICAGO            IL    60620‐4035
ALMA STEWART        5113 OGEECHEE RD # A                                                                           SAVANNAH          GA     31405‐2521
ALMA STOVER         6210 BELVIDERE AVE                                                                             CLEVELAND         OH     44103‐3817
ALMA STUTHARD       87 FLAX DR                                                                                     LONDON            OH     43140‐1033
ALMA SWINGLEY       1920 VAN BUSKIRK RD                                                                            ANDERSON          IN     46011‐1037
ALMA SZAJKO         41109 NORTHWIND DR                                                                             CANTON            MI     48188‐1319
ALMA TALLENGER      6149 NORTHRUP DR                                                                               WATERFORD         MI     48329‐1477
ALMA TATE           722 E 6TH ST                                                                                   FLINT             MI     48503‐2785
ALMA TATE           5620 GREENWAY ST                                                                               DETROIT           MI     48204‐2177
ALMA TEGART         4491 HEMLOCK LOOP                                                                              CLARKSTON         MI     48348‐1360
ALMA TERRELL        13618 N FLORIDA AVE                                                                            TAMPA             FL     33613
ALMA THOMAS         18744 HIGHWAY H                                                                                ELK CREEK         MO     65464‐8123
ALMA THOMAS         15374 LITTLEFIELD                                                                              DETROIT           MI     48227
ALMA TOVAL          8200 E JEFFERSON AVE APT 101                                                                   DETROIT           MI     48214
ALMA TURNER         11812 AVON AVE                                                                                 CLEVELAND         OH     44105‐4345
ALMA TWOMEY         9661 PADDOCK RD                                                                                CAMBY             IN     46113
ALMA V HARRIS       4618 STONEHEDGE ST                                                                             DAYTON            OH     45426‐2104
ALMA VEGA           1578 CRAIGLEE AVE                                                                              YOUNGSTOWN        OH     44506‐1622
ALMA VEST           PO BOX 74                                                                                      GREENFIELD        IN     46140‐0074
ALMA W COX          131 SPARKS LANE                                                                                SPEEDWELL         TN     37870‐8200
ALMA WARD           1320 HOPKINS ST                                                                                DEFIANCE          OH     43512‐2449
ALMA WASHINGTON     629 E 32ND ST                                                                                  INDIANAPOLIS      IN     46205‐3869
ALMA WELLS          5279 HARSHMANVILLE RD                                                                          DAYTON            OH     45424‐5907
ALMA WEST           1211 W KIRBY AVE                                                                               CHAMPAIGN          IL    61821‐5102
ALMA WEVER          1372 YOCKEY RD                                                                                 MITCHELL          IN     47446‐6915
ALMA WHEATLEY       3289 SEEBALDT AVE                                                                              WATERFORD         MI     48329‐4155
                                                                                                                   TOWNSHIP
ALMA WHITE          635 S ASH ST                                                                                   GARDNER          KS      66030‐1403
ALMA WHITESCARVER   419 AVON OAK CT                                                                                NEW LEBANON      OH      45345‐1503
ALMA WILEY          24340 BERKLEY ST                                                                               OAK PARK         MI      48237‐1678
ALMA WILKS          3643 N 250 W                                                                                   WEST LAFAYETTE   IN      47906
ALMA WILLAIMS       50 SHIRLEY AVE                                                                                 BUFFALO          NY      14215‐1018
ALMA WILLIAMS       212 MEADOW RDG                                                                                 PETERSBURG       WV      26847‐9448
ALMA WILLIAMS       516 W EDGEWOOD AVE                                                                             INDIANAPOLIS     IN      46217‐3602
ALMA WILLIAMS       612 N EPPINGTON DR                                                                             TROTWOOD         OH      45426‐2518
ALMA WILLIAMS       448 RICE AVE                                                                                   BELLWOOD         IL      60104‐1857
ALMA WILLIAMS       612 EPPINGTON DR N                                                                             TROTWOOD         OH      45426‐2518
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Name                                  Address1                          Address2                       Address3   Address4               City               State   Zip
ALMA WILSON                           425 CARROLL ST                                                                                     ORANGE              NJ     07050‐4228
ALMA WOODSON                          1602 SENECA ST                                                                                     FLINT               MI     48504‐2934
ALMA WRIGHT                           18508 BRADY                                                                                        REDFORD             MI     48240‐1703
ALMA WYLIE                            443 DAVIS CHAPEL RD                                                                                LA FOLLETTE         TN     37766‐7614
ALMA YORK                             407 MOLLY LN                                                                                       ANDERSON            IN     46016‐5091
ALMA YOUMANS                          5638 CROSS VILLAGE ROAD                                                                            GRAND BLANC         MI     48439‐9107
ALMA ZIPPEL                           8413 DEVOE ST                                                                                      JACKSONVILLE        FL     32220‐2378
ALMA, GERALD L                        PO BOX 111                                                                                         BIRCH RUN           MI     48415‐0111
ALMA, MICHAEL C                       600 CORPORATION DR                                                                                 PENDELTON           IN     46064‐8608
ALMA, RITA F                          3943 MALLORY AVE SW                                                                                GRAND RAPIDS        MI     49519‐3644
ALMAC GARMENT SERVICES                PO BOX 3000                       233 SYCAMORE STREET                                              ANDERSON            IN     46018‐3000
ALMACK, BETTY D                       2564 S. JARR ST.                                                                                   ALBION              IN     46701‐9455
ALMACK, BETTY D                       2564 S JARR ST                                                                                     ALBION              IN     46701‐9455
ALMADA, JAN M                         21211 31 MILE RD                                                                                   RAY                 MI     48096‐1325
ALMAGRO, BENJAMIN R                   3512 WOODSON DRIVE                                                                                 MCKINNEY            TX     75070‐7695
ALMAGUER CLAUDIA                      ALMAGUER, CLAUDIA                 30 E BUTLER AVE                                                  AMBLER              PA     19002‐4514
ALMAGUER JR, RUDOLPH J                10317 HICKORY HILL DR                                                                              PORT RICHEY         FL     34668‐3279
ALMAGUER JR, RUDOLPH JOSEPH           10317 HICKORY HILL DRIVE                                                                           PORT RICHEY         FL     34668‐3279
ALMAGUER, FRANCISCO D                 5732 WILLOW WOOD LN                                                                                DALLAS              TX     75252‐2661
ALMAGUER, RUDOLPH J                   25608 TAROCCO DR                  CIRTUS PARK                                                      BONITA SPRINGS      FL     34135‐6405
ALMAHALAWI, SOAAD F                   1377 N MAIN ST                                                                                     CLAWSON             MI     48017
ALMAN LIONEL (408268)                 DEARIE & ASSOCS JOHN C            3265 JOHNSON AVE                                                 BRONX               NY     10463
ALMAN LIONEL (408268) ‐ CALLAHAN JOHN DEARIE & ASSOCS JOHN C            3265 JOHNSON AVE                                                 BRONX               NY     10463

ALMAN LIONEL (408268) ‐ FEELY JOHN     DEARIE & ASSOCS JOHN C           3265 JOHNSON AVE                                                 BRONX               NY     10463
ALMAN LIONEL (408268) ‐ FORSBERG       DEARIE & ASSOCS JOHN C           3265 JOHNSON AVE                                                 BRONX               NY     10463
ROBERT
ALMAN LIONEL (408268) ‐ GRIDLEY JOHN   DEARIE & ASSOCS JOHN C           3265 JOHNSON AVE                                                 BRONX               NY     10463

ALMAN LIONEL (408268) ‐ JOSEPH JANIS   DEARIE & ASSOCS JOHN C           3265 JOHNSON AVE                                                 BRONX               NY     10463

ALMAN LIONEL (408268) ‐ KNOTT JOSEPH   DEARIE & ASSOCS JOHN C           3265 JOHNSON AVE                                                 BRONX               NY     10463

ALMAN LIONEL (408268) ‐ KROL EDWARD    DEARIE & ASSOCS JOHN C           3265 JOHNSON AVE                                                 BRONX               NY     10463

ALMAN LIONEL (408268) ‐ LANC VINCENT   DEARIE & ASSOCS JOHN C           3265 JOHNSON AVE                                                 BRONX               NY     10463

ALMAN LIONEL (408268) ‐ MANNUZA        DEARIE & ASSOCS JOHN C           3265 JOHNSON AVE                                                 BRONX               NY     10463
CHRISTOPHER
ALMAN MCFARLAND                        8275 E POTTER RD                                                                                  DAVISON            MI      48423‐8146
ALMAN, JACK B                          10222 PATTERSON AVE SE                                                                            CALEDONIA          MI      49316‐9414
ALMAN, JONATHAN M                      9185 STONEY CREEK LN                                                                              PARMA HEIGHTS      OH      44130‐4759
ALMAN, LIONEL                          DEARIE & ASSOCS JOHN C           3265 JOHNSON AVE                                                 RIVERDALE          NY      10463
ALMAN, THOMAS P                        1509 N HAYFORD AVE                                                                                LANSING            MI      48912‐3437
ALMAND, BOBBIE S                       593 NINE BARK                                                                                     WIXOM              MI      48393
ALMAND, LARRY L                        PO BOX 297                                                                                        ENTERPRISE         MS      39330‐0297
ALMAND, RUSSELL L                      PO BOX 1691                                                                                       SPRING HILL        TN      37174‐1691
ALMANSOUR HILAL THOMAS                 ALMANSOUR, HILAL THOMAS          30300 NORTHWESTERN HWY SUITE                                     FARMINGTON HILLS   MI      48334
                                                                        255
ALMANSOUR MD PC A                      4071 RICHFIELD RD                                                                                 FLINT               MI     48506‐2008
ALMANSOUR, HILAL T                     3093 HEDGEWOOD LN                                                                                 ROCHESTER HLS       MI     48309‐4510
ALMANZA LETICIA ROYBAL                 ALMANZA, ARTHUR                  1417 MONTANA AVE                                                 EL PASO             TX     79902‐5617
ALMANZA LETICIA ROYBAL                 ALMANZA, LETICIA ROYBAL          1417 MONTANA AVE                                                 EL PASO             TX     79902‐5617
ALMANZA, ARTHUR                        12585 ANGIE BOMBACH AVE                                                                           EL PASO             TX     79928‐1752
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Name                      Address1                       Address2                       Address3   Address4               City               State   Zip
ALMANZA, BRISA            2003 POFF ST                                                                                    BELOIT              WI     53511‐3225
ALMANZA, JESUS C          1215 UPLAND RIDGE DR                                                                            FORT WAYNE          IN     46825‐1116
ALMANZA, JUAN R           342 CARTER ROAD                                                                                 DEFIANCE            OH     43512‐3538
ALMANZA, LETICIA ROYBAL   12585 ANGIE BOMBACH AVE                                                                         EL PASO             TX     79928‐1752
ALMANZA, LINDA            3228 KNOB CREEK RD                                                                              COLUMBIA            TN     38401‐1481
ALMANZA, LUCE             200 OSHAWA CIR                                                                                  WATERFORD           MI     48328‐3242
ALMANZA, MOISES           1758 KENWOOD AVE                                                                                BELOIT              WI     53511‐5954
ALMANZA, PABLO R          2165 43RD ST SE APT D5                                                                          GRAND RAPIDS        MI     49508‐3791
ALMANZA, PABLO R          2169 43RD STREET SE.           APT C6                                                           KENTWOOD            MI     49508
ALMANZA, ROBERT           3685 HARRIMAN AVE                                                                               LOS ANGELES         CA     90032‐1508
ALMANZA, SANTIAGO S       1176 KARNES AVE                                                                                 DEFIANCE            OH     43512‐3022
ALMANZA, VIRGINIA L       181 HIDDEN SPRINGS                                                                              BURTCHVILLE         MI     48059‐3668
ALMANZAR, CANDIDO         48 LAKE AVE                                                                                     TUCKAHOE            NY     10707‐3921
ALMANZAR,YESENIA          230 RIVERSIDE DR APT 5F                                                                         NEW YORK            NY     10025‐8640
ALMAR CORP                119 S ELM ST                                                                                    NOWATA              OK     74048‐3503
ALMAR MC BRYDE            151 DURHAM AVE                                                                                  BUFFALO             NY     14215‐3009
ALMARAZ, ALFREDO D        12452 NEFF RD                                                                                   CLIO                MI     48420‐1823
ALMARAZ, BEVERLY R        2631 JASMINE LN                                                                                 PLANO               TX     75074‐5237
ALMARAZ, DOMINGO
ALMARAZ, DUBELZA
ALMARAZ, GILBERT J        1139 VALLEY FORGE DR                                                                            DEFIANCE           OH      43512‐1345
ALMARAZ, HOMERO
ALMARAZ, ISREAL           SICO WHITE & BRAUGH            900 FROST BANK PLAZA ‐ 802 N                                     CORPUS CHRISTI      TX     78470
                                                         CARANCAHUA
ALMARAZ, JOSE D           2827 W 21ST ST                                                                                  CHICAGO             IL     60623‐3505
ALMARENE HARDEMAN         2010 BAKER CIR NW                                                                               CONYERS             GA     30012‐3418
ALMARIE PETERSON          5901 BASTILLE LN                                                                                INDIANAPOLIS        IN     46254‐5166
ALMARIE TEEPLE            7370 NEFF RD                                                                                    MOUNT MORRIS        MI     48458‐1809
ALMAROAD, MELVIN D        4560 HOOPER HWY                                                                                 COSBY               TN     37722‐3083
ALMAROAD, MELVIN D        75 BROOKWOOD DR                                                                                 SOMERVILLE          AL     35670‐4613
ALMARZOUQ, MISHAL
ALMAS YONAN               4365 E ATHERTON RD                                                                              BURTON             MI      48519‐1441
ALMAS, CHARLES E          1160 ABBEY CT                                                                                   WESTLAND           MI      48185‐8519
ALMAS, JACK M             18189 VALERIE DR                                                                                HILLMAN            MI      49746‐7905
ALMAS, JOHN M             1265 JEWELL RD                                                                                  MILAN              MI      48160‐9529
ALMAS, VERNON L           2048 JUNE DR                                                                                    LAPEER             MI      48446‐8055
ALMAS, WILLIAM J          1814 SHERWOOD ST                                                                                SYLVAN LAKE        MI      48320‐1545
ALMASHY, JEANNA M         6820 STATE ROUTE 225                                                                            RAVENNA            OH      44266‐9299
ALMASHY, JOYCE A          335 DEER CREEK TRAIL                                                                            CORTLAND           OH      44410‐4410
ALMASHY, WILLIAM A        3262 ZEPHYR DR                                                                                  DAYTON             OH      45414‐5451
ALMASI, WILMA I           6851 FAIRVIEW RD                                                                                YOUNGSTOWN         OH      44515‐4314
ALMASIAN, HAMPTON         10080 BUCKINGHAM AVE                                                                            ALLEN PARK         MI      48101‐1208
ALMASRI, HOSSAM           38148 BEECHER DR                                                                                STERLING HEIGHTS   MI      48312‐1406
ALMASSY JOSEPH            4414 SPRINGBROOK DR                                                                             SWARTZ CREEK       MI      48473‐1496
ALMASSY, CRAIG L          9108 E LIPPINCOTT BLVD                                                                          DAVISON            MI      48423‐8329
ALMASSY, CRAIG LYNN       9108 E LIPPINCOTT BLVD                                                                          DAVISON            MI      48423‐8329
ALMASSY, EDWARD           G3360 BEECHER RD                                                                                FLINT              MI      48532‐3620
ALMASSY, JEFFREY A        12232 W MOUNT MORRIS RD                                                                         FLUSHING           MI      48433‐9219
ALMASSY, JEFFREY A.       12232 W MOUNT MORRIS RD                                                                         FLUSHING           MI      48433‐9219
ALMASSY, JOSEPH           4414 SPRINGBROOK DR                                                                             SWARTZ CREEK       MI      48473‐1496
ALMASSY, LEWIS            3211 COIN ST                                                                                    BURTON             MI      48519‐1539
ALMASSY, SHERRY L         8358 E POTTER RD                                                                                DAVISON            MI      48423‐8178
ALMASY, CLARK A           G4282 BRANCH RD                                                                                 FLINT              MI      48506‐1345
ALMASY, CLARK ALAN        G4282 BRANCH RD                                                                                 FLINT              MI      48506‐1345
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Name                            Address1                        Address2                        Address3            Address4                  City               State   Zip
ALMASY, GUS S                   654 ELM ST                                                                                                    MOUNT MORRIS        MI     48458‐1918
ALMASY, JEAN                    105 ARLINGTON DR                                                                                              CANONSBURG          PA     15317‐1821
ALMASY, LOUIS M                 3405 GARIANNE DR                                                                                              DAYTON              OH     45414‐2221
ALMASY, NICK E                  3434 E CARPENTER RD                                                                                           FLINT               MI     48506‐1036
ALMAWRI, ALI H                  PO BOX 39022                                                                                                  RADAA
ALMAWRI, ALI H                  PO BOX 2929                                                                         SANAA YEMEN
ALMAWRI, TAHER H                2782 ROULO ST                                                                                                 DEARBORN           MI      48120‐1545
ALMAX AUTO CARE                 3390 COACHMAN RD STE 200                                                                                      EAGAN              MN      55121‐1800
ALMAZAN ELMA                    ALMAZAN, ELMA                   5210 NE 6TH AVE SUITE 4G                                                      FT LAUDERDALE      FL      33334
ALMAZAN, LUDOVICO               10424 KEDVALE AVE                                                                                             OAK LAWN           IL      60453
ALMAZAN, MICHAEL A              5230 COOLEY LAKE RD                                                                                           WATERFORD          MI      48327‐2817
ALMAZAN, RENE S                 2876 N QUIET VALLEY DR                                                                                        TUCSON             AZ      85749
ALMAZAN, ROBERT J               117 W LARKSPUR AVE                                                                                            MCALLEN            TX      78501‐9121
ALMAZAN, ROBERTO M              205 S BRIGHTON AVE                                                                                            DALLAS             TX      75208
ALMBURG, DONNA L                61 NORTH OUTER DR                                                                                             VIENNA             OH      44473‐4473
ALMBURG, DONNA L                61 N OUTER DR                                                                                                 VIENNA             OH      44473‐9772
ALMBURG, KAREN L                3250 LYNN RD                                                                                                  CANFIELD           OH      44406‐9121
ALMBURG, LYLE R                 85 LARRY LN                                                                                                   CORTLAND           OH      44410‐9325
ALMBURG, TERRY L                730 LAKEVIEW DR                                                                                               CORTLAND           OH      44410‐1621
ALMCO INC                       507 W FRONT ST                                                                                                ALBERT LEA         MN      56007‐2751
ALMCO STEEL PRODUCTS CORP       0059 N OAK ST EXTENDED                                                                                        BLUFFTON           IN      46714
ALMCO STEEL PRODUCTS CORP       TOM SCHMIDT                     59 N. OAK ST/EXTENDED                                                         LINCOLNWOOD        IL      60645
ALMCO STEEL PRODUCTS CORP.      TOM SCHMIDT                     59 N. OAK ST/EXTENDED                                                         LINCOLNWOOD        IL      60645
ALMCO/ALBERT LEA                902 E MAIN ST                                                                                                 ALBERT LEA         MN      56007‐2973
ALMEADER KELLY                  26 OAKHILL ST                                                                                                 PONTIAC            MI      48342‐2328
ALMEDA CASEY                    3520 ALEXANDER PIKE # 313                                                                                     HIGHLAND HEIGHTS   KY      41076

ALMEDA EALEY                    3364 DURKIN CIR                                                                                               DUBLIN             OH      43017‐3611
ALMEDA EBERT                    2535 CROWN PL                                                                                                 LODI               CA      95242‐4787
ALMEDA F HARSHAW                P O BOX 571                                                                                                   XENIA              OH      45385‐0571
ALMEDA GEETING                  2923 E 6TH ST                                                                                                 ANDERSON           IN      46012‐3728
ALMEDA HARSHAW                  PO BOX 571                                                                                                    XENIA              OH      45385‐0571
ALMEDA LEONE                    34 COLLINS RD                                                                                                 BRISTOL            CT      06010‐3843
ALMEDA M YARDIC                 121 TULIP DRIVE                                                                                               W CARROLLTON       OH      45449‐2043
ALMEDA SALMERI                  3901 BATTLEGROUND AVE APT 222                                                                                 GREENSBORO         NC      27410‐8405
ALMEDA SMITH                    129 S MAIN ST                                                                                                 PENDLETON          IN      46064‐1103
ALMEDA YARDIC                   121 TULIP DR                                                                                                  W CARROLLTON       OH      45449‐2043
ALMEDIA DEBRA                   7009 CHARLESTON OAKS DR S                                                                                     MOBILE             AL      36695‐2523
ALMEIDA AUTO REPAIR             37555 DUSTERBERRY WAY STE 2                                                                                   FREMONT            CA      94536‐4959
ALMEIDA EDUARDO                 ALMEIDA, EDUARDO                10085 CARROLL CANYON RD STE 100                                               SAN DIEGO          CA      92131‐1100
ALMEIDA GUZMAN & ASOCIADOS SA   AVE AMAZONAS N39 61 Y PEREIRA   EDIF CENTRO FINANCIERO PISO 5   OFICINA 501 QUITO   EQUADOR ECUADOR
ALMEIDA JAMES (157642)          HUNTER & FEDULLO                2401 PENNSYLVANIA AVE STE 1C41                                                PHILADELPHIA        PA     19130‐7722
ALMEIDA, ANTHONY D              9 FREELAND LN                                                                                                 PALM COAST          FL     32137‐9206
ALMEIDA, ANTONIO H              PO BOX 646                                                                                                    SCOTTSVILLE         TX     75688‐0646
ALMEIDA, ANTONIO J              1743 MACY LN                                                                                                  LAWRENCEVILLE       GA     30043‐3297
ALMEIDA, ANTONIO M              10310 TUXFORD DR                                                                                              ALPHARETTA          GA     30022‐4736
ALMEIDA, DAVID                  8609 W WILDERNESS WAY                                                                                         SHREVEPORT          LA     71106‐6121
ALMEIDA, DEMAREST E             509 MADISON AVE RM 506                                                                                        NEW YORK            NY     10022‐5577
ALMEIDA, EDITH J                P.O.BOX 163                                                                                                   ROBSTOWN            TX     78380‐0163
ALMEIDA, EDITH J                PO BOX 163                                                                                                    ROBSTOWN            TX     78380‐0163
ALMEIDA, FERNANDO               FETAIS DA SERRA 4                                                                   QUINTELA DE AZUARAR
                                                                                                                    PORTUGAL 3530‐333
ALMEIDA, JAMES                  HUNTER & FEDULLO                THE PHILADELPHIA SUITE 1C‐41,                                                 PHILADELPHIA        PA     19130
                                                                2401 PENNSYLVANIA AVENUE
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Name                             Address1                         Address2                        Address3                   Address4                 City              State   Zip
ALMEIDA, JOAO L                  218 HILLSIDE RD                                                                                                      ELIZABETH          NJ     07208‐1416
ALMEIDA, JUAQUIN S               30 1ST AVE                                                                                                           CUMBERLAND          RI    02864‐1834
ALMEIDA, LUZ E                   3016 HAMPTON RD                                                                                                      PALMDALE           CA     93551‐1570
ALMEIDA, LUZ E                   3016 HAMPTON ROAD                                                                                                    PALMDALE           CA     93551‐1570
ALMEIDA, STEPHANIE M             435 WINTERGREEN DR                                                                                                   WADSWORTH          OH     44281‐8621
ALMEIDA, TONYA L                 PULASKI & MIDDLEMAN LLC          6800 WEST LOOP S STE 200                                                            BELLAIRE           TX     77401‐4536
ALMEIDA, TONYA L                 WATTS LAW FIRM                   BANK OF AMERICA PLAZA ‐ SUITE                                                       SAN ANTONIO        TX     78205
                                                                  100 ‐ 300 CONVENT STREET
ALMEIDA, VINIDIO                 2145 WESTFORD CV                                                                                                     CUMMING           GA      30041‐7446
ALMEIDA,PAUL J                   5 WYCKOFF CT                                                                                                         ASBURY            NJ      08802
ALMEIDA‐BARCA, YVONNE            114 65TH ST                                                                                                          WEST NEW YORK     NJ      07093‐3103
ALMENDAREZ JR, CARLOS            7463 CHURCH RD                                                                                                       IMLAY CITY        MI      48444‐9444
ALMENDAREZ, JERONIMO RODRIGUEZ   AMMONS & AMMONS LAW FIRM LLP     3700 MONTROSE BLVD                                                                  HOUSTON           TX      77006‐4624
ALMENDAREZ, JOSE C               10689 CEMETERY RD                                                                                                    ERIE              MI      48133‐9732
ALMENDAREZ, JOSE C.              10689 CEMETERY RD                                                                                                    ERIE              MI      48133‐9732
ALMENDINGER, GEORGE W            3332 RICHLAND RD                                                                                                     MARION            OH      43302‐9162
ALMENDINGER, ROSE M              16221 BONNEVILLE DR                                                                                                  TAMPA             FL      33624‐1112
ALMENDRAS DAX                    2536 TORREY AVE                                                                                                      ANN ARBOR         MI      48108‐1341
ALMER DREW                       5120 ROADRUNNER DR                                                                                                   DURANT            OK      74701‐2433
ALMER FRANK                      ALMER, FRANK                     P.O. BOX 9052                                                                       CHARLOTTSVILLE    VA      22906‐9052
ALMER, FRANK                     PO BOX 9052                                                                                                          CHARLOTTESVILLE   VA      22906‐9052
ALMER, FRANK
ALMES LOWER                      PO BOX 343                                                                                                           SWARTZ CREEK      MI      48473‐0343
ALMES ROBERT                     13695 GOLDMARK DR APT 3315                                                                                           DALLAS            TX      75240‐4215
ALMES W LOWER                    PO BOX 343                                                                                                           SWARTZ CREEK      MI      48473‐0343
ALMES, MORTON                    700 E 2ND AVE APT 112                                                                                                TARENTUM          PA      15084‐2023
ALMETA BOLES                     254 LAUREL ST                                                                                                        BUFFALO           NY      14208‐2005
ALMETA C PINGLEY                 185 HALE DRIVE                                                                                                       STREETSBORO       OH      44241
ALMETA COFFEY                    1713 W DARTMOUTH ST                                                                                                  FLINT             MI      48504‐2742
ALMETA GANT                      4956 S 300 E                                                                                                         ANDERSON          IN      46017
ALMETA MUSSELL                   61740 WILLIAMSBURG DR UNIT 6                                                                                         SOUTH LYON        MI      48178‐1763
ALMETA PINGLEY                   185 HALE DR                                                                                                          STREETSBORO       OH      44241‐5713
ALMETA ROLLINS                   1137 SHARLENE DR                                                                                                     YOUNGSTOWN        OH      44511
ALMETA WALKER                    235 NEW SANDPIT ACRES                                                                                                BEDFORD           IN      47421‐5552
ALMETER, DAVID J                 71 PARMA CENTER RD                                                                                                   HILTON            NY      14468‐9316
ALMETER, JAMIE C                 2072 IRELAND RD                                                                                                      BROCKPORT         NY      14420‐9486
ALMETER, MARY E                  865 BLOECHER RD                                                                                                      STRYKERSVILLE     NY      14145‐9530
ALMETRA BEASLEY                  C/O BARRY G JOHNSON              TED MACHI & ASSOCIATES PC       1521 N COOPER ST STE 550                            ARLINGTON         TX      76016
ALMETTA BRENT                    336 NELSON ST                                                                                                        PONTIAC           MI      48342‐1544
ALMETTA STAFFORD                 16877 LAUDER ST                                                                                                      DETROIT           MI      48235‐4037
ALMEYDA CHRISTOPHER              1506 S STONEMAN AVE                                                                                                  ALHAMBRA          CA      91801‐5112
ALMEYDA, CHRISTOPHER             1506 S STONEMAN AVE                                                                                                  ALHAMBRA          CA      91801‐5112
ALMICOR ARGUMEDO                 146 W ORCHARD ST                                                                                                     PERRY             MI      48872‐8128
ALMIEDA, RODNEY A.               3238 S PULASKI RD                                                                                                    CHICAGO           IL      60623‐4919
ALMIGRIN, FAHD
ALMIHAINI, AHMAD
ALMIRA RUEHLE                    ERNST‐THAELMANN‐STR. 1           15754 HEIDESEE                  DEUTSCHLAND                GERMANY
ALMIRA RUEHLE                    ERNST‐THAELMANN‐STR. 1                                                                      15754 HEIDESEE GERMANY
ALMIROLA MOTORSPORTS INC         123 ARCHBELL POINT LN                                                                                                MOORESVILLE        NC     28117‐5971
ALMITE L MEEKINS                 PO BOX 320062                                                                                                        FLINT              MI     48532‐0002
ALMITE MEEKINS                   PO BOX 320052                                                                                                        FLINT              MI     38532‐0002
ALMO JR, HERBERT                 3009 QUEEN ST                                                                                                        FORT WAYNE         IN     46806‐3943
ALMODOVAR, ANTONIA               2239 GRANGER AVE                                                                                                     KISSIMMEE          FL     34746‐2205
ALMON BEAUDIN                    331 MILL ST                                                                                                          FARWELL            MI     48622‐9302
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Name                           Address1                        Address2                      Address3             Address4                    City               State   Zip
ALMON BRISTER                  1957 E LINCOLN RD SE                                                                                           BROOKHAVEN          MS     39601‐8702
ALMON DAIGLE                   24 EMMETT ST                                                                                                   TERRYVILLE          CT     06786‐4718
ALMON E BRADLEY                1283 BANTAS CREEK RD                                                                                           EATON               OH     45320‐9701
ALMON INGALLS                  4444 W COURT ST                                                                                                FLINT               MI     48532‐4329
ALMON LETSON                   229 HAROLD DR                                                                                                  DECATUR             AL     35603‐4111
ALMON PERRY                    8924 S VERNON RD                                                                                               DURAND              MI     48429‐9136
ALMON TAYLOR                   622 BELMONT DR                                                                                                 WATERTOWN           WI     53094‐7729
ALMON, BETTY J                 15757 FERGUSON ST                                                                                              DETROIT             MI     48227‐1568
ALMON, BETTY JEAN              15757 FERGUSON ST                                                                                              DETROIT             MI     48227‐1568
ALMON, JAMES H                 15757 FERGUSON ST                                                                                              DETROIT             MI     48227‐1568
ALMON, LANNY                   APT 511                         26540 BERG ROAD                                                                SOUTHFIELD          MI     48033‐8620
ALMON, MARGARET E              251 SUNFLOWER DR                                                                                               LAKE HAVASU CITY    AZ     86403‐6562
ALMONACY, WIENER F             1240 NE 138TH ST                                                                                               NORTH MIAMI         FL     33161‐3425
ALMOND FREIGHT LINE INC        4733 SANDY HOLLOW RD                                                                                           ROCKFORD             IL    61109‐2623
ALMOND JACKSON                 2018 PIGGOTT AVE                                                                                               EAST SAINT LOUIS     IL    62207‐1840
ALMOND JOHNNIE L (498212)      GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                                    NORFOLK             VA     23510
                                                               STREET, SUITE 600
ALMOND JR, RICHARD             4030 GREENBRIAR CT                                                                                             ROCHESTER           MI     48306‐4608
ALMOND PAUL MOREHOUSE          C/O ROBERT W PHILLIPS           SIMMONS BROWDER GIANARIS      707 BERKSHIRE BLVD   PO BOX 521                  EAST ALTON          IL     62024
                                                               ANGELIDES & BARNERD LLC
ALMOND SANDERS                 6197 E MOUNT HOPE HWY                                                                                          GRAND LEDGE        MI      48837‐9411
ALMOND, ALFRED D               2376 CHATEAUGAY ST                                                                                             FT COVINGTON       NY      12937‐1702
ALMOND, BOBBY H                8733 HUPP AVE                   C/O DAPHNE ANN HADDAN                                                          WARREN             MI      48089‐5316
ALMOND, CLAYTON J              138 COUNTY RD 43                                                                                               FORT COVINGTON     NY      12937
ALMOND, ELIZABETH K            15218 HANOVER RD                                                                                               FOWBLESBURG        MD      21155‐9749
ALMOND, ELIZABETH K            110 HOLLY TER                                                                                                  CAMBRIDGE          MD      21613‐1324
ALMOND, JIMMIE E               2160 N CENTER RD                                                                                               SAGINAW            MI      48603‐3717
ALMOND, JOHNNIE L              GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                                    NORFOLK            VA      23510‐2212
                                                               STREET, SUITE 600
ALMOND, JUANITA                G3484 LARCHMONT ST                                                                                             FLINT              MI      48532‐4943
ALMOND, JUANITA                G‐3484 LARCHMONT AVE                                                                                           FLINT              MI      48532‐4943
ALMOND, JUDY                   2881 MACEDON CENTRE ROAD        LOT 89                                                                         PALMYRA            NY      14522
ALMOND, LAURA V                1400 S SANDSTONE PASS                                                                                          LENNON             MI      48449‐9625
ALMOND, MARCEL J               2122 STATE ROUTE 37                                                                                            FT COVINGTON       NY      12937‐2919
ALMOND, MARCEL JAMES           2122 STATE ROUTE 37                                                                                            FT COVINGTON       NY      12937‐2919
ALMOND, MARY D                 2195 CHIPPEWA DR                                                                                               RIVERDALE          GA      30296‐1714
ALMOND, MICHAEL D              205 HINKSON BOULEVARD                                                                                          RIDLEY PARK        PA      19078‐1833
ALMOND, R B                    128 SOUTH CORY DRIVE                                                                                           EDGEWATER          FL      32141‐7222
ALMOND, R B                    128 S CORY DR                                                                                                  EDGEWATER          FL      32141‐7222
ALMOND, ROGER L                441 S LINWOOD BEACH RD                                                                                         LINWOOD            MI      48634‐9430
ALMOND, ROSIE L                436 S 13TH ST                                                                                                  SAGINAW            MI      48601‐1949
ALMOND, STANLEY A              3848 SHERWOOD DR                                                                                               DOUGLASVILLE       GA      30135‐3256
ALMONEY, JEFFERY C             47955 ANDOVER DR                                                                                               NOVI               MI      48374‐3469
ALMONEY, MABEL D               4210 CREST PLACE                                                                                               ELLICOTT CITY      MD      21043‐5421
ALMONEY,JEFFERY C              47955 ANDOVER DR                                                                                               NOVI               MI      48374‐3469
ALMONTASER SALEH A (460737)    WEITZ & LUXENBERG P.C.          180 MAIDEN LANE                                                                NEW YORK           NY      10038
ALMONTASER, SALEH A            WEITZ & LUXENBERG P.C.          180 MAIDEN LANE                                                                NEW YORK           NY      10038
ALMONTE, JOSE A                310 E BRINKERHOFF AVE                                                                                          PALISADES PARK     NJ      07650‐2023
ALMONTE, MARIA                 310 E BRINKERHOFF AVE                                                                                          PALISADES PARK     NJ      07650‐2023
ALMONTE, OSIRIS                10710 LACROSSE ST                                                                                              HOUSTON            TX      77029
ALMONTE, OSIRIS                10710 LA CROSSE ST                                                                                             HOUSTON            TX      77029‐2116
ALMOST HEAVEN NATURAL SPRING   9056 EUCLID AVE                                                                                                MANASSAS           VA      20110‐5308
ALMOTEX/GERMANY                GUTENBERGSTRASSE 10‐14                                                             DEIZISAU GE 73779 GERMANY
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Name                         Address1                             Address2                      Address3   Address4                 City              State Zip
ALMOUSA, SALEM
ALMQUIST DONALD J (630477)   GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                       NORFOLK            VA   23510
                                                                  STREET, SUITE 600
ALMQUIST, BEVERLY J          3628 WOODGLEN WAY                                                                                      ANDERSON           IN   46011‐1675
ALMQUIST, DONALD J           GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                       NORFOLK            VA   23510‐2212
                                                                  STREET, SUITE 600
ALMQUIST, DONALD J           7249 LANDS END CIR                                                                                     NOBLESVILLE        IN   46062‐9416
ALMQUIST, LINDA
ALMQUIST, MERRILL L          PO BOX 962                           5411 E. SUGAR BUSH LN                                             LELAND            MI    49654‐0962
ALMQUIST, NANCY A            139 LYNHURST DRIVE                                                                                     CROSSVILLE        TN    38558‐6466
ALMSTADT MARLENE             UNIT 32                              2273 LONDON BRIDGE DRIVE                                          ROCHESTER HLS     MI    48307‐4262
ALMSTADT, CINDY L            2273 LONDON BRIDGE DR UNIT 32                                                                          ROCHESTER HILLS   MI    48307‐4262
ALMSTED, PAULETTE M          2908 SUNNYSIDE CIR                                                                                     BURNSVILLE        MN    55306‐6951
ALMSTEDT, KAYLA M            26 SPENCER VALLEY DR                                                                                   SAINT PETERS      MO    63376‐2557
ALMUS ROSS                   2100 GEORGE BROWN RD                                                                                   RIPLEY            TN    38063‐7614
ALMY JR, JERRY R             124 HOLIDAY ST                                                                                         ALMA              MI    48801‐2336
ALMY, JACK H                 1925 FAIRFIELD ST                                                                                      SAGINAW           MI    48602‐3227
ALMY, JENNIFER L             565 NYLON ST                                                                                           SAGINAW           MI    48604‐2120
ALMY, MAGEN B                846 COMMONWEALTH ST                                                                                    SAGINAW           MI    48604‐1106
ALMY, RICHARD C              8373 FAIRLANE DR APT 10                                                                                BIRCH RUN         MI    48415‐9778
ALMY, VIRGINIA L             2365 SOUTH BRENNAN RD                                                                                  HEMLOCK           MI    48626
ALMY, VIRGINIA L             2365 S BRENNAN RD                                                                                      HEMLOCK           MI    48626‐8747
ALMY, VIRGINIA T             703 TULANE ST                                                                                          SAGINAW           MI    48604‐2250
ALMY, VIRGINIA T             703 TULANE                                                                                             SAGINAW           MI    48604‐2250
ALMY, WILLIAM H              2365 S BRENNAN RD                                                                                      HEMLOCK           MI    48626‐8747
ALMY, WILLIAM T              5351 SCHAEFFER RD                                                                                      IONIA             MI    48846‐9765
ALNASERY CONSULTING          PO BOX 505                                                                                             LOWELL            AR    72745‐0505
ALNASERY CONSULTING LLC      PO BOX 505                           3919 THORNBURY DR                                                 LOWELL            AR    72745‐0505
ALNASERY CONSULTING LLC      PO BOX 505                           ALNASERY CONSULTING                                               LOWELL            AR    72745‐0505
ALNER LUKAS                  PZIVAT BANZ AG C/O MORAUCIE          OPERNGASSE 2                             A‐1010 WIEN AUSTRIA
ALNETA STUBBLEFIELD          PO BOX 201                                                                                             CORNING            AR   72422‐0201
ALNETTA MOORE                2502 N TREMONT ST                                                                                      KANSAS CITY        KS   66101‐1340
ALNISA NURURDIN              5317 CENTURY AVE APT 6                                                                                 MIDDLETON          WI   53562‐2042
ALO, LULIA H                 418 S PAPA AVE APT A                                                                                   KAHULUI            HI   96732‐1735
ALODIA BUTTS                 APT 9                                221 SOUTH HOLT DRIVE                                              STURGIS            KY   42459‐1756
ALOFS MANUFACTURING CO       345 32ND ST SW                       CLE SIMS                                                          GRAND RAPIDS       MI   49548
ALOHA AUTO AUCTION           KAPALAMA MILITARY RESERVATION BLDG                                                                     HONOLULU           HI   96819
                             905
ALOHA AUTO AUCTION           1001 AHUA ST                                                                                           HONOLULU          HI    96819‐4412
ALOHA FREIGHTWAYS INC        1720 W CORTLAND CT                                                                                     ADDISON           IL    60101‐4208
ALOHA HILTON                 11904 FOUNTAINVIEW BLVD                                                                                BRUCE TWP         MI    48065‐3839
ALOHA PETROLEUM, LTD.        1132 BISHOP ST.                                                                                        HONOLULU          HI    96813
ALOHA SELF                   3326 N 13TH ST                                                                                         ROGERS            AR    75756‐6827
ALOHA UNITED WAY             PO BOX 1096                                                                                            HONOLULU          HI    96808‐1096
ALOI, ANTHONY J              5815 GERALD AVE                                                                                        PARMA             OH    44129‐3307
ALOI, JOHN L                 9 ROBERTS DR                                                                                           WESTAMPTON        NJ    08060‐4401
ALOI, MARION                 12415 HANFORD CT                                                                                       MONROVIA          MD    21770‐8729
ALOI, PETER J                152 SHERWOOD AVE                                                                                       SYRACUSE          NY    13203‐3128
ALOIAN, S M                  PO BOX 118                                                                                             BARNHART          MO    63012‐0118
ALOIAN, S MICHAEL            PO BOX 118                                                                                             BARNHART          MO    63012‐0118
ALOIS BOLDEN                 3919 SHREVE AVE                                                                                        SAINT LOUIS       MO    63115‐2038
ALOIS BREY                   KURT‐SCHUMACHER‐STR. 56                                                       97422 SCHWEINFURT
                                                                                                           GERMANY
ALOIS BREY                   KURT‐SCHUMACHER‐STR. 56              97422 SCHWEINFURT
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Name                   Address1                          Address2                      Address3   Address4                  City            State   Zip
ALOIS GARECHT          1123 MITCHELL ST                                                                                     JANESVILLE       WI     53546‐5526
ALOIS GLASER           8555 28 MILE RD                                                                                      WASHINGTON       MI     48094‐1505
ALOIS HUNKA            8952 MOUNT OLIVET RD                                                                                 CHAMBERSBURG     PA     17202‐9526
ALOIS KELLER           106 N WATERTOWN ST                                                                                   WAUPUN           WI     53963‐1543
ALOIS MARX             KAPLAN SCHLICKER STR 15                                                    56743 MENDIG GERMANY
ALOIS PRANTER          VIA ADIGE 37                                                               39025 NATURNO BZ ITALY
ALOIS PRANTER          ETSCHANGERSTR. 37                 39025 NATURNS ‐ ITALY
ALOIS ROTHDEUTSCH      1972 BALDWIN RD                                                                                      YORKTOWN         NY     10598‐4008
                                                                                                                            HEIGHTS
ALOIS ROTHDEUTSCH      45 UNADILLA RD                                                                                       PUTNAM VALLEY    NY     10579‐2127
ALOIS SCHULTZ          3009 LUELLA LN                                                                                       SPRINGPORT       MI     49284‐9312
ALOIS SINIAWA          121 BRYAN J DR                                                                                       HOUGHTON LAKE    MI     48629‐9360
ALOIS SULAK            2504 MONTERREY ST                                                                                    ARLINGTON        TX     76015‐1318
ALOIS, ALFRED F        2315 LITTLE RD                    FOX RUN ESTATES               APT 204                              ARLINGTON        TX     76016‐6328
ALOIS, LOUIS J         1909 CLOISTERS DRIVE              CONDO 1025                                                         ARLINGTON        TX     76011
ALOISI, MARY           1785 SCARLETT DRIVE                                                                                  PITTSBURG        PA     15241
ALOJZIJA ZELENKA       111 S LINCOLN ST                                                                                     WESTMONT         IL     60559‐1915
ALOK KUMAR             8 MAPLE AVE FL 2                                                                                     EASTCHESTER      NY     10709‐3108
ALOMA UNDERWOOD        2100 MOUNT FOREST RD                                                                                 BENTLEY          MI     48613‐9696
ALOMAR GABRIEL D       3622 OGEMA AVE                                                                                       FLINT            MI     48507‐1839
ALOMAR, CARLOS L       1437 CHARWOOD RD                                                                                     MT MORRIS        MI     48458
ALOMAR, GABRIEL D      3622 OGEMA AVE                                                                                       FLINT            MI     48507‐1839
ALOMAR, GABRIEL D.     3622 OGEMA AVE                                                                                       FLINT            MI     48507‐1839
ALOMAR, SHARON Y       3650 RUE FORET                                                                                       FLINT            MI     48532
ALON WALD
ALONA J HILL           2009 W RIVERVIEW AVE                                                                                 DAYTON          OH      45402
ALONCI, ROSETTA        641 BROOKS AVE                                                                                       ROCHESTER       NY      14619‐2232
ALONDA M CAREY         1021 SHAKSPEAR                                                                                       DAYTON          OH      45417
ALONDA MASSEY
ALONDA SIMS            6518 SALLY CT                                                                                        FLINT           MI      48505‐2551
ALONDA WILSON          ISABELL HARTER HOUSE              600 MAIN STREET ROOM 104S                                          ANDERSON        IN      46016
ALONDRA SCOTT          549 GREAT OAKS MEADOW DR                                                                             WENTZVILLE      MO      63385
ALONGE, ROY J          2410 GRAND AVE                                                                                       NIAGARA FALLS   NY      14301‐2426
ALONGI, JOHN P         11736 BANBRIDGE DR                                                                                   ROSCOE          IL      61073‐9216
ALONGI, NORMA J        5584 FREDONIA DR                                                           NIAGARA FALLS ONTARI
                                                                                                  CANADA L2J‐3M9
ALONSO CABRERA         64 JOHN ST                                                                                           TARRYTOWN        NY     10591‐3917
ALONSO GARCIA CHAVEZ   CALLE 19 N‐82                     SAN PEDRO DE LOS PINOS MXDF              MEXICO DF, 03800 MEXICO
ALONSO GUERRERO        5750 RANCH PRAIRIE TRL                                                                               KATY            TX      77449‐0038
ALONSO HUDDLESTON      4053 TOWNVIEW DR                                                                                     FLINT           MI      48532‐2732
ALONSO JR, RUBEN       1201 S OCEAN DR APT 609S                                                                             HOLLYWOOD       FL      33019
ALONSO MORENO          12814 OAKDALE STREET                                                                                 SOUTHGATE       MI      48195‐1017
ALONSO P HUDDLESTON    4053 TOWNVIEW DR                                                                                     FLINT           MI      48532‐2732
ALONSO RIVERA          4141 BURROWS ST                                                                                      SAGINAW         MI      48638‐6609
ALONSO V RUIZ          15373 HAYFORD ST                                                                                     LA MIRADA       CA      90638‐5306
ALONSO VEGA            3660 VISTA CAMPANA N UNIT 31                                                                         OCEANSIDE       CA      92057‐8106
ALONSO, ALFREDO D      37430 GIAVON ST                                                                                      PALMDALE        CA      93552‐4705
ALONSO, BARBARA L      32 EVANS AVE                                                                                         YOUNGSTOWN      OH      44515‐1621
ALONSO, CARLOS         4161 E TREMONT AVE                                                                                   BRONX           NY      10465‐3348
ALONSO, CARLOS J       2718 LINWOOD AVE                                                                                     BALTIMORE       MD      21234‐5629
ALONSO, DAVID L        RR 1 BOX 208                                                                                         FLEMINGTON      WV      26347
ALONSO, DOMINGO A      H5 CALLE ANDALUCIA                                                                                   CAROLINA        PR      00983‐1506
ALONSO, JAVIER D       59681 WOODLAND TER                                                                                   SAINT HELENS    OR      97051‐3511
ALONSO, JORGE D        PO BOX 1812                                                                                          LITTLEROCK      CA      93543‐5812
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Name                  Address1                        Address2                     Address3   Address4               City            State Zip
ALONSO, JOSE G        3020 17TH ST                                                                                   SANTA MONICA     CA 90405‐5904
ALONSO, JUDY M        7544 W 61ST PL                                                                                 SUMMIT ARGO       IL 60501‐1618
ALONSO, JUDY M        7544 W 61ST PLACE                                                                              SUMMIT ARGO       IL 60501
ALONSO, JULIE B       63 EVANS AVE                                                                                   AUSTINTOWN       OH 44515‐1622
ALONSO, MARIA T       26342 JOE DRIVE                                                                                WARREN           MI 48091‐1056
ALONSO, MARIA T       26342 JOE DR                                                                                   WARREN           MI 48091‐1056
ALONSO, RAFAEL        8101 BIG SPRING CT                                                                             FORT WORTH       TX 76120‐5624
ALONSO, RODOLFO D     12943 BLYTHE ST                                                                                NORTH HOLLYWOOD CA 91605‐1945

ALONSO, SAMUEL K      10544 MARYLAND AVE                                                                             REMINDERVILLE      OH   44202‐8504
ALONZA ALEXANDER      240 BRANCHWOOD DR                                                                              COVINGTON          GA   30016‐4567
ALONZA BATTLE         14247 WILFRED ST                                                                               DETROIT            MI   48213‐1516
ALONZA COLVIN         2926 S OUTER DR                                                                                SAGINAW            MI   48601‐6988
ALONZA IVEY           3222 PHILLY WAY                                                                                ANDERSON           IN   46013‐9587
ALONZA JACK           4362 W CROSS ST                                                                                ANDERSON           IN   46011‐9027
ALONZA LADNER         7861 SW 180TH TER                                                                              PALMETTO BAY       FL   33157‐6220
ALONZA NIPPER         518 CHASE ST                                                                                   INDIANAPOLIS       IN   46221‐1236
ALONZA SKIPPER        2282 YORKSHIRE PL                                                                              KETTERING          OH   45419‐2832
ALONZA STEWART        PO BOX 29031                                                                                   SAINT LOUIS        MO   63112‐0731
ALONZA WATKINS        14825 OHIO ST                                                                                  DETROIT            MI   48238‐1748
ALONZI JR, VINCENT    7370 PERRY LAKE RD                                                                             CLARKSTON          MI   48348‐4649
ALONZI, DOLORES H     7370 PERRY LAKE RD                                                                             CLARKSTON          MI   48348‐4649
ALONZI, RHONWYNNE J   5201 BINGHAM ST                                                                                DEARBORN           MI   48126‐3303
ALONZI, SCOTT A       7751 VERNIER LN                                                                                IRA                MI   48023‐2440
ALONZO A WALKER       158 MARK AVE                                                                                   PONTIAC            MI   48341‐1350
ALONZO ALLEN          PO BOX 15                                                                                      HERRON             MI   49744‐0015
ALONZO ANTHONY        17186 PARKSIDE ST                                                                              DETROIT            MI   48221‐2713
ALONZO ATKINSON       862 LAKESIDE DR                                                                                MARION             IN   46953‐5392
ALONZO BAILEY         3555 YORKSHIRE RD                                                                              DETROIT            MI   48224‐2323
ALONZO BARNES         511 CAMBRIDGE AVE                                                                              BUFFALO            NY   14215‐3123
ALONZO BISHOP         5381 SUNNYSLOPE RD APT 8                                                                       MAPLE HEIGHTS      OH   44137‐3135
ALONZO BOBO JR        1866 SHAKER HEIGHTS DR                                                                         BLOOMFIELD HILLS   MI   48304‐1152
ALONZO BORUM          1395 COUNTY ROAD 47                                                                            TUSKEGEE           AL   36083‐6013
ALONZO BRINSON        4716 BLUEJACKET RD                                                                             CINCINNATI         OH   45244‐1704
ALONZO BRYANT         4619 EBERLINE CT                                                                               STONE MTN          GA   30083‐4331
ALONZO BURNEY JR      2119 TIMBER CREEK DR E                                                                         CORTLAND           OH   44410‐1766
ALONZO BURRIS         25 GOLF VIEW DR APT B5                                                                         NEWARK             DE   19702‐1722
ALONZO CALVILLO       1273 SUNDOWN LN                                                                                SAN JOSE           CA   95127‐4047
ALONZO CHEERS I I I   5353 N DYEWOOD DR                                                                              FLINT              MI   48532‐3322
ALONZO COOPER         BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                                     BOSTON HEIGHTS     OH   44236
ALONZO COULBOURNE     1906 GRAVES RD                                                                                 HOCKESSIN          DE   19707‐9714
ALONZO COULBOURNE     PO BOX 452                                                                                     ODESSA             DE   19730‐0452
ALONZO CULLENS        5836 CROSS CREEK CIR APT J                                                                     INDIANAPOLIS       IN   46254‐4743
ALONZO D MOORE        20698 WOODMONT ST                                                                              HARPER WOODS       MI   48225‐1868
ALONZO DAVIS          10665 E COUNTY ROAD 100 N                                                                      INDIANAPOLIS       IN   46234‐1274
ALONZO DIRR           17777 DEF PAULDING CO LINE RD                                                                  DEFIANCE           OH   43512‐8894
ALONZO DRAKE          15222 SEYMOUR RD                                                                               LINDEN             MI   48451‐9774
ALONZO EARL           1004 23RD ST                                                                                   BEDFORD            IN   47421‐4828
ALONZO EDWARDS        1492 APPLE RIDGE TRL                                                                           GRAND BLANC        MI   48439‐4966
ALONZO ELSWICK JR     2543 WOODWAY AVE                                                                               DAYTON             OH   45406‐2153
ALONZO ELSWICK JR     2543 WOODWAY AVE.                                                                              DAYTON             OH   45406‐2153
ALONZO ENGLISH        3518 STANFORD PL                                                                               DAYTON             OH   45406‐3639
ALONZO ENGLISH        3518 STANFORD PL                                                                               DAYTON             OH   45406‐3639
ALONZO ERVING         19014 EDINBOROUGH RD                                                                           DETROIT            MI   48219‐2861
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Name                    Address1                       Address2                    Address3             Address4                 City            State   Zip
ALONZO FARROW JR        16140 HIGHWAY 51                                                                                         HAZLEHURST       MS     39083‐9635
ALONZO FIELDS           440 WESTCOMBE AVENUE                                                                                     FLINT            MI     48503‐2307
ALONZO FIELDS           6801 FLEMING RD                                                                                          FLINT            MI     48504‐1660
ALONZO FOWLER           170 BRIAR PATCH RD                                                                                       COVINGTON        GA     30014‐1086
ALONZO GOODMAN          216 W CORNELL AVE                                                                                        PONTIAC          MI     48340‐2724
ALONZO GOREE            20117 HEYDEN ST                                                                                          DETROIT          MI     48219‐2012
ALONZO GUADERRAMA       1752 RT 20 EAST                                                                                          NORWALK          OH     44857
ALONZO GUY              3137 MATSON ST APT 5                                                                                     TOLEDO           OH     43606‐2113
ALONZO GUY              4417 ASBURY DR                                                                                           TOLEDO           OH     43612‐1809
ALONZO GWYNN            779 E STATE ST                                                                                           TRENTON          NJ     08609‐1409
ALONZO HOHEIMER JR.     522 N RUSH ST                                                                                            FAIRMOUNT        IN     46928‐1355
ALONZO HUDSON           4406 MOUNTVIEW RD                                                                                        BALTIMORE        MD     21229‐2835
ALONZO HUDSON           8025 WILDWOOD DR                                                                                         CEDAR HILL       MO     63016‐2117
ALONZO HURSIN           PO BOX 303                                                                                               PORT AUSTIN      MI     48467‐0303
ALONZO J LATTIMORE JR   1250 STUBEN DR                                                                                           DAYTON           OH     45417
ALONZO JARMAN           16509 E 29TH TER S                                                                                       INDEPENDENCE     MO     64055‐2238
ALONZO JOHNSON          165 HIGHLAND RD                                                                                          PENN HILLS       PA     15235‐3008
ALONZO JOHNSON          PO BOX 14363                                                                                             SAGINAW          MI     48601‐0363
ALONZO JONES            2425 SW 91ST ST                                                                                          OKLAHOMA CITY    OK     73159‐6807
ALONZO JR, NICHIE O     10515 E JEFFERSON RD                                                                                     WHEELER          MI     48662‐9719
ALONZO KENDRICK         48671 SOUTH INNER STATE 94     SERVICE DR                                                                BELLEVILLE       MI     48111
ALONZO L FIELDS         6801 FLEMING RD                                                                                          FLINT            MI     48504‐1660
ALONZO LAMB             2640 W STATE ROAD 234                                                                                    KINGMAN          IN     47952‐8434
ALONZO LECATES          234 S THISTLE WAY                                                                                        NEWARK           DE     19702‐4083
ALONZO LONG             1309 ELKE CIR                                                                                            COPPERAS COVE    TX     76522‐1459
ALONZO MANS JR          816 IRVINGTON AVE                                                                                        LANSING          MI     48910‐4702
ALONZO MARES            ROBERT W PHILLIPS              SIMMONS BROWDER GIANARIS    707 BERKSHIRE BLVD   PO BOX 521               EAST ALTON        IL    62024
                                                       ANGELIDES & BARNERD LLC
ALONZO MARKS            PO BOX 85                                                                                                MIDDLETOWN      IN      47356‐0085
ALONZO MARTINEZ         3445 HOLLAND AVE APT 10J                                                                                 BRONX           NY      10467‐6138
ALONZO MAYES            3000 SE 56TH ST                                                                                          OKLAHOMA CITY   OK      73135‐1620
ALONZO MIRACLE          PO BOX 416                                                                                               MIDDLESBORO     KY      40965‐0416
ALONZO MONCRIEF         285 DELLWOOD AVE                                                                                         PONTIAC         MI      48341‐2738
ALONZO MOORE            20698 WOODMONT ST                                                                                        HARPER WOODS    MI      48225‐1868
ALONZO MORRIS           656 NATHAN PL                                                                                            DAYTON          OH      45409‐‐ 29
ALONZO NORMAN           1565 PEBBLE BEACH DR                                                                                     PONTIAC         MI      48340‐1371
ALONZO ORTIZ            7756 ROSEMONT AVE                                                                                        DETROIT         MI      48228‐5426
ALONZO PAEZ             503 E OLIVER ST                                                                                          OWOSSO          MI      48867‐2439
ALONZO PARRA            1910 BARNABY LAKE RD                                                                                     EUREKA          MT      59917‐9245
ALONZO PATTON           5020 ROCKLAND DR                                                                                         DAYTON          OH      45406‐1239
ALONZO PAUL             7057 WEST BLVD APT 143                                                                                   BOARDMAN        OH      44512‐4322
ALONZO PHILLIPS         2300 ENON RD SW                                                                                          ATLANTA         GA      30331‐7881
ALONZO R LAPPIN SR      305 S H ST                                                                                               TILTON          IL      61833‐7826
ALONZO RALSTON JR       5099W C R 200 N                                                                                          NEW CASTLE      IN      47362
ALONZO REED             C/O WILLIAMS KHERKHER HART &   8441 GULF FREEWAY STE 600                                                 HOUSTON         TX      77007
                        BOUNDAS LLP
ALONZO RIGGANS JR       2236 TROOP STREET                                                                                        KANSAS CITY     KS      66104
ALONZO RIGGANS JR       2236 TROUP AVE                                                                                           KANSAS CITY     KS      66104‐4830
ALONZO S JONES          PO BOX 321041                                                                                            FLINT           MI      48532‐0018
ALONZO SAMPSON          340 BARBARA LN                                                                                           SAGINAW         MI      48601‐9487
ALONZO SAWYER           1116 CARTER DR                                                                                           FLINT           MI      48532‐2714
ALONZO SHARP            1725 JACKSON RD                                                                                          COLUMBUS        OH      43223‐2533
ALONZO SIMPKINS IV      2113 BEGOLE ST                                                                                           FLINT           MI      48504‐3178
ALONZO SMITH            PO BOX 1490                                                                                              LOCKPORT        NY      14095‐1490
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Name                     Address1                          Address2                     Address3   Address4                City               State   Zip
ALONZO STEWART           18438 SUNDERLAND RD                                                                               DETROIT             MI     48219‐2846
ALONZO TAYLOR JR         716 IRVING PARK AVE                                                                               SAGINAW             MI     48601‐6219
ALONZO TIJERINA          1224 E LOMA VISTA DR                                                                              TEMPE               AZ     85282‐2516
ALONZO TOLEFREE          3239 MONTGOMERY ST                                                                                DETROIT             MI     48206‐2313
ALONZO UNDERWOOD         213 TELEVISION HILL RD                                                                            HOT SPRINGS         AR     71913‐6520
ALONZO V PAUL            7057 WEST BLVD APT 143                                                                            YOUNGSTOWN          OH     44512‐4322
ALONZO VILLARREAL JR     6406 BINALONG DR                                                                                  KATY                TX     77449‐7659
ALONZO VOLTZ             17828 ROAD 8                                                                                      CECIL               OH     45821‐9520
ALONZO WAGERS            1655 S HIGHLAND AVE APT J388                                                                      CLEARWATER          FL     33756‐6368
ALONZO WALKER            158 MARK AVE                                                                                      PONTIAC             MI     48341‐1350
ALONZO WAYNE MILLER SR   WEITZ & LUXENBERG PC              700 BROADWAY                                                    NEW YORK CITY       NY     10003
ALONZO WILKERSON         PO BOX 1632                                                                                       OCALA               FL     34478‐1632
ALONZO WILLHITE          14007 ARCOLA ST                                                                                   LIVONIA             MI     48154‐4633
ALONZO WILLIAMS          27702 SUTHERLAND ST                                                                               SOUTHFIELD          MI     48076‐7435
ALONZO WILLIAMS          108 GREEN HILL RD                                                                                 FLORENCE            MS     39073‐8465
ALONZO WILLIAMS          BEVAN & ASSOCIATES LPA INC        6555 DEAN MEMORIAL PARKWAY                                      BOSTON HEIGHTS      OH     44236
ALONZO WILLIS            32 ELMWOOD LN                                                                                     WILLINGBORO         NJ     08046‐2209
ALONZO WOOLRIDGE         4404 JOHN REAGAN ST                                                                               MARSHALL            TX     75672‐2524
ALONZO WRENN             218 S 10TH ST                                                                                     SAGINAW             MI     48601‐1807
ALONZO YOUNG             279 CHURCH POINT LN                                                                               COLONIAL BCH        VA     22443‐5073
ALONZO, CAROLE A         7232 DANBROOKE                                                                                    WEST BLOOMFIELD     MI     48322‐2927

ALONZO, ELUI S           5362 OLDE SHAWBORO RD                                                                             GRAND BLANC         MI     48439‐8631
ALONZO, JOSE L           23520 SAN FERNANDO RD APT 1                                                                       NEWHALL             CA     91321‐3120
ALONZO, LAMINA M         10639 BALFOUR RD                                                                                  DETROIT             MI     48224
ALONZO, OWENS
ALONZO, ROBERT M         306 LINER LN APT B                                                                                CHATTANOOGA         TN     37421‐5139
ALONZO, WILLIAM S        20965 LAHSER RD APT 602                                                                           SOUTHFIELD          MI     48033‐4440
ALONZY BROADNAX          12000 TERRY ST                                                                                    DETROIT             MI     48227‐2448
ALOOT, ASUNCION F        29338 SHACKETT AVE                                                                                MADISON HTS         MI     48071‐4422
ALORANDEE GALLOWAY       2638 PALL MALL AVE                                                                                DALLAS              TX     75241‐3932
ALORE, HARRY A           13339 HIGHLAND CIR                                                                                STERLING HEIGHTS    MI     48312‐5338
ALORE, OLGA J.           21735 PLEASANT AVE                                                                                EASTPOINTE          MI     48021‐2404
ALORE, PHILIP M          1824 MYRON AVE                                                                                    LINCOLN PARK        MI     48146‐3871
ALOTECH                  1448 HEDGEWOOD LN NW                                                                              KENNESAW            GA     30152‐4513
ALOTECH LTD              1448 HEDGEWOOD LN NW                                                                              KENNESAW            GA     30152‐4513
ALOTTI, MOHAMMAD
ALOY, OSCAR              7299 BREWSTER ST                                                                                  NAVARRE             FL     32566‐6739
ALOYO, ELLIOTT           LOT 29                            2409 GREENS MILL ROAD                                           COLUMBIA            TN     38401‐6192
ALOYO, ELLIOTT           2409 GREENSMILL RD LOT 29                                                                         COLUMBIA            TN     38401
ALOYO, RENEE D           4123 S PORTSMOUTH RD                                                                              BRIDGEPORT          MI     48722‐9583
ALOYS FISCHER            ERLENBROOK 3                      48477 HOERSTEL
ALOYS FISCHER            ERLENBROOK 3                      48477 H╓RSTEL
ALOYS FUHRMANN DEC'D     KAESKE LAW FIRM                   1301 W 25TH ST STE 406                                          AUSTIN             TX      78705
ALOYS G MARTIN           6653 MERWIN CHASE, N.E.                                                                           BROOKFIELD         OH      44403‐9762
ALOYS J STIEBER JR       8858 GARDEN LN                                                                                    GREENDALE          WI      53129
ALOYS MARTIN             6653 MERWIN CHASE RD                                                                              BROOKFIELD         OH      44403‐9762
ALOYSIA LUDWIG           ROMERSTR 10                                                               80801 MUNCHEN GERMANY
ALOYSIO VIEIRA‐NETO      601 LEXINGTON AVE                 46TH FL                                                         NEW YORK           NY      10022
ALOYSIOUS ANDRZEJEWSKI   1608 S KIESEL ST                                                                                  BAY CITY           MI      48706‐5240
ALOYSIUS ADAMCZYK        304 SPRUCE ST                                                                                     BAY CITY           MI      48706‐3885
ALOYSIUS ANAGONYE        PO BOX 5311                                                                                       WARREN             MI      48090‐5311
ALOYSIUS BAMERT          PO BOX 1037                                                                                       LAKE SHERWOOD      MO      63357‐1037
ALOYSIUS DULLINGER       9120 W BANCROFT ST                                                                                HOLLAND            OH      43528‐9734
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Name                             Address1                            Address2                       Address3   Address4                 City               State Zip
ALOYSIUS EYALI                   33986 ADAMS ST                                                                                         NORTH RIDGEVILLE    OH 44039‐3208

ALOYSIUS F FISCHER               23555 S KEYSTONE WAY                                                                                   CLINTON TWP        MI   48036‐3343
ALOYSIUS FISCHER                 23555 S KEYSTONE WAY                                                                                   CLINTON TWP        MI   48036‐3343
ALOYSIUS GRZYBEK                 1200 EARHART RD                     429                                                                ANN ARBOR          MI   48105‐2768
ALOYSIUS GUZIOLEK                5608 MANTEY LN                                                                                         TOLEDO             OH   43623‐1811
ALOYSIUS HODKEY                  BEVAN & ASSOCIATES, LPA, INC.       6555 DEAN MEMORIAL PARKWAY                                         BOSTON HTS.        OH   44236
ALOYSIUS HOFFMAN                 5812 BELLE RIVER RD                                                                                    CHINA              MI   48054‐3320
ALOYSIUS IDZIK                   2146 RIDGEVIEW RD                                                                                      MT PLEASANT        PA   15666‐2215
ALOYSIUS JANOWIECKI              6804 SECOR RD                                                                                          LAMBERTVILLE       MI   48144‐9733
ALOYSIUS JASINSKI                1608 AVONDALE AVE                                                                                      TOLEDO             OH   43607‐3908
ALOYSIUS KOWALCZYK               2343 ACADEMY DR NE                                                                                     GRAND RAPIDS       MI   49503‐3905
ALOYSIUS KOWALEC                 G4367 BEECHWOOD AVE                                                                                    BURTON             MI   48509
ALOYSIUS LAGOCKI                 32564 LANCASTER DR                                                                                     WARREN             MI   48088‐6129
ALOYSIUS LESKOWICZ               64 S INMAN AVE                                                                                         AVENEL             NJ   07001‐1527
ALOYSIUS MARKER                  8614 16 1/2 MILE RD                                                                                    STERLING HTS       MI   48312‐1903
ALOYSIUS MULLEN JR               1255 TEAKWOOD LN                                                                                       BRUNSWICK          OH   44212‐2846
ALOYSIUS NOWAK                   26 KINGSTON LN                                                                                         BUFFALO            NY   14225‐4810
ALOYSIUS OLEJNICZAK              50336 OXFORD DR                                                                                        MACOMB             MI   48044‐1268
ALOYSIUS RASCHER                 14335 JAMESTOWN RD APT 8                                                                               BREESE             IL   62230‐3681
ALOYSIUS SAJDAK                  3253 CANTERBURY DR                                                                                     BAY CITY           MI   48706‐2005
ALOYSIUS SMAGACZ                 34551 MACDONALD DR                                                                                     STERLING HTS       MI   48310‐5313
ALOYSIUS SNY                     PO BOX 310381                                                                                          FLINT              MI   48531‐0381
ALOYSIUS SPITULSKI               4545 COPLAND BLVD                                                                                      TOLEDO             OH   43614‐5204
ALOYSIUS TEUBER                  10501 MILLER RD                                                                                        SWARTZ CREEK       MI   48473‐8588
ALP, ABDULLAH B                  77 HUMMINGBIRD WAY                                                                                     WEST HENRIETTA     NY   14586‐9308
ALP, ASU                         612 BALMORAL CIR                                                                                       NAPERVILLE         IL   60540‐6932
ALPA CNETERLESS PRODUCTS INC     15535 MINNESOTA AVE                                                                                    PARAMOUNT          CA   90723‐4118
ALPACA WITH A TWIST              950 S WHITE RIVER PKY WEST DR                                                                          INDIANAPOLIS       IN   46221‐1336
ALPAR, ROSE                      300 S BANANA RIVER BLVD, APT 101                                                                       COCOA BEACH        FL   32931
ALPAUGH JR, LAMBERT C            866 COURTINGTON LN APT G                                                                               FORT MYERS         FL   33919‐3242
ALPAUGH, RICHARD M               23 FORSYTHIA LN                                                                                        BEAR               DE   19701‐6301
ALPENA COMMUNITY COLLEGE         666 JOHNSON ST                                                                                         ALPENA             MI   49707‐1410
ALPENA PONTIAC‐BUICK‐GMC         307 S 3RD AVE                                                                                          ALPENA             MI   49707‐2567
ALPENA PONTIAC‐BUICK‐GMC, INC.   307 S 3RD AVE                                                                                          ALPENA             MI   49707‐2567
ALPENA TOWNSHIP TREASURER        4385 US HIGHWAY 23 N                                                                                   ALPENA             MI   49707‐7969
ALPERS, MICKI                    6117 DALLAS AVE APT A                                                                                  PENSACOLA          FL   32526‐1373
ALPERT MITCHELL                  2209 GLENMERE CT                                                                                       WALL TOWNSHIP      NJ   07719‐9743
ALPERT, LORI L                   8394 SHOVELER LN                                                                                       LIVERPOOL          NY   13090‐1048
ALPESHKUMAR PATEL                134 WALTER DR                                                                                          WOODBRIDGE         NJ   07095‐2544
ALPETER SUSAN                    19861 BARCHESTER DR                                                                                    MACOMB             MI   48044‐1746
ALPETER, ROBERT                  GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                                       SAGINAW            MI   48604‐2602
                                                                     260
ALPETER, SUSAN                   19861 BARCHESTER DR                                                                                    MACOMB             MI   48044‐1746
ALPHA ALLEN                      10136 LINCOLN RD                                                                                       CAMP DENNISON      OH   45111‐9713
ALPHA AUDIO & LIGHT GMBH         KOBALTSTRASSE 4                                                               RUSSELSHEIM 65248
                                                                                                               GERMANY
ALPHA BANGASSARO                 6158 WOODRIDGE LN                                                                                      GRAND BLANC        MI   48439‐9049
ALPHA BANK A E                   FINANCIAL MARKETS PLANNING &        40 STADIOU STREET                         102 52 ATHENS, GREECE
                                 TRADING DIVISION
ALPHA BANK A E                   PRIVATE BANKING                     5 MERLIN ST                               106 71 ATHENS GREECE
ALPHA BOLT/DETROIT               PO BOX 77374                                                                                           DETROIT            MI   48277‐0374
ALPHA BOYLSTON                   809 E ALMA AVE                                                                                         FLINT              MI   48505‐2225
ALPHA BURSTION                   4149 E 176TH ST                                                                                        CLEVELAND          OH   44128‐2227
                                    09-50026-mg           Doc 7123-3       Filed 09/24/10 Entered 09/24/10 15:05:32              Exhibit B
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Name                                Address1                           Address2                         Address3     Address4                 City              State Zip
ALPHA COMMERCIAL                    838 NORTHLAKE BLVD                                                                                        NTH PALM BEACH     FL 33408
ALPHA CONSULTING & PROCTECTIONLLC   6641 BKLACKTHORN DR                                                                                       INDIANAPOLIS       IN 43221‐4041

ALPHA CONTRACT FLOORING INC         ATTN: MICHAEL DONOVAN              594 SHERIDAN DR                                                        TONAWANDA         NY   14150‐7849
ALPHA CORP                          1‐6‐8 FUKUURA KANAZAWA‐KU                                                        YOKOHAMA KANAGAWA 236‐
                                                                                                                     0004 JAPAN
ALPHA CORP                          251 MASON RD                                                                                              HOWELL            MI   48843‐2533
ALPHA CORP                          AV CIRCUITO EL MARQUES SUR NO 16                                                 EL MARQUES QA 76246
                                                                                                                     MEXICO
ALPHA CORP                          DEAN SHEPHERD X 237                PO BOX 168/251                                                         LIGONIER          IN   46767
ALPHA COURIER SOLUTIONS             PO BOX 10233                                                                                              KNOXVILLE         TN   37939‐0233
ALPHA DIPZINSKI                     4302 SHAWNEE AVENUE                                                                                       FLINT             MI   48507‐2870
ALPHA DISTRIBUTORS INC              4700 N RONALD ST                                                                                          HARWOOD HEIGHTS   IL   60706‐3816

ALPHA EXPRESS INC                   3275 KENT ROAD SUITE 202                                                                                  STOW              OH   44224
ALPHA GEAR DRIVES INC               1249 HUMBRACHT CIR                 GST ADD 01/13/06 AH                                                    BARTLETT          IL   60103‐1606
ALPHA GRINDING INC                  12402 BENEDICT AVE                                                                                        DOWNEY            CA   90242‐3112
ALPHA HALL P                        492 DODGE ST                                                                                              BUFFALO           NY   14208‐2419
ALPHA HI‐LEX SA DE EV               AV CIRCUITO EL MARQUES SUR NO 16                                                 EL MARQUES QA 76246
                                                                                                                     MEXICO
ALPHA HUDDLESTON                    105 RANCH RD                                                                                              WINTER PARK       FL   32792‐5712
ALPHA IMAGING INC                   4455 GLENBROOK RD                                                                                         WILLOUGHBY        OH   44094‐8219
ALPHA INTE/MURFREESB                PO BOX 10127                                                                                              MURFREESBORO      TN   37129‐0003
ALPHA KAPPA ALPHA SORORITY INC      XI UPSILON OMEGA CHAPTER           PO BOX 8363                                                            FREDERICKSBURG    VA   22404‐8363
ALPHA LYNCH                         4715 ANTHONY WAYNE AVE                                                                                    FAIRFIELD         OH   45014‐1764
ALPHA MATERIAL HANDLING CO INC      8557 BASH ST STE 103               PO BOX 50394                                                           INDIANAPOLIS      IN   46250‐5524
ALPHA MATERIAL HANDLING INC         8557 BASH ST STE 103                                                                                      INDIANAPOLIS      IN   46250‐5524
ALPHA MCGRIFF                       1839 W 5TH ST                                                                                             DAYTON            OH   45417‐2566
ALPHA MCKNIGHT                      5989 STATE ROAD 58 E                                                                                      HELTONVILLE       IN   47436‐8698
ALPHA MEDIA GROUP INC.              GLENN ROSENBLOOM                   1040 6TH AVE FL 23                                                     NEW YORK          NY   10018‐3721
ALPHA MEDIA GROUP INC.              GLENN ROSENBLOOM                   1040 AVENUE OF THE AMERICAS FL                                         NEW YORK          NY   10018‐3721
ALPHA MEDIA GROUP INC.              STEPHEN DUGGAN                     1040 6TH AVENUE                  23RD FLOOR                            NEW YORK          NY   10018‐3721
ALPHA MEDIA RESOURCES INC           4274 KELLWAY CIR                                                                                          ADDISON           TX   75001‐4232
ALPHA METAL/DEXTER                  8155 HURON ST                                                                                             DEXTER            MI   48130‐1026
ALPHA NURSING SERVICES INC          820 JORDAN ST STE 308                                                                                     SHREVEPORT        LA   71101‐4519
ALPHA OHMEGA COMPUTERS              18894 REED ST                                                                                             MELVINDALE        MI   48122‐1543
ALPHA OMEGA                         ROGER YOSHINARI                    3070 SATURN ST STE 200                                                 BREA              CA   92821‐6296
ALPHA OMEGA INSTRUMENTS CORP        30 MARTIN ST                                                                                              CUMBERLAND        RI   02864
ALPHA OMEGA R&D                     30150 S WIXOM RD                                                                                          WIXOM             MI   48393‐3440
ALPHA OMEGA RESEARCH & DEVELOP      24123 HERITAGE DR                                                                                         WOODHAVEN         MI   48183‐3738
ALPHA OMEGA RESEARCH & DEVELOP      TOM O'CONNOR                       24123 HERITAGE DR                                                      WOODHAVEN         MI   48183‐3738
ALPHA OMEGA RESEARCH & DEVELOP      TOM O'CONNOR                       30150 WIXOM RD                                LENNESTADT, NW GERMANY

ALPHA OMEGA RESEARCH &              24123 HERITAGE                                                                                            WOODHAVEN         MI   48483
DEVELOPMENT
ALPHA OMEGA RESEARCH &              TOM O'CONNOR                       24123 HERITAGE DR                                                      WOODHAVEN         MI   48183‐3738
DEVELOPMENT
ALPHA OMEGA RESEARCH &              TOM O'CONNOR                       30150 WIXOM RD                                LENNESTADT, NW GERMANY
DEVELOPMENT
ALPHA OMEGA SOLUTIONS INC           3070 SATURN ST STE 200                                                                                    BREA              CA   92821‐6296
ALPHA PETTRY                        10671 REVERE                                                                                              PINCKNEY          MI   48169‐9334
ALPHA SA DE CV                      1635 OLD COLUMBIA RD                                                                                      DICKSON           TN   37055‐7705
ALPHA SA DE CV                      2100 OLD SYLACAUGA HWY                                                                                    SYLACAUGA         AL   35150‐7812
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Name                             Address1                           Address2                 Address3         Address4                     City             State Zip
ALPHA SA DE CV                   4600 G N BOOTH DR                                                            WINDSOR ON N9G 4G8
                                                                                                              CANADA
ALPHA SA DE CV                   BLVD INDUSTRIA DE LA TRANSFORMACION #3140 COLONIA PARQUE                     RAMOZ ARIZPE CZ 25900
                                                                     INDUSTRIAL                               MEXICO
ALPHA SA DE CV                   BLVD INDUSTRIA DE LATRANSFORMACION                                           RAMOS ARIZPE CZ 25900
                                                                                                              MEXICO
ALPHA SA DE CV                   IPARI PARK NYIRFA SOR                                                        GYOR HU 9027 HUNGARY
                                                                                                              (REP)
ALPHA SA DE CV                   LIBRAMIENTO ARCO VIAL KM 38                                                  LEON NL 64000 MEXICO
ALPHA SA DE CV                   LIBRAMIENTO ARCO VIAL KM 38        GARZA GARCIA NUEVO                        LEON NL 64000 MEXICO
ALPHA SA DE CV                   LIBRAMIENTO CARLOS SALINAS DE                                                FRONTERA CZ 25616 MEXICO

ALPHA SA DE CV                   LIBRAMIENTO CARLOS SALINAS DE      GORTARI KM 13.5 #2001                     CIUDAD FRONTERA CZ 25616
                                                                                                              MEXICO
ALPHA SA DE CV                   MARIE CURIE STR                                                              DILLINGEN SL 66763 GERMANY

ALPHA SA DE CV                   ZEPPELINSTRASE 24                                                            LINZ OBEROSTERREICH AT
                                                                                                              4030 AUSTRIA
ALPHA SA DE CV                   GOMEZ MORIN 1111 SUR                                                         GARZA GARCIA NL 66200        GARZA GARCIA      NL   66200
                                                                                                              MEXICO
ALPHA SERVICES INC
ALPHA SHERIFF                    4925 PEBBLE CREEK DR                                                                                      ANTIOCH          TN    37013‐1815
ALPHA STANCIL                    4027 COUNTY ROAD 223                                                                                      CLYDE            OH    43410‐9754
ALPHA TECH AUTO SERVICE          2231 SOOKE RD                                                                VICTORIA BC V9B 1W8
                                                                                                              CANADA
ALPHA TECHNOLOGIES GROUP INC                                        94 COUNTY LINE ROAD                                                                      PA   18915
ALPHA TECHNOLOGY                 DEAN SHEPHERD X 237                PO BOX 168/251                                                         LIGONIER          IN   46767
ALPHA TECHNOLOGY ASSOCIATE INC   6315 BACKLICK RD STE 300                                                                                  SPRINGFIELD       VA   22150‐2608
ALPHA TECHNOLOGY CORP            251 MASON RD                       PO BOX 168                                                             HOWELL            MI   48843‐2533
ALPHA TECHNOLOGY CORP            251 MASON RD                                                                                              HOWELL            MI   48843‐2533
ALPHA THORNE                     1170 RIVER VALLEY DR APT 1172                                                                             FLINT             MI   48532‐2931
ALPHA TRUST
ALPHA YOUNG                      2500 E BACON RD                                                                                           HILLSDALE        MI    49242‐9759
ALPHABET, CHARLES                3169 LANCER CT                                                                                            POWDER SPRINGS   GA    30127‐3621
ALPHAFORM AG                     KAPELLENSTRABE 10                                                            FELDKIRCHEN D‐85622
                                                                                                              GERMANY
ALPHAGRAPHICS                    5836 CAMP BOWIE BLVD                                                                                      FORT WORTH       TX    76107‐5008
ALPHAGRAPHICS                    801 HAMILTON STREET                                                                                       ALLENTOWN        PA    18101
ALPHAGRAPHICS                    2540 E PIONEER PKWY STE 180                                                                               ARLINGTON        TX    76010‐5202
ALPHAGRAPHICS                    8100 N POINT BLVD STE A                                                                                   WINSTON SALEM    NC    27105‐2561
ALPHARMA                         JOHN HARDIMAN                      400 CROSSING BLVD FL 7                                                 BRIDGEWATER      NJ    08807‐2863
ALPHARMA                         501 5TH STREET                                                                                            BRISTOL          TN    3760‐2304
ALPHARMA                         400 CROSSING BLVD                  FL 7                                                                   BRIDGEWATER      NJ    08807‐2863
ALPHATRONIX/BX 13687             PO BOX 13687                                                                                              DURHAM           NC    27709‐3687
ALPHATRUST                       8226 DOUGLAS AVE STE 625                                                                                  DALLAS           TX    75225‐5968
ALPHATRUST CORP                  8226 DOUGLAS AVE STE 625                                                                                  DALLAS           TX    75225‐5968
ALPHEOUS BARNES                  37315 28TH ST E                                                                                           PALMDALE         CA    93550‐6460
ALPHERA FINANCIAL SERVICES       5550 BRITTON PKWY                                                                                         HILLIARD         OH    43026‐7456
ALPHEUS COOPER                   2330 TIFFANY LN                                                                                           HOLT             MI    48842‐9778
ALPHI MANUFACTURING LLC          576 BECK ST                                                                                               JONESVILLE       MI    49250‐9472
ALPHIA PHILHOWER                 61 QUEEN ELEANOR DR                                                                                       ELKTON           MD    21921‐7010
ALPHIE I KASPER                  658 RED PINE DR                                                                                           FLINT            MI    48506‐5230
ALPHIN, DOUGLAS WADE             WEITZ & LUXENBERG                  180 MAIDEN LANE                                                        NEW YORK         NY    10038
ALPHIN, ROGER G                  501 CREST RIDGE DR                                                                                        LAKESIDE         TX    76108‐9419
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Name                     Address1                        Address2                   Address3          Address4               City              State   Zip
ALPHONCE JENNINGS JR     99 E JUDSON ST                                                                                      PONTIAC            MI     48342‐3032
ALPHONS BORKOWSKI        71 SANDY POND RD                                                                                    LINCOLN            MA     01773
ALPHONSA WILLIAMS        222 ATLANTIC AVE                                                                                    SYRACUSE           NY     13207‐2406
ALPHONSE ABBATE          5724 MARTELL DR                                                                                     TROY               MI     48085‐3160
ALPHONSE BONASSI         2002 LAKE AVE APT 316                                                                               SCOTCH PLAINS      NJ     07076‐3027
ALPHONSE BRUSKI          203 POWDERHORN DR                                                                                   HOUGHTON LAKE      MI     48629‐9336
ALPHONSE CARLISI         18117 E 13 MILE RD                                                                                  FRASER             MI     48026‐4601
ALPHONSE CASTONGUAY JR   521 SPRING VALLEY DR                                                                                COLUMBIA           TN     38401‐6115
ALPHONSE CENZI           127 EVERCLAY DR                                                                                     ROCHESTER          NY     14616‐4127
ALPHONSE DILELLO         324 CEDAR AVE                                                                                       WILMINGTON         DE     19804‐2902
ALPHONSE DOMIENIK        23770 SARAVILLA DR APT 1        BLDG. 8 W.                                                          CLINTON TWP        MI     48035‐3167
ALPHONSE E MC CULLOUGH   152 QUEENS LANE                                                                                     ROCHESTER          NY     14617‐5403
ALPHONSE GRESKOWIAK      591 W GERMAN RD                                                                                     BAY CITY           MI     48708‐9641
ALPHONSE JONES           40656 30TH ST W                                                                                     PALMDALE           CA     93551‐2514
ALPHONSE KING            757 W CAPISTRANO AVE                                                                                TOLEDO             OH     43612‐3252
ALPHONSE KORENKIEWICZ    4906 FAIR ELMS AVE                                                                                  WESTERN SPRINGS     IL    60558‐1711
ALPHONSE KUPIEC          210 VERNON RD                                                                                       MORRISVILLE        PA     19067‐4812
ALPHONSE LABERE          C/O NIX PATTERSON & ROACH LLP   GM BANKRUPTCY DEPARTMENT   205 LINDA DRIVE                          DAINGERFIELD       TX     75638
ALPHONSE MANFREDI        106 CYNTHIA WAY                                                                                     YARDVILLE          NJ     08620‐3001
ALPHONSE MARTYNOWICZ     2263 OAKLEY PL                                                                                      LAKE VIEW          NY     14085‐9728
ALPHONSE MCCOY JR        6931 WINCHESTER DR                                                                                  SAINT LOUIS        MO     63121‐2819
ALPHONSE MONDOUX         7821 BERWICK DR                                                                                     WESTLAND           MI     48185‐1481
ALPHONSE ORBAN           6252 GRAND POINT RD                                                                                 PRESQUE ISLE       MI     49777‐8469
ALPHONSE PATNEAUDE       851 WAYNE AVE                                                                                       DEFIANCE           OH     43512‐2869
ALPHONSE PIRRO           843 CENTER ST                                                                                       EAST AURORA        NY     14052‐3034
ALPHONSE SCHNIPKE        19886 RD 18‐S                                                                                       COLUMBUS GRV       OH     45830
ALPHONSE SOKOLOWSKI      441 WALL ST                                                                                         MERIDEN            CT     06450‐4457
ALPHONSE SRUBAS          14733 TIMBER LN                                                                                     BONNER SPRINGS     KS     66012‐9370
ALPHONSE VANNESTE        1087 FAIRWAY DR                                                                                     LAKE ISABELLA      MI     48893‐9336
ALPHONSE WACHSMANN       6504 CRYSTAL CT                                                                                     WACO               TX     76712‐6968
ALPHONSE ZABIELSKI       4988 PARKER RD                                                                                      HAMBURG            NY     14075‐1631
ALPHONSE, ROSEMARIE      1424 WOODVIEW RD                                                                                    YARDLEY            PA     19067‐5776
ALPHONSE, WILBERT        1424 WOODVIEW RD                                                                                    YARDLEY            PA     19067‐5776
ALPHONSINA KIEWLEN       9744 DEER RUN DR                                                                                    PONTE VEDRA        FL     32082‐3503
                                                                                                                             BEACH
ALPHONSO ABNEY           1813 CHOPIN WAY                                                                                     MODESTO           CA      95358‐8852
ALPHONSO DIXON           1333 KING RD                                                                                        RIVERDALE         GA      30296‐2912
ALPHONSO DONAN           725 E RIDGEWAY AVE                                                                                  FLINT             MI      48505‐2916
ALPHONSO EDWARDS         7689 OLD WALNUT DR                                                                                  WEST CHESTER      OH      45069‐1158
ALPHONSO ELSTON          1352 RUSSELL ST                                                                                     YPSILANTI         MI      48198‐5953
ALPHONSO EWELL           1651 LAVENDER AVE                                                                                   FLINT             MI      48504‐3011
ALPHONSO FRAZIER         4236 BAYLOR ST                                                                                      FORT WORTH        TX      76119‐3702
ALPHONSO HAGOOD          2503 CARRINGTON PARK                                                                                JONESBORO         GA      30236‐2877
ALPHONSO HARRISON        54 OHIO ST                                                                                          YPSILANTI         MI      48198‐6018
ALPHONSO HOOKER JR       6819 PARKBELT DR                                                                                    FLINT             MI      48505‐1938
ALPHONSO HUDSON          2800 WILLIAMSON RD APT 3                                                                            SAGINAW           MI      48601‐5247
ALPHONSO JOHNSON         18181 FILMORE ST                                                                                    SOUTHFIELD        MI      48075‐1824
ALPHONSO JONES JR        929 WARREN ST                                                                                       ROSELLE           NJ      07203‐2115
ALPHONSO LUMPKINS        3821 MELBA PL                                                                                       SAINT LOUIS       MO      63121‐3407
ALPHONSO NEAL SR         3305 LORD BALTIMORE DR                                                                              BALTIMORE         MD      21244‐3502
ALPHONSO OLIVER          128 ASPEN DR NW                                                                                     WARREN            OH      44483‐1175
ALPHONSO OLIVER I I      3170 LODWICK DR NW APT 6                                                                            WARREN            OH      44485‐1555
ALPHONSO POTTS           6031 LAKE HUBBARD PKWY                                                                              GARLAND           TX      75043‐4727
ALPHONSO PRESTON         927 SUMMIT ST                                                                                       DAYTON            OH      45408‐1332
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Name                             Address1                             Address2                        Address3   Address4                    City               State   Zip
ALPHONSO RIGGS                   19401 MCINTYRE ST                                                                                           DETROIT             MI     48219‐1832
ALPHONSO ROBINSON                2816 TUSCANY CIR                                                                                            SHREVEPORT          LA     71106‐8415
ALPHONSO SMITH                   6047 WOODHAVEN RD                                                                                           JACKSON             MS     39206
ALPHONSO THORNTON                465 GRAND AVE                        APT 510                                                                DAYTON              OH     45405
ALPHONSO TROTMAN                 6109 FLEMISH BLUE CT                                                                                        ELDERSBURG          MD     21784‐8448
ALPHONSO W RIGGS                 19401 MCINTYRE ST                                                                                           DETROIT             MI     48219‐1832
ALPHONSO WEATHERSPOON            609 JENNA DR                                                                                                LA VERGNE           TN     37086‐2133
ALPHONSO WEATHERSPOON            608 JENNA DR                                                                                                LA VERGNE           TN     37008‐2100
ALPHONSO WESTBROOK               2217 MATTIE LU DR                                                                                           AUBURN HILLS        MI     48326‐2428
ALPHONSO WILLIAMS                1000 CLIFFSIDE RUN                                                                                          LITHONIA            GA     30058‐6297
ALPHONSO WILLIAMS                4033 BURNS ST                                                                                               INKSTER             MI     48141‐2711
ALPHONSO WILLIAMS                385 WALNUT ST                                                                                               BUFFALO             NY     14204‐1304
ALPHONSO, VALERIE S              22651 FOX AVE APT A                                                                                         EUCLID              OH     44123‐2047
ALPHONSON BAKER                  221 BUTTERCUP LANE                                                                                          AMERICUS            GA     31709
ALPHONSUS KELLY                  663 GRISWOLD ST SE                                                                                          GRAND RAPIDS        MI     49507‐3209
ALPHONZO A ROBINSON              1187 HOLTSLANDER AVE                                                                                        FLINT               MI     48505‐1645
ALPHONZO BOWE                    925 E WELLINGTON AVE                                                                                        FLINT               MI     48503‐2713
ALPHONZO HICKS                   3909 WOODYHILL DR                                                                                           LITHONIA            GA     30038‐3662
ALPHONZO MITCHELL                19519 CRANBROOK DR APT 106           SHERWOOD HIGHTS APPTS                                                  DETROIT             MI     48221‐1570
ALPHONZO POPE JR                 PO BOX 360952                                                                                               STRONGSVILLE        OH     44136‐0016
ALPHUS RECTOR JR                 215 HUB GROCE RD                                                                                            PEYTONSBURG         KY     42717‐8743
ALPI HALID                       100 N SEPULVEDA BLVD STE 400                                                                                EL SEGUNDO          CA     90245‐5651
ALPINE ACQUISITIONS LLC          5977 ALPINE AVE NW                                                                                          COMSTOCK PARK       MI     49321‐9717
ALPINE ACQUISITIONS, LLC         DANIEL DEVOS                         5977 ALPINE AVE NW                                                     COMSTOCK PARK       MI     49321‐9717
ALPINE AUTO SERVICE              7120 E FURNACE BRANCH RD                                                                                    GLEN BURNIE         MD     21060
ALPINE AUTO SERVICE CENTER INC   GUNDERSON LTD MARK H                 3895 WARREN WAY #89509                                                 RENO                NV     89509‐5243
ALPINE AUTO SERVICE CENTER INC   C/O GUNDERSON LAW FIRM               3895 WARREN WAY # 89509                                                RENO                NV     89509‐5243
ALPINE BATT/REDFORD              11931 DIXIE                                                                                                 REDFORD             MI     48239‐2450
ALPINE BATTERY CO INC            TFI INC                              6994 RELIABLE PKWY                                                     CHICAGO              IL    60686‐0001
ALPINE BATTERY COMPANY           ALPINE POWER SYSTEM                  24355 CAPITOL                                                          REDFORD             MI     48239‐2426
ALPINE BUICK PONTIAC GMC, LLC.   IVETTE DOMINGUEZ                     8120 W TUFTS AVE                                                       DENVER              CO     80123‐1890
ALPINE BUICK‐PONTIAC‐GMC         8120 W TUFTS AVE                                                                                            DENVER              CO     80123‐1890
ALPINE BUICK‐PONTIAC‐GMC         C/O IVETTE DOMINGUEZ                 8120 W TUFTS AVE                                                       DENVER              CO     80123‐1890
ALPINE CANADA ALPIN              KEN READ, PRESIDENT                  200‐205 8TH AVENUE SE                      CALGARY AB T2P 1G2 CANADA

ALPINE CANADA ALPIN              200‐505 8 AVE SW                                                                CALGARY AB T2P 1G2 CANADA

ALPINE ELECTRONICS INC           27101 HILLS TECH CT                                                                                         FARMINGTON HILLS    MI     48331‐5725

ALPINE ELECTRONICS INC           3‐10 YOSHIMA KOGYODANCHI                                                        IWAKI FUKUSHIMA JP 970‐
                                                                                                                 1144 JAPAN
ALPINE ELECTRONICS INC           800 COMMERCE PARKWAY WEST DR STE A                                                                          GREENWOOD           IN     46143‐6101

ALPINE ELECTRONICS INC           NO 200 SHANGHAI EAST RD                                                         TAICANG JIANGSU CN 215400
                                                                                                                 CHINA (PEOPLE'S REP)

ALPINE ELECTRONICS INC           NO 200 SHANGHAI EAST RD              ECONOMIC DEVELOPMENT ZONE                  TAICANG JIANGSU CN 215400
                                                                                                                 CHINA (PEOPLE'S REP)

ALPINE ELECTRONICS INC           OTEMACHI TATEMONO GOTANDA BLDG                                                  SHINAGAWA‐KU TOKYO 141‐
                                                                                                                 0031 JAPAN
ALPINE ELECTRONICS INC           TONY KRAATZ                          800 COMMERCE PARKWAY WEST DR.                                          VENTURA             CA     93003
ALPINE ELECTRONICS MFG OF AMER   27101 HILLS TECH CT                                                                                         FARMINGTON HILLS    MI     48331‐5725
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Name                                  Address1                           Address2                      Address3   Address4                     City            State Zip
ALPINE ELECTRONICS OF AMERICA         TONY KRAATZ                        800 COMMERCE PARKWAY WEST DR.                                         VENTURA          CA 93003
ALPINE ELECTRONICS OF AMERICA         800 COMMERCE PARKWAY WEST DR STE A                                                                       GREENWOOD        IN 46143‐6101

ALPINE ELECTRONICS OF AMERICA INC     PO BOX 504167                                                                                            SAINT LOUIS     MO    63150‐0001
ALPINE ELECTRONICS OF AMERICA INC     19145 GRAMERCY PL                                                                                        TORRANCE        CA    90501‐1128
ALPINE ELECTRONICS OF AMERICA INC     800 COMMERCE PARKWAY WEST DR STE A                                                                       GREENWOOD       IN    46143‐6101

ALPINE ELECTRONICS OF AMERICA, INC.   ATT: CYNTHIA WOODRUFF‐NEER, ESQ.     19145 GRAMERCY PLACE                                                TORRANCE        CA    90501‐1162

ALPINE MANUFACTURING INC              3‐10 YOSHIMA KOGYODANCHI                                                    IWAKI FUKUSHIMA JP 970‐
                                                                                                                  1144 JAPAN
ALPINE MOTORS
ALPINE MOTORS CO., INC.              THOMAS ROBIDEAUX                      476749 HWY 95                                                       SANDPOINT       ID    83864
ALPINE MOTORS CO., INC.              476749 HWY 95                                                                                             SANDPOINT       ID    83864
ALPINE PLASTICS INC                  6775 19 MILE RD                                                                                           STERLING HTS    MI    48314‐2118
ALPINE POWER SYSTEMS                 24355 CAPITOL                                                                                             REDFORD         MI    48239‐2426
ALPINE POWER SYSTEMS INC             24355 CAPITAL AVE                                                                                         REDFORD         MI    48239
ALPINE SIERRA VENTURES AND           MS. DEANNA GESCHEIDER                 11025 PIONEER TRL UNIT 101B                                         TRUCKEE         CA    96161‐0250
HOMEWOOD VILLAGE RESORTS, LLC
ALPINE TRANSMISSION AND AUTO REPAIRS 110‐721 STATION AVE                                                          VICTORIA BC V9B 2S1 CANADA
LTD
ALPINE TWP. TREASURER                5255 ALPINE AVE NW                                                                                        COMSTOCK PARK   MI    49321‐7803
ALPINE, HELEN M                      120 VILLAGE DR                                                                                            SEVEN HILLS     OH    44131‐5709
ALPINER SUSAN                        644 VALLEY VIEW CT                                                                                        UPLAND          CA    91784‐1384
ALPIS                                853 WILLOW RUN AIRPORT                # 222                                                               YPSILANTI       MI    48198‐0899
ALPNET CANADA INC                    SDL INTERNATIONAL CANADA INC          1801 MCGILL COLLEGE AV STE1450         MONTREAL PQ H3A 2N4
                                                                                                                  CANADA
ALPREMA SA DE CV                      C HIDALGO 1581 COL                   SALVARCAR CD 32599 CD JUAREZ           CHIH MEXICO MEXICO
ALPS AUTOMOTIVE                       1500 ATLANTIC BLVD                                                                                       AUBURN HILLS    MI    48326‐1500
ALPS AUTOMOTIVE INC                   ALPS ELECTRIC INC                    1500 ATLANTIC BLVD                                                  AUBURN HILLS    MI    48326‐1500
ALPS AUTOMOTIVE INC                   1500 ATLANTIC BLVD                                                                                       AUBURN HILLS    MI    48326‐1500
ALPS AUTOMOTIVE INC                   1500 ATLANTIC BLVD                   ACCOUNT RECEIVABLES                                                 AUBURN HILLS    MI    48326‐1500
ALPS ELEC/AUBURN HIL                  6909 S 33RD ST                       C/O ALPS ELECTRIC USA INC.                                          MCALLEN         TX    78503‐8852
ALPS ELEC/AUBURN HIL                  1500 ATLANTIC BLVD                                                                                       AUBURN HILLS    MI    48326‐1500
ALPS ELEC/AUBURN HIL                  6‐3‐36 NAKAZATO                                                             FURUKAWA MIYAGI JP 98961
                                                                                                                  JAPAN
ALPS ELEC/KOREA                       970‐1 JANGDUK DONG                   KWANGSAN‐GU                            KWANGJU SEOUL KR 506 732
                                                                                                                  SOUTH KOREA
ALPS ELECTRIC
ALPS ELECTRIC CO                      6‐3‐36 NAKAZATO                                                             FURUKAWA MIYAGI 989‐6143
                                                                                                                  JAPAN
ALPS ELECTRIC CO LTD
ALPS ELECTRIC CO LTD                  1‐2‐1 OKINOUCHI                                                             SOMA FUKUSHIMA JP 976‐
                                                                                                                  0013 JAPAN
ALPS ELECTRIC CO LTD                  1500 ATLANTIC BLVD                                                                                       AUBURN HILLS    MI    48326‐1500
ALPS ELECTRIC CO LTD                  1‐7 YUKIGAYAOTSUKAMACHI                                                     OTA KU TOKYO 145‐0067
                                                                                                                  JAPAN
ALPS ELECTRIC CO LTD                  1‐7 YUKIGAYAOTSUKAMACHI              ALPS ELECTRIC HONSHA BLDG              OTA KU TOKYO JP 145‐0067
                                                                                                                  JAPAN
ALPS ELECTRIC CO LTD                  6 HANZHENG RD JINZHOU DISTRICT                                              DALIAN LIANONING 116100
                                                                                                                  CHINA (PEOPLE'S REP)
ALPS ELECTRIC CO LTD                  6‐3‐36 NAKAZATO                                                             FURUKAWA MIYAGI 989‐6143
                                                                                                                  JAPAN
ALPS ELECTRIC CO LTD                  7100 INTERNATIONAL PKY                                                                                   MCALLEN          TX   78503
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Name                          Address1                            Address2                    Address3             Address4                  City              State Zip
ALPS ELECTRIC CO LTD          970‐1 JANGDEOK‐DONG GWANGSAN‐GU                                                      GWANGJU GWANGJU KR 506
                                                                                                                   732 KOREA (REP)
ALPS ELECTRIC CO LTD          970‐1 JANGDUK DONG KWANGSAN‐GU                                                       KWANGJU SEOUL 506 732
                                                                                                                   KOREA (REP)
ALPS ELECTRIC CO LTD          INDUSTRIAL DEL NORTE LOTE 1Y2 MC5                                                    REYNOSA TM 88730 MEXICO

ALPS ELECTRIC CO LTD          LORI TOMASSI                        C/O ALPS ELECTRIC USA INC   7100 INTERNATIONAL   DIADEMA BRAZIL
                                                                                              PARKWAY
ALPS ELECTRIC CO LTD          OHMSTR 4                                                                             UNTERSCHLEISSHEIM BY
                                                                                                                   85716 GERMANY
ALPS ELECTRIC EUROPA GMBH     HANSAALLEE 203                                                                       DUSSELDORF D‐40549
                                                                                                                   GERMANY
ALPS ELECTRIC EUROPA GMBH     OHMSTR 4                                                                             UNTERSCHLEISSHEIM BY
                                                                                                                   85716 GERMANY
ALPS ELECTRIC INC             1500 ATLANTIC BLVD                                                                                             AUBURN HILLS       MI   48326‐1500
ALPS ELECTRIC INC
ALPS ELECTRIC KOREA CO LTD    970‐1 JANGDUK‐DONG GWANGSAN‐GU      GWANGJU                                          KOREA SOUTH KOREA

ALPS ELECTRIC KOREA CO LTD    970‐1 JANGDUK DONG KWANGSAN‐GU                                                       KWANGJU SEOUL 506 732
                                                                                                                   KOREA (REP)
ALPS ELECTRIC KOREA CO LTD    970‐1 JANGDEOK‐DONG GWANGSAN‐GU                                                      GWANGJU GWANGJU KR 506
                                                                                                                   732 KOREA (REP)
ALQAISI TRADING EST.                                                                                               MANAMA BAHRAIN
ALRABADY, ANSAF I             20058 EDGEWOOD AVE                                                                                             LIVONIA           MI    48152‐1182
ALRED, ALLEN G                2413 WAID CIRCLE NORTH                                                                                         GADSDEN           AL    35907‐7043
ALRED, ELIZABETH L            307 FISHERMANS WAY                                                                                             CLINTON           TN    37716‐6351
ALRED, ELIZABETH LUCIL        307 FISHERMANS WAY                                                                                             CLINTON           TN    37716‐6351
ALRED, JAMES M                26235 OHIO AVENUE                                                                                              NOVI              MI    48374‐1472
ALRED, JAMES P                431 FAIRWAY ISLES LN                                                                                           BRADENTON         FL    34212‐9343
ALRED, MARTHA J               12826 LUCAS FERRY RD                                                                                           ATHENS            AL    35611‐6031
ALRED, ROBIN H                2413 WAID CIRCLE NORTH                                                                                         GADSDEN           AL    35907‐7043
ALREEN JOHNSON                4714 PIERPONT DR                                                                                               DAYTON            OH    45426‐1947
ALREEN M JOHNSON              4714 PIERPONT DR                                                                                               DAYTON            OH    45426‐1947
ALRICK DUNCAN                 2362 WILTSHIRE CT APT 104                                                                                      ROCHESTER HILLS   MI    48309‐3151
ALRIDGE, VELMA                2009 SWALLOWTAIL CT.                                                                                           CLAYTON           OH    45315‐8749
ALRITA BURKS                  220 POWDERSBY RD                                                                                               JOPPA             MD    21085‐5418
ALRO INDUSTRIAL SUPPLY        4150 BROADMOOR AVE SE                                                                                          GRAND RAPIDS      MI    49512‐3933
ALRO INDUSTRIAL SUPPLY CORP   3100 E HIGH ST                                                                                                 JACKSON           MI    49203‐3467
ALRO STEEL CORP               50 ENSMINGER RD                                                                                                TONAWANDA         NY    14150‐6718
ALRO STEEL CORP               5620 CHURCHMAN AVE                                                                                             INDIANAPOLIS      IN    46203‐6007
ALRO STEEL CORP               2218 ENTERPRISE ST                  PO BOX 0927                                                                JACKSON           MI    49203‐3466
ALRO STEEL CORP               18695 SHERWOOD ST                                                                                              DETROIT           MI    48234‐2813
ALRO STEEL CORP               1410 W GANSON ST                    PO BOX 927                                                                 JACKSON           MI    49202‐4067
ALRO STEEL CORP               3100 E HIGH ST                      PO BOX 927                                                                 JACKSON           MI    49203‐3467
ALRO STEEL CORP               3100 E HIGH ST                                                                                                 JACKSON           MI    49203‐3467
ALRO STEEL CORP               4150 BROADMOOR AVE SE                                                                                          GRAND RAPIDS      MI    49512‐3933
ALRO STEEL CORP               4929 NEW HAVEN AVE                                                                                             FORT WAYNE        IN    46803‐3020
ALRO STEEL CORP               1800 W WILLOW ST                                                                                               LANSING           MI    48915‐1430
ALRO STEEL CORP               18881 SHERWOOD ST                                                                                              DETROIT           MI    48234‐2840
ALRO STEEL CORP               24800 PLYMOUTH RD                                                                                              DETROIT           MI    48239‐1633
ALRO STEEL CORP               3000 TRI PARK DR                                                                                               GRAND BLANC       MI    48439‐7020
ALRO STEEL CORPORATION        3100 E HIGH ST                      PO BOX 927                                                                 JACKSON           MI    49203‐3467
ALRO STEEL CORPORATION        MICK KALAHAR                        3100 E HIGH ST                                                             JACKSON           MI    49203‐3467
ALRO STEEL/DETROIT            18695 SHERWOOD ST                                                                                              DETROIT           MI    48234‐2813
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Name                              Address1                       Address2                    Address3    Address4                    City               State   Zip
ALROMA HOLMES                     1832 LORA ST                                                                                       ANDERSON            IN     46013‐2744
ALROY FABRIS                      38498 THORNWOOD DR                                                                                 SELFRIDGE ANGB      MI     48045‐2659
ALROY FULLER                      87 S MAIN ST                                                                                       MIDDLEPORT          NY     14105‐1313
ALROYCE FIELDS                    715 BOTANY BAY DR                                                                                  DALLAS              TX     75211‐6912
ALROYCE FIELDS                    715 BOTNEY BAY                                                                                     DALLAS              TX     75211
ALRUTZ, DEBORAH A                 3981 28 MILE RD                                                                                    WASHINGTON          MI     48094‐1115
ALS ASSOCIATION                   2258 WELDON PKWY                                                                                   SAINT LOUIS         MO     63146‐3206
ALS CARTAGE LTD                   190 GOODRICH DR                                                        KITCHENER ON N2G 4T4
                                                                                                         CANADA
ALS FOUNDATION FOR LIFE           PO BOX 96                                                                                          NATICK             MA      01760‐0002
ALS QUALITY EXPRESS LTD           2355 DERRY ROAD EAST UNIT 35                                           MISSISSAUGA CANADA ON L5S
                                                                                                         1V6 CANADA
ALS SOCIETY                       KEITH WORTHINGTON CHAPTER      6950 SQUIBB RD STE 210                                              MISSION             KS     66202‐3260
ALS SOCIETY OF ONTARIO            265 YORKLAND BLVD SUITE 300                                            TORONTO CANADA CA M2J
                                                                                                         1S5 CANADA
ALS TAXI & DELIVERY               PO BOX 302                                                             TILLSONBURG ON N4G 4H8
                                                                                                         CANADA
ALSAGER, DANIEL K                 9135 OVERLAND TRL                                                                                  FLUSHING            MI     48433‐1224
ALSAGER, DANIEL KEITH             9135 OVERLAND TRL                                                                                  FLUSHING            MI     48433‐1224
ALSAGER, MARLOW O                 76 WILLOW TREE PL                                                                                  GROSSE POINTE       MI     48236‐1322
                                                                                                                                     SHORES
ALSAIDI, HELENE M                 16851 SILVERADO DR                                                                                 SOUTHGATE           MI     48195‐3929
ALSAIYAD, KARIM                   27316 CLARPOINTE DR                                                                                WARREN              MI     48088‐4769
ALSAKKAF, FARES O                 23 BRADFORD CT                                                                                     DEARBORN            MI     48126‐4170
ALSAKKAF, OMAR A                  9910 OMAR ST                                                                                       DEARBORN            MI     48120‐1412
ALSAYAF, MADONNA M                5652 GERTRUDE ST                                                                                   DEARBORN HEIGHTS    MI     48125‐2812

ALSBACH, THOMAS W                 406 S SAGINAW ST                                                                                   HOLLY              MI      48442‐1616
ALSBAUGH, SYLVIA C                102 CRESTVIEW DR                                                                                   MARSHALL TOWN      IA      50158‐4213
ALSBROOK, VIRGINIA E              51 LANHAM RD                                                                                       ARAGON             GA      30104
ALSBROOKS OREN A (346108)         SIMON JEFFREY B                1201 N WATSON RD STE 145                                            ARLINGTON          TX      76006‐6223
ALSBROOKS, OREN A                 SIMON JEFFREY B                RR 5 BOX 5100                                                       LUFKIN             TX      75904
ALSBURY MC DONALD                 6401 SW 111TH PL                                                                                   OCALA              FL      34476‐8810
ALSCO                             RMVD EFT 12/19/06 CS           1420 PEACHTREE ST NE                                                ATLANTA            GA      30309
ALSCO                             3101 CHARLOTTE AVE                                                                                 NASHVILLE          TN      37209‐4053
ALSCO                                                            2771 WAIWAI LOOP                                                                       HI      96819
ALSCO                                                            900 N HIGHLAND AVE                                                                     CA      90038
ALSCO ‐ AMERICAN LINEN DIVISION   225 W CHESTNUT ST                                                                                  CHICAGO            IL      60610‐4893
ALSDORF, DORENE C                 51 CRANBROOK DR 51                                                                                 HAMILTON           OH      45011
ALSDORF, RALPH E                  7564 BETHANY RD                                                                                    LIBERTY TOWNSHIP   OH      45044‐9415

ALSEEN ANDREWS                    4400 FILBURN LN                                                                                    TROTWOOD           OH      45426‐1820
ALSEN J CAINE JR                  C/O WILLIAMS KHERKHER HART &   8441 GULF FREEWAY STE 600                                           HOUSTON            TX      77007
                                  BOUNDAS LLP
ALSEPT VIRGINIA M                 C/O ESTATE OF ALVIN ALSEPT     3930 EATON RD                                                       HAMILTON           OH      45013‐9730
ALSEPT, BRENDA L                  52 E CENTER ST                                                                                     FARMERSVILLE       OH      45325‐1111
ALSEPT, DARLA J                   4966 FLOWERS RD                                                                                    MANSFIELD          OH      44903‐7793
ALSEPT, KEN                       4966 FLOWERS RD                                                                                    MANSFIELD          OH      44903‐7793
ALSEPT, MARK D                    3930 EATON ROAD                                                                                    HAMILTON           OH      45013‐9730
ALSEPT, ROBERT A                  52 E CENTER ST                                                                                     FARMERSVILLE       OH      45325‐1111
ALSEPT,ROBERT A                   52 E CENTER ST                                                                                     FARMERSVILLE       OH      45325‐1111
ALSERRA CHEVROLET                 G 6167 S SAGINAW ST                                                                                GRAND BLANC        MI      48439
ALSETH, RICHARD J                 16937 DRIFTWOOD DR                                                                                 MACOMB             MI      48042‐3602
ALSEY TOLLESON                    1700 RAINTREE ST                                                                                   BAYTOWN            TX      77520‐3664
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Name                       Address1                             Address2                      Address3   Address4               City             State   Zip
ALSGAARD, JOHN T           95090 ELDERBERRY LN                                                                                  FERNANDINA        FL     32034‐5311
ALSGAARD, MICHAEL W        10901 ROEDEL RD                                                                                      FRANKENMUTH       MI     48734‐9139
ALSGAARD, ROBERT J         9699 CHICKADEE CT                                                                                    FREELAND          MI     48623‐8642
ALSHANTA GREEN             12532 E 58TH ST                                                                                      KANSAS CITY       MO     64133‐7600
ALSIE DANIELS              44830 HARRIS RD                                                                                      BELLEVILLE        MI     48111‐8938
ALSIE SIMPSON              9109 SUNCREST DR                                                                                     FLINT             MI     48504‐8140
ALSIP, BRIAN K             PO BOX 149                                                                                           SUNMAN            IN     47041‐0149
ALSIP, BRUCE L             2880 114TH AVE                                                                                       ALLEGAN           MI     49010‐9099
ALSIP, CHARLES L           3018 FAIRMONT AVE                                                                                    KETTERING         OH     45429
ALSIP, ELLEN F             1908 ELKLICK RD                                                                                      BATAVIA           OH     45103‐9479
ALSIP, GEORGE D            464 WAYNOKA DR                                                                                       SARDINIA          OH     45171‐9755
ALSIP, JAMES L             9670 BUTLER WARREN RD                                                                                CINCINNATI        OH     45241
ALSIP, LOANDA              1932 WILBRAHAM RD                                                                                    MIDDLETOWN        OH     45042‐2312
ALSIP, MICHAEL C           502 EAST WALNUT STREET                                                                               BRADFORD          OH     45308‐9428
ALSIP, RAYMOND E           1804 WILLIAMS AVE                                                                                    NORWOOD           OH     45212‐3504
ALSIP, WILLIAM M           28605 E COLBERN RD                                                                                   LEES SUMMIT       MO     64086‐8413
ALSLIETY, MAZEN KHALAF     41101 E VILLAGE GREEN BLVD APT 205                                                                   CANTON            MI     48187‐3883
ALSLIETY,MAZEN KHALAF      41101 E VILLAGE GREEN BLVD APT 205                                                                   CANTON            MI     48187‐3883
ALSMAN, MARGARET R         1754 E HAMBLEN DR                                                                                    INDIANAPOLIS      IN     46231‐1379
ALSMAN, WILLIAM W          7050 RODEBAUGH RD                                                                                    INDIANAPOLIS      IN     46268‐2544
ALSOBROOK, PHILLIP S       3162 W ZION CHURCH RD                                                                                SHELBY            NC     28150‐8898
ALSOBROOKS, ARLENE R       3075 DIX HWY TRLR A38                                                                                LINCOLN PARK      MI     48146‐4816
ALSOBROOKS, CECIL          ADDRESS NOT IN FILE
ALSOBROOKS, DENNIS M       220 IRONGATE DRIVE                                                                                   ENGLEWOOD        OH      45322‐9656
ALSON M CLARKE SR          123 MEDFORD RD                                                                                       SYRACUSE         NY      13211‐1827
ALSON PHILE                PO BOX 52                                                                                            PORT HOPE        MI      48468‐0052
ALSON WILHELM              18 LOU DR                                                                                            DEPEW            NY      14043‐4748
ALSON, COREY
ALSON, MARION D            32114 BEACON LN                                                                                      FRASER           MI      48026‐2107
ALSONIA RUTHERFORD         1206 REPUBLIC AVE                                                                                    COLUMBUS         OH      43211‐1314
ALSOP, FRANCES L           221 WOODLANDING RD                                                                                   FREDERICKSBERG   VA      22405
ALSOP, JOHN F              315 S WOLF CREEK ST                                                                                  BROOKVILLE       OH      45309‐1737
ALSOP, JOHN L              PO BOX 7003                                                                                          FREDERICKSBRG    VA      22404‐7003
ALSPACH CHARLES (458983)   GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                     NORFOLK          VA      23510
                                                                STREET, SUITE 600
ALSPACH, CHARLES           GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                     NORFOLK           VA     23510‐2212
                                                                STREET, SUITE 600
ALSPACH, DONNA MAE H       113 OLEANDER CV                                                                                      LEESBURG         FL      34748‐8610
ALSPACH, LISA B            42087 TRENT DR                                                                                       CANTON           MI      48188‐1299
ALSPACH, LORI D            2104 ROCK SPRINGS RD                                                                                 COLUMBIA         TN      38401‐7422
ALSPACH, MELVIN L          2104 ROCK SPRINGS RD                                                                                 COLUMBIA         TN      38401‐7422
ALSPACH, WILFRED H         611 SKYLARK DR                                                                                       SEBRING          FL      33875‐6235
ALSPAUGH JR, GLEN D        1456 REBECCA LN                                                                                      FRANKLIN         IN      46131‐9571
ALSPAUGH JR, TED O         21077 HEWITT RD                                                                                      TUSTIN           MI      49688‐8024
ALSPAUGH, AARON W          180 W BEVERLY AVE                                                                                    PONTIAC          MI      48340‐2622
ALSPAUGH, CLYDIS D         1409 SKYLARK DRIVE                                                                                   TROY             OH      45373‐1623
ALSPAUGH, CURTIS M         9493 W CO RD 300N                                                                                    SHIRLEY          IN      47384
ALSPAUGH, DANIEL F         1210 TIMBERCREEK DR                                                                                  GRAND LEDGE      MI      48837‐2326
ALSPAUGH, ESTHER I         11789 S FOREST HILL RD                                                                               EAGLE            MI      48822‐9722
ALSPAUGH, JACK E           1113 HALL ST                                                                                         EATON RAPIDS     MI      48827‐1721
ALSPAUGH, JO ANN H         4245 SOUTH 450 EAST                                                                                  MIDDLETOWN       IN      47356
ALSPAUGH, KENNETH R        137 FAIRWAY DR                                                                                       NEW CASTLE       IN      47362‐5012
ALSPAUGH, LARRY J          7012 E 49 N                                                                                          FLORA            IN      46929‐9359
ALSPAUGH, MELVIN E         3513 GLENBROOK DR                                                                                    LANSING          MI      48911‐2108
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Name                       Address1                          Address2                        Address3              Address4                City               State   Zip
ALSPAUGH, MILDRED          6735 E GREENWAY PKWY APT 1016                                                                                   SCOTTSDALE          AZ     85254‐2107
ALSPAUGH, REBECCA ANN      747 S 1100 E                                                                                                    GREENTOWN           IN     46936‐8755
ALSPAUGH, SCOTT A          314 ENXING AVE                                                                                                  W CARROLLTON        OH     45449‐2008
ALSPAUGH, VICKY            280 N 13TH ST                                                                                                   MIDDLETOWN          IN     47356‐1102
ALSPAUGH, WAYNE L          4245 SOUTH 450 EAST                                                                                             MIDDLETOWN          IN     47356
ALSPAUGH, WILLIAM H        2605 BROOKSIDE DR APT 160                                                                                       BAKERSFIELD         CA     93311‐3433
ALSTAT, MARK E             2221 COE CT                                                                                                     AUBURN HILLS        MI     48326‐2607
ALSTEEN, LOIS ANN          13110 N LINDEN RD                                                                                               CLIO                MI     48420
ALSTEEN, RONDI L           826 MILTON AVE                                                                                                  JANESVILLE          WI     53545‐1870
ALSTOM POWER INC.          BRIDGET CLARK                     2000 DAY HILL RD                                                              WINDSOR             CT     06095‐1580
ALSTON & BIRD              1201 W PEACHTREE ST                                                                                             ATLANTA             GA     30309
ALSTON & BIRD LLP          ATTY FOR BUEHLER MOTOR GMBH       ATTN J. WILLIAM BOONE           ONE ATLANTIC CENTER   1201 WEST PEACHTREE     ATLANTA             GA     30309‐3424
                                                                                                                   STREET
ALSTON & BIRD LLP          J. WILLIAM BOONE                  1201 WEST PEACHTREE STREET                                                    ATLANTA             GA     30309‐3424
ALSTON & BIRD LLP          ATTY FOR AUTOLIV ASP, INC.        ATTN: DENNIS J. CONNOLLY        ONE ATLANTIC CENTER   1201 WEST PEACHTREE     ATLANTA             GA     30309‐3424
                                                                                                                   STREET
ALSTON & BIRD LLP          ATTORNEY FOR AUTOLIV ASP, INC.    DENNIS J. CONNOLLY              90 PARK AVENUE                                NEW YORK            NY     10016
ALSTON & BIRD LLP          ATTORNEY FOR BUEHLER MOTOR GMGH   ATTENTION: J. WILLIAM BOONE     90 PARK AVENUE                                NEW YORK            NY     10016

ALSTON CANTON              12277 E WEBBS WAY                                                                                               COLUMBUS            IN     47203‐8611
ALSTON CHARLES D           ALSTON, CHARLES D                 89 N HADDON AVE                                                               HADDONFIELD         NJ     08033‐2423
ALSTON DONALD E (308249)   C/O PAUL REICH & MYERS            1608 WALNUT ST STE 500                                                        PHILADELPHIA        PA     19103‐5446
ALSTON GWENDOLYN           ALSTON, GWNEDOLYN                 120 WEST MADISON STREET 10TH                                                  CHICAGO             IL     60602
                                                             FLOOR
ALSTON HENRY JR            4298 KISER WOODS DR SW                                                                                          CONCORD            NC      28025‐8957
ALSTON III, WILLIAM        16820 WINTHROP ST                                                                                               DETROIT            MI      48235‐3507
ALSTON JAMES               PO BOX 267                                                                                                      ENGLEWOOD          OH      45322‐0267
ALSTON JR, DONALD C        5907 LESLIE DR                                                                                                  FLINT              MI      48504‐5009
ALSTON JR, EDWARD J        3259 DEVON BROOK DR                                                                                             BLOOMFIELD         MI      48302‐1427
ALSTON JR, GENERAL         19374 GREENLAWN ST                                                                                              DETROIT            MI      48221‐1638
ALSTON JR, JAMES A         4611 BRADINGTON ST                                                                                              SAGINAW            MI      48604‐1527
ALSTON JR, JAMES H         8000 PENROD ST                                                                                                  DETROIT            MI      48228‐3111
ALSTON JR, ROBERT W        8810 CLINTON RIVER RD                                                                                           STERLING HEIGHTS   MI      48314‐2404
ALSTON JR, SEARS           2850 DELK RD SE APT 5C                                                                                          MARIETTA           GA      30067
ALSTON JR, SEARS           2050 DELK RD SE AP 3C                                                                                           MARIETTA           GA      30057‐6250
ALSTON KAIYA L JR          ALSTON, KAIYA JR L                C/O MARK B TINSLEY, ESQ         PO BOX 1000                                   ALLENDALE          SC      29810
ALSTON KAIYA L JR          ALSTON, KAIYA SR                  C/O MARK B TINSLEY              PO BOX 1000                                   ALLENDALE          SC      29810
ALSTON KAIYA L JR          ALSTON, KEISHA                    C/O MARK B TINSLEY, ESQ         PO BOX 1000                                   ALLENDALE          SC      29810
ALSTON KENYA               ALSTON, KENYA                     5901 CEDAR LAKE RD S                                                          MINNEAPOLIS        MN      55416‐1488
ALSTON KURT                ALSTON, KURK                      59 SUGARTOWN                                                                  GLENMORA           LA      71433‐6809
ALSTON KURT                ALSTON, TRACY                     59 SUGARTOWN                                                                  GLENMORA           LA      71433‐6809
ALSTON LAWRENCE (496380)   ANGELOS PETER G                   100 N CHARLES STREET , ONE                                                    BALTIMORE          MD      21201
                                                             CHARLES CENTER
ALSTON PAMELA              601 74TH AVENUE NORTH                                                                                           ST PETERSBURG      FL      33702‐5315
ALSTON RODNEY              25023 FAIRWAY SPGS                                                                                              SAN ANTONIO        TX      78260‐4928
ALSTON SR, ISAAC           19359 RIVERVIEW ST                                                                                              DETROIT            MI      48219‐4685
ALSTON WILLIE (442942)     BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                                 NORTHFIELD         OH      44067
                                                             PROFESSIONAL BLDG
ALSTON, ALEX D             11035 BIGELOW RD                                                                                                DAVISBURG          MI      48350‐1831
ALSTON, ALFRED L           10300 CRYSTAL ARCH AVE                                                                                          LAS VEGAS          NV      89129‐8122
ALSTON, BALYNDA A          314 E TROTWOOD BLVD                                                                                             TROTWOOD           OH      45426‐3112
ALSTON, BALYNDA A          6603 HIDDEN KNOLLS CT                                                                                           DAYTON             OH      45449‐3419
ALSTON, BESSIE MAE         PO BOX 1014                                                                                                     WHITAKERS          NC      27891‐1014
ALSTON, BETTY              PORTER & MALOUF PA                4670 MCWILLIE DR                                                              JACKSON            MS      39206‐5621
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Name                    Address1                         Address2                    Address3      Address4               City               State   Zip
ALSTON, CHARLES E       2846 JOYCE AVE APT B                                                                              COLUMBUS            OH     43211‐1791
ALSTON, CHARLES N       6146 OLDE ORCHARD DR                                                                              COLUMBUS            OH     43213‐3412
ALSTON, DAWANA R        1107 LOCHHEAD AVE                                                                                 FLINT               MI     48507‐2803
ALSTON, DONALD E        PAUL REICH & MYERS               1608 WALNUT ST STE 500                                           PHILADELPHIA        PA     19103‐5446
ALSTON, DONALD G        414 BOULDER CREEK DR                                                                              WENTZVILLE          MO     63385
ALSTON, DONALD R        2036 CHELAN ST                                                                                    FLINT               MI     48503‐4312
ALSTON, EDWARD F        1709 PARKWEST DR APT 101                                                                          MONROE              MI     48162‐8803
ALSTON, EDWARD T        119 WHEATLAND DR                                                                                  DENVER              PA     17517‐9612
ALSTON, ELAINE A        414 BOULDER CREEK DR                                                                              WENTZVILLE          MO     63385‐5010
ALSTON, ELAINE J        PO BOX 5551                                                                                       ENGLEWOOD           NJ     07631‐5551
ALSTON, ELAINE J        P O BOX 5551                                                                                      ENGLEWOOD           NJ     07631‐5551
ALSTON, FAY T           3259 DEVON BROOK DR                                                                               BLOOMFIELD HILLS    MI     48302‐1427
ALSTON, GARY C          275 STONEGATE W                                                                                   PONTIAC             MI     48341‐1066
ALSTON, GLORIA A        104 HIGH ST APT 2                                                                                 LOCKPORT            NY     14094‐4338
ALSTON, ISAAC           19359 RIVERVIEW ST                                                                                DETROIT             MI     48219‐4685
ALSTON, J W             107 HUNTER DR                                                                                     JACKSONVILLE        NC     28546‐6505
ALSTON, JACKIE          PO BOX 3330                                                                                       HENDERSON           NC     27536‐6330
ALSTON, JACKIE A        12 CHICOT DR                                                                                      MAUMELLE            AR     72113‐5800
ALSTON, JAMES N         PO BOX 121                                                                                        GOLDSTON            NC     27252
ALSTON, JAMES N         PO BOX 267                                                                                        ENGLEWOOD           OH     45322‐5322
ALSTON, JESSE           27 SECOR RD                                                                                       OSSINING            NY     10562‐4621
ALSTON, JOANNE          6590 ROYAL PARKWAY NORTH                                                                          LOCKPORT            NY     14094‐6621
ALSTON, JOHN H          5801 WAYCROSS RD                                                                                  BALTIMORE           MD     21206‐3760
ALSTON, JOHN T          26009 FLORENCE ST                                                                                 INKSTER             MI     48141‐2627
ALSTON, JR., SAMUEL O   3834 SPRINGLEAF CT                                                                                STONE MOUNTAIN      GA     30083‐4692
ALSTON, JUANITA         229 BELL AVE                                                                                      ELYRIA              OH     44035‐3301
ALSTON, JULIA M         821 E 8TH ST                                                                                      FLINT               MI     48503‐2735
ALSTON, KAIYA JR L      C/O MARK B TINSLEY               GOODING AND GOODING         PO BOX 1000                          ALLENDALE           SC     29810‐1000
ALSTON, KAIYA SR        C/O MARK B. TINSLEY, ESQ.        GOODING & GOODING           PO BOX 1000                          ALLENDALE           SC     29810‐1000
ALSTON, KEISHA          C/O MARK B TINSLEY ESQ           GOODING AND GOODING         PO BOX 1000                          ALLENDALE           SC     29810‐1000
ALSTON, KURK            59 SUGARTOWN RD                                                                                   GLENMORA            LA     71433‐6809
ALSTON, LAWRENCE        ANGELOS PETER G                  100 N CHARLES STREET, ONE                                        BALTIMORE           MD     21201‐3812
                                                         CHARLES CENTER
ALSTON, LAWRENCE        1632 HOPEWELL AVE                                                                                 BALTIMORE          MD      21221‐2841
ALSTON, LEWIS C         3445 HABERER AVE                                                                                  DAYTON             OH      45408‐1111
ALSTON, LEWIS N         234 PROSPECT CIR                                                                                  SHREWSBURY         PA      17361‐1645
ALSTON, MALINDA         4611 BRADINGTON ST                                                                                SAGINAW            MI      48604‐1527
ALSTON, MARION          18519 PATTON ST                                                                                   DETROIT            MI      48219‐5202
ALSTON, MELFORD J       1775 PROSPECT ST                                                                                  SAGINAW            MI      48601‐6847
ALSTON, MELVIN          UNIT 102                         11338 BELMONT LAKE DRIVE                                         LAS VEGAS          NV      89135‐1365
ALSTON, MICHAEL A       3130 MALLERY ST                                                                                   FLINT              MI      48504‐2928
ALSTON, PAMELA M        131 NORTHGATE VLG                                                                                 BURLINGTON         NJ      08016‐4009
ALSTON, PATRICIA        1631 TIMBER HEIGHTS DR                                                                            LOGANVILLE         GA      30052‐5627
ALSTON, PHILLIP Z       1140 BARNETTE RD                                                                                  MINOR HILL         TN      38473‐5425
ALSTON, SALTERS         112 SUMMIT HILL DR                                                                                ROCHESTER          NY      14612
ALSTON, SHELIA G        1140 BARNETTE RD                                                                                  MINOR HILL         TN      38473‐5426
ALSTON, THELMA J        4465 N 20TH ST                                                                                    MILWAUKEE          WI      53209
ALSTON, TOENIKA
ALSTON, TOENIKA         704 MARSH STREET #B                                                                               GREENSBORO         NC      27406
ALSTON, TRACY           59 SUGARTOWN RD                                                                                   GLENMORA           LA      71433‐6809
ALSTON, TYRONE          9630 SW FLOWERMOUND CIR                                                                           PORT ST LUCIE      FL      34987‐2436
ALSTON, VIRGINIA        792 BERKELEY ROAD                                                                                 COLUMBUS           OH      43205
ALSTON, VIRGINIA        1553 GAULT STREET                                                                                 COLUMBUS           OH      43205‐2907
ALSTON, VIRGINIA L      1109 MCCANDLESS ST.                                                                               LINDEN             NJ      07036‐2143
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Name                              Address1                         Address2                       Address3   Address4               City               State   Zip
ALSTON, WILLA                     151 S HIGHLAND AVE APT 4H                                                                         OSSINING            NY     10562‐6044
ALSTON, WILLARD C                 APT 516                          8280 GENEVA POINTE DRIVE                                         ELK GROVE           CA     95624‐3471
ALSTON, WILLIE                    BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD, BEVAN                                     NORTHFIELD          OH     44067
                                                                   PROFESSIONAL BLDG
ALSTORK, BETTYE S                 15887 HIGHWAY 79                                                                                  MINDEN              LA     71055‐7423
ALSTOTT, HUBERT R                 3501 HOLLY LYNN LANE                                                                              JOLIET              IL     60431‐9267
ALSTOTT, RONALD T                 743 RIDGE RD                                                                                      GREENWOOD           IN     46142‐7361
ALSTROM, ERIC J                   BEK SCHER BERG 21                                                          PADERBORN‐NEUENBEKEN
                                                                                                             GERMANY 33100
ALSTROM, ERIC J                   PO BOX 9022                      C/O ADAM OPEL AG                                                 WARREN              MI     48090‐9022
ALSTYNE, BARBARA                  437 AVON AVE #2                                                                                   NEWARK              NJ     07108
ALSUP ESTATE OF, ANDREW WILLIAM
ALSUP ROBERT E (452501)           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                      NORFOLK             VA     23510
                                                                   STREET, SUITE 600
ALSUP, DALE E                     80 WOODRIDGE COURT                                                                                WHITE LAKE          MI     48386‐1985
ALSUP, HERBERT S                  5766 SOUTHWARD AVE                                                                                WATERFORD           MI     48329‐1567
ALSUP, JAMES M                    FISHER BOYD BROWN BOUDREAUX &    2727 ALLEN PKWY FL 14                                            HOUSTON             TX     77019‐2171
                                  HUGUENARD
ALSUP, JEANETTE                   119 COUNTRY CREEK CT                                                                              BALLWIN            MO      63011‐3811
ALSUP, JERMIAH A                  411 LAURIE DR                                                                                     FLUSHING           MI      48433‐2114
ALSUP, JERMIAH A.                 411 LAURIE DR                                                                                     FLUSHING           MI      48433‐2114
ALSUP, LARRY D                    119 W OYSTER RD                                                                                   ROSE CITY          MI      48654‐9735
ALSUP, PAUL J                     3300 S ADAMS AVE                                                                                  INDEPENDENCE       MO      64055‐2653
ALSUP, ROBERT E                   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                      NORFOLK            VA      23510‐2212
                                                                   STREET, SUITE 600
ALSUP, THERIAL L                  2605 GREENBRIER DR                                                                                DAYTON             OH      45406‐1336
ALSUP, THOMAS E                   448 E BIRCH DR                                                                                    GLENWOOD           IL      60425‐1421
ALSWORTH, EDITH MAE               SHANNON LAW FIRM                 100 W GALLATIN ST                                                HAZLEHURST         MS      39083‐3007
ALSYS, HELEN J                    4135 CHIMNEY POINT DR                                                                             BLOOMFIELD HILLS   MI      48302‐1813
ALT REYNOLDS                      7578 OLDHAM LN                                                                                    RIVERDALE          GA      30274‐3595
ALT SERVICES INC                  JEFF TODD                        3070 RAVINEWOOD DR                                               COMMERCE           MI      48382‐1447
                                                                                                                                    TOWNSHIP
ALT WILLIAM H SR (467687)         ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET , ONE                                       BALTIMORE          MD      21202
                                                                   CHARLES CENTER 22ND FLOOR
ALT, BETTY J                      6115 N GREENVALE DR                                                                               MILTON             WI      53563
ALT, BURLEY H                     4 MAPLE DR APT B                                                                                  MIDDLE RIVER       MD      21220
ALT, CHARLES A                    23 HONEYCOMB RD                                                                                   BALTIMORE          MD      21220‐3441
ALT, CLEANNA K                    HC 69                            BOX 12B                                                          FRANKLIN           WV      26807‐9502
ALT, CLEANNA K                    HC 69 BOX 12B                                                                                     FRANKLIN           WV      26807‐9502
ALT, DANIEL G                     453 S BLACKHAWK ST                                                                                JANESVILLE         WI      53545‐4201
ALT, DENNIS C                     1125 JOLIET ST                                                                                    JANESVILLE         WI      53546‐6202
ALT, DONALD J                     2968 FARMERS CREEK RD                                                                             METAMORA           MI      48455‐9708
ALT, DONALD R                     HC 32 BOX 388                                                                                     PETERSBURG         WV      26847‐9606
ALT, DOUGLAS A                    1325 BEACH AVE                                                                                    ROCHESTER          NY      14612‐1846
ALT, FREDERICK H                  3190 INDIANVIEW DR                                                                                WATERFORD          MI      48329‐4313
ALT, GARY W                       2309 RIVERVIEW DR                                                                                 WILSON             NY      14172‐9779
ALT, JAMES E                      155 SUMMIT DR                                                                                     MOOREFIELD         WV      26836‐8369
ALT, JAMES L                      499 S PINEGROVE AVE                                                                               WATERFORD          MI      48327‐2850
ALT, JAMES LEROY                  499 S PINEGROVE AVE                                                                               WATERFORD          MI      48327‐2850
ALT, JANIE M                      97 JUNIPER RD                                                                                     DELTA              PA      17314‐8616
ALT, JANIE M                      97 JUNIPER ROAD                                                                                   DELTA              PA      17314‐8616
ALT, JOHN E                       6292 FOREST RIDGE CT                                                                              ALGER              MI      48610‐8603
ALT, JUANITA I                    1720 EAST MEMORIAL DR.           APT 112                                                          JANESVILLE         WI      53545
ALT, JUANITA I                    1720 E MEMORIAL DR APT 112                                                                        JANESVILLE         WI      53545‐1981
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Name                      Address1                         Address2                    Address3   Address4                City              State   Zip
ALT, KENNETH F            1351 TERMAN RD                                                                                  MANSFIELD          OH     44907‐3033
ALT, KENNETH J            4650 8 MILE RD                                                                                  CONKLIN            MI     49403‐9604
ALT, KERMIT M             706 BERETTA WAY                                                                                 BEL AIR            MD     21015‐4848
ALT, LOY H                19 DIHEDRAL DR                                                                                  BALTIMORE          MD     21220‐4610
ALT, NORMA C              155 SUMMIT DR                                                                                   MOREFIELD          WV     26836
ALT, RANDALL J            4825 LINDA LN                                                                                   METAMORA           MI     48455‐8935
ALT, RANDALL S            328 FULLERTON PLACE                                                                             ABINGDON           MD     21009‐2501
ALT, RANDALL SCOTT        328 FULLERTON PLACE                                                                             ABINGDON           MD     21009‐2501
ALT, RANDY C              9648 MELBOURNE AVE                                                                              ALLEN PARK         MI     48101‐1365
ALT, RANDY CURTIS         9648 MELBOURNE AVE                                                                              ALLEN PARK         MI     48101‐1365
ALT, RICHARD A            6249 ALPINE AVE NW                                                                              COMSTOCK PARK      MI     49321‐9721
ALT, RICHARD E            454 9TH ST                                                                                      ELYRIA             OH     44035‐5839
ALT, RICHARD J            1320 ROYALTY DR                                                                                 ALABASTER          AL     35007‐3034
ALT, ROBERT L             8520 TANGLEWOOD LN                                                                              PARMA              OH     44129‐6904
ALT, RUSSELL J            1202 S WEBSTER ST                                                                               KOKOMO             IN     46902‐6359
ALT, SHAUN D              582 BEACHWAY AVE                                                                                KEANSBURG          NJ     07734‐1177
ALT, SYLVESTER J          3253 CANTERBURY LN                                                                              JANESVILLE         WI     53546‐2235
ALT, WARNIE W             HC 61 BOX 19                                                                                    MOYERS             WV     26815‐9402
ALT, WILLIAM H            ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET, ONE                                      BALTIMORE          MD     21202
                                                           CHARLES CENTER 22ND FLOOR
ALTA ADAMS                1335 LINDBERG RD                                                                                ANDERSON          IN      46012‐2637
ALTA ALLEN                720 PEACH ORCHARD DR                                                                            WEST CARROLLTON   OH      45449‐1669

ALTA AMSBURY              2643 W 200 N                                                                                    TIPTON            IN      46072‐8430
ALTA ARROYO               420 BROADWAY ST                                                                                 BAY CITY          MI      48708‐7026
ALTA BAGWELL              3110 PILGRIM VALLEY DR                                                                          CUMMING           GA      30040‐3981
ALTA BATES                APT 149                          1600 SOUTH MAIN STREET                                         DUNCANVILLE       TX      75137‐3290
ALTA BERRY                721 MC COMAS RD                                                                                 SALT ROCK         WV      25559
ALTA BERRY                2963 HILL DR                                                                                    TROY              MI      48085‐3715
ALTA BILMARKED AS         ARONNESVEIEN 55                                                         ALTA N‐950 NORWAY
ALTA BROWN                7885 JUSTUS AVE SW               C/O SHIRLEY KASER                                              NAVARRE           OH      44662‐9490
ALTA BRUNER               13017 NW SELLERS RD                                                                             BRISTOL           FL      32321‐3133
ALTA BURKE                3005 S SYCAMORE CT                                                                              MUNCIE            IN      47302‐6306
ALTA BUTLER               154 RIDGEWOOD MDWS                                                                              FRANKLIN          IN      46131‐1965
ALTA CHAPMAN              3085 N GENESEE RD APT 327                                                                       FLINT             MI      48506‐2194
ALTA COFFEY               688 THOMAS J DR                                                                                 FLINT             MI      48506‐5241
ALTA DEMETRIS             206 24TH ST                                                                                     BAY CITY          MI      48708‐7702
ALTA DICKEY               5224 FARO DR                                                                                    SAPPINGTON        MO      63128‐3420
ALTA E WISENBAUGH         10966 HAVEN RD                                                                                  SEBEWAING         MI      48759‐9765
ALTA ENVIRONMENTAL CORP   7 S MAIN ST                                                                                     MARLBOROUGH       CT      06447‐1502
ALTA EVERT                210 IROQUOIS AVE                                                                                PRUDENVILLE       MI      48651‐9707
ALTA FOX                  142 ANN DR                                                                                      CANTON            GA      30114‐4548
ALTA GABBARD              1724 PARKAMO AVE                                                                                HAMILTON          OH      45011‐4610
ALTA GILLEN               914 S JEFFERSON ST                                                                              PILOT POINT       TX      76258‐4320
ALTA GOENS                1014 E FIFTH ST                                                                                 GREENFIELD        IN      46140‐1514
ALTA GRIFFIN              1315 MARLEE LN                                                                                  ARLINGTON         TX      76014‐1433
ALTA HAGERMAN             438 R WHITLOW RD                                                                                AUSTIN            KY      42123‐9203
ALTA HOMAN                1762 GARDEN DR                                                                                  JANESVILLE        WI      53546‐5626
ALTA ISAAC                2111 BASELINE RD APT 5                                                                          GRAND ISLAND      NY      14072‐2069
ALTA J OLSZEWSKI          3744 BELLWOOD DRIVE                                                                             WARREN            OH      44484‐2937
ALTA JONES                5158 N STATE RD                                                                                 DAVISON           MI      48423‐8593
ALTA KEEHN                12325 CENTER RD                                                                                 BATH              MI      48808‐8422
ALTA KELLEY               1196 E 105TH ST                                                                                 INDIANAPOLIS      IN      46280‐1417
ALTA KITTLE               293 MEADOW CREST DR                                                                             CLEVELAND         GA      30528‐0922
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Name                               Address1                              Address2                       Address3   Address4                  City            State   Zip
ALTA L YOBLONSKI                   7084 KINSMAN NICKERSON                                                                                    KINSMAN          OH     44428‐9512
ALTA LIFT TRUCK SERVICES           1425 RELIABLE PKWY                                                                                        CHICAGO           IL    60686‐0001
ALTA LIFT TRUCK SERVICES INC       28990 S WIXOM RD                                                                                          WIXOM            MI     48393‐3416
ALTA LINDSAY                       8808 W DORSEY CT                                                                                          KNIGHTSTOWN      IN     46148‐9500
ALTA LITSEY                        164 COLLEGE PKWY                                                                                          ANDERSON         IN     46012‐5127
ALTA LOUIS                         14815 12TH ST                                                                                             JOHANNESBURG     MI     49751
ALTA M STARR                       331 DAKOTA ST                                                                                             YPSILANTI        MI     48198‐7814
ALTA MACK                          10730 N US HIGHWAY 41                                                                                     BLOOMINGDALE     IN     47832‐8037
ALTA MADDEN                        2409 WANDA WAY                                                                                            LEXINGTON        KY     40505‐1919
ALTA MAYS                          1112 SOUTHWEST MISTY CREEK                                                                                BLUE SPRINGS     MO     64015‐5297
ALTA MOTE                          1546 MARY DR                                                                                              INDIANAPOLIS     IN     46241‐2810
ALTA OLSZEWSKI                     3744 BELLWOOD DR SE                                                                                       WARREN           OH     44484‐2937
ALTA PAGE                          401 S PLATTE CLAY WAY                 APT 502                                                             KEARNEY          MO     64060‐7652
ALTA PAYNE                         5580 CORFU CT                                                                                             HUBER HEIGHTS    OH     45424‐2638
ALTA PERRY                         6367 MARKET STREET                                                                                        KALAMAZOO        MI     49048‐8505
ALTA PITTMAN                       74 SALOLA ST                                                                                              ASHEVILLE        NC     28806‐2558
ALTA R PAYNE                       5580 CORFU COURT                                                                                          HUBER HEIGHTS    OH     45424‐2638
ALTA REECE                         6217 BEECH DALY RD                                                                                        TAYLOR           MI     48180‐1171
ALTA RHOADES                       8401 18 MILE RD. #75D                                                                                     STERLING HTS     MI     48313
ALTA RICH                          7620 ROCKWELL DR                                                                                          DAYTON           OH     45414‐1838
ALTA SLONE                         429 WADE ST                                                                                               MITCHELL         IN     47446‐9334
ALTA SPENCER                       7162 MILLER RD                                                                                            SWARTZ CREEK     MI     48473‐1534
ALTA TAULBEE                       108 BROWN AVE                                                                                             FAIRBORN         OH     45324‐2303
ALTA TAYLOR                        7089 BEAUMONT CT                                                                                          ZIONSVILLE       IN     46077‐8335
ALTA TAYLOR                        3444 SOUTH HENDERSON ROAD                                                                                 DAVISON          MI     48423‐9113
ALTA THOMAS                        1062 N CORNELL AVE                                                                                        FLINT            MI     48505‐1345
ALTA VALLE                         GENERAL DELIVERY                      PO BOX 99                                                           RICHWOODS        MO     63071‐9999
ALTA WAGNER                        2040 E BOULEVARD                                                                                          KOKOMO           IN     46902‐2451
ALTA WALLS                         2400 MEADOWCROFT DRIVE                                                                                    BURTON           MI     48519‐1270
ALTA WALTERS                       3709 GALLOWAY RD                                                                                          SANDUSKY         OH     44870‐7137
ALTA WINN                          359167 E1050 RD                                                                                           PADEN            OK     74860
ALTA WISENBAUGH                    10966 HAVEN RD                                                                                            SEBEWAING        MI     48759‐9765
ALTA WOODBY                        151 36 BYP                                                                                                BARNESVILLE      GA     30204‐3203
ALTA YOBLONSKI                     7084 KINSMAN NICKERSON RD                                                                                 KINSMAN          OH     44428‐9512
ALTABELLE WORRELL                  1378 LARAMIE DR                                                                                           DAYTON           OH     45432‐3146
ALTADIS USA, INC.                  JOE PIETRIS                           5900 NORTH ANDREWS AVENUE                                           FT LAUDERDALE    FL     33309
ALTAF IMAM                         2072 RUTGERS DR                                                                                           TROY             MI     48085‐3831
ALTAFFER, JAMES R                  GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                                        PITTSBURGH       PA     15219

ALTAFFER, JEREMY B                 351 E HIGH ST                                                                                             BRYAN           OH      43506‐1748
ALTAFFER, JEREMY BLAINE            351 E HIGH ST                                                                                             BRYAN           OH      43506‐1748
ALTAFFER, JODI ANN                 209 HICKORY ST                                                                                            MONTPELIER      OH      43543‐9590
ALTAFFER, MARGARET M               724 NEW YORK AVE.                                                                                         MCDONALD        OH      44437‐1828
ALTAGRACE LEONARD                  PO BOX 980102                                                                                             YPSILANTI       MI      48198‐0102
ALTAGRACIA BRITO                   510 W 184TH ST APT 35                                                                                     NEW YORK        NY      10033‐4322
ALTAGRACIA RIVERA                  PARQUE LOS ALMENDROS                  620 CALLE LADY DI                                                   PONCE           PR      00716
ALTAHIF, ALI                       4842 WILLIAMSON ST                                                                                        DEARBORN        MI      48126‐3166
ALTAIR ENG/TROY                    1757 MAPLELAWN DRIVE                                                                                      TROY            MI      48084
ALTAIR ENGINEERING INC             1757 MAPLELAWN                                                                                            TROY            MI      48084
ALTAIR ENGINEERING INC             1820 E BIG BEAVER RD                                                                                      TROY            MI      48083‐2031
ALTAIR ENGINEERING INDIA PVT LTD   #163 B 6TH MAIN 3RD CROSS             JP NAGAR III PHASE BANGALORE              560078 INDIA INDIA
ALTAIR EQUIPMENT CO INC            335 CONSTANCE DR                                                                                          WARMINSTER       PA     18974‐2816
ALTAMIRA, MIGUEL P                 732 CORSICANA DR                                                                                          OXNARD           CA     93036‐1409
ALTAMIRANO, ROLANDO R              22704 AMBER RIVER DR                                                                                      MACOMB           MI     48042‐4651
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Name                                     Address1                             Address2                        Address3         Address4                City              State Zip
ALTAMONTE SPRINGS, CITY OF               225 NEWBURYPORT AVE                                                                                           ALTAMONTE          FL 32701
                                                                                                                                                       SPRINGS
ALTAMONTE SPRINGS, CITY OF               ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 225 NEWBURYPORT AVE                                                    ALTAMONTE          FL   32701
                                                                                                                                                       SPRINGS
ALTAMORE'S AUTOMOTIVE SERVICE            8725 TOWN HALL RD                                                                                             BELVIDERE         IL    61008‐9564
ALTAN WILLIAMS                           14392 SALEM                                                                                                   REDFORD           MI    48239‐3316
ALTAN, OSMAN D                           UNIT 78C                             1920 KLINGENSMITH ROAD                                                   BLOOMFIELD        MI    48302‐0261
ALTANETTE WILLIAMS                       1552 MEADOWLANE ST                                                                                            INKSTER           MI    48141‐1583
ALTAS MATERIAL TESTING SOLUTIO           4114 N RAVENSWOOD AVE                                                                                         CHICAGO           IL    60613
ALTAS MATERIAL TESTING SOLUTION          ATTN: CORPORATE OFFICER/AUTHORIZED   4114 NORTH RAVENSWOOD AVENUE                                             CHICAGO           IL    60613
                                         AGENT
ALTAVELA, MARY                           107 EVERCLAY DR                                                                                               ROCHESTER         NY    14616‐4127
ALTAZIN, MARGARET A                      418 W MOUNT PLEASANT RD                                                                                       ZACHARY           LA    70791‐6726
ALTE POST AACHEN GMBH                    C/O TORSTEN POTT                     KAPUZINERGRABEN 19              52062 AACHEN     GERMANY
ALTE, RUBY W                             2222 NO SHORE BD                                                                                              ANDERSON           IN   46011‐1336
ALTEC ELECTRONICA CHIHUAHUA SA DE        AV DE LA JUVENTUD PERIMETRAL                                                          CHIHUAHUA CH 31020
                                                                                                                               MEXICO
ALTEC INDUSTRIES                         210 INVERNESS CENTER                                                                                          BIRMINGHAM        AL    35242
ALTEC INDUSTRIES INC                     210 INVERNESS CENTER DR                                                                                       BIRMINGHAM        AL    35242‐4834
ALTEC INDUSTRIES, INC.                   JERRY MOORE                          210 INVERNESS CENTER DR                                                  BIRMINGHAM        AL    35242‐4834
ALTEC INDUSTRIES, INC.                   2106 S RIVERSIDE RD                                                                                           SAINT JOSEPH      MO    64507‐2535
ALTEC INDUSTRIES, INC.                   KEITH LAWRENCE                       2106 S RIVERSIDE RD                                                      SAINT JOSEPH      MO    64507‐2535
ALTEC INDUSTRIES, INC.
ALTEC INDUSTRIES, INC. (M.D.)/FLEET      3640 W CHESTNUT EXPY                                                                                          SPRINGFIELD       MO    65802‐5507
SALES LLC
ALTEC INDUSTRIES, INC./FLEET SALES LLC   3640 W CHESTNUT EXPY                                                                                          SPRINGFIELD       MO    65802‐5507

ALTECH ENVIRONMENTAL SERV INC            24209 NORTHWESTERN HWY STE 230                                                                                SOUTHFIELD        MI    48075
ALTECH ENVIRONMENTAL SERV INC            17350 W 10 MILE RD STE 200                                                                                    SOUTHFIELD        MI    48075‐2929
ALTEMANN CHRIS                           430 WILLOW TREE LN                                                                                            ROCHESTER HILLS   MI    48306‐4253
ALTEMANN, CHRIS M                        430 WILLOW TREE LN                                                                                            ROCHESTER HLS     MI    48306‐4253
ALTEMEYER DONALD FRITZ (643364)          JACOBS & CRUMPLAR P.A.               PO BOX 1271                     2 EAST 7TH ST                            WILMINGTON        DE    19899‐3707
ALTEMEYER, DONALD FRITZ                  JACOBS & CRUMPLAR P.A.               PO BOX 1271                     2 EAST 7TH ST,                           WILMINGTON        DE    19899‐1271
ALTEMOOS, WAYNE C                        389 HUXLEY DR                                                                                                 CHEEKTOWAGA       NY    14225‐1025
ALTEMOOS, WAYNE CURT                     389 HUXLEY DR                                                                                                 CHEEKTOWAGA       NY    14225‐1025
ALTEMUS JR, CHARLES S                    207 MERIDEN AVE                                                                                               SOUTHINGTON       CT    06489‐3673
ALTEN JOHN (492930)                      BEVAN & ASSOCIATES                   10360 NORTHFIELD ROAD , BEVAN                                            NORTHFIELD        OH    44067
                                                                              PROFESSIONAL BLDG
ALTENA, RONALD                           7470 BROWER LN                                                                                                JENISON           MI    49428‐9702
ALTENAU'S AUTO SERVICE                   4208 DELHI AVE                                                                                                CINCINNATI        OH    45238‐5829
ALTENBACH, ALAN B                        E5283 HERRITZ RD                                                                                              REEDSBURG         WI    53959‐9055
ALTENBACH, DEBORAH A                     2027 LATHERS ST                                                                                               GARDEN CITY       MI    48135‐2944
ALTENBACH, VIRGINIA C                    W67N806 FRANKLIN AVE                                                                                          CEDARBURG         WI    53012‐1110
ALTENBERGER, HAROLD D                    15163 E STREET RD                                                                                             MONTROSE          MI    48457‐9328
ALTENBERNDT, STEVEN H                    7295 SURFWOOD DR                                                                                              FENTON            MI    48430‐9353
ALTENBERNT, HENRY J                      13681 WHITTAKER RD                                                                                            MILAN             MI    48160‐9716
ALTENBERNT, JERRY J                      1923 ROLLING MEADOWS ST                                                                                       PINCKNEY          MI    48169‐9126
ALTENBERNT, NELSON L                     4556 DAVID CT                                                                                                 BEAVERTON         MI    48612‐8877
ALTENBERNT, SALLY E                      13619 FULLER RD                                                                                               MILAN             MI    48160‐9198
ALTENBRUN, GARY G                        601 GROVER AVE                                                                                                OTTAWA            IL    61350‐4153
ALTENBURG, EDWARD C                      910 MEADOW DR                                                                                                 DAVISON           MI    48423‐1031
ALTENBURG, PATRICIA D                    319 OLD BRIDGE RD                                                                                             GRAND BLANC       MI    48439‐1147
ALTENBURG, ROBERT DOUGLAS                319 OLD BRIDGE RD                                                                                             GRAND BLANC       MI    48439‐1147
ALTENBURGER, JOHN W                      3017 BOURBON ST                                                                                               SANFORD           NC    27332‐7334
                                     09-50026-mg            Doc 7123-3     Filed 09/24/10 Entered 09/24/10 15:05:32                           Exhibit B
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Name                                 Address1                          Address2                      Address3                    Address4                   City           State   Zip
ALTENHOF, WILLIAM C                  1981 ALLEN RD                                                                                                          SALEM           OH     44460‐1014
ALTENHOF, WILLIAM C.                 1981 ALLEN RD                                                                                                          SALEM           OH     44460‐1014
ALTENHOFEN, EUGENE M                 109 W PARK ST                                                                                                          GARDNER         KS     66030‐1147
ALTENHOFEN, PAUL E                   20426 WOODEND RD                                                                                                       LINWOOD         KS     66052‐4628
ALTENHOFEN, PAUL EDWARD              20426 WOODEND RD                                                                                                       LINWOOD         KS     66052‐4628
ALTENHOFF, BERNADINE T               5012 THISTLE TRL                                                                                                       LOVES PARK       IL    61111‐7660
ALTENHOFF, JANET B                   104 REDTAIL PL                                                                                                         WINTER SPGS     FL     32708‐5623
ALTENKIRCHENER K/GER                 POSTFACH 1106 57004 ALTENKIRCHE   EMIL REINERT STRASSE 2                                    ALTENKIRCHEN RA GE 57636
                                                                                                                                 GERMANY
ALTENKIRCHENER KUNSTSTOFF GMBH       EMIL REINERT STR 2                                                                          MAMMELZEN RP 57636
                                                                                                                                 GERMANY
ALTENLOH, BRINK & CO GMBH & CO KG    KOELNER STR 71‐77                                                                           ENNEPETAL NW 58256
                                                                                                                                 GERMANY
ALTENLOH, BRINK & CO GMBH & CO KG    RUHRALLEE 1‐3                                                                               HATTINGEN NW 45525
                                                                                                                                 GERMANY
ALTENO, LEONIDAS                     19316 FRANK CT                                                                                                         WOODSTOCK      IL      60098‐9139
ALTENO, MAUREEN                      1926 BRANDON AVE                                                                                                       POLAND         OH      44514‐1207
ALTENO, MAUREEN P                    1926 BRANDON AVE                                                                                                       POLAND         OH      44514‐4514
ALTER BUFFENN                        13153 TULLER ST                                                                                                        DETROIT        MI      48238‐3127
ALTER JR, FRANK A                    132 SOUTHAMPTON DR                                                                                                     GALLOWAY       NJ      08205‐6623
ALTER, BILLY J                       2335 BURNING TREE CIRCLE                                                                                               SEBRING        FL      33872‐4026
ALTER, CALVIN G                      2403 ELMWOOD DR                                                                                                        WESTLAKE       OH      44145‐3134
ALTER, CAROLYN A                     1854 HUNTERS COVE CIR                                                                                                  KOKOMO         IN      46902‐5181
ALTER, CHARLES B                     6115 MERWIN CHASE RD                                                                                                   BROOKFIELD     OH      44403‐9782
ALTER, COLLEEN                       6115 MERWIN CHASE RD.                                                                                                  BROOKFIELD     OH      44403‐4403
ALTER, GERALD                        11836 250TH AVE                                                                                                        TREVOR         WI      53179‐9249
ALTER, HENRY W                       48478 LANCE CREEK CT                                                                                                   SHELBY TWP     MI      48315‐4286
ALTER, JOSEPH S                      28662 PANAMA ST                                                                                                        WARREN         MI      48092‐2339
ALTER, RANDY L                       4815 COVENTRY PKWY                                                                                                     FORT WAYNE     IN      46804‐7132
ALTER, RANDY LEE                     4815 COVENTRY PKWY                                                                                                     FORT WAYNE     IN      46804‐7132
ALTERATIONS PLUS                     ATTN: SHIRLEY MYERS               714 E MOUNT MORRIS ST                                                                MT MORRIS      MI      48458‐2019
ALTERGOTT, HENRY C                   15925 FAIRWAY LAKE                                                                                                     CHESTERFIELD   MO      63017‐7381
ALTERGOTT, JOYCE A.                  410 S. WILLIAMS                                                                                                        BAY CITY       MI      48706‐4684
ALTERGOTT, JOYCE A.                  410 S WILLIAMS ST                                                                                                      BAY CITY       MI      48706‐4684
ALTERMAN EDWARD P                    DBA ALTERMAN INK LLC              31825 FRANKLIN RD                                                                    FRANKLIN       MI      48025‐2001
ALTERMAN KENNETH                     ALTERMAN, KENNETH                 LANGDON AND EMISON ATTORNEYS PO BOX 220 911 MAIN STREET                              LEXINGTON      MO      64067

ALTERMAN, KENNETH                    LANGDON AND EMISON ATTORNEYS      PO BOX 220                    911 MAIN STREET                                        LEXINGTON      MO      64067‐0220
ALTERMAN, KENNETH                    1256 NW 325TH RD                                                                                                       HOLDEN         MO      64040‐9380
ALTERMATT JR, EUGENE J               8200 CARPATHIAN DR                                                                                                     WHITE LAKE     MI      48386‐4502
ALTERMATT, ANTHONY J                 11599 CASA LOMA                                                                                                        BRIGHTON       MI      48114‐9080
ALTERMATT, ANTHONY JAMES             11599 CASA LOMA                                                                                                        BRIGHTON       MI      48114‐9080
ALTERMATT,ANTHONY JAMES              11599 CASA LOMA                                                                                                        BRIGHTON       MI      48114‐9080
ALTERNATE AUTOMOTIVE SERVICES        5859 WASHINGTON BLVD                                                                                                   ELKRIDGE       MD      21075‐5135
ALTERNATE SITE DISTR                 9075 CENTRE POINTE DR STE 140     BESSE MEDICAL SUPPLY                                                                 WEST CHESTER   OH      45069‐4891
ALTERNATE SITE DISTRIBUTORS INC      9075 CENTRE POINTE DR STE 140     BESSE MEDICAL SUPPLY                                                                 WEST CHESTER   OH      45069‐4891
ALTERNATIVE AUTOMOTIVE               1125 E VAN BUREN ST                                                                                                    PHOENIX        AZ      85006‐3371
ALTERNATIVE DISTRIBUTIONS            116 E 1100 N                                                                                                           CHESTERTON     IN      46304‐9675
ALTERNATIVE ENG/MI                   1642 BROADWAY AVE NW STE 400                                                                                           GRAND RAPIDS   MI      49504‐2046
ALTERNATIVE ENGINEERING INC          1642 BROADWAY AVE NW STE 400                                                                                           GRAND RAPIDS   MI      49504‐2046
ALTERNATIVE ENGINEERING INC          3777 SPARKS DR SE STE 104                                                                                              GRAND RAPIDS   MI      49546‐6186
ALTERNATIVE FUEL VEHICLE INSTITUTE   6771 W CHARLESTON BLVD STE C                                                                                           LAS VEGAS      NV      89146‐9016
ALTERNATIVE FUELS & VEHICLES
CONFERENCE + EXPO
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Name                               Address1                             Address2                          Address3   Address4               City            State   Zip
ALTERNATIVE FUELS INSTITUTE        2430 S SERENITY DR                                                                                       WATERTOWN        SD     57201‐8320
ALTERNATIVE FUELS RENEWABLE        ENERGIES COUNCIL                     PO BOX 185                                                          LEMOVNE          PA     17048
ALTERNATIVE MEDICAL TRANSPORT      ATTN: CORPORATE OFFICER/AUTHORIZED   3014 ARIZONA AVE                                                    FLINT            MI     48506‐2480
                                   AGENT
ALTERNATIVE ROBOTICS INC           1691 N OGEMAW TRL                                                                                        WEST BRANCH     MI      48661‐9717
ALTERNATIVE SELF SERVE STONE       ATTN: TOM THOMPSON                   1317 N MADISON AVE                                                  BAY CITY        MI      48708‐5929
ALTERNATIVE SERVICES               ALTERNATIVE MAINTENANCE              7710 HILL AVE                                                       HOLLAND         OH      43528
ALTERNATIVE SERVICES INC           PO BOX 1296                                                                                              HOLLAND         OH      43528‐1296
ALTERNATIVE SOURCE OF AUTOMOTIVE   521 COPELAND ST                                                                                          JACKSONVILLE    FL      32204‐2721
PRODUCTS LLC
ALTERNATIVES 2000 A D              TRAINING AND DEVELOPMENT             2793 UNIVERSITY DRIVE SUITE 100                                     AUBURN HILLS    MI      48326
ALTERNATIVES FOR GIRLS             ATTN: AMANDA GOOD                    903 W GRAND BLVD                                                    DETROIT         MI      48208‐2365
ALTERS, BARBARA V                  7639 WASHINGTON PARK DR                                                                                  DAYTON          OH      45459‐3620
ALTEVERS, JOHN D                   6578 CHARLESGATE RD                                                                                      HUBER HEIGHTS   OH      45424‐6481
ALTHA BARBER                       591 NEBRASKA AVE                                                                                         PONTIAC         MI      48341‐2546
ALTHA CLIFFORD                     2401 MARINEVIEW DRIVE                                                                                    SAN LEANDRO     CA      94577‐6326
ALTHA DORITY                       202 MORGANTOWN RD                                                                                        NATCHEZ         MS      39120‐1708
ALTHA H. PITTRELL                  1219 MARSHALL AVENUE                                                                                     PITTSBURGH      PA      15212‐2819
ALTHA L MORRIS                     5152 HARRY ST                                                                                            FLINT           MI      48505‐1776
ALTHA LUCK                         PO BOX 782                                                                                               SPRING HILL     TN      37174‐0782
ALTHA MANNS                        938 WISCONSIN RD                                                                                         NEW LENOX       IL      60451‐2264
ALTHA MORRIS                       5160 HARRY ST                                                                                            FLINT           MI      48505‐1776
ALTHA PATTON JR                    15048 FREELAND ST                                                                                        DETROIT         MI      48227‐2909
ALTHA R IRELAND                    1148 E JULIAH AVE                                                                                        FLINT           MI      48505‐1631
ALTHALENE CLARK                    113 E BAKER ST                                                                                           FLINT           MI      48505‐4927
ALTHAUS, FREDERICK C               27170 PATRIOT DR                                                                                         SALISBURY       MD      21801‐1674
ALTHAUS, RICHARD W                 3107 FOUNTAINHEAD DR                                                                                     LARGO           FL      33770‐4205
ALTHAUSER, SOPHIA C                4281 ABBEY CHASE CT                                                                                      HILLIARD        OH      43026‐7457
ALTHAVER, CHARLES L                5670 PARKSIDE ST                                                                                         MONROE          MI      48161‐3941
ALTHEA CHIVINGTON                  6284 POINSETTIA DR                                                                                       SAGINAW         MI      48603‐4202
ALTHEA DAVIS                       3035 COURTZ ISLE APT 1                                                                                   FLINT           MI      48532‐4206
ALTHEA DAVIS                       6070 TEXTILE RD                                                                                          YPSILANTI       MI      48197‐8990
ALTHEA EGAN                        302 EUCLID AVE                                                                                           BELLEVUE        OH      44811‐1004
ALTHEA KELLOGG                     6764 MORRIS TRL                                                                                          GRAYLING        MI      49738‐6360
ALTHEA KREBSBACH                   G 3361 LYNNE AVE                                                                                         FLINT           MI      48506
ALTHEA LATOUR                      1616 DAVID DRIVE                                                                                         METAIRIE        LA      70003
ALTHEA MADDOX                      1937 OLD CONYERS RD                                                                                      STOCKBRIDGE     GA      30281‐2133
ALTHEA MURRAY                      16235 LAMPLIGHTER CT APT 1317                                                                            SOUTHFIELD      MI      48075‐3545
ALTHEA NELSON                      2185 N ETNA RD                                                                                           COLUMBIA CITY   IN      46725‐8667
ALTHEA NIXON                       1133 HIRA ST                                                                                             WATERFORD       MI      48328‐1515
ALTHEA OLISECK                     3320 KEENE RD                                                                                            PLANT CITY      FL      33565‐5400
ALTHEA R FIELDS                    4016 PINEBLUFF LN                                                                                        ROCKWALL        TX      75032
ALTHEA SPENCER                     4636 PRICES CREEK RD                                                                                     LEWISBURG       OH      45338‐8047
ALTHEA STANFORD                    7268 TOWNSEND DR                                                                                         ROMULUS         MI      48174‐6351
ALTHEA STARKS                      3548 SEASONS DR                                                                                          ANTIOCH         TN      37013‐4952
ALTHEA TAYLOR                      7422 WOODLAND WAY                                                                                        SAINT LOUIS     MO      63121‐2546
ALTHEA V SPENCER                   4636 PRICES CREEK RD                                                                                     LEWISBURG       OH      45338‐8047
ALTHEA WALLACE                     595 SE OLUSTEE AVE                                                                                       LAKE CITY       FL      32025‐3309
ALTHEARE STANLEY                   413 E. MOHAMMAD ALI                  APT 313 BLD A                                                       LOUISVILLE      KY      40202
ALTHEDIA PICKETT                   120 N DIXIE DR                                                                                           VANDALIA        OH      45377‐2004
ALTHEIDE JR, GEORGE J              RR 1 BOX 13X                                                                                             BRUNSWICK       GA      31523
ALTHEIDE JR, RICHARD C             19831 ROAD 1038                                                                                          OAKWOOD         OH      45873‐9075
ALTHEIDE, BARBARA E                PO BOX 735                                                                                               MASON           WV      25260‐0735
ALTHEIDE, BARBARA LEE              9847 TOWNSQUARE BLVD                                                                                     FENTON          MI      48430‐8219
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Name                              Address1                       Address2                   Address3      Address4                   City            State   Zip
ALTHEIDE, DONALD EUGENE           9847 TOWNSQUARE BLVD                                                                               FENTON           MI     48430‐8219
ALTHEIMER & GRAY                  10 S WACKER DR STE 4000                                                                            CHICAGO           IL    60606
ALTHEIMER & GRAY                  C\O KENDY HESS                 10 S WACKER DR                                                      CHICAGO           IL    60606
ALTHEIMER, ANTHONY L              2020 N WALNUT MEADOW CK                                                                            FLINT            MI     48532
ALTHEIMER, ANTHONY LAWERENCE      2020 N WALNUT MEADOW CK                                                                            FLINT            MI     48532
ALTHEIMER, BERTHOLA               926 CARTON ST                                                                                      FLINT            MI     48505‐5511
ALTHEIMER, DOUGLAS R              11345 GRAND OAK DR                                                                                 GRAND BLANC      MI     48439‐1280
ALTHEIMER, KENNETH                826 E MOORE ST                                                                                     FLINT            MI     48505‐3908
ALTHEIMER, LUTHER                 PO BOX 5081                                                                                        FLINT            MI     48505‐0081
ALTHEIMER, PAMELA F               PO BOX 634                                                                                         FLUSHING         MI     48433‐0634
ALTHEIMER, PAMELA FAY             PO BOX 634                                                                                         FLUSHING         MI     48433‐0634
ALTHEIMER, TITUS A                1181 NANBRU LN                                                                                     FLINT            MI     48532
ALTHEN, LUCILE R                  STE 302                        300 MAPLE PARK BOULEVARD                                            ST CLR SHORES    MI     48081‐2217
ALTHER JORDAN                     4169 PINEHURST CT                                                                                  W BLOOMFIELD     MI     48322‐2266
ALTHERIAN HOWELL                  28 NORWAY AVE                                                                                      TRENTON          NJ     08609
ALTHERR, DAVID A                  9340 LISS RD                                                                                       WILLIS           MI     48191‐9761
ALTHERR, DOLORES M                9340 LISS ROAD                                                                                     WILLIS           MI     48191‐9761
ALTHERR, DOLORES M                9340 LISS RD                                                                                       WILLIS           MI     48191‐9761
ALTHERR, FRANCIS A                301 W 6TH ST                                                                                       ALEXANDRIA       IN     46001‐2319
ALTHERR, GEORGE A                 308 S BROADWAY ST                                                                                  PENDLETON        IN     46064‐1206
ALTHERR, MARIA G                  416 W. WAYNE ST                                                                                    CELINA           OH     45822‐1457
ALTHERR, MARIA G                  416 W WAYNE ST                                                                                     CELINA           OH     45822‐1457
ALTHERR, STEVE C                  6125 N MONROE AVE                                                                                  GLADSTONE        MO     64119‐1969
ALTHERR, TIMOTHY J                7406 CAPRI DR                                                                                      FORT WAYNE       IN     46819‐1715
ALTHERR, WILLIAM B                2024 S 600 E                                                                                       ELWOOD           IN     46036‐8475
ALTHERR, WILLIAM BERNARD          2024 S 600 E                                                                                       ELWOOD           IN     46036‐8475
ALTHOFF, BARBARA A                3802 CORDELL DR                                                                                    KETTERING        OH     45439‐2405
ALTHOFF, BETTY                    787 NE GALILEA CT                                                                                  BLUE SPRINGS     MO     64014‐1807
ALTHOFF, EUGENE G                 4150 INDIAN RIVER BLVD         206                                                                 VERO BEACH       FL     32987‐7224
ALTHOFF, GERALD F                 12088 FOLEY RD                                                                                     FENTON           MI     48430‐9400
ALTHOFF, HAROLD F                 11470 BALTIMORE‐PHILLIPSBURG                                                                       BROOKVILLE       OH     45309‐9622
ALTHOFF, HELEN C                  8830 WALTHER BLVD #127                                                                             BALTIMORE        MD     21234
ALTHOFF, HELEN C                  # 127                          8830 WALTHER BOULEVARD                                              PARKVILLE        MD     21234‐9020
ALTHOFF, KATHERINE J              8096 E COUNTY ROAD B                                                                               SOUTH RANGE      WI     54874‐8224
ALTHOFF, KATHERINE J              8096 E. COUNTY RD B                                                                                SOUTH RANGE      WI     54874‐8224
ALTHOFF, LINDA C                  816 SW 56TH ST                                                                                     OKLAHOMA CITY    OK     73109‐4823
ALTHOR INDUSTRIAL & TRADING CO.   P.O. BOX 29                                                             SANA'A YEMEN
ALTHOUSE JR, JAMES G              313 WILDERNESS TRL                                                                                 HOLLAND         OH      43528‐8074
ALTHOUSE, BETTY                   PO BOX 93                                                                                          CORTLAND        OH      44410‐0093
ALTHOUSE, CRAIG L.                1461 MIDDLE RD                                                                                     HIGHLAND        MI      48357‐3407
ALTHOUSE, DANIEL R                1114 HALL AVENUE                                                                                   SHARON          PA      16146‐3530
ALTHOUSE, JACK R                  24 1/2 BOND ST                                                                                     NILES           OH      44446‐2611
ALTHOUSE, JOHN F                  523 JANET DR                                                                                       CANFIELD        OH      44406‐1535
ALTHOUSE, KENNETH M               6959 OAK GROVE RD                                                                                  HOWELL          MI      48855‐8250
ALTHOUSE, KENT L                  6970 MARJEAN DR                                                                                    TIPP CITY       OH      45371‐2336
ALTHOUSE, LORENE J                1548 VERONA PITSBURG RD        C/O PAMELA FURLONG                                                  ARCANUM         OH      45304‐9618
ALTHOUSE, MARK E                  42 MILLS PL                                                                                        NEW LEBANON     OH      45345‐1429
ALTHOUSE, MARY L                  993 BON AIR DR                                                                                     SHARON          PA      16146‐3581
ALTHOUSE, ROGER L                 1461 MIDDLE RD                                                                                     HIGHLAND        MI      48357‐3407
ALTHOUSE, SUSAN R                 3321 W 800 S                                                                                       JONESBORO       IN      46938‐9781
ALTHOUSE, SUSAN RANAE             3321 W 800 S                                                                                       JONESBORO       IN      46938‐9781
ALTHOUSE, TERRENCE S              17150 SYLVAN ST                                                                                    ROSEVILLE       MI      48066‐1692
ALTHRIAL WILLIAMS                 5743 SHANNON DR                                                                                    SHREVEPORT      LA      71129‐5116
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Name                             Address1                          Address2                          Address3   Address4                   City             State Zip
ALTIA INC                        7222 COMMERCE CENTER DR STE 240                                                                           COLORADO SPRINGS CO 80919‐2632

ALTIA INC                        ACCTS RECEIVABLE                  5030 CORPORATE PLAZA DR STE 200                                         COLORADO SPRINGS   CO   80919‐3187

ALTIA INC                        5030 CORPORATE PLAZA DR STE 200                                                                           COLORADO SPRINGS   CO   80919‐3187

ALTIA INC                        ATTN: CONTRACTS ADMINISTRATOR     5030 CORP PLAZA DR.                                                     COLORADO SPRINGS   CO   80919

ALTIA, INC                       5030 CORPORATE PLAZA DR STE 200                                                                           COLORADO SPRINGS   CO   80919‐3187

ALTIA, INC.
ALTIA, INC.                      5030 CORP PLAZA DR.                                                                                       COLORADO SPRINGS   CO   80919

ALTIA, INC.                      ATTN: CONTRACTS ADMINISTRATOR     5030 CORP PLAZA DR.                                                     COLORADO SPRINGS   CO   80919

ALTIC ROBERT DEWEY (352151)      SHELDEN                           R
ALTIC, ALLEN                     78 GREEN BOWER LN                                                                                         POWELL             OH   43065‐9667
ALTIC, ANDREW J                  IZEN JOE ALFRED JR                5222 SPRUCE ST                                                          BELLAIRE           TX   77401‐3311
ALTIC, MARK A                    3138 S 750 E                                                                                              BRINGHURST         IN   46913‐9678
ALTIC, ROBERT D                  SHELDEN                           R
ALTIC, WILLIAM J                 143 WESTMORELAND DR E                                                                                     KOKOMO             IN   46901‐5160
ALTIE ALLEN                      1744 COURTLAND AVE                                                                                        NORWOOD            OH   45212‐2844
ALTIER JR, JAMES E               85 LAWNVIEW AVE                                                                                           NILES              OH   44446‐2043
ALTIER, EDITH G                  1710 GYPSY LN                                                                                             NILES              OH   44446‐3206
ALTIER, EDITH G                  1710 GYPSY LANE                                                                                           NILES              OH   44446‐3206
ALTIER, JOSEPH V                 188 WADE AVE                                                                                              NILES              OH   44446‐1927
ALTIER, MICHELLE M               85 LAWNVIEW AVE                                                                                           NILES              OH   44446‐2043
ALTIER, MICHELLE M.              85 LAWNVIEW AVE                                                                                           NILES              OH   44446‐2043
ALTIER, ROBERT T                 45 MILTON AVE                                                                                             YOUNGSTOWN         OH   44509‐2843
ALTIER, ROBERT THOMAS            45 MILTON AVE                                                                                             YOUNGSTOWN         OH   44509‐2843
ALTIER, TONI L                   2303 HOLIDAY TER APT 56                                                                                   LANSING            IL   60438‐1660
ALTIERE, RICHARD L               9060 STANLEY RD.                                                                                          WINDHAM            OH   44288‐4288
ALTIERI, EVA M                   150 SUGAR PINE RD                                                                                         ROCHESTER HLS      MI   48309‐2232
ALTIERI, LOUIS F                 72A FRANKLIN LN                   CRESTWOOD VILLAGE                                                       WHITING            NJ   08759‐6341
ALTIERI, MARIA                   22 MIRAGE CIR                                                                                             ROCHESTER          NY   14626‐4709
ALTIERI, PAOLO                   92 CANTON ST                                                                                              ROCHESTER          NY   14606‐1948
ALTIERI, ROSE N                  292 THORPE AVE APT 1H                                                                                     MERIDEN            CT   06450‐8330
ALTIERO, GREGORY A               33849 COFFEE SCHOOL RD                                                                                    SALEM              OH   44460
ALTIERS, BYRON K                 5635 REYNOLDSBURG BALTIMORE RD                                                                            PICKERINGTON       OH   43147‐9586
ALTIERS, BYRON KEITH             5635 ST. RT. 256                                                                                          PICKERINGTON       OH   43147
ALTIERY, LAWRENCE A              59 BELLA VISTA DR                 2557 CUMBERLAND CREEK DRIVE                                             NORTH WINDHAM      CT   06256‐8289
ALTIM TWISS                      BEVAN & ASSOCIATES LPA INC        6555 DEAN MEMORIAL PARKWAY                                              BOSTON HTS         OH   44236
ALTIMARE EMILY                   951 WEST WALNUT STREET                                                                                    LANCASTER          PA   17603‐3118
ALTIMAX COURIER (2006) LIMITED   KEVIN BUTLER                      274 DIEPPE BLVD                              DIEPPE NB E1A 6P8 CANADA

ALTIMORE, WILLIAM J              5708 FLAXMOOR ST                                                                                          MIDLAND            MI   48640‐2214
ALTIMUS, BARBARA                 PRIBANIC & PRIBANIC               1735 LINCOLN WAY                                                        WHITE OAK          PA   15131‐1715
ALTINGER, EDWIN G                NOORDERLAAN 75                                                                 6090 GERMANY
ALTIS RATCLIFF                   480 ELM ST                                                                                                PONTIAC            MI   48342‐3424
ALTIS, GERALDINE A               311 4TH ST 6                                                                                              WALNUT RIDGE       AR   72476
ALTIS, LINDA                     11012 SUNSET                                                                                              LIVONIA            MI   48150
ALTIS, LINDA                     11012 SUNSET ST                                                                                           LIVONIA            MI   48150‐2947
ALTIUM INC                       DEPT LA 22660                                                                                             PASADENA           CA   91185‐2660
ALTIUM LTD
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Name                                Address1                        Address2                         Address3   Address4               City             State   Zip
ALTIZER JR., MORRIS DEAN            46294 CHATSWORTH DR                                                                                BELLEVILLE        MI     48111‐1219
ALTIZER, BETTY J                    4504 FRANKLIN BLVD                                                                                 CLEVELAND         OH     44102‐3428
ALTIZER, HUGH D                     2799 BRALEY RD                                                                                     RANSOMVILLE       NY     14131‐9608
ALTIZER, LISA A                     PO BOX 125                                                                                         NEW HUDSON        MI     48165‐0125
ALTIZER, MORRIS D                   46294 CHATSWORTH DR                                                                                BELLEVILLE        MI     48111‐1219
ALTIZER, MORRIS DEAN                46294 CHATSWORTH DR                                                                                BELLEVILLE        MI     48111‐1219
ALTIZER, NEWTON D                   1002 MCKEIGHAN AVE                                                                                 FLINT             MI     48507‐2883
ALTMAN ADAM                         ALTMAN, ADAM                    1930 E MARLTON PIKE SUITE Q29                                      CHERRY HILL       NJ     08003
ALTMAN BUILDING                     135 WEST 18TH ST                                                                                   NEW YORK          NY     10011
ALTMAN DONALD L (170340)            BROWN TERRELL HOGAN ELLIS       804 BLACKSTONE BLDG , 233 EAST                                     JACKSONVILLE      FL     32202
                                    MCCLAMMA & YEGELWEL P.A.        BAY STREET
ALTMAN EARL                         1589 BETHEL CHURCH RD                                                                              BASSFIELD        MS      39421‐9534
ALTMAN OTWELL W (626418)            GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                        NORFOLK          VA      23510
                                                                    STREET, SUITE 600
ALTMAN REECE & MICKEY               2106 CROCKER STREET                                                                                HOUSTON           TX     77006‐1908
ALTMAN ROBERT L (425134)            WEITZ & LUXENBERG               180 MAIDEN LANE                                                    NEW YORK          NY     10038
ALTMAN ROBERT L (425134) ‐ ALTMAN   WEITZ & LUXENBERG               180 MAIDEN LANE                                                    NEW YORK          NY     10038
JULIA KAY
ALTMAN WEIL PUBLICATIONS INC        2 CAMPUS BLVD STE 200                                                                              NEWTOWN SQUARE    PA     19073‐3243

ALTMAN, BARBARA S                   405 LINDA LN                                                                                       CABOT            AR      72023‐3137
ALTMAN, CAROLINE                    94 FRANKLIN ST                                                                                     MOUNT MORRIS     MI      48458‐1166
ALTMAN, DANIEL R                    3223 W PRICE RD                                                                                    SAINT JOHNS      MI      48879‐9268
ALTMAN, DAVID L                     840 W MAIN ST #14                                                                                  WASHINGTONVLE    OH      44490
ALTMAN, DAVID R                     4863 N FLINT RD                                                                                    SANFORD          MI      48657
ALTMAN, DONALD                      BROWN TERRELL HOGAN ELLIS       804 BLACKSTONE BLDG, 233 EAST                                      JACKSONVILLE     FL      32202
                                    MCCLAMMA & YEGELWEL P.A.        BAY STREET
ALTMAN, DOROTHY L                   1439 OAKWOOD AVE                                                                                   NAPOLEON         OH      43545‐1066
ALTMAN, DOUGLAS A                   7231 FRASER RD                                                                                     FREELAND         MI      48623‐8905
ALTMAN, ERNEST                      6161 CHEROKEE RD                                                                                   STOCKTON         CA      95215‐1154
ALTMAN, FREDRIC S                   10108 BRIAR CIR                                                                                    HUDSON           FL      34667‐6601
ALTMAN, GARY D                      7759 ROSE CUT DR                                                                                   IRA              MI      48023‐2526
ALTMAN, GARY F                      62935 TOURNAMENT DR                                                                                WASHINGTN TWP    MI      48094‐1565
ALTMAN, HORACE R                    7176 LINCOLN AVENUE EXT                                                                            LOCKPORT         NY      14094‐6216
ALTMAN, JIMMY C                     405 LINDA LN                                                                                       CABOT            AR      72023‐3137
ALTMAN, JO A                        1120 PLEASANT VALLEY RD                                                                            MANSFIELD        OH      44903‐7356
ALTMAN, JOHN D                      849B HARVARD DR                                                                                    LEBANON          OH      45036‐8568
ALTMAN, JOHN L                      7740 TURTLE RD                                                                                     WHITTEMORE       MI      48770‐9793
ALTMAN, JULIA KAY                   WEITZ & LUXENBERG               180 MAIDEN LANE                                                    NEW YORK         NY      10038
ALTMAN, LEO                         PO BOX 123                                                                                         QUITMAN          MS      39355‐0123
ALTMAN, MANDY M                     3722 MINNESOTA                                                                                     DETROIT          MI      48212‐1145
ALTMAN, MARIA R                     21432 SADLER RD                                                                                    SAUCIER          MS      39574‐8876
ALTMAN, MARTIN A                    PO BOX 35                                                                                          BUTLER           OH      44822‐0035
ALTMAN, MICHAEL A                   1333 ST RT 42                                                                                      ASHLAND          OH      44805
ALTMAN, MOLLIE LAVERUE              1809 N CHARLES ST                                                                                  BELLEVILLE       IL      62221‐4025
ALTMAN, NICHOLAS C                  11168 DUFFIELD RD                                                                                  MONTROSE         MI      48457‐9401
ALTMAN, NICHOLAS CHRISTOPHER        11168 DUFFIELD RD                                                                                  MONTROSE         MI      48457‐9401
ALTMAN, OTWELL W                    GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                        NORFOLK          VA      23510‐2212
                                                                    STREET, SUITE 600
ALTMAN, PHILIP S                    2557 POPLAR RIDGE DR                                                                               BETHEL           OH      45106
ALTMAN, R L                         3722 MINNESOTA                                                                                     DETROIT          MI      48212
ALTMAN, ROBERT E                    3810 N VERMILION ST                                                                                DANVILLE         IL      61832‐1133
ALTMAN, ROBERT L                    WEITZ & LUXENBERG               180 MAIDEN LANE                                                    NEW YORK         NY      10038
ALTMAN, SHARON R                    3550 N WALDO RD                                                                                    MIDLAND          MI      48642‐9736
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Name                        Address1                           Address2                 Address3       Address4                   City               State   Zip
ALTMAN, TANOA J             14119 SE 63RD AVE                                                                                     SUMMERFIELD         FL     34491‐7797
ALTMAN, VICKI A             PO BOX 308                                                                                            SWEETSER            IN     46987‐0308
ALTMAN, VIRGINIA C          5914 MILHOUSE CT                                                                                      INDIANAPOLIS        IN     46221‐4136
ALTMAN, VIRGINIA CHARLENE   5914 MILHOUSE CT                                                                                      INDIANAPOLIS        IN     46221‐4136
ALTMAN, WILLIAM H           3550 N WALDO RD                                                                                       MIDLAND             MI     48642‐9736
ALTMANN ERNEST              ALTMANN, ERNEST                    120 E 12TH ST                                                      TRACY               CA     95376‐3604
ALTMANN, ERNEST             HYPPA RICHARD G                    120 E 12TH ST                                                      TRACY               CA     95376‐3604
ALTMEYER JR, JOHN J         3113 IDAHO ST                                                                                         MCKEESPORT          PA     15132‐1850
ALTMEYER, BRUCE D           24 PORTER RD                                                                                          WOLCOTT             CT     06716‐1415
ALTMEYER, CATHERINE D       3113 IDAHO AVE                                                                                        MCKEESPORT          PA     15132
ALTMEYER, CATHERINE D       3113 IDAHO ST                                                                                         MCKEESPORT          PA     15132‐1850
ALTMEYER, SOPHIE SUE        133 BURLINGTON ROAD                                                                                   UNIONVILLE          CT     06085‐1375
ALTMEYER, THOMAS J          922 OREMS RD                                                                                          BALTIMORE           MD     21221‐3239
ALTMILLER JR, CARL J        68 THORNRIDGE DR                                                                                      LEVITTOWN           PA     19054‐2214
ALTMILLER, ROBERT A         505 GLENNWOOD CT                                                                                      MIDDLETOWN          DE     19709‐9278
ALTMON, RONALD E            3492 HIGHWAY 5 APT 310                                                                                DOUGLASVILLE        GA     30135
ALTNEU MICHEAL              19188 N 93RD WAY                                                                                      SCOTTSDALE          AZ     85255‐5526
ALTO ‐ O KELLER LLC         12701 INKSTER RD                                                                                      LIVONIA             MI     48150‐2216
ALTO BYRD III               2465 ONTARIO AVE                                                                                      NIAGARA FALLS       NY     14305‐3129
ALTO COLVIN                 615 S 11TH ST                                                                                         SAGINAW             MI     48601‐1908
ALTO L LARK                 853 CATALPA DR                                                                                        DAYTON              OH     45402‐5904
ALTO LARK                   853 CATALPA DR                                                                                        DAYTON              OH     45402‐5904
ALTO MANUFACTURING DIV      38338 ABRUZZI DR                                                                                      WESTLAND            MI     48185‐3282
ALTO MANUFACTURING INC      38338 ABRUZZI DR                                                                                      WESTLAND            MI     48185‐3282
ALTO MICHAEL                7517 GALWAY CT                                                                                        WEST CHESTER        OH     45069‐1269
ALTO O KELLER LLC           12701 INKSTER RD                                                                                      LIVONIA             MI     48150‐2216
ALTO US INC                 26488 GROESBECK HWY                                                                                   WARREN              MI     48089‐1541
ALTO, JULIE A               9246 AMSDEN WAY                                                                                       EDEN PRAIRIE        MN     55347‐3009
ALTO, ROGER A               3511 OLD STATE RD                                                                                     GREENWICH           OH     44837‐9130
ALTO, SCOTT E               3443 NEW STATE RD                                                                                     WILLARD             OH     44890‐9781
ALTOBELLO JR, TONY          32663 PALMER RD                                                                                       WESTLAND            MI     48186‐4700
ALTOBELLO, ANGELA MARIE     6646 CONGRESS ST                                                                                      BELLEVILLE          MI     48111‐4248
ALTOBELLO, DANIEL C         2530 HAYMOND AVE                                                                                      RIVER GROVE          IL    60171‐1724
ALTOBELLO, GIOVANNI         97 LOCUST AVE                                                                                         SCARSDALE           NY     10583‐6230
ALTOBELLO, ROSE M           27109 KINGSWOOD DR                                                                                    DEARBORN HTS        MI     48127‐3342
ALTOFT, LESTER H            5665 E STATE RD                                                                                       HASTINGS            MI     49058‐9456
ALTOM TRANSPORT INC         7439 ARCHER AVE                                                                                       SUMMIT               IL    60501‐1219
ALTOM, MELVIN E             5280 VINEYARD LN                                                                                      FLUSHING            MI     48433‐2438
ALTOM, TOMMYE L             165 DEER HUNTERS LANE                                                                                 POWDER SPS          GA     30127
ALTOM, TOMMYE L             165 DEERHUNTER LN                                                                                     POWDER SPGS         GA     30127‐6594
ALTOMAK LTD                 L17 15‐19 BENT ST                                                          SYDNEY NS 2000 AUSTRALIA
ALTOMARE, FRANK R           19913 KNOLLCROSS DR                                                                                   GERMANTOWN         MD      20876‐6351
ALTOMARE, MICHAEL A         3131 RIVERMILL DR 18                                                                                  COLUMBUS           OH      43220
ALTOMARI, FRANK C           3524 WATSON CT                                                                                        LORAIN             OH      44053‐2247
ALTOMESE ROSE               30 CLINTON AVE N                   C/O CATHOLIC CHARITIES                                             ROCHESTER          NY      14604‐1404
ALTOMESE V ROSE             C/O CATHOLIC CHARITIES             30 N CLINTON AVE.                                                  ROCHESTER          NY      14604
ALTOMONTE JR., ANGELO       20650 CRESTMONT LN                                                                                    DEARBORN HEIGHTS   MI      48127‐2604

ALTOMONTE, GIOVANNI         2840 CHESTERFIELD DR                                                                                  TROY                MI     48083‐2621
ALTOMONTE, ROBERTA F        7428 DAGGETT TER                                                                                      NEW PORT RICHEY     FL     34655‐2635
ALTON A POUNCEY             888 PALLISTER ST APT 711                                                                              DETROIT             MI     48202‐2672
ALTON ACKLEY                PO BOX 1242                                                                                           FLINT               MI     48501‐1242
ALTON AGLE                  8303 N SMITH RD                                                                                       HENDERSON           MI     48841‐9727
ALTON ANGEL                 1221 EGO DR                                                                                           CRESTVIEW           FL     32536‐4273
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Name                                Address1                       Address2                      Address3   Address4               City            State   Zip
ALTON ARGO                          195 BREWER RD                                                                                  LULA             GA     30554‐4148
ALTON BAILEY JR                     461 GREENHILL RD                                                                               BOWLING GREEN    KY     42103‐9867
ALTON BARRETT                       1343 OXBOW LAKE RD                                                                             WHITE LAKE       MI     48386‐3849
ALTON BECKER                        1518 HERON RIDGE BLVD                                                                          GREENWOOD        IN     46143‐7891
ALTON BELCH                         120 W LEXINGTON ST             APT 17                                                          DAVISON          MI     48423‐1561
ALTON BENSON                        8327 DAVISON RD                                                                                DAVISON          MI     48423‐2039
ALTON BERRY                         R #1 BOX 84 RUSHING CR CH RD                                                                   CAMDEN           TN     38320
ALTON BIGELOW                       247 E OAK ST                   BOX 373                                                         ELSIE            MI     48831
ALTON BOB                           560 INDIAN MOUND ST APT 619                                                                    WAYZATA          MN     55391
ALTON BONDIE                        10203 KIES RD                                                                                  MANCHESTER       MI     48158‐9542
ALTON BOYLE                         7740 S CHANDLER RD                                                                             SAINT JOHNS      MI     48879‐8111
ALTON BRANCH SR                     9315 WALKER RD                                                                                 SHREVEPORT       LA     71118‐2929
ALTON BRAY                          1317 WILLOW TREE DR                                                                            WOODSTOCK        GA     30188‐4647
ALTON BROWN JR                      PO BOX 17415                                                                                   DAYTON           OH     45417‐0415
ALTON BUCHANAN                      289 COLVIN ST                  #2                                                              ROCHESTER        NY     14611‐1854
ALTON BURKE III                     1 CHEVIOT LN                                                                                   ROCHESTER        NY     14624‐5024
ALTON C HARPER                      123 S MUNN AVE APT 7G                                                                          EAST ORANGE      NJ     07018‐3417
ALTON C MCGREW                      211 N MASSENGILL ST                                                                            HAZLEHURST       MS     39083
ALTON CARLYLE                       2125 COLE RD                                                                                   CARNESVILLE      GA     30521‐4242
ALTON COOPER                        8166 HILLDALE RD                                                                               SPRINGPORT       MI     49284‐9708
ALTON COX                           C/O THE MADEKSHO LAW FIRM      8866 GULF FREEWAY SUITE 440                                     HOUSTON          TX     77017
ALTON CROW                          7370 ROBINHOOD LN                                                                              FORT WORTH       TX     76112‐5837
ALTON D RAINEY                      PO BOX 42                                                                                      KILLEN           AL     35645‐0042
ALTON D TANKERSLEY                  WEITZ & LUXENBERG PC           700 BROADWAY                                                    NEW YORK CITY    NY     10003
ALTON D TANKERSLEY                  C/O WEITZ & LUXENBERG PC       700 BROADWAY                                                    NEW YORK CITY    NY     10003
ALTON DAVIDSON JR                   231 WILLOWBY LN                                                                                PINCKNEY         MI     48169‐9160
ALTON DAVIS                         2101 POWELL LANE APT A‐8                                                                       DECATUR          GA     30033
ALTON DEEMS                         1992 TAYLORSVILLE RD                                                                           TAYLORSVILLE     GA     30178‐1641
ALTON DERUSO                        37750 GIAVON ST                                                                                PALMDALE         CA     93552‐4028
ALTON DO PC                         PO BOX 3220                                                                                    MONTROSE         MI     48457‐0920
ALTON DOUGLASS                      5228 WOODCLIFF DR                                                                              FLINT            MI     48504‐1259
ALTON DUBOSE                        4165 BEN HILL RD                                                                               COLLEGE PARK     GA     30349‐2023
ALTON E FULLER                      1235 ALCONY‐CONOVER RD                                                                         CASSTOWN         OH     45312
ALTON E GARDNER & FRANCES J GARDNER 793 HILLCREST DR                                                                               SMITHLAND        KY     42081‐8951
JT TEN
ALTON E GOTT                        2019 N. FAIRFIELD RD                                                                           DAYTON          OH      45432‐2717
ALTON EARLS JR                      3986 SANTA CLARA DR                                                                            GREENWOOD       IN      46142‐8418
ALTON EARY                          824 N 34TH ST                                                                                  WACO            TX      76710‐5441
ALTON EDWARDS                       120 FOX AVE                                                                                    DRACUT          MA      01826‐2719
ALTON F HUNT                        C/O WILLIAMS KHERKHER HART &   8441 GULF FREEWAY STE 600                                       HOUSTON         TX      77007
                                    BOUNDAS LLP
ALTON FAIRALL                       6754 HOOTER CT                                                                                 LAUREL          DE      19956‐3214
ALTON FARGO                         335 BOGEY DR                                                                                   DAVENPORT       FL      33837‐2562
ALTON FISK                          4402 CIRCLE DR                                                                                 FLINT           MI      48507‐2724
ALTON FLINT                         6184 EAST AVE                                                                                  NEWFANE         NY      14108‐1328
ALTON FOLCKEMER                     8845 SHERIDAN DR                                                                               WILLIAMSVILLE   NY      14221‐6319
ALTON FULGHAM                       PO BOX 143                                                                                     CORBIN          VA      22446‐0143
ALTON FULLER                        1235 N ALCONY CONOVER RD                                                                       CASSTOWN        OH      45312‐9533
ALTON GARDNER FRANCES GARDNER JT    ALTON GARDNER                  793 HILLCREST DR                                                SMITHLAND       KY      42081‐8951
TEN
ALTON GARRETT                       11251 CAMPFIELD DR UNIT 2310                                                                   JACKSONVILLE     FL     32256‐3931
ALTON GREGSON                       311 E ADAMS ST                                                                                 PITTSFIELD       IL     62363‐1511
ALTON GUERNSEY                      6772 MCKENNA RD                                                                                FENWICK          MI     48834‐9685
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Name                  Address1                           Address2                         Address3                   Address4               City            State Zip
ALTON GUY ECHOLS      ATTN: ROBERT W PHILLIPS            SIMMONS BROWDER GIANARIS         707 BERKSHIRE BLVD, PO BOX                        EAST ALTON        IL 62024
                                                         ANGELIDES & BARNERD LLC          521
ALTON HALL            8324 TIMBERWOOD LN                                                                                                    OKLAHOMA CITY   OK   73135‐6110
ALTON HARPER          143 STEUBEN ST                                                                                                        EAST ORANGE     NJ   07018‐3930
ALTON HARRIS          12150 RATTALEE LAKE RD                                                                                                DAVISBURG       MI   48350‐1220
ALTON HART            31 MORGAN STREET                                                                                                      MOORESVILLE     IN   46158‐1514
ALTON HATHAWAY SR     6069 WELLS RD                                                                                                         MACCLENNY       FL   32063‐5517
ALTON HATTER          3575 AQUARINA ST                                                                                                      WATERFORD       MI   48329‐2105
ALTON HAWKINS         580 STRANGE RD                                                                                                        BOAZ            AL   35957‐3762
ALTON HAWKINS         319 RIDGECREST DR                                                                                                     W CARROLLTON    OH   45449‐2239
ALTON HAWLEY          7388 S DURAND RD                                                                                                      DURAND          MI   48429‐9401
ALTON HAYOSTEK        2037 LAUREL LAKE DR                                                                                                   MONTEAGLE       TN   37356‐5022
ALTON HEDGE           124 WILLIAMS HILL RD                                                                                                  SIX MILE RUN    PA   16679‐9244
ALTON HERALD          9234 FLAGG SPRINGS PIKE                                                                                               ALEXANDRIA      KY   41001‐7318
ALTON HILL            1208 CONNECTICUT AVE                                                                                                  MARYSVILLE      MI   48040‐1419
ALTON HOLLIS          17526 WESTMORELAND RD                                                                                                 DETROIT         MI   48219‐3549
ALTON HUDGINS         2382 SULLIVAN DR                                                                                                      BELLBROOK       OH   45305‐1742
ALTON HUFF            1833 W WILKINS ST                                                                                                     INDIANAPOLIS    IN   46221‐1126
ALTON HUNTSMAN        8703 N COUNTY ROAD 150 E                                                                                              PITTSBORO       IN   46167‐9471
ALTON J CURRAN        588 EAST AVE                                                                                                          PAWTUCKET       RI   02860
ALTON J HUDGINS JR    92‐960 MAKAKILO DR APT 56                                                                                             KAPOLEI         HI   96707
ALTON J ROBINSON      1310 LAVENDER AVE                                                                                                     FLINT           MI   48504‐3341
ALTON JACKSON         220 HYATT LN                                                                                                          LINDEN          MI   48451‐8702
ALTON JOHNSON         927 W NORTH ST                                                                                                        GREENFIELD      IN   46140‐1936
ALTON KINGMAN         3765 PLEASANT LN                                                                                                      ROSCOMMON       MI   48653‐8623
ALTON KYSER JR        19310 STOEPEL ST                                                                                                      DETROIT         MI   48221‐1742
ALTON L O'BRIANT      968 KINGS HWY                      APT # Z‐1                                                                          WEST DEPTFORD   NJ   08086
ALTON L WHITTINGTON   1010 HENRY RD                                                                                                         CRYSTAL SPRIN   MS   39059‐9711
ALTON LA VALLIS       181 CARR ST                                                                                                           PONTIAC         MI   48342‐1606
ALTON LACKEY          10740 GARRISON RD                                                                                                     DURAND          MI   48429‐1832
ALTON LOVELESS        74605 DEQUINDRE RD                                                                                                    LEONARD         MI   48367‐3106
ALTON M SMITH         2707 SW LINCOLN DR                                                                                                    SMITHDALE       MS   39664
ALTON MARKLEY         1123 OAKDALE DR                                                                                                       MANSFIELD       OH   44905‐1651
ALTON MARKS           29810 LACY DR                                                                                                         WESTLAND        MI   48186‐7348
ALTON MCCUE           1595 OLD ELKTON PIKE                                                                                                  DELLROSE        TN   38453‐5048
ALTON MORELAND        8301 W CHARLESTON BLVD APT 1031W                                                                                      LAS VEGAS       NV   89117
ALTON NIELSEN         4071 PONCA DR SW                                                                                                      GRANDVILLE      MI   49418‐1757
ALTON NORRIS          C/O WILLIAMS KHERKHER HART &       8441 GULF FREEWAY STE 600                                                          HOUSTON         TX   77007
                      BOUNDAS LLP
ALTON OVERTON         212 WALTERS ST                                                                                                        LONGVIEW        TX   75603‐9473
ALTON PAGE            PO BOX 564                                                                                                            DEARBORN        MI   48121‐0564
ALTON PATRICK         PO BOX 187                                                                                                            RICKMAN         TN   38580‐0187
ALTON PATRICK         P.O. BOX 187                                                                                                          RICKMAN         TN   38580‐0187
ALTON PRICE           7517 STERLING RD                                                                                                      STERLING        OH   44276‐9723
ALTON PRITCHARD       4545 ELMBANK AVE                                                                                                      SAINT LOUIS     MO   63115‐2306
ALTON PRUITT          212 SUN SWEPT DR LOT 3                                                                                                TROY            MO   63379
ALTON QUACKENBUSH     112 S CLINTON ST                                                                                                      ALBION          NY   14411‐1308
ALTON R HAWKINS       319 RIDGECREST DR                                                                                                     W CARROLLTON    OH   45449‐2239
ALTON R KELLEY        G PATTERSON KEAHEY PC              ONE INDEPENDENCE PLAZA STE 612                                                     BIRMINGHAM      AL   35209
ALTON RAGLAND JR      19501 BROOKFIELD LN                                                                                                   WARRENSVILLE    OH   44122‐7030
                                                                                                                                            HEIGHTS
ALTON RAINEY          PO BOX 42                                                                                                             KILLEN          AL   35645‐0042
ALTON RAMSEY          516 DIAMOND HEAD LN                                                                                                   UNION           MO   63084‐4474
ALTON RAU             PO BOX 173                                                                                                            LINTON          ND   58552
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ALTON RAY PARSON    WEITZ & LUXENBERG               700 BROADWAY                                                    NEW YORK           NY     10003
ALTON REED          THE MADEKSHO LAW FIRM           8866 GULF FREEWAY STE 440                                       HOUSTON            TX     77017
ALTON RIDDLE        7677 IRONBRIDGE CT                                                                              FLORENCE           KY     41042‐2819
ALTON ROAD SHELL    1698 ALTON RD                                                                                   MIAMI BEACH        FL     33139‐2426
ALTON ROBINSON      1310 LAVENDER AVE                                                                               FLINT              MI     48504‐3341
ALTON ROSS          175 W FACTORY RD                                                                                SPRINGBORO         OH     45066‐1233
ALTON RUPP          9982 COLBY RD                                                                                   CORFU              NY     14036‐9555
ALTON SANFORD       C/O THE MADEKSHO LAW FIRM       8866 GULF FREEWAY SUITE 440                                     HOUSTON            TX     77017
ALTON SCARBOROUGH   8959 S FM 779                                                                                   ALBA               TX     75410‐8567
ALTON SCHAPER       2409 MERSHON ST                                                                                 SAGINAW            MI     48602‐5261
ALTON SCHUTZA       4709 ALAMO CT                                                                                   GRAND PRAIRIE      TX     75052‐1704
ALTON SCUTCHFIELD   9993 SUMMERFIELD RD                                                                             TEMPERANCE         MI     48182‐9703
ALTON SEAY          20286 HEYDEN ST                                                                                 DETROIT            MI     48219‐1449
ALTON SIMPSON       3131 MAPLEDALE ST                                                                               COMMERCE           MI     48382‐4356
                                                                                                                    TOWNSHIP
ALTON SIMS          3604 DUBLIN RD                                                                                  SCRANTON          AR      72863‐9287
ALTON SLAGLE        347 SILVER FOX DR                                                                               MILAN             MI      48160‐1293
ALTON SMITH         979 ASPEN VALLEY AVE                                                                            LAS VEGAS         NV      89123‐3198
ALTON SMITH         2707 SW LINCOLN DR                                                                              SMITHDALE         MS      39664‐7441
ALTON SMITH         3368 BOKER RIDGE RD RT 2                                                                        MT PLEASANT       TN      38474
ALTON SOLDAN        2425 MARYLAND AVE                                                                               FLINT             MI      48506‐2854
ALTON SPORTS INC.
ALTON STODDARD      5001 TENNY ST                                                                                   LANSING           MI      48910‐5344
ALTON SUTTON        47 TERRACE PARK                                                                                 ROCHESTER         NY      14619‐2416
ALTON SUTTON        2300 HARDEE RD                                                                                  KINSTON           NC      28504‐1314
ALTON SWAIN         400 W CRINER ST                                                                                 GRANDVIEW         TX      76050‐1801
ALTON T ROSS        175 W FACTORY ROAD                                                                              SPRINGBORO        OH      45066‐1233
ALTON TERNASKY      9444 WADENA WAY                                                                                 ELK GROVE         CA      95758‐1048
ALTON TUCKER        584 REX AVE                                                                                     KALAMAZOO         MI      49048‐2354
ALTON TUCKER        1701 FISCHER DR                                                                                 NORMAN            OK      73026‐9172
ALTON TUCKER        10 CO.RD #52                                                                                    LEXINGTON         AL      35648
ALTON W ROSS        51 LIBBY CT                                                                                     FRANKLIN          OH      45005
ALTON WALLACE       PO BOX 133                                                                                      WANETTE           OK      74878‐0133
ALTON WAYNE SPANN   WEITZ & LUXENBERG PC            700 BROADWAY                                                    NEW YORK CITY     NY      10003
ALTON WEBB          6451 HARRIS LAKE RD                                                                             MARSHALL          TX      75672‐1847
ALTON WELLS         16670 SYCAMORE ST                                                                               HESPERIA          CA      92345‐2019
ALTON WEST          14778 JOHNSON RD                                                                                LAUREL            DE      19956‐2944
ALTON WHEELER       900 LONG BLVD APT 647                                                                           LANSING           MI      48911‐6811
ALTON WHITTINGTON   1010 HENRY RD                                                                                   CRYSTAL SPRINGS   MS      39059‐9711
ALTON WICKER        10330 PETTIT RD                                                                                 BIRCH RUN         MI      48415‐8737
ALTON WILLIAMS      4416 COVEY HOLLOW RD                                                                            CULLEOKA          TN      38451‐2186
ALTON WILLIAMS      1162 ILLINOIS AVE                                                                               MC DONALD         OH      44437‐1638
ALTON, ANN          C/O LESLIE S ALTON              71 GREENFIELD COURT                                             HOWARD            OH      43028
ALTON, ANN          649 GRAND RIDGE DR              C/O LESLIE S ALTON                                              HOWARD            OH      43028‐8406
ALTON, BOB H        707 LLOYD AVE                                                                                   ROYAL OAK         MI      48073‐4014
ALTON, BOBBI E      703 LLOYD AVE                                                                                   ROYAL OAK         MI      48073‐4014
ALTON, CHARLES E    4271 E MICHIGAN RD                                                                              SHELBYVILLE       IN      46176‐9242
ALTON, DARREL M     2619 ABERDOVEY DR                                                                               ROYAL OAK         MI      48073‐3708
ALTON, DENNIS R     15834 W GOLDENROD DR                                                                            SURPRISE          AZ      85374‐5627
ALTON, EMMA T.      221SCHILLER AVE                                                                                 SANDUSKY          OH      44870‐5451
ALTON, JERI K       4108 LA MIRADA DR                                                                               BAKERSFIELD       CA      93309‐1720
ALTON, KENNETH J    1166 RUTH AVE                                                                                   YPSILANTI         MI      48198‐6418
ALTON, KEVIN H      6145 HORSTMEYER RD                                                                              LANSING           MI      48911‐6412
ALTON, LL           BOONE ALEXANDRA                 205 LINDA DR                                                    DAINGERFIELD      TX      75638‐2107
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Name                            Address1                        Address2                    Address3     Address4                    City               State   Zip
ALTON, ROBERT E                 APT 109                         4853 WESTCHESTER DRIVE                                               YOUNGSTOWN          OH     44515‐2569
ALTON, RODNEY D                 744 S SAINT JOHNS ST                                                                                 ITHACA              MI     48847‐1809
ALTONEN, JOHN R                 4599 CREEK FOREST TRL                                                                                LILBURN             GA     30047‐8934
ALTONET FRANCE                  19146 WISCONSIN ST                                                                                   DETROIT             MI     48221‐3224
ALTONIO COWANS                  20431 ANDOVER ST                                                                                     DETROIT             MI     48203‐1155
ALTONIO J BETTS                 1548 SHELLY DRIVE                                                                                    DAYTON              OH     45406‐4242
ALTOONA CITY SCHOOL DISTRICT
ALTOP, JACK E                   PO BOX 175                                                                                           NASHVILLE          IN      47448‐0175
ALTOVA INC                      900 CUMMINGS CENTER STE 314 T                                                                        BEVERLY            MA      01915
ALTRA INDUSTRIAL MOTION INC     23601 HOOVER RD                                                                                      WARREN             MI      48089‐1986
ALTRA INDUSTRIAL MOTION INC     449 GARDNER ST                                                                                       SOUTH BELOIT       IL      61080‐1326
ALTRA INDUSTRIAL MOTION, INC.   JOHN POLLOCK                    300 GRANITE ST STE 201                                               BRAINTREE          MA      02184‐3950
ALTRA TRANSPORT INC             151 NEAL AVE                                                                                         INDIANAPOLIS       IN      46222‐4528
ALTRUIST INDUSTRIES INC         97 N CASS AVE                                                                                        PONTIAC            MI      48342‐2003
ALTSCHEFFEL, RACHEL MARIE       3520 N TOWERLINE RD                                                                                  SAGINAW            MI      48601‐9242
ALTSCHEFFEL, RAYMOND J          2008 S FARRAGUT ST                                                                                   BAY CITY           MI      48708‐3809
ALTSHULER, SCOTT T              309 WHITE HOUSE LN                                                                                   BOARDMAN           OH      44512‐2543
ALTSTADT C J                    PO BOX 6422                                                                                          EVANSVILLE         IN      47719‐0422
ALTUS MULL                      130 DOLORES DR                                                                                       ROCHESTER          NY      14626
ALTUS WALTER                    2090 AIRPORT RD                                                                                      WATERFORD          MI      48327‐1204
ALTUS, THOMAS J                 9001 SAWGRASS CT                                                                                     GRANBURY           TX      76049‐4191
ALTUVE, EVELIO S                5841 W 18TH ST                                                                                       SPEEDWAY           IN      46224‐5318
ALTUVE, EVELIO SILVINO          5841 W 18TH ST                                                                                       SPEEDWAY           IN      46224‐5318
ALTVATER, KIM R                 305 E HIGHAM ST                                                                                      SAINT JOHNS        MI      48879‐1511
ALTVATER, MARK D                5237 N WILLIAMS RD                                                                                   SAINT JOHNS        MI      48879‐9442
ALTVATER, ROBERT J              4678 WILDCAT RD                                                                                      SAINT JOHNS        MI      48879‐9095
ALTVATER, RONALD C              10235 W OLD LINCOLN WAY                                                                              WOOSTER            OH      44691‐9368
ALTWHEELS/CONNECT‐US            ALTWHEELS FESTIVAL              74 BUCKINGHAM ST                                                     CAMBRIDGE          MA      02138‐2229
ALTY, MARK C                    10537 WHITBY CT                                                                                      CLARKSTON          MI      48348‐2197
ALTZ, JOSEPH E                  PO BOX 525                                                                                           LAPEER             MI      48446‐0525
ALTZ, NORMAN A                  2228 REGENCY HILLS DR                                                                                SHELBY TOWNSHIP    MI      48316‐2057
ALU, GIOACCHINO                 69851 BEEBE ST.                                                                                      RICHMOND           MI      48062‐1014
ALU, GIOACCHINO                 69851 BEEBE ST                                                                                       RICHMOND           MI      48062‐1014
ALU‐DRUCKGUSS                   ATTN: MR. SCHEWE                ALU‐DRUCKGUSS BRANDENBURG   FORSTWEG 1   14656 BRIESELANG GERMANY

ALUBIN R&D LTD                  36 VOSEF LEVI ST                KIRYAT BIALIK 27112                      ISREAL ISRAEL
ALUBOWICZ, EUGENE               501 ANITA ST SPC 187                                                                                 CHULA VISTA         CA     91911‐4764
ALUBOWICZ, JOHN M               41341 SOUTHWIND DR                                                                                   CANTON              MI     48188‐1390
ALUBOWICZ, JOHN MARIAN          41341 SOUTHWIND DR                                                                                   CANTON              MI     48188‐1390
ALUCAR SARL                     P.O. BOX 375                                                             MONTE/DJI DE SAL, SAO
                                                                                                         VICENT CAPE VERDE
ALUDEC IBERICA SA               CAMINO DO LARANXO               13‐36216 VIGO                            ESPANA SPAIN
ALUDEC IBERICA SA               CAMINO DO LARANXO 13 TEIS                                                VIGO PONTEVEDRA ES 36216
                                                                                                         SPAIN
ALUDEC IBERICA SA               LUISA VARGA                     CAMINO DO LARANXO 13 TEIS                                            NOGALES             AZ     85621
ALUIA, JOE E                    41186 KENSINGTON                                                                                     CLINTON TOWNSHIP    MI     48038‐4648

ALUIA, WILLIAM M                21692 SUMMERFIELD DRIVE                                                                              MACOMB              MI     48044‐2287
ALUKAS, MICHAEL L               2525 RIVIERA ST                                                                                      RENO                NV     89509‐1198
ALUKO & OYEBODE                 35 MOLONEY ST                   PO 2293                                  LAGOS NIGERIA
ALUM A LIFT INC                 7909 HIGHWAY 78                                                                                      WINSTON             GA     30187‐1433
ALUMASC GROUP PLC                                               BURTON LATIMER                           KETTERING,GB,NN15
                                                                                                         5JP,GREAT BRITAIN
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Name                              Address1                          Address2                       Address3     Address4                 City                   State Zip
ALUMASC GROUP PLC                 BURTON LATIMER                                                                KETTERING NN15 5JP GREAT
                                                                                                                BRITAIN
ALUMASC GROUP PLC                 GRAHAM EVANS                      STATION RD, BURTON LATIMER                  KETTERING NORTHANTS
                                                                                                                GREAT BRITAIN
ALUMASC GROUP PLC                 STATION RD BURTON LATIMER                                                     KETTERING NORTHANTS NN15
                                                                                                                5JP GREAT BRITAIN
ALUMASC LTD                       GRAHAM EVANS                      STATION RD, BURTON LATIMER                  ESCOBEDO NL 66052 MEXICO

ALUMASC LTD                       STATION RD BURTON LATIMER                                                     KETTERING NORTHANTS NN15
                                                                                                                5JP GREAT BRITAIN
ALUMASC PRECISION COMPONENTS      BURTON LATIMER KETTERING          NORTHAMPTONSHIRE NN15 5JP                   UNITED KINGDOM GREAT
                                                                                                                BRITAIN
ALUMASC/GREAT BRITAI              STATION ROAD                      BURTON LATIMER                              KETTERING NO NN155JP
                                                                                                                GREAT BRITAIN
ALUMBAUGH, ALMA B                 59 CAROUSEL RD                                                                                           BATESVILLE           AR    72501‐7860
ALUMBAUGH, ANNA M                 2185 SOUTH BLVD APT 310           MEADOW CREEK VILLAGE                                                   AUBURN HILLS         MI    48326‐3475
ALUMBAUGH, BETTY D                719 HOLDEN AVE                                                                                           HENNING              MN    56551‐4115
ALUMBAUGH, BISHOP G               5145 MONTICELLO DR                                                                                       SWARTZ CREEK         MI    48473‐8252
ALUMBAUGH, EDNA                   3359 CATAMARAN WAY                                                                                       JACKSONVILLE         FL    32223‐7362
ALUMBAUGH, EDWIN D                PO BOX 278                                                                                               ODESSA               MO    64076‐0278
ALUMBAUGH, GERALD B               23300 COCONUT ISLAND DR APT 102                                                                          BONITA SPRINGS       FL    34134‐9154
ALUMBAUGH, JAMES E                1503 STATE HIGHWAY 153                                                                                   PARMA                MO    63870‐8127
ALUMBAUGH, JAMES H                7525 REID RD                                                                                             SWARTZ CREEK         MI    48473‐9436
ALUMBAUGH, RITA A                 5145 MONTICELLO DR                                                                                       SWARTZ CREEK         MI    48473‐8252
ALUMBAUGH, RUTH E                 4041 GRANGE HALL RD LOT 75                                                                               HOLLY                MI    48442‐1921
ALUMBAUGH‐MITCHELL, FERN          1025 CARLISLE DR                                                                                         RAYMORE              MO    64083
ALUMI BUNK INC ‐ 2ND ACTION       ALUMIBUNK                         6895 TELEGRAPH ROAD                                                    BLOOMFIELD HILLS     MI    48301
ALUMIBUNK                         GOOGASIAN FIRM PC                 6895 TELEGRAPH ROAD                                                    BLOOMFIELD HILLS     MI    48301
ALUMINUM BLANKING CO              360 W SHEFFIELD AVE                                                                                      PONTIAC              MI    48340‐1879
ALUMINUM CASTING & ENG CO         2039 S LENOX ST                                                                                          MILWAUKEE            WI    53207‐1209
ALUMINUM CASTING & ENGINEERING    CLAIR BOND                        2039 S. LENOX                               SEVENOAKS KENT GREAT
                                                                                                                BRITAIN
ALUMINUM CO OF AMERICA            PO BOX 360035                                                                                            PITTSBURGH            PA   15251‐6035
ALUMINUM CO OF AMERICA            ATTN ACCOUNTS RECEIVABLES         2 ALLEGHENY CENTER 7TH FL                                              PITTSBURGH            PA   15212
ALUMINUM CO OF AMERICA EFT ATTN   PO BOX 360035                                                                                            PITTSBURGH            PA   15251‐6035
ACCOUNTS RECEIVABLES
ALUMINUM CO. OF AMERICA           JOEL ALENT                        1600 HARVARD AVE                                                       MOUNT CLEMENS         MI
ALUMINUM CO/SOUTHFLD              ATTN. CHUCK LOTZ                  4000 TOWN CENTER               SUITE 1370                              SOUTHFIELD            MI   48075
ALUMINUM SUPPLY CO INC            14359 MEYERS RD                                                                                          DETROIT               MI   48227‐3923
ALUMITECH OF WABASH INC           109 DIMENSION AVE                 PO BOX 747                                                             WABASH                IN   46992‐4135
ALUNNI, ALICE M                   814 CORTEZ RD                                                                                            LAKE ARIEL            PA   18436‐3802
ALUNNO, DAVID F                   5477 MAURA DR                                                                                            FLUSHING              MI   48433‐1057
ALUNOSA S DE RL DE CV‐PLANTA 3    CARRETERA RIBERENA KM 9           PARQUE INDUSTRIAL MAQUILPARK                REYNOSA TM 88500 MEXICO

ALUSIK JR, JOHN A                 78 CHESTNUT ST                                                                                           EDISON                NJ   08817‐3221
ALUTIIQ                           DOUGLAS MAZUR                     737 VOLVO PARKWAY                                                      CHESAPEAKE            VA   23320
ALUZZO, PETER J                   24130 HARVARD SHORE DR                                                                                   SAINT CLAIR SHORES    MI   48082‐2513

ALUZZO, PETER J                   49440 CARD RD                                                                                            MACOMB               MI    48044‐1403
ALUZZO, VINCENT P                 38522 MOUNT KISCO DR                                                                                     STERLING HTS         MI    48310‐3428
ALVA ALEXANDER JR                 541 SANDY SPRINGS RD                                                                                     MARYVILLE            TN    37803‐6339
ALVA BROCK                        2025 NORTHAIRE LANE                                                                                      SAINT LOUIS          MO    63138‐1230
ALVA BROOKOVER                    7101 BEACH ST                                                                                            WESTMINSTER          CO    80030‐5628
ALVA BRUNDAGE JR                  1266 PARKVIEW DR                                                                                         N TONAWANDA          NY    14120‐4845
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Name                       Address1                         Address2                     Address3          Address4                City            State Zip
ALVA BUCKHANNON            PO BOX 139                                                                                              BURNSVILLE       WV 26335‐0139
ALVA CARLSON EHLERS TTEE   EWALT W CARLSON AND              ALVA L CARLSON TRUST         U/A DTD 9‐19‐90   1401 LOCHEDEM           STORM LAKE        IA 50588
ALVA CHERREY'S GARAGE      10 MAIN ST                                                                      DRAYTON ON N0G 1P0
                                                                                                           CANADA
ALVA CLAYPOOL              330 BERT LN                                                                                             INKSTER         MI   48141‐1066
ALVA CLINTON               5509 ARROWHEAD BLVD                                                                                     KOKOMO          IN   46902‐5407
ALVA CRAWLEY               8051 N STATE RD                                                                                         DAVISON         MI   48423‐9325
ALVA DALTON                187 W FAIRMOUNT AVE                                                                                     PONTIAC         MI   48340‐2739
ALVA DAVIDSON              366 DUENKE RD                                                                                           FORISTELL       MO   63348‐1119
ALVA ETTER                 1914 WRENSON ST                                                                                         FERNDALE        MI   48220‐2075
ALVA FOSTER                5756 PAYNE DR                                                                                           AUSTELL         GA   30106‐3267
ALVA GRIFFIN               641 PASADENA AVE                                                                                        SHEFFIELD LK    OH   44054‐1235
ALVA GROSS                 1001 24 MILE RD APT 90                                                                                  HOMER           MI   49245
ALVA H REDMAN              280 CRANBERRY CT. NW                                                                                    WARREN          OH   44483‐1550
ALVA HENSON                813 PALOS VERDES ST                                                                                     GRAND PRAIRIE   TX   75052‐5330
ALVA HESSENFLOW            37394 W 130TH ST                                                                                        RICHMOND        MO   64085‐8747
ALVA HICKEY                67 LIONS CREEK COURT SOUTH                                                                              NOBLESVILLE     IN   46062‐8617
ALVA J EWING               5700 N LOTTIE AVE                                                                                       OKLAHOMA CITY   OK   73111‐6712
ALVA JACKSON               6685 LEXINGTON PL N                                                                                     DAYTON          OH   45424‐4232
ALVA JOHN                  ALVARADO, JOHN                   894 DUSTIN CT                                                          BETHLEHEM       GA   30620‐3024
ALVA JOHNSON               224 PALMETTO AVENUE                                                                                     OSPREY          FL   34229‐9376
ALVA JOHNSON               3306 SYLVAN RD                                                                                          LANSING         MI   48917‐2335
ALVA JUHLIN                1075 HIGHWAY 92 N                                                                                       FAYETTEVILLE    GA   30214‐3766
ALVA L ALEXANDER JR        541 SANDY SPRINGS RD.                                                                                   MARYVILLE       TN   37803
ALVA L FUSON               3494 RED RIVER WEST GROVE RD                                                                            ARCANUM         OH   45304
ALVA LACONTE               6332 W LAWRENCE LN                                                                                      GLENDALE        AZ   85302‐4462
ALVA LEWIS                 PO BOX 207                                                                                              RIDGEVILLE      OH   43555‐0207
                                                                                                                                   CORNERS
ALVA LIVINGSTON            3305 PIMLICO DR                                                                                         ARLINGTON       TX   76017‐2420
ALVA LUPTOWSKI             1101 S FARRAGUT ST                                                                                      BAY CITY        MI   48708‐8011
ALVA MARBLE                13790 WINDEMERE N.W.                                                                                    GRAND RAPIDS    MI   49534
ALVA MCCARTY               11455 LITTLE RICHMOND ROAD                                                                              BROOKVILLE      OH   45309‐9316
ALVA MCCLOUD               3880 VIA LUCERO                  SENIOR LIVING CONCEPT                                                  SANTA BARBARA   CA   93110‐1605
ALVA MILLER                3028 CLAYWARD DR                                                                                        FLINT           MI   48506‐2025
ALVA MILLER                1450 COTTAGE AVE                                                                                        MIDDLETOWN      IN   47356‐1118
ALVA MILLER                3655 ORDERS RD                                                                                          GROVE CITY      OH   43123‐8299
ALVA MIRANDA               29025 CALLE DEL BUHO                                                                                    MURRIETA        CA   92563‐5561
ALVA MORGAN                3910 FOX ST                                                                                             INKSTER         MI   48141‐2770
ALVA NEIL JENKINS          C/O EDWARD O MOODY PA            801 WEST 4TH STREET                                                    LITTLE ROCK     AR   72201
ALVA OPDYKE JR             814 HARRISON CT                                                                                         LANSING         MI   48917‐9210
ALVA PENNINGTON            5661 SW 56TH AVE                                                                                        OCALA           FL   34474‐7607
ALVA PERKINS               7586 ELM ST RT 3                                                                                        HALE            MI   48739
ALVA PETERS                3469 SKYWAY DR                                                                                          WILLIAMSTON     MI   48895‐9502
ALVA RECKLING              24340 MASCH AVE                                                                                         WARREN          MI   48091‐4479
ALVA REDMAN                280 CRANBERRY CT                                                                                        WARREN          OH   44483‐1550
ALVA RICHARDSON            3500 W PETTY RD                                                                                         MUNCIE          IN   47304‐3274
ALVA RIFFLE                7107 CHATHAM RD                                                                                         MEDINA          OH   44256‐8539
ALVA SAUNDERS              1134 NAZOR RD                                                                                           GALION          OH   44833‐9733
ALVA SAUNDERS JR.          6105 WINDFALL RD                                                                                        GALION          OH   44833‐9347
ALVA SNYDER                1124 CHESTERFIELD DR                                                                                    ANDERSON        IN   46012‐4461
ALVA SPICER                C/O BEVAN & ASSOCIATES LPA INC   6555 DEAN MEMORIAL PARKWAY                                             BOSTON HTS      OH   44236
ALVA VOLDERS               411 S JEFFERSON ST                                                                                      BAY CITY        MI   48708‐7241
ALVA WARREN JR             1200 S COUNTY ROAD 625 E                                                                                SELMA           IN   47383‐9649
ALVA WATTS                 HC 67 BOX 64                                                                                            MOUNTAIN VIEW   MO   65548‐9004
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Name                                Address1                         Address2                            Address3   Address4               City            State Zip
ALVA, DELBERT C                     2740 OMAHA DR                                                                                          JANESVILLE       WI 53546‐4402
ALVA, HENRY T                       3488 S GLEANER RD                                                                                      SAGINAW          MI 48609‐9149
ALVA, JOSE A                        2812 SALINA ST # 3                                                                                     DEARBORN         MI 48120
ALVA, RAYMOND                       1539 WEST/13 600 SOUTH                                                                                 PERU             IN 46970
ALVA, RAYMOND                       1539 W 600 S                                                                                           PERU             IN 46970
ALVADEEN PARKER                     3028 W WILSON RD                                                                                       CLIO             MI 48420‐1933
ALVADO, FRANK D                     441 FURNACE DOCK RD                                                                                    CORTLANDT MANOR NY 10567‐6608

ALVADO, JAMES R                     9177 ANN MARIA BLVD                                                                                    GRAND BLANC     MI    48439‐8015
ALVADO, THOMAS C                    1093 HOLLY SPRING LN                                                                                   GRAND BLANC     MI    48439‐8955
ALVAH CRAIG JR                      3141 CLEAR SPRINGS RD                                                                                  SPRING VALLEY   OH    45370‐7731
ALVAH GROUT                         325 N COOL SPRING ST             RM 102                                                                FAYETTEVILLE    NC    28301
ALVAH HOLLAND JR                    2012 PEARL ST                                                                                          ANDERSON        IN    46016‐4449
ALVAH HOWES                         10213 LAS CASITAS ST NE                                                                                ALBUQUERQUE     NM    87111‐1293
ALVAH LEAVITT                       917 JILMAR ST                                                                                          CHESANING       MI    48616‐1367
ALVAH LINTEMUTH                     49 JEFFERSON ST E                                                                                      STANWOOD        MI    49346‐9636
ALVAH PHILLIPS JR                   2619 WOODSIDE DR                                                                                       ARLINGTON       TX    76016‐1370
ALVAIN M RAHMAN                     100 RIVERFRONT DR APT 901                                                                              DETROIT         MI    48226‐4537
ALVAIN RAHMAN                       100 RIVERFRONT DR APT 901                                                                              DETROIT         MI    48226‐4537
ALVAN CLARK                         305 W 1ST ST                                                                                           DEFIANCE        OH    43512‐2127
ALVAN MOTOR FREIGHT INC             PO BOX 757                                                                                             ORTONVILLE      MI    48462‐0757
ALVAN PETERMAN                      5697 N HIGHLAND PARK DR                                                                                HERNANDO        FL    34442‐2635
ALVARADO JR, EUSEVIO                17088 FISH LAKE RD                                                                                     HOLLY           MI    48442‐8367
ALVARADO 76 SERVICE                 31901 ALVARADO BLVD                                                                                    UNION CITY      CA    94587‐4003
ALVARADO DAVID (442944)             KELLEY & FERRARO LLP             1300 EAST NINTH STREET , 1901                                         CLEVELAND       OH    44114
                                                                     BOND COURT BUILDING
ALVARADO ELSIE A                    3 CARILLON COURT                                                                                       SIMPSONVILLE     SC   29681‐4556
ALVARADO FAITH                      ALVARADO, FAITH                  1520 E HIGHWAY 6                                                      ALVIN            TX   77511‐7702
ALVARADO FAITH                      GUNN GP LLC                      106 S ST MARY'S STREET, SUITE 800                                     SAN ANTONIO      TX   78205
                                                                     (ONE ALAMO CENTER)
ALVARADO FAITH                      GUNN PONTIAC GMC TRUCK LTD       106 S ST MARY'S STREET, SUITE 800                                     SAN ANTONIO      TX   78205
                                                                     (ONE ALAMO CENTER)
ALVARADO JR, ANTHONY P              2642 LYONS RD                                                                                          OWOSSO           MI   48867‐9132
ALVARADO JR, ELEAZAR                APT B                            15 LYELLWOOD PARKWAY                                                  ROCHESTER        NY   14606‐4525
ALVARADO JR, EUSEVIO                17088 FISH LAKE RD                                                                                     HOLLY            MI   48442‐8367
ALVARADO JR, FELIPE                 PO BOX 28                                                                                              HAMLER           OH   43524‐0028
ALVARADO JUAN                       230 BACKS LN APT B                                                                                     PLACENTIA        CA   92870‐6014
ALVARADO LUIS                       21012 HIGHWAY 16                                                                                       FRANKLINTON      LA   70438‐3668
ALVARADO RAMON (470575)             BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                                         NORTHFIELD       OH   44067
                                                                     PROFESSIONAL BLDG
ALVARADO SEAN ‐ CADILLAC CTS 2008   NO ADVERSE PARTY
ALVARADO, ABEL                      18026 ROAD 232                                                                                         CECIL            OH   45821‐9505
ALVARADO, ALEX G                    1106 MAIA ST                                                                                           PLEASANTON       TX   78064‐3345
ALVARADO, ALEXANDER B               210 LOCKE ST                                                                                           HOLLY            MI   48442‐1524
ALVARADO, ALICE                     3942 STELLHORN RD                                                                                      FORT WAYNE       IN   46815‐4860
ALVARADO, ALLYSSA T                 2639 YACOLT AVENUE                                                                                     NORTH PORT       FL   34286‐4935
ALVARADO, ALLYSSA THERESA           2639 YACOLT AVENUE                                                                                     NORTH PORT       FL   34286‐4935
ALVARADO, ANDREA                    4721 NORWOOD LN                                                                                        TOBYHANNA        PA   18466‐3083
ALVARADO, ANGEL L                   3333 N HOLTON ST                                                                                       MILWAUKEE        WI   53212‐1651
ALVARADO, ANGEL L                   6015 S 23RD ST                                                                                         MILWAUKEE        WI   53221
ALVARADO, ANGELICA                  12373 CONCORD CRT                                                                                      CHINO            CA   91710
ALVARADO, ANGELO G                  3012 MIDWOOD ST                                                                                        LANSING          MI   48911‐3428
ALVARADO, ARMIDA L                  1989 N POLZIN RD                                                                                       JANESVILLE       WI   53548‐9390
ALVARADO, BLAS E                    PO BOX 181                                                                                             DEFIANCE         OH   43512‐0181
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Name                             Address1                       Address2                       Address3   Address4               City              State Zip
ALVARADO, CARLOS ADRIAN TORRES
ALVARADO, CHRIS                  174 FREYN DR                                                                                    CENTERVILLE       OH    45458‐2235
ALVARADO, DAISY                  10 TIMBERLAND CT                                                                                WHITE             GA    30184‐2890
ALVARADO, DANNY O                2042 STOVER DR                                                                                  LEWISVILLE        TX    75067‐6167
ALVARADO, DAVID                  KELLEY & FERRARO LLP           1300 EAST NINTH STREET, 1901                                     CLEVELAND         OH    44114
                                                                BOND COURT BUILDING
ALVARADO, DAVID                  111 HARDISON CT                                                                                 COLUMBIA          TN    38401‐5532
ALVARADO, DELLA J                5347 FARLEY RD.                                                                                 CLARKSTON         MI    48346‐1736
ALVARADO, DELLA J                5347 FARLEY RD                                                                                  CLARKSTON         MI    48346‐1736
ALVARADO, DIANA J                69 E BEECHWOOD AVE                                                                              DAYTON            OH    45405‐3032
ALVARADO, DOLORES                P O BOX 128                                                                                     BLEVINS           AR    71825
ALVARADO, DONALD G               7813 LEMP AVE                                                                                   NORTH HOLLYWOOD   CA    91605‐2635

ALVARADO, ERIK L                 800 EDENBOUGH CIR APT 104                                                                       AUBURN HILLS       MI   48326‐4546
ALVARADO, ERNESTO                NEUMANN WILLIAM G JR           1520 E HIGHWAY 6                                                 ALVIN              TX   77511‐7702
ALVARADO, ESTHER                 1406 LOCHER ROAD                                                                                DEWITT             MI   48820
ALVARADO, ESTHER                 1406 W LOCHER RD                                                                                DEWITT             MI   48820‐8474
ALVARADO, ESTHER                 PO 152564                                                                                       AUSTIN             TX   78715
ALVARADO, ESTHER A               13982 RIGA ST.                                                                                  LIVONIA            MI   48154‐4608
ALVARADO, FAITH                  HAGOOD & NEUMANN, L.L.P.       1520 E HIGHWAY 6                                                 ALVIN              TX   77511‐7702
ALVARADO, FAITH
ALVARADO, FEDERICO M             7339 ROSCOMMON LN                                                                               DAVISON           MI    48423‐9591
ALVARADO, FELIPE C               PO BOX 114                                                                                      HAMLER            OH    43524‐0114
ALVARADO, FRANCISCO              1235 WATERS EDGE                                                                                WEST BRANCH       MI    48661‐8009
ALVARADO, FREDRICO               1627 WANSTEAD DR                                                                                HOLT              MI    48842‐2094
ALVARADO, GENARO S               445 S EVERGREEN AVE                                                                             LOS ANGELES       CA    90033‐4410
ALVARADO, GENARO S               445 SOUTH EVERGREEN AVENUE                                                                      LOS ANGELES       CA    90033‐4410
ALVARADO, GENEVIEVE S            704 GLOWER ST                                                                                   SAN ANTONIO       TX    78212
ALVARADO, HAROLD A               2915 TANBARK CT                                                                                 TAMPA             FL    33610
ALVARADO, HECTOR                 2019 CLARA MATHIS RD                                                                            SPRING HILL       TN    37174‐2543
ALVARADO, HORTENCIA              869 HOLLYWOOD BLVD                                                                              ELYRIA            OH    44035‐1815
ALVARADO, IRIS N                 PO BOX 77428                                                                                    ROCHESTER         NY    14617‐8428
ALVARADO, ISIDRO                 609 S HAWTHORNE RD                                                                              MUNCIE            IN    47304‐4116
ALVARADO, ISMAEL                 2168 CULVER RD                                                                                  ROCHESTER         NY    14609‐2746
ALVARADO, ISMAEL A               3942 STELLHORN RD                                                                               FORT WAYNE        IN    46815‐4860
ALVARADO, ISMAEL ANTHONY         3942 STELLHORN RD                                                                               FORT WAYNE        IN    46815‐4860
ALVARADO, JAMES C                23072 MINERAL AVENUE                                                                            PT CHARLOTTE      FL    33954‐3547
ALVARADO, JENNIFER L             5469 GREENLEAF DR                                                                               HOLLY             MI    48442‐8811
ALVARADO, JENNIFER L.            5469 GREENLEAF DR                                                                               HOLLY             MI    48442‐8811
ALVARADO, JERRY L                8115 MOUNT CHARLES DR                                                                           DAYTON            OH    45424
ALVARADO, JESUSA                 41 O REILLY                                                                                     PONTIAC           MI    48342‐3123
ALVARADO, JIM V                  7545 PASSONS BLVD                                                                               PICO RIVERA       CA    90660‐4232
ALVARADO, JIM VINCENT            7545 PASSONS BLVD                                                                               PICO RIVERA       CA    90660‐4232
ALVARADO, JOE A                  45 W BROOKLYN AVE                                                                               PONTIAC           MI    48340‐1119
ALVARADO, JOHN                   894 DUSTIN CT                                                                                   BETHLEHEM         GA    30620‐3024
ALVARADO, JOHN F                 1910 W 1ST ST                                                                                   MARION            IN    46952‐3258
ALVARADO, JOHN G                 7717 S ROLLAND RD                                                                               BLANCHARD         MI    49310‐9759
ALVARADO, JOSE J                 7745 LIME AVE                                                                                   FONTANA           CA    92336‐8716
ALVARADO, JOSE S                 1074 S IDYLLWILD AVE                                                                            BLOOMINGTON       CA    92316‐1516
ALVARADO, JOSEPH M               7190 DAVENPORT RD APT 102                                                                       GOLETA            CA    93117‐2932
ALVARADO, JOSEPHINE              1433 SEBASTIANI CIRCLE                                                                          NORMAN            OK    73071
ALVARADO, JOVITA G               184 WILLIAMS LAKE RD N                                                                          WATERFORD         MI    48327‐3673
ALVARADO, JOVITA G               184 N WILLIAMS LAKE RD                                                                          WATERFORD         MI    48327‐3673
ALVARADO, JUANITA P              12420 MARION LN                                                                                 DICKINSON         TX    77539‐9221
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Name                              Address1                        Address2                        Address3   Address4               City               State   Zip
ALVARADO, JUANITA PEREZ           12420 MARION LN                                                                                   DICKINSON           TX     77539‐9221
ALVARADO, LARRY N                 1989 N POLZIN RD                                                                                  JANESVILLE          WI     53548‐9390
ALVARADO, LILIA P                 1813 WEBSTER RD                                                                                   FLINT               MI     48505‐2453
ALVARADO, LILIA P                 1813 E WEBSTER RD                                                                                 FLINT               MI     48505‐2453
ALVARADO, MANUEL                  BARON & BUDD                    3102 OAK LANE AVE, SUITE 1100                                     DALLAS              TX     75219
ALVARADO, MANUEL G                5928 NARAVISTA DR                                                                                 DALLAS              TX     75249‐2820
ALVARADO, MANUELA M               6408 W RANGE MULE DR                                                                              PHOENIX             AZ     85083‐1826
ALVARADO, MARGARET                MALONEY PAT LAW OFFICES OF      239 E COMMERCE ST                                                 SAN ANTONIO         TX     78205‐2923
ALVARADO, MARGARET                WATTS LAW FIRM                  BANK OF AMERICA PLAZA ‐ SUITE                                     SAN ANTONIO         TX     78205
                                                                  100 ‐ 300 CONVENT STREET
ALVARADO, MARGARET A              4047 TUCSON ST                                                                                    SIMI VALLEY         CA     93063‐1143
ALVARADO, MARGARITO               C/O THE LIPMAN LAW FIRM         5915 PONCE DE LEON BLVD         SUITE 44                          CORAL GABLES        FL     33146
ALVARADO, MARIA A                 38 ARCTIC PKWY                                                                                    EWING               NJ     08638‐3041
ALVARADO, MARIA G                 114 MARIAN LN                                                                                     SAN JOSE            CA     95127‐2025
ALVARADO, MARIA G                 114 MARIAN LANE                                                                                   SAN JOSE            CA     95127‐2025
ALVARADO, MARIA J                 PO BOX 913                                                                                        FORT DAVIS          TX     79734‐0010
ALVARADO, MARIE J                 1490 GRAVEL HILL RD                                                                               COLUMBIA            TN     38401‐1339
ALVARADO, MARTHA J.               1005 THURMAN ST                                                                                   MOUNT JULIET        TN     37122‐3063
ALVARADO, MARTINA C               2726 BURLINGTON BLVD                                                                              DALLAS              TX     75211‐5217
ALVARADO, MATILDE H               1449 ROOSEVELT AVE                                                                                LANSING             MI     48915‐2237
ALVARADO, MELBA                   9149 MARYWOOD DR                                                                                  STANWOOD            MI     49346‐9766
ALVARADO, MICHAEL                 PO BOX 301241                                                                                     ARLINGTON           TX     76007‐1241
ALVARADO, OSCAR A                 3131 KENNETH DR                                                                                   LOS ANGELES         CA     90032‐2022
ALVARADO, PAMELA                  6116 ROBERTA ST                                                                                   BURTON              MI     48509‐2428
ALVARADO, PATRICIA
ALVARADO, PATSY DANIELA TORRES,
ALVARADO, PAUL J                  PO BOX 20452                                                                                      SAGINAW            MI      48602‐0452
ALVARADO, PETRA E                 467 KENILWORTH AVE                                                                                PONTIAC            MI      48342‐1845
ALVARADO, RAFAEL V                11932 PUEBLO DORMIDO WAY                                                                          EL PASO            TX      79936‐5033
ALVARADO, RAMON                   7900 RANCHLAND DR                                                                                 EL PASO            TX      79915‐2212
ALVARADO, RAMON                   BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD, BEVAN                                      NORTHFIELD         OH      44067
                                                                  PROFESSIONAL BLDG
ALVARADO, RAUL                    PO BOX 427                                                                                        MAINEVILLE         OH      45039‐0427
ALVARADO, RAUL                    734 W BLACKHAWK DR                                                                                FORT ATKINSON      WI      53538‐1019
ALVARADO, RICHARD                 379 PLEASANT STREET                                                                               STOUGHTON          MA      02072‐2550
ALVARADO, RICHARD                 8505 51 SOUTH                                                                                     BOYD               TX      76023
ALVARADO, ROLLIE L                7840 BAYSINGER ST                                                                                 DOWNEY             CA      90241‐2225
ALVARADO, ROSEMARY M              3205 W BIRCH RUN RD                                                                               BURT               MI      48417‐9616
ALVARADO, ROSEMARY MARTA          3205 W BIRCH RUN RD                                                                               BURT               MI      48417‐9616
ALVARADO, RUBEN                   13102 GREENSVIEW LANE                                                                             SAN ANTONIO        TX      78217‐1975
ALVARADO, SALVADOR G              1030 PICKTON DR                                                                                   LANSING            MI      48917‐4169
ALVARADO, SUSANA                  739 COITSVILLE RD                                                                                 CAMPBELL           OH      44405‐1147
ALVARADO, THERESA VASQUEZ         25641 PRINCESS DR                                                                                 CHESTERFIELD TWP   MI      48051‐3244

ALVARADO, YUL                     7205 SUPERIOR                                                                                     CENTER LINE        MI      48015‐1039
ALVARADO‐LAVATO, DENISE L         1047 CHERRYLAWN DR                                                                                PONTIAC            MI      48340‐1701
ALVARDO HECTOR (442945)           BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD , BEVAN                                     NORTHFIELD         OH      44067
                                                                  PROFESSIONAL BLDG
ALVAREETA JOHNSON                 1400 SPRINGDALE AVE APT 322                                                                       YOUNGSTOWN         OH      44505‐5302
ALVARENGA LAURELL (499271)        LIPMAN DAVID M                  5901 SW 74TH ST STE 304                                           MIAMI              FL      33143‐5163
ALVARENGA, LAURELL                C/O THE LIPMAN LAW FIRM         5915 PONCE DE LEON BLVD         SUITE 44                          CORAL GABLES       FL      33146
ALVARENGA, LAURELL                LIPMAN DAVID M                  5901 SW 74TH ST STE 304                                           MIAMI              FL      33143‐5163
ALVARES, MARIA                    1912 S MORGAN ST                                                                                  CHICAGO            IL      60608‐3403
ALVARES, MARIA                    1912 S. MORGAN ST.                                                                                CHICAGO            IL      60608‐3403
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Name                           Address1                         Address2                          Address3                  Address4                 City              State Zip
ALVARETTA DARLING              104 JILL STREET                                                                                                       CHITTENANGO        NY 13037‐1217
ALVAREZ & MARSAL REAL ESTATE   1875 1 STREET NW STE 500                                                                                              WASHINGTON         DC 20006
ADVISORY SERVICES LLC
ALVAREZ ANTONIO (340705)       WILENTZ GOLDMAN & SPITZER        PO BOX 10                                                                            WOODBRIDGE         NJ   07095‐0958
ALVAREZ CARMELO                4200 MARIA AVE                                                                                                        MISSION            TX   78573‐9187
ALVAREZ CARRILLO JUAN MANUEL   CAPULINES #12 LOMAS DE SAN‐      MATEO NAUCALPAN ESTADO DE                                   PC 53200 MEXICO MEXICO
ALVAREZ EDLIO                  ALVAREZ, EDLIO                   7825 FAY AVE STE 200                                                                 LA JOLLA          CA    92037‐4270
ALVAREZ ELIZABETH              10416 MANDY WAY                                                                                                       SOCORRO           TX    79927‐4720
ALVAREZ ESTATE OF, MARIZA
ALVAREZ FE                     206 MONA DRIVE                                                                                                        NEWPORT NEWS      VA    23608‐1826
ALVAREZ JEFREY                 ALVAREZ, JEFFREY                 33159 FORD RD                                                                        GARDEN CITY       MI    48135‐1153
ALVAREZ JESSY                  ALVAREZ, JESSY                   5055 WILSHIRE BLVD STE 300                                                           LOS ANGELES       CA    90036‐6101
ALVAREZ JESSY                  ALVAREZ, ROSA                    5055 WILSHIRE BLVD STE 300                                                           LOS ANGELES       CA    90036‐6101
ALVAREZ JR, DANIEL V           2142 CHAPEL DOWNS DR                                                                                                  ARLINGTON         TX    76017‐4500
ALVAREZ JR, HENRY E            PO BOX 237 APT #2                                                                                                     HAMLER            OH    43524
ALVAREZ JR, TIRSO R            2599 WALNUT AVE UNIT 229                                                                                              SIGNAL HILL       CA    90755‐3672
ALVAREZ JUAN                   3439 E 7TH ST                                                                                                         LOS ANGELES       CA    90023‐2304
ALVAREZ LIZ                    ALVAREZ, LIZ                     5055 WILSHIRE BLVD STE 300                                                           LOS ANGELES       CA    90036‐6101
ALVAREZ MARISA E               ALVAREZ, MARISA                  8840 WARNER AVE STE 301                                                              FOUNTAIN VALLEY   CA    92708‐3234
ALVAREZ RAMON (508666)         SIMMONSCOOPER                    707 BERKSHIRE BLVD P O BOX 521                                                       EAST ALTON        IL    62024
ALVAREZ SR, DANIEL V           6508 FANNIN FARM WAY                                                                                                  ARLINGTON         TX    76001‐5802
ALVAREZ YOLANDA M              ALVAREZ, YOLANDA M               16855 WEST BERNARDO DRIVE SUITE                                                      SAN DIEGO         CA    92127
                                                                380
ALVAREZ, ABEL                  PO BOX 2234                                                                                                           KANSAS CITY       KS    66110‐0234
ALVAREZ, ALEX F                909 HEATHERBROOKE RD                                                                                                  BIRMINGHAM        AL    35242‐5053
ALVAREZ, ALEX FERNANDEZ        PO BOX 281                                                                                                            PAHOKEE           FL    33476‐0281
ALVAREZ, ALFONSO               2190 JOY RD                                                                                                           AUBURN HILLS      MI    48326‐2626
ALVAREZ, AMELIA R              10205 SW 26TH TER                                                                                                     MIAMI             FL    33165‐2848
ALVAREZ, ANA MARIA
ALVAREZ, ANTONIO               WILENTZ GOLDMAN & SPITZER        PO BOX 10                                                                            WOODBRIDGE        NJ    07095‐0958
ALVAREZ, ARACELI               2020 AUGUSTA TER                                                                                                      CORAL SPRINGS     FL    33071‐7764
ALVAREZ, BENNY F               4525 W TWAIN AVE SPC 228                                                                                              LAS VEGAS         NV    89103‐1625
ALVAREZ, CAROL                 49 PALMA ST SW                                                                                                        GRAND RAPIDS      MI    49548‐7815
ALVAREZ, CONNIE                548 POMONA ST                                                                                                         SAN LORENZO       CA    94580‐1048
ALVAREZ, DANNY G               4040 E JAMIE LN                                                                                                       BLOOMINGTON       IN    47401‐9711
ALVAREZ, EDLIO                 BICKEL LAW FIRM INC              7825 FAY AVE STE 200                                                                 LA JOLLA          CA    92037‐4270
ALVAREZ, EDWARD J              2774 COURTLAND PL                                                                                                     SAGINAW           MI    48603‐3120
ALVAREZ, ENRIQUE P             923 OAKCREST LN                                                                                                       JENISON           MI    49428‐8309
ALVAREZ, ERICA M               PO BOX 252                                                                                                            WENTZVILLE        MO    63385‐0252
ALVAREZ, ERNEST M              1366 COGSWELL RD                                                                                                      S EL MONTE        CA    91733‐3846
ALVAREZ, FRANK                 3707 LONEWOOD CT                                                                                                      LAND O LAKES      FL    34638‐8055
ALVAREZ, FRANK                 4646 KING GRAVES RD                                                                                                   VIENNA            OH    44473‐9700
ALVAREZ, GEORGE J              506 BORONIA RD                                                                                                        ARLINGTON         TX    76002‐4514
ALVAREZ, GERMAN                C. CASIOPEA #6 SECTOR 3 GETAFE                                                               MADRID 00000 SPAIN
ALVAREZ, GERMAN                C CASIOPEA 6 SECTOR 3 GETAFE                                                                 MADRID SPAIN
ALVAREZ, GLENDA Z              10 MARATHON ST                                                                                                        TOMS RIVER        NJ    08757
ALVAREZ, GUILLERMO             999 MANCHA REAL DR                                                                                                    ORLANDO           FL    32807‐3089
ALVAREZ, HELEN                 3521 WESTWOOD DR                                                                                                      NIAGARA FALLS     NY    14305‐3416
ALVAREZ, HENRY E               8858 N BROOKSHIRE DR                                                                                                  SAGINAW           MI    48609‐4884
ALVAREZ, HUONG N               4560 QUAY STREET                                                                                                      WHEAT RIDGE       CO    80033
ALVAREZ, IRENE                 3761 W 80 N                                                                                                           KOKOMO            IN    46901‐3855
ALVAREZ, JAIRO A               ATTN LYNNE KIZIS ESQ             WILENTZ GOLDMAN AND SPITZER       90 WOODBRIDGE CENTER DR                            WOODBRIDGE        NJ    07095

ALVAREZ, JASMINE               345 E ELM ST                                                                                                          VILLA PARK         IL   60181‐2214
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Name                  Address1                         Address2               Address3         Address4                City               State   Zip
ALVAREZ, JASMINE      345 ELM ST                                                                                       VILLA PARK           IL    60181‐2214
ALVAREZ, JEFFREY J    205 W 13TH ST                                                                                    DONORA              PA     15033‐2034
ALVAREZ, JESSE D      7583 W BIRCH RUN RD                                                                              SAINT CHARLES       MI     48655‐9636
ALVAREZ, JESSE R      1615 11TH AVE                                                                                    DELANO              CA     93215‐2500
ALVAREZ, JESSICA      13215 NE 33RD AVE                                                                                ANTHONY             FL     32617‐2226
ALVAREZ, JOHN P       11200 OAKLEY RD                                                                                  SAINT CHARLES       MI     48655‐9515
ALVAREZ, JOHNNY       2132 HUNTINGTON DR                                                                               ARLINGTON           TX     76010‐7632
ALVAREZ, JOSE         175 W 12TH ST APT 8K                                                                             NEW YORK            NY     10011‐8207
ALVAREZ, JOSE M       720 N MADISON AVE                                                                                DALLAS              TX     75208
ALVAREZ, JOSE R       2757 NEBRASKA AVE                                                                                SOUTH GATE          CA     90280‐4047
ALVAREZ, JOSEPH       137 JUNEWOOD DRIVE                                                                               LEVITTOWN           PA     19055‐2330
ALVAREZ, JUAN A       6123 YORK RIVER DR                                                                               ARLINGTON           TX     76018‐2394
ALVAREZ, JUAN J       102 DIEDE PL                                                                                     DEFIANCE            OH     43512‐2332
ALVAREZ, JUANA        275 W GRAND BLVD APT 107                                                                         DETROIT             MI     48216‐1595
ALVAREZ, LINO         5349 N NATCHEZ AVE                                                                               CHICAGO              IL    60656‐2214
ALVAREZ, LORENZO J    11014 DAVENRICH ST                                                                               SANTA FE SPRINGS    CA     90670‐3520
ALVAREZ, LOUIS L      3904 WICHITA WAY                                                                                 MODESTO             CA     95357‐1575
ALVAREZ, LOUISE A     2271 COMPTON ST                                                                                  SAGINAW             MI     48602‐3535
ALVAREZ, LUIS H       4485 SW 50TH ST                                                                                  FORT LAUDERDALE     FL     33314‐5728
ALVAREZ, MANUEL       PO BOX 9843                                                                                      ARECIBO             PR     00613‐9843
ALVAREZ, MANUEL       12 OLYMPIA DR                                                                                    EAST HANOVER        NJ     07936‐1611
ALVAREZ, MARIE G      34978 PATTERSON LANE                                                                             ASTORIA             OR     97103
ALVAREZ, MARIZA
ALVAREZ, MARY LOU B   110 MCGUFFY RD                                                                                   SOMERSET           NJ      08873‐2720
ALVAREZ, MAURA        10101 SW 35TH ST                                                                                 MIAMI              FL      33165‐3830
ALVAREZ, MAURO        246 WILSON ST                                                                                    DEFIANCE           OH      43512‐1442
ALVAREZ, MELISSA      7152 LODGE POLE DR SE                                                                            GRAND RAPIDS       MI      49548‐7767
ALVAREZ, MICAELA
ALVAREZ, MOISSES      2405 W PIONEER PKWY APT 106                                                                      GRAND PRAIRIE      TX      75051‐3547
ALVAREZ, NIEVES       50 SCHEURMAN TER                                                                                 WARREN             NJ      07059‐7154
ALVAREZ, NOEMA        3707 LONEWOOD CT.                                                                                LAND O LAKES       FL      34638‐8055
ALVAREZ, OPHELIA M    262 EVERGREEN AVENUE                                                                             TRENTON            NJ      08619‐1808
ALVAREZ, OSVALDO B    290 174TH ST APT 309                                                                             N MIAMI BEACH      FL      33160‐3245
ALVAREZ, OSVALDO B    2924 N CAMINO LAGOS                                                                              GRAND PRAIRIE      TX      75054‐6720
ALVAREZ, PATRICIA A   10702 S DEPOT ST APT 201A                                                                        WORTH              IL      60482‐1435
ALVAREZ, PEDRO S      3277 RAIN DANCE DR                                                                               EL PASO            TX      79936‐2305
ALVAREZ, PETER L      20240 N 70TH DR                                                                                  PHOENIX            AZ      85308‐9456
ALVAREZ, RAFAEL       440 LAKE FOREST RR                                                                               ROCHESTER HLS      MI      48309‐2235
ALVAREZ, RAFAEL       1237 OAKWOOD COURT                                                                               ROCHESTER HLS      MI      48307‐2539
ALVAREZ, RAFAEL A     156 BRITTANY D                                                                                   DELRAY BEACH       FL      33446‐2038
ALVAREZ, RAFAEL A     HC‐1 BOX 9303                                                                                    ST SABASTIAN       PR      00685
ALVAREZ, RAFAEL A     HC 1 BOX 9303                                                                                    SAN SEBASTIAN      PR      00685‐9708
ALVAREZ, RAMAN        3114 GREENLY ST                                                                                  FLINT              MI      48503‐5703
ALVAREZ, RAMON        SIMMONSCOOPER                    PO BOX 521                                                      EAST ALTON         IL      62024‐0519
ALVAREZ, RAMON A      4587 SANTA CLARA AVE                                                                             MIDDLEBURG         FL      32068‐6341
ALVAREZ, RAMON F      383 ROYAL OAK BLVD                                                                               RICHMOND HTS       OH      44143‐1709
ALVAREZ, RAMON M      36037 56TH ST E                                                                                  PALMDALE           CA      93552‐6312
ALVAREZ, RANDOLPH B   1009 CUTTING HORSE DR                                                                            MANSFIELD          TX      76063‐5727
ALVAREZ, RAUL F       7830 BROOKBANK RD                                                                                WILLOWBROOK        IL      60527‐2422
ALVAREZ, RAYMOND      1422 HIGHVIEW DR APT I303                                                                        COLUMBIA           TN      38401‐9403
ALVAREZ, RAYMOND M    4811 VALLEYDALE CT                                                                               ARLINGTON          TX      76013‐5425
ALVAREZ, REJEANNE F   759 DE VIMY ST                                                           SHERBROOKE QC J1J3N8
                                                                                               CANADA
ALVAREZ, ROBARD A     14812 S F MISSION BLVD                                                                           MISSION HILLS       CA     91345
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Name                          Address1                             Address2                       Address3      Address4               City              State   Zip
ALVAREZ, ROBERT M             4112 PYRACANTHA DR                                                                                       ARLINGTON          TX     76017‐4678
ALVAREZ, ROBERTO D            3761 W CO RD 80N                                                                                         KOKOMO             IN     46901
ALVAREZ, ROQUE T              3408 MATTERHORN WAY                                                                                      CERES              CA     95307‐4700
ALVAREZ, ROSA E               1527 N LAFOUNTAIN ST                                                                                     KOKOMO             IN     46901‐2325
ALVAREZ, ROSENDO              2323 EASTCHESTER RD                                                                                      BRONX              NY     10469‐5910
ALVAREZ, SANTOS               624 PANAY WAY DR                                                                                         FORT WORTH         TX     76108‐3918
ALVAREZ, SANTOS B             2155 MALVINA ST                                                                                          LINCOLN PARK       MI     48146‐3433
ALVAREZ, STEVEN M             1437 GRABER DR                                                                                           LAKEWOOD           OH     44107‐3216
ALVAREZ, SUSAN A              923 OAKCREST LN                                                                                          JENISON            MI     49428‐8308
ALVAREZ, THEODORO             2151 4TH ST                                                                                              BAY CITY           MI     48708‐6304
ALVAREZ, TRANQUILINO          WILSON TREVINO FREED VALLS & TREVINO 6909 SPRINGFIELD AVE STE 200                                        LAREDO             TX     78041‐2325

ALVAREZ, TROY M               1206 MCCLAREN DR                                                                                         CARMICHAEL        CA      95608‐6118
ALVAREZ, VELMA A              16359 GEMINI CT                                                                                          FORT MYERS        FL      33908‐6411
ALVAREZ, VICTOR               1305 HAWKINS AVE                                                                                         DOWNERS GROVE      IL     60516‐3789
ALVAREZ, VIRGINIA P           2617 FOREST AVE                                                                                          FORT WORTH        TX      76112
ALVAREZ, WILLIAM              6721 PALMYRA RD SW                                                                                       WARREN            OH      44481‐9226
ALVAREZ,LUIS A                35 PROSPECT ST                                                                                           GARNERVILLE       NY      10923
ALVAREZ‐SCHAFF, GLORIA P      4663 S 46TH ST                                                                                           GREENFIELD        WI      53220‐4105
ALVARO ARTAZA                 902 BLUFF CT                          BAY HARBOR                                                         PETOSKEY          MI      49770‐8570
ALVARO CORTEZ                 5207 CHELTENHAM BLVD                                                                                     LYNDHURST         OH      44124‐2737
ALVARO DE LA MACORRA ZETINA   13455 E 44TH ST, C/O CLIFF                                                                               HETZ YUMA         AZ      85367‐6221
ALVARO FLOREZ                 105 KAY LANE                                                                                             LAS CRUCES        NM      88005
ALVARO GRANDO                 1659 CROSSBOW CT                                                                                         ROCHESTER HILLS   MI      48306‐3232
ALVARO JR, HENRY              3904 STERNS RD                                                                                           LAMBERTVILLE      MI      48144‐9723
ALVARO MACORRRA ZETINA        C/O CLIFF HETZ                        13455 E 44TH STREET                                                YUMA              AZ      85367
ALVARO MARQUEZ                1150 N ROXBORO ST                                                                                        ANAHEIM           CA      92805‐1641
ALVARO MAZ GOMEZ              5000 ISLAND BLVD APT 404                                                                                 AVENTURA          FL      33160‐3763
ALVARO MORENO                 1110 S CLEMENS AVE                                                                                       LANSING           MI      48912‐2503
ALVARO MUNOZ MARTINEZ         LENAUSTRASSE 1                        85356 FREISING                DEUTSCHLAND
ALVARO OLGUIN                 13609 JUSTICE CT                                                                                         EULESS            TX      76040‐8967
ALVARO PENA                   1164 SANTA MONICA AVE                                                                                    TULARE            CA      93274‐7914
ALVARO RODRIGUEZ              869 PRIMROSE PLACE DR                                                                                    LAWRENCEVILLE     GA      30044‐7005
ALVARO, GEORGIA A             2929 ELM ST                                                                                              EAST TROY         WI      53120‐1224
ALVARO, GIUSEPPE              713 HANOVER AVE                                                                                          LIVERPOOL         NY      13088‐6434
ALVEDA LANTZY                 3614 W 107TH ST                                                                                          CLEVELAND         OH      44111‐4801
ALVEE JOHNSON                 6783 SIEBERN AVE APT 206                                                                                 CINCINNATI        OH      45236‐3800
ALVENA ADAMS                  750 TAYLOR BLAIR ROAD                                                                                    W JEFFERSON       OH      43162‐9553
ALVENA BURNISON               1565 KERN RD                                                                                             REESE             MI      48757
ALVENA CARPENTER              3074 PALOMINO TRAIL                                                                                      MASON             OH      45040‐9120
ALVENA D CARPENTER            3074 PALOMINO TRL                                                                                        MASON             OH      45040‐9120
ALVENA HAYDEN                 12151 DALE AVE APT C330                                                                                  STANTON           CA      90680‐3846
ALVENA MADDOX                 211 NW O BRIEN RD                                                                                        LEES SUMMIT       MO      64063
ALVENA MOILES                 805 N SHIAWASSEE ST                                                                                      CORUNNA           MI      48817‐1043
ALVENA RHINEHARDT             6270 SEEGER RD                                                                                           CASS CITY         MI      48726‐9672
ALVENA VINCENT                1944 HIGHWAY 113                                                                                         MORRILTON         AR      72110‐9005
ALVENE SANDERS                15097 APPOLINE ST                                                                                        DETROIT           MI      48227‐4041
ALVENIA CASEY                 553 WHITETHORNE AVE                                                                                      COLUMBUS          OH      43223‐1738
ALVENIA GEVEDON               10612 OTTER RD                                                                                           CARLETON          MI      48117‐9039
ALVERA CASS                   14385 RD E RT 2                                                                                          LEIPSIC           OH      45856
ALVERA HINDERMAN              PO BOX 227                                                                                               QUINNESEC         MI      49876‐0227
ALVERA JR, FRANK R            6193 PORTER AVE                                                                                          EAST LANSING      MI      48823‐1545
ALVERA KIDD                   1238 WALLACE ST                                                                                          HAMILTON          OH      45011‐3164
ALVERA ONDRIAS                100 DEERFIELD CT APT 11                                                                                  PRUDENVILLE       MI      48651‐9203
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Name                                      Address1                         Address2               Address3         Address4                 City              State   Zip
ALVERA PETERS                             5798 N ARGYLE AVE                                                                                 GLENDALE           WI     53209‐4346
ALVERA STRATTON                           604 RILEY CT APT C                                                                                JOPPA              MD     21085‐4677
ALVERA, ARTHUR R                          612 E HOWE AVE                                                                                    LANSING            MI     48906‐3341
ALVERDA BOYER                             12036 BELANN CT                                                                                   CLIO               MI     48420‐1043
ALVEREZ CHAD                              4101 GATEWAY DR STE A                                                                             COLLEYVILLE        TX     76034‐5933
ALVEREZ ISAIC                             ALVEREZ, ISAIC                   1313 SAND KEY COURT                                              SAN JACINTO        CA     92582
ALVEREZ, ISAIC                            1713 SAND KEY CT                                                                                  SAN JACINTO        CA     92582
ALVEREZ, NICHOLAS M                       8605 HEMPFORD DR                                                                                  FORT WAYNE         IN     46819‐2264
ALVERINA COLLEGE                          400 SAINT BERNARDINE ST                                                                           READING            PA     19607‐1737
ALVERINE SMITH                            11300 E 78TH ST                                                                                   RAYTOWN            MO     64138‐2421
ALVERIO, JOHN                             47708 ROYAL POINTE DR                                                                             CANTON             MI     48187‐5463
ALVERMANN                                 HANS ALVERMANN                   RUTH ALVERMANN         BRUNSBERGWEG 1   21244 BUCHHOLZ GERMANY
ALVERNA COLEMAN                           1575 HURLBUT ST                                                                                   DETROIT           MI      48214‐4045
ALVERNA HEAD                              6394 JARVIS RD                                                                                    SARASOTA          FL      34241‐5611
ALVERNA STEIDL                            1105 TALL GRASS CIR APT 103                                                                       STOW              OH      44224‐6927
ALVERNESS SCROGGINS                       4009 RACE ST                                                                                      FLINT             MI      48504‐2237
ALVERNIA HARMON                           904 WALTON AVE                                                                                    DAYTON            OH      45402‐5333
ALVERNO COLLEGE                           3401 S 39TH ST                                                                                    MILWAUKEE         WI      53215‐4020
ALVERS, PAUL H                            3724 YOUNGSTOWN RD                                                                                WILSON            NY      14172‐9724
ALVERS, PAULINE A                         P.O. BOX 225 323 WARREN ST.                                                                       WILSON            NY      14172‐0225
ALVERS, PAULINE A                         PO BOX 225                                                                                        WILSON            NY      14172‐0225
ALVERSA PANCHECK                          7415 CROSS CREEK DR                                                                               SWARTZ CREEK      MI      48473‐1701
ALVERSA WILLIAMS                          3900 HAMMERBERG RD APT 224                                                                        FLINT             MI      48507‐6025
ALVERSIE MITCHELL                         1342 LAUREL ST                                                                                    SAINT LOUIS       MO      63112‐3704
ALVERSON, BARBARA J                       54734 MONARCH DR                                                                                  SHELBY TOWNSHIP   MI      48316‐5616
ALVERSON, DONALD D                        4846 TREAT HWY                                                                                    ADRIAN            MI      49221‐8640
ALVERSON, JACK & JOANN                    4525 MILTON DR                                                                                    FLINT             MI      48507‐2635
ALVERSON, KEN H                           716 MAYNARD LN                                                                                    COLUMBIA          TN      38401‐8952
ALVERSON, MARQUITA A                      4846 TREAT HWY                                                                                    ADRIAN            MI      49221‐8640
ALVERSON, RICHARD F                       2447 WILBUR RD                                                                                    MARTINSVILLE      IN      46151‐6813
ALVERSON, ROGER H                         5570 N RIVER RD                                                                                   FREELAND          MI      48623‐9274
ALVERTA BROWN                             2233 W 500 N                                                                                      MARION            IN      46952‐9104
ALVERTA LUMA                              7113 MAPLE AVE                                                                                    CASTALIA          OH      44824‐9301
ALVERTA MCDONALD                          5407 HOOVER AVE APT 214                                                                           DAYTON            OH      45427‐2581
ALVERY STAPLETON                          2568 DEARBORN AVE                                                                                 ROCHESTER HLS     MI      48309‐3830
ALVERZS RICHARD (412526)                  DEARIE & ASSOCS JOHN C           3265 JOHNSON AVE                                                 BRONX             NY      10463
ALVERZS RICHARD (412526) ‐ BINGHI         DEARIE & ASSOCS JOHN C           3265 JOHNSON AVE                                                 BRONX             NY      10463
VICTOR
ALVERZS RICHARD (412526) ‐ BOUCHER        DEARIE & ASSOCS JOHN C           3265 JOHNSON AVE                                                 BRONX              NY     10463
REGINALD
ALVERZS RICHARD (412526) ‐ BRICKER        DEARIE & ASSOCS JOHN C           3265 JOHNSON AVE                                                 BRONX              NY     10463
RAYMOND
ALVERZS RICHARD (412526) ‐ BROWN          DEARIE & ASSOCS JOHN C           3265 JOHNSON AVE                                                 BRONX              NY     10463
PHILIP
ALVERZS RICHARD (412526) ‐ CATERO         DEARIE & ASSOCS JOHN C           3265 JOHNSON AVE                                                 BRONX              NY     10463
RICHARD
ALVERZS RICHARD (412526) ‐ COSTA RICKY    DEARIE & ASSOCS JOHN C           3265 JOHNSON AVE                                                 BRONX              NY     10463

ALVERZS RICHARD (412526) ‐ CRISCI LUIGI   DEARIE & ASSOCS JOHN C           3265 JOHNSON AVE                                                 BRONX              NY     10463

ALVERZS RICHARD (412526) ‐ SILVA DANNY DEARIE & ASSOCS JOHN C              3265 JOHNSON AVE                                                 BRONX              NY     10463

ALVERZS, RICHARD                          DEARIE & ASSOCS JOHN C           3265 JOHNSON AVE                                                 RIVERDALE          NY     10463
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Name                       Address1                         Address2                       Address3        Address4                   City               State Zip
ALVES CARLOS               ALVES, CARLOS                    TRAVELER'S PROPERTY CASUALTY   P.O. BOX 3022                              FALL RIVER          MA 02722
                                                            COMPANY OF AMERICA
ALVES JR, RAYMOND          1425 RUSKIN RD.                                                                                            DAYTON             OH   45406‐4652
ALVES JR, RAYMOND          1425 RUSKIN RD                                                                                             DAYTON             OH   45406‐4652
ALVES LORRAINE             ALVES, LORRAINE                  5055 WILSHIRE BLVD STE 300                                                LOS ANGELES        CA   90036‐6101
ALVES, ANN                 1689 RODMAN ST                                                                                             FALL RIVER         MA   02721‐3531
ALVES, CARLOS              TRAVELER'S PROPERTY CASUALTY     PO BOX 3022                                                               FALL RIVER         MA   02722‐3022
                           COMPANY OF AMERICA
ALVES, CARLOS
ALVES, FERNANDO G          30 FLOWER HILL LN                                                                                          PALM COAST         FL   32137‐8302
ALVES, GLENN N             9 HILLPOINT ST                                                                                             TROTWOOD           OH   45426‐3605
ALVES, JOAO R              2095 PERRIN SPRINGS DR                                                                                     LAWRENCEVILLE      GA   30043‐2552
ALVES, JOHN R              33 RANCHO DEL SOL                                                                                          CAMINO             CA   95709
ALVES, JOSE A              1500 PINETREE RD                                                                                           CLARKSVILLE        TN   37042‐5339
ALVES, JOSEPH A            PO BOX 662                                                                                                 ALTURAS            CA   96101‐0662
ALVES, MANUEL              3 DOWNEY RD                                                                                                OSSINING           NY   10562‐2608
ALVES, MANUEL T            101 HIGHLAND ST                                                                                            MILFORD            MA   01757‐1851
ALVES, ODETE L             18400 ELAINE AVE                                                                                           ARTESIA            CA   90701‐5734
ALVES, PAUL J              2469 WESTSIDE DR                                                                                           NORTH CHILI        NY   14514‐1034
ALVES, RONALD N            133 VICTOR AVE                                                                                             DAYTON             OH   45405‐3746
ALVES, STEVEN              575 MISTHAVEN CT                                                                                           SUWANEE            GA   30024‐3755
ALVESTEFFER, BARBARA M     3772 BANCROFT PL                                                                                           SOUTHPORT          NC   28461‐7507
ALVESTEFFER, DUANE C       3772 BANCROFT PL                                                                                           SOUTHPORT          NC   28461‐7507
ALVESTEFFER, GERALD L      2615 SUN VALLEY ST                                                                                         JENISON            MI   49428‐8715
ALVESTER NOBLE             16545 STRATHMOOR ST                                                                                        DETROIT            MI   48235‐4070
ALVETA GARRETT             BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                                BOSTON HTS.        OH   44236
ALVETRO JR, FLOYD          2310 MCCLEARY JACOBY RD                                                                                    CORTLAND           OH   44410‐9417
ALVEY AUTOMOTIVE           1645 OSLER ST                                                                   REGINA SK S4P 1V7 CANADA

ALVEY ETHRIDGE             1044 DAVENPORT DR                                                                                          BURTON             MI   48529‐1905
ALVEY EULICE (475463)      ERNSTER CLETUS P III             PO BOX 993                                                                LINDALE            TX   75771
ALVEY JR, PATRICK J        3774 ABERDEEN LN                                                                                           BRIGHTON           MI   48114‐9258
ALVEY JR, PATRICK JOSEPH   3774 ABERDEEN LN                                                                                           BRIGHTON           MI   48114‐9258
ALVEY, EULICE              ERNSTER CLETUS P III             2700 POST OAK BLVD STE 1350                                               HOUSTON            TX   77056‐5785
ALVEY, JEFFREY L           928 N 150 W                                                                                                FRANKLIN           IN   46131‐8591
ALVEY, JOHN T              1031 SCHLEICHER AVE                                                                                        INDIANAPOLIS       IN   46229‐2326
ALVEY, JOYCE I             1808 CRYSTAL ST                                                                                            ANDERSON           IN   46012‐2415
ALVEY, LOUISE A            12360 FIELD BLUFF RD                                                                                       JACKSONVILLE       FL   32223‐2026
ALVEY, MORRIS E            4427 W 300 S                                                                                               ANDERSON           IN   46011‐9489
ALVEY, ROBERT ALEXANDER    692 WALLIE CLEMENTS RD                                                                                     WAVERLY            KY   42462‐7020
ALVEY, WANDA J             5503 THOMAS                                                                                                E ST LOUIS         IL   62201‐2452
ALVEY, WANDA J             5503 THOMAS AVE                                                                                            EAST SAINT LOUIS   IL   62201‐2452
ALVEZA HERNANDEZ           476 THURSTON ST                                                                                            TOLEDO             OH   43605
ALVI, NADEEM               1107 QUAKER RIDGE DR                                                                                       AUSTIN             TX   78746
ALVI, RENATE M             6284 EAGLES LAKE DR                                                                                        CINCINNATI         OH   45248‐6856
ALVIA EWING                5700 N LOTTIE AVE                                                                                          OKLAHOMA CITY      OK   73111‐6712
ALVIA MILLER               1700 HEINZERLING DR                                                                                        COLUMBUS           OH   43223‐3671
ALVIA WILLIAMS             PO BOX 46452                                                                                               BEDFORD            OH   44146‐0452
ALVIAR, LISA               5005 36TH AVE #1                                                                                           HUDSONVILLE        MI   49426‐1603
ALVIAR, MIGUEL             3718 WEDGEWOOD DR                                                                                          LANSING            MI   48911‐2143
ALVIE ABERNATHY            G‐2206 CENTERWOOD                                                                                          BURTON             MI   48509
ALVIE DUNNEGAN             103 BRAD AVE                                                                                               BOWLING GREEN      KY   42104‐8700
ALVIE EDWARDS              348 IVY                                                                                                    BELLEVILLE         MI   48111‐1757
ALVIE FARRIS               C/O STEPHEN C ALBERY             2550 S TELEGRAPH ROAD                                                     BLOOMFIELD HILLS   MI   48302
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Name                    Address1                           Address2                Address3        Address4               City           State   Zip
ALVIE GRAHAM            967 CHERRY VALLEY DR                                                                              LEETONIA        OH     44431‐9783
ALVIE HINES             7050 DURAND RD                                                                                    NEW LOTHROP     MI     48460‐9764
ALVIE HOLT              4223 CHARTER OAK DR                                                                               FLINT           MI     48507‐5511
ALVIE KEFFER JR         3429 UNIT B, EAGLES LOFT                                                                          COURTLAND       OH     44410
ALVIE L LYNCH           732 N 12TH ST                                                                                     MIAMISBURG      OH     45342‐1964
ALVIE MILLER            PO BOX 115                                                                                        HUME             IL    61932‐0115
ALVIE SCARBERRY         PO BOX 533                                                                                        ROSE CITY       MI     48654‐0533
ALVIE STEPHENS          1755 TEA ROSE DR                                                                                  FAIRBORN        OH     45324‐9628
ALVIE STEPHENS          1755 TEAROSE CIRCLE                                                                               FAIRBORN        OH     45324‐9628
ALVIE TAYLOR            2565 WOODVILLE PIKE                                                                               GOSHEN          OH     45122‐8500
ALVIE TUCKER            3307 SHERMAN ST                                                                                   ALTON            IL    62002‐4023
ALVIE YOUNT             530 SURFWOOD LN                                                                                   DAVISON         MI     48423‐1225
ALVILLAR, GUILLERMO V   1419 W LIDDELL DR                                                                                 TUCSON          AZ     85704‐2143
ALVIN
ALVIN AUFDEMBRINK       16416 HIGHWAY H                                                                                   MOUNT VERNON   MO      65712‐6300
ALVIN A BETCHER         226 ELM ST NE                                                                                     MAZEPPA        MN      55956
ALVIN ADAMS             2449 W 14TH ST                                                                                    MARION         IN      46953‐1026
ALVIN ADAMS JR          PO BOX 504                                                                                        CONVERSE       IN      46919‐0504
ALVIN ADDISON           5238 BINGHAM ST                                                                                   DEARBORN       MI      48126‐3304
ALVIN ADOLPH            1431 W GENESEE AVE                                                                                FLINT          MI      48505‐1152
ALVIN ALLEN             7718 VALTA WAY                                                                                    GAINESVILLE    VA      20155‐1981
ALVIN ALLEN             2023 E OLDGATE ST                                                                                 SANDUSKY       OH      44870‐5163
ALVIN ALLEN             1808 BASLIA LN                                                                                    SPRING HILL    TN      37174‐6123
ALVIN ALLEN JR          6774 CHAMBERLAIN AVE                                                                              SAINT LOUIS    MO      63130‐2511
ALVIN ANDERSON          219 DOROTHY CIR                                                                                   LIMESTONE      TN      37681‐2843
ALVIN ANDERSON          833 SCR 26                                                                                        HELENA         OH      43435
ALVIN ANDERSON          6867 WALSH RD                                                                                     DEXTER         MI      48130‐9656
ALVIN ANDREWS           2876 E BOMBAY RD                                                                                  MIDLAND        MI      48642‐7381
ALVIN ANDREWS           1072 KING CAREY DR                                                                                SAINT LOUIS    MO      63146‐5059
ALVIN ASKEW             155 PINE HILL DR                                                                                  CARROLLTON     GA      30116‐5700
ALVIN ATWELL            2003 GLENCOE RD                                                                                   CULLEOKA       TN      38451‐2149
ALVIN AUERNHAMMER       2466 YOSEMITE ST                                                                                  SAGINAW        MI      48603‐3355
ALVIN AUSTIN            306 HOYT KNOX ROAD                                                                                READYVILLE     TN      37149‐5125
ALVIN AUTOLAND, INC.    CARY WILSON                        3205 FM 528 RD                                                 ALVIN          TX      77511‐0508
ALVIN AUTOLAND, INC.    ATTENTION: CARY T. WILSON          3205 FM 528 RD                                                 ALVIN          TX      77511‐0508
ALVIN B KING            634 WADDELL AVE                                                                                   CLAIRTON       PA      15025‐1541
ALVIN B STEPHENS        19195 LANCASHIRE                                                                                  DETROIT        MI      48223
ALVIN BADGLEY           1111 E GENEVA DR                                                                                  DEWITT         MI      48820‐8766
ALVIN BAINBRIDGE        #2                                 914 EAST CLAIR STREET                                          ALLENTOWN      PA      18109‐2628
ALVIN BANKS             APT 1                              11305 GRAND OAK DRIVE                                          GRAND BLANC    MI      48439‐2209
ALVIN BANKS             PO BOX 68                                                                                         FORT OGDEN     FL      34267‐0068
ALVIN BANKS             16500 N PARK DR APT 1704                                                                          SOUTHFIELD     MI      48075‐4769
ALVIN BARNETT           2507 CARMEL BOULEVARD                                                                             ZION           IL      60099‐3043
ALVIN BARNHART          RR 2 BOX 491                                                                                      NORWOOD        MO      65717‐9453
ALVIN BASCOMB           2622 NORWICH DR                                                                                   MONTGOMERY     AL      36116‐3825
ALVIN BASZLER           5380 RIVERVIEW DR                                                                                 BRIDGEPORT     MI      48722‐9762
ALVIN BEARD             116 S KNOWLTON ST                                                                                 ELSIE          MI      48831‐9654
ALVIN BEDENK            10765 HILLSDALE RD                                                                                COUNTRYSIDE    IL      60525‐4806
ALVIN BELL              1928 TEBO ST                                                                                      FLINT          MI      48503‐4431
ALVIN BELLARD           37 N MAIN ST                                                                                      AUSTINTOWN     OH      44515‐2913
ALVIN BERG              1465 S ARCH ST                                                                                    JANESVILLE     WI      53546‐5561
ALVIN BHONES            208 ALDER BRANCH CT                                                                               MADISON        AL      35757‐6938
ALVIN BICKMEYER         9 BIG OAK DR                                                                                      SAINT PETERS   MO      63376‐3410
ALVIN BIGGS             26288 SHEAHAN DR                                                                                  DEARBORN HTS   MI      48127‐4118
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Name                      Address1                       Address2                     Address3   Address4               City             State   Zip
ALVIN BING 3D             867 SEVILLE ROW                                                                               DETROIT           MI     48202‐2601
ALVIN BIRDIETT            498 IRWIN AVE                                                                                 PONTIAC           MI     48341‐2953
ALVIN BLACK               2034 HIGHWAY 40                                                                               LEWISBURG         TN     37091‐6201
ALVIN BLADZIK             PO BOX 67                      757 FILER AVE                                                  FILER CITY        MI     49634‐0067
ALVIN BLAKELY             2696 WOODCUTTER AVE                                                                           COLUMBUS          OH     43224‐2533
ALVIN BLAKLEY             255 BUCK CREEK RD                                                                             CUMBERLAND        IN     46229‐3268
ALVIN BLANTON             BEVAN & ASSOCIATES LPA INC     6555 DEAN MEMORIAL PARKWAY                                     BOSTON HEIGHTS    OH     44236
ALVIN BLARR               4302 MARTINIQUE CIR APT L1                                                                    POMPANO BEACH     FL     33066‐1422
ALVIN BLEVINS             2579 RENFREW WAY                                                                              LANSING           MI     48911‐6422
ALVIN BLUMER              4041 RANDOLPH RD                                                                              JANESVILLE        WI     53546‐1496
ALVIN BOONE               5716 MONTERREY DR                                                                             FORT WORTH        TX     76112‐3902
ALVIN BOONE               292 MEMORIAL PARK RD                                                                          MARION            NC     28752
ALVIN BOS                 3092 MONTICELLO LN                                                                            SAGINAW           MI     48603‐4813
ALVIN BOWEN SR            716 JEFFERSON ST                                                                              MOUNT MORRIS      MI     48458‐3209
ALVIN BRAINERD JR         5451 LITCHFIELD DR                                                                            FLINT             MI     48532‐4040
ALVIN BREWSTER            32323 BEVERLY RD                                                                              ROMULUS           MI     48174‐4300
ALVIN BRIGHT              33642 YUMA ST                                                                                 WESTLAND          MI     48185‐2350
ALVIN BROOKS              3367 E WILLIS ST                                                                              DETROIT           MI     48207‐1529
ALVIN BROUGHTON           32671 ANNAPOLIS ST                                                                            WAYNE             MI     48184‐2524
ALVIN BROWN               435 BRITTON RD APT E                                                                          ROCHESTER         NY     14616‐3211
ALVIN BUFORD              1936 STREAMFIELD CT                                                                           ANTIOCH           TN     37013‐5753
ALVIN BULLOCK             302 LA SERENA                                                                                 WINTER HAVEN      FL     33884‐1718
ALVIN BURNS               2822 RASKOB ST                                                                                FLINT             MI     48504‐7512
ALVIN BURRIS              123 CARDINAL LN                C/O PHYLLIS J BURRIS                                           ALEXANDRIA        IN     46001‐8104
ALVIN BURT                5502 BERMUDA LN                                                                               FLINT             MI     48505‐1069
ALVIN BUSSEY              1930 BRADY AVE                                                                                BALTIMORE         MD     21227‐4108
ALVIN BUTLER              9315 S RACINE AVE                                                                             CHICAGO            IL    60620‐3619
ALVIN C CHEATOM           1341 WINDING RIDGE DR APT 2A                                                                  GRAND BLANC       MI     48439‐7575
ALVIN C FALLS             321 W CAMION REAL ST                                                                          BOCA RATON        FL     33432
ALVIN C HATHCOCK          109 W FAIRMOUNT AVE                                                                           PONTIAC           MI     48340‐2737
ALVIN C PEEL              909 COUNTRY CLUB DR                                                                           CALDWELL          TX     77836
ALVIN C THOM II           1120 S MICHIGAN AVE                                                                           SAGINAW           MI     48602‐1404
ALVIN CABAN               PO BOX 9022                    C/O GM EUROPE                                                  WARREN            MI     48090‐9022
ALVIN CALKINS             383 LANE RD                                                                                   WEST UNION        OH     45693‐9440
ALVIN CALLAHAN            2206 SHANKIN DR                                                                               WOLVERINE LAKE    MI     48390‐2455
ALVIN CALLAHAN            168 OLD COUNTY RD                                                                             MC KEE            KY     40447‐9333
ALVIN CALLION             5462 KNOLL CREEK DR APT A                                                                     HAZELWOOD         MO     63042‐3714
ALVIN CARLSON             1426 M 30                                                                                     ALGER             MI     48610‐9506
ALVIN CARTER              1338 SUNSET DR                                                                                SLIDELL           LA     70460‐2518
ALVIN CASON               5 LIBERTY ST                                                                                  IRVINGTON         NJ     07111‐2001
ALVIN CEPEDA              113 ELMWOOD DR                                                                                JACKSONVILLE      FL     32259‐3031
ALVIN CHAMBERS            PO BOX 310744                                                                                 FLINT             MI     48531‐0744
ALVIN CHARBONNEAU         3835 HUSZAN DR                                                                                BAY CITY          MI     48706‐2221
ALVIN CHEATOM             1341 WINDING RIDGE DR APT 2A                                                                  GRAND BLANC       MI     48439‐7575
ALVIN CHEVALIER           3626 STATE STREET RD                                                                          BAY CITY          MI     48706‐2150
ALVIN CLARK               PO BOX 188                                                                                    FARMERS           KY     40319‐0188
ALVIN CLARK               754 SOUTHWEST ST                                                                              BELLEVUE          OH     44811‐9402
ALVIN CLARKE              9266 GRAYTRAX RD                                                                              GRAND BLANC       MI     48439‐8004
ALVIN CLEMENS             14 LANDIS AVE                                                                                 JEANNETTE         PA     15644‐3014
ALVIN COLBERT             4158 N NORWAY ST SE                                                                           GRAND RAPIDS      MI     49546‐6108
ALVIN COLEMAN             12191 STONE MILL RD                                                                           CINCINNATI        OH     45251‐4133
ALVIN COMMUNITY COLLEGE   3110 MUSTANG RD                                                                               ALVIN             TX     77511‐4807
ALVIN CONNER JR           45 HIGHGATE AVE                                                                               BUFFALO           NY     14214‐1408
ALVIN COOK                383 COOK WESTRY RD                                                                            COY               AL     36435‐5021
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Name                                Address1                         Address2                     Address3   Address4               City               State Zip
ALVIN COOPER                        23950 B HWY                                                                                     EDGERTON            MO 64444
ALVIN COPPOLO
ALVIN COURTER                       2582 W ALLENS PEAK DR                                                                           QUEEN CREEK        AZ   85242‐4642
ALVIN CRAWFORD                      PO BOX 80271                                                                                    SHREVEPORT         LA   71148‐0271
ALVIN CRISP                         4655 FOREST TRL                                                                                 DOUGLASVILLE       GA   30135‐1715
ALVIN CRITTENDEN                    PO BOX 377                                                                                      CARO               MI   48723‐0377
ALVIN CRITTENDEN                    8326 M 25                                                                                       AKRON              MI   48701‐9774
ALVIN CROCKETT                      482 CELESTIA DR                                                                                 RICHMOND HTS       OH   44143‐2742
ALVIN CUTCHER                       23173 W CENTERFIELD DR                                                                          GENOA              OH   43430‐1005
ALVIN D ELDER                       11099 IRISH RD                                                                                  OTISVILLE          MI   48463
ALVIN D HORSEMAN                    140 OAKLAWN AVE                                                                                 DAYTON             OH   45410‐2821
ALVIN DALMIDA                       98 WATERBURY PKWY                                                                               CORTLANDT MNR      NY   10567‐1713
ALVIN DANIELS                       6720 FLO CT                                                                                     RICHLAND HILLS     TX   76118‐6529
ALVIN DAVIDSON                      2393 STATE ROUTE 222                                                                            NEW RICHMOND       OH   45157‐9584
ALVIN DAVIS                         1185 BLOOD RD                                                                                   COWLESVILLE        NY   14037‐9740
ALVIN DAVIS                         6418 ORIOLE DR                                                                                  FLINT              MI   48506‐1723
ALVIN DAVIS                         2703 E FM 852                                                                                   WINNSBORO          TX   75494‐8577
ALVIN DEAMER                        645 HAMLET RD                                                                                   AUBURN HILLS       MI   48326‐3523
ALVIN DILLS                         3178 RICHWOOD DR                                                                                DULUTH             GA   30096‐2540
ALVIN DOMERESE                      1541 S SAN RAY                                                                                  GREEN VALLEY       AZ   85614‐1515
ALVIN DONALDSON                     PO BOX 1881                                                                                     RAHWAY             NJ   07065‐7881
ALVIN DORNES                        7031 WOOLWORTH RD                                                                               SHREVEPORT         LA   71129‐9471
ALVIN DOUGLAS                       18250 BIRWOOD ST                                                                                DETROIT            MI   48221‐1932
ALVIN DOWNHAM                       5317 S 100 E                                                                                    ANDERSON           IN   46013‐9509
ALVIN DUBOIS                        708 W ROYERTON RD                                                                               MUNCIE             IN   47303‐9316
ALVIN DUNCAN                        28419 QUAIL HOLLOW RD                                                                           FARMINGTON HILLS   MI   48331‐2752

ALVIN DUNKIN                        PO BOX 932                                                                                      OWOSSO             MI   48867‐0932
ALVIN DUNN                          RR 4 BOX 51                                                                                     FAIRFIELD          IL   62837‐9407
ALVIN DUNN                          1330 CAROL AVE                                                                                  PRINCETON          IN   47670‐2810
ALVIN DURST                         142 R UPPER RD                                                                                  STOYSTOWN          PA   15563‐8187
ALVIN E BELLARD                     37 N MAIN ST                                                                                    AUSTINTOWN         OH   44515‐2913
ALVIN E STONE                       304 BUNN DR                                                                                     ROCKTON            IL   61072‐2715
ALVIN E ZINK JR.                    671 WELSH ROAD                                                                                  JAVA CENTER        NY   14082
ALVIN E. SMITH AND BETTY J. SMITH   7 BREAM NEST                                                                                    CONWAY             AR   72032
ALVIN EASTERLING                    711 OAKVIEW DR                                                                                  SAGINAW            MI   48604‐2126
ALVIN EBY                           10837 N RICH RD                                                                                 ALMA               MI   48801‐9515
ALVIN EDWARDS                       PO BOX 1114                                                                                     FLINT              MI   48501‐1114
ALVIN EDWARDS                       7800 BEATTY DR APT 305                                                                          IRWIN              PA   15642‐6289
ALVIN EDWARDS                       12875 CIMARRON WAY                                                                              VICTORVILLE        CA   92392‐8061
ALVIN EICK                          312 S MILL ST                                                                                   CLIO               MI   48420‐1436
ALVIN ELDER                         271 W LONG LAKE RD                                                                              HARRISON           MI   48625‐8515
ALVIN ELDRIDGE                      1718 N WOLFE ST                                                                                 BALTIMORE          MD   21213‐2421
ALVIN ERICKSON                      9716 W MONEE MANHATTAN RD                                                                       MONEE              IL   60449‐9649
ALVIN ERICKSON                      PO BOX 912                                                                                      AU GRES            MI   48703‐0912
ALVIN EUBANKS                       PO BOX 51                                                                                       MOUNT MORRIS       MI   48458‐0051
ALVIN EWING JR                      7610 BOLD SPRINGS CHURCH RD                                                                     MONROE             GA   30656‐3341
ALVIN F KING II                     WEITZ & LUXENBERG PC             700 BROADWAY                                                   NEW YORK           NY   10003
ALVIN FAIREY                        200 SETH GREEN DR APT 808                                                                       ROCHESTER          NY   14621‐2102
ALVIN FALLS                         321 W CAMINO REAL                                                                               BOCA RATON         FL   33432‐5705
ALVIN FARLEY                        1951 SPRINGPLACE RD                                                                             LEWISBURG          TN   37091‐5406
ALVIN FAUST JR                      6600 POCKLINGTON RD                                                                             BRITTON            MI   49229‐8701
ALVIN FENNELL                       BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS.        OH   44236
ALVIN FIEDLER                       1010 ALICE ST                                                                                   NASHVILLE          TN   37218‐2901
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Name                Address1                      Address2               Address3         Address4               City             State   Zip
ALVIN FIELDS        PO BOX 14770                                                                                 SAGINAW           MI     48601‐0770
ALVIN FIELDS JR     2 W MARTHA JEAN DR                                                                           AMELIA            OH     45102‐1419
ALVIN FINNEY        1705 N LAKE DR                                                                               ISHPEMING         MI     49849‐3128
ALVIN FITZPATRICK   44610 TARRAGON DR                                                                            LANCASTER         CA     93536‐6431
ALVIN FLEETWOOD     6300 W MICHIGAN AVE APT F8                                                                   LANSING           MI     48917‐4744
ALVIN FLETCHER      PO BOX 1277                                                                                  BLAIRSVILLE       GA     30514‐1277
ALVIN FLOEN         1704 SOUTH RIVER ROAD                                                                        JANESVILLE        WI     53546‐5648
ALVIN FOLSOM        2027 E 41ST ST                                                                               ANDERSON          IN     46013‐2578
ALVIN FORSTER       5148 3 MILE RD                                                                               BAY CITY          MI     48706‐9087
ALVIN FOSTER        5118 SOUTHWICK CIR                                                                           LANSING           MI     48917‐4009
ALVIN FOSTER        PO BOX 153                                                                                   CORNING           AR     72422‐0153
ALVIN FREED         2144 TITUS AVE                                                                               ROCHESTER         NY     14622‐1833
ALVIN FRENCH        1458 E MCLEAN AVE                                                                            BURTON            MI     48529‐1614
ALVIN FRIDAY        2576 N 11 MILE RD                                                                            PINCONNING        MI     48650‐8962
ALVIN FRIEL JR      15634 RICH LN                                                                                HICKORY CRNRS     MI     49060‐9568
ALVIN FUST          687 LOS ARBOLES DR                                                                           WOLVERINE LAKE    MI     48390‐2023
ALVIN G GILLIAM     9766 E MEXICO AVE APT 1308                                                                   DENVER            CO     80247‐6225
ALVIN GARCIA JR     APT 302                       PO BOX 32010                                                   AURORA            CO     80041‐2010
ALVIN GARISS        226 JONES ST                                                                                 WELLINGTON        OH     44090‐1067
ALVIN GARNETT JR    5114 GOODMAN AVE                                                                             FORT WORTH        TX     76107‐7120
ALVIN GARWICK JR    395 W HAMPTON RD                                                                             ESSEXVILLE        MI     48732‐8702
ALVIN GATLEY        2026 ECKLEY AVE                                                                              FLINT             MI     48503‐7003
ALVIN GAUTHIER      3588 LAURIA RD                                                                               BAY CITY          MI     48706‐1131
ALVIN GAYDEN        622 ODETTE ST                                                                                FLINT             MI     48503‐5131
ALVIN GILLIAM       1001 S DAHLIA ST APT 324                                                                     DENVER            CO     80246‐8226
ALVIN GIPSON        1126 HOOD ST                                                                                 TOLEDO            OH     43610‐1243
ALVIN GLOVER        1750 HAMLET DR                                                                               YPSILANTI         MI     48198‐3662
ALVIN GOLDEN        9775 JUDD RD                                                                                 WILLIS            MI     48191‐9758
ALVIN GRADY         3292 PINGREE ST                                                                              DETROIT           MI     48206‐2104
ALVIN GRANDBERRY    50302 KNICEBRIDGE DR.                                                                        MACOMB            MI     48044
ALVIN GRAY          3085 BISCAYNE AVE                                                                            YOUNGSTOWN        OH     44505‐2113
ALVIN GREEN         1278 87TH ST                                                                                 NIAGARA FALLS     NY     14304‐2506
ALVIN GREER         1684 DECOTO RD #178                                                                          UNION CITY        CA     94587
ALVIN GREGORY       2003 BETSY LN                                                                                IRVING            TX     75061‐2451
ALVIN GRENNAY       1220 DYERSBURG HWY                                                                           TRENTON           TN     38382‐9548
ALVIN GRIBBLE       18698 ROAD 48                                                                                GROVER HILL       OH     45849‐9310
ALVIN GRIGGS        901 SANTEE LN                                                                                FORT MILL         SC     29708‐8391
ALVIN GRIGGS        4409 NW 53RD ST                                                                              OKLAHOMA CITY     OK     73112‐2104
ALVIN GROSS         1156 CEDAR BEND RD                                                                           JACKSON           KY     41339
ALVIN GUENTHARDT    6520 SHEPPARD OAKS ST                                                                        LAKELAND          FL     33811
ALVIN GUITAR        5944 DUBOIS ST                                                                               DETROIT           MI     48211‐2560
ALVIN GUTHRIE       1114 GOULD RD                                                                                LANSING           MI     48917‐1757
ALVIN HACKETT       44331 HARSDALE DR                                                                            CANTON            MI     48187‐3258
ALVIN HAGAN         17184 CEDAR LN                                                                               CHOCTAW           OK     73020‐7480
ALVIN HALL          1500 MITCHELL ST                                                                             OAKLAND           CA     94601‐1630
ALVIN HALL          4015 HIGHWAY 30                                                                              LONEDELL          MO     63060‐1214
ALVIN HALVORSON     118 N OAKHILL AVE                                                                            JANESVILLE        WI     53548‐3437
ALVIN HAMBRICK JR   8120 BRIDGEWAY CIR APT 1A                                                                    FORT WAYNE        IN     46816‐2318
ALVIN HANEY         6270 W FRANCES RD                                                                            CLIO              MI     48420‐8573
ALVIN HARDY         1077 ARGYLE AVE                                                                              PONTIAC           MI     48341‐2304
ALVIN HART          231 DESTINY CT                                                                               WENTZVILLE        MO     63385‐4561
ALVIN HASS          2815 COYLE ST # 411                                                                          BROOKLYN          NY     11235
ALVIN HASS          2815 COYLE ST                 #411                                                           BROOKLYN          NY     11235‐1740
ALVIN HATHCOCK      109 W FAIRMOUNT AVE                                                                          PONTIAC           MI     48340‐2737
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Name                                Address1                         Address2                     Address3   Address4               City             State Zip
ALVIN HAUGEN                        7307 S FOSSUM RD                                                                                BRODHEAD          WI 53520‐8837
ALVIN HAWK                          BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS.       OH 44236
ALVIN HAWSEY                        PO BOX 136                                                                                      ELYSIAN FIELDS    TX 75642‐0136
ALVIN HAYDEN                        36053 CARLISLE ST                                                                               CLINTON TOWNSHIP MI 48035‐4412

ALVIN HAYES                         5901 W HEFNER RD                                                                                OKLAHOMA CITY      OK   73162‐4906
ALVIN HAYNES                        2007 E 130TH ST                                                                                 COMPTON            CA   90222‐2105
ALVIN HEIN                          3853 N 84TH ST                                                                                  MILWAUKEE          WI   53222‐2807
ALVIN HEITCHLER                     3832 HAZELETT DRIVE                                                                             WATERFORD          MI   48328‐4032
ALVIN HEMGESBERG                    17200 STUART RD                                                                                 CHESANING          MI   48616‐9799
ALVIN HEMMERT                       352 WILSHIRE DR                                                                                 BLOOMFIELD HILLS   MI   48302‐1064
ALVIN HENIX                         PO BOX 837                                                                                      SAGINAW            MI   48606‐0837
ALVIN HENIX JR                      PO BOX 3423                                                                                     SAGINAW            MI   48605‐3423
ALVIN HENIX, JR.                    PO BOX 3423                                                                                     SAGINAW            MI   48605‐3423
ALVIN HENSON JR                     2913 KINCAID AVE                                                                                SAINT LOUIS        MO   63114‐4538
ALVIN HEPLER                        118 PATAPSCO AVE                                                                                BALTIMORE          MD   21222‐4247
ALVIN HILL                          296 LYNN ANN DR                                                                                 NEW KENSINGTON     PA   15068‐8338
ALVIN HILL JR                       11205 MCFALLS DR                                                                                INDIAN LAND        SC   29707‐8668
ALVIN HILL JR                       2103 N CASTLE CT                                                                                MATTHEWS           NC   28105‐5426
ALVIN HILLIKER                      BOX 258 PROVIDENCE CHURCH RD.                                                                   LITTLE MOUNTAIN    SC   29075
ALVIN HOBBY                         1208 SHEELAGH CT                                                                                STOCKBRIDGE        GA   30281‐6734
ALVIN HODGES                        2600 BOLTON BOONE DR APT 919                                                                    DESOTO             TX   75115‐2072
ALVIN HOFFMAN                       21728 LAMBRECHT AVE                                                                             EASTPOINTE         MI   48021‐2532
ALVIN HOKANSON                      1432 W REID RD                                                                                  FLINT              MI   48507‐4641
ALVIN HOLLIDAY                      4301 E MINNESOTA ST                                                                             INDIANAPOLIS       IN   46203‐3446
ALVIN HOLLIS                        3093 PROMENADE CIRCLE                                                                           ANN ARBOR          MI   48108‐1559
ALVIN HOLLOWAY                      1421 CARNEGIE ST                                                                                MCKEESPORT         PA   15132‐4702
ALVIN HORNUNG                       4200 W UTICA RD APT 117                                                                         SHELBY TOWNSHIP    MI   48317‐4767
ALVIN HORSEMAN                      140 OAKLAWN AVE                                                                                 DAYTON             OH   45410‐2821
ALVIN HUSSAR                        595 KENMORE AVE NE                                                                              WARREN             OH   44483‐5521
ALVIN INDEPENDENT SCHOOL DISTRICT                                    2780 W HIGHWAY 6                                                                  TX   77511

ALVIN J DELMORE                     C/O WILLIAMS KHERKHER HART &     8441 GULF FREEWAY, STE 600                                     HOUSTON            TX   77007
                                    BOUNDAS, LLP
ALVIN J FIELDS                      PO BOX 14770                                                                                    SAGINAW            MI   48601‐0770
ALVIN J HEDRICK                     1026 MARKHAM RD                                                                                 ELKTON             KY   42220‐9716
ALVIN JACKSON                       4920 GENERAL STERLING PRICE PL                                                                  BOSSIER CITY       LA   71112‐4762
ALVIN JACKSON                       1700 ACE PL                                                                                     DAYTON             OH   45408‐2304
ALVIN JACKSON                       2441 GRAMERCY PARK CIRCLE                                                                       DULUTH             GA   30097‐4946
ALVIN JACKSON JR                    1909 DELLA DR                                                                                   DAYTON             OH   45408‐2557
ALVIN JEFFERS                       76 ORCHARD AVE                                                                                  HAZEL PARK         MI   48030‐1338
ALVIN JEFFERSON                     7698 PLUMARIA DR                                                                                FONTANA            CA   92336‐1658
ALVIN JENKS                         698 W HOWARD RD                                                                                 BEAVERTON          MI   48612‐9420
ALVIN JENUWINE                      37702 AGAR DR                                                                                   STERLING HEIGHTS   MI   48310‐3607
ALVIN JERNIGAN                      3189 WATERVIEW DR SW                                                                            SUPPLY             NC   28462‐5227
ALVIN JOHNSON                       332 CAMPBELL ST                                                                                 RIVER ROUGE        MI   48218‐1011
ALVIN JOHNSON                       133 RIVER RD                                                                                    WSHNGTN CT HS      OH   43160‐2361
ALVIN JOHNSON                       7720 BUCKHORN LAKE RD                                                                           HOLLY              MI   48442‐8961
ALVIN JOHNSON                       1119 AVON WAY                                                                                   JACKSON            MS   39206
ALVIN JONES                         71838 E POND CREEK DR                                                                           BRUCE TWP          MI   48065‐3731
ALVIN JONES                         6085 PALMETTO DR                                                                                MOUNT MORRIS       MI   48458‐2827
ALVIN JONES                         2038 WAYNE ST                                                                                   LANSING            MI   48910‐5837
ALVIN JONES                         7512 BELCROSS LN                                                                                FORT WORTH         TX   76133‐7463
ALVIN JOSEPH                        ALVIN, JOSEPH                    1791 GRAHAM STREET                                             LAKE CHARLES       LA   70601‐1653
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Name                 Address1                         Address2                      Address3            Address4               City                State   Zip
ALVIN JOYNER         C/O THE MADEKSHO LAW FIRM        8866 GULF FREEWAY SUITE 440                                              HOUSTON              TX     77017
ALVIN KAFLIK         48940 BAY SHORE CT.                                                                                       SHELBY TWP.          MI     48315
ALVIN KAPLAN         10341 CROSSWIND RD                                                                                        BOCA RATON           FL     33498
ALVIN KEELER         1933 INDIAN LAKE RD                                                                                       NATIONAL CITY        MI     48748‐9453
ALVIN KEESEY JR      38 S MARTIN RD                                                                                            JANESVILLE           WI     53545‐2657
ALVIN KENDALL        6806 DARYLL DR                                                                                            FLINT                MI     48505‐1968
ALVIN KEPHART        212 PET LANE RD                                                                                           MURPHY               NC     28906‐6629
ALVIN KING           634 WADDELL AVE                                                                                           CLAIRTON             PA     15025‐1541
ALVIN KINNEBREW      2675 COLD SPRINGS TRL SW                                                                                  MARIETTA             GA     30064‐4461
ALVIN KLANK          35842 MALIBU DR                                                                                           STERLING HTS         MI     48312‐4056
ALVIN KLINGLER       668 TWP RD 350                                                                                            SULLIVAN             OH     44880
ALVIN KLUCZYNSKI     2335 BROOKRIDGE DR                                                                                        TOLEDO               OH     43613‐1503
ALVIN KNEPP          PO BOX 264                                                                                                SAINT REGIS FALLS    NY     12980‐0264
ALVIN KNEUSS JR      650 WESTFIELD ST                                                                                          SAGINAW              MI     48602‐2748
ALVIN KNOX           511 DELAWARE AVE                                                                                          NORTH VERSAILLES     PA     15137‐1928

ALVIN KRANICH        314 SAGE HILL DR                                                                                          SHREVEPORT          LA      71106‐7645
ALVIN KREINER        2745 GRAVEL CREEK RD                                                                                      NORTH BRANCH        MI      48461‐9578
ALVIN KUDRNA         3237 WESTMINSTER RD                                                                                       JANESVILLE          WI      53546‐9650
ALVIN L ANGEL        1500 DARST AVE                                                                                            DAYTON              OH      45403‐2810
ALVIN L BIGGS        26288 SHEAHAN DR                                                                                          DEARBORN HEIGHTS    MI      48127‐4118

ALVIN L BLUE SR      C/O WILLIAMS KHERKHER HART &     8441 GULF FREEWAY STE 600                                                HOUSTON              TX     77007
                     BOUNDAS LLP
ALVIN L CLARKE       1809 S MICHIGAN AVE                                                                                       SAGINAW             MI      48602‐1335
ALVIN L GRIGGS       4409 NW 53RD ST                                                                                           OKLAHOMA CITY       OK      73112‐2104
ALVIN L HATTON       765 DORSET AVE                                                                                            YPSILANTI           MI      48198‐6194
ALVIN L JACKSON      1700 ACE PL                                                                                               DAYTON              OH      45408‐2304
ALVIN L JACKSON      1700 ACE PLACE                                                                                            DAYTON              OH      45408
ALVIN L JACKSON JR   1909 DELLA DR                                                                                             DAYTON              OH      45408‐2557
ALVIN L JOHNSON      PO BOX 311442                                                                                             TAMPA               FL      33680‐3442
ALVIN L JOHNSON      C/O BARON & BUDD PC              THE CENTRUM SUITE 1100        3102 OAK LAWN AVE                          DALLAS              TX      75219‐4281
ALVIN L LEVINGSTON   C/O WILLIAMS KHERKHER HART &     8441 GULF FREEWAY STE 600                                                HOUSTON             TX      77007
                     BOUNDAS LLP
ALVIN LARSON         2743 STONEBLUFF DR SW                                                                                     WYOMING             MI      49519‐6101
ALVIN LEE            1224 RANSOM ST                                                                                            SANDUSKY            OH      44870‐3129
ALVIN LEE            PO BOX 42359                                                                                              BROOK PARK          OH      44142‐0359
ALVIN LESKOWITZ      128 WRIGHT RD                                                                                             ROCKVILLE CENTRE    NY      11570

ALVIN LEUNEBERG      2120 E PARKWOOD AVE                                                                                       BURTON              MI      48529‐1766
ALVIN LEWIS          6043 REO ST                                                                                               TOLEDO              OH      43615‐5716
ALVIN LINCOLN        77 STATE ROUTE 42 # 3                                                                                     WEST SALEM          OH      44287
ALVIN LINDSEY II     C/O BEVAN & ASSOCIATES LPA INC   6555 DEAN MEMORIAL PARKWAY                                               BOSTON HTS          OH      44236
ALVIN LOUGH          5751 RENDON BLOODWORTH RD                                                                                 FORT WORTH          TX      76140‐9616
ALVIN LYNCH          12 GAIL RD                                                                                                NEW CASTLE          DE      19720‐1710
ALVIN M CIERS        C/O WILLIAMS KHERKHER HART &     8441 GULF FREEWAY STE 600                                                HOUSTON             TX      77007
                     BOUNDAS LLP
ALVIN MACK           852 WARNER AVE                                                                                            MASON               MI      48854‐2021
ALVIN MADEJA         9637 FERNWOOD DRIVE              APT #162                                                                 OLMSTED FALLS       OH      44138
ALVIN MANN JR.       64171 30TH ST                                                                                             LAWTON              MI      49065‐6624
ALVIN MARBLE         1103 LINCOLN AVE NW                                                                                       GRAND RAPIDS        MI      49504‐4115
ALVIN MARKLEY        PO BOX 71                                                                                                 DOVER               MO      64022‐0071
ALVIN MARSCHKE       320 N US HIGHWAY 31                                                                                       WHITELAND           IN      46184‐1474
ALVIN MARSHALL       7267 SADIE LN                                                                                             BELLEVILLE          MI      48111‐5124
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Name                            Address1                          Address2                   Address3          Address4               City            State   Zip
ALVIN MARSHALL                  401 WHITTEMORE ST                                                                                     WHITTEMORE       MI     48770‐9225
ALVIN MARTIN                    12029 W LENNON RD                                                                                     LENNON           MI     48449‐9725
ALVIN MARTIN                    5313 HIGHWAY 5                                                                                        GLOSTER          LA     71030‐3059
ALVIN MASSINGILL                200159 RIDGE DR                                                                                       GERING           NE     69341‐8525
ALVIN MATHENIA                  2272 BLACKTHORN DR                                                                                    BURTON           MI     48509‐1238
ALVIN MATSUURA                  1613 N HALE AVE                                                                                       FULLERTON        CA     92831‐1218
ALVIN MATTICE JR                2205 DAKOTA AVE                                                                                       FLINT            MI     48506‐2803
ALVIN MC CARTY                  2389 SILVER CIR                                                                                       WATERFORD        MI     48328‐1741
ALVIN MC KEOWN                  2330 LIMESTONE DR                                                                                     FLUSHING         MI     48433‐3525
ALVIN MCCALLUM                  22995 W TOLEDO ST                                                                                     CURTICE          OH     43412‐9655
ALVIN MCCOY                     16255 DARLENE DR                                                                                      MACOMB           MI     48042‐1630
ALVIN MCCULLY                   20855 W 180TH ST                                                                                      OLATHE           KS     66062‐9257
ALVIN MCDONALD                  1660 SAUNDERS SETTLEMENT RD                                                                           NIAGARA FALLS    NY     14304‐1090
ALVIN MCGRANDY                  3320 CURTIS RD                                                                                        BIRCH RUN        MI     48415‐9060
ALVIN MCHENRY                   9704 E WESTPORT RD                                                                                    INDEPENDENCE     MO     64052‐1562
ALVIN MCKEE                     460 SUMMERWIND DR                                                                                     CROSSVILLE       TN     38571‐3693
ALVIN MCMEANS                   6057 W 200 N                                                                                          ANDREWS          IN     46702‐9432
ALVIN MEADOWS                   9545 CHILLICOTHE RD                                                                                   KIRTLAND         OH     44094‐8502
ALVIN MEIKAMP                   1370 GERBER RD                                                                                        EDWARDSVILLE      IL    62025‐3114
ALVIN MELTON                    177 N BLUFF RD                                                                                        GREENWOOD        IN     46142‐7726
ALVIN MERCER                    1264 W 950 S                                                                                          PENDLETON        IN     46064‐9364
ALVIN MERRILL                   20223 N 124TH DR                                                                                      SUN CITY WEST    AZ     85375‐3322
ALVIN MIELENS                   6086 W DARBEE RD                                                                                      FAIRGROVE        MI     48733‐9756
ALVIN MILLER                    3449 COSEYBURN RD                                                                                     WATERFORD        MI     48329‐4303
ALVIN MILLER                    6651 RIDGEWOOD RD                                                                                     CLARKSTON        MI     48346‐1026
ALVIN MOODY                     4159 AVERY ST                                                                                         DETROIT          MI     48208‐2708
ALVIN MOORE                     1811 BURR OAK CT                                                                                      WAUKESHA         WI     53189‐8400
ALVIN MOORE                     2409 SUNCREST DRIVE                                                                                   FLINT            MI     48504‐8415
ALVIN MOOTOO                    1393 NEW CHURCH ST                                                                                    RAHWAY           NJ     07065‐3305
ALVIN MOREHOUSE                 501 PINETREE DR                                                                                       FORT WAYNE       IN     46819‐2327
ALVIN MOSES                     2345 OXFORD RD                    APT 212                                                             BERKLEY          MI     48072‐1755
ALVIN MOSS                      248 BOOTH DR                                                                                          BELOIT           WI     53511‐6106
ALVIN MOSS                      1332 PRAIRIE AVE                                                                                      BELOIT           WI     53511‐3851
ALVIN MOZDZEN                   7116 WICKERT RD                                                                                       HALE             MI     48739‐9506
ALVIN MULLINS                   PO BOX 15102                                                                                          DETROIT          MI     48215‐0102
ALVIN MYERS                     209 W SICKLES ST                                                                                      SAINT JOHNS      MI     48879‐2164
ALVIN N FREED                   2144 TITUS AVE                                                                                        ROCHESTER        NY     14622‐1833
ALVIN NAPIER                    2188 CORINNE CT S APT C                                                                               ST PETERSBURG    FL     33712‐4401
ALVIN NEACE                     27234 LEROY ST                                                                                        TAYLOR           MI     48180‐4817
ALVIN NELSON                    18890 MOENART ST                                                                                      DETROIT          MI     48234‐2352
ALVIN NELSON                    807 W RIDGEWAY AVE                                                                                    FLINT            MI     48505‐5104
ALVIN NEUMANN                   12649 BEAVER LAKE RD                                                                                  HERRON           MI     49744‐9729
ALVIN NEWBOLD                   6130 CLOVER WAY N                                                                                     SAGINAW          MI     48603‐4221
ALVIN NORRIS PEEVY              NIX, PATTERSON & ROACH LLP        GM BANKRUPTCY DEPARTMENT   205 LINDA DRIVE                          DAINGERFIELD     TX     75638
ALVIN O & KATHLEEN M MCDONALD   271 DEPOT STREET                                                                                      WILTON           ME     04294‐6654
ALVIN O SHAUGHNESSY             11745 BRANDYWINE DR                                                                                   BRIGHTON         MI     48114‐9011
ALVIN O'DELL                    755 CRALL RD                                                                                          MANSFIELD        OH     44903‐9519
ALVIN ODUM JR                   PO BOX 217                                                                                            FITZGERALD       GA     31750‐0217
ALVIN OLIVER                    9261 OAK RD                                                                                           OTISVILLE        MI     48463‐9745
ALVIN OSBORN                    15024 S OUTER BELT RD                                                                                 LONE JACK        MO     64070‐9519
ALVIN PAGEL                     202 NICKEL ST BOX 64                                                                                  ALBANY           WI     53502
ALVIN PARKER                    4370 S GRAND CANYON DR APT 1093                                                                       LAS VEGAS        NV     89147‐7113
ALVIN PARKER                    1543 APPLE CREEK TRL                                                                                  GRAND BLANC      MI     48439‐4963
ALVIN PATTERSON                 PO BOX 395                                                                                            SCOTTSVILLE      TX     75688‐0395
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ALVIN PAVKOV        BEVAN & ASSOCIATES LPA INC     6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS          OH     44236
ALVIN PAXTON        2072 MILLSTONE DR SW                                                                          CONYERS             GA     30094‐3980
ALVIN PENDLETON     280 APPIAN WAY                                                                                UNION CITY          CA     94587‐3706
ALVIN PENN          9175 BRIARWOOD DR                                                                             PLYMOUTH            MI     48170‐4703
ALVIN PENN          74 MAGNOLIA DR                                                                                MONROE              LA     71203‐2772
ALVIN PENNIE        934 PANGBURN ST                                                                               GRAND PRAIRIE       TX     75051‐2619
ALVIN PERRIA        5595 HOLLOW CORNERS RD                                                                        DRYDEN              MI     48428‐9759
ALVIN PHELAN        45301 LINDSEY DR                                                                              BELLEVILLE          MI     48111‐5342
ALVIN PHILLIPS      2334 W NORTH BEND RD                                                                          CINCINNATI          OH     45239‐6810
ALVIN PIECZYNSKI    523 SUNSET BLVD                                                                               OXFORD              MI     48371‐5184
ALVIN PIPKIN        3146 N KENWOOD AVE                                                                            INDIANAPOLIS        IN     46208‐4630
ALVIN PITTS         PO BOX 653                                                                                    IRVINE              KY     40336‐0653
ALVIN PITTS         P. O. BOX 653                                                                                 IRVINE              KY     40336‐0653
ALVIN POLLARD       1033 N CHEVROLET AVE                                                                          FLINT               MI     48504‐4625
ALVIN POLLARD JR    PO BOX 775                                                                                    FLINT               MI     48501‐0775
ALVIN POLMATIER     9476 ARBELA RD                                                                                MILLINGTON          MI     48746‐9547
ALVIN PORR          BEVAN & ASSOCIATES LPA INC     6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS          OH     44236
ALVIN POSTER        3266 BROWN CABIN RD                                                                           LUZERNE             MI     48636‐9723
ALVIN PRICE         15576 HWY 68                                                                                  SAINT JAMES         MO     65559
ALVIN PRIM          2111 COTTIE LN                                                                                ARLINGTON           TX     76010‐4755
ALVIN PRINCE        3505 BROPHY RD                                                                                HOWELL              MI     48855‐9744
ALVIN PRINGLE       5070 SPRING WELL LN                                                                           GRAND BLANC         MI     48439
ALVIN R DUNKIN      PO BOX 923                                                                                    OWOSSO              MI     48867‐0923
ALVIN RAMSEY        18430 N 350 E                                                                                 SUMMITVILLE         IN     46070‐9007
ALVIN RANISZEWSKI   4180 CROOKS ST                                                                                WEST BLOOMFIELD     MI     48323‐1225

ALVIN RAPER         BEVAN & ASSOCIATES LPA INC     6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS         OH      44236
ALVIN RAWLINGS      4911 IVANHOE AVE                                                                              BALTIMORE          MD      21212‐4522
ALVIN REDSICKER     16 JANICE DR                                                                                  ROCHESTER          NY      14624‐4647
ALVIN REDSICKER     16 JANICE DR                                                                                  ROCHESTER          NY      14624‐4647
ALVIN REICHENBACH   1612 E BRECKENRIDGE LN                                                                        MILTON             WI      53563‐8898
ALVIN RENICK        1510 S FRANKLIN AVE                                                                           FLINT              MI      48503‐2877
ALVIN REYNOLDS      5004 MOUNT MORRIS RD                                                                          COLUMBIAVILLE      MI      48421‐8943
ALVIN REYNOLDS      54501 COUNTY ROAD 657                                                                         PAW PAW            MI      49079‐8614
ALVIN REYNOLDS      245 LONGWOOD DR                                                                               JANESVILLE         WI      53548‐3276
ALVIN RHODES        2370 S WALLICK RD                                                                             PERU               IN      46970‐7337
ALVIN RICHARDS      412 N HAMPTON RD                                                                              SPRINGFIELD        OH      45504‐3104
ALVIN RICHARDSON    7164 N BRAY RD                                                                                MOUNT MORRIS       MI      48458‐8989
ALVIN RICHARDSON    2915 GLACIER DR                                                                               SAGINAW            MI      48603‐3318
ALVIN RIEHLE        3214 W MINNESOTA ST                                                                           INDIANAPOLIS       IN      46241‐4530
ALVIN ROGERS        3337 LAUREL MOUNTAIN RD                                                                       MURFREESBORO       TN      37129‐2548
ALVIN ROOT JR       6878 S DELANEY RD                                                                             OWOSSO             MI      48867‐9798
ALVIN ROSE          5512 SEESAW RD                                                                                NASHVILLE          TN      37211‐6877
ALVIN ROSE          11641 CONNELL ST APT 5                                                                        OVERLAND PARK      KS      66210‐3226
ALVIN ROSEN         12105 WESMEADE DR                                                                             MARYLAND HEIGHTS   MO      63043‐4140

ALVIN ROSS          3458 DOYLE ST                                                                                 TOLEDO             OH      43608‐1429
ALVIN ROSSER        PO BOX 507                                                                                    RED OAK            GA      30272‐0507
ALVIN ROUSE         2009 PEARL ST                                                                                 ANDERSON           IN      46016‐4450
ALVIN S ADAMS JR    PO BOX 504                                                                                    CONVERSE           IN      46919‐0504
ALVIN SALO JR       80 N ELEVATOR RD                                                                              LINWOOD            MI      48634‐9315
ALVIN SAMS          1337 OVERBROOK AVE                                                                            YOUNGSTOWN         OH      44505‐1241
ALVIN SANCLEMENTE   37562 CHARTER OAKS BLVD                                                                       CLINTON TWP        MI      48036‐2422
ALVIN SANDERS       3402 AMBLESIDE DR                                                                             FLUSHING           MI      48433‐9775
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Name               Address1                         Address2                      Address3                Address4               City               State   Zip
ALVIN SANFORD      20219 BRADFORD ST                                                                                             DETROIT             MI     48205‐1005
ALVIN SAUL         NIX PATTERSON & ROACH LLP        GM BANKRUPTCY DEPARTMENT      205 LINDA DRIVE                                DAINGERFIELD        TX     75638
ALVIN SCHAFER      PO BOX 202                                                                                                    WESTPHALIA          MI     48894‐0202
ALVIN SCHEIDEL     7949 68TH ST SE                                                                                               ALTO                MI     49302‐9573
ALVIN SCHMIDT      17671 30 MILE RD                                                                                              RAY                 MI     48096‐1704
ALVIN SCHNEIDER    215 N CANAL RD LOT 99                                                                                         LANSING             MI     48917‐8669
ALVIN SCHNIPKE     12592 ROAD 24                                                                                                 CLOVERDALE          OH     45827‐9754
ALVIN SCHUBERT     109 SUNSET AVE                                                                                                SHERWOOD            OH     43556‐9820
ALVIN SEABOLT      PO BOX 283                                                                                                    MURRAYVILLE         GA     30564‐0283
ALVIN SEBRING      THE MADEKSHO LAW FIRM            8866 GULF FREEWAY STE 440                                                    HOUSTON             TX     77017
ALVIN SELBY        1485 N SALEMBURG HWY                                                                                          SALEMBURG           NC     28385‐9080
ALVIN SHANKS       232 HEATHER HILL DR                                                                                           SOUTHGATE           KY     41071‐3011
ALVIN SHOCK        1304 RUTLEDGE DR                                                                                              TEMPERANCE          MI     48182‐1243
ALVIN SITERLET     6977 WOODLEA RD W                                                                                             OSCODA              MI     48750‐8767
ALVIN SLAGLE       BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                                                   BOSTON HTS          OH     44236
ALVIN SMARCH       1280 GENELLA ST                                                                                               WATERFORD           MI     48328‐1337
ALVIN SMITH        2880 BERT REED MEMORIAL RD                                                                                    FELICITY            OH     45120‐9741
ALVIN SMITH        16 LIMBERLOST                                                                                                 MCLOUD              OK     74851‐8595
ALVIN SMITH        1209 WARREN ST. 2FL                                                                                           ROSELLE             NJ     07203
ALVIN SMITH        1705 VILLA SOUTH DRIVE                                                                                        DAYTON              OH     45449‐3718
ALVIN SMITH        2816 MERIDIAN ST                                                                                              ANDERSON            IN     46016‐5258
ALVIN SMITH        2622 MACKIN RD                                                                                                FLINT               MI     48504‐3364
ALVIN SMITH        3872 DEER TRACK TRL                                                                                           CADILLAC            MI     49601‐8595
ALVIN SMITH        1130 LAKESHORE COURT                                                                                          VILLA RICA          GA     30180‐3956
ALVIN SMITH        59537 KITTLE RD                                                                                               WASHINGTON          MI     48094‐2427
ALVIN SMITH        4012 ARNST WAY                                                                                                SPRING HILL         TN     37174‐9265
ALVIN SMITH JR     12325 JASON RD                                                                                                WESTPHALIA          MI     48894‐9508
ALVIN SMITH JR     PO BOX 17147                                                                                                  DAYTON              OH     45417
ALVIN SPEARMAN     2031 COPEMAN BLVD                                                                                             FLINT               MI     48504‐3035
ALVIN SPICER       1314 WEIHUR DR                                                                                                SANDUSKY            OH     44870‐5627
ALVIN SPIKES JR    3210 ROBERTS ST                                                                                               BEAUMONT            TX     77701
ALVIN SPOHN        ALVIN SPOHN                      CASCINO MICHAEL P             220 SOUTH ASHLAND AVE                          CHICAGO              IL    60607
ALVIN STALLINGS    565 WHITE RD                                                                                                  FAYETTEVILLE        GA     30214‐7522
ALVIN STANDARD     6195 MALLARD CT                                                                                               CLARKSTON           MI     48346‐2295
ALVIN STARK        1464 SHARONS DR                                                                                               RURAL RETREAT       VA     24368‐5947
ALVIN STEED        660 LOOKOUT ST                                                                                                PONTIAC             MI     48342‐2946
ALVIN STEGALL      8442 S CARPENTER ST                                                                                           CHICAGO              IL    60620‐3303
ALVIN STEPHERSON   THE MADEKSHO LAW FIRM            8866 GULF FREEWAY SUITE 440                                                  HOUSTON             TX     77017
ALVIN STOCKSTAD    209 LINCOLN AVE                                                                                               STOUGHTON           WI     53589‐2069
ALVIN STONE        304 BUNN DR                                                                                                   ROCKTON              IL    61072‐2715
ALVIN STORY        6865 N WILDWOOD ST                                                                                            WESTLAND            MI     48185‐2777
ALVIN STORY        2315 LAKE IN THE WOODS BLVD AP                                                                                YPSILANTI           MI     48198
ALVIN STRANE       45 WESLEY DR                                                                                                  SHELTON             CT     06484‐5236
ALVIN STREIDL      9415 CHERRY TREE DR APT 102                                                                                   STRONGSVILLE        OH     44136‐9403
ALVIN T BROOKS     3959 THREE MILE DR                                                                                            DETROIT             MI     48224‐3605
ALVIN T PIERCE     412 LIVINGSTON AVE                                                                                            DAYTON              OH     45410‐2819
ALVIN TANK         6595 E WASHINGTON ST                                                                                          CLARKSTON           MI     48346‐2174
ALVIN TAYLOR       5142 BLOSS DR                                                                                                 SWARTZ CREEK        MI     48473‐8876
ALVIN THAENS       292 JOY CT                                                                                                    WHITE LAKE          MI     48386‐1999
ALVIN THIGPEN      818 LINCOLN HWY APT 21                                                                                        FAIRVIEW HEIGHTS     IL    62208‐2247

ALVIN THOMAS       PO BOX 330604                                                                                                 PACOIMA            CA      91333‐0604
ALVIN THOMPSON     843 LINCOLN AVE                                                                                               BELOIT             WI      53511‐5219
ALVIN THOMPSON     C/O BEVAN & ASSOCIATES LPA INC   6555 DEAN MEMORIAL PARKWAY                                                   BOSTON HEIGHTS     OH      44236
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Name                    Address1                         Address2                      Address3   Address4               City               State   Zip
ALVIN TIGNER            550 JODECO STATION ST                                                                            STOCKBRIDGE         GA     30281‐5871
ALVIN TINTA             203 BLUE JACKET RD                                                                               PERRYSBURG          OH     43551‐6362
ALVIN TISCH             501 W 107TH ST APT 353                                                                           KANSAS CITY         MO     64114‐5916
ALVIN TOBER             235 AVON BELDEN RD               C/O CHERYL L NIEDING                                            AVON LAKE           OH     44012‐1607
ALVIN TODD              22099 230TH AVE                                                                                  PARIS               MI     49338‐9747
ALVIN TORREY II         112 EAGLE HAVEN DR                                                                               SUMMERTOWN          TN     38483‐3805
ALVIN TRABUCCO          742 PRINCE ST                                                                                    NORTH VERSAILLES    PA     15137‐1138

ALVIN TRAWICKI          5030 N COON ISLAND RD                                                                            EVANSVILLE         WI      53536‐8603
ALVIN TRINDADE          132 BLOOMFIELD WAY                                                                               FOLSOM             CA      95630‐7632
ALVIN VALENTINE JR      1028 LOGAN ST                                                                                    MADISON            IL      62060‐1006
ALVIN VANOY             31616 TERRACE DR                                                                                 TAVARES            FL      32778‐4748
ALVIN VASSAR            5121 OAK LEAF DR APT 1                                                                           KANSAS CITY        MO      64129‐2448
ALVIN VENTURA           35047 PERRY RD                                                                                   UNION CITY         CA      94587‐5265
ALVIN VICKERY           PO BOX 972                                                                                       CROWLEY            TX      76036‐0972
ALVIN VINCENT           5061 PINCH HWY                                                                                   POTTERVILLE        MI      48876‐9720
ALVIN VOELKER JR        141 GRANT ST                                                                                     LOCKPORT           NY      14094‐5007
ALVIN W CLARK           P.O. BOX 188                                                                                     FARMERS            KY      40319
ALVIN W MEITZENHEIMER   4700 BUDLONG AVENUE                                                                              LOS ANGELES        CA      90037‐2849
ALVIN W SMITH JR        PO BOX 147, DUNBAR STATION                                                                       DAYTON             OH      45417
ALVIN WALK              3021 SHERWOOD ST                                                                                 SAGINAW            MI      48603‐2058
ALVIN WALLACE           3383 THORNBERRY RD                                                                               ROCHESTER HLS      MI      48309‐3529
ALVIN WALLACE           110 ELRUTH CT APT 17                                                                             GIRARD             OH      44420‐3038
ALVIN WALMER            4318 N DANDYLION LN                                                                              EVANSVILLE         WI      53536‐9008
ALVIN WARD              3583 PINE CREEK RD                                                                               METAMORA           MI      48455‐9602
ALVIN WARDEN            4848 HAYES ST                                                                                    WAYNE              MI      48184‐2278
ALVIN WASHINGTON        PO BOX 5588                                                                                      COMPTON            CA      90224‐5588
ALVIN WATKINS           4357 GREEN VALLEY RD                                                                             SOUTHSIDE          AL      35907‐6420
ALVIN WATSON            6825 PARKBELT DR                                                                                 FLINT              MI      48505‐1938
ALVIN WEBBER            2245 MAPLE RD                                                                                    WILLIAMSVILLE      NY      14221‐3917
ALVIN WEN               6173 BRITTANY TREE DR                                                                            TROY               MI      48085‐1085
ALVIN WEST              THE MADEKSHO LAW FIRM            8866 GULF FREEWAY SUITE 440                                     HOUSTON            TX      77017
ALVIN WHITE             4132 RACE ST                                                                                     FLINT              MI      48504‐2298
ALVIN WHITE JR          153 HAMETOWN RD                                                                                  NEW FREEDOM        PA      17349‐9175
ALVIN WIADUCK           2206 INDERNESS CLIFF                                                                             BIRMINGHAM         AL      35242
ALVIN WILLIAMS          832 GOLFVIEW AVE                                                                                 BOARDMAN           OH      44512‐2731
ALVIN WILLIAMS          2820 MONICA CT SW                                                                                ATLANTA            GA      30311‐2036
ALVIN WILLIAMS          2901B MINNESOTA AVENUE                                                                           SAINT LOUIS        MO      63118‐1323
ALVIN WILLIAMS          13 SHERWOOD LN                                                                                   MORRIS             GA      39867‐3002
ALVIN WILLIAMS          2713 GLENDALE ST                                                                                 DETROIT            MI      48238‐3474
ALVIN WILLIAMS JR       24 MIRANDA CT                                                                                    MARTINSBURG        WV      25403‐0863
ALVIN WILLIAMSON        3409 NAVAJO CT                                                                                   DALLAS             TX      75224‐3726
ALVIN WILSON            17408 SE 134TH ST                                                                                NEWALLA            OK      74857‐8195
ALVIN WILSON            2744 DELAND RD                                                                                   WATERFORD          MI      48329‐3418
ALVIN WILSON SR         1515 E GENESEE AVE                                                                               SAGINAW            MI      48607‐1755
ALVIN WITHEM            1306 BLOSSOM AVE                                                                                 YPSILANTI          MI      48198‐3307
ALVIN WOLFF             6145 HUNTERS CREEK RD                                                                            IMLAY CITY         MI      48444‐9716
ALVIN WOODARDS          134 DENNY AVE                                                                                    PENNS GROVE        NJ      08069‐1315
ALVIN WOODHAMS          609 W PARK ST                                                                                    SAINT JOHNS        MI      48879‐1759
ALVIN WOODROW           803 ROCKINGHAM AVE                                                                               ALMA               MI      48801‐2768
ALVIN WOODRUFF          629 NAPOLEON RD                                                                                  MICHIGAN CENTER    MI      49254‐1346
ALVIN WRIGHT            14840 ARTESIAN ST                                                                                DETROIT            MI      48223‐2229
ALVIN WRIGHT            50517 GRIMMS BRIDGE RD                                                                           E LIVERPOOL        OH      43920‐9210
ALVIN WRIGHT            33 LOCH LOMA DR                                                                                  MOUNT MORRIS       MI      48458‐8928
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Name                   Address1                        Address2                    Address3    Address4               City               State Zip
ALVIN WYNN JR          3610 VILLA ROSA DR                                                                             CANFIELD            OH 44406‐8069
ALVIN YARCH            1487 S HOME RD                                                                                 MANSFIELD           OH 44904‐9551
ALVIN YORK
ALVIN YOUNG            3903 WEBBER ST                                                                                 SAGINAW            MI   48601‐4144
ALVIN ZICK JR          1620 BRAID HILLS DR                                                                            PASADENA           MD   21122‐3521
ALVIN'S AUTO/NSHVL     1500 2ND AVE N                                                                                 NASHVILLE          TN   37208‐1710
ALVIN'S INC            ACCT OF DEBORAH M HOLMES
ALVIN, JOSEPH          1791 GRAHAM STREET                                                                             LAKE CHARLES       LA   70601‐1653
ALVINA BAASE           5510 SHERIDAN RD                                                                               SAGINAW            MI   48601‐9306
ALVINA BACON           8386 CHERISH DR                                                                                MICCO              FL   32976‐2606
ALVINA COONS           APT 3                           685 BRITTANY SQUARE                                            GRAYSLAKE          IL   60030‐1360
ALVINA ELLIS           6470 S BETSIE RIVER RD                                                                         INTERLOCHEN        MI   49643‐9508
ALVINA FREIER          1390 W LINCOLN RD                                                                              HARRISON           MI   48625‐9491
ALVINA HACKERT         3000 KINGSBROOKE DR APT 301                                                                    JACKSON            MI   49202‐5376
ALVINA J GRANT         5100 GEORGE ST                                                                                 FLINT              MI   48505‐1625
ALVINA KLECHA          34256 RICHLAND ST                                                                              LIVONIA            MI   48150‐5614
ALVINA METEVIA         5555 LANGE RD                                                                                  BIRCH RUN          MI   48415‐9007
ALVINA MINOR           3322 KETTERING RD                                                                              SAGINAW            MI   48603‐2301
ALVINA NICKLYN         2643 CHAPEL DR W                                                                               SAGINAW            MI   48603‐2808
ALVINA SKINNER         3264 E DAYTON RD                                                                               CARO               MI   48723‐9434
ALVINA SWEDA           7713 BEEKAY RD                                                                                 BALTIMORE          MD   21219‐1901
ALVINA YUHASZ‐HOOVER   234 CRESTLINE DR                                                                               LOWELL             IN   46356‐2118
ALVINIA WILLIAMS       PO BOX 3144                                                                                    WARREN             OH   44485‐0144
ALVINO CARRILLO        4209 WINDSOR AVE                                                                               KANSAS CITY        MO   64123‐1725
ALVINO DICKSON         13207 E 32ND CT                                                                                TULSA              OK   74134‐4005
ALVINO GOMEZ           42286 W OAKLAND DR                                                                             MARICOPA           AZ   85238‐2226
ALVINO VILLARREAL      PO BOX 3405                                                                                    MERCED             CA   95344‐1405
ALVIRA HARMON          7272 CLEARMONT DR                                                                              MENTOR             OH   44060‐3438
ALVIRA JR, PETER       46493 KILLARNEY CIR                                                                            CANTON             MI   48188‐3501
ALVIRA PHANEUF         203 WINDSOR DR                                                                                 PORT ORANGE        FL   32129‐7490
ALVIRA, FRANCISCO      27861 FLANDERS AVE                                                                             WARREN             MI   48088‐4803
ALVIRA, FRANK G        2751 IVY HILL DR                                                                               COMMERCE TWP       MI   48382‐5127
ALVIS BOND             PO BOX 1183                                                                                    MUNCIE             IN   47308‐1183
ALVIS BROWN            1225 RED LION RD                                                                               BEAR               DE   19701‐1820
ALVIS BROWN            126 RUSTIC VILLAGE RD                                                                          ROGERSVILLE        AL   35652‐2926
ALVIS CARLEE           C/O WILLIAMS KHERKHER HART &    8441 GULF FREEWAY STE 600                                      HOUSTON            TX   77007
                       BOUNDAS LLP
ALVIS CRUISE JR        18 FORT ZUMWALT DR                                                                             O FALLON           MO   63366‐2900
ALVIS DUNCAN           2259 N WOODS CT                                                                                CANTON             MI   48188‐6234
ALVIS FRALEY           21 FALCON CREST DR UNIT A                                                                      NORWALK            OH   44857‐2864
ALVIS HESTER JR        3800 PALMER ST                                                                                 LANSING            MI   48910‐4429
ALVIS J TROUT JR       667 OSWEGO AVE                                                                                 YPSILANTI          MI   48198‐8009
ALVIS JAMES            29195 SPRING ST                                                                                FARMINGTON HILLS   MI   48334‐4139

ALVIS JOHNSON          2529 LANDON ST                                                                                 FLINT              MI   48504‐2750
ALVIS JONES JR         1432 COUNTY ROAD 156                                                                           TOWN CREEK         AL   35672‐5572
ALVIS JR, CLYDE        PO BOX 1386                                                                                    CLARKSTON          MI   48347‐1386
ALVIS KING             8966 E 2100 NORTH RD                                                                           OAKWOOD            IL   61858‐6262
ALVIS MARY             PO BOX 814                                                                                     HARTWELL           GA   30643‐0814
ALVIS MORRIS           1071 COUNTY ROAD 1246                                                                          CULLMAN            AL   35057‐6704
ALVIS PICKARD          632 WILLIS AVE                                                                                 YOUNGSTOWN         OH   44511‐1526
ALVIS SALMONS          2524 TWENTY THIRD ST                                                                           CUYAHOGA FLS       OH   44223
ALVIS WELLS            29609 PURITAN ST                                                                               LIVONIA            MI   48154‐3246
ALVIS, C F             PO BOX 175                      609 BYERS ST                                                   KIRKLAND           IL   60146‐0175
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Name                    Address1                      Address2              Address3         Address4                 City               State Zip
ALVIS, CATHERINE H      43 APPLE SPRING CIRCLE                                                                        WOODLANDS           TX 77382
ALVIS, CATHERINE H      43 S APPLE SPRINGS CIR                                                                        SPRING              TX 77382‐5762
ALVIS, SAMUEL D         3287 SHERMAN RIDGE DR SW                                                                      MARIETTA            GA 30064‐2456
ALVIS, SHIRLEY M        338 BERNIE HOUSING                                                                            BERNIE              MO 63822
ALVIS, TERRY O          2054 HARDWOOD DR                                                                              DAVISON             MI 48423‐9517
ALVIS, VERNON H         43 S APPLE SPRINGS CIR                                                                        SPRING              TX 77382‐5762
ALVITI, DENNIS A        42 ELMWOOD PARK N                                                                             TONAWANDA           NY 14150‐3327
ALVITI, RONALD A        5926 SHAWNEE RD                                                                               SANBORN             NY 14132
ALVON GIGUERE           11089 RED MAPLE DR                                                                            PLYMOUTH            MI 48170‐3293
ALVON R RODGERS         20009 E 8 MILE RD 46                                                                          SAINT CLAIR SHORES MI 48080

ALVON RODGERS           20009 E 8 MILE RD             APT 46                                                          SAINT CLAIR SHORES   MI   48080

ALVON W. PHILLIPS
ALVOR ATKINS            3376 LAWTON ST                                                                                DETROIT              MI   48208‐2559
ALVORD & ALVORD         1600 K ST NW STE 200                                                                          WASHINGTON           DC   20006‐2825
ALVORD JR, EDWARD R     229 LOCK ST                                                                                   LOCKPORT             NY   14094‐2230
ALVORD, CHAD J          741 LUDINGTON AVE                                                                             PORTAGE              MI   49002‐7805
ALVORD, CHARLES N       5359 THUNDERBIRD PASS                                                                         GRAND BLANC          MI   48439‐9146
ALVORD, DONALD D        10359 STATE RD                                                                                MILLINGTON           MI   48746‐9318
ALVORD, GORDON E        4428 CARMANWOOD DR                                                                            FLINT                MI   48507‐5653
ALVORD, JAMES M         6933 W BRILES RD                                                                              PEORIA               AZ   85383‐7017
ALVORD, JOHN L          PO BOX 9022                   SHANGHAI                                                        WARREN               MI   48090‐9022
ALVORD, KEITH D         2500 WOODY NOLL DR                                                                            PORTAGE              MI   49002‐7666
ALVORD, LARRY W         7137 BLANKENSHIP CIR                                                                          DAVISON              MI   48423‐2341
ALVORD, LAWRENCE W      4338 CARMANWOOD DR                                                                            FLINT                MI   48507‐5602
ALVORD, ROBERT E        14408 ROCK CANYON COURT                                                                       CORONA               CA   92880‐3703
ALVORD, RONALD J        4482 VIA SAN RAFAEL                                                                           LAS VEGAS            NV   89103
ALVORD, ROY E           8862 RIDGE RD                                                                                 GASPORT              NY   14067‐9403
ALVORD, WANDA J         G‐4338 CARMANWOOD DR                                                                          FLINT                MI   48507
ALVORD, WILFRED L       9341 WILLARD RD                                                                               MILLINGTON           MI   48746‐9327
ALVORD, WILLIAM S       9273 WILLARD RD                                                                               MILLINGTON           MI   48746‐9311
ALVREZ, ERNEST E        925 COUGHLAN ST                                                                               AUBURN HILLS         MI   48326‐3809
ALVUT, CLARENCE E       504 NORTH ST                                                                                  BATAVIA              NY   14020‐1704
ALVUT, CLARENCE E       504 NORTH STREET                                                                              BATAVIA              NY   14020‐4020
ALVUT, ERNEST G         1701 W COMMERCE AVE LOT 206                                                                   HAINES CITY          FL   33844‐3241
ALVY LANCASTER          14136 PLACID CV                                                                               STRONGSVILLE         OH   44136‐5129
ALVY SLONE              8909 AUTUMNGATE LN                                                                            HUBER HEIGHTS        OH   45424‐1150
ALVY SLONE              8909 AUTUMN GATE LANE                                                                         HUBER HEIGHTS        OH   45424‐1150
ALVYDAS JASIUNAS        ZIBUCIU 38 PANEVEZYS                                                 LT‐37455 LITHUANIA
ALWALDIA THOMAS         19925 KENTUCKY ST                                                                             DETROIT              MI   48221‐1136
ALWANDA DUNHAM          8568 WARREN PKWY APT 613                                                                      FRISCO               TX   75034‐7029
ALWARD, BARBARA         5345 N STATE RD                                                                               DAVISON              MI   48423‐8595
ALWARD, BARBARA E       5345 N. STATE RD                                                                              DAVISON              MI   48423‐595
ALWARD, BEVERLY A       332 DULUDE AVE                                                                                WOONSOCKET           RI   02895‐3434
ALWARD, DAVID G         9236 LAKE RD                                                                                  OTISVILLE            MI   48463‐9611
ALWARD, DAVID GRANT     9236 LAKE RD                                                                                  OTISVILLE            MI   48463‐9611
ALWARD, EDWARD G        1032 ADAMS RD                                                                                 BURTON               MI   48509‐2323
ALWARD, GRANT C         2138 NEEPER ST                                                                                GRAND BLANC          MI   48439‐8520
ALWARD, JAMES M         6672 S COUNTY LINE RD                                                                         DURAND               MI   48429‐9410
ALWARD, JAMES MICHAEL   6672 S COUNTY LINE RD                                                                         DURAND               MI   48429‐9410
ALWARD, JAMES R         520 MICHAEL DR                                                                                SONOMA               CA   95476
ALWARD, JOLENE A        73752 GOULD RD                                                                                BRUCE TWP            MI   48065‐3175
ALWARD, LAURA           28374 TIMOTHY RD                                                                              CHESTERFIELD         MI   48047‐4864
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Name                          Address1                       Address2                      Address3   Address4               City             State Zip
ALWARD, LAURA E               28374 TIMOTHY RD                                                                               CHESTERFIELD      MI 48047‐4864
ALWARD, MARIA                 906‐1653 OUELLETTE AVENUE                                               WINDSOR ON N8X‐W48
                                                                                                      CANADA N8X‐4W8
ALWARD, MARK S                28374 TIMOTHY RD                                                                               CHESTERFIELD     MI   48047‐4864
ALWARD, MURIEL L              1830 E YOSEMITE AVE SPC 279E                                                                   MANTECA          CA   95336
ALWARD, PATRICIA A            56 OLD ORCHARD DR                                                                              DAVISON          MI   48423‐9122
ALWARD, PHILLIP W             10480 N FENTON RD                                                                              FENTON           MI   48430‐9788
ALWARD, RICHARD L             4263 DRUMHELLER RD                                                                             BATH             MI   48808‐9750
ALWARD, RICHARD N             7101 MOUNT JULIET DR                                                                           DAVISON          MI   48423‐2361
ALWARD, ROBERT                5345 NORTH STATE ROAD                                                                          DAVISON          MI   48423‐8595
ALWARD, ROBERT F              9215 NICHOLS RD                                                                                GAINES           MI   48436‐9708
ALWARD, RYAN G                58224 RUTH JEAN                                                                                WASHINGTON       MI   48094‐3380
ALWARD, SADAE                 5612 MALL DR W APT 137                                                                         LANSING          MI   48917‐1901
ALWARD, THOMAS H              9099 FRANCES RD                                                                                OTISVILLE        MI   48463‐9411
ALWARD, THOMAS HENRY          9099 FRANCES RD                                                                                OTISVILLE        MI   48463‐9411
ALWARD, WILLIAM P             4232 N SKOOKUM RD                                                                              LUTHER           MI   49656‐9462
ALWARDT ORLAND S M (644339)   SHEPARD LAW FIRM, PC           10 HIGH STREET, SUITE 1100                                      BOSTON           MA   02110
ALWAYS PERFECT NAILS          ATTN: JEAN BILL                104 ARTERIAL RD                                                 SYRACUSE         NY   13206‐1581
ALWAYS SPOTLESS CLEANING      ATTN: CARLA NATZO              2239 E BOATFIELD AVE                                            BURTON           MI   48529‐1783
ALWAYS TRUCKING               PO BOX 462                     307 W ST                                                        MANCELONA        MI   49659‐0462
ALWERDT, JEREMIAH J           2509 BRANDYWINE LN                                                                             MARTINSVILLE     IN   46151‐8978
ALWILDA SHORE                 101 W COUNTRY LN                                                                               KANSAS CITY      MO   64114‐4929
ALWIN BAGWELL                 5234 GAINESVILLE ST                                                                            FLOWERY BRANCH   GA   30542‐3241
ALWIN CURTIS                  6700 16 MILE RD NE                                                                             CEDAR SPRINGS    MI   49319‐9587
ALWIN HENDERSON               1236 RUNAWAY BAY DR APT 3D                                                                     LANSING          MI   48917‐8756
ALWIN MEYER                   18623 N PALOMAR DR                                                                             SUN CITY WEST    AZ   85375‐4721
ALWIN, DONALD L               3779 N EDGEWOOD DR                                                                             JANESVILLE       WI   53545‐9067
ALWIN, GREGORY E              8500 BEARDSLEE RD                                                                              OWOSSO           MI   48867‐9289
ALWIN, JEANETTE H             2001 WESLEY AVE.               APT. 306                                                        JANESVILLE       WI   53545‐2682
ALWIN, JEANETTE H             2001 WESLEY AVE APT 306                                                                        JANESVILLE       WI   53545‐2682
ALWIN, JULIE R                8500 BEARDSLEE ROAD                                                                            OWOSSO           MI   48867‐9289
ALWIN, KEVIN L                763 S FREMONT ST                                                                               JANESVILLE       WI   53545‐4917
ALWIN, THOMAS G               725 N ARCH ST                                                                                  JANESVILLE       WI   53548‐2303
ALWINE LYNAM                  2514 RUNNING STREAM CT         FOUR WINDS                                                      ANDERSON         IN   46011‐4769
ALWINE, CHARLES M             1610 JAQUES DR                                                                                 LEBANON          IN   46052‐9021
ALWINE, ROSEMARY              1007 N WRIGHT RD APT 1                                                                         JANESVILLE       WI   53546‐1857
ALWOOD, DERICK T              5450 TUBBS RD                                                                                  WATERFORD        MI   48327
ALWOOD, MICHAEL R             133 S FAIRVIEW AVE                                                                             LANSING          MI   48912‐3007
ALWYN JOHNSON                 20321 SAINT JOHNS RD                                                                           INTERLOCHEN      MI   49643‐9607
ALWYN KEENEY                  1595 CLAY HILL RD                                                                              SOMERSET         KY   42501‐6122
ALWYN REID                    5921 2 MILE RD                                                                                 BAY CITY         MI   48706‐3183
ALWYNA JOHNSON                2906 BAILEY AVE                                                                                LINCOLN PARK     MI   48146‐2534
ALYA MARTIN                   1773 OAKWOOD RD                                                                                ORTONVILLE       MI   48462‐8671
ALYAFEI, ALI
ALYAFEI, BALKEES
ALYAMI, KHALED
ALYCE BAKER                   179 N COLONIAL DR                                                                              CORTLAND         OH   44410‐1105
ALYCE BUCKLEY                 3200 AYR DRIVE                                                                                 PALM HARBOR      FL   34684‐2801
ALYCE DORAN                   9272 EASTON RD APT 2                                                                           NEW LOTHROP      MI   48460‐9781
ALYCE ELLENS                  5400 RIVERLOOK DR NE                                                                           COMSTOCK PARK    MI   49321‐9561
ALYCE KLEINFELD               236 SANFORD ST                                                                                 PIGEON           MI   48755‐5114
ALYCE LEONE                   550 S MULFORD RD               ALDEN ALMA NELSON MANOR INC                                     ROCKFORD         IL   61108‐2511
ALYCE MORNINGSTAR             5221 OSTLUND DR                                                                                HOPE             MI   48628‐9603
ALYCE OLIVER                  6613 PARKBELT DR               C/O SANDRA DEMPS                                                FLINT            MI   48505‐1930
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Name                                   Address1                         Address2                      Address3   Address4                City            State   Zip
ALYCE P BAKER                          179 N COLONIAL DR                                                                                 CORTLAND         OH     44410
ALYCIA DOLAN                           264 MYRTLE TRL                                                                                    OXFORD           MI     48371‐6345
ALYCIA KINNEY                          7729 BROOKSIDE WAY                                                                                ZOLFO SPRINGS    FL     33890‐3413
ALYCIA M WILLIAMS                      7326 PARKDALE AVE                                                                                 CINCINNATI       OH     45237
ALYEA, DANIEL G                        3024 OLIVE BRANCH RD                                                                              GREENWOOD        IN     46143‐8798
ALYEA, HARRIET J                       259 CHRISTY DR                                                                                    GREENWOOD        IN     46143
ALYESKA                                1835 BRAGAW ST                                                                                    ANCHORAGE        AK     99508‐3438
ALYESKA PIPELINE COMPANY               WILLIAM (BILLIE) ALLEN           615 BIDWILL AVE                                                  FAIRBANKS        AK     99701‐7580
ALYESKA PIPELINE COMPANY               PO BOX 60349                                                                                      FAIRBANKS        AK     99706‐0349
ALYESKA PIPELINE SERVICE CO.           1835 S BRAGAW 571                                                                                 ANCHORAGE        AK     99508
ALYESKA PIPELINE SERVICE CO/MS AN08    3311 LATHROP ST                                                                                   FAIRBANKS        AK     99701‐7430

ALYESKA PIPELINE SERVICE CO/MS AN08B   3311 LATHROP ST                                                                                   FAIRBANKS        AK     99701‐7430

ALYESKA/M. S. 748                      1835 BRAGAW ST                                                                                    ANCHORAGE       AK      99508‐3438
ALYESKA/M. S. 800                      1835 BRAGAW ST                                                                                    ANCHORAGE       AK      99508‐3438
ALYESKA/P. S. 3 ‐ EQPMT. SHOP          1835 BRAGAW ST                                                                                    ANCHORAGE       AK      99508‐3438
ALYESKA/P. S. 5 ‐ EQPMT. SHOP          1835 BRAGAW ST                                                                                    ANCHORAGE       AK      99508‐3438
ALYNE LOWE                             1333 N CLEVELAND AVE APT 601                                                                      CHICAGO         IL      60610‐6227
ALYNE SCOTT                            419 N MECHANIC ST                                                                                 LEBANON         OH      45036‐1831
ALYNN TRACY                            9193 BRIARSTONE DR                                                                                STANWOOD        MI      49346‐9393
ALYNN WILLMON                          9500 S HILLCREST DR                                                                               OKLAHOMA CITY   OK      73159‐6843
ALYS WOLTERS                           5026 EAGLE HARBOR RD                                                                              ALBION          NY      14411‐9336
ALYSA PATRYCE WALKER                   4370 RIVERSIDE DR APT C‐2                                                                         DAYTON          OH      45405‐‐ 13
ALYSE BLOOMER                          22 4TH ST                                                                                         NILES           OH      44446‐1069
ALYSE SILVERMAN
ALYSIA L BLACKBURN                     1956 RYAN RD                                                                                      SPRINGBORO      OH      45066
ALYSSA BENSON                          5900 BRIDGE RD APT 404                                                                            YPSILANTI       MI      48197‐7010
ALYSSA BOSCARELLI                      6395 GROSSE DRIVE                                                                                 BROOK PARK      OH      44142
ALYSSA FALCON & HER ATTORNEY           KROHN & MOSS LTD                 10474 SANTA MONICA BLVD       STE 401                            LOS ANGELES     CA      90025‐6101
ALYSSA M MARBLE                        7899 CASTLE ROCK DR NE                                                                            WARREN          OH      44484‐1410
ALYSSA MARBLE                          7899 CASTLE ROCK DR NE                                                                            WARREN          OH      44484‐1410
ALYSSA VIOLETT                         14911 KELLY DRIVE                                                                                 SMITHVILLE      MO      64089
ALYWIN MITCHELL                        504 S CHESTNUT ST                                                                                 OLATHE          KS      66061‐4510
ALZADA BURRUS                          5916 COBURN AVE                                                                                   INDIANAPOLIS    IN      46228‐1226
ALZADA DANIELS                         1115 SEYMOUR ST                                                                                   GRAND LEDGE     MI      48837‐2128
ALZAGA, CESAR M                        6016 VANCIL DR                                                                                    ARLINGTON       TX      76018‐0940
ALZEBIN, MAZIN
ALZENA PHILLIPS                        5529 PATTON DR                                                                                    FORT WORTH       TX     76112‐7635
ALZHEIMER ASSOCIATION GREATER          1040 WALNUT ST                   NORTHWESTERN REGION                                              TRAVERSE CITY    MI     49686‐2729
MICHIGAN CHAPTER
ALZHEIMER SOCIETY                      242 LAUZON RD                                                             WINDSOR CANADA ON N8S
                                                                                                                 3L6 CANADA
ALZHEIMER'S ASSOCIATION                23215 COMMERCE PARK              STE 300                                                          BEACHWOOD       OH      44122‐5843
ALZHEIMER, ALFRED C                    6 POLE BRIDGE ROAD                                                                                EGG HBR TWP     NJ      08234‐5844
ALZHEIMERS ASSOC GREATER IL            4709 GOLF RD STE 1015                                                                             SKOKIE          IL      60076‐1260
ALZHEIMERS ASSOCIATION                 NORTH WEST OHIO CHAPTER          1 MARION AVE STE 108                                             MANSFIELD       OH      44903‐7906
ALZHEIMERS ASSOCIATION                 SOUTHEASTERN WISCONSIN           6130 W NATIONAL AVE STE 200                                      MILWAUKEE       WI      53214‐6000
ALZHEIMERS ASSOCIATION                 120 WASHINGTON ST STE 419                                                                         WATERTOWN       NY      13601‐3330
ALZHEIMERS ASSOCIATION                 225 N MICHIGAN AVE STE 1700                                                                       CHICAGO         IL      60601‐7652
ALZHEIMERS ASSOCIATION                 ST LOUIS CHAPTER OFFICE          9374 OLIVE BLVD                                                  SAINT LOUIS     MO      63132
ALZHEIMERS ASSOCIATION                 20300 CIVIC CENTER DR SUIT                                                                        SOUTHFIELD      MI      48076
ALZHEIMERS ASSOCIATION GREATER         50 E 91ST ST STE 100                                                                              INDIANAPOLIS    IN      46240‐1554
INDIANA CHAPTER
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ALZHEIMERS ASSOCIATION MEMORY WALK 441 W KIRKPATRICK ST                                                                                SYRACUSE           NY 13204‐1305

ALZINA STRATTON                     4577 MURPHY LAKE RD                                                                                MILLINGTON        MI    48746‐9629
ALZIRGHANI, MOUSA                   88 REEDING RIDGE DR W                                                                              JACKSONVILLE      FL    32225‐5956
ALZORA STOKES                       4083 GRANDVIEW DR                                                                                  FLUSHING          MI    48433‐2365
AM & PM COURT REPORTING             1203 W HURON ST                                                                                    ANN ARBOR         MI    48103‐4221
AM BROADBAND LLC                    34C SANRICO DR                                                                                     MANCHESTER        CT    06042‐2207
AM CAN TRANSPORT SERVICE INC        PO BOX 770                                                                                         ANDERSON          SC    29622‐0770
AM GENERAL                          420 S. BYRKIT ST                                                                                   MISHAWAKA         IL    46544
AM GENERAL                          418 S BYRKIT ST/ATT: DEWAYNE WILDA                                                                 MISHAWAKA         IN    46544
AM GENERAL                          420 S BYRKIT ST                                                                                    MISHAWAKA         IN    46544‐3000
AM GENERAL                          105 N NILES AVE                                                                                    SOUTH BEND        IN    46617‐2705
AM GENERAL CORP                     JOE HORVATH                          408 S BYRKIT ST                                               MASON             OH    45040
AM GENERAL CORP                     13200 MCKINLEY HWY                   PO BOX 650                                                    MISHAWAKA         IN    46545‐7530
AM GENERAL CORP                     12900 MCKINLEY HWY                                                                                 MISHAWAKA         IN    46545‐7518
AM GENERAL CORP                     13200 MCKINLEY HWY                                                                                 MISHAWAKA         IN    46545‐7530
AM GENERAL CORPORATION              105 N NILES AVE                                                                                    SOUTH BEND        IN    46617‐2705
AM GENERAL CORPORATION              105 N NILES AVE                      PAUL J. CAFIERO                                               SOUTH BEND        IN    46617‐2705
AM GENERAL CORPORATION              DENNIS A. SADLOWSKI                  30 ROCKEFELLER PLAZA                                          NEW YORK          NY    10112
AM GENERAL H2                       12900 MCKINLEY HWY                                                                                 MISHAWAKA         IN    46545‐7518
AM GENERAL HUMMER DEALERS           NO ADVERSE PARTY
AM GENERAL LLC                      408 S BYRKIT ST DEPT 692             UPTD 6/12/07 GJ                                               MISHAWAKA          IN   46544
AM GENERAL LLC                      105 N NILES AVE                                                                                    SOUTH BEND         IN   46617‐2793
AM GENERAL LLC                      AM GENERAL LLC                       105 NORTH NILES AVENUE                                        SOUTH BEND         IN   46617
AM GENERAL LLC                      ATTN: LAW DEPT                       105 N NILES AVE                                               SOUTH BEND         IN   46617‐2705
AM GENERAL LLC                      ATTN: GENERAL COUNSEL                105 N NILES AVE                                               SOUTH BEND         IN   46617‐2705
AM GENERAL LLC                      13200 MCKINLEY HWY                                                                                 MISHAWAKA          IN   46545‐7530
AM GENERAL LLC
AM GENERAL LLLC                     ATTN: GENERAL COUNSEL                105 N NILES AVE                                               SOUTH BEND        IN    46617‐2705
AM GRAPHICS                         20 S MARYLAND AVE                                                                                  YOUNGSTOWN        OH    44509‐2807
AM PAC TIRE DIST INC                ATTN: JOHN COUSINO                   6800 E 39TH ST                                                KANSAS CITY       MO    64129‐1868
AM PRESS LLC                        4309 NORMANDY CT                                                                                   ROYAL OAK         MI    48073‐2266
AM TRAN                             2822 ARROWWOOD CT                                                                                  STERLING HTS      MI    48314‐1828
AM TRANSPORT                        2609 JAMES DR                                                                                      DYER              IN    46311‐2270
AM TRANSPORTATION INC               4139 GEORGE PLACE                                                                                  SCHILLER PARK     IL    60176
AM‐B‐CARE                                                                2153 E COLUMBUS AVE                                                             MA    01104
AM‐JET ENTERPRISES                  ATTN: RICK DAVIS                     142 WAYNE ST                                                  PONTIAC           MI    48342‐2074
AM‐MEX PRODUCTS INC                 3801 W MILITARY HWY                                                                                MCALLEN           TX    78503‐8810
AM‐PM AUTOMOTIVE REPAIR             3696 SCHEUNEMAN RD                                                                                 WHITE BEAR LAKE   MN    55110
AM\PM EXPRESS INC                   10738 S 600 W                                                                                      EDINBURGH         IN    46124‐9647
AMA AMERICAN MANAGEMENT             P O BOX 319                                                                                        SARANAC LAKE      NY    12983
ASSOCIATION
AMA MANAGEMENT ASSOCIATION          P O BOX 169                                                                                        SARANAC LAKE      NY    12983
AMA PRO RACING                      13515 YARMOUTH DR                                                                                  PICKERINGTON      OH    43147‐8214
AMA RIDDLE                          7669 WEST THIRD ST                                                                                 DAYTON            OH    45417
AMA RIDDLE                          7669 W 3RD ST                                                                                      DAYTON            OH    45427‐1440
AMA TRANSPORTATION                  ATTN: AHMED ABUBARS                  235 W MONTCALM ST                                             PONTIAC           MI    48342‐1146
AMA, THOMAS A                       2035 LOVERS LN                                                                                     SHREVEPORT        LA    71105‐3813
AMA, THOMAS A                       12320 E HOUGHTON                                                                                   HOUGHTON LAKE     MI    48629
AMAANIKA WILSON                     16990 CRESCENT DR                                                                                  SOUTHFIELD        MI    48076‐2015
AMABELIA WILSON                     6024 S LAGOON DR                                                                                   PANAMA CITY       FL    32408‐6401
                                                                                                                                       BEACH
AMABER L COLLETT                    1123 TRALEE TR.                                                                                    BEAVERCREEK       OH    45431
AMABILE CARMEN                      AMABILE, CARMEN                      14111 MIDDLEBELT RD                                           LIVONIA           MI    48154
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Name                            Address1                        Address2                        Address3             Address4                 City            State   Zip
AMABILE PATRICK/LINDA AMABILE   ICO THE LANIER LAW FIRM P C     6810 FM 1960 WEST                                                             HOUSTON          TX     77069
AMABILE ROBERT                  228 MERRICK RD                                                                                                LYNBROOK         NY     11563‐2622
AMABILE, ANTHONY                DEARIE & ASSOCS JOHN C          3265 JOHNSON AVE                                                              RIVERDALE        NY     10463
AMABILE, CARMEN                 14111 MIDDLEBELT RD                                                                                           LIVONIA          MI     48154‐4539
AMABILE, CARMEN
AMABILE, MARY                   50 GORGINIO DR                                                                                                TOMS RIVER       NJ     08757
AMABLE, RICARDO J               2005 SE 2ND ST                                                                                                CAPE CORAL       FL     33990
AMABO, CHARLES C                630 N CLEMENS AVE                                                                                             LANSING          MI     48912‐3108
AMACHER, ARTHUR O               1325 SYLVESTER ST                                                                                             JANESVILLE       WI     53546‐6041
AMACHER, LLOYD P                1201 NIBLICK DRIVE                                                                                            ROCKY MOUNT      NC     27804‐9660
AMACHER, RICHARD L              504 CAMPUS RD                                                                                                 ROCHESTER HLS    MI     48309‐2160
AMACHER, WILLIAM J              2967 RAYMOND RD                                                                                               SANBORN          NY     14132‐9270
AMACOR ‐ ADVANCED MAGNESIUM     1820 EAST 32ND STREET                                                                                         ANDERSON         IN     46013
ALLOYS CORPORATION
AMACOR ‐ ADVANCED MAGNESIUM     1820 E 32ND ST                                                                                                ANDERSON         IN     46013‐2144
ALLOYS CORPORATION
AMAD, AMAR I                    PO BOX 9022                     C/O GM DO BRAZIL                                                              WARREN           MI     48090‐9022
AMAD, AMAR IRFAN                R ITAPAIUNA,1800                APTO 203                                             SAO PAULO SP 05707‐001
                                                                                                                     BRAZIL
AMADA APARICIO                  1073 LOUISE ST                                                                                                YPSILANTI        MI     48197‐1605
AMADA FERNANDEZ                 1400 ROBERTA DR SW APT 3216                                                                                   MARIETTA         GA     30008‐3403
AMADA MARTINEZ                  503 21ST AVENUE SOUTH                                                                                         NAMPA            ID     83651
AMADA MARTINEZ                  ATTN MICHAEL M GUERRA           GUERRA MASK LLP                 PO BOX 5371                                   MCALLEN          TX     78502
AMADE TADAYYON ‐ GILANI         SCHOTTENFELDGASSE 77/28                                                              1070 VIENNA AUSTRIA
AMADEI, GERALD T                2245 HENN HYDE RD NE                                                                                          WARREN          OH      44484‐1243
AMADEO CASTILLO                 27 LEONORE ST                                                                                                 MOUNT CLEMENS   MI      48043‐1401
AMADEO HERNANDEZ BUENO          AVDA.MERIDIANA 27               3RD FLOOR                       08018 BARCELONA
AMADEO ISART SR                 503 GLENMEADOW DR                                                                                             BALLWIN         MO      63011
AMADEO RAMOS                    48 CALLE VERDE LUZ                                                                                            ISABELA         PR      00662‐4127
AMADEO ZAPATA                   707 EMILY AVE                                                                                                 LANSING         MI      48910‐5601
AMADEU GONSALVES‐JR             1774 RHINE PL                   BETHLEHEM TWP                                                                 EASTON          PA      18045‐5423
AMADEU TAVEIRA                  1020 RICCO DR                                                                                                 SPARKS          NV      89434‐6604
AMADEUS LLC                     DBA FLAGS INTERNATIONAL         10845 MCKINLEY HWY                                                            OSCEOLA         IN      46561‐9133
AMADI JONES                     10036 INKSTER RD                                                                                              REDFORD         MI      48239‐2304
AMADI LUNARDI                   5171 MELODY LN                                                                                                WILLOUGHBY      OH      44094‐4313
AMADIO RICCARDO                 C/O LA SCALA                    STUDIO LEGALE E TRIBUTARIO      CORSO MAGENTA N 42   20123 MILANO ITALY
AMADIO, BRUCE J                 420 DEGEORGE CIR APT 5                                                                                        ROCHESTER       NY      14626‐4841
AMADIO, FERNANDO                34 COTILLION CT                                                                                               ROCHESTER       NY      14606‐3651
AMADIO, PETER J                 89 ATWOOD DR                                                                                                  ROCHESTER       NY      14606‐4564
AMADO BENAVIDEZ                 4310 BRITTON RD                                                                                               MANSFIELD       TX      76063‐8721
AMADO CORTEZ                    7723 NW ROANRIDGE RD APT G                                                                                    KANSAS CITY     MO      64151‐1470
AMADO GUERRERO                  3500 N 38TH ST                                                                                                MCALLEN         TX      78501‐3313
AMADO PENA                      BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                                                    BOSTON HTS      OH      44236
AMADO RIVERA                    1 S CRANFORD RD                                                                                               BARDONIA        NY      10954‐2023
AMADO RODRIGUEZ                 1711 HERITAGE CT                                                                                              KELLER          TX      76248‐7314
AMADO SYLVIA                    5925 W ROSE ROCK RD                                                                                           TUCSON          AZ      85745‐9158
AMADO, ELSA Y                   WOODBRIDGE                                                                                                    COCONUT CREEK   FL      33073
AMADO, JAMES P                  14333 TYLER ST UNIT 42                                                                                        SYLMAR          CA      91342‐1472
AMADOR ALFRED                   429 CAMERON AVE                                                                                               PONTIAC         MI      48342‐1809
AMADOR AMADOR                   2907 ALTEZ ST NE                                                                                              ALBUQUERQUE     NM      87112‐1207
AMADOR ARTHUR (490861)          BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD , BEVAN                                                 NORTHFIELD      OH      44067
                                                                PROFESSIONAL BLDG
AMADOR BRENDA                   AMADOR, BRENDA                  4510 BULL CREEK RD                                                            AUSTIN           TX     78731‐5502
AMADOR BRENDA                   AMADOR, ROBERT                  4510 BULL CREEK RD                                                            AUSTIN           TX     78731‐5502
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Name                          Address1                         Address2                        Address3   Address4                   City             State Zip
AMADOR COUNTY TAX COLLECTOR   810 COURT ST                                                                                           JACKSON           CA 95642‐2132
AMADOR DOMINGO (442946)       BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                                         NORTHFIELD        OH 44067
                                                               PROFESSIONAL BLDG
AMADOR FERNANDO (442947)      BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                                         NORTHFIELD       OH    44067
                                                               PROFESSIONAL BLDG
AMADOR FRAGOSO                3829 CLEARBROOKE WAY                                                                                   DULUTH           GA    30097‐7324
AMADOR GILBERT (492931)       BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                                         NORTHFIELD       OH    44067
                                                               PROFESSIONAL BLDG
AMADOR HERNANDEZ              330 LAS COLINAS BLVD E # 226                                                                           IRVING           TX    75039‐5505
AMADOR JR, ABEL               1160 S BROADWAY ST                                                                                     HUNTINGTON       IN    46750‐4055
AMADOR JR, ALBERT             16369 NORMAN RD                                                                                        LYNN             MI    48097‐1907
AMADOR JR, NICK               419 W MAIN ST                                                                                          OTTAWA           OH    45875‐1727
AMADOR JR, TRANCITO G         9350 S 84TH CT                                                                                         HICKORY HILLS     IL   60457‐1814
AMADOR VALERO                 4506 STARR AVE                                                                                         LANSING          MI    48910‐5017
AMADOR, ALFREDO J             429 CAMERON AVE                                                                                        PONTIAC          MI    48342‐1809
AMADOR, AMADOR A              2907 ALTEZ ST NE                                                                                       ALBUQUERQUE      NM    87112‐1207
AMADOR, ANGELO J              109 S RIVER DR                                                                                         CLARKSTON        MI    48346‐4149
AMADOR, CARMELO               PO BOX 7578                                                                                            NORTH BERGEN     NJ    07047‐1172
AMADOR, CHRISTINE B           31101 VIA NORTE                                                                                        TEMECULA         CA    92591
AMADOR, CONSUELO M            927 E BEECHER                                                                                          ADRIAN           MI    49221‐4015
AMADOR, CONSUELO M            927 E BEECHER ST                                                                                       ADRIAN           MI    49221‐4015
AMADOR, CORA M                12937 FALCON PL                                                                                        CHINO            CA    91710‐3807
AMADOR, DWIGHT B              4030 TEXTILE RD                                                                                        YPSILANTI        MI    48197‐9017
AMADOR, ERNEST                PO BOX 431466                                                                                          PONTIAC          MI    48343‐1466
AMADOR, EUSEBIA               1580 GROOMBRIDGE LN                                                                                    HOLT             MI    48842
AMADOR, FERNANDO              BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD, BEVAN                                          NORTHFIELD       OH    44067
                                                               PROFESSIONAL BLDG
AMADOR, FRANCOISE M           1033 KARNES AVE                                                                                        DEFIANCE         OH    43512‐3082
AMADOR, GREGORY G             14687 IMLAY CITY RD                                                                                    MUSSEY           MI    48014‐2511
AMADOR, GREGORY GUY           14687 IMLAY CITY RD                                                                                    MUSSEY           MI    48014‐2511
AMADOR, HAROLD O              516 E 40TH ST                                                                                          HIALEAH          FL    33013‐2335
AMADOR, JUAN M                2705 MARVIN PL                                                                                         ARLINGTON        TX    76010‐2413
AMADOR, NELSON K              837 IRVINGTON AVE                                                                                      LANSING          MI    48910‐4783
AMADOR, NICK T                3113 ROBINWOOD AVE                                                                                     SAGINAW          MI    48601‐4426
AMADOR, RAY                   355 DUNCAN ST                                                                                          ALVIN            TX    77511‐3416
AMADOR, VICTOR M              24254 FAWNSKIN DR                                                                                      CORONA           CA    92883‐4184
AMADOR, VICTOR M              29 CAMARIN ST                                                                                          FOOTHILL RANCH   CA    92610‐1940
AMADORE NUGENT                9390 DODGE RD APT 2              PO BOX 44                                                             OTISVILLE        MI    48463‐8417
AMADU LEWALLY                 THE MADEKSHO LAW FIRM            8866 GULF FREEWAY STE 440                                             HOUSTON          TX    77017
AMAG ROLLING GMBH             PO BOX 32                                                                   RANSHOFEN A 5282 AUSTRIA

AMAGERBANKEN AMAGERBANKEN     AMAGERBROGADE 25                                                            DK‐2300 COPENHAGEN DK
                                                                                                          DENMARK
AMAK BRAKE LLC                1765 CLEVELAND AVE                                                                                     GLASGOW          KY    42141‐1057
AMAK BRAKE LLC                STACY MARSH X171                 1765 CLEVLAND AVENUE                                                  SMITHFIELD       NC    27577
AMAK BRAKE, LLC               STACY MARSH X171                 1765 CLEVLAND AVENUE                                                  SMITHFIELD       NC    27577
AMAKER HAROLD TOMMY           62‐A WALNUT PARK                                                                                       NEWTON           MA    02458
AMAKER, FREDERICK V           113 N HAMILTON DR                                                                                      BEVERLY HILLS    CA    90211
AMAL E. MOORAD, MD            PO BOX 967834                                                                                          OKLAHOMA CITY    OK    73196‐0001
AMAL SMITH                    5692 ROSEWORTH COURT SOUTHEAST                                                                         GRAND RAPIDS     MI    49548‐5809
AMALEE SHELTON                891 BIG CREEK RD                                                                                       MARSHALL         NC    28753‐7638
AMALFITANO, PAUL J            4438 AUGUSTA DR                                                                                        HARRISBURG       PA    17112‐1500
AMALGA COMPOSITES, INC        10600 W MITCHELL ST                                                                                    MILWAUKEE        WI    53214‐4027
AMALGAM CREDIT UNION          1606 KING ST                                                                                           SAGINAW          MI    48602‐1211
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AMALGAMATED CREDIT UNION      1505 KING ST                                                                                    SAGINAW            MI     48602‐1295
AMALGAMATED CREDIT UNION      1606 KING ST                                                                                    SAGINAW            MI     48602‐1296
AMALGAMATED LOCAL 455 UAW     ATTN: VICTOR GOMEZ              110 FLORENCE ST                                                 SAGINAW            MI     48602‐1202
AMALGAMATED MAC               145 S FAIRFAX AVE STE 310                                                                       LOS ANGELES        CA     90036‐2176
AMALGAMATED MAC               C/O SUTTON BARTH & VENARI       145 S FAIRFAX AVENUE                                            LOS ANGELES        CA     90036
AMALGAMATED UAW LOCAL 653     670 E WALTON BLVD                                                                               PONTIAC            MI     48340‐1359
AMALIA GASCA                  7640 W 62ND PL                                                                                  ARGO                IL    60501‐1704
AMALIA GOOD                   3445 JUNCTION ST                                                                                DETROIT            MI     48210‐3005
AMALIA MALDONADO              2407 KINGSGATE DR                                                                               MURFREESBORO       TN     37130‐1428
AMALIA REISIG                 2444 DIAMOND COURT                                                                              WIXOM              MI     48393‐4215
AMALIA SALAS                  11312 CECILIA ST                                                                                NORWALK            CA     90650‐7658
AMALIA STRECHA                3067 BAY VIEW DR                                                                                FENTON             MI     48430‐3302
AMALIA THOMPSON               1045 HARRISON ST NE                                                                             WARREN             OH     44483‐5122
AMALIA WRENCLIFFE             95 HIGH PARK AVE ‐ APT 1003                                             TORONTO, ON M6P 2R8
                                                                                                      CANADA
AMALIO S SANTIAGO             178 BARBERRY TERR                                                                               ROCHESTER          NY     14621‐4104
AMAMA, CHARLES B              31870 SIKON ST                                                                                  CHESTERFIELD       MI     48047‐1802
AMAMCO TOOL                   PO BOX 200                                                                                      GREER              SC     29652‐0200
AMAMCO TOOL & SUPPLY CO INC   PO BOX 200                      130 LEE JOYAL RD                                                GREER              SC     29652‐0200
AMAN ASHUTOSH                 142 E 33RD ST APT 2G                                                                            NEW YORK           NY     10016
AMAN DEEP DHAKAL
AMAN JR, MICHAEL F            2181 EASTGATE RD                                                                                TOLEDO            OH      43614‐3043
AMAN, ALICE J                 1505 HULL ST                                                                                    SPARTA            MI      49345‐8552
AMAN, CONNIE F                2181 EASTGATE RD                                                                                TOLEDO            OH      43614‐3043
AMAN, DENNIS E                PO BOX 8411                                                                                     CANTON            OH      44711‐8411
AMAN, DENNIS ESTATE OF
AMAN, MARY D                  915 E HURON ST                                                                                  ANN ARBOR         MI      48104‐1627
AMAN, MAUREEN                 11851 HADLEY CT                                                                                 SHELBY TOWNSHIP   MI      48315‐5715
AMAN, NANCY A                 DOBLIE & ASSOCIATES             1015 SW YAMHILL ST                                              PORTLAND          OR      97205‐2534
AMAN, TIMOTHY J               24605 TEPPERT AVE                                                                               EASTPOINTE        MI      48021‐4219
AMAN, WILLIAM D               16916 W AUSTIN RD                                                                               MANCHESTER        MI      48158‐8526
AMANADA HAMILTON              409 KENNEDY LANE                                                                                MANILA            AR      72442‐8192
AMANADA MCNAIR                4009 MONROE ROAD                                                                                SEMINARY          MS      39479‐4012
AMANCIO FURTADO               510 WOODMAN ST                                                                                  FALL RIVER        MA      02724‐1816
AMAND, CONSTANCE A            609 BONNYCASTLE AVE                                                                             ENGLEWOOD         OH      45322‐1806
AMANDA A COLEMAN              9635 LAKESIDE DR                                                                                YPSILANTI         MI      48197‐3031
AMANDA A THOMAS               1224 N JACKSON ST                                                                               BAY CITY          MI      48708‐5922
AMANDA A THOMAS               1124 N VAN BUREN ST                                                                             BAY CITY          MI      48708‐6077
AMANDA ADAMETZ                3245 GRIFFITH AVE                                                                               BERKLEY           MI      48072‐1307
AMANDA ALLEN                  15768 WHITE OAK                                                                                 FRASER            MI      48026‐5098
AMANDA ALTHERR
AMANDA AMORIN                 1803 WHITTIER ST                                                                                RAHWAY            NJ      07065‐4239
AMANDA ARBUCKLE               #A                              2618 CLOVER LANE                                                BEDFORD           IN      47421‐5240
AMANDA BAKATA                 21402 NORTHWOOD AVE                                                                             FAIRVIEW PARK     OH      44126‐1122
AMANDA BALDER                 3930 AUTOMOBILE RD                                                                              MUSKEGON          MI      49445‐9353
AMANDA BEATTY                 3273 FRANCES LN                                                                                 KOKOMO            IN      46902‐9706
AMANDA BEN                    6721 CUIVRE FORD RD                                                                             TROY              MO      63379‐4979
AMANDA BENT BOLT CO           1120 CIC DR                                                                                     LOGAN             OH      43138
AMANDA BENT BOLT CO           1120 C I C DR                                                                                   LOGAN             OH      43138‐9153
AMANDA BENT BOLT COMPANY      TRUDY BEAL                      PO BOX 1027                                                     SPARTA            WI
AMANDA BOCHNIARZ              3239 CHECKERED TAVERN RD                                                                        GASPORT           NY      14067‐9426
AMANDA BODINE                 60 WEST 57TH STREET             APT. 6J                                                         NEW YORK          NY      10019
AMANDA BRIGHT                 4095 DORAN STREET                                                                               FLINT             MI      48504‐6852
AMANDA BUREL                  1446 STEINER AVE                                                                                DAYTON            OH      45408‐1814
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Name                    Address1                          Address2                        Address3   Address4               City               State   Zip
AMANDA BUTLER           1646 BAY ST                                                                                         BATON ROUGE         LA     70802
AMANDA CAMERON          440 COUNTY ROAD 188                                                                                 MOULTON             AL     35650‐4576
AMANDA CHAMBERS         19663 EASTLAND VILLAGE DR APT 3                                                                     HARPER WOODS        MI     48225‐1568
AMANDA CHANDLER         661 STIRLING ST                                                                                     PONTIAC             MI     48340‐3162
AMANDA CONNELLAN        7631 MAPLE MEADOW ST                                                                                LAS VEGAS           NV     89131
AMANDA COWPER           68 GROSSE PINES DR                                                                                  ROCHESTER HILLS     MI     48309‐1828
AMANDA CRAMER           206 S H ST                                                                                          TILTON               IL    61833‐7825
AMANDA D BANGERT        303 E PEASE AVE                                                                                     DAYTON              OH     45449
AMANDA D TILTON         303 E PEASE                                                                                         WEST CARROLLTON     OH     45449

AMANDA DAVIS            6655 JACKSON RD UNIT 713          C/O TIMOTHY E DAVIS                                               ANN ARBOR          MI      48103‐9680
AMANDA DEMITRISH        110 S HURD RD                                                                                       OXFORD             MI      48371‐2824
AMANDA DESANTIS         57 WINONA AVE                                                                                       CANFIELD           OH      44406‐1332
AMANDA DICKIE           1358 WOODNOLL DR                                                                                    FLINT              MI      48507‐4718
AMANDA DIVER            2622 LOVINGTON LN                                                                                   WATERFORD          MI      48329‐3376
AMANDA DIXON            PO BOX 121                                                                                          CALVERT            AL      36513‐0121
AMANDA DUNCAN           APT G                             1704 SOUTH CROSS LAKES CIRCLE                                     ANDERSON           IN      46012‐4934
AMANDA E RENDER         1241 CLEMENT AVE                                                                                    DAYTON             OH      45408‐2518
AMANDA EAGER            929 HARMONY WAY                                                                                     COLUMBIA           TN      38401‐2476
AMANDA EASON            3810 LAWNDALE AVE                                                                                   FLINT              MI      48504‐3547
AMANDA F CARLTON        216 N CHURCH ST                                                                                     NEW CARLISLE       OH      45344‐1847
AMANDA FINCH            4041 GRANGE HALL RD LOT 110                                                                         HOLLY              MI      48442‐1924
AMANDA FLEMING          7822 IVYDALE DR APT B                                                                               INDIANAPOLIS       IN      46250‐2164
AMANDA FOX              3977 COSENZA ST                                                              WINDSOR ON N9G0A5
                                                                                                     CANADA
AMANDA FREEMAN          248 CAL AVE                                                                                         BOWLING GREEN      KY      42104‐8723
AMANDA FRESHOUR         40755 JUDD RD                                                                                       BELLEVILLE         MI      48111‐9193
AMANDA GRADOWSKI        9097 N LINDEN RD                                                                                    CLIO               MI      48420‐8582
AMANDA GRAHAM           58 S MAIN ST                      APT 1                                                             MIAMISBURG         OH      45342‐0859
AMANDA GRIFFIN          29847 SPRING HILL DR                                                                                SOUTHFIELD         MI      48076‐5736
AMANDA GROUT            3404 SOLANO DR                                                                                      ARLINGTON          TX      76017‐1525
AMANDA GRUNDUSKI        710 BAYSHORE DR                                                                                     MANSFIELD          TX      76063‐6791
AMANDA GUND             732 ATWOOD ST                                                                                       FLINT              MI      48503‐3610
AMANDA HALABOU          33440 OLD TIMBER RD                                                                                 FARMINGTON HILLS   MI      48331‐1525

AMANDA HARRIS           6254 SHAPPIE RD                                                                                     CLARKSTON          MI      48348‐2042
AMANDA HAYES            5408 FAIRHAVEN ST                                                                                   FLINT              MI      48505‐1025
AMANDA HODGES           1915 CRABTREE LN                                                                                    JENISON            MI      49428‐9472
AMANDA HOSKINS          1165 OBANNONVILLE RD                                                                                LOVELAND           OH      45140‐9719
AMANDA HUDDLESTON       6227 LEBEAU STREET                                                                                  MOUNT MORRIS       MI      48458‐2727
AMANDA IGEL             2521 KATSURA LN                                                                                     HOWELL             MI      48855‐6480
AMANDA J HARRIS         411 FORRESTER DR                                                                                    NASHVILLE          TN      37217‐2605
AMANDA J HODGES         1915 CRABTREE LN                                                                                    JENISON            MI      49428‐9472
AMANDA J MCBAIN         2612 PRELUDE PATH                                                                                   DAYTON             OH      45449‐3356
AMANDA J OSBORNE        PO BOX 321124                                                                                       FLINT              MI      48532‐0020
AMANDA J ROBINSON       410 CLARK STREET                                                                                    GADSDEN            AL      35904
AMANDA J TOWER          20 MAPLE STREET LOWER                                                                               TONAWANDA          NY      14150
AMANDA JAMES            5302 FLEMING RD                                                                                     FLINT              MI      48504‐7080
AMANDA JOBIN            6308 RIO MESA ST                                                                                    FLINT              MI      48506‐1142
AMANDA K MINIARD        3 GROVE AVE                                                                                         DAYTON             OH      45404
AMANDA K SAVAGE‐PLANK   9835 JULIE DR                                                                                       YPSILANTI          MI      48197‐7092
AMANDA K STANCIL        134 HAVILAH HILLS ST                                                                                ODENVILLE          AL      35120
AMANDA KABAT            4400 ROSEHILL LN                                                                                    SAGINAW            MI      48603‐1010
AMANDA KAREVICIUS       9645 BRAMBLEWOOD WAY                                                                                BETHANY            LA      71007‐9789
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Name                 Address1                       Address2                   Address3                   Address4               City               State   Zip
AMANDA KEENER        536 S MINERVA AVE                                                                                           ROYAL OAK           MI     48067‐3985
AMANDA KENTROS       447 S WINDING DR                                                                                            WATERFORD           MI     48328‐4157
AMANDA KING          2512 LINCOLN AVENUE                                                                                         ST ALBANS           WV     25177
AMANDA KISER         23919 LAWRENCE AVE                                                                                          DEARBORN            MI     48128‐1269
AMANDA KURZMAN       1411 KIRKWAY RD                                                                                             BLOOMFIELD HILLS    MI     48302‐1318
AMANDA L ANSCHUTZ    1869 EILEEN ST                                                                                              YPSILANTI           MI     48198‐6239
AMANDA L BARKER      2171 W BATAAN DR                                                                                            KETTERING           OH     45420
AMANDA L CHANDLER    661 STIRLING ST                                                                                             PONTIAC             MI     48340‐3162
AMANDA L CISSE       9601 BAYVIEW DR APT 201                                                                                     YPSILANTI           MI     48197‐7033
AMANDA L FLEISCHER   991 E RIDGE DR A                                                                                            LEBANON             OH     45036
AMANDA L GROUT       3404 SOLANO DR                                                                                              ARLINGTON           TX     76017‐1525
AMANDA L HUNTER      207 MOHAWK DR                                                                                               MATTYDALE           NY     13211‐1833
AMANDA L MAROBELLA   118 PLYMOUTH AVE S                                                                                          SYRACUSE            NY     13211‐1836
AMANDA L PARTYKA     10658 N 300 W‐90                                                                                            MARKLE              IN     46770‐9745
AMANDA L PAULEY      8915 MEEKER RD                                                                                              DAYTON              OH     45414‐1354
AMANDA L SCANLON     6449 CLOVIS AVE                                                                                             FLUSHING            MI     48433‐9043
AMANDA LADY          309 BLUE LEVEL PROVIDENCE RD                                                                                ROCKFIELD           KY     42274‐9346
AMANDA LANDRUM       32244 EASTWAY ST                                                                                            ROSEVILLE           MI     48066‐1062
AMANDA LAWSON        8195 BROOKSVILLE COVE                                                                                       SOUTHAVEN           MS     38671
AMANDA LEATHERS      7140 WILLIAM ST                                                                                             TAYLOR              MI     48180‐2526
AMANDA LEE           16846 COLLINSON AVE                                                                                         EASTPOINTE          MI     48021‐4519
AMANDA LEE BEHNY     4344 SOUTH ZANG STREET                                                                                      MORRISON            CO     80465‐1244
AMANDA LOVELESS      4626 BLUEHAVER DR                                                                                           DAYTON              OH     45406
AMANDA M DRUMM       145 W RUTGERS AVE                                                                                           PONTIAC             MI     48340‐2759
AMANDA M EASON       3810 LAWNDALE AVE                                                                                           FLINT               MI     48504‐3547
AMANDA M GARCIA      ATTN: E TODD TRACY             THE TRACY FIRM             5473 BLAIR RD, SUITE 200                          DALLAS              TX     75231
AMANDA MACDONALD     9698 BISMARK HWY                                                                                            VERMONTVILLE        MI     49096‐9755
AMANDA MAHAN         10476 JEWELL RD                                                                                             GAINES              MI     48436‐9721
AMANDA MAIER         43 FRANKLIN ST                                                                                              BRENTWOOD           NY     11717‐1418
AMANDA MARRERO       9215 WOODMAN AVE                                                                                            ARLETA              CA     91331‐6408
AMANDA MAYES         5505 DONNA DR                                                                                               ANDERSON            IN     46017‐9515
AMANDA MAYFIELD      9851 YORKSHIRE RD                                                                                           DETROIT             MI     48224‐1930
AMANDA MCHENRY       1015 E ARLINGTON AVE                                                                                        FORT WORTH          TX     76104‐6039
AMANDA MEDLER        627 N MAIN ST                                                                                               NEW CASTLE          IN     47362‐4459
AMANDA MEIER         315 RALEIGH CT                                                                                              COLUMBIA CITY       IN     46725‐7415
AMANDA MENDEZ        4716 SPRINGWOOD DR                                                                                          BROOKLYN            OH     44144‐3141
AMANDA MERCER        20055 FAWN RIVER RD                                                                                         WHITE PIGEON        MI     49099‐9762
AMANDA MIHALYAK      9 BARLOW STREET                                                                                             BRISTOL             CT     06010
AMANDA MILES         18028 COUNTRY CLUB CIR                                                                                      RIVERVIEW           MI     48193‐8164
AMANDA MILES         10161 N LOMA CIR                                                                                            GROSSE ILE          MI     48138‐1505
AMANDA MOORE         402 FOGG RD                                                                                                 LESLIE              MI     49251‐9366
AMANDA MORRIS        5000 SE FEDERAL HWY            LOT 1103                                                                     HOBE SOUND          FL     33475‐1886
AMANDA MOYER         8379 SOUTHWESTERN BLVD         #8379                                                                        DALLAS              TX     75206‐1503
AMANDA N SNYDER      1330 W ALEXIS RD LOT 107                                                                                    TOLEDO              OH     43612‐4264
AMANDA OTIS          UNIT 340                       401 WEST SHORELINE DRIVE                                                     SANDUSKY            OH     44870‐0912
AMANDA P MAYFIELD    9851 YORKSHIRE RD                                                                                           DETROIT             MI     48224
AMANDA PARKER        3094 COUNTY ROAD 121                                                                                        SENECA FALLS        NY     13148
AMANDA PARTYKA       10658 N 300 W‐90                                                                                            MARKLE              IN     46770‐9745
AMANDA PENNY         6118 WAKE FOREST RD                                                                                         DURHAM              NC     27703
AMANDA PETERS        32550 ROCKRIDGE LN                                                                                          FARMINGTON HILLS    MI     48334‐1850

AMANDA R DECKARD     52 ROWLAND DR                                                                                               FAIRBORN           OH      45324
AMANDA R KELLY       3099 GRAY CIR                                                                                               GADSDEN            AL      35903
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Name                               Address1                           Address2                   Address3              Address4               City               State Zip
AMANDA R WARREN PERSONAL           AMANDA R WARREN                    C/O BRAYTON PURCELL        222 RUSH LANDING RD                          NOVATO              CA 94948‐6169
REPRESENTATIVE FOR JACK H WARREN
AMANDA RAATZ                       4693 STATE ST                                                                                              GAGETOWN           MI   48735‐9727
AMANDA RABER                       1524 W EASTON RD                                                                                           BURBANK            OH   44214‐9752
AMANDA RAWLS                       24241 SUSAN DR                                                                                             FARMINGTON HILLS   MI   48336‐2812

AMANDA REIMUNDEZ                   127 N WASHINGTON ST                                                                                        TARRYTOWN          NY   10591
AMANDA RENDER                      1241 CLEMENT AVE                                                                                           DAYTON             OH   45408‐2518
AMANDA REURINK                     1931 HAVANA                                                                                                WYOMING            MI   49509
AMANDA S ELLIS                     2247 LIMESTONE WAY                                                                                         MIAMISBURG         OH   45342
AMANDA S MARTINO                   115 W MAIN STREET                                                                                          TIPP CITY          OH   45371‐1814
AMANDA S WINGER                    PO BOX 207                                                                                                 DELAWARE           OH   43015
AMANDA SAEWERT                     2272 W HARRISON ST                                                                                         CHANDLER           AZ   85224‐6956
AMANDA SCANLON                     6449 CLOVIS AVE                                                                                            FLUSHING           MI   48433‐9043
AMANDA SHALLAL                     4650 DOUGLAS FIR DR                                                                                        TROY               MI   48085‐3586
AMANDA SIMPSON                     424 E 500 S                                                                                                HUNTINGTON         IN   46750‐9220
AMANDA SKURKA                      7510 MASON ST                                                                                              SWARTZ CREEK       MI   48473‐1492
AMANDA SMITH                       540 WOODLAWN AVE                                                                                           YPSILANTI          MI   48198‐6137
AMANDA SNELSON                     235 OLIVE ST                                                                                               SHREVEPORT         LA   71104‐2415
AMANDA TAYLOR                      8021 REEVES RD                                                                                             CAMDEN             OH   45311‐9688
AMANDA THOMAS                      16606 LUNNEY ROAD                                                                                          HEMLOCK            MI   48626‐9632
AMANDA THOMAS                      774 MEDINAH DR                                                                                             ROCHESTER HILLS    MI   48309‐1031
AMANDA THOMAS                      10568 S US HIGHWAY 27                                                                                      DEWITT             MI   48820‐8428
AMANDA TOMPKINS                    6717 HARTFORD ST                                                                                           DETROIT            MI   48210‐1309
AMANDA VAIDEN                      417 BIRDIE DR APRT 9                                                                                       MARION             AR   72364‐1647
AMANDA VEACH                       498 HILLSIDE DR                                                                                            ANDERSON           IN   46011‐2024
AMANDA VELASQUEZ                   2909 MENOMINEE AVE                                                                                         FLINT              MI   48507‐1917
AMANDA VILLARREAL                  509 DEWITT AVE                                                                                             SANDUSKY           OH   44870‐5513
AMANDA W BRIGHT                    4095 DORAN ST                                                                                              FLINT              MI   48504‐6852
AMANDA WAREHAM                     1777 S CLINTON ST APT 12                                                                                   DEFIANCE           OH   43512‐3268
AMANDA WARNER                      5371 DURWOOD DR                                                                                            SWARTZ CREEK       MI   48473‐1107
AMANDA WEILER                      1308 CORNELL ST                                                                                            BAY CITY           MI   48708‐6315
AMANDA WEIR                        10 BROOKFIELD DR                                                                                           OXFORD             MI   48371‐4401
AMANDA WILKERSON                   1019 5TH AVE. N.W.                                                                                         ATTALLA            AL   35954
AMANDA WILLSON                     4243 N GALE RD                                                                                             DAVISON            MI   48423‐8952
AMANDA WOLFRUM                     TANNENRAIN 8                       95131 SCHWARZENBACH/WALD
AMANDA WOLFRUM                     TANNENRAIN 8                                                                        95131
                                                                                                                       SCHWARZENBACH/WALD
                                                                                                                       GERMANY
AMANDA WOODRUFF                    15231 FEIGHNER RD                                                                                          ROANOKE            IN   46783‐8703
AMANDA WORLEY                      4258 LINDA CT                                                                                              WATERFORD          MI   48329‐4119
AMANDIO J PEREEIRA (IRA) A/C       3073 OAKRIDGE F                                                                                            DEERFIELD BEACH    FL   33442
AMANDIO SILVA                      17 GROVER RD                                                                                               ASHLAND            MA   01721‐2512
AMANDO HERRERO                     5401 COLLINS AVE APT 714                                                                                   MIAMI BEACH        FL   33140‐2533
AMANDO RUBIO                       2901 WESTLAKE RD                                                                                           OKLAHOMA CITY      OK   73165‐7339
AMANDRA CURTIS                     5818 HAVERHILL DRIVE                                                                                       LANSING            MI   48911‐4808
AMANI UMI                          2200 PINEWOOD AVE APT C4                                                                                   BALTIMORE          MD   21214‐1080
AMANN JOE                          20 CROW HILL RD                                                                                            FORT THOMAS        KY   41075‐1801
AMANN, CHARLES A                   984 SATTERLEE RD                                                                                           BLOOMFIELD HILLS   MI   48304‐3152
AMANN, CHARLES P                   1065 KENMORE AVE APT 908                                                                                   KENMORE            NY   14217‐2947
AMANN, DANIEL R                    47431 PARKGATE COURT                                                                                       CANTON             MI   48188‐4706
AMANN, DENNIS G                    1677 KYLEMORE DR                                                                                           XENIA              OH   45385‐3925
AMANN, LEONARD A                   1954 TILDEN RD                                                                                             MARISSA            IL   62257‐3510
AMANN, RENATE                      481 MOOREWOOD CIR                                                                                          DAYTON             OH   45415‐2337
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AMANN, RICHARD E             75 SOMER DR                                                                                            MERIDEN             CT     06451‐5054
AMANN, RICHARD W             5085 WING LAKE RD                                                                                      BLOOMFIELD HILLS    MI     48302‐2760
AMANN, VIRGIL G              7659 TWIN OAKS DR                                                                                      MIDDLETOWN          OH     45042‐1058
AMANPAL GREWAL               22622 BECKENHAM CT                                                                                     NOVI                MI     48374‐3525
AMANS, ROBERT L              5082 HILLTOP ESTATES DR                                                                                CLARKSTON           MI     48348‐3495
AMANS, ROSS C                1629 SYLVIA CT                                                                                         ROUND ROCK          TX     78681
AMANT DIANE                  1019 S FAIRHILL ST                                                                                     PHILADELPHIA        PA     19147‐4007
AMANTE INTERNATIONAL         136 CENTRAL AVE # 205                                                                                  CLARK               NJ     07066‐1142
AMANTE, JOHN S               3546 HERON AVE SW                                                                                      WYOMING             MI     49509‐3444
AMANTE, LAWRENCE P           7107 WESTWOOD DR                                                                                       JENISON             MI     49428‐7105
AMANTE, MARC A               1705 PLAINFIELD AVE NE                                                                                 GRAND RAPIDS        MI     49505‐4704
AMANTE, MISTY J              1130 WESTBROOKE DR                                                                                     LAPEER              MI     48446‐1256
AMANTE, MISTY JEAN           1130 WESTBROOKE DR                                                                                     LAPEER              MI     48446‐1256
AMANTE, THOMAS J             6575 JOURNEY'S END                                                                                     CALEDONIA           MI     49316
AMANTEA, JOHN                6416 FRY RD                                                                                            BROOK PARK          OH     44142‐3630
AMANULLAH KHAN               5547 VIKING                                                                                            TROY                MI     48085‐3324
AMANZE ASOGU M               1104 SCHENECTADY RD                                                                                    ARLINGTON           TX     76017‐6584
AMANZE, CHARLES U            27086 BELMONT LN                                                                                       SOUTHFIELD          MI     48076‐3115
AMAR AMAD                    PO BOX 9022                      C/O GM DO BRAZIL                                                      WARREN              MI     48090‐9022
AMAR BHATTI                  31276 SPRINGLAKE BLVD APT 5205                                                                         NOVI                MI     48377‐1127
AMAR RANGARAJAN              1621 TREESIDE DR                                                                                       ROCHESTER HILLS     MI     48307‐3475
AMAR, THOMAS C               5737 MAPLE AVE APT A                                                                                   SAINT LOUIS         MO     63112
AMARA CO LTD, THE            210 WILLMOTT ST UNIT 3           PO BOX 278 STN MAIN WILLMOTT ST              COBOURG ON K9A 4K8
                                                              UNIT 3                                       CANADA
AMARA CO/COBOURG             499 WALTON STREET                                                             COBOURG ON K9A 4X3
                                                                                                           CANADA
AMARA COMPANY 1992 LIMITED   210 WILLMOTT STREET UNIT 3                                                    COBOURG CANADA ON K9A
                                                                                                           4K8 CANADA
AMARA ROBERT                 3166 HOLLY CT                                                                                          HANFORD            CA      93230‐7402
AMARAL, DAVID P              275 BROADWAY                                                                                           TAUNTON            MA      02780‐1508
AMARAL, EDWARD M             31 DIAS AVE                                                                                            WESTPORT           MA      02790‐3203
AMARAL, HAIL                 5108 BROOKSIDE LN                                                                                      WASHINGTON TWP     MI      48094‐4200

AMARAL, HERBERT              3007 SPRING HILL RD                                                                                    RED SPRINGS        NC      28377‐8485
AMARAL, JACK L               72 CARPO ST                                                                                            BRIDGEWATER        MA      02324
AMARAL, LORRAINE H           15777 BOLESTA ROAD               UNIT 28                                                               CLEARWATER         FL      33760
AMARAL, LORRAINE H           15777 BOLESTA RD LOT 28                                                                                CLEARWATER         FL      33760‐3461
AMARAL, ROGER L              20 ROLLINGWOOD DR SPC 78                                                                               JACKSON            CA      95642‐9451
AMARAL, STANLEY G            14146 W MIDDLE RD                                                                                      TRACY              CA      95304‐9473
AMARAL, YUDAN                PO BOX 195                                                                                             EAST BRIDGEWATER   MA      02333

AMARANTH AUTO                RR#7                                                                          ORANGEVILLE ON L9W 2Z3
                                                                                                           CANADA
AMARANTH, PATRICIA A         1387 PAINTCREST DR                                                                                     ROCHESTER          MI      48306‐2472
AMARDEEP MALLIK              2444 DORCHESTER DR N APT 104                                                                           TROY               MI      48084‐3751
AMARE, ARTHUR R              109 CONTI CT                                                                                           FAIRHOPE           AL      36532‐4201
AMARE, BARBARA V             109 CONTI CT                                                                                           FAIRHOPE           AL      36532‐4201
AMAREL, MICHAEL J            PO BOX 764                                                                                             MASSENA            NY      13662‐0764
AMAREL, MICHAEL JOSEPH       PO BOX 764                                                                                             MASSENA            NY      13662‐0764
AMARILDO A DIPAULA           508 HOLLIS ST                                                                                          FRAMINGHAM         MA      01702‐8645
AMARJIT SANDHU               6853 N SILVERY LN                                                                                      DEARBORN HTS       MI      48127‐2140
AMARNATH, BABU R             2252 RADCLIFFE DR                                                                                      TROY               MI      48085‐6720
AMARNATH, RAM S              4700 W 10TH ST                   462‐470‐PF8                                                           INDIANAPOLIS       IN      46222‐3277
AMARO, MARGARET              6102 BELLINGHAM LN                                                                                     FORT WAYNE         IN      46835‐1218
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Name                            Address1                        Address2                        Address3   Address4                 City            State   Zip
AMARO, NICHOLAS S               6306 WINNEBAGO CT                                                                                   FORT WAYNE       IN     46815‐6364
AMARO, NICHOLAS STEVEN          6306 WINNEBAGO CT                                                                                   FORT WAYNE       IN     46815‐6364
AMARO, YSIDRO S                 6306 WINNEBAGO CT                                                                                   FORT WAYNE       IN     46815‐6364
AMARO, YSIDRO SALAS             6306 WINNEBAGO CT                                                                                   FORT WAYNE       IN     46815‐6364
AMARPAL SINGH                   24456 TUFTON ST                                                                                     PLAINFIELD        IL    60585‐5767
AMARY RAGLAND                   1156 PELHAM WOOD RD                                                                                 PARKVILLE        MD     21234‐5939
AMARYALLIS ANKENY               4380 MOZART AVE                                                                                     DAYTON           OH     45424‐5983
AMARYALLIS R ANKENY             4380 MOZART AVE.                                                                                    DAYTON           OH     45424
AMARYLLIS LONG                  141 ASHFORD DRIVE                                                                                   DAYTON           OH     45459‐1701
AMARYLLIS LONG                  141 ASHFORD DR                                                                                      DAYTON           OH     45459‐1701
AMARZ MUFFLERS & AUTO SERVICE   5890 DIXIE RD UNIT 2                                                       MISSISSAUGA ON L4W 1E9
                                                                                                           CANADA
AMASON SR, CHARLES M            1680 WINDSONG PARK DR                                                                               DACULA          GA      30019‐1169
AMASON, THOMAS M                1413 CAROLINE CT                                                                                    COLUMBIA        TN      38401‐7350
AMATANGELO, JANE                31 MERLIN AVE                                                                                       ALISO VIEJO     CA      92656‐1777
AMATANGELO, JOSEPH              31 MERLIN AVE                                                                                       ALISO VIEJO     CA      92656‐1777
AMATO BETH                      AMATO, BETH                     709 MARKET STREET                                                   KNOXVILLE       TN      37902
AMATO JR, ANTHONY               4138 FOX CROSSING DR                                                                                FLORISSANT      MO      63034‐2010
AMATO JR, DOMINIC J             617 LAKEVIEW AVE                                                                                    NEW CASTLE      PA      16101‐5308
AMATO JR, HARRY A               4333 FERNMONT ST                                                                                    KETTERING       OH      45440‐1522
AMATO JR, JOSEPH A              6568 WESTMINSTER DR                                                                                 PARMA           OH      44129‐5321
AMATO JR., JAMES V              818 MEADOWBROOK AVE SE                                                                              WARREN          OH      44484‐4556
AMATO ROBERT (442949)           BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD , BEVAN                                       NORTHFIELD      OH      44067
                                                                PROFESSIONAL BLDG
AMATO VINCENT                   AMATO, IDA LYNN                 1806 HIGHWAY 35 SOUTH                                               OCEAN            NJ     07712
AMATO VINCENT                   AMATO, VINCENT                  1806 HIGHWAY 35 SOUTH                                               OCEAN            NJ     07712
AMATO, ANGELA B                 9 JENNIE CIR                                                                                        ROCHESTER        NY     14606‐5811
AMATO, BERNICE                  411 PEACHTREE PL                                                                                    MASON            MI     48854‐1452
AMATO, BETH                     MCGEHEE STEWART COLE DUPREE &   709 MARKET STREET                                                   KNOXVILLE        TN     37902
                                ROPER PA
AMATO, CARL J                   446 CHURCHILL DR                                                                                    ROCHESTER       NY      14616‐2114
AMATO, CAROL A                  13753 FOREST HILL RD                                                                                GRAND LEDGE     MI      48837‐9253
AMATO, DAVID F                  4138 THACKIN DR                                                                                     LANSING         MI      48911‐1919
AMATO, DAVID J                  160 SCHOCALOG RD                                                                                    AKRON           OH      44313‐4373
AMATO, DENNIS M                 1050 POINTE PLACE BLVD                                                                              ROCHESTER       MI      48307‐1792
AMATO, DINO                     41 PATRICK ST                                                                                       CARTERET        NJ      07008‐1864
AMATO, DOMINIC J                PO BOX 1473                                                                                         TROY            MI      48099‐1473
AMATO, DOMINIC J                371 BEDFORD RD SE                                                                                   BROOKFIELD      OH      44403‐9727
AMATO, FRANCES                  446 CHURCHILL DR S                                                                                  ROCHESTER       NY      14616‐2114
AMATO, GENEVA C                 2670 RUSH POINT DR                                                                                  SAND LAKE       MI      49343‐9106
AMATO, HARRY A                  5551 WINSHIRE TER                                                                                   DAYTON          OH      45440‐3930
AMATO, JIM V                    2920 IROQUOIS DR                                                                                    THOMPSONS       TN      37179‐5021
                                                                                                                                    STATION
AMATO, JOAN A                   2012 COUNTRY CLUB DR                                                                                LANCASTER       SC      29720‐9050
AMATO, JOHN J                   446 CHURCHILL DR                                                                                    ROCHESTER       NY      14616‐2114
AMATO, KAY W                    157 MORELAND RD                                                                                     NILES           OH      44446‐3215
AMATO, LOUIS G                  29 CEDAR BROOK DR                                                                                   TOMS RIVER      NJ      08753‐2634
AMATO, MARGARET E               2330 MAPLE RD APT 218                                                                               WILLIAMSVILLE   NY      14221‐4057
AMATO, MARIANNE
AMATO, MARY L                   PO BOX 24                                                                                           W FARMINGTON    OH      44491‐0024
AMATO, MARYANN                  186 GENESEE PARK BLVD                                                                               ROCHESTER       NY      14619‐2406
AMATO, MICHAEL P                60 LAKE WOBEGON DR                                                                                  CANFIELD        OH      44406‐7642
AMATO, MICHAEL PAUL             60 LAKE WOBEGON DR                                                                                  CANFIELD        OH      44406‐7642
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Name                         Address1                          Address2                            Address3                     Address4               City                State Zip
AMATO, MINNIE B              PO BOX 88                                                                                                                 WEST FARMINGTON      OH 44491‐0088

AMATO, MINNIE B              BOX 88                                                                                                                    WEST FARMINTON      OH    44491‐0088
AMATO, ROBERT J              3944 LOCH DR                                                                                                              HIGHLAND            MI    48357‐2232
AMATO, ROSE                  WILENTZ GOLDMAN & SPITZER         88 PINE STREET, WALL STREET PLAZA                                                       NEW YORK            NY    10005
AMATO, SALVATORE J           2905 24TH AVENUE A                                                                                                        MOLINE              IL    61265‐4204
AMATO, STEVE J               2670 RUSH POINT DR                                                                                                        SAND LAKE           MI    49343‐9106
AMATO, THERESA               4241 201ST ST                                                                                                             BAYSIDE             NY    11361‐2550
AMATO, THOMAS J              32 MACON AVE                                                                                                              STATEN ISLAND       NY    10312‐2013
AMATO, TIM V                 605 ANGEL CT                                                                                                              CHARLOTTE           MI    48813‐3111
AMATO, TRISHA K              1993 WOLOSYN CIRCLE                                                                                                       POLAND              OH    44514
AMATO, VIRGINIA M            18217 HILLER AVE                                                                                                          CLEVELAND           OH    44119‐1705
AMATO, VIRGINIA M            18217 HILLER                                                                                                              CLEVELAND           OH    44119‐1705
AMATO, WILLIAM P             2245 EAGLE CREEK DR                                                                                                       AVON                OH    44011‐1875
AMATO‐GUM, FRANCES R         15 PLANTATION DR                                                                                                          LITTLE EGG HARBOR   NJ    08087‐1914
                                                                                                                                                       TWP
AMATO‐HUBBARD, CHARLOTTE M   37530 JEFFERSON AVE APT 203                                                                                               HARRISON TWP        MI    48045‐2688
AMATORE, ROSALIE M           135 HICKORY MANOR DR                                                                                                      ROCHESTER           NY    14606‐4510
AMATUCCI, VINCENT            15 BEAUFORT PL                                                                                                            E ROCHESTER         NY    14445‐1629
AMATUZZO, MICHAEL J          817 E MAIN ST                                                                                                             GREENTOWN           IN    46936‐1310
AMATYAKUL, PHANU             6539 SNOWSHOE LN                                                                                                          BRIGHTON            MI    48116‐9700
AMAURY DIAZ‐SERRANO          17600 SAN ROSA BLVD                                                                                                       LATHRUP VILLAGE     MI    48076‐2739
AMAURY R RODRIGUEZ           100 MEMORIAL PKWY                                                                                                         NEW BRUNSWICK       NJ    08901‐1401
AMAYA GUSTAVO                AMAYA, GUSTAVO                    4805 SUR ADA                                                                            CHICAGO             IL    60609
AMAYA JR, GRAVIEL            3022 MARYLAND AVE                                                                                                         FLINT               MI    48506‐2969
AMAYA NATALIA                LYTAL REITER CLARK FOUNTAIN       515 N FLAGLER DR                    10TH FL NORTHBRIDGE                                 WEST PALM BEACH     FL    33401
                                                                                                   CENTER
AMAYA NATALIA                JOHN T. MCGOVERN MONTGOMERY AND   1016 CLEARWATER PLACE                                                                   WEST PALM BEACH      FL   33402
                             LARSON, LLP
AMAYA NATALIA                                                  STAFFORD, ELAINE                    143 UNION BOULEVARD, SUITE                          LAKEWOOD            CA    80228
                                                                                                   720
AMAYA, ALBERTO               3173 MARTHAROSE CT                                                                                                        FLINT               MI    48504‐1233
AMAYA, ALFONSO               5456 W COURT ST                                                                                                           FLINT               MI    48532‐3310
AMAYA, ELIOBA                2301 N AVERILL                                                                                                            FLINT               MI    48506‐3007
AMAYA, GUSTAVO               4805 SUR ADA                                                                                                              CHICAGO             IL    60609
AMAYA, JERALD A              8239 SOPHIE LN                                                                                                            GREENWOOD           LA    71033‐3405
AMAYA, JERALD A              8239 SOPHIE LANE                                                                                                          GREENWOOD           LA    71033‐3405
AMAYA, JESSE A               1355 FENTONWOOD                                                                                                           FENTON              MI    48430‐9617
AMAYA, JOSE
AMAYA, JOSE                  ARRAZOLO LAW PC                   715 TIJERAS AVE NW                                                                      ALBUQUERQUE         NM    87102‐3076
AMAYA, JOSE M                1433 FONTAINBLEU AVE                                                                                                      MILPITAS            CA    95035‐3101
AMAYA, JOSE RIVEROS
AMAYA, MIXAEL                ARRAZOLO LAW PC                   715 TIJERAS AVE NW                                                                      ALBUQUERQUE         NM    87102‐3076
AMAYA, MIXAEL                RAGAN JAMES B PC                  723 COLEMAN AVE                                                                         CORPUS CHRISTI      TX    78401‐3414
AMAYA, NATALIA               LYTAL REITER CLARK FOUNTAIN       515 N FLAGLER DR 10TH FL                                                                WEST PALM BEACH     FL    33401
                                                               NORTHBRIDGE CENTER
AMAYA, NATALIA               7 FLOWERTREE DRIVE                                                                                                        ORMOND BEACH        FL    32174‐3091
AMAZIN INFLATABLES           12248 POWDERHORN TRL                                                                                                      OTISVILLE           MI    48463‐9718
AMAZON (IMDB)                LISA UTZSCHNEIDER                 1200 12TH AVENUE SOUTH                                                                  SEATTLE             WA    98144
AMAZON EMELIO                15230 MARSON ST                                                                                                           PANORAMA CITY       CA    91402‐4419
AMB CRAW PLUMBING INC        ATTN: MICHAEL CRAW                PO BOX 308                                                                              MUNCIE              IN    47308‐0308
AMB SURGERY CENTER O         3112 SHERIDAN DR                                                                                                          AMHERST             NY    14226‐1904
AMB. ANESTHESIA OF C         PO BOX 809274                     PO BOX 809274                                                                           CHICAGO             IL    60680‐9274
AMB. CRAIG S. BELTON
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Name                                  Address1                              Address2                        Address3                 Address4                City               State   Zip
AMBANI ASHISH                         APT 2426                              1101 IROQUOIS AVENUE                                                             NAPERVILLE           IL    60563‐8332
AMBAS PHILLIP                         AMBAS, PHILLIP                        9471 MAERA CT                                                                    COLUMBIA            MD     21045‐3914
AMBAS, PHILLIP                        9471 MAERA CT                                                                                                          COLUMBIA            MD     21045‐3914
AMBASSADOR AUTOMOTIVE                 4730 E WESLEY DR                                                                                                       ANAHEIM             CA     92807‐1941
AMBASSADOR CONSTRUCTION CO            317 MADISON AVE                                                                                                        NEW YORK            NY     10017
AMBASSADOR TECHNICAL SERVICES         713 KNIBBE RD                                                                                                          LAKE ORION          MI     48362‐2148
AMBASSADOR TECHNICAL SERVICES INC     713 KNIBBE RD                                                                                                          LAKE ORION          MI     48362‐2148

AMBASSADORS                           NSC HOTEL RESERVATION SERVICES        240 PEACHTREE ST NW STE 22S10                                                    ATLANTA             GA     30303‐1334
AMBASSADORS LLC                       1071 CAMELBACK ST                                                                                                      NEWPORT BEACH       CA     92660
AMBEAULT JR, FREDERICK J              11 FRONT ST                                                                                                            LINCOLN             RI     02865‐1705
AMBEAULT, MARGARET A                  11642 WILLIAMSPORT PIKE                                                                                                GREENCASTLE         PA     17225
AMBELLAN, RITA C                      1187 ORCHARD PARK DRIVE                                                                                                WEST SENECA         NY     14224
AMBELLAN, STEVEN C                    24742 PRISCILLA DR                                                                                                     DANA POINT          CA     92629‐1026
AMBER
AMBER A ARWOOD                        123 MARCHMONT DR                                                                                                       FAIRBORN           OH      45324
AMBER A SWEITZER                      1515 FOREST AVE                                                                                                        PIQUA              OH      45356‐4345
AMBER BARHAM                          2740 WHITE KNIGHT BLVD B                                                                                               INDIANAPOLIS       IN      46229‐1042
AMBER BATTICE                         7057 ANDERSON CT                                                                                                       SHELBY TWP         MI      48317‐6339
AMBER BAY CAPITAL LTD                 C/O MERRILL LYNCH INTERNATIONAL LTD   ATTN TAU DEPARTMENT             2 RAFFLES LINK, MARINA   SINGAPORE 039392
                                                                                                            BAYFRONT
AMBER BRADFORD                       629 T ST                                                                                                                BEDFORD            IN      47421‐1919
AMBER CHASE                          8185 NIXON AVE                                                                                                          MOUNT MORRIS       MI      48458‐1309
AMBER COLLINS                        133 HIGH TIMBER PL                                                                                                      URBANA             OH      43078‐9254
AMBER D JENKINS                      1357 KAPOK DRIVE                                                                                                        FAIRBORN           OH      45324‐3510
AMBER DAVIS                          11671 TERRA BELLA ST                                                                                                    LAKE VIEW TER      CA      91342‐6102
AMBER DHOUIB                         607 E KNIGHT ST                                                                                                         EATON RAPIDS       MI      48827‐1358
AMBER DOCTOR                         12035 POMERANTZ RD                                                                                                      DEFIANCE           OH      43512‐9084
AMBER EASLICK                        3400 TRUMAN RD APT 1                                                                                                    RAVENNA            MI      49451‐9620
AMBER ENGINEERIN INC C/O RAYTHEON    PHILIP P BERESTECKI                    870 WINTER ST                   WALTHAM WOODS                                    WALTHAM            MA      02451
COMPANY
AMBER ENGINEERING, INC C/O RAYTHEON PHILIP P. BERESTECKI                    870 WINTER ST                   WALTHAM WOODS                                    WALTHAM            MA      02451‐1449
COMPANY
AMBER ENGINEERING, INC. C/O RAYTHEON GLENN H. LENZEN, JR.                   141 SPRING ST                                                                    LEXINGTON          MA      02421‐7860
COMPANY
AMBER ENGINEERING, INC. C/O RAYTHEON RAYTHEON COMPANY                       GLENN H. LENZEN, JR.            141 SPRING ST                                    LEXINGTON          MA      02421‐7860
COMPANY
AMBER FRIES                          7432 CALKINS RD                                                                                                         FLINT              MI      48532‐3006
AMBER G ALDRIDGE                     364 MURCHISON LN                                                                                                        DAYTON             OH      45431
AMBER GARDNER                        8240 SPLITLOG AVE                                                                                                       KANSAS CITY        KS      66112‐2740
AMBER HENDRICKS                      30864 ORANGELAWN ST                                                                                                     LIVONIA            MI      48150‐2927
AMBER HOUCHIN                        PO BOX 91                                                                                                               BEDFORD            IN      47421‐0091
AMBER INDUSTRIES INC                 PO BOX 802822                                                                                                           DALLAS             TX      75380‐2822
AMBER J BRAY                         2911 CHEROKEE DR                       APT 6                                                                            WATERFORD          MI      48328‐3173
AMBER J LAIRD                        406 BRENTWOOD ST                                                                                                        TILTON             IL      61833‐7523
AMBER J MILLER                       127 W RUTGERS AVE                                                                                                       PONTIAC            MI      48340‐2759
AMBER JARVIS                         9300 E. COUNTY RD. 1200 N.                                                                                              DUNKIRK            IN      47336
AMBER JOHNSON                        2100 WEST 12TH STREET                                                                                                   ANDERSON           IN      46016‐3011
AMBER JONES                          2146 MALVERN AVENUE                                                                                                     DAYTON             OH      45406‐2923
AMBER KEMPER                         702 GARRETSON ST                                                                                                        MORRISTOWN         TN      37814‐4291
AMBER KOK                            APT 304                                7311 SKYLINE DRIVE EAST                                                          COLUMBUS           OH      43235‐5728
AMBER KURON                          43462 PENDLETON CIR                                                                                                     STERLING HEIGHTS   MI      48313‐1986
AMBER L GIRARDIN                     888 PALLISTER ST APT 1106                                                                                               DETROIT            MI      48202‐2674
AMBER L MURPHY                       1448 HARVEST AVE                                                                                                        DAYTON             OH      45429‐4821
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Name                         Address1                              Address2                          Address3          Address4               City               State   Zip
AMBER LABBATO                APT 202                               1535 WEYMOUTH CIRCLE                                                       WESTLAKE            OH     44145‐6186
AMBER M DIFFEE               356 BROTHERS DR.                                                                                                 ATTALLA             AL     35954
AMBER M GROFF                2806 SEDGEWICK ST NE                                                                                             WARREN              OH     44483
AMBER M SMITH                424 WINDING TRAIL                                                                                                XENIA               OH     45385
AMBER M TILLMAN              5708 OVERBROOKE RD                                                                                               KETTERING           OH     45440‐2319
AMBER M WARDEN               338 N PERRY ST                                                                                                   PONTIAC             MI     48342‐2444
AMBER MARKS                  16505 WILD CHERRY BLVD                                                                                           HARLAN              IN     46743‐7544
AMBER MAYNARD                5331 FRANKLIN CHURCH RD                                                                                          GREENWICH           OH     44837‐9658
AMBER MEREDITH               347 E CASTLE RD                                                                                                  FOSTORIA            MI     48435‐9663
AMBER MILLER                 13790 TARTAN HILLS PKWY                                                                                          BRISTOW             VA     20136
AMBER MUENSTERMANN           2101 DENHAM AVENUE                                                                                               COLUMBIA            TN     38401‐4424
AMBER N KENDRA               415 N TRUMBALL ST                                                                                                BAY CITY            MI     48708
AMBER N TAORMINO             907 E RUSSELL RD                                                                                                 JANESVILLE          WI     53545‐9580
AMBER PARKER                 4507 CROSBY RD                                                                                                   FLINT               MI     48506‐1419
AMBER PATTERSON              18100 CORAL GABLES AVE                                                                                           LATHRUP VILLAGE     MI     48076‐4502
AMBER POWLEDGE               C/O ANGEL HAGMAIER, DAX FAUBUS        ATTORNEY AT LAW                   2075 ANTOINE DR                          HOUSTON             TX     77055‐1829
AMBER POWLEDGE               3707 ROYLENE COURT                                                                                               DICKINSON           TX     77539
AMBER ROKICKI                12344 SORRENTO BLVD                                                                                              STERLING HEIGHTS    MI     48312‐1366
AMBER STOWMAN
AMBER T WILSON               888 PALLISTER ST APT 1208                                                                                        DETROIT             MI     48202‐2674
AMBER TAYLOR                 1336 W 28TH ST                                                                                                   INDIANAPOLIS        IN     46208‐4937
AMBER TAYLOR                 1109 1/2 S CHIMNEY HILL DR                                                                                       DEWITT              MI     48820‐9573
AMBER TAYLOR                 145 CHARRINGTON CT                                                                                               BEVERLY HILLS       MI     48025‐5604
AMBER UNIVERSITY             1700 EASTGATE DRIVE                                                                                              GARLAND             TX     75041
AMBER VANNESS                6330 QUAIL RIDGE LN                                                                                              DIMONDALE           MI     48821‐9684
AMBER WALKER                 421 WATSON ST                                                                                                    COOPERSVILLE        MI     49404‐1017
AMBER WILCOX
AMBER WILSON                 110 PARKDALE AVE                                                                                                 PONTIAC             MI     48340‐2548
AMBER WIRSING                4132 GARFIELD RD                                                                                                 AUBURN              MI     48611‐9704
AMBER WOOD
AMBER YAKSICH                5979 FELLRATH ST                                                                                                 TAYLOR              MI     48180‐1181
AMBERCROMBIE CHEVROLET INC   HASKELL SLAUGHTER YOUNG & REDIKER     2001 PARK PLACE NORTH 1400 PARK                                            BIRMINGHAM          AL     35203
                             LLC                                   PLACE TOWER
AMBERCROMBIE CHEVROLET INC   2001 PARK PLACE NORTH 1400 PARK PLACE                                                                            BIRMINGHAM          AL     35203
                             TOWER
AMBERG, SABINA               1214 PINEFIELD RD.                                                                                               NEWARK              DE     19713‐2416
AMBERGER, KARL A             2665 GRAND AVE                                                                                                   GRANITE CITY        IL     62040‐4826
AMBERLY KENWORTHY‐BARNES     34164 KENNEDY ST                                                                                                 WESTLAND            MI     48185‐6931
AMBERPOINT, INC
AMBERPOINT, INC.             NICK TELFORD                          155 GRAND AVE STE 404                                                      OAKLAND            CA      94612‐3764
AMBERS, BRENDA S             14007 WOODWORTH RD                                                                                               CLEVELAND          OH      44112‐1921
AMBERS, BRENDA SUE           14007 WOODWORTH RD                                                                                               CLEVELAND          OH      44112‐1921
AMBERSON, SUSAN M            8549 CHANHASSEN HILLS DR S                                                                                       CHANHASSEN         MN      55317‐8108
AMBEST/DECATUR               873 COUNTY ROAD 563                                                                                              ROGERSVILLE        AL      35652‐5431
AMBEST/PULASKI               1164 E JEFFERSON ST                                                                                              PULASKI            TN      38478‐3540
AMBHETI LP                   AMBHETI LP
AMBIO, CHARLES F             123 JOHNSON AVE                                                                                                  STATEN ISLAND       NY     10307‐1222
AMBIRON TRUSTWAVE            120 N LA SALLE ST STE 1250                                                                                       CHICAGO             IL     60602‐3797
AMBIUS                       485 E HALF DAT RD                                                                                                BUFFALO GROVE       IL     60089
AMBIUS INC                   PO BOX 95409                                                                                                     PALATINE            IL     60095‐0409
AMBIYE, ONKAR V              2270 COOLIDGE HWY APT 107                                                                                        TROY                MI     48084‐3626
AMBIYE, ONKAR V              15255 N FRNK L WRIGHT BLVD APT 1020                                                                              SCOTTSDALE          AZ     85260‐2803

AMBIZ KALIE                  AMBIZ, KALIE                          513 W. PAT DRIVE                                                           CLOVIS              CA     93612
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Name                            Address1                            Address2                          Address3                      Address4                     City             State Zip
AMBIZ, KALIE                    1212 ARMSTRONG AVE                                                                                                               CLOVIS            CA 93611‐3153
AMBIZ, KALIE
AMBLE, CHARLES S                417 SUPERIOR ST                                                                                                                  HOUGHTON LAKE    MI   48629‐9759
AMBLE, JAMES W                  7403 QUAIL RIDGE DR                                                                                                              ARLINGTON        TX   76002‐3485
AMBLER CLIFFORD                 3823 LEE ST                                                                                                                      ANDERSON         IN   46011‐5036
AMBLER JR, ADRIAN K             1740 ROLFE RD                                                                                                                    MASON            MI   48854‐9249
AMBLER TIRE CO. INC             123 S MAIN ST                                                                                                                    AMBLER           PA   19002‐4717
AMBLER, CLIFFORD G              3823 LEE ST                                                                                                                      ANDERSON         IN   46011‐5036
AMBLER, EUGENE D                2010 PLAINS RD                                                                                                                   LESLIE           MI   49251‐9558
AMBLER, HENRY B                 238 CRANBERRY BEACH BLVD                                                                                                         WHITE LAKE       MI   48386‐1940
AMBLER, HUGH R                  4215 MICHIGAN TRL                                                                                                                KEWADIN          MI   49648‐9315
AMBLER, JOAN M                  915 E MAURER ST                                                                                                                  SHAWANO          WI   54166‐2629
AMBLER, JOYCE                   1186 PLAINS RD                                                                                                                   LESLIE           MI   49251‐9326
AMBLER, KIMBERLY A              6311 E 161ST ST                                                                                                                  NOBLESVILLE      IN   46062‐6944
AMBLER, RONALD A                920 QUEENSBURY DR                                                                                                                NOBLESVILLE      IN   46062‐8435
AMBLER, WILLIAM H               894 KEYSTONE DR                                                                                                                  CLEVELAND HTS    OH   44121‐2034
AMBLER, WILLIAM R               1806 W HARVARD AVE                                                                                                               MUNCIE           IN   47304‐2007
AMBLESIDE COMMUNITY SCHOOL      ATTN: EVELYN HOEY                   3816 TOLEDO ST                                                                               DETROIT          MI   48216‐1059
AMBORSKI, MARY L                11236 SUZANNE LN                                                                                                                 ORLANDO          FL   32836
AMBORSKI, MICHAEL W             22 DOUCETTE ST                                                                                                                   WEST SENECA      NY   14224‐4814
AMBOY, BETTY J                  9076 SPRING BROOK CIR                                                                                                            DAVISON          MI   48423‐2135
AMBOY, VALENTIN D               5092 LUCILLE AVE                                                                                                                 ATWATER          CA   95301‐8869
AMBRA JACKSON                   3516 CENTRAL                                                                                                                     KANSAS CITY      MO   64111
AMBRAKE CORP                    300 RING RD                                                                                                                      ELIZABETHTOWN    KY   42701‐6778
AMBRAKE CORPORATION             300 RING RD                                                                                                                      ELIZABETHTOWN    KY   42701‐6778
AMBREA D SMITH                  3041 SPRINGMEADOW LN                                                                                                             TROTWOOD         OH   45426
AMBREY, MARIE A                 24 LONGWELL LOOP                                                                                                                 LITTLE ROCK      AR   72211‐2193
AMBRIZ MARTIN CORON\\A          AMBRIZ, MARTIN CORONA               DOWNS AND SNAPP                   1880 S. DIARY ASHFORD, STE.                                HOUSTON          TX   77077
                                                                                                      107
AMBRIZ, JOSE L                  12846 PEACH ST                                                                                                                   SOUTHGATE        MI   48195‐3111
AMBRIZ, MARTIN CORONA           DOWNS AND SNAPP                     1880 S DAIRY ASHFORD ST STE 107                                                              HOUSTON          TX   77077‐4759
AMBRIZ, MARTIN CORONA
AMBRIZ, YOLANDA                 GARCIA RAMON LAW OFFICES            222 W UNIVERSITY DR                                                                          EDINBURG         TX   78539
AMBRO, THOMAS M                 4402 CORDES RD                                                                                                                   DELTON           MI   49046‐7698
AMBROCIO ERMINIO (656468)       GALIHER DEROBERTIS NAKAMURA ONO &   610 WARD AVE STE 200                                                                         HONOLULU         HI   96814‐3308
                                TAKITANI
AMBROCIO G MARTINEZ             WIGINGTON RUMLEY DUNN LP            800 N SHORELINE BLVD              14TH FL SOUTH TOWER                                        CORPUS CHRISTI   TX   78401
AMBROCIO MENDEZ                 809 NORTHCREEK DR                                                                                                                LAREDO           TX   78041‐3280
AMBROCIO PEDRAZA                15040 COUNTY ROAD 191                                                                                                            DEFIANCE         OH   43512‐9306
AMBROGIANI EVARISTO, FRANCA,    AMBROGIANI FRANCA                   VIA GAGLIANI 4                                                  47813 BELLARIA IGEA MARINA
GIORGIA, SERGIO, VALTER                                                                                                             ITALY
AMBROGIO, JOHN B                22761 WORTHINGTON CT                                                                                                             ST CLR SHORES    MI   48081‐2603
AMBROS, YVONNE R                16450 W DESERT STONE LANE                                                                                                        SURPRISE         AZ   85374‐5111
AMBROSE BALLMAN                 4142 CHALMETTE DR                                                                                                                DAYTON           OH   45440‐3227
AMBROSE BYRNE                   15W528 VICTORY PKWY                                                                                                              ELMHURST         IL   60126‐1312
AMBROSE DASCANI                 170 E DEWART ST                     APT 504                                                                                      SHAMOKIN         PA   17872
AMBROSE DUSZAK                  105 WATERTOWN RD                                                                                                                 THOMASTON        CT   06787‐1827
AMBROSE ECKER                   2296 OKALOOSA RD                                                                                                                 EROS             LA   71238‐8502
AMBROSE ELMOORE                 12130 RAELYN HILLS DR                                                                                                            PERRY            MI   48872‐9168
AMBROSE ERNEST (NMI) (428403)   GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                                                  NORFOLK          VA   23510
                                                                    STREET, SUITE 600
AMBROSE HOPPER                  1474 EATON DR                                                                                                                    MONROE           MI   48162‐3321
AMBROSE JOHN (438778)           GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                                                  NORFOLK          VA   23510
                                                                    STREET, SUITE 600
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AMBROSE JR, JOHN M         2155 FOREST HOME AVE                                                                                DAYTON           OH     45404‐2511
AMBROSE LAHM               77 YOHA DR                                                                                          MANSFIELD        OH     44907‐2860
AMBROSE LAWRENCE           17524 WALNUT ST                                                                                     HESPERIA         CA     92345‐6251
AMBROSE LITTLEFIELD        13460 WHEELER AVE                                                                                   SYLMAR           CA     91342‐3023
AMBROSE MARTIN             12108 MAIDSTONE AVE                                                                                 NORWALK          CA     90650‐2326
AMBROSE MCGLORY            3835 APPLE ST                                                                                       SAGINAW          MI     48601‐5563
AMBROSE NAGEL              7848 DESERT BELL AVE                                                                                LAS VEGAS        NV     89128‐7996
AMBROSE P SZANTO           6144 CARMIN AVENUE                                                                                  DAYTON           OH     45427
AMBROSE PHILLIP (491931)   BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                     NORTHFIELD       OH     44067
                                                             PROFESSIONAL BLDG
AMBROSE POWELL III         7650 ROUND LAKE RD                                                                                  LAINGSBURG      MI      48848‐9503
AMBROSE PRT/NASHVIL        210 CUMBERLAND BND                                                                                  NASHVILLE       TN      37228‐1804
AMBROSE STEFFEY            22481 WEST RD                     APT 104                                                           WOODHAVEN       MI      48183‐3131
AMBROSE THOME JR           11291 OLD MILL RD                                                                                   SPENCER         OH      44275‐9580
AMBROSE WEBER              APT 102                           3950 SCENIC RIDGE                                                 TRAVERSE CITY   MI      49684‐3904
AMBROSE WHITERS            571 WYOMING AVE                                                                                     PONTIAC         MI      48341‐2566
AMBROSE, ANNETTE           17588 PLAINVIEW AVE                                                                                 DETROIT         MI      48219‐3552
AMBROSE, ASHTON            KIMMEL & SILVERMAN PC             1930 E MARLTON PIKE SUITE Q29                                     CHERRY HILL     NJ      08003
AMBROSE, AUDREY R          3457 PARKER ST                                                                                      DETROIT         MI      48214‐1853
AMBROSE, BEATRICE A        2048 NEW DR SW                                                                                      WARREN          OH      44481‐9211
AMBROSE, BERNICE M         1555 MAYFIELD AVE NE                                                                                GRAND RAPIDS    MI      49505‐5423
AMBROSE, BILLIE R          APT 2030                          890 VILLAGE GREEN LANE                                            WATERFORD       MI      48328‐2451
AMBROSE, BONNIE I          12631 COYLE ST                                                                                      DETROIT         MI      48227‐2510
AMBROSE, CARL D            9034 INVERRARY DR SE                                                                                WARREN          OH      44484‐2548
AMBROSE, CAROL M           5794 MERWIN CHASE RD                                                                                BROOKFIELD      OH      44403‐9763
AMBROSE, DAN C             7135 PERRY LAKE RD                                                                                  CLARKSTON       MI      48346‐1655
AMBROSE, DELPHA G          222 REDWINE DR                                                                                      HOUGHTON LAKE   MI      48629‐9135
AMBROSE, DIANE M           350 S RIVER RD UNIT G17                                                                             NEW HOPE        PA      18938‐2222
AMBROSE, DONALD T          468 WILSON AVE                                                                                      JANESVILLE      WI      53548‐5180
AMBROSE, DONNA J           23610 ROWE ST                                                                                       DEARBORN        MI      48124‐1631
AMBROSE, DORIS J           886 GOLF DR APT 201                                                                                 PONTIAC         MI      48341‐2399
AMBROSE, EMMA J            4048 ACORN RIDGE CV                                                                                 MEMPHIS         TN      38125‐2651
AMBROSE, ERNEST            GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                       NORFOLK         VA      23510‐2212
                                                             STREET, SUITE 600
AMBROSE, FRANKIE L         500 VALENCIA DR                                                                                     PONTIAC          MI     48342‐1678
AMBROSE, FRANKIE L         500 VALENCIA                                                                                        PONTIAC          MI     48342‐1678
AMBROSE, GARY V            1537 GREENRIDGE CIR W                                                                               JACKSONVILLE     FL     32259‐5205
AMBROSE, GENEVIEVE M       742 TORREY PINE PLACE                                                                               OCEAN SIDE       CA     92054
AMBROSE, GEORGE R          233 SNEAD DR                                                                                        CROSSVILLE       TN     38558‐7709
AMBROSE, GERALD S          2330 ARDEN ST SW                                                                                    WYOMING          MI     49519‐3664
AMBROSE, GREGORY T         10233 COVINGTON DR                                                                                  BRIGHTON         MI     48114‐8988
AMBROSE, HARRY L           214 CHARLES DEAN RD                                                                                 FARMERVILLE      LA     71241‐5664
AMBROSE, HAZEL G           4530 SOUTHEAST BRIDGETOWN CT                                                                        STUART           FL     34997‐5594
AMBROSE, JAMES B           11474 DITCH RD                                                                                      OAKLEY           MI     48649‐9713
AMBROSE, JAMES L           4524 NUECES DR                                                                                      SANTA BARBARA    CA     93110‐2008
AMBROSE, JAMES R           14 ANGELICA DR                                                                                      AVONDALE         PA     19311‐1325
AMBROSE, JOHN              GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                       NORFOLK          VA     23510‐2212
                                                             STREET, SUITE 600
AMBROSE, JOSEPH C          2738 W ROBIN DR                                                                                     SAGINAW          MI     48601‐9208
AMBROSE, JOSEPH E          500 VALENCIA DR                                                                                     PONTIAC          MI     48342‐1678
AMBROSE, KAREN S           14 ANGELICA DR                                                                                      AVONDALE         PA     19311‐1325
AMBROSE, LARRY M           9259 FILLMORE ST                                                                                    ZEELAND          MI     49464‐9750
AMBROSE, LARRY P           113 OAK MARR DR                                                                                     HOUGHTON LAKE    MI     48629‐9006
AMBROSE, LAWRENCE B        222 REDWINE DR                                                                                      HOUGHTON LAKE    MI     48629‐9135
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AMBROSE, LAWRENCE J                   3909 DEER PARK CT                                                                             HAVRE DE GRACE    MD     21078‐1232
AMBROSE, LEONARD J                    6975 RUBY COURTS                                                                              YOUNGSTOWN        OH     44515‐5612
AMBROSE, LINDA D                      113 OAK MARR DR                                                                               HOUGHTON LAKE     MI     48629‐9006
AMBROSE, LOREN                        1416 ARTHUR ST                                                                                MARNE             MI     49435‐8739
AMBROSE, MARION D                     132 CEDAR STREET                                                                              S BOUND BROOK     NJ     08880‐1348
AMBROSE, MARK D                       1959 OAKWOOD AVE                                                                              NILES             OH     44446‐4533
AMBROSE, MARY                         12256 SAMOLINE AVE                                                                            DOWNEY            CA     90242‐2354
AMBROSE, MICHAEL J                    8641 EDGERTON RD                                                                              CLEVELAND         OH     44133‐5646
AMBROSE, PATRICIA A                   119 SW THORNHILL DR                                                                           PORT ST LUCIE     FL     34984‐4481
AMBROSE, R K                          65 W HALLETT ST                                                                               HILLSDALE         MI     49242‐1986
AMBROSE, R KEITH                      65 WEST HALLETT STREET                                                                        HILLSDALE         MI     49242‐1986
AMBROSE, RALPH A                      PO BOX 223                                                                                    GEORGETOWN        FL     32139‐0223
AMBROSE, RICHARD C                    310 OLD STATE ROAD 73                                                                         EDGERTON          WI     53534‐9369
AMBROSE, RICHARD P                    1926 N HAWTHORNE PARK DR                                                                      JANESVILLE        WI     53545‐2030
AMBROSE, RONALD A                     210 S JANESVILLE ST                                                                           MILTON            WI     53563‐1529
AMBROSE, ROSEMARIE A                  519 LONGWOOD AVE                                                                              BOUND BROOK       NJ     08805‐1611
AMBROSE, ROY                          886 GOLF DR APT 201                                                                           PONTIAC           MI     48341‐2399
AMBROSE, RUTH E                       127 ELDERBERRY DR                                                                             LEVITTOWN         PA     19054‐2703
AMBROSE, STEVEN L                     2438 104TH ST                                                                                 TOLEDO            OH     43611‐1967
AMBROSE, THOMAS P                     12631 COYLE ST                                                                                DETROIT           MI     48227‐2510
AMBROSE, THOMAS R                     10141 HALSEY RD                                                                               GRAND BLANC       MI     48439‐8208
AMBROSE, VERA I                       9631 CELERY AVE, R 3                                                                          BYRON CENTER      MI     49315‐9337
AMBROSIEWICZ, RHONDA F                22021 CLEVELAND                APARTMENT 230                                                  DEARBORN          MI     48124‐3456
AMBROSIEWICZ, RHONDA F                2836 GENEVA ST                                                                                DEARBORN          MI     48124
AMBROSINI, GERALD F                   1703 S CHICAGO ST TRLR 10                                                                     JOLIET             IL    60436‐3166
AMBROSINO JOSEPH                      238 DOWNING GLEN PLACE                                                                        CALABASH          NC     28467‐1985
AMBROSINO, OPAL E                     2014 HIGH RIDGE DR                                                                            CLEARWATER        FL     33763‐1310
AMBROSINO, RAYMOND J                  370 BLUE BAYOU DR                                                                             KISSIMMEE         FL     34743‐6113
AMBROSIO ALFARO JR                    9094 SPRING BROOK CIR                                                                         DAVISON           MI     48423‐2135
AMBROSIO FRANK (ESTATE OF) (477585)   WEITZ & LUXENBERG              180 MAIDEN LANE                                                NEW YORK          NY     10038

AMBROSIO, FRANK                       WEITZ & LUXENBERG              180 MAIDEN LANE                                                NEW YORK         NY      10038
AMBROSIO, MARO                        7 RESERVOIR RD                                                                                NEWTOWN          CT      06470‐1534
AMBROSO, PATRICIA T                   10825 E WATFORD DR                                                                            SUN LAKES        AZ      85248‐8203
AMBROSOLI, CAROLYN JEAN               PO BOX 54                                                                                     CORFU            NY      14036‐0054
AMBROSY, FRANCES M                    960 SOUTHERN BLVD. N.W.                                                                       WARREN           OH      44485‐2265
AMBROUS BUNCH                         719 E TENNYSON AVE                                                                            PONTIAC          MI      48340‐2963
AMBROW RICHARD C                      AMBROWS, RICHARD C
AMBROW, RICHARD C                     15026 ARDEN AVE                                                                               WARREN           MI      48088‐1516
AMBROZAITIS, JOHN P                   242 RADCLIFF DR                                                                               HOUGHTON LAKE    MI      48629‐9134
AMBROZY JR., GEORGE J                 27901 GREATER MACK AVE                                                                        ST CLAIR SHRS    MI      48081‐2959
AMBROZY, AILEEN                       864 KENNEDY BLVD APT 18                                                                       BAYONNE          NJ      07002‐2889
AMBROZY, JOHN T                       6241 HAMPTON GREEN PL                                                                         DUBLIN           OH      43016‐7006
AMBRUOSO, CHRISTIAN F                 3 DEER RIDGE ROAD                                                                             BASKING RIDGE    NJ      07920‐3404
AMBRUS FARMER                         7130 WALKER RUN                                                                               SOUTH LYON       MI      48178‐9685
AMBRUS, GIZELLA                       PO BOX 475                                                                                    TAYLOR           MI      48180‐0475
AMBRUSKO, STANLEY P                   1178 VINEWOOD DR                                                                              LOCKPORT         NY      14094‐7131
AMBRUSO, DANIEL J                     930 GULF SHORE DR UNIT 10                                                                     DESTIN           FL      32541‐3205
AMBRUSO, RONALD G                     656 SILK OAK DR                                                                               VENICE           FL      34293‐7267
AMBRUZ, LAWRENCE V                    2288 OLDE FARM DR                                                                             JENISON          MI      49428‐8155
AMBS, ELIZABETH J                     3021 MONTANA AVENUE                                                                           FLINT            MI      48506‐2453
AMBU‐TRANS, INC.                      PO BOX 539                                                                                    NOVI             MI      48376‐0539
AMBUHL, THEODORE R                    5954 TIMBER LAKE WAY                                                                          INDIANAPOLIS     IN      46237‐2279
AMBULANCE SER/COLUMB                  1207B TRADEWINDS DR                                                                           COLUMBIA         TN      38401‐4607
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AMBULATORY ANESTHESI                  1812 MOMENTUM PL                                                                                       CHICAGO        IL    60689‐5318
AMBULATORY ANESTHESI                  PO BOX 4148                                                                                            TORRANCE      CA     90510‐4148
AMBULATORY ANESTHESI                  1870 INDEPENDENCE SQ STE D                                                                             ATLANTA       GA     30338‐5155
AMBULATORY ANESTHESI                  PO BOX 7449                                                                                            MARIETTA      GA     30065‐1449
AMBULATORY FOOT CARE                  190 MAIN ST                                                                                            TONAWANDA     NY     14150‐3334
AMBULATORY MEDICAL A                  PO BOX 3478                                                                                            BUFFALO       NY     14240‐3478
AMBULATORY SURGERY C                  PO BOX 673112                                                                                          DETROIT       MI     48267‐3112
AMBURG CAROL A (ESTATE OF) (452512)   SIMMONS FIRM                          PO BOX 559                                                       WOOD RIVER     IL    62095‐0559

AMBURG, CAROL A                       SIMMONS FIRM                          PO BOX 559                                                       WOOD RIVER    IL     62095‐0559
AMBURGEY EDWARD R (414739)            GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                      NORFOLK       VA     23510
                                                                            STREET, SUITE 600
AMBURGEY HERBERT (307846)             GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                                       SAGINAW       MI     48604‐2602
                                                                            260
AMBURGEY HERBERT (307846) ‐ ABEL      GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                                     PITTSBURGH    PA     15219
KEITH D
AMBURGEY HERBERT (307846) ‐ ADAMS     GOLDBERG PERSKY JENNINGS & WHITE PC   4800 FASHION SQUARE BLVD STE                                     SAGINAW       MI     48604‐2602
DONALD R                                                                    260
AMBURGEY HERBERT (307846) ‐ ADKINS    GOLDBERG PERSKY JENNINGS & WHITE PC   4800 FASHION SQUARE BLVD STE                                     SAGINAW       MI     48604‐2602
EARL M                                                                      260
AMBURGEY HERBERT (307846) ‐           GOLDBERG PERSKY JENNINGS & WHITE PC   4800 FASHION SQUARE BLVD STE                                     SAGINAW       MI     48604‐2602
ALEXANDER DENNIS G                                                          260
AMBURGEY HERBERT (307846) ‐ ALLEN     GOLDBERG PERSKY JENNINGS & WHITE PC   4800 FASHION SQUARE BLVD STE                                     SAGINAW       MI     48604‐2602
CHARLES T                                                                   260
AMBURGEY HERBERT (307846) ‐ ALPETER GOLDBERG PERSKY JENNINGS & WHITE PC     4800 FASHION SQUARE BLVD STE                                     SAGINAW       MI     48604‐2602
ROBERT                                                                      260
AMBURGEY HERBERT (307846) ‐           GOLDBERG PERSKY JENNINGS & WHITE PC   4800 FASHION SQUARE BLVD STE                                     SAGINAW       MI     48604‐2602
AMBURGEY CLEDITH RAY                                                        260
AMBURGEY HERBERT (307846) ‐ ARCHER GOLDBERG PERSKY JENNINGS & WHITE PC      4800 FASHION SQUARE BLVD STE                                     SAGINAW       MI     48604‐2602
PAUL E                                                                      260
AMBURGEY HERBERT (307846) ‐ ARNOLD GOLDBERG PERSKY JENNINGS & WHITE PC      4800 FASHION SQUARE BLVD STE                                     SAGINAW       MI     48604‐2602
WILBERT                                                                     260
AMBURGEY HERBERT (307846) ‐ AUVIL     GOLDBERG PERSKY JENNINGS & WHITE PC   4800 FASHION SQUARE BLVD STE                                     SAGINAW       MI     48604‐2602
SAMUEL J                                                                    260
AMBURGEY HERBERT (307846) ‐ AYERS     GOLDBERG PERSKY JENNINGS & WHITE PC   4800 FASHION SQUARE BLVD STE                                     SAGINAW       MI     48604‐2602
AUSTIN E                                                                    260
AMBURGEY HERBERT (307846) ‐ BAKER     GOLDBERG PERSKY JENNINGS & WHITE PC   4800 FASHION SQUARE BLVD STE                                     SAGINAW       MI     48604‐2602
FLOYD W                                                                     260
AMBURGEY HERBERT (307846) ‐ BAKER     GOLDBERG PERSKY JENNINGS & WHITE PC   4800 FASHION SQUARE BLVD STE                                     SAGINAW       MI     48604‐2602
JOHN M                                                                      260
AMBURGEY HERBERT (307846) ‐ BALL      GOLDBERG PERSKY JENNINGS & WHITE PC   4800 FASHION SQUARE BLVD STE                                     SAGINAW       MI     48604‐2602
LEWIS                                                                       260
AMBURGEY HERBERT (307846) ‐ BARBALEY GOLDBERG PERSKY JENNINGS & WHITE PC    4800 FASHION SQUARE BLVD STE                                     SAGINAW       MI     48604‐2602
MARTY L                                                                     260
AMBURGEY HERBERT (307846) ‐ BARTELL GOLDBERG PERSKY JENNINGS & WHITE PC     4800 FASHION SQUARE BLVD STE                                     SAGINAW       MI     48604‐2602
LEWIS                                                                       260
AMBURGEY HERBERT (307846) ‐           GOLDBERG PERSKY JENNINGS & WHITE PC   4800 FASHION SQUARE BLVD STE                                     SAGINAW       MI     48604‐2602
BAUMBERGER RICHARD G                                                        260
AMBURGEY HERBERT (307846) ‐ BEACH     GOLDBERG PERSKY JENNINGS & WHITE PC   4800 FASHION SQUARE BLVD STE                                     SAGINAW       MI     48604‐2602
LOUIS W                                                                     260
AMBURGEY HERBERT (307846) ‐ BEARD     GOLDBERG PERSKY JENNINGS & WHITE PC   4800 FASHION SQUARE BLVD STE                                     SAGINAW       MI     48604‐2602
HOWARD J                                                                    260
AMBURGEY HERBERT (307846) ‐ BEARD IRA GOLDBERG PERSKY JENNINGS & WHITE PC   4800 FASHION SQUARE BLVD STE                                     SAGINAW       MI     48604‐2602
                                                                            260
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AMBURGEY HERBERT (307846) ‐ BELL     GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                                       SAGINAW            MI 48604‐2602
ROBERT L                                                                   260
AMBURGEY HERBERT (307846) ‐ BELL     GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                                       SAGINAW           MI   48604‐2602
SHERMAN                                                                    260
AMBURGEY HERBERT (307846) ‐ BENSON GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                                         SAGINAW           MI   48604‐2602
RICHARD L                                                                  260
AMBURGEY HERBERT (307846) ‐          GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                                       SAGINAW           MI   48604‐2602
BIEDENBACH DONALD                                                          260
AMBURGEY HERBERT (307846) ‐ BIERY    GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                                       SAGINAW           MI   48604‐2602
BERNARD                                                                    260
AMBURGEY HERBERT (307846) ‐ BIRCHLER GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                                       SAGINAW           MI   48604‐2602
PORTER J                                                                   260
AMBURGEY HERBERT (307846) ‐ BISHOP   GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                                       SAGINAW           MI   48604‐2602
DONALD                                                                     260
AMBURGEY HERBERT (307846) ‐ BLOCK    GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                                       SAGINAW           MI   48604‐2602
VIRGIL                                                                     260
AMBURGEY HERBERT (307846) ‐ BLOOM    GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                                       SAGINAW           MI   48604‐2602
JOHN LELAND                                                                260
AMBURGEY HERBERT (307846) ‐ BOGGS    GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                                     PITTSBURGH        PA   15219
ORA
AMBURGEY HERBERT (307846) ‐ BONEY    GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                                       SAGINAW           MI   48604‐2602
WAYNE L                                                                    260
AMBURGEY HERBERT (307846) ‐          GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                                       SAGINAW           MI   48604‐2602
BOOKMYER ALVA J                                                            260
AMBURGEY HERBERT (307846) ‐ BORY     GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                                       SAGINAW           MI   48604‐2602
TERRY                                                                      260
AMBURGEY HERBERT (307846) ‐ BRANDON GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                                        SAGINAW           MI   48604‐2602
FLOYD E                                                                    260
AMBURGEY HERBERT (307846) ‐ BROWN    GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                                       SAGINAW           MI   48604‐2602
CLARENCE                                                                   260
AMBURGEY HERBERT (307846) ‐ CARETTI GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                                        SAGINAW           MI   48604‐2602
DELMAS W                                                                   260
AMBURGEY HERBERT (307846) ‐ CARMAN GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                                         SAGINAW           MI   48604‐2602
JOHN T                                                                     260
AMBURGEY HERBERT (307846) ‐ CARUSO GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                                         SAGINAW           MI   48604‐2602
JOHN S                                                                     260
AMBURGEY HERBERT (307846) ‐ COFFEY   GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                                       SAGINAW           MI   48604‐2602
CAROLYN                                                                    260
AMBURGEY HERBERT (307846) ‐ COLEMAN GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                                        SAGINAW           MI   48604‐2602
BERNARD                                                                    260
AMBURGEY HERBERT (307846) ‐ COOPER GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                                         SAGINAW           MI   48604‐2602
JAMES E                                                                    260
AMBURGEY HERBERT (307846) ‐ COTRELL GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                                        SAGINAW           MI   48604‐2602
DARRELL S                                                                  260
AMBURGEY HERBERT (307846) ‐ CRAMER GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                                         SAGINAW           MI   48604‐2602
LESTER C                                                                   260
AMBURGEY LAWRENCE M (428404)         GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                      NORFOLK           VA   23510
                                                                           STREET, SUITE 600
AMBURGEY, ALPHA A                    134 COUNTRY CLUB DR                                                                                    DAYTON            OH   45427‐1153
AMBURGEY, ANTHONY W                  1578 KENSINGTON DR                                                                                     BELLBROOK         OH   45305‐1121
AMBURGEY, ANTHONY W                  APT 206                               214 INLET WAY                                                    WEST PALM BCH     FL   33404‐6251
AMBURGEY, ANTHONY W                  214 INLET WAY APT 206                                                                                  WEST PALM BEACH   FL   33404

AMBURGEY, BEATRICE                   1836 NORTH NATIONAL CITY ROAD                                                                          NATIONAL CITY     MI   48748
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Name                       Address1                            Address2                       Address3                    Address4                City            State   Zip
AMBURGEY, BRADLEY T        LOT 5                               944 ELMER AVENUE                                                                   FORT WAYNE       IN     46808‐2024
AMBURGEY, BRUCE R          PO BOX 670                                                                                                             ROSCOMMON        MI     48653‐0670
AMBURGEY, CLEDITH RAY      GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                                                       SAGINAW          MI     48604‐2602
                                                               260
AMBURGEY, EDWARD           GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                                        NORFOLK          VA     23510‐2212
                                                               STREET, SUITE 600
AMBURGEY, ELLIS W          201 TROY ST                                                                                                            MEDWAY          OH      45341‐1125
AMBURGEY, GREGORY L        PO BOX 975                                                                                                             PINCKNEY        MI      48169‐0975
AMBURGEY, GREGORY LEE      PO BOX 975                                                                                                             PINCKNEY        MI      48169‐0975
AMBURGEY, HERBERT          GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                                                       SAGINAW         MI      48604‐2602
                                                               260
AMBURGEY, JAMES C          183 DUNDEE RD                                                                                                          HAZEL GREEN      AL     35750‐7004
AMBURGEY, JAMES C          183 DUNDEE                                                                                                             HAZEL GREEN      AL     35750‐7004
AMBURGEY, JAMES R          PO BOX 210                                                                                                             BLACKEY          KY     41804‐0210
AMBURGEY, JERRY            924 PINE AVE                                                                                                           LAKE ORION       MI     48362‐2445
AMBURGEY, KERMIT R         1836 N NATIONAL CITY RD                                                                                                NATIONAL CITY    MI     48748‐9437
AMBURGEY, LAWRENCE         GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                                        NORFOLK          VA     23510‐2212
                                                               STREET, SUITE 600
AMBURGEY, LISA K           1393 HIGHWAY 1274                                                                                                      FRENCHBURG      KY      40322‐8248
AMBURGEY, MARCUS L         1417 STEEPLECHASE CT                                                                                                   HOWELL          MI      48843‐7506
AMBURGEY, PAUL A           12380 WOOD RD                                                                                                          DEWITT          MI      48820‐9341
AMBURGEY, PAUL D           9698 BRADFD CHILDRENS HOME                                                                                             BRADFORD        OH      45308
AMBURGEY, RANDY R          611 PAT RD                                                                                                             LEESBURG        FL      34748‐4458
AMBURGEY, TRUMAN J         168 SANDY CREEK RD                                                                                                     CROSSVILLE      TN      38571
AMBURGEY, WANDA L          PO BOX 64                                                                                                              STANTON         KY      40380‐0064
AMBURGEY, WILLIAM W        8803 E 79                                                                                                              NASHVILLE       MI      49073
AMBURGY, BILLIE J          690 QUILLIN CHAPEL                                                                                                     CAMPTON         KY      41301
AMBURGY, CLARENCE          1160 CRIMSON CT                                                                                                        WAYNESVILLE     OH      45068‐8003
AMBURGY, FRANKLIN D        727 DELLA DR                                                                                                           LEXINGTON       KY      40504‐3609
AMBURGY, GLEN              352 GEORGIA DR                                                                                                         XENIA           OH      45385‐4887
AMBURGY, JIMMY R           118 E BROADWAY ST                                                                                                      SOUTH LEBANON   OH      45065‐1302
AMBURGY, JOYCE A           6871 SUN RIDGE DR                                                                                                      WAYNESVILLE     OH      45068‐8332
AMBURGY, KATHLEEN J        604 MASON RD                                                                                                           SOUTH LEBANON   OH      45065‐1033
AMBURGY, KATHLEEN J        604 W MASON RD                                                                                                         SO LEBANON      OH      45065‐1033
AMBURGY, KEITH L           256 N LIBERTY KEUTER RD                                                                                                LEBANON         OH      45036‐9396
AMBURGY, LANNIE L          4726 RIVERVIEW AVE                                                                                                     MIDDLETOWN      OH      45042‐2972
AMBURGY, LANNIE LEE        4726 RIVERVIEW AVE                                                                                                     MIDDLETOWN      OH      45042‐2972
AMBURGY, WENDELL J         000 CLYDE OILER RD                                                                                                     GREENS FORK     IN      47345
AMBURGY,LANNIE LEE         4726 RIVERVIEW AVE                                                                                                     MIDDLETOWN      OH      45042‐2972
AMBURN JR, JAMES S         FRONHOFALLEE 32                                                                                BAD DURKHEIM 67098
                                                                                                                          GERMANY
AMBURN, DARLENE            3816 W INDIAN HILLS RD                                                                                                 NORMAN           OK     73072‐1229
AMBURN, DIANNA M           1137 BUCKLEW RD                                                                                                        SPENCER          IN     47460‐6228
AMBURN, GARNETA M          P O BOX 223                                                                                                            FARMLAND         IN     47340‐0223
AMBURN, GARNETA M          PO BOX 223                                                                                                             FARMLAND         IN     47340‐0223
AMBURN, GEORGIANNA R       PO BOX 685                          219 FULTON ST                                                                      PARKER CITY      IN     47368‐0685
AMBURN, GEORGIANNA R       PO BOX 685 219 FULTON ST                                                                                               PARKER CITY      IN     47368‐0685
AMBURN, PAUL G             PO BOX 166                                                                                                             PERRIN           TX     76486‐0166
AMBUS A PEARSON            ATTN ROBERT W PHILLIPS              C/O SIMMONS BROWDER GIANARIS 707 BERKSHIRE BLVD ‐ PO BOX                           EAST ALTON       IL     62024
                                                               ANGELIDES & BARNERD LLC      521
AMBUSKI STANLEY (461860)   WEITZ & LUXENBERG P.C.              180 MAIDEN LANE                                                                    NEW YORK         NY     10038
AMBUSKI, STANLEY           WEITZ & LUXENBERG P.C.              180 MAIDEN LANE                                                                    NEW YORK         NY     10038
AMBY, DONALD E             3615 S GREENLAWN TER                                                                                                   NEW BERLIN       WI     53151
AMBY, JO A                 3615 S GREENLAWN TER                                                                                                   NEW BERLIN       WI     53151‐5473
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Name                                Address1                             Address2                        Address3    Address4                 City               State Zip
AMC                                 AMERICAN MEXICO CANADA               6605 E 14TH STREET                                                   BROWNSVILLE         TX 78521
AMC ENTERTAINMENT INC
AMC GMBH                            HERFORDER STRASSE 238‐240                                                        BIELEFELD 4800 GERMANY
AMC PRECISION INC                   430 ROBINSON ST                                                                                           NORTH              NY    14120‐7021
                                                                                                                                              TONAWANDA
AMCAN CASTINGS                      9 HILLYARD ST                        PO BOX 446 LCD 1                            HAMILTON CANADA ON L8L
                                                                                                                     7X3 CANADA
AMCAN CASTINGS, LTD                 SUE WAGLAND                          255 NEBO ROAD                               REXDALE ON CANADA
AMCAR, N.V.                         SS 13 GMDAT                                                                      GMDAT SURINAME
AMCAST AUTO/SOUTHFLD                300 GALLERIA OFFICENTRE STE 208                                                                           SOUTHFIELD         MI    48034‐8461
AMCAST INDUSTRIAL CORP              PAT KENSINGER X134                   2170 WILLIPIE ST                                                     FLORENCE           KY    41042
AMCAST INDUSTRIAL CORP              13455 NOEL RD STE 2200                                                                                    DALLAS             TX    75240‐6685
AMCAST INDUSTRIAL CORP              13455 NOEL RD                        STE 2200                                                             DALLAS             TX    75240‐6685
AMCO BUILDERS AND DEVELOPERS INC,   REID AND REID                        120 N WASHINGTON SQ STE 700                                          LANSING            MI    48933

AMCO INDUSTRIES‐ROCKFORD            11137 BERTRAM RD                                                                                          MACHESNEY PARK     IL    61115‐1446
AMCO INSURANCE COMPANY              BAUMAN LOEWE & WITT PLLC             8765 EAST BELL ROAD SUITE 204                                        SCOTTSDALE         AZ    85260
AMCO INSURANCE COMPANY              ATTN MATTHEW PEAIRE ESQ              777 S HARBOUR ISLAND BLVD       SUITE 500                            TAMPA              FL    33602
AMCO INSURANCE COMPANY              HUTCHISON MYERS ECKERT & VOHS        705 DOUGLAS ST STE 402                                               SIOUX CITY         IA    51101‐1045
AMCOL INTERNATIONAL CORP            2870 FORDS AVE                                                                                            HOFFMAN EST        IL    60192‐3702
AMCOL INTERNATIONAL CORP            2871 FORBS AVE                                                                                            HOFFMAN ESTATE     IL    60192
AMCOL INTERNATIONAL CORP            PO BOX 95411                                                                                              HOFFMAN ESTATES    IL    60195‐0411

AMCOL INTERNATIONAL, CORP.          JIM KERR                             2870 FORBS AVE                                                       HOFFMAN EST         IL   60192‐3702
AMCOL INTERNATIONAL, CORP.          JIM KERR                             PO BOX 95411                                                         HOFFMAN ESTATES     IL   60195‐0411

AMCOMP                              724 PELICAN WAY                                                                                           NORTH PALM BEACH    FL   33408‐4206

AMCOR LTD                           100 E PROGRESS RD                                                                                         LOMBARD            IL    60148‐1333
AMCOR LTD                           6600 VALLEY VIEW ST                                                                                       BUENA PARK         CA    90620‐1145
AMCOR PACKAGING INVESTMENTS INC     ATTN: CORPORATE OFFICER/AUTHORIZED   PO BOX 201813                                                        DALLAS             TX    75320‐1813
                                    AGENT
AMCOR SUNCLIPSE NORTH AMERICA       6600 VALLEY VIEW ST                                                                                       BUENA PARK         CA    90620‐1145
AMCOR SUNCLIPSE NORTH AMERICA       100 E PROGRESS RD                                                                                         LOMBARD            IL    60148‐1333
AMDAHL MOTORS                       950 7TH ST SE                                                                                             PIPESTONE          MN    56164‐2067
AMDOCS OPENMARKET INC               PO BOX 915267                                                                                             DALLAS             TX    75391‐0001
AMDOCS OPENMARKET INC               ATTN: CORPORATE OFFICER/AUTHORIZED   PO BOX 915267                                                        DALLAS             TX    75391‐5267
                                    AGENT
AME                                 8826 MAPLE ST                                                                                             OMAHA              NE    68134
AME EURO/BIRMINGHAM                 6256 LAHSER ROAD                                                                                          BIRMINGHAM         MI    48010
AME M EDSALL                        1245 BRAINARD WOODS DRIVE                                                                                 CENTERVILLE        OH    45458‐2901
AME SANDS                           14153 TUSCOLA RD                                                                                          CLIO               MI    48420‐8848
AMEAL CARTER JR                     36 LAUREL PL                                                                                              TRENTON            NJ    08618‐4018
AMEALIA WILLIAMSON                  20554 RYAN RD                                                                                             DETROIT            MI    48234‐1955
AMEC PLC
AMECIA D FULLER                     PO BOX 2704                                                                                               DETROIT            MI    48202‐0704
AMEDEE GAUTREAU                     174 MOODY ST APT 263                                                                                      WALTHAM            MA    02453‐5331
AMEDEO BELCULFINE                   155 BRANDY BROOK LANE                                                                                     ROCHESTER          NY    14612‐3065
AMEDEO DOMI JR                      2600 NYACK LANE                                                                                           DAYTON             OH    45439‐2937
AMEDEO DOMI JR                      2600 NYACK LN                                                                                             DAYTON             OH    45439‐2937
AMEDEO NICOLAI                      VIA LOVANIO, 19                                                                                           ROME                     00198
AMEDEO OLIVIERI                     VIA TORRE ANGIOLINI N.46             ITALY                                                                TORRE DE""         AK    26038
                                                                                                                                              PICENARDI
AMEDEO PAPPALARDO                   292 HEBERLE RD                                                                                            ROCHESTER          NY    14609‐1805
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Name                            Address1                            Address2                      Address3   Address4               City             State   Zip
AMEDEO SALVADOR                 2177 GARFIELD AVE                                                                                   NILES             OH     44446‐4205
AMEDEO SPADAFORA                12706 OSPREYS WAY                                                                                   DEWITT            MI     48820‐7863
AMEDEO, FRANK                   19 DUNDERAVE RD                                                                                     WHITE PLAINS      NY     10603‐3029
AMEDISYS HOME HEALTH SERVICES   JOHN HATCHETT                       5959 S SHERWOOD FOREST BLVD                                     BATON ROUGE       LA     70816‐6038
AMEDORI CARMINE M (497697)      ANGELOS PETER G                     100 N CHARLES STREET , ONE                                      BALTIMORE         MD     21201
                                                                    CHARLES CENTER
AMEDORI, CARMINE M              ANGELOS PETER G                     100 N CHARLES STREET, ONE                                       BALTIMORE        MD      21201‐3812
                                                                    CHARLES CENTER
AMEDURE, ANTHONY J              24 LINCOLN ST                                                                                       OXFORD           MI      48371‐3622
AMEDURE, LAURA A                24 LINCOLN ST                                                                                       OXFORD           MI      48371‐3622
AMEE HENLEY                     983 SHEP COOK AVE                                                                                   FORKLAND         AL      36740‐3248
AMEE R GHARBI                   8161 S POPLAR WAY                   APT 202                                                         CENTENNIAL       CO      80112‐3181
AMEE R HENLEY                   983 SHEP COOK AVE                                                                                   FORKLAND         AL      36740
AMEE WHITE                      12460 BURT RD                                                                                       BIRCH RUN        MI      48415‐9325
AMEEL, DANNY J                  831 FRUIT ST                                                                                        ALGONAC          MI      48001‐1417
AMEEL, HENRY C                  2641 W SHERDIAN RD                                                                                  PETOSKEY         MI      49770
AMEEL, LEO F                    43311 STATE ROUTE 154                                                                               LISBON           OH      44432‐8334
AMEEN AADIL                     408 HOLT CREEK CT                                                                                   NASHVILLE        TN      37211‐8534
AMEEN ABDULLAH                  28 WELLINGTON PL                                                                                    BURLINGTON       NJ      08016‐3330
AMEEN, ROBERT G                 6040 WESTKNOLL APT 557                                                                              FLINT            MI      48507
AMEENAH ALI                     921 DONALD HOLLOWELL PKWY                                                                           ATLANTA          GA      30318
AMEEP NIGAM
AMEER‐BEY, MUSTAFA              905 N LOMBARD ST                                                                                    WILMINGTON       TX      19801‐4025
AMEIDA D GREEN                  210 W PULASKI AVE                                                                                   FLINT            MI      48505‐6400
AMEIDA GREEN                    210 W PULASKI AVE                                                                                   FLINT            MI      48505‐6400
AMEJKA, DAVID                   44306 COYOTE BRUSH STREET                                                                           LANCASTER        CA      93536‐2384
AMEL CARMEL                     PO BOX 222                                                                                          MAGNOLIA         MS      39652
AMEL GONZALEZ                   PO BOX 2055                                                                                         SOUTH GATE       CA      90280‐9055
AMELDA GARGANO                  2250 WHISPERING MDWS NE                                                                             WARREN           OH      44483‐3671
AMELDA GRANT                    2812 CHASE ST                                                                                       ANDERSON         IN      46016‐5046
AMELDA P GARGANO                2250 WHISPERING MEADOWS                                                                             WARREN           OH      44483‐‐ 36
AMELIA A BELL                   739 E PIKE ST                                                                                       PONTIAC          MI      48342‐2975
AMELIA A BRAO                   3276 HAMMERBERG RD                                                                                  FLINT            MI      48507‐3258
AMELIA ALIFIER                  1201 SW 141 AVE J‐206                                                                               PEMBROKE PINES   FL      33027
AMELIA B ASKEW                  56 FERNWOOD STREET                                                                                  DAYTON           OH      45402
AMELIA BANDSUCH                 4517 FRUITLAND DR                                                                                   PARMA            OH      44134‐4534
AMELIA BARRA                    210 PENNSYLVANIA CT                                                                                 INDIANAPOLIS     IN      46225‐2353
AMELIA BAUHOFER                 42652 RAVENSBOURNE PARK ST                                                                          FREMONT          CA      94538‐3948
AMELIA BELL                     739 EAST PIKE STREET                                                                                PONTIAC          MI      48342‐2975
AMELIA BENKO                    C/O BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                      BOSTON HTS.      OH      44236
AMELIA BOTSIS                   86 SKYLINE CIR NW                                                                                   GRAND RAPIDS     MI      49504‐5990
AMELIA BRAO                     3276 HAMMERBERG RD                                                                                  FLINT            MI      48507‐3258
AMELIA BRUNER                   7232 COSNER DR                      AMELIA M BRUNER C/O JOYCE E                                     HUBER HEIGHTS    OH      45424‐3362
AMELIA BRYANT                   5333 LAPEER RD                                                                                      BURTON           MI      48509‐2227
AMELIA BURDICK                  3411 KILRUSH DR                                                                                     ARLINGTON        TX      76014‐3218
AMELIA CLEMENTONI               322 EXMORE AVE                                                                                      WILMINGTON       DE      19805‐2322
AMELIA COMBS                    221 PINEWOOD DR                                                                                     SANTEE           SC      29142
AMELIA CORTEZ                   19161 YACHT LN                                                                                      HUNTINGTON       CA      92646‐2123
                                                                                                                                    BEACH
AMELIA CROSS                    89 COUNTY ROAD 255                                                                                  TOWN CREEK       AL      35672‐4700
AMELIA CULLEN                   126 MALDEN RD                                                                                       BROWNSVILLE      PA      15417‐9213
AMELIA CUNNINGHAM               108 BURNING BRUSH DR                                                                                ROCHESTER        NY      14606‐4644
AMELIA D KAGY                   2025 RED FOX RUN                                                                                    CORTLAND         OH      44410
AMELIA D WALL                   2052 4TH AVE APT 3                                                                                  SAN DIEGO        CA      92101
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Name                     Address1                       Address2                   Address3     Address4               City               State   Zip
AMELIA DEER              1075 TIMMONS ST UNIT 6                                                                        SEMINOLE            OK     74868
AMELIA DESBY             ST JOHN'S                      C/O BILLING DEPT (JANIS)                                       ROCHESTER           NY     14620
AMELIA DICKAN            12 HAVELL ST                                                                                  OSSINING            NY     10562‐3413
AMELIA DOLAN             9917 SHADY LN                                                                                 BROOKLYN            OH     44144‐3010
AMELIA DOUGLAS           11321 NIAGARA DR                                                                              FISHERS             IN     46037‐4072
AMELIA E SMITH           4906 TENSHAW DR                                                                               DAYTON              OH     45418
AMELIA F GIPSON          240 POMEROY DR                                                                                SHREVEPORT          LA     71115‐2612
AMELIA FREDENHAGEN       C/O F HABDAS 6S 225 COHASSET                                                                  NAPERVILLE           IL    60540
AMELIA GIPSON            240 POMEROY DR                                                                                SHREVEPORT          LA     71115‐2612
AMELIA GOMEZ             9516 KAIER ST                                                                                 DETROIT             MI     48209‐2566
AMELIA HERWATT           6410 NIGHT VISTA DR                                                                           PARMA               OH     44129‐6369
AMELIA HODGE             3291 HIGHWAY 171                                                                              STONEWALL           LA     71078‐9433
AMELIA HUMMEL            85 HILLCREST RD                                                                               TONAWANDA           NY     14150‐5319
AMELIA INVESTMENTS INC   C/O OHIO EQUITIES INC          333 W FIRST ST STE 251                                         DAYTON              OH     45402
AMELIA IRICK             750 S WABASH AVE                                                                              KOKOMO              IN     46901‐6337
AMELIA ISLAND CONCOURS   DELEGANCE FOUNDATION           3016 MERCURY RD S                                              JACKSONVILLE        FL     32207‐7976
AMELIA J LACERVA         918 LAWRENCE                                                                                  GIRARD              OH     44420‐1910
AMELIA J LEFLORE         901 W HAMILTON AVE                                                                            FLINT               MI     48504‐7249
AMELIA JENNINGS          1115 KIRKHAM TRCE                                                                             LOUISVILLE          KY     40299‐4668
AMELIA JULIAN            300 MIRABELLA CIR              UNIT 202                                                       VENICE              FL     34292‐2498
AMELIA KADER             PO BOX 359                                                                                    PORT SANILAC        MI     48469‐0359
AMELIA KERNAN            2923 NOEL DR                                                                                  YOUNGSTOWN          OH     44509‐3025
AMELIA KRAMER            32 MITCHELL DR                                                                                TOMS RIVER          NJ     08755‐5178
AMELIA LACERVA           918 LAWRENCE AVE                                                                              GIRARD              OH     44420‐1910
AMELIA LEFLORE           901 W HAMILTON AVE                                                                            FLINT               MI     48504‐7249
AMELIA LONDON            98 BEECHWOODE LN                                                                              PONTIAC             MI     48340‐2200
AMELIA LOPEZ             13913 BREST ST                                                                                SOUTHGATE           MI     48195‐1702
AMELIA MACIEJEWSKI       561 W MUNGER RD BOX 64                                                                        MUNGER              MI     48747
AMELIA MAHL              LINWOOD RESIDENCE              200 S FORTH ST # 302                                           LINWOOD             MI     48634
AMELIA MAJESKE           950 EMERSON DR                                                                                TROY                MI     48084‐1688
AMELIA MANTONI           11A HILL AVE                                                                                  EASTHAMPTON         MA     01027‐1113
AMELIA MARCHETTI         13338 FOREST RIDGE DR                                                                         PALOS HEIGHTS        IL    60463‐3158
AMELIA MC NUTT           2885 EGGERT RD                                                                                TONAWANDA           NY     14150‐8139
AMELIA MCBRIDE           5910 W COLONY RD                                                                              SAINT JOHNS         MI     48879‐8504
AMELIA MCGEE             3902 COLLEGE AVE                                                                              KANSAS CITY         MO     64130‐1436
AMELIA MONAGAS           PO BOX 60920                                                                                  ROCHESTER           NY     14606‐0920
AMELIA MORGA             40353 LA GRANGE DR                                                                            STERLING HEIGHTS    MI     48313‐5434
AMELIA MOURNING          2608 N 100TH ST                                                                               KANSAS CITY         KS     66109‐4500
AMELIA NOLAN             3280 E BUCKSKIN LN                                                                            HERNANDO            FL     34442‐8002
AMELIA OLIVER            PO BOX 595                                                                                    DULUTH              GA     30096‐0011
AMELIA PARKS             8704 MEADOW DR                                                                                FORT SMITH          AR     72908‐8534
AMELIA PILOT             25115 RAYBURN DR                                                                              WARREN              MI     48089‐4650
AMELIA PITTS             926 N HIGHLAND AVE.                                                                           GIRARD              OH     44420‐2024
AMELIA RODRIGUEZ         3725 GRINDLEY PARK ST                                                                         DEARBORN            MI     48124‐3339
AMELIA RUSH              2114 KERRI LYNN LN                                                                            KOKOMO              IN     46902‐7410
AMELIA S STREB           34 MCDONALD AVE                                                                               NILES               OH     44446‐3922
AMELIA SALINAS           1108 PRATT ST                                                                                 VAN WERT            OH     45891‐2427
AMELIA SARSFIELD         7422 S 20TH ST                                                                                PHOENIX             AZ     85042
AMELIA SEMPROCH          2036 VALLEY BROOK RD                                                                          STREETSBORO         OH     44241‐5831
AMELIA STREB             34 MCDONALD AVE                                                                               NILES               OH     44446‐3922
AMELIA TAFROW            14 HARWICK DR                                                                                 TRENTON             NJ     08619‐3011
AMELIA TOMAINO           6378 LOCUST STREET EXT                                                                        LOCKPORT            NY     14094‐6512
AMELIA TOMASELLI         20 EISENHOWER DR                                                                              LOCKPORT            NY     14094‐5759
AMELIA VALENTINO         219 GILLIS ST                                                                                 SOLVAY              NY     13209‐2336
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Name                       Address1                                Address2                        Address3   Address4               City                 State Zip
AMELIA VAZQUEZ             25231 CALLE SOMBRE                                                                                        LAGUNA NIGUEL         CA 92677
AMELIA VELOZ               3248 SHALE RD                                                                                             PALMDALE              CA 93550‐8306
AMELIE ALISHA JAKOBI       KOHLERSTR. 2                                                                       D‐75365 CALW GERMANY
AMELIE WADEWITZ            BERND WADEWITZ                          RHODODEDRONWEG 15                          80935 MUNICH GERMANY
AMELING, JANICE R          3554 WILLIAMSBURG DR                                                                                      OREGON               OH   43616‐3031
AMELIO A DONOFRIO          C/O AMERIPRISE FINANCIAL SERVICES INC   401 FRANKLIN AVE STE 101                                          GARDEN CITY          NY   11530

AMELIO DICARLO             45 DANFORTH ST                                                                                            BUFFALO              NY   14213‐1041
AMELL, CAROLYN L           920 JOHN R RD APT 800                                                                                     TROY                 MI   48083‐4312
AMELL, JERRY E             2957 OAKSHIRE AVE                                                                                         BERKLEY              MI   48072‐1323
AMELLA JR, ALBERT          19224 HIGHLIGHT DRIVE NORTH                                                                               CLINTON TWP          MI   48035
AMELLA, PROVIDENCE M       21900 ALICE                                                                                               ST CL SHS            MI   48080‐2497
AMELLA, PROVIDENCE M       21900 ALICE ST                                                                                            SAINT CLAIR SHORES   MI   48080‐2497

AMELONG, NORMAN L          183 FAIRGATE DR                                                                                           SAINT PETERS         MO   53376‐4488
AMELOOT, RAYMOND           79701 CAPAC RD                                                                                            ARMADA               MI   48005‐1111
AMELUNG, LILLIAN P         302 N EDGEHILL AVE                                                                                        YOUNGSTOWN           OH   44515‐1511
AMEN J FREDERICK           48 N MERRIMAC ST                                                                                          PONTIAC              MI   48340‐2528
AMEN RA MARWAN T           2690 BURLINGAME ST                                                                                        DETROIT              MI   48206‐1432
AMEN, ELVIN MARIAN
AMEN, MARY V               3717 BENNETT AVE                                                                                          FLINT                MI   48506‐3105
AMENA G THOMPSON           6352 FIRESIDE DR APT D                                                                                    CENTERVILLE          OH   45459‐2065
AMEND JR, LELAND           23 WOODLANDS                            C/O SUSAN GILLETTE                                                BROCKPORT            NY   14420‐2651
AMEND, DONALD L            25 HILLTOP DR                                                                                             LE ROY               NY   14482‐1419
AMEND, JENNIE L            3540 LEE HILL RD                                                                                          MAYVILLE             MI   48744‐9723
AMEND, JOSEPH C            25 W 44TH ST                                                                                              BAYONNE              NJ   07002‐3015
AMEND, PATRICIA            16599 CEDAR CIRCLE                                                                                        OMAHA                NE   68130‐1641
AMEND, PAULINE             530 BEECH ST                                                                                              VASSAR               MI   48768‐8801
AMEND, RICHARD A           185 SAINT CLARE TER                                                                                       TONAWANDA            NY   14150‐4641
AMEND, RONALD L            3565 RINGLE RD                                                                                            AKRON                MI   48701
AMENDOL ARUTHUR (491932)   BEVAN & ASSOCIATES                      10360 NORTHFIELD ROAD , BEVAN                                     NORTHFIELD           OH   44067
                                                                   PROFESSIONAL BLDG
AMENDOL, JOSEPH A          4556 ALDERWOOD DR                                                                                         CANFIELD             OH   44406‐9202
AMENDOL, LAWRENCE M        4443 LANTERMAN RD                                                                                         AUSTINTOWN           OH   44515‐1200
AMENDOL, MELODY A          4443 LANTERMAN RD                                                                                         AUSTINTOWN           OH   44515‐1200
AMENDOL, MELODY ANNE       4443 LANTERMAN RD                                                                                         AUSTINTOWN           OH   44515‐1200
AMENDOLA, ANNE             816 ORLANDO STREET                                                                                        EDISON               NJ   08817‐3342
AMENDOLA, ANNE             816 ORLANDO ST                                                                                            EDISON               NJ   08817‐3342
AMENDOLA, DAVID M          127 NEW DOVER AVE                                                                                         COLONIA              NJ   07067‐2457
AMENDOLAIR, DONNA M        12 DARBY CT                                                                                               ANNANDALE            NJ   08801
AMENDT, DAVID A            532 RIVERFRONT WAY                                                                                        KNOXVILLE            TN   37915‐2577
AMENG MARGARITA            12617 LADY FERN CIR                                                                                       BOCA RATON           FL   33428‐4777
AMENG, ERNIE M             2316 KENTFIELD ST                                                                                         SIMI VALLEY          CA   93065‐1425
AMENHEN, PHILIP            PO BOX 956303                                                                                             DULUTH               GA   30095‐9506
AMENO, TERRY C             482 N ELLICOTT CREEK RD                                                                                   AMHERST              NY   14228‐2320
AMENO, THOMAS A            90 WESTWOOD RD                                                                                            LANCASTER            NY   14086‐9518
AMENT, FRANK               1681 ROLLING WOODS DR                                                                                     TROY                 MI   48098‐6603
AMENT, GLENN J             1015 MACE ST                                                                                              GREENSBURG           PA   15601‐4822
AMENT, KAROLINA K.         3270 MARIAN DR                                                                                            TRENTON              MI   48183‐3956
AMENT, RICHARD A           123 E SCARBOROUGH FARE                                                                                    STEWARTSTOWN         PA   17363‐8306
AMENT, ROBERT J            19951 E DOYLE PL                                                                                          GROSSE POINTE        MI   48236‐2404
                                                                                                                                     WOODS
AMENT, WAYNE C             358 ZOAR CHURCH RD                                                                                        WRIGHT CITY          MO   63390
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Name                                Address1                             Address2                        Address3                   Address4                 City            State Zip
AMENTA COSMA (493644)               BEVAN & ASSOCIATES                   10360 NORTHFIELD ROAD , BEVAN                                                       NORTHFIELD       OH 44067
                                                                         PROFESSIONAL BLDG
AMENTA, PETER                       207 HOMESTEAD DRIVE                                                                                                      N TONAWANDA     NY   14120‐2462
AMER ABUGHAIDA                      6341 WOODMERE CT                                                                                                         FLINT           MI   48532‐2165
AMER AHMAD                          5506 MORROW RD                                                                                                           TOLEDO          OH   43615‐3528
AMER MOUSSA ABDERAHIM RIAD
AMER SHOEB                          16021 KNOLLWOOD DR                                                                                                       DEARBORN        MI   48120‐1309
AMER'S WEST HILL MARATHON           569 W MARKET ST                                                                                                          AKRON           OH   44303‐1838
AMER, DAVID B                       10762 WHITEFORD RD                                                                                                       PETERSBURG      MI   49270‐9313
AMER, MARK                          253 MEADOWLAKE RD                                                                                                        CANTON          MI   48188
AMERA REALTY SERVICES, INC.         2900 N UNIVERSITY DR                                                                                                     CORAL SPRINGS   FL   33065‐5083
AMERA REALTY SERVICES, INC.         ATTN: CORPORATE OFFICER/AUTHORIZED   2900 N UNIVERSITY DR                                                                CORAL SPRINGS   FL   33065‐5083
                                    AGENT
AMERAAN INTERNATIONAL INC.          5630 WARD RD                                                                                                             ARVADA          CO   80002‐1310
AMERAIR INDUSTRIES INC              ATTN ACCOUNTS RECEIVABLE             PO BOX 2705                                                                         WOODSTOCK       GA   30188‐1384
AMERCIAN AXLE & MFG DE MEXICO       SCOTT GRAFF                          CARR IRAPUATO SILAO KM 5.3      PARQUE INDUSTRIAL FIPASI   SILAO GJ 36100 MEXICO
AMEREN                              STEVE SCHMITZ                        1525 GRATIOT STREET                                                                 SAINT LOUIS     MO
AMEREN CITIBANK                     AMEREN UE                            ONE AMEREN PLAZA, 1901                                                              SAINT LOUIS     MO   63103
                                                                         CHOUTEAU AVENUE
AMEREN ENERGY RELATED CO            PO BOX 66149                         MC‐921                                                                              SAINT LOUIS     MO   63166‐6149
AMEREN ENERGY RELATED CO            ATTN: CORPORATE OFFICER/AUTHORIZED   PO BOX 66149                    MC‐921                                              SAINT LOUIS     MO   63166‐6149
                                    AGENT
AMEREN UE                           PO BOX 66301                                                                                                             SAINT LOUIS     MO   63166‐6301
AMEREN UE MO                        PO BOX 66301                                                                                                             ST LOUIS        MO   63166‐6301
AMEREN UE MO                        P O BOX 66529                                                                                                            ST LOIUS        MO   63166‐6529
AMEREN/CILCO                                                             8420 N UNIVERSITY ST                                                                                IL   61615
AMEREX CORP                       7595 GADSDEN HWY                                                                                                           TRUSSVILLE      AL   35173‐1629
AMEREX CORP., DBA GETZ            KERI KILLION                           540 S MAIN ST                                                                       NORTH PEKIN     IL   61554‐1165
MANUFACTURERING
AMERI CAN CUSTOMSHOUSE BROKERSINC PEACE BRIDGE PLAZA                                                                                                         BUFFALO         NY   14213

AMERI CO CARRIERS INC               PO BOX 71117                                                                                                             CHICAGO         IL   60694‐1117
AMERI HOME CARE, INC.               2990 W GRAND BLVD                                                                                                        DETROIT         MI   48202‐5006
AMERI PRIDE LINEN & APPAREL         ATTN: DON PHILLIPS                   3909 NEW COURT AVE                                                                  SYRACUSE        NY   13206‐1641
AMERI‐LINE INC                      21333 LITTLE BROOK WAY                                                                                                   STRONGSVILLE    OH   44149‐2262
AMERICA BANKS                       21907 SCHWIER RD                                                                                                         SUNMAN          IN   47041‐9057
AMERICA J REYNOLDS                  741 ELLSWORTH DR                                                                                                         TROTWOOD        OH   45426‐2515
AMERICA ONLINE INC                  ATTN ACCOUNTS RECEIVABLE             GENERAL POST OFFICE             PO BOX 5696                                         NEW YORK        NY   10087‐5696
AMERICA PRICE                       474 CARLOTTA DR                                                                                                          YOUNGSTOWN      OH   44504‐1320
AMERICA REYNOLDS                    741 ELLSWORTH DR                                                                                                         TROTWOOD        OH   45426‐2515
AMERICA SHAW                        10900 UNIT B VILLAGE GROVE DR                                                                                            SAINT LOUIS     MO   63123
AMERICA WEST AIRLINES                                                    4000 E SKY HARBOR BLVD                                                                              AZ   85034
AMERICA'S AUTO AUCTION GREENVILLE   2415 HIGHWAY 101 S                                                                                                       GREER           SC   29651‐7228

AMERICA'S BODY COMPANY              MARK ROBINSON                        PO BOX 650                                                                          SHILLINGTON     PA   19607‐0650
AMERICA'S BODY COMPANY              1 ACORN DR                                                                                                               CLEVELAND       OH   44146‐5550
AMERICA'S BODY COMPANY
AMERICA'S BODY COMPANY‐TEXAS
AMERICA'S BODY COMPANY‐TEXAS        4495 W STATE HIGHWAY 71                                                                                                  LA GRANGE       TX   78945‐5150
AMERICA'S CASH EXPRESS              5111 GREENFIELD AVENUE SUITE 124                                                                                         DALLAS          TX   75206
AMERICA'S CHOICE AUTOMOTIVE         4503 HIGHWAY 6                                                                                                           SUGAR LAND      TX   77478‐4489
AMERICA'S PREMIER MORTGAGE          ATTN: TIM GREEN                      4381 DAVISON RD                                                                     BURTON          MI   48509‐1452
AMERICA'S SERVICE STATION           2652 FM 407 E STE 220                                                                                                    BARTONVILLE     TX   76226‐7024
AMERICADE                           1382 RIDGE ROAD                                                                                                          GLENS FALLS     NY   12804
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Name                                  Address1                         Address2                      Address3   Address4                  City               State   Zip
AMERICAN & EFIRD INC                  22 AMERICAN ST                                                                                      MT HOLLY            NC     28120‐2150
AMERICAN & FOREIGN CAR CLINIC                                          1604 W NORTHWEST HWY                                                                    IL    60004
AMERICAN A‐1                                                           2601 SAINT RAYMONDS AVE                                                                NY     10461
AMERICAN ACADEMY FOR PROFESSIONAL     PO BOX 917                                                                                          NEW YORK            NY     10272‐0917
LAW ENFORCEMENT
AMERICAN ACADEMY OF ACTUARIES         PO BOX 95991                                                                                        CHICAGO             IL     60694‐5991
AMERICAN ACADEMY OF DISABILITY        EVALUATING PHYSICIANS            223 W JACKSON BLVD STE 1104                                        CHICAGO             IL     60606‐6900
AMERICAN ACADEMY OF DISABILITY        223 W JACKSON BLVD STE 1104                                                                         CHICAGO             IL     60606‐6900
AMERICAN ACADEMY OF DISABILITY EVAL   223 W JACKSON BLVD STE 1104                                                                         CHICAGO             IL     60606‐6900

AMERICAN ACADEMY OF FAMILY            PO BOX 419662                                                                                       KANSAS CITY        MO      64141‐6662
PHYSICIANS
AMERICAN ACCESSORIES                  AMERICAN COMPONENTS DIV          931 HILL ST                                                        DANDRIDGE           TN     37725
AMERICAN ADV/WSHNGTN                  1400 K ST NW STE 1000                                                                               WASHINGTON          DC     20005‐2403
AMERICAN ADVERTISING FED              ATTN LAUREL PENHALD\W SNYDER     PO BOX 90096                                                       WASHINGTON          DC     20090‐0096
AMERICAN AEROSPACE CORPORATION        1301 SARATOGA ST                 DELAND MUNICIPAL AIRPORT                                           DELAND              FL     32724‐2135

AMERICAN AGRICULTURAL                 1501 E WOODFIELD RD                                                                                 SCHAUMBURG          IL     60173
AMERICAN AGRICULTURAL INS             1501 E WOODFIELD RD                                                                                 SCHAUMBURG          IL     60173
AMERICAN AGRICULTURAL INSURANCE       GARY BRINKLEY                    1501 E. WOODFIELD RD                                               SCHAUMBURG          IL     60173
COMPANY / FARM BUREAU
AMERICAN AIKOKU ALPHA                 NO ADVERSE PARTY
AMERICAN AIKOKU ALPHA INC             520 LAKE COOK RD STE 180                                                                            DEERFIELD          IL      60015‐4900
AMERICAN AIRLINES                                                      1545 JOEL ALLER LN #124                                                               NV      89119
AMERICAN AIRLINES                     ATTN ANDREW SOULE                4333 AMON CARTER BLVD                                              FORT WORTH         TX      76155‐2605
AMERICAN AIRLINES CARGO               2550 MIDWAY RD                                                                                      CARROLLTON         TX      75006
AMERICAN AIRLINES GARAGE                                               9829 AIR CARGO RD #17                                                                 MO      63145
AMERICAN AMBULANCE                                                     3747 SILVER STAR RD                                                                   FL      32808
AMERICAN APPARISAL‐ESPANA SA          PRINCIPE DE VERGARA 9            MADRID                                   SPAIN 09/14/07 TW SPAIN
AMERICAN APPLIANCE PARTS WRHSE        1966 HUNTERS RIDGE DR                                                                               BLOOMFIELD HILLS    MI     48304‐1036
AMERICAN APPRAISAL ASSOCIATES         411 E WISCONSIN AVE                                                                                 MILWAUKEE           WI     53202
AMERICAN APPRAISAL ASSOCIATES         411 E WISCONSIN AVE STE 1900     PO BOX 664                                                         MILWAUKEE           WI     53202‐4466
AMERICAN ARAB CHAMBER OF              12740 W WARREN AVE STE 101                                                                          DEARBORN            MI     48126‐4530
COMMERCE
AMERICAN ARBITRATION ASSN INC         140 W 51ST ST                                                                                       NEW YORK            NY     10020
AMERICAN ARBITRATION ASSOCIATION      950 WARREN AVE                                                                                      EAST PROVIDENCE     RI     02914‐1414

AMERICAN ARBOR CARE                   25131 EBONY LN                                                                                      LOMITA              CA     90717‐1943
AMERICAN ASPHALT INC                  824 S BUTTERFIELD RD                                                                                MUNCIE              IN     47303‐5504
AMERICAN ASSOC OF                     DBA AAOHN INC                    7794 GROW DR                                                       PENSACOLA           FL     32514‐7072
OCCUPATIONALHEALTH NURSES INC
AMERICAN ASSOCIATED REALTORS          ATTN: GEORGE ABIADAL             576 WEYBRIDGE DR                                                   BLOOMFIELD HILLS   MI      48304‐1080
AMERICAN ASSOCIATION FOR LABOR        5301 BUCKEYSTOWN PIKE STE 350                                                                       FREDERICK          MD      21704‐8373
AMERICAN ASSOCIATION FOR              5301 BUCKEYSTOWN PIKE STE 350                                                                       FREDERICK          MD      21704‐8373
LABORATORY
AMERICAN ASSOCIATION FOR              5301 BUCKEYSTOWN PIKE STE 350                                                                       FREDERICK          MD      21704‐8373
LABORATORY ACCREDITATION
AMERICAN ASSOCIATION FOR THE
ADVANCEMENT OF SCIENCE
AMERICAN ASSOCIATION OF               AIRPORT EXECUTIVES REAL ESTATE   601 MADISON ST STE 400        LLC                                  ALEXANDRIA          VA     22314‐1756
AMERICAN ASSOCIATION OF               EXPORTERS & IMPORTERS            1050 17TH ST NW STE 810                                            WASHINGTON          DC     20036‐5514
AMERICAN ASSOCIATION OF AGENTSAND     PO BOX 53                                                                                           GRAND PRAIRIE       TX     75053
ADJUSTERS
                                      09-50026-mg            Doc 7123-3    Filed 09/24/10 Entered 09/24/10 15:05:32                           Exhibit B
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Name                                  Address1                        Address2                           Address3                Address4                 City              State Zip
AMERICAN AUTO & TRUCK SERVICE         201 NW HILLERY ST                                                                                                   BURLESON           TX 76028‐4121
CENTER
AMERICAN AUTO AUCTION                 123 WILLIAMS ST                                                                                                     NORTH DIGHTON     MA    02764‐1201
AMERICAN AUTO MASTERS                 2219 E GRAUWYLER RD                                                                                                 IRVING            TX    75061
AMERICAN AUTO SERVICE                                                 3730 N STILES AVE                                                                                     OK    73105
AMERICAN AUTO SERVICE                 1508 SAMMONDS RD                                                                                                    PLANT CITY        FL    33563‐6318
AMERICAN AUTO/RCKFRD                  PO BOX 2116                                                                                                         LOVES PARK        IL    61130‐0116
AMERICAN AUTOMOTIVE                   40 BUCKLEY RD                                                                                                       MARLBORO          NJ    07746‐2110
AMERICAN AUTOMOTIVE                   926 E ELVA ST                                                                                                       IDAHO FALLS       ID    83401‐2157
AMERICAN AUTOMOTIVE CENTER            11723 BOUL GOUIN O                                                                         PIERREFONDS QC H8Z 1V7
                                                                                                                                 CANADA
AMERICAN AUTOMOTIVE LEASING          675 N WASHINGTON ST STE 410      C/O PAMELA SEDERHOLM                                                                ALEXANDRIA        VA    22314‐1939
ASSOCIATES
AMERICAN AUTOMOTIVE OF SUNRISE, INC. 7738A NW 44TH ST                                                                                                     LAUDERHILL         FL   33351

AMERICAN AUTOMOTIVE PARTS INC      7007 N AUSTIN AVE                                                                                                      NILES             IL    60714‐4601
AMERICAN AUTOMOTIVE SERVICE CENTER PO BOX 2454                                                                                                            AUBURN            WA    98071‐2454

AMERICAN AUTOMOTIVE SERVICE CENTER 12001 PACIFIC HWY SW                                                                                                   LAKEWOOD          WA    98499‐1015

AMERICAN AUTOWIRE                     MICHAEL MANNING                 150 HELLER PLACE #17W                                                               BELLMAWR          NJ    08031
AMERICAN AXLE                         1840 HOLBROOK                                                                                                       DETROIT           MI    48121
AMERICAN AXLE
AMERICAN AXLE                         1840 HOLBROOK ST                                                                                                    DETROIT           MI    48212‐3442
AMERICAN AXLE                         ATTN: CFO: MIKE SIMONTE         1 DAUCH DR                                                                          DETROIT           MI    48211‐1115
AMERICAN AXLE & MANUFACTURING         2995 RIVER ROAD                                                                                                     TONAWANDA         NY
AMERICAN AXLE & MANUFACTURING         8435 SAINT AUBIN ST                                                                                                 DETROIT           MI    48212‐3637
AMERICAN AXLE & MANUFACTURING         GENERAL COUNSEL                 1840 HOLBROOK ST                                                                    DETROIT           MI    48212‐3442
AMERICAN AXLE & MANUFACTURING         MARK MORENO                     1 DAUCH DR                                                                          DETROIT           MI    48211‐1198
AMERICAN AXLE & MANUFACTURING         SCOTT GRAFF                     CHEEKTOWAGO FACILITY               2799 WALDEN AVE.                                 HOLLAND           MI    49424
AMERICAN AXLE & MANUFACTURING         VICE PRESIDENT OF ENGINEERING   2965 TECHNOLOGY DR                                                                  ROCHESTER HILLS   MI    48309‐3589
AMERICAN AXLE & MANUFACTURING         SCOTT GRAFF                     2799 WALDEN AVE                    CHEEKTOWAGO FACILITY                             CHEEKTOWAGA       NY    14225‐4748
AMERICAN AXLE & MANUFACTURING         ATTN: GENERAL COUNSEL           1 DAUCH DR                                                                          DETROIT           MI    48211‐1115
CORPORATION
AMERICAN AXLE & MANUFACTURING INC     2390 KENMORE AVE                                                                                                    TONAWANDA         NY    14150‐7847

AMERICAN AXLE & MANUFACTURING INC     2779 WALDEN AVE                                                                                                     CHEEKTOWAGA       NY    14225

AMERICAN AXLE & MANUFACTURING, INC. ATTN: PLANT MANAGER               2390 KENMORE AVE                   TONAWANDA FORGE PLANT                            TONAWANDA         NY    14150‐7847

AMERICAN AXLE & MANUFACTURING, INC. 1 DAUCH DR                                                                                                            DETROIT           MI    48211‐1198

AMERICAN AXLE & MANUFACTURING, INC. 1840 HOLBROOK ST                                                                                                      DETROIT           MI    48212‐3442

AMERICAN AXLE & MANUFACTURING, INC. 2390 KENMORE AVE                  TONAWANDA FORGE PLANT                                                               TONAWANDA         NY    14150‐7847

AMERICAN AXLE & MANUFACTURING, INC. ATTN: GENERAL COUNSEL             1 DAUCH DR                                                                          DETROIT           MI    48211‐1198

AMERICAN AXLE & MANUFACTURING, INC. BAKER & HOSTETLER                 3200 NATIONAL CITY CENTER / 1900                                                    CLEVELAND         OH    44114
                                                                      EAST NINTH STREET
AMERICAN AXLE & MANUFACTURING, INC. ATTN: JAMES BARCZACK              2390 KENMORE AVE                                                                    TONAWANDA         NY    14150‐7847

AMERICAN AXLE & MANUFACTURING, INC.
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Name                                Address1                        Address2                      Address3                   Address4                    City              State Zip
AMERICAN AXLE & MFG                 1 DAUCH DR                                                                                                           DETROIT            MI 48211‐1115
AMERICAN AXLE & MFG DE MEXICO SA CV AV COMERCIANTES #1300                                                                    SILAO GTO GJ 36100 MEXICO

AMERICAN AXLE & MFG DE MEXICO SA CV AV COMERCIANTES #1300           PARQUE INDUSTRIAL FIPASI                                 SILAO GTO GJ 36100 MEXICO

AMERICAN AXLE & MFG HOLDINGS       1 DAUCH DR                                                                                                            DETROIT           MI   48211‐1198
AMERICAN AXLE & MFG HOLDINGS I     1 DAUCH DR                                                                                                            DETROIT           MI   48211‐1198
AMERICAN AXLE & MFG HOLDINGS INC   1 DAUCH DR                                                                                                            DETROIT           MI   48211‐1198
AMERICAN AXLE & MFG HOLDINGS INC   2799 WALDEN AVE                                                                                                       BUFFALO           NY   14225‐4748
AMERICAN AXLE & MFG HOLDINGS INC   1 MANUFACTURING DR                                                                                                    THREE RIVERS      MI   49093‐8914
AMERICAN AXLE & MFG HOLDINGS INC   1001 E DELAVAN AVE                                                                                                    BUFFALO           NY   14215‐3148
AMERICAN AXLE & MFG HOLDINGS INC   1840 HOLBROOK ST                                                                                                      DETROIT           MI   48212‐3442
AMERICAN AXLE & MFG HOLDINGS INC   2390 KENMORE AVE                                                                                                      TONAWANDA         NY   14150‐7847
AMERICAN AXLE & MFG HOLDINGS INC   2779 WALDEN AVE                                                                                                       CHEEKTOWAGA       NY   14225
AMERICAN AXLE & MFG HOLDINGS INC   2965 TECHNOLOGY DR                                                                                                    ROCHESTER HILLS   MI   48309‐3589
AMERICAN AXLE & MFG HOLDINGS INC   2995 RIVER ROAD                                                                                                       TONAWANDA         NY
AMERICAN AXLE & MFG HOLDINGS INC   3255 ALLIANCE RD NW                                                                                                   MALVERN           OH   44644‐9756
AMERICAN AXLE & MFG HOLDINGS INC   8435 SAINT AUBIN ST                                                                                                   DETROIT           MI   48212‐3637
AMERICAN AXLE & MFG HOLDINGS INC   ANDREW Z. SPILKIN                201 W BIG BEAVER RD STE 500                                                          TROY              MI   48084‐4160
AMERICAN AXLE & MFG HOLDINGS INC   ATTN: ALBERT ADAMS               3200 NATIONAL CITY CTR        1900 EAST 9TH STREET                                   CLEVELAND         OH   44114‐3485
AMERICAN AXLE & MFG HOLDINGS INC   ATTN: PLANT MANAGER              2390 KENMORE AVE              TONAWANDA FORGE PLANT                                  TONAWANDA         NY   14150‐7847

AMERICAN AXLE & MFG HOLDINGS INC
AMERICAN AXLE & MFG HOLDINGS INC   45 W OAKWOOD RD                                                                                                       OXFORD            MI   48371‐1631
AMERICAN AXLE & MFG HOLDINGS INC   461 KNOX CT                                                                                                           MINERVA           OH   44657
AMERICAN AXLE & MFG HOLDINGS INC   AV COMERCIANTES #1300                                                                     SILAO GTO GJ 36100 MEXICO

AMERICAN AXLE & MFG HOLDINGS INC   AV COMERCIANTES #1300            PARQUE INDUSTRIAL FIPASI                                 SILAO GTO GJ 36100 MEXICO

AMERICAN AXLE & MFG HOLDINGS INC   GENERAL COUNSEL                  1840 HOLBROOK ST                                                                     DETROIT           MI   48212‐3442
AMERICAN AXLE & MFG HOLDINGS INC   SCOTT GRAFF                      1 SAGINAW DRIVE                                                                      THREE RIVERS      MI   49093
AMERICAN AXLE & MFG HOLDINGS INC   SCOTT GRAFF                      1001 E DELAVAN AVE                                                                   BUFFALO           NY   14215‐3148
AMERICAN AXLE & MFG HOLDINGS INC   SCOTT GRAFF                      1001 EAST DELAVAN AVENUE                                                             THREE RIVERS      MI   49093
AMERICAN AXLE & MFG HOLDINGS INC   SCOTT GRAFF                      1840 HOLBROOK                                                                        BUFFALO           NY   14215
AMERICAN AXLE & MFG HOLDINGS INC   SCOTT GRAFF                      1840 HOLBROOK ST                                                                     DETROIT           MI   48212‐3442
AMERICAN AXLE & MFG HOLDINGS INC   SCOTT GRAFF                      8435 ST AUBIN                                                                        PAULS VALLEY      OK
AMERICAN AXLE & MFG HOLDINGS INC   SCOTT GRAFF                      2799 WALDEN AVE               CHEEKTOWAGO FACILITY                                   CHEEKTOWAGA       NY   14225‐4748
AMERICAN AXLE & MFG HOLDINGS INC   SCOTT GRAFF                      3255 ALLIANCE RD. NW                                                                 ELKHART LAKE      WI   53020
AMERICAN AXLE & MFG HOLDINGS INC   SCOTT GRAFF                      AV DAS NACOES 2051            BAIRRO ESTACAO             NOGAROLE ROCCA ITALY
AMERICAN AXLE & MFG HOLDINGS INC   SCOTT GRAFF                      CARR IRAPUATO SILAO KM 5.3    PARQUE INDUSTRIAL FIPASI   SILAO GJ 36100 MEXICO
AMERICAN AXLE & MFG HOLDINGS INC   SCOTT GRAFF                      CHEEKTOWAGO FACILITY          2799 WALDEN AVE.                                       HOLLAND           MI   49424
AMERICAN AXLE & MFG HOLDINGS INC   VICE PRESIDENT OF ENGINEERING    2965 TECHNOLOGY DR                                                                   ROCHESTER HILLS   MI   48309‐3589
AMERICAN AXLE & MFG HOLDINGS INC                                    1 DAUCH DR                                                                           DETROIT           MI   48211
AMERICAN AXLE & MFG INC            1840 HOLBROOK ST                                                                                                      DETROIT           MI   48212‐3442
AMERICAN AXLE & MFG INC            PO BOX 1210                                                                                                           BUFFALO           NY   14240‐1210
AMERICAN AXLE & MFG INC            ACCOUNTS PAYABLE DEPT            ONE DAUCH DRIVE                                                                      DETROIT           MI   48211
AMERICAN AXLE & MFG INC            1 DAUCH DR                                                                                                            DETROIT           MI   48211‐1198
AMERICAN AXLE & MFG INC            1 MANUFACTURING DR                                                                                                    THREE RIVERS      MI   49093‐8907
AMERICAN AXLE & MFG INC            2799 WALDEN AVE                                                                                                       BUFFALO           NY   14225‐4749
AMERICAN AXLE & MFG INC            2965 TECHNOLOGY DR                                                                                                    ROCHESTER HILLS   MI   48309‐3589
AMERICAN AXLE & MFG INC            8435 SAINT AUBIN ST                                                                                                   DETROIT           MI   48212‐3637
AMERICAN AXLE & MFG INC            1001 E DELAVAN AVE                                                                                                    BUFFALO           NY   14215‐3148
AMERICAN AXLE & MFG, INC.          SCOTT GRAFF                      1 SAGINAW DRIVE                                                                      THREE RIVERS      MI   49093
AMERICAN AXLE & MFG, INC.          SCOTT GRAFF                      2799 WALDEN AVE                                                                      BUFFALO           NY   14225‐4748
                                    09-50026-mg            Doc 7123-3     Filed 09/24/10 Entered 09/24/10 15:05:32                     Exhibit B
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Name                               Address1                           Address2                      Address3                Address4               City              State   Zip
AMERICAN AXLE & MFG, INC.          SCOTT GRAFF                        1001 EAST DELAVAN AVENUE                                                     THREE RIVERS       MI     49093
AMERICAN AXLE & MFG, INC.          SCOTT GRAFF                        1840 HOLBROOK                                                                BUFFALO            NY     14215
AMERICAN AXLE & MFG, INC.          SCOTT GRAFF                        1840 HOLBROOK ST                                                             DETROIT            MI     48212‐3442
AMERICAN AXLE & MFG, INC.          SCOTT GRAFF                        8435 ST AUBIN                                                                PAULS VALLEY       OK
AMERICAN AXLE & MFG, INC.          SCOTT GRAFF                        1001 E DELAVAN AVE                                                           BUFFALO            NY     14215‐3148
AMERICAN AXLE & MFG, INC.          2799 WALDEN AVE                                                                                                 BUFFALO            NY     14225‐4748
AMERICAN AXLE AND MANUFACTURING    JOHNSALTER‐ EXECUTIVE DIRECTOR ,   1 DAUCH DR                                                                   DETROIT            MI     48211‐1198
                                   SALES, WORLDWIDE PROGRAMS
AMERICAN AXLE AND MANUFACTURING,   ATTN: GENERAL COUNSEL              1 DAUCH DR                                                                   DETROIT            MI     48211‐1198
INC,
AMERICAN AXLE AND MANUFACTURING,   ATTN: PLANT MANAGER                2390 KENMORE AVE              TONAWANDA FORGE PLANT                          TONAWANDA          NY     14150‐7847
INC.
AMERICAN AXLE AND MANUFACTURING,   2965 TECHNOLOGY DR                                                                                              ROCHESTER HILLS    MI     48309‐3589
INC.
AMERICAN AXLE AND MANUFACTURING,   ATTN: GENERAL COUNSEL              1 DAUCH DR                                                                   DETROIT            MI     48211‐1198
INC.
AMERICAN AXLE AND MANUFACTURING,   ATTN: GENERAL COUNSEL              1 DAUCH DR                                                                   DETROIT            MI     48211‐1198
INC./ PARK CORPORATION

AMERICAN AXLE DE MEXICO SA DE CV   1840 HOLBROOK ST                                                                                                DETROIT            MI     48212‐3442
AMERICAN AXLE/DETROI               2965 TECHNOLOGY DR                                                                                              ROCHESTER HILLS    MI     48309‐3589
AMERICAN BACKFLOW PREVENTION ASSOC PO BOX 1183                        C/O MARY JANE MILLER                                                         NASHVILLE          IN     47448‐1183
INDIANA CHAPTER
AMERICAN BACKFLOW PREVENTION       ATTN HOWARD MILLSAPS               2695 AIRPORT RDCHG PER GOI                                                   CENTERVILLE        IN     47330
ASSOCIATION INDIANA CHAPTER
AMERICAN BACKHAULERS INC           1400 N DAYTON ST                                                                                                CHICAGO            IL     60642‐2602
AMERICAN BANK NOTE COMPANY         PO BOX 1931                                                                                                     COLUMBIA           TN     38402‐1931
AMERICAN BAPTIST COLLEG            1800 BAPTIST WORLD CENTER DR                                                                                    NASHVILLE          TN     37207‐4952
AMERICAN BAR ASSOCIATION           CONTROLLER DEPT                    750 N LAKE SHORE DR                                                          CHICAGO            IL     60611
AMERICAN BASIC INDUSTRIES INC      26300 SHERWOOD AVE                                                                                              WARREN             MI     48091‐4168
AMERICAN BASIC TRANSPORT INC       PO BOX 807                                                                                                      DEARBORN           MI     48121‐0807
AMERICAN BEARING & POWER           INVETECH CO                        1400 HOWARD ST                                                               DETROIT            MI     48216
TRANSMISSION INC
AMERICAN BENEFITS COUNCIL          PO BOX 91537                       BRENTWOOD ROAD STATION                                                       WASHINGTON         DC     20090‐1537
AMERICAN BOARD OF INDUSTRIAL       4600 W SAGINAW HWY STE 101                                                                                      LANSING            MI     48917
HYGIENE
AMERICAN BOARD OF INDUSTRIAL       6015 W ST JOE HWY STE 102                                                                                       LANSING            MI     48917‐4875
HYGIENE
AMERICAN BOARD OF PREVENTIVE       9950 W LAWRENCE AVE SUITE 106                                                                                   SCHILLER PARK      IL     60176
MEDICINE INC
AMERICAN BOARD‐DERMATOLOGY INC     ATTN: MARGARET AGUIAR              1 FORD PL                                                                    DETROIT            MI     48202‐3450

AMERICAN BODY ARMOUR & EQUIPMENT 3120 E MISSION BLVD                                                                                               ONTARIO            CA     91761‐2900

AMERICAN BODY ARMOUR & EQUIPMENT 3120 E MISSION BLVD                  PO BOX 51478                                                                 ONTARIO            CA     91761‐2900

AMERICAN BODY ARMOUR & EQUIPMENT SCOTT CURRIE                         3120 E MISSION BLVD                                                          ONTARIO            CA     91761‐2900

AMERICAN BODY ARMOUR & EQUIPMENT SCOTT CURRIE                         3120 EAST MISSION BOULEVARD                                                  PORT HURON         MI

AMERICAN BREAST CANCER FOUNDAT     1220 B EAST JOPPA RD STE 33                                                                                     BALTIMORE         MD      21286
AMERICAN BROACH & MACHINE CO       575 S MANSFIELD ST                                                                                              YPSILANTI         MI      48197‐5157
AMERICAN BROACH & MACHINE CO I     4600 JACKSON RD                    575 S MANSFIELD ST                                                           YPSILANTI         MI      48197‐5157
AMERICAN BUILDING MAINTENANCE      50 FREMONT STREET                                                                                               SAN FRANCISCO     CA      94105
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Name                               Address1                        Address2                      Address3          Address4                   City             State Zip
AMERICAN BULK COMMODITIES INC      MARK CARROCCE                   8063 SOUTHERN BLVD                                                         YOUNGSTOWN        OH 44512‐6306
AMERICAN BUSINESS WOMENS ASSOC     STARLIGHT ‐ EDUCATION FUND      9100 WARD PKWY                                                             KANSAS CITY       MO 64114‐3306
AMERICAN CAMARO ASSOCIATION        581 WEST DR                                                                                                HARRISBURG        PA 17111‐5511
AMERICAN CANCER SOCIETY            ATTN DEBI GALLAGHER             920 N WASHINGTON ST STE 200                                                SPOKANE           WA 99201‐2229
AMERICAN CANCER SOCIETY            17060 OAK PARK AVE                                                                                         TINLEY PARK        IL 60477‐2722
AMERICAN CANCER SOCIETY            10501 EUCLID AVE                                                                                           CLEVELAND         OH 44106‐2204
AMERICAN CANCER SOCIETY            811 CHIPPEWA DR                 C/O LISA BEARDSLEY                                                         DEFIANCE          OH 43512‐3375
AMERICAN CANCER SOCIETY            MON YOUGH UNIT                  1500 5TH AVE                                                               MCKEESPORT        PA 15132‐2422
AMERICAN CANCER SOCIETY            ERIC SAVISKAS                   472 MEADOWLAND DR STE 3                                                    SOUTH BURLINGTON VT 05403‐4468

AMERICAN CANCER SOCIETY            EASTERN DIVISION                101 JOHN JAMES AUDUBON PKWY                                                AMHERST            NY   14228‐1111
AMERICAN CANCER SOCIETY            5535                            W 96TH ST                     # 100                                        INDIANAPOLIS       IN   46278‐6024
AMERICAN CANCER SOCIETY            525 N BROAD ST                                                                                             CANFIELD           OH   44406‐9274
AMERICAN CANCER SOCIETY            6525 N MERIDIAN AVE STE 110                                                                                OKLAHOMA CITY      OK   73116‐1411
AMERICAN CANCER SOCIETY            EASTERN DIV                     PO BOX 517                                                                 WADDINGTON         NY   13694‐0517
AMERICAN CANCER SOCIETY            C/O ALICE GRAY                  8317 ELDERBERRY RD            UPTD 2/10/06 AM                              MADISON            WI   53717‐2603
AMERICAN CANCER SOCIETY            2010 HOGBACK RD STE 4                                                                                      ANN ARBOR          MI   48105‐9749
AMERICAN CANCER SOCIETY            PO BOX 22718                                                                                               OKLAHOMA CITY      OK   73123‐1718
AMERICAN CANCER SOCIETY            863 GEORGES STATION RD STE 2                                                                               GREENSBURG         PA   15601‐7330
AMERICAN CANCER SOCIETY            233 12TH ST STE 710                                                                                        COLUMBUS           GA   31901‐2422
AMERICAN CANCER SOCIETY            30 SPEEN ST                                                                                                FRAMINGHAM         MA   01701‐1804
AMERICAN CANCER SOCIETY            3100 WEST RD STE 110                                                                                       EAST LANSING       MI   48823‐6369
AMERICAN CANCER SOCIETY            PO BOX 4317                                                                                                WARREN             OH   44482‐4317
AMERICAN CANCER SOCIETY            1216 MERIDIAN ST                                                                                           ANDERSON           IN   46016‐1715
AMERICAN CANCER SOCIETY            14 NORTH WINTON RD                                                                                         ROCHESTER          NY   14610
AMERICAN CANCER SOCIETY            C/O D ANN DAGEN CHAIRMAN        2300 WEST FREEWAY                                                          FORT WORTH         TX   76102
AMERICAN CANCER SOCIETY            2255 S ONEIDA ST                                                                                           DENVER             CO   80224‐2522
AMERICAN CANCER SOCIETY            2679 SOUTH RD FL 1                                                                                         POUGHKEEPSIE       NY   12601‐5254
AMERICAN CANCER SOCIETY            RELAY FOR LIFE OF EAST MESA     2929 E THOMAS RD                                                           PHOENIX            AZ   85016‐8034
AMERICAN CANCER SOCIETY            PO BOX 472                                                                                                 NEW CASTLE         DE   19720‐0472
AMERICAN CANCER SOCIETY            PO BOX 56566                                                                                               ATLANTA            GA   30343‐0566
AMERICAN CANCER SOCIETY            C/O NANCY RILEY                 5555 FRANTZ RD                                                             DUBLIN             OH   43017‐1544
AMERICAN CANCER SOCIETY            4207 LINDELL BLVD                                                                                          SAINT LOUIS        MO   63108
AMERICAN CANCER SOCIETY            320 BILMAR DR                                                                                              PITTSBURGH         PA   15205‐4620
AMERICAN CANCER SOCIETY GOLF       1480 W CENTER RD STE 1                                                                                     ESSEXVILLE         MI   48732‐2143
CHAMPIONSHIP
AMERICAN CANCER SOCIETY GREATER    1417 N ANTHONY BLVD                                                                                        FORT WAYNE         IN   46805‐5252
FORT WAYNE UNIT
AMERICAN CANCER SOCIETY OF SE      20450 CIVIC CENTER DR                                                                                      SOUTHFIELD         MI   48076‐4135
MICHIGAN
AMERICAN CANCER SOCIETYS           BARONS BALL 2006                1523 CALIFORNIA AVE                                                        BAKERSFIELD        CA   93304‐1301
AMERICAN CAR CARE                  11263 N JACOB SMART BLVD                                                                                   RIDGELAND          SC   29936‐8798
AMERICAN CAR CRAFT                 RICARDO RIVERA                  18924 SAKERA RD                                                            HUDSON             FL   34667‐6373
AMERICAN CAR SALES                 6 CATO STREET                                                                   DURBAN 4001 SOUTH AFRICA

AMERICAN CARBIDE GROUP INC         44312 REYNOLDS DR.                                                                                         CLINTON TOWNSHIP   MI   48036

AMERICAN CARGO                     PO BOX 1931                                                                                                ELKHART            IN   46515‐1931
AMERICAN CARGO                     2940 DEXTER DR                                                                                             ELKHART            IN   46514‐8226
AMERICAN CARGO
AMERICAN CARGO BY MIDWAY           MICHAEL VIOLI                   2940 DEXTER DR                                                             ELKHART            IN   46514‐8226
AMERICAN CARGO BY MIDWAY SPECIALTY
                                     09-50026-mg              Doc 7123-3    Filed 09/24/10 Entered 09/24/10 15:05:32                 Exhibit B
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Name                                 Address1                         Address2                      Address3              Address4               City                State Zip
AMERICAN CARGO BY MIDWAY SPECIALTY   2940 DEXTER DR                                                                                              ELKHART              IN 46514‐8226
VEHICLES
AMERICAN CARGO CORPORATION           PO BOX 1931                                                                                                 ELKHART             IN    46515‐1931
AMERICAN CARRIERS OF MINNESOTAINC    9955 W 69TH ST STE 103                                                                                      EDEN PRAIRIE        MN    55344‐3467

AMERICAN CENTRAL TRANSPORT INC       PO BOX 413207                                                                                               KANSAS CITY         MO    64141‐3207
AMERICAN CENTRAL XPRESS INC          1509 S 6TH ST                    LOF ADDRESS CHANGE 10/29/93                                                SPRINGFIELD         IL    62703‐2801
AMERICAN CHECK EXCHANGE              PO BOX 722                                                                                                  SUMMIT              MS    39666‐0722
AMERICAN CHEMICAL SOCIETY            PO BOX 57136                                                                                                WASHINGTON          DC    20037‐0136
AMERICAN CHEMICAL SOCIETY            ATTN VICKY DARST                 PO BOX 182977                                                              COLUMBUS            OH    43218‐2977
AMERICAN CHEMICAL SOCIETY DBA        STN COLUMBUS                     PO BOX 2228                                                                COLUMBUS            OH    43216‐2228
AMERICAN CHEMICAL SOCIETY DBA        CHEMICAL ABSTRACTS SERVICE       2540 OLENTANGY RIVER RD                                                    COLUMBUS            OH    43202‐1505
AMERICAN CHEMICAL TECHNOLOGIESINC    485 E VAN RIPER RD                                                                                          FOWLERVILLE         MI    48836‐7931

AMERICAN CHEMISTRY COUNCIL INC      DEPT 6044                                                                                                    WASHINGTON          DC    20042‐0001
AMERICAN CHEVROELT OLDSMOBILE
CADILLAC
AMERICAN CHEVROLET CADILLAC ‐ MUNCI 4101 W CLARA LN                                                                                              MUNCIE               IN   47304‐5466

AMERICAN CHEVROLET CADILLAC ‐        STEPHEN DE ANDA                  4101 W CLARA LN                                                            MUNCIE               IN   47304‐5466
MUNCIE
AMERICAN CHEVROLET CADILLAC ‐        4101 W CLARA LN                                                                                             MUNCIE               IN   47304‐5466
MUNCIE
AMERICAN CHEVROLET OF MUNCIE         ATTN STEVE DE ANDA               4101 W CLARA LN                                                            MUNCIE              IN    47304‐5466
AMERICAN CHEVROLET PONTIAC, LLC.     DAVID YOST                       920 E MAIN ST                                                              MANNINGTON          WV    26582‐1217
AMERICAN CHEVROLET PONTIAC, LLC.     920 E MAIN ST                                                                                               MANNINGTON          WV    26582‐1217
AMERICAN CHEVROLET, INC.             DESMOND ROBERTS                  9510 JOLIET RD                                                             HODGKINS            IL    60525‐4137
AMERICAN CHEVROLET, INC.             9510 JOLIET RD                                                                                              HODGKINS            IL    60525‐4137
AMERICAN CHEVROLET‐GEO, INC.                                                                                                                     MODESTO             CA    95356
AMERICAN CHEVROLET‐GEO, INC.         DAVID HALVORSON                  4742 MCHENRY AVE                                                           MODESTO             CA    95356‐9523
AMERICAN CHEVROLET‐GEO, INC.         4742 MCHENRY AVE                                                                                            MODESTO             CA    95356‐9523
AMERICAN CHUCK & ENG                 42293 IRWIN DR                                                                                              HARRISON            MI    48045‐1339
                                                                                                                                                 TOWNSHIP
AMERICAN CHUCK & ENGINEERING         42293 IRWIN DR                                                                                              HARRISON            MI    48045‐1339
                                                                                                                                                 TOWNSHIP
AMERICAN CITY BUSINESS JOURNALS      120 W MOREHEAD ST STE 400                                                                                   CHARLOTTE           NC    28202‐1874
AMERICAN CITY BUSINESS JOURNALS      120 W. MOREHEAD ST., SUITE 400                                                                              CHARLOTTE           NC    28202‐1874
AMERICAN CITY PEST & TERMITE INC     614 W 184TH ST                                                                                              GARDENA             CA    90248‐4203
AMERICAN CITY PEST CONTROL CO        614 W 184TH ST                                                                                              GARDENA             CA    90248‐4203
AMERICAN CITY PEST CONTROL CO INC    614 W 184TH ST                                                                                              GARDENA             CA    90248‐4203
AMERICAN CIVIL LIBERTIES UNION       125 BROAD ST FL 18                                                                                          NEW YORK            NY    10004‐2454
AMERICAN CLASSIC EXHAUST             GERALD RUPPRECHT                 11726 166TH ST                                                             ARTESIA             CA    90701‐1723
AMERICAN CLUB                        444 HIGHLAND DR                                                                                             KOHLER              WI    53044‐1515
AMERICAN COALITION FOR TRAFFICSAFETY 1110 N GLEBE RD                                                                                             ARLINGTON           VA    22201
INC
AMERICAN COIL SPRING                 2700 WICKHAM DR                                                                                             MUSKEGON            MI    49441‐3532
AMERICAN COIL SPRING CO              2700 WICKHAM DR                                                                                             MUSKEGON            MI    49441‐3532
AMERICAN COIL SPRING CO              RON JOHNSON                      2700 WICKHAM DR                                                            MUSKEGON            MI    49441‐3532
AMERICAN COIL SPRING CO              RON JOHNSON                      PO BOX 388                    1041 E KEATING AVE/                          ELK GROVE VILLAGE   IL    60009‐0388

AMERICAN COL/HNT VAL                 DISCOVER CENTER                  230 SCHILLING CENTER                                                       HUNT VALLEY         MD    21031
AMERICAN COLLEGE                     3330 PEACHTREE RD NE                                                                                        ATLANTA             GA    30326‐1001
AMERICAN COLLEGE OF EMERGENCY        CALVIN CHANEY                    1125 EXECUTIVE CIR                                                         IRVING              TX    75038‐2522
PHYSICIANS
                                     09-50026-mg             Doc 7123-3    Filed 09/24/10 Entered 09/24/10 15:05:32       Exhibit B
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Name                                 Address1                        Address2               Address3           Address4               City               State Zip
AMERICAN COLLEGE OF EMERGENCY        PO BOX 619911                                                                                    DALLAS              TX 75261‐9911
PHYSICIANS
AMERICAN COLLEGE OF                  1307 NEW YORK AVE NW STE 200                                                                     WASHINGTON         DC    20005‐4727
PREVENTIVEMEDICINE
AMERICAN COLLEGE OF TRIAL LAWYERS    8001 IRVINE CENTER DR STE 960                                                                    IRVINE             CA    92618‐2978

AMERICAN COLLEGE TESTING             PROGRAM INC                     PO BOX 168                                                       IOWA CITY          IA    52243‐0168
AMERICAN COLLOID                     6TH AND MARQUETTE                                                                                MINNEAPOLIS        MN    55479‐0001
AMERICAN COLLOID COMPANY             2807 FORBS AVENUE                                                                                HOFFMAN ESTATES    IL    60192

AMERICAN COMBUSTION INDUSTRIES, INC. JOHN KIRLIN                     3520 BLADENSBURG RD                                              BLADENSBURG        MD

AMERICAN COMM/FLINT                  2945 DAVISON RD                                                                                  FLINT              MI    48506‐3928
AMERICAN COMMERCIAL LINES, INC.      PHYLLIS CATT                    1701 E MARKET ST                                                 JEFFERSONVILLE     IN    47130‐4717
AMERICAN COMMERCIAL TRUCK            1275 COMMODITY PLACE                                                                             TAMPA              FL    33626
EQUIPMENT
AMERICAN COMMERCIAL TRUCK            12875 COMMODITY PL                                                                               TAMPA               FL   33626‐3104
EQUIPMENT
AMERICAN COMMERCIAL TRUCK
EQUIPMENT
AMERICAN COMPENSATION RESOURCES      175 MAIN ST STE 407                                                                              WHITE PLAINS       NY    10601‐3126
INC
AMERICAN COMPONENTS INC              AMERICAN COMPONENTS DIV         PO BOX 795                                                       DANDRIDGE          TN    37725‐0795
AMERICAN COMPRESSED STEEL CORP       PO BOX 1817                                                                                      CINCINNATI         OH    45201‐1817
AMERICAN COMPUTER EXCHANGE INC       24420 INDOPLEX CIR                                                                               FARMINGTON HILLS   MI    48335

AMERICAN CONDENSER                  ART REYNA X111                   SAMAN. INC.            1628 W 139TH ST.                          DAYTON             OH    45414
AMERICAN CONSOLIDATED INDUSTRIES IN GARY ALLEN                       4650 JOHNSTON PKWY                                               CLEVELAND          OH    44128‐3219

AMERICAN CONSULTING INC              7260 SHADELAND STATION                                                                           INDIANAPOLIS       IN    46256
AMERICAN CONT/FARMIN                 20764 WHITLOCK ST                                                                                FARMINGTON HILLS   MI    48336‐5168

AMERICAN CONTINENTAL FREIGHT         9725 E HAMPDEN AVE STE 400                                                                       DENVER             CO    80231‐4919
AMERICAN CONTROLS INC                20764 WHITLOCK ST               PO BOX 324                                                       FARMINGTON HILLS   MI    48336‐5168

AMERICAN CONTROLS INC
AMERICAN CONTROLS INC                PO BOX 324                                                                                       FARMINGTN HLS      MI    48332‐0324
AMERICAN CONTROLS INC                20764 WHITLOCK ST                                                                                FARMINGTON HILLS   MI    48336‐5168

AMERICAN CONTROLS TECHNOLOGY INC     PO BOX 153                                                                                       AMORY              MS    38821‐0153

AMERICAN CONTROLS, INC.              PO BOX 324                                                                                       FARMINGTN HLS      MI    48332‐0324
AMERICAN CONTROLS, INC.              20764 WHITLOCK ST                                                                                FARMINGTON HILLS   MI    48336‐5168

AMERICAN CONTROLS/FA                 20764 WHITLOCK ST                                                                                FARMINGTON HILLS   MI    48336‐5168

AMERICAN CORP COUNSEL ASSN           DEPT 509                                                                                         WASHINGTON         DC    20073‐0001
AMERICAN CORRUGATED PRODUCTS INC     101 N. JAMES CAMPBELL ROAD                                                                       COLUMBIA           TN    38401

AMERICAN COUNCIL ON EDUCATION        CREDIT RECOMMENDATION SERVICE   DEPARTMENT 36                                                    WASHINGTON         DC    20055‐0001
AMERICAN COUNCIL ON INTERNATIONAL    1101 15TH ST NW                 STE 750                                                          WASHINGTON         DC    20005‐5010
PERSONNEL
AMERICAN COUNCIL ON INTERNATIONAL    515 MADISON AVENUE                                                                               NEW YORK           NY    10022
PERSONNEL INC
                                      09-50026-mg             Doc 7123-3       Filed 09/24/10 Entered 09/24/10 15:05:32                             Exhibit B
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Name                                   Address1                            Address2                      Address3                      Address4                     City            State Zip
AMERICAN COUNCIL ON RENEWABLE          PO BOX 33518                                                                                                                 WASHINGTON       DC 20033‐0518
ENERGY
AMERICAN COVERALL                      4041 MARKET ST                                                                                                               SAN DIEGO       CA    92102‐4513
AMERICAN CRANE RENTAL                  ATTN: TERRY WILLIAMS                13101 ECKLES RD                                                                          PLYMOUTH        MI    48170‐4245
AMERICAN CRYSTAL SUGAR COMPANY         BLAINE THORKILDSON                  1700 11TH ST N                                                                           MOORHEAD        MN    56560‐1406
AMERICAN CUSTOM COACHWORKS             9100 WILSHIRE BLVD STE 333                                                                                                   BEVERLY HILLS   CA    90212‐3405
AMERICAN CUSTOM GOLF CARS, INC.,
A/K/A A.C.G. INC.
AMERICAN CYANAMID                      1 GEOFFREY WAY                                                                                                               WAYNE           NJ    07470‐2035
AMERICAN CYCLE & FITNESS TREK          ATTN: KENNETH STONEHOUSE            203 N PERRY ST                                                                           PONTIAC         MI    48342‐2338
AMERICAN DANA/RIVERS                   5837 REPUBLIC ST                                                                                                             RIVERSIDE       CA    92504‐1136
AMERICAN DATA/ATLNTA                   3300 NORTHEAST EXPY NE STE 8W                                                                                                ATLANTA         GA    30341‐3939
AMERICAN DIABETES ASSOCIATION          100 W 10TH ST STE 1002                                                                                                       WILMINGTON      DE    19801‐1652
AMERICAN DIABETES ASSOCIATION          10820 SUNSET OFFICE DR STE 220                                                                                               SAINT LOUIS     MO    63127‐1030
AMERICAN DIABETES ASSOCIATION          PO BOX 11454                                                                                                                 ALEXANDRIA      VA    22312‐0454
AMERICAN DIABETES ASSOCIATION          1815 W MARKET ST STE 108                                                                                                     AKRON           OH    44313‐7018
SERVING NORTHEAST OHIO
AMERICAN DIGITAL GRAPHICS              344 NORTH WOODWARD                  SUITE 301                                                                                BIRMINGHAM      MI    48009
AMERICAN DIGITAL GRAPHICS              1495 MAPLE WAY DR STE 100                                                                                                    TROY            MI    48084‐7026
AMERICAN DIVERSIFIED DISTRIBUTION, LLC JOHN ERTLE                          6722 COMMODORE DR                                                                        WALBRIDGE       OH    43465‐9627
(DD LOGISTICS)
AMERICAN DOCUMENTARIES, INC            KEN BURNS                           PO BOX 613                                                                               WALPOLE         NH    03608‐0613
AMERICAN DREAM                         C/O KEN NOGA                        32344 N CAMBRIDGE DR          NM UPTD PER LTR 10/04/05 GJ                                FRASER          MI    48026‐2332

AMERICAN DURAFILM CO INC              55 BOYNTON RD                                                                                                                 HOLLISTON       MA    01746‐1460
AMERICAN DURAFILM CO INC              55 BOYNTON RD                        PO BOX 6770                                                                              HOLLISTON       MA    01746‐1460
AMERICAN EAGLE FREIGHT BROKERAGE      7915 BOUL HENRI BOURASSA O           CANADA                                                      VILLE SAINT LAURENT PQ H4S
INC                                                                                                                                    1P7 CANADA
AMERICAN ECO CORP                     ATTN: CORPORATE OFFICER/AUTHORIZED   PO BOX 297652                                                                            HOUSTON          TX   77297‐0652
                                      AGENT
AMERICAN EDUCATIONAL INSTITUTEINC     PO BOX 356                                                                                                                    BASKING RIDGE    NJ   07920‐0356

AMERICAN ELEC/ELKHAR               3501 COUNTY ROAD 6 E                                                                                                             ELKHART         IN    46514‐7663
AMERICAN ELECTRIC                  4102 DAVISON RD                                                                                                                  BURTON          MI    48509‐1455
AMERICAN ELECTRIC MOTOR CORP       4102 DAVISON RD                                                                                                                  BURTON          MI    48509‐1455
AMERICAN ELECTRIC MOTOR CORP       ATTN: MARK LIPPINCOTT                   4102 DAVISON RD                                                                          BURTON          MI    48509‐1455
AMERICAN ELECTRIC POWER            PO BOX 24404                                                                                                                     CANTON          OH    44701‐4404
AMERICAN ELECTRIC POWER            428 TRAVIS ST                                                                                                                    SHREVEPORT      LA    71101‐3105
AMERICAN ELECTRIC POWER            700 MORRISON ROAD 4TH FLOOR                                                                                                      GAHANNA         OH    43230
AMERICAN ELECTRIC POWER            ATTN: GREGORY HOLLAND                   40 FRANKLIN ROAD              P.O. BOX 2021                                              ROANOKE         VA    24022
AMERICAN ELECTRIC POWER            PO BOX 2021                                                                                                                      ROANOKE         VA    24022‐2121
AMERICAN ELECTRIC POWER CO INC     4504 S LINCOLN BLVD                                                                                                              MARION          IN    46953‐5512
AMERICAN ELECTRIC POWER, INC.      TOM LANG                                700 MORRISON RD                                                                          GHANNA          OH
AMERICAN ELECTRONIC COMPONENTS INC 3501 COUNTY ROAD 6 E                                                                                                             ELKHART         IN    46514‐7663

AMERICAN ELEMENTS CORP                1093 BROXTON AVE STE 2000                                                                                                     LOS ANGELES     CA    90024
AMERICAN EMERGENCY VEHICLES           165 AMERICAN WAY                                                                                                              JEFFERSON       NC    28640‐9195
AMERICAN ENG/BRIGHTO                  145 NEWTON ST                                                                                                                 BRIGHTON        MA    02135‐1508
AMERICAN ENGINEERED COMPONENTS        JUDY BAHNMILLERX249                  17951 W. AUSTIN                                                                          HILLSDALE       MI    49242
INC
AMERICAN ENGINEERED COMPONENTS        LARRY ZETTWOCH                       AMERICAN ENGINEERED PRODUCTS 40 VOICE RD                                                 RIVERSIDE       MO    64150
INC
AMERICAN ENTERPRISE LEASING, INC.     600 NORTH BUFFALO GROVE ROAD                                                                                                  BUFFALO GROVE    IL   60089
                                      09-50026-mg               Doc 7123-3      Filed 09/24/10 Entered 09/24/10 15:05:32                          Exhibit B
                                                                               Part 1 of 40 Pg 756 of 921
Name                                  Address1                             Address2                        Address3                    Address4               City               State Zip
AMERICAN ENTERPRISE LEASING, INC.     ATTN: CORPORATE OFFICER/AUTHORIZED   600 NORTH BUFFALO GROVE ROAD                                                       BUFFALO GROVE        IL 60089
                                      AGENT
AMERICAN ENTERPRISES INC              5508 NAVARRE AVE                                                                                                        OREGON             OH    43616‐3550
AMERICAN EXAMINER INC.                5257 N TACOMA AVE STE 5                                                                                                 INDIANAPOLIS       IN    46220‐3647
AMERICAN EXECUTIVE LEASING INC        THE TLC COMPANIES                    PO BOX 1168                                                                        DETROIT LAKES      MN    56502‐1168
AMERICAN EXP/PHOENIX                  PO BOX 53761                                                                                                            PHOENIX            AZ    85072‐3761
AMERICAN EXPEDITING SERVICES INC      PO BOX 304                                                                                                              BEECH GROVE        IN    46107‐0304
AMERICAN EXPRESS                      ATTN: GENERAL COUNSEL                200 VESEY ST                    WORLD FINANCIAL CENTER                             NEW YORK           NY    10285‐1000
AMERICAN EXPRESS                      169 MAIN ST                                                                                                             WHITE PLAINS       NY    10601‐3101
AMERICAN EXPRESS                      CASHIER OPERATIONS                   PO BOX 27234                                                                       SALT LAKE CITY     UT    84127‐0234
AMERICAN EXPRESS                      ATTN LAURA MACKENZIE                 200 RENAISSANCE CTR                                                                DETROIT            MI    48243‐1300
AMERICAN EXPRESS GIFT CHEQUE          PO BOX 31556                                                                                                            SALT LAKE CITY     UT    84131‐0556
AMERICAN EXPRESS INCENTIVE SERVICES   CASHIER OPERATIONS                   4315 S 2700 WEST CHG RMT GOI                                                       SALT LAKE CITY     UT    84184‐4030

AMERICAN EXPRESS PUBLISHING           4624 PAYSPHERE CIR                                                                                                      CHICAGO            IL    60674‐0046
AMERICAN EXPRESS PUBLISHING CORP.     ED KELLY                             1120 AVENUE OF AMERICAS                                                            NEW YORK           NY    10036

AMERICAN EXPRESS SER EUROP            AMERICAN EXPRESS BANK LIMITED        WORLD FINANCIAL CTR             AMEX TOWER                                         NEW YORK           NY    10285‐2150
AMERICAN EXPRESS SERVICE EUROP        AMERICAN EXPRESS BANK LIMITED        WORLD FINANCIAL CTR             AMEX TOWER                                         NEW YORK           NY    10285‐2150
AMERICAN EXPRESS TRAVEL RELATED       C/O EUGENE J. CHIKOWSKI              FOUR PENN CENTER                1600 JFK BLVD., 2ND FLOOR                          PHILADELPHIA       PA    19103
SERVICE
AMERICAN EXPRESS TRAVEL RELATED       C/O EUGENE J. CHIKOWSKI              FOUR PENN CENTER                1600 JFK BLVD., 2ND FLOOR                          PHILADELPHIA       PA    19103
SERVICES
AMERICAN EXPRESS TRAVEL RELATED       ANDREW J. MCGRAW                     5000 ATRIUM WAY                                                                    MOUNT LAUREL        NJ   08054
SERVICES COMPANY, INC.
AMERICAN EXPRESS TRAVEL RELATED       5000 ATRIUM WAY                                                                                                         MT. LAUREL          NJ   80854
SERVICES COMPANY, INC.
AMERICAN EXPRESS TRAVEL SVCS          FOR ACCT OF DONALD O STUEF
AMERICAN EXPRESS/TRAVEL A/R           FC‐WEST                              PO BOX 53618                  FINANCIAL CENTER                                     PHOENIX            AZ    85072‐3618
AMERICAN FAB/CHTNOGA                  PO BOX 8266                          RODGERS‐TURNER & ASSOCIATES                                                        CHATTANOOGA        TN    37414‐0266
AMERICAN FAB/FRMNGTN                  23943 INDUSTRIAL PARK DR             C/O MATTOON AND LEE EQUIPMENT                                                      FARMINGTON HILLS   MI    48335‐2862

AMERICAN FACILITIES
AMERICAN FAMILY INSURANCE             BRETT SWITZKY                        6000 AMERICAN PKWY                                                                 MADISON            WI    53783‐0001
AMERICAN FAMILY INSURANCE             ATTN: PHILLIP HANNIFAN               6000 AMERICAN PKWY                                                                 MADISON            WI    53783‐0001
AMERICAN FAMILY INSURANCE             6000 AMERICAN WAY                                                                                                       MADISON            WI    53783‐0001
AMERICAN FAMILY INSURANCE             3099 E WASHINGTON AVE                                                                                                   MADISON            WI    53704‐4338
AMERICAN FAMILY INSURANCE COMPANY     BUEHLER ASSOCIATES                   PO BOX 40924                                                                       INDIANAPOLIS       IN    46240‐0924

AMERICAN FAMILY INSURANCE COMPANY KEIS GEORGE LLP                          55 PUBLIC SQ STE 800                                                               CLEVELAND          OH    44113‐1909

AMERICAN FAMILY INSURANCE GROUP       RE: JAMES THORBIN                    SCANNING CENTER ‐ 6000                                                             MADISON            WI    53783‐0001
                                                                           AMERICAN PKWY
AMERICAN FAMILY INSURANCE GROUP
AMERICAN FAMILY LIFE INSURANCE        6000 AMERICAN PKWY                                                                                                      MADISON            WI    53783‐0001
COMPANY
AMERICAN FAMILY MUTUAL INS CO         CAMPBELL LATIOLAIS & RUBEL
AMERICAN FAMILY MUTUAL INSURANCE
COMPANY
AMERICAN FAMILY MUTUAL INSURANCE      WINNER WIXSON & PERNITZ              PO BOX 2626                     22 EAST MIFFLIN STREE                              MADISON            WI    53701‐2626
COMPANY
AMERICAN FARM BUREAU FEDERATION       JULIE ANN POTTS                      600 MARYLAND AVE SW STE 1000W                                                      WASHINGTON         DC    20024‐2555
                                      09-50026-mg                 Doc 7123-3    Filed 09/24/10 Entered 09/24/10 15:05:32                          Exhibit B
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Name                                  Address1                             Address2                      Address3                    Address4                 City              State Zip
AMERICAN FARM BUREAU FEDERATION       JULIE ANNA POTTS                     600 MARYLAND AVE SW STE 1000W                                                      WASHINGTON         DC 20024‐2555

AMERICAN FARM BURUEAU FEDERATION      JULIE ANNA POTTS                     600 MARYLAND AVE SW STE 1000W                                                      WASHINGTON        DC   20024‐2555

AMERICAN FARMLAND TRUST               1200 18TH ST NW STE 800                                                                                                 WASHINGTON        DC   20036‐2524
AMERICAN FAST FREIGHT INC             3502 LINCOLN AVENUE E                                                                                                   TACOMA            WA   98421
AMERICAN FEDERAL BANK                 HOWARD TAREK                         2251 32ND AVE S STE 200                                                            GRAND FORKS       ND   58201
AMERICAN FEDERATION OF                TEACHERS                             ATTN SHARON WRIGHT                555 NEW JERSEY AVE NW                            WASHINGTON        DC   20001
AMERICAN FEDERATION OF TELEVISION     ANA‐AAAA JOINT POLICY COMMITTEE ON   ATTN: GENERAL COUNSEL             708 THIRD AVENUE        33RD FLOOR               NEW YORK          NY   10017
AND RADIO ARTISTS                     BROADCAST TALENT UNION RELATIONS

AMERICAN FEDERATION OF TELEVISION     ATTN: GENERAL COUNSEL                260 MADISON AVE STE 700                                                            NEW YORK          NY   10016‐2412
AND RADIO ARTISTS
AMERICAN FELT & FILTER                MARK PRYNE                           361 WALSH AVENUE                                                                   GREENVILLE        IL   62246
AMERICAN FELT & FILTER CO INC         MARK PRYNE                           361 WALSH AVENUE                                                                   GREENVILLE        IL   62246
AMERICAN FIBER SYSTEMS                PO BOX 673599                                                                                                           DETROIT           MI   48267
AMERICAN FINANCIAL GROUP              ONE EAST FOURTH STREET 9TH FLOOR                                                                                        CINCINNATI        OH   45202
AMERICAN FINANCIAL GROUP              14‐16 EAST FOURTH STREET                                                                                                CINCINNATI        OH   45202
AMERICAN FINANCIAL GROUP, INC.        BARB LUND                            1 E 4TH ST                                                                         CINCINNATI        OH   45202‐3715
AMERICAN FINANCIAL SERVICES           919 18TH ST NW STE 300                                                                                                  WASHINGTON        DC   20006‐5526
ASSOCIATION
AMERICAN FINISHING RESOURCES INC      PO BOX 164                           MN/ RMT CG 11/01 MH                                                                CHILTON           WI   53014‐0164
AMERICAN FIRE PROTECTION              8426 E SHEA BLVD                                                                                                        SCOTTSDALE        AZ   85260‐6634
AMERICAN FIRE PROTECTION GROUP        RON O'CONNOR                         8426 E SHEA BLVD                                                                   SCOTTSDALE        AZ   85260‐6634
AMERICAN FIRE PROTECTION INC          1008 TERMINAL RD                                                                                                        LANSING           MI   48906‐3065
AMERICAN FITNESS CTR                  ATTN: JIM BURCHFIELD                 G4168 S SAGINAW ST                                                                 BURTON            MI   48529‐1650
AMERICAN FL/MADISON                   PO BOX 71550                                                                                                            MADISON HEIGHTS   MI   48071‐0550

AMERICAN FLAG AND BANNER COMP         28 S MAIN ST                                                                                                            CLAWSON           MI   48017‐2062
AMERICAN FLEET MAINTENANCE, INC.      275 INTERNATIONAL BLVD                                                                                                  ROCHESTER         NY   14624‐4991
AMERICAN FLEET SERVICE, INC           621 E ALTURAS ST                                                                                                        TUCSON            AZ   85705‐4709
AMERICAN FLUID POWER INC              24634 FIVE MILE RD STE 27                                                                                               REDFORD           MI   48239
AMERICAN FOAM/OHIO                    753 LIBERTY ST                                                                                                          PAINESVILLE       OH   44077‐3623
AMERICAN FOOD & VENDING               2525 W 4TH ST                                                                                                           ONTARIO           OH   44906‐1208
AMERICAN FOOD & VENDING               118 ABBIE AVE                                                                                                           KANSAS CITY       KS   66103‐1304
AMERICAN FOOD & VENDING               801 BOXWOOD RD                                                                                                          WILMINGTON        DE   19804‐2041
AMERICAN FOOD & VENDING CORP          3606 JOHN GLENN BLVD                 ATTN: MARIE MASCARI                                                                SYRACUSE          NY   13209‐1838
AMERICAN FOOD & VENDING CORP          3606 JOHN GLENN BLVD                                                                                                    SYRACUSE          NY   13209‐1838
AMERICAN FOOD & VENDING CORP.         3606 JOHN GLENN BLVD                 ATTN: MARIE MASCARI                                                                SYRACUSE          NY   13209‐1838
AMERICAN FOOD & VENDING CORP.         PO BOX 1500                          ATTN: LISA TRIPP                                                                   SPRING HILL       TN   37174‐1500
AMERICAN FOOD & VENDING SERVICE INC   137 CORPORATE DR                                                                                                        BINGHAMTON        NY   13904‐3214

AMERICAN FOOD AND VENDING SERV        1500 E ROUTE A                                                                                                          WENTZVILLE        MO   63385‐5624
AMERICAN FOOD/SH                      PO BOX 1500                          ATTN: LISA TRIPP                                                                   SPRING HILL       TN   37174‐1500
AMERICAN FOREST MANAGEMENT, INC.      SANDRA MARGO                         2401 WHITEHALL PARK DR STE 1100                                                    CHARLOTTE         NC   28273‐3418

AMERICAN FOU/505 STA                  505 STATE ST                                                                                                            DES PLAINES       IL   60016‐2267
AMERICAN FOU/IL                       GOLF AND WOLF ROADS                                                                                                     DES PLAINES       IL   60016
AMERICAN FOUNDARY SOCIETY             35169 EAGLE WAY                                                                                                         CHICAGO           IL   60678‐0001
AMERICAN FOUNDATION FOR AIDS          120 WALL ST FL 13                                                                                                       NEW YORK          NY   10005‐3908
AMERICAN FOUNDRY SOCIETY              2280 TRENTON ST                                                                                                         SAGINAW           MI   48602‐3556
AMERICAN FOUNDRY SOCIETY              PO BOX 5175                                                                                                             WARREN            MI   48090‐5175
AMERICAN FOUNDRY SOCIETY INC          SAGINAW VALLEY CHAPTER               C/O DAVID E PROUX TREASURER       2280 TRENTON ST                                  SAGINAW           MI   48602
AMERICAN FOUNDRY SOCIETY INC          1695 N PENNY LN                                                                                                         SCHAUMBURG        IL   60173‐4555
                                  09-50026-mg              Doc 7123-3    Filed 09/24/10 Entered 09/24/10 15:05:32                    Exhibit B
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Name                              Address1                         Address2                      Address3               Address4                     City              State   Zip
AMERICAN FRIENDS OF JAMAICA       2903 SAINTSBURY PLZ APT 107                                                                                        FAIRFAX            VA     22031‐1171
AMERICAN FRIENDS SERVICE          1501 CHERRY ST                                                                                                     PHILADELPHIA       PA     19102‐1403
AMERICAN GAS & CHEMICAL CO LTD    220 PEGASUS AVE                                                                                                    NORTHVALE          NJ     07647‐1904
AMERICAN GEA/KING ST              1500 KING ST STE 201             ASSOCIATION HEADQUARTERS                                                          ALEXANDRIA         VA     22314‐2730
AMERICAN GEAR & ENGINEERING CO    38200 ABRUZZI DR                                                                                                   WESTLAND           MI     48185‐3280
AMERICAN GEAR & ENGINEERING INC   38200 ABRUZZI DR                                                                                                   WESTLAND           MI     48185‐3280
AMERICAN GEAR MANUFACTURERS       500 MONTGOMERY ST STE 350                                                                                          ALEXANDRIA         VA     22314‐1581
ASSOCIATION
AMERICAN GENERAL CONTRACTORS OF   2300 WILSON BLVD STE 400                                                                                           ARLINGTON          VA     22201‐5426
AMERICA (AGC)
AMERICAN GENERAL FINANCE          ONE NEW YORK PLAZA                                                                                                 NEW YORK           NY     10004
AMERICAN GENERAL FINANCE          3940 PLANK RD STE H                                                                                                FREDERICKSBURG     VA     22407‐6869
AMERICAN GENERAL FINANCE          ACCT OF VANESSA HARRIS
AMERICAN GENERAL FINANCIAL SVC    C/O TADYCH LAW OFFICES           5232 W OKLAHOMA AVE STE 200                                                       MILWAUKEE          WI     53219‐4599
AMERICAN GENERATOR & ARMATURE     1945 CAVELL AVE                                                                                                    HIGHLAND PARK      IL     60035‐2216
COMPANY
AMERICAN GFM CORPORATION          1200 CAVALIER BLVD                                                                                                 CHESAPEAKE        VA      23323‐1508
AMERICAN GFM CORPORATION          PO BOX 758750                                                                                                      BALTIMORE         MD      21275‐8750
AMERICAN GRADUATE SCHOOL OF       1 GLOBAL PL                      THUDERBIRD CAMPUS                                                                 GLENDALE          AZ      85306‐3216
INTERNATIONAL MANAGEMENT
AMERICAN GRAPHICS                 609 JEFFERSON ST                                                                                                   FAIRFIELD          CA     94533
AMERICAN GRAPHICS PRINTING CO     34895 GROESBECK HWY                                                                                                CLINTON TWP        MI     48035‐3366
AMERICAN GREASE STICK CO          1611 MOMENTUM PLACE                                                                                                CHICAGO
AMERICAN GREETINGS                MICHELLE THUR                    1 AMERICAN RD                                                                     CLEVELAND         OH      44144‐2301
AMERICAN GREETINGS                1 AMERICAN RD                                                                                                      CLEVELAND         OH      44144‐2301
AMERICAN GREETINGS CORPORATION
AMERICAN HACK & BAND INC          1658 CHAMPAGNE DR N                                                                                                SAGINAW           MI      48604‐9202
AMERICAN HAIR CTR                 ATTN: VICTOR GROBE               3044 W GRAND BLVD # L‐110                                                         DETROIT           MI      48202‐3040
AMERICAN HEART ASSOCIATION        6444 NW 5TH WAY                                                                                                    FORT LAUDERDALE   FL      33309‐6112
AMERICAN HEART ASSOCIATION        HEARTLAND AFFILIATE              6800 W 93RD ST                                                                    OVERLAND PARK     KS      66212‐1461
AMERICAN HEART ASSOCIATION        200 CONTINENTAL DR STE 101                                                                                         NEWARK            DE      19713‐4303
AMERICAN HEART ASSOCIATION        ATTN MEMORIAL DEPT               7272 GREENVILLE AVE                                                               DALLAS            TX      75231‐5129
AMERICAN HEART ASSOCIATION        MEMORIAL AND TRIBUTE LOCKBOX     3816 PAYSPHERE CIR                                                                CHICAGO           IL      60674‐0038
AMERICAN HEART ASSOCIATION        ATTN PATTY MACEWAN               4301 FAIRFAX DR STE 530                                                           ARLINGTON         VA      22203‐1634
AMERICAN HEART ASSOCIATION        MIAMI VALLEY DIVISION            1313 W DOROTHY LN                                                                 DAYTON            OH      45409‐1309
AMERICAN HEART ASSOCIATION        ATTN TOM LUEDTKE                 2850 DAIRY DR STE 300                                                             MADISON           WI      53718‐6742
AMERICAN HEART ASSOCIATION        RICHLAND COUNTY DIVISION         4682 DOUGLAS CIR NW                                                               CANTON            OH      44718‐3619
AMERICAN HEART ASSOCIATION        JACK K NEWMAN GOLF CLASSIC       PO BOX 322                                                                        CANTON            NY      13617‐0322
AMERICAN HEART ASSOCIATION        212 E BROAD ST                                                                                                     BETHLEHEM         PA      18018‐6207
AMERICAN HEART ASSOCIATION        1701 WOODLANDS DR STE 200                                                                                          MAUMEE            OH      43537‐4056
AMERICAN HEART ASSOCIATION        24445 NORTHWESTERN HWY STE 100                                                                                     SOUTHFIELD        MI      48075‐2436
AMERICAN HEART ASSOCIATION INC    208 S LA SALLE ST STE 900                                                                                          CHICAGO           IL      60604‐1198
AMERICAN HEAT TREATING            1346 MORRIS AVE                                                                                                    DAYTON            OH      45408‐1829
AMERICAN HOF/MAD HTS              32380 HOWARD AVE                                                                                                   MADISON HEIGHTS   MI      48071‐1433

AMERICAN HOFMANN CORP             3700 COHEN PL                                                                                                      LYNCHBURG          VA     24501‐5046
AMERICAN HOFMANN CORPORATION      3700 COHEN PL                    PO BOX 10369                                                                      LYNCHBURG          VA     24501‐5046
AMERICAN HOLE 'N ONE              55 SCOTT ST                                                                                                        BUFORD             GA     30518‐3056
AMERICAN HOLE N ONE               55 SCOTT ST                                                                                                        BUFORD             GA     30518‐3056
AMERICAN HOLE N ONE INC           55 SCOTT ST                                                                                                        BUFORD             GA     30518‐3056
AMERICAN HOLE N'ONE INC           MR. GRANT ADAMS                  55 SCOTT STREET, BUFORD                                                           BUFORD             GA     30518
AMERICAN HOME ASSURANCE CO.       A/S/O DOUG SAYE 09 TC 7931       JOYRCE M GOLDSTEIN            ALTSCHUL GOLDSTEIN &   17 BATTERY PLACE SUITE 711   NEW YORK           NY     10004
                                                                                                 GELLER LLP
                                     09-50026-mg             Doc 7123-3    Filed 09/24/10 Entered 09/24/10 15:05:32                          Exhibit B
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Name                                 Address1                         Address2                         Address3                  Address4                   City               State Zip
AMERICAN HOME ASSURANCE COMPANY      JOANN FERRARA                    AIG EXCESS CASUALTY              175 WATER ST 21ST FLOOR                              NEW YORK            NY 10038

AMERICAN HOME ASSURANCE COMPANY ‐ JOANN FERRARA                       175 WATER ST                     21ST FLOOR                                           NEW YORK           NY    10038
AIU
AMERICAN HOME INSPECTORS          TRAINING                            212 WISCONSIN AVE                                                                     WAUKESHA           WI    53186‐4927
AMERICAN HOME PRODUCTS            685 THIRD AVE                                                                                                             NEW YORK           NY    10017
AMERICAN HOMECARE SU              808 PARK NORTH BLVD                 STE 100                                                                               CLARKSTON          GA    30021‐1946
AMERICAN HONDA MOTOR CO INC       24000 HONDA PKWY                                                                                                          MARYSVILLE         OH    43040‐8612
AMERICAN HONDA MOTOR CO INC       1919 TORRANCE BLVD                  ATTN CHERI HUDGINS MS100‐1C‐3B                                                        TORRANCE           CA    90501‐2722
AMERICAN HONDA MOTOR CO. INC.     1919 TORRANCE BLVD                                                                                                        TORRANCE           CA    90501‐2722
AMERICAN HONDA MOTOR CO., INC.    ATTN: EXPORT SALES DIVISION         1919 TORRANCE BLVD                                                                    TORRANCE           CA    90501‐2722
AMERICAN HONDA MOTOR CO., INC.    ATTN: GENERAL MANAGER, AUTOMOBILE   1‐1 MINAMIAOYAMA                 2‐CHOME                   MINATO‐KU TOKYO 107‐8556
                                  BUSINESS PLANNING OFFICE                                                                       JAPAN

AMERICAN HONDA MOTOR CO., INC.   1919 TORRANCE BLVD                                                                                                         TORRANCE           CA    90501‐2722
AMERICAN HONDA MOTOR COMPANY INC HORWITZ HORWITZ & PARADIS            25 W 43RD ST FL 16                                                                    NEW YORK           NY    10036‐7410

AMERICAN HOUSE                      12640 HOLLY ROAD                                                                                                        GRAND BLANC        MI    48439
AMERICAN HYD/ST HGTS                1750 BLANEY RD                                                                                                          TROY               MI    48084
AMERICAN HYDROSTATICS               1750 BLANEY RD                                                                                                          TROY               MI    48084
AMERICAN HYDROSTATICS INC           1750 BLANEY RD                                                                                                          TROY               MI    48084
AMERICAN IDEN/KANS C                P.O. BOX 414937                                                                                                         KANSAS CITY        MO    64141
AMERICAN IDEN/KANSAS                10450 HOLMES RD                                                                                                         KANSAS CITY        MO    64131‐3471
AMERICAN IDENTITY                   10450 HOLMES RD                                                                                                         KANSAS CITY        MO    64131‐3471
AMERICAN IM/STER HGT                6785 METROPOLITAN PKWY                                                                                                  STERLING HEIGHTS   MI    48312‐1033
AMERICAN IMAGES BY HILLSTAR INC     25 IMSON ST                                                                                                             BUFFALO            NY    14210‐1615
AMERICAN INCOME FUND I‐E LIMITED    PEABODY & BROWN                   101 FEDERAL STREET                                                                    BOSTON             MA    02110‐1832
PARTNER
AMERICAN IND CARRIERS INC           DBA AIC                           PO BOX 187                                                                            WEST UNION         SC    29696‐0187
AMERICAN INDENTITY INC              7500 W 110TH ST                                                                                                         OVERLAND PARK      KS    66210
AMERICAN INDEPENDENT LINE           799 ROOSEVELT RD BLDG 6 STE 122                                                                                         GLEN ELLYN          IL   60137
AMERICAN INDEPENDENT MED            201 WOOLSTON DR                   P.O. BOX 909                                                                          MORRISVILLE        PA    19067‐5094
AMERICAN INDIAN SCIENCE AND         2305 RENARD PL SE STE 200                                                                                               ALBUQUERQUE        NM    87106‐4313
ENGINEERING SOCIETY
AMERICAN INDUST HYGIENE ASSOC       PO BOX 27632                                                                                                            RICHMOND           VA    23261‐7632
AMERICAN INDUSTRIAL CONTRACTING INC E BEAVER ST                                                                                                             SEWICKLEY          PA    15143

AMERICAN INDUSTRIAL CORP             1400 AMERICAN WAY                PO BOX 859                                                                            GREENWOOD          IN    46143‐8466
AMERICAN INDUSTRIAL CORP             1400 AMERICAN WAY                                                                                                      GREENWOOD          IN    46143‐8466
AMERICAN INDUSTRIAL GAUGE LTD        4839 LEAFDALE BLVD                                                                                                     ROYAL OAK          MI    48073‐1008
AMERICAN INDUSTRIAL HEAT             TRANSFER INC                     3905 ROUTE 173                                                                        ZION               IL    60099
AMERICAN INDUSTRIAL HYGIENE AS       2700 PROSPERITY AVE STE 25                                                                                             FAIRFAX            VA    22031
AMERICAN INDUSTRIAL HYGIENE          PO BOX 34796                                                                                                           ALEXANDRIA         VA    22334‐0796
ASSOCIATION
AMERICAN INDUSTRIAL HYGIENE          PO BOX 26081                                                                                                           RICHMOND           VA    23260‐6081
ASSOCIATION
AMERICAN INDUSTRIAL HYGIENE          PO BOX 1519                                                                                                            MERRIFIELD         VA    22116‐1519
ASSOCIATION
AMERICAN INDUSTRIAL HYGIENE          568 ATRIUM DR                                                                                                          VERNON HILLS        IL   60061‐1731
ASSOCIATION/EXPERIENT
AMERICAN INDUSTRIAL RESOURCES INC    38341 WESTERN PKWY UNIT A                                                                                              WILLOUGHBY         OH    44094‐7528

AMERICAN INDUSTRIAL SALES INC        14240 E 11 MILE RD                                                                                                     WARREN             MI    48089‐1467
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Name                                Address1                              Address2                          Address3                   Address4               City               State Zip
AMERICAN INFOSOURCE LP              AS AGENT FOR T MOBILE/T‐MOBILE USA    PO BOX 248848                                                                       OKLAHOMA CITY       OK 73124‐8848
                                    INC
AMERICAN INFOSOURCE LP AS AGENT FOR T MOBILE/T‐MOBILE USA INC             PO BOX 248848                                                                       OKLAHOMA CITY      OK    73124‐8848

AMERICAN INFOSOURCE LP AS AGENT FOR   /T MOBILE USA INC                   PO BOX 248848                                                                       OKLAHOMA CITY      OK    73124‐8848
T MOBILE
AMERICAN INFOSOURCE LP AS AGENT FOR   PO BOX 248848                                                                                                           OKLAHOMA CITY      OK    73124‐8848
T MOBILE/T MOBILE USA INC
AMERICAN INFOSOURCE LP AS AGENT FOR   AMERICAN INFOSOURCE LP AS AGENT FOR T MOBILE/T‐MOBILE USA INC         PO BOX 248848                                     OKLAHOMA CITY      OK    73124‐8848
T MOBILE/T MOBILE USA INC
AMERICAN INFOSOURCE LP AS AGENT FOR   PO BOX 248848                                                                                                           OKLAHOMA CITY      OK    73124‐8848
T MOBILE/T‐MOBILE USA INC
AMERICAN INSTITUTE                    ACCOUNTS RECEIVABLE                 720 PROVIDENCE RD                                                                   MALVERN            PA    19355‐3402
AMERICAN INSTITUTE FOR                COMPUTER SCIENCES                   500 CENTURY PARK S STE 202                                                          BIRMINGHAM         AL    35226‐3950
AMERICAN INSTITUTE FOR CANCER         1759 R STREET NW                                                                                                        WASHINGTON         DC    20009
AMERICAN INSTITUTE FOR MANAGING       MOREHOUSE COLLEGE BOX 83            351 55 WESTVIEW DR SW                                                               ATLANTA            GA    30310
DIVERSITY INC
AMERICAN INSTITUTE FOR PARALEGAL      17W705 BUTTERFIELD RD STE A                                                                                             OAKBROOK TERRACE    IL   60181‐4363
STUDIES INC
AMERICAN INSTITUTE FOR PARALEGAL      17515 W NINE MILE RD                                                                                                    SOUTHFIELD         MI    48075
STUDIES INC
AMERICAN INSTITUTE FOR PARALEGAL      1057 DELLA ST SE                                                                                                        MARIETTA           GA    30067‐5474
STUDIES INC
AMERICAN INSTITUTE OF                 CERTIFIED PUBLIC ACCOUNTANTS        PO BOX 9264                       CHURCH STREET STATION                             NEW YORK           NY    10256‐0068
AMERICAN INSTITUTE OF                 CERTIFIED PUBLIC ACCOUNTANTS        220 LEIGH FARM RD                                                                   DURHAM             NC    27707‐8110
AMERICAN INSTITUTE OF BUSINESS        ATTN ANN M POLITO                   2500 FLEUR DR                                                                       DES MOINES         IA    50321‐1749
AMERICAN INSTITUTE OF PHYSICS         2 HUNTINGTON QUADRANGLE, SUITE                                                                                          MELVILLE           NY    11747
                                      1NO1
AMERICAN INSTITUTE OF PHYSICS         PO BOX 503284                                                                                                           SAINT LOUIS        MO    63150‐3284
AMERICAN INSTITUTE‐FINANCIAL          ATTN: ROBERT SIERRA                 77 CENTRAL AVE # 214                                                                CLARK              NJ    07066‐1441
AMERICAN INSTRUMENTATION INC          2681 VERO DR                                                                                                            HIGHLAND           MI    48356‐2255
AMERICAN INT'L INS CO OF DE A/S/O     ATTN: JOYCE M GOLDSTEIN             ALTSCHUL GOLDSTEIN & GELLER LLP 17 BATTERY PL, STE 711                              NEW YORK           NY    10004
DEBORAH EDDY
AMERICAN INTER/DET                    4080 LONYO ST                                                                                                           DETROIT            MI    48210‐2103
AMERICAN INTERCONTINENTAL             UNIVERSITY ONLINE                   5550 PRAIRIE STONE PKWY STE 400                                                     HOFFMAN ESTATES    IL    60192‐3713

AMERICAN INTERCONTINENTAL             6600 PEACHTREE DUNWOODY RD NE       500 EMBASSY ROW                                                                     ATLANTA            GA    30328‐6773
AMERICAN INTERCONTINENTAL             UNIVERSITY ONLINE                   13457 COLLECTION CENTER DR                                                          CHICAGO            IL    60693‐0134
AMERICAN INTERCONTINENTAL CENTER      6600 P TREE DUN RD NE BLDG 500                                                                                          ATLANTA            GA    30328
FOR PROF STUDIES
AMERICAN INTERNATIONAL                112 SOUTH BAY ROAD                                                                                                      NORTH SYRACUSE     NY    13212
AMERICAN INTERNATIONAL GROUP          SARAH MERENS                        1375 EAST 9TH STREET                                                                CLEVELAND          OH    44114
AMERICAN INTERNATIONAL GROUP          DAVE HARVEY                         72 WALL ST                                                                          NEW YORK           NY    10005‐2800
AMERICAN INTERNATIONAL GROUP          72 WALL ST                                                                                                              NEW YORK           NY    10005‐2800
AMERICAN INTERNATIONAL INS CO OF      JOYCE M GOLDSTEIN                   ALTSCHUL GOLDSTEIN & GELLER LLP 17 BATTERY PLACE SUITE 711                          NEW YORK           NY    10004
DELAWARE A/S/O EDWIN MONTANEZ 09
TC79
AMERICAN INTERNATIONAL INSURANCE      250 MUNZO RIVERA AVE                6TH FLOOR                                                                           HATO REY           PR    00918
AGENCY
AMERICAN INTERNATIONAL INSURANCE      KRAUS STEVEN G LAW OFFICES OF       122 MOUNT BETHEL RD                                                                 WARREN              NJ   07059‐5127
COMPANY OF DELAWARE
AMERICAN INTERNATIONAL INSURANCE      A/S/O RICHARD LARRIVA               LAW OFFICES OF STEVEN G KRAUS     122 MOUNT BETHEL ROAD                             WARREN              NJ   07059‐5127
COMPANY OF DELEWARE
AMERICAN INTERNATIONAL RAC            1346 PARKRIDGE DR                                                                                                       SAN ANTONIO         TX   78216‐6031
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Name                                Address1                          Address2                        Address3                   Address4                  City            State Zip
AMERICAN INTERNATIONAL RECOVERY                                       NEWBY LEWIS KAMINSKI & JONES    916 LINCOLNWAY , P O BOX                             LA PORTE         IN 46352
                                                                                                      1816
AMERICAN INTERNATIONAL RENT A CAR   6800 SMITH RD                                                                                                          DENVER          CO    80207‐1513

AMERICAN INTERNATIONAL RENT A CAR   300 S 24TH ST                                                                                                          PHOENIX         AZ    85034‐2541

AMERICAN INTERNATIONAL RENT A CAR   5309 MCCOY RD                                                                                                          ORLANDO          FL   32812‐4207

AMERICAN INTERNATIONAL SOUTH INS CO A/S/O ARGIN HUTCHINS 09TC7925     ATTN JOYCE M GOLDSTEIN          ALTSCHUL GOLDSTEIN &       17 BATTERY PL STE 711     NEW YORK        NY    10004
                                                                                                      GELLER LLP
AMERICAN INTERNATIONAL SOUTH        JOYCE M GOLDSTEIN                 ALTSCHUL GOLDSTEIN & GELLER LLP 17 BATTERY PL STE 711                                NEW YORK        NY    10004
INSURANCE CO A/S/O NANCY SCARDINA

AMERICAN IRON & STEEL INSTITUTE     2000 TOWN CTR STE 320                                                                                                  SOUTHFIELD      MI    48075‐1123
AMERICAN IRON & STEEL INSTITUTE     1140 CONNECTICUT AVE NW STE 705                                                                                        WASHINGTON      DC    20036‐4011
AMERICAN IRON AND STEEL INSTITUE    2000 TOWN CTR STE 320                                                                                                  SOUTHFIELD      MI    48075‐1123
AMERICAN ISUZU MOTORS, INC.         13340 183RD ST                                                                                                         CERRITOS        CA    90703‐8748
AMERICAN JEBCO CORP                 11330 MELROSE AVE                                                                                                      FRANKLIN PARK   IL    60131‐1323
AMERICAN KIDNEY FUND                6110 EXECUTIVE BLVD STE 101                                                                                            ROCKVILLE       MD    20852
AMERICAN LABEL & TAG INC            PO BOX 85488                      41878 KOPPERNICK                                                                     WESTLAND        MI    48185‐0488
AMERICAN LABEL & TAGS INC           8110 RONDA DR                                                                                                          CANTON          MI    48187‐2071
AMERICAN LABELMARK CO               5724 N PULASKI RD                 PO BOX 46402                                                                         CHICAGO         IL    60646
AMERICAN LABELMARK CO               5724 N PULASKI                    REMOVED 5‐31‐00                                                                      CHICAGO         IL    60646
AMERICAN LABOR POOL                 27360 YNEZ RD                                                                                                          TEMECULA        CA    92591‐4602
AMERICAN LAND                       JR MUNTEAN                        12090 MERRIMAN RD                                                                    LIVONIA         MI    48150‐1974
AMERICAN LAND TRANSPORT             JR MUNTEAN                        12090 MERRIMAN RD                                                                    LIVONIA         MI    48150‐1974
AMERICAN LASER INC                  13920 E 10 MILE RD                                                                                                     WARREN          MI    48089‐2156
AMERICAN LAW INSTITUTE              4025 CHESTNUT ST                                                                                                       PHILADELPHIA    PA    19104‐3080
AMERICAN LE MANS SERIES THE         5624 W 73RD ST                                                                                                         INDIANAPOLIS    IN    46278‐1738
AMERICAN LEA/CHICAGO                310 SO. MICHIGAN AVE.             12TH FLOOR                                                                           CHICAGO         IL    60604
AMERICAN LEASING SERVICES INC       6673 PINERIDGE CT                                                                                                      JENISON         MI    49428
AMERICAN LED‐GIBLE                  1776 LONE EAGLE ST                                                                                                     COLUMBUS        OH    43228‐3655
AMERICAN LEGAL PUBLISHING CORP      ATTN D T HORWALT                  432 WALNUT ST FL 12                                                                  CINCINNATI      OH    45202‐3907
AMERICAN LEGION                     ATTN: BRUCE MANRY                 2200 S NIAGARA ST                                                                    SAGINAW         MI    48602‐1245
AMERICAN LEGION POST 624            ATTN EDDIE SOUTH                  2951 FM 917                                                                          MANSFIELD       TX    76063‐7416
AMERICAN LEGISLATIVE EXCHANGE       C/O M BORONARO STE 240            214 MASSACHUSETTS AVE NW                                                             WASHINGTON      DC    20002
COUNCIL
AMERICAN LINEN                      5090 COOK ST                      ACCT RECEIVABLE DEPT                                                                 DENVER          CO    80216‐2428
AMERICAN LINEN SUPPLY CO            519 E 19TH ST                                                                                                          HIBBING         MN    55746‐1666
AMERICAN LIVER FOUNDATION           75 MAIDEN LN RM 603                                                                                                    NEW YORK        NY    10038‐4695
AMERICAN LOKRING CORP.              MARK BEILEY X311                  PO BOX 673                                                                           ROMULUS         MI
AMERICAN LOKRING/FL                 2525 DUNDEE RD                    PO DRAWER 673                                                                        WINTER HAVEN    FL    33884‐1169
AMERICAN LUBRICANTS INC             619 BAILEY AVE                                                                                                         BUFFALO         NY    14206‐3001
AMERICAN LUNG ASSOCIATION           490 CONCORDIA AVE                                                                                                      SAINT PAUL      MN    55103‐2412
AMERICAN LUNG ASSOCIATION           61 BROADWAY FL 6                                                                                                       NEW YORK        NY    10006‐2753
AMERICAN LUNG ASSOCIATION OF THE    490 CONCORDIA AVE                                                                                                      SAINT PAUL      MN    55103‐2412
UPPER MIDWEST
AMERICAN LUXURY COACH, INC          JOSEPH JEBAILY                    1714 S. IRBY STREET                                                                  FLORENCE        SC    29501
AMERICAN LUXURY COACH, INC.         1702 S IRBY ST                                                                                                         FLORENCE        SC    29505‐3412
AMERICAN LUXURY COACH, INC.
AMERICAN MACHINING                  REGINA MOMGAUDAS                  2232 WIGGINS RD                                                                      FENTON          MI    48430‐9760
AMERICAN MACHINING                  REGINA MOMGAUDAS                  2232 WIGGINS ROAD                                                                    WESTMINSTER     CA    92683
AMERICAN MACHINING                  2232 WIGGINS RD                                                                                                        FENTON          MI    48430‐9760
AMERICAN MACHINING CO INC           REGINA MOMGAUDAS                  2232 WIGGINS RD                                                                      FENTON          MI    48430‐9760
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Name                               Address1                             Address2                  Address3    Address4               City              State Zip
AMERICAN MACHINING CO INC          REGINA MOMGAUDAS                     2232 WIGGINS ROAD                                            WESTMINSTER        CA 92683
AMERICAN MACULAR DEGENERATION      PO BOX 515                                                                                        NORTHAMPTON        MA 01061‐0515
FOUNDATION
AMERICAN MANAGEMENT ASSOC          PO BOX 4725                                                                                       BUFFALO           NY   14240‐4725
AMERICAN MANAGEMENT ASSOC          600 AMA WAY                                                                                       SARANAC LAKE      NY   12983‐5534
AMERICAN MANAGEMENT ASSOC          PO BOX 27327                                                                                      NEW YORK          NY   10087‐7327
AMERICAN MANAGEMENT ASSOCIATION    PO BOX 27327                                                                                      NEW YORK          NY   10087‐7327

AMERICAN MANUFACTURING INC         2375 DORR ST                                                                                      TOLEDO            OH   43607
AMERICAN MANUFACTURING INC         2375 DORR ST STE F                                                                                TOLEDO            OH   43607‐3407
AMERICAN MATER/PONTI               1711 HIGHWOOD E                                                                                   PONTIAC           MI   48340‐1238
AMERICAN MATERIAL HANDLING INC     1711 HIGHWOOD E                                                                                   PONTIAC           MI   48340‐1238
AMERICAN MATERL/TROY               1407‐A ALLEN DR.                     BOX 941                                                      TROY              MI   48083
AMERICAN MEAT CO INC               ATTN: CORPORATE OFFICER/AUTHORIZED   8201 E 23RD ST                                               KANSAS CITY       MO   64129‐1358
                                   AGENT
AMERICAN MEAT CO INC               8201 E 23RD ST                                                                                    KANSAS CITY       MO   64129
AMERICAN MECHANICAL SERVICES       ED DUNN                              1330 MID ATLANTIC BLVD                                       LAUREL            MD   20708‐1432
AMERICAN MECHANICAL SERVICES       ED DUNN                              13300 MID ATLANTIC BLVD                                      LAUREL            MD   20708‐1432
AMERICAN MEDCL RESPO               PO BOX 847925                                                                                     DALLAS            TX   75284‐7925
AMERICAN MEDIA                     DAVID PECKER                         1000 AMERICAN WAY                                            BOCA RATON        FL   33464‐0001
AMERICAN MEDICAL COLLECTION AGENCY 2269 SAW MILL RIVER RD STE 3                                                                      ELMSFORD          NY   10523‐3848

AMERICAN MEDICAL RESP ‐ 18200      920 S VALLEY DR                                                                                   LAS CRUCES        NM   88005‐3077
AMERICAN MEDICAL RESP ‐ 22050      3701 NEW YORK AVE                                                                                 ARLINGTON         TX   76014
AMERICAN MEDICAL RESP ‐ 22200      4355 BELTWOOD PKWY                                                                                FARMERS BRANCH    TX   75244
AMERICAN MEDICAL RESP ‐ 48460      45 BODWELL ST                                                                                     AVON              MA   02322‐1112
AMERICAN MEDICAL RESPONSE          1510 ROLLINS RD                                                                                   BURLINGAME        CA   94010‐2306
AMERICAN MEDICAL RESPONSE          12638 SATICOY ST S                                                                                NORTH HOLLYWOOD   CA   91605‐4313

AMERICAN MEDICAL RESPONSE          8808 BALBOA AVE                                                                                   SAN DIEGO         CA   92123
AMERICAN MEDICAL RESPONSE          14828 7TH ST                                                                                      VICTORVILLE       CA   92395‐4024
AMERICAN MEDICAL RESPONSE          879 MARLBOROUGH AVE                                                                               RIVERSIDE         CA   92507‐2133
AMERICAN MEDICAL RESPONSE          7925 CENTER AVE                                                                                   RANCHO            CA   91730‐3007
                                                                                                                                     CUCAMONGA
AMERICAN MEDICAL RESPONSE          1055 W AVENUE J                                                                                   LANCASTER         CA   93534‐3328
AMERICAN MEDICAL RESPONSE          5257 VINCENT AVE                                                                                  IRWINDALE         CA   91706‐2042
AMERICAN MEDICAL RESPONSE          915 W SHARP AVE                                                                                   SPOKANE           WA   99201‐2527
AMERICAN MEDICAL RESPONSE          13075 GATEWAY DR S STE 100                                                                        TUKWILA           WA   98168‐3342
AMERICAN MEDICAL RESPONSE          1 SE 2ND AVE                                                                                      PORTLAND          OR   97214‐1000
AMERICAN MEDICAL RESPONSE          642 143RD AVE                                                                                     SAN LEANDRO       CA   94578‐3304
AMERICAN MEDICAL RESPONSE          11911 RADIUM ST                                                                                   SAN ANTONIO       TX   78216‐2714
AMERICAN MEDICAL RESPONSE          600 IOWA ST                                                                                       REDLANDS          CA   92373‐8047
AMERICAN MEDICAL RESPONSE          3302 SEYMOUR HWY                                                                                  WICHITA FALLS     TX   76309‐1608
AMERICAN MEDICAL RESPONSE          906 WOOD ST                                                                                       WEST MONROE       LA   71291‐3250
AMERICAN MEDICAL RESPONSE                                               5257 VINCENT AVE                                                               CA   91706
AMERICAN MEDICAL RESPONSE                                               616 FITCH AVE             MOORPARK                                             CA   93021
AMERICAN MEDICAL RESPONSE          5237 HALLS MILL RD #D                                                                             MOBILE            AL   36619‐9603
AMERICAN MEDICAL RESPONSE          400 S FRESNO ST                                                                                   STOCKTON          CA   95203‐3007
AMERICAN MEDICAL RESPONSE          888 E LINDSAY ST                                                                                  STOCKTON          CA   95202‐2642
AMERICAN MEDICAL RESPONSE          1200 S MARTIN L KING BLVD                                                                         LAS VEGAS         NV   89102‐2318
AMERICAN MEDICAL RESPONSE          9 W DELHI AVE                                                                                     NORTH LAS VEGAS   NV   89032‐7836
AMERICAN MEDICAL RESPONSE          616 FITCH AVE                                                                                     MOORPARK          CA   93021‐2060
AMERICAN MEDICAL RESPONSE          401 SW JACKSON ST                                                                                 TOPEKA            KS   66603‐3327
AMERICAN MEDICAL RESPONSE          3121 S DODGION ST                                                                                 INDEPENDENCE      MO   64055
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Name                              Address1                         Address2                     Address3   Address4                City             State Zip
AMERICAN MEDICAL RESPONSE         517 DIVISION AVE S                                                                               GRAND RAPIDS      MI 49503‐5116
AMERICAN MEDICAL RESPONSE         4914 W KNOX ST                                                                                   TAMPA             FL 33634‐8026
AMERICAN MEDICAL RESPONSE         950 E VIRGINIA ST                                                                                EVANSVILLE        IN 47711‐5645
AMERICAN MEDICAL RESPONSE         360 W WOODROW WILSON AVE                                                                         JACKSON           MS 39213‐7680
AMERICAN MEDICAL RESPONSE         2370 N POWERS BLVD                                                                               COLORADO SPRINGS CO 80915‐1505

AMERICAN MEDICAL RESPONSE         1265 TRIPLETT BLVD                                                                               AKRON              OH   44306‐3162
AMERICAN MEDICAL RESPONSE         525 HAYDEN ST                                                                                    FORT WAYNE         IN   46802‐3550
AMERICAN MEDICAL RESPONSE         1101 FEE DR                                                                                      SACRAMENTO         CA   95815‐3909
AMERICAN MEDICAL RESPONSE         1498 NW 78TH AVE                                                                                 DORAL              FL   33126‐1608
AMERICAN MEDICAL RESPONSE         111 PULLMAN WAY                                                                                  SAN JOSE           CA   95111‐3161
AMERICAN MEDICAL RESPONSE         4548 A ST                                                                                        MARINA             CA   93933
AMERICAN MEDICAL RESPONSE         215 CAMPUS WAY                                                                                   MODESTO            CA   95350‐5805
AMERICAN MEDICAL RESPONSE         51‐51 PORT CHICAGO HWY                                                                           CONCORD            CA   94520
AMERICAN MEDICAL RESPONSE         229 S 2ND AVE                                                                                    YAKIMA             WA   98902‐3464
AMERICAN MEDICAL RESPONSE         155 FOURTH ST                                                                                    BRIDGEPORT         CT   06607
AMERICAN MEDICAL RESPONSE         930 FLUSHING AVE                                                                                 BROOKLYN           NY   11206
AMERICAN MEDICAL RESPONSE         9 COMMERCIAL DR                                                                                  BERWICK            ME   03901‐2833
AMERICAN MEDICAL RESPONSE         22 MIDTOWN PARK W                                                                                MOBILE             AL   36606‐4148
AMERICAN MEDICAL RESPONSE         1160 LINCOLN AVE                                                                                 HOLBROOK           NY   11741‐2289
AMERICAN MEDICAL RESPONSE         58 MIDDLETOWN AVE                                                                                NEW HAVEN          CT   06513‐4839
AMERICAN MEDICAL RESPONSE         5551 NW 9TH AVE                                                                                  FT LAUDERDALE      FL   33309‐2803
AMERICAN MEDICAL RESPONSE         1105 BARNETT DR STE B                                                                            LAKE WORTH         FL   33461‐2603
AMERICAN MEDICAL RESPONSE         2901 BROADWAY                                                                                    DENVER             CO   80216‐5026
AMERICAN MEDICAL RESPONSE         1076 MERCHANTS DR                                                                                DALLAS             GA   30132‐3000
AMERICAN MEDICAL RESPONSE         130 SHIELD ST                                                                                    WEST HARTFORD      CT   06110‐1940
AMERICAN MEDICAL RESPONSE         117 E AURORA ST                                                                                  WATERBURY          CT   06708‐2023
AMERICAN MEDICAL RESPONSE         595 COTTAGE ST                                                                                   SPRINGFIELD        MA   01104‐3220
AMERICAN MEDICAL RESPONSE         2500 ABBOTT PL                                                                                   SAINT LOUIS        MO   63143‐2636
AMERICAN MEDICAL RESPONSE         12020 INTRAPLEX PKWY                                                                             GULFPORT           MS   39503‐4602
AMERICAN MEDICAL RESPONSE         7509 SOUTH FWY                                                                                   HOUSTON            TX   77021‐5928
AMERICAN MEDICAL RESPONSE         225 SHREWSBURY ST                STE G                                                           WORCESTER          MA   01604‐4848
AMERICAN MEDICAL RESPONSE         430 N 8TH ST                                                                                     PHILADELPHIA       PA   19123‐3903
AMERICAN MEDICAL RESPONSE A/P0    45 BODWELL ST                                                                                    AVON               MA   02322‐1112
AMERICAN MEDICAL RESPONSE, INC.   STEVE SILLOWAY                   6200 S. SYRACUSE WAY                                            GREENWOOD          CO   80111
                                                                                                                                   VILLAGE
AMERICAN MEDICAL SER              825 W HURON ST                                                                                   PONTIAC            MI   48341‐1530
AMERICAN MEDICAL SYSTEMS          JEFF SVEDAHL                     10700 BREN RD W                                                 MINNETONKA         MN   55343‐9679
AMERICAN MERCHANDISING SERVICE    PO BOX 12408                                                                                     CLEVELAND          OH   44112‐0408
AMERICAN MESSAGING                1720 LAKEPOINTE DR                                                                               LEWISVILLE         TX   75057‐6408
AMERICAN MESSAGING                PO BOX 5749                                                                                      CAROL STREAM       IL   60197‐5749
AMERICAN MESSAGING (AM) INC       32255 NORTHWESTERN HWY STE 143                                                                   FARMINGTON HILLS   MI   48334

AMERICAN MESSAGING INC            ATTN REBECCA CAMPBELL            1720 LAKEPOINTE DR STE 100                                      LEWISVILLE         TX   75057‐6425
AMERICAN MESSAGING INC            1720 LAKEPOINTE DR               STE 100                                                         LEWISVILLE         TX   75057‐6425
AMERICAN MESSAGING SERVICES LL    1720 LAKEPOINTE DR STE 100                                                                       LEWISVILLE         TX   75057‐6425
AMERICAN METAL & PLASTICS INC     450 32ND ST SW                                                                                   GRAND RAPIDS       MI   49548‐1021
AMERICAN METAL & PLASTICS INC     LARRY KNUDSEN                    450‐32ND ST SW/PO 8768                  ETOBICOKE ON CANADA
AMERICAN METAL & PLASTICS INC.    LARRY KNUDSEN                    450‐32ND ST SW/PO 8768                  ETOBICOKE ON CANADA
AMERICAN METAL CHEMICAL CORP      835 W SMITH RD                                                                                   MEDINA             OH   44256‐2424
AMERICAN METAL CHEMICAL CORP      PO BOX 431                       835 W SMITH RD                                                  MEDINA             OH   44258‐0431
AMERICAN METAL CLEANING INC       2512 ALBION ST                                                                                   TOLEDO             OH   43610‐1215
AMERICAN METAL FABRICATIONS       2512 SISCO AVE                                                                                   RICHMOND           VA   23234‐2732
AMERICAN METAL FIBERS INC         2889 N NAGAL CRT                                                                                 LAKE BLUFF         IL   60044
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Name                                 Address1                        Address2                         Address3                Address4               City              State   Zip
AMERICAN METAL MARKET                1250 BROADWAY                                                                                                   NEW YORK           NY     10001
AMERICAN METAL PROCESSING CO         22720 NAGEL ST                                                                                                  WARREN             MI     48089‐3725
AMERICAN MGMT/SARANA                 PO BOX 1026                                                                                                     SARANAC LAKE       NY     12983‐1026
AMERICAN MICRO INDUSTRIES INC        440 RAMSEY AVENUE                                                                                               CHAMBERSBURG       PA     17201
AMERICAN MICRO INDUSTRIES INC        440 RAMSEY AVE STE B                                                                                            CHAMBERSBURG       PA     17201‐4202
AMERICAN MIT/BARDSTO                 901 WITHROW CT                                                                                                  BARDSTOWN          KY     40004‐2605
AMERICAN MITSUBA OF BARDSTOWN        TONY BELL                       C/O VALEO ELECTRICAL SYSTEMS I   5A ZANE GREY                                   LIVINGSTON         TN     38570
AMERICAN MITSUBA OF BARDSTOWN        TONY BELL X5321                 C/O LEAR CORPORATION CANADA      375 BASALTIC ROAD       TORONTO ON CANADA
AMERICAN MOB/LOGANVI                 4820 HIGHWAY 20                                                                                                 LOGANVILLE         GA     30052‐2887
AMERICAN MOBILE OFFICE & CONTAINER   13930 BRAINBRIDGE AVE                                                                                           WARREN             MI     48089‐3600

AMERICAN MOBILE OFFICE INC           13930 BRAINBRIDGE AVE                                                                                           WARREN             MI     48089‐3600
AMERICAN MODERN INSURANCE GROUP      CROSBY & GLADNER                1700 E THOMAS RD STE 101                                                        PHOENIX            AZ     85016‐7603

AMERICAN MOLDED PRODUCTS            FRANK LUCIDO JR.                 THE AMERICAN TEAM                DEER CREEK CORP. PARK                          WARREN             MI     48089
AMERICAN MOLDED PRODUCTS            51734 FILOMENA DR                                                                                                SHELBY TOWNSHIP    MI     48315‐2948
AMERICAN MOLDED PRODUCTS LLC        51734 FILOMENA DR                                                                                                SHELBY TWP         MI     48315‐2948
AMERICAN MOLDED PRODUCTS LLC                                         51734 FILOMENA DR                                                               SHELBY TWP         MI     48315
AMERICAN MOLDED PRODUCTS LLC        FRANK LUCIDO JR.                 THE AMERICAN TEAM                DEER CREEK CORP. PARK                          WARREN             MI     48089
AMERICAN MOTOR LINES INC            36253 MICHIGAN AVE STE 300                                                                                       WAYNE              MI     48184
AMERICAN MS/MI                      PO BOX 36214                                                                                                     DETROIT            MI     48236‐0214
AMERICAN MSC INC                    2451 ELLIOTT DR                                                                                                  TROY               MI     48083‐4503
AMERICAN MSC INC                    2401 ELLIOTT DR                                                                                                  TROY               MI     48083‐4503
AMERICAN MSC. INC.                  NORIMOTO USUI‐107                MURATA SPRING CO.,LTD.(JAPAN)    2401 ELLIOTT DR.                               EL PASO            TX     79936
AMERICAN MSC/MI                     21300 CARLO DRIVE                                                                                                MACOMB             MI     48044
AMERICAN MSC/TROY                   2451 ELLIOTT DR                                                                                                  TROY               MI     48083‐4503
AMERICAN MUSEUM OF NATURAL HIS      CENTRAL PARK WEST AT 79TH STRE                                                                                   NEW YORK           NY     10024
AMERICAN MUSIC/NASHV                729 CALHOUN AVE                                                                                                  NASHVILLE          TN     37210‐2901
AMERICAN NAT/CADIZ                  277 INDUSTRIAL DR                                                                                                CADIZ              KY     42211‐7701
AMERICAN NAT/NEW YRK                11 W 42ND ST #13TH                                                                                               NEW YORK           NY     10036
AMERICAN NATIONAL BANK              ESCROW AGENT FOR YUMA ARIZONA    TEST TRACK                       3033 EAST FIRST AVE                            DENVER             CO     80206
AMERICAN NATIONAL BANK & TRUSTCO OF C/O TJG MANAGEMENT CO            ONE OAK HILL CENTER                                                             WESTMONT           IL     60559
CHICAGO TRUST
AMERICAN NATIONAL INS CO            C\O HOKANSON COMPANIES INC       201 W 103RD ST STE 400                                                          INDIANAPOLIS      IN      46290‐1237
AMERICAN NATIONAL INSURANCE CO      C/O PARK FLETCHER INC            PO BOX 421607                                                                   INDIANAPOLIS      IN      46242‐1607
AMERICAN NATIONAL INSURANCE CO      C\O DUKE REALTY SERVICES LP      PO BOX 66541                                                                    INDIANAPOLIS      IN      46266‐6541
AMERICAN NATIONAL PROPERTY &        ANPAC                            ATTN: SUBROGATION / 36A1WR981 1949 E SUNSHINE                                   SPRINGFIELD       MO      65899
CASUALTY
AMERICAN NATIONAL RED CROSS
AMERICAN NATIONAL RED CROSS         2025 E ST NW                                                                                                     WASHINGTON        DC      20006‐5009
AMERICAN NATIONAL RED CROSS         NATIONAL HEADQUARTERS 2025 E                                                                                     WASHINGTON        DC      20006
AMERICAN NATIONAL RUBBER CO         MAIN & HIGH STS                                                                                                  CEREDO            WV      25507
AMERICAN NATIONAL RUBBER CO         MAIN & HIGH STS                  21649 CEDAR CREEK AVE                                                           GEORGETOWN        DE      19974‐6395
AMERICAN NATIONAL RUBBER CO                                          MAIN & HIGH STS                                                                 CEREDO            WV      25507
AMERICAN NATIONAL RUBBER CO         277 INDUSTRIAL DR                                                                                                CADIZ             KY      42211‐7701
AMERICAN NATIONAL RUBBER CO         568 CLAYTON LN E                                                                                                 LOUISA            KY      41230
AMERICAN NATIONAL RUBBER CO         21649 CEDAR CREEK AVE                                                                                            GEORGETOWN        DE      19947
AMERICAN NATIONAL RUBBER CO INC     277 INDUSTRIAL DR                                                                                                CADIZ             KY      42211‐7701
AMERICAN NATIONAL STANDARDS         25 WEST 43RD ST.                                                                                                 NEW YORK          NY      10036
INSITITUTE, INC.
AMERICAN NATIONAL STANDARDS         25 W 43RD ST FL 4                                                                                                NEW YORK           NY     10036‐7422
INSTITUTE
AMERICAN NEUROMONITO                10420 L PATUXENT PKWY            STE 250                                                                         COLUMBIA          MD      21044
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Name                                 Address1                           Address2                      Address3                   Address4                 City               State Zip
AMERICAN OCCUPATIONAL THERAPY        PO BOX 62190                       PO BOX 64394                                                                      BALTIMORE           MD 21264‐2190
ASSOCIATION INC
AMERICAN OUTFITTERS INC              KILLMAN JUSTIN W                    95 EAST IRONWOOD BOX 770                                                         QUARTZSITE         AZ    85346
AMERICAN OUTFITTERS INC ‐            DESIGN PATENT & TM INFRINGEMENT ‐H2 AMERICAN OUTFITTERS INC      95 EAST IRONWOOD BOX 770                            QUARTZSITE         AZ    85346
                                     & H3 HUMMERS
AMERICAN OUTFITTERS INC ‐ DESIGN     H2 & H3 HUMMERS                     AMERICAN OUTFITTERS INC      KILLMAN JUSTIN W           95 EAST IRONWOOD BOX 770 QUARTZSITE         AZ    85346
PATENT & TM INFRINGEMENT
AMERICAN PACKAGING CORPORATION       44562 MORLEY DR                                                                                                      CLINTON TOWNSHIP   MI    48036‐1358

AMERICAN PAP/NSHVILL                 7400 COCKRILL BEND BLVD            PO BOX 90348                                                                      NASHVILLE          TN    37209‐1047
AMERICAN PAPER & TWINE CO            7149 CENTENNIAL BLVD               PO BOX 90348                                                                      NASHVILLE          TN    37209‐1020
AMERICAN PAPER & TWINE CO            7400 COCKRILL BEND BLVD            PO BOX 90348                                                                      NASHVILLE          TN    37209‐1047
AMERICAN PARKINSON DISEASE           135 PARKINSON AVE                  PARKINSON PLAZA                                                                   STATEN ISLAND      NY    10305‐1425
ASSOCIATION
AMERICAN PARTS WAREHOUSE             2697 E COUNTY RD                                                                                                     WHITE BEAR LAKE    MN    55110
AMERICAN PAVILION                    1706 WARRINGTON AVE                                                                                                  DANVILLE           IL    61832‐5361
AMERICAN PAWN BROKERS                G5282 N SAGINAW ST                                                                                                   FLINT              MI    48505‐1545
AMERICAN PEST CONTROL                DIV AMERICAN PEST DOCTORS          PO BOX 3003                                                                       MARION             IN    46953‐0003
AMERICAN PETROLEUM INSTITUTE         1220 L STREET NORTHWEST                                                                                              WASHINGTON         DC    20005
AMERICAN PF/LOVES PK                 1351 WINDSOR RD                                                                                                      LOVES PARK         IL    61111‐4235
AMERICAN PHOTOCOPY                   1211 TRUMBULL ST                                                                                                     DETROIT            MI    48216‐1940
AMERICAN PHYSICAL SOCIETY            1 PHYSICS ELLIPSE                                                                                                    COLLEGE PARK       MD    20740‐3841
AMERICAN PIPE LINING‐GREAT LAKES     31675 8 MILE RD                                                                                                      LIVONIA            MI    48152‐4217
AMERICAN PLASTICS COMPANY            6733 MID CITIES AVE                                                                                                  BELTSVILLE         MD    20705‐1409
AMERICAN PLASTICS EXTRUDING          JUDY WHALEN                        808 RHOADS AVE.                                                                   SOUTHAMPTON        PA    18966
AMERICAN PORT SERVICES EAST COAST,   9240 BLOUNT ISLAND BLVD                                                                                              JACKSONVILLE       FL    32226‐4028
INC
AMERICAN POWER CONNECTION SYSTEM     2490 MIDLAND RD                                                                                                      BAY CITY           MI    48706‐9469

AMERICAN POWER CONVERSION CORP       132 FAIRGROUNDS RD                                                                                                   WEST KINGSTON       RI   02892‐1511

AMERICAN POWER CONVERSION CORP       132 FAIRGROUNDS RD                 PO BOX 278                                                                        WEST KINGSTON       RI   02892‐1511

AMERICAN POWER SERVICE COMPANY       PO BOX 13466                                                                                                         FAIRLAWN           OH    44334‐8866
AMERICAN PREMIER GROUP INC.          1508 HERITAGE BLVD                                                                                                   WEST SALEM         WI    54669‐9293
AMERICAN PRESIDENT LINES             16220 N SCOOTSDALE RD                                                                                                SCOTTSDALE         AZ    85254‐1720
AMERICAN PRESIDENT LINES LTD         116 INVERNESS DR E STE 400         DENVER SERCVICE CENTER                                                            ENGLEWOOD          CO    80112‐5125
AMERICAN PRESIDENT LINES LTD         116 INVERNESS DR E STE 400                                                                                           ENGLEWOOD          CO    80112‐5125
AMERICAN PRESS & LABEL, INC.         2711 LANDERS AVE # A                                                                                                 NASHVILLE          TN    37211‐2204
AMERICAN PRESS/NASHV                 2711 LANDERS AVE # A                                                                                                 NASHVILLE          TN    37211‐2204
AMERICAN PRIDE TRUCKING              3655 COLWOOD RD                                                                                                      CARO               MI    48723‐9732
AMERICAN PRODUCTION AND INVENTORY    6060 EDNA OAKS CT                                                                                                    DAYTON             OH    45459‐1134
CONTROL SOCIETY
AMERICAN PRODUCTION MACHINING LLC    AMERICAN PRODUCTION MACHINING      1 WOODWARD AVE STE 2400                                                           DETROIT            MI    48226‐5485

AMERICAN PRODUCTS LTD                1600 CLINTON AVE N                                                                                                   ROCHESTER          NY    14621‐2208
AMERICAN PROPERTY LOCATORS,INC       ATTN: RON LEPPKE                   3855 S BOULEVARD ST STE 200                                                       EDMOND             OK    73013‐5499
AMERICAN PROPERTY MANAGEMENT         2154 NE BROADWAY ST STE 200                                                                                          PORTLAND           OR    97232‐1561
AMERICAN RAC/RANCHO                  19067 S REYES AVE                                                                                                    EAST RANCHO        CA    90221‐5813
                                                                                                                                                          DOMINGUEZ
AMERICAN RACING/STHF                 100 GALLERIA OFFICENTRE            SUITE 129                                                                         SOUTHFIELD         MI    48034
AMERICAN RADIOLOGY A                 PO BOX 17513                                                                                                         BALTIMORE          MD    21297‐7513
AMERICAN RECYCLING & MFG CO INC      58 MCKEE RD                                                                                                          ROCHESTER          NY    14611‐2012
AMERICAN RED CROSS                   661 MAHONING AVE NW                                                                                                  WARREN             OH    44483‐4607
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AMERICAN RED CROSS                   WYANDOTTE COUNTY CHAPTER               1600 WASHINGTON BLVD                                                     KANSAS CITY         KS     66102‐2842
AMERICAN RED CROSS                   RAPPAHANNOCK AREA CHAPTER              4836 SOUTHPOINT PKWY                                                     FREDERICKSBRG       VA     22407‐2658
AMERICAN RED CROSS                   MID MICHIGAN CHAPTER                   1800 E GRAND RIVER AVE                                                   LANSING             MI     48912‐2305
AMERICAN RED CROSS                   DEFIANCE COUNTY CHAPTER                1220 S CLINTON ST                                                        DEFIANCE            OH     43512‐2709
AMERICAN RED CROSS                   EAST SHORELINE CHAPTER HDQTRS          228 WASHINGTON AVE                                                       BAY CITY            MI     48708‐5848
AMERICAN RED CROSS                   DAYTON AREA CHAPTER                    PO BOX 517                                                               DAYTON              OH     45401‐0517
AMERICAN RED CROSS                   MAHONING CHAPTER                       8392 TOD AVE                                                             BOARDMAN            OH     44512‐6366
AMERICAN RED CROSS                   ST CHARLES CTY SERVICE CTR             224 MID RIVERS CTR                                                       SAINT PETERS        MO     63376‐4325
AMERICAN RED CROSS                   GRANT COUNTY CHAPTER                   241 W 3RD ST                                                             MARION              IN     46952‐4030
AMERICAN RED CROSS                   601 NE 6TH ST                                                                                                   OKLAHOMA CITY       OK     73104‐6209
AMERICAN RED CROSS                   SOUTHWESTERN CHAPTER                   PO BOX 371997               MELLON BANK                                  PITTSBURGH          PA     15251‐7997
AMERICAN RED CROSS                   SOUTHEASTERN MICHIGAN CHAPTER          PO BOX 44110                ATTN MONICA DEJESUS                          DETROIT             MI     48244‐0110
AMERICAN RED CROSS                   SO KY CHAPTER                          430 CENTER ST                                                            BOWLING GREEN       KY     42101‐1223
AMERICAN RED CROSS                   3747 EUCLID AVE                                                                                                 CLEVELAND           OH     44115‐2501
AMERICAN RED CROSS                   514 W 49TH ST                          #2                                                                       NEW YORK            NY     10019‐7143
AMERICAN RED CROSS                   WORKPLACE PROGRAMS                     100 MACK AVE                PER AFC 5/27/03                              DETROIT             MI     48201‐2416
AMERICAN RED CROSS                   100 MACK AVENUE BOX 33351                                                                                       DETROIT             MI     48201
AMERICAN RED CROSS DEFIANCE COUNTY   ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 1220 S CLINTON ST                                                        DEFIANCE            OH     43512‐2709
CHAPTER
AMERICAN RED CROSS GREATER BUFFALO   786 DELAWARE AVE                                                                                                BUFFALO             NY     14209‐2006
CHAPTER
AMERICAN RED CROSS GREATER           50 PRINCE ST                                                                                                    ROCHESTER           NY     14607‐1016
ROCHESTER CHAPTER
AMERICAN RED CROSS NORTHERN          1190 CORPORATE BLVD                                                                                             RENO                NV     89502‐2330
NEVADA
AMERICAN RED CROSS NW LOUISIANA      4221 LINWOOD AVE                                                                                                SHREVEPORT          LA     71108‐3121
CHAPTER
AMERICAN RED CROSS OF THE GREATER    2200 AVENUE A                                                                                                   BETHLEHEM           PA     18017
LEHIGH VALLEY CHAPTER
AMERICAN RED CROSS OF WCM            1050 FULLER AVE NE                                                                                              GRAND RAPIDS       MI      49503‐1304
AMERICAN RED CROSS RICHLAND COUNTY   39 PARK ST N                                                                                                    MANSFIELD          OH      44902‐1711
CHAPTER
AMERICAN RED CROSS SOUTHWESTERN      MELLON BANK                           PO BOX 371997                                                             PITTSBURGH          PA     15251‐7997
CHAPTER
AMERICAN RED CROSS, THE              241 W 3RD ST                                                                                                    MARION              IN     46952‐4030
AMERICAN RED CROSS/MAURY CO.         302B W 7TH ST                                                                                                   COLUMBIA            TN     38401‐3133
CHAPTER
AMERICAN RED/BLOOMFI                 2388 FRANKLIN RD                      ATTN: SUE GOGAS                                                           BLOOMFIELD HILLS    MI     48302‐0332
AMERICAN RED/COLUMBI                 302B W 7TH ST                                                                                                   COLUMBIA            TN     38401‐3133
AMERICAN RED/OAK PK                  25900 GREENFIELD RD                                                                                             OAK PARK            MI     48237
AMERICAN REGISTRY                    FOR INTERNET NUMBERS                  3635 CONCORDE PKWY STE 200                                                CHANTILLY           VA     20151‐1125
AMERICAN RELIANCE INC                DBA AMREL                             11801 GOLDRING RD                                                         ARCADIA             CA     91006‐5880
AMERICAN RELIANCE INC                3445 FLETCHER AVE                                                                                               EL MONTE            CA     91731‐3001
AMERICAN RENTAL                      2033 16TH ST                                                                                                    BEDFORD             IN     47421‐2731
AMERICAN RENTAL                      1435 LIBERTY DRIVE                                                                                              BLOOMINGTON         IN     47403
AMERICAN RENTALS INC                 4901 W GRAND RIVER AVE                                                                                          LANSING             MI     48906‐9108
AMERICAN REPORTING INC               PO BOX 2124                                                                                                     SOUTHFIELD          MI     48037‐2124
AMERICAN REPROGRAPHIC SYSTEMS INC    660 WOODWARD AVE STE 16                                                                                         DETROIT             MI     48226

AMERICAN REPROGRAPHICS COMPANY       JOE ABEYESINHE                        700 N CENTRAL AVE STE 550                                                 GLENDALE            CA     91203‐3299

AMERICAN RESEARCH BUREAU INC         110 16TH ST                           STE 506                                                                   DENVER              CO     80202‐5200
AMERICAN RESTORATION INC             ATTN: BOB BOURDON                     630 CESAR E CHAVEZ AVE                                                    PONTIAC             MI     48342‐1057
AMERICAN RIGGERS SUPPLY INC          1010 KANSAS AVE                       PO BOX 2008                                                               KANSAS CITY         KS     66105‐1210
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AMERICAN RIVER COLLEGE               4700 COLLEGE OAK DR                                                                               SACRAMENTO          CA     95841‐4217
AMERICAN RIVER PACKAGING INC         250 VISTA BLVD STE 101           ADD CHNG MW 10/01 LTR                                            SPARKS              NV     89434‐6649
AMERICAN RIVER TRANS                                                  8400 RIVER RD                                                                        LA     70094
AMERICAN RIVET CO INC                7135 ARDMORE ST                                                                                   HOUSTON             TX     77054‐3501
AMERICAN ROAD EXPRESS INC            4028 E 4TH ST                                                                                     OWENSBORO           KY     42303‐0233
AMERICAN ROAMER                      CORPORATE COUNSEL                5909 SHELBY OAKS DR STE 105                                      MEMPHIS             TN     38134‐7322
AMERICAN ROAMER                      5909 SHELBY OAKS DR STE 105                                                                       MEMPHIS             TN     38134‐7322
AMERICAN ROAMER CO INC               CORPORATE COUNSEL                5909 SHELBY OAKS DR STE 105                                      MEMPHIS             TN     38134‐7322
AMERICAN ROAMER CO INC               5909 SHELBY OAK DE STE 105                                                                        MEMPHIS             TN     38134
AMERICAN ROLL‐ON ROLL‐OFF CARRIER    1 MAYNARD DR                     STE 9                                                            PARK RIDGE          NJ     07656‐1895
LLC
AMERICAN ROYAL ASSOCIATION           ATTN ACCOUNTING                  1701 AMERICAN ROYAL CT                                           KANSAS CITY        MO      64102‐1024
AMERICAN RUB/LAPORTE                 315 BRIGHTON ST                                                                                   LA PORTE           IN      46350‐2608
AMERICAN RUBBER PRODS. CORP.         LESLIE HERROD                    PO BOX 153                                                       AUBURN HILLS       MI      48057
AMERICAN RUBBER PRODUCTS             PO BOX 11364                                                                                      FORT WAYNE         IN      46857‐1364
AMERICAN RUBBER PRODUCTS             ATTN JO EBERHART                 315 BRIGHTON ST                                                  LA PORTE           IN      46350‐2608
AMERICAN RUBBER PRODUCTS CORP                                         315 BRIGHTON STREET                                                                 IN      46350
AMERICAN SAFETY & EQUIPMENT INC      5055 PILGRIM RD                                                                                   FLINT              MI      48507‐3909
AMERICAN SCALE & EQUIPMENT CO        8839 KELSO DR STE D                                                                               BALTIMORE          MD      21221‐3163
AMERICAN SCALE & EQUIPMENT CO INC    8839 KELSO DR STE D                                                                               BALTIMORE          MD      21221‐3141

AMERICAN SCANDINAVIAN SOCIETY        MRS RITVA METSO                  317 E 52ND ST                                                    NEW YORK           NY      10022‐6302
AMERICAN SCIENCE & ENGINEERINGINC    829 MIDDLESEX TPKE                                                                                BILLERICA          MA      01821‐3907

AMERICAN SENSOR TECHNOLOGIES INC     ATTN ACCOUNTS RECEIVABLE         450 CLARK DRIVE                                                  BUDD LAKE           NJ     07828

AMERICAN SENTINEL INSURANCE CO       C/O BRANDYWINE REALTY SRV CORP   14 CAMPUS BLVD SUITE 100                                         NEWTOWN SQUARE      PA     19073

AMERICAN SERVICE SYSTEMS             2125 S CENTRAL AVE                                                                                PHOENIX             AZ     85004‐2907
AMERICAN SHIZUKI CORP                301 W O ST                                                                                        OGALLALA            NE     69153‐1844
AMERICAN SHIZUKI CORP                ASC CAPACITORS                   301 W O ST                                                       OGALLALA            NE     69153‐1844
AMERICAN SHIZUKI CORPORATION         POB 1531 DOWNTOWN STATION                                                                         OHAHA               NE     58101
AMERICAN SHIZUKI CORPORATION
AMERICAN SILK/FARMGT                 24601 HALLWOOD CT                                                                                 FARMINGTON HILLS    MI     48335‐1604

AMERICAN SINTERED TECHNOLOGIES       JOHN PATRICO                     513 E. 2ND STREET                        BUEHL POSTFACH 1454
                                                                                                               GERMANY
AMERICAN SINTERED TECHNOLOGIES INC   513 E 2ND ST                                                                                      EMPORIUM            PA     15834‐1505

AMERICAN SIP CORP                    2379 PROGRESS DR                                                                                  HEBRON              KY     41048‐8758
AMERICAN SIP/ELMSFOR                 530 SAW MILL RIVER RD.                                                                            ELMSFORD            NY     10523
AMERICAN SKANDIA LIFE ASSURANCE      1 CORPORATE DR                                                                                    SHELTON             CT     06484
CORPORATION
AMERICAN SOC/DES PLA                 1800 E OAKTON ST                                                                                  DES PLAINES         IL     60018‐2100
AMERICAN SOC/NEW YRK                 11 WEST 42ND STREET                                                                               NEW YORK            NY     10036
AMERICAN SOC/PHLDLPI                 1916 RACE ST                                                                                      PHILADELPHIA        PA     19103‐1108
AMERICAN SOCIETY FOR ENGINEERING     ATTN ARI KLENICKI                1818 N ST NW STE 600                                             WASHINGTON          DC     20036‐2476
EDUCATION
AMERICAN SOCIETY FOR MATERIALS       PO BOX 901540                                                                                     CLEVELAND          OH      44190‐1540
AMERICAN SOCIETY FOR MATHEMATICS     PO BOX 60434                                                                                      OKLAHOMA CITY      OK      73146‐0434

AMERICAN SOCIETY FOR QUALITY         27350 SOUTHFIELD RD SUITE 102                                                                     LATHRUP VILLAGE     MI     48076
AMERICAN SOCIETY FOR QUALITY         BUFFALO SECTION 0201             130 PARKVIEW DR                                                  GRAND ISLAND        NY     14072‐2963
AMERICAN SOCIETY FOR QUALITY         PO BOX 3005                                                                                       MILWAUKEE           WI     53201‐3005
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Name                                 Address1                          Address2                        Address3   Address4               City              State Zip
AMERICAN SOCIETY FOR QUALITY CONTRL 5311 BROOKFIELD LN                                                                                   SYLVANIA           OH 43560‐1811
TOLEDO SECTION
AMERICAN SOCIETY FOR QUALITY         PO BOX 555                                                                                          MILWAUKEE         WI    53201‐0555
CONTROL
AMERICAN SOCIETY FOR QUALITY         PO BOX 87                         YOUNG SPRING AND WIRE DIV                                         ARCHBOLD          OH    43502‐0087
CONTROL
AMERICAN SOCIETY FOR QUALITY         5624 YORKTOWN LN                                                                                    YOUNGSTOWN        OH    44515‐1922
CONTROL
AMERICAN SOCIETY FOR QUALITY         PO BOX 5797                                                                                         SAGINAW           MI    48603‐0797
CONTROL
AMERICAN SOCIETY FOR QUALITY         4853 WHISPER COVE CT                                                                                GAHANNA           OH    43230‐5133
CONTROL
AMERICAN SOCIETY FOR QUALITY         PO BOX 265                        TOP OF OHIO SECTION 1009                                          BRYAN             OH    43506‐0265
CONTROL
AMERICAN SOCIETY FOR QUALITY         PO BOX 2008                                                                                         NORTHBROOK         IL   60065‐2008
CONTROL CHICAGO SECTION
AMERICAN SOCIETY FOR QUALITY         PO BOX 1243                                                                                         PALATINE           IL   60078‐1243
CONTROL CHICAGO SECTION
AMERICAN SOCIETY FOR QUALITY GREATER 27350 SOUTHFIELD RD STE 102                                                                         LATHRUP VILLAGE   MI    48076
DETROIT SECTION 1000
AMERICAN SOCIETY FOR QUALITY SECTION PO BOX 161691                                                                                       FORT WORTH         TX   76161‐1691
1416
AMERICAN SOCIETY FOR THE             PREVENTION OF CRUELTY TO ANIMA    424 E 92CD ST                                                     NEW YORK          NY    10128
AMERICAN SOCIETY FOR TRAINING AND    1640 KING STREET BOX 1443                                                                           ALEXANDRIA        VA    22314
DEVELOPMENT
AMERICAN SOCIETY OF CIVIL ENGINEERS  220 HOLLISTER HALL                ATTN MELISSA POMALES                                              ITHACA            NY    14853‐3501

AMERICAN SOCIETY OF COMPOSERS        ONE LINCOLN PLAZA                                                                                   NEW YORK          NY    10023
AUTHORS & PUBLISHERS
AMERICAN SOCIETY OF COMPOSERS        2675 PACES FERRY RD SE STE 350                                                                      ATLANTA           GA    30339‐4087
AUTHORS & PUBLISHERS
AMERICAN SOCIETY OF COMPOSERS,       2690 CUMBERLAND PKWY SE STE 490                                                                     ATLANTA           GA    30339‐3913
AUTHORS AND PUBLISHERS (ASCAP)
AMERICAN SOCIETY OF CORPORATE        SECRETARIES INC                   521 5TH AVE FL 32                                                 NEW YORK          NY    10175‐3299
AMERICAN SOCIETY OF CORPORATE        30 W CHESTNUT ST                                                                                    LANCASTER         PA    17603‐3511
EXECUTIVES
AMERICAN SOCIETY OF EMPLOYERS        23815 NORTHWESTERN HWY                                                                              SOUTHFIELD        MI    48075
AMERICAN SOCIETY OF                  COMPET NOHA EL‐GHOBASHY EMCP      THREE PARK AVENUE MS 23S1                                         NEW YORK          NY    10016
MECHANICALENGINEERS‐MECHANISM
DESIGN
AMERICAN SOCIETY OF                  UNIVERSITY OF TEXAS AT AUSTIN     1 UNIV STATION‐C2108‐ECJ2 200                                     AUSTIN             TX   78712
MECHANICALENGINEERS‐UT AUSTIN
AMERICAN SOCIETY OF MECHNICAL        22 LAW DR                         ACCOUNTING SERVICES                                               FAIRFIELD          NJ   07004‐3218
ENGINEERS
AMERICAN SOCIETY OF QUALITY          ZELLER CORPORATION                PO BOX 278                                                        DEFIANCE          OH    43512‐0278
AMERICAN SOCIETY OF QUALITY CONTROL 1768 E SEIDLERS RD                                                                                   KAWKAWLIN         MI    48631‐9751
SAGINAW VALLEY SECTION
AMERICAN SOCIETY OF                  PO BOX 27447                                                                                        ALBUQUERQUE       NM    87125‐7447
RADIOLOGICTECHNOLOGISTS
AMERICAN SOCIETY OF SAFETY ENGINEERS 33480 TREASURY CTR                                                                                  CHICAGO            IL   60694‐3400

AMERICAN SOCIETY OF SAFETY ENGINEERS 1800 E OAKTON ST                                                                                    DES PLAINES        IL   60018‐2100
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AMERICAN SOCIETY OF SAFETY ENGINEERS 33477 TREASURY CTR                                                                                CHICAGO             IL 60694‐3400

AMERICAN SOCIETY OF SAFETY ENGINEERS 568 ATRIUM DR                                                                                     VERNON HILLS       IL   60061‐1731

AMERICAN SPECIALTY CARS              1 SONIC DR                                                                                        SOUTHGATE         MI    48195‐1558
AMERICAN SPECIALTY CARS HOLDINGS LLC 700 E MAPLE RD                    FL 4TH                                                          BIRMINGHAM        MI    48009‐6361

AMERICAN SPEEDY PRINTING             1950 N OPDYKE RD                                                                                  AUBURN HILLS      MI    48326‐2662
AMERICAN SPEEDY PRINTING CTRS        DETROIT RENNAISSANCE CTR          400 RENAISSANCE CTR           LBBY                              DETROIT           MI    48243‐1598
AMERICAN STAINLESS                   6773 E DAVISON ST                                                                                 DETROIT           MI    48212‐1909
AMERICAN STANDARD HEATING AND AIR    CHRISTY LEE                       6200 TROUP HWY                                                  TYLER             TX    75707‐1948
CONDITIONING
AMERICAN STANDARD INC             1 CENTENNIAL AVE                     PO BOX 6820                                                     PISCATAWAY        NJ    08854
AMERICAN STARNDARD INC TRANE CO   4801 VOGES RD STE A                                                                                  MADISON           WI    53718‐6904
AMERICAN STEEL INVESTMENT CORP    1717 W 10TH ST                                                                                       INDIANAPOLIS      IN    46222‐3801
AMERICAN STEEL INVESTMENT CORP    ATTN: CORPORATE OFFICER/AUTHORIZED   1717 W 10TH ST                                                  INDIANAPOLIS      IN    46222‐3801
                                  AGENT
AMERICAN STEEL TREATING INC       525 W 6TH ST                                                                                         PERRYSBURG        OH    43551‐1554
AMERICAN STIT/MTN HO              4662 HIGHWAY 62 W                                                                                    MOUNTAIN HOME     AR    72653‐8679
AMERICAN STITCHCO INC             4662 HIGHWAY 62 W                    PO BOX 447                                                      MOUNTAIN HOME     AR    72653‐8679
AMERICAN STITCHCO INC             TOMMY BRASWELL                       PO BOX 447                                                      WALLED LAKE       MI    48390‐0447
AMERICAN STITCHCO INC             PO BOX 447                                                                                           MOUNTAIN HOME     AR    72654‐0447
AMERICAN STITCHCO INC.            TOMMY BRASWELL                       PO BOX 447                                                      WALLED LAKE       MI    48390‐0447
AMERICAN STOCK EXCHANGE LLC       PO BOX 11181A                                                                                        NEW YORK          NY    10286‐1181
AMERICAN STRE/PTSBRG              61 MCMURRAY ROAD                                                                                     PITTSBURGH        PA    15241
AMERICAN STRESS TECHNOLOGIES      840 WATERCREST WAY                                                                                   CHESWICK          PA    15024
AMERICAN STRESS TECHNOLOGIES      800 WATERCREST WAY                   STE 840                                                         CHESWICK          PA    15024‐1373
AMERICAN SURPLUS INC              1 NOYES AVE E                                                                                        RUMFORD           RI    02916
AMERICAN SURPLUS INC              1 NOYES AVE                                                                                          RUMFORD           RI    02916
AMERICAN SUZUKI MOTOR CORP        ATTN DONNA HANNA                     3251 E IMPERIAL HWY                                             BREA              CA    92821‐6722
AMERICAN SUZUKI MOTOR CORP.       SS69 GMDAT                                                                                           DETROIT           MI    48265‐0001
AMERICAN SUZUKI MOTOR CORP.       SS 69 GMDAT                                                                                          DETROIT           MI    48201
AMERICAN SUZUKI MOTOR CORPORATION ASSOCIATE DIRECTOR, GOVERNMENT       3251 E IMPERIAL HWY                                             BREA              CA    92821‐6722
                                  RELATIONS
AMERICAN TAILORING                ATTN: RUTH BRADLEY                   160 S FORD BLVD                                                 YPSILANTI         MI    48198‐6068
AMERICAN TAPE CO                  317 KENDALL ST                                                                                       MARYSVILLE        MI    48040‐1911
AMERICAN TEAM                     42050 EXECUTIVE DR                                                                                   HARRISON          MI    48045‐1311
                                                                                                                                       TOWNSHIP
AMERICAN TEAM INC                    42300 EXECUTIVE DR                                                                                HARRISON TWP      MI    48045
AMERICAN TEAM INC                    42050 EXECUTIVE DR                                                                                HARRISON          MI    48045‐1311
                                                                                                                                       TOWNSHIP
AMERICAN TEAM INC
AMERICAN TEAM INC, THE               42050 EXECUTIVE DR                                                                                HARRISON          MI    48045‐1311
                                                                                                                                       TOWNSHIP
AMERICAN TEAM INC, THE                                                 42050 EXECUTIVE DR                                              HARRISON          MI    48045‐1311
                                                                                                                                       TOWNSHIP
AMERICAN TEAM INC, THE               FRANK LUCIDO JR X125              42050 EXECUTIVE DRIVE                                           MOUNT CLEMENS     MI
AMERICAN TEAM/MI                     42050 EXECUTIVE DR                                                                                HARRISON          MI    48045‐1311
                                                                                                                                       TOWNSHIP
AMERICAN TEAM/SHELBY                 51734 FILOMENA DR                                                                                 SHELBY TOWNSHIP   MI    48315‐2948
AMERICAN TECHNOLOGIES, INC           ASSIGNEE PEERPOINT TECH INC       1800 SAINT JAMES PL STE 450                                     HOUSTON           TX    77056‐4109
AMERICAN TECHNOLOGY INC              41 EAGLE RD                                                                                       DANBURY           CT    06810‐4127
AMERICAN TELEGRAPH & TELEPHONE       550 ROUTES 202/206 NORTH                                                                          BEDMINSTER        NJ    07921
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Name                                Address1                              Address2                     Address3   Address4               City                 State Zip
AMERICAN TELEPHONE AND TELEGRAPH    ROOM 1530                             FIRST NATIONAL BUILDING                                        DETROIT               MI
COMPANY
AMERICAN TELESERVICES ASSOCIATION   3815 RIVER CROSSING PKWY STE 20                                                                      INDIANAPOLIS          IN   46240‐7756

AMERICAN TENT & AWNING CO INC       205 E PALMER ST                                                                                      INDIANAPOLIS          IN   46225‐1639
AMERICAN TESTING & ENGINEERING CORP 7988 CENTERPOINT DR STE 100                                                                          INDIANAPOLIS          IN   46256‐3381

AMERICAN THERMAL INSTRUMENTS INC    2400 E RIVER RD                                                                                      MORAINE              OH    45439‐1530

AMERICAN TIME                       1600 CLINTON AVE N                                                                                   ROCHESTER             NY   14621‐2208
AMERICAN TIRE & AUTO                76 CHURCH ST                                                                                         FLEMINGTON            NJ   08822‐1640
AMERICAN TIRE /COLUM                510 N GARDEN ST                                                                                      COLUMBIA              TN   38401‐3220
AMERICAN TIRE CO.                   6015 HIGHWAY 100                                                                                     NASHVILLE             TN   37205‐2820
AMERICAN TIRE SERVICE INC           426 US HIGHWAY 206                                                                                   HILLSBOROUGH          NJ   08844
AMERICAN TOOL & DIE INC             9470 E 14 1/4 RD                                                                                     MANTON                MI   49663‐8597
AMERICAN TOOL/GRS LK                4111 MOUNT HOPE RD                                                                                   GRASS LAKE            MI   49240‐9513
AMERICAN TOOLING CENTER INC         4111 MOUNT HOPE RD                                                                                   GRASS LAKE            MI   49240‐9513
AMERICAN TOOLING CENTER, INC        411 MOUNT HOPE ROAD                                                                                  GRASS LAKE            MI   49240
AMERICAN TOOLING CENTER, INC        4311 MOUNT HOPE ROAD                                                                                 GRASS LAKE            MI   49240
AMERICAN TOOLING CENTER, INC        ATTN: CORPORATE OFFICER/AUTHORIZED    411 MOUNT HOPE ROAD                                            GRASS LAKE            MI   49240
                                    AGENT
AMERICAN TOOLING CENTER, INC        ATTN: CORPORATE OFFICER/AUTHORIZED    4311 MOUNT HOPE ROAD                                           GRASS LAKE            MI   49240
                                    AGENT
AMERICAN TORT REFORM ASSN           1212 NEW YORK AVE NW STE 515                                                                         WASHINGTON           DC    20005
AMERICAN TRAINCO INC                PO BOX 3397                                                                                          ENGLEWOOD            CO    80155‐3397
AMERICAN TRAINING RESOURCES         PO BOX 487                                                                                           TUSTIN               CA    92781‐0487
AMERICAN TRANSFER CORP              4600 W 160TH ST                                                                                      CLEVELAND            OH    44135‐2630
AMERICAN TRANSMISSION               5337 BEACH BLVD                                                                                      JACKSONVILLE         FL    32207‐5041
AMERICAN TRANSPORT COMPANY INC      3326 E LAYTON AVE                                                                                    CUDAHY               WI    53110‐1405
AMERICAN TRANSPORT GROUP LLC        1900 W KINZIE ST                                                                                     CHICAGO              IL    60622‐6243
AMERICAN TRANSPORT INC              100 INDUSTRY DR                       MC 147734 ADD CHNG MW 6/02                                     PITTSBURGH           PA    15275‐1014
AMERICAN TRANSPORT INC              6701 MELTON RD                                                                                       GARY                 IN    46403‐3016
AMERICAN TRANSPORT LEASING          PO BOX 80768                                                                                         SAINT CLAIR SHORES   MI    48080‐5768

AMERICAN TRANSPORT LINES LTD        1820 CHAPEL AVE‐SUITE 380                                                                            CHERRY HILL          NJ    08002
AMERICAN TRANSPORT SYSTEMS          1789 GALLAGHER DR                                                                                    VINELAND             NJ    08360‐1503
AMERICAN TRANSPORTATION LOGISTICS   6441 SW CANYON CT STE 280                                                                            PORTLAND             OR    97221‐1458
SERVICES INC
AMERICAN TRANSPORTATION SYSTEM      2775 CRUSE RD                         STE 401                                                        LAWRENCEVILLE        GA    30044‐7141
AMERICAN TRAUMA                     CORPORATE COUNSEL                     7611 S OSBORNE RD STE 202                                      UPPER MARLBORO       MD    20772‐4200
AMERICAN TRAUMA SOCIETY             7611 S OSBORNE RD STE 202                                                                            UPPER MARLBORO       MD    20772‐4200
AMERICAN TRIM                       PROF. GLENN DAEHN, MATERIAL SCIENCE   2042 COLLEGE ROAD                                              COLUMBUS             OH    43210
                                    AND ENGINEERING
AMERICAN TRUCK DEALERS              EXPOSITIONS DEPT MS NO 33             8400 WESTPARK DR                                               MCLEAN                VA   22102
AMERICAN TRUCKING ASSOCIATION INC   950 N GLEBE RD                        STE 210                                                        ARLINGTON             VA   22203‐4181

AMERICAN TRUCKING ASSOCIATIONSINC   950 N GLEBE RD                        STE 210                                                        ARLINGTON             VA   22203‐4181

AMERICAN TRUCKING ASSOCIATIONSINC   950 N GLEBE ROAD                                                                                     ARLINGTON             VA   22203

AMERICAN TRUCKING COMPANY INC       7400 N BROADWAY                                                                                      SAINT LOUIS          MO    63147‐2628
AMERICAN TV & APPLIANCE OF MADISON, DOUG DEEGAN                           2404 W BELTLINE HWY                                            MADISON              WI    53713‐2346
INC.
AMERICAN ULTRA SPECIALTIES INC      6855 INDUSTRIAL PKWY                                                                                 HUDSON               OH    44236‐1158
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Name                               Address1                               Address2                     Address3               Address4                   City             State Zip
AMERICAN UNITED LIFE INS CO        C\O BERBARD FINANCIAL GROUP            28300 FRANKLIN RD                                                              SOUTHFIELD        MI 48034
AMERICAN UNIVERSITY OF ROME        VIA PIETRO ROSELLI 4                                                                       ROME ITALY 00153
AMERICAN UNIVERSITY OFFICE OF      4400 MASSACHUSETTS AVE NW                                                                                             WASHINGTON       DC   20016‐8002
STUDENT ACCOUNTS
AMERICAN URBAN RADIO NETWORK       JONATHAN KRONGARD á                    30 N MICHIGAN AVE STE 1218                                                     CHICAGO          IL   60602‐3735
AMERICAN VACUUM CO INC             7301 MONTICELLO AVE                                                                                                   SKOKIE           IL   60076‐4024
AMERICAN VAN                       1985 RUTGERS UNIVERSITY BLVD.                                                                                         LAKEWOOD         NJ   08701
AMERICAN VAN RENTAL                4684 FRONTAGE RD                                                                                                      FOREST PARK      GA   30297‐1632
AMERICAN VANS ‐ WEST               226 E JONES CHAPEL RD                                                                                                 DANIELSVILLE     GA   30633‐4014
AMERICAN VULKAN CORP               MARK BEILEY X311                       PO BOX 673                                                                     ROMULUS          MI
AMERICAN WATER                     1025 LAUREL OAK RD                                                                                                    VOORHEES         NJ   08043‐3506
AMERICAN WATER WORKS ASSN          6666 W QUINCY AVE                                                                                                     DENVER           CO   80235‐3098
AMERICAN WATER WORKS SERVICE       ROBERT ALLEN                           PO BOX 5600                                                                    CHERRY HILL      NJ   08034‐0590
COMPANY, INC.
AMERICAN WAY TRANSPORT INC         6739 PLAINVIEW AVE                                                                                                    DETROIT          MI   48228‐3975
AMERICAN WELD/MIAMI                550 N.W. LEJEUNE ROAD                  P.O. BOX 351040                                                                MIAMI            FL   33135
AMERICAN WELDING SOCIETY           43422 WEST OAKS DRIVE SUITE 323                                                                                       NOVI             MI   48377
AMERICAN WELDING SOCIETY           PO BOX 440367                                                                                                         MIAMI            FL   33144‐0367
AMERICAN WELDQUIP INC              PO BOX 397                             1375 WOLF CREEK TRL                                                            SHARON CENTER    OH   44274‐0397
AMERICAN WER/ANN ARB               4630 FREEDOM DR                                                                                                       ANN ARBOR        MI   48108‐9104
AMERICAN WERA INC                  4630 FREEDOM DR                                                                                                       ANN ARBOR        MI   48108‐9104
AMERICAN WERA INC.                 4630 FREEDOM DR                                                                                                       ANN ARBOR        MI   48108‐9104
AMERICAN WEST WORLDWIDE EXPRES     1326 TAMSON                                                                                                           CAMBRIA          CA   93428
AMERICAN WIRE PRODUCTS INC         PO BOX 3070                            INDUSTRIAL PK                                                                  FRANKFORT        KY   40603‐3070
AMERICAN WIRE ROPE & SLING         1717 W 10TH ST                                                                                                        INDIANAPOLIS     IN   46222‐3801
AMERICAN WIRE/FRKFRT               PO BOX 3070                            FRANKFORT INDUSTRIAL PARK                                                      FRANKFORT        KY   40603‐3070
AMERICAN WOOD                      1520 ADELINE ST                                                                                                       HATTIESBURG      MS   39401
AMERICAN WOODMARK                  ALISHIA FOSTER                         3102 SHAWNEE DR                                                                WINCHESTER       VA   22601‐4208
AMERICAN WORKPLACE INC             QUADRUM PLACE                          1000 N OPDYKE RD STE D2                                                        AUBURN HILLS     MI   48326‐2672
AMERICAN WORKPLACE TRUCKING        ATTN: WILLIAM MORROW, PRESIDENT        5910 KINGS POINTE DR                                                           ROCHESTER        MI   48306‐2246
CENTERS, INC.
AMERICAN YOUTH SOCCER ORG          REGION 1340                            PO BOX 85                    DBA AYSO REGION 1340                              MASSENA          NY   13662‐0085
AMERICAN YOUTH SOCCER ORGANIZATION 2466 NANDI HILLS CT                    AYSO REGION 766                                                                SWARTZ CREEK     MI   48473‐7908
(AYSO)
AMERICAN'S MORTGAGE BROKER         ATTN: NATHANIEL NEVILS                 91 N SAGINAW ST # 104                                                          PONTIAC          MI   48342‐2165
AMERICAN‐REPUBLICAN INC.           PO BOX 2090                                                                                                           WATERBURY        CT   06722‐2090
AMERICAN‐REPUBLICAN INC.           P.O. BOX 2090                                                                                                         WATERBURY        CT
AMERICANA FOOD STORE               ACCT OF ERNEST A DODSON                15041 PLYMOUTH RD                                                              DETROIT          MI   48227‐2433
AMERICANS HOME HEALTH CARE INC     ATTN: JAIME MILLIKIN                   1397 S LINDEN RD # D                                                           FLINT            MI   48532‐4194
AMERICAR                           1777 W. CAMELBACK SUITE A112                                                                                          PHOENIX          AZ   85015
AMERICAR                           5400 S BAY RD                                                                                                         NORTH SYRACUSE   NY   13212‐3837
AMERICAR ‐ ZAGREB                  SLAVONSKA AVENIJA, 3                                                                       ZAGREB 41000 CROATIA
AMERICAR LTD.                      RADICEVA 6                                                                                 SARAJEVO 7100 BOSNIA AND
                                                                                                                              HERZEGOVINA
AMERICAR RENTAL SYSTEM               112 SOUTH BAY ROAD                                                                                                  NORTH SYRACUSE   NY   13212
AMERICAR RENTAL SYSTEM               5400 S BAY RD                                                                                                       NORTH SYRACUSE   NY   13212‐3837
AMERICAR SERVICE CENTER              450 S PICKETT ST                                                                                                    ALEXANDRIA       VA   22304‐4706
AMERICAR, S.A.                       AV. PETIT THOUARS #2445, LINCE                                                           LIMA PERU
AMERICARES                           88 HAMILTON AVE                                                                                                     STAMFORD         CT   06902‐3111
AMERICAS AUTO AUCTION                ATTN: CORPORATE OFFICER/AUTHORIZED   2415 HIGHWAY 101 S                                                             GREER            SC   29651‐7228
                                     AGENT
AMERICAS BLOOD CENTERS               725 15TH ST NW STE 700                                                                                              WASHINGTON       DC   20005‐2109
AMERICAS BODY COMPANY ‐ LOUISVILLE   12001 WESTPORT RD                                                                                                   LOUISVILLE       KY   40245‐1758
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AMERICAS BODY COMPANY ‐ LOUISVILLE

AMERICAS COMMERCIAL                  11545 N MARR RD                                                                                                COLUMBUS           IN   47203‐9421
TRANSPORTATION RESEARCH CO
AMERICAS CORVETTE CLUB               1005 PINE RIDGE RD                                                                                             MILFORD           MI    48380‐3649
AMERICAS MART REAL ESTATE LLC        240 PEACHTREE ST NW STE 2200                                                                                   ATLANTA           GA    30303‐1327
AMERICAS SECOND HARVEST              35 E WACKER DR STE 2000                                                                                        CHICAGO           IL    60601‐2200
AMERICHEM/225 BRODWY                 2000 AMERICHEM WAY                                                                                             CUYAHOGA FALLS    OH    44221‐3357
AMERICHIP INTERNATIONAL              9282 GENERAL DRIVE                                                                                             PLYMOUTH          MI    48170
AMERICO ANTOLINI                     PO BOX 2172                                                                                                    MERIDEN           CT    06450‐1272
AMERICO ASCOLESE                     20 SYLVAN LAKE BLVD                                                                                            BAYVILLE          NJ    08721‐1622
AMERICO BARBAROSSA                   4765 HARLEM RD                                                                                                 SNYDER            NY    14226‐3810
AMERICO CORP                         25120 TROWBRIDGE ST                                                                                            DEARBORN          MI    48124‐2438
AMERICO CORPORATION                  25120 TROWBRIDGE ST                                                                                            DEARBORN          MI    48124‐2443
AMERICO CORPORATION                  ATTN: CORPORATE OFFICER/AUTHORIZED    25120 TROWBRIDGE                                                         DEARBORN          MI    48124
                                     AGENT
AMERICO FERREIRA                     30 SUMMER ST                                                                                                   BLACKSTONE        MA    01504‐1336
AMERICO GARCIA SR                    256 ROESCH AVE                                                                                                 BUFFALO           NY    14207‐1240
AMERICO GARZA                        3813 NIGHTINGALE AVE                                                                                           MCALLEN           TX    78504‐5909
AMERICO GIFALDI                      2 CHIPPENBEN DR                                                                                                HOLLEY            NY    14470‐1002
AMERICO J DIFRANCESCA                C/O WEITZ AND LUXENBERG PC            700 BROADWAY                                                             NEW YORK CITY     NY    10003
AMERICO LOPES                        711 CATHERINE ST                                                                                               PERTH AMBOY       NJ    08861‐2803
AMERICO MORAIS                       387 FRANKLIN ST                                                                                                FRAMINGHAM        MA    01702‐6230
AMERICO NUNES                        7357 120TH AVE N                                                                                               WEST PALM BEACH   FL    33412‐1463

AMERICO P GIFALDI                    2 CHIPPENBEN DRIVE                                                                                             HOLLEY            NY    14470‐1002
AMERICOMP                            2815 S W WANAMAKER RD                                                                                          TOPEKA            KS    66614
AMERICRANE & HOIST CORP              13224 ENTERPRISE AVE                                                                                           CLEVELAND         OH    44135‐5104
AMERICREDIT (SATURN)                 1225 W WASHINGTON ST STE 400                                                                                   TEMPE             AZ    85281‐1240
AMERICREDIT CORP                     801 CHERRY ST UNIT 12                                                                                          FORT WORTH        TX    76102‐6885
AMERICROWN SERVICE CORP              PO BOX 2801                                                                                                    DAYTONA BEACH     FL    32120‐2801
AMERICROWN SERVICE CORP              750 FENTRESS BLVD                                                                                              DAYTONA BEACH     FL    32114‐1214
AMERICROWN SERVICE CORPORATION       12626 US 12                                                                                                    BROOKLYN          MI    49230
AMERIFLEET TRANSPORTATION INC        1360 UNION HILL RD BLDG 2 SUITE A                                                                              ALPHARETTA        GA    30004
AMERIFORCE PUBLISHING, INC           11 TIDEWATER                                                                                                   IRVINE            CA    92614‐7447
AMERIFORM PRODUCTS INC               1790 SUN DOLPHIN RD                                                                                            MUSKEGON          MI    49444‐1800
AMERIGARD DEVELOPMEN                 30730 FORD RD                                                                                                  GARDEN CITY       MI    48135‐1803
AMERIGAS                             2350 E 16TH ST                                                                                                 YUMA              AZ    85365‐2214
AMERIGAS                             PO BOX 965                                                                                                     VALLEY FORGE      PA    19482‐0965
AMERIGAS ‐ BURTON                    ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 371473                                                           PITTSBURGH        PA    15250‐7473

AMERIGAS PROPANE CO                  PO BOX 238                            PETROLANE GAS SERVICE                                                    SWANTON           OH    43558‐0238
AMERIGAS PROPANE LP                  AMERIGAS GLENDALE                     5140 W BETHANY HOME RD                                                   GLENDALE          AZ    85301‐7713
AMERIGO BENEDETTI                    331 W CALEDONIA ST                                                                                             LOCKPORT          NY    14094‐2044
AMERIGO LAWRENCE FEOLA               ROBERT W PHILLIPS                     SIMMONS BROWDER GIANARIS   707 BERKSHIRE BLVD   PO BOX 521               EAST ALTON        IL    62024
                                                                           ANGELIDES & BARNERD LLC
AMERIGO STORACE                      17180 HAWKS LOOKOUT LN                                                                                         STRONGSVILLE      OH    44136‐6275
AMERIHOME CARE INC                   ATTN: CAROLYN WRIGHT                  2990 W GRAND BLVD                                                        DETROIT           MI    48202‐3041
AMERINE DOUSE                        26 BERLIN ST                                                                                                   ROCHESTER         NY    14621‐4708
AMERINE, RODNEY W                    54161 PRETTY RUN RD                                                                                            SOUTH             OH    43152‐9508
                                                                                                                                                    BLOOMINGVILLE
AMERING, DEBORAH H                   140 LANDING RD N                                                                                               ROCHESTER         NY    14625‐1414
AMERIPATH YOUNGSTOWN                 PO BOX 277720                                                                                                  ATLANTA           GA    30384‐7720
AMERIPATH YOUNGSTOWN                 PO BOX 277721                                                                                                  ATLANTA           GA    30384‐7721
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AMERIPATH YOUNGSTOWN INC.            2911 NORTHVIEW BLVD                                                                           YOUNGSTOWN         OH     44504‐1201
AMERIPRIDE B01                       700 INDUSTRIAL BLVD NE                                                                        MINNEAPOLIS        MN     55413‐2906
AMERIPRIDE B04                       519 E 19TH ST                                                                                 HIBBING            MN     55746‐1666
AMERIPRIDE B05                       206 NP AVE N                                                                                  FARGO              ND     58102‐4834
AMERIPRIDE B06                       6500 SAUKVIEW DR                                                                              SAINT CLOUD        MN     56303‐0804
AMERIPRIDE B07                       300 PAUL BUNYAN DR SE                                                                         BEMIDJI            MN     56601‐3249
AMERIPRIDE B08                       7515 D ST                                                                                     OMAHA              NE     68124‐4047
AMERIPRIDE B09                       7360 INDUSTRIAL RD                                                                            FLORENCE           KY     41042‐2912
AMERIPRIDE B10                       1238 FRONTIER DR                                                                              BISMARCK           ND     58504‐6943
AMERIPRIDE B14                       1290 S VICTORY DR                                                                             MANKATO            MN     56001‐5308
AMERIPRIDE B18                       280 GREENWOOD ST                                                                              WORCESTER          MA     01607‐1732
AMERIPRIDE B19                       490 WETHERSFIELD AVE                                                                          HARTFORD           CT     06114‐1904
AMERIPRIDE B22                       3909 NEW COURT AVE                                                                            SYRACUSE           NY     13206‐1641
AMERIPRIDE B24                       1901 S WOODROW ST                                                                             LITTLE ROCK        AR     72204‐4171
AMERIPRIDE B25                       805 N HOOK ST                                                                                 TUSCUMBIA          AL     35674‐1008
AMERIPRIDE B26                       811 LOUISVILLE AVE                                                                            MONROE             LA     71201‐5929
AMERIPRIDE LINEN SERVICE             400 SE 1ST AVE                                                                                TOPEKA             KS     66607‐1101
AMERIPRIDE N02                       1081 EXPERIMENT STATION RD                                                                    WATKINSVILLE       GA     30677‐2441
AMERIPRIDE N05                       961 LOWER BROWNSVILLE RD                                                                      JACKSON            TN     38301‐9646
AMERIPRIDE N06                       800 VANCE AVE                                                                                 MEMPHIS            TN     38126‐2917
AMERIPRIDE P01                       5950 ALCOA AVE                                                                                VERNON             CA     90058‐3925
AMERIPRIDE P06                       3901 E EVERGREEN ST                                                                           SPRINGFIELD        MO     65803‐5723
AMERIPRIDE P10                       517 1ST ST NW                                                                                 ALBUQUERQUE        NM     87102‐2303
AMERIPRIDE P11                       515 N VIRGINIA AVE                                                                            ROSWELL            NM     88201‐6313
AMERIPRIDE P12                       400 SE 1ST AVE                                                                                TOPEKA             KS     66607‐1101
AMERIPRIDE P18                       1050 W WHITES BRIDGE AVE                                                                      FRESNO             CA     93706‐1328
AMERIPRIDE P20                       335 WASHINGTON ST                                                                             BAKERSFIELD        CA     93307‐2719
AMERIPRIDE P22                       1634 S MEAD ST                                                                                WICHITA            KS     67211‐4311
AMERIPRIDE P84                       960 OAK ST                                                                                    SAN BERNARDINO     CA     92410‐2425
AMERIPRIDE S02                       317 S VAN BUREN ST                                                                            AMARILLO           TX     79101‐1351
AMERIPRIDE S05                       6025 W VAN BUREN ST                                                                           PHOENIX            AZ     85043‐3509
AMERIPRIDE S06                       502 MCCAMPBELL RD                                                                             CORPUS CHRISTI     TX     78408‐2410
AMERIPRIDE S08                       3508 MAGNOLIA AVE                                                                             LUBBOCK            TX     79404‐2556
AMERIPRIDE S09                       403 MAIN AVE W                                                                                TWIN FALLS         ID     83301‐5911
AMERIPRIDE S10                       1201 S JACKSON AVE                                                                            ODESSA             TX     79761‐6746
AMERIPRIDE SERVICES INC
AMERIPRIDE UNIFORM SERVICES          7620 WILBUR WAY                                                                               SACRAMENTO        CA      95828‐4928
AMERIPRISE ADVISORY SVC              1311 S LINDEN RD                                                                              FLINT             MI      48532‐3428
AMERIPRISE TRUST AND CO              C/O GERALD PICKRELL ROTH IRA   70100 AMERIPRISE FINANCIAL                                     MINNEAPOLIS       MN      55474
AMERIPRISE TRUST CO ACF ALICE R      ALICE R PFAHLERT               141 WINDWOOD PTE                                               ST CLAIR SHORES   MI      48080
PFAHLERT PROFIT SHARING PLAN
AMERIPRISE TRUST CO ACF BARBARA J    MRS BARBARA HANRAHAN           3750 BIRCHVALE DR                                              MEMPHIS            TN     38125
HANRAHAN IRA
AMERIPRISE TRUST CO ACF BETTY O      BETTY O MCGAUPHY               1301 OAKRIDGE DR                                               MEMPHIS            TN     38111
MCGAUGHY IRA
AMERIPRISE TRUST CO ACF WILLIAM      WILLIAM HANRAHAN               3750 BIRCHVALE DR                                              MEMPHIS            TN     38125‐2402
HANRAHAN IRA
AMERIPRISE TRUST CO. ACF BENNETT T   BENNETT T WOOD                 2125 WASHINGTON AVE                                            MEMPHIS            TN     38104
WOOD IRA
AMERISOURCE FUNDING INC              11747 IVY RIDGE DR             PO BOX 4738                                                    NORTH ROYALTON    OH      44133‐7221
AMERISOURCE FUNDING INC              731 W IRELAND RD                                                                              SOUTH BEND        IN      46614‐3809
AMERISOURCE FUNDING INC              5000 WYOMING ST STE 122                                                                       DEARBORN          MI      48126‐3800
AMERISOURCE FUNDING INC              27209 NORTHLINE RD                                                                            TAYLOR            MI      48180‐4499
AMERISOURCE INDUSTRIAL SUPPLY        9145 VINCENT ST                                                                               HAMTRAMCK         MI      48211‐1562
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AMERISOURCEBERGEN               GIANGIULIO MATTHEW                    1300 MORRIS DRIVE                                               CHESTERBROOK        PA     19087
AMERISTAR JET CHARTER INC       PO BOX 700548                                                                                         DALLAS              TX     75370‐0548
AMERISTEEL INC                  33900 DOREKA                                                                                          FRASER              MI     48026‐1611
AMERISTEEL INC                  21847 SCHMEMAN AVE                                                                                    WARREN              MI     48089‐4852
AMERISUITES/BRENTWOO            202 SUMMIT VIEW DR                                                                                    BRENTWOOD           TN     37027‐4643
AMERISUITES/FRANKLIN            650 BAKERS BRIDGE AVE                                                                                 FRANKLIN            TN     37067‐1686
AMERISURE MUTUAL INSURANCE      26777 HALSTEAD RD                                                                                     FARMINGTON HILLS    MI     48331

AMERISURE MUTUAL INSURANCE CO   26777 HALSTED ROAD SUITE 300                                                                          FARMINGTON HILLS    MI     48331

AMERISURE MUTUAL INSURANCE      TONY BURBANK                          26777 HALSTEAD RD                                               FARMINGTON HILLS    MI     48331
COMPANY
AMERITECH                       ACCOUNT A0760                         PO BOX 95115                                                    CHICAGO            IL      60694‐5115
AMERITECH                       2941 SHELBY ST                                                                                        INDIANAPOLIS       IN      46203‐5236
AMERITECH                       ATTN RISK MGMT SERVICES               45 ERIEVIEW PLAZA            ROOM 1405                          CLEVELAND          OH      44114
AMERITECH                       BILL PAYMENT CTR                                                                                      SAGINAW            MI      48663‐0001
AMERITECH CORP                  BILL PAYMENT CTR                                                                                      SAGINAW            MI      48663‐0001
AMERITECH CREDIT COPORATION     2000 WEST AMERITECH CENTER DRIVE                                                                      HOFFMAN ESTATES    IL      60198

AMERITECH CREDIT COPORATION     2550 WEST GOLF ROAD                                                                                   ROLLING MEADOWS     IL     60008

AMERITECH CREDIT COPORATION     ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 2000 W ATT CENTER DR                                           HOFFMAN ESTATES     IL     60192‐5000

AMERITECH CREDIT COPORATION     ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 2550 WEST GOLF ROAD                                            ROLLING MEADOWS     IL     60008

AMERITECH CREDIT CORP           125 OTTAWA AVE NW STE 370                                                                             GRAND RAPIDS        MI     49503‐2873
AMERITECH CREDIT CORP           161 N CLARK ST STE 2230                                                                               CHICAGO             IL     60601‐3329
AMERITECH CREDIT CORP           PO BOX 71614                                                                                          CHICAGO             IL     60694‐1614
AMERITECH CREDIT CORP           DBA SBC CAPITAL SERVICES              PO BOX 71614                                                    CHICAGO             IL     60694‐1614
AMERITECH CREDIT CORPORATION
AMERITECH CREDIT CORPORATION    2550 W. GOLF ROAD                                                                                     ROLLING MEADOWS     IL     60008

AMERITECH CREDIT CORPORATION    200 WEST AMERITECH CENTER DRIVE                                                                       HOFFMAN ESTATES     IL     60196

AMERITECH CREDIT CORPORATION    2000 W AMERITECH CENTER DR                                                                            HOFFMAN ESTATES     IL     60198

AMERITECH CREDIT CORPORATION    2000 W. SBC CENTER DRIVE                                                                              HOFFMAN ESTATES     IL     60196

AMERITECH CREDIT CORPORATION    2000 WEST AT&T CENTER DRIVE                                                                           HOFFMAN ESTATES     IL     60192

AMERITECH CREDIT CORPORATION    2550 WEST GOLF ROAD                                                                                   ROLLING MEADOWS     IL     60008

AMERITECH CREDIT CORPORATION    2550 WEST GULF RD                                                                                     ROLLING MEADOWS     IL     60008

AMERITECH CREDIT CORPORATION    ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 2550 WEST GOLF ROAD                                            ROLLING MEADOWS     IL     60008

AMERITECH CREDIT CORPORATION    ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 2000 W ATT CENTER DR                                           HOFFMAN ESTATES     IL     60192‐5000

AMERITECH CREDIT CORPORATION    ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 200 W AMERITECH CENTER DR                                      HOFFMAN ESTATES     IL     60196‐0001

AMERITECH CREDIT CORPORATION    ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 2000 W SBC CENTER DR                                           HOFFMAN ESTATES     IL     60196‐0001

AMERITECH CREDIT CORPORATION
D/B/A/SBC CAPITAL SERVICES
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Name                                  Address1                             Address2                    Address3                   Address4               City              State Zip
AMERITECH CREDIT CORPORATION, D/B/A   KRIS LARSEN, DIRECTOR ‐ OPERATIONS   LOCATION 4C                 2000 W. SBC CENTER DRIVE                          HOFFMAN ESTATES     IL 60196‐0001
SBC CAPITAL SERVICES
AMERITECH CREDIT CORPORATION, D/B/A   JEFFREY MASON, PRESIDENT CC: KRIS    LOCATION 4C                 2000 W. SBC CENTER DRIVE                          HOFFMAN ESTATES    IL   60196‐0001
SBC CAPITAL SERVICES                  LARSEN, DIRECTOR ‐ OPERATIONS
AMERITECH PAGES PLUS                  PO BOX 77216                                                                                                       DETROIT           MI    48277‐0216
AMERITECH/MBT                         ACCT OF EUGENE CONLEY
AMERITECH/MBT                         ACCT OF RONALD H PICKENS
AMERITECH/MBT                         ACCT OF EDDIE B JOHNSON SR
AMERITEK                              13930 W 108TH ST                                                                                                   LENEXA             KS   66215‐2029
AMERITOX LTD                          PO BOX 201826                                                                                                      DALLAS             TX   75320‐1826
AMERITRACK RAILROAD CONTRACTOR        655 S PRAIRIE AVE                    PO BOX 682                                                                    FRANKFORT          IN   46041‐7441
AMERITRACK RAILROAD CONTRACTORS       655 S PRAIRIE AVE                                                                                                  FRANKFORT          IN   46041‐7441
INC
AMERITROL INC                         1185 PARK CENTER DR STE D                                                                                          VISTA             CA    92081‐8304
AMERITROL INC                         ATTN: CORPORATE OFFICER/AUTHORIZED   1185 PARK CENTER DR STE L                                                     VISTA             CA    92081‐8305
                                      AGENT
AMERITRONICS SYSTEMS                  15600 LEE RD                                                                                                       BROWNSTOWN        MI    48173‐9638
AMERITRONICS SYSTEMS INC              15600 LEE RD                                                                                                       BROWNSTOWN        MI    48173‐9638
AMERITRUCK LOGISTICS SERVICES         1945 OLD ATHENS HWY                                                                                                GAINESVILLE       GA    30507
AMERIVAP SYSTEMS                      1292 LOGAN CIR NW                                                                                                  ATLANTA           GA    30318‐2857
AMERLING, GARY R                      1137 SIMCOE AVE                                                                                                    FLINT             MI    48507‐1599
AMERMAN, CATHERINE L                  40 DEERFIELD RD                                                                                                    NORTH BERWICK     ME    03906‐6348
AMERMAN, KATHERINE L                  536 E LIBERTY ST                                                                                                   MILFORD           MI    48381‐2050
AMERMAN, MICHAEL L                    8433 NOTTINGHILL DR                                                                                                INDIANAPOLIS      IN    46234‐2666
AMERON GLOBAL PRODUCT SUPPORT         10271 BACH BLVD                                                                                                    SAINT LOUIS       MO    63132‐1317
AMERPOHL JERRY                        17516 N PHOENICIAN DR                                                                                              SURPRISE          AZ    85374‐2995
AMERSHEK, YVONNE                      41905 RIVERWOOD CT                                                                                                 CANTON            MI    48187‐2489
AMERSON JESSE                         29528 MEADOWLANE DR                                                                                                SOUTHFIELD        MI    48076‐5242
AMERSON JR, ALBERT                    5241 HIGHWAY 19 S                                                                                                  ZEBULON           GA    30295‐3410
AMERSON JR, COLUMBUS                  5968 GREENWOODE RD #7202                                                                                           PONTIAC           MI    48327
AMERSON JR, WILEY J                   5257 N JENNINGS RD                                                                                                 FLINT             MI    48504‐1135
AMERSON SR, JOE W                     10 KAREN CT                                                                                                        PONTIAC           MI    48340‐1633
AMERSON, ALFRED E                     3153 JANES AVE                                                                                                     SAGINAW           MI    48601‐6364
AMERSON, ARCHIE L                     1200 MAROT DR                                                                                                      DAYTON            OH    45427‐2111
AMERSON, BEVERLY A                    240 13TH ST                                                                                                        ELYRIA            OH    44035‐7002
AMERSON, CALESHA C                    63 TIMBERVIEW DR                                                                                                   ROCHESTER HILLS   MI    48307‐4105
AMERSON, CLARICE L                    APT 203                              500 BROOKVIEW COURT                                                           AUBURN HILLS      MI    48326‐4501
AMERSON, EARLENE                      585 2ND AVE                                                                                                        PONTIAC           MI    48340‐2830
AMERSON, EARMOND J                    63 TIMBERVIEW DR                                                                                                   ROCHESTER HILLS   MI    48307‐4105
AMERSON, GEORGE R                     10001 S AMERICA RD                                                                                                 LA FONTAINE       IN    46940‐9148
AMERSON, HUBERT C                     119 CARL ST                                                                                                        BUFFALO           NY    14215‐4027
AMERSON, HUBERT L                     20135 SPENCE CAVE RD                                                                                               ELKMONT           AL    35620‐5915
AMERSON, JAMES                        PO BOX 63                                                                                                          MERIDIAN          MS    39302‐0063
AMERSON, JESSE J                      1251 GRIDER POND RD                                                                                                BOWLING GREEN     KY    42104‐4642
AMERSON, JESSE JAMES                  1251 GRIDER POND RD                                                                                                BOWLING GREEN     KY    42104‐4642
AMERSON, JESSE L                      29528 MEADOWLANE DR                                                                                                SOUTHFIELD        MI    48076‐5242
AMERSON, JESSIE M                     1826 SHAMROCK LN                                                                                                   FLINT             MI    48504‐5404
AMERSON, JESSIE MAE                   1826 SHAMROCK LN                                                                                                   FLINT             MI    48504‐5404
AMERSON, MARTHA                       21314 PEMBROKE AVE                                                                                                 DETROIT           MI    48219
AMERSON, MICHAEL L                    8255 WOODS EDGE                                                                                                    WHITE LAKE        MI    48386‐3571
AMERSON, ROBERT L                     1316 WILLIAMSBURG RD                                                                                               FLINT             MI    48507‐5628
AMERSON, TERIA M                      15 ADAMS ST                                                                                                        PONTIAC           MI    48342
AMERSON, TERIA MARSHIKA               15 ADAMS ST                                                                                                        PONTIAC           MI    48342
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Name                          Address1                             Address2                      Address3   Address4                 City               State Zip
AMERTRANSEURO INTERNATIONAL   ATTN: CORPORATE OFFICER/AUTHORIZED   DRURY WAY                                LONDON NW10 0JN UNITED
HOLDING                       AGENT                                                                         KINGDOM
AMERUD MICHAEL D (652365)     GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                       NORFOLK             VA   23510
                                                                   STREET, SUITE 600
AMERUD, MICHAEL D             GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                       NORFOLK             VA   23510‐2212
                                                                   STREET, SUITE 600
AMERUS CAPITAL MANAGEMENT     ATTN TAN GULLING                     699 WALNUT ST STE 1400                                            DES MOINES         IA    50309‐3931
AMES                          PO BOX 4474                                                                                            CHERRY HILL        NJ    08034‐0681
AMES CONSTRUCTION             LES STEFFES                          3737 W 2100 S                                                     WEST VALLEY CITY   UT    84120‐1203
AMES CONSTRUCTION             3737 W 2100 S                                                                                          WEST VALLEY CITY   UT    84120‐1203
AMES CORPORATION                                                   2000 AMES DR                                                                         MN    55306
AMES DENISE                   2158 TWAIN AVENUE                                                                                      CARLSBAD           CA    92008‐4617
AMES II, DONALD W             3763 PERRY AVE SW                                                                                      WYOMING            MI    49519‐3649
AMES JR, EDWARD D             2611 MOUNT ZION AVE                                                                                    JANESVILLE         WI    53545‐1362
AMES JR, LEONARD F            11221 WINDSONG CT                                                                                      CLERMONT           FL    34715‐9524
AMES JR, RICHARD E            5501 SOUTH SAINT CLAIR ROAD                                                                            SAINT JOHNS        MI    48879‐9150
AMES JR, ROBERT P             18604 CHAMPAIGN RD                                                                                     ALLEN PARK         MI    48101‐2251
AMES JR, T C                  10485 SOUTH DARBYSHIRETREST                                                                            HOMOSASSA          FL    34446
AMES LABORATORY, IOWA STATE   IVER ANDERSON                        222 METALS DEVELOPMENT                                            AMES               IA    50011‐3020
UNIVERSITY
AMES LAURIE L                 AMES, LAURIE L
AMES LAURIE L                 AMES, STEPHEN
AMES LAURIE L                 HOSELTON CHEVROLET INC
AMES MICHAEL                  1702 CROTONSON                                                                                         CROTON ON           NY   10520
                                                                                                                                     HUDSON
AMES R MILLER                 793 ENOLA DR                                                                                           VANDALIA           OH    45377‐2819
AMES ROLAND H (481613)        GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                       NORFOLK            VA    23510
                                                                   STREET, SUITE 600
AMES, AARON F                 5232 E BROADWAY RD LOT 145                                                                             MT PLEASANT        MI    48858‐7902
AMES, ARTHUR L                6506 SUNSET ST                                                                                         GARDEN CITY        MI    48135‐2026
AMES, ARTHUR LEE              6506 SUNSET ST                                                                                         GARDEN CITY        MI    48135‐2026
AMES, AUDREY L                4404 SULGRAVE DR                                                                                       SWARTZ CREEK       MI    48473‐8268
AMES, BETTY A                 3173 EASTGATE                                                                                          BURTON             MI    48519‐1552
AMES, BETTY A                 3173 EASTGATE ST                                                                                       BURTON             MI    48519‐1552
AMES, C D                     122 DORNOCH ST                                                                                         CORTLAND           OH    44410‐8741
AMES, CHARLES P               109 WARD ST                                                                                            CROSWELL           MI    48422‐1136
AMES, CHESTER H               3632 S 47TH RD                                                                                         HUMANSVILLE        MO    65674‐8519
AMES, CLAYTON N               532 N CHATHAM ST                                                                                       JANESVILLE         WI    53548‐2805
AMES, D. O.                   PO BOX 4474                          1878 RT. 70 EAST, SUITE 5                                         CHERRY HILL        NJ    08034‐0681
AMES, DALLAS L                PO BOX 176                                                                                             MONTROSE           MI    48457‐0176
AMES, DARWIN C                1921 N CLAREMONT DR                                                                                    JANESVILLE         WI    53545‐0969
AMES, DAVID A                 1211 E WEBSTER ST                                                                                      PRAIRIE DU CHIEN   WI    53821‐2044
AMES, DAVID C                 1050 SPANISH LAKE DR                                                                                   AVON               IN    46123‐8752
AMES, DAVID L                 219 CRANMER                                                                                            CHARLOTTE          MI    48813‐8428
AMES, DICK C                  PO BOX 361                                                                                             ROANOKE            IN    46783‐0361
AMES, DOLORES M               532 N CHATHAM ST                                                                                       JANESVILLE         WI    53548‐2805
AMES, DOUGLAS K               1317 MACARTHUR DR                                                                                      JANESVILLE         WI    53548‐1412
AMES, DWIGHT A                PO BOX 365                                                                                             MENDON             MI    49072‐0365
AMES, ELINORE                 2535 W FREMONT RD                                                                                      PORT CLINTON       OH    43452‐9468
AMES, EVERETT G               12651 COUNY RD.                      ROAD #82                                                          PAULDING           OH    45879
AMES, FORREST E               2074 STAR AVE S                                                                                        GRAND FORKS        ND    58201‐3481
AMES, FRANCIS A               1317 MACARTHUR DR                                                                                      JANESVILLE         WI    53548‐1412
AMES, FREDERICK K             8486 CHELMSFORD DR                                                                                     SWARTZ CREEK       MI    48473‐1231
AMES, GARY L                  328 BLOSSOM VIEW CT                                                                                    WEST COLUMBIA      SC    29170‐2337
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Name                               Address1                          Address2                      Address3   Address4               City              State   Zip
AMES, GEORGE J                     2941 117TH ST                                                                                     TOLEDO             OH     43611
AMES, GERTHA                       12651 COUNY RD.                   ROAD #82                                                        PAULDING           OH     45879
AMES, GLORIA                       139 REBA AVE                                                                                      MANSFIELD          OH     44907‐1366
AMES, INEZ L                       6065 S VERDE TRAIL APT G 214                                                                      BOCA RATON         FL     33433‐4416
AMES, IVY                          85 E DUBOIS WALK                                                                                  ENGLEWOOD          NJ     07631
AMES, JERRY G                      840 W DITTEMORE RD                                                                                BLOOMINGTON        IN     47404‐9483
AMES, JOYCE B                      100 PARK LANE CIR                                                                                 LOCKPORT           NY     14094‐4749
AMES, JUDITH C                     8480 LOWER LAKE RD                                                                                BARKER             NY     14012‐9648
AMES, JULIA                        4728 CAMELLIA DRIVE                                                                               SUFFOLK            VA     23435‐2049
AMES, KEITH J                      8432 CHAPMAN RD                                                                                   GASPORT            NY     14067‐9460
AMES, LARRY R                      9978 S WOODRUFF                                                                                   BLANCHARD          MI     49310‐9793
AMES, LEO J                        8430 CLARK RD                                                                                     GRAND LEDGE        MI     48837‐9282
AMES, LEO JOHN                     8430 CLARK RD                                                                                     GRAND LEDGE        MI     48837‐9282
AMES, LILLIAN M                    PO BOX 7108                                                                                       NEWARK             DE     19714‐7108
AMES, MARION M                     7501 GLEN TERRA DR                                                                                LANSING            MI     48917‐8827
AMES, MARJORIE J                   931 N SANDALWOOD AVE                                                                              RIALTO             CA     92376‐3884
AMES, MARK AUSTIN                  3725 NORTH HUBBARD LAKE ROAD                                                                      SPRUCE             MI     48762‐9743
AMES, MARK J                       3725 N HUBBARD LAKE RD                                                                            SPRUCE             MI     48762‐9743
AMES, MARK JOSEPH                  3725 NORTH HUBBARD LAKE ROAD                                                                      SPRUCE             MI     48762‐9743
AMES, MARVIN D                     PO BOX 492                                                                                        CROSSWICKS         NJ     08515‐0492
AMES, MICHAEL AUSTIN               12267 VIENNA RD                                                                                   MONTROSE           MI     48457‐9405
AMES, MICHAEL B                    1158 PARKLAND RD                                                                                  LAKE ORION         MI     48360‐2808
AMES, MICHELLE E                   4470 ASHBERRY DR                                                                                  MILTON             WI     53563‐8897
AMES, NORMA W                      1070 KENT LN                                                                                      PALM HARBOR        FL     34683‐5907
AMES, RAYMOND L                    729 KINGRIDGE PL                                                                                  SHREVEPORT         LA     71108‐6017
AMES, RICHARD B                    304 SAINT GEORGE DRIVE                                                                            CROSSVILLE         TN     38558‐9028
AMES, ROBERT E                     5085 MILLINGTON RD                                                                                MILLINGTON         MI     48746‐8703
AMES, ROBERT F                     6321 E POLK RD                                                                                    ITHACA             MI     48847‐9451
AMES, ROBERT L                     5439 WHITWOOD RD                                                                                  BALTIMORE          MD     21206‐3747
AMES, ROBERTA M                    1747 WEST QUARTZ ROCK ROAD                                                                        PHOENIX            AZ     85085‐0601
AMES, ROLAND H                     GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                     NORFOLK            VA     23510‐2212
                                                                     STREET, SUITE 600
AMES, RONDA                        102 BANTA TRAIL                                                                                   INDIANAPOLIS      IN      46227‐2122
AMES, RUTH M                       3869 ALKIRE RD                                                                                    GROVE CITY        OH      43123‐1492
AMES, SANDRA A                     109 HOLLY BERRY DR                                                                                COLUMBIA          TN      38401‐5350
AMES, SARAH LEE                    17311 E US HIGHWAY 40 TRLR I‐23                                                                   INDEPENDENCE      MO      64055‐5393
AMES, SHERRY LYNN                  5038 AURAND RD                                                                                    OTTER LAKE        MI      48464‐9602
AMES, SHONDA N                     4105 MARIANNE DR                                                                                  DAYTON            OH      45404
AMES, STANLEY W                    7527 HIGDON CT                                                                                    INDIANAPOLIS      IN      46214‐2203
AMES, SUZANNE M                    3763 PERRY AVE SW                                                                                 WYOMING           MI      49519‐3649
AMES, TEANE                        PO BOX 92                                                                                         CARSON CITY       NV      89702
AMES, THOMAS H                     2000 TACKLE ST                                                                                    ESSEXVILLE        MI      48732‐1530
AMES, THOMAS R                     7923 S COUNTY ROAD 100 WEST                                                                       CLAY CITY         IN      47841‐8231
AMES, THOMAS W                     5380 N 67TH ST                                                                                    MILWAUKEE         WI      53218‐3026
AMES, VIVIAN K                     8961 N 2ND AVE                                                                                    EDGERTON          WI      53534‐8601
AMES, WILLIAM L                    2849 RIVER TRAIL DR                                                                               ROCHESTER HILLS   MI      48309‐3202
AMESBURY CHEVROLET & VOLKSWAGEN,   103 MACY ST                                                                                       AMESBURY          MA      01913‐4319
IN
AMESBURY CHEVROLET & VOLKSWAGEN,   BRIAN FECTEAU                     103 MACY ST                                                     AMESBURY          MA      01913‐4319
INC.
AMESBURY CHEVROLET & VOLKSWAGEN,   103 MACY ST                                                                                       AMESBURY          MA      01913‐4319
INC.
AMESBURY, LAURA A                  5373 OLDE SHAWBORO RD                                                                             GRAND BLANC        MI     48439‐8722
AMESBURY, ROBERT F                 9099 SADDLE HORN DR                                                                               FLUSHING           MI     48433‐1253
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Name                             Address1                         Address2                       Address3               Address4                  City             State   Zip
AMESSE, JAMES P                  11497 RICHMOND                                                                                                   WASHINGTON        MI     48094‐3659
AMESSE, THERESA A                6935 CARLISLE CT APT 330                                                                                         NAPLES            FL     34109‐8909
AMETEK (SATURN)                  1225 W WASHINGTON ST STE 400                                                                                     TEMPE             AZ     85281‐1240
AMETEK ‐ PRESTOLITE SWITCH       KELLY RAYMOND                    1701 INDUSTRIAL BLVD                                                            HIDALGO           TX     78557‐3605
AMETEK ‐ VISION RESEARCH         100 DEY RD                                                                                                       WAYNE             NJ     07470‐4604
AMETEK DIXSON                    AMETEK/DIXSON                    PO BOX 90255                                                                    CHICAGO            IL    60696‐0255
AMETEK DIXSON                    287 27 RD                                                                              GRAND JUNCTION CO 81503
                                                                                                                        MEXICO
AMETEK DIXSON                    AMETEK/DIXSON                    PO BOX 901                     FRMLY AMETEK INC                                 SELLERSVILLE      PA     18960‐0901
AMETEK DREXELBROOK               205 KEITH VALLEY RD                                                                                              HORSHAM           PA     19044‐1408
AMETEK INC                       91 MCKEE DR                                                                                                      MAHWAH            NJ     07430
AMETEK ROTRON                    75 NORTH ST                      FRMLY E G & G ROTRON INC                                                        SAUGERTIES        NY     12477‐1039
AMETEK, INC.                     KELLY RITTER                     215 KEITH VALLEY RD                                                             HORSHAM           PA     19044‐1408
AMETEK‐PRESTOLITE PWR & SWITCH   C/O CAIN CUSTOMS BROKERS         1701 INDUSTRY BLVD                                                              HIDALGO           TX     78557
AMETEK/LARGO                     8600 SOMERSET DR                                                                                                 LARGO             FL     33773‐2713
AMETEK/U.S. GAUGE DIVISION       ART SUMAN                        820 PENNSYLVINIA BLVD                                                           FSTRVL TRVOSE     PA     19053‐7814
AMETEK/U.S. GAUGE DIVISION       ART SUMAN                        450 POLK ST                                                                     MONROE            MI     48161
AMETHIA TURNER                   8048 CLOVERDALE AVE                                                                                              FERNDALE          MI     48220‐2210
AMETHYST, CARTER R               8003 LIEBER RD                                                                                                   INDIANAPOLIS      IN     46260‐2836
AMETHYST, CARTER R
AMETRA L HARRIS                  119 MCGREGOR ST                                                                                                  SAGINAW           MI     48602‐1219
AMEX BANK OF CANADA              101 MCNABB ST                                                                          MARKHAM ON L3R 4H8
                                                                                                                        CANADA
AMEX BANK OF CANADA              VICE PRESIDENT, ESTABLISHMENT    101 MCNABB ST                                         MARKHAM ON L3R 4H8
                                 SERVICES GROUP                                                                         CANADA
AMEXCAST SA DE CV                AV INDUSTRIA NACIONAL NO 12      FRACC INDUSTRIAL ALCE BLANCO   NAUCALPAN EDO DE MEX   MEXICO
AMEY CHRISTOPHER                 AMEY, CHRISTOPHER                1800 30TH ST , 4TH FL                                                           BAKERSFIELD      CA      93301
AMEY JR, GEORGE                  3887 LIBERTY‐ELLERTON ROAD                                                                                       DAYTON           OH      45418‐1348
AMEY JR, GEORGE                  3887 LIBERTY ELLERTON RD                                                                                         MORAINE          OH      45418‐1348
AMEY SR, STEVEN F                3058 LINDSEY RD                                                                                                  ATTICA           NY      14011‐9681
AMEY, ANNA K                     3024 M 65                                                                                                        HALE             MI      48739‐8514
AMEY, ARTHUR C                   571 ANNA ST                                                                                                      DAYTON           OH      45402‐5509
AMEY, CHRISTOPHER                YOUNG WOOLDRIDGE LAW OFFICE      1800 30TH ST , 4TH FL                                                           BAKERSFIELD      CA      93301
AMEY, CHRISTOPHER                3902 FOUR SEASONS CT                                                                                             BAKERSFIELD      CA      93313‐4441
AMEY, DONALD L                   2044 LOWDEN LN                                                                                                   FLINT            MI      48532‐4647
AMEY, ELLERY A                   7073 E RICHFIELD RD                                                                                              DAVISON          MI      48423‐8917
AMEY, HOWARD A                   737 INDIAN CREEK CT                                                                                              NAPLES           FL      34120‐0426
AMEY, JEROME W                   3188 GEHRING DR                                                                                                  FLINT            MI      48506‐2234
AMEY, JOHN H                     4512 APPLE TREE CT                                                                                               DAYTON           OH      45427‐2804
AMEY, LEON E                     6252 LUCAS RD                                                                                                    FLINT            MI      48506‐1227
AMEY, LINDA A                    APT A                            5237 WOOD CREEK ROAD                                                            DAYTON           OH      45426‐1639
AMEY, LINDA A                    5237 A WOOD CREEK ROAD                                                                                           TROTWOOD         OH      45426‐5426
AMEY, LOIS A                     1839 SHARRICK RD                                                                                                 DARIEN CENTER    NY      14040‐9718
AMEY, NANCY E                    737 INDIAN CREEK CT                                                                                              NAPLES           FL      34120‐0426
AMEY, RONALD A                   2120 KENNETH ST                                                                                                  BURTON           MI      48529‐1353
AMEY, WILLIAM L                  1612 DENISE DR APT C                                                                                             FOREST HILL      MD      21050‐2988
AMEZQUITA, ANTHONY H             893 LAKEMONT DRIVE                                                                                               NASHVILLE        TN      37220‐2110
AMEZQUITA, ANTHONY HECTOR        893 LAKEMONT DRIVE                                                                                               NASHVILLE        TN      37220‐2110
AMEZQUITA, JOE                   1636 PASADENA                                                                                                    PASADENA         CA      91103
AMG INDUSTRIES INC               200 COMMERCE DR                                                                                                  MOUNT VERNON     OH      43050
AMG INDUSTRIES INC               JIM WEIDE EXT243                 200 COMMERCE DRIVE                                                              MOUNT VERNON     OH      43050
AMG/MOUNT VERNON                 200 COMMERCE DRIVE                                                                                               MOUNT VERNON     OH      43050
AMHAUS, ARMELLA                  344 WEST JUNIPER DRIVE                                                                                           GRAFTON          WI      53024‐2268
AMHED TAHIR                      C/O BEVAN & ASSOCIATES LPA INC   6555 DEAN MEMORIAL PARKWAY                                                      BOSTON HEIGHTS   OH      44236
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Name                             Address1                            Address2                      Address3   Address4                 City               State Zip
AMHEISER, PAUL H                 12 WEST MIDDLE ST                                                                                     BURBANK             OH 44214
AMHERDT, OTTO                    10153 N WEBSTER RD                                                                                    CLIO                MI 48420‐8575
AMHERST CHEVROLET INC            WANG, AILI
AMHERST CHEVROLET INC            2142 AUSTIN DR                                                                                        TROY               MI   48083‐2238
AMHERST CHEVROLET, INC.          INTERCOMPANY
AMHERST COLLEGE                  OFFICE OF THE COMPTROLLER                                                                             AMHERST            MA   01002
AMHERST HIGHWAY DEPARTMENT                                           1042 NORTH FRENCH ROAD                                                               NY   14221
AMHERST MAGNETIC IMA             905 HARLEM RD                                                                                         WEST SENECA        NY   14224
AMHERST MEDICAL ASSO             3950 E ROBINSON RD STE 305                                                                            BUFFALO            NY   14228‐2044
AMHERST TOOL/AMHERST             237 COMMERCE DR                                                                                       AMHERST            NY   14228‐2302
AMHERSTVIEW AUTO SERVICE         304 COUNTY RD #6                                                             BATH ON K0H 1G0 CANADA
AMI ENGINEERING                  30 W SILVERDOME INDUSTRIAL PARK                                                                       PONTIAC            MI   48342‐2993
AMI ENGR/34000 MOUND             34000 MOUND RD                                                                                        STERLING HEIGHTS   MI   48310‐6609
AMI ENGR/PONTIAC                 30 W SILVERDOME INDUSTRIAL PARK     PARK DRIVE                                                        PONTIAC            MI   48342‐2993
AMI GARLAND                      4092 STONE RD                                                                                         IONIA              MI   48846‐9742
AMI INDUSTRIES                   PO BOX 269                                                                                            LEWISTON           MI   49756‐0269
AMI INDUSTRIES INC               PO BOX 269                                                                                            LEWISTON           MI   49756‐0269
AMI J VOSS                       614 IOWA AVE.                                                                                         NILES              OH   44446‐1044
AMI M THOMAS                     1570 PARKWOOD AVE                                                                                     YPSILANTI          MI   48198‐6036
AMI MANCHESTER                   MONETREX INC                        5050 KINGSLEY DR                                                  CINCINNATI         OH   45263‐4279
AMI MANCHESTER LLC               EAST FT REJ 3/23/06                 5050 KINGSLEY DR                                                  CINCINNATI         OH   45263‐4279
AMI MANCHESTER LLC               AARON O'BRIEN                       17951 W AUSTIN RD                                                 SANDUSKY           MI
AMI MECHANICAL                   12141 PENNSYLVANIA ST                                                                                 THORNTON           CO   80241‐3115
AMI REVEAL                       4035 N BENNINGTON AVE APT 204                                                                         KANSAS CITY        MO   64117
AMI TEST                         14450 WEST RD                                                                                         HOUSTON            TX   77041‐1103
AMI TEST                         20911 GLADWIN ST                                                                                      TAYLOR             MI   48180‐5206
AMI TEST                         14405 WEST ROAD                                                                                       HOUSTON            TX   77041
AMI WATSON                       28 W SAINT MARY ST                                                                                    MILTON             WI   53563‐1655
AMIA INTERNATIONAL CORP          41 ORCHARD ST                                                                                         RAMSEY             NJ   07446
AMIAD FILTRATION SYSTEMS         2220 CELSIUS AVE                                                                                      OXNARD             CA   93030‐5181
AMIAD USA INC                    2220 CELSIUS AVE                                                                                      OXNARD             CA   93030‐5181
AMIC ROBERT W (438779)           GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                       NORFOLK            VA   23510
                                                                     STREET, SUITE 600
AMIC, ROBERT W                   GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                       NORFOLK            VA   23510‐2212
                                                                     STREET, SUITE 600
AMICA MUTUAL INS CO              43 WESTERN BLVD                                                                                       GLASTONBURY        CT   06033‐4338
AMICA MUTUAL INSURANCE           43 WESTERN BLVD                                                                                       GLASTONBURY        CT   06033
AMICA MUTUAL INSURANCE COMPANY

AMICA MUTUAL INSURANCE COMPANY   SKELLEY ROTTNER PC LAW OFFICES OF   433 SOUTH MAIN STREET                                             WEST HARTFORD      CT   06110

AMICA MUTUAL INSURANCE COMPANY   C/O SHAIR & FISHBON                 P.O. BOX 320015                                                   WEST ROXBURY       MA   02132‐0001
A/S/O SEYMOUR KRAUT
AMICA, MAURICE A                 4161 16TH ST                                                                                          ECORSE             MI   48229‐1238
AMICH, FRANK                     5031 W 14TH ST                                                                                        SPEEDWAY           IN   46224‐6503
AMICI, ERNEST A                  947 HANNAH DR                                                                                         TROY               MI   48085‐1642
AMICK ASSOCIATES INC             11 SYCAMORE ST                                                                                        CARNEGIE           PA   15106‐2042
AMICK, ANNA R                    2110 SUMMIT AVE                                                                                       BALTIMORE          MD   21237‐1336
AMICK, BRENT                     26728 PAMELA DR                                                                                       CANYON COUNTRY     CA   91351‐4804

AMICK, DOUGLAS                   6928 NORTHPOINT DR                                                                                    TROY               MI   48085‐1244
AMICK, ERVIN G                   2210 GRANT BLVD                                                                                       LEBANON            IN   46052‐1238
AMICK, FRED H                    45166 GEDDES RD                                                                                       CANTON             MI   48188‐2426
AMICK, GARY O                    3633 THYME DR                                                                                         SAINT CHARLES      MO   63303‐6330
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Name                                 Address1                       Address2                        Address3   Address4               City             State   Zip
AMICK, JANETTE M                     45166 GEDDES RD                                                                                  CANTON            MI     48188‐2426
AMICK, JEFFREY S                     2025 ZUMBEHL RD #141                                                                             SAINT CHARLES     MO     63303
AMICK, JOHN T                        110 MARQUETTE ST                                                                                 BAY CITY          MI     48706‐4845
AMICK, KENNETH W                     4871 ALEXANDRIA PIKE                                                                             ANDERSON          IN     46012‐9794
AMICK, MARVIN L                      8735 SKILES PL                                                                                   INDIANAPOLIS      IN     46234‐8510
AMICK, MAY W                         1340 BLUEBIRD DR                                                                                 GREENFIELD        IN     46140‐1156
AMICK, RALPH E                       PO BOX 115                                                                                       GALION            OH     44833‐0115
AMICK, ROBERT H                      8833 NORTH KENWOOD AVENUE                                                                        INDIANAPOLIS      IN     46260‐2322
AMICK, RUTH A                        100 WINWOOD DR APT F                                                                             MANSFIELD         OH     44907‐1642
AMICK, RUTH D                        2762 S BERWICK AVE                                                                               INDIANAPOLIS      IN     46241‐5303
AMICK, THURMAN E                     2110 SUMMIT AVE                                                                                  BALTIMORE         MD     21237‐1336
AMICK, WILLIAM J                     17053 SE 79TH MCLAWREN TER                                                                       THE VILLAGES      FL     32162‐8336
AMICO ALEX                           1617 WALNUT STREET                                                                               ERIE              PA     16502‐1751
AMICO, ANN P                         601 CARLEY AVE                                                                                   SHARON            PA     16146‐3725
AMICO, CORIANNE A                    320 WILLOW ST                                                                                    LOCKPORT          NY     14094‐5511
AMICO, EDWARD G                      54 BENDING CREEK RD APT 4                                                                        ROCHESTER         NY     14624‐2138
AMICO, IDA                           59 W CREST DR                                                                                    ROCHESTER         NY     14606‐4713
AMICO, LIBORIO                       387 FRENCH RD                                                                                    PITTSFORD         NY     14534‐1152
AMICO, LINDA M                       355 LAKE MEADOW DR                                                                               ROCHESTER         NY     14612‐4011
AMICO, LORENZO                       59 W CREST DR                                                                                    ROCHESTER         NY     14606‐4713
AMICO, RICHARD P                     44 W CREST DR                                                                                    ROCHESTER         NY     14606‐4712
AMICO, SALVATRICE                    387 FRENCH RD                                                                                    PITTSFORD         NY     14534‐1152
AMICO, SAM A                         1042 WHALEN RD                                                                                   PENFIELD          NY     14526‐1226
AMICON, JOHN C                       504 COUNTRY LN                                                                                   OKLAHOMA CITY     OK     73130‐6831
AMICONE, EDWARD R                    2495 ARDENWOOD PL                                                                                AUSTINTOWN        OH     44515‐5117
AMICONE, MARIA B                     PO BOX 4341                                                                                      AUSTINTOWN        OH     44515‐0341
AMICUCCI, RITA                       349 ADELAIDE AVE. NE                                                                             WARREN            OH     44483‐5434
AMICUCCI, TERENCE C                  1036 TANYARD SPRINGS DR                                                                          SPRING HILL       TN     37174‐6131
AMIDAN LILLIE (ESTATE OF) (499906)   BRAYTON PURCELL                215 S STATE ST STE 900                                            SALT LAKE CITY    UT     84111‐2353
AMIDAN, LILLIE MARIE                 BRAYTON PURCELL                215 S STATE ST STE 900                                            SALT LAKE CITY    UT     84111‐2353
AMIDAR, TOMAS                        1316 SEABROOK DR                                                                                 PLANO             TX     75023‐2927
AMIDEI, JULIA T                      39 FAIRWAY MEADOWS DR                                                                            HAYESVILLE        NC     28904‐7112
AMIDON EUGENE (442952)               KELLEY & FERRARO LLP           1300 EAST NINTH STREET , 1901                                     CLEVELAND         OH     44114
                                                                    BOND COURT BUILDING
AMIDON, ARTHUR J                     7854 OLDE POND RD                                                                                WILMINGTON       NC      28411‐6206
AMIDON, BETTY J                      3528 GEDDES CT                                                                                   FORT WAYNE       IN      46816‐2703
AMIDON, DONALD E                     14925 CAVOUR ST                                                                                  LIVONIA          MI      48154‐4007
AMIDON, DONNA                        6263 OAK HILL DRIVE                                                                              W.FARMINGTON     OH      44491‐8704
AMIDON, EUGENE                       KELLEY & FERRARO LLP           1300 EAST NINTH STREET, 1901                                      CLEVELAND        OH      44114
                                                                    BOND COURT BUILDING
AMIDON, IRA A                        215 BROWNING AVE                                                                                 FLINT            MI      48507‐2618
AMIDON, JACK L                       11752 HARBOR MNR                                                                                 HOLLAND          MI      49424‐9348
AMIDON, LARRY L                      3528 GEDDES CT                                                                                   FORT WAYNE       IN      46816‐2703
AMIDON, MARY E                       3872 WINEGAR RD                                                                                  BANCROFT         MI      48414‐9604
AMIDON, MICHAEL W                    24235 BUCKINGHAM WAY                                                                             PORT CHARLOTTE   FL      33980‐5518
AMIDON, RICHARD F                    35 MEDITERRANEAN BLVD W                                                                          PORT ST LUCIE    FL      34952‐2830
AMIDON, ROBERT L                     508 N SAGINAW ST                                                                                 DURAND           MI      48429‐1241
AMIDON, RONALD R                     2995 N HINTZ RD                                                                                  OWOSSO           MI      48867‐9474
AMIDON, WILLIAM R                    4146 S DURAND RD                                                                                 DURAND           MI      48429‐9761
AMIE BLAKE                           8989 GEORGETOWN RD                                                                               CHESTERTOWN      MD      21620‐4442
AMIE COLEMAN                         3740 W 84TH ST                                                                                   CHICAGO          IL      60652‐3263
AMIE COVILLE                         3040 BRIDLEWOOD DR                                                                               ROCHESTER        MI      48306‐1484
AMIE HUGHES                          4464 BRENDENSHIRE CT                                                                             FLINT            MI      48532‐2504
AMIE JORDAN                          9706 S CALUMET AVE                                                                               CHICAGO          IL      60628‐1430
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Name                                  Address1                             Address2                     Address3             Address4                    City               State   Zip
AMIE MARKS                            3452 MAHOPAC DRIVE                                                                                                 LAKE ORION          MI     48360‐1526
AMIE MCGEE                            PO BOX 224                                                                                                         WARREN              OH     44482‐0224
AMIE MYRON HARDIMAN                   5200 PERRING PKWY                                                                                                  BALTIMORE           MD     21251‐0001
AMIE S HURST                          808 SOUTH JAY ST                                                                                                   WEST MILTON         OH     45383
AMIE SMITH‐VORRICE                    211 E MOORE ST                                                                                                     FLINT               MI     48505‐5371
AMIE UPTON                            2578 E 360 N                                                                                                       ANDERSON            IN     46012‐9239
AMIE, BETTY A                         1739 THORNEAPPLE LN                                                                                                ALGONQUIN            IL    60102‐3933
AMIE, DAN T                           7394 EMBURY RD                                                                                                     GRAND BLANC         MI     48439‐8133
AMIE, DAN THOMAS                      7394 EMBURY RD                                                                                                     GRAND BLANC         MI     48439‐8133
AMIE, EDWARD                          1919 EAGLE PASS                                                                                                    KELLER              TX     76248‐6806
AMIE, JACK M                          204 DUNBARTON DR                                                                                                   ST SIMONS ISLAND    GA     31522‐1017
AMIE, LUTHER E                        115 CHEROKEE PL                                                                                                    LOCUST GROVE        GA     30248‐2102
AMIEE M TAYLOR                        45 BLACKSTONE DR                                                                                                   CENTERVILLE         OH     45459
AMIEL C GREEN                         2111 N 85TH ST                                                                                                     KANSAS CITY         KS     66109‐2013
AMIEL CUTCHER                         2109 STIRRUP LN APT 9                                                                                              TOLEDO              OH     43613‐1665
AMIEL FOLEY                           2413 BOSTIC ST                                                                                                     HOUSTON             TX     77093
AMIGH, HARVE E                        16070 HOLZ DR UNIT 94                                                                                              SOUTHGATE           MI     48195‐2995
AMIGO CHEVROLET, CADILLAC, OLDSMOBI   1900 S 2ND ST                                                                                                      GALLUP              NM     87301‐5858

AMIGO CHEVROLET, CADILLAC,            TERRY PROFFITT                       1900 S 2ND ST                                                                 GALLUP             NM      87301‐5858
OLDSMOBILE
AMIGO CHEVROLET, CADILLAC,            1900 S 2ND ST                                                                                                      GALLUP             NM      87301‐5858
OLDSMOBILE
AMII ROSCOE                           BEVAN & ASSOCIATES LPA INC           6555 DEAN MEMORIAL PARKWAY                                                    BOSTON HTS         OH      44236
AMIL ELROD                            5646 BAXTER RD                                                                                                     BAXTER             TN      38544‐4562
AMIL, ANA R.                          5428 SW 131 CT                                                                                                     MIAMI              FL      33175‐6252
AMIL, ANA R.                          5428 SW 131ST CT                                                                                                   MIAMI              FL      33175‐6252
AMILCARE SEPA JR                      105 GRACE AVE                                                                                                      BRISTOL            CT      06010‐4523
AMILEE TROUTMAN                       3009 FOREST HILL AVE                                                                                               FLINT              MI      48504‐2651
AMILIA BREMER                         4066 GREEN ST                                                                                                      SAGINAW            MI      48638‐6618
AMILY HENDRIX                         211 BUENA VISTA ST                                                                                                 WINDER             GA      30680‐1641
AMIN
AMIN ABBOUD                           29115 LYNDON ST                                                                                                    LIVONIA             MI     48154‐4567
AMIN HASHMI                           5818 MARBLE DR                                                                                                     TROY                MI     48085‐3951
AMIN MATEEN                           2258 GLENDALE DR                                                                                                   DECATUR             GA     30032‐5810
AMIN MOTORS COMPANY LIMITED           HOUSE NO. 16, BLOCK 11, KING ABDUL                                                     KHARTOUM SUDAN
AMIN, LISA A                          15029 KARA LN                                                                                                      STERLING HEIGHTS    MI     48312‐5791
AMIN, SAMIR S                         PO BOX 394                                                                                                         LAKE CITY           MI     49651‐0394
AMIN, SHILPAN A                       15029 KARA LN                                                                                                      STERLING HEIGHTS    MI     48312‐5791
AMIN‐JAVAHERI, MASOUD                 PO BOX 9022                          ADAM OPEL                                                                     WARREN              MI     48090‐9022
AMINA MAWRY                           2794 ROULO ST                                                                                                      DEARBORN            MI     48120‐1545
AMINATA BARRIE                        2705 HOLLAND DR 2705                                                                                               SOMERSET            NJ     08873
AMINATA CONTEH                        159 HEMPSTEAD DR BLDG 13                                                                                           SOMERSET            NJ     08873‐3949
AMINE BAZERJI AND SONS                CENTRAL BANK BUILDING, BA                                                              ALEPPO SYRIA
AMINE, KASSEM M                       4773 CHOVIN ST                                                                                                     DEARBORN            MI     48126‐3003
AMINO CORP                            555 MISONODAIRO                                                                        FUJINOMIYA, S 418‐0 JAPAN

AMINO CORP                            15 HIGHBURY AVE                                                                        ST THOMAS ON N5P 4M1
                                                                                                                             CANADA
AMINO CORP                            TRENT MAKI                           AMINO CORPORATION            15 HIGHBURY AVENUE   ST. MARYS ON CANADA
AMINO CORPORATION                     555 MISONODAIRA FUJINOMIYA                                                             JAPAN
AMINO NORTH AMERICA CORP              15 HIGHBURY AVE                                                                        ST THOMAS ON N5P 4
                                                                                                                             CANADA
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Name                               Address1                           Address2                            Address3                  Address4                   City               State Zip
AMINO NORTH AMERICA CORP           15 HIGHBURY AVENUE                 GST ADDED 09/07/06 AH                                         SAINT THOMAS CANADA ON
                                                                                                                                    N5P 4M1 CANADA
AMINO NORTH AMERICA CORP.          TRENT MAKI                         AMINO CORPORATION                   15 HIGHBURY AVENUE        ST. MARYS ON CANADA
AMINO NORTH AMERICA CORP. (ANAC)   LARRY WALES                        15 HIGHBURY AVE                                               ST THOMAS ON N5P 4M1
                                                                                                                                    CANADA
AMINO TRANSPORT INC                500 GRAPEVINE HWY STE 220                                                                                                   HURST               TX   76054‐2707
AMINO/ONTARIIO                     15 HIGHBURY AVENUE                                                                               ST. THOMAS ON N5P 4M1
                                                                                                                                    CANADA
AMINS AUTO SERVICE                 26 KELFIELD ST                                                                                   ETOBICOKE ON M9W 5A2
                                                                                                                                    CANADA
AMIO DUTT                          9725 W 57TH ST                                                                                                              COUNTRYSIDE         IL   60525‐7203
AMION CAMPLIN                      34617 SHERIDAN ST                                                                                                           WESTLAND            MI   48185‐3614
AMIOT, JOANN M.                    2377 CUMBERLAND DR                                                                                                          WHITE LAKE          MI   48383‐2159
AMIOT, JOHN S                      921 MAPLE DR                                                                                                                SALIDA              CO   81201‐3347
AMIOT, WALTER R                    8202 PONTIAC LAKE RD                                                                                                        WHITE LAKE          MI   48386‐2097
AMIPP CENTER                       RUTGERS UNIVERSITY                 607 TAYLOR RD                       ATTN PROFESSOR RICHARD                               PISCATAWAY          NJ   08854‐8065
                                                                                                          LEHMAN
AMIR K SLATER                      888 PALLISTER ST APT 816                                                                                                    DETROIT             MI   48202‐2673
AMIR KAMOUNEH                      2110 BREDEFIELD ST                                                                                                          ANN ARBOR           MI   48105‐1101
AMIR KUNDALIC
AMIR L HAKEEM                      435 CRANDALL AVE                                                                                                            YOUNGSTOWN         OH    44504
AMIR LODHI                         1730 RICO RD                                                                                                                COMMERCE           MI    48382‐1483
                                                                                                                                                               TOWNSHIP
AMIR REZA
AMIR SEWANI                        2115 PEACHTREE CT                                                                                                           WEST BLOOMFIELD     MI   48324‐1464

AMIR, ROSALIND                     1407 HEATHERS MIST AVE                                                                                                      CHARLOTTE           NC   28213‐5216
AMIRA BAYDOUN                      7849 HARTWELL ST                                                                                                            DEARBORN            MI   48126‐1121
AMIRA LOVEJOY                      2999 PARMENTER RD                                                                                                           CORUNNA             MI   48817‐9568
AMIRR, COLLEEN P                   164 FRANKLIN ST                                                                                                             CEDAR GROVE         NJ   07009‐2232
AMIS, ROBERT B                     1501 KINGSWAY DR                                                                                                            HIGHLAND            MI   48356‐1734
AMIS/FRANCE                        RUE ALEXANDRE DUCHET 10                                                                          MONTLUCON FR 3100 FRANCE

AMISANO CONRAD A (405175)          WILENTZ GOLDMAN & SPITZER          88 PINE STREET , WALL STREET                                                             NEW YORK            NY   10005
AMISANO, CONRAD A                  ATTN LYNNE KIZIS ESQ               WILENTZ GOLDMAN AND SPITZER         90 WOODBRIDGE CENTER DR                              WOODBRIDGE          NJ   07095

AMISANO, CONRAD A                  WILENTZ GOLDMAN & SPITZER          88 PINE STREET, WALL STREET PLAZA                                                        NEW YORK            NY   10005
AMISHAV SERVICES LTD               137 BIYALIK ST                                                                                   RAMAT GAN 52523 ISRAEL
AMISON SR, CECIL L                 4050 GREEN MEADOWS BLVD                                                                                                     YPSILANTI          MI    48197
AMISON, BEATRICE P                 9150 SALISBURY DR                                                                                                           BROOKSVILLE        FL    34613‐4972
AMISON, GERALD P                   9150 SALISBURY DR                                                                                                           BROOKSVILLE        FL    34613‐4972
AMISON, JOHN W                     BARON & BUDD                       3102 OAK LANE AVE, SUITE 1100                                                            DALLAS             TX    75219
AMISON, KATHY                      2222 CAMPBELL ST                                                                                                            SANDUSKY           OH    44870‐4818
AMISS, DEBORAH C                   762 CLAIRE DR                                                                                                               MANDEVILLE         LA    70471‐2861
AMISTAD MOTORS                     2110 W DICKINSON BLVD                                                                                                       FORT STOCKTON      TX    79735‐4102
AMISTAD MOTORS, LLP                DIANE NUNEZ                        2110 W DICKINSON BLVD                                                                    FORT STOCKTON      TX    79735‐4102
AMIT
AMIT GUPTA                         2701 GOLFVIEW DR APT 102                                                                                                    TROY                MI   48084‐3803
AMIT GUPTA                         19596 W 105TH TER                                                                                                           OLATHE              KS   66061‐7520
AMIT NAYAR                         6 BUCHANAN RD                                                                                                               PITTSFORD           NY   14534‐3113
AMIT PARIKH                        34908 PENNINGTON DR                                                                                                         FARMINGTON HILLS    MI   48335‐2043

AMIT PATEL                         1413 BRYS DR                                                                                                                GROSSE POINTE       MI   48236‐1016
                                                                                                                                                               WOODS
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Name                     Address1                        Address2                 Address3       Address4                    City               State Zip
AMIT PATNEY              36532 JEFFERSON CT APT 12112                                                                        FARMINGTON HILLS    MI 48335‐1927

AMIT SHARMA              1446 HARTLAND DR                                                                                    TROY               MI    48083‐5455
AMIT WAVDE               33517 SHELLEY LYNNE DR                                                                              STERLING HEIGHTS   MI    48312‐6049
AMITABHA BANERJEE MD     ATTN: AMITABHA BANERJEE         1125 S LINDEN RD # 500                                              FLINT              MI    48532‐4069
AMITE COUNTY             PO BOX 356                                                                                          LIBERTY            MS    39645‐0356
AMITY MOTORS             220 AMITY RD                                                                                        WOODBRIDGE         CT    06525‐2205
AMITY VENTURES           520 WHITE PLAINS RD STE 500                                                                         TARRYTOWN          NY    10591‐5118
AMIYA NATH               1639 DEVONWOOD DR                                                                                   ROCHESTER HILLS    MI    48306‐3107
AMJAD AL KHATIB
AMJAD ALI                5532 IVANHOE DR                                                                                     TROY               MI    48085‐3815
AMJAD HASNIE             824 HENLOCK CT                                                                                      FORT WAYNE         IN    46818‐8418
AMJAD JALLAD             160 ROSEMARY ST                                                                                     DEARBORN HEIGHTS   MI    48127‐3626

AMJAD, GLORIA A          2525 SOUTH 51ST TERRACE                                                                             KANSAS CITY         KS   66106‐3303
AMK METAL PRODUCTS       7405 TRANMERE DR                                                        MISSISSAUGA CANADA ON L5S
                                                                                                 1L4 CANADA
AMK/BOWMANSVILLE         248 SIMPSON AVE SOUTH                                                   BOWMANSVILLE ON L1C 2J3
                                                                                                 CANADA
AMKEY                    RUE DES POISSONNIERS            ZAC LA CROISETTE                        LENS 62300 FRANCE
AML AUTO SERVICE         126 LAIRD DR                                                            TORONTO ON M4G 3V3
                                                                                                 CANADA
AMLADI, JNANESH D        (ENGLAND)30200 STEPHENSON HWY                                                                       MADISON HTS        MI    48071
AMLETO MASERATI          VIA DELLE VILLE 12              21029 VERGIATE           ITALY
AMLETO MATIASER          VIA DELLE VILLE 12
AMLEVTO MASERATI         VIA DELLE VILLE 12              21029 VERGIATE
AMLEY, EUGENE L          3215 W LAKE RD                                                                                      CLIO               MI    48420‐8819
AMLING, RICHARD          3025 ROMAIN TRAIL                                                                                   SPRING HILL        TN    37174‐6176
AMLING, RICHARD          3025 ROMAIN TRL                                                                                     SPRING HILL        TN    37174‐6176
AMLOTTE, DENNIS J        PO BOX 674                                                                                          ALMONT             MI    48003‐0674
AMLOTTE, DENNIS JON      PO BOX 674                                                                                          ALMONT             MI    48003‐0674
AMLOTTE, EDNA L          1025 BREEZY OAKS                                                                                    MANSFIELD          TX    76063
AMLOTTE, GARY L          127 W LINWOOD RD                                                                                    LINWOOD            MI    48634
AMLOTTE, GARY L          17200 PIONEER ST LOT F230                                                                           NORTH FORT MYERS   FL    33917

AMMA WARE                16500 ASHTON AVE                                                                                    DETROIT            MI    48219‐4145
AMMAN, COLLEEN J         1129 SOUTH LINE STREET                                                                              CHESANING          MI    48616
AMMAN, DONALD L          7311 DITCH RD                                                                                       CHESANING          MI    48616‐9736
AMMAN, FREDERICK T       11175 PEET RD                                                                                       CHESANING          MI    48616‐9503
AMMAN, GILBERT P         11600 S HEMLOCK RD                                                                                  BRANT              MI    48614‐9702
AMMAN, JUNE E            9360 THREAD RIVER DR                                                                                GOODRICH           MI    48438‐9434
AMMAN, KATHERINE E       6487 HARTWOOD DRIVE                                                                                 FENTON             MI    48430‐4318
AMMAN, KENNETH L         240 RALEIGH PL                                                                                      LENNON             MI    48449‐9604
AMMAN, LUCILLE J         19310 AMMAN RD R 1                                                                                  CHESANING          MI    48616‐9714
AMMAN, MARTIN J          16119 STUART RD                                                                                     CHESANING          MI    48616‐9747
AMMAN, MITCHELL L        13955 MERRIE MEADOW LN                                                                              SOUTH LYON         MI    48178‐9175
AMMAN, PAUL M            9360 THREAD RIVER DR                                                                                GOODRICH           MI    48438‐9434
AMMAN, RONALD L          14350 BISHOP RD                                                                                     CHESANING          MI    48616‐8420
AMMAN, SCOTT A           7311 DITCH RD                                                                                       CHESANING          MI    48616‐9736
AMMAN, TERRI L           11600 S HEMLOCK RD                                                                                  BRANT              MI    48614‐9702
AMMAN, WILLIAM A         508 ABINGDON ST                                                                                     CHESANING          MI    48616‐1600
AMMANDA BURDINE          1423 N MCCANN ST                                                                                    KOKOMO             IN    46901‐2676
AMMANN GLENNA            205 GARY CIR                                                                                        EL CAMPO           TX    77437‐2607
AMMANN I I I, GEORGE F   59 LEWIS DR                                                                                         MAYS LANDING       NJ    08330‐5700
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AMMANN III, GEORGE F         59 LEWIS DR                                                                                             MAYS LANDING        NJ     08330‐5700
AMMANN JR, GEORGE A          520 W JEFFERSON ST                                                                                      GRAND LEDGE         MI     48837‐1409
AMMANN, CHARLOTTE M          300 JOHNSON FERRY RD NE UNIT B812                                                                       ATLANTA             GA     30328‐4190
AMMANN, PEGGY E              220 SHADYWOOD CIRCLE                                                                                    CRANBERRY           PA     16319
AMMANN, ROBERT E             1001 STARKEY RD LOT 392                                                                                 LARGO               FL     33771‐5484
AMMANN, ROBERT EDWARD        LOT 392                             1001 STARKEY ROAD                                                   LARGO               FL     33771‐5484
AMMANN, WILLIAM A            29862 PALMYRA RD                                                                                        WARRENTON           MO     63383‐4551
AMMANN, WILLIAM E            220 SHADYWOOD CIR                                                                                       CRANBERRY           PA     16319‐3324
AMMAR ALI                    AMMAR, ALI                          24012 CALLE DE LA PLATA STE 407                                     LAGUNA HILLS        CA     92653‐7625
AMMAR ATMEH                  3480 BURBANK DR                                                                                         ANN ARBOR           MI     48105‐1594
AMMAR KAREEM                 2234 JACO DR                                                                                            MORGANTOWN          WV     26505
AMMAR, ALI                   BARNES & FARRELL                    25909 PALA STE 310                                                  MISSION VIEJO       CA     92691‐2778
AMMENHAUSER, ANN L           5917 PERSHING AVENUE                                                                                    DOWNERS GROVE        IL    60516‐1728
AMMERAAL BELTECH INC         7501 N ST LOUIS AVE BOX 369                                                                             SKOKIE               IL    60076
AMMERAAL, DAVID J            2329 SUGAR PINE CT                                                                                      JENISON             MI     49428‐8145
AMMERMAN DENNIS L (476837)   KELLEY & FERRARO LLP                1300 EAST NINTH STREET , 1901                                       CLEVELAND           OH     44114
                                                                 BOND COURT BUILDING
AMMERMAN JR, KENNETH W       3721 RED BUD LN                                                                                         KOKOMO             IN      46902‐4353
AMMERMAN RUSTY               303 KERSCHNER STREET                                                                                    CONNERSVILLE       IN      47331‐3114
AMMERMAN, CARL J             2357 FLAGSTONE DR                                                                                       FLUSHING           MI      48433
AMMERMAN, CARL L             7182 BURNING BUSH LN                                                                                    FLUSHING           MI      48433‐2292
AMMERMAN, DAVID E            2423 BROOKHAVEN DR                                                                                      BOSSIER CITY       LA      71111‐5716
AMMERMAN, DAVID ERIC         2423 BROOKHAVEN DR                                                                                      BOSSIER CITY       LA      71111‐5716
AMMERMAN, DAVID K            7909 W TIPPERARY DR                                                                                     MUNCIE             IN      47304‐9427
AMMERMAN, DENNIS L           KELLEY & FERRARO LLP                1300 EAST NINTH STREET, 1901                                        CLEVELAND          OH      44114
                                                                 BOND COURT BUILDING
AMMERMAN, DWAIN R            G 3370 HAMMERBERG RD                                                                                    FLINT              MI      48507
AMMERMAN, ELAINE N           1469 FARMINGTON AVE #3                                                                                  BRISTOL            CT      06010
AMMERMAN, GREGORY            1500 RIVER PARK DR                                                                                      ANDERSON           IN      46012‐4665
AMMERMAN, GREGORY P.         1500 RIVER PARK DR                                                                                      ANDERSON           IN      46012‐4665
AMMERMAN, JACK R             5104 WOODSTOCK DR                                                                                       SWARTZ CREEK       MI      48473‐8542
AMMERMAN, JEROME C           5135 DURWOOD DR                                                                                         SWARTZ CREEK       MI      48473‐1123
AMMERMAN, JERRY D            5135 DURWOOD DR                                                                                         SWARTZ CREEK       MI      48473‐1123
AMMERMAN, JUANITA S          4758 S 200 E                                                                                            ANDERSON           IN      46017‐9701
AMMERMAN, LARRY D            25234 CRESTVIEW DR                                                                                      PAOLA              KS      66071‐9524
AMMERMAN, LARRY DEAN         25234 CRESTVIEW DR                                                                                      PAOLA              KS      66071‐9524
AMMERMAN, NEWTON             50168 ARKONA RD                                                                                         BELLEVILLE         MI      48111‐9604
AMMERMAN, PHILLIP G          4758 S 200 E                                                                                            ANDERSON           IN      46017‐9701
AMMERMAN, PHYLLIS A          1812 BEECHWOOD DRIVE                                                                                    LAFAYETTE          IN      47905‐4159
AMMERMAN, ROBERT W           1121 ROBIN DR                                                                                           ANDERSON           IN      46013‐1335
AMMERMAN, TRACY S            175 CITY VIEW DR                                                                                        ROCHESTER          NY      14625
AMMERMAN, VERN M             3285 PEACE LN                                                                                           SUWANEE            GA      30024‐1182
AMMERMAN, VIRGINIA R         1121 ROBIN DR                                                                                           ANDERSON           IN      46013‐1335
AMMIE BROWN                  P O BOX 282                                                                                             EDWARDS            MS      39066
AMMIE PARKER                 21515 INDIAN CREEK DR                                                                                   FARMINGTON HILLS   MI      48335‐5527

AMMIE RANDLE                 6608 BARR ST                                                                                            SAINT LOUIS        MO      63121‐3223
AMMIE WILLIAMS               1630 OLD ATHENS HWY                                                                                     MONROE             GA      30656‐4874
AMMIEL D SCHWARTZ            21 SEVEN OAKS LANE                                                                                      BREWSTER           NY      10509
AMMIRATA, GENE F             19 OLDEN TER                                                                                            TRENTON            NJ      08610‐2516
AMMIRATA, WILLIAM D          1026 GOWDY AVE                                                                                          PT PLEASANT        NJ      08742‐2936
AMMIRATI, LISA M             2617 KNIGHTWOOD RD                                                                                      FUQUAY VARINA      NC      27526‐9614
AMMIRATO, SALVATORE M        5728 LAKE SIDE DR                                                                                       BOSSIER CITY       LA      71111‐5508
AMMIRIATI PURIS LINTAS       DBA LOWE LINTAS & PARTNERS          1 DAG HAMMARSKJOLD PLAZA                                            NEW YORK           NY      10017
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AMMIRIATTI PURIS LINTAS              DBA LOWE LINTAS & PARTNERS      1 DAG HAMMARSKJOLD PLAZA                                          NEW YORK         NY 10017
AMMON GEORGE F (406771)              GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                       NORFOLK          VA 23510
                                                                     STREET, SUITE 600
AMMON JAMES (ESTATE OF) (491933)     BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD , BEVAN                                     NORTHFIELD      OH   44067
                                                                     PROFESSIONAL BLDG
AMMON JR, MARTIN E                   1720 N 85TH ST                                                                                    KANSAS CITY     KS   66112‐1721
AMMON LACY I I                       11 FAIRLANE CIR                                                                                   WARRENTON       MO   63383‐4422
AMMON LEWIS                          858 W 18 MILE RD                                                                                  BITELY          MI   49309‐9663
AMMON, BOBBY L                       3012 MAPLEWOOD DR                                                                                 EXCELSIOR SPG   MO   64024‐2816
AMMON, GEORGE F                      GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                       NORFOLK         VA   23510
                                                                     STREET, SUITE 600
AMMON, RAYMOND W                     50314 STAGECOACH RD                                                                               E LIVERPOOL     OH   43920‐9579
AMMON, VOLENA                        3474 ROUNDTOP RD                                                                                  STRUNK          KY   42649‐9580
AMMON, VOLENA                        3474 ROUND TOP RD                                                                                 STRUNK          KY   42649‐9375
AMMONS JR, BENFORD                   181 MARYVIEW PKWY                                                                                 MATTESON        IL   60443‐1297
AMMONS, ARRIE                        1319 DARTMOUTH CT                                                                                 SAINT CHARLES   MO   63303‐3705
AMMONS, BOBBY R                      1793 GLASGOW RD                                                                                   BOWLING GREEN   KY   42101‐9519
AMMONS, DONAL R                      436 PRETTY VIEW LN SE                                                                             SMYRNA          GA   30082
AMMONS, DOROTHY E                    700 E COLLEGE ST #7D                                                                              FARMINGTON      MO   63640‐1358
AMMONS, ELIZABETH L                  2485 EAST 900 N                                                                                   PITTSBORO       IN   46167‐9801
AMMONS, JOHN C                       LIPMAN DAVID M                  5901 SW 74TH ST STE 304                                           MIAMI           FL   33143‐5163
AMMONS, KAREN M                      125 POLVADERA ST                                                                                  COMMERCE TWP    MI   48382‐3937
AMMONS, KIESHA D                     13110 CEDAR RD                                                                                    CLEVELAND HTS   OH   44118‐2725
AMMONS, LARRY G                      5940 LEAR NAGLE RD                                                                                N RIDGEVILLE    OH   44039‐2126
AMMONS, LARRY T                      23515 EDINBURGH ST                                                                                SOUTHFIELD      MI   48033‐4816
AMMONS, MARCIA                       2101 STEFFY RD                                                                                    MOGADORE        OH   44260‐8828
AMMONS, MARGARET A                   23515 EDINBURGH                                                                                   SOUTHFIELD      MI   48033
AMMONS, MARIO                        120 BEACH ANN DR                                                                                  TROY            MO   63379‐2906
AMMONS, MARION D                     2101 STEFFY RD                                                                                    MOGADORE        OH   44260‐8828
AMMONS, RICHARD E                    914 WOODSIDE DR                                                                                   FLINT           MI   48503‐2773
AMMONS, ROSEMARIE
AMMONS‐LEONARD, IRENE                39 CRIMSON BRAMBLE RD                                                                             ROCHESTER       NY   14623‐4225
AMN NEWS CORPORATION
AMNESTY INTERNATIONAL USA            5 PENN PLAZA                                                                                      NEW YORK        NY   10001
AMO RECOVERIES                       545 INMAN ST W                                                                                    CLEVELAND       TN   37311‐1768
AMOCO OIL CO                         ACCT OF CHARLES STEPHANS
AMOCO OIL COMPANY                    BP PRODUCTS NORTH AMERICA INC   28100 TORCH PKWY 410F                                             WARRENVILLE     IL   60555
AMOD GADRE                           PO BOX 9022                     C/O: PUNE INDIA                                                   WARREN          MI   48090‐9022
AMODEI BROKERAGE CO                  4102 CHURCH RD                                                                                    MOUNT LAUREL    NJ   08054
AMODEI, MARIO                        31310 PINTO DR                                                                                    WARREN          MI   48093‐1707
AMODEO, JANICE A                     713 N WILSHIRE DR                                                                                 MT PROSPECT     IL   60056‐2145
AMODIO ENRICO (ESTATE OF) (452209)   WEITZ & LUXENBERG P.C.          180 MAIDEN LANE                                                   NEW YORK        NY   10038
AMODIO JR, ANDREW R                  430 CENTER ST E                                                                                   WARREN          OH   44481‐9312
AMODIO, ENRICO                       WEITZ & LUXENBERG P.C.          180 MAIDEN LANE                                                   NEW YORK        NY   10038
AMODIO, NICHOLAS                     1747 LUCRETIA DR                                                                                  GIRARD          OH   44420‐1252
AMODIO, PETER                        15580 MOCK RD                                                                                     BERLIN CENTER   OH   44401‐9744
AMOES AARON                          12649 TIERRA CLARA RD                                                                             EL PASO         TX   79938‐4828
AMOGIA CHIAMIS                       7500 FIRST CIRCLE DR                                                                              BROOKSVILLE     FL   34613‐7317
AMOIA, ANTHONY F                     311 WELLINGTON AVE                                                                                BUFFALO         NY   14223‐2517
AMOIA, ANTHONY J                     249 W MAPLEMERE RD                                                                                WILLIAMSVILLE   NY   14221‐3155
AMOIA, ANTHONY JOSEPH                249 W MAPLEMERE RD                                                                                WILLIAMSVILLE   NY   14221‐3155
AMOL DAMLE                           2787 CHARTER DR APT 212                                                                           TROY            MI   48083‐1326
AMOL PHYSICIANS OF C                 PO BOX 5368                                                                                       HIGH POINT      NC   27262‐5368
AMOLINE, FRANKLIN J                  5541 PIERCE RD NW                                                                                 WARREN          OH   44481‐9307
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Name                                Address1                       Address2                  Address3      Address4                 City            State   Zip
AMOLINE, FRANKLIN J                 5541 PIERCE RD. N.W.                                                                            WARREN           OH     44481‐9307
AMOLSCH, RICK A                     2755 SHADDOCK DR                                                                                CLEARWATER       FL     33759‐2326
AMOLSCH, WILLIAM                    28128 ELMIRA ST                                                                                 LIVONIA          MI     48150‐3288
AMON BUNCH                          104 WILLOW LN                                                                                   ANDERSON         IN     46012‐1026
AMON SIZEMORE                       4056 CROSLEY AVE                                                                                NORWOOD          OH     45212‐2808
AMON SWEET                          1800 PRINCETON RD                                                                               HAMILTON         OH     45011‐4742
AMON, AKHENATEN I                   18293 HIGHWAY 431                                                                               WEDOWEE          AL     36278‐4501
AMON, ALBERTO                       PO BOX 348                                                                                      BASEHOR          KS     66007‐0348
AMON, BETTY S                       5154 COVENTY DR.                                                                                RIE              PA     16506‐6506
AMON, BETTY S                       5154 COVENTRY DR                                                                                ERIE             PA     16506‐6106
AMON, BEVERLY P                     204 PINEWOOD CIR                                                                                LIMA             OH     45804‐3671
AMON, CLAUDIA L                     1033 PATRICIA DRIVE                                                                             GIRARD           OH     44420‐2117
AMON, DACIE P                       2300 PLAZA AVE NE APT 723                                                                       WARREN           OH     44483‐3552
AMON, JOHN J                        12188 N LINDEN RD                                                                               CLIO             MI     48420‐8205
AMON, JOHN JOSEPH                   12188 N LINDEN RD                                                                               CLIO             MI     48420‐8205
AMON, JOSEPH J                      1800 BOWERS RD                                                                                  LAPEER           MI     48446‐3302
AMON, MARK R                        3602 N NORFOLK ST                                                                               INDIANAPOLIS     IN     46224‐1433
AMOND, JEANNE L                     PO BOX 373                                                                                      EDMORE           MI     48829‐0373
AMONE, SANTO                        DEARIE & ASSOCS JOHN C         3265 JOHNSON AVE                                                 RIVERDALE        NY     10463
AMONETT, BETTY LOU                  1925 S FAIRVIEW CT                                                                              YORKTOWN         IN     47396‐1080
AMONETT, BOBBY E                    6753 E 17TH ST                                                                                  INDIANAPOLIS     IN     46219‐2600
AMONETT, JOSEPH S                   110 PENDERGRASS DR                                                                              BYRDSTOWN        TN     38549‐2304
AMONETT, RICHARD D                  5938 W 30TH ST                                                                                  INDIANAPOLIS     IN     46224‐3020
AMONETT, STEVE L                    1376 N 800 E                                                                                    GREENTOWN        IN     46936‐8819
AMONS, JUMAKA R                     PO BOX 21536                                                                                    DETROIT          MI     48221‐0536
AMONS, MACK L                       2078 SANDTOWN RD SW                                                                             MARIETTA         GA     30060
AMOR MUHAXHIRI                      1111 N JOHNSON ST                                                                               BAY CITY         MI     48708‐6253
AMOR, ARTHUR M                      11662 SARA ANN DR                                                                               DEWITT           MI     48820‐7795
AMOR, KESHWAN D                     1776 STONEY CHASE DR                                                                            LAWRENCEVILLE    GA     30044
AMOR, KESHWAN D                     2931 ADDISON LN                                                                                 ALPHARETTA       GA     30005‐5052
AMORATI SANDRO ‐ AMORATI MARIA      VIA LOUIS BRAILLE 3                                                    CASALORANDE (RE) ITALY
                                                                                                           42013
AMORE DAWN                          3723 14TH ST NE                                                                                 WASHINGTON      DC      20017‐3004
AMORE, CHARLES P                    14917 MEYER AVE                                                                                 ALLEN PARK      MI      48101‐2648
AMORE, DARYL G                      2292 N VASSAR RD                                                                                DAVISON         MI      48423‐9552
AMORE, DOROTHY                      48 CALHOUN AVENUE                                                                               ROCHESTER       NY      14606‐3710
AMORE, DOROTHY                      48 CALHOUN AVE                                                                                  ROCHESTER       NY      14606‐3710
AMORE, ETHEL                        110 W LEXINGTON ST APT 25      COLLINGWOOD VILLAGE APT                                          DAVISON         MI      48423‐1558
AMORE, ETHEL                        COLLINGWOOD VILLAGE APT        110 W LEXINGTON APT 25                                           DAVISON         MI      48423
AMORE, JENEVA C                     28411 LOCUST GROVE RD                                                                           MC ARTHUR       OH      45651‐8744
AMORE, JOSEPH P                     25164 WISEMAN ST                                                                                ROSEVILLE       MI      48066‐3630
AMORE, LARRY B                      3807 BARNES RD                                                                                  NORTH BRANCH    MI      48461‐9358
AMORE, LEO I                        28411 LOCUST GROVE RD                                                                           MC ARTHUR       OH      45651‐8744
AMORE, LEONARD M                    8191 PORTSMOUTH LN                                                                              GRAND BLANC     MI      48439‐9540
AMORE, PATRICK J                    9927 ESTEP DR                                                                                   INDIANAPOLIS    IN      46280‐1587
AMORE, SHIRLEY N                    3473 S 92ND ST                                                                                  MILWAUKEE       WI      53227‐4417
AMORELLA, JAMES J                   924 GOODWIN DR                                                                                  PARK RIDGE      IL      60068‐2120
AMORESE FRANKLYN                    39 PECK RD                                                                                      HILTON          NY      14468‐9322
AMORGANOS, NICHOLAS                 841 FAIRMOUNT AVE NE                                                                            WARREN          OH      44483‐5248
AMORGIANOS, LONA A                  5774 HIGH ROCK DR                                                                               WETERVILLE      OH      43081‐7097
AMORIM INDUSTRIAL SOLUTIONS         GARY FELL X 8214               PO BOX 25                                                        GAYLORD         MI      49734‐0025
AMORIM‐INVESTIMENTOS E PARTICIPACOE GARY FELL X 8214               PO BOX 25                                                        GAYLORD         MI      49734‐0025
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AMORIM‐INVESTIMENTOS E PARTICIPACOE RUE DE MELADAS 380 MOZELOS                                              VILA DA FEIRA MOZELOS 4539
                                                                                                            PORTUGAL
AMORIN, AMANDA                     1803 WHITTER ST.                                                                                    RAHWAY             NJ   07065
AMORIN, AMANDA                     1803 WHITTIER ST                                                                                    RAHWAY             NJ   07065‐4239
AMORMINO, ANN M                    49127 CONWAY CT                                                                                     SHELBY TWP         MI   48315‐3916
AMORMINO, ANTONIO                  15537 DASHER AVE                                                                                    ALLEN PARK         MI   48101‐2731
AMORMINO, JOHN D                   27907 MANHATTAN ST                                                                                  ST CLAIR SHRS      MI   48081‐3516
AMORMINO, JOSEPH                   49127 CONWAY CT                                                                                     SHELBY TOWNSHIP    MI   48315‐3916
AMORNRAT ISARAPHANICH              1067 1ST AVE APT 4A                                                                                 NEW YORK           NY   10022‐2277
AMOROSE, CATHERINE A               32 LIBERTY SQ                                                                                       DAVISON            MI   48423‐2650
AMOROSE, JAY L                     9348 PARKVIEW CIR                                                                                   GRAND BLANC        MI   48439‐8058
AMOROSO, FRANK I                   1240 NORTHWAY DR                                                                                    DEWITT             MI   48820‐7919
AMOROSO, GUY                       146 BELL HOLLOW RD                                                                                  PUTNAM VALLEY      NY   10579‐1400
AMOROSO, JEAN C                    58 MELWEX ST                                                                                        BELLEVILLE         NJ   07109‐1838
AMOROSO, MARC                      38838 LAKESHORE DR                                                                                  HARRISON           MI   48045‐2873
                                                                                                                                       TOWNSHIP
AMOROSO, MICHAEL J                 39339 LAKESHORE DR                                                                                  HARRISON TWP      MI    48045‐1861
AMOROSO, MICHAEL JOHN              39339 LAKESHORE DR                                                                                  HARRISON TWP      MI    48045‐1861
AMOROSO, NATHAN G                  1904 EDGEWOOD DR                                                                                    DEFIANCE          OH    43512‐3627
AMOROSO, PASQUALE L                1501 WOODBOURNE RD APT B7                                                                           LEVITTOWN         PA    19057‐1514
AMOROSO, STEVE                     3941 RIVER COURT DR                                                                                 LEWISBURG         TN    37091‐5621
AMOROSO, THOMAS J                  28874 SUGARBERRY DR              BLDG 36 UNIT 10                                                    CHESTERFIELD      MI    48051‐2740
AMORSKI, MARGARET H                200 FOREST ST APT 108G                                                                              LONG BRANCH       NJ    07764‐2003
AMORTEGUY FERNANDO                 813 CANYON COURT                                                                                    TAFT              CA    93268‐3847
AMORY III, REGINALD B              19 MORRISON AVE                                                                                     ROCHESTER         NY    14623‐2046
AMORY STEPHENSON                   545 A C SMITH RD                                                                                    COMMERCE          GA    30530‐5761
AMORY, SHAMOUR                     16207 PROVIDENCE CIR                                                                                LITHONIA          GA    30038‐7125
AMOS ADAMS                         2704 79TH AVE                                                                                       BATON ROUGE       LA    70807‐5628
AMOS ADAMS                         4401 E RILEY RD                                                                                     OWOSSO            MI    48867‐9094
AMOS ALLEN                         4007 N COUNTY ROAD 900 W                                                                            GREENCASTLE       IN    46135‐7728
AMOS ALLINGER
AMOS AVERY                         580 KOWEETA TRL                                                                                    COLLEGE PARK       GA    30349‐1629
AMOS BALDWIN                       33 WAVERLY AVE                                                                                     DAYTON             OH    45405‐2228
AMOS BATTLES                       8 KEETON CT                                                                                        HAMPTON            VA    23666‐2271
AMOS BEARD                         226 W NORTHRUP ST                                                                                  LANSING            MI    48911‐3703
AMOS BOWERSOCK                     49 5TH ST SE                     P.O. BOX 36                                                       LINTON             IN    47441‐1912
AMOS BOYD                          5641 BRANTHURST DR                                                                                 CHARLOTTE          NC    28269‐5130
AMOS BRADSHER                      14350 N HOLLY RD                                                                                   HOLLY              MI    48442‐9404
AMOS BRIDGEWATER                   4255 GUNBARREL DR                                                                                  COLORADO SPRINGS   CO    80925‐1000

AMOS BRIDGEWATERS                  2208 LYNNWOOD AVE                                                                                  SAGINAW            MI    48601‐3665
AMOS BROADDUS                      5700 PENNYWELL DR                                                                                  DAYTON             OH    45424‐5432
AMOS BROADDUS                      5700 PENNYWELL DR.                                                                                 DAYTON             OH    45424‐5432
AMOS BROWN                         15990 PINE GROVE ROAD EXT WEST                                                                     BAY MINETTE        AL    36507‐8618
AMOS BROWN I I I                   13804 LUMPKIN ST                                                                                   DETROIT            MI    48212‐2116
AMOS BYRD                          2480 N MONROE ST                                                                                   MONROE             MI    48162
AMOS CALDWELL                      451 CALDWELL RD                                                                                    NEW MILLPORT       PA    16861‐9230
AMOS CALDWELL JR.                  208 HENNEPIN RD                                                                                    GRAND ISLAND       NY    14072‐2325
AMOS CAUSEY                        7528 BRIARCLIFF PKWY                                                                               MIDDLEBURG         OH    44130‐6433
                                                                                                                                      HEIGHTS
AMOS CHAUSSE                       6229 CORWIN STA                                                                                    NEWFANE            NY    14108‐9745
AMOS CLODFELTER                    5025 SANDALWOOD DR                                                                                 GRAND BLANC        MI    48439‐4261
AMOS COOTS                         BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                        BOSTON HTS.        OH    44236
AMOS CRANMORE                      2257 BRADFORD DR                                                                                   FLINT              MI    48507‐4401
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Name                 Address1                        Address2                      Address3                   Address4               City            State   Zip
AMOS CROSS           413 S OAK ST                                                                                                    PARADISE         TX     76073‐2721
AMOS DAVIDSON        1961 MEADES BRANCH RD                                                                                           LOUISA           KY     41230‐6875
AMOS DAVIDSON        1961 MEADSBRANCH RD.                                                                                            LOUISA           KY     41230‐6875
AMOS DAVIS JR        609 N SOMERSET TER                                                                                              OLATHE           KS     66062‐1265
AMOS DAY JR          843 EDSEL ST SE                                                                                                 KENTWOOD         MI     49508‐7518
AMOS DEATON          3789 MARTIN FARM RD                                                                                             SUWANEE          GA     30024‐2274
AMOS DRUMMOND        5790 DENLINGER RD               APT 362                                                                         DAYTON           OH     45426
AMOS DRUMMOND        5790 DENLINGER RD                                                                                               DAYTON           OH     45426‐1838
AMOS EASH            7802 TREE SWALLOW DR SE                                                                                         GRAND RAPIDS     MI     49508‐7228
AMOS ENTREKIN JR     8025 HUEY RD                                                                                                    DOUGLASVILLE     GA     30134‐3848
AMOS F TAYLOR        PO BOX 37351                                                                                                    SHREVEPORT       LA     71133‐7351
AMOS FAIN            2487 OLD PEACHTREE RD                                                                                           DULUTH           GA     30097‐3433
AMOS FIELDS          1156 TROTWOOD LN                                                                                                FLINT            MI     48507‐3711
AMOS FORD            26271 WESTHILL                                                                                                  INKSTER          MI     48141
AMOS FOSTER          57 SW 910TH RD                                                                                                  LEETON           MO     64761‐9197
AMOS G THOMAS        16434 SPRENGER AVE                                                                                              EASTPOINTE       MI     48021‐3046
AMOS GARCHOW         14148 BELSAY RD                                                                                                 MILLINGTON       MI     48746‐9217
AMOS GOODMAN         5070 W CARPENTER RD                                                                                             FLINT            MI     48504‐1054
AMOS H. MC VEIGH
AMOS HALL            12050 HILL RD                                                                                                   SWARTZ CREEK    MI      48473‐8580
AMOS HARDY           3600 WILSON AVE                                                                                                 CINCINNATI      OH      45229‐2416
AMOS HATFIELD        26887 SUMPTER RD                                                                                                BELLEVILLE      MI      48111‐8805
AMOS HEATH           12 HILLPOINT ST                                                                                                 TROTWOOD        OH      45426‐3606
AMOS HICKS           34202 CHANNING CT                                                                                               WESTLAND        MI      48186‐5414
AMOS HORNSBY         2522 BEGOLE ST                                                                                                  FLINT           MI      48504‐7360
AMOS HOSEY           16176 HARTWELL ST                                                                                               DETROIT         MI      48235‐4236
AMOS ISON            BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                                      BOSTON HTS.     OH      44236
AMOS J MONEY II      224 MORROW RD                                                                                                   SOUTH LEBANON   OH      45065‐‐ 13
AMOS JACKSON         15797 BIRWOOD ST                                                                                                DETROIT         MI      48238‐1028
AMOS JAMES           1805 ALPINE DR STE B                                                                                            CLARKSVILLE     TN      37040‐6146
AMOS JEFFERSON JR    20173 SORRENTO ST                                                                                               DETROIT         MI      48235‐1130
AMOS JOHNSON         2440 BATON ROUGE AVE            C/O BATON ROUGE MEDICAL AND                                                     LIMA            OH      45805
                                                     REHA
AMOS JONES           PO BOX 421                                                                                                      MADISON         GA      30650‐0421
AMOS JONES           6939 N POST RD                                                                                                  SPENCER         OK      73084‐4019
AMOS JR, JAMES H     228 CAMBRIDGE PL                                                                                                FRANKLIN        TN      37067‐4412
AMOS JR, JIM L       3431 W 135TH ST                                                                                                 CLEVELAND       OH      44111‐2405
AMOS JR, RICHARD     16243 CARLISLE ST                                                                                               DETROIT         MI      48205‐1409
AMOS JR, ROBERT J    6408 SLOAN AVE                                                                                                  KANSAS CITY     KS      66104‐1359
AMOS JR, SAMUEL      2697 BEAL ST NW                                                                                                 WARREN          OH      44485‐1205
AMOS JR, WILLIE J    22590 ROUGEMONT DR                                                                                              SOUTHFIELD      MI      48033‐5962
AMOS KANTORIK        15441 AGNES BLVD                                                                                                BROOKPARK       OH      44142‐3302
AMOS KINNEY          19 ENSLEY ST                                                                                                    OXFORD          MI      48371‐4949
AMOS L BRADY         GLASSER AND GLASSER             CROWN CENTER                  580 EAST MAIN ST STE 600                          NORFOLK         VA      23510
AMOS L SIMS          UNIT 23125 BOX 3159                                                                                             APO             AE      09227
AMOS LEE             PO BOX 60705                                                                                                    DAYTON          OH      45406
AMOS LEE JR          2717 PALMETTO DR                                                                                                WICHITA FALLS   TX      76306‐5028
AMOS LILLY           1011 ELLSMERE ST NE                                                                                             GRAND RAPIDS    MI      49505‐3738
AMOS MCPHERSON       14600 WOODS TRL                                                                                                 THOMPSONVILLE   MI      49683‐9224
AMOS MORTZFELDT JR   315 JULIE LN                                                                                                    STONEWALL       LA      71078‐9607
AMOS MUNSTERMAN      APT 6                           918 EAST URBANDALE DRIVE                                                        MOBERLY         MO      65270‐1995
AMOS NELSON          580 GRANADA DR                                                                                                  PONTIAC         MI      48342‐1729
AMOS PARKER          270 PACE DR                                                                                                     WOODVILLE       AL      35776‐6992
AMOS R MCDANIEL      3423 HOOVER AVE                                                                                                 DAYTON          OH      45407
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AMOS RINKS JR            12235 GALE RD                                                                                    OTISVILLE        MI     48463‐9432
AMOS SANDERS JR          19194 BIRWOOD ST                                                                                 DETROIT          MI     48221‐3208
AMOS SANFORD             343 HAMPSHIRE DR                                                                                 CLARKSVILLE      TN     37043‐4684
AMOS SCRIVENER           7500 HAVILAND DR                                                                                 LINDEN           MI     48451
AMOS SHANNON             811 GLENWOOD RD APT 4                                                                            OLD FORGE        PA     18518‐2231
AMOS SHEPARD             14325 CLAYBON TER                                                                                CHESTER          VA     23831‐6585
AMOS SMITH               2757 MCCOY AVE                                                                                   EAST POINT       GA     30344‐7303
AMOS SROONIAN            7076 LOU MAC DR                                                                                  SWARTZ CREEK     MI     48473‐9718
AMOS TAYLOR              PO BOX 37351                                                                                     SHREVEPORT       LA     71133‐7351
AMOS TAYLOR JR           6129 HILTON LN                                                                                   MOUNT MORRIS     MI     48458‐2631
AMOS TERRELL             263 NAVAJO AVE                                                                                   PONTIAC          MI     48341‐2032
AMOS THOMAS              16434 SPRENGER AVE                                                                               EASTPOINTE       MI     48021‐3046
AMOS THOMAS              140 KEAN DR                                                                                      CORTLAND         OH     44410‐1222
AMOS TINA                406 CANAL ROAD                                                                                   TWIN BRIDGES     MT     59754‐9776
AMOS URQUIDI             1633 CARSWELL TER                                                                                ARLINGTON        TX     76010‐4512
AMOS VANN                2447 LAFLIN ST                                                                                   SAINT LOUIS      MO     63106‐1104
AMOS W CLARY             7101 COACHMAN LANE               APT 201                                                         RICHMOND         VA     23228‐4054
AMOS WALLACE             THE MADEKSHO LAW FIRM            8866 GULF FREEWAY SUITE 440                                     HOUSTON          TX     77017
AMOS WEBSTER             912 EDDY RD                                                                                      CLEVELAND        OH     44108‐2362
AMOS WELLS               9125 PANAMA AVE                                                                                  YPSILANTI        MI     48198‐3235
AMOS WELLS               2797 2 MILE RD                                                                                   BAY CITY         MI     48706‐1247
AMOS WESTFALL            39102 CHESTNUT RIDGE RD                                                                          ELYRIA           OH     44035‐8240
AMOS WILDMAN             625 E WATER ST APT 2                                                                             PENDLETON        IN     46064‐9378
AMOS WILSON P (493645)   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                     NORFOLK          VA     23510
                                                          STREET, SUITE 600
AMOS ZAIN                376 PARK COURT NORTH                                                                             LA VERGNE       TN      37086‐2644
AMOS, ALAN W             805 W DRYDEN ST                                                                                  ODESSA          MO      64076‐1315
AMOS, ALBERT C           501 THOREAU LN                                                                                   JONESBORO       GA      30236‐5581
AMOS, ANNIE R            5708 7 GABLES AVE                                                                                TROTWOOD        OH      45426‐2114
AMOS, BEN                805 26TH ST                                                                                      MERIDIAN        MS      39305‐4860
AMOS, BERNARD W          1066 GWINN ST                                                                                    MEDINA          NY      14103‐1839
AMOS, BERNICE M          1610 DETZEN AVE.                                                                                 DAYTON          OH      45408‐2637
AMOS, BERNICE M          1610 DIETZEN AVE                                                                                 DAYTON          OH      45408‐2637
AMOS, BETTY JO           8133 TROUP AVE APT 102                                                                           KANSAS CITY     KS      66112‐2088
AMOS, BRENDA J           1200 CAMELLIA DR                                                                                 MOUNT MORRIS    MI      48458‐2800
AMOS, CECIL B            34 HAMPI CT                                                                                      SWARTZ CREEK    MI      48473‐1613
AMOS, CHARLES E          1462 SE 16TH TER                                                                                 CAPE CORAL      FL      33990‐6724
AMOS, CHARLES R          1208 GILBERT AVE                                                                                 WILMINGTON      DE      19808‐5718
AMOS, CHARLES T          13800 ELWELL RD                                                                                  BELLEVILLE      MI      48111‐2549
AMOS, CHARLES THOMAS     13800 ELWELL RD                                                                                  BELLEVILLE      MI      48111‐2549
AMOS, CLAIR M            2879 JANET ST                                                                                    MATLACHA        FL      33993‐9749
AMOS, DELBERTA K         2138 S 450 E                                                                                     ANDERSON        IN      46017‐9359
AMOS, DOROTHY L          34 HAMPI CT                                                                                      SWARTZ CREEK    MI      48473‐1613
AMOS, DUANE G            109 S KERBY RD                                                                                   CORUNNA         MI      48817‐9767
AMOS, ELLEN E            PO BOX 297966                                                                                    COLUMBUS        OH      43229‐7966
AMOS, FRANK A            22904 N PUMA CT                                                                                  SUN CITY WEST   AZ      85375‐2281
AMOS, GAYLE D            7160 OAK HILL DR                                                                                 SYLVANIA        OH      43560‐1305
AMOS, GEORGE A           5943 MULBERRY RD SE                                                                              HEATH           OH      43056
AMOS, GERALD W           150 BRODY LN                                                                                     POLK            PA      16342‐3502
AMOS, GLORIA L           4222 CADILLAC BLVD                                                                               DETROIT         MI      48214‐1477
AMOS, HERBERT T          4701 INDEPENDENCE DR                                                                             CLARKSTON       MI      48346‐3733
AMOS, HOMER F            79 CRYSTAL LANE RT 1                                                                             BISMARCK        IL      61814
AMOS, INA R              123 LAUREL LEAH                                                                                  FENTON          MI      48430‐8784
AMOS, JAMES E            727 BELL RD APT 1223                                                                             ANTIOCH         TN      37013‐8024
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AMOS, JAMES H        3620 SIMKEN DR APT 2                                                                           LANSING             MI     48910‐4391
AMOS, JANICE R       7450 PINE VISTA DR                                                                             BRIGHTON            MI     48116‐4723
AMOS, JENNIE R       13932 MONTE VISTA ST                                                                           DETROIT             MI     48238‐2230
AMOS, JERRY L        2959 ELBIB DR                                                                                  SAINT CLOUD         FL     34772‐8527
AMOS, JESSE R        PO BOX 4185                                                                                    SAGINAW             MI     48606‐4185
AMOS, JOHN M         7160 OAK HILL DR                                                                               SYLVANIA            OH     43560‐1305
AMOS, JOHNNIE M      PO BOX 611                                                                                     SAGINAW             MI     48606‐0611
AMOS, KAREN E        6057 W 350 S                                                                                   TIPTON              IN     46072‐9155
AMOS, KARIE J        419 ROCK MEADOW TRL                                                                            MANSFIELD           TX     76063‐7542
AMOS, KENNETH L      707 VALLEYDALE RD                                                                              MOSHEIM             TN     37818‐4516
AMOS, L E            1549 MARSHALL ST                                                                               ORANGEBURG          SC     29118‐2416
AMOS, LARRY E        1208 NE 43RD ST                                                                                KANSAS CITY         MO     64116‐2233
AMOS, LARRY I        13932 MONTE VISTA ST                                                                           DETROIT             MI     48238‐2230
AMOS, LEO A          2879 JANET ST                                                                                  MATLACHA            FL     33993‐9749
AMOS, LUCILLE        12485 OUTER RD                                                                                 ODESSA              MO     64076‐5208
AMOS, LUTHER JAMAR   3215 LARKWOOD LN                                                                               FORT WAYNE          IN     46806‐3529
AMOS, MARY ANN       NORTH PARK RETIREMENT CENTER   14801 HOLLAND ROAD            APT 10AA                          BROOK PARK          OH     44142
AMOS, MAX L          2138 S 450 E                                                                                   ANDERSON            IN     46017‐9359
AMOS, MICHELE L      33212 VOTAW BLVD                                                                               LISBON              OH     44432‐8404
AMOS, MICHELL D      13800 ELWELL RD                                                                                BELLEVILLE          MI     48111‐2549
AMOS, MICHELLE D     13800 ELWELL RD                                                                                BELLEVILLE          MI     48111‐2549
AMOS, NOVELLA        5575 HORTON HWY                                                                                GREENEVILLE         TN     37745‐7816
AMOS, OTIS D         2337 DISCOVERY DR                                                                              ANDERSON            IN     46017‐9527
AMOS, OVID A         2221 CAREFUL AVE                                                                               AGOURA HILLS        CA     91301‐3001
AMOS, PARKER E       PO BOX 645                                                                                     PLATTE CITY         MO     64079
AMOS, RALPH E        5708 7 GABLES AVE                                                                              TROTWOOD            OH     45426‐2114
AMOS, ROBERT         4973 ARDSLEY DR                                                                                LITHONIA            GA     30038
AMOS, ROBERT E       8120 PREBLE COUNTY LINE RD                                                                     BROOKVILLE          OH     45309‐9742
AMOS, ROBERT E       11302 CLAYSHIRE RD                                                                             BROOKVILLE          OH     45309‐5309
AMOS, ROGER L        1168 LUCAS RD                                                                                  MANSFIELD           OH     44905‐3017
AMOS, ROGER M        3289 BIRCHVIEW DR                                                                              RAVENNA             OH     44266‐8952
AMOS, ROSALIND       739 MOUNT CLAIR AVE                                                                            DAYTON              OH     45408‐1535
AMOS, ROSEMARY       20 SOUTHDOWNS DR                                                                               KOKOMO              IN     46902‐5115
AMOS, SARAH M        1440 MAIN ST EAST                                                                              WHITE PLAINS        GA     30678‐1908
AMOS, SARAH M        1440 MAIN ST E                                                                                 WHITE PLAINS        GA     30678‐1908
AMOS, SHERI A        8120 PREBLE COUNTY LINE RD                                                                     BROOKVILLE          OH     45309‐9742
AMOS, SUSAN M        4104 N KANSAS AVE                                                                              KANSAS CITY         MO     64117‐1641
AMOS, TERRY L        2437 S BUSINESS 31                                                                             PERU                IN     46970‐7990
AMOS, TESSIE         1508 8TH ST NW                                                                                 BIRMINGHAM          AL     35215‐5958
AMOS, TIMOTHY J      1405 GUNSTON RD                                                                                BEL AIR             MD     21015‐1309
AMOS, TONY           9 CHERRY CT                                                                                    PALM COAST          FL     32137‐8357
AMOS, TYLOR A        824 16TH AVE                                                                                   MIDDLETOWN          OH     45044‐5629
AMOS, VEDA A         6353 E 266TH ST                                                                                ARCADIA             IN     46030‐9654
AMOS, VERNARD B      34265 STELLWAGEN ST                                                                            WAYNE               MI     48184‐2450
AMOS, VERNARD B.     34265 STELLWAGEN ST                                                                            WAYNE               MI     48184‐2450
AMOS, VIOLA          4708 HATZ ST                                                                                   SAINT LOUIS         MO     63121‐3021
AMOS, VIRGIE P       1100 NOBLE STREET SE                                                                           GRAND RAPIDS        MI     49507‐1930
AMOS, VIRGIE P       1100 NOBLE ST SE                                                                               GRAND RAPIDS        MI     49507‐1930
AMOS, W. JOYCE       22360 RIVER RIDGE TRL                                                                          FARMINGTON HILLS    MI     48335‐4694

AMOS, WILLIAM E      5766 LONG POINTE DR                                                                            HOWELL              MI     48843‐9143
AMOS, WILLIAM H      536 FLORENCE AVENUE                                                                            SELMER              TN     38375‐1314
AMOS, WILSON P       GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                     NORFOLK             VA     23510
                                                    STREET, SUITE 600
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Name                           Address1                             Address2                       Address3                 Address4                 City               State   Zip
AMOSS, CARL E                  5377 LIN HILL DR                                                                                                      SWARTZ CREEK        MI     48473‐8868
AMOSS, EVELYN B                5377 LIN HILL DR                                                                                                      SWARTZ CREEK        MI     48473‐8868
AMOSS, GEORGE E                830 COLD SPRING RD                                                                                                    BALTIMORE           MD     21220‐4330
AMOSS, LAURA V                 3758 E 140TH ST                                                                                                       CLEVELAND           OH     44128‐1002
AMOSS, RONALD E                2093 CASHIN ST                                                                                                        BURTON              MI     48509
AMOSS‐SMITH, KARLA R           5121 LIN HILL DR                                                                                                      SWARTZ CREEK        MI     48473‐8837
AMOTEX PLAS/NSHVILLE           434 HOUSTON ST                                                                                                        NASHVILLE           TN     37203‐4825
AMOUS GREEN                    626 W HOLBROOK AVE                                                                                                    FLINT               MI     48505‐2058
AMP ELECTRIC INC               1390 GATEWAY BLVD                                                                                                     BELOIT              WI     53511‐9799
AMP ELECTRIC INC               1000 GENERAL MOTORS DR                                                                                                JANESVILLE          WI     53546‐2531
AMP HOLDING                    4104 N REDDING RD                                                                                                     MUNCIE              IN     47304‐1337
AMP INC                        ATTN DOUGLAS F BRENNAN               PO BOX 3608 (M/S B1‐01)                                                          HARRISBURG          PA     17105
AMP INDUSTRIES                 FRANK LUCIDO JR X125                 42050 EXECUTIVE DRIVE                                                            MONROE CITY         MO
AMP INDUSTRIES                 ATTN: CORPORATE OFFICER/AUTHORIZED   PO BOX 673185                                                                    DETROIT             MI     48267‐0001
                               AGENT
AMP RESEARCH                   2552 MCGAW AVE                                                                                                        IRVINE             CA      92614‐5842
AMP RESEARCH                   JAY SMITH                            89908 INC.                     2552 MCGAW AVENUE                                 GAINESVILLE        GA      30504
AMPAC JV GROUP INC             SILVERMAN ROBERT M                   1999 AVENUE OF THE STARS STE                                                     LOS ANGELES        CA      90067
AMPACE FREIGHTLINES INC        201 PERIMETER PARK RD STE A                                                                                           KNOXVILLE          TN      37922‐2233
AMPARO CRUZ                    5514 CHRISTINA PATH                                                                                                   SAN ANTONIO        TX      78247‐6611
AMPARO GARCIA                  550 SPRING ST                                                                                                         ELIZABETH          NJ      07201‐2063
AMPARO GONZALEZ                PO BOX 920335                                                                                                         SYLMAR             CA      91392‐0335
AMPARO GUERRERO                4013 WINTER PARK RD                                                                                                   ADDISON            TX      75001‐4904
AMPARO LOPEZ                   600 S GREEN ST                                                                                                        DETROIT            MI      48209‐2866
AMPARO M VALONE                97 MAPLE CENTER ROAD                                                                                                  HILTON             NY      14468
AMPARO MORENO                  824 LEWIS ST                                                                                                          POMONA             CA      91768‐2911
AMPARO RAMOS                   5720 LANCE DR                                                                                                         KOKOMO             IN      46902‐5437
AMPARO VALONE                  97 MAPLE CENTER RD                                                                                                    HILTON             NY      14468‐9013
AMPELIO ESPARZA                2742 S HAMLIN AVE                                                                                                     CHICAGO            IL      60623‐4515
AMPEX METAL PRODUCTS           PO BOX 42157                                                                                                          BROOK PARK         OH      44142‐0157
AMPEX METAL PRODUCTS           STACY KOSTENKO                       5300 SMITH ROAD                                                                  STERLING HTS       MI      48312
AMPEX METAL PRODUCTS CO        PO BOX 42157                                                                                                          BROOK PARK         OH      44142‐0157
AMPEX METAL PRODUCTS CO        5581 W 164TH ST                                                                                                       BROOK PARK         OH      44142‐1513
AMPEX METAL PRODUCTS CO        STACY KOSTENKO                       5300 SMITH ROAD                                                                  STERLING HTS       MI      48312
AMPEX METAL/CLEVELAN           PO BOX 42157                                                                                                          CLEVELAND          OH      44142‐0157
AMPEY, GARY K                  1681 PARK NORTH WAY                                                                                                   INDIANAPOLIS       IN      46260‐5263
AMPEY, RONALD C                1728 STONEBRIDGE DR S                                                                                                 ANN ARBOR          MI      48108‐8512
AMPFER, DAVID J                600 W MILLER RD                                                                                                       ALEXANDRIA         KY      41001‐7887
AMPHENOL CABLES ON DEMAND      20 VALLEY ST                                                                                                          ENDICOTT           NY      13760‐3600
AMPHENOL CORP                  6900 N HAGGERTY RD STE 200                                                                                            CANTON             MI      48187‐2698
AMPHENOL CORP
AMPHENOL CORP                  PO BOX 2336                          25371 HENRY B JOY BLVD                                                           MOUNT CLEMENS       MI     48046‐2336
AMPHENOL CORP                  GARY MCCLINTOCK                      AMPHENOL                       AUGUST‐HAEUSSER STR 10   OGAKI‐SHI JAPAN
AMPHENOL CORP                  358 HALL AVE                                                                                                          WALLINGFORD         CT     06492‐3574
AMPHENOL CORPORATION           SAM WALDO                            358 HALL AVE                                                                     WALLINGFORD         CT     06492‐3574
AMPHENOL PRECISION CABLE MFG   PO BOX 1448                                                                                                           ROCKWALL            TX     75087‐1448
AMPHENOL‐TUCHEL ELECTRONICS    6900 N HAGGERTY RD STE 200                                                                                            CANTON              MI     48187‐2698
AMPHENOL‐TUCHEL ELECTRONICS    GARY MCCLINTOCK                      AMPHENOL                       AUGUST‐HAEUSSER STR 10   OGAKI‐SHI JAPAN
AMPL OPTIMIZATION LLC          C/O DAVID M GAY                      900 SIERRA PL SE                                                                 ALBUQUERQUE        NM      87108‐3379
AMPL OPTIMIZATION LLC          900 SIERRA PL SE                                                                                                      ALBUQUERQUE        NM      87108‐3379
AMPLAS COMP/STERLING           6675 STERLING DR N                                                                                                    STERLING HEIGHTS   MI      48312‐4559
AMPLE SUPPLY CO                1401 S PRAIRIE DR                                                                                                     SYCAMORE            IL     60178‐3225
AMPLIFIER RESEARCH CORP        160 SCHOOLHOUSE RD                                                                                                    SOUDERTON          PA      18964‐2400
AMPONSAH, DANIEL               816 BIRCHWOOD COURT                                                                                                   N BRUNSWICK        NJ      08902‐1917
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Name                              Address1                        Address2                   Address3           Address4                  City               State   Zip
AMPORTS CA (BENICIA) <PORT>       2050 PARK ROAD                                                                                          BENICIA             CA     94510
AMPORTS FLA (HOBELMAN) <PORT>     9240 BLOUNT ISLAND BLVD                                                                                 JACKSONVILLE        FL     32226
AMPORTS INC                       9240 BLOUNT ISLAND BLVD                                                                                 JACKSONVILLE        FL     32226‐4028
AMPORTS, INC.                     2901 CHILDS ST                                                                                          BALTIMORE           MD     21226‐1015
AMPORTS, INC.                     SS 13 GMDAT                                                                   GMDAT ARUBA
AMPORTS‐BALTIMORE <PORT>          2901 CHILDS STREET                                                                                      BALTIMORE          MD      21226
AMPRIM, JUDITH M                  368 WASHINGTON ST                                                                                       LEETONIA           OH      44431
AMPRO COMPUTER                    KAY MATTEA                      HUMBOLDT INDUSTRIAL PARK                                                HAZELTON           PA
AMPRO INC                         55375 LYON INDUSTRIAL DR                                                                                NEW HUDSON         MI      48165‐8545
AMPS/MIDDLETOWN                   703 CURTIS ST                                                                                           MIDDLETOWN         OH      45043‐0001
AMPUDIA, MARIA                    PO BOX 577                                                                                              PUERTO PLATA
AMPULSKI, JOHN J                  2497 WALKER WOODS CT NW                                                                                 GRAND RAPIDS        MI     49544‐1489
AMPUNAN, NATHAN D                 24403 CAVENDISH AVE E                                                                                   NOVI                MI     48375‐2360
AMPY, BRENDA A                    133 TATUM RD                                                                                            COLUMBIA            LA     71418‐3420
AMPY, ELIZABETH                   6813 ROSEANNA DR                                                                                        FLINT               MI     48505‐2488
AMPY, HERBERT E                   101 PROCTOR AVE                                                                                         BUFFALO             NY     14215‐3528
AMPY, ILEY                        1419 RYAN ST                                                                                            FLINT               MI     48532‐3746
AMPY, LOUIS E                     3802 MILBOURNE AVE                                                                                      FLINT               MI     48504‐3501
AMR
AMR EL‐MASSRY
AMR RESEARCH INC                  2 OLIVER ST FL 5                                                                                        BOSTON             MA      02109‐4937
AMR TRAINING AND CONSULTING       ACCOUNTS RECEIVABLE             P O BOX 619618 MD 906                                                   DFW AIRPORT        TX      75261
AMRAEN, MIKE
AMRAK CANADA
AMRAO GILL                        2398 TRILLIUM WOODS DR                                                                                  ANN ARBOR          MI      48105‐9357
AMRDEC                            JAMES R. ALEXANDER              US ARMY RDECOM             5400 FOWLER ROAD                             HUNTSVILLE         AL      35898‐0001
AMREIN, MICHAEL L                 1713 HIGHLAND DR W                                                                                      ROANOKE            TX      76262‐9331
AMREIN, MICHAEL LYNN              1713 HIGHLAND DR W                                                                                      ROANOKE            TX      76262‐9331
AMRESCO COMMERICIAL FINANCE LLC   412 E PARKCENTER BLVD STE 300   ATTN SUSAN SAINE                                                        BOISE              ID      83706‐7535
AMRHEIN, DONNA J                  1680 PAINTER ROAD                                                                                       SALEM              OH      44460‐1820
AMRHEIN, DONNA J                  1680 PAINTER RD                                                                                         SALEM              OH      44460‐1820
AMRHEIN, FRANK H                  1000 E 7TH ST                                                                                           FLINT              MI      48503
AMRHEIN, HENRY K                  706 FITZHUGH ST                                                                                         BAY CITY           MI      48708‐7167
AMRHEIN, JOHN P                   14426 HARLAN RD                                                                                         COPEMISH           MI      49625‐9631
AMRHEIN, WILLIAM J                8041 GRANADA AVE                                                                                        BRIGHTON           MI      48114‐9325
AMRICH, BRAD J                    2933 REXFORD RD                                                                                         YOUNGSTOWN         OH      44511‐2135
AMRICH, BRAD JOHN                 2933 REXFORD RD                                                                                         YOUNGSTOWN         OH      44511‐2135
AMRICH, JAMES J                   8346 SHERWOOD DR                                                                                        GRAND BLANC        MI      48439‐8391
AMRICH, JAMES JOSEPH              8346 SHERWOOD DR                                                                                        GRAND BLANC        MI      48439‐8391
AMRICH, JERRY P                   13227 PINE VALLEY DR                                                                                    CLIO               MI      48420‐9159
AMRICH, JERRY PATRICK             13227 PINE VALLEY DR                                                                                    CLIO               MI      48420‐9159
AMRICH, NANCY A                   1010 MCKEIGHAN AVE                                                                                      FLINT              MI      48507‐2883
AMRICH, THOMAS R                  4292 SPRINGBROOK DR                                                                                     SWARTZ CREEK       MI      48473‐1706
AMRINE, MARGARET V                816 VIA DEL SOL                 DEL TURA COUNTRY CLUB                                                   NORTH FORT MYERS   FL      33903‐1525

AMRINE, MARK A                    147 N WEST ST                                                                                           GREENVILLE         OH      45331‐2232
AMRIT SINGH                       64 DAVISON CT                                                                                           LOCKPORT           NY      14094‐5370
AMRITA MAGUIRE                    5076 ALGONQUIN BLVD                                                                                     CLARKSTON          MI      48348‐3305
AMRITA WADHWA                     3076 GLOUCHESTER DR APT 74                                                                              TROY               MI      48084‐2724
AMROIAN, DONALD D                 1300 PINTO ROCK LN UNIT 202                                                                             LAS VEGAS          NV      89128‐3801
AMS CO LTD                        144 EUPCHON‐RI JAIN‐MYUN        KYUNGSAN‐SI KYUNGBUK                          KOREA SOUTH KOREA
AMS COMPANY LTD                   144 JAIN‐RI GYEONGSAN‐SI                                                      GYEONGSAN‐SI GYEONGBUK
                                                                                                                KR 712 852 KOREA (REP)
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Name                            Address1                         Address2                    Address3            Address4                  City              State Zip
AMS COMPANY LTD                 DON ULRICH X18                   C/O MARIAH INDUSTRIES INC   13125 E 8 MILE RD                             HUNTSVILLE         AL 35824
AMS COMPANY LTD                 30500 VAN DYKE AVE.                                                                                        WARREN             MI 48093
AMS GMBH                        ATTN: CONTRACT ADMINISTRATRO     HEINRICH‐HEINE‐STR. 5                           D‐09557 FLOEHA GERMANY
AMS GMBH
AMS NORTH AMERICA CORPORATION
AMS NORTH AMERICA CORPORATION   ATTN: CONTRACTS ADMINISTRATOR    CL29/PRES                   1771 HARMON RD.                               AUBURN HILLS      MI    48326
AMS NORTH AMERICA INC           1771 HARMON RD                                                                                             AUBURN HILLS      MI    48326
AMSBURY, ALTA L                 2643 W 200 N                                                                                               TIPTON            IN    46072‐8430
AMSCHLER, DONALD L              26309 BUBBLING BROOK CT                                                                                    FORISTELL         MO    63348‐1471
AMSCHLER, LESLEY A              61 WOODS RD                                                                                                SILEX             MO    63377‐2418
AMSCHLER, TERRY J               61 WOODS RD                                                                                                SILEX             MO    63377‐2418
AMSCO SCHOOL PUBLICATIONS       315 HUDSON ST                    12/01 GOI                                                                 NEW YORK          NY    10013
AMSCORE SOFTWARE                ATTN: CONTRACTS ADMINISTRATOR    15142 WESTERN VALLEY DR                                                   HOLLY             MI    48442‐1912
AMSCORE SOFTWARE
AMSDELL GERTRUDE                2360 TERRANCE DR                                                                                           COLUMBUS          OH    43220‐2354
AMSDEN, MICHAEL D               447 SAMOA CIR                                                                                              UNION CITY        CA    94587‐4118
AMSDILL, RAYMOND A              301 FAVER AVE                                                                                              WASHINGTON        GA    30673‐1829
AMSEA INC                       PO BOX 446                                                                                                 GOODRICH          MI    48438‐0446
AMSHAY, CHARLES F               3384 SHADDICK RD                                                                                           WATERFORD         MI    48328‐2559
AMSHAY, DOROTHY                 735 E MADISON AVE                                                                                          PONTIAC           MI    48340‐2940
AMSHAY, DOROTHY                 735 E MADISON                                                                                              PONTIAC           MI    48340‐2940
AMSHAY, PATTI M                 3384 SHADDICK RD                                                                                           WATERFORD         MI    48328‐2559
AMSHEY, BETTY J                 2380 AURORA POND DR SW APT 110                                                                             WYOMING           MI    49519‐9670
AMSHEY, JAMES                   2463 MICHAEL AVENUE SOUTHWEST                                                                              WYOMING           MI    49509‐1843
AMSHEY, NINA M                  2247 MAPLETON ST NE                                                                                        GRAND RAPIDS      MI    49505‐6387
AMSLER, J B                     116 TULANE CT                                                                                              ELYRIA            OH    44035‐1535
AMSOL ANESTHETISTS O            PO BOX 5368                                                                                                HIGH POINT        NC    27262‐5368
AMSPAUGH, JACK L                201 N. MAIN ST.                  P.O. BOX 215                                                              ANSONIA           OH    45303‐0215
AMSPAUGH, JACK L                PO BOX 215                       201 N. MAIN ST.                                                           ANSONIA           OH    45303‐0215
AMSPAUGH, ROBERT E              8816 N STATE ROUTE 49                                                                                      GREENVILLE        OH    45331‐8313
AMSPAUGH, ROBERT E              8816 ST RT 49                                                                                              GREENVILLE        OH    45331‐8313
AMSPOKER, ROBERT L              PO BOX 506                                                                                                 EUREKA            MI    48833‐0506
AMSRUD, PHILIP R                988 HAMPTON PARK                                                                                           BARRINGTON        IL    60010
AMSTADT, JAMES W                PO BOX 459                                                                                                 ALDEN             MI    49612‐0459
AMSTAN TRUCKING INC             1255 CORWIN AVE                                                                                            HAMILTON          OH    45015‐1609
AMSTAR LLC                      31750 SHERMAN AVE                                                                                          MADISON HEIGHTS   MI    48071‐1423

AMSTAR LLC                      408 S BYRKIT ST                                                                                            MISHAWAKA          IN   46544‐3012
AMSTAR LLC                      ADAM MOORE X222                  3410 MEYER RD                                                             FORT WAYNE         IN   46803‐2923
AMSTAR LLC                      ADAM MOORE X222                  3410 MEYER ROAD                                 LOGRONO LA RIOJA SPAIN
AMSTED INDUSTRIES INC           C\O CHRIS T DANIKOLAS            1400 WOODWARD AVE           HOWARD & HOWARD                               DETROIT           MI    48226‐2002
AMSTED INDUSTRIES INC           180 N STETSON AVE STE 1800                                                                                 CHICAGO           IL    60601‐6808
AMSTED INDUSTRIES INC           1860 S JEFFERSON AVE                                                                                       SAGINAW           MI    48601‐2824
AMSTED INDUSTRIES INC           3715 E WASHINGTON RD                                                                                       SAGINAW           MI    48601‐9623
AMSTED INDUSTRIES INC           737 PEYTON ST                                                                                              GENEVA            IL    60134‐2150
AMSTED INDUSTRIES INC           872 E HURON AVE                                                                                            VASSAR            MI    48768‐1820
AMSTED INDUSTRIES INC           BRAD YOUNG                       19500 ALLEN RD              MELVINDALE PLANT                              MELVINDALE        MI    48122‐1622
AMSTED INDUSTRIES INC           BRAD YOUNG                       MELVINDALE PLANT            19500 ALLEN ROAD    KITCHNER ON CANADA
AMSTED INDUSTRIES INC           BRAD YOUNG X2478                 3715 E. WASHINGTON ROAD                         APODACA NL 66600 MEXICO

AMSTED INDUSTRIES INC           CAROLINE WISE                    872 EAST HURON ST                                                         HOWELL            MI    48843
AMSTED INDUSTRIES INC           CHRIS REISTER X2471              511 MORTON ST                                                             BAY CITY          MI    48706‐5350
AMSTED INDUSTRIES INC           CHRIS REISTER X2471              511 MORTON STREET                                                         FRUITPORT         MI    49415
AMSTED INDUSTRIES INC           GARY DIETZ                       1860 S JEFFERSON AVE                                                      SAGINAW           MI    48601‐2824
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AMSTED INDUSTRIES INC            GARY DIETZ                             1860 S. JEFFERSON AVE.                                                                     BOSTON             MA
AMSTED INDUSTRIES INC            BRAD YOUNG                             3715 E WASHINGTON RD                                                                       SAGINAW            MI     48601‐9623
AMSTED INDUSTRIES INC.           205 N. MICHIGAN AVE., 44TH FL.         BLVD TOWERS SOUTH                                                                          CHICAGO             IL    60601
AMSTED INDUSTRIES INC.           205 N. MICHIGAN AVE., 44TH FL., BLVD                                                                                              CHICAGO             IL    60601
                                 TOWERS SOUTH
AMSTUTZ, ABRAHAM A               504 CLOVER LN                                                                                                                     MITCHELL          IN      47446‐7710
AMSTUTZ, HERBERT L               1439 FORD CIR                                                                                                                     LEHIGH ACRES      FL      33936‐1115
AMSTUTZ, KAREN C                 11 NORTH CARLTON STREET                                                                                                           CASTLE ROCK       CO      80104‐8948
AMSTUTZ, KENNETH J               782 WESTERN AVE                                                                                                                   GLEN ELLYN        IL      60137
AMSTUTZ, LINDA L                 7915 ANVIL CT                                                                                                                     SYLVANIA          OH      43560‐1068
AMSTUTZ, NEAL E                  1895 E COUNTY LINE RD                                                                                                             SPRINGFIELD       OH      45502‐9748
AMT ASSOCIATES                   PO BOX 1012 LAMBETH STATION                                                                            LONDON CANADA ON N6P 1R2
                                                                                                                                        CANADA
AMT FREIGHT\SUMITOMO             233 S WACKER DR STE 4800                                                                                                          CHICAGO           IL      60606‐6373
AMT INC                          20 FEDERAL PLZ W                       PHAR MOR CENTRE 2ND FLOOR                                                                  YOUNGSTOWN        OH      44503‐1424
AMT THE ASSOCIATION FOR MFG TE   7901 WESTPARK DR                                                                                                                  MCLEAN            VA      22102‐4206
AMT, TRACY L                     225 SAINT JOSEPH LN                                                                                                               STEVENSVILLE      MT      59870‐6012
AMT/CAMARILLO                    765 FLYNN RD                                                                                                                      CAMARILLO         CA      93012‐8056
AMTA AVIATION CORP.              ATN. ADRIANA CAJIGAS                   511 FIFTH AV. NEW YORK,NEW YORK                                                            NEW YORK          NY      10017
AMTABLIAN, JEAN                  6137 N SILVERY LN                                                                                                                 DEARBORN HTS      MI      48127‐3128
AMTAK FASTENERS                  DIV OF GRIPNAIL CORP                   97 DEXTER RD                                                                               EAST PROVIDENCE   RI      02914‐2045
AMTAX INCOME TAX SVC             ATTN: TONY MOSES                       1175 BALDWIN AVE                                                                           PONTIAC           MI      48340‐2709
AMTEC AUTOMOTIVE                 190 RYAN DR                            STE A                                                                                      SAINT PAUL        MN      55117‐1178
AMTEC INCORPORATED               KENNY KIMURAX253                       550 CARNEGIE ST                                                                            TUCSON            AZ      85714
AMTEC LLC                        GENE HOLLENBECK                        902 CLINT MOORE ROAD                                                                       BOCA RATON        FL      33487
AMTEC LLC                        902 CLINT MOORE RD                                                                                                                BOCA RATON        FL      33487
AMTEC PRECISION PROD             1875 HOLMES RD                                                                                                                    ELGIN             IL      60123‐1298
AMTEC PRECISION PROD CORP .      JEAN DARNELL                           22955 INDUSTRIAL DR. WEST                                                                  MINNEAPOLIS       MN
AMTEC PRECISION PRODUCTS         KATHLEEN WILLIAMS                      1875 HOLMES ROAD                                                                           PALMYRA           MO      63461
AMTEC PRECISION PRODUCTS INC     1355 HOLMES RD                                                                                                                    ELGIN             IL      60123‐1201
AMTEC PRECISION PRODUCTS INC     1875 HOLMES RD                                                                                                                    ELGIN             IL      60123‐1298
AMTECH                           SUB OF OTIS ELEVATOR                   99 W WILLIS ST                                                                             DETROIT           MI      48201‐1809
AMTECH ELEVATOR SERVICES         4000 DEKALB TECHNOLOGY PKWY                                                                                                       ATLANTA           GA      30340
AMTECH ELEVATOR SERVICES         1085 N MAIN ST STE C                                                                                                              ORANGE            CA      92867‐5458
AMTECH INTERNATIONAL             50 US HIGHWAY 9 STE 305                                                                                                           MORGANVILLE       NJ      07751‐1558
AMTECH LIGHTING SERVICES         1085 N MAIN ST                         STE C                                                                                      ORANGE            CA      92867‐5458
AMTECH RELIABLE ELEVATOR CO      1835 UNDERWOOD BLVD                    STE 2                                                                                      DELRAN            NJ      08075‐1230
AMTECK OF KENTUCKY INC           PAMELA THOMPSON                        1084 1/2 NEW CIRCLE ROAD                                                                   LEXINGTON         KY
AMTEK ALUMINIUM CASTINGS         WITHAM LIMITED                         16 FREEBOURNES ROAD               WITHAM ESSEX CM8 3DX          GREAT BRITIAN GREAT
                                                                                                                                        BRITAIN
AMTEK ALUMINUM CASTINGS          STEVE KNIGHTS                          16 FREEBOURNES ROAD                                                                        BROWNSVILLE        TX     78521
AMTEK AUTO LTD                   STEVE KNIGHTS                          16 FREEBOURNES ROAD                                                                        BROWNSVILLE        TX     78521
AMTEK TOOL AND SUPPLY INC        535 E 10 MILE RD                                                                                                                  MADISON HEIGHTS    MI     48071‐4204

AMTEK/WITHAM                     16 FREEBOURNES RD                                                                                      WITHAM ESSEX UK CM8 3DX
                                                                                                                                        GREAT BRITAIN
AMTEX INC                        PO BOX 77919                                                                                                                      DETROIT           MI      48277‐0919
AMTEX INC                        KENNY KIMURAX253                       550 CARNEGIE ST                                                                            TUCSON            AZ      85714
AMTHOR, BERNARD M                618 WARNER DR                                                                                                                     LINDEN            MI      48451‐9791
AMTHOR, JAMES E                  107 MCCONNELL ST                                                                                                                  GAINES            MI      48436‐9804
AMTHOR, WILLIAM                  7365 PERRYVILLE RD                                                                                                                HOLLY             MI      48442‐9431
AMTOWER THOMAS                   AMTOWER, THOMAS                        ELLEM LAW OFFICE                  914 MARKET STREET SUITE 207                              PARKERSBURG       WV      26102‐0322
                                                                                                          PO BOX 322
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Name                              Address1                           Address2                          Address3                    Address4               City            State Zip
AMTOWER THOMAS                    AMTOWER, WENDY                     ELLEM LAW OFFICE                  914 MARKET STREET SUITE 207                        PARKERSBURG      WV 26102‐0322
                                                                                                       PO BOX 322
AMTOWER, THOMAS                   ELLEM LAW OFFICE                   914 MARKET STREET ,SUITE 207,PO                                                      PARKERSBURG     WV   26102‐0322
                                                                     BOX 322
AMTOWER, THOMAS                   ELLEM LAW OFFICE                   PO BOX 322                        914 MARKET STREET SUITE 207                        PARKERSBURG     WV   26102‐0322

AMTOWER, WENDY                    ELLEM LAW OFFICE                   PO BOX 322                        914 MARKET STREET SUITE 207                        PARKERSBURG     WV   26102‐0322

AMTOWER, WENDY                    ELLEM LAW OFFICE                   914 MARKET STREET,SUITE 207,PO                                                       PARKERSBURG     WV   26102‐0322
                                                                     BOX 322
AMTRAK                            51000 WOODWARD AVE                                                                                                      PONTIAC         MI   48342‐2276
AMTRAK                            11 W BALTIMORE ST                                                                                                       DETROIT         MI   48202‐3205
AMTUL NUR                         5115 MARINER DR                                                                                                         HUBER HEIGHTS   OH   45424‐5909
AMUEL BARNES                      222 COKE RD                                                                                                             BYHALIA         MS   38611‐9660
AMUKHOYE LIBUTSI                  2071 COLLINGWOOD ST                                                                                                     DETROIT         MI   48206‐1555
AMULAIRE THERMAL TECHNOLOGY INC   11555 SORRENTO VALLEY RD STE 201                                                                                        SAN DIEGO       CA   92121‐1331
AMUNDSEN, GORDON O                4212 E LOS ANGELES AVE             PO BOX 4774                                                                          SIMI VALLEY     CA   93063‐3308
AMUNDSON DAWN                     14543 AGATE RD                                                                                                          ELGIN           IA   52141‐8036
AMUNDSON GARY L (438780)          GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                                          NORFOLK         VA   23510
                                                                     STREET, SUITE 600
AMUNDSON JR, VIRGIL D             4297 W SANDALE DR                                                                                                       BELOIT          WI   53511‐8485
AMUNDSON ROY E (428405)           GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                                          NORFOLK         VA   23510
                                                                     STREET, SUITE 600
AMUNDSON, ALLAN L                 6343 N LOCHWOOD DR                                                                                                      JANESVILLE      WI   53545‐8856
AMUNDSON, DALE M                  10706 S SMYTHE SCHOOL RD                                                                                                BELOIT          WI   53511‐9666
AMUNDSON, DONALD M                3926 YORK AVE S                                                                                                         MINNEAPOLIS     MN   55410
AMUNDSON, ERIC O                  N2629 SMOCK VALLEY RD                                                                                                   BROWNTOWN       WI   53522‐9766
AMUNDSON, EUGENE S                3019 YALE DR                                                                                                            JANESVILLE      WI   53548‐6700
AMUNDSON, GARY L                  GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                                          NORFOLK         VA   23510‐2212
                                                                     STREET, SUITE 600
AMUNDSON, HAZEL                   2548 W SPRING CREEK RD                                                                                                  BELOIT          WI   53511
AMUNDSON, JAMES D                 2639 E L T TOWNLINE RD                                                                                                  BELOIT          WI   53511‐8946
AMUNDSON, JARED M                 10706 S SMYTHE SCHOOL RD                                                                                                BELOIT          WI   53511‐9666
AMUNDSON, JOSEPH A                3554 STATE ROUTE 125 125                                                                                                BETHEL          OH   45106
AMUNDSON, JUSTIN M                10706 S SMYTHE SCHOOL RD                                                                                                BELOIT          WI   53511‐9666
AMUNDSON, LINDA M                 6343 N LOCHWOOD DR                                                                                                      JANESVILLE      WI   53545‐8856
AMUNDSON, MARVIN D                4033 DEVEREAUX DR                                                                                                       JANESVILLE      WI   53546‐1461
AMUNDSON, NOELLE L                APT 811                            2001 HODGES BOULEVARD                                                                JACKSONVILLE    FL   32224‐3040
AMUNDSON, RODNEY O                5728 W POMEROY RD                                                                                                       EDGERTON        WI   53534‐9757
AMUNDSON, ROY E                   GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                                          NORFOLK         VA   23510‐2212
                                                                     STREET, SUITE 600
AMUNDSON, SHIRLEY E               73110 DEER GRASS DR                                                                                                     PALM DESERT     CA   92260‐6086
AMUNDSON, VIRGIL D                2548 W SPRING CREEK RD                                                                                                  BELOIT          WI   53511‐8440
AMUNGA, GREGORY G                 5769 LAKEVIEW ST                                                                                                        DETROIT         MI   48213
AMUNGA, KEENA GREGORY‐CARL        744 CALL ST                                                                                                             LANSING         MI   48906‐4242
AMURGIS, CHARLES W                512 PINE BLUFF DR                                                                                                       MARS            PA   16046‐3936
AMUSITROIX                        DBA PRESS GOLD INC                 39 SHADY LN                                                                          BARDONIA        NY   10954‐2021
AMVET NEWS                        PO BOX 42332                                                                                                            INDIANAPOLIS    IN   46242‐0332
AMVETS POST NUMBER 5              841 E 38TH ST                                                                                                           MARION          IN   46953‐4402
AMVETS PROGRAM                    PO BOX 42332                                                                                                            INDIANAPOLIS    IN   46242‐0332
AMX ENTERPRISES INC               2351 W NORTHWEST HWY STE 2118                                                                                           DALLAS          TX   75220‐8406
AMY
AMY A SEIDMAN                     432 LOCUST ROAD                                                                                                         GLENDSIDE       PA   19038
AMY A SHIELDS                     1447 MENSTREL DRIVE                                                                                                     W CARROLLTON    OH   45449‐5360
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Name                  Address1                         Address2                  Address3     Address4               City               State   Zip
AMY A ULAM            4473 WILLOW CREEK DR SE                                                                        WARREN              OH     44484‐2963
AMY ACKELS            1201 JEWELL DR                                                                                 COLUMBIA            TN     38401‐5328
AMY ANDERSON          3611 ANDOVER RD                                                                                ANDERSON            IN     46013‐4220
AMY ANDERSON          10110 HOFFMAN RD                                                                               FORT WAYNE          IN     46816‐9611
AMY ANDREWS           4541 LAKE STATION AVE                                                                          LAKE                MI     48632‐9130
AMY ARTHUR            1713 WILDFLOWER TRL                                                                            GRAPEVINE           TX     76051‐8415
AMY B CHAPMAN‐WOLFE   7825 VININGS OAK LN APT 938                                                                    MATTHEWS            NC     28105‐5142
AMY B CUPP            3073 MILL POND DRIVE                                                                           BELLBROOK           OH     45305
AMY B HOLMES          2 DUNBILT CT                                                                                   MANSFIELD           OH     44907‐1203
AMY B HULL            7973 EDGEWATER DR                                                                              MIDDLETOWN          OH     45042
AMY B NELSON          111 WEST MEADOWS DR                                                                            ROCHESTER           NY     14616
AMY BAKER             12176 CHERRY LN                                                                                SOUTH LYON          MI     48178‐9355
AMY BALDWIN           1480 HWY 179                                                                                   ALTOONA             AL     35952‐7615
AMY BARANSKI          38700 VAN DYKE AVE., SUITE 150                                                                 STERLING HEIGHTS    MI     48312
AMY BARBARA S         701 MARTHA AVE                                                                                 JEFFERSONVILLE      IN     47130‐4838
AMY BARNES            3449 STARWICK DR                                                                               CANFIELD            OH     44406‐8049
AMY BARTLING          APT 105                          2366 JOHN R ROAD                                              TROY                MI     48083‐2573
AMY BAUGHAN           4836 OLD PLANK RD                                                                              ONONDAGA            MI     49264‐9701
AMY BERNAL            2108 WILLOW OAK CT                                                                             DAYTON              OH     45439‐0003
AMY BOOTH             632 WASHINGTON BLVD                                                                            MC DONALD           OH     44437‐1846
AMY BOOZAN            134 E 22ND ST APT 603                                                                          NEW YORK            NY     10010‐6328
AMY BOYETTE           PO BOX 455                                                                                     DULUTH              GA     30096‐0009
AMY BOZYNSKI          272 OAKLANE DR                                                                                 ROCHESTER HILLS     MI     48306‐3426
AMY BRANDT            651 ALICE ST                                                                                   SAGINAW             MI     48602‐2709
AMY BRASSELL          427 MANOR ST                                                                                   GROSSE POINTE       MI     48236‐3210
                                                                                                                     FARMS
AMY BREWSTER          1864 BURRWOOD CIR                                                                              EAST LANSING       MI      48823‐3764
AMY BRIGHT            4103 GREGOR ST                                                                                 MOUNT MORRIS       MI      48458‐8981
AMY BRITO             182 RUGBY AVE                                                                                  ROCHESTER          NY      14619‐1138
AMY BROWN             PO BOX 235                       1903 SPENCER RD                                               STERLING           MI      48659‐9719
AMY BROWN             13630 PEMBROKE AVE                                                                             DETROIT            MI      48235‐1524
AMY BUENO             1218 20TH ST                                                                                   HERMOSA BEACH      CA      90254‐3316
AMY BURMEISTER        502 SPRING MILL ROAD                                                                           ANDERSON           IN      46013‐3746
AMY BURRUS            3926 N IRVINGTON AVE                                                                           INDIANAPOLIS       IN      46226‐4769
AMY BUTTIGIEG         3709 CYPRESS MILL RD                                                                           CHESAPEAKE         VA      23322‐2509
AMY BUTTON            3922 RED OAK DRIVE                                                                             FAYETTEVILLE       NC      28306
AMY BUZAN             1205 JASON LEE DR                                                                              OWOSSO             MI      48867‐9028
AMY C KETZEL          11 BOULDER DR                                                                                  FRANKLIN           OH      45005
AMY C WITZERMAN       807 EVANS AVE.                                                                                 MIAMISBURG         OH      45342‐3313
AMY CALLIHAN          2805 AQUITANIA LN                                                                              CUMMING            GA      30040‐5388
AMY CANNELLO          995 CLAY HAMMOND RD                                                                            PRNC FREDERCK      MD      20678‐4537
AMY CAREY             4766 CECELIA ANN AVE                                                                           CLARKSTON          MI      48346‐4083
AMY CARR              4105 WINDERMERE CT                                                                             COLLEYVILLE        TX      76034‐4456
AMY CARTER            3364 S 600 W                                                                                   ANDERSON           IN      46011‐9436
AMY CASCIO            2002 POPE ST                                                                                   MONROE             LA      71201‐3521
AMY CASHEN            15052 OLDHAM ST                                                                                TAYLOR             MI      48180‐5057
AMY CAUDILL           7285 S RACCOON RD                                                                              CANFIELD           OH      44406‐8102
AMY CAUFFIELD         5331 COPELAND AVE NW                                                                           WARREN             OH      44483‐1200
AMY CHRISTIANSON      APT 5                            727 EAST JOHNSON STREET                                       MADISON            WI      53703‐3931
AMY CLARK             2024 MERILINE AVE                                                                              DAYTON             OH      45420‐2829
AMY CLARK             2024 MENLINE AVE                                                                               DAYTON             OH      45420
AMY COHOON            13323 MARVIN DR                                                                                FENTON             MI      48430‐1025
AMY COLEMAN           8646 NW WAUKOMIS DR                                                                            KANSAS CITY        MO      64154‐2423
AMY COMBS             1358 EPWORTH AVE                                                                               DAYTON             OH      45410‐2616
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Name                   Address1                        Address2               Address3         Address4               City               State   Zip
AMY CONLEY             45968 PLUM GROVE DR                                                                            MACOMB              MI     48044‐4550
AMY COPELAND           6556 ROWLEY DR                                                                                 WATERFORD           MI     48329‐2749
AMY COSTELLO           6528 ARROWHEAD CT                                                                              DAVISBURG           MI     48350‐2964
AMY CRAKER             605 LUCE AVENUE                                                                                FLUSHING            MI     48433‐1429
AMY CRANDALL           3160 FALLEN OAKS CT APT 614                                                                    ROCHESTER HILLS     MI     48309‐2765
AMY CROSS
AMY CRUMP              PO BOX 7515                                                                                    BLOOMFIELD         MI      48302‐7515
AMY D DEVORE           1411 OLD FORGE RD.                                                                             NILES              OH      44446‐3241
AMY D HANEY            1444B LIVINGSTON‐VERNON RD                                                                     FLORA              MS      39071
AMY D HERNANDEZ        7605 DOVER DR                                                                                  YPSILANTI          MI      48197‐9457
AMY D HYMER            4959 MORELAND DRIVE                                                                            FRANKLIN           OH      45005‐5121
AMY D LEWIS            430 E FOURTH ST                                                                                FRANKLIN           OH      45005
AMY D MILLER           7574 CREEKWATER DRIVE                                                                          CENTERVILLE        OH      45459‐6302
AMY DALBY              6705 COLLEGE PARK RD                                                                           CLARKSTON          MI      48346
AMY DAVIDSON           62341 ARLINGTON CIR UNIT 6                                                                     SOUTH LYON         MI      48178‐1755
AMY DELONG             1415 CAMBRIA DR                                                                                TROY               MI      48085‐1249
AMY DELUCIA            974 FAIRFIELD AVE                                                                              COLUMBIANA         OH      44408‐1604
AMY DEVORE             1411 OLD FORGE RD                                                                              NILES              OH      44446‐3241
AMY DEWEESE            2712 NEW PORT ROYAL RD                                                                         THOMPSONS          TN      37179‐5294
                                                                                                                      STATION
AMY DUDLEY             6418 S TERRIPIN CIR                                                                            MESA               AZ      85212‐6380
AMY DUNN               1283 HEIGHTS RD                                                                                LAKE ORION         MI      48362‐2425
AMY DUNWOODY           15900 WESTCOTT DR                                                                              SOUTHGATE          MI      48195‐3082
AMY DUNWOODY           DUNWOODY, AMY                   15900 WESTCOTT DR                                              SOUTHGATE          MI      00000
AMY E BOWMAN           260 HOMEWOOD ACRES CIR                                                                         EASTABOGA          AL      36260
AMY E FLANARY          1 MEDICI CT                                                                                    PARKVILLE          MD      21234
AMY E GREEN            4946 CHANDLER XING 900                                                                         LIBERTY TOWNSHIP   OH      45044

AMY E LOVELESS         3602 SWEETHOME RD                                                                              ASHLAND CITY       TN      37015
AMY E SANFORD          736 KENBROOK DR                                                                                VANDALIA           OH      45377‐2534
AMY E STACY            4367 RIVERSIDE DR #E2                                                                          DAYTON             OH      45405‐1350
AMY E TATROE           1022 N BIRNEY ST                                                                               BAY CITY           MI      48708‐6150
AMY EDWARDS            970 W RIO HONDO                                                                                GREEN VALLEY       AZ      85614‐4019
AMY ERVIN              1121 N MONROE ST                                                                               BAY CITY           MI      48708‐5936
AMY FARMER             1866 PIERCE ST                                                                                 BIRMINGHAM         MI      48009‐2003
AMY FARR               11647 W 800 S                                                                                  LOSANTVILLE        IN      47354‐9317
AMY FARUGA             53412 AURORA PARK                                                                              SHELBY TOWNSHIP    MI      48316‐2521
AMY FEDOR              12380 WINDCLIFF                                                                                DAVISBURG          MI      48350‐1677
AMY FIELDS             69 N MERRIMAC ST                                                                               PONTIAC            MI      48340‐2529
AMY FITZSIMMONS MD L   44 2ND STREET PIKE STE 200                                                                     SOUTHAMPTON        PA      18966‐3830
AMY FOSTER             6773 RAPIDS RD LOT 150                                                                         LOCKPORT           NY      14094‐7911
AMY FRALEY             12184 MORRISH RD                                                                               CLIO               MI      48420‐9423
AMY FREIJY             3104 STANTON RD                                                                                OXFORD             MI      48371‐5829
AMY FROST              418 GUSRYAN ST                                                                                 BALTIMORE          MD      21224‐2919
AMY FULLER             11720 E 71ST CT                                                                                KANSAS CITY        MO      64133‐7530
AMY G MC FARLANE       5089 NAWAL DR                                                                                  EL DORADO HILLS    CA      95762
AMY GAGGOS             117 NAHMA AVE                                                                                  CLAWSON            MI      48017‐1975
AMY GALLAGHER          3574 TREMONTE CIR S 280                                                                        ROCHESTER          MI      48306
AMY GENT               1585 S PARENT ST                                                                               WESTLAND           MI      48186‐4127
AMY GODES              2323 GLASCO TPKE                                                                               WOODSTOCK          NY      12498
AMY GOODMAN            9186 SPENCER CT                                                                                BRIGHTON           MI      48116‐6814
AMY GORDON             1502 PRINCETON AVE                                                                             KALAMAZOO          MI      49007‐1809
AMY GORDON             916 HIGHWAY 151                                                                                LA FAYETTE         GA      30728‐5982
AMY GRIESBAUER         990 MAE LYNN DR                                                                                FENTON             MO      63026‐5312
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Name                          Address1                          Address2                  Address3             Address4                   City               State Zip
AMY GRONDIN                   693 TANVIEW DR                                                                                              OXFORD              MI 48371‐4768
AMY GRONINGER                 6184 LEMMING CT                                                                                             PENDLETON           IN 46064‐8609
AMY GUTZMAN                   23218 MARTER RD                                                                                             SAINT CLAIR SHORES MI 48080‐2728

AMY H ZAZZARA                 17122 BROCKPORT HOLLEY RD         RT 31                                                                     HOLLEY             NY   14470‐9709
AMY HALL                      6104 ROBERT CIR                                                                                             YPSILANTI          MI   48197‐8274
AMY HAMILTON                  27836 FORESTBROOK DR                                                                                        FARMINGTON HILLS   MI   48334‐5254

AMY HAMLIN                    2151 FAWN GLEN CIR                                                                                          LAPEER             MI   48446‐8395
AMY HARP                      800 RAINBOW HVN                                                                                             RAINBOW CITY       AL   35906‐8550
AMY HELMS‐EMERICK             2707 ZION RD                                                                                                RIVES JUNCTION     MI   49277‐9725
AMY HENRY                     1171 CHEMUNG FOREST DR                                                                                      HOWELL             MI   48843‐7182
AMY HEYBOER                   2326 BRIDLE CREEK ST SE                                                                                     KENTWOOD           MI   49508‐0958
AMY HOLMES                    2 DUNBILT CT                                                                                                MANSFIELD          OH   44907‐1203
AMY HOM                       2051 PEARCE CIR                                                                                             SALEM              OH   44460‐1884
AMY HOUSTON                   9312 SARATOGA RD                                                                                            FORT WAYNE         IN   46804‐7030
AMY HYDE                      3605 LINWOOD AVE                                                                                            ROYAL OAK          MI   48073‐2329
AMY I WELLS                   35 BURLINGTON AVE                                                                                           DAYTON             OH   45403‐1119
AMY J BAKER                   105 W STRATHMORE AVE                                                                                        PONTIAC            MI   48340‐2775
AMY J BICKEL                  6475 SHAFFER RD NW                                                                                          WARREN             OH   44481‐9475
AMY J BUTTIGIEG               3709 CYPRESS MILL RD                                                                                        CHESAPEAKE         VA   23322
AMY J CUMMINGS                2429 MALLARD LN APT 4                                                                                       BEAVERCREEK        OH   45431‐3684
AMY J DELANEY                 1615 4TH ST                                                                                                 BAY CITY           MI   48708‐6137
AMY J HARRINGTON              65 W CORNELL AVE                                                                                            PONTIAC            MI   48340‐2717
AMY J HART                    1959 TOD AVE NW                                                                                             WARREN             OH   44485
AMY J SEGOVIS PACK            393 LAWTON RD                                                                                               HILTON             NY   14468
AMY JEAN CAUFFIELD            5331 COPELAND AVE NW                                                                                        WARREN             OH   44483‐1200
AMY JENNINGS                  11647 W 800 S                                                                                               LOSANTVILLE        IN   47354‐9317
AMY JO CARRIER                3845 EDINBURGH DR                                                                                           YOUNGSTOWN         OH   44511‐1127
AMY JONES                     15870 ELLSWORTH RD                                                                                          BERLIN CENTER      OH   44401‐9739
AMY JONES                     520 JAMES STREET                                                                                            LAKEWOOD           NJ   08701
AMY JOSS                      30466 PENNINGTON LN                                                                                         NOVI               MI   48377‐1741
AMY JR, ELMER V               2340 TOWNLINE RD                                                                                            BIRCH RUN          MI   48415‐8950
AMY K PONDER CUMMINS GRAHAM   ON BEHALF OF HER MINOR CHILDREN   ATTN JAMES E CARTER ESQ   JAMES E CARTER AND   PO BOX 22129               SAVANNAH           GA   31403
INDIVIDUALLY AND                                                                          ASSOCIATES LLC
AMY KING                      6365 MOONSTONE DR                                                                                           GRAND BLANC        MI   48439‐7810
AMY KINTINK                   1175 E HARVARD AVE                                                                                          FLINT              MI   48505‐1523
AMY KLENOTIC                  2652 STIEGLER RD                                                                                            VALLEY CITY        OH   44280‐9584
AMY KRAJEWSKI                 12140 RATTALEE LAKE RD                                                                                      DAVISBURG          MI   48350‐1220
AMY KUDER                     4643 KELLYKRIS DR                                                                                           SAINT CHARLES      MO   63304‐3442
AMY KUJAWA                    74266 1ST ST                                                                                                ARMADA             MI   48005‐3300
AMY L AKERS                   5857 QUEEN ANNE CT                                                                                          HUBER HEIGHTS      OH   45424‐‐ 54
AMY L ASPENGREN               3420 GOVERNOR'S TRAIL                                                                                       KETTERING          OH   45409‐1105
AMY L BASIC                   141 EASTLAND AVE SE                                                                                         WARREN             OH   44483‐6312
AMY L CROCKETT                520 DAVID BLVD                                                                                              FRANKLIN           OH   45005
AMY L DEVER                   1682 YALTA DR                                                                                               BEAVERCREEK        OH   45432‐2349
AMY L DOORNHAAG               1505 5TH ST                                                                                                 BAY CITY           MI   48708‐6141
AMY L GOODMAN                 9186 SPENCER CT                                                                                             BRIGHTON           MI   48116‐6814
AMY L HILL                    3863 LOST LAKE CV                                                                                           JACKSON            MS   39212
AMY L HOOKER                  407 DELLWOOD ST                                                                                             TILTON             IL   61833‐7531
AMY L JOHANSEN                209 PLYMOUTH AVE                                                                                            SYRACUSE           NY   13211‐1608
AMY L MASTERS                 402 BREMAN AVE                                                                                              SYRACUSE           NY   13211‐1535
AMY L MATYSZEWSKI             9905 JOAN CIR                                                                                               YPSILANTI          MI   48197‐8297
AMY L MIKESELL                4305 CROSSWOOD DR                                                                                           CRESTWOOD          KY   40014
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Name                   Address1                             Address2                  Address3    Address4               City               State   Zip
AMY L MINK             941 ALAMO CT                                                                                      CARLISLE            OH     45005‐3801
AMY L REDMOND          861 ORCHARD DRIVE                                                                                 KETTERING           OH     45419‐2323
AMY L ROUSE            102 PINE DR                                                                                       CHEHALIS            WA     98532
AMY L SCHEPER          10168 ARCHER LN                                                                                   DUBLIN              OH     43017
AMY L SEGER            2456 NILES CORTLAND RD NE                                                                         CORTLAND            OH     44410‐1724
AMY L SIMMONS          212 IRVIN DRIVE                                                                                   BOAZ                AL     35956
AMY L SKELTON          208 HIGHWAY 49 N                                                                                  JACKSON             MS     39209‐9502
AMY L SMITH            1373 FELDMAN AVE.                                                                                 DAYTON              OH     45432‐3105
AMY L TODD             110 CTY. RD. 405                                                                                  LEESBURG            AL     35983
AMY L TRYON            306 BOSTON RD                                                                                     SYRACUSE            NY     13211‐1512
AMY LAMA               3699 STRATTON LN                                                                                  HOWELL              MI     48843‐8660
AMY LARKINS            548 E APACHE ST                                                                                   GARDNER             KS     66030‐7838
AMY LEPPER             7468 PEREGRINE LN                                                                                 DAVISON             MI     48423‐3179
AMY LEWIS              430 E 4TH ST                                                                                      FRANKLIN            OH     45005‐2363
AMY LEWIS              140 ORCHARD ST                                                                                    MIDDLETOWN          OH     45044‐4921
AMY LOBCZOWSKI         3517 CHECKER TAVERN RD                                                                            LOCKPORT            NY     14094‐9423
AMY LONG
AMY LUEBKE             421 HORTON ST                                                                                     NORTHVILLE         MI      48167‐1207
AMY LYCZAK             13 ANNA DR                                                                                        WHITMORE LAKE      MI      48189‐9596
AMY M BLACK            878 S 5TH ST                                                                                      GADSDEN            AL      35901‐5116
AMY M BOLDS            5124 ALTRIM RD                       C/O AMY M DANIELS‐BOLDS                                      DAYTON             OH      45417‐6018
AMY M EPPERSON         620 JACKSON TRL SW                                                                                ATTALLA            AL      35954‐3109
AMY M FARUGA           53412 AURORA PARK                                                                                 SHELBY TOWNSHIP    MI      48316‐2521
AMY M HAYES            APT16 COOPER COURTS                                                                               BOAZ               AL      35957
AMY M KACHURIK         2362 WILLIAMS RD                                                                                  CORTLAND           OH      44410‐9307
AMY M LEWIS            140 ORCHARD DRIVE                                                                                 MIDDLETOWN         OH      45044
AMY M MASON            1209 N JACKSON ST                                                                                 BAY CITY           MI      48708‐5921
AMY M MAYFIELD         162 LAKESIDE ST                                                                                   PONTIAC            MI      48340‐2527
AMY M PETERSON         108 E 7TH ST                                                                                      TILTON             IL      61833‐7804
AMY M POAMNTE‐SEMLOW   39541 GARFIELD RD                                                                                 CLINTON TOWNSHIP   MI      48038‐4300

AMY M PUGH             9 VERITY ST SST                                                                                   JAMESTOWN          OH      45335
AMY M RICHARDS         1603 BRENTWOOD ST                                                                                 MIDDLETOWN         OH      45044
AMY M RUSSO            43000 12 OAKS CRESCENT DR APT 5066                                                                NOVI               MI      48377‐3434
AMY M SIMPSON          104 BEDFORD FARM CIR.                                                                             UNION              OH      45322‐3402
AMY MADDALOZZO         956 SILVER SHORES RD                                                                              VERO BEACH         FL      32963‐1105
AMY MALLOY             9 TALLY HO CT                                                                                     ELKTON             MD      21921‐1758
AMY MARCELLA           40854 MAGNOLIA DR W                                                                               CLINTON TWP        MI      48038‐4102
AMY MARTEAL PALMER     210‐A DR MICHAEL DEBAKEY DRIVE                                                                    LAKE CHARLES       LA      70601
AMY MARTIN             3234 PARKER DR                                                                                    ROYAL OAK          MI      48073‐6917
AMY MARTIN             3688 PONDEROSA LN                                                                                 POWDER SPRINGS     GA      30127‐2076
AMY MASTERSON          9924 W STATE ROAD 11                                                                              JANESVILLE         WI      53548‐9132
AMY MASUCCI            7370 MIDDLEBELT RD                                                                                ROMULUS            MI      48174
AMY MATHIES            PO BOX 75                                                                                         WATKINS            MN      55389‐0075
AMY MCCULLOUGH         117 SENECA ST                                                                                     ATTICA             OH      44807‐9470
AMY MCCUNE             6855 CHATHAM RD                                                                                   MEDINA             OH      44256‐8503
AMY MILLS              811 BAIRD ST                                                                                      HOLLY              MI      48442‐1706
AMY MINDEK             1189 ROSEWAY AVE SE                                                                               WARREN             OH      44484‐2810
AMY MINEHART           575 DIRLAM LN                                                                                     MANSFIELD          OH      44904‐1720
AMY MONTGOMERY         30 E LONGFELLOW AVE                                                                               PONTIAC            MI      48340‐2742
AMY MOORE              1440 E BUDER AVE                                                                                  BURTON             MI      48529‐1606
AMY MORENCY            40549 MICHAEL ST                                                                                  CLINTON TOWNSHIP   MI      48038‐3066

AMY MUSARY             2712 CEDAR KEY DR                                                                                 LAKE ORION          MI     48360‐1828
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Name             Address1                             Address2                     Address3   Address4               City               State   Zip
AMY N COLLINS    5037 LAUDERDALE DR                                                                                  MORAINE             OH     45439‐2926
AMY NOFFSINGER   PO BOX 224                                                                                          CONTINENTAL         OH     45831‐0224
AMY NOSTRANDT    8486 HICKORY HILLS BLVD.                                                                            GRAND BLANC         MI     48439
AMY OMANS        606 MADISON ST                                                                                      LAKE GENEVA         WI     53147‐1408
AMY PALMER       20511 MONICA ST                                                                                     DETROIT             MI     48221‐1285
AMY PEARSON      3128 DEER RUN DR NE                                                                                 PALM BAY            FL     32905‐4365
AMY PELL         561 S PERKEY RD                                                                                     CHARLOTTE           MI     48813‐9393
AMY POIRIER      35239 MUER CV                                                                                       FARMINGTON HILLS    MI     48331‐2028

AMY POWELL       19411 NORTHROP ST                                                                                   DETROIT            MI      48219‐5503
AMY PRICE        5650 PINE VIEW DR                                                                                   YPSILANTI          MI      48197‐8935
AMY QUINONES     3451 BROOKHOLLOW DR NE                                                                              ROCKFORD           MI      49341‐9231
AMY QUITSCHAU    2132 W NATIONAL AVE APT 2                                                                           MILWAUKEE          WI      53204
AMY R CANTRELL   740 GREENVILLE NASHVILLE RD                                                                         GREENVILLE         OH      45331‐9530
AMY R HAMILTON   1900 JEFFERSON ST                                                                                   GADSDEN            AL      35904
AMY R PATTON     1149 DUNAWAY ST APT 1                                                                               MIAMISBURG         OH      45342
AMY R POPESCU    5546B SHAFFER RD NW                                                                                 WARREN             OH      44481
AMY RABATIN      11004 HARTLAND RD                                                                                   FENTON             MI      48430‐2576
AMY REX          PO BOX 260204                                                                                       MARTIN CITY        MT      59926‐0204
AMY RHODY        12848 SHENANDOAH TRAIL                                                                              PLAINFIELD         IL      60585‐4700
AMY RICH         122 MARLBANK DR                                                                                     ROCHESTER          NY      14612‐3320
AMY RICHARDSON   8036 WINSTON LN                                                                                     FORT WAYNE         IN      46804‐5778
AMY RINGHISER    2324 MCDONALD RD SW                                                                                 LANCASTER          OH      43130‐9614
AMY ROBINSON     1221 OBYRNE ST                                                                                      HENDERSON          KY      42420‐4274
AMY ROOT         2914 ARIZONA AVE                                                                                    FLINT              MI      48506‐2440
AMY ROSIE        2146 S WAVERLY RD                                                                                   EATON RAPIDS       MI      48827‐9737
AMY ROY          4350 CLIFFORD RD                                                                                    BRIGHTON           MI      48116‐7702
AMY RUSSO        43000 12 OAKS CRESCENT DR APT 5066                                                                  NOVI               MI      48377‐3434
AMY S BULLION    4038 CRAWFORD TOMS RUN                                                                              BROOKVILLE         OH      45309
AMY S JEFFREY    8510 HILLSBORO PL                                                                                   SUGAR LAND         TX      77479‐6454
AMY S JONES      1414 4TH ST                                                                                         BAY CITY           MI      48708‐6134
AMY SANBORN      # 37                                 12993 LITTLE HAYDEN CIRCLE                                     HAGERSTOWN         MD      21742‐2512
AMY SCHEMPP      33972 190TH ST                                                                                      HAMILTON           MO      64644‐7202
AMY SCHILL       1445 HENN HYDE RD NE                                                                                WARREN             OH      44484‐1200
AMY SCHNEIDER    7516 HOLLYBROOK RD                                                                                  GLEN BURNIE        MD      21061‐3810
AMY SCHNEIRLA    10751 CANADA WAY                                                                                    BIRCH RUN          MI      48415‐8471
AMY SERLEY       2112 STALLION RD                                                                                    CANTONMENT         FL      32533‐7577
AMY SHANKS       2318 GROESBECK AVE                                                                                  LANSING            MI      48912‐3451
AMY SHIEMKE
AMY SHIEMKE      33840 GRAND RIVER AVE                                                                               FARMINGTON          MI     48335‐3430
AMY SINGISER     59 HARRIS ROAD APT 218                                                                              TROY                NY     12182
AMY SKAGGS       3012 HOLBEN CT                                                                                      LAKE ORION          MI     48360‐1671
AMY SMALLIDGE    812 MOORE ST                                                                                        DAVISON             MI     48423‐1110
AMY SMITH        1736 ELDRIDGE DR                                                                                    TROY                MI     48083‐2019
AMY SMITH        6023 W TAYLOR RD                                                                                    MUNCIE              IN     47304‐4767
AMY SOHA         6160 CAMPBELL BLVD                                                                                  LOCKPORT            NY     14094‐9283
AMY SPRINGER     C/O BRAYTON PURCELL                  222 RUSH LANDING RD                                            NOVATO              CA     94948‐6169
AMY STAGNER      2151 PORTSIDE DR                                                                                    LAKE VIEW           NY     14085‐9687
AMY STAPLETON    2540 SHORE BLVD APT 17H                                                                             ASTORIA             NY     11102‐3951
AMY SUTHERLAND   7095 SMITH RD                                                                                       GAINES              MI     48436‐9750
AMY TALERICO     11331 N GENESEE RD                                                                                  CLIO                MI     48420‐9754
AMY TEMPLE       3716 STILLWAGON RD                                                                                  WEST BRANCH         MI     48661‐9693
AMY TENHARMSEL   668 146TH AVE                                                                                       CALEDONIA           MI     49316‐9210
AMY THERIAULT    PO BOX 75                                                                                           MILFORD             MI     48381‐0075
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Name                           Address1                      Address2                  Address3      Address4               City               State   Zip
AMY THOMPSON                   4841 ESPERANZA WAY                                                                           N LAS VEGAS         NV     89031‐5568
AMY THOMPSON                   16147 SNOWDEN                                                                                DETROIT             MI     48235‐4273
AMY TOMLIN                     1990 BEAVER CREEK DR                                                                         ROCHESTER           MI     48307‐6020
AMY TROUTMAN                   1002 S LAKE DR                                                                               SYRACUSE            IN     46567‐8484
AMY V ARTHUR‐GREEN             1512 TACOMA ST                                                                               DAYTON              OH     45410‐2438
AMY VALENTINE                  1919 2ND ST                                                                                  WYANDOTTE           MI     48192‐3942
AMY VAUGHN                     1826 STATE HIGHWAY F                                                                         CARDWELL            MO     63829‐7102
AMY VINSON                     3211 KILBORNE DR                                                                             STERLING HEIGHTS    MI     48310‐6031
AMY W USRY                     2008 S 11TH ST                                                                               GADSDEN             AL     35904‐4704
AMY WASCHA                     2405 PEMBROKE RD                                                                             BIRMINGHAM          MI     48009‐7510
AMY WAUN                       2599 N BALDWIN RD                                                                            OXFORD              MI     48371‐2101
AMY WEBB                       3693 E 154TH ST               DOWNSTAIRS                                                     CLEVELAND           OH     44120‐4940
AMY WELLS                      35 BURLINGTON AVE                                                                            DAYTON              OH     45403‐1119
AMY WHITE                      11480 PORTER PIKE                                                                            OAKLAND             KY     42159‐8718
AMY WHITEMAN                   4641 COBDEN LN                                                                               CLARKSTON           MI     48346‐3605
AMY WILKS                      PO BOX 1286                                                                                  CLARKSTON           MI     48347‐1286
AMY WILSON                     411 2ND AVE                                                                                  PONTIAC             MI     48340‐2824
AMY WISSING                    264 PICARDY LN                                                                               BOLINGBROOK          IL    60440‐4529
AMY WOFSY                      15 GARFIELD AVE APT 305                                                                      AVON BY THE SEA     NJ     07717‐1405
AMY WRIGHT                     625 BASIL ST                                                                                 SPRINGBORO          OH     45066‐1005
AMY WRIGHT                     45855 GLEN CT                                                                                MACOMB              MI     48044‐4223
AMY YAMBRICK                   3117 CHICAGO BLVD                                                                            FLINT               MI     48503‐3474
AMY YARMUTH                    5872 HIBBARD ROAD                                                                            CORUNNA             MI     48817‐9314
AMY YOUNG                      23 ANN ST                                                                                    OSSINING            NY     10562‐3209
AMY ZASTOUPIL                  8109 W US HIGHWAY 14                                                                         JANESVILLE          WI     53548‐8605
AMY ZAZZARA                    17122 BROCKPORT HOLLEY RD     RT 31                                                          HOLLEY              NY     14470‐9709
AMY ZURAWSKI                   14209 RANDALL DR                                                                             STERLING HTS        MI     48313‐3560
AMY, ALICE S                   1383 IVA ST                                                                                  BURTON              MI     48509‐1526
AMY, CHARLES D                 6043 REID RD                                                                                 SWARTZ CREEK        MI     48473‐9459
AMY, DEBRA S                   4240 EASTPORT DR                                                                             BRIDGEPORT          MI     48722‐9607
AMY, ERVIN A                   13717 S BUDD RD                                                                              BURT                MI     48417‐9445
AMY, JACK L                    877 WOODLAND AVE                                                                             PONTIAC             MI     48340‐2567
AMY, LARRY J                   9461 BUZZEL RD                                                                               ONAWAY              MI     49765‐8749
AMY, MICHAEL L                 240 MARINA CT UNIT 29                                                                        WATERFORD           WI     53185‐4477
AMY, SCOTT T                   5311 OAKTREE DR                                                                              FLINT               MI     48532‐3337
AMY, SUSAN L                   9461 BUZZEL RD                                                                               ONAWAY              MI     49765‐8749
AMYE MOSLEY                    5253 KENSINGTON AVE                                                                          DETROIT             MI     48224‐2621
AMYE PALMER                    533 N 3RD ST                                                                                 BANNING             CA     92220‐4676
AMYLIN PHARMACEUTICALS         9360 TOWNE CENTRE DRIVE                                                                      SAN DIEGO           CA     92121
AMYLIN PHARMACEUTICALS, INC.   LOY RUSSELL                   9360 TOWNE CENTRE DRIVE                                        SAN DIEGO           CA     92121
AMYOTTE, RAY W                 1310 S JACKSON ST                                                                            BAY CITY            MI     48708‐8066
AMYOTTE, THOMAS E              214 GREEN ST                                                                                 LOCKPORT            NY     14094‐2728
AMYS, CAROL J                  8671 VILLA LN                                                                                WARREN              MI     48093‐5566
AMYUNI, CAROLE F               8118 FARNUM AVE                                                                              WARREN              MI     48093‐2884
AMYX, CORTIS                   3259 RAVENWOOD RD                                                                            FAIRBORN            OH     45324‐2227
AMYX, DANNY D                  3578 WINSTON CHURCHILL DR                                                                    DAYTON              OH     45432‐2233
AMYX, ERIC L                   9149 ROLLING GREENS TRAIL                                                                    MIAMISBURG          OH     45342‐5342
AMYX, JAMES W                  9881 OAK WOODS RD                                                                            RUSSELLVILLE        OH     45168‐9721
AMYX, MICHELLE D               1309 US ROUTE 68 S                                                                           XENIA               OH     45385‐7628
AMYX, RICKEY B                 305 MINERAL ST                                                                               POTOSI              MO     63664
AMYX, TERRY L                  1309 US ROUTE 68 S                                                                           XENIA               OH     45385‐7628
AMYX, TERRY N                  HC 62 BOX 1120                                                                               SALYERSVILLE        KY     41465‐9200
AMZIRE SIMS                    2508 CASTLE DR                                                                               FORT WAYNE          IN     46816‐4039
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Name                               Address1                            Address2                         Address3                Address4                  City               State Zip
AN CADILLAC OF WPB, LLC            JAMES BENDER                        2101 45TH ST                                                                       WEST PALM BEACH     FL 33407‐3296

AN CHEVROLET ARROWHEAD INC         NORLING KOLSRUD SIFFERMAN & DAVIS   SUITE 690‐NATIONAL BANK PLAZA,                                                     PHOENIX            AZ   85012
                                   P.L.C.                              3101 NORTH CENTRAL AVENUE
AN CHEVROLET‐ARROWHEAD, INC.       TODD MAUL                           9055 W BELL RD                                                                     PEORIA             AZ   85382‐3715
AN COOKE MANUFACTURING COMPANY     53 SHEEHAN RD                                                                                HEIDELBERG WEST VI 3081
PROP                                                                                                                            AUSTRALIA
AN CORPUS CHRISTI CHEVROLET, LP    DANIEL AGNEW                        6602 S PADRE ISLAND DR                                                             CORPUS CHRISTI     TX   78412‐4902
AN CORPUS CHRISTI CHEVROLET, LP    DANIEL AGNEW                        6650 S PADRE ISLAND DR                                                             CORPUS CHRISTI     TX   78412‐4902
AN CORPUS CHRISTI IMPORTS II       5214 EMBASSY DR                                                                                                        CORPUS CHRISTI     TX   78411‐4311
AN CORPUS CHRISTI IMPORTS II, LP   5214 EMBASSY DR                                                                                                        CORPUS CHRISTI     TX   78411‐4311
AN DANG                            986 PEPPERWOOD TRL                                                                                                     NORCROSS           GA   30093‐4764
AN MOTORS OF DALLAS, INC.          ATT: ARVEL RODGERS                  6411 E NORTHWEST HWY                                                               DALLAS             TX   75231
AN MOTORS OF DALLAS, INC.          15051 E BELTWOOD PKWY                                                                                                  ADDISON            TX   75001‐3716
AN MOTORS OF DALLAS, INC.          ARVEL RODGERS                       6411 E NORTHWEST HWY                                                               DALLAS             TX   75231‐8007
AN MOTORS OF DALLAS, INC.          DANIEL AGNEW                        4747 LYNDON B JOHNSON FWY                                                          DALLAS             TX   75244‐5909
AN TA                              1714 COLDSTONE DR                                                                                                      FRISCO             TX   75034‐2644
AN THAI                            661 HAMLET RD                                                                                                          AUBURN HILLS       MI   48326‐3523
AN TRAN                            1510 WOODCREEK BLVD                                                                                                    ANN ARBOR          MI   48104‐4269
AN VUONG                           37672 ADRIAN DR                                                                                                        STERLING HEIGHTS   MI   48310‐4008
AN WRIGHT                          404 E MOLLOY RD                                                                                                        SYRACUSE           NY   13211‐1642
AN, CHONG C                        3601 N DONCASTER CT APTU12                                                                                             SAGINAW            MI   48603
AN, FEI                            49618 S GLACIER                                                                                                        NORTHVILLE         MI   48168‐6828
AN, MYOUNG J                       6104 HOLLY HILL LN                                                                                                     WEST CHESTER       OH   45069‐6654
AN‐TON CHEVROLET PONTIAC BUICK     280 HYATT CREEK RD                                                                                                     WAYNESVILLE        NC   28786‐4535
ANA ABRAMOVIC                      10365 LORETO RIDGE DR                                                                                                  KIRTLAND           OH   44094‐9548
ANA ACEVEDO                        21130 WILMORE AVE                                                                                                      EUCLID             OH   44123‐2822
ANA ALLIANCE FOR FAMILY            C/O ASSOC OF NATL ADVERTISERS       708 3RD AVE 33RD FLOOR                                                             NEW YORK           NY   10017
ENTERTAINMENT
ANA AMIL                           5428 SW 131ST CT                                                                                                       MIAMI              FL   33175‐6252
ANA AND CHARLES NEMEC              3370 OLIVIA COURT                                                                                                      CUMMING            GA   30041
ANA ANDINO                         PO BOX 35010                                                                                                           DETROIT            MI   48235‐0010
ANA B CORTINAS                     1320 N. ELMIRA ST                                                                                                      ANAHEIM            CA   92801
ANA BEBEK                          15431 DEVONSHIRE LN                                                                                                    ORLAND PARK        IL   60462‐6736
ANA BOJORQUEZ                      216 N OLIVE AVE                                                                                                        RIALTO             CA   92376
ANA BRIGANTI                       HC 5 BOX 92416                                                                                                         ARECIBO            PR   00612‐9546
ANA BRISAR                         736 E 241ST ST                                                                                                         EUCLID             OH   44123‐2341
ANA BROWN                          2821 HILLVALE COVE DR                                                                                                  LITHONIA           GA   30058‐1857
ANA BUENO                          307 RHINEFORTE DR                                                                                                      CHURCHVILLE        MD   21028‐1521
ANA CANNATARO                      14207 S NAPA CIR                                                                                                       PLAINFIELD         IL   60544‐6046
ANA CARTER                         7701 OLD MILITARY RD                                                                                                   BROWNSVILLE        TX   78520‐3941
ANA CHAVEZ
ANA CRUZ                           PO BOX 143195                                                                                                          ARECIBO            PR   00614
ANA CUTURIC                        4160 TIMBER RUN                                                                                                        RAVENNA            OH   44266‐9067
ANA CVJETKOVIC                     491 JEANNETTE DR                                                                                                       RICHMOND HTS       OH   44143‐2623
ANA DE TORRES                      520 BEECH AVE                                                                                                          GARWOOD            NJ   07027‐1408
ANA DELACRUZ                       1709 S LAUREL DR                                                                                                       MARION             IN   46953‐2906
ANA DRAVICZKI                      WASHINGTON 5037 JARDINES VALGART                                                             GUADALAJARA MEXICO

ANA DUENAS                         23038 PARK ST                                                                                                          DEARBORN           MI   48124‐2649
ANA FRIED                          74 CRESCENT AVE                                                                                                        PASSAIC            NJ   07055‐2436
ANA G MENDEZ UNIVERSITY SYSTEM     V P FOR FINANCIAL AFFAIRS           PO BOX 21345                     COLLECTION DEPARTMENT                             SAN JUAN           PR   00928‐1345
ANA GALLEGOS                       4746 BALBOA WAY                                                                                                        FREMONT            CA   94536‐6453
ANA GARZA                          PO BOX 235                                                                                                             BRIDGEPORT         MI   48722‐0235
                                     09-50026-mg             Doc 7123-3    Filed 09/24/10 Entered 09/24/10 15:05:32             Exhibit B
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Name                                 Address1                        Address2                         Address3     Address4                  City             State   Zip
ANA GUTIERREZ                        1534 COLEMAN RD                                                                                         KARNACK           TX     75661‐3302
ANA HARDMEIER                        LLLLLLL                                                                                                 MIAMI             FL     33131
ANA HEIST                            2336 DOGWOOD ST                                                                                         SIMI VALLEY       CA     93065‐2613
ANA ISABEL CORREA                    525 ADAMS CT                                                                                            GILROY            CA     95020
ANA JANI                             11035 DOOGAN AVE                                                                                        WILLOW SPGS        IL    60480‐1111
ANA JOHNSON                          8309 N ARMSTRONG AVE                                                                                    CLOVIS            CA     93619‐8648
ANA LAMBERTY                         956 YELLOWBIRD AVE                                                                                      DELTONA           FL     32725‐7450
ANA LAUBE                            OTTENSENER WEG 55                                                             BUXTEHUDE GERMANY 21614

ANA LECEA                            5218 CASBURY                                                                                            SAN ANTONIO      TX      78249‐1785
ANA LIRA                             656 N TRATT ST                                                                                          WHITEWATER       WI      53190‐2657
ANA LOPEZ                            13233 SW 13TH ST                                                                                        MIAMI            FL      33184‐1905
ANA M CLARK                          1507 SE 23RD TERRACE                                                                                    CAPE CORAL       FL      33990
ANA M THOMPSON                       529 TURNER ST.                                                                                          BROOKHAVEN       MS      39601
ANA MACHIN                           207 HALE STREET                                                                                         NEW BRUNSWICK    NJ      08901‐2907
ANA MARIA BAUSILI JUNYET             CTRA. MOJA, 14                  08720 ‐ VILAFRANCA DEL PENEDES
                                                                     (BARCELON
ANA MARIA MARROQUIN                  10586 TAMARACK AVE                                                                                      PACOIMA          CA      91331‐3043
ANA MARQUES                          101 HIGHLAND ST                                                                                         MILFORD          MA      01757‐1851
ANA MARTINEZ                         34 WALNUT AVE                                                                                           MASSENA          NY      13662‐2021
ANA MARTINEZ                         1102 ALEXANDRIA COURT                                                                                   RICHMOND         TX      77406‐2225
ANA MCCRORY
ANA MEDINA                           181 BALDWIN ST                                                                                          NEW BRUNSWICK    NJ      08901‐2929
ANA MILLIGAN                         9804 HENDERSON DR                                                                                       OKLAHOMA CITY    OK      73139‐5429
ANA MILOSIC                          6050 SEA PINES DR                                                                                       MENTOR           OH      44060‐8620
ANA MIRANDA                          4151 WESTERN ST                                                                                         DETROIT          MI      48210‐3509
ANA PINTO                            2647 BRAEBURN CIR                                                                                       ANN ARBOR        MI      48108‐2603
ANA QUINTANA                         13630 BOMBAY ST                                                                                         SAN FERNANDO     CA      91340‐1004
ANA RAMIREZ                          HC 5 BOX 6288                                                                                           AGUAS BUENAS     PR      00703‐9004
ANA RICHARD                          6241 GULLEY ST                                                                                          TAYLOR           MI      48180‐1285
ANA RODRIQUEZ                        1195 FULTON AVE APT 1C                                                                                  BRONX            NY      10456
ANA SANCHEZ                          368 E 237TH ST                                                                                          CARSON           CA      90745‐5801
ANA SAVOR                            1228 WEST CROOKED TREE DRIVE                                                                            COLUMBIA CITY    IN      46725‐8485
ANA SHARPE                           18876 NW 1ST ST                                                                                         PEMBROKE PINES   FL      33029‐3276
ANA SOOTS                            1603 WINDING CREEK TRL                                                                                  BROWNSBURG       IN      46112‐9252
ANA STARESINA                        13968 W SPRAGUE RD                                                                                      MIDDLEBRG HTS    OH      44130‐7145
ANA SUAREZ                           2 FRANKLIN CT APT C                                                                                     TARRYTOWN        NY      10591‐4430
ANA TAVAREZ                          795 COUNTY ROUTE 19                                                                                     ELIZAVILLE       NY      12523‐1106
ANA TAVAREZ MANNINO                  795 COUNTY ROUTE 19                                                                                     ELIZAVILLE       NY      12523‐1106
ANA TAVERAS‐TEJEDA                   2804 IVY GLEN CT                                                                                        GRAND PRAIRIE    TX      75052‐0411
ANA TORRES                           HC 1 BOX 13035                                                                                          RIO GRANDE       PR      00745‐9618
ANA TROLLHATTAN AB                   BOX 921                                                                       TROLLHATTAN S‐461 29
                                                                                                                   SWEDEN
ANA V LOPEZ                          13233 SW 13 STREET                                                                                      MIAMI             FL     33184‐1905
ANA VALDES                           PO BOX 6                                                                                                ASTORIA           NY     11106
ANA WALTERS                          11 IRVING PL                                                                                            SLEEPY HOLLOW     NY     10591‐2209
ANA WHITE                            127 E SUFFOLK CT                                                                                        FLINT             MI     48507‐4254
ANA‐AAAA JOINT POLICY COMMITTEE ON   ATTN: GENERAL COUNSEL           708 THIRD AVENUE                 33RD FLOOR                             NEW YORK          NY     10017
BROADCAST TALENT UNION RELATIONS

ANABA, MICHAEL R                     2510 N HIGHWAY 175 TRLR 430                                                                             SEAGOVILLE       TX      75159‐2030
ANABLE, DAVID J                      616 MANSFIELD LUCAS RD                                                                                  MANSFIELD        OH      44907‐1812
ANABLE, GLORIA J                     4043 NW 16TH ST APT 103                                                                                 LAUDERHILL       FL      33313‐5826
ANABLE, MARY L                       300 WOOD ST APT F7                                                                                      MANSFIELD        OH      44903‐2250
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Name                                   Address1                           Address2                      Address3   Address4               City              State   Zip
ANABLE, WALTER J                       9104 BERKSHIRE LN                                                                                  TAMPA              FL     33635‐1363
ANACKER, BRIAN J                       6479 WALTON ST                                                                                     INDIANAPOLIS       IN     46241‐1042
ANACKER, RICHARD D                     18110 N STATE ROAD 3N                                                                              EATON              IN     47338‐8958
ANACKER, SHEILA S                      2701 MINERAL POINT AVE                                                                             JANESVILLE         WI     53548‐2739
ANACKER, SIGUMOND R                    647 N ELM ST                                                                                       MUNCIE             IN     47305‐1417
ANACKER, WILLIAM Z.                    3410 W OXLEY DR                                                                                    MUNCIE             IN     47304‐5974
ANACLETO GOMEZ                         2929 HEMMETER RD                                                                                   SAGINAW            MI     48603‐2968
ANACLETO J GOMEZ                       2929 HEMMETER RD                                                                                   SAGINAW            MI     48603‐2968
ANACON INC                             10559 CITATION DR STE 300                                                                          BRIGHTON           MI     48116‐8399
ANACONDA‐DEER LODGE                    COUNTY TREASURER                   800 MAIN ST                                                     ANACONDA           MT     59711‐2950
ANACORTES AUTOMOTIVE                   2602 COMMERCIAL AVE                                                                                ANACORTES          WA     98221‐2732
ANADARKO PETROLEUM CORPORATION         STEVEN ALTUS                       1201 LAKE ROBBINS DRIVE                                         THE WOODLANDS      TX     77380

ANADELIA BRISENO                       1902 W RUNDLE AVE                                                                                  LANSING           MI      48910‐8752
ANADELL, CAROL L                       5923 S 33RD STREET                                                                                 GREENFIELD        WI      53221
ANADELL, PAUL J                        1151 ALFRED PL                                                                                     NEW RICHMOND      WI      54017‐2509
ANADIOTIS, SAM                         145 GRAYBARK LN                                                                                    AMHERST           OH      44001‐1807
ANAEKI PATRICIA ANN                    C/O EDWARD O MOODY P A             801 WEST 4TH STREET                                             LITTLE ROCK       AR      72201
ANAEKI, PATRICIA ANN                   MOODY EDWARD O                     801 W 4TH ST                                                    LITTLE ROCK       AR      72201‐2107
ANAGHA DANDEKAR                        3112 ROLLING GREEN CIR S                                                                           ROCHESTER HILLS   MI      48309‐1252
ANAGNOSTOU, KOSTAS G                   344 WESTCHESTER DR SE                                                                              WARREN            OH      44484‐2173
ANAGONYE, ALOYSIUS U                   PO BOX 5311                                                                                        WARREN            MI      48090‐5311
ANAHEIM CHEVROLET                      SIEVING MICHAEL M LAW OFFICES OF   1801 PARK COURT PL STE F101                                     SANTA ANA         CA      92701‐5015
ANAHEIM CHEVROLET                      PO BOX 25976                                                                                       ANAHEIM           CA      92825‐5976
ANAHEIM CONVENTION CENTER              800 W KATELLA AVE                                                                                  ANAHEIM           CA      92802‐3415
ANAHEIM HILLS PONTIAC GMC BUICK INC    2142 AUSTIN DR                                                                                     TROY              MI      48083‐2238

ANAHEIM HILLS PONTIAC‐GMC‐BUICK, INC. INTERCOMPANY

ANAHEIM HILLS SHELL                    400 S ANAHEIM HILLS RD                                                                             ANAHEIM           CA      92807‐4241
ANAHEIM HILTON/CA                      777 W CONVENTION WAY                                                                               ANAHEIM           CA      92802‐3425
ANAHEIM UNION HIGH SCHOOL                                                 501 N CRESCENT WAY                                                                CA      92801
ANAHID CASTLE                          3155 QUAIL RIDGE CIR                                                                               ROCHESTER HLS     MI      48309‐2726
ANAHUAC NORIEGA                        182 MELANIE BLVD                                                                                   IMLAY CITY        MI      48444‐1431
ANALDINO URBISCI                       7775 MONTICELLO DR                                                                                 WEST CHESTER      OH      45069‐3316
ANALGESIC HEALTHCARE                   PO BOX 21021                                                                                       TAMPA             FL      33622‐1021
ANALIA GODFREY                         4846 CARRINGTON DR                                                                                 ROCHESTER         MI      48306‐1496
ANALIL, ABEY K                         706 EDGEWOOD DR                                                                                    KELLER            TX      76248‐5470
ANALLA ERNESTO                         657 O BANEGAS                                                                                      LAS CRUCES        NM      88007
ANALLA, ARTHUR J                       2319 W RAMSEY AVE                                                                                  MILWAUKEE         WI      53221‐4905
ANALLA, LAURA A                        607 CEDAR DR N                                                                                     HUDSON            WI      54016‐1131
ANALLA, LAURA ANN                      607 CEDAR DR N                                                                                     HUDSON            WI      54016‐1131
ANALLA, MICHAEL A                      6997 S CARMEL DR                                                                                   FRANKLIN          WI      53132‐8694
ANALOG DEVICES INC                     1 TECHNOLOGY WAY                                                                                   NORWOOD           MA      02062‐2634
ANALOG POWER DESIGN INC                16220 HUDSON AVE                                                                                   LAKEVILLE         MN      55044‐8880
ANALOGY INC                            PO BOX 39000                                                                                       SAN FRANCISCO     CA      94139‐5797
ANALYSIS & ALIGNMENT SERVICES          1398 NORTH CT                                                                                      BRIGHTON          MI      48114‐9638
ANALYSIS & ALIGNMENT SERVICES INC      1398 NORTH CT                                                                                      BRIGHTON          MI      48114‐9638
ANALYSIS & ALIGNMENT SVCS INC          1398 NORTH CT                                                                                      BRIGHTON          MI      48114‐9638
ANALYSIS & DESIGN APPLICATION          60 BROADHOLLOW RD RM 2G                                                                            MELVILLE          NY      11747
ANALYSIS & DESIGN APPLICATION CO       60 BROADHOLLOW RD RM 2G                                                                            MELVILLE          NY      11747
ANALYSIS & DESIGN APPLICATION CO LTD   60 BROADHOLLOW RD                                                                                  MELVILLE          NY      11747‐2504
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Name                                    Address1                         Address2                         Address3            Address4                   City           State Zip
ANALYSIS & DESIGN APPLICATION CO., LTD. 60 BROADHOLLOW RD                                                                                                MELVILLE        NY 11747‐2504

ANALYSIS & DESIGN APPLICATION         CONTRACTS ADMINISTRATION           60 BROADHOLLOW RD                                                               MELVILLE       NY    11747‐2504
COMPANY, LTD.
ANALYSIS DESIGN/MELV                  60 BROADHOLLOW RD                                                                                                  MELVILLE       NY    11747‐2504
ANALYSIS GROUP                        111 HUNTINGTON AVE FL 10                                                                                           BOSTON         MA    02199‐7636
ANALYSIS GROUP INC                    111 HUNTINGTON AVE FL 10                                                                                           BOSTON         MA    02199‐7636
ANALYSIS REASEARCH PLANNING           ATTN: B. THOMAS FLORENCE           1220 19TH STREET NW              SUITE 700                                      WASHINGTON     DC    20036
CORPORATION (ARPC)
ANALYSTS INTERNATIONAL CORP           3252 UNIVERSITY DR STE 200                                                                                         AUBURN HILLS   MI    48326‐2787
ANALYSTS INTERNATIONAL CORP           3601 W 76TH ST                                                                                                     MINNEAPOLIS    MN    55435
ANALYSTS INTERNATIONAL CORPORATION    36257 TREASURY CTR                                                                                                 CHICAGO        IL    60694‐6200

ANALYSYS MASON                        GROUP CREDIT CONTROLLER            5 EXCHANGE QUAY                  MANCHESTER M5 3EF   UNITED KINGDOM GREAT
                                                                                                                              BRITAIN
ANALYSYS MASON LTD                    BUSH HOUSE NORTH WEST WING         ALDWYCH                                              LONDON GB WC2B 4PJ GREAT
                                                                                                                              BRITAIN
ANALYTIC SYST/MERRIL                  8888 LOUISIANA ST                                                                                                  MERRILLVILLE    IN   46410‐7153
ANALYTICA AB                          AURORUM 10                         977‐75 LULEA                     BOX 511             TABY S 183 25 SWEDEN
ANALYTICAL & ENVIRONMENTAL SERVICES   503 OAKDALE AVE                                                                                                    GLENCOE         IL   60022‐2180
INC
ANALYTICAL & ENVIRONMENTAL SVC        503 OAKDALE AVE                                                                                                    GLENCOE        IL    60022‐2180
ANALYTICAL ASSOC/DET                  19380 MOUNT ELLIOTT ST                                                                                             DETROIT        MI    48234‐2725
ANALYTICAL PROCESS SYSTEMS            1771 HARMON RD                                                                                                     AUBURN HILLS   MI    48326
ANALYTICAL SOLUTIONS AND              PROVIDERS                          1511 NEAVE ST                                                                   COVINGTON      KY    41011‐3323
ANALYTICAL SOLUTIONS AND PROVI        1511 NEAVE ST                                                                                                      COVINGTON      KY    41011‐3323
ANALYTICAL WEST INC                   387 MAGNOLIA AVE STE 103                                                                                           CORONA         CA    92879‐3308
ANALYTICAL WEST INC                   PMB 540                            387 MAGNOLIA AVE STE 103                                                        CORONA         CA    92879‐3308
ANALYTICS CORP                        PO BOX 25249                       10329 STONY RUN LN                                                              RICHMOND       VA    23260‐5249
ANALYTICS CORPORATION                 10329 STONY RUN LN                                                                                                 ASHLAND        VA    23005‐8129
ANALYTICS/RICHMOND                    8040 VILLA PARK DRIVE                                                                                              RICHMOND       VA    23228
ANAMAN, ANNETTE L                     113 S ALMONT ST                                                                                                    STANDISH       MI    48658
ANAMAN, DAVID O                       13686 SWAN CREEK ROAD                                                                                              HEMLOCK        MI    48626‐9798
ANAMAN, EMIL G                        113 S ALMONT ST                                                                                                    STANDISH       MI    48658‐9670
ANAMAN, JOYCE E                       1880 S FORDNEY RD                                                                                                  HEMLOCK        MI    48626‐9427
ANAMAN, JOYCE K                       4235 RIFLE RIVER TRAIL                                                                                             PRESCOTT       MI    48756‐9252
ANAMAN, NORMAN W                      5540 N THOMAS RD                                                                                                   FREELAND       MI    48623‐9200
ANAMAN, RICHARD R                     999 MIDLAND RD                                                                                                     BAY CITY       MI    48706‐9776
ANAMAN, SHIRLEY C                     5326 W 89TH ST                                                                                                     OAK LAWN       IL    60453‐1257
ANAMARIA VILLARREAL                   2022 INDIAN MEADOWS DR                                                                                             SAN ANTONIO    TX    78230‐0909
ANAND GOBERDHAN                       155 WOODBOROUGH WAY NW                                                                  EDMONTON AB T5Y 1N2
                                                                                                                              CANADA
ANAND GOBERDHAN                       155 WOODBOROUGH WAY NW             155 WOODBOROUGH WAY                                  EDMONTON AB T5Y 1N2
                                                                                                                              CANADA
ANAND NVH PRODUCTS P LTD              39TH KM STONE NH‐8 BEGUMPUR        KHATOLA INDSTRL AREA SECTOR 35                       GURGAON 122001 INDIA
                                                                                                                              INDIA
ANAND NVH PRODUCTS PRIVATE LTD        39 KM STONE NH 8                                                                        GURGAON HARYANA 122001
                                                                                                                              INDIA
ANAND NVH PRODUCTS PRIVATE LTD        39 KM STONE NH 8                   BEGUMPUR KHATOLA INDUSTRIAL                          GURGAON HARYANA IN
                                                                         AREA                                                 122001 INDIA
ANAND, GAURAV                         5405 VILLAGE PARK DR SE APT 2733                                                                                   BELLEVUE       WA    98006
ANAND, MATHAGOND S                    1850 BLORE HEATH                                                                                                   CARMEL         IN    46032‐7214
ANAND, SANJEEV                        57 EAGLEWOOD CIR                                                                                                   PITTSFORD      NY    14534‐1081
ANANDA RANGE‐GOWDA                    1920 GOLFVIEW DR                   APT 104                                                                         TROY           MI    48084‐3831
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Name                           Address1                        Address2               Address3         Address4               City              State   Zip
ANANDA SHIVASHANKAR            13742 STERLING OAKS DR                                                                         STERLING HTS       MI     48313‐4381
ANANI, MUBARAKA W              523 HOLLENCAMP AVE                                                                             DAYTON             OH     45427‐3010
ANANIA, FLORENCE M             1460 CHUKAR RDG                                                                                PALM HARBOR        FL     34683‐6456
ANANIAN, LUCAS G               17395 PARK ST                                                                                  LIVONIA            MI     48152‐2938
ANANIAN, LUKE A                10475 PIEDMONT DR                                                                              BRIGHTON           MI     48114‐7583
ANANIAN, LUKE ALLEN            10475 PIEDMONT DR                                                                              BRIGHTON           MI     48114‐7583
ANANIAN, VAHE S                5105 MEADOW VISTA CT                                                                           FLAGSTAFF          AZ     86001
ANANIAS THOMPSON               1324 E WAID AVE                                                                                MUNCIE             IN     47303‐2369
ANANICH, MARY ANN              53295 WHITBY WAY                                                                               SHELBY TOWNSHIP    MI     48316‐2749
ANANT K UPADHYAYA              2013 TRILLIUM COURT                                                                            CANONSBURG         PA     15317
ANANT KORADIA                  6315 MIDDLEBELT RD                                                                             W BLOOMFIELD       MI     48322‐2465
ANANTHA SONDOR                 1574 VALENTINE CT                                                                              CANTON             MI     48188‐1793
ANANTHAPADMANABH, COLUNDALUR   15 WHITE OAK DR                                                                                CALDWELL           NJ     07006‐4123
ANAPLE, MICHAEL F              74425 GOULD RD                                                                                 BRUCE TWP          MI     48065‐3177
ANAPLE, TIMOTHY J              1965 THORNBROOK TRAIL                                                                          TOLEDO             OH     43611‐1492
ANAPLE, TIMOTHY J              1965 THORNBROOK TRAIL           LOT 2                                                          TOLEDO             OH     43611
ANARIA STREET                  3616 SEAWAY DRIVE                                                                              LANSING            MI     48911‐1911
ANAS, DENNIS M                 236 E FAIR LN                                                                                  CENTENNIAL         CO     80121‐2272
ANAS, DENNIS M                 17090 E 107TH AVE                                                                              COMMERCE CITY      CO     80022‐9571
ANAS, SANDRA J                 485 VAQUERO LN                                                                                 SANTA BARBARA      CA     93111‐1935
ANASIEWICZ, LEONARDA T         2017 BIRCHWOOD DR                                                                              NORRISTOWN         PA     19401‐2016
ANASTACIA JOSKA                32 PROGRESS AVE                                                                                UNIONVILLE         CT     06085
ANASTACIA MARTIN               606 RIVERSHORE CT                                                                              EDGEWOOD           MD     21040‐3603
ANASTACIO BATREZ JR            2905 SE 6TH ST                                                                                 BLUE SPRINGS       MO     64014‐5107
ANASTACIO GODINA JR            221 N BALDWIN ST                                                                               BLUFFTON           IN     46714‐1702
ANASTACIO GUEREQUE JR          27658 PENSACOLA WAY                                                                            HAYWARD            CA     94544‐5024
ANASTACIO GUERRERO             367 RACKLEY RD                                                                                 HOHENWALD          TN     38462‐5508
ANASTACIO REIS                 503 WOODHAVEN DR                                                                               EDISON             NJ     08817‐3799
ANASTACIO TORRES               606 S WILLIAMS ST APT 810                                                                      ROYAL OAK          MI     48067‐2649
ANASTAS CONTROLS CO INC        PO BOX 23364                                                                                   BELLEVILLE          IL    62223‐0364
ANASTAS, JOHN F                6813 GARDE RD                                                                                  BOYNTON BEACH      FL     33472‐7311
ANASTASI, ALESIO               1241 RIDGE FIELD RUN                                                                           SCHERERVILLE       IN     46375‐1479
ANASTASI, ANTHONY
ANASTASI, DAVID P              1241 RIDGE FIELD RUN                                                                           SCHERERVILLE       IN     46375‐1479
ANASTASI, RONALD F             791 REMINGTON DR                                                                               N TONAWANDA        NY     14120‐2929
ANASTASI, ROSE M               44A GIBBONS CT                                                                                 NORTH              NY     14120‐2764
                                                                                                                              TONAWANDA
ANASTASIA BOURQUE              45311 GALWAY DR                                                                                NORTHVILLE        MI      48167‐2826
ANASTASIA BRANNIGAN            1004 MARCIE LN                                                                                 MILFORD           OH      45150‐2019
ANASTASIA DERONNE              22933 BRISTOL CT                                                                               BINGHAM FARMS     MI      48025‐4701
ANASTASIA DOZENKO              171 WASHINGTON AVE                                                                             MILLTOWN          NJ      08850‐1223
ANASTASIA FLORES               8051 KENSINGTON BLVD APT 83                                                                    DAVISON           MI      48423‐2295
ANASTASIA GUERRERO             204 MISSION HILLS AVENUE                                                                       TAMPA             FL      33617‐4831
ANASTASIA HARTMANN             FLURSTR 4                                                               99734 NORDHAUSEN
                                                                                                       GERMANY
ANASTASIA HOFFMAN              2723 101ST ST                                                                                  TOLEDO            OH      43611‐2006
ANASTASIA HRAZO                147 CLAREMONT ST                                                                               DEARBORN          MI      48124‐1305
ANASTASIA KICIAK               28625 WALKER AVE                                                                               WARREN            MI      48092‐4153
ANASTASIA MILIOS               3987 NOWAK DR                                                                                  STERLING HTS      MI      48310‐5326
ANASTASIA MYKYTENKO            4557 FIRESTONE ST                                                                              DEARBORN          MI      48126‐3064
ANASTASIA PRYJMA               21117 MASCH                                                                                    WARREN            MI      48091‐4653
ANASTASIA PRYJMA               21117 MASCH AVE                                                                                WARREN            MI      48091‐4653
ANASTASIA TADAJEWSKI           2296 HICKORY HOLW                                                                              BURTON            MI      48519‐1367
ANASTASIA, ANNA M              703 FAIRFAX PARK                                                                               HAMBURG           NY      14075
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Name                               Address1                          Address2                         Address3              Address4                    City              State   Zip
ANASTASIA, RICHARD D               738 LORETTA ST                                                                                                       TONAWANDA          NY     14150‐8718
ANASTASIADIS, THEANO               1097 WILLARD SE                                                                                                      WARREN             OH     44484‐4437
ANASTASIADIS, THEANO               1097 WILLARD AVE SE                                                                                                  WARREN             OH     44484‐4437
ANASTASIO DIAZ                     220 S FRANKLIN ST                                                                                                    SAINT LOUIS        MI     48880‐1739
ANASTASIO LISA                     766 PARADISE AVE                                                                                                     HAMDEN             CT     06514‐1509
ANASTASIO, CAROLYN R               2019 GOLDEN HILLS RD                                                                                                 LA VERNE           CA     91750‐1017
ANASTASIO, EDNA D                  1 HIGH GATE DRIVE                 HIGH GATE APARTMENTS             #119                                              EWING              NJ     08618
ANASTASIO, JOSEPH J                2019 GOLDEN HILLS RD                                                                                                 LA VERNE           CA     91750‐1017
ANASTASIOS J. MARIETTOS
ANASTASIOS KIAFOULIS               29148 GLENBROOK DR                                                                                                   FARMINGTN HLS     MI      48331‐2326
ANASTASIOS MAHRAMAS                2656 SOMERSET ST SE                                                                                                  WARREN            OH      44484‐4415
ANASTASIOS PERPERIDIS              8531 SLEEPY HOLLOW DR NE                                                                                             WARREN            OH      44484‐2049
ANASTASIOS PETSIS                  39443 DODGE PARK RD                                                                                                  STERLING HTS      MI      48313‐5052
ANASTASIOU, RIZOS A                STOMION (VIILAGE)                                                                        LARISA 40007 GREECE
ANASTASOFF, CODY
ANASTASOFF, GARY L                 7349 DOUGLAS RD                                                                                                      IDA                MI     48140‐9727
ANASTAZIA KRZYZEWSKI               6454 N SEYMOUR RD                                                                                                    FLUSHING           MI     48433‐1008
ANASTAZIA WALEK                    3509 RANSOMVILLE RD                                                                                                  RANSOMVILLE        NY     14131‐9602
ANASTAZJA SADUJEW                  125 DOVE COTE CT                                                                                                     WHITEHOUSE         NJ     08889‐3261
                                                                                                                                                        STATION
ANASTOS POULOS                     W129N6889 NORTHFIELD DR APT 134                                                                                      MENOMONEE FALLS    WI     53051‐0520

ANASTOSIOS KOLOKITHAS              8227 WOODBINE ST                                                                                                     DEARBORN HTS       MI     48127‐1351
ANATAILO SEPULVEDO                 2320 BAY RIDGE DR                                                                                                    AU GRES            MI     48703‐9483
ANATECH USA                        2947 WHIPPLE RD                                                                                                      UNION CITY         CA     94507‐1207
ANATOL DOWBNIA                     159 MINUTEMAN CIR                                                                                                    ALLENTOWN          NJ     08501‐1860
ANATOLE CRATEUR                    1822 ALVIS AVE                                                                                                       APOPKA             FL     32712‐2215
ANATOLE GRUZIN                     4719 PARKRIDGE DR                                                                                                    WATERFORD          MI     48329‐1646
ANATOLI DENLID                     2022 ROBERT T LONGWAY BLVD                                                                                           FLINT              MI     48503‐2197
ANATOLI PASALIDES                  P O BOX 43                                                                               PTOLEMAIDA 50200 GREECE
ANATOLIO MARTINEZ                  3476 LEROY LN                                                                                                        BAY CITY           MI     48706‐1643
ANATOLIY TROTSENKO                 WALDRANDGASSE 12C/3                                                                      KLAGENFURT AUSTRIA A‐9020

ANATOLIY TROTSENKO                 BIOMECHANICAL MACHINERY           SYSTEMS IM. U. EX. GMBH          WALDRANDGASSE 12C/3   A‐9020 KLAGENFURT
ANATOLIY TROTSENKO                 WALDRANDGASSE 12                  A‐9020 KLAGENFURT
ANATOLIY TROTSENKO BIOMECHANICAL   WALDRANDGASSE 12C/3               A‐9020 KLAGENFURT
MACHINE
ANATOLY KRISHTOP
ANATOLY PUCHLAK                    5409 SANDUSKY RD                                                                                                     PECK              MI      48466‐9787
ANATOMIC CLINICAL LA               2010 CHURCH ST STE 615                                                                                               NASHVILLE         TN      37203‐2031
ANATRA PHOTOGRAPHY                 ATTN: BRIAN ANATRA                2427 WHITNEY AVE                                                                   ONTARIO           OH      44906‐1197
ANATRA, JEFFREY C                  1670 FLAMINGO DR                                                                                                     FLORISSANT        MO      63031‐3431
ANATRA, MATTHEW G                  236 WIMBLEDON DR                                                                                                     MANSFIELD         OH      44906‐2451
ANATRA, MICHAEL G                  735 N HENRY ST                                                                                                       CRESTLINE         OH      44827‐1036
ANATRA, SAMUEL J                   720 GEARHART AVE                                                                                                     CRESTLINE         OH      44827‐1008
ANAYA EDDIE E (408700)             GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                        NORFOLK           VA      23510
                                                                     STREET, SUITE 600
ANAYA JR, MARCOS R                 201 CURTIS ST                                                                                                        BAY CITY          MI      48706‐3918
ANAYA JR, ROBERTO                  4270 WINTERCRESS DR NE                                                                                               ROCKFORD          MI      49341‐8911
ANAYA JULIO A                      ANAYA, JULIO A                    3333 LEE PKWY STE 600                                                              DALLAS            TX      75219‐5117
ANAYA LINDA                        ANAYA, LINDA                      5055 WILSHIRE BLVD STE 300                                                         LOS ANGELES       CA      90036‐6101
ANAYA VICTOR                       ANAYA, VITOR                      640 S SAN VICENTE BLVD STE 230                                                     LOS ANGELES       CA      90048‐4654
ANAYA VICTOR (442954)              BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                                      NORTHFIELD        OH      44067
                                                                     PROFESSIONAL BLDG
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Name                          Address1                        Address2                       Address3             Address4                 City              State   Zip
ANAYA'S AUTOMOTIVE REPAIR     5515 GAGE AVE                                                                                                BELL GARDENS       CA     90201‐1611
ANAYA, ARMANDO                12508 PASEO ALEGRE DR                                                                                        EL PASO            TX     79928‐5652
ANAYA, DAMIAN F.              3723 NEW HIGHWAY 96 W                                                                                        FRANKLIN           TN     37064‐4779
ANAYA, DANNY L                2001 EAST CENTRAL AVENUE                                                                                     TOLEDO             OH     43608‐2241
ANAYA, DANNY L                2001 E CENTRAL AVE                                                                                           TOLEDO             OH     43608‐2241
ANAYA, DAVID L                9150 GEISER RD                                                                                               HOLLAND            OH     43528‐9786
ANAYA, EDDIE E                GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                                  NORFOLK            VA     23510‐2212
                                                              STREET, SUITE 600
ANAYA, ENRIQUE L              1118 E PRINCETON ST                                                                                          ONTARIO            CA     91764‐2516
ANAYA, GEORGE
ANAYA, GUILLERMO              PO BOX 2235                                                                                                  ARLINGTON         TX      76004‐2235
ANAYA, JAIME                  47780 ADDARIO DR                                                                                             SHELBY TWP        MI      48315‐6825
ANAYA, JOSE L                 4835 PENDULA DR                                                                                              CARMEL            IN      46033‐3994
ANAYA, LINDA                  KROHN & MOSS ‐ CA,              5055 WILSHIRE BLVD STE 300                                                   LOS ANGELES       CA      90036‐6101
ANAYA, MANUELA G              4895 MACKINAW ROAD                                                                                           SAGINAW           MI      48603
ANAYA, ROGELIO                3723 NEW HIGHWAY 96 W                                                                                        FRANKLIN          TN      37064‐4779
ANAYA, SUZANNE K              47780 ADDARIO DR                                                                                             SHELBY TWP        MI      48315‐6825
ANAYA, VICTOR                 BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD, BEVAN                                                 NORTHFIELD        OH      44067
                                                              PROFESSIONAL BLDG
ANAYLST INTERNATIONAL         3601 W 76TH ST                                                                                               MINNEAPOLIS       MN      55435
ANAZCO TRUCKING COMPANY INC   405 UNION ST                                                                                                 JERSEY CITY       NJ      07304‐1211
ANBARASU, MUNIAPPAN           2583 FLORENCE DR                                                                                             ROCHESTER HILLS   MI      48309‐4095
ANBU SUBRAMANIYAN             1015 SADDLE TREE TRL                                                                                         IRVING            TX      75063‐4492
ANC ‐ ACCOUNTS PAYABLE        4680 CONFERENCE WAY S                                                                                        BOCA RATON        FL      33431‐4489
ANC CANADA (OVERNIGHT)        1000 MARTIN GROVE RD                                                                TORONTO ON M9W 4V8
                                                                                                                  CANADA
ANC RENTAL                                                    4361 BIRCH ST                                                                                  CA      92660
ANCA KING                     8290 SHADOW CREEK DR                                                                                         BETHLEHEM         GA      30620‐4720
ANCA, BRUCE R                 6536 TELLEA ST                                                                                               HUBER HEIGHTS     OH      45424‐3360
ANCA, BRUCE W                 6536 TELLEA ST                                                                                               DAYTON            OH      45424‐3360
ANCA, DONNA J                 764 S. WILLOW GLEN AVE.                                                                                      TIPP CITY         OH      45371‐1142
ANCA, DONNA J                 764 S WILLOW GLEN AVE                                                                                        TIPP CITY         OH      45371‐1142
ANCA, EDWARD                  7487 BARD RD                                                                                                 TIPP CITY         OH      45371‐8937
ANCA, EDWARD A                P.O BOX 535                                                                                                  BENTON            TN      37307‐0535
ANCA, EDWARD A                PO BOX 535                                                                                                   BENTON            TN      37307‐0535
ANCALADE DEBBRA S             ANCALADE, DEBBRA S              111 PARK WEST DR                                                             SCOTT             LA      70583‐8902
ANCALADE DEBBRA S             SARTALAMACCHIA, ALISON A        111 PARK WEST DR                                                             SCOTT             LA      70583‐8902
ANCALADE, DEBBRA S            DALTON LAW FIRM LLC             111 PARK WEST DR                                                             SCOTT             LA      70583‐8902
ANCANS, HELEN M               1721 LENORA TERR N W                                                                                         GRAND RAPIDS      MI      49504‐4944
ANCE HATFIELD                 C/O ROBERT W PHILLIPS           SIMMONS BROWDER GIANARIS       707 BERKSHIRE BLVD   PO BOX 521               EAST ALTON        IL      62024
                                                              ANGELIDES & BARNERD LLC
ANCE MC INTOSH JR             PO BOX 187                                                                                                   CRAB ORCHARD      KY      40419‐0187
ANCE, DONNA J                 450 JOHNSON RD                                                                                               SARANAC           MI      48881‐9547
ANCEL DE PRIEST               320 S DYER ST                                                                                                ODESSA            MO      64076‐1221
ANCEL KELLER                  9193 E COUNTY ROAD 600 S                                                                                     COATESVILLE       IN      46121‐9619
ANCEL, ADRIANNE S             G‐5076 W PASADENA                                                                                            FLUSHING          MI      48433
ANCEL, ALMON A                25011 87TH ST UNIT 4                                                                                         SALEM             WI      53168‐8949
ANCEL, DARWIN O               5072 SOUTH M 37 HIGHWAY                                                                                      HASTINGS          MI      49058‐9313
ANCEL, FLOYD C                5412 W WILSON RD                                                                                             OLIO              MI      48420‐9443
ANCEL, JAMES D                313 WARREN ST                                                                                                CHARLOTTE         MI      48813‐1966
ANCEL, JAY W                  409 N MCLELLAN ST                                                                                            BAY CITY          MI      48708‐6772
ANCEL, JEFFREY R              1288 N KNIGHT RD                                                                                             ESSEXVILLE        MI      48732‐9749
ANCEL, JOHN D                 PO BOX 163                                                                                                   BYRON             MI      48418‐0163
ANCEL, JOHN D                 10790 BEARD RD                                                                                               BYRON             MI      48418‐9788
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ANCEL, ROBERT L                    2127 COGGINS RD.                                                                                             PINCONNING         MI     48650
ANCELL, ERIC D                     4914 MCCONNELL EAST RD                                                                                       SOUTHINGTON        OH     44470‐9569
ANCELL, MARIAN                     PO BOX 22                                                                                                    BRISTOLVILLE       OH     44402‐0022
ANCELL, NORMAN C                   PO BOX 22                                                                                                    BRISTOLVILLE       OH     44402‐0022
ANCELL, PHILIP S                   8777 DIAGONAL RD                                                                                             STREETSBORO        OH     44241‐5801
ANCELL, ROBERT
ANCERIZ, JOSE S                    264 VAN BUREN ST                                                                                             NEWARK             NJ     07105‐2514
ANCHETA JR, RAYMUNDO M             4101 PARAMOUNT BLVD SPC 124                                                                                  PICO RIVERA        CA     90660‐6096
ANCHETA JR, RAYMUNDO MORA          4101 PARAMOUNT BLVD SPC 124                                                                                  PICO RIVERA        CA     90660‐6096
ANCHETA, JULIETA M                 2256 BENSLEY ST                                                                                              HENDERSON          NV     89044‐0185
ANCHOR ABRASIVE CO                 7651 185TH ST                                                                                                TINLEY PARK        IL     60477‐6267
ANCHOR ABRASIVES                   7651 185TH ST                                                                                                TINLEY PARK        IL     60477‐6267
ANCHOR AMORTIZATION                MELLON BANK N # A              ONE MELLON BANK CENTER                                                        PITTSBURGH         PA     15258‐0001
ANCHOR BAY EXPRESS                 PETER KOEHLER                  PO BOX 705                                                                    MOUNT CLEMENS      MI     49046‐0705
ANCHOR BAY EXPRESS LLC             DBA ANCHOR BAY EXPRESS         PO BOX 705                                                                    MOUNT CLEMENS      MI     48046‐1999
ANCHOR BAY PACKAGING CORP          30905 23 MILE RD                                                                                             CHESTERFIELD       MI     48047‐5702
ANCHOR BAY PACKAGING CORP
ANCHOR BAY PACKAGING CORPORATION   30905 23 MILE RD               ADMINISTRATIVE & TECH CENTER                                                  CHESTERFIELD       MI     48047‐5702

ANCHOR COMPUTER INC.               PAUL LACEY                     1900 NEW HWY                                                                  FARMINGDALE        NY     11735‐1509
ANCHOR CONVEYOR PRODUCTS INC       6830 KINGSLEY ST                                                                                             DEARBORN           MI     48126‐1941
ANCHOR CONVEYORS PRODUCTS INC      6830 KINGSLEY ST                                                                                             DEARBORN           MI     48126‐1941
ANCHOR ELECTRICAL CONTRACTOR INC                                  1514 EAST ELEVEN MILE                                                                            MI     48073

ANCHOR FAST/TROY                   ATTN: TOM HAGEN                DIVISION OF BUELL INDUSTRIES   26101 FARGO AVE.                               BEDFORD HEIGHTS   OH      44146
ANCHOR FAST/TROY                   850 STEPHENSON HWY STE 500     ATTN: JIM VAN INGEN                                                           TROY              MI      48083‐1174
ANCHOR FAST/TROY                   850 STEAM PLANT RD             ATTN: TOM HAGEN                                                               GALLATIN          TN      37066‐3319
ANCHOR FASTENERS                   DIV OF BUELL IND INC           PO BOX 2548                                                                   WATERBURY         CT      06723‐2548
ANCHOR GROUP                       4208 E RIVER RD                                                                                              MORAINE           OH      45439‐1459
ANCHOR INC                         645 WALNUT ST                                                                                                CINCINNATI        OH      45202
ANCHOR LAMINA                      PO BOX 90286                                                                                                 CHICAGO           IL      60696‐0286
ANCHOR LAMINA AMERICA INC          151 INDUSTRIAL DR STE A                                                                                      BEAVER DAM        WI      53916‐1196
ANCHOR LAMINA INC                  2590 OUELLETTE AVE                                                               WINDSOR ON N8X 1L7
                                                                                                                    CANADA
ANCHOR LAMINA INC                  1200 LAKESHORE RD E                                                              MISSISSAUGA CANADA ON L5E
                                                                                                                    1E9 CANADA
ANCHOR LINE ADVERTISING            917 RANDALL DR                                                                                               MOUNT PLEASANT    SC      29464‐4527
ANCHOR MOTOR FREIGHT INC           30800 TELEGRAPH RD STE 4900                                                                                  BINGHAM FARMS     MI      48025‐5710
ANCHOR MOTOR FREIGHT, INC.         21111 CHAGRIN BLVD                                                                                           CLEVELAND         OH      44122‐5305
ANCHOR MOTOR FREIGHT, INC.         30800 TELEGRAPH ROAD           SUITE 4900                                                                    BIRMINGHAM        MI      48010
ANCHOR MOTOR FREIGHT, INC.         30800 TELEGRAPH ROAD                                                                                         BIRMINGHAM        MI      48010
ANCHOR PACKAGING INC               2828 7TH AVE N                                                                                               BIRMINGHAM        AL      35203‐2917
ANCHOR PONTIAC BUICK GMC           DAVID WILLIAMS                 1 AUTOMOTIVE BLVD                                                             ELKTON            MD      21921‐6375
ANCHOR PONTIAC BUICK GMC           1 AUTOMOTIVE BLVD                                                                                            ELKTON            MD      21921‐6375
ANCHOR PONTIAC BUICK, INC.         DAVID WILLIAMS                 1 AUTOMOTIVE BLVD                                                             ELKTON            MD      21921‐6375
ANCHOR RUBBER CO                   AL JOHNSON                     235 S PIONEER BLVD                                                            MICHIGAN CITY     IN
ANCHOR RUBBER COMPANY              235 S PIONEER BLVD                                                                                           SPRINGBORO        OH      45066‐1180
ANCHOR SALES                       9 HUMPHREYS DR                                                                                               WARMINSTER        PA      18974‐1428
ANCHOR SALES ASSOCIATES INC        9 HUMPHREYS DR                                                                                               WARMINSTER        PA      18974‐1428
ANCHOR SCIENTIFIC INC              PO BOX 378                                                                                                   LONG LAKE         MN      55356‐0378
ANCHOR SCIENTIFIC, INC             480 TAMARACK AVE                                                                                             LONG LAKE         MN      55356‐9601
ANCHOR STEEL LLC
ANCHOR TEXTILES                    DIV OF WORKS WEAR CORP         636 EVANS AVE                                     TORONTO CANADA ON M8W
                                                                                                                    2W6 CANADA
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Name                                 Address1                          Address2                Address3               Address4               City             State   Zip
ANCHOR TOOL & DIE                    MIKE MANSELL X 474                11830 BROOKPARK RD                                                    FRANKSVILLE       WI
ANCHOR TOOL & DIE CO                 MIKE MANSELL X 474                11830 BROOKPARK RD                                                    FRANKSVILLE       WI
ANCHOR TOOL & DIE CO                 11830 BROOKPARK RD (PL)                                                                                 CLEVELAND         OH     44130
ANCHOR TOOL/CLEVLAND                 12200 BROOKPARK RD                                                                                      CLEVELAND         OH     44130‐1146
ANCHOR TOOLING/CLEVE                 11830 BROOKPARK RD                ATTN: JOE OSTER                                                       CLEVELAND         OH     44130‐1103
ANCHOR TRUCKING INC                  56280 LITTLE CAPTINA RD                                                                                 POWHATAN POINT    OH     43942‐9759

ANCHOR WIPING CLOTH COMPANY          3855 E OUTER DR                                                                                         DETROIT           MI     48234‐2936
ANCHOR WIPING CLOTH INC              3855 E OUTER DR                   PO BOX 14577                                                          DETROIT           MI     48234‐2936
ANCHOR, TERRY
ANCHORAGE AUTO & ELECTRIC            7015 OLD SEWARD HWY                                                                                     ANCHORAGE         AK     99518‐2279
ANCHORAGE AUTO & ELECTRIC #2         1206 E 73RD AVE                                                                                         ANCHORAGE         AK     99518‐2374
ANCHORAGE CAPITAL MASTER OFFSHORE C/O ANCHORAGE ADVISORS LLC           ATTN: DAN ALLEN         610 BROADWAY, 6TH FL                          NEW YORK          NY     10012
LTD
ANCHORAGE SCHOOL DISTRICT                                              1301 LABAR ST                                                                          AK      99515
ANCHORS PAUL & GERALDINE             4557 WOODHURST DR APT 7                                                                                 YOUNGSTOWN       OH      44515‐3729
ANCIC, MARK J                        2434 CLAYWARD DR APT 1                                                                                  BURTON           MI      48509‐1000
ANCIC, PAUL B                        5192 BERNEDA DR                                                                                         FLINT            MI      48506‐1588
ANCIC, SAMUEL J                      6183 GREENVIEW DR                                                                                       BURTON           MI      48509‐1314
ANCIEL EVANS                         PO BOX 307                                                                                              WELLSTON         OK      74881‐0307
ANCIENT LANDMARK # 28                403 CHESTNUT ST                                                                                         BOWLING GREEN    KY      42101‐1735
ANCIL FREDRICK                       RT #2 BOX 80 CANBY LANE                                                                                 CORINTH          KY      41010
ANCIL LEE                            11 ZEEK SMITH RD                                                                                        PINEVILLE        KY      40977‐8496
ANCIL PERKINS                        3255 TULIP DR                                                                                           INDIANAPOLIS     IN      46227‐7723
ANCIL ROBERTSON                      1006 WOODVIEW AVE SW                                                                                    WARREN           OH      44485‐3354
ANCIL STRICKLIN                      35916 JAY DR                                                                                            CUSTER PARK      IL      60481‐8447
ANCIL, DENNIS E                      1447 VERMONT ST                                                                                         SAGINAW          MI      48602‐1772
ANCIL, EDWARD M                      1870 E OLD KOKOMO RD                                                                                    MARION           IN      46953‐6110
ANCIL, FRANCES P                     728 NORTH BARCLAY                                                                                       FAIRMOUNT        IN      46928‐1211
ANCIL, FRANCES P                     1440 E. 800 S.                                                                                          FAIRMOUNT        IN      46928‐9709
ANCIL, JAMES A                       1931 OLD WALNUT LN                                                                                      JEFFERSON CITY   TN      37760‐5307
ANCIL, JAMES R                       PO BOX 404                                                                                              NORTH WEBSTER    IN      46555‐0404
ANCIL, JOSEPH A                      613 CASSVILLE RD                                                                                        KOKOMO           IN      46901‐5904
ANCIL, MICHAEL                       4710 E FROST RD                                                                                         WEBBERVILLE      MI      48892‐8201
ANCIL, RICK A                        PO BOX 102                                                                                              CONVERSE         IN      46919‐0102
ANCIL, TODD M                        4710 E FROST RD                                                                                         WEBBERVILLE      MI      48892‐8201
ANCIL, TODD MICHEAL                  4710 E FROST RD                                                                                         WEBBERVILLE      MI      48892‐8201
ANCILLA COLLEGE                      PO BOX 1                                                                                                DONALDSON        IN      46513‐0001
ANCIRA GMC TRUCKS AND MOTORHOMES, ERNESTO ANCIRA                       30500 INTERSTATE 10 W                                                 BOERNE           TX      78006‐9250
INC.
ANCIRA JR, PETER                     3625 HOGARTH AVE                                                                                        FLINT             MI     48532‐5233
ANCIRA MOTOR CO/RV DIV.              RT. 4 (I10)                                                                                             BOERNE            TX     78006
ANCIRA PONTIAC BUICK GMC             30500 INTERSTATE 10 W                                                                                   BOERNE            TX     78006‐9250
ANCIRA WINTON CHEVROLET, INC./ALAMO 6111 BANDERA RD                                                                                          SAN ANTONIO       TX     78238‐1643
RENT‐A‐CAR
ANCIRA, ANGELITA                     506 W TOBIAS ST                                                                                         FLINT            MI      48503‐3918
ANCIRA, BALDEMAR R                   1109 SAN VICENTE DR                                                                                     BAKERSFIELD      CA      93307‐4723
ANCIRA, REYNALDO S                   2035 KINGSWOOD DR                                                                                       FLINT            MI      48507‐3522
ANCIRA, SAMUEL S                     1559 N CHEVROLET AVE                                                                                    FLINT            MI      48504‐3166
ANCIRA‐WINTON CHEV/GE FLEET SERVICES 3 CAPITAL DR                                                                                            EDEN PRAIRIE     MN      55344‐3890

ANCIRA‐WINTON CHEVROLET/CITICAPITAL 2312 E TRINITY MILLS RD                                                                                  CARROLLTON        TX     75006

ANCKER‐JOHNSON, BETSY                3502 MOUNT BONNELL RD                                                                                   AUSTIN            TX     78731‐5829
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ANCLAM, CHRISTINE              705 CAROL STREET                APT. A                                                            CLINTON               WI     53525
ANCLAM, CINDY B                7928 S BUTTERFLY RD                                                                               BELOIT                WI     53511
ANCLAM, ROGER B                7928 S BUTTERFLY RD                                                                               BELOIT                WI     53511‐8909
ANCLARD, MANUEL L              1437 CONGRESS ST                                                                                  NEW ORLEANS           LA     70117‐5607
ANCLE ROBINSON                 2237 LA GRANGE RD                                                                                 DAYTON                OH     45431‐3159
ANCLE SERGENT                  55640 JEWELL RD                                                                                   SHELBY TWP            MI     48315‐1041
ANCO CHEMICALS LTD             85 MALMO CRT                    PO BOX 2 COMPARTMENT 13                 MAPLE ON L6A 1R4 CANADA

ANCONA PAOLO                   VIA BONCOMPAGNI 6                                                       187 ROMA RM ITALY
ANCONA PAOLO BONTEMPI ROMANA   VIA BONCOMPAGNI 6                                                       187 ROMA RM ITALY
ANCONA, ALBERT W               8000 FLAGSTAFF ST                                                                                 COMMERCE TWP          MI     48382‐2329
ANCONA, BIAGIO J               22651 E 12 MILE RD                                                                                SAINT CLAIR SHORES    MI     48081‐2507

ANCONA, FILIPPA                30556 HARPER AVE APT A          VAL MAR MANOR APTS                                                ST CLAIR SHORES      MI      48082‐1903
ANCONA, FRANK P                1292 MICHAEL DR                                                                                   WESTLAND             MI      48186‐5509
ANCONA, FRANK PETER            1292 MICHAEL DR                                                                                   WESTLAND             MI      48186‐5509
ANCONA, GASPER A               20031 CHALON ST                                                                                   ST CLAIR SHRS        MI      48080‐2229
ANCONA, JOHN A                 50448 CHIEF DR                                                                                    MACOMB               MI      48044‐6317
ANCONA, PETER S                7103 EVA DR NE                                                                                    ROCKFORD             MI      49341‐9316
ANCOR INC                      1911 WOODSLEE DR                                                                                  TROY                 MI      48083‐2236
ANCRUM, GENE H                 1422 AMBER LN                                                                                     CHARLESTON           SC      29407‐4709
ANCRUM, MELODY D               2486 BIRKHALL WAY                                                                                 LAWRENCEVILLE        GA      30043
ANCRUM, SANDRA                 330 W OAKLAND ST                                                                                  TOLEDO               OH      43608‐1061
ANCULEWICZ, ROSE MARIE F       4200 W UTICA RD APT 116                                                                           SHELBY TOWNSHIP      MI      48317‐4767
ANCULEWICZ, ROSE MARIE F       4200 W UTICA RD                 APT 116                                                           SHELBY TOWNSHIP      MI      48317‐4767
ANDA R JOHNSON                 359 ELBERT ST                                                                                     GADSDEN              AL      35901‐9236
ANDACHTER, BRUCE E             19707 E 14TH ST N                                                                                 INDEPENDENCE         MO      64056‐1302
ANDALORA, JANET C              306 GROVEVIEW LN                                                                                  SENECA               SC      29672‐0790
ANDALORA, MICHAEL J            306 GROVEVIEW LN                                                                                  SENECA               SC      29672
ANDALUZ, CECILIA               1099 QUEENSGATE DR.                                                                               SMYRNA               GA      30082‐6400
ANDALUZ, ROBERT                1099 QUEENSGATE DR SE                                                                             SMYRNA               GA      30082
ANDAMASARIS, WILLIAM T         1231 NORTH RD APT 308                                                                             NILES                OH      44446‐2220
ANDAMIOS ATLAS SA DE CV        RIO LERMA # 5 COL SAN JOSE      TALCOXPAN                               TALCOXPAN MEXICO
ANDARY, DONALD S               9331 VALETTA DR                                                                                   TEMPERANCE            MI     48182‐3312
ANDAVERDE JR, FEDERICO         1624 RIO DE JANEIRO ST                                                                            EDINBURG              TX     78539‐7636
ANDAYA, MARILOU T              4615 SOLOMON CT                                                                                   YPSILANTI             MI     48197‐6653
ANDAZOLA, MARGARET             2546 SIERRA MEADOW CT.                                                                            SAN JOSE              CA     95116
ANDCO, INC.                    JOHN ANDERSON                   170 AMARAL ST                                                     RIVERSIDE             RI     02915‐2223
ANDE ROONEY
ANDEA, LEO G                   3971 DRYDEN RD                                                                                    DRYDEN                MI     48428‐9708
ANDEAN MOTOR CO.               JAMES OTWELL                    527 ATLANTA RD                                                    CUMMING               GA     30040‐2701
ANDEAN MOTOR CO.               527 ATLANTA RD                                                                                    CUMMING               GA     30040‐2701
ANDEBRHAN, VANESSA D           5800 OAKDALE RD SE UNIT 123                                                                       MABLETON              GA     30126‐5770
ANDEC MFG LTD                  124 SKYWAY AVE                                                          REXDALE CANADA ON M9W
                                                                                                       4Y9 CANADA
ANDEL BRIAN I                  DBA A & B ELECTRIC COMPANY      PO BOX 40635                                                      AUSTIN               TX      78704‐0011
ANDEL JR, JOHN L               109 CORNERSTONE AVE                                                                               WELLINGTON           OH      44090‐1182
ANDEL, PAUL J                  7992 SW 85TH TER                                                                                  GAINESVILLE          FL      32608‐5792
ANDEL, RONALD M                182 CUIVRE PARC                                                                                   TROY                 MO      63379‐5403
ANDEL, SHARON                  182 CUIVRE PARC                                                                                   TROY                 MO      63379‐5403
ANDELEAN, CHRISTOPHER T        37160 CURWOOD DR                                                                                  STERLING HTS         MI      48310‐3513
ANDELEAN, DENIS J              56307 NICKELBY S                                                                                  SHELBY TWP           MI      48316‐5504
ANDELIA GARCIA                 5047 RIVER RIDGE DR                                                                               LANSING              MI      48917‐1356
ANDELLO, MARGARET E            56 TOWNSEND                                                                                       GIRARD               OH      44420‐1859
                            09-50026-mg            Doc 7123-3    Filed 09/24/10 Entered 09/24/10 15:05:32         Exhibit B
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Name                        Address1                       Address2                        Address3   Address4                City              State   Zip
ANDELLO, MARGARET E         56 TOWNSEND AVE                                                                                   GIRARD             OH     44420‐1859
ANDELMAN, MARGARET D        3325 BURNING TREE LN                                                                              GARLAND            TX     75042‐4802
ANDEN, DENNIS L             2211 S TERRACE ST                                                                                 JANESVILLE         WI     53546‐6121
ANDENNO DONALD AND SHERRI   8179 STONEY LANE SOUTHWEST                                                                        BYRON CENTER       MI     49315‐8156
ANDER SUNSIN                247 COUNTRY PL                                                                                    STONEWALL          LA     71078‐2833
ANDER, ALICE D              24 LAKEWOOD VILLAGE                                                                               MEDINA             NY     14103‐1846
ANDER, ALICE D              24 LAKEWOOD VLG                                                                                   MEDINA             NY     14103‐1846
ANDER, FRANK                24 LAKEWOOD VILLIAGE                                                                              MEDINA             NY     14103‐1846
ANDER, MICHAEL J            4320 PARKVIEW AVE                                                                                 ENGLEWOOD          OH     45322‐2655
ANDER, ROBERT J             8980 RIDGE RD                                                                                     GASPORT            NY     14067‐9406
ANDEREGG, LYDIA             1623 E MONTEBELLO AVE                                                                             PHOENIX            AZ     85016‐2915
ANDERENE GRILL              538 NORTHPARK DR                                                                                  BOSSIER CITY       LA     71111‐2242
ANDERER, J A                3844 BAILEY AVENUE                                                                                BRONX              NY     10463‐2512
ANDERES JR, JOHN R          923 EAGLE HTS APT A                                                                               MADISON            WI     53705‐1624
ANDERHALT, JEFFREY A        3308 BROOKFIELD LN                                                                                HAMBURG            NY     14075
ANDERKIN, BERTHA C          2911 CARDINAL LANDING DR                                                                          MONROE             NC     28110‐8810
ANDERKIN, BOBBY L           331 BECKENHAM RD                                                                                  ENGLEWOOD          OH     45322‐1208
ANDERKIN, E IRENE           1227 HOOVER RD                                                                                    MANSFIELD          OH     44903‐9159
ANDERKIN, E IRENE           1227 HOOVER RD,                                                                                   MANSFIELD          OH     44903
ANDERKIN, JOHN F            1227 HOOVER RD                                                                                    MANSFIELD          OH     44903‐9159
ANDERLE DE SYLOR, JADWIGA   203 RIDGEMONT RD                                                                                  GROSSE POINTE      MI     48236‐3043
ANDERLE, MORRIS M           7055C N PR DR                                                                                     MILWAUKEE          WI     53223
ANDERLE, ROBERT A           218 TAMARACK DR                                                                                   BEREA              OH     44017‐1435
ANDERLIE, MARILYN E         12283 CARDOVA CT                                                                                  STERLING HTS       MI     48312‐3114
ANDERS DENNIS               906 HIGH RIDGE PASS                                                                               CAROL STREAM        IL    60188‐4626
ANDERS HEINTZ
ANDERS I I I, JAMES E       1075 EAST PARK DR                                                                                 BROOKFIELD        OH      44403
ANDERS JR, DONALD H         8241 W 80TH ST                                                                                    JUSTICE           IL      60458‐1563
ANDERS STAN                 IBERVILLE MOTORS               PO BOX 673                                                         PLAQUEMINE        LA      70765‐0673
ANDERS SVAERKE              TREKANTEN 3, ST. 4                                                        4200 SLAGELSE DENMARK
ANDERS SV╞RKE               TREKANTEN 3, ST. 4             4200 SLAGELSE                   DENMARK
ANDERS WILLIAM (464033)     KELLEY & FERRARO LLP           1300 EAST NINTH STREET , 1901                                      CLEVELAND         OH      44114
                                                           BOND COURT BUILDING
ANDERS, BETTY SHANKERS
ANDERS, BILLIE M            1765 MEADOWLARK LN                                                                                ENGLEWOOD         FL      34224‐5010
ANDERS, BONITA L            26312 STILLWATER CIR                                                                              PUNTA GORDA       FL      33955‐4733
ANDERS, CAROL J             PO BOX 55082                                                                                      INDIANAPOLIS      IN      46205‐0082
ANDERS, CHERYL S            1081 TIDWELL RD                                                                                   WEST MONROE       LA      71292‐9004
ANDERS, CHERYL SHREA        1081 TIDWELL RD                                                                                   WEST MONROE       LA      71292‐9004
ANDERS, CHONG               3082 HIAWATHA AVE                                                                                 COLUMBUS          OH      43224‐4023
ANDERS, DALE S              538 CARTHAGE DR                                                                                   BEAVERCREEK       OH      45434‐5802
ANDERS, DONALD L            17464 174TH ST                                                                                    BONNER SPRNGS     KS      66012‐7312
ANDERS, DONNA J             171 STONEBROOK LN                                                                                 EDMOND            OK      73003‐2108
ANDERS, DUSTON L            3825 MARMION AVE                                                                                  FLINT             MI      48506‐4241
ANDERS, EILEEN D            200 SOUTHTOWNE DR APT 329                                                                         SOUTH MILWAUKEE   WI      53172‐4323

ANDERS, EMMA D              19179 PENNINGTON DR                                                                               DETROIT           MI      48221
ANDERS, ERIN M              743 RIVERBIRCH RD                                                                                 WSHNGTN CT HS     OH      43160‐1197
ANDERS, ERNEST              6140 FOXWOOD LN                                                                                   INDIANAPOLIS      IN      46228‐1315
ANDERS, EVELINE             74 OLD CHURCH OF GOD RD                                                                           CANDLER           NC      28715‐9104
ANDERS, FRANK C             PO BOX 129                                                                                        SUDLERSVILLE      MD      21668‐0129
ANDERS, GERALD K            6201 MANCHESTER DR                                                                                FORT WAYNE        IN      46835‐3777
ANDERS, HELEN F             PO BOX 539                                                                                        WASKOM            TX      75692‐0539
ANDERS, HELEN FRANCES       PO BOX 539                                                                                        WASKOM            TX      75692‐0539
                            09-50026-mg              Doc 7123-3      Filed 09/24/10 Entered 09/24/10 15:05:32           Exhibit B
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Name                        Address1                             Address2                       Address3   Address4                     City               State Zip
ANDERS, JAMES D             6666 STATE ROUTE 48                                                                                         SPRINGBORO          OH 45066‐8744
ANDERS, JAMES W             28368 WEDDEL AVE                                                                                            BROWNSTWN TWP       MI 48183‐5045

ANDERS, JANE S              9731 SE LINWOOD AVE                  C/O COURTNEY VENGARICK                                                 MILWAUKIE          OR   97222‐2638
ANDERS, JIMMIE L            220 LANCELOT DR                      AMBER OAK                                                              DEFIANCE           OH   43512‐9668
ANDERS, JOAN P              42 MORNING GLORY LN                                                                                         LEVITTOWN          PA   19054‐2024
ANDERS, JONATHAN T          6233 OAK HILL DR                                                                                            WEST FARMINGTON    OH   44491‐8704

ANDERS, LARRY R             5808 ROSEMARY CT                                                                                            COUNTRYSIDE        IL   60525‐4001
ANDERS, LORRAINE M          5543 VIA MARINA                                                                                             WILLIAMSVILLE      NY   14221‐2841
ANDERS, LUTHER J            15716 WINTHROP ST                                                                                           DETROIT            MI   48227‐2350
ANDERS, MARK E              3871 GREENDALE DRIVE                                                                                        FORT WAYNE         IN   46815‐4824
ANDERS, MARK P              557 ROSS RD SE                                                                                              LANCASTER          OH   43130‐9655
ANDERS, MARY ANN            14133N MOSBAEK RD                                                                                           CABLE              WI   54821‐4610
ANDERS, MICHAEL W           701 MARGARET ST                                                                                             CORUNNA            MI   48817‐1021
ANDERS, MICHAEL WADE        701 MARGARET ST                                                                                             CORUNNA            MI   48817‐1021
ANDERS, ONITISHA V          2818 MULBERRY LN APT F                                                                                      GREENVILLE         NC   27858‐5756
ANDERS, ONITISHA VONDESE    2818 MULBERRY LN APT F                                                                                      GREENVILLE         NC   27858
ANDERS, PAUL M              9950 S FAIRFIELD AVE                                                                                        CHICAGO            IL   60655‐1639
ANDERS, REBA S              PO BOX 845                                                                                                  WEAVERVILLE        NC   28787‐0845
ANDERS, RICHARD E           122 E 14TH ST                                                                                               DANVILLE           IL   61832‐7649
ANDERS, ROBERT E            PO BOX 539                                                                                                  WASKOM             TX   75692‐0539
ANDERS, ROBERT H            52 COLONY CT                                                                                                ZIONSVILLE         IN   46077‐1111
ANDERS, ROBERT L            74 FORREST KIRBY RD                                                                                         HARTSELLE          AL   35640‐7511
ANDERS, SCOTT E             3177 LUDWIG ST                                                                                              BURTON             MI   48529‐1033
ANDERS, STANFORD A          12912 SANTA CLARA ST                                                                                        DETROIT            MI   48235‐1432
ANDERS, STANFORD ANDRE      12912 SANTA CLARA ST                                                                                        DETROIT            MI   48235‐1432
ANDERS, STEVEN S            9406 EGLER RD                                                                                               DEFIANCE           OH   43512‐9002
ANDERS, SUE A               6233 OAK HILL DR                                                                                            W FARMINGTON       OH   44491‐8704
ANDERS, SYLVIA L            2045 W PINEHILL RD                                                                                          LONDON             KY   40744‐8919
ANDERS, SYLVIA L            2045 W PINE HILL RD                                                                                         LONDON             KY   40744‐8919
ANDERS, THEODORE C          2593 DOUGLAS LN                                                                                             THOMPSONS STN      TN   37179‐5030
ANDERS, THOMAS I            5195 MONTICELLO DR                                                                                          SWARTZ CREEK       MI   48473‐8249
ANDERS, WILLIAM             KELLEY & FERRARO LLP                 1300 EAST NINTH STREET, 1901                                           CLEVELAND          OH   44114
                                                                 BOND COURT BUILDING
ANDERSCH JR, ROBERT C       312 JESSICA DR                                                                                              MIDDLETOWN         DE   19709‐4018
ANDERSEN & ASSOCI/MI        24333 INDOPLEX CIR                                                                                          FARMINGTON HILLS   MI   48335‐2525

ANDERSEN & ASSOCIATES       ATTN: CORPORATE OFFICER/AUTHORIZED   30575 ANDERSON CT                                                      WIXOM              MI   48393‐2817
                            AGENT
ANDERSEN & ASSOCIATES       30575 ANDERSEN CT.                                                                                          WIXOM              MI   48393
ANDERSEN & ASSOCIATES INC   30575 ANDERSON CT                    PO BOX 1015                                                            WIXOM              MI   48393‐2817
ANDERSEN & MARTINI          SNEDKERVEJ 7                                                                   TAASTRUP DK‐2630 DENMARK

ANDERSEN & MARTINI A/S      AMERIKAVEJ 15                                                                  COPENHAGEN 1756 DENMARK

ANDERSEN &/WIXOM            30575 ANDERSON CT                                                                                           WIXOM              MI   48393‐2817
ANDERSEN ARTHUR             363 GEORGE ST                                                                  SYDNEY NSW 2000 AUSTRALIA

ANDERSEN ARTHUR & CO        18TH FLR EXPRESS TOWERS              NARIMAN POINT                             MUMBAI 400021 INDIA
ANDERSEN ARTHUR & CO S C    18TH FL EXPRESS TOWERS               NARIMAN POINT                             BOMBAY INDIA 400 021 INDIA

ANDERSEN ARTHUR LLP         500 WOODWARD AVE STE 2700                                                                                   DETROIT            MI   48226‐3489
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Name                                 Address1                           Address2                      Address3            Address4                     City              State Zip
ANDERSEN CORP. & SUBSIDIARIES &      RITA KNOLL                         100 4TH AVE N                                                                  BAYPORT            MN 55003‐1058
RENEWAL BY ANDERSEN AFFILIATES
ANDERSEN DANIEL                      PO BOX 10362                                                                                                      FAIRFIELD         NJ    07004‐6362
ANDERSEN DEBORAH                     28 PORTSIDE DRIVE                                                                                                 MASHPEE           MA    02649‐2851
ANDERSEN DYNAMICS LTD                STEVE ALLAN                        4741 COUNTY ROAD 45                                                            RIVERVIEW         MI    48192
ANDERSEN LLP                         711 LOUISIANA ST STE 1300                                                                                         HOUSTON           TX    77002
ANDERSEN LLP                         101 2ND ST STE 1100                                                                                               SAN FRANCISCO     CA    94105‐3652
ANDERSEN LLP                         62195 PHILO                                                                                                       LOS ANGELES       CA    90074‐0001
ANDERSEN LLP                         500 WOODWARD AVE                                                                                                  DETROIT           MI    48226‐3407
ANDERSEN LLP                         33 W MONROE                                                                                                       CHICAGO           IL    60603
ANDERSEN LLP                         1666 K STREET NW                                                                                                  WASHINGTON        DC    20006
ANDERSEN LLP                         1225 17TH ST APT 3200                                                                                             DENVER            CO    80202
ANDERSEN NORMAN E (493646)           GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                                    NORFOLK           VA    23510
                                                                        STREET, SUITE 600
ANDERSEN PAM AND RON                 11390 DENTON HILL RD                                                                                              FENTON            MI    48430‐2560
ANDERSEN RYAN                        246 WAVERLEY ST                                                                                                   BELMONT           MA    02478‐2419
ANDERSEN, ALFRED A                   7175 N LAPEER RD                                                                                                  FOSTORIA          MI    48435‐9688
ANDERSEN, ALICE L                    1677 WINCHESTER AVE                                                                                               LINCOLN PARK      MI    48146‐3844
ANDERSEN, ALLEN D                    26759 ALBANY AVENUE                                                                                               WARREN            MI    48091‐1279
ANDERSEN, ALLEN M                    PO BOX 391                                                                                                        LAINGSBURG        MI    48848‐0391
ANDERSEN, ALLEN MELVIN               PO BOX 391                                                                                                        LAINGSBURG        MI    48848‐0391
ANDERSEN, ANNETTE                    377 WINDSOR Q                                                                                                     WEST PALM BEACH   FL    33417‐2465

ANDERSEN, ARTHUR                     C\O HARRIS TRUST & SAVINGS BNK     111 W MONROE                                                                   CHICAGO            IL   60603
ANDERSEN, ARTHUR                     GPO BOX 5151AA                     MELBOURNE 3001                                    VICTORIA AUSTRALIA
                                                                                                                          AUSTRALIA
ANDERSEN, ARTHUR                     C\O CITIBANK NA J GUTTRIDGE        399 PARK AVE                                                                   NEW YORK          NY    10043‐0001
ANDERSEN, ARTHUR                     360 ELIZABETH ST                                                                     MELBOURNE VIC 3000
                                                                                                                          AUSTRALIA
ANDERSEN, ARTHUR & CO                BELASTINGADVISEURS                 COOLSINGEL 93                 3000 AS ROTTERDAM   ROTTERDAM 3000
                                                                                                                          NETHERLANDS
ANDERSEN, ARTHUR & CO                GPO BOX 3289                                                                         HONG KONG
ANDERSEN, ARTHUR & CO SC\            RUIZ URQUIZA Y CIA SC              BOSQUE DE DURAZNOS 127                            BOSQUES DE LAS LOMAS
                                                                                                                          11700 MEXICO
ANDERSEN, ARTHUR HUA QIANG           1118 CHINA WORLD TOWER             NO 1 JIANGUOMENWAI AVE                            BEIJING CHINA 100004 CHINA

ANDERSEN, ARTHUR INTERNATIONAL       TOUR GAN ‐ CEDEX 13                92082 PARIS LA DEFENSE                            PARIS FRANCE FRANCE
ANDERSEN, ARTHUR SHANGHAI BUSINESS   19F SHUI ON PLAZA                  333 HUAI HAI ZHONG RD                             SHANGHAI CHINA 200021
CONSULTING CO LTD                                                                                                         CHINA
ANDERSEN, BEVERLY A                  120 HOSFORD                                                                                                       IONIA             MI    48846‐9404
ANDERSEN, BEVERLY A                  120 HOSFORD DR                                                                                                    IONIA             MI    48846‐9404
ANDERSEN, BRIAN L                    28640 225TH ST                                                                                                    REINBECK          IA    50669‐8098
ANDERSEN, BRIAN L                    28640 225TH STREET                                                                                                REINBECK          IA    50669‐8098
ANDERSEN, BRUCE V                    38340 S ROLLING HILLS DR                                                                                          TUCSON            AZ    85739‐3010
ANDERSEN, CATHERINE A                533 T RD                                                                                                          MONTEREY          TN    38574‐7020
ANDERSEN, CHRISTIAN N                121 RIGGS RD                                                                                                      FREDERICKSBRG     VA    22405‐2166
ANDERSEN, DANNY C                    LOT 14                             7228 WEST FARRAND ROAD                                                         CLIO              MI    48420‐9428
ANDERSEN, DANNY C                    8100 STATE RD                                                                                                     MILLINGTON        MI    48746
ANDERSEN, DAVE E                     10184 ANDREWS AVE                                                                                                 ALLEN PARK        MI    48101‐1224
ANDERSEN, DAVID A                    1511 SYCAMORE DR                                                                                                  MURFREESBORO      TN    37128‐6764
ANDERSEN, DAVID C                    5367 REDFIELD RD                                                                                                  DUNWOODY          GA    30338‐3723
ANDERSEN, DEBORAH A                  3619 OVERLOOK                      PO BOX 431                                                                     BEMUS POINT       NY    14712
ANDERSEN, DONALD K                   901 S COOLIDGE DR                                                                                                 SIX LAKES         MI    48886‐8756
ANDERSEN, DOUGLAS E                  8171 TWIN LAKE RD NE                                                                                              MANCELONA         MI    49659‐9504
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Name                          Address1                          Address2                       Address3   Address4               City                 State   Zip
ANDERSEN, EBBA E              O‐2611 WINANS ST NW                                                                                GRAND RAPIDS          MI     49534‐9526
ANDERSEN, ELIZABETH A         C/O THORNTON & NAUMES LLP         100 SUMMER STREET 30TH FLOOR                                     BOSTON                MA     02110
ANDERSEN, ELIZABETH A         25389 SAMANTHA DR                                                                                  CHESTERFIELD          MI     48051‐1970
ANDERSEN, FREDERIC C          2501 BRISTOLWOOD DR NW                                                                             WALKER                MI     49544‐1758
ANDERSEN, GERALD R            3135 VALENTINE RD                                                                                  LAPEER                MI     48446‐8762
ANDERSEN, HAROLD L            749 SOUTHOVER RD                                                                                   TOLEDO                OH     43612‐3132
ANDERSEN, HARRIET E           21039 N 123RD DR                                                                                   SUN CITY WEST         AZ     85375‐1943
ANDERSEN, HENNING M           11227 STONYBROOK DR                                                                                GRAND BLANC           MI     48439‐1011
ANDERSEN, IVAN L              6478 OLIVER RD                                                                                     FOSTORIA              MI     48435‐9400
ANDERSEN, JEANNE L            1501 BAKER PARK RD                                                                                 MAPLE PLAIN           MN     55359‐9650
ANDERSEN, JIM                 5425 TOLEDO AVE N                                                                                  MINNEAPOLIS           MN     55429
ANDERSEN, JONATHAN            500 GREENWICH DR                                                                                   RICHMOND HILL         GA     31324‐3802
ANDERSEN, JOYCE               3560 GORDON DR                                                                                     STERLING HTS          MI     48310‐4345
ANDERSEN, JUDY K              6165 HICKORY ST                                                                                    OMAHA                 NE     68106‐2115
ANDERSEN, KARL H              4991 OAKWOOD DR                                                                                    LEWISTON              MI     49756‐7541
ANDERSEN, KATHRYN S           2300 INDUSTRIAL RD. 107                                                                            EMPORIA               KS     66801
ANDERSEN, LYNN H              54500 ARROWHEAD DR                                                                                 SHELBY TWP            MI     48315‐1210
ANDERSEN, MARGUERITE E        # 25                              910 DUDLEY SQUARE WAY                                            LOUISVILLE            KY     40222‐4371
ANDERSEN, MARK D              14950 31 MILE RD                                                                                   WASHINGTON            MI     48095‐1500
                                                                                                                                 TOWNSHIP
ANDERSEN, MARK E              453 E CANYON VIEW PL                                                                               TUCSON                AZ     85704‐5942
ANDERSEN, MARK G              7407 LEDGEWOOD                                                                                     FENTON                MI     48430‐8430
ANDERSEN, MARK GERARD         7407 LEDGEWOOD DR                                                                                  FENTON                MI     48430‐9224
ANDERSEN, MATTIE L            578 S LAKE PLEASANT RD                                                                             ATTICA                MI     48412‐9676
ANDERSEN, NANCY E             722 WILKSHIRE CT                                                                                   GRAND BLANC           MI     48439‐1500
ANDERSEN, NORMAN E            GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                      NORFOLK               VA     23510‐2212
                                                                STREET, SUITE 600
ANDERSEN, PHILLIP R           3300 OLDERIDGE DR NE                                                                               GRAND RAPIDS          MI     49525‐3023
ANDERSEN, RENEE L             7759 HART RD                                                                                       HOLTON                MI     49425
ANDERSEN, RICHARD L           7330 WIMPOLE DR NE                                                                                 BELDING               MI     48809‐9335
ANDERSEN, RICHARD P           7925 S DUNE HWY                                                                                    EMPIRE                MI     49630‐9705
ANDERSEN, RITA G              11227 STONYBROOK DR                                                                                GRAND BLANC           MI     48439‐1011
ANDERSEN, ROBERT C            15212 RIVERSIDE ST                                                                                 LIVONIA               MI     48154‐5193
ANDERSEN, ROBERT F            1528 SE 6TH AVE                                                                                    CAPE CORAL            FL     33990‐2114
ANDERSEN, ROGER C             6456 OLIVER RD                                                                                     FOSTORIA              MI     48435‐9400
ANDERSEN, ROGER CURTIS        6456 OLIVER RD                                                                                     FOSTORIA              MI     48435‐9400
ANDERSEN, RONALD D            215 N CANAL RD LOT 185                                                                             LANSING               MI     48917‐8675
ANDERSEN, RONALD H            11390 DENTON HILL RD                                                                               FENTON                MI     48430‐2560
ANDERSEN, RONALD HARDING      11390 DENTON HILL RD                                                                               FENTON                MI     48430‐2560
ANDERSEN, RYAN A              2364 GARRY DR                                                                                      TROY                  MI     48083‐2360
ANDERSEN, RYAN A              2364ARRY DRIVE                                                                                     TROY                  MI     48083
ANDERSEN, STEVEN D            1506 BEAUMONT TER                                                                                  SPRING HILL           TN     37174‐7168
ANDERSEN, TERESA M            30135 MAISON ST                                                                                    SAINT CLAIR SHORES    MI     48082‐2614

ANDERSEN, THOMAS R            46881 BARTLETT DR                                                                                  CANTON                MI     48187‐1521
ANDERSEN, VADA                3601 W 116TH PL                                                                                    CHICAGO               IL     60655‐3676
ANDERSEN, WARREN G            9457 NORTH 87TH WAY                                                                                SCOTTSDALE            AZ     85258‐1942
ANDERSEN, WARREN G            9457 N 87TH WAY                                                                                    SCOTTSDALE            AZ     85258‐1942
ANDERSEN, WENDELL C           236 FIR STREET                                                                                     NEW LENOX             IL     60451‐1431
ANDERSEN, WILLIAM             53952 SUTHERLAND LN                                                                                SHELBY TWP            MI     48316‐1254
ANDERSON                      20561 MIDDLEBELT RD                                                                                LIVONIA               MI     48152‐2005
ANDERSON ROBERT SR            C/O GORI JULIAN & ASSOCIATES PC   156 N MAIN ST                                                    EDWARDSVILLE          IL     62025
ANDERSON & SON PAINTING INC   411 PIQUETTE ST                                                                                    DETROIT               MI     48202‐3547
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Name                                 Address1                           Address2                         Address3                   Address4                  City               State Zip
ANDERSON ALBERT C (428406)           GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                                           NORFOLK             VA 23510
                                                                        STREET, SUITE 600
ANDERSON ALBERT W (660826)           GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                                           NORFOLK            VA    23510
                                                                        STREET, SUITE 600
ANDERSON ALLAN                       ANDERSON, ALLAN                    1234 MARKET STREET SUITE 2040                                                         PHILADELPHIA       PA    19107
ANDERSON ALLEN                       HASTINGS, STANLEY                  SUSAN M. BENSON & ASSOC          6345 BALBOA BLVD STE 112                             ENCINO             CA    91316
                                                                                                         BLDG 1
ANDERSON ALLEN JR                    4385 MCCORD LIVSEY RD                                                                                                    SNELLVILLE         GA    30039‐6749
ANDERSON ANGELA                      21857 SHEFFIELD DR                                                                                                       FARMINGTON HILLS   MI    48335‐5467

ANDERSON ARCHIE                        ANDERSON, ARCHIE                 3 SUMMIT PARK DR STE 100                                                              INDEPENDENCE       OH    44131‐2598
ANDERSON AREA VACATIONAL TECH          ADULT & CONTINUING EDUC          1229 LINCOLN ST                                                                       ANDERSON           IN    46015‐1693
ANDERSON ARLENE L (ESTATE OF) (414102) SIMMONS FIRM                     PO BOX 559                                                                            WOOD RIVER         IL    62095‐0559

ANDERSON ARNOLD                      2960 FRIED AVE                                                                                                           SAN DIEGO          CA    92122‐2233
ANDERSON ASHLEY C (411968)           GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                                           NORFOLK            VA    23510
                                                                        STREET, SUITE 600
ANDERSON ASSOCIATES INC              508 WYMAN ST                       PO BOX 674                                                                            TOLEDO             OH    43609
ANDERSON AUDIOLOG                    3120 SO RAINBOW BLVD STE                                                                                                 LAS VEGAS          NV    89146
ANDERSON AUTO & TRUCK REPAIR         2115 YAVAPAI DR                                                                                                          SEDONA             AZ    86336‐4519
ANDERSON AUTO GROUP                  BRUCE MARTINEZ                     115 W 25TH ST                                                                         BALTIMORE          MD    21218‐5005
ANDERSON AUTO SERVICE                307 BELLEVUE ST.                                                                               PETERBOROUGH ON K9H 5E8
                                                                                                                                    CANADA
ANDERSON AUTOMOTIVE                  804 SPRUCE ST                                                                                                            TEXARKANA          TX    75501‐5122
ANDERSON AUTOMOTIVE                  2025 S SOUTHEAST LOOP 323                                                                                                TYLER              TX    75701‐5916
ANDERSON AUTOMOTIVE                  7915 FOXFIRE DR                                                                                                          MOBILE             AL    36608
ANDERSON AUTOMOTIVE                  2335 EDDY LN                                                                                                             EAU CLAIRE         WI    54703
ANDERSON AUTOMOTIVE GROUP, INC.      BRUCE MORTIMER                     115 W 25TH ST                                                                         BALTIMORE          MD    21218‐5005
ANDERSON AVIATION INC                282 AIRPORT RD                                                                                                           ANDERSON           IN    46017‐9550
ANDERSON B. BYRANT, JR.              16632 SMOKEY POINT BLVD                                                                                                  ARLINGTON          WA    98223‐8409
ANDERSON BETTY                       2911 GLADIOLUS LN                                                                                                        DALLAS             TX    75233‐3905
ANDERSON BETTY (657740)              BIFFERATO GENTILOTTI & BIDEN       PO BOX 2165                                                                           WILMINGTON         DE    19899‐2165
ANDERSON BEVERLY                     5209 70TH ST                                                                                                             LUBBOCK            TX    79424‐2017
ANDERSON BEVERLY (634186)            FRASIER FRASIER & HICKMAN          2038 WEST PARK AVENUE 1700                                                            TULSA              OK    74101
                                                                        SOUTHWEST BOULEVARD
ANDERSON BEZWICK                     ANDERSON, BEZWICK                  1790 WILMINGTON PIKE SUITE 200                                                        GLEN MILLS         PA    19342
                                                                        THE SPEAKMAN HOUSE
ANDERSON BIANCA                      ANDERSON, BIANCA                   5055 WILSHIRE BLVD STE 300                                                            LOS ANGELES        CA    90036‐6101
ANDERSON BILL                        2615 WEST KEYWEST COURT                                                                                                  WICHITA            KS    67204‐2323
ANDERSON BILLY RAY                   C/O MCKENNA & CHIODO               436 BOULEVARD OF THE ALLIES ‐                                                         PITTSBURGH         PA    15219
                                                                        SUITE 500
ANDERSON BILLY RAY (506961)          (NO OPPOSING COUNSEL)
ANDERSON BOBBY JOE                   C/O EDWARD O MOODY P A             801 WEST 4TH STREET                                                                   LITTLE ROCK        AZ    72201
ANDERSON BONE AND JOINT C            112 MONTGOMERY DR                                                                                                        ANDERSON           SC    29621‐3334
ANDERSON BRASS CO                    LEROY WINGATE                      SUBSIDIARY,ANDERSON BRASS CO.    151 BY‐PASS                                          SYLACAUGA          AL    35151
ANDERSON BRASS COMPANY               1629 W BOBO NEWSOM HWY                                                                                                   HARTSVILLE         SC    29550‐4721
ANDERSON BRENDA LEE                  306 CREST AVE                                                                                                            CHARLEROI          PA    15022‐1346
ANDERSON BRENT W                     MAYO CLINIC                        17 THUNDER MOUNTAIN RD                                                                EDGEWOOD           NM    87015‐9555
ANDERSON BRIAN                       471 N MCLEAN BLVD                                                                                                        MEMPHIS            TN    38112‐5015
ANDERSON BRIAN W                     ANDERSON, BRIAN W                  111 PARK WEST DR                                                                      SCOTT              LA    70583‐8902
ANDERSON BROCK                       ANDERSON, BROCK                    120 WEST MADISON STREET , 10TH                                                        CHICAGO             IL   60602
                                                                        FLOOR
ANDERSON BRODY LEVINSON WEISER&      4600 E SHEA BLVD STE 100                                                                                                 PHOENIX            AZ    85028‐6031
HORWITZ PA
                                     09-50026-mg             Doc 7123-3          Filed 09/24/10 Entered 09/24/10 15:05:32                             Exhibit B
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Name                                  Address1                              Address2                        Address3                      Address4                City               State   Zip
ANDERSON BROS TOOL REPAIR             3531 SOUTHEASTERN AVE                 PO BOX 33638                                                                          INDIANAPOLIS        IN     46203‐1528
ANDERSON BROTHERS TOOL REPAIR         3531 SOUTHEASTERN AVE                                                                                                       INDIANAPOLIS        IN     46203‐1528
ANDERSON BRUCE                        23 DEER HILLS DR                                                                                                            SAINT PAUL          MN     55127‐2211
ANDERSON BYERS                        4140 SE PADDOCK DR                                                                                                          LEES SUMMIT         MO     64082‐4925
ANDERSON CADILLAC LLC                 1300 EL CAMINO REAL                                                                                                         MENLO PARK          CA     94025‐4211
ANDERSON CARL JR & HAZEL A            4028 FOOTVILLE RICHMOND RD                                                                                                  DORSET              OH     44032‐9642
ANDERSON CARRIE                       970 E BRIDGEWATER CT                                                                                                        OAK CREEK           WI     53154‐7959
ANDERSON CARTER                       8009 E OAKMONT PL                                                                                                           SIOUX FALLS         SD     57110‐7574
ANDERSON CELINE                       1206 STANFORD AVE                                                                                                           REDONDO BEACH       CA     90278‐4042
ANDERSON CHAD                         ANDERSON, CHAD                        1950 SAWTELLE BLVD STE 245                                                            LOS ANGELES         CA     90025‐7017
ANDERSON CHARLES (499272)             LIPMAN DAVID M                        5901 SW 74TH ST STE 304                                                               MIAMI               FL     33143‐5163
ANDERSON CHARLES (ESTATE OF) (491934) BEVAN & ASSOCIATES                    10360 NORTHFIELD ROAD , BEVAN                                                         NORTHFIELD          OH     44067
                                                                            PROFESSIONAL BLDG
ANDERSON CHERYL                      ANDERSON, CHERYL                       5055 WILSHIRE BLVD STE 300                                                            LOS ANGELES         CA     90036‐6101
ANDERSON CHEVROLET BUICK PONTIAC     280 HYATT CREEK RD                                                                                                           WAYNESVILLE         NC     28786‐4535

ANDERSON CHEVROLET, ANDERSON OLDS, 115 W 25TH ST                                                                                                                  BALTIMORE          MD      21218‐5005

ANDERSON CHEVROLET, ANDERSON OLDS, 115 W 25TH ST                                                                                                                  BALTIMORE          MD      21218‐5005
ANDERSON PONTIAC, ANDERSON BUICK

ANDERSON CHRIS AND STACY             104 FLANDRAU PL                                                                                                              SAINT PAUL         MN      55106‐6814
ANDERSON CITY UTILITIES              MUNICIPAL LIGHT & POWER DEPT           120 E 8TH ST                                                                          ANDERSON           IN      46016‐1505
ANDERSON CITY UTILITIES MUNICIPAL    ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 120 E 8TH ST                                                                          ANDERSON           IN      46016‐1505
LIGHT & POWER DEPT
ANDERSON CLAES                       1609 BEVERLY PL                                                                                                              BERKELEY            CA     94707‐2703
ANDERSON CLARENCE LEE (425131)       WEITZ & LUXENBERG                      180 MAIDEN LANE                                                                       NEW YORK            NY     10038
ANDERSON COLLEGE                     FINANCIAL AID PLANNING OFFICE          316 BOULEVARD                                                                         ANDERSON            SC     29621‐4002
ANDERSON CONSULTING ASSOCIATES       HCA INC                                PO BOX 26125                                                                          LANSING             MI     48909‐6125
ANDERSON COOK INC                    44785 MACOMB INDUSTRIAL DR                                                                                                   CLINTON TOWNSHIP    MI     48036‐1147

ANDERSON COOK INC                    251 LORNE AVE W                                                                                      STRATFORD ON N5A 6S4
                                                                                                                                          CANADA
ANDERSON COOK INC                    JIM VANWAMBEKE                         44785 MACOMB INDUSTRIAL DR.                                                           ATHENS             GA      30601
ANDERSON COOK INC                    MARK DREMAK                            AC PRECISION COMPONENTS STRATF 251 LORNE AVE W                                        DAYTON             OH      45420
ANDERSON COOK INC                    17650 15 MILE ROAD                                                                                                           FRASER             MI      48026‐3450
ANDERSON COUNTY                      100 EAST FOURTH AVENUE                 COURTHOUSE                                                                            GARNETT            KS      66032
ANDERSON COUNTY CHILD SUPP DIV       ACCOUNT OF ARCHIE L WALKER             PO BOX 1159                                                                           PALESTINE          TX      75802‐1159
ANDERSON COUNTY CHILD SUPP DIV       ACCT OF ARCHIE L WALKER                PO BOX 1159                                                                           PALESTINE          TX      75802‐1159
ANDERSON COUNTY SHERIFF              141 S MAIN ST                                                                                                                LAWRENCEBURG       KY      40342‐1157
ANDERSON COUNTY TREASURER            PO BOX 8002                                                                                                                  ANDERSON           SC      29622‐8002
ANDERSON COUNTY TRUSTEE              100 N MAIN ST RM 203                                                                                                         CLINTON            TN      37716‐3617
ANDERSON COVENANT ACADEMY            ATTN: TIM WIFORD                       3325 PENDLETON AVE                                                                    ANDERSON           IN      46013‐2007
ANDERSON CRAIG                       6753 GRAND OAKS CT                                                                                                           MASON              OH      45040‐2708
ANDERSON CRYE, DEBRA A               8512 SW 36 TERR                                                                                                              OKLAHOMA CITY      OK      73179
ANDERSON CRYE, DEBRA A               8512 SW 36TH TER                                                                                                             OKLAHOMA CITY      MO      73179‐3800
ANDERSON CURTISS                     1792 95TH ST                                                                                                                 NEW RICHMOND       WI      54017‐6306
ANDERSON CYNTHIA                     4455 E BURNING TREE LOOP                                                                                                     FLAGSTAFF          AZ      86004‐7561
ANDERSON DALE                        705 S CRESTVIEW ST                                                                                                           PORTERVILLE        CA      93257‐5534
ANDERSON DAN                         PO BOX 9618                                                                                                                  EDNA BAY           AK      99901‐4618
ANDERSON DANIEL                      ANDERSON, DANIEL                       DAVID BARBE                     505 W. RIVERSIDE AVE. SUITE                           SPOKANE            WA      99201
                                                                                                            500
ANDERSON DANIEL                      RIDDLE, CRYSTAL                        DAVID BARBE                     505 W. RIVERSIDE AVE. SUITE                           SPOKANE            WA      99201
                                                                                                            500
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Name                                    Address1                       Address2                         Address3   Address4               City               State   Zip
ANDERSON DANNY                          PO BOX 188                                                                                        ANNABELLA           UT     84711‐0188
ANDERSON DAVID                          21130 EAST CALORA STREET                                                                          COVINA              CA     91724‐1407
ANDERSON DAVID                          1525 N MEADOWS CT                                                                                 COLUMBUS            IN     47203
ANDERSON DAVID & MARY                   DBA ANDERSON & ANDERSON        4954 CARRINGTON DR                                                 ROCHESTER HILLS     MI     48306‐1494
ANDERSON DAVID (459682)                 DUFFY & ASSOCS JOHN J          23823 LORAIN RD                                                    NORTH OLMSTED       OH     44070
ANDERSON DAVID (658187)                 SIMONS EDDINS & GREENSTONE
ANDERSON DAVID H (657139)               STE 163W                       1 RICHMOND SQUARE                                                  PROVIDENCE          RI     02906‐5172
ANDERSON DEBORAH                        ANDERSON, DEBORAH              120 WEST MADISON STREET , 10TH                                     CHICAGO             IL     60602
                                                                       FLOOR
ANDERSON DEMATRICE                      C/O EDWARD O MOODY P A         801 W 4TH ST                                                       LITTLE ROCK         AR     72201
ANDERSON DIANNA                         2242 E VISTA MESA WAY                                                                             ORANGE              CA     92867‐1738
ANDERSON DONALD (507457)                COON BRENT W                   PO BOX 4905                                                        BEAUMONT            TX     77704‐4905
ANDERSON DONALD E (428407)              GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                        NORFOLK             VA     23510
                                                                       STREET, SUITE 600
ANDERSON DONALD R (339745)              GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                        NORFOLK             VA     23510
                                                                       STREET, SUITE 600
ANDERSON DONALD W (498213)              GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                        NORFOLK             VA     23510
                                                                       STREET, SUITE 600
ANDERSON ECKSTEIN & WESTRICK INC        51301 SCHOENHERR RD                                                                               SHELBY TWP          MI     48315‐2733
ANDERSON ELE/FRM HIL                    37525 ENTERPRISE CT                                                                               FARMINGTON HILLS    MI     48331‐3468

ANDERSON ELECTRIC CONTROLS INC          8639 S 212TH ST                                                                                   KENT               WA      98031‐1910
ANDERSON ELECTRONICS INC SALES CO       17117 W NINE MILE RD STE 615                                                                      SOUTHFIELD         MI      48075

ANDERSON ELMER M (428408)               GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                        NORFOLK             VA     23510
                                                                       STREET, SUITE 600
ANDERSON ESTATE OF, RUSSELL HILMER

ANDERSON EUGENE A (357504)              LANDYE BENNETT BLUMSTEIN       1300 SW 5TH AVE STE 3500                                           PORTLAND            OR     97201‐5641
ANDERSON EVERETT                        2705 7TH ST                                                                                       BAY CITY            MI     48708‐6906
ANDERSON EVERETT ROGER (428409)         GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                        NORFOLK             VA     23510
                                                                       STREET, SUITE 600
ANDERSON FELICIA                        16136 ASPEN HOLW                                                                                  FENTON             MI      48430‐9138
ANDERSON GALE                           225 DOUBLETREE LN                                                                                 CHEYENNE           WY      82009‐2655
ANDERSON GARAGE                         7560 BANDERA RD                                                                                   SAN ANTONIO        TX      78238‐1260
ANDERSON GARY L (342258)                GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                        NORFOLK            VA      23510
                                                                       STREET, SUITE 600
ANDERSON GAYLORD (ESTATE OF)            SIMMONS FIRM                   PO BOX 559                                                         WOOD RIVER          IL     62095‐0559
(456667)
ANDERSON GEORGE W (667747)              KEYES LAW FIRM                 PO BOX 7480                                                        BALTIMORE          MD      21227‐0480
ANDERSON GILES LOWELL (438781)          GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                        NORFOLK            VA      23510
                                                                       STREET, SUITE 600
ANDERSON GLEN                           667 SULLIVAN DR NE                                                                                COLUMBIA HEIGHTS   MN      55421‐1772

ANDERSON GLOBAL                         500 W SHERMAN BLVD                                                                                MUSKEGON HTS       MI      49444‐1315
ANDERSON GODFREY TRUSTEE                4440 LOGANWAY STREET                                                                              YOUNGSTOWN         OH      44505
ANDERSON GRACIE (500169)                PORTER & MALOUF PA             4670 MCWILLIE DR                                                   JACKSON            MS      39206‐5621
ANDERSON GRACIE (500169) ‐ BELL FRANK   PORTER & MALOUF PA             4670 MCWILLIE DR                                                   JACKSON            MS      39206‐5621

ANDERSON GRACIE (500169) ‐ BELL         PORTER & MALOUF PA             4670 MCWILLIE DR                                                   JACKSON            MS      39206‐5621
HOWARD
ANDERSON GRACIE (500169) ‐ BELL         PORTER & MALOUF PA             4670 MCWILLIE DR                                                   JACKSON            MS      39206‐5621
WILMENA
                                      09-50026-mg           Doc 7123-3    Filed 09/24/10 Entered 09/24/10 15:05:32      Exhibit B
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Name                                  Address1                      Address2                      Address3   Address4               City           State Zip
ANDERSON GRACIE (500169) ‐ BOND       PORTER & MALOUF PA            4670 MCWILLIE DR                                                JACKSON         MS 39206‐5621
RONNIE
ANDERSON GRACIE (500169) ‐ BOUDREAUX PORTER & MALOUF PA             4670 MCWILLIE DR                                                JACKSON        MS   39206‐5621
HAROLD
ANDERSON GRACIE (500169) ‐ BYARS      PORTER & MALOUF PA            4670 MCWILLIE DR                                                JACKSON        MS   39206‐5621
HOWARD WAYNE
ANDERSON GRACIE (500169) ‐ DIXON      PORTER & MALOUF PA            4670 MCWILLIE DR                                                JACKSON        MS   39206‐5621
BRUCE
ANDERSON GRACIE (500169) ‐ DIXON      PORTER & MALOUF PA            4670 MCWILLIE DR                                                JACKSON        MS   39206‐5621
PARNELL
ANDERSON GRACIE (500169) ‐ GAULDEN    PORTER & MALOUF PA            4670 MCWILLIE DR                                                JACKSON        MS   39206‐5621
EDWARD
ANDERSON GRACIE (500169) ‐ HENDERSON PORTER & MALOUF PA             4670 MCWILLIE DR                                                JACKSON        MS   39206‐5621
OLIVETTE
ANDERSON GRACIE (500169) ‐ HOLLIMAN PORTER & MALOUF PA              4670 MCWILLIE DR                                                JACKSON        MS   39206‐5621
JOHN
ANDERSON GRACIE (500169) ‐ JENKINS    PORTER & MALOUF PA            4670 MCWILLIE DR                                                JACKSON        MS   39206‐5621
LUCILLE
ANDERSON GRACIE (500169) ‐ JENKINS    PORTER & MALOUF PA            4670 MCWILLIE DR                                                JACKSON        MS   39206‐5621
WILLIE
ANDERSON GRACIE (500169) ‐ JOHNSON    PORTER & MALOUF PA            4670 MCWILLIE DR                                                JACKSON        MS   39206‐5621
BEULAH
ANDERSON GRACIE (500169) ‐ JOHNSON    PORTER & MALOUF PA            4670 MCWILLIE DR                                                JACKSON        MS   39206‐5621
CARRIE
ANDERSON GRACIE (500169) ‐ JOHNSON    PORTER & MALOUF PA            4670 MCWILLIE DR                                                JACKSON        MS   39206‐5621
DOROTHY MAE
ANDERSON GRACIE (500169) ‐ KIDD JAMES PORTER & MALOUF PA            4670 MCWILLIE DR                                                JACKSON        MS   39206‐5621

ANDERSON GRACIE (500169) ‐ STEWART    PORTER & MALOUF PA            4670 MCWILLIE DR                                                JACKSON        MS   39206‐5621
THOMAS
ANDERSON GRACIE (500169) ‐ WESCOE     PORTER & MALOUF PA            4670 MCWILLIE DR                                                JACKSON        MS   39206‐5621
ERNESTINE
ANDERSON GRACIE (500169) ‐ WILLIAMS   PORTER & MALOUF PA            4670 MCWILLIE DR                                                JACKSON        MS   39206‐5621
ROMEL
ANDERSON GRADY B (493647)             LIPMAN DAVID M                5901 SW 74TH ST STE 304                                         MIAMI          FL   33143‐5163
ANDERSON GUY R                        10 TENNIS LN                                                                                  PORT DEPOSIT   MD   21904‐1633
ANDERSON HARLOW A (406094)            GLASSER AND GLASSER           CROWN CENTER, 580 EAST MAIN                                     NORFOLK        VA   23510
                                                                    STREET, SUITE 600
ANDERSON HARRIET RAYE (645388)         MOODY EDWARD O               801 W 4TH ST                                                    LITTLE ROCK    AR   72201‐2107
ANDERSON HARRIET RAYE (645388) ‐ BELL MOODY EDWARD O                801 W 4TH ST                                                    LITTLE ROCK    AR   72201‐2107
WANDA FAYE
ANDERSON HARRIET RAYE (645388) ‐ BELLE MOODY EDWARD O               801 W 4TH ST                                                    LITTLE ROCK    AR   72201‐2107
KATIE M
ANDERSON HARRIET RAYE (645388) ‐       MOODY EDWARD O               801 W 4TH ST                                                    LITTLE ROCK    AR   72201‐2107
EVANS JUDY CAROL
ANDERSON HARRIET RAYE (645388) ‐       MOODY EDWARD O               801 W 4TH ST                                                    LITTLE ROCK    AR   72201‐2107
HUNTER ELLISE EVANS
ANDERSON HARRIET RAYE (645388) ‐       MOODY EDWARD O               801 W 4TH ST                                                    LITTLE ROCK    AR   72201‐2107
MURRELL MARY JEAN
ANDERSON HARRIET RAYE (645388) ‐ POLK MOODY EDWARD O                801 W 4TH ST                                                    LITTLE ROCK    AR   72201‐2107
MARGIE N
ANDERSON HARRIET RAYE (645388) ‐       MOODY EDWARD O               801 W 4TH ST                                                    LITTLE ROCK    AR   72201‐2107
RAINWATER DESSIE M
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Name                               Address1                         Address2                        Address3   Address4               City              State Zip
ANDERSON HARRIET RAYE (645388) ‐   MOODY EDWARD O                   801 W 4TH ST                                                      LITTLE ROCK        AR 72201‐2107
SHOFNER WANDA FAYE
ANDERSON HARRIET RAYE (645388) ‐   MOODY EDWARD O                   801 W 4TH ST                                                      LITTLE ROCK       AR   72201‐2107
STONESIFER PAULA ANN
ANDERSON HARRIET RAYE (645388) ‐   MOODY EDWARD O                   801 W 4TH ST                                                      LITTLE ROCK       AR   72201‐2107
TAYLOR VIRGINIA MAE
ANDERSON HARRIET RAYE (645388) ‐   MOODY EDWARD O                   801 W 4TH ST                                                      LITTLE ROCK       AR   72201‐2107
THOMAS PATSY TUCKER
ANDERSON HARRIET RAYE (645388) ‐   MOODY EDWARD O                   801 W 4TH ST                                                      LITTLE ROCK       AR   72201‐2107
TURNER SANDY FAKAYE
ANDERSON HARRIET RAYE (645388) ‐   MOODY EDWARD O                   801 W 4TH ST                                                      LITTLE ROCK       AR   72201‐2107
WALKER CAROL S
ANDERSON HARRIET RAYE (645388) ‐   MOODY EDWARD O                   801 W 4TH ST                                                      LITTLE ROCK       AR   72201‐2107
WALKER SHIRLEY FRITZ
ANDERSON HARRIET RAYE (645388) ‐   MOODY EDWARD O                   801 W 4TH ST                                                      LITTLE ROCK       AR   72201‐2107
WHITE PEGGIE L
ANDERSON HARRIET RAYE (645388) ‐   MOODY EDWARD O                   801 W 4TH ST                                                      LITTLE ROCK       AR   72201‐2107
WILLIAMS ROY T
ANDERSON HARRIET RAYE (645388) ‐   MOODY EDWARD O                   801 W 4TH ST                                                      LITTLE ROCK       AR   72201‐2107
WITHAM ALICE FAYE
ANDERSON HARRIET RAYE (645388) ‐   MOODY EDWARD O                   801 W 4TH ST                                                      LITTLE ROCK       AR   72201‐2107
YOUNG JOHNETTA
ANDERSON HARRIETT RAYE             C/O EDWARD O MOODY P A           801 W 4TH ST                                                      LITTLE ROCK       AR   72201
ANDERSON HARRIS                    PO BOX 1815                                                                                        KEYSTONE HTS      FL   32656‐1815
ANDERSON HARRY (442957)            BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                                     NORTHFIELD        OH   44067
                                                                    PROFESSIONAL BLDG
ANDERSON HENRY                     BRENT COON & ASSOCIATES          215 ORLEANS                                                       BEAUMONT          TX   77701
ANDERSON HENRY & SHIRLEY           401 DEER RIDGE DR NW                                                                               BONDURANT         IA   50035‐1156
ANDERSON HERMAN (442958)           BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                                     NORTHFIELD        OH   44067
                                                                    PROFESSIONAL BLDG
ANDERSON HERMAN B (411020)         GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                       NORFOLK           VA   23510
                                                                    STREET, SUITE 600
ANDERSON HUMMER                    10139 YORK RD                                                                                      COCKEYSVILLE      MD   21030‐3305
ANDERSON I I I, CHARLES J          1183 E WILSON RD                                                                                   ASHLEY            MI   48806‐9745
ANDERSON I I I, LEWIS A            2335 LAWRENCE HALL ST                                                                              RUSKIN            FL   33570‐6369
ANDERSON I I I, TOM                16772 BILTMORE ST                                                                                  DETROIT           MI   48235‐3437
ANDERSON I I, CHARLES A            47 N INDEPENDENCE BLVD                                                                             NEW CASTLE        DE   19720‐4457
ANDERSON I I, LENNEL V             1100 CEDAR RIDGE LN                                                                                BURLESON          TX   76028
ANDERSON I I, WILLIE E             508 LENOIR AVE                                                                                     RIVER ROUGE       MI   48218‐1135
ANDERSON II, ARTHUR J              911 RED HAWK DR                                                                                    LEANDER           TX   78641‐8820
ANDERSON II, CARL DOUGLAS          237 VREELAND DR                                                                                    ROCHESTER HILLS   MI   48309‐1909
ANDERSON II, GERALD J              1540 NORTHWOOD DR                                                                                  INDIANAPOLIS      IN   46240‐2739
ANDERSON II, LENNEL V              1100 CEDAR RIDGE LANE                                                                              BURLESON          TX   76028‐8111
ANDERSON II, ROBERT                100 BILTON RD                                                                                      SOMERS            CT   06071
ANDERSON II, WILLIE E              508 LENOIR AVE                                                                                     RIVER ROUGE       MI   48218‐1135
ANDERSON III, CHARLES J            1183 E WILSON RD                                                                                   ASHLEY            MI   48806‐9745
ANDERSON III, GEORGE R             513 1/2 W WALNUT ST                                                                                PORTLAND          IN   47371‐1736
ANDERSON III, JAMES R              4405 MOTORWAY DR                                                                                   WATERFORD         MI   48328‐3453
ANDERSON III, JOHN G               907 RANIKE DR                                                                                      ANDERSON          IN   46012‐2735
ANDERSON III, JOHN G.              907 RANIKE DR                                                                                      ANDERSON          IN   46012‐2735
ANDERSON III, LEWIS A              2335 LAWRENCE HALL ST                                                                              RUSKIN            FL   33570‐6369
ANDERSON III, TOM                  16772 BILTMORE ST                                                                                  DETROIT           MI   48235‐3437
ANDERSON INDUSTRIAL MACHINERY      PO BOX 1569                      90 LACRUE AVE                                                     WEST CHESTER      PA   19380‐0078
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Name                                  Address1                          Address2                           Address3                Address4                City              State Zip
ANDERSON INDUSTRIAL TECHNOLOGIES      119 E MICHELLE LN                                                                                                    PENDLETON          IN 46064‐9538

ANDERSON INGRID                       3550 NORTHSHORE DR                                                                                                   WAYZATA           MN   55391‐9360
ANDERSON JACK & BARBARA               30 STAGGERS LN N                                                                                                     CAMERON           MT   59720‐9795
ANDERSON JALMER O (402463)            GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                        NORFOLK           VA   23510
                                                                        STREET, SUITE 600
ANDERSON JAMES                        9203 RIVERSTONE CT                                                                                                   COLLEGE STATION   TX   77845‐8778
ANDERSON JAMES (440572)               BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                                      NORTHFIELD        OH   44067
                                                                        PROFESSIONAL BLDG
ANDERSON JAMES (ESTATE OF) (513799)   BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                                      NORTHFIELD        OH   44067
                                                                        PROFESSIONAL BLDG
ANDERSON JAMES F (352663)             GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                        NORFOLK           VA   23510
                                                                        STREET, SUITE 600
ANDERSON JAMES F (442960)             CLIMACO LEFKOWITZ PECA WILCOX &   1228 EUCLID AVE , HALLE BLDG 9TH                                                   CLEVELAND         OH   44115
                                      GAROFOLI                          FL
ANDERSON JANITORIAL                   209 S FORD BLVD                                                                                                      YPSILANTI         MI   48198‐6066
ANDERSON JASON                        ANDERSON, JASON                   601 CALIFORNIA ST STE 1400                                                         SAN FRANCISCO     CA   94108‐2819
ANDERSON JESSE J JR                   ANDERSON, JANIS                   PO BOX 1341                        181 MAIN STREET                                 BILOXI            MS   39533‐1341
ANDERSON JESSE J JR                   ANDERSON, JESSE J                 PO BOX 1341                        181 MAIN STREET                                 BILOXI            MS   39533‐1341
ANDERSON JESSIE D (498214)            GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                        NORFOLK           VA   23510
                                                                        STREET, SUITE 600
ANDERSON JIM                          9469 HAWKINS DR                                                                                                      MANASSAS          VA   20109‐3907
ANDERSON JOE                          2289 GLENMORE LN                                                                                                     SNELLVILLE        GA   30078
ANDERSON JOHN                         4255 SW 83RD AVE                                                                                                     PORTLAND          OR   97225‐2273
ANDERSON JOHN (491935)                BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                                      NORTHFIELD        OH   44067
                                                                        PROFESSIONAL BLDG
ANDERSON JOHN H (466046)              EARLY & STRAUSS                   250 LEXINGTON AVENUE ‐ 20TH                                                        NEW YORK          NY   10016
ANDERSON JOHN M (402883)              GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                        NORFOLK           VA   23510
                                                                        STREET, SUITE 600
ANDERSON JOHN O (415474)              SIMMONS FIRM                      PO BOX 559                                                                         WOOD RIVER        IL   62095‐0559
ANDERSON JOHN W (438782)              GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                        NORFOLK           VA   23510
                                                                        STREET, SUITE 600
ANDERSON JOHN WALTER (438783)         GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                        NORFOLK           VA   23510
                                                                        STREET, SUITE 600
ANDERSON JOHNNY E JR (428410)         GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                        NORFOLK           VA   23510
                                                                        STREET, SUITE 600
ANDERSON JONATHAN                     ANDERSON, JONATHAN                PROGRESSIVE INS                    900 TUTOR LN STE. 104                           EVANSVILLE        IN   47715
ANDERSON JOSEPH ALEXANDER (514343)    HATCH BRENT O                     10 W BROADWAY STE 400                                                              SALT LAKE CITY    UT   84101‐2065

ANDERSON JR REGINALD                  ANDERSON JR, REGINALD
ANDERSON JR, ACIE G                   6795 RIDGEWOOD RD                                                                                                    CLARKSTON         MI   48346‐1028
ANDERSON JR, ALBERT E                 ULLERNKAMMEN 26 0380                                                                         OSLO FA 00000 NORWAY
ANDERSON JR, ALFRED                   2119 WEBSTER ST                                                                                                      LANSING           MI   48911‐4630
ANDERSON JR, ALFRED                   2451 SHARON AVE                                                                                                      INDIANAPOLIS      IN   46222‐2309
ANDERSON JR, BENEDICT R               4810 BOATLANDING DRIVE                                                                                               ST AUGUSTINE      FL   32092‐3691
ANDERSON JR, BILLY K                  323 E STEED DR                                                                                                       MIDWEST CITY      OK   73110‐5019
ANDERSON JR, BOB G                    626 DEANNA DR                                                                                                        LAPEER            MI   48446‐3320
ANDERSON JR, CHARLES                  1327 NICHOL AVE                                                                                                      ANDERSON          IN   46016‐3354
ANDERSON JR, CHARLES                  4427 SHADY LN                                                                                                        INDIANAPOLIS      IN   46226‐3345
ANDERSON JR, CLINTON R                1658 CARLTON AVE NE                                                                                                  GRAND RAPIDS      MI   49505‐5412
ANDERSON JR, CLYDE E                  3318 W FRANCES RD                                                                                                    CLIO              MI   48420‐8557
ANDERSON JR, CLYDE EARL               3318 W FRANCES RD                                                                                                    CLIO              MI   48420‐8557
ANDERSON JR, COATIS                   PO BOX 14303                                                                                                         SAGINAW           MI   48601‐0303
ANDERSON JR, COLEMAN S                4512 COMMONWEALTH DR                                                                                                 INDIANAPOLIS      IN   46220‐4736
                           09-50026-mg           Doc 7123-3    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit B
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Name                       Address1                      Address2               Address3         Address4               City           State   Zip
ANDERSON JR, DARIEL        3905 CHICHESTER RD                                                                           EDWARDS         MS     39066‐9633
ANDERSON JR, DAVID         4708 STONEHEDGE ST                                                                           TROTWOOD        OH     45426‐2106
ANDERSON JR, DAVID C       PO BOX 1075                                                                                  BASTROP         LA     71221‐1075
ANDERSON JR, EARL          9717 DONNELLY AVE                                                                            KANSAS CITY     MO     64134‐1813
ANDERSON JR, EARL          1909 N ALLIS ST                                                                              KANSAS CITY     KS     66101‐1503
ANDERSON JR, EDMUND F      2060 NEW DR SW                                                                               WARREN          OH     44481‐9211
ANDERSON JR, ERNEST        2329 SHORELAND AVE APT 225                                                                   TOLEDO          OH     43611‐1560
ANDERSON JR, ERNEST        2329 SHORELAND AVE            APT 226                                                        TOLEDO          OH     43611‐1560
ANDERSON JR, FRANK         660 N PENDLETON AVE                                                                          PENDLETON       IN     46064‐8976
ANDERSON JR, GERALD L      1950 HEPPERMAN RD                                                                            WENTZVILLE      MO     63385‐4323
ANDERSON JR, HARUS         2075 FREDERICK CT                                                                            VINELAND        NJ     08361‐6193
ANDERSON JR, HARVEY R      9222 CASTLE KNOLL BLVD                                                                       INDIANAPOLIS    IN     46250‐3486
ANDERSON JR, HERBERT T     5640 ADA PL                                                                                  SAGINAW         MI     48603‐1606
ANDERSON JR, HUGH L        281 N ROSE RD                                                                                MEMPHIS         TN     38117‐1517
ANDERSON JR, JAMES         229 W 144TH ST APT 11                                                                        NEW YORK        NY     10030‐1230
ANDERSON JR, JAMES D       418 S BROMFIELD RD                                                                           KETTERING       OH     45429‐2756
ANDERSON JR, JAMES D       211 ARBOR DR                                                                                 DULUTH          GA     30096‐4961
ANDERSON JR, JAMES E       413 E 40TH ST                                                                                INDIANAPOLIS    IN     46205‐5605
ANDERSON JR, JAMES H       2315 SURREY DR                                                                               PINCKNEY        MI     48169‐9515
ANDERSON JR, JIMMIE L      695 MELROSE ST                                                                               PONTIAC         MI     48340‐3118
ANDERSON JR, JOHN C        887 NEEDLE DR                                                                                FOREST PARK     GA     30297‐3142
ANDERSON JR, JOHN E        9988 OVERTON ST BOX 245                                                                      REESE           MI     48757
ANDERSON JR, JOHNNIE       590 BAKER LN                                                                                 BRANDON         MS     39047‐8873
ANDERSON JR, JOSEPH B      7275 LEDGEROCK CT                                                                            BLOOMFIELD      MI     48301‐3517
ANDERSON JR, JOSEPH K      338 CRICKLE CREEK LN                                                                         DOVER           DE     19904‐5738
ANDERSON JR, KARL A        302 FINDON COURT                                                                             FRANKLIN        TN     37064‐6120
ANDERSON JR, KARL A        302 FINDON CT                                                                                FRANKLIN        TN     37064‐6120
ANDERSON JR, KENNETH W     22301 OAK RIDGE RD                                                                           HARRAH          OK     73045‐7644
ANDERSON JR, LEON J        C/O CINDA M ANDERSON JR       G‐3064 MILLER RD       APT 823                                 FLINT           MI     48507
ANDERSON JR, MAURICE A     2702 MORTON ST                                                                               ANDERSON        IN     46016‐5077
ANDERSON JR, MERVIN L      4710 FREEMAN RD                                                                              MIDDLEPORT      NY     14105‐9676
ANDERSON JR, MILTON        2725 WINTER GARDEN CT                                                                        ANN ARBOR       MI     48105‐1567
ANDERSON JR, NATHANIEL L   5828 TERRYTOWN PKWY                                                                          INDIANAPOLIS    IN     46254‐5017
ANDERSON JR, OCTAVIUS J    3600 KATHERINE CT.                                                                           EDMOND          OK     73013‐8126
ANDERSON JR, RAYMOND C     13303 SPRUCE CT                                                                              LINDEN          MI     48451‐8830
ANDERSON JR, REGINALD      215 E CLAREMORE DR                                                                           LANSING         MI     48911‐5062
ANDERSON JR, ROBERT        2001 CLEMENT ST                                                                              FLINT           MI     48504‐3163
ANDERSON JR, ROBERT E      PO BOX 879                                                                                   SPRING HILL     TN     37174‐0879
ANDERSON JR, ROBERT J      5522 MEADOWOOD DR                                                                            SPEEDWAY        IN     46224‐3340
ANDERSON JR, ROBERT L      1745 GONDERT AVE                                                                             DAYTON          OH     45403‐5403
ANDERSON JR, ROBERT L      43677 HILLSBORO DR                                                                           CLINTON TWP     MI     48038‐1341
ANDERSON JR, ROOSEVELT J   5003 W HILLCREST AVE                                                                         DAYTON          OH     45406‐1222
ANDERSON JR, SAMUEL        5801 N AMES AVE                                                                              KANSAS CITY     MO     64151‐2182
ANDERSON JR, SIMON         1000 FAIRVIEW AVE                                                                            LIMA            OH     45804‐2626
ANDERSON JR, STANLEY E     3018 COOPER AVE                                                                              SAGINAW         MI     48602‐3635
ANDERSON JR, TED           329 MARTHA AVE                                                                               BUFFALO         NY     14215‐2903
ANDERSON JR, W             158 NEWBERRY LN                                                                              HOWELL          MI     48843‐9566
ANDERSON JR, WARREN        3401 SADDLE HORN RUN                                                                         HEPHZIBAH       GA     30815‐6258
ANDERSON JR, WAYNE M       45 S HIGHLAND AVE #1                                                                         AKRON           OH     44303‐1005
ANDERSON JR, WAYNE M       727 NOME AVE                                                                                 AKRON           OH     44320‐1878
ANDERSON JR, WILLIAM O     2705 W CHAPEL PIKE                                                                           MARION          IN     46952‐9275
ANDERSON JR, WILLIE F      4308 DABNY DR                                                                                INDIANAPOLIS    IN     46254‐1948
ANDERSON JR, WILLIE J      3198 E LAKE RD                                                                               MCDONOUGH       GA     30252‐4927
ANDERSON JR., JERRY K      308 VINE STREET                                                                              GREENVILLE      OH     45331‐1450
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Name                                    Address1                             Address2                        Address3   Address4               City             State   Zip
ANDERSON JR., JERRY KENT                308 VINE STREET                                                                                        GREENVILLE        OH     45331‐1450
ANDERSON JR., KERMIT D                  1331 ELIZABETH ST                                                                                      MOUNT MORRIS      MI     48458‐1713
ANDERSON JR., RALPH T                   254 AUCKLAND DR                                                                                        NEWARK            DE     19702‐6210
ANDERSON JUERGEN                        2525 TURTLE CREEK BLVD                                                                                 DALLAS            TX     75219‐4768
ANDERSON KAREN                          ATTN: CORPORATE OFFICER/AUTHORIZED   9917 STERLING AVE                                                 ALLEN PARK        MI     48101‐1330
                                        AGENT
ANDERSON KAREN                          9917 STERLING AVE                                                                                      ALLEN PARK       MI      48101‐1330
ANDERSON KATHELINE                      4744 MICHAUX DR                                                                                        VIRGINIA BEACH   VA      23464‐3228
ANDERSON KEITH                          ANDERSON, KEITH                      1930 E MARLTON PIKE SUITE Q29                                     CHERRY HILL      NJ      08003
ANDERSON KELLY (488071)                 BEVAN & ASSOCIATES                   10360 NORTHFIELD ROAD , BEVAN                                     NORTHFIELD       OH      44067
                                                                             PROFESSIONAL BLDG
ANDERSON KENNETH (442961)               BEVAN & ASSOCIATES                   10360 NORTHFIELD ROAD , BEVAN                                     NORTHFIELD       OH      44067
                                                                             PROFESSIONAL BLDG
ANDERSON KENNETH R (471986)             GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                       NORFOLK           VA     23510
                                                                             STREET, SUITE 600
ANDERSON KEVIN                          ANDERSON, KEVIN                      712 MADISON AVE                                                   DIXON            IL      61021
ANDERSON KEVIN                          GOSSAGE, ROBERT                      712 MADISON AVE                                                   DIXON            IL      61021‐3515
ANDERSON KEVIN                          MURRAY, JAMES                        1012 E ROUTE 30                                                   ROCK FALLS       IL
ANDERSON KEVIN T (488072)               BEVAN & ASSOCIATES                   10360 NORTHFIELD ROAD , BEVAN                                     NORTHFIELD       OH      44067
                                                                             PROFESSIONAL BLDG
ANDERSON KIMBERLEE                      1432 KINGS RD                                                                                          CANTONMENT        FL     32533‐8943
ANDERSON KNIGHT JR                      10621 FLAT SHOALS RD                                                                                   COVINGTON         GA     30016‐4783
ANDERSON KYLE EDWARD                    ANDERSON, KYLE EDWARD                1459 BATON ROUGE WAY                                              GRAYSON           GA     30017
ANDERSON KYLE EDWARD                    ANDERSON, KYLE EDWARD
ANDERSON LACOUNT L (341360)             GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                       NORFOLK           VA     23510
                                                                             STREET, SUITE 600
ANDERSON LARRY                          THE LIPMAN LAW FIRM                  5915 PONCE DE LEON BLVD         SUITE 44                          CORAL GABLES     FL      33146
ANDERSON LARRY (499273)                 LIPMAN DAVID M                       5901 SW 74TH ST STE 304                                           MIAMI            FL      33143‐5163
ANDERSON LASHUNDA                       ANDERSON, LASHUNDA                   3100 WAYNE RD                                                     LOUISVILLE       KY      40216
ANDERSON LAW OFFICES PA                 225 WATER ST STE 2100                                                                                  JACKSONVILLE     FL      32202‐5175
ANDERSON LEE (459511)                   GUY WILLIAM S                        PO BOX 509                                                        MCCOMB           MS      39649‐0509
ANDERSON LEE (459511) ‐ BANKS           GUY WILLIAM S                        PO BOX 509                                                        MCCOMB           MS      39649‐0509
BERNARD
ANDERSON LEE (459511) ‐ CASE JOHN       GUY WILLIAM S                        PO BOX 509                                                        MCCOMB           MS      39649‐0509
ANDERSON LEE (459511) ‐ DOSS JOE        GUY WILLIAM S                        PO BOX 509                                                        MCCOMB           MS      39649‐0509
ANDERSON LEE (459511) ‐ EAKINS ELBERT   GUY WILLIAM S                        PO BOX 509                                                        MCCOMB           MS      39649‐0509

ANDERSON LEE (459511) ‐ ELLIS CHARLIE   GUY WILLIAM S                        PO BOX 509                                                        MCCOMB           MS      39649‐0509

ANDERSON LEE (459511) ‐ FELTON JAMES    GUY WILLIAM S                        PO BOX 509                                                        MCCOMB           MS      39649‐0509

ANDERSON LEE (459511) ‐ GAINES WILSON GUY WILLIAM S                          PO BOX 509                                                        MCCOMB           MS      39649‐0509

ANDERSON LEE (459511) ‐ GALES JAMES     GUY WILLIAM S                        PO BOX 509                                                        MCCOMB           MS      39649‐0509

ANDERSON LEE (459511) ‐ GILCHRIST GUS   GUY WILLIAM S                        PO BOX 509                                                        MCCOMB           MS      39649‐0509

ANDERSON LEE (459511) ‐ JOHNSON      GUY WILLIAM S                           PO BOX 509                                                        MCCOMB           MS      39649‐0509
WALTER
ANDERSON LEE (459511) ‐ QUEEN BENARD GUY WILLIAM S                           PO BOX 509                                                        MCCOMB           MS      39649‐0509

ANDERSON LEE (459511) ‐ SANXTON         GUY WILLIAM S                        PO BOX 509                                                        MCCOMB           MS      39649‐0509
CHARLES
                                       09-50026-mg           Doc 7123-3      Filed 09/24/10 Entered 09/24/10 15:05:32                            Exhibit B
                                                                            Part 1 of 40 Pg 824 of 921
Name                                   Address1                          Address2                         Address3                  Address4                 City             State Zip
ANDERSON LEE (459511) ‐ SCOTT ELMER    GUY WILLIAM S                     PO BOX 509                                                                          MCCOMB            MS 39649‐0509

ANDERSON LEE (459511) ‐ SHELVY THEADO GUY WILLIAM S                      PO BOX 509                                                                          MCCOMB           MS    39649‐0509

ANDERSON LEE (459511) ‐ STAMPLEY ROY   GUY WILLIAM S                     PO BOX 509                                                                          MCCOMB           MS    39649‐0509

ANDERSON LEE (459511) ‐ STRINGER       GUY WILLIAM S                     PO BOX 509                                                                          MCCOMB           MS    39649‐0509
FRANK
ANDERSON LEE (459511) ‐ TYLER FRED     GUY WILLIAM S                     PO BOX 509                                                                          MCCOMB           MS    39649‐0509
ANDERSON LEHR                          322 CHURCH ST                                                                                                         LODI             WI    53555‐1319
ANDERSON LEHRMAN BARRE &               MARAIST LLP                       GASLIGHT SQUARE UPDTE PER LTR    1001 THIRD ST 3/13/8 AM                            CORPUS CHRISTI   TX    78404
ANDERSON LEON C                        ANDERSON, LEON C                  2325 GRANT BUILDING 330 GRANT                                                       PITTSBURGH       PA    15219
                                                                         STREET
ANDERSON LEROY HUNTER (428411)         GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                         NORFOLK          VA    23510
                                                                         STREET, SUITE 600
ANDERSON LESLIE                        PO BOX 276                                                                                                            BENNINGTON       NE    68007‐0276
ANDERSON LINDA ANN                     4307 BERGER DR                                                                                                        FLINT            MI    48504‐1905
ANDERSON LLOYD K (471987)              GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                         NORFOLK          VA    23510
                                                                         STREET, SUITE 600
ANDERSON LLOYD M (351603)              GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                         NORFOLK          VA    23510
                                                                         STREET, SUITE 600
ANDERSON LYLE                          PO BOX 111                                                                                                            BLAIR            WI    54616‐0111
ANDERSON LYLE                          UNIT 801                          2250 LAKE POINTE DRIVE                                                              LAWRENCE         KS    66049‐9201
ANDERSON MANAGEMENT &                  4801 WARRENTON RD                                                                                                     EVANSVILLE       IN    47725‐8587
ENGINEERING INC
ANDERSON MANGHAM                       PO BOX 90686                                                                                                          EAST POINT       GA    30364‐0686
ANDERSON MARIE                         ANDERSON, MARIE                   1051 GERRY ST.                                                                      GARY             IN    46406‐2059
ANDERSON MARTINEZ, AMBER
ROSEMARIE
ANDERSON MARTINEZ, ROBERT JOSEPH

ANDERSON MASON                         255 W 69TH ST                     ALDEN PRINCETON                                                                     CHICAGO          IL    60621‐3767
ANDERSON MATTHEW                       ANDERSON, MATTHEW                 640 S SAN VICENTE BLVD STE 230                                                      LOS ANGELES      CA    90048‐4654
ANDERSON MCGEE                         303 MORSE AVE                                                                                                         NILES            OH    44446‐2513
ANDERSON MEASUREMENT &                 2101 ERWIN RD                                                                                                         JACKSBORO        TX    76458‐3235
ENTERPRISES
ANDERSON MEASUREMENTS & ENTERP         2101 ERWIN RD                                                                                                         JACKSBORO         TX   76458‐3235

ANDERSON MEASUREMENTS &                2101 ERWIN RD                                                                                                         JACKSBORO         TX   76458‐3235
ENTERPRISES
ANDERSON MEL                           NEED BETTER ADDRESS 12/04/06CP    2683 VIA DE LA VALLE #G323                                                          DEL MAR          CA    92014
ANDERSON MELVIN                        ANDERSON, MELVIN                  5045 PARK AVE W STE 2B                                                              SEVILLE          OH    44273‐8963
ANDERSON MELVIN                        WESTERN RESERVE MUTUAL CASUALTY   5045 PARK AVE W STE 2B                                                              SEVILLE          OH    44273‐8963
                                       COMPANY
ANDERSON MERCHANDISERS                 421 SE 34TH AVE                                                                                                       AMARILLO          TX   79103‐1702
ANDERSON MERCHANDISERS L.P.            STEVE COHEN                       421 SE 34TH AVE                                                                     AMARILLO          TX   79103‐1702
ANDERSON MICHAEL S                     ANDERSON, MICHAEL S
ANDERSON MILDRED M (442447)            SIMMONS FIRM                      PO BOX 559                                                                          WOOD RIVER        IL   62095‐0559
ANDERSON MORI & TOMOTSUNE              IZUMI GARDEN TOWER                6‐1, ROPPONGI 1‐CHOME                                      TOKYO 106‐6036 JAPAN
ANDERSON MOTORS, INC.                  170 AMARAL ST                                                                                                         RIVERSIDE        RI    02915‐2223
ANDERSON MURIEL L (404631)             GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                         NORFOLK          VA    23510
                                                                         STREET, SUITE 600
ANDERSON NATHANIEL J JR (181125)       BROWN TERRELL HOGAN ELLIS         804 BLACKSTONE BLDG , 233 EAST                                                      JACKSONVILLE      FL   32202
                                       MCCLAMMA & YEGELWEL P.A.          BAY STREET
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Name                                 Address1                             Address2                          Address3   Address4               City             State Zip
ANDERSON NOEL (442962)               BEVAN & ASSOCIATES                   10360 NORTHFIELD ROAD , BEVAN                                       NORTHFIELD        OH 44067
                                                                          PROFESSIONAL BLDG
ANDERSON OF HUNT VALLEY              MORTIMER, BRUCE                      115 W 25TH ST                                                       BALTIMORE        MD    21218‐5005
ANDERSON OF HUNT VALLEY, LLC         ATTENTION: BRUCE R. MORTIMER         115 W 25TH ST                                                       BALTIMORE        MD    21218‐5005
ANDERSON OF HUNT VALLEY, LLC.        10139 YORK RD                                                                                            COCKEYSVILLE     MD    21030‐3305
ANDERSON OF HUNT VALLEY,LLC          BRUCE MORTIMER                       10139 YORK RD                                                       COCKEYSVILLE     MD    21030‐3305
ANDERSON OF HUNT VALLEY/PHH          10139 YORK RD                                                                                            COCKEYSVILLE     MD    21030‐3305
ANDERSON OIL                         ATTN: MARK ANDERSON                  PO BOX 300                                                          FREDERICKSBURG   VA    22404‐0300
ANDERSON OIL CO INC                  PO BOX 300                                                                                               FREDERICKSBURG   VA    22404‐0300
ANDERSON OLDS PON GUICK GMC TRUCK    115 W 25TH ST                                                                                            BALTIMORE        MD    21218‐5005
INC
ANDERSON OLDSMOBILE‐PONTIAC‐BUICK‐   115 W 25TH ST                                                                                            BALTIMORE        MD    21218‐5005
GMC TRUCK, INC. (NAT'L)
ANDERSON OSCAR D (438784)            GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                         NORFOLK          VA    23510
                                                                          STREET, SUITE 600
ANDERSON PARKING AUTHORITY           PO BOX 2100                          120 E 8TH ST                                                        ANDERSON         IN    46016‐1505
ANDERSON PATTERN INC                 500 W SHERMAN BLVD                                                                                       MUSKEGON         MI    49444‐1315
                                                                                                                                              HEIGHTS
ANDERSON PAUL (164536)               HUNTER & FEDULLO                      2401 PENNSYLVANIA AVE STE 1C41                                     PHILADELPHIA     PA    19130‐7722
ANDERSON PAUL D (459683)             GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                                       PITTSBURGH       PA    15219

ANDERSON PAUL E (313655)             BROWN TERRELL HOGAN ELLIS            804 BLACKSTONE BLDG , 233 EAST                                      JACKSONVILLE      FL   32202
                                     MCCLAMMA & YEGELWEL P.A.             BAY STREET
ANDERSON PAUL I (481614)             GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                         NORFOLK          VA    23510
                                                                          STREET, SUITE 600
ANDERSON PAUL W (493648)             GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                         NORFOLK          VA    23510
                                                                          STREET, SUITE 600
ANDERSON PAVING INC                  ASPHALT & CONCRETE                   11356 MATHIS AVE                                                    DALLAS           TX    75229‐3157
ANDERSON PETTY                       PO BOX 528564                                                                                            CHICAGO          IL    60652‐8564
ANDERSON PONTIAC GMC TRUCK,INC       301 W 29TH ST                                                                                            BALTIMORE        MD    21211‐2910
ANDERSON PONTIAC,ANDERSON            10139 YORK RD                                                                                            COCKEYSVILLE     MD    21030‐3305
BUICK,AND
ANDERSON PONTIAC,ANDERSON            10139 YORK RD                                                                                            COCKEYSVILLE     MD    21030‐3305
BUICK,ANDERSON GMC
ANDERSON PONTIAC‐BUICK‐OLDSMOBILE‐   1001 BOWEN MILL RD HWY353                                                                                DOUGLAS          GA
G
ANDERSON PONTIAC‐BUICK‐OLDSMOBILE‐   RONALD ANDERSON                      1001 BOWEN MILL RD HWY353                                           DOUGLAS          GA    31533
GMC, INC.
ANDERSON PONTIAC‐BUICK‐OLDSMOBILE‐   1001 BOWEN MILL RD HWY353                                                                                DOUGLAS          GA    31533
GMC, INC.
ANDERSON PROPANE SVC INC             ATTN: MARK ANDERSON                  PO BOX 300                                                          FREDERICKSBURG   VA    22404‐0300
ANDERSON PROS & ORTH                 1113 N FANT ST                                                                                           ANDERSON         SC    29621‐4819
ANDERSON PROVALL                     2103 JANES AVE                                                                                           SAGINAW          MI    48601‐1859
ANDERSON PUMP & PROCESS              PO BOX 523                                                                                               BROOKFIELD       WI    53008‐0523
ANDERSON QUILES                      439 THEODORE DR                                                                                          MONROE           MI    48162‐3222
ANDERSON RACE MANAGEMENT             4047 CAMBERWELL DR N                                                                                     EAGAN            MN    55123‐3920
ANDERSON RADIO INC                   6149 WESTSIDE SAGINAW RD                                                                                 BAY CITY         MI    48706‐9354
ANDERSON RAY                         1083 E SUNSCAPE WAY # 9                                                                                  CASA GRANDE      AZ    85294
ANDERSON RAY JR (361280)             GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                         NORFOLK          VA    23510
                                                                          STREET, SUITE 600
ANDERSON REED                        FOSTER & SEAR, LLP                   817 GREENVIEW DR.                                                   GRAND PRAIRIE    TX    75050
ANDERSON RICHARD                     C/O EDWARD O MOODY P A               801 W 4TH ST                                                        LITTLE ROCK      AR    72201
ANDERSON RICHARD (458984)            GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                         NORFOLK          VA    23510
                                                                          STREET, SUITE 600
                                     09-50026-mg                 Doc 7123-3    Filed 09/24/10 Entered 09/24/10 15:05:32       Exhibit B
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Name                                 Address1                            Address2                       Address3   Address4               City            State Zip
ANDERSON ROBERT                      403 MOSSEFIN ST                                                                                      ERSKINE          MN 56535‐4024
ANDERSON ROBERT (492932)             BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD , BEVAN                                     NORTHFIELD       OH 44067
                                                                        PROFESSIONAL BLDG
ANDERSON ROBERT C (478093)          GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                                      SAGINAW         MI    48604‐2602
                                                                        260
ANDERSON ROBERT F (492933)          BEVAN & ASSOCIATES                  10360 NORTHFIELD ROAD , BEVAN                                     NORTHFIELD      OH    44067
                                                                        PROFESSIONAL BLDG
ANDERSON ROBINSON                   725 MAGEE RD                                                                                          LEXINGTON       MS    39095‐8042
ANDERSON ROBINSON JR                1578 WEST BUENA VISTA STREET                                                                          DETROIT         MI    48238‐3667
ANDERSON ROLAND ‐ 4TH ACTION        ANDERSON, ROLAND                    113 LLOYD ST                                                      WILMINGTON      DE    19804‐2821
ANDERSON ROLAND C ‐ 3RD ACTION      ANDERSON, ROLAND D
ANDERSON RONNIE                     PO BOX 429                                                                                            LONOKE          AR    72086‐0429
ANDERSON RONNY                      PO BOX 134                                                                                            COPPER HILL     VA    24079‐0134
ANDERSON RUSSELL J (428412)         GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                       NORFOLK         VA    23510
                                                                        STREET, SUITE 600
ANDERSON S KELLOMS                  C/O WEITZ LUXENBERG PC              700 BROADWAY                                                      NEW YORK CITY   NY    10003
ANDERSON S KELLOMS                  WEITZ & LUXENBERG PC                700 BROADWAY                                                      NEW YORK CITY   NY    10003
ANDERSON SALES/BLMFL                PO BOX 625                                                                                            KEEGO HARBOR    MI    48320‐0625
ANDERSON SANDRA                     ANDERSON, SANDRA
ANDERSON SECURITY & FIRE SYSTS      ATTN: ROBERT ANDERSON               4600 S DIXIE DR                                                   MORAINE         OH    45439‐2151
ANDERSON SMALL JR                   9953 DARROW PARK DR APT 212H                                                                          TWINSBURG       OH    44087‐1494
ANDERSON SMITH                      3638 GLOUCESTER ST                                                                                    FLINT           MI    48503‐4589
ANDERSON SPEEDWAY                   ATTN: RICK DAWSON                   PO BOX 2440                                                       ANDERSON        IN    46018‐2440
ANDERSON SPENCER JR                 201 GLENWOOD AVE                                                                                      CINCINNATI      OH    45217‐2111
ANDERSON SR, JAMES C                456 JEAN DR                                                                                           CRYSTAL         MI    48818‐9624
ANDERSON SR, STANLEY C              4018 GRANTLEY RD                                                                                      BALTIMORE       MD    21215‐7234
ANDERSON SR., KIRK B                PO BOX 383                                                                                            NORCO           LA    70079‐0383
ANDERSON SR., MICHAEL L             19801 OLD YORK RD                                                                                     WHITE HALL      MD    21161‐9014
ANDERSON STEVE                      ANDERSON, STEVE                     707 PIZOR ST                                                      HOUSTON         TX    77009‐5315
ANDERSON STEVE                      2441 S 1560 W                                                                                         WOODS CROSS     UT    84087‐2327
ANDERSON STEVEN                     PO BOX 46141                                                                                          PLYMOUTH        MN    55446‐0141
ANDERSON TEDDY J (410979)           GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                       NORFOLK         VA    23510
                                                                        STREET, SUITE 600
ANDERSON THERESE                    ANDERSON, THERESE                   PO BOX 97                                                         MONTEZUMA       IA    50171‐0097
ANDERSON THOMAS M (438785)          GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                       NORFOLK         VA    23510
                                                                        STREET, SUITE 600
ANDERSON TIMOTHY                    ANDERSON, TIMOTHY                   25310 97TH AVE N                                                  HITTERDAL       MN    56552‐9750
ANDERSON TOM                        503 AIRPORT RD                                                                                        MEDFORD         OR    97504‐4159
ANDERSON TOMMY                      319 WEAVER DR                                                                                         HOUGHTON LAKE   MI    48629‐9550
ANDERSON TOMMY (ESTATE OF) (629784) GUY WILLIAM S                       PO BOX 509                                                        MCCOMB          MS    39649‐0509

ANDERSON TOOL & ENGINEERING CO INC   PO BOX 2267 DEPT 1                                                                                   BLOOMINGTON      IN   47402

ANDERSON TOPPS                       334 ROBBIE LN                                                                                        FLINT           MI    48505‐2100
ANDERSON TRANS SVCS INC              17812 SAINT LUCIA ISLE DR                                                                            TAMPA           FL    33647‐2714
ANDERSON TRUCKING SERVICE INC NW     203 COOPER AVE N                    PO BOX 1377                                                      SAINT CLOUD     MN    56303‐4446
7130
ANDERSON UNDERWOOD                   1836 TAMPA AVE                                                                                       DAYTON          OH    45408
ANDERSON UNIVERSITY                  ATTN CASHIER                        1100 E 5TH ST                                                    ANDERSON        IN    46012‐3462
ANDERSON VERNETTA                    ANDERSON, VERNETTA                  19775 COYLE ST                                                   DETROIT         MI    48235‐2043
ANDERSON VILLAS LLC                  204 S HARRIS RD                                                                                      YPSILANTI       MI    48198‐5936
ANDERSON WALKER                      905 25TH STREET CIR                                                                                  ARKADELPHIA     AR    71923‐6532
ANDERSON WALLACE JR                  1236 W 31ST ST                                                                                       INDIANAPOLIS    IN    46208‐4847
ANDERSON WEST                        1131 BACKER ST                                                                                       SAINT LOUIS     MO    63130‐1821
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Name                          Address1                          Address2                          Address3   Address4               City               State Zip
ANDERSON WILLIAM (458985)     GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                         NORFOLK             VA 23510
                                                                STREET, SUITE 600
ANDERSON WILLIAM D (460735)   WEITZ & LUXENBERG P.C.            180 MAIDEN LANE                                                     NEW YORK           NY    10038
ANDERSON WILLIAM P            ANDERSON, WILLIAM P               640 NORTH LASLLE STREET SUITE 590                                   CHICAGO            IL    60610
ANDERSON WILLIE (491177)      BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                       NORTHFIELD         OH    44067
                                                                PROFESSIONAL BLDG
ANDERSON WILLIE V (488073)    BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                       NORTHFIELD         OH    44067
                                                                PROFESSIONAL BLDG
ANDERSON WORTHY               34 WILLOWWOOD DR                                                                                      DAYTON             OH    45405‐3448
ANDERSON'S AUTOMOTIVE         345A STATE ST                                                                                         AUBURN             NY    13021
ANDERSON'S SERVICE CENTER     1716 W MOUNT PLEASANT ST                                                                              WEST BURLINGTON    IA    52655‐1026

ANDERSON, A C                 7711 GREENFIELD RD                                                                                    DETROIT            MI    48228
ANDERSON, A D                 2931 CONCORD                                                                                          FLINT              MI    48504‐3039
ANDERSON, A J                 635 SE 141ST AVE                                                                                      PORTLAND           OR    97233‐2207
ANDERSON, A W                 16970 SETTLE STATION RD                                                                               PLATTE CITY        MO    64079‐8324
ANDERSON, AARON               1341 W 650 S                                                                                          JONESBORO          IN    46938‐9765
ANDERSON, AARON D.            1341 W 650 S                                                                                          JONESBORO          IN    46938‐9765
ANDERSON, AARON E             617 HERITAGE LN W                                                                                     TERRE HAUTE        IN    47803‐1384
ANDERSON, ABBY L              2890 GOLFHILL DR                                                                                      WATERFORD          MI    48329‐4511
ANDERSON, ADA J               301 W 1ST ST                                                                                          OIL CITY           PA    16301‐2817
ANDERSON, ADAM                204 S RALPH ST                                                                                        CLAXTON            GA    30417‐1840
ANDERSON, ADAM RONEL          594 KIMBERLY APT 202                                                                                  LAKE ORION         MI    48362
ANDERSON, ADDIE G             118 ANDREA BLVD                                                                                       NILES              OH    44446‐3226
ANDERSON, ADELINE ERNESTINE   1235 HARWOOD DR APT I                                                                                 MANSFIELD          OH    44906‐2831
ANDERSON, ALAN D              4970 KITRIDGE RD                                                                                      DAYTON             OH    45424‐4617
ANDERSON, ALAN G              2308 SALISBURY ST                                                                                     PITTSBURGH         PA    15210‐1848
ANDERSON, ALAN K
ANDERSON, ALAN R              7985 HILLVIEW TRL                                                                                     MANCELONA          MI    49659
ANDERSON, ALAN R              2715 BAGLEY DR W                                                                                      KOKOMO             IN    46902‐3228
ANDERSON, ALAN W              103 DALE ST                                                                                           DEDHAM             MA    02026‐3428
ANDERSON, ALANA P
ANDERSON, ALBERT              3633 BREAKERS DR APT 223                                                                              OLYMPIA FIELDS      IL   60461‐1043
ANDERSON, ALBERT
ANDERSON, ALBERT A            6609 WOODSWORTH AVE                                                                                   LAS VEGAS          NV    89108‐7057
ANDERSON, ALBERT A            1224 WHITES CIR                                                                                       DARLINGTON         SC    29532‐4552
ANDERSON, ALBERT C            GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                         NORFOLK            VA    23510‐2212
                                                                STREET, SUITE 600
ANDERSON, ALBERT F            1310 E MAIN ST                                                                                        TROY               OH    45373‐3453
ANDERSON, ALBERT F            1310 E. MAIN ST                                                                                       TROY               OH    45373‐3453
ANDERSON, ALBERT L            4570 PINEBROOK CIR APT 103                                                                            BRADENTON          FL    34209
ANDERSON, ALBERT W            GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                         NORFOLK            VA    23510‐2212
                                                                STREET, SUITE 600
ANDERSON, ALBERTA             2230 N CHEVROLET AVE                                                                                  FLINT              MI    48504‐2830
ANDERSON, ALBERTA             617 S 4TH AVE                                                                                         DANVILLE           IL    61832‐7211
ANDERSON, ALBIN H             PO BOX 103                                                                                            EWEN               MI    49925‐0103
ANDERSON, ALETHEA U           1258 W EDGEWOOD BLVD              APT 5                                                               LANSING            MI    48911‐7511
ANDERSON, ALETHEA U           1258 W EDGEWOOD BLVD APT 5                                                                            LANSING            MI    48911‐7511
ANDERSON, ALFRED              4825 BROOKWOOD PL                                                                                     BYRAM              MS    39272‐9272
ANDERSON, ALFRED              PO BOX 1638                                                                                           MILWAUKEE          WI    53201
ANDERSON, ALFRED L            3190 CENTERVILLE RD                                                                                   MAGNOLIA           MS    39652‐8953
ANDERSON, ALFRED R            955 LANDER RD                                                                                         MAYFIELD VILLAGE   OH    44143‐3247
ANDERSON, ALFRED W            98 HOMESTEAD ACRES RD NW                                                                              SPARTA             MI    49345‐8104
ANDERSON, ALFREDIE            1513 GUENTHER AVE                                                                                     LANSING            MI    48917‐9562
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Name                   Address1                       Address2                     Address3   Address4               City               State   Zip
ANDERSON, ALICE        130 63RD ST                                                                                   WEST NEW YORK       NJ     07093‐3004
ANDERSON, ALICE        130 63RD STREET                                                                               WEST NEW YORK       NJ     07093‐3004
ANDERSON, ALICE B      48 HIDEWAY LANE                                                                               E WAREHAM           MA     02538‐1108
ANDERSON, ALICE B      48 HIDEAWAY LN                                                                                E WAREHAM           MA     02538‐1108
ANDERSON, ALICE C      27 VINE ST                                                                                    LOCKPORT            NY     14094‐3101
ANDERSON, ALLAN R      56 S RINGOLD ST                                                                               JANESVILLE          WI     53545‐2561
ANDERSON, ALLEN        3939 NELSON DR                                                                                NEWPORT             MI     48166‐9007
ANDERSON, ALLEN        SUSAN M. BENSON & ASSOC        6345 BALBOA BLVD STE 384                                       ENCINO              CA     91316‐5238
ANDERSON, ALLEN        2430 S WALKING H PL                                                                           TUCSON              AZ     85713‐6762
ANDERSON, ALLEN
ANDERSON, ALLEN E      1317 BROOKLYN AVE                                                                             BROOKLYN           NY      11203‐5518
ANDERSON, ALLEN J      1615 CROCKETT HILLS BLVD                                                                      BRENTWOOD          TN      37027‐7334
ANDERSON, ALLEN W      940 MEADOWLAWN ST                                                                             SAGINAW            MI      48604‐2265
ANDERSON, ALLIE W      32643 JOY RD                                                                                  WESTLAND           MI      48185‐1575
ANDERSON, ALMA C       1826 PRIMROSE LN                                                                              FAIRBORN           OH      45324‐9795
ANDERSON, ALMA J       1213 W WOODFIELD DR                                                                           ALTON              IL      62002‐7519
ANDERSON, ALMA K       1129 SPENCER DR                                                                               BROWNSBURG         IN      46112‐7713
ANDERSON, ALTON J      50 CRABTREE RD                                                                                ROSSVILLE          GA      30741‐5005
ANDERSON, ALVIN K      219 DOROTHY CIR                                                                               LIMESTONE          TN      37681‐2843
ANDERSON, ALVIN L      833 SCR 26                                                                                    HELENA             OH      43435
ANDERSON, ALVIN P      318 NORA T LN                                                                                 THIBODAUX          LA      70301‐7432
ANDERSON, ALVIN R      6867 WALSH RD                                                                                 DEXTER             MI      48130‐9656
ANDERSON, AMY J        10110 HOFFMAN RD                                                                              FORT WAYNE         IN      46816‐9611
ANDERSON, AMY K        3611 ANDOVER RD                                                                               ANDERSON           IN      46013
ANDERSON, ANDRE J      18 COLE BLVD                                                                                  MIDDLETOWN         DE      19709‐1617
ANDERSON, ANDREA W     SHANNON LAW FIRM               100 W GALLATIN ST                                              HAZLEHURST         MS      39083‐3007
ANDERSON, ANDREW D     APT A                          345 SAINT THOMAS DRIVE                                         NEWPORT NEWS       VA      23606‐4311
ANDERSON, ANDREW D.    SHANNON LAW FIRM               100 W GALLATIN ST                                              HAZLEHURST         MS      39083‐3007
ANDERSON, ANDREW W     972 W BRIARCLIFF RD                                                                           BOLINGBROOK        IL      60440‐5216
ANDERSON, ANDY         6915 ASKEW AVENUE                                                                             KANSAS CITY        MO      64132‐3235
ANDERSON, ANDY         6915 ASKEW AVE                                                                                KANSAS CITY        MO      64132‐3235
ANDERSON, ANGELA
ANDERSON, ANGELA E     21857 SHEFFIELD DR                                                                            FARMINGTON HILLS    MI     48335‐5467

ANDERSON, ANITA M      4302 LYNWOOD CT                                                                               FORT WAYNE          IN     46815‐6965
ANDERSON, ANITA MARY   4920 ORCHARD LAKE ROAD                                                                        WEST BLOOMFIELD     MI     48323‐2963

ANDERSON, ANN          TRACY E TODD                   5473 BLAIR RD STE 200                                          DALLAS             TX      75231‐4168
ANDERSON, ANN R        2600 ROSEHILL CIR                                                                             LITHIA SPRINGS     GA      30122‐1979
ANDERSON, ANNA L       262 CAMELOT DR                                                                                NOKOMIS            FL      34275‐1873
ANDERSON, ANNA M       730 W RIVER DR                                                                                COMMERCE TWP       MI      48382‐5019
ANDERSON, ANNA M       29 SEVERNDALE RD               C/O CLIFFORD H ANDERSON JR                                     SEVERNA PARK       MD      21146‐2721
ANDERSON, ANNA M       730 WEST RIVER DR                                                                             COMMERCE TWP       MI      48382‐5019
ANDERSON, ANNE C       PO BOX 1976                                                                                   LAND O LAKES       FL      34639‐1976
ANDERSON, ANNE M       2 HILLCREST FARM RD                                                                           CARRIERE           MS      39426‐7027
ANDERSON, ANNETTE      6299 RIVER RD                                                                                 MADISON            OH      44057‐9758
ANDERSON, ANNETTE B    3829 RISEDORPH                                                                                FLINT              MI      48506‐3129
ANDERSON, ANNETTE D    29457 W BRITTANY CT                                                                           ROSEVILLE          MI      48066‐2061
ANDERSON, ANNETTE D    2094 JACKSON ST SW                                                                            WARREN             OH      44485‐3444
ANDERSON, ANNETTE L    14112 PENDLETON MILLS CT                                                                      FORT WAYNE         IN      46814‐8802
ANDERSON, ANNIE M      PO BOX 1374                                                                                   CLINTON            MS      39060‐1374
ANDERSON, ANNIE M      1061 PHEASANT WALK                                                                            KAUFMAN            TX      75142‐7351
ANDERSON, ANTHONY      10605 DUNES CT                                                                                INDIANAPOLIS       IN      46239‐9768
ANDERSON, ANTHONY      19142 PROVENCIAL DR                                                                           MACOMB             MI      48044‐1284
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Name                      Address1                         Address2                      Address3   Address4               City           State   Zip
ANDERSON, ANTHONY J       PO BOX 266                                                                                       KENDALL         WI     54638‐0266
ANDERSON, ANTHONY L       PO BOX 60613                                                                                     ROCHESTER       NY     14606‐0613
ANDERSON, ANTHONY L       28730 SALEM MINOR HILL RD                                                                        LESTER          AL     35647‐3802
ANDERSON, ANTHONY M       410 BRADFORD CIR                                                                                 COLUMBIA        TN     38401‐7012
ANDERSON, ANTIONE         2639 E 18TH ST                                                                                   INDIANAPOLIS    IN     46218‐4309
ANDERSON, ANTOINETTE M    101 RIVEREDGE DR                                                                                 NEW CASTLE      DE     19720
ANDERSON, ANTON F         8700 GALE RD                                                                                     WHITE LAKE      MI     48386‐1407
ANDERSON, ANTONIO D       1212 DUENKE DR                                                                                   SAINT LOUIS     MO     63137‐1103
ANDERSON, ARCHIBALD R     10436 DAR LN                                                                                     GOODRICH        MI     48438‐9466
ANDERSON, ARCHIE          KROHN & MOSS                     3 SUMMIT PARK DR STE 100                                        INDEPENDENCE    OH     44131‐2598
ANDERSON, ARLENE          SIMMONS FIRM                     PO BOX 559                                                      WOOD RIVER       IL    62095‐0559
ANDERSON, ARLENE M        13151 S FRANCIS RD                                                                               DEWITT          MI     48820‐9209
ANDERSON, ARNETHA         611 S 29TH ST                                                                                    SAGINAW         MI     48601
ANDERSON, ARNOLD D        10660 N JEROME RD                                                                                SAINT LOUIS     MI     48880‐9721
ANDERSON, ARTHUR C        4713 BIRCHCREST DR                                                                               FLINT           MI     48504‐2001
ANDERSON, ARTHUR E        46 SALLEE LN                                                                                     PONTIAC         MI     48340‐1655
ANDERSON, ARTHUR H        546 HIGH ST                                                                                      CHARLOTTE       MI     48813‐1246
ANDERSON, ARTHUR L        164 EAGLE RIDGE DR                                                                               WAVERLY          IA    50677
ANDERSON, ARTHUR L        4329 S COUNTY RD 50 E                                                                            KOKOMO          IN     46902
ANDERSON, ARTHUR L        7056 TRINKLEIN RD                                                                                SAGINAW         MI     48609‐5353
ANDERSON, ARVILLA F       9795 OLIVE ST                                                                                    PRINCETON       TX     75407‐4962
ANDERSON, ASHLEY C        GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                     NORFOLK         VA     23510‐2212
                                                           STREET, SUITE 600
ANDERSON, ASTRID A        2413 OAKRIDGE DR                                                                                 FLINT          MI      48507‐6213
ANDERSON, AUDREY A        723 W ST CLAIR ST                                                                                ALMONT         MI      48003‐8438
ANDERSON, AUDREY A        723 W SAINT CLAIR ST                                                                             ALMONT         MI      48003‐8438
ANDERSON, AUDREY J        2120 N EAST ST                                                                                   LANSING        MI      48906‐4176
ANDERSON, AUDREY J        2120 N EAST                                                                                      LANSING        MI      48906‐4176
ANDERSON, AUDREY L        11910 EAST 75TH                                                                                  RAY TOWN       MO      64138‐2515
ANDERSON, AUDREY L        11910 E 75TH ST                                                                                  RAYTOWN        MO      64138‐2515
ANDERSON, AUDREY L.       1923 SO. CENTRAL PARK                                                                            CHICAGO        IL      60623
ANDERSON, AUDREY M        395 TALLASSEE RD                                                                                 ATHENS         GA      30606
ANDERSON, AUGUSTA J       34 NEEDLE POINT LANE                                                                             WILLINGBORO    NJ      08046‐1928
ANDERSON, AUGUSTA J       34 NEEDLEPOINT LN                                                                                WILLINGBORO    NJ      08046‐1928
ANDERSON, AULA EARNEASE   3980 17TH STREET                                                                                 ECORSE         MI      48229‐1310
ANDERSON, AULA EARNEASE   3980 17TH ST                                                                                     ECORSE         MI      48229‐1310
ANDERSON, AUSTIN G        3530 E 8TH ST                                                                                    ANDERSON       IN      46012‐4606
ANDERSON, BARBARA         715 HARTFORD DR.                                                                                 ELYRIA         OH      44035
ANDERSON, BARBARA         534 E APPLEWOOD DR                                                                               EDGERTON       WI      53534‐8913
ANDERSON, BARBARA A       32917 BROOKSIDE CIR                                                                              LIVONIA        MI      48152‐1426
ANDERSON, BARBARA J       143 S 15TH ST                                                                                    SAGINAW        MI      48601‐1845
ANDERSON, BARBARA J       9000 SW 92ND ST UNIT A                                                                           OCALA          FL      34481‐9282
ANDERSON, BARBARA J       1051 TERRY AVE                                                                                   MT MORRIS      MI      48458‐2539
ANDERSON, BARBARA J       3706 BRISTOL DR                                                                                  TROY           MI      48083‐5180
ANDERSON, BARBARA JANE    22290 OUTER DR                                                                                   DEARBORN       MI      48124‐4255
ANDERSON, BARBARA JANE    22290 OUTER DRIVE                                                                                DEARBORN       MI      48124‐4255
ANDERSON, BARBARA L       6248 E ADAMS                                                                                     BELLEVILLE     MI      48111‐2586
ANDERSON, BARBARA M       PO BOX 389                                                                                       MAX MEADOWS    VA      24360‐0389
ANDERSON, BARBARA SUE     1031 LEISURE DR                                                                                  FLINT          MI      48507‐4058
ANDERSON, BARNEY J        4183 EMERALD NORTH DR                                                                            DECATUR        GA      30035‐2750
ANDERSON, BARRON          16612 COYLE ST                                                                                   DETROIT        MI      48235‐3860
ANDERSON, BARRY L         1350 ROLLIN HWY                                                                                  HUDSON         MI      49247‐9727
ANDERSON, BARRY M         8832 BALL ST                                                                                     PLYMOUTH       MI      48170‐4002
ANDERSON, BARRY W         117 E SIERRA DR                                                                                  RAYMORE        MO      64083‐8534
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ANDERSON, BASIL E      8703 SMITH RD RT#1                                                                             PERRINTON           MI     48871
ANDERSON, BEATRICE     3511 E HANCOCK ST                                                                              DETROIT             MI     48207‐1331
ANDERSON, BEATRICE     3511 HANCOCK                                                                                   DETROIT             MI     48207‐1331
ANDERSON, BEATRICE A   10951 JOHNSON BLVD APT H706                                                                    SEMINOLE            FL     33772‐4798
ANDERSON, BEN J        5425 MANKER ST                                                                                 INDIANAPOLIS        IN     46227‐1882
ANDERSON, BENNIE D     6728 TEXAS HIGHWAY 77 W                                                                        ATLANTA             TX     75551‐5524
ANDERSON, BENNIE M     25483 WYKESHIRE RD                                                                             FARMINGTON HILLS    MI     48336‐1578

ANDERSON, BERENICE E   2326 E WOODLYN RD                                                                              PASADENA            CA     91104‐3444
ANDERSON, BERLEY       149 CARLTON DR                                                                                 RICHMOND            KY     40475‐8202
ANDERSON, BERLEY       149 CARLTON COURT                                                                              RICHMOND            KY     40475‐0475
ANDERSON, BERNARD      3021 DELVIEW DR                 APT D                                                          DELCITY             OK     73115
ANDERSON, BERNARD      APT D                           3021 DEL VIEW DRIVE                                            OKLAHOMA CITY       OK     73115‐4233
ANDERSON, BERNARD      3021 DEL VIEW DR APT D                                                                         DEL CITY            OK     73115‐4233
ANDERSON, BERNARD M    1241 S PEARL ST                                                                                JANESVILLE          WI     53546‐5579
ANDERSON, BERNICE      18704 NEWPORT DR                                                                               BROWNSTOWN          MI     48173‐8778
ANDERSON, BERNICE H    135 GRAND LAGOON SHORE DR.                                                                     PANAMA CITY         FL     32408‐2408
                                                                                                                      BEACH
ANDERSON, BERNICE M    7978 BRANCH CREEK DR                                                                           INDIANAPOLIS        IN     46268‐3650
ANDERSON, BERNICE T    2601 COLUMBUS WAY STH                                                                          SAINT PETERSBURG    FL     33712

ANDERSON, BERT         1150 WOLF RUN DR                                                                               LANSING            MI      48917‐9780
ANDERSON, BERT E       1150 WOLF RUN DR                                                                               LANSING            MI      48917‐9780
ANDERSON, BERTHA F     1099 DALE HOLLOW ESTATES                                                                       MONROE             TN      38573‐8573
ANDERSON, BERTHA L     4055 WEST MICHIGAN AVE          APT 47                                                         SAGINAW            MI      48638‐6635
ANDERSON, BERTHA L     4055 W MICHIGAN AVE APT 47                                                                     SAGINAW            MI      48638‐6635
ANDERSON, BERTIE E     PO BOX 673                                                                                     DRESDEN            TN      38225‐0673
ANDERSON, BESSIE J     1629 OAKHILL RD                                                                                KOKOMO             IN      46902‐3172
ANDERSON, BETHANY A    6171 KING ARTHUR DR                                                                            SWARTZ CREEK       MI      48473‐8808
ANDERSON, BETSY B      519 CLEARVIEW DRIVE                                                                            HOLLIDAYSBURG      PA      16648‐9279
ANDERSON, BETTIE M     63 VILLAGE PARK DR                                                                             NEWNAN             GA      30265‐5546
ANDERSON, BETTY        3532 GLENWOOD AVE                                                                              LANSING            MI      48910‐4708
ANDERSON, BETTY        4256 MAYFAIR                                                                                   DEARBORN           MI      48127
ANDERSON, BETTY        BIFFERATO GENTILOTTI & BIDEN    PO BOX 2165                                                    WILMINGTON         DE      19899‐2165
ANDERSON, BETTY        17135 RAY ST                                                                                   RIVERVIEW          MI      48193‐6668
ANDERSON, BETTY C      2022 S MONROE STREET                                                                           MUNCIE             IN      47302‐4269
ANDERSON, BETTY J      1911 MCNAIR PLACE                                                                              ST CHARLES         MO      63301‐4730
ANDERSON, BETTY J      3318 W FRANCES RD                                                                              CLIO               MI      48420
ANDERSON, BETTY J      2705 HIGHLAND PL                                                                               INDIANAPOLIS       IN      46208‐5122
ANDERSON, BETTY J      1911 MCNAIR PL                                                                                 SAINT CHARLES      MO      63301‐4730
ANDERSON, BETTY J      3612 BONAIRE CT                                                                                PUNTA GORDA        FL      33950‐8122
ANDERSON, BETTY J      2955 HAINES RD                                                                                 LAPEER             MI      48446‐8307
ANDERSON, BETTY J      19570 ORMAN RD                                                                                 ATHENS             AL      35614‐6936
ANDERSON, BETTY K      403 MILLERS RUN                                                                                GLEN MILLS         PA      19342‐2385
ANDERSON, BETTY L      4120 COCKROACH BAY RD           T475A                                                          RUSKIN             FL      33570
ANDERSON, BETTY L      2104 CRESTVIEW CT                                                                              WAUWATOSA          WI      53226‐2049
ANDERSON, BETTY O      PO BOX 133                                                                                     WEST MILTON        OH      45383‐0133
ANDERSON, BETTY R      2842 BOWMAN HWY                                                                                BOWMAN             GA      30624‐2716
ANDERSON, BETTY R      14529 REEDER ST                                                                                OVERLAND PARK      KS      66221‐8160
ANDERSON, BETTY S      6485 WENGERLAWN RD                                                                             BROOKVILLE         OH      45309‐9228
ANDERSON, BETTY S      320 WAKEFIELD DR                                                                               ANDERSON           IN      46013
ANDERSON, BETTY V      310 DWIGHT DR                                                                                  TIPP CITY          OH      45371‐2832
ANDERSON, BETTY V      6114 MAPLERIDGE DRIVE                                                                          FLINT              MI      48532‐2146
ANDERSON, BETTYE S     45095 DESERT VIEW CT                                                                           LA QUINTA          CA      92253‐4269
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Name                     Address1                        Address2                        Address3   Address4               City             State Zip
ANDERSON, BEVERLY        FRASIER FRASIER & HICKMAN       2038 WEST PARK AVENUE 1700                                        TULSA             OK 74101‐0799
                                                         SOUTHWEST BOULEVARD
ANDERSON, BEVERLY        4007 COGGINS ST                                                                                   FLINT            MI    48506
ANDERSON, BIGE F         25250 EUREKA RD APT 310                                                                           TAYLOR           MI    48180‐6428
ANDERSON, BILL           7630 ARDWICK DR                                                                                   LAKE WORTH       FL    33467‐7714
ANDERSON, BILL J         21007 S CLEVELAND AVE                                                                             BELTON           MO    64012‐9008
ANDERSON, BILL W         204 HIGH ST                                                                                       PONTIAC          MI    48342‐1121
ANDERSON, BILLY D        130 SPORTSMAN LN                                                                                  ANDERSONVILLE    TN    37705‐2934
ANDERSON, BILLY E        5698 W. NORTH DR.                                                                                 FRANKTON         IN    46044
ANDERSON, BILLY J        4423 STORIE RD                                                                                    ARLINGTON        TX    76001‐2922
ANDERSON, BILLY RAY      C/O THE LIPMAN LAW FIRM         5915 PONCE DE LEON BLVD         SUITE 44                          CORAL GABLES     FL    33146
ANDERSON, BILLY RAY      MCKENNA & CHIDO                 436 BOULEVARD OF THE ALLIES ‐                                     PITTSBURGH       PA    15219
                                                         SUITE 500
ANDERSON, BILLY T        2409 BURNING TREE DR                                                                              DAYTON           OH    45440‐1207
ANDERSON, BIRGIT E       PO BOX 10                       C/O MARK SEAQUIST                                                 PRESTON          MN    55965‐0010
ANDERSON, BLONESE        1872 ROCK LAKE LOOP                                                                               VIRGINIA BCH     VA    23456‐5818
ANDERSON, BOBBIE J       5122 MOODY DR                                                                                     KINGSPORT        TN    37664‐4701
ANDERSON, BOBBIE L       717 ORMSBY ST                                                                                     ADRIAN           MI    49221‐2347
ANDERSON, BOBBY F        1703 HAMLET DR                                                                                    YPSILANTI        MI    48198‐3608
ANDERSON, BOBBY G        42512 PLYMOUTH HOLLOW APT #47                                                                     PLYMOUTH         MI    48170
ANDERSON, BOBBY J        2223 TWIN PEAKS CT                                                                                SPRING HILL      TN    37174‐2338
ANDERSON, BOBBY J        332 FLATROCK RD                                                                                   BURLESON         TX    76028‐1253
ANDERSON, BOBBY N        13139 RIPLEY RD                                                                                   LINDEN           MI    48451‐9417
ANDERSON, BONITA         7374 N JENNINGS RD                                                                                MOUNT MORRIS     MI    48458‐9305
ANDERSON, BONNETTE       18065 RIOPELLE ST                                                                                 HIGHLAND PARK    MI    48203
ANDERSON, BONNIE L       4004 ANGELUS ST                                                                                   PARAGOULD        AR    72450
ANDERSON, BONNIE S       313 ELMO STREET                                                                                   CLEVURNE         TX    76031
ANDERSON, BRAD A         #A                              4401 MESA DRIVE                                                   COLUMBIA         MO    65203‐0519
ANDERSON, BRADLEY B      11944 FOREMAN ST                                                                                  LOWELL           MI    49331‐9032
ANDERSON, BRADLEY I      624 E J F TOWNLINE RD                                                                             MILTON           WI    53563‐9604
ANDERSON, BRADLEY K      1340 S POOR FARM RD                                                                               HARRISVILLE      MI    48740
ANDERSON, BRADLEY K.     1340 S POOR FARM RD                                                                               HARRISVILLE      MI    48740‐9551
ANDERSON, BRADLEY R      703 DAVENPORT AVE                                                                                 SAGINAW          MI    48602
ANDERSON, BRENDA         9450 ROYAL LANE APT. 2022                                                                         DALLAS           TX    75243
ANDERSON, BRENDA
ANDERSON, BRENDA G       213 W WINDSOR CIR                                                                                 BOWLING GREEN    KY    42101‐7333
ANDERSON, BRENDA J       3509 STERLING ST                                                                                  FLINT            MI    48504‐3559
ANDERSON, BRENDA J       2651 PARASOL DRIVE                                                                                TROY             MI    48083‐2454
ANDERSON, BRENT W        17TH THUNDER MOUNTAIN ROAD                                                                        EDGEWOOD         NM    87015
ANDERSON, BRENT W        17TH UNDER MOUNTAIN RD.                                                                           EDGEWOOD         NM    87015
ANDERSON, BRIAN K        821 S 7TH ST                                                                                      RICHMOND         IN    47374
ANDERSON, BRIAN K        861 N CAMBRIDGE RD                                                                                CAMBRIDGE CITY   IN    47327‐9493
ANDERSON, BRIAN R        16369 LINDEN RD                                                                                   LINDEN           MI    48451‐9035
ANDERSON, BROCK          KROHN & MOSS ‐ IL               120 WEST MADISON STREET, 10TH                                     CHICAGO           IL   60602
                                                         FLOOR
ANDERSON, BROOK E        25279 CASTLEWOOD DR                                                                               WOODHAVEN        MI    48183‐4310
ANDERSON, BRUCE          969 CHADS WAY                                                                                     CHARLOTTE        MI    48813‐8758
ANDERSON, BRUCE A        1251 HAYDEN RD                                                                                    MUIR             MI    48860‐9767
ANDERSON, BRUCE B        2463 LANDINGTON WAY                                                                               DULUTH           GA    30096‐4201
ANDERSON, BRUCE E        21564 BEHRENDT AVE                                                                                WARREN           MI    48091‐2779
ANDERSON, BRUCE E        7575 W 92ND ST                                                                                    ZIONSVILLE       IN    46077‐9115
ANDERSON, BRUCE EDWARD   21564 BEHRENDT AVE                                                                                WARREN           MI    48091‐2779
ANDERSON, BRUCE M        9049 BUGGY WHIP                                                                                   DAVISBURG        MI    48350‐1666
ANDERSON, BRUCE R        1128 HARBOR HILLS LN                                                                              SANTA BARBARA    CA    93109‐1772
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Name                        Address1                      Address2                 Address3       Address4               City               State   Zip
ANDERSON, BRUCE W           26875 SW MAYETTE DR                                                                          SHERIDAN            OR     97378‐9701
ANDERSON, BRUCE W           317 KONA RD                                                                                  BAKERSVILLE         NC     28705‐7022
ANDERSON, BULAH J           5835 CLARKSTON RD                                                                            CLARKSTON           MI     48348‐4709
ANDERSON, C                 PO BOX 1291                   DIVISIONAL COMPTROLLER                                         DAYTON              OH     45401‐1291
ANDERSON, C J               9088 RIVARD RD                                                                               MILLINGTON          MI     48746‐9453
ANDERSON, CAL J             1830 N PARENT ST                                                                             WESTLAND            MI     48185‐3533
ANDERSON, CALVIN L          28695 MISTLETOE AVE                                                                          WARSAW              MO     65355‐7003
ANDERSON, CANDACE M         420 W FRANK ST                                                                               MITCHELL            IN     47446
ANDERSON, CANDICE           SPRUIELL LAW OFFICE           150 S CAPITOL ST                                               CANTON              TX     75103‐1428
ANDERSON, CANDICE
ANDERSON, CANDICE           320 VZCR 4115                                                                                CANTON             TX      75103
ANDERSON, CARL A            4812 GULL RD                                                                                 LANSING            MI      48917‐4146
ANDERSON, CARL A            300 S RATH AVE UNIT 5                                                                        LUDINGTON          MI      49431‐2077
ANDERSON, CARL D            1717 5TH ST                                                                                  BEDFORD            IN      47421‐2011
ANDERSON, CARL E            4707 ELM PL                                                                                  TOLEDO             OH      43613‐3030
ANDERSON, CARL E            N5699 STATE HIGHWAY M95                                                                      IRON MOUNTAIN      MI      49801‐9550
ANDERSON, CARL E            3627 18 MILE RD                                                                              BARRYTON           MI      49305‐9758
ANDERSON, CARL E            2751 CURTICEWOOD DR NE                                                                       GRAND RAPIDS       MI      49525‐3964
ANDERSON, CARL E            5751 ROWLAND AVE                                                                             KANSAS CITY        KS      66104‐2843
ANDERSON, CARL F            2031 5TH AVE N                                                                               WISCONSIN RAPIDS   WI      54495‐1717

ANDERSON, CARL L            4026 GRAND BLANC RD                                                                          SWARTZ CREEK       MI      48473‐9149
ANDERSON, CARL R            2985 GEMINI ST                                                                               SAGINAW            MI      48601‐7085
ANDERSON, CARL R            2456 RAINBOW CT                                                                              CINCINNATI         OH      45230‐1423
ANDERSON, CARL T            207 NW WALNUT ST                                                                             LEES SUMMIT        MO      64063‐2150
ANDERSON, CARL W            10992 MAIDENS RD                                                                             BEAR LAKE          MI      49614‐9734
ANDERSON, CARLA J           7710 W WATERFORD, APT         6                                                              MILWAUKEE          WI      53220
ANDERSON, CARLENE R         12110 OAKDALE WAY                                                                            GOSHEN             KY      40026‐9520
ANDERSON, CARLOS A          8839 WESTFIELD WAY                                                                           INDIANAPOLIS       IN      46240
ANDERSON, CARLTON T         18018 SAINT EMILION CT                                                                       SPRING             TX      77379‐2808
ANDERSON, CARMALEDA         303 SMITH ST., APT 212                                                                       CLIO               MI      48420‐1398
ANDERSON, CARMALEDA         303 SMITH ST APT 212                                                                         CLIO               MI      48420‐1398
ANDERSON, CARMEN D          PO BOX 181614                                                                                ARLINGTON          TX      76096‐1614
ANDERSON, CARMEN DAMITIA    PO BOX 181614                                                                                ARLINGTON          TX      76096‐1614
ANDERSON, CARMEN M          38212 LAURENWOOD ST                                                                          WAYNE              MI      48184‐1031
ANDERSON, CARMEN MICHELLE   38212 LAURENWOOD ST                                                                          WAYNE              MI      48184‐1031
ANDERSON, CAROL E           3208 CORAL RIDGE DR                                                                          LEAGUE CITY        TX      77573‐9017
ANDERSON, CAROL F           19498 MCCRAY DR                                                                              ABINGDON           VA      24211‐6836
ANDERSON, CAROL L           023 N, 2900 E RD                                                                             HOOPESTON          IL      60942‐1472
ANDERSON, CAROL L           2500 MANN RD LOT 253                                                                         CLARKSTON          MI      48346‐4284
ANDERSON, CAROL L           23 N 2900 EAST RD                                                                            HOOPESTON          IL      60942‐1472
ANDERSON, CAROL R           865 CLIFFS DR APT 101B                                                                       YPSILANTI          MI      48198‐7335
ANDERSON, CAROLE            657 COLVIN BLVD APT 610                                                                      KENMORE            NY      14217‐2850
ANDERSON, CAROLE D          2 MALVERN AVE                                                                                NEWARK             DE      19713‐2603
ANDERSON, CAROLE L          3063 PINEGATE DR                                                                             FLUSHING           MI      48433‐2472
ANDERSON, CAROLINA J        3891 BLACKHAWK DR SW                                                                         GRANDVILLE         MI      49418‐2423
ANDERSON, CAROLINA JEAN     3891 BLACKHAWK DR SW                                                                         GRANDVILLE         MI      49418‐2423
ANDERSON, CAROLYN           2430 S WALKING H PL                                                                          TUCSON             AZ      85713‐6762
ANDERSON, CAROLYN           12708 ORLEY DR                                                                               FLORISSANT         MO      63033‐4615
ANDERSON, CAROLYN           2613 NW 118TH ST                                                                             OKLAHOMA CITY      OK      73120‐7002
ANDERSON, CAROLYN J         7587 COUNTY HIGHWAY 134                                                                      NEVADA             OH      44849‐9753
ANDERSON, CAROLYN L         1250 N ELBA RD                                                                               LAPEER             MI      48446‐8009
ANDERSON, CAROLYN M         5622 MEADOW VIEW LN                                                                          BAY CITY           MI      48706‐5644
ANDERSON, CARRIE M          554 PAMLICO ST                                                                               COLUMBUS           OH      43228‐2555
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Name                        Address1                      Address2                  Address3      Address4               City            State   Zip
ANDERSON, CARROL D          1704 SE 17TH ST                                                                              MOORE            OK     73160‐7437
ANDERSON, CARROL D          716 WESTRIDGE DR                                                                             YUKON            OK     73099‐6726
ANDERSON, CARROLL           PO BOX 285                                                                                   REX              GA     30273‐0285
ANDERSON, CARROLL G         1086 W KLEIN ST                                                                              MOUNT MORRIS     MI     48458‐2350
ANDERSON, CASANDRA J        95 WETMORE PARK                                                                              ROCHESTER        NY     14606‐1421
ANDERSON, CATHERINE         912 NEW CENTURY BLVD S                                                                       SAINT PAUL       MN     55119
ANDERSON, CATHERINE A       1462 RICHMOND AVE                                                                            LINCOLN PARK     MI     48146‐3367
ANDERSON, CATHERINE L       3315 ROYLE PALM DR                                                                           EDGEWATER        FL     32141
ANDERSON, CATHERINE L       3315 ROYAL PALM DRIVE                                                                        EDGEWATER        FL     32141‐6626
ANDERSON, CATHERINE M       903 WEST TENTH STREET                                                                        NEW CASTLE       DE     19720‐6001
ANDERSON, CATHERINE M       903 W 10TH ST                                                                                NEW CASTLE       DE     19720‐4911
ANDERSON, CATHRYN C         13414 N STATE RD                                                                             OTISVILLE        MI     48463‐9787
ANDERSON, CATHRYN CARLINE   13414 N STATE RD                                                                             OTISVILLE        MI     48463‐9787
ANDERSON, CECIL             4163 PARSONS WALK                                                                            SAGINAW          MI     48603‐7265
ANDERSON, CELESTE M         807 OZARK ST APT # J                                                                         MARTHSVILLE      MO     63357‐1308
ANDERSON, CHARLENE          WEITZ & LUXENBERG             180 MAIDEN LANE                                                NEW YORK         NY     10038
ANDERSON, CHARLENE M        6700 CARINTHIA DR                                                                            DAYTON           OH     45459‐1210
ANDERSON, CHARLENE M        13532 TUSCOLA RD                                                                             CLIO             MI     48420
ANDERSON, CHARLES           C/O THE LIPMAN LAW FIRM       5915 PONCE DE LEON BLVD   SUITE 44                             CORAL GABLES     FL     33146
ANDERSON, CHARLES           LIPMAN DAVID M                5901 SW 74TH ST STE 304                                        MIAMI            FL     33143‐5163
ANDERSON, CHARLES E         84 GROVE AVENUE                                                                              GLEN ELLYN        IL    60137‐5815
ANDERSON, CHARLES E         24 BRANDYWINE SQUARE                                                                         EUCLID           OH     44143
ANDERSON, CHARLES E         3650 PALMYRA RD SW                                                                           WARREN           OH     44481‐9703
ANDERSON, CHARLES E         104 N LANSING ST                                                                             SAINT JOHNS      MI     48879‐1420
ANDERSON, CHARLES E         24 BRADYWINE SQ                                                                              CLEVELAND        OH     44143‐2446
ANDERSON, CHARLES E         19 NOKOMIS PKWY                                                                              CHEEKTOWAGA      NY     14225‐4223
ANDERSON, CHARLES F         2096 WILLOW GROVE WAY                                                                        THE VILLAGES     FL     32162‐4342
ANDERSON, CHARLES G         11871 W STATE ROAD 28                                                                        REDKEY           IN     47373‐9618
ANDERSON, CHARLES G         1523 NORTHCREST DR                                                                           ANDERSON         IN     46012‐2819
ANDERSON, CHARLES H         341 HOOVER AVE                                                                               BLOOMFIELD       NJ     07003‐3918
ANDERSON, CHARLES H         1694 POLES RD                                                                                ESSEX            MD     21221‐2915
ANDERSON, CHARLES H         101 UPPER HILLSIDE DR                                                                        BELLBROOK        OH     45305‐2122
ANDERSON, CHARLES J         1803 DUNWOODY RD                                                                             BALTIMORE        MD     21234‐2705
ANDERSON, CHARLES J         220 W 100 N                                                                                  TIPTON           IN     46072‐8754
ANDERSON, CHARLES J         708 HARBOR VIEW DR                                                                           MIO              MI     48647‐9764
ANDERSON, CHARLES J         512 PEARL COURT BOX 44                                                                       CRYSTAL          MI     48818
ANDERSON, CHARLES L         1103 CAMBRIDGE LN                                                                            DYER             IN     46311‐1305
ANDERSON, CHARLES L         1106 EASON AVE APT A                                                                         MUSCLE SHOALS    AL     35661‐1716
ANDERSON, CHARLES M         3390 S COUNTY ROAD 550 W                                                                     YORKTOWN         IN     47396‐9621
ANDERSON, CHARLES N         1900 REDBUD LN APT 311                                                                       LANSING          MI     48917‐7644
ANDERSON, CHARLES N         2720 LOUISE AVENUE                                                                           BALTIMORE        MD     21214‐1212
ANDERSON, CHARLES P         20215 ROBINWOOD CT APT 506                                                                   HAGERSTOWN       MD     21742‐8152
ANDERSON, CHARLES R         2318 LOST CREEK DR                                                                           FLUSHING         MI     48433‐9468
ANDERSON, CHARLES R         206 PRIMROSE LN                                                                              FLUSHING         MI     48433‐2654
ANDERSON, CHARLES R         ROUTE 1 BOX 34                                                                               DEKALB           MS     39328‐9704
ANDERSON, CHARLES R         1929 TERI LN                                                                                 ANDERSON         IN     46012‐1950
ANDERSON, CHARLES R         347 LANGFIELD DR APT A                                                                       BUFFALO          NY     14215
ANDERSON, CHARLES R         4710 W JERICHO RD                                                                            TASWELL          IN     47175‐7304
ANDERSON, CHARLES R         36851 AARON CT                                                                               STERLING HTS     MI     48312‐3001
ANDERSON, CHARLES R         1617 STOCKER AVE                                                                             FLINT            MI     48503‐3430
ANDERSON, CHARLES R         386 HARBOUR ANDERSON RD                                                                      DE KALB          MS     39328‐7556
ANDERSON, CHARLES V         2046 ALF HARRIS RD 2046                                                                      PROSPECT         TN     38477
ANDERSON, CHARLES V         713 W SPRUCE ST PMB 736                                                                      DEMING           NM     88030‐3548
ANDERSON, CHARLES W         2910 PARK DR                                                                                 ADRIAN           MI     49221‐4143
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Name                        Address1                             Address2             Address3            Address4               City              State   Zip
ANDERSON, CHARLES W         2956 W. COUNTY ROAD                  1200 N.                                                         BRAZIL             IN     47834
ANDERSON, CHARLES W         9833 ANA HULU ST                                                                                     DIAMONDHEAD        MS     39525‐4400
ANDERSON, CHARLES W         6232 BROADWAY AVENUE                                                                                 NEWARK             CA     94560‐4008
ANDERSON, CHARLES W         1000 W STATE LINE RD APT 208                                                                         TOLEDO             OH     43612‐4275
ANDERSON, CHARLES WILLIAM   1000 W STATE LINE RD APT 208                                                                         TOLEDO             OH     43612‐4275
ANDERSON, CHARLIE F         12747 WOODMONT AVE                                                                                   DETROIT            MI     48227‐1215
ANDERSON, CHARLIE G         213 SW 40TH TERREST                                                                                  TOPEKA             KS     66609
ANDERSON, CHARLOTTE J       1514 KNAPP AVE                                                                                       FLINT              MI     48503‐3240
ANDERSON, CHARLOTTE J       7675 CRESTROSE DR                                                                                    MANCELONA          MI     49659‐9683
ANDERSON, CHARLOTTE R       916 VIRGIL DR                                                                                        GAS CITY           IN     46933‐1554
ANDERSON, CHERYL K          22910 PINE RD                        ANGOLA NECK PARK     MAILBOX H DOOR 10                          LEWES              DE     19958‐5651
ANDERSON, CHERYL L          7185 THUNDERING HERD PL                                                                              DAYTON             OH     45415‐1267
ANDERSON, CHERYL L          8440 ARBELA RD                                                                                       MILLINGTON         MI     48746‐9526
ANDERSON, CHERYL L          3333 BURTON PLACE                                                                                    ANDERSON           IN     46013‐5241
ANDERSON, CHERYL L          3333 BURTON PL                                                                                       ANDERSON           IN     46013‐5241
ANDERSON, CHESTER E         3118 ILLINOIS STREET                                                                                 BEDFORD            IN     47421‐5458
ANDERSON, CHESTER H         5210 STURGES CT                                                                                      ANTIOCH            CA     94531‐8294
ANDERSON, CHESTER M         10401 KINNEVILLE RD                                                                                  EATON RAPIDS       MI     48827‐9771
ANDERSON, CHESTER R         2804 S TACOMA AVE                                                                                    MUNCIE             IN     47302‐4668
ANDERSON, CHLORA W          3905 CANTEBURY DR                                                                                    CULLEOKA           TN     38451‐2050
ANDERSON, CHLORA WALENA     3905 CANTEBURY DR                                                                                    CULLEOKA           TN     38451‐2050
ANDERSON, CHONG S           16553 GLAZE RD                                                                                       ATHENS             AL     35611‐7569
ANDERSON, CHRIS
ANDERSON, CHRIS C           6085 BYRAM LAKE DR                                                                                   LINDEN             MI     48451‐8784
ANDERSON, CHRIS L           7020 CARLYLE XING                                                                                    WEST BLOOMFIELD    MI     48322‐3082

ANDERSON, CHRISTELLA M      PO BOX 73290                                                                                         LOS ANGELES       CA      90003
ANDERSON, CHRISTIAN D       429 LYON CT                                                                                          SOUTH LYON        MI      48178‐1239
ANDERSON, CHRISTIAN DALE    429 LYON CT                                                                                          SOUTH LYON        MI      48178‐1239
ANDERSON, CHRISTINA L       48553 SUGARBUSH RD                                                                                   CHESTERFIELD      MI      48047‐3378
ANDERSON, CHRISTINE C       PO BOX 31461                                                                                         JACKSON           MS      39286‐1461
ANDERSON, CHRISTINE S       3947 ROCK HOLLOW DR                                                                                  LOGANVILLE        GA      30052
ANDERSON, CHRISTOPHE E      12471 MCMURTY DR                                                                                     SAND LAKE         MI      49343‐9438
ANDERSON, CHRISTOPHER       PORTER & MALOUF PA                   4670 MCWILLIE DR                                                JACKSON           MS      39206‐5621
ANDERSON, CHRISTOPHER J     1513 W LAKE RD                                                                                       CLIO              MI      48420‐8800
ANDERSON, CHRISTOPHER J     17 FULLING MILL LANE                                                                                 HINGHAM           MA      02043‐3458
ANDERSON, CHRISTOPHER L     275 S MAIN ST                                                                                        YOUNGSTOWN        OH      44515‐3229
ANDERSON, CHRISTOPHER P     871 S LEE RD                                                                                         SARANAC           MI      48881‐9490
ANDERSON, CHRISTY J         PO BOX 212                                                                                           PECULIAR          MO      64078‐0212
ANDERSON, CHRISTY JEAN      PO BOX 212                                                                                           PECULIAR          MO      64078‐0212
ANDERSON, CINDY L           8476 N WEBSTER RD                                                                                    CLIO              MI      48420‐8553
ANDERSON, CINDY M           13 REAR WOODLAND ST                                                                                  EVERETT           MA      02149
ANDERSON, CLARA A           8547 LESOURDSVILLE WEST CHESTER RD                                                                   WEST CHESTER      OH      45069‐1926

ANDERSON, CLARA ANN         8547 LESOURDSVILLE WEST CHESTER RD                                                                   WEST CHESTER      OH      45069‐1926

ANDERSON, CLARA M.          24 5TH AVE                                                                                           NORTH              NY     14120‐6618
                                                                                                                                 TONAWANDA
ANDERSON, CLARE J           6791 DOLLAR CT                                                                                       KALAMAZOO         MI      49009‐8316
ANDERSON, CLARENCE          4812 M L KING AVE                                                                                    FLINT             MI      48505‐3333
ANDERSON, CLARENCE E        125 EAST 156 ST APT 922                                                                              CLEVELAND         OH      44110‐1139
ANDERSON, CLARENCE L        PO BOX 3005                                                                                          FLINT             MI      48502‐0005
ANDERSON, CLARENCE L        16835 PARKSIDE ST                                                                                    DETROIT           MI      48221‐3154
ANDERSON, CLARENCE LEE      WEITZ & LUXENBERG                    180 MAIDEN LANE                                                 NEW YORK          NY      10038
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ANDERSON, CLARENCE LEON     PO BOX 3005                                                                                 FLINT               MI     48502‐0005
ANDERSON, CLARIS G          2512 WASHINGTON AVE APT A                                                                   BEDFORD             IN     47421‐4906
ANDERSON, CLAUDE            2626 CIRCLE DR                                                                              FLINT               MI     48507‐1808
ANDERSON, CLAUDE J          352 OAK GROVE RD                                                                            SPARTA              TN     38583‐7112
ANDERSON, CLAUDE L          701 U ST                                                                                    BEDFORD             IN     47421‐2428
ANDERSON, CLAUDEEN          42528 PLYMOUTH HOLLOW #43                                                                   PLYMOUTH            MI     48170
ANDERSON, CLAUDETTE         311 GRAHAM RD NW                                                                            GRAND RAPIDS        MI     49504‐4938
ANDERSON, CLAUDIA           2105 FOREST AVE                                                                             LANSING             MI     48910‐3103
ANDERSON, CLAYTON A         5828 WHITEFORD RD                                                                           SYLVANIA            OH     43560‐1634
ANDERSON, CLAYTON E         2772 ALDGATE DR                                                                             BLOOMFIELD HILLS    MI     48304‐1700
ANDERSON, CLAYTON R         81 MCNAUGHTON AVE                                                                           CHEEKTOWAGA         NY     14225‐4542
ANDERSON, CLEO J            3708 BERWICK DR                                                                             LANSING             MI     48911‐2168
ANDERSON, CLEO P            150 CAROL ST                                                                                LAKEWOOD            NJ     08701‐5301
ANDERSON, CLESTER C         317 FALL CREEK DR                                                                           ANDERSON            IN     46013‐3712
ANDERSON, CLEVELAND         3814 GIBSON ST                                                                              COLUMBIA            SC     29203‐5479
ANDERSON, CLIFFORD          1509 BETHABARA RD                                                                           HAYESVILLE          NC     28904‐5226
ANDERSON, CLIFFORD E        1604 E HARTFORD ST                                                                          INVERNESS           FL     34453‐3608
ANDERSON, CLIFFORD T        761 CENTRUY LN                                                                              WINTER HAVEN        FL     33881
ANDERSON, CLIFFORD T.       761 CENTURY LANE                                                                            WINTER HAVEN        FL     33881‐8737
ANDERSON, CLIFFORD W        1226 GILBERT ST                                                                             FLINT               MI     48532‐3529
ANDERSON, CLIFTON           GUY WILLIAM S                PO BOX 509                                                     MCCOMB              MS     39649‐0509
ANDERSON, CLINTON H         3025 FISH AVE                                                                               BRONX               NY     10469‐5102
ANDERSON, CLINTON N         2401 15TH ST S                                                                              FARGO               ND     58103‐5235
ANDERSON, CLONIA            6770 S WALNUT ST                                                                            MUNCIE              IN     47302‐8625
ANDERSON, CLYDE C           19463 SCHAEFER HWY                                                                          DETROIT             MI     48235
ANDERSON, CLYDE R           1897 E PHELPS RD                                                                            LAKE CITY           MI     49651‐9527
ANDERSON, COATIS            2940 S OUTER DR                                                                             SAGINAW             MI     48601‐6988
ANDERSON, COLBY             NO ADDRESS IN FILE
ANDERSON, CONNIE            2141 LEE RD                                                                                 SPRING HILL        TN      37174‐2520
ANDERSON, CONNIE M          PO BOX 94                                                                                   SHAFTSBURG         MI      48882‐0094
ANDERSON, CONSTANCE M       1610 PIPER LN APT 206                                                                       CENTERVILLE        OH      45440‐5019
ANDERSON, CONSTANCE MARIE   1610 PIPER LN APT 206                                                                       CENTERVILLE        OH      45440‐5019
ANDERSON, CONSTANCE R       13120 N DESERT MOSAIC PL                                                                    MARANA             AZ      85658‐4090
ANDERSON, CORY L            256 CRANDALL AVE                                                                            YOUNGSTOWN         OH      44504‐1711
ANDERSON, COY A             4004 ANGELUS STREET                                                                         PARAGOULD          AR      72450‐2579
ANDERSON, COY D             2955 HAINES RD                                                                              LAPEER             MI      48446‐8307
ANDERSON, CRAIG L           27 ANDREW CT                                                                                WEST SALEM         OH      44287‐9763
ANDERSON, CRAIG M           5218 QUEENSBRIDGE RD                                                                        MADISON            WI      53714‐3430
ANDERSON, CRAIG R           1125 MCKIMMY DR                                                                             BEAVERTON          MI      48612‐8620
ANDERSON, CURTIS            1137 FERNWOOD AVE                                                                           TOLEDO             OH      43607
ANDERSON, CURTIS            3377 MULBERRY ST                                                                            TOLEDO             OH      43608‐1252
ANDERSON, CURTIS D          3043 LAKE RD W                                                                              ASHTABULA          OH      44004
ANDERSON, CURTIS E          10469 STONE GLEN DRIVE                                                                      ORLANDO            FL      32825‐8532
ANDERSON, CURTIS R          4171 SUMMIT CHASE                                                                           GAINESVILLE        GA      30506‐7343
ANDERSON, CYNEETHA R        805 BRENTRIDGE PLACE                                                                        ANTIOCH            TN      37013‐3766
ANDERSON, CYNEETHA R        APT 176                      1901 MURFREESBORO PIKE                                         NASHVILLE          TN      37217‐3213
ANDERSON, CYNTHIA A         33825 COWAN RD                                                                              WESTLAND           MI      48185
ANDERSON, DAISY             PO BOX 18094                                                                                RIVER ROUGE        MI      48218‐0094
ANDERSON, DAISY JANE        128 MAGNOLIA AVE             C/O PHILIP A ANDERSON                                          FAYETTEVILLE       NC      28305‐5053
ANDERSON, DALE A            W7428 US HIGHWAY 12                                                                         WHITEWATER         WI      53190‐3921
ANDERSON, DALE ALLEN        W 7428 US HIGHWAY 12                                                                        WHITEWATER         WI      53190‐3921
ANDERSON, DALE E            502 AUDUBON POINT DR                                                                        BRANDON            MS      39047‐6415
ANDERSON, DALE E            26821 BEAMER ST                                                                             HARRISON           MI      48045‐2521
                                                                                                                        TOWNSHIP
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Name                      Address1                            Address2                       Address3                    Address4               City            State   Zip
ANDERSON, DALE E          1517 VILLAGE GREEN DR                                                                                                 LAKE ST LOUIS    MO     63367‐2579
ANDERSON, DALE I          15597 PINE RIDGE DR                                                                                                   LINDEN           MI     48451‐8753
ANDERSON, DALE M          2752 BRISTOL CHAMPION TOWNLINE RD                                                                                     BRISTOLVILLE     OH     44402‐9665
                          NW
ANDERSON, DALE R          3034 E LAKE RD                                                                                                        CLIO             MI     48420‐7907
ANDERSON, DALE R, SR      C/O GOLDENBERG HELLER ANTOGNOLI &   2227 S STATE ROUTE 157                                                            EDWARDSVILLE     IL     62025
                          ROWLAND PC
ANDERSON, DALE T          132 NEW ST                                                                                                            STATEN ISLAND   NY      10302
ANDERSON, DALE W          3604 LIVE OAK BLVD                                                                                                    FORT WAYNE      IN      46804‐3934
ANDERSON, DAMON           5208 BELCLARE RD APT 12                                                                                               CINCINNATI      OH      45247‐7879
ANDERSON, DAN             64 KEMP ST                                                                                                            PONTIAC         MI      48342‐1442
ANDERSON, DANA GARCIA     2617 PENDERS RIDGE TRL                                                                                                ELLENWOOD       GA      30294‐6233
ANDERSON, DANA L          PO BOX 203                                                                                                            ROCKY HILL      CT      06067‐0203
ANDERSON, DANE A          673 GLENDALE BLVD                                                                                                     MANSFIELD       OH      44907‐2223
ANDERSON, DANE G          63601 ROMEO PLANK RD                                                                                                  RAY             MI      48096‐2326
ANDERSON, DANELLE K       4508 DESERT BRIDGE CT                                                                                                 HIGHLAND        MI      48356‐1044
ANDERSON, DANIEL          DAVID BARBE                         505 W RIVERSIDE AVE STE 500                                                       SPOKANE         WA      99201‐0518
ANDERSON, DANIEL          C/O BARBE LAW OFFICE                SUITE 500, FERNWELL BUILDING   505 WEST RIVERSIDE AVENUE                          SPOKANE         WA      99201‐0500

ANDERSON, DANIEL          279 JERMAIN RD                                                                                                        NEWPORT         WA      99156‐9333
ANDERSON, DANIEL A        68 FELKEL LANDING RD                                                                                                  IVA             SC      29655‐7996
ANDERSON, DANIEL D        5854 MAUNEE DR                                                                                                        HOWELL          MI      48843‐9114
ANDERSON, DANIEL E        1016 ROCKVILLE PLACE                                                                                                  THE VILLAGES    FL      32162
ANDERSON, DANIEL E        11205 N CENTER RD                                                                                                     CLIO            MI      48420‐9750
ANDERSON, DANIEL F        1294 W WILSON RD                                                                                                      CLIO            MI      48420‐1689
ANDERSON, DANIEL F        1294 WEST WILSON ROAD                                                                                                 CLIO            MI      48420‐1689
ANDERSON, DANIEL G        507 E WILEY AVE                                                                                                       BLUFFTON        IN      46714‐2644
ANDERSON, DANIEL GENE     507 E WILEY AVE                                                                                                       BLUFFTON        IN      46714‐2644
ANDERSON, DANIEL H        8993 N CHRISTINE DR                                                                                                   BRIGHTON        MI      48114‐4912
ANDERSON, DANIEL HOWARD   8993 N CHRISTINE DR                                                                                                   BRIGHTON        MI      48114‐4912
ANDERSON, DANIEL J        13031 NORTHEAST 198TH COURT                                                                                           WOODINVILLE     WA      98072‐5763
ANDERSON, DANIEL J        13031 NE 198TH CT                                                                                                     WOODINVILLE     WA      98072‐5763
ANDERSON, DANIEL J        3661 BRADFORD RD                                                                                                      FAIRGROVE       MI      48733‐9791
ANDERSON, DANIEL L        3229 CHARLESGATE AVE SW                                                                                               WYOMING         MI      49509‐3018
ANDERSON, DANIEL L        6343 W FREELAND RD                                                                                                    FREELAND        MI      48623‐9032
ANDERSON, DANIEL LEE      3229 CHARLESGATE AVE SW                                                                                               WYOMING         MI      49509‐3018
ANDERSON, DANIEL P        3206 N AVERILL AVE                                                                                                    FLINT           MI      48506‐2504
ANDERSON, DANIEL T        214 N LAFAYETTE ST                                                                                                    ARGYLE          WI      53504‐8935
ANDERSON, DANNY C         141 BRECKENRIDGE COURT                                                                                                DEATSVILLE      AL      36022‐3247
ANDERSON, DANNY C         2513 SWALLOW LN                                                                                                       NORTHPORT       AL      35476
ANDERSON, DANNY G         4106 BROOKE RD                                                                                                        KOKOMO          IN      46902‐7510
ANDERSON, DANNY N         107 ELLIOTT CT                                                                                                        COLUMBIA        TN      38401‐5500
ANDERSON, DARLENE A       4437 BEECHWOOD ST                                                                                                     CLARKSTON       MI      48348‐1301
ANDERSON, DARLENE J       2236 LOWTRAIL CT                                                                                                      LITHONIA        GA      30058‐8308
ANDERSON, DARNELL L       29801 CHELMSFORD RD                                                                                                   SOUTHFIELD      MI      48076‐5705
ANDERSON, DARNELL LEE     29801 CHELMSFORD RD                                                                                                   SOUTHFIELD      MI      48076‐5705
ANDERSON, DARRELL L       5150 EAGLE RD                                                                                                         WHITE LAKE      MI      48383‐1204
ANDERSON, DARRELL R       3232 LIV MOOR DR                                                                                                      COLUMBUS        OH      43227‐3546
ANDERSON, DARRELL W       339 SPRINGVILLE JUDAH RD                                                                                              SPRINGVILLE     IN      47462‐5387
ANDERSON, DARREN T        10259 DODGE RD                                                                                                        MONTROSE        MI      48457‐9034
ANDERSON, DARREN TROY     10259 DODGE RD                                                                                                        MONTROSE        MI      48457‐9034
ANDERSON, DARRIS E        1124 EDITH AVE                                                                                                        FLINT           MI      48507‐1519
ANDERSON, DARRON M        1725 MAISONETTE DR                                                                                                    LANSING         MI      48911‐6018
ANDERSON, DARRYL          6911 S ELIZABETH ST                                                                                                   CHICAGO         IL      60636‐3522
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Name                    Address1                       Address2                    Address3   Address4               City               State Zip
ANDERSON, DARRYL W      18101 HULL ST                                                                                DETROIT             MI 48203‐5406
ANDERSON, DARYL K       37052 CARLA CT                                                                               FARMINGTON HILLS    MI 48335‐3713

ANDERSON, DAVE          11233 NORTHEAST 97TH STREET                                                                  KIRKLAND           WA   98033‐5122
ANDERSON, DAVID         SIMON EDDINS & GREENSTONE      3232 MCKINNEY AVE STE 610                                     DALLAS             TX   75204‐8583
ANDERSON, DAVID         5121 RETFORD DR                                                                              DAYTON             OH   45418‐2046
ANDERSON, DAVID         DUFFY & ASSOCS JOHN J          23823 LORAIN RD                                               NORTH OLMSTED      OH   44070
ANDERSON, DAVID         PORTER & MALOUF PA             4670 MCWILLIE DR                                              JACKSON            MS   39206‐5621
ANDERSON, DAVID         3181 MOUNT PLEASANT RD                                                                       BEDFORD            IN   47421‐8047
ANDERSON, DAVID         64 WILLIAMS ST                                                                               BEDFORD            IN   47421‐6865
ANDERSON, DAVID A       365 S TRENT RD                                                                               RAVENNA            MI   49451‐9717
ANDERSON, DAVID A       7234 COON CLUB RD                                                                            MEDINA             OH   44256‐8585
ANDERSON, DAVID A       109 S CRESCENT DR                                                                            MILTON             WI   53563‐1119
ANDERSON, DAVID A       3628 E 112TH ST                                                                              KANSAS CITY        MO   64137‐2323
ANDERSON, DAVID A       4023 S CEDAR LAKE RD                                                                         SHERIDAN           MI   48884‐9748
ANDERSON, DAVID B       PO BOX 2311                                                                                  CRESTLINE          CA   92325‐2311
ANDERSON, DAVID B       1095 LAS PALMAS DR                                                                           SANTA BARBARA      CA   93110‐2112
ANDERSON, DAVID B       21000 CONCORD ST                                                                             SOUTHFIELD         MI   48076‐5622
ANDERSON, DAVID C       389 KARTES DR                                                                                ROCHESTER          NY   14616‐2126
ANDERSON, DAVID C       W2282 SPRING LAKE RD                                                                         MARKESAN           WI   53946‐8628
ANDERSON, DAVID C       7244 ANDERSONVILLE RD                                                                        CLARKSTON          MI   48346‐2500
ANDERSON, DAVID C       31150 WOODSTONE LN APT 125                                                                   NOVI               MI   48377‐1227
ANDERSON, DAVID C       2304 26TH ST                                                                                 BAY CITY           MI   48708‐3803
ANDERSON, DAVID C       3530 E FIRESTONE DR                                                                          CHANDLER           AZ   85249‐9050
ANDERSON, DAVID D       225 BRIDGE ST #2                                                                             CORNING            NY   14830‐1931
ANDERSON, DAVID D       7507 DEADSTREAM RD                                                                           HONOR              MI   49640‐9793
ANDERSON, DAVID E       461 2ND ST APT T456                                                                          SAN FRANCISCO      CA   94107‐4113
ANDERSON, DAVID G       2305 DARDEN DR                                                                               FLORENCE           SC   29501‐8210
ANDERSON, DAVID G       6707 E 99TH TER                                                                              KANSAS CITY        MO   64134‐1504
ANDERSON, DAVID G       13868 RUSTLERS ROW                                                                           ROCKTON            IL   61072‐1653
ANDERSON, DAVID G       227 BOUGAINVILLEA LN                                                                         PARRISH            FL   34219‐9070
ANDERSON, DAVID G       1818 MITCHELL ST                                                                             JANESVILLE         WI   53546‐5563
ANDERSON, DAVID G       1213 MARYLAND AVE                                                                            LANSING            MI   48906‐4912
ANDERSON, DAVID H       DEATON LAW FIRM                1 RICHMOND SQ STE 134C                                        PROVIDENCE         RI   02906‐5166
ANDERSON, DAVID H       22876 BUCANNON RD.                                                                           STANWOOD           MI   49346
ANDERSON, DAVID H       1621 JESSOP RD                                                                               DANSVILLE          MI   48819‐9715
ANDERSON, DAVID K       16553 GLAZE RD                                                                               ATHENS             AL   35611‐7569
ANDERSON, DAVID L       34192 GAIL DR                                                                                N RIDGEVILLE       OH   44039‐3110
ANDERSON, DAVID L       4751 REED ST                                                                                 FORT WAYNE         IN   46806
ANDERSON, DAVID L       18910 ROTTCASTLE                                                                             GROSSE POINTE      MI   48236
ANDERSON, DAVID L       8915 OXWOOD CT                                                                               MAINEVILLE         OH   45039‐9727
ANDERSON, DAVID L       #B                             3584 BATH ROAD                                                PERRY              MI   48872‐9190
ANDERSON, DAVID L       817 MAJESTIC OAKS CT                                                                         MANSFIELD          TX   76063‐4866
ANDERSON, DAVID L       703 E STATE ST                                                                               EAST TAWAS         MI   48730‐1518
ANDERSON, DAVID L       177 BROOKSBORO TER                                                                           NASHVILLE          TN   37217
ANDERSON, DAVID L       15080 WESTBROOK ST                                                                           DETROIT            MI   48223‐1946
ANDERSON, DAVID L       3600 BYRON RD                                                                                XENIA              OH   45385‐9519
ANDERSON, DAVID M       2430 NEWARK AVE                                                                              LANSING            MI   48911‐4538
ANDERSON, DAVID R       42475 PARKHURST RD                                                                           PLYMOUTH           MI   48170‐2525
ANDERSON, DAVID RALPH   42475 PARKHURST RD                                                                           PLYMOUTH           MI   48170‐2525
ANDERSON, DAVID S       230 HERRICK RD                                                                               RIVERSIDE          IL   60546‐2017
ANDERSON, DAVID T       PO BOX 707                                                                                   LEBANON            OH   45036‐0707
ANDERSON, DAVID W       131 SHADY LANE CIR NORTHEAST                                                                 WARREN             OH   44483‐3536
ANDERSON, DAVID W       3222 N COUNTY RD E                                                                           JANESVILLE         WI   53548‐8956
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Name                        Address1                           Address2             Address3         Address4               City            State   Zip
ANDERSON, DAWN M            15150 PORTSIDE DR                                                                               FORT MYERS       FL     33908‐1893
ANDERSON, DEAN A            7200 EAST BRISTOL ROAD                                                                          DAVISON          MI     48423‐2400
ANDERSON, DEAN G            1214 N TOWNE COMMONS BLVD                                                                       FENTON           MI     48430‐2691
ANDERSON, DEAN W            262 BROADMOOR LN                                                                                ROTONDA WEST     FL     33947‐1903
ANDERSON, DEANNA B          208 E 49TH ST                                                                                   ANDERSON         IN     46013‐4800
ANDERSON, DEANNA C          227 NEWPORT DR                                                                                  PALM SPRINGS     CA     92264‐5236
ANDERSON, DEANNA K          18 ANDREA BLVD                                                                                  NILES            OH     44446‐3224
ANDERSON, DEBBIE            45 MITCHELL AVE                                                                                 NEW BRUNSWICK    NJ     08901‐3243
ANDERSON, DEBORA S          5725 MALDEN AVE                                                                                 TOLEDO           OH     43623‐1675
ANDERSON, DEBORAH A         734 MCDONALD RD                                                                                 WINCHESTER       VA     22602
ANDERSON, DEBORAH D         626 DEANNA DR                                                                                   LAPEER           MI     48446
ANDERSON, DEBORAH J         2607 FRAZHO RD                                                                                  WARREN           MI     48091‐3752
ANDERSON, DEBORAH K         5937 HILLCREST ST                                                                               DETROIT          MI     48236‐2107
ANDERSON, DEBORAH L         15597 PINE RIDGE DR                                                                             LINDEN           MI     48451‐8753
ANDERSON, DEBRA M           2105 LEITH ST                                                                                   FLINT            MI     48506‐4911
ANDERSON, DELBERT A         1925 ORCHARD PARK DR                                                                            MURFREESBORO     TN     37128‐5651
ANDERSON, DELORES           97 WHITTEMORE STREET                                                                            PONTIAC          MI     48342‐3062
ANDERSON, DELORES           912 RAYMOND ST                                                                                  YOUNGSTOWN       OH     44510‐1107
ANDERSON, DELORES           PO BOX 4142                                                                                     KANSAS CITY      KS     66104‐0142
ANDERSON, DELORISE          855 OLD HIGHWAY 16 E.                                                                           CANTON           MS     39046‐9046
ANDERSON, DELYNN S          5140 WESTVIEW RD                                                                                CLARKSTON        MI     48346‐4160
ANDERSON, DEMATRICE         MOODY EDWARD O                     801 W 4TH ST                                                 LITTLE ROCK      AR     72201‐2107
ANDERSON, DEMETRIS L
ANDERSON, DEMPSEY R         2169 MONTAGUE RD                                                                                DAVISON         MI      48423‐9150
ANDERSON, DEMPSEY RAY       2169 MONTAGUE RD                                                                                DAVISON         MI      48423‐9150
ANDERSON, DENISE            11221 EASTERN AVENUE                                                                            KANSAS CITY     MO      64134‐3356
ANDERSON, DENISE E          498 MEADOW DR                                                                                   NORTH           NY      14120‐2820
                                                                                                                            TONAWANDA
ANDERSON, DENNIS A          6721 SWEETWATER DR                                                                              PLANO            TX     75023‐1838
ANDERSON, DENNIS A          C/O GOLDBERG, PERSKY & WHITE, PC   1030 FIFTH AVENUE                                            PITTSBURGH       PA     15219
ANDERSON, DENNIS D          1053 NELSON AVE                                                                                 MILTON           WI     53563‐1328
ANDERSON, DENNIS E          15374 PIEDMONT ST                                                                               DETROIT          MI     48223‐1715
ANDERSON, DENNIS G          3873 S BANANA RIVER BLVD APT 205                                                                COCOA BEACH      FL     32931‐4151
ANDERSON, DENNIS M          652 MIDDLESEX RD                                                                                GROSSE POINTE    MI     48230
                                                                                                                            PARK
ANDERSON, DENNIS M          3394 SHERWOOD RD                                                                                BAY CITY        MI      48706‐1594
ANDERSON, DENNIS P          3198 W CLEAR LAKE RD                                                                            WEST BRANCH     MI      48661‐9598
ANDERSON, DENNIS R          175 FOREST VIEW DR                                                                              CROSSVILLE      TN      38558‐2833
ANDERSON, DENNIS W          622 FREEMAN AVE                                                                                 FLINT           MI      48507‐1706
ANDERSON, DEONDRA L.        5209 FIELD ST                                                                                   DETROIT         MI      48213‐2805
ANDERSON, DERMAND D         18202 22MILE RD BOX 39                                                                          SAND LAKE       MI      49343
ANDERSON, DERRICK M         1226 CROCUS DR                                                                                  DAYTON          OH      45408‐2421
ANDERSON, DERRICK MAURICE   1226 CROCUS DR                                                                                  DAYTON          OH      45408‐2421
ANDERSON, DERRICK S         11825 GUARDIAN BLVD                                                                             CLEVELAND       OH      44135‐4637
ANDERSON, DEVONNE A         7575 W 92ND ST                                                                                  ZIONSVILLE      IN      46077‐9115
ANDERSON, DEWEY C           760 CLIFTON RD                                                                                  XENIA           OH      45385‐9457
ANDERSON, DIANA K           916 W JACKSON ST                                                                                KOKOMO          IN      46901‐4357
ANDERSON, DIANA M           2752 BRISTOL CHAMPION RD                                                                        BRISTOLVILLE    OH      44402
ANDERSON, DIANE             13914 SCHUSTER ROAD                                                                             POCAHONTAS      IL      62275‐1528
ANDERSON, DIANE C           4616 S BAY VALLEY DR                                                                            SUTTONS BAY     MI      49682‐9137
ANDERSON, DIANE C           4616 BAY VALLEY DR                                                                              SUTTONS BAY     MI      49682‐9137
ANDERSON, DIANE E           16760 STOUT ST                                                                                  DETROIT         MI      48219‐3360
ANDERSON, DIANE L           14052 LANDINGS WAY                                                                              FENTON          MI      48430‐1314
ANDERSON, DIANNE            1554 MYRTLE ST                                                                                  SHREVEPORT      LA      71101‐2474
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Name                      Address1                        Address2                      Address3              Address4               City           State   Zip
ANDERSON, DIANNE L        2317 LADY RULE LN                                                                                          LEWISVILLE      TX     75056
ANDERSON, DICYE BOTTOMS   4625 ATLANTA HWY                                                                                           ALPHARETTA      GA     30004‐2976
ANDERSON, DIXIE L         12517 W MEADOW WOOD DR                                                                                     BOISE           ID     83713‐5805
ANDERSON, DOLA M          140 MICHAEL CIRCLE                                                                                         LAWRENCEBURG    TN     38464‐7113
ANDERSON, DOLORES         26053 KATHY ST                                                                                             ROSEVILLE       MI     48066‐3204
ANDERSON, DOLORES M       9905 COLUMBIA HIGHWAY                                                                                      EATON RAPIDS    MI     48827‐9376
ANDERSON, DOLORES T       163 S WASHINGTON ST APT 514                                                                                WILKES BARRE    PA     18701‐2910
ANDERSON, DONALD          9322 CHERRY VALLEY CT                                                                                      INDIANAPOLIS    IN     46235‐1139
ANDERSON, DONALD          COON BRENT W                    PO BOX 4905                                                                BEAUMONT        TX     77704‐4905
ANDERSON, DONALD          143 S 15TH ST                                                                                              SAGINAW         MI     48601‐1845
ANDERSON, DONALD          1680 BERLIN TPKE APT 23                                                                                    WETHERSFIELD    CT     06109
ANDERSON, DONALD          C/O 21ST CENTURY INSURANCE      PO BOX 29230                  RECOVERY DEPARTMENT                          PHOENIX         AZ     85038
ANDERSON, DONALD A        11601 JOHNSON DR                                                                                           PARMA           OH     44130‐7364
ANDERSON, DONALD B        12490 DUNHAM RD                                                                                            HARTLAND        MI     48353‐2108
ANDERSON, DONALD C        310 DWIGHT DR                                                                                              TIPP CITY       OH     45371‐2832
ANDERSON, DONALD D        153 BAILEY DR                                                                                              JEFFERSON       GA     30549‐7112
ANDERSON, DONALD D        22 WESTMINSTER PKWY                                                                                        RENO            NV     89506‐1991
ANDERSON, DONALD DEAN     153 BAILEY DR                                                                                              JEFFERSON       GA     30549‐7112
ANDERSON, DONALD E        101 STEEPLECHURCH CT                                                                                       HUNTSVILLE      AL     35806‐4072
ANDERSON, DONALD E        183 W SAINT CLAIR ST                                                                                       ROMEO           MI     48065‐4660
ANDERSON, DONALD E        1525 W OAKLAND AVE SPC 120                                                                                 HEMET           CA     92543‐2661
ANDERSON, DONALD E        309 LASALLE AVE                                                                                            BUFFALO         NY     14215
ANDERSON, DONALD E        1740 NEW VAUGHN RD                                                                                         COLUMBIA        TN     38401‐8194
ANDERSON, DONALD E        GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                                NORFOLK         VA     23510‐2212
                                                          STREET, SUITE 600
ANDERSON, DONALD F        309 N GRANT AVE                                                                                            JANESVILLE     WI      53548‐3429
ANDERSON, DONALD G        11322 S AVENUE 12 E LOT 229                                                                                YUMA           AZ      85367‐6652
ANDERSON, DONALD G        PO BOX 207                                                                                                 GREENVILLE     ME      04442‐0207
                                                                                                                                     JUNCTION
ANDERSON, DONALD G        1358 7TH ST NW                                                                                             GRAND RAPIDS   MI      49504‐4888
ANDERSON, DONALD G        2270 WOODS AND WATER CT                                                                                    SEBRING        FL      33872‐9225
ANDERSON, DONALD J        13176 PIERCE ST NE                                                                                         MINNEAPOLIS    MN      55434
ANDERSON, DONALD L        4348 N HILL DR                                                                                             HOLLY          MI      48442‐1819
ANDERSON, DONALD L        15941 FAIRFIELD DR                                                                                         PLAINFIELD     IL      60586‐8748
ANDERSON, DONALD L        10210 N 16750E RD                                                                                          GRANT PARK     IL      60940‐5160
ANDERSON, DONALD L        2 KOSMO DRIVE APT #317                                                                                     DAYTON         OH      45407‐5407
ANDERSON, DONALD L        1682 MARGARET DR                                                                                           DORR           MI      49323‐9379
ANDERSON, DONALD L        2 KOSMO DR APT 317                                                                                         DAYTON         OH      45402‐8365
ANDERSON, DONALD O        3805 HACKBERRY LN                                                                                          BEDFORD        TX      76021‐5117
ANDERSON, DONALD R        4827 MEDWAY HALL PL                                                                                        JACKSONVILLE   FL      32225‐1061
ANDERSON, DONALD R        8056 LEWIS RD                                                                                              VASSAR         MI      48768‐9629
ANDERSON, DONALD R        1140 C R 1123                                                                                              CLEBURNE       TX      76031‐8026
ANDERSON, DONALD R        421 E ULEN DR                                                                                              LEBANON        IN      46052‐1557
ANDERSON, DONALD R        GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                                NORFOLK        VA      23510‐2212
                                                          STREET, SUITE 600
ANDERSON, DONALD R        14142 DUNDEE ST                                                                                            RIVERVIEW      MI      48193‐7537
ANDERSON, DONALD R        6213 W GRAY ST                                                                                             MUNCIE         IN      47304‐4609
ANDERSON, DONALD R        1140 COUNTY ROAD 1123                                                                                      CLEBURNE       TX      76033‐8134
ANDERSON, DONALD R        2023 FERRIS AVE                                                                                            FLINT          MI      48503‐4045
ANDERSON, DONALD W        360 COUNTRY PL                                                                                             STONEWALL      LA      71078‐2830
ANDERSON, DONALD W        5 LEE HILL RD                                                                                              LEE            NH      03861‐6326
ANDERSON, DONALD W        6317 SECOND ST                  BOX 272                                                                    MAYVILLE       MI      48744
ANDERSON, DONALD W        604 OAKLAWN AVE                                                                                            YPSILANTI      MI      48198‐6164
ANDERSON, DONALD WAYNE    360 COUNTRY PL                                                                                             STONEWALL      LA      71078‐2830
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Name                       Address1                          Address2             Address3         Address4               City           State   Zip
ANDERSON, DONNA A          10045 DODGE RD                                                                                 MONTROSE        MI     48457‐9019
ANDERSON, DONNA J          2395 MURPHY RD                                                                                 FLINT           MI     48504‐6501
ANDERSON, DONNA L          9246 N CLEAR LAKE RD                                                                           MILTON          WI     53563‐9207
ANDERSON, DONNA M          761 CENTURY LN                                                                                 WINTER HAVEN    FL     33881‐8737
ANDERSON, DORA L           4587 WAYNEDALE CIRCLE                                                                          DAYTON          OH     45424‐6815
ANDERSON, DORA L           11221 EASTERN AVENUE                                                                           KANSAS CITY     MO     64134‐3356
ANDERSON, DORINDA B        274 HILTON AVE                                                                                 YOUNGSTOWN      OH     44507‐1913
ANDERSON, DORIS            18111 MITCHELL ST                                                                              DETROIT         MI     48234‐1549
ANDERSON, DORIS A          11413 APALACHIAN WAY                                                                           FISHERS         IN     46037‐4265
ANDERSON, DORIS B          100 CAMINO DE LA PALOMA                                                                        CORRALES        NM     87048‐8006
ANDERSON, DORIS E          1109 DUNKIRK AVE.                                                                              MOUNT MORRIS    MI     48458
ANDERSON, DORIS M          24 MARS STREET                                                                                 CHEBOYGAN       MI     49721
ANDERSON, DORIS M          1260 CAMBRIDGE AVE                                                                             PLAINFIELD      NJ     07062‐2232
ANDERSON, DORIS M          24 MARS ST                                                                                     CHEBOYGAN       MI     49721‐8661
ANDERSON, DORIS M          7236 ROLLING HILLS BLVD                                                                        MONTGOMERY      AL     36116‐6058
ANDERSON, DORIS T          1199 ROOSEVELT DR                                                                              NOBLESVILLE     IN     46060‐1842
ANDERSON, DOROTHY          5114 PEACOCK DR                                                                                HOLIDAY         FL     34690
ANDERSON, DOROTHY          11403 NATURE TRL                                                                               PORT RICHEY     FL     34668‐2029
ANDERSON, DOROTHY B        3606 REDWOOD RD                                                                                ANDERSON        IN     46011‐3845
ANDERSON, DOROTHY C        6232 157TH PL                                                                                  OAK FOREST       IL    60452‐2712
ANDERSON, DOROTHY E        2114 W DAYTON ST                                                                               FLINT           MI     48504‐2714
ANDERSON, DOROTHY H        4644 RADER PASS                                                                                SAN ANTONIO     TX     78247
ANDERSON, DOROTHY J        416 S MAIN ST                                                                                  BUTLER          MO     64730‐2318
ANDERSON, DOROTHY J        91 SPINNAKER CT                                                                                BAYVILLE        NJ     08721‐1415
ANDERSON, DOROTHY J        3709 LAWNDALE AVE                                                                              FLINT           MI     48504‐2250
ANDERSON, DOROTHY JEAN     3709 LAWNDALE AVE                                                                              FLINT           MI     48504‐2250
ANDERSON, DOROTHY L        113 W HAMILTON AVE                                                                             FLINT           MI     48503‐1037
ANDERSON, DOROTHY M        66 SOUTH MAIN ST                                                                               HOLLEY          NY     14470‐1218
ANDERSON, DOROTHY M        5813 16TH ST                      APT 240                                                      RACINE          WI     53406
ANDERSON, DOROTHY M        5813 16TH ST APT 240                                                                           RACINE          WI     53406‐4434
ANDERSON, DOROTHY M        66 S MAIN ST                                                                                   HOLLEY          NY     14470‐1218
ANDERSON, DOROTHY R        1380 E 600 N                                                                                   ALEXANDRIA      IN     46001‐8788
ANDERSON, DOROTHY REED     2721 W 34TH ST                                                                                 ANDERSON        IN     46011‐4741
ANDERSON, DOROTHY S        5613 W SUTTON PL                  UNIT A                                                       MONEE            IL    60449‐8150
ANDERSON, DOROTHY Y        2008 E 49TH ST                                                                                 ANDERSON        IN     46013‐2807
ANDERSON, DOROTHY‐JEAN A   1503 N HAYDEN ISLAND DR UNIT 54                                                                PORTLAND        OR     97217‐8273
ANDERSON, DORTHULA H       9046 COOMBS RD                                                                                 N BLOOMFIELD    OH     44450‐9709
ANDERSON, DOUGLAS A        800 CUMBERLAND DR                                                                              EATON RAPIDS    MI     48827‐1615
ANDERSON, DOUGLAS B        8702 W LAKESHORE DR                                                                            PERRY           MI     48872‐9778
ANDERSON, DOUGLAS C        299 EDGEMONT DRIVE                                                                             N SALT LAKE     UT     84054‐2636
ANDERSON, DOUGLAS D        4345 N STATE ROUTE 589                                                                         CASSTOWN        OH     45312‐9778
ANDERSON, DOUGLAS P        PO BOX 96                                                                                      ZANESVILLE      IN     46799‐0096
ANDERSON, DOUGLAS P        308 BELL ST                                                                                    CHAPEL HILL     TN     37034‐3239
ANDERSON, DOUGLAS PAUL     PO BOX 96                                                                                      ZANESVILLE      IN     46799‐0096
ANDERSON, DOUGLAS V        715 PETTIBONE AVE                                                                              FLINT           MI     48507‐1759
ANDERSON, DOVIE M          879 BARKER LN                                                                                  MARTINSVILLE    IN     46151‐7138
ANDERSON, DOW P            7535 E BENNINGTON RD                                                                           DURAND          MI     48429‐9764
ANDERSON, DOYAL L          11444 N ALLIS HWY                                                                              ONAWAY          MI     49765‐9575
ANDERSON, DUANE A          3910 BELCROFT DR                                                                               FLORISSANT      MO     63034‐2504
ANDERSON, DUANE D          913 N CHILSON ST                                                                               BAY CITY        MI     48706
ANDERSON, DUANE E          10212 LOVEJOY RD                                                                               LINDEN          MI     48451‐9723
ANDERSON, DUANE H          107 DUNBARTON CIR SE                                                                           AIKEN           SC     29803‐5421
ANDERSON, DUANE L          W5012 COUNTY ROAD A                                                                            LILY            WI     54491
ANDERSON, DUANE S          8083 ASHTON AVE                                                                                DETROIT         MI     48228‐3157
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Name                                Address1                             Address2               Address3         Address4               City               State   Zip
ANDERSON, DUSTY L                   9343 KINLEY RD                                                                                      OVID                MI     48866‐8664
ANDERSON, DUSTY LEE                 9343 KINLEY RD                                                                                      OVID                MI     48866‐8664
ANDERSON, DWIGHT D                  9841 CHENLOT ST                                                                                     DETROIT             MI     48204‐1796
ANDERSON, DWIGHT DARNELL            9841 CHENLOT ST                                                                                     DETROIT             MI     48204‐1796
ANDERSON, DWIGHT E                  29725 JUDITH ST                                                                                     INKSTER             MI     48141‐1040
ANDERSON, E                         3905 LAKEWOOD ST                                                                                    DETROIT             MI     48215
ANDERSON, E J                       PO BOX 35973                                                                                        DETROIT             MI     48235‐0973
ANDERSON, EARL C                    3747 W COUNTY ROAD 400 S                                                                            GREENSBURG          IN     47240‐8968
ANDERSON, EARL G                    PO BOX 55626                                                                                        INDIANAPOLIS        IN     46205‐0626
ANDERSON, EARL M                    1126 2ND ST                                                                                         SANDUSKY            OH     44870‐3832
ANDERSON, EARL W                    17 LIVINGSTON AVE                                                                                   WILMINGTON          DE     19804‐2815
ANDERSON, EARLE L                   10001 GOODALL RD                     F3                                                             DURAND              MI     48429
ANDERSON, EARLE L                   37811 CHANCEY RD # 272                                                                              ZEPHYRHILLS         FL     33541
ANDERSON, ECKSTEIN & WESTRICK       51301 SCHOENHERR RD                                                                                 SHELBY TOWNSHIP     MI     48315‐2733
ANDERSON, ECKSTEIN & WESTRICK INC   ATTN: CORPORATE OFFICER/AUTHORIZED   51301 SCHOENHERR RD                                            SHELBY TWP          MI     48315‐2733
                                    AGENT
ANDERSON, EDD Q                     9937 LAWLOR ST                                                                                      OAKLAND            CA      94605‐4850
ANDERSON, EDDIE                     711 CALEDONIA STREET                                                                                PARIS              TN      38242‐4657
ANDERSON, EDDIE L                   1508 TUMBLE CREEK DR                                                                                DESOTO             TX      75115‐1709
ANDERSON, EDITH ANNE                5602 WEST WOODVIEW TRAIL                                                                            MCCORDSVILLE       IN      46055
ANDERSON, EDITH ANNE                5602 W WOODVIEW TRL                                                                                 MC CORDSVILLE      IN      46055‐6201
ANDERSON, EDNA M                    117 N HOLLAND                                                                                       MUNCIE             IN      47303‐5158
ANDERSON, EDNA M                    4302 SWALLOWTAIL DR                                                                                 NEW PORT RICHEY    FL      34653‐6428
ANDERSON, EDNA M                    117 N HOLLAND ST                                                                                    MUNCIE             IN      47303‐5158
ANDERSON, EDNA R                    60 PURITAN ST                                                                                       HIGHLAND PARK      MI      48203‐3712
ANDERSON, EDNA R                    437 S CLAYMONT ST                                                                                   WILMINGTON         DE      19801‐5805
ANDERSON, EDWARD A                  1425 FRYE RD                                                                                        COLUMBIA           TN      38401‐7282
ANDERSON, EDWARD C                  357 E PHILADELPHIA AVE                                                                              YOUNGSTOWN         OH      44507
ANDERSON, EDWARD C                  101 EL RANCHO DR                                                                                    ROCHESTER          NY      14616‐4439
ANDERSON, EDWARD C                  5069 DOUGLAS PARK DR                                                                                SAINT PETERS       MO      63304‐7562
ANDERSON, EDWARD C                  APT 104                              1785 DUBLIN TRAIL                                              NEENAH             WI      54956‐6901
ANDERSON, EDWARD E                  54874 WALNUT DR                                                                                     NEW HUDSON         MI      48165‐9500
ANDERSON, EDWARD G                  2474 SOMERSET BLVD APT 104                                                                          TROY               MI      48084‐4210
ANDERSON, EDWARD H                  48406 HUDSON BAY CT                                                                                 SHELBY TWP         MI      48315‐4273
ANDERSON, EDWARD J                  3585 BROOKSIDE DR                                                                                   BLOOMFIELD HILLS   MI      48302‐1501
ANDERSON, EDWARD J                  5735 W HUNTERS RIDGE CIR                                                                            LECANTO            FL      34461‐7609
ANDERSON, EDWARD M                  PO BOX 1133                                                                                         FLORAL CITY        FL      34436‐1133
ANDERSON, EDWARD O                  6350 SE OAK RIDGE LN                                                                                HOLT               MO      64048‐8399
ANDERSON, EDWARD OAKLEY             6350 SE OAK RIDGE LN                                                                                HOLT               MO      64048‐8399
ANDERSON, EDWARD W                  30465 RAMBLEWOOD CLUB DR                                                                            FARMINGTON HILLS   MI      48331‐1247

ANDERSON, EDWARD W                  1700 S AZTEC AVE                                                                                    INDEPENDENCE       MO      64057‐2158
ANDERSON, EDWARD W                  320 HAZELWOOD DR                                                                                    FT WRIGHT          KY      41011‐2730
ANDERSON, EDWIN R                   9396 RIVER DR                                                                                       LINDEN             MI      48451‐8763
ANDERSON, EDWIN ROGER               9396 RIVER DR                                                                                       LINDEN             MI      48451‐8763
ANDERSON, EFFIE J                   8378 YAMHILL ST                      C/O DREW ANDERSON                                              LAS VEGAS          NV      89123‐2636
ANDERSON, EFRAIN                    10302 SARAH LANDING DR                                                                              CHELTENHAM         MD      20623‐1239
ANDERSON, EILEEN                    4290 BOBWHITE DRIVE                                                                                 FLINT              MI      48506‐1705
ANDERSON, EL E                      2804 CUMMINGS DR                                                                                    BEDFORD            TX      76021‐2724
ANDERSON, ELAINE                    G1323 KRSUL DR                                                                                      FLINT              MI      48532‐3546
ANDERSON, ELDON J                   134 POND CREEK RD                                                                                   SUMMERTOWN         TN      38483‐5128
ANDERSON, ELEANOR M                 179 EAST LONG LAKE ROAD                                                                             BLOOMFIELD         MI      48304‐2326
ANDERSON, ELEANOR M                 175 E NAWAKWA RD UNIT 319                                                                           ROCHESTER HILLS    MI      48307‐5272
ANDERSON, ELFIE H                   5001 W ARUBA ST                      C/O KENNETH ANDERSON                                           SIOUX FALLS        SD      57107‐2050
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Name                         Address1                          Address2                      Address3   Address4               City              State   Zip
ANDERSON, ELINOR LOUISE      4919 HUBNER CIR                                                                                   SARASOTA           FL     34241‐9224
ANDERSON, ELIZABETH A        1010 N MARTIN RD                                                                                  JANESVILLE         WI     53545‐1949
ANDERSON, ELIZABETH A        1266 MILE POST DR                                                                                 DUNWOODY           GA     30338‐4709
ANDERSON, ELIZABETH A        1600 WELLINGTON RD                                                                                LANSING            MI     48910‐1160
ANDERSON, ELIZABETH H.       8926 S COUNTY ROAD 525 E                                                                          MOORESVILLE        IN     46158‐7759
ANDERSON, ELIZABETH L        5940 N EMERSON AVE                                                                                INDIANAPOLIS       IN     46220‐5336
ANDERSON, ELIZABETH M.       6479 BISBY LAKE AVE                                                                               SAN DIEGO          CA     92119‐2644
ANDERSON, ELIZABETH P        1020 HOLLYBERRY CT                                                                                BRANDON            FL     33511‐7650
ANDERSON, ELLA J             1615 CROCKETT HILLS BLVD                                                                          BRENTWOOD          TN     37027‐7334
ANDERSON, ELLA L             731 ELEANOR AVE                                                                                   DAYTON             OH     45408‐1226
ANDERSON, ELLEN D            722 MARCIA ST SW                                                                                  WYOMING            MI     49509‐4017
ANDERSON, ELLIOTT L          31716 WALTHAM DR                                                                                  BEVERLY HILLS      MI     48025‐5121
ANDERSON, ELLIS J            PO BOX 560                                                                                        FLINT              MI     48501‐0560
ANDERSON, ELMBER M           GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                     NORFOLK            VA     23510‐2212
                                                               STREET, SUITE 600
ANDERSON, ELMER E            6406 PAWLING AVE                                                                                  PORT RICHEY       FL      34668‐5226
ANDERSON, ELMER E            2423 W 12TH ST                                                                                    ANDERSON          IN      46016‐3018
ANDERSON, ELMER K            12381 WISCONSIN ST                                                                                DETROIT           MI      48204‐1047
ANDERSON, ELMER L            4028 SHASTA COURT                                                                                 PRESCOTT          MI      48756‐9634
ANDERSON, ELMER L            116 CAMARILLO ST                                                                                  PALM SPRINGS      CA      92264‐5271
ANDERSON, ELMER L            4028 SHASTA CT                                                                                    PRESCOTT          MI      48756‐9634
ANDERSON, ELMER L            26054 CARLYSLE ST                                                                                 INKSTER           MI      48141‐2605
ANDERSON, ELOISE             5920 SUNRISE DR                                                                                   YPSILANTI         MI      48197‐7497
ANDERSON, ELOISE M           805 21ST ST                                                                                       MERIDIAN          MS      39301‐2510
ANDERSON, ELSA G             203 GATEWOOD DR APT E11                                                                           LANSING           MI      48917‐2578
ANDERSON, ELSIE              8537 SORRENTO ST                                                                                  DETROIT           MI      48228‐4030
ANDERSON, ELSIE A            795 HARDING AVE                                                                                   N TONAWANDA       NY      14120‐3402
ANDERSON, ELSIE C            301 WESTCHESTER BLVD                                                                              KENMORE           NY      14217‐1315
ANDERSON, ELSIE E            32801 GRINSELL DR                                                                                 WARREN            MI      48092‐3129
ANDERSON, ELSIE E            3512 MODENA ST                                                                                    DAYTON            OH      45408‐2118
ANDERSON, ELSWORTH J         3995 COTTINGHAM DR APT 329                                                                        CINCINNATI        OH      45241‐1674
ANDERSON, ELTON J            2311 HOOVER AVE                                                                                   DAYTON            OH      45402‐5526
ANDERSON, ELTON JAMES        2311 HOOVER AVE                                                                                   DAYTON            OH      45402‐5526
ANDERSON, ELTON L            36694 S STONEY FLOWER DR                                                                          TUCSON            AZ      85739‐1671
ANDERSON, ELVA M             906 19TH ST TRLR 33                                                                               BRODHEAD          WI      53520‐1927
ANDERSON, ELVA M             906 19TH STREET LOT 33                                                                            BRODHEAD          WI      53520‐1927
ANDERSON, ELVIS R            1219 OLD HIGHWAY 99                                                                               COLUMBIA          TN      38401‐7723
ANDERSON, EMIL S             14678 SHEPARD DR                                                                                  DOLTON            IL      60419‐2348
ANDERSON, EMMA L             11051 MOGUL ST                                                                                    DETROIT           MI      48224‐2445
ANDERSON, EMMA L             2201 FAIRPORT AVE                                                                                 DAYTON            OH      45406‐2537
ANDERSON, EMMA L             493 CENTENNIAL CT                                                                                 CENTERVILLE       OH      45458‐4012
ANDERSON, EMMA M             2128 S CAMINO BARRANCA                                                                            YUMA              AZ      85364‐6130
ANDERSON, ENEDELIA V         PO BOX 466                                                                                        LILLIAN           TX      76061‐0466
ANDERSON, ENEDELIA VALLEJO   PO BOX 466                                                                                        LILLIAN           TX      76061‐0466
ANDERSON, ERIC B             30 WILDWND ROAD                                                                                   MONTGOMERY CITY   MO      63361

ANDERSON, ERIC C             1803 NUGGET CT                                                                                    BEAVERCREEK       OH      45432
ANDERSON, ERIC D             8157 OLDFIELD RD                                                                                  CRESTLINE         OH      44827
ANDERSON, ERIC E             111 N PLAZA AVE APT B                                                                             DAYTON            OH      45417‐1762
ANDERSON, ERIC E             43832 CHERRY GROVE CT E                                                                           CANTON            MI      48188‐5277
ANDERSON, ERIC G             S 7494 CTY                        HWY U                                                           VIOLA             WI      54664
ANDERSON, ERIC R             S66W24800 SKYLINE AVE                                                                             WAUKESHA          WI      53189‐9244
ANDERSON, ERIC W             PO BOX 1715                                                                                       OKEECHOBEE        FL      34973‐1715
ANDERSON, ERICA F            51140 HOOKER APT 104                                                                              NEW BALTIMORE     MI      48047‐4156
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Name                      Address1                        Address2                      Address3   Address4               City            State   Zip
ANDERSON, ERICH R         5604 WEMBLEY CT                                                                                 CLARKSTON        MI     48346‐3061
ANDERSON, ERIK J          2778 BASELINE RD                                                                                GRAND ISLAND     NY     14072‐1307
ANDERSON, ERMA H          TIMBER OAKS                     32205 JOHN HAUK ST                                              GARDEN CITY      MI     48135‐1201
ANDERSON, ERMA H          32205 JOHN HAUK STREET                                                                          GARDEN CITY      MI     48135‐1201
ANDERSON, ERMA J          2270 WOODS AND WATER CT                                                                         SEBRING          FL     33872‐9225
ANDERSON, ERMA L          1551 COLUMBUS DR                                                                                FARWELL          MI     48622‐9438
ANDERSON, ERNEST B        212 S ARMSTRONG ST                                                                              PLEASANT HILL    MO     64080‐1702
ANDERSON, ERNEST D        1182 SPRINGMILL ST                                                                              MANSFIELD        OH     44906‐1525
ANDERSON, ERNEST E        1975 SOLDIERS HOME WC RD                                                                        DAYTON           OH     45418
ANDERSON, ERNEST J        3749 CASTLE COURT                                                                               YOUNGSTOWN       OH     44511‐2979
ANDERSON, ERNEST L        W7535 M 69                                                                                      IRON MOUNTAIN    MI     49801
ANDERSON, ERNEST R        1402 PROPER AVE                                                                                 BURTON           MI     48529‐2044
ANDERSON, ERNEST R        134 WINDER RD                                                                                   NEW CASTLE       DE     19720‐1215
ANDERSON, ERVIN L         348 WEATHERSFIELD DR                                                                            DAYTON           OH     45440‐4447
ANDERSON, ESTHER          2109 STANTON ST                                                                                 CANTON           MI     48188‐8012
ANDERSON, ESTHER C        10740 HILLSBORO DR NW                                                                           SILVERDALE       WA     98383‐8138
ANDERSON, ETHEL I         7970 FLETCHER RD                                                                                AKRON            NY     14001‐9435
ANDERSON, ETHEL LEE       1639 NEWTON AVE                                                                                 DAYTON           OH     45406‐4111
ANDERSON, ETHEL MAE       2921 RAY ST                                                                                     SAGINAW          MI     48601‐4624
ANDERSON, ETHEL P         1226 GILBERT ST                                                                                 FLINT            MI     48532‐3529
ANDERSON, ETHEL P         1226 GILBERT                                                                                    FLINT            MI     48532‐3529
ANDERSON, ETTA R          32925 GATEWAY DR                                                                                ROMULUS          MI     48174‐6379
ANDERSON, EUGENE          LANDYE BENNETT BLUMSTEIN        1300 SW 5TH AVE STE 3500                                        PORTLAND         OR     97201‐5641
ANDERSON, EUGENE A        123 LAKEVIEW AVE                                                                                EDGERTON         WI     53534‐9322
ANDERSON, EUGENE E        1250 N ELBA RD                                                                                  LAPEER           MI     48446‐8009
ANDERSON, EUGENE G        6542 BLISS RD                                                                                   SARANAC          MI     48881‐8736
ANDERSON, EVA I           7800 WASHINGTON PARK DRIVE                                                                      DAYTON           OH     45459‐3649
ANDERSON, EVA P           10 JACKSON DR A‐261                                                                             CRANFORD         NJ     07016‐3602
ANDERSON, EVAN P          1525 WOODHURST CT                                                                               HOWELL           MI     48843‐6313
ANDERSON, EVELYN L        512 N BUCKINGHAM CT                                                                             ANDERSON         IN     46013‐4469
ANDERSON, EVELYN R        9170 W HIGHLAND PARK AVE                                                                        FRANKLIN         WI     53132
ANDERSON, EVELYN V        1008 THAMES ST                                                                                  WILMINGTON       DE     19804‐2855
ANDERSON, EVELYN V        1008 THAMES STREET                                                                              WILMINGTON       DE     19804‐2855
ANDERSON, EVERETT E       4318 HUCKLEBERRY LN                                                                             FLINT            MI     48507‐2358
ANDERSON, EVERETT E       700 S JEFFERSON ST                                                                              KEARNEY          MO     64060‐8514
ANDERSON, EVERETT J       2705 7TH ST                                                                                     BAY CITY         MI     48708‐6906
ANDERSON, EVERETT ROGER   GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                     NORFOLK          VA     23510‐2212
                                                          STREET, SUITE 600
ANDERSON, FELICIA A       3709 LAWNDALE AVE                                                                               FLINT           MI      48504‐2250
ANDERSON, FERN            470 FAIRFIELD DRIVE                                                                             JACKSON         MS      39206
ANDERSON, FERN            1930 N BLOCK RD                                                                                 REESE           MI      48757‐9344
ANDERSON, FINIS           10755 WHIPPOORWILL LN                                                                           INDIANAPOLIS    IN      46231‐1010
ANDERSON, FLORA L         1480 MAYFIELD RD                                                                                ALPHARETTA      GA      30004‐1122
ANDERSON, FLORENCE        10370 SCHWYZ DR                                                                                 REED CITY       MI      49677‐8272
ANDERSON, FLOSSIE M       401 KENTUCKY 1232                                                                               GRAY            KY      40734‐6815
ANDERSON, FLOSSIE M       401 KY 1232                                                                                     GRAY            KY      40734‐6815
ANDERSON, FLOYCE          304 CENTRAL AVE                                                                                 MARBLE HILL     MO      63764‐8252
ANDERSON, FRANCES         3827 SEMINOLE PL                                                                                CARROLLTON      TX      75007‐6202
ANDERSON, FRANCES A       311 KERBY RD                                                                                    GROSSE POINTE   MI      48236‐3145
                                                                                                                          FARMS
ANDERSON, FRANCES A       950 MURPHY COURT                                                                                NEW WINDSOR     MD      21776‐8900
ANDERSON, FRANCES G       17334 PARKSIDE STREET                                                                           DETROIT         MI      48221‐2715
ANDERSON, FRANCES L       1380 ESTATES HILL CIR           C/O JOE G MIMS                                                  LEXINGTON       KY      40511‐2334
ANDERSON, FRANCES M       3231 BUTLER RD                                                                                  RICHMOND        KS      66080‐9147
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Name                        Address1                       Address2                      Address3   Address4               City               State   Zip
ANDERSON, FRANCIES W        520 E 49TH ST                                                                                  ANDERSON            IN     46013‐4806
ANDERSON, FRANCINE Q        508 CHELSEA DR                                                                                 JACKSON             MS     39212‐4605
ANDERSON, FRANK             710 GRAN HERITAGE WAY                                                                          DACULA              GA     30019‐6852
ANDERSON, FRANK             32643 JOY RD                                                                                   WESTLAND            MI     48185‐1575
ANDERSON, FRANK A           845 E BOND AVE                                                                                 MARION              IN     46952‐2144
ANDERSON, FRANK E           3170 W FARRAND RD                                                                              CLIO                MI     48420
ANDERSON, FRANK EARLE       3170 W FARRAND RD                                                                              CLIO                MI     48420
ANDERSON, FRANK J           57D WAVECREST AVE                                                                              WINFIELD PARK       NJ     07036‐7577
ANDERSON, FRANKLIN          25219 BLANCHE CT                                                                               FLAT ROCK           MI     48134‐9425
ANDERSON, FRANKLIN          2804 W 18TH ST                                                                                 ANDERSON            IN     46011‐4029
ANDERSON, FRANKLIN L        6029 HALMICH DR                                                                                WARREN              MI     48092‐1207
ANDERSON, FRANKLIN T.       2804 W 18TH ST                                                                                 ANDERSON            IN     46011‐4029
ANDERSON, FRED              84 BATEMAN PL                                                                                  MOUNT VERNON        NY     10552‐2506
ANDERSON, FRED R            280 BLACK OAK COVE RD                                                                          CANDLER             NC     28715‐8139
ANDERSON, FREDA M           C/O ROBERT W STRONG            1556 SCHNORF‐ JONES RD                                          ARCANUM             OH     45304‐5304
ANDERSON, FREDA M           1556 SCHNORF JONES RD          C/O ROBERT W STRONG                                             ARCANUM             OH     45304‐8911
ANDERSON, FREDDIE M         130 COUNTY ROAD 383                                                                            CULLMAN             AL     35057‐3901
ANDERSON, FREDERICK M       220 LANCASTER WAY                                                                              HIRAM               GA     30141‐5462
ANDERSON, FREDRICK A        PO BOX 282                                                                                     NEW PALESTINE       IN     46163‐0282
ANDERSON, FREDRICK A        749 KNIGHTSFORD LN                                                                             OKEMOS              MI     48864‐1327
ANDERSON, FREEDA E          7706 EAST 19TH STREET                                                                          TULSA               OK     74112‐7816
ANDERSON, G D               18 TAMARACK DRIVE                                                                              MAYVILLE            NY     14757‐9794
ANDERSON, G D               18 TAMARACK DR                                                                                 MAYVILLE            NY     14757‐9794
ANDERSON, GAIL              249 DUMPLIN MILL RD                                                                            NEW MARKET          TN     37820‐5417
ANDERSON, GAIL              5144 WALKABOUT LN                                                                              SWARTZ CREEK        MI     48473‐9473
ANDERSON, GAIL              10095 BRIARWOOD LN                                                                             FREELAND            MI     48623‐8842
ANDERSON, GAIL A            2207 WILLOW OAK DR                                                                             EDGEWATER           FL     32141‐4413
ANDERSON, GAIL V            1040 HALL ST SE                                                                                GRAND RAPIDS        MI     49507‐1942
ANDERSON, GARLAN BRENT      BOONE ALEXANDRA                205 LINDA DR                                                    DAINGERFIELD        TX     75638‐2107
ANDERSON, GARRETT MICHAEL   4812 GULL RD                                                                                   LANSING             MI     48917‐4146
ANDERSON, GARRY             518 TANIA TRL                                                                                  LINDEN              MI     48451‐8839
ANDERSON, GARRY D           283AA WELLS LOCK RD                                                                            ELIZABETH           WV     26143‐9388
ANDERSON, GARY              APT 3                          239 LEGACY PARK DRIVE                                           CHARLOTTE           MI     48813‐1356
ANDERSON, GARY              239 LEGACY PARK DR APT 3                                                                       CHARLOTTE           MI     48813‐1356
ANDERSON, GARY
ANDERSON, GARY D            4205 COLLEGE AVE                                                                               KANSAS CITY        MO      64130‐1451
ANDERSON, GARY D            277 FLORAL ACRES DR                                                                            TIPP CITY          OH      45371‐2917
ANDERSON, GARY E            503 W FULTON ST                                                                                BAY CITY           MI      48706‐3508
ANDERSON, GARY E            709 MEADOWVIEW DR                                                                              FLUSHING           MI      48433‐1334
ANDERSON, GARY E            5410 HOMESTEAD RD                                                                              FORT WAYNE         IN      46814‐4965
ANDERSON, GARY K            2158 HAMPSHIRE PIKE                                                                            COLUMBIA           TN      38401‐5654
ANDERSON, GARY L            3420 RIVER RD                                                                                  MANISTEE           MI      49660‐8938
ANDERSON, GARY L            10023 DODGE RD                                                                                 MONTROSE           MI      48457‐9019
ANDERSON, GARY L            45095 DESERT VIEW CT                                                                           LA QUINTA          CA      92253‐4269
ANDERSON, GARY L            6394 HALSEY RD                                                                                 EATON RAPIDS       MI      48827‐9806
ANDERSON, GARY L            GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                     NORFOLK            VA      23510‐2212
                                                           STREET, SUITE 600
ANDERSON, GARY LYNN         6394 HALSEY RD                                                                                 EATON RAPIDS       MI      48827‐9806
ANDERSON, GARY N            3551 CHAPEL DR                                                                                 STERLING HEIGHTS   MI      48310‐4318
ANDERSON, GARY O            670 ORIENT WAY                                                                                 HAMILTON           OH      45013‐5016
ANDERSON, GARY P            3454 STONEY BROOK DR                                                                           MILFORD            MI      48380‐4608
ANDERSON, GARY PAUL         3454 STONEY BROOK DR                                                                           MILFORD            MI      48380‐4608
ANDERSON, GARY R            6438 ORIOLE DR                                                                                 FLINT              MI      48506‐1723
ANDERSON, GARY T            2602 MARYLAND AVENUE                                                                           FLINT              MI      48506‐2857
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Name                       Address1                        Address2                      Address3   Address4               City                State   Zip
ANDERSON, GARY W           108 PEACH TREE ROAD                                                                             WEST MONROE          LA     71291‐8651
ANDERSON, GAYLE E          9235 NORTH M18                                                                                  GLADWIN              MI     48624
ANDERSON, GAYLE R          15491 KENTFIELD ST                                                                              DETROIT              MI     48223‐1750
ANDERSON, GAYLORD          SIMMONS FIRM                    PO BOX 559                                                      WOOD RIVER            IL    62095‐0559
ANDERSON, GENEVA           13914 YOSEMITE CIR                                                                              SAVAGE               MN     55378‐1917
ANDERSON, GENEVA F         6350 SE OAK RIDGE LN                                                                            HOLT                 MO     64048‐8399
ANDERSON, GENEVA H         2550 W GRANITE PASS RD                                                                          PHOENIX              AZ     85085‐5061
ANDERSON, GENEVA J         28850 LANCASTER STREET          APT 27                                                          LIVONIA              MI     48154
ANDERSON, GENEVA L         1031 VALLEY VISTA WAY                                                                           DAYTON               OH     45429‐6139
ANDERSON, GENEVA M         6935 WOODWIND DR                C/O GARY CAMPBELL                                               SARASOTA             FL     34231‐5744
ANDERSON, GENEVIEVE M      433 S MICHAEL ST                                                                                SAINT MARYS          PA     15857‐1742
ANDERSON, GENEVIEVE M      433 SOUTH MICHAEL ST                                                                            ST MARYS             PA     15857‐1742
ANDERSON, GEOFFREY L       1124 W BROADWAY ST                                                                              KOKOMO               IN     46901‐2612
ANDERSON, GEORGE           2886 COLONY LAKE WEST DR                                                                        PLAINFIELD           IN     46168‐9494
ANDERSON, GEORGE C         305 COSGROVE RD                                                                                 BEACH LAKE           PA     18405‐3045
ANDERSON, GEORGE D         4765 HUNSBERGER AVE NE                                                                          GRAND RAPIDS         MI     49525‐6723
ANDERSON, GEORGE E         37549 AVON LN                                                                                   FARMINGTON HILLS     MI     48331‐3086

ANDERSON, GEORGE J         2778 BASELINE RD                                                                                GRAND ISLAND        NY      14072‐1307
ANDERSON, GEORGE J         3550 RANDOLD RD                                                                                 CLEVELAND HEIGHTS   OH      44121

ANDERSON, GEORGE M         202 E MASON ST                                                                                  LANSING             MI      48910‐4590
ANDERSON, GEORGE MICHAEL   202 E MASON ST                                                                                  LANSING             MI      48910‐4590
ANDERSON, GEORGE R         PO BOX 4142                                                                                     KANSAS CITY         KS      66104‐0142
ANDERSON, GEORGE RICHARD   PO BOX 4142                                                                                     KANSAS CITY         KS      66104‐0142
ANDERSON, GEORGE W         3444 FLORENCE AVE                                                                               BULLHEAD CITY       AZ      86429‐7609
ANDERSON, GEORGE WALTER    BOONE ALEXANDRA                 205 LINDA DR                                                    DAINGERFIELD        TX      75638‐2107
ANDERSON, GEORGIA A        829 E MOORE ST                                                                                  FLINT               MI      48505‐3907
ANDERSON, GEORGIA H        506 S PRENTISS ST                                                                               JACKSON             MS      39203‐2436
ANDERSON, GEORGIA L        1871 NW 100TH RD                                                                                KINGSVILLE          MO      64061‐9267
ANDERSON, GERALD C         142 DAWKINS ST                                                                                  ROCKINGHAM          NC      28379‐5134
ANDERSON, GERALD C         12811 STATE HIGHWAY M26                                                                         EAGLE HARBOR        MI      49950‐9515
ANDERSON, GERALD C         5089 SABRINA LN NW                                                                              WARREN              OH      44483‐1268
ANDERSON, GERALD D         PO BOX 341                                                                                      FREELAND            MI      48623‐0341
ANDERSON, GERALD E         33 FOX HOUND CT                                                                                 GRAND BLANC         MI      48439‐7005
ANDERSON, GERALD E         3554 SW ATWOOD AVENUE                                                                           TOPEKA              KS      66614
ANDERSON, GERALD J         3150 ANNALLY DR                                                                                 CARMEL              IN      46032‐9214
ANDERSON, GERALD R         206 BLACKBERRY LN                                                                               LAWRENCEBURG        TN      38464‐6721
ANDERSON, GERALD R         PO BOX 631                                                                                      FLUSHING            MI      48433‐0631
ANDERSON, GERALD R         604 COURTYARD E                                                                                 BEAUFORT            NC      28516‐2424
ANDERSON, GERALD R         280 BLACKBERRY LN                                                                               LAWRENCEBURG        TN      38464
ANDERSON, GERALD R         6785 SWAN CREEK RD                                                                              SAGINAW             MI      48609‐7040
ANDERSON, GERALD W         5349 CLINTONVILLE ROAD                                                                          CLARKSTON           MI      48346‐4224
ANDERSON, GERALDINE        644 LYDIA LN                                                                                    PONTIAC             MI      48341‐1078
ANDERSON, GERALDINE        4718 CARRIE MARIE CT APT 2                                                                      SAGINAW             MI      48601‐6619
ANDERSON, GERALDINE        3650 W MAPLE RD                                                                                 WIXOM               MI      48393‐1705
ANDERSON, GERALDINE C      4638 N RITTER AVE                                                                               INDIANAPOLIS        IN      46226‐2214
ANDERSON, GERTRUDE A       42004 ADELBERT STREET                                                                           ELYRIA              OH      44035‐2512
ANDERSON, GERTRUDE S       VENTURA PLACE                   55 EAST LAKESHORE DRIVE                                         RANSOM CANYON       TX      79366‐2515
ANDERSON, GILBERT B        2230 ARNETTE ST                                                                                 SAGINAW             MI      48601‐4000
ANDERSON, GILBERT L        1525 N 29TH ST APT 9                                                                            KANSAS CITY         KS      66102
ANDERSON, GILBERT L        2616 N 12TH ST                                                                                  KANSAS CITY         KS      66104‐5321
ANDERSON, GILES LOWELL     GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                     NORFOLK             VA      23510‐2212
                                                           STREET, SUITE 600
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Name                        Address1                        Address2                      Address3   Address4               City            State   Zip
ANDERSON, GINETTE P         5684 VOLKMER RD                                                                                 CHESANING        MI     48616
ANDERSON, GLADYS            830 E GILLESPIE                                                                                 FLINT            MI     48505‐3929
ANDERSON, GLADYS J          1259 HIGH ST. NE                                                                                WARREN           OH     44483‐5852
ANDERSON, GLADYS J          1259 HIGH ST NE                                                                                 WARREN           OH     44483‐5852
ANDERSON, GLADYS LOUI       4146 HIGHWAY 139 SOUTH                                                                          MONETTE          AR     72447‐9119
ANDERSON, GLEN M            1683 LONGFELLOW ST                                                                              DETROIT          MI     48206‐2049
ANDERSON, GLEN R            PO BOX 767                                                                                      LINDEN           MI     48451‐0767
ANDERSON, GLENDA            531 N FLOYD CIR                                                                                 DELTONA          FL     32725‐5640
ANDERSON, GLENDER           215 E CLAREMORE DR                                                                              LANSING          MI     48911‐5062
ANDERSON, GLENN             1242 E 346TH ST                                                                                 EASTLAKE         OH     44095‐3028
ANDERSON, GLENN A           4361 LAKE MILDRED RD                                                                            RHINELANDER      WI     54501‐9753
ANDERSON, GLENN ALBERT      BOONE ALEXANDRA                 205 LINDA DR                                                    DAINGERFIELD     TX     75638‐2107
ANDERSON, GLENN E           35 TWIN LAKE DR APT 1                                                                           LAKE ST LOUIS    MO     63367‐2731
ANDERSON, GLENN N           1245 ROBERTS LOOP                                                                               GRIMSLEY         TN     38565‐5009
ANDERSON, GLENN R           3361 HERITAGE CT N                                                                              CANFIELD         OH     44406‐9208
ANDERSON, GLENN T           1525 W OAKLAND AVE SPC 120                                                                      HEMET            CA     92543‐2661
ANDERSON, GLENNA R          2642 W BLAIR PIKE RD                                                                            PERU             IN     46970‐8045
ANDERSON, GLORIA            1431 WASHINGTON BLVD APT 2506                                                                   DETROIT          MI     48226‐1729
ANDERSON, GLORIA J          147 BURNING BRUSH DR                                                                            ROCHESTER        NY     14606‐4645
ANDERSON, GLORIA J          3043 LAKE RD W                                                                                  ASHTABULA        OH     44004
ANDERSON, GLORIA J          3921 W RIVERSIDE DR                                                                             EDGERTON         WI     53534‐8944
ANDERSON, GLORIOUS J        4163 PARSONS WALK                                                                               SAGINAW          MI     48603‐7265
ANDERSON, GORDON C          105 BEECHLAWN DR                                                                                FRANKLIN         TN     37064‐5002
ANDERSON, GORDON E          11756 SHENANDOAH DR                                                                             SOUTH LYON       MI     48178‐9160
ANDERSON, GORDON H          14730 STANBRIDGE DR                                                                             HOUSTON          TX     77083‐5607
ANDERSON, GRACIE            PORTER & MALOUF PA              4670 MCWILLIE DR                                                JACKSON          MS     39206‐5621
ANDERSON, GRACIE E          6 E POINTE DR                                                                                   COLDWATER        MI     49036‐1484
ANDERSON, GRACIE LEE        VARAS & MORGAN                  PO BOX 886                                                      HAZLEHURST       MS     39083‐0886
ANDERSON, GRADY             SHANNON LAW FIRM                100 W GALLATIN ST                                               HAZLEHURST       MS     39083‐3007
ANDERSON, GRADY B           LIPMAN DAVID M                  5901 SW 74TH ST STE 304                                         MIAMI            FL     33143‐5163
ANDERSON, GRADY R           PO BOX 811                                                                                      MEEKER           OK     74855‐0811
ANDERSON, GREG A            PO BOX 16343                                                                                    LANSING          MI     48901‐6343
ANDERSON, GREGG C           24100 TOTTENHAM CT                                                                              NOVI             MI     48374‐3666
ANDERSON, GREGG L           4402 S COUNTY ROAD H                                                                            ORFORDVILLE      WI     53576‐8709
ANDERSON, GREGORY           1253 WINDSOR AVE                                                                                DAYTON           OH     45402‐5719
ANDERSON, GREGORY A         2736 N RIVER RD                                                                                 SAGINAW          MI     48609‐9304
ANDERSON, GREGORY C         PO BOX 203                                                                                      DURAND           MI     48429‐0203
ANDERSON, GREGORY CHARLES   PO BOX 203                                                                                      DURAND           MI     48429‐0203
ANDERSON, GREGORY K         635 GOLF VIEW CT                                                                                VANDALIA         OH     45377‐9644
ANDERSON, GREGORY M         417 SAM ST                                                                                      MIDLAND          MI     48642‐5949
ANDERSON, GROVER L          6192 PARK RD                                                                                    DORAVILLE        GA     30340‐1641
ANDERSON, GUY H             241 W MAIN ST                                                                                   MOORESVILLE      IN     46158‐1606
ANDERSON, GUY R             10 TENNIS LN                                                                                    PORT DEPOSIT     MD     21904‐1633
ANDERSON, GWENDOLYN D       4716 N RITTER AVE                                                                               INDIANAPOLIS     IN     46226‐2216
ANDERSON, GWENDOLYN DIANE   4716 N RITTER AVE                                                                               INDIANAPOLIS     IN     46226‐2216
ANDERSON, H I               2336 BERVILLE RD                                                                                BERLIN           MI     48002‐2110
ANDERSON, HARLEY G          12097 BROOKWAY DR                                                                               CINCINNATI       OH     45240‐1465
ANDERSON, HARLEY J          128 MAGNOLIA AVE                C/O PHILIP A ANDERSON                                           FAYETTEVILLE     NC     28305‐5053
ANDERSON, HARLOW A          GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                     NORFOLK          VA     23510‐2212
                                                            STREET, SUITE 600
ANDERSON, HAROLD            32925 GATEWAY DR                                                                                ROMULUS          MI     48174‐6379
ANDERSON, HAROLD A          12128 DAVISON RD                                                                                DAVISON          MI     48423‐8160
ANDERSON, HAROLD D          7112 DALMATIA DR                                                                                RIVERDALE        GA     30296‐2027
ANDERSON, HAROLD D          7492 S STATE ROAD 1                                                                             REDKEY           IN     47373‐9394
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Name                     Address1                           Address2                       Address3   Address4               City            State   Zip
ANDERSON, HAROLD E       1717 GARDEN DR                                                                                      JANESVILLE       WI     53546‐5625
ANDERSON, HAROLD E       13376 WEST RIMROCK STREET                                                                           SURPRISE         AZ     85374‐5211
ANDERSON, HAROLD E       2873 CLEARWATER ST NW                                                                               WARREN           OH     44485‐2213
ANDERSON, HAROLD F       1054 INDIANA AVE                                                                                    ANDERSON         IN     46012‐2322
ANDERSON, HAROLD L       400 S GLEANER RD                                                                                    SAGINAW          MI     48609‐9603
ANDERSON, HAROLD L       9447 E POTTER RD                                                                                    DAVISON          MI     48423‐8176
ANDERSON, HAROLD P       4187 TIMBERLANE CT                                                                                  GRAND BLANC      MI     48439‐2050
ANDERSON, HAROLD R       229 NORTH ST                                                                                        MILAN            MI     48160‐1349
ANDERSON, HAROLD R       11503 MAZA ST                                                                                       NORWALK          CA     90650‐2739
ANDERSON, HAROLD W       6769 S LOWELL RD                                                                                    SAINT JOHNS      MI     48879‐9252
ANDERSON, HAROLD W       2819 RHODES DR                                                                                      TROY             MI     48083‐6402
ANDERSON, HARRIET RAYE   C/O MOODY                          801 WEST FOURTH ST                                               LITTLE ROCK      AR     72201
ANDERSON, HARRY          BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD, BEVAN                                     NORTHFIELD       OH     44067
                                                            PROFESSIONAL BLDG
ANDERSON, HARRY          2402 W 111TH ST                                                                                     INGLEWOOD       CA      90303‐2538
ANDERSON, HARRY          5871 BEVERLY DR                    C/O SHELLY STANLEY                                               HUDSON          FL      34667‐1594
ANDERSON, HARRY K        HC 83 BOX 40                                                                                        CAPON BRIDGE    WV      26711‐9602
ANDERSON, HARRY M        16110 W 133RD ST                   APT 31                                                           OLATHE          KS      66062‐7884
ANDERSON, HARRY O        15691 POWERLINE RD                                                                                  HOLLEY          NY      14470‐9024
ANDERSON, HARRY W        262 CAMELOT DR                                                                                      NOKOMIS         FL      34275‐1873
ANDERSON, HARRY W        4401 PROMENADE BLVD                                                                                 PLANT CITY      FL      33563‐1354
ANDERSON, HARVEY J       1190 PALO BLANCO DR                                                                                 LAGUNA VISTA    TX      78578‐2736
ANDERSON, HATTIE C       2623 PROSPECT                                                                                       FLINT           MI      48504‐3361
ANDERSON, HATTIE C       2623 PROSPECT ST                                                                                    FLINT           MI      48504‐3361
ANDERSON, HAZEL M        132 NORTHSIDE CHURCH RD                                                                             LUCEDALE        MS      39452‐5130
ANDERSON, HEATHER J      133 BAKER SPRINGS LN                                                                                SPRING HILL     TN      37174‐7167
ANDERSON, HELEN          305 E WOOD LN                      C/O GEORGE M ANDERSON                                            BELVIDERE       IL      61008‐7838
ANDERSON, HELEN B        1010 PARK PLACE                                                                                     SHERIDAN        IN      46069‐2200
ANDERSON, HELEN E        12650 VALLEY VUE                   C/O WILLIAM PROSSER SR                                           DESOTO          MO      63020‐6510
ANDERSON, HELEN L        1811 CREEK RD                                                                                       MORRIS          IL      60450‐3333
ANDERSON, HELEN L        2711 WRIGHT WAY                                                                                     ANDERSON        IN      46011‐9036
ANDERSON, HELEN L        6785 SWAN CREEK RD                                                                                  SAGINAW         MI      48609‐7040
ANDERSON, HELEN M        11650 W FREELAND RD                                                                                 FREELAND        MI      48623
ANDERSON, HELEN M        7971 GRINNELL CT W                                                                                  LAKEVILLE       MN      55044‐9053
ANDERSON, HELEN M        G‐3252 N TERM ST                                                                                    FLINT           MI      48506‐1928
ANDERSON, HENRIETTA      9230 MARK TWAIN LN                                                                                  PORT RICHEY     FL      34668‐4321
ANDERSON, HENRY
ANDERSON, HENRY C        22277 W 12 MILE RD APT 7                                                                            SOUTHFIELD      MI      48034‐4666
ANDERSON, HENRY D        6015 GREEN BANK DR                                                                                  GRAND BLANC     MI      48439‐9429
ANDERSON, HENRY D.       6015 GREEN BANK DR                                                                                  GRAND BLANC     MI      48439‐9429
ANDERSON, HENRY J        101 CHESTNUT DR                                                                                     BARNEGAT        NJ      08005‐1109
ANDERSON, HENRY L        PO BOX 87                                                                                           N BLOOMFIELD    OH      44450‐0087
ANDERSON, HENRY L        6239 DIXIE HWY                                                                                      BRIDGEPORT      MI      48722
ANDERSON, HENRY O        7558 GRIMM RD                                                                                       SHREVEPORT      LA      71107‐9589
ANDERSON, HERBERT H      393 MECCA DR                                                                                        VANDALIA        OH      45377‐2626
ANDERSON, HERBERT L      5742 WAVERLY AVE                                                                                    KANSAS CITY     KS      66104‐2874
ANDERSON, HERMAN A       844 WHITMORE AVE                                                                                    BALTIMORE       MD      21216‐4736
ANDERSON, HERMAN B       GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                      NORFOLK         VA      23510‐2212
                                                            STREET, SUITE 600
ANDERSON, HERMAN D       PO BOX 94                                                                                           ANDREWS         IN      46702‐0094
ANDERSON, HOMER          626 SAN BERNARDINO TRL                                                                              UNION           OH      45322‐3029
ANDERSON, HORACE L       1108 ORANGE BLOSSOM DR                                                                              MOUNT MORRIS    MI      48458‐2824
ANDERSON, HOSEA D        5281 ENCHANTED CV SW                                                                                LILBURN         GA      30047‐6329
ANDERSON, HOUSTON O      9790 66TH ST LOT 97                                                                                 PINELLAS PARK   FL      33782‐2811
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Name                         Address1                         Address2                       Address3   Address4                City             State   Zip
ANDERSON, HOWARD             5462 CULVER ST                                                                                     INDIANAPOLIS      IN     46226‐4713
ANDERSON, HOWARD             6731 EDGETON ST                                                                                    DETROIT           MI     48212‐1914
ANDERSON, HOWARD E           6471 S CHAMPIONSHIP DR                                                                             CHANDLER          AZ     85249‐8615
ANDERSON, HOWARD HERMAN      BOONE ALEXANDRA                  205 LINDA DR                                                      DAINGERFIELD      TX     75638‐2107
ANDERSON, HOWARD I           PO BOX 373                                                                                         CATLIN             IL    61817‐0373
ANDERSON, HOWARD L           5202 S M 76                                                                                        ALGER             MI     48610‐9678
ANDERSON, HOWARD L           1507 BUTLER AVE.                 APT. B                                                            YOUNGSTOWN        OH     44509
ANDERSON, HOWARD M           380 S CHIPPEWA RD                                                                                  MOUNT PLEASANT    MI     48858‐9480
ANDERSON, HUBERT E           5195 CANTON RD NW                                                                                  CARROLLTON        OH     44615‐9015
ANDERSON, HUBERT L           3613 NIAGARA ST                                                                                    WAYNE             MI     48184‐1957
ANDERSON, HUBERT LYNN        3613 NIAGARA ST                                                                                    WAYNE             MI     48184‐1957
ANDERSON, HUELON R           26 S MADISON ST                                                                                    KNIGHTSTOWN       IN     46148‐1247
ANDERSON, HUGO J             533 LINCOLN RD                                                                                     OTSEGO            MI     49078‐1006
ANDERSON, IAN D              789 RANDOLPH AVE. APT. 2                                                   WINDSOR ON N9B 2T7
                                                                                                        CANADA
ANDERSON, IAN F              1008 RIDGEWOOD DR                                                                                  PLAINFIELD       IN      46168‐2248
ANDERSON, IDA D              121 MELINDA DRIVE                                                                                  STOCKBRIDGE      GA      30281‐0281
ANDERSON, IDA D              121 MELINDA DR                                                                                     STOCKBRIDGE      GA      30281‐1197
ANDERSON, ILA D              15115 GAGE ST                                                                                      TAYLOR           MI      48180‐5192
ANDERSON, IMOGENE            43081 MANORWOOD LANE                                                                               CLINTON TWP      MI      48038
ANDERSON, INGRID M           3603 W CORA AVE                                                                                    SPOKANE          WA      99205‐3949
ANDERSON, INTHA J            14794 WINDSOR CASTLE LN                                                                            STRONGSVILLE     OH      44149‐8783
ANDERSON, IRENE              PO BOX 2194                                                                                        CONWAY           SC      29528‐2194
ANDERSON, IRENE B            45 PROSPECT PKWY                                                                                   PORTSMOUTH       VA      23702‐2830
ANDERSON, IRENE B            45 PROSPECT PARKWAY                                                                                PORTSMOUTH       VA      23702
ANDERSON, IRENE M            4732 LOLLY DR                                                                                      MONROEVILLE      PA      15146‐3626
ANDERSON, IRENE M            4977 BATTERY LN APT 501                                                                            BETHESDA         MD      20814‐4919
ANDERSON, IRIS J             1980 WILLIAMSPORT PIKE                                                                             COLUMBIA         TN      38401‐5683
ANDERSON, IRIS JANE          1980 WILLIAMSPORT PIKE                                                                             COLUMBIA         TN      38401‐5683
ANDERSON, ISABELL E          8869 JACARANDA DR                                                                                  DIAMONDALE       MI      48821‐9566
ANDERSON, IVARY              312 BLAKES FRK                                                                                     WILLIAMSBURG     KY      40769‐2830
ANDERSON, IVY I              3419 ATHERTON TERR. DR.                                                                            FLINT            MI      48507
ANDERSON, J
ANDERSON, J                  3980 17TH ST                                                                                       ECORSE           MI      48229‐1310
ANDERSON, J D                1467 TURNBERRY DR                                                                                  BOARDMAN         OH      44512‐3841
ANDERSON, J D TRUCKING INC   267 RIDGEMONT DR                                                                                   INDUSTRY         PA      15052‐1935
ANDERSON, JACK               6571 N RIVER HWY                                                                                   GRAND LEDGE      MI      48837‐9376
ANDERSON, JACK A             387 COUNTY RD #958                                                                                 TISHOMINGO       MS      38873
ANDERSON, JACK D             17509 SANTA BARBARA DR                                                                             DETROIT          MI      48221‐2528
ANDERSON, JACK E             137 CHARGER DR                                                                                     MACKS CREEK      MO      65786‐6700
ANDERSON, JACK E             6201 STATE ROUTE 305                                                                               FOWLER           OH      44418‐9716
ANDERSON, JACK H             6297 PERRY RD                                                                                      GRAND BLANC      MI      48439‐7802
ANDERSON, JACK R             6000 2ND ST E APT 14                                                                               ST PETE BEACH    FL      33706‐3738
ANDERSON, JACKLYN K          4343 ROSE LANE                                                                                     GLADWIN          MI      48624‐9273
ANDERSON, JACQUELINE E       12096 BELANN CT                                                                                    CLIO             MI      48420‐1043
ANDERSON, JACQUELINE R
ANDERSON, JALMER O           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                       NORFOLK           VA     23510‐2212
                                                              STREET, SUITE 600
ANDERSON, JAMES              SHANNON LAW FIRM                 100 W GALLATIN ST                                                 HAZLEHURST       MS      39083‐3007
ANDERSON, JAMES              BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD, BEVAN                                      NORTHFIELD       OH      44067
                                                              PROFESSIONAL BLDG
ANDERSON, JAMES              GILFOY J R                       112 LAKE RIDGE DR                                                 SALTILLO         MS      38866
ANDERSON, JAMES              BARRETT LAW OFFICES              PO BOX 987                                                        LEXINGTON        MS      39095‐0987
ANDERSON, JAMES A            3721 QUINBY ISLAND CT                                                                              JACKSONVILLE     FL      32224‐7675
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Name                      Address1                            Address2                          Address3   Address4               City             State   Zip
ANDERSON, JAMES A         410 W 4TH ST                                                                                            IMLAY CITY        MI     48444‐1048
ANDERSON, JAMES C         106 HUDSON AVE                                                                                          PONTIAC           MI     48342‐1246
ANDERSON, JAMES C         2660 LOCHMOOR PL                                                                                        SAGINAW           MI     48603‐2936
ANDERSON, JAMES C         N9071 SPRANG RD                                                                                         GERMFASK          MI     49836‐9221
ANDERSON, JAMES C         10402 COLLINS RD                                                                                        SODDY DAISY       TN     37379‐3708
ANDERSON, JAMES D         1712 SOUTH LIBERTY AVENUE                                                                               ALLIANCE          OH     44601‐4310
ANDERSON, JAMES D         4435 LAKEVIEW ST                                                                                        DETROIT           MI     48215‐2340
ANDERSON, JAMES D         102 N JAMALEE WAY                                                                                       PENDLETON         IN     46064‐9148
ANDERSON, JAMES D         6490 LOCHAVEN LN                                                                                        WATERFORD         MI     48327‐2913
ANDERSON, JAMES E         3053 N OLNEY ST                                                                                         INDIANAPOLIS      IN     46218‐2130
ANDERSON, JAMES E         405 COOL EVENING RD                                                                                     CLOVERDALE        IN     46120‐8870
ANDERSON, JAMES E         5684 VOLKMER RD                                                                                         CHESANING         MI     48616‐9477
ANDERSON, JAMES E         1735 HIDDEN POND                                                                                        MILFORD           MI     48380‐4353
ANDERSON, JAMES E         5781 2 MILE RD                                                                                          BAY CITY          MI     48706
ANDERSON, JAMES E         113 W HAMILTON AVE                                                                                      FLINT             MI     48503‐1037
ANDERSON, JAMES E         1040 CAVERN DR                                                                                          MESQUITE          TX     75181‐4419
ANDERSON, JAMES E         1702 CAROLYN DR                                                                                         MIAMISBURG        OH     45342‐2641
ANDERSON, JAMES E         1178 E HOBART LN                                                                                        HERNANDO          FL     34442‐2812
ANDERSON, JAMES E         32 REDER RD                                                                                             NORTHFIELD        CT     06778‐2106
ANDERSON, JAMES E         5816 NEWBERRY RD                                                                                        DURAND            MI     48429‐9116
ANDERSON, JAMES E         8408 ROSEMONT AVE                                                                                       DETROIT           MI     48228‐3137
ANDERSON, JAMES E         C/O GOLDENBERG HELLER ANTOGNOLI &   2227 S STATE ROUTE 157                                              EDWARDSVILLE       IL    62025
                          ROWLAND PC
ANDERSON, JAMES E         832 MARVIN ST                                                                                           MILAN            MI      48160‐1142
ANDERSON, JAMES E         1744 KESSLER BOULEVARD WEST DR                                                                          INDIANAPOLIS     IN      46228‐1815
ANDERSON, JAMES ERNEST    8408 ROSEMONT AVE                                                                                       DETROIT          MI      48228
ANDERSON, JAMES ERWIN     2105 LEITH ST                                                                                           FLINT            MI      48506‐4911
ANDERSON, JAMES EUGENE    5816 NEWBERRY RD                                                                                        DURAND           MI      48429‐9116
ANDERSON, JAMES F         512 WEST AVE                                                                                            MEDINA           NY      14103‐1423
ANDERSON, JAMES F         1122 INDIANAPOLIS RD                                                                                    GREENCASTLE      IN      46135‐1458
ANDERSON, JAMES F         CLIMACO LEFKOWITZ PECA WILCOX &     1228 EUCLID AVE, HALLE BLDG 9TH                                     CLEVELAND        OH      44115
                          GAROFOLI                            FL
ANDERSON, JAMES F         GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                         NORFOLK           VA     23510‐2212
                                                              STREET, SUITE 600
ANDERSON, JAMES G         209 FAIR VIEW LN                                                                                        ROSCOMMON        MI      48653
ANDERSON, JAMES H         9563 APRICOT AVE                                                                                        ALTA LOMA        CA      91737‐3544
ANDERSON, JAMES H         20551 TRINITY ST                                                                                        DETROIT          MI      48219‐1350
ANDERSON, JAMES K         770 AUBURN AVE                                                                                          PONTIAC          MI      48342
ANDERSON, JAMES L         211 SOLOMON ST                                                                                          MOORESVILLE      IN      46158‐1138
ANDERSON, JAMES L         869 E STATE ROAD 38                                                                                     PENDLETON        IN      46064‐9329
ANDERSON, JAMES L         1187 SARATOGA PKWY                                                                                      OCONOMOWOC       WI      53066‐4444
ANDERSON, JAMES L         3368 AURARIA RD                                                                                         DAHLONEGA        GA      30533‐5930
ANDERSON, JAMES L         13914 SCHUSTER ROAD                                                                                     POCAHONTAS       IL      62275‐1528
ANDERSON, JAMES L         12523 COUNTY HIGHWAY 11D                                                                                UPPER SANDUSKY   OH      43351‐9439
ANDERSON, JAMES L         6342 CAMPBELL BLVD                                                                                      LOCKPORT         NY      14094‐9216
ANDERSON, JAMES L         969 TURKEY CREEK DR                                                                                     TULLAHOMA        TN      37388‐4673
ANDERSON, JAMES M         608 S 9TH ST APT 306                                                                                    MINNEAPOLIS      MN      55404
ANDERSON, JAMES M         2755 E STALF RD                                                                                         COLUMBIA CITY    IN      46725‐9395
ANDERSON, JAMES M         7175 N LAPEER RD                                                                                        FOSTORIA         MI      48435
ANDERSON, JAMES M         6310 PINE AVENUE                                                                                        VASSAR           MI      48768‐9213
ANDERSON, JAMES M         2078 SARATOGA AVE SW                                                                                    WARREN           OH      44485‐3960
ANDERSON, JAMES M         15 ERIE ST                                                                                              LOCKPORT         NY      14094‐4639
ANDERSON, JAMES MICHAEL   13330 MCCUMSEY RD                                                                                       CLIO             MI      48420‐7914
ANDERSON, JAMES N         270 N SEDGWICK RD                                                                                       SEDGWICK         ME      04676‐3205
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Name                    Address1                        Address2               Address3          Address4               City             State   Zip
ANDERSON, JAMES P       29665 UTICA RD 201 D BLD                                                                        ROSEVILLE         MI     48066
ANDERSON, JAMES R       576 EMERSON RD                                                                                  MIDDLETOWN        OH     45042‐1414
ANDERSON, JAMES R       7370 APPLE CROSS CIR                                                                            AVON              IN     46123‐7711
ANDERSON, JAMES R       2192 BROXTON PL                                                                                 THE VILLAGES      FL     32162‐3368
ANDERSON, JAMES R       WOLFF ARDIS PC                  5810 SHELBY OAKS DR                                             MEMPHIS           TN     38134‐7315
ANDERSON, JAMES R       3303 W KECK RD                                                                                  COLUMBIA CITY     IN     46725‐9558
ANDERSON, JAMES R.      GORI JULIAN & ASSOCIATES P C    156 N MAIN ST                                                   EDWARDSVILLE       IL    62025
ANDERSON, JAMES S       2728 BRANDT PIKE                                                                                DAYTON            OH     45404‐1468
ANDERSON, JAMES S       54 ARBUTUS DR                                                                                   DULUTH            MN     55810‐1924
ANDERSON, JAMES T       22047 SAFARI DR                                                                                 BRISTOL           VA     24202‐2779
ANDERSON, JAMES T       672 HOLLY RD                                                                                    CADILLAC          MI     49601‐2420
ANDERSON, JAMES W       643 S EVERGREEN AVE                                                                             ARLINGTON          IL    60005‐2604
                                                                                                                        HEIGHTS
ANDERSON, JAMES W       204 TOWER DR                                                                                    SALINE           MI      48176
ANDERSON, JAMES W       18938 AYRSHIRE CIR                                                                              PORT CHARLOTTE   FL      33948
ANDERSON, JAMES W       803 CHIPPEWA DR                                                                                 DEFIANCE         OH      43512‐3375
ANDERSON, JAMES W       PO BOX 213                                                                                      LAUDERDALE       MS      39335
ANDERSON, JAN D         PO BOX 189                                                                                      ROSCOMMON        MI      48653‐0189
ANDERSON, JANE A        405 E CARTER ST                                                                                 KOKOMO           IN      46901‐5475
ANDERSON, JANE R        1037 LEISURE WORLD                                                                              MESA             AZ      85206‐2456
ANDERSON, JANET         3243 REDWOOD DRIVE                                                                              INDIANAPOLIS     IN      46227‐7060
ANDERSON, JANET         1905 WOODLYN DR APT 103                                                                         FREDERICKSBRG    VA      22401‐5143
ANDERSON, JANET B       16500 N PARK DR APT 1604                                                                        SOUTHFIELD       MI      48075‐4768
ANDERSON, JANET D       13687 MINERAL SPRINGS RD                                                                        WEST FORK        AR      72774‐9380
ANDERSON, JANET E       7 KING ST                                                                                       FENWICK ISLAND   DE      19944‐4426
ANDERSON, JANET E       7 EAST KING STREET                                                                              FENWICK‐ISLAND   DE      19975
ANDERSON, JANICE        5379 PEACOCK DR                                                                                 HOLIDAY          FL      34690‐2942
ANDERSON, JANICE E      329 INDEPENDENCE WAY                                                                            WOODSTOCK        GA      30188‐4153
ANDERSON, JANICE M      14 BROOKSIDE DRIVE                                                                              HUBBARD          OH      44425‐4425
ANDERSON, JANIE         100 PARSONS ST APT 808                                                                          DETROIT          MI      48201‐2077
ANDERSON, JANIS         BENTON PAUL                     PO BOX 1341            181 MAIN STREET                          BILOXI           MS      39533‐1341
ANDERSON, JANIS G       PO BOX 932                                                                                      MONTICELLO       MS      39654‐0932
ANDERSON, JAYNE P       12391 HILLCREST DR                                                                              GRAND BLANC      MI      48439‐1851
ANDERSON, JEAN M        29228 WAGNER DRIVE                                                                              WARREN           MI      48093‐3532
ANDERSON, JEANETTE      741 WOODBINE DR                                                                                 FENTON           MI      48430‐1422
ANDERSON, JEANNE        17655 W 44TH AVE                                                                                GOLDEN           CO      80403‐1514
ANDERSON, JEFF P        3303 W KECK RD                                                                                  COLUMBIA CITY    IN      46725‐9558
ANDERSON, JEFF PHILIP   3303 W KECK RD                                                                                  COLUMBIA CITY    IN      46725‐9558
ANDERSON, JEFFERY L     14340 FAGAN RD                                                                                  HOLLY            MI      48442‐9758
ANDERSON, JEFFREY A     3594 BATH RD                                                                                    PERRY            MI      48872‐9190
ANDERSON, JEFFREY B     3206 HERRICK ST                                                                                 FLINT            MI      48503‐3419
ANDERSON, JEFFREY C     3140 HEIDE RD                                                                                   SPRINGFIELD      OH      45506‐3908
ANDERSON, JEFFREY I     7972 RAGLAN DR NE                                                                               WARREN           OH      44484‐1439
ANDERSON, JEFFREY L     1202 BAVARIAN LN                                                                                BRYAN            OH      43506‐8603
ANDERSON, JEFFREY P     3038 S WENTWORTH AVE                                                                            MILWAUKEE        WI      53207‐3017
ANDERSON, JEFFREY W     16455 COTTAGE NOOK                                                                              FENTON           MI      48430‐8975
ANDERSON, JENNIE B      1270 S POOR FARM RD                                                                             HARRISVILLE      MI      48740‐9551
ANDERSON, JENNIFER      5832 LOBELIA WAY                                                                                LIVERMORE        CA      94551‐7831
ANDERSON, JENNIFER      125 E SUFFOLK CT                                                                                FLINT            MI      48507‐4254
ANDERSON, JENNIFER C    13558 CUNNINGHAM STREET                                                                         SOUTHGATE        MI      48195‐1185
ANDERSON, JENNIFER D    2041 WHITE AVE                                                                                  MILFORD          MI      48381‐4207
ANDERSON, JENNIFER R    307 WILBOR AVE                                                                                  HURON            OH      44839‐2527
ANDERSON, JENNY M       129 EAST THIRD STREET           APT#2                                                           NEW CASTLE       DE      19720
ANDERSON, JERALDINE     159 POPLAR VIEW LN                                                                              BEDFORD          IN      47421‐6815
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Name                   Address1                       Address2                      Address3          Address4               City             State Zip
ANDERSON, JERMAINE
ANDERSON, JEROME C     405 STONY HILL RD                                                                                     FREDERICKSBURG   VA    22406‐4134
ANDERSON, JERRILYN     6056 BUNKER HILL ST                                                                                   FLINT            MI    48506‐1641
ANDERSON, JERRY A      13955 S TRAILS END DR                                                                                 HOMER GLEN       IL    60491‐8643
ANDERSON, JERRY A      217 W ROSELAWN DR                                                                                     LOGANSPORT       IN    46947‐2015
ANDERSON, JERRY A      13955 TRAILS END DR                                                                                   HOMER GLEN       IL    60491‐8643
ANDERSON, JERRY D      356 HURON HILLS DR                                                                                    EAST TAWAS       MI    48730‐9521
ANDERSON, JERRY E      4160 E FOREST GLEN AVE 7/9                                                                            LEESBURG         IN    46538
ANDERSON, JERRY E      8065 S COUNTY ROAD 100 W                                                                              CLAYTON          IN    46118‐9241
ANDERSON, JERRY G      13900 W RAINTREE CT                                                                                   DALEVILLE        IN    47334‐9606
ANDERSON, JERRY L      3941 MONTEVIDEO DRIVE                                                                                 DAYTON           OH    45414‐5020
ANDERSON, JERRY L      41 STANLEY DR                                                                                         BAY CITY         MI    48708‐9118
ANDERSON, JERRY L      12273 WOODSIDE DR APT 1                                                                               GRAND BLANC      MI    48439‐1651
ANDERSON, JERRY L      6699 FIELDS ERTEL RD                                                                                  CINCINNATI       OH    45241‐1742
ANDERSON, JERRY L      98‐410 KOAUKA LOOP APT 3G                                                                             AIEA             HI    96701‐4501
ANDERSON, JERRY M      43 VJ DR                                                                                              OAKWOOD          IL    61858‐6202
ANDERSON, JERRY V      5135 E RAMSEY RD                                                                                      SIERRA VISTA     AZ    85650‐9309
ANDERSON, JERRY W      1430 EMANUEL HOLLOW RD                                                                                GRAY             KY    40734‐6875
ANDERSON, JESSE J      PO BOX 932                                                                                            MONTICELLO       MS    39654‐0932
ANDERSON, JESSE J      BENTON PAUL                    PO BOX 1341                   181 MAIN STREET                          BILOXI           MS    39533‐1341
ANDERSON, JESSE J JR   PO BOX 932                                                                                            MONTICELLO       MS    39654‐0932
ANDERSON, JESSIE B     415 SUNFLOWER ST                                                                                      BASTROP          LA    71220‐5660
ANDERSON, JESSIE D     GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                            NORFOLK          VA    23510‐2212
                                                      STREET, SUITE 600
ANDERSON, JESSIE E     6405 FOREST GROVE DR                                                                                  FREDERICKSBRG    VA    22407‐6345
ANDERSON, JESSIE R     8472 HIGHWAY 297                                                                                      PIONEER          TN    37847‐4020
ANDERSON, JEWEL T      2164 PALMYRA RD SW                                                                                    WARREN           OH    44481‐9101
ANDERSON, JILL A       912 CROYDON CT                                                                                        VANDALIA         OH    45377
ANDERSON, JIM L        7236 ROLLING HILLS BLVD                                                                               MONTGOMERY       AL    36116‐6058
ANDERSON, JIMMIE       6469 POTTER RD                                                                                        FLUSHING         MI    48433‐9415
ANDERSON, JIMMIE C     PO BOX 38146                                                                                          GERMANTOWN       TN    38183‐0146
ANDERSON, JIMMIE L     5356 LEATHERWOOD RD                                                                                   BEDFORD          IN    47421‐8798
ANDERSON, JIMMIE L     5246 SUNTRAIL DR                                                                                      FLORISSANT       MO    63033‐4423
ANDERSON, JIMMIE L     411 W ALABAMA AVE                                                                                     ANADARKO         OK    73005‐4851
ANDERSON, JIMMY        21C QUEENS WAY                                                                                        CAMILLUS         NY    13031
ANDERSON, JO ANN       1911 NORWOOD WAY                                                                                      ANDERSON         IN    46011‐2613
ANDERSON, JO ANN       5131 SILVERDOME DR                                                                                    DAYTON           OH    45414‐3643
ANDERSON, JO ANN R.    8007 COMANCHE TRAIL                                                                                   TEMPERANCE       MI    48182
ANDERSON, JOAN A       13330 MCCUMSEY RD                                                                                     CLIO             MI    48420‐7914
ANDERSON, JOAN E       3269 ANCHORAGE CT                                                                                     SPRING HILL      FL    34607
ANDERSON, JOAN M       32 SOMERSET AVE                                                                                       BRIDGEWATER      NJ    08807‐2024
ANDERSON, JOAN S       1398 MACK RD                                                                                          CONWAY           SC    29526‐6156
ANDERSON, JOANNE       631 PETTIBONE AVE                                                                                     FLINT            MI    48507‐1757
ANDERSON, JOANNE       32 WILLIAMSTOWNE CT APT 9                                                                             BUFFALO          NY    14227
ANDERSON, JOANNE K     900 S SWEET GUM AVE                                                                                   BROKEN ARROW     OK    74012‐4504
ANDERSON, JOANNE L     34 DEL MESA CARMEL                                                                                    CARMEL           CA    93923‐9508
ANDERSON, JOCELYN      1516 WENDELL AVE                                                                                      HIGH POINT       NC    27260‐3745
ANDERSON, JODI L       11003 WOODWARD DRIVE                                                                                  BYRON            MI    48418‐9014
ANDERSON, JOE          2311 JEFFERSON ST                                                                                     BALTIMORE        MD    21205
ANDERSON, JOE          534 NORTH EAST 18TH ST                                                                                GRAND PRAIRIE    TX    75052
ANDERSON, JOE E        731 ORVILLE AVE                                                                                       KANSAS CITY      KS    66101‐3117
ANDERSON, JOE E        2714 EULALIE DR                                                                                       SAN JOSE         CA    95121‐2212
ANDERSON, JOE L        118 WESTWAY ST                                                                                        PONTIAC          MI    48342‐2568
ANDERSON, JOE L        7508 REMOOR RD                                                                                        BALTIMORE        MD    21207‐4567
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Name                     Address1                         Address2                       Address3   Address4               City               State   Zip
ANDERSON, JOEL F         1425 MAXWELL ST                                                                                   FLINT               MI     48532‐4340
ANDERSON, JOEL FREEMAN   1425 MAXWELL ST                                                                                   FLINT               MI     48532‐4340
ANDERSON, JOEL R         3521 LINCOLN RD                                                                                   INDIANAPOLIS        IN     46222‐1835
ANDERSON, JOHN           BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD, BEVAN                                     NORTHFIELD          OH     44067
                                                          PROFESSIONAL BLDG
ANDERSON, JOHN           50 W 16TH AVE                                                                                     OSHKOSH            WI      54902‐6902
ANDERSON, JOHN           10360 NORTHFIELD ROAD, BEVAN                                                                      NORTHFIELD         OH      44067
                         PROFESSIONAL BLDG
ANDERSON, JOHN A         1806 LORA ST                                                                                      ANDERSON            IN     46013‐2744
ANDERSON, JOHN A         22064 TREDWELL AVE                                                                                FARMINGTON HILLS    MI     48336‐3867

ANDERSON, JOHN B         1450 TRACE DR                                                                                     HOUSTON             TX     77077‐2234
ANDERSON, JOHN C         6047 E COLONY RD                                                                                  ELSIE               MI     48831‐9758
ANDERSON, JOHN C         5122 PARKSIDE DR                                                                                  WEST BLOOMFIELD     MI     48323‐2169

ANDERSON, JOHN C         7420 E MAPLE AVE                                                                                  GRAND BLANC         MI     48439‐9759
ANDERSON, JOHN C.        7420 E MAPLE AVE                                                                                  GRAND BLANC         MI     48439‐9759
ANDERSON, JOHN D         2936 HADLEY RD                                                                                    LAPEER              MI     48446‐9637
ANDERSON, JOHN D         PO BOX 436                                                                                        BASOM               NY     14013‐0436
ANDERSON, JOHN D         9421 GREEN RD                                                                                     GOODRICH            MI     48438
ANDERSON, JOHN D         2728 BROADVIEW DR                                                                                 BEDFORD             IN     47421‐5211
ANDERSON, JOHN D         3463 FOREST MEADOW CT                                                                             SAGINAW             MI     48603‐1665
ANDERSON, JOHN D         1536 DOUBLE BRIDGES RD                                                                            ELBERTON            GA     30635‐3521
ANDERSON, JOHN E         72668 CAMPGROUND RD                                                                               BRUCE TWP           MI     48065‐3756
ANDERSON, JOHN E         5577 S FISSURE PEAK DR                                                                            GREEN VALLEY        AZ     85622‐8111
ANDERSON, JOHN E         717 RANCOCAS RD                                                                                   WESTAMPTON          NJ     08060
ANDERSON, JOHN E         2904 22ND ST                                                                                      NIAGARA FALLS       NY     14305‐2106
ANDERSON, JOHN E         5415 STARWOOD DR                                                                                  COMMERCE            MI     48382‐1138
                                                                                                                           TOWNSHIP
ANDERSON, JOHN H         1526 CONDE ST                                                                                     JANESVILLE         WI      53546‐5856
ANDERSON, JOHN H         EARLY & STRAUSS                  250 LEXINGTON AVENUE ‐ 20TH                                      NEW YORK           NY      10017
ANDERSON, JOHN H         1838 S WAVERLY RD                                                                                 EATON RAPIDS       MI      48827‐8721
ANDERSON, JOHN H         5539 SHERIDAN ST                                                                                  DETROIT            MI      48213‐2874
ANDERSON, JOHN J         3928 KNOB CREEK OVERLOOK                                                                          INDIANAPOLIS       IN      46234‐1310
ANDERSON, JOHN J         2914 S MABBETT AVE                                                                                MILWAUKEE          WI      53207‐2525
ANDERSON, JOHN J         3660 F LAKE AVENUE                                                                                ROCHESTER          NY      14612
ANDERSON, JOHN L         4325 NEW MARKET BANTA RD                                                                          LEWISBURG          OH      45338‐7746
ANDERSON, JOHN L         2605 E 2ND ST                                                                                     ANDERSON           IN      46012‐3204
ANDERSON, JOHN M         526 OAKWOOD DR                                                                                    INDIANAPOLIS       IN      46260‐2305
ANDERSON, JOHN M         25258 WESTFIELD                                                                                   REDFORD            MI      48239‐1513
ANDERSON, JOHN M         GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                      NORFOLK            VA      23510‐2212
                                                          STREET, SUITE 600
ANDERSON, JOHN O         SIMMONS FIRM                     PO BOX 559                                                       WOOD RIVER          IL     62095‐0559
ANDERSON, JOHN O         4544 VIA CLARICE                                                                                  SANTA BARBARA       CA     93111‐1348
ANDERSON, JOHN R         1412 OLD COBBLE DR                                                                                NORTH LAS VEGAS     NV     89081‐3243
ANDERSON, JOHN R         7940 WILD OAKS DR                                                                                 WEIDMAN             MI     48893‐9738
ANDERSON, JOHN R         4988 OAK HILL DR                                                                                  WATERFORD           MI     48329‐1753
ANDERSON, JOHN R         2782 WEXFORD DR                                                                                   SAGINAW             MI     48603‐3234
ANDERSON, JOHN R         19042 US 23 N                                                                                     MILLERSBURG         MI     49759
ANDERSON, JOHN S         9332 CASTLE KNOLL BLVD                                                                            INDIANAPOLIS        IN     46250‐3488
ANDERSON, JOHN STEWART   9332 CASTLE KNOLL BLVD                                                                            INDIANAPOLIS        IN     46250‐3488
ANDERSON, JOHN T         5021 WAPLE LN                                                                                     ALEXANDRIA          VA     22304‐7727
ANDERSON, JOHN T         5925 TRUMAN DR                                                                                    FORT WORTH          TX     76112‐7935
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Name                         Address1                            Address2                       Address3   Address4               City               State Zip
ANDERSON, JOHN W             GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                      NORFOLK             VA 23510‐2212
                                                                 STREET, SUITE 600
ANDERSON, JOHN W             177 BILLY THOMAS LN                                                                                  SPARTA             TN   38583
ANDERSON, JOHN W             156 MONTE VERANO CT                                                                                  SAN JOSE           CA   95116‐2660
ANDERSON, JOHN W             913 SHELBY ST                                                                                        SANDUSKY           OH   44870‐3134
ANDERSON, JOHN W             44 GAYNOR ST                                                                                         STATEN ISLAND      NY   10309‐2723
ANDERSON, JOHN WALTER        GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                      NORFOLK            VA   23510‐2212
                                                                 STREET, SUITE 600
ANDERSON, JOHNELLA           629 BRADDOCK AVE APT 2                                                                               MONESSEN           PA   15062‐1465
ANDERSON, JOHNNIE J          115 FLORENCE ST                                                                                      HIGHLAND PARK      MI   48203‐2767
ANDERSON, JOHNNIE M          5089 TIN TOP RD                                                                                      WEATHERFORD        TX   76087‐8079
ANDERSON, JOHNNIE M          146 LAKE CASTLE RD                                                                                   MADISON            MS   39110‐8620
ANDERSON, JOHNNIE WENONA     PO BOX 13231                                                                                         FLINT              MI   48501‐3231
ANDERSON, JOHNNY E           GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                      NORFOLK            VA   23510‐2212
                                                                 STREET, SUITE 600
ANDERSON, JOHNNY N           PO BOX 26400                                                                                         WILMINGTON         DE   19899‐6400
ANDERSON, JOHNNY NATHAN      PO BOX 26400                                                                                         WILMINGTON         DE   19899‐6400
ANDERSON, JONAH H            9131 MEYERS RD F‐1                                                                                   DETROIT            MI   48228
ANDERSON, JONATHAN           PROGRESSIVE INS                     900 TUTOR LN STE 104                                             EVANSVILLE         IN   47715‐7295
ANDERSON, JONATHAN           1911 S STATE ROAD 37                                                                                 PAOLI              IN   47454‐9287
ANDERSON, JOSEPH             GUY WILLIAM S                       PO BOX 509                                                       MCCOMB             MS   39649‐0509
ANDERSON, JOSEPH             PO BOX 799                                                                                           FAIRFIELD          AL   35064‐0799
ANDERSON, JOSEPH             GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                                     SAGINAW            MI   48604‐2602
                                                                 260
ANDERSON, JOSEPH             5112 RETFORD DR                                                                                      DAYTON             OH   45418‐2047
ANDERSON, JOSEPH             930 WASHINGTON ST                                                                                    NEW CASTLE         DE   19720‐6001
ANDERSON, JOSEPH ALEXANDER   HATCH BRENT O                       10 W BROADWAY STE 400                                            SALT LAKE CITY     UT   84101‐2065
ANDERSON, JOSEPH F           4208 DIPLOMAT WEST                                                                                   FLINT              MI   48504
ANDERSON, JOSEPH H           1200 KOSCIUSZKO AVE                                                                                  BAY CITY           MI   48708‐7904
ANDERSON, JOSEPH M           2601 COLUMBUS WAY S                                                                                  SAINT PETERSBURG   FL   33712‐3906

ANDERSON, JOSEPH T           UNIT C                              2902 HARRISON AVENUE                                             PANAMA CITY        FL   32405‐5087
ANDERSON, JOSEPH V           15136 YORKLEIGH DR                                                                                   LANSING            MI   48906‐1361
ANDERSON, JOSEPH W           208 WATERMAN ST                                                                                      LOCKPORT           NY   14094‐4925
ANDERSON, JOSEPHINE          3600 RIVERSIDE DR                                                                                    CANTON             MI   48188‐2329
ANDERSON, JOSEPHINE          100 RIVERFRONT DR APT 1211                                                                           DETROIT            MI   48226‐4538
ANDERSON, JOSEPHINE V        299 ELY DR N                                                                                         NORTHVILLE         MI   48167‐2726
ANDERSON, JOSHUA             5720 BERLKLEY DR                                                                                     WATERFORD          MI   48327
ANDERSON, JOSHUA J           2855 S ELLEN ST                                                                                      MILWAUKEE          WI   53207‐2536
ANDERSON, JOY E              4406 SAYLOR ST                                                                                       DAYTON             OH   45416‐2118
ANDERSON, JOYCE              1150 WOLF RUN DR                                                                                     LANSING            MI   48917‐9780
ANDERSON, JOYCE              726 N PINECREST RD                                                                                   BOLINGBROOK        IL   60440‐1153
ANDERSON, JOYCE A            115 NORTH ADELAIDE ST                                                                                FENTON             MI   48430‐2614
ANDERSON, JOYCE A            115 N ADELAIDE ST                                                                                    FENTON             MI   48430‐2614
ANDERSON, JOYCE E            8791 W COUNTY ROAD 550 N                                                                             MIDDLETOWN         IN   47356‐9727
ANDERSON, JOYCE E            1402 MORRIS AVE                                                                                      LINCOLN PARK       MI   48146‐1576
ANDERSON, JOYCE E            1402 MORRIS                                                                                          LINCOLN PARK       MI   48146‐1576
ANDERSON, JOYCE E            8791 W CTY RD 550N                                                                                   MIDDLETOWN         IN   47356‐9727
ANDERSON, JOYCE G            2221 COUNTRY LN                                                                                      MINNETONKA         MN   55305‐3113
ANDERSON, JOYCE M            695 MELROSE ST                                                                                       PONTIAC            MI   48340‐3118
ANDERSON, JOYCE M            25325 GRODAN DR APT 306                                                                              SOUTHFIELD         MI   48033
ANDERSON, JOYCE R            APT 206                             8200 WEST 33RD STREET                                            MINNEAPOLIS        MN   55426‐3889
ANDERSON, JUANITA C          63 1/2 E MAIN ST                    C/O JAMES W SCHMIDT                                              XENIA              OH   45385‐3201
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Name                     Address1                              Address2                Address3      Address4               City               State Zip
ANDERSON, JUANITA V      4301 VANCE ROAD                                                                                    NORTH RICHLAND      TX 76180‐8187
                                                                                                                            HILLS
ANDERSON, JUANITA V      4301 VANCE RD                                                                                      NORTH RICHLAND      TX   76180‐8187
                                                                                                                            HILLS
ANDERSON, JUDITH         6251 1ST ST                                                                                        MOHAWK             MI    49950‐9559
ANDERSON, JUDITH A       13225 N FOUNTAIN HILLS BLVD APT 327                                                                FOUNTAIN HILLS     AZ    85268

ANDERSON, JUDITH A       3831 W GOLDEN KEYS WAY                                                                             CHANDLER           AZ    85226‐2269
ANDERSON, JUDITH A       1629 WEST SCHWARTZ BOULEVARD                                                                       LADY LAKE          FL    32159‐6134
ANDERSON, JUDITH A       1629 W SCHWARTZ BLVD                                                                               LADY LAKE          FL    32159‐6134
ANDERSON, JUDITH A       2817 MASON BLVD                                                                                    MUSKEGON           MI    49444
ANDERSON, JUDITH F       PO BOX 55                                                                                          BOISE CITY         OK    73933‐0055
ANDERSON, JUDITH J       101 PEBBLE BEACH DR                                                                                LITTLE ROCK        AR    72212‐2735
ANDERSON, JUDITH L       277 FLORAL ACRES                                                                                   TIPP CITY          OH    45371
ANDERSON, JUDITH L       8439 COUNTRY VIEW LN                                                                               PLAIN CITY         OH    43064‐8401
ANDERSON, JUDITH L       7432 TIPTON HWY                                                                                    TIPTON             MI    49287‐9716
ANDERSON, JUDY           524 OOLITIC RD                                                                                     BEDFORD            IN    47421‐1655
ANDERSON, JUDY           3615 STONEGATE FARM DRIVE                                                                          BATAVIA            OH    45103
ANDERSON, JUDY F         PO BOX 121                                                                                         WILLIAMSBURG       MI    49690‐0121
ANDERSON, JULIE          APT 203                               201 CHERRY HILL TRAIL                                        INKSTER            MI    48141‐1093
ANDERSON, JULIE A        4106 BROOKE RD                                                                                     KOKOMO             IN    46902‐7510
ANDERSON, JULIE A        5624 MYRTLEWOOD DR                                                                                 NASHVILLE          TN    37211‐6228
ANDERSON, JULIE K        1122 #BEAGLE FEATHERS CR                                                                           W CARROLLTON       OH    45449
ANDERSON, JULIET         84 ATWOOD DR                                                                                       ROCHESTER          NY    14606‐4563
ANDERSON, JULIETTE M     2724 ROLLING PINES CT                                                                              WASHINGTON         MI    48095‐1624
ANDERSON, JUNE L         6183 S GATEHOUSE DR SE                                                                             GRAND RAPIDS       MI    49546‐7019
ANDERSON, JUNGJA         6805 LOUISE AVE                                                                                    APO                AE    09140
ANDERSON, JUNIA F        1869 MOURNING DOVE DR                                                                              PALM HARBOR        FL    34683‐4826
ANDERSON, JUNIOR L       150 CAROL ST                                                                                       LAKEWOOD           NJ    08701‐5301
ANDERSON, JUSTIN D       3127 S ORTONVILLE RD # A                                                                           CLARKSTON          MI    48348‐1231
ANDERSON, JUSTIN D       9856 DIXIE HWY # B                                                                                 CLARKSTON          MI    48348‐2459
ANDERSON, JUSTIN W       8449 SOPHIE LN                                                                                     GREENWOOD          LA    71033‐3403
ANDERSON, JUSTIN WADE    8449 SOPHIE LN                                                                                     GREENWOOD          LA    71033‐3403
ANDERSON, K V
ANDERSON, KAREN          4335 LILA ST                                                                                       BURTON             MI    48509‐1111
ANDERSON, KAREN G        310 CROSBY DR                                                                                      OKLAHOMA CITY      OK    73115‐2902
ANDERSON, KAREN J        9917 STERLING AVE                                                                                  ALLEN PARK         MI    48101‐1330
ANDERSON, KAREN K        14 S MERRIMENT DR                                                                                  NEWARK             DE    19702‐5307
ANDERSON, KAREN L        3585 BROOKSIDE DR                                                                                  BLOOMFIELD HILLS   MI    48302‐1501
ANDERSON, KAREN L        2099 W KENDALL RD                                                                                  KENDALL            NY    14476‐9755
ANDERSON, KAREN M        2044 VALLEY FORGE ST                                                                               BURTON             MI    48519‐1320
ANDERSON, KAREN M        31716 WALTHAM DR                                                                                   BEVERLY HILLS      MI    48025‐5121
ANDERSON, KAREN M        2734 ELDORA DR                                                                                     TOLEDO             OH    43613‐2622
ANDERSON, KAREN S        3600 BYRON RD                                                                                      XENIA              OH    45385‐9519
ANDERSON, KARI A         863 MATHESON ST                                                                                    JANESVILLE         WI    53545‐1014
ANDERSON, KARI A         W7428 US HIGHWAY 12                                                                                WHITEWATER         WI    53190‐3921
ANDERSON, KARL H         8 BROADRIVER RD                                                                                    ORMOND BEACH       FL    32174‐8743
ANDERSON, KARLA J        13109 GRAYSTONE AVE                                                                                NORWALK            CA    90650‐2752
ANDERSON, KAROLYN E      13816 FRONTIER LN                                                                                  BURNSVILLE         MN    55337‐4708
ANDERSON, KATHERINE      8343 KENTUCKY ST                                                                                   DETROIT            MI    48204‐3195
ANDERSON, KATHIE L       PO BOX 144                                                                                         HUDSON             WI    54016‐0144
ANDERSON, KATHLEEN A     4965 WAKEFIELD AVE NE                                                                              COMSTOCK PARK      MI    49321‐8538
ANDERSON, KATHLEEN A     1622 JOSELIN RD                                                                                    DAYTON             OH    45432‐3608
ANDERSON, KATHLEEN ANN   4965 WAKEFIELD AVE NE                                                                              COMSTOCK PARK      MI    49321‐8538
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Name                         Address1                         Address2                        Address3    Address4               City              State   Zip
ANDERSON, KATHLEEN G         16136 W AVON NORTH TOWNLINE RD                                                                      BRODHEAD           WI     53520‐8911
ANDERSON, KATHLEEN G         16136 TOWNLINE RD                                                                                   BRODHEAD           WI     53520‐8911
ANDERSON, KATHLEEN J         3712 IVORY WAY                                                                                      INDIANAPOLIS       IN     46227‐8063
ANDERSON, KATHLEEN M         6456 LOGAN RD                                                                                       WATERFORD          MI     48329‐2963
ANDERSON, KATHLEEN M         401 BUNTIN CT                                                                                       NOBLESVILLE        IN     46062‐9742
ANDERSON, KATHRYN D          1025 W 12TH ST                                                                                      FLINT              MI     48507‐1423
ANDERSON, KATHRYN D          1025 W. 12TH STREET                                                                                 FLINT              MI     48507‐1423
ANDERSON, KATHRYN F          8782 S SHORE DR                                                                                     CLARKSTON          MI     48348‐2678
ANDERSON, KATHY L            1242 THELMA ST                                                                                      MOUNT MORRIS       MI     48458‐1724
ANDERSON, KEARNEY L          P.O. BOX 28112                                                                                      DAYTON             OH     45428‐5428
ANDERSON, KEARNEY L          PO BOX 28112                                                                                        DAYTON             OH     45428‐0112
ANDERSON, KEESHA R           1515 WALNUT HEIGHTS DR                                                                              EAST LANSING       MI     48823‐2943
ANDERSON, KEESHA RAI         1515 WALNUT HEIGHTS DR                                                                              EAST LANSING       MI     48823‐2943
ANDERSON, KEISHA D           1915 HAMILTON BLVD                                                                                  JACKSON            MS     39213‐7800
ANDERSON, KEISHA ELIZABETH   7010 EASTWICK LN                                                                                    INDIANAPOLIS       IN     46256‐2310
ANDERSON, KEITH              KIMMEL & SILVERMAN PC            1930 E MARLTON PIKE SUITE Q29                                      CHERRY HILL        NJ     08003
ANDERSON, KEITH A            2728 MAIN ST APT 19                                                                                 BUFFALO            NY     14214
ANDERSON, KEITH D            1617 KENSINGTON ST                                                                                  JANESVILLE         WI     53546‐5833
ANDERSON, KEITH L            6239 ELLA AVE                                                                                       SAINT LOUIS        MO     63133‐2233
ANDERSON, KEITH LAMAR        6239 ELLA AVE                                                                                       SAINT LOUIS        MO     63133‐2233
ANDERSON, KEITH W            19 LAVEIANAN CT                                                                                     MARTINSVILLE       IN     46151‐6752
ANDERSON, KELLY              125 E SAGINAW HWY APT 5                                                                             GRAND LEDGE        MI     48837‐2136
ANDERSON, KELLY B            1118 DUSTIN DR                                                                                      EDMOND             OK     73003‐4908
ANDERSON, KELLY BRIAN
ANDERSON, KELLY JO M         524 ORCHARD ST                                                                                      WYANDOTTE         MI      48192‐6844
ANDERSON, KELLY K            2874 CONTINENTAL DR                                                                                 TROY              MI      48083‐5753
ANDERSON, KENDRA R           1917 RASKOB ST                                                                                      FLINT             MI      48504‐3426
ANDERSON, KENNETH            BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD, BEVAN                                       NORTHFIELD        OH      44067
                                                              PROFESSIONAL BLDG
ANDERSON, KENNETH A          9525 E JAN AVE                                                                                      MESA              AZ      85209‐7010
ANDERSON, KENNETH B          1900 MAIN ST                                                                                        ELWOOD            IN      46036‐2002
ANDERSON, KENNETH D          5521 W BAYSHORE DR                                                                                  PORT ORANGE       FL      32127‐6115
ANDERSON, KENNETH D          35263 MALIBU DR                                                                                     STERLING HTS      MI      48312‐4047
ANDERSON, KENNETH E          13905 W 55TH TER                                                                                    SHAWNEE           KS      66216‐5003
ANDERSON, KENNETH J          4623 BARRINGTON DR                                                                                  AUSTINTOWN        OH      44515‐5124
ANDERSON, KENNETH J          9603 SUNDANCE DR                                                                                    BRIDGEVILLE       PA      15017‐1107
ANDERSON, KENNETH JAMES      4623 BARRINGTON DR                                                                                  AUSTINTOWN        OH      44515‐5124
ANDERSON, KENNETH K          324 MALIBU CANYON DR                                                                                COLUMBIA          TN      38401‐6800
ANDERSON, KENNETH L          2896 CHURCHILL LN                                                                                   SAGINAW           MI      48603‐2676
ANDERSON, KENNETH L          63 VILLAGE PARK DR                                                                                  NEWNAN            GA      30265‐5546
ANDERSON, KENNETH R          3312 GRAY AVE                                                                                       FLINT             MI      48504‐4442
ANDERSON, KENNETH R          931 ESSEX PL                                                                                        MASON             OH      45040‐1008
ANDERSON, KENNETH R          GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                        NORFOLK           VA      23510‐2212
                                                              STREET, SUITE 600
ANDERSON, KENNETH RAY        3312 GRAY AVE                                                                                       FLINT             MI      48504‐4442
ANDERSON, KENNETH V          21 GERHARD CT                                                                                       SAGINAW           MI      48602‐3312
ANDERSON, KENNETH W          3915 FAIRWAY CT                                                                                     SAINT ANN         MO      63074‐1703
ANDERSON, KENNETH W          6701 JORDAN VILLAGE RD                                                                              POLAND            IN      47868‐7195
ANDERSON, KENYA V            2463 LANDINGTON WAY                                                                                 DULUTH            GA      30096‐4201
ANDERSON, KEON R             2802 CHESHIRE WAY                                                                                   GRAND PRAIRIE     TX      75052‐8386
ANDERSON, KERMIT D           #1114                            2040 WEST MAIN ST               SUITE 210                          RAPID CITY        SD      57702
ANDERSON, KEVIN              712 MADISON AVE                                                                                     DIXON             IL      61021‐3515
ANDERSON, KEVIN D            2080 GARDEN RD                                                                                      MILFORD           MI      48381‐3045
ANDERSON, KEVIN S            59 ROSE PL                                                                                          CLARENDON HILLS   IL      60514‐1215
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Name                       Address1                         Address2                      Address3   Address4               City           State   Zip
ANDERSON, KIM A            5030 STRICKLAND RD                                                                               GAINESVILLE     GA     30507‐8755
ANDERSON, KIM D            323 TEAL LANDING                                                                                 O FALLON        MO     63368‐9655
ANDERSON, KIM D            1775 S 1570 E                                                                                    SAINT GEORGE    UT     84790
ANDERSON, KIM J            228 FALLS CT APT F                                                                               LANSING         MI     48917‐1984
ANDERSON, KIM L.           3369 CHERRY BLOSSOM CT                                                                           DAVISON         MI     48423‐1183
ANDERSON, KIMBERLY S       4017 S CALHOUN ST                                                                                FORT WAYNE      IN     46807‐2409
ANDERSON, KNUTE A          APT 154                          2325 ROCKWELL DRIVE                                             MIDLAND         MI     48642‐9326
ANDERSON, KRYSTAL J        126 BROOKDALE AVE                                                                                ROCHESTER       NY     14619‐2210
ANDERSON, KYLE EDWARD      1459 BATON ROUGE WAY                                                                             GRAYSON         GA     30017‐1073
ANDERSON, L A
ANDERSON, L C              3005 LAKE COMO DR                                                                                FORT WORTH     TX      76107‐5926
ANDERSON, LA DONNA K       PO BOX 335                                                                                       ASHBY          MN      56309‐0335
ANDERSON, LACOUNT L        GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                     NORFOLK        VA      23510‐2212
                                                            STREET, SUITE 600
ANDERSON, LACYNTHIA D      356 TRILLUM TRL                                                                                  OXFORD         MI      48371‐6802
ANDERSON, LAFAYETTE O      6716 DANTE AVE                                                                                   CINCINNATI     OH      45213‐1505
ANDERSON, LAFREDA          3650 PALMYRA RD SW                                                                               WARREN         OH      44481‐9703
ANDERSON, LAHOMA L         2356 UTE CT                                                                                      BELOIT         WI      53511‐2789
ANDERSON, LAJOYCE L        6684 PO BOX                                                                                      ELIZABETH      NJ      07206
ANDERSON, LAJOYCE L        PO BOX 6684                                                                                      ELIZABETH      NJ      07202‐6684
ANDERSON, LAMERT           207 E 61ST ST                                                                                    CHICAGO         IL     60637
ANDERSON, LARRY            LIPMAN DAVID M                   5901 SW 74TH ST STE 304                                         MIAMI          FL      33143‐5163
ANDERSON, LARRY A          2001 CHARLES ST                                                                                  JANESVILLE     WI      53548‐0188
ANDERSON, LARRY A          412 COUNTY ROAD 782                                                                              ETOWAH         TN      37331‐5190
ANDERSON, LARRY D          37068 GILCHRIST ST                                                                               WESTLAND       MI      48186‐3904
ANDERSON, LARRY D          5640 SCHAFER RD                                                                                  OSCODA         MI      48750‐9215
ANDERSON, LARRY E          6153 LAKESHORE DR                                                                                NEWAYGO        MI      49337‐9027
ANDERSON, LARRY F          8331 E BEND RD                                                                                   BURLINGTON     KY      41005‐8615
ANDERSON, LARRY F          PO BOX 610467                                                                                    BIRMINGHAM     AL      35261‐0467
ANDERSON, LARRY L          14112 PENDLETON MILLS CT                                                                         FORT WAYNE     IN      46814‐8802
ANDERSON, LARRY L          5929 BISHOP ST                                                                                   DETROIT        MI      48224‐2047
ANDERSON, LARRY L          11751 SAND CREEK BLVD                                                                            FISHERS        IN      46037‐8792
ANDERSON, LARRY L          251 PATTERSON RD LOT H11                                                                         HAINES CITY    FL      33844‐6294
ANDERSON, LARRY M          4489 E 1100 N                                                                                    ALEXANDRIA     IN      46001‐8487
ANDERSON, LARRY P          4288 FIELDBROOK RD                                                                               W BLOOMFIELD   MI      48323‐3210
ANDERSON, LARRY S          9025 MCCAN RD SE                                                                                 DEMING         NM      88030‐9347
ANDERSON, LARRY T          12700 OVERLOOK DR NE                                                                             GREENVILLE     MI      48838‐9316
ANDERSON, LARY G           PO BOX 19715                                                                                     JEAN           NV      89019‐9715
ANDERSON, LASHUNDA         3100 WAYNE RD                                                                                    LOUISVILLE     KY      40216‐4457
ANDERSON, LAURA MICHELLE   3604 LIVE OAK BLVD                                                                               FORT WAYNE     IN      46804‐3934
ANDERSON, LAURENCE L       10205 HAWTHORN RD                                                                                FORISTELL      MO      63348‐2595
ANDERSON, LAURIE C         1136 TERRA CT                                                                                    ROCHESTER      MI      48306‐4816
ANDERSON, LAVERN L         1365 S VAN DYKE RD                                                                               MARLETTE       MI      48453‐9569
ANDERSON, LAWRENCE         6002 SUSAN ST                                                                                    FLINT          MI      48505‐5801
ANDERSON, LAWRENCE E       7140 JOHNSON RD                                                                                  POTTERVILLE    MI      48876‐9717
ANDERSON, LAWRENCE G       26369 YORK RD                                                                                    HUNTINGTON     MI      48070‐1312
                                                                                                                            WOODS
ANDERSON, LAWRENCE J       73 VERMONT AVE                                                                                   JACKSON        NJ      08527‐1629
ANDERSON, LAWTON A         1139 CEDAR ST                                                                                    BERKELEY       CA      94702‐1355
ANDERSON, LEABURT A        469 ARNETT BLVD                                                                                  ROCHESTER      NY      14619‐1101
ANDERSON, LEDELL           20511 PLAINVIEW                                                                                  DETROIT        MI      48219‐1416
ANDERSON, LEE              GUY WILLIAM S                    PO BOX 509                                                      MCCOMB         MS      39649‐0509
ANDERSON, LEE ARTHUR       SHANNON LAW FIRM                 100 W GALLATIN ST                                               HAZLEHURST     MS      39083‐3007
ANDERSON, LEE JON
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Name                     Address1                          Address2                      Address3   Address4               City            State   Zip
ANDERSON, LELA M         6593 FRANCHER'S MILL RD                                                                           SPARTA           TN     38583
ANDERSON, LELAND L       7381 W FREMONT RD                                                                                 BLANCHARD        MI     49310‐9771
ANDERSON, LELIA M        2004 PATTERSON RD                                                                                 RUTH             MS     39662‐9530
ANDERSON, LEM T          201 CLYDE ST                                                                                      WILMINGTON       DE     19804‐2805
ANDERSON, LEO            53 S EDITH ST APT 1                                                                               PONTIAC          MI     48342
ANDERSON, LEO D          10142 EAST 1000 NORTH                                                                             BROWNSBURG       IN     46112
ANDERSON, LEON           3036 BIRCH PARK DR                                                                                SAGINAW          MI     48601‐7436
ANDERSON, LEON           5143 CLIO RD.                                                                                     FLINT            MI     48504
ANDERSON, LEON           120 SMITH AVE                                                                                     LANSING          MI     48910‐9030
ANDERSON, LERA B         220 ATLANTIC ST NW                                                                                WARREN           OH     44483‐4705
ANDERSON, LEROY          4883 PINENEEDLE TRL                                                                               FLORISSANT       MO     63033‐7526
ANDERSON, LEROY H        1129 S LAKE VALLEY DR                                                                             FENTON           MI     48430‐1243
ANDERSON, LEROY HUNTER   GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                     NORFOLK          VA     23510‐2212
                                                           STREET, SUITE 600
ANDERSON, LEROY W        6245 S WASHINGTON AVE                                                                             LANSING         MI      48911‐5544
ANDERSON, LESLEY A       5640 SCHAFER RD                                                                                   OSCODA          MI      48750
ANDERSON, LESLEY D       5640 SCHAFER RD                                                                                   OSCODA          MI      48750‐9215
ANDERSON, LESTER W       33268 GREENWOOD RD                                                                                GRAVOIS MILLS   MO      65037‐4915
ANDERSON, LETA H         802 MINNESOTA ST                                                                                  COFFEYVILLE     KS      67337‐4518
ANDERSON, LETA H         802 MINNESOTA                                                                                     COFFEYVILLE     KS      67337‐4518
ANDERSON, LETOSHA D      6471 BLAKEVIEW DR                                                                                 INDIANAPOLIS    IN      46235‐8139
ANDERSON, LEWIS          2251 TUXEDO ST                                                                                    DETROIT         MI      48206‐1220
ANDERSON, LICERICA       1821 NW 82ND ST APT 1703                                                                          LAWTON          OK      73505
ANDERSON, LILLIE M       506 SOMERSET DR                                                                                   LEBANON         IN      46052‐1500
ANDERSON, LILLIE R       PO BOX 1444                                                                                       ATHENS          TX      75751‐1444
ANDERSON, LINDA          3224 NEWTON TOMBLINSON RD.                                                                        WARREN          OH      44481‐9218
ANDERSON, LINDA A        4307 BERGER DR                                                                                    FLINT           MI      48504‐1905
ANDERSON, LINDA A        18229 SUNDERLAND RD                                                                               DETROIT         MI      48219‐2814
ANDERSON, LINDA A        3419 DEER VALLEY DR                                                                               SPRING          TX      77373‐6026
ANDERSON, LINDA A        1917 LINDA LN                                                                                     JACKSON         MS      39213‐4448
ANDERSON, LINDA ANN      4307 BERGER DR                                                                                    FLINT           MI      48504‐1905
ANDERSON, LINDA C        4241 CLEVELAND AVE                                                                                DAYTON          OH      45410‐3405
ANDERSON, LINDA J        2665 BISCAYNE COURT                                                                               LAPEER          MI      48446‐3293
ANDERSON, LINDA J        6163 SONNY                                                                                        FLUSHING        MI      48433‐2348
ANDERSON, LINDA J        6163 SONNY AVE                                                                                    FLUSHING        MI      48433‐2348
ANDERSON, LINDA K        8342 STEPHENSON RD                                                                                ONSTED          MI      49265‐9457
ANDERSON, LINDA K        10142 E COUNTY ROAD 1000 N                                                                        BROWNSBURG      IN      46112‐9635
ANDERSON, LINDA KAY      8342 STEPHENSON RD                                                                                ONSTED          MI      49265‐9457
ANDERSON, LINDA L        8292 S CANOE TRL                                                                                  PENDLETON       IN      46064‐8576
ANDERSON, LINDA S        415 E LOULA ST APT 2                                                                              OLATHE          KS      66061‐5433
ANDERSON, LINDA S        415 E LOULA ST                    APT 2                                                           OLATHE          KS      66061‐5433
ANDERSON, LINDY
ANDERSON, LINNEA R       1717 CEDAR LN                                                                                     ANN ARBOR        MI     48105‐9272
ANDERSON, LIONEL D       25758 CATALINA ST                                                                                 SOUTHFIELD       MI     48075‐1741
ANDERSON, LISA A         6970 BUNCOMBE RD                                                                                  SHREVEPORT       LA     71129‐9404
ANDERSON, LISA ANN       6970 BUNCOMBE RD                                                                                  SHREVEPORT       LA     71129‐9404
ANDERSON, LISA M         APT E1                            905 MAGAZINE ROAD                                               PULASKI          TN     38478‐4559
ANDERSON, LISA S         1128 HARBOR HILLS LN                                                                              SANTA BARBARA    CA     93109‐1772
ANDERSON, LISLE R        760 DUNEDIN DR                                                                                    ROCHESTER HLS    MI     48309‐1057
ANDERSON, LIZBETH A      1427 CHARLAU COURT                                                                                N FT MYERS       FL     33903‐3632
ANDERSON, LIZZIE         2020 WALNUT ST                                                                                    SAGINAW          MI     48601‐2031
ANDERSON, LIZZIE         2020 WALNUT                                                                                       SAGINAW          MI     48601‐2031
ANDERSON, LLOYD K        GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                     NORFOLK          VA     23510‐2212
                                                           STREET, SUITE 600
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Name                     Address1                         Address2                      Address3   Address4               City              State Zip
ANDERSON, LLOYD M        GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                     NORFOLK            VA 23510‐2212
                                                          STREET, SUITE 600
ANDERSON, LLOYD R        PO BOX 303                                                                                       LAKE              MI   48632‐0303
ANDERSON, LOIS           9833 ANA HULU ST.                                                                                DIAMONDHEAD       MS   39525‐4400
ANDERSON, LOIS ANN       861 POPLAR RD                                                                                    RUBY              SC   29741‐5735
ANDERSON, LOIS L         713 EAGLE CREST DR                                                                               BROWNSBURG        IN   46112‐1180
ANDERSON, LONNIE         19456 CALDWELL ST                                                                                DETROIT           MI   48234
ANDERSON, LONNIE D       11995 CIVIC CIR                                                                                  MOORESVILLE       IN   46158‐8798
ANDERSON, LONNY L        7177 S 400 E                                                                                     COLUMBIA CITY     IN   46725‐9643
ANDERSON, LOREN G        660 MARKET ST                                                                                    PORTLAND          MI   48875‐1336
ANDERSON, LOREN J        2467 S IRISH RD                                                                                  DAVISON           MI   48423‐8362
ANDERSON, LOREN JENE     2467 S IRISH RD                                                                                  DAVISON           MI   48423‐8362
ANDERSON, LORENE         10469 STONE GLEN DRIVE                                                                           ORLANDO           FL   32825‐8532
ANDERSON, LORETTA
ANDERSON, LORETTA        3958 ASHLAND AVE                                                                                 SAINT LOUIS       MO   63107‐2008
ANDERSON, LORETTA A      4377 ROBINDALE DR                                                                                BURTON            MI   48519‐1239
ANDERSON, LORETTA ANNE   4377 ROBINDALE DR                                                                                BURTON            MI   48519‐1239
ANDERSON, LORETTA B      724 MAPLESIDE DR                                                                                 DAYTON            OH   45426‐2540
ANDERSON, LORETTA L      PO BOX 311034                                                                                    FLINT             MI   48531‐1034
ANDERSON, LORETTA S      220 RACHEL CT                                                                                    INDEPENDENCE      MO   64055‐1404
ANDERSON, LORETTA SUE    220 RACHEL CT                                                                                    INDEPENDENCE      MO   64055‐1404
ANDERSON, LORETTA Z      3429 RAYMOND AVE                                                                                 DEARBORN          MI   48124‐4246
ANDERSON, LORI           22864 SHAGBARK DR                                                                                BEVERLY HILLS     MI   48025‐4770
ANDERSON, LORI L         4326 SUNSET DR                                                                                   LOCKPORT          NY   14094‐1234
ANDERSON, LORI L         4708 FLOWERWOOD DR                                                                               TALLAHASSEE       FL   32303
ANDERSON, LORNE ROBERT   9424 HARRISON ST                                                                                 LIVONIA           MI   48150‐3165
ANDERSON, LORRAINE E     44 GAYNOR ST                                                                                     STATEN ISLAND     NY   10309‐2723
ANDERSON, LORRAINE M     10848 LYMAN AVENUE                                                                               CHICAGO RIDGE     IL   60415‐2250
ANDERSON, LORRAINE V     26249 FOREST DR                                                                                  HILLMAN           MN   56338‐2454
ANDERSON, LOUIS J        1803 GEORGETOWN PARKWAY                                                                          FENTON            MI   48430‐3231
ANDERSON, LOUIS R        50046 BUCCANEER DR                                                                               MACOMB            MI   48044‐1215
ANDERSON, LOUIS W        11689 EAGLE BLUFF LN                                                                             CRIVITZ           WI   54114‐7917
ANDERSON, LOUISE K       205 COLLIN DR                                                                                    COLUMBIA          TN   38401‐4980
ANDERSON, LOUISE M       1579 E 11TH CT                                                                                   CASA GRANDE       AZ   85222‐6089
ANDERSON, LOUISE R       1345 PARK                                                                                        WHITE LAKE        MI   48386‐4071
ANDERSON, LOUISE R       1345 PARK ST                                                                                     WHITE LAKE        MI   48386‐4071
ANDERSON, LOUISE R       17 SHARON AVE                                                                                    HAMBURG           NY   14075‐5314
ANDERSON, LOWELL D       15136 YORKLEIGH DR                                                                               LANSING           MI   48906‐1361
ANDERSON, LOWELL K       5532 SMOKETHORN DR                                                                               KELLER            TX   76248‐7517
ANDERSON, LUANN D        266 CRESTWOOD CIR                                                                                BENTON            LA   71006‐9494
ANDERSON, LUCEAL         1318 CHARLES AVE                                                                                 FLINT             MI   48505‐1720
ANDERSON, LUCILLE        3000 W ENDICOTT RD                                                                               AVON PARK         FL   33825
ANDERSON, LUCY B         245 EMERSON AVE                                                                                  YPSILANTI         MI   48198‐4209
ANDERSON, LUCY J         2426 E 9TH ST                                                                                    LYNN HAVEN        FL   32444‐3222
ANDERSON, LUCY J         3244 E 9TH ST                                                                                    LYNN HAVEN        FL   32444
ANDERSON, LUCY M         319 LORAINE RD                                                                                   MEMPHIS           TN   38109‐6727
ANDERSON, LUCY W         306 LEE DR                                                                                       CATONSVILLE       MD   21228‐4215
ANDERSON, LUKE           1105 TROTTING HORSE LN                                                                           GREAT FALLS       VA   22066‐2012
ANDERSON, LUKE           3712 IVORY WAY                                                                                   INDIANAPOLIS      IN   46227‐8063
ANDERSON, LULA B         1836 HENDERSON AVE                                                                               BELOIT            WI   53511‐3160
ANDERSON, LUPHELIA       9222 CASTLE KNOLL BLVD                                                                           INDIANAPOLIS      IN   46250‐3486
ANDERSON, LUTHER B       154 BREWSTER RD                                                                                  ROCHESTER HILLS   MI   48309‐1433
ANDERSON, LUTHER G       2815 LONG WINTER LN                                                                              OAKLAND           MI   48363‐2155
ANDERSON, LYLE E         1528 PETERSON AVE                                                                                JANESVILLE        WI   53548‐1537
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Name                        Address1                          Address2               Address3          Address4               City                State   Zip
ANDERSON, LYMAN D           511 GORDON ST # O BOX P                                                                           CONCORDIA            MO     64020
ANDERSON, LYMAN DONEL       511 GORDON ST # O BOX P                                                                           CONCORDIA            MO     64020
ANDERSON, LYNN C            298 BLUE BEARD DR                                                                                 NORTH FORT MYERS     FL     33917‐2915

ANDERSON, LYNN C            19171 SOUTHFORK DR                                                                                PRIOR LAKE          MN      55372‐9100
ANDERSON, LYNNA M           2718 BROWN ST                                                                                     ANDERSON            IN      46016‐5031
ANDERSON, LYNNE D           556 HIGHGATE AVE                                                                                  BUFFALO             NY      14215‐1204
ANDERSON, LYNNE M           1875 CLARA MATHIS RD                                                                              SPRING HILL         TN      37174‐2541
ANDERSON, MABEL E           15491 EVERGREEN RD                                                                                DETROIT             MI      48223‐1742
ANDERSON, MABEL J           3838 LAKEWOOD                                                                                     DETROIT             MI      48215‐2304
ANDERSON, MABELLE P         182 CREEKWOOD CIR                                                                                 LINDEN              MI      48451‐8935
ANDERSON, MABLE             3626 BUCKINGHAM                                                                                   DETROIT             MI      48224
ANDERSON, MABLE             3005 GARY DR                                                                                      SAINT LOUIS         MO      63121‐5342
ANDERSON, MABLE B           1731 W 10TH ST                                                                                    ANDERSON            IN      46016
ANDERSON, MABLE B           PO BOX 2497                                                                                       ANDERSON            IN      46018‐2497
ANDERSON, MACHELLE S        31 TWIN CREEKS RD                                                                                 FAIRVIEW            NC      28730
ANDERSON, MADGIE LAVAUGHN   7870 N MERIDIAN RD                                                                                JACKSON             MI      49201‐9591
ANDERSON, MAE M             C/O JAMES A ANDERSON              7865 WHITNEYVILLE RD                                            ALTO                MI      49302
ANDERSON, MAE M             7865 WHITNEYVILLE AVE SE          C/O JAMES A ANDERSON                                            ALTO                MI      49302‐9734
ANDERSON, MAGGIE M          3742 S BEATRICE ST                                                                                DETROIT             MI      48217‐1510
ANDERSON, MALCOLM L         1127 QUAKER RD                                                                                    BARKER              NY      14012‐9643
ANDERSON, MALCOLM M         38212 LAURENWOOD ST                                                                               WAYNE               MI      48184‐1031
ANDERSON, MALISSIE Q        9513 SPRING VALLEY RD.                                                                            KANSAS CITY         MO      64134‐1862
ANDERSON, MAMIE L           18065 RIOPELLE ST                                                                                 DETROIT             MI      48203‐2478
ANDERSON, MARCELINE M       6231 TONAWANDA CREEK RD APT 317                                                                   LOCKPORT            NY      14094‐7808
ANDERSON, MARCELLINE J      24514 WICK RD                                                                                     TAYLOR              MI      48180‐3310
ANDERSON, MARGARET          116 CUNARD STREET                                                                                 WILMINGTON          DE      19804‐2810
ANDERSON, MARGARET          116 CUNARD ST                                                                                     WILMINGTON          DE      19804‐2810
ANDERSON, MARGARET          DAVID C THOMPSON ESQ              DAVID C THOMPSON PC    321 KITTSON AVE                          GRAND FORKS         ND      58201
ANDERSON, MARGARET          13303 SPRUCE CT                                                                                   LINDEN              MI      48451‐8830
ANDERSON, MARGARET A        12 KOALA BEAR PATH                                                                                ORMOND BEACH        FL      32174‐2955
ANDERSON, MARGARET A        419 RIVERBEND DR                                                                                  JACKSON             MS      39272‐9154
ANDERSON, MARGARET A        3837 DELAWARE AVE                                                                                 FLINT               MI      48506‐3110
ANDERSON, MARGARET C        8664 CHOLLA RD                                                                                    INDIANAPOLIS        IN      46240‐5905
ANDERSON, MARGARET E        4 ANDREWS ST                                                                                      MEDFORD             MA      02155‐1267
ANDERSON, MARGARET L        118 SEGOVIA WAY                                                                                   JUPITER             FL      33458‐2723
ANDERSON, MARGARET M        955 LOWER BELLBROOK RD.                                                                           XENIA               OH      45385‐7307
ANDERSON, MARGARET M        1202 BROWN LN                                                                                     DEER PARK           TX      77536‐6512
ANDERSON, MARGERY L         1413 WAMAJO DR                                                                                    SANDUSKY            OH      44870‐4351
ANDERSON, MARGIE M          464 MEADOW LN                                                                                     EVANSVILLE          WI      53536‐1027
ANDERSON, MARGIE M          101 BUCKINGHAM CT                                                                                 ELK GROVE VILLAGE   IL      60007‐3856

ANDERSON, MARGO L           608 KAMMER AVE.                                                                                   DAYTON              OH      45417‐5417
ANDERSON, MARGO L           608 KAMMER AVE                                                                                    DAYTON              OH      45417‐2330
ANDERSON, MARGUERITE D      6390 OBISPO AVE.                                                                                  LONG BEACH          CA      90805‐3329
ANDERSON, MARIAN L          343 OLD BRIDGE RD                                                                                 GRAND BLANC         MI      48439‐1147
ANDERSON, MARIE             7985 HILLVIEW TRL                                                                                 MANCELONA           MI      49659
ANDERSON, MARIE             1051 GERRY ST                                                                                     GARY                IN      46406‐2059
ANDERSON, MARIE LILLIAN     13281 LILLIAN LN 38                                                                               STERLING HEIGHTS    MI      48313
ANDERSON, MARIJANA D        PO BOX 28112                                                                                      DAYTON              OH      45428‐0112
ANDERSON, MARILYN           586 ROSEMONT AVE                                                                                  SALINE              MI      48176‐1529
ANDERSON, MARILYN           586 ROSEMONT                                                                                      SALINE              MI      48176‐1529
ANDERSON, MARILYN           1626 WIARD BLVD                                                                                   YPSILANTI           MI      48198‐3326
ANDERSON, MARILYN A         5522 MEADOWOOD DR                                                                                 SPEEDWAY            IN      46224‐3340
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Name                      Address1                              Address2             Address3         Address4               City            State   Zip
ANDERSON, MARILYN D       800 ELM DR APT 103                                                                                 EDGERTON         WI     53534‐1235
ANDERSON, MARILYN K       2063 CASTLE RD                                                                                     NORTH BRANCH     MI     48461‐8703
ANDERSON, MARILYN M       2230 TAYLOR ST                                                                                     JOLIET            IL    60435‐5434
ANDERSON, MARILYN R       8832 BALL ST                                                                                       PLYMOUTH         MI     48170‐4002
ANDERSON, MARILYN W       13900 W RAINTREE CT                                                                                DALEVILLE        IN     47334‐9606
ANDERSON, MARINE          1897 E PHELPS RD                                                                                   LAKE CITY        MI     49651
ANDERSON, MARION          812 ‐ 24TH ST. COURT EAST                                                                          BRADENTON        FL     34208‐4208
ANDERSON, MARION GUNTER   184 WANA CIRCLE                                                                                    MABLETON         GA     30126
ANDERSON, MARION GUNTER   184 WANA CIR SE                                                                                    MABLETON         GA     30126‐1939
ANDERSON, MARION R        7776 SW 5TH AVE                                                                                    PORTLAND         OR     97219‐4629
ANDERSON, MARJORIE        1938 BADER AVE SW                                                                                  ATLANTA          GA     30310‐5028
ANDERSON, MARJORIE        5521 W BAYSHORE DR                                                                                 PORT ORANGE      FL     32127‐6115
ANDERSON, MARJORIE        101 COLUMBIA ST APT 312                                                                            CORNING          NY     14830‐2826
ANDERSON, MARJORIE R      6000 2ND E APT 14                                                                                  ST PETERSBURG    FL     33706‐3738
                                                                                                                             BEACH
ANDERSON, MARJORIE R      6000 2ND ST E APT 14                                                                               ST PETE BEACH   FL      33706‐3738
ANDERSON, MARK            1408 WOODVINE DR                                                                                   EULESS          TX      76040‐6445
ANDERSON, MARK A          14926 MARSHA AVE                                                                                   LEO             IN      46765‐9717
ANDERSON, MARK A          4326 ESTA DR                                                                                       FLINT           MI      48506‐1473
ANDERSON, MARK F          837 LOCUST POINT RD                                                                                ELKTON          MD      21921‐7947
ANDERSON, MARK G          PO BOX 212                                                                                         PECULIAR        MO      64078‐0212
ANDERSON, MARK H          5724 SAPPHIRE DR                                                                                   CARMEL          IN      46033‐2312
ANDERSON, MARK J          1528 N ALTADENA AVE                                                                                ROYAL OAK       MI      48067‐3639
ANDERSON, MARK L          12954 WEMBLY CT                                                                                    CARMEL          IN      46033‐2466
ANDERSON, MARK M          1329 OAKLAND AVE                                                                                   JANESVILLE      WI      53545‐4242
ANDERSON, MARK P          6201 BERT KOUNS INDUSTRIAL LOOP LOT                                                                SHREVEPORT      LA      71129‐5016
                          51
ANDERSON, MARK W          176 DIAMOND WAY                                                                                    CORTLAND        OH      44410‐1399
ANDERSON, MARKETTA J      PO BOX 253                                                                                         YOUNGSTOWN      NY      14174‐0253
ANDERSON, MARLAND E       2111 S 400 E                                                                                       MARION          IN      46953‐9528
ANDERSON, MARLENE A       2913 DUNCAN LANE                                                                                   BALTIMORE       MD      21234‐3033
ANDERSON, MARLENE A       2913 DUNCAN LN                                                                                     BALTIMORE       MD      21234‐3033
ANDERSON, MARLENE L       3022 WESTCHESTER ROAD                                                                              LANSING         MI      48911‐1044
ANDERSON, MARSHA R        2815 OSLER DR APT 1201                                                                             GRAND PRAIRIE   TX      75051‐1043
ANDERSON, MARSHA RENEE    2815 OSLER DR APT 1201                                                                             GRAND PRAIRIE   TX      75051‐1043
ANDERSON, MARSHA S        4251 WOODLAND DR                                                                                   INDIANAPOLIS    IN      46254‐1936
ANDERSON, MARSHALL D      2860 IOSCO RD                                                                                      DANSVILLE       MI      48819‐9775
ANDERSON, MARTHA          358 OLIVE ROAD                                                                                     TROTWOOD        OH      45427‐1835
ANDERSON, MARTHA          25612 EAST 130TH ST.                                                                               GREENWOOD       MO      64034‐8906
ANDERSON, MARTHA          358 OLIVE RD                                                                                       TROTWOOD        OH      45427‐1835
ANDERSON, MARTHA          25612 E 130TH ST                                                                                   GREENWOOD       MO      64034‐8906
ANDERSON, MARTHA A        18115 ROSELAWN ST 94                                                                               DETROIT         MI      48221
ANDERSON, MARTHA E        2082 CHATFIELD LN                                                                                  LAPEER          MI      48446‐8041
ANDERSON, MARTHA F        5518 S 39TH TER                                                                                    SAINT JOSEPH    MO      64503‐2232
ANDERSON, MARTHA F        5518 SOUTH 39TH TERRACE                                                                            ST. JOSEPH      MO      64503‐2232
ANDERSON, MARTHA H        14 LANGFORD STREET                                                                                 WARD            AR      72176‐9395
ANDERSON, MARTHA J        17308 INVERMERE AVE                                                                                CLEVELAND       OH      44128‐1656
ANDERSON, MARTHA L        376 COUNTY ROAD 360                                                                                COILA           MS      38923‐7058
ANDERSON, MARTHA L        376 CR 360                                                                                         COILA           MS      38923‐8923
ANDERSON, MARTHA L        4202 SUNSHINE AVE                                                                                  INDIANAPOLIS    IN      46228
ANDERSON, MARTIA Z        4871 SOUTH GERA ROAD                                                                               FRANKENMUTH     MI      48734
ANDERSON, MARTY B         1114 MAPLE CREEK RDG                                                                               LOGANVILLE      GA      30052‐7103
ANDERSON, MARTY B.        1114 MAPLE CREEK RDG                                                                               LOGANVILLE      GA      30052‐7103
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Name                        Address1                            Address2                     Address3   Address4               City             State Zip
ANDERSON, MARVA R           PO BOX 87                                                                                          NORTH BLOOMFIELD OH 44450‐0087

ANDERSON, MARVIN            11621 MIDWAY RD.                                                                                   RAYMOND          MS   39154‐9154
ANDERSON, MARVIN L          2475 ADAMS CT                                                                                      ADRIAN           MI   49221‐4101
ANDERSON, MARVIN LEROY      2475 ADAMS CT                                                                                      ADRIAN           MI   49221‐4101
ANDERSON, MARY              PORTER & MALOUF PA                  4670 MCWILLIE DR                                               JACKSON          MS   39206‐5621
ANDERSON, MARY              531 CARPENTER RD                                                                                   WHITINSVILLE     MA   01588‐1345
ANDERSON, MARY              43248 DONLEY                                                                                       STERLING HTS     MI   48314‐3521
ANDERSON, MARY              7326 ROLAND ST                                                                                     DETROIT          MI   48213‐1011
ANDERSON, MARY A            2716 CREEKS EDGE PKWY                                                                              AUSTIN           TX   78733‐6326
ANDERSON, MARY A            1980 FOX CHASE                                                                                     YOUNGSTOWN       OH   44515‐5605
ANDERSON, MARY C            5543 LAUREL LN NW                                                                                  LILBURN          GA   30047‐6133
ANDERSON, MARY C            3708 HIGHWAY 19 N                                                                                  DAHLONEGA        GA   30533‐7911
ANDERSON, MARY C            5543 LAUREL LANE                                                                                   LILBURN          GA   30047‐6133
ANDERSON, MARY C            3708 HWY 19N                                                                                       DAHLONEGA        GA   30533‐7911
ANDERSON, MARY E            531 CARPENTER ROAD                                                                                 WHITINSVILLE     MA   01588‐1345
ANDERSON, MARY E            829 E MOORE                                                                                        FLINT            MI   48505‐3907
ANDERSON, MARY E            5005 ARROWHEAD BLVD                                                                                KOKOMO           IN   46902‐5316
ANDERSON, MARY E            829 E MOORE ST                                                                                     FLINT            MI   48505‐3907
ANDERSON, MARY E            GOLDENBERG, MILLER, HELLER &        PO BOX 959                                                     EDWARDSVILLE     IL   62025‐0959
                            ANTOGNOLI
ANDERSON, MARY E            3198 E LAKE RD                                                                                     MCDONOUGH        GA   30252‐4927
ANDERSON, MARY E            C/O GOLDENBERG HELLER ANTOGNOLI &   2227 S STATE ROUTE 157                                         EDWARDSVIILLE    IL   62025
                            ROWLAND PC
ANDERSON, MARY F            901 DANBURY DR                                                                                     KOKOMO          IN    46901‐1565
ANDERSON, MARY FRANCIS      11489 N JENNINGS RD                                                                                CLIO            MI    48420‐1568
ANDERSON, MARY FRANCIS      11489 JENNINGS RD                                                                                  CLIO            MI    48420‐1568
ANDERSON, MARY H            155 MILLET AVE                                                                                     YOUNGSTOWN      OH    44509‐2345
ANDERSON, MARY H            4531 WOODHURST DR APT 6                                                                            YOUNGSTOWN      OH    44515‐3723
ANDERSON, MARY L            203 10TH AVENUE NORTH                                                                              DECHERD         TN    37324‐3761
ANDERSON, MARY L            203 10TH AVE N                                                                                     DECHERD         TN    37324‐3761
ANDERSON, MARY L            5893 KLAM RD                                                                                       COLUMBIAVILLE   MI    48421‐9342
ANDERSON, MARY L            PO BOX 336                                                                                         MOUNT MORRIS    MI    48458‐0336
ANDERSON, MARY M            3101 KNOTTINGHAM DR                                                                                FLINT           MI    48507‐3423
ANDERSON, MARY M            371 S. W. 1201                                                                                     HOLDEN          MO    64040‐8269
ANDERSON, MARY M            371 SW 1201ST RD                                                                                   HOLDEN          MO    64040‐8269
ANDERSON, MARY P            2829 S MERIDIAN ST                                                                                 INDIANAPOLIS    IN    46225‐2362
ANDERSON, MARYANN           1426 77TH ST                                                                                       DARIEN          IL    60561‐4409
ANDERSON, MATTHEW           7699 RAGLAN DR NE                                                                                  WARREN          OH    44484‐1485
ANDERSON, MATTHEW J         3275 OAKHILL PL                                                                                    CLARKSTON       MI    48348‐1048
ANDERSON, MATTHEW L         3406 CASA GRANDE DR                                                                                BATON ROUGE     LA    70814‐4813
ANDERSON, MATTHEW S         9134 PARKSIDE DR                                                                                   GRAND BLANC     MI    48439‐7458
ANDERSON, MATTIE M          APT 28‐14                           9000 EAST JEFFERSON AVENUE                                     DETROIT         MI    48214‐2940
ANDERSON, MATTIE R          19514 GREENFIELD RD                                                                                DETROIT         MI    48235‐2076
ANDERSON, MAUDIE BEATRICE   1776 DREW AVE                       APT 143 WEST                                                   COLUMBUS        OH    43235
ANDERSON, MAURICE           3039 ADAMS ST                                                                                      INDIANAPOLIS    IN    46218‐2117
ANDERSON, MAURICE R         3710 OAK VALLEY AVE SW                                                                             WYOMING         MI    49519‐3752
ANDERSON, MAX E             301 S OHIO ST                                                                                      CONVERSE        IN    46919
ANDERSON, MAX R             5050 N CAPITOL AVENUE               APT 1                                                          BLOOMINGTON     IN    47404‐7915
ANDERSON, MAXIE             319 LORAINE RD                                                                                     MEMPHIS         TN    38109‐6727
ANDERSON, MEGAN A           682 LLANERCH LN                                                                                    SIMI VALLEY     CA    93065‐6684
ANDERSON, MEGAN L           1525 OAK BRANCH DR                                                                                 COLUMBIA        TN    38401‐8801
ANDERSON, MELANIE M         5801 N AMES AVE                                                                                    KANSAS CITY     MO    64151‐2182
ANDERSON, MELISSA J         10872 FRIEND RD                                                                                    GERMANTOWN      OH    45327
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Name                      Address1                          Address2                      Address3   Address4               City              State Zip
ANDERSON, MELTON H        FOSTER & SEAR                     360 PLACE OFFICE PARK, 1201                                     ARLINGTON          TX 76006
                                                            NORTH WATSON, SUITE 145
ANDERSON, MELVIN
ANDERSON, MELVIN E        APT 1124                          1311 WEST BASELINE ROAD                                         TEMPE             AZ   85283‐5384
ANDERSON, MELVIN E        2173 CENTER RD                    APT 232                                                         BURTON            MI   48519
ANDERSON, MELVIN J        129 HOMEWOOD AVE                                                                                  BELLE VERNON      PA   15012‐2247
ANDERSON, MELVIN J        6310 CHURCH RD                                                                                    FELTON            PA   17322‐8692
ANDERSON, MELVIN S        2908 OTTO RD                                                                                      CHARLOTTE         MI   48813‐9791
ANDERSON, MERRIE R        1215 SAGE ST                                                                                      FAR ROCKAWAY      NY   11691
ANDERSON, MICHAEL         5340 BENTLEY RD APT 102                                                                           WEST BLOOMFIELD   MI   48322‐2186

ANDERSON, MICHAEL         5362 TIMBERWOOD POINT DR                                                                          FLINT             MI   48532‐2266
ANDERSON, MICHAEL         5109 N JENNINGS RD                                                                                FLINT             MI   48504‐1115
ANDERSON, MICHAEL A       944 WINDSHIRE CT SE                                                                               GRAND RAPIDS      MI   49546‐3693
ANDERSON, MICHAEL A       2309 BETH DR                                                                                      ANDERSON          IN   46017‐9680
ANDERSON, MICHAEL C       PO BOX 2011                                                                                       COLUMBIA          TN   38402‐2011
ANDERSON, MICHAEL C       2028 MELVIN CT                                                                                    LANSING           MI   48917‐1802
ANDERSON, MICHAEL D       57 LENI LN                                                                                        CHEEKTOWAGA       NY   14225‐4419
ANDERSON, MICHAEL D       5626 W US ST RT 36                                                                                URBANA            OH   43078
ANDERSON, MICHAEL D       7675 CRESTROSE DR                                                                                 MANCELONA         MI   49659‐9683
ANDERSON, MICHAEL D       2551 LA PLATA DR                                                                                  KETTERING         OH   45420‐1153
ANDERSON, MICHAEL D       4471 N GALE RD                                                                                    DAVISON           MI   48423‐8953
ANDERSON, MICHAEL D       5626 W US HIGHWAY 36                                                                              URBANA            OH   43078‐8615
ANDERSON, MICHAEL G       633 LOCKMOORE CT                                                                                  ROCHESTER HILLS   MI   48307‐4229
ANDERSON, MICHAEL J       435 HIRAM ST                                                                                      LAKE ORION        MI   48360‐2212
ANDERSON, MICHAEL J       13795 GRASS LAKE RD                                                                               GRASS LAKE        MI   49240‐9737
ANDERSON, MICHAEL J.      435 HIRAM ST                                                                                      LAKE ORION        MI   48360‐2212
ANDERSON, MICHAEL JAMES   13795 GRASS LAKE RD                                                                               GRASS LAKE        MI   49240‐9737
ANDERSON, MICHAEL K       8782 S SHORE DR                                                                                   CLARKSTON         MI   48348‐2678
ANDERSON, MICHAEL K       112 S HARRISON ST APT 7                                                                           ALEXANDRIA        IN   46001
ANDERSON, MICHAEL K       15710 PREVOST ST                                                                                  DETROIT           MI   48227‐1965
ANDERSON, MICHAEL L       401 BUNTIN CT                                                                                     NOBLESVILLE       IN   46062
ANDERSON, MICHAEL L       5900B FRANKFURTER                                                                                 BALTIMORE         MD   21206
ANDERSON, MICHAEL L       PO BOX 950706                                                                                     OKLAHOMA CITY     OK   73195‐0706
ANDERSON, MICHAEL L       11628 E LENNON RD                                                                                 LENNON            MI   48449‐9627
ANDERSON, MICHAEL L       48609 QUAIL RUN DR S                                                                              PLYMOUTH          MI   48170‐5719
ANDERSON, MICHAEL L       236 BARROW ST                                                                                     PEARL             MS   39208‐5014
ANDERSON, MICHAEL L       310 CROSBY DR                                                                                     OKLAHOMA CITY     OK   73115‐2902
ANDERSON, MICHAEL L       340 S GLEANER RD                                                                                  SAGINAW           MI   48609‐9603
ANDERSON, MICHAEL N       2356 CLIFTON SPRINGS M                                                                            DECATUR           GA   30034
ANDERSON, MICHAEL N       2323 W COUNTY ROAD 1000 N                                                                         MUNCIE            IN   47303‐9745
ANDERSON, MICHAEL R       14250 MULBERRY ST                                                                                 SOUTHGATE         MI   48195‐2587
ANDERSON, MICHAEL R       444 AMBOY ST                                                                                      DEARBORN HTS      MI   48127‐3600
ANDERSON, MICHAEL R       11615 N NELSON ST                                                                                 MILTON            WI   53563‐9187
ANDERSON, MICHAEL S       2043 S 223RD ST                                                                                   DES MOINES        WA   98198‐7934
ANDERSON, MICHAEL S       9166 MCWAIN RD                                                                                    GRAND BLANC       MI   48439‐8005
ANDERSON, MICHAEL T       6224 S STINE RD                                                                                   OLIVET            MI   49076‐9657
ANDERSON, MICHAEL W       4570 CLINTON DR                                                                                   CLARKSTON         MI   48346‐3700
ANDERSON, MICHAEL W       2052 CHELAN ST                                                                                    FLINT             MI   48503‐4312
ANDERSON, MICHELE         4204 BENT OAKS DR                                                                                 ARLINGTON         TX   76001‐5157
ANDERSON, MICHELLE        1953 CALL ST                                                                                      LAKE LUZERNE      NY   12846‐1812
ANDERSON, MICHELLE L      4402 S CTY H                                                                                      ORFORDVILLE       WI   53576
ANDERSON, MIKE E          1004 LICHFIELD CT                                                                                 THOMPSONS         TN   37179‐5336
                                                                                                                            STATION
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Name                      Address1                         Address2                        Address3   Address4               City              State   Zip
ANDERSON, MILDRED JANET   5584 OAKLAND DR.                                                                                   GLENNIE            MI     48737‐9563
ANDERSON, MILDRED M       2610 HOMEWOOD DR                                                                                   LORAIN             OH     44055‐2252
ANDERSON, MILDRED M       308 WINDY BLF                                                                                      FLUSHING           MI     48433‐2647
ANDERSON, MILDRED M       522 LEISURE ACRES ST                                                                               SPARTA             MI     49345‐1556
ANDERSON, MILDRED M       5652 GENESEE AVE                 P.O BOX 213                                                       OTTER LAKE         MI     48464‐1000
ANDERSON, MILDRED M       SIMMONS FIRM                     PO BOX 559                                                        WOOD RIVER          IL    62095‐0559
ANDERSON, MILLIE A        3151 N E 56TH AVE                P 16                                                              SILVER SPRINGS     FL     34488
ANDERSON, MILLY M         418 W 10TH AVE                                                                                     FLINT              MI     48503‐1366
ANDERSON, MINNIE          2880 EWALD CIRCLE                APT. 202                                                          DETROIT            MI     48238
ANDERSON, MINNIE          2880 EWALD CIR APT 202                                                                             DETROIT            MI     48238‐2548
ANDERSON, MINNIE VERN     5203 SILVERDOME DR.                                                                                DAYTON             OH     45414‐3645
ANDERSON, MIRL L          3490 CLIFFORD RD                                                                                   CLIFFORD           MI     48727‐9704
ANDERSON, MISSOURI        2131 BATES RD                                                                                      MOUNT MORRIS       MI     48458‐2601
ANDERSON, MONIQUE C       P.O. BOX 799                                                                                       FAIRFIELD          AL     35064‐0799
ANDERSON, MONROE C        12040 ELMDALE ST                                                                                   DETROIT            MI     48213‐1744
ANDERSON, MURIEL A        24203 BELLE MEDE DR                                                                                LEESBURG           FL     34748‐7882
ANDERSON, MURIEL L        GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                       NORFOLK            VA     23510‐2212
                                                           STREET, SUITE 600
ANDERSON, MURRAY G        668 ASPEN DR                                                                                       MANTENO           IL      60950‐5035
ANDERSON, MYRA D          442 MARSH CREEK RD                                                                                 VENICE            FL      34292‐5313
ANDERSON, MYRTICE A       8320 WILLOW WAY                                                                                    RAYTOWN           MO      64138‐3448
ANDERSON, MYRTIS C        6386 DETROIT ST                                                                                    MOUNT MORRIS      MI      48458‐2738
ANDERSON, NADEAN S        1424 ROBERTSON BLVD.                                                                               ROGERSVILLE       TN      37857‐3067
ANDERSON, NADINE O        2230 ARNETTE ST                                                                                    SAGINAW           MI      48601‐4000
ANDERSON, NANCY           276 W VERMONT AVE                                                                                  SEBRING           OH      44672‐1236
ANDERSON, NANCY A         9994 REESE RD                                                                                      BIRCH RUN         MI      48415‐9445
ANDERSON, NANCY ANN       9994 REESE RD                                                                                      BIRCH RUN         MI      48415‐9445
ANDERSON, NANCY C         5 PETRICK PL                                                                                       NORTH BRUNSWICK   NJ      08902‐2458

ANDERSON, NANCY C         PO BOX 693                                                                                         VERNON             AZ     85940‐0693
ANDERSON, NANCY C         5 PETRICH PLACE                                                                                    NORTH BRUNSWICK    NJ     08902‐2458

ANDERSON, NANCY J         9725 ROLLING PLAIN DR                                                                              NOBLESVILLE       IN      46060‐3958
ANDERSON, NANCY L         107 OAKHURST DR                                                                                    CLINTON           MS      39056‐3121
ANDERSON, NANCY L         960 STARKEY RD APT 3503                                                                            LARGO             FL      33771‐2477
ANDERSON, NANCY M         2307 OLD SOUTH DR                                                                                  RICHMOND          TX      77406‐6624
ANDERSON, NANCY M         10 TENNIS LN                                                                                       PORT DEPOSIT      MD      21904‐1633
ANDERSON, NANCY MARIE     10 TENNIS LN                                                                                       PORT DEPOSIT      MD      21904‐1633
ANDERSON, NAOMI           1704 SE 17TH ST                                                                                    MOORE             OK      73160‐7437
ANDERSON, NASYA           ADDRESS NOT IN FILE
ANDERSON, NATHANIEL       BROWN TERRELL HOGAN ELLIS        804 BLACKSTONE BLDG, 233 EAST                                     JACKSONVILLE       FL     32202
                          MCCLAMMA & YEGELWEL P.A.         BAY STREET
ANDERSON, NATHANIEL       839 W 29TH ST                                                                                      INDIANAPOLIS      IN      46208‐5011
ANDERSON, NEIL E          87 BANNAN LN                                                                                       BERLIN            CT      06037‐4096
ANDERSON, NELLA M         PO BOX 436                                                                                         DALEVILLE         IN      47334‐0436
ANDERSON, NELLIE M        153 HAYES AVE                                                                                      CLARK             NJ      07066‐3129
ANDERSON, NELS A          10474 HENDERSON RD                                                                                 CORUNNA           MI      48817‐9791
ANDERSON, NETTIE J        16202 S 17TH DR                                                                                    PHOENIX           AZ      85045‐1793
ANDERSON, NICOLE          5481 LAUREL CREST RUN                                                                              NOBLESVILLE       IN      46062‐7402
ANDERSON, NINA L          33 FOX HOUND CT,                                                                                   GRAND BLANC       MI      48439
ANDERSON, NITA            3122 QUAIL RIDGE CIR                                                                               ROCHESTER HILLS   MI      48309‐2722
ANDERSON, NOEL            BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD, BEVAN                                      NORTHFIELD        OH      44067
                                                           PROFESSIONAL BLDG
ANDERSON, NOLAN B         22910 PINE RD ANGOLA NECK PK     MAIL BOX H ‐ DOOR 10                                              LEWES              DE     19958
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Name                             Address1                      Address2                      Address3                      Address4               City             State   Zip
ANDERSON, NONA R                 9920 SHEEHAN RD                                                                                                  DAYTON            OH     45458‐4116
ANDERSON, NORENA C               N9071 SPRANG RD                                                                                                  GERMFASK          MI     49836‐9221
ANDERSON, NORENE                 352 OAK GROVE RD                                                                                                 SPARTA            TN     38583‐7112
ANDERSON, NORMA                  6224 SOUTH STINE                                                                                                 OLIVET            MI     49076‐9657
ANDERSON, NORMA                  6224 S STINE RD                                                                                                  OLIVET            MI     49076‐9657
ANDERSON, NORMA J                365 S TRENT RD                                                                                                   RAVENNA           MI     49451‐9717
ANDERSON, NORMA J                6006 LENNON RD                                                                                                   SWARTZ CREEK      MI     48473‐7904
ANDERSON, NORMA J                PO BOX 202808                                                                                                    ARLINGTON         TX     76006‐8808
ANDERSON, NORMA J                16552 W CARMEN DR                                                                                                SURPRISE          AZ     85388‐1154
ANDERSON, NORMA J                19908 SALEM ST                                                                                                   DETROIT           MI     48219‐1045
ANDERSON, NORMA J                GOOD SAMARITAN VILLAGE        ATTN: ADMINISTRATION          2101 S. GARFIELD                                     LOVELAND          CO     80537
ANDERSON, NORMAN A               1439 S ELMS RD                                                                                                   FLINT             MI     48532‐5348
ANDERSON, NORMAN A               1705 S ARCH ST                                                                                                   JANESVILLE        WI     53546‐5736
ANDERSON, NORMAN B               2082 CHATFIELD LN                                                                                                LAPEER            MI     48446‐8041
ANDERSON, NORMAN D               4443 N GALE RD                                                                                                   DAVISON           MI     48423‐8953
ANDERSON, NORMAN E               12274 GOWANDA STATE RD                                                                                           LAWTONS           NY     14091‐9761
ANDERSON, NORMAN H               2413 OAKRIDGE DR                                                                                                 FLINT             MI     48507‐6213
ANDERSON, NORMAN J               184 YORK AVE NW                                                                                                  WARREN            OH     44485‐2723
ANDERSON, NORMAN R               4225 SW EMLAND DR APT 6                                                                                          TOPEKA            KS     66606‐2139
ANDERSON, NORMAND E              16619 W BRANT RD                                                                                                 BRANT             MI     48614
ANDERSON, NOVA A                 1818 SOUTH BELL STREET                                                                                           KOKOMO            IN     46902‐2219
ANDERSON, O. C                   1902 WADSWORTH AVE                                                                                               SAGINAW           MI     48601‐1631
ANDERSON, OGILVIE & BREWER LLP   ATTY FOR DAVID SIDNER         ATTN: MARK F. ANDERSON        600 CALIFORNIA STREET, 18TH                          SAN FRANCISCO     CA     94108
                                                                                             FLOOR
ANDERSON, OHMER J                5650 ELM LN                                                                                                      HARBOR SPRINGS   MI      49740
ANDERSON, OLGA                   P O BOX 93181                                                                                                    LAS VEGAS        NV      89193‐3181
ANDERSON, OLGA                   PO BOX 93181                                                                                                     LAS VEGAS        NV      89193‐3181
ANDERSON, OLGA F                 C/O BETTY JEAN POWELL         409 EAST PALMER                                                                    DETROIT          MI      48202
ANDERSON, OLGA F                 409 E PALMER ST               C/O BETTY JEAN POWELL                                                              DETROIT          MI      48202‐3825
ANDERSON, OLIVIA Y               9503 SEA VIEW CV                                                                                                 FORT WAYNE       IN      46835‐9604
ANDERSON, OLLIE                  20265 HARNED ST                                                                                                  DETROIT          MI      48234‐1570
ANDERSON, OLLIE V                4344 W HIGHLAND DR APT 67                                                                                        MACON            GA      31210‐5686
ANDERSON, OPAL                   1219 JOHNSON                                                                                                     SAGINAW          MI      48607‐1468
ANDERSON, OPAL                   8712 CROSLEY RD                                                                                                  SPRINGBORO       OH      45066‐9365
ANDERSON, OPAL                   1219 JOHNSON ST                                                                                                  SAGINAW          MI      48607‐1468
ANDERSON, OPAL D                 324 MALIBU CANYON DR                                                                                             COLUMBIA         TN      38401‐6800
ANDERSON, OPAL M                 248 BEUTELL STREET                                                                                               NORCROSS         GA      30071‐3925
ANDERSON, OPAL M                 248 BEUTELL ST                                                                                                   NORCROSS         GA      30071‐3925
ANDERSON, ORAL M                 PO BOX 216                                                                                                       SHERIDAN         IN      46069‐0216
ANDERSON, OSCAR D                GLASSER AND GLASSER           CROWN CENTER, 580 EAST MAIN                                                        NORFOLK          VA      23510‐2212
                                                               STREET, SUITE 600
ANDERSON, OSCAR W                1461 BUTTERFIELD CIR                                                                                             NILES            OH      44446‐3577
ANDERSON, OSCAR WILLIAM          1461 BUTTERFIELD CIR                                                                                             NILES            OH      44446‐3577
ANDERSON, OTHOR B                29801 CHELMSFORD RD                                                                                              SOUTHFIELD       MI      48076‐5705
ANDERSON, OWEN E                 5622 MEADOW VIEW LN                                                                                              BAY CITY         MI      48706‐5644
ANDERSON, PAIGE L                2114 N BELL ST                                                                                                   KOKOMO           IN      46901
ANDERSON, PAM M                  1777 BINBROOK RD                                                                                                 COLUMBUS         OH      43227‐3509
ANDERSON, PAMELA A               107 ELLIOTT CT                                                                                                   COLUMBIA         TN      38401‐5500
ANDERSON, PAMELA A               1635 COVINGTON WOODS LN                                                                                          LAKE ORION       MI      48360‐1216
ANDERSON, PAMELA ANN             1635 COVINGTON WOODS LN                                                                                          LAKE ORION       MI      48360‐1216
ANDERSON, PAMELA D               5554 RENN LN APT B                                                                                               INDIANAPOLIS     IN      46254‐2343
ANDERSON, PATRICIA A             1512 BELVEDERE DR                                                                                                KOKOMO           IN      46902‐5608
ANDERSON, PATRICIA A             135 LEITH ST                                                                                                     BRIGHTON         MI      48116‐1610
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Name                     Address1                              Address2                        Address3   Address4               City              State Zip
ANDERSON, PATRICIA A     579 LAKE SHORE RD                                                                                       GROSSE POINTE      MI 48236‐2631
                                                                                                                                 SHORES
ANDERSON, PATRICIA A     68 MAIN ST APT C2                                                                                       WINDSOR LOCKS     CT    06096‐2338
ANDERSON, PATRICIA A     2671 JUDAH RD                                                                                           ORION             MI    48359‐2254
ANDERSON, PATRICIA A     2720 LOUISE AVENUE                                                                                      BALTIMORE         MD    21214
ANDERSON, PATRICIA A     14018 STAHELIN AVE                                                                                      DETROIT           MI    48223‐2985
ANDERSON, PATRICIA A     3548 TOWNSHIP ROAD 143 NE                                                                               SOMERSET          OH    43783‐9761
ANDERSON, PATRICIA ANN   2671 JUDAH RD                                                                                           ORION             MI    48359‐2254
ANDERSON, PATRICIA L     5373 HIGHWAY 17 S                                                                                       GREEN COVE        FL    32043‐8144
                                                                                                                                 SPRINGS
ANDERSON, PATRICIA M     1402 LOMAS VERDES                                                                                       ROCHESTER HILLS   MI    48306‐3955
ANDERSON, PATRICK J      1195 POPPY HILL DRIVE                                                                                   OXFORD            MI    48371‐6092
ANDERSON, PATSY J        RR 1 BOX 1668                                                                                           SPRINGVILLE       IN    47462‐9628
ANDERSON, PATSY J        RR1 BOX 1668                                                                                            SPRINGVILLE       IN    47462‐9628
ANDERSON, PATTY          3303 W KECK RD                                                                                          COLUMBIA CITY     IN    46725‐9558
ANDERSON, PATTY A        3303 W KECK RD                                                                                          COLUMBIA CITY     IN    46725‐9558
ANDERSON, PAUL           6620 W RYAN DR                                                                                          ANDERSON          IN    46011‐9751
ANDERSON, PAUL           HUNTER & FEDULLO                      THE PHILADELPHIA SUITE 1C‐41,                                     PHILADELPHIA      PA    19130
                                                               2401 PENNSYLVANIA AVENUE
ANDERSON, PAUL           BROWN TERRELL HOGAN ELLIS             804 BLACKSTONE BLDG, 233 EAST                                     JACKSONVILLE       FL   32202
                         MCCLAMMA & YEGELWEL P.A.              BAY STREET
ANDERSON, PAUL A         3891 BLACKHAWK DR SW                                                                                    GRANDVILLE        MI    49418‐2423
ANDERSON, PAUL A         2541 MASON ST                                                                                           BAY CITY          MI    48708‐9184
ANDERSON, PAUL D         GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                                      PITTSBURGH        PA    15219

ANDERSON, PAUL D         9228 YORKRIDGE DR                                                                                       CINCINNATI        OH    45231‐3606
ANDERSON, PAUL I         GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                       NORFOLK           VA    23510‐2212
                                                               STREET, SUITE 600
ANDERSON, PAUL J         1382 BUFFING CIR SE                                                                                     PALM BAY          FL    32909‐6523
ANDERSON, PAUL L         26042 MARTIN LN                                                                                         GROSSE ILE        MI    48138‐1832
ANDERSON, PAUL R         18031 MOTT AVE                                                                                          EASTPOINTE        MI    48021‐2715
ANDERSON, PAUL STEPHEN   6620 W RYAN DR                                                                                          ANDERSON          IN    46011‐9751
ANDERSON, PAUL W         1442 S BELMONT AVE                                                                                      INDIANAPOLIS      IN    46221‐1547
ANDERSON, PAUL W         C/O GLASSER AND GLASSER               CROWN CENTER 580 EAST MAIN                                        NORFOLK           VA    23510‐2212
                                                               STREET SUITE 600
ANDERSON, PAUL W         1110 CAMDEN DR                                                                                          LANSING           MI    48917‐4854
ANDERSON, PAULA A        22047 SAFARI DR                                                                                         BRISTOL           VA    24202‐2779
ANDERSON, PAULA K        14241 DUFFIELD ROAD                                                                                     MONTROSE          MI    48457‐9439
ANDERSON, PAULA K        PO BOX 139                                                                                              STONEWALL         LA    71078‐0139
ANDERSON, PAULA L        3604 LIVE OAK BLVD                                                                                      FORT WAYNE        IN    46804‐3934
ANDERSON, PAULA S        30040 FORESTGROVE ROAD                                                                                  WILLOWICK         OH    44095‐4951
ANDERSON, PAULINE A      207 DRY CREEK RD                                                                                        TELLICO PLAINS    TN    37385‐5740
ANDERSON, PAULINE M      74 MURRAY TERRACE                                                                                       TONAWANDA         NY    14150‐5224
ANDERSON, PAULINE M      74 MURRAY TER                                                                                           TONAWANDA         NY    14150‐5224
ANDERSON, PAULINE R      113 MERCIER AVE                                                                                         BRISTOL           CT    06010‐3726
ANDERSON, PEARL H        620 ROOSTER RUN                                                                                         SCHERTZ           TX    78154‐1840
ANDERSON, PEARLINE C     335 LYNWOOD LN                                                                                          JACKSON           MS    39206‐3932
ANDERSON, PEGGY M        2650 N EEL RIVER CEMENTARY RD                                                                           PERU              IN    46970‐7542
ANDERSON, PEGGY R        1108 ORANGE BLOSSOM DR                                                                                  MOUNT MORRIS      MI    48458‐2824
ANDERSON, PERCY L        4119 COMSTOCK AVE                                                                                       FLINT             MI    48504‐2132
ANDERSON, PETER A        422 WOODWARD CRES                                                                                       WEST SENECA       NY    14224‐3643
ANDERSON, PETER B        27 VINE ST                                                                                              LOCKPORT          NY    14094‐3101
ANDERSON, PETER G        207 CONANT ST                                                                                           HILLSIDE          NJ    07205‐2706
ANDERSON, PETER T        5059 MANISTIQUE ST                                                                                      DETROIT           MI    48224‐2920
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Name                        Address1                        Address2                            Address3   Address4               City              State   Zip
ANDERSON, PEYTON H          2016 TELEGRAPH RD                                                                                     PYLESVILLE         MD     21132‐1604
ANDERSON, PHILIP D          6404 SEFTON AVE                                                                                       BALTIMORE          MD     21214‐1428
ANDERSON, PHILIP G          5976 VINTON AVE NW                                                                                    COMSTOCK PARK      MI     49321‐9711
ANDERSON, PHILLIP C         3400 S IRONWOOD DR LOT 146                                                                            APACHE JUNCTION    AZ     85220‐7108

ANDERSON, PHILLIP L         8343 WHITEFORD CENTER RD                                                                              OTTAWA LAKE       MI      49267‐9541
ANDERSON, PHILLIP R         5816 SUNFISH LAKE AVE NE                                                                              ROCKFORD          MI      49341‐8012
ANDERSON, PHYLLIS           2287 VICKSBURG LANE                                                                                   FOLEY             AL      36535‐1581
ANDERSON, PHYLLIS           1086 W. KLEIN ST,                                                                                     ST MORRIS         MI      48458
ANDERSON, PHYLLIS ELAINE    5149 CHIPPENDALE AVE                                                                                  MURFREESBORO      TN      37129
ANDERSON, PHYLLIS W         3980 GREENMONT S.E.                                                                                   WARREN            OH      44484‐2610
ANDERSON, PLEAS E           4228 LYNFIELD DR                                                                                      FORT WAYNE        IN      46816‐4116
ANDERSON, PLEAS' EDDIE      4228 LYNFIELD DR                                                                                      FORT WAYNE        IN      46816‐4116
ANDERSON, POLEON
ANDERSON, PORTER CLIFFORD   1182 CAMLLIEA DR                                                                                      MOUNT MORRIS      MI      48458
ANDERSON, PRISCILLA D       924 S OSAGE AVE APT 213                                                                               INGLEWOOD         CA      90301‐4104
ANDERSON, QUEEN             5366 SENECA                                                                                           DETROIT           MI      48213‐2952
ANDERSON, QUEENIE L         6601 BELLTREE LN                                                                                      FLINT             MI      48504‐1649
ANDERSON, QUINCE            BOONE ALEXANDRA                 205 LINDA DR                                                          DAINGERFIELD      TX      75638‐2107
ANDERSON, RACHEL A          101 W 2ND ST                                                                                          ALBANY            IN      47320‐1707
ANDERSON, RACHEL ANN        101 W 2ND ST                                                                                          ALBANY            IN      47320‐1707
ANDERSON, RACHEL L          6 W 103RD PL                    C/O GM WHSING & DIST                                                  CHICAGO           IL      60628‐2610
ANDERSON, RACHEL L          6 W 103RD PLACE                 C/O GM WHSING & DIST                                                  CHICAGO           IL      60628‐2610
ANDERSON, RALPH             PO BOX 12                                                                                             DUGGER            IN      47848‐0012
ANDERSON, RALPH C           3029 PETIGRU ST                                                                                       COLUMBIA          SC      29204‐3617
ANDERSON, RALPH D           40815 47TH AVE                                                                                        WAHKON            MN      56386‐2527
ANDERSON, RALPH E           19498 MCCRAY DR                                                                                       ABINGDON          VA      24211‐6836
ANDERSON, RALPH E           6141 SAND HILL RD                                                                                     POLAND            IN      47868‐7007
ANDERSON, RALPH E           222 OAK GROVE RD                                                                                      DAHLONEGA         GA      30533‐4853
ANDERSON, RALPH W           586 ROSEMONT AVE                                                                                      SALINE            MI      48176‐1529
ANDERSON, RAMONA M          5401 MCDANIEL RD                                                                                      TERRE HAUTE       IN      47802‐8652
ANDERSON, RANDAL L          8454 PENINSULAR DR                                                                                    FENTON            MI      48430‐9105
ANDERSON, RANDALL G         1359 CLEVELAND AVE                                                                                    HAMILTON          OH      45013‐1400
ANDERSON, RANDOLPH          5012 EDMONDSON PIKE                                                                                   NASHVILLE         TN      37211‐5128
ANDERSON, RANDY B           3093 WILDER RD                                                                                        BAY CITY          MI      48706
ANDERSON, RAY               C/O GLASSER AND GLASSER         CROWN CENTER 580 EAST MAIN                                            NORFOLK           VA      23510‐2212
                                                            STREET SUITE 600
ANDERSON, RAY C             5326 SUSAN LN                                                                                         INDIANAPOLIS      IN      46226‐3258
ANDERSON, RAY W             1449 KNUTH AVE APT 801                                                                                EUCLID            OH      44132‐3126
ANDERSON, RAYMOND B         2097 COUNTY ROAD 353                                                                                  BONO              AR      72416‐7504
ANDERSON, RAYMOND L         318 HICKORY LANE BOX 356                                                                              WESTPHALIA        MI      48894
ANDERSON, RAYMOND O         3786 LAKELAND DR                                                                                      CHEBOYGAN         MI      49721‐9592
ANDERSON, RAYMOND T         PO BOX 23081                                                                                          PHILADELPHIA      PA      19124‐0781
ANDERSON, RAYMOND T         505 EAST 87TH STREET                                                                                  NEW YORK          NY      10128
ANDERSON, RAYNARD I         18035 HELEN ST                                                                                        DETROIT           MI      48234‐3009
ANDERSON, REATHA M          8701 HIGHWAY 41 SPC 16                                                                                FRESNO            CA      93720‐1010
ANDERSON, REBECCA           PO BOX 215                                                                                            MARIETTA          NY      13110‐0215
ANDERSON, REBECCA L         9134 PARKSIDE DR                                                                                      GRAND BLANC       MI      48439‐7458
ANDERSON, REBECCA L         560 CLARK DR NW                                                                                       COMSTOCK PARK     MI      49321‐9202
ANDERSON, REGINA            PALMEROLIVER LAW OFFICES OF     205 PARK CENTRAL EAST SUITE 511 P                                     SPRINGFIELD       MO      65801
                                                            O BOX 5720
ANDERSON, REGINA T          2423 SAINT CHARLES PL                                                                                 CINNAMINSON        NJ     08077‐3724
ANDERSON, REGINALD          16 GEORGETOWN CT                                                                                      DEARBORN           MI     48126‐3482
ANDERSON, REMONA DUNCAN     143 BURNETTE RD                                                                                       BARNESVILLE        GA     30204‐3402
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Name                      Address1                       Address2                     Address3   Address4               City              State   Zip
ANDERSON, REMONA DUNCAN   143 BURNETT ROAD                                                                              BARNESVILLE        GA     30204
ANDERSON, RENEE D         12312 CHAGALL DR                                                                              NORTH POTOMAC      MD     20878
ANDERSON, RENEE M         83 WINDERMERE BLVD                                                                            AMHERST            NY     14226‐3041
ANDERSON, RETA L          6639 RED CEDAR LN                                                                             W BLOOMFIELD       MI     48324‐3767
ANDERSON, REUBEN R        825 N 325 W                                                                                   BOUNTIFUL          UT     84010
ANDERSON, RHONDA          4008 GETTYSBURG DR                                                                            KOKOMO             IN     46902‐4914
ANDERSON, RICHARD         BOONE ALEXANDRA                205 LINDA DR                                                   DAINGERFIELD       TX     75638‐2107
ANDERSON, RICHARD         MOODY EDWARD O                 801 W 4TH ST                                                   LITTLE ROCK        AR     72201‐2107
ANDERSON, RICHARD         6177 E 12TH ST                                                                                WHITE CLOUD        MI     49349‐8738
ANDERSON, RICHARD         C/O GLASSER AND GLASSER        CROWN CENTER 580 EAST MAIN                                     NORFOLK            VA     23510‐2212
                                                         STREET SUITE 600
ANDERSON, RICHARD A       3807 PINTAIL DR                                                                               JANESVILLE        WI      53546‐3419
ANDERSON, RICHARD A       4404 W WEBSTER RD APT 106                                                                     ROYAL OAK         MI      48073‐6583
ANDERSON, RICHARD A       2104 WILDWOOD LAKE ST                                                                         HENDERSON         NV      89052
ANDERSON, RICHARD A       298 E SURREY RD                                                                               FARWELL           MI      48622‐8741
ANDERSON, RICHARD B       1953 N STATE ROAD 39                                                                          DANVILLE          IN      46122‐8214
ANDERSON, RICHARD C       368 FREEDOM LN                                                                                FLINT             MI      48507‐5958
ANDERSON, RICHARD C       2482 DORFIELD DR                                                                              ROCHESTER HILLS   MI      48307‐4627
ANDERSON, RICHARD C       8340 S COUNTY ROAD H                                                                          BELOIT            WI      53511‐8325
ANDERSON, RICHARD C       21517 SPRINGER RD                                                                             VICKSBURG         MI      49097‐9625
ANDERSON, RICHARD D       1316 ELGIN AVE                                                                                JOLIET            IL      60432‐2012
ANDERSON, RICHARD D       2902 HARRISON AVE UNIT C                                                                      PANAMA CITY       FL      32405‐5087
ANDERSON, RICHARD D       722 MARCIA ST SW                                                                              WYOMING           MI      49509‐4017
ANDERSON, RICHARD D       1862 RECTOR CT                                                                                CANTON            MI      48188‐1638
ANDERSON, RICHARD E       5137 OAKWOOD DR                                                                               N TONAWANDA       NY      14120‐9617
ANDERSON, RICHARD E       3811 MCKINLEY ST                                                                              DEARBORN          MI      48124‐3675
ANDERSON, RICHARD E       5678 N US HIGHWAY 23 APT 11                                                                   OSCODA            MI      48750‐8730
ANDERSON, RICHARD E       22052 LETOUR LN LOT 74                                                                        ROMULUS           MI      48174
ANDERSON, RICHARD G       105 STONERIDGE DR                                                                             MT HOLLY          NC      28120‐2041
ANDERSON, RICHARD G       1318 E MCGUIRE ST                                                                             MIAMISBURG        OH      45342‐1978
ANDERSON, RICHARD G       1046 S KACHINA                                                                                MESA              AZ      85204‐5208
ANDERSON, RICHARD H       410 QUINCY AVE                                                                                MIDDLETOWN        DE      19709‐8367
ANDERSON, RICHARD J       49970 JEFFERSON AVE                                                                           CHESTERFIELD      MI      48047‐2374
ANDERSON, RICHARD K       5347 W TUMBLEWEED DR                                                                          NEW PALESTINE     IN      46163‐8852
ANDERSON, RICHARD L       2531 DIXON TER                                                                                PORT CHARLOTTE    FL      33981‐1007
ANDERSON, RICHARD L       1910 E. 7TH ST.                APT. N3                                                        ANDERSON          IN      46012‐3548
ANDERSON, RICHARD L       2876 EWINGS RD                                                                                NEWFANE           NY      14108‐9607
ANDERSON, RICHARD L       59 SHADOW LN                                                                                  MARTINSBURG       WV      25403‐6662
ANDERSON, RICHARD L       960 STARKEY RD APT 3503                                                                       LARGO             FL      33771‐2477
ANDERSON, RICHARD L       8980 PEPPERIDGE CT                                                                            PLYMOUTH          MI      48170‐3343
ANDERSON, RICHARD L       130 VICTORIA DR                                                                               NAUVOO            AL      35578‐3715
ANDERSON, RICHARD LEE     59 SHADOW LN                                                                                  MARTINSBURG       WV      25403‐6662
ANDERSON, RICHARD M       1468 TURNBERRY DR                                                                             YOUNGSTOWN        OH      44512‐3842
ANDERSON, RICHARD M       612 LACY LN                                                                                   BELTON            MO      64012‐2924
ANDERSON, RICHARD N       14498 EDDY LAKE RD                                                                            FENTON            MI      48430‐1532
ANDERSON, RICHARD W       990 N BALDWIN RD                                                                              OXFORD            MI      48371‐3420
ANDERSON, RICHARD W       100 ASCOT AVE                                                                                 WATERFORD         MI      48328‐3502
ANDERSON, RICHARD W       4212 SW SAPELO DR                                                                             LEES SUMMIT       MO      64082‐5016
ANDERSON, RICK D          2959 ENDICOTT AVE                                                                             SAINT LOUIS       MO      63114‐4530
ANDERSON, RICKS L         8440 ARBELA RD                                                                                MILLINGTON        MI      48746‐9526
ANDERSON, RICKY J         337 HACKBERRY DR                                                                              NEW CASTLE        DE      19720‐7645
ANDERSON, RICKY L         801 FISHER DR                                                                                 LANSING           MI      48911‐6519
ANDERSON, RITA            725 KERRY LN                                                                                  AZLE              TX      76020‐2375
ANDERSON, RITA B          32 BLOSSOM LN SW                                                                              WARREN            OH      44485‐4203
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Name                     Address1                            Address2                       Address3   Address4               City            State Zip
ANDERSON, RITA E         6290 SQUIRE LAKE DR                                                                                  FLUSHING         MI 48433‐2374
ANDERSON, RITA J         87 VINCENT RD                                                                                        BRISTOL          CT 06010‐3830
ANDERSON, ROBERT
ANDERSON, ROBERT         2117 AITKEN AVE                                                                                      FLINT           MI   48503‐5868
ANDERSON, ROBERT         10384 COUNTY RD 8‐50                                                                                 MONTPELIER      OH   43543
ANDERSON, ROBERT         1450 ROXANNA RD NW                                                                                   WASHINGTON      DC   20012‐1226
ANDERSON, ROBERT         121 CHELSEA LN                                                                                       BULL SHOALS     AR   72619‐3925
ANDERSON, ROBERT         2482 BURNS AVE                                                                                       MEMPHIS         TN   38114‐4908
ANDERSON, ROBERT         BEVAN & ASSOCIATES                  10360 NORTHFIELD ROAD, BEVAN                                     NORTHFIELD      OH   44067
                                                             PROFESSIONAL BLDG
ANDERSON, ROBERT         6305 EAGLE LAKE DR                                                                                   MAPLE GROVE     MN   55369
ANDERSON, ROBERT A       3763 S WESTERN AVE                                                                                   SPRINGFIELD     MO   65807‐8736
ANDERSON, ROBERT A       3394 SOUTHGATE DR                                                                                    FLINT           MI   48507‐3219
ANDERSON, ROBERT A       1404 LONG POND RD                                                                                    ROCHESTER       NY   14625‐3732
ANDERSON, ROBERT A       708 LITCHFIELD LN                                                                                    SANTA BARBARA   CA   93109‐1230
ANDERSON, ROBERT B       2636 EAST ROGGY ROAD                                                                                 ITHACA          MI   48847‐9555
ANDERSON, ROBERT C       3633 ROCK DR SW                                                                                      WARREN          OH   44481‐9209
ANDERSON, ROBERT C       337 EVERGREEN RD                                                                                     EDINBURG        PA   16116‐2511
ANDERSON, ROBERT C       16796 CEDAR ST                                                                                       LANSING         MI   48906‐2305
ANDERSON, ROBERT CARL    16796 CEDAR ST                                                                                       LANSING         MI   48906‐2305
ANDERSON, ROBERT CLARK   GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                                     SAGINAW         MI   48604‐2602
                                                             260
ANDERSON, ROBERT D       1124 LINCOLN AVE                                                                                     STOUGHTON       WI   53589‐1234
ANDERSON, ROBERT D       385 W KNOX RD                                                                                        BEAVERTON       MI   48612‐9158
ANDERSON, ROBERT D       240 CREEKVIEW DR                                                                                     ANNA            TX   75409‐3577
ANDERSON, ROBERT D       980 WILMINGTON AVE APT 324                                                                           DAYTON          OH   45420‐1620
ANDERSON, ROBERT D       1013 WELLINGTON BLVD                                                                                 KINGSPORT       TN   37660‐1076
ANDERSON, ROBERT D       4071 E CLOVER ST                                                                                     COLUMBUS        IN   47203‐9258
ANDERSON, ROBERT D       2421 CLAYWARD DR                                                                                     BURTON          MI   48509‐1057
ANDERSON, ROBERT D       5604 WEMBLEY CT                                                                                      CLARKSTON       MI   48346‐3061
ANDERSON, ROBERT D       442 MARSH CREEK RD                                                                                   VENICE          FL   34292‐5313
ANDERSON, ROBERT D.      385 W KNOX RD                                                                                        BEAVERTON       MI   48612‐9158
ANDERSON, ROBERT E       1275 PINEHURST DR                                                                                    DEFIANCE        OH   43512‐9151
ANDERSON, ROBERT E       924 WEISS ST                                                                                         SAGINAW         MI   48602‐5759
ANDERSON, ROBERT E       6190 MAGNOLIA DR                                                                                     MOUNT MORRIS    MI   48458‐2816
ANDERSON, ROBERT E       1527 CAMELOT DR                                                                                      JANESVILLE      WI   53548‐1402
ANDERSON, ROBERT E       17080 JUNIPER DR                                                                                     CONKLIN         MI   49403‐9783
ANDERSON, ROBERT E       2105 FOREST AVE                                                                                      LANSING         MI   48910‐3103
ANDERSON, ROBERT E       3027 MOORE RD                                                                                        ANDERSON        IN   46011‐4628
ANDERSON, ROBERT E       17282 N 450 E                                                                                        SUMMITVILLE     IN   46070‐9027
ANDERSON, ROBERT E       2237 LAFAYETTE ST                                                                                    ANDERSON        IN   46012‐1639
ANDERSON, ROBERT E       4330 COURTSIDE DR                                                                                    WILLIAMSTON     MI   48895‐9403
ANDERSON, ROBERT E       3116 LAKE SHORE DR                                                                                   NEW HAVEN       MO   63068‐2838
ANDERSON, ROBERT F       295 AVALON RD                                                                                        COVINGTON       GA   30014‐5803
ANDERSON, ROBERT F       PO BOX 493                          327 SAMOSET BLVD                                                 HIGGINS LAKE    MI   48627‐0493
ANDERSON, ROBERT F       604 VALENTINE LN                                                                                     LONGVIEW        TX   75604‐5639
ANDERSON, ROBERT F       BEVAN & ASSOCIATES                  10360 NORTHFIELD ROAD, BEVAN                                     NORTHFIELD      OH   44067
                                                             PROFESSIONAL BLDG
ANDERSON, ROBERT G       14914 AMERICAN EAGLE CT                                                                              FORT MYERS      FL   33912‐1713
ANDERSON, ROBERT G       204 W BELLEVUE ST                                                                                    LESLIE          MI   49251‐9415
ANDERSON, ROBERT G       11245 MCPHERSON ST NE                                                                                LOWELL          MI   49331‐9766
ANDERSON, ROBERT G       4947 PETERS RD                                                                                       TROY            OH   45373‐8881
ANDERSON, ROBERT G       2377 ASHBURY CT                                                                                      BUFORD          GA   30519‐6508
ANDERSON, ROBERT G       6400 E 152ND TER                                                                                     GRANDVIEW       MO   64030‐4575
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Name                    Address1                         Address2                     Address3   Address4               City               State   Zip
ANDERSON, ROBERT GENE   2377 ASHBURY CT                                                                                 BUFORD              GA     30519‐6508
ANDERSON, ROBERT H      4922 E BASELINE RD                                                                              WHITE CLOUD         MI     49349
ANDERSON, ROBERT H      PO BOX 96224                                                                                    OKLAHOMA CITY       OK     73143‐6224
ANDERSON, ROBERT J      35 ALTIERI RD                                                                                   NORTH BRANFORD      CT     06471‐1425

ANDERSON, ROBERT J      5353 OAKRIDGE DR                                                                                BEAVERTON           MI     48612‐8593
ANDERSON, ROBERT J      800 FRANK ST                                                                                    BAY CITY            MI     48706‐3992
ANDERSON, ROBERT J      16300 CRESCENT LAKE DR                                                                          CREST HILL          IL     60403‐1643
ANDERSON, ROBERT J      7464 REID RD                                                                                    SWARTZ CREEK        MI     48473‐9436
ANDERSON, ROBERT J      8 W CHERBOURG DR                                                                                CHEEKTOWAGA         NY     14227‐2406
ANDERSON, ROBERT J      25843 SULLIVAN LN                                                                               NOVI                MI     48375‐1429
ANDERSON, ROBERT JR S   SWEENEY JOHN E & ASSOCIATES      2835 TOWNSGATE RD STE 102                                      WESTLAKE VILLAGE    CA     91361‐3041

ANDERSON, ROBERT L      3644 FITZWATER RD                                                                               GLADWIN            MI      48624‐9723
ANDERSON, ROBERT L      3239 PIKEWOOD CT                                                                                COMMERCE TWP       MI      48382‐1443
ANDERSON, ROBERT L      2975 ALGONQUIN ST                                                                               DETROIT            MI      48215‐2434
ANDERSON, ROBERT L      5619 SAPPHIRE AVE                                                                               JENNINGS           MO      63136‐1251
ANDERSON, ROBERT L      7176 MAYNARD RD                                                                                 PORTLAND           MI      48875‐9602
ANDERSON, ROBERT L      5623 CRUSE AVE                                                                                  WATERFORD          MI      48327‐2554
ANDERSON, ROBERT L      4728 KESSLER DR                                                                                 LANSING            MI      48910‐5323
ANDERSON, ROBERT L      955 LOWER BELLBROOK RD                                                                          XENIA              OH      45385‐7307
ANDERSON, ROBERT L      2486 HARBOR LANDINGS CIR                                                                        SAINT LOUIS        MO      63136‐4465
ANDERSON, ROBERT M      865 W BORTON RD                                                                                 ESSEXVILLE         MI      48732‐9656
ANDERSON, ROBERT M      1300 OXFORD RD                                                                                  BLOOMFIELD HILLS   MI      48304‐3952
ANDERSON, ROBERT N      3305 SANDPIPER DR                                                                               PUNTA GORDA        FL      33950‐6673
ANDERSON, ROBERT P      12052 BROWN ST                                                                                  FENTON             MI      48430‐8814
ANDERSON, ROBERT P      3328 PARK AVE                                                                                   BROOKFIELD         IL      60513‐1326
ANDERSON, ROBERT S      SWEENEY JOHN E & ASSOCIATES      2835 TOWNSGATE RD STE 102                                      WESTLAKE VILLAGE   CA      91361‐3041

ANDERSON, ROBERT S      4144 S MILL RD                                                                                  DRYDEN             MI      48428‐9342
ANDERSON, ROBERT S      1132 FOUNTAIN DR                                                                                TROY               MI      48098‐6307
ANDERSON, ROBERT S      880 PIMLICO DR APT 2A                                                                           CENTERVILLE        OH      45459‐8257
ANDERSON, ROBERT W      7658 M‐66 SOUTH                                                                                 EAST LEROY         MI      49051
ANDERSON, ROBERT W      5041 WEISS ST                                                                                   SAGINAW            MI      48603‐3752
ANDERSON, ROBERT W      606 W HEDGEWOOD DR                                                                              BLOOMINGTON        IN      47403‐4805
ANDERSON, ROBERT W      32850 BEECHWOOD DR                                                                              WARREN             MI      48088‐1553
ANDERSON, ROBERT W      4960 HIGHWAY H                                                                                  HALF WAY           MO      65663‐9261
ANDERSON, ROBERT W      5089 DAKOTA DR                                                                                  WEIDMAN            MI      48893‐8728
ANDERSON, ROBIN         136 POND CREEK RD                                                                               SUMMERTOWN         TN      38483‐5128
ANDERSON, RODERICK M    33657 SWAN DR                                                                                   STERLING HTS       MI      48312‐6731
ANDERSON, RODNEY        C/O THE DAVID LAW FIRM           10655 SIX PINES DR STE 260                                     THE WOODLANDS      TX      77380
ANDERSON, RODNEY D      4503 NANTUCKET DR                                                                               AUSTINTOWN         OH      44515‐4444
ANDERSON, RODNEY L      2528 SPRING HILL COURT                                                                          INDIANAPOLIS       IN      46268‐3318
ANDERSON, RODNEY N      429 SAINT CLAIR AVE                                                                             JACKSON            MI      49202
ANDERSON, ROGER A       1107 W ANN ARBOR TRL                                                                            PLYMOUTH           MI      48170‐1501
ANDERSON, ROGER A       382 HARVEY ST                                                                                   FREELAND           MI      48623‐9004
ANDERSON, ROGER A       445 SUNSET                                                                                      INGLESIDE          TX      78362‐4740
ANDERSON, ROGER ALLEN   445 SUNSET                                                                                      INGLESIDE          TX      78362‐4740
ANDERSON, ROGER D       2241 FUTURE VALLEY DR                                                                           MURFREESBORO       TN      37130‐7200
ANDERSON, ROGER J       5856 VICTORIA ST                                                                                BELLEVILLE         MI      48111‐1060
ANDERSON, ROGER L       2416 MOUNT ZION AVE                                                                             JANESVILLE         WI      53545‐1263
ANDERSON, ROLAND D      3357 MAHLON MOORE RD                                                                            SPRING HILL        TN      37174‐2128
ANDERSON, ROLAND E      1004 CARLISLE CIR                                                                               GRAND LEDGE        MI      48837‐2265
ANDERSON, ROMIE B       PO BOX 05935                                                                                    DETROIT            MI      48205‐5935
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ANDERSON, RON
ANDERSON, RON E           2132 CLEARVIEW AVE NW                                                                            WARREN             OH    44483‐1334
ANDERSON, RONALD          1070 BLUEBIRD DR                                                                                 ROCHESTER HLS      MI    48307‐4692
ANDERSON, RONALD          125 OLD CARRIAGE RD                                                                              PONCE INLET        FL    32127‐6909
ANDERSON, RONALD A        4 PHEASANT                                                                                       PASO ROBLES        CA    93446‐4032
ANDERSON, RONALD BYRON    SMITH CURRIE & HANCOCK LLP     1160 N TOWN CENTER DR STE 250                                     LAS VEGAS          NV    89144‐0564
ANDERSON, RONALD C        301 BROWNING CT                                                                                  SAINT CHARLES      MO    63303‐1127
ANDERSON, RONALD C        836 WOODRIDGE HILLS DR                                                                           BRIGHTON           MI    48116‐2402
ANDERSON, RONALD D        322 LOOKOUT DR                                                                                   COLUMBIA           TN    38401‐6135
ANDERSON, RONALD DWAYNE
ANDERSON, RONALD E        673 LAKE RD                    PO BOX 253                                                        YOUNGSTOWN         NY    14174
ANDERSON, RONALD E        1606 ANDALUSIA BLVD APT 2                                                                        CAPE CORAL         FL    33909‐8920
ANDERSON, RONALD E        5024 TOWERLINE RD                                                                                HALE               MI    48739‐9584
ANDERSON, RONALD E        2597 REEVES RD NE APT 13                                                                         WARREN             OH    44483‐4349
ANDERSON, RONALD E        7158 FRANKLIN PARKE BLVD                                                                         INDIANAPOLIS       IN    46259‐5720
ANDERSON, RONALD EUGENE   5024 TOWERLINE RD                                                                                HALE               MI    48739‐9584
ANDERSON, RONALD H        PO BOX 1224                                                                                      KOKOMO             IN    46903‐1224
ANDERSON, RONALD H        300‐D FRANKFORET SQUARE ROAD                                                                     FRANKFORT          IL    60423
ANDERSON, RONALD H        PO BOX 253                                                                                       GREENTOWN          IN    46936
ANDERSON, RONALD H        7309 BAYBERRY LN                                                                                 DARIEN             IL    60561‐3709
ANDERSON, RONALD J        14318 EDSHIRE DR                                                                                 STERLING HTS       MI    48312‐4346
ANDERSON, RONALD J        603 HYLAND DR                                                                                    STOUGHTON          WI    53589‐1140
ANDERSON, RONALD J        4969 MELODY ST                                                                                   OSCODA             MI    48750‐1020
ANDERSON, RONALD J        4615 S DURAND RD                                                                                 DURAND             MI    48429‐9704
ANDERSON, RONALD L        769 HIDDEN CIR                                                                                   CENTERVILLE        OH    45458‐3317
ANDERSON, RONALD M        6829 W 115TH PL                                                                                  WORTH              IL    60482‐2339
ANDERSON, RONALD T        1945 SUNSET RD                                                                                   MOUNT DORA         FL    32757‐2629
ANDERSON, RONALD T        1610 PIPER LN APT 206                                                                            DAYTON             OH    45440‐5019
ANDERSON, RONALD W        3685 BRIARWICK DR APT C                                                                          KOKOMO             IN    46902‐8420
ANDERSON, RONNIE          1255 DONALDSON BLVD                                                                              FLINT              MI    48504‐3213
ANDERSON, RONNIE D        605 QUARTERHORSE RUN                                                                             BARGERSVILLE       IN    46106‐8748
ANDERSON, RONNIE E        WILLIAMS & BAILEY              8441 GULF FWY STE 600                                             HOUSTON            TX    77017‐5051
ANDERSON, ROOSEVELT       1208 WELCH BLVD                                                                                  FLINT              MI    48504‐7349
ANDERSON, ROOSEVELT       207 BLACKWOOD DR                                                                                 MONROE             LA    71202‐6601
ANDERSON, ROSA            53580 OLD COUNTY RD            C/O MARIA MOORE                                                   CALUMET            MI    49913‐9306
ANDERSON, ROSA            C/O MARIA MOORE                53580 OLD COUNTRY RD                                              CALUMET            MI    49913
ANDERSON, ROSCOE D        7749 GRANDVIEW DR                                                                                INDIANAPOLIS       IN    46260‐3230
ANDERSON, ROSE M          21034 DANBURY ST                                                                                 CLINTON TOWNSHIP   MI    48035‐2709

ANDERSON, ROSE M          5968 PARK LAKE ROAD APT 130                                                                      EAST LANSING       MI    48823
ANDERSON, ROSE M          63 LINDEN ST UNIT 6                                                                              WELLESLEY          MA    02482‐5830
ANDERSON, ROSELLA         6820 CLIFFVIEW DR              APT M                                                             INDIANAPOLIS       IN    45214‐4736
ANDERSON, ROSETTA         5407 HOOVER AVE.               APT. 300                                                          DAYTON             OH    45427‐5427
ANDERSON, ROSETTA         5407 HOOVER AVE APT 300                                                                          DAYTON             OH    45427‐2585
ANDERSON, ROY A           12000 CAPRI CIR S APT 11                                                                         TREASURE ISLAND    FL    33706
ANDERSON, ROY A           2711 WRIGHT WAY                                                                                  ANDERSON           IN    46011‐9036
ANDERSON, ROY A           1145 LAURELWOOD RD                                                                               MANSFIELD          OH    44907‐2326
ANDERSON, ROY H           2320 W 113TH PL UNIT 3308                                                                        CHICAGO            IL    60643‐4175
ANDERSON, ROY L           23875 BEACON DR                                                                                  FARMINGTON         MI    48336
ANDERSON, ROY L           250 E HWY 67                   APT 5103                                                          DUNCANVILLE        TX    75137
ANDERSON, ROY L           8642 E BENNINGTON RD                                                                             DURAND             MI    48429‐9765
ANDERSON, ROY L           250 E HIGHWAY 67 APT 5103                                                                        DUNCANVILLE        TX    75137‐4442
ANDERSON, ROY W           4146 HIGHWAY 139 S                                                                               MONETTE            AR    72447‐9119
ANDERSON, RUBY            53 HOBSON ST APT 2                                                                               NEWARK             NJ    07112
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ANDERSON, RUBY          PORTER & MALOUF PA               4670 MCWILLIE DR                                                JACKSON             MS     39206‐5621
ANDERSON, RUBY C        1210 MEATHOUSE FORK                                                                              CANADA              KY     41519‐8210
ANDERSON, RUBY M        2305 35TH                                                                                        BEDFORD             IN     47421‐5518
ANDERSON, RUBY M        2305 35TH ST                                                                                     BEDFORD             IN     47421‐5518
ANDERSON, RUDOLPH J     11219 KENMOOR ST                                                                                 DETROIT             MI     48205‐3219
ANDERSON, RUNION        THE LIPMAN LAW FIRM              5915 PONCE DE LEON BLVD       SUITE 44                          CORAL GABLES        FL     33146
ANDERSON, RUSSELL C     34306 ROCKVILLE RD                                                                               LOUISBURG           KS     66053‐8139
ANDERSON, RUSSELL C     22 WEST ST                                                                                       OXFORD              MA     01540‐1630
ANDERSON, RUSSELL E     PO BOX 112                                                                                       FALMOUTH            MI     49632
ANDERSON, RUSSELL J     GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                     NORFOLK             VA     23510‐2212
                                                         STREET, SUITE 600
ANDERSON, RUSSELL L     4103 SCENICVIEW COURT                                                                            POTTERVILLE        MI      48876‐8600
ANDERSON, RUTH A        1219 E 42ND ST                                                                                   ANDERSON           IN      46013
ANDERSON, RUTH H        6764 N UNION CITY RD                                                                             DENVER             IN      46926‐9183
ANDERSON, RUTH I        135 GROVE ST                                                                                     LODI               OH      44254‐1211
ANDERSON, RUTH I        135 GROVE STREET                                                                                 LODI               OH      44254‐1211
ANDERSON, RUTH M        13868 RUSTTLERS ROW                                                                              ROCKTON            IL      61072
ANDERSON, RUTH O        5266 KASEMEYER RD                                                                                BAY CITY           MI      48706
ANDERSON, RYAN D        1005 NORWOOD AVE                                                                                 YOUNGSTOWN         OH      44510‐1239
ANDERSON, RYAN L        786 QUEENS COURT PL                                                                              SAINT PETERS       MO      63376‐7363
ANDERSON, RYAN LEE      786 QUEENS COURT PL                                                                              SAINT PETERS       MO      63376‐7363
ANDERSON, SADA
ANDERSON, SADA          1350 APPLE VALLEY DR.                                                                            OFALLON            MO      63366‐3473
ANDERSON, SADIE M       4231 WAYNE                                                                                       KANSAS CITY        MO      64110‐1343
ANDERSON, SADIE M       4231 WAYNE AVE                                                                                   KANSAS CITY        MO      64110‐1343
ANDERSON, SAKINA        3187 KILBORNE DR                                                                                 STERLING HEIGHTS   MI      48310‐6030
ANDERSON, SALADIN       8309 E 104TH TER                                                                                 KANSAS CITY        MO      64134‐2117
ANDERSON, SALLY A       5186 CHESANING RD RTE 3                                                                          CHESANING          MI      48616‐9470
ANDERSON, SALLY P       789 CENTER ST E                                                                                  WARREN             OH      44481‐9311
ANDERSON, SALVIDOR R    358 BUCK CREEK BLVD                                                                              INDIANAPOLIS       IN      46227‐2014
ANDERSON, SAMMY         3590 NEWPORT HWY                                                                                 GREENEVILLE        TN      37743‐8512
ANDERSON, SAMMY F       69 FERNWOOD AVE                                                                                  YOUNGSTOWN         OH      44509‐2441
ANDERSON, SAMMY F.      69 FERNWOOD AVE                                                                                  YOUNGSTOWN         OH      44509‐2441
ANDERSON, SAMUEL        78 HALBERT ST                                                                                    BUFFALO            NY      14214‐2417
ANDERSON, SAMUEL        163 PR 723                                                                                       DE BERRY           TX      75639
ANDERSON, SANDRA FAYE   1029 HULLS ESTATES DRIVE                                                                         BEDFORD            VA      24523‐6044
ANDERSON, SANDRA J      14235 CURTIS ST                                                                                  DETROIT            MI      48235‐2610
ANDERSON, SANDRA K      3612 BONAIRE CT                                                                                  PUNTA GORDA        FL      33950‐8122
ANDERSON, SANDRA L      8854 S CHRISTINE DR                                                                              BRIGHTON           MI      48114‐8943
ANDERSON, SANDRA M      1004 SEARCY SCHOOL RD                                                                            LAWRENCEBURG       KY      40342‐9546
ANDERSON, SANDRA M      3361 HERITAGE CT N                                                                               CANFIELD           OH      44406‐9208
ANDERSON, SANDRA R      130 HICKORY HILL DR                                                                              ESTILL SPRINGS     TN      37330‐3124
ANDERSON, SANDRA S      5735 WEST HUNTERS RIDGE CIRCLE                                                                   LECANTO            FL      34461‐7609
ANDERSON, SANDRA S      8148 MEADOWLARK                                                                                  CARLISLE           OH      45005‐4213
ANDERSON, SANDRA S      5735 W HUNTERS RIDGE CIR                                                                         LECANTO            FL      34461‐7609
ANDERSON, SARAH         4160 S 530 E APT 23 C                                                                            SALT LAKE CITY     UT      84107
ANDERSON, SARAH J       519 FLINT ST                                                                                     ROCHESTER          NY      14611‐3605
ANDERSON, SARAH J       221 REITMAN CT                                                                                   ROCHESTER HILLS    MI      48307‐1142
ANDERSON, SCOTT D       300 HOFFMEISTER RD                                                                               SAINT HELEN        MI      48656‐9545
ANDERSON, SCOTT E       1430 LITTLES RD                                                                                  ARCANUM            OH      45304‐9200
ANDERSON, SCOTT J       6704 FRENCH CREEK DR                                                                             LANSING            MI      48917‐9665
ANDERSON, SCOTT J       248 RAINBOW DRIVE                                                                                LIVINGSTON         TX      77399‐2048
ANDERSON, SCOTT R       806 RUNNING DEER DR                                                                              COLUMBIA           TN      38401‐8056
ANDERSON, SEAN W        13111 PINE MEADOW DR                                                                             FENTON             MI      48430‐9556
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ANDERSON, SELESTINE        1314 PEQUOT ST                                                                               JOLIET            IL    60433‐2818
ANDERSON, SHAMEKIA S       6454 OAK VALLEY DR                                                                           SHREVEPORT       LA     71119
ANDERSON, SHANE E          132 N EAST ST                                                                                PLAINFIELD       IN     46168‐1108
ANDERSON, SHANE E          12200 SHADOW WOOD TRL                                                                        BURLESON         TX     76028‐7561
ANDERSON, SHANE EDWARD     132 N EAST ST                                                                                PLAINFIELD       IN     46168‐1108
ANDERSON, SHANE ERIK       12200 SHADOW WOOD TRL                                                                        BURLESON         TX     76028‐7561
ANDERSON, SHANNON A        972 W BRIARCLIFF RD                                                                          BOLINGBROOK       IL    60440‐5216
ANDERSON, SHANNON ARLENE   972 W BRIARCLIFF RD                                                                          BOLINGBROOK       IL    60440‐5216
ANDERSON, SHARALYN N       19770 PLEASANTVIEW DR                                                                        GROVELAND        CA     95321‐9363
ANDERSON, SHARON           PAUL HANLEY & HARLEY           1608 4TH ST STE 300                                           BERKELEY         CA     94710‐1749
ANDERSON, SHARON E         21450 RIDGEDALE ST                                                                           OAK PARK         MI     48237‐2784
ANDERSON, SHARON K         11405 SCONCORD VILLAGE AVE                                                                   SAINT LOUIS      MO     63123‐6907
ANDERSON, SHARON K         23875 SIX POINTS RD                                                                          SHERIDAN         IN     46069‐9311
ANDERSON, SHARON K         11405 CONCORD VILLAGE AVE                                                                    SAINT LOUIS      MO     63123‐6907
ANDERSON, SHARON L         29073 ETON ST                                                                                WESTLAND         MI     48186‐5154
ANDERSON, SHARON L         1139 CEDAR ST                                                                                BERKELEY         CA     94702‐1355
ANDERSON, SHARON R         3897 E 127TH LN                                                                              THORNTON         CO     80241‐3178
ANDERSON, SHARON Y         5213 STAUGHTON DR                                                                            INDIANAPOLIS     IN     46226‐2253
ANDERSON, SHARRON A        93 RUTH AVE                                                                                  PONTIAC          MI     48341‐1927
ANDERSON, SHARYNE S        205 S HICKORY LN                                                                             KOKOMO           IN     46901‐3994
ANDERSON, SHEILA MARIE     4964 WESTCHESTER CT APT 4101                                                                 NAPLES           FL     34105‐6674
ANDERSON, SHELBY J         1421 BETHABARA ROAD                                                                          HAYESVILLE       NC     28904‐5225
ANDERSON, SHELLY A         13014 TATTERSALL LN                                                                          PROSPECT         KY     40059
ANDERSON, SHENEEN E        1105 PAPER CREEK DR                                                                          LAWRENCEVILLE    GA     30045‐5359
ANDERSON, SHERMAN L        1005 W JEFFERSON ST                                                                          FRANKFORT        IN     46041‐1620
ANDERSON, SHERRI L         360 N EAST ST                                                                                RUSSIAVILLE      IN     46979‐9784
ANDERSON, SHERRIE D        5700 S COUNTY ROAD 400 EAST                                                                  MUNCIE           IN     47302‐9688
ANDERSON, SHERRY L         10315 MCWAIN RD                                                                              GRAND BLANC      MI     48439‐2521
ANDERSON, SHERRY LYNN      10315 MCWAIN RD                                                                              GRAND BLANC      MI     48439‐2521
ANDERSON, SHERRY P         610 OVERLOOK ROAD                                                                            MANSFIELD        OH     44907‐1539
ANDERSON, SHIRLEE L        3615 E SQUAW VALLEY DR                                                                       HERNANDO         FL     34442‐4155
ANDERSON, SHIRLENE L       1683 LONGFELLOW ST                                                                           DETROIT          MI     48206‐2049
ANDERSON, SHIRLEY A        PO BOX 2523                                                                                  ARLINGTON        TX     76004‐2523
ANDERSON, SHIRLEY A        3656 CHAPIN AVE                                                                              NIAGARA FALLS    NY     14301‐2704
ANDERSON, SHIRLEY F        46 LAUREL AVE                                                                                TRENTON          NJ     08618‐4016
ANDERSON, SHIRLEY J        488 LYNCH AVE                                                                                PONTIAC          MI     48342‐1956
ANDERSON, SHIRLEY J        13380 SUPERIOR ST                                                                            SOUTHGATE        MI     48195‐1206
ANDERSON, SHIRLEY J        488 LYNCH                                                                                    PONTIAC          MI     48342‐1956
ANDERSON, SHIRLEY M        5143 CLIO RD.                                                                                FLINT            MI     48504‐1886
ANDERSON, SHIRLEY M        PO BOX 300582                                                                                ARLINGTON        TX     76007
ANDERSON, SHIRLEY M        124 PARWOOD TRAIL                                                                            DEPEW            NY     14043‐1070
ANDERSON, SHIRLEY M        2909 PROSPECT AVE                                                                            FORT WORTH       TX     76106‐5733
ANDERSON, SHIRLEY M        124 PARWOOD TRL                                                                              DEPEW            NY     14043‐1070
ANDERSON, SHIRLEY M        5929 BISHOP ST                                                                               DETROIT          MI     48224‐2047
ANDERSON, SHIRLEY R        3625 CATLIN RD                                                                               COLUMBIAVILLE    MI     48421‐8960
ANDERSON, SIDNEY O         11937 W CHURCH ST                                                                            EVANSVILLE       WI     53536‐8907
ANDERSON, SIMONE S         3502 HENDERSON RESERVE                                                                       ATLANTA          GA     30341‐6055
ANDERSON, SONDRA K         17714 NE 12TH ST                                                                             CHOCTAW          OK     73020‐7457
ANDERSON, SONJA C          26745 SANTA BARBARA DR                                                                       SOUTHFIELD       MI     48076‐4459
ANDERSON, SONYA S          11909 ANTEBELLUM DR                                                                          CHARLOTTE        NC     28273‐3611
ANDERSON, STACY L          7715 TRESTLEWOOD DR APT 1B                                                                   LANSING          MI     48917‐8797
ANDERSON, STACY L          7715 TRESTLEWOOD DR            APT 1B                                                        LANSING          MI     48917
ANDERSON, STANLEY          23416 MCCANN ST                                                                              WARRENSVILLE     OH     44128‐5246
                                                                                                                        HEIGHTS
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Name                      Address1                            Address2                Address3         Address4               City               State   Zip
ANDERSON, STANLEY G       9087 WEST BASSETT COURT                                                                             LIVONIA             MI     48150‐3391
ANDERSON, STARLA K        5805 EDDINS RD                                                                                      DOTHAN              AL     36301
ANDERSON, STARR L         184 RAINBOW DR # 8487                                                                               LIVINGSTON          TX     77399‐1084
ANDERSON, STEPHEN         3001 BOWMAN AVE                                                                                     LOUISVILLE          KY     40205‐3379
ANDERSON, STEPHEN A       2000 E DELAVAN DR                                                                                   JANESVILLE          WI     53546‐2712
ANDERSON, STEPHEN B       1402 LOMAS VERDES                                                                                   ROCHESTER HILLS     MI     48306‐3955
ANDERSON, STEPHEN F       8439 COUNTRY VIEW LANE                                                                              PLAIN CITY          OH     43064‐8401
ANDERSON, STEPHEN H       2418 35TH ST                                                                                        BEDFORD             IN     47421‐5521
ANDERSON, STEPHEN J       5511 SOUTHWOOD DR                                                                                   BLOOMINGTON         MN     55437‐1733
ANDERSON, STEPHEN M       4850 ROYAL KING CT                                                                                  SAINT LOUIS         MO     63128‐3926
ANDERSON, STEVE           707 PIZER ST                                                                                        HOUSTON             TX     77009‐5315
ANDERSON, STEVE           5816 HILLTOP                                                                                        MARBLE FALLS        TX     78654
ANDERSON, STEVE A         9249 FEATHER HOLLOW DR                                                                              NEWPORT             MI     48166‐9580
ANDERSON, STEVE A         15232 BERWICK ST                                                                                    LIVONIA             MI     48154‐3554
ANDERSON, STEVE E         789 CENTER ST E                                                                                     WARREN              OH     44481‐9311
ANDERSON, STEVE E         201 CLYDE ST                                                                                        WILMINGTON          DE     19804‐2805
ANDERSON, STEVE W         4225 W BERRY RD                                                                                     STERLING            MI     48659‐9434
ANDERSON, STEVEN C        3019 SW SHADOW BROOK DR                                                                             BLUE SPRINGS        MO     64015‐7455
ANDERSON, STEVEN E        2255 E 600 N                                                                                        ALEXANDRIA          IN     46001‐8781
ANDERSON, STEVEN G        5891 ROWLEY BLVD                                                                                    WATERFORD           MI     48329‐3249
ANDERSON, STEVEN G        8976 SW 33RD TER                    TER                                                             OCALA               FL     34476‐4622
ANDERSON, STEVEN J        15015 CASTLEBAR LN                                                                                  ORLAND PARK          IL    60462‐3418
ANDERSON, STEVEN J        864 WELLER AVENUE                                                                                   HAMILTON            OH     45015‐1569
ANDERSON, STEVEN J        7171 BREWER RD                                                                                      FLINT               MI     48507‐4609
ANDERSON, STEVEN JOHN     7171 BREWER RD                                                                                      FLINT               MI     48507‐4609
ANDERSON, STEVEN M        24401 MILLCREEK DR                                                                                  FARMINGTON HILLS    MI     48336‐2808

ANDERSON, STEVEN R        2120 N EAST ST                                                                                      LANSING            MI      48906‐4176
ANDERSON, STEVEN R        1090 SAINT ALBANS RD                                                                                SAN MARINO         CA      91108‐1852
ANDERSON, STEVEN W        10369 ELMS RD                                                                                       MONTROSE           MI      48457‐9195
ANDERSON, STEVEN W        9533 CASS AVE                                                                                       TAYLOR             MI      48180‐3508
ANDERSON, STEVIE M        1985 NW 370TH RD                                                                                    KINGSVILLE         MO      64061‐9185
ANDERSON, STUART W        393 STATE ROAD 458                                                                                  BEDFORD            IN      47421‐7541
ANDERSON, SUDIE A         3344 21 STREET                                                                                      WYANDOTTE          MI      48192
ANDERSON, SUDIE A         3344 21ST ST                                                                                        WYANDOTTE          MI      48192‐6011
ANDERSON, SUE R           PO BOX 785                                                                                          BLUFFTON           SC      29910
ANDERSON, SUSAN           BEASLEY ALLEN CROW METHVIN PORTIS & PO BOX 4160                                                     MONTGOMERY         AL      36103‐4160
                          MILES
ANDERSON, SUSAN C         2220 S E ST RT A                                                                                    BRAYMER            MO      64624‐8529
ANDERSON, SUSAN C         2220 SE STATE ROUTE A                                                                               BRAYMER            MO      64624‐8529
ANDERSON, SUSAN M         1042 MANOR PLACE                                                                                    SHREVEPORT         LA      71118‐3422
ANDERSON, SUSAN M         12564 WILL MILL DR                                                                                  MILFORD            MI      48380‐2611
ANDERSON, SUSAN M         1042 MANOR PL                                                                                       SHREVEPORT         LA      71118‐3422
ANDERSON, SUSAN W         609 TAMMY DR                                                                                        MONROE             NC      28110‐7638
ANDERSON, SUZANNE         39392 ROSS ST                                                                                       LIVONIA            MI      48154‐4793
ANDERSON, SUZANNE         39392 ROSS                                                                                          LIVONIA            MI      48154‐4793
ANDERSON, SUZANNE K       7375 PARKWOOD DR                                                                                    FENTON             MI      48430‐9318
ANDERSON, SUZANNE L       5763 WINEBERRY LANE SW                                                                              GRANDVILLE         MI      49418
ANDERSON, SYLVIA E        65 CANAL ST APT 132                                                                                 MILLBURY           MA      01527
ANDERSON, TABATHA K       8175 BENTLEY HWY                                                                                    EATON RAPIDS       MI      48827‐9306
ANDERSON, TABATHA KAREN   8175 BENTLEY HWY                                                                                    EATON RAPIDS       MI      48827‐9306
ANDERSON, TAJUANA M       12708 OILEY DR                                                                                      SAINT LOUIS        MO      63033
ANDERSON, TALEESA D       14430 PARK ST                                                                                       OAK PARK           MI      48237‐1948
ANDERSON, TALMADGE M      6533 92ND TRAIL NORTH                                                                               MINNEAPOLIS        MN      55445‐1636
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Name                    Address1                           Address2                      Address3   Address4               City              State   Zip
ANDERSON, TAMARA        P.O. BOX 562                                                                                       PARKER CITY        IN     47368‐0562
ANDERSON, TAMARA        PO BOX 562                                                                                         PARKER CITY        IN     47368‐0562
ANDERSON, TAMARA L      1018 S ITALIANO DR                                                                                 MUNCIE             IN     47304‐4615
ANDERSON, TAMARA L      2430 NEWARK AVE                                                                                    LANSING            MI     48911‐4538
ANDERSON, TAMARAH E     13237 MARTIN ST NW                                                                                 MINNEAPOLIS        MN     55448
ANDERSON, TAMELA R      3577 WALNUT CREEK WAY                                                                              LITHONIA           GA     30038‐4865
ANDERSON, TAMMY         BORGELT POWELL PETERSON & FRAUEN   735 N WATER ST FL 15                                            MILWAUKEE          WI     53202‐4106

ANDERSON, TARA D        3361 SOUTHGATE DR                                                                                  FLINT              MI     48507‐3274
ANDERSON, TARAWA M      1129 RACE ST                                                                                       KALAMAZOO          MI     49001‐5722
ANDERSON, TAUBA U       485 ARUNDEL RD                                                                                     GOLETA             CA     93117‐2163
ANDERSON, TEDDY J       GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                     NORFOLK            VA     23510‐2212
                                                           STREET, SUITE 600
ANDERSON, TEMEKE        4435 LAKEVIEW ST                                                                                   DETROIT           MI      48215‐2340
ANDERSON, TERESA A      G1165 E COLDWATER RD                                                                               FLINT             MI      48505
ANDERSON, TERESA D      720 MURFREESBORO RD                                                                                FRANKLIN          TN      37064‐2948
ANDERSON, TERK R        708 THOMPSON LN                                                                                    MITCHELL          IN      47446‐5401
ANDERSON, TERK RENEAR   708 THOMPSON LN                                                                                    MITCHELL          IN      47446‐5401
ANDERSON, TERRANCE E    3507 CONNECTION DR                                                                                 FAYETTEVILLE      NC      28311‐0157
ANDERSON, TERRI         1985 NW 370TH RD                                                                                   KINGSVILLE        MO      64061‐9185
ANDERSON, TERRI C       7441 BURKWOOD WAY                                                                                  INDIANAPOLIS      IN      46254‐9629
ANDERSON, TERRI S       726 PARK CIR                                                                                       CLIO              MI      48420
ANDERSON, TERRY A       922 BRANCH RD                                                                                      NEWARK            DE      19711‐2302
ANDERSON, TERRY B       4221 BALDWIN RD                                                                                    METAMORA          MI      48455‐8925
ANDERSON, TERRY D       105 STONERIDGE DR                                                                                  MT HOLLY          NC      28120‐2041
ANDERSON, TERRY E       10555 WORTHINGTON HILLS MNR        MANOR                                                           ROSWELL           GA      30076‐1722
ANDERSON, TERRY L       1629 GRIFFIN AVE                                                                                   OWOSSO            MI      48867‐3815
ANDERSON, TERRY L       2431 N MAC RD                                                                                      BRANCH            MI      49402‐9010
ANDERSON, THADDEOUS J   PO BOX 621                                                                                         SAGINAW           MI      48606‐0621
ANDERSON, THANE E       15837 S COLLINS DR                                                                                 PLAINFIELD        IL      60544‐3119
ANDERSON, THAYNE W      464 MEADOW LN                                                                                      EVANSVILLE        WI      53536‐1027
ANDERSON, THELMA A      26303 OAKLAND ST APT 308                                                                           INKSTER           MI      48141‐1941
ANDERSON, THELMA C      146 FOX HOLLOW LANE                                                                                BRISTOL           CT      06010‐8964
ANDERSON, THELMA LEE    120 N EDITH ST APT 603                                                                             PONTIAC           MI      48342‐2578
ANDERSON, THEODORE      14924 STRATHMOOR ST                                                                                DETROIT           MI      48227‐2996
ANDERSON, THEODORE C    120 MAGNOLIA RD                                                                                    JOPPA             MD      21085‐4811
ANDERSON, THEODORE H    220 STARK RD                                                                                       ROCHESTER HILLS   MI      48307‐3869
ANDERSON, THEODORE T    28701 GILCHRIST DR                                                                                 WILLOWICK         OH      44095‐4571
ANDERSON, THERESA       5502 MUDLARK CIR                                                                                   POWDER SPRINGS    GA      30127
ANDERSON, THERESA       81 MCNAUGHTON AVE                                                                                  CHEEKTOWAGA       NY      14225‐4542
ANDERSON, THERESA J     PO BOX 168                                                                                         WARREN            OH      44482‐0168
ANDERSON, THERESA M     10426 W CINNEBAR AVE                                                                               SUN CITY          AZ      85351‐4714
ANDERSON, THERESA M     5064 HIGHWAY 75 S                                                                                  MOORHEAD          MN      56560‐7411
ANDERSON, THERESE       PO BOX 97                                                                                          MONTEZUMA         IA      50171‐0097
ANDERSON, THERON B      2425 GLEN OAKS DR                                                                                  NORMAN            OK      73071‐4344
ANDERSON, THETA         6400 LAKE DRIVE                                                                                    HASLETT           MI      48840‐8989
ANDERSON, THETA         5400 LAKE DE                                                                                       HASLETT           MI      48840‐8989
ANDERSON, THOMAS        3084 COIN STREET                                                                                   BURTON            MI      48519‐1536
ANDERSON, THOMAS        4300 PARK LN                                                                                       DALLAS            TX      75220‐1953
ANDERSON, THOMAS        N1587 STATE HIGHWAY 64                                                                             MERRILL           WI      54452‐9042
ANDERSON, THOMAS A      PO BOX 351                                                                                         REESE             MI      48757‐0351
ANDERSON, THOMAS C      191 MADELIA PL                                                                                     MOORESVILLE       NC      28115‐5795
ANDERSON, THOMAS D      3603 2 MILE RD                                                                                     BAY CITY          MI      48706‐9223
ANDERSON, THOMAS D.     83 DROVER DR                                                                                       KELLER            TX      76248‐5004
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Name                        Address1                       Address2                      Address3   Address4               City            State   Zip
ANDERSON, THOMAS E          2080 REDDING RD                                                                                BIRMINGHAM       MI     48009‐1052
ANDERSON, THOMAS E          19220 INGOMAR ST                                                                               RESEDA           CA     91335‐1721
ANDERSON, THOMAS E          1414 COBURG LANDS DR                                                                           SAINT LOUIS      MO     63137‐3008
ANDERSON, THOMAS E          20581 SECLUDED LN                                                                              SOUTHFIELD       MI     48075‐7558
ANDERSON, THOMAS F          1236 SPRINGVIEW DR                                                                             FLUSHING         MI     48433‐1490
ANDERSON, THOMAS FRANKLIN   1236 SPRINGVIEW DR                                                                             FLUSHING         MI     48433‐1490
ANDERSON, THOMAS G          2550 W GRANITE PASS RD                                                                         PHOENIX          AZ     85085‐5061
ANDERSON, THOMAS G          2509 MARYLAND AVE                                                                              FLINT            MI     48506‐2887
ANDERSON, THOMAS GEORGE     2550 W GRANITE PASS RD                                                                         PHOENIX          AZ     85085‐5061
ANDERSON, THOMAS J          1127 DONNA CT                                                                                  LINDEN           NJ     07036‐6107
ANDERSON, THOMAS J          1317 SHAFTESBURY RD                                                                            DAYTON           OH     45406‐4323
ANDERSON, THOMAS J          1442 S MARION AVE                                                                              JANESVILLE       WI     53546‐5421
ANDERSON, THOMAS L          8221 MARYLAND RD                                                                               BLOOMINGTON      MN     55438‐1121
ANDERSON, THOMAS L          306 NORTH VALLE‐P.O. BOX 429                                                                   PILOT KNOB       MO     63663
ANDERSON, THOMAS L          1308 WILLOW CREEK LN                                                                           GRASS LAKE       MI     49240‐9396
ANDERSON, THOMAS M          GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                     NORFOLK          VA     23510‐2212
                                                           STREET, SUITE 600
ANDERSON, THOMAS R          3060 MAHAFFEY LN                                                                               PARIS           TX      75460‐6358
ANDERSON, THOMAS R          4456 ISLAND VIEW DR                                                                            FENTON          MI      48430‐9146
ANDERSON, THOMAS R          505 RICK KELLEY LN                                                                             SENECA          SC      29678‐1050
ANDERSON, THOMAS W          15950 HEBRON MAIL ROUTE RD                                                                     CHEBOYGAN       MI      49721‐9360
ANDERSON, THORNTON L        12089 GOODFIELD CT                                                                             CINCINNATI      OH      45240‐1111
ANDERSON, THREASA M         11138 DODGE RD                                                                                 OTISVILLE       MI      48463‐9739
ANDERSON, THREASA M         11138 DODGE ROAD                                                                               OTISVILLE       MI      48463‐9739
ANDERSON, TIARA C           2323 LAKESIDE BLVD #619                                                                        SUPERIOR TWP    MI      48198
ANDERSON, TIFFENI R         1015 W HIGH ST                                                                                 DEFIANCE        OH      43512‐1357
ANDERSON, TILDA H           6626 COLONIAL DR                                                                               FLINT           MI      48505‐1918
ANDERSON, TIM W             17794 COLLINS ST                                                                               ATHENS          AL      35611‐5619
ANDERSON, TIMOTHY           25310 97TH AVE N                                                                               HITTERDAL       MN      56552‐9750
ANDERSON, TIMOTHY           100 CYPRESS DR                                                                                 NEWARK          DE      19713‐6801
ANDERSON, TIMOTHY A         81 MCNAUGHTON AVE                                                                              CHEEKTOWAGA     NY      14225‐4542
ANDERSON, TIMOTHY A         339 LINCOLN AVE                                                                                TROY            OH      45373‐3129
ANDERSON, TIMOTHY E         122 WASHINGTON CIR #122                                                                        PULASKI         TN      38478‐3137
ANDERSON, TIMOTHY J         2096 HUMMER LAKE RD                                                                            OXFORD          MI      48371‐2920
ANDERSON, TINA S            1921 PLEASANT VIEW AVE                                                                         LANSING         MI      48910‐0347
ANDERSON, TINA SHREE        1921 PLEASANT VIEW AVE                                                                         LANSING         MI      48910‐0347
ANDERSON, TODD J            2727 S A ST                                                                                    ELWOOD          IN      46036‐2220
ANDERSON, TOM A             18 WILLOW LN                                                                                   LENNON          MI      48449
ANDERSON, TOMMIE W          6133 W 100 N                                                                                   TIPTON          IN      46072‐8672
ANDERSON, TOMMY             GUY WILLIAM S                  PO BOX 509                                                      MCCOMB          MS      39649‐0509
ANDERSON, TOMMY E           6636 BETTY DR                                                                                  WATAUGA         TX      76148‐2301
ANDERSON, TOMMY J           319 WEAVER DR                                                                                  HOUGHTON LAKE   MI      48629‐9550
ANDERSON, TOMMY L           312 N FOURTH                                                                                   WEST HELENA     AR      72390‐2434
ANDERSON, TONIA             4902 E TILLMAN RD                                                                              FORT WAYNE      IN      46816‐4234
ANDERSON, TONYA             2415 BRETDALE RD                                                                               DULUTH          GA      30096‐6830
ANDERSON, TRACIE J          130 COUNTY ROAD 383                                                                            CULLMAN         AL      35057‐3901
ANDERSON, TRUDI A           202 NEW BRIDGE RD                                                                              RISING SUN      MD      21911‐1123
ANDERSON, TRUMAYNE LEVAR    39196 BUCKINGHAM DR                                                                            ROMULUS         MI      48174‐6324
ANDERSON, TYRECE            14517 CHEYENNE ST                                                                              DETROIT         MI      48227‐3625
ANDERSON, ULYSS G           8025 MCDERMITT DR APT 107                                                                      DAVISON         MI      48423‐2965
ANDERSON, V M               9301 W 55TH ST                                                                                 LAGRANGE        IL      60525
ANDERSON, V S               289 FAIRWAY DR                                                                                 POCATELLO       ID      83201‐2055
ANDERSON, VADIS E           469 KINSTLER RD                                                                                LUCASVILLE      OH      45648‐8898
ANDERSON, VALERIE D         27055 PINEWOOD DR APT 103                                                                      WIXOM           MI      48393‐3293
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Name                        Address1                       Address2               Address3         Address4               City            State   Zip
ANDERSON, VALORIE A         1621 LILAC LN                                                                                 PLANO            TX     75074‐5269
ANDERSON, VEANILEA          8513 CEDAR BARK CIR                                                                           BIRMINGHAM       AL     35206‐3529
ANDERSON, VELMA L           1506 WOODHALL DR                                                                              FLINT            MI     48504‐1989
ANDERSON, VELMA LEE         1506 WOODHALL DR                                                                              FLINT            MI     48504‐1989
ANDERSON, VERA              14109 WARNER RD                                                                               HASLETT          MI     48840‐9218
ANDERSON, VERA M            690 SOUTH WALL ST                                                                             KANKAKEE          IL    60901‐3418
ANDERSON, VERA M            690 S WALL ST                                                                                 KANKAKEE          IL    60901‐3418
ANDERSON, VERNETA M         483 N PINE ST                                                                                 JANESVILLE       WI     53548‐3517
ANDERSON, VERNETTA          19775 COYLE ST                                                                                DETROIT          MI     48235‐2043
ANDERSON, VICKEY R          9308 SOUTH HARVEY AVENUE                                                                      OKLAHOMA CITY    OK     73139‐8636
ANDERSON, VICKEY RAY        9308 SOUTH HARVEY AVENUE                                                                      OKLAHOMA CITY    OK     73139‐8636
ANDERSON, VICKI S           PO BOX 1715                                                                                   OKEECHOBEE       FL     34973‐1715
ANDERSON, VICTOR A          1213 COBB AVE                                                                                 KALAMAZOO        MI     49007‐2491
ANDERSON, VICTOR D          1307 HARMS WAY                                                                                PORT ORANGE      FL     32129‐5260
ANDERSON, VICTOR J          2543 COUNTY ROUTE 55                                                                          BRASHER FALLS    NY     13613‐3235
ANDERSON, VICTOR R          2032 SW 33RD ST                                                                               MOORE            OK     73170‐4536
ANDERSON, VIKKI M           1861 DECKER RD                                                                                WALLED LAKE      MI     48390‐2633
ANDERSON, VILAR             2516 W 18TH ST                                                                                ANDERSON         IN     46011‐4023
ANDERSON, VINCENT J         1815 HILLSIDE CT N                                                                            STILLWATER       MN     55082
ANDERSON, VINCENT M         2783 LANDRUM DR SW                                                                            ATLANTA          GA     30311‐3741
ANDERSON, VINCENT M.        2783 LANDRUM DR SW                                                                            ATLANTA          GA     30311‐3741
ANDERSON, VINNIE M          116 E 8TH ST                                                                                  TILTON            IL    61833‐7810
ANDERSON, VINNIE M          116 EAST 8TH                                                                                  TILTON            IL    61833‐7810
ANDERSON, VIOLA             AMBERWOOD PLACE                APT 2849                                                       KOKOMO           IN     46901
ANDERSON, VIOLA B           2930 ROLLING DUNES DRIVE       #J                                                             INDIANAPOLIS     IN     46214
ANDERSON, VIOLA B           2930 ROLLING DUNES DR APT J                                                                   INDIANAPOLIS     IN     46214‐4733
ANDERSON, VIOLA J           3001 HARBOR DR                                                                                ROCKWALL         TX     75087
ANDERSON, VIOLET E          5891 DIXIE HWY #E233                                                                          CLARKSTON        MI     48346
ANDERSON, VIRGINIA A        1410 W 4TH ST                                                                                 ANDERSON         IN     46016‐1084
ANDERSON, VIRGINIA E        149 CARLTON COURT                                                                             RICHMOND         KY     40475‐0475
ANDERSON, VIRGINIA E        149 CARLTON DR                                                                                RICHMOND         KY     40475‐8202
ANDERSON, VIRGINIA M        C/O MARY JO GOETHAL            8953 CONSERVANCE NE                                            ADA              MI     49301
ANDERSON, VIRGINIA M        8953 CONSERVANCY DR NE                                                                        ADA              MI     49301‐8872
ANDERSON, VIRLYN J          6559 BENTLEY RD                                                                               CUMMING          GA     30040‐5617
ANDERSON, VIVIAN            16094 BRINGARD DR                                                                             DETROIT          MI     48205‐1421
ANDERSON, VIVIAN H          1541 VENABLE STREET                                                                           MCCOMB           MS     39648
ANDERSON, VIVIAN J          4008 W 250 S                                                                                  KOKOMO           IN     46902‐9564
ANDERSON, VIVIAN M          8499 MOHAWK CT                                                                                MONTAGUE         MI     49437‐1351
ANDERSON, VIVIAN S          438 N WATER AVE                                                                               GALLATIN         TN     37066‐2306
ANDERSON, VIVIAN T          220 LANCASTER WAY                                                                             HIRAM            GA     30141‐5462
ANDERSON, WALLACE           PO BOX 14308                                                                                  SAGINAW          MI     48601‐0308
ANDERSON, WALTER F          2263 N STATE ROAD 39                                                                          DANVILLE         IN     46122‐8215
ANDERSON, WALTER FRANKLIN   2263 N STATE ROAD 39                                                                          DANVILLE         IN     46122‐8215
ANDERSON, WALTER J          709 WORCHESTER DR                                                                             FENTON           MI     48430‐1818
ANDERSON, WALTER J          183 CEDAR AVE                                                                                 BRODHEAD         WI     53520‐1042
ANDERSON, WALTER K          2364 WELTON PL                                                                                DUNWOODY         GA     30338‐5345
ANDERSON, WALTER M          6 RAVENWORTH CT                                                                               NEWARK           DE     19702‐4086
ANDERSON, WALTER M          333 CHATTAHOOCHEE DR                                                                          BEAR             DE     19701‐4809
ANDERSON, WALTER MERRELE    333 CHATTAHOOCHEE DR                                                                          BEAR             DE     19701‐4809
ANDERSON, WALTER R          3164 W KIPP RD                                                                                MASON            MI     48854‐9745
ANDERSON, WALTER R          5835 2 MILE RD                                                                                BAY CITY         MI     48706‐3125
ANDERSON, WANDA D           11807 LONGVIEW ST                                                                             DETROIT          MI     48213
ANDERSON, WANDA F           2890 GENESIS DR                                                                               BOYNE CITY       MI     49712‐9213
ANDERSON, WANDA F           2418 35TH ST                                                                                  BEDFORD          IN     47421‐5521
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ANDERSON, WANDA J          3905 7TH ST W                                                                                        LEHIGH ACRES     FL     33971‐1250
ANDERSON, WANDA J          1655 DARST AVENUE                                                                                    DAYTON           OH     45403‐3101
ANDERSON, WANDA J          1655 DARST AVE                                                                                       DAYTON           OH     45403‐3101
ANDERSON, WARREN K         8547 LESOURDSVILLE WEST CHESTER RD                                                                   WEST CHESTER     OH     45069‐1926

ANDERSON, WARREN KIRBY     8547 LESOURDSVILLE WEST CHESTER RD                                                                   WEST CHESTER    OH      45069‐1926

ANDERSON, WASHINGTON       738 E MANSFIELD AVE                                                                                  PONTIAC          MI     48340‐2950
ANDERSON, WAYNE            4717 HOLTON AVE                                                                                      FORT WAYNE       IN     46806‐2459
ANDERSON, WAYNE            451 W SOMERSBE PL                                                                                    BLOOMINGTON      IN     47403‐4544
ANDERSON, WAYNE A          200 ORCHARD DR                                                                                       SPARTA           MI     49345‐1270
ANDERSON, WAYNE D          8348 BEECHER RD                                                                                      FLUSHING         MI     48433‐9479
ANDERSON, WAYNE E          205 4TH ST                                                                                           BRODHEAD         WI     53520‐1128
ANDERSON, WAYNE E          5960 DAGON RD                                                                                        JOHANNESBURG     MI     49751‐9480
ANDERSON, WAYNE F          2479 HENRY RD                                                                                        LAPEER           MI     48446‐9037
ANDERSON, WAYNE FRANKLIN   2479 HENRY RD                                                                                        LAPEER           MI     48446‐9037
ANDERSON, WAYNE H          130 SW TREY WAY                                                                                      LAKE CITY        FL     32024‐6703
ANDERSON, WAYNE L          404 N BROWNLEAF RD                                                                                   NEWARK           DE     19713‐3316
ANDERSON, WAYNE R          3361 SOUTHGATE DR                                                                                    FLINT            MI     48507‐3274
ANDERSON, WENDALL E        5329 CATALPA DR                                                                                      LANSING          MI     48911‐3340
ANDERSON, WENDELL
ANDERSON, WENDELL G        3830 NEEDHAM RD                                                                                      LEXINGTON       OH      44904‐9715
ANDERSON, WENDELL G        1139 W HURON RIVER DR                                                                                BELLEVILLE      MI      48111‐4299
ANDERSON, WENDY            2097 C R 353 RD.                                                                                     BONO            AR      72416‐7504
ANDERSON, WESLEY A         PO BOX 466                                                                                           LILLIAN         TX      76061‐0466
ANDERSON, WESLEY ALLEN     PO BOX 466                                                                                           LILLIAN         TX      76061‐0466
ANDERSON, WESLEY C         PO BOX 62                            6083 CLARK RD.                                                  BATH            MI      48808‐0062
ANDERSON, WESLEY G         2161 LANDMARK DR                                                                                     LAPEER          MI      48446‐9022
ANDERSON, WILBUR           PO BOX 1702                                                                                          WHITE HOUSE     TN      37188‐1702
ANDERSON, WILEY D          311 RUTLAND AVE                                                                                      YOUNGSTOWN      OH      44515‐1835
ANDERSON, WILKEN           4821 BORDEAUX LN                                                                                     MASON           OH      45040‐3693
ANDERSON, WILLARD O        4317 E MAPLE MANOR PKWY                                                                              MUNCIE          IN      47302‐9283
ANDERSON, WILLIAM          3423 BARTH ST                                                                                        FLINT           MI      48504‐2407
ANDERSON, WILLIAM          GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                     NORFOLK         VA      23510‐2212
                                                                STREET, SUITE 600
ANDERSON, WILLIAM          PORTER & MALOUF PA                   4670 MCWILLIE DR                                                JACKSON         MS      39206‐5621
ANDERSON, WILLIAM          1311 FLAMINGO DR                                                                                     MOUNT MORRIS    MI      48458‐2857
ANDERSON, WILLIAM
ANDERSON, WILLIAM          159 POPLAR VIEW LN                                                                                   BEDFORD         IN      47421‐6815
ANDERSON, WILLIAM A        5700 S COUNTY ROAD 400 E                                                                             MUNCIE          IN      47302‐9688
ANDERSON, WILLIAM A        36 HILLTOP BLVD                                                                                      CANFIELD        OH      44406‐1257
ANDERSON, WILLIAM A        7507 BRAYMONT ST                                                                                     MOUNT MORRIS    MI      48458‐2906
ANDERSON, WILLIAM ALAN     5700 S COUNTY ROAD 400 EAST                                                                          MUNCIE          IN      47302‐9688
ANDERSON, WILLIAM B        5 HARWICK LN                                                                                         WILLINGBORO     NJ      08046‐1826
ANDERSON, WILLIAM B        125 CASSANDRA WAY                                                                                    SAVANNAH        TN      38372‐5163
ANDERSON, WILLIAM B        4582 SYLVAN RD                                                                                       CANANDAIGUA     NY      14424‐9620
ANDERSON, WILLIAM C        PO BOX 272                                                                                           DURAND          MI      48429‐0272
ANDERSON, WILLIAM C        202 BERRY PATCH CIR                                                                                  GRAYLING        MI      49738‐9458
ANDERSON, WILLIAM C        10038 S GRAHAM RD                                                                                    SAINT CHARLES   MI      48655‐9591
ANDERSON, WILLIAM D        1172 ROCKY RIDGE TRL                                                                                 FLINT           MI      48532‐2125
ANDERSON, WILLIAM D        10368 SCHWYZ CIR                                                                                     REED CITY       MI      49677
ANDERSON, WILLIAM D        2146 N CENTER RD                                                                                     BURTON          MI      48509‐1070
ANDERSON, WILLIAM D        WEITZ & LUXENBERG P.C.               180 MAIDEN LANE                                                 NEW YORK        NY      10038
ANDERSON, WILLIAM D        10110 HOFFMAN RD                                                                                     FORT WAYNE      IN      46816‐9611
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ANDERSON, WILLIAM D        428 VALLEY VIEW DR                                                                                AZLE              TX     76020‐1034
ANDERSON, WILLIAM DAVID    10110 HOFFMAN RD                                                                                  FORT WAYNE        IN     46816‐9611
ANDERSON, WILLIAM E        29625 MATTHEW ST                                                                                  WESTLAND          MI     48186‐5134
ANDERSON, WILLIAM E        1731 PALM AIRE DR                                                                                 LADY LAKE         FL     32159‐2236
ANDERSON, WILLIAM E        10281 FEATHER RIDGE DR                                                                            WEEKI WACHEE      FL     34613‐3523
ANDERSON, WILLIAM E        4126 E TANGLEWOOD DR                                                                              PHOENIX           AZ     85048‐7478
ANDERSON, WILLIAM E        7325 BRADEN RD                                                                                    ARLINGTON         TN     38002‐9440
ANDERSON, WILLIAM E        17624 HIGHWAY 20                                                                                  WATERLOO          AL     35677‐3827
ANDERSON, WILLIAM G        7595 KIRKRIDGE ST                                                                                 BELLEVILLE        MI     48111‐1630
ANDERSON, WILLIAM G        797 GREENE ROAD 906                                                                               PARAGOULD         AR     72450‐8804
ANDERSON, WILLIAM H        DALEY ROBERT                     707 GRANT ST STE 2500                                            PITTSBURGH        PA     15219‐1945
ANDERSON, WILLIAM H        1317 WAHATCHEE CREEK RD                                                                           ELBERTON          GA     30635‐5929
ANDERSON, WILLIAM H        2415 BRETDALE ROAD                                                                                DULUTH            GA     30096‐6830
ANDERSON, WILLIAM J        18323 5TH ST                                                                                      BELOIT            OH     44609‐9203
ANDERSON, WILLIAM J        3301 SADDLE RDG                                                                                   HIGHLAND          MI     48357‐2535
ANDERSON, WILLIAM K        1888 ELIZABETH LN                                                                                 JENISON           MI     49428‐7743
ANDERSON, WILLIAM L        2825 CLEARBROOK DR                                                                                IRVING            TX     75062‐6940
ANDERSON, WILLIAM L        PO BOX 773                                                                                        MOUNT MORRIS      MI     48458‐0773
ANDERSON, WILLIAM L        100 NORTH FRANKLIN                                                                                JANESVILLE        WI     53548
ANDERSON, WILLIAM L        5415 BURNETT RD                                                                                   LEAVITTSBURG      OH     44430‐9700
ANDERSON, WILLIAM L        588 SW GEORGETOWN WAY                                                                             BEAVERTON         OR     97006‐3680
ANDERSON, WILLIAM M        3513 IVY HILL CIR UNIT B                                                                          CORTLAND          OH     44410‐9240
ANDERSON, WILLIAM M        204 SARAH CT                                                                                      NEWARK            DE     19702‐1399
ANDERSON, WILLIAM N        132 SEMINOLE DR                                                                                   EDGERTON          WI     53534‐9329
ANDERSON, WILLIAM R        20049 FREEZE DR                                                                                   LICKING           MO     65542‐9211
ANDERSON, WILLIAM S        943 PANORAMA DR                                                                                   MILFORD           MI     48381‐1556
ANDERSON, WILLIAM T        243 E WALKER AVE                                                                                  ASHEBORO          NC     27203‐6825
ANDERSON, WILLIAM T        1299 CORDOVA ST APT 109                                                                           PASADENA          CA     91106‐2609
ANDERSON, WILLIAM T        18497 ANNCHESTER RD                                                                               DETROIT           MI     48219‐2822
ANDERSON, WILLIAM W        12905 BYARS RD                                                                                    GRANDVIEW         MO     64030‐2725
ANDERSON, WILLIAM W        4563 MOUNT VERNON RD                                                                              GAINESVILLE       GA     30506‐3005
ANDERSON, WILLIAM W        34153 AZTEC DR                                                                                    WESTLAND          MI     48185‐2733
ANDERSON, WILLIE           14673 ABINGTON AVE                                                                                DETROIT           MI     48227‐1409
ANDERSON, WILLIE           3432 SHAKERTOWN RD                                                                                ANTIOCH           TN     37013‐1008
ANDERSON, WILLIE           BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD, BEVAN                                     NORTHFIELD        OH     44067
                                                            PROFESSIONAL BLDG
ANDERSON, WILLIE           107 NIEHOLS ST                   PO BOX 78                                                        LITCHFIELD       MI      49252
ANDERSON, WILLIE J         PO BOX 8074                                                                                       DETROIT          MI      48208‐0074
ANDERSON, WILLIE J         2242 TATUM RD                                                                                     HICKORY          MS      39332‐3204
ANDERSON, WILLIE L         18263 WESTHAMPTON AVE                                                                             SOUTHFIELD       MI      48075‐7163
ANDERSON, WILLIE LEE
ANDERSON, WILLIE M         654 E MARENGO AVE                                                                                 FLINT            MI      48505‐3377
ANDERSON, WILLIE N         5139 WINTHROP DRIVE                                                                               AUSTINTOWN       OH      44515‐4515
ANDERSON, WILLIE T         3250 ROCKFORK RD                                                                                  MOREHEAD         KY      40351‐9540
ANDERSON, WILLIS H         6475 W 200 S                                                                                      ANDERSON         IN      46011‐9442
ANDERSON, WILMA E.         7230 S COUNTY RD 600 E                                                                            MOORESVILLE      IN      46158‐7769
ANDERSON, WILMA I          584 BURK CT                                                                                       MOUNTAIN HOUSE   CA      95391‐1135

ANDERSON, WILMA L          APT 218                          8150 TOWNSHIP LINE ROAD                                          INDIANAPOLIS     IN      46260‐5843
ANDERSON, WINFRED L        6134 WEYBRIDGE DR                                                                                 TROTWOOD         OH      45426‐1440
ANDERSON, YONG O           5816 NEWBERRY RD                                                                                  DURAND           MI      48429‐9116
ANDERSON, YONG OK          5816 NEWBERRY RD                                                                                  DURAND           MI      48429‐9116
ANDERSON, ZETTA            PO BOX 221                                                                                        JAMESTOWN        TN      38556‐0221
ANDERSON,CONSTANCE MARIE   1610 PIPER LN APT 206                                                                             CENTERVILLE      OH      45440‐5019
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Name                               Address1                       Address2                            Address3                  Address4               City               State   Zip
ANDERSON,LISA D                    2615 ALEXIS AVE APT 50                                                                                              ARLINGTON           TX     76006‐3461
ANDERSON‐BARAHONA, DONNA           MALONE THOMAS WILLIAM          2 RAVINIA DR STE 300                                                                 ATLANTA             GA     30346
ANDERSON‐DAVIS, SAMARIA D          8227 TOMBSTONE DR                                                                                                   ARLINGTON           TX     76001‐8553
ANDERSON‐DRISCOLL, SUSAN E         136 LONG POND RD                                                                                                    ROCHESTER           NY     14612
ANDERSON‐EDMISTON CAROLYN          50 N SEASONS TRCE                                                                                                   THE WOODLANDS       TX     77382‐5908
ANDERSON‐FOX, SHARI T              5251 ROBERTS DR                                                                                                     FLINT               MI     48506‐1553
ANDERSON‐JACKSON, LADONYA R        337 ALLENDALE PL                                                                                                    FLINT               MI     48503‐2335
ANDERSON‐JACKSON, LADONYA RAENETTE 397 ALLENDALE PL                                                                                                    FLINT               MI     48503‐2335

ANDERSON‐JONES, MARY L             OFC                            366 PARADISE ISLAND DRIVE                                                            DEFUNIAK SPGS       FL     32433‐7191
ANDERSON‐JONES, NANCY A            10291 SHERIDAN RD                                                                                                   MONTROSE            MI     48457‐9001
ANDERSON‐LAMBERT, JOCELYN          797 CEDAR MILL DR                                                                                                   BELLEVILLE          IL     62221‐3468
ANDERSON‐MATHEWS, CATHERINE JANE   PO BOX 585                                                                                                          LEBANON             IN     46052‐0585

ANDERSON‐MATHEWS, CATHERINE JANE   P.O. BOX 585                                                                                                        LEBANON             IN     46052‐0585

ANDERSON‐MATTHEWS, DOROTHY N       1518 N GRAND TRAVERSE ST                                                                                            FLINT               MI     48503‐1121
ANDERSON‐MAYES, NANCY T            1607 COSTELLO DR                                                                                                    ANDERSON            IN     46011‐3108
ANDERSON‐OATTS, SHARRON L          1826 WELLESLEY COMMONS                                                                                              INDIANAPOLIS        IN     46219‐2428
ANDERSON‐OATTS, SHARRON LORETTA    1826 WELLESLEY COMMONS                                                                                              INDIANAPOLIS        IN     46219‐2428

ANDERSON‐PERKINS, ANTOINETTE       17161 ANNA ST                                                                                                       SOUTHFIELD         MI      48075‐2958
ANDERSON‐TROYER, DOROTHY L         8557 CEADER RIVER RD APT.10                                                                                         MANCELONA          MI      49659
ANDERSON‐WARD, KATHRYN E           11785 PARMENTER RD                                                                                                  BURBANK            OH      44214‐9410
ANDERSONS ELECTRONICS INC
ANDERSONS INC                      415 ILLINOIS AVE               PO BOX 119                                                                           MAUMEE             OH      43537‐1705
ANDERSONS INC, THE                 480 W DUSSELL DR               PO BOX 119                                                                           MAUMEE             OH      43537
ANDERSONS INC, THE                 480 W DUSSEL DR                PO BOX 119                                                                           MAUMEE             OH      43537‐1690
ANDERSONS, LORENE A                2535 MT OLIVET #302                                                                                                 KALAMAZOO          MI      49004‐1697
ANDERSONS, LORENE A                2535 MOUNT OLIVET RD APT 302                                                                                        KALAMAZOO          MI      49004‐1697
ANDERSSON MAGNUS                   APT 202                        116 NORTH WALNUT STREET                                                              CHAMPAIGN          IL      61820‐4178
ANDERSSON, BO I                    2681 COVINGTON PL                                                                                                   BLOOMFIELD HILLS   MI      48301‐2664
ANDERSSON, BO I                    WATT MANNGASSE 39              WIEN 1130                           AUSTRIA
ANDERTON JR, SHERMAN W             2589 COUNTY ROAD 101                                                                                                MOULTON            AL      35650‐6763
ANDERTON, ADELINE M                102 RIVERVIEW LANE                                                                                                  HERMITAGE          MO      65668
ANDERTON, ADELINE M                102 RIVERVIEW RD                                                                                                    HERMITAGE          MO      65668‐9115
ANDERTON, CHARLES H                5734 PICKBOURNE ST                                                                                                  COMMERCE TWP       MI      48382‐3052
ANDERTON, EDMOND R                 17126 158TH ST                                                                                                      BONNER SPRNGS      KS      66012‐7249
ANDERTON, FOY S                    151 THOROUGHBRED LN                                                                                                 ALABASTER          AL      35007‐8544
ANDERTON, GENE W                   BLDG 4A                        505 AL HIGHWAY 101                                                                   TOWN CREEK         AL      35672‐7407
ANDERTON, JACK D                   RR 1 BOX 161                                                                                                        BIRCH TREE         MO      65438‐9631
ANDERTON, JOHN B                   PO BOX 47073                                                                                                        KANSAS CITY        MO      64188‐7073
ANDERTON, MILDRED                  7909 COUNTY ROAD 236                                                                                                TOWN CREEK         AL      35672‐6918
ANDERTON, NINA R                   RR 1 BOX 161                                                                                                        BIRCH TREE         MO      65438‐9631
ANDERVICH, FRANK N                 PO BOX 77                                                                                                           LONG BEACH         MS      39560‐0077
ANDERVICH, GEORGE E                115 W WALNUT ST                                                                                                     RICH HILL          MO      64779‐1031
ANDERWKAVICH, ALEXANDER            ATTN LYNNE KIZIS ESQ           WILENTZ GOLDMAN AND SPITZER         90 WOODBRIDGE CENTER DR                          WOODBRIDGE         NJ      07095

ANDERWKAVICH, ALEXANDER            WILENTZ GOLDMAN & SPITZER      88 PINE STREET, WALL STREET PLAZA                                                    NEW YORK           NY      10005
ANDES, BERLE A                     203 W 1ST ST                                                                                                        GARDEN CITY        MO      64747‐9229
ANDES, CHERYLE L                   9357 RUBY RD                                                                                                        HOLLY              MI      48442‐9305
ANDES, DELMAN V                    9905 NE 136TH ST                                                                                                    LIBERTY            MO      64068‐8215
ANDES, ROBERT L                    9357 RUBY RD                                                                                                        HOLLY              MI      48442‐9305
ANDES, ROBERT R                    41080 MICOL DR                                                                                                      PLYMOUTH           MI      48170‐4473
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ANDHOR CHARLES           50 QUAIL RUN LN                                                                                     LANCASTER          NY 14086‐1446
ANDI KEYES               8610 HURST AVE                                                                                      SAVANNAH           GA 31406‐6016
ANDI PASSARO
ANDIAMO DETROIT, LLC     JOSEPH P. VICARI                7096 E 14 MILE RD                                                   WARREN            MI   48092‐1285
ANDIAMO RIVERFRONT       400 RENAISSANCE CTR STE A403                                                                        DETROIT           MI   48243‐1616
ANDING JR, GREGORY       210 NELSON CT                                                                                       CHAMPAIGN         IL   61820‐3101
ANDING, GREGORY          802 E MADISON ST                                                                                    DANVILLE          IL   61832‐5952
ANDING, JESSE E          4018 ROCKY HILL RD                                                                                  WESSON            MS   39191‐9056
ANDINO, ANA I            PO BOX 35010                                                                                        DETROIT           MI   48235‐0010
ANDINO, CRYSTAL C        APT 31                          10518 GARNETT STREET                                                OVERLAND PARK     KS   66214‐2743
ANDINO, CRYSTAL CHANEL   APT 31                          10518 GARNETT STREET                                                OVERLAND PARK     KS   66214‐2743
ANDIS GREEN              12387 N CLIO RD                                                                                     CLIO              MI   48420‐1046
ANDIS, AARON W           PO BOX 2026                                                                                         MUSCLE SHOALS     AL   35662‐2026
ANDIS, ALLEN R           3209 ELWOOD DR                                                                                      RACINE            WI   53406‐5217
ANDIS, CHARLES L         2701 BRANCH RD LOT 76                                                                               FLINT             MI   48506‐2976
ANDIS, CHARLES L         47 FEATHER HOLW S                                                                                   FENTON            MI   48430
ANDIS, CHARLES LEON      47 FEATHER HOLW S                                                                                   FENTON            MI   48430
ANDIS, DONALD R          7176 NORTHLAKE RD                                                                                   MILLINGTON        MI   48746‐9016
ANDIS, EARL G            2141 E BERGIN AVE                                                                                   BURTON            MI   48529‐1703
ANDIS, GLENN M           3813 MARMION AVE                                                                                    FLINT             MI   48506‐4241
ANDIS, GLENN MONROE      3813 MARMION AVE                                                                                    FLINT             MI   48506‐4241
ANDIS, MARY              4199 SWALLOW DR                                                                                     FLINT             MI   48506‐1604
ANDIS, MELVA J           2141 E BERGIN AVE                                                                                   BURTON            MI   48529‐1703
ANDIS, PAUL J            5760 W US HIGHWAY 40                                                                                GREENFIELD        IN   46140‐8788
ANDIS, RANDY L           805 OAKDALE DR                                                                                      ANDERSON          IN   46011‐1142
ANDIS, STEVEN B          3178 BEACH BLVD                                                                                     CICERO            IN   46034‐9600
ANDIS, WARREN L          1995 CALHOUN DR                                                                                     ABBEVILLE         AL   36310‐5659
ANDISON, DENIS L         1718 N LAPEER RD                                                                                    LAPEER            MI   48446‐7751
ANDLER JR, HARRY         2233 S 8TH AVE                                                                                      RIVERSIDE         IL   60546‐1101
ANDLER, CARL             9078 N IRISH RD APT R1                                                                              MOUNT MORRIS      MI   48458
ANDLER, CRAIG L          7531 MOHAWK LANE                                                                                    INDIANAPOLIS      IN   46260‐3553
ANDLER, IRENE G          1631 CLIFFVIEW DR APT 333                                                                           ROCHESTER HILLS   MI   48306‐4263
ANDLER, JOHN J           1033 ENFIELD RD                                                                                     ROCHESTER HILLS   MI   48307‐5430
ANDLER, PATRICK
ANDLER, PHILIP M         8757 SE 183RD AVENUE RD                                                                             OCKLAWAHA         FL   32179‐3863
ANDO, FUMIAKI            1261 KIRTS BLVD #229                                                                                TROY              MI   48084
ANDO, FUMIAKI            2200 CROOKS RD                  APT 43                                                              TROY              MI   48084‐5323
ANDO, JAMES D            150 FRENCH RD                                                                                       DEPEW             NY   14043‐2132
ANDO, ROBERT W           26‐12 210 PLACE                                                                                     BAYSIDE           NY   11360
ANDOF PRIBID             MEG ULRICH SALBUNC LAW OFFICE   NEWSLIFTGASSE 3/G                          A 1070 WIEN AUSTRIA
ANDOH, FUTOSHI
ANDOLF PRIBIL            MEG ULICH JALBURG               LAW OFFICE             NEUST STRASSE 3/G   A 1070 WIEN AUSTRIA
ANDOLF PRIBIL            MEG ULUNCH SALBURG LAW OFFICE   NESTIFTG 3/G                               A 1070 WIEN AUSTRIA
ANDOLINA, IDA J          4075 LYELL RD APT. 223                                                                              ROCHESTER         NY   14606‐4365
ANDOLINA, JEANNE L       552 CANDLEMAKER WAY                                                                                 LANSDALE          PA   19446‐4057
ANDOLINA, JOHN P         132 SHIRE WAY                                                                                       CAMILLUS          NY   13031‐8718
ANDOLINA, JOSEPH         935 JOYLENE DR                                                                                      WEBSTER           NY   14580‐8931
ANDOLINO, CONCEPTA E     345 SPENCERPORT RD. #115                                                                            ROCHESTER         NY   14606‐5251
ANDOLINO, PHIL M         1944 SATINWOOD DR                                                                                   MANSFIELD         OH   44903‐7571
ANDOLINO, PHIL M.        1944 SATINWOOD DR                                                                                   MANSFIELD         OH   44903‐7571
ANDOLORA, CHERYL L       8369 STATE ROUTE 408                                                                                NUNDA             NY   14517
ANDOLSEK, MARY           252 NIGHTHAWK DR                                                                                    MONROE TWP        NJ   08831‐5537
ANDON, JERAR             98 LOMA MEDIA RD                                                                                    SANTA BARBARA     CA   93103‐2150
ANDONACH JR, RAPHAEL L   3001 STATE ROUTE 97                                                                                 BUTLER            OH   44822‐9797
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ANDONEGUI, CARLA                1400 SUNNYSIDE DR                                                                                                   COLUMBIA            TN     38401‐5231
ANDONEGUI, GUADALUPE            1141 THURMAN                                                                                                        DEFIANCE            OH     43512‐3132
ANDONEGUI, MANUEL L             106 PLEASANT ST                                                                                                     MT PLEASANT         TN     38474‐1518
ANDONEGUI, MOISES F             1141 THURMAN ST                                                                                                     DEFIANCE            OH     43512‐3132
ANDONIAN, GUY A                 6191 LONDON GROVEPORT RD                                                                                            GROVE CITY          OH     43123‐9624
ANDONIAN, VALRICH               2671 ROXIE RD                                                                                                       BLOOMFIELD HILLS    MI     48304‐1646
ANDOR MURRIA                    4351 BEDFORD ST                                                                                                     DETROIT             MI     48224‐3622
ANDOR N MURRIA                  4351 BEDFORD ST                                                                                                     DETROIT             MI     48224‐3622
ANDORFER PHIL                   2518 KNIGHTSBRIDGE DR                                                                                               FORT WAYNE          IN     46815‐8575
ANDORRA GRUP AGRICOL REIG, SA   C/O LOWENSTEIN SANDLER PC         65 LIVINGSTON AVENUE            ATTN: S JASON TEELE, ESQ                          ROSELAND            NJ     07068
ANDORS, LOIS H                  456 DOVER CIR                                                                                                       ENGLEWOOD           FL     34223‐1961
ANDOVER INDUSTRIES
ANDOVER INDUSTRIES BMPI         RR 2                                                                                                                MEADVILLE           PA     16335
ANDOVER INDUSTRIES BMPI         BUFFALO MOLDED PLASTICS           30801 BARRINGTON ST             STE 125                                           MADISON HTS         MI     48071‐5105
ANDRA BATES                     145 CHARLES LANE                                                                                                    PONTIAC             MI     48341‐2928
ANDRA CLARK
ANDRA HORNE                     PO BOX 5066                                                                                                         KOKOMO             IN      46904‐5066
ANDRA HOWARD                    6264 COVERED WAGONS TRL                                                                                             FLINT              MI      48532‐2113
ANDRA JACKSON                   1826 PROSPECT AVE SE                                                                                                GRAND RAPIDS       MI      49507‐2542
ANDRA NORRIS                    PO BOX 1312                                                                                                         LAPEER             MI      48446‐5312
ANDRA SHIRLEY                   4233 SCOTTSVILLE RD                                                                                                 GLASGOW            KY      42141‐8210
ANDRA' G DUDLEY                 2552 BAYWOOD ST                                                                                                     DAYTON             OH      45406
ANDRACCHIO FEDERICO (477190)    ANGELOS PETER G LAW OFFICES OF    100 N CHARLES STREET , ONE                                                        BALTIMORE          MD      21202
                                                                  CHARLES CENTER 22ND FLOOR
ANDRACCHIO, FEDERICO            ANGELOS PETER G LAW OFFICES OF    100 N CHARLES STREET, ONE                                                         BALTIMORE          MD      21202
                                                                  CHARLES CENTER 22ND FLOOR
ANDRACKE, GERARD L              41742 EHRKE DR                                                                                                      CLINTON TWP        MI      48038‐1857
ANDRADA, MICHAEL D              830 2ND ST                                                                                                          FENTON             MI      48430‐4112
ANDRADE EDWARD (442965)         BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                                     NORTHFIELD         OH      44067
                                                                  PROFESSIONAL BLDG
ANDRADE PATRICIA                26527 SOUTHEAST 22ND STREET                                                                                         SAMMAMISH          WA      98075‐7967
ANDRADE RAUL                    390 SLADE AVE                                                                                                       ELGIN              IL      60120‐2968
ANDRADE, BARRY M                APT 2                             10 PARKWAY AVENUE                                                                 CINCINNATI         OH      45216‐1452
ANDRADE, CARLOS                 911 HUNTERS POINTE LN                                                                                               BOWLING GREEN      KY      42104‐7212
ANDRADE, EDWARD                 BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD, BEVAN                                                      NORTHFIELD         OH      44067
                                                                  PROFESSIONAL BLDG
ANDRADE, ELSA                   34991 CAMBRIDGE DR                                                                                                  N RIDGEVILLE       OH      44039‐3982
ANDRADE, ENRIQUE                1971 E HARRISON ST                                                                                                  CHANDLER           AZ      85225‐9050
ANDRADE, FRANCISCO A            34991 CAMBRIDGE DRIVE                                                                                               N RIDGEVILLE       OH      44039‐3982
ANDRADE, GENEVIEVE              8606 DUKE CT E                                                                                                      BOYNTON BEACH      FL      33436‐7512
ANDRADE, GEORGE J               21469 RIZZO AVE                                                                                                     CASTRO VALLEY      CA      94546‐6223
ANDRADE, GILBERT                COOK YSURA BARTHOLOMEW BRAUER &   12 W LINCOLN ST                                                                   BELLEVILLE         IL      62220‐2018
                                SHELVIN LTD
ANDRADE, GILBERT                DAVIS THOMAS LAW OFFICE OF        2623 ELISHA AVE                                                                   ZION                IL     60099‐2607
ANDRADE, HECTOR                 1616 FOLKSTONE ROAD NORTHEAST                                                                                       ATLANTA             GA     30329‐1307
ANDRADE, JENNIFER
ANDRADE, JOE L                  15840 MONTEREY ST                                                                                                   SOUTHGATE          MI      48195‐2783
ANDRADE, JOE N                  3317 NW 30TH ST                                                                                                     FORT WORTH         TX      76106‐3411
ANDRADE, JOHN P                 5678 SHULL ST SPC 17                                                                                                BELL GARDENS       CA      90201‐6164
ANDRADE, JOSE                   171 GLENEIDA RIDGE RD                                                                                               CARMEL             NY      10512‐1008
ANDRADE, JOSEPH B               6 MACKIN ST                                                                                                         HUDSON             MA      01749‐1816
ANDRADE, JOSEPHINE Y            3505 CAMBREY DR                                                                                                     LANSING            MI      48906‐3514
ANDRADE, LIUVA                  3447 83RD ST                                                                                                        JACKSON HTS        NY      11372‐3054
ANDRADE, LUCILLE                307 WINDHAVEN CT                                                                                                    ENGLEWOOD          OH      45322‐2239
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Name                        Address1                       Address2               Address3         Address4                  City               State Zip
ANDRADE, LYNN
ANDRADE, MANUEL             8 ELIZABETH PL                                                                                   YONKERS            NY    10703‐1702
ANDRADE, MARCOS R           3435 S 56TH CT                                                                                   CICERO             IL    60804‐3831
ANDRADE, MARGARITO E        1245 N ALESSANDRO ST                                                                             BANNING            CA    92220‐2213
ANDRADE, NINA M             15074 ROBIN ST                                                                                   SAN LEANDRO        CA    94578‐1967
ANDRADE, PERRY L            9264 BENNINGTON WAY                                                                              DAYTON             OH    45458
ANDRADE, RAMON              525 NW 109TH AVE                                                                                 PEMBROKE PINES     FL    33026‐4026
ANDRADE, RAYMOND            15 MASSASOIT AVE                                                                                 SWANSEA            MA    02777‐2526
ANDRADE, RONALD A           2524 EARLE AVE                                                                                   ROSEMEAD           CA    91770
ANDRADE, RUBEN              APT E4                         2540 CENTRAL STREET                                               DETROIT            MI    48209‐1139
ANDRADE, RUBEN              2540 CENTRAL AVE APT E4                                                                          DETROIT            MI    48209
ANDRAE D PATTERSON          5213 BROMWICK DR                                                                                 DAYTON             OH    45426‐1909
ANDRAE KELLEY               817 HONTLEY DR                                                                                   ARLINGTON          TX    76001‐6151
ANDRAE PATTERSON            5213 BROMWICK DR                                                                                 DAYTON             OH    45426‐1909
ANDRAE WRIGHT               23 NEWELL STREET                                                                                 SAVANNAH           GA    31415‐2123
ANDRAKO, GERALD E           721 SW SAN SALVADORE CV                                                                          SAINT LUCIE WEST   FL    34986‐3449
ANDRAKOWICZ, MARGUERITE C   26304 M 43                                                                                       MATTAWAN           MI    49071‐8755
ANDRAKULIC JR, WILLIAM G    1216 94TH ST                                                                                     NIAGARA FALLS      NY    14304‐2609
ANDRAKULIC, WILLIAM         1216 94TH ST                                                                                     NIAGARA FALLS      NY    14304‐2609
ANDRAS FIZER                2877 PARADISE RD UNIT 2106                                                                       LAS VEGAS          NV    89109‐5254
ANDRAS LOSHONCY             40426 MARCIA ST                                                                                  FREMONT            CA    94538‐2861
ANDRAS SURANYI              69‐122 LAKESHORE RD                                                    ST CATHARINES ON L2N6N6
                                                                                                   CANADA
ANDRAS, DONALD J            9356 ASBURY LN                 PIONEER RIDGE                                                     N RIDGEVILLE       OH    44039‐9731
ANDRAS, GERALD              49825 HIDDEN VALLEY DR                                                                           MACOMB             MI    48044‐6124
ANDRAS, SARAH C             242 BON AIR AVENUE                                                                               ELYRIA             OH    44035‐4116
ANDRASEK, MARILYN K         19 WINDRIDGE                                                                                     ALISO VIEJO        CA    92656‐1358
ANDRASH, MARIA              28860 WARNER AVE                                                                                 WARREN             MI    48092‐2423
ANDRASH, MYRON              2615 FRANKLIN PARK DR                                                                            STERLING HEIGHTS   MI    48310‐2384
ANDRASH, STEFAN             28860 WARNER AVE                                                                                 WARREN             MI    48092‐2423
ANDRASIK, JOHN A            1228 MAYFAIR DR                                                                                  SEVEN HILLS        OH    44131‐1613
ANDRASKO, KAREN D           8517 GAINSFORD LANE                                                                              NOLENSVILLE        TN    37135‐4018
ANDRASKO, STEVEN J          30175 OLD PLANK RD                                                                               WIXOM              MI    48393‐2215
ANDRASKO, WILLIAM C         8517 GAINSFORD LN                                                                                NOLENSVILLE        TN    37135‐4018
ANDRASSY, EDWARD            6148 CABRINI LN                                                                                  SEVEN HILLS        OH    44131‐2847
ANDRASY, LESTER F           200 S NURSERY ST                                                                                 LAWTON             MI    49065‐9723
ANDRE A ARMSTER             307 RAEBURN ST                                                                                   PONTIAC            MI    48341‐3051
ANDRE A ESPINO              8007 3RD ST                                                                                      DETROIT            MI    48202‐2420
ANDRE ALLEMAN               18873 NW 23 PLACE                                                                                PEMBOKE PINES      FL    33029
ANDRE ALLEN                 9157 SOFTWATER WOODS DR                                                                          CLARKSTON          MI    48348‐4265
ANDRE ANDER                 IN DEN                                                                                           LEICHLINGEN        DE
ANDRE ANDRE                 6177 WINTER DR                                                                                   CANTON             MI    48187‐3640
ANDRE ARMSTER               307 RAEBURN ST                                                                                   PONTIAC            MI    48341‐3051
ANDRE AUDOUARD              4, RUE DU VERT COTEAU          57330 ENTRANGE         FRANCE
ANDRE B MOORE               PO BOX 134                                                                                       FLINT               MI   48501‐0134
ANDRE BEER
ANDRE BELANGER              PO BOX 136                                                                                       SIDNAW              MI   49961‐0136
ANDRE BRAUKMANN             SEEHOFSTRASSE 15A              60594 FRANKFURT        GERMANY                                    FRANKFURT                60594
ANDRE BRAUKMANN             SEEHOFSTRASSE 15A                                                      60594 FRANKFURT GERMANY

ANDRE BRUNAUD               9 ALLEE DES BESSES             36200 LE MENAUX
ANDRE BULTERYS              3524 GLASGOW LN                                                                                  KESWICK             VA   22947‐2748
ANDR╔ BURKART               RIETBRUNNEN 43                                                         PF─FFIKON 8808
                                                                                                   SWITZERLAND
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Name                 Address1                         Address2               Address3         Address4                  City               State   Zip
ANDRE CARTER         609 ATLANTIC N.E.                                                                                  WARREN              OH     44483‐3811
ANDRE CHASSE         4013 OXFORD GLEN DR                                                                                FRANKLIN            TN     37067‐5829
ANDRE CHATMAN        16677 MARLOWE ST                                                                                   DETROIT             MI     48235‐4513
ANDRE CLARK          406 MAGNOLIA RIDGE DR                                                                              JOPPA               MD     21085‐4351
ANDRE COLEMAN        3133 OAK CT                                                                                        ANDERSON            IN     46011‐3950
ANDRE CONRAD
ANDRE CORNELISSEN    59425 JULIE LN                                                                                     NEW HAVEN           MI     48048‐2070
ANDRE CRUZ           901 S PARK AVE                                                                                     LINDEN              NJ     07036‐1647
ANDRE CUCCIARRE
ANDRE D BUTLER       1816 LITCHFIELD AVE                                                                                DAYTON             OH      45406
ANDRE D JOHNSON      59 SEWARD ST APT 1015                                                                              DETROIT            MI      48202‐4435
ANDRE D RANDALL      5900 BRIDGE RD APT 906                                                                             YPSILANTI          MI      48197‐6935
ANDRE D SMILEY       210 OVERLOOK PL                                                                                    COLUMBIA           TN      38401‐4962
ANDRE DAVENPORT      5812 ERICSSON WAY                                                                                  TROTWOOD           OH      45426‐1692
ANDRE DAY            PO BOX 215                                                                                         BANGOR             MI      49013‐0215
ANDRE DUMOSCH        4381 HIGHWAY 79                                                                                    VERNON             FL      32462‐3730
ANDRE DUNCAN         574 GRIFFIN ST NW                                                                                  ATLANTA            GA      30318‐6834
ANDRE DUPERRY        PO BOX 443                                                                                         SOUTHFIELD         MI      48037‐0443
ANDRE E GORDON       2957 SPRING FALLS DR                                                                               W CARROLLTON       OH      45449‐3465
ANDRE FRANCE         21920 KENOSHA ST                                                                                   OAK PARK           MI      48237‐3500
ANDRE GAGNON         4100 STEEPLE CHASE DR                                                                              MYRTLE BEACH       SC      29588‐7830
ANDRE GIBSON         8305 N WARWICK CT                                                                                  YPSILANTI          MI      48198‐8405
ANDRE GIROUARD       33878 AU SABLE DR                                                                                  CHESTERFIELD       MI      48047‐4390
ANDRE GRANT          15241 NORTHFIELD BLVD                                                                              OAK PARK           MI      48237‐1581
ANDRE H BELANGER     P.O. BOX 136                                                                                       SIDNAW             MI      49961‐0136
ANDRE HARRISON       1201 FORT ST APT 905                                                                               LINCOLN PARK       MI      48146‐1830
ANDRE HARTSFIELD     15775 FERGUSON ST                                                                                  DETROIT            MI      48227‐1568
ANDRE HARVEY         PO BOX 307                                                                                         ENGLEWOOD          OH      45322‐0307
ANDRE HARVEY         913 HILE LANE                                                                                      ENGLEWOOD          OH      45322
ANDRE HAWKRIDGE      FELDGERICHTSTRASSE 4                                                     60320 FRANKFURT GERMANY

ANDRE HOBSON         6837 GARFIELD AVE                                                                                  KANSAS CITY         KS     66102‐1032
ANDRE HOLLOWAY       9216 DEVONSHIRE RD                                                                                 DETROIT             MI     48224‐2585
ANDRE HONAKER JR     601 EDENBURG DR                                                                                    COLUMBIA            TN     38401‐5205
ANDRE HUGUENIN       CHEMIN DE VASSIN 56                                                                                LA TOUR DE PEILZ           1814
ANDRE I WASHINGTON   243 RACHEL CT                                                                                      FRANKLIN PARK      NJ      08823
ANDRE J JOHNSON      111 W 38TH ST                                                                                      WILMINGTON         DE      19802‐2725
ANDRE JACKSON        262 DEMOREST RD                                                                                    COLUMBUS           OH      43204‐1125
ANDRE JACKSON        1101 CALDWELL AVE                                                                                  FLINT              MI      48503‐1246
ANDRE JENKINS        2216 N FAIRVIEW LN                                                                                 ROCHESTER HILLS    MI      48306‐3930
ANDRE JOHNSON        111 W 38TH ST                                                                                      WILMINGTON         DE      19802‐2725
ANDRE JONES          G3100 MILLER RD APT 5B                                                                             FLINT              MI      48507‐1309
ANDRE JORDAN         3601 CARROLLTON AVE                                                                                INDIANAPOLIS       IN      46205‐3541
ANDRE K PIERCE JR    5570 OLIVE TREE DR                                                                                 DAYTON             OH      45426‐1311
ANDRE KABAKOW        KIESMUELLERSTR. 20               81549 MUNICH
ANDRE KABAKOW        KIESMUELLERSTR. 20                                                       81549 MUNICH GERMANY
ANDR╔ KABAKOW        KIESMUELLERSTR. 20               81549 MUNICH
ANDRE KAZEWYCH       17303 BLACK PINE DR                                                                                NORTHVILLE         MI      48168‐4360
ANDRE L BEDINGER     6205 MELVIN AVE                                                                                    DAYTON             OH      45427
ANDRE L BROWN JR     PO BOX 320366                                                                                      FLINT              MI      48532‐0007
ANDRE L CALDWELL     5023 QUINCY WAY                                                                                    DAYTON             OH      45427‐2149
ANDRE L EDISON       100 W BEVERLY AVE                                                                                  PONTIAC            MI      48340‐2620
ANDRE L SIBLEY       1385 E DOWNEY AVE                                                                                  FLINT              MI      48505‐1731
ANDRE LAMBERT        365 MOWRY ST                                                                                       HARRISVILLE        RI      02830‐1425
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Name                                   Address1                     Address2                     Address3   Address4                City            State   Zip
ANDRE LAROCHE PHOTOGRAPHY INC          27500 DONALD CT                                                                              WARREN           MI     48092‐5900
ANDRE LAURIN                           4361 E MOUNT MORRIS RD                                                                       MOUNT MORRIS     MI     48458‐8978
ANDRE LEDOUX                           547 CLINTON ST APT 905                                                                       WOONSOCKET        RI    02895‐3234
ANDRE LEFELURE                         31932 VEGAS                                                                                  WARREN           MI     48093
ANDRE LONG                             130 SEMINOLE ST APT 6                                                                        PONTIAC          MI     48341‐1673
ANDR╔ LUIZ BELLEN LEITE
ANDRE LUSSIER                          5951 ROBERTA PL                                                                              HARRISBURG       NC     28075‐8404
ANDRE M TAYLOR                         3906 FOREST HILL AVE                                                                         FLINT            MI     48504‐3518
ANDRE M WILANOWSKI                     3914 CLINTONVILLE RD                                                                         WATERFORD        MI     48329‐2421
ANDRE MAIWORM                          IN DEN WEIDEN 6                                                                              LEICHLINGEN             42799
ANDRE MARCOUILLER                      3892 KEDRON RD                                                                               SPRING HILL     TN      37174‐2155
ANDRE MARTINELLI                       53 FAIRCHILD PL                                                                              BUFFALO         NY      14216‐2726
ANDRE MCGARRITY                        20858 REDMOND AVE                                                                            EASTPOINTE      MI      48021‐2978
ANDRE MOORE                            PO BOX 134                                                                                   FLINT           MI      48501‐0134
ANDRE MORALES                          328 SOUTH STEWART AVENUE                                                                     LOMBARD         IL      60148‐2763
ANDRE P PHILLIPS                       900 NEAL AVE.                                                                                DAYTON          OH      45406‐5258
ANDRE PATROUILLIE                      LEON BOEREBOOMLAAN 39                                                ZAVENTEM BELGIUM
ANDRE QUATTROCHI                       2586 CANOE CIRCLE DR                                                                         LAKE ORION      MI      48360‐1885
ANDRE R ALLIE                          2338 MONTGOMERY AVE NW                                                                       WARREN          OH      44485‐1420
ANDRE RUSSELL                          1460 GLOUCHESTER DR                                                                          JACKSON         MS      39212‐3830
ANDRE S HAWKINS                        800 UNION BLVD APT 203                                                                       ENGLEWOOD       OH      45322‐2112
ANDRE SAMUEL                           9655 BRADY                                                                                   REDFORD         MI      48239‐2065
ANDRE SANDERS                          26570 ISLEWORTH PT                                                                           SOUTHFIELD      MI      48034‐5667
ANDRE SCHAFER                          5325 SEYMOUR RD                                                                              SWARTZ CREEK    MI      48473‐1031
ANDRE SCHUMACHER                       IM BLA BLA                                                                                   MUSTERSTADT             5555
ANDRE SCOTTA                           32541 PARKER CIR                                                                             WARREN          MI      48088‐1510
ANDRE SMILEY                           210 OVERLOOK PL                                                                              COLUMBIA        TN      38401‐4962
ANDRE SMITH                            9709 LORNA LANE                                                                              SAINT LOUIS     MO      63136‐1906
ANDRE SPANN                            9172 EDNA ST                                                                                 SAINT LOUIS     MO      63137‐1106
ANDRE STUER                            6 BURGESS DR                                                         TEWANTIN QLD 4565
                                                                                                            AUSTRALIA
ANDRE T LAREAU II AND MARY E LAREAU,   111 SOUTH ROAD                                                                               ENFIELD          CT     06082
JT
ANDRE TAYLOR                           3906 FOREST HILL AVE                                                                         FLINT           MI      48504‐3518
ANDRE TESSIER                          45 MAPLE HILL RD                                                                             PASCOAG         RI      02859‐1703
ANDRE THROWER                          1029 N BENTALOU ST                                                                           BALTIMORE       MD      21216‐4502
ANDRE TOMS                             779 S CHESTERFIELD RD                                                                        COLUMBUS        OH      43209‐2630
ANDRE TORDJMAN                         HAUPTSTRASSE 9                                                                               BILKHEIM                56414
ANDR╔ TORDJMAN                         HAUPTSRASSE 9                                                                                BILKHEIM                56414
ANDRE TOTH                             37 E RUTGERS AVE                                                                             PONTIAC          MI     48340‐2749
ANDRE TRACEY                           ANDRE, TRACEY                30 E BUTLER AVE                                                 AMBLER           PA     19002‐4514
ANDRE TURNER                           2120 WALLIE ANN CT                                                                           LOUISVILLE       KY     40210‐2234
ANDRE VANDEPIEPERZEEL                  RUE DE LA VOILE18
ANDRE VISSER                           6420 TANGLEWOOD LN                                                                           GRAND BLANC     MI      48439‐9714
ANDRE WATTS                            4296 WOODSTREAM DR                                                                           YPSILANTI       MI      48197‐6039
ANDRE WILANOWSKI                       3914 CLINTONVILLE RD                                                                         WATERFORD       MI      48329‐2421
ANDRE WILLIAMS                         12195 NORTHLAWN ST                                                                           DETROIT         MI      48204‐5400
ANDRE WILLIS                           15853 ROBSON ST                                                                              DETROIT         MI      48227‐2642
ANDRE WIZNER                           104 RIVERSIDE DR                                                                             MOUNT CLEMENS   MI      48043‐2513
ANDRE' ALLEN                           177 E WILSON AVE                                                                             PONTIAC         MI      48341
ANDRE' AUTOMOTIVE                      295 WILMETTE AVE                                                                             ORMOND BEACH    FL      32174‐5205
ANDRE' BERT                            APT 102                      9400 OWINGS HEIGHTS CIRCLE                                      OWINGS MILLS    MD      21117‐6388
ANDRE' DAVENPORT                       5761 WESTWOOD XING APT G                                                                     TROTWOOD        OH      45426‐1674
ANDRE' DEBOER                          2724 FLOWERSTONE DR                                                                          DAYTON          OH      45449‐3217
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Name                         Address1                          Address2                      Address3               Address4                 City           State   Zip
ANDRE' JOHNSON               2808 SILVER PINE LN                                                                                             SHREVEPORT      LA     71108‐5544
ANDRE' L BARKER              605 DELAWARE AVE APT 1                                                                                          DAYTON          OH     45405
ANDRE' L HOWARD              4051 SAN MARINO STREET                                                                                          KETTERING       OH     45440
ANDRE' L TAYLOR              2529 MALVERN AVE                                                                                                DAYTON          OH     45406‐1949
ANDRE' M LOVETT              1233 VERNON DR                                                                                                  DAYTON          OH     45402‐5715
ANDRE' MCGEE                 21280 LAHSER RD APT 204                                                                                         SOUTHFIELD      MI     48033‐4428
ANDRE' P WILLIAMSON          75 ADAMS COURT                                                                                                  CORTLAND        OH     44410
ANDRE' WHITE                 5610 BUNCOMBE RD APT 316                                                                                        SHREVEPORT      LA     71129‐2689
ANDRE, ANDRE L               6177 WINTER DR                                                                                                  CANTON          MI     48187‐3640
ANDRE, ANTONIO               27557 CAMPANA CIR                                                                                               TEMECULA        CA     92591‐2845
ANDRE, ANTONIO               9032 TRISTAN DR                                                                                                 GARDEN GROVE    CA     92841‐2414
ANDRE, DARLENE B             5740 N NOPAH VISTA AVE                                                                                          PAHRUMP         NV     89060‐1737
ANDRE, DIANE P               2972 ASHCROFT DR                                                                                                LAKE            MI     48632
ANDRE, FRED A                2951 N 73RD ST                                                                                                  MILWAUKEE       WI     53210‐1066
ANDRE, FREDERICK C           5186 NORTHWOOD RD                                                                                               GRAND BLANC     MI     48439‐3432
ANDRE, JEFFREY L             3573 E LAKE DR                                                                                                  METAMORA        MI     48455‐8725
ANDRE, MARC S                275 W LOMA VISTA ST                                                                                             GILBERT         AZ     85233‐8925
ANDRE, MARILYN J             446 CAROLYN DR                                                                                                  MIAMISBURG      OH     45342‐2614
ANDREA ABBOTT                6621 AMBOY ST                                                                                                   DEARBORN HTS    MI     48127‐3903
ANDREA ACKELS                7265 E JOHNSON RD RT2                                                                                           ASHLEY          MI     48806
ANDREA ALI                   29097 ROYCROFT ST                                                                                               LIVONIA         MI     48154‐3803
ANDREA ALVARADO              4721 NORWOOD LANE                                                                                               TOBY HANNA      PA     18466
ANDREA ANSON                 6365 STONEGATE PKWY                                                                                             FLINT           MI     48532‐2153
ANDREA ARTIS                 12157 LAURELWOOD DR                                                                                             INDIANAPOLIS    IN     46236‐8192
ANDREA B STANFORD            9532 HOLLY OAK DR                                                                                               SHREVEPORT      LA     71118‐4735
ANDREA BARGABUS              4292 GILBERT RD                                                                                                 VALE            NC     28168‐8723
ANDREA BAYUS                 2490 ANDREWS DR NE                                                                                              WARREN          OH     44481‐9341
ANDREA BECERRA GARCIA        15395 GRATIOT RD                                                                                                HEMLOCK         MI     48626‐9417
ANDREA BEIERLEIN             AM HERRENWEIHER 3                                                                      91180 HEIDECK GERMANY
ANDREA BENSCOTER             3019 SILVERSTONE LN                                                                                             WATERFORD      MI      48329‐4540
ANDREA BERECEK               4116 YORK ST                                                                                                    FARMDALE       OH      44417‐9727
ANDREA BERNA C (ESTATE OF)   EARLY LUDWICK & SWEENEY, L.L.C.   ONE CENTURY TOWER, 11TH FLOOR,                                                NEW HAVEN      CT      06510
                                                               265 CHURC
ANDREA BERNA C (ESTATE OF)   EARLY LUDWICK & SWEENEY, L.L.C    ONE CENTRY TOWER, 11TH FLOOR,                                                 NEW HAVEN       CT     06510
                                                               265 CHURCH
ANDREA BERNA C ESTATE OF     EARLY LUDWICK & SWEENEY LLC       ONE CENTURY TOWER 11TH FLOOR 265 CHURCH STREET                                NEW HAVEN       CT     06510
ANDREA BERTOCCHI             VIA WALTER TOBAGI 7/I             20090, BUCCINASCO              (MILANO)
ANDREA BERTOCCHI             VIA WALTER TOBAGI 7/I             20090                          BUCCINASCO (MILANO)
ANDREA BETANCOURT            8 RED BIRCH LANE                                                                                                PALM COAST      FL     32164
ANDREA BLACK                 405 LIGHT TOWER CT                                                                                              BELLEVILLE      MI     48111‐4476
ANDREA BOCKS                 NIEDERSCHWARZBACH 14                                                                   METTMANN 40822 GERMANY

ANDREA BONTUMASI             1317 ASPEN CT                                                                                                   FLINT          MI      48507‐3200
ANDREA BOWDEN                2500 MANN RD LOT 165                                                                                            CLARKSTON      MI      48346‐4251
ANDREA BRADACS               18382 PORT SALEM DR                                                                                             MACOMB         MI      48044‐6115
ANDREA BRAY                  1224 TROTWOOD AVE                 C/O MAURY REGIONAL HOSPITAL   931‐381‐1111                                    COLUMBIA       TN      38401
ANDREA BRAY                  MAURY REGIONAL HOSPITAL           1224 TROTWOOD AVENUE          931‐381‐1111                                    COLUMBIA       TN      38401
ANDREA BRAY                  C/O MAURY REGIONAL HOSPITAL       1224 TROTWOOD AVE                                                             COLUMBIA       TN      38401
ANDREA BRAY                  MAURY REGIONAL HOSPITAL           3224 TROTWOOD AVE                                                             COLUMBIA       TN      38401
ANDREA BROWN                 351 KENDALL AVE APT 4                                                                                           CAMPBELL       OH      44405‐2025
ANDREA BUDELACCI             VIA DELLA RESISTENZA 15
ANDREA C DUNNE               11125 MONTICELLO RD                                                                                             HAZLEHURST     MS      39083‐9105
ANDREA C SULLENGER           PO BOX 295                                                                                                      INTERLOCHEN    MI      49643‐0295
ANDREA CANABAL               23 HIGHLAND DR                                                                                                  LIVINGSTON     NJ      07039‐2808
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Name                      Address1                        Address2                     Address3                Address4                  City               State Zip
ANDREA CAPRIOLI           VIALE P╥ N.47/B                                                                                                ARDEA‐ ROMA              00040
ANDREA CAPRIOLI           VIALE PO' N.47/B                                                                                               ARDEA‐ ROMA              00040
ANDREA CAROTHERS          115 VALLEYBROOK AVE                                                                                            BOWLING GREEN       KY 42101‐5030
ANDREA CARSON             502 EDGEWATER DR                                                                                               KOKOMO              IN 46902‐3524
ANDREA CHRISTENSEN        4005 FOUR LAKES AVE                                                                                            LINDEN              MI 48451‐9480
ANDREA CLARK              4666 BRIGHTMORE RD                                                                                             BLOOMFIELD HILLS    MI 48302‐2122
ANDREA COPPOLA            37683 COLONIAL DR                                                                                              WESTLAND            MI 48185‐1003
ANDREA CORTRECHT‐MOONEY   1006 LANCASHIRE LN                                                                                             PENDLETON           IN 46064‐9127
ANDREA CRAWFORD           7957 NW HIGHWAY U                                                                                              GOWER               MO 64454‐9404
ANDREA D BERECEK          4116 YORK STREET N.E.                                                                                          FARMDALE            OH 44417‐9727
ANDREA D BROOKS           370 CROCKETT DR                                                                                                SPRINGBORO          OH 45066
ANDREA D HALL             59 SEWARD ST APT 201                                                                                           DETROIT             MI 48202‐2430
ANDREA D HARMON‐JETT      93 SEWARD ST APT 204                                                                                           DETROIT             MI 48202‐4419
ANDREA D MCCALLUM         1635 NEWTON AVE.                                                                                               DAYTON              OH 45406‐4111
ANDREA D ROEBUCK          1035 SUPERIOR AVE                                                                                              DAYTON              OH 45402
ANDREA DALY               1807 CASPIAN DR                                                                                                CULLEOKA            TN 38451‐2088
ANDREA DAVIS              4734 4TH STREET                                                                                                COLUMBIAVILLE       MI 48421‐7712
ANDREA DAWSON             BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                                     BOSTON HTS.         OH 44236
ANDREA DETTMAR            C/O ADELHEID GUNDLACH           KREUZWEG 21                                          31582 NIENBURG/WESER AR
                                                                                                               GERMANY
ANDREA DI STASIO          26 MARBLE CIR                                                                                                  ROCHESTER          NY    14615‐1338
ANDREA DIEMUNSCH          4124 LEFEVRE DR                                                                                                KETTERING          OH    45429‐3220
ANDREA DOYLE              767 FIFTH AVE 14TH FLOOR                                                                                       NEW YORK           NY    10153
ANDREA DUNNE              11125 MONTICELLO RD                                                                                            HAZLEHURST         MS    39083‐9105
ANDREA E BEHM             3837 MARSHALL RD                                                                                               DAYTON             OH    45429
ANDREA E CATO             PO BOX 03094                                                                                                   HIGHLAND PARK      MI    48203‐0094
ANDREA E JOHNSON          48 VILLAGE TRL                                                                                                 HONEOYE FALLS      NY    14472
ANDREA E MCKINNON         4605 MERCER CT.                                                                                                FORT WAYNE         IN    46016‐2283
ANDREA E OLLIVIERRA       241 HORTON ST                                                                                                  DETROIT            MI    48202‐3113
ANDREA E WATSON           4126 W KRALL ST                                                                                                PHOENIX            AZ    85019‐1221
ANDREA EBBITT             56359 SUMMIT DR                                                                                                SHELBY TOWNSHIP    MI    48316‐5848
ANDREA ELECTRONICS CORP   65 ORVILLE DR STE 1                                                                                            BOHEMIA            NY    11716‐2517
ANDREA ELECTRONICS CORP   RICK CAMPBELL                   ANDREA RADIO                 45 MELVILLE PARK ROAD                             PARIS              IL    61944
ANDREA ENGEL              DR STEINHUBEL & V BUTTLAR       LOEFFELSTRASSE 44                                    70597 STUTTGART GERMANY
                          RECHTSANWALTE
ANDREA F ARTIS            12157 LAURELWOOD DR                                                                                            INDIANAPOLIS       IN    46236
ANDREA F CASHMAN          712 ALLENVIEW DR                                                                                               MECHANICSBURG      PA    17055
ANDREA F STEVERSON        5274 BERKSHIRE ST                                                                                              DETROIT            MI    48224‐3206
ANDREA FANTOZZI           VIA SABOTINO N░ 53                                                                                             LATINA                   04100
ANDREA FERGUSON           320 EAST ADAM STREET                                                                                           FRANKLIN            IN   46131
ANDREA FERRAROM           BSI SA                          VIA MAGAM 2                                          CH 6901 LUGANO
                                                                                                               SWITZERLAND
ANDREA FILIPKOWSKI
ANDREA FINCO              VIA GORNE, 15                   35040 CARCERI (PD)
ANDREA FLEWELLING         4401 HOMEGARDNER RD                                                                                            SANDUSKY           OH    44870‐9786
ANDREA FOWLER             35 ONEIDA ST                                                                                                   PONTIAC            MI    48341‐1624
ANDREA FRAZIER            14 WOLF CREEK TRL                                                                                              SAINT PETERS       MO    63376‐1752
ANDREA FREUNDLIEB         GRUNEWALDSTRA▀E 91              10823 BERLIN
ANDREA FREUNDLIEB         GRUNEWALDSTR 91                                                                      BERLIN 10823, GERMANY
ANDREA FREUNDLIEB         GRUNEWALDSTR.91                                                                                                BERLIN                   10823
ANDREA G PREWITT          2745 CARTERS CREEK STATION RD                                                                                  COLUMBIA           TN    38401‐7308
ANDREA GAILLIARD          17398 CORNELL RD                                                                                               SOUTHFIELD         MI    48075‐4276
ANDREA GANN               5B CAWLEY AVE                                                                                                  BETHEL             CT    06801‐1809
ANDREA GAUSS              GARTENSTR. 37                   72074
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Name                      Address1                           Address2             Address3         Address4                  City              State Zip
ANDREA GAUSS              GARTENSTRASSE 37                                                         72074 TUEBINGEN GERMANY

ANDREA GEARING            2810 GAINESWAY CT                                                                                  CUMMING           GA    30041‐6311
ANDREA GILLETT            32078 RIVERDALE ST                                                                                 HARRISON          MI    48045‐2896
                                                                                                                             TOWNSHIP
ANDREA GLASS              100 MANSFIELD AVE                                                                                  SHELBY            OH    44875‐1648
ANDREA GONZALES           38491 MEADOWLAWN ST                                                                                WAYNE             MI    48184‐1020
ANDREA GOODMAN            2311 HOSMER ST                                                                                     SAGINAW           MI    48601‐1517
ANDREA GROOVER            82 FALCON TRL                                                                                      PITTSFORD         NY    14534‐2460
ANDREA GROSSKOPF          3292 BURDICK RD                                                                                    FRIENDSHIP        NY    14739‐8778
ANDREA GUERCINI           VIA PIO FO└, 49                    00152 ROMA
ANDREA GUTIERREZ          835 LORI AVE                                                                                       SUNNYVALE          CA   94086‐4801
ANDREA HADLEY             4247 N 635 W                                                                                       HUNTINGTON         IN   46750‐8979
ANDREA HALES              128 FOUNTAIN TRACE DR                                                                              BOWLING GREEN      KY   42103‐6006
ANDREA HARRIS‐SCHOCKE     4153 E CENTERLINE RD                                                                               SAINT JOHNS        MI   48879‐8102
ANDREA HARZEWSKI          43 DEL CT W                                                                                        LOCKPORT           NY   14094‐8921
ANDREA HEIBERG            3496 E VAUGHN AVE                                                                                  GILBERT            AZ   85234‐4245
ANDREA HEIDELDRT          BOX 795                                                                                            CROSS CITY         FL   32628
ANDREA HEIN               SENNEGARTEN 26                                                           38667 BAD HARZBURG
                                                                                                   GERMANY
ANDREA HELD               16065 WELLWOOD RD                                                                                  TIPTON             MI   49287‐9631
ANDREA HERRICK            1504 PINE AVE                                                                                      MANHATTAN BEACH    CA   90266‐5044

ANDREA HERZOG             ANNASTR 38                                                               D‐45130 ESSEN GERMANY
ANDREA HOPKINS            7865 INW ROANRAIGE RD.                                                                             KANSAS CITY       MO    64151
ANDREA J DUHOW            3522 DRUM RD                                                                                       MIDDLEPORT        NY    14105‐9742
ANDREA J GROSSKOPF        3292 BURDICK RD                                                                                    FRIENDSHIP        NY    14739‐8778
ANDREA J LONG             3200 S TERM ST                                                                                     BURTON            MI    48529‐1011
ANDREA J STEVENS          PO BOX 344                                                                                         CLAYTON           OH    45315‐0344
ANDREA JACKSON            24661 KENOSHA ST                                                                                   OAK PARK          MI    48237‐1421
ANDREA JAMISON            17515 MUIRLAND ST                                                                                  DETROIT           MI    48221‐2710
ANDREA JOHNSON            2939 CELIAN DR                                                                                     GRAND PRAIRIE     TX    75052‐8738
ANDREA JOHNSON            5009 GLENROSE DRIVE                                                                                COLUMBIA          TN    38401‐4955
ANDREA JORDAN             5844 HAVERHILL DR                                                                                  LANSING           MI    48911‐4808
ANDREA K MEFFE            1067 STATE RD NW                                                                                   WARREN            OH    44481‐9134
ANDREA KAYSEN             PO BOX 1758                                                                                        NEW SMYRNA        FL    32170‐1758
ANDREA KAYSEN             PO BOX 1758                                                                                        NEW SMYRNA        FL    32170‐1758
ANDREA KESSLER            8871 FISHER RD                                                                                     AVOCA             MI    48006‐1125
ANDREA KIENER‐SCHNEIDER   RHANER ZELL 13                                                           D‐93488 SCHOENTHAL
                                                                                                   GERMANY
ANDREA KLINE              1015 CENTER AVE APT 4                                                                              BAY CITY           MI   48708‐5103
ANDREA KRUEGER            HAVERMANNSTIEG 6                                                         HAMBURG 22177 GERMANY

ANDREA KUHN               3817 LONG MEADOW LANE                                                                              LAKE ORION        MI    48359‐1443
ANDREA L BENSCOTER        7485 POINTE DR                                                                                     CANTON            MI    48187‐2225
ANDREA L CARTER           67 CUSTER ST                                                                                       ROCHESTER         NY    14611‐4032
ANDREA L ELLIS            2797 BRIMSTONE RD                                                                                  WILMINGTON        OH    45177
ANDREA L GILBERT          5024 MAYS AVE                                                                                      MORAINE           OH    45439‐2931
ANDREA L HORNE            PO BOX 5066                                                                                        KOKOMO            IN    46904‐5066
ANDREA L JONES            53 MARSTON ST APT 304                                                                              DETROIT           MI    48202‐2576
ANDREA L MACK             1718 SW PARKRIDGE DR                                                                               BLUE SPRINGS      MO    64015‐5494
ANDREA L MEDLEY           3401 VALERIE ARMS DR #C                                                                            DAYTON            OH    45405‐2147
ANDREA L NARTKER          433 LEWIS DR                                                                                       FAIRBORN          OH    45324
ANDREA L OCKENFELS        2292 YOUNGSTOWN KINGSVILLE RD NE                                                                   VIENNA            OH    44473‐9709
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Name                       Address1                           Address2              Address3         Address4                  City             State   Zip
ANDREA L POSTLETHWAIT      5433 WISNER HIGHWAY                                                                                 ADRIAN            MI     49221‐8516
ANDREA L POSTLETHWAIT      5433 WISNER HWY                                                                                     ADRIAN            MI     49221‐8516
ANDREA L SCHLABS           123 SMITH ST.                                                                                       NILES             OH     44446
ANDREA L SCHMIDT           411 W FEDERAL ST                                                                                    NILES             OH     44446
ANDREA L WENDLAND          PO BOX 320411                                                                                       FLINT             MI     48532‐0008
ANDREA LA BARBERA          VIA GROTTASANTA, 162               SIRACUSA                                                         ITALIA             IA    96100
ANDREA LA BARBERA          VIA GROTTASANTA 162                                                                                 SIRACUSA                 96100
ANDREA LACEY               1700 YARDLEY RD                                                                                     YARDLEY           PA     19067‐3237
ANDREA LAMARTINA           53 VINCE DR                                                                                         ROCHESTER         NY     14606‐3476
ANDREA LAMBRECHT           BIRKENWEG 7
ANDREA LAMBRECHT           SCHWARZSTRASSE 13‐15                                                      5020 SALZBURG AUSTRIA
ANDREA LAWITSCHKA‐LENDLE   DR STEINHUBEL & V BUTTLAR          LOEFFELSTRASSE 44                      70597 STUTTGART GERMANY
                           RECHTSANWALTE
ANDREA LEON                408 S OLDEN AVE                                                                                     TRENTON          NJ      08629‐1727
ANDREA LINDSEY             730 DIAMOND POINT PL                                                                                FORT WAYNE       IN      46804‐6426
ANDREA LOMBARDINI          58 VENICE CIR                                                                                       ROCHESTER        NY      14609‐1901
ANDREA LONG                3200 S TERM ST                                                                                      BURTON           MI      48529‐1011
ANDREA LOZANO              1909 ROBINSON ST                                                                                    IRVING           TX      75060‐5935
ANDREA LUCIDO              25246 JULIANNA DR                                                                                   CHESTERFIELD     MI      48051‐1972
ANDREA M CHARLTON          638 W FUNDERBURG RD                                                                                 FAIRBORN         OH      45324
ANDREA M GAILLIARD         17398 CORNELL RD                                                                                    SOUTHFIELD       MI      48075‐4276
ANDREA M KUHL              5900 BRIDGE RD APT 615                                                                              YPSILANTI        MI      48197‐7009
ANDREA M MCGIFFIN          140 NORDALE AVE                                                                                     DAYTON           OH      45420‐1738
ANDREA M MERIDETH          224 MATTY AVE                                                                                       SYRACUSE         NY      13211‐1633
ANDREA M RAMSEY            4636 PRESCOTT AVE                                                                                   DAYTON           OH      45406
ANDREA M ROBINSON          1101 N GRANT ST                                                                                     BAY CITY         MI      48708‐6050
ANDREA M SAVAGE            1412 CENTER AVE APT H                                                                               BAY CITY         MI      48708‐6174
ANDREA M SCHALL            3828 LITTLE YORK RD                                                                                 DAYTON           OH      45414
ANDREA M THOMAS            5106 COULSON DRIVE                                                                                  DAYTON           OH      45418
ANDREA M WILLIAMS          748 DORSET AVE                                                                                      YPSILANTI        MI      48198‐6142
ANDREA M WORTHAM           4811 OLD HICKORY PL                                                                                 DAYTON           OH      45426‐2152
ANDREA M YAKLIN            4425 S LINDEN RD                                                                                    FLINT            MI      48507‐2911
ANDREA MACK                1718 SW PARKRIDGE DR                                                                                BLUE SPRINGS     MO      64015‐5494
ANDREA MARCHIO'            VIA DANTE ALIGHIERI 20                                                    22070 LIMIDO COMASCO
                                                                                                     ITALY
ANDREA MAROCCHI            VIALE DELLA GRANDE MURAGLIA 289                                                                     ROME                     00144
ANDREA MARSACK             28749 APOLLO DR                                                                                     CHESTERFIELD      MI     48047‐4801
ANDREA MARTIN              3635 HIGHWAY 169                                                                                    MOORINGSPORT      LA     71060‐9403
ANDREA MCCOY               PO BOX 127                                                                                          BURLINGTON        IN     46915‐0127
ANDREA MCKELVEY            6220 SAPPHIRE CT                                                                                    GRAND BLANC       MI     48439‐7807
ANDREA MCKINNON            4605 MERCER CT.                                                                                     FORT WAYNE        IN     46816‐2283
ANDREA MEIER               8710 SUNDAY CT                                                                                      WILLIAMSBURG      MI     49690
ANDREA MISSAGLIA           VIA SAN VITO, 24                                                                                    MILANO (ITALY)    AK     20122
ANDREA MITCHELL
ANDREA MITCHELL            1625 ELLINGTON RD SE                                                                                CONYERS           GA     30013‐2189
ANDREA MONTANINO           VIALE LIEGI 49                                                                                      ROME                     00198
ANDREA MONTANINO           VIALE LIEGI, 49                                                                                     ROMA                     00198
ANDREA MOZOLIK             9358 E INDIGO MOUNTAIN WAY                                                                          VAIL              AZ     85641‐2752
ANDREA MUNZENBERGER        29591 MINTON ST                                                                                     LIVONIA           MI     48150‐6021
ANDREA NATION              22619 230TH AVE                                                                                     PARIS             MI     49338‐9428
ANDREA NATIVI              VIA DEI CADUTI 79                  LEIVI (GE) 16040
ANDREA NEBEL               SCHUBERTSTR. 6                                                            MAINZ 55130 GERMANY
ANDREA NERI                VIA CONCORDIA 12                                                                                    ROMA                     00183
ANDREA NEWBOLT             41570 W VILLAGE GREEN BLVD # 202                                                                    CANTON            MI     48187‐3862
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Name                           Address1                         Address2                        Address3   Address4                City               State   Zip
ANDREA NIX                     9311 MAPLE CANYON CT                                                                                ARLINGTON           TX     76002‐4601
ANDREA NORMAN                  1231 HOGAN RIDGE DR                                                                                 GRAYSON             GA     30017‐7914
ANDREA OAKES                   PO BOX 1039                                                                                         CUMMING             GA     30028‐1039
ANDREA OHINS                   5259 TWIN OAKS DR                                                                                   STERLING HEIGHTS    MI     48314‐3159
ANDREA OLIVER                  419 WINIFRED AVE                                                                                    LANSING             MI     48917‐2753
ANDREA OLIVER                  6822 REGENTS PARK BLVD                                                                              TOLEDO              OH     43617‐1247
ANDREA ORMANIAN                16183 CREST DR APT 4                                                                                LINDEN              MI     48451‐8699
ANDREA OSBURNE                 APT 101                          17701 MANDERSON ROAD                                               HIGHLAND PARK       MI     48203‐4020
ANDREA OVERSTREET              8633 MANOR DR                                                                                       FORT WAYNE          IN     46825‐2823
ANDREA PEDLEY                  6577 DALE ROAD                                                                                      NEWFANE             NY     14108‐9737
ANDREA PEDRAZZI                VIA GROSSI 17
ANDREA PESSINA
ANDREA PFUENDER                KARL‐THEODOR‐STRASSE 31A                                                    80803 M▄NCHEN GERMANY

ANDREA PF▄NDER                 KARL‐THEODOR‐STRA▀E 31A          80803 M▄NCHEN
ANDREA PIROCHTA                820 WALNUT ST                                                                                       OWOSSO              MI     48867‐4353
ANDREA PLEVAK                  2231 W MALLORY AVE                                                                                  MILWAUKEE           WI     53221
ANDREA POSTLETHWAIT            5433 WISNER HIGHWAY                                                                                 ADRIAN              MI     49221‐8516
ANDREA POWELL                  2396 HILLVALE CIR                                                                                   LITHONIA            GA     30058‐1823
ANDREA PREWITT                 2745 CARTERS CREEK STATION RD                                                                       COLUMBIA            TN     38401‐7308
ANDREA PRICKETT
ANDREA PROX                    3597 EVERETT HULL RD                                                                                CORTLAND           OH      44410‐9726
ANDREA P▄HRINGER               HAUPTPLATZ 10‐11                 A‐4020 LINZ                                                        LINZ
ANDREA PUTNAM                  41151 COLONIAL DR                                                                                   SORRENTO           LA      70778‐3432
ANDREA QUILIGOTTI              VIA 4 NOVEMBRE                                                                                      PONTREMOLI         MS      54027
ANDREA R BOWLIN                50 CONCORD CR                                                                                       SPRINGBORO         OH      45066‐8137
ANDREA R BRONSON               2601 GUERNSEY DELL AVE                                                                              DAYTON             OH      45404‐2304
ANDREA R BROWNING              5193 PUNDT RD                                                                                       LEWISBURG          OH      45338‐8938
ANDREA R DAWSON                726 E BOSTON AVE                                                                                    YOUNGSTOWN         OH      44502‐2420
ANDREA R HADLEY                4247 N 635 W                                                                                        HUNTINGTON         IN      46750‐8979
ANDREA R KESSLER               8871 FISHER RD                                                                                      AVOCA              MI      48006‐1126
ANDREA R SNELLER               1400 5TH ST APT 1                                                                                   BAY CITY           MI      48708‐6140
ANDREA RAYMOND JOHN (634450)   WEITZ & LUXENBERG                180 MAIDEN LANE                                                    NEW YORK           NY      10038
ANDREA REED                    6801 JEANELL LN                                                                                     ARLINGTON          TX      76001‐6754
ANDREA RICE
ANDREA RICHARDSON              13973 RENFREW CT                                                                                    STERLING HEIGHTS    MI     48312‐4248
ANDREA RIFE
ANDREA RINALDI                 VIA VAL BREMBANA 13                                                                                 ROMA                       00141
ANDREA RINALDI                 VIA VAL BREMBANA 13              BUSINESS.PLANNER@FASTWEBNET.I                                      ROMA                       00141
ANDREA ROBERT                  327 ABBEY LN                                                                                        LANSDALE           PA      19446‐6442
ANDREA ROBINSON                2436 GREEN PINE DRIVE            BLDG 11 APT 12                                                     BURTON             MI      48519
ANDREA ROSSER                  47 DUMONT CT                                                                                        FORISTELL          MO      63348‐2675
ANDREA ROSSI                   VIA ROMA                         ITALIA                                                             ROMA               AK      00100
ANDREA ROSSO                   VIA SAN MARTINO 67               20017 RHO (MI)
ANDREA RUBINO                  2224 LEGION STREET                                                                                  BELLMORE           NY      11710
ANDREA RYAN                    708 N SASHABAW RD                                                                                   ORTONVILLE         MI      48462‐9142
ANDREA S COLLINS               319 N CONOVER ST                                                                                    DAYTON             OH      45402
ANDREA S GLYNN                 25 E FAIRMOUNT AVE                                                                                  PONTIAC            MI      48340‐2727
ANDREA S MCWAIN                6471 KINDRED SQ                                                                                     W. CARROLLTON      OH      45449
ANDREA SALA                    VIALE MATTEOTTI 39
ANDREA SANCHEZ                 4827 CASA CORONA ST                                                                                 SAN ANTONIO        TX      78233‐6447
ANDREA SANDS                   110A WATER ST                                                                                       SEVILLE            OH      44273‐9787
ANDREA SCARDACCHI              VIA C. BECCARIA, 10                                                                                 FANO                       61032
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Name                 Address1                               Address2                         Address3          Address4                 City               State Zip
ANDREA SCHREIBER     STETTINER STRASSE 19                                                                      D‐72250 FREUDENSTADT
                                                                                                               GERMANY
ANDREA SCIALPI       VIA STOPPA 34                                                                                                      SAN FERMO DELLA          22020
                                                                                                                                        BATTAGLIA
ANDREA SEAY          4718 NORWICK ST                                                                                                    LANSING             MI   48917‐4167
ANDREA SELFRIDGE     19 N TAWANA DR                                                                                                     SHAWNEE             OK   74804‐1133
ANDREA SHAPOFF       143 COLDSPRING POINT ROAD                                                                                          SOUTHAMPTON         NY   11968
ANDREA SHEIKHZADEH   3066 HANCHETT ST                                                                                                   SAGINAW             MI   48604‐2464
ANDREA SILECCHIA     5205 BIRCHWOOD WAY                                                                                                 LANSING             MI   48917‐1302
ANDREA SIMON         2325 BRIAR RDG                                                                                                     WOLVERINE LAKE      MI   48390‐2119
ANDREA SIUDARA       987 N READING RD                                                                                                   BLOOMFIELD HILLS    MI   48304‐2042
ANDREA SIVERTSON
ANDREA SPICER        7050 VILLA DR APT 1                                                                                                WATERFORD           MI   48327‐4036
ANDREA SPINELLI      48064 MALLARD DR                                                                                                   CHESTERFIELD        MI   48047‐2281
ANDREA STANFORD      9532 HOLLY OAK DR                                                                                                  SHREVEPORT          LA   71118‐4735
ANDREA STEINER       402 PARKDALE AVE                                                                                                   ROCHESTER           MI   48307‐1612
ANDREA STEVERSON     5274 BERKSHIRE ST                                                                                                  DETROIT             MI   48224‐3206
ANDREA STEWART       80 SEWARD ST APT D6                                                                                                DETROIT             MI   48202‐4433
ANDREA STIGLEMAN     2890 BULLARD RD                                                                                                    HARTLAND            MI   48353‐3008
ANDREA STOPCZYNSKI   3136 PEARL AVE                                                                                                     WARREN              MI   48091‐5511
ANDREA STROMAR       24440 BLOOMINGTON DR                                                                                               FRANKLIN            MI   48025‐1609
ANDREA SULLENGER     PO BOX 295                                                                                                         INTERLOCHEN         MI   49643‐0295
ANDREA SUURMEYER     38801 CORNWALL CT                                                                                                  NORTHVILLE          MI   48167‐9068
ANDREA TAYLOR
ANDREA TIREY         LOT 236                                  5965 HARRISBURG GEORGESVILL RD                                            GROVE CITY         OH    43123‐9164
ANDREA TOMASONI      DONIZETTI STREET, 7 ‐ 38068 ROVERETO     IBAN                           BIC CRBZIT2B093
                                                              IT29H0604520800000000033700
ANDREA TOMASONI      DONIZETTI STREET, 7 ‐ 38068 ROVERETO ‐ I IBAN:
                                                              IT29H0604520800000000033700
ANDREA TOMASONI      DONIZETTI STREET 7                                                                        38068 ROVERETO ITALY
ANDREA TOPAZIO       VIALE MODUGNO 64                                                                                                   GENOA                    16156
ANDREA TORRES        1101 W NOTON ST                                                                                                    PFLUGERVILLE        TX   78660‐3818
ANDREA TRIPLETT      6811 S COUNTY ROAD 400 W                                                                                           MUNCIE              IN   47302‐9752
ANDREA VALLONE       VIA ISARCO N 4                                                                                                     NETTUNO                  00048
ANDREA VERRI         VIA UGOLINI, 19                          20100, MILANO                  ITALY
ANDREA VIAVATTENE    39 PENNICOTT CIR                                                                                                   PENFIELD           NY    14526‐9517
ANDREA VILLINES      PO BOX 18097                                                                                                       KANSAS CITY        MO    64133‐0497
ANDREA VINATTIERI    VIA CETINO, 26                           50013 ‐ CAMPI BISENZIO         FIRENZE
ANDREA VIRES         3421 PARKLAWN ST                                                                                                   AUBURN HILLS       MI    48326‐3044
ANDREA WARDLAW       3409 RADFORD DR                                                                                                    LANSING            MI    48911‐4400
ANDREA WEAVER        15447 MURRAY HILL ST                                                                                               DETROIT            MI    48227‐1945
ANDREA WEIDMAN       6558 WESTLAKE CT                                                                                                   TROY               MI    48085‐1003
ANDREA WEISS         4598 BRIGHTON CIR                                                                                                  GRAND BLANC        MI    48439‐7340
ANDREA WEST          3570 HI LURE DR                                                                                                    LAKE ORION         MI    48360‐2445
ANDREA WESTON        7674 TRUMBLE RD                                                                                                    COLUMBUS           MI    48063‐3910
ANDREA WHITE         39 WEST DR                               TRLR 24                                                                   RUSSELL SPRINGS    KY    42642‐6943
ANDREA WHITT         6162 OLD STONE CT                                                                                                  HAMILTON           OH    45011‐0001
ANDREA WICK          5346 OAKWOOD DRIVE                                                                                                 N TONAWANDA        NY    14120‐9619
ANDREA WILLIAMSON    8327 GERHARDT ST                                                                                                   SHELBY TWP         MI    48317‐4407
ANDREA WINGERT       11511 MANDARIN WOODS DR E                                                                                          JACKSONVILLE       FL    32223‐7467
ANDREA WIRSING       5777 CONRAD RD                                                                                                     MAYVILLE           MI    48744‐9618
ANDREA Y KING        666 W BETHUNE ST APT 302                                                                                           DETROIT            MI    48202‐2742
ANDREA YAKLIN        4425 S LINDEN RD                                                                                                   FLINT              MI    48507‐2911
ANDREA YEARGIN       78 E LONGFELLOW AVE                                                                                                PONTIAC            MI    48340‐2742
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Name                       Address1                        Address2                     Address3              Address4                   City            State Zip
ANDREA ZAHN
ANDREA' L WADE             4631 LAUREL DR.                                                                                               DAYTON          OH    45417
ANDREA, RAYMOND JOHN       WEITZ & LUXENBERG               180 MAIDEN LANE                                                               NEW YORK        NY    10038
ANDREACCHI, OSVALDA        244 LANE GATE RD                                                                                              COLD SPRING     NY    10516‐3531
ANDREAH R MCBRIDE          1015 N VAN BUREN ST APT 2                                                                                     BAY CITY        MI    48708‐6090
ANDREAN ROBBINS            3367 WINWOOD DR                                                                                               FLINT           MI    48504‐1250
ANDREANA HILL MARSH        302 CHANDLER ST                                                                                               FLINT           MI    48503‐2192
ANDREANI, MARIO S          5603A AQUARIUS                                                                                                SHAWNEE         OK    74804‐9346
ANDREANI, MARIO SERGIO     5603A AQUARIUS                                                                                                SHAWNEE         OK    74804‐9346
ANDREAS & BARBARA BERGER   ANDREAS BERGER                  PARKWEG 1                                          D‐15374 MUENCHEBERG
ANDREAS & BARBARA BERGER   PARKWEG 1                                                                          D15374 MUENCHEBERG
                                                                                                              GERMANY
ANDREAS & HANNA GUMMERT    HAFERKAMP 11                                                                       ALFELD 31061 GERMANY
ANDREAS & INGA PLITT       BR▄HLSTRA▀E 47                  71394 KERNEN
ANDREAS & INGA PLITT       BRUEHLSTRASSE 47                                                                   71394 KERNEN GERMANY
ANDREAS ADRION             ZENETTISTRASSE 26                                                                  80337 MUNICH, GERMANY
ANDREAS BAUMANN            AM KATZENBUCKEL 1B                                                                 91541 ROTHENBURG
                                                                                                              GERMANY
ANDREAS BERGER             PARKWEG 1                       15374 M▄NCHEBERG
ANDREAS BLACHUT            JUSTINIANSTR 11                                                                    D‐50679 KOELN GERMANY
ANDREAS BREZOVAC           STEINRITZWEG 20 B                                                                  FRG ‐ 65396 WALLUF
                                                                                                              GERMANY
ANDREAS BUCHFELLNER        4073 ANGELA LANE                                                                                              BRUNSWICK       OH    44212
ANDREAS BUETTNER           MOZARTSTR. 27                                                                                                 STADTSTEINACH         95346
ANDREAS COSTI              BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                                    BOSTON HTS.     OH    44236
ANDREAS DEMMEL             KIRCHSTRA▀E 12
ANDREAS DEMMEL             KIRCHSTRASSE 12                                                                    D‐83679 SACHSENKAM
                                                                                                              GERMANY
ANDREAS DIETZE             FLACHTER STRASSE 43                                                                71287 WEISSACH GERMANY
ANDREAS DOBROSCHKE         HINTERE STR. 88 B               90768 FUERTH
ANDREAS DOBROSCHKE         HINTERE STR. 88 B               90768 F▄RTH
ANDREAS DOBROSCHKE         HINTERE STR 88 B                                                                   90768 FUERTH GERMANY
ANDREAS DR. FORGACH        BAUMGARTENSTR. 20               34130 KASSEL
ANDREAS FISCHER            DEWETSTR 10                                                                        80807 MUNCHEN GERMANY
ANDREAS FISCHER            HANS‐SACHS‐STR. 16A             90522 OBERASBACH
ANDREAS FRANKE             GLEINAER STRASSE 94                                                                                           DRESDEN               01139
ANDREAS FURCH              AM GOLTENHOF 16                                                                    47608 GELDERN GERMANY
ANDREAS GOETZ              ANGELWEG 24                                                                        D 72669 UNTERENSINGEN
                                                                                                              GERMANY
ANDREAS GRALLERT           KLOBERSTRASSE 20                                                                   65439 FLOERSHEIM GERMANY

ANDREAS GRIMM              QUANTENBERG 39                                                                     40822 METTMANN GERMANY
                                                                                                              (DE)
ANDREAS GUMMERT            HAFERKAMP 11
ANDREAS GUMMERT            HAFERKAMP 11                    ALFELD 31061
ANDREAS GUTSCH             KATHE‐KOLLWITZ 4                                                                   LUDINGHAUSEN GERMANY
                                                                                                              59348
ANDREAS GUTSCHY            13/78 PARADISE VILLA            SOI KAOWMAKOK,NONGPRUE                             BANGLAMUNG CHONBURI
                                                                                                              PATTAYA THAILAND
ANDREAS GUTSCHY            13/78 PARADISE VILLA            SOI KAOWMAKOK NONGPRUE       BANGLAMUNG CHONBURI   PATTAYA THAILAND
ANDREAS HAASE              KIEFERNWEG 5                    65527 NIEDERNHAUSEN
ANDREAS HAEUSSLER          HEILMANNSTR. 25D                                                                   81479 MUNICH GERMANY
ANDREAS HAEUSSLER          HEILMANNSTR 25D                                                                    81479 MUNICH GERMANY
ANDREAS HANDELMANN         SCHLAWER STR. 2                 38518 GIFHORN
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Name                     Address1                        Address2               Address3         Address4                   City             State Zip
ANDREAS HATZIANTONIOU    8895 INDEPENDENCE DR                                                                               STERLING HTS      MI 48313‐4020
ANDREAS HELMER           BERGSTR 40 A                                                            67067 LUDWIGSHAFEN
                                                                                                 GERMANY
ANDREAS HEPP             FRIEDENSSTRASSE 9               64846 GROSS‐ZIMMERN
ANDREAS HIRSCHINGER      LINDENSTRA▀E 4                                                          D‐92442 WACKERSDORF
                                                                                                 GERMANY
ANDREAS HIRSCHINGER      LINDENSTRA▀E 4                  D‐92442 WACKERSDORF                     WACKERSDORF DE D92442
ANDREAS HOFER            278 E 17 MILE RD                                                                                   BITELY           MI   49309‐9419
ANDREAS HOFFMANN         ROLLWIESENWEG 12                                                                                   MARBURG               35039
ANDREAS HORN SUISSE SA   9 RUE DU GRAND VERGER/104       CHEMIN DU MILIEU 104                    MARTIGNY CH 1920
                                                                                                 SWITZERLAND
ANDREAS HRUSKA
ANDREAS KARG             B─CKERSTRA▀E 12                                                         HALSTENBEK 25469 GERMANY

ANDREAS KAZOS            6004 WESTBROOK DR                                                                                  CITRUS HEIGHTS   CA   95621‐4826
ANDREAS KIEDERICH        SCHEUREN 53                                                             53937 SCHLEIDEN GERMANY

ANDREAS KLEIN            RHODIUSSTRASSE 15                                                       D‐51065 COLOGNE
ANDREAS KLEIN JR         526 CLAIR HILL DR                                                                                  ROCHESTER HLS    MI   48309‐2115
ANDREAS KLUGE            BRILONER WEG 6                  12207 BERLIN
ANDREAS KOCH             LANGE WEIHE 93                  30880 LAATZEN          GERMANY
ANDREAS K╓HLER           HAMBURG
ANDREAS K╓HLER           EILBEKER WEG 202                22089 HAMBURG
ANDREAS KRANE            WEINBERGSTR 30 A                                                        D‐76547 SINZHEIM GERMANY

ANDREAS KRANE            WEINBERGSTR. 30A                D‐76547 SINZHEIM
ANDREAS KRANZ            ROSSDORFER STR. 7               D‐98590 ECKARDTS       GERMANY
ANDREAS KRESSLEIN        BERLINER STR. 5                                                                                    ESCHBORN              65760
ANDREAS KRIECHBAUMER     PYHRA 71                        3361 ASCHBACH
ANDREAS KRIECHBAUMER     PYHRA 71                                                                3361 ASCHBACH AUSTRIA
ANDREAS KURSAWE          PARKSTETTENER STRASSE 22        94356 KIRCHROTH
ANDREAS KURSAWE          PARKSTETTENER STRASSE 22                                                94356 KIRCHROTH GERMANY

ANDREAS LABORIUS         EHLERBERGSTR 16                 38162 CREMLINGEN                        GERMANY
ANDREAS LANGE            10698 S FRANCIS RD                                                                                 DEWITT           MI   48820‐9140
ANDREAS LEIMBACH         NEUWIESENSTR. 11                60528 FRANKFURT
ANDREAS LIESKE           2551 OLD SHERWOOD CT                                                                               COMMERCE TWP     MI   48382‐1183
ANDREAS LIPPERT          1958 PAINT HORSE TRAIL                                                                             DE PERE          WI   54115‐7951
ANDREAS LISKE            HOHENZOLLERNSTRASSE 16                                                  73540 HEUBACH GERMANY
ANDREAS MALIKOPOULOS     615 HIDDEN VALLEY DR            APT 315                                                            ANN ARBOR        MI   48104
ANDREAS MIMLER           F▄RSTENBERGERSTR. 27            60322 FRANKFURT
ANDREAS MUELLER          NEUSTADT 23                     63654 BUEDINGEN
ANDREAS MUHLEIS          AM TURNPLATZ 12                                                         D‐95158 KIRCHENLAMITZ
                                                                                                 GERMANY
ANDREAS MURMANN          10969 BERLIN                                                            FRIEDRICHSTR GERMANY
ANDREAS NIEMANN          FUERSTENDAMM 8                                                          13465 BERLIN GERMANY
ANDREAS PHOCAS           HUBERTUSSTRASSE 3                                                       80639 MUNICH GERMANY
ANDREAS PHOCAS           HUBERTUSSTRASSE 3               80639 MUNICH
ANDREAS POLLAND          LEONFELDNERSTRA▀E 75A           4040 LINZ
ANDREAS POLLAND          P.O. BOX 311                    KE‐WATAMU
ANDREAS REISS            RUENAUE 25                                                              46535 DINSLAKEN GERMANY

ANDREAS ROEMER           NANNY ALBRECHTSTR 9                                                     55469 SIMMERN GERMANY
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Name                             Address1                       Address2                  Address3        Address4                City              State Zip
ANDREAS ROGALL                   METZER STR 18F                                                           D‐58332 SCHWELM GERMANY

ANDREAS SCHUBERT                 1711 SEYMOUR LAKE RD                                                                               OXFORD           MI   48371‐4344
ANDREAS STANIGAR                 20191 WEXFORD ST                                                                                   DETROIT          MI   48234‐1809
ANDREAS ST╓RMER                  HIRSCHENDORF                   DORFSTR.20                                                          EISFELD               98673
ANDREAS STUEBING                 IM GRUND 3                     58313 HERDECKE
ANDREAS STURZER                  606 E GRAND RIVER RD                                                                               LAINGSBURG       MI   48848‐8705
ANDREAS ULRICH                   ALTE VLOTHOER STR 7                                                      D‐32105 BAD SALZUFLEN,
                                                                                                          GERMANY
ANDREAS UND KERSTIN HANDELMANN   SCHLAWER STR. 2                38518 GIFHORN

ANDREAS VAVRA                    DIESELGASSE 5A/61                                                        1100 VIENNA, AUSTRIA
ANDREAS VINZENZ                  NIDDASTR 59                                                              63329 EGELSBACH GERMANY

ANDREAS VON DER WETH             PRINZENGASSE 20                                                          96253 UNTERSIEMAU
                                                                                                          GERMANY
ANDREAS WEBER                    RASCHENBERGSTR 22A                                                       5020 SALZBURG AUSTRIA
ANDREAS WEIS                     KREUZWEG 23                                                              63688 GEDERN GERMANY
ANDREAS WEISS                    HEINRICH‐SCHUETTE‐STR 23A                                                51766 ENGELSKIRCHEN
                                                                                                          GERMANY
ANDREAS WERNER                   1637 IROQUOIS TRL                                                                                  NATIONAL CITY    MI   48748‐9403
ANDREAS WINKELMANN               SIEGMUNDSTRASSE 9
ANDREAS ZUFELDE                  CH▄RZISTRASSE 21               08600 D▄BENDORF
ANDREAS ZUFELDE                  CHUERZISTRASSE 21              08600 D▄BENDORF
ANDREAS ZUFELDE                  CHUERZISTRASSE 21              08600 DUEBENDORF
ANDREAS, ARLENE R                PO BOX 233                                                                                         EATON RAPIDS     MI   48827‐0233
ANDREAS, B J                     6822 W CARMEN AVE                                                                                  MILWAUKEE        WI   53218‐2215
ANDREAS, ELISABETH WAIBEL        ANDREAS WAIBEL                 ALBERT‐EINSTEIN‐RING 43                   95448 BAYREUTH GERMANY
ANDREAS, MICHAEL B               29 HIGHWOOD RD                                                                                     FARMINGTON      CT    06032‐1008
ANDREAS, PAUL R                  733 S WEBSTER ST                                                                                   KOKOMO          IN    46901‐5303
ANDREAS, THOMAS L                3505 ALAMANDO RD                                                                                   SAINT LOUIS     MI    48880‐9326
ANDREASEN, CARMEN L              2660 ALABAMA AVE S                                                                                 MINNEAPOLIS     MN    55416
ANDREASEN, JOHN P                22 DEAN CV                                                                                         JACKSON         TN    38305‐2524
ANDREASEN, ROBERT L              PO BOX 986                                                                                         SENECA          MO    64865‐0986
ANDREASEN, SUSAN W               7056 MULE TEAM WAY                                                                                 ROSEVILLE       CA    95747‐8070
ANDREASSI, THOMAS A              54 REDTAIL RUN                                                                                     ROCHESTER       NY    14612‐3337
ANDREASSI, YOLANDA               139 MCGUIRE RD                                                                                     ROCHESTER       NY    14616‐2330
ANDREATTA, ANTHONY P             12 BRIXTON LN                                                                                      CROSSVILLE      TN    38558‐2712
ANDREATTA, SILVIO B              2561 BARCLAY MESSERLY RD                                                                           SOUTHINGTON     OH    44470‐9716
ANDREAU RITTER                   9931 S. HAMPTON COMMONS                                                                            CHARLOTTE       NC    28277
ANDREAU, KOSTA L                 2516 SPRUCE RD R 3                                                                                 EATON RAPIDS    MI    48827
ANDREE CRATTY                    27023 GALLEY DR                                                                                    MILLSBORO       DE    19966‐4544
ANDREE HEINS                     PFARRANGER 9                   85777                     FAHRENZHAUSEN
ANDREE HUGHES                    569 WILLIAMSBURG CT                                                                                CINCINNATI      OH    45244‐1232
ANDREE JR, JOHN W                5760 N SANFORD BEACH DR                                                                            SANFORD         MI    48657‐9349
ANDREE RADAKOVICH                1 KULAS LN APT 319                                                                                 PARLIN          NJ    08859‐2265
ANDREE S DAVIE                   724 MAPLE ST                                                                                       WARREN          OH    44485‐3851
ANDREE, CHERYL L                 5430 W RITA DR                                                                                     WEST ALLIS      WI    53219‐2252
ANDREE, GLEN J                   4435 SUGAR BUSH                                                                                    GRANT           MI    49327‐9784
ANDREE, INGVAR L                 64649 VARDON CT                                                                                    DESERT HOT      CA    92240‐1337
                                                                                                                                    SPRINGS
ANDREEN, DONALD G                21425 180TH AVE                                                                                    TUSTIN           MI   49688‐8198
ANDREEN, MARGARET M              7050 LAKE SHANNON CT                                                                               FENTON           MI   48430‐9301
ANDREEN, RANDALL E               7050 LAKE SHANNON CT                                                                               FENTON           MI   48430
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Name                                 Address1                          Address2                           Address3   Address4                      City            State Zip
ANDREEN, STEVEN G                    6165 ARROWCREST CT NE                                                                                         ROCKFORD         MI 49341‐7368
ANDREFF LAWRENCE (442966)            BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                               NORTHFIELD       OH 44067
                                                                       PROFESSIONAL BLDG
ANDREFF, LAWRENCE                    BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD, BEVAN                                                NORTHFIELD      OH    44067
                                                                       PROFESSIONAL BLDG
ANDREGG, MARTHA J                    800 S 15TH ST #1804                                                                                           SEBRING         OH    44672‐2070
ANDREGG, MARTHA J                    802 S 15TH ST UNIT 1804                                                                                       SEBRING         OH    44672‐2070
ANDREI IVANOV                        771 FISHER RD                                                                                                 GROSSE POINTE   MI    48230‐1203
ANDREI JOHN                          ANDREI, JOHN                      1228 EUCLID AVE , HALLE BLDG 9TH                                            CLEVELAND       OH    44115
ANDREI JOHN                          ANDREI, JOHN                      8441 GULF FREEWAY SUITE 600                                                 HOUSTON         TX    77017
ANDREI SZORNYI                       436 SYMPHONY CIR                                                                                              SAINT JOSEPH    MI    49085‐9133
ANDREI TAINDEL                       7545 BUCHANAN DR                                                                                              YOUNGSTOWN      OH    44512‐5702
ANDREI, JOHNNY                       6935 KIRK RD                                                                                                  CANFIELD        OH    44406‐9647
ANDREINI JR, JOSEPH C                1403 YORKSHIRE RD                                                                                             GROSSE POINTE   MI    48230‐1109
                                                                                                                                                   PARK
ANDREINI, BERNARD J                  6098 SPRINGDALE BLVD                                                                                          GRAND BLANC     MI    48439‐8522
ANDREINI, JOSEPH T                   66 CLEARFIELD DR                                                                                              MERIDEN         CT    06450‐4803
ANDREIS, MICHAEL                     9627 SANDSTONE CT                                                                                             CONCORD         NC    28025‐1421
ANDREJACK, GEORGE H                  2413 LONG POINT DR                                                                                            HOUGHTON LAKE   MI    48629‐9461
ANDREJAK, BERNICE E                  23369 HOLLWEG ST                  PO BOX 458                                                                  ARMADA          MI    48005‐7717
ANDREJAK, DANIEL C                   515 NOLLMEYER RD                                                                                              BALTIMORE       MD    21220‐3031
ANDREK WILLIAMS                      19655 YONKA ST                                                                                                DETROIT         MI    48234‐1829
ANDREK, CAROLYN R                    10130 BOULDER PASS                                                                                            DAVISBURG       MI    48350‐2055
ANDREK, PATRICIA J                   16112 SILVERCREST DR                                                                                          FENTON          MI    48430‐9154
ANDREKOVIC, EVA                      982 RAVENNA RD                                                                                                KENT            OH    44240‐6155
ANDRELLA JEROME M (459685)           DUFFY & ASSOCS JOHN J             23823 LORAIN RD                                                             NORTH OLMSTED   OH    44070
ANDRELLA, JEROME M                   DUFFY & ASSOCS JOHN J             23823 LORAIN RD                                                             NORTH OLMSTED   OH    44070
ANDRELLA, KEVIN J                    1466 RACCOON DR NE                                                                                            WARREN          OH    44484‐1430
ANDRELLA, THEODORE J                 1458 BIRCH RUN DR NE                                                                                          WARREN          OH    44483‐4359
ANDRELLA, THOMAS M                   5969 EAGLE CREEK RD                                                                                           LEAVITTSBURG    OH    44430‐9767
ANDREN, AILI R                       1800 SOUTH DRIVE RM# W1                                                                                       LAKE WORTH      FL    33461‐6133
ANDREN, SHAWN                        3633 WHISPERING WOODS TER                                                                                     BALDWINSVILLE   NY    13027‐8307
ANDREN, TERENCE L                    1884 HOPEDALE DR                                                                                              TROY            MI    48085‐3347
ANDRENA JOHNSON                      32 CUMBERLAND AVE                                                                                             TRENTON         NJ    08618‐5414
ANDREOLA, FRANK A                    3425 JERRY LN                                                                                                 ARLINGTON       TX    76017‐3521
ANDREOLA, FRANK ANGELO               3425 JERRY LN                                                                                                 ARLINGTON       TX    76017‐3521
ANDREOLI, BRUNO S                    41024 RUSSETT LN                                                                                              PLYMOUTH        MI    48170‐2631
ANDREOLI/MANNING SELVAGE & LEE
ANDREOLI/MANNING SELVAGE & LEELTDA   RUA FUNCHAL 418‐4O ANDAR‐CONJ     401 04551‐060‐                                SAO PAULO‐ SP BRAZIL BRAZIL

ANDREOTTI ELIO (458986)              GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                 NORFOLK         VA    23510
                                                                       STREET, SUITE 600
ANDREOTTI IVAN & MURATORI MAURA      VIA CARTESIO 36                                                                 41121 MODENA (MO) ITALY

ANDREOTTI, ELIO                      GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                 NORFOLK         VA    23510‐2212
                                                                       STREET, SUITE 600
ANDREOU, NICKOLAS                    2660 INVITATIONAL DR                                                                                          OAKLAND         MI    48363‐2455
ANDREOU, STEFANOS                    33 XENOCRATOUS ST                 ATHENS ,10676                                 ATHENS GREECE
ANDREPONT, JOSEPH ELDRIDGE           BARON & BUDD                      3102 OAK LANE AVE, SUITE 1100                                               DALLAS           TX   75219
ANDRES
ANDRES ‐ ALLETT, CYNTHIA J           17417 LINCOLN RD                                                                                              NEW LOTHROP     MI    48460‐9621
ANDRES ARAUJO                        79 VILLAGE LOOP ROAD                                                                                          POMONA          CA    91766‐4840
ANDRES AVELINO AZAGUIRE              C/O MICHAEL ROOFIAN AND ASSOC.    11766 WILSHIRE BLVD, 6TH FLOOR                                              LOS ANGELES     CA    90025
ANDRES BARBARA                       805 CORNFIELD DR                                                                                              ARLINGTON       TX    76017‐6209
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Name                      Address1                        Address2                     Address3             Address4                  City             State   Zip
ANDRES CARLOS             10123 FAIRVIEW ST                                                                                           TAYLOR            MI     48180‐3295
ANDRES CERVANTES          4707 WILLIAMSBURG CT                                                                                        FORT WAYNE        IN     46804‐4010
ANDRES CONTRERAS          3002 E FM 2812                                                                                              EDINBURG          TX     78542‐1368
ANDRES CORRAL             34377 CHERRY ST.                                                                                            LAKE ELSINORE     CA     92530‐9702
ANDRES COSTILLA           2119 OLD HIGHWAY 99                                                                                         CHAPEL HILL       TN     37034‐2130
ANDRES D GOBOS            93 E FAIRMOUNT AVE                                                                                          PONTIAC           MI     48340‐2729
ANDRES DAVID              41120 MAPLEWOOD DR                                                                                          CANTON            MI     48187‐3975
ANDRES DAVILA             5834 FORESTVILLE RD                                                                                         AKRON             MI     48701
ANDRES FERNANDEZ          53 S WASHINGTON ST                                                                                          TARRYTOWN         NY     10591
ANDRES FERNANDEZ AVILES   ATTN LUIS SANCHEZ               BANCO SABADELL               MIAMI BRANCH         2 SOUTH BISCAYNE BLVD STE MIAMI             FL     33131
                                                                                                            3301
ANDRES FLORES JR          2521 WINDER DR                                                                                              FRANKLIN         TN      37064‐4940
ANDRES FONTAO             136 FRANKLIN AVENUE                                                                                         WYCKOFF          NJ      07481
ANDRES GARCIA             BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                                  BOSTON HTS.      OH      44236
ANDRES GARCIA             20888 NW 3RD CT                                                                                             PEMBROKE PINES   FL      33029‐2180
ANDRES GARCIA             158 BELLMONT LN                                                                                             DAVENPORT        FL      33897‐5903
ANDRES GARCIA             4118 HORIZON LN                                                                                             SAN JOSE         CA      95148‐4355
ANDRES GARZA              5050 HAWK HOLLOW DR E                                                                                       BATH             MI      48808‐8783
ANDRES GOMEZ              610 ALDER GROVE DR                                                                                          DELTONA          FL      32725‐8818
ANDRES GONZALES JR        514 W HOWE AVE                                                                                              LANSING          MI      48906‐3043
ANDRES GUEVARA            2408 OVERBROOK DRIVE                                                                                        ARLINGTON        TX      76014‐2732
ANDRES HERNANDEZ          29266 HIDDEN RIVER DR                                                                                       GIBRALTAR        MI      48173‐1247
ANDRES JACKSON            4140 8 MILE RD NW                                                                                           GRAND RAPIDS     MI      49544‐9723
ANDRES JR, FRANK L        4708 FALL CREEK CT                                                                                          WENTZVILLE       MO      63385‐2671
ANDRES MARTINEZ           ATTN ROBERT W PHILLIPS          SIMMONS BROWDER GIANARIS     707 BERKSHIRE BLVD   PO BOX 521                EAST ALTON       IL      62024
                                                          ANGELIDES & BARNERD LLC
ANDRES MARTINEZ           C/O NIX PATTERSON & ROACH LLP   GM BANKRUPTCY DEPARTMENT     205 LINDA DRIVE                               DAINGERFIELD      TX      75638
ANDRES MELO               507 S WILSON AVE                                                                                           ROYAL OAK         MI      48067‐2948
ANDRES MITUTA             3878 FORESTER BLVD                                                                                         AUBURN HILLS      MI      48326‐3051
ANDRES MORALES JR         102 PIN OAK PL                                                                                             CAMPBELL          OH      44405‐1682
ANDRES PERAZA             205 REGENCY DR APT 112                                                                                     BLOOMINGDALE      IL      60108‐2146
ANDRES PEREZ              1434 TREMONT AVE                                                                                           FLINT             MI      48505‐1139
ANDRES PEREZ              MORGAN STANLEY C/F              ANDRES PEREZ IRA             6 PINE ST                                     CARTERET          NJ      07008
ANDRES QUINTERO           6131 WINDCHARME AVE                                                                                        LANSING           MI      48917‐1279
ANDRES RICARDO AGUILERA   CALLE ARIZONA #2810                                                               CHIHUAHUA CHIHUAHUA
                                                                                                            31200 MEXICO
ANDRES RODELA JR          7824 INVERNESS DR                                                                                          INDIANAPOLIS      IN      46237‐9687
ANDRES RODRIGUEZ          809 DERRY APT 2901                                                                                         CORPUS CHRISTI    TX      78408‐2381
ANDRES S LOPEZ            2500 JOHNSON AVE, APT 6J                                                                                   BRONX             NY      10463‐4929
ANDRES SANDERS JR         16190 N PARK DR APT 202                                                                                    SOUTHFIELD        MI      48075‐5965
ANDRES TORRES             516 SYCAMORE DR                                                                                            CAMPBELL          OH      44405‐1235
ANDRES VALDEZ JR          6364 E HILL RD                                                                                             GRAND BLANC       MI      48439‐9125
ANDRES VILLARREAL         6033 GALLANT ST                                                                                            BELL GARDENS      CA      90201‐5507
ANDRES, ALICE M           PO BOX 251                                                                                                 SARDINIA          NY      14134‐0251
ANDRES, ARTHUR P          19028 BISHOP RD                                                                                            NEW LOTHROP       MI      48460‐9630
ANDRES, ARTHUR PAUL       19028 BISHOP RD                                                                                            NEW LOTHROP       MI      48460‐9630
ANDRES, BARBARA A         5120 HAYES AVE                                                                                             SANDUSKY          OH      44870‐9676
ANDRES, BERNARD J         8217 NORTH SAGINAW ST                                                                                      NEW LOTHROP       MI      48460
ANDRES, BETTY D           18839 S HIGHLITE DR                                                                                        CLINTON TWP       MI      48035‐2543
ANDRES, BETTY D           18839 HIGHLITE DR. S.                                                                                      CLINTON TWP.      MI      48035‐2543
ANDRES, BRUCE A           7419 EASTON RD                                                                                             NEW LOTHROP       MI      48460‐9737
ANDRES, BRUCE A.          7419 EASTON RD                                                                                             NEW LOTHROP       MI      48460‐9737
ANDRES, CHARLES H         268 S SAGINAW ST                                                                                           MONTROSE          MI      48457‐9145
ANDRES, DANIEL J          3838 LAKE LAPEER DR                                                                                        METAMORA          MI      48455‐9613
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Name                       Address1                         Address2                         Address3   Address4               City              State   Zip
ANDRES, DAVID R            41120 MAPLEWOOD DR                                                                                  CANTON             MI     48187‐3975
ANDRES, DENNIS C           18380 BRIGGS RD                                                                                     NEW LOTHROP        MI     48460‐9609
ANDRES, DERLAYNE M         8241 BRISTOL DRIVE                                                                                  WESTLAND           MI     48185‐1831
ANDRES, DERLAYNE M         8241 BRISTOL ST                                                                                     WESTLAND           MI     48185‐1831
ANDRES, DUANE A            5120 HAYES AVE                                                                                      SANDUSKY           OH     44870‐9676
ANDRES, FRED               9403 ASHBURY CIR UNIT 102                                                                           PARKER             CO     80134
ANDRES, GARY L             8556 HASKELL LAKE RD                                                                                MARION             MI     49665‐9516
ANDRES, GEORGE T           7442 N WEBSTER RD                                                                                   MOUNT MORRIS       MI     48458‐9330
ANDRES, J C                727 ST. RT. S.E.                                                                                    BROOKFIELD         OH     44403
ANDRES, J CHRISTIAN        727 ST. RT. S.E.                                                                                    BROOKFIELD         OH     44403
ANDRES, JACQUELINE A       51 FALCON LN                                                                                        PORT LUDLOW        WA     98365‐9746
ANDRES, JAMES D            4581 S PORTSMOUTH RD                                                                                BRIDGEPORT         MI     48722‐9743
ANDRES, JOHN M             4 LUMBERMEN WAY                                                                                     SAGINAW            MI     48603
ANDRES, JOSEPH P           3883 FERDEN RD                                                                                      NEW LOTHROP        MI     48460‐9606
ANDRES, KARL R             412 INDIANA AVE                                                                                     SANDUSKY           OH     44870‐5712
ANDRES, KENNETH J          8112 N SEYMOUR RD                                                                                   FLUSHING           MI     48433‐9257
ANDRES, LAURA J            1581 COLONY DR                                                                                      ROCHESTER HILLS    MI     48307‐3404
ANDRES, LILLIAN G          4921 MARYBROOK DR.                                                                                  KETTERING          OH     45429‐5728
ANDRES, LUCILLE            542 PORTER RD                                                                                       BIDWELL            OH     45614‐9152
ANDRES, MARGARET           17930 RUTH ST                                                                                       MELVINDALE         MI     48122‐1525
ANDRES, MARGARET           17938 RUTH ST                                                                                       MELVINDALE         MI     48122
ANDRES, MARY J             1000 WEST PERRY STREET           LOT 701                                                            SALEM              OH     44460
ANDRES, MARY J             1000 W PERRY ST APT 701                                                                             SALEM              OH     44460‐3572
ANDRES, MICHAEL A          4881 CHESANING RD                                                                                   CHESANING          MI     48616‐8424
ANDRES, PATRICIA J         2273 SE GRAND DR                                                                                    PORT ST LUCIE      FL     34952‐6529
ANDRES, PATRICIA J         2273 S.E. GRAND DR.                                                                                 PORT ST. LUCY      FL     34952
ANDRES, RAYMOND L          PO BOX 455                       121 S SAGINAW                                                      MONTROSE           MI     48457‐0455
ANDRES, RITA M             268 S SAGINAW ST                                                                                    MONTROSE           MI     48457‐9145
ANDRES, ROBERT J           108 ANBORN DR                                                                                       WEST MIFFLIN       PA     15122‐1922
ANDRES, ROBERT L           1051 OCEAN SHORE BLVD APT 503                                                                       ORMOND BEACH       FL     32176‐4179
ANDRES, RONALD B           3132 E LAKE RD                                                                                      HOPKINS            MI     49328‐9776
ANDRES, RONDA A            2837 NACOMA PL                                                                                      KETTERING          OH     45420‐3840
ANDRES, RUTH A             129 EASTMAN ST                                                                                      MONTROSE           MI     48457‐9156
ANDRES, TERRY L            5215 SCHENK RD                                                                                      SANDUSKY           OH     44870‐9308
ANDRES, TINA M             8276 GRAND BLANC RD                                                                                 SWARTZ CREEK       MI     48473‐7609
ANDRES‐ARTHUR, KRYSTEN L   5749 TORONTO DR                                                                                     STERLING HTS       MI     48314‐4107
ANDRESCAVAGE, JOSEPH F     2916 LANSDOWNE AVE                                                                                  WEST BRISTOL       PA     19007‐6522
ANDRESE, DELORES R         128 HUGHES AVE                                                                                      TRENTON            NJ     08648‐3734
ANDRESEN, TIMOTHY L        EBERLE BERLIN KADING TURNBOW &   CAPITOL PARK PLAZA ‐ 300 NORTH                                     BOISE              ID     83701
                           MCKLVEEN                         SIXTH STREET ‐ P O BOX 1368
ANDRESEN, TIMOTHY L        WARNQUIST & ASSOCIATES           PO BOX 5148                                                        DENVER             CO     80217‐5148
ANDRESIAK, ESTELLE A       523 MARYLAND AVE.                                                                                   GRAND RAPIDS       MI     49503
ANDRESIAK, RICHARD F       523 MARYLAND AVE NE                                                                                 GRAND RAPIDS       MI     49503‐2106
ANDRESINO, MATTHEW V       15 WILLIAMSTOWNE CT APT 5                                                                           CHEEKTOWAGA        NY     14227‐2143
ANDRESKA, MICHAEL D        715 ASPEN ST                                                                                        SOUTH MILWAUKEE    WI     53172‐1601

ANDRESKI BOB               5116 ABBEY LN                                                                                       SHELBY TOWNSHIP    MI     48316‐4102
ANDRESKI, CAROL A          12 PENN DR                                                                                          DIX HILLS          NY     11746‐8529
ANDRESKI, CURTIS L         5404 BRISTOL PARKE DR                                                                               CLARKSTON          MI     48348‐4800
ANDRESKI, EDMUND R         7250 KENNEDY RD                                                                                     MUNITH             MI     49259‐9778
ANDRESKI, EDMUND R         7250 KENNEDY ROAD                                                                                   MUNITH             MI     49259‐9778
ANDRESKI, JOSEPH E         9198 E BRISTOL RD                                                                                   DAVISON            MI     48423‐8718
ANDRESKI, RICHARD E        2118 CHEVY CHASE DR                                                                                 DAVISON            MI     48423‐2004
ANDRESKI, ROBERT D         5116 ABBEY LN                                                                                       SHELBY TWP         MI     48316‐4102
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ANDRESKI, ROBERT F          250 WESTCHESTER WAY                                                                           BIRMINGHAM            MI 48009‐4424
ANDRESS JOHN L (438786)     GLASSER AND GLASSER           CROWN CENTER, 580 EAST MAIN                                     NORFOLK               VA 23510
                                                          STREET, SUITE 600
ANDRESS JR, MALCOLM V       1976 MICHIGAN AVE                                                                             WEST MIFFLIN         PA   15122‐3622
ANDRESS, DANIEL J           150 IRISH SETTLEMENT RD                                                                       WADDINGTON           NY   13694‐3174
ANDRESS, DANIEL JOHN        150 IRISH SETTLEMENT RD                                                                       WADDINGTON           NY   13694‐3174
ANDRESS, ELMER              4961 COOSA VIEW LN                                                                            BLAIRSVILLE          GA   30512‐6214
ANDRESS, HEATHER L          3755 FARMERS CREEK ROAD                                                                       METAMORA             MI   48455‐9729
ANDRESS, JACK               PO BOX 325                                                                                    CURTIS               MI   49820‐0325
ANDRESS, JOHN L             GLASSER AND GLASSER           CROWN CENTER, 580 EAST MAIN                                     NORFOLK              VA   23510‐2212
                                                          STREET, SUITE 600
ANDRESS, LEON
ANDRESS, LEON E             277 MCKNIGHT RD                                                                               CHASE MILLS          NY   13621‐3120
ANDRESS, MARIANNE B         20308 OLD CASTLE DR                                                                           MOKENA               IL   60448‐9233
ANDRESS, ROBERT L           25805 HARPER AVE              C/O TIMOTHY BARKOVIC                                            SAINT CLAIR SHORES   MI   48081‐2263

ANDRESS, STUART C           2621 CRAIG DR                                                                                 LEWISTON             MI   49756‐9277
ANDREU ELMO PAUL (428413)   GLASSER AND GLASSER           CROWN CENTER, 580 EAST MAIN                                     NORFOLK              VA   23510
                                                          STREET, SUITE 600
ANDREU, ELMO PAUL           GLASSER AND GLASSER           CROWN CENTER, 580 EAST MAIN                                     NORFOLK              VA   23510‐2212
                                                          STREET, SUITE 600
ANDREUCCI, LEO J            26253 NEWPORT AVE                                                                             WARREN               MI   48089‐4550
ANDREULA, VINCENT           46 MARJORIE DR                                                                                TOMS RIVER           NJ   08755‐6353
ANDREUZZI, RONALD J         2620 BROWNING DR                                                                              LAKE ORION           MI   48360‐1816
ANDREW
ANDREW KOEHN                17443 BROOK SIDE RD                                                                           BARNETT              MO   65011‐3026
ANDREW & ALICE HALL         506 E ELM ST                                                                                  NORRISTOWN           PA   19401
ANDREW A BLANKENBECKLER     100 FRANCIS DRIVE                                                                             BLANCHESTER          OH   45107
ANDREW A ECKERT             1404 KEVIN DR                                                                                 FAIRBORN             OH   45324‐5633
ANDREW A FAIRBANKS JR       1095 N TURNER RD                                                                              YOUNGSTOWN           OH   44515‐1049
ANDREW A GIOELI             77 IRVING ST                                                                                  LOCKPORT             NY   14094‐2539
ANDREW A KACZUR             578 NASH AVE                                                                                  NILES                OH   44446
ANDREW A REVEZZO            1857 BEECHWOOD NE                                                                             WARREN               OH   44483‐4135
ANDREW A SCHAFER            9842 JOAN CIR                                                                                 YPSILANTI            MI   48197‐6907
ANDREW A SKIBINSKI          35 MIDLAND AVE                                                                                BUFFALO              NY   14223‐2822
ANDREW ABARAY               45 E ST                                                                                       PORT READING         NJ   07064‐1610
ANDREW ABBOTT               212 LAKE ST                                                                                   NORTHVILLE           MI   48167‐1214
ANDREW ABRAMCZYK            20013 GALLAGHER ST                                                                            DETROIT              MI   48234‐1655
ANDREW ABSHEAR              22168 ABSHEAR RD                                                                              OLDENBURG            IN   47036‐9732
ANDREW ABT                  1675 ROCK ROSE CT                                                                             LEBANON              OH   45036‐3906
ANDREW ACOU                 41981 ECHO FOREST DR                                                                          CANTON               MI   48188‐4821
ANDREW ADKINSON             108 ADMIRAL CT                                                                                HAMPSTEAD            NC   28443‐8063
ANDREW ADOMEIT              15542 HUBBARD ST                                                                              LIVONIA              MI   48154‐3150
ANDREW AHO                  9497 CALDERWOOD RD                                                                            TROUT CREEK          MI   49967‐9234
ANDREW AIKENS               409 CALIBRE BROOKE WAY SE                                                                     SMYRNA               GA   30080‐2986
ANDREW AKINS JR             15728 SUSSEX ST                                                                               DETROIT              MI   48227‐2659
ANDREW AKPOGUMA             3416 BERKSHIRE RD                                                                             JANESVILLE           WI   53546‐2251
ANDREW ALBERT               9635 SE 171ST PL                                                                              SUMMERFIELD          FL   34491‐6833
ANDREW ALBERTI, JR          PO BOX 6040                                                                                   PAHRUMP              NV   89041
ANDREW ALBRANT              6141 BELLINGHAM CT                                                                            BURTON               MI   48519‐1615
ANDREW ALEXANDER            2925 GREYBERRY DR APT 205                                                                     WATERFORD            MI   48328‐4428
ANDREW AMODIO JR            430 CENTER ST E                                                                               WARREN               OH   44481‐9312
ANDREW ANDROSKY             G 5272 E CARPENTER RD                                                                         FLINT                MI   48506
ANDREW ANDRUS               22731 ARMS AVE                                                                                EUCLID               OH   44123‐3215
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ANDREW ANNUCCI       1630 PENNINGTON RD                                                                                   EWING               NJ     08618‐1313
ANDREW ANTH TUCKER   1660 STONEMORE DR                                                                                    DEFIANCE            OH     43512‐3717
ANDREW ARCARO        26844 N TOURMALINE DR                                                                                HEBRON              MD     21830‐2105
ANDREW ASHFORD       9466 E US HIGHWAY 10                                                                                 BRANCH              MI     49402‐9631
ANDREW AUBREY        32 MARTIN RD                                                                                         NORTH BANGOR        NY     12966‐2701
ANDREW AUMAN         120 WESTROCK FARM DR                                                                                 UNION               OH     45322‐2944
ANDREW AURILIO       1033 WOODLAWN AVE                                                                                    GIRARD              OH     44420‐2060
ANDREW AUTOMOTIVE    OHAGAN & ASSOCIATES THOMAS      101 NORTH BRAND BLVD ‐                                               GLENDALE            CA     91203
                                                     PENTHOUSE SUITE
ANDREW AVILA         206 HURON ST                                                                                         BAY CITY           MI      48706‐4931
ANDREW B CRENSHAW    309 MOSSVIEW DR                                                                                      VANDALIA           OH      45377‐2411
ANDREW B CROSNO      G‐4073 RHEA ST                                                                                       BURTON             MI      48509
ANDREW B SANDERSON   6246 RICK ST                                                                                         YPSILANTI          MI      48197‐8232
ANDREW BABINCHAK     1794 LANCASTER DR                                                                                    YOUNGSTOWN         OH      44511‐1061
ANDREW BACIK         7791 SILVER FOX DR                                                                                   BOARDMAN           OH      44512‐5326
ANDREW BAGNASCO      11732 TURKEY RUN                                                                                     PLYMOUTH           MI      48170‐3728
ANDREW BAGOS         13750 CLINTON RIVER RD                                                                               STERLING HEIGHTS   MI      48313‐5422
ANDREW BAIR          10442 SW 85TH CT                                                                                     OCALA              FL      34481‐7790
ANDREW BAKER         27229 PHIPPS ST                                                                                      INKSTER            MI      48141‐2323
ANDREW BAKO          1697 LAURA LN                                                                                        MINERAL RIDGE      OH      44440‐9301
ANDREW BAKSA JR      130 FAIRMEADOW DR                                                                                    AUSTINTOWN         OH      44515‐2217
ANDREW BALOG JR      1033 NORTHFORD CT                                                                                    MEDINA             OH      44256‐2895
ANDREW BANIK         10736 WOODRUN DR                                                                                     STRONGSVILLE       OH      44136‐3777
ANDREW BARANOSKI     6995 LAKE BLUFF DR NE                                                                                COMSTOCK PARK      MI      49321‐8273
ANDREW BARBANTINI    1758 DETROIT AVE                                                                                     LINCOLN PARK       MI      48146‐3218
ANDREW BARNA         1646 FIRETHORN LN                                                                                    WOOSTER            OH      44691‐5948
ANDREW BARREN        16221 QUAKERTOWN LN                                                                                  LIVONIA            MI      48154‐1113
ANDREW BARSHAW       23365 TORREY ST                                                                                      ARMADA             MI      48005‐4666
ANDREW BARTOS        5348 RIDGE TRL N                                                                                     CLARKSTON          MI      48348‐2167
ANDREW BATCHELDER    1330 PUTNAM ST                                                                                       FORT WAYNE         IN      46808‐2268
ANDREW BAUGHMAN      37845 W MEADOWHILL DR                                                                                NORTHVILLE         MI      48167‐8920
ANDREW BAUMAN        5558 PIERCE RD                                                                                       REMUS              MI      49340‐9717
ANDREW BAUR          29030 MORLOCK ST                                                                                     LIVONIA            MI      48152‐2044
ANDREW BAUR          323 LAKE MEADOW DR                                                                                   WATERFORD          MI      48327‐1787
ANDREW BAXTER        7803 MALLARD WAY                                                                                     INDIANAPOLIS       IN      46256‐1710
ANDREW BEAMON        PO BOX 14344                                                                                         SAGINAW            MI      48601‐0344
ANDREW BEASLEY       MOTLEY RICE LLC                 28 BRIDGESIDE BLVD              PO BOX 1792                          MT PLEASANT        SC      29465
ANDREW BECKER        240 YALE RD                                                                                          MENLO PARK         CA      94025
ANDREW BECKER        6220 GREENWOOD RD                                                                                    CENTRALIA          IL      62801‐7306
ANDREW BECKER        1219 SHINGLE OAK CT                                                                                  TROY               MO      63379‐2222
ANDREW BECKER JR     8780 CHATHAM RD                                                                                      MEDINA             OH      44256‐9117
ANDREW BEDNAR        1480 WALTON BLVD                                                                                     ROCHESTER HILLS    MI      48309‐1739
ANDREW BEHUN         1031 OVERLOOK AVE                                                                                    RAVENNA            OH      44266‐2633
ANDREW BELICKA       7301 MEADOW VIEW DR                                                                                  SEVILLE            OH      44273‐9202
ANDREW BELLAY        PO BOX 1227                                                                                          WARREN             OH      44482‐1227
ANDREW BELLER        3816 CHRISTOPHER DR                                                                                  BRIGHTON           MI      48114‐9255
ANDREW BENDIK        BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                           BOSTON HTS.        OH      44236
ANDREW BENNETT JR    PO BOX 465                                                                                           HOMER              GA      30547‐0465
ANDREW BENSON        PO BOX 2081                                                                                          SAULT SAINTE       MI      49783‐8081
                                                                                                                          MARIE
ANDREW BENSON        BRENT COON & ASSOCIATES         215 ORLEANS                                                          BEAUMONT            TX     77701
ANDREW BERTINI       206 PARKEDGE AVE                                                                                     TONAWANDA           NY     14150‐7819
ANDREW BEST          PO BOX 9022                     C/O ADAM OPEL GMBH, IPC 52‐05                                        WARREN              MI     48090‐9022
ANDREW BETTS         206 RED BUD DR                                                                                       JOLIET              IL     60433‐2929
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ANDREW BIGELOW             23102 W LE BOST                                                                                       NOVI               MI     48375‐3409
ANDREW BILLINGS            5921 COLUMBUS AVE                                                                                     ANDERSON           IN     46013‐3019
ANDREW BILOHLAVEK          34 KENSINGTON CIRCLE                                                                                  UNION TOWN         PA     15401
ANDREW BILOUS              42 ACADEMY DR                                                                                         ROCHESTER          NY     14623‐5102
ANDREW BILOUS              42 ACADEMY DR                                                                                         ROCHESTER          NY     14623‐5102
ANDREW BLACK JR            2419 S GLENWOOD AVE                                                                                   INDEPENDENCE       MO     64052‐1536
ANDREW BLANTON             636 DUKE CIR                                                                                          AUSTINTOWN         OH     44515‐4163
ANDREW BLAZAKIS            5956 MCINTYRE DR                                                                                      DUBLIN             OH     43016‐7708
ANDREW BLOSCHAK            574 JORALEMON ST                                                                                      BELLEVILLE         NJ     07109‐1848
ANDREW BLUE                182 HILTON AVE                                                                                        YOUNGSTOWN         OH     44507‐1911
ANDREW BOBALIK             6186 DELAND RD                                                                                        FLUSHING           MI     48433‐1135
ANDREW BOHNER              304 TILMOR DR                                                                                         WATERFORD          MI     48328‐2564
ANDREW BOKROS I I I        3705 KAREN DR                                                                                         MINERAL RIDGE      OH     44440‐9302
ANDREW BOLCSKEY            1086 QUARTERSTAFF CT                                                                                  NEKOOSA            WI     54457‐9283
ANDREW BOLF                8491 ZEERCO BLVD                                                                                      DAVISBURG          MI     48350‐1948
ANDREW BOOTHE              908 EASTGATE #1 SOUTH                                                                                 UNIVERSITY CITY    MO     63130
ANDREW BORTOLONI           5065 ROSEANNE DR                                                                                      LIVERPOOL          NY     13088‐4871
ANDREW BOSCO               8 TAMARRON WAY                                                                                        PITTSFORD          NY     14534‐3348
ANDREW BOSSELL             32906 ELECTRIC BLVD                                                                                   AVON LAKE          OH     44012‐1438
ANDREW BOSTICK             4522 SPRINGMEADOW DR                                                                                  CINCINNATI         OH     45229‐1122
ANDREW BOVENMYER           330 CROWN HILL DR                                                                                     HUNTINGTON         IN     46750‐8453
ANDREW BOYD                14734 RICHFIELD ST                                                                                    LIVONIA            MI     48154‐5915
ANDREW BOYLE               907 MILAM DR                                                                                          EULESS             TX     76039‐3208
ANDREW BRADFIELD           2749 HOLT RD                                                                                          MASON              MI     48854‐9460
ANDREW BREEDEN             7253 INGOMAR LN                                                                                       CLARKSTON          MI     48348‐5402
ANDREW BRENZ               3042 TALON CIR                                                                                        LAKE ORION         MI     48360‐2608
ANDREW BRETSIK             PO BOX 2428 PMB 7459                                                                                  PENSACOLA          FL     32513‐2428
ANDREW BREZZELL            15870 FAIRFAX ST                                                                                      SOUTHFIELD         MI     48075‐3075
ANDREW BRIDGES             860 BEARDON                                                                                           LAKE ORION         MI     48362‐2004
ANDREW BRIDGES             332 AWENDAW CIR                                                                                       ELLENWOOD          GA     30294‐3270
ANDREW BRIGHT              518 N 7TH ST                                                                                          ANN ARBOR          MI     48103‐3324
ANDREW BRISCAR             12915 STATE RD 44                                                                                     MANTUA             OH     44255
ANDREW BRISKA &            BERNADETTE & ANDREW BRISKAR   LIV TST UA 8/23/03 BERNADETTE OR 40 JANET LANE                          BERKELEY HTS       NJ     07922
                                                         ANDREW BRISKAR TR
ANDREW BROOKS              PO BOX 9033                                                                                           MOUNT VERNON       NY     10552‐9033
ANDREW BROOKS JR           PO BOX 6212                                                                                           PINE MOUNTAIN      CA     93222‐6212
                                                                                                                                 CLUB
ANDREW BROWN               8301 N COUNTY ROAD 500 W                                                                              MUNCIE             IN     47304‐9114
ANDREW BROWN               1879 SHORT RD                                                                                         SAGINAW            MI     48609‐9547
ANDREW BROWN               11815 KILBOURNE ST                                                                                    DETROIT            MI     48213‐1375
ANDREW BROWN               2948 CLEMENT ST                                                                                       FLINT              MI     48504‐3042
ANDREW BROWN
ANDREW BROWN JR            1407 REDWOOD DR                                                                                       PISCATAWAY        NJ      08854‐2050
ANDREW BRUTKO              8 KINGS BLVD                                                                                          LEESBURG          FL      34748‐8504
ANDREW BRYS                38 COLUMBUS AVE                                                                                       MIDDLETOWN        CT      06457‐2648
ANDREW BUBEN               1700 CEDARWOOD DR APT 208                                                                             FLUSHING          MI      48433‐3602
ANDREW BUCKI               105 S LEXINGTON DR                                                                                    JANESVILLE        WI      53545‐4319
ANDREW BUCKLAND            610 MECHANIC ST                                                                                       OXFORD            MI      48371‐5045
ANDREW BUCZKO              1 LOVERS LN                                                                                           BLOOMVILLE        OH      44818‐9402
ANDREW BUCZYNSKY           24592 CHARLES DR                                                                                      BROWNSTOWN        MI      48183‐2593
ANDREW BUGAR               21139 DEXTER BLVD                                                                                     WARREN            MI      48089‐3405
ANDREW BUICK PONTIAC GMC   1500 W SILVER SPRING DR                                                                               GLENDALE          WI      53209‐4419
ANDREW BURCHETT            617 PARKCIRCLE PARK PL                                                                                CLIO              MI      48420
ANDREW BURT                9560 SALEM WARREN RD                                                                                  SALEM             OH      44460‐7601
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Name                               Address1                       Address2                     Address3     Address4               City              State   Zip
ANDREW BURZYNSKI                   1300 MCCORMICK ST                                                                               BAY CITY           MI     48708‐8320
ANDREW BUTLER JR                   5102 WESHIRE DR                                                                                 MANSFIELD          TX     76063‐6752
ANDREW BUTLER TRUST                ANDREW BUTLER                  10117 BRANDYWINE DR                                              FORT WAYNE         IN     46825
ANDREW BUTTERWORTH                 5270 PAULA CREST DR                                                                             COMMERCE TWP       MI     48382‐4903
ANDREW BUZA                        7450 FARLEY RD                                                                                  PINCKNEY           MI     48169‐8546
ANDREW BYERLY III                  5699 NAVAJO TRL                                                                                 PINCKNEY           MI     48169‐8430
ANDREW BYNUM OLDS‐PONTIAC‐CADILLAC‐PO BOX 220                                                                                      FAYETTE            AL     35555‐0220

ANDREW BYNUM OLDS‐PONTIAC‐CADILLAC‐ ANDREW BYNUM                  2535 TEMPLE AVE N                                                FAYETTE            AL     35555‐1114
GMC TRUCK, INC.
ANDREW BYNUM OLDS‐PONTIAC‐CADILLAC‐ 2535 TEMPLE AVE N                                                                              FAYETTE            AL     35555‐1114
GMC TRUCK, INC.
ANDREW C ALBERT                     9635 SE 171TH PL                                                                               SUMMERFIELD       FL      34491‐6833
ANDREW C AZUA                       36 W BEVERLY AVE                                                                               PONTIAC           MI      48340‐2616
ANDREW C BERG                       3540 EMERSON AVE S #201                                                                        MINNEAPOLIS       MN      55408
ANDREW C DUHAN JR                   116 NORTH JEFFERSON ST                                                                         ABBEVILLE         LA      70510‐4643
ANDREW C DUHON JR                   116 NORTH JEFFERSON ST                                                                         ABBEVILLE         LA      70510‐4643
ANDREW C EDSALL                     1245 BRAINARD WOODS DR                                                                         DAYTON            OH      45458‐2901
ANDREW C GOLD                       FOLEY & LARDNER LLP           HERRICK, FEINSTEIN LLP       2 PARK AVE                          NEW YORK          NY      10016
ANDREW C HOES                       529 BOWEN ST                                                                                   DAYTON            OH      45410‐2420
ANDREW C JAMES                      488 W. BENNETT                                                                                 FERNDALE          MI      48220‐3225
ANDREW C KASON JR                   7955 RODGERS RD                                                                                LODI              OH      44254‐9726
ANDREW C LICKLITER                  6930 FAYETTE DR                                                                                W JEFFERSON       OH      43162
ANDREW C PETERSON                   9901 WOLF CREEK PIKE                                                                           TROTWOOD          OH      45426
ANDREW C SINCO                      101 PLYMOUTH AVE S                                                                             MATTYDALE         NY      13211‐1835
ANDREW C TITUS                      6221 DIXIE HWY                PO BOX 252                                                       BRIDGEPORT        MI      48722‐9513
ANDREW C. FANTASIA
ANDREW CABALA                       2132 E CODY ESTEY RD                                                                           PINCONNING        MI      48650‐9710
ANDREW CACCIATORE                   119 HILLCREST AVE                                                                              YONKERS           NY      10705‐1511
ANDREW CACOSSA                      6606 FLINTLOCK RDG                                                                             SHELBY TOWNSHIP   MI      48317‐3128
ANDREW CALCAGNO                     2344 COUCH LN                                                                                  COLUMBIA          TN      38401‐7132
ANDREW CALDWELL                     PO BOX 3383                                                                                    KINGSPORT         TN      37664‐0383
ANDREW CAMERON                      207 MONTICELLO PL                                                                              PEACHTREE CITY    GA      30269‐2640
ANDREW CAMPBELL                     734 TUMBLEWEED LN             APT 108                                                          CHARLOTTE         MI      48813‐7534
ANDREW CAMPBELL                     47309 TANIA CT                                                                                 PLYMOUTH          MI      48170‐3887
ANDREW CAMPBELL                     2184 O BRIEN RD                                                                                MOUNT MORRIS      MI      48458
ANDREW CANADA                       106 OAK ST                                                                                     TROTWOOD          OH      45426‐3520
ANDREW CANDELARIO                   3303 OAK VISTA WAY                                                                             LAWRENCEVILLE     GA      30044‐6729
ANDREW CAPONI
ANDREW CARAVAGGIO                   2936 NEWARK RD                                                                                 METAMORA          MI      48455‐9354
ANDREW CARD                         1341 IVA ST                                                                                    BURTON            MI      48509‐1526
ANDREW CARIK                        7620 ORLANDO DR                                                                                PARMA             OH      44134‐6629
ANDREW CARMEN                       1814 KNOWLES ST                                                                                EAST CLEVELAND    OH      44112‐3919
ANDREW CARNAHAN                     9343 DUFFIELD RD                                                                               MONTROSE          MI      48457‐9163
ANDREW CARNAN                       330 TECUMSEH AVE                                                                               MOUNT VERNON      NY      10553‐1905
ANDREW CARRIVEAU                    3707 ACADEMY ST                                                                                DEARBORN          MI      48124‐3328
ANDREW CARROW
ANDREW CARTER                       APT 3D                        2801 NORTH SILVERTREE LANE                                       MUNCIE             IN     47304‐5487
ANDREW CARTER                       1797 CULLEOKA HIGHWAY                                                                          CULLEOKA           TN     38451‐2714
ANDREW CARTER                       506 W PHILADELPHIA BLVD                                                                        FLINT              MI     48505‐3267
ANDREW CARUANA                      239 FERNDALE AVE                                                                               KENMORE            NY     14217‐1048
ANDREW CASCIO                       9305 CASTLEBROOK DR                                                                            SHREVEPORT         LA     71129‐4807
ANDREW CASH MD                      9241 WORSLEY PARK PL                                                                           LAS VEGAS          NV     89145
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Name                      Address1                        Address2                  Address3      Address4               City             State Zip
ANDREW CASMER             41905 HUNTINGTON CT                                                                            CLINTON TOWNSHIP MI 48038‐2175

ANDREW CERMELE JR         101 VILLANOVA DR                                                                               LAWRENCEVILLE      NJ   08648‐4430
ANDREW CERNY              3012 N PARK AVENUE EXT                                                                         WARREN             OH   44481‐9365
ANDREW CHAAB              9 PARKER RD                                                                                    EDISON             NJ   08820‐2323
ANDREW CHAMBLISS JR       1977 RENFROE RD                                                                                UNION SPRINGS      AL   36089‐2811
ANDREW CHANDLER           625 SUNSET ST                                                                                  PLYMOUTH           MI   48170‐1075
ANDREW CHARLTON           15 WEBBSHAW DR                                                                                 DAYTON             OH   45458‐4615
ANDREW CHEATHAM           1904 SUMTER CT                                                                                 COLUMBIA           TN   38401‐6811
ANDREW CHERNY             14743 WICK RD                                                                                  ALLEN PARK         MI   48101‐1639
ANDREW CHEVROLET, INC.    ANDREW SCHLESINGER              1500 W SILVER SPRING DR                                        GLENDALE           WI   53209‐4419
ANDREW CHEVROLET, INC.    1500 W SILVER SPRING DR                                                                        GLENDALE           WI   53209‐4419
ANDREW CHODUBSKI          5793 RUBY DR                                                                                   TROY               MI   48085‐3922
ANDREW CHUNCO             2980 EWINGS RD                                                                                 NEWFANE            NY   14108‐9636
ANDREW CHURILLA           31205 BALMORAL ST                                                                              GARDEN CITY        MI   48135‐1984
ANDREW CIERKOWSKI         11 DEER PARK DR                                                                                CONOWINGO          MD   21918‐1508
ANDREW CIKO               1576 S STEPHAN BRIDGE RD                                                                       GRAYLING           MI   49738‐9426
ANDREW CLARK              7712 NE 53RD TER                                                                               KANSAS CITY        MO   64119‐4075
ANDREW CLARK              1690 GEORGETOWNE BLVD                                                                          SARASOTA           FL   34232‐2008
ANDREW CLEARY             16965 NEW HAMPSHIRE DR                                                                         SOUTHFIELD         MI   48075‐2940
ANDREW COFFEE             446 S ANDERSON AVE                                                                             PONTIAC            MI   48342‐3408
ANDREW COLBURN            12353 S BAUER RD                                                                               EAGLE              MI   48822‐9502
ANDREW COLEMAN            3933 MILTON ST                                                                                 SHREVEPORT         LA   71109‐3229
ANDREW COLES              19207 RIDGEWOOD AVE                                                                            WARRENSVILLE       OH   44122
                                                                                                                         HEIGHTS
ANDREW COLUCCI            13641 BURLWOOD DR                                                                              STRONGSVILLE       OH   44136‐3773
ANDREW COMBS              4411 HOOK RD                                                                                   CRESTLINE          OH   44827‐9642
ANDREW CONNOLLY JR        536 FLANDERS ST                                                                                SOUTHINGTON        CT   06489‐2067
ANDREW CONRAD             PO BOX 355                                                                                     VERNON             MI   48476‐0355
ANDREW COOKS              4579 KIRK RD #4B8                                                                              AUSTINTOWN         OH   44515‐5364
ANDREW COOKS II           30 LAKEWOOD CIR                                                                                YOUNGSTOWN         OH   44505‐4281
ANDREW COPLAND            40587 OAKBROOK DR                                                                              STERLING HEIGHTS   MI   48310‐1760
ANDREW CORNELIOUS         7919 BAYARD DR                                                                                 INDIANAPOLIS       IN   46259‐5774
ANDREW CORNELIOUS         1815 BELLEVIEW AVE                                                                             WESTCHESTER        IL   60154‐4342
ANDREW CORP               PO BOX 96879                                                                                   CHICAGO            IL   60693‐0001
ANDREW CORP                                               10500 W 153RD STREET                                                              IL   60462
ANDREW CORP                                               31225 BAINBRIDGE ROAD                                                             OH   44139
ANDREW CORP/ADDISON       10500 W 153RD ST                                                                               ORLAND PARK        IL   60462‐3071
ANDREW CORP/ORLND PK      10500 W 153RD ST                                                                               ORLAND PARK        IL   60462‐3071
ANDREW CORPORATION        10500 W 153RD ST                                                                               ORLAND PARK        IL   60462‐3071
ANDREW COSBY JR           PO BOX 432104                                                                                  PONTIAC            MI   48343‐2104
ANDREW COTTAGE            4709 ROBINWOOD DR                                                                              MENTOR             OH   44060‐1148
ANDREW COTTON             3122 RUST AVE                                                                                  SAGINAW            MI   48601‐3170
ANDREW COTTON             194 W UNION ST                                                                                 MOUNT GILEAD       OH   43338‐1110
ANDREW COUNTY COLLECTOR   PO BOX 47                                                                                      SAVANNAH           MO   64485‐0047
ANDREW COUSINS            13051 NORTHFIELD BLVD                                                                          OAK PARK           MI   48237‐1605
ANDREW CRAIG              1101 CINDY DR                                                                                  LANSING            MI   48917‐9239
ANDREW CROSNO             G4073 RHEA ST                                                                                  BURTON             MI   48509
ANDREW CUMMERFORD         PO BOX 54                                                                                      MILLINGTON         MD   21651‐0054
ANDREW CURRY JR           446 NEVILLE ST                                                                                 PERTH AMBOY        NJ   08861‐3111
ANDREW CUSACK             2050 W CLARK RD                                                                                DEWITT             MI   48820‐8131
ANDREW CUSSON             48905 9 MILE RD                                                                                NORTHVILLE         MI   48167‐9707
ANDREW CVERCKO            3910 SEAGATE DR                                                                                MELBOURNE          FL   32904‐9108
ANDREW CZAPP              1816 E MOORE RD                                                                                SAGINAW            MI   48601‐9353
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Name                               Address1                         Address2                        Address3      Address4               City            State   Zip
ANDREW CZARNECKI                   415 ARGYLE AVE                                                                                        YOUNGSTOWN       OH     44512‐2325
ANDREW CZYMBOR                     1 ARDUSSI CT                                                                                          FRANKENMUTH      MI     48734‐1414
ANDREW D ANDERSON                  345 SAINT THOMAS DR APT A                                                                             NEWPORT NEWS     VA     23606‐4311
ANDREW D BARRON                    159 HERITAGE EST                                                                                      ALBION           NY     14411
ANDREW D BENDTSEN                  2989 MCNEAL RD                                                                                        PITTSBURGH       PA     15101
ANDREW D BUTLER JR                 5102 WESHIRE DR                                                                                       MANSFIELD        TX     76063‐6752
ANDREW D COMBS                     4411 HOOK RD                                                                                          CRESTLINE        OH     44827‐9642
ANDREW D FINLEY                    1699 S TRENTON ST UNIT 70                                                                             DENVER           CO     80231‐5603
ANDREW D LIEFFRING                 3352 ANNABELLE DRIVE                                                                                  KETTERING        OH     45429
ANDREW D LOCKLIN                   135 N ARDMORE AVE                                                                                     DAYTON           OH     45417‐2203
ANDREW D MAYES                     PO BOX 2726                                                                                           DETROIT          MI     48202‐0726
ANDREW D MILLER                    30 GRAY SQUIRREL LANE                                                                                 LEWISTOWN        PA     17044
ANDREW D PEREZ                     4307 N CENTER RD                                                                                      FLINT            MI     48506‐1441
ANDREW D ROWLAND                   206 BRUBAKER DR APT 1                                                                                 NEW CARLISLE     OH     45344
ANDREW D'URSO JR                   422 MOONLIGHT DR                                                                                      CORSICANA        TX     75109‐9562
ANDREW DAAVETTILA                  9166 EVERGREEN RD                                                                                     BRIGHTON         MI     48116‐8314
ANDREW DAHMS                       1309 JORDAN LAKE AVE                                                                                  LAKE ODESSA      MI     48849‐1188
ANDREW DANISH                      C/O THE LAW OFFICES OF PETER G   100 N CHARLES ST, 22ND FL                                            BALTIMORE        MD     21201
                                   ANGELOS
ANDREW DANKO                       6176 HEDGEROW CIR                                                                                     GRAND BLANC     MI      48439‐9787
ANDREW DAVENPORT                   802 N FENTON RD                                                                                       MARION          IN      46952‐2525
ANDREW DAVENPORT                   4137 BREEZEWOOD AVE                                                                                   DAYTON          OH      45406‐1311
ANDREW DAVIDSON                    950 TAPESTRY LANE                                                                                     TROTWOOD        OH      45426
ANDREW DAVIDSON                    26431 LA TRAVIATA                                                                                     LAGUNA HILLS    CA      92653‐6522
ANDREW DAVIDSON                    950 TAPESTRY LN                                                                                       TROTWOOD        OH      45426‐3742
ANDREW DAVIS                       610 E 4TH ST                                                                                          LIMA            OH      45804‐2512
ANDREW DAVIS                       PO BOX 9448                                                                                           TOLEDO          OH      43697‐9448
ANDREW DAVIS                       1701 BARBARA DR                                                                                       FLINT           MI      48504‐3619
ANDREW DAVIS III                   24992 HOLT RD                                                                                         ELKMONT         AL      35620‐3854
ANDREW DE LA CRUZ JR               5985 HESS RD                                                                                          SAGINAW         MI      48601‐9419
ANDREW DE MARCO                    130 VINTON RD                                                                                         ROCHESTER       NY      14622‐2416
ANDREW DEAN                        5908 W 153RD TER                                                                                      OVERLAND PARK   KS      66223‐3642
ANDREW DEBODA                      18 COVE VW                       HIGHVIEW                                                             MILLSBORO       DE      19966‐9641
ANDREW DEGNER                      2662 BATH RD                                                                                          PENN YAN        NY      14527‐9501
ANDREW DELIE                       14902 MASONIC BLVD                                                                                    WARREN          MI      48088‐6231
ANDREW DELIKTA                     2279 GEORGELAND DR                                                                                    WATERFORD       MI      48329‐3740
ANDREW DELLA VECCHIA               10 BENEDICT ST                                                                                        TERRYVILLE      CT      06786‐5522
ANDREW DELONG/GAIL DELONG SPOUSE   MCKENNA & ASSOCIATES P C         438 BOULEVARD OF THE ALLIES                                          PITTSBURGH      PA      15219‐1331
                                                                    SUITE 500
ANDREW DEMBICKS                    ANDREW DEMBICKS                  3200 LAKE WOODARD DR STE 107                                         RALEIGH          NC     27604‐3697
ANDREW DENHAM                      908 BYRAM LAKE DR                                                                                     LINDEN           MI     48451‐8769
ANDREW DENMAN                      3226 S MCCLELLAND RD                                                                                  ASHLEY           MI     48806‐9364
ANDREW DENTON JR                   11271 S LOOMIS ST                                                                                     CHICAGO          IL     60643‐4471
ANDREW DESIMONE
ANDREW DEVINE                      5791 S ORNAMENTAL DR                                                                                  BLOOMINGTON     IN      47401‐9307
ANDREW DEVOTA                      4668 CHESANING RD                                                                                     CHESANING       MI      48616‐8464
ANDREW DIVO                        PO BOX 268                                                                                            AU GRES         MI      48703‐0268
ANDREW DIXON                       1318 E 14 MILE RD                                                                                     ROYAL OAK       MI      48073‐2065
ANDREW DOAK                        372 E MILLER RD                                                                                       MIDLAND         MI      48640‐8211
ANDREW DOBBINS                     MOTLEY RICE LLC                  28 BRIDGESIDE BLVD              PO BOX 1792                          MT PLEASANT     SC      29465
ANDREW DOBBINS                     HUMPHREYS JAMES F                BANK ONE PLAZA STE 1113 , 707                                        CHARLESTON      WV      25301
                                                                    VIRGINIA ST E
ANDREW DOLAN                       264 MYRTLE TRL                                                                                        OXFORD           MI     48371‐6345
ANDREW DOLGNER                     30771 TAMARACK ST APT 41112                                                                           WIXOM            MI     48393‐2739
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Name                                   Address1                        Address2                     Address3      Address4               City                 State   Zip
ANDREW DOYLE                           PO BOX 1065                                                                                       PORT RICHEY           FL     34673‐1065
ANDREW DRAKOS                          3650 HI VILLA DR                                                                                  LAKE ORION            MI     48360‐2457
ANDREW DRISKEL                         108 E SCHOOL ST                                                                                   NAPOLEON              OH     43545‐9217
ANDREW DRISKEL                         811 NORTH COLONY ROAD                                                                             GRAND ISLAND          NY     14072‐2901
ANDREW DUARTE                          6064 GLEN HARBOR DR 1                                                                             SAN JOSE              CA     95123
ANDREW DUDLEY                          7740 BLACKBURN CT                                                                                 REYNOLDSBURG          OH     43068
ANDREW DUKARSKI                        9033 RIDGETREE DR                                                                                 FORT WAYNE            IN     46819‐2344
ANDREW DUKE                            6543 EUDAILY COVINGTON RD                                                                         COLLEGE GROVE         TN     37046‐9109
ANDREW DWOINEN                         3670 WOODCREST RD                                                                                 ROCHESTER HILLS       MI     48309‐3966
ANDREW E BEAMON                        PO BOX 14344                                                                                      SAGINAW               MI     48601‐0344
ANDREW E CANADA                        106 OAK ST                                                                                        DAYTON                OH     45426
ANDREW E KUSCH                         2346 LUCERNE DR                                                                                   SAN DIEGO             CA     92106
ANDREW E OLIVER                        C/O WILLIAMS KHERKHER HART &    8441 GULF FREEWAY STE 600                                         HOUSTON               TX     77007
                                       BOUNDAS LLP
ANDREW EBERT                           820 N MARKET ST                                                                                   ANDREWS              IN      46702‐9776
ANDREW ECKERT                          8254 W 100 N                                                                                      ANDREWS              IN      46702‐9424
ANDREW EDWARDS JR                      PO BOX 310193                                                                                     FLINT                MI      48531‐0193
ANDREW EGET                            12802 GARDENSIDE DR                                                                               N ROYALTON           OH      44133‐1018
ANDREW EISCHEID                        1028 N ALEXANDER AVE                                                                              ROYAL OAK            MI      48067‐3629
ANDREW ELEK                            PO BOX 10                                                                                         LEONARD              MI      48367‐0010
ANDREW ELLIS                           191 FAIRHILL WAY                                                                                  HOWELL               MI      48843‐6003
ANDREW ELLUL                           54714 JACK DR                                                                                     MACOMB               MI      48042‐1632
ANDREW EMANUELE                        BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                        BOSTON HTS.          OH      44236
ANDREW EMMENDORFER                     15350 BUECHE RD                                                                                   CHESANING            MI      48616‐9768
ANDREW ERICKSON                        27953 705TH AVE                                                                                   DASSEL               MN      55325‐3141
ANDREW EURICH                          457 E CENTER RD                                                                                   ESSEXVILLE           MI      48732‐9780
ANDREW F BUMBERA                       8411 N SAGE VIS                                                                                   PRESCOTT VALLEY      AZ      86315
ANDREW F KRAINZ JR AND SUSAN A         ANDREW F KRAINZ JR              SUSAN A KRAINZ JT TEN        PO BOX 7195                          MOUNT JEWETT         PA      16740‐7195
KRAINZ JT TEN
ANDREW F LUTTIG                         11301 W M 21                                                                                     FOWLER                MI     48835
ANDREW F MONDO                          206 MATTY AVE                                                                                    SYRACUSE              NY     13211‐1633
ANDREW F. KRAINZ, JR. & SUSAN A. KRAINZ P.O. BOX 7195                                                                                    MOUNT JEWETT          PA     16740‐7195

ANDREW FAGO                            21064 NW 166TH PL                                                                                 HIGH SPRINGS         FL      32643‐7771
ANDREW FAIRBANKS JR                    1095 N TURNER RD                                                                                  YOUNGSTOWN           OH      44515‐1049
ANDREW FALCON                          8182 LANDSTAR DR SW                                                                               BYRON CENTER         MI      49315‐8933
ANDREW FARAH                           4642 WHITE OAKS DR                                                                                TROY                 MI      48098‐4153
ANDREW FARLEY                          200 BRUCE ST                                                                                      PICAYUNE             MS      39466‐5204
ANDREW FARRIS                          13736 THORNTON ST                                                                                 DETROIT              MI      48227‐3081
ANDREW FAVORS                          3712 LOCHEARN DR                                                                                  BALTIMORE            MD      21207‐6360
ANDREW FEGAN                           22956 MAXINE ST                                                                                   SAINT CLAIR SHORES   MI      48080‐2508

ANDREW FEHER                           6 WOODLAND HTS                                                                                    ASHLAND              PA      17921‐1412
ANDREW FELDPAUSCH                      7817 LAKE DR                                                                                      RODNEY               MI      49342‐9606
ANDREW FENNELL                         120 COMPTON RD                                                                                    ROCKMART             GA      30153‐4951
ANDREW FENSLER                         3831 SAN PEDRO DR                                                                                 FORT WAYNE           IN      46815‐5746
ANDREW FERICH                          1813 MAJON                                                                                        HIGHLAND             MI      48356‐1758
ANDREW FERRANS                         15622 FORDLINE ST                                                                                 SOUTHGATE            MI      48195‐2034
ANDREW FIEGL                           3257 GARFIELD AVE # B                                                                             READING              PA      19605‐2169
ANDREW FILICE                          921 PIERCE RD                                                                                     LANSING              MI      48910‐5272
ANDREW FILIPOVICH                      7725 LINCOLN AVENUE EXT                                                                           LOCKPORT             NY      14094‐9321
ANDREW FINDLEY                         TRLR 282                        9009 NORTHWEST 10TH STREET                                        OKLAHOMA CITY        OK      73127‐7466
ANDREW FINKLEY                         BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                        BOSTON HTS.          OH      44236
ANDREW FINLEY                          UNIT 70                         1699 SOUTH TRENTON STREET                                         DENVER               CO      80231‐5603
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Name                                  Address1                        Address2                     Address3    Address4               City               State   Zip
ANDREW FIRTH                          9471 BENNETT LAKE RD                                                                            FENTON              MI     48430‐8732
ANDREW FISCHER                        9427 MCKINLEY RD                                                                                MONTROSE            MI     48457‐9186
ANDREW FISHER                         10 LOTT PL                                                                                      KETTERING           OH     45420‐2924
ANDREW FISHER                         1204 ROSEWAY AVE SE                                                                             WARREN              OH     44484‐2811
ANDREW FITZGERALD
ANDREW FLEMING                        2257 BATES RD                                                                                   MOUNT MORRIS       MI      48458‐2603
ANDREW FLOWERS                        130 MARGUERITE DR                                                                               VICKSBURG          MS      39180‐9747
ANDREW FOGG                           4884 GRAY ST                                                                                    DETROIT            MI      48215‐2043
ANDREW FOLDI                          1942 GOLD LAKE DR                                                                               FORT MOHAVE        AZ      86426‐6773
ANDREW FONTELLO                       10 LEA RD                                                                                       NEW CASTLE         DE      19720‐1908
ANDREW FORD                           5347 BRISTOL PARKE DR                                                                           CLARKSTON          MI      48348‐4827
ANDREW FORTE
ANDREW FOSLIEN                        6520 NADETTE                                                                                    CLARKSTON          MI      48346‐1119
ANDREW FOSTER                         414 W JEFFERSON ST                                                                              PETOSKEY           MI      49770‐2264
ANDREW FOSTER JR                      1631 NORTHGATE RD                                                                               BALTIMORE          MD      21218‐1621
ANDREW FOUNTAIN                       881 STORMY LN                                                                                   JONESBORO          GA      30238‐5984
ANDREW FOWLKES                        4404 WINSTON DR                                                                                 FORT WAYNE         IN      46806‐2536
ANDREW FOX                            25739 KILREIGH CT                                                                               FARMINGTON HILLS   MI      48336‐1546

ANDREW FOX JR                         HC 35 BOX 918                                                                                   DANESE             WV      25831‐9020
ANDREW FOXWORTH                       5014 W CONCORD RD                                                                               BRENTWOOD          TN      37027‐6520
ANDREW FRAELICH                       414 BLUE CLIFF PL                                                                               FORT WAYNE         IN      46804‐6463
ANDREW FRIESEN & ANNE MARIE FRIESEN   127 COOPER GAP RD                                                                               SUCHES             GA      30572‐3120

ANDREW FULLER                         756 DORSET AVE                                                                                  YPSILANTI          MI      48198‐6142
ANDREW FURCHAK JR                     1353 LAUREL BLVD                                                                                LANOKA HARBOR      NJ      08734‐2913
ANDREW FUSCO                          C/O WEITZ & LUXENBERG PC        700 BROADWAY                                                    NEW YORK CITY      NY      10003
ANDREW FUSCO                          WEITZ & LUXENBERG P C           700 BROADWAY                                                    NEW YORK CITY      NY      10003
ANDREW G CREAMER                      95 PARKDALE AVE                                                                                 PONTIAC            MI      48340‐2547
ANDREW G GOFFINET                     9800 NW POLO DR STE 100                                                                         KANSAS CITY        MO      64153‐1394
ANDREW G MATEY                        920 SAINT MARKS WALK                                                                            SUWANEE            GA      30024‐6616
ANDREW G STARKEY SR                   C/O WILLIAMS KHERKHER HART &    8441 GULF FREEWAY STE 600                                       HOUSTON            TX      77007
                                      BOUNDAS LLP
ANDREW GAGER                          525 S NEWTON ST                                                                                 MIDDLETON          MI      48856‐9768
ANDREW GAINES, JR.                    7722 N 80TH ST                                                                                  MILWAUKEE          WI      53223‐3810
ANDREW GALANT                         2731 PLYMOUTH DR                                                                                SHELBY TOWNSHIP    MI      48316‐4888
ANDREW GALANTE                        1319 OAKLAND ST                                                                                 SAINT CLAIR        MI      48079‐5120
ANDREW GARAY                          3442 TUPELO ST                                                                                  GROVE CITY         OH      43123‐3816
ANDREW GARCIA
ANDREW GARDNER JR                     1465 CROWLEY RD                                                                                 THOMASVILLE        GA      31757‐2075
ANDREW GARRAGHAN JR                   1441 S 68TH ST APT 248                                                                          WEST ALLIS         WI      53214‐4972
ANDREW GARRIS                         51 S WASHINGTON ST                                                                              OXFORD             MI      48371‐6418
ANDREW GASPAREK                       15240 INKSTER RD                                                                                ROMULUS            MI      48174‐2903
ANDREW GASPER                         BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                      BOSTON HTS.        OH      44236
ANDREW GATEWOOD                       2021 CHENE ST APT 304                                                                           DETROIT            MI      48207‐4966
ANDREW GAYDEN JR                      6455 MARBLE LN                                                                                  FLUSHING           MI      48433‐2587
ANDREW GELLATLY                       54940 CONGAREE DR                                                                               MACOMB             MI      48042‐6145
ANDREW GENOVA                         29809 MACKENZIE CIR W           CLE                                                             WARREN             MI      48092‐3341
ANDREW GENUALDI                       2257 N ROLLING RIDGE DR                                                                         MIDLAND            MI      48642‐8616
ANDREW GERKMAN                        8602 WILDWOOD TRL                                                                               SOUTH LYON         MI      48178‐9634
ANDREW GETSIE                         10214 CHESTNUT PLAZA DR                                                                         FORT WAYNE         IN      46814‐8970
ANDREW GEVAERT                        7485 DISPUTED RD                                                         WINDSOR ON N9A6Z6
                                                                                                               CANADA
ANDREW GIBBONS                        621 ELEANOR AVE                                                                                 DAYTON             OH      45408‐1224
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Name                Address1                         Address2               Address3         Address4               City               State   Zip
ANDREW GIBSON JR    4275 W FARRAND RD                                                                               CLIO                MI     48420‐8244
ANDREW GIEDROCZ     19904 AARON DR                                                                                  HARRAH              OK     73045‐6305
ANDREW GIEDROCZ     921 ADAMS ST                                                                                    SAGINAW             MI     48602‐2304
ANDREW GILLETT      3915 BOULDER DR                                                                                 TROY                MI     48084‐1120
ANDREW GIOELI       77 IRVING ST                                                                                    LOCKPORT            NY     14094‐2539
ANDREW GIPSON       5618 NW 87TH TERR # C 257                                                                       KANSAS CITY         MO     64154
ANDREW GNALL        7102 SANDY HOLLOW ROAD                                                                          HARRISBURG          PA     17112
ANDREW GOLAC        1407 KOREY BLVD                                                                                 SEVIERVILLE         TN     37876‐0584
ANDREW GOODSTEIN    46059 PORTOLA AVE                                                                               PALM DESERT         CA     92260‐5505
ANDREW GOSKE        7098 OAK DR                                                                                     POLAND              OH     44514‐3762
ANDREW GOULD        3750 S LEAVITT RD SW                                                                            WARREN              OH     44481‐9114
ANDREW GOWAN        45231 FAIR OAKS DR                                                                              CANTON              MI     48187‐5003
ANDREW GRAHAM       3314 RONALD ST                                                                                  LANSING             MI     48911‐2642
ANDREW GRAHN        G578 STATE ROUTE 108                                                                            HOLGATE             OH     43527‐9710
ANDREW GRANT        5171 HARRY ST                                                                                   FLINT               MI     48505‐1769
ANDREW GRANT
ANDREW GRAY         1565 MILLECOQUINS CT                                                                            ROCHESTER          MI      48307‐6032
ANDREW GRAY         99 LAKENGREN DR                                                                                 EATON              OH      45320‐2674
ANDREW GRAZIANA     19333 BRODY AVE                                                                                 ALLEN PARK         MI      48101‐3442
ANDREW GREEN        54700 11 MILE RD                                                                                NEW HUDSON         MI      48165‐9761
ANDREW GREEN        1599 TREE TRUNK LN                                                                              CHAPEL HILL        TN      37034‐2064
ANDREW GREENLEE     2833 DAKOTA DR                                                                                  ANDERSON           IN      46012‐1413
ANDREW GREER        232 PARKER ST                                                                                   HOUSTON            PA      15342‐1039
ANDREW GREGOR JR    10000 NE GUN CLUB RD                                                                            MCMINNVILLE        OR      97128‐8203
ANDREW GRESKOVICH   5146 MILLER SOUTH RD                                                                            BRISTOLVILLE       OH      44402‐9780
ANDREW GRIESSER     1750 ALGONQUIAN TRL                                                                             LAKE ORION         MI      48362‐4010
ANDREW GRUBB        303 E 6TH                                                                                       MATTHEWS           IN      46957
ANDREW GUDALEWSKY   1808 WILLANN RD                                                                                 BALTIMORE          MD      21237‐1750
ANDREW GUESS        3566 FOX ST                                                                                     INKSTER            MI      48141‐2023
ANDREW GUY          3306 WINWOOD DR                                                                                 FLINT              MI      48504‐1251
ANDREW GUY JR       202 WAYPOINT CIRCLE                                                                             HARVEST            AL      35749
ANDREW GWIN         8733 ARBUTUS                                                                                    FARWELL            MI      48622‐8720
ANDREW H GATES      18607 78TH PL WEST                                                                              EDMONDS            WA      98026
ANDREW H LOWE       11208 STATE ROUTE 730                                                                           BLANCHESTER        OH      45107
ANDREW H ONEY       8795 FARMERSVLLE‐ W CARR                                                                        GERMANTOWN         OH      45327
ANDREW HAGER        13030 DEKOVEN DR                                                                                FISHERS            IN      46037‐7714
ANDREW HAIGHT       15463 N ALLIS HWY                                                                               MILLERSBURG        MI      49759‐9396
ANDREW HALKO        202 HYDE PARK PL                                                                                YARDLEY            PA      19067‐5804
ANDREW HALL         5079 WOODCLIFF DR                                                                               FLINT              MI      48504‐1254
ANDREW HALL         217 EDISON ST                                                                                   PONTIAC            MI      48342‐1422
ANDREW HALL         2421 OAKRIDGE CT                                                                                DECATUR            GA      30032‐6371
ANDREW HALLOCHAK    27439 ENGLESIDE ST                                                                              FARMINGTON HILLS   MI      48336‐1664

ANDREW HAMILTON     325 CRUM ST                                                                                     LAINGSBURG          MI     48848‐9603
ANDREW HAMLIN       204 PRATT RD                                                                                    KALAMAZOO           MI     49001‐5323
ANDREW HAMMONDS     3801 SAINT JOHNS AVE LOT 27                                                                     PALATKA             FL     32177‐3959
ANDREW HAMPTON      8900 30 MILE RD                                                                                 WASHINGTON TWP      MI     48095‐1911

ANDREW HAMPTON JR   5972 FAIRDALE DR                                                                                FAIRFIELD          OH      45014‐2321
ANDREW HANNAFORD    1501 HUGHEL DR                                                                                  ANDERSON           IN      46012‐4611
ANDREW HANNAH       7605 W COPPER CREST PL                                                                          TUCSON             AZ      85743‐5301
ANDREW HANZEL       67889 SISSON ST                                                                                 WASHINGTON TWP     MI      48095‐1367

ANDREW HARDIN       18 ARMOR CT                                                                                     BALTIMORE          MD      21220‐3401
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Name                           Address1                        Address2                      Address3      Address4               City               State Zip
ANDREW HARENCHAR               PO BOX 477                                                                                         CLIO                MI 48420‐0477
ANDREW HARRIS                  428 DELIA ST                                                                                       FLINT               MI 48505‐4620
ANDREW HARRIS                  428 W STEWART ST                                                                                   DAYTON              OH 45408‐2049
ANDREW HARRISON                12841 CLINTON RD                                                                                   SPRINGPORT          MI 49284‐9735
ANDREW HART                    123 JEFFERSON AVE                                                                                  MASSENA             NY 13662‐1257
ANDREW HART                    108 N MAIN ST                                                                                      LESLIE              MI 49251‐2509
ANDREW HATCHETT                7098 S KETCHAM RD                                                                                  BLOOMINGTON         IN 47403‐9672
ANDREW HAVILAND                7390 CRYSTAL LAKE DR APT 7                                                                         SWARTZ CREEK        MI 48473‐8940
ANDREW HAWK                    11026 MARION CENTER RD                                                                             FORT WAYNE          IN 46816‐9791
ANDREW HEATON JR               63 LOU ANN DR                                                                                      DEPEW               NY 14043‐1211
ANDREW HECKMAN                 4593 PERSIMMON DR                                                                                  SAGINAW             MI 48603‐5223
ANDREW HENDRICK                2928 FINGERS DR NE                                                                                 GRAND RAPIDS        MI 49525‐1100
ANDREW HENIGE                  220 S FRONT ST                                                                                     CHESANING           MI 48616‐1329
ANDREW HERMAN                  53727 BRIAR DR                                                                                     SHELBY TWP          MI 48316‐2230
ANDREW HERMAN                  20833 BON HEUR ST                                                                                  SAINT CLAIR SHORES MI 48081‐1807

ANDREW HERMANN                 1639 MACKWOOD RD.                                                                                  ROCHESTER HILLS    MI   48307
ANDREW HERRMANN                3813 HUNTER AVE                                                                                    DES MOINES         IA   50311‐2714
ANDREW HIBEN                   2327 E WHITTEMORE AVE                                                                              BURTON             MI   48529‐2327
ANDREW HIND
ANDREW HOFBAUER                5068 MARK DAVID DR                                                                                 SWARTZ CREEK       MI   48473‐8500
ANDREW HOHENZY JR              715 LINDEN CT                                                                                      BOLINGBROOK        IL   60440‐2620
ANDREW HOLCOMB                 7000 CLAMPTON CT                                                                                   CANTON             MI   48187‐2701
ANDREW HOLLIBAUGH              18351 130TH AVE                                                                                    LEROY              MI   49655‐8405
ANDREW HOLLIS                  3712 HERITAGE PKWY                                                                                 DEARBORN           MI   48124‐3152
ANDREW HOLLOWAY                101 S HOLLOWAY DR                                                                                  BYRON              MI   48418‐9796
ANDREW HOOD                    3454 N DENNY ST                                                                                    INDIANAPOLIS       IN   46218‐1416
ANDREW HORDE                   24240 GARDNER ST                                                                                   OAK PARK           MI   48237‐1512
ANDREW HORVATH                 10115 PATRICK HENRY LN                                                                             CHARLOTTE          NC   28277‐8818
ANDREW HOSKINS                 C/O WILLIAMS KHERKHER HART &    8441 GULF FREEWAY, STE 600                                         HOUSTON            TX   77007
                               BOUNDAS, LLP
ANDREW HOSPODOR JR             8800 STONEMAN RD                                                                                   STREETSBORO       OH    44241‐5821
ANDREW HOUTHOOFD               1221 OLD JACKSON HWY                                                                               JACKSON           SC    29831‐2703
ANDREW HOWARD                  1301 BENT DR                                                                                       FLINT             MI    48504‐1903
ANDREW HRIFKO                  121 TALSMAN DR UNIT 2                                                                              CANFIELD          OH    44406‐1917
ANDREW HUBECKA                 379 WEST ROBERT AVENUE                                                                             HAZEL PARK        MI    48030‐1738
ANDREW HUDSON                  5261 BUNKER RD                                                                                     MASON             MI    48854‐9732
ANDREW HUFFMAN                 6628 TWELVE OAKS DR                                                                                ANDERSON          IN    46013‐9671
ANDREW HUFFMAN                 5028 SHIELDS RD                                                                                    HOLLY             MI    48442‐9780
ANDREW HUNT                    905 MANSION DR                                                                                     HOPEWELL          VA    23860‐1923
ANDREW HUSBAND JR              4715 S WAVERLY RD                                                                                  LANSING           MI    48911‐2701
ANDREW INGRAM                  433 WALNUT ST                                                                                      HAMILTON          OH    45011‐3234
ANDREW INGRASSIA               9515 SW 92ND STREET RD                                                                             OCALA             FL    34481‐8204
ANDREW IVEY                    THE MADEKSHO LAW FIRM           8866 GULF FREEWAY SUITE 440                                        HOUSTON           TX    77017
ANDREW IWANCIW                 1252 HUNTERS POINT LN                                                                              SPRING HILL       TN    37174‐2187
ANDREW J & LAVONNE A ORAVETZ   ANDREW J ORAVETZ                LAVONNE A ORAVETZ             445 N 6 AVE                          COLD SPRING       MN    56320‐1412
ANDREW J ARRINGTON JR          PO BOX 251                                                                                         DEER PARK         TX    77536
ANDREW J AUMAN                 120 WESTROCK FARM DR                                                                               UNION             OH    45322‐2944
ANDREW J BLACK JR              2419 S GLENWOOD AVE                                                                                INDEPENDENCE      MO    64052‐1536
ANDREW J BOBECK                PO BOX 171                                                                                         LAKE VIEW         NY    14085‐0171
ANDREW J BRETSIK               PMB 7459                        PO BOX 2428                                                        PENSACOLA         FL    32513
ANDREW J BROWN JR              1407 REDWOOD DR                                                                                    PISCATAWAY        NJ    08854‐2050
ANDREW J BUCK                  312 BREMAN AVE                                                                                     SYRACUSE          NY    13211‐1533
ANDREW J BURKEEN               14 CITY LINE RD                                                                                    PONTIAC           MI    48342‐1106
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Name                                 Address1                         Address2                       Address3   Address4               City               State   Zip
ANDREW J BURNETTE JR                 PO BOX 2103                                                                                       DETROIT             MI     48202‐0103
ANDREW J COPLEY                      BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                       BOSTON HTS.         OH     44236
ANDREW J FITZGERALD                  AASI CUST OF IRA FBO             239 BARNES BRIDGE ROAD                                           SUNNYVALE           TX     75182‐9105
ANDREW J FORD                        5347 BRISTOL PARKE DR                                                                             CLARKSTON           MI     48348
ANDREW J FRONIUS JR                  37622 COREY LEWIS AVE                                                                             ZEPHYRHILLS         FL     33541
ANDREW J GOULD                       3750 S LEAVITT RD SW                                                                              WARREN              OH     44481‐9114
ANDREW J HALES                       C/O G PATTERSON KEAHEY PC        ONE INDEPENDENCE PLAZA SUITE                                     BIRMINGHAM          AL     35209
ANDREW J HALL                        12 TOWNSHIP ROAD 1196                                                                             DILLONVALE          OH     43917
ANDREW J HARRIS                      428 W STEWART ST                                                                                  DAYTON              OH     45408‐2049
ANDREW J HARRIS                      3550 GINGHAMSBURG FREDERICK RD                                                                    TIPP CITY           OH     45371
ANDREW J JANKOVICH                   226 EDITH DR                                                                                      MIDDLETOWN          OH     45042‐3903
ANDREW J JOHNSTON                    P O BOX 533                                                                                       GENESEO             NY     14454‐0533
ANDREW J JONES                       P O BOX 17                                                                                        HEIDELBERG          KY     41333‐0017
ANDREW J KADVAN                      1835 LYNN MAR AVE.                                                                                POLAND              OH     44514‐1452
ANDREW J KELSON                      PO BOX 573                                                                                        WARREN              OH     44482‐0573
ANDREW J KOORS                       2575 DUNHILL PL                                                                                   KETTERING           OH     45420
ANDREW J KRISKO                      800 LOVETTA AVE                                                                                   KETTERING           OH     45429
ANDREW J LABEDZ                      3428 N BRAVO DR                                                                                   BEVERLY HILLS       FL     34465‐4467
ANDREW J LATHAN                      76 GILBERT ST                    APT 1                                                            LE ROY              NY     14482‐1395
ANDREW J LOGES                       845 WESTHAFER ROAD                                                                                VANDALIA            OH     45377
ANDREW J MILLER                      1972 S BIRD SONG DR                                                                               TUCSON              AZ     85748
ANDREW J MITTS                       1709 SHADE TREE CT                                                                                SWANSEA              IL    62226‐7581
ANDREW J NEHLIG & ROBERTA W NEHLIG   1515 THE FAIRWAY APT 505                                                                          RYOAL               PA     19046

ANDREW J NOELL                       180 W CORNELL AVE                                                                                 PONTIAC            MI      48340‐2722
ANDREW J OROSS                       714 SCHOOL ST                                                                                     WEST MIFFLIN       PA      15122‐1849
ANDREW J PAPPAGALLO                  1186 CEDARWOOD DRIVE                                                                              MINERAL RIDGE      OH      44440
ANDREW J PAPPAGALLO                  6793 FOX CROSSING CT                                                                              AUSTINTOWN         OH      44515
ANDREW J PETERSEN                    3824 EVANS ST                                                                                     SAGINAW            MI      48601‐5971
ANDREW J POPOVICH                    513 PENNSYLVANIA BLVD                                                                             JEANNETTE          PA      15644
ANDREW J PUGH                        3700 STARLIGHT LN                                                                                 LANSING            MI      48911‐1457
ANDREW J REEVES JR                   PO BOX 3203                                                                                       WARREN             OH      44485‐0203
ANDREW J RHOADES                     934 ELK HOLLOW LN                                                                                 CENTERVILLE        OH      45459‐‐ 48
ANDREW J SHEEHAN                     626 FLOWER CITY PARK                                                                              ROCHESTER          NY      14615‐3621
ANDREW J SMITH                       2209 TURPIN RD NE                                                                                 BROOKHAVEN         MS      39601‐8946
ANDREW J SYSOCK                      2140 ELIZABETH AVENUE AP.1                                                                        RAHWAY             NJ      07065
ANDREW J TATAR                       1241 LEON DR.                                                                                     W. ALEXANDRIA      OH      45381
ANDREW J TAYLOR III                  12369 BURT RD                                                                                     BIRCH RUN          MI      48415‐9320
ANDREW J THOMPSON                    186 DUPONT AVE                                                                                    TONAWANDA          NY      14150‐7859
ANDREW J WOODGETT                    1930 COLEMAN RD APT C11                                                                           ANNISTON           AL      36207‐7402
ANDREW J YEAZEL I I I                2809 WEST AVE                                                                                     LEBANON            OH      45036‐1155
ANDREW J YURKO                       950 MAPLE AVE                                                                                     BOARDMAN           OH      44512
ANDREW J. SERRANO
ANDREW JACKSON
ANDREW JACKSON                       3425 SANDHURST DR                                                                                 LANSING            MI      48911‐1546
ANDREW JACKSON                       2772 HAMILTON MASON RD                                                                            HAMILTON           OH      45011‐5352
ANDREW JACKSON                       21840 PARKLAWN ST                                                                                 OAK PARK           MI      48237‐2637
ANDREW JACKSON                       12039 FAUST AVE                                                                                   DETROIT            MI      48228‐4406
ANDREW JACKSON                       5501 COUNTY ROAD 402                                                                              GRANDVIEW          TX      76050‐3121
ANDREW JACKSON JR                    1247 GARDEN VILLAGE DR                                                                            FLORISSANT         MO      63031‐1962
ANDREW JAJUGA                        13000 CANTERBURY DR                                                                               STERLING HEIGHTS   MI      48312‐3215
ANDREW JAMES                         1202 CHESTNUT ST                                                                                  VICKSBURG          MS      39183‐2710
ANDREW JAMESON JR                    2276 BURWELL DR                                                                                   SAINT LOUIS        MO      63136‐4510
ANDREW JASINSKI                      PO BOX 1657                                                                                       GREEN VALLEY       AZ      85622‐1657
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Name                         Address1                         Address2                 Address3      Address4                   City               State   Zip
ANDREW JAVONAVICH            15077 FAIRLANE ST                                                                                  LIVONIA             MI     48154‐5134
ANDREW JEFFERS               6113 WINDSTONE LN                                                                                  CLARKSTON           MI     48346‐5012
ANDREW JEFFERSON             17205 ALBA CT                                                                                      CLINTON TWP         MI     48038‐2003
ANDREW JENKINS               23 6TH ST                                                                                          DRAVOSBURG          PA     15034‐1015
ANDREW JENKINS               123 HIBBARD CT S                                                                                   PONTIAC             MI     48341‐2172
ANDREW JENKINS               2534 PALISADE DR                                                                                   FORT WAYNE          IN     46806‐5317
ANDREW JENSEN                10485 CRABB RD                                                                                     TEMPERANCE          MI     48182‐9347
ANDREW JEUNG                 6091 VILLAGE CT                                                                                    CLARKSTON           MI     48346‐1998
ANDREW JOE                   16303 E 17TH ST S                                                                                  INDEPENDENCE        MO     64050‐4815
ANDREW JOHN PUBLISHING INC   115 KING ST WEST SUITE 220                                              DUNDAS CANADA ON L9H 1V1
                                                                                                     CANADA
ANDREW JOHNSON               3903 SADIE RD                                                                                      RANDALLSTOWN       MD      21133‐4010
ANDREW JOHNSON               1226 SAINT ANDREWS WAY                                                                             BALTIMORE          MD      21239‐1436
ANDREW JOHNSON               5612 N STONEWALL DR                                                                                OKLAHOMA CITY      OK      73111‐6734
ANDREW JOHNSON               621 N 52ND ST                                                                                      EAST SAINT LOUIS   IL      62203‐1004
ANDREW JOHNSON               1223 LIZA BLVD                                                                                     PONTIAC            MI      48342‐1988
ANDREW JOHNSON               269 FOXRIDGE DR                                                                                    SPRINGVILLE        IN      47462‐5022
ANDREW JOHNSON               1390 OLT RD EXTON                                                                                  DAYTON             OH      45418
ANDREW JOHNSON               7940 PETTYSVILLE RD                                                                                PINCKNEY           MI      48169‐8524
ANDREW JOHNSON               3170 FRANKLIN RD                                                                                   BLOOMFIELD HILLS   MI      48302‐0919
ANDREW JOHNSON JR            6120 GODFREY RD                                                                                    BURT               NY      14028‐9756
ANDREW JOHNSTON              2662 MAIN STREET                                                                                   NEWFANE            NY      14108‐1031
ANDREW JOHNSTON              PO BOX 533                                                                                         GENESEO            NY      14454‐0533
ANDREW JOLLIFF               21630 JASON ST APT 106                                                                             DETROIT            MI      48223‐2656
ANDREW JONES                 46 S CRAWFORD ST                                                                                   DANVILLE           IL      61832‐6417
ANDREW JONES                 4251 STONE MOUNTAIN DR                                                                             CHINO HILLS        CA      91709‐6155
ANDREW JONES                 PO BOX 17                                                                                          HEIDELBERG         KY      41333‐0017
ANDREW JONES                 22175 THOROFARE RD                                                                                 GROSSE ILE         MI      48138‐1493
ANDREW JONES JR              9123 RETREAT PASS                                                                                  JONESBORO          GA      30236‐5290
ANDREW JONES JR.             259 E LAKE RD                                                                                      PILESGROVE         NJ      08098‐3134
ANDREW JOSEPH                5429 W WILLOW HWY                                                                                  LANSING            MI      48917‐1421
ANDREW JR., ROBERT L         1677 OAK ST SW                                                                                     WARREN             OH      44485‐3569
ANDREW K KOBESTO             34A LOCUST DR                                                                                      MONROE TWNSHP      NJ      08831
ANDREW K MILLER              13276 GOLDEN CIR                                                                                   FENTON             MI      48430‐1014
ANDREW K VELLENGER           6700 CHERRYTREE DR                                                                                 ARLINGTON          TX      76001‐7826
ANDREW KABAT                 PO BOX 1011                                                                                        DUNNELLON          FL      34430‐1011
ANDREW KACHMARIK             9233 INDEPENDENCE BLVD APT 610                                                                     PARMA HEIGHTS      OH      44130‐4737
ANDREW KACHMARIK             PO BOX 171                       11500 HODENTYLE DAM RD                                            MESICK             MI      49668‐0171
ANDREW KALOZ                 9383 BEERS RD                                                                                      SWARTZ CREEK       MI      48473‐9124
ANDREW KALTSOUNIS            5842 NILES DR                                                                                      TROY               MI      48098‐2939
ANDREW KAPUSCINSKI           14843 FAIRGROVE ST                                                                                 SOUTHGATE          MI      48195‐2532
ANDREW KARPIE                145 ROESCH AVE                                                                                     BUFFALO            NY      14207‐1133
ANDREW KARPINSKI             PO BOX 544                                                                                         CHAPEL HILL        TN      37034‐0544
ANDREW KASAL                 13395 ROCK CREEK DR                                                                                WESTFIELD          IN      46074‐5834
ANDREW KASON I I I           5454 CHIPPEWA RD                                                                                   CHIPPEWA LAKE      OH      44215‐8804
ANDREW KASON JR              7955 RODGERS RD                                                                                    LODI               OH      44254‐9726
ANDREW KATO                  621 MCKINLEY AVE                                                                                   FLINT              MI      48507‐2753
ANDREW KATSOCK               12921 LEECH DR                                                                                     STERLING HEIGHTS   MI      48312‐3250
ANDREW KAY                   1711 S HUGHES RD                                                                                   BRIGHTON           MI      48114‐9330
ANDREW KELLY                 120 N EDITH ST APT 119B                                                                            PONTIAC            MI      48342
ANDREW KEM                   1412 NICOLE PL                                                                                     DETROIT            MI      48276‐2804
ANDREW KENNEDY               PO BOX 321                                                                                         MARION             IN      46952‐0321
ANDREW KERBER                52 FIELDCREST DR                                                                                   DELAWARE           OH      43015‐7602
ANDREW KERL                  2100 DODGE RD                                                                                      EAST AMHERST       NY      14051‐1326
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Name                  Address1                         Address2                      Address3   Address4               City              State   Zip
ANDREW KERR           303 N 2ND ST                                                                                     SUMMITVILLE        IN     46070‐9510
ANDREW KESSLER        8972 PEBBLE BEACH CIRCLE                                                                         WESTMINSTER        CA     92683
ANDREW KEYSOR         10022 LEWIS RD                                                                                   MILLINGTON         MI     48746‐9530
ANDREW KHULA          22000 27 MILE RD                                                                                 RAY TWP            MI     48096‐3801
ANDREW KIESKA         1190 W ST GEORGE AVENUE                                                                          LINDEN             NJ     07036
ANDREW KIMBALL
ANDREW KINNEAR        39548 FREMONT BLVD APT 106                                                                       FREMONT           CA      94538‐2169
ANDREW KISER          BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                                      BOSTON HEIGHTS    OH      44236
ANDREW KLECKO         2607 BRIGHTWELL DR                                                                               WILMINGTON        DE      19810‐1222
ANDREW KLEYA          380 W HARTFORD AVE                                                                               UXBRIDGE          MA      01569‐1122
ANDREW KLINE          1195 EDGEWOOD DR                                                                                 ORTONVILLE        MI      48462‐9301
ANDREW KLODA          2479 YOUNGSTOWN LOCKPORT RD                                                                      RANSOMVILLE       NY      14131‐9644
ANDREW KLOSINSKI      3656 PANDORA AVE                                                                                 BOYNTON BEACH     FL      33436‐3417
ANDREW KNIEPER        14920 LINCOLN RD                                                                                 CHESANING         MI      48616‐8428
ANDREW KOBESTO        34A LOCUST DR                                                                                    MONROE TOWNSHIP   NJ      08831‐1225

ANDREW KOLAK          287 DONAHUE BEACH DR                                                                             BAY CITY           MI     48706‐1812
ANDREW KOLANOWSKI     820 EDENBOUGH CIR APT 301                                                                        AUBURN HILLS       MI     48326‐4547
ANDREW KOLEMBA        106 WAPITI DR                                                                                    AZLE               TX     76020‐1454
ANDREW KOLINS         413 WALNUT STREET                APT. 5302                                                       GREEN COVE         FL     32043
                                                                                                                       SPRINGS
ANDREW KOMINSKY       14695 APPLEWAY CT                                                                                SHELBY TOWNSHIP   MI      48315‐4319
ANDREW KOROL          2706 W CHICAGO AVE APT 3                                                                         CHICAGO           IL      60622
ANDREW KORZENIOWSKI   PO BOX 362                                                                                       LINWOOD           MA      01525‐0362
ANDREW KOSCHO‐JR      115 COUNTRY LN                                                                                   BRISTOL           CT      06010‐2520
ANDREW KOTULAK        APT D14                          28221 CENTER RIDGE ROAD                                         WESTLAKE          OH      44145‐3841
ANDREW KOVACH         4103 TANGLEWOOD DR                                                                               JANESVILLE        WI      53546‐8833
ANDREW KOWALOW        70 PEARL ST                                                                                      WEST SENECA       NY      14224‐1718
ANDREW KOZUB          3027 LAKE BARKLEY RD                                                                             HENDERSON         NV      89052‐8516
ANDREW KRAISINGER     2196 CHIPPENHAM CHASE                                                                            ROCHESTER HILLS   MI      48306‐3922
ANDREW KRENZ          541 LINDEN CT                                                                                    NORTHVILLE        MI      48167‐1447
ANDREW KRIKAU         1425 GREENCROFT DR APT 204                                                                       GOSHEN            IN      46526‐5183
ANDREW KRISH          1453 E JUDD RD                                                                                   BURTON            MI      48529‐2005
ANDREW KRISTICH       883 N COLONY RD                                                                                  GRAND ISLAND      NY      14072‐2801
ANDREW KROCK          67 PARKWAY PL                                                                                    MERIDEN           CT      06450‐6013
ANDREW KRUM           PO BOX 1305                                                                                      BONNER SPRINGS    KS      66012‐6305
ANDREW KUCHAN         2611 NO 75TH AVE                                                                                 ELMWOOD PARK      IL      60707
ANDREW KUJAWIAK       2684 MUNSTER RD                                                                                  ROCHESTER HILLS   MI      48309‐2324
ANDREW KUJDA JR       2231 N BARLOW RD                                                                                 LINCOLN           MI      48742‐9797
ANDREW KULIGOWSKI     3306 YOUNGSTOWN LOCKPORT RD                                                                      RANSOMVILLE       NY      14131‐9508
ANDREW KURZAWA        11226 33 MILE RD                                                                                 BRUCE TWP         MI      48065‐3711
ANDREW KUSSMAUL       8513 LONE MEADOW CT                                                                              HOWELL            MI      48843‐6302
ANDREW KUZAK          C/O BEVAN & ASSOCIATES LPA INC   6555 DEAN MEMORIAL PARKWAY                                      BOSTON HTS        OH      44236
ANDREW KVAK           15772 MEIGS BLVD                                                                                 BROOK PARK        OH      44142‐2971
ANDREW KVARTEK        121 REDWOOD AVE                                                                                  EDISON            NJ      08817‐4323
ANDREW KVARTEK        121 REDWOOD AVE                                                                                  EDISON            NJ      08817‐4323
ANDREW L ALEXANDER    4751 VALLEY BROOK DR                                                                             ENGLEWOOD         OH      45322‐3627
ANDREW L BROCKMAN     115 W BEVERLY AVE                                                                                PONTIAC           MI      48340‐2621
ANDREW L DEUTSCH MC   PO BOX 190                                                                                       SIMI VALLEY       CA      93062‐0190
ANDREW L FISHER       10 LOTT PL                                                                                       KETTERING         OH      45420‐2924
ANDREW L GIBBONS      621 ELEANOR AVE                                                                                  DAYTON            OH      45417
ANDREW L GIPSON       APT C257                         5618 NORTHWEST 87TH TERRACE                                     KANSAS CITY       MO      64154‐2483
ANDREW L MAYNER       12536 SAINT ANDREWS WAY                                                                          FENTON            MI      48430‐8870
ANDREW L NARTKER      11068 SCHROEDER RD                                                                               ST MARYS          OH      45885
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Name                 Address1                        Address2                     Address3             Address4                 City             State   Zip
ANDREW L SWANSON     5231 VILLAGE DR SW 145                                                                                     WYOMING           MI     49509
ANDREW L THOMPSON    140 MARLBORO PL                                                                                            DAYTON            OH     45420
ANDREW LA BEAU       6494 OAK ST                                                                                                GLADWIN           MI     48624‐9021
ANDREW LABEDZ        3428 NORTH BRAVO DRIVE                                                                                     BEVERLY HILLS     FL     34465‐4467
ANDREW LAKER         602 S ALLEN ST                                                                                             BRYAN             OH     43506‐2205
ANDREW LAMPELA       1611 PALOMINO DR                                                                                           SAGINAW           MI     48609‐4276
ANDREW LANDRUM       BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                                                 BOSTON HEIGHTS    OH     44236
ANDREW LANE          PO BOX 3154                                                                                                CENTER LINE       MI     48015‐0154
ANDREW LANG          16493 DAWNLIGHT DR                                                                                         FENTON            MI     48430‐8956
ANDREW LANSANA       PO BOX 35770                                                                                               DETROIT           MI     48235‐0770
ANDREW LAPAK         10863 CANADA RD                                                                                            BIRCH RUN         MI     48415‐9708
ANDREW LAPORTE       1315 BIG HORN PL                                                                                           FORT WAYNE        IN     46825‐3420
ANDREW LARSEN        3801 JOHN R RD                                                                                             ROCHESTER HLS     MI     48307‐5445
ANDREW LASKOVY       11 N VISTA                                                                                                 AUBURN HILLS      MI     48326‐1417
ANDREW LAVACS        5403 SANDY LN                                                                                              COLUMBIAVILLE     MI     48421‐8967
ANDREW LAWSON        4 WEST AVENUE                   SUITE 32                                                                   ROCHESTER         NY     14611
ANDREW LEACH JR      BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                                                 BOSTON HEIGHTS    OH     44236
ANDREW LEDINGHAM     5808 SILVER SAGE LN                                                                                        GRAND PRAIRIE     TX     75052‐8760
ANDREW LEE           2332 W CHANNING ST                                                                                         WEST COVINA       CA     91790‐1915
ANDREW LEE           BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                                 BOSTON HTS.       OH     44236
ANDREW LEE WYLIE     C/O EDWARD O MOODY PA           801 WEST 4TH STREET                                                        LITTLE ROCK       AR     72201
ANDREW LEGARDYE      5715 LESLIE DR                                                                                             FLINT             MI     48504‐7040
ANDREW LEHMAN        8226 JACOBY RD                                                                                             BELDING           MI     48809‐9590
ANDREW LEMONS        251 MARLBOROUGH ST                                                                                         DETROIT           MI     48215‐3134
ANDREW LENGYEL       5154 CENTREVILLE                                                                                           GRAND BLANC       MI     48439‐8733
ANDREW LENHART       1213 EDGEWOOD DR                                                                                           ROYAL OAK         MI     48067‐1213
ANDREW LENTOWSKI     117 HILLCREST DRIVE                                                                                        DURYEA            PA     18642
ANDREW LEONARSKI     3244 MORRELL AVE                                                                                           PHILADELPHIA      PA     19114‐1119
ANDREW LEUTHEUSER    10424 LINCOLN DR                                                                                           HUNTINGTON        MI     48070‐1531
                                                                                                                                WOODS
ANDREW LEVIN
ANDREW LEWANDOWSKI   245 ANDIRON LN                                                                                             ROCHESTER         NY     14612‐2244
ANDREW LEWANDOWSKY   1714 WEST RUNDLE AVENUE                                                                                    LANSING           MI     48910‐2573
ANDREW LEWIS         5010 JUNIPER DR                                                                                            ROELAND PARK      KS     66205‐1254
ANDREW LEWIS         45 CHADDWYCK BLVD                                                                                          NEW CASTLE        DE     19720‐8817
ANDREW LEWIS SEAY    ROBERT W PHILLIPS               SIMMONS BROWDER GIANARIS     707 BERKSHIRE BLVD   PO BOX 521               EAST ALTON        IL     62024
                                                     ANGELIDES & BARNERD LLC
ANDREW LIDDY         3119 BROOKSIDE DR                                                                                          WATERFORD        MI      48328‐2596
ANDREW LILLY JR      738 E LYNDON AVE                                                                                           FLINT            MI      48505‐2954
ANDREW LINDSAY       BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                                                 BOSTON HTS       OH      44236
ANDREW LINK          21435 POTOMAC ST                                                                                           SOUTHFIELD       MI      48076‐5576
ANDREW LIPUT         19 CREST AVE                                                                                               PENNINGTON       NJ      08534‐1107
ANDREW LITAVEC       7019 COLEMAN ST                                                                                            DEARBORN         MI      48126‐1726
ANDREW LITTLE        64 HAGER ST                     NIAGRA LUTHERAN                                                            BUFFALO          NY      14208‐1327
ANDREW LOEFFLER      16800 SWAN CREEK RD                                                                                        HEMLOCK          MI      48626
ANDREW LONG          1632 ASHBY ST                                                                                              WESTLAND         MI      48186‐4890
ANDREW LONGO         937 AUGUSTA DR                                                                                             BOARDMAN         OH      44512‐7923
ANDREW LOSINSKI      1054 DOUGLAS RD                                                                                            BRONSON          MI      49028‐9750
ANDREW LOTZ GERFIN   MOTLEY RICE LLC                 28 BRIDGESIDE BLVD           PO BOX 1792                                   MT PLEASANT      SC      29465
ANDREW LOUIS         3210 MARIE ST                                                                                              DEARBORN         MI      48120‐1435
ANDREW LOUNDS        2640 AUBREY DR                                                                                             LAKE ORION       MI      48360‐1999
ANDREW LOVELL        4724 BLUESTEM LN                                                                                           STOW             OH      44224‐5942
ANDREW LOWISZ        2121 GOLFCREST DR                                                                                          COMMERCE TWP     MI      48382‐1257
ANDREW LOYA          2506 TORRINGTON AVE                                                                                        PARMA            OH      44134‐2206
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Name                  Address1                         Address2                      Address3   Address4               City               State Zip
ANDREW LUKACS         5750 80TH ST. N.                 CORNELL BLDG APT 307A                                           SAINT PETERSBURG    FL 33709

ANDREW LUKASIK        1319 MAPLEWOOD DR                                                                                LOCKPORT           NY   14094‐7161
ANDREW LUND           4193 BAYBROOK DR                                                                                 WATERFORD          MI   48329‐3877
ANDREW LYSAK          6524 N LAZY RIVER RD                                                                             JANESVILLE         WI   53545‐9084
ANDREW M ANTCZAK      55 CANASTA RD                                                                                    ROCHESTER          NY   14615
ANDREW M BASHWINGER   138 S 5TH ST                                                                                     OLEAN              NY   14760‐3422
ANDREW M BAWIDAMANN   163 COVENTRY RD                                                                                  DAYTON             OH   45410
ANDREW M CERNY        3012 N PARK AVE EXT                                                                              WARREN             OH   44481‐9365
ANDREW M CHEERS       196 W RUTGERS AVE                                                                                PONTIAC            MI   48340‐2760
ANDREW M CIMINO       92 BALLAD AVENUE                                                                                 ROCHESTER          NY   14626‐1264
ANDREW M DEBOLT       2412 SOUTH CANAL                                                                                 NEWTON FALLS       OH   44444‐1816
ANDREW M ELISECH      1223 N JACKSON ST                                                                                BAY CITY           MI   48708‐5922
ANDREW M FETTY        2480 BINGHAM AVE.                                                                                KETTERING          OH   45420
ANDREW M GRANT        5171 HARRY ST                                                                                    FLINT              MI   48505‐1769
ANDREW M JOHNSON      7940 PETTYSVILLE RD                                                                              PINCKNEY           MI   48169‐8524
ANDREW M MAREK        2315 SUSSEX SE                                                                                   WARREN             OH   44484‐4366
ANDREW M RATVASKY     40 S 3RD ST                                                                                      SHARPSVILLE        PA   16150‐1205
ANDREW M SIRAK        7644 FRANCO CT                                                                                   BOARDMAN           OH   44512
ANDREW M WILLIAMS     9441 QUEEN ST                    APT C209                                                        DETROIT            MI   48213‐2059
ANDREW M ZABLAN       910 KAPAHULA #405                                                                                HONOLULU           HI   96816‐1439
ANDREW MACAULAY       27 PARKER AVE                                                                                    MASSENA            NY   13662‐2213
ANDREW MACDONALD      6243 BANNING RD                                                                                  CINCINNATI         OH   45239‐6641
ANDREW MACDONALD      902 BALFOUR ST                                                                                   GROSSE POINTE      MI   48230‐1816
                                                                                                                       PARK
ANDREW MACKEY         KELLER, FISHBACK & JACKSON LLP   18425 BURBANK BLVD, STE 610                                     TARZANA            CA   91356
ANDREW MADAK          13707 DALLAS DR RM 241           ATRIA WINDSOR WOODS                                             HUDSON             FL   34667‐7139
ANDREW MADONIO        845 HEMINGWAY RD                                                                                 LAKE ORION         MI   48362‐2636
ANDREW MAGERA         100 ROSEDALE ST                                                                                  BUFFALO            NY   14207‐1255
ANDREW MAIR           13037 COLONIAL DR                                                                                RCH CUCAMONGA      CA   91739‐8866
ANDREW MAKOSKY        64 ELM ST                                                                                        STRUTHERS          OH   44471‐1906
ANDREW MAKUSIJ        23 SQUIRRELS HEATH RD                                                                            FAIRPORT           NY   14450‐9605
ANDREW MALACHOWSKI    3205 DIXIE CT                                                                                    SAGINAW            MI   48601‐5966
ANDREW MALBURG        5933 SCOTCH SETTLEMENT RD                                                                        ALMONT             MI   48003‐9603
ANDREW MALEK          631 LIVE OAK DR                                                                                  ROCHESTER HILLS    MI   48309‐2318
ANDREW MALINICH       1920 E KING ST                                                                                   CORUNNA            MI   48817‐1562
ANDREW MALLET         26667 CHAMBERS AVE                                                                               SUN CITY           CA   92586‐2163
ANDREW MALLETT        2010 HINCKLEY HILLS RD                                                                           HINCKLEY           OH   44233‐9738
ANDREW MANCE          1127 GROVE AVE                                                                                   ROYAL OAK          MI   48067‐1451
ANDREW MANCILLAS      4453 MORRISH RD                                                                                  SWARTZ CREEK       MI   48473‐1362
ANDREW MANIAL         5037 HOFFMAN ST                                                                                  ELKTON             MI   48731‐5111
ANDREW MARDIONE       12822 MARION COUNTY 8001                                                                         YELLVILLE          AR   72687‐8236
ANDREW MARKEE         1101 OCEAN AVE                                                                                   WILDWOOD           NJ   08260‐5654
ANDREW MARKQUARDT     740 MAYWOOD AVE.                 APT D320                                                        MANKATO            MN   56001
ANDREW MARSHALL       27406 SUTHERLAND ST                                                                              SOUTHFIELD         MI   48076‐7433
ANDREW MARSHALL       25765 R DR N                                                                                     OLIVET             MI   49076‐9592
ANDREW MARSHALL       830 QUATRO LN                                                                                    LEONARD            MI   48367‐2538
ANDREW MARSHALL       2520 LAVENDER DR                                                                                 FORT WAYNE         IN   46818‐9592
ANDREW MARTIN
ANDREW MARTIN SR      5831 GUION LAKES DR                                                                              INDIANAPOLIS       IN   46254‐1586
ANDREW MARTINEZ       1170 WINTERGREEN DR                                                                              HOLLAND            MI   49424‐2508
ANDREW MARTINEZ
ANDREW MASCELLA       5263 MELODY LN                                                                                   WILLOUGHBY         OH   44094‐4315
ANDREW MASCHAK        4360 DIXON DR                                                                                    SWARTZ CREEK       MI   48473‐8222
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Name                    Address1                       Address2                     Address3   Address4               City              State   Zip
ANDREW MASLYN           310 PINEBROOK DR                                                                              ROCHESTER          NY     14616‐1654
ANDREW MASULLO          1 FLAMETREE CT                                                                                PALM COAST         FL     32137‐8310
ANDREW MATACHOSKY       PO BOX 155                                                                                    TWIN ROCKS         PA     15960‐0155
ANDREW MATES            6081 UPPER AFTON RD                                                                           WOODBURY           MN     55125‐1141
ANDREW MATEY            920 SAINT MARKS WALK                                                                          SUWANEE            GA     30024‐6616
ANDREW MATTHEWS         2502 CALVERT ST                                                                               DETROIT            MI     48206‐1586
ANDREW MATTSON          10092 CREEKWOOD TRL                                                                           DAVISBURG          MI     48350‐2058
ANDREW MATYAS           149 SEAFARER LN                                                                               BERLIN             MD     21811‐1851
ANDREW MAURER           15734 246TH ST                                                                                LAWRENCE           KS     66044‐7141
ANDREW MAXEY            2965 ELEANOR TER NW                                                                           ATLANTA            GA     30318‐6078
ANDREW MAY              3746 SUMMIT RIDGE DR                                                                          ROCHESTER HILLS    MI     48306‐2968
ANDREW MAY              2393 W DODGE RD                                                                               CLIO               MI     48420‐1663
ANDREW MAY I I I        877 E DAVIS DR                                                                                FRANKLIN           IN     46131‐7680
ANDREW MAYER            6 GRAYTWIG CT W                                                                               HOMOSASSA          FL     34446‐4734
ANDREW MAYFIELD         1220 MATTHEWS CT                                                                              FRANKLIN           IN     46131‐7314
ANDREW MAYNER           12536 SAINT ANDREWS WAY                                                                       FENTON             MI     48430‐8870
ANDREW MAYROS           102 GENERAL DR                                                                                UNIONTOWN          PA     15401‐8610
ANDREW MAYS             1669 MCALPINE DR                                                                              MOUNT MORRIS       MI     48458‐2356
ANDREW MAYTON           261 ROUTE 481                                                                                 FREDERICKTOWN      PA     15333
ANDREW MCADOO           866 W 126TH ST APT 3                                                                          LOS ANGELES        CA     90044‐3858
ANDREW MCCANN           8 HARVEY AVE                                                                                  LOCKPORT           NY     14094‐4306
ANDREW MCCONNELL        87 LYLE DR                                                                                    DECATUR            AL     35603‐6146
ANDREW MCDONALD I I I   6047 YARBROUGH RD                                                                             SHREVEPORT         LA     71119‐3719
ANDREW MCDOWELL         1434 BRADY AVE                                                                                BURTON             MI     48529‐2010
ANDREW MCMILLAN         1139 W WHITTEMORE AVE                                                                         FLINT              MI     48507‐3643
ANDREW MCTAGGART        6020 RICKETT                                                                                  WASHINGTN TWP      MI     48094‐2166
ANDREW MEGLIS III       109 S LAUREL CIR                                                                              COLUMBIA           TN     38401‐2022
ANDREW MEHAL            370 BRIDGEPORT RD                                                                             MT PLEASANT        PA     15666‐2355
ANDREW MELENDEZ
ANDREW MELTON           8386 MAPLEVIEW DR                                                                             DAVISON           MI      48423‐7822
ANDREW MENCHACA         PO BOX 150                                                                                    MARKLE            IN      46770‐0150
ANDREW MEYER            11004 RADCLIFF DR                                                                             ALLENDALE         MI      49401‐9521
ANDREW MIERZWA          334 STONYBROOK DR                                                                             LEVITTOWN         PA      19055‐2017
ANDREW MIKLOICHE        68816 APPLEVIEW DR                                                                            WASHINGTON        MI      48095‐1326
ANDREW MIKLOS           BEVAN & ASSOCIATES LPA INC     6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS        OH      44236
ANDREW MILLER           13276 GOLDEN CIR                                                                              FENTON            MI      48430‐1014
ANDREW MILLER           110 MCBRIE LN                                                                                 PENDLETON         SC      29670
ANDREW MILLER           6010 DREXEL LN APT 1108                                                                       FORT MYERS        FL      33919‐5247
ANDREW MILLER           5039 COSHOCTON DR                                                                             WATERFORD         MI      48327‐3327
ANDREW MILLS            1421 ALYSSA DR                                                                                CHAPEL HILL       TN      37034‐4041
ANDREW MINOR JR         3216 COUNTRY LAWN DR                                                                          ANTIOCH           TN      37013‐1238
ANDREW MISTALSKI JR     PO BOX 1684                                                                                   CHEEKTOWAGA       NY      14225‐8684
ANDREW MITCHELL         1132 CHESHIRE ST                                                                              PORT CHARLOTTE    FL      33953‐2218
ANDREW MITCHELL         9469 COMPTON ST                                                                               INDIANAPOLIS      IN      46240‐1207
ANDREW MITTS            1709 SHADE TREE CT                                                                            SWANSEA           IL      62226‐7581
ANDREW MLOCKI           7291 DELL HAVEN DR                                                                            PARMA             OH      44130‐6029
ANDREW MOGISH JR        565 OVERVIEW LN                                                                               FRANKLIN          TN      37064‐5557
ANDREW MOORADIAN        3754 TARA DR                                                                                  HIGHLAND          MI      48356‐1765
ANDREW MOORE            PO BOX 26242                                                                                  SAINT LOUIS       MO      63136‐0242
ANDREW MOORE            CASCINO MICHAEL P              220 SOUTH ASHLAND AVE                                          CHICAGO           IL      60607
ANDREW MORRIS           2259 CLOVERDALE DR SE                                                                         ATLANTA           GA      30316‐2721
ANDREW MORRIS           10117 FIELDWAY TRL                                                                            HOLLY             MI      48442‐9359
ANDREW MORSE            1110 S GRANT AVE                                                                              JANESVILLE        WI      53546‐5366
ANDREW MOSS             1124 SW 133RD ST                                                                              OKLAHOMA CITY     OK      73170‐6962
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Name                  Address1                             Address2                     Address3     Address4               City               State   Zip
ANDREW MULATO         OBRIEN LAW FIRM                      815 GEYER AVE                                                    SAINT LOUIS         MO     63104‐4047
ANDREW N BAKER        12324 WOODLEY AVE                                                                                     GRANADA HILLS       CA     91344
ANDREW N NICKLAS II   52 W FAIRMOUNT AVE                                                                                    PONTIAC             MI     48340‐2732
ANDREW N POLOCHOCK    767 MAHAN DENMAN RD                                                                                   BRISTOLVILLE        OH     44402
ANDREW N RUSCITTI     70 PRINCESS ST                                                                                        CAMPBELL            OH     44405‐1919
ANDREW N SZOYKA       435 SHERIDAN AVE                     PO BOX 417                                                       NEMACOLIN           PA     15351
ANDREW NAGAYDA JR     637 N LAPEER ST                                                                                       DAVISON             MI     48423‐1218
ANDREW NAMOU          17298 REDWOOD AVE                                                                                     SOUTHFIELD          MI     48076‐2831
ANDREW NAWA           THE LAW OFFICES OF PETER G ANGELOS   100 NORTH CHARLES            22ND FLOOR                          BALTIMORE           MD     21201

ANDREW NEFF
ANDREW NELSON
ANDREW NEUFANG        8333 E PEARSON                                                                                        SHELBY TOWNSHIP     MI     48316‐5117
ANDREW NEWSOME        18627 TRACEY ST                                                                                       DETROIT             MI     48235‐1760
ANDREW NIEMIEC        8549 GLENGARY ST                                                                                      DEARBORN HEIGHTS    MI     48127‐1224

ANDREW NOELL          180 W CORNELL AVE                                                                                     PONTIAC            MI      48340‐2722
ANDREW NORTON         430 WEDINGTON CT                                                                                      ROCHESTER          MI      48307‐6036
ANDREW NORTON         20737 WOLF DR                                                                                         MACOMB             MI      48044‐2124
ANDREW NOVAJOVSKY     698 WILKSHIRE CT                                                                                      GRAND BLANC        MI      48439‐1596
ANDREW NOVAK          6600 KINGSDALE BLVD                                                                                   PARMA HEIGHTS      OH      44130‐3970
ANDREW NOWELL         1000 FOUNTAINVIEW CIR APT 101                                                                         NEWARK             DE      19713
ANDREW NUESSER        323 MARLIN AVE                                                                                        ROYAL OAK          MI      48067‐1323
ANDREW O'LEAR         2225 HAMPDEN DR                                                                                       LANSING            MI      48911‐1636
ANDREW OBLAK          432 LAKEVIEW HEIGHTS DR                                                                               HOWARD             OH      43028‐9565
ANDREW OLAY JR        7423 GALE RD                                                                                          OTISVILLE          MI      48463‐9414
ANDREW OLEARY         200 GARDEN CITY DR                                                                                    MATTYDALE          NY      13211‐1412
ANDREW OLIVIERI       92 ARDMORE DR                                                                                         WAPPINGERS FL      NY      12590‐4319
ANDREW OLIVIERI       4789 COVENTRY PKWY                                                                                    FORT WAYNE         IN      46804‐7131
ANDREW OLLINGS        813 ADDISON ST                                                                                        FLINT              MI      48505‐3912
ANDREW OLMSTEAD
ANDREW OLNEY          9638 ALWARD RD                                                                                        LAINGSBURG         MI      48848‐9297
ANDREW OMANS          2385 WATKINS LAKE RD                                                                                  WATERFORD          MI      48328‐1442
ANDREW ONDER          850 SANDPIPER TRL SE                                                                                  WARREN             OH      44484‐2482
ANDREW ONDER JR       1 LINCOLN DR                                                                                          LOCKPORT           NY      14094‐5549
ANDREW ONDRICK        398 STATE RD RT 511 SOUTH                                                                             NOVA               OH      44859
ANDREW ONORATI        23 BRECHT RD                                                                                          HAMILTON           NJ      08690‐3212
ANDREW ORAM           2014 BIG OAK DR                                                                                       SPRING HILL        TN      37174‐2588
ANDREW OROSS          714 SCHOOL ST                                                                                         WEST MIFFLIN       PA      15122‐1849
ANDREW ORR JR         3376 FOX ORCHARD CIR                                                                                  INDIANAPOLIS       IN      46214‐1879
ANDREW ORTIZ          12055 TOWNLINE RD                                                                                     GRAND BLANC        MI      48439‐1660
ANDREW OSER           1031 BAYWOOD DR APT B                                                                                 SPARKS             NV      89434‐3673
ANDREW OSIKA          1749 N NEW LOTHROP RD                                                                                 LENNON             MI      48449‐9660
ANDREW OURY           2543 WEXFORD DR                                                                                       TROY               MI      48084‐2744
ANDREW OWENS          19941 EVERGREEN RD                                                                                    DETROIT            MI      48219‐2004
ANDREW P DI FIORE     53 KERNWOOD DR                                                                                        ROCHESTER          NY      14624‐3310
ANDREW P GARWOOD      923 ATLANTIC AVE A                                                                                    ROCHESTER          NY      14609
ANDREW P KRISTICH     883 N COLONY RD                                                                                       GRAND ISLAND       NY      14072‐2801
ANDREW P LUKASIK      1319 MAPLEWOOD DR                                                                                     LOCKPORT           NY      14094‐7161
ANDREW P NEMCIK       4648 BALBOA WAY                                                                                       FREMONT            CA      94536
ANDREW P SMITH        920 CLYDE ST                                                                                          LANSING            MI      48915‐2008
ANDREW P THOMAS       16771 FORRER ST                                                                                       DETROIT            MI      48235‐3607
ANDREW P. THOMAS      MARICOPA COUNTY ATTORNEY             301 W JEFFERSON ST STE 800                                       PHOENIX            AZ      85003‐2163
ANDREW PACANOVSKY     2925 PEARL ST                                                                                         SAGINAW            MI      48604‐2428
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Name                   Address1                             Address2                     Address3     Address4               City            State   Zip
ANDREW PALERMINO       5305 RIVER RIDGE DR                                                                                   LANSING          MI     48917‐1362
ANDREW PALTE           861 EAST FORTH ST                                                                                     LIMA             OH     45804
ANDREW PANASIUK        2546 LINCOLN DR                                                                                       WARREN           MI     48092‐1084
ANDREW PARIS           P0 BOX 4121                                                                                           EAST LANSING     MI     48826
ANDREW PASSINO         754 LORETTA ST                                                                                        TONAWANDA        NY     14150‐8718
ANDREW PAVKA JR        6463 S PARK BLVD                                                                                      PARMA            OH     44134‐4244
ANDREW PAWLACZYK       6445 ATTICA RD                                                                                        IMLAY CITY       MI     48444‐9616
ANDREW PEACE JR.       PO BOX 76                                                                                             PINEVILLE        KY     40977‐0076
ANDREW PEAK            PO BOX 11                                                                                             HAYNEVILLE       AL     36040‐0011
ANDREW PEGUES JR       50 RIVERVIEW DR                                                                                       MOUNT CLEMENS    MI     48043‐5915
ANDREW PEKNIK          2723 N 73RD PL                                                                                        KANSAS CITY      KS     66109‐1716
ANDREW PENOZA          1669 LEXINGTON DR                                                                                     TROY             MI     48084‐5709
ANDREW PEREZ           4307 N CENTER RD                                                                                      FLINT            MI     48506‐1441
ANDREW PERKINS         42956 RICHARDS CT                                                                                     NORTHVILLE       MI     48167‐1937
ANDREW PETERSEN        3824 EVANS ST                                                                                         SAGINAW          MI     48601‐5971
ANDREW PETERSON        9268 HIDDEN VALLEY CT                                                                                 GRAND BLANC      MI     48439‐9519
ANDREW PETERSON        9901 WOLF CREEK PIKE                                                                                  TROTWOOD         OH     45426‐4153
ANDREW PETRICK         BEVAN & ASSOCIATES LPA INC           6555 DEAN MEMORIAL PARKWAY                                       BOSTON HTS       OH     44236
ANDREW PETTRESS & CO   ATTN: ANDREW PETTRESS                28 N SAGINAW ST # 909                                            PONTIAC          MI     48342‐2142
ANDREW PHILLIPS        4130 HOLLY LN                                                                                         ROCHESTER        MI     48306‐4762
ANDREW PHILLIPS        4217 HAPSBURG CT                                                                                      DECATUR          GA     30034‐5334
ANDREW PHILLIPS        PO BOX 605                                                                                            CASTLEWOOD       VA     24224‐0605
ANDREW PIGGOTT         PO BOX 88                                                                                             WESTPHALIA       MI     48894‐0088
ANDREW PINCHEN         2100 HUNTER RD                                                                                        BRIGHTON         MI     48114‐8930
ANDREW PINKNEY         PO BOX 1315                                                                                           BALTIMORE        MD     21203‐1315
ANDREW PIRICH          1242 W VIENNA RD                                                                                      CLIO             MI     48420‐1710
ANDREW PIROCH          4200 STAATZ DR                                                                                        YOUNGSTOWN       OH     44511‐1806
ANDREW PIROCH          2531 S CENTER ST                                                                                      NEWTON FALLS     OH     44444‐9417
ANDREW PLAVCHAK        211 OAK LN                                                                                            TABERNACLE       NJ     08088‐9203
ANDREW POCSI           10470 N STATE ROUTE 48                                                                                COVINGTON        OH     45318‐8836
ANDREW POLK            2014 SHADE AVE                                                                                        FLORENCE         AL     35630‐1333
ANDREW PONTREMOLI      246 LANE AVE NW                                                                                       GRAND RAPIDS     MI     49504‐5414
ANDREW POPE            THE LAW OFFICES OF PETER G ANGELOS   100 NORTH CHARLES            22ND FLOOR                          BALTIMORE        MD     21201

ANDREW POPIELARSKI
ANDREW PORTER JR       932 BROOKLEY BLVD                                                                                     TOLEDO          OH      43607‐3045
ANDREW PRECZEWSKI      48053 MILL CREEK CT                                                                                   CHESTERFIELD    MI      48047‐5707
ANDREW PREDOEHL        1056 BLUE RIDGE DR                                                                                    CLARKSTON       MI      48348‐5210
ANDREW PRESSWOOD       419 N RUSH ST                                                                                         FAIRMOUNT       IN      46928‐1644
ANDREW PRIEUR          3569 SUSAN AVE                                                                                        SPRUCE          MI      48762‐9789
ANDREW PRINGLE         11210 SPROULE AVE                                                                                     PACOIMA         CA      91331‐1550
ANDREW PUGH            3700 STARLIGHT LN                                                                                     LANSING         MI      48911‐1457
ANDREW PUGLIESE        15500 18 MILE RD                     BLDG D APT 126                                                   CLINTON TWP     MI      48038
ANDREW PULCHAK         14923 DELEON DR                                                                                       HUDSON          FL      34667‐1015
ANDREW PUMFREY
ANDREW PURO JR         9233 NASHUA TRL                                                                                       FLUSHING        MI      48433‐8837
ANDREW PYLYPYSHYN      25 STILLWELL RD                                                                                       KENDALL PARK    NJ      08824‐1432
ANDREW R DUDON         341 MINTURN LOOP NE                                                                                   RIO RANCHO      NM      87124
ANDREW R FISHER        73 JULIA DRIVE                                                                                        W ALEXANDRIA    OH      45381
ANDREW R KOLEK         PO BOX 573                                                                                            REPUBLIC        PA      15475
ANDREW R MANTHEI       453 WOODLAWN AVE                                                                                      YPSILANTI       MI      48198‐5993
ANDREW R MARVINETZ     49241 BAYSHORE ST                                                                                     CHESTERFIELD    MI      48047
ANDREW R SAKMAR        3563 HAMILTON RD                                                                                      ERIE            PA      16510‐2442
ANDREW R SOLEY         23820 IRONWOOD AVE # 198                                                                              MARINA VALLEY   CA      92557‐8138
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Name                   Address1                             Address2                     Address3       Address4               City              State   Zip
ANDREW R WILLIAMS      4222 WOODBINE AVE                                                                                       DAYTON             OH     45420
ANDREW R WINTERS       5959 ELIZABETH‐BETHEL RD                                                                                TIPP CITY          OH     45371‐9785
ANDREW R YOUNG         1207 CABELLA CIRCLE                                                                                     LADY LAKE          FL     32159
ANDREW R YOUNG         674 ABERDEEN RUN                                                                                        VILLAGES           FL     32162
ANDREW RADOCHA         573 DICES SPRING RD                                                                                     WEYERS CAVE        VA     24486‐2307
ANDREW RADONICH        13795 CHILLICOTHE RD                                                                                    NOVELTY            OH     44072‐9513
ANDREW RAFTOPOULOS     157 ROSE BRIER DR                                                                                       ROCHESTER HILLS    MI     48309‐1122
ANDREW RAGAN           10175 SOUTH AVE EXT                                                                                     POLAND             OH     44514
ANDREW RANGEL          22575 QUARRY RD                                                                                         WELLINGTON         OH     44090‐9788
ANDREW RATVASKY        40 S 3RD ST                                                                                             SHARPSVILLE        PA     16150‐1205
ANDREW REDDEN          3771 SENTINEL HEIGHTS RD                                                                                LA FAYETTE         NY     13084‐9780
ANDREW REDMOND         BEVAN & ASSOCIATES LPA INC           6555 DEAN MEMORIAL PARKWAY                                         BOSTON HTS         OH     44236
ANDREW REED            PO BOX 970611                                                                                           YPSILANTI          MI     48197‐0811
ANDREW REED            4634 MORGAN DR                                                                                          COLUMBIAVILLE      MI     48421‐9624
ANDREW REED CALDWELL   6038 MEADOWWOOD LN                                                                                      GRAND BLANC        MI     48439‐9174
ANDREW REED JR         20095 PIERSON ST                                                                                        DETROIT            MI     48219‐1356
ANDREW REIBER          437 BRADY ST                                                                                            CHESANING          MI     48616‐1107
ANDREW REILLY          32753 MACKENZIE DR                                                                                      WESTLAND           MI     48185‐1551
ANDREW REIS            2017 MACKINAW ST                                                                                        SAGINAW            MI     48602‐3035
ANDREW REIS            3406 DALE RD                                                                                            SAGINAW            MI     48603‐3122
ANDREW REPIC           2843 N BRANCH RD                                                                                        NORTH BRANCH       MI     48461‐8069
ANDREW REVEZZO         1857 BEECHWOOD ST NE                                                                                    WARREN             OH     44483‐4135
ANDREW REYNTJES        25535 WAREHAM DR                                                                                        HUNTINGTON         MI     48070‐1664
                                                                                                                               WOODS
ANDREW REZIN           1516 N 64TH DR                                                                                          KANSAS CITY        KS     66102‐1126
ANDREW RHEAUME         114 LEROY AVE                                                                                           CLAWSON            MI     48017‐1287
ANDREW RICHARDS
ANDREW RICHARDSON      976 E LAKESIDE DR                                                                                       EDGERTON          WI      53534‐8538
ANDREW RIISE           BEVAN & ASSOCIATES LPA INC           6555 DEAN MEMORIAL PARKWAY                                         BOSTON HTS        OH      44236
ANDREW RIPBERGER       8747 W 10TH ST                                                                                          INDIANAPOLIS      IN      46234‐2129
ANDREW RIPPLINGER      NIX PATTERSON & ROACH LP             GM BANKRUPTCY DEPARTMENT     205 LINDA DR                          DAINGERFIELD      TX      75638
ANDREW RIVERS          603 SYMES AVE                                                                                           ROYAL OAK         MI      48067‐2110
ANDREW RIZZO           330 0'BRIEN RD.                                                                                         MAYVILLE          MI      48744
ANDREW ROBERSON        211 MONTAGUE PL                                                                                         SOUTH ORANGE      NJ      07079‐2128
ANDREW ROBERTS         318 N CHERRYWOOD AVE                                                                                    DAYTON            OH      45403‐1608
ANDREW ROBINS          10310 ITTNER DR                                                                                         SAINT LOUIS       MO      63136‐2216
ANDREW ROGERS          PO BOX 1272                                                                                             WARREN            MI      48090‐1272
ANDREW ROGERS JR       3485 HUNT RD                                                                                            STURGIS           MS      39769‐9526
ANDREW ROHACEK JR      333 N ELM AVE                                                                                           TALLMADGE         OH      44278‐2435
ANDREW ROHN            BEVAN & ASSOCIATES LPA INC           6555 DEAN MEMORIAL PARKWAY                                         BOSTON HTS        OH      44236
ANDREW ROLAND          916 ADAMS ST SE                                                                                         GRAND RAPIDS      MI      49507‐1904
ANDREW ROLFE           7986 BRANCH CREEK DR                                                                                    INDIANAPOLIS      IN      46268‐3650
ANDREW ROLL            THE LAW OFFICES OF PETER G ANGELOS   100 NORTH CHARLES            22ND FLOOR                            BALTIMORE         MD      21201

ANDREW RONGA           1930 ROOSEVELT AVE                                                                                      NILES             OH      44446‐4132
ANDREW ROSS            16465 BENMAR CT                                                                                         ROSEVILLE         MI      48066‐2071
ANDREW ROTH            PO BOX 30041                                                                                            MIDDLEBRG HTS     OH      44130‐0041
ANDREW RUSCITTI        70 PRINCESS ST                                                                                          CAMPBELL          OH      44405‐1919
ANDREW RUSINKO         231 KAREN DR                                                                                            ELIZABETH         PA      15037‐2406
ANDREW RUSSELL         1001 ROWE RD                                                                                            MILFORD           MI      48380‐2523
ANDREW RYAN            # 2E                                 2 MAIN STREET                                                      HASTINGS HDSN     NY      10706‐1608
ANDREW RYBICKI         8226 HIGHLAND RD                                                                                        WHITE LAKE        MI      48386‐2013
ANDREW S ADAMCZUK      772 SAFFRON LN                                                                                          WEBSTER           NY      14580‐8935
ANDREW S ALLOCCO       295 MIRAMAR ROAD                                                                                        ROCHESTER         NY      14624‐1658
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Name                       Address1                          Address2                     Address3                     Address4               City               State   Zip
ANDREW S BONE              132 HOLFORD AVE                                                                                                    NILES               OH     44446‐‐ 17
ANDREW S POFFENBERGER      708 PEACH ORCHARD DR                                                                                               W CARROLLTON        OH     45449
ANDREW S ZEMBOWER          9903 SOUTH DUNSTON                                                                                                 GARRETTSVILLE       OH     44231
ANDREW SABO                339 E JAMESTOWN RD                # 407                                                                            GREENVILLE          PA     18125‐9206
ANDREW SALAS               1770 MACK RD                                                                                                       SAGINAW             MI     48601‐6836
ANDREW SALVATORE BALZANO   ATTN: ROBERT W PHILLIPS           SIMMONS BROWDER GIANARIS     707 BERKSHIRE BLVD, PO BOX                          EAST ALTON           IL    62024
                                                             ANGELIDES & BARNERD LLC      521
ANDREW SANDLIN JR          11325 KNOLTON ST                                                                                                   CLEVELAND          OH      44108
ANDREW SANDOVAL            882 WAUKEE LN                                                                                                      SAGINAW            MI      48604‐1142
ANDREW SANKIEWICZ          4980 ROCHESTER RD                                                                                                  DRYDEN             MI      48428‐9328
ANDREW SANTELLA            88 COUNTRY LN                                                                                                      MARLBOROUGH        MA      01752‐3406
ANDREW SARGENT             4068 W 100 N                                                                                                       GREENFIELD         IN      46140‐8542
ANDREW SARICH              21814 STATE ROAD 71 N                                                                                              ALTHA              FL      32421‐4338
ANDREW SAXE                4222 22ND ST                                                                                                       LONG ISLAND CITY   NY      11101‐4924
ANDREW SCARLATELLI         212 BEN BRUSH CIR                                                                                                  FRANKLIN           TN      37069‐1823
ANDREW SCHELTER            216 SPINNAKER DR                                                                                                   LANSING            MI      48917‐3448
ANDREW SCHEMBRI            16200 WESTBROOK ST                                                                                                 LIVONIA            MI      48154‐2052
ANDREW SCHENK              3450 PACKARD ST APT 1                                                                                              ANN ARBOR          MI      48108‐1986
ANDREW SCHIANO             312 GORDON AVE                                                                                                     MATTYDALE          NY      13211‐1842
ANDREW SCHLAUD             1820 WIRE LINE RD                                                                                                  CARO               MI      48723‐9521
ANDREW SCHMITZ             14181 LAKESHORE DR                                                                                                 STERLING HTS       MI      48313‐2140
ANDREW SCHRADER            POBOX 5003                                                                                                         ROCK HILL          SC      29733
ANDREW SCHRIBER            629 N WILDER RD                                                                                                    LAPEER             MI      48446‐3428
ANDREW SCHROEDER           6102 E COUNTY LINE RD                                                                                              MILTON             WI      53563‐9216
ANDREW SCHWARTZ            10835 KINGSTON AVE                                                                                                 HUNTINGTON         MI      48070‐1161
                                                                                                                                              WOODS
ANDREW SCHWARTZ            2639 PIN OAK DR                                                                                                    ANN ARBOR          MI      48103‐2370
ANDREW SCIANDRA            3692 PEACEPIPE CT                                                                                                  CLERMONT           FL      34711‐8915
ANDREW SCIRRI              33 BELVEDERE RD                                                                                                    BUFFALO            NY      14220‐2016
ANDREW SCOTT               3839 HILAND ST                                                                                                     SAGINAW            MI      48601‐4158
ANDREW SCOTT JR            1125 ELLSWORTH BAILEY RD SW                                                                                        WARREN             OH      44481‐9778
ANDREW SCOTT JR            6202 ROBIN HILL RD                                                                                                 BALTIMORE          MD      21207‐6260
ANDREW SEAVOY              46770 MEADOWVIEW DR                                                                                                SHELBY TOWNSHIP    MI      48317‐4155
ANDREW SEBOK               431 CHERRY ORCHARD RD                                                                                              CANTON             MI      48188‐5270
ANDREW SEDLAK              18995 STORY RD                                                                                                     ROCKY RIVER        OH      44116‐4252
ANDREW SEGOVIA             19811 WEDGEWOOD DR                                                                                                 GROSSE POINTE      MI      48236‐2732
                                                                                                                                              WOODS
ANDREW SEKULA JR           43350 OHARA CIR                                                                                                    STERLING HTS        MI     48314‐3533
ANDREW SELLETT
ANDREW SEMIAN JR           417 2ND ST                                                                                                         GLASSPORT          PA      15045‐1352
ANDREW SENKO               6050 SANDPIPER LN                                                                                                  NORTH OLMSTED      OH      44070‐4563
ANDREW SERNA               PO BOX 3742                                                                                                        WICHITA FALLS      TX      76301‐0742
ANDREW SGRO                150 LAWRENCE AVE                                                                                                   N PLAINFIELD       NJ      07063‐1625
ANDREW SHANNON             322 E. 34TH ST. APT. 4D                                                                                            NEW YORK           NY      10016
ANDREW SHARON              PO BOX 357                                                                                                         ST MICHAELS        MD      21663‐0357
ANDREW SHAW                11439 FOLEY RD                                                                                                     FENTON             MI      48430‐9599
ANDREW SHEARS, SR          C/O WILLIAM KHERKHER HART &       8441 GULF FREEWAY, STE 600                                                       HOUSTON            TX      77007
                           BOUNDAS, LLP
ANDREW SHELLEY
ANDREW SHEPSE              5123 LIGHTHOUSE RD                                                                                                 ORLANDO            FL      32808‐1625
ANDREW SHERLAG             3726 CLEVELAND AVE                                                                                                 BROOKFIELD         IL      60513‐1510
ANDREW SHINOSKY            3117 MEANDERWOOD DR                                                                                                CANFIELD           OH      44406‐9633
ANDREW SHONDRICK           PO BOX 247                                                                                                         CHIPPEWA LAKE      OH      44215‐0247
ANDREW SHORT               3114 E 150 S                                                                                                       ANDERSON           IN      46017‐9741
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Name                 Address1                            Address2                       Address3   Address4               City               State   Zip
ANDREW SHORT         PO BOX 784                          107 POORHOUSE ROAD                                               CELINA              TN     38551‐0784
ANDREW SHOTTS        1112 CENTER AVE                                                                                      JANESVILLE          WI     53546‐2405
ANDREW SHROYER JR    2327 GRASS LAKE RD                                                                                   WEST BRANCH         MI     48661‐9490
ANDREW SILLS III     12805 W 130TH TER                                                                                    OVERLAND PARK       KS     66213‐5015
ANDREW SIMMONS       9345 VAUGHAN ST                                                                                      DETROIT             MI     48228‐1683
ANDREW SIMONS        C/O BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                                       BOSTON HTS          OH     44236
ANDREW SIMPSON       C/O COONEY AND CONWAY               120 NORTH LASALLE 30TH FLOOR                                     CHICAGO              IL    60602
ANDREW SIROTIAK JR   3656 POND VIEW PT                                                                                    EAGAN               MN     55122‐3512
ANDREW SIWEK         4776 BLYTHIN RD                                                                                      GARFIELD HTS        OH     44125‐1210
ANDREW SKIBINSKI     35 MIDLAND AVE                                                                                       BUFFALO             NY     14223‐2822
ANDREW SLANINA       28 CREED CIR                                                                                         CAMPBELL            OH     44405‐1250
ANDREW SLOMINSKI     639 76TH ST                                                                                          NIAGARA FALLS       NY     14304‐2323
ANDREW SMIGELSKI     11 FROHLIN DRIVE                                                                                     BASKING RIDGE       NJ     07920‐3507
ANDREW SMITH         2061 BIRCH STREET                                                                                    HARTLAND            MI     48353‐3401
ANDREW SMITH         17011 BROOKHURST ST                                                                                  MACOMB              MI     48044‐4005
ANDREW SMITH         920 CLYDE ST                                                                                         LANSING             MI     48915‐2008
ANDREW SMITH         962 HENRY SCOTT RD                                                                                   BALL GROUND         GA     30107‐4879
ANDREW SMITH JR      9029 S RIDGELAND AVE                                                                                 CHICAGO              IL    60617‐3543
ANDREW SMITH JR      16837 FREELAND ST                                                                                    DETROIT             MI     48235‐4060
ANDREW SMITH SR      3449 FINESSE DR                                                                                      DECATUR             GA     30032‐7213
ANDREW SOLEY         23820 IRONWOOD AVE UNIT 198                                                                          MORENO VALLEY       CA     92557‐8138
ANDREW SORG          5412 EMERSON WAY                                                                                     ANDERSON            IN     46017‐9648
ANDREW SORRENTI
ANDREW SOSA          2404 SNYDER AVE                                                                                      MODESTO            CA      95356‐9542
ANDREW SOUTH         3682 HIGH DR                                                                                         SAINT ANN          MO      63074‐2442
ANDREW SOWA JR       3275 N GENESEE RD                                                                                    FLINT              MI      48506‐2174
ANDREW SPEARS        BEVAN & ASSOCIATES LPA INC          6555 DEAN MEMORIAL PARKWAY                                       BOSTON HEIGHTS     OH      44236
ANDREW SPERHAC JR    2541 FOREST SPRINGS DR SE                                                                            WARREN             OH      44484‐5617
ANDREW SPIGA         BEVAN & ASSOCIATES LPA INC          6555 DEAN MEMORIAL PARKWAY                                       BOSTON HTS         OH      44236
ANDREW SPIONKOWSKI   40305 PALLAZO DR                                                                                     CLINTON TOWNSHIP   MI      48038‐4048

ANDREW SPITZ         2362 THURMONT RD                                                                                     AKRON              OH      44313‐5458
ANDREW SPRING        300 SEMINOLE ST                                                                                      HOLLY              MI      48442‐1302
ANDREW SR, BRIAN M   21580 POWER RD                                                                                       FARMINGTN HLS      MI      48336‐4542
ANDREW ST PAUL       C/O WILLIAMS KHERKHER HART &        8441 GULF FREEWAY STE 600                                        HOUSTON            TX      77007
                     BOUNDAS LLP
ANDREW STACK         3365 SUNHAVEN OVAL                                                                                   PARMA              OH      44134‐5836
ANDREW STACY         5931 W STATE ROAD 11                                                                                 JANESVILLE         WI      53548‐9298
ANDREW STAFFORD      1111 CLEVELAND AVE                                                                                   DANVILLE           IL      61832‐6408
ANDREW STAIRS        16365 WHITTAKER RD                                                                                   LINDEN             MI      48451‐9096
ANDREW STANKOWICZ    1217 PIRL ST                                                                                         MCKEESPORT         PA      15132‐5230
ANDREW STARK         3875 HIGHTREE CIR SE                                                                                 WARREN             OH      44484‐3738
ANDREW STAS I I I    3452 NE MADISON WAY                                                                                  ISSAQUAH           WA      98029‐3609
ANDREW STASHKIW      C/O BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                       BOSTON HTS         OH      44236
ANDREW STAVISH       6484 S 123RD ST                                                                                      FRANKLIN           WI      53132‐1024
ANDREW STEANS        902 IRVING WAY                                                                                       ANDERSON           IN      46016‐2755
ANDREW STEEN         1517 PATTERSON ST                                                                                    ANDERSON           IN      46012‐4164
ANDREW STEPHENS JR   1150 W 88TH ST                                                                                       CHICAGO            IL      60620‐3436
ANDREW STETS         2912 STEAM CORNERS RD RR 14                                                                          MANSFIELD          OH      44904
ANDREW STEWART       25605 SPRATT RD                                                                                      WESTON             MO      64098‐9511
ANDREW STEWART JR    2709 SUMMIT VIEW DR                                                                                  BEDFORD            TX      76021‐4319
ANDREW STIMAC        2456 RIVERSIDE DR                                                                                    NEWTON FALLS       OH      44444‐9453
ANDREW STONE         1544 LAKEWOOD DR                                                                                     TROY               MI      48083‐5517
ANDREW STONE         2067 E US 36                                                                                         MARKLEVILLE        IN      46056
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Name                             Address1                         Address2                     Address3   Address4               City              State   Zip
ANDREW STONE                     746 E HOLBROOK AVE                                                                              FLINT              MI     48505‐2237
ANDREW STOPIAK                   14132 KATHLEEN DR                                                                               BROOK PARK         OH     44142‐4038
ANDREW STRAUB                    2825 REPPUHN DR                                                                                 SAGINAW            MI     48603‐3189
ANDREW STRODE                    13007 KING LN                                                                                   OVERLAND PARK      KS     66213‐4476
ANDREW STRONG                    365 ALCOVY RD                                                                                   MANSFIELD          GA     30055‐2420
ANDREW SUNYAK                    5401 MILLS CREEK LN                                                                             N RIDGEVILLE       OH     44039‐2338
ANDREW SUPLITA                   5250 LAKE FOREST RESERVE LN                                                                     BRUNSWICK          OH     44212‐6241
ANDREW SWANSON                   5231 VILLAGE DR SW BOX 145                                                                      WYOMING            MI     49509
ANDREW SWARTZ                    4102 W FARRAND RD                                                                               CLIO               MI     48420‐8243
ANDREW SWOOPE                    133 E BAKER ST                                                                                  FLINT              MI     48505‐4927
ANDREW SYSOCK                    2140 ELIZABETH AVE                                                                              RAHWAY             NJ     07065‐4625
ANDREW SZAREK                    13812 MAYWOOD ST                                                                                SOUTHGATE          MI     48195‐3061
ANDREW SZKIBO                    4811 WESTCHESTER DR APT 218                                                                     YOUNGSTOWN         OH     44515‐2506
ANDREW T BERCHIK                 2316 S. HUBBARD RD.                                                                             LOWELLVILLE        OH     44436
ANDREW T CARMAN                  314 DAVIS AVE                                                                                   NORTHFIELD         NJ     08225
ANDREW T DUNLAP                  C/O WEITZ & LUXENBERG PC         700 BROADWAY                                                   NEW YORK CITY      NY     10003
ANDREW T FLORKEY                 158 W RUTGERS AVE                                                                               PONTIAC            MI     48340‐2758
ANDREW T JACKSON                 5501 COUNTY ROAD 402                                                                            GRANDVIEW          TX     76050‐3121
ANDREW T PURO JR                 9233 NASHUA TRL                                                                                 FLUSHING           MI     48433‐8837
ANDREW T SABO                    6106 BELLE                                                                                      JAMESTOWN          PA     16134‐‐ 73
ANDREW T STARR                   PO BOX 2116                                                                                     MISSION            KS     66201‐1116
ANDREW T TYLER JR.               70 MILL DR                                                                                      JACKSON            TN     38305
ANDREW T WHELAN                  508 BOSTON RD                                                                                   SYRACUSE           NY     13211‐1213
ANDREW TABER                     1001 E BAY ST                                                                                   EAST TAWAS         MI     48730‐1606
ANDREW TARIAN                    310 MYRON ST                     809 AVA CT                                                     HUBBARD            OH     44425‐1222
ANDREW TASCA                     8027 BLUEBUSH RD                                                                                MAYBEE             MI     48159‐9506
ANDREW TATAR                     1241 LEON DR                                                                                    WEST ALEXANDRIA    OH     45381‐9351

ANDREW TATE                      PO BOX 4337                                                                                     SAGINAW           MI      48606‐4337
ANDREW TATUM                     507 JON SCOTT DR                                                                                ALPHARETTA        GA      30009‐2124
ANDREW TAYLOR I I I              12369 BURT RD                                                                                   BIRCH RUN         MI      48415‐9320
ANDREW TAYLOR JR                 1500 W ALLEGAN ST                                                                               LANSING           MI      48915‐1752
ANDREW TEELEY II                 1830 MILDRED DR                                                                                 WEST BRANCH       MI      48661‐9437
ANDREW TEMPLETON                 16768 PEARLCREEK CT                                                                             MACOMB            MI      48042‐1116
ANDREW TERRANOVA AND ASSOC INC   2350 NORTH FOREST ROAD                                                                          GETZVILLE         NY      14068
ANDREW TESSARO                   631 M ABBE ROAD                                                                                 ELYRIA            OH      44035
ANDREW TESSARO JR                127 REGENCY CT                                                                                  ELYRIA            OH      44035‐1770
ANDREW THEISEN                   THE MADEKSHO LAW FIRM            8866 GULF FREEWAY STE 440                                      HOUSTON           TX      77017
ANDREW THOMAS                    15795 WISCONSIN ST                                                                              DETROIT           MI      48238‐1119
ANDREW THOMAS                    16771 FORRER ST                                                                                 DETROIT           MI      48235‐3607
ANDREW THOMAS                    15 WILLIAMSTOWNE CT APT 1                                                                       CHEEKTOWAGA       NY      14227‐2143
ANDREW THOMPSON                  4630 SURREY LN                                                                                  GLADWIN           MI      48624‐8237
ANDREW THULL                     1013 N SUMAC DR                                                                                 OLATHE            KS      66061‐9227
ANDREW TIMPNER                   1989 FAIR OAK DR                                                                                ROCHESTER HILLS   MI      48309‐2505
ANDREW TIPPINS                   PO BOX 432202                                                                                   PONTIAC           MI      48343‐2202
ANDREW TODD                      109 S STILES ST                                                                                 LINDEN            NJ      07036‐4341
ANDREW TOMASI                    802 ANITA AVE                                                                                   GROSSE POINTE     MI      48236‐1415
                                                                                                                                 WOODS
ANDREW TOMATORE                  10 LENAPE CT                                                                                    PINE GROVE        PA      17963‐9504
ANDREW TOMEI                     325 LEERIE DRIVE                                                                                ROCHESTER         NY      14612‐2993
ANDREW TORIAN                    1708 S TUCKER BLVD APT A                                                                        SAINT LOUIS       MO      63104‐3448
ANDREW TOTH                      1598 NW 143RD AVE                                                                               PORTLAND          OR      97229‐4384
ANDREW TOWNS                     15030 WARWICK ST                                                                                DETROIT           MI      48223‐2272
ANDREW TOWNSEND                  C/O BEVAN & ASSOCIATES LPA INC   6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS        OH      44236
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Name                    Address1                       Address2                     Address3   Address4               City            State   Zip
ANDREW TOY              104 LYNAM ST                                                                                  NEWPORT          DE     19804‐3137
ANDREW TRADER           932 E NORTH D ST                                                                              GAS CITY         IN     46933‐1327
ANDREW TROMBLEY         279 S LINCOLN RD                                                                              BAY CITY         MI     48708‐3601
ANDREW TRUEX            835 EDGEFIELD WAY                                                                             BOWLING GREEN    KY     42104‐4214
ANDREW TRUHAN           13155 MERGANZER CT                                                                            LINDEN           MI     48451‐8413
ANDREW TURCSAK JR       644 N WASHINGTON ST                                                                           LAPEER           MI     48446‐1954
ANDREW TURNER           5519 LATTY RD                                                                                 LULA             GA     30554‐3240
ANDREW TURNER           5027 RENAS RD                                                                                 GLADWIN          MI     48624‐8939
ANDREW TWARDZIK         1218 CAMPBELL ST               C/O RICHARD TWARDZIK                                           SANDUSKY         OH     44870‐3470
ANDREW TYLER            PO BOX 583                                                                                    OAK CREEK        WI     53154‐0583
ANDREW TYLER JR         7525 AUGUSTA CT                                                                               INDIANAPOLIS     IN     46268‐4740
ANDREW TYLER JR         70 MILL DR                                                                                    JACKSON          TN     38305‐6248
ANDREW UHRING JR        38 PLEASANT VALLEY RD                                                                         JEANNETTE        PA     15644‐9611
ANDREW ULICNE           8174 BUCKELL LAKE RD                                                                          HOLLY            MI     48442‐9619
ANDREW UMBEL            6455 STONECREST DR                                                                            BROOK PARK       OH     44142‐3767
ANDREW UTZ              1931 ROCK RD                                                                                  MANSFIELD        OH     44903‐9083
ANDREW V VANTIENHOVEN   513 WESTWOOD AVE                                                                              SYRACUSE         NY     13211‐1228
ANDREW VALENTE          5649 LAKE VIEW MEWS DRIVE                                                                     BOYNPON BEACH    FL     33437
ANDREW VALINSKI         4212 ELIZABETH AVE                                                                            CANTON           MI     48188‐7225
ANDREW VANDER WALL      PO BOX 237                                                                                    ALANSON          MI     49706‐0237
ANDREW VANDERBRUG       7 CRESCENT WAY UNIT 114                                                                       FISKDALE         MA     01518‐1298
ANDREW VANDERPLOEG      138 LAKEVIEW DR                                                                               MULBERRY         FL     33860‐8319
ANDREW VANSLAMBROUCK    1314 MAPLE AVE                                                                                MONROE           MI     48162‐3007
ANDREW VASIL            33662 RESERVE WAY                                                                             AVON             OH     44011‐3223
ANDREW VELLENGER        6700 CHERRYTREE DR                                                                            ARLINGTON        TX     76001‐7826
ANDREW VELLIKY JR       7010 SHANNON                                                                                  FENTON           MI     48430
ANDREW VERES            1859 WESTON CIR                                                                               ORANGE PARK      FL     32003‐8045
ANDREW VERNIER          850 MONTANA ST                                                                                MARYSVILLE       MI     48040‐1292
ANDREW VIGLIANCO        1400 LELAND RD                                                                                OVID             MI     48866‐9422
ANDREW VILLARREAL       6380 HARRIET DR                                                                               WATERFORD        MI     48327‐1214
ANDREW VIROSTEK         8633 SAN MARCO BLVD                                                                           STERLING HTS     MI     48313‐4861
ANDREW W BRANT          3006 TELHURST CT                                                                              MORAINE          OH     45439‐1421
ANDREW W FAGO           21064 NW 166TH PL                                                                             HIGH SPRINGS     FL     32643
ANDREW W FISHER         1204 ROSEWAY AVE SE                                                                           WARREN           OH     44484‐2811
ANDREW W PRINE          PO BOX 6067                                                                                   SAGINAW          MI     48608‐6067
ANDREW W RIGHTMYER      3479 BRONSON HILL RD A                                                                        LIVONIA          NY     14487
ANDREW W TOBE           315 LARCHWAY                                                                                  SPRINGBORO       OH     45066‐9770
ANDREW W WALLACE        4541 ST ANDREWS CT                                                                            MIDDLETOWN       OH     45042‐3874
ANDREW WADDELL          5655 PARSHALL DR                                                                              SHELBY TWP       MI     48316‐3268
ANDREW WADSWORTH        489 PLUM CREEK RD                                                                             LAPEER           MI     48446‐7754
ANDREW WAGNER           633 ETNA AVE                                                                                  HUNTINGTON       IN     46750‐3626
ANDREW WALDROP          1883 HIGHWAY 42                                                                               FLOVILLA         GA     30216‐2304
ANDREW WALKER           422 OGDEN ST                                                                                  SOMERSET         KY     42501‐1767
ANDREW WALKER           6140 OAKRIDGE ROAD                                                                            AUBURN           NY     13021‐8268
ANDREW WALLACE          4541 SAINT ANDREWS CT                                                                         MIDDLETOWN       OH     45042‐3874
ANDREW WALLACE          1025 S BEACH ST APT 222                                                                       DAYTONA BEACH    FL     32114‐6273
ANDREW WALLER           298 IVANHOE LN                                                                                CROSSVILLE       TN     38555‐4124
ANDREW WARD             2920 GARDENTOWN DR SW APT 10                                                                  WYOMING          MI     49519‐2568
ANDREW WARMACK          5112 PERRYVILLE RD                                                                            HOLLY            MI     48442‐9500
ANDREW WARREN           PO BOX 24681                                                                                  DETROIT          MI     48224‐0681
ANDREW WARREN           APT 4801                       98 OAK STREET                                                  CLEMENTON        NJ     08021‐2467
ANDREW WASHINGTON       6403 DRY BARLEY LN                                                                            COLUMBIA         MD     21045‐5603
ANDREW WATKINS          BEVAN & ASSOCIATES LPA INC     6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS       OH     44236
ANDREW WATSON           6251 DAFT ST                                                                                  LANSING          MI     48911‐5506
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Name                   Address1                       Address2                     Address3   Address4               City           State   Zip
ANDREW WEINRAUCH       3281 WOODVALLEY DR                                                                            FLUSHING        MI     48433‐2214
ANDREW WEISSER         3864 BENJAMIN DR                                                                              WOODBURY        MN     55125‐3395
ANDREW WELLS           11615 S HALE AVE                                                                              CHICAGO          IL    60643‐4821
ANDREW WENDLING        4842 PEET RD                                                                                  CHESANING       MI     48616‐9762
ANDREW WESA            826 N WILSON AVE                                                                              ROYAL OAK       MI     48067‐2046
ANDREW WHALEY          622 CHAMBORD CIR                                                                              SHREVEPORT      LA     71115‐4615
ANDREW WHELAN          235 PILGRIM RD                                                                                TONAWANDA       NY     14150‐8624
ANDREW WHITAKER
ANDREW WHITE           1315 GEORGE ST                                                                                LANSING        MI      48910‐1234
ANDREW WHITE           49696 SHELBY CREEK DR                                                                         SHELBY TWP     MI      48317‐1815
ANDREW WHITE           20080 DEAN ST                                                                                 DETROIT        MI      48234‐2010
ANDREW WHITE           9600 FIELDING ST                                                                              DETROIT        MI      48228‐1592
ANDREW WHITEHEAD       2535 N HIGHTOWER TRL                                                                          CONYERS        GA      30012‐1917
ANDREW WHITELOCK       2767 AMLI DR APT 2227                                                                         AURORA         IL      60502
ANDREW WHITESIDE       3554 WEDGEWOOD DR                                                                             LAPEER         MI      48446‐2989
ANDREW WHITT           200 E ELIZABETH ST                                                                            FENTON         MI      48430‐2324
ANDREW WHITTAKER       1629 DEERFIELD RD                                                                             CHATHAM        IL      62629‐1514
ANDREW WILES           PO BOX 454                                                                                    NEWCASTLE      OK      73065‐0454
ANDREW WILK            685 EASLEY DR                                                                                 WESTLAND       MI      48186‐4815
ANDREW WILKERSON       1320 N BURDICK ST                                                                             KALAMAZOO      MI      49007‐2553
ANDREW WILLE           4816 INNSBRUCK DR                                                                             FORT WAYNE     IN      46835‐3431
ANDREW WILLIAMS        371 ELIZABETH LAKE RD                                                                         PONTIAC        MI      48341‐1017
ANDREW WILLIAMS        58 CENTER ST                                                                                  PONTIAC        MI      48342‐3020
ANDREW WILLIAMS        3335 FLAMINGO DR                                                                              SAGINAW        MI      48601‐5758
ANDREW WILLIAMS        835 HOWARD RD NE                                                                              BROOKHAVEN     MS      39601‐2240
ANDREW WILLIAMS        1019 JOHNSON ST                                                                               SAGINAW        MI      48607‐1464
ANDREW WILLIAMS        3320 WOODSTOCK DR                                                                             DETROIT        MI      48221‐1340
ANDREW WILLIAMS JR     2475 NORMANDY DR SE                                                                           GRAND RAPIDS   MI      49506‐5434
ANDREW WILLIAMS JR     2518 E HOLLAND AVE                                                                            SAGINAW        MI      48601‐2231
ANDREW WILLIAMS JR     3994 SHADY OAK DR                                                                             LAS VEGAS      NV      89115‐0126
ANDREW WILLIAMSON JR   12836 CALLENDER ST                                                                            SOUTHGATE      MI      48195‐1041
ANDREW WILLS           APT 258                        8080 KENSINGTON BOULEVARD                                      DAVISON        MI      48423‐2929
ANDREW WILSON          1316 PARK AVE                                                                                 BAY CITY       MI      48708‐6342
ANDREW WILSON          PO BOX 635                                                                                    LYNCHBURG      OH      45142‐0635
ANDREW WILSON JR       4109 RIVERSHELL LN                                                                            LANSING        MI      48911‐1908
ANDREW WINCHEK III     2874 BAHNS DR                                                                                 BEAVERCREEK    OH      45434‐6608
ANDREW WINFREE         43239 ROUTE 20 EAST                                                                           OBERLIN        OH      44074
ANDREW WOJCIK JR       1282 BIELBY ST                                                                                WATERFORD      MI      48328‐1304
ANDREW WOODGETT        1930 COLEMAN RD APT C11                                                                       ANNISTON       AL      36207‐7402
ANDREW WOODS JR        1209 DAKOTA ST                                                                                FARRELL        PA      16121‐1203
ANDREW WRIGHT          455 CAMPBELL RD                                                                               COLUMBIA       KY      42728‐8541
ANDREW WRIGHT          331 LOCH TAY DRIVE                                                                            MOUNT MORRIS   MI      48458‐8875
ANDREW WRIGHT JR       18044 ROBERT ST                                                                               MELVINDALE     MI      48122‐1460
ANDREW XENOS           42 SMITH ST                                                                                   ROUSES POINT   NY      12979‐1608
ANDREW YAWORSKY        19934 HUBBARD ST                                                                              LIVONIA        MI      48152‐1352
ANDREW YEAGER JR       BEVAN & ASSOCIATES LPA INC     6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS     OH      44236
ANDREW YEAZEL I I I    2809 WEST AVE                                                                                 LEBANON        OH      45036‐1155
ANDREW YESTREPSKY      1239 PLAYER DR                                                                                TROY           MI      48085‐3312
ANDREW YETTER          713 CEDAR MILL DR                                                                             CRESTLINE      OH      44827‐9693
ANDREW YORK            1418 BLAINE AVE                                                                               JANESVILLE     WI      53545‐1926
ANDREW YOUNG           7 ADAMS ST                                                                                    OLD BRIDGE     NJ      08857‐2111
ANDREW YOUNG           1207 CABELLA CIR                                                                              LADY LAKE      FL      32159‐9161
ANDREW YOUNG           780 LOGGERS CIR                                                                               ROCHESTER      MI      48307‐6024
ANDREW YOUNG JR        424 E RACE ST                                                                                 MARTINSBURG    WV      25404‐4439
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Name                            Address1                            Address2                      Address3               Address4               City              State   Zip
ANDREW YURKO                    950 MAPLE AVE                                                                                                   BOARDMAN           OH     44512‐6121
ANDREW ZAK                      1017 CHRISTIAN HILLS DR                                                                                         ROCHESTER HILLS    MI     48309‐2843
ANDREW ZAMPINI                  307 DAKOTA AVE                                                                                                  WILMINGTON         DE     19803‐3219
ANDREW ZAVOCKY                  14360 HUNTING HILLS DR              C/O ELAINE SNYDER                                                           NOVELTY            OH     44072‐9725
ANDREW ZAWOSKY JR               50 CELESTIAL WAY APT 208                                                                                        JUNO BEACH         FL     33408‐2346
ANDREW ZAWOSKY JR               #208                                50 CELESTRIAL WAY                                                           JUNO BEACH         FL     33408
ANDREW ZEEK                     341 BROCKWAY PL                                                                                                 SAGINAW            MI     48602‐2641
ANDREW ZETTEL                   1839 MICHELLE CT                                                                                                ANN ARBOR          MI     48105‐9253
ANDREW ZIATS                    4625 BROOKSTONE COURT                                                                                           BRUNSWICK          OH     44212‐5714
ANDREW ZICCARDI                 93 LONG DRIVE                                                                                                   PITTSBURG          PA     15241
ANDREW ZIRNGIBL TTEE            ANDREW AND MARIA ZIRNGIBL TRUST U/A DTD 05/10/1989                10715 FOOTPRINT LANE                          PORT RICHEY        FL     34668‐2713

ANDREW ZURAWSKI
ANDREW ZWICKL                   6026 COUNTY LINE RD                                                                                             ONTARIO           NY      14519‐9110
ANDREW ZYGMUNTOWICZ             7 SW MAIN ST                                                                                                    DOUGLAS           MA      01516‐2507
ANDREW ZYLSTRA                  3313 HAYNES DR                                                                                                  SPRING HILL       TN      37174‐2840
ANDREW ZYSK                     16237 SEYMOUR RD                                                                                                LINDEN            MI      48451‐9736
ANDREW, DENNIS K                6184 BIG WOLF LAKE RD                                                                                           LEWISTON          MI      49756‐9137
ANDREW, EDDIE C                 575 LANEY RD                                                                                                    LOCUST GROVE      GA      30248‐2262
ANDREW, FORREST M               40348 178TH ST E                                                                                                PALMDALE          CA      93591‐3143
ANDREW, GILBERT S               8442 W MONTANA AVE                  C/O JAMES REDDING                                                           WEST ALLIS        WI      53227‐3412
ANDREW, HOWARD D                620 CHANDON CT                                                                                                  WALNUT CREEK      CA      94597‐7315
ANDREW, JAMES                   340 OLYMPIC AVE                                                                                                 BUFFALO           NY      14215‐2747
ANDREW, JAMES A                 PO BOX 511                                                                                                      GASTON            IN      47342‐0511
ANDREW, JANILYN R               1415 E CRESTVIEW DR                                                                                             COTTONWOOD        AZ      86326‐4563
ANDREW, JANILYN R               1415 EAST CRESTVIEW DRIVE                                                                                       COTTONWOOD        AZ      86326‐4563
ANDREW, KAREN M                 124 STATE STREET                                                                                                EATON RAPIDS      MI      48827‐1236
ANDREW, KAREN M                 124 STATE ST                                                                                                    EATON RAPIDS      MI      48827‐1236
ANDREW, LARRY F                 1 MEADOW LN                                                                                                     ITHACA            MI      48847‐1546
ANDREW, MARGARET E              11820 HALL ROAD                                                                                                 LAURA             OH      45337‐9647
ANDREW, MARGARET E              524 LOCUST HILL DRIVE                                                                                           ENGLEWOOD         OH      45322‐1606
ANDREW, PHILIP L                6 LAUREL OAK TRL                                                                                                SIMPSONVILLE      SC      29681
ANDREW, ROBERT A                4673 TIRO RD                                                                                                    TIRO              OH      44887‐9762
ANDREW, ROBERTA L               C/O ROBERT A FIGHTS                 PARKVIEW NURSING HOME                                                       MUNCIE            IN      47303
ANDREW, RODNEY L                410 LIGHTHOUSE TRL                                                                                              CENTERVILLE       OH      45458‐3641
ANDREW, RUTH WHITMAN            101 WEST HIGH ST. RTE.2                                                                                         NAPOLEON          OH      43545‐9207
ANDREW, SANDRA L                3 MALLORY WAY                                                                                                   NORTH EAST        MD      21901‐3816
ANDREW, TIFFANY M               9232 ROBEY MEADOWS LN                                                                                           INDIANAPOLIS      IN      46234‐1673
ANDREW, WILLIAM B               5327 HARMONY LN                                                                                                 FORT WAYNE        IN      46835‐4075
ANDREW, WILLIAM BOWEN           5327 HARMONY LN                                                                                                 FORT WAYNE        IN      46835‐4075
ANDREW, WILLIAM E               109 AMES AVE                                                                                                    TONAWANDA         NY      14150‐8207
ANDREW, WILLIAM E.              109 AMES AVE                                                                                                    TONAWANDA         NY      14150‐8207
ANDREW, YVONNE                  562 E AMHERST ST                                                                                                BUFFALO           NY      14215‐1539
ANDREWS & KURTH                 601 S FIGUEROA ST STE 1725                                                                                      LOS ANGELES       CA      90017‐5722
ANDREWS & KURTH LLP             600 TRAVIS ST STE 4200                                                                                          HOUSTON           TX      77002‐2929
ANDREWS AUTOMOTIVE              4030 COUNTRY CLUB RD                                                                                            WINSTON SALEM     NC      27104‐3614
ANDREWS BROWN, PALMELLA S       PO BOX 6                                                                                                        LYNCHBURG         SC      29080‐0006
ANDREWS CADILLAC COMPANY        NELSON ANDREWS                      1 CADILLAC DR                                                               BRENTWOOD         TN      37027‐5066
ANDREWS CADILLAC COMPANY        1 CADILLAC DR                                                                                                   BRENTWOOD         TN      37027‐5066
ANDREWS CHEVROLET SALES, INC.   ROBERT HARTER                       711 N CEDAR ST                                                              MASON             MI      48854‐1060
ANDREWS CHEVROLET SALES, INC.   711 N CEDAR ST                                                                                                  MASON             MI      48854‐1060
ANDREWS CONRAD L (356345)       GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                                 NORFOLK           VA      23510
                                                                    STREET, SUITE 600
ANDREWS COUNTY TAX OFFICE       201 N MAIN ST RM 101                                                                                            ANDREWS            TX     79714‐6517
